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Name                  Address1                      Address2                     Address3   Address4         City              State Zip
SORRELL MADELINE      1046 JOHNSON RD                                                                        COATS              NC 27521‐9328
SORRELL PATRICIA      1220 D PHILLIPS AVE                                                                    KETTERING          OH 45410
SORRELL, ALBERT L     2400 NE 15TH ST                                                                        GAINESVILLE        FL 32609‐3143
SORRELL, ALMA C       151 ROLLING ACRES RD                                                                   SMITHVILLE         TN 37166
SORRELL, BETH A       8559 N 700 E                                                                           FRANKFORT          IN 46041
SORRELL, BILL         1234 S ELM ST                                                                          W CARROLLTON       OH 45449‐2263
SORRELL, BRADLEY K    8559 N RD 700 E                                                                        FRANKFORT          IN 46041
SORRELL, CAROLE ANN   26 S SCATTERFIELD RD                                                                   ANDERSON           IN 46012‐3103
SORRELL, CHARLES W    517 RULISON ST                                                                         LANSING            MI 48915
SORRELL, DALE E       206 W WALNUT ST                                                                        CARSON CITY        MI 48811‐9440
SORRELL, DEAN G       615 BUCKNELL CT                                                                        ROCHESTER HILLS    MI 48309‐2542
SORRELL, DEBORAH C    APT 6                         2328 NORTH BROADWAY STREET                               GREENSBURG         IN 47240‐6244
SORRELL, DEREK R      617 S PARK DR                                                                          RAYMORE            MO 64083‐9059
SORRELL, DONALD E     4476 OLD COLUMBUS RD                                                                   LONDON             OH 43140‐9634
SORRELL, DOROTHY R    1033 WEST ROWLAND STREET                                                               FLINT              MI 48507‐4046
SORRELL, DOROTHY R    1033 W ROWLAND ST                                                                      FLINT              MI 48507‐4046
SORRELL, ELMER L      462 SOUTHBROOK DR 3047                                                                 DAYTON             OH 45459
SORRELL, FANNIE T     PO BOX 185                                                                             GRATIS             OH 45330‐0185
SORRELL, GARY L       715 52ND AVENUE TER W                                                                  BRADENTON          FL 34207‐2843
SORRELL, GEORGE E     1821 LORAINE AVE                                                                       LANSING            MI 48910‐8728
SORRELL, GLEN M       207 AWOHILI CIR                                                                        LOUDON             TN 37774‐2822
SORRELL, GREG J       2527 MEADOW WAY                                                                        ANDERSON           IN 46012‐9454
SORRELL, HERBERT O    84 OLD MAIN WEST                                                                       MIAMISBURG         OH 45342‐3174
SORRELL, HERBERT O    84 OLD MAIN ST W                                                                       MIAMISBURG         OH 45342‐3174
SORRELL, IRVIN L      820 E ELM ST                                                                           CARSON CITY        MI 48811‐9613
SORRELL, JACK W       6587 E FENWICK RD                                                                      FENWICK            MI 48834‐9747
SORRELL, JAMES K      418 SAGEBRUSH DR                                                                       KOKOMO             IN 46901‐7013
SORRELL, JAMES T      STE 221                       25 MAIN STREET                                           NORTHAMPTON        MA 01060‐3172
SORRELL, JANE D       418 SAGEBRUSH DR                                                                       KOKOMO             IN 46901‐7013
SORRELL, JERRY D      1105 BEACHCOMBER RD                                                                    SULPHUR            LA 70665
SORRELL, JIMMY D      225 CHARLES DR                                                                         CARLISLE           OH 45005‐6000
SORRELL, JOHN H       19178 WINTHROP ST                                                                      DETROIT            MI 48235‐2064
SORRELL, JUNE K       2538 ARLETTA ST                                                                        TOLEDO             OH 43613‐2626
SORRELL, LEAH A       617 S PARK DR                                                                          RAYMORE            MO 64083‐9059
SORRELL, LEAH ANN     617 S PARK DR                                                                          RAYMORE            MO 64083‐9059
SORRELL, MALCOM C     108 S 3RD ST                                                                           SPRINGPORT         IN 47386‐9752
SORRELL, MARGARET C   8412 N 1000 W                                                                          CARTHAGE           IN 45115‐9445
SORRELL, MARTHA O     1507 N BREIEL BLVD                                                                     MIDDLETOWN         OH 45042‐2908
SORRELL, MARY L       109 CONNECTICUT ST                                                                     HIGHLAND PARK      MI 48203‐3554
SORRELL, MARY M       1919 JAMES AVE                                                                         OWOSSO             MI 48867‐3928
SORRELL, PATRICIA J   1220 PHILLIPS AVE                                                                      DAYTON             OH 45410‐2635
SORRELL, PHILIP L     1787 QUINCY DR                                                                         ROCHESTER HILLS    MI 48306‐3656
SORRELL, ROBERT E     1814 S UNION ST                                                                        KOKOMO             IN 46902
SORRELL, ROSE M       1212 OLD MAIN ST                                                                       MIAMISBURG         OH 45342‐3145
SORRELL, ROSE M       462 SOUTHBROOK DRIVE                                                                   DAYTON             OH 45459‐3047
SORRELL, RUTH E       4495 CALKINS RD               APT #133                                                 FLINT              MI 48532‐3575
SORRELL, RUTH E       4495 CALKINS RD APT 133                                                                FLINT              MI 48532‐3575
SORRELL, SARAH C      1889 S. SPRINGCREST CT.                                                                BEAVERCREEK        OH 45432‐1883
SORRELL, SARAH C      1889 S SPRINGCREST CT                                                                  BEAVERCREEK        OH 45432‐1883
SORRELL, SHIRLEY S    301 WALTERS DR                                                                         LA GRANGE          NC 28551‐9258
SORRELL, SUSAN W      191 GLENWOOD DR                                                                        CONWAY             SC 29526‐8992
SORRELL, TERRY L      12685 WHITTAKER RD                                                                     MILAN              MI 48160‐8818
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Name                               Address1                        Address2                   Address3      Address4         City               State Zip
SORRELL, TERRY LYNN                12685 WHITTAKER RD                                                                        MILAN               MI 48160‐8818
SORRELL, THOMAS A                  1704 BUICK LN                                                                             KOKOMO              IN 46902‐2577
SORRELL, WILLIE C                  2110 CAVERUN LAKE RD                                                                      SALT LICK           KY 40371
SORRELL,JIMMY D                    225 CHARLES DR                                                                            CARLISLE            OH 45005‐6000
SORRELLS BASIL B JR                510 SARAZEN LOOP S              NM UPTD PER AFC 9/15/06                                   GEORGETOWN          TX 78628‐4651
SORRELLS JR, BASIL B               510 SARAZEN LOOP S                                                                        GEORGETOWN          TX 78628‐4651
SORRELLS MONTE L                   713 ORCHARD LN                                                                            GREENWOOD           IN 46142‐3031
SORRELLS SHANNON                   39679 ROAD 56                                                                             DINUBA              CA 93618
SORRELLS SR, THOMAS E              23594 E BEACH DR                                                                          LEWES               DE 19958‐5332
SORRELLS, ALLEN RAY                GORI JULIAN & ASSOCIATES P C    156 N MAIN ST                                             EDWARDSVILLE         IL 62025
SORRELLS, BARBARA J                23594 E BEACH DR                                                                          LEWES               DE 19958‐5332
SORRELLS, BARNEY L                 125 W PULASKI AVE                                                                         FLINT               MI 48505‐3368
SORRELLS, BOBBIE L                 2502 CASTLE GATE BLVD                                                                     DECATUR             AL 35603‐2924
SORRELLS, CHARLES B                180 TOWNLEY RD                                                                            OXFORD              GA 30054‐3840
SORRELLS, CLINTON                  685 W HIGHTOWER TRL                                                                       SOCIAL CIRCLE       GA 30025‐3903
SORRELLS, ERIA D                   PO BOX 1085                     49 MICHAEL ETCHISON SPUR                                  MONROE              GA 30655‐1085
SORRELLS, ERIA D.                  PO BOX 1085                     49 MICHAEL ETCHISON SPUR                                  MONROE              GA 30655‐1085
SORRELLS, JOHNNY                   4113 WINDWARD DR                                                                          LANSING             MI 48911‐2506
SORRELLS, LEONARD D                564 CLARKWOOD RD                                                                          ROCKMART            GA 30153‐4112
SORRELLS, LYTLE S                  3109 WOODCLIFT CIR                                                                        BIRMINGHAM          AL 35243‐4170
SORRELLS, MARY E                   1759 TEAMON RD                  APT B                                                     GRIFFIN             GA 30223‐5830
SORRELLS, MARY J                   5802 E 19TH TER                                                                           KANSAS CITY         MO 64126‐2558
SORRELLS, MARY L                   15885 MEMORIAL DR APT 1001                                                                HOUSTON             TX 77079‐4133
SORRELLS, MONTE L                  713 ORCHARD LN                                                                            GREENWOOD           IN 46142‐3031
SORRELLS, OLIN D                   8344 WINDOVERS DR                                                                         INDIANAPOLIS        IN 46259‐6787
SORRELLS, RAYMOND                  1012 HOLLY ST                                                                             BLYTHEVILLE         AR 72315‐2652
SORRELLS, REUBEN T                 1242 MT.VERNON AVE.                                                                       DAYTON              OH 45405‐5405
SORRELLS, RICHARD B                614 JENNIFER DR                                                                           LADY LAKE           FL 32159‐2428
SORRELLS, RONALD P                 8926 N LEWIS AVE                                                                          KANSAS CITY         MO 64157‐6245
SORRELLS, SHIRLEY A                510 SARAZEN LOOP S                                                                        GEORGETOWN          TX 78628‐4651
SORRELLS, VIRGIL E                 5331 DEEP SPRINGS DR                                                                      STONE MTN           GA 30087‐3629
SORRELLS,RONALD P                  8926 N LEWIS AVE                                                                          KANSAS CITY         MO 64157‐6245
SORRELS, DARRELL W                 10629 STRAWBERRY HL                                                                       MIDWEST CITY        OK 73130‐7014
SORRELS, DURELLE D                 783 RUNYAN AVE                                                                            LIMA                OH 45801‐3542
SORRELS, DURELLE DOUGLAS           783 RUNYAN AVE                                                                            LIMA                OH 45801‐3542
SORRELS, H K                       PO BOX 433                                                                                KIOWA               OK 74553‐0433
SORRELS, JIMMY D                   11642 W COUNTY ROAD 200 S                                                                 FRENCH LICK         IN 47432‐9534
SORRELS, KENNETH O                 APT 2                           1801 CENTURY CITY EAST                                    REYNOLDSBURG        OH 43068‐2776
SORRELS, MARTHA K                  1006 GRAHAM PL                                                                            LIMA                OH 45805
SORRELS, MARTHA KARL               1006 GRAHAM PL                                                                            LIMA                OH 45805‐1630
SORRELS, VERN D                    4439 EAST RD                                                                              ELIDA               OH 45807‐1516
SORRENDINO, GEORGE G               311 BLACKMORE RD                                                                          CAMILLUS            NY 13031‐2104
SORRENTI, KRISTA G                 1743 HAMILTON DR                                                                          BLOOMFIELD HILLS    MI 48302‐0222
SORRENTI, MARIE A
SORRENTINO SR., ANTHONY            981 E MOUNT WRIGHTSTON LOOP                                                               GREEN VALLEY       AZ   85614‐6051
SORRENTINO CAROLINA                VIA DI VALLE ALESSANDRA,45      00133 ROMA
SORRENTINO DOMINIC B (ESTATE OF)   ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                          BETHLEHEM          PA 18018
(627659)
SORRENTINO JR MD PC                1570 LONG POND RD                                                                         ROCHESTER          NY   14626‐4119
SORRENTINO JR, LAWRENCE T          3863 MEANDER DR                                                                           MINERAL RIDGE      OH   44440‐9011
SORRENTINO SR., ANTHONY            981 E MOUNT WRIGHTSTON LOOP                                                               GREEN VALLEY       AZ   85614‐6051
SORRENTINO, DOMINIC B              ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                          BETHLEHEM          PA   18018‐5737
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SORRENTINO, FELICE A            4484 BAER RD                                                                                         RANSOMVILLE      NY 14131‐9302
SORRENTINO, GREGORY             401 WHITNEY LN                                                                                       MCDONOUGH        GA 30253‐7768
SORRENTINO, LAWRENCE T          3807 AYRSHIRE DR                                                                                     YOUNGSTOWN       OH 44511‐1121
SORRENTINO, ROSE T              20 HOLCOMB ST                                                                                        ROCHESTER        NY 14612‐5418
SORRENTINO, ROSEMARY L          523 ALECIA AVE                                                                                       KALAMAZOO        MI 49004
SORRENTINO, VINCENT A           137 CONSTITUTION BLVD                                                                                WHITING          NJ 08759‐1836
SORRENTO PARTS & SERVICE LTD.   1235A TRANS CANADA HWY. P O BOX 216                                            SORRENTO BC V0E 2W0
                                                                                                               CANADA
SORRENTO VALLEY AUTOMOTIVE      11526 SORRENTO VALLEY RD                                                                             SAN DIEGO       CA   92121
SORRENTO, VICTORIA D            456 MILLER AVE                                                                                       HAMILTON TWSP   NJ   08610‐4819
SORRICK, JEANETTE A             PO BOX 281                                                                                           HARBOR BEACH    MI   48441‐0281
SORROW JR, GEORGE V             5110 GREENBRANCH ST                                                                                  PARTLOW         VA   22534‐9749
SORROW, BERNARD                 6980 W CHARLESTON DR                                                                                 WASHINGTON      MI   48095‐2430
SORROW, MARY T                  6980 W CHARLESTON DR                                                                                 WASHINGTON      MI   48095‐2430
SORROW, OPAL S                  161 FIVE POINTS ROAD                                                                                 CLEVELAND       AL   35049‐3306
SORROW, TOMMY G                 715 WEBB GIN HOUSE RD                                                                                LAWRENCEVILLE   GA   30045‐5428
SORROZA, CARMELLO               2679 NEBRASKA AVE APT 211                                                                            SELMA           CA   93662‐3961
SORSBY, PHILL C                 127 W. 73RD ST.                                                                                      CINCINNATI      OH   45215‐1809
SORSCHER MD                     4442 GENESYS PKWY                                                                                    GRAND BLANC     MI   48439‐8072
SORTECH SYSTEMS                 35 MARCO LN                                                                                          7277            OH   45458
SORTEDAHL HARLAN (459356)       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA   23510
                                                                      STREET, SUITE 600
SORTEDAHL, HARLAN               GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA 23510‐2212
                                                                      STREET, SUITE 600
SORTINI, FRANK D                7282 HUBBARD BEDFORD RD                                                                              HUBBARD         OH   44425‐9786
SORTINO, JOHN                   2929 N HONORE ST APT B                                                                               CHICAGO         IL   60657
SORTMAN CRANE & HOIST INC       923 SENATE DR                                                                                        CENTERVILLE     OH   45459‐4017
SORTMAN JR, RUSSELL B           610 SPINNING RD                                                                                      NEW CARLISLE    OH   45344‐1235
SORTMAN, FRANCES N              3313 WILMINGTON PIKE                  HEARTLAND OF KETTERING                                         KETTERING       OH   45429‐4023
SORTMAN, FRANCES N              HEARTLAND OF KETTERING                3313 WILMINGTON PIKE                                           KETTERING       OH   45429‐5429
SORTMAN, LAWRENCE E             150 WESTROCK FARM DR                                                                                 UNION           OH   45322‐8760
SORTMAN, MARY A                 2717 DELMONTE AVE                                                                                    KETTERING       OH   45419‐1921
SORTOR, ANNETTE G               6 GARRISON PL                                                                                        NEWTOWN         PA   18940‐1712
SORTOR, DONNA J                 600 PEACEFUL LN                                                                                      ROSE CITY       MI   48654‐9401
SORTOR, ROBERT G                8779 PLANKWELD DR                                                                                    MONROE          MI   48162‐9129
SORTOR, ROBERT GLENN            8779 PLANKWELD DR                                                                                    MONROE          MI   48162‐9129
SORTOR, THEODORE W              6 GARRISON PL                                                                                        NEWTOWN         PA   18940‐1712
SORTZI, BRYAN K                 57292 PLYMOUTH RD                                                                                    WASHINGTON      MI   48094
SORUKAS, SANDRA M               1509 N KENMORE ST                                                                                    SOUTH BEND      IN   46628‐1444
SORUM LAURIE                    200 E PINEHURST CIR                                                                                  SIOUX FALLS     SD   57108‐2439
SORVALA, RONALD J               8503 BRISTOL RD                                                                                      SWARTZ CREEK    MI   48473‐8579
SORVILLO, ANTHONY R             146 ERIE ST D                                                                                        CORTLAND        OH   44410
SORVILLO, JOHN L                49 FIELDSTONE                                                                                        POLAND          OH   44514‐4207
SORVILLO, JOSEPH A              406 ASBURY LN                                                                                        NILES           OH   44446‐2851
SORYS, ANTHONY A                PO BOX 562                                                                                           FLINT           MI   48501‐0562
SORYS, ANTHONY ALEKSANDER       PO BOX 562                                                                                           FLINT           MI   48501‐0562
SORYS, DANIEL L                 2300 E RATTALEE LAKE RD                                                                              HOLLY           MI   48442‐8653
SORYS, MATTHEW S                5425 OLEKSYN RD                                                                                      FLINT           MI   48504‐1041
SORYS, PAUL D                   2300 E RATTALEE LAKE RD                                                                              HOLLY           MI   48442
SORYS, PAUL DANIEL              2300 E RATTALEE LAKE RD                                                                              HOLLY           MI   48442
SORYS, TERESA A                 2300 E RATTALEE LAKE RD                                                                              HOLLY           MI   48442‐8653
SOS AUTOMOTIVE INC              5512 W WATERS AVE                                                                                    TAMPA           FL   33634‐1211
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Name                         Address1                          Address2                   Address3    Address4                City               State Zip
SOS CHILDRENS VILLAGES USA   1317 ST NW STE 500                                                                               WASHINGTON          DC 20004
SOS EMERGENCY RESPONSE       91 ALAMEDA CIR                                                           THORNHILL ONT L4J 8A6
TECHNOLOGIES                                                                                          CANADA
SOS TECHNOLOGIES             5080 N ELSTON AVE                                                                                CHICAGO            IL   60630
SOS TRANSPORT INC            500 YANKEE RD                                                                                    MONROE             OH   45050‐1068
SOSA DOUGLAS                 3824 ROD PL                                                                                      LAWRENCEVILLE      GA   30044‐3366
SOSA JR, FELIX T             700 CARMEN PLACE                                                                                 FREMONT            OH   43420
SOSA JR, FELIX T             101 PERCHERON DR                                                                                 CLYDE              OH   43410‐9492
SOSA, ANDREW J               2404 SNYDER AVE                                                                                  MODESTO            CA   95356‐9542
SOSA, ARACELI
SOSA, CARLOS
SOSA, CINDY ROSALIA
SOSA, DOUGLAS                3824 ROD PL                                                                                      LAWRENCEVILLE      GA 30044‐3366
SOSA, EPIMENIO               151 W TENNYSON AVE                                                                               PONTIAC            MI 48340‐2673
SOSA, FRANCESCA GONZALES
SOSA, GILBERT E              139 LORA LN                                                                                      FILLMORE           CA 93015‐2112
SOSA, GLORIA A               1811 43RD ST SE                                                                                  PUYALLUP           WA 98372‐4276
SOSA, GUILLERMINA
SOSA, HELIER E               117 38TH ST                                                                                      UNION CITY         NJ   07087‐6017
SOSA, IRENE                  5940 NW LOOP 410 APT C4                                                                          SAN ANTONIO        TX   78238‐3368
SOSA, JOHN M                 1833 FRANCES ST                                                                                  HARLINGEN          TX   78550‐4452
SOSA, MANUEL                 2702 CASCADE MIST                                                                                SAN ANTONIO        TX   78261‐2387
SOSA, MARY E                 1405 SOUTH BLVD W                                                                                TROY               MI   48098‐1784
SOSA, MIKE H                 PO BOX 93                                                                                        CERES              CA   95307
SOSA, MIKE H                 1245 PARADISE RD                                                                                 MODESTO            CA   95351
SOSA, NORMA ARACELI          STEIN PHILLIP J LAW OFFICES OF    14‐A PALM VILLAGE CENTER                                       BROWNSVILLE        TX   78520
SOSA, NORMA ARACELI          SWEETMAN SKAGGS & LAWLER          855 EAST HARRISON                                              BROWNSVILLE        TX   78520
SOSA, NORMAN FABIAN
SOSA, OSCAR A                13140 MORTENVIEW DR                                                                              TAYLOR             MI   48180‐4957
SOSA, RICHARD                WILLIAMSON CHE D                  16903 RED OAK DR STE 220                                       HOUSTON            TX   77090‐3916
SOSA, SANTA                  7000 WILLIS AVENUE                                                                               FT WORTH           TX   76116‐8731
SOSA, WALLY J                436 MCKELVEY ST                                                                                  SANDUSKY           OH   44870‐3751
SOSALLA CAROL & ROBERT       798 LIGHTHOUSE AVE                                                                               MONTEREY           CA   93940‐1010
SOSBE, IMOJEAN               4035 COLTER DR                                                                                   KOKOMO             IN   46902‐4487
SOSBE, JERRELL L             6783 W COUNTY RD 125 N                                                                           GREENCASTLE        IN   46135‐7781
SOSEBEE AUTO SUPPLY          190 S CLAYTON ST                                                                                 LAWRENCEVILLE      GA   30045‐5717
SOSEBEE JR, BRUCE S          1116 COFFEE RD                                                                                   WALHALLA           SC   29691‐4846
SOSEBEE JR, WILLIAM A        6318 MARBLE HEAD DR                                                                              FLOWERY BR         GA   30542‐5341
SOSEBEE SR, HOWARD R         199 SPRINGPLACE RD NE                                                                            RESACA             GA   30735‐6526
SOSEBEE, EDWARD D            2306 CHICOPEE ST                                                                                 GAINESVILLE        GA   30504‐5906
SOSEBEE, FRANKLIN L          1184 HARDIN BRIDGE RD                                                                            EUHARLEE           GA   30145
SOSEBEE, HARRY T             329 WILDWOOD DR                                                                                  DALLAS             GA   30132‐3902
SOSEBEE, HELEN D             763 JACOBY DR                                                                                    LOGANVILLE         GA   30052‐6719
SOSEBEE, JOEL M              5369 ROCKY MEADOW TRL                                                                            LULA               GA   30554‐4720
SOSEBEE, RONALD L            5113 S WISNER RD                                                                                 ASHLEY             MI   48806‐9329
SOSEBEE, WILLIAM O           1316 HOLLY HILL DRIVE                                                                            GRAND PRAIRIE      TX   75052‐6817
SOSH, JOHN L
SOSH, MARIA K                408 RIDGE RD                                                                                     KOKOMO             IN   46901‐3636
SOSIC, HELEN A               28801 JOHNSON DR                                                                                 WICKLIFFE          OH   44092‐2653
SOSIC, LINO                  2827 TRABAR DR                                                                                   WILLOUGHBY HILLS   OH   44092‐2621
SOSIC, MARIJA                2827 TRABAR DR                                                                                   WILLOUGHBY HILLS   OH   44092‐2621
SOSIN, ROBERTO               73 WESTPORT DR                                                                                   WHITING            NJ   08759‐2322
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Name                      Address1                           Address2                       Address3                   Address4         City                 State Zip
SOSIN, TED                2634 ORMSBY DR                                                                                                STERLING HTS          MI 48310‐6971
SOSINSKI, DONALD W        8 SUNNYSIDE DR                                                                                                BATTLE CREEK          MI 49015‐3140
SOSINSKI, THERESA A       205 HUMISTON CIR                                                                                              THOMASTON             CT 06787‐1223
SOSKA, FRANK              8836 KLINEDALE AVE                                                                                            PICO RIVERA           CA 90660‐5534
SOSKA, ROSE               5806 STEARNS RD                                                                                               NORTH OLMSTED         OH 44070‐4103
SOSKA, ROSE               5806 STEARNS ROAD                                                                                             NORTH OLMSTED         OH 44070‐4103
SOSKI, MARTHA M           C/O JULIE SOSKI                    10008 STATE ROUTE 269                                                      BELLEVUE              OH 44811
SOSKI, MARTHA M           10008 STATE ROUTE 269                                                                                         BELLEVUE              OH 44811‐9688
SOSNOWSKI, ALICE E        19830 N GREAT OAKS CIR                                                                                        CLINTON TWP           MI 48036‐2432
SOSNOWSKI, ANN MARIE      55 ANGLE ROAD                      APT 21 ‐ BUILDING 3                                                        WEST SENECA           NY 14224
SOSNOWSKI, EDWARD         2270 E HIGHLAND RD                                                                                            HIGHLAND              MI 48356‐2716
SOSNOWSKI, GEORGE D       6074 PECK AVE                                                                                                 WARREN                MI 48092‐3845
SOSNOWSKI, JEFFREY M      177 SUMMERBERRY LN                                                                                            NILES                 OH 44446‐2135
SOSNOWSKI, JOHN A         23089 WILLARD AVE                                                                                             WARREN                MI 48089‐2212
SOSNOWSKI, JOHN M         1860 MASSACHUSETTS AVE APT 3                                                                                  POLAND                OH 44514‐1615
SOSNOWSKI, JOHN R         34 PONDEROSA DR                                                                                               MIDDLETOWN            DE 19709‐9782
SOSNOWSKI, JOHN R         11211 W 64TH TER                   APT 304                                                                    SHAWNEE               KS 66203‐3375
SOSNOWSKI, JOSEPH J       27731 WAGNER DR                                                                                               WARREN                MI 48093‐8356
SOSNOWSKI, LAWRENCE B     2116 FLOYD ST SW                                                                                              WYOMING               MI 49519‐3620
SOSNOWSKI, PETER J        1150 W SAINT GEORGES AVE APT B14                                                                              LINDEN                NJ 07036‐6144
SOSNOWSKI, PIOTR J        1150 W SAINT GEORGES AVE APT B14                                                                              LINDEN                NJ 07036‐6144
SOSNOWSKI, ROBERT W       9170 SHERIDAN DR LOT 44                                                                                       CLARENCE              NY 14031‐1451
SOSNOWSKI, WALTER E       140 MAYFLOWER DR                                                                                              YOUNGSTOWN            OH 44512‐6209
SOSS, LESTER L            239 DOVER ST                                                                                                  LOS GATOS             CA 95032‐3814
SOSS, ROBERT J            9825 HARRELL AVE APT 402                                                                                      TREASURE ISLAND       FL 33706‐3248
SOSSAMAN MICHELLE         SOSSAMAN, MICHELLE                 M. NICOL PADWAY                633 W. WISCONSIN AVE STE                    MILWAUKEE             WI 53203
                                                                                            1900
SOSSAMAN, MICHELLE        M. NICOL PADWAY                    633 W WISCONSIN AVE STE 1900                                               MILWAUKEE            WI   53203‐1908
SOSSAMAN, MICHELLE        6305 S 20TH ST APT 28                                                                                         OAK CREEK            WI   53154‐1083
SOSSAMON, CASSIE L        PO BOX 409                                                                                                    MULBERRY             AR   72947‐0409
SOSSAMON, CASSIE L        P O BOX 409                                                                                                   MULBERRY             AR   72947‐0409
SOSSAMON, LEONARD BROWN   COON BRENT W                       PO BOX 4905                                                                BEAUMONT             TX   77704‐4905
SOSSI, ILEANA             1860 MEADOWLARK LN                                                                                            NILES                OH   44446‐4133
SOSSI, JOHN A             3686 FORGE DR                                                                                                 TROY                 MI   48083‐5639
SOSSI, KAY F              1070 COUNTRY CLUB DR                                                                                          SAINT CLAIR SHORES   MI   48082‐2943
SOSSI, OTTO R             1070 COUNTRY CLUB DR                                                                                          SAINT CLAIR SHORES   MI   48082‐2943
SOSSONG, CHARLES E        325 ONTARIO ST                                                                                                LOCKPORT             NY   14094‐2040
SOSSONG, DONALD M         67 ELMWOOD AVE                                                                                                LOCKPORT             NY   14094‐4621
SOSTAK, LOIS              8 N 440 MCGOUGH ROAD                                                                                          MAPLE PARK           IL   60151
SOSTAK, LOIS              8N440 MCGOUGH RD                                                                                              MAPLE PARK           IL   60151‐9384
SOSTAK, STANLEY E         664 N OLDEN AVE                                                                                               TRENTON              NJ   08638‐4332
SOSTAKAS DIANNE           SWEET, SAMUEL D CH 7 TRUSTEE       43777 N GROESBECK HWY                                                      CLINTON TWP          MI   48036‐1112
SOSTAKAS, DIANE           5865 MONTGOMERY RD                                                                                            MARLETTE             MI   48453‐8456
SOSTAKAS, JONAS           217 W SUNNYBROOK DR                                                                                           ROYAL OAK            MI   48073‐5126
SOSTAKOWSKI, ROBERT J     36385 AURENSEN RD                                                                                             N RIDGEVILLE         OH   44039‐3746
SOSTENEZ PEREZ            9291 SAGINAW ROAD                                                                                             RICHVILLE            MI   48758
SOSUNOV,JAMES             22 HUNTERS TRAIL                                                                                              WARREN               NJ   07059
SOSZYNSKI, CHESTER B      37905 WATKINS DR                                                                                              STERLING HTS         MI   48312‐2578
SOSZYNSKI, JOMARIE        3811 HIGHGATE TRL                                                                                             BRIGHTON             MI   48114‐8154
SOTA TECHNOLOGY INC       2793 METAMORA RD                                                                                              OXFORD               MI   48371‐2357
SOTA TECHNOLOGY INC       BILL WALKER                        2470 X‐CELSIOR DR                                                          EL PASO              TX   79936
SOTA TECHNOLOGY, INC.     BILL WALKER                        2470 X‐CELSIOR DR                                                          EL PASO              TX   79936
                           09-50026-mg              Doc 7123-37    Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                       Address1                         Address2                           Address3   Address4                   City            State Zip
SOTAK, ELSIE               303 GOSLING WAY                                                                                           GLASSBORO        NJ 08028‐3285
SOTAK, GEORGIA D           4157 GREENMONT DR SE                                                                                      WARREN           OH 44484‐2615
SOTAK, MARIA               1308‐119 ST                                                                                               WHITING          IN 46394‐1634
SOTAK, PETER               5221 SW 101ST AVE                                                                                         COOPER CITY      FL 33328‐4937
SOTAK, PHIL                5486 HANLEY                                                                                               WATERFORD        MI 48327‐2559
SOTAK, PHIL                4737 FAY DRIVE                                                                                            CLEVELAND        OH 44121‐3884
SOTEK, VICTORIA C          693 CHURCH ST                                                                                             WHITINSVILLE     MA 01588‐2116
SOTELO, ANTONIO            230 S 8TH ST                                                                                              LANSING          MI 48912‐1422
SOTELO, CASANDRA A         2301 CASTLE CREEK DR                                                                                      LITTLE ELM       TX 75068‐4883
SOTELO, DAN M              APT 10                           705 EAST WORTH STREET                                                    GRAPEVINE        TX 76051‐3672
SOTELO, DAN M              705 E WORTH ST APT 10                                                                                     GRAPEVINE        TX 76051
SOTELO, EMMA OCHOA         TAMEZ DANIEL R LAW OFFICES OF    1010 2ND AVE STE 1750                                                    SAN DIEGO        CA 92101‐4969
SOTELO, EVA M              13200 BROMONT AVE APT F14                                                                                 SYLMAR           CA 91342‐4307
SOTELO, FRANK E            14158 LOUVRE ST                                                                                           ARLETA           CA 91331‐4436
SOTELO, FRANK S            13219 WENTWORTH ST                                                                                        ARLETA           CA 91331‐5823
SOTELO, FRANK SANCHEZ      13219 WENTWORTH ST                                                                                        ARLETA           CA 91331‐5823
SOTELO, HECTOR             9405 CHARWOOD DR                                                                                          OKLAHOMA CITY    OK 73139‐8616
SOTELO, LUCY               5627 CABOT ST                                                                                             DETROIT          MI 48210‐1825
SOTELO, MIKE C             112 FEATHERSTONE ST                                                                                       OXNARD           CA 93030‐5553
SOTELO, RODOLFO S          1940 WOLF CREEK HWY                                                                                       ADRIAN           MI 49221
SOTELO, SOILA              9323 NOTTINGHAM DR                                                                                        EL PASO          TX 79907
SOTER, ELIZABETH B         3491 RICHMOND AVE                                                                                         LINCOLN PARK     MI 48146‐3459
SOTER, FATINA              17 MEADOW LN                                                                                              BEDFORD          TX 76021‐5611
SOTER, JOHN M              1445 OLT RD                                                                                               DAYTON           OH 45418‐1442
SOTER, JOHN M              1445 OLT RD. EXT                                                                                          DAYTON           OH 45418‐1442
SOTER, MICHAEL P           8454 SW 60TH CT                                                                                           OCALA            FL 34476‐8522
SOTER, SAMUEL A            17 MEADOW LN                                                                                              BEDFORD          TX 76021‐5611
SOTER‐SIMOES, TAMMY LYNN   1628 CARIBOU DR                                                                                           FORT WAYNE       IN 46804‐1324
SOTERO,VICTOR E            230 E 115 ST                     APT 10D                                                                  NEW YORK         NY 10029
SOTHEN, GALEN E            5339 WHEAT WAY AVE                                                                                        SWARTZ CREEK     MI 48473‐8232
SOTHERLAND, FAYE J         401 8TH ST SW                                                                                             CULLMAN          AL 35055‐4241
SOTHERLAND, MICHELLE       27 ANDREW CT                                                                                              WEST SALEM       OH 44287‐9763
SOTIR GROZDANOVSKI         8895 WOODLORE SOUTH DR                                                                                    PLYMOUTH         MI 48170‐3499
SOTIRIOS ELIOPOULOS        4921 LOCKHAVEN AVE                                                                                        LOS ANGELES      CA 90041‐1811
SOTIRIOS ROMEOS            12104 PINEHURST LN                                                                                        GRAND BLANC      MI 48439‐2632
SOTIRIOS TYMPAS            MEROPI TYMPA                     MAKPI STR 27                                  GR 42100 TRIKALA, GREECE
SOTO ALEXANDER             SOTO, ALEXANDER                  120 WEST MADISON STREET , 10TH                                           CHICAGO          IL   60602
                                                            FLOOR
SOTO ANTONIO (459357)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK         VA 23510
                                                            STREET, SUITE 600
SOTO ARTHUR                717 HOLLISTER ST                                                                                          SAN FERNANDO    CA    91340‐3714
SOTO CHRISTOPHER           FLY STAR ENTERTAINMENT           816 MAIN AVE                                                             HAGERSTOWN      MD    21740‐5242
SOTO FAMILY TRUST          RAIDA SOTO                       3 DOGWOOD LA                                                             DEMCREST        NJ    07627
SOTO FAMILY TRUST          ZAIDA SOTO                       3 DOGWOOD LA                                                             DEMCREST        NJ    07627
SOTO GLORIA                ARMENTA, ANNETTE                 3101 N CENTRAL AVE 15849 71ST ST                                         PHOENIX         AZ    85012
                                                            SUITE N SUITE 1250
SOTO GLORIA                LAGUNA, ADRIAN SR                3101 N CENTRAL AVE STE 1250                                              PHOENIX         AZ    85012‐2670
SOTO GLORIA                LAGUNA, ADRIAN SR                15849 N 71ST ST STREET SUITE 100                                         SCOTTSDALE      AZ    85254‐2179
SOTO GLORIA                LAGUNA, ANGEL                    3101 N CENTRAL AVE 15849 71ST ST                                         PHOENIX         AZ    85012
                                                            SUITE N SUITE 1250
SOTO GLORIA                LAGUNA, ANTONIO                  3101 N CENTRAL AVE 15849 71ST ST                                         PHOENIX         AZ    85012
                                                            SUITE N SUITE 1250
                                    09-50026-mg              Doc 7123-37    Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit B
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Name                                Address1                         Address2                         Address3              Address4         City               State Zip
SOTO GLORIA                         LAGUNA, ARIANA                   3101 N CENTRAL AVE 15849 71ST ST                                        PHOENIX             AZ 85012
                                                                     SUITE N SUITE 1250
SOTO GLORIA                         LAGUNA, VIVIANA                  2398 EAST CAMELBACK ROAD SUITE                                          PHOENIX            AZ   85016
                                                                     1010
SOTO GLORIA                         SOTO, ALEX                       145 S 6TH AVE                                                           TUCSON             AZ   85701‐2007
SOTO GLORIA                         SOTO, GLORIA                     3101 N CENTRAL AVE 15849 71ST ST                                        PHOENIX            AZ   85012
                                                                     SUITE N SUITE 1250
SOTO GLORIA                         SOTO, MARY                       145 S 6TH AVE                                                           TUCSON             AZ   85701‐2007
SOTO GLORIA                         SOTO, TONI                       3101 N CENTRAL AVE 15849 71ST ST                                        PHOENIX            AZ   85012
                                                                     SUITE N SUITE 1250
SOTO HECTOR                         SOTO, HECTOR                     113 EAST 37TH ST                                                        NEW YORK           NY   10013
SOTO JOSE                           SOTO, JOSE                       42 IGLESIA PANTING                                                      MAYAQUEZ           PR   00682‐2405
SOTO JR, EDWARD                     15073 MCCANN ST                                                                                          SOUTHGATE          MI   48195‐2642
SOTO JR, ELOY L                     7590 FERRIS RD                                                                                           ELWELL             MI   48832‐9791
SOTO JR, JOSE                       1409 MARYLAND AVE                                                                                        FLINT              MI   48506‐2747
SOTO MODESTO                        SOTO, MODESTO                    24012 CALLE DE LA PLATA STE 407                                         LAGUNA HILLS       CA   92653‐7625
SOTO MODESTO                        SOTO, ROSALIA                    BARNES & FARRELL                  25909 PALA STE 310                    MISSION VIEJO      CA   92691‐2778
SOTO PUBLIO CARBONELL (ESTATE OF)   BILBREY & HYLIA                  8724 PIN OAK RD                                                         EDWARDSVILLE       IL   62025‐6822
(667822)
SOTO REGINA CLARE                   SOTO, REGINA                     110 W C ST STE 1300                                                     SAN DIEGO          CA 92101‐3978
SOTO YVONNE                         SOTO, YVONNE                     4809 COLE AVE STE 212                                                   DALLAS             TX 75205‐5598
SOTO, ACEVEDO ADA
SOTO, ALEX                          PICCARRETA DAVIS & STORIE PC     145 S 6TH AVE                                                           TUCSON             AZ   85701‐2007
SOTO, ALEXANDER                     KROHN & MOSS ‐ IL                120 WEST MADISON STREET, 10TH                                           CHICAGO            IL   60602
                                                                     FLOOR
SOTO, ALFRED                        2504 WESTCHESTER DR                                                                                      ARLINGTON          TX   76015‐1137
SOTO, ANITALIA
SOTO, ANTONIO                       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                             NORFOLK            VA 23510‐2212
                                                                     STREET, SUITE 600
SOTO, ARMINDA                       528 NORTHWESTERN DR                                                                                      ADRIAN             MI   49221‐1444
SOTO, ARNULFO A                     26294 PENNIE ST                                                                                          DEARBORN HEIGHTS   MI   48125‐1462
SOTO, ARTHUR D                      141 CARMELL ST                                                                                           BELLEVILLE         MI   48111‐4908
SOTO, ARTHUR E                      4905 SW SPENCER AVE APT 5                                                                                BEAVERTON          OR   97005‐3766
SOTO, ARTUTO S SOLIS
SOTO, BENJAMIN                      1353 TAYLOR AVE APT 5                                                                                    BRONX              NY   10472‐1928
SOTO, BRUNO                         5421 NORTH 15TH STREET                                                                                   LINCOLN            NE   68521‐5219
SOTO, CARLOS                        3800 62ND AVE N                  MAGNOLIA GARDEN #222                                                    PINELLAS PARK      FL   33781
SOTO, CARLOS J                      2139 BURNSIDE RD                                                                                         NORTH BRANCH       MI   48461‐9625
SOTO, CARLOS JOHN                   2504 WESTCHESTER DR                                                                                      ARLINGTON          TX   76015‐1137
SOTO, CARMEN L                      1958 S 15TH PL                                                                                           MILWAUKEE          WI   53204‐3701
SOTO, CECILIA                       1077 BOTHWELL CIR                                                                                        BOLINGBROOK        IL   60440‐1667
SOTO, CONSUELO B                    6011 PENNSYLVANIA AVE                                                                                    ARLINGTON          TX   76017‐1931
SOTO, CONSUELO B                    6011 PENNSYLVINIA AVE                                                                                    ARLINGTON          TX   76017
SOTO, COUIE                         1705 S. GRANT                                                                                            BAY CITY           MI   48708‐8094
SOTO, COUIE                         1705 S GRANT ST                                                                                          BAY CITY           MI   48708‐8094
SOTO, DANIEL H                      2927 NE 54TH ST                                                                                          KANSAS CITY        MO   64119‐2664
SOTO, DANIEL J                      17740 HANNA ST                                                                                           MELVINDALE         MI   48122‐1033
SOTO, DAVID                         RT4 BZN 2149                                                                                             AGUADILLA          PR   00603
SOTO, DECIDERIO J                   632 S GREEN RD                                                                                           BAY CITY           MI   48708‐9622
SOTO, DENNIS J                      935 S KNIGHT RD                                                                                          BAY CITY           MI   48708‐9659
SOTO, DENNIS JOSEPH                 935 S KNIGHT RD                                                                                          BAY CITY           MI   48708‐9659
SOTO, DONA
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Name                       Address1                              Address2                           Address3   Address4         City             State Zip
SOTO, EDWARD G             3730 COMMONWEALTH DR                                                                                 GARLAND           TX 75043‐2311
SOTO, EDWIN                34 E 16TH ST                                                                                         BAYONNE           NJ 07002‐4422
SOTO, EFREN F              292 GLENBROOKE APT 13302                                                                             WATERFORD         MI 48327‐2152
SOTO, ELVIRA V             5747 S MOBILE AVE                                                                                    CHICAGO            IL 60638‐3425
SOTO, ELVIRA V             5747 S. MOBILE                                                                                       CHICAGO            IL 60638‐3425
SOTO, EMIGDIO              ARRAZOLO LAW PC                       715 TIJERAS AVE NW                                             ALBUQUERQUE       NM 87102‐3076
SOTO, EMIGDIO              RAGAN JAMES B PC                      723 COLEMAN AVE                                                CORPUS CHRISTI    TX 78401‐3414
SOTO, ERNESTO
SOTO, FRANK C              2509 SW 66TH ST                                                                                      OKLAHOMA CITY    OK 73159‐2729
SOTO, GLORIA               7124 W/ CALLE LERDO                                                                                  TUCSON           AZ 85146
SOTO, GLORIA               HOPKINS LAW OFFICES PLC, THE SITTU LAW 3101 NORTH CENTRAL AVE, 15849 N                               PHOENIX          AZ 85012
                           FIRM,                                  71ST ST. SUITE 1250, SUITE 100
SOTO, GUILLERMO O          20349 ROAD 30                                                                                        MADERA            CA 93638‐8074
SOTO, HECTOR
SOTO, HECTOR               DURST LAW FIRM PC                     319 BROADWAY                                                   NEW YORK         NY   10007
SOTO, HECTOR               RHEINGOLD VALET & RHEINGOLD           113 EAST 37TH ST                                               NEW YORK         NY   10013
SOTO, HECTOR D             17429 PARK ST                                                                                        MELVINDALE       MI   48122‐1212
SOTO, HERNANDO O           3803 SW 93RD AVE                                                                                     MIAMI            FL   33165‐4157
SOTO, HILARIO G            110 LEDYARD AVE                                                                                      DEPEW            NY   14043‐2714
SOTO, HUMBERTO O           1818 BROOKS CT                                                                                       LOS BANOS        CA   93635‐5337
SOTO, IVIS D               226 NATHAN WAY                                                                                       MILLERSVILLE     MD   21108‐1033
SOTO, JOSE A               1760 BRUCKNER BLVD APT 3G                                                                            BRONX            NY   10473‐3737
SOTO, JOSE M               PO BOX 7702                                                                                          FLINT            MI   48507‐0702
SOTO, JOSE MANIA           PO BOX 7702                                                                                          FLINT            MI   48507‐0702
SOTO, JOSE S GOMEZ
SOTO, JUNNYS DEYANIRA
SOTO, LEOPOLD H            3896 ETTMAN ST                                                                                       SHRUB OAK        NY   10588‐1010
SOTO, MANUEL               415 N DIBBLE AVE                                                                                     LANSING          MI   48917‐2827
SOTO, MARGARET L           APT D                                 1206 RIDGE CIRCLE                                              TONGANOXIE       KS   66086‐9302
SOTO, MARGARET L           1206 REDGE CIR                        #D                                                             TONGANOXIE       KS   66086
SOTO, MARIA D              365 WOODFORD AVE D29                                                                                 PLAINVILLE       CT   06062
SOTO, MARK ANTHONY
SOTO, MARKITA ANTONIETTE
SOTO, MARY                 PICCARRETA DAVIS & STORIE PC          145 S 6TH AVE                                                  TUCSON           AZ   85701‐2007
SOTO, MARY J               244 RIVER OAKS C22                                                                                   BATTLE CREEK     MI   49014
SOTO, MODESTO              BARNES & FARRELL                      25909 PALA STE 310                                             MISSION VIEJO    CA   92691‐2778
SOTO, ORLANDO J            6312 BERLINETTA DR                                                                                   ARLINGTON        TX   76001‐7443
SOTO, ORLANDO JON          6312 BERLINETTA DR                                                                                   ARLINGTON        TX   76001‐7443
SOTO, PETE J               760 E GARDEN DR                                                                                      WINDSOR          CO   80550‐3155
SOTO, PUBLIO CARBONELL     BILBREY & HYLIA                       8724 PIN OAK RD                                                EDWARDSVILLE     IL   62025‐6822
SOTO, RALPH A              8320 W MONEE MANHATTAN RD                                                                            MONEE            IL   60449‐9648
SOTO, RALPH R              497 POKER FLAT RD                                                                                    COPPEROPOLIS     CA   95228‐9794
SOTO, REGINALD J           617 SANTA ROSA                                                                                       MANTECA          CA   95336
SOTO, RENE                 PO BOX 680711                                                                                        FRANKLIN         TN   37068‐0711
SOTO, RICHARD              26922 NEW YORK ST                                                                                    INKSTER          MI   48141‐2524
SOTO, RICHARD              255 MAGNOLIA DR                                                                                      INKSTER          MI   48141‐1160
SOTO, ROBERT G             355 S 22ND ST                                                                                        SAGINAW          MI   48601‐1452
SOTO, RODOLFO              1014 LARCH LN                                                                                        FORT WAYNE       IN   46825‐4652
SOTO, ROSALIA              BARNES & FARRELL                      25909 PALA STE 310                                             MISSION VIEJO    CA   92691‐2778
SOTO, RUBEN D              40401 YARDLEY COURT                                                                                  TEMECULA         CA   92591‐7027
SOTO, STELLA               624 MYRTLE ST                                                                                        ELIZABETH        NJ   07202‐2621
SOTO, SYLVIA
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Name                        Address1                               Address2                        Address3   Address4         City                 State Zip
SOTO, TELESFORD             22770 REDWOOD LN                                                                                   TAYLOR                MI 48180‐9316
SOTO, TONI                  7124 W CALLE LERDO                                                                                 TUCSON                AZ 85146
SOTO, TONI                  HOPKINS LAW OFFICES PLC, THE SITTU LAW 3101 NORTH CENTRAL AVE, 15849 N                             PHOENIX               AZ 85012
                            FIRM,                                  71ST ST. SUITE 1250, SUITE 100
SOTO, WILLIAM               URB. MANSIONES DE CABO ROJO            CALLE ELAYA #137                                            CABO ROJO            PR    00623
SOTO, YVONNE                238 OCOTILLO DR                                                                                    SUNLAND PARK         NM    88063‐9417
SOTO‐ARCE, MAGALY           265 INLET CT                                                                                       WALLED LAKE          MI    48391‐3634
SOTOLONGO, JOSE O           7881 W 29TH WAY APT 102                                                                            HIALEAH              FL    33018‐7247
SOTOLONGO, JULIO            92 WARWICK ST                                                                                      NEWARK               NJ    07105
SOTOMAYER, DAVID            DAVIDSON & COHEN                       265 SUNRISE HIGHWAY                                         ROCKVILLE CENTRE     NY    11570
SOTOMAYOR, ARSENIO E        1450 SUMMIT RUN CIR                                                                                WEST PALM BEACH      FL    33415‐4747
SOTOMAYOR, MICHAEL A        9090 PITMAN RD                                                                                     YPSILANTI            MI    48197‐8909
SOTOMAYOR, MIGUEL A         4120 TESS LN                                                                                       YPSILANTI            MI    48197‐9244
SOTOS, NIKO                 2827 E SAGINAW ST                                                                                  LANSING              MI    48912‐4239
SOTOS, WILLIAM              6662 LAUREL LN                                                                                     OLMSTED FALLS        OH    44138‐2736
SOTRADA AG                  CALWER STR. 11                                                                                     STUTTGART            DE    70173
SOTRES, BLANCA              1207 BELVEDERE DR.                                                                                 KOKOMO               IN    46902‐5602
SOTT DONALD (411794)        THORNTON EARLY & NAUMES                100 SUMMER ST LBBY 3                                        BOSTON               MA    02110‐2104
SOTT, DONALD                THORNTON EARLY & NAUMES                100 SUMMER ST LBBY 3                                        BOSTON               MA    02110‐2104
SOTTILE, DOMINICK           27 FAIRWAY DR                                                                                      LANGHORNE            PA    19047‐2169
SOTTILE, EDNA M             2650 CHRISTMAS TREE PL                                                                             OCEANO               CA    93445‐8994
SOTTILE, JOHN V             4725 SAWMILL RD                                                                                    CLARENCE             NY    14031‐2261
SOTTILE, ROSEMARY E         3 COVENT GARDEN CT                                                                                 GREENSBORO           NC    27455
SOTTLER, THOMAS L           501 EAST 63ARD NORTH                   #4BLACKFOOT                                                 PARK CITY            KS    67219
SOTTOSANTI, MARIE A         151 LA VISTA GRANDE                                                                                SANTA BARBARA        CA    93103‐2817
SOTUS, MICHAEL G            PO BOX 694                                                                                         GREENFIELD           IN    46140‐0694
SOU, MONTSEREY              ALEXANDER ADAM S                       31275 NORTHWESTERN HWY STE                                  FARMINGTON HILLS     MI    48334‐2578
                                                                   121
SOUA LEE                    5266 TUBBS RD                                                                                      WATERFORD            MI    48327‐1361
SOUA Y CHENG                53 W CORNELL AVE                                                                                   PONTIAC              MI    48340‐2717
SOUAD BASHA REV TRUST U/A   C/O SOUAD BASHA                        4916 BUCHANAN ST                                            HOLLYWOOD            FL    33021
SOUAD WARDIA                2029 KEMP RD                                                                                       BLOOMFIELD           MI    48302‐0144
SOUBANNARATH MIKE           KENTGAM, PHITSAMAY                     120 WEST MADISON STREET 10TH                                CHICAGO              IL    60602
                                                                   FLOOR
SOUBANNARATH MIKE           SOUBANNARATH, MIKE                     120 WEST MADISON STREET 10TH                                CHICAGO               IL   60602
                                                                   FLOOR
SOUBEL, WENDY G             824 THREE MILE DR                                                                                  GROSSE POINTE PARK   MI    48230‐1808
SOUBEYRAND, JUDITH          32940 ROSSLYN AVE                                                                                  GARDEN CITY          MI    48135‐1064
SOUBLIERE, BRYAN L          700 KENYON DR                                                                                      TROY                 MI    48083‐1051
SOUBLIERE, F J              4361 CEDAR LAKE RD                                                                                 HOWELL               MI    48843‐9665
SOUBLIERE, FLORENCE G       27795 DEQUINDRE APT #228                                                                           MADISON HEIGHTS      MI    48071‐5717
SOUBLIERE, RICK J           4361 CEDAR LAKE RD                                                                                 HOWELL               MI    48843‐9665
SOUCEK, HANA                4425 FORGE RD                                                                                      PERRY HALL           MD    21128‐9513
SOUCEY, RICHARD L           4053 SILVER VALLEY DR                                                                              ORION                MI    48359‐1654
SOUCHEK, DONALD R           43 SOUTH RD                                                                                        CHEBEAGUE ISLAND     ME    04017‐3001
SOUCHOCK,MARGO L            18188 YORKSHIRE DR                                                                                 RIVERVIEW            MI    48193‐8168
SOUCIA, LAWRENCE E          6068 LAKE AVE                                                                                      ORCHARD PARK         NY    14127‐1130
SOUCIE, GARY L              6873 NORENA CT                                                                                     BROWNSBURG           IN    46112‐8782
SOUCIE, RUSSELL G           126 DUNCAN ST                                                                                      BRISTOL              CT    06010‐4823
SOUCY, AURELIEN R           18 SAINT PAUL ST                                                                                   BLACKSTONE           MA    01504‐2254
SOUCY, BARBARA              116 CHULA VISTA AVE                                                                                THE VILLAGES         FL    32159‐2159
SOUCY, JOHN                 727 OLEANDER CIR                                                                                   BAREFOOT BAY         FL    32976‐7656
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Name                            Address1                         Address2                        Address3   Address4         City             State Zip
SOUCY, JOSEPH F                 75 MIX ST                                                                                    BRISTOL           CT 06010‐3821
SOUCY, RITA M                   240 MAIN ST APT‐316                                                                          MARLBORO          MA 01752‐3855
SOUCY, ROBERT R                 33209 DOCKSIDE LN                                                                            LEESBURG          FL 34788‐7554
SOUCY, WINIFRED G               4151 HELEN                                                                                   LINCOLN PARK      MI 48146‐3717
SOUCY, WINIFRED G               4151 HELEN AVE                                                                               LINCOLN PARK      MI 48146‐3717
SOUDAN, WILLIAM J               7 PACKET BOAT DR                                                                             FAIRPORT          NY 14450‐1317
SOUDEN, JAMES E                 1170 PARKWAY                                                                                 WATERFORD         MI 48328‐4348
SOUDEN, MARION S                1170 PARKWAY                                                                                 WATERFORD         MI 48328‐4348
SOUDER JR, THOMAS W             7745 BATH RD                                                                                 BYRON             MI 48418‐8960
SOUDER VERNON (481295)          KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                               CLEVELAND         OH 44114
                                                                 BOND COURT BUILDING
SOUDER'S SERVICE CENTER, INC.   1035 S MISSION ST                                                                            MOUNT PLEASANT   MI   48858‐3549
SOUDER, CLARENCE                1813 CHASE AVE                                                                               CINCINNATI       OH   45223‐2022
SOUDER, GARY L                  1911 PLUM ST                                                                                 HIGGINSVILLE     MO   64037‐1439
SOUDER, JOHN S                  4131 WICKER CT                                                                               CLIO             MI   48420‐8285
SOUDER, LAWRENCE G              PO BOX 1345                                                                                  AVA              MO   65608‐1345
SOUDER, LEE A                   459 HENRY SREET                  APT 211                                                     DETROIT          MI   48201
SOUDER, R D                     4131 WICKER CT                                                                               CLIO             MI   48420‐8285
SOUDER, VERNON                  KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                CLEVELAND        OH   44114
                                                                 BOND COURT BUILDING
SOUDERS GLEN D (429848)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                                 STREET, SUITE 600
SOUDERS, FRANCES P              2106 N. 600 RD.                                                                              BALDWIN          KS 66006‐7265
SOUDERS, FRANCES P              2106 N 600TH RD                                                                              BALDWIN CITY     KS 66006‐7265
SOUDERS, GLEN D                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510‐2212
                                                                 STREET, SUITE 600
SOUDERS, JAMES H                2522 RIO TIBER DR                                                                            PUNTA GORDA      FL   33950‐6324
SOUDERS, JOHN M                 301 LAVERNE DR                                                                               FENTON           MO   63026‐4454
SOUDERS, LESLIE A               1008 GRAY SQUIRREL DR                                                                        PENDLETON        IN   46064
SOUDERS, LESTER J               533 N PENNSYLVANIA AVE                                                                       HANCOCK          MD   21750‐1039
SOUDERS, RICHARD D              1613 SECTION ST                                                                              PLAINFIELD       IN   46168‐1917
SOUDERS, SAMUEL C               964 SEYMOUR LAKE RD                                                                          OXFORD           MI   48371‐4654
SOUDERS, SHIRLEY F              RR 1 BOX 444                                                                                 HARTS            WV   25524‐9619
SOUDURE VAUDREUIL INC
SOUFFRANT, MICHEL U             PO BOX 208                                                                                   VAUXHALL         NJ   07088‐0208
SOUFFRIN, DENNIS G              2515 E GREENDALE DR                                                                          SAGINAW          MI   48603‐2871
SOUGSTAD, BARBARA J             10775 BISHOP HWY                                                                             DIMONDALE        MI   48821‐8736
SOUGSTAD, DANIEL F              2043 WINSTED BLVD                                                                            ANN ARBOR        MI   48103‐6039
SOUHEAVER, CAROLINE A           1420 PERRY RD BLDG 5                                                                         GRAND BLANC      MI   48439
SOUHEIL SARROUH                 1531 QUEENS CT                                                                               WESTLAKE         OH   44145‐2408
SOUHRADA, FRANCES A             1076 MEADOW DR                                                                               BEAVERCREEK      OH   45434‐7032
SOUKAL, KAREL                   5009 MCCANDLISH RD                                                                           GRAND BLANC      MI   48439‐1842
SOUKAL, VERA                    5009 MCCANDLISH RD                                                                           GRAND BLANC      MI   48439‐1842
SOUKAMNEUTH, SAVAJD J           1402 E BOATFIELD AVE                                                                         BURTON           MI   48529
SOUKANH PHANMAHA                2802 ARENDAL DR                                                                              FLINT            MI   48506‐1314
SOUKUP DOUG                     1720 DAWNRIDGE CT                                                                            PALMDALE         CA   93551‐4392
SOUKUP JOSEPHINE                17463 SAGAMORE RD                                                                            WALTON HILLS     OH   44146‐5132
SOUKUP, ANGELINE F              10015 W ROYAL OAK RD                                                                         SUN CITY         AZ   85351‐3164
SOUKUP, DOUGLAS L               1720 DAWNRIDGE CT                                                                            PALMDALE         CA   93551‐4392
SOUKUP, GARY L                  16542 SORENTO DR                                                                             CHESANING        MI   48616‐9745
SOUKUP, GARY LEE                16542 SORENTO DR                                                                             CHESANING        MI   48616‐9745
SOUKUP, GLORIA K                15484 W RIDGE RD                                                                             OAKLEY           MI   48649‐9731
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Name                      Address1                         Address2             Address3         Address4         City              State Zip
SOUKUP, TODD S            5946 WALLIS DRIVE                                                                       FRISCO             TX 75034‐2814
SOUKUP, TRESA             15240 JOHNSTONE RD                                                                      OAKLEY             MI 48649‐9729
SOUKUP, TRESA             15240 W JOHNSTONE RD                                                                    OAKLEY             MI 48649‐9729
SOUL SAVING HOLY CHURCH   442 PIQUETTE ST                                                                         DETROIT            MI 48202‐3548
SOULAR JR, GEORGE W       PO BOX 1082                                                                             WARREN             MI 48090‐1082
SOULBY, DIANNE W          3943 MUIRFIELD BLVD E                                                                   JACKSONVILLE       FL 32225‐5715
SOULDOURIAN, ELOICE G     35185 LEWIS ST                                                                          WESTLAND           MI 48185‐2195
SOULDOURIAN, LEON J       35185 LEWIS ST                                                                          WESTLAND           MI 48185‐2195
SOULE, ANN C              107 MORGAN RD                                                                           SALEM              CT 06420‐3829
SOULE, BETTY J            2000 RAMAR RD LOT 682                                                                   BULLHEAD CITY      AZ 86442‐9321
SOULE, BRUCE L            3341 GALE RD                                                                            EATON RAPIDS       MI 48827‐9633
SOULE, DAVID M            1461 SHADY LN                                                                           GREENVILLE         MI 48838‐9298
SOULE, DOUGLAS R          620 VAUGHANS GAP RD                                                                     SPRING HILL        TN 37174‐2582
SOULE, FRED D             128 C ST                                                                                NEWPORT            NC 28570‐5166
SOULE, GERALDINE R        3539 WHISPERING BROOK DR SE                                                             KENTWOOD           MI 49508‐3733
SOULE, JAMES C            305 CAROM CIR                                                                           MASON              MI 48854‐9371
SOULE, JAMES CHARLES      305 CAROM CIR                                                                           MASON              MI 48854‐9371
SOULE, JANICE E           3435 HANCHETT ST                                                                        SAGINAW            MI 48604‐2112
SOULE, JOHN K             5801 W BETHEL AVE                                                                       MUNCIE             IN 47304‐9549
SOULE, KENNETH F          11440 PRIOR RD                                                                          SAINT CHARLES      MI 48655‐8536
SOULE, LARRY G            346 N MERIDIAN RD                                                                       MASON              MI 48854‐9640
SOULE, LEE E              8527 NORTH M‐52                                                                         HENDERSON          MI 48841
SOULE, LEROY R            136 EDGEWOOD DR                                                                         PRUDENVILLE        MI 48651‐9753
SOULE, MELINDA            1461 SHADY LN                                                                           GREENVILLE         MI 48838‐9298
SOULE, MOLLIE W           620 VAUGHN'S GAP ROAD                                                                   SPRING HILL        TN 37174
SOULE, PHILLIP O          2000 RAMAR RD LOT 682                                                                   BULLHEAD CITY      AZ 86442‐9321
SOULE, RICHARD D          2061 EAGLE HARBOR WATERPORT RD                                                          ALBION             NY 14411‐9047
SOULE, RITA A             2061 EGLE‐HRBR‐WTRPT RD                                                                 ALBION             NY 14411
SOULE, ROBENA M           515 WETMORE ST                                                                          HOWELL             MI 48843‐1562
SOULE, ROGER L            360 EAST AVE                                                                            ALBION             NY 14411‐1619
SOULE, ROLLAND E          1500 HIGHWAY 15                                                                         MYRTLE BEACH       SC 29577‐5210
SOULE, RUTH J             145 N CRAWFORD RD                                                                       TWINING            MI 48766‐9706
SOULE, RUTH J             145 N. CRAWFORD RD.                                                                     TWINING            MI 48766‐9706
SOULE, SHIRLEY            1338 SIGSBEE ST SE                                                                      GRAND RAPIDS       MI 49506‐2558
SOULE, STACIE A           802 BROADWAY                                                                            NEW YORK           NY 10003
SOULE, STANLEY A          711 LUDLOW AVE                                                                          ROCHESTER          MI 48307‐1310
SOULE, THOMAS E           4837 NEPTUNE LN                                                                         DAYTON             OH 45424‐6009
SOULE, WANDA L            8427 GARDENS CIR                                                                        SARASOTA           FL 34243‐3001
SOULE‐PEDE, ELSIE T       1 ESTES DR                                                                              FREEPORT           ME 04032‐6751
SOULERET, MARJORIE R      995 LIBERTY AVE                                                                         LINCOLN PARK       MI 48146‐3608
SOULERET, MARJORIE R      995 LIBERTY                                                                             LINCOLN PARK       MI 48146‐3608
SOULERIN, JORDAN J        17731 W 130TH ST                                                                        NORTH ROYALTON     OH 44133‐5982
SOULES, CARL E            722 N ELM ST                                                                            MUNCIE             IN 47305‐1418
SOULES, CARL EDWARD       722 N ELM ST                                                                            MUNCIE             IN 47305‐1418
SOULES, CHRISTI           10876 DEERWOOD CT SE                                                                    LOWELL             MI 49331‐9629
SOULES, DANIEL C          PO BOX 740                                                                              ROCKFORD           MI 49341‐0740
SOULES, DON G             1089 E COSTELLO ST                                                                      MOUNT MORRIS       MI 48458‐2239
SOULES, EMERY J           258 SOULES RD                                                                           AFTON              MI 49705‐9712
SOULES, ROBERT F          1130 SUGAR SANDS BLVD APT 192                                                           WEST PALM BEACH    FL 33404
SOULES, ROBERT J          1317 KNAPP AVE                                                                          FLINT              MI 48503‐3237
SOULES, RONALD P          10876 DEERWOOD CT SE                                                                    LOWELL             MI 49331‐9629
SOULES, RONALD P.         10876 DEERWOOD CT SE                                                                    LOWELL             MI 49331‐9629
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Name                             Address1                           Address2                         Address3   Address4                City               State Zip
SOULIA, GERALD M                 PO BOX 957                                                                                             ROOSEVELTOWN        NY 13683‐0957
SOULIA, GERALD MAURICE           PO BOX 957                                                                                             ROOSEVELTOWN        NY 13683‐0957
SOULIA, PATRICIA L               PO BOX 957                                                                                             ROOSEVELTOWN        NY 13683‐0957
SOULIA, TAMMY L                  14 MARTIN ROAD                                                                                         POUGHKEEPSIE        NY 12601‐5612
SOULIC MARCI                     2675 WINDMILL PKWY APT 2922                                                                            HENDERSON           NV 89074‐1944
SOULIE BRYAN                     224 BEAUPRE DR                                                                                         LULING              LA 70070
SOULISKE, ROBERT K               110 WOODRIDGE                                                                                          LONGVIEW            TX 75602
SOULLIER, GILBERT A              6500 NORTON DR                                                                                         TROY                MI 48085‐1632
SOULLIER, MARGARET A             2192 BARCLAY AVE                                                                                       UTICA               MI 48317‐3601
SOULLIER, RAY J                  2192 BARCLAY AVE                                                                                       SHELBY TOWNSHIP     MI 48317‐3601
SOULLIERE JR, ALFRED A           46390 GULLIVER DR                                                                                      SHELBY TWP          MI 48315‐5824
SOULLIERE, ADELE C               11553 NOEL CT W                                                                                        FAIRHAVEN           MI 48023‐1693
SOULLIERE, CYNTHIA A.            14507 HOPE DR                                                                                          STERLING HEIGHTS    MI 48313‐3656
SOULLIERE, M L                   1001 24 MILE RD APT 153                                                                                HOMER               MI 49245
SOULLIERE, PAUL D                436 S ROCHESTER RD                                                                                     OAKLAND             MI 48363‐1550
SOULLIERE, RICHARD P             3948 PASTURE DR                                                                                        EAST LANSING        MI 48823‐6169
SOULLIERE, SHIRLEY M             29200 HUGHES ST                                                                                        ST CLAIR SHRS       MI 48081‐3217
SOULLIERE, SHIRLEY M             29200 HUGHES                                                                                           ST CLAIR SHRS       MI 48081‐3217
SOULLIERE, STEVE T               PO BOX 42                                                                                              ONONDAGA            MI 49264‐0042
SOULSBY, JENNIFER                GORBERG DAVID J & ASSOCIATES       2325 GRANT BUILDING 310 GRANT                                       PITTSBURGH          PA 15219
                                                                    STREET
SOULTANIAN, LINDA D              25015 WESTMORELAND DR                                                                                  FARMINGTON HILLS   MI   48336
SOULTZ, EILEEN                   7704 PERSHING RD                                                                                       INDIANAPOLIS       IN   46268‐2219
SOULVIE, ALAN H                  2495 BEEBE RD                                                                                          WILSON             NY   14172‐9759
SOULVIE, EVELYN                  38 LINDHURST DR                                                                                        LOCKPORT           NY   14094‐5755
SOULVIE, KATHLEEN                20 HIGHLAND DR                                                                                         LOCKPORT           NY   14094
SOULVIE, RAYMOND T               2781 QUAKER RD                                                                                         GASPORT            NY   14067‐9445
SOUMAR, RICHARD J                2524 FOREST AVE                                                                                        N RIVERSIDE        IL   60546‐1526
SOUMOULIS, PETER                 PO BOX 124                                                                                             MEDWAY             MA   02053‐0124
SOUN FINN                        9418 GYPSUM QUARRY STREET                                                                              LAS VEGAS          NV   89178
SOUND ENGINEERING INC            12933 FARMINGTON RD                                                                                    LIVONIA            MI   48150‐4202
SOUND HEARING INC                13123 EUREKA RD                    DBA BELTONE HEARING CARE CENTE                                      SOUTHGATE          MI   48195‐1345

SOUND MOVES GMBH                 CARGO CITY SUED 638                                                            FRANKFURT/MAIN 60549
                                                                                                                GERMANY
SOUND SEAL                       50 H P ALMGREN DRIVE                                                                                   AGAWAM             MA   01001
SOUND TRUCK & AUTO REPAIR        4009 IRONGATE RD                                                                                       BELLINGHAM         WA   98226‐8028
SOUND VIDEO SOLUTIONS LLC        75 BENBRO DR                                                                                           CHEEKTOWAGA        NY   14225
SOUNDING HOUSE                   6405 METCALF AVE STE 212                                                                               OVERLAND PARK      KS   66202‐3999
SOUNDS OF PITTSBURGH CHORUS      18 ELKIE DR                                                                                            WASHINGTON         PA   15301‐1378
SOUNDWICH INC                    BRADLEY TREMBATH                   17000 SAINT CLAIR ‐ BLDG #1                 SILAO GJ 36100 MEXICO
SOUNDWICH INC                    MATTHEW BARTLETT                   881 WAYSIDE ROAD                                                    COLDWATER          MI
SOUNDWICH INC                    17000 ST CLAIR AVE                                                                                     CLEVELAND          OH 44110
SOUNDWICH INC                    881 WAYSIDE RD                                                                                         CLEVELAND          OH 44110‐2961
SOUNDWICH SAINT CLAIR FACILITY   BRADLEY TREMBATH                   17000 SAINT CLAIR ‐ BLDG #1                 SILAO GJ 36100 MEXICO
SOUPAL, JAMES G                  503 SHERIDAN DR                                                                                        ROSCOMMON          MI   48653‐8146
SOUPAL, JAMES GEORGE             503 SHERIDAN DRIVE                                                                                     ROSCOMMON          MI   48653‐8146
SOUPAL, ROBERT J                 590 N KERBY RD                                                                                         CORUNNA            MI   48817‐9705
SOUPLEY'S WINE & SPIRITS         ATTN: KYLE RAYL                    PO BOX 2263                                                         KOKOMO             IN   46904‐2263
SOUPLEY, JAMES R                 103 CANDY LN                                                                                           SHARPSVILLE        IN   46068‐9336
SOUPLEY, REBECCA J               103 CANDY LN                                                                                           SHARPSVILLE        IN   46068‐9336
SOUR LAKE MOTOR COMPANY, INC.    JOHN CARPENTER                     170 HIGHWAY 105 E                                                   SOUR LAKE          TX   77659‐7760
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SOUR LAKE MOTOR COMPANY, INC.       170 HIGHWAY 105 E                                                                           SOUR LAKE          TX 77659‐7760
SOURBEER, LOIS L                    528 FRUIT COVE RD                                                                           SAINT JOHNS        FL 32259‐2857
SOURCE 1 MEDICAL                    PO BOX 4230                                                                                 OCALA              FL 34478‐4230
SOURCE ERGONOMIC INC                416 HILLSIDE RD                                                                             KING OF PRUSSIA    PA 19406‐3128
SOURCE GROUP INC                    3451 VINCENT RD STE C                                                                       PLEASANT HILL      CA 94523‐7317
SOURCE GROUP INC, THE               3451 VINCENT RD STE C                                                                       PLEASANT HILL      CA 94523‐7317
SOURCE GROUP INC, THE               50 ROBERTSON CT                                                                             CLARKSTON          MI 48346‐1546
SOURCE INTERLINK                    GREG MAYS                            261 MADISON AVE FL 6                                   NEW YORK           NY 10016‐2303
SOURCE INTERLINK COMPANIES          PAT FEIGHERY                         4250 CORAL RIDGE DR                                    CORAL SPRINGS      FL 33065‐7616
SOURCE INTERLINK ENTHUSIAST MEDIA   PO BOX 933852                                                                               ATLANTA            GA 31193‐3852

SOURCE INTERLINK MAGAZINES, LLC.    DOUG EVANS                           6420 WILSHIRE BLVD                                     LOS ANGELES       CA 90048
SOURCE ONE DIST SERVICES INC        ATTN JOE GURAK JR                    1220 MORSE AVE                                         ROYAL OAK         MI 48067‐4514
SOURCE ONE DISTRIBUTION SERVICES    ATTN: CORPORATE OFFICER/AUTHORIZED   1220 MORSE AVE                                         ROYAL OAK         MI 48067‐4514
                                    AGENT
SOURCE ONE GLOBAL INC               6005 SCOTT HAMILTON DR                                                                      LITTLE ROCK       AR   72209‐2571
SOURCE ONE/JACKSONVI                7018 A C SKINNER PKWY STE 240                                                               JACKSONVILLE      FL   32256‐6935
SOURCE REFRIDGERATION               800 E ORANGETHORPE AVE                                                                      ANAHEIM           CA   92801‐1123
SOURCE REFRIDGERATION & HVAC        800 E ORANGETHORPE AVE                                                                      ANAHEIM           CA   92801‐1123
SOURCE REFRIGERATION & HVAC, INC.   SHARRON HOPCUS                       800 E ORANGETHORPE AVE                                 ANAHEIM           CA   92801‐1123
SOURCECORP HEALTHSERVE INC          1030 ONTARIO RD                                                                             GREEN BAY         WI   54311‐8014
SOURCEGEAR CORP                     115 N NEIL ST STE 408                                                                       CHAMPAIGN         IL   61820‐4024
SOURCELINK                          10866 WILSHIRE BLVD STE 700                                                                 LOS ANGELES       CA   90024‐4354
SOURCELINK LOS ANGELES LLC          10866 WILSHIRE BLVD STE 700                                                                 LOS ANGELES       CA   90024‐4354
SOURCEONE HEALTHCARE TECH           8020 TYLER BLVD                                                                             MENTOR            OH   44060‐4825
SOURCEQUEST INC                     468 WHISMAN PARK DR                                                                         MOUNTAIN VIEW     CA   94043‐5269
SOUREK, JOSEF                       16W611 56TH STREET                                                                          CLARENDON HILLS   IL   60514
SOUREK, MARIE                       2340 LISSON RD                                                                              NAPERVILLE        IL   60565
SOUREN ALEXANIAN                    34 BATES ST                                                                                 MENDON            MA   01756
SOURIALL, WILLIAM J                 4499 W WALTON BLVD                                                                          WATERFORD         MI   48329‐4076
SOURS KATHY                         723 LAKE ARROWHEAD RD                                                                       LURAY             VA   22835‐7506
SOURS, JOSEPH D                     3840 REINWOOD DR                                                                            DAYTON            OH   45414‐2446
SOURS, KENNETH J                    12563 LAMAR SHAW RD                                                                         JACKSONVILLE      FL   32258‐5303
SOURS, KENNETH JAMES                12563 LAMAR SHAW RD                                                                         JACKSONVILLE      FL   32258‐5303
SOURS, LEONARD H                    813 MARSH RD                                                                                PLAINWELL         MI   49080‐9313
SOURY COMMUNICATIONS INC            150 W 25TH ST STE 403                                                                       NEW YORK          NY   10001
SOUSA JR, PAUL J                    360 TAYLOR LN                                                                               CHELSEA           MI   48118‐1614
SOUSA SHELIA                        301 SAMUEL GORTON AVE                                                                       WARWICK           RI   02889‐5422
SOUSA, BARBARA M.                   3026 REMINGTON DR                                                                           WILMINGTON        NC   28405‐8870
SOUSA, DANIEL                       38 PADANARAM AVE UNIT 3A                                                                    DANBURY           CT   06811
SOUSA, DAVID                        154 POLK ST 2                                                                               NEWARK            NJ   07105
SOUSA, ESTELLE                      136 OLD FALL RIVER RD                                                                       SWANSEA           MA   02777‐4004
SOUSA, ETHEL A                      9 HIGHLAND PARK AVENUE                                                                      HUDSON            MA   01749‐1325
SOUSA, HENRIQUE                     1813 STILL POND WAY # D                                                                     BEL AIR           MD   21015
SOUSA, JOHN (JACK) L.
SOUSA, JOHN J                       4 FAIRVIEW RD                                                                               WOBURN            MA   01801‐2523
SOUSA, JONATHAN P                   364 W 1650 N                                                                                SUMMITVILLE       IN   46070‐9689
SOUSA, JOSE E                       794 N BROADWAY                                                                              YONKERS           NY   10701‐1207
SOUSA, JOSEPH F                     4349 LA COSA AVE                                                                            FREMONT           CA   94536‐4721
SOUSA, LARRY J                      PO BOX 722234                                                                               NORMAN            OK   73070‐8691
SOUSA, LARRY T                      1365 BLUE WATER DR                                                                          FENTON            MI   48430‐1101
SOUSA, LAURA                        44326 FAIR OAKS DR                                                                          CANTON            MI   48187‐3248
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Name                                Address1                          Address2                Address3         Address4               City             State Zip
SOUSA, MANUELA M                    237 N BROADWAY APT 5E                                                                             YONKERS           NY 10701
SOUSA, MARK D                       22686 GARRISON ST                                                                                 DEARBORN          MI 48124
SOUSA, MILENA F                     PO BOX 1025                                                                                       BENSON            AZ 85602‐1025
SOUSA, NELSON                       44326 FAIR OAKS DR                                                                                CANTON            MI 48187‐3248
SOUSA, PAUL
SOUSA, RAYMOND J                    6065 TAYLOR RIDGE DR                                                                              WEST CHESTER     OH   45069‐1989
SOUSLEY, CAROL J                    17601 E CHEYENNE DR                                                                               INDEPENDENCE     MO   64056‐1903
SOUSLEY, JEFFREY S                  5375 TRILLIUM CT                                                                                  ORCHARD LAKE     MI   48323‐1577
SOUSLEY, MICHAEL L                  8505 LINDA LN                                                                                     PLEASANT VLY     MO   64068‐9040
SOUSLEY, ROBERT E                   1108 VIOLA ST                                                                                     SMITHVILLE       MO   64089‐9072
SOUSLIN, LOWELL W                   1850 COLONIAL VILLAGE WAY APT 2                                                                   WATERFORD        MI   48328‐1947
SOUSSANY, MICHAEL G                 5941 NIGHTINGALE ST                                                                               DEARBORN HTS     MI   48127‐3044
SOUSTEK, ESTELLE R                  8867 MOBILE AVE                                                                                   OAK LAWN         IL   60453‐1123
SOUSTEK, ESTELLE R                  8867 S MOBILE AVE                                                                                 OAK LAWN         IL   60453‐1123
SOUTAR, CHARLES P                   48607 BEMIS RD                                                                                    BELLEVILLE       MI   48111‐9702
SOUTEAR, GRETCHEN K                 1670 BRAEMAR DR                                                                                   TRAVERSE CITY    MI   49686‐8413
SOUTEC LTD                          24387 HALSTED RD                  STE 1                                                           FARMINGTON       MI   48335‐1615
SOUTEC LTD                          46956 LIBERTY DR                                                                                  WIXOM            MI   48393‐3693
SOUTELO, PHILOMENA R                2106 WHITTIER ST                                                                                  RAHWAY           NJ   07065‐4316
SOUTER, DENNIS P                    32 PEBBLE CREEK DR                                                                                CHEEKTOWAGA      NY   14227‐2802
SOUTER, DORIS                       818 CLAREWOOD CT                                                                                  HOLLAND          MI   49423‐7615
SOUTER, GARY D                      1227 MINKEL RD                                                                                    STRYKERSVILLE    NY   14145‐9521
SOUTER, JEAN A                      1815 E WATERBERRY DR                                                                              HURON            OH   44839‐2262
SOUTER, JOYCE E.                    92 MAYER AVE                                                                                      BUFFALO          NY   14207‐2131
SOUTER, JOYCE E.                    92 MAYER AVENUE                                                                                   BUFFALO          NY   14207‐2131
SOUTER, RAYMOND T                   818 CLAREWOOD CT                                                                                  HOLLAND          MI   49423‐7615
SOUTER, RICK K                      5520 COLUMBUS AVE                                                                                 SANDUSKY         OH   44870‐9701
SOUTER, WILLIAM C                   1815 E WATERBERRY DR                                                                              HURON            OH   44839‐2262
SOUTER, WILLIAM R                   811 BOGART RD                                                                                     HURON            OH   44839‐9531
SOUTH & ASSOCIATES, P.C.            ATTN BLAINE E. DICKESON
SOUTH ALBERT TIRE & AUTO            4410 ALBERT ST.                                                            REGINA SK S4S 6B4
                                                                                                               CANADA
SOUTH ANNA MOTOR CAR                11319D CROSS COUNTY RD                                                                            MINERAL          VA 23117‐3216
SOUTH ARLINGTON EMER                DEPT 960349                                                                                       OKLAHOMA CITY    OK 73196‐0001
SOUTH AVERY CORPORATION             PO BOX 1700                                                                                       MILAN            OH 44846‐1700
SOUTH BANK UNIVERSITY ENTERPRISES   103 BOROUGH RD                    LONDON SE1 0AA                           UNITED KINGDOM GREAT
LTD                                                                                                            BRITAIN
SOUTH BAY ANESTHESIA                PO BOX A                                                                                          NORTH BELLMORE   NY   11710‐0745
SOUTH BAY AUTO AIR & ELECTRIC       2301 PACIFIC COAST HWY                                                                            LOMITA           CA   90717‐2401
SOUTH BAY AUTO AIR & ELECTRIC       2301 PACIFIC COAST HWY                                                                            LOMITA           CA   90717‐2401
SOUTH BAY DRIVE‐IN THEATRE          1615 CORDOVA ST                                                                                   LOS ANGELES      CA   90007‐1113
SOUTH BAY MULTI‐SITE, INC.          INTERCOMPANY
SOUTH BAY TECHNOLOGY INC            1120 VIA CALLEJON                                                                                 SAN CLEMENTE     CA 92673
SOUTH BEACH ACCOUNT PLANNING CO     1034 NW 21ST AVE                  APT 36                                                          PORTLAND         OR 97209‐1542

SOUTH BEND FREIGHT LINE INC         PO BOX 1228                       1200 S OLIVE                                                    SOUTH BEND       IN   46624‐1228
SOUTH BEND PLASTICS INC             1810 CLOVER RD                                                                                    MISHAWAKA        IN   46545‐7247
SOUTH BEND PLASTICS INC             JERI MULLIN X303                  1810 CLOVER RD                                                  MISHAWAKA        IN   46545‐7247
SOUTH BEND PLASTICS INC             JERI MULLIN X303                  1810 CLOVER ROAD                                                SANTA TERESA     NM   40004
SOUTH BEND PLASTICS INC.            JERI MULLIN X303                  1810 CLOVER RD                                                  MISHAWAKA        IN   46545‐7247
SOUTH BEND PLASTICS INC.            JERI MULLIN X303                  1810 CLOVER ROAD                                                SANTA TERESA     NM   40004
SOUTH BEND POLICE DEPT              1045 W SAMPLE ST                                                                                  SOUTH BEND       IN   46619‐3827
                                     09-50026-mg            Doc 7123-37          Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
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Name                                Address1                               Address2                     Address3               Address4              City               State Zip
SOUTH BRANCH GARAGE LTD.            18364 COUNTY ROAD 19                                                                       CORNWALL ON K6H 5R6
                                                                                                                               CANADA
SOUTH BROAD CO LTD                 3601 MICHIGAN AVE                                                                                                 CINCINNATI         OH 45208‐1411
SOUTH BRUNSWICK BOARD OF                                                   4 EXECUTIVE DR                                                                               NJ 08852
EDUCATION BUILDINGS & GROUNDS DEPT

SOUTH BRUNSWICK TOWNSHIP                                                   540 RIDGE RD                                                                                  NJ   08852
SOUTH CAROLINA DEPARTMENT OF        REGION 4                               2600 BULL ST                                                              COLUMBIA            SC   29201‐1708
HEALTH AND ENVIRONMENT CONTROL
SOUTH CAROLINA DEPARTMENT OF        REGION 4                               REMBERT C. DENNIS BUILDING   1000 ASSEMBLY STREET                         COLUMBIA            SC   29201
HEALTH AND ENVIRONMENT RESOURCES

SOUTH CAROLINA DEPARTMENT OF        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 2600 BULL ST                                                              COLUMBIA            SC   29201‐1708
HEALTH AND ENVIRONMENTAL CONTROL

SOUTH CAROLINA DEPARTMENT OF       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 301 GERVAIS ST                P.O. BOX 142315                              COLUMBIA            SC   29214‐0001
REVENUE
SOUTH CAROLINA DEPARTMENT OF       SALES TAX RETURN                                                                                                  COLUMBIA            SC   29214‐0101
REVENUE
SOUTH CAROLINA DEPARTMENT OF       301 GERVAIS ST                         P.O. BOX 142315                                                            COLUMBIA            SC   29214‐0001
REVENUE
SOUTH CAROLINA DEPARTMENT OF                                              436 N HIGHWAY 52                                                                               SC   29461
TRANSPORTATION
SOUTH CAROLINA DEPT OF REVENUE
SOUTH CAROLINA DEPT.OF REVENUE     CORPORATION TAX                                                                                                   COLUMBIA            SC   29214‐0101
SOUTH CAROLINA DEPT.OF REVENUE     CORPORATION TAX                        ADDRESS NEEDED                                                             COLUMBIA            SC   29214‐0101
SOUTH CAROLINA ELECTRIC & GAS      DAVID HOLLEY                           5 NATIONAL GUARD RD                                                        COLUMBIA            SC   29201‐4752
COMPANY
SOUTH CAROLINA EMPLOYMENT SECURITY
COMMISSION
SOUTH CAROLINA INTL AUTO SHOW      C/O MOTOR TREND AUTO SHOWS             6405 FLANK DR                                                              HARRISBURG          PA 17112
SOUTH CAROLINA RESEARCH INSTIT     901 SUMTNER ST STE 501                                                                                            COLUMBIA            SC 29208‐0001
SOUTH CAROLINA RESEARCH INSTITUTE  901 SUMTNER ST STE 501                                                                                            COLUMBIA            SC 29208‐0001

SOUTH CAROLINA REVENUE DEPT         SALES TAX RETURN
SOUTH CAROLINA STATE TREASURER      UNCLAIMED PROPERTY DIVISION            PO BOX 11778                                                              COLUMBIA            SC   29211‐1778
SOUTH CAROLINA STATE UNIVERSITY     300 COLLEGE ST NE                      POST OFFICE BOX 7425                                                      ORANGEBURG          SC   29117‐0001
SOUTH CAROLINA TAX COMM
SOUTH CAROLINA TAX COMMISSION       ACCT OF DAVID COHEN                    PO BOX 21588 ATTN C PITTS                                                 COLUMBIA            SC   29221
SOUTH CAROLINA TAX COMMISSION       PO BOX 125                                                                                                       COLUMBIA            SC   29214‐0101
SOUTH CAROLINA, UNIVERSITY OF
SOUTH CEDAR OSTEOPAT                3955 PATIENT CARE WAY STE B                                                                                      LANSING             MI 48911‐4271
SOUTH CENTRAL COMMUNICATIONS        504 ROSEDALE AVE                                                                                                 NASHVILLE           TN 37211‐2028
SERVICES ASSOC
SOUTH CENTRAL COMPANY INC           3055 STATE ST                                                                                                    COLUMBUS            IN 47201‐7453
SOUTH CENTRAL COMPANY INC           309 N CURRY PIKE                                                                                                 BLOOMINGTON         IN 47404‐2502
SOUTH CENTRAL HEART                 854 W JAMES CAMPBELL BLVD STE 303A                                                                               COLUMBIA            TN 38401‐4645

SOUTH CENTRAL POWER COMPANY                                                2780 COONPATH RD NE                                                                          OH 43130
SOUTH CHARL STAMP/MI                32985 HAMILTON CT STE 210                                                                                        FARMINGTON HILLS   MI 48334‐3354
SOUTH CHESTER TUBE CO INC           210 N BRINTON LAKE RD                                                                                            CONCORDVILLE       PA 19331
SOUTH CHESTER TUBE CO INC           JOHN HLIVKO X107                       210 N BRINTON LAKE RD                                                     CONCORDVILLE       PA
                                     09-50026-mg              Doc 7123-37         Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
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Name                                Address1                               Address2                        Address3         Address4             City              State Zip
SOUTH CHESTER TUBE CO INC           TOM STAFFORD X102                      PO BOX 116                                                            CONCORDVILLE       PA 19331
SOUTH CHESTER TUBE CO INC           TOM STAFFORD X102                      509 HERON                                                             NORWALK            OH 44857
SOUTH CHESTER TUBE CO INC           BOX 116                                                                                                      CONCORDVILLE       PA 19331
SOUTH CHESTER TUBE CO INC           210 BRINTON LAKE RD                                                                                          CONCORDVILLE       PA
SOUTH COAST AIR QUALITY MANAGEMENT PO BOX 4943                             21865 E COPLEY DR                                                     DIAMOND BAR        CA 91765‐0943
DISTRICT
SOUTH COAST AIR QUALITY MANAGEMENT LARRY WATKINS                           21865 COPLEY DR                                                       DIAMOND BAR       CA 91765‐4178
DISTRICT
SOUTH COAST AUTO RENTAL INC         DBA SMOKEY POINT SALES & SVC           16632 SMOKEY POINT BLVD                                               ARLINGTON         WA 98223‐8409
SOUTH COAST BUICK PONTIAC GMC CADIL 2600 HARBOR BLVD                                                                                             COSTA MESA        CA 92626‐5228

SOUTH COAST BUICK PONTIAC GMC        2600 HARBOR BLVD                                                                                            COSTA MESA        CA 92626‐5228
CADILLAC
SOUTH COLLEGE                        1760 N CONGRESS AVE                                                                                         WEST PALM BEACH   FL    33409‐5191
SOUTH COUNTY ANESTH                  PO BOX 22407                                                                                                SAINT LOUIS       MO    63126‐0407
SOUTH DADE DODGE INC                 16501 S DIXIE HWY                                                                                           MIAMI             FL    33157‐3443
SOUTH DAKOTA BUSINESS TAX DIVISION   ATTN: BUSINESS TAX DIVISION           445 E CAPITOL AVE                                                     PIERRE            SD    57501‐3100

SOUTH DAKOTA DEPARTMENT OF        REGION 8                                 JOE FOSS BUILDING               523 E. CAPITOL                        PIERRE            SD    57501
ENVIRONMENT AND NATURAL RESOURCES

SOUTH DAKOTA DEPT OF REVENUE         PO BOX 5055                                                                                                 SIOUX FALLS       SD    57117‐5055
SOUTH DAKOTA DEPT OF REVENUE         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 5055                                                          SIOUX FALLS       SD    57117‐5055

SOUTH DAKOTA FARM BUREAU             PO BOX 1426                                                                                                 HURON             SD    57350‐1426
SOUTH DAKOTA FARM BUREAU             MICHAEL HELD                          2225 DAKOTA AVENUE SOUTH,                                             HURON             SD    57350
FEDERATION                                                                 HURON
SOUTH DAKOTA FARM BUREAU             2225 DAKOTA AVE S                     PO BOX 1426                                                                             SD    57350‐4312
FEDERATION
SOUTH DAKOTA FARM BUREAU             JULIE ANNA POTTS                      600 MARYLAND AVE SW STE 1000W                                                           DC 20024‐2555
FEDERATION
SOUTH DAKOTA PUBLIC UTILITIES        500 EAST CAPITOL AVE.                                                                                       PIERRE            SD    57501
COMMISSION
SOUTH DAKOTA SECRETARY OF            STATE                                 STATE CAPITAL                   500 E. CAPITAL                        PIERRE            SD    57501
SOUTH DAKOTA STATE TREASURER         REMITTANCE CENTER                     PO BOX 5055                                                           SIOUX FALLS       SD    57117‐5055
SOUTH DAKOTA STATE TREASURY          VERNON L. LARSON                      500 E. CAPITOL AVE                                                    PIERRE            SD    57501
SOUTH DAKOTA STATE UNIVERSITY        CASHIERS OFFICE                       PO BOX 2201                     ADM 218                               BROOKINGS         SD    57007‐0001
SOUTH DAYTON DUMP PRP GROUP          C/O CONESTOGA ROVERS & ASSOC          2055 NIAGARA FALL BLVD STE 3                                          NIAGARA FALLS     NY    14303
SOUTH DAYTON HEARING                 1305 E STROOP RD                                                                                            KETTERING         OH    45429‐4925
SOUTH DIXIE AUTO WASH                3985 S DIXIE DR                                                                                             MORAINE           OH    45439‐2313
SOUTH EAST AUTOMOTIVE MEDIA          4429 BACK CREEK CHURCH RD                                                                                   CHARLOTTE         NC    28213‐5251
ORGANIZATION
SOUTH EAST AUTOMOTIVE TRADE SHOW     108 CYPRESS POND LN                                                                                         ELGIN              SC   29045‐8124

SOUTH EAST CARRIERS INC              1905 MAHR AVE                                                                                               LAWRENCEBURG      TN 38464‐2275
SOUTH EASTERN MICHIGAN INDIANSINC    26641 LAWRENCE                        ATTN SUE PARRISH                                                      CENTER LINE       MI 48015‐1263

SOUTH EASTERN/WINDER                 509 BANKHEAD HWY                                                                                            WINDER            GA 30680‐3427
SOUTH EIGHTH STREET GROUP            G GENGEL OPPENHEIMER WOLF ETC         45 S 7TH ST STE 3400                                                  MINNEAPOLIS       MN 55402‐1632
SOUTH END AUTOMOTIVE (1465813 ONT    398 CRAWLEY RD                                                                         GUELPH ON N1L 1G5
LTD)                                                                                                                        CANADA
SOUTH FLOR/OKECHOBEE                 16100 SW 216TH ST                                                                                           MIAMI              FL   33170‐2000
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Name                                   Address1                           Address2                        Address3             Address4             City                  State Zip
SOUTH FLORIDA AUTO DEALERS ASSOC       625 NE 124TH ST                                                                                              NORTH MIAMI            FL 33161‐5522
SOUTH FLORIDA FLEET SERVICES                                              2039 W 62ND ST                                                                                   FL 33016
SOUTH FLORIDA HISPANIC CHAMBEROF       301 W 41ST ST STE 500                                                                                        MIAMI BEACH            FL 33140‐3609
COMMERCE
SOUTH FLORIDA INTERNATIONAL AUTO       625 NE 124TH ST                                                                                              NORTH MIAMI            FL   33161‐5522
SHOW
SOUTH FLORIDA TRANSPORT, INC.          2875 NW 42ND AVE                                                                                             MIAMI                  FL   33142‐5624
SOUTH FLORIDA WATER MANAGEMENT                                            9001 NW 58TH ST                                                                                  FL   33178
DISTRICT
SOUTH FLORIDA WATER MANAGEMENT                                            801 SANSBURYS WAY                                                                                FL   33411
DISTRICT
SOUTH GRAND PRAIRIE HIGH SCHOOL        301 W WARRIOR TRL                                                                                            GRAND PRAIRIE         TX 75052‐5718
SOUTH HAVEN CHARTER TOWNSHIP           ATTN: COLLECTOR'S OFFICE           09761 BLUE STAR MEMORIAL HWY                                              SOUTH HAVEN           MI 49090‐8421

SOUTH HILLS REHAB AS                 575 COAL VALLEY ROAD                                                                                           JEFFERSON HILLS       PA 15025
SOUTH JACKSON FAMILY SUPPORT         ATTN: S. BROOKE                      8800 BLUE RIDGE BLVD, STE 300                                             KANSAS CITY           MO 64138
DIVISION OFFICE
SOUTH JERSEY INDUSTRIES, INC.        STEVEN OWENS                         1 S JERSEY PLZ                                                            HAMMONTON              NJ   08037‐9109
SOUTH JERSEY PHYSICIANS ASSOC, PA    327 HADDON AVE                                                                                                 WESTMONT               NJ   08108‐1202
SOUTH JERSEY RADIOLOGY ASSOCIATES PA 1307 WHITE HORSE RD STE A102                                                                                   VOORHEES               NJ   08043‐2100

SOUTH JR, FRED                         9600 W COUNTY ROAD 380 N                                                                                     GASTON                IN    47342‐9792
SOUTH JR, JOHN C                       27336 GROVELAND ST                                                                                           MADISON HTS           MI    48071‐3306
SOUTH KANSAS CITY SU                   10730 NALL AVE #110                                                                                          OVERLAND PARK         KS    66211
SOUTH LYON POLICE DEPT PARKING         219 WHIPPLE ST                                                                                               SOUTH LYON            MI    48178‐1113
VIOLATION BUREAU
SOUTH MAIN STREET SERVICE CENTER       127 OLD TURNPIKE RD                                                                                          CONCORD               NH    03301‐5268
SOUTH MIDDLESEX CORRECTIONAL           ATTN: KELLY RYAN                   135 WESTERN AVE                                                           FRAMINGHAM            MA    01702‐7400
SOUTH MOTOR CO.                        1830 E NINE MILE RD                                                                                          HIGHLAND SPRINGS      VA    23075‐2310
SOUTH OAKLAND ANESTH                   PO BOX 673116                                                                                                DETROIT               MI    48267‐3116
SOUTH PALM INVESTMENTS LLC             C\O NORMANDALE PROP SOUTH CORP     4200 W CYPRESS ST STE 445                                                 TAMPA                 FL    33607
SOUTH PARK/CHARLOTTE                   6300 MORRISON BLVD                                                                                           CHARLOTTE             NC    28211‐3511
SOUTH PITTSBURG CITY RECORDER          PO BOX 705                                                                                                   SOUTH PITTSBURG       TN    37380‐0705
SOUTH PLAINFIELD ADULT SCHOOL          305 CROMWELL PL                                                                                              SOUTH PLAINFIELD      NJ    07080‐4107
SOUTH PLAINS COLLEGE                   BUSINESS OFFICE                    1401 COLLEGE AVE                                                          LEVELLAND             TX    79336‐6503
SOUTH POINT PONTIAC‐CADILLAC, INC.     WILLIAM MUNDAY                     4610 S INTERSTATE 35                                                      AUSTIN                TX    78745‐2026

SOUTH POINT PONTIAC‐GMC                WILLIAM MUNDAY                     4610 S INTERSTATE 35                                                      AUSTIN                TX    78745‐2026
SOUTH POINT PONTIAC‐GMC                4610 S INTERSTATE 35                                                                                         AUSTIN                TX    78745‐2026
SOUTH POINT RACING LLC                 6975 SPEEDWAY BLVD BUILDING D104                                                                             LAS VEGAS             NV    89115
SOUTH POINTE CHEVROLET                 STE L                              8988 SOUTH SHERIDAN ROAD                                                  TULSA                 OK    74133‐5035
SOUTH PORT CORRECTIONAL                                                   236 BOB MASIA DR                                                                                NY    14871
SOUTH PRINT, INC., D/B/A CHECKERED
FLAG SPORTS
SOUTH PRO AUTOMOTIVE LTD.              9222 HORTON RD SW                                                                       CALGARY AB T2V 2X4
                                                                                                                               CANADA
SOUTH RIVER AUTOMOTIVE REPAIR, L.L.C   178 HILLSIDE AVE                                                                                             SOUTH RIVER            NJ   08882‐1957

SOUTH SAN FRANCIS/CA                   255 S AIRPORT BLVD                                                                                           SOUTH SAN FRANCISCO   CA    94080‐6703
SOUTH SAN JOAQUIN IRRIGATION                                              11011 E HIGHWAY 120                                                                             CA    95336
SOUTH SEATTLE AUTO AUCTION             PO BOX 5189                                                                                                  KENT                  WA    98064‐5189
SOUTH SHORE AUTO WORLD OF MAYS         LANDING DBA SOUTH SHORE            129 N WHITE HORSE PIKE          CADILLAC CHEVROLET                        HAMMONTON             NJ    08037‐1874
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Name                                 Address1                           Address2                     Address3                  Address4         City            State Zip
SOUTH SHORE BUICK                    PO BOX 690029                                                                                              QUINCY           MA 02269‐0029
SOUTH SHORE HARBOUR MUD #2           PO BOX 189                                                                                                 LEAGUE CITY      TX 77574‐0189
SOUTH SHORE HARBOUR MUD#6            PO BOX 189                                                                                                 LEAGUE CITY      TX 77574‐0189
SOUTH SHORE ORTHOPAE                 340 MONTAUK HWY STE 1                                                                                      WEST ISLIP       NY 11795‐4437
SOUTH SHORE ORTHOPEDICS              340 MONTAUK HWY                                                                                            WEST ISLIP       NY 11795
SOUTH SHORES AUTO SERVICE            1675 S FRANKLIN STREET RD                                                                                  DECATUR           IL 62521‐4071
SOUTH SIDE AUTO REPAIR               3031 W NORTHERN AVE                                                                                        PUEBLO           CO 81005‐2316
SOUTH SIDE PLUMBING                                                     2230 S 27TH ST                                                                           NE 68105
SOUTH SUBURBAN COLLEGE               ACCOUNTS REC                       15800 STATE ST                                                          SOUTH HOLLAND     IL 60473‐1200
SOUTH SUBURBAN SERVICE CENTER                                           101 W JAMISON AVE                                                                        CO 80120
SOUTH SUBURBAN UNITED WAY            PO BOX 1575                                                                                                HARVEY            IL 60426‐7575
SOUTH TEXAS BUICK, PONTIAC‐GMC       4220 W EXPRESSWAY 83                                                                                       MCALLEN          TX 78501‐3033
SOUTH TEXAS BUICK, PONTIAC‐GMC       SHELBY LONGORIA                    4220 W EXPRESSWAY 83                                                    MCALLEN          TX 78501‐3033
SOUTH TEXAS XPRESS                   943 N EXPRESSWAY STE 15 PMB 151A                                                                           BROWNSVILLE      TX 78520‐8682
SOUTH TOWNE PARTNERS                 C\O WESTIN GROUP                   8945 MANCHESTER RD                                                      SAINT LOUIS      MO 63144‐2621
SOUTH TRAIL TIRE                     5751 YOUNGQUIST RD STE B                                                                                   FORT MYERS       FL 33912‐2293
SOUTH TROY TECH LLC                  PO BOX 79001                       DRAWER # 1782                                                           DETROIT          MI 48279‐0002
SOUTH TROY TECH LLC                  MICHAEL S LEIB (P30470)            MADDIN, HAUSER, WARTELL, ROTH 28400 NORTHWESTERN HWY                    SOUTHFIELD       MI 48034
                                                                        & HELLER PC                    3RD FL
SOUTH TROY TECH, LLC                 ATTN: LEGAL DEPARTMENT             5700 CROOKS ROAD, FOURTH FLOOR                                          TROY            MI 48098

SOUTH UNIVERSITY AREA ASSOCIATION    MAGGIE LADD                        605 CHURCH ST., SUITE 605                                               ANN ARBOR        MI 48104

SOUTH UNIVERSITY OFFICE OF STUDENT   709 MALL BLVD                                                                                              SAVANNAH        GA 31406‐4805
FINAN ASSIST
SOUTH VALLEY AUTO PLAZA              905 BROADWAY ST                                                                                            KING CITY       CA   93930‐3310
SOUTH VALLEY AUTO PLAZA, INC.        905 BROADWAY ST                                                                                            KING CITY       CA   93930‐3310
SOUTH VALLEY AUTO PLAZA, INC.        VICENTE LOPEZ                      905 BROADWAY ST                                                         KING CITY       CA   93930‐3310
SOUTH VIEW MIDDLE SCHOOL             ATTN: JASON BLETZINGER             133 E 9TH ST                                                            DANVILLE        IL   61832‐7299
SOUTH VIEW PATHOLOGI                 5620 SOUTHWYCK BLVD                                                                                        TOLEDO          OH   43614‐1501
SOUTH WASHINGTON COUNTY              8400 E POINT DOUGLAS RD S                                                                                  COTTAGE GROVE   MN   55016‐3324
SCHOOLDISTRICT 833
SOUTH WHITEHALL TWP                                                     WALBERT AVE AND RT. 309                                                                 PA   18104
SOUTH WINDSOR GARAGE                 PO BOX 113                                                                                                 SOUTH WINDSOR   CT   06074‐0113
SOUTH WINDSOR GARAGE                 1179 JOHN FITCH BLVD                                                                                       SOUTH WINDSOR   CT   06074‐2429
SOUTH, ANDREW L                      3682 HIGH DR                                                                                               SAINT ANN       MO   63074‐2442
SOUTH, BILLY E                       3272 STEPHEN DR S                                                                                          COLUMBUS        OH   43204‐1754
SOUTH, CAROL D                       4246 CORLEY ISLAND RD                                                                                      LEESBURG        FL   34748
SOUTH, CATHERINE JO                  1350 NICHOLAS LN                                                                                           CHARLOTTE       MI   48813‐8797
SOUTH, CLYDE J                       237 N ADAMS ST                                                                                             KNIGHTSTOWN     IN   46148‐1103
SOUTH, DAVID B                       3566 W 150 S                                                                                               COLUMBIA CITY   IN   46725‐9732
SOUTH, DAVID BYRON                   3566 W 150 S                                                                                               COLUMBIA CITY   IN   46725‐9732
SOUTH, DELSIE J                      5125 LAKE ST                                                                                               GLENNIE         MI   48737‐9331
SOUTH, DONNA M                       1380 GOLDEN AVE                                                                                            EUGENE          OR   97404‐2814
SOUTH, ERNESTINE                     5515 AMBER WAY                                                                                             YPSILANTI       MI   48197
SOUTH, EVELYN                        APT 63                             4237 WEST COURT STREET                                                  FLINT           MI   48532‐4353
SOUTH, EVERT R                       1748 N LAPEER RD                                                                                           LAPEER          MI   48446‐7751
SOUTH, HAZEL R                       2729 DULUTH HIGHWAY 120                                                                                    DULUTH          GA   30096‐4019
SOUTH, HB PRINTER                    428 EDEN PARK BLVD                                                                                         MCKEESPORT      PA   15132‐7704
SOUTH, J B                           39 W CRESCENT AVE                                                                                          NEWPORT         KY   41071‐2518
SOUTH, JAMES E                       1350 NICHOLAS LN                                                                                           CHARLOTTE       MI   48813‐8797
SOUTH, JAMES EDWARD                  1350 NICHOLAS LN                                                                                           CHARLOTTE       MI   48813‐8797
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Name                         Address1                          Address2                      Address3   Address4         City            State Zip
SOUTH, JOSEPH RYAN           UNIT 1                            101 MEADOW DRIVE                                          BOTKINS          OH 45306‐9641
SOUTH, KAY A                 2321 LITTLE YORK RD                                                                         DAYTON           OH 45414‐1625
SOUTH, LYNDA R               6045 CYCLONE RD                                                                             OTTER LAKE       MI 48464‐9714
SOUTH, MARK E                5546 DURWOOD RD                                                                             DAYTON           OH 45429‐5904
SOUTH, MARY INESS
SOUTH, MARY INESS            CHAPMAN LEWIS & SWAN              PO BOX 428                                                CLARKSDALE      MS   38614‐0428
SOUTH, MAX A                 14 CHAMBERS RD                                                                              SAINT LOUIS     MO   63137‐4110
SOUTH, NORMAN K              2410 MILLVILLE AVE                                                                          HAMILTON        OH   45013
SOUTH, P J                   1415 CEDARWOOD DR                                                                           FLUSHING        MI   48433‐1808
SOUTH, PHILIP J              11 CATHERINE ST                                                                             WILLIAMSVILLE   NY   14221‐4446
SOUTH, RAND A                7311 HERBST RD                                                                              BRIGHTON        MI   48114‐9446
SOUTH, RAY                   CHAPMAN LEWIS & SWAN              PO BOX 428                                                CLARKSDALE      MS   38614‐0428
SOUTH, RICHARD H             26780 HASS ST                                                                               DEARBORN HTS    MI   48127‐3932
SOUTH, ROSE M                30344 LORAIN RD APT 324                                                                     NORTH OLMSTED   OH   44070
SOUTH, STEVE                 3668 TURNBERRY DR                                                                           JAMUL           CA   91935
SOUTH, THERESA K             28831 PARK CT                                                                               MADISON HTS     MI   48071‐3018
SOUTH, VIRGIL E              1017 NW TIMBER OAK DR                                                                       BLUE SPRINGS    MO   64015‐1553
SOUTH, WALTER A              1036 CREEKVIEW DR                                                                           COLUMBIA        TN   38401‐6931
SOUTH, WALTER K              35 ROSEWOOD DR                                                                              SPRINGBORO      OH   45066‐1517
SOUTH, WILLIAM E             3200 HIDDEN LAKE DR                                                                         ZEPHYRHILLS     FL   33543‐5270
SOUTH, WINFORD E             31 WEST WREN CIRCLE                                                                         KETTERING       OH   45420‐2961
SOUTH, WINFORD E             31 W WREN CIR                                                                               KETTERING       OH   45420‐2961
SOUTH‐VAN EVENTS             753 EAST SEVENTH ST                                                                         LEXINGTON       KY   40505
SOUTHALL HOWARD F (429849)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                               STREET, SUITE 600
SOUTHALL, BARBARA J          3870 BEN HILL RD                                                                            VALDOSTA        GA 31606‐2271
SOUTHALL, HOWARD F           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                               STREET, SUITE 600
SOUTHALL, PATRICIA           1102 VINTAGE POINTE DRIVE                                                                   LAWRENCEVILLE   GA   30044‐3278
SOUTHALL, PATRICIA D         21030 S KING PLACE                                                                          FERNDALE        MI   48220
SOUTHAM, JOYCE M.            2516 MONTANA                                                                                SAGINAW         MI   48601‐5424
SOUTHAM, JOYCE M.            2516 MONTANA AVE                                                                            SAGINAW         MI   48601‐5424
SOUTHAM, WILLIAM I           14591 COUNTY ROAD 171                                                                       DEFIANCE        OH   43512‐8320
SOUTHAMPTON COLLEGE          121 SPEONK RIVERHEAD RD                                                                     RIVERHEAD       NY   11901‐3444
SOUTHARD JR, RICHARD         528 GRIMES AVE                                                                              NAPERVILLE      IL   60565‐1214
SOUTHARD SR, RAYMOND L       5955 WARREN RD                                                                              CORTLAND        OH   44410‐9710
SOUTHARD, ANNA B             20 MOLER AVE                                                                                GERMANTOWN      OH   45327‐1255
SOUTHARD, APRIL D            136 KENDALE ST                                                                              BOWLING GREEN   KY   42103‐8430
SOUTHARD, APRIL DENISE       136 KENDALE ST                                                                              BOWLING GREEN   KY   42103‐8430
SOUTHARD, BERTHA E           1655 EDISON AVE                                                                             HAMILTON        OH   45011‐4405
SOUTHARD, BILL G             1351 KENNETH ST                                                                             BURTON          MI   48529‐2215
SOUTHARD, BILLIE             8742 LYNBROOK DR                                                                            INDIANAPOLIS    IN   46219‐1918
SOUTHARD, CHARLES E          2129 NE 11TH ST                                                                             MOORE           OK   73160‐8558
SOUTHARD, CHARLES E          18530 HIGHWAY 140                                                                           ELROD           AL   35458‐2606
SOUTHARD, CHARLES ERNEST     2129 NE 11TH ST                                                                             MOORE           OK   73160‐8558
SOUTHARD, CHARLESTEE M       575 PACIFIC ST                                                                              PLYMOUTH        MI   48170‐1142
SOUTHARD, CHRISTOPHER D      11245 IRENE AVE                                                                             WARREN          MI   48093‐6543
SOUTHARD, CLIFFORD W         PO BOX 2031                                                                                 FLINT           TX   75762‐2031
SOUTHARD, CORLENE I          622 BAYBERRY POINTE DR NW APT C                                                             GRAND RAPIDS    MI   49534‐4608
SOUTHARD, DALE K             411 SOUTH STREET                                                                            BLISSFIELD      MI   49228‐1037
SOUTHARD, DARLENE            330 TEAL DR                                                                                 TOLEDO          OH   43615‐5125
SOUTHARD, DEBORAH A          11902 E 213TH TER                                                                           PECULIAR        MO   64078‐8315
                                    09-50026-mg             Doc 7123-37          Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                                Address1                              Address2                            Address3   Address4         City                  State Zip
SOUTHARD, DOROTHY                   1510 DOUGLAS DRIVE                                                                                    FRANKLIN               IN 46131‐1135
SOUTHARD, ERROL R                   1510 DOUGLAS DR                                                                                       FRANKLIN               IN 46131‐1135
SOUTHARD, FREDA J                   9723 REX STREET                                                                                       HUDSON                 FL 34669‐3881
SOUTHARD, FREDA J                   9723 REX ST                                                                                           HUDSON                 FL 34669‐3881
SOUTHARD, GARNET EVELYN             BOX 433                                                                                               DANA                   IN 47847‐0433
SOUTHARD, GARNET EVELYN             PO BOX 433                                                                                            DANA                   IN 47847‐0433
SOUTHARD, HOWARD W                  615 THOMAS RD                                                                                         FRANKLIN               NC 28734‐3795
SOUTHARD, JAMES M                   299 S CUSTER ST                                                                                       SANDUSKY               MI 48471‐1208
SOUTHARD, JAMES M.                  299 S CUSTER ST                                                                                       SANDUSKY               MI 48471‐1208
SOUTHARD, JOHN E                    1603 LEXINGTON AVE 1                                                                                  SPRINGFIELD            OH 45505
SOUTHARD, KENNETH J                 1051 DONNAWOOD DR RT 1                                                                                MANSFIELD              OH 44903
SOUTHARD, LARRY D                   3685 ROCKAWAY DR                                                                                      HOLIDAY                FL 34691
SOUTHARD, LARRY W                   9732 KRESS RD                                                                                         PINCKNEY               MI 48169‐8468
SOUTHARD, LARRY WAYNE               9732 KRESS RD                                                                                         PINCKNEY               MI 48169‐8468
SOUTHARD, LEON B                    2004 GOODRICH AVE                                                                                     FLINT                  MI 48503‐3947
SOUTHARD, MARY                      716 N EDGEWOOD DR                                                                                     SPARTA                 TN 38583
SOUTHARD, MICHAEL                   11 TERESA CIR                                                                                         ROCHESTER              NY 14624
SOUTHARD, MICHAEL A                 26658 W HURON RIVER DR                                                                                FLAT ROCK              MI 48134
SOUTHARD, MORENE                    3809 MEMORIAL PKWY NW                                                                                 HUNTSVILLE             AL 35810‐2419
SOUTHARD, MORENE                    3809 N MEM PKWY                                                                                       HUNTSVILLE             AL 35810‐2419
SOUTHARD, PAMELA J                  1827 NORWOOD DR                                                                                       GROSSE POINTE WOODS    MI 48236‐1794
SOUTHARD, REBECCA T.                1315 N MEADOWS DR APT 64                                                                              GRANBURY               TX 76048‐1754
SOUTHARD, RUTH M                    3814 DUSTY HOLLOW RD                                                                                  MONROE                 NC 28110‐8790
SOUTHARD, SANDY K                   2405 CRYSTAL DR                                                                                       MOORE                  OK 73160‐5533
SOUTHARD, SCOTT A                   8304 WEST COOLEY STREET                                                                               YORKTOWN               IN 47396‐1425
SOUTHARD, SCOTT ALLEN               8304 WEST COOLEY STREET                                                                               YORKTOWN               IN 47396‐1425
SOUTHARD, SHANNON M                 901 GREENWOOD CT                                                                                      TRENTON                OH 45067‐1079
SOUTHARD, THELMA G                  5343 WINELL ST                                                                                        CLARKSTON              MI 48346‐3564
SOUTHARD, WILLIAM H                 250 OLD NATCHEZ TRACE RD                                                                              CHEROKEE               AL 35616‐3118
SOUTHARD, WILLIAM R                 2538 ROCHESTER AVE                                                                                    HAMILTON               OH 45011‐5008
SOUTHARD, WILMA                     641 LEWIS RD.                                                                                         SMITHS GROVE           KY 42171
SOUTHARD, WILMA                     641 LEWIS RD                                                                                          SMITHS GROVE           KY 42171‐9213
SOUTHAVEN PONTIAC‐BUICK‐GMC, INC.   78 GOODMAN RD                                                                                         SOUTHAVEN              MS 38671

SOUTHAVEN PONTIAC‐BUICK‐GMC, INC.   HENRY WARE                            78 GOODMAN RD                                                   SOUTHAVEN             MS 38671

SOUTHAVEN PONTIAC‐GMC, INC.         HENRY WARE                             78 GOODMAN RD                                                  SOUTHAVEN             MS 38671
SOUTHBURY 84 ASSOCIATES, L.P.       27 CONGRESS ST                         C/O MILLER & FAVAZZO PROPERTIES,                               SALEM                 MA 01970‐5577
                                                                           INC.
SOUTHBURY TAX COLLECTOR             ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 467                                                     SOUTHBURY              CT   06488‐0467

SOUTHBURY TAX COLLECTOR             PO BOX 467                                                                                            SOUTHBURY             CT    06488‐0467
SOUTHBY, RICHARD T                  2635 PINY HILL CT TEMP                                                                                OXFORD                MI    48370
SOUTHCO INC                         BOX 116                                                                                               CONCORDVILLE          PA    19331
SOUTHCO INC                         JOHN HLIVKO X107                      210 N BRINTON LAKE RD                                           ANN ARBOR             MI    48103
SOUTHCO INC                         210 N BRINTON LAKE RD                                                                                 CONCORDVILLE          PA
SOUTHCO, INC.                       TOM STAFFORD X102                     PO BOX 116                                                      CONCORDVILLE          PA    19331‐0116
SOUTHCO, INC.                       TOM STAFFORD X102                     509 HERON                                                       BRIDGEPORT            NJ    08014
SOUTHCO/CONCORDVILLE                BOX 116                                                                                               CONCORDVILLE          PA    19331
SOUTHDALE SINCLAIR & TIRE           6996 FRANCE AVE S                                                                                     EDINA                 MN    55435‐2002
SOUTHEAST ALABAMA ME                PO BOX 6987                                                                                           DOTHAN                AL    36302‐6987
SOUTHEAST AUTOMOTIVE                5612 HAGAN STONE PARK RD                                                                              GREENSBORO            NC    27406‐9733
                                      09-50026-mg              Doc 7123-37       Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                                 Address1                             Address2                  Address3          Address4               City                   State Zip
SOUTHEAST AUTOPLEX INC.              STEVE MUSSETT                        1312 SE WASHINGTON ST                                              IDABEL                  OK 74745‐3446
SOUTHEAST AUTOPLEX INC.              1312 SE WASHINGTON ST                                                                                   IDABEL                  OK 74745‐3446
SOUTHEAST CHIROPRACT                 23131 EMERY RD                                                                                          WARRENSVILLE HEIGHTS    OH 44128‐5136
SOUTHEAST COMMUNITY COLLEGE          ATTN SARAH JONES                     600 STATE ST                                                       MILFORD                 NE 68405‐8498
SOUTHEAST INDUSTRIAL EQUIPMENT, INC. CORY THORNE                          12200 STEELE CREEK RD                                              CHARLOTTE               NC 28273‐3736

SOUTHEAST MCH/CHATTN                PO BOX 23728                                                                                             CHATTANOOGA            TN 37422‐3728
SOUTHEAST MICHIGAN CAREER SERVSUITE 29444 NORTHWESTERN HWY                                                                                   SOUTHFIELD             MI 48034‐1029
500
SOUTHEAST MICHIGAN CHAPTER OF       THE ASSOCIATION OF CERTIFIED          PO BOX 1318               FRAUD EXAMINERS                          NOVI                   MI 48376‐1318
SOUTHEAST MISSOURI STATE UNIVERSITY 1 UNIVERSITY PLZ                      BURSAR S OFFICE                                                    CAPE GIRARDEAU         MO 63701‐4710

SOUTHEAST TECHNICAL INSTITIUTE                                            2320 N CAREER AVE                                                                         SD    57107
SOUTHEAST TECHNICAL INSTITUTE        2320 N CAREER AVE                                                                                       SIOUX FALLS            SD    57107‐1301
SOUTHEAST TRANSPORTATION SYSTEMS     PO BOX 1210                                                                      STEINBACH MB R0A 2A0
INC                                                                                                                   CANADA
SOUTHEAST UNIVERSITY, NANJING, CHINA

SOUTHEASTERN ASSET MANAGEMENT INC. 6410 POPULAR AVENUE                    STE 900                                                            MEMPHIS                TN 38119

SOUTHEASTERN AUTOMOTIVE                                                   1122 GILLESPIE ST                                                                         NC 28306
SOUTHEASTERN AUTOMOTIVE              1122 GILLESPIE ST                                                                                       FAYETTEVILLE           NC 28306‐1552
SOUTHEASTERN CAR & TRUCK RENTALS     3485 SELMA HWY                                                                                          MONTGOMERY             AL 36108‐4971

SOUTHEASTERN CAR & TRUCK RENTALS     3485 SELMA HWY                                                                                          MONTGOMERY              AL   36108‐4971
INC
SOUTHEASTERN CAREER COLLEGE          2416 21ST AVE S STE 300                                                                                 NASHVILLE              TN    37212‐5318
SOUTHEASTERN ELECTRIC                                                     605 SD HIGHWAY 11                                                                         SD    57001
SOUTHEASTERN EQUIPMENT CO INC        3875 W 4TH ST                                                                                           MANSFIELD              OH    44903‐8058
SOUTHEASTERN EQUIPMENT CO INC        3875 WEST FOURTH STREET                                                                                 MANSFIELD              OH    44903
SOUTHEASTERN EQUIPMENT CO INC        ATTN: CORPORATE OFFICER/AUTHORIZED   3875 W 4TH ST                                                      ONTARIO                OH    44903‐8058
                                     AGENT
SOUTHEASTERN FREIGHT LINES           PO BOX 1691                                                                                             COLUMBIA                SC   29202‐1691
SOUTHEASTERN FREIGHT LINES           DAVE FOSTER                          4025 SUNSET BLVD                                                   WEST COLUMBIA           SC   29169‐2439
SOUTHEASTERN FREIGHT LINES INC       PO BOX 100104                                                                                           COLUMBIA                SC   29202‐3104
SOUTHEASTERN FREIGHT LINES INC       PO BOX 1691                          1041 HARBOUR ROAD                                                  COLUMBIA                SC   29202‐1691
SOUTHEASTERN FREIGHTLINES            PO BOX 1691                                                                                             COLUMBIA                SC   29202‐1691
SOUTHEASTERN INTEGRA                 4881 NW 8TH AVE STE 2                                                                                   GAINESVILLE             FL   32605‐4582
SOUTHEASTERN LOUISIANA UNIVERSITY    10720 SLU                            CONTROLLER S OFFICE                                                HAMMOND                 LA   70402‐0001

SOUTHEASTERN MICHIGAN ACCESSORY      1707 NORTHWOOD DR                                                                                       TROY                   MI 48084‐5524
CENTER
SOUTHEASTERN MICHIGAN ASSOC          18050 DEERING ST                                                                                        LIVONIA                MI 48152‐3706
OFCHIEFS OF POLICE
SOUTHEASTERN MICHIGAN HEALTH         ATTN: THOMAS CIESZYNSKI              3011 W GRAND BLVD # 200                                            DETROIT                MI 48202‐3068
SOUTHEASTERN OKLAHOMA STATE          BUSINESS OFFICE                      P O BOX 4140 STA A                                                 DURANT                 OK 74701
UNIVERSITY
SOUTHEASTERN OUTDOOR PRESS           PO BOX 115                                                                                              BADIN                  NC    28009‐0115
SOUTHEASTERN PAIN CO                 1976 MAIN ST E STE C                                                                                    SNELLVILLE             GA    30078‐6460
SOUTHEASTERN PAPER GROUP             6201 CORPORATE PARK DR                                                                                  BROWNS SUMMIT          NC    27214‐9745
SOUTHEASTERN TECH/TN                 905 INDUSTRIAL DR                                                                                       MURFREESBORO           TN    37129‐4928
SOUTHEASTERN TRAILWAYS               PO BOX 1207                                                                                             INDIANAPOLIS           IN    46206‐1207
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Name                            Address1                          Address2                      Address3   Address4         City             State Zip
SOUTHEASTERN TRANSPORT INC      PO BOX 758                                                                                  MARION            NC 28752‐0758
SOUTHEASTERN UNIVERSITY         6TH AND EYE ST S W                                                                          WASHINGTON        DC 20024
SOUTHEASTERN UNIVERSITY         1000 LONGFELLOW BLVD              NM UPTD PER LTR 01/13/06 GJ                               LAKELAND          FL 33801‐6034
SOUTHEASTERN/HNTSVL             1004 OSTER DRIVE                  SUITE 1                                                   HUNTSVILLE        AL 35816
SOUTHEASTERN/KNOXVIL            PO BOX 22820                                                                                KNOXVILLE         TN 37933‐0820
SOUTHEN, DIANE K                28338 COUZENS AVE                                                                           MADISON HTS       MI 48071‐2965
SOUTHER R MICHAEL PC            PO BOX 978                                                                                  BRUNSWICK         GA 31521‐0978
SOUTHER, DOROTHY O              155 HAWKINS LANE APT 2B                                                                     HUNTINGTON        TN 38344
SOUTHER, GREGORY                GUY WILLIAM S                     PO BOX 509                                                MCCOMB            MS 39649‐0509
SOUTHER, JAMES P                PO BOX 90304                                                                                LOS ANGELES       CA 90009‐0304
SOUTHERGILL, ACE R              626 ARDMORE DR                                                                              GOLETA            CA 93117‐1762
SOUTHERLAND HUBERT D (353179)   ANGELOS PETER G                   100 N CHARLES STREET , ONE                                BALTIMORE         MD 21201
                                                                  CHARLES CENTER
SOUTHERLAND SR, KIRBY E         4288 OLD HIGHWAY 431                                                                        WEDOWEE          AL   36278‐4316
SOUTHERLAND, ARTHUR A           PO BOX 241                                                                                  BUFORD           GA   30515‐0241
SOUTHERLAND, BARBARA ANN        1713 N QUARRY RD APT 115                                                                    MARION           IN   46952‐1408
SOUTHERLAND, BARBARA ANN        1713 N QUARRY ROAD                APT 115                                                   MARION           IN   46952
SOUTHERLAND, BETTIE             PO BOX 702                                                                                  PRUDENVILLE      MI   48651‐0702
SOUTHERLAND, BILLY B            5504 PEDEN POINT RD                                                                         WILMINGTON       NC   28409‐4308
SOUTHERLAND, BRIAN W            1320 GEORGETOWN PARKWAY                                                                     FENTON           MI   48430‐3602
SOUTHERLAND, BRYAN D            1406 N 600 E                                                                                MARION           IN   46952‐8718
SOUTHERLAND, CARSON K           7000 S PRIMROSE PKWY                                                                        MUNCIE           IN   47302‐8797
SOUTHERLAND, CLIDE C            2213 S WOODBRIDGE DR                                                                        YORKTOWN         IN   47396‐9560
SOUTHERLAND, DONALD C           15216 RED OAK LN                                                                            NEWALLA          OK   74857‐8535
SOUTHERLAND, EMANUEL A          1801 PROSPECT RD                                                                            WILMINGTON       DE   19805‐4136
SOUTHERLAND, GARY J             RR 2 BOX 143B                                                                               PAULS VALLEY     OK   73075‐9525
SOUTHERLAND, GLADYS C           5736 HAMMOND DR                                                                             NORCROSS         GA   30071‐3403
SOUTHERLAND, HOMER C            345 E PRINCETON AVE                                                                         PONTIAC          MI   48340‐1958
SOUTHERLAND, HOWARD E           129 SCOTT ORCHARD RD                                                                        TAFT             TN   38488‐5066
SOUTHERLAND, HUBERT D           ANGELOS PETER G                   100 N CHARLES STREET, ONE                                 BALTIMORE        MD   21201
                                                                  CHARLES CENTER
SOUTHERLAND, JAMES W            4 COURT DR APT B                                                                            WILMINGTON       DE   19805‐1566
SOUTHERLAND, JAMES W            14 EDWARD DR                                                                                SAINT CHARLES    MO   63304‐5522
SOUTHERLAND, LAWRENCE W         440 MEYERSON WAY                                                                            WHEELING         IL   60090‐2102
SOUTHERLAND, LEONARD P          16601 E GEORGE FRANKLIN DR                                                                  INDEPENDENCE     MO   64055‐3816
SOUTHERLAND, MARJORIE J         7410 SOUTHWEST 23RD TERRACE                                                                 TOPEKA           KS   66614‐6064
SOUTHERLAND, MARY J             4633 CALUMET CIR                                                                            DULUTH           GA   30096‐6061
SOUTHERLAND, MAURICE J          6591 ONSTED HWY                                                                             ONSTED           MI   49265‐8507
SOUTHERLAND, MELTON S           5100 MORRIS HEIGHTS DR                                                                      ARLINGTON        TX   76016‐2959
SOUTHERLAND, NANCY              611 TEE JAY LN                                                                              BALTIMORE        MD   21222‐2863
SOUTHERLAND, NANCY              611 TEE JAY LANE                                                                            BALTIMORE        MD   21222‐2863
SOUTHERLAND, PATRICIA S         4997 SPRING HILL DRIVE                                                                      BUFORD           GA   30518‐4665
SOUTHERLAND, ROY L              911 N BLOUNT ST 10                                                                          RALEIGH          NC   27604
SOUTHERLAND, SANDRA             11001 HIBNER RD                                                                             HARTLAND         MI   48353
SOUTHERLAND, SHANE D            179 BRIGGS RANCH DR                                                                         FOLSOM           CA   95630‐5263
SOUTHERLAND, THELMA T           2501 FRIENDSHIP BLVD APT 62                                                                 KOKOMO           IN   46901‐7744
SOUTHERLING JR, ROBERT H        3096 KEMLER RD                                                                              EATON RAPIDS     MI   48827‐8220
SOUTHERLING, BRENT L            11185 ARLAND RD                                                                             RIVES JUNCTION   MI   49277‐9604
SOUTHERLING, JANICE L           1548 WAVERLY RD                                                                             HOLT             MI   48842‐9657
SOUTHERLING, JEREMY A           1018 BENSCH ST                                                                              LANSING          MI   48912‐1904
SOUTHERLING, LAURIE L           11185 ARLAND RD                                                                             RIVES JUNCTION   MI   49277‐9604
SOUTHERLING, WILLIAM J          1548 WAVERLY RD                                                                             HOLT             MI   48842‐9657
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Name                                Address1                              Address2                 Address3       Address4                City           State Zip
SOUTHERLY, JAY D                    4723 HARTEL RD LOT 37                                                                                 POTTERVILLE     MI 48876‐9725
SOUTHERLY, TERRY D                  104 FOLK ST                                                                                           POTTERVILLE     MI 48876‐9515
SOUTHERN 2053 GRIT 89468
SOUTHERN ADVENTISTS UNIVERSITY      STUDENT FINANCE                       PO BOX 370                                                      COLLEGEDALE    TN 37315‐0370
SOUTHERN AFRICA MOTORS              OFFICINAS EX‐ENGESA, ESTRADA DO CAC                                           LUANDA ANGOLA

SOUTHERN AG CARRIERS, INC                                                 3422 SYLVESTER RD                                                              GA 31705
SOUTHERN ALBERTA INSTITUTE OF       BUDGET & FINANCE DEPT                 1301 16 AVE NW                          CALGARY CANADA AB T2M
TECHNOLOGY                                                                                                        0L4 CANADA
SOUTHERN ALBERTA PEDIATRIC HOSTEL   1921‐28TH STREET SW                   1921 92 ST SE                           CALGARY AB T1X 0L5
SOCIETY                                                                                                           CANADA
SOUTHERN ARIZONA AUTO COMPANY OF    1200 N G AVE                                                                                          DOUGLAS        AZ    85607‐1929
DO
SOUTHERN ARIZONA AUTO COMPANY OF    1200 N G AVE                                                                                          DOUGLAS        AZ    85607‐1929
DOUGLAS
SOUTHERN ARKANSAS UNIVERSITY        SAU BOX 9411                                                                                          MAGNOLIA       AR    71753
SOUTHERN AUDIO VISUAL               11700 NW 102ND RD STE 15                                                                              MEDLEY         FL    33178‐1029
SOUTHERN AUT/BX30753                PO BOX 30753                                                                                          KNOXVILLE      TN    37930‐0753
SOUTHERN AUTO AUCTION               161‐164 S. MAIN ST.                                                                                   EAST WINDSOR   CT    06088
SOUTHERN AUTO AUCTION               161‐164 S MAIN ST                                                                                     EAST WINDSOR   CT    06088
SOUTHERN AUTO AUCTION               161 S MAIN ST                                                                                         EAST WINDSOR   CT    06088‐9702
SOUTHERN AUTO AUCTION
SOUTHERN AUTO AUCTION               LARRY G. TRIBBLE                      161‐164 SOUTH MAIN ST.                                          EAST WINDSOR   CT
SOUTHERN AUTO ELECTRIC              3975 MORELAND AVE                                                                                     CONLEY         GA    30288‐2131
SOUTHERN AUTO ELECTRIC                                                    3975 MORELAND AVE                                                              GA    30288
SOUTHERN AUTOMOTIVE CENTER          5455 HIGHWAY 20                                                                                       LOGANVILLE     GA    30052‐2878
SOUTHERN AUTOMOTIVE DEALER GROUP    RAED RIFAI                            30401 S FEDERAL HWY                                             HOMESTEAD      FL    33030‐5011
CORP
SOUTHERN AUTOMOTIVE INVESTMENT      RONALD SWATTY                         4305 JONESBORO RD                                               UNION CITY     GA 30291‐2001
HOLDINGS LLC
SOUTHERN AUTOMOTIVE MEDIA           4740 SW 83RD AVE                                                                                      MIAMI           FL   33155‐5441
ASSOCIATION
SOUTHERN AUTOMOTIVE SERVICE         1734 SOUTHERN AVE                                                                                     SHREVEPORT      LA   71101‐4466
SOUTHERN BAPTIST THEOLOGICAL        2825 LEXINGTON RD                                                                                     LOUISVILLE      KY   40280‐0001
SEMINARY
SOUTHERN BROADCASTING CORP. OF      8400 ROUTE 13                                                                                         LEVITTOWN      PA 19057
SARAS
SOUTHERN BUS & MOBILITY             12950 KOCH LN                                                                                         BREESE         IL    62230‐4220
SOUTHERN BUS/NSHVLLE                220 GREAT CIRCLE RD STE 131                                                                           NASHVILLE      TN    37228‐1733
SOUTHERN BUSINESS SYSTEMS INC       1670 OAKBROOK DR STE 300                                                                              NORCROSS       GA    30093‐1849
SOUTHERN CA, EDISON, WOFFORD                                              120 WOODLAND DR                                                                CA    93285
HEIGHTS
SOUTHERN CAL SPORTS                 1809 E DYER RD STE 311                                                                                SANTA ANA      CA 92705‐5740
SOUTHERN CALIFORIA UNIVERSITY       202 FASHION LANE                                                                                      TUSTIN         CA 92780
SOUTHERN CALIFORNIA AUTO AUCTION    10700 BEECH AVE                                                                                       FONTANA        CA 92337‐7205

SOUTHERN CALIFORNIA BUICK DEAL      3349 CAHUENGA BLVD W                                                                                  HOLLYWOOD      CA 90068
SOUTHERN CALIFORNIA COLLEGE OF      595 W LAMBERT RD                                                                                      BREA           CA 92821‐3909
BUSINESS AND LAW
SOUTHERN CALIFORNIA EDISON          PO BOX 600                                                                                            ROSEMEAD       CA 91771‐0001
SOUTHERN CALIFORNIA EDISON          PO BOX 300                                                                                            ROSEMEAD       CA 91771‐0001
SOUTHERN CALIFORNIA EDISON                                                10060 TELEGRAPH RD       ATTN. GARAGE                                          CA 93004
                                       09-50026-mg              Doc 7123-37      Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                               Address1                               Address2                   Address3             Address4         City            State Zip
SOUTHERN CALIFORNIA EDISON         265 N EAST END AVE                                                                                      POMONA           CA 91767‐5803
SOUTHERN CALIFORNIA EDISON COMPANY EDISON BUILDING                                                                                         LOS ANGELES      CA

SOUTHERN CALIFORNIA EDISON COMPANY

SOUTHERN CALIFORNIA EDISON COMPANY ATTN: CECILIA BAESA                    300 N. LONE HILL AVE.                                            SAN DIMAS       CA 91773

SOUTHERN CALIFORNIA GAS CO            PO BOX C                                                                                             MONTEREY PARK   CA 91756‐0001
SOUTHERN CALIFORNIA GAS CO.           555 W FIFTH ST                                                                                       LOS ANGELES     CA 90013
SOUTHERN CALIFORNIA GAS COMPANY       MASS MARKETS CREDIT & COLLECTIONS   THE GAS COMPANY            P O BOX 30337                         LOS ANGELES     CA 90030‐0337

SOUTHERN CALIFORNIA SECURITY S      1826 LEXINGTON DR                     PO BOX 2187                                                      FULLERTON       CA 92835‐3500
SOUTHERN CALIFORNIA SECURITY SYSTEM 1826 LEXINGTON DR                     PO BOX 2187                                                      FULLERTON       CA 92835‐3500

SOUTHERN CALIFORNIA SECURITY SYSTEMS 1826 LEXINGTON DR                                                                                     FULLERTON       CA 92835‐3500
INC
SOUTHERN CALIFORNIA UNIVERSITYFOR    1840 E 17TH ST STE 240                                                                                SANTA ANA       CA 92705‐8680
PROFESSIONAL STUDIES

SOUTHERN CARGO SERVICES               99 UNIVERSITY AVE SW                                                                                 ATLANTA         GA    30315‐2204
SOUTHERN CAST/TN                      PO BOX 4748                                                                                          SEVIERVILLE     TN    37864‐4748
SOUTHERN CASTING CO                   148 RIVER BEND DR                   PO BOX 4748                                                      SEVIERVILLE     TN    37876‐1942
SOUTHERN CASTING COMPANY              PO BOX 4748                                                                                          SEVIERVILLE     TN    37864‐4748
SOUTHERN CHEVROLET CADILLAC INC       5845 COLISEUM BLVD                                                                                   ALEXANDRIA      LA    71303‐3713
SOUTHERN CHEVROLET CADILLAC, INC.     5845 COLISEUM BLVD                                                                                   ALEXANDRIA      LA    71303‐3713
SOUTHERN CHEVROLET CADILLAC, INC.     CYRIL MURPHY                        5845 COLISEUM BLVD                                               ALEXANDRIA      LA    71303‐3713
SOUTHERN CHEVROLET, INC.              MITCH MOSLEY                        518 BELL ST                                                      DE KALB         MS    39328‐6379
SOUTHERN CHEVROLET, INC.              518 BELL ST                                                                                          DE KALB         MS    39328‐6379
SOUTHERN CHEVROLET‐OLDS‐GEO, INC.     2255 S MCKENZIE ST                                                                                   FOLEY           AL    36535‐1704

SOUTHERN CHEVROLET‐OLDS‐GEO, INC.     ROBERT SANSING                      2255 S MCKENZIE ST                                               FOLEY            AL   36535‐1704

SOUTHERN CHRISTIAN LEADERSHIP         CONFERENCE FOUNDATION               1100 MAIN ST STE 1600      C/O FIELDS & BROWN                    KANSAS CITY     MO 64105‐5117
SOUTHERN COACH                        960 OLD WINSTON RD                                                                                   KERNERSVILLE    NC 27284‐8119
SOUTHERN COACH                        JOHN LINK                           960 OLD WINSTON RD                                               KERNERSVILLE    NC 27284‐8119
SOUTHERN COACH
SOUTHERN COLLEGE OF OPTOMETRY         1245 MADISON AVE                                                                                     MEMPHIS         TN 38104‐2211
TREASURER
SOUTHERN COLLEGE OF TECHNOLOGY        1100 S MARIETTA PKWY SE                                                                              MARIETTA        GA 30060‐2855
SOUTHERN COMFORT CONV                 4680 PINSON VALLEY PKWY                                                                              BIRMINGHAM      AL 35215‐1607
SOUTHERN COMFORT CONV
SOUTHERN COMFORT CONVERSIONS
SOUTHERN COMFORT CONVERSIONS          4700 PINSON VALLEY PKWY                                                                              BIRMINGHAM       AL   35215‐1654
SOUTHERN COMFORT CONVERSIONS INC      PO BOX 748                                                                                           PINSON           AL   35126‐0748

SOUTHERN COMFORT CONVERSIONS, INC. 4680 PINSON VALLEY PKWY                                                                                 BIRMINGHAM       AL   35215‐1607

SOUTHERN COMFORT CONVERSIONS, INC.

SOUTHERN COMPANY SERVICES, INC.       MARK JOHNSON                        241 RALPH MCGILL BLVD NE                                         ATLANTA         GA 30308‐3374
SOUTHERN CONNNECTICUT                 STATE UNIVERSITY                    501 CRESCENT ST                                                  NEW HAVEN       CT 06515‐1330
SOUTHERN CRANE & ELEVATOR SERV        2100 TREEHOUSE LN                   PO BOX 866008                                                    PLANO           TX 75023‐7709
                                        09-50026-mg                Doc 7123-37    Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
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Name                                   Address1                             Address2                         Address3                 Address4             City            State Zip
SOUTHERN CRANE & ELEVATOR SERVICE      2300 SKILES DR                                                                                                      PLANO            TX 75075‐7456
INC
SOUTHERN CT FINANCIAL SERVICES         183 PLAINS RD STE NO 3                                                                                              MILFORD         CT    06461
SOUTHERN EAGLE SALES & SERVICE                                              5300 BLAIR ST                                                                                  LA    70003
SOUTHERN ELECTRIC CORP                 4374 MANGUM DR                                                                                                      FLOWOOD         MS    39232‐2111
SOUTHERN ELECTRIC CORPORATION OF       PO BOX 320398                                                                                                       FLOWOOD         MS    39232‐0398
MISSISSIPPI
SOUTHERN ELECTRIC SUPPLY CO INC        701 S PATTERSON BLVD                                                                                                DAYTON          OH    45402‐2620
SOUTHERN ELECTRIC SUPPLY CO INC        4601 SPRING VALLEY RD                FRMLY SUMMERS ELECTRIC CO                                                      DALLAS          TX    75244‐3902
SOUTHERN ELECTRIC SUPPLY CO INC        PO BOX 1510                                                                                                         BUFFALO         NY    14205
SOUTHERN EMBLE/TOAST                   PO BOX 8HY                                                                                                          TOAST           NC    27049
SOUTHERN EXHIBITION SERVICES           2101 TOBACCO RD                                                                                                     DURHAM          NC    27704‐5065
SOUTHERN FARM BUREAU CASUALTY          101 S SPRING ST STE 300                                                                                             LITTLE ROCK     AR    72201‐2453
INSURANCE COMPANY
SOUTHERN FARM BUREAU INS CO            C\O RAINES GROUP INC                 1200 MOUNTAIN CREEK RD STE 100                                                 CHATTANOOGA     TN 37405‐1659

SOUTHERN FARM BUREAU LIFE INS CO       EXECUTIVE BUSINESS PARK              1200 MOUNTAIN CREEK RD STE 100 C\O THE RAINES GROUP INC                        CHATTANOOGA     TN 37405‐1659

SOUTHERN FAST/STSVIL                   PO BOX 1360                          1211 BARKLEY ROAD                                                              STATESVILLE     NC    28687‐1360
SOUTHERN FOODS                         STATE FARM                           PO BOX 6071                                                                    COLUMBIA        MO    65205‐6071
SOUTHERN FOODS                         117 MITCH MCCONNELL WAY                                                                                             BOWLING GREEN   KY    42101‐7519
SOUTHERN FOODS                         STATE FARM                           P.O. BOX 6071                                                                  COLUMBIA        LA    65205
SOUTHERN FOODS
SOUTHERN FOUND/CHATT                   980 W 19TH ST                                                                                                       CHATTANOOGA     TN    37408‐1013
SOUTHERN FREIGHT EXPRESS INC           444 JONES FRANKLIN RD                                                                                               MORRISTOWN      TN    37813‐1120
SOUTHERN GAGE INC                      DBA GLASTONBURY SOUTHERN GAGE        150 INDUSTRIAL PARK RD           PO BOX 509                                    ERIN            TN    37061
SOUTHERN HARDWARE & SUPPLY CO INC      ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 1792                                                                    MONROE          LA    71210‐1792
                                       AGENT
SOUTHERN HARWARE & SUPPLY CO LTD       PO BOX 1792                                                                                                         MONROE           LA   71210‐1792

SOUTHERN HEMISPHERE PROVING            PO BOX 350                                                                                     WANAKA NEW ZEALAND
GROUNDS
SOUTHERN HILLS MEDICAL CENTER LLC      SOUTHERN HLS                         P.O. BOX 404034                                                                ATLANTA         GA    30384‐0001
SOUTHERN ICE CREAM CORP                13755 GREENLAND DR                                                                                                  STAFFORD        TX    77477‐5022
SOUTHERN ILLINOIS UNIVERSITY           EDWARDSVILLE                         PO BOX 1042                                                                    EDWARDSVILLE    IL    62026‐0001
SOUTHERN ILLINOIS UNIVERSITY           436 MSS DPE                          520 13TH STREET ROOM 209                                                       DOVER AFB       DE    19902
SOUTHERN ILLINOIS UNIVERSITY AT        OFFICE OF THE BURSAR                 NONSTUDENT ACCOUNTS                                                            CARBONDALE      IL    62901
CARBONDALE                                                                  RECEIVABLE
SOUTHERN ILLINOIS UNIVERSITY AT        PO BOX 321                                                                                                          BARKSDALE AFB    LA   71110‐0321
CARBONDALE
SOUTHERN ILLINOIS UNIVERSITY AT
CARBONDALE
SOUTHERN ILLINOIS UNIVERSITY           FINANCIAL AID OFFICE 4702                                                                                           CARBONDALE       IL   62901
CARBONDALE
SOUTHERN ILLINOIS UNIVERSITY COLLEGE   MC 6604                                                                                                             CARBONDALE       IL   62901
OF APPLIED SCIENCEANDA
SOUTHERN ILLINOIS UNIVERSITY COLLEGE   OUTREACH PROGRAMS                                                                                                   CARBONDALE       IL   62901
OF ENGINEERING
SOUTHERN IND/CORINTH                   PO BOX 1432                          FULTON DRIVE                                                                   CORINTH         MS    38835‐1432
SOUTHERN INDUSTRIAL TOOL               6525 ROLLING FORK DR                                                                                                NASHVILLE       TN    37205‐3914
SOUTHERN INT/ROCKHIL                   PO BOX 11645                         HULL SPENCE ROAD                                                               ROCK HILL       SC    29731‐1645
SOUTHERN KENTUCKY BOOK FEST            1906 COLLEGE HGHTS BLVD #110                                                                                        BOWLING GREEN   KY    42101
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SOUTHERN KENTUCKY PAYPHONES         1543 GIRKIN BOILING SPRINGS RD                                                                                BOWLING GREEN     KY 42101‐8554
SOUTHERN MACHINE & FABRICATIONCO    18 COMMERCE DR                                                                                                CARTERSVILLE      GA 30120‐2661
INC
SOUTHERN MAINE TECHNICAL COLLEGE    FORT ROAD                                                                                                     SOUTH PORTLAND   ME 04106

SOUTHERN MANAGEMENT CORP            1950 OLD GALLOWS RD STE 600                                                                                   VIENNA           VA 22182‐3970
SOUTHERN MARYLAMD ELECTRIC          HWY 231 WEST                                                                                                  HUGHESVILLE      MD 20637
COOPERATIVE
SOUTHERN MARYLAMD ELECTRIC          LARRY HAK                        15035 BURNT STORE ROAD                                                       HUGHESVILLE      MD
COOPERATIVE
SOUTHERN MARYLAND ELECTRIC COOP                                      15065 BURNT STORE ROAD                                                                        MD 20637
SOUTHERN MARYLAND ELECTRIC          HWY 231 WEST                                                                                                  HUGHESVILLE      MD 20637
COOP.(SMECO)
SOUTHERN MARYLAND ELECTRIC
COOP.(SMECO)
SOUTHERN METALS CO INC              2200 DONALD ROSS RD                                                                                           CHARLOTTE        NC    28208‐6127
SOUTHERN METALS CO INC              2200 DONALD ROSS RD              PO BOX 668923                                                                CHARLOTTE        NC    28208‐6127
SOUTHERN METHODIST UNIVERSITY       EDWIN L COX SCHOOL OF BUSINESS   FINCHER BUILDING RM 240          EXECUTIVE DEVELOPMENT                       DALLAS           TX    75275‐0333
SOUTHERN METHODIST UNIVERSITY       THIRD PARTY BILLING              PO BOX 750181                                                                DALLAS           TX    75275‐0181
SOUTHERN METHODIST UNIVERSITY       COX SCHOOL OF BUSINESS/EXECUTI   ATTN KATHLEEN FENDLER            PO BOX 750508                               DALLAS           TX    75275‐0001
SOUTHERN METHODIST UNIVERSITY       ATTN RADOVAN KOVACEVIC           RESEARCH CTR                     PO BOX 0337 UPDATE 1/2/8                    DALLAS           TX    75275‐0337
                                                                                                      AM
SOUTHERN METHODIST UNIVERSITY       PO BOX 750275                                                                                                 DALLAS            TX   75275‐0275
CONTINUING STUDIES
SOUTHERN METHODIST UNIVERSITY       PO BOX 750181                                                                                                 DALLAS            TX   75275‐0181
OFFICE OF CAHIER
SOUTHERN METHODIST UNIVERSITY       CO                               PO BOX 750259                                                                DALLAS            TX   75275‐0259
OFFICE OF GRANT & CONTRACT ACC
SOUTHERN METHODIST UNIVERSITY       3140 DYER ST                                                                                                  DALLAS            TX   75275‐0001
PARKING AND ID CARD SERVICES
SOUTHERN METHODIST UNIVERSITY       DEEDEE CONWAY 3011 EMBREY ENG    3101 DYER ST UPDATE 12/13/7 AM                                               DALLAS            TX   75275‐0001
SCHOOL OF ENGINEERING
SOUTHERN METHODIST UNIVERSITY,
DALLAS, TEXAS
SOUTHERN METHODIST UNIVESITY        SCHL OF ENGRG AND APPL SCIENCE   6575 WEST LOOP S STE 700         HOUST CAMPUS ADV COMPTR                     BELLAIRE          TX   77401‐3604
                                                                                                      EDUC
SOUTHERN MICHIGAN CNC SERVICE INC   6823 FOLKS RD                                                                                                 HORTON           MI 49246‐9659

SOUTHERN MICHIGAN TOOL & MACHINE    4400 S HILLSDALE RD                                                                                           HILLSDALE        MI 49242‐8542
INC
SOUTHERN MINNESOTA AUTO SUPPLY      504 6TH AVE NW                                                                                                ROCHESTER        MN    55901‐2634
SOUTHERN MINNESOTA AUTO SUPPLY                                       504 6TH AVE NW                                                                                MN    55901
SOUTHERN MOLD/JOHNSN                500 FOLLIS AVE                   P.O. BOX 239                                                                 JOHNSTON CITY    IL    62951‐1432
SOUTHERN NATIONALEASE               2301 FINLEY BLVD                                                                                              BIRMINGHAM       AL    35234‐1122
SOUTHERN NAZARENE UNIVERSITY MAIN   6729 NW 39TH EXPY                                                                                             BETHANY          OK    73008‐2605
CAMPUS
SOUTHERN NEW ENGLAND SCHOOL OF      333 FAUNCE CORNER RD             BUSINESS OFFICE                                                              DARTMOUTH        MA 02747‐1252
LAW
SOUTHERN NEW HAMPSHIRE UNIVERSITY   2500 N RIVER RD                  FMLY NEW HAMPSHIRE COLLEGE                                                   MANCHESTER       NH 03106‐1018

SOUTHERN OH LABOR ASSIST PROS       CWA LOCAL 4322 SUSAN RIGGS       5030 LINDEN AVE                                                              DAYTON           OH 45432‐1866
SOUTHERN OHIO COLLEGE               1011 GLENDALE MILFORD RD                                                                                      CINCINNATI       OH 45215‐1107
                                       09-50026-mg                Doc 7123-37     Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
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Name                                  Address1                              Address2                         Address3   Address4                City               State Zip
SOUTHERN OHIO COUNCIL SL              C/O SOUTHERN OHIIO COUNCIL OF         17273 ST RT 104 BLDG 8                                              CHILLCOTHE          OH 45601
                                      GOVERNMENTS
SOUTHERN ONTARIO RACKING LTD          1135 KING RD                                                                      BURLINGTON ON L7R 3X5
                                                                                                                        CANADA
SOUTHERN ONTARIO RACKING LTD
SOUTHERN PACIFIC TRANS CO           1860 LINCOLN ST 14TH FL                                                                                     DENVER             CO 80295
SOUTHERN PACK/NSHVIL                2712 LANDERS AVE                                                                                            NASHVILLE          TN 37211‐2205
SOUTHERN PINES CHEVROLET BUICK PONT 1590 US HWY I S                                                                                             SOUTHERN PINES     NC

SOUTHERN PINES CHEVROLET BUICK        1590 US HWY I S                                                                                           SOUTHERN PINES     NC 28387
PONTIAC GMC
SOUTHERN PINES TRUCKING INC           294 MASSACHUSETTS AVE                 UODT PER GOI 03/13/06 LC                                            ROCHESTER          PA 15074
SOUTHERN PLAZA GOODYEAR               437 E HANNA AVE                                                                                           INDIANAPOLIS       IN 46227‐1336
SOUTHERN POLYTECHNIC STATE            1100 S MARIETTA PKWY SE               OFFICE OF FISCAL AFFAIRS BLD V                                      MARIETTA           GA 30060‐2855
UNIVERSITY
SOUTHERN PT/LEWISBUR                  1810 SHADY BROOK ST STE 3                                                                                 COLUMBIA           TN 38401‐3993
SOUTHERN PUBLIC RELATIONS             479 CORBY DR                                                                                              BATON ROUGE        LA 70810‐4506
FEDERATION
SOUTHERN RAD/COLUMBI                  PO BOX 1376                                                                                               COLUMBIA           TN 38402‐1376
SOUTHERN RADIOLOGY A                  PO BOX 1376                                                                                               COLUMBIA           TN 38402‐1376
SOUTHERN RADIOLOGY ASSOCIATES, PLLC   PO BOX 1376                                                                                               COLUMBIA           TN 38402‐1376

SOUTHERN RAILROAD COMPANY
SOUTHERN RAILWAY COMPANY
SOUTHERN RAILWAY COMPANY              3900 MOTORS INDUSTRIAL WAY                                                                                DORAVILLE          GA 30360‐3163
SOUTHERN RAILWAY COMPANY              920 15TH ST. NW                                                                                           WASHINGTON         DC 20005
SOUTHERN RAILWAY SYSTEM               OFFICE OF ASSISTANT FREIGHT TRAFFIC                                                                       ATLANTA            GA 30303
                                      MANAGER
SOUTHERN RAILWAY SYSTEM               1120 W WASHINGTON ST                  TRANSPORATATION DEPARTMENT                                          GREENVILLE         SC   29601‐1344

SOUTHERN RAILWAY SYSTEM               185 SPRING ST SW                                                                                          ATLANTA            GA   30303‐3703
SOUTHERN REFRIGERATED TRANS           PORT INC                              8055 N HIGHWAY 67                                                   TEXARKANA          AR   71854‐1598
SOUTHERN RES/BRMNGHM                  2000 9TH AVE S                        P.O. BOX 55305                                                      BIRMINGHAM         AL   35205‐2708
SOUTHERN RIGS INC                     PO BOX 18260                                                                                              MEMPHIS            TN   38181‐0260
SOUTHERN SAL/HARRIMA                  903 CARTER AVE                                                                                            HARRIMAN           TN   37748‐2004
SOUTHERN SALES & SERVICE CO. LTD.     P.O. BOX 105                                                                      SAN FERNANDO TRINIDAD
                                                                                                                        AND TOBAGO
SOUTHERN SHOWS INC                    7406 CHAPEL HILL RD STE C                                                                                 RALEIGH            NC   27607‐5039
SOUTHERN SHOWS INC                    C/O MARDEE WOODWARD                   810 BAXTER ST                                                       CHARLOTTE          NC   28202‐2702
SOUTHERN SPEC/NASHVI                  2705 NOLENSVILLE PIKE                                                                                     NASHVILLE          TN   37211‐2218
SOUTHERN STAR CENTRAL GAS PIPELINE    PO BOX 973045                                                                                             DALLAS             TX   75397‐3045

SOUTHERN STAR CENTRAL GAS PIPELINE,   DAVID ENGLERT                         4700 STATE ROUTE 56                                                 OWENSBORO          KY   42301‐9303
INC.
SOUTHERN STATE COMMUNITY COLLE        1270 US HIGHWAY 62 SW                                                                                     WASHINGTON COURT   OH 43160‐8889
                                                                                                                                                HOUSE
SOUTHERN STATE COMMUNITY COLLE        3525 N STATE ROUTE 48                                                                                     LEBANON            OH 45036‐1038
SOUTHERN STATE COMMUNITY COLLEGE      PO BOX 880                            BUSINESS OFFICE                                                     HILLSBORO          OH 45133‐0880

SOUTHERN STATE COMMUNITY COLLEGE      100 HOBART DR                                                                                             HILLSBORO          OH 45133‐9406
STUDENT ACCOUNTS
SOUTHERN STATES APPRENTICESHIP        CONFERENCE CENTRAL OFFICE             1609 MILLWOODE LN                                                   SODDY DAISY        TN 37379‐6023
                                     09-50026-mg             Doc 7123-37    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
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Name                                 Address1                        Address2               Address3        Address4               City               State Zip
SOUTHERN STATES BUICK                2511 WAKE FOREST RD                                                                           RALEIGH             NC 27609‐7835
SOUTHERN STATES BUICK DODGE          MAZDA                           2511 WAKE FOREST RD                                           RALEIGH             NC 27609‐7835
SOUTHERN STATES CO‐OP                ATTN: RICHARD DECATUR           11324 TIDEWATER TRL                                           FREDERICKSBURG      VA 22408‐2037
SOUTHERN STATES CORRECTIONAL ASSOC   1675 FORT WORTH HWY                                                                           WEATHERFORD         TX 76086‐4628
TEXAS HOST COMMITTEE
SOUTHERN STATES MACHINERY INC        415 PISGAH CHURCH RD                                                                          GREENSBORO         NC 27455‐2590
SOUTHERN SUPPLIES LIMITED            323 BLOOR STREET WEST                                                  OSHAWA CANADA ON L1J
                                                                                                            6X4 CANADA
SOUTHERN SUPPLIES LIMITED            323 BLOOR ST W                                                         OSHAWA ON L1J 6X4
                                                                                                            CANADA
SOUTHERN SYSTEMS INC                 4101 VISCOUNT AVE                                                                             MEMPHIS            TN    38118‐6106
SOUTHERN TIER TRANSPORTATION         3385 LOWER MAPLE AVE APT A                                                                    ELMIRA             NY    14901
SOUTHERN TIRE MART                   610 W MOCKINGBIRD LN                                                                          DALLAS             TX    75247‐6026
SOUTHERN TRUCK EQUIPMENT             4444 E TENNESSEE ST                                                                           TUCSON             AZ    85714‐2137
CO/MEDIUM DUTY TRK.
SOUTHERN UNION COMPANY               JEFF ARNOLD                     5444 WESTHEIMER ROAD                                          HOUSTON             TX   77056
SOUTHERN UNION STATE                 1701 LAFAYETTE PKWY             BUSINESS OFFICE                                               OPELIKA             AL   36801‐3113
COMMUNITYCOLLEGE
SOUTHERN UNIVERSITY                  COMPTROLLERS OFFICE             SOUTHERN BR OFC                                               BATON ROUGE         LA   70813‐0001
SOUTHERN UNIVERSITY AT NEW ORLEANS   6400 PRESS DR                   COMPTROLLERS OFFICE                                           NEW ORLEANS         LA   70126‐1009

SOUTHERN UNIVERSITY SHREVEPORT       610 TEXAS ST                    STE 400                                                       SHREVEPORT         LA 71101‐3535
SOUTHERN UTE INDIAN TRIBE            IRVIN CASIAS                    815 COUNTY ROAD 517                                           IGNACIO            CO
SOUTHERN VERMONT COLLEGE             FINANCE OFFICE                                                                                BENNINGTON         VT 05201
SOUTHERN WESLEYAN UNIVERSITY LEAP    PO BOX 1020                     SWU BOX 487                                                   CENTRAL            SC 29630‐1020
ACCOUNTING
SOUTHERN WESTCHESTER BOCES ADULT     200 BOCES DR                                                                                  YORKTOWN HEIGHTS   NY 10598‐4321
EDUCATION
SOUTHERN WESTCHESTER BOCES ADULT     65 GRASSLANDS RD                                                                              VALHALLA           NY 10595‐1543
EDUCATION
SOUTHERN WINES & SPIRITS             3063 COURT ST                                                                                 SYRACUSE           NY 13208‐3250
SOUTHERN WISCONSIN REGIONAL          4004 S OAKHILL AVE                                                                            JANESVILLE         WI 53546‐8968
AIRPORT
SOUTHERN WOMENS SHOW                 SOUTHERN SHOWS INC              810 BAXTER ST                                                 CHARLOTTE          NC    28202‐2702
SOUTHERN, ALICE S.                   3626 COUNTY FARM ROAD                                                                         HOWELL             MI    48843‐6920
SOUTHERN, BETTY J                    40 BUIE RD                                                                                    MANGHAM            LA    71259‐5540
SOUTHERN, BEVIS K                    5610 SAINT JAMES LN                                                                           YORK               SC    29745‐9369
SOUTHERN, BEVIS Q                    302 ALLEGHENY AVE                                                                             DALLAS             GA    30132‐0961
SOUTHERN, BIRLER R                   PO BOX 14252                                                                                  SAGINAW            MI    48601‐0252
SOUTHERN, CALVIN P                   28526 SAN MARINO DR                                                                           SOUTHFIELD         MI    48034‐1533
SOUTHERN, CRAIG B                    PO BOX 215                                                                                    HEMLOCK            NY    14466‐0215
SOUTHERN, DARREN R                   718 KESTREL DRIVE                                                                             LEESVILLE          SC    29070‐8276
SOUTHERN, DARREN RAY                 718 KESTREL DRIVE                                                                             LEESVILLE          SC    29070‐8276
SOUTHERN, GARY C                     20675 W 13 MILE RD                                                                            BEVERLY HILLS      MI    48025‐3833
SOUTHERN, GEORGE M                   4220 COVENTRY DR                                                                              KOKOMO             IN    46902‐9409
SOUTHERN, GROVER E                   300 NORTHVIEW AVE                                                                             PRINCETON          WV    24740‐3827
SOUTHERN, HAROLD R                   431 FOREST OAKS DR                                                                            DOBSON             NC    27017‐8542
SOUTHERN, JANET S                    431 FOREST OAKS DR                                                                            DOBSON             NC    27017‐8542
SOUTHERN, JANIS                      #3                              95 MERRIMAN STREET                                            ROCHESTER          NY    14607‐1503
SOUTHERN, JIMMIE RICHARD             3601 WESTMINISTER CT                                                                          HOLIDAY            FL    34691
SOUTHERN, JOEL R                     254 N WILLOW DR                                                                               BOSSIER CITY       LA    71111‐6817
SOUTHERN, JOEL RAY                   254 N WILLOW DR                                                                               BOSSIER CITY       LA    71111‐6817
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Name                              Address1                         Address2               Address3                  Address4         City               State Zip
SOUTHERN, JOHN L                  1149 W GENESEE AVE                                                                                 FLINT               MI 48505‐1336
SOUTHERN, LILA                    695 BEECH HWY                                                                                      CHARLOTTE           MI 48813‐1048
SOUTHERN, LILA                    695 BEECH                                                                                          CHARLOTTE           MI 48813‐1048
SOUTHERN, LINDA S                 438 JANN DR                                                                                        SHREVEPORT          LA 71106‐7517
SOUTHERN, LINDA STEWART           438 JANN DR                                                                                        SHREVEPORT          LA 71106‐7517
SOUTHERN, MARILYN J               20188 NORTHROP ST                                                                                  DETROIT             MI 48219‐1291
SOUTHERN, MARY                    2041 LOST MEADOW LN SW                                                                             CONYERS             GA 30094‐5773
SOUTHERN, MICHELLE L              3601 WESTMINISTER COURT                                                                            HOLIDAY             FL 34691
SOUTHERN, RAYMOND B               104 F C CARDWELL RD                                                                                MORGANTOWN          KY 42261‐9046
SOUTHERN, RAYMOND BILL            104 F C CARDWELL RD                                                                                MORGANTOWN          KY 42261‐9046
SOUTHERN, ROBERT D                1615 13TH ST                                                                                       BEDFORD             IN 47421‐3113
SOUTHERN, SANDY                   5789 PIFER DRIVE                                                                                   DUBLIN              ME 28084
SOUTHERN, STEPHEN R               617 S FIELDCREST AVE                                                                               BLOOMINGTON         IN 47401‐4215
SOUTHERN, TANGIE L                1552 ABERDEEN PL                                                                                   BLOOMFIELD HILLS    MI 48304‐1000
SOUTHERN, TERRENCE A              249 TUCKER ST                                                                                      PONTIAC             MI 48341‐1076
SOUTHERN, WILLIAM R               879 S IONIA RD                                                                                     VERMONTVILLE        MI 49096‐9521
SOUTHERS, ANNA L                  2016 W WALL ST                                                                                     JANESVILLE          WI 53548‐3457
SOUTHERS, IMMACULEEN              1327 ARROW AVE                                                                                     ANDERSON            IN 46016
SOUTHERS, JOSHUA H                1113 STILLMAN AVE                                                                                  GADSDEN             AL 35903
SOUTHERS, WILLIAM J               6515 DAVERMAN CT                                                                                   LOUISVILLE          KY 40228‐2300
SOUTHFAIR PARTNERSHIP             21 HAVERFORD STATION             2ND FLOOR REAR                                                    HAVERFORD           PA 19041
SOUTHFAIR PARTNERSHIP             R. CHASE MCDANIEL, II            21 HAVERFORD STATION   2ND FLOOR                                  HAVERFORD           PA 19041
SOUTHFIELD CITY TREASURER         PO BOX 369                                                                                         SOUTHFIELD          MI 48037‐0369
SOUTHFIELD HILTON/MI              26000 AMERICAN DR                                                                                  SOUTHFIELD          MI 48034‐6170
SOUTHFIELD PUBLIC SCHOOLS         ACCOUNTING DEPT                  24661 LAHSER RD                                                   SOUTHFIELD          MI 48033‐3238
SOUTHFIELD RADIOLOGY              PO BOX 32532                                                                                       DETROIT             MI 48232‐0532
SOUTHFILD TOWN CENTER             2000 TOWN CTR STE 350                                                                              SOUTHFIELD          MI 48075‐1225
SOUTHGATE AUTOMOTIVE              5303 LOUIE LN STE 5                                                                                RENO                NV 89511‐1822
SOUTHGATE LEASING                 PO BOX 27577                                                                                       MILWAUKEE           WI 53227
SOUTHGATE MEDICAL GR              PO BOX 319                                                                                         BUFFALO             NY 14240‐0319
SOUTHGATE MOTORS, INC.            25 W HOUSATONIC ST                                                                                 PITTSFIELD          MA 01201‐6001
SOUTHGATE MOTORS, INC.            DONALD AGAR                      25 W HOUSATONIC ST                                                PITTSFIELD          MA 01201‐6001
SOUTHGATE OCCUPATION              22750 ROCKSIDE RD STE 101                                                                          BEDFORD             OH 44146‐1576
SOUTHGATE OCCUPATION              2270 ROCKSIDE RD STE 10                                                                            BEDFORD             OH 44146
SOUTHGATE PROCESS EQUIPMENT       4412 DERWENT DR NE                                                                                 ROSWELL             GA 30075‐1986
SOUTHGATE URGENT CAR              PO BOX 32588 04                                                                                    DETROIT             MI 48232
SOUTHGATE, LARRY E                2628 S MORRISTOWN PIKE                                                                             GREENFIELD          IN 46140‐7896
SOUTHGATE, LESLIE                 151 ELLIOTT CIR                                                                                    ANDERSON            SC 29621‐3366
SOUTHGATE, LYNN A                 5967 CLARK RD                                                                                      UNIONVILLE          MI 48767‐9727
SOUTHLAKE BASEBALL ASSOCIATION    C/O RUSSELL HOLLEY               692 GARDEN CT          SPA SPONSORSHIP PROGRAM                    SOUTHLAKE           TX 76092‐3502

SOUTHLAND ELECTRICAL SUPPLY IN    147 N MAIN ST                    PO BOX 1329                                                       BURLINGTON         NC   27217‐3901
SOUTHLAND ELECTRICAL SUPPLY INC   147 N MAIN ST                    PO BOX 1329                                                       BURLINGTON         NC   27217‐3901
SOUTHLAND EXPRESS INC             PO BOX 653                                                                                         LAWRENCEBURG       TN   38464‐0653
SOUTHLAND INDUSTRIES              DON STERLING                     17941 FITCH                                                       IRVINE             CA   92614‐6016
SOUTHLAND SPINE REHA              1520 NUTMEG PL STE 240                                                                             COSTA MESA         CA   92626‐2597
SOUTHLAND TAVERN                  ATTN: ROGER RAU                  3766 DIVISION AVE S                                               GRAND RAPIDS       MI   49548‐3252
SOUTHLAND TRANSIT, INC.                                            14913 RAMONA BLVD                                                                    CA   91706
SOUTHLAND TRANSPORTATION CO       PO BOX 99                                                                                          BOONVILLE          NC   27011‐0099
SOUTHORN, BENJAMIN S              4947 GERTRUDE ST                                                                                   DEARBORN HTS       MI   48125‐2807
SOUTHPACK SALES & SERVICE INC     4715 FULTON INDUSTRIAL BLVD SW                                                                     ATLANTA            GA   30336‐2017
SOUTHPARK TIRE & AUTO CENTER      8081 S BROADWAY STE A                                                                              LITTLETON          CO   80122‐2732
                                      09-50026-mg            Doc 7123-37         Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                                 Address1                             Address2                          Address3   Address4         City                  State Zip
SOUTHPOINTE ENGINEERING SYSTEMS      2450 CIVIC CENTER DR                                                                               CINCINNATI             OH 45231‐1308
SOUTHPOINTE SERVICE CENTER INC.      3231 33RD ST S                                                                                     FARGO                  ND 58104‐8823
SOUTHPOINTE SERVICE CENTER INC.      3231 33RD ST S                                                                                     FARGO                  ND 58104‐8823
SOUTHRAIL CORP                       PO BOX 39271                                                                                       JACKSON                MS 39271‐0001
SOUTHRIDGE
SOUTHSHORE AUTOMOTIVE                2986 MARINA BAY DR                                                                                 LEAGUE CITY            TX   77573‐2732
SOUTHSIDE AUTO AND TRUCK REPAIR      1061 S FOSTER ST                                                                                   DOTHAN                 AL   36301‐3653
SHOP
SOUTHSIDE AUTO REPAIR                448 SOUTHLAND DR                                                                                   LEXINGTON             KY 40503‐1827
SOUTHSIDE AUTO TECH                  4830 RENT WORTH DR                                                                                 LINCOLN               NE 68516
SOUTHSIDE AUTOMOTIVE SERVICE & SALES 1335 W 53RD ST                                                                                     ANDERSON              IN 46013‐1308

SOUTHSIDE HONDA SUZUKI YAMAHA        ATTN: SCOTT PAUL                     4790 S DIXIE DR                                               MORAINE               OH    45439‐1464
SOUTHSIDE MARATHON, INC.             2105 S WASHINGTON ST                                                                               KOKOMO                IN    46902‐2002
SOUTHSIDE MEDICAL RE                 PO BOX 1831                                                                                        ADDISON               TX    75001‐1831
SOUTHTECH LLC                        712 BRISKIN LN                                                                                     LEBANON               TN    37087‐9517
SOUTHTOWN DOOR CO INC                400 VULCAN STREET                                                                                  BUFFALO               NY    14207
SOUTHTOWN DOOR CO INC                400 VULCAN ST                                                                                      BUFFALO               NY    14207
SOUTHTOWN DOOR CO INC                ATTN: CORPORATE OFFICER/AUTHORIZED   400 VULCAN STREET                                             BUFFALO               NY    14207‐1300
                                     AGENT
SOUTHTOWNE CHEVROLET OLDSMOBILE      695 HIGHWAY 34 E                                                                                   NEWNAN                GA 30265‐1008

SOUTHTOWNE MOTORS OF NEWNAN II,      STEPHEN MADER                        695 HIGHWAY 34 E                                              NEWNAN                GA 30265‐1008
INC.
SOUTHTOWNE MOTORS OF NEWNAN INC      PATTON CHEVROLET OLDS INC            PO BOX 220                                                    NEWNAN                GA 30264‐0220

SOUTHTOWNE MOTORS OF NEWNAN INC      PO BOX 220                                                                                         NEWNAN                GA 30264‐0220

SOUTHTOWNE MOTORS OF NEWNAN, INC. HAROLD PHILIPSON                        695 HIGHWAY 34 E                                              NEWNAN                GA 30265‐1008

SOUTHTOWNE PONTIAC‐BUICK‐CADILLAC‐ 695 HIGHWAY 34 E                                                                                     NEWNAN                GA 30265‐1008
G
SOUTHTOWNE PONTIAC‐BUICK‐CADILLAC‐ 695 HIGHWAY 34 E                                                                                     NEWNAN                GA 30265‐1008
GMC TRUCK
SOUTHTOWNS RADIOLOGY               PO BOX 62218                                                                                         BALTIMORE             MD 21264‐2218
SOUTHTRUST BANK                    ATTN: GENERAL COUNSEL                  557 E OVILLA RD                                               RED OAK               TX 75154‐3505
SOUTHTRUST BANK C/O WACHOVIA BANK, ATTENTION: LISA CARVER, VICE PRESIDENT ONE WACHOVIA CENTER 301                                       CHARLOTTE             NC 28288‐0001
NATIONAL ASSOCIATION                                                      COLLEGE STREET 18TH CODE S FL
                                                                          MAIL
SOUTHVIEW CHEVROLET                500 FORD RD                                                                                          MINNEAPOLIS           MN    55426‐1062
SOUTHVIEW CHEVROLET                1055 HIGHWAY 100                                                                                     INVER GROVE HEIGHTS   MN    55077
SOUTHVIEW CHEVROLET CO             DENNIS HECKER                          1055 HIGHWAY 110                                              INVER GROVE HEIGHTS   MN    55077‐1111
SOUTHVIEW CHEVROLET CO             JOHNSON & VAN VLIET LLP                332 MINNESOTA ST ‐ 1ST NATIONAL                               SAINT PAUL            MN    55101
                                                                          BANK BLDG SUITE ‐975

SOUTHVIEW CHEVROLET CO               BRIGSS & MORGAN PA                   80 S 8TH ST STE 2200                                          MINNEAPOLIS           MN    55402‐2210
SOUTHVIEW CHEVROLET CO               80 S 8TH ST STE 2200                                                                               MINNEAPOLIS           MN    55402‐2210
SOUTHVIEW CHEVROLET CO.              DENNIS HECKER                        500 FORD RD                                                   MINNEAPOLIS           MN    55426‐1062
SOUTHVIEW CHEVROLET CO.              500 FORD RD                                                                                        MINNEAPOLIS           MN    55426‐1062
SOUTHVIEW CHEVROLET CO/NATIONAL      7825 WASHINGTON AVE S STE 500                                                                      MINNEAPOLIS           MN    55439‐2415
CAR RENTAL
                                     09-50026-mg             Doc 7123-37        Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
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Name                                 Address1                             Address2             Address3         Address4         City               State Zip
SOUTHVIEW CHEVROLET CO/WALDEN        7825 WASHINGTON AVE S STE 500                                                               MINNEAPOLIS         MN 55439‐2415
GROUP
SOUTHVIEW HOME CARE SERVICES, INC.   360 N SEPULVEDA BLVD STE 2030                                                               EL SEGUNDO         CA 90245‐4414

SOUTHVIEW HOSPITAL                   PO BOX 713898                                                                               COLUMBUS           OH   43271‐3898
SOUTHVIEW PHYSICAL T                 880 WESTFALL RD                                                                             ROCHESTER          NY   14618
SOUTHWARD HORACE                     702 COBBLESTONE CT                                                                          CEDAR HILL         TX   75104‐5704
SOUTHWARD, ANTOINETTE K              365 SOUTH RD                                                                                NEW HARTFORD       CT   06057‐3536
SOUTHWARD, CARL L                    24 GARDEN DR                                                                                FORT MYERS         FL   33908‐1885
SOUTHWARD, GARY L                    PO BOX 310059                                                                               FLINT              MI   48531‐0059
SOUTHWARD, GARY LEE                  PO BOX 310059                                                                               FLINT              MI   48531‐0059
SOUTHWARD, JACKIE L                  3037 N WHITE RIVER PARKWAY EAST DR                                                          INDIANAPOLIS       IN   46208‐4987

SOUTHWARD, JOHN W                    365 SOUTH RD                                                                                NEW HARTFORD       CT   06057‐3636
SOUTHWARD, NINA D                    5925 W. THOMAS STREET                1E                                                     CHICAGO            IL   60651
SOUTHWARD, TONY D                    6788 S COCHRAN RD                                                                           CHARLOTTE          MI   48813‐9112
SOUTHWARD, TONY DALE                 6788 S COCHRAN RD                                                                           CHARLOTTE          MI   48813‐9112
SOUTHWARD, WILLIE M                  507 E GENESEE ST                                                                            FLINT              MI   48505‐4204
SOUTHWAY, JOHN C                     4890 CAMELOT DR                                                                             KIMBALL            MI   48074‐1559
SOUTHWELL I I, DONALD F              513 KENWOOD ST NE                                                                           GRAND RAPIDS       MI   49505‐4114
SOUTHWELL II, DONALD F.              513 KENWOOD ST NE                                                                           GRAND RAPIDS       MI   49505‐4114
SOUTHWELL MICHAEL                    637 POST OAK DR                                                                             PLANO              TX   75025‐6114
SOUTHWELL, DANIEL J                  0‐10687 26TH AVE.                                                                           GRAND RAPIDS       MI   49534
SOUTHWELL, DANIEL J                  O‐10687 26TH AVE NW                                                                         GRAND RAPIDS       MI   49534‐9531
SOUTHWELL, DARRELL J                 196 E SCOFIELD RD                                                                           LESLIE             MI   49251‐9514
SOUTHWELL, DAVID R                   10178 BARNES RD                                                                             EATON RAPIDS       MI   48827‐9235
SOUTHWELL, DEBORAH                   7278 SUE LN                                                                                 COLORADO SPRINGS   CO   80925‐9429
SOUTHWELL, DONALD A                  6312 SOUTH M‐66 HWY                                                                         NASHVILLE          MI   49073
SOUTHWELL, GEORGE G                  29219 JANE ST                                                                               ST CLAIR SHRS      MI   48081‐3232
SOUTHWELL, JANIS M                   196 E SCOFIELD RD                                                                           LESLIE             MI   49251‐9514
SOUTHWELL, JO ANN                    1450 W BENNINGTON RD                                                                        OWOSSO             MI   48867‐9747
SOUTHWELL, LOIS C                    25101 HAMILTON CT                                                                           SOUTH LYON         MI   48178‐1055
SOUTHWELL, MICHAEL D                 PO BOX 9022                          C/O AUSTRALIA                                          WARREN             MI   48090‐9022
SOUTHWELL, MILDRED V                 205 EAST GARY                                                                               BAY CITY           MI   48706‐3556
SOUTHWELL, MILDRED V                 205 E GARY ST                                                                               BAY CITY           MI   48706‐3556
SOUTHWELL, RICHARD A                 3586 BANGOR RD                                                                              BAY CITY           MI   48706‐2211
SOUTHWELL, ROBERT G                  11414 GRAND BLANC RD                                                                        GAINES             MI   48436‐9744
SOUTHWELL, ROBERT GREGORY            11414 GRAND BLANC RD                                                                        GAINES             MI   48436‐9744
SOUTHWELL, RODNEY G                  8488 SEYMOUR RD                                                                             GAINES             MI   48436‐9774
SOUTHWELL, RONALD D                  40 M.F.L.                                                                                   PRUDENVILLE        MI   48651
SOUTHWELL, SHARON O                  10178 BARNES RD                                                                             EATON RAPIDS       MI   48827‐9235
SOUTHWELL, STEVEN E                  1408 BUSH CREEK DR                                                                          GRAND BLANC        MI   48439‐2300
SOUTHWELL, TIMOTHY H                 PO BOX 767                                                                                  PERRY              MI   48872‐0767
SOUTHWELL, VANCE R                   4950 TOWNHALL RD                                                                            BEAVERTON          MI   48612‐9751
SOUTHWEST ADI
SOUTHWEST AIRLINES CO                PO BOX 37611                                                                                DALLAS             TX 75235
SOUTHWEST ALLEN COUN                 3134 MALLARD COVE LN                                                                        FORT WAYNE         IN 46804‐2882
SOUTHWEST ALUMINUM & GLASS CO INC    1000 SOUTHWEST DR                                                                           CUDDY              PA 15031‐9701

SOUTHWEST ANESTHESIO                 PO BOX 715161                                                                               COLUMBUS           OH 43271‐5161
SOUTHWEST AUTO SERVICE               1234 36TH ST SW                                                                             WYOMING            MI 49509‐3416
SOUTHWEST AUTO WORKS                 900 W LELAND AVE                                                                            SUBLETTE           KS 67877
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SOUTHWEST AUTOMOTIVE                  5905 MCCARTY LN                                                                              AUSTIN           TX 78749‐1925
SOUTHWEST AUTOMOTIVE                  4714 KEMP BLVD                                                                               WICHITA FALLS    TX 76308‐5220
SOUTHWEST AUTOMOTIVE & 4X4            5110 S LOWELL BLVD                                                                           LITTLETON        CO 80123
SOUTHWEST BAPTIST UNIVERSITY OFFICE   1600 UNIVERSITY AVE                                                                          BOLIVAR          MO 65613‐2578
OF ACCOUNTING SERVICES
SOUTHWEST CAR RENTAL                  2975 PACIFIC HWY                                                                             SAN DIEGO       CA    92101‐1238
SOUTHWEST DALLAS FAM                  2815 S HAMPTON RD                                                                            DALLAS          TX    75224‐2329
SOUTHWEST DEVELOPMENT CORP            PO BOX 160                                                                                   FAYETTE         MS    39069‐0160
SOUTHWEST DIAGNOSTIC                  PO BOX 849753                                                                                DALLAS          TX    75284‐53
SOUTHWEST FIRESTONE                   5009 XERXES AVE S                                                                            MINNEAPOLIS     MN    55410‐2227
SOUTHWEST GAS CORP                    PO BOX 15574                                                                                 LAS VEGAS       NV    89150‐0001
SOUTHWEST GAS CORPORATION             PO BOX 52075                                                                                 PHOENIX         AZ    85072‐2075
SOUTHWEST GAS CORPORATION
SOUTHWEST GAS CORPORATION             9 SOUTH 43RD AVE/MC 420535                                                                   PHOENIX         AZ    85009
SOUTHWEST GAS CORPORATION             ROBERT KEGLEY                          5241 SPRING MOUNTAIN RD                               LAS VEGAS       NV    89146‐8713
SOUTHWEST GAS CORPORATION             PO BOX 52075 PHOENIX                                                                         PHOENIX         AZ    85072
SOUTHWEST GAS CORPORATION             PO BOX 1498 / BANKRUPTCY DESK                                                                VICTORVILLE     CA    92393‐1498
SOUTHWEST GAS CORPORATION AZ          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 52075                                          PHOENIX         AZ    85072‐2075

SOUTHWEST GAS CORPORATION‐            400 EAGLE STATION LN                                                                         CARSON CITY     NV 89701‐6493
NORTHERN NEVADA DIV.
SOUTHWEST GAS CORPORATION‐            3401 E GAS RD                                                                                TUCSON          AZ    85714‐1917
SOUTHERN ARIZONA DIV.
SOUTHWEST GAS CORPORATION‐            4300 TROPICANA                                                                               LAS VEGAS       NV
SOUTHERN
SOUTHWEST GAS CORPORATION‐            4300 W TROPICANA AVE                                                                         LAS VEGAS       NV 89103‐5414
SOUTHERN NEVADA DIV.
SOUTHWEST GENERAL ME                  PO BOX 74881                                                                                 CLEVELAND       OH 44194‐0964
SOUTHWEST INTERNATIONAL FREIGHT       ATTN: CORPORATE OFFICER/AUTHORIZED   8189 S CENTRAL EXPY                                     DALLAS          TX 75241‐7820
                                      AGENT
SOUTHWEST MATERIALS HANDLING          4719 ALMOND AVE                                                                              DALLAS           TX   75247‐6401
COMPAMY
SOUTHWEST MEDICAL CA                  PO BOX 74228                                                                                 CLEVELAND       OH 44194‐0303
SOUTHWEST METRO TRANSIT                                                    14405 W 62ND ST                                                         MN 55346
SOUTHWEST MISSISSIPPI COMMUNITY       1156 COLLEGE DR                      BUSINESS OFFICE                                         SUMMIT          MS 39666‐9029
COLLEGE
SOUTHWEST MISSOURI                    STATE UNIVERSITY                     901 S NATIONAL AVE                                      SPRINGFIELD     MO    65897‐0027
SOUTHWEST MISSOURI STATE              UNIVERSITY WEST PLAINS CAMPUS        128 GARFIELD AVE                                        WEST PLAINS     MO    65775‐2715
SOUTHWEST ORTHOPEDIC                  6311 SOUTHWEST BLVD                                                                          BENBROOK        TX    76132‐1063
SOUTHWEST ORTHOPEDIC                  3505 W. WHEATLAND RD. STE. 100                                                               DALLAS          TX    75237
SOUTHWEST PIGGYBACK SERVICE           PO BOX 12754                                                                                 EL PASO         TX    79913‐0754
SOUTHWEST RE/SAN ANT                  6220 CULEBRA RD                      DEPARTMENT OF FIRE TECH                                 SAN ANTONIO     TX    78238‐5166
SOUTHWEST RESEARC/TX                  6220 CULEBRA RD                      P.O. DRAWER 28510                                       SAN ANTONIO     TX    78238‐5166
SOUTHWEST RESEARCH INSTITUTE          PO BOX 841671                                                                                DALLAS          TX    75284‐1671
SOUTHWEST RESEARCH INSTITUTE          6220 CULEBRA RD                                                                              SAN ANTONIO     TX    78238‐5166
SOUTHWEST RESEARCH INSTITUTE
SOUTHWEST RESEARCH INSTITUTE          6220 CULEBRA RD                      PO BOX 28510                                            SAN ANTONIO      TX   78238‐5166
SOUTHWEST RESEARCH INSTITUTE          9503 W COMMERCE ST                                                                           SAN ANTONIO      TX   78227‐1301
SOUTHWEST RESEARCH INSTITUTE          SANDY DELOSSANTOS                    62620 CULEBRA                                           SAN ANTONIO      TX   78238
SOUTHWEST SATURN, INC.                ROBERT GOODMAN                       4201 FOWLER ST                                          FORT MYERS       FL   33901‐2512
SOUTHWEST SPORTS GROUP                MR. GRADY RASKIN                     1000 BALLPARK WAY STE 400                               ARLINGTON        TX   76011‐5170
SOUTHWEST SURGICAL H                  1612 HURST TOWN CENTER DR                                                                    HURST            TX   76054‐6236
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SOUTHWEST TENNESSEE COMMUNITY      PO BOX 780                           ACCOUNTS RECEIVABLE UNION AVE                             MEMPHIS             TN 38101‐0780
COLLEGE
SOUTHWEST TEXAS STATE              TUITION ADJUSTMENTS                  601 UNIVERSITY DR             JCK 188                     SAN MARCOS         TX    78666‐4684
SOUTHWEST TEXAS STATE UNIV         GENERAL ACCOUNTING                   TUITION ADJUSTMENT RM 188                                 SAN MARCOS         TX    78666
SOUTHWEST UNIVERSITY               2200 VETERANS BOULEVARD                                                                        NEW ORLEANS        LA    70062
SOUTHWEST URGICARE CENTER‐BROOK    ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 632702                                             CINCINNATI         OH    45263‐2702
PARK                               AGENT
SOUTHWEST‐TEX LEASING CO. INC.     21104 INTERNATIONAL BLVD                                                                       SEATAC             WA    98198‐6069
SOUTHWEST‐TEX LEASING CO. INC.     2001 E PLUMB LN                                                                                RENO               NV    89502‐3259
SOUTHWEST‐TEX LEASING CO. INC.     1913 N PADRE ISLAND DR                                                                         CORPUS CHRISTI     TX    78408‐2333
SOUTHWEST‐TEX LEASING CO. INC.     23790 E 78TH AVE                                                                               DENVER             CO    80249‐6387
SOUTHWEST‐TEX LEASING CO., INC.    9229 RENTAL CAR LN                                                                             AUSTIN             TX    78719‐2335
SOUTHWEST‐TEX LEASING CO., INC.    3907 S 26TH AVE                                                                                DALLAS             TX    75261
SOUTHWEST‐TEX LEASING CO., INC.    300 S 24TH ST                                                                                  PHOENIX            AZ    85034‐2541
SOUTHWEST‐TEX LEASING CO., INC.    2375 W NORTH TEMPLE                                                                            SALT LAKE CITY     UT    84116‐2915
SOUTHWEST‐TEX LEASING CO., INC.    2200 SUNPORT BLVD SE                                                                           ALBUQUERQUE        NM    87106‐3247
SOUTHWEST‐TEX LEASING CO., INC.    338 NE LOOP 410                                                                                SAN ANTONIO        TX    78216
SOUTHWEST‐TEX LEASING CO.,INC.     1210 AIRWAY BLVD                                                                               EL PASO            TX    79925‐3621
SOUTHWEST‐TEX LEASING CO.INC.      3210 E GRIMES ST                                                                               HARLINGEN          TX    78550‐4552
SOUTHWESTERN ASSEMBLIES OF         1200 SYCAMORE ST                                                                               WAXAHACHIE         TX    75165‐2397
GODUNIVERSITY
SOUTHWESTERN BELL                  PO BOX 5001                                                                                    CAROL STREAM       IL    60197‐5001
SOUTHWESTERN BELL                  PO BOX 5011                                                                                    CAROL STREAM       IL    60197
SOUTHWESTERN BELL                  PO BOX 650661                                                                                  DALLAS             TX    75265‐0661
SOUTHWESTERN BELL CORP             PO BOX 105414                                                                                  ATLANTA            GA    30348‐5414
SOUTHWESTERN BELL CORP             PO BOX 5001                                                                                    CAROL STREAM       IL    60197‐5001
SOUTHWESTERN BELL DBA SBC          PO BOX 5017                                                                                    CAROL STREAM       IL    60197‐5017
SOUTHWESTERN BELL TELEPHONE        1010 PINE ST                                                                                   SAINT LOUIS        MO    63101‐2015
COMPANY
SOUTHWESTERN CHEVROLET, INC.       GREGORY SNIDER                       416 TRIPP ST                                              AMERICUS           GA    31709‐3817
SOUTHWESTERN CHRISTIAN COLLEGE     PO BOX 10                                                                                      TERRELL            TX    75160‐9002
SOUTHWESTERN COLLEGE               111 WEST FIRST STREET SUITE 1140                                                               DAYTON             OH    45402
SOUTHWESTERN COLLEGE               2040 S ROCK RD                                                                                 WICHITA            KS    67207‐5304
SOUTHWESTERN COLLEGE               201 E 2ND ST                                                                                   FRANKLIN           OH    45005‐2204
SOUTHWESTERN COLLEGE ONLINE        100 COLLEGE ST                                                                                 WINFIELD           KS    67156‐2443
SOUTHWESTERN ELECTRIC POWER        3044 W GRAND BLVD                                                                              DETROIT            MI    48202‐3009
COMPANY
SOUTHWESTERN EXPO & LIVESTOCK SHOW PO BOX 150                                                                                     FORT WORTH          TX   76101‐0150

SOUTHWESTERN FABRICATING INC       19400 ALLEN RD                                                                                 MELVINDALE         MI    48122‐2204
SOUTHWESTERN INDUSTRIES INC        2605 HOMESTEAD PL                                                                              RANCHO DOMINGUEZ   CA    90220‐5610
SOUTHWESTERN MEDICAL               PO BOX 1897                                                                                    BUFFALO            NY    14240‐1897
SOUTHWESTERN MICHIGAN COLLEGE      58900 CHERRY GROVE RD                                                                          DOWAGIAC           MI    49047‐9726
SOUTHWESTERN MOTOR TRANS           4600 GOLDFIELD                                                                                 SAN ANTONIO        TX    78218‐4601
SOUTHWESTERN MOTOR TRANSPORT INC   COREY KUHN                           4600 GOLDFIELD                                            SAN ANTONIO        TX    78218‐4601

SOUTHWESTERN OKLAHOMA STATE       100 CAMPUS DR                         BUSINESS OFFICE                                           WEATHERFORD        OK 73096‐3001
UNIVERSITY
SOUTHWESTERN POWER TOOLS & SUPPLY 8551 BOULDER CT                                                                                 WALLED LAKE        MI 48390‐4138
LP
SOUTHWESTERN TRANSPORTATION INC   PO BOX 1871                                                                                     FORT LEE            NJ   07024‐8371
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SOUTHWESTERN/HMILTN            903 BELLE AVE                         AMPS PROGRAM                   P.O. BOX 148                         HAMILTON         OH 45015‐1605
SOUTHWESTERN/MDLTWN            703 CURTIS ST                         ARMCO EASTERN STEEL DIVISION                                        MIDDLETOWN       OH 45043‐0001
SOUTHWESTERN/OH                AMPS SYSTEM                           C/O ARMCO E.S.D.               703 CURTIS STREET                    MIDDLETOWN       OH 45043‐0001
SOUTHWESTERN/STHFLD            25140 LASHER                          SUITE 131                                                           SOUTHFIELD       MI 48034
SOUTHWICK, CHARLES H           4616 WHITMAN RD                                                                                           CANASTOTA        NY 13032‐4362
SOUTHWICK, CLIFFORD D          2130 W 86TH ST APT F                                                                                      INDIANAPOLIS     IN 46260‐2069
SOUTHWICK, DAVID R             495 KINNEVILLE RD                                                                                         LESLIE           MI 49251‐9543
SOUTHWICK, FORREST             2177 GARDEN DR                                                                                            WICKLIFFE        OH 44092‐1114
SOUTHWICK, HARLAN V            8 BISCAY CT                                                                                               BALTIMORE        MD 21234‐1869
SOUTHWICK, JIMMIE L            12705 GREGWARE DR                                                                                         SAND LAKE        MI 49343‐9429
SOUTHWICK, SANDRA A            13 GOULD ST                                                                                               MILLBURY         MA 01527‐1908
SOUTHWICK, WILLIAM F           4931 STONEYBROOK RD                                                                                       VERNON           NY 13476‐3401
SOUTHWIND TRANSPORTATION INC   5437 MAHONING AVE STE 2                                                                                   YOUNGSTOWN       OH 44515‐2421
SOUTHWOOD, BETTY A             1217 CRESTWOOD HILLS DR.                                                                                  VANDALIA         OH 45377‐2714
SOUTHWOOD, HARRY T             44 TALL TREE DR                                                                                           BLUE EYE         MO 65611‐7273
SOUTHWOOD, MANUEL R            3921 MILLER DR                                                                                            INDIANAPOLIS     IN 46239‐1301
SOUTHWOOD, STEVEN M            7563 HOLLOW REED CT                                                                                       NOBLESVILLE      IN 46062
SOUTHWOOD, THOMAS M            328 MYERS LAKE DR                                                                                         NOBLESVILLE      IN 46062‐7910
SOUTHWORTH CHEVROLET, INC.     810 MARTIN RD                                                                                             BLOOMER          WI 54724‐1450
SOUTHWORTH CHEVROLET, INC.     GREGORY SOUTHWORTH                    810 MARTIN RD                                                       BLOOMER          WI 54724‐1450
SOUTHWORTH JOE L (356995)      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA 23510
                                                                     STREET, SUITE 600
SOUTHWORTH JOHN (459358)       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                         NORFOLK         VA 23510
                                                                     STREET, SUITE 600
SOUTHWORTH PRODUCTS CORP       11 GRAY RD                                                                                                FALMOUTH        ME 04105‐2027
SOUTHWORTH RALPH W (477845)    GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                        PITTSBURGH      PA 15219

SOUTHWORTH, BETTY A            10550 S 4TH AVE                                                                                           OAK CREEK       WI   53154‐6718
SOUTHWORTH, BRADFORD W         3260 74TH AVE SE                                                                                          MERCER ISLAND   WA   98040
SOUTHWORTH, CHARLES T          PO BOX 153                                                                                                HADLEY          MI   48440‐0153
SOUTHWORTH, DAVID              840 N LAVERGNE AVE                                                                                        CHICAGO         IL   60651‐3148
SOUTHWORTH, DAVID J            15615 JACKSON ST                                                                                          TAYLOR          MI   48180‐5340
SOUTHWORTH, DUANE C            1075 WOODNOLL DR                                                                                          FLINT           MI   48507‐4711
SOUTHWORTH, HOWARD G           7680 HEATHSIDE CT                                                                                         COLUMBUS        OH   43235‐5934
SOUTHWORTH, JEFFREY L          47750 BEMIS ROAD                                                                                          BELLEVILLE      MI   48111‐9758
SOUTHWORTH, JOE L              GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                         NORFOLK         VA   23510‐2212
                                                                     STREET, SUITE 600
SOUTHWORTH, JOHN               GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                         NORFOLK         VA 23510‐2212
                                                                     STREET, SUITE 600
SOUTHWORTH, MICHAEL L          176 N GRASSMERE RD                                                                                        ELKTON          MI 48731‐9614
SOUTHWORTH, RALPH W            GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                        PITTSBURGH      PA 15219

SOUTHWORTH, STELLA A           53066 FLATBUSH RD                                                                                         MARCELLUS       MI   49067‐9331
SOUTHWORTH, STEVEN M           1357 W KALAMO HWY                                                                                         CHARLOTTE       MI   48813‐9535
SOUTHWORTH, VIOLET H           4643 COUNTY ROAD 80                                                                                       MUSCADINE       AL   36269‐3918
SOUTHWORTH, VIOLET H           4643 CO RD 80                                                                                             MUSCADINE       AL   36269‐3918
SOUTHWORTH, VIRGINIA A         5225 ROSEGATE LN APT F                                                                                    INDIANAPOLIS    IN   46237‐8442
SOUTHWORTH‐MILTON INC          4610 E SAILE DR                                                                                           BATAVIA         NY   14020‐1017
SOUTHWORTH‐MILTON INC          100 QUARRY DR                                                                                             MILFORD         MA   01757‐1729
SOUVA, JAMES C                 53217 VILLA CIR                                                                                           SHELBY TWP      MI   48316‐2464
SOUVATZIDIS ARCHIE             5265 DILLON DR                                                                                            WHITE LAKE      MI   48383‐4100
SOUVATZIDIS, ACHILLE           5265 DILLON DR                                                                                            WHITE LAKE      MI   48383‐4100
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Name                      Address1                              Address2                         Address3   Address4         City            State Zip
SOUZA BRIAN               SOUZA, BRIAN                          1010 N BANCROFT PKWY STE 22                                  WILMINGTON       DE 19805‐2668
SOUZA BRIAN               SOUZA, JESSICA                        1010 N BANCROFT PKWY STE 22                                  WILMINGTON       DE 19805‐2668
SOUZA CRISTINA            SOUZA, CRISTINA                       601 BREWSTER AVE.                                            REDWOOD CITY     CA 94063
SOUZA CRISTINA            SOUZA, JACOB                          601 BREWSTER AVE.                                            REDWOOD CITY     CA 94063
SOUZA CRISTINA            SOUZA, MARK                           PO BOX 3389                                                  REDWOOD CITY     CA 94064‐3389
SOUZA CRISTINA            SOUZA, TAYLOR                         601 BREWSTER AVE.                                            REDWOOD CITY     CA 94063
SOUZA EUGENE W (449139)   C/O PAUL HANLEY & HARLEY              1608 4TH ST STE 300                                          BERKELEY         CA 94710‐1749
SOUZA, BERNICE M          433 HOLLY LN                                                                                       HAYWARD          CA 94541‐7424
SOUZA, BEVERLY R          35002 CLOVER ST                                                                                    UNION CITY       CA 94587‐5317
SOUZA, BRENDA K           601 8TH AVE                                                                                        AVA              MO 65608
SOUZA, CARLOS             WOLOSHIN & KILLINO, PC                1800 JOHN F. KENNEDY BOULEVARD                               PHILADELPHIA     PA 19103
                                                                11TH FLOOR
SOUZA, CARLOS             WOLOSHIN & KILLINO, PC                1800 JOHN F KENNEDY BLVD FL 11                               PHILADELPHIA    PA 19103‐7437

SOUZA, CLARENCE L         15350 BEATTY ST                                                                                    SAN LEANDRO     CA   94579‐2117
SOUZA, CONSUELO M         150 CALLE MARGARITA                                                                                ELK GROVE       CA   95624
SOUZA, CRISTINA           JOESPH CARCIONE                       601 BREWSTER AVE.                                            REDWOOD CITY    CA   94064
SOUZA, CRISTINA           423 S WILLOW AVE                                                                                   MANTECA         CA   95337‐5549
SOUZA, DAVE L             38565 OLIVER WAY                                                                                   FREMONT         CA   94536‐4427
SOUZA, DENNIS O           331 MIDVALE AVE                                                                                    LANSING         MI   48912‐4138
SOUZA, DONALD W           3113 HUMMINGBIRD CT                                                                                MODESTO         CA   95356‐0208
SOUZA, EDWARD S           1861 DEEP SPRINGS LANE                                                                             LINCOLN         CA   95648‐8785
SOUZA, EUGENE             C/O PAUL HANLEY & HARLEY              1608 4TH ST STE 300                                          BERKELEY        CA   94710‐1749
SOUZA, EVELYN             1452 156TH AVENUE                                                                                  SAN LEANDRO     CA   94578‐1926
SOUZA, EVELYN             1452 156TH AVE                                                                                     SAN LEANDRO     CA   94578‐1926
SOUZA, FELICIA L          908 SE 18TH TERRACE                                                                                CAPE CORAL      FL   33990‐2346
SOUZA, FRANCIS A          17000 WEDGE PKWY APT 1324                                                                          RENO            NV   89511‐3230
SOUZA, FRANCIS J          1775 DIAMOND HILL RD                                                                               CUMBERLAND      RI   02864‐5518
SOUZA, FRANK J            40 PINE ST                                                                                         HUDSON          MA   01749‐1910
SOUZA, GARY D             7974 THISTLE FINCH                                                                                 BROWNSBURG      IN   46112
SOUZA, JACOB              423 S WILLOW AVE                                                                                   MANTECA         CA   95337‐5549
SOUZA, JACOB              JOESPH CARCIONE                       601 BREWSTER AVE.                                            REDWOOD CITY    CA   94064
SOUZA, JOHN               908 SE 18TH TER                                                                                    CAPE CORAL      FL   33990‐2346
SOUZA, JUDY A             14929 84TH ST 2FL                                                                                  HOWARD BEACH    NY   11414
SOUZA, KENNETH A          PO BOX 59                                                                                          PACIFIC GROVE   CA   93950‐0059
SOUZA, LAURENCE A         6720 N MERCIER ST                                                                                  KANSAS CITY     MO   64118‐6300
SOUZA, MARIA T            EB&HR OPERATIONS DEFAULT ADDRESS      200 RENAISSANCE CTR                                          DETROIT         MI   48265‐2000

SOUZA, MARK               CARCIONE JOSEPH W JR LAW OFFICES OF   PO BOX 3389                                                  REDWOOD CITY    CA 94064‐3389

SOUZA, MICHAEL D          1001 S MEADOWS PKWY APT 411                                                                        RENO            NV   89521
SOUZA, MICHAEL J          14905 SE 25TH ST                                                                                   CHOCTAW         OK   73020‐6513
SOUZA, MONICA B           18700 YORBA LINDA BLVD APT 47                                                                      YORBA LINDA     CA   92886‐4155
SOUZA, PEARL M            11217 CYPRESS RESERVE DR                                                                           TAMPA           FL   33626
SOUZA, RALPH JR
SOUZA, RICHARD F          4918 CROW CANYON RD                                                                                CASTRO VALLEY   CA   94552‐3709
SOUZA, ROBERT A           PO BOX 874                                                                                         SELAH           WA   98942‐0874
SOUZA, RODERICK J         1314 LILLIAN AVE                                                                                   SUNNYVALE       CA   94087‐3522
SOUZA, STEPHEN D          PO BOX 6071                                                                                        FALL RIVER      MA   02724‐0698
SOUZA, TAYLOR             423 S WILLOW AVE                                                                                   MANTECA         CA   95337‐5549
SOUZA, TAYLOR             JOESPH CARCIONE                       601 BREWSTER AVE.                                            REDWOOD CITY    CA   94064
SOUZA, VICTORIA L         APT 1B                                8102 BRIDGEWAY CIRCLE                                        FORT WAYNE      IN   46816‐2310
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Name                            Address1                          Address2                Address3       Address4         City            State Zip
SOUZA‐CANTILLANO ANA CAROLINA   362 RAYS CREEK WAY                                                                        FORT WAYNE       IN 46825‐8109
SOVA JESSIE                     2518 N TRAVIS DR                                                                          HOBBS            NM 88240‐1526
SOVA PLASTIC PRODUCTS           42450 EXECUTIVE DR                                                                        CANTON           MI 48188‐2259
SOVA PLASTIC PRODUCTS           PAUL BROWN                        42450 EXECUTIVE DRIVE                                   SAINT LOUIS      MO 63110
SOVA' PLASTIC PRODUCTS LLC      PAUL BROWN                        42450 EXECUTIVE DRIVE                                   SAINT LOUIS      MO 63110
SOVA' PLASTIC PRODUCTS LLC      42450 EXECUTIVE DR                                                                        CANTON           MI 48188‐2259
SOVA, ALLEN F                   61190 ROMEO PLANK RD                                                                      RAY              MI 48096‐2923
SOVA, ALOYSIUS J                108 SW 8TH PL                                                                             BOYNTON BEACH    FL 33426‐4747
SOVA, CHARLES R                 1141 MEADOWVIEW DR                                                                        WATERFORD        MI 48327‐2963
SOVA, CLARENCE D                4440 LAKE DR                                                                              BEAVERTON        MI 48612‐8708
SOVA, DALE E                    435 HILLVIEW ST                                                                           ROCHESTER HLS    MI 48306‐3417
SOVA, DENNIS J                  6327 GOLF VIEW DR                                                                         CLARKSTON        MI 48346‐3083
SOVA, EDWARD R                  7180 DUTCH RD                                                                             SAGINAW          MI 48609‐9579
SOVA, EMILIE                    2311 PARK AVE                                                                             N RIVERSIDE       IL 60546‐1347
SOVA, ESTHER                    9980 OLD 27 HWY N                                                                         VANDERBILT       MI 49795‐9706
SOVA, EUGENE C                  2401 PLAINFIELD AVE NE                                                                    GRAND RAPIDS     MI 49505‐3869
SOVA, FREDERICK J               1230 S BEYER RD                                                                           SAGINAW          MI 48601‐9437
SOVA, GARY L                    1406 W LOCHER RD                                                                          DE WITT          MI 48820‐8474
SOVA, IRENE R                   PO BOX 223                                                                                VASSAR           MI 48768‐0223
SOVA, IRVING E                  1872 SOUTH BLVD W                                                                         ROCHESTER HLS    MI 48309‐4274
SOVA, JACQUELINE M              13275 LAKE SHORE DR                                                                       FENTON           MI 48430‐1019
SOVA, JEFFREY L                 45285 SYCAMORE CT                                                                         SHELBY TWP       MI 48317‐4935
SOVA, JEROME C                  5756 GRIGGS DR                                                                            CLARKSTON        MI 48346‐3240
SOVA, JOHN E                    11105 SWAN CREEK RD                                                                       SAGINAW          MI 48609‐9706
SOVA, MICHAEL G                 379 ELM ST                                                                                MOUNT MORRIS     MI 48458‐1911
SOVA, MICHAEL GERALD            379 ELM ST                                                                                MOUNT MORRIS     MI 48458‐1911
SOVA, RACHEL A                  2125 IRENE CT                                                                             LANSING          MI 48910‐5732
SOVA, RACHEL ANNE               2125 IRENE CT                                                                             LANSING          MI 48910‐5732
SOVA, RICHARD M                 4 SHELLEY CT                                                                              SAGINAW          MI 48602‐1816
SOVA, ROBERT A                  4080 CAT LAKE RD                                                                          MAYVILLE         MI 48744‐9673
SOVA, ROBERT E                  C/O WENDE J CROWTON               31230 IROQUOIS DR                                       WARREN           MI 48088
SOVA, ROBERT E                  31230 IROQUOIS DRIVE                                                                      WARREN           MI 48088‐1832
SOVA, RODNEY J                  11020 HENDERSON RD                                                                        OTISVILLE        MI 48463‐9727
SOVA, RONALD J                  151 ROXWOOD DR                                                                            ROCHESTER        NY 14612‐3053
SOVA, THOMAS A                  10295 SARLE RD                                                                            FREELAND         MI 48623‐9012
SOVA, TIMOTHY G                 4414 E HILL RD                                                                            GRAND BLANC      MI 48439‐7629
SOVA, WAYNE R                   506 E GEORGE AVE                                                                          HAZEL PARK       MI 48030‐2512
SOVA/CANTON                     42450 EXECUTIVE DR                                                                        CANTON           MI 48188‐2259
SOVACOOL, DAVID K               1626 CREPE MYRTLE DR                                                                      SANFORD          NC 27330
SOVEL, CAROL L                  PO BOX 3363                                                                               FARMINGTN HLS    MI 48333‐3363
SOVEL, RONALD J                 3431 LAKESHORE DR                                                                         GLADWIN          MI 48624‐7809
SOVEREIGN REHABILITA            1500 PENNSYLVANIA AVE                                                                     MCDONOUGH        GA 30253‐9112
SOVEREIGN, JACK E               4174 FIR ST                                                                               CLARKSTON        MI 48348‐1421
SOVEREIGN, JACK E               4174 FIR STREET                                                                           CLARKSTON        MI 48348‐1421
SOVEREIGN, RONALD               8081 WEATHERWAX DR                                                                        JENISON          MI 49428‐8306
SOVERN, DORIS B                 1727 MCDOWELL COURT                                                                       INDIANAPOLIS     IN 46229
SOVERN, EDNA I                  R 1 BOX 210                                                                               NORMAN           IN 47264‐9756
SOVERN, FLORANCE F              30 LEGION PKWY APT B3                                                                     LANCASTER        NY 14086‐2550
SOVERN, JEAN A                  21833 PRINCE WILLIAM CT                                                                   LEESBURG         FL 34748‐7528
SOVERNS, CHARLES L              6146 S STATE ROAD 67                                                                      PENDLETON        IN 46064‐9308
SOVERNS, CLAYNTON               416 S STATE ST                                                                            MARKLEVILLE      IN 46056‐9418
SOVERNS, CLAYNTON S.            416 S STATE ST                                                                            MARKLEVILLE      IN 46056‐9418
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Name                                 Address1                          Address2                      Address3                    Address4               City            State Zip
SOVERNS, LAURA M                     6413 INDEPENDENCE CT                                                                                               PENDLETON        IN 46064‐8524
SOVERNS, ROBERT L                    3238 E 150 S                                                                                                       ANDERSON         IN 46017‐9741
SOVEY, MARGARET A                    4850 BASSWOOD DR                                                                                                   SAGINAW          MI 48603‐2973
SOVEY, MAXINE S                      2627 W M21 LOT 93                                                                                                  OWOSSO           MI 48867‐8124
SOVEY, ROBERT E                      6904 LAKESHORE DR                                                                                                  NEWPORT          MI 48166‐9785
SOVIA, FRANK                         1722 KENDRICK ST                                                                                                   SAGINAW          MI 48602‐1125
SOVIA, FRANK M                       12386 ITHACA RD                                                                                                    SAINT CHARLES    MI 48655‐8516
SOVIA, JAMES A                       118 N HAYFORD AVE                                                                                                  LANSING          MI 48912‐4143
SOVIA, JAMES ALLEN                   118 N HAYFORD AVE                                                                                                  LANSING          MI 48912‐4143
SOVIA, JAMES T                       132 ELLIOTT CIR                                                                                                    ANDERSON         SC 29621
SOVIA, JAN K                         5377 SEIDEL RD                                                                                                     SAGINAW          MI 48638‐7185
SOVIA, JIMMY W                       4206 S COBBS WAY                                                                                                   NAGS HEAD        NC 27959‐9515
SOVIA, THOMAS J                      8098 DUFFIELD RD                                                                                                   GAINES           MI 48436‐9716
SOVIAK BARBARA                       250 KAY ST                                                                                                         MANHATTAN         IL 60442‐9277
SOVICH, FRANCES U                    7404 SAN CARLOS DR                                                                                                 PORT RICHEY      FL 34668‐5029
SOVICH, JOSEPHINE F                  24012 GLENBROOK BLVD                                                                                               EUCLID           OH 44117‐1983
SOVICK JR, CHARLES C                 376 KIMZEY RD                                                                                                      MILLS RIVER      NC 28759‐9676
SOVICK SR, CHARLES C                 303 N BAYSHORE DR                                                                                                  COLUMBIANA       OH 44408‐9358
SOVICK, FRANK A                      149 ROCKY LEDGE DR                                                                                                 STRUTHERS        OH 44471‐1467
SOVIK JR JOSEPH S (460202) ‐ SOVIK   DUFFY & ASSOCS JOHN J             23823 LORAIN RD                                                                  NORTH OLMSTED    OH 44070
JOSPEH S
SOVIK, JOSPEH S                      DUFFY & ASSOCS JOHN J             23823 LORAIN RD                                                                  NORTH OLMSTED   OH   44070
SOVINSKI, MARY LOU M                 6178 MARSHVIEW CT                                                                                                  HARTFORD        WI   53027‐9418
SOVIS, ANNE N                        4379 MORRISH RD                                                                                                    SWARTZ CREEK    MI   48473‐1363
SOVIS, BRENDA A                      3266 LUCE RD                                                                                                       FLUSHING        MI   48433‐2373
SOVIS, BRIAN A                       2418 MAYFAIR DR                                                                                                    WHITE LAKE      MI   48383‐3941
SOVIS, EDWARD J                      505 WOODMERE BLVD                                                                                                  OWOSSO          MI   48867‐9078
SOVIS, JOSEPH F                      3295 E WILKINSON RD                                                                                                OWOSSO          MI   48867‐9623
SOVIS, KAREN Y                       2418 MAYFAIR DR                                                                                                    WHITE LAKE      MI   48383‐3941
SOVIS, MARTIN A                      5279 DUFFIELD RD                                                                                                   FLUSHING        MI   48433‐9786
SOVIS, ROBERT L                      12288 OVERLOOK DR                                                                                                  FENTON          MI   48430‐2549
SOVLJANSKI JR, MARK B                8152 HARDING                                                                                                       CENTER LINE     MI   48015‐1831
SOVLJANSKI JR, MARK BARRY            8152 HARDING                                                                                                       CENTER LINE     MI   48015‐1831
SOVLJANSKI, SUSAN                    11067 DILL DR                                                                                                      STERLING HTS    MI   48312‐1240
SOVRAN AMY                           3850 COLEMAN RD APT 1533 C                                                                                         EAST LANSING    MI   48823
SOVRAN BANK, CENTRAL SOUTH           INDUSTRIAL DEVELOPMENT BOARD OF   C/O MIDDLE TENNESSEE BANK     PO BOX 473                                         COLUMBIA        TN   38402‐0473
                                     MAURY COUNTY, TENNESSEE
SOVRAN BANK, CENTRAL SOUTH           INDUSTRIAL DEVELOPMENT BOARD OF   PO BOX 473                    C/O MIDDLE TENNESSEE BANK                          COLUMBIA        TN 38402‐0473
                                     MAURY COUNTY, TENNESSEE
SOVRAN BANK, CENTRAL SOUTH           ONE COMMERCE PLACE                ATTN: PROPERTY MANAGER                                                           NASHVILLE       TN   37219
SOVRAN, DANIEL L                     47494 GREENWICH DR                                                                                                 NOVI            MI   48374‐2868
SOVRAN, GINO                         2669 CHESWICK DR                                                                                                   TROY            MI   48084‐1069
SOVREN GUILD                         C/O NANCY HOLMES                  4031 S 345TH ST                                                                  AUBURN          WA   98001‐9544
SOW DJIBRIL
SOWA ELEANOR                         836 HICKMAN LN                                                                                                     WOODSTOCK       IL 60098‐3028
SOWA JR, ANDREW S                    3275 N GENESEE RD                                                                                                  FLINT           MI 48506‐2174
SOWA TOOL & MACHINE CO LTD           334 MANITOU DR                    PO BOX 694 STN C MANITOU DR                               KITCHENER ON N2G 4B6
                                                                                                                                 CANADA
SOWA WALTER J (439528)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                      NORFOLK         VA 23510
                                                                       STREET, SUITE 600
SOWA, CASMIR J                       11687 DWYER ST                                                                                                     DETROIT         MI 48212‐2517
SOWA, DOUGLAS J                      1341 RALPH ST                                                                                                      GARDEN CITY     MI 48135‐1130
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Name                    Address1                          Address2                       Address3   Address4         City               State Zip
SOWA, DOUGLAS JOSEPH    1341 RALPH ST                                                                                GARDEN CITY         MI 48135‐1130
SOWA, EDWARD M          5470 MARLETTE RD                                                                             CLIFFORD            MI 48727‐9728
SOWA, EDWARD M.         5470 MARLETTE RD                                                                             CLIFFORD            MI 48727‐9728
SOWA, EDWARD S          PO BOX 628                        407 W. BAY STREET                                          EAST TAWAS          MI 48730‐0628
SOWA, FRANK T           PO BOX 436                                                                                   SWARTZ CREEK        MI 48473‐0436
SOWA, GEORGIA C         6060 PIEDMONT                                                                                DETROIT             MI 48228‐3949
SOWA, GEORGIA C         6060 PIEDMONT ST                                                                             DETROIT             MI 48228‐3949
SOWA, GRACE T           8245 KINMORE ST                                                                              DEARBORN HEIGHTS    MI 48127‐1231
SOWA, HELEN B           14 SANBERT CIR                                                                               HAMILTON SQUARE     NJ 08690‐2510
SOWA, IRENE C           37554 N LAUREL PARK DR                                                                       LIVONIA             MI 48152‐3950
SOWA, JOHN              5656 BOB WHITE CIR NW                                                                        LILBURN             GA 30047‐6124
SOWA, JOHN C            152 ROYAL OAK DR APT 106                                                                     WHITE OAK           PA 15131‐2010
SOWA, JOHN F            3520 PERRY LAKE RD                                                                           ORTONVILLE          MI 48462‐8927
SOWA, JOHN R            3405 BLUE LAKE DR                                                                            FLINT               MI 48506‐2083
SOWA, JOHN ROBERT       3405 BLUE LAKE DR                                                                            FLINT               MI 48506‐2083
SOWA, JOSEPH F          3144 SEMINOLE DR                                                                             SHREVEPORT          LA 71107‐7518
SOWA, JOSEPH FRANCIS    3144 SEMINOLE DR                                                                             SHREVEPORT          LA 71107‐7518
SOWA, MICHAEL A         42509 GREEN VALLEY DR APT 9‐208                                                              CLINTON TWP         MI 48038‐3671
SOWA, MYRA              7656 WOLF RD                                                                                 BURR RIDGE           IL 60527‐8041
SOWA, PAUL C            2959 CONTINENTAL DR                                                                          BAY CITY            MI 48706‐3107
SOWA, RANDALL A         39932 SOUTH DAKOTA HWY 20                                                                    CONDE               SD 57434
SOWA, RAYMOND E         3337 N BELSAY RD                                                                             FLINT               MI 48506‐2224
SOWA, RAYMOND R         5287 RICHFIELD RD                                                                            FLINT               MI 48506‐2110
SOWA, RAYMOND RICHARD   5287 RICHFIELD RD                                                                            FLINT               MI 48506‐2110
SOWA, RONALD S          1136 GLENWOOD DR                                                                             COLUMBIA            TN 38401‐6705
SOWA, SHERYL A          514 OGEMAW ST                                                                                EAST TAWAS          MI 48730‐1042
SOWA, STANLEY           5801 CABOT ST                                                                                DETROIT             MI 48210‐1892
SOWA, STEFANIA          5656 BOB WHITE CIRCLE                                                                        LILBURN             GA 30047
SOWA, STEPHAN           8245 KINMORE ST                                                                              DEARBORN HEIGHTS    MI 48127‐1231
SOWA, STEPHEN L         6309 BRISTOL RD                                                                              SWARTZ CREEK        MI 48473‐7920
SOWA, WALTER J          5340 MULLIGAN DR SW                                                                          WYOMING             MI 49509‐9502
SOWA, WALTER J          36318 CURTIS RD                                                                              LIVONIA             MI 48152‐2770
SOWA, WALTER J          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA 23510‐2212
                                                          STREET, SUITE 600
SOWAL, EMILY            18 ORINCO                         SPANISH LAKES GOLF VILLAGE                                 PORT ST LUCIE      FL   34952‐3212
SOWANA L BAILEY         1347 HOLTSLANDER AVE                                                                         FLINT              MI   48505‐1782
SOWARD, DON F           14618 SUSSEX ST                                                                              DETROIT            MI   48227‐2592
SOWARD, MARY A          1122 LAREDO AVE                                                                              SAINT LOUIS        MO   63138‐3003
SOWARD, PEGGY A         APT 1B                            7196 LAKE VISTA DR SOUTHWEST                               BYRON CENTER       MI   49315‐9041
SOWARDS, GARY A         7617 TURNBROOK DR                                                                            GLEN BURNIE        MD   21060‐8445
SOWARDS, GLEN R         RR 1 BOX 21                                                                                  GLENWOOD           WV   25520‐9601
SOWARDS, GLEN R         ROUTE 1 BOX 21                                                                               GLENWOOD           WV   25520‐9601
SOWARDS, GRADY K        600 W GREGORY ST                                                                             PENSACOLA          FL   32501
SOWARDS, GRADY K        4343 LANGLEY AVE                                                                             PENSACOLA          FL   32504‐8511
SOWARDS, MARGIE S       2102 10TH AVE                                                                                HUNTINGTON         WV   25703‐2006
SOWARDS, MICHAEL D      1289 E LAKE DR APT 1                                                                         NOVI               MI   48377‐1462
SOWARDS, RANDAL G       7370 MORROW ROSSBURG RD                                                                      MORROW             OH   45152‐9437
SOWARDS, RANDAL GENE    7370 MORROW ROSSBURG RD                                                                      MORROW             OH   45152‐9437
SOWARDS, RODNEY D       11165 ROLLER COASTER RD                                                                      LISBON             OH   44432‐9510
SOWARDS, ROGER D        4451 WHEATLAND RD                                                                            NORTH ADAMS        MI   49262‐9735
SOWARDS, SAMUEL I       2634 HIAWATHA ST                                                                             COLUMBUS           OH   43211‐1112
SOWARDS, TED R          4222 WILLIAMSON DR                                                                           DAYTON             OH   45416‐2125
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Name                        Address1                       Address2                         Address3   Address4         City            State Zip
SOWARDS, WILLIAM            PO BOX 343                                                                                  HEREFORD         AZ 85615‐0343
SOWARDS,RANDAL GENE         7370 MORROW ROSSBURG RD                                                                     MORROW           OH 45152‐9437
SOWASH OPTOMETRY GROUP PC   545 S BROADWAY STE 500                                                                      DENVER           CO 80209‐4076
SOWASH, CHARLES R           7575 N 575 W                                                                                FRANKTON         IN 46044‐9555
SOWASH, JAMES W             2267 BURNING TREE CIR                                                                       OWOSSO           MI 48867‐1089
SOWASH, THOMAS R            133 ASBURY DR                                                                               ANDERSON         IN 46013‐4869
SOWATSKY JR, ARTHUR J       4322 MACKINAW RD #110          MARTIN LUTHER NURSING HOME                                   SAGINAW          MI 48603
SOWATSKY, NORMAN W          2334 HETZNER DR                                                                             SAGINAW          MI 48603‐2528
SOWATSKY, RICHARD B         2201 N WATERBURY DR                                                                         MUNCIE           IN 47304‐9508
SOWATZKE, RICHARD J         NORTH 2535 HIGHWAY 73                                                                       SHELDON          WI 54766
SOWATZKI, ORVILLE J         2432 RUTLEDGE AVE                                                                           JANESVILLE       WI 53545‐1336
SOWDEN, AUDREY M            5923 BRANDON LN                                                                             PORT ORANGE      FL 32127‐1101
SOWDEN, ELIZABETH A         5660 HAWTHORN DRIVE, LOT 57                                                                 MILLINGTON       MI 48746
SOWDEN, GORDON J            214 W DUNBAR ST                                                                             ALPENA           MI 49707‐3555
SOWDEN, JOHN F              138 1ST ST                                                                                  CARO             MI 48723‐9239
SOWDEN, JUDITH A            214 W DUNBAR ST                                                                             ALPENA           MI 49707‐3555
SOWDEN, KENNETH J           1447 ROY SELLERS RD                                                                         COLUMBIA         TN 38401‐1304
SOWDEN, LOUISE Y            6565 WILLIAMS LAKE RD                                                                       WATERFORD        MI 48329‐2988
SOWDEN, MELVILLE            5923 BRANDON LANE                                                                           PORT ORANGE      FL 32127‐1101
SOWDER JESS                 SOWDER, JESS                   120 WEST MADISON STREET , 10TH                               CHICAGO           IL 60602
                                                           FLOOR
SOWDER, ANNA                7923 W 87TH PL                                                                              HICKORY HILLS   IL   60451‐1572
SOWDER, ANNA                6071 S. 74TH. COURT                                                                         SUMMIT          IL   60501‐1524
SOWDER, DAVID A             4717 MACY DR                                                                                GREENWOOD       IN   46142‐7476
SOWDER, ELEANOR             92 HARD BURLEY RD.                                                                          BULAN           KY   41722‐1722
SOWDER, ESTEL Y             2601 BELMAR AVE                                                                             INDIANAPOLIS    IN   46219‐1309
SOWDER, FERN L              2981 WASHINGTON AVE                                                                         LINCOLN PARK    MI   48146‐2919
SOWDER, GARY E              956 PATRIOT SQUARE DRIVE                                                                    DAYTON          OH   45459
SOWDER, GENEVA R            100 WELLER AVE                                                                              CENTERVILLE     OH   45458‐2405
SOWDER, GERALD              367 SOWDERS RD                                                                              BEDFORD         IN   47421‐8134
SOWDER, JOSEPH S            3618 DAWNWOOD DR                                                                            INDIANAPOLIS    IN   46227‐7971
SOWDER, JOSEPH STANLEY      3618 DAWNWOOD DR                                                                            INDIANAPOLIS    IN   46227‐7971
SOWDER, JOSHUA L            242 SHEPARD ST                                                                              NEW CARLISLE    OH   45344‐2916
SOWDER, LARRY               6061 BARTLETTSVILLE RD                                                                      BEDFORD         IN   47421‐7964
SOWDER, LORENE E            502 WALNUT AVE                                                                              CORBIN          KY   40701‐1652
SOWDER, LORENE E            502 S WALNUT                                                                                CORBIN          KY   40701‐1652
SOWDER, MARK A              100 WELLER AVE                                                                              DAYTON          OH   45458
SOWDER, MARTHA M            11394 WOLF CREEK PIKE          PO BOX 142                                                   BROOKVILLE      OH   45309
SOWDER, MICHAEL R           205 HAWTHORNE DR                                                                            BEDFORD         IN   47421‐3430
SOWDER, MILDRED             5748 WHITE CAP ST                                                                           LAS VEGAS       NV   89110‐4969
SOWDER, NANCY K             2601 WASHINGTON AVE                                                                         BEDFORD         IN   47421‐4907
SOWDER, ROSCOE              5593 LIBERTY WOODS DRIVE                                                                    LIBERTY TWP     OH   45011‐9187
SOWDER, WILLARD             44 W TROTWOOD BLVD                                                                          TROTWOOD        OH   45426‐3353
SOWDERS, DENNIS R           19124 WESTMORE ST                                                                           LIVONIA         MI   48152‐1325
SOWDERS, DENNIS RAY         19124 WESTMORE ST                                                                           LIVONIA         MI   48152‐1325
SOWDERS, DONNA E            2337 BROWN STATION RD                                                                       BEDFORD         IN   47421‐7588
SOWDERS, DORLA D            10375 OLD PLANK RD                                                                          JACKSONVILLE    FL   32220‐1357
SOWDERS, EARL D             17677 US HIGHWAY 52                                                                         MANCHESTER      OH   45144‐9785
SOWDERS, EDWIN D            PO BOX 81                                                                                   AVOCA           IN   47420‐0081
SOWDERS, HAROLD E           1683 LOGAN DONICA RD                                                                        BEDFORD         IN   47421‐6999
SOWDERS, IVAN               1655 RAUSCH AVE                                                                             DAYTON          OH   45432‐3429
SOWDERS, JAKE E             3845 SCHROEDER DR                                                                           FAIRFIELD       OH   45011‐9022
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SOWDERS, JOANN             1417 ROYAL ARCHER DR.                                                                       WEST CARROLLTON    OH 45449‐2331
SOWDERS, LLOYD D           2183 COVEYVILLE RD                                                                          BEDFORD            IN 47421‐7265
SOWDERS, LOVELL            350 BARTLETTSVILLE RD                                                                       BEDFORD            IN 47421‐7948
SOWDERS, MARCIA B          403 W MINNESOTA ST                                                                          NORTH SALEM        IN 46165‐9539
SOWDERS, STELLA S          P O BOX 66                                                                                  LAONA              WI 54541
SOWDERS, TED M             1511 N FENTON AVE                                                                           INDIANAPOLIS       IN 46219‐4107
SOWEGA MOTORS,INC.         ROBERT DOLL                      1016 S MARTIN LUTHER KING JR                               AMERICUS           GA 31719‐2914
                                                            BLVD
SOWELL EDWARD T (352570)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA 23510
                                                            STREET, SUITE 600
SOWELL JR, BOOKER T        8783 W FAIR DR                                                                              LITTLETON         CO   80123‐3293
SOWELL, ALMA L             5840 PARLIAMENT DR                                                                          COLUMBUS          OH   43213‐3371
SOWELL, ANNA L             926 CARLISS AVE                                                                             HAMILTON          OH   45011‐4444
SOWELL, BETTY J            1743 HILLVIEW RD                                                                            CLEVELAND         OH   44112‐1225
SOWELL, BOBBIE J           PO BOX 14824                                                                                SAGINAW           MI   48601‐0824
SOWELL, DAWN               5392 GASKILL BRANCH RD                                                                      SANTA FE          TN   38482‐3044
SOWELL, DEREK THOMAS       3320 WEST 97TH ‐ UP                                                                         CLEVELAND         OH   44102
SOWELL, EDWARD T           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510‐2212
                                                            STREET, SUITE 600
SOWELL, GUINEVERE D        PO BOX 1702                                                                                 COLUMBIA          TN   38402‐1702
SOWELL, HERSCHEL           189 CHARLES LN                                                                              PONTIAC           MI   48341‐2928
SOWELL, JAMES A            9320 E 84TH ST                                                                              RAYTOWN           MO   64138‐3370
SOWELL, JULIA A            9554 WOODLAND HILLS DRIVE                                                                   HAMILTON          OH   45011‐9312
SOWELL, KATHLEEN M         5729 W CINNABAR AVE                                                                         GLENDALE          AZ   85302‐1336
SOWELL, KEITH L            4604 STEINLAGE DR                                                                           SAINT LOUIS       MO   63115‐2509
SOWELL, KRYSTAL R          30104 SPARKLEBERRY DRIVE                                                                    SOUTHFIELD        MI   48076‐2076
SOWELL, MARGIE L           112 HUBBARD ST                                                                              LUFKIN            TX   75901
SOWELL, MIKE W             14171 CAMBRIDGE LN                                                                          ATHENS            AL   35613‐8233
SOWELL, PRESTON H          1721 KINGSBRIDGE DR                                                                         GARLAND           TX   75044‐7607
SOWELL, SAMUEL             2305 HOLIDAY TER APT 139                                                                    LANSING           IL   60438‐1650
SOWELL, SIDNEY N           963 COUNTY ROAD 1744                                                                        CHICO             TX   76431‐2013
SOWELL, TONY D             3234 SPINRGBROOK DR                                                                         HAMILTON          OH   45011
SOWELS JR, GEORGE W        9018 WEDDEL ST                                                                              TAYLOR            MI   48180‐3866
SOWELS, MICHAEL W          49729 FORD RD                                                                               CANTON            MI   48187‐4655
SOWELS, OTHA               3021 SANTA FE TRL                                                                           FORT WORTH        TX   76116‐3325
SOWER, CHARLES D           1526 BERKLEY DR                                                                             HOLT              MI   48842‐1853
SOWER, DAVID W             12521 HARVARD AVE NE                                                                        CEDAR SPRINGS     MI   49319‐9760
SOWER, GARY R              841 N STATE RD                                                                              BELDING           MI   48809‐1033
SOWER, JONATHAN W          818 ROOT ST                                                                                 BELDING           MI   48809‐2422
SOWER, KENNETH J           3826 N WESTNEDGE                                                                            KALAMAZOO         MI   49004‐3451
SOWER, LARRY L             716 PEARL ST                                                                                BELDING           MI   48809‐1955
SOWER, LOIS J              716 PEARL ST                                                                                BELDING           MI   48809‐1955
SOWER, LYNDA K             8015 INGALLS RD                                                                             BELDING           MI   48809‐9715
SOWER, MARCELLA L          320 LEWIS ST                                                                                BELDING           MI   48809‐1142
SOWERBY, ELAINE M          2430 E CATALPA ST                                                                           SPRINGFIELD       MO   65804‐0413
SOWERBY, FREDERICK C       880 PEAIRS RD                                                                               ELIZABETH         PA   15037‐2728
SOWERBY, GERSHAM           DURST LAW FIRM PC                319 BROADWAY                                               NEW YORK          NY   10007
SOWERBY, HERMAN G          3761 ENDURO DRIVE                                                                           LK HAVASU CTY     AZ   86404‐2253
SOWERBY, JOHN F            47288 WESTLAKE DR                                                                           SHELBY TOWNSHIP   MI   48315‐4552
SOWERBY, SONIA             DURST LAW FIRM PC                319 BROADWAY                                               NEW YORK          NY   10007
SOWERBY, WILLIAM F         3744 SLEEPY FOX DR                                                                          ROCHESTER HILLS   MI   48309‐4517
SOWERS JACKSON             648 BEAHAN RD                                                                               ROCHESTER         NY   14624‐3525
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Name                     Address1                        Address2               Address3        Address4         City             State Zip
SOWERS JR, CLAUDE B      120 PEBBLE LN                                                                           MENA              AR 71953‐8726
SOWERS JR, HOWARD B      1301 FACTORY ST                                                                         FRANKTON          IN 46044‐9633
SOWERS KEITH             1959 8TH ST S                                                                           NAPLES            FL 34102
SOWERS L JACKSON         648 BEAHAN RD                                                                           ROCHESTER         NY 14624‐3525
SOWERS THOMAS (660951)   WISE & JULIAN                   156 N MAIN ST STOP 1                                    EDWARDSVILLE       IL 62025‐1972
SOWERS WILLIAM           17619 WILDWOOD LN                                                                       CLEVELAND         OH 44119‐2695
SOWERS, BONITA L         150 TARA LANE                                                                           LUCEDALE          MS 39452‐6239
SOWERS, BONITA L         150 TARA LN                                                                             LUCEDALE          MS 39452‐6239
SOWERS, CAROL A          3575 FIVE POINT RD                                                                      FOWLER            OH 44418
SOWERS, CHARLES W        13084 HIGHWAY 116                                                                       CUMMINGS          KS 66016‐9004
SOWERS, CHARLOTTE A      1993 LASEA RD                                                                           SPRING HILL       TN 37174
SOWERS, DAWN E           624 HARRISON AVE                                                                        GREENVILLE        OH 45331
SOWERS, DEAN E           129 N MAIN ST                                                                           LAURA             OH 45337‐9727
SOWERS, DONALD E         2313 BRYANA CT                                                                          FRANKLIN          TN 37064‐4948
SOWERS, EARL S           4907 KESSLER DR                                                                         LANSING           MI 48910
SOWERS, EDDIE A          BOONE ALEXANDRA                 205 LINDA DR                                            DAINGERFIELD      TX 75638‐2107
SOWERS, EDNA L           305 W 2ND ST                                                                            ARCANUM           OH 45304‐1138
SOWERS, EDNA L           305 WEST SECOND ST                                                                      ARCANUM           OH 45304‐1138
SOWERS, EDWIN L          17462 BELLEVUE DR                                                                       ATCHISON          KS 66002‐9536
SOWERS, HELEN M          2865 SIGNAL POINTE                                                                      SIGNAL HILL       CA 90755‐5627
SOWERS, HOWARD D         2651 S 300 E                                                                            ANDERSON          IN 46017‐9767
SOWERS, JAMES A          6131 W 8 RD                                                                             MESICK            MI 49668‐9336
SOWERS, JANET K          20 SANDY CT APT 4                                                                       NEW MIDDLETOWN    OH 44442‐9759
SOWERS, JENNIE E         716 MOORE STREET                                                                        OWOSSO            MI 48867‐1929
SOWERS, JOSEPH H         1355 FM 665                                                                             CORPUS CHRISTI    TX 78415‐6850
SOWERS, JR.,TERRY L      3569 GOLDEN MEADOWS CT                                                                  DAYTON            OH 45404‐1437
SOWERS, LARRY D          1713 LA CAYA DR                                                                         MANSFIELD         TX 76063‐8550
SOWERS, LARRY DEAN       1713 LA CAYA DR                                                                         MANSFIELD         TX 76063‐8550
SOWERS, LINDA T          2651 S 300 E                                                                            ANDERSON          IN 46017‐9767
SOWERS, LISA M           805 MAPLE ST                                                                            FRANKTON          IN 46044
SOWERS, LUCINDA J        PO BOX 373                                                                              NEWPORT           IN 47966
SOWERS, MARK F           534 BELLEVUE AVENUE                                                                     LAKE ORION        MI 48362‐2712
SOWERS, MARY B           315 N COLLEGE ST                                                                        PIQUA             OH 45356‐1911
SOWERS, MARY B           315 N. COLLEGE STREET                                                                   PIQUA             OH 45356‐1911
SOWERS, NEAL W           649 CHRISTOPHER LN                                                                      BURLESON          TX 76028‐1330
SOWERS, NEAL WAYNE       649 CHRISTOPHER LN                                                                      BURLESON          TX 76028‐1330
SOWERS, PAUL F           55 PHYLLIS DR                                                                           MARTINSBURG       WV 25404‐0761
SOWERS, RAYMOND L        4889 DECKER AVE                                                                         THORNVILLE        OH 43076‐8140
SOWERS, ROBERT E         7112 LUNDEEN DRIVE                                                                      COUNTRY CLUB      MO 64505‐3562
SOWERS, RONALD E         5354 ORMAND RD                                                                          W CARROLLTON      OH 45449‐2708
SOWERS, TERRY L          3250 HIGGINS RD                                                                         VASSAR            MI 48768‐9741
SOWERS, TOMMY E          1503 KANSAS AVE                                                                         ATCHISON          KS 66002‐2228
SOWERS, VERN J           150 TARA LANE                                                                           LUCEDALE          MS 39452‐6239
SOWERS, VERN J           150 TARA LN                                                                             LUCEDALE          MS 39452‐6239
SOWICKI, FREDERICK A     521 LAKE RD                                                                             YOUNGSTOWN        NY 14174‐1036
SOWINSKI, ALBIN J        198 E LOUIS PL                                                                          ISELIN            NJ 08830‐1236
SOWINSKI, CAROL M        4922 HIGH RIDGE TERRACE S                                                               HOMOSASSA         FL 34446‐1923
SOWINSKI, CAROL M        4922 S HIGH RIDGE TER                                                                   HOMOSASSA         FL 34446‐1923
SOWINSKI, DELORES I      4641 BLOOMFIELD DR                                                                      BAY CITY          MI 48706‐2606
SOWINSKI, GAIL A         2505 FOX KNOLL DR                                                                       WATERFORD         WI 53185‐5051
SOWINSKI, JANET R        POX BOX 11267                                                                           SAINT PAUL        MN 55111
SOWINSKI, JOSEPH F       30 CHRISTY LN                                                                           SCOTT TOWNSHIP    PA 18447‐7724
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SOWINSKI, JUDITH A         70 SCARBOROUGH PL                                                                           TOMS RIVER             NJ 08757
SOWINSKI, LEONARD A        15520 W CORAL POINTE DR                                                                     SURPRISE               AZ 85374‐4566
SOWINSKI, MICHAEL F        817 S JACKSON ST                                                                            BAY CITY               MI 48708‐7312
SOWINSKI, PAUL D           18529 WOODHAVEN DR                                                                          STRONGSVILLE           OH 44149‐6898
SOWINSKI, ROBERT           1587 W PRINCETON AVE                                                                        BRICK                  NJ 08724‐2805
SOWINSKI, STANLEY E        18 MEDFORD DR                     SEA COLONY                                                PALM COAST             FL 32137‐2504
SOWINSKI, VIVIAN R         24642 SPRING LN                                                                             HARRISON TWP           MI 48045‐2313
SOWINSKI, WALTER F         11505 SW 84TH AVENUE RD                                                                     OCALA                  FL 34481‐5082
SOWINSKI, WILLIAM B        3540 RICHMOND AVE                                                                           LINCOLN PARK           MI 48146‐3485
SOWLE SUSAN                24 LAKE WOOD CIRCLE                                                                         OCALA                  FL 34482‐3537
SOWLE, BETTY J             12550 DEVOE ST                                                                              SOUTHGATE              MI 48195‐2363
SOWLE, ROBERT L            7140 WILLIAMS RD                                                                            LANSING                MI 48911‐3033
SOWLES, EDGAR A            2649 GARFIELD AVE NW                                                                        GRAND RAPIDS           MI 49544‐1823
SOWLES, ROGER E            8109 TEACHOUT RD                                                                            OTISVILLE              MI 48463‐9418
SOWLES, ROGER EARL         8109 TEACHOUT RD                                                                            OTISVILLE              MI 48463‐9418
SOWLES, TAMARA L           8109 TEACHOUT RD                                                                            OTISVILLE              MI 48463
SOWMYALATHA JAYARAMAN      4974 CARLSON PARK DR                                                                        TROY                   MI 48098‐7102
SOWRY, KIRK A              32 N JAY ST                                                                                 WEST MILTON            OH 45383‐1635
SOWTON JR, HARRY W         4370 EL MONTE ST                                                                            SAGINAW                MI 48638‐5819
SOWUL, HENRYK              491 HARWOOD CT                                                                              OXFORD                 MI 48371‐4429
SOWULA SUSAN (512782)      BECKER GALANTI & SCHROADER PC     3673 HIGHWAY 11 P O BOX 488                               GRANITE CITY            IL 62040
SOWULA, SUSAN              C/O GOLDENBERG HELLER ANTOGNOLI   2227 S STATE RTE 157                                      EDWARDSVILLE            IL 62025
                           AND ROWLAND P C
SOWULEWSKI, EDWARD J       3653 CHRISTY WAY W                                                                          SAGINAW               MI   48603‐7228
SOWULEWSKI, EDWARD W       2833 SCHEMM ST                                                                              SAGINAW               MI   48602‐3729
SOWULEWSKI, MARK J         11907 BERRY RD                                                                              BLISSFIELD            MI   49228‐9502
SOWULEWSKI, STEVE P        155 ELAINE ST                                                                               SAGINAW               MI   48609‐9437
SOX SR, GARY M             12436 CANTERBURY DR                                                                         STERLING HTS          MI   48312‐3110
SOX, ANTHONY D             18729 ELKHART ST                                                                            HARPER WOODS          MI   48225‐2103
SOX, ANTHONY DAVID         18729 ELKHART ST                                                                            HARPER WOODS          MI   48225‐2103
SOX, ROGER M               323 HARRIS AVE                                                                              MIDDLESEX             NJ   08846‐2010
SOX, RONALD A              14591 W MIDDLETOWN RD                                                                       SALEM                 OH   44460‐9128
SOYAK, ANTHONY R           1081 63RD ST                                                                                LA GRANGE HIGHLANDS   IL   60525‐4518
SOYARS, MARILYN VICTORIA   524 SCHOTT CIR                                                                              BOWLING GREEN         KY   42101‐9297
SOYATA COMPUTERS           3760 W HENRIETTA RD                                                                         ROCHESTER             NY   14623
SOYBEL, ZINOVY             5253 WRIGHT WAY E                                                                           WEST BLOOMFIELD       MI   48322‐2116
SOYCK, PATRICIA A          1106 SAINT PAUL ST                                                                          EXCELSIOR SPG         MO   64024‐1450
SOYCK, TIMOTHY J           PO BOX 175                                                                                  FOOTVILLE             WI   53537‐0175
SOYCK, TIMOTHY J           1105 SAINT PAUL ST                                                                          EXCELSIOR SPG         MO   64024‐1450
SOYER, MAURICE L           5245 HARDWOODS DR                                                                           W BLOOMFIELD          MI   48323‐2737
SOYK, PAUL                 4833 W BONANZA DR                                                                           BEVERLY HILLS         FL   34465‐8412
SOYKA, RAYMOND A           409 E 4TH AVE                                                                               ROSELLE               NJ   07203‐1428
SOYRING, JOSEPH M          1528 S KNIGHT RD                                                                            MUNGER                MI   48747‐9703
SOYRING, RICHARD L         125 PANTHER TRL                                                                             SEARCY                AR   72143‐9207
SOZA FRANK G (354932)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510
                                                             STREET, SUITE 600
SOZA, FRANK G              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                             STREET, SUITE 600
SOZA, SIMONA               1306 CARLISLE ST                                                                            SAGINAW               MI   48601‐1653
SOZA, SIMONA               1306 CARLISLE                                                                               SAGINAW               MI   48601‐1653
SOZOVSKI, ATANAS           5071 WISHING WELL DR                                                                        GRAND BLANC           MI   48439‐4239
SP INDUSTRIES INC          3538 MAIN ST                                                                                STONE RIDGE           NY   12484‐5601
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SP/SHEFFER/TRVRS CTY                   PO BOX 547                                                                                  TRAVERSE CITY        MI 49685‐0547
SP3 DIAMOND TECHNOLOGIES INC           3531 W US HIGHWAY 224                                                                       DECATUR              IN 46733‐7504
SPA CAR WASH/BERWYN                    734 LANCASTER AVE                                                                           BERWYN               PA 19312‐1771
SPAANBROEK, MARY S                     101 PARKWAY CT                                                                              ASHEVILLE            NC 28803‐4100
SPAANS SR, JACK E                      3300 ORIOLE AVE SW                                                                          WYOMING              MI 49509‐3439
SPAAY, JOHN C                          35627 BROOKSTONE DR                                                                         NEW BOSTON           MI 48164‐9127
SPACAPAN, KEITH L                      103 S BRIGHTON PL                                                                           ARLINGTON HEIGHTS     IL 60004‐6701
SPACE AGE DELIVERY, INC.               9939 NORWALK BLVD #2145                                                                     SANTA FE SPRINGS     CA 90670
SPACE CENTER TIRE & AUTO               16439 MOON ROCK DR                                                                          HOUSTON              TX 77058‐1582
SPACE CENTER/HOUSTON                   1601 NASA ROAD ONE                                                                          HOUSTON              TX 77058
SPACE SR., LEWIS D                     PO BOX 487                      C/O RICHARD T SPACE                                         OAKMONT              PA 15139‐0487
SPACE, CALVIN R                        7900 WILLOW HWY                                                                             GRAND LEDGE          MI 48837‐8998
SPACE, GEORGE J                        112 STUCKY DR                                                                               DOVER                OH 44622‐9452
SPACECO INC                            9575 W HIGGINS RD STE 700                                                                   ROSEMONT              IL 60018‐4998
SPACEK, GLADYS R                       2527 N 73RD TER                                                                             KANSAS CITY          KS 66109‐2430
SPACEK, KATHERINE A                    8970 TERRACORVO CIR                                                                         STOCKTON             CA 95212
SPACEK, STEVE T                        708 MARQUETTE AVE                                                                           S MILWAUKEE          WI 53172
SPACELINKS ENTERPRISES INC             PO BOX 1858                                                                                 YOUNGSTOWN           OH 44501‐1858
SPACH, DONALD L                        5184 DANIELS DR                                                                             TROY                 MI 48098‐3031
SPACH, RICHARD L                       1325 WESTWOOD CT                                                                            FLINT                MI 48532‐2660
SPACH, RICHARD LEE                     1325 WESTWOOD CT                                                                            FLINT                MI 48532‐2660
SPACHER, MARY ROSE                     40 NORTH AVE                                                                                ROCHESTER            NY 14626‐1002
SPACHER, PAUL F                        40 NORTH AVE                                                                                ROCHESTER            NY 14626‐1002
SPACIL, MARIA H                        4338 CATFISH                                                                                CORPUS CHRISTI       TX 78410‐5238
SPACIL, MARIA H                        4338 CATFISH DR                                                                             CORPUS CHRISTI       TX 78410‐5238
SPACK, TINA M.                         21900 BORDMAN ROAD                                                                          ARMADA               MI 48005‐1429
SPACKMAN, KEITH R                      29 GEORGE ST                                                                                NILES                OH 44446‐2723
SPACKMAN, KEITH R                      29 GEORGE ST.                                                                               NILES                OH 44446‐2723
SPACKMAN, MARY E                       APT L                           10303 SUNNYLAKE PLACE                                       COCKEYSVILLE         MD 21030‐5350
SPACONE, VINCENT                       106 BRITTANY DR                                                                             AMHERST              NY 14228‐1941
SPACS, VALDIS                          3740 CHILTON DR                                                                             SAGINAW              MI 48603‐3126
SPADA, DAVID E                         1690 SARAH LN                                                                               WESTLAND             MI 48186‐9351
SPADA, ELIO                            117 PARKWAY DR                                                                              NORTH CHILI          NY 14514‐1216
SPADA, ELIO                            117 PARKWAY                                                                                 NORTH CHILI          NY 14514‐1216
SPADA, GINO A                          PO BOX 9022                                                                                 WARREN               MI 48090‐9022
SPADA, JOAN                            710 CHESTNUT ST                                                                             IRWIN                PA 15642‐3650
SPADA, MARLIS H                        137 CORLEY DR                                                                               ROCHESTER            NY 14622‐1209
SPADACCINI, ANTHONY L                  5 CROWN CT                                                                                  WILMINGTON           DE 19810‐2705
SPADACCINI, NICHOLAS J                 3913 DEERPATH DR                                                                            SANDUSKY             OH 44870‐6086
SPADAFINO, DOMINIC F                   6 WOODSTOCK LN                                                                              BURLINGTON           NJ 08016‐4240
SPADAFORA FRANCIS (ESTATE OF) (632386) BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD           OH 44067
                                                                       PROFESSIONAL BLDG
SPADAFORA, AMEDEO                     12706 OSPREYS WAY                                                                            DEWITT              MI 48820‐7863
SPADAFORA, FRANCESCO                  4415 CHANCELLOR DR                                                                           DEWITT              MI 48820‐7861
SPADAFORA, FRANCIS                    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD          OH 44067
                                                                       PROFESSIONAL BLDG
SPADAFORA, GENNARO                    6300 W MICHIGAN AVE APT E5                                                                   LANSING             MI   48917‐2446
SPADAFORA, PAUL A                     8111 ROSEBUD LN 29                                                                           CLARKSTON           MI   48348
SPADAFORA, PETER J                    PO BOX 9022                                                                                  WARREN              MI   48090‐9022
SPADAFORE JR, FRANK J                 7469 LONGACRE ST                                                                             DETROIT             MI   48228‐3569
SPADAFORE, DIANE S                    17 RIVERSIDE PKWY                                                                            MASSENA             NY   13662
SPADAFORE, MARIE B                    4075 KEMPF ST                                                                                WATERFORD           MI   48329‐2013
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Name                                  Address1                       Address2              Address3                     Address4              City            State Zip
SPADAFORE, MARIE B                    4075 KEMPF                                                                                              WATERFORD        MI 48329‐2013
SPADAFORE, PAUL A                     6181 LAKE WALDON DRIVE                                                                                  CLARKSTON        MI 48346‐2293
SPADAFORE, RUSSELL B                  303 NORLYNN DR                                                                                          HOWELL           MI 48843‐9026
SPADARO, JOSEPH P                     614 JACKSON AVE                                                                                         WILMINGTON       DE 19804‐2218
SPADARO, MICHELLE                     614 JACKSON AVE                                                                                         WILMINGTON       DE 19804‐2218
SPADE, BARBARA                        700 E COURT ST APT 204                                                                                  FLINT            MI 48503‐6222
SPADE, BARBARA                        700 E CT ST                    APT 204                                                                  FLINT            MI 48503
SPADE, JAMES H                        4237 W CT ST                   APT 86                                                                   FLINT            MI 48532
SPADE, JAMES H                        G4237 W COURT ST APT 83                                                                                 FLINT            MI 48532
SPADE, JAMES HERBERT                  4233 WEST COURT STREET                                                                                  FLINT            MI 48532‐4326
SPADE, JOHN W                         220 COLUMBUS CIR                                                                                        LONGWOOD         FL 32750‐6524
SPADE, JOYCE G                        2612 DEER LAKE ST                                                                                       LAS VEGAS        NV 89134‐7221
SPADE, MITZI J                        6924 NEBRASKA AVE                                                                                       TOLEDO           OH 43615
SPADE, OATHER R                       PO BOX 252                                                                                              ALDERSON         WV 24910‐0252
SPADE, SHERRY D                       5554 MAPLE PARK DR                                                                                      FLINT            MI 48507‐3915
SPADE, STEVEN K                       402 N WALNUT ST                                                                                         ALEXANDRIA       IN 46001‐1615
SPADER, MARY A                        612 LINCOLN                                                                                             LINCOLN PARK     MI 48146‐2820
SPADER, MARY A                        612 LINCOLN AVE                                                                                         LINCOLN PARK     MI 48146‐2820
SPADIDEAS, ZOE                        3 HORIZON RD APT 1421                                                                                   FORT LEE         NJ 07024‐6709
SPADO, STEPHEN J                      2820 NW GOLF COURSE DR S                                                                                BEND             OR 97701‐5502
SPADONI JR., HARRY J.                 APT 3                          100 VANA DRIVE                                                           WILLOW SPGS       IL 60480‐1588
SPADONI, DONALD J                     8672 W ESCUDA DR                                                                                        PEORIA           AZ 85382‐8753
SPADTFELD HEATHER                     SPADTFELD, HEATHER             238 E 7TH AVENUE                                                         GARNETT          KS 66032‐1616
SPADY BUICK‐PONTIAC‐GMC, INC.         TODD SPADY                     512 4TH AVE                                                              HOLDREGE         NE 68949‐2229
SPADY BUICK‐PONTIAC‐GMC, INC.         512 4TH AVE                                                                                             HOLDREGE         NE 68949‐2229
SPADY‐RUNCIE CHEVROLET‐CAD            1840 COURT ST                                                                                           BEATRICE         NE 68310‐3205
SPADY‐RUNCIE CHEVROLET‐CADILLAC, IN   1840 COURT ST                                                                                           BEATRICE         NE 68310‐3205

SPADY‐RUNCIE CHEVROLET‐CADILLAC, INC. 1840 COURT ST                                                                                           BEATRICE        NE 68310‐3205

SPAE‐NAUR INC                         815 VICTORIA STREET NORTH      P O BOX 544                                        KITCHENER CANADA ON
                                                                                                                        N2G 4B1 CANADA
SPAEDT, BYRON L                       5762 AVALON DR                                                                                          PINCONNING      MI   48650‐6418
SPAEDY, JOANN J                       231 RUE GRAND DR                                                                                        LAKE ST LOUIS   MO   63367‐1005
SPAEDY, LEE F                         231 RUE GRAND DR                                                                                        LAKE ST LOUIS   MO   63367‐1005
SPAEK, ROLAND V                       GLASSER AND GLASSER            CROWN CENTER          580 EAST MAIN STREET SUITE                         NORFOLK         VA   23510
                                                                                           600
SPAETH DESIGN                         629 W 54TH ST FL 6                                                                                      NEW YORK        NY   10019‐3584
SPAETH, ALICE A                       3477 TRIMM RD                                                                                           SAGINAW         MI   48609‐9768
SPAETH, AMY S                         3040 S MERIDIAN RD                                                                                      MERRILL         MI   48637‐9630
SPAETH, DUANNE A                      9900 SONORA DR                                                                                          FREELAND        MI   48623‐7806
SPAETH, ERWIN C                       23834 OAK LN                                                                                            NORTH OLMSTED   OH   44070‐2841
SPAETH, FRED                          16900 W TOWNLINE RD                                                                                     SAINT CHARLES   MI   48655‐9741
SPAETH, GARY A                        8329 W LONG LAKE DR                                                                                     KALAMAZOO       MI   49048‐5527
SPAETH, GERALD M                      767 VINLAND DR                                                                                          EATON           OH   45320‐2537
SPAETH, GERALD M                      767 VINLAND DR.                                                                                         EATON           OH   45320‐2537
SPAETH, GERALD R                      2523 FULTON RD                                                                                          HEDGESVILLE     WV   25427‐3953
SPAETH, JOHN L                        7388 S RAUCHOLZ RD                                                                                      SAINT CHARLES   MI   48655‐8707
SPAETH, MARY F                        3380 S ORR RD                                                                                           HEMLOCK         MI   48626‐9790
SPAETH, RONALD A                      14711 S DEWITT RD                                                                                       LANSING         MI   48906‐9361
SPAETH, WAYNE E                       3040 S MERIDIAN RD                                                                                      MERRILL         MI   48637‐9630
SPAETH, WILMA I                       113 BLOCK ST                                                                                            WILLIAMSTON     MI   48895‐9019
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Name                            Address1                     Address2                        Address3   Address4                 City              State Zip
SPAETHE, GILBERT T              21320 COMMUNITY ST                                                                               CANOGA PARK        CA 91304‐2728
SPAGER, GERALD                  147 EAST ST                                                                                      COLONIA            NJ 07067‐2218
SPAGNER, LARRY D                1328 N 79TH TER                                                                                  KANSAS CITY        KS 66112‐2189
SPAGNER, PAMELA W               1127 RICH AVE                                                                                    GULFPORT           MS 39501‐2337
SPAGNOL, SCOTT A                15405 CLEVELAND AVE                                                                              ALLEN PARK         MI 48101‐2069
SPAGNOL, SCOTT ARTHUR           15405 CLEVELAND AVE                                                                              ALLEN PARK         MI 48101‐2069
SPAGNOLA ANTHONY                27 ORCHARD RD                                                                                    LARCHMONT          NY 10538‐1714
SPAGNOLA JAMES                  51 COLLINS PLACE PVT DR                                                                          DANVILLE           AL 35619‐6248
SPAGNOLA MICHAEL                SPAGNOLA, MICHAEL            432 CENTER RD                                                       FRANKFORT          NY 13340
SPAGNOLA, DIANE                 3581 JOHNSON FARM DR                                                                             CANFIELD           OH 44406‐9248
SPAGNOLA, ELEANOR A             8761 W 168TH ST                                                                                  ORLAND PARK         IL 60462‐5725
SPAGNOLA, JAMES                 51 COLLINS PLACE PVT DR                                                                          DANVILLE           AL 35619‐6248
SPAGNOLA, JANICE M              51 COLLINS PLACE PVT DR                                                                          DANVILLE           AL 35619‐6248
SPAGNOLA, MICHAEL               432 CENTER RD                                                                                    FRANKFORT          NY 13340‐4602
SPAGNOLA, RITA A                17 BLUEBILL AVE APT 604                                                                          NAPLES             FL 34108‐1763
SPAGNOLETTA, ANTHONY J          1131 PARK AVE.                                                                                   GIRARD             OH 44420‐1804
SPAGNOLETTA, ANTHONY J          1131 PARK AVE                                                                                    GIRARD             OH 44420‐1804
SPAGNOLI, ALDO P                43 LAWRENCE ST                                                                                   NEW HYDE PARK      NY 11040‐1753
SPAGNOLI, DONALD J              520 CONIFER DR                                                                                   FORKED RIVER       NJ 08731‐1924
SPAGNOLI, REMO                  64 MCKEEL AVE                                                                                    TARRYTOWN          NY 10591‐3412
SPAGNOLI, REMO G                16350 TULIP LN                                                                                   WALTON HILLS       OH 44146‐4160
SPAGNOLI, REMO G                16350 TULIP LANE                                                                                 WALTON HILLS       OH 44146‐4146
SPAGNOLLY, DARVYN W             1844 W 15TH AVE                                                                                  APACHE JUNCTION    AZ 85220‐6954
SPAGNOLO, RONALD P              421 N WARWICK AVE                                                                                WESTMONT            IL 60559‐1548
SPAGNUOLO ALFRED J MD           1718 WELLINGTON RD                                                                               LANSING            MI 48910‐1162
SPAGNUOLO, A J, MD              1718 WELLINGTON RD                                                                               LANSING            MI 48910‐1162
SPAGNUOLO, ANTONIO              5104 SOUTHWICK CIR                                                                               LANSING            MI 48917‐4009
SPAGNUOLO, ERNEST W             8701 SOUTH KOLB RD 3‐257                                                                         TUCSON             AZ 85756
SPAGNUOLO, ERNEST W             8701 S KOLB RD 3‐257                                                                             TUCSON             AZ 85706‐9607
SPAGNUOLO, IPPOLITO             VIA S NICOLA 43                                                         COSENZA CS ITALY 87100
SPAGNUOLO, LAWRENCE E           600 VICTOR DR                                                                                    SAGINAW           MI   48609‐5127
SPAGNUOLO, UMBERTO              4024 MAR MOOR DR                                                                                 LANSING           MI   48917‐1610
SPAGNUOLO, VINCENT              4004 MAR MOOR DR                                                                                 LANSING           MI   48917‐1610
SPAGNUOLO, WILLIAM C            201 MALL DR S APT 98                                                                             LANSING           MI   48917‐3272
SPAHICH BRANKO                  8330 MOON RD                                                                                     SALINE            MI   48176‐9409
SPAHICH, BRANKO J               8330 MOON RD                                                                                     SALINE            MI   48176‐9409
SPAHICH, BRANKO JOHN            8330 MOON RD                                                                                     SALINE            MI   48176‐9409
SPAHICH, GEORGE J               5995 BEDELL RD                                                                                   BERLIN CENTER     OH   44401‐9713
SPAHICH, LIUBICA                8330 MOON RD                                                                                     SALINE            MI   48176‐9409
SPAHITS, JOSEPH W               10825 DAVISBURG RD                                                                               DAVISBURG         MI   48350‐2009
SPAHLINGER FREDERICK (460203)   DUFFY & ASSOCS JOHN J        23823 LORAIN RD                                                     NORTH OLMSTED     OH   44070
SPAHLINGER, FREDERICK           DUFFY & ASSOCS JOHN J        23823 LORAIN RD                                                     NORTH OLMSTED     OH   44070
SPAHLINGER, GRETCHEN D          2627 NEWTON TOMLINSON RD                                                                         NEWTON FALLS      OH   44444‐8726
SPAHLINGER, HOMER L             3087 EAGLE CREEK RD                                                                              LEAVITTSBURG      OH   44430‐9763
SPAHN, ANN T                    11215 N FLAT GRANITE DR                                                                          ORO VALLEY        AZ   85737‐4610
SPAHR JR, JOSEPH R              9093 E H AVE                                                                                     KALAMAZOO         MI   49048‐5875
SPAHR, DAVID A                  1093 W 800 S                                                                                     WARREN            IN   46792‐9438
SPAHR, DONALD W                 504 W WASHINGTON ST                                                                              FAIRMOUNT         IN   46928‐1961
SPAHR, JAMES M                  14428 SE 204TH TER                                                                               HAWTHORNE         FL   32640‐7945
SPAHR, MARTHA M                 113 CHERRYWOOD DRIVE                                                                             NEW KENSINGTN     PA   15068‐8351
SPAICH DAVID (491321)           BEVAN & ASSOCIATES           10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD        OH   44067
                                                             PROFESSIONAL BLDG
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Name                     Address1                        Address2             Address3         Address4         City            State Zip
SPAID, WILLIAM O         90 SUGAR MAPLE E                                                                       DAVISON          MI 48423‐9175
SPAIDE, CAROLYN          6 HAYDON CT                                                                            MECHANICVILLE    NY 12118‐3453
SPAIN, ADANA S           808 SOUTHWEST 27TH STREET                                                              MOORE            OK 73160‐5525
SPAIN, ADANA S           808 SW 27TH ST                                                                         MOORE            OK 73160‐5525
SPAIN, ANDREW W          3275 CREEKWAY LN                                                                       DECATUR          GA 30034‐4909
SPAIN, BETTY W           2780 INDIAN TRAIL DRIVE                                                                TUCKER           GA 30084‐1701
SPAIN, CAROLYN B         PO BOX 992                                                                             HUNTINGDON       TN 38344‐8344
SPAIN, CHARLENE S        1752 DREXEL AVE NW                                                                     WARREN           OH 44485‐2120
SPAIN, DIANE C           12398 CUNDY RD                                                                         HARTLAND         MI 48353‐3522
SPAIN, DON E             7302 S FOX ST                                                                          MUNCIE           IN 47302‐9633
SPAIN, DOUGLAS D         775 JONES ST                                                                           HUBBARD          OH 44425‐1123
SPAIN, ELMORE
SPAIN, ELOISE            1334 CORNELIA ST                                                                       SAGINAW         MI   48601‐2901
SPAIN, ELOISE            1334 CORNELIA                                                                          SAGINAW         MI   48601‐2901
SPAIN, FRANCES N         237 MEADOWBROOK AVE SOUTHEAST                                                          WARREN          OH   44483‐6326
SPAIN, FRANCES R         169 TIMBER RIDGE DR                                                                    NASHVILLE       TN   37217‐4622
SPAIN, FRANCIS R         515 E STATE ST                                                                         EAST TAWAS      MI   48730‐1412
SPAIN, FREDDIE L         168 S MARYLAND AVE                                                                     YOUNGSTOWN      OH   44509‐2811
SPAIN, GAYLORD K         618 BARRIE AVE                                                                         FLINT           MI   48507‐1655
SPAIN, GEORGE J          219 SUPERIOR ST.                                                                       NEWTON FALLS    OH   44444‐1748
SPAIN, HELEN M           437 MARSH POINT CIRCLE                                                                 ST AUGUSTINE    FL   32080
SPAIN, JASON M           3841NORTH WOODS CT                                                                     WARREN          OH   44483
SPAIN, JOHN
SPAIN, JOHN A            1601 MONROE JERSEY RD SE                                                               MONROE          GA   30655‐5947
SPAIN, JOHN J            152 ROYAL TROON DR SE                                                                  WARREN          OH   44484‐4668
SPAIN, JOHN W            3120 GALE AVE                                                                          LONG BEACH      CA   90810‐2527
SPAIN, LEAH T            1003 N 16TH ST                                                                         HARRISBURG      PA   17103‐1420
SPAIN, MARTHA C          618 BARRIE AVE                                                                         FLINT           MI   48507‐1655
SPAIN, MICHAEL A         8578 RED OAK DR NE                                                                     WARREN          OH   44484‐1630
SPAIN, ROBERT F          249 BURTMAN DR                                                                         TROY            MI   48083‐1004
SPAIN, ROBERT H          620 FREEMAN AVE                                                                        FLINT           MI   48507‐1706
SPAIN, SHIRLEY B         5905 CARTER ST                                                                         HUBBARD         OH   44425‐2318
SPAIN, SHIRLEY B         5905 CARTER STREET                                                                     HUBBARD         OH   44425‐2318
SPAIN, SHIRLEY J         PO BOX 13292                                                                           GREENSBORO      NC   27415
SPAIN, STEPHANIE LYNN    HOUCK & RIGGLE LLC              PO BOX 1958                                            RUSTON          LA   71273‐1958
SPAIN, THOMAS T          3416 ORCHARD CT SE                                                                     WARREN          OH   44484‐3274
SPAIN, WILLIAM R         2243 LIVERPOOL ST                                                                      AUBURN HILLS    MI   48326‐3420
SPAIN, WILLIAM R         163 MARKS RD                                                                           ROCKMART        GA   30153‐5162
SPAINHOWARD, WILLIAM E   45 HONEY LOCUST LANE            APT 304 B                                              SAINT CHARLES   MO   63303
SPAINHOWER, DELMAR F     2613 WISCONSIN AVE                                                                     FLINT           MI   48506‐3877
SPAIR, JOSEPHINE M       99‐189 KALALOA STREET                                                                  AIEA            HI   96701
SPAK, LEROY J            14984 DILL RD                                                                          SAUCIER         MS   39574‐7205
SPAK, MELIA              8556 DIXIE LN                                                                          DEARBORN HTS    MI   48127‐1300
SPAKE, BOBBY H           1659 LIBERTY CHURCH RD                                                                 BREMEN          GA   30110‐4235
SPAKE, FREDA S           1006 HALE AVE                                                                          ASHLAND         OH   44805‐4233
SPAKES, LELAND C         38455 RENWOOD AVE                                                                      AVON            OH   44011‐4738
SPAKOWSKI, DIANNE R      2189 PLAINVIEW DR                                                                      SAGINAW         MI   48603‐2538
SPAKOWSKI, JOHN          119 OSCEOLA LEDGE                                                                      LEROY           MI   49655‐9411
SPAKOWSKI, ZIGMOND A     4251 GRANDY ST                                                                         DETROIT         MI   48207‐1515
SPAL AUTOMOTIVE S.R.L    MR. GIORGIO BERNARDI            VIA PER CARPI 26/B                                     CHATSWORTH      CA   91311
SPAL AUTOMOTIVE SRL      MR. GIORGIO BERNARDI            VIA PER CARPI 26/B                                     CHATSWORTH      CA   91311
SPALA, MARY D            1924 BONNIE BRAE N.E.                                                                  WARREN          OH   44483‐3516
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Name                                    Address1                       Address2                        Address3   Address4         City             State Zip
SPALDING AUTO/BENSAL                    4529 ADAMS CIR                                                                             BENSALEM          PA 19020‐3927
SPALDING AUTOMOTIVE INC                 BILL SHEAFFER                  4529 ADAMS CIR                                              BENSALEM          PA 19020‐3927
SPALDING AUTOMOTIVE INC                 LEON MELMUD‐2220               4529 ADAMS CIR                                              BENSALEM          PA 19020‐3927
SPALDING AUTOMOTIVE INC                 LEON MELMUD‐2220               4529 ADAMS CIRCLE                                           SARASOTA          FL 34243
SPALDING AUTOMOTIVE INC                 4529 ADAMS CIR                                                                             BENSALEM          PA 19020‐3927
SPALDING AUTOMOTIVE INC.                BILL SHEAFFER                  4529 ADAMS CIR                                              BENSALEM          PA 19020‐3927
SPALDING C A BENSALEM INC               4529 ADAMS CIR                                                                             BENSALEM          PA 19020‐3927
SPALDING, ALAN R                        1025 S DIAMOND RD                                                                          MASON             MI 48854‐9636
SPALDING, ALBERT W                      549 S ROSEWOOD                                                                             JACKSON           MI 49201‐8461
SPALDING, BESSIE A                      549 S ROSEWOOD                                                                             JACKSON           MI 49201‐8461
SPALDING, BRIAN L                       4691 OLD TOWN RD                                                                           MARSHALL          TX 75672‐3953
SPALDING, CHARLES E                     2173 N DEQUINCY ST                                                                         INDIANAPOLIS      IN 46218‐3944
SPALDING, DANELLE J                     15379 CHAPEL ST                                                                            DETROIT           MI 48223
SPALDING, DONNA M                       PO BOX 314                                                                                 ROCHESTER         WI 53167‐0314
SPALDING, DOUGLAS M                     511 N BRIDGE ST                                                                            LINDEN            MI 48451‐9790
SPALDING, EUGENE W                      39500 WARREN RD TRLR 176                                                                   CANTON            MI 48187‐4321
SPALDING, GEORGE R                      3111 ALFRED AVE                                                                            LANSING           MI 48906‐2507
SPALDING, GREGORY                       18 PRINZ CIR                                                                               SAINT CHARLES     MO 63303‐4204
SPALDING, IRMA W                        311 KESWICK DR                                                                             CLARKSVILLE       IN 47129‐1933
SPALDING, JACOB                         7162 BRITTWOOD LN                                                                          FLINT             MI 48507‐4622
SPALDING, LESLIE J                      6426 INDIAN LAKE DR                                                                        GLADWIN           MI 48624‐9230
SPALDING, LESLIE J                      6289 MARSHALL DR                                                                           GLADWIN           MI 48624
SPALDING, LUTHER E                      2272 ARBOR AVE                                                                             MUSKEGON          MI 49441‐3302
SPALDING, LYLE E                        9592 COUNTY 511 22ND RD                                                                    RAPID RIVER       MI 49878‐9486
SPALDING, MARK J                        1135 JAY AVE                                                                               YPSILANTI         MI 48198‐6462
SPALDING, MARY J                        APT 223                        4141 MCCARTY ROAD                                           SAGINAW           MI 48603‐9325
SPALDING, MICHELLE L                    3493 S ELMS RD                                                                             SWARTZ CREEK      MI 48473‐7913
SPALDING, MICHELLE LYNE                 3493 S ELMS RD                                                                             SWARTZ CREEK      MI 48473‐7913
SPALDING, RALPH C                       1063 STATE ROUTE 503 N                                                                     W ALEXANDRIA      OH 45381‐9731
SPALDING, RODGER L                      2585 REED RD                                                                               LAPEER            MI 48446‐8314
SPALDING, SAMUEL M                      102 WATERCREST DRIVE                                                                       WHITEHOUSE        TX 75791‐3310
SPALDING, STANLEY R                     9881 S AIRPORT RD                                                                          ATLANTA           MI 49709‐9003
SPALDING, STEVEN J                      119 SOUTH MIAMI AVENUE                                                                     MIAMISBURG        OH 45342‐2913
SPALDING, VELMA R                       3100 POWELL AVE. #832                                                                      KANSAS CITY       KS 66106
SPALDING, VIRGINIA L                    5972 N NEW JERSEY ST                                                                       INDIANAPOLIS      IN 46220‐2514
SPALDING, WAYNE                         110 LIMESTONE BLVD                                                                         BARDSTOWN         KY 40004‐1848
SPALDING, WESLEY H                      14232 N LINDEN RD                                                                          CLIO              MI 48420‐8824
SPALENY, JOSEPH                         5211 PLEASANT DR                                                                           FLUSHING          MI 48433‐9066
SPALENY, NORMAN M                       G‐6220 LUCAS RD.                                                                           FLINT             MI 48506
SPALENY, RICHARD J                      4470 N ELMS RD                                                                             FLUSHING          MI 48433‐1449
SPALENY, VIVIAN O                       5211 PLEASANT DR                                                                           FLUSHING          MI 48433‐9066
SPALETA, IVAN                           4633 160TH ST                                                                              FLUSHING          NY 11358‐3632
SPALICH LAWRENCE (ESTATE OF) (492683)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                                       PROFESSIONAL BLDG
SPALINSKI, FRED P                       91 BARRON WAY                                                                              AIKEN            SC   29803‐3702
SPALL JR, RAYMOND J                     1831 RIVERVIEW CT                                                                          HENDERSONVILLE   NC   28739‐8833
SPALL, BETTY K                          PO BOX 174                                                                                 MILTON           IN   47357‐0174
SPALL, CHARLENE T                       2512 E 2ND ST                                                                              ANDERSON         IN   46012‐3203
SPALL, DANIEL B                         2904 E 350 N                                                                               ANDERSON         IN   46012‐9415
SPALL, JACQUELINE G                     10324 S STATE ROAD 9                                                                       PENDLETON        IN   46064‐9572
SPALL, JIMMIE L                         6758 S 200 E                                                                               MARKLEVILLE      IN   46056‐9704
SPALL, PAMELA W                         114 REDBUD CIR                                                                             ANDERSON         IN   46013‐1031
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Name                                Address1                          Address2                         Address3             Address4         City            State Zip
SPALL, ROBERT P                     4825 DAVIS LN APT 325                                                                                    AUSTIN           TX 78749‐4547
SPALL, ROBERT P                     4600 MONTEREY OAKS BLVD APT 328                                                                          AUSTIN           TX 78749‐4308
SPALL, RONALD P                     460 LAKEVIEW DR                                                                                          CROSSVILLE       TN 38558‐7139
SPALL, TIMOTHY W                    203 LAKE BREEZE RD                                                                                       ROCHESTER        NY 14616
SPALL, WALTER E                     10324 S STATE ROAD 9                                                                                     PENDLETON        IN 46064‐9572
SPALLA, LYNN A                      14893 RIVERSIDE                                                                                          LIVONIA          MI 48154
SPALLA, REGINA A                    PO BOX 189                                                                                               DRAVOSBURG       PA 15034‐0189
SPALLA, TOM E                       565 CLARION ST                                                                                           CLIO             MI 48420‐1259
SPALLINA, FRANCIS A                 650 GILLETT ROAD                  APT 2                                                                  SPENCERPORT      NY 14559
SPALSBURY, JOEL T                   7526 YORKTOWN RD                                                                                         LANSING          MI 48917‐9688
SPALSBURY, ROBERT J                 7105 BLUE LAKE RD NE                                                                                     KALKASKA         MI 49646‐9354
SPALSBURY, TONY S                   2140 E MOUNT HOPE HWY                                                                                    GRAND LEDGE      MI 48837‐9726
SPALY JR, ROBERT G                  9143 HIDDEN OAKS DR                                                                                      GRAND BLANC      MI 48439‐2506
SPALY JR, ROBERT GEORGE             9143 HIDDEN OAKS DR                                                                                      GRAND BLANC      MI 48439‐2506
SPAMAN, DANIEL C                    324 TALLMAN RD                                                                                           OGDENSBURG       NY 13669‐4359
SPAMAN, DANIEL CHRISTOPHER          324 TALLMAN RD                                                                                           OGDENSBURG       NY 13669‐4359
SPAN INTERNATIONAL TRAINING         4226 GREENBRIAR DR                                                                                       NIXA             MO 65714‐8131
SPAN JOHN JR                        SPAN, JOHN                        1234 MARKET ST STE 2040                                                PHILADELPHIA     PA 19107‐3720
SPAN PUBLISHING INC                 DBA NATIONAL PUBLIC SAFETY        PO BOX 365                       INFORMATION BUREAU                    STEVENS POINT    WI 54481‐0365
SPAN TECH/GLASGOW                   241 NORTH RACE ST.                P.O. BOX 369                                                           GLASGOW          KY 42141
SPAN, JENNIE G                      PO BOX 2183                                                                                              FAIRBORN         OH 45324‐8183
SPAN, JOHN                          LAW OFFICES OF DAVID GORBERG &    32 PARKING PLZ STE 700                                                 ARDMORE          PA 19003‐2440
                                    ASSOCIATES
SPAN, MICHAEL                       6366 NELWOOD RD                                                                                          PARMA HEIGHTS   OH   44130‐3209
SPANAGEL, ROSE MARIE S              5132 PAW PAW RD                                                                                          CAMBRIDGE       MD   21613‐3640
SPANAKIS, MICHAEL W                 1787 ATLANTIC ST NE                                                                                      WARREN          OH   44483‐4111
SPANARKEL, JEANETTE                 80 W 37TH ST                                                                                             BAYONNE         NJ   07002‐2908
SPANDE, KACI I                      8624 HIDDEN ACRE CT                                                                                      CLARKSTON       MI   48348‐2895
SPANDE, KAI S                       8624 HIDDEN ACRE CT                                                                                      CLARKSTON       MI   48348‐2895
SPANG & CO                          PO BOX 457                        5241 LAKE ST                                                           SANDY LAKE      PA   16145‐0457
SPANG & COMPANY INC                 PO BOX 457                        5241 LAKE ST                                                           SANDY LAKE      PA   16145‐0457
SPANG POWER CONTROLS                PO BOX 1142                                                                                              PITTSBURGH      PA   15230‐1142
SPANG POWER ELECTRONICS             5241 LAKE STREET                                                                                         SANDY LAKE      PA   16145
SPANG, FREDERICK J                  1341 WILLOWRIDGE DR                                                                                      BEAVERCREEK     OH   45434‐6748
SPANG, MARSHALL F                   36500 MARQUETTE ST APT 701                                                                               WESTLAND        MI   48185‐3245
SPANGEL, ELIZABETH M                1109 MANSELL DR                                                                                          YOUNGSTOWN      OH   44505‐2242
SPANGENBERG HARVEY LEE (416020)     BUDD RUSSELL W                    3102 OAK LAWN AVE STE 1100                                             DALLAS          TX   75219‐4283
SPANGENBERG ROBERT                  SPANGENBERG, ROBERT               1790 WILMINGTON PIKE SUITE 200                                         GLEN MILLS      PA   19342
                                                                      THE SPEAKMAN HOUSE
SPANGENBERG, HARVEY LEE             BUDD RUSSELL W                    3102 OAK LAWN AVE STE 1100                                             DALLAS          TX   75219‐4283
SPANGENBERG, HAZEL I                1455 STURDEVANT RD.                                                                                      SMITHS CREEK    MI   48074‐2918
SPANGENBERG, MARK A                 5221 S 44TH ST                                                                                           GREENFIELD      WI   53220‐5128
SPANGENBERG, MARK J                 8778 BRAVE RD                                                                                            HOWARD CITY     MI   49329‐9170
SPANGENBERG, RICHARD R              706 E COURT ST                                                                                           JANESVILLE      WI   53545‐4015
SPANGENBERG, RUTH E                 28 LAWRENCE AVE                                                                                          THOMASTON       ME   04861‐3454
SPANGLER CAR & TRUCK CENTER, INC.   208 W 5TH ST                                                                                             SCOTT CITY      KS   67871‐1136
SPANGLER CAR & TRUCK CENTER, INC.   JAMES SPANGLER                    208 W 5TH ST                                                           SCOTT CITY      KS   67871‐1136
SPANGLER CLARENCE R (429850)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                            NORFOLK         VA   23510
                                                                      STREET, SUITE 600
SPANGLER EDGER                      307 WEST MAIN STREET                                                                                     AMANDA          OH 43102
SPANGLER JOYCE                      3583 LELAND RD                                                                                           LAINGSBURG      MI 48848‐9624
SPANGLER JR, JAMES F                2304 RUTLEDGE AVE                                                                                        JANESVILLE      WI 53545‐2129
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Name                      Address1                        Address2                      Address3   Address4         City               State Zip
SPANGLER JR, JESSE E      6184 LANMAN DR                                                                            WATERFORD           MI 48329‐3022
SPANGLER JR, WILLIAM O    105 KANDI LN                                                                              COLUMBIA            LA 71418‐7309
SPANGLER ROBIN            SPANGLER, MICHAEL               1300 FIFTH AVENUE                                         PITTSBURGH          PA 15219
SPANGLER ROBIN            SPANGLER, ROBIN                 1300 FIFTH AVENUE                                         PITTSBURGH          PA 15219
SPANGLER VICKI S          SPANGLER, VICKI S               30 E BUTLER AVE                                           AMBLER              PA 19002‐4514
SPANGLER, ARLENA          4636 BELAIR CIRCLE                                                                        PLAINFIELD          IN 46168‐9099
SPANGLER, BARBARA E       PO BOX 962                                                                                TACOMA              WA 98401‐0962
SPANGLER, BETTY J         6146 ALEXANDRA STREET                                                                     SAGINAW             MI 48603‐4237
SPANGLER, BOBBI A         611 RALSTON AVE                                                                           DEFIANCE            OH 43512‐1557
SPANGLER, CHARLES L       4636 BELAIR CIR                                                                           PLAINFIELD          IN 46168‐9099
SPANGLER, CHRISTOPHER A   PO BOX 9022                     C/O APHQ                                                  WARREN              MI 48090‐9022
SPANGLER, CHRISTOPHER S   410 E 31ST ST                                                                             ANDERSON            IN 46016‐5327
SPANGLER, CLARENCE R      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                          STREET, SUITE 600
SPANGLER, CLYDE C         1374 CAPRI ISLES BLVD           C/O CAROL BOWMAN                                          VENICE             FL   34292‐4459
SPANGLER, CLYDE H         1008 W JAY ST                                                                             VANDALIA           IL   62471‐1614
SPANGLER, DANIEL E        36 GLENWOOD LN                                                                            SAINT PETERS       MO   63376‐2049
SPANGLER, DAVID G         7204 E SOUTHPORT RD                                                                       INDIANAPOLIS       IN   46259‐6733
SPANGLER, DORA E          1522 ADDIS RD                                                                             HOLLY              MI   48442‐8312
SPANGLER, DOUGLAS C       3437 W U.S. 30                                                                            COLUMBIA CITY      IN   46725
SPANGLER, DOUGLAS K       4348 LOUELLA DR                                                                           WATERFORD          MI   48329‐4023
SPANGLER, EDWARD S        201 MARCY AVE                                                                             PENDLETON          IN   46064‐8805
SPANGLER, ELSON B         1465 SODON LAKE DR                                                                        BLOOMFIELD HILLS   MI   48302‐2357
SPANGLER, ERMA M          4411 EVERGREEN WAY                                                                        WASHOUGAL          WA   98671‐2069
SPANGLER, FANNIE          377 WHITE ST                                                                              LOVELAND           OH   45140‐8867
SPANGLER, FANNIE          377 WHITE STREET                                                                          BRANCH HILL        OH   45140‐8867
SPANGLER, FRANKLIN S      2216 PORTLAND DR                                                                          MARYVILLE          TN   37803‐4702
SPANGLER, GARY L          1548 ADDIS RD                                                                             HOLLY              MI   48442‐8312
SPANGLER, GARY LEE        1548 ADDIS RD                                                                             HOLLY              MI   48442‐8312
SPANGLER, GERTIE L        1112 10TH ST                    C/O VAUGHN CLARK                                          MARTIN             MI   49070‐9722
SPANGLER, GLADYS J        119 HAYDEN LAKE RD E APT 112                                                              CHAMPLIN           MN   55316‐4400
SPANGLER, GREG R          608 KVAMME LN                                                                             STOUGHTON          WI   53589‐2385
SPANGLER, HERSCHEL L      4710 N 600 WEST                                                                           MUNCIE             IN   47304
SPANGLER, IRA             412 W 4TH ST                                                                              AUGUSTA            KY   41002‐1086
SPANGLER, IRENE           385 ADAMS RIDGE RD                                                                        CLAY CITY          KY   40312‐1305
SPANGLER, IRENE M         806 MEYER RD                                                                              WENTYVILLE         MO   63385‐3401
SPANGLER, JACK A          R2                                                                                        CRESTLINE          OH   44827
SPANGLER, JAMES C         1001 S ELM ST                                                                             NEW BOSTON         TX   75570‐3721
SPANGLER, JAMES H         1508 FAIR OAKS DR                                                                         SIDNEY             OH   45365‐1009
SPANGLER, JAMES R         1005 SEAPORT DR                                                                           CICERO             IN   46034‐9570
SPANGLER, JAMES W         6501 GERMANTOWN RD LOT 43                                                                 MIDDLETOWN         OH   45042‐1264
SPANGLER, JEAN M          7118 E 26TH ST N                                                                          WICHITA            KS   67226‐1723
SPANGLER, JEFFREY E       1516 BURRUS RD                                                                            ORTONVILLE         MI   48462‐9208
SPANGLER, JENNIFER L      616 OLIVIA DR                                                                             MILFORD            MI   48381‐1045
SPANGLER, JERRY L         55008 RED ARROW HWY                                                                       LAWRENCE           MI   49064‐9312
SPANGLER, JO NELL         255 CHRISTMAS RIDGE RD                                                                    BEREA              KY   40403‐9205
SPANGLER, JOANNE E        524 KELLY LAKE RD                                                                         ONSTED             MI   49265
SPANGLER, JOHN J          1782 ELMWOOD DR                                                                           DEFIANCE           OH   43512‐2509
SPANGLER, JOHN N          3550 ROBINSON RD                                                                          MANSFIELD          OH   44903‐9181
SPANGLER, JON S           2382 YASMIN DR                                                                            COMMERCE TWP       MI   48382‐5201
SPANGLER, JOYCE A         2609 HEIGHTS AVE                                                                          LANSING            MI   48912‐4525
SPANGLER, JOYCE E         24739 5 MILE RD                 APT 28                                                    REDFORD            MI   48239‐3648
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Name                   Address1                           Address2              Address3         Address4         City            State Zip
SPANGLER, JOYCE E      24739 5 MILE RD APT 28                                                                     REDFORD          MI 48239‐3648
SPANGLER, JULIE A      2304 RUTLEDGE AVE                                                                          JANESVILLE       WI 53545‐2129
SPANGLER, JULIE M      413 NIES AVE                                                                               ENGLEWOOD        OH 45322‐2009
SPANGLER, KEITH K      5172 MERIT DR                                                                              FLINT            MI 48506‐2127
SPANGLER, LARRY D      147 EMS D13 LN                                                                             SYRACUSE         IN 46567‐9314
SPANGLER, LINDA F      49024 76TH AVE                                                                             DECATUR          MI 49045‐9120
SPANGLER, LINDA F      49024 76TH AVENUE                                                                          DECATUR          MI 49045‐9120
SPANGLER, LUGENE E     6581 HILLSIDE CT                                                                           GROVE CITY       OH 43123‐9542
SPANGLER, MARGARET     9414 RUBIO AVE                                                                             NORTH HILLS      CA 91343‐3620
SPANGLER, MARIE        199 SUBURBAN ST                                                                            ECORSE           MI 48229‐1048
SPANGLER, MARJORIE D   129 RINGWOOD WAY                                                                           ANDERSON         IN 46013‐4254
SPANGLER, MARK L       1126 MACARTHUR DR                                                                          JANESVILLE       WI 53548‐1411
SPANGLER, MARTHA H     6184 LANMAN DR                                                                             WATERFORD        MI 48329‐3022
SPANGLER, MICHAEL      SCHIFFMAN & WOJDOWSKI ATTORNEYS AT 1300 5TH AVE                                            PITTSBURGH       PA 15219‐6270
                       LAW
SPANGLER, MICHAEL D    14650 COOPER ST                                                                            TAYLOR          MI   48180‐4674
SPANGLER, MICHELLE M   2304 CHAPARREL DR                                                                          JANESVILLE      WI   53546‐3139
SPANGLER, MILDRED M    509 MARBY RD                                                                               LEHIGH ACRES    FL   33936‐7508
SPANGLER, NADINE C     1002 FARRINGTON DR                                                                         KNOXVILLE       TN   37923‐6813
SPANGLER, NANCY L      1310 LEISURE DR                                                                            FLINT           MI   48507‐4054
SPANGLER, NANCY L      203 MARCY AVE                                                                              PENDLETON       IN   46064‐8805
SPANGLER, NAOMI        5967 106TH TER                                                                             PINELLAS PARK   FL   33782‐2611
SPANGLER, NAOMI        5967 106TH TERRACE                                                                         PINELLAS PARK   FL   33782
SPANGLER, PARKER G     24330 TROMBLEY                                                                             MOUNT CLEMENS   MI   48045
SPANGLER, PATTY L      253 QUITMAN ST                                                                             DAYTON          OH   45410‐1521
SPANGLER, RICHARD A    824 S MAIN ST                                                                              BRYAN           OH   43506‐2171
SPANGLER, RICHARD L    3924 CLOVERDALE ROAD                                                                       MEDWAY          OH   45341‐8727
SPANGLER, ROBERT A     7643 BROOKMILL RD                                                                          DOWNEY          CA   90241‐4637
SPANGLER, ROBERT A     16848 LOWE RD                                                                              HUDSON          MI   49247
SPANGLER, ROBERT B     253 QUITMAN ST                                                                             DAYTON          OH   45410‐1521
SPANGLER, ROBERT C     406 E 31ST ST                                                                              ANDERSON        IN   46016‐5327
SPANGLER, ROBERT D     451 N GRANT AVE                                                                            JANESVILLE      WI   53548‐3431
SPANGLER, ROBERT E     7055 JAMIE DR                                                                              MC BAIN         MI   49657‐9685
SPANGLER, ROBERT J     101 W PERRY ST                                                                             DURAND          MI   48429‐1637
SPANGLER, ROBERT M     2609 HEIGHTS AVE                                                                           LANSING         MI   48912‐4525
SPANGLER, ROBIN        SCHIFFMAN & WOJDOWSKI ATTORNEYS AT 1300 5TH AVE                                            PITTSBURGH      PA   15219‐6270
                       LAW
SPANGLER, ROGER L      4832 78TH ST E                                                                             BRADENTON       FL   34203‐7981
SPANGLER, RONALD F     6576 W GOOSE LAKE RD I                                                                     LAKE CITY       MI   49651
SPANGLER, RONALD G     369 HOLLOWAY LN                                                                            BIG SANDY       TX   75755‐5298
SPANGLER, SCOTT A      1522 ADDIS RD                                                                              HOLLY           MI   48442‐8312
SPANGLER, SCOTT ALAN   1522 ADDIS RD                                                                              HOLLY           MI   48442‐8312
SPANGLER, SHIRLEY E    3590 ROUND BOTTOM RD               SUITE 115093                                            CINCINNATI      OH   45244
SPANGLER, SHIRLEY I    7055 JAMIE DR                                                                              MC BAIN         MI   49657‐9685
SPANGLER, SUE A        3328 NORTON RD                                                                             HOWELL          MI   48843‐7936
SPANGLER, TIMOTHY D    5461 NARDELLO AVE                                                                          SPRING HILL     FL   34608‐1252
SPANGLER, TIMOTHY J    8081 W 200 S                                                                               YORKTOWN        IN   47396
SPANGLER, TIMOTHY R    1305 TYLER ST                                                                              JANESVILLE      WI   53545‐4936
SPANGLER, TINA         4348 LOUELLA DR                                                                            WATERFORD       MI   48329
SPANGLER, TRACI A      900 GEORGE ST                                                                              SHARON          PA   16146‐2908
SPANGLER, VICKI S      KIMMEL & SILVERMAN                 30 E BUTLER AVE                                         AMBLER          PA   19002‐4514
SPANGLER, WALTER F     2131 ROYAL OAK AVE                                                                         DEFIANCE        OH   43512‐3527
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Name                                 Address1                         Address2                  Address3       Address4         City               State Zip
SPANGLER, WARREN R                   26 RR 2                                                                                    JANESVILLE          WI 53546
SPANGLER, WILLIAM H                  28 CASTLE RUN DR                                                                           BEAR                DE 19701‐1417
SPANGUS, PETER                       3252 COBB RD                                                                               BOYNE FALLS         MI 49713‐9659
SPANIAL'S                            45 W ORVILLA RD                                                                            HATFIELD            PA 19440‐3644
SPANIER SHLOMO                       4 TRUMAN AVE                                                                               LAKEWOOD            NJ 08701‐5662
SPANIK, PAUL G                       1347 S RIVERVIEW DR                                                                        GARDNERVILLE        NV 89460
SPANIOL SR, VERNON E                 97 DEPOT ST                                                                                W JEFFERSON         OH 43162‐1217
SPANIOL, DANIELLE
SPANIOL, JOHN A                      2765 HICKORY MILL DR                                                                       HILLIARD           OH 43026‐9782
SPANIOLA, ARTHUR F                   15405 PEBBLE POINTE DR                                                                     CLINTON TWP        MI 48038‐5130
SPANIOLA, JAMES W                    1472 LOG CABIN PT                                                                          FENTON             MI 48430‐1105
SPANISH GOVERNMENT ‐ MINISTERIO DE
CIENCIA Y TECNOLOG═A
SPANISH III, JOHNNY                  11149 ARISTIDES WAY                                                                        JACKSONVILLE       FL   32218
SPANISH, ELIZABETH                   26300 FORD RD                    # 176                                                     DEARBORN HEIGHTS   MI   48127
SPANISH, MATTHEW P                   5204 CLEVELAND AVE                                                                         NEWTON FALLS       OH   44444‐1822
SPANISH, SANDRA                      26042 FRANKLIN POINTE DR                                                                   SOUTHFIELD         MI   48034‐1563
SPANJA, DAVID A                      410 THOMAS LN                                                                              GIRARD             OH   44420‐1129
SPANJER, DARLENE M                   741 CRICKLEWOOD ST SW                                                                      WYOMING            MI   49509‐2919
SPANJER, DAVID A                     741 CRICKLEWOOD ST SW                                                                      WYOMING            MI   49509‐2919
SPANJER, JAMES R                     4360 CROOKED TREE RD SW                                                                    WYOMING            MI   49519
SPANKE, MARGARET L                   7369 YORKSHIRE BLVD N CU                                                                   INDIANAPOLIS       IN   46229
SPANKE, MARIE L                      20836 LEFEVER                                                                              WARREN             MI   48091‐4633
SPANKE, MARIE L                      20836 LE FEVER AVE                                                                         WARREN             MI   48091‐4633
SPANKE, MICHAEL H                    2165 IMLAY CITY RD                                                                         LAPEER             MI   48446‐3261
SPANKE, MICHAEL J                    8630 VENTANA DR UNIT 3906                                                                  OAK CREEK          WI   53154‐8329
SPANKOWSKI, JOSEPH A                 29200 MANOR DR                                                                             WATERFORD          WI   53185‐1171
SPANN LIONA                          SPANN, LIONA                     4418 PARRISH STREET                                       PHILADELPHIA       PA   19104‐1352
SPANN, ALTON                         WEITZ & LUXENBERG                180 MAIDEN LANE                                           NEW YORK           NY   10038
SPANN, ANDRE                         9172 EDNA ST                                                                               SAINT LOUIS        MO   63137‐1106
SPANN, BEVERLY J                     23411 W 8 MILE RD APT 107                                                                  DETROIT            MI   48219‐1174
SPANN, BEVERLY J                     23411 W EIGHT MILE               APT 107                                                   DETROIT            MI   48219
SPANN, CALVIN                        1039 W 97TH ST                                                                             CHICAGO            IL   60643‐1578
SPANN, CHRIS R                       14777 MCCULLEY MILL RD                                                                     ATHENS             AL   35613‐7703
SPANN, DELILIA                       217 GAGE ST                                                                                PONTIAC            MI   48342‐1640
SPANN, GLORIA H                      82 N ARDMORE ST                                                                            PONTIAC            MI   48342‐2702
SPANN, HERBERT                       185 BERKELEY TER                                                                           PLAINFIELD         NJ   07062‐1516
SPANN, J H                           1509 HERSCHELL AVE                                                                         INDIANAPOLIS       IN   46202‐1035
SPANN, J H                           309 E HACKLEY AVENUE                                                                       MUSKEEGON          MI   49444
SPANN, JAMES K                       7181 HAZELWOOD LN                                                                          SAINT LOUIS        MO   63130‐1809
SPANN, JAMES L                       3877 BEECHCREST                                                                            ROCHESTER HILLS    MI   48309‐3595
SPANN, JAMES P                       7410 DARIEN LN                                                                             DARIEN             IL   60561‐4109
SPANN, JANET M                       11690 EAST 13 MILE ROAD                                                                    WARREN             MI   48093‐3009
SPANN, JERRY T                       1061 WATKINS CREEK DR                                                                      FRANKLIN           TN   37067‐7830
SPANN, JESSIE L                      APT 107                          23411 WEST 8 MILE ROAD                                    DETROIT            MI   48219‐1174
SPANN, JOHN F                        1552 S 10 W                                                                                BRINGHURST         IN   46913‐8220
SPANN, JOHNNIE W                     LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                   MIAMI              FL   33143‐5163
SPANN, JUDY H                        PO BOX 310902                                                                              FLINT              MI   48531‐0902
SPANN, JUDY HUSSEY                   PO BOX 310902                                                                              FLINT              MI   48531‐0902
SPANN, KAREN R                       4418 CHILDS HWY                                                                            HUDSON             MI   49247‐9744
SPANN, KENNETH R                     15452 MARLOWE STREET                                                                       DETROIT            MI   48227‐2955
SPANN, LAWRENCE C                    7212 CREEKSIDE LN                                                                          INDIANAPOLIS       IN   46250‐2826
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Name                   Address1                         Address2                  Address3    Address4         City            State Zip
SPANN, LEE A           5916 GIFFORD ST                                                                         INDIANAPOLIS     IN 46228‐1281
SPANN, LIONA           4418 PARRISH ST                                                                         PHILADELPHIA     PA 19104‐1352
SPANN, LOUISE E        PO BOX 431091                                                                           PONTIAC          MI 48343‐1091
SPANN, LOUISE E        P O BOX 431091                                                                          PONTIAC          MI 48343‐1091
SPANN, MICHAEL J       541 AVENUE C                                                                            REDONDO BEACH    CA 90277‐4837
SPANN, MICHAEL J       214 MAIN STREET #325                                                                    EL SEGUNDO       CA 90245
SPANN, MICHAEL OZZIE   MOODY EDWARD O                   801 W 4TH ST                                           LITTLE ROCK      AR 72201‐2107
SPANN, RACHEL D        12455 W JANESVILLE RD UNIT 226                                                          MUSKEGO          WI 53150‐2956
SPANN, RANDOLPH T      1378 WICHATA ST                                                                         ATLANTA          GA 30311
SPANN, ROBERT L        PO BOX 394                                                                              PINE             CO 80470‐0394
SPANN, ROBERT L        16687 OURAY RD W                                                                        PINE             CO 80470‐9012
SPANN, SHERON A        616 KIRKLEY DR                                                                          JACKSON          MS 39206‐3831
SPANN, SYLVIA          4752 OLD SHELL RD                                                                       MOBILE           AL 36608‐2333
SPANN, THOMAS C        3511 ELM AVE UNIT 408                                                                   LONG BEACH       CA 90807‐3922
SPANN, THOMAS G        2519 BURCHARD DR                                                                        SAINT LOUIS      MO 63136‐5832
SPANN, TROY            MOODY EDWARD O                   801 W 4TH ST                                           LITTLE ROCK      AR 72201‐2107
SPANN, WALTER M        12455 W JANESVILLE RD UNIT 226                                                          MUSKEGO          WI 53150‐2956
SPANN, WILLIE          LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                MIAMI            FL 33143‐5163
SPANN‐WADE, MONIQUE    16363 CHAMPION DR                                                                       CHESTERFIELD     MO 63005‐5405
SPANNAGEL, GERALD C    13600 FOWLER RD                                                                         CHESANING        MI 48616‐9523
SPANNAGEL, JACOB J     5091 KENCLIFF DR                                                                        SAGINAW          MI 48638‐6105
SPANNAGEL, JACOB J     5091 KEN CLIFF DR                                                                       SAGINAW          MI 48603
SPANNAGEL, JAMES H     4644 W GILFORD RD                                                                       FAIRGROVE        MI 48733‐9513
SPANNAGEL, JANET S     2960 GUAVA CT                                                                           MIDDLEBURG       FL 32068‐6228
SPANNAGEL, MICHAEL D   5361 FRENCH RD                                                                          UNIONVILLE       MI 48767
SPANNAGEL, ROBERT C    10424 S GRAHAM M 52                                                                     SAINT CHARLES    MI 48655
SPANNAGEL, WILLIAM G   432 W BELLE AVE                                                                         SAINT CHARLES    MI 48655‐1610
SPANNUTH, VIRGINIA N   1951 HARVEST WAY                                                                        LOGANVILLE       GA 30052‐4491
SPANO JOSEPH K         DBA SPANO INVESTMENTS            PO BOX 5153                                            COLUMBUS         GA 31906‐0153
SPANO KIMBERLEY        SPANO, COLTEN                    4809 COLE AVE STE 212                                  DALLAS           TX 75205‐5598
SPANO KIMBERLEY        SPANO, DON                       4809 COLE AVE STE 212                                  DALLAS           TX 75205‐5598
SPANO KIMBERLEY        SPANO, KIMBERLEY                 4809 COLE AVE STE 212                                  DALLAS           TX 75205‐5598
SPANO, ANTOINETTE      23766 ALMOND                                                                            EAST DETROIT     MI 48021‐1907
SPANO, COLTEN          MCELROY B THOMAS                 3333 LEE PKWY STE 500                                  DALLAS           TX 75219‐5117
SPANO, COLTEN          PO BOX 431                                                                              BULLARD          TX 75757‐0431
SPANO, DOMENICO        5032 SE 108TH ST                 C/O VILLAS OF BELLEVIEW                                BELLEVIEW        FL 34420‐8310
SPANO, DON             MCELROY B THOMAS                 3333 LEE PKWY STE 500                                  DALLAS           TX 75219‐5117
SPANO, DOROTHY M       33328 STONER DRIVE                                                                      STERLING HTS.    MI 48312
SPANO, GASPARE J       23766 ALMOND AVE                                                                        EAST DETROIT     MI 48021‐1907
SPANO, GERTRUDE M      14926 32ND AVE                                                                          FLUSHING         NY 11354‐3226
SPANO, JACQUELINE C    434 FLETCHER STREET                                                                     TONAWANDA        NY 14150‐1932
SPANO, JOANN           64 SHADYWOOD DR                                                                         ROCHESTER        NY 14606‐4940
SPANO, KIMBERLEY       MCELROY B THOMAS                 4809 COLE AVE STE 212                                  DALLAS           TX 75205‐5598
SPANO, KIMBERLY        PO BOX 431                                                                              BULLARD          TX 75757‐0431
SPANO, LARRY M         4183 PALMYRA RD SW                                                                      WARREN           OH 44481‐9709
SPANO, LENA A          97 CENTRAL SCHOOL HOUSE LANE                                                            CARNEYS POINT    NJ 08069‐3163
SPANO, LOUIS A         7 KILBEGGAN GRN                                                                         BALTIMORE        MD 21236‐2251
SPANO, PATRICIA A      8215 W BEAUBIEN DR                                                                      PEORIA           AZ 85382‐3469
SPANO, RICHARD H       7 RED LEAF DR                                                                           ROCHESTER        NY 14624‐3803
SPANO, VITO            1083 AVENUE C                                                                           BAYONNE          NJ 07002‐3345
SPANOPOULOS, GEORGE    12546 12 MILE RD                                                                        SOUTH LYON       MI 48178‐9118
SPANOPOULOS, KAREN     15370 YELLOWSTONE DR                                                                    MACOMB           MI 48042‐5648
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Name                                   Address1                         Address2              Address3         Address4               City               State Zip
SPANOPOULOS, MARY                      12546 12 MILE RD                                                                               SOUTH LYON          MI 48178‐9118
SPANOS, KEVIN D                        2565 S WAYNE RD                                                                                WESTLAND            MI 48186‐5469
SPANOS, KEVIN DANIEL                   2565 S WAYNE RD APT 14                                                                         WESTLAND            MI 48186
SPANOS, THELMA                         41942 ETHEL DR                                                                                 ELYRIA              OH 44035‐7570
SPANOS, TOMMY A                        41942 ETHEL DR                                                                                 ELYRIA              OH 44035‐7570
SPANSKE, BERNICE                       7392 HOLLOW CORNER ROAD                                                                        ALMONT              MI 48003‐8011
SPANSKI, EUGENE V                      743 WOODCHESTER DR                                                                             BLOOMFIELD HILLS    MI 48304‐1969
SPANSKI, LUARA                         3395 SUMMIT TRL                                                                                CUMMING             GA 30041‐6693
SPANTON, WILLIAM J                     42 BRIGHTON AVE                                                                                KEARNY              NJ 07032‐2008
SPANYER, ANN M                         12205 BIG BEAR PL                                                                              LOUISVILLE          KY 40299‐4499
SPANYER, DAVID V                       240 E LOWRY LN                                                                                 LEXINGTON           KY 40503‐2615
SPAR GROUP INC                         DATABASE MARKETING               1791 HARMON RD                                                AUBURN HILLS        MI 48326‐1577
SPARA, PATRICIA A                      787 HENRY ST                                                                                   AIKEN               SC 29803‐7417
SPARACELLO, ROBERT V                   25073 MEMORY LN                                                                                PONCHATOULA         LA 70454‐5503
SPARACINO, DORIS E                     PO BOX 163                                                                                     E OTTO              NY 14729
SPARACINO, FRANCES K                   1952 DODGE N.W.                                                                                WARREN              OH 44485‐1416
SPARACINO, FRANCES K                   1952 DODGE DR NW                                                                               WARREN              OH 44485‐1416
SPARACINO, GEORGE                      1973 OAKDALE DR NW                                                                             WARREN              OH 44485‐1435
SPARACINO, JOHN K                      66 SUMMER ST APT 5F              MAYFLOWER APTS.                                               BUFFALO             NY 14209‐2251
SPARACINO, TERANCE A                   22 JACKIE DR                                                                                   ROCHESTER           NY 14612‐3610
SPARACO, MICHAEL                       1352 RENSLAR AVE                                                                               DAYTON              OH 45432‐3131
SPARACO, OPAL L                        11427 CLYDE PLACE VIVIAN RD.                                                                   OIL CITY            LA 71061‐9694
SPARACO, R                             68 WINDWARD DR                                                                                 BARNEGAT            NJ 08005‐1851
SPARADEO, JODIE M                      25 JAMES CIR                                                                                   MASHPEE             MA 02649‐4917
SPARADEO, JODIE M                      25 JAMES CIRCLE                                                                                MASHPEE             MA 02649‐4917
SPARAGA, THOMAS H                      604 CHARING CROSS DR                                                                           GRAND BLANC         MI 48439‐1555
SPARAGNA & SPARAGNA                    PO BOX 371300                                                                                  RESEDA              CA 91337‐1300
SPARBY, ARLENE E                       N3561 MARK AVE                                                                                 MONTELLO            WI 53949‐8556
SPARBY, ARLENE E                       N 3561 MARK AVE.                                                                               MONTELLO            WI 53949‐8556
SPARBY, ROBERT W                       6220 W COUNTY ROAD A                                                                           JANESVILLE          WI 53548‐9454
SPARCO, S.P.A.                         VIA O. ANTINORI 6                                                       10128 TORINO, ITALY
SPARE, BERT W                          PO BOX 4013                                                                                    SUN VALLEY         AZ 86029‐4013
SPARE, DAVID A                         3913 CAMBRIDGE CT                                                                              CULLEOKA           TN 38451‐2081
SPARE, WALTER L                        8194 BROOK DR                                                                                  FLUSHING           MI 48433‐8893
SPAREKASSEN FAABORG A/S                PLESNER                          AMERIKA PLADS 37                       0 COPENHAGEN DENMARK
SPARGO TRANSPORT CO INC                PO BOX 5086                                                                                    SYRACUSE           NY 13220‐5086
SPARHAWK, IRENE L                      205 N LAKESHORE BLVD STE 2E                                                                    MARQUETTE          MI 49855‐4369
SPARIOSU, SYLVIA                       326 N DOVER CT                                                                                 HEATHROW           FL 32746‐4325
SPARK AUTO REPAIR LTD                  UNIT 109 8363 128TH STREET                                              SURREY BC V3R 8P6
                                                                                                               CANADA
SPARK'S CAR CARE                       32627 PACIFIC HWY S                                                                            FEDERAL WAY        WA   98003‐6403
SPARK, ALLAN L                         1 PLEASANT DR                                                                                  MONESSEN           PA   15062‐2518
SPARK, DONALD                          13160 RIDGE RD                                                                                 N HUNTINGDON       PA   15642‐2159
SPARK, JACQUELINE M                    564 RIVERWALK                                                                                  YOUNGSTOWN         NY   14174‐9696
SPARKASSE KUFSTEIN TRIOLER SPARKASSE   OBERER STADTPLATZ 1              A‐6330 KUFSTEIN                                               KUFSTEIN                6330
VON
SPARKE, CARL F                         1824 LAKEWOOD AVE                                                                              ALBERT LEA         MN   56007‐2196
SPARKE, JIM                            32 KENTON LANDS RD                                                                             ERLANGER           KY   41018‐1834
SPARKES, IDA J                         13473 NEFF RD                                                                                  CLIO               MI   48420‐8817
SPARKES, MILDRED                       616 E GRAND RIVER RD                                                                           LAINGSBURG         MI   48848‐8705
SPARKIA, BERNICE A                     3040 E CLINTON TRL                                                                             CHARLOTTE          MI   48813‐9504
SPARKILL EAST SIDE AUTOMOTIVE          590 WASHINGTON ST                                                                              SPARKILL           NY   10976‐1239
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Name                           Address1                          Address2                         Address3   Address4         City           State Zip
SPARKLE MC FARLAND             186 FOLLY ST                                                                                   WINDER          GA 30680‐2213
SPARKLE WATERS                 609 E PULASKI AVE                                                                              FLINT           MI 48505‐3382
SPARKLETTS                                                       221 E ALONDRA BLVD                                                           CA 90248
SPARKLETTS & SIERRA SPRINGS    PO BOX 660579                                                                                  DALLAS          TX 75266‐0579
SPARKLIN, ROBERT C             601 NORTH AVE                                                                                  HILTON          NY 14468‐9151
SPARKLIN, STEPHEN R            89 PAYNE BEACH ROAD                                                                            HILTON          NY 14468‐9528
SPARKLING CLEAN COIN LAUNDRY   5703 CHEVROLET BLVD                                                                            CLEVELAND       OH 44130‐1414
SPARKLING IMAGE CARWASH        6604 E 82ND ST                                                                                 INDIANAPOLIS    IN 46250‐3520
SPARKMAN CHEVROLET, LLC        MICHAEL SPARKMAN                  1475 W MAIN ST                                               BARTOW          FL 33830‐4316
SPARKMAN JR, JOHN W            11530 E PLEASANT LAKE RD                                                                       MANCHESTER      MI 48158‐9569
SPARKMAN JR, JOHN WESLEY       11530 E PLEASANT LAKE RD                                                                       MANCHESTER      MI 48158‐9569
SPARKMAN, ADRIENNE JEAN        LEE BROWN @ BROWN SAWICKI &       5716 CARUTH HAVEN LN APT 324                                 DALLAS          TX 75206
                               MITCHELL
SPARKMAN, AUDREY ANN
SPARKMAN, CARL D               802 UPPER CANE CREEK RD                                                                        STANTON        KY    40380‐9090
SPARKMAN, CLINTON E            7020 S JEFFERY BLVD                                                                            CHICAGO        IL    60649
SPARKMAN, DALE R               13361 CARIBBEAN BLVD                                                                           FORT MYERS     FL    33905‐2032
SPARKMAN, DONALD P             3657 FLORETTA ST                                                                               CLARKSTON      MI    48346‐4019
SPARKMAN, DORETHA              8219 MARLOWE ST                                                                                DETROIT        MI    48228‐2429
SPARKMAN, EDNA                 2264 STOWELL RD                                                                                TURNER         MI    48765‐9765
SPARKMAN, EDNA                 2264 STOWELL ROAD                                                                              TURNER         MI    48765‐9765
SPARKMAN, EDWARD               800 PONCE DE LEON BLVD                                                                         BELLEAIR       FL    33756‐1534
SPARKMAN, EDWIN P              1102 TOWANDA TRL                                                                               ATHENS         TN    37303‐2352
SPARKMAN, IMOGENE W            18226 FARM56                                                                                   KOPPERL        TX    76652
SPARKMAN, IRENE E              2173 S CENTER RD #236                                                                          BURTON         MI    48519‐1807
SPARKMAN, IRENE E              APT 231                           2173 SOUTH CENTER ROAD                                       BURTON         MI    48519‐1806
SPARKMAN, JOSEPH               1142 WENBROOK DR                                                                               KETTERING      OH    45429‐4421
SPARKMAN, LARRY
SPARKMAN, LARRY R              520 ROCKY FORD RD                                                                              HARTSELLE      AL    35640‐6727
SPARKMAN, MARCUS               PO BOX 44                                                                                      PIPPA PASSES   KY    41844‐0044
SPARKMAN, MICHAEL A            1106 S MISSOURI AVE APT 105                                                                    CLEARWATER     FL    33756‐9143
SPARKMAN, OLGA                 824 S 50TH ST                                                                                  BALTIMORE      MD    21222‐1229
SPARKMAN, PAULA E              7912 DUNDALK AVENUE                                                                            DUNDALK        MD    21222‐6035
SPARKMAN, PEGGY J              510 RENEE DRIVE                                                                                EULESS         TX    76040‐4997
SPARKMAN, PEGGY J              510 RENEE DR                                                                                   EULESS         TX    76040‐4997
SPARKMAN, RANDALL C            7912 DUNDALK AVE                                                                               DUNDALK        MD    21222‐8035
SPARKMAN, SALLY H
SPARKMAN, SAMUEL H             1903 UTE ST                                                                                    ATHENS         TN 37303‐2372
SPARKMAN, STEPHEN PAUL
SPARKMAN, STEPHEN R            BROWN SAWICKI & MITCHELL          4040 N CENTRAL EXPY              STE 850                     DALLAS          TX   75204‐3227
SPARKMAN, STEPHEN R            ROTH LAW FIRM                     P O BOX 876 ‐ 115 NORTH                                      MARSHALL        TX   75671
                                                                 WELLINGTON ‐ SUITE 200 STE 200
SPARKMAN, VELLA M              16440 PLAINFIELD RD.                                                                           STOCKBRIDGE    MI    49285‐9603
SPARKMAN, VELMA G              6644 BUCK ST                                                                                   TAYLOR         MI    48180‐1625
SPARKMAN, VIRGIL R             104 JOE PRINCE DR                                                                              ATHENS         TX    75751‐2812
SPARKMAN, WAYNE G              5905 LANWAY RD                                                                                 CLIFFORD       MI    48727‐9517
SPARKMAN, WILLIAM R            PO BOX 344                                                                                     CONCORD        AR    72523‐0344
SPARKMAN‐SARTELL, NORMA J      6667 ANDERSONVILLE RD                                                                          CLARKSTON      MI    48346‐2701
SPARKMON, MARGARET L           122 WELCOME WAY BLVD, W. DR.,     APT 104B, BLDG #1                                            INDIANAPOLIS   IN    46214‐3083
SPARKPLUG INC                  7575 E REDFIELD RD STE 137                                                                     SCOTTSDALE     AZ    85260‐2999
SPARKPLUG SOUTHEST LLC         7575 E REDFIELD RD STE 137                                                                     SCOTTSDALE     AZ    85260‐2999
SPARKS ALMA                    104 GIBSON DR                                                                                  HURRICANE      WV    25526‐9319
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Name                           Address1                        Address2                         Address3         Address4         City              State Zip
SPARKS BELTING CO              3800 STAHL DR SE                PO BOX 2647                                                        GRAND RAPIDS       MI 49546‐6148
SPARKS CAR CARE                6303 W CAPITOL DR                                                                                  MILWAUKEE          WI 53216‐2123
SPARKS COMPUTERIZED CAR        4606 S 84TH ST                                                                                     OMAHA              NE 68127‐1713
SPARKS COMPUTERIZED CAR CARE   286 LEBANON ST                                                                                     MELROSE            MA 02176‐5530
SPARKS COMPUTERIZED CAR CARE   1310 39TH AVE W                                                                                    BRADENTON          FL 34205‐6000
SPARKS CONSTABLE               ACCT OF KIP YOUNG               630 GREENBRAE DR                                                   SPARKS             NV 89431‐3139
SPARKS DEMARCUS                SPARKS, DEMARCUS                ROBERTA ROSENBAUM                7171 N.FEDERAL                    BOCA RATON         FL 33487
SPARKS DERRICK                 1625 ELDERBERRY CT                                                                                 MANSFIELD          OH 44907‐2883
SPARKS EDWARD C (404271)       ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                                NEW YORK           NY 10006‐1638
SPARKS EVAN                    75609 HIGHWAY 1077                                                                                 COVINGTON          LA 70435‐0650
SPARKS I I, JOHN D             5936 FAIRHAM RD                                                                                    HAMILTON           OH 45011‐2037
SPARKS II, JOHN D              5936 FAIRHAM RD                                                                                    HAMILTON           OH 45011‐2037
SPARKS II,JOHN D               5936 FAIRHAM RD                                                                                    HAMILTON           OH 45011‐2037
SPARKS JACK (347064)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA 23510
                                                               STREET, SUITE 600
SPARKS JAMES                   1700 W JONQUIL AVE                                                                                 MCALLEN           TX    78501‐3809
SPARKS JR, CHARLES E           1815 S ELBA RD                                                                                     LAPEER            MI    48446‐9787
SPARKS JR, DANIEL T            22 VICTORIA FALLS WAY                                                                              ST AUGUSTINE      FL    32092‐2901
SPARKS JR, HENSLEY C           PO BOX 34                                                                                          BUCKHORN          KY    41721‐0034
SPARKS JR, LEONARD             2312 FAUVER AVENUE                                                                                 DAYTON            OH    45420‐5420
SPARKS JR, MELVIN              4233 SANDRIDGE DR                                                                                  OKEMOS            MI    48864‐3306
SPARKS JR, WILLARD A           2031 WALNUT ST                                                                                     SAGINAW           MI    48601‐2032
SPARKS ROBERT                  1533 ROAMONT DR                                                                                    DAYTON            OH    45459‐3361
SPARKS ROBY (464297)           KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                      CLEVELAND         OH    44114
                                                               BOND COURT BUILDING
SPARKS SAM                     C/O SRS FARMS                   NEED BETTER ADDRESS 11/14/06CP   RR BOX 164                        MERCEDES           TX   78570

SPARKS SONYA                   1734 QUAIL RIDGE DR                                                                                GARDENDALE        AL 35071‐2802
SPARKS SUSAN                   297 SHADY COVE DR                                                                                  SUNNYVALE         TX 75182‐2641
SPARKS THOMAS C (429851)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA 23510
                                                               STREET, SUITE 600
SPARKS TYRONE                  SPARKS, TYRONE                  2312 GOLDEN CAMP RD                                                AUGUSTA           GA    30906‐2912
SPARKS, ADRIAN D               135 MAPLE AVE                                                                                      CLAIRTON          PA    15025‐1834
SPARKS, AILEEN                 5660 CHESAPEAKE WAY                                                                                FAIRFIELD         OH    45014
SPARKS, ALBERT E               5388 SMITH RD                                                                                      GLENNIE           MI    48737‐9795
SPARKS, ALBERTA R              2801 SOUTH STONE ROAD           LOT #149                                                           MARION            IN    46953
SPARKS, ALICE A                250 LOKEY LANE                                                                                     WILSONVILLE       AL    35186‐7307
SPARKS, ALICE A                250 LOKEY LN                                                                                       WILSONVILLE       AL    35186‐7307
SPARKS, ALVIN L                4147 W FAIRVIEW RD                                                                                 GREENWOOD         IN    46142‐7762
SPARKS, ANDREA M               1379 WILLOW WALK PARKWAY                                                                           ELWOOD            IN    46036‐1393
SPARKS, ANGELA                 9071 E 100 N                                                                                       GREENTOWN         IN    46936‐8868
SPARKS, ANGELA A               10615 KENDIG RD                                                                                    NEW CARLISLE      OH    45344‐9717
SPARKS, ANNABELL               202 SECOND AVE                                                                                     GALION            OH    44833‐2808
SPARKS, ANTHA C                174 WHALEY ROAD                                                                                    NEW CARLISLE      OH    45344‐9730
SPARKS, ANTHA C                174 WHALEY RD                                                                                      NEW CARLISLE      OH    45344‐9730
SPARKS, ARLENE J               1100EAST OSBORN RD. APT3 254                                                                       PHOENIX           AZ    85014
SPARKS, ARTHUR R               1605 S VAL VISTA RD                                                                                APACHE JUNCTION   AZ    85219‐9327
SPARKS, AUBREY F               44 LAKE ST                                                                                         PONTIAC           MI    48341‐2120
SPARKS, AUDREY J               13579 SHAW RD                                                                                      ATHENS            AL    35611‐7710
SPARKS, AUDREY V               936 COUNTY RD #352                                                                                 TRINITY           AL    35673
SPARKS, BARBARA A              966 RICHARD DR                                                                                     XENIA             OH    45385‐2531
SPARKS, BARBARA A              735 FAIRWOOD BLVD                                                                                  ELYRIA            OH    44035‐1805
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Name                     Address1                      Address2              Address3         Address4         City               State Zip
SPARKS, BELBY            26921 COOK RD                                                                         OLMSTED FALLS       OH 44138‐1180
SPARKS, BENJAMIN E       401 W LIBERTY ST                                                                      SOUTH LYON          MI 48178‐1342
SPARKS, BENJAMIN E.      401 W LIBERTY ST                                                                      SOUTH LYON          MI 48178‐1342
SPARKS, BERKLEY C        712 PREMIER PL                                                                        GRAPEVINE           TX 76051‐5711
SPARKS, BERKLEY C.       712 PREMIER PL                                                                        GRAPEVINE           TX 76051‐5711
SPARKS, BETTY            16 WILFRED ST                                                                         MONTCLAIR           NJ 07042‐1644
SPARKS, BETTY J          15975 NEW GUINEA RD                                                                   HOLLEY              NY 14470‐9716
SPARKS, BEVERLY J        1030 CLIFF WHITE RD                                                                   COLUMBIA            TN 38401‐6758
SPARKS, BEVERLY J        1573 175TH AVE                ROUTE 2                                                 MORLEY              MI 49336‐9090
SPARKS, BEVERLY J        2714 DUNSTAN DRIVE NW                                                                 WARREN              OH 44485‐4485
SPARKS, BILLY D          211 CEDAR ST                                                                          MANSFIELD           TX 76063‐1810
SPARKS, BOB W            3431 REDWOOD RD                                                                       ANDERSON            IN 46011‐3840
SPARKS, BOBBY G          148 W ELM RD                                                                          MEDWAY              OH 45341‐1360
SPARKS, BOBBY G          148 ELM RD                                                                            MEDWAY              OH 45341‐1360
SPARKS, BOBBY J          3415 SE 89TH ST                                                                       OKLAHOMA CITY       OK 73135‐6218
SPARKS, BONNIE F         2560 KING RD                                                                          SAGINAW             MI 48601‐7310
SPARKS, BONNIE L         1005 OAK DALE DRIVE                                                                   XENIA               OH 45385‐1427
SPARKS, BONNIE R         219 W STRATHMORE                                                                      PONTIAC             MI 48340‐2779
SPARKS, BONNIE V         4046 HEARTHSTONE CT                                                                   CINCINNATI          OH 45245‐2007
SPARKS, BONSAL B         9405 JESSICA DR                                                                       SHREVEPORT          LA 71106‐7305
SPARKS, BRADLEY S        8330 MANCHESTER PARK DR                                                               EAST AMHERST        NY 14051
SPARKS, BRENDA C         1311 SOUTH OVERLAND DRIVE                                                             LENNON              MI 48449‐9673
SPARKS, BRUCE D          1012 TOWERVIEW ST SW                                                                  DECATUR             AL 35601‐6263
SPARKS, BURRELL G        3781 GROVE ST NE                                                                      CANTON              OH 44721‐3014
SPARKS, CALVIN           30692 CREST FOREST                                                                    FARMINGTN HLS       MI 48331‐1066
SPARKS, CAROL J.         4734 HALEY WAY                                                                        GROVE CITY          OH 43123‐8278
SPARKS, CAROLYN          113 CHRISTIAN ST                                                                      CORBIN              KY 40701
SPARKS, CAROLYN W        107 WOODLYNN DR                                                                       CHARLOTTE           NC 28214‐1325
SPARKS, CATHALEE         5845 HANSON DRIVE                                                                     WATAUGA             TX 76148‐3542
SPARKS, CHARLES E        10229 PRIMROSE DR                                                                     DAVISON             MI 48423‐7909
SPARKS, CHARLES EDWARD   10229 PRIMROSE DR                                                                     DAVISON             MI 48423‐7909
SPARKS, CHARLES R        2240 2ND ST                                                                           WESTLAND            MI 48186‐9747
SPARKS, CHARLES T        373 S BICKETT RD                                                                      XENIA               OH 45385‐9608
SPARKS, CHRISTINA L      759 W GLASS RD                                                                        ORTONVILLE          MI 48462
SPARKS, CINDY L          720 ARCADIA BLVD                                                                      ENGLEWOOD           OH 45322‐1839
SPARKS, CLAUDE R         803 ESSEX DR                                                                          LEBANON             IN 46052‐1695
SPARKS, CLEO             30692 CREST FRST                                                                      FARMINGTON HILLS    MI 48331‐1066
SPARKS, CLEO             30692 CREST FOREST                                                                    FARMINGTON HILLS    MI 48331
SPARKS, CLYDE            301 W DECATUR ST                                                                      EATON               OH 45320‐1602
SPARKS, COREY A          20214 WARD ST                                                                         DETROIT             MI 48235‐1141
SPARKS, CYNTHIA D        3008 BLACKHAWK RD                                                                     KETTERING           OH 45420‐3810
SPARKS, CYNTHIA D        9311 WEST OUTER DRIVE                                                                 DETROIT             MI 48219‐4059
SPARKS, CYNTHIA L        7309 BUTT RD                                                                          FORT WAYNE          IN 46818‐9431
SPARKS, DALLAS           9345 BRISTOL RD                                                                       SWARTZ CREEK        MI 48473‐8559
SPARKS, DANIEL J         6237 DARLENE AVE                                                                      BURTON              MI 48519‐1331
SPARKS, DANIEL L         1390 JACKSON DR                                                                       OWOSSO              MI 48867‐1992
SPARKS, DARRIN L         1522 BOWMAN DR                                                                        XENIA               OH 45385‐3804
SPARKS, DAVID            3650 DAKOTA AVE                                                                       WOODBURY            MN 55125‐5016
SPARKS, DAVID C          14626 LOMA AVE                                                                        SPRING HILL         FL 34610‐3855
SPARKS, DAVID R          505 VISAGE DR                                                                         HAMPTON             GA 30228‐3092
SPARKS, DELLA F          SUNRISE ASSISTED LIVING       9090 MONTGOMERY RD    UNIT #229                         CINCINNATI          OH 45242
SPARKS, DELORES          5272 SEEBALDT ST                                                                      DETROIT             MI 48204‐3719
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Name                       Address1                          Address2              Address3        Address4         City            State Zip
SPARKS, DEMARCUS
SPARKS, DEMARCUS           ROBERTA ROSENBAUM                 7171 N FEDERAL HWY                                     BOCA RATON      FL    33487‐1612
SPARKS, DENISE A           1600 LIDDESDALE ST                                                                       DETROIT         MI    48217‐1218
SPARKS, DENNIS G           4041 GRANGE HALL RD LOT 177                                                              HOLLY           MI    48442‐1928
SPARKS, DENNY              20399 COUNTY ROAD 10                                                                     DEFIANCE        OH    43512‐8353
SPARKS, DERRICK M          1625 ELDERBERRY CT                                                                       MANSFIELD       OH    44907‐2883
SPARKS, DIANE S            PO BOX 23                                                                                PECULIAR        MO    64078‐0023
SPARKS, DON L              191 EDELWEISS DR. SWISS VILLAGE                                                          WINTER HAVEN    FL    33881
SPARKS, DONALD J           1999 W GRAB CREEK RD                                                                     DICKSON         TN    37055‐3491
SPARKS, DONALD J           1135 JACOBS PL                                                                           MARYSVILLE      CA    95901‐4434
SPARKS, DONALD L           1359 S CHERRY ST                                                                         MARTINSVILLE    IN    46151‐2704
SPARKS, DONALD R           12480 JOEL DR                                                                            CLIO            MI    48420‐1840
SPARKS, DONALD R           781 MACEDONIA RD                                                                         DAWSON          GA    39842‐4242
SPARKS, DONALD W           1063 HOMEWOOD AVE SE                                                                     WARREN          OH    44484‐4910
SPARKS, DONNIE L           614 WOODSTOCK AVE                                                                        TOLEDO          OH    43607‐3844
SPARKS, DORIS J            5364 N HENDERSON RD                                                                      DAVISON         MI    48423‐8402
SPARKS, DOROTHY I          8826 W 116TH ST                                                                          OVERLAND PARK   KS    66210‐2860
SPARKS, DOROTHY M          251 CRANBERRY BEACH BLVD                                                                 WHITE LAKE      MI    48386‐1940
SPARKS, DOUGLAS C          PO BOX 444                                                                               SAINT HELEN     MI    48656‐0444
SPARKS, DOUGLAS N          373 S BICKETT RD                                                                         XENIA           OH    45385‐9608
SPARKS, DUANE A            1305 2ND ST                                                                              LAPEER          MI    48446‐1271
SPARKS, EARL               324 MILTON AVE                                                                           ANDERSON        IN    46012‐3324
SPARKS, EDNA               2750 BROADWAY AVE                                                                        EVANSTON         IL   60201‐1557
SPARKS, EDWARD             2525 W 9TH ST                                                                            GREELEY         CO    80634‐5917
SPARKS, EDWARD C           ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                    NEW YORK        NY    10006‐1638
SPARKS, EDWINNA B          8236 SILVER CREEK RD                                                                     METAMORA        IN    47030‐9730
SPARKS, EDWINNA B          8236 SLIVER CREEK RD                                                                     METAMORA        IN    47030‐9730
SPARKS, ELAINE             19401 COYLE ST                                                                           DETROIT         MI    48235‐2041
SPARKS, ELIZABETH          82 E CHICAGO AVE                                                                         PONTIAC         MI    48340‐1215
SPARKS, ELMER G            250 LOKEY LN                                                                             WILSONVILLE     AL    35186‐7307
SPARKS, ELMER L            10615 KENDIG RD                                                                          NEW CARLISLE    OH    45344‐9717
SPARKS, ELSIE M            9992 BELLETERRE                                                                          DETROIT         MI    48204‐1306
SPARKS, ERIC L             3160 JANES AVE                                                                           SAGINAW         MI    48601‐6316
SPARKS, ERIS               6700 KNOLLWOOD CIR                                                                       DOUGLASVILLE    GA    30135‐1610
SPARKS, ERNIE E            430 W WALNUT ST                                                                          TIPP CITY       OH    45371‐1855
SPARKS, ESQ.,BARBARA E     10088 CARPENTER RD                                                                       FLUSHING        MI    48433‐1046
SPARKS, ETHEL H            9222 WEST STATE RD #38                                                                   LAPEL           IN    46051
SPARKS, EVA D              14721 FULLER AVE                                                                         GRANDVIEW       MO    64030‐4345
SPARKS, FLORENCE L         1145 LYNSUE LN                                                                           WATERFORD       MI    48327‐2454
SPARKS, FLORENCE L         1145 LYNSUE LANE                                                                         WATERFORD       MI    48327‐454
SPARKS, FRANKLIN V         1005 OAK DALE DR                                                                         XENIA           OH    45385‐1427
SPARKS, FRED L             103 3RD AVE S                                                                            CLANTON         AL    35045‐3635
SPARKS, GAROLD T           1573 175TH AVE                    ROUTE 2                                                MORLEY          MI    49336‐9090
SPARKS, GEORGE A           7225 KESSLING ST                                                                         DAVISON         MI    48423‐2447
SPARKS, GEORGE A           7015 RED BUG LAKE RD APT 120                                                             OVIEDO          FL    32765‐5055
SPARKS, GERALD             4504 GOLFVIEW DRIVE                                                                      ANDERSON        IN    46011‐1600
SPARKS, GLORIA E           APT 2101                          901 LAKESIDE CIRCLE                                    LEWISVILLE      TX    75057‐5072
SPARKS, GLORIA E           2204 S LONG LAKE RD                                                                      FENTON          MI    48430‐1458
SPARKS, GLORIA ELIZABETH   2204 S LONG LAKE RD                                                                      FENTON          MI    48430‐1458
SPARKS, GREGORY D          192 W REDELMANS LK ADDITION                                                              NEW CASTLE      IN    47362‐9615
SPARKS, GREGORY L          2502 DOUBLE BOGIE DR                                                                     CHARLOTTE       MI    48813
SPARKS, GREGORY S          8948 FOX GLOVE WAY                                                                       MIAMISBURG      OH    45342‐5257
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Name                      Address1                        Address2                      Address3   Address4         City            State Zip
SPARKS, GREGORY SCOTT     2464 WHISPER DR                                                                           MIAMISBURG       OH 45342‐6756
SPARKS, HAROLD E          1269 S RIDGELEY DR APT 3                                                                  LOS ANGELES      CA 90019‐2681
SPARKS, HAZEL M           705 LINCOLN AVE                 C/O JAMES C SPARKS                                        CLAWSON          MI 48017‐2509
SPARKS, HELENA C          473 PATTERSON ST                                                                          FAIRBORN         OH 45324‐3052
SPARKS, HERMIE IMANETTE   7456 ROGER THOMAS DRIVE                                                                   MT MORRIS        MI 48458‐8934
SPARKS, J T               174 WHALEY RD RT 4                                                                        NEW CARLISLE     OH 45344
SPARKS, JACK              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                          STREET, SUITE 600
SPARKS, JACKY L           11523 AL HIGHWAY 33                                                                       MOULTON         AL   35650‐5141
SPARKS, JACQUELYN L       6000 OSWEENEY LN                                                                          DUBLIN          OH   43016‐4215
SPARKS, JAMES E           9830 REGATTA DR UNIT 303                                                                  CINCINNATI      OH   45252‐1984
SPARKS, JAMES K           12769 PARKER LN                                                                           HILLSBORO       OH   45133‐5803
SPARKS, JAMES L           3700 S WESTPORT AVE # 2443                                                                SIOUX FALLS     SD   57106
SPARKS, JAMES L           5958 MASON RD                                                                             OWOSSO          MI   48867‐9398
SPARKS, JAMES R           1328 TULL DR                                                                              WATERFORD       MI   48327‐1417
SPARKS, JAMES T           2790 PATRICK HENRY ST APT 723                                                             AUBURN HILLS    MI   48326‐2262
SPARKS, JAMES T           7922 DESERT ROSE CT                                                                       ARLINGTON       TX   76002‐4436
SPARKS, JAMES THOMAS      7922 DESERT ROSE CT                                                                       ARLINGTON       TX   76002‐4436
SPARKS, JANICE            7753 OYSTER BAY LN                                                                        CINCINNATI      OH   45244‐2565
SPARKS, JEFFERY C         34575 HAZELWOOD ST                                                                        WESTLAND        MI   48186‐4487
SPARKS, JENNINE L         69 RIDGE RD                                                                               CORNITH         ME   04427
SPARKS, JEROME R          630 ALTON ST                                                                              LONDON          OH   43140‐8938
SPARKS, JERRY C           PO BOX 125                                                                                MEROM           IN   47861‐0125
SPARKS, JESSIE            4118 BUCKINGHAM RD APT B                                                                  LOS ANGELES     CA   90008‐3341
SPARKS, JOCELYN N         3044 SUNDANCE BOULEVARD                                                                   BURLINGTON      KY   41005‐7346
SPARKS, JODEE J           4409 STAUNTON DR                                                                          SWARTZ CREEK    MI   48473‐8269
SPARKS, JODEE JON         4409 STAUNTON DR                                                                          SWARTZ CREEK    MI   48473‐8269
SPARKS, JOHN L            2826 MARGATE CIR                                                                          FLINT           MI   48506‐1319
SPARKS, JOHN M            1225 TWIN SPRINGS DR                                                                      BRENTWOOD       TN   37027‐6720
SPARKS, JOHNNY            3635 HANSBERRY DR                                                                         COLLEGE PARK    GA   30349‐7930
SPARKS, JONATHAN D        1492 CANDLEWOOD CT                                                                        DEFIANCE        OH   43512‐9231
SPARKS, JONATHAN DALE     1492 CANDLEWOOD CT                                                                        DEFIANCE        OH   43512‐9231
SPARKS, JOSEPH T          1365 WHITE OAK ST                                                                         HARRISONVILLE   MO   64701‐3082
SPARKS, JOYCE W           PO BOX 19051                                                                              LENEXA          KS   66285‐9051
SPARKS, JOYCE W           P.O BOX 19051                                                                             LENEXA          KS   66285
SPARKS, JR.,ROBERT        PO BOX 61                                                                                 NEW LEBANON     OH   45345‐0061
SPARKS, JUDITH A.         1025 BLUEBELL LN                                                                          DAVISON         MI   48423‐7906
SPARKS, JULIA A           3610 DAWNRIDGE DR                                                                         DAYTON          OH   45414‐2214
SPARKS, KAREN S           20399 COUNTY ROAD 10                                                                      DEFIANCE        OH   43512‐8353
SPARKS, KATHERYN A        803 ESSEX DR                                                                              LEBANON         IN   46052‐1695
SPARKS, KATHLEEN F        14264 N LEWIS RD                                                                          CLIO            MI   48420‐8837
SPARKS, KATHLEEN FERN     14264 N LEWIS RD                                                                          CLIO            MI   48420‐8837
SPARKS, KEITH L           1002 S ADELAIDE ST                                                                        FENTON          MI   48430‐2238
SPARKS, KELLY D           652 COUNTY ROAD 1191                                                                      KOPPERL         TX   76652‐4566
SPARKS, KELLY DEAN        652 COUNTY ROAD 1191                                                                      KOPPERL         TX   76652‐4566
SPARKS, KENNETH J         41134 NORTH MCMAHON CIRCLE                                                                NOVI            MI   48375‐3437
SPARKS, KENNETH L         10353 DURNESS DR                                                                          SAINT LOUIS     MO   63137‐3767
SPARKS, KENNETH M         2889 DEERFIELD APT 108                                                                    LAKE ORION      MI   48360‐2395
SPARKS, KENNETH W         9072 CHESTNUT RIDGE RD                                                                    MIDDLEPORT      NY   14105‐9616
SPARKS, KEVIN J           6 SUSSEX LN                                                                               LANCASTER       NY   14086‐9458
SPARKS, KIM A             720 ARCADIA BLVD                                                                          ENGLEWOOD       OH   45322‐1839
SPARKS, LARRY D           G812 COUNTY ROAD 19                                                                       HOLGATE         OH   43527‐9700
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Name                      Address1                          Address2                        Address3   Address4         City           State Zip
SPARKS, LARRY E           6214 HILLCROFT DR                                                                             FLINT           MI 48505‐2437
SPARKS, LARRY J           5975 W HOMESTEAD DR                                                                           FRANKTON        IN 46044‐9476
SPARKS, LARRY L           15601 S R 70                      LOT 11                                                      OKEECHOBEE      FL 34974‐8637
SPARKS, LARRY L           15601 STATE ROAD 70 W LOT 11                                                                  OKEECHOBEE      FL 34974‐8637
SPARKS, LARRY R           2515 DELAWARE BLVD                                                                            SAGINAW         MI 48602‐5273
SPARKS, LEONA M           1224 MAIN STREET                                                                              VINCENNES       IN 47591‐4525
SPARKS, LEONARD R         5364 N HENDERSON RD                                                                           DAVISON         MI 48423‐8402
SPARKS, LEONARD R         PO BOX 958                                                                                    FLINT           MI 48501‐0958
SPARKS, LEONARD RAY       PO BOX 958                                                                                    FLINT           MI 48501‐0958
SPARKS, LESTER            1238 PYLANT DR                                                                                MOORE HAVEN     FL 33471‐4941
SPARKS, LESTER            10250 PYLANT DR NW                                                                            MOORE HAVEN     FL 33471‐8719
SPARKS, LINDA             1095 WILLIAMS DR                                                                              WILMINGTON      OH 45177‐1459
SPARKS, LINDA ANN         3212 HENRYDALE ST                                                                             AUBURN HILLS    MI 48326‐3625
SPARKS, LINDA G           APT 306                           2130 WESTMEAD DRIVE SOUTHWEST                               DECATUR         AL 35603‐1091

SPARKS, LINDA J           3132 MOUNDS ROAD                                                                              ANDERSON       IN   46016
SPARKS, LINDA S           20442 CENTRALIA                                                                               REDFORD        MI   48240‐1104
SPARKS, LLOYD W           PO BOX 223                                                                                    BLAKESLEE      OH   43505‐0223
SPARKS, LOLA              1050 W WESTERN RESERVE RD APT 3                                                               YOUNGSTOWN     OH   44514
SPARKS, LOLA E            6646 S 200 E                                                                                  MARKLEVILLE    IN   46056‐9704
SPARKS, LORRAINE T        9345 BRISTOL RD                                                                               SWARTZ CREEK   MI   48473‐8559
SPARKS, LYLE K            22910 OAKWOOD AVE                                                                             EASTPOINTE     MI   48021‐3528
SPARKS, LYLE KEITH        22910 OAKWOOD AVE                                                                             EASTPOINTE     MI   48021‐3528
SPARKS, LYNNE M           8004 FM 1398                                                                                  HOOKS          TX   75561‐7101
SPARKS, MALCOLM W         737 BREEZEWAY LN                                                                              GEORGETOWN     TX   78633‐5205
SPARKS, MALLIE E          1233 CASE AVE                                                                                 MIAMISBURG     OH   45342‐2541
SPARKS, MARCUS            7309 BUTT RD                                                                                  FORT WAYNE     IN   46818‐9431
SPARKS, MARGARET E        7612 CARTER DR                                                                                WAYNESVILLE    OH   45068‐8706
SPARKS, MARIE H           4893 W LATTIN RD                                                                              PENTWATER      MI   49449‐9312
SPARKS, MARILYN M         7465 MEADOWCREST                                                                              FT WORTH       TX   76112‐5903
SPARKS, MARK A            6438 E PIERSON RD                                                                             FLINT          MI   48506‐2258
SPARKS, MARK G            3719 BIRCH ST                                                                                 CLARKSTON      MI   48348‐1307
SPARKS, MARK G            207 SURREY LN                                                                                 CLARKSTON      MI   48346‐1456
SPARKS, MARY E            323 EAST ST                                                                                   MILFORD        MI   48381‐1932
SPARKS, MARY J            7225 GARBER RD                                                                                DAYTON         OH   45415‐1216
SPARKS, MARY JO           113 LUCILLE ST                                                                                GREENVILLE     AL   36037‐2407
SPARKS, MARY K            5176 N IRISH RD                                                                               DAVISON        MI   48423‐8911
SPARKS, MAZIE             304 SURREY HTS                                                                                WESTLAND       MI   48186‐3761
SPARKS, MAZIE             304 SURREY HEIGHTS                                                                            WESTLAND       MI   48186
SPARKS, MELISSA R         207 SURREY LN                                                                                 CLARKSTON      MI   48345‐1455
SPARKS, MICHAEL EDWARDS   BOONE ALEXANDRA                   205 LINDA DR                                                DAINGERFIELD   TX   75638‐2107
SPARKS, MICHAEL R         9784 BOUCHER RD                                                                               OTTER LAKE     MI   48464‐9416
SPARKS, MICHAEL RAY       9784 BOUCHER RD                                                                               OTTER LAKE     MI   48464‐9416
SPARKS, MILDRED L         1228 STATE HIGHWAY 986                                                                        OLIVE HILL     KY   41164‐7624
SPARKS, MILDRED L         1228 STATE HWY 986                                                                            OLIVE HILL     KY   41164‐7624
SPARKS, MILDRED R         1121 RICHARD ST                                                                               MIAMISBURG     OH   45342‐1947
SPARKS, MILDRED R         1121 E RICHARD ST                                                                             MIAMISBURG     OH   45342‐1947
SPARKS, MYRTLE M          4220 PALM DR                                                                                  PUNTA GORDA    FL   33950‐7332
SPARKS, NEAL W            1712 S SMITHVILLE RD                                                                          DAYTON         OH   45410‐3235
SPARKS, NEVILEE C         440 AVON OAK CT                                                                               NEW LEBANON    OH   45345‐1504
SPARKS, NEVILEE C         867 LOG SHOAL RD                                                                              BEATTYVILLE    KY   41311‐1311
SPARKS, NOEL R            1334 N SHORE DR                                                                               SOUTHPORT      NC   28461‐7710
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Name                   Address1                          Address2                       Address3   Address4         City               State Zip
SPARKS, NORMAN L       1014 CLAREMONT DR                                                                            COLUMBIA            TN 38401‐6207
SPARKS, OPHA P         442 COOPER DR                                                                                HARRISON            AR 72601‐8651
SPARKS, ORA R          3104 JUDY DR                                                                                 MIDDLETOWN          OH 45044‐7533
SPARKS, ORAN           471 TERRACE CT                                                                               KALAMAZOO           MI 49001‐2973
SPARKS, OTTIS W        7067 HIGHWAY 3                                                                               BENTON              LA 71006‐3905
SPARKS, OTTIS WAYNE    7067 HIGHWAY 3                                                                               BENTON              LA 71006‐3905
SPARKS, PAMELA         4209 BROWN STR                                                                               ANDERSON            IN 46013
SPARKS, PANSY E        564 HAMITY ROAD                                                                              GALLOWAY            OH 43119
SPARKS, PAUL E         388 VINEWOOD DR S                                                                            BROWNSBURG          IN 46112‐2039
SPARKS, PAUL E         1211 BEAR GRASS WAY                                                                          MAINEVILLE          OH 45039‐7005
SPARKS, PAUL E         38713 GAINSBOROUGH CT                                                                        CLINTON TOWNSHIP    MI 48038
SPARKS, PAUL T         PO BOX 397                                                                                   MILAN               OH 44846‐0397
SPARKS, PEARL H        166 W CLYDESDALE ST                                                                          MOUNT MORRIS        MI 48458‐8889
SPARKS, PETER L        2660 BEDELL RD                                                                               GRAND ISLAND        NY 14072
SPARKS, PHILLIP A      305 N JEFFERSON ST                                                                           BROWNSBURG          IN 46112‐1036
SPARKS, RALPH M        4865 LA CHENE DR                                                                             WARREN              MI 48092‐4937
SPARKS, RICHARD R      1375 GRAM ST                                                                                 BURTON              MI 48529‐2039
SPARKS, ROBERT         1533 ROAMONT DR                                                                              DAYTON              OH 45459‐3361
SPARKS, ROBERT         2230 RECTOR AVENUE                                                                           DAYTON              OH 45414‐4122
SPARKS, ROBERT A       2494 FAWN CT                                                                                 SAINT HELEN         MI 48656‐9640
SPARKS, ROBERT L       110 S HENRY ST APT 1201                                                                      MADISON             WI 53703‐3166
SPARKS, ROBERT M       295 PORTLAND BLVD                                                                            LEBANON             OH 45036‐8675
SPARKS, ROBERT T       26669 S HOWARD DR                                                                            SUN LAKES           AZ 85248‐7224
SPARKS, ROBY           KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND           OH 44114
                                                         BOND COURT BUILDING
SPARKS, ROGER D        11608 ROBERTS ST APT 5                                                                       MOKENA             IL   60448
SPARKS, ROGER L        328 W RANDOLPH ST                                                                            LANSING            MI   48906‐2951
SPARKS, RONALD F       9019 SEYMOUR RD                                                                              SWARTZ CREEK       MI   48473‐9161
SPARKS, RONALD G       130 HIGH ST                                                                                  PORTSMOUTH         OH   45662‐5798
SPARKS, RONNIE L       11076 AL HIGHWAY 33                                                                          MOULTON            AL   35650‐5133
SPARKS, ROSCOE E       1379 WILLOW WALK PKWY                                                                        ELWOOD             IN   46036‐1393
SPARKS, ROSE E         6342 SQUIRE LAKE DR                                                                          FLUSHING           MI   48433‐2381
SPARKS, RUSSELL        366 EAST SHEFFIELD AVENUE                                                                    PONTIAC            MI   48340‐1971
SPARKS, RUSSELL A      1525 KEYSTONE DR                                                                             SUWANEE            GA   30024‐4260
SPARKS, RUTH N         2914 MANGO TREE DR                                                                           EDGEWATER          FL   32141‐5721
SPARKS, SAMUEL R       22304 KOTHS ST                                                                               TAYLOR             MI   48180‐3642
SPARKS, SANDRA K       30536 FREDA DR                                                                               WARREN             MI   48093‐2294
SPARKS, SEAN P         18416 SPRUCE ST                                                                              GARDNER            KS   66030‐9458
SPARKS, SHARON J       501 N HENDERSON ST                                                                           HOUSTON            MN   55943‐8628
SPARKS, SHARON J       501 NORTH HENDERSON STREET                                                                   HOUSTON            MN   55943
SPARKS, SHAWN T        216 RITA ST                                                                                  DAYTON             OH   45404
SPARKS, SHIRLEY VERA   15433 RICHFIELD                                                                              LIVONIA            MI   48154‐1519
SPARKS, SIDNEY E       251 CRANBERRY BEACH BLVD                                                                     WHITE LAKE         MI   48386‐1940
SPARKS, STEVEN E       132 GRIGGS ST                                                                                ROCHESTER          MI   48307‐1414
SPARKS, STEVEN H       4825 ROCKFORD RIDGE DR                                                                       MARIETTA           GA   30066‐3262
SPARKS, SUE A          115 UNION RIDGE DR                                                                           UNION              OH   45322‐8727
SPARKS, SUSAN L        3595 HICKORY BRANCH TRAIL                                                                    SUWANEE            GA   30024‐7042
SPARKS, SYVOID J       2004 2ND ST                                                                                  SANDUSKY           OH   44870‐3900
SPARKS, THOMAS A       10735 DARIUS ST                                                                              PORT RICHEY        FL   34668‐2622
SPARKS, THOMAS C       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510
                                                         STREET, SUITE 600
SPARKS, THOMAS F       7416 COLDWATER RD                                                                            FLUSHING           MI 48433‐1120
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Name                                Address1                              Address2                        Address3                Address4         City                  State Zip
SPARKS, THOMAS W                    2064 MESQUITE LN                      J‐102                                                                    LAUGHLIN               NV 89029
SPARKS, TOMMIE                      C/O PAUL HANLEY & HARLEY              1608 4TH ST STE 300                                                      BERKELEY               CA 94710‐1749
SPARKS, TOMMY
SPARKS, TONY W                      PO BOX 193                                                                                                     MOULTON               AL   35650‐0193
SPARKS, TRAVIS E                    168 SAND LICK RD                                                                                               MC KEE                KY   40447‐9742
SPARKS, TRUDIE M                    213 BLUE CREEK DR                                                                                              O FALLON              MO   63366‐3907
SPARKS, VERNON C                    GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                             PITTSBURGH            PA   15219

SPARKS, VERONICA                    1501 CRYSTAL DR APT 624                                                                                        ARLINGTON             VA 22202‐4124
SPARKS, VICKIE L                    60 NIAGARA AVE                                                                                                 PONTIAC               MI 48341‐1916
SPARKS, VIRGIL A                    2742 E 1250 N                                                                                                  ALEXANDRIA            IN 46001‐8805
SPARKS, W L
SPARKS, W R                         6060 W BRISTOL RD                                                                                              FLINT                 MI   48554‐0001
SPARKS, WALTER M                    404 ARTHUR BRADLEY RD                                                                                          LONDON                OH   43140‐9537
SPARKS, WALTER R                    4799 MEADOWS RD                                                                                                POWDER SPRINGS        GA   30127‐3382
SPARKS, WANDA M                     36607 MELTON ST                                                                                                WESTLAND              MI   48186‐4045
SPARKS, WILLARD                     3160 JANES AVE                                                                                                 SAGINAW               MI   48601‐6316
SPARKS, WILLIAM CURTIS              SUTTER & ENSLEIN                      1598 KANAWHA BLVD EAST, SUITE                                            CHARLESTON            WV   25311
                                                                          200
SPARKS, WILLIAM D                   5680 LEETE RD                                                                                                  LOCKPORT              NY   14094
SPARKS, WILLIAM F                   33000 COVINGTON CLUB DR APT 39                                                                                 FARMINGTON HILLS      MI   48334‐1650
SPARKS, WILLIAM L                   3894 MENLO DR                                                                                                  ATLANTA               GA   30340‐5116
SPARKS, WILLIAM R                   PO BOX 201                                                                                                     JONESBORO             IN   46938‐0201
SPARKS, WILLIAM ROBERT              PO BOX 201                                                                                                     JONESBORO             IN   46938‐0201
SPARKS,CYNTHIA D                    3008 BLACKHAWK RD                                                                                              KETTERING             OH   45420‐3810
SPARKS,NEAL W                       1712 S SMITHVILLE RD                                                                                           DAYTON                OH   45410‐3235
SPARKS,PAUL E                       1211 BEAR GRASS WAY                                                                                            MAINEVILLE            OH   45039‐7005
SPARKS‐CLARKSTON, STACEY L          7645 WASHINGTON PARK DR                                                                                        WASHINGTON TOWNSHIP   OH   45459‐3620
SPARLIN, MARY J                     31830 WALTHAM DR                                                                                               BEVERLY HILLS         MI   48025‐3924
SPARLING, BETTY J                   1313 ROLLINS ST                                                                                                GRAND BLANC           MI   48439‐5119
SPARLING, COLLEEN M                 52272 CHICKADEE                                                                                                SHELBY TOWNSHIP       MI   48315‐2321
SPARLING, DIANA M                   830 PADDINGTON AVE                                                                                             FLINT                 MI   48507
SPARLING, HENRY H                   3310 POPLAR ST APT 12111                                                                                       ORION                 MI   48359‐1045
SPARLING, KATHLEEN L                1430 COLEMAN RD                                                                                                FRANKLIN              TN   37064‐7452
SPARLING, LAURA S                   37282 AMHURST DR                                                                                               WESTLAND              MI   48185‐7770
SPARLING, MARY M                    13 FAIRFIELD DR RR 4                                                                                           BROWNSBURG            IN   46112
SPARLING, ROGER I                   4502 PRESCOTT LN                                                                                               NAPLES                FL   34119‐9570
SPARLING, RUBY M                    1410 RUBY ANN DR                                                                                               SAGINAW               MI   48601‐9762
SPARLING, THEODORE A                3032 CONGRESS DR                                                                                               KOKOMO                IN   46902‐8029
SPARLUND DAWN                       SPARLUND, JOHN                        MCCOY TURNAGE & ROBERTSON       16496 BERNARDO CENTER                    SAN DIEGO             CA   92128
                                                                                                          DRIVE SUITE 101
SPARLUND DAWN                       SPARLUND, DAWN                        16496 BERNARDO CENTER DRIVE                                              SAN DIEGO             CA 92128
                                                                          SUITE 101
SPARNELL, BETTY J                   153 MATLOCK DR                                                                                                 YORK                  SC   29745‐9704
SPARNO, DIANE                       11 GARDEN CT                                                                                                   SUCCASUNNA            NJ   07876‐1246
SPARPANIC, AGNES                    33014 TOWNLINE RD                                                                                              ONTONAGON             MI   49953‐9121
SPARPANIC, CATHERINE L              1333 SANTA BARBARA BLVD APT 449                                                                                CAPE CORAL            FL   33991‐2862
SPARPANIC, JOYCE                    9143 NEFF ROAD                                                                                                 CLIO                  MI   48420‐1675
SPARPANIC, JOYCE                    9143 NEFF RD                                                                                                   CLIO                  MI   48420‐1675
SPARR GEORGE (ESTATE OF) (493114)   CHRISTOPHER J. HICKEY, ESQ. BRENT     1220 W 6TH ST STE 303                                                    CLEVELAND             OH   44113‐1328
                                    COONE AND ASSOCIATES
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Name                               Address1                            Address2                          Address3     Address4         City               State Zip
SPARR, GEORGE                      CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                           CLEVELAND           OH 44113‐1328
                                   COONE AND ASSOCIATES
SPARR, GEORGE N                    4753 WHITE TAIL LANE                                                                                NEWPORT RITCHEY    FL   34653‐6555
SPARR, GEORGE N                    4753 WHITETAIL LN                                                                                   NEW PORT RICHEY    FL   34653‐6555
SPARR, MARY E                      103 FONRO DR                                                                                        BRIGHTON           MI   48114‐9620
SPARR, WILLIAM L                   28612 AVONDALE ST                                                                                   INKSTER            MI   48141‐1642
SPARRA, VERONICA J                 83 HUGHES AVE                                                                                       LAWRENCEVILLE      NJ   08648‐3765
SPARRA, VERONICA J                 83 HUGHES AVENUE                                                                                    LAWRENCEVILLE      NJ   08648‐3765
SPARRE, ADELTA H                   12 HAUMALU PL                                                                                       WAHIAWA            HI   96786‐2814
SPARRER CLAUDIA J                  3999 LOTUS DR                                                                                       WATERFORD          MI   48329‐1391
SPARROW FOUNDATION                 1110 E MICHIGAN AVE                                                                                 LANSING            MI   48912‐1810
SPARROW HOSPITAL ASSOCIATION       C/O STEPHEN D LOWE ESQ              STEVEN D LOWE PC                  PO BOX 430                    HASLETT            MI   48840‐0430
EDWARD W
SPARROW JR., DONALD G              G 4078 FLUSHING RD                                                                                  FLINT              MI   48504
SPARROW, ANDE EDNA M               108 RIVER WAY LN                                                                                    NEW MARKET         AL   35761
SPARROW, DALE R                    R 1 BOX 983                                                                                         HEMPHILL           TX   75948
SPARROW, DONALD D                  9824 TIFFANY DR                                                                                     FORT WAYNE         IN   45804
SPARROW, DONALD D                  1251 ANTHONY TRCE                                                                                   WAYNESVILLE        OH   45068‐9200
SPARROW, EDNA M                    108 RIVERWAY LN                                                                                     NEW MARKET         AL   35761‐7699
SPARROW, GEORGE E                  111 DOLLENA AVE                                                                                     PRUDENVILLE        MI   48651‐9762
SPARROW, JANET C                   8339 FOX BAY DR                                                                                     WHITE LAKE         MI   48386‐2505
SPARROW, KENNETH A                 1922 WOODLAND AVE                                                                                   COLUMBUS           OH   43219‐1168
SPARROW, LAURIE J                  24514 NOTTINGHAM DR                                                                                 NOVI               MI   48374‐2752
SPARROW, MARIE L                   469 WATTY CT                                                                                        BALTIMORE          MD   21201
SPARROW, ROBERT A                  24514 NOTTINGHAM DR                                                                                 NOVI               MI   48374‐2752
SPARROW, ROBERT C                  300 AUTUMN CREEK DRIVE                                                                              SENOIA             GA   30276
SPARROW, RONALD R                  8339 FOX BAY DR                                                                                     WHITE LAKE         MI   48386‐2505
SPARROW, WILLIAM C                 418 TOWERS CIR NE                                                                                   ATLANTA            GA   30329‐4603
SPARSCHU, CLAUDIA R                44670 SPRING HILL RD                                                                                NORTHVILLE         MI   48168‐4367
SPARSCHU, DONALD R                 4916 MACKINAW RD                                                                                    SAGINAW            MI   48603‐7249
SPARSCHU, GLENN A                  47862 TEN POINT DR                                                                                  CANTON             MI   48187
SPARSCHU, MARK S                   44670 SPRING HILL RD                                                                                NORTHVILLE         MI   48168
SPARSCHU, MARVIN G                 1675 THUNDERBIRD DR                                                                                 SAGINAW            MI   48609‐4245
SPARTA CHEVROLET, INC.             8955 SPARTA AVE NW                                                                                  SPARTA             MI   49345‐9405
SPARTA CHEVROLET, INC.             DAVID VANDERHYDE                    8955 SPARTA AVE NW                                              SPARTA             MI   49345‐9405
SPARTA CITY RECORDER               PO BOX 30                                                                                           SPARTA             TN   38583‐0030
SPARTA LACROSSE TRUCK LINES IN     RT 1 BOX 12                                                                                         SPARTA             WI   54656
SPARTA TOWNSHIP TREASURER          160 E DIVISION ST                                                                                   SPARTA             MI   49345‐1330
SPARTAN ALUMINUM                   VERNON H. HEPPER JR                 PO BOX 130                                                      MARINE CITY        MI   48039‐0130
SPARTAN AUTOMATION INC             12921 BENDER DR                                                                                     STERLING HEIGHTS   MI   48313‐3309
SPARTAN BRAKE & MUFFLER            2714 BOSTON RD                                                                                      WILBRAHAM          MA   01095‐1835
SPARTAN CAB CO INC                 2401 W MAIN ST                                                                                      LANSING            MI   48917‐4340
SPARTAN CALIF MUNICIPAL MONEY      MARKET PORTFOLIO/BOONE & ASSOC      901 CORPORATE CENTER DR STE 204                                 MONTEREY PARK      CA   91754‐7665

SPARTAN EXPRESS INC                PO BOX 1089                                                                                         GREER              SC   29652
SPARTAN FLOOR/TROY                 1000 CHICAGO RD                                                                                     TROY               MI   48083‐4203
SPARTAN LIGHT METAL PRDS INC       510 E MCCLURKEN AVE                                                                                 SPARTA             IL   62286‐1850
SPARTAN LIGHT METAL PROD, LLC      VERN HEPPER                         2510 LAKEVIEW ROAD                                              OXFORD             MI   48371
SPARTAN LIGHT METAL PRODUCTS INC                                       510 E MCCLURKEN AVE                                             SPARTA             IL   62286‐1850
SPARTAN LIGHT METAL PRODUCTS INC   2510 LAKEVIEW RD                                                                                    MEXICO             MO   65265‐1391
SPARTAN LIGHT METAL PRODUCTS INC   510 E MCCLURKEN AVE                                                                                 SPARTA             IL   62286‐1850
SPARTAN LIGHT METAL PRODUCTS INC   VERN HEPPER                         2510 LAKEVIEW ROAD                                              OXFORD             MI   48371
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SPARTAN LIGHT METAL PRODUCTS INC   VERNON H. HEPPER JR              PO BOX 130                                                          SPARTA               IL 62286‐0130
SPARTAN LIGHT METAL PRODUCTS LLC   2510 LAKEVIEW RD                                                                                     MEXICO              MO 65265‐1391
SPARTAN LIGHT/SPARTA               510 E MCCLURKEN AVE                                                                                  SPARTA               IL 62286‐1850
SPARTAN OIL CORPORATION            PO BOX 18218                                                                                         LANSING             MI 48901‐8218
SPARTAN SPECIALTIES LTD            6250 SIMS DR                                                                                         STERLING HEIGHTS    MI 48313‐3717
SPARTAN TIRE & SERVICE                                              3232 S WASHINGTON AVE                                                                   MI 48910
SPARTAN TOOL SALES                 PO BOX 875                                                                                           STERLING HEIGHTS    MI 48311‐0875
SPARTAN X RAY INC                  650 MORRIS ST                                                                                        MOUNT MORRIS        MI 48458‐1899
SPARTAN X‐RAY INC                  650 MORRIS ST                                                                                        MOUNT MORRIS        MI 48458‐1899
SPARTAN X‐RAY INC                  ATTN: WALT MUNTIN                650 W MOUNT MORRIS ST                                               MT MORRIS           MI 48458‐1899
SPARTANBURG COUNTY TREASURER       PO BOX 5807                                                                                          SPARTANBURG         SC 29304‐5807
SPARTANBURG LAND INC               PO BOX 1177                                                                                          GREENVILLE          SC 29602‐1177
SPARTANBURG METHODIST COLLEGE      1200 TEXTILE ROAD                                                                                    SPARTANBURG         SC 29301
SPARTMAN, DANIEL
SPARTON MFG/TROY                   1000 JOHN R RD STE 202                                                                               TROY               MI   48083‐4317
SPARTON/2075 BIG BVR               KPI GROUP                        C/O ARK GROUP INC.            13820 LAKESIDE CIR                    STERLING HTS       MI   48313‐1316
SPARTZ, JAMES W                    6228 E OXBOW LOOP                                                                                    BOSSIER CITY       LA   71112‐5018
SPARZA TONY                        PO BOX 625                                                                                           DEFIANCE           OH   43512‐0625
SPASSIL RAYMOND E                  160 S NEWTON FALLS RD                                                                                NORTH JACKSON      OH   44451‐9624
SPATA RON                          210 INDIAN TRAIL RD                                                                                  OAK BROOK          IL   60523‐2795
SPATA, NANCY A                     1630 CRESTLINE CT                                                                                    ROCHESTER HILLS    MI   48307
SPATAFORE, CLARA                   17 ROCKWOOD PL                                                                                       NEW ROCHELLE       NY   10804‐1306
SPATAFORE, MARJORIE I              1768 PENNY LN                                                                                        YOUNGSTOWN         OH   44515‐4923
SPATAFORE, RONALD D                5237 CAIRO DR                                                                                        SEBRING            FL   33875‐5694
SPATAFORE, RONALD L                4925 NEW RD                                                                                          YOUNGSTOWN         OH   44515‐3823
SPATARO JOHN (637083)              HOWARD BRENNER & GARRIGAN‐NASS   1608 WALNUT ST , 17TH FLOOR                                         PHILADELPHIA       PA   19103

SPATARO PATRICK (464414)           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                          BALTIMORE          MD 21202
                                                                    CHARLES CENTER 22ND FLOOR
SPATARO, JOHN                      HOWARD BRENNER & GARRIGAN‐NASS   1608 WALNUT ST, 17TH FLOOR                                          PHILADELPHIA        PA 19103

SPATARO, JOHN                      17 LOUISE LANE RT4                                                                                   HOPEWELL JCT       NY 12533
SPATARO, PATRICK                   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                           BALTIMORE          MD 21202
                                                                    CHARLES CENTER 22ND FLOOR
SPATARO, RONALD L                  300 STEKO AVE                                                                                        ROCHESTER          NY   14615‐3330
SPATARO, SALVATORE                 96 COUNTRY GREEN DR                                                                                  YOUNGSTOWN         OH   44515‐2236
SPATARO, SAMUEL J                  23 FRANCINE DR                                                                                       ROCHESTER          NY   14606‐3342
SPATES, LEONA                      24 SANDRA COURT                                                                                      SAGINAW            MI   48602‐1840
SPATES, LEONA                      24 SANDRA CT                                                                                         SAGINAW            MI   48602‐1840
SPATES, WILBUR                     16834 SAN JUAN DR                                                                                    DETROIT            MI   48221‐2923
SPATH, DANNY L                     4601 MICHELLE DR                                                                                     ARLINGTON          TX   76016‐5338
SPATH, DANNY LEE                   4601 MICHELLE DR                                                                                     ARLINGTON          TX   76016‐5338
SPATH, JOSEPH D                    9536 HICKORYHURST DR                                                                                 BALTIMORE          MD   21236‐4701
SPATH, OTTILIA H                   18310 LEDGESIDE DR                                                                                   STRONGSVILLE       OH   44136‐3543
SPATH, ROBERT C                    PO BOX 105                                                                                           NEWARK             MD   21841‐0105
SPATH, RONALD E                    4240 FLOWERS RD # R12                                                                                MANSFIELD          OH   44903
SPATHAROS, JOHN                    795 HEATHERCREEK CT                                                                                  ENGLEWOOD          FL   34223‐6036
SPATHOLT HOWARD (486434)           (NO OPPOSING COUNSEL)
SPATOLA, ALBERT                    920 BAYCHESTER AVE APT 2G                                                                            BRONX              NY   10475‐1741
SPATRISANO, JOHN C                 6801 S KREPPS RD                                                                                     SAINT JOHNS        MI   48879‐8174
SPATZ, JANE W                      1311 CARAVELLE CT                                                                                    KATY               TX   77494‐1824
SPATZ, JOHN E                      710 PALMA DR                                                                                         THE VILLAGES       FL   32159‐8728
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Name                              Address1                          Address2                        Address3   Address4         City           State Zip
SPATZ, ROBERT J                   372 N MAPLE ST                                                                                LEBO            KS 66856‐9289
SPATZ, RONALD G                   3040 SPRINGFIELD LN                                                                           THE VILLAGES    FL 32162‐7607
SPATZ, VIRGINIA A                 6875 DIXIE HWY                                                                                BRIDGEPORT      MI 48722‐9759
SPAUDE SPENCER                    2691 OAKWOOD DR                                                                               GREEN BAY       WI 54304‐1652
SPAUGH INVESTMENTS LLC            550 N RIVER RD                                                                                VENICE          FL 34293‐4708
SPAULDING CUSTOM POWER COATING    2275 W CURTIS RD                                                                              SAGINAW         MI 48601‐9775
SPAULDING ELECTRIC MOTOR REPAIR   PO BOX 610187                                                                                 PORT HURON      MI 48061‐0187
SPAULDING JR, CHELSEA A           3691 EATON RD                                                                                 HAMILTON        OH 45013‐9732
SPAULDING MARK (491322)           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                    PROFESSIONAL BLDG
SPAULDING REHAB HOSP              PO BOX 340055                                                                                 BOSTON         MA 02241‐0001
SPAULDING TOWNSHIP ACTIVITIES &   3795 W CURTIS RD                                                                              SAGINAW        MI 48601‐9722
RECREATION TEAM
SPAULDING, ADRIAN R               800 ENERGY CENTER BLVD APT 3209                                                               NORTHPORT      AL   35473‐2733
SPAULDING, APRIL L                1844 E 400 N                                                                                  ANDERSON       IN   46012‐9398
SPAULDING, APRIL LYN              1844 E 400 N                                                                                  ANDERSON       IN   46012‐9398
SPAULDING, AUDREY B               10474 SEYMOUR RD                                                                              MONTROSE       MI   48457‐9015
SPAULDING, BARBARA B              8361 UNITY CHURCH RD                                                                          DENVER         NC   28037‐9396
SPAULDING, BERNARD R              2800 OAKVIEW DR                                                                               DRYDEN         MI   48428‐9740
SPAULDING, BETTY M                2019 WAGON WHEEL CT                                                                           ANDERSON       IN   46017‐9697
SPAULDING, BRENDA E               7924 KIRKRIDGE ST                                                                             BELLEVILLE     MI   48111‐1623
SPAULDING, BRENT K                4955 FOND DU LAC DR                                                                           NEWBURGH       IN   47630
SPAULDING, BUREN                  3265 W 50 S                                                                                   LEBANON        IN   46052‐8961
SPAULDING, CHARLES J              12443 LANSING RD                                                                              DURAND         MI   48429‐9613
SPAULDING, CHRISTINA L            15712 WORMER                                                                                  REDFORD        MI   48239‐3545
SPAULDING, CHRISTINE              6221W MORGAN COURT                                                                            NEW PLESTINE   IN   46163‐8760
SPAULDING, DANNIE L               1731 UNIVERSITY DR                                                                            COLUMBIA       TN   38401‐6413
SPAULDING, DAVID                  2025 TREMONT BLVD NW                                                                          GRAND RAPIDS   MI   49504
SPAULDING, DAVID W                4408 KEVON DR                                                                                 ANDERSON       IN   46013‐1427
SPAULDING, DEIRDRE M              9899 CREEKWOOD TRL                                                                            DAVISBURG      MI   48350‐2057
SPAULDING, DENNIS L               1029 COUNTY ROAD 705                                                                          JOSHUA         TX   76058‐5546
SPAULDING, DENNIS LEE             1029 COUNTY ROAD 705                                                                          JOSHUA         TX   76058‐5546
SPAULDING, DONALD A               2311 READY RD                                                                                 CARLETON       MI   48117‐9778
SPAULDING, DONALD ALLEN           2311 READY RD                                                                                 CARLETON       MI   48117‐9778
SPAULDING, DONALD G               15215 LINSCOTT RUN RD                                                                         AMESVILLE      OH   45711‐9469
SPAULDING, EMORY                  5062 W ARROWHEAD RD                                                                           HERMANTOWN     MN   55811‐1453
SPAULDING, ERIC A                 1103 CHUTE ONE CT                                                                             MANSFIELD      TX   76063‐5731
SPAULDING, GEORGE G               2W WHARFSIDE ST 2A                                                                            CHARLESTON     SC   29401
SPAULDING, J D                    9 HILLCREST CIR                                                                               BEDFORD        IN   47421‐5611
SPAULDING, JAMES F                6044 GINAFRED SHORES DR SW                                                                    FIFE LAKE      MI   49633‐9187
SPAULDING, JAMES R                5617 CLIFFSIDE DR                                                                             TROY           MI   48085‐3844
SPAULDING, JAMES R                18781 WIGEON DR                                                                               CLINTON TWP    MI   48038‐1168
SPAULDING, JEAN M                 21236 PARKSTONE DR                                                                            MACOMB         MI   48044‐2251
SPAULDING, JEREMY M               100 HUNTING CHASE APT 1D                                                                      CARY           NC   27513‐5268
SPAULDING, JIMMIE L               5639 MONTE ROSSO RD                                                                           SARASOTA       FL   34243‐5240
SPAULDING, JOSEPH                 1120 24TH ST                                                                                  BEDFORD        IN   47421‐5008
SPAULDING, JUANITA                28 FILLMORE WAY                                                                               WESTFIELD      IN   46074‐8157
SPAULDING, JUANITA                28 FILMORE WAY                                                                                WESTFIELD      IN   46074
SPAULDING, LOREN L                4452 CENTRAL AVE                                                                              GASPORT        NY   14067
SPAULDING, MARGARET E             2979 MURDOCK RD                                                                               MEDINA         NY   14103‐9413
SPAULDING, MARGARET M             16202 N 37TH DR                                                                               PHOENIX        AZ   85053‐2805
SPAULDING, MARGARET M             16202 NORTH 37TH DRIVE                                                                        PHOENIX        AZ   85053‐2806
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Name                         Address1                            Address2                        Address3   Address4         City                   State Zip
SPAULDING, MARTHA M          1927 OWOSSO AVE                                                                                 OWOSSO                  MI 48867‐3942
SPAULDING, MARY E            1494 READY AVE                                                                                  BURTON                  MI 48529‐2054
SPAULDING, MICHAEL A         208 ASHFORD CT                                                                                  NOBLESVILLE             IN 46062‐9010
SPAULDING, MICHAEL D         220 JEFFERSON STREET                                                                            FOWLERTON               IN 46930
SPAULDING, MICHAEL DELBERT   220 JEFFERSON STREET                                                                            FOWLERTON               IN 46930
SPAULDING, MICHAEL E         9899 CREEKWOOD TRL                                                                              DAVISBURG               MI 48350‐2057
SPAULDING, MICHAEL F         1054 W BERGIN AVE                                                                               FLINT                   MI 48507‐3602
SPAULDING, MICHAEL L         2643 SHERRIE LN                                                                                 THOMPSONS STN           TN 37179‐9282
SPAULDING, PATRICIA          5900 WEST 750 NORTH                                                                             SHIPSHEWANA             IN 46565‐8560
SPAULDING, PATRICIA          5900 W 750 N                                                                                    SHIPSHEWANA             IN 46565‐8560
SPAULDING, REX D             9219 IRONDALE LN                                                                                HUDSON                  FL 34667‐8566
SPAULDING, ROBERT A          6015 VERDE TRL S APT L211                                                                       BOCA RATON              FL 33433‐4459
SPAULDING, ROBERT B          8162 TAMARACK DR                                                                                SHELBY TOWNSHIP         MI 48317‐1467
SPAULDING, ROBERT H          635 MADRID BLVD                                                                                 PUNTA GORDA             FL 33950‐7855
SPAULDING, ROBERT K          157 BRIAN CIR                                                                                   ANTIOCH                 TN 37013‐4342
SPAULDING, ROBERT W          112 FREEDOM POND LN                                                                             NORTH CHILI             NY 14514‐1255
SPAULDING, ROBIN E           5513 TYRONDA LN                                                                                 DAYTON                  OH 45429‐6137
SPAULDING, RONALD D          10370 E LIPPINCOTT BLVD                                                                         DAVISON                 MI 48423‐9108
SPAULDING, RONALD L          6608 S LAWNDALE AVE                                                                             INDIANAPOLIS            IN 46221‐4729
SPAULDING, SHEILA K          5480 W 1100 S                                                                                   FAIRMOUNT               IN 46928‐9319
SPAULDING, STELLA A          PO BOX 317                                                                                      OTISVILLE               MI 48463‐0317
SPAULDING, TEDDY L           PO BOX 317                          10074 CEMETERY RD                                           OTISVILLE               MI 48463‐0317
SPAULDING, THOMAS E          11949 MARBER DR                                                                                 ROSCOMMON               MI 48653‐9432
SPAULDING, VIRGINIA S        10370 E LIPPINCOTT BLVD                                                                         DAVISON                 MI 48423‐9108
SPAULDING, WALTER G          2323 LEE ROAD 447                                                                               MORO                    AR 72368‐8838
SPAULDING, WANDA L           PO BOX 140254                                                                                   GRAND RAPIDS            MI 49514‐0254
SPAULDING, WANDA S           8424 GLENANN DR                                                                                 NORTH RICHLAND HILLS    TX 76180‐4116
SPAULDING, WANDA S           8424 GLENANN                                                                                    NORTH RICHMOND HILLS    TX 76180‐4116
SPAULDING, WARREN C          8455 GOLDIE LN                                                                                  MARTINSVILLE            IN 46151‐7671
SPAULDING, WILBER            8125 JESSE CT                                                                                   MOORESVILLE             IN 46158‐7814
SPAUN EDWIN                  2780 SUNSET DR NW                                                                               WINTER HAVEN            FL 33881‐1273
SPAUR, CHERYL H              7099 N 100 W                                                                                    ALEXANDRIA              IN 46001‐8202
SPAUR, CHERYL HAYDEN         7099 N 100 W                                                                                    ALEXANDRIA              IN 46001‐8202
SPAUR, JAMES B               10042 N BALFER DR W                                                                             FORTVILLE               IN 46040‐9335
SPAUR, JOE A                 7099 N 100 W                                                                                    ALEXANDRIA              IN 46001‐8202
SPAUR, JULIA S               5677 W 300 N                                                                                    GREENFIELD              IN 46140‐8472
SPAVALE, TODD L              1579 WINDSOR WAY                                                                                BOWLING GREEN           KY 42103‐4724
SPAVEN, ROGER P              PO BOX 104                                                                                      HOUGHTON LAKE           MI 48629‐0104
SPAVENTA, DONATO             3004 VENTURE CT                                                                                 EXPORT                  PA 15632‐8949
SPAVENTA, MICHAEL R          KIMMEL & SILVERMAN PC               1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL             NJ 08003
SPAW NORMAN D (498332)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK                 VA 23510
                                                                 STREET, SUITE 600
SPAW, CHESTER A              PO BOX 121                                                                                      WELLINGTON             MO   64097‐0121
SPAW, DORMAS J               5982 EUCLID RD                                                                                  CINCINNATI             OH   45236‐4205
SPAW, LLOYD E                967 LUNA LN                                                                                     LADY LAKE              FL   32159‐9193
SPAW, NORMAN D               GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK                VA   23510‐2212
                                                                 STREET, SUITE 600
SPAW, ROGER R                724 SILVERHEDGE DR                                                                              CINCINNATI             OH   45231‐3955
SPAWN, THELMA V              117 PEBBLE BEACH DR                 CAROLYN ESTATES                                             MAYBANK                TX   75156‐7033
SPAY, MARGARET L             #1                                  206 SURREY HILL                                             NOBLESVILLE            IN   46062‐9065
SPAYD, JAMES V               27143 WESTLAND RD                                                                               REDFORD                MI   48240‐2352
SPAYD, MARION S              4640 6 MILE POND RD                                                                             ZEPHYRHILLS            FL   33541‐2121
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Name                                    Address1                          Address2                          Address3             Address4                      City            State Zip
SPAYD‐WELCH, SHARON K                   6055 ROLFE RD                                                                                                          LANSING          MI 48911‐4944
SPAYDE, INEZ L                          301 WINIFRED AVENUE                                                                                                    LANSING          MI 48917‐2720
SPAYDE, INEZ L                          701 PACIFIC AVE.                                                                                                       LANSING          MI 48910‐3273
SPAYDE, MELVIN L                        301 WINIFRED AVE                                                                                                       LANSING          MI 48917‐2720
SPAYDE, PAUL A                          301 PATTERSON ST                                                                                                       CRESTLINE        OH 44827‐1838
SPAYSKY, DENNIS                         313 W WOODWARD HEIGHTS BLVD                                                                                            HAZEL PARK       MI 48030‐1369
SPAYSKY, LEON                           5074 HOUGH RD                                                                                                          DRYDEN           MI 48428‐9306
SPAZIANI LEONARD (ESTATE OF) (495082)   EARLY LUDWICK & SWEENEY L.L.C.    ONE CENTURY TOWER, 11TH FLOOR ,                                                      NEW HAVEN        CT 06510
                                                                          265 CHURCH STREET
SPAZIANO CARMINE ‐ DI RUSSO GIOVANNA VIA SAN GIULIO, 44                                                                          FORMIA (LT) ‐ 04023 ‐ ITALY

SPAZIANO, ANN MARIE                     858 TRIMMER RD                                                                                                         SPENCERPORT     NY 14559‐9574
SPAZIANO, GEORGE A                      709 CULROSS CT                                                                                                         WEBSTER         NY 14580‐4111
SPAZZALI CARLO                          LA SCALA                          STUDIO LEGALE E TRIBUTARIO        CORSO MAGENTA N 42   20123 MILANO ITALY
SPAZZALI CARLO                          LA SCALA                          STUDIO LEGALIA E TRIBUTARIO       CORSO MAGENIO N 42   20123 MILANO ITALY
SPC EVENTS INC                          1121 CHARLESTON CT                                                                                                     KELLER          TX   76248‐5246
SPEACE, ELAINE F                        4285 VIN ROSE DR                                                                                                       FLINT           MI   48507‐2918
SPEACE, ELAINE F                        5406 LITCHFIELD DRIVE                                                                                                  FLINT           MI   48532‐4039
SPEACE, ROBERT C                        288 CITRUS RIDGE DR                                                                                                    DAVENPORT       FL   33837‐8220
SPEAGLE, CHESTER A                      910 GLENDALE AVE                                                                                                       DANVILLE        IL   61833‐7946
SPEAK EASY LANGUAGE SCHOOL              757 S MAIN ST                                                                                                          PLYMOUTH        MI   48170‐2046
SPEAK UP WITH CONFIDENCE                3747 RIVERVIEW TER N                                                                                                   EAST CHINA      MI   48054‐2213
SPEAK, STEVEN R                         503 GROVE ST                                                                                                           BRIDGEPORT      PA   19405‐1425
SPEAKE, BARBARA                         8110 12TH AVE S APT 202                                                                                                BLOOMINGTON     MN   55425‐1051
SPEAKE, JACQUELINE C                    414 VINE ST NE                                                                                                         DECATUR         AL   35601‐1934
SPEAKE, JOHN R                          2426 170TH PL SE                                                                                                       BELLEVUE        WA   98008‐5519
SPEAKE, KEITH E                         414 VINE ST NE                                                                                                         DECATUR         AL   35601‐1934
SPEAKE, KEITH E                         512 FERRY ST NE                                                                                                        DECATUR         AL   35601
SPEAKER I I, JAMES B                    1012 WILDWOOD DR                                                                                                       ARLINGTON       TX   76011‐5054
SPEAKER MARY                            207 CROOKED TREE CT                                                                                                    NAPERVILLE      IL   60565‐5433
SPEAKER, DONALD J                       3404 MCKINLEY PARKWAY             APT 11 BUILDING B                                                                    BLASDELL        NY   14219
SPEAKER, JACK D                         1454 PRIMROSE AVE                                                                                                      TOLEDO          OH   43612‐4027
SPEAKER, MACK W                         6513 FIELD AVE APT A                                                                                                   WHITEHOUSE      OH   43571‐9686
SPEAKER, ROBERT P                       22 NAGEL DR                                                                                                            CHEEKTOWAGA     NY   14225‐3820
SPEAKER, TERRANCE J                     5006 W US HIGHWAY 14                                                                                                   JANESVILLE      WI   53548‐9483
SPEAKES, SAMMY J                        1492 ALCONA DR                                                                                                         BURTON          MI   48509‐2004
SPEAKMAN, CAROLYN J                     1945 IOWA DR                                                                                                           XENIA           OH   45385‐4531
SPEAKMAN, CHRISTINA G                   615 E MAIN ST                                                                                                          VAN WERT        OH   45891‐1850
SPEAKMAN, CHRISTINA GRACE               615 E MAIN ST                                                                                                          VAN WERT        OH   45891‐1850
SPEAKMAN, DEVONIA                       740 LEWIS AVE                                                                                                          KANSAS CITY     MO   64125‐1233
SPEAKMAN, DEVONIA                       740 LEWIS                                                                                                              KANSAS CITY     MO   64125‐1233
SPEAKMAN, MELISSA M                     283 GOLFWOOD DR                                                                                                        W CARROLLTON    OH   45449‐1525
SPEAKMAN, MICHAEL E                     1419 DEAN ST                                                                                                           DANVILLE        IL   61832‐7707
SPEAKMAN, WILLIAM L                     415 COMMUNITY DR                                                                                                       ROSEVILLE       CA   95678‐6450
SPEAKS I I I, JACKSON I                 2407 MARLENE DR                                                                                                        SWARTZ CREEK    MI   48473‐7936
SPEAKS JR, CARL G                       43340 ALVA DR                                                                                                          BELLEVILLE      MI   48111‐2802
SPEAKS, ANTHONY L                       2409 S OLD OAKS DR                                                                                                     DAYTON          OH   45431‐2409
SPEAKS, DONALD R                        341 N MERIDIAN ST                                                                                                      GREENWOOD       IN   46143‐1252
SPEAKS, GEORGE E                        8195 BELLEVILLE RD                                                                                                     BELLEVILLE      MI   48111‐1382
SPEAKS, GLENN L                         4314 EDGEHILL                                                                                                          WICHITA FALLS   TX   76306‐4649
SPEAKS, GLENN LYNN                      4314 EDGEHILL                                                                                                          WICHITA FALLS   TX   76306‐4649
SPEAKS, GLORIA                          274 RAFFENSPERGER                 AVE                                                                                  SPRINGFIELD     OH   45505‐1360
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Name                   Address1                          Address2               Address3        Address4         City              State Zip
SPEAKS, MATTIE L       2409 S OLD OAKS DR                                                                        DAYTON             OH 45431‐2409
SPEAKS, MELVINA        1043 SMITH ST                                                                             BUFFALO            NY 14212‐1125
SPEAKS, MICHAEL E      703 W 12TH ST                                                                             LYNN HAVEN         FL 32444‐2220
SPEAKS, PAULINE        2741 S MCCLURE                                                                            INDIANAPOLIS       IN 46241‐5719
SPEAKS, ROSEMARIE      43340 ALVA DR                                                                             BELLEVILLE         MI 48111‐2802
SPEAKS, VIRGIL         7111 CHADWICK CT                                                                          CANTON             MI 48187‐1642
SPEAKS, WILLIAM L      274 RAFFENSPERGER AVE                                                                     SPRINGFIELD        OH 45505‐1360
SPEALMAN, RONALD J     7002 SOLLERS POINT RD                                                                     BALTIMORE          MD 21222‐3044
SPEAR JR, CLIFFORD     4530 W 2ND ST                                                                             DAYTON             OH 45417‐1358
SPEAR JR, CLIFFORD     4530 W. 2ND ST.                                                                           DAYTON             OH 45417‐5417
SPEAR ROY E (653729)   THORNTON EARLY & NAUMES           100 SUMMER ST LBBY 3                                    BOSTON             MA 02110‐2104
SPEAR SARAH G          MONTGOMERY CO REV COMMISSIONER    PO BOX 4779                                             MONTGOMERY         AL 36103‐4779

SPEAR, ALFRED A        830 E NORTH ST                                                                            ITHACA            MI   48847‐1344
SPEAR, BERNICE E       4 HOWARD ST                                                                               MASSENA           NY   13662‐2233
SPEAR, CHARLES E       4800 RIVERVIEW DR                                                                         WATERFORD         MI   48329‐3770
SPEAR, CLOYD L         PO BOX 524                                                                                MORGANTOWN        IN   46160‐0524
SPEAR, DALE D          8023 JENNINGS RD                                                                          SWARTZ CREEK      MI   48473‐9147
SPEAR, DELOIS          PO BOX 310781                                                                             ATLANTA           GA   31131‐0781
SPEAR, DONALD L        708 SOUTH 300 EAST                                                                        KOKOMO            IN   46902
SPEAR, DONALD LEE      708 SOUTH 300 EAST                                                                        KOKOMO            IN   46902
SPEAR, DOROTHY E       3100 HARPER RD                                                                            MASON             MI   48854‐9350
SPEAR, EDDIE V         7625 RADIO STATION RD                                                                     TOMPKINSVILLE     KY   42167‐8519
SPEAR, EDMUND          8565 BIRWOOD ST                                                                           DETROIT           MI   48204‐3013
SPEAR, EDWARD J        2210 DEERFIELD LN                                                                         NORTHPORT         AL   35473‐3058
SPEAR, EDWARD J        11251 LOUDON LN                                                                           INDIANAPOLIS      IN   46235
SPEAR, ELAINE C        3601 S ADAMS RD APT 102                                                                   ROCHESTER HILLS   MI   48309‐5003
SPEAR, ERMA M          524 HEMLOCK DR                                                                            DAVISON           MI   48423‐1924
SPEAR, EUGENE L        6165 CLOVER WAY N                                                                         SAGINAW           MI   48603‐4222
SPEAR, GARY G          3100 HARPER RD                                                                            MASON             MI   48854‐9350
SPEAR, HOLLY E         2400 CURTIS RD                                                                            NATIONAL CITY     MI   48748‐9630
SPEAR, JAMES A         201 MARION BLVD                                                                           COVINGTON         IN   47932‐1720
SPEAR, JANICE          PO BOX 863                                                                                WESTFIELD         IN   46074‐0863
SPEAR, JANICE          P O BOX 863                                                                               WESTFIELD         IN   46074‐0863
SPEAR, JOHN H          835 W WELDON AVE                                                                          FRESNO            CA   93705
SPEAR, KAREN H         505 BOSTON RD                                                                             ONTARIO           NY   14519‐9369
SPEAR, KEITH D         5306 SENATOR LN                                                                           LOUISVILLE        KY   40219‐5160
SPEAR, KEITH G         2381 BOCK RD                                                                              SAGINAW           MI   48603‐3835
SPEAR, LARRY F         34224 ARMADA RIDGE RD                                                                     RICHMOND          MI   48062‐5319
SPEAR, LAURA M         2257 LODGE RD                                                                             FLINT             MI   48532‐4957
SPEAR, MARSHA L        243 PONCHARTRAIN DR                                                                       FENTON            MI   48430‐1700
SPEAR, MARY L          6165 CLOVER WAY N                                                                         SAGINAW           MI   48603
SPEAR, MARY L          708 S COUNTY ROAD 200 E                                                                   KOKOMO            IN   46902
SPEAR, MCIVA           1245 MIDDLEHAM LANE                                                                       BEECH GROVE       IN   46107‐3312
SPEAR, MICHAEL E       1560 MOOSE DR                                                                             GLADWIN           MI   48624‐8019
SPEAR, MICHAEL K       2381 BOCK RD                                                                              SAGINAW           MI   48603
SPEAR, NAPOLEON        PO BOX 32505                                                                              BALTIMORE         MD   21282‐2505
SPEAR, NORMAN E        100 OXBOW DR                                                                              SEBRING           FL   33876‐7466
SPEAR, PAULA H         2381 BOCK RD                                                                              SAGINAW           MI   48603‐3835
SPEAR, RAYMOND C       223 SHAWNEE DR                                                                            BEDFORD           IN   47421‐5227
SPEAR, ROBERT E        51 NORMAN ST                                                                              CLINTON           MA   01510‐3421
SPEAR, ROBERT E        27 METTEN RD                                                                              NEWARK            DE   19713‐1566
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Name                         Address1                        Address2                Address3         Address4         City            State Zip
SPEAR, ROBERT H              5635 FISHER RD                                                                            HOWELL           MI 48855‐8227
SPEAR, ROBERT R              13800 LONE TREE RD                                                                        MILFORD          MI 48380‐1012
SPEAR, ROGER N               6289 BIRCHVIEW DR                                                                         SAGINAW          MI 48609‐7004
SPEAR, ROY E                 THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                      BOSTON           MA 02110‐2104
SPEAR, THOMAS R              35294 W JEFFERSON AVE                                                                     ROCKWOOD         MI 48173‐9640
SPEAR, TINA D                4936 BECKER DR                                                                            DAYTON           OH 45427‐3020
SPEAR, TRACY D               4430 BLUEBERRY AVE                                                                        DAYTON           OH 45406‐3318
SPEAR, VIRGINIA              7119 TERRY                                                                                SAGINAW          MI 48609‐5267
SPEAR, VIRGINIA              7119 TERRY RD                                                                             SAGINAW          MI 48609‐5267
SPEAR, WILLARD D             63 LAS CASITAS                                                                            FORT PIERCE      FL 34951‐2865
SPEAR,TINA D                 4936 BECKER DR                                                                            DAYTON           OH 45417‐9120
SPEARFISH MOTORS, INC.       1910 N MAIN ST                                                                            SPEARFISH        SD 57783‐2915
SPEARFISH MOTORS, INC.       TODD JENSEN                     1910 N MAIN ST                                            SPEARFISH        SD 57783‐2915
SPEARIN, DAVID G             1701 RICH WAY UNIT L                                                                      FOREST HILL      MD 21050‐3096
SPEARIN, JUDITH MARGOT       38442 RICHLAND ST                                                                         LIVONIA          MI 48150‐2485
SPEARING, FREDRICK S         43538 SUNNYPOINT DR                                                                       STERLING HTS     MI 48313‐2163
SPEARING, FREDRICK STEPHEN   43538 SUNNYPOINT DR                                                                       STERLING HTS     MI 48313‐2163
SPEARING, KAY F              3063 WEST 103 ST                                                                          CLEVELAND        OH 44111‐1839
SPEARLING, CARL R            410 HELEN ST                                                                              MOUNT MORRIS     MI 48458
SPEARLING, MICHAEL B         5143 LAKEWOOD DR                                                                          HARRISON         MI 48525‐9644
SPEARLING, MICHAEL B         1226 WILLARD RD                                                                           BIRCH RUN        MI 48415‐9468
SPEARLING, PATRICK C         5490 SQUIRE LN                                                                            FLINT            MI 48506‐2272
SPEARMAN CARRIE              1532 MENDELL DR                                                                           SAINT LOUIS      MO 63130‐1214
SPEARMAN DAVID               PO BOX 1711                                                                               EASLEY           SC 29641‐1711
SPEARMAN, ALVIN L            2031 COPEMAN BLVD                                                                         FLINT            MI 48504‐3035
SPEARMAN, ANDY J             727 N PAUL LAURENCE DUNBAR ST                                                             DAYTON           OH 45402‐5928
SPEARMAN, ARTHUR J           38212 COVERED BRIDGE BLVD                                                                 ZEPHYSHILLS      FL 33542
SPEARMAN, CATHERINE M        706 CINCINNATI ST                                                                         DAYTON           OH 45408‐2010
SPEARMAN, CHRISTOPHER        1741 KENSINGTON DR                                                                        DAYTON           OH 45406‐3913
SPEARMAN, CONRADE            224 W 13TH ST                                                                             ANDERSON         IN 46016‐1631
SPEARMAN, DOROTHY M          623 MARSHFIELD DRIVE                                                                      ST. LOUIS        MO 63137‐3354
SPEARMAN, ELEANOR G          5569 RIVERTOWN CIR SW                                                                     WYOMING          MI 49418‐9010
SPEARMAN, ERIC A             1205 ARROW AVE                                                                            ANDERSON         IN 46016‐3033
SPEARMAN, GLORIA A           2540 MAIN ST                                                                              ELWOOD           IN 46036‐2105
SPEARMAN, GREGORY A          2115 EASTSTONE ST SE                                                                      CALEDONIA        MI 49316‐7751
SPEARMAN, ISIAH              3228 PRENTISS STREET                                                                      OAKLAND          CA 94601‐2615
SPEARMAN, JOHN               GUY WILLIAM S                   PO BOX 509                                                MCCOMB           MS 39649‐0509
SPEARMAN, KADELL             126 SYLVAN RD                                                                             GREENWOOD        SC 29649‐3032
SPEARMAN, KIRBY A            614 CRESTMORE AVE                                                                         DAYTON           OH 45417‐1536
SPEARMAN, LIZZIE             17255 WESTLAND AVE                                                                        SOUTHFIELD       MI 48075‐4248
SPEARMAN, LORETTA L          614 CRESTMORE AVE                                                                         DAYTON           OH 45417‐1536
SPEARMAN, MAE K              4123 S TERRACE VIEW APT2                                                                  TOLEDO           OH 43607
SPEARMAN, MARGARET Z         1117 TYRONE BLVD N                                                                        ST PETERSBURG    FL 33710‐6310
SPEARMAN, MYRTLE E           16212 FORRER ST                                                                           DETROIT          MI 48235‐3604
SPEARMAN, MYRTLE L           6404 HOOVER RD APT A                                                                      INDIANAPOLIS     IN 46260‐4657
SPEARMAN, MYRTLE LEE         6404 HOOVER RD                  APT A                                                     INDIANAPOLIS     IN 46260‐4657
SPEARMAN, PETER J            6778 BEAR RIDGE RD                                                                        LOCKPORT         NY 14094‐9288
SPEARMAN, PETER JOHN         6778 BEAR RIDGE RD                                                                        LOCKPORT         NY 14094‐9288
SPEARMAN, RACHELLE N         1654 HOBSON RD                                                                            FORT WAYNE       IN 46805‐4878
SPEARMAN, RAY F              5617 DUPONT ST                                                                            FLINT            MI 48505‐2654
SPEARMAN, SIRPRENA           308 LAUREN DR                                                                             FAIRBURN         GA 30213
SPEARMAN, TANGIE R           1248 MISS IRENE LN                                                                        LAWRENCEVILLE    GA 30044‐1829
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Name                               Address1                            Address2                         Address3   Address4         City               State Zip
SPEARMAN, WILBER                   18090 GRUEBNER ST                                                                                DETROIT             MI 48234‐3854
SPEARNAK, MICHAEL                  425 BECKMAN DR                                                                                   MCKEESPORT          PA 15132‐7410
SPEAROT, JAMES A                   135 W HICKORY GROVE RD                                                                           BLOOMFIELD HILLS    MI 48304‐2115
SPEARS BETTY                       SPEARS, BETTY                       PO BOX 5563                                                  BRANDON             MS
SPEARS FIRE & SAFETY SERVICE       287 JACKSON PLZ                                                                                  ANN ARBOR           MI 48103‐1920
SPEARS GARO (507607)               COON BRENT W                        PO BOX 4905                                                  BEAUMONT            TX 77704‐4905
SPEARS GERALDINE                   PO BOX 490                                                                                       BUNA                TX 77612‐0490
SPEARS III, ESTEN W                9127 SE 72ND AVE                                                                                 OCALA               FL 34472‐9203
SPEARS JACKIE L (439529)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA 23510
                                                                       STREET, SUITE 600
SPEARS JAMES                       SPEARS, JAMES                       120 WEST MADISON STREET 10TH                                 CHICAGO             IL   60602
                                                                       FLOOR
SPEARS JOHN R (356991)             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                                       STREET, SUITE 600
SPEARS JR, ALBERT W                6426 ROYAL OAKLAND DR                                                                            INDIANAPOLIS       IN    46236‐4800
SPEARS JR, CLARENCE                5915 BELDING RD                                                                                  BELDING            MI    48809‐8502
SPEARS JR, ESTEN W                 23053 WESTCHESTER BLVD APT G502                                                                  PORT CHARLOTTE     FL    33980‐8491
SPEARS JR, JAMES E                 1566 N COUNTY ROAD 300 E                                                                         DANVILLE           IN    46122‐9354
SPEARS JR, MARSH                   15518 BENTLER ST                                                                                 DETROIT            MI    48223
SPEARS JR, TRACY                   6453 NE 2ND PL                                                                                   OCALA              FL    34470‐1826
SPEARS JR, VIRGIL                  2179 FOX HILL DR APT 6                                                                           GRAND BLANC        MI    48439‐5232
SPEARS LLOYD (475842)              BRAYTON PURCELL                     621 SW MORRISON ST STE 950                                   PORTLAND           OR    97205‐3824
SPEARS LLOYD (494229)              CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                        CLEVELAND          OH    44113‐1328
                                   COONE AND ASSOCIATES
SPEARS LLOYD ALLEN (499605)        BARON & BUDD                        3102 OAK LANE AVE , SUITE 1100                               DALLAS             TX 75219
SPEARS PATRICIA                    12420 HUNTINGTON DR                                                                              LAURINBURG         NC 28352‐2308
SPEARS PAUL                        C/O MCKENNA & CHIODO                436 BOULEVARD OF THE ALLIES ‐                                PITTSBURGH         PA 15219
                                                                       SUITE 500
SPEARS PAUL (507063)               (NO OPPOSING COUNSEL)
SPEARS POWELL AND JESSICA          4016 ORMOND RD                                                                                   LOUISVILLE         KY    40207‐2036
SPEARS SR, MICHEAL E               3102 NICHOLAS RD                                                                                 DAYTON             OH    45408‐2324
SPEARS TRANSFER & EXPEDITING INC   418 JOELLEN PL                                                                                   UNION              OH    45322‐3115
SPEARS, ALBERT                     1132 BALTUSTROL RUN                                                                              AVON               IN    46123‐7078
SPEARS, ALESIA C                   1800 FISK RD                                                                                     HOWELL             MI    48843‐8823
SPEARS, ANDREW                     5 MATILDA ST                                                                                     OSSINING           NY    10562‐3215
SPEARS, ARTHUR L                   5710 WINTHROP BLVD                                                                               FLINT              MI    48505‐5165
SPEARS, BARBARA J                  335 E FIELDSTONE CIR APT 6                                                                       OAK CREEK          WI    53154
SPEARS, BARBARA J                  APT 26B 5515 MADISON RD                                                                          CINCINNATI         OH    45227
SPEARS, BETTY                      PO BOX 5563                                                                                      BRANDON            MS    39047‐5563
SPEARS, BETTY J                    105 AVENUE B                                                                                     ATWOOD             OK    74827‐9776
SPEARS, BEVERLY J                  2902 WESTBROOK AVE                                                                               INDIANAPOLIS       IN    46241‐5977
SPEARS, BILLY A                    305 W TAMI CIR APT 202                                                                           WESTLAND           MI    48186‐5013
SPEARS, BILLY A                    305 W TAMI CIRLCE                   APT 202                                                      WEST LAND          MI    48186
SPEARS, BOBBY                      1246 WALNUT                                                                                      DEARBORN           MI    48124‐5007
SPEARS, BOBBY                      1246 WALNUT ST                                                                                   DEARBORN           MI    48124‐5007
SPEARS, BOBBY                      1912 W 11TH ST                                                                                   MUNCIE             IN    47302‐2153
SPEARS, BOBBY F.                   1912 W 11TH ST                                                                                   MUNCIE             IN    47302‐2153
SPEARS, BONNIE D                   1246 WALNUT ST                                                                                   DEARBORN           MI    48124‐5007
SPEARS, BONNIE S                   2961 E WALTON BLVD                                                                               AUBURN HILLS       MI    48326‐2561
SPEARS, BONNIE S                   2961 WALTON BLVD E                                                                               AUBURN HILLS       MI    48326‐2561
SPEARS, BRANDI N
SPEARS, CALVIN                     264 DANNA RD                                                                                     WEST MONROE         LA   71292‐8645
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Name                    Address1                        Address2                        Address3   Address4         City             State Zip
SPEARS, CALVIN J        DIMOS BROWN ERSKINE BURKETT &   1216 STUBBS AVE                                             MONROE            LA 71201‐5622
                        GARNER LLP
SPEARS, CALVIN J        BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                               DALLAS           TX   75219
SPEARS, CALVIN J        BARON & BUDD PC                 9015 BLUEBONNET BLVD                                        BATON ROUGE      LA   70810‐2812
SPEARS, CALVIN J        BARON & BUDD PC                 9015 BLUEBONNET BLVD                                        BATON ROUGE      LA   70810‐2812
SPEARS, CALVIN J        264 DANNA RD                                                                                WEST MONROE      LA   71292‐8645
SPEARS, CARL G          775 REDBUD LN                                                                               GREENWOOD        IN   46142‐3721
SPEARS, CARLOS E        34900 MERCER                                                                                FRASER           MI   48026‐5009
SPEARS, CATHY J         880 E BAYLOR LN                                                                             CHANDLER         AZ   85225
SPEARS, CHARLES A       10363 STILLWELL CT                                                                          AVON             IN   46123‐8523
SPEARS, CHARLES G       3131 JUDAH RD                                                                               ORION            MI   48359‐2155
SPEARS, CHARLOTTE       5710 WINTHROP BLVD                                                                          FLINT            MI   48505
SPEARS, CHRIS           4680 UTAH RD                                                                                LENA             MS   39094
SPEARS, CHRISTOPHER W   420 DEERWOOD DR                                                                             PIQUA            OH   45356‐8400
SPEARS, CLARENCE E      8616 MINK ST SW                                                                             PATASKALA        OH   43062
SPEARS, DAVID W         5668 BARNES RD                                                                              MILLINGTON       MI   48746‐8711
SPEARS, DAVID WAYNE     5668 BARNES RD                                                                              MILLINGTON       MI   48746‐8711
SPEARS, DEBORAH D       7750 REYNOLDS RD                                                                            CAMBY            IN   46113‐9269
SPEARS, DELORES A       PO BOX 430823                                                                               PONTIAC          MI   48343‐0823
SPEARS, DELORES ANN     PO BOX 430823                                                                               PONTIAC          MI   48343‐0823
SPEARS, DENNIS H        3541 IDLEWILD ST                                                                            PORT CHARLOTTE   FL   33980‐8547
SPEARS, DENNIS R        1931 TUTTLE AVE.                                                                            DAYTON           OH   45403‐3431
SPEARS, DENNIS R        11796 CROSSING DEER CT          BEAVER CREEK                                                ROSCOMMON        MI   48653‐7538
SPEARS, DONNA R         61 TYLER ST                                                                                 BLOOMFIELD       CT   06002‐3108
SPEARS, DONNIE          310 KANSAS LANE                                                                             MONROE           LA   71203‐4769
SPEARS, DONNIE          310 KANSAS LN APT 2                                                                         MONROE           LA   71203
SPEARS, DORIS E         1801 W WESTLEA DR               P.O. BOX 405                                                MARION           IN   46952‐2407
SPEARS, DOROTHY J       156 RIDGEMONT DR                                                                            PONTIAC          MI   48340‐3050
SPEARS, DOROTHY M       791 MARLOW PL                                                                               MANSFIELD        OH   44906‐3037
SPEARS, DUANE M         8496 E 350 N                                                                                ROCKVILLE        IN   47872‐8158
SPEARS, EDITH M         10032 FLIGHT PLAN DR                                                                        GRANBURY         TX   76049‐4455
SPEARS, EDNA F          311 REAR WILGUS ST                                                                          PROCTORVILLE     OH   45669
SPEARS, EDSEL L         6145 COTTON RUN RD                                                                          MIDDLETOWN       OH   45042‐9688
SPEARS, EMILY B         49 EMILY LN                                                                                 CRAWFORDVILLE    FL   32327‐5200
SPEARS, EMILY E         9728 MENDOZA RD                                                                             RANDALLSTOWN     MD   21133‐2531
SPEARS, FLORENCE M      28 GRANT ST                                                                                 TRENTON          NJ   08609
SPEARS, FLORENCE M      104 NEW ROSE ST                                                                             TRENTON          NJ   08618‐3808
SPEARS, FLOYD           5083 N HENDERSON RD                                                                         DAVISON          MI   48423‐8513
SPEARS, FRANKLIN D      6225 AVENUE A                                                                               SANTA FE         TX   77510‐8222
SPEARS, GARO            10212 S VAN VLISSINGEN RD                                                                   CHICAGO          IL   60617‐5639
SPEARS, GARO            COON BRENT W                    PO BOX 4905                                                 BEAUMONT         TX   77704‐4905
SPEARS, GARY W          PO BOX 24699                                                                                INDIANAPOLIS     IN   46224‐0699
SPEARS, GENEVA          3021 DUPONT ST                                                                              FLINT            MI   48504‐2655
SPEARS, GEORGE L        3958 JASPER RD                                                                              JAMESTOWN        OH   45335‐1316
SPEARS, GERALD A        1174 W ROWLAND ST                                                                           FLINT            MI   48507‐4015
SPEARS, GLENN L         1272 PERU HOLLOW RD                                                                         NORWALK          OH   44857‐9196
SPEARS, GREG            485 RAILROAD BED PIKE                                                                       SUMMERTOWN       TN   38483‐7372
SPEARS, H F             20026 SERRE DR                                                                              ESTERO           FL   33928‐6337
SPEARS, HAROLD J        6415 HUBBARD ST                                                                             GARDEN CITY      MI   48135‐1700
SPEARS, HAROLD L        1906 WOODVIEW LN                                                                            ANDERSON         IN   46011‐1055
SPEARS, HOMER M         8496 E 350 N                                                                                ROCKVILLE        IN   47872‐8158
SPEARS, HUBERT          442 PRICHARD ST                                                                             ASHLAND          KY   41102‐3348
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Name                  Address1                            Address2                        Address3   Address4         City             State Zip
SPEARS, IRENE         11796 CROSSING DEER CT                                                                          ROSCOMMON         MI 48653‐7538
SPEARS, IRENE         3828 WHITE RD                                                                                   SPENCER           IN 47460‐5199
SPEARS, IRENE         3020 WHITE RD                                                                                   SPENCER           ON 47450‐5199
SPEARS, IRMELA D      3541 IDLEWILD ST                                                                                PORT CHARLOTTE    FL 33980‐8547
SPEARS, J I           101 CHARLES LN                                                                                  PONTIAC           MI 48341‐2928
SPEARS, JACKIE L      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510‐2212
                                                          STREET, SUITE 600
SPEARS, JAMES         KROHN & MOSS ‐ IN                   120 WEST MADISON STREET 10TH                                CHICAGO           IL   60602
                                                          FLOOR
SPEARS, JAMES B       742 MISTY LN                                                                                    HASTINGS         MI    49058‐9628
SPEARS, JAMES B       1811 DUSTY RD                                                                                   DANVILLE         IN    46122‐9680
SPEARS, JAMES E       224 DARRELL DR                                                                                  ELIZABETHTOWN    KY    42701‐5521
SPEARS, JAMES E       25596 TAROCCO DR                                                                                BONITA SPRINGS   FL    34135‐6403
SPEARS, JANICE A      25596 TAROCCO DR                                                                                BONITA SPRINGS   FL    34135‐6403
SPEARS, JAY S
SPEARS, JEFFERY
SPEARS, JERRY A       7998 CROW RD                                                                                    LITCHFIELD       OH    44253‐9730
SPEARS, JESSIE I      822 N WALNUT ST                                                                                 LANSING          MI    48906‐5109
SPEARS, JESSIE L      4619 YUMA DR                                                                                    INDIANAPOLIS     IN    46241‐6536
SPEARS, JOANN         524 CENTER STREET                                                                               KENNETT SQUARE   PA    19348‐3250
SPEARS, JOHN C        11703 WATERVIEW DR                  APT 302                                                     CHESTER          VA    23831‐7779
SPEARS, JOHN R        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA    23510‐2212
                                                          STREET, SUITE 600
SPEARS, JOHN W        8991 MILE RD                                                                                    NEW LEBANON      OH    45345‐9627
SPEARS, JOSHIE        1308 OLD DIXIE HWY                                                                              AUBURNDALE       FL    33823
SPEARS, JUDY G        264 DANNA RD                                                                                    WEST MONROE      LA    71292
SPEARS, KAREN A       304 N MCLELLAN ST                                                                               BAY CITY         MI    48708‐6784
SPEARS, KAREN A       304 NORTH MCLELLAN STREET                                                                       BAY CITY         MI    48708‐6784
SPEARS, KATHLEEN D    26280 PRINCETON ST                                                                              INKSTER          MI    48141
SPEARS, KENNETH E     3540 42ND ST S APT 51F                                                                          ST PETERSBURG    FL    33711‐9130
SPEARS, LACEY R       1566 N COUNTY ROAD 300 E                                                                        DANVILLE         IN    46122‐9354
SPEARS, LAVERNE A     15420 DECLARATION DR                                                                            WESTFIELD        IN    46074‐8064
SPEARS, LEE A         16568 TULLER ST                                                                                 DETROIT          MI    48221‐2976
SPEARS, LEONARD H     3036 FOLTZ ST                                                                                   INDIANAPOLIS     IN    46241‐6310
SPEARS, LEONARD R     103 YORKSHIRE DR                                                                                ATHENS           AL    35613‐2511
SPEARS, LESTER R      3211 N MCCOY ST                                                                                 INDEPENDENCE     MO    64050‐1108
SPEARS, LEVON         309 E SMITH ST                                                                                  BAY CITY         MI    48706‐3878
SPEARS, LEWIS B       PO BOX 13532                                                                                    FLINT            MI    48501‐3532
SPEARS, LLOYD         CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                       CLEVELAND        OH    44113‐1328
                      COONE AND ASSOCIATES
SPEARS, LLOYD         BRAYTON PURCELL                     621 SW MORRISON ST STE 950                                  PORTLAND         OR    97205‐3824
SPEARS, LLOYD ALLEN   BARON & BUDD                        3102 OAK LANE AVE, SUITE 1100                               DALLAS           TX    75219
SPEARS, LLOYD E       BRAYTON PURCELL                     621 SW MORRISON ST STE 950                                  PORTLAND         OR    97205‐3824
SPEARS, LOIS J        10025 N JEFFERY DR                                                                              MOORESVILLE      IN    46158‐7104
SPEARS, LORRINA       870 LINCOLN ST                                                                                  WYANDOTTE        MI    48192‐2943
SPEARS, LOWELL D      438 N MAIN ST                                                                                   WILKINSON        IN    46186‐9720
SPEARS, LUCILLE       301 E CEDAR ST APT 109                                                                          ONTARIO          CA    91761‐5381
SPEARS, LUCILLE       APT 109                             301 EAST CEDAR STREET                                       ONTARIO          CA    91761‐5381
SPEARS, LUCY M        413 E NORTH ST                                                                                  MEDINA           OH    44256‐1951
SPEARS, LUCY M        413 EAST NORTH ST                                                                               MEDINA           OH    44256‐1951
SPEARS, MACK U        1308 OLD DIXIE HWY                                                                              AUBURNDALE       FL    33823‐9785
SPEARS, MARLO D       428 ANNIS RD                                                                                    SOUTH AMHERST    OH    44001‐3026
                          09-50026-mg            Doc 7123-37    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                      Address1                       Address2                        Address3   Address4         City            State Zip
SPEARS, MELVIN O          3916 INVERNESS AVE                                                                         TOLEDO           OH 43607‐2542
SPEARS, MICHAEL ANTHONY   430 GLENBROOKE CT #16203                                                                   WATERFORD        MI 48327
SPEARS, MICHAEL D         11222 BLUE SEDGE DR                                                                        ROANOKE          IN 46783‐8601
SPEARS, MICHAEL D         1630 OWEN ST                                                                               SAGINAW          MI 48601‐2852
SPEARS, MICHAEL DAVID     1630 OWEN ST                                                                               SAGINAW          MI 48601‐2852
SPEARS, MICHAEL R         10032 FLIGHT PLAN DR                                                                       GRANBURY         TX 76049‐4455
SPEARS, MICHAEL S         E. 515 EASTVIEW                                                                            SPOKANE          WA 99208
SPEARS, MICKEY            16369 N BAKER RD                                                                           TAHLEQUAH        OK 74464‐1164
SPEARS, MURIEL            2325 COVERT RD                                                                             BURTON           MI 48509‐1016
SPEARS, NADINE            RT 2                                                                                       ANDERSON         MO 64831‐9802
SPEARS, NANCY K           10113 SHADOW OAK CIRCLE        LOT 51                                                      RIVERVIEW        FL 33569
SPEARS, PATRICK J         2526 CHATEAU DR                                                                            MUNCIE           IN 47303‐1998
SPEARS, PAUL              C/O THE LIPMAN LAW FIRM        5915 PONCE DE LEON BLVD         SUITE 44                    CORAL GABLES     FL 33146
SPEARS, PAUL              MCKENNA & CHIDO                436 BOULEVARD OF THE ALLIES ‐                               PITTSBURGH       PA 15219
                                                         SUITE 500
SPEARS, PAULITA BERNICE   1548 VIRGINIA DRIVE                                                                        BOWLING GREEN   KY   42101‐2769
SPEARS, PHEESTUS          601 W DEWEY ST                                                                             FLINT           MI   48505‐4003
SPEARS, PHILLIP W         4708 CLEARVIEW DR                                                                          ANDERSON        IN   46013‐2734
SPEARS, QUINTEN           SUTTER & ENSLEIN               1598 KANAWHA BLVD EAST, SUITE                               CHARLESTON      WV   25311
                                                         200
SPEARS, RANDY J           635 BORDEN RD                                                                              CHEEKTOWAGA     NY   14227‐3272
SPEARS, RAYMOND W         1111 E FREDERICK ST                                                                        INDEPENDENCE    MO   64050‐3132
SPEARS, RENDA F           4901 BAYSIDE DR                                                                            DAYTON          OH   45431‐2002
SPEARS, RENDA FAY         4901 BAYSIDE DR                                                                            DAYTON          OH   45431‐2002
SPEARS, RICHARD J         7051 NEW RD                                                                                AUSTINTOWN      OH   44515‐5544
SPEARS, RICHARD ODELL     MOODY EDWARD O                 801 W 4TH ST                                                LITTLE ROCK     AR   72201‐2107
SPEARS, RICHARD W         715 VICTORIA AVE                                                                           FLINT           MI   48507‐1732
SPEARS, RICKY E           2463 N IRISH RD                                                                            DAVISON         MI   48423‐9507
SPEARS, ROBERT            3238 WATERCOURSE CT                                                                        STOCKTON        CA   95206‐5722
SPEARS, ROBERT A          13107 S WILKIE AVE                                                                         GARDENA         CA   90249‐1534
SPEARS, ROBERT K          20 NOTTINGHAM WAY                                                                          MIDDLETOWN      NJ   07748‐1835
SPEARS, RUBY G            616 W 10TH AVE                                                                             FLINT           MI   48503‐1252
SPEARS, RUBY GAIL         616 W 10TH AVE                                                                             FLINT           MI   48503‐1252
SPEARS, SHIRLEY L         8045 E COURT ST                                                                            DAVISON         MI   48423‐2503
SPEARS, SHIRLEY M         2922 CIRCLE DRIVE                                                                          FLINT           MI   48507‐1812
SPEARS, SHIRLEY M         5514 W THOMPSON RD                                                                         INDIANAPOLIS    IN   46221‐3928
SPEARS, STANLEY C         511 CLEAR CREEK DR                                                                         DANVILLE        IN   46122‐9006
SPEARS, T G               16777 CLAYTON RD                                                                           BALLWIN         MO   63011‐1703
SPEARS, TAMMY E           2526 CHATEAU DR                                                                            MUNCIE          IN   47303‐1998
SPEARS, TERRIS            16369 N BAKER RD                                                                           TAHLEQUAH       OK   74464‐1164
SPEARS, TERRY V           SUTTER & ENSLEIN               1598 KANAWHA BLVD EAST, SUITE                               CHARLESTON      WV   25311
                                                         200
SPEARS, THELMA O          68 BEVONNE CT APT 202                                                                      WEST MILTON     OH   45383‐1353
SPEARS, THELMA O          68 BEVONNE COURT APT 202                                                                   WEST MILTON     OH   45383‐1353
SPEARS, THOMAS D          868 BIG WAKE PT                                                                            ASHLAND         NE   68003‐2254
SPEARS, THOMAS J          31 FOREST VIEW RD                                                                          NORTHFORD       CT   06472‐1324
SPEARS, TIMOTHY A         4495 GRAPE VINE DR                                                                         HOWELL          MI   48843‐7296
SPEARS, WALTER T          4863 LANLEE DR                                                                             MEMPHIS         TN   38125‐4812
SPEARS, WENDY M           1119 W 4TH ST                                                                              MARION          IN   46952‐3658
SPEARS, WENDY MAY         1119 W 4TH ST                                                                              MARION          IN   46952‐3658
SPEARS, WESLEY B          6030 E HILL RD                                                                             GRAND BLANC     MI   48439‐9102
SPEARS, WILLIAM A         5622 W STONES CROSSING RD                                                                  GREENWOOD       IN   46143‐8183
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Name                              Address1                         Address2                    Address3   Address4               City               State Zip
SPEARS, WILLIAM E                 5622 W STONES CROSSING RD                                                                      GREENWOOD           IN 46143‐8183
SPEARS,EDSEL L                    6145 COTTON RUN RD                                                                             MIDDLETOWN          OH 45042‐9688
SPEARY, GEORGE J                  PO BOX 302                                                                                     BEAVERTON           MI 48612‐0302
SPEARY, RANDALL J                 9650 E MANNSIDING RD                                                                           GLADWIN             MI 48624
SPEAS, LLOYD I                    4975 STEUBENVILLE RD                                                                           FREEDOM             IN 47431
SPEAS, SYLVIA                     2205 BEDTELYON RD                                                                              WEST BRANCH         MI 48661‐9043
SPEC CAST
SPEC CHECK/STER HGTS              42320 YEAREGO DR                                                                               STERLING HEIGHTS   MI   48314‐3261
SPEC‐TECH ELECTRICAL COMPANY I    203 VEST AVE                                                                                   VALLEY PARK        MO   63088‐1729
SPEC‐TECH INDUSTRIAL ELECTRIC     203 VEST AVE                                                                                   VALLEY PARK        MO   63088‐1729
SPECAC                            50 SHARPE DR                                                                                   CRANSTON           RI   02920‐4463
SPECCAST                          428‐6TH AVE BOX 368                                                                            DYERSVILLE         IA   52040
SPECHT JR, LAWRENCE A             137 CARBONDALE RD                                                                              WAYMART            PA   18472‐9126
SPECHT, AMELIA                    1432 BRIM STREET                                                                               MILLBURY           OH   43447‐9643
SPECHT, ANNE K                    364 EQUUS DR                                                                                   CAMP HILL          PA   17011
SPECHT, BONADALE J                COLLEGE TOWERS                   301 SOUTH BROAD ST                                            GROVE CITY         PA   16127‐6127
SPECHT, DONALD L                  520 W ALEXIS RD APT 21                                                                         TOLEDO             OH   43612
SPECHT, EDNA L                    PO BOX 12866                                                                                   ROCHESTER          NY   14612‐0866
SPECHT, EMMA K.                   376 JEWELWOOD LN                                                                               NAPLES             FL   34112
SPECHT, FREDRICK W                PO BOX 116                       120 E MAPLE ST                                                WEST ELKTON        OH   45070‐0116
SPECHT, LARRY V                   230 SAINT MARYS DR                                                                             HEMLOCK            MI   48626‐9614
SPECHT, MEDONA                    2305                             GROBERG S7 APT 4                                              SAINT PAUL         MN   55112‐1321
SPECHT, NORBERT S                 248 STONE BRIDGE DR                                                                            SAGAMORE HILLS     OH   44067‐3249
SPECHT, PHILLIP R                 2847 STANTON DR                                                                                SAGINAW            MI   48601‐7604
SPECHT, RICHARD D                 2606 HOLLAND ST                                                                                LAKE ORION         MI   48360‐2301
SPECHT, RONALD L                  4281 EMERALD DR                                                                                BRIDGEPORT         MI   48722‐9520
SPECHT, TERRY D                   11105 BRIDLEWOOD TRL                                                                           ZIONSVILLE         IN   46077‐8838
SPECHT, TERRY L                   20 FOREMAN DR                                                                                  ROCHESTER          NY   14616‐5155
SPECHT, THOMAS J                  3807 SIERRA HWY APT 6                                                                          ACTON              CA   93510
SPECHT, THOMAS J                  613 VILLAGE CIR                                                                                ATWATER            CA   95301
SPECHT, WILLIAM J                 2219 MALLARD DR                                                                                REESE              MI   48757‐9465
SPECIAL ADDITIONS, LLC
SPECIAL AVIATION SYSTEMS INC      KELSEY LAW GROUP PC              2395 S HURON PKWY STE 200                                     ANN ARBOR          MI   48104‐5170
SPECIAL COUNCIL                   PO BOX 931822                                                                                  ATLANTA            GA   31193‐1822
SPECIAL COUNSEL                   50 W BIG BEAVER RD STE 475                                                                     TROY               MI   48084‐5290
SPECIAL COUNSEL INC               PO BOX 1024140                                                                                 ATLANTA            GA   30368‐0001
SPECIAL COUNSEL INC.
SPECIAL D AUTOMOTIVE              1785 E INTERSTATE 30 STE A                                                                     ROCKWALL           TX   75087‐6243
SPECIAL DELIVERY EXPRESS          267 MAIN ST                                                                                    FLORENCE           KY   41042‐2028
SPECIAL DELIVERY SERVICE INC      PO BOX 1260                                                                                    TAYLOR             MI   48180‐5660
SPECIAL DELIVERY USA INC          PO BOX 37135                                                                                   MILWAUKEE          WI   53237
SPECIAL DISABILITY FUND           WCB ASSESSMENT COLLECTIONS       20 PARK ST RM 301                                             ALBANY             NY   12207
SPECIAL DISPATCH INC              5830 FEE FEE RD                                                                                HAZELWOOD          MO   63042‐2428
SPECIAL DISPATCH OF INDIANA INC   PO BOX 171                                                                                     INDIANAPOLIS       IN   46206‐0171
SPECIAL DRILL & REAMER CORP       408 E 14 MILE RD                 PO BOX 105                                                    MADISON HEIGHTS    MI   48071‐1404
SPECIAL DRILL & REAMER CORP       408 E 14 MILE RD                 PO BOX 71105                                                  MADISON HEIGHTS    MI   48071‐1404
SPECIAL EVENTS INC                5420 E SAHUARO DR                                                                              SCOTTSDALE         AZ   85254‐4766
SPECIAL EVENTS MANAGEMENT         2221 W 43RD ST                                                                                 CHICAGO            IL   60609‐3006
SPECIAL EVENTS RENTAL             20801 RYAN RD                                                                                  WARREN             MI   48091‐4662
SPECIAL FLEET SERVICES, INC.      875 WATERMAN DR                                                                                HARRISONBURG       VA   22802‐5632
SPECIAL INTEREST AUTO             1100 FRANKLIN BLVD                                                      CAMBRIDGE ON N1R 7K8
                                                                                                          CANADA
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SPECIAL LIBRARIES ASSOCIATION          PO BOX 75338                                                                                        BALTIMORE            MD 21275‐5338
SPECIAL LTL                            PO BOX 34562                                                                                        NORTH KANSAS CITY    MO 64116‐0962
SPECIAL MOLD/ROCHEST                   1900 PRODUCTION DR                                                                                  ROCHESTER HILLS      MI 48309‐3352
SPECIAL OLYMPICS                       ATTN CANDY THOMPSON                12304 MUELLER LN                                                 SPOTSYLVANIA         VA 22551‐8305
SPECIAL OLYMPICS                       1133 19TH ST NW                                                                                     WASHINGTON           DC 20036‐3604
SPECIAL OLYMPICS                       1239 76TH ST SW STE E                                                                               BYRON CENTER         MI 49315‐7922
SPECIAL OLYMPICS INDIANA               PO BOX 497                                                                                          INDIANAPOLIS         IN 46206‐0497
SPECIAL OLYMPICS LA NORTHWEST AREA     PO BOX 5782                                                                                         SHREVEPORT           LA 71135‐5782

SPECIAL OLYMPICS MICHIGAN              PO BOX 474                                                                                          ALMA                MI   48801‐0474
SPECIAL OLYMPICS OF GRANT CO           PO BOX 1093                                                                                         MARION              IN   46952‐7493
SPECIAL OLYMPICS OF MISSOURI           PO BOX 215                                                                                          JEFFERSON CITY      MO   65102‐0215
SPECIAL OLYMPICS TEXAS                 7715 CHEVY CHASE DR STE 120                                                                         AUSTIN              TX   78752‐1219
SPECIAL OLYMPICS WISCONSIN             5643 N SABLE DR                    UPTD 01/17/08 AM                                                 MILTON              WI   53563‐9481
SPECIAL OPERATIONS WARRIOR             PO BOX 13483                                                                                        TAMPA               FL   33681‐3483
FOUNDATION
SPECIAL PROJECTS INC                   45901 HELM ST                                                                                       PLYMOUTH            MI 48170‐6025
SPECIAL SITUATIONS VENTURE PARTNERS    BUDERUSSTR 26                                                               BREIDENBACH HE 35236
                                                                                                                   GERMANY
SPECIAL STAMPINGS INC                  MIKE BROWN X211                    423 MILL ST                                                      ADEL                GA   31620‐2308
SPECIAL STAMPINGS INC                  MIKE BROWN X211                    423 N. MILL ST.                                                  LEWISBERRY          PA   17339
SPECIAL SURGERY,THE                    900 12TH AVE                                                                                        FORT WORTH          TX   76104‐3919
SPECIAL TOOL & ENGINEERING INC         JOE D'AMICO                        33910 JAMES J. POMPO                                             FRANKLIN            IN   46131
SPECIAL TOOL & ENGINEERING INC         33910 JAMES J POMPO DR                                                                              FRASER              MI   48026‐3470
SPECIAL TOOL & ENGINEERING INC         33910 JAMES J. POMPO                                                                                FRASER              MI   48026
SPECIAL TOOL/HEDRSNV                   PO BOX 2496                        260 W. MAIN ST. SUITE 111‐C                                      HENDERSONVILLE      TN   37077‐2496
SPECIAL TRANSPORTATION SERVICE         1428 W HENRY ST STE G                                                                               INDIANAPOLIS        IN   46221‐1273
SPECIAL TRANSPORTATION SERVICES        1428 W HENRY ST STE G                                                                               INDIANAPOLIS        IN   46221‐1273
SPECIAL TRANSPORTATION SERVICES        2503 LAMBERT ST                                                                                     INDIANAPOLIS        IN   46221‐1451
SPECIAL TRANSPORTATION SERVICES        CALVIN JONES                       2503 LAMBERT ST                                                  INDIANAPOLIS        IN   46221
SPECIALE, PHILIP                       34 GATES AVE                                                                                        E BRUNSWICK         NJ   08816‐1220
SPECIALISTE DIAGNOSTIC AUTO            48A CHEMIN LAVALTRIE                                                        LAVALTRIE QC J0K 1H0
                                                                                                                   CANADA
SPECIALISTES D'AUTO P.B. INC.          9190 BOUL MAURICE‐DUPLESSIS                                                 MONTREAL QC H1E 7C2
                                                                                                                   CANADA
SPECIALISTS HOSP SHR                   1500 LINE AVENUE                                                                                    SHREVEPORT          LA   71101
SPECIALISTS IN ORTHO                   1 WILLIAM CARLS DR # 120                                                                            COMMERCE TWP        MI   48382‐2201
SPECIALISTS IN REHAB                   PO BOX 44047                                                                                        DETROIT             MI   48244‐0047
SPECIALISTS ONE DAY                    5719 WIDEWATERS PKWY                                                                                SYRACUSE            NY   13214
SPECIALITES D'AUTO REALDO              249 RUE SEIGNEURIALE                                                        QUEBEC QC G1C 3P7
                                                                                                                   CANADA
SPECIALITES INDUSTRIELLES CANADA INC   150 SHERBROOKE                                                              COWANSVILLE CANADA PQ
                                                                                                                   J2K 3Y9 CANADA
SPECIALITY VEHICLE ENGINEERING          RICH PARKS                        5645 ROYALMOUNT AVE                      OSHAWA ON CANADA
SPECIALIZE GLOBAL LOGISTIC SERVICES INC 802 WILLOW RUN AIRPORT                                                                             YPSILANTI           MI 48198‐0899

SPECIALIZED AUTOMOTIVE SYSTEMS         1366 DOOLITTLE DR                                                                                   SAN LEANDRO         CA 94577
SPECIALIZED CARRIER SERVICE IN         23345 BRANDYWYNNE ST                                                                                SOUTHFIELD          MI 48033‐4879
SPECIALIZED ENG/MI                     PO BOX 81463                       SPECIALIZED ENGINEERING                                          ROCHESTER           MI 48308‐1463
                                                                          PRODUCTS LLC
SPECIALIZED ENG/MI                     PO BOX 81463                                                                                        ROCHESTER           MI 48308‐1463
SPECIALIZED EVENTS SERVICES            201 SANDS AVE                                                                                       LAS VEGAS           NV 89169‐2617
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SPECIALIZED INDUSTRIAL SERV CO        10 LOGRANDE COURT                                                                                           BOHEMIA           NY 11716
SPECIALIZED MACHINERY TRANSPT INC     221 SW CUTOFF RTE 20                                                                                        WORCESTER         MA 01604
SPECIALIZED MOTOR SYSTEM              PAUL KIKUCHI                          WALKER PRODUCTS, INC.            727 23RD ST.                         KEARNEY           NE
SPECIALIZED MOTOR SYSTEMS             ANDREW GOLIKE                         WALKER PRODUCTS, INC             727‐23 ROAD                          LIVONIA           MI 48150
SPECIALIZED MOTOR SYSTEMS             727 23 RD                                                                                                   GRAND JUNCTION    CO 81505‐9685
SPECIALIZED OVER‐DIMENSIONAL SERVICES KEN BROOKS                            807 CARTHAGE HWY                                                      LEBANON           TN 37087‐4612

SPECIALIZED PEACHTREE TITLE SERVICES   6133 PEACHTREE DUNWOODY RD NE                                                                              ATLANTA          GA 30328‐4522
INC
SPECIALIZED TOPICS IN AREAS OF         RADIOLIGIC SCIENCES                  PO BOX 2931                                                           TOLEDO           OH 43606‐0931
SPECIALIZED TRANSPORTATION AGE         5001 US HIGHWAY 30 W                 PO BOX 80520                                                          FORT WAYNE       IN 46818‐9701
SPECIALIZED TRANSPORTATION EFTINC      ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX                                                                MINNEAPOLIS      MN 55485‐5485
                                       AGENT
SPECIALIZED TRANSPORTATION INC         PO BOX 1450                                                                                                MINNEAPOLIS      MN   55485‐5485
SPECIALIZED TRANSPORTATION INC         5001 US HWY 30 W                                                                                           FORT WAYNE       IN   46818
SPECIALIZED VEH/TROY                   1401 PIEDMONT DR                                                                                           TROY             MI   48083‐1952
SPECIALIZED VEHICLES INC               2468 INDUSTRIAL ROW DR                                                                                     TROY             MI   48084‐7005
SPECIALTY AUTO PARTS U.S.A., INC.      RICHARD PRATT                        26708 GROESBECK HWY                                                   WARREN           MI   48089‐4154
SPECIALTY AUTO PARTS U.S.A., INC.      ATTN: MANAGER INVENTORY PLANNING     1 PPG PL                                                              PITTSBURGH       PA   15272‐0001
                                       AND LOGISTICS
SPECIALTY AUTO PARTS USA INC           PO BOX 306                           26708 GROESBECK HWY                                                   ROSEVILLE        MI 48066‐0306
SPECIALTY AUTO PARTS USA INC           ATTN: MANAGER INVENTORY PLANNING     1 PPG PL                                                              PITTSBURGH       PA 15272‐0001
                                       AND LOGISTICS
SPECIALTY AUTO PARTS USA INC           RICHARD PLATT                        26708 GROESBECK HWY                             URAWA‐CITY, SAITAMA
                                                                                                                            JAPAN
SPECIALTY AUTO PARTS USA INC           RICHARD PRATT                        26708 GROESBECK HWY                                                   WARREN           MI   48089‐4154
SPECIALTY AUTO PARTS USA INC           28314 HAYES RD                       PO BOX 306                                                            ROSEVILLE        MI   48066‐2317
SPECIALTY AUTO PARTS USA, INC.         RICHARD PLATT                        26708 GROESBECK HWY                                                   WARREN           MI   48089‐4154
SPECIALTY BOOKS                        6000 POSTON RD                                                                                             ATHENS           OH   45701‐9051
SPECIALTY CARTAGE INC                  2115 E TAYLOR ST                                                                                           HUNTINGTON       IN   46750‐4004
SPECIALTY CLEA/MLFRD                   1280 HOLDEN AVE STE 109                                                                                    MILFORD          MI   48381‐3171
SPECIALTY COATING SYSTEMS INC          7645 WOODLAND DR                                                                                           INDIANAPOLIS     IN   46278‐2707
SPECIALTY COATINGS INC                 33835 KELLY RD                                                                                             FRASER           MI   48026‐1503
SPECIALTY COMPONENT ENGINEERING        4515 RUNWAY DR                                                                                             LANCASTER        CA   93536‐8530
GASKETS INC
SPECIALTY CONTRACT CARRIERS INC        PO BOX 187                                                                                                 FOWLERVILLE      MI 48836‐0187
SPECIALTY CONTRACT CARRIERS INC        PHILLIP UTTER                        324 S COLLINS ST                                                      FOWLERVILLE      MI 48836‐9051
SPECIALTY DEALER ACCESSORY SVC.
SPECIALTY DISTRIBUTORS                 11206 AMPERE CT                                                                                            LOUISVILLE       KY   40299‐3883
SPECIALTY ENGINE COMPONENTS LLC        15385 PINE                                                                                                 ROMULUS          MI   48174‐3659
SPECIALTY ENGINE COMPONENTS LLC        446 CONGDON ST                                                                                             CHELSEA          MI   48118‐1206
SPECIALTY ENGINEERING CORP             1028 SPECIALTY RD                                                                                          DEXTER           MO   63841
SPECIALTY ENGINEERING CORP             PO BOX 245                           1028 SPECIALTY RD                                                     DEXTER           MO   63841‐0245
SPECIALTY EQUIPMENT MARKET             1575 VALLEY VISTA DR                                                                                       DIAMOND BAR      CA   91765‐3914
ASSOCIATION
SPECIALTY FABRICATION                  26429 NORTHLINE RD                                                                                         TAYLOR           MI 48180‐4479
SPECIALTY FINANCE GROUP                3284 NORTHSIDE PKWY NW               STE 150                                                               ATLANTA          GA 30327‐2282
SPECIALTY FINANCE GROUP                ATTN: CORPORATE OFFICER/AUTHORIZED   3284 NORTHSIDE PKWY NW STE 150                                        ATLANTA          GA 30327‐2282
                                       AGENT
SPECIALTY FORM/TIFFN                   1988 S COUNTY ROAD 593                                                                                     TIFFIN           OH 44883‐9275
SPECIALTY GASES SOUTHEAST INC          3496 PEACHTREE PKWY                                                                                        SUWANEE          GA 30024‐1033
SPECIALTY HEALTH CARE‐WOMEN            ATTN: GLORIA JUE                     1335 S LINDEN RD # B                                                  FLINT            MI 48532‐3420
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SPECIALTY INDUSTRIES INC             PO BOX 330                                                                                        RED LION            PA 17356‐0330
SPECIALTY LIFT TRUCKS                4240 ARTESIA AVE                                                                                  FULLERTON           CA 92833‐2521
SPECIALTY MINERALS INC               ATTN: MIKE HAMME                     1 HIGHLAND AVE                                               BETHLEHEM           PA 18017‐9482
SPECIALTY MINERALS INC               35 HIGHLAND AVE                                                                                   BETHLEHEM           PA 18017‐9482
SPECIALTY MINERALS, INC.             JOHN RINE                            1 HIGHLAND AVE                                               BETHLEHEM           PA 18017‐9482
SPECIALTY MOD/ABRN H                 4520 GLENMEADE LN                                                                                 AUBURN HILLS        MI 48326‐1766
SPECIALTY MOTOR WERKES               ATTN: TONY DE PILLO                  5325 SPRINGBORO PIKE                                         MORAINE             OH 45439‐2968
SPECIALTY MOVING SYSTEMS INC         120 INTERNATIONALE BLVD                                                                           GLENDALE HEIGHTS     IL 60139‐2094
SPECIALTY PACK/TN                    5418 STONEWOOD DR                                                                                 SMYRNA              TN 37187‐8099
SPECIALTY PACKAGING                  5418 STONEWOOD DR                                                                                 SMYRNA              TN 37167‐6099
SPECIALTY PARTS WAREHOUSE OF         112 HIGHWAY 52 E                     FMLY SPECIALTY PARTS WAREHOUSE                               OPP                 AL 36467‐3768
ALABAMA
SPECIALTY PRODUCTS COMPANY           4045 SPECIALTY PL                                                                                 LONGMONT           CO 80504‐5400
SPECIALTY PROTOTYPES LLC             5248 YOUNG RD                                                                                     BELLEVUE           MI 49021‐9434
SPECIALTY PROTOTYPES LLC             ATTN: CORPORATE OFFICER/AUTHORIZED   5248 YOUNG RD                                                BELLEVUE           MI 49021‐9434
                                     AGENT
SPECIALTY RENTAL TOOLS               1600 E HWY 6                                                                                      ALVIN              TX   77511
SPECIALTY RENTAL TOOLS               1600 E HIGHWAY 6 STE 205                                                                          ALVIN              TX   77511‐2595
SPECIALTY RENTAL TOOLS & SUPPLY      PAUL FREEMAN                         1600 E HIGHWAY 6 STE 205                                     ALVIN              TX   77511‐2595
SPECIALTY SERVICES                   45 LA PORTE ST                                                                                    ARCADIA            CA   91006‐2826
SPECIALTY SHEET METAL SYSTEMS        822 BEASLEY CIR                                                                                   BLAIRSVILLE        GA   30512‐3524
SPECIALTY STAMP/ADEL                 423 MILL ST                                                                                       ADEL               GA   31620‐2308
SPECIALTY STAMPINGS LLC              MIKE BROWN X211                      423 MILL ST                                                  ADEL               GA   31620‐2308
SPECIALTY STAMPINGS LLC              MIKE BROWN X211                      423 N. MILL ST.                                              LEWISBERRY         PA   17339
SPECIALTY STAMPINGS LLC              423 MILL ST                                                                                       ADEL               GA   31620‐2308
SPECIALTY STEEL TREATING INC         34501 COMMERCE                                                                                    FRASER             MI   48026‐3419
SPECIALTY STEEL TREATING INC         31610 W 8 MILE RD                                                                                 FARMINGTON HILLS   MI   48336‐5207
SPECIALTY SURG CTR D                 7989 W VIRGINIA DR STE 102                                                                        DALLAS             TX   75237‐3837
SPECIALTY SURGICAL C                 696 HAMPSHIRE RD STE 100                                                                          WESTLAKE VILLAGE   CA   91361‐4456
SPECIALTY SYSTEMS INC                308 S STATE AVE                                                                                   INDIANAPOLIS       IN   46201‐3900
SPECIALTY SYSTEMS OF IND             302 S STATE AVE                                                                                   INDIANAPOLIS       IN   46201‐3900
SPECIALTY TOOL & DIE INC             1614 RANK PARKWAY CT                                                                              KOKOMO             IN   46901‐3123
SPECIALTY TOOL INC                   6925 TRAFALGAR DR                                                                                 FORT WAYNE         IN   46803‐3281
SPECIALTY TRANS/REDM                 6975 176TH AVE NE STE 305                                                                         REDMOND            WA   98052‐7909
SPECIALTY TRANSPORT                  6709 176TH AVE NE                                                                                 REDMOND            WA   98052‐4941
SPECIALTY TRUCK PARTS INC            PO BOX 871                                                                                        SAN JOSE           CA   95106‐0871
SPECIALTY VEHICLE ACQUISITION        2120 UNIT 108‐112 CAPSTONE DR                                                                     LEXINGTON          KY   40511
SPECIALTY VEHICLE ACQUISITION CORP   2120 UNIT 108‐112 CAPSTONE DR                                                                     LEXINGTON          KY   40511

SPECIALTY VEHICLE ACQUISITION CORP   6123 E 13 MILE RD                                                                                 WARREN              MI 48092‐2050

SPECIALTY VEHICLE ACQUISTION C       6115 E 13 MILE RD                                                                                 WARREN             MI 48092‐2050
SPECIALTY VEHICLE ACQUISTION C       1225 E MAPLE RD                                                                                   TROY               MI 48083‐2818
SPECIALTY VEHICLE ENGINEERING        30233 GROESBECK HWY                                                                               ROSEVILLE          MI 48066‐1548
AMERICA
SPECIALTY VEHICLES INC               58 GEORGE LEVEN DR                                                                                NORTH ATTLEBORO    MA   02760‐3580
SPECIAN, ABBIE L                     PO BOX 397                                                                                        RUSHFORD           NY   14777‐0397
SPECIE, ARTHUR E                     229 E JENKINS AVE                                                                                 COLUMBUS           OH   43207‐1138
SPECIFIC CRUISE SYSTEMS, INC         BOBBY PANELL                         PO BOX 40557                                                 MURRAY             KY   42071
SPECIFIC MEDIA                       TIM VANDERHOOK                       4 PARK PLZ STE 1900                                          IRVINE             CA   92614‐2585
SPECIFIER PRODUCTS INC               985 GRACELAND AVE                                                                                 DES PLAINES        IL   60016‐7211
SPECK GORDON O (509503)              (NO OPPOSING COUNSEL)
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Name                     Address1                    Address2                       Address3   Address4               City                State Zip
SPECK JR, FRANK C        1110 S LORRAINE RD          APT 1A                                                           WHEATON               IL 60187
SPECK JR, FRANK C        1110 S LORRAINE RD APT 1A                                                                    WHEATON               IL 60189‐7023
SPECK RALPH B (460205)   DUFFY & ASSOCS JOHN J       23823 LORAIN RD                                                  NORTH OLMSTED        OH 44070
SPECK TYLER              SPECK, TYLER                595 MARKET STREET SUITE 1400                                     SAN FRANCISCO        CA 94105
SPECK, ANDREAS           HERMSDORF 14                                                          09661 ROSSAU GERMANY
SPECK, BENJAMIN F        RR 3 BOX 626                                                                                 JONESVILLE          VA   24263‐9607
SPECK, BETTY J           2989 RARIDEN HILL                                                                            MITCHELL            IN   47446‐5337
SPECK, BETTY J           2989 RARIDEN HL                                                                              MITCHELL            IN   47446‐5337
SPECK, CHARLES           1923 DENTRO DE LOMAS                                                                         BONSALL             CA   92003‐6907
SPECK, CHARLES A         2385 MAPLEWOOD ST                                                                            KEEGO HARBOR        MI   48320‐1646
SPECK, DARY R            5097 HOLLOWAY DR                                                                             COLUMBIAVILLE       MI   48421‐8921
SPECK, DAVID S           1029 PARK CIR                                                                                GIRARD              OH   44420‐2315
SPECK, DAVID S           863 KREHL AVE                                                                                GIRARD              OH   44420‐1969
SPECK, DELLILI M         13511 S HORRELL RD                                                                           FENTON              MI   48430‐1012
SPECK, DOROTHY           14196 FRONTIER LN                                                                            GRASS VALLEY        CA   95949‐8336
SPECK, ELMER W           1001 RUBY LN                                                                                 COLDWATER           OH   45828‐1079
SPECK, FLORA A           RT #3 BOX 626                                                                                JANESVILLE          VA   24263‐9607
SPECK, FRED C            1690 FISH LAKE RD                                                                            LAPEER              MI   48446‐8345
SPECK, FREDERICK B       9707 MEMPHIS AVE                                                                             LUBBOCK             TX   79423‐3807
SPECK, GERALD T          5165 GLENGATE RD                                                                             ROCHESTER           MI   48306‐2729
SPECK, HARRY J           323 OAKMONT                                                                                  AUBURN HILLS        MI   48326‐3364
SPECK, HILDA             1041 LEISURE DRIVE                                                                           FLINT               MI   48507
SPECK, JAMES A           4963 FAIRGROVE LN                                                                            COMMERCE TOWNSHIP   MI   48382‐1584
SPECK, JAMES D           214 CRESTWOOD LANE                                                                           RICHMOND            IN   47374‐4741
SPECK, JERRY M           46 CANYON RD                                                                                 ARDMORE             OK   73401‐7143
SPECK, JERRY W           178 HILLTOP RD                                                                               MANSFIELD           OH   44906‐1350
SPECK, JIMMIE L          248 N MAIN ST                                                                                GERMANTOWN          OH   45327‐1008
SPECK, JOHN R            7949 DITCH RD                                                                                CHESANING           MI   48616‐9783
SPECK, JON A             S94W23160 HAWTHORNE CHASM                                                                    BIG BEND            WI   53103‐9740
SPECK, KRISTIN K         863 KREHL AVE                                                                                GIRARD              OH   44420‐1969
SPECK, LORRAINE          7567 HURON                                                                                   TAYLOR              MI   48180‐2610
SPECK, LORRAINE          7567 HURON ST                                                                                TAYLOR              MI   48180‐2610
SPECK, MINNIE M          1705 SERENITY LN                                                                             SANIBEL             FL   33957‐4220
SPECK, NELSON A          1381 ESTATE CT SW                                                                            BYRON CENTER        MI   49315‐9492
SPECK, PAUL E            1141 ISLAND DR                                                                               COMMERCE TWP        MI   48382‐3807
SPECK, PEGGY L           1132 AYERSVILLE AVE                                                                          DEFIANCE            OH   43512‐3107
SPECK, RALPH B           DUFFY & ASSOCS JOHN J       23823 LORAIN RD                                                  NORTH OLMSTED       OH   44070
SPECK, RHONDA L          5097 HOLLOWAY DR                                                                             COLUMBIAVILLE       MI   48421‐8921
SPECK, ROBERT H          1375 SUSSEX RD                                                                               TROY                OH   45373‐2441
SPECK, ROBERT H          1375 SUSSEX RD.                                                                              TROY                OH   45373‐2441
SPECK, ROBERT K          4304 FAIR LN                                                                                 KOKOMO              IN   46902‐5811
SPECK, ROGER N           1380 ROCK RD                                                                                 MANSFIELD           OH   44903‐9084
SPECK, RONALD L          2224 ROSINA DR                                                                               MIAMISBURG          OH   45342‐6420
SPECK, ROSE              5165 GLENGATE ROAD                                                                           ROCHESTER           MI   48306‐8306
SPECK, SIGRID            4860 REXWOOD DR                                                                              DAYTON              OH   45439‐3136
SPECK, THOMAS L          49 E PRINCETON AVE                                                                           PONTIAC             MI   48340‐1950
SPECK, TYLER             DAVIS COWELL & BOWE LLP     595 MARKET ST STE 1400                                           SAN FRANCISCO       CA   94105‐2821
SPECK, VIRGINIA A        5294 W MUSGROVE HWY                                                                          LAKE ODESSA         MI   48849‐9507
SPECK, VIVIAN L          105 WOODHAVEN DR                                                                             LANSING             MI   48917‐3534
SPECK, WILLIAM A         4860 REXWOOD DR                                                                              DAYTON              OH   45439‐3136
SPECK, WINIFRED A        12280 COOK RD                                                                                GAINES              MI   48436‐9656
SPECKART ISAAC M         5707 BROWNSTONE DR                                                                           INDIANAPOLIS        IN   46220‐5851
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Name                                 Address1                          Address2                    Address3       Address4                  City              State Zip
SPECKER, RICHARD D                   15710 OAKMONT DR                                                                                       KEARNEY            MO 64060‐9251
SPECKHALS, JAMES K                   502 PORTRUSH PASS                                                                                      BEAR               DE 19701‐1984
SPECKHALS, JOHN F                    505 BLAKELEY RD                                                                                        WALLINGFORD        PA 19086‐7208
SPECKHALS, JOHN FRANCIS              505 BLAKELEY RD                                                                                        WALLINGFORD        PA 19086‐7208
SPECKHARDT, REINHOLD                 4133 MAPLE RD                                                                                          OSCODA             MI 48750‐9538
SPECKHART, ISAAC M                   5707 BROWNSTONE DR                                                                                     INDIANAPOLIS       IN 46220‐5851
SPECKIN FORENSIC LABORATORIES        2400 SCIENCE PKWY STE 200                                                                              OKEMOS             MI 48864‐5505
SPECKIN LEONARD A                    1903 YUMA TRL                                                                                          OKEMOS             MI 48864‐2744
SPECKIN, DAVID B                     332 N WASHINGTON ST                                                                                    HUBBARDSTON        MI 48845‐9309
SPECKIN, JACALYN M                   13902 LAWSON RD                                                                                        GRAND LEDGE        MI 48837‐9757
SPECKIN, JACALYN MARIE               13902 LAWSON RD                                                                                        GRAND LEDGE        MI 48837‐9757
SPECKING, JAN D                      4464 E LINDA LN                                                                                        ROBERTSVILLE       MO 63072‐2825
SPECKMAN KARL (ESTATE OF) (663733)   WISE & JULIAN                     156 N MAIN ST STOP 1                                                 EDWARDSVILLE        IL 62025‐1972
SPECKMAN, CHARMANE                   5939 BAILEY ST                                                                                         TAYLOR             MI 48180‐1258
SPECKMAN, KARL                       C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                                        EDWARDSVILLE        IL 62025‐1972
SPECKMAN, RAHE W                     G 5201 WOODHAVEN CT               APT 608                                                              FLINT              MI 48532
SPECKMANN, CRAIG A                   1087 BUTCHER RD                                                                                        FENTON             MI 48430‐1201
SPECKMANN, JACK D                    372 W RIVER RD                                                                                         FLUSHING           MI 48433‐2161
SPECKMANN, RICHARD S                 4961 S CALLE DEL MEDIA                                                                                 FORT MOHAVE        AZ 86426‐6595
SPECKS, TENEISHA LEQUEEN             165 S OPDYKE RD LOT 108                                                                                AUBURN HILLS       MI 48326‐3162
SPECMO ENTERPRISES                   TOM WASKO                         1200 E AVIS DR                                                                          MI 48071‐1507
SPECMO ENTERPRISES INC               32655 INDUSTRIAL DR                                                                                    MADISON HEIGHTS    MI 48071‐1517
SPECMO ENTERPRISES INC                                                 32655 INDUSTRIAL DRIVE                                                                  MI 48071
SPECMO/MADISON HTS.                  32655 INDUSTRIAL DR                                                                                    MADISON HEIGHTS    MI 48071‐1517
SPECPLUS AUTOMATION CONSULTANT       DIVISION OF MIDWEST TECHNOLOGY    PO BOX 78155                VENTURES INC                             INDIANAPOLIS       IN 46278‐0155
SPECTER WERKES / SPORTS              999 RANKIN DR                                                                                          TROY               MI 48083‐2823
SPECTER WERKES SPORTS INC            999 RANKIN DR                                                                                          TROY               MI 48083‐2823
SPECTOR, KAY N                       97 APPLE CREEK LN                                                                                      ROCHESTER          NY 14612‐3424
SPECTOR, MAY                         9711 LUBAO AVE                                                                                         CHATSWORTH         CA 91311‐5511
SPECTOR, MICHAEL M                   23532 VALDERAMA LANE                                                                                   SORRENTO           FL 32776‐6936
SPECTOR, SUSAN                       1606 MAPLEWOOD ST                                                                                      SYLVAN LAKE        MI 48320‐1737
SPECTRA MED INC                      3160 HAGGERTY                                                                                          WEST BLOOMFIELD    MI 48323
SPECTRA MEDI                         6562 RIDINGS RD                                                                                        SYRACUSE           NY 13206‐1201
SPECTRA PREMIUM INDUSTRIES           MARK CHURCH X2220                 1421 AMPERE STREET                         GUELPH ON CANADA
SPECTRA PREMIUM INDUSTRIES INC       1421 AMPERE                                                                  BOUCHERVILLE CANADA PQ
                                                                                                                  J4B 5Z5 CANADA
SPECTRA PREMIUM INDUSTRIES INC
SPECTRA PREMIUM INDUSTRIES INC                                         1421 RUE AMPERE                            BOUCHERVILLE,PQ,J4B
                                                                                                                  5Z5,CANADA
SPECTRA PREMIUM INDUSTRIES INC       1421 RUE AMPERE                                                              BOUCHERVILLE QC J4B 5Z5
                                                                                                                  CANADA
SPECTRA PREMIUM INDUSTRIES INC       3825 RUE ALFRED LALIBERTE                                                    SAINTE THERESE PQ J7H
                                                                                                                  1P8 CANADA
SPECTRA PREMIUM INDUSTRIES INC       673 WELLINGTON AVE                                                           WINDSOR ON N9A 5J5
                                                                                                                  CANADA
SPECTRA PREMIUM INDUSTRIES INC       MARK CHURCH X2220                 1421 AMPERE STREET                         GUELPH ON CANADA
SPECTRA PREMIUM INDUSTRIES INC       MICHAEL BENI                      3825 RUE ALFRED LALIBERTE                  BOISBRIAND QC J7H 1P7
                                                                                                                  CANADA
SPECTRA PREMIUM INDUSTRIES INC LES   MARK CHURCH                                                                                                              ON N9A 6

SPECTRA SERVICES INC                 6359 DEAN PKWY                                                                                         ONTARIO           NY 14519‐8939
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Name                                 Address1                        Address2                       Address3   Address4                  City                State Zip
SPECTRA/ PREMIUM INDUSTRIES          673 WELLINGTON AVE                                                        WINDSOR ON N9A 5J5
                                                                                                               CANADA
SPECTRA/PREMIUM INDUSTRIES INC       673 WELLINGTON AVE                                                        WINDSOR ON N9A 5J5
                                                                                                               CANADA
SPECTRAL DYN/SAN JOS                 1983 CONCOURSE DR                                                                                   SAN JOSE            CA    95131‐1708
SPECTRAL DYNAMICS INC                2730 ORCHARD PKWY                                                                                   SAN JOSE            CA    95134‐2012
SPECTRAN INC                         2250 E DEVON AVE                                                                                    ELK GROVE VILLAGE   IL    60007‐6026
SPECTRIS PLC                         2815 COLONNADES CT                                                                                  NORCROSS            GA    30071
SPECTRO ANALYTICAL INSTRUMENTS INC   160 AUTHORITY DR                                                                                    FITCHBURG           MA    01420‐6045

SPECTRO INC                          PO BOX 708                                                                                          CROWLEY             TX    76036‐0708
SPECTRO INC                          160 AYER RD                                                                                         LITTLETON           MA    01460‐1103
SPECTRONICS/LEXINGTN                 2100 ELGIN PL                                                                                       LEXINGTON           KY    40515‐1171
SPECTRUM                             ATTN DEANN                      15151 YORK RD STE 1                                                 NORTH ROYALTON      OH    44133‐4521
SPECTRUM ABRASIVES LTD               3687 NASHUA DR UNIT 6                                                     MISSISSAUGA ON L4V 1V5
                                                                                                               CANADA
SPECTRUM AUTO/LIVONI                 34447 SCHOOLCRAFT RD                                                                                LIVONIA              MI   48150‐1316
SPECTRUM AUTOMATION CO               34447 SCHOOLCRAFT RD                                                                                LIVONIA              MI   48150‐1316
SPECTRUM AUTOMATION CO               34447 SCH00LCRAFT                                                                                   LIVONIA              MI   48150
SPECTRUM COMMERCIAL SERVICES CO      34400 INDUSTRIAL RD                                                                                 LIVONIA              MI   48150‐1308
SPECTRUM CUBIC INC                   PO BOX 153001                                                                                       GRAND RAPIDS         MI   49515‐3001
SPECTRUM CUBIC INC                   13 MCCONNELL ST SW                                                                                  GRAND RAPIDS         MI   49503‐5126
SPECTRUM CUBIC INC                   GAY GARVELINK                   522 PLYMOUTH AVE NE                                                 VALPARAISO           IN   46383
SPECTRUM DIGITAL INC                 12502 EXCHANGE DR STE 440                                                                           STAFFORD             TX   77477‐3608
SPECTRUM GROUP                       1323 ROBERT E LEE LN                                                                                BRENTWOOD            TN   37027‐6824
SPECTRUM HEALTH HOSP                 PO BOX 2127                                                                                         GRAND RAPIDS         MI   49501‐2127
SPECTRUM HEALTH HOSPITALS            PO BOX 2048                     SPECTRUM HEALTH OCCUPATIONAL                                        GRAND RAPIDS         MI   49501‐2048

SPECTRUM HEALTH HOSPITALS            PO BOX 2127                                                                                         GRAND RAPIDS         MI 49501‐2127
SPECTRUM HEALTH KELS                 PO BOX 3567                                                                                         GRAND RAPIDS         MI 49501‐3567
SPECTRUM HEALTH OCCUPATIONAL         973 OTTAWA AVE NW                                                                                   GRAND RAPIDS         MI 49503‐1431
SERVICES
SPECTRUM HEALTH PCP                  PO BOX 2864                                                                                         GRAND RAPIDS         MI   49501‐2864
SPECTRUM HEALTH UNIT                 PO BOX 2709                                                                                         GRAND RAPIDS         MI   49501‐2709
SPECTRUM HUMAN SVC                   ATTN: DEBORAH GULLEY            7430 2ND AVE # 9                                                    DETROIT              MI   48202‐2732
SPECTRUM INDUSTRIES INC              700 WEALTHY ST SW                                                                                   GRAND RAPIDS         MI   49504‐6440
SPECTRUM NEON CO                     3750 E OUTER DR                                                                                     DETROIT              MI   48234‐2946
SPECTRUM QUALITY STANDARDS INC       PO BOX 2346                     17360 GROESCHKE RD                                                  SUGAR LAND           TX   77487‐2346
SPECTRUM QUALITY STANDARDS LTD       PO BOX 2346                                                                                         SUGAR LAND           TX   77487‐2346
SPECTRUM SOFTWARE SOLUTIONS          ATTN: FRANCIS KUNNUMPURATH      6562 RIDINGS RD                                                     SYRACUSE             NY   13206‐1200
SPECTRUM TECHNOLOGIES INC            12245 WORMER                                                                                        REDFORD              MI   48239‐2424
SPECTRUM TOOL & MACHINE INC          740 DRIVING PARK AVE            STE 6                                                               ROCHESTER            NY   14613‐1534
SPECTRUM/CUBIC INC                   GAY GARVELINK                   522 PLYMOUTH AVE NE                                                 VALPARAISO           IN   46383
SPECTRUM/PREMIUM INDUSTRIES          1421 RUE AMPERE                                                           BOUCHERVILLE QC J4B 5Z5
                                                                                                               CANADA
SPECTRUM/PREMIUM INDUSTRIES IN       1421 RUE AMPERE                                                           BOUCHERVILLE QC J4B 5Z5
                                                                                                               CANADA
SPEDDING, JAMES D                    5663 HIDDEN LAKE DR                                                                                 LOCKPORT             NY   14094‐6282
SPEDDING, JOHN C                     5464 SHUNPIKE RD                                                                                    LOCKPORT             NY   14094‐8813
SPEDOSKE, BENJAMIN D                 4924 W MOUNT HOPE HWY                                                                               LANSING              MI   48917‐9588
SPEDOSKE, JOHN J                     831 IONIA RD                                                                                        PORTLAND             MI   48875‐1030
SPEDOSKE, MICHAEL D                  9245 W M78                      NO 1                                                                HASLETT              MI   48840
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SPEDOSKE, NICHOLAS              LOT 123                               1133 YEOMANS STREET                                                   IONIA           MI 48846‐1962
SPEDOSKE, STEVEN G              7845 SYLVAN DR                                                                                              PORTLAND        MI 48875‐1984
SPEDOSKE, WILLIAM P             337 BETHEL DR                                                                                               PORTLAND        MI 48875‐1173
SPEE DEE DELIVERY SERVICE       STEVE DOMBROVSKI                      4101 CLEARWATER RD                                                    SAINT CLOUD     MN 56301‐9635
SPEECE, CHARLES K               150 W MCKAY RD                                                                                              SHELBYVILLE     IN 46176‐3027
SPEECE, CORINNE A               12848 N 300 W                                                                                               ALEXANDRIA      IN 46001‐8697
SPEECE, JOSEPH                  2812 COLUMBUS AVE                                                                                           ANDERSON        IN 46016
SPEECE, ROBERT L                560 ROCKY MEADOW DR                                                                                         GREENWOOD       IN 46143‐7763
SPEECE, ROBERT L                5251 HARTSHIRE WEST DR APT 3                                                                                BARGERSVILLE    IN 46106‐8599
SPEECE, RUTH B                  7800 LONDONDERRY COURT                                                                                      MUNCIE          IN 47304‐9440
SPEECH, JEANETTE M              4690 NORDELL DR                                                                                             JACKSON         MS 39206‐3346
SPEECH, TEIRRAH R               180 TERRY BROOK DRIVE                                                                                       TERRY           MS 39170‐5002
SPEECHLEY EARLE                 APT 327                               300 ERNEST WAY                                                        PHILADELPHIA    PA 19111‐1208
SPEECHMAN, JAMES R              LIPMAN DAVID M                        5901 SW 74TH ST STE 304                                               MIAMI           FL 33143‐5163
SPEECHMAN, ROBERT               146 TAYLOR DR                                                                                               MORTON          MS 39117‐3938
SPEED CLIP MFG. CORP.           RANDY BARNETT                         212 INDUSTRIAL DR                                                     TAYLOR          MI 48180
SPEED GLOBAL SERVICES           PO BOX 738                                                                                                  KENMORE         NY 14217‐0738
SPEED JUDITH                    190 CHINKAPIN RILL                                                                                          FENTON          MI 48430‐8791
SPEED MARIANNE                  705 MEADOWLANE DR                                                                                           RIPLEY          OH 45167‐1346
SPEED MOTOR                     CARL T. SAUARING                      PO BOX 738                                                            BUFFALO         NY 14217‐0738
SPEED QUEEN BAR B Q INC         GILLESPIE, BETTY J                    PO BOX 1487                                                           WAUKESHA        WI 53187‐1487
SPEED STAR CO., LTD             159, 5‐CHOME, OHTASHINMACHI YAO‐SHI                                                   OSAKA JAPAN

SPEED TRANSPORTATION SERVICES   SPEED MOTOR EXPRESS                   PO BOX 738                                                            KENMORE        NY 14217‐0738
SPEED WRENCH INC                3364 QUINCY ST                                                                                              HUDSONVILLE    MI 49426‐7834
SPEED, DEBORAH
SPEED, DEBORAH                  5738 WARWOMAN RD                                                                                            CLAYTON        GA    30525‐4432
SPEED, DONALD G                 1856 EDGEWATER DR                                                                                           CINCINNATI     OH    45240‐1516
SPEED, EDDIE L                  PO BOX 195                                                                                                  CUBA           AL    36907‐0195
SPEED, HOMER                    THE LIPMAN LAW FIRM                   5915 PONCE DE LEON BLVD        SUITE 44                               CORAL GABLES   FL    33146
SPEED, HOYT E                   822 JOE SPEED RD                                                                                            CLAYTON        GA    30525‐3446
SPEED, JAMES E                  2203 NORTH BOND STREET                                                                                      SAGINAW        MI    48602‐5402
SPEED, JIMMIE R                 633 HENDRIX PL                                                                                              SHREVEPORT     LA    71106‐5130
SPEED, JOE S                    750 JOE SPEED RD                                                                                            CLAYTON        GA    30525‐3447
SPEED, JOHNNY                   CATHEY & STRAIN                       PO BOX 689                                                            CORNELIA       GA    30531‐0689
SPEED, JOHNNY                   STOCKTON & RICKMAN                    PO BOX 1550                                                           CLAYTON        GA    30525‐0039
SPEED, JUDITH D                 190 CHINKAPIN RILL                                                                                          FENTON         MI    48430‐8791
SPEED, KENNETH F                323 BASS CT                                                                                                 OLDSMAR        FL    34677‐2403
SPEED, MARIANNE                 705 MEADOWLANE DR                                                                                           RIPLEY         OH    45167‐1346
SPEED, MARIETTA                 APT 246                               8050 LINE AVENUE                                                      SHREVEPORT     LA    71106‐5107
SPEED, RAYNETTA P               650 E BISHOP AVE                                                                                            FLINT          MI    48505‐3346
SPEED, VICTORIA M               PO BOX 131                                                                                                  MOUNT MORRIS   MI    48458‐0131
SPEED, WILLIAM C                315 SYDNEY ST                                                                                               VALLEY         AL    36854
SPEED, WILLIAM C                103 IDAS PLACE                                                                                              HARVEST        AL    35749‐4889
SPEED, WILLIAM R                4797 VISE RD                                                                                                PINSON         AL    35126‐2834
SPEED, WILLIE H                 4101 COLLEGE AVE                                                                                            KANSAS CITY    MO    64130
SPEEDEE CASH                    879 BROOKWAY BLVD                                                                                           BROOKHAVEN     MS    39601‐2641
SPEEDLINE / S L WHEELS INC      17515 W 9 MILE RD STE 875                                                                                   SOUTHFIELD     MI    48075‐4414
SPEEDLINE SRL                   VIA SALGARI 6                                                                         SANTA MARIA DI SALA
                                                                                                                      30027 ITALY
SPEEDLINE SRL CON SOCIO UNIC    BOB LEWICKI                           C/O KUNTZ ELECTROPLATING INC   851 WILSON AVE                         HONEA PATH      SC
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Name                                 Address1                           Address2                        Address3                Address4                 City           State Zip
SPEEDLINE SRL CON SOCIO UNICO        ROBERT LEWICKI                     C/O CLEVELAND PROCESSING CTR    4510 EAST 71ST STREET   HESSEN GERMANY

SPEEDLINE SRL CON SOCIO UNICO        VIA SALGARI 6                                                                              SANTA MARIA DI SALA IT
                                                                                                                                30027 ITALY
SPEEDLINE TECHNOLOGIES INC           16 FORGE PKWY                                                                                                       FRANKLIN       MA    02038‐3157
SPEEDOMETER & AUTO ELEC              1021 3RD AVE N                                                                                                      BILLINGS       MT    59101‐2506
SPEEDOMETER ELECTRIC SERVICE         21101 MISSION BLVD                                                                                                  HAYWARD        CA    94541‐2009
SPEEDRACK PRODUCTS GROUP LTD         7903 VENTURE AVE NW                                                                                                 SPARTA         MI    49345‐9427
SPEEDSHAPE INC                       280 N OLD WOODWARD AVE STE 300                                                                                      BIRMINGHAM     MI    48009‐5393
SPEEDSHELF SYSTEMS INC               21341 HILLTOP ST                                                                                                    SOUTHFIELD     MI    48033‐4064
SPEEDWAY                             ATTN: TOM DODGE                    401 KENTUCKY AVE                                                                 INDIANAPOLIS   IN    46225‐1123
SPEEDWAY                             ATTN: DAN OSOVITCH                 1525 W ALEXIS RD                                                                 TOLEDO         OH    43612‐4046
SPEEDWAY AUTO                        227 TORYORK DR                                                                             WESTON ON M9L 1Y2
                                                                                                                                CANADA
SPEEDWAY CARRIERS INC                1101 HARDING CT                                                                                                     INDIANAPOLIS   IN    46217‐9531
SPEEDWAY CHEVROLET                   2301 N ASPEN AVE                                                                                                    BROKEN ARROW   OK    74012‐1182
SPEEDWAY CHEVROLET, INC.             2301 N ASPEN AVE                                                                                                    BROKEN ARROW   OK    74012‐1182
SPEEDWAY CHEVROLET, INC/FLEET        2301 N ASPEN AVE                                                                                                    BROKEN ARROW   OK    74012‐1182
SPEEDWAY CHEVROLET, LLC              KENNETH WHEADON                    16957 W MAIN ST                                                                  MONROE         WA    98272‐1969
SPEEDWAY CHEVROLET, LLC              16957 W MAIN ST                                                                                                     MONROE         WA    98272‐1969
SPEEDWAY CHEVROLET/EL DORADO NAT     1655 WALL ST                                                                                                        SALINA         KS    67401‐1759

SPEEDWAY ENGINE DEVELOPMENT          350 GASOLINE ALY                                                                                                    INDIANAPOLIS    IN   46222‐3967
SPEEDWAY ENGINE DEVELOPMENT IN       350 GASOLINE ALY                                                                                                    INDIANAPOLIS    IN   46222‐3967
SPEEDWAY EVENTS                      103 INDIAN PAINT DR                                                                                                 JUSTIN          TX   76247‐5822
SPEEDWAY FABRICATION INC             239 HAWKS PREY DR                                                                                                   MOORESVILLE     NC   28115‐8265
SPEEDWAY MOTORSPORTS INC             MR. KEVIN CAMPER                   3545 LONE STAR CIRCLE, JUSTIN                                                    JUSTIN          TX   76247
SPEEDWAY PONTIAC BUICK GMC, INC.     PO BOX 206                                                                                                          LANSING         KS   66043‐0206
SPEEDWAY PROPERTIES COMPANY, LLC     MR. GERRY HORN                     5555 CONCORD PKWY SOUTH                                                          CONCORD         NC   28027

SPEEDWAY STEEL FABRICATION           501 N TRUMAN BLVD                                                                                                   CRYSTAL CITY   MO 63019‐1320
SPEEDWAY SUPERAMERICA                ATTN PREPAID CARDS                 PO BOX 1500                                                                      SPRINGFIELD    OH 45501‐1500
SPEEDWAY SUPERAMERICA LLC            SUBSIDIARY OF MARATHON PETROLEUM   PO BOX 1590                                                                      SPRINGFIELD    OH 45501
                                     COMPANY LLC
SPEEDWELL, THOMAS W                  531 W HAZELHURST ST                                                                                                 FERNDALE        MI 48220‐1858
SPEEDWORKS AUTOMOTIVE                1084 KING RD.                                                                              BURLINGTON ON L7T 3L7
                                                                                                                                CANADA
SPEEDY AUTO SERVICE / 1604900 ONTARIO 255 WEBER ST N                                                                            WATERLOO ON N2J 3H7
LTD                                                                                                                             CANADA
SPEEDY AUTO SVC                       ATTN: RICK BOISVERT               28411 PLYMOUTH RD                                                                LIVONIA         MI 48150‐2327
SPEEDY CHECK CASHERS INC              SCHOENBERG BONNIE                 425 HUEHL ROAD BUILDING 3                                                        NORTHBROOK      IL 60062
SPEEDY CHECK CASHERS INC              GMC
SPEEDY CHECK CASHERS INC
SPEEDY MUFFLER ‐ 2118468 ONTARIO      228 WOOLWICH ST                                                                           GUELPH ON N1H 3V7
LIMITED                                                                                                                         CANADA
SPEEDY RONNIE (447879)                BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                    NORTHFIELD     OH 44067
                                                                        PROFESSIONAL BLDG
SPEEDY TRANSPORT                     265 RUTHERFORD RD S                                                                        BRAMPTON CANADA ON
                                                                                                                                L6W 1V9 CANADA
SPEEDY'S AUTO ZONE                   181 FAIRMOUNT AVE                                                                                                   JERSEY CITY     NJ   07306‐3303
SPEEDY, CAROLYN K                    117 AMBER DR                                                                                                        ANDERSON        IN   46012‐1424
SPEEDY, GUIDO C                      1005 MELROSE DR                                                                                                     ANDERSON        IN   46011‐2346
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Name                          Address1                         Address2                  Address3    Address4              City                State Zip
SPEEDY, MARCUS L
SPEEDY‐PAK INC                PO BOX 1922                                                                                  MYRTLE BEACH         SC   29578‐1922
SPEEDZ AUTOMOTIVE             9227 RUE CHARLES‐DE LATOUR                                             MONTREAL QC H4N 1M4
                                                                                                     CANADA
SPEEDZONE AUTO CENTER, INC.   549 S SAN FERNANDO BLVD                                                                      BURBANK             CA    91502‐1441
SPEEDZONE MARKETING           116 PINE CLIFF LN                                                                            MOORESVILLE         NC    28117‐3518
SPEEGLE, ANNA D               PO BOX 814                                                                                   TRINITY             AL    35673‐0008
SPEEGLE, DONNA A              PO BOX 23                                                                                    FARMINGTON          AR    72730‐0023
SPEEGLE, GUY J                2485 CO RD #585                                                                              TOWN CREEK          AL    35672
SPEEGLE, ROSEMARY A           407 CANAL ST NE                                                                              DECATUR             AL    35601‐1715
SPEELMAN MARIE                121 NORTHWEST OUTLOOK VISTA DR                                                               BEND                OR    97701‐5472
SPEELMAN, ALBERT D            517 W LINCOLNWAY                                                                             MINERVA             OH    44657‐1420
SPEELMAN, CHRISTOPHER K       19482 ROAD 82                                                                                PAULDING            OH    45879‐9725
SPEELMAN, EDWARD A            709 EVANS AVE                                                                                MIAMISBURG          OH    45342‐3311
SPEELMAN, GERALD E            3079 HARTLEY DR                                                                              ADRIAN              MI    49221‐9247
SPEELMAN, JAMES R             LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                     MIAMI               FL    33143‐5163
SPEELMAN, JANE                39100 ELMITE ST                                                                              HARRISON TOWNSHIP   MI    48045‐2041
SPEELMAN, LUCILLE M           235 MIDDLE DR                                                                                WEST JEFFERSON      OH    43162‐1315
SPEELMAN, PAUL G              319 OLD STATE RD                                                                             CLARKSVILLE         OH    45113‐5113
SPEEN, PAUL A                 31615 BOCK ST                                                                                GARDEN CITY         MI    48135‐1410
SPEER JR, ELMER E             68 CRABAPPLE CT                                                                              MASON               MI    48854‐2522
SPEER JR, FLOYD E             4047 LOTUS DR                                                                                WATERFORD           MI    48329‐1231
SPEER KENNETH                 1503 ARROWHEAD DR                                                                            SUN CITY CENTER     FL    33573‐5307
SPEER WILLIAM B               1140 W TUSCOLA ST                                                                            FRANKENMUTH         MI    48734‐9202
SPEER, BENJAMIN R             3010 GALE RD                                                                                 EATON RAPIDS        MI    48827‐9635
SPEER, BEVERLY J              2900 LOCKPORT OLCOTT RD                                                                      NEWFANE             NY    14108‐9601
SPEER, BONNIE J               4149 MILFORD LN                                                                              AURORA              IL    60504‐2103
SPEER, CAROL J                2780 ROY DR APT 438                                                                          SAGINAW             MI    48601
SPEER, CAROLYN S              5378 MARIAN ST                                                                               KATY                TX    77493‐2036
SPEER, CHARLOTTE M            826 BOGEY CT                                                                                 ANN ARBOR           MI    48103‐8845
SPEER, CHRISTINA J            1028 TAYLORSVIEW DR                                                                          VANDALIA            OH    45377‐3232
SPEER, DAISY                  1845 S 1ST ST APT 110                                                                        WEST BRANCH         MI    48661‐8773
SPEER, DAISY                  1845 S. FIRST ST                 APT 110                                                     WEST BRANCH         MI    48661‐8661
SPEER, DELMAR T               9124 COUNTY ROAD 604                                                                         ALVARADO            TX    76009‐8630
SPEER, DOYLE L                20 CHRISTIAN CT                                                                              FREDERICKTOWN       MO    63645‐8529
SPEER, ELIZABETH R            3312 POWERS LN                                                                               DURHAM              NC    27712‐3238
SPEER, FRIEDA A               16300 N PARK DR APT 1213                                                                     SOUTHFIELD          MI    48075‐4724
SPEER, GARY L                 8739 HOSPITAL RD                                                                             FREELAND            MI    48623‐9755
SPEER, H E                    7686 ALBERT TILLINGHAST DRIVE                                                                SARASOTA            FL    34240‐8689
SPEER, H E                    18012 E 31ST TERRACE DR S                                                                    INDEPENDENCE        MO    64057
SPEER, HELEN S                3390 PINERIDGE LN                                                                            BRIGHTON            MI    48116‐9429
SPEER, HENRY W                2479 HARVEST VALLEY LN                                                                       ELGIN               IL    60124
SPEER, JESSIE C               1845 S 1ST ST                    APT 110                                                     WEST BRANCH         MI    48551‐8773
SPEER, MARJORIE L             13084 E YUCCA ST                                                                             SCOTTSDALE          AZ    85259‐4485
SPEER, MICHAEL C              3440 SHERWOOD ST                                                                             SAGINAW             MI    48603‐2062
SPEER, NORMA A                7297 PINESCHI PL                                                                             ROSEVILLE           CA    95747‐8332
SPEER, ROBERT G               7119 E HANNA AVE                                                                             INDIANAPOLIS        IN    46239‐1543
SPEER, STEPHEN W              3203 BURTON PL                                                                               ANDERSON            IN    46013‐5239
SPEER, THEODORE E             663 N EIFERT RD                                                                              MASON               MI    48854‐9559
SPEER, WILLIAM B              1140 W TUSCOLA ST                                                                            FRANKENMUTH         MI    48734‐9202
SPEER, WILLIAM O              456 BUTTERCUP TRL                                                                            LAWRENCEVILLE       GA    30045‐4387
SPEER, WINNIE                 51 RUNNELS STREET                                                                            PORT HURON          MI    48060‐4188
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Name                   Address1                           Address2                           Address3                  Address4               City                State Zip
SPEERHAS, DEAN H       17903 GLENDALE AVE                                                                                                     LAKE MILTON          OH 44429‐9729
SPEERS CHARLES         SPEERS, CHARLES                    15445 COBALT ST, SPC 9                                                              SYLMAR               CA 91432
SPEERS CHARLES         SPEERS, HELEN                      ROBERT SCOTT                       2020 ASSOCIATED ROAD #6                          FULLERTON            CA 92831
SPEERS, BEVERLY        601 S NORTON ST APT D41                                                                                                CORUNNA              MI 48817‐1253
SPEERS, CHARLES        9961 N HUETTER RD                                                                                                      RATHDRUM             ID 83858‐9408
SPEERS, CHARLES        9961 NORTH HUETTER ROAD                                                                                                RATHDRUM             ID 83858‐9408
SPEERS, EVERETT G      1309 NORTH HICKORY STREET                                                                                              OWOSSO               MI 48867‐1815
SPEERS, GEORGE A       9478 S FRANCIS RD                                                                                                      DEWITT               MI 48820‐9139
SPEERS, HELEN          PO BOX 1218                                                                                                            HAYDEN               ID 83835‐1218
SPEERS, HELEN          ROBERT SCOTT                       2020 ASSOCIATED RD UNIT 6                                                           FULLERTON            CA 92831‐1639
SPEERS, JON E          1309 N HICKORY ST                                                                                                      OWOSSO               MI 48867‐1815
SPEERS, RUSSELL F      694 COUNTY ROAD 316                                                                                                    DE BERRY             TX 75639‐2968
SPEES JAMES            10621 MORSE LAKE AVE SE                                                                                                ALTO                 MI 49302‐9234
SPEES, JOHN A          650 BALROYAL CT                                                                                                        INDIANAPOLIS         IN 46234‐2201
SPEES, LEE E           3230 SPEES HARRIS LN                                                                                                   PERRY                FL 32347‐8824
SPEES, THOMAS H        649 E COUNTRY LN                                                                                                       MARTINSVILLE         IN 46151
SPEGAL, DWAYNE E       1152 BERMUDA DR                                                                                                        MIAMISBURG           OH 45342‐3238
SPEGAL, GAIL L         6902 N 400 W                                                                                                           FAIRLAND             IN 46126‐9753
SPEGEL JR, EDWARD J    3403 BANGOR RD                                                                                                         BAY CITY             MI 48706‐1852
SPEGEL, ROXANNE M      3403 BANGOR RD                                                                                                         BAY CITY             MI 48706‐1852
SPEGEL, TERRENCE J     1718 N KNIGHT RD                                                                                                       ESSEXVILLE           MI 48732‐9697
SPEHAR NATALIE         INSURANCE CORPORATION OF BRITISH   P O BOX 49130 THREE BENTALL                                  VANCOUVER BC V7X1J5
                       COLUMBIA                           CENTRE 2900 ‐ 595 BURRARD STREET                             CANADA

SPEHAR NATALIE         SPEHAR, ANN                        P O BOX 49130 THREE BENTALL                                  VANCOUVER BC V7X1J5
                                                          CENTRE 2900 ‐ 595 BURRARD STREET                             CANADA

SPEHAR NATALIE         SPEHAR, NATALIE                    P O BOX 49130 THREE BENTALL                                  VANCOUVER BC V7X1J5
                                                          CENTRE 2900 ‐ 595 BURRARD STREET                             CANADA

SPEHAR, ANN            OWEN BIRD LAW CORPORATION          P O BOX 49130 THREE BENTALL                                  VANCOUVER BC V7X 1J5
                                                          CENTRE 2900 ‐ 595 BURRARD STREET                             CANADA

SPEHAR, DANIEL D       966 BECKY DR                                                                                                           MANSFIELD           OH   44905‐2326
SPEHAR, IVAN           7770 BLACKFORD DR                                                                                                      CHAGRIN FALLS       OH   44022‐3908
SPEHAR, JEAN           25535 POWERS AVE                                                                                                       DEARBORN HTS        MI   48125‐1734
SPEHAR, KATHARINE H    3827 PERCY KING CT                                                                                                     WATERFORD           MI   48329‐1356
SPEHAR, LUCY           31150 BLOCK ST,                                                                                                        GARDEN CITY         MI   48135
SPEHAR, MARIE C        15825 SWATHMORE LN                                                                                                     LIVONIA             MI   48154‐1004
SPEHAR, NATALIE        OWEN BIRD LAW CORPORATION          P O BOX 49130 THREE BENTALL                                  VANCOUVER BC V7X 1J5
                                                          CENTRE 2900 ‐ 595 BURRARD STREET                             CANADA

SPEHAR, ROBERT M       31150 BLOCK ST                                                                                                         GARDEN CITY         MI   48135‐1986
SPEHAR, ROBERT P       849 W THOMAS L PKWY                                                                                                    LANSING             MI   48917‐2121
SPEHAR, THEODORE       1417 E COMMERCE RD                                                                                                     COMMERCE TOWNSHIP   MI   48382‐1242
SPEICH, DANYEL N       24 S CO. H                                                                                                             JANESVILLE          WI   53548
SPEICH, GARY E         38629 GOLFVIEW DR W                                                                                                    CLINTON TWP         MI   48038‐3449
SPEICH, JASON D        24 SO CO H                                                                                                             JANESVILLE          WI   53548
SPEICH, KEVIN B        1129 E MILWAUKEE ST                                                                                                    JANESVILLE          WI   53545‐2548
SPEICHER JR, JOHN R    704 PINE RIDGE DR                  P.O. BOX 51                                                                         DEWITT              MI   48820‐8337
SPEICHER, ANN          6837 ASHBURY DR                                                                                                        FORT WORTH          TX   76133‐5878
SPEICHER, GLENDORA D   4725 FITZGERALD AVE.                                                                                                   YOUNGSTOWN          OH   44515‐4432
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Name                            Address1                          Address2                      Address3   Address4         City            State Zip
SPEICHER, JEFFREY R             256 CAMP RUN RD                                                                             HARMONY          PA 16037
SPEICHER, LARRY D               1812 AUBURN AVE                                                                             NAPERVILLE        IL 60565‐6700
SPEICHER, PHILLIP R             110 E BRANSON ST                                                                            LA FONTAINE      IN 46940‐9155
SPEICHER, R W                   1050 CENTRAL PARKWAY AVE SE                                                                 WARREN           OH 44484‐4451
SPEICHER, RAY E                 3490 DRAPER AVE SE                                                                          WARREN           OH 44484‐3327
SPEICHER, RAY E                 3490 DRAPER S.E.                                                                            WARREN           OH 44484‐3327
SPEICHER, RICHARD L             3440 N 400 E                                                                                MARION           IN 46952‐9621
SPEICHER, SANDRA                SWEENEY PFEIFER ANDERSON & MORGAN 53600 IRONWOOD RD                                         SOUTH BEND       IN 46635‐1503

SPEICHER, TED
SPEICHER, WILLIAM R             194E 650 RD N                                                                               ALEXANDRIA      IN   46001
SPEIDEL, EDNA J                 306 WINGER WAY                                                                              SWEETSER        IN   46987
SPEIDEL, EDNA JANE              306 WINGER WAY                                                                              SWEETSER        IN   46987
SPEIDEL, ERNESTINE M            1345 N MADISON AVE               C/O MANOR CARE HEALTH SERV.                                ANDERSON        IN   46011‐1215
SPEIDEL, GEORGE A               5304 ERNEST RD                                                                              LOCKPORT        NY   14094
SPEIDEL, GEORGE D               174 SHORT ST                                                                                HENRIETTA       TX   76365‐6479
SPEIDEL, JERRY D                9600 W LONE BEECH DR                                                                        MUNCIE          IN   47304‐8932
SPEIDEL, LORI A                 5872 W 1200 S                                                                               FAIRMOUNT       IN   46928‐9401
SPEIDELL, GARY E                28554 HOFFMAN RD                                                                            DEFIANCE        OH   43512‐6994
SPEIER JR, FRED D               4375 CHEVRON DR                                                                             HIGHLAND        MI   48356‐1123
SPEIER RONALD                   47277 ASHLEY CT                                                                             CANTON          MI   48187‐1419
SPEIER, CELESTE                 817 S AMBER LN                                                                              ANAHEIM         CA   92807‐4866
SPEIER, GREGORY M               7120 CRABTREE LN                                                                            SYLVANIA        OH   43560‐1107
SPEIER, GREGORY MARTIN          7120 CRABTREE LN                                                                            SYLVANIA        OH   43560‐1107
SPEIER, MARCEEN M               3217 FIR AVE                                                                                ALAMEDA         CA   94502‐6945
SPEIER, RONALD G                47277 ASHLEY CT                                                                             CANTON          MI   48187‐1419
SPEIGHT JR, HENRY J             146 MOTON DR                                                                                SAGINAW         MI   48601‐1464
SPEIGHT JR, JOE F               PO BOX 619                                                                                  LOCKPORT        NY   14095‐0619
SPEIGHT JR, JOHN O              1724 S LAKESIDE CT                                                                          VENICE          FL   34293‐1928
SPEIGHT RATHER R (351906)       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                 BALTIMORE       MD   21202
                                                                 CHARLES CENTER 22ND FLOOR
SPEIGHT'S AUTO SERVICE CENTER   4723 FAYETTEVILLE RD                                                                        DURHAM          NC   27713‐8901
SPEIGHT, BEATRICE               1010 LAURA ST                                                                               ELIZABETH       NJ   07201‐1506
SPEIGHT, CECIL L                685 E CO RD 600 N                                                                           KOKOMO          IN   46901‐9236
SPEIGHT, DANNY L                2228 BLUEWING ROAD                                                                          GREENWOOD       IN   46143‐6403
SPEIGHT, DOROTHEA E             2018 MARSH RD                                                                               WILMINGTON      DE   19810‐3912
SPEIGHT, ERLENA R               4719 MAJORCA WAY                                                                            OCEANSIDE       CA   92056‐5116
SPEIGHT, JAMES L                220 ADGER CT                                                                                LAWRENCEVILLE   GA   30043‐3079
SPEIGHT, LOIS                   1724 S LAKESIDE CT                                                                          VENICE          FL   34293‐1928
SPEIGHT, OSCAR S                12770 HUBBELL ST                                                                            DETROIT         MI   48227‐2817
SPEIGHT, RATHER R               ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                  BALTIMORE       MD   21202
                                                                 CHARLES CENTER 22ND FLOOR
SPEIGHT, SYLVIA J               PO BOX 619                                                                                  LOCKPORT        NY   14095‐0619
SPEIGHT, WILLIE K               19317 ROBSON ST                                                                             DETROIT         MI   48235‐1952
SPEIGHT, WILLIE K               19317 ROBSON                                                                                DETROIT         MI   48235‐1952
SPEIGHT, ZACHERY                1718 COUNTRY PARK WAY                                                                       LAWRENCEVILLE   GA   30043‐6511
SPEIGHTS HUBERT (663302)        MAZUR & KITTEL PLLC              1490 FIRST NATIONAL BUILDING                               DETROIT         MI   48226
SPEIGHTS, ERNESTINE             4488 YATES RD                                                                               COLLEGE PARK    GA   30337
SPEIGHTS, HUBERT                MAZUR & KITTEL PLLC              1490 FIRST NATIONAL BUILDING                               DETROIT         MI   48226
SPEIGHTS, HUEY                  PO BOX 2408                                                                                 PEEKSKILL       NY   10566‐8808
SPEIGHTS, JAMES H               PO BOX 3022                                                                                 ELIZABETH       NJ   07207‐3022
SPEIGHTS, LEE C                 5525 BERMUDA LN                                                                             FLINT           MI   48505‐1074
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SPEIGHTS, LEROY                 9244 HALBROOK DR                                                                              SAINT LOUIS           MO 63137‐1707
SPEIGHTS, ROSEANN N             PO BOX 2408                                                                                   PEEKSKILL             NY 10566‐8808
SPEIGL JR, GEORGE               16330 ELK HOLLOW ST                                                                           SAN ANTONIO           TX 78247‐1360
SPEIGL MICHAEL B                5726 SEA TURTLE PL                                                                            APOLLO BEACH          FL 33572‐3350
SPEIGL, KENNETH A               PO BOX 410                                                                                    GRAND LEDGE           MI 48837‐0410
SPEIGLE, DONNA                  695 ARLINGTON AVE                                                                             MANSFIELD             OH 44903‐1803
SPEIGLE, EUGENE B               2655 FERNVIEW CT                                                                              NORWOOD               OH 45212‐1309
SPEIGNER, JACKIE                843 E DENWALL DR                                                                              CARSON                CA 90746‐3069
SPEIKES, JERRY A                1507 W 7TH ST                                                                                 MARION                IN 46953‐1338
SPEIR, BARBARA A                927 HIDDEN VALLEY DR                                                                          HURON                 OH 44839‐2685
SPEIRAN, ROSS E                 2217 CHESTNUT CRES                                                                            SALINE                MI 48176‐1681
SPEIRS AUTOMOTIVE ENGINEERING   120 EAST DR STE 3                                                                             MELBOURNE             FL 32904‐1023
SPEIRS, HELEN M                 5000 COMMERCE                                                                                 W BLOOMFIELD          MI 48324‐2200
SPEIRS, HELEN M                 5000 COMMERCE RD                                                                              ORCHARD LAKE          MI 48324‐2200
SPEIRS,KYLIE G                  10356 SHANER AVE NE                                                                           ROCKFORD              MI 49341‐9705
SPEISER, BRUCE W                147 VALLEY VIEW DR                                                                            SENECA                 IL 61360‐9792
SPEISER, HELEN ELAINE           50246 HAYMARKET DRIVE                                                                         MACOMB                MI 48044‐1129
SPEISER, JOHN L                 1940 LANGLAN DR                                                                               DEFIANCE              OH 43512‐3737
SPEISER, MICHAEL A              23410 STATE ROUTE 613                                                                         CONTINENTAL           OH 45831‐8923
SPEISER, PATRICIA               215 CATALINA DR                                                                               DEFIANCE              OH 43512‐3010
SPEISER, PHILLIP H              328 EAST 4TH STREET                                                                           LAWSON                MO 64062‐9384
SPEISER, ROGER W                215 CATALINA DR                                                                               DEFIANCE              OH 43512‐3010
SPEISER, ROGER WILLIAM          215 CATALINA DR                                                                               DEFIANCE              OH 43512‐3010
SPEISER, RONALD                 PO BOX 68                                                                                     OAKWOOD               OH 45873‐0068
SPEISER, SUE ELLEN              PO BOX 19087                        1527 WATER ST                                             EVANSPORT             OH 43519‐0087
SPEIZER HOWARD                  2446 N JANSSEN AVE                                                                            CHICAGO                IL 60614‐2017
SPELBRING, JERRY P              1866 W 300 S                                                                                  TIPTON                IN 46072‐8102
SPELBRING, PAUL L               2739 N COUNT RD 700 E                                                                         POLAND                IN 47868
SPELCE, BUCK                    3301 DOTY LN                                                                                  ARLINGTON             TX 76001‐5335
SPELCE, GARLON W                12 HUNTINGTON DR                                                                              GREENBRIER            AR 72058‐9566
SPELICH, ERMA D                 3707 WARREN SHARON RD                                                                         VIENNA                OH 44473‐9510
SPELICH, GEORGETTE C            369 QUARRY LN NE UNIT A                                                                       WARREN                OH 44483‐4555
SPELICH, GEORGETTE C            217 SOUTH ASPEN CT.1                                                                          WARREN                OH 44484‐4484
SPELICH, MARK A                 PO BOX 8285                                                                                   BOISE                 ID 83707‐2285
SPELKER JR, FRANK C             2982 WIXOM RD                                                                                 COMMERCE TWP          MI 48382‐2043
SPELKER, MARGARET M             949 VESTAVIA WAY                                                                              GULF BREEZE           FL 32563‐3052
SPELL DEBORAH                   265 WALTHERY AVENUE                                                                           RIDGEWOOD             NJ 07450‐2816
SPELL, ALDEN C                  ERNSTER CLETUS P III                2700 POST OAK BLVD STE 1350                               HOUSTON               TX 77056‐5785
SPELL, ANGELA C                 3044 W GRAND BLVD                   C/O MUNICH 3‐220 GM BLDG                                  DETROIT               MI 48202‐3009
SPELL, DAVID M                  3044 W GRAND BLVD                   C/O MUNICH 3‐220 GM BLDG                                  DETROIT               MI 48202‐3009
SPELL, DONALD C                 6001 E 850 N                                                                                  MOORELAND             IN 47360
SPELL, HAROLD                   1675 WALTON RESERVE BLVD APT 1104                                                             AUSTELL               GA 30168‐2538
SPELL, THERESA H                1133 N CAREY ST                                                                               BALTIMORE             MD 21217‐2619
SPELLACY, RICHARD S             23 HALIFAX CT                                                                                 MARLTON               NJ 08053‐2820
SPELLAN, ROBERT E               66 HOUGH RD                                                                                   MASSENA               NY 13662‐4305
SPELLANE, BERNADETTE I          39 FIRST STREET # A009                                                                        WORCESTER             MA 01602‐3136
SPELLANE, BERNADETTE I          39 1ST ST APT A009                                                                            WORCESTER             MA 01602‐3136
SPELLBURG, ELVA V               534 BIRCHWOOD SQ APT 1                                                                        WEST SENECA           NY 14224‐2142
SPELLEN, JOHN E                 276 CHANNING DR                                                                               RICHMOND HILL         GA 31324‐9316
SPELLER JR, BRAXTON             1712 SPARROW HAWK LN                                                                          ROCKY MOUNT           NC 27804‐9278
SPELLER JR, LEROY               44 HARGROVE LN                                                                                WILLINGBORO           NJ 08046‐1710
SPELLER, EUGENE C               22486 E 10 MILE RD                                                                            SAINT CLAIR SHORES    MI 48080‐1342
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Name                                   Address1                            Address2                       Address3         Address4         City            State Zip
SPELLER, JEFFREY M                     6524 BETSY ROSS PL                                                                                   MILWAUKEE        WI 53213
SPELLER, MYRTLE W                      2203 BLUEGRASS DR                                                                                    MOUNT LAUREL     NJ 08054‐6939
SPELLER, ROSALIND B                    16219 JOY RD                        APT 20T                                                          DETROIT          MI 48228
SPELLER, WARREN G                      844 PINE NEEDLES DR                                                                                  CENTERVILLE      OH 45458‐3329
SPELLERBERG, AUGUST J                  30400 SHAWNEE BND                                                                                    WARSAW           MO 65355‐4006
SPELLICK, DAVID L                      204 CREED ST                                                                                         STRUTHERS        OH 44471‐1637
SPELLICK, DEBORAH K                    220 BAIRD RD                                                                                         EDINBURG         PA 16116‐3008
SPELLINGS IV, LESLIE H                 5506 LONG CREEK LN                                                                                   HOUSTON          TX 77088‐5524
SPELLMAN CHARLES                       9627 AZURE LAKE DRIVE                                                                                MAGNOLIA         TX 77354‐6947
SPELLMAN EDWARD                        709 EVANS AVE                                                                                        MIAMISBURG       OH 45342‐3311
SPELLMAN THOMAS & TERRY                13161 W HUNT MASTER LN                                                                               LEMONT            IL 60439‐8168
SPELLMAN VICTOR JAMES SR (ESTATE OF)   COON & ASSOCS BRENT                 917 FRANKLIN ST STE 210                                          HOUSTON          TX 77002‐1751
(625069)
SPELLMAN, ANNIE R                      12817 FOX HAVEN DR                                                                                   FLORISSANT      MO   63033‐4809
SPELLMAN, BETTY                        PO BOX 28442                                                                                         COLUMBUS        OH   43228‐0442
SPELLMAN, DAVID M                      11130 GUY ST                                                                                         FISHERS         IN   46038‐5548
SPELLMAN, JOY                          1622 CHIPPEWA CT                                                                                     GROVE CITY      OH   43123‐9717
SPELLMAN, KATHLEEN D                   33735 ALTA LOMA DR                                                                                   FARMINGTON      MI   48335‐4105
SPELLMAN, KATHLEEN D.                  33735 ALTA LOMA DR                                                                                   FARMINGTON      MI   48335‐4105
SPELLMAN, TRACY R                      114 MOSES GRIFFIN LANE                                                                               NEW BERN        NC   28562‐2244
SPELLMAN, VICTOR JAMES                 COON & ASSOCS BRENT                 917 FRANKLIN ST STE 210                                          HOUSTON         TX   77002‐1751
SPELLMAN, WILLIAM J                    8329 SUNSET RIDGE CT                                                                                 ORLAND PARK     IL   60462‐4020
SPELLMAN‐CUSIMANO, ELAINE              ACCT OF 95D02848                    547 BLUEBIRD DR                                                  BOLINGBROOK     IL   60440
SPELLMIE WILLIAMS                      2705 STINSON DR                                                                                      FORT WAYNE      IN   46816‐4066
SPELLMYRA WESTMORELAND                 131 PRIMROSE LN                                                                                      BARTLETT        IL   60103
SPELLS BETTY A                         SPELLS, BETTY A
SPELLS BETTY A                         SPELLS, TONIA M
SPELLS, ALMA G                         5902 MEADOWLARK DR                                                                                   INDIANAPOLIS    IN   46226‐3333
SPELLS, BOOKER T                       414 CENTRAL AVE                                                                                      PONTIAC         MI   48341‐3301
SPELLS, DUANE L                        12740 CASTILLA PL                                                                                    INDIANAPOLIS    IN   46236‐6376
SPELLS, FRANKLIN B                     339 HURON AVENUE                                                                                     DAYTON          OH   45417‐5417
SPELLS, FRANKLIN B                     339 HURON AVE                                                                                        DAYTON          OH   45417‐1623
SPELLS, JAMES A                        5736 W PORT DR                                                                                       MC CORDSVILLE   IN   46055‐9341
SPELLS, JUANITA H                      1526 CORY DR                                                                                         DAYTON          OH   45406‐5913
SPELLS, LESTER                         3310 W 33RD ST                                                                                       INDIANAPOLIS    IN   46222‐1850
SPELLS, MARVIS                         3475 BOULEVARD PL                   APT 105                                                          INDIANAPOLIS    IN   46208‐4400
SPELLS, MELVIN                         6020 TERRYTOWN PARKWAY                                                                               INDIANAPOLIS    IN   46254‐5047
SPELLS, ROY E                          6069 MACBETH WAY                                                                                     INDIANAPOLIS    IN   46254‐5093
SPELLS, TINA                           2644 AURIE DR                                                                                        INDIANAPOLIS    IN   46219‐1304
SPELLS, WILLIAM T                      PO BOX 1830                                                                                          PONTIAC         MI   48343
SPELMAN COLLEGE                        SCHOLARSHIP OFFICE                  350 SPELMAN LN SW              CAMPUS BOX 226                    ATLANTA         GA   30314‐4395
SPELMAN COLLEGE                        PO BOX 102471                                                                                        ATLANTA         GA   30368‐0471
SPELMAN, JACK B                        30 LAUREL LAKE DR                                                                                    HUDSON          OH   44236‐2157
SPELMAN, JOHN W                        1073 STOWELL DR APT 2                                                                                ROCHESTER       NY   14616‐1859
SPEN TECH                              FAY SHARPE LLP                      1100 SUPERIOR AVENUE SEVENTH                                     CLEVELAND       OH   44114‐2579
                                                                           FLOOR
SPEN TECH MACHINE ENGINEERING
SPEN TECH/BURTON                   2475 E JUDD RD                                                                                           BURTON           MI 48529‐2410
SPEN‐TECH MACHINE ENGINEERING      2475 E JUDD RD                                                                                           BURTON           MI 48529‐2410
SPEN‐TECH MACHINE ENGINEERING CORP 2475 E JUDD RD                                                                                           BURTON           MI 48529‐2410

SPENARD, LINDA D                       309 S KALISPELL WAY APT D                                                                            AURORA          CO 80017‐3704
                                       09-50026-mg             Doc 7123-37    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                                   Address1                         Address2                      Address3        Address4         City              State Zip
SPENCE & FRYE CO.                      1847 E WALNUT ST                                                                                PASADENA           CA 91107‐3581
SPENCE BRENDA                          SPENCE, BRENDA                   ERIE INSURANCE                P.O. BOX 4409                    SILVER SPRINGS     MD 20914‐4409
SPENCE CADILLAC‐PONTIAC‐BUICK‐GMC,     15283 US HIGHWAY 19 S                                                                           THOMASVILLE        GA 31792‐4867

SPENCE CADILLAC‐PONTIAC‐BUICK‐GMC, I   ALBERT PARK                      15283 US HIGHWAY 19 S                                          THOMASVILLE       GA 31792‐4867

SPENCE CADILLAC‐PONTIAC‐BUICK‐GMC,     ALBERT PARK                      15283 US HIGHWAY 19 S                                          THOMASVILLE       GA 31792‐4867
INC.
SPENCE CADILLAC‐PONTIAC‐BUICK‐GMC,     15283 US HIGHWAY 19 S                                                                           THOMASVILLE       GA 31792‐4867
INC.
SPENCE COTTON                          PO BOX 193                                                                                      FLINT             MI   48501‐0193
SPENCE INDUSTRIES INC                  23888 DEQUINDRE RD                                                                              WARREN            MI   48091‐1823
SPENCE JR, CALVIN                      1035 E 212TH ST 3                                                                               BRONX             NY   10469
SPENCE JR, FLOYD                       2349 BOLD SPRINGS RD NW                                                                         MONROE            GA   30656‐4006
SPENCE JR, JAMES                       2743 DAUGHERTY DR                                                                               ZIONSVILLE        IN   46077‐9475
SPENCE JR, JOHN T                      20975 SEMINOLE ST                                                                               SOUTHFIELD        MI   48033‐3551
SPENCE JR, WILLIAM A                   698 MIDWAY ST                                                                                   LEWISBURG         TN   37091‐4123
SPENCE LEONARD (476185)                ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                     BALTIMORE         MD   21202
                                                                        CHARLES CENTER 22ND FLOOR
SPENCE MARINA                          767 FIFTH AVE 15TH FL                                                                           NEW YORK          NY   10153
SPENCE MICHELE                         920 TOPAZ CT                                                                                    RIPON             CA   95366‐2267
SPENCE QUINN                           500 COUNTY ROAD 750                                                                             ATHENS            TN   37303‐6228
SPENCE TRACY                           SPENCE, TRACY                    330 GLENGARY RD                                                WALLED LAKE       MI   48390
SPENCE TRACY F (407238)                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK           VA   23510
                                                                        STREET, SUITE 600
SPENCE W QUINN                         500 COUNTY RD 750                                                                               ATHENS            TN   37303
SPENCE, AARON J                        8990 SHEPARDSVILLE RD                                                                           LAINGSBURG        MI   48848‐8212
SPENCE, ALLEN                          258 COUNTRYWOOD PL                                                                              BOWLING GREEN     KY   42101‐9640
SPENCE, ALPHONSO T                     954 ELK HOLLOW LN 48                                                                            DAYTON            OH   45459
SPENCE, AMANDA                         850 WHITE OAK RD                                                                                CHAPMANVILLE      WV   25508‐9590
SPENCE, BARBARA A                      5148 DARBY ST                                                                                   FLINT             MI   48532‐4148
SPENCE, BARBARA A                      9513 GRAYSTONE LN                                                                               MENTOR            OH   44060‐4578
SPENCE, BECKY J                        2309 CANTERBURY DR                                                                              KOKOMO            IN   46902‐3150
SPENCE, BENNY                          PO BOX 764                                                                                      FLINT             MI   48501‐0764
SPENCE, BERNARD                        1073 COOPERS MILL RD                                                                            BISHOPVILLE       SC   29010‐8605
SPENCE, BERTHA L                       LAUREL WOOD NURSING CENTER       100 LAUREL DRIVE                                               ELKTON            MD   21921
SPENCE, BERTHA M                       1022 EAST 8TH STREET                                                                            MUNCIE            IN   47302‐3523
SPENCE, BERTHA M                       16401 N 700 E                                                                                   DUNKIRK           IN   47336‐9282
SPENCE, BILLY G                        1321 NATURAL BRIDGE RD                                                                          SLADE             KY   40376‐9014
SPENCE, BILLY J                        PO BOX 294                                                                                      WELCH             WV   24801‐0294
SPENCE, BILLY R                        850 WHITE OAK RD                                                                                CHAPMANVILLE      WV   25508‐9590
SPENCE, BONNIE F                       1656 18TH ST                                                                                    WYANDOTTE         MI   48192‐3506
SPENCE, BRENDA                         219 BURCHARD SAWMILL RD                                                                         CHESTERTOWN       MD   21620‐2929
SPENCE, BRENDA                         ERIE INSURANCE                   PO BOX 4409                                                    SILVER SPRING     MD   20914‐4409
SPENCE, CAROL J                        12822 W SELLS DR                                                                                LITCHFIELD PARK   AZ   85340‐6520
SPENCE, CARSON E                       927 N PARK ST                                                                                   OWOSSO            MI   48867‐1748
SPENCE, CHARLES                        1200 N GAVIN ST                                                                                 MUNCIE            IN   47303‐3318
SPENCE, CHRISTINE L                    4828 MEDICAL DR APT 504                                                                         BOSSIER CITY      LA   71112‐4261
SPENCE, CHRISTINE L                    4828 MEDICAL DRIVE               APT 504                                                        BOSSIER CITY      LA   71112‐1112
SPENCE, CLARA A                        870 PEAVINE RD                                                                                  COLDWATER         MS   38618‐4222
SPENCE, CONSTANCE L                    3349 LAWSON DR                                                                                  BEAVERCREEK       OH   45432‐2735
SPENCE, CURTIS L                       790 ARNOLD SPENCE RD                                                                            BALL GROUND       GA   30107‐2412
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Name                    Address1                         Address2                    Address3   Address4         City              State Zip
SPENCE, DAVID G         857 RIVER BEND DR                                                                        ROCHESTER HILLS    MI 48307‐2729
SPENCE, DAVID H         5029 BRITT RD                                                                            HALE               MI 48739‐9089
SPENCE, DELCINA F
SPENCE, DELMAR C        12155 BERLIN RD                                                                          SOUTH ROCKWOOD    MI   48179‐9748
SPENCE, DOROTHY V       3418 GALLIA ST                                                                           NEW BOSTON        OH   45662‐4906
SPENCE, EDDIE J         4635 E 43RD ST TERR                                                                      KANSAS CITY       MO   64130
SPENCE, ELLEN           10015 LITTLEFIELD ST                                                                     DETROIT           MI   48227‐3428
SPENCE, ENOCH           10665 JERRY COE LN                                                                       STRONGSVILLE      OH   44149‐1425
SPENCE, EVELYN          2476 S BASSETT ST                                                                        DETROIT           MI   48217‐1651
SPENCE, EVERETT J       10621 NEW HOPE RD NW                                                                     FROSTBURG         MD   21532‐3045
SPENCE, FRANCES M       37610 BUTTERNUT RIDGE                                                                    ELYRIA            OH   44035‐8464
SPENCE, GARY L          2638 SMITH RD                                                                            BUCYRUS           OH   44820‐9666
SPENCE, GEORGIA M       4306 CRISSMAN ST                                                                         FLINT             MI   48505‐5334
SPENCE, GERALDINE       1850 US 27 SOUTH                 LOT P3                                                  AVON PARK         FL   33825
SPENCE, GERTRUDE M      2491 W MANOR AVE                                                                         YOUNGSTOWN        OH   44514
SPENCE, GLADYS E        738 W LAKE AVE                                                                           NEW CARLISLE      OH   45344‐1756
SPENCE, GLADYS E        738 W LAKE AVENUE                                                                        NEW CARLISLE      OH   45344‐1756
SPENCE, GLENN V         RR 1 BOX 700                                                                             EAST LYNN         WV   25512‐9735
SPENCE, GLORIA I        1123 MEADOWLARK DR                                                                       WATERFORD         MI   48327‐2956
SPENCE, GRAHAM J        6902 LITTLE CREEK DR                                                                     TROY              MI   48085‐1414
SPENCE, GREGORY L       2806 E CHASE ST                                                                          BALTIMORE         MD   21213‐3807
SPENCE, HAZEL           APT 312                          2385 CEDAR PARK DRIVE                                   HOLT              MI   48842‐3111
SPENCE, HELEN J         845 EAGLES NEST LANDING RD                                                               TOWNSEND          DE   19734‐9005
SPENCE, HELEN JACKLYN   845 EAGLES NEST LANDING RD                                                               TOWNSEND          DE   19734‐9005
SPENCE, JACQUELYN       101 MAPLE ST                                                                             LEROY             MI   49655‐5133
SPENCE, JAMES E         270 SUGAR MILL DR                                                                        BOWLING GREEN     KY   42104‐7462
SPENCE, JAMES E         3444 FIELD RD                                                                            CLIO              MI   48420‐1165
SPENCE, JAMES EDWARD    270 SUGAR MILL DR                                                                        BOWLING GREEN     KY   42104‐7462
SPENCE, JAMES N         920 STEFAN WALK                                                                          CUMMING           GA   30040‐3560
SPENCE, JAMES W         55 W SLOCUM BLVD                                                                         LA FONTAINE       IN   46940‐9101
SPENCE, JENNIFER
SPENCE, JIMMIE V        2065 FOREST HILL AVE SE                                                                  GRAND RAPIDS      MI   49546‐6261
SPENCE, JOHN E          2614 S LINVILLE ST                                                                       WESTLAND          MI   48186‐4216
SPENCE, JOHNNY R        1088 BAY COLONY DR                                                                       RICHMOND          KY   40475‐3844
SPENCE, KATHLEEN M      5135 CLARKSTON RD                                                                        CLARKSTON         MI   48348‐3806
SPENCE, KEVIN M         220 LEMON DR                                                                             ARLINGTON         TX   76018‐1630
SPENCE, LARRY L         111 S SUMMIT ST APT 205                                                                  TOLEDO            OH   43604‐8755
SPENCE, LARRY L         6644 E 750 S                                                                             JONESBORO         IN   46938‐9728
SPENCE, LARRY S         5135 CLARKSTON RD                                                                        CLARKSTON         MI   48348‐3806
SPENCE, LARRY W         5380 CENTER ST                                                                           CLARKSTON         MI   48346‐3567
SPENCE, LEONARD         ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE         MD   21202
                                                         CHARLES CENTER 22ND FLOOR
SPENCE, LEROY B         5718 WINTHROP BLVD                                                                       FLINT             MI   48505‐5165
SPENCE, LEW E           1‐1836‐2                                                                                 SWANTON           OH   43558
SPENCE, LYNNE M         11234 BLOOMINGTON DR                                                                     TAMPA             FL   33635‐1522
SPENCE, MADELINE C      61 WILLOWICK DR                  UNIT 61                                                 LITHONIA          GA   30038
SPENCE, MAE V           PO BOX 764                                                                               FLINT             MI   48501‐0764
SPENCE, MARK A          PO BOX 395                                                                               HASLETT           MI   48840
SPENCE, MARK D          PO BOX 156                                                                               GAINES            MI   48436‐0156
SPENCE, MARY            2450 DORA AVE                                                                            TAVARES           FL   32778
SPENCE, MARY L          3435 CURWOOD ST                                                                          WATERFORD         MI   48329‐4013
SPENCE, MARY M          7653 ACACIA AVE                                                                          MENTOR            OH   44060‐6061
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Name                       Address1                           Address2                        Address3   Address4         City                State Zip
SPENCE, MATTHEW P          6415 N HENDERSON FORD RD                                                                       MOORESVILLE          IN 46158‐6642
SPENCE, MICHAEL C          2638 SMITH RD                                                                                  BUCYRUS              OH 44820‐9666
SPENCE, NANCY L            2701 MUTUAL UNION RD                                                                           URBANA               OH 43078‐9756
SPENCE, NANCY L            2701 S MUTUAL UNION RD                                                                         URBANA               OH 43078‐9756
SPENCE, NILA P             G3064 MILLER RD APT 701                                                                        FLINT                MI 48507‐1342
SPENCE, PATRICK            GORBERG DAVID J & ASSOCIATES       2325 GRANT BUILDING 310 GRANT                               PITTSBURGH           PA 15219
                                                              STREET
SPENCE, PAUL J             44335 CADBURRY DR                                                                              CLINTON TWP         MI   48038‐1452
SPENCE, PAUL K             248 FAIR HILL DR                                                                               ELKTON              MD   21921‐2515
SPENCE, PHILIP B           1657 DOUGWOOD DR                                                                               MANSFIELD           OH   44904‐2106
SPENCE, PRESTON            200 LAWRENCE ST                                                                                NEW BRUNSWICK       NJ   08901‐3433
SPENCE, RALPH E            8909 W 148TH ST                                                                                OVERLAND PARK       KS   66221‐2206
SPENCE, ROBERT E           15672 CHELMSFORD ST                                                                            CLINTON TWP         MI   48038‐3210
SPENCE, ROBERT G           17004 CRYSTAL DR                                                                               MACOMB              MI   48042‐2912
SPENCE, RONALD L           215 CASE RD                                                                                    MONROE              LA   71203‐8403
SPENCE, ROSEMARY           1321 NATURAL BRIDGE RD                                                                         SLADE               KY   40376‐9014
SPENCE, RUSSELL            3765 WOODFORD RD                                                                               CINCINNATI          OH   45213‐2209
SPENCE, RUSSELL J          221 S SCOTT DR                                                                                 FARWELL             MI   48622‐9714
SPENCE, SANDRA A           4413 ESTA DR                                                                                   FLINT               MI   48506‐1453
SPENCE, SARA Y             207 KINGS BRIDGE                                                                               ATLANTA             GA   30329
SPENCE, SCOTT R            3102 VININGS RIDGE DR SE                                                                       ATLANTA             GA   30339
SPENCE, SHARI J            3167 ATLAS RD                                                                                  DAVISON             MI   48423‐8606
SPENCE, SHARI JEAN         3167 ATLAS RD                                                                                  DAVISON             MI   48423‐8606
SPENCE, SHELVA J           PO BOX 128                                                                                     LINDSIDE            WV   24951‐0128
SPENCE, SHIRLEY J          5152 CHESTNUT AV                                                                               NEWAYGO             MI   49337‐8222
SPENCE, SUDANESE H         18889 HEATHER RIDGE DR                                                                         NORTHVILLE          MI   48168‐6812
SPENCE, TERRY L            1619 EASTMORELAND AVE                                                                          ROCKFORD            IL   61108
SPENCE, THOMAS E           10406 CHASE BRIDGE RD                                                                          ROSCOMMON           MI   48653‐9055
SPENCE, TONYA              8829 NATHAN DR                                                                                 SHREVEPORT          LA   71108‐5345
SPENCE, TRACY              330 GLENGARY RD                                                                                COMMERCE TOWNSHIP   MI   48390‐1434
SPENCE, TRACY              1139 WHITE WILLOW CT                                                                           HOWELL              MI   48843‐9583
SPENCE, TRACY F            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA   23510‐2212
                                                              STREET, SUITE 600
SPENCE, WAYNE G            803 N WIGWAM TRL                                                                               INDEPENDENCE        MO   64056‐2118
SPENCE, WAYNE J            PO BOX 580084                                                                                  KISSIMMEE           FL   34758‐0002
SPENCE, WILLIAM D          12425 GRAND BLANC ROAD                                                                         DURAND              MI   48429‐9304
SPENCE, WILLIAM D          APT D                              227 EAST NAVILLA PLACE                                      COVINA              CA   91723‐3171
SPENCE, WILLIAM E          50 LAUDERDALE AVE                                                                              YOUNGSTOWN          OH   44505‐2527
SPENCE, WILLIAM J          2210 HENLOPEN AVE                                                                              WILMINGTON          DE   19804‐3644
SPENCE, WILLIAM O          10104 GOLD MINE DR                                                                             RENO                NV   89521‐4176
SPENCER
SPENCER & FLETCHER LEWIS   413 MONTGOMERY                                                                                 JACKSON             MI   49202‐3369
SPENCER A ROBERTS          1118 DALE AVE                                                                                  FRANKLIN            OH   45005‐1717
SPENCER ADAMS              1133 WARD ST                                                                                   SAGINAW             MI   48601‐2319
SPENCER ARTHUR (650961)    BRAYTON PURCELL                    PO BOX 6169                                                 NOVATO              CA   94948‐6169
SPENCER AUTO GROUP         276 E MAIN ST                                                                                  SPENCER             WV   25276‐1602
SPENCER AUTO GROUP LLC     PETE LOPEZ                         276 E MAIN ST                                               SPENCER             WV   25276‐1602
SPENCER B CROSS            PO BOX 2913                                                                                    DETROIT             MI   48202‐0943
SPENCER BAIRD              1711 FOX RUN                                                                                   PERRYSBURG          OH   43551‐5413
SPENCER BALEY              1676 W MILLER RD                                                                               MORRICE             MI   48857‐9764
SPENCER BARRY JR           SPENCER, BARRY                     200 NASHUA ST                                               BOSTON              MA   02114‐1105
SPENCER BEALS              1345 GRAYSTON AVE                                                                              HUNTINGTON          IN   46750‐1626
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Name                                  Address1                          Address2                        Address3      Address4         City            State Zip
SPENCER BEEBE                         7879 CROSSWINDS WAY                                                                              MOUNT DORA       FL 32757‐8878
SPENCER BIRCKHEAD                     3011 N WASHINGTON ST                                                                             WILMINGTON       DE 19802‐3141
SPENCER BRANDON                       SPENCER, BRANDON                  111 W MONROE ST STE 1124                                       PHOENIX          AZ 85003‐1722
SPENCER BUTLER                        BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.      OH 44236
SPENCER C PETT                        1211 CENTER RD                                                                                   ESSEXVILLE       MI 48732
SPENCER CARPENTER                     5260 LEHMAN RD                                                                                   WEST BRANCH      MI 48661‐9655
SPENCER CARROLL                       2780 E GRAND LEDGE HWY                                                                           GRAND LEDGE      MI 48837‐9706
SPENCER CARTER                        1536 HI POINT ST APT 106                                                                         LOS ANGELES      CA 90035‐4811
SPENCER CHARLES L (429852)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA 23510
                                                                        STREET, SUITE 600
SPENCER CHRISTOPHER C PLLC            6802 PARAGON PL STE 420                                                                          RICHMOND        VA 23230‐1655
SPENCER CLARENCE W                    3515 FOOTVILLE RICHMOND RD                                                                       DORSET          OH 44032‐9743
SPENCER CLIFFORD C (407246)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA 23510
                                                                        STREET, SUITE 600
SPENCER CLYDE R (626781)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA 23510
                                                                        STREET, SUITE 600
SPENCER COLE                          624 W HENRY ST                                                                                   CHARLOTTE       MI    48813‐1866
SPENCER COLQUHOUN JR                  8310 PROVIDENCE NORTH DR                                                                         STOKESDALE      NC    27357‐8583
SPENCER COOPER                        2067 BENT TRAIL CT                                                                               ANN ARBOR       MI    48108‐9301
SPENCER COUNTY TREASURER              200 MAIN ST STE 7                                                                                ROCKPORT        IN    47635‐1492
SPENCER COUTURIER                     42 SPRING WATER CT                                                                               WENTZVILLE      MO    63385‐4641
SPENCER CROWDER                       4624 PALL MALL RD                                                                                BALTIMORE       MD    21215‐6415
SPENCER D POGUE                       1459 BRUCE PL SE                                                                                 WASHINGTON      DC    20020
SPENCER DAVIDSON                      4616 SYLVAN OAK DR                                                                               DAYTON          OH    45426‐2124
SPENCER DEVANEY                       1673 LOCUST LN                                                                                   AVON            IN    46123‐8405
SPENCER DICK                          13421 FARM TO MARKET RD                                                                          MOUNT VERNON    WA    98273‐8273
SPENCER DICKEY                        PO BOX 1329                                                                                      OWENSBORO       KY    42302
SPENCER DOGGETT                       65671 DEQUINDRE RD                                                                               OAKLAND         MI    48363‐2517
SPENCER DONALDSON                     6449 WAYWIND DR                                                                                  TROTWOOD        OH    45426‐1113
SPENCER DUNNELL                       2803 RIVERSIDE DR APT 5204                                                                       GRAND PRAIRIE   TX    75050‐8748
SPENCER EARL (ESTATE OF) (489252)     BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                  NORTHFIELD      OH    44067
                                                                        PROFESSIONAL BLDG
SPENCER EASON                         425 E HOME AVE                                                                                   FLINT           MI    48505‐2867
SPENCER EDWARDS                       875 MORRISON AVE APT 14E                                                                         BRONX           NY    10473‐4406
SPENCER ELLIS                         3969 AURELIUS RD                                                                                 ONONDAGA        MI    49264‐9720
SPENCER F. WHITE TTEE                 SPENCER F. WHITE REV LIV TR U/A   DTD 03/25/1999                  PO BOX 2049                    LAKE OSWEGO     OR    97635‐0022
SPENCER FERGUSON                      11254 DOGWOOD RD                                                                                 SAINT PAUL      MN    55129‐6202
SPENCER FOSTER E (439530)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA    23510
                                                                        STREET, SUITE 600
SPENCER FRANK (ESTATE OF) (489253)    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                  NORTHFIELD      OH 44067
                                                                        PROFESSIONAL BLDG
SPENCER FRANKLIN                      37136 GOLDEN OAK DR                                                                              PALMDALE        CA 93552‐5435
SPENCER FRED H (482026)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA 23510
                                                                        STREET, SUITE 600
SPENCER GERALD J (626782)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA 23510
                                                                        STREET, SUITE 600
SPENCER GLORIA (ESTATE OF) (638798)   GOLDENBERG, MILLER, HELLER &      PO BOX 959                                                     EDWARDSVILLE     IL   62025‐0959
                                      ANTOGNOLI
SPENCER GRADDY                        43185 LEEDS COURT ST                                                                             CANTON          MI    48188
SPENCER GRIFFIN                       562 BRAMHALL AVE                                                                                 JERSEY CITY     NJ    07304‐2324
SPENCER HAZEL IRENE (653334)          BELLUCK & FOX LLP                 546 5TH AVE #4                                                 NEW YORK        NY    10035‐5000
SPENCER HICKS                         4393 MARLOWE ST                                                                                  DAYTON          OH    45416‐1818
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Name                       Address1                         Address2                      Address3   Address4         City              State Zip
SPENCER I I I, LOWELL E    7805 LINCOLN TRL                                                                           PLAINFIELD         IN 46168‐9338
SPENCER II, HOWARD A       PO BOX 791                                                                                 OWOSSO             MI 48867‐0791
SPENCER III, LOWELL E      7805 LINCOLN TRL                                                                           PLAINFIELD         IN 46168‐9338
SPENCER IND/SOUTHFLD       PO BOX 2210                      C/O SCHMIDT SALES CO.                                     SOUTHFIELD         MI 48037‐2210
SPENCER J COOLEY           810 BOULEVARD ST                                                                           SYRACUSE           NY 13211‐1805
SPENCER J LAWSON           98 APT.#501 SUTTON CIR                                                                     RAINBOW CITY       AL 35906
SPENCER JACK               SPENCER, JACK                    28431 59TH AVE S                                          KENT               WA 98032
SPENCER JAMES              5601 SPENCER FARM RD                                                                       CLEMMONS           NC 27012‐8347
SPENCER JAMES              PO BOX 1381                                                                                MILLBROOK          AL 36054‐0030
SPENCER JOE D (459359)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                            STREET, SUITE 600
SPENCER JOHN A (407233)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                            STREET, SUITE 600
SPENCER JONES              4927 3 MILE RD                                                                             SEARS             MI   49679‐8137
SPENCER JR, ANDERSON C     201 GLENWOOD AVE                                                                           CINCINNATI        OH   45217‐2111
SPENCER JR, BENJAMINE J    PO BOX 4                                                                                   WASKOM            TX   75692‐0004
SPENCER JR, DONALD E       303 DAVIS DR                                                                               COLUMBIA          TN   38401‐9351
SPENCER JR, DONALD L       12339 W MOUNT MORRIS RD                                                                    FLUSHING          MI   48433‐9253
SPENCER JR, DONALD LEWIS   12339 W MOUNT MORRIS RD                                                                    FLUSHING          MI   48433‐9253
SPENCER JR, ELMORE         205 GROVER TURNER WAY                                                                      MCDONOUGH         GA   30253‐5952
SPENCER JR, HENRY C        218 BURDINE ST                                                                             PITTSBURGH        PA   15227‐3315
SPENCER JR, HERBERT        45417 WAKEFIELD ST                                                                         SHELBY TOWNSHIP   MI   48317‐4757
SPENCER JR, HERMAN         10 GLENDALE PL                                                                             BUFFALO           NY   14208‐1051
SPENCER JR, KIRBY          3506 W 83RD ST APT 112                                                                     PRAIRIE VILLAGE   KS   66208‐5106
SPENCER JR, LEONDERS       16216 CIRCLEGREEN DR                                                                       CHARLOTTE         NC   28273‐6954
SPENCER JR, MYRON P        2921 E 550 N                                                                               MARION            IN   46952‐9119
SPENCER JR, PAUL T         1613 LONGWOOD DRIVE                                                                        MCKINNEY          TX   75071‐7659
SPENCER JR, RALPH          4949 W US HIGHWAY 36                                                                       GREENCASTLE       IN   46135‐8992
SPENCER JR, RICHARD L      4501 JULIVAN AVE SE                                                                        KENTWOOD          MI   49548‐4338
SPENCER JR, THEODORE R     4467 APPLE VALLEY LN                                                                       WEST BLOOMFIELD   MI   48323‐2807
SPENCER JR, WENDELL G      2578 STATE HWY 195                                                                         LESLIE            GA   31764
SPENCER JR, WILSON         6362 TRENTON FRANKLIN RD                                                                   MIDDLETOWN        OH   45042‐1746
SPENCER JUDD               2330 JANET CT                                                                              ANDERSON          IN   46012‐9637
SPENCER JUDD               8390 S 600 W                                                                               PENDLETON         IN   46064‐9769
SPENCER KUMLIEN            1624 E 350 N                                                                               BLUFFTON          IN   46714‐9257
SPENCER L WOOSTER          187 S LAKE DR                                                                              COLUMBIAVILLE     MI   48421‐9714
SPENCER LACLAIR            2552 DELBARTON AVE                                                                         DELTONA           FL   32725‐2236
SPENCER LAWRENCE           1907 N 69TH TER                                                                            KANSAS CITY       KS   66102‐1074
SPENCER LEWIS              5229 W MICHIGAN AVE LOT 22                                                                 YPSILANTI         MI   48197‐9185
SPENCER LYNN               1705 CO RD 1194                                                                            VINEMONT          AL   35179
SPENCER LYONS              9902 WARWICK ST                                                                            DETROIT           MI   48228‐1325
SPENCER M GATLIN           335 LAKE SHORE RD                                                                          JACKSON           MS   39212
SPENCER M STRADER          4930 SW 34TH TER                                                                           FORT LAUDERDALE   FL   33312
SPENCER MARJORIE           PO BOX 97                                                                                  FORT OGDEN        FL   34267
SPENCER MYERS              1185 COOL RIDGE DR                                                                         GRAND BLANC       MI   48439‐4971
SPENCER N BETTS            35 BEFORD ST STE 15                                                                        LEXINGTON         MA   02420
SPENCER OIL CO             16410 COMMON RD                                                                            ROSEVILLE         MI   48066‐5903
SPENCER OIL COMPANY        16410 COMMON RD                                                                            ROSEVILLE         MI   48066‐5903
SPENCER OIL/ROSEVILL       16410 COMMON RD                                                                            ROSEVILLE         MI   48066‐5903
SPENCER PAUL               6581 SOBER RD                                                                              FOWLERVILLE       MI   48836‐8615
SPENCER PEARSON            1614 S OUTER DR                                                                            SAGINAW           MI   48601‐6635
SPENCER PENNY              SPENCER, PENNY                   2700 RECTOR ROAD                                          PARAGOULD         AR   72450
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Name                              Address1                          Address2                        Address3   Address4         City             State Zip
SPENCER PETTY                     79 S DIETZ MILL RD                                                                            TELFORD           PA 18959‐1408
SPENCER REAL ESTATE, LLC          PAUL SPENCER                      19475 BEACON LITE RD                                        MONUMENT          CO 80132‐9638
SPENCER REED GROUP INC            6900 COLLEGE BLVD STE 1           RELEASE PER WILMA                                           OVERLAND PARK     KS 66211‐1536
SPENCER REID (492168)             BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                                    PROFESSIONAL BLDG
SPENCER ROBERT & RUTH             RR 2                                                                                          ANDOVER          OH 44003
SPENCER ROBERT C (410962)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                                    STREET, SUITE 600
SPENCER ROBERT GLEN (ESTATE OF)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
(498333)                                                            STREET, SUITE 600
SPENCER ROBERTS                   1118 DALE AVE                                                                                 FRANKLIN         OH   45005‐1717
SPENCER SCOTT                     PO BOX 715                                                                                    DEFIANCE         OH   43512‐0715
SPENCER SEWELL                    THE MADEKSHO LAW FIRM             8866 GULF FREEWAY STE 440                                   HOUSTON          TX   77017
SPENCER SHERRY L                  11291 HORTON RD                                                                               GOODRICH         MI   48438‐9493
SPENCER SHUMWAY                   2211 N SYCAMORE DR                                                                            BURTON           MI   48509‐1373
SPENCER SR, JEFFREY D             275 ELMDALE DR                                                                                SAINT LOUIS      MO   63135
SPENCER STEOGER                   47390 VICTORIAN SQ N                                                                          CANTON           MI   48188‐5321
SPENCER STUART (SSI USA)          401 N MICHIGAN AVE STE 3400                                                                   CHICAGO          IL   60611‐4249
SPENCER SUTHERBY                  9303 ELAINE DR                                                                                SWARTZ CREEK     MI   48473‐8555
SPENCER T BIRCKHEAD               3011 N WASHINGTON ST                                                                          WILMINGTON       DE   19802‐3141
SPENCER TECHNOLOGIES              102 OTIS ST                                                                                   NORTHBOROUGH     MA   01532‐2415
SPENCER THERESA                   SPENCER, THERESA                  2495 MAIN STREET                                            BUFFALO          NY   14214
SPENCER THOMAS                    23541 RADCLIFT ST                                                                             OAK PARK         MI   48237‐2480
SPENCER TURBINE COMPANY           FLEX TECH PROFESSIONAL            421 JACKSON ST                                              SANDUSKY         OH   44870‐2736
SPENCER TYLER                     PO BOX 311062                                                                                 FLINT            MI   48531‐1062
SPENCER UNDERWOOD                 1609 HIGHWAY 135                                                                              WINNSBORO        LA   71295‐5846
SPENCER W WASHINGTON              335 HILLVIEW COURT APT D1                                                                     TROTWOOD         OH   45426
SPENCER WARREN L                  1512 NORTH AVE                                                                                CRYSTAL LAKE     IL   60014‐4939
SPENCER WASHINGTON                335 HILLVIEW COURT APT D1                                                                     TROTWOOD         OH   45426
SPENCER WASHINGTON                1208 AVENUE C                                                                                 DENTON           TX   76205‐6920
SPENCER WILLIAM                   961 CROFTON LN                                                                                BUFFALO GROVE    IL   60089‐4111
SPENCER WILLIAM                   SPENCER, WILLIAM                  1705 COUNTY RD                                              VANAMONT         AL   35179
SPENCER WILLIAM L OR WILDA B      3422 FOOTVILLE RICHMOND RD                                                                    DORSET           OH   44032‐9743
SPENCER WILLIE                    SPENCER, WILLIE                   7912 BONHOMME AVE STE 101                                   CLAYTON          MO   63105‐3512
SPENCER WILMINGTON                1815 OLD FORGE RD                                                                             MOGADORE         OH   44260‐8606
SPENCER WOOSTER                   187 S LAKE DR                                                                                 COLUMBIAVILLE    MI   48421‐9714
SPENCER YOUNG                     660 LAKE VILLAGE BLVD APT 308                                                                 AUBURN HILLS     MI   48326‐4530
SPENCER ZELENAK                   11145 CARNEGIE AVE                                                                            ENGLEWOOD        FL   34224‐9713
SPENCER'S AUTO INC.               30 N MONTGOMERY AVE                                                                           JEFFERSONVILLE   PA   19403‐3238
SPENCER, A C V                    4430 S REED RD                                                                                DURAND           MI   48429‐9760
SPENCER, AL                       1576 WIARD BLVD                                                                               YPSILANTI        MI   48198‐3326
SPENCER, ALAN                     2090 87TH ST SW                                                                               BYRON CENTER     MI   49315‐9263
SPENCER, ALBERT J                 5447 ROEDEL RD                                                                                BRIDGEPORT       MI   48722‐9735
SPENCER, ALBERT T                 1050 SYMMES RD                                                                                FAIRFIELD        OH   45014‐1844
SPENCER, ALICE L                  136 MAUCK LANE                                                                                DANVILLE         IL   61832‐5359
SPENCER, ALICE L                  136 MAUCK LN                                                                                  DANVILLE         IL   61832‐5359
SPENCER, ALTA L                   7162 MILLER RD                                                                                SWARTZ CREEK     MI   48473‐1534
SPENCER, ALTHEA V                 4636 PRICES CREEK RD                                                                          LEWISBURG        OH   45338‐8047
SPENCER, AMANDA
SPENCER, ANGELA M                 20300 KINGSVILLE ST                                                                           DETROIT          MI 48225‐2269
SPENCER, ANGELINE                 1187 CAMELLIA DR                                                                              MOUNT MORRIS     MI 48458‐2801
SPENCER, ANNA                     5189 W CANNONSVILLLE RD                                                                       LAKEVIEW         MI 48850‐9542
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Name                   Address1                      Address2              Address3         Address4         City                State Zip
SPENCER, ANNA          5189 WEST CANNONSVILLE ROAD                                                           LAKEVIEW             MI 48850‐9542
SPENCER, ANNA J        2265 S DREYER RD                                                                      AU GRES              MI 48703‐9520
SPENCER, ANNA L        200 WALNUT AVE                                                                        CARLISLE             OH 45005‐5817
SPENCER, ANNA L        200 WALNUT AVENUE                                                                     CARLISLE             OH 45005‐5817
SPENCER, ANTHONY E     4920 CHRISTOPHER LANE                                                                 FT WAYNE             IN 46806
SPENCER, ARCHIE K      1451 SCHLUERSBURG RD                                                                  AUGUSTA              MO 63332‐1217
SPENCER, ARTHUR        BRAYTON PURCELL               PO BOX 6169                                             NOVATO               CA 94948‐6169
SPENCER, ARTHUR A      19861 S CHAPIN RD                                                                     ELSIE                MI 48831‐9202
SPENCER, ARTHUR E      126 GRAHAM ST                                                                         SAGINAW              MI 48602‐3131
SPENCER, AUDRA M       8330 ELMORE AVENUE                                                                    SAINT LOUIS          MO 63132‐2826
SPENCER, AUDREY D      PO BOX 45                     5840 FORREST AVE                                        OTTER LAKE           MI 48464‐0045
SPENCER, AUDREY D      120 KNOLL DR                                                                          LAPEER               MI 48446‐1435
SPENCER, BARBARA A     11797 SILICA RD                                                                       NORTH JACKSON        OH 44451‐9605
SPENCER, BARBARA N     5131 E MICHIGAN AVE                                                                   AU GRES              MI 48703‐9470
SPENCER, BARRY         352 WALNUT AVENUE                                                                     ROXBURY              MA 02119
SPENCER, BARRY         PO BOX 1218                                                                           SHIRLEY              MA 01464
SPENCER, BARRY         200 NASHUA ST                                                                         BOSTON               MA 02114‐1105
SPENCER, BEN R         5114 CREEKMONTE DR                                                                    OAKLAND TWP          MI 48306‐4793
SPENCER, BENNIE R      4724 WOODLAKE DR                                                                      DAYTON               OH 45406‐3353
SPENCER, BERL          337 MORT STULL RD.                                                                    FRENCHBURG           KY 40322
SPENCER, BERNARD       2018 MARKET ST                                                                        EAST SAINT LOUIS      IL 62207
SPENCER, BERNARD C     16010 FORZANDO AVE                                                                    BROOKSVILLE          FL 34604‐8534
SPENCER, BERT F        613 S SYLVAN ST                                                                       ANAHEIM              CA 92804‐3221
SPENCER, BETH A        3636 RUSHLAND AVE                                                                     TOLEDO               OH 43613‐4817
SPENCER, BETHEL K      4500 TAMMY LN                                                                         MEMPHIS              TN 38116‐2036
SPENCER, BETTY         129 NANITA DR PO BOX 504                                                              MONTROSE             MI 48457‐0504
SPENCER, BETTY         PO BOX 504                    129 NANITA DR                                           MONTROSE             MI 48457‐0504
SPENCER, BETTY K       642 VILLAGE DRIVE                                                                     BLOOMINGTON          IN 47403‐1912
SPENCER, BETTY K       642 S VILLAGE DR                                                                      BLOOMINGTON          IN 47403‐1912
SPENCER, BETTY R       PO BOX 653                                                                            LAKEVILLE            NY 14480‐0653
SPENCER, BEVERLY J     29916 BROOKLANE ST                                                                    INKSTER              MI 48141‐1503
SPENCER, BEVERLY K     3145 HELEN ST                                                                         HARRISON             MI 48625‐8008
SPENCER, BEVERLY S     6922 VERNSON DR                                                                       LANSING              MI 48911‐6555
SPENCER, BILLYJO       5707 #COXFORD LANE                                                                    LOCKPORT             NY 14094
SPENCER, BOB J         974 AMENIA ST                                                                         WOLVERINE LAKE       MI 48390‐2323
SPENCER, BOBBIE J      4730 THRUSH AVE                                                                       ST LOUIS             MO 63120‐2222
SPENCER, BRENDA D      13227 BLACKTERN WAY                                                                   CARMEL               IN 46033
SPENCER, BRIAN D       7025 ACORN CT                                                                         LAS VEGAS            NV 89147‐4711
SPENCER, BRIAN D       PO BOX 47                                                                             O FALLON             MO 63366‐0047
SPENCER, BRIAN J       12290 WHITE LAKE RD                                                                   FENTON               MI 48430‐2571
SPENCER, BRIAN K       2184 LOUDENSLAGER DR                                                                  THOMPSONS STATION    TN 37179‐5312
SPENCER, BRIAN W       1949 VIOLA DR                                                                         ORTONVILLE           MI 48462‐8886
SPENCER, BRUCE A       321 GROUSE TRL                                                                        ROSCOMMON            MI 48653‐8968
SPENCER, CAROL         214 MAPLE MANOR EXT                                                                   SLIPPERY ROCK        PA 16057‐4864
SPENCER, CAROL A       8237 MIDLAND RD                                                                       FREELAND             MI 48623‐9002
SPENCER, CAROLE S      132 KAYLA DR                                                                          SOUTHAVEN            MS 38671‐1806
SPENCER, CAROLYN       2617 BEACH RD                                                                         PRESCOTT             MI 48756‐9386
SPENCER, CARROLL L     1937 VERMONT RD                                                                       RANTOUL              KS 66079‐9012
SPENCER, CARYL R       293 BILLMAN RD                                                                        NEW PARIS            OH 45347‐9101
SPENCER, CATHERINE E   335 SHEPPARD DR                                                                       NEWPORT              TN 37821‐8149
SPENCER, CECIL F       7801 MORIAH AVE                                                                       BROOKSVILLE          FL 34613‐5768
SPENCER, CECIL W       685 E S.R. 28                                                                         ALEXANDRIA           IN 46001
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Name                     Address1                         Address2                      Address3   Address4         City                  State Zip
SPENCER, CELESTE         233 30TH AVE                                                                               BELLWOOD                IL 60104‐1224
SPENCER, CELESTE         233 S 30TH AVE                                                                             BELLWOOD                IL 60104‐1224
SPENCER, CEONIA          609 E HOME AVE                                                                             FLINT                  MI 48505‐2869
SPENCER, CHARLENE K      3465 KIESEL                                                                                BAY CITY               MI 48706
SPENCER, CHARLES A       2554 KING AUTHOR WAY                                                                       BEAVERCREEK            OH 45431
SPENCER, CHARLES A       2289 E US 23                                                                               EAST TAWAS             MI 48730‐9425
SPENCER, CHARLES E       320 TAKISA CIR                                                                             DAYTON                 OH 45415‐2135
SPENCER, CHARLES G       2056 HURON DR                                                                              AIKEN                  SC 29803‐7535
SPENCER, CHARLES H       4138 RED ARROW STREET                                                                      FLINT                  MI 48507
SPENCER, CHARLES L       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA 23510‐2212
                                                          STREET, SUITE 600
SPENCER, CHARLES L       4105 MARIO CT                                                                              PLYMOUTH              MI   48170‐5132
SPENCER, CHARLES L       45 S 2ND ST                                                                                CAMDEN                OH   45311‐1047
SPENCER, CHARLES T       6730 BEAR RIDGE RD                                                                         LOCKPORT              NY   14094‐9288
SPENCER, CHARLES W       7961 NEWBERRY RD                                                                           DURAND                MI   48429‐9184
SPENCER, CHLOEANNA S     3561 ROSALIE LANE RR 2                                                                     LEXINGTON             KY   40510
SPENCER, CHRISTIAN E     3299 ALTAMONT AVE                                                                          CLEVELAND HEIGHTS     OH   44118‐1807
SPENCER, CLAIRE B        160 GULPH HILLS RD                                                                         WAYNE                 PA   19087‐4616
SPENCER, CLEVE           539 W BANTA RD                                                                             INDIANAPOLIS          IN   46217‐3877
SPENCER, CLIFFORD C      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510‐2212
                                                          STREET, SUITE 600
SPENCER, CLIFTON R       2401 FRIENDSHIP RD                                                                         SHERMAN               TX   75092‐4773
SPENCER, CLYDE D         516 E MULKEY ST                                                                            FORT WORTH            TX   76104‐6440
SPENCER, CLYDE DARRELL   516 E MULKEY ST                                                                            FORT WORTH            TX   76104‐6440
SPENCER, CLYDE R         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510‐2212
                                                          STREET, SUITE 600
SPENCER, COLLEEN M       411 TOURAINE RD                                                                            GROSSE POINTE FARMS   MI   48236
SPENCER, DALE C          1546 JOSLYN AVE                                                                            PONTIAC               MI   48340‐1313
SPENCER, DALE H          1120 N BALL ST                                                                             OWOSSO                MI   48867‐1710
SPENCER, DALLAS W        3030 WOODCREST RD                                                                          ROCHESTER HILLS       MI   48309‐3549
SPENCER, DANA M          67 SPARROW POINT CIR                                                                       FENTON                MO   63026‐5514
SPENCER, DANIEL B        4601 FORGE RD                                                                              NOTTINGHAM            PA   19362‐9402
SPENCER, DANIEL G        355 KINGS RIVER RD                                                                         PAWLEYS ISLAND        SC   29585‐6936
SPENCER, DANIEL R        28 CHARLOTTE ST                                                                            LOCKPORT              NY   14094‐2102
SPENCER, DANNY L         2342 GUERNSEY RD                                                                           BEAVERTON             MI   48612‐9125
SPENCER, DARLENE F       1925 W BARNES RD                                                                           FOSTORIA              MI   48435‐9777
SPENCER, DARLENE F       1925 W BARNES                                                                              FOSTORIA              MI   48435‐9777
SPENCER, DARRELL E       409 RANDOLPH ST                                                                            OWOSSO                MI   48867‐2451
SPENCER, DARVIN          3776 COLUMBUS ST                                                                           DETROIT               MI   48206‐2304
SPENCER, DAVID A         9214 WESTBRIDGE CT                                                                         FORT WAYNE            IN   46804‐6057
SPENCER, DAVID ALAN      9214 WESTBRIDGE CT                                                                         FORT WAYNE            IN   46804‐6057
SPENCER, DAVID D         467 N HURON RD # 1                                                                         LINWOOD               MI   48634‐9414
SPENCER, DAVID D         5131 E MICHIGAN AVE                                                                        AU GRES               MI   48703‐9470
SPENCER, DAVID DONALD    1049 CARLSON DR                                                                            BURTON                MI   48509‐2325
SPENCER, DAVID E         266 BROOKSIDE DR                                                                           OLD HICKORY           TN   37138‐1542
SPENCER, DAVID G         4738 GREENVIEW CT                                                                          COMMERCE TOWNSHIP     MI   48382‐1563
SPENCER, DAVID H         1067 WAKEFIELD ST                                                                          BIRMINGHAM            MI   48009‐3086
SPENCER, DAVID K         150 W STRATHMORE AVE                                                                       PONTIAC               MI   48340‐2774
SPENCER, DAVID L         5653 CAREN DR                                                                              YPSILANTI             MI   48197‐8348
SPENCER, DAVID L         716 GLENDALE DR                                                                            TROY                  OH   45373‐2214
SPENCER, DAVID L         4392 ELLIS TER                                                                             LANE                  KS   66042
SPENCER, DAVID L         843 CARTWRIGHT COURT                                                                       TROY                  OH   45373‐5373
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Name                      Address1                       Address2                    Address3   Address4         City             State Zip
SPENCER, DAVID L          5046 E 41ST ST                                                                         INDIANAPOLIS      IN 46226‐4516
SPENCER, DAVID M          405 VETERANS AVE                                                                       BOWLING GREEN     KY 42104‐7727
SPENCER, DAVID N          5353 COMMONS CT                                                                        VIRGINIA BEACH    VA 23462‐3534
SPENCER, DAVID R          3 OAK AVE                                                                              ELSMERE           DE 19805‐5023
SPENCER, DAVID V          640 GROVE AVE. SW 195                                                                  CLEVELAND         TN 37311
SPENCER, DAWN M           9259 S 6TH ST                                                                          KALAMAZOO         MI 49009‐8937
SPENCER, DAWN M           1179 MEADOWBROOK AVE SE                                                                WARREN            OH 44484‐4561
SPENCER, DEBRA D          W2491 COUNTY ROAD I                                                                    LA CROSSE         WI 54601‐2821
SPENCER, DECELLAR         1853 S AVERILL AVE                                                                     FLINT             MI 48503‐4458
SPENCER, DECELLAR         1863 S AVERILL AVE                                                                     FLINT             MI 48503
SPENCER, DELBERT P        15344 COUNTY ROAD 1950         C/O ANNETTE HAMMERMEISTER                               ALVORDTON         OH 43501‐9716
SPENCER, DELONA J         895 HAMLIN ST                                                                          LAKE ORION        MI 48362‐2519
SPENCER, DENISE           APT 75                         14125 SHADYWOOD DRIVE                                   PLYMOUTH          MI 48170‐3132
SPENCER, DENNIS M         16762 W 127TH ST                                                                       LEMONT             IL 60439‐7468
SPENCER, DESHOLA          2956 BERNICE RD APT 1W                                                                 LANSING            IL 60438
SPENCER, DEVERE F         9407 DODGE RD                                                                          MONTROSE          MI 48457‐9125
SPENCER, DIANE L          115 YANCEY CIRCLE                                                                      SATSUMA           FL 32189
SPENCER, DONALD B         259 BLACKWOOD AVE                                                                      DAYTON            OH 45403‐1601
SPENCER, DONALD C         387 HOLLOW RD                                                                          CURWENSVILLE      PA 16833‐7716
SPENCER, DONALD D         1604 STARDUST DR                                                                       WAUKESHA          WI 53186‐2670
SPENCER, DONALD D         5732 E US HIGHWAY 40                                                                   FILLMORE          IN 46128‐9409
SPENCER, DONALD E         9757 MONROE RD                                                                         SAINT HELEN       MI 48656‐9638
SPENCER, DONALD J         WEST 2491 COUNTY ROAD I                                                                LA CROSSE         WI 54601
SPENCER, DONALD J         102 HAMPTON RD                                                                         COLUMBIA          TN 38401‐5043
SPENCER, DONALD J         465 E OLIVER ST                                                                        CORUNNA           MI 48817‐1766
SPENCER, DONALD JEFFREY   W2491 COUNTY ROAD I                                                                    LA CROSSE         WI 54601‐2821
SPENCER, DONALD JOSEPH    102 HAMPTON RD                                                                         COLUMBIA          TN 38401‐5043
SPENCER, DONALD L         765 WAUKEE LN                                                                          SAGINAW           MI 48604‐1133
SPENCER, DONALD R         5112 APPLEGROVE CT                                                                     WHITE LAKE        MI 48383‐1975
SPENCER, DONLEY           6845 WAGNER RD                                                                         IMLAY CITY        MI 48444‐8991
SPENCER, DONNA J          6416 10TH CT                                                                           TUSCALOOSA        AL 35405‐5530
SPENCER, DONNA J          52641 WILDWOOD DR                                                                      MACOMB            MI 48042‐3571
SPENCER, DONNA M          6990 NORTHLAND DR NE                                                                   ROCKFORD          MI 49341‐9603
SPENCER, DONNA M          1110 WOODSLEE DR                                                                       TROY              MI 48083‐6602
SPENCER, DORA E           2609 WATERFALL DR                                                                      SPRING HILL       FL 34608‐4440
SPENCER, DORA TRESA       321 GROUSE TRAIL                                                                       ROSCOMMON         MI 48653‐8968
SPENCER, DORA TRESA       321 GROUSE TRL                                                                         ROSCOMMON         MI 48653‐8968
SPENCER, DORIS            20925 WESTHAMPTON AVE                                                                  SOUTHFIELD        MI 48075‐7922
SPENCER, DORIS            1432 RIDGEVIEW DRIVE                                                                   LAPEER            MI 48446‐1453
SPENCER, DORIS            1432 E RIDGEVIEW DR                                                                    LAPEER            MI 48446‐1453
SPENCER, DOROTHY          213 BERKSHIRE RD                                                                       VERMILION         OH 44089‐2305
SPENCER, DOROTHY J        10660 ELTZROTH RD.                                                                     GOSHEN            OH 45122‐9641
SPENCER, DOROTHY M        511 MULBERRY RD                                                                        BELLINGHAM        WA 98225‐7904
SPENCER, DOROTHY M.       4507 SMITH RD                                                                          GOSPORT           IN 47433‐7980
SPENCER, DOUGLAS C        5092 TULIP WAY                                                                         HOLT              MI 48842‐9532
SPENCER, DOYLE L          7336 E KELLY RD BOX 737                                                                CASS CITY         MI 48726
SPENCER, DWAYNE R         10918 NORTH RIDGE DR. RD.                                                              KANSAS CITY       KS 66109
SPENCER, DWIGHT           PORTER & MALOUF PA             4670 MCWILLIE DR                                        JACKSON           MS 39206‐5621
SPENCER, E C              6924 LUTHER CIR                                                                        MOORPARK          CA 93021‐2569
SPENCER, E CATHERINE      6924 LUTHER CIR                                                                        MOORPARK          CA 93021‐2569
SPENCER, EARNEST          1080 ROBB HILL RD                                                                      MARTINSVILLE      IN 46151‐9525
SPENCER, EDWARD G         1238 DREXEL CT NE                                                                      GRAND RAPIDS      MI 49505‐5450
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Name                   Address1                         Address2                      Address3   Address4         City              State Zip
SPENCER, EDWARD L      2998 M‐65                                                                                  WHITTEMORE         MI 48770
SPENCER, EDWIN         51275 JUDD RD                                                                              BELLEVILLE         MI 48111‐9348
SPENCER, EDWIN M       1200 FT PICKENS RD               5C                                                        PENSACOLA BEACH    FL 32561
SPENCER, EDWIN R       8357 N VASSAR RD                                                                           MOUNT MORRIS       MI 48458‐9761
SPENCER, EDWIN ROSS    8357 N VASSAR RD                                                                           MOUNT MORRIS       MI 48458‐9761
SPENCER, ELEANORE      7251 LAKE RD                                                                               MONTROSE           MI 48457‐9719
SPENCER, ELISHA M      10191 W OUTER DR                                                                           DETROIT            MI 48223‐2277
SPENCER, ELIZABETH A   743 BOULDER RD                                                                             INDIANAPOLIS       IN 46217‐3909
SPENCER, ELIZABETH L   658 ROTH AVE                                                                               COLUMBUS           OH 43228‐2917
SPENCER, ELIZABETH L   658 ROTH AVENUE                                                                            COLUMBUS           OH 43228‐2917
SPENCER, ELMER L       2741 HARBOUR CT                                                                            LAPEER             MI 48446‐4500
SPENCER, EMMETT        9361 S 6TH ST                                                                              KALAMAZOO          MI 49009‐8937
SPENCER, EMORY C       187 WATKINS ST                                                                             JACKSON            GA 30233‐2615
SPENCER, ERNEST C      SHANNON LAW FIRM                 100 W GALLATIN ST                                         HAZLEHURST         MS 39083‐3007
SPENCER, ERNEST K      840 ANTIOCH SCHOOL RD                                                                      VANDALIA           OH 45377‐9722
SPENCER, ERNEST K      349 HALIFAX DR                                                                             VANDALIA           OH 45377‐2911
SPENCER, ESTELLA       279 RODNEY AVE                                                                             BUFFALO            NY 14214‐2218
SPENCER, ESTELLA       279 RODNEY STREET                                                                          BUFFALO            NY 14214‐2218
SPENCER, ETHEL         APT 2096                         13421 NORTH 43RD AVENUE                                   PHOENIX            AZ 85029‐1038
SPENCER, ETHEL L       2709 FRANWAE DR. S.W.                                                                      WARREN             OH 44481‐9702
SPENCER, EUGENE F      314 TIMBER HILL DR                                                                         TRAVERSE CITY      MI 49686‐9451
SPENCER, EVERETT W     3257 TOWN LINE RD                                                                          LANCASTER          NY 14086‐9769
SPENCER, FLORIN D      5405 RIVER RIDGE DR                                                                        FLUSHING           MI 48433‐1061
SPENCER, FLORIN DEAN   5405 RIVER RIDGE DR                                                                        FLUSHING           MI 48433‐1061
SPENCER, FLOYD O       7412 DARTMOOR AVE                                                                          GREENDALE          WI 53129‐2205
SPENCER, FONDA L       112 GABRIEL ST                                                                             VANDALIA           OH 45377‐1911
SPENCER, FOSTER E      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                        STREET, SUITE 600
SPENCER, FRANCES M     273 CLOVERVIEW CT                                                                          HOWELL            MI   48843‐6528
SPENCER, FRANCES S     35 HAYES ST                                                                                MERIDEN           CT   06451‐6214
SPENCER, FRANCES S     35 HAYES STREET                                                                            MERIDEN           CT   06451‐6214
SPENCER, FRANCINE L    355 KINGS RIVER RD                                                                         PAWLEYS ISLAND    SC   29585‐6936
SPENCER, FRANCIS B     9021 NEWCOMB RD                                                                            ANGOLA            NY   14006‐9695
SPENCER, FRANK A       225 RUE GRAND DR                                                                           LAKE ST LOUIS     MO   63367‐1006
SPENCER, FRED H        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                        STREET, SUITE 600
SPENCER, FREDERICK A   101 ROSETTA CT                                                                             AUBURN HILLS      MI   48326‐2966
SPENCER, FREDRICK L    3815 AMOS ST                                                                               HOUSTON           TX   77021‐4731
SPENCER, GABRIELE C    1949 VIOLA DR                                                                              ORTONVILLE        MI   48462‐8886
SPENCER, GARRY D       1203 LONGFELLOW AVE                                                                        ROYAL OAK         MI   48067‐4503
SPENCER, GARRY DAVID   1203 LONGFELLOW AVE                                                                        ROYAL OAK         MI   48067‐4503
SPENCER, GARY A        7246 N STATE ROAD 39                                                                       LIZTON            IN   46149‐9540
SPENCER, GARY E        8354 CHAMBERSBURG RD                                                                       DAYTON            OH   45424‐3940
SPENCER, GARY L        679 WELLINGTON AVE                                                                         BATTLE CREEK      MI   49037‐1244
SPENCER, GARY L        8188 FOSTORIA RD                                                                           FOSTORIA          MI   48435‐9504
SPENCER, GARY N        3210 SW 1ST AVE                                                                            CAPE CORAL        FL   33914‐5001
SPENCER, GENE R        4217 DELHI DR                                                                              DAYTON            OH   45432‐3409
SPENCER, GENNIE V      6301 LA FLEUR DR                                                                           SHREVEPORT        LA   71119‐6214
SPENCER, GEORGE S      306 E GREENWAY AVE                                                                         TURLOCK           CA   95380‐9783
SPENCER, GEORGE W      1345 FOX DEN TRL                                                                           CANFIELD          OH   44406‐8312
SPENCER, GEORGINA J    PO BOX 194                                                                                 WOLVERINE         MI   49799‐0194
SPENCER, GERALD A      1326 N HUBBARD LAKE RD                                                                     LINCOLN           MI   48742‐9784
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Name                    Address1                          Address2                      Address3   Address4         City            State Zip
SPENCER, GERALD A       7430 BUCKLEY RD # 104                                                                       SYRACUSE         NY 13212‐1947
SPENCER, GERALD J       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                          STREET, SUITE 600
SPENCER, GERALD W       4421 CORINTH DR                                                                             BIRMINGHAM      AL   35213‐1815
SPENCER, GLADYS E       3786 E 146TH ST                                                                             CLEVELAND       OH   44128‐1019
SPENCER, GLADYS E       3786 EAST 146 ST                                                                            CLEVELAND       OH   44128‐1019
SPENCER, GLEN P         16199 WHITEHEAD DR                                                                          LINDEN          MI   48451‐8773
SPENCER, GLENN E        1115 N STATE RD                                                                             OWOSSO          MI   48867‐9607
SPENCER, GLORIA         C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                             EDWARDSVILLE    IL   62025
SPENCER, GLORIA         GOLDENBERG, MILLER, HELLER &      PO BOX 959                                                EDWARDSVILLE    IL   62025‐0959
                        ANTOGNOLI
SPENCER, GRACE M        PO BOX 383                                                                                  WRENTHAM        MA   02093‐0383
SPENCER, GREGORY        PO BOX 4718                                                                                 DETROIT         MI   48204‐0718
SPENCER, GREGORY R      132 HOLLYWOOD AVE                                                                           YOUNGSTOWN      OH   44512‐1223
SPENCER, GWENDOLYN      4460 MEADOWLAWN DR SE                                                                       GRAND RAPIDS    MI   49512‐5410
SPENCER, HAROLD         39297 STATE ROUTE 39                                                                        SALINEVILLE     OH   43945‐8718
SPENCER, HAROLD C       739 DANIEL SHAYS HWY APT D23                                                                ATHOL           MA   01331‐9672
SPENCER, HAROLD W       670 STATE ROUTE 314 S                                                                       MANSFIELD       OH   44903‐7725
SPENCER, HARRY R        5360 MIKEWOOD DR                                                                            WATERFORD       MI   48327‐2033
SPENCER, HAZEL IRENE    BELLUCK & FOX LLP                 545 5TH AVE #4                                            NEW YORK        NY   10035‐5000
SPENCER, HAZEL L.       2700 SHIMMONS RD LOT 63                                                                     AUBURN HILLS    MI   48326‐2004
SPENCER, HAZEL L.       2700 SHIMMONS RD                  LOT 63                                                    AUBURN HILLS    MI   48326‐2004
SPENCER, HELEN L        8354 CHAMBERBURG RD                                                                         DAYTON          OH   45424‐3940
SPENCER, HELEN S        5044 W 13TH ST                                                                              SPEEDWAY        IN   46224‐5349
SPENCER, HENRY C        PO BOX 10944                                                                                JACKSON         TN   38308‐0115
SPENCER, HENRY F        PO BOX 192006                                                                               LOS ANGELES     CA   90019
SPENCER, HENRY J        511 W PAMPA AVE                                                                             MESA            AZ   85210‐8313
SPENCER, HUBERT C       3 NORFOLK LN W                                                                              HOMOSASSA       FL   34446‐4349
SPENCER, INEST L        10300 KNOWLTON ROAD                                                                         GARRETTSVILLE   OH   44231‐9719
SPENCER, INEZ           3261 OPEN FIELDS DR                                                                         SNELLVILLE      GA   30078‐4574
SPENCER, IRVEN W        4065 KEMPF ST                                                                               WATERFORD       MI   48329‐2013
SPENCER, IRVIN R        11125 GEE RD                                                                                WALTON          IN   46994‐9416
SPENCER, IRVING W       APT A206                          12640 HOLLY ROAD                                          GRAND BLANC     MI   48439‐1857
SPENCER, ISIAH          19969 WARD ST                                                                               DETROIT         MI   48235‐1140
SPENCER, JACK
SPENCER, JACK           28431 59TH AVE S                                                                            AUBURN          WA   98001‐7283
SPENCER, JACQUELINE S   2200 MINNESOTA DR                                                                           XENIA           OH   45385‐4742
SPENCER, JAMES A        1861 RYAN RD                                                                                CARO            MI   48723‐9564
SPENCER, JAMES A        1715 EWALT AVE                                                                              DAYTON          OH   45420‐2612
SPENCER, JAMES C        483 HUBBARD ST NE                                                                           GRAND RAPIDS    MI   49525‐2533
SPENCER, JAMES C        51 LANHAM RD                                                                                ARAGON          GA   30104‐2232
SPENCER, JAMES D        224 OLD 99 CIR                                                                              HOHENWALD       TN   38462‐2012
SPENCER, JAMES F        2873 SCENIC CT.                   APT. 107                                                  LAKE ORION      MI   48350‐2371
SPENCER, JAMES G        19677 EARNEST RD                                                                            FREDERICKTOWN   OH   43019‐9745
SPENCER, JAMES H        5815 PARK AVE                                                                               KANSAS CITY     MO   64130‐3450
SPENCER, JAMES H        3957 S VAN NESS AVE                                                                         LOS ANGELES     CA   90062‐1325
SPENCER, JAMES K        6928 HURDS CORNER RD                                                                        MAYVILLE        MI   48744‐9505
SPENCER, JAMES M        7918 BROOKWOOD ST NE                                                                        WARREN          OH   44484‐1545
SPENCER, JAMES W        2949 N ST RT #48                                                                            LEBANON         OH   45036
SPENCER, JAMES W        4975 BAY CIR                                                                                CUMMING         GA   30041‐5456
SPENCER, JANE           5 BIRCH DR                                                                                  NOTTINGHAM      PA   19362‐9793
SPENCER, JANE A         2342 GUERNSEY RD                                                                            BEAVERTON       MI   48612‐9125
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Name                      Address1                         Address2                      Address3   Address4         City              State Zip
SPENCER, JAY C            2032 S 950 W                                                                               ANDREWS            IN 46702‐9734
SPENCER, JEAN H           12814 W GALAXY DR                                                                          SUN CITY WEST      AZ 85375‐4535
SPENCER, JEAN H           12814 GALAXY DR                                                                            SUN CITY WEST      AZ 85375‐4535
SPENCER, JEAN M           36 PINE VALLEY CIRCLE                                                                      ORMOND BEACH       FL 32175
SPENCER, JEAN M           410 STONEYFIELD DR                                                                         SOUTHERN PINES     NC 28387‐7161
SPENCER, JEAN MARY        410 STONEYFIELD DR                                                                         SOUTHERN PINES     NC 28387‐7161
SPENCER, JEANENE E        1425 PALMNOLD CIRCLE E                                                                     FT WORTH           TX 76120‐4705
SPENCER, JEFFERY A        2495 HENN HYDE RD                                                                          CORTLAND           OH 44410‐9448
SPENCER, JEFFREY R        776 DAYTON XENIA RD                                                                        XENIA              OH 45385‐2608
SPENCER, JERMAINE L       49 OLDE ENGLISH DR                                                                         ROMEOVILLE          IL 60446‐1685
SPENCER, JERRY A          21001 N TATUM BLVD               STE 1630‐210                                              PHOENIX            AZ 85050‐4242
SPENCER, JESSE L          14235 WILSHIRE DR                                                                          DETROIT            MI 48213‐1953
SPENCER, JIMMY C          274 STRINGER RD                                                                            ROCKMART           GA 30153‐4377
SPENCER, JOAN             104 LAFAYETTE AVE                                                                          BAY CITY           MI 48708‐7724
SPENCER, JOE D            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                           STREET, SUITE 600
SPENCER, JOE H            3811 PHILBROOK AVE                                                                         SAINT LOUIS       MO 63120‐1213
SPENCER, JOHN             137 EXCALIBUR BLVD                                                                         TROY              MO 63379‐2536
SPENCER, JOHN A           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                           STREET, SUITE 600
SPENCER, JOHN F           54056 BIRCHFIELD DR W                                                                      SHELBY TOWNSHIP   MI   48316‐1393
SPENCER, JOHN G           10162 DODGE RD                                                                             MONTROSE          MI   48457‐9009
SPENCER, JOHN H           361 MCGRAW DR                                                                              DIXIE             GA   31629
SPENCER, JOHN I           4013 SEVEN GABLES ST                                                                       FORT WORTH        TX   76133‐7520
SPENCER, JOHN M           1460 SMITH RD                                                                              ASHLAND           OH   44805‐3442
SPENCER, JOHN P           3430 GLENMERE DR                                                                           YOUNGSTOWN        OH   44511‐3039
SPENCER, JOHN R           1002 WASHINGTON ST                                                                         LEAVENWORTH       KS   66048
SPENCER, JOHN R           1847 DYE FORD RD                                                                           ALVATON           KY   42122‐8659
SPENCER, JOHNNY           344 PLANTERS WAY                                                                           SOMERSET          KY   42503‐6277
SPENCER, JONATHAN W       3651 E JOHNSON RD                                                                          ITHACA            MI   48847‐9550
SPENCER, JONI L           3241 GRACEMORE AVE                                                                         KETTERING         OH   45420‐1252
SPENCER, JOSEPH A         20936 ALLEN RD                                                                             CLINTON           MI   49236‐9607
SPENCER, JOSEPH D         3307 GRANGE HALL RD APT 2                                                                  HOLLY             MI   48442‐2018
SPENCER, JOSEPH N         1716 WOODSIDE CT                                                                           BAY CITY          MI   48708‐5481
SPENCER, JOSEPHINE D      46794 SPRINGHILL DRIVE                                                                     SHELBY TWP        MI   48317‐4065
SPENCER, JOYCE M          12890 BURT RD                                                                              BIRCH RUN         MI   48415‐9343
SPENCER, JUANITA L        11209 W 49TH TER                                                                           SHAWNEE           KS   66203‐1027
SPENCER, JUANITA L        11209 W. 49TH TERRACE                                                                      SHAWNEE           KS   66203‐1027
SPENCER, JUDITH A         7866 SEBRING DR                                                                            HUBER HEIGHTS     OH   45424‐2232
SPENCER, JUDITH A         7866 SEBRING AVE.                                                                          HUBER HEIGHTS     OH   45424‐2232
SPENCER, JUDITH K         709 CHESTNUT ST                                                                            KOKOMO            IN   46902
SPENCER, KAMALA L         2672 PARAMOUNT CIR                                                                         WESTFIELD         IN   46074‐4400
SPENCER, KAREN V          8220 LONGFELLOW LN                                                                         FORT WORTH        TX   76120‐5067
SPENCER, KAREN VENICE     8220 LONGFELLOW LN                                                                         FORT WORTH        TX   76120‐5067
SPENCER, KATHLEEN OLIVE   9080 SPRING BROOK CIR                                                                      DAVISON           MI   48423‐2135
SPENCER, KATHRYN I        19407 ROAD 14S                                                                             COLUMBUS GROVE    OH   45830‐9240
SPENCER, KATHRYN I        19407 RD 145                                                                               COL GROVE         OH   45830‐9240
SPENCER, KATHRYN R        9613 BRUMM RIVER DR                                                                        NASHVILLE         MI   49073‐9130
SPENCER, KATHY J          723 DEERHORN TRL                                                                           YELLOW SPRINGS    OH   45387‐9752
SPENCER, KAY              26666 EVERGREEN MEADOWS CT                                                                 SOUTHFIELD        MI   48076‐4219
SPENCER, KEITH            7508 TOEPFER RD                                                                            WARREN            MI   48091‐3042
SPENCER, KELLY J          1257 HELEN ST                                                                              INKSTER           MI   48141‐1725
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Name                      Address1                         Address2             Address3         Address4         City              State Zip
SPENCER, KENNETH A        1825 CUTNAW RD                                                                          BUTLER             OH 44822‐9705
SPENCER, KENNETH C        3276 OAKLAWN AVE SE                                                                     WARREN             OH 44484‐3421
SPENCER, KENNETH C        3276 OAKLAWN S.E.                                                                       WARREN             OH 44484‐3421
SPENCER, KENNETH J        2657 AMBASSADOR DR                                                                      YPSILANTI          MI 48198‐1028
SPENCER, KENNETH JEROME   2657 AMBASSADOR DR                                                                      YPSILANTI          MI 48198‐1028
SPENCER, KENNETH M        23401 CHURCH ST                                                                         OAK PARK           MI 48237‐2428
SPENCER, KENNETH R        17950 MIDNIGHT DR                                                                       NEWALLA            OK 74857‐7134
SPENCER, KENNETH R        953 S IRON MAN RD                                                                       WESTPORT           IN 47283
SPENCER, KENNETH R        1363 AMY ST                                                                             BURTON             MI 48509‐1801
SPENCER, KNOLLIN M        PO BOX 1815                                                                             NORTH EASTHAM      MA 02651‐1815
SPENCER, KRYSTAL          2524 PALMETTO COURT                                                                     FLORENCE           KY 41042‐9047
SPENCER, LANA R           PO BOX 566                                                                              HURON              SD 57350‐0566
SPENCER, LARRY A          3237 YORKTOWN DR APT A                                                                  OREGON             OH 43616‐2944
SPENCER, LARRY D          9458 HAMILL RD                                                                          OTISVILLE          MI 48463‐9785
SPENCER, LARRY S          6087 LINDEN CT                                                                          BEAR LAKE          MI 49614‐9792
SPENCER, LAURA S          3720 DAKOTA AVE                                                                         FLINT              MI 48506
SPENCER, LAUREN E         320 TAKISA CIR                                                                          DAYTON             OH 45415‐2135
SPENCER, LAWRENCE H       4819 BRANNAN DR W                                                                       SPRINGFIELD        OH 45502‐9262
SPENCER, LAWRENCE R       13202 WORD OF LIFE DR # 70                                                              HUDSON             FL 34669
SPENCER, LEE R            PO BOX 1093                                                                             NILES              MI 49120‐1093
SPENCER, LEO W            679 WELLINGTON AVE                                                                      BATTLE CREEK       MI 49037‐1244
SPENCER, LESLIE A         727 PURDUE AVENUE                                                                       ELYRIA             OH 44035‐7230
SPENCER, LINDA K          727 PURDUE AVE                                                                          ELYRIA             OH 44035‐7230
SPENCER, LISE A           4484 AUDUBON DR                                                                         TRAVERSE CITY      MI 49686
SPENCER, LOIS
SPENCER, LOIS E.          10828 E SILVERTREE DR                                                                   SUN LAKES         AZ   85248‐7938
SPENCER, LORNA J          11361 SO. CRESCENT PARKWAY #73                                                          SANDY             UT   84070
SPENCER, LORRAINE         708 BIRD BRANCH WAY                                                                     JACKSONVILLE      FL   32259‐4447
SPENCER, LOUISE           8689 N SILVER SAND PL                                                                   TUCSON            AZ   85743‐1214
SPENCER, LOUISE J         4366 WALTON RD RT=3                                                                     VASSAR            MI   48768‐9540
SPENCER, LUCAS WAYNE      PO BOX 322                                                                              VAN BUREN         IN   46991‐0322
SPENCER, LUCINDA L        5601 LONG BOW DR                                                                        KOKOMO            IN   46902
SPENCER, LUELLA           5268 GLENBURG RD                                                                        DEFIANCE          OH   43512‐9809
SPENCER, LUELLA           05268 GLENBURG RD.,                                                                     DEFIANCE          OH   43512
SPENCER, LYNN L           50690 HARBOUR VIEW DR N                                                                 NEW BALTIMORE     MI   48047‐4344
SPENCER, LYNN M           5115 3 MILE RD                                                                          BAY CITY          MI   48706‐9004
SPENCER, MARCENIA A       833 PALMYRA RD SW                                                                       WARREN            OH   44485‐3724
SPENCER, MARCIA           4656 GLENHEATH DR                                                                       KETTERING         OH   45440‐1981
SPENCER, MARCITA L        904 COMSTOCK ST NW                                                                      WARREN            OH   44483‐3108
SPENCER, MARGARET M       347 NORTH DRIVE                                                                         DAVISON           MI   48423‐1628
SPENCER, MARIA A          41560 PHEASANT CREEK DR                                                                 CANTON            MI   48188
SPENCER, MARIAN           7315 GREEN FARM RD                                                                      WEST BLOOMFIELD   MI   48322‐2830
SPENCER, MARION W         102 COMMONS AVE                                                                         ENGLEWOOD         OH   45322
SPENCER, MARJEAN G        160 BELLE VISTA DR                                                                      HUBBARD           OH   44425‐2161
SPENCER, MARJORIE A       1606 HUNNTINGTON RD                                                                     SAGINAW           MI   48601‐5128
SPENCER, MARJORIE A       1606 HUNTINGTON RD                                                                      SAGINAW           MI   48601‐5128
SPENCER, MARJORIE H       302 S ACADEMY ST APT 1                                                                  JANESVILLE        WI   53548‐4671
SPENCER, MARJORIE H       302 SOUTH ACADEMY ST APT# 1                                                             JANESVILLE        WI   53548‐4671
SPENCER, MARK C           815 WOODLAWN AVE                                                                        OWOSSO            MI   48867‐4630
SPENCER, MARK R           4766 BELL OAK RD                                                                        WILLIAMSTON       MI   48895‐9551
SPENCER, MARK S           4232 HEATHERWOOD DR                                                                     MILFORD           MI   48381‐1465
SPENCER, MARKUS L         355 GRAY FOX RD                                                                         MARSHALL          TX   75670‐2629
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Name                        Address1                       Address2                   Address3   Address4         City             State Zip
SPENCER, MARLENE MARIE      4010 AUTUMN HUE LN                                                                    DAVISON           MI 48423‐8975
SPENCER, MARTHA             1711 KINGS CT                                                                         KINGS MILLS       OH 45034‐9011
SPENCER, MARTHA             1711 KINGS COURT                                                                      KINGS MILLS       OH 45034‐5034
SPENCER, MARVIN             PORTER & MALOUF PA             4670 MCWILLIE DR                                       JACKSON           MS 39206‐5621
SPENCER, MARY               11 W GOODMAN                                                                          FAIRBORN          OH 45324‐3413
SPENCER, MARY               4384 OAKVISTA AVE                                                                     CLARKSTON         MI 48346‐3813
SPENCER, MARY A             7665 ANDERSON AVE NE                                                                  WARREN            OH 44484‐1524
SPENCER, MARY E             1710 LILLIAN DR.                                                                      NATIONAL CITY     MI 48748‐9683
SPENCER, MARY E             37 BLUE JAY COURT                                                                     HEBRON            OH 43025‐9538
SPENCER, MARY J             2936 COTTONWOOD A                                                                     WATERFORD         MI 48328
SPENCER, MAXINE G           4443 LOIS LANE                                                                        GENESEE           MI 48437‐7712
SPENCER, MAXINE G           4443 LOIS LN                                                                          GENESEE           MI 48437‐7712
SPENCER, MELVIN B           2459 W 14400 S                                                                        RIVERTON          UT 84065‐5096
SPENCER, MELVIN D           4267 CLIFFORD RD                                                                      SILVERWOOD        MI 48760‐9702
SPENCER, MELVIN L           2429 SHADY LN                                                                         ANDERSON          IN 46011‐2813
SPENCER, MICHAEL A          11121 E 35TH AVE                                                                      SPOKANE VALLEY    WA 99206‐5954
SPENCER, MICHAEL E          48698 STONEACRE DR                                                                    MACOMB            MI 48044‐1880
SPENCER, MICHAEL V          PO BOX 322                                                                            INKSTER           MI 48141‐0322
SPENCER, MICHELE R          9815 SARI LN                                                                          GIG HARBOR        WA 98332‐5112
SPENCER, MICHELLE
SPENCER, MICHELLE F         10336 WALNUT SHORES DR                                                                FENTON           MI   48430‐2433
SPENCER, MICHELLE FRANCES   10336 WALNUT SHORES DR                                                                FENTON           MI   48430‐2433
SPENCER, MILDRED            3501 GEORGIA AVE                                                                      KANSAS CITY      KS   66104‐3662
SPENCER, MILDRED            418 WOODLAWN AVE                                                                      YPSILANTI        MI   48198‐5917
SPENCER, MILDRED            418 WOODLAWN                                                                          YPSILANTI        MI   48198‐5917
SPENCER, MILDRED            3501 GEORGIA                                                                          KANSAS CITY      KS   66104‐3662
SPENCER, MILO J             607 WOODLAWN AVE                                                                      OWOSSO           MI   48867‐4636
SPENCER, MIRL M             7439 TAFT RD                                                                          MECOSTA          MI   49332‐9641
SPENCER, MITCHELL           728 W HOSPITAL RD                                                                     PAOLI            IN   47454‐9677
SPENCER, MITCHELL           728 WEST HOSPITAL ROAD                                                                PAOLI            IN   47454‐7454
SPENCER, MONTE R            4306 SHERMAN RD                                                                       SAGINAW          MI   48604‐1547
SPENCER, MOSE E             50620 RUEDISALE ST                                                                    NEW BALTIMORE    MI   48047‐4263
SPENCER, MYRLE W            G2037 HOWE RD                                                                         FLINT            MI   48507
SPENCER, NANCY R            PO BOX 77174                                                                          CORONA           CA   92877‐0105
SPENCER, NELSON E           5406 OAK HILL DR NW                                                                   WARREN           OH   44481‐9420
SPENCER, NETTYE I           1633 MILL ST                                                                          PULASKI          TN   38478‐4922
SPENCER, NETTYE I           1633 MILL STREET                                                                      PULASKI          TN   38478
SPENCER, NICHOLAS T         45809 KENSINGTON ST                                                                   UTICA            MI   48317‐5953
SPENCER, NOEL G             627 HAVEN PLACE                                                                       EDGEWOOD         MD   21040‐2907
SPENCER, NONA M             8597 HARTWELL ST                                                                      DETROIT          MI   48228‐2558
SPENCER, NORA A             507 W LOCUST ST                                                                       WELLSVILLE       MO   63384
SPENCER, NORMA A            17335 SANTA ROSA DR                                                                   DETROIT          MI   48221‐2607
SPENCER, NORMA M            32165 NORTH RIVER ROAD                                                                HARRISON TWP     MI   48045‐1477
SPENCER, NORMAN D           PO BOX 261                     5687 HEMINGWAY LAKE ROAD                               OTTER LAKE       MI   48464‐0261
SPENCER, ORVILLA A          5110 EDINBOROUGH LN                                                                   INDIANAPOLIS     IN   46241
SPENCER, OSCAR E            1556 RUMMEL RD                                                                        LUCAS            OH   44843‐9761
SPENCER, PATRICIA K         9361 SE 137TH STREET RD                                                               SUMMERFIELD      FL   34491‐8207
SPENCER, PAUL D             6879 TIGER RD                                                                         PIERCE CITY      MO   65723‐9291
SPENCER, PAUL E             6581 SOBER RD                                                                         FOWLERVILLE      MI   48836‐8615
SPENCER, PAUL E             5845 KINNEVILLE RD                                                                    EATON RAPIDS     MI   48827‐9631
SPENCER, PAULA M            6676 SLAYTON SETTLEMENT RD                                                            LOCKPORT         NY   14094‐1145
SPENCER, PENNY              2700 RECTOR RD                                                                        PARAGOULD        AR   72450‐9507
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Name                       Address1                           Address2                       Address3   Address4         City             State Zip
SPENCER, PHILLIP G         1348 S 560 W                                                                                  RUSSIAVILLE       IN 46979‐9437
SPENCER, PHYLIS            42 WEST 26TH SREET ‐ APT 9                                                                    BAYONNE           NJ 07002
SPENCER, PHYLLIS           2975 W CLEVELAND RD                                                                           PORT CLINTON      OH 43452‐9696
SPENCER, PHYLLIS           2975 CLEVELAND STREET                                                                         PORT CLINTON      OH 43452‐0972
SPENCER, PHYLLIS J.        1409 NORTHRIDGE HILLS                                                                         CRAWFORDSVILLE    IN 47933‐1072
SPENCER, PHYLLIS MAGDALE   8406 BAYBERRY RD                                                                              BALTIMORE         MD 21234‐4909
SPENCER, RANDY C           2040 JOHN DALY ST                                                                             INKSTER           MI 48141‐1974
SPENCER, RAYMOND H         129 HILLPINE ROAD                                                                             BUFFALO           NY 14227‐2261
SPENCER, REBECCA A         45 S SECOND STREET,                                                                           CAMDEN            OH 45311‐5311
SPENCER, REID              BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD        OH 44067
                                                              PROFESSIONAL BLDG
SPENCER, RETA F            953 S IRON MAN RD                                                                             WEST PORT        IN   47283
SPENCER, RICHARD           KELLER FISHBACK & JACKSON LLP      18425 BURBANK BLVD STE 610                                 TARZANA          CA   91356‐6918
SPENCER, RICHARD A         2212 S STATE ROUTE 4                                                                          ATTICA           OH   44807‐9590
SPENCER, RICHARD C         895 HAMLIN ST                                                                                 LAKE ORION       MI   48362‐2519
SPENCER, RICHARD D         1613 EASTWIND PL                                                                              AUSTINTOWN       OH   44515‐5626
SPENCER, RICHARD D         3145 HELEN ST                                                                                 HARRISON         MI   48625‐8008
SPENCER, RICHARD L         10015 LITTLEFIELD ST                                                                          DETROIT          MI   48227‐3428
SPENCER, RICHARD L         1427 PARK AVE                                                                                 BAY CITY         MI   48708‐5530
SPENCER, RICHARD R         131 KEVIN LN                                                                                  BOYCE            LA   71409‐8712
SPENCER, RICHARD W         347 NORTH DR                                                                                  DAVISON          MI   48423‐1628
SPENCER, RICK              2624 PARKLAWN DR APT 14                                                                       DAYTON           OH   45440‐1248
SPENCER, RICKY S           2904 MOSSY TIMBER TRL                                                                         VALRICO          FL   33596
SPENCER, ROBERT            STATE ROUTE 48 N 3400                                                                         COVINGTON        OH   45318
SPENCER, ROBERT C          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA   23510‐2212
                                                              STREET, SUITE 600
SPENCER, ROBERT D          8984 BELLEFONTAINE RD                                                                         HUBER HEIGHTS    OH   45424‐1557
SPENCER, ROBERT D          202 STANFORD DR APT C                                                                         LAFAYETTE        LA   70503‐6166
SPENCER, ROBERT D          723 DEERHORN TRAIL                                                                            YELLOW SPRINGS   OH   45387‐5387
SPENCER, ROBERT D          831 WOODLAND BCH                                                                              BATTLE CREEK     MI   49014‐7539
SPENCER, ROBERT D          149 HARVEY AVE                                                                                LOCKPORT         NY   14094‐4905
SPENCER, ROBERT DON        921 CARVER ST                                                                                 WINNSBORO        LA   71295
SPENCER, ROBERT GLEN       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA   23510‐2212
                                                              STREET, SUITE 600
SPENCER, ROBERT J          42015 S INTERSTATE 94 SERVICE DR                                                              BELLEVILLE       MI   48111‐4807
SPENCER, ROBERT J          6735 HAMMOCK RD APT 137                                                                       PORT RICHEY      FL   34668
SPENCER, ROBERT J          1871 KEITH DR SW                                                                              MARIETTA         GA   30064‐4013
SPENCER, ROBERT J          9800 OAK VALLEY DR                                                                            CLARKSTON        MI   48348‐4171
SPENCER, ROBERT L          135 DENNIS DR                                                                                 CORTLAND         OH   44410‐1157
SPENCER, ROBERT L          106 DOROTHY CT                                                                                MARSHALL         TX   75672‐8336
SPENCER, ROBERT L          1919 N US 23                                                                                  HARRISVILLE      MI   48740‐9777
SPENCER, ROBERT L          8630 RIDGE HILL DR                                                                            INDIANAPOLIS     IN   46217‐4640
SPENCER, ROBERT P          PO BOX 337                                                                                    COLLINS          NY   14034‐0337
SPENCER, ROBERT W          8054 HIGHPOINT BLVD                                                                           BROOKSVILLE      FL   34613‐7359
SPENCER, ROBIN J           1774 S. M‐13                                                                                  LENNON           MI   48449
SPENCER, ROBIN J           1774 S M 13                                                                                   LENNON           MI   48449‐9313
SPENCER, ROCKNE K          1694 WITHERBEE DR                                                                             TROY             MI   48084‐2684
SPENCER, ROCKY L           113 S STATE ST                                                                                CARO             MI   48723‐1722
SPENCER, RODNEY T          3432 CAPROCK RANCH RD                                                                         ROANOKE          TX   76262‐4505
SPENCER, ROLAND E          1364 N LEHMAN RD                                                                              TWINING          MI   48766‐9744
SPENCER, RONALD            5143 FAIRVIEW DR                                                                              HARRISON         MI   48625‐9658
SPENCER, RONALD A          18015 BIRDWATER DR                                                                            TAMPA            FL   33647‐2908
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Name                     Address1                        Address2           Address3         Address4         City              State Zip
SPENCER, RONALD D        7095 LEMON RD                                                                        BANCROFT           MI 48414‐9795
SPENCER, RONALD J        503 OAKBROOK CIR                                                                     FLUSHING           MI 48433‐1706
SPENCER, RONALD W        PO BOX 125                                                                           FREDERIC           MI 49733‐0125
SPENCER, RONNIE          7312 LANCELOT PL                                                                     OKLAHOMA CITY      OK 73132‐6031
SPENCER, RONNIE W        5065 S WALCOTT ST                                                                    INDIANAPOLIS       IN 46227‐4611
SPENCER, ROSIE           237 WEST FRANK ST                                                                    MEMPHIS            TN 38109‐7806
SPENCER, ROSS A          PO BOX 3501                                                                          CAMDENTON          MO 65020‐3501
SPENCER, ROY             4634 HIGHWAY 30 W                                                                    JACKSON            KY 41339‐7879
SPENCER, ROY R           PO BOX 87                                                                            VERNON             MI 48476‐0087
SPENCER, ROY W           7615 BLUE SPRUCE LN                                                                  LANSING            MI 48917‐7806
SPENCER, RUBY P          5087 ALVA AVE NW                                                                     WARREN             OH 44483‐1207
SPENCER, RUTH            155 BELCHER CANEY FORK                                                               JACKSON            KY 41339‐9271
SPENCER, RUTH A          4084 MANITOBA                                                                        PONTIAC            MI 48326‐1155
SPENCER, RUTH A          948 CHILI CENTER COLDWATER RD                                                        ROCHESTER          NY 14624‐3847
SPENCER, RUTH A          4084 MANITOBA ST                                                                     LAKE ANGELUS       MI 48326‐1155
SPENCER, RUTH E          49 JAMES ST                                                                          OSSINING           NY 10562‐5514
SPENCER, RUTH E          49 JAMES ST.                                                                         OSSINING           NY 10562
SPENCER, RUTH K          302 LEXINGTON STREET                                                                 ANDOVER            KS 67002‐9668
SPENCER, RUTH M          4065 KEMPF ST                                                                        WATERFORD          MI 48329‐2013
SPENCER, SABRINA M       PO BOX 172053                                                                        ARLINGTON          TX 76003‐2053
SPENCER, SABRINA MARIE   PO BOX 172053                                                                        ARLINGTON          TX 76003‐2053
SPENCER, SAMMY           50211 BOG RD                                                                         BELLEVILLE         MI 48111‐2581
SPENCER, SANDRA D        5845 KINNEVILLE RD                                                                   EATON RAPIDS       MI 48827‐9631
SPENCER, SANDRA H        803 HILLSIDE DR                                                                      HUMBOLDT           TN 38343‐2718
SPENCER, SANDRA K        5278 S 900 W                                                                         TIPTON             IN 46072‐9048
SPENCER, SANDRA L        11125 GEE RD                                                                         WALTON             IN 46994‐9416
SPENCER, SARA B          1821 DARBYSHIRE DR                                                                   DEFIANCE           OH 43512‐3309
SPENCER, SARAH           14235 WILSHIRE DR                                                                    DETROIT            MI 48213‐1953
SPENCER, SARAH A         2309 N MILLER RD                                                                     SAGINAW            MI 48609‐9535
SPENCER, SARAH M         200 SEGARS LN APT B                                                                  TROY               AL 36081‐1784
SPENCER, SCOTT A         3094 E BURT RD                                                                       BURT               MI 48417‐9634
SPENCER, SCOTT D         4105 MARIO CT                                                                        PLYMOUTH           MI 48170‐5132
SPENCER, SCOTT DOUGLAS   4105 MARIO CT                                                                        PLYMOUTH           MI 48170‐5132
SPENCER, SCOTT J         170 SATELLITE DR                                                                     FREEDOM            PA 15042‐2765
SPENCER, SCOTT R         6025 GLEN EAGLES DR                                                                  W BLOOMFIELD       MI 48323‐2211
SPENCER, SHARON D        1187 CAMELLIA DR                                                                     MOUNT MORRIS       MI 48458‐2801
SPENCER, SHARON L        2741 HARBOUR CT                                                                      LAPEER             MI 48446‐4500
SPENCER, SHIRLEY J       6960 W PEORIA AVE LOT 213                                                            PEORIA             AZ 85345‐6029
SPENCER, SHIRLEY L       4425 BLACKBEARD RD                                                                   VIRGINIA BEACH     VA 23455‐2125
SPENCER, SHIRLEY M       318 CHAPEL ST                                                                        LOCKPORT           NY 14094‐2406
SPENCER, SHIRLEY M       3829 ACKERMAN BLVD                                                                   KETTERING          OH 45429‐4512
SPENCER, SHIRLEY S       582 GOLDON TROPHY TRL                                                                LEXINGTON          KY 40514‐1776
SPENCER, SHIRLEY W       430 W HAZELTINE AVE                                                                  KENMORE            NY 14217‐2544
SPENCER, SONYAH N        827 WINESAP                                                                          ROCHESTER HILLS    MI 48307‐6810
SPENCER, SONYAH N.       827 WINESAP                                                                          ROCHESTER HILLS    MI 48307‐6810
SPENCER, STANLEY         11952 CRUM RD                                                                        WINCHESTER         OH 45697‐9628
SPENCER, STANLEY         11952 CRUM ROAD                                                                      WINCHESTER         OH 45697‐9628
SPENCER, STANLEY M       6224 S VASSAR RD                                                                     VASSAR             MI 48768‐9664
SPENCER, STEPHANIE H     1331 17TH ST NW                                                                      CANTON             OH 44703‐1170
SPENCER, STEPHEN T       3301 HOSMER RD                                                                       GASPORT            NY 14067‐9423
SPENCER, STEVE M         1983 AUTUMN WIND DR                                                                  GROVE CITY         OH 43123‐8363
SPENCER, STEVEN J        19 MARC MAR TRL                                                                      ROCHESTER          NY 14606‐3547
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Name                      Address1                      Address2              Address3      Address4         City             State Zip
SPENCER, STUART W         24064 BUCKINGHAM WAY                                                               PORT CHARLOTTE    FL 33980‐5511
SPENCER, SUE A            4509 WESTFIELD CT                                                                  BAY CITY          MI 48706‐2725
SPENCER, SUPRENIA         11436 ALEENE WAY                                                                   FISHERS           IN 46038‐5437
SPENCER, SUSIE M          2127 VALLEY VISTA CT                                                               DAVISON           MI 48423‐8339
SPENCER, TANYA H          35319 VINEWOOD ST                                                                  ROMULUS           MI 48174‐1734
SPENCER, TERESA G         170 BRAKEFIELD                                                                     JANESVILLE        WI 53546‐2243
SPENCER, TERRI A          1774 S. M‐13                                                                       LENNON            MI 48449
SPENCER, TERRY L          1631 CONNELL RD                                                                    ORTONVILLE        MI 48462‐9767
SPENCER, TERRY L          8270 SEYMOUR RD                                                                    GAINES            MI 48436‐9799
SPENCER, TERRY L.         1631 CONNELL RD                                                                    ORTONVILLE        MI 48462‐9767
SPENCER, THOMAS           1717 SANDPIPER DR                                                                  WEST LAFAYETTE    IN 47906‐6514
SPENCER, THOMAS           2903 OVERHILL ST                                                                   LIBRARY           PA 15129‐9308
SPENCER, THOMAS A         643 N 76TH ST                                                                      E SAINT LOUIS      IL 62203‐1733
SPENCER, THOMAS C         715 E WASHINGTON ST                                                                HOWELL            MI 48843‐2447
SPENCER, THOMAS CHARLES   715 E WASHINGTON ST                                                                HOWELL            MI 48843‐2447
SPENCER, THOMAS E         1323 N TAYLOR AVE                                                                  SAINT LOUIS       MO 63113‐2805
SPENCER, THOMAS E         606 RIVER ST APT 14                                                                LANSING           MI 48933
SPENCER, THOMAS E         2701 CALIFORNIA AVE                                                                KETTERING         OH 45419‐1913
SPENCER, THOMAS N         11329 BLUE SAGE DR                                                                 LAKE VIEW TER     CA 91342‐5602
SPENCER, THOMAS R         52641 WILDWOOD DR                                                                  MACOMB            MI 48042‐3571
SPENCER, TIMOTHY L        PO BOX 186                                                                         SARANAC           MI 48881‐0186
SPENCER, TOM J            1415 N CORNELL AVE                                                                 FLINT             MI 48505‐1116
SPENCER, TOMIE L          406 E PIPER AVE                                                                    FLINT             MI 48505‐2874
SPENCER, TRACY D          8908 W 95TH TER                                                                    OVERLAND PARK     KS 66212‐4003
SPENCER, TRAVIS           245 ALHAMBRA ST                                                                    PONTIAC           MI 48341‐1070
SPENCER, TRAVIS E         1774 SOUTH M13                                                                     LENNON            MI 48449
SPENCER, TRAVIS EUGENE    1774 SOUTH M13                                                                     LENNON            MI 48449
SPENCER, TRESA            9890 TOWNSHIP ROAD 49                                                              MOUNT PERRY       OH 43760‐9729
SPENCER, TWANA            9357 BARRY DR                                                                      ROMULUS           MI 48174‐1572
SPENCER, TWYLA F          PO BOX 63                                                                          BARTON CITY       MI 48705‐0063
SPENCER, VALERIE          5655 E OUTER DR 5655E                                                              DETROIT           MI 48234
SPENCER, VALERIE          5655 EAST OUTER DR                                                                 DETROIT           MI 48234
SPENCER, VANESSA D.       203 PATTERSON AVENUE                                                               FREDRICKSBURG     VA 22407‐1412
SPENCER, VELINDA M        1837 SUNDALE AVENUE                                                                DAYTON            OH 45406
SPENCER, VERA             35 REVERE WAY                                                                      PALM HARBOR       FL 34684‐1449
SPENCER, VERA             25917 STATE HWY 413                                                                GALENA            MO 65656‐7484
SPENCER, VERIA M          120 S HORTON ST                                                                    DAYTON            OH 45403‐2036
SPENCER, VERIA M          120 SOUTH HORTON STREET                                                            DAYTON            OH 45403‐2036
SPENCER, VIRGIL L         3610 WILLOW ST                                                                     AMARILLO          TX 79118‐7734
SPENCER, VIRGINIA M       5841 DIANE LN                                                                      INDIAN RIVER      MI 49749‐9720
SPENCER, WALTER F         853 PLEASANT DR NW                                                                 WARREN            OH 44483‐1264
SPENCER, WALTER J         48116 WALNUT ST APT 10103                                                          WIXOM             MI 48393‐2763
SPENCER, WARREN A         6452 STATE ROUTE 15                                                                DEFIANCE          OH 43512‐9763
SPENCER, WARREN ALLEN     6452 STATE ROUTE 15                                                                DEFIANCE          OH 43512‐9763
SPENCER, WARREN E         5268 GLENBURG RD                                                                   DEFIANCE          OH 43512‐9809
SPENCER, WARREN L         1512 NORTH AVE                                                                     CRYSTAL LAKE       IL 60014‐4939
SPENCER, WAYMON N         4313 VFW DR APT 36                                                                 DEL CITY          OK 73115‐2133
SPENCER, WAYNE            598 WINDSOR GREEN BOULEVARD                                                        GOODLETTSVLLE     TN 37072‐2126
SPENCER, WAYNE            WOLFF ARDIS PC                5810 SHELBY OAKS DR                                  MEMPHIS           TN 38134‐7315
SPENCER, WAYNE            WILSON KEHOE & WININGHAM      PO BOX 1317                                          INDIANAPOLIS      IN 46206‐1317
SPENCER, WENDELL G        223 ENGLAND CHAPEL RD                                                              LOCUST GROVE      GA 30248‐4711
SPENCER, WESLEY L         5220 COCHRAN CT                                                                    UNION CITY        GA 30291‐1086
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Name                                Address1                             Address2                           Address3   Address4         City               State Zip
SPENCER, WILFRED D                  6922 VERNSON DR                                                                                     LANSING             MI 48911‐6555
SPENCER, WILLIAM                    PO BOX 05737                                                                                        DETROIT             MI 48205‐0737
SPENCER, WILLIAM B                  6370 WALDON RD                                                                                      CLARKSTON           MI 48346‐2462
SPENCER, WILLIAM G                  4851 ANDERDON ST                                                                                    DETROIT             MI 48215‐2026
SPENCER, WILLIAM H                  1915 W BARNES RD                                                                                    FOSTORIA            MI 48435‐9777
SPENCER, WILLIAM H                  9675 N LAKE RD                                                                                      OTTER LAKE          MI 48464‐9419
SPENCER, WILLIAM HARRY              1915 W BARNES RD                                                                                    FOSTORIA            MI 48435‐9777
SPENCER, WILLIAM J                  2247 KROUSE RD                                                                                      OWOSSO              MI 48867‐9150
SPENCER, WILLIAM M                  37 N NAVARRE AVE                                                                                    YOUNGSTOWN          OH 44515‐2915
SPENCER, WILLIAM M                  61145 STATE ROUTE 415                                                                               AVOCA               NY 14809‐9624
SPENCER, WILLIAM R                  PO BOX 394                                                                                          TAWAS CITY          MI 48764
SPENCER, WILLIE B                   6430 S STONEY AVE ST                                                                                CHICAGO              IL 60637
SPENCER, WILLIE J                   1187 CAMELLIA DR                                                                                    MOUNT MORRIS        MI 48458‐2801
SPENCER, WILMA M                    PO BOX 563                                                                                          STOCKTON            MO 65785‐0563
SPENCER, ZONA                       6235 BLUFF RD                                                                                       INDIANAPOLIS        IN 46217‐3785
SPENCER‐ HURD, SHIRLEY L            3910 ARLENE AVE                                                                                     FLINT               MI 48532‐5263
SPENCER‐ENGINEERS INC               ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 4328                                                    JACKSON             MS 39296‐4328
                                    AGENT
SPENCER‐ENGINEERS INC               2675 RIVER RIDGE DR                  PO BOX 4328                                                    JACKSON            MS   39216‐5012
SPENCER‐GRAHAM, JEANNE M            42394 KINGSLEY DR                                                                                   CLINTON TWP        MI   48038‐1672
SPENCER‐IMM, JOAN M                 20086 QUESADA AVE                                                                                   PORT CHARLOTTE     FL   33952‐1126
SPENCER‐PALERMINO, SUSAN L          5305 RIVER RIDGE DR                                                                                 LANSING            MI   48917‐1362
SPENCER‐PALERMINO, SUSAN L          PO BOX                                                                                              LANSING            MI   48908
SPENCERPORT CENTRAL SCHOOL TRANS.                                        2678 NICHOLS ST                                                                   NY   14559
DEPT.
SPENCERVILLE METAL SYSTEMS LLC      DAWN DAGGETT                         721 E EDGERTON ST                                              BRYAN              OH   43506‐1411
SPENCERVILLE METAL SYSTEMS LLC      DAWN DAGGETT                         517 N BROADWAY ST                                              SPENCERVILLE       OH   45887‐1012
SPENCETEK INC                       2974 SCOTT BLVD                                                                                     SANTA CLARA        CA   95054‐3322
SPENCHIAN, JAY G                    2477 HERONWOOD DR                                                                                   BLOOMFIELD HILLS   MI   48302‐0838
SPENCLEY ANDREW (460206)            CLIMACO LEFKOWITZ PECA WILCOX &      1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND          OH   44115
                                    GAROFOLI                             FL
SPENCLEY, ANDREW                    CLIMACO LEFKOWITZ PECA WILCOX &      1228 EUCLID AVE, HALLE BLDG 9TH                                CLEVELAND          OH 44115
                                    GAROFOLI                             FL
SPENCLEY, CHAD D                    3151 N ADRIAN HWY                                                                                   ADRIAN             MI   49221‐1178
SPENCLEY, CHARLES D                 2075 S MACKINAW HWY                                                                                 BRUTUS             MI   49716
SPENCLEY, JAMES L                   7500 W ROLSTON RD                                                                                   LINDEN             MI   48451‐9766
SPENCLEY, JAMES LOUIS               7500 W ROLSTON RD                                                                                   LINDEN             MI   48451‐9766
SPENCLEY, KERI                      3130 CYPRESS DR                                                                                     ADRIAN             MI   49221‐1741
SPENCLEY, ROGER R                   9097 LUEA LN                                                                                        SWARTZ CREEK       MI   48473‐1077
SPENCLEY, WILLIAM J                 7440 W ROLSTON RD                                                                                   LINDEN             MI   48451‐9766
SPENDAL, KENNETH J                  19380 FAULMAN RD                                                                                    CLINTON TWP        MI   48035‐1457
SPENDEL, JUERGEN                    230 DEVON RD                                                                                        BLOOMFIELD HILLS   MI   48302‐1124
SPENDER & ROBB                      ATTN: STEVEN F SPENDER               1289 S LINDEN RD # B                                           FLINT              MI   48532‐3499
SPENELLA, ROBERT J                  51126 COURTYARD DR                                                                                  CHESTERFIELD       MI   48047‐4447
SPENEY CHEVROLET, INC.              115 W MAIN ST                                                                                       WEST NEWTON        PA   15089‐1141
SPENEY CHEVROLET, INC.              FRANK SPENEY                         115 W MAIN ST                                                  WEST NEWTON        PA   15089‐1141
SPENGLER NATHANSON                  4 SEAGATE STE 400                                                                                   TOLEDO             OH   43604‐2622
SPENGLER, ANGELA M                  2509 CALGARY                                                                                        CONCORD            NC   28027‐3307
SPENGLER, ANGELA M                  2509 CALGARY PL NW                                                                                  CONCORD            NC   28027‐3307
SPENGLER, JOSEPH J                  37 W 17TH ST                                                                                        BAYONNE            NJ   07002‐3603
SPENGLER, SYLVIA D                  3009 GREENBRIAR AVE                                                                                 LANSING            MI   48912‐3663
SPENK, ROBERT E                     715 CITADEL CT                                                                                      DES PLAINES        IL   60016‐6489
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Name                                  Address1                           Address2                  Address3   Address4                 City              State Zip
SPENKO MATTHEW                        10 W 32ND ST EL ‐ 243                                                                            CHICAGO             IL 60616
SPENN, MARY M                         11 FAIRWAY LN                                                                                    DEPEW              NY 14043‐1065
SPENNER, LOIS M                       4141 MCCARTY RD                                                                                  SAGINAW            MI 48603
SPENNEY, ADA M                        PO BOX 186                                                                                       WHEATLAND          MO 65779‐0186
SPENNEY, ADA M                        PO BOX 186, GRANT STREET                                                                         WHEATLAND          MO 65779‐0186
SPENS, GEORGE H                       1844 MAYER RD                                                                                    COLUMBUS           MI 48063‐3318
SPENS, JANICE                         423 DAN DR                                                                                       IMLAY CITY         MI 48444
SPENS, JOHN A                         51126 WASHINGTON ST                                                                              NEW BALTIMORE      MI 48047‐2159
SPENS, LINDA K                        587 CHURCHGROVE RD                                                                               FRANKENMUTH        MI 48734‐9791
SPENS, MARVIN F                       69211 PARKER ST                                                                                  RICHMOND           MI 48062‐1811
SPENS, MELVIN C                       61381 HAVENRIDGE RD                                                                              LENOX              MI 48048‐1222
SPENSER WILLIAMS
SPENSER, LORRAINE K                   109 GILBERT VALLEY DR                                                                            LEBANON           TN   37090‐5121
SPENSKI II, RONALD JOSEPH             15200 W HERBISON RD                                                                              EAGLE             MI   48822‐9683
SPENST, MARY A                        213 STEWART ROAD                                                                                 MODESTO           CA   95356‐9529
SPENZER, ANNETTE B                    6400 ALDERWOOD RD                                                                                PARMA HIGHTS      OH   44130‐3203
SPERA GAETANO                         VIA 4 CASELLI MARCONIA (MT)                                             75015 PISTICCI ITALY
SPERA, DAVID S                        1217 HICKORY LN                                                                                  NEW CASTLE        IN   47362‐1509
SPERA, H M                            PO BOX 245                                                                                       HURON             OH   44839‐0245
SPERA, JAMES R                        1406 LINDEN DR                                                                                   NEW CASTLE        IN   47362‐1728
SPERANDEO JR, SALVATORE J             33252 PALOMINO CMN                                                                               FREMONT           CA   94555‐1572
SPERANZA MARIO (ESTATE OF) (503267)   EARLY LUDWICK SWEENEY & STRAUSS    360 LEXINGTON AVE FL 20                                       NEW YORK          NY   10017‐6530

SPERANZA PAGNUCCO                     21070 OUTER DR                                                                                   DEARBORN          MI   48124‐3028
SPERANZA, ALBERT G                    28914 STORMCLOUD PASS                                                                            WESLEY CHAPEL     FL   33543‐6428
SPERANZA, JOSEPH J                    3453 SALEM DR                                                                                    ROCHESTER HILLS   MI   48306‐2941
SPERANZA, MARIO                       EARLY LUDWICK SWEENEY & STRAUSS    360 LEXINGTON AVE FL 20                                       NEW YORK          NY   10017‐6530
SPERANZA, ROBERT                      47 STONEWALL CT                                                                                  ROCHESTER         NY   14615
SPERANZA, THOMAS D                    100 PEARL ST APT 10                                                                              FRAMINGHAM        MA   01702
SPERATI, ROCKY B                      11 JONES CT                                                                                      GIRARD            OH   44420‐2809
SPERATI, WILLIAM D                    760 CONNECTICUT AVE                                                                              MC DONALD         OH   44437‐1818
SPERBECK, ROBERT A                    711 INNERGARY PL                                                                                 VALRICO           FL   33594‐4134
SPERBER GERHARD                       MEERSTRASSE 5                      GLADBECK                  45964
SPERBER GERHARD                       MEERSTR.5                          45964 GLADBECK            GERMANY
SPERBER LOTHAR                        21 GREENHAVEN DRIVE                EMU HEIGHTS               NSW 2750   AUSTRALIA
SPERBER, CARL F                       21551 SONOMA ST                                                                                  BURNEY            CA   96013‐9732
SPERBER, FRANCES ANN                  2395 STERLINGTON RD APT B                                                                        LEXINGTON         KY   40517‐3996
SPERBER, RONALD R                     6724 S NEW JERSEY ST                                                                             INDIANAPOLIS      IN   46227‐2383
SPERBER, WILLIAM                      28785 ROCKLEDGE DR                                                                               FARMINGTN HLS     MI   48334‐1759
SPERDUTI JR, HENRY                    5 DESALES CIR                                                                                    LOCKPORT          NY   14094‐3339
SPERDUTI JR, JOHN                     4195 COLUMBIA PIKE                                                                               FRANKLIN          TN   37064‐7420
SPERDUTI, ANTHONY E                   1055 FERNWOOD DR                                                                                 LOCKPORT          NY   14094‐7113
SPERDUTI, ROBERT A                    1 BEVERLY AVE                                                                                    LOCKPORT          NY   14094‐2501
SPERDUTO, ANTHONY M                   525 SW ESTER AVE                                                                                 PORT ST LUCIE     FL   34983‐8749
SPERDUTO, JERRY                       28 F RIVERVIEW GARDEN TERRACE                                                                    NORTH ARLINGTON   NJ   07031
SPERGEL & ASSOCIATES INC              346 WYECROFT ROAD                                                       OAKVILLE CANADA ON L6K
                                                                                                              2G7 CANADA
SPERHAC JR, ANDREW J                  2541 FOREST SPRINGS DR SE                                                                        WARREN            OH   44484‐5617
SPERIAN FALL ARREST SYSTEMS INC       1345 15TH ST                       PO BOX 271                                                    FRANKLIN          PA   16323‐1941
SPERIDON PETE (ESTATE OF) (665592)    WISE & JULIAN                      PO BOX 1108                                                   ALTON             IL   62002‐1108
SPERIDON, PETE                        WISE & JULIAN                      156 N MAIN ST             STOP 1                              EDWARDSVILLE      IL   62025‐1972
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Name                             Address1                       Address2                        Address3   Address4         City            State Zip
SPERIER JEROD W (481296)         KELLEY & FERRARO LLP           1300 EAST NINTH STREET , 1901                               CLEVELAND        OH 44114
                                                                BOND COURT BUILDING
SPERIER, JEROD W                 KELLEY & FERRARO LLP           1300 EAST NINTH STREET, 1901                                CLEVELAND       OH 44114
                                                                BOND COURT BUILDING
SPERK, JAMES D                   153 DORLAND AVE                                                                            BEREA           OH   44017‐2803
SPERKA, ROBERT                   3035 GENEVA ST                                                                             DEARBORN        MI   48124‐4516
SPERKA, THOMAS P                 7702 SHERRY LN                                                                             BROWNSBURG      IN   46112‐8418
SPERKO, CHARLOTTE M              4293 FOXPOINTE DR                                                                          W BLOOMFIELD    MI   48323‐2614
SPERKO, MICHAEL P                1213 FOUR WINDS CT                                                                         NILES           OH   44446‐3573
SPERKO, RICHARD J                522 GENESEE AVE NE                                                                         WARREN          OH   44483‐5502
SPERKOSKI, BRYAN G               2034 BROOMFIRTH CT                                                                         WESTLAKE VLG    CA   91361‐1807
SPERKOSKI, JORDAN J              21302 AMORA                                                                                MISSION VIEJO   CA   92692‐4931
SPERKOSKI, KATHLEEN J            2034 BROOMFIRTH CT                                                                         WESTLAKE VLG    CA   91361‐1807
SPERLA, JOHN T                   5334 FERN AVE                                                                              GRAND BLANC     MI   48439‐4327
SPERLE, ALLAN J                  141 SUMMITT DR                                                                             AVINGER         TX   75630‐2429
SPERLE, ALLAN J                  1787 HICKEY RD                                                                             HALLSVILLE      TX   75650‐4183
SPERLICH, ADAM M                 12 DALMOR RD                                                                               BELLINGHAM      MA   02019‐1922
SPERLICH, GLORIA J               1021 W INWOOD DR                                                                           ARLINGTON       TX   76013‐3800
SPERLICH, GLORIA J               1021 W INWOOD                                                                              ARLINGTON       TX   76013‐3800
SPERLICH, JOHN                   1021 W INWOOD DR                                                                           ARLINGTON       TX   76013‐3800
SPERLIK KATHRYN                  APT 509                        1 BLOOMINGDALE PLACE                                        BLOOMINGDALE    IL   60108‐1293
SPERLING & SLATER PC             55 W MONROE ST STE 3300                                                                    CHICAGO         IL   60603‐5088
SPERLING REAMER, KAREN J         1573 FAWN CREEK RD                                                                         BRENTWOOD       TN   37027‐8615
SPERLING THOMAS (652983)         OBRIEN LAW FIRM                1 METROPOLITAN SQ STE 1500                                  SAINT LOUIS     MO   63102‐2799
SPERLING, ANTHONY A              722 BARRINGTON RD                                                                          GROSSE POINTE   MI   48230‐1725
SPERLING, CARL A                 481 PRESTON CIR                                                                            DEXTER          MI   48130‐1074
SPERLING, HARRY                  123 FLOYD ST                                                                               EDISON          NJ   08820‐2101
SPERLING, HUGH J                 8125 NICHOLS RD                                                                            FLUSHING        MI   48433‐9291
SPERLING, HUGH JASON             8125 NICHOLS RD                                                                            FLUSHING        MI   48433‐9291
SPERLING, JACK R                 7116 SPRUCEWOOD DR                                                                         DAVISON         MI   48423‐9548
SPERLING, JAMES T                8696 MEISNER RD                                                                            CASCO           MI   48064‐3102
SPERLING, JASON C                11511 84TH AVE NE                                                                          KIRKLAND        WA   98034‐3552
SPERLING, JERRY W                603 LEAF CHAPEL RD                                                                         SWEETWATER      TN   37874
SPERLING, KENNY J                204 N SEYMOUR RD                                                                           FLUSHING        MI   48433‐1533
SPERLING, KENNY JASON            204 N SEYMOUR RD                                                                           FLUSHING        MI   48433‐1533
SPERLING, MARVIN H               427 CHURCHGROVE RD                                                                         FRANKENMUTH     MI   48734‐9704
SPERLING, MICHAEL C              7070 S CUSTER RD                                                                           MONROE          MI   48161‐9620
SPERLING, RAYMOND C              2275 CURTIS RD                                                                             BIRCH RUN       MI   48415‐8906
SPERLING, ROBERT P               428 LAKESHORE DR S                                                                         HOLLAND         MI   49424‐2223
SPERLING, RONALD WAYNE           6847 SUN RIDGE DR                                                                          WAYNESVILLE     OH   45068‐8332
SPERN, MARGUERITE L              2890 MIDDLEBELT RD                                                                         W BLOOMFIELD    MI   48324‐1852
SPERNA, FRANK D                  2074 E GREENWAY DR                                                                         TEMPE           AZ   85282‐7432
SPERO STATHOPOULOS               2539 E ROUNDTABLE DR                                                                       CANTON          MI   48188‐1934
SPEROFF, CLARIBEL                5804 LANCE DR                                                                              KOKOMO          IN   46902‐5491
SPEROFF, PATSY A                 4408 N PARKWAY                                                                             KOKOMO          IN   46901‐3948
SPEROS, THOMAS T                 5601 CENTRAL FWY APT 3212                                                                  WICHITA FALLS   TX   76305‐6718
SPEROW, BRUCE W                  671 ROPP DR                                                                                MARTINSBURG     WV   25403‐1534
SPEROW, CLARENCE L               136 PRAIRIE DR                                                                             WESTMONT        IL   60559‐1090
SPERRAZZA JR, JOHN J             585 SCOVELL DRIVE                                                                          LEWISTON        NY   14092‐1817
SPERRY & ASSOCIATES
SPERRY & RICE MANUFACTURING CO   GEORGE DENNISON X345           1088 N. MAIN STREET                                         MONTICELLO      MN 55362
SPERRY & RICE MANUFACTURING CO   GEORGE DENNISON X345           1088 N MAIN ST                                              KILLBUCK        OH 44637‐9504
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Name                                 Address1                         Address2                         Address3   Address4         City               State Zip
SPERRY & RICE MANUFACTURING CO LLC   9146 US HIGHWAY 52                                                                            BROOKVILLE          IN 47012‐9657

SPERRY & RICE MANUFACTURING CO LLC   GEORGE DENNISON X345             1088 N MAIN ST                                               KILLBUCK           OH 44637‐9504

SPERRY & RICE MANUFACTURING CO LLC   GEORGE DENNISON X345             1088 N. MAIN STREET                                          MONTICELLO         MN 55362

SPERRY CHARLES W (456463)            SKAGGS JOHN H                    405 CAPITOL STREET ‐ SUITE 607                               CHARLESTON         WV   25301
SPERRY GORDON                        3081 SANDHILL ROAD                                                                            MASON              MI   48854‐9410
SPERRY MARINE INC                    5923 CALAMIE DR                                                                               CLEVELAND          OH   44130‐1705
SPERRY, ANNETTE I                    5707 ELK CREEK RD                                                                             MIDDLETOWN         OH   45042‐9669
SPERRY, CAROLYN M                    213 W LIBERTY ST                                                                              EVANSVILLE         WI   53536‐1252
SPERRY, CARTER M                     16225 SILVERCREST DR                                                                          FENTON             MI   48430‐9155
SPERRY, CHARLES W                    SKAGGS JOHN H                    405 CAPITOL STREET ‐ SUITE 607                               CHARLESTON         WV   25301
SPERRY, CHARMIAN H                   207 LIVE OAK LN                                                                               FRIENDSWOOD        TX   77546‐3471
SPERRY, CRAIG W                      6360 HERON PARK WAY                                                                           CLARKSTON          MI   48346‐4802
SPERRY, DELORES                      412 LANCELOT PL                                                                               LANSING            MI   48906
SPERRY, DONNA K                      1924 S HAWTHORNE PARK DR                                                                      JANESVILLE         WI   53545‐2037
SPERRY, EUGENE P                     8716 N TERRITORIAL RD                                                                         EVANSVILLE         WI   53536‐9354
SPERRY, FRED A                       3798 S MAPLE VALLEY RD                                                                        SAINT HELEN        MI   48656‐8518
SPERRY, GORDON R                     3081 SANDHILL RD                                                                              MASON              MI   48854‐9410
SPERRY, IVAN R                       1810 W JASON RD                                                                               DEWITT             MI   48820‐9746
SPERRY, JANICE R                     21 S LEXINGTON DR                                                                             JANESVILLE         WI   53545‐2105
SPERRY, JOANN                        4695 ROCKVALLEY DR NE            DRIVE N.E.                                                   GRAND RAPIDS       MI   49525‐1377
SPERRY, JUDITH ANN                   2616 YOSEMITE ST                                                                              SAGINAW            MI   48603‐3359
SPERRY, JULIE A                      13787 TURNER RD                                                                               DEWITT             MI   48820‐9022
SPERRY, KENNETH D                    23016 REMICK DR                                                                               CLINTON TWP        MI   48036‐2733
SPERRY, KENNETH R                    21 S LEXINGTON DR                                                                             JANESVILLE         WI   53545‐2105
SPERRY, MARJORIE                     1203 W. MAIN ST                                                                               NEW LEBANON        OH   45345‐9764
SPERRY, MARJORIE                     1203 W MAIN ST                                                                                NEW LEBANON        OH   45345‐9764
SPERRY, MARVIN D                     5797 S AIRPORT RD                                                                             SAINT JOHNS        MI   48879‐9266
SPERRY, MICHAEL K                    7258 LAKESIDE DRIVE                                                                           INDIANAPOLIS       IN   46278‐1615
SPERRY, NADINE L                     23016 REMICK DR                                                                               CLINTON TWP        MI   48036‐2733
SPERRY, PETER B                      12872 WARNER HILL RD                                                                          SOUTH WALES        NY   14139‐9744
SPERRY, RICHARD B                    PO BOX 2742                                                                                   EVERGREEN          CO   80437‐2742
SPERRY, RICHARD C                    11806 BRIGGS DR                                                                               FREDERIC           MI   49733‐9632
SPERRY, RONALD M                     16471 KENNEDY ST                                                                              ROSEVILLE          MI   48066‐2325
SPERRY, ROSS                         10736 W WHITMORE RD                                                                           EVANSVILLE         WI   53536‐9448
SPERRY, TERESA L                     23908 DEANHURST ST                                                                            CLINTON TWP        MI   48035‐4312
SPERRY,ANNETTE I                     5707 ELK CREEK RD                                                                             MIDDLETOWN         OH   45042‐9669
SPES, FRIEDRICH M                    42276 POND VIEW DR                                                                            STERLING HEIGHTS   MI   48314‐3854
SPESS, STEVE                         5310 MARY CT                                                                                  SAGINAW            MI   48603‐3635
SPESSARD KEVIN L SR (400971)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510
                                                                      STREET, SUITE 600
SPESSARD, BARBARA                    APT 205                          2301 LILLIE BELL LANE                                        WILLIAMSBURG       OH   45176‐8907
SPESSARD, BARBARA F                  APT 205                          2301 LILLIE BELL LANE                                        WILLIAMSBURG       OH   45176‐8907
SPESSARD, BARBARA F                  2301 LILLIE BELL LANE            APARTMENT 205                                                WILLIAMSBURG       OH   45176
SPESSARD, JERRY D                    4316 STATE HIGHWAY 199                                                                        ARDMORE            OK   73401‐0541
SPESSARD, KEVIN L                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510
                                                                      STREET, SUITE 600
SPESSATO, LAVENA M                   2158 HAVEN OAK CT                                                                             ABINGDON           MD 21009‐1203
SPETH, CATHERINE M                   4215 HOME ST                     C/O WILLIAM SPETH                                            WEST MIFFLIN       PA 15122‐1737
SPETH, CATHERINE M                   C/O WILLIAM SPETH                4215 HOME STREET                                             WEST MIFFLIN       PA 15122
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Name                               Address1                            Address2                        Address3                 Address4               City                State Zip
SPETH, FRANCIS R                   3883 W FAIRVIEW RD                                                                                                  GREENWOOD            IN 46142‐8523
SPETRINO, ALVEDA K                 10299 EUREKA PKWY                                                                                                   CLEVELAND            OH 44130‐2038
SPETS, ELLEN V                     11307 S TRUMBULL AVE                                                                                                CHICAGO               IL 60655‐3532
SPETTEL JACK & RYAN                23 PAWNEE PKWY                                                                                                      SHEBOYGAN            WI 53081‐7066
SPETZ, ELIZABETH A                 113 GRANT ST                                                                                                        WARREN               PA 16365‐3008
SPEVACEK, CHRISTOPHER T            9420 HENRIETTA AVE                                                                                                  BROOKFIELD            IL 60513‐1127
SPEVAK, ALICIA O                   3550 GALT OCEAN DR. #511                                                                                            FT. LAUDERDALE       FL 33308‐6847
SPEWACHEK, JOHN E                  8345 S 42ND ST                                                                                                      FRANKLIN             WI 53132‐9324
SPEWOCK, VERONICA M                1320 ASHEBURY LN APT 324            OAK HAVEN MANOR                                                                 HOWELL               MI 48843‐1691
SPEX SAMPLEPREP LLC                203 NORCROSS AVE                                                                                                    METUCHEN             NJ 08840‐1253
SPEYER, DORIS H                    5401 LANDAU DR                                                                                                      KETTERING            OH 45429
SPEZIA, ALLAN C                    7751 ADAIR RD                                                                                                       CASCO                MI 48064‐1530
SPEZIA, ANTHONY P                  PO BOX 822                                                                                                          LINDEN               MI 48451
SPEZIA, BETTY A                    332 HEIGHTS RD                                                                                                      LAKE ORION           MI 48362‐2727
SPEZIA, JAMIE B                    1423 2ND ST                                                                                                         COVINGTON            IN 47932‐8081
SPEZIA, LARRY J                    2933 BYWATER DR                                                                                                     TROY                 MI 48085‐7003
SPEZIA, RICHARD P                  5559 BARNES RD                                                                                                      BROWN CITY           MI 48416‐9012
SPEZIALE GIUSEPPE                  VIA PORRO, 2                        22100 COMO (CO)
SPEZIALE, ELAINE J                 2964 WHISPERING PINES DR                                                                                            CANFIELD            OH    44406‐9628
SPEZIALE, PASQUALE                 1450 ATLANTIC SHORES BLVD APT 105                                                                                   HALLANDALE BEACH    FL    33009‐3755
SPEZIALE, PASQUALE                 1450 ATLANTIC SHORES BLVD.          105                                                                             HALLANDBALE BEACH   FL    33009‐3755
SPEZIALE, SAM W                    2964 WHISPERING PINES DR                                                                                            CANFIELD            OH    44406‐9628
SPEZIO, PAUL W                     69 QUAIL LN                                                                                                         ROCHESTER           NY    14624‐1062
SPEZZA ROBERT                      SPEZZA, CHARLENE                    20 COMMERCE BLVD                                                                SUCCASUNNA          NJ    07876
SPEZZA ROBERT                      SPEZZA, ROBERT                      20 COMMERCE BLVD                                                                SUCCASUNNA          NJ    07876
SPEZZANO, RONALD L                 7 BRADNELL AVE                                                                                                      LE ROY              NY    14482
SPEZZANO, WILLIAM J                127 LONGVIEW BLVD                                                                                                   LIVONIA             NY    14487‐9773
SPH BLACHA                         ALSTADSTRASSE 8                     CH‐6045 MEGGEN
SPH CRANE & HOIST INC              DBA MORRIS MATERIAL HANDLING        ATTN: KAREN MOORE               4401 GATEWAY BLVD                               SPRINGFIELD         OH 45502
SPH CRANE & HOIST INC              14170 E 10 MILE RD                                                                                                  WARREN              MI 48089‐2153
SPH INVEST SA                      COMPAGNIE FINANCIERE DE GESTION     LUXEMBOURG SA                   40 BOULEVARD JOSEPH II   L‐1840 LUXEMBOURG
SPHAR, CARLA M                     463 45TH AVE                                                                                                        EAST MOLINE          IL   61244‐4272
SPHAR, MICHAEL J                   11322 MOUNTAIN ASH RUN                                                                                              FORT WAYNE           IN   46818‐9069
SPHAR, MICHAEL JOSEPH              11322 MOUNTAIN ASH RUN                                                                                              FORT WAYNE           IN   46818‐9069
SPHERICOMM CONSULTING LLC          620 N COPPELL RD APT 3307                                                                                           COPPELL              TX   75019‐2053
SPHERION                           ATTN AR                             187 LYON STREET STE 100                                  OTTAWA CANADA ON K1R
                                                                                                                                7Y4 CANADA
SPHERION                           TODAYS STAFFING BOA TEXAS           PO BOX 910270                                                                   DALLAS               TX   75391‐0270
SPHERION                           116 ALBERT ST SUITE 400                                                                      OTTAWA ON K1P 5G3
                                                                                                                                CANADA
SPHERION STAFFING SOLUTIONS        116 ALBERT ST STE 400                                                                        OTTAWA CANADA ON K1P
                                                                                                                                5G3 CANADA
SPHERONVR AG                       HAUPTSTRABE 186                     67714 WALDFISCHBACH‐BURGALBEN                            DEUTSCHLAND GERMANY
                                                                                                                                GERMANY
SPHERONVR AG                       HAUPTSTR 186                                                                                 WALDFISCHBACH‐
                                                                                                                                BURGALBEN RP 67714
                                                                                                                                GERMANY
SPHINX, SCOTIA                     10322 EDGEFIELD DR                                                                                                  SAINT LOUIS         MO    63136‐5624
SPHON, VIRGINIA R                  100 PINEVIEW DR N E                                                                                                 WARREN              OH    44484‐6415
SPHREHE, EUGENE                    GUY WILLIAM S                       PO BOX 509                                                                      MCCOMB              MS    39649‐0509
SPI INTERNATIONAL TRANSPORTATION   PO BOX 960                                                                                                          BLAINE              WA    98231‐0950
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Name                                Address1                           Address2                      Address3   Address4            City            State Zip
SPI LLC                             51370 CELESTE                                                                                   SHELBY TWP       MI 48315‐2902
SPI LLC                             MICHELLE CUNNINGHAM                51370 CELESTE                            ONTARIO ON CANADA
SPICA JOE                           41316 CARRIAGE HILL DR                                                                          NOVI            MI   48375‐5208
SPICA, JOSEPH P                     41316 CARRIAGE HILL DR                                                                          NOVI            MI   48375‐5208
SPICA, LOUISE S                     4611 HEMMETER CT APT 1                                                                          SAGINAW         MI   48603‐3865
SPICE ISLAND DELI & CAFE            326 RUE DE LA JAUNE                                                                             SPARKS          NV   89434‐9523
SPICE, JAMES A                      1043 S EVERGREEN AVE                                                                            KANKAKEE        IL   60901‐5350
SPICELAND, STEPHEN M                4688 PARKSIDE BLVD                                                                              ALLEN PARK      MI   48101‐3206
SPICER AMERICA CORPORATION          24500 CENTER RIDGE RD                                                                           WESTLAKE        OH   44145‐5615
SPICER DRIVESHAFT IN                125 S KEIM ST                                                                                   POTTSTOWN       PA   19464‐6007
SPICER DRIVESHAFT MANUFACTURING INC 400 S MILLER AVE                                                                                MARION          IN   46953‐1137

SPICER ENGINEERING CO               230 S WASHINGTON AVE                                                                            SAGINAW         MI 48607‐1286
SPICER ENGINEERING COMPANY          818 S MICHIGAN AVE                                                                              SAGINAW         MI 48602‐1531
SPICER JAMES M (439531)             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK         VA 23510
                                                                       STREET, SUITE 600
SPICER JR, ARTHUR W                 5148 APPLEGROVE CT                                                                              WHITE LAKE      MI   48383‐1975
SPICER JR, JOE P                    8119 STATE ROUTE 752                                                                            ASHVILLE        OH   43103‐9731
SPICER JR, JOSEPH E                 1822 N REDWOOD DR                                                                               INDEPENDENCE    MO   64058‐1570
SPICER JR., CLARENCE                PO BOX 172                                                                                      HORNBEAK        TN   38232‐0172
SPICER LORA L                       4730 BRIDGETOWN CT                                                                              FORT WAYNE      IN   46804‐4855
SPICER MARY                         PO BOX 625                                                                                      SENECA          IL   61360‐0625
SPICER RANDY                        SPICER, CHRISTIN                   433 W WILSHIRE BLVD SUITE A                                  OKLAHOMA CITY   OK   73116
SPICER RANDY                        SPICER, RANDY                      433 W WILSHIRE BLVD SUITE A                                  OKLAHOMA CITY   OK   73116
SPICER, AARON L                     6936 REGULAR                                                                                    DETROIT         MI   48209
SPICER, ALBERT L                    4085 LOMLEY AVE                                                                                 WATERFORD       MI   48329‐4122
SPICER, ALVIN L                     1314 WEIHUR DR                                                                                  SANDUSKY        OH   44870‐5627
SPICER, ANDREA J                    7050 VILLA DR                      APT 1                                                        WATERFORD       MI   48327‐4036
SPICER, ANDREA J                    7050 VILLA DR APT 1                                                                             WATERFORD       MI   48327‐4036
SPICER, ANITA                       1201 MEDICAL AVE. APT.1307         VILLAS OF MISSION BEND                                       PLANO           TX   75075
SPICER, BARBARA J                   2 HUQUENIN COURT                                                                                BLUFFTON        SC   29909‐4544
SPICER, BARBARA J                   2 HUQUENIN CT                                                                                   BLUFFTON        SC   29909‐4544
SPICER, C
SPICER, CAROLYN SUE                 125 EDEN GARDEN DR                                                                              DUNGANNON       VA   24245‐3689
SPICER, CAROLYN SUE                 115 EDEN GARDEN DR.                                                                             DUNGANNON       VA   24245‐3689
SPICER, CARROL L                    9097 W KALAMO HWY                                                                               BELLEVUE        MI   49021‐9452
SPICER, CHARLES N                   918 SEDGLEY RD                                                                                  BALTIMORE       MD   21228‐1203
SPICER, CHARLES W                   PO BOX 353                         519 LAURA LANE                                               SWEETSER        IN   46987‐0353
SPICER, CHARLES WILLIAM             519 LAURA LANE                                                                                  SWEETSER        IN   46987
SPICER, CHARLIE L                   15830 FAIRMOUNT DRIVE                                                                           DETROIT         MI   48205‐1448
SPICER, CHRISTIN                    WEISBERG & MYERS                   433 W WILSHIRE BLVD STE A                                    OKLAHOMA CITY   OK   73116‐7746
SPICER, CLARICE E                   912 PALMER DRIVE                                                                                PONTIAC         MI   48342‐1859
SPICER, DANIEL C                    69 OVERLOOK PLACE                                                                               ESTILL SPGS     TN   37330‐5415
SPICER, DAVID C                     408 AUSTIN AVE                                                                                  ROYAL OAK       MI   48067‐1764
SPICER, DAVID M                     4676 FEDERAL RD                                                                                 CEDARVILLE      OH   45314‐9548
SPICER, DAVID W                     30666 ISLAND DR                                                                                 ROCKWOOD        MI   48173‐9545
SPICER, DECOURSEY A                 3924 BLACK PINE DR                                                                              GROVE CITY      OH   43123‐1194
SPICER, DENISE D                    16290 E BEDFORD ST                                                                              SOUTHFIELD      MI   48076‐2248
SPICER, DERHONDA                    1518 EAST 112TH,APT 1024                                                                        LOS ANGELES     CA   90059
SPICER, DERHONDA                    1518 E 112TH ST APT 1024                                                                        LOS ANGELES     CA   90059‐1802
SPICER, DUANE B                     3066 RED BARN RD                                                                                FLINT           MI   48507‐1252
SPICER, EDITH R                     820 MOORLANDS DR                                                                                SPRINGFIELD     OH   45506‐3718
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Name                   Address1                       Address2                      Address3   Address4         City              State Zip
SPICER, EDITH R        820 MOORELANDS DR                                                                        SPRINGFIELD        OH 45506‐3718
SPICER, EDNA R         1019 S WABASH AVE                                                                        KOKOMO             IN 46902‐6250
SPICER, ELMER M        68 JEFF                                                                                  WATERFORD          MI 48328‐3030
SPICER, FRANCES L      4775 VILLAGE DR ROOM#239                                                                 GRAND LEDGE        MI 48837‐8111
SPICER, HELEN J        PO BOX 4194                                                                              FLINT              MI 48504‐0194
SPICER, HERMAN C       2410 ADAMS RD                                                                            OAKLAND            MI 48363‐1908
SPICER, J J            16908 E MONTEREY DR                                                                      FOUNTAIN HILLS     AZ 85268‐6209
SPICER, JACK A         2200 COE CT                                                                              AUBURN HILLS       MI 48326‐2606
SPICER, JAMES E        6326 CEDAR LAKE RD                                                                       PINCKNEY           MI 48169‐8807
SPICER, JAMES EDWARD   6326 CEDAR LAKE RD                                                                       PINCKNEY           MI 48169‐8807
SPICER, JAMES H        874 MIAMI DR                                                                             MASON              MI 48854‐9613
SPICER, JAMES M        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                      STREET, SUITE 600
SPICER, JAMES P        PO BOX 404                                                                               DIABLO            CA   94528‐0404
SPICER, JERRY          711 DELL AVE                                                                             FLINT             MI   48507‐2825
SPICER, JERRY L        6292 LEAWOOD DRIVE                                                                       HUBER HEIGHTS     OH   45424‐5424
SPICER, JERRY P        5520 OVERBROOK CIR                                                                       INDIANAPOLIS      IN   46226‐1542
SPICER, JERRY PORTER   5520 OVERBROOK CIR                                                                       INDIANAPOLIS      IN   46226‐1542
SPICER, JOHN L         1807 BENJAMIN AVE NE                                                                     GRAND RAPIDS      MI   49505‐5435
SPICER, JOHN P         12867 WENDOVER DR                                                                        PLYMOUTH          MI   48170‐8228
SPICER, JOHN PATRICK   12867 WENDOVER DR                                                                        PLYMOUTH          MI   48170‐8228
SPICER, JOHN R         1148 STATE ROUTE 503 N                                                                   W ALEXANDRIA      OH   45381‐9732
SPICER, JOHNNY         1277 W STANLEY RD                                                                        MOUNT MORRIS      MI   48458‐2370
SPICER, KENNETH H      1835 SHORT RD                                                                            SAGINAW           MI   48609
SPICER, KRISTINE T     6087 WILLOWBROOK DR                                                                      SAGINAW           MI   48638
SPICER, LAVERNE F.     5303 IVAN ST #102                                                                        LANSING           MI   48917‐3340
SPICER, LAVERNE F.     5303 IVAN DR APT 102                                                                     LANSING           MI   48917‐3340
SPICER, LEILA A        562 HIGHWAY M                                                                            EVERTON           MO   65646‐8106
SPICER, LENVILLE       3034 LAKEVIEW DR                                                                         LEWISTON          MI   49756‐8998
SPICER, LILLIE B       3895 UTICA DR                                                                            KETTERING         OH   45439‐2551
SPICER, LLOYD          BALDWIN & BALDWIN              PO DRAWER 1349                                            MARSHALL          TX   75670
SPICER, LOLA           434 W 5TH                                                                                ANDERSON          IN   46016
SPICER, LORA L         4730 BRIDGETOWN CT                                                                       FORT WAYNE        IN   46804‐4855
SPICER, MARK A         3066 RED BARN RD                                                                         FLINT             MI   48507‐1252
SPICER, MARY           141 TURNER AVE                                                                           FITZGERALD        GA   31750
SPICER, MAXWELL E      450 STEWART RD APT 6                                                                     MONROE            MI   48162
SPICER, MAXWELL E      1301 N RAINBOW BLVD            APT 15                                                    LAS VEGAS         NV   89108‐6833
SPICER, MELINDA G      8119 STATE ROUTE 752                                                                     ASHVILLE          OH   43103
SPICER, MILDRED H      PO BOX 10257                                                                             CLEVELAND         OH   44110‐0257
SPICER, NOBLE T        370 S 700 W                                                                              MORGANTOWN        IN   46160‐8427
SPICER, PATSY M        4693 PRESTIGE LANE                                                                       HILLIARD          OH   43026‐7487
SPICER, PEARLIE J      738 EAST 25TH STREET                                                                     ERIE              PA   16503‐2219
SPICER, PEARLIE J      738 E 25TH ST                                                                            ERIE              PA   16503‐2219
SPICER, POLLY          5747 SPRINGBORO PIKE                                                                     WEST CARROLLTON   OH   45449‐2807
SPICER, RALPH J        5618 BETTY LN                                                                            MILFORD           OH   45150‐2378
SPICER, RALPH T        2125 S TECUMSEH RD LOT 207                                                               SPRINGFIELD       OH   45502‐8593
SPICER, RALPH THOMAS   LOT 207                        2125 SOUTH TECUMSEH ROAD                                  SPRINGFIELD       OH   45502‐8593
SPICER, RANDY          WEISBERG & MYERS               433 W WILSHIRE BLVD STE A                                 OKLAHOMA CITY     OK   73116‐7746
SPICER, RAYMOND G      7645 GRAND RIVER RD                                                                      BANCROFT          MI   48414‐9767
SPICER, RICHARD O      434 W 5TH ST                                                                             ANDERSON          IN   46016‐1121
SPICER, ROBERT         4771 SEBALD DR                                                                           FRANKLIN          OH   45005‐5330
SPICER, ROBERT D       11341 WING DR                                                                            CLIO              MI   48420‐1518
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Name                             Address1                             Address2                    Address3                 Address4                City                 State Zip
SPICER, ROBERT E                 928 MELROSE ST                                                                                                    NEW LENOX              IL 60451‐2041
SPICER, ROBERTA LEE              711 DELL AVE                                                                                                      FLINT                 MI 48507‐2825
SPICER, ROGER D                  11894 CHASE BLVD                                                                                                  LIVONIA               MI 48150‐5038
SPICER, ROGER DALE               11894 CHASE BLVD                                                                                                  LIVONIA               MI 48150‐5038
SPICER, RONALD                   114 OAK ST                                                                                                        FITZGERALD            GA 31750‐8826
SPICER, RUFUS                    1041 W 32ND ST                                                                                                    INDIANAPOLIS          IN 46208‐4502
SPICER, SHIRLEY J                3412 ELMY DR                                                                                                      ORION                 MI 48359‐2006
SPICER, SHIRLEY J                3412 ELMY DRIVE                                                                                                   ORION                 MI 48359‐2006
SPICER, SR.,DAVID A              7564 14TH LANE                                                                                                    VERO BEACH            FL 32966‐1200
SPICER, STANLEY D                5279 MARCONI ST                                                                                                   CLARKSTON             MI 48348‐3843
SPICER, STEPHEN R                2743 W 17TH ST LOT 64                                                                                             MARION                IN 46953‐9427
SPICER, THERON J                 9425 MURPHY RD                                                                                                    LYONS                 MI 48851‐9777
SPICER, TIMOTHY                  1020 BRECKEN LN                                                                                                   LITHONIA              GA 30058‐6721
SPICER, TODD L                   PO BOX 1341                                                                                                       WARREN                OH 44482‐1341
SPICER, TOMMY L                  1132 FULLER AVE SE                                                                                                GRAND RAPIDS          MI 49506‐3247
SPICER, WALLACE F                9001 PORTAGE OINTE DR                APT B116                                                                     STREETSBORO           OH 44241‐5656
SPICER, WALLACE F                9001 PORTAGE POINTE DR APT B116                                                                                   STREETSBORO           OH 44241‐5656
SPICER, WALTER                   454 SPRUCE PINE ROAD                                                                                              ROGERSVILLE           TN 37857‐7402
SPICER, WANDA S                  8314 DEERWOOD RD                                                                                                  CLARKSTON             MI 48348‐4535
SPICER, WILLIAM A                28 W CHICAGO AVE                                                                                                  PONTIAC               MI 48340‐1129
SPICER, WILLIAM A                1647 S WHITEHEAD RD                  SUGAR ISLAND                                                                 SAULT SAINTE MARIE    MI 49783‐8804
SPICER, WILLIAM E                249 BORLAND CT                                                                                                    SAGINAW               MI 48602‐3130
SPICER, WILLIAM G                106 E CAMERON ST                                                                                                  ALBANY                MO 64402‐1301
SPICERS                          A DIV OF PAPERLINX CANADA LTD        200 GALCAT DRIVE                                     VAUGHAN CANADA ON L4L
                                                                                                                           0B9 CANADA
SPICH, SALLY A                   STERLING HOUSE ALTREEA               901 BROAD STREET APT. 502                                                    FLORENCE             NJ   08518
SPICHER, GEORGE W                2043 GARRICK AVE                                                                                                  WARREN               MI   48091‐5101
SPICHER, KEITH A                 418 GREENBRIAR DR                                                                                                 CORTLAND             OH   44410‐1654
SPICKARD, CLEO E                 229 ARLINGTON DR                                                                                                  DANVILLE             IL   61832‐8412
SPICKENAGEL, DENNIS P            1336 WOODGLEN AVE                                                                                                 YPSILANTI            MI   48198‐6222
SPICKER, KONRAD H                10205 E SPRING CREEK RD                                                                                           SUN LAKES            AZ   85248‐6843
SPICKLER JR, DARRELL P           87 CASHMERE DR                                                                                                    MARTINSBURG          WV   25404‐3677
SPICKLER, CHARLES H              147 ARDELEAN DR                                                                                                   OWOSSO               MI   48867‐1213
SPICKLER, GEOFFREY S             32170 BANDELIER RD                                                                                                WINCHESTER           CA   92596‐8772
SPICKLER, MARY R                 524 INGLESIDE                                                                                                     FLINT                MI   48507
SPICKLER, MARY R                 524 INGLESIDE AVE                                                                                                 FLINT                MI   48507‐2518
SPICKNALL'S MOTOR SERVICE        301 E 1ST ST                                                                                                      AKRON                CO   80720‐1505
SPICKNALL'S MOTOR SERVICE, LLC   DENCIA SPICKNALL                     301 E 1ST ST                                                                 AKRON                CO   80720‐1505
SPICKNELL, SUELLEN               3253 KEMLER RD                                                                                                    EATON RAPIDS         MI   48827‐9201
SPICKNELL, THOMAS H              17 WOODSEDGE CT                                                                                                   PITTSBORO            IN   46167‐9590
SPICKO, ANTONIA                  616 MCKINLEY                                                                                                      FLINT                MI   48507‐2754
SPICUZZA, JEANNE T               24360 CHELSEA ST                                                                                                  CLINTON TOWNSHIP     MI   48036‐2818
SPICY D CAMPBELL                 823 KERCHER ST                                                                                                    MIAMISBURG           OH   45342
SPICY LTD                        C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT         2 RAFFLES LINK, MARINA   SINGAPORE 039392
                                 LIMITED                                                          BAYFRONT
SPIDEL, GLORIA J                 325 MAPLE ST                                                                                                      NASHVILLE            MI   49073‐9568
SPIDEL, LINDA O                  20101 CYNTHEANNE RD                                                                                               NOBLESVILLE          IN   46060‐9331
SPIDEL, TERRY A                  20101 CYNTHEANNE RD                                                                                               NOBLESVILLE          IN   46060‐9331
SPIDELL, JACOB                   739 S COURTLAND AVE                                                                                               KOKOMO               IN   46901‐5361
SPIDELL, JAMES T                 14724 LABRADOR ST                                                                                                 SEPULVEDA            CA   91343‐2417
SPIDELL, JEFFREY M               2650 HYLANE AVENUE NORTHEAST                                                                                      GRAND RAPIDS         MI   49505‐3973
SPIDELL, SANDRA                  743 S COURTLAND AVE                                                                                               KOKOMO               IN   46901‐5361
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Name                        Address1                       Address2                      Address3           Address4         City               State Zip
SPIDER                      DIVISION OF SAFEWORKS LLC      PO BOX 711035                                                     CINCINNATI          OH 45271‐0001
SPIDER LAKE RETREAT         310 W FRONT ST STE 401                                                                           TRAVERSE CITY       MI 49684‐2279
SPIDER, ANNE                7258 RIDGE RD                                                                                    PARMA               OH 44129‐6636
SPIDLE, CHARLES W           1329 WOODNOLL DR                                                                                 FLINT               MI 48507‐4717
SPIDLE, CHARLES WILLIAM     1329 WOODNOLL DR                                                                                 FLINT               MI 48507‐4717
SPIDLE, JOHN P              4560 TRAILS END                                                                                  LAPEER              MI 48446‐2893
SPIDLE, MARY J              1329 WOODNOLL DR                                                                                 FLINT               MI 48507‐4717
SPIDLE, NANCY J             46 HAWTHORNE CT                                                                                  CARMEL              IN 46033‐1905
SPIDLE, NORMAN W            6081 JEANETTE                                                                                    HASLETT             MI 48840
SPIECE, CLAIR E             4006 SENECA PKWY 20                                                                              NIAGARA FALLS       NY 14304
SPIECE, JIMMIE D            2770 TIGER DR                                                                                    SAGINAW             MI 48601‐9234
SPIECE, LARRY L             515 E ELM ST                                                                                     CARSON CITY         MI 48811‐9673
SPIECE, MARY L              5495 WELLING RD                                                                                  ST JOHNS            MI 48879‐9439
SPIECE, MARY L              5495 N WELLING RD                                                                                SAINT JOHNS         MI 48879‐9439
SPIECE, RANDI L             514 WAKEMAN ST                                                                                   FENTON              MI 48430‐2923
SPIECE, RANDY L             8691 BIRCH DR                                                                                    HALE                MI 48739‐9229
SPIECH, MARION P            47047 COUNTY ROAD 665                                                                            PAW PAW             MI 49079‐9646
SPIEGEL INC                 ACCT OF OLIVER O NWANKWO
SPIEGEL JR, RICHARD         75 WILLIAMS RD                                                                                   ROCHESTER          NY 14626‐3345
SPIEGEL SAMUEL (357474)     (NO OPPOSING COUNSEL)
SPIEGEL SHELDON             14 MCNEIL CIR                                                                                    HOPKINTON          MA    01748‐2355
SPIEGEL, ELWOOD E           17103 W BRADY RD                                                                                 OAKLEY             MI    48649‐9759
SPIEGEL, HELEN              220 W 4TH ST                   C/O MADELINE M. RICE                                              PORT CLINTON       OH    43452‐1818
SPIEGEL, JAMES R            16 TANGLEWOOD CT                                                                                 INDIAN HEAD PARK    IL   60525‐4458
SPIEGEL, JASON              2380 E BRITTON RD                                                                                MORRICE            MI    48857‐9745
SPIEGEL, JOYCE G            PO BOX 3124                                                                                      ADRIAN             MI    49221‐6424
SPIEGEL, KENNETH H          4155 DEXTER TRL                                                                                  STOCKBRIDGE        MI    49285‐9784
SPIEGEL, KEVIN L            2380 E BRITTON RD                                                                                MORRICE            MI    48857‐9745
SPIEGEL, LARRY F            31370 COACHLIGHT LN                                                                              BINGHAM FARMS      MI    48025‐4402
SPIEGEL, LEON J             30715 PRIMROSE DR                                                                                WARREN             MI    48088‐5943
SPIEGEL, SALLY S            2380 E BRITTON RD                                                                                MORRICE            MI    48857‐9745
SPIEGEL, SAMUEL             TYDING & ROSENBERG LLP         100 EAST PRATT STREET                                             BALTIMORE          MD    21202
SPIEGEL, SHARLENE A         1746 W ORANGEWOOD PL                                                                             AVON PARK          FL    33825‐7700
SPIEGEL, SHIRLEY A          540 ELIZABETH DR                                                                                 OWOSSO             MI    48867‐9152
SPIEGEL, STEPHEN J          752 ADAMS ST                                                                                     LAPEER             MI    48446‐1965
SPIEGEL, THEODORE J         2396 MT ROYAL                                                                                    WATERFORD          MI    48328
SPIEGEL, THOMAS J           511 JIPSON ST                                                                                    BLISSFIELD         MI    49228‐1319
SPIEGELHOFF NORMAN          6940 318TH AVE                                                                                   SALEM              WI    53168‐9541
SPIEGL TRADE LLC            C/O POLLOCK FINANCIAL GROUP    350 MARINE PARKWAY LLC        150 PORTOLA ROAD                    PORTOLA VALLEY     CA    94028
SPIEGLEMAN, RALPH           516 HAWTHORN CIR                                                                                 FREDERICK          CO    80530‐6007
SPIEK, PEGGY J              3654 E 11 MILE RD                                                                                WARREN             MI    48091‐1012
SPIEK, RUBY G               9220 LAST HORSE LN                                                                               HELTONVILLE        IN    47435‐9639
SPIEKER, MARY               17491 SKYLINE LANE                                                                               HUNTINGTON BEACH   CA    92647‐6237
SPIEKERMAN ROY W (439532)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA    23510
                                                           STREET, SUITE 600
SPIEKERMAN, DALE F          7735 MASON RD                                                                                    MERRILL            MI    48637‐9620
SPIEKERMAN, DENISE L        6362 NORTH WALTER TERRACE                                                                        DUNNELLON          FL    34434‐8326
SPIEKERMAN, DENNIS L        3490 LOOMIS RD                                                                                   UNIONVILLE         MI    48767‐9453
SPIEKERMAN, HARLEY R        7651 MASON RD                                                                                    MERRILL            MI    48637‐9620
SPIEKERMAN, OTTO W          701 SHEPARD ST                                                                                   SAGINAW            MI    48604‐1235
SPIEKERMAN, PAUL D          6870 E TYLER RD                                                                                  BRECKENRIDGE       MI    48615‐9513
SPIEKERMAN, PAUL DAVID      6870 E TYLER RD                                                                                  BRECKENRIDGE       MI    48615‐9513
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Name                      Address1                         Address2                        Address3   Address4               City                State Zip
SPIEKERMAN, ROBERT A      1876 S REESE RD                                                                                    REESE                MI 48757‐9700
SPIEKERMAN, ROSEMARIE M   602 S FRANKLIN                                                                                     SAGINAW              MI 48604‐1433
SPIEKERMAN, ROY W         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK              VA 23510‐2212
                                                           STREET, SUITE 600
SPIEKERMAN, WILLIAM H     622 W HOLLAND AVE                                                                                  SAGINAW             MI   48602‐4617
SPIEKERMANN, DOROTHY      1963 HUDSON RT 2                                                                                   REESE               MI   48757‐9408
SPIEKERMANN, TIM D        10238 N 10TH ST                                                                                    PLAINWELL           MI   49080‐9603
SPIELBAUER PAUL           SPIELBAUER, PAUL                 4551 100 AVE                                                      LAKEVIEW            MI   48823
SPIELBAUER, PAUL          4551 100TH AVE                                                                                     LAKEVIEW            MI   48850‐9647
SPIELBERG, TANI
SPIELBURG, MARGARET M     10555 APPOMATTOX ST                                                                                HOLLY               MI   48442‐8617
SPIELBUSCH JEFF           SPIELBUSCH, CHRISTINE            103 S MAIN BOX 105                                                ERIE                KS   66733
SPIELBUSCH JEFF           SPIELBUSCH, JEFF                 103 S MAIN BOX 105                                                ERIE                KS   66733
SPIELER CHARLES           CASCINO MICHAEL P                220 S. ASHLAND                                                    CHICAGO             IL   60607
SPIELER'S, INC.           1109 W BUCHANAN                                                                                    CALIFORNIA          MO   65018
SPIELER'S, INC.           RICHARD SPIELER                  1109 W BUCHANAN                                                   CALIFORNIA          MO   65018
SPIELER, HARRY N          251 SOUTH ST                                                                                       HOLBROOK            MA   02343‐1305
SPIELES, ROBERT L         21125 MARTIN RD                                                                                    ST CLAIR SHRS       MI   48081‐1185
SPIELMACHER, MICHAEL W    7536 KNAPP ST NE                                                                                   ADA                 MI   49301‐9513
SPIELMAKER, ELEANOR J     16333 SW FOUR WOOD WAY                                                                             INDIANTOWN          FL   34956‐3621
SPIELMAKER, MARK B        9502 TIMBER RIDGE DR                                                                               GRAND BLANC         MI   48439‐7380
SPIELMAKER, ROBERT J      1819 MENOMINEE DR SE                                                                               GRAND RAPIDS        MI   49506‐5213
SPIELMAN JAN              513 SWALLUM DR                                                                                     STORM LAKE          IA   50588‐3023
SPIELMAN, DEBRA K         20041 S THORNDALE DR                                                                               FRANKFORT           IL   60423‐8391
SPIELMAN, DORIS I         15480 NELSONS WALK CT                                                                              N FORT MYERS        FL   33917‐8219
SPIELMAN, JANET K         30341 WORTH ST                                                                                     ROCKWOOD            MI   48173‐9565
SPIELMAN, JOSEPH D        15480 NELSONS WALK CT C                                                                            NORTH FORT MYERS    FL   33917
SPIELMAN, JOSEPH H        12041 ELMVIEW ST                                                                                   ROMULUS             MI   48174‐1110
SPIELMAN, KATHY J         12041 ELMVIEW ST                                                                                   ROMULUS             MI   48174‐1110
SPIELMAN, KEITH           30341 WORTH ST                                                                                     ROCKWOOD            MI   48173‐9565
SPIELMAN,JOSEPH D         15480 NELSONS WALK CT C                                                                            NORTH FORT MYERS    FL   33917
SPIER, HELEN C            411 N 5TH ST                                                                                       DUPO                IL   62239‐1115
SPIER, MICHAEL E          6900 KIRK RD                                                                                       CANFIELD            OH   44406‐9646
SPIERDOWIS, DAVID G       312 E PARK ST                                                                                      ALBION              NY   14411‐1430
SPIERER, WILLIAM Z        17336 LABRADOR ST                                                                                  NORTHRIDGE          CA   91325‐1847
SPIERING CLARE (512334)   BRAYTON PURCELL                  PO BOX 6169                                                       NOVATO              CA   94948‐6169
SPIERING, CLARE           BRAYTON PURCELL                  PO BOX 6169                                                       NOVATO              CA   94948‐6169
SPIERINGS AUTOMOTIVE      7594 PEMBERTON MEADOWS ROAD PO                                              PEMBERTON BC V0N 2L0
                          BOX 65                                                                      CANADA
SPIERLING, GLORIA M       24 N BELMONT AVE 1                                                                                 ARLINGTON HEIGHTS   IL   60004
SPIERS HARRY              SPIERS, HARRY                    1930 E MARLTON PIKE SUITE Q29                                     CHERRY HILL         NJ   08003
SPIERS JOSHUA             366 WILLOW LAKE DRIVE                                                                              LEESBURG            GA   31763‐5416
SPIERS JR, BURL           1027 FAIRVIEW ST                                                                                   LAWRENCEBURG        IN   47025
SPIERS SIMON              217 FAIRWOOD AVE                                                                                   CHARLOTTE           NC   28203‐5464
SPIERS, GEORGE W          8148 AUGUST AVE                                                                                    WESTLAND            MI   48185‐1742
SPIERS, JENNIFER J        10122 BELLA POINTE DR                                                                              CULPEPER            VA   22701
SPIERS, STUART W          9837 BURNING TREE DR                                                                               GRAND BLANC         MI   48439‐9588
SPIERTO ELEANOR R         SPIERTO, ELEANOR R               1301 GRANT BUILDING 310 GRANT                                     PITTSBURGH          PA   15219
                                                           STREET
SPIES CLYDE V (400806)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510
                                                           STREET, SUITE 600
SPIES SHAVONNE            SPIES, SHAVONNE                  P.O. BOX 604                                                      READING             PA 19603
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Name                            Address1                         Address2                          Address3   Address4         City                 State Zip
SPIES, CLYDE V                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK               VA 23510‐2212
                                                                 STREET, SUITE 600
SPIES, KEITH O                  302 CYPRESS POINT CT                                                                           SAINT CHARLES        MO   63304‐7194
SPIES, MARSHA                   120 CRESTFIELD PL                                                                              FRANKLIN             TN   37069‐1842
SPIES, ROBERT A                 6484 N WARREN AVE APT 167                                                                      OKLAHOMA CITY        OK   73116‐1319
SPIES, ROBERT L                 13169 POMONA DR                                                                                STERLING HTS         MI   48312‐1526
SPIES, RONALD H                 28603 SWAN ISLAND DR                                                                           GROSSE ILE           MI   48138‐2078
SPIES, SHAVONNE                 PO BOX 604                                                                                     READING              PA   19603‐0604
SPIES, SHAVONNE
SPIESS, APRIL A                 8970 BEARD RD                                                                                  LAINGSBURG           MI   48848‐9317
SPIESS, ERNEST A                98 GREGORY RD                                                                                  BRISTOL              CT   06010‐3237
SPIESS, NORMA J                 105 UNCLE LEO DR UNIT A                                                                        BRADLEY              IL   60915‐1565
SPIESS, NORMA J                 105 A UNCLE LEO'S DR                                                                           BRADLEY              IL   60915
SPIESS, ROBERT L                1955 COVENTRY CIRCLE                                                                           JACKSON              MI   49201‐8192
SPIESS, ROBIN L                 17366 163RD ST                                                                                 BONNER SPRNGS        KS   66012‐7263
SPIESS, TERRY M                 305 LINDENHURST DR APT 6205                                                                    LEXINGTON            KY   40509
SPIESS, TONY                    APT F84                          1955 UNION PLACE                                              COLUMBIA             TN   38401‐5907
SPIETZ, FREDERICK A             7372 HIGHWAY 193                                                                               FLINTSTONE           GA   30725‐2653
SPIEWACKI, MATTHEW T            3062 DESCENT COURT                                                                             HILLIARD             OH   43026‐7889
SPIEWAK RICHARD S (655727)      COONEY & CONWAY                  120 NORTH LASALLE STREET , 30TH                               CHICAGO              IL   60602
                                                                 FLOOR
SPIEWAK, ALINE A                15553 PARKLANE ST                                                                              LIVONIA              MI 48154‐2356
SPIEWAK, DENNIS E               1235 VIRGINIA DR                                                                               WESTMONT             IL 60559‐2829
SPIEWAK, RICHARD S              COONEY & CONWAY                  120 NORTH LASALLE STREET, 30TH                                CHICAGO              IL 60602
                                                                 FLOOR
SPIFF EXHIBITING SERVICES INC   PO BOX 18136                                                                                   ERLANGER             KY   41018‐0136
SPIFFY'S HAND CAR WASH          ATTN: DARNELL REESE              4115 N DORT HWY                                               FLINT                MI   48505‐3674
SPIGA, DIANE E                  22810 MASONIC BLVD                                                                             SAINT CLAIR SHORES   MI   48082‐1352
SPIGARELLI, ANTHONY M           527 E WATTS SPRINGS RD                                                                         EDGERTON             WI   53534‐8950
SPIGARELLI, BRYAN J             10535 N OAKWAY LN                                                                              EDGERTON             WI   53534‐8929
SPIGELMYER, FRANCES W           22 RIVERDALE AVE                                                                               MONMOUTH BEACH       NJ   07750‐1448
SPIGGLE LLOYD R (352951)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK              VA   23510
                                                                 STREET, SUITE 600
SPIGGLE, JEAN                   1405 AUTUMN RD                                                                                 SPRING HILL          FL 34608‐5221
SPIGGLE, LLOYD R                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK              VA 23510‐2212
                                                                 STREET, SUITE 600
SPIGGLE, RALPH E                1802 DAYTON AVE                                                                                INDIANAPOLIS         IN   46203‐3523
SPIGGLE, ROBERT W               1405 AUTUMN RD                                                                                 SPRING HILL          FL   34608‐5221
SPIGGLE, STEVEN W               7409 WAHL RD                                                                                   VICKERY              OH   43464‐9608
SPIGHT, BOBBIE E                515 GRANVILLE AVE                                                                              BELLWOOD             IL   60104‐1713
SPIGHT, CAROLYN J               6410 BELLTREE LN                                                                               FLINT                MI   48504
SPIGHT, CLARENCE                1285 PENNSYLVANIA AVE                                                                          UNIVERSITY CITY      MO   63130‐1927
SPIGHT, DAVID L                 PO BOX 188                                                                                     NEW ALBANY           MS   38652‐0188
SPIGHT, DENISE R                1201 COLBY DR                                                                                  SAINT PETERS         MO   63376‐5512
SPIGHT, ELLIS Q                 18090 ALBANY ST                                                                                DETROIT              MI   48234‐2532
SPIGHT, FLORINE                 721 MOUNDALE DR                                                                                FERGUSON             MO   63135‐1617
SPIGHT, HUBERT D                10332 CASTLE DR                                                                                SAINT LOUIS          MO   63136‐5904
SPIGHT, JOHN O                  2214 FOSS CT                                                                                   SAINT LOUIS          MO   63136‐4403
SPIGHT, JOHN T                  2290 OLD ENON RD                                                                               MIDDLETON            TN   38052‐4353
SPIGHT, JUANA J                 2290 OLD ENON RD                                                                               MIDDLETON            TN   38052‐4353
SPIGHT, JUDY A                  3525 E 39TH ST APT 301                                                                         INDIANAPOLIS         IN   46205‐3328
SPIGHT, LEON T                  417 W FOSS                                                                                     FLINT                MI   48505
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Name                       Address1                           Address2        Address3         Address4         City               State Zip
SPIGHT, LEON T             417 W FOSS AVE                                                                       FLINT               MI 48505‐2005
SPIGHT, LUCY J             G1324 E JULIAH AVE                                                                   FLINT               MI 48505
SPIGHT, ROXIE N            580 CHERRYDALE DRIVE                                                                 FLORISSANT          MO 63031‐3015
SPIGHT, TOMMIE D           1324 E JULIAH AVE                                                                    FLINT               MI 48505‐1715
SPIGIEL, DAVID L           2607 W SKYLINE DR                                                                    LORAIN              OH 44053‐2243
SPIGNER JR, FRANK C        1959 FRUITWOOD ADV                                                                   CHARLESTON          SC 29414
SPIGNER JR, WILLIE A       234 BAKOS BLVD                                                                       BUFFALO             NY 14211‐2659
SPIGNO, CIRO A             692 HOGARTH AVE                                                                      WATERFORD           MI 48328‐4127
SPIGOS, GEORGE             112 W NIAGARA AVE                                                                    SCHAUMBURG           IL 60193‐4635
SPIKA, KENNETH J           12000 WILL COOK RD                                                                   PALOS PARK           IL 60464‐1465
SPIKBERG, EARL W           1700 ACADEMY DR                                                                      MELBOURNE           FL 32901‐4311
SPIKE, REBECCA N           7621 STAGECOACH RD                                                                   DANSVILLE           NY 14437‐8918
SPIKENARD, ANNIE L         6817 SUMNER RD                                                                       RAVENNA             OH 44266
SPIKER, BETTY E            702 S MILLER AVE                                                                     MARION              IN 46953‐1142
SPIKER, BETTY E            702 S. MILLER AVE                                                                    MARION              IN 46953‐1142
SPIKER, CATHERINE F        6110 S HIGH SCHOOL RD                                                                INDIANAPOLIS        IN 46221‐4501
SPIKER, CLIFFORD C         24684 ETON AVE                                                                       DEARBORN HTS        MI 48125‐1808
SPIKER, CLIFFORD CHARLES   24684 ETON AVE                                                                       DEARBORN HTS        MI 48125‐1808
SPIKER, CLIFFORD R         24684 ETON AVE                                                                       DEARBORN HEIGHTS    MI 48125‐1808
SPIKER, DALE E             35 PEARL ST                                                                          OXFORD              MI 48371‐4964
SPIKER, DEBORAH D          6201 KALE ADAMS RD                                                                   LEAVITTSBURG        OH 44430‐9734
SPIKER, DWIGHT L           5421 BURGUNDY DR                                                                     CLARKSTON           MI 48346‐3203
SPIKER, FRANK L            PO BOX 544                                                                           BUNKER HILL         WV 25413‐0544
SPIKER, HAROLD C           1125 STEWART RD N                                                                    MANSFIELD           OH 44905‐1547
SPIKER, JAMES E            4667 PRESTON RD                                                                      HOWELL              MI 48855‐9368
SPIKER, JAMES R            7000 W 900 S‐90                                                                      WARREN              IN 46792‐9568
SPIKER, JERRY L            9836 W STATE ROAD 236                                                                MIDDLETOWN          IN 47356‐9354
SPIKER, JOANNE             5421 BURGUNDY DR                                                                     CLARKSTON           MI 48346‐3203
SPIKER, JOSEPH N           3060 WINDY HILL RD                                                                   HAINES CITY         FL 33844‐9678
SPIKER, NORMAN L           6201 KALE ADAMS RD                                                                   LEAVITTSBURG        OH 44430‐9734
SPIKER, PATRICIA           133 NW REO ST                                                                        TOPEKA              KS 66617‐1488
SPIKER, THOMAS E           108 PEMBROKE LN                                                                      FALLING WATERS      WV 25419‐4007
SPIKER, WILLIAM            SIMMONS FIRM                       PO BOX 521                                        EAST ALTON           IL 62024‐0519
SPIKES, ALVIN              3210 ROBERTS ST                                                                      BEAUMONT            TX 77701‐6536
SPIKES, ANDRE B            4651 REFUGEE RD APT 2F                                                               COLUMBUS            OH 43232
SPIKES, BARBARA            3210 ROBERTS ST                                                                      BEAUMONT            TX 77701‐6536
SPIKES, BOBBIE D           702 BLACK OAK CIR                                                                    PEARL               MS 39208‐5207
SPIKES, BOBBIE D           702 BLACK DAK CIRCLE                                                                 PEARL               MS 39208‐5207
SPIKES, DAVID E            5949 WILLOW BEND DRIVE                                                               AVON                IN 46123‐7350
SPIKES, DELORES B          19745 WHITCOMB                                                                       DETROIT             MI 48235‐2062
SPIKES, DENNIS R           29420 ALAN ST                                                                        WESTLAND            MI 48186‐5186
SPIKES, GREGORY D          22117 CENTURY DR                                                                     TAYLOR              MI 48180‐4755
SPIKES, GREGORY DWAYNE     22117 CENTURY DR                                                                     TAYLOR              MI 48180‐4765
SPIKES, JANICE M           2655 E DEER SPRINGS WAY APT 2011                                                     NORTH LAS VEGAS     NV 89086
SPIKES, JOYCE M            3500 W MANCHESTER BLVD UNIT 122                                                      INGLEWOOD           CA 90305‐4122
SPIKES, MICHAEL            30152 CRESCENT DR                                                                    CHESTERFIELD        MI 48051‐3906
SPIKES, WILLIE L           19745 WHITCOMB ST                                                                    DETROIT             MI 48235‐2062
SPIKES, WILLIE L           4379 RIVERWOOD CIR                                                                   DECATUR             GA 30035‐2930
SPIKES, WINSTON K          PO BOX 394                                                                           OCILLA              GA 31774‐0394
SPIKING, GLORIA R          9833 W EVERGREEN DR                                                                  SUN CITY            AZ 85373‐2169
SPIKNER, MARSHALL A        2210 W 12TH ST                                                                       ANDERSON            IN 46016‐3013
SPIKNER, WILLIE D          12835 MARLOWE ST                                                                     DETROIT             MI 48227‐2878
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Name                            Address1                        Address2           Address3         Address4         City             State Zip
SPILAK LAROSE, SUZANNE          6808 GRISWOLD RD                                                                     KIMBALL           MI 48074‐1710
SPILDENER, HOLLY E              APT 1                           1418 PEARCE PARK                                     ERIE              PA 16502‐2911
SPILER, EUGENE J                2043 BRANDY MILL LN                                                                  DAYTON            OH 45459‐1195
SPILIOS J SPILIAKOS             C/O JOHN S SPILIAKOS            29 GARLAND ROAD                                      LINCOLN           MA 01773‐1816
SPILIS, STANLEY F               17608 WENTWORTH AVE                                                                  LANSING            IL 60438‐2057
SPILKER, ANGELA D               10836 E 106TH ST                                                                     FISHERS           IN 46037‐9550
SPILKER, CHARLES W              BOONE ALEXANDRA                 205 LINDA DR                                         DAINGERFIELD      TX 75638‐2107
SPILKER, EILEEN L               500 STONEYBROOK DR                                                                   KETTERING         OH 45429‐5318
SPILKER, IRENE A                476 MOOREWOOD CIRCLE                                                                 DAYTON            OH 45415‐2336
SPILKER, JANICE B               2334 SHEEK RD                                                                        GREENWOOD         IN 46143‐6512
SPILKER, JOHN D                 2188 WEBBER AVE                                                                      BURTON            MI 48529‐2416
SPILKER, JOHN W                 10188 E LAKESHORE DR                                                                 CARMEL            IN 46033‐4147
SPILKER, MYRTLE                 116 STONEMILL RD                                                                     DAYTON            OH 45409‐2527
SPILKER, ROGER D                1118 REMINGTON TRL                                                                   COLUMBIA          TN 38401‐9051
SPILL FRAN                      4340 REDTAIL HAWK DR                                                                 JACKSONVILLE      FL 32257‐8114
SPILLANE CAR RENTAL(NATIONAL)   ARBUTUS ROAD                                                                         JOHNSON CITY      NY 13790
SPILLANE JAMES                  2300 WALSH DR                                                                        ROUND ROCK        TX 78681‐1474
SPILLANE TOM                    7100 WILLIAM JOHN CT                                                                 SWARTZ CREEK      MI 48473‐9735
SPILLANE, BENJAMIN H            7777 PEACEFUL VALLEY ROAD                                                            WILLIAMSBURG      MI 49690
SPILLANE, BEULAH M              4460 TORREY RD                                                                       FLINT             MI 48507‐3460
SPILLANE, CHARLES H             7209 MORRISH RD                                                                      SWARTZ CREEK      MI 48473‐7623
SPILLANE, LOREN L               1631 S WHITNEY RD                                                                    BEAVERTON         MI 48612‐9442
SPILLANE, ROBERT A              5086 RAYMOND AVE                                                                     BURTON            MI 48509‐1932
SPILLANE, ROBERT ALAN           5086 RAYMOND AVE                                                                     BURTON            MI 48509‐1932
SPILLANE, SUSAN A               12 SPENCER VALLEY DR                                                                 SAINT PETERS      MO 63376‐2557
SPILLANE, THOMAS E              7100 WILLIAM JOHN CT                                                                 SWARTZ CREEK      MI 48473‐9735
SPILLARD, JOSEPH L              858 BALINESE AVE                                                                     HENDERSON         NV 89015‐2413
SPILLER KATHRYN                 92 WEST WATERSIDE PARKWAY                                                            PALM COAST        FL 32137‐1504
SPILLER, BRET A                 4 SAGE MEADOWS CT                                                                    O FALLON          MO 63366‐4189
SPILLER, CAROLYN                531 KENTUCKY                                                                         WEST HELENA       AR 72390
SPILLER, CLARA B                3209 OLEARY RD                                                                       FLINT             MI 48504‐1741
SPILLER, DARRYL E
SPILLER, EDDIE L                PO BOX 14700                                                                         SAGINAW          MI   48601‐0700
SPILLER, GEORGE                 PO BOX 9763                                                                          BOWLING GREEN    KY   42102‐9763
SPILLER, GEORGE O               105 N WALKER ST                                                                      CAPAC            MI   48014‐3168
SPILLER, IVORY                  10825 HALLSTEAD DR                                                                   SAINT LOUIS      MO   63136‐4517
SPILLER, JAMIL
SPILLER, JERALD L               PO BOX 671                                                                           RUSSELLS POINT   OH   43348‐0671
SPILLER, JOE L                  2712 DOUGLASS ST                                                                     SAGINAW          MI   48601‐4309
SPILLER, JOHNIE L               3209 OLEARY RD                                                                       FLINT            MI   48504‐1741
SPILLER, JOHNNY L               221 E FLINT PARK BLVD                                                                FLINT            MI   48505‐3441
SPILLER, JOHNNY LEE             221 E FLINT PARK BLVD                                                                FLINT            MI   48505‐3441
SPILLER, LOIS A                 4263 PLEASANT VIEW AVE                                                               DAYTON           OH   45420‐2836
SPILLER, LUCILLE L              LORIEN NURSING & REHABILATION   6334 CEDAR LANE                                      COLUMBIA         MD   21044
SPILLER, LYNELL                 1343 MAPLECREST DR                                                                   AUSTINTOWN       OH   44515‐3802
SPILLER, PIENELL                2306 LYNNWOOD AVE                                                                    SAGINAW          MI   48601‐3638
SPILLER, SONNY L                1708 CUSTER ST                                                                       SAGINAW          MI   48602‐2921
SPILLER, TERRANCE G             531 PLANTATION DR                                                                    SAGINAW          MI   48638‐7132
SPILLER, WILLIAM M              155 SIOUX TRL                                                                        JACKSBORO        TN   37757‐5134
SPILLER, WINIFRED D             10 ELLIS STREET                                                                      MEDWAY           MA   02053‐1902
SPILLER, WINIFRED D             10 ELLIS ST                                                                          MEDWAY           MA   02053‐1902
SPILLERS, CLARENCE T            6315 W 74TH ST                                                                       OVERLAND PARK    KS   66204‐2036
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Name                            Address1                           Address2                      Address3   Address4         City            State Zip
SPILLERS, ERIC                  3324 JACQUE ST                                                                               FLINT            MI 48532‐3763
SPILLERS, GILBERT C             10479 E BENNINGTON RD                                                                        DURAND           MI 48429‐9702
SPILLERS, HERMAN L              719 BEACH BUGGY LN                                                                           LINDEN           MI 48451‐9663
SPILLERS, JEFF A                15125 HIGHWAY 20                                                                             FLORENCE         AL 35633‐2003
SPILLERS, JERRY                 35552 NILES BLVD                                                                             FREMONT          CA 94536‐1554
SPILLERS, JERRY M               26231 WOODRIDGE DR                                                                           WARRENTON        MO 63383‐6528
SPILLERS, JOHN                  268 KUHN RD                                                                                  FARMERVILLE      LA 71241‐7600
SPILLERS, LETHA                 245 BRADFORD STREET                                                                          FLORENCE         AL 35633
SPILLERS, LINDA K               268 KUHN ROAD                                                                                FARMERVILLE      LA 71241‐7600
SPILLERS, LINDA P               1524 GLEN WOOD                                                                               LEONARD          MI 48367‐3164
SPILLERS, PATRICIA A            5358 TIMBERWOOD POINT DR                                                                     FLINT            MI 48532‐2266
SPILLERS, PATRICIA A            7205 RIVERVIEW DR                                                                            FLINT            MI 48532‐2275
SPILLERS, ROBERT                710 TENTH ST                                                                                 JONESVILLE       LA 71343‐2948
SPILLERS, WILLIAM J             1‐161 CR W                                                                                   LIBERTY CTR      OH 43532
SPILLETT, ROBERT S              181 E PARK AVE                                                                               FLUSHING         MI 48433‐1563
SPILLIS, WILLIAM J              13724 WATERVILLE SWANTON RD                                                                  SWANTON          OH 43558‐9436
SPILLIS, WILLIAM JOSEPH         13724 WATERVILLE SWANTON RD                                                                  SWANTON          OH 43558‐9436
SPILLMAN HUBERT L SR (429853)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                   STREET, SUITE 600
SPILLMAN JOHN E (409524)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                                   STREET, SUITE 600
SPILLMAN, DAVID J               PO BOX 3073                                                                                  ANDERSON        IN   46018‐3073
SPILLMAN, DIANE K               3450 TIPTON HWY                                                                              ADRIAN          MI   49221‐9542
SPILLMAN, DON L                 RR 4 BOX 4180                                                                                EUFAULA         OK   74432‐9320
SPILLMAN, DON L                 4180 RR 4                                                                                    EUFAULA         OK   74432
SPILLMAN, DONALD N              14284 N BRAY RD                                                                              CLIO            MI   48420‐7943
SPILLMAN, ELLEN                 2609 E 9TH ST                                                                                ANDERSON        IN   46012‐4407
SPILLMAN, GARY H                3450 TIPTON HWY                                                                              ADRIAN          MI   49221‐9542
SPILLMAN, HAROLD                3561 S CLAYTON RD                                                                            FARMERSVILLE    OH   45325‐9250
SPILLMAN, HUBERT L              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                                   STREET, SUITE 600
SPILLMAN, JAMES H               2323 SIAM RD                                                                                 ELIZABETHTON    TN 37643‐4866
SPILLMAN, JEANNETTE L           RT. 5 BOX 12 LOT 16                                                                          RINGGOLD        GA 30736
SPILLMAN, JOHN E                GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                                   STREET, SUITE 600
SPILLMAN, JUNE S                212 HAWLEY ST                                                                                LOCKPORT        NY   14094‐2718
SPILLMAN, M J                   2117 SW 124TH ST                                                                             OKLAHOMA CITY   OK   73170‐3406
SPILLMAN, M JEAN                2117 SW 124TH ST                                                                             OKLAHOMA CITY   OK   73170‐3406
SPILLMAN, OLIVER R              3170 E STROOP RD APT 209                                                                     KETTERING       OH   45440‐1365
SPILLMAN, ROGER D               APT 104                            7710 EAST EAGLE DRIVE                                     BIXBY           OK   74008‐4622
SPILLMAN, ROGER D               7710 E EAGLE DR APT 104                                                                      BIXBY           OK   74008
SPILLMAN, SONNY M               997 BROWNING RD                                                                              ROCKFIELD       KY   42274‐9705
SPILLMAN, SONNY MILTON          997 BROWNING RD                                                                              ROCKFIELD       KY   42274‐9705
SPILLMAN, TONY L                115 SHEPPARD AVE                                                                             FLUSHING        MI   48433‐9309
SPILLMAN, WANDA M               997 BROWNING RD                                                                              ROCKFIELD       KY   42274‐9705
SPILLUM, DAN S                  7270 HILLSDALE CT                                                                            CHANHASSEN      MN   55317‐7548
SPILLY, CAROLYN E               16205 COLORADO ST                                                                            HEBRON          IN   46341‐9011
SPILMAN CHARLES L               23454 FORDSON DR                                                                             DEARBORN        MI   48124‐1401
SPILMAN THOMAS & BATTLE PLLC    SPILMAN CENTER                     300 KANAWHA BLVD E                                        CHARLESTON      WV   25301
SPILMAN, EUGENE G               6424 E CLAIRE DR                                                                             SCOTTSDALE      AZ   85254‐2623
SPILMAN, J S                    525 SATUCKET RD                    CAPE COD                                                  BREWSTER        MA   02631‐2315
SPILMAN, JANE M                 4781 COUNTY ROAD 22                PO BOX 92                                                 LITTLEFORK      MN   56653‐9432
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Name                                Address1                            Address2                       Address3   Address4         City                  State Zip
SPILNER, ROBERT E                   2374 MOUNT HOOD LN                                                                             TOMS RIVER             NJ 08753‐1521
SPILSKI, ROBERT A                   26701 S RIVER RD                                                                               HARRISON TWP           MI 48045‐2158
SPINA ELECTRIC CO                   26801 GROESBECK HWY                                                                            WARREN                 MI 48089‐4160
SPINA JR, JOHN F                    584 KINSMAN RD NW                                                                              NORTH BLOOMFIELD       OH 44450‐9506
SPINA KIM & STEVE                   17872 NW GILBERT LN                                                                            PORTLAND               OR 97229‐8533
SPINA, ANITA                        961 LAKESHORE DRIVE                                                                            GROSSE POINTESHORES    MI 48236
SPINA, ANTHONY G                    33125 W. WARREN                                                                                WESTLAND               MI 48185
SPINA, ANTHONY J                    3333 HASLER LAKE RD                                                                            LAPEER                 MI 48446‐9649
SPINA, DONALD M                     7590 MEADOW LAKES DR APT 3201                                                                  NAPLES                 FL 34104‐5831
SPINA, IGNASIO P                    59 ADAMS ST                                                                                    EDISON                 NJ 08820‐3942
SPINA, MARY A                       651 CORNELL AVE                                                                                WENONAH                NJ 08090‐1119
SPINA, RHONDA L                     964 SUNNYBEACH BLVD                                                                            WHITE LAKE             MI 48386‐2083
SPINA, RICHARD C                    4079 FAR HILL DR                                                                               BLOOMFIELD HILLS       MI 48304‐3218
SPINA, ROSALIE M                    1133 77TH ST                                                                                   BROOKLYN               NY 11228‐2335
SPINA, SHIRLEY A                    9589 STEEPHOLLOW DR                                                                            WHITE LAKE             MI 48386‐2370
SPINA, UMBERTO                      PO BOX 14142                                                                                   ROCHESTER              NY 14614‐0142
SPINARDI, MICHELINA D               3567 MONTEREY BLVD                                                                             SAN LEANDRO            CA 94578‐4066
SPINAZZE, MARY‐JANE                 1927 BROOKFIELD CT                                                                             ROCHESTER HILLS        MI 48306‐4001
SPINAZZOLA, ROBERT J                22612 LAKE DR                                                                                  SAINT CLAIR SHORES     MI 48082‐1886
SPINAZZOLA, ROCCO D                 22612 LAKE DR                                                                                  ST CLAIR SHRS          MI 48082‐1886
SPINAZZOLA, ROCCO DENNIS            22612 LAKE DR                                                                                  ST CLAIR SHRS          MI 48082‐1886
SPINDA, DAVID M                     364 ROESCH AVE                                                                                 BUFFALO                NY 14207‐1318
SPINDLE & MACHINE SERVICE INC       25377 BREST                                                                                    TAYLOR                 MI 48180‐4054
SPINDLE GRINDING SERVICE INC        826 JUPITER DR                                                                                 ALBION                 MI 49224‐9172
SPINDLE, ROY C                      BOONE ALEXANDRA                     205 LINDA DR                                               DAINGERFIELD           TX 75638‐2107
SPINDLE/ALBION                      PO BOX 128                                                                                     ALBION                 MI 49224‐0128
SPINDLER, BRYCE J                   2700 EATON RAPIDS RD LOT 260                                                                   LANSING                MI 48911‐6329
SPINDLER, CHARLES W                 616 STONEYBROOK DR                                                                             KETTERING              OH 45429‐5320
SPINDLER, DANNY L                   660 BROOKSHIRE DR                                                                              DAVENPORT              FL 33837
SPINDLER, DAWN                      1042 STATE ST                                                                                  OTTAWA                  IL 61350‐4462
SPINDLER, DAWN                      1042 STATE STREET                                                                              OTTAWA                  IL 61350
SPINDLER, ELAINE M                  4650 HEMMETER CT APT 10                                                                        SAGINAW                MI 48603
SPINDLER, JACK L                    4650 HEMMETER CT APT 10                                                                        SAGINAW                MI 48603‐3883
SPINDLER, JOHN P                    3 CENTENNIAL CT                                                                                FAIRPORT               NY 14450‐4113
SPINDLER, KAREN A                   146 SHANNON RD                                                                                 MERRILL                MI 48637‐8741
SPINDLER, LYLE E                    15610 MEADOW DR                                                                                CANYON CNTRY           CA 91387‐4440
SPINDLER, RICHARD O                 25106 FRANKLIN TERRACE                                                                         SOUTH LYON             MI 48178‐1011
SPINDLER, RONALD A                  2236 WILDFLOWER LN                                                                             MILFORD                MI 48380‐1553
SPINDLER, RONALD C                  647 QUILETTE RD                                                                                BEAVERTON              MI 48612
SPINDLER, TONY A                    4351 N THOMAS RD                                                                               FREELAND               MI 48623‐8887
SPINE & PAIN CENTER                 PO BOX 2148                                                                                    SAN ANTONIO            TX 78297‐2148
SPINE AND BRAIN NEUR                PO BOX 560816                                                                                  ORLANDO                FL 32856‐0816
SPINE SPORTS & OCCUP                15636 SOUTHFIELD RD                                                                            ALLEN PARK             MI 48101‐2513
SPINE SURGERY, INC.                 14100 PARKWAY COMMONS DR STE 200                                                               OKLAHOMA CITY          OK 73134‐6104

SPINE SURGERY, LTD                  2750 CLAY EDWARDS DR STE 600                                                                   KANSAS CITY           MO   64116‐3258
SPINE, FRANCIS S                    10341 NEW QUAY RD                                                                              OCEAN CITY            MD   21842‐9763
SPINE, JOAN E                       10341 NEW QUAY RD,                                                                             OCEAN CITY            MD   21842
SPINECARE DELAWARE,                 4102 OGLETOWN STANTON RD STE B                                                                 NEWARK                DE   19713‐4183
SPINEDEX PHYSICAL THERAPY USA INC   22 BATTERY STREET SUITE 1000                                                                   SAN FRANCISCO         CA   94111
SPINEDEX PHYSICAL THERAPY USA INC   SPINEDEX PHYSICAL THERAPY USA INC   22 BATTERY STREET SUITE 1000                               SAN FRANCISCO         CA   94111
SPINELLA, CHARLES W                 6C SEAFOAM AVE                                                                                 WINFIELD PARK         NJ   07036‐7543
                                09-50026-mg            Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                            Address1                          Address2              Address3         Address4               City               State Zip
SPINELLA, DOROTHY A             25245 FILMORE ST                                                                                TAYLOR              MI 48180‐2080
SPINELLA, FRANCES               PO BOX 68                                                                                       MINERAL RIDGE       OH 44440‐0068
SPINELLA, FRANCES               1550 HARDING P.O. BOX 68                                                                        MINERAL RIDGE       OH 44440‐0068
SPINELLA, GARY J                313 ZAGORA DR                                                                                   DANVILLE            CA 94506‐1303
SPINELLA, LINDA J               12250 NORTHLAND DR                                                                              CEDAR SPRINGS       MI 49319‐8456
SPINELLA, MARY R                BEECHTREE MANOR APT 1N            100 DANBURY ROAD                                              RIDGEFIELD          CT 06877
SPINELLI, ANDREA L              48064 MALLARD DR                                                                                CHESTERFIELD        MI 48047‐2281
SPINELLI, ANNA M                65 EMILY LANE                                                                                   BRISTOL             CT 06010‐6814
SPINELLI, ANNA M                65 EMILY LN                                                                                     BRISTOL             CT 06010‐6814
SPINELLI, CHARLES P             3250 S TOWN CENTER DR UNIT 2024                                                                 LAS VEGAS           NV 89135‐2253
SPINELLI, DONALD                25 HERITAGE HLS UNIT B                                                                          SOMERS              NY 10589
SPINELLI, JACQUELYN
SPINELLI, JOHN J                116 WARNER DR                                                                                   UNION              OH    45322‐2963
SPINELLI, JOSEPH J              6215 CLYMER CR                                                                                  FORT COLLINS       CO    80528
SPINELLI, KATHERINE G           3689 CRANWOOD ST NW                                                                             NORTH CANTON       OH    44720‐5612
SPINELLI, LOUIS                 73 GREEN ISLAND RD                                                                              TOMS RIVER         NJ    08753‐2086
SPINELLI, NICHOLAS R            125 WESTGATE DR                                                                                 WILMINGTON         DE    19808‐1438
SPINELLI, NICHOLAS RICHARD      125 WESTGATE DR                                                                                 WILMINGTON         DE    19808‐1438
SPINELLO, PEARL M               7804 N PARK AVE                                                                                 KANSAS CITY        MO    64118‐2082
SPINELLO, PEARL M               7804 NORTH PARK                                                                                 KANSAS CITY        MO    64118‐2082
SPINETTO, JONATHAN
SPINHIRNE, ALLEN F              324 S JOHN PAUL RD                                                                              MILTON             WI 53563‐1225
SPINIC MANUFACTURING            DIV OF LINAMAR CORPORATION        285 MASSEY ROAD                        GUELPH CANADA ON N1H
                                                                                                         1B2 CANADA
SPINIC MFG.                     TONY CHILDS                       LINAMAR CORPORATION   285 MASSEY RD.   PERTH ON CANADA
SPINK, DONNA LEA                10497 CEMETERY RD                                                                               BOWLING GREEN      KY    42103‐9754
SPINK, DORIS V                  786 DORADO DR                                                                                   SANTA BARBARA      CA    93111‐1408
SPINK, EVELYN M                 151 GARY DR                                                                                     BROCKPORT          NY    14420‐2673
SPINK, GORDON A                 8390 CALKINS RD                                                                                 FLINT              MI    48532‐5520
SPINK, RICKEY D                 1637 THREE SPRINGS RD                                                                           BOWLING GREEN      KY    42104‐6504
SPINK, RICKEY DALE              1637 THREE SPRINGS RD                                                                           BOWLING GREEN      KY    42104‐6504
SPINK, ROSE                     2716 WEAVERTON                                                                                  ROCHESTER          MI    48307‐4660
SPINKS KAREN                    SPINKS, KAREN                     2876 KLINGER CR #44                                           LAS VEGAS          NV    89121
SPINKS KAREN                    SPINKS, UNBORN CHILD              2876 KLINGER CR #44                                           LAS VEGAS          NV    89121
SPINKS SUNNY                    RR 2 BOX 12                                                                                     MCALESTER          OK    74501‐9640
SPINKS, ALBERT L                218 47TH AVE                                                                                    MERIDIAN           MS    39307‐6729
SPINKS, BETTY J                 629 BURNS STREET                                                                                CAROL STREAM       IL    60188
SPINKS, GERALD R                5447 BRAINARD DR                                                                                KETTERING          OH    45440‐2803
SPINKS, HENRY D                 2899 BELLEAU LN SE                                                                              ATLANTA            GA    30316‐4371
SPINKS, KAREN                   2975 TOPAZ ST                                                                                   LAS VEGAS          NV    89121
SPINKS, MERLE                   2214 W MINNESOTA ST                                                                             INDIANAPOLIS       IN    46221‐1842
SPINKS, MICHAEL E               2230 ELMWOOD DR APT 212                                                                         ARLINGTON          TX    76010‐8717
SPINKS, MICHAEL EMERY           2230 ELMWOOD DR APT 212                                                                         ARLINGTON          TX    76010‐8717
SPINKS, PAPILLON B              39355 DELLA ROSA DR                                                                             STERLING HEIGHTS   MI    48313‐5225
SPINKS, RAY C                   4305 MOUNTAIN VIEW RD                                                                           OAKWOOD            GA    30566‐2142
SPINKS, UNBORN CHILD            2876 KLINGER CR #44                                                                             LAS VEGAS          NV    89121
SPINKS, VIVIAN R                10945 VALETTE CIR E                                                                             MIAMISBURG         OH    45342‐4874
SPINKS, WESLEY A                6608 W 15TH ST                                                                                  INDIANAPOLIS       IN    46214‐3337
SPINN, SHIRLEY A                1906 28TH AVE N                                                                                 TEXAS CITY         TX    77590‐4136
SPINNAKER MEDICAL CONSULTANTS   1852 AUDUBON DR NE                                                                              ATLANTA            GA    30329‐2703
INTERNATIONAL LLC
SPINNER, TERRILL S              1937 BOND ST                                                                                    RAHWAY              NJ   07065‐4536
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Name                          Address1                       Address2                       Address3   Address4              City               State Zip
SPINNEWEBER, NEAL K           7324 PARKWOOD DR                                                                               FENTON              MI 48430‐9318
SPINNEY, BRENDA L             6271 HARRIS LAKE RD                                                                            MARSHALL            TX 75672‐1843
SPINNEY, BRENDA LEE           6271 HARRIS LAKE RD                                                                            MARSHALL            TX 75672‐1843
SPINNEY, BRUCE A              1239 MECHANIC ST                                                                               LANSING             MI 48912‐1619
SPINNEY, DENZIL A             1008 BEMENT ST                                                                                 LANSING             MI 48912‐1702
SPINNEY, GENE A               495 MACDUFF DR                                                                                 MOUNT MORRIS        MI 48458‐8921
SPINNEY, GREGORY A            4199 PALMETTO RD                                                                               BENTON              LA 71006‐9420
SPINNEY, GREGORY ALLEN        4199 PALMETTO RD                                                                               BENTON              LA 71006‐9420
SPINNEY, HOWARD L             8158 E POTTER RD                                                                               DAVISON             MI 48423‐8165
SPINNEY, JAMES E              420 OLD ORCHARD DR APT 3                                                                       ESSEXVILLE          MI 48732‐9642
SPINNEY, LAURENCE A           6271 HARRIS LAKE RD                                                                            MARSHALL            TX 75672‐1843
SPINNEY, MARK K               10397 E BRISTOL RD                                                                             DAVISON             MI 48423‐8732
SPINNEY, MARK KENNETH         10397 E BRISTOL RD                                                                             DAVISON             MI 48423‐8732
SPINNEY, MELVIN L             PO BOX 85                                                                                      HARRISVILLE         MI 48740‐0085
SPINNEY, MURIEL F             1239 MECHANIC ST                                                                               LANSING             MI 48912‐1619
SPINNEY, RONALD K             8081 RED FOX RD                                                                                STANWOOD            MI 49346‐9641
SPINNEY, STEPHEN G            234 BOOTH DR                                                                                   ALVATON             KY 42122‐9731
SPINNEYBECK ENTERPRISES INC   6000 N BAILEY AVE                                                                              AMHERST             NY 14226
SPINNING, BEVERLY J           501 N YALE ST                                                                                  DURAND              MI 48429‐1361
SPINNING, GERALD A            501 N YALE ST                                                                                  DURAND              MI 48429‐1361
SPINNING, ROBERT L            7885 GARRISON RD                                                                               DURAND              MI 48429‐9797
SPINNLER, IRMA A              261 SE 5TH AVE                                                                                 POMPANO BEACH       FL 33060‐8023
SPINO, ARELINA F              16210 WHITE HAVEN DR                                                                           NORTHVILLE          MI 48168‐2327
SPINO, BONNIE J               2560 SHETLAND ROAD                                                                             TOLEDO              OH 43617‐1636
SPINO, CORNELIA M             2430 SHETLAND                                                                                  TOLEDO              OH 43617‐1634
SPINO, CORNELIA M             2430 SHETLAND RD                                                                               TOLEDO              OH 43617‐1634
SPINO, TONY                   3915 S 1ST ST                                                                                  MILWAUKEE           WI 53207‐4301
SPINOSI, OLINDO W             3833 KARL RD                                                                                   COLUMBUS            OH 43224‐2855
SPINOSI, PHIL D               6060 FREEMAN RD                                                                                WESTERVILLE         OH 43082‐9088
SPINOZZI, JOSEPH              31 FARRAGUT AVE                HASTINGS ON                                                     YONKERS             NY 10706‐2306
SPINWELD INC                  6623 W MITCHELL ST                                                                             MILWAUKEE           WI 53214‐4927
SPIONKOWSKI, ANDREW           40305 PALLAZO DR                                                                               CLINTON TOWNSHIP    MI 48038‐4048
SPIRAL BINDING COMPANY INC    1 MALTESE DR                   PO BOX 286                                                      TOTOWA              NJ 07512‐1402
SPIRAL CARBIDE TOOL CO        12017 LEVAN RD BOX 4025                                                                        LIVONIA             MI 48150
SPIRAL INDUSTRIES INC         1572 N OLD US 23                                                                               HOWELL              MI 48843‐8131
SPIRAL INDUSTRIES INC         HARRY LINFIELD                 1572 N OLD US 23                                                HOWELL              MI 48843‐8131
SPIRAL INDUSTRIES INC         HARRY LINFIELD                 1572 NORTH OLD US HIGHWAY 23                                    ERWIN               TN 37650
SPIRAL INDUSTRIES, INC.       HARRY LINFIELD                 1572 N OLD US 23                                                HOWELL              MI 48843‐8131
SPIRAL INDUSTRIES, INC.       HARRY LINFIELD                 1572 NORTH OLD US HIGHWAY 23                                    ERWIN               TN 37650
SPIRALOCK CORP                25235 DEQUINDRE RD                                                                             MADISON HTS         MI 48071‐4211
SPIRATEX COMPANY INC          6333 COGSWELL ST                                                                               ROMULUS             MI 48174‐4039
SPIRAX SARCO                  1150 NORTHPOINT BLVD                                                                           BLYTHEWOOD          SC 29016‐8873
SPIRAX SARCO INC              1150 NORTHPOINT BLVD                                                                           BLYTHEWOOD          SC 29016‐8873
SPIRENT COMMUNICATIONS        26750 AGOURA RD                                                                                CALABASAS           CA 91302‐3596
SPIRENT COMMUNICATIONS PLC    1250 CREEKSIDE PKWY                                                                            NAPLES              FL 34108‐1939
SPIRENT COMMUNICATIONS PLC    7930 N FAULKNER RD                                                                             MILWAUKEE           WI 53224‐3423
SPIRENT COMMUNICATIONS PLC    7930 N FAULKNER RD             PO BOX 245017                                                   MILWAUKEE           WI 53224‐3423
SPIRENT COMMUNICATIONS PLC    DATAVAGEN 5                                                              JARFALLA SE 17526
                                                                                                       SWEDEN
SPIRENT COMMUNICATIONS PLC    SHIRLEY BEARDSLEE              1250 CREEKSIDE PKY                                              AUBURN             ME 04211
SPIRENT COMMUNICATIONS PLC    SHIRLEY BEARDSLEY              7930 N FAULKER RD                                               FRANKLIN           OH
SPIRENT COMMUNICATIONS PLC    SHIRLEY BEARDSLEY              7930 N FAULKNER RD                                              MILWAUKEE          WI 53224‐3423
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Name                                     Address1                          Address2                    Address3                Address4                 City                State Zip
SPIRENT COMMUNICATIONS PLC               NORTH WOOD PARK GATWICK RD                                                            CRAWLEY WEST SUSSEX
                                                                                                                               RH10 9XN GREAT BRITAIN
SPIRENT FEDERAL SYSTEMS                  22345 LA PALMA AVE STE 105                                                                                     YORBA LINDA         CA    92887‐3808
SPIRENT FEDERAL SYSTEMS                  STEVEN CLARK                      541 INDUSTRIAL WAY WEST                                                      EATONTOWN           NJ    07724
SPIRENT FEDERAL SYSTEMS                  STEVEN CLARK                      26750 AGOURA RD                                                              CALABASAS           CA    91302‐3596
SPIRENT FEDERAL SYSTEMS INC              22345 LA PALMA AVE STE 105                                                                                     YORBA LINDA         CA    92887‐3808
SPIRES, A. JR.,                          PORTER & MALOUF PA                4670 MCWILLIE DR                                                             JACKSON             MS    39206‐5621
SPIRES, BARBARA J                        17353 ROSELAWN ST                                                                                              DETROIT             MI    48221‐2554
SPIRES, BONNIE J                         PO BOX 52                                                                                                      MANCELONA           MI    49659‐0052
SPIRES, BONNIE J                         POST OFFICE BOX 52                                                                                             MANCELONA           MI    49659‐0052
SPIRES, BUDDY                            253 MILL SPGS                                                                                                  COATESVILLE         IN    46121‐8948
SPIRES, COLEEN                           PO BOX 1064                                                                                                    WASHINGTON          MO    63090‐8064
SPIRES, DANIEL J                         140 N FORD BLVD                                                                                                YPSILANTI           MI    48198‐4114
SPIRES, DIANA S                          3603 N 300 E                                                                                                   KOKOMO              IN    46901‐9338
SPIRES, FRANK J                          5287 ALLENDALE ST                                                                                              DETROIT             MI    48204‐3701
SPIRES, HAROLD I                         45545 BEMIS RD                                                                                                 BELLEVILLE          MI    48111‐8901
SPIRES, JASON J                          244 RAINBOW DR # 14414                                                                                         LIVINGSTON          TX    77399‐2044
SPIRES, JOHN                             9999 ASHTON AVE                                                                                                DETROIT             MI    48228‐1101
SPIRES, MICHAEL E                        1013 TWIN PONDS RD                                                                                             BEDFORD             IN    47421‐8320
SPIRES, MICHAEL J                        2161 E ROSE CENTER RD                                                                                          HOLLY               MI    48442‐8639
SPIRES, OSCAR L                          67 HERON DR                                                                                                    LOUISA              KY    41230‐7762
SPIRES, RHONDA L                         1301 13TH ST                                                                                                   BEDFORD             IN    47421‐3224
SPIRES, ROBERT E                         26831 CALIFORNIA ST                                                                                            TAYLOR              MI    48180‐4866
SPIRES, RUFUS                            15945 KRAMER ST                                                                                                DETROIT             MI    48228
SPIRES, SANDRA K                         2075 OAKBROOK BLVD                                                                                             COMMERCE TOWNSHIP   MI    48390‐3273
SPIRES, STANLEY C                        953 BROADMEAD AVE                                                                                              DAYTON              OH    45404‐2503
SPIRES, THEODORE A                       7312 TWIN LAKE RD NE                                                                                           MANCELONA           MI    49659‐9502
SPIRES, TOM E                            11629 STATE ROUTE 281                                                                                          HOLGATE             OH    43527‐9798
SPIREX CORP/YOUNGTWN                     8469 SOUTHERN BLVD                                                                                             YOUNGSTOWN          OH    44512
SPIRIDAKOS, GREGORY                      2197 TAMARACK DR                                                                                               OKEMOS              MI    48864‐3911
SPIRIDIGLIOZZI, SCOTT J                  1403 STEPHENS ST                                                                                               SAGINAW             MI    48602‐2440
SPIRIDONOW, GISELA                       875 JAY ST                                                                                                     EAST TAWAS          MI    48730‐9751
SPIRIES, JIMMY                           18436 ROSELAND BLVD                                                                                            LATHRUP VLG         MI    48076‐2630
SPIRIS, GEORGE P                         302 PENINSULA BLVD                                                                                             GULF SHORES         AL    36542‐8402
SPIRIS, JO ANN M                         302 PENINSULA BLVD                                                                                             GULF SHORES         AL    36542‐8402
SPIRIS, JONATHAN                         6203 PARKRIDGE CT                                                                                              CLARKSTON           MI    48348‐4844
SPIRIS, KIMBERLY A                       6203 PARKRIDGE CT                                                                                              CLARKSTON           MI    48348‐4844
SPIRIT AEROSYSTEMS                                                         3800 S. TURNPIKE DR.        GATE 17                                                              KS    67210
SPIRIT CHEVROLET‐BUICK, INC.             1072 DANVILLE RD                                                                                               HARRODSBURG         KY    40330‐9239
SPIRIT CHEVROLET‐BUICK, INC.             KENNETH CUSIC                     1072 DANVILLE RD                                                             HARRODSBURG         KY    40330‐9239
SPIRIT EXPRESS OF WNY INC                3160 UNION RD                                                                                                  CHEEKTOWAGA         NY    14227‐1017
SPIRIT MASTER FUNDING IV LLC             PNC BANK LOCKBOX                  PO BOX 642303               LOCKBOX NUMBER 642303                            PITTSBURGH          PA    15264‐2303
SPIRIT OF SAINT LOUIS                    MARATHON INC                      214 S BEMISTON AVE STE 2N                                                    CLAYTON             MO    63105‐1930
SPIRIT RENT A CAR                        25111 MILES RD STE D                                                                                           CLEVELAND           OH    44128‐5419
SPIRIT RENT‐A‐CAR, INC. D/B/A CARTEMPS   29100 AURORA RD STE 400                                                                                        SOLON               OH    44139‐1855
USA
SPIRIT RENT‐A‐CAR, INC. D/B/A CARTEMPS   9055 W BELL RD                                                                                                 PEORIA               AZ   85382‐3715
USA
SPIRIT SERVICES CO                       PO BOX 7842                                                                                                    COLUMBUS            OH 43207‐0842
SPIRIT SERVICES CO DBA                   2001 ARLINGATE LN                                                                                              COLUMBUS            OH 43228‐4113
SPIRIT SERVICES COMPANY
SPIRITECH                                14510 E 11 MILE RD                                                                                             WARREN               MI 48089‐1557
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Name                                Address1                         Address2                     Address3             Address4                City              State Zip
SPIRITECH INC                       14510 E 11 MILE RD                                                                                         WARREN             MI 48089‐1557
SPIRITIS MARK                       800 HARBOUR ISLE PL                                                                                        WEST PALM BEACH    FL 33410‐4408
SPIRITO, ALBERT A                   439 BISCAYNE DR                                                                                            ROCHESTER          NY 14612‐4205
SPIRITO, MELISSA J                  3145 WOOSTER DR                                                                                            DAYTON             OH 45434‐6041
SPIRITO, MELISSA JANEENE            2280 RUSTIC VIEW DRIVE                                                                                     DAYTON             OH 45431‐2337
SPIRITO, MICHAEL G                  2280 RUSTIC VIEW DR                                                                                        BEAVERCREEK        OH 45431‐2337
SPIRITO, MICHAEL GREGORY            2280 RUSTIC VIEW DRIVE                                                                                     DAYTON             OH 45431‐2337
SPIRITUAL ISRAEL                    ATTN: HARVEY BEAVERS JR          501 EUGENE ST                                                             YPSILANTI          MI 48198‐6172
SPIRITUAL ISRAEL CHURCH             PO BOX 210194                                                                                              AUBURN HILLS       MI 48321‐0194
SPIRITUALLY CONVICTED GOSPEL        ENSEMBLE GROUP                   16577 LESURE ST              JOHNNY MOORE                                 DETROIT            MI 48235‐4010
SPIRKO, ANNE E                      1893 LARCHMONT NE                                                                                          WARREN             OH 44483‐3505
SPIRKO, CATHERINE S                 791 106TH AVE N                                                                                            NAPLES             FL 34108‐1849
SPIRKO, JOHN J                      612 BONNIE BRAE AVE NE                                                                                     WARREN             OH 44483‐5237
SPIRKO, ROSIE C                     612 BONNIE BRAE NE                                                                                         WARREN             OH 44483‐5237
SPIRNAK, DALE R                     207 MAPLEDALE DR                                                                                           MUNHALL            PA 15120‐2927
SPIRNAK, RAYMOND J                  714 4TH ST                                                                                                 SUTERSVILLE        PA 15083‐1050
SPIRNAK, RAYMOND J                  117 W MARIGOLD ST                                                                                          MUNHALL            PA 15120‐2269
SPIRO AVRIPAS                       216 W ANN ARBOR AVE                                                                                        PONTIAC            MI 48340‐1804
SPIRO MOSS LLP                      ATTN: IRA SPIRO & MARK MOORE     ATTYS FOR LARONDA HUNTER &   11377 OLYMPIC BLVD                           LOS ANGELES        CA 90064
                                                                     ROBIN GONZALES
SPIRO STATE BANK                    PO BOX 40                                                                                                  SPIRO             OK    74959‐0040
SPIRO VAMVAKAS                      47123 WILLINGHAM WAY                                                                                       SHELBY TOWNSHIP   MI    48315‐4842
SPIROFF, GLENN                      183 HILLSIDE DR                                                                                            HILTON            NY    14468‐1410
SPIROFF, JOHN                       8356 GREYHAWK CIR                                                                                          COLUMBUS          OH    43240‐2001
SPIROFF, TOM J                      431 MICHIGAN AVE                                                                                           ELYRIA            OH    44035‐7139
SPIROGLOU, IRAKLIS G                379 PORTER AVE                                                                                             CAMPBELL          OH    44405‐1443
SPIROL INDUSTRIES LIMITED           JOHN LECKFOR                     3103 ST. ETIENNE BLVD                             PLATTSVILLE ON CANADA
SPIROL INDUSTRIES LT                3103 ST ETIENNE BLVD                                                               WINDSOR ON N8W 5B1
                                                                                                                       CANADA
SPIROL INDUSTRIES LTD               3103 ETIENNE ST BLVD                                                               WINDSOR ON N8W 5B1
                                                                                                                       CANADA
SPIROL INDUSTRIES LTD               3103 ST ETIENNE BLVD RT CHK MR                                                     WINDSOR CANADA ON
                                                                                                                       N8W 5B1 CANADA
SPIROL INTERN/DANIEL                30 ROCK AVE                                                                                                DANIELSON         CT    06239‐1425
SPIROL INTERNATIONAL                30 ROCK AVE                                                                                                DANIELSON         CT    06239‐1425
SPIROL INTERNATIONAL CORP           30 ROCK AVE                                                                                                DANIELSON         CT    06239‐1425
SPIROL INTERNATIONAL CORP.          JOHN LECKFO 4429                 30 ROCK AVE                  C.E.M. DIVISION                              DANIELSON         CT    06239‐1425
SPIROL INTERNATIONAL CORP.          JOHN LECKFO 4429                 C.E.M. DIVISION              30 ROCK AVE                                  PLYMOUTH          MI    48170
SPIROL INTERNATIONAL HOLDING CORP   30 ROCK AVE                                                                                                DANIELSON         CT    06239‐1425

SPIROL INTERNATIONAL HOLDING CORP   3103 ETIENNE ST BLVD                                                               WINDSOR ON N8W 5B1
                                                                                                                       CANADA
SPIROL INTERNATIONAL HOLDING CORP   JOHN LECKFO 4429                 30 ROCK AVE                  C.E.M. DIVISION                              DANIELSON          CT   06239‐1425

SPIROL INTERNATIONAL HOLDING CORP   JOHN LECKFO 4429                 C.E.M. DIVISION              30 ROCK AVE                                  PLYMOUTH          MI 48170

SPIROL INTERNATIONAL HOLDING CORP   JOHN LECKFOR                     3103 ST. ETIENNE BLVD                             WINDSOR ON CANADA

SPIROL/DANIELSON                    30 ROCK AVE                                                                                                DANIELSON         CT    06239‐1425
SPIROS HASIAKOS                     7602 S OCTAVIA AVE                                                                                         BRIDGEVIEW        IL    60455‐1331
SPIROS LEMONEDES                    1427 WILLOW CREEK TERR                                                                                     SPRING HILL       FL    34606
SPIROS NIPHORATOS                   5882 LONYO ST                                                                                              DETROIT           MI    48210‐1897
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Name                             Address1                       Address2                      Address3   Address4         City                State Zip
SPIROS RAPPAS                    2280 BELLE MEADE DR                                                                      DAVISON              MI 48423‐2054
SPIROS, THOMAS G                 3301 TROWBRIDGE AVE                                                                      CLEVELAND            OH 44109‐2048
SPISAK, CHARLES                  768 HILL FARM RD                                                                         HUDSON               WI 54016‐7672
SPISAK, EDWARD L                 1928 JAMES ST                                                                            NILES                OH 44446‐3920
SPISAK, EILEEN J                 202 S CHRISTINE                                                                          WESTLAND             MI 48186‐4335
SPISAK, EILEEN J                 202 SO. CHRISTINE                                                                        WESTLAND             MI 48186‐4335
SPISAK, JAMES E                  879 MCARTHUR DR                                                                          GIRARD               OH 44420‐2455
SPISAK, JOHN A                   5 WINDING LN                                                                             WILMINGTON           DE 19809‐2816
SPISAK, JOSEPH                   2827 KINNEVILLE RD                                                                       LESLIE               MI 49251‐9781
SPISAK, MARY A                   48825 VILLAGE DR                                                                         MACOMB               MI 48044‐1850
SPISAK, PETER                    1195 ANDOVER CIR                                                                         COMMERCE TOWNSHIP    MI 48390‐2246
SPISAK, RICHARD E                2222 HAYSTACK WAY                                                                        MYRTLE BEACH         SC 29579‐3279
SPISAK, STEPHEN E                4483 KNOB HILL DR                                                                        BELLBROOK            OH 45305‐1428
SPISHAK, LEO L                   2869 11TH ST                                                                             CUYAHOGA FALLS       OH 44221‐2053
SPISICH, JOSEPH                  7561 EAGLE RD                                                                            WAITE HILL           OH 44094
SPISICH, JOSEPHINE               24390 HOLYOKE LN                                                                         NOVI                 MI 48374‐2848
SPISICH, ROBERT J                24390 HOLYOKE LN                                                                         NOVI                 MI 48374‐2848
SPISICH, VIRGINIA                38627 CYPRESS MEADOW DR                                                                  CLINTON TWP          MI 48036‐1919
SPISZ, MICHAEL D                 28639 BANNOCKBURN ST                                                                     FARMINGTN HLS        MI 48334‐2701
SPISZ, STEPHANIE R               18244 DEERING ST                                                                         LIVONIA              MI 48152‐3708
SPITAK, JOHN E                   1097 BROMPTON RD                                                                         ROCHESTER HILLS      MI 48309‐4382
SPITALERI, GEORGE S              8960 TEACHOUT RD                                                                         ONSTED               MI 49265‐9531
SPITALETTO JR, PASQUALE J        555 ROSEWOOD DR                                                                          LANOKA HARBOR        NJ 08734‐2133
SPITER, CHERYL L                 28863 GAIL DR                                                                            WARREN               MI 48093‐2799
SPITER, JOHN A                   PO BOX 400                                                                               HIGGINS LAKE         MI 48627‐0400
SPITERI, CHARLIE                 26364 AUDREY AVE                                                                         WARREN               MI 48091‐4103
SPITERI, JOSEPH A                36701 RIDGECROFT DR                                                                      STERLING HTS         MI 48312‐2856
SPITERI, MARY J                  33474 VARGO DR                                                                           LIVONIA              MI 48152‐3126
SPITFIRE AUTO ELECTRIC           5220 INTERSTATE HIGHWAY 35 S                                                             SAN ANTONIO          TX 78211‐1732
SPITFIRE AUTOMOTIVE              4827 E INDIAN SCHOOL RD                                                                  PHOENIX              AZ 85018‐5528
SPITFIRE AUTOMOTIVE              10707 S CICERO AVE                                                                       OAK LAWN              IL 60453‐5401
SPITLER & WILLIAMS‐YOUNG         1000 ADAMS ST. SUITE 200                                                                 TOLEDO               OH 43604
SPITLER JAMES WILLIAM (439533)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                                STREET, SUITE 600
SPITLER LARUE                    SPITLER, LARUE                 1002 E WALKER ST                                          SAINT JOHNS         MI   48879‐1648
SPITLER, CONNIE S                112 CREEKSIDE COMMONS DR.                                                                CORTLAND            OH   44410
SPITLER, DANA S                  515 LAMBERT LN                                                                           ENGLEWOOD           OH   45322‐2048
SPITLER, DAWN M                  127 NORTH ELM STREET                                                                     ITHACA              MI   48847
SPITLER, DORIS                   24 RIDGELAND TERRACE                                                                     FAIRFIELD GLADE     TN   38558‐7401
SPITLER, EDWARD N                2919 WYTHE CT                                                                            WOODBRIDGE          VA   22191‐4637
SPITLER, ELLA C                  11839 S 86TH E AVE                                                                       BIXBY               OK   74008‐2103
SPITLER, ELLA C                  11839 S 86TH EAST AVE                                                                    BIXBY               OK   74008‐2103
SPITLER, ESTHER C                115 MOUND ST                                                                             BROOKVILLE          OH   45309‐1309
SPITLER, FREDERICK A             3591 BIG BEAR FARMS LOOP                                                                 POWELL              OH   43065‐7836
SPITLER, GAIL T                  COLLINS' GAIL T                4600 ORCHARD ST                                           LEWISBURG           OH   45338‐9747
SPITLER, GERALD A                694 ELLA AVE                                                                             INVERNESS           FL   34450‐3427
SPITLER, INC.                    PO BOX 267                                                                               MONTOURSVILLE       PA   17754
SPITLER, INC.                    OLD ROUTE 220                                                                            MONTOURSVILLE       PA   17754
SPITLER, J W                     12230 S 85TH EAST AVE                                                                    BIXBY               OK   74008‐2702
SPITLER, JAMES R                 3716 FOWLER RD                                                                           SPRINGFIELD         OH   45502‐9729
SPITLER, JAMES WILLIAM           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                                STREET, SUITE 600
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Name                      Address1                            Address2            Address3         Address4         City              State Zip
SPITLER, JERRY L          16605 E 636 RD                                                                            INOLA              OK 74036‐3165
SPITLER, JR., WILLIAM O   6430 LOVE WARNER RD                                                                       CORTLAND           OH 44410‐8620
SPITLER, LARUE            1002 E WALKER ST                                                                          SAINT JOHNS        MI 48879‐1648
SPITLER, LOUANN           255 RENWOOD PLACE                                                                         SPRINGBORO         OH 45066‐5066
SPITLER, MARGARET K       52 NORTH MAIN STREET                                                                      GERMANTOWN         OH 45327‐1350
SPITLER, MARGARET M       193 WOODWARD AVE                                                                          BUFFALO            NY 14214‐2313
SPITLER, MARILYN H        1578 RIVERGATE DR                                                                         JACKSONVILLE       FL 32223‐1760
SPITLER, MARVIN G         6160 FIRESIDE DR APT A                                                                    CENTERVILLE        OH 45459‐2061
SPITLER, MARY H           1006 WHITESTONE RD                                                                        XENIA              OH 45385‐1330
SPITLER, ROBERT           6819 HUBBARD DR                                                                           HUBER HEIGHTS      OH 45424‐3561
SPITLER, ROBERT M         638 BRUBAKER DR                                                                           DAYTON             OH 45429
SPITLER, STEPHEN D        821 SALEM DR                                                                              HURON              OH 44839‐1438
SPITLER, THOMAS J         5994 CARTER LN                                                                            FRANKLIN           TN 37064‐6204
SPITLER, WAYNE L          2790 S RANGELINE RD                                                                       LUDLOW FALLS       OH 45339‐9784
SPITLER, WILLIAM W        9139 MIRAGE LAKE DR                                                                       MILAN              MI 48160‐9010
SPITLER, WILLIAM W        719 VININGS ESTATES DR SE                                                                 MABLETON           GA 30126‐5926
SPITSEN, BRUCE A          1997 MILLS RD                                                                             PRESCOTT           MI 48756‐9344
SPITTLE, BETTY J          4702 ROSEWOLD                                                                             ROYAL OAK          MI 48073‐4906
SPITTLE, BETTY J          4702 ROSEWOLD AVE                                                                         ROYAL OAK          MI 48073‐4906
SPITTLE, CHARLES D        3729 ALIDA AVE                                                                            ROCHESTER HILLS    MI 48309‐4244
SPITTLE, HILARY R         2624 WELLINGTON ROAD                                                                      CLEVELAND          OH 44118‐4121
SPITULSKI, ALOYSIUS A     4545 COPLAND BLVD                                                                         TOLEDO             OH 43614‐5204
SPITZ CLARICE             3001 OVERLOOK DR                                                                          NASHVILLE          TN 37212‐4106
SPITZ MICHAEL             SPITZ, MICHAEL                      30928 FORD RD                                         GARDEN CITY        MI 48135‐1803
SPITZ, ALAN K             6909 KINGDON AVE                                                                          HOLT               MI 48842‐2109
SPITZ, ALAN KEITH         6909 KINGDON AVE                                                                          HOLT               MI 48842‐2109
SPITZ, ANDREW R           2362 THURMONT RD                                                                          AKRON              OH 44313‐5458
SPITZ, ANNE               RT. 2 BOX 204A                                                                            LAWRENCE           KS 66046
SPITZ, CHARLES J          16147 W VOGEL DR                                                                          NEW BERLIN         WI 53151‐5031
SPITZ, DARYL L            2101 ROBINSON RD                                                                          LANSING            MI 48910‐4837
SPITZ, DONALD J           922 MALZAHN ST                                                                            SAGINAW            MI 48602‐2968
SPITZ, DONALD L           4114 RUTH AVE                                                                             LANSING            MI 48910‐3624
SPITZ, DONALD L.          4114 RUTH AVE                                                                             LANSING            MI 48910‐3624
SPITZ, GARY D             2621 DIER ST                                                                              LANSING            MI 48910‐8302
SPITZ, GENE F             7603 BROOKFIELD RD                                                                        CHARLOTTE          MI 48813‐9120
SPITZ, HARRY RAY
SPITZ, HARRY RAY          DAUGHTERY CRAWFORD FULLER &         PO BOX 1118                                           COLUMBUS          GA 31902‐1118
                          BROWN LLP
SPITZ, JOEL               6909 KINGDON AVE                                                                          HOLT              MI   48842‐2109
SPITZ, RICHARD M          575 N KING ST                                                                             XENIA             OH   45385‐2272
SPITZ, RICHARD S          2101 W LAWRENCE AVE APT 202                                                               SPRINGFIELD       IL   62704‐1463
SPITZ, ROBERT M           780 RICHLAND RD                                                                           XENIA             OH   45385‐7333
SPITZ, ROBERT W           14361 ROE RD                                                                              HEMLOCK           MI   48626‐8499
SPITZ, ROSE S             6501 S 50 W                                                                               PENDLETON         IN   46064‐9155
SPITZ, STEPHEN            29292 MARSHALL ST                                                                         SOUTHFIELD        MI   48076‐5839
SPITZ, VIRGINIA L         4006 RUTH AVE                                                                             LANSING           MI   48910‐3682
SPITZ, WILLIAM G          11088 MORNINGSTAR DR                                                                      SAGINAW           MI   48609‐9477
SPITZA JR, ALFRED E       3151 EDEN TRL                                                                             BRIGHTON          MI   48114‐9185
SPITZA, ANN               8804 GRAMERCY LANE                                                                        LAUREL            MD   20708‐2434
SPITZA, BESSIE J          2085 W ARGUS PL                                                                           CITRUS SPRINGS    FL   34434
SPITZA, RONALD E          W 205 N 11295 FOX LN                                                                      GERMANTOWN        WI   53022‐2813
SPITZA, RONALD E          W205N11295 FOX LN                                                                         GERMANTOWN        WI   53022‐2813
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Name                               Address1                         Address2                   Address3   Address4         City            State Zip
SPITZBARTH, ROBERT E               225W.17TH                                                                               TRAVERSE CITY    MI 49684
SPITZE, HELEN                      325 SYLVAN AVE SPC 34                                                                   MOUNTAIN VIEW    CA 94041‐1655
SPITZER A & I                      511 S VIRGINIA AVE                                                                      ROSWELL          NM 88203‐6147
SPITZER AUTO WORLD AMHERST, INC.   200 N LEAVITT RD                                                                        AMHERST          OH 44001‐1125
SPITZER AUTO WORLD AMHERST, INC.   ALAN SPITZER                     200 N LEAVITT RD                                       AMHERST          OH 44001‐1125
SPITZER AUTOWORLD CANTON, LLC      ALAN SPITZER                     949 CLEVELAND AVE NW                                   CANTON           OH 44702‐1843
SPITZER AUTOWORLD CANTON, LLC      949 CLEVELAND AVE NW                                                                    CANTON           OH 44702‐1843
SPITZER AUTOWORLD GRAFTON          150 EAST BRIDGE STREET                                                                  ELYRIA           OH 44035‐5219
SPITZER AUTOWORLD LORDSTOWN,LLC    10535 MAHONING AVE                                                                      NORTH JACKSON    OH 44451

SPITZER AUTOWORLD LORDSTOWN,LLC    ALAN SPITZER                     10535 MAHONING AVE                                     NORTH JACKSON   OH 44451

SPITZER BUICK CADILLAC INC         GIARDINI COOK & NICHOL LLC       520 BROADWAY,THIRD FLOOR                               LORAIN          OH   44052
SPITZER BUICK CADILLAC INC         GIARDINI COOK & NICHOL LLC       520 BROADWAY STE 3                                     LORAIN          OH   44052‐1747
SPITZER BUICK INC                  D CHRIS COOK ESQ                 209 W 6TH STREET                                       LORAIN          OH   44052
SPITZER BUICK‐CADILLAC, INC.       ALAN SPITZER                     10901 BROOKPARK RD                                     PARMA           OH   44130‐1122
SPITZER BUICK‐CADILLAC, INC.       10901 BROOKPARK RD                                                                      PARMA           OH   44130‐1122
SPITZER CHEVROLET COMPANY          7111 SUNSET STRIP AVE NW                                                                NORTH CANTON    OH   44720‐7080
SPITZER CHEVROLET COMPANY          KEVIN SPITZER                    7111 SUNSET STRIP AVE NW                               NORTH CANTON    OH   44720‐7080
SPITZER CHEVROLET, INC.            ALAN SPITZER                     333 E AURORA RD                                        NORTHFIELD      OH   44067‐2022
SPITZER CHEVROLET, INC.            333 E AURORA RD                                                                         NORTHFIELD      OH   44067‐2022
SPITZER DODGE INC                  30101 S DIXIE HWY                                                                       HOMESTEAD       FL   33033‐3205
SPITZER HERRIMAN STEPHENSON        HOLDEREAD MUSSER & CONNER LLP    122 E 4TH ST                                           MARION          IN   46952‐4000
SPITZER, DAVID N                   2622 SPRUCE CREEK BOULEVARD                                                             PORT ORANGE     FL   32128‐6781
SPITZER, DAVID N                   8250 S RUSHTON RD                                                                       SOUTH LYON      MI   48178‐9618
SPITZER, JAMES W                   9712 RIDGEWAY AVE                                                                       CINCINNATI      OH   45242‐5629
SPITZER, JEFFREY N                 6506 ENCLAVE DR                                                                         CLARKSTON       MI   48348‐4858
SPITZER, MICHAEL D                 4014 S CREEKSIDE DR                                                                     NEW PALESTINE   IN   46163‐9548
SPITZER, RICHARD E                 421 FREY RD                                                                             VERMONTVILLE    MI   49096‐9525
SPITZER, RICHARD R                 3503 OAKCLIFF LN                                                                        LANSING         MI   48917‐1780
SPITZER, WILLIAM L                 8701 S KOLB RD # 1‐270                                                                  TUCSON          AZ   85756‐9607
SPITZIG, NELLIE M                  500 ASHBURY FARMS DR                                                                    VANDALIA        OH   45377‐8707
SPITZKEIT RANDY                    6420 DALE DR                                                                            MARION          MS   39342‐8704
SPITZLEY, ALEX A                   4740 W HOWE RD                                                                          DEWITT          MI   48820‐9298
SPITZLEY, ALLEN L                  209 S HUBBARDSTON RD                                                                    PEWAMO          MI   48873‐9731
SPITZLEY, BLANCHE C                104 HOWELL ST                                                                           GRAND LEDGE     MI   48837‐1627
SPITZLEY, BRUCE H                  11840 RACHEL LN                                                                         DEWITT          MI   48820‐7781
SPITZLEY, BRUCE HAROLD             11840 RACHEL LN                                                                         DEWITT          MI   48820‐7781
SPITZLEY, BRYAN L                  13623 SUNFIELD HWY                                                                      LAKE ODESSA     MI   48849
SPITZLEY, CATHRINE A               1118 BRETTON WOODS                                                                      LANSING         MI   48917
SPITZLEY, CLARENCE P               2709 W BEARD RD                                                                         PERRY           MI   48872‐9595
SPITZLEY, DALE                     7700 WALKER RD                                                                          OVID            MI   48866‐8639
SPITZLEY, DANIEL R                 PO BOX 66                                                                               WESTPHALIA      MI   48894‐0066
SPITZLEY, DARRIN                   221 E PINE                       PO BOX 418                                             WESTPHALIA      MI   48894‐9815
SPITZLEY, DELBERT M                1578 STONEHAVEN DRIVE                                                                   HOLT            MI   48842‐1900
SPITZLEY, DENNIS H                 205 WEST PINE STREET BOX 22                                                             WESTPHALIA      MI   48894
SPITZLEY, DENNIS W                 478 KING ST                                                                             IONIA           MI   48846‐1413
SPITZLEY, DOUGLAS K                15180 YORKLEIGH DR                                                                      LANSING         MI   48906‐1361
SPITZLEY, EUGENE T                 6510 W GRAND RIVER AVE                                                                  LANSING         MI   48906‐9118
SPITZLEY, FRANCIS D                8338 GRANGE RD                                                                          WESTPHALIA      MI   48894‐9505
SPITZLEY, GARY T                   3697 VERONA CANEY RD                                                                    LEWISBURG       TN   37091‐6635
SPITZLEY, GARY T                   26240 HIGHWAY 59                                                                        ADMASVILLE      TN   38310‐3610
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Name                       Address1                          Address2                      Address3   Address4         City               State Zip
SPITZLEY, GERALD T         16955 PARK LAKE RD                                                                          EAST LANSING        MI 48823‐9606
SPITZLEY, JASON P          11775 DURHAM WAY                                                                            DE WITT             MI 48820‐8213
SPITZLEY, JOAN E           1578 STONEHAVEN DRIVE                                                                       HOLT                MI 48842
SPITZLEY, JOHN M           1108 SAUNDERS CRES                                                                          ANN ARBOR           MI 48103
SPITZLEY, KAREN M          211 MAPLE BOX 321                                                                           WESTPHALIA          MI 48894
SPITZLEY, KATHERINE D      2949 DUSTY LANE                                                                             HASTINGS            MI 49058‐8854
SPITZLEY, KENNETH N        11371 BENTON RD                                                                             GRAND LEDGE         MI 48837‐9728
SPITZLEY, KEVIN J          422 E HENRY ST                                                                              CHARLOTTE           MI 48813‐1659
SPITZLEY, KURT A           7242 GRAND RIVER TRL                                                                        PORTLAND            MI 48875‐9705
SPITZLEY, LEROY E          PO BOX 451                                                                                  WESTPHALIA          MI 48894‐0451
SPITZLEY, MARVIN I         3695 S SPAULDING RD                                                                         WESTPHALIA          MI 48894‐9705
SPITZLEY, MICHAEL E        5109 ARROWHEAD CT                                                                           WILLIAMSBURG        MI 49690‐9591
SPITZLEY, NEAL A           8338 GRANGE RD                                                                              WESTPHALIA          MI 48894‐9505
SPITZLEY, PATRICIA A       6748 HIGHLAND DR                                                                            LAINGSBURG          MI 48848‐9203
SPITZLEY, PHILLIP C        BOX 13 10724 PEWAMO RD                                                                      PEWAMO              MI 48873
SPITZLEY, RICTER M         11302 MULLIKEN RD                                                                           MULLIKEN            MI 48861‐9797
SPITZLEY, ROSEMARY P       2900 TURNER ST                                                                              LANSING             MI 48906‐4029
SPITZLEY, STEVEN A         PO BOX 464                                                                                  FOWLER              MI 48835‐0464
SPITZLEY, STEVEN L         230 S GRANT ST                                                                              PORTLAND            MI 48875‐1533
SPITZLEY, VICTOR M         14457 BROWN RD                                                                              SUNFIELD            MI 48890‐9770
SPITZLEY, WALTER P         132 N GLENWOOD AVE                                                                          PONTIAC             MI 48342‐1505
SPITZMESSER, HOWARD S      2620 E 9TH ST                                                                               ANDERSON            IN 46012‐4408
SPITZMESSER, JACK E        409 N VINE ST                                                                               FAIRMOUNT           IN 46928‐1439
SPITZMESSER, MARJORIE H    619 SUNSET CT                                                                               ANDERSON            IN 46013‐1176
SPITZMESSER, NOEL K        619 SUNSET CT                                                                               ANDERSON            IN 46013‐1176
SPITZNAGEL, MICHAEL E      1846 HOWE LANE                                                                              AMBLER              PA 19002‐2916
SPITZNAS, ROBERT T         2930 LYNN DR                                                                                WHITE LAKE          MI 48386
SPITZNOGLE, JOHN V         4305 E STATE ROAD 32                                                                        LEBANON             IN 46052‐9605
SPIVA FRED E (467076)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                             STREET, SUITE 600
SPIVA HAYNES               3070 KING RD                                                                                SAGINAW            MI 48601‐5830
SPIVA, FRED E              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
SPIVA, THOMAS L            1419 CARLA CT                                                                               LAWRENCEVILLE      GA   30043‐5710
SPIVA, THOMAS T            1540 RICHMOND WAY                                                                           LAWRENCEVILLE      GA   30043‐5713
SPIVEN, PHYLLIS D          137E CHERRY LN                                                                              NEW CUMBERLAND     PA   17070‐5017
SPIVEY CATHERINE           190 MCCORMICK RD                                                                            SANFORD            NC   27332‐2696
SPIVEY DONALD E (467077)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                             STREET, SUITE 600
SPIVEY II, THOMAS W        39 FIELDSTONE                                                                               POLAND             OH   44514‐4207
SPIVEY JR, FELDER R        1912 WESTMINSTER WAY NE                                                                     ATLANTA            GA   30307‐1137
SPIVEY JR, JAMES           437 CHANDLER RD                                                                             RUSTON             LA   71270‐3595
SPIVEY JR, JIMMY           26 AQUILLA DR                                                                               NEW CASTLE         DE   19720‐1365
SPIVEY SCOTT               228 SILVER SLOOP WAY                                                                        CAROLINA BCH       NC   28428‐4042
SPIVEY, AMOS D             233 TRICE RD                                                                                MILNER             GA   30257
SPIVEY, ANNALEE L          819 ASHOKAN RD                                                                              ENGLEWOOD          OH   45322
SPIVEY, ANNIE R            129 K C SERENITY FARM LANE                                                                  ELLERBE            NC   28338‐9729
SPIVEY, ARLIS O            PO BOX 598                                                                                  LAKE PANASOFFKEE   FL   33538‐0598
SPIVEY, BETTY L            729 OAK ST                                                                                  TIPTON             IN   46072
SPIVEY, BETTY S            1120 RED CEDAR LANE                                                                         ARLINGTON          TX   76011‐6011
SPIVEY, BETTY S            320 KENWOOD AVE                                                                             DAYTON             OH   45405‐4012
SPIVEY, BONNE J            5032 COLLEGE CORNER PIKE APT 34                                                             OXFORD             OH   45056‐1151
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Name                  Address1                        Address2                      Address3   Address4         City            State Zip
SPIVEY, CLAYTON       400 COLUMBIA RD                                                                           HAMILTON         OH 45013‐3606
SPIVEY, CONLEY C      4099 E ATHERTON RD                                                                        BURTON           MI 48519‐1433
SPIVEY, CONSTANCE M   2048 CARRIAGE HALL CT                                                                     DAYTON           OH 45459‐3443
SPIVEY, DAN T         1735 JOHNS DR                                                                             PANAMA CITY      FL 32404‐2985
SPIVEY, DARRELL       4249 CARTHEL DR                                                                           LIBERTY TWP      OH 45011‐2313
SPIVEY, DAVID L       229 HARPER CT                                                                             KELLER           TX 76248
SPIVEY, DONALD E      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                      STREET, SUITE 600
SPIVEY, DONNA F.      10147 BLUE CREEK NORTH                                                                    WHITEHOUSE      OH   43571
SPIVEY, DONNA F.      10147 BLUE CRK N                                                                          WHITEHOUSE      OH   43571‐9005
SPIVEY, DONZANELLA    1510 MARIGOLD DR                                                                          JOLIET          IL   60433‐8538
SPIVEY, EDDIE D       1448 SE MAPLE DR                                                                          ARCADIA         FL   34266‐7360
SPIVEY, EDWARD E      1659 STOKES AVE SW                                                                        ATLANTA         GA   30310‐1549
SPIVEY, ETHEL E       21817 STEPHENS ST                                                                         ST CLAIR SHRS   MI   48080‐3966
SPIVEY, EUGENE D      2401 APT TO MISS RD                                                                       MONTICELLO      GA   31064‐5575
SPIVEY, GARY L        2048 CARRIAGE HALL CT                                                                     DAYTON          OH   45459‐3443
SPIVEY, GERALD G      714 E VIRGINIA AVE                                                                        LA FOLLETTE     TN   37766‐4459
SPIVEY, HERMAN O      7304 N 600 W                                                                              FAIRLAND        IN   46126‐9792
SPIVEY, ILSE M        9265 SOURWOOD DR                                                                          GAINESVILLE     GA   30506‐5935
SPIVEY, J A           458 HILLTOP DR                                                                            DECATUR         TX   76234‐5154
SPIVEY, JACK H        110 FOX HOLE CT                                                                           LOGANVILLE      GA   30052‐2696
SPIVEY, JAMES H       1846 KENVIEW RD                                                                           COLUMBUS        OH   43209‐3241
SPIVEY, JANICE        10 CEDAR LOOP                                                                             BEEBE           AR   72012‐3070
SPIVEY, JOE L         11689 KENTUCKY ST                                                                         DETROIT         MI   48204‐1974
SPIVEY, JUDY L        614 WAVERLY LN                                                                            STATESBORO      GA   30458‐2579
SPIVEY, KEITH E       3033 BARDIN RD APT 814                                                                    GRAND PRAIRIE   TX   75052‐3870
SPIVEY, LISA M        7360 COLEGROVE DR                                                                         HUBER HEIGHTS   OH   45424‐2939
SPIVEY, LLOYD         201 VENTURA DR                                                                            WEST MONROE     LA   71292‐6161
SPIVEY, LLOYD H       201 VENTURA DR                                                                            WEST MONROE     LA   71292‐6161
SPIVEY, MARY A        3941 N 75TH ST                                                                            MILWAUKEE       WI   53216‐1911
SPIVEY, MARY A        3941 N 75TH ST.                                                                           MILWAUKEE       WI   53216‐1911
SPIVEY, MARY L        3313 OLD CHATSWORTH HWY                                                                   DALTON          GA   30721‐6658
SPIVEY, MARY M        3391 FLAT SHOALS RD APT 111                                                               DECATUR         GA   30034‐1374
SPIVEY, ORVILLE       11093 E 700 N                                                                             WILKINSON       IN   46186‐9792
SPIVEY, ORVILLE V     4841 TODD RD                                                                              FRANKLIN        OH   45005‐5033
SPIVEY, REHOMORE      6159 S TALMAN AVE APT 1                                                                   CHICAGO         IL   60629
SPIVEY, ROBERT E      2152 APPLE PIE RIDGE RD                                                                   ALTO            GA   30510‐4803
SPIVEY, ROGER K       3771 E. SUDBURY CT.                                                                       BELLBROOK       OH   45305‐1883
SPIVEY, ROGER K       3771 E SUDBURY CT                                                                         BELLBROOK       OH   45305‐1883
SPIVEY, RONDA G       1059 COUNTY ROAD 164                                                                      STONEWALL       MS   39363‐9604
SPIVEY, RONDA GALE    1059 COUNTY ROAD 164                                                                      STONEWALL       MS   39363‐9604
SPIVEY, ROY C         3755 W BURMA RD                                                                           GOSPORT         IN   47433‐9587
SPIVEY, RUPERT L      129 K C SERENITY FARM LANE                                                                ELLERBE         NC   28338
SPIVEY, RUSSELL E     441 W EARLY DR                                                                            MIAMISBURG      OH   45342‐3303
SPIVEY, RUSSELL E     441 EARLY DR W                                                                            MIAMISBURG      OH   45342‐3303
SPIVEY, SAMMIE C      1779 HELEN ST                                                                             DETROIT         MI   48207‐3653
SPIVEY, SHIRLEY       748 E BEVERLY                                                                             PONTIAC         MI   48340‐2913
SPIVEY, SHIRLEY       748 E BEVERLY AVE                                                                         PONTIAC         MI   48340‐2913
SPIVEY, TED R         6270 E WINDING WAY                                                                        SWANTON         OH   43558‐9583
SPIVEY, TED RAY       6270 E WINDING WAY                                                                        SWANTON         OH   43558‐9583
SPIVEY, TONDREA       1426 HAYWOOD AVE                                                                          MEMPHIS         TN   38127
SPIVEY, VERNON D      7140 E 480 N                                                                              CAMDEN          IN   46917‐9291
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Name                         Address1                       Address2                      Address3   Address4                City              State Zip
SPIVEY, YVONNE               9706 S CALUMET AVE                                                                              CHICAGO             IL 60628‐1430
SPIVY RALPH L (406822)       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA 23510
                                                            STREET, SUITE 600
SPIVY, RALPH L               GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA 23510‐2212
                                                            STREET, SUITE 600
SPIX, GEORGE J               30035 OHMER DR                                                                                  WARREN            MI 48092‐3309
SPIX, THOMAS A               1177 MILL VALLEY ST                                                                             ROCHESTER HILLS   MI 48306‐3342
SPIZZO, CELIDEA              710 N RUSSEL ST                                                                                 MT PROSPECT       IL 60056‐2030
SPL CO LTD                   1191 6 SHINSANG RI             JILLYANG EUP                             KYUNGSAN KYONGBUK 712
                                                                                                     838 KOREA (REP)
SPLAN JR, WILLIAM J          1435 LIBERTY LN                                                                                 JANESVILLE        WI   53545‐1280
SPLAN, JAMES M               3760 WILDFLOWER LN                                                                              JANESVILLE        WI   53548‐8532
SPLAN, JAMES S               PO BOX 183                                                                                      JANESVILLE        WI   53547‐0183
SPLAN, JOAN M                153 PEPPERELL AVE                                                                               HOUGHTON LAKE     MI   48629‐8900
SPLAN, JOHN R                9902 E BRADFORD TOWN HALL RD                                                                    AVALON            WI   53505‐9555
SPLAN, LYLE A                1040 S PEARCE ST                                                                                OWOSSO            MI   48867‐4342
SPLAN, PAUL T                1396 BYNAN LN APT 303                                                                           PONTIAC           MI   48340‐2199
SPLAN, PAUL TIMOTHY          1396 BYNAN LN APT 303                                                                           PONTIAC           MI   48340‐2199
SPLAN, RONALD W              7832 S LATHERS RD                                                                               BELOIT            WI   53511‐7804
SPLAN, STEPHANIE M           3024 SLEAFORD DR                                                                                WATERFORD         MI   48329‐3349
SPLAN, TANJORE E             1703 ASHLAND AVE                                                                                BELOIT            WI   53511‐3714
SPLAN, WILLIAM J             9902 E BRADFORD TOWN HALL RD                                                                    AVALON            WI   53505‐9555
SPLAND INTERNATIONAL INC     6335 WILLOW CREEK DR                                                                            CANTON            MI   48187‐3366
SPLAND INTERNATIONAL INC     15 NUTMEG KNOLL CT             APT E                                                            COCKEYSVILLE      MD   21030‐4332
SPLAND INTERNATIONAL INC     WENDY XIA                      15355 OAKWOOD DR                                                 ROMULUS           MI   48174‐3611
SPLAND INTERNATIONAL, INC.   WENDY XIA                      15355 OAKWOOD DR                                                 LAREDO            TX   78045
SPLANE, DONALD E             1415 WATER ST                                                                                   SPRINGFIELD       OR   97477‐2904
SPLANE, J R                  2721 SWAN COVE                                                                                  KENTWOOD          MI   49512
SPLASH ENTERRAINMENT &       30 FIFTH ST                                                             TORONTO ON M8V 2Z2
COMMUNICATIO                                                                                         CANADA
SPLATT, CATHERINE M          10 ASHLEIGH CT                                                                                  LANSING           MI   48906‐1540
SPLATT, CATHERINE M          29228 MANCHESTER ST                                                                             WESTLAND          MI   48185
SPLATT, CHARLOTTE B          522 VERNON WOODS                                                                                GLEN MILLS        PA   19342‐3316
SPLATT, GORDON D             PO BOX 80241                                                                                    LANSING           MI   48908‐0241
SPLEAR, JAMES R              8585 PINE POINT DR                                                                              NEWAYGO           MI   49337‐9207
SPLEET, MICHAEL C            13101 VILLAGE CT                                                                                CLIO              MI   48420‐8263
SPLEET, RONALD C             8141 GERALD AVE                                                                                 WARREN            MI   48093‐7102
SPLETSTOSER, JUDY L          8009 NORTH STODDARD AVENUE                                                                      KANSAS CITY       MO   64152‐2000
SPLETT, CONSTANCE J          7411 QUEEN AVE S                                                                                RICHFIELD         MN   55423‐3562
SPLETZER, MARY JO            3225 NEWTON TOMLINSON RD SW                                                                     WARREN            OH   44481‐9218
SPLETZER, PAUL J             3225 NEWTON TOMLINSON RD SW                                                                     WARREN            OH   44481‐9218
SPLINE GAUGES                PICCADILLY TAMWORTH            B78 2ER                                  STAFFORDSHIRE GREAT
                                                                                                     BRITAIN
SPLINTER JR, FRANK J         202 NORTH WUTHERING HILLS DR                                                                    JANESVILLE        WI 53546‐2163
SPLINTER UNIONS
SPLINTER, DONALD B           6648 BENDELOW DR                                                                                LAKELAND          FL   33810‐4818
SPLINTER, GERALD W           2407 RIDGEWOOD DR                                                                               FRIENDSHIP        WI   53934‐9337
SPLINTER, JANET E            1515 ARBUTUS ST                                                                                 JANESVILLE        WI   53546‐6141
SPLINTER, KATHY‐JO           2204 MORELAND DR                                                                                JANESVILLE        WI   53548‐0154
SPLINTER, KENNETH C          1612 DAYTON DR                                                                                  JANESVILLE        WI   53546‐1474
SPLINTER, LARRY A            2204 MORELAND DR                                                                                JANESVILLE        WI   53548‐0154
SPLINTER, MARGARET L         1905 RUGER AVE                                                                                  JANESVILLE        WI   53545‐2654
                                         09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                                     Address1                        Address2                       Address3   Address4         City            State Zip
SPLINTER, RICHARD A                      1709 BILLY DR                                                                              FORT WAYNE       IN 46818‐9516
SPLINTER, RICHARD ADELBERT               1709 BILLY DR                                                                              FORT WAYNE       IN 46818‐9516
SPLIT ROCK/LK HARMNY                     PO BOX 567                                                                                 LAKE HARMONY     PA 18624‐0567
SPLITTER, DONALD W                       129 CHERRY ST                                                                              EDGERTON         WI 53534‐1303
SPLITTER, PAUL W                         915 ROBERT ST                                                                              EDGERTON         WI 53534‐1329
SPLITTER, SHERRY L                       1421 MYRA AVE                                                                              JANESVILLE       WI 53548‐0195
SPLUDE, DANNIE C                         782 LAWTON CT                                                                              ROCHESTER HLS    MI 48307‐3016
SPLUDE, ROGER C                          715 E BEVERLY AVE                                                                          PONTIAC          MI 48340‐2914
SPO
SPO ‐ CERTIFIED CL LTR ‐ TACOM DISPUTE   NO ADVERSE PARTY

SPO ‐ DRAYTON‐PLAINS MI ‐ BARREL STOR
CLOSURE LIT
SPO ‐ FLINT MI ‐ SWARTZ‐CREEK ‐ MARINE   NO ADVERSE PARTY
POLLN CONTROL
SPO ‐ NAACP                              PARKER, WALLACE
SPO DIVISION FORT WORTH PARTS            100 FREEDOM DR                                                                             ROANOKE          TX   76262‐3300
DISTRIBUTION CENTER
SPO DIVISION FORT WORTH PARTS            ATTN: GENERAL COUNSEL           109 C BELLVUE                                              FORT WORTH       TX   76134
DISTRIBUTION CENTER
SPO DRAYTON PLAINS                       5260 WILLIAMS LAKE RD                                                                      WATERFORD       MI    48329‐3556
SPO FORT WORTH GROUP/DIVISION            ATTN: GENERAL COUNSEL           109 C BELLVUE                                              FORT WORTH      TX    76134
SPO FORT WORTH GROUP/DIVISION            100 FREEDOM DR                                                                             ROANOKE         TX    76262‐3300
SPO GMP CHOICE PARTS 2001                CHOICE PARTS, LLC               8000 SEARS TOWER , 233 SOUTH                               CHICAGO         IL    60606‐6404
                                                                         WACKER DRIVE
SPO GMP KM2 LTD DBA STINGER MACK         NO ADVERSE PARTY
ACCESSORIES INC 2006 EF
SPO PONTIAC                              670 W WALTON BLVD                                                                          PONTIAC         MI    48340‐1051
SPO PONTIAC MANAGEMENT                   ATTN: GENERAL COUNSEL           670 E WALTON BLVD                                          PONTIAC         MI    48340‐1359
SPOCK GEORGE (501737)                    WILENTZ GOLDMAN & SPITZER       PO BOX 10                                                  WOODBRIDGE      NJ    07095‐0958
SPOCK, GEORGE                            WILENTZ GOLDMAN & SPITZER       PO BOX 10                                                  WOODBRIDGE      NJ    07095‐0958
SPODAR, EDWARD W                         5189 LONGTON RD                                                                            LYNDHURST       OH    44124‐2749
SPODAR, RONALD P                         13425 SILICA RD                                                                            NORTH JACKSON   OH    44451‐9606
SPODNEY, CAROL L                         4288 MOUNT VERNON PASS                                                                     SWARTZ CREEK    MI    48473‐8240
SPODNEY, FRANK J                         G‐9481 W COLDWATER RD                                                                      FLUSHING        MI    48433
SPODNEY, IDELL D                         G‐9481 W COLDWATER RD                                                                      FLUSHING        MI    48433‐1077
SPOELMAN, MARGARET G                     3221 BROOKSHIRE DR SE                                                                      GRAND RAPIDS    MI    49508‐2421
SPOELSTRA
SPOELSTRA, ROBERT L                      1289 OLEAN ROAD                                                                            SOUTH WALES     NY    14139
SPOENEMAN, MARIE A                       315 N MERAMEC AVE APT 32                                                                   CLAYTON         MO    63105‐3796
SPOERING, CHARLOTTE C                    188 COUNTY LINE ROAD                                                                       DEERFIELD       MI    49238
SPOERING, CHARLOTTE C                    188 N COUNTY LINE HWY                                                                      DEERFIELD       MI    49238‐9627
SPOERL CHEVROLET COMPANY                 JOHN SPOERL                     5026 SHERRILL RD                                           SHERRILL        IA    52073‐9609
SPOERL CHEVROLET COMPANY                 5026 SHERRILL RD                                                                           SHERRILL        IA    52073‐9609
SPOERL'S PONTIAC‐CADILLAC                RTE 36 CORRIGANVILLE                                                                       CUMBERLAND      MD    21502
SPOERL, EUGENE P                         2671 URMSTON AVE                                                                           HAMILTON        OH    45011‐5077
SPOERL, STEVEN S                         2721 SADDLEBACK DR                                                                         LANCASTER       PA    17603‐4152
SPOERR, JAMES C                          4401 TOWNLINE ROAD 79                                                                      GREENWICH       OH    44837‐9312
SPOERR, STEPHANIE K                      1128 NILES CORTLAND RD NE                                                                  WARREN          OH    44484‐1007
SPOGLI JR, ATTILIO L                     4659 LAKEVIEW MEWS DR                                                                      BOYNTON BEACH   FL    33437
SPOGLI, ANGELINE                         5649 LAKEVIEW MEWS DR                                                                      BOYNTON BEACH   FL    33437‐1508
SPOGLI, ROSS A                           3455 BIG RIDGE RD                                                                          SPENCERPORT     NY    14559
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Name                   Address1                           Address2          Address3        Address4         City             State Zip
SPOHN BRIAN            17239 HICKORY RIDGE ROAD                                                              HOLLY             MI 48442‐8358
SPOHN JEFFREY C        SPOHN, JEFFREY C                   30 E BUTLER AVE                                    AMBLER            PA 19002‐4514
SPOHN JR, DANIEL M     PO BOX 28                                                                             SWARTZ CREEK      MI 48473‐0028
SPOHN JR, JOHN J       131 E GATES ST                                                                        COLUMBUS          OH 43206‐3623
SPOHN NICHOLE          SPOHN, NICHOLE                     127 NORTH BLVD.                                    DELAND            FL 32720
SPOHN NICHOLE          SPOHN, TIMOTHY                     127 NORTH BLVD.                                    DELAND            FL 32720
SPOHN, ALBERTHA M      135 IDLEWOOD ACRES RD                                                                 POMONA PARK       FL 32181
SPOHN, ANNABELLE M     201 SUMTER ST APT F                                                                   CLOVER            SC 29710‐1172
SPOHN, BRIAN           17239 HICKORY RIDGE RD                                                                HOLLY             MI 48442‐8358
SPOHN, BRUCE L         10915 E GOODALL RD UNIT 111                                                           DURAND            MI 48429‐9608
SPOHN, CHARLES J       9288 ELAINE DR                                                                        SWARTZ CREEK      MI 48473‐8529
SPOHN, CHRIS M         5303 DUNSTER RD                                                                       GRAND BLANC       MI 48439
SPOHN, CINDY L         680 E MOLER ST                                                                        COLUMBUS          OH 43207
SPOHN, CLAIR L         7799 SW SCHOLLS FERRY RD APT 224                                                      BEAVERTON         OR 97008‐6508
SPOHN, CLARE B         G 9216 N IRISH RD                                                                     MT MORRIS         MI 48458‐9715
SPOHN, CLARE B         292 SMITH ST                       APT 123                                            CLIO              MI 48420‐1388
SPOHN, CRAIG B         7146 MILLER RD                                                                        SWARTZ CREEK      MI 48473‐1534
SPOHN, CRAIG BURTON    7146 MILLER RD                                                                        SWARTZ CREEK      MI 48473‐1534
SPOHN, DEBRA S         130 N BOULEVARD CT                                                                    DELAND            FL 32720
SPOHN, DORIS R         1323 N WALNUT ST                                                                      LANSING           MI 48906‐4753
SPOHN, DUANE C         12285 STANLEY RD                                                                      FLUSHING          MI 48433‐9206
SPOHN, ELIZABETH A     217 1/2 W HENRY ST APT A                                                              FLUSHING          MI 48433‐1506
SPOHN, GAIL A          357 HOWLAND WILSON RD NE                                                              WARREN            OH 44484‐2026
SPOHN, GEORGE E        756 DEER LN                                                                           GLADWIN           MI 48624‐8368
SPOHN, GREGORY L       9900 DOUGLAS RD                                                                       TEMPERANCE        MI 48182‐9632
SPOHN, GREGORY LYNNE   9900 DOUGLAS RD                                                                       TEMPERANCE        MI 48182‐9632
SPOHN, JAMES M         13470 IRISH RD                                                                        MILLINGTON        MI 48746‐9246
SPOHN, JAMES MICHAEL   13470 IRISH RD                                                                        MILLINGTON        MI 48746‐9246
SPOHN, JEAN J          5767 NW ZENITH DR                                                                     PORT ST LUCIE     FL 34986‐3529
SPOHN, JEAN J          5767 ZENITH NW                                                                        PORT ST. LUCIE    FL 34986‐3529
SPOHN, JEFFREY L       2320 W CARLETON RD                                                                    ADRIAN            MI 49221‐9735
SPOHN, JEREMY J        2740 CHAPEL CREEK DR                                                                  LAMBERTVILLE      MI 48144‐9497
SPOHN, JOAHNE L        138 E GATES ST                                                                        COLUMBUS          OH 43206‐3624
SPOHN, JOAN            3747 HAINES RD                                                                        ATTICA            MI 48412
SPOHN, JOHN R          217 1/2 A W HENRY                                                                     FLUSHING          MI 48433
SPOHN, KENNETH         1743 HORIZON DRIVE                                                                    IONIA             MI 48846‐2027
SPOHN, LARRY E         615 CRAWFORD ST                                                                       FLINT             MI 48507‐2458
SPOHN, LARRY EARL      615 CRAWFORD ST                                                                       FLINT             MI 48507‐2458
SPOHN, LYNN A          11235 SHARP RD                                                                        LINDEN            MI 48451‐8919
SPOHN, MARK D          8397 INDIAN MOUND DR                                                                  HUBER HEIGHTS     OH 45424‐1365
SPOHN, MARK J          8131 DIANE DR                                                                         PORTLAND          MI 48875‐9791
SPOHN, MARVIN D        1323 N WALNUT ST                                                                      LANSING           MI 48906‐4753
SPOHN, MICHAEL W       8938 WATERTON PL                                                                      FISHERS           IN 46038‐4512
SPOHN, MYRA            11119 ARMSTRONG N                                                                     SAGINAW           MI 48609
SPOHN, NICHOLE         127 N BOULEVARD CT                                                                    DELAND            FL 32720‐2201
SPOHN, NICHOLE
SPOHN, RANDALL L       5626 SAMARIA RD                                                                       OTTAWA LAKE      MI    49267‐9729
SPOHN, SHIRLEY A       243 WYANDOTTE ROAD                                                                    FAIRLESS HILL    PA    19030‐3231
SPOHN, THOMAS F        850 TAYLOR BLAIR RD                                                                   W JEFFERSON      OH    43162‐9554
SPOHN, TIMOTHY         505 ROYAL PALM DR                                                                     DELAND           FL    32724‐7885
SPOHN, TIMOTHY
SPOHN, TIMOTHY F       525 E CHURCH ST APT A                                                                 DELAND            FL   32724
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Name                            Address1                              Address2                        Address3   Address4         City                 State Zip
SPOHN, TIMOTHY J                6410 SPRINGDALE BLVD                                                                              GRAND BLANC           MI 48439‐8551
SPOHN, WILLIAM G                308 KNOLLVIEW DR                                                                                  JANESVILLE            WI 53548‐6303
SPOHN, WILLIAM P                3747 HAINES RD                                                                                    ATTICA                MI 48412‐9306
SPOHR JR, JOSEPH C              2101 S YELLOW WOOD UNIT 47                                                                        MESA                  AZ 85209‐1488
SPOHR, GALE B                   2373 E CLEARVIEW DR                                                                               ADRIAN                MI 49221‐3678
SPOHRER, TIMOTHY L              4608 FRANCES ST                                                                                   SHREVEPORT            LA 71129‐2620
SPOKANE CITY TREASURER          STREET LEVEL MUNICIPAL BLDG                                                                       SPOKANE               WA 99213
SPOKANE COUNTY DISTRICT COURT   1100 W MALLON AVE                                                                                 SPOKANE               WA 99260‐0150
PARKING VIOLATIONS BUREAU
SPOKANE COUNTY TAX COLLECTOR    PO BOX 199                                                                                        SPOKANE              WA 99210‐0199
SPOKANE COUNTY TREASURER        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 199                                                 SPOKANE              WA 99210‐0199

SPOKANE COUNTY TREASURER        PO BOX 199                                                                                        SPOKANE              WA   99210‐0199
SPOKAS, VIOLETA M               406 LOTHROP RD                                                                                    GROSSE POINTE        MI   48236‐3248
SPOKONY, KARL H                 154 BAXTON CIR                                                                                    ROCHESTER            NY   14625‐1202
SPOLAR, RAYMOND G               6606 WESTERN AVENUE                                                                               WILLOWBROOK          IL   60527‐1879
SPOLARICH, GENEVIEVE            5360 TIMBERWOOD POINT DR.                                                                         FLINT                MI   48532‐2266
SPOLARICH, LAVERN H             13202 FRANDSCHE RD                                                                                CHESANING            MI   48616‐9440
SPOLESNICK, ROBERT J            5141 W. RILEY RD. #3                                                                              OWOSSO               MI   48867
SPOLITBACK, ALEXANDER           101 SUMMIT ST                                                                                     GLASSBORO            NJ   08028‐3289
SPOLTORE, ORIANO P              4403 FIELDING RD                                                                                  WILMINGTON           DE   19802‐1101
SPOLVERINO MARGARET             6 SHADY LN                                                                                        RHINEBECK            NY   12572‐1019
SPOMER, EDGAR W                 9248 NAVAJO TRL                                                                                   FLUSHING             MI   48433‐1021
SPON, MARY                      76 RIVERDALE AVE                                                                                  BUFFALO              NY   14207‐1037
SPONAUGLE JR, RICHARD M         1920 BEECH ST                                                                                     BEL AIR              MD   21015‐1538
SPONAUGLE PAUL C (460540)       ANGELOS PETER G                       100 N CHARLES STREET , ONE                                  BALTIMORE            MD   21201
                                                                      CHARLES CENTER
SPONAUGLE, PAUL C               ANGELOS PETER G                       100 N CHARLES STREET, ONE                                   BALTIMORE            MD 21201
                                                                      CHARLES CENTER
SPONCICHETTI ANDREA             VIA NERCHIA 78                        LOC. S.LAZZARO                                              SARZANA                   19038
SPONDIKE, KEITH E               1335 KENSINGTON AVE                                                                               GROSSE POINTE PARK   MI   48230‐1103
SPONDIKE, THERESA P             12 ELEVEN STREET                                                                                  NILES                OH   44446
SPONG, ARTHUR G                 7792 FOSDICK RD                                                                                   SALINE               MI   48176‐8815
SPONG, JOSEPHINE A              925 MEDFORD CT                                                                                    ROCHESTER HILLS      MI   48307‐3089
SPONKOWSKI, BRIAN J             37941 MAST CT                                                                                     HARRISON TWP         MI   48045‐2743
SPONKOWSKI, BRIAN JOSEPH        37941 MAST CT                                                                                     HARRISON TWP         MI   48045‐2743
SPONKOWSKI, HENRY W             21936 LAKELAND ST                                                                                 ST CLAIR SHRS        MI   48081‐2221
SPONSELLER GROUP INC            1600 TIMBER WOLF DR                                                                               HOLLAND              OH   43528‐8303
SPONSELLER WARREN (447896)      BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD           OH   44067
                                                                      PROFESSIONAL BLDG
SPONSELLER, EDWARD J            45609 HOLMES DR                                                                                   CANTON               MI   48187‐1614
SPONSELLER, JAMES W             272 GUNDER CT                                                                                     ROCHESTER HILLS      MI   48309‐1231
SPONSELLER, LYDIA C             2609 BLACK OAK DR.                                                                                NILES                OH   44446‐4456
SPONSELLER, MARIE F             272 GUNDER CT                                                                                     ROCHESTER HILLS      MI   48309‐1231
SPONSELLER, NORMA M             2711 HELEN PL NW                                                                                  CANTON               OH   44708‐3055
SPONSELLER, SCOTT L             22 SHERWOOD RD                                                                                    WORCESTER            MA   01602
SPONSELLER, WARREN              BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD           OH   44067
                                                                      PROFESSIONAL BLDG
SPONSKI, EUGENE E               20146 BALFOUR ST                                                                                  HARPER WOODS         MI   48225‐1735
SPONSLER BILL                   SPONSLER, BILL                        12122 TESSON FERRY RD STE 101                               SAINT LOUIS          MO   63128‐1772
SPONSLER, DAVID L               PO BOX 534                                                                                        VIENNA               OH   44473‐0534
SPONSLER, DONALD E              7831 ALLISON AVE                                                                                  DAYTON               OH   45415‐2202
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Name                     Address1                         Address2                      Address3   Address4            City               State Zip
SPONSLER, HARRY M        PO BOX 189                                                                                    VANDALIA            OH 45377‐0189
SPONSLER, JESSE W        18 CARIBOU CT                                                                                 SAINT PETERS        MO 63376‐4503
SPONSLER, JOHN C         7831 ALLISON AVE                                                                              DAYTON              OH 45415‐2202
SPONSLER, PEGGIE M       14337 KARNES RD RR 5                                                                          DEFIANCE            OH 43512
SPONSLER, ROBERT L       6180 MARTHA DR                                                                                CORTLAND            OH 44410‐9715
SPONSLER, ROBERT L       14337 KARNES RD                                                                               DEFIANCE            OH 43512‐8622
SPONSORSHIP REPORT THE   785 CARLAW AVE STE 201                                                    TORONTO CANADA ON
                                                                                                   M4K 3L1 CANADA
SPONSORSOURCE INC        200 ORCHARD RIDGE DR STE 215                                                                  GAITHERSBURG       MD   20878‐1978
SPONTACK EDWARD          440 BEDFORD DR                                                                                WESTLAND           MI   48185‐3487
SPONZA, PORFELIA L       149 WALKER LANE                                                                               LAWERENCEBURG      KY   40342‐1720
SPOO, ROXANNE W          3069 E CHAPEL RD                                                                              ANDERSON           IN   46012‐9412
SPOO, ROXANNE W          3069 CHAPEL RD                                                                                ANDERSON           IN   46012‐9412
SPOO, WILLIAM P          1706 LORA ST                                                                                  ANDERSON           IN   46013‐2742
SPOOLSTRA, LEE D         3910 WALKER AVE NW                                                                            GRAND RAPIDS       MI   49544‐9106
SPOOLSTRA, VIRGINIA M    8260 ROCKLEDGE WAY                                                                            BYRON CENTER       MI   49315‐8475
SPOON                    PO BOX 18684                                                                                  OKLAHOMA CITY      OK   73154‐0684
SPOON JOE R (360282)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510
                                                          STREET, SUITE 600
SPOON, BEVERLY J         2105 S 300 W                                                                                  KOKOMO             IN   46902‐4672
SPOON, CARL R            807 SHEPHERDS WAY                                                                             GREENWOOD          IN   46143‐7258
SPOON, FRANKLIN L        228 E MAIN ST                                                                                 PITTSBORO          IN   46167‐9161
SPOON, HENRY F           6241 BAYVIEW STA                                                                              NEWFANE            NY   14108‐9702
SPOON, JAMES R           227 N UNION RD                                                                                WILLIAMSVILLE      NY   14221‐5366
SPOON, JOE R             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510
                                                          STREET, SUITE 600
SPOON, MARGARET J        228 E MAIN ST                                                                                 PITTSBORO          IN   46167‐9161
SPOON, MINNIE I          318 PINE ST                                                                                   LOCKPORT           NY   14094‐4929
SPOON, MINNIE I          318 PINE STREET                                                                               LOCKPORT           NY   14094‐4929
SPOON, PATRICIA A        6241 BAYVIEW STATION                                                                          NEWFANE            NY   14108‐9702
SPOON, SUE               827 CREW AVE                                                                                  GALION             OH   44833‐3244
SPOONAMORE, BERNIS O     101 HARDWOOD TRL                                                                              BURKESVILLE        KY   42717‐9228
SPOONAMORE, JEFFREY L    3492 W 300 S                                                                                  TRAFALGAR          IN   46181‐8939
SPOONDER, DAVID          2580 WARWICK ST                                                                               WEST LINN          OR   97068‐3850
SPOONEMORE, WILMORE D    BOONE ALEXANDRA                  205 LINDA DR                                                 DAINGERFIELD       TX   75638‐2107
SPOONER & SHAFT PT       PO BOX 53552                                                                                  PHOENIX            AZ   85072‐3552
SPOONER BRETT A          SPOONER, BRETT
SPOONER JR, CECIL R      957 ROSS CT                                                                                   STONE MTN          GA   30087‐2950
SPOONER JR, LEONARD T    PO BOX 162                                                                                    LESLIE             MI   49251‐0162
SPOONER JR, WALTER R     5823 VIRAMAR RD                                                                               TOLEDO             OH   43611‐1035
SPOONER MELANIE          2323 FINLEY AVE                                                                               RIVER GROVE        IL   60171
SPOONER SALES INC        4072 N DORT HWY                                                                               FLINT              MI   48506‐2333
SPOONER, CLAUDE D        177 LAGUNA LANDING DR                                                                         HENDERSON          NV   89002‐9196
SPOONER, DAVID F         1507 W KINLEY RD                                                                              SAINT JOHNS        MI   48879‐9085
SPOONER, DOUGLAS A       797 DAVEY COX RD                                                                              MITCHELL           IN   47446‐7409
SPOONER, DOUGLAS ALAN    797 DAVEY COX RD                                                                              MITCHELL           IN   47446‐7409
SPOONER, EARLINE K       18972 GRANDVIEW BCH. RD                                                                       WARSAW             MO   65355‐6767
SPOONER, ETHEL           23931 COTTRELL RD                                                                             CLINTON TOWNSHIP   MI   48035‐3813
SPOONER, H F             2610 WILLOWBROOK DR                                                                           WEST BRANCH        MI   48661
SPOONER, HELEN K         7913 EISENHOWER BLVD.                                                                         BRIDGEPORT         NY   13030‐9407
SPOONER, JOAN C          2244 PIONEER DR                                                                               BELOIT             WI   53511‐2547
SPOONER, JODY L          148 MCINTYRE RD                                                                               OGDENSBURG         NY   13669
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Name                       Address1                      Address2                      Address3   Address4         City               State Zip
SPOONER, JODY LYNN         148 MCINTYRE RD                                                                         OGDENSBURG          NY 13669
SPOONER, JUDY A            1507 W KINLEY RD                                                                        SAINT JOHNS         MI 48879‐9085
SPOONER, LARRY G           2730 E 100 N                                                                            TIPTON              IN 46072‐8874
SPOONER, MARILYN           10835 WEST BEACH PARKWAY                                                                LAKE WALES          FL 33898‐8335
SPOONER, MARILYN           10835 W BEACH PKWY                                                                      LAKE WALES          FL 33898‐8335
SPOONER, MICHAEL A         12865 STATE RD                                                                          LESLIE              MI 49251‐9622
SPOONER, MICHAEL ANTHONY   12865 STATE RD                                                                          LESLIE              MI 49251‐9622
SPOONER, NEIL J            PO BOX 613                                                                              BYRON                IL 61010‐0613
SPOONER, NEIL JAMES        PO BOX 613                                                                              BYRON                IL 61010‐0613
SPOONER, RAYMOND           2012 TERRY CT                                                                           BELOIT              WI 53511‐2048
SPOONER, RICHARD D         1444 W TERRITORIAL RD                                                                   RIVES JUNCTION      MI 49277‐9717
SPOONER, ROBERT M          7913 EISENHOWER BLVD                                                                    BRIDGEPORT          NY 13030‐9407
SPOONER, RONALD D          611 KING ST                                                                             OGDENSBURG          NY 13669‐1016
SPOONER, RONALD H          10180 N DR S                                                                            BURLINGTON          MI 49029‐9747
SPOONER, THERON            PORTER & MALOUF PA            4670 MCWILLIE DR                                          JACKSON             MS 39206‐5621
SPOONER, TIM A             10835 WEST BEACH PARKWAY                                                                LAKE WALES          FL 33898‐8335
SPOONER, VIOLET M          10225 JAQUAY RD                                                                         COLUMBIA STATION    OH 44028‐8616
SPOONER, VIOLET M          10225 JAQUAY ROAD                                                                       COLUMBIA STATION    OH 44028‐8616
SPOONER, WILLIAM H         64 CENTER ST APT 5                                                                      MASSENA             NY 13662‐1403
SPOONHOUR, JOHN F          26429 SANDPIPER DR            RIVER BREEZE                                              MILLSBORO           DE 19966‐4571
SPOONHOWARD, HAROLD R      115 ROUNDABOUT ROAD                                                                     SOUTHERN PINES      NC 28387
SPOONHOWARD, STEVEN P      1311 N MANOR DR                                                                         MARION              IN 46952‐1935
SPOONMORE RON & SUE        2800 E CHESTERFIELD LN                                                                  MUNCIE              IN 47303‐9159
SPOONMORE, ROBERT T        10338 OAK RIDGE DR                                                                      ZIONSVILLE          IN 46077
SPOONMORE, RONALD G        2800 E CHESTERFIELD LN                                                                  MUNCIE              IN 47303‐9159
SPOONMORE, WILLIAM H       15650 OLD DAYTON RD                                                                     NEW LEBANON         OH 45345‐9212
SPOOR WILLIAM A (352424)   GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                         STREET, SUITE 600
SPOOR, CLARA J             4737 W OREGON RD                                                                        LAPEER             MI   48446‐7779
SPOOR, JAMES R             13750 WOODEND RD                                                                        BONNER SPRINGS     KS   66012‐1368
SPOOR, JOAN L              127 E RIVER RD                                                                          FLUSHING           MI   48433‐2179
SPOOR, PRICE M             3300 N DUCK LAKE RD                                                                     HIGHLAND           MI   48356‐2330
SPOOR, REX J               3008 S REED RD                                                                          DURAND             MI   48429‐9004
SPOOR, WILLIAM A           GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                         STREET, SUITE 600
SPOORS, BETTY J            6659 LEISURE WAY DR           SE                                                        CALEDONIA          MI   49316
SPORE CHARLES L (512521)   PAUL REICH & MYERS P.C.       1608 WALNUT ST STE 500                                    PHILADELPHIA       PA   19103‐5446
SPORE, CHARLES L           PAUL REICH & MYERS P.C.       1608 WALNUT ST STE 500                                    PHILADELPHIA       PA   19103‐5446
SPORE, KENNETH E           1417 CHERRYLAWN ST                                                                      OWOSSO             MI   48867‐1201
SPORER, FRANK A            11630 SW 150TH ST                                                                       DUNNELLON          FL   34432‐6825
SPORIK, ELIZABETH L        7000 BELCLARE RD                                                                        BALTIMORE          MD   21222‐5904
SPORIN, BILLIE J           PO BOX 483                                                                              HOPEWELL JCT       NY   12533‐0483
SPORK, JOSEPH S            36333 GARFIELD RD APT 210                                                               CLINTON TOWNSHIP   MI   48035‐1181
SPORLE, SHERMAN L          1 N ROSA RD                                                                             MADISON            WI   53705‐4434
SPORMAN, DELORIS T         915 S MCLELLAN ST                                                                       BAY CITY           MI   48708‐7592
SPORMAN, DELORIS T         1568 SAINT MARYS COURT                                                                  ESSEXVILLE         MI   48732‐1565
SPORMAN, MICHAEL R         5594 MICHAEL DR                                                                         BAY CITY           MI   48706‐3113
SPORMAN, ROSALIE A         5171 WYNDEMERE COMMONS                                                                  SWARTZ CREEK       MI   48473
SPORMAN, SYLVIA A          6185 MUIRHEAD DR                                                                        BAY CITY           MI   48706‐8307
SPORMAN, THERESA I         3052 CREEKWOOD CIRCLE                                                                   BAY CITY           MI   48706‐5624
SPORRE, JAMES R            GENERAL DELIVERY                                                                        KALKASKA           MI   49646‐9999
SPORRE, JEFF A             8515 GERMANTOWN RD                                                                      WEST ALEXANDRIA    OH   45381‐9505
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SPORRE, STEVE D                       565 N JOHNSVILLE BROOKVILLE RD                                                                           NEW LEBANON        OH 45345‐5345
SPORS, LESLIE R                       10543 N OAKWAY LN                                                                                        EDGERTON           WI 53534‐8929
SPORS, ROBERT G                       2009 CLOVER LN                                                                                           JANESVILLE         WI 53545‐0623
SPORT CARRIER/CORONA                  2380 RAILROAD ST STE 102                                                                                 CORONA             CA 92880‐5471
SPORT CARRIERS INC                    2380 RAILROAD ST STE 102                                                                                 CORONA             CA 92880‐5471
SPORT CARRIERS INC                                                     2380 RAILROAD                                                                              CA 91720
SPORT CHEVROLET COMPANY, INC.         3101 AUTOMOBILE BLVD                                                                                     SILVER SPRING      MD 20904‐4902
SPORT CHEVROLET COMPANY, INC.         ROBERT FOGARTY                   3101 AUTOMOBILE BLVD                                                    SILVER SPRING      MD 20904‐4902
SPORT CHEVROLET COMPANY, INC.                                                                                                                  SILVER SPRING      MD 20904‐4999
SPORT REHAB PHYSICAL                  5102 TRANSIT RD                                                                                          DEPEW              NY 14043‐4465
SPORT UTILITY VEHICLE OWNERS OF       1 THOMAS CIR NW FL 10                                                                                    WASHINGTON         DC 20005‐5816
AMERICA
SPORTCOACH CORPORATION
SPORTELLI, LYNN F                     17312 EUCLID ST                                                                                          FOUNTAIN VALLEY   CA    92708
SPORTELLI, NICHOLAS R                 15442 MALLORY COURT                                                                                      MOORPARK          CA    93021‐3252
SPORTELLI, NICHOLAS ROBERT            15442 MALLORY COURT                                                                                      MOORPARK          CA    93021‐3252
SPORTELLI, THOMAS C                   2368 EVA LYNN CIR                                                                                        RIVERTON          UT    84065‐3142
SPORTPAINT INC                        7905 NATIONAL TPKE                                                                                       LOUISVILLE        KY    40214‐4903
SPORTRACK AUTOMOTIVE                  JEFF BECKER                      12900 HALL RD STE 200                                                   STERLING HTS      MI    48313‐1150
SPORTRACK AUTOMOTIVE                  JEFF BECKER                      PORT HURON PLT               2655‐16TH ST.                              FREMONT           IN
SPORTRACK/GRANBY                      700 BERNARD                                                                         GRANBY QB J2G 9H7
                                                                                                                          CANADA
SPORTS & ORTHOPAEDIC                  8100 W 78TH ST STE 225                                                                                   EDINA             MN 55439‐2569
SPORTS & SPECIALIST CARS
SPORTS & SPECIALIST CARS INC
SPORTS AUTHORITY                      1050 W HAMPDEN AVE                                                                                       ENGLEWOOD         CO 80110‐2118
SPORTS AUTHORITY                      MIKE MAVELLE                     1050 W. HAMDEN                                                          ENGLEWOOD         CO
SPORTS CAR CENTRE OF SYRACUSE LTD     3105 ERIE BLVD E                                                                                         SYRACUSE          NY 13214‐1201
SPORTS CAR CENTRE OF SYRACUSE, LTD.   WELLER, PAUL J                   3105 ERIE BLVD E                                                        SYRACUSE          NY 13214‐1201

SPORTS CAR CLUB OF AMERICA            PO BOX 19400                     300 B ST FORBES FIELD                                                   TOPEKA             KS   66619‐0400
SPORTS CAR CLUB OF AMERICA INC        PO BOX 1833                                                                                              TOPEKA             KS   66601‐1833
SPORTS CAR CLUB OF AMERICA, INC.
SPORTS MED & ORTHO O                  155 S MAIN ST                                                                                            MANCHESTER        CT    06040‐6527
SPORTS MED CTR OF ME                  5600 CROOKS RD STE 103                                                                                   TROY              MI    48098‐2803
SPORTS MEDIA ADVISORS LLC             333 E MAIN ST STE 200                                                                                    LOUISVILLE        KY    40202‐1255
SPORTS MEDICINE CTR OF ME             5600 CROOKS RD STE 103                                                                                   TROY              MI    48098‐2803
SPORTS MEDICINE INST                  DBA JOAN BOESEL PT               1070F N BATAVIA 519                                                     ORANGE            CA    92867
SPORTS MEDICINE JEFF                  317 SEVEN SPRINGS WAY STE 101                                                                            BRENTWOOD         TN    37027‐4576
SPORTS PHYSICIANS PC                  1950 E WATTLES RD STE 110                                                                                TROY              MI    48085‐5099
SPORTS PT OF NY PC                    6319 FLY RD STE 3                                                                                        EAST SYRACUSE     NY    13057‐4247
SPORTS RADIO/100 PT 1 THE FAN         WWFN‐FM/WHSC‐AM                  PO BOX 643147                                                           CINCINNATI        OH    45264‐3147
SPORTS SOFTWARE                       34 BURROUGHS DR                                                                                          SNYDER            NY    14226‐3901
SPORTS VINTAGE/NH                     1 MAPLE ST                                                                                               HANOVER           NH    03755‐2007
SPORTSFOCUS PHYSICAL                  3940 CALIFORNIA RD                                                                                       ORCHARD PARK      NY    14127‐2275
SPORTSMAN'S ADVENTURES                MR. RICK MURPHY                  6000 SW 80TH STREET, SOUTH                                              MIAMI             FL    33143
                                                                       MIAMI
SPORTSMED HUNTSVILLE                  4715 WHITESBURG DR S                                                                                     HUNTSVILLE        AL 35802‐1632
SPORTSMENS DOG TRAINING CLUB OF       SDTC                             ATTN M KRNACIK TREAS         11465 CANTERBURY DR                        STERLING HTS      MI 48312
DETROIT INC
SPORTSWEAR PROMOTIONS INC             98 BELINDA PKWY                                                                                          MOUNT JULIET      TN 37122‐3600
SPOSETO, FRANK W                      661 SUNFIELD DR NW                                                                                       LILBURN           GA 30047
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SPOSITO, FRANK                        75 VAN BUREN ST                                                                            LOCKPORT            NY 14094‐2450
SPOSITO, MARY G                       1213 CEDAR RD                                                                              SOUTHPORT           CT 06890‐1010
SPOSITO, RICHARD M                    2616 SLOAN ST                                                                              FLINT               MI 48504‐3305
SPOSITO, SANDRA J.                    1748 GALLEGOS ROAD                                                                         SOCORRO             NM 87801‐4158
SPOT A POT                            4 HARKO CT                                                                                 BALTIMORE           MD 21221‐3123
SPOT COOLERS                          PO BOX 905322                                                                              CHARLOTTE           NC 28290‐5322
SPOT DELI HADER BAR & GRILLE          5775 CHEVROLET BLVD                                                                        CLEVELAND           OH 44130‐1414
SPOTANSKI, CHARLES P                  560 E SALISBURY RD                                                                         ASHLEY               IL 62808‐3006
SPOTANSKI, LAWRENCE F                 PO BOX 104                           80 SOUTH KERRY ST.                                    DU BOIS              IL 62831‐0104
SPOTANSKI, LAWRENCE F                 80 S KERRY ST                        PO BOX 104                                            DUBOIS               IL 62831
SPOTH JR, RAYMOND A                   6309 CONNIE LN                                                                             COLLEYVILLE         TX 76034‐5606
SPOTH, ANN L                          6309 CONNIE LN                                                                             COLLEYVILLE         TX 76034‐5606
SPOTH, CYNTHIA F                      185 PINE ST                                                                                LOCKPORT            NY 14094
SPOTH, EDWARD D                       9845 CLARENCE CENTER RD                                                                    CLARENCE CENTER     NY 14032‐9222
SPOTH, JR.,LESTER                     6465 TOWNLINE RD                                                                           N TONAWANDA         NY 14120‐9567
SPOTH, LUCILLE                        5691 DUNNIGAN ROAD                                                                         LOCKPORT            NY 14094‐9537
SPOTH, MARTIN G                       5691 DUNNIGAN ROAD                                                                         LOCKPORT            NY 14094‐9537
SPOTH, RAYMOND W                      6248 HATTER RD                                                                             NEWFANE             NY 14108‐9721
SPOTH, SANDRA L                       11201 STATION RD                                                                           COLUMBIA STATION    OH 44028‐9516
SPOTH, TIMOTHY L                      2615 HOSMER RD                                                                             APPLETON            NY 14008‐9624
SPOTLESON, RALPH D                    5160 STERLING AVE                                                                          AUSTINTOWN          OH 44515‐3952
SPOTLIGHT CREW INC                    ATTN: CORPORATE OFFICER/AUTHORIZED   20 N WACKER DR STE 2500                               CHICAGO              IL 60606‐3004
                                      AGENT
SPOTO, THOMAS A                       816 OAKLAND AVE                                                                            BIRMINGHAM         MI   48009‐5757
SPOTPLUS                              1999 BRYAN ST STE 3100                                                                     DALLAS             TX   75201‐6813
SPOTSYLVANIA (CNTY TRESUR)            PO BOX C 9000                                                                              SPOTSYLVANIA       VA   22553‐9000
SPOTSYLVANIA (CNTY TRESUR)            PO BOX                                                                                     SPOTSYLVANIA       VA   22553
SPOTSYLVANIA CAREER & TECH C AJROTC   6713 SMITH STATION RD                                                                      SPOTSYLVANIA       VA   22553‐1803

SPOTSYLVANIA COUNTY TREASURER         PO BOX                                                                                     SPOTSYLVANIA       VA   22553
SPOTSYLVANIA FIRE & RESCUE            PO BOX 398                                                                                 SPOTSYLVANIA       VA   22553‐0398
SPOTSYLVANIA VOLUNTEER FIRE DEPT      PO BOX 146                                                                                 SPOTSYLVANIA       VA   22553‐0146
SPOTSYLVANIA YOUTH SPORTS AAU         SHANNON MORTON                       PO BOX 142                                            PARTLOW            VA   22534‐0142
SPOTSYLVANIA, COUNTY OF               9104 COURTHOUSE RD                   PO BOX 65                                             SPOTSYLVANIA       VA   22553‐1902
SPOTTON, RICHARD F                    33872 BEACHPARK DR                                                                         EASTLAKE           OH   44095‐2502
SPOTTS, CHARLES L                     1402 LINCOLN ST                                                                            MONESSEN           PA   15062‐1931
SPOTTS, CLARENCE H                    5719 BROOKPARK RD                                                                          PARMA              OH   44129‐1207
SPOTTS, CLARENCE HARRY                5719 BROOKPARK RD                                                                          PARMA              OH   44129‐1207
SPOTTS, DENISE L                      11791 PARKIN LN                                                                            FENTON             MI   48430‐8769
SPOTTS, DENISE LYNN                   11791 PARKIN LN                                                                            FENTON             MI   48430‐8769
SPOTTS, EDWARD E                      5 WATER ST                                                                                 NEW PHILADELPHIA   PA   17959
SPOTTS, MICHAEL L                     11791 PARKIN LN                                                                            FENTON             MI   48430‐8769
SPOTTS, NOLAN B                       808 E 5 POINT HWY                                                                          CHARLOTTE          MI   48813‐9198
SPOTTS, NORMAN A                      6060 S 800 E                         LOT 28                                                LAFONTAINE         IN   46940‐9047
SPOTTS, NORMAN A                      6060 S 800 E TRLR 28                                                                       LA FONTAINE        IN   46940‐9047
SPOTTS, STEVEN L                      1638 E 5 POINT HWY                                                                         CHARLOTTE          MI   48813‐9162
SPOTTSVILLE, ESTELLE                  3845 KENT ST                                                                               FLINT              MI   48503‐4518
SPOTTSVILLE, GREGORY A                3117 BIG SHANTY TRL                                                                        MARIETTA           GA   30066‐3319
SPOTTSVILLE, GREGORY ANDRE            3117 BIG SHANTY TRL                                                                        MARIETTA           GA   30066‐3319
SPOTTSVILLE, SALLIE E                 2015 CLIFFORD ST                                                                           FLINT              MI   48503‐4005
SPOTWAVE WIRELESS INC                 PO BOX 1070                                                                                CHARLOTTE          NC   28201‐1070
SPOWART, CHERYL D                     4611 MICHIGAN BLVD                                                                         YOUNGSTOWN         OH   44505‐1228
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Name                              Address1                        Address2                         Address3                  Address4             City                State Zip
SPP CHOICETECH INC                28373 BECK RD STE H7                                                                                            WIXOM                MI 48393‐4735
SPR ASSOCIATES INC.               44 VICTORIA ST                  SUITE 710                                                  TORONTO ON M5C 1Y2
                                                                                                                             CANADA
SPRADA, JOHN J                    12659 W ROSEWOOD LN                                                                                             PEORIA              AZ   85383‐3967
SPRADDLING, BARBARA L             3748 DUE WEST RD NW                                                                                             MARIETTA            GA   30064‐1016
SPRADER, LEONARD G                27335 LYNDON                                                                                                    REDFORD             MI   48239‐3018
SPRADER, LEONARD GEORGE           27335 LYNDON                                                                                                    REDFORD             MI   48239‐3018
SPRADER, WALTER H                 19074 SW 93RD LOOP                                                                                              DUNNELLON           FL   34432‐7711
SPRADLEY CHEVROLET, INC.          2146 W US HIGHWAY 50                                                                                            PUEBLO              CO   81008‐1619
SPRADLEY JR, JOHN E               1016 WESTBURY CT                                                                                                YUKON               OK   73099‐7633
SPRADLEY JR, JOSEPH B             3705 RENDON RD                                                                                                  FORT WORTH          TX   76140‐9743
SPRADLEY, CHARLES E               630 MAPLE OAK CIR UNIT 114                                                                                      ALTAMONTE SPRINGS   FL   32701‐6362
SPRADLEY, GARY D                  206 E LAMINE ST                                                                                                 LINCOLN             MO   65338‐1034
SPRADLEY, HERSHEL R               125 KEN DR                                                                                                      BRANDON             MS   39042‐9167
SPRADLEY, JOSEPH B                2031 CALLENDER RD                                                                                               MANSFIELD           TX   76063‐6010
SPRADLEY, MATTHEW                 5050 SEYBURN                                                                                                    DETROIT             MI   48213
SPRADLEY, ROGER K                 111 PENROSE LN                                                                                                  MONTGOMERY CY       MO   63361‐2715
SPRADLEY, ROSE M                  1726 HUDEPOHL LN                                                                                                CINCINNATI          OH   45231
SPRADLEY, THURMAN                 PORTER & MALOUF PA              4670 MCWILLIE DR                                                                JACKSON             MS   39206‐5621
SPRADLEY‐POWERS CHEVROLET, INC.   LARRY SPRADLEY                  2146 W US HIGHWAY 50                                                            PUEBLO              CO   81008‐1619
SPRADLIN AMOS (656230)            LANIER LAW FIRM                 6810 FM 1960 WEST SUITE 1550                                                    HOUSTON             TX   77069
SPRADLIN AUTOMOTIVE               510 S HOPE ST                                                                                                   JACKSON             MO   63755‐2135
SPRADLIN GARY E (472174)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                     NORFOLK             VA   23510
                                                                  STREET, SUITE 600
SPRADLIN JR, JAMES H              1205 DONLEY DR                                                                                                  EULESS              TX 76039‐2609
SPRADLIN KENNETH                  FOSTER, SHELBY                  MICHAEL BRAUN                    3225 SHALLOWFORD RD STE                        MARIETTA            GA 30062
                                                                                                   500
SPRADLIN KENNETH                  SPRADLIN, NATHAN                862 PYNE RD                                                                     LAGRANGE            GA   30240‐8754
SPRADLIN RANDALL (477270)         BARON & BUDD                    3102 OAK LANE AVE , SUITE 1100                                                  DALLAS              TX   75219
SPRADLIN RANDALL (486008)         BARON & BUDD                    3102 OAK LANE AVE , SUITE 1100                                                  DALLAS              TX   75219
SPRADLIN SR, ROBERT C             2724 S 45TH TER                                                                                                 KANSAS CITY         KS   66106‐3628
SPRADLIN, ALLEN H                 8321 MURFREESBORO RD                                                                                            LEBANON             TN   37090‐1309
SPRADLIN, AMOS                    ICO THE LANIER LAW FIRM PC      6810 FM 1960 WEST                                                               HOUSTON             TX   77069
SPRADLIN, AMOS                    LANIER LAW FIRM                 6810 FM 1960 WEST SUITE 1550                                                    HOUSTON             TX   77069
SPRADLIN, BARTON E                15471 S 22ND ST                                                                                                 VICKSBURG           MI   49097‐9759
SPRADLIN, BOBBY W                 2000 CORTINA                                                                                                    DAYTON              OH   45459‐5459
SPRADLIN, CAREL J                 210 LONE STAR ST                                                                                                JOSHUA              TX   76058‐3168
SPRADLIN, CARL E                  46262 ROCKLEDGE DR                                                                                              PLYMOUTH            MI   48170‐3508
SPRADLIN, CLAYTON W               2840 CYPRESS WAY                                                                                                NORWOOD             OH   45212‐2446
SPRADLIN, DONALD N                4805 RED HEART DR                                                                                               WILMINGTON          NC   28412‐7706
SPRADLIN, ELLA G                  5145 OSCEOLA DR                                                                                                 DAYTON              OH   45427‐2116
SPRADLIN, ERMIN                   2460 CORIANDER CT                                                                                               TROY                OH   45373‐8748
SPRADLIN, ERNESTINE               8268 LAFAYETTE RD NW                                                                                            NEWARK              OH   43055‐9545
SPRADLIN, GARY E                  GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                     NORFOLK             VA   23510‐2212
                                                                  STREET, SUITE 600
SPRADLIN, GLENDA S                3639 HAMILTON PLACE                                                                                             ANDERSON            IN   46013‐5273
SPRADLIN, GLENDA SUSAN            3639 HAMILTON PLACE                                                                                             ANDERSON            IN   46013‐5273
SPRADLIN, HENRY A                 3700 S WESTPORT AVE PMB 2224                                                                                    SIOUX FALLS         SD   57106‐6360
SPRADLIN, HOMER L                 112 GOLDEN TREE LN                                                                                              INDIANAPOLIS        IN   46227‐2551
SPRADLIN, HURAL L                 41 HURAL SPRADLIN RD                                                                                            STRUNK              KY   42649‐9399
SPRADLIN, IRENE                   1289 WEXFORD GREEN BLVD                                                                                         COLUMBUS            OH   43228‐8808
SPRADLIN, JACK C                  2141 WESTWOOD DR                                                                                                MARION              IN   46952‐3213
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Name                      Address1                        Address2                        Address3   Address4         City            State Zip
SPRADLIN, JERRY L         14337 NOLAN DRIVE                                                                           FISHERS          IN 46038‐5255
SPRADLIN, JIM R           8555 S PUGSLEY RD LOT 21                                                                    DALEVILLE        IN 47334‐8930
SPRADLIN, JIM R           3639 HAMILTON PL                                                                            ANDERSON         IN 46103
SPRADLIN, KENNETH         862 PYNE RD                                                                                 LAGRANGE         GA 30240‐8754
SPRADLIN, LOUISE W        P O BOX 73                                                                                  DALEVILLE        IN 47334‐0073
SPRADLIN, MARCIA L        3913 EASTERN DR                                                                             ANDERSON         IN 46012
SPRADLIN, MARGOT F        4397 SANDERS LN                                                                             CATHARPIN        VA 20143‐1016
SPRADLIN, MARY            1195 GLOVER DR                                                                              XENIA            OH 45385‐2511
SPRADLIN, NATHAN          862 PYNE RD                                                                                 LAGRANGE         GA 30240‐8754
SPRADLIN, RANDALL         BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                               DALLAS           TX 75219
SPRADLIN, ROBERT E        5712 GRAND GUINESS CT                                                                       LAS VEGAS        NV 89130‐1368
SPRADLIN, SAMUEL S        610 CHATEAUGAY DR                                                                           PATASKALA        OH 43062
SPRADLING JR, ROBERT W    1342 COUNTY ROAD 385                                                                        CULLMAN          AL 35057‐5037
SPRADLING SR, MICHAEL L   1502 SAGEWOOD CIR                                                                           STONE MTN        GA 30083‐1206
SPRADLING, BETTY B        PO BOX 797                                                                                  MIDLOTHIAN       TX 76065‐0797
SPRADLING, CLARENCE L     7673 CROW CUT RD                                                                            FAIRVIEW         TN 37062‐8219
SPRADLING, DANNY L        4520 SAINT ANDREWS CT                                                                       MIDDLETOWN       OH 45042‐3873
SPRADLING, DANNY L        4520 ST ANDREWS CT                                                                          MIDDLETOWN       OH 45042‐3873
SPRADLING, JACK R         4116 WILLIAMSON DR                                                                          DAYTON           OH 45416‐2146
SPRADLING, MARION E       8891 E COUNTY ROAD 50 N                                                                     LOGANSPORT       IN 46947‐7833
SPRADLING, RUBY           6461 GRATIS ROAD                                                                            CAMDEN           OH 45311‐8815
SPRADLING, WILLIAM R      6461 GRATIS ROAD                                                                            CAMDEN           OH 45311‐8815
SPRAGA, CAROL A           47016 LAUREN CT                                                                             BELLEVILLE       MI 48111‐4295
SPRAGA, CAROL ANN         47016 LAUREN CT                                                                             BELLEVILLE       MI 48111‐4295
SPRAGA, FRANK A           18290 OAKLEAF CIR                                                                           ROMULUS          MI 48174‐9260
SPRAGA, ROBERT M          2995 N LIMA CENTER RD                                                                       DEXTER           MI 48130‐9561
SPRAGA, SHARON L          2995 N LIMA CENTER RD                                                                       DEXTER           MI 48130‐9561
SPRAGG, CHARLES W         198 N CHURCH ST                                                                             ORTONVILLE       MI 48462‐8674
SPRAGG, JESSE E           4140 FOREST HEIGHTS DR                                                                      STOW             OH 44224‐2633
SPRAGG, ROGER G           HC 61 BOX 60A                                                                               WILEYVILLE       WV 26581‐7403
SPRAGG, RONALD A          2520 HEARTHSIDE DR                                                                          YPSILANTI        MI 48198‐9286
SPRAGGINS JR, REGINALD    8514 N HELENA AVE               APT C415                                                    KANSAS CITY      MO 64154‐2511
SPRAGGINS JR, REGINALD    8610 N KANSAS AVE APT 301                                                                   KANSAS CITY      MO 64156‐2951
SPRAGGINS JR, WILLIAM     16606 STRATHMOOR ST                                                                         DETROIT          MI 48235‐4532
SPRAGGINS SR, REGINALD    PO BOX 3485                                                                                 WARREN           OH 44485‐0485
SPRAGGINS, CHARLES R      6896 FLORENCE DR                                                                            LITHIA SPGS      GA 30122‐1931
SPRAGGINS, CORNELL        PO BOX 268                                                                                  FAYETTE          AL 35555‐0268
SPRAGGINS, HAZEL          215 S ALMA AVE                                                                              KANKAKEE          IL 60901‐3303
SPRAGGINS, JAMES O        PO BOX 222                                                                                  MANTACHIE        MS 38855‐0222
SPRAGGINS, JOHN A         1661 MIAMI RD                                                                               BENTON HARBOR    MI 49022‐7109
SPRAGGINS, JOSES W        2738 LAWRENCE ST                                                                            DETROIT          MI 48206‐1442
SPRAGGINS, JOSES WESLEY   2738 LAWRENCE ST                                                                            DETROIT          MI 48206‐1442
SPRAGGINS, KAREN          P O BOX 268                                                                                 FAYETTE          AL 35555‐0268
SPRAGGINS, LILLIE M       12206 SANTA ROSA DR                                                                         DETROIT          MI 48204‐5316
SPRAGGINS, MAXINE E       248 DOUGLAS ST NW                                                                           WARREN           OH 44483‐3216
SPRAGGINS, TOMMY L        10740 LANDSEER DR                                                                           SAINT LOUIS      MO 63136‐4550
SPRAGGS STARKS            14039 DORNOCH ST                                                                            GRANDVIEW        MO 64030‐4040
SPRAGGS, ALICE H          111 PINE LAKE CIR                                                                           CUMMING          GA 30040‐2019
SPRAGGS, ANN              218 CEDARVIEW DR                                                                            ANTIOCH          TN 37013‐4414
SPRAGIA, LINDA F          1704 IRIS ST SW                                                                             DECATUR          AL 35501‐4612
SPRAGIA, LINDA FAYE       6207 N BELL ST                                                                              KANSAS CITY      MO 64151‐4844
SPRAGINS, EARL M          19165 BINDER ST                                                                             DETROIT          MI 48234‐1901
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Name                     Address1                       Address2            Address3         Address4         City              State Zip
SPRAGINS, ELIGAH         22115 W MCNICHOLS RD APT 2                                                           DETROIT            MI 48219‐3230
SPRAGINS, MARY E         19165 BINDER ST                                                                      DETROIT            MI 48234‐1901
SPRAGLING, JESSE D       465 SHERWOOD AVE                                                                     YOUNGSTOWN         OH 44511‐1751
SPRAGUE BEN & JEAN       400 LEDGE ROAD                                                                       MEDINA             OH 44256‐7237
SPRAGUE DAVID            PO BOX 828                                                                           PINCKNEY           MI 48169‐0828
SPRAGUE DAVID D          5310 PHEASANT RUN RD                                                                 CLARKSTON          MI 48346‐3950
SPRAGUE ENERGY CORP      SPRAGUE C H & SON CO           1 PARADE MALL                                         PORTSMOUTH         NH 03801‐6810
SPRAGUE III, ROBERT C    36 BRENTWOOD CIR                                                                     PLYMOUTH           MA 02360‐1095
SPRAGUE JR, DENNIS R     6010 S ORR RD                                                                        SAINT CHARLES      MI 48655‐9558
SPRAGUE JR, DENNIS RAY   6010 S ORR RD                                                                        SAINT CHARLES      MI 48655‐9558
SPRAGUE JR, GEORGE L     PO BOX 626                                                                           POCASSET           MA 02559‐0626
SPRAGUE RICHARD G III    APPEL, VINCENT
SPRAGUE RICHARD G III    SPRAGUE, RICHARD G
SPRAGUE RICHARD G III    YPRAGUE, DENISE
SPRAGUE SAMANTHA         SPRAGUE, SAMANTHA              RR1 BOX 16                                            SHOBONIER         IL   62885‐9703
SPRAGUE'S AUTO SERVICE   101 GALE PL STE 1                                                                    MATTYDALE         NY   13211‐1772
SPRAGUE, ALFRED R        1218 MARSEILLE CT                                                                    ROCHESTER HILLS   MI   48307‐3035
SPRAGUE, ANNABELLE M     4860 HUSTON DR                                                                       ORION             MI   48359‐2132
SPRAGUE, ANNE N          350 MAHAND‐DENMAN RD                                                                 BRISTOLVILLE      OH   44402‐4402
SPRAGUE, ANNE N          350 MAHAN DENMAN RD NW                                                               BRISTOLVILLE      OH   44402‐9735
SPRAGUE, ARTHUR L        5366 ELDERBERRY RD                                                                   NOBLESVILLE       IN   46062‐8922
SPRAGUE, BELINDA G       985 N COOLIDGE AVE                                                                   HARRISON          MI   48625‐9586
SPRAGUE, BETTE C         102 CEDAR LN                                                                         LANSDALE          PA   19446‐1542
SPRAGUE, BEULAH I        21 EGRET TRL                                                                         PALM COAST        FL   32164‐6264
SPRAGUE, BEVERLY         401 SHERIDAN RD PO 281                                                               LENNON            MI   48449‐0281
SPRAGUE, BRADFORD E      300 E GROVE ST                                                                       GREENVILLE        MI   48838‐1804
SPRAGUE, BRUCE W         13362 WENDELL DR                                                                     FENTON            MI   48430‐1146
SPRAGUE, BRUCE WAYNE     13362 WENDELL DR                                                                     FENTON            MI   48430‐1146
SPRAGUE, CARMEN          6266 MARCY ST                                                                        BRIGHTON          MI   48116‐2113
SPRAGUE, CATHERINE G     13362 WENDELL DR                                                                     FENTON            MI   48430‐1146
SPRAGUE, CORLISS A       2651 WILLOW LN                                                                       HIGHLAND          MI   48356‐2242
SPRAGUE, DANNY L         245 W LARCH RD RT 3                                                                  HARRISON          MI   48625
SPRAGUE, DARRELL L       12280 SEYMOUR RD                                                                     MONTROSE          MI   48457‐9784
SPRAGUE, DARRYL I        510 E MICHIGAN AVE APT B                                                             GRAYLING          MI   49738‐1522
SPRAGUE, DAVID           PO BOX 828                                                                           PINCKNEY          MI   48169‐0828
SPRAGUE, DAVID A         6580 S KING RD                                                                       GRAYLING          MI   49738‐7307
SPRAGUE, DAVID E         97 E BEVERLY AVE                                                                     PONTIAC           MI   48340‐2613
SPRAGUE, DAVID L         634 HODAPP AVE                                                                       DAYTON            OH   45410‐2711
SPRAGUE, DAVID P         5481 N WHITETAIL LN                                                                  LUDINGTON         MI   49431‐9672
SPRAGUE, DENNIS          1632 TERRY DR                                                                        SAINT HELEN       MI   48656‐9513
SPRAGUE, DENNIS G        985 N COOLIDGE AVE                                                                   HARRISON          MI   48625‐9586
SPRAGUE, DENNIS W        PO BOX 4030                                                                          PRESCOTT          MI   48756‐4030
SPRAGUE, DIANA L         506 LOU ALICE DR                                                                     COLUMBIAVILLE     MI   48421‐9706
SPRAGUE, DOLORES I       1812 S MONROE ST                                                                     TILTON            IL   61833‐8029
SPRAGUE, DOLORES I       1812 MONROE                                                                          TILTON            IL   61833‐8029
SPRAGUE, DONALD L        9380 VALLEY RD NW                                                                    RAPID CITY        MI   49676‐9474
SPRAGUE, DONALD L        1708 DIFFORD DR                                                                      NILES             OH   44446‐2834
SPRAGUE, DOUGLAS A       350 MAHAN DENMAN RD NW                                                               BRISTOLVILLE      OH   44402‐9735
SPRAGUE, DUANE H         3402 AKRON RD                                                                        AKRON             MI   48701‐9705
SPRAGUE, DUANE J         1715 PINECROFT LN                                                                    WYOMING           MI   49509
SPRAGUE, EFFIE           5472 W VIENNA RD                                                                     CLIO              MI   48420‐9479
SPRAGUE, ELEANOR L       5165 FIELD ROAD                                                                      CLIO              MI   48420‐8268
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Name                        Address1                     Address2            Address3         Address4         City                State Zip
SPRAGUE, ELLSWORTH H        23169 NANCY AVE                                                                    PORT CHARLOTTE       FL 33952‐1806
SPRAGUE, ELSIE E            PO BOX 632                                                                         OWOSSO               MI 48867‐0632
SPRAGUE, FRED L             5740 W 8TH ST RD                                                                   ANDERSON             IN 46011‐9120
SPRAGUE, GARY E             10325 MAINE DR                                                                     CROWN POINT          IN 46307‐7068
SPRAGUE, GARY L             5387 M‐55                                                                          HALE                 MI 48739
SPRAGUE, GARY L             4305 VENTURE CIR                                                                   MERIDIAN             ID 83646‐5829
SPRAGUE, GEORGE E           703 WALNUT ST                                                                      FRANKTON             IN 46044
SPRAGUE, GERALD H           12488 N HOLLY RD                                                                   HOLLY                MI 48442‐9446
SPRAGUE, GERALD R           2695 REYNOLDS CIR                                                                  COLUMBIAVILLE        MI 48421‐8935
SPRAGUE, GERALD RICHARD     2695 REYNOLDS CIR                                                                  COLUMBIAVILLE        MI 48421‐8935
SPRAGUE, HAROLD D           8605 E PRIOR RD                                                                    DURAND               MI 48429‐9468
SPRAGUE, HAROLD DUANE       8605 E PRIOR RD                                                                    DURAND               MI 48429‐9468
SPRAGUE, HELEN E            303 AMPERSAND AVE                                                                  SARANAC LAKE         NY 12983‐1558
SPRAGUE, HELEN G            C/O MICHAEL LEWIS            4501 BEECHER AVE                                      DAYTON               OH 45420‐5420
SPRAGUE, HELEN G            2031 DRILL AVENUE                                                                  DAYTON               OH 45414‐5538
SPRAGUE, JAMES A            47843 CARD RD                                                                      MACOMB               MI 48044‐3016
SPRAGUE, JAMES D            432 PIERCE PLACE DR                                                                MT PLEASANT          TN 38474
SPRAGUE, JAMES E            2414 BROADWAY BLVD                                                                 FLINT                MI 48506‐3617
SPRAGUE, JAMES R            6578 GREENE HAVEN DR                                                               CLARKSTON            MI 48348‐4420
SPRAGUE, JANE C             1124 NW 9TH AVE                                                                    CAPE CORAL           FL 33993‐7216
SPRAGUE, JAY B              3093 SOLAR DR NW                                                                   WARREN               OH 44485‐1611
SPRAGUE, JEAN L             2922 VAN WYE S.E.                                                                  WARREN               OH 44484‐5417
SPRAGUE, JEFFREY C          13701 HAMERSLEY DR                                                                 BATH                 MI 48808‐9410
SPRAGUE, JIMMY R            841 SE HIGHWAY U                                                                   DEEPWATER            MO 64740‐9609
SPRAGUE, JOHN R             7421 OSIER 40TH RD                                                                 RAPID RIVER          MI 49878‐9316
SPRAGUE, JOHN T             4315 REBECCA CIR                                                                   COMMERCE TOWNSHIP    MI 48390‐1360
SPRAGUE, JUDITH M           7811 MCCLINTOCK WAY                                                                PORT ST LUCIE        FL 34952‐3002
SPRAGUE, JUNE K             315 PIONEER                                                                        PONTIAC              MI 48341‐1854
SPRAGUE, JUNE K             315 PIONEER DR                                                                     PONTIAC              MI 48341‐1854
SPRAGUE, K R                5475 W M‐179                                                                       HASTINGS             MI 49058
SPRAGUE, KARL W             2142 OAKWOOD RD                                                                    ORTONVILLE           MI 48462‐9408
SPRAGUE, KENNETH A          108 GATEWOOD DR APT 2C8                                                            LANSING              MI 48917‐2576
SPRAGUE, KENNETH M          11267 SW 139TH PL                                                                  DUNNELLON            FL 34432‐5628
SPRAGUE, LAWRENCE WILLIAN   2954 N 45 RD                                                                       MANTON               MI 49663‐8522
SPRAGUE, LLOYD R            11367 COY RD                                                                       SHERWOOD             OH 43556‐9804
SPRAGUE, LOYD A             2922 VAN WYE ST SE                                                                 WARREN               OH 44484‐5417
SPRAGUE, MARCELLA S         6376 E HILL RD                                                                     GRAND BLANC          MI 48439‐9125
SPRAGUE, MARCELLA S         6376 HILL ROAD                                                                     GRAND BLANC          MI 48439‐9125
SPRAGUE, MARGARET A         350 MAHAN DENMAN RD NW                                                             BRISTOLVILLE         OH 44402‐9735
SPRAGUE, MARGARET J         42 MONTCLAIR                                                                       PONTIAC              MI 48342‐2418
SPRAGUE, MARGARET J         42 MONTCLAIR ST                                                                    PONTIAC              MI 48342‐2418
SPRAGUE, MARILYN K          24395 M‐40 HIGHWAY                                                                 GOBLES               MI 49055
SPRAGUE, MARION E           105 SADDLE RIDGE CT                                                                TAYLORS              SC 29687‐4087
SPRAGUE, MARY A             8511 E PRIOR RD                                                                    DURAND               MI 48429‐9437
SPRAGUE, MARY A             8511 PRIOR                                                                         DURAND               MI 48429‐9437
SPRAGUE, MERVIN E           20139 HALSTED ST                                                                   CHATSWORTH           CA 91311‐5410
SPRAGUE, MERVIN E           30033 ABELIA RD                                                                    CANYON CNTRY         CA 91387‐1510
SPRAGUE, MICHAEL A          295 E MCKIMMEY RD                                                                  GLADWIN              MI 48624‐8434
SPRAGUE, MICHAEL B          706 N EIFERT RD                                                                    MASON                MI 48854‐9525
SPRAGUE, MICHAEL B.         706 N EIFERT RD                                                                    MASON                MI 48854‐9525
SPRAGUE, MICHAEL E          33059 KENNEDY                                                                      FRASER               MI 48026
SPRAGUE, MICHAEL G          5844 SEMOFF DR                                                                     TOLEDO               OH 43613‐1528
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Name                     Address1                         Address2                        Address3   Address4         City              State Zip
SPRAGUE, MICHAEL GLENN   5844 SEMOFF DR                                                                               TOLEDO             OH 43613‐1528
SPRAGUE, MONICA F        5589 AMY BOYLE RD NE                                                                         BROOKFIELD         OH 44403‐9737
SPRAGUE, NANCY           29551 CITATION CIR APT 3203                                                                  FARMINGTON         MI 48331‐5890
SPRAGUE, NANCY A         145 REVOLUTION LN                                                                            FLINT              MI 48507‐5944
SPRAGUE, NATALIE A       1659 SOUTHVIEW DRIVE                                                                         INDIANAPOLIS       IN 46227‐5029
SPRAGUE, NOLAN K         11367 COY RD                                                                                 SHERWOOD           OH 43556‐9804
SPRAGUE, PATRICIA J      2713 NORBERT ST                                                                              FLINT              MI 48504‐4523
SPRAGUE, PATRICIA L      8 CRANE LAKE DR                                                                              LINDEN             MI 48451‐9427
SPRAGUE, PATRICIA LYNN   8 CRANE LAKE DR                                                                              LINDEN             MI 48451‐9427
SPRAGUE, REX C           105 PONDVIEW CT                                                                              BRIGHTON           MI 48116‐1196
SPRAGUE, RICHARD J       3663 KEEFER HWY                                                                              LYONS              MI 48851‐9788
SPRAGUE, RICHARD K       10560 WENN ROAD                                                                              BIRCH RUN          MI 48415‐9307
SPRAGUE, RICHARD K       14374 N LEWIS RD                                                                             CLIO               MI 48420‐8837
SPRAGUE, RICHARD L       2821 CHERRY BLOSSOM DR                                                                       ANDERSON           IN 46012‐5503
SPRAGUE, ROBERT A        219 WELCH RD                                                                                 HOUGHTON LAKE      MI 48629‐9631
SPRAGUE, ROBERT A        389 ROSEWAE AVE                                                                              CORTLAND           OH 44410‐1268
SPRAGUE, ROBERT E        PO BOX 1007                                                                                  MONROE             NY 10949‐8007
SPRAGUE, ROBERT G        CHARGOIS DAMON                   360 PLACE OFFICE PARK, 1201 N                               ARLINGTON          TX 76006
                                                          WATSON ‐ STE 145
SPRAGUE, ROBERT L        10410 VICKSBURG LN               C/O JOHN DARIN SPRAGUE                                      INDEPENDENCE      KY   41051‐7812
SPRAGUE, ROBERT L        242 STATE PARK DR                                                                            BAY CITY          MI   48706‐1761
SPRAGUE, ROBERT L        2704 WAREING DR                                                                              LAKE ORION        MI   48360‐1655
SPRAGUE, ROBERT N        5987 N 300 E                                                                                 URBANA            IN   46990‐9422
SPRAGUE, ROBERT R        8801 FLICKINGER RD                                                                           DEFIANCE          OH   43512‐9787
SPRAGUE, RODNEY C        340 MAHAN DENMAN RD NW                                                                       BRISTOLVILLE      OH   44402‐9735
SPRAGUE, RONALD D        7476 ROWE CT                                                                                 SWARTZ CREEK      MI   48473‐8922
SPRAGUE, ROSEMARY        2566 WALTON BLVD.                APT. 106                                                    ROCHESTER HILLS   MI   48309‐1404
SPRAGUE, ROSEMARY        2566 WALTON BLVD APT 106                                                                     ROCHESTER HILLS   MI   48309‐1404
SPRAGUE, ROSEMARY A      4919 PINE DR                                                                                 HARRISON          MI   48625‐8613
SPRAGUE, ROY J           9359 VALLEY RD NW                                                                            RAPID CITY        MI   49676‐9474
SPRAGUE, RUTH I          4317 SHOREVIEW LN                                                                            WHITMORE LAKE     MI   48189‐9394
SPRAGUE, SAMANTHA        RR 1 BOX 16                                                                                  SHOBONIER         IL   62885‐9703
SPRAGUE, SAMANTHA        RR1 BOX 16                                                                                   SHOBONIER         IL   62885‐9703
SPRAGUE, SANDRA K        2954 N 45 RD                                                                                 MANTON            MI   49663‐8522
SPRAGUE, STEVEN D        15275 FLOURNOY SCHOOL RD                                                                     LEXINGTON         MO   64067‐8115
SPRAGUE, STEVEN M        4526 WHISPER WAY DR                                                                          TROY              MI   48098‐4470
SPRAGUE, THOMAS          755 ESTATES BLVD APT 273                                                                     TRENTON           NJ   08619
SPRAGUE, THOMAS J        2201 E OAK RIDGE LN                                                                          OAK CREEK         WI   53154‐3140
SPRAGUE, THOMAS JAMES    2201 E OAK RIDGE LN                                                                          OAK CREEK         WI   53154‐3140
SPRAGUE, TIMOTHY W       5944 CALM LAKE DR                                                                            FARMINGTON        NY   14425‐8950
SPRAGUE, TINA T          47843 CARD RD                                                                                MACOMB            MI   48044‐3016
SPRAGUE, WILLIAM G       3023 S SHERIDAN RD               P.O. BOX 288                                                LENNON            MI   48449‐7700
SPRAGUE, WILLIAM L       3708 ESTATES DR                                                                              TROY              MI   48084‐1150
SPRAGUE, YVONNE          902 RICHARD DR APT C                                                                         HARRISON          MI   48625‐8244
SPRAGUE, YVONNE          902‐C RICHARD DRIVE                                                                          HARRISON          MI   48625
SPRAIGL, MICHAEL         1104 MATILDA ST                                                                              SAINT PAUL        MN   55117‐4818
SPRAIN, BRIAN R          2522 CHELSEA CT                                                                              EAST TROY         WI   53120‐2065
SPRAITZ, MARGARET        706 MARILYN AVE                                                                              BULL SHOALS       AR   72619‐3618
SPRAITZ, MARGARET        706 MARILYN                                                                                  BULL SHOALS       AR   72619‐3618
SPRAKER, ALAN R          6399 BROOKVIEW DR                                                                            GRAND BLANC       MI   48439‐9740
SPRAKER, FRANK A         7409 8TH AVE W                                                                               BRADENTON         FL   34209‐3424
SPRAKER, PERRY R         54512 MARISSA CT                                                                             SHELBY TOWNSHIP   MI   48316‐1291
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Name                     Address1                        Address2                      Address3   Address4         City               State Zip
SPRAKER, SANDRA L        54512 MARISSA CT                                                                          SHELBY TOWNSHIP     MI 48316‐1291
SPRAKER, ZACHARY S       295 N STURBRIDGE RD                                                                       CHARLTON            MA 01507‐1717
SPRALEY, EDWARD L        1013 PLYMOUTH ST                                                                          PIQUA               OH 45356‐2919
SPRALEY, ROBERT H        717 W MAIN ST                                                                             TIPP CITY           OH 45371‐1417
SPRALEY, ROBERT H        717 WEST MAIN ST                                                                          TIPP CITY           OH 45371‐1417
SPRANG, WILLIAM J        11535 DIAMOND DR                                                                          STERLING HEIGHTS    MI 48314‐2620
SPRANGER, BEVERLY J      1725 POINT RD                                                                             HALE                MI 48739‐9192
SPRANGER, LINDA G        26200 FARMINGTON RD                                                                       FARMINGTON HILLS    MI 48334‐4318
SPRANGER, RICHARD F      26200 FARMINGTON RD                                                                       FARMINGTON HILLS    MI 48334‐4318
SPRANGER, ROY C          11421 MASONIC BLVD                                                                        WARREN              MI 48093‐1128
SPRANGERS, PAUL          503 ORIN RICE RD                                                                          COLVILLE            WA 99114‐9520
SPRANK, EVELYN           PO BOX 49                                                                                 DOWELL               IL 62927‐0049
SPRANKEL, MARCELLA A     7603 DARROW RD                                                                            HURON               OH 44839‐9313
SPRANKLE, AMANDA N       314 NEWTON DR                                                                             NEWTON FALLS        OH 44444‐1915
SPRANKLE, BETTY P        1018 AMITY RD                                                                             ASHEBORO            NC 27203‐4404
SPRANKLE, DON L          25325 RAMPART BLVD                                                                        PORT CHARLOTTE      FL 33983‐6404
SPRANKLE, KAYE C         550 MEADE ST                                                                              TYRONE              PA 16686‐2438
SPRANKLE, KAYE C         543 MEADE ST                                                                              TYRONE              PA 16686
SPRANKLE, LORRENE        C/O JEFF BRUMBAUGH              HARBORSIDE HEALTHCARE                                     TROY                OH 45373‐5373
SPRANKLE, MARGIE B       1429 ST. RT. #7, S.E.                                                                     HUBBARD             OH 44425
SPRANKLE, PHYLLIS Y      314 NEWTON DR                                                                             NEWTON FALLS        OH 44444‐1915
SPRANKLE, S. I           TOWN VILLAGE                    4500 DOBRY DRIVE                                          STERLING HEIGHTS    MI 48314
SPRANKLES, DONALD D      3050 MONTROSE AVE                                                                         YPSILANTI           MI 48198‐3381
SPRATKE, ANNE            28667 ALINE                                                                               WARREN              MI 48093‐2661
SPRATKE, ANNE            28667 ALINE DR                                                                            WARREN              MI 48093‐2661
SPRATKE, DOUGLAS A       4621 HILLCREST AVE                                                                        ROYAL OAK           MI 48073
SPRATKE, KENNETH J       47507 ARBOR TRL                                                                           NORTHVILLE          MI 48168‐8501
SPRATKE, LILLIAN A       11490 IRVINGTON DR                                                                        WARREN              MI 48093‐2611
SPRATLER, LEONARD C      905 S BURCHARD AVE                                                                        FREEPORT             IL 61032‐4809
SPRATLEY CALVIN          SPRATLEY, CALVIN L              4190 TELEGRAPH RD STE 3500                                BLOOMFIELD HILLS    MI 48302‐2043
SPRATLEY, CALVIN L       715 LAKES EDGE DR                                                                         OXFORD              MI 48371‐5232
SPRATLIN, WILLIE R       5975 MALLET CT                  C/O JAMES R WHITEHEAD                                     CUMMING             GA 30040‐5710
SPRATLING, FELICIA K     16169 ROSELAWN ST                                                                         DETROIT             MI 48221‐2957
SPRATT JR, LUVELL        10100 SE 45TH ST                                                                          OKLAHOMA CITY       OK 73150‐4404
SPRATT JR, TOMMIE        7434 BOERNE CREEK DR                                                                      RICHMOND            TX 77407‐5043
SPRATT LYLE J (345157)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                         STREET, SUITE 600
SPRATT, AMY J            523 LONG BRANCH CT                                                                        KOKOMO             IN   46901‐4025
SPRATT, CHARLES F        54 CHIPPER HILL RD                                                                        NORTHBRIDGE        MA   01534‐1066
SPRATT, DENNIS N         PO BOX 67                                                                                 EXCLSOR SPRGS      MO   64024‐0067
SPRATT, GAIL Y H         12865 GERMANE AVE                                                                         APPLE VALLEY       MN   55124‐9558
SPRATT, GREGORY D        8047 E FACTORY RD                                                                         WEST ALEXANDRIA    OH   45381‐9504
SPRATT, HARRY W          1591 COLUMBIA RD                                                                          BERKLEY            MI   48072‐1913
SPRATT, JABEZ C          540 GARDINIA DR                                                                           MCDONOUGH          GA   30253‐3908
SPRATT, JOHN J           1503 SHANNON LAKES DR                                                                     INDIANAPOLIS       IN   46217‐7436
SPRATT, JOYCE M          10100 SE 45TH ST                                                                          OKLAHOMA CITY      OK   73150‐4404
SPRATT, KENNETH R        5080 N MECHANICSBURG RD                                                                   MIDDLETOWN         IN   47356‐9730
SPRATT, LYLE J           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                         STREET, SUITE 600
SPRATT, MICHAEL K        7900 S DEER LAKE DR                                                                       NINEVEH            IN 46164‐8756
SPRATT, RAYMOND E        3844 GRAY POND CT                                                                         INDIANAPOLIS       IN 46237‐4701
SPRATT, STEVEN J         11418 HILL RD                                                                             GOODRICH           MI 48438‐9005
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Name                         Address1                         Address2                      Address3   Address4         City               State Zip
SPRATT, SYLVIA A             6156 CRANE ST                                                                              DETROIT             MI 48213‐2644
SPRATT, TARA F               3661 CREST RD                                                                              WANTAGH             NY 11793‐2631
SPRATT, THOMAS               35420 MALIBU DR                                                                            STERLING HTS        MI 48312‐4050
SPRATTLING, HERMAN           4010 190TH ST                                                                              CNTRY CLB HLS        IL 60478‐5781
SPRATTO, FRANK H             9066 CREIGHTON RD                                                                          PORTLAND            MI 48875‐9755
SPRATTO, LILLIAN A           9066 CREIGHTON RD                                                                          PORTLAND            MI 48875‐9755
SPRATZ GERY                  PO BOX 731                                                                                 DERBY               NY 14047‐0731
SPRAU, DOROTHEA L            4202 HUNTFIELD DR                                                                          SANDUSKY            OH 44870‐7053
SPRAUER, ANTHONY E           6200 FLEMINGTON RD                                                                         DAYTON              OH 45459‐1906
SPRAUER, BETTY J             1249 HOLLY AVE                                                                             DAYTON              OH 45410‐2626
SPRAW, CARL J                26166 NEWCOMBE CIR                                                                         LEESBURG            FL 34748‐8065
SPRAW, DAVID L               PO BOX 88                                                                                  BENTON              PA 17814‐0088
SPRAY JEFFREY                SPRAY, JEFFREY                   1060 1ST AVE STE 400                                      KING OF PRUSSIA     PA 19406‐1336
SPRAY JEREMY                 SPRAY, JEREMY                    402 WEST BROADWAY 4TH FLOOR                               SAN DIEGO           CA 92101

SPRAY ON FIREPROOFING INC,
SPRAY TECH SYSTEMS INC       4631 NW 3RD ST                                                                             OKLAHOMA CITY      OK   73127‐6400
SPRAY, CHARLES E             4758 LINDSEY RD                                                                            MOUNT ORAB         OH   45154‐9625
SPRAY, JAMES E               4450 E STATE ROAD 47                                                                       LEBANON            IN   46052‐8901
SPRAY, JEFFREY               KAHN & ASSOCIATES                55 PUBLIC SQ STE 650                                      C;EVELAND          OH   44113‐1909
SPRAY, KENNETH E             334 SHAMROCK DR                                                                            NILES              MI   49120‐1461
SPRAY, MICHAEL K             334 S 5TH ST                                                                               CARSON CITY        MI   48811‐9655
SPRAY, MOSES G               2606 COLD SPRING LN                                                                        INDIANAPOLIS       IN   46222‐2315
SPRAY, RONALD E              527 W JACKSON ST                                                                           KOKOMO             IN   46901‐4439
SPRAY, RONALD W              680 E DILLMAN RD                                                                           BLOOMINGTON        IN   47401‐9282
SPRAY, WAYNE A               11311 SCHMIDT RD                                                                           CHEBOYGAN          MI   49721‐8975
SPRAYBERRY, JAMES ANDREW
SPRAYBERRY, SHIRLEY F        PO BOX 132                                                                                 RYDAL              GA   30171‐0132
SPRAYING SYSTEMS             30701 W 10 MILE RD STE 200       PO BOX 587                                                FARMINGTON HILLS   MI   48336‐2634
SPRAYING SYSTEMS CO          26941 CABOT RD STE 101                                                                     LAGUNA HILLS       CA   92653‐7005
SPRAYING SYSTEMS CO          30701 W 10 MILE RD STE 200       PO BOX 587                                                FARMINGTON HILLS   MI   48336‐2634
SPRAYING SYSTEMS CO INC      PO BOX 7900                                                                                WHEATON            IL   60187‐7901
SPRAYING SYSTEMS CO INC      30701 W 10 MILE RD STE 200       PO BOX 587                                                FARMINGTON HILLS   MI   48336‐2634
SPRAYMATION/FL               5320 NW 35TH AVE                 AUTOMATIC SPRAY EQUIPMENT                                 FORT LAUDERDALE    FL   33309‐6314
SPREADSHEET WORLD INC        16161 VENTURA BLVD STE C         PMB 752                                                   ENCINO             CA   91436‐2523
SPREADSHEETWORLD INC         PO BOX 80789                                                                               RCHO STA MARG      CA   92688‐0789
SPRECHER, ALICE M            2207 ADEL ST                                                                               JANESVILLE         WI   53546‐3238
SPRECHER, KELSEY D           11121 NURSERY RD                                                                           HAGERSTOWN         MD   21740‐7523
SPRECHER, STACY M            5852 MANCHESTER CT                                                                         PITTSBORO          IN   46167‐9064
SPRECHER, STEVEN L           5852 MANCHESTER CT                                                                         PITTSBORO          IN   46167‐9064
SPRECHER, TIMOTHY A          710 HEATHER ROW                                                                            REEDS SPRING       MO   65737‐8461
SPRECHINI, MARY T            154 PASSAIC AVENUE                                                                         BELLEVILLE         NJ   07109‐1958
SPRECKER, KARL H             1606 N WHEATRIDGE ST                                                                       WICHITA            KS   67235‐9735
SPREEMAN, PARIS S            4468 HOLLY SHORES CT                                                                       HOLLY              MI   48442‐1828
SPREEMAN, RICHARD R          PO BOX 518                                                                                 DEERFIELD          MI   49238‐0518
SPREEN JR, JOHN E            9948 N TESSA WAY                                                                           HAYDEN             ID   83835‐9746
SPREEN MARK A                PO BOX 22                                                                                  WILLIAMS           IN   47470‐0022
SPREEN, BARBARA R            427 DOWNING AVE                                                                            FORT WAYNE         IN   46807‐1449
SPREEN, BRUCE A              427 DOWNING AVE                                                                            FORT WAYNE         IN   46807‐1449
SPREEN, DANIEL M             13 E 5TH ST                                                                                CLIFTON            NJ   07011‐1724
SPREHE, MARVIN               GUY WILLIAM S                    PO BOX 509                                                MCCOMB             MS   39649‐0509
SPREITZER, CHRISTIAN         1214 MUNROE FALLS AVE                                                                      CUYAHOGA FALLS     OH   44221‐3534
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Name                                Address1                              Address2                 Address3                 Address4              City               State Zip
SPREITZER, WILLIAM M                22663 N NOTTINGHAM DR                                                                                         BEVERLY HILLS       MI 48025‐3524
SPREITZER‐BERENT, BARBARA L         10454 LINCOLN DR                                                                                              HUNTINGTON WOODS    MI 48070‐1531
SPRENE, HOWARD                      GAVIN WILLIAM P                       23 PUBLIC SQ STE 415                                                    BELLEVILLE           IL 62220‐1627
SPRENG STEVEN R                     DBA A BALLOON ABOVE                   325 W COX DR                                                            FORT WAYNE          IN 46807‐3445
SPRENGEL, WILLIAM A                 1770 N BECK RD                                                                                                CANTON              MI 48187‐4852
SPRENGER, WILLIAM M                 12 BREWSTER LN                                                                                                ROCHESTER           NY 14624‐4002
SPRENZEL, MARILYN A                 18451 SW 75TH PL                                                                                              DUNNELLON           FL 34432‐2403
SPRESTER, LOIS J                    9 EDGEWOOD DR                                                                                                 MEDINA              NY 14103‐9565
SPRICH, AUDREY J                    415 LARKHILL CT                                                                                               WEBSTER GROVES      MO 63119‐4834
SPRICK HARLEY                       11219 S LAWRENCE ST                                                                                           SAPULPA             OK 74066‐1835
SPRIDCO, ELIZABETH A                13501 W DAKOTA ST                                                                                             NEW BERLIN          WI 53151‐3931
SPRIDGEON, ALBERTA M                PO BOX 218215                                                                                                 COLUMBUS            OH 43221‐8215
SPRIET, GREGORY A                   20930 THIELE ST                                                                                               ST CLAIR SHRS       MI 48081‐1130
SPRIETZER, JOHN T                   31239 BOCK STREET                                                                                             GARDEN CITY         MI 48135‐1409
SPRIETZER, KENDALL                  2300 PORTER RD                                                                                                NASHVILLE           TN 37206‐1227
SPRIETZER, ROBERT A                 45 MOHAWK ST BOX 102                                                                                          MOHAWK              MI 49950
SPRIGG, BETTY                       26275 HICKORY BLVD LOT 33                                                                                     BONITA SPRINGS      FL 34134‐3733
SPRIGG, BETTY                       26275 HICKORY BLVD                    # 33                                                                    BONITA SPRINGS      FL 34134
SPRIGG, JOSEPHINE A                 3336 ST ANDREWS DR SE                                                                                         RIO RANCHO          NM 87124‐2153
SPRIGG, JOSEPHINE A                 3336 SAINT ANDREWS DR SE                                                                                      RIO RANCHO          NM 87124‐2153
SPRIGGS & HOLLINGSWORTH             1350 I ST NW NINTH FL                                                                                         WASHINGTON          DC 20005
SPRIGGS JR, JAMES A                 445 BARNSBY CT                                                                                                EDGEWOOD            MD 21040‐3100
SPRIGGS, CLAIRE A                   PO BOX 563                                                                                                    ROOSEVELTOWN        NY 13683‐0563
SPRIGGS, DEBORAH A                  23 HOLLAND CIR APT 17                                                                                         NEW CASTLE          DE 19720‐5845
SPRIGGS, DEBRA K                    2002 JANICE DR                                                                                                FLINT               MI 48504‐1663
SPRIGGS, FRANCES K                  8600 SCHOLAR LN APT 1008                                                                                      LAS VEGAS           NV 89128‐8475
SPRIGGS, FRANCES K                  8600 SCHOLAR LANE                     APT#1008                                                                LAS VEGAS           NV 89128
SPRIGGS, KEVIN J                    607 E MICHIGAN AVE                                                                                            LANSING             MI 48912‐1152
SPRIGGS, LAURA B                    252 LAKE DR                                                                                                   DORAVILLE           GA 30340‐1420
SPRIGGS, MONTIE R                   1115 DISTEL LN                                                                                                PORTSMOUTH          OH 45662‐6409
SPRIGGS, RICHARD M                  6500 S HARVEY AVE                                                                                             OKLAHOMA CITY       OK 73139‐7020
SPRIGGS, SHANE L                    380 ALBERT STREET                                                                                             SEBEWAING           MI 48759‐1009
SPRIK, KELLY                        532 N MAIN ST                                                                                                 WAYLAND             MI 49348‐1043
SPRINDYS, VITAS A                   25117 ISLAND VIEW LN                                                                                          STURGIS             MI 49091
SPRING ARBOR UNIVERSITY             106 E MAIN ST                                                                                                 SPRING ARBOR        MI 49283‐9701
SPRING AUTOMOTIVE CENTER            7303 SPRING CYPRESS RD                APT 613                                                                 SPRING              TX 77379‐3384
SPRING AUTOMOTIVE CENTER            19226 KUYKENDAHL RD STE L                                                                                     SPRING              TX 77379‐3402
SPRING BRANCH IND SCHOOL DIST TAX   PO BOX 19037                                                                                                  HOUSTON             TX 77224‐9037
OFFICE
SPRING BRANCH ISD                   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 19037            TAX ASSESSOR‐COLLECTOR                         HOUSTON             TX   77224‐9037

SPRING BRANCH ISD                   PO BOX 19037                          TAX ASSESSOR‐COLLECTOR                                                  HOUSTON            TX 77224‐9037
SPRING CREEK RESTAURANT             TRAVELERS INSURANCE COMPANY           PO BOX 3022                                                             FALL RIVER         MA 02722‐3022
SPRING DESIGN & MFG INC             14105 INDUSTRIAL CENTER DR                                                                                    SHELBY TOWNSHIP    MI 48315‐3260
SPRING DYNAMICS                     ROBERT BOLES                          7378 RESEARCH DRIVE                               KITCHENER ON CANADA
SPRING DYNAMICS INC                 ROBERT BOLES                          7378 RESEARCH DRIVE                               KITCHENER ON CANADA
SPRING DYNAMICS/ALMO                7378 RESEARCH DR                                                                                              ALMONT             MI    48003‐8512
SPRING ENG. AND MFG. CORP.          BRIAN SHERWOOD                        35300 GLENDALE AVE                                                      SPRINGBORO         OH    45066
SPRING ENG/CANTON                   105 PROSPECT WAY                                                                                              OSCEOLA            WI    54020‐8176
SPRING ENGINEERING & MFG CORP       7820 N LILLEY RD                                                                                              CANTON             MI    48187‐2442
SPRING ENGINEERING & MFG CORP       BRIAN SHERWOOD                        35300 GLENDALE ST                                                       LIVONIA            MI    48150‐1243
SPRING ENGINEERING & MFG CORP       105 PROSPECT WAY                                                                                              OSCEOLA            WI    54020‐8175
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Name                               Address1                            Address2                      Address3                     Address4                 City            State Zip
SPRING ENGINEERING & MFG CORP      35300 GLENDALE ST                                                                                                       LIVONIA          MI 48150‐1243
SPRING G FARGO                     2 ARLINGTON STREET                                                                                                      ROCHESTER        NY 14607‐1113
SPRING HILL (CITY OF)              PO BOX 789                                                                                                              SPRING HILL      TN 37174‐0789
SPRING HILL ASSEMBLY ‐ MGO A       JOSEPH A PERRY                      100 SATURN PKWY                                                                     SPRING HILL      TN 37174‐2492
SPRING HILL ASSEMBLY ‐ MGO A       JOSEPH A PERRY                      100 E SATURN LN                                                                     PHARR            TX 78577‐9165
SPRING HILL ASSEMBLY ‐ MGO A       JOSEPH A PERRY                                                                                                                           TN 37174
SPRING HILL AUTO/SH                5406 MAIN ST                                                                                                            SPRING HILL      TN 37174‐2448
SPRING HILL CITY TENNESSEE         CITY OF SPRING HILL TENNESSEE       PO BOX 458                    119 SOUTH FIRST STREET                                PULASKI          TN 38478‐0458
SPRING HILL COLLEGE                4000 DAUPHIN ST                                                                                                         MOBILE           AL 36608‐1780
SPRING HILL HIGH SCHOOL            ONO RAIDER LANE                                                                                                         COLUMBIA         TN 38401
SPRING HILL INTEGRATED LOGISTICS   PO BOX 489                          3636 ROYAL PARK BLVD                                                                SPRING HILL      TN 37174‐0489
MANAGEMENT INC
SPRING HILL PLANT                  HOLD FOR RECONSIGNMENT                                                                                                  SPRINGVILLE     TN   38256
SPRING HILL, TN                    41 PUBLIC SQ                                                                                                            COLUMBIA        TN   38401‐3319
SPRING HOUSE LEASING INC           MORRIS RD                                                                                                               WEST POINT      PA   19486
SPRING ISD                         PO BOX 90458                                                                                                            HOUSTON         TX   77290‐0458
SPRING JR, CHARLES R               419 W STATE ST                                                                                                          CORUNNA         MI   48817‐1349
SPRING LAKE FARMS TRANSPORTATION   310 NW F ST                                                                                                             RICHMOND        IN   47374‐2230

SPRING LAURA L &                   SONNEBORNSPRING & O SULLIVAN        211 W JEFFERSON ST                                                                  SYRACUSE        NY   13202‐2457
SPRING MCCRAY                      506 STUYVESANT AVE                                                                                                      TRENTON         NJ   08618‐4124
SPRING MILL INN                    PO BOX 68                           HIGHWAY 60                                                                          MITCHELL        IN   47446‐0068
SPRING MORRISON                    PO BOX 426                                                                                                              DIMONDALE       MI   48821‐0426
SPRING MOUNTAIN ADVANCED DRIVI     3601 S HWY 160                                                                                                          PAHRUMP         NV   89048
SPRING MOUNTAIN ADVANCED DRIVING   3601 S HWY 160                                                                                                          PAHRUMP         NV   89048
SC
SPRING MOUNTAIN DRIVING SCHOOL     3601 SOUTH HWY 160                                                                                                      PAHRUMP         NV   89048
SPRING MOUNTAIN WATER CO           425 S DORT HWY                                                                                                          FLINT           MI   48503‐2846
SPRING P MCCRAY                    506 STUYVESANT AVE                                                                                                      TRENTON         NJ   08618‐4124
SPRING P TATE                      423 CUSTER ST                                                                                                           DETROIT         MI   48202‐3109
SPRING RICHARD (635421)            BRAYTON PURCELL                     621 SW MORRISON ST STE 950                                                          PORTLAND        OR   97205‐3824
SPRING ROBERT D (429854)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                         NORFOLK         VA   23510
                                                                       STREET, SUITE 600
SPRING SYSTEMS AB                  BOX 152                                                                                        TORSAS S 385 22 SWEDEN
SPRING SYSTEMS I TORSAS AB         NILS‐ERIK OLSSON                    KENDRION AUTOMOTIVE METALS    INDUSTRIGATAN 8                                       LIVONIA         MI 48150

SPRING WATER LTD                   C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT          2 RAFFLES LINK               MARINA BAYFRONT
                                   LTD                                                                                            SINGAPORE 039392
SPRING, ANDREW J                   300 SEMINOLE ST                                                                                                         HOLLY           MI   48442‐1302
SPRING, AYESHANILL                 5913 STERLING DR                                                                                                        COLLEYVILLE     TX   76034
SPRING, BARBARA A                  4351 N WEASEL TRL                                                                                                       LINCOLN         MI   48742‐9657
SPRING, CHARLES L                  C/O GLASSER & GLASSER                CROWN CENTER                 580 EAST MAIN STREET SUITE                            NORFOLK         VA   23510
                                                                                                     600
SPRING, CYNTHIA S                  11419 KALTZ AVE                                                                                                         WARREN          MI   48089‐1809
SPRING, DANIEL R                   5424 HIDDEN RIDGE TRL                                                                                                   LINDEN          MI   48451‐8816
SPRING, DELBERT I                  3112 ALEXANDER DR                                                                                                       SANDUSKY        OH   44870
SPRING, DIANA L                    63 AKRON ST                                                                                                             LOCKPORT        NY   14094‐5121
SPRING, DONNA L                    7873 MEADOW DR                                                                                                          WATERFORD       MI   48329‐4614
SPRING, EUGENE D                   4351 N WEASEL TRL                                                                                                       LINCOLN         MI   48742‐9657
SPRING, FRANK M                    265 BOWEN RD                                                                                                            EAST AURORA     NY   14052‐1339
SPRING, GENE U                     6189 MILO SCHOOL RD                                                                                                     GREAT CACAPON   WV   25422‐3068
SPRING, GLEN A                     103 S MECHANIC ST                                                                                                       ALBANY          WI   53502‐9800
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Name                           Address1                             Address2                      Address3                    Address4               City                 State Zip
SPRING, J B                    PO BOX 2728                          247 N COTTAGE AVE.                                                               GEARHART              OR 97138‐2728
SPRING, JAMES F                19395                                KNOWLTON PKWY APT 301                                                            STONGSVILLE           OH 44149‐9030
SPRING, JAMES FRANCIS          19395 KNOWLTON PKWY APT 301                                                                                           STRONGSVILLE          OH 44149‐9030
SPRING, JANETTE A              5424 HIDDEN RIDGE TRL                                                                                                 LINDEN                MI 48451‐8816
SPRING, JANETTE ANN            5424 HIDDEN RIDGE TRL                                                                                                 LINDEN                MI 48451‐8816
SPRING, JENNIE F               23293 N ROSEDALE CT                                                                                                   SAINT CLAIR SHORES    MI 48080‐2614
SPRING, JOSEPH P               5502 HAUSERMAN RD                                                                                                     PARMA                 OH 44130‐1270
SPRING, JOSEPH P               PO BOX 806147                                                                                                         ST CLAIR SHRS         MI 48080‐6147
SPRING, JOSEPH P               23293 N ROSEDALE CT                                                                                                   SAINT CLAIR SHORES    MI 48080‐2614
SPRING, JOSEPH PATRICK         5502 HAUSERMAN RD                                                                                                     PARMA                 OH 44130‐1270
SPRING, KENNETH J              PO BOX 81366                                                                                                          ROCHESTER             MI 48308‐1366
SPRING, LEROY H                3842 HWY EE                                                                                                           MONTICELLO            WI 53570
SPRING, MARGARET M             736 MAYBURN ST                                                                                                        DEARBORN              MI 48128‐1642
SPRING, MARIAN A               4405 W 58TH ST                                                                                                        CLEVELAND             OH 44144‐2923
SPRING, MARIAN A               4405 W.58 ST                                                                                                          CLEVELAND             OH 44144‐2923
SPRING, MARION                 53 LEWIS ST                                                                                                           LOCKPORT              NY 14094‐4611
SPRING, MARY M                 6463 S FORDNEY RD                                                                                                     SAINT CHARLES         MI 48655‐9765
SPRING, MICHAEL D              19165 ARMADA CENTER RD                                                                                                ARMADA                MI 48005‐2401
SPRING, MITCHELL R             6463 S FORDNEY RD                                                                                                     SAINT CHARLES         MI 48655‐9765
SPRING, MONROE                 14680 LINCOLN PARK PL                                                                                                 GOWEN                 MI 49326‐9574
SPRING, RICHARD                BRAYTON PURCELL                      621 SW MORRISON ST STE 950                                                       PORTLAND              OR 97205‐3824
SPRING, ROBERT D               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                      NORFOLK               VA 23510‐2212
                                                                    STREET, SUITE 600
SPRING, ROXANN J               4255 WHISPERING OAK DRIVE                                                                                             FLINT                MI   48507‐5541
SPRING, ROY J                  409 LEGRANDE ST                                                                                                       HOLLY                MI   48442‐1523
SPRING, STAN L                 109 PAIZANO CT                                                                                                        ROSEVILLE            CA   95661‐3978
SPRING, STEVEN L               W3860 COUNTY ROAD EE                                                                                                  MONTICELLO           WI   53570‐9724
SPRING‐CYPRESS AUTOMOTIVE      7623 SPRING CYPRESS RD                                                                                                SPRING               TX   77379‐3188
SPRINGATE, FRANK C             4713 NATURE HILLS LN                                                                                                  MARTINSVILLE         IN   46151‐8272
SPRINGBERG, JACK K             2051 SUNSET LN                                                                                                        SAGINAW              MI   48604‐2443
SPRINGBOK SERVICES INC         345 INVERNESS DRIVE SOUTH BLDG A ‐ STE                                                                                ENGLEWOOD            CO   80112
                               130
SPRINGBORN RENEE               SPRINGBORN, RENEE                      AMERICAN FAMILY             550 POLARIS PKWY STE. 100                          WESTERVILLE          OH 43082
SPRINGBORN, MARILOU G          7125 27TH AVE W                                                                                                       BRADENTON            FL 34209‐5313
SPRINGBORN, RAYMOND B          15739 WEST TOHONO DRIVE                                                                                               GOODYEAR             AZ 85338‐3327
SPRINGBORN, RENEE
SPRINGBORN, RENEE              AMERICAN FAMILY                      550 POLARIS PKWY STE 100                                                         WESTERVILLE          OH 43082‐7046
SPRINGBORN, THOMAS R           5353 POINTE DR                                                                                                        EAST CHINA           MI 48054‐4161
SPRINGBRUM, ELLWOOD D          4746 W OAKWOOD PARK DR                                                                                                JANESVILLE           WI 53548‐9009
SPRINGCO INDUSTRIES INC        25 WORCHESTER RD                                                                               TORONTO CANADA ON
                                                                                                                              M9W 1K9 CANADA
SPRINGCO INDUSTRIES INC        PAM COLLINS X.225                    3805 BUSINESS PARK DRIVE                                                         DETROIT              MI 48210
SPRINGCO INDUSTRIES INC        PAM COLLINS X.226                    150 S CUCUMBER ST                                                                JEFFERSON            OH 44047‐1439
SPRINGCO INDUSTRIES INC        PAM COLLINS X.226                    150 S. CUCUMBER ST.                                                              LAREDO               TX 78045
SPRINGCO INDUSTRIES INC        25 WORCESTER RD                                                                                ETOBICOKE ON M9W 1K9
                                                                                                                              CANADA
SPRINGCO INDUSTRIES USA INC    PO BOX 630                                                                                                            PROSPECT             KY   40059‐0630
SPRINGCO METAL COATINGS INC    12500 ELMWOOD AVE                                                                                                     CLEVELAND            OH   44111‐5910
SPRINGCO METAL FINISHING INC   12500 ELMWOOD AVE                                                                                                     CLEVELAND            OH   44111‐5910
SPRINGCREEK PHARMACY           PO BOX 25                                                                                                             SPRINGVILLE          NY   14141‐0025
SPRINGCREEK PHARMACY INC       27 FRANKLIN ST                                                                                                        SPRINGVILLE          NY   14141
SPRINGDALE AUTOMOTIVE INC.     467 CIRCLE FREEWAY DR                                                                                                 SPRINGDALE           OH   45246‐1213
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Name                                    Address1                         Address2                     Address3             Address4         City                 State Zip
SPRINGER                                THE LANGUAGE OF SCIENCE          333 MEADOWLANDS PARKWAY                                            SECAUCUS              NJ 07094
SPRINGER ‐ VERLAG NY INC                233 SPRING STREET                                                                                   NEW YORK              NY 10013
SPRINGER CONTROLS                       96074 CHESTER RD                                                                                    YULEE                 FL 32097‐3592
SPRINGER DEBRA                          6 MINUTEMAN DR                                                                                      WELLS                 ME 04090‐6930
SPRINGER FREDERICK                      22442 RIO VISTA ST                                                                                  SAINT CLAIR SHORES    MI 48081‐2431
SPRINGER I I, CLARENCE T                7436 LEDGEWOOD DR                                                                                   FENTON                MI 48430‐9224
SPRINGER JR, LEWIS W                    107 LOCUST DR                                                                                       RED OAK               TX 75154‐3821
SPRINGER JR., WILLIAM                   2564 WIGWAM PKWY SUITE245        C/O RAPPAPORT                31 CLUBHOUSE DRIVE                    HENDERSON             NV 89074
SPRINGER LEONA                          2 GLENMOOR PLACE                                                                                    HILTON HEAD           SC 29926‐1342
SPRINGER PUBLISHING CO., INC.           11 W. 42ND STREET, 15TH FLOOR                                                                       NEW YORK              NY 10036
SPRINGER PUBLISHING COMPANY             31201 CHICAGO RD S STE A101                                                                         WARREN                MI 48093‐5500
SPRINGER SCIENCE & BUSINESS MEDIA LLC   333 MEADOWLANDS PARKWAY          NOT REPORTABLE 11/20/08 CP                                         SECAUCUS              NJ 07094

SPRINGER SCIENCE+BUSINESS MEDIA, LLC. 233 SPRING ST., NEW YORK                                                                              NEW YORK             NY 10013

SPRINGER SCIENCE+BUSINESS MEDIA, LLC. 233 SPRING ST.                                                                                        NEW YORK             NY 10013

SPRINGER, ANDREA                        6004 EDWARD DR                                                                                      CLINTON              MD   20735‐4129
SPRINGER, ANGELA M                      5357 FOREST RIDGE DR                                                                                CLARKSTON            MI   48346‐3481
SPRINGER, ANNA M                        7307 JOHNSON ROAD                                                                                   FLUSHING             MI   48433‐9049
SPRINGER, ANNA M                        7307 JOHNSON RD                                                                                     FLUSHING             MI   48433‐9049
SPRINGER, BETTIE                        76 S W 1971                                                                                         KINGSVILLE           MO   64061‐9253
SPRINGER, BETTIE                        76 SW 1971ST RD                                                                                     KINGSVILLE           MO   64061‐9253
SPRINGER, CALVIN G                      2498 LOST CREEK DR                                                                                  FLUSHING             MI   48433‐9425
SPRINGER, CALVIN J                      524 E HAINES DR                                                                                     MUNCIE               IN   47303‐2038
SPRINGER, CALVIN JAY                    524 E HAINES DR                                                                                     MUNCIE               IN   47303‐2038
SPRINGER, CARL W                        5909 E ROBERT ST                                                                                    MUNCIE               IN   47303‐4444
SPRINGER, CHARLES F                     PO BOX 1 1284E 400S                                                                                 OAKFORD              IN   46965
SPRINGER, CHARLES L                     10575 LANGE RD                                                                                      BIRCH RUN            MI   48415‐9797
SPRINGER, CHARLES L                     PO BOX 706                                                                                          OAK GROVE            MO   64075‐0706
SPRINGER, CHRIS E                       11365 GRAND OAK DR                                                                                  GRAND BLANC          MI   48439‐2204
SPRINGER, CLAIRE M                      6506 TANGLEWOOD DR                                                                                  TROY                 MI   48098
SPRINGER, DALE E                        5901 N 100 W                                                                                        KOKOMO               IN   46901‐9197
SPRINGER, DALE F                        2000 OLD MINDEN RD APT 45                                                                           BOSSIER CITY         LA   71111‐4988
SPRINGER, DAVID A                       1110 W 77TH STREET NORTH DR                                                                         INDIANAPOLIS         IN   46260‐3312
SPRINGER, DAVID E                       42724 APPLES WAY DRIVE                                                                              LEETONIA             OH   44431‐9623
SPRINGER, DAVID L                       180 ARLINGTON DR                                                                                    DIMONDALE            MI   48821‐9780
SPRINGER, DAVID M                       26170 CAPSHAW RD                                                                                    ATHENS               AL   35613‐7432
SPRINGER, DEBORAH L                     6810 E 350 N                                                                                        BROWNSBURG           IN   46112
SPRINGER, DENNIS E                      6739 N FOREST LAKE DR                                                                               ALGER                MI   48610‐9464
SPRINGER, DONALD E                      60 LANE 163 CROOKED LK                                                                              ANGOLA               IN   46703‐7034
SPRINGER, DONALD MARTIN                 5410 S OAKRIDGE DR                                                                                  NEW BERLIN           WI   53146‐4455
SPRINGER, DONNA R                       1364 FINGER LAKES                                                                                   DAYTON               OH   45458‐3120
SPRINGER, DUANE H                       1309 W PEBBLE CT                                                                                    GILBERT              AZ   85233‐6634
SPRINGER, EARLE E                       191 SAVANNAH CIR                                                                                    BATAVIA              OH   45103‐5230
SPRINGER, EDITH                         3380 EWALD CIRCLE                                                                                   DETROIT              MI   48238‐3166
SPRINGER, EDWARD E                      9332 S VERNA ST                                                                                     CLAYPOOL             IN   46510‐9330
SPRINGER, EDWARD J                      19600 NIVER RD                                                                                      OAKLEY               MI   48649‐9709
SPRINGER, ESTA H                        PO BOX 205                                                                                          VIENNA               OH   44473‐0205
SPRINGER, FITZPATRICK                   1721 HALL ST SE                                                                                     EAST GRAND RAPIDS    MI   49506
SPRINGER, FRANCES J                     116 JOINER LN                                                                                       LEXINGTON            AL   35648‐3753
SPRINGER, FRANK W                       1920 E KIRK ST                                                                                      MUNCIE               IN   47303‐2410
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Name                            Address1                         Address2         Address3         Address4         City               State Zip
SPRINGER, FRANKLIN C            5184 SOUTH GUERIN PASS                                                              NEW BERLIN          WI 53151‐8137
SPRINGER, FRED G                6288 MARIANA DR                                                                     PARMA HEIGHTS       OH 44130‐2836
SPRINGER, FREDERICK J           22442 RIO VISTA ST                                                                  ST CLAIR SHRS       MI 48081‐2431
SPRINGER, GEORGE J              PO BOX 51                                                                           KIPTON              OH 44049‐0051
SPRINGER, GERALDINE G           705 N GAVIN ST                                                                      MUNCIE              IN 47303‐4165
SPRINGER, GERALDINE G           705 GAVIN STREET                                                                    MUNCIE              IN 47303‐4165
SPRINGER, HARLAN L              1489 ELM ST                                                                         CLIO                MI 48420‐1605
SPRINGER, HAROLD L              5223 1ST ST                                                                         THORNVILLE          OH 43076‐8109
SPRINGER, HELEN J               3117 MAYFAIR DR                                                                     KOKOMO              IN 46902‐3935
SPRINGER, HILDEGARD E           4018 E 36TH ST                                                                      ANDERSON            IN 46017‐2000
SPRINGER, HILDEGARD ELIZABETH   4018 E 36TH ST                                                                      ANDERSON            IN 46017‐2000
SPRINGER, JACQUELYN L           925 HARBINS VIEW DR                                                                 DACULA              GA 30019‐7026
SPRINGER, JAMES A               363 DURST DR NW                                                                     WARREN              OH 44483‐1105
SPRINGER, JAMES A               3107 FAIRHAVEN CT                                                                   ANN ARBOR           MI 48105‐9665
SPRINGER, JAMES E               330 DEEPDALE DR                                                                     NORWALK             OH 44857‐9795
SPRINGER, JAMES F               240 PRESTWICK LN                                                                    NEW CASTLE          DE 19720‐3034
SPRINGER, JAMES J               4751 HEATHERWOOD DR                                                                 TUSCALOOSA          AL 35405‐5742
SPRINGER, JERRY L               300 W ELM ST                                                                        FARMLAND            IN 47340‐9114
SPRINGER, JERRY LEE             300 W ELM ST                                                                        FARMLAND            IN 47340‐9114
SPRINGER, JERRY M               5509 LOVERS LN                                                                      PORTAGE             MI 49002‐1681
SPRINGER, JOAN M                248 BURROUGHS DR                                                                    SNYDER              NY 14226‐3905
SPRINGER, JOSEPH H              3250 WALTON BLVD APT 131                                                            ROCHESTER HILLS     MI 48309‐1292
SPRINGER, JUANITA J             1861 STATE ROUTE 2153                                                               MORGANFIELD         KY 42437‐7258
SPRINGER, JUDITH L              2732 GAMMA LN                                                                       FLINT               MI 48506‐1853
SPRINGER, JUDY G                17222 LEATHERWOOD DR                                                                ATHENS              AL 35611‐0601
SPRINGER, KAREN M               1075 COUNTY ROAD 128                                                                FREMONT             OH 43420‐8985
SPRINGER, KAREN S               548 N MAIN ST                                                                       OBERLIN             OH 44074
SPRINGER, KELLY L               240 PRESTWICK LN                                                                    NEW CASTLE          DE 19720‐3034
SPRINGER, KENNETH A             4186 MANOR DR                                                                       GRAND BLANC         MI 48439‐7903
SPRINGER, KIMBERLY A            200 N MAIN ST                                                                       UNION               OH 45322‐3342
SPRINGER, LARRY E               363 DURST DR NW                                                                     WARREN              OH 44483‐1105
SPRINGER, LARRY E               363 DURST DRIVE                                                                     WARREN              OH 44483‐1105
SPRINGER, LAURA F               5150 HUGHES RD                   APT#33                                             LEAVENWORTH         KS 66048‐5092
SPRINGER, LAURA F               5150 HUGHES RD APT 33                                                               LEAVENWORTH         KS 66048‐5092
SPRINGER, LAURIE L              2261 KENMORE AVENUE NORTHEAST                                                       WARREN              OH 44483‐2862
SPRINGER, LESTER C              6600 CONSTITUTION BLVD APT 104                                                      PORTAGE             MI 49024‐8929
SPRINGER, LINDA F               181 FUDGE ST                                                                        WESTLAND            MI 48186
SPRINGER, LOVINA F              10575 LANGE RD                                                                      BIRCH RUN           MI 48415‐9797
SPRINGER, MACK C                3380 EWALD CIR                                                                      DETROIT             MI 48238‐3166
SPRINGER, MARGARET              372 S SUSSEX PL                                                                     COLUMBUS            IN 47201‐9649
SPRINGER, MARGARET A            1489 ELM ST                                                                         CLIO                MI 48420‐1605
SPRINGER, MARJORIE L            5059 FAIRWAY DR                                                                     AVON                IN 46123‐4609
SPRINGER, MARY BETH             117 SANCTUARY DR                                                                    DARDENNE PRAIRIE    MO 63368
SPRINGER, MARY M                448 SWISHER MILL ROAD                                                               WEST MANCHESTER     OH 45382‐9717
SPRINGER, MARY M                448 SWISHERS MILL RD                                                                WEST MANCHESTER     OH 45382‐9717
SPRINGER, MARYPERINA A          126 W 9TH ST                                                                        NEW CASTLE          DE 19720‐6077
SPRINGER, MELVIN D              11117 WHISPERING RIDGE TRL                                                          FENTON              MI 48430‐3408
SPRINGER, MICHAEL A             2498 LOST CREEK DR                                                                  FLUSHING            MI 48433‐9425
SPRINGER, MICHELLE Y            5905 PHILADELPHIA DR                                                                DAYTON              OH 45415‐3051
SPRINGER, MILDRED C             300 CHAMBERS RD                                                                     MCDONOUGH           GA 30253‐6442
SPRINGER, MILLIE                2213 WESTBURY DRIVE                                                                 MIDLAND             MI 48642
SPRINGER, NANCY L               13814 STATE ROUTE 61                                                                COLLINS             OH 44826‐9617
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Name                            Address1                               Address2              Address3               Address4         City                State Zip
SPRINGER, NANCY L               13814 S. R.61 E.                                                                                     COLLINS              OH 44826‐9617
SPRINGER, NINA P                350 MARSEILLES AVENUE                                                                                ELYRIA               OH 44035‐4044
SPRINGER, OPAL L                910 CROWDER RD                                                                                       LAWRENCEBURG         TN 38464‐4708
SPRINGER, PAMELA T              413 BROADWAY ST                                                                                      PONTIAC              MI 48342‐1705
SPRINGER, PATRICIA A            3755 WILLIAMS ST                                                                                     INKSTER              MI 48141‐3049
SPRINGER, PATSY W               1937 S MAIN ST                                                                                       KOKOMO               IN 46902‐2132
SPRINGER, PAUL S                2645 RUBBINS RD                                                                                      HOWELL               MI 48843‐8959
SPRINGER, RALPH M               2000 E COUNTY ROAD 800 N                                                                             EATON                IN 47338‐9238
SPRINGER, RANDALL L             1345 DEER TRACK TRL                                                                                  GRAND BLANC          MI 48439‐8342
SPRINGER, RAYMOND E             13814 STATE ROUTE 61                                                                                 COLLINS              OH 44826‐9617
SPRINGER, RICHARD C             2168 BANDIT TRL                                                                                      BEAVERCREEK          OH 45434‐5605
SPRINGER, RICHARD H             1075 COUNTY ROAD 128                                                                                 FREMONT              OH 43420‐8985
SPRINGER, ROBERT C              28737 LEROY ST                                                                                       ROMULUS              MI 48174‐3009
SPRINGER, ROBERT D              2293 PAIGE MARIE DR                                                                                  WARRENTON            MO 63383‐4493
SPRINGER, ROBERT E              139 W RIVER DR                                                                                       GLADWIN              MI 48624‐7930
SPRINGER, RODNEY E              222 NORTH WEST STREET                                                                                TIPTON               IN 46072‐1655
SPRINGER, ROLLIN E              7433 JOHNSON RD                                                                                      FLUSHING             MI 48433‐9050
SPRINGER, RONALD P              181 FUDGE ST                                                                                         WESTLAND             MI 48186‐6833
SPRINGER, RONNY                 8073 MARLOWE RD                                                                                      BELLEVILLE           MI 48111‐1379
SPRINGER, SANDRA L              PO BOX 51                                                                                            KIPTON               OH 44049‐0051
SPRINGER, SARAH L               108 S DIVISION ST                                                                                    MANKATO              MN 56001‐4504
SPRINGER, SAUNDRA J             3101 STONEGATE DR                                                                                    FLINT                MI 48507‐2114
SPRINGER, SHANE T               809 WOODCREEK DR                                                                                     OSSIAN               IN 46777‐9009
SPRINGER, SHARON J              2905 THOM ST                                                                                         FLINT                MI 48506‐2455
SPRINGER, SHERIAN D             4751 HEATHERWOOD DR                                                                                  TUSCALOOSA           AL 35405‐5742
SPRINGER, STANLEY D             7649 S INDIAN LAKE DR                                                                                VICKSBURG            MI 49097‐9313
SPRINGER, STEPHEN R             1844 RED FOX RD                                                                                      EDMOND               OK 73034‐5888
SPRINGER, SUE A                 2512 E 27TH ST                                                                                       MUNCIE               IN 47302‐5551
SPRINGER, TAMMI T               PO BOX 401389                                                                                        REDFORD              MI 48240‐9389
SPRINGER, THOMAS A              117 SANCTUARY DR                                                                                     DARDENNE PRAIRIE     MO 63368‐8274
SPRINGER, TIMOTHY R             17222 LEATHERWOOD DR                                                                                 ATHENS               AL 35611‐0601
SPRINGER, TIMOTHY T             5788 HIGHWAY 481                                                                                     CONVERSE             LA 71419‐3316
SPRINGER, TIMOTHY TODD          5788 HIGHWAY 481                                                                                     CONVERSE             LA 71419‐3316
SPRINGER, TONY R                1022 NORTH PORTER STREET                                                                             SAGINAW              MI 48602‐4627
SPRINGER, VIVIAN P              8839 W BALBEC RD                                                                                     PENNVILLE            IN 47369‐9791
SPRINGER, WAYNE E               26800 S BLINKER LIGHT RD                                                                             HARRISONVILLE        MO 64701‐3361
SPRINGER, WENDALL W             1009 E GRANT ST                                                                                      MARION               IN 46952‐3019
SPRINGER, WILLIAM E             1213 MIDNIGHT PASS                                                                                   PLAINFIELD           IN 46168‐3276
SPRINGER, WILLIAM F             1724 E JOHNSTONE RD                                                                                  OWOSSO               MI 48867‐9501
SPRINGER, WILLIAM H             114 BARBA LE LANE                                                                                    LAKE OZARK           MO 65049‐5302
SPRINGER, WILLIAM H             114 BARBA LE LN                                                                                      LAKE OZARK           MO 65049‐5302
SPRINGER, WILLIE L              2526 BAYWOOD ST.                                                                                     DAYTON               OH 45406‐1409
SPRINGETTSBURY TOWNSHIP         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 2359 N SHERMAN ST     MARGARET COUSLER TAX                    YORK                 PA 17406‐1541
                                                                                             COLLECTOR
SPRINGETTSBURY TOWNSHIP         2359 N SHERMAN ST                     MARGARET COUSLER TAX                                           YORK                PA 17406‐1541
                                                                      COLLECTOR
SPRINGFIELD AUTO MART, INC.     ABEL TOLL                             431 RIVER ST                                                   NORTH SPRINGFIELD   VT   05150
SPRINGFIELD BUICK               702 A ST                                                                                             SPRINGFIELD         OR   97477‐4708
SPRINGFIELD BUICK PONTIAC GMC   431 RIVER ST                                                                                         NORTH SPRINGFIELD   VT   05150
SPRINGFIELD BUICK PONTIAC GMC   RTE 106                                                                                              N SPRINGFIELD       VT   05150
SPRINGFIELD CARTAGE LLC         PO BOX 1263                                                                                          DAYTON              OH   45401‐1263
SPRINGFIELD CHRISTOPHER         SPRINGFIELD, CHRISTOPHER              89 N HADDON AVE                                                HADDONFIELD         NJ   08033‐2423
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Name                                 Address1                              Address2                        Address3          Address4                 City            State Zip
SPRINGFIELD CITY CLERK               PO BOX 788                                                                                                       SPRINGFIELD      TN 37172‐0788
SPRINGFIELD COACH BUILDERS           1903 N BARNES AVE                                                                                                SPRINGFIELD      MO 65803‐5109
SPRINGFIELD COLLEGE                  263 ALDEN ST                                                                                                     SPRINGFIELD      MA 01109‐3707
SPRINGFIELD FA/W FLD                 170 LOCKHOUSE ROAD                                                                                               WESTFIELD        MA 01085
SPRINGFIELD FARM & AUTO              PO BOX 9, HWY. 15                                                                       DUGALD MB R0E 0K0
                                                                                                                             CANADA
SPRINGFIELD M & D INC                ATTN: RICHARD SMITH                   2420 W 4TH ST                                                              ONTARIO         OH   44906‐1294
SPRINGFIELD MOLD & DIE INC           2420 W 4TH ST                                                                                                    MANSFIELD       OH   44906‐1207
SPRINGFIELD MOTORS, INC.             ROBERT SCHERER                        702 A ST                                                                   SPRINGFIELD     OR   97477‐4708
SPRINGFIELD PUBLIC SCHOOLS                                                 940 N JEFFERSON AVE                                                                        MO   65802
SPRINGFIELD REIFFEL HAMACHECK        1430 N ASTOR ST APT 16C                                                                                          CHICAGO         IL   60610‐5725
SPRINGFIELD REMANUFACTURING CO       DWAYNE JACKSON                        4431 W CALHOUN ST               SRC AUTOMOTIVE                             SPRINGFIELD     MO   65802‐6706
SPRINGFIELD REMANUFACTURING CO       DWAYNE JACKSON                        SRC AUTOMOTIVE                  4431 W. CALHOUN                            WARREN          OH   44482
SPRINGFIELD REMANUFACTURING CO       4431 W CALHOUN ST                                                                                                SPRINGFIELD     MO   65802‐6706
SPRINGFIELD REMANUFACTURING CORP     650 N BROADVIEW PL                                                                                               SPRINGFIELD     MO   65802‐5839

SPRINGFIELD SUGAR & PRODUCTS CO.     340 BALLARDVALE ST                                                                                               ANDOVER         MA   01810‐5991
SPRINGFIELD TIRE & AUTO              435 DWIGHT ST                                                                                                    SPRINGFIELD     MA   01103‐1311
SPRINGFIELD TOWNSHIP                 12000 DAVISBURG RD                                                                                               DAVISBURG       MI   48350‐2643
SPRINGFIELD TOWNSHIP                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 50 POWELL ROAD                                                            SPRINGFIELD     PA   19064

SPRINGFIELD TOWNSHIP                 50 POWELL ROAD                                                                                                   SPRINGFIELD     PA 19064
SPRINGFIELD TOWNSHIP                 PO BOX 133                                                                                                       ONTARIO         OH 44862‐0133
SPRINGFIELD, CITY OF                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 8368                    DEPT OF FINANCE                            SPRINGFIELD     MO 65801‐8368

SPRINGFIELD, CITY OF                 PO BOX 8368                           DEPT OF FINANCE                                                            SPRINGFIELD     MO   65801‐8368
SPRINGFIELD, FARRIS J                RT 6 1027 BROWN RD                                                                                               BOAZ            AL   35957
SPRINGFIELD, GENETTA                 1121 DOGWOOD LN                                                                                                  ASHVILLE        AL   35953‐4017
SPRINGFIELD, JACQUELYN J             8216 LOCKWOOD LN                                                                                                 INDIANAPOLIS    IN   46217‐4243
SPRINGFIELD, JAMES C                 1513 LEWISON AVE NE                                                                                              GRAND RAPIDS    MI   49505‐5419
SPRINGFIELD, JAY C                   1401 S CAGE BLVD UNIT 926                                                                                        PHARR           TX   78577‐6247
SPRINGFIELD, JOHN T                  2216 PERKINS ST                                                                                                  SAGINAW         MI   48601‐2054
SPRINGFIELD, JOHNNY L                1159 E RIVER ST                                                                                                  ELYRIA          OH   44035‐6057
SPRINGFIELD, LORENE                  1501 E RENO RD                                                                                                   AZLE            TX   76020
SPRINGFIELD, MARGARET R              14 S CHESTNUT AVE                                                                                                NILES           OH   44446‐1543
SPRINGFIELD, NANCY R                 3135 WILDRIDGE DR NE                                                                                             GRAND RAPIDS    MI   49525‐3038
SPRINGFIELD, RUBY KATH               3513 GEORGIA AVE                                                                                                 MUSKOGEE        OK   74403
SPRINGFIELD, TOMMIE                  3858 E 186TH ST                                                                                                  CLEVELAND       OH   44122‐6559
SPRINGFILED, ROBERT LEE              WATKINS ASHLEY & BARLOW MELINDA H     360 PLACE OFFICE PARK, 1201 N                                              ARLINGTON       TX   76006
                                                                           WATSON ‐ STE 145
SPRINGFIX BEFESTIGUNGSTECHNIK GMBH   BRUEHLSTR 38                                                                            SALACH BW 73084
                                                                                                                             GERMANY
SPRINGFIX‐BEFESTIGUNGSTECHNIK GMBH BRUHLSTR 38                                                                               SALACH D‐73084 GERMANY

SPRINGGATE, M G                      6067 WEST 107TH STREET                                                                                           OVERLAND PARK   KS   66207‐3800
SPRINGGAY, RUTH E                    640 PARK CIR                                                                                                     CLIO            MI   48420‐2303
SPRINGHETTI, JOHN                    1321 WAVERLY DR                                                                                                  WHITE LAKE      MI   48386‐4548
SPRINGHILL CITY TAX COLLECTOR        PO BOX 398                                                                                                       SPRINGHILL      LA   71075‐0398
SPRINGHILL MOTOR CO., INC.           1010 S ARKANSAS ST                                                                                               SPRINGHILL      LA   71075‐3822
SPRINGHILL MOTOR CO., INC.           JAMES COLVIN                          1010 S ARKANSAS ST                                                         SPRINGHILL      LA   71075‐3822
SPRINGHILL SUITES                    450 N CENTER DR                                                                                                  GRAND RAPIDS    MI   49544
SPRINGHORN, GREGORY                  BLOCK JUSTIN M                        1601 VETERANS HWY STE 500                                                  ISLANDIA        NY   11749‐1528
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Name                               Address1                           Address2                       Address3   Address4         City                 State Zip
SPRINGHURST CHEVROLET              10500 WESTPORT RD                                                                             LOUISVILLE            KY 40241‐1958
SPRINGHURST CHEVROLET, INC.        TERRENCE CULLEN                    10500 WESTPORT RD                                          LOUISVILLE            KY 40241‐1958
SPRINGLETS BOTTLED WATER COMPANY   TABER J TYRELL                     2415 E CAMELBACK RD SUITE 90                               PHOENIX               AZ 85016

SPRINGMAN JR, WILLIAM E            910 N PERKINS ST                                                                              RUSHVILLE            IN   46173‐1209
SPRINGMAN, CARL R                  4266 PLATTIN RD                                                                               FESTUS               MO   63028‐5322
SPRINGMAN, JOHN E                  5445 W CO RD 900 N                                                                            CARTHAGE             IN   46115
SPRINGMAN, VIDA S                  5445 W CO RD 900 N                                                                            CARTHAGE             IN   46115
SPRINGMEYER, GARY A                PO BOX 73                                                                                     BETHLEHEM            CT   06751
SPRINGMEYER, M.D.                  1800 E. 70TH ST., STE 100                                                                     SHREVEPORT           LA   71105
SPRINGMEYER, MILTON J              329 WEISS AVE                                                                                 LEMAY                MO   63125‐1624
SPRINGOB HERMAN W                  C/O GOLDBERG, PERSKY & WHITE, PC   1030 FIFTH AVENUE                                          PITTSBURGH           PA   15219
SPRINGS AUTO, INC.                 LAWRENCE CAFFEE                    310 E MAIN ST                                              WESSINGTON SPRINGS   SD   57382
SPRINGS AUTO, INC.                 31 E MAIN ST                                                                                  WESSINGTON SPRINGS   SD   57382
SPRINGS AUTO, INC.                 310 E MAIN ST                                                                                 WESSINGTON SPRINGS   SD   57382
SPRINGS ELMER                      2518 COUNTRY CLUB DR                                                                          PEARLAND             TX   77581‐5003
SPRINGS JR, CHARLES E              5256 HALE DR                                                                                  TROY                 MI   48085‐3405
SPRINGS, DONALD                    PO BOX 266                                                                                    COULTERVILLE         IL   62237‐0266
SPRINGS, KENNETH F                 66 BOUNDARY BLVD APT 280                                                                      ROTONDA WEST         FL   33947
SPRINGS, MICHAEL A                 14101 DEER COVE DR                                                                            HOLLAND              MI   49424‐8419
SPRINGS, MICHAEL A                 2446 BRISTOL RD                                                                               IMLAY CITY           MI   48444‐9739
SPRINGSTEAD, ROBERT B              1039 CAMPBELL ST                                                                              SANDUSKY             OH   44870‐3451
SPRINGSTEEN, CHARLES               12454 MAPLE RD.                                                                               GOODRICH             MI   48438‐8802
SPRINGSTEEN, DALE F                10289 WASHBURN RD                                                                             GOODRICH             MI   48438‐9624
SPRINGSTEEN, DANIEL J              PO BOX 241                                                                                    OTISVILLE            MI   48463‐0241
SPRINGSTEEN, DANIEL JOSEPH         PO BOX 241                                                                                    OTISVILLE            MI   48463‐0241
SPRINGSTEEN, DONALD C              204 E MAIN ST                                                                                 HALE                 MI   48739‐9558
SPRINGSTEEN, DONALD CLAUDE         204 E MAIN ST                                                                                 HALE                 MI   48739‐9558
SPRINGSTEEN, DOUGLAS B             1525 E MULLETT LAKE RD                                                                        INDIAN RIVER         MI   49749
SPRINGSTEEN, EARL D                735 N COURT ST                                                                                LAPEER               MI   48446‐2124
SPRINGSTEEN, GARY W                2075 W RIDGE DR                                                                               DAVISON              MI   48423‐2128
SPRINGSTEEN, ISALINE M             4065 DOWDALL ST                                                                               FLINT                MI   48506‐2037
SPRINGSTEEN, JAMES C               10 CANDLELIGHT LOOP                                                                           LAKE WALES           FL   33859‐6069
SPRINGSTEEN, JUDY H                2075 W RIDGE DR                                                                               DAVISON              MI   48423‐2128
SPRINGSTEEN, KAREN E               2410 KILMARY DR                                                                               RAWLINS              WY   82301‐4217
SPRINGSTEEN, KENNETH W             6088 GUNNELL RD                                                                               MILLINGTON           MI   48746‐9720
SPRINGSTEEN, RUSSELL C             5383 WESTCHESTER DR                                                                           FLINT                MI   48532‐4053
SPRINGSTEEN, WAYNE R               1809 CRESTBROOK LN                                                                            FLINT                MI   48507‐5336
SPRINGSTON, BARBARA M              4910 ROOTSTOWN RD                                                                             RAVENNA              OH   44266‐9513
SPRINGSTUBBE, BARBARA R            PO BOX 44                                                                                     WATERS               MI   49797‐0044
SPRINGSTUBBE, BARBARA R            BOX 44 11914 FANTASY DR                                                                       WATERS               MI   49797‐0044
SPRINGSTUBBE, STEPHEN L            68260 S FOREST AVE                                                                            RICHMOND             MI   48062‐1314
SPRINGSTUBBE, VELMA L              262 SISSON                                                                                    ROMEO                MI   48065‐5040
SPRINGSTUBBE, VELMA L              262 SISSON ST                                                                                 ROMEO                MI   48065‐5040
SPRINGVLOED, EDWARD A              3644 IVY DR NE                                                                                GRAND RAPIDS         MI   49525‐2420
SPRINGVLOED, GEORGE C              1417 142ND AVE                                                                                DORR                 MI   49323‐9402
SPRINGWOOD INDUSTRIAL INC          1062 N KRAEMER PL                                                                             ANAHEIM              CA   92806‐2610
SPRINKEL, MICHAEL E                6315 THOMPSON RD                                                                              MARSING              ID   83639‐8033
SPRINKEL, ROBERT E                 10108 PARK EDGE DR                                                                            DAYTON               OH   45458‐9574
SPRINKLE & WILLIAMS AUTOMOTIVE     12539 WARWICK BLVD                                                                            NEWPORT NEWS         VA   23606‐2604
SPRINKLE GILBERT T (349804)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA   23510
                                                                      STREET, SUITE 600
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Name                             Address1                            Address2                      Address3   Address4         City               State Zip
SPRINKLE JR, WALTER L            163 STATE ROUTE 58                                                                            SULLIVAN            OH 44880‐9702
SPRINKLE JR., WALTER B           5210 BUCCO REEF RD                                                                            NEW BERN            NC 28560‐5421
SPRINKLE THOMAS L (343890)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                     STREET, SUITE 600
SPRINKLE WILLIAM C (346662)      ANGELOS PETER G                     100 N CHARLES STREET , ONE                                BALTIMORE          MD 21201
                                                                     CHARLES CENTER
SPRINKLE, BETTY A                10564 BASTILLE LN # P7202                                                                     ORLANDO            FL   32836
SPRINKLE, BETTY J                800 E SOUTH B ST #6                                                                           GAS CITY           IN   46933‐2111
SPRINKLE, CLIFTON                5428 SARA ROSE DR                                                                             FLINT              MI   48505‐1093
SPRINKLE, DEBORAH A              6463 RUSTIC RIDGE TRL                                                                         GRAND BLANC        MI   48439‐4950
SPRINKLE, DEBORAH A              1123 SOMERSET LN                                                                              FLINT              MI   48503‐2925
SPRINKLE, ELROY                  6463 RUSTIC RIDGE TRL                                                                         GRAND BLANC        MI   48439‐4950
SPRINKLE, FRANK D                237 LAKEVIEW DR                                                                               CROSSVILLE         TN   38558‐7048
SPRINKLE, GENE A                 11193 DOSTER RD                                                                               PLAINWELL          MI   49080‐9316
SPRINKLE, GILBERT T              GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                     STREET, SUITE 600
SPRINKLE, HUGH W                 1946 MATTIS DRIVE                                                                             DAYTON             OH   45439‐5439
SPRINKLE, HUGH W                 1946 MATTIS DR                                                                                DAYTON             OH   45439‐2612
SPRINKLE, JEFFORY L              3565 W SAGINAW RD                                                                             VASSAR             MI   48768‐9523
SPRINKLE, JERRY W                2716 LINWOOD AVE                                                                              ROYAL OAK          MI   48073‐4609
SPRINKLE, JOSEPH L               9037 S COUNTY ROAD 300 E                                                                      WALTON             IN   46994‐9231
SPRINKLE, LAWRENCE L             3212 LINDALE AVE.                                                                             DAYTON             OH   45414‐5402
SPRINKLE, LEATRICE L             939 COPEMAN BLVD                                                                              FLINT              MI   48504‐3140
SPRINKLE, LEATRICE LAVOLA        939 COPEMAN BLVD                                                                              FLINT              MI   48504‐3140
SPRINKLE, PATRICIA               30778 BEVERLY RD                                                                              ROMULUS            MI   48174‐2056
SPRINKLE, PEGGY                  9060 E D AVE                                                                                  RICHLAND           MI   49083‐9454
SPRINKLE, RICHARD                4136 PALMWOOD DR APT 10                                                                       LOS ANGELES        CA   90008‐2354
SPRINKLE, RICKEY D               6011 FLAT WOOD LN                                                                             ARLINGTON          TX   76018‐3143
SPRINKLE, TERRY L                APT 4                               815 DUBOIS COURT WEST                                     FRANKLIN           OH   45005‐3741
SPRINKLE, TEYANA D               1920 WHITTLESEY ST                                                                            FLINT              MI   48503‐4347
SPRINKLE, TEYANA DANYELLE        1920 WHITTLESEY ST                                                                            FLINT              MI   48503‐4347
SPRINKLE, THEODORE C             1411 DARBY AVE                                                                                KOKOMO             IN   46902‐6048
SPRINKLE, THOMAS L               GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                     STREET, SUITE 600
SPRINKLE, WILLIAM C              ANGELOS PETER G                     100 N CHARLES STREET, ONE                                 BALTIMORE          MD 21201‐3812
                                                                     CHARLES CENTER
SPRINKLER WORLD OF ARIZONA INC   2114 E INDIAN SCHOOL RD                                                                       PHOENIX            AZ   85016‐6130
SPRINKLES, JESSIE C              13940 ANONA HGTS. DR. #20                                                                     LARGO              FL   33774‐3031
SPRINKLES, JESSIE C              APT 22                              13940 ANONA HEIGHTS DRIVE                                 LARGO              FL   33774‐3032
SPRINKLES, ZYLPHA M              605 JACKSON LANE                                                                              MIDDLETOWN         OH   45044‐4962
SPRINKLES, ZYLPHA M              605 JACKSON LN                                                                                MIDDLETOWN         OH   45044‐4962
SPRINOT, MILDRED J               1113 RIDGE                                                                                    COLLINSVILLE       IL   62234‐4127
SPRINOT, MILDRED J               1113 RIDGE AVE                                                                                COLLINSVILLE       IL   62234‐4127
SPRINT                           PO BOX 8077                                                                                   LONDON             KY   40742‐8077
SPRINT                           PO BOX 740463                                                                                 CINCINNATI         OH   45274‐0463
SPRINT                           6500 SPRINT PKWY MS HL‐5AFTX                                                                  OVERLAND PARK      KS   66251‐6108
SPRINT                           PO BOX 219623                                                                                 KANSAS CITY        MO   64121‐9623
SPRINT                           PO BOX 88026                                                                                  CHICAGO            IL   60680‐1026
SPRINT                           PO BOX 541023                                                                                 LOS ANGELES        CA   90054‐1023
SPRINT                           PO BOX 79357                                                                                  CITY OF INDUSTRY   CA   91716‐9357
SPRINT                           PO BOX 660092                                                                                 DALLAS             TX   75266‐0092
SPRINT                           PO BOX 219100                                                                                 KANSAS CITY        MO   64121‐9100
                                09-50026-mg               Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
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Name                            Address1                            Address2                       Address3                 Address4         City                State Zip
SPRINT                          6200 SPRINT PARKWAY                                                                                          OVERLAND PARK        KS 66251
SPRINT
SPRINT                          39200 SCHOOLCRAFT RD                                                                                         LIVONIA             MI   48150‐5034
SPRINT CORPORATION              650 DENTON BLVD NW                                                                                           FORT WALTON BEACH   FL   32547‐2113
SPRINT CORPORATION              2820 CARGO ST                                                                                                FORT MYERS          FL   33916‐7502
SPRINT CORPORATION              1325‐1/2 BLAIR STONE RD                                                                                      TALLAHASSEE         FL   32301
SPRINT CORPORATION              972 1ST ST                                                                                                   ALTAMONTE SPRINGS   FL   32701‐3610
SPRINT F/K/A UNITED TELEPHONE   OHIO EDISON COMPANY                 2525 W 4TH ST                                                            ONTARIO             OH   44906‐1208
COMPANY OF OHIO
SPRINT MID‐ATLANTIC TELECOM     1620 W SAINT JAMES ST                                                                                        TARBORO             NC 27886‐5275
SPRINT NEXTEL CORP
SPRINT NEXTEL CORP              2001 EDMUND HALLEY DR                                                                                        RESTON              VA 20191‐3436
SPRINT NEXTEL CORP              2001 EDMUND HALLEY DR               ATTN: LEGAL DEPT., CONTRACTS                                             RESTON              VA 20191‐3436
                                                                    MANAGER
SPRINT NEXTEL CORP              23800 W 10 MILE RD STE 190          ATTN: PROPERTY MANAGER                                                   SOUTHFIELD          MI   48033‐3123
SPRINT NEXTEL CORP              27755 STANSBURY BLVD                                                                                         FARMINGTON HILLS    MI   48334‐3861
SPRINT NEXTEL CORP              27755 STANSBURY BLVD.                2ND FLOOR                                                               FARMINGTON HILLS    MI   48334
SPRINT NEXTEL CORP              300 GALLERIA OFFICENTRE              SUITE 301                                                               SOUTHFIELD          MI   48034
SPRINT NEXTEL CORP              ATTN: LEGAL DEPT., CONTRACTS MANAGER 2001 EDMUND HALLEY DR                                                   RESTON              VA   20191‐3436

SPRINT NEXTEL CORP              ATTN: PROPERTY MANAGER              27755 STANSBURTY BLV.D         2ND FLOOR                                 FARMINGTON HILLS    MI 48334
SPRINT NEXTEL CORP              LEGAL DEPARTMENT, CONTRACTS         2001 EDMUND HALLEY DR                                                    RESTON              VA 20191‐3436
                                MANAGER
SPRINT NEXTEL CORP              PO BOX 4181                                                                                                  CAROL STREAM        IL 60197‐4181
SPRINT NEXTEL CORP              PROPERTY MANAGER                    27755 STANSBURY BLVD.          2ND FLOOR                                 FARMINGTON HILLS    MI 48334
SPRINT NEXTEL CORP              SITE LEASING SERVICES, CONTRACTS    2001 EDMUND HALLEY DR          SIXTH FLOOR, MAIL STOP                    RESTON              VA 20191‐3436
                                MANAGER                                                            6E630
SPRINT NEXTEL CORPORATION       BRET WATSON                         6799 REGENCY DR                                                          WESTERVILLE         OH 43082‐8479
SPRINT PCS                      PO BOX 62071                                                                                                 BALTIMORE           MD 21264‐2071
SPRINT SOLUTIONS INC.
SPRINT SOUTHERN OPERATIONS      972 1ST ST                                                                                                   ALTAMONTE SPRINGS   FL   32701‐3610
SPRINT SPECTRUM LP              6391 SPRINT PKWY                    MAILSTOP KSOPH0101‐Z2020                                                 OVERLAND PARK       KS   66251‐6100
SPRINT SPECTRUM LP              PO BOX 1769                                                                                                  NEWARK              NJ   07101‐1769
SPRINT‐02                       PO BOX 219100                                                                                                KANSAS CITY         MO   64121‐9100
SPRINT‐NEXTEL                   PO BOX 541023                                                                                                LOS ANGELES         CA   90054‐1023
SPRINT/CENTRAL TELEPHONE NV     3436 ALDEBARAN AVE                                                                                           LAS VEGAS           NV   89102‐8423
SPRISSLER, SHARON A             113 WHITETAIL CROSSING DR                                                                                    TROY                MO   63379‐2565
SPRISTER, BRANDON E             117 SANDSTONE CREEK DR APT 15                                                                                GRAND LEDGE         MI   48837‐1884
SPRITZER, FRANK                 3106 NORTHWEST BLVD NW                                                                                       WARREN              OH   44485‐2236
SPROAT MYRLA H                  DBA J & M UNLIMITED                 1929 HIGHWAY 12 S                                                        ASHLAND CITY        TN   37015‐3912
SPROAT, GLENN L                 2959 WAYNESVILLE JAMESTOWN RD                                                                                XENIA               OH   45385‐9612
SPROAT, NORMA D.                722 E MARSHALL ST                                                                                            MARION              IN   46952‐2965
SPROAT, SALLY J                 4097 BREAKWATER DR                                                                                           OKEMOS              MI   48864
SPROAT, SHIRLEY J               4707 LAURIE LN                                                                                               LANSING             MI   48910‐5396
SPROAT, VIRGINIA C              2959 WAYNESVILLE JAMESTOWN RD                                                                                XENIA               OH   45385‐9612
SPROAT, WILLIAM A               33328 WOLF HOLW                                                                                              ORRICK              MO   64077‐8031
SPROATES, GEORGE R              PO BOX 323                                                                                                   MILLINGTON          MD   21651‐0323
SPROCK, JAKE L                  108 E LARK DR                                                                                                FENTON              MO   63026‐4440
SPROCKETT, EUGENE               2743 JUNO PL                                                                                                 FAIRLAWN            OH   44333‐4121
SPROFERA, FRANK J               3522 N 64TH TER                                                                                              KANSAS CITY         KS   66104‐1010
SPROK JR, ANDREW                4746 COTTONWOOD LN                                                                                           BRUNSWICK           OH   44212‐2412
SPROK, MARY LOU                 4746 COTTONWOOD LN                                                                                           BRUNSWICK           OH   44212‐2412
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Name                     Address1                        Address2                        Address3   Address4         City            State Zip
SPROLE, CHRISTOPHER W    12 N VALENTINE DR                                                                           GARNET VALLEY    PA 19061‐1333
SPROLES, BILLIE E        4779 UTICA RD                                                                               WAYNESVILLE      OH 45068‐9371
SPROLES, CHARLES K       4779 UTICA RD                                                                               WAYNESVILLE      OH 45068‐9371
SPROLES, CHARLOTTE C     1806 28TH ST                                                                                BEDFORD          IN 47421‐5302
SPROLES, CHESTER         1663 S EAGLES VIEW DR                                                                       MARTINSVILLE     IN 46151‐6148
SPROLES, DENNIS          2257 RIDGE RD                                                                               WILLIAMS         IN 47470‐8885
SPROLES, GERALD W        2202 BRADY AVE                                                                              BURTON           MI 48529‐2427
SPROLES, JOE D           3460 CLIFFS DR                                                                              PETOSKEY         MI 49770‐8584
SPROLES, RUTH V          1212 NORTH EVERGREEN STREET                                                                 ARLINGTON        VA 22205‐2550
SPRONG JR, MONFORD R     3288 WESTPOINTE DR                                                                          FRANKLIN         IN 46131‐9836
SPRONG, BRYAN
SPRONG, CHRISTOPHER
SPRONG, JANICE S         12156 E 300 N                                                                               GREENTOWN       IN   46936‐8704
SPRONG, OMAJEAN          2435 W 12TH ST                                                                              MARION          IN   46953‐1066
SPRONG, OMAJEAN          2435 WEST 12TH STREET                                                                       MARION          IN   46953‐1066
SPRONG, RICHARD E        2435 W 12TH ST                                                                              MARION          IN   46953‐1066
SPRONG, ROGER C          GUELZOW & LAUFENBERG            PO BOX 1243                                                 EAU CLAIRE      WI   54702‐1243
SPRONZ, JACK J           PO BOX 16121                                                                                ROCHESTER       NY   14616‐0121
SPRONZ, JACK M           51 WIDGEDON LNDG                                                                            HILTON          NY   14468‐8940
SPROSS, NICHOLAS         718 S HIGHLAND DR                                                                           MUSTANG         OK   73064‐3314
SPROTT BARBARA           SPROTT, BARBARA                 1301 GRANT BUILDING 310 GRANT                               PITTSBURGH      PA   15219
                                                         STREET
SPROTT, BARBARA          GORBERG DAVID J                 1301 GRANT BUILDING 310 GRANT                               PITTSBURGH      PA 15219
                                                         STREET
SPROUL GAIL              8726 GREENBANK BOULEVARD                                                                    WINDERMERE      FL   34786‐6717
SPROUL RICHARD W         3710 LEXINGTON DR                                                                           AUBURN HILLS    MI   48326‐3975
SPROUL, ANGELA M         10884 BURT RD                                                                               BIRCH RUN       MI   48415‐9340
SPROUL, DAVID E          308 1/2 W STATE ST                                                                          MONTROSE        MI   48457‐9766
SPROUL, GAYLE D          11562 BELL RD                                                                               BURT            MI   48417‐9751
SPROUL, GERALD L         5133 FLAGLER ST                                                                             FLINT           MI   48532‐4137
SPROUL, HAROLD B         23706 S STONEY PATH DR                                                                      SUN LAKES       AZ   85248‐6157
SPROUL, HELEN G          1947 W 12TH ST                                                                              MARION          IN   46953‐1248
SPROUL, HELEN G          1947 WEST 12TH STREET                                                                       MARION          IN   46953‐1248
SPROUL, HOWARD D         2846 WASHINGTON BLVD                                                                        MCKEESPORT      PA   15133‐2014
SPROUL, JAMES B          12524 STATE ROUTE 110                                                                       NAPOLEON        OH   43545‐9011
SPROUL, JAMES P          5808 HILLIARD RD                                                                            LANSING         MI   48911‐4925
SPROUL, KAREN L          2780 DUNWOODY CIR                                                                           HOLT            MI   48842‐8738
SPROUL, MARY ANN         APT 326                         9000 BRIARCROFT LANE                                        LAUREL          MD   20708‐1367
SPROUL, MARY ANN         9000 BRIARCROFT LANE            APT 326                                                     LAUREL          MD   20708
SPROUL, MARY J           308 1/2 W STATE ST                                                                          MONTROSE        MI   48457‐9766
SPROUL, MATTHEW F        402 CLEARVIEW DR                                                                            HOUGHTON LAKE   MI   48629‐9408
SPROUL, MATTHEW FARNUM   402 CLEARVIEW DR                                                                            HOUGHTON LAKE   MI   48629‐9408
SPROUL, MELVIN K         PO BOX 295                                                                                  LYONS           MI   48851‐0295
SPROUL, MILTON D         3247 DELEVAN DR                                                                             SAGINAW         MI   48603‐1713
SPROUL, RICHARD A        23706 S STONEY PATH DR                                                                      SUN LAKES       AZ   85248‐6157
SPROUL, SANDALEE F       23706 S STONEY PATH DR                                                                      SUN LAKES       AZ   85248‐6157
SPROUL, WALTER B         12189 BURT RD                                                                               BIRCH RUN       MI   48415‐9318
SPROUL, WILLIAM F        5758 CALANAS AVE                                                                            LAS VEGAS       NV   89141‐3952
SPROULE JR, HAROLD V     2908 LAKEHILL DR                                                                            CURRAN          MI   48728‐9743
SPROULE, ELIZABETH       2928 BRADFORD WAY                                                                           MARYVILLE       TN   37803‐2242
SPROULE, J A             108 MOSS HILL LN                                                                            CALERA          AL   35040‐4875
SPROULE, JIMMY E         512 BEACH ST                                                                                FENTON          MI   48430‐3122
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Name                              Address1                          Address2                        Address3   Address4         City              State Zip
SPROULE, LESLIE D                 4708 CAINE RD                                                                                 VASSAR             MI 48768‐9541
SPROULE, ROBERT F                 10267 COACHMAN CT                                                                             DAVISON            MI 48423‐1481
SPROULE, SANDRA A                 2260 7TH ST NW                                                                                GRAND RAPIDS       MI 49504‐3861
SPROULE, SHIRLEY J                9010 WEBBER RD                                                                                AFTON              MI 49705‐9761
SPROULE, SHIRLEY J                9010 WEBBER ROAD                                                                              ASTON              MI 49705
SPROULE, T R                      1251 ADAMS RD                                                                                 BURTON             MI 48509‐2359
SPROULL, LANNY D                  3215 COLUMBINE DR                                                                             SAGINAW            MI 48603‐1925
SPROULLS TOMOTLIS                 SPROULLS, TOMOTLIS                1407 CHAPMAN ROAD                                           UTICA              MS 39175
SPROULLS, DELORIS H               1407 CHAPMAN ROAD                                                                             UTICA              MS 39175‐9175
SPROULLS, DELORIS H               32199 HIGHWAY 18                                                                              UTICA              MS 39175‐9622
SPROULLS, TOMOTLIS                1407 CHAPMAN RD                                                                               UTICA              MS 39175‐9706
SPROUSE DALLAS A (429855)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                    STREET, SUITE 600
SPROUSE RONALD                    C/O MCKENNA & CHIODO              436 BOULEVARD OF THE ALLIES ‐                               PITTSBURGH        PA 15219
                                                                    SUITE 500
SPROUSE RONALD (507064)           (NO OPPOSING COUNSEL)
SPROUSE, BERTHA M                 405 S NEWKIRK ST                                                                              BALTIMORE         MD   21224‐2634
SPROUSE, BETHEL                   6426 CLOVERTON DR                                                                             WATERFORD         MI   48329‐1313
SPROUSE, CORA M                   102 WATCHMAN WAY                                                                              NEWPORT           TN   37821
SPROUSE, DALLAS A                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA   23510‐2212
                                                                    STREET, SUITE 600
SPROUSE, DESTANY DAWN MARIE
SPROUSE, DUSTIN LEE CRAIG
SPROUSE, ELLEN P                  6720 HWY.13 APT# 2                                                                            POLO              MO   64671‐8700
SPROUSE, ELLEN P                  6720 S HIGHWAY 13 APT 2                                                                       POLO              MO   64671‐8700
SPROUSE, FRANK H                  539 GARDEN PKWY                                                                               CIRCLEVILLE       OH   43113‐1419
SPROUSE, FRANKIE R                6363 128TH AVE                                                                                FENNVILLE         MI   49408‐9607
SPROUSE, GERALD D                 106 E MEADOWBROOK CT                                                                          POLO              MO   64671‐9781
SPROUSE, JAMES M                  5053 N BELSAY RD                                                                              FLINT             MI   48506‐1669
SPROUSE, JAMES MARCELL            5053 N BELSAY RD                                                                              FLINT             MI   48506‐1669
SPROUSE, JENNIFER L               180 W STRATHMORE AVE                                                                          PONTIAC           MI   48340‐2776
SPROUSE, LINWOOD G                222 NANCY DR                                                                                  KOKOMO            IN   46901‐5907
SPROUSE, NELLIE M                 1836 SURREY TRL APT 2                                                                         BELLBROOK         OH   45305
SPROUSE, PHILLIP D                843 SHERWOOD DR                                                                               ELYRIA            OH   44035‐3015
SPROUSE, RACHEL M                 13849 WILLESDEN CIR                                                                           FISHERS           IN   46037‐6268
SPROUSE, RONALD                   MCKENNA & CHIDO                   436 BOULEVARD OF THE ALLIES ‐                               PITTSBURGH        PA   15219
                                                                    SUITE 500
SPROUSE, RONALD                   THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD         SUITE 44                    CORAL GABLES      FL 33146
SPROUSE, RONALD E                 2400 N STATE RD                                                                               DAVISON           MI 48423‐1178
SPROUSE, RUSH ROBINSON            PORTMAN FOLEY & FLINT             471 E BROAD ST STE 1820                                     COLUMBUS          OH 43215‐3842
SPROUSE, SERENITY RUSHEA ROBIN,
SPROUT, ERNEST G                  191 SLICERS MILL ROAD                                                                         RISING SUN        MD   21911‐1638
SPROUT, LYNN J                    1749 ROWLEY RD                                                                                WILLIAMSTON       MI   48895‐9669
SPROUT, LYNN J                    13615 STOVER RD APT 9                                                                         CHARLEVOIX        MI   49720‐9683
SPROUT, STEVEN H                  10605 PINEVIEW DRIVE                                                                          MABELVALE         AR   72103‐4551
SPROUTS, MARLIN                   129 SUNNYSIDE DR                                                                              ROCHESTER         NY   14623‐1335
SPROVIERO, DOROTHY L              963 WEXFORD WAY                                                                               ROCHESTER HILLS   MI   48307‐2977
SPROW, CHAD A                     22278 ROAD B                                                                                  CONTINENTAL       OH   45831‐9403
SPROW, CHAD AARON                 22278 ROAD B                                                                                  CONTINENTAL       OH   45831‐9403
SPROW, LINDA S                    84 PALMER DR                                                                                  SANDUSKY          OH   44870‐4411
SPROW, MARY G                     1047 NANTUCKET DR                                                                             HERMITAGE         PA   16148‐3685
SPROW, RAYMOND M                  920 EDEN VALE LN                                                                              HOWELL            MI   48843‐6602
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Name                                Address1                      Address2                      Address3   Address4         City             State Zip
SPROW, ROBERT D                     300 DUNCAN AVE                                                                          CHEBOYGAN         MI 49721‐1316
SPROW, TIMOTHY W                    14453 SAUSMAN RD                                                                        SHERWOOD          OH 43556‐9744
SPROW, TIMOTHY WILLIAM              14453 SAUSMAN RD                                                                        SHERWOOD          OH 43556‐9744
SPROWL, CEDRIC H                    PO BOX 202683                                                                           ARLINGTON         TX 76006‐8683
SPROWL, CHARLES                     4260 OCTOBER WOODS DRIVE                                                                ANTIOCH           TN 37013‐4876
SPROWL, CLARE S                     4502 HUCKLEBERRY LN                                                                     FLINT             MI 48507‐2329
SPROWL, CLARE S.                    4502 HUCKLEBERRY LN                                                                     FLINT             MI 48507‐2329
SPROWL, GERALYN M                   3059 S DYE RD                                                                           FLINT             MI 48507‐1001
SPROWL, JAMES W                     790 S DIAMOND MILL RD                                                                   NEW LEBANON       OH 45345‐9149
SPROWL, LARRY M                     8120 S 600 W                                                                            WARREN            IN 46792‐9734
SPROWL, PHILLIP V                   595 SAINT LAWRENCE ST                                                                   MARYSVILLE        MI 48040‐1332
SPROWL, TANZA                       4260 OCTOBER WOODS DRIVE                                                                ANTIOCH           TN 37013
SPROWL, TERRY L                     9586 SWAFFER RD                                                                         FRANKENMUTH       MI 48734‐9401
SPROWLE, DAVID H                    491 ELK DRIVE                                                                           PAGOSA SPRINGS    CO 81147‐7652
SPROWLE, DAVID H                    491 ELK DR                                                                              PAGOSA SPRINGS    CO 81147‐7652
SPROWLS, CHARLES E                  452 WESTVIEW RD                                                                         BEDFORD           OH 44146‐2214
SPRUANCE, JACK M                    8515 RIDGEWAY RD                                                                        PETOSKEY          MI 49770‐8670
SPRUCE LEONARD S (439534)           GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                  STREET, SUITE 600
SPRUCE PINE CHEVROLET PONTIAC GMC   36 CHEVROLET BLVD                                                                       SPRUCE PINE      NC 28777‐8581

SPRUCE PINE CHEVROLET, INC.         HARRY BROWN                   36 CHEVROLET BLVD                                         SPRUCE PINE      NC 28777‐8581
SPRUCE, LEONARD S                   GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                                  STREET, SUITE 600
SPRUDE, LOVENNA A                   9345 ST. RTE. 202 S.                                                                    TIPP CITY        OH   45371‐5371
SPRUDE, LOVENNA A                   9345 S STATE ROUTE 202                                                                  TIPP CITY        OH   45371‐9473
SPRUDE, LOVENNA ANN                 9345 S STATE ROUTE 202                                                                  TIPP CITY        OH   45371‐9473
SPRUDE, RANDY A                     2908 CALIFORNIA AVE                                                                     KETTERING        OH   45419‐1916
SPRUEL, JOHN A                      987 GLASGOW DR                                                                          CINCINNATI       OH   45240‐2349
SPRUEL, LAWRENCE E                  8433 PINEVERDE LN                                                                       JACKSONVILLE     FL   32244‐5255
SPRUELL, MICHAEL N                  2805 SW 109TH ST                                                                        OKLAHOMA CITY    OK   73170‐2461
SPRUELL, TARA                       STIPE GOSSETT STIPE           PO BOX 1368                                               MCALESTER        OK   74502‐1368
SPRUIELL ROGER WAYNE                C/O EDWARD O MOODY P A        801 WEST 4TH STREET                                       LITTLE ROCK      AR   72201
SPRUIELL, FRANCES                   174 W 137TH ST APT 11                                                                   NEW YORK         NY   10030‐2566
SPRUIELL, ROGER WAYNE               MOODY EDWARD O                801 W 4TH ST                                              LITTLE ROCK      AR   72201‐2107
SPRUILL                             PO BOX 934585                                                                           ATLANTA          GA   31193‐4585
SPRUILL SR, MARVIN L                13113 TREES EDGE CT                                                                     FLORISSANT       MO   63033‐4571
SPRUILL SR, MARVIN LOUIS            13113 TREES EDGE CT                                                                     FLORISSANT       MO   63033‐4571
SPRUILL, CLARA J                    PO BOX 142532                                                                           SAINT LOUIS      MO   63114‐0532
SPRUILL, CONNELL                    40 DAVENPORT ST APT 411                                                                 DETROIT          MI   48201‐2424
SPRUILL, CURTIS L                   48 BLUE SPRUCE DR                                                                       O FALLON         MO   63366‐3307
SPRUILL, DELMA M                    804 CRAWFORD ST S                                                                       WILSON           NC   27893
SPRUILL, DIANE L                    1311 RUHL GARDEN CT                                                                     KOKOMO           IN   46902
SPRUILL, ELLEN L                    3075 SHATTUCK ARMS APT        11                                                        SAGINAW          MI   48603
SPRUILL, FREDERICK                  2246 7TH AVE                  APT 4B                                                    NEW YORK         NY   10027
SPRUILL, FREDERICK                  534 MADISON ST                                                                          PLYMOUTH         NC   27962‐1926
SPRUILL, GAIL                       70 W 95TH ST APT 15B                                                                    NEW YORK         NY   10025‐6726
SPRUILL, GENE M                     12420 DIPLOMA DR                                                                        REISTERSTOWN     MD   21136‐6038
SPRUILL, JOHN A                     1138 WOODS PKWY                                                                         SUFFOLK          VA   23434‐2549
SPRUILL, SAMUEL E                   4582 ARGYLE DR                                                                          TROY             MI   48085‐3705
SPRUILL, SHIRLEY J                  604 JANICE CT                                                                           FRANKLIN         TN   37064‐4715
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Name                                  Address1                              Address2                       Address3   Address4                City              State Zip
SPRUILL, WILLIE B                     GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                      PITTSBURGH         PA 15219

SPRUILL, WILLIE L                     604 JANICE CT                                                                                           FRANKLIN          TN    37064‐4715
SPRUIT, CAROL M                       349 YORK VIEW LANE NW                                                                                   COMSTOCK PARK     MI    49321‐8947
SPRUIT, MATTHEW J                     710 S MAIN ST                                                                                           MILFORD           MI    48381‐2362
SPRUIT, WILLIAM F                     6327 STONEHEARTH PASS                                                                                   GRAND BLANC       MI    48439‐9141
SPRUNG SERVICES INC                   151 SILVER LAKE RD                                                                                      NEW BRIGHTON      MN    55112
SPRUNG, DONNA M                       4379 VANDERMARK RD                                                                                      SCIO              NY    14880
SPRUNG, DONNA M                       4379 COUNTY ROAD 10                                                                                     SCIO              NY    14880‐9655
SPRUNG, GREGORY W                     4892 MARY SUE AVE                                                                                       CLARKSTON         MI    48346‐3916
SPRUNG, HOWARD E                      3369 HIDDEN RD                                                                                          BAY CITY          MI    48706‐1263
SPRUNG, JACK W                        8061 SANDMAR LN                                                                                         DAVISBURG         MI    48350‐2439
SPRUNG, JAMES K                       340 3RD AVE                                                                                             PONTIAC           MI    48340‐2843
SPRUNG, KENNETH W                     340 3RD AVENUE                                                                                          PONTIAC           MI    48340‐2843
SPRUNG, PETER                         51 MANLEY DR                                                                    DORCHESTER ON N0L 1G3
                                                                                                                      CANADA
SPRUNGER, PAT ANN                     9112 SPRING FOREST DR                                                                                   FORT WAYNE         IN   46804‐6449
SPRUNGER, TED D                       9112 SPRING FOREST DR                                                                                   FORT WAYNE         IN   46804‐6449
SPRUNGER, TED DUANE                   9112 SPRING FOREST DR                                                                                   FORT WAYNE         IN   46804‐6449
SPRUNGS TRANSPORT & MOVERS LTD        2100 16TH AVENUE EAST                                                           OWEN SOUND CANADA ON
                                                                                                                      N4K 5P7 CANADA
SPRUNK, CAROL J                       7020 LOGAN LN                         C/O LEEANN SPRUNK                                                 TRAVERSE CITY     MI    49686‐1704
SPRUNK, CLARA S                       1230 SOUTHDOWN RD                                                                                       HILLSBOROUGH      CA    94010‐7248
SPRUNK, GERHARD G                     57369 COPPER CREEK DR                                                                                   WASHINGTON        MI    48094‐2826
SPRUNK, HERBERT F                     246 AMELIA DR                                                                                           MC CORMICK        SC    29835‐3106
SPRUTTE, DANIEL A                     2915 COUNTY LINE RD                   PO BOX 33                                                         DIAMOND           OH    44412‐9735
SPRY III, SAMPSON                     2855 FISHBECK RD                                                                                        HOWELL            MI    48843‐7886
SPRY JOSEPH (402209)                  GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA    23510
                                                                            STREET, SUITE 600
SPRY YOLANDA                          SPRY, YOLANDA                         3541 45TH AVE S                                                   MINNEAPOLIS       MN    55406‐2926
SPRY, ANNA D                          11630 ZIEGLER ST                                                                                        TAYLOR            MI    48180‐4318
SPRY, DANYELL                         80A PREMIER CV                                                                                          BUCHANAN          TN    38222‐4145
SPRY, E J                             6445 FAR HILLS AVE                                                                                      DAYTON            OH    45459‐2725
SPRY, HAROLD E                        14812 GRIDLEY RD APT 4                                                                                  NORWALK           CA    90650‐5724
SPRY, JOSEPH                          GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA    23510‐2212
                                                                            STREET, SUITE 600
SPRY, LAURA L                         3274 9TH ST                                                                                             MONROE            MI    48162‐4839
SPRY, LINDA                           215 N CANAL RD LOT 209                                                                                  LANSING           MI    48917‐8676
SPRY, MARK W                          22145 UPPER FORT HAMPTON RD                                                                             ELKMONT           AL    35620‐4539
SPRY, MILISSA                         701 KNIBBE RD                                                                                           LAKE ORION        MI    48362‐2148
SPRY, TIMOTHY J                       1139 SEVILLE RD                                                                                         ROCHESTER HILLS   MI    48309‐3028
SPRY, YOLANDA                         BRENNAN LAW OFFICE                    3541 45TH AVE S                                                   MINNEAPOLIS       MN    55406‐2926
SPRYGADA, EUGENE V                    9147 SHORTER LAKE RD                  P O BOX 84                                                        LAKE ANN          MI    49650
SPRYGADA, EUGENE V                    PO BOX 84                             9147 SHORTER LAKE RD                                              LAKE ANN          MI    49650‐0084
SPRYS, JOSEPH J                       48145 CEDARWOOD                                                                                         NOVI              MI    48374‐3407
SPS COMMENCE
SPS CORPORATION                       PO BOX 8894                                                                                             FORT WAYNE        IN    46898‐8894
SPS TECH/JENKINTOWN                   HIGHLAND AVENUE                       GATE 4                                                            JENKINTOWN        PA    19046
SPS TECH/WATERFORD                    5331 DIXIE HWY                                                                                          WATERFORD         MI    48329‐1612
SPS TECHNOLOGIES                      5331 DIXIE HWY                                                                                          WATERFORD         MI    48329‐1612
SPS TECHNOLOGIES (AUSTRALIA) PTY LT   60‐70 NORCAL RD                                                                 NUNAWADING VI 3131
                                                                                                                      AUSTRALIA
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Name                                Address1                         Address2                        Address3       Address4              City              State Zip
SPS TECHNOLOGIES AUSTRALIA PTYLTD   PO BOX 3138                                                                     NUNAWADING VIC 3131
                                                                                                                    AUSTRALIA
SPS TECHNOLOGIES INC                AEROSPACE DIV/GREER STOP NUT     301 HIGHLAND AVE                                                     JENKINTOWN        PA    19046‐2630
SPS TECHNOLOGIES INC                SUE MCKALE 3320                  INDUSTRIAL PRODUCTS DIVISION    4444 LEE RD                          KENTON            TN
SPS TECHNOLOGIES INC                4444 LEE RD                                                                                           CLEVELAND         OH    44128‐2902
SPS TECHNOLOGIES LLC                AEROSPACE DIVISION               301 HIGHLAND AVE                                                     JENKINTOWN        PA    19046‐2630
SPS TECHNOLOGIES WAT                5331 DIXIE HWY                                                                                        WATERFORD         MI    48329‐1612
SPS TECHNOLOGIES WATEFORD CO
SPS TECHNOLOGIES WATERFORD CO       5331 DIXIE HWY                   FRMLY TERRY MACHINE CO                                               WATERFORD         MI    48329‐1612
SPS TECHNOLOGIES WATERFORD CO       5331 DIXIE HWY                                                                                        WATERFORD         MI    48329‐1612
SPSS TRAINING & LICENSE             MICHAEL SAUCEDA                  233 S. WACKER DRIVE             11TH FLOOR                           CHICAGO           IL    60606
SPSS/CHICAGO                        233 S WACKER DRIVE               11TH FLOOR                                                           CHICAGO           IL    60606
SPUD SOFTWARE INC                   9468 S SAGINAW RD                                                                                     GRAND BLANC       MI    48439‐9500
SPUDGON ROGERS                      183 25TH ST SE                                                                                        MASSILLON         OH    44646‐5018
SPUDICH, KATHY A                    PO BOX 345                                                                                            WARREN            MI    48090‐0345
SPUDOWSKI, DONALD                   45561 KENMORE ST                                                                                      SHELBY TOWNSHIP   MI    48317‐4655
SPUDOWSKI, PAUL D                   38120 HAZEL ST                                                                                        HARRISON TWP      MI    48045‐3561
SPUDS SERVICE                       304 MAIN ST                                                                                           LISBON            ND    58054‐4140
SPUGION BENNING                     110 RANDALL AVE                                                                                       SYRACUSE          NY    13207‐1941
SPUHLER, LYNN R                     450 N WESTWOOD                                                                                        MESA              AZ    85201‐5526
SPULER ROBERT                       9 HALTER CT                                                                                           MOUNT LAUREL      NJ    08054‐4826
SPULING, LE RUSHLON R               25221 GREENBROOKE DR                                                                                  SOUTHFIELD        MI    48033‐5284
SPUN STEEL DIV                      DYAN COCKELS                     DYNEER CORP                     3303 ETIENNE   SEOUL KOREA (REP)
SPUNAR, BARBARA                     2747 SAINT JOSEPH ST                                                                                  W BLOOMFIELD       MI   48324‐1979
SPUNG, JAMES D                      526 BELMONT DR                                                                                        ROMEOVILLE         IL   60446‐1415
SPURBACK                            636 N FRENCH RD STE 9                                                                                 AMHERST            NY   14228‐1900
SPURBACK, ROGER L                   6920 COLONIAL DRIVE EXT                                                                               NIAGARA FALLS      NY   14305
SPURBECK, EUGENE W                  1088 PEACEFUL DR                                                                                      CORONA             CA   92880‐1320
SPURBECK, KENNETH J                 3220 BATTLE CREEK RD                                                                                  CHARLOTTE          MI   48813‐9569
SPURBECK, KENNETH L                 PO BOX 61                                                                                             HEMLOCK            MI   48626‐0061
SPURBECK, SHARON K                  112 WEST GRAHAM AVENUE                                                                                LANSING            MI   48910‐7417
SPURBECK, SHARON K                  6224 S WASHINGTON AVE                                                                                 LANSING            MI   48911‐5543
SPURGEON CECIL                      C/O MCKENNA & CHIODO             436 BOULEVARD OF THE ALLIES ‐                                        PITTSBURGH         PA   15219
                                                                     SUITE 500
SPURGEON CECIL (507065)             (NO OPPOSING COUNSEL)
SPURGEON CHEVROLET                  1119 W OLD LINCOLN WAY                                                                                WOOSTER           OH    44691‐3319
SPURGEON CHEVROLET,INC.             ALLAN SPURGEON                   1119 W OLD LINCOLN WAY                                               WOOSTER           OH    44691‐3319
SPURGEON COLEMAN JR                 3709 LAWNDALE AVE                                                                                     FLINT             MI    48504‐2250
SPURGEON JOHNSON                    BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                           BOSTON HEIGHTS    OH    44236
SPURGEON JR, WILLIAM G              8709 N WINAN AVE                                                                                      KANSAS CITY       MO    64153‐3646
SPURGEON MICHAEL                    5192 SEABOARD RD                                                                                      SALTERS           SC    29590
SPURGEON, BEATRICE N                8313 MCCULLOUGH RD                                                                                    GOSPORT           IN    47433‐7924
SPURGEON, BERTHA                    1264 W 2ND ST                                                                                         XENIA             OH    45385‐5385
SPURGEON, BROWN M                   4055 HAMM RD                                                                                          CUMBERLAND CITY   TN    37050‐9501
SPURGEON, CARL R                    276 DANDY RD                                                                                          DALLAS            GA    30132‐7482
SPURGEON, CAROL A                   769 BIRCH RD                                                                                          VASSAR            MI    48768‐9238
SPURGEON, CECIL                     THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD         SUITE 44                             CORAL GABLES      FL    33146
SPURGEON, CECIL                     MCKENNA & CHIDO                  436 BOULEVARD OF THE ALLIES ‐                                        PITTSBURGH        PA    15219
                                                                     SUITE 500
SPURGEON, CHRISTINE A               9534 GOLD BAR RD                                                                                      SHREVEPORT         LA 71129‐8766
SPURGEON, DANIEL E                  13137 ANDERSONVILLE RD                                                                                DAVISBURG          MI 48350‐2511
SPURGEON, ERNEST E                  2735 JUDAH RD                                                                                         ORION              MI 48359‐2255
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Name                         Address1                      Address2            Address3         Address4         City              State Zip
SPURGEON, HENRY R            231 STONEHILL RDG                                                                   VALMEYER            IL 62295‐3235
SPURGEON, JAMES A            5722 PANHANDLE RD                                                                   HILLSBORO          OH 45133‐9445
SPURGEON, JAMES E            10945 NW RIDGE RD                                                                   PORTLAND           OR 97229‐4033
SPURGEON, JEAN               4055 HAMM RD                                                                        CUMBERLAND CITY    TN 37050‐9501
SPURGEON, JOANNE M.          1589 N STATE ROAD 75                                                                DANVILLE           IN 46122‐8741
SPURGEON, JOANNE M.          1589 N STATE RD 75                                                                  DANVILLE           IN 46122‐8741
SPURGEON, MARY F             5722 PANHANDLE RD                                                                   HILLSBORO          OH 45133‐9445
SPURGEON, MICHELLE A         2367 E DAVISBURG RD                                                                 HOLLY              MI 48442‐8560
SPURGEON, MICHELLE ANNE      2367 E DAVISBURG RD                                                                 HOLLY              MI 48442‐8560
SPURGEON, NORMA F            1205 NE 84TH TER                                                                    KANSAS CITY        MO 64155‐2803
SPURGEON, NORMA S            49499 SOUTH DR                                                                      PLYMOUTH           MI 48170‐2341
SPURGEON, RICHARD D          561 S MEADOW LANE WEST DR                                                           FRANKFORT          IN 46041‐9558
SPURGEON, ROBERT L           4027 SOUTHEASTERN AVE                                                               INDIANAPOLIS       IN 46203‐1562
SPURGEON, ROSE M             8709 N WINAN AVE                                                                    KANSAS CITY        MO 64153‐3646
SPURGEON, ROSE MAE           8709 N WINAN AVE                                                                    KANSAS CITY        MO 64153‐3646
SPURGEON, STANLEY M          9534 GOLD BAR RD                                                                    SHREVEPORT         LA 71129‐8766
SPURGEON, STANLEY MATTHEWS   9534 GOLD BAR RD                                                                    SHREVEPORT         LA 71129‐8766
SPURGEON, STEPHEN L          7609 REYNOLDS RD                                                                    CAMBY              IN 46113‐9270
SPURGEON, THELMA M           4913 GENESEE AVE                                                                    DAYTON             OH 45406‐2231
SPURGEON, WANDA L            4331 FIVE LAKES ROAD                                                                NORTH BRANCH       MI 48461‐8217
SPURGEON, WILMA H            PO BOX 442                                                                          HOHENWALD          TN 38462‐0442
SPURGEON, ZELMA              1651 MELODY LN                                                                      ARNOLD             MO 63010‐1105
SPURGESS, EUGENE W           1661 S TIPSICO LAKE RD                                                              MILFORD            MI 48380‐1451
SPURGIS, BEVERLY J           7167 JORDAN RD                                                                      GRAND BLANC        MI 48439‐9760
SPURGIS, CLARENCE J          5764 CRANE ST                                                                       DETROIT            MI 48213‐2921
SPURGIS, JIMMY S             PO BOX 204                                                                          LAPEER             MI 48446‐0204
SPURGIS, JIMMY SCOTT         PO BOX 204                                                                          LAPEER             MI 48446‐0204
SPURGIS, WILLIAM V           7167 JORDAN RD                                                                      GRAND BLANC        MI 48439‐9760
SPURGIS, WILLIAM V           2339 MEADOWLANE CT                                                                  BURTON             MI 48519‐1280
SPURGIS, WILLIAM VINCENT     2339 MEADOWLANE CT                                                                  BURTON             MI 48519‐1280
SPURGUS, FRANCES M           4242 OAKLAND DR                                                                     NEW PORT RICHEY    FL 34653‐6658
SPURGUS, STEVEN M            4242 OAKLAND DR                                                                     NEW PORT RICHEY    FL 34653
SPURLIN JR, CORDELL          9081 S DRY RUN RD                                                                   LEAVENWORTH        IN 47137‐8300
SPURLIN, CHRISTOPHER J       10120 LAKE TAHOE COURT                                                              FORT WAYNE         IN 46804‐6917
SPURLIN, DARLENE             51 RANSOM ST                                                                        N TONAWANDA        NY 14120‐7326
SPURLIN, HOWARD              GUY WILLIAM S                 PO BOX 509                                            MCCOMB             MS 39649‐0509
SPURLIN, JERE B              916 BETTY ST SW                                                                     DECATUR            AL 35601‐4757
SPURLIN, KIRK                2640 COLD SPRING ROAD                                                               INDIANAPOLIS       IN 46222‐2272
SPURLIN, LAWRENCE E          2374 TALUCAH RD                                                                     VLHRMOSO SPGS      AL 35775‐7428
SPURLIN, LOTHEDA J           4311 FOREST TER                                                                     ANDERSON           IN 46013‐2437
SPURLIN, MARIAN E            4937 E 10 MILE RD APT 2                                                             WARREN             MI 48091‐1524
SPURLIN, RONNIE E            127 SOUTH DR                                                                        ANDERSON           IN 46013‐4143
SPURLIN, STEPHEN F           3359 LOUISE AVE                                                                     INDIANAPOLIS       IN 46234‐1733
SPURLING EDWIN (633904)      BRAYTON PURCELL               PO BOX 6169                                           NOVATO             CA 94948‐6169
SPURLING JR, WILLIAM P       9174 EMILY DR                                                                       DAVISON            MI 48423‐2889
SPURLING, CHARLES            N‐11 358 SOUTH                ALMA CENTER RD.                                       ALMA CENTER        WI 54611
SPURLING, EDWIN              BRAYTON PURCELL               PO BOX 6169                                           NOVATO             CA 94948‐6169
SPURLING, MICHAEL D          2371 SPRING ROSE DR                                                                 DAYTON             OH 45459‐2874
SPURLING, PHILLIP N          4407 KNOLLCROFT RD                                                                  DAYTON             OH 45426‐1919
SPURLING, VICTOR C           PO BOX 518                                                                          MILAN              OH 44846‐0510
SPURLOCK JR, ELBERT          7716 OTTAWA LN APT 240                                                              WEST CHESTER       OH 45069‐7433
SPURLOCK LEAMON D (419502)   SIMMONS LAW FIRM
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SPURLOCK ROY (ESTATE OF) (492684)    BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                     PROFESSIONAL BLDG
SPURLOCK, BETTY M                    6569 DAWN STREET                                                                            FRANKLIN       OH   45005‐5005
SPURLOCK, BETTY M                    6569 DAWN ST                                                                                FRANKLIN       OH   45005‐2609
SPURLOCK, BILLY N                    7391 E 600 S                                                                                UPLAND         IN   46989‐9331
SPURLOCK, CAROLYN S                  PO BOX 451272                                                                               WESTLAKE       OH   44145‐0633
SPURLOCK, DONALD                     110 FAIRVIEW DR                                                                             CARLISLE       OH   45005‐3054
SPURLOCK, DONALD M                   6112 RUTLEDGE PIKE                                                                          RUTLEDGE       TN   37861‐4026
SPURLOCK, DORIS M                    1821 COCO PALM DR               C/O SHARON NURNBERGER                                       EDGEWATER      FL   32132‐3509
SPURLOCK, ELSIE C                    801 WINSTON DR K3                                                                           COOKEVILLE     TN   38506
SPURLOCK, EUGENE                     8946 N HIGHWAY 66                                                                           ONEIDA         KY   40972‐6643
SPURLOCK, GARY J                     819 SHADY BROOK LN                                                                          RED OAK        TX   75154‐5407
SPURLOCK, GARY JOE                   819 SHADY BROOK LN                                                                          RED OAK        TX   75154‐5407
SPURLOCK, GLENN M                    27338 PLEASANT DR                                                                           WARREN         MI   48088‐4848
SPURLOCK, HERMON M                   4636 MOSS LN                                                                                INDIANAPOLIS   IN   46237‐2941
SPURLOCK, HERMON MERLE               4636 MOSS LN                                                                                INDIANAPOLIS   IN   46237‐2941
SPURLOCK, JOHNIE                     233 EDEN AVE                                                                                BELLEVUE       KY   41073‐1034
SPURLOCK, KARMAN L                   9974 BANNON CT                                                                              MIAMISBURG     OH   45342‐4568
SPURLOCK, KENNETH                    680 VEIRS RD                                                                                BUTLER         KY   41006‐9184
SPURLOCK, KERMETT E                  3274 LOON LAKE SHORES RD                                                                    WATERFORD      MI   48329‐4228
SPURLOCK, KERMETT S                  706 GERTRUDE RD                                                                             WATERFORD      MI   48328‐2128
SPURLOCK, LEAMON D                   SIMMONS LAW FIRM                PO BOX 521                                                  EAST ALTON     IL   62024‐0519
SPURLOCK, LINDSEY                    3400 BEDFORD LN                                                                             BAY CITY       MI   48706‐1562
SPURLOCK, MAUREEN T                  510 CONTINENTAL DR                                                                          NASHVILLE      TN   37209‐2708
SPURLOCK, NIKII R                    4835 SYLVANVIEW DR                                                                          CLARKSTON      MI   48348‐3851
SPURLOCK, NORMA J                    7827 MOATBRIDGE CT                                                                          WEST CHESTER   OH   45069‐1685
SPURLOCK, REX I                      4417 E BLACK RIVER RD                                                                       BLACK RIVER    MI   48721‐9725
SPURLOCK, RICKEY E                   2118 ZION RD                                                                                COLUMBIA       TN   38401‐6046
SPURLOCK, ROBERT E                   1131 W BERGIN AVE                                                                           FLINT          MI   48507‐3603
SPURLOCK, RUSSELL                    2116 ARKANSAS CREEK RD                                                                      MARTIN         KY   41649‐9023
SPURLOCK, SHERRY C                   27338 PLEASANT DR 2733                                                                      WARREN         MI   48088
SPURLOCK, TEENA N                    25 MATTHEWS AVE                                                                             ENON           OH   45323‐1819
SPURLOCK, TROY J                     24 ORCHARD ST                                                                               GERMANTOWN     OH   45327‐1233
SPURLOCK, TROY J                     24 ORCHARD AVEUNE                                                                           GERMANTOWN     OH   45327‐5327
SPURLOCK, WARREN C                   2578 LAURA LN                                                                               NORWOOD        OH   45212‐1703
SPURLOCK, WAYNE                      3457 ROCKY GAP PL                                                                           COCOA          FL   32926‐7404
SPURLOCK, WAYNE                      3301 SPRINGCREST DR                                                                         HAMILTON       OH   45011‐7856
SPURLOCK, WENDELL                    1384 LINDEN CREEK DR                                                                        MILFORD        OH   45150‐2475
SPURLOCK, WILEY                      3834 MOUNT VERNON AVE                                                                       CINCINNATI     OH   45209‐2118
SPURLOCK, WILLIAM J                  2914 SHAKER RD                                                                              FRANKLIN       OH   45005‐9781
SPURNEY, CAROLYN T                   3105 LANTERN WAY                                                                            WILMINGTON     NC   28409‐8549
SPURNEY, JOSEPH L                    3105 LANTERN WAY                                                                            WILMINGTON     NC   28409‐8549
SPURNEY, SUE M                       3875 MISSION DR.                BUILDING 37 #7                                              JACKSONVILLE   FL   32217
SPURR CHEVROLET, INC.                6325 BROCKPORT SPENCERPORT RD                                                               BROCKPORT      NY   14420‐2607
SPURR CHEVROLET, INC.                RICHARD SPURR                   6325 BROCKPORT SPENCERPORT RD                               BROCKPORT      NY   14420‐2607

SPURR CHEVROLET‐PONTIAC‐BUICK‐GMC,   6325 BROCKPORT SPENCERPORT RD                                                               BROCKPORT      NY 14420‐2607

SPURR PEGGY L                        SPURR, PEGGY L                  19 S 6TH ST STE 702                                         TERRE HAUTE    IN   47807‐3526
SPURR PEGGY L                        SPURR, THOMAS H                 19 S 6TH ST STE 702                                         TERRE HAUTE    IN   47807‐3526
SPURR PONTIAC‐BUICK‐GMC              6331 BROCKPORT‐SPENCER ROAD                                                                 BROCKPORT      NY   14420
SPURR, DOROTHY POOLE                 1300 GIRARD DR                                                                              LOUISVILLE     KY   40222‐6643
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Name                             Address1                          Address2                        Address3                   Address4               City               State Zip
SPURR, HARVEY S                  488 HEMPHILL ST                                                                                                     FRANKLIN            IN 46131‐2258
SPURR, MARK A                    11S440 DOWNERS DR                                                                                                   LEMONT               IL 60439‐9611
SPURR, MARK A                    11 S 440 DOWNERS DR                                                                                                 LEMONT               IL 60439
SPURR, PEGGY L                   MCGLONE LAW OFFICE                19 S 6TH ST STE 702                                                               TERRE HAUTE         IN 47807‐3526
SPURR, SYLVIA S                  C/O SYLVIA SPURR                  ASPEN LIVING CENTER             1795 MONTEREY RD                                  COLORADO SPRINGS    CO 80910
SPURR, THOMAS H                  MCGLONE LAW OFFICE                19 S 6TH ST STE 702                                                               TERRE HAUTE         IN 47807‐3526
SPURR, WILLIAM A                 763 ROBAR CIR                                                                                                       WHITE LAKE          MI 48386‐2355
SPURRELL, MARY L                 487 1ST ST                                                                                                          MANISTEE            MI 49660‐1571
SPURRIER, CHESTER A              810 HENDERSON RD                                                                                                    WEST MONROE         LA 71291‐9421
SPURRIER, DOROTHY E              130 S ASCOT                                                                                                         WATERFORD           MI 48328‐3502
SPURRIER, DOROTHY E              130 ASCOT AVE                                                                                                       WATERFORD           MI 48328‐3502
SPURRIER, EARL R                 1115 ROOSEVELT RD                                                                                                   TAYLORVILLE          IL 62568‐8908
SPURRIER, JEFFREY L              3208 GIDDINGS AVE SE                                                                                                GRAND RAPIDS        MI 49508‐2545
SPURRIER, WILLIAM E              3145 PEBBLE BEND DR                                                                                                 LAKELAND            FL 33810‐2716
SPURY, JEANETTE L                47 HERITAGE WAY                                                                                                     MANCHESTER          NH 03104
SPURZEM JR, CLIFFORD V           1506 W CHILTON ST                                                                                                   CHANDLER            AZ 85224‐1291
SPUSTACK, MARK A                 251 N MACKINAW RD                                                                                                   LINWOOD             MI 48634‐9444
SPUTNIK ENTERTAINMENT INC        241 CENTRE ST 4TH FLOOR                                                                                             NEW YORK            NY 10013
SPV COACH COMPANY, INC.          SEAN MYERS                        501 E 33RD ST                                                                     KANSAS CITY         MO 64109‐1726
SPX AIR TREATMENT CANADA INC
SPX AIRTREATMENT CANADA INC EF   PNEUMATIC PRODUCTS CANADA         1415 CALIFORNIA AVE             BAG SERVICE 6000           BROCKVILLE CANADA ON
                                                                                                                              K6V 7H7 CANADA
SPX AIRTREATMENT CANADA INC EF   PNEUMATIC PRODUCTS CANADA         BAG SERVICE 6000                1415 CALIFORNIA AVE        BROCKVILLE CANADA ON
                                                                                                                              K6V 7H7 CANADA
SPX CONTECH METAL FORGE          8001 ANGLING RD 100                                                                                                 PORTAGE            MI   49024
SPX COOLING TECHNOLOGIES         PO BOX 25948                      7401 W 129TH ST                                                                   SHAWNEE MISSION    KS   66225‐5948
SPX CORP                         BRASCH TECH DATA                  PO BOX 73132                                                                      CHICAGO            IL   60673‐0001
SPX CORP                         950 TRADE CENTER WAT STE 200                                                                                        PORTAGE            MI   49002‐0491
SPX CORP                         875 SEEGERS RD                    PO BOX 328                                                                        DES PLAINES        IL   60016‐3045
SPX CORP                         135 MOUNT READ BLVD               PO BOX 1370                                                                       ROCHESTER          NY   14611‐1921
SPX CORP                         13515 BALLANTYNE CORPORATE PL                                                                                       CHARLOTTE          NC   28277‐2706
SPX CORP                         13324 FARMINGTON RD                                                                                                 LIVONIA            MI   48150‐4203
SPX CORP                         1650 KENDALE BLVD STE 100         PO BOX 1706                                                                       EAST LANSING       MI   48823‐2076
SPX CORP                         28635 MOUND RD                                                                                                      WARREN             MI   48092‐5509
SPX CORP                         5775 ENTERPRISE CT                                                                                                  WARREN             MI   48092‐3463
SPX CORP                         655 EISENHOWER DR                 PO BOX 314                                                                        OWATONNA           MN   55060‐1100
SPX CORP                         8001 ANGLING RD STE 100                                                                                             PORTAGE            MI   49024
SPX CORP                         875 SEEGERS RD                                                                                                      DES PLAINES        IL   60016‐3045
SPX CORP                         FRANK NAGY                        KENTMOORE DIV.                  655 EISENHOWER DR.                                CELINA             OH   45822
SPX CORP                         PAT PIERCE                        655 EISENHOWER DR                                                                 OWATONNA           MN   55060‐1100
SPX CORP                         PO BOX 406799                                                                                                       ATLANTA            GA   30384‐6799
SPX CORP                         BANK OF AMERICA                   PO BOX 406506                                                                     ATLANTA            GA   30384‐6506
SPX CORP
SPX CORP                                                           13515 BALLANTYNE CORPORATE PL                                                     CHARLOTTE          NC 28277‐2706

SPX CORP                         1525 FAIRLANE CIR                                                                                                   ALLEN PARK         MI   48101‐3633
SPX CORP                         51241 M‐51 N                                                                                                        DOWAGIAC           MI   49047
SPX CORP                         AARON KADY                        SPX FILTRAN                     7 PARK HILL DRIVE                                 SAINT CLAIR        MI   48079
SPX CORP                         GEORGE MCDOUGALL                  CONTECH DIV                     51241 M‐51N                                       DOWAGIAC           MI   49047
SPX CORP                         KEN SPIEGEL X 204                 PO BOX 328                      SPX CORPORATION                                   DES PLAINES        IL   60016‐0328
SPX CORP                         KEN SPIEGEL X 204                 SPX CORPORATION                 875 SEEGERS RD., POB 328                          FORT WAYNE         IN   46803
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Name                               Address1                             Address2                        Address3                   Address4                 City            State Zip
SPX CORP                           ATTN: CORPORATE OFFICER/AUTHORIZED   875 SEEGERS RD                                                                      DES PLAINES       IL 60016‐3045
                                   AGENT
SPX CORP                           ATTN: CORPORATE OFFICER/AUTHORIZED   98084 COLLECTION CENTER DR                                                          CHICAGO          IL   60693‐0980
                                   AGENT
SPX CORP DEALER EQUIP & SERVICES   PO BOX 406798                                                                                                            ATLANTA         GA 30384
SPX CORP/WARREN                    28635 MOUND RD                       KENT‐MOORE                                                                          WARREN          MI 48092‐5509
SPX CORPORATION
SPX CORPORATION                    AARON KADY                           SPX FILTRAN                     7 PARK HILL DRIVE                                   SAINT CLAIR     MI 48079
SPX CORPORATION                    ARI WAJNBERG                         13515 BALLANTYNE CORPORATE PL                                                       CHARLOTTE       NC 28277‐2706

SPX CORPORATION                    GEORGE MCDOUGALL                     CONTECH DIV                     950 TRADE CENTRE WAY STE                            PORTAGE          MI 49002‐0491
                                                                                                        200
SPX CORPORATION                    C/O SPX CORPORATION                  ATTN GENERAL COUNSEL            13515 BALLANTYNE                                    CHARLOTTE       NC 28277
                                                                                                        CORPORATE PLACE
SPX DE MEXICO SA DE CV             MITLA NO 442                         COL VERTIZ NARVARTE                                        MEXICO DF 03600 MEXICO
SPX DEHYDRATION & PROCESS
SPX FILTRAN                        PO BOX 328                           875 SEEGERS RD                                                                      DES PLAINES     IL    60016‐0328
SPX FILTRAN                        DEPT 77399                                                                                                               DETROIT         MI    48277‐0399
SPX FILTRAN                        875 SEEGERS RD 328                                                                                                       DES PLAINES     IL    60016
SPX FILTRAN                        SPX CORPORATION                                                                                                          DES PLAINES     IL    60016
SPX FILTRAN                        ATTN: CORPORATE OFFICER/AUTHORIZED   875 SEEGERS RD                                                                      DES PLAINES     IL    60016‐3045
                                   AGENT
SPX FILTRAN/ DES PLA               875 SEEGERS RD                       SPX CORPORATION                                                                     DES PLAINES     IL    60016‐3045
SPX FILTRAN/DES PLAI               875 SEEGERS RD                                                                                                           DES PLAINES     IL    60016‐3045
SPX PROCESS EQUIPEMENT             135 MOUNT READ BLVD                                                                                                      ROCHESTER       NY    14611‐1921
SPX PROCESS EQUIPMENT              611 SUGAR CREEK RD                                                                                                       DELAVAN         WI    53115‐1337
SPX SERVICE SOLUTIONS              BANK OF AMERICA                      PO BOX 406799                                                                       ATLANTA         GA    30384‐6799
SPX VALLEY FORGE TECHNICAL INF     7121 N HAGGERTY RD                                                                                                       CANTON          MI    48187‐2452
SPX VALLEY FORGE TECHNICAL         7121 N HAGGERTY RD                                                                                                       CANTON          MI    48187‐2452
INFORMATION SERVICES
SPYCH, MARY                        210 THROPP AVE                                                                                                           TRENTON         NJ    08610‐3523
SPYCH, PHYLLIS P                   7 WORTHINGTON DR                                                                                                         TRENTON         NJ    08638‐1528
SPYCHALSKI, ERNEST                 1676 MUNGER RD                                                                                                           BAY CITY        MI    48708‐9627
SPYCHALSKI, FRANCIS E              1663 SEIDLERS RD                                                                                                         AUBURN          MI    48611‐9732
SPYCHALSKI, GARY P                 3315 NORTHWAY DR                                                                                                         BAY CITY        MI    48706‐3334
SPYCHALSKI, MARIE E                1891 MUNGER RD                                                                                                           BAY CITY        MI    48708‐9626
SPYCHALSKI, MARIE E                1891 W MUNGER RD                                                                                                         BAY CITY        MI    48708‐9626
SPYCHALSKI, RAYMOND W              5014 N SHORE RD                                                                                                          PINCONNING      MI    48650‐7506
SPYCHER, PENELOPE                  4938 WORTH                                                                                                               MILLINGTON      MI    48746‐8724
SPYCHER, PENELOPE                  4938 WORTH ST                                                                                                            MILLINGTON      MI    48746‐8724
SPYHALSKI, DAVID E                 1904 S JOHNSON ST                                                                                                        BAY CITY        MI    48708‐9112
SPYHALSKI, DAVID ERNEST            1904 S JOHNSON ST                                                                                                        BAY CITY        MI    48708‐9112
SPYHALSKI, JAMES J                 1500 S WARNER ST                                                                                                         BAY CITY        MI    48706‐5261
SPYHALSKI, RICHARD G               5392 EASY ST                                                                                                             BAY CITY        MI    48706‐3053
SPYKE, DAVID L                     7444 PETE AVE                                                                                                            JENISON         MI    49428‐9743
SPYKER, DAVID A                    1717 HOMEWOOD BLVD APT 414                                                                                               DELRAY BEACH    FL    33445‐6806
SPYKER, HENRY S                    3405 RADFORD DR                                                                                                          LANSING         MI    48911‐4400
SPYKER, RICHARD L                  646 BRUCE AVE                                                                                                            BATTLE CREEK    MI    49037‐1206
SPYPINSKI, STEVEN                  841 MASON LN                                                                                                             DES PLAINES     IL    60016‐6737
SPYRA, JOHN                        22 PENNROAD AVE                                                                                                          EWING           NJ    08638‐4714
SPYRES, EURA                       5790 GREAT NORTHERN BLVD APT J1                                                                                          NORTH OLMSTED   OH    44070‐5608
SPYRIDOULA PAPAVASILIOU            44666 PINE DR #11‐103                                                                                                    STERLING HTS    MI    48313‐1260
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Name                             Address1                          Address2                     Address3    Address4               City            State Zip
SPYRIS IOANNA                    12 LARRY LN                                                                                       WEST ISLIP       NY 11795‐5112
SPYRKA, HEDY                     22 MAGIETKOWA                                                              GDANSK 80177 POLAND
SPYROS LIVIERATOS                4215 NELSEY RD                                                                                    WATERFORD       MI   48329‐1055
SPYROS MELLAS                    3202 LOON LAKE SHORES RD                                                                          WATERFORD       MI   48329‐4228
SPYROS RAFTOPOULOS               20 E WHITE BEAR DR                                                                                SUMMIT HILL     PA   18250‐1715
SPYROS, THEODORA                 802 E ROBERTS RD                                                                                  PHOENIX         AZ   85022‐4805
SPYTMAN, DANIEL A                4027 TOWERS PL                                                                                    HAMBURG         NY   14075‐1330
SQAD                             NEIL KLAR                         303 S. BROADWAY              SUITE 210                          TARRYTOWN       NY   10591
SQILLACE CAROL                   3323 HORNER AVE                                                                                   PENNSAUKEN      NJ   08109‐2308
SQROW SR, LARRY D                465 5TH AVE                                                                                       MANSFIELD       OH   44905‐1944
SQS INC                          13040 MERRIMAN RD                 # 200                                                           LIVONIA         MI   48150‐1816
SQUADRITO, CAROLELYNN C          236 GARFIELD AVE                                                                                  NORWOOD         PA   19074‐1604
SQUALLS, LONNIE W                20248 WYOMING ST                                                                                  DETROIT         MI   48221‐1069
SQUAMISH FREIGHTWAYS LTD         4005 MYRTLE ST                                                             BURNABY BC V5C 4G5
                                                                                                            CANADA
SQUARCIA LUCIANO LATINI MARINA   CASSA DI RISPARMIO DI FERMO SPA   VIA DON ERNESTO RICCI 1                  63023 FERMO FM ITALY
SQUARCIA, ELAINE R               297 W COURT ST                                                                                    DOYLESTOWN      PA 18901‐4041
SQUARCIA, ELAINE R               297 W. COURT ST.                                                                                  DOYLESTOWN      PA 18901‐4041
SQUARE SR, JERRY D               4490 COUNTY RD O NORTH                                                                            DELAVAN         WI 53115
SQUARE D CO
SQUARE D CO                      1 HIGH ST                                                                                         NORTH ANDOVER   MA   01845
SQUARE D CO                      4296 W PIERSON RD#2                                                                               FLINT           MI   48504
SQUARE D CO                      PO BOX 71460                                                                                      CHICAGO         IL   60694‐1460
SQUARE D CO                      1960 RESEARCH DR STE 100                                                                          TROY            MI   48083‐2162
SQUARE D CO INC                  1415 S ROSELLE RD                                                                                 PALATINE        IL   60067‐7337
SQUARE D COMPANY                 PO BOX 404149                                                                                     ATLANTA         GA   30384‐4149
SQUARE D COMPANY                 PO BOX 101814                                                                                     ATLANTA         GA   30392‐1814
SQUARE D COMPANY                 PO BOX 75281                                                                                      CHARLOTTE       NC   28275‐0281
SQUARE D COMPANY                 BETSY KUPKOWSKI                   1415 S ROSELLE RD                                               PALATINE        IL   60067‐7337
SQUARE D COMPANY                 MICHAEL A WISNIEWSKI              1415 S ROSELLE RD                                               PALATINE        IL   60067
SQUARE D CUSTOMER TRAINING       PO BOX 730318                                                                                     DALLAS          TX   75373‐0318
SQUARE D SCHNEIDER ELECTRIC      1 HIGH ST                                                                                         NORTH ANDOVER   MA   01845
SQUARE D/BRENTWOOD               5409 MARYLAND WAY STE 110                                                                         BRENTWOOD       TN   37027‐1083
SQUARE D/TROY                    1960 RESEARCH DRIVE                                                                               TROY            MI   48083
SQUARE ONE ARMORING SERVICES     12370 SW 130TH ST                                                                                 MIAMI           FL   33186‐6229
SQUARE ONE CONCEPTS INC          PO BOX 147                                                                                        ROYAL OAK       MI   48068‐0147
SQUARE ONE CONCEPTS INC          101 E 5TH ST                      PO BOX 147                                                      ROYAL OAK       MI   48067‐2528
SQUARE ONE ELECTRIC SERVICE CO   347 FORK BRANCH RD                                                                                DOVER           DE   19904‐1230
SQUARE SR, JERRY D               4490 COUNTY RD O NORTH                                                                            DELAVAN         WI   53115
SQUARE SYKES JR                  3823 PRISCILLA AVE                                                                                INDIANAPOLIS    IN   46226‐4853
SQUARE TIRE ALIGNMENT            574 SHERIDAN DR                                                                                   TONAWANDA       NY   14150‐7875
SQUARE, LANETTE A                1024 STATE ROUTE 37                                                                               AKWESASNE       NY   13655‐1825
SQUARE, PROMAN                   15019 STONETOWER DR               C/O MICHAEL STEPHEN SQUARE                                      SAN ANTONIO     TX   78248‐2705
SQUARE, PROMAN                   C/O MICHAEL STEPHEN SQUARE        15019 STONETOWER DRIVE                                          SAN ANTONIO     TX   78248
SQUEEKY'S                        CHARLES L. WADE                   812 S ROBB ST                                                   TRINITY         TX   75862‐7602
SQUEGLIA JR, THOMAS S            953 HEMLOCK AVE SW                                                                                WARREN          OH   44485‐3312
SQUELCH, INA K                   347 FARADAY RD                                                                                    BUFFALO         NY   14223‐5714
SQUEO FRANK (507608)             COON BRENT W                      PO BOX 4905                                                     BEAUMONT        TX   77704‐4905
SQUEO, FRANK                     COON BRENT W                      PO BOX 4905                                                     BEAUMONT        TX   77704‐4905
SQUEO, THOMAS F                  442 NW FERRIS DR                                                                                  PORT ST LUCIE   FL   34983‐8628
SQUIBB, KEVIN R                  4408 SCOTT DR                                                                                     FLOWER MOUND    TX   75022‐1008
SQUIBBS, JUDITH                  6302 YOUNGSTOWN HUBBARD RD                                                                        HUBBARD         OH   44425‐1319
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SQUIBBS, LOHMAN C                   2923 WILLOW OAK DR                                                                                                       EDGEWATER           FL 32141
SQUIBBS, ROSE D                     107 WESTCHESTER DR APT 212                                                                                               YOUNGSTOWN          OH 44515
SQUIBBS, SANDRA E                   2923 WILLOW OAK DRIVE                                                                                                    EDGEWATER           FL 32141‐5630
SQUIER JR, GORDON C                 6465 NEWS RD                                                                                                             CHARLOTTE           MI 48813‐9330
SQUIER YKEMA, SARAH A               1501 AVONDALE ST                                                                                                         SYLVAN LAKE         MI 48320‐1784
SQUIER, ALAN R                      37262 GLENBROOK DR                                                                                                       CLINTON TOWNSHIP    MI 48036‐2430
SQUIER, CAROLYN S                   7178 LOMBARDI DR                                                                                                         PLAINFIELD          IN 46168‐1891
SQUIER, JEFFERY A                   150 E GLASS RD                                                                                                           ORTONVILLE          MI 48462‐8076
SQUIER, JEFFERY A                   158 E GLASS RD                                                                                                           ORTONVILLE          MI 48462‐8876
SQUIER, NANCY L                     12950 KINGSGATE WAY                                                                                                      GRAND LEDGE         MI 48837‐8988
SQUIER, PHYLLIS J                   6465 NEWS RD                                                                                                             CHARLOTTE           MI 48813‐9330
SQUIER, SANDRA                      PO BOX 220447                                                                                                            EL PASO             TX 79913‐2447
SQUIER, WILLIAM H                   3171 WESLEY RD                                                                                                           BLOOMFIELD          NY 14469
SQUIERS, HARRY A                    5879 BRIARWOOD CT                                                                                                        CLARKSTON           MI 48346‐3171
SQUILLACE, BETTY                    23544 BLACKETT                                                                                                           WARREN              MI 48089‐2283
SQUILLACE, CLARICE M                43432 PENDLETON CIR                                                                                                      STERLING HEIGHTS    MI 48313‐1986
SQUILLACE, GEORGE A                 6561 RIVER ST                                                                                                            CASEVILLE           MI 48725‐9538
SQUILLETS, JAMES D                  1275 CITY LAKE RD                                                                                                        JAMESTOWN           TN 38556‐6010
SQUIRE COGS/NRTHBROK                3411 COMMERICAL AVE.                                                                                                     NORTHBROOK           IL 60062
SQUIRE HOLMON                       3424 CLARA AVE                                                                                                           SAINT LOUIS         MO 63120‐1619
SQUIRE KITTLE                       PO BOX 508                                                                                                               MILL CREEK          WV 26280‐0508
SQUIRE LOWE JR                      818 DORCAS ST                                                                                                            HOLLAND             OH 43528‐8563
SQUIRE SANDERS & DEMPSEY            1300 HUNTINGTON CENTER               41 S HIGH ST                                                                        COLUMBUS            OH 43215
SQUIRE SANDERS & DEMPSEY            1201 PENNSYLVANIA AVE N 2                                                                                                WASHINGTON          DC 20004
SQUIRE SANDERS & DEMPSEY            PO BOX 643051                                                                                                            CINCINNATI          OH 45264‐3051
SQUIRE SANDERS & DEMPSEY LLP        STE 4100                             200 SOUTH BISCAYNE BOULEVARD                                                        MIAMI               FL 33131‐2362

SQUIRE SANDERS & DEMPSEY LLP        1 MARITIME PLZ STE 300                                                                                                   SAN FRANCISCO      CA   94111‐3406
SQUIRE, DAVID P                     14139 BLACKBURN ST                                                                                                       LIVONIA            MI   48154‐4244
SQUIRE, DAVID PETER                 14139 BLACKBURN ST                                                                                                       LIVONIA            MI   48154‐4244
SQUIRE, DONALD S                    APT 1033                             2805 TURNBERRY DRIVE                                                                ARLINGTON          TX   76006‐2345
SQUIRE, DORIS F                     1411 NW 207TH ST                                                                                                         MIAMI              FL   33169‐2332
SQUIRE, DOROTHY M                   6526 RIVER RUN DR                    C/O MARY H DODD                                                                     SEBASTIAN          FL   32958‐8462
SQUIRE, GIRLEY L                    16031 FRINGE TREE DR                                                                                                     BROOKSVILLE        FL   34610‐2826
SQUIRE, MABEL S                     16 SOUTH DRIVE                                                                                                           EAST WINDSOR       NJ   08512
SQUIRE, MATTHEW                     980 WATER VIEW LN                                                                                                        FENTON             MI   48430‐4160
SQUIRE, ROBERT A                    3265 QUICK RD                                                                                                            HOLLY              MI   48442‐1061
SQUIRE, ROBERT G                    9051 CEDAR BERRY CT                                                                                                      SYLVANIA           OH   43560‐9590
SQUIRE, SANDERS & DEMPSEY L.L.P.    ATTY FOR EATON CORPORATION           ATTN: G. CHRISTOPHER MEYER, ESQ. 4900 KEY TOWER               127 PUBLIC SQUARE     CLEVELAND          OH   44114‐1304

SQUIRE, SANDERS & DEMPSEY L.L.P.    ATT: P. CASEY COSTON                 ATTY FOR THE GOODYEAR TIRE &     221 E. FOURTH ST., SUITE 2900                      CINCINNATI         OH 45202
                                                                         RUBBER COMPANY
SQUIRE, SANDERS & DEMPSEY L.L.P.    PETER A ZISSER                       1095 AVENUE OF THE AMERICAS      31ST FLOOR                                         NEW YORK           NY 10036
SQUIRE, SANDERS & DEMPSEY, L.L.P.   ATTY FOR TRW AUTOMOTIVE U.S. LLC ;   ATTN: G. CHRISTOPHER MEYER, ESQ. 4900 KEY TOWER                127 PUBLIC SQUARE    CLEVELAND          OH 44114‐1304
                                    TRW INTEGRATED CHASSIS SYSTEMS LLC

SQUIRE, SANDY A                     3480 IVY HILL CIR UNIT D                                                                                                 CORTLAND           OH 44410‐9200
SQUIRE, WARREN P                    16 SOUTH DRIVE                                                                                                           HIGHTSTOWN         NJ 08520‐1906
SQUIRES DAVID (492169)              BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                       NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
SQUIRES JR, EUGENE M                3375 S ELECTRIC ST                                                                                                       DETROIT            MI 48217‐1134
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SQUIRES MARY G (667479)     GOLDENBERG, MILLER, HELLER &      PO BOX 959                                             EDWARDSVILLE          IL 62025‐0959
                            ANTOGNOLI
SQUIRES SR, CARY E          1734 GRAFTON RD                                                                          ELYRIA              OH    44035‐8112
SQUIRES STEVEN D (664894)   WISE & JULIAN                     156 N MAIN STREET STOP 1                               EDWARDSVILLE        IL    62025‐1972
SQUIRES WES                 45200 DE PORTOLA RD                                                                      TEMECULA            CA    92592‐8726
SQUIRES WILLIAM             2855 ROBERT OLIVER AVENUE                                                                FERNANDINA          FL    32034‐4594
SQUIRES, ARTHUR GEDEON      3265 PINE ST                                                                             CLIO                MI    48420‐1597
SQUIRES, BETTY J            5496 CHALFONTE PASS                                                                      GRAND BLANC         MI    48439‐9145
SQUIRES, BRUCE J            PO BOX 87                                                                                FALMOUTH            MI    49632
SQUIRES, BRUCE J            3981 SOUTH 9 MILE ROAD                                                                   FALMOUTH            MI    49632‐9733
SQUIRES, DANIEL A           366 LAURENT CT                                                                           WHITE LAKE          MI    48383‐3718
SQUIRES, DENICE             13021 WILFRED ST                                                                         DETROIT             MI    48213‐1442
SQUIRES, DOUGLAS C          1333 SANTA BARBARA BLVD APT 566                                                          CAPE CORAL          FL    33991‐2819
SQUIRES, ELBERT B           15620 MUSKINGUM BLVD                                                                     BROOK PARK          OH    44142‐2330
SQUIRES, ELIZABETH A        14 LEES LN                                                                               OLMSTED FALLS       OH    44138‐2994
SQUIRES, ELIZABETH A        406 QUIET FIELD CT                                                                       ST PETERS           MO    63376‐3865
SQUIRES, ELIZABETH A        14 LEES LANE                                                                             OLMSTED TWP         OH    44138‐2994
SQUIRES, FRANCIS E          3981 S 9 MILE RD                                                                         FALMOUTH            MI    49632‐9733
SQUIRES, GLADYS M           1333 SANTA BARABA UNIT 566                                                               CAPE CORAL          FL    33991
SQUIRES, GORDON R           6087 MORGAN RD E                                                                         BATTLE CREEK        MI    49017‐3113
SQUIRES, GRANVILLE V        3445 N OLNEY ST                                                                          INDIANAPOLIS        IN    46218‐1338
SQUIRES, HOWARD G           5321 WIGWAM LN                                                                           LAPEER              MI    48446‐8033
SQUIRES, HOWARD GILBERT     5321 WIGWAM LN                                                                           LAPEER              MI    48446‐8033
SQUIRES, IRENE              1076 SHOMAN ST                                                                           WATERFORD           MI    48327‐1855
SQUIRES, IRENE              1076 SHOMAN DR                                                                           WATERFORD           MI    48327‐1855
SQUIRES, JAMES W            231 S JEFFERSON ST                                                                       BEVERLY HILLS       FL    34465‐4074
SQUIRES, JANET              1702 PEDERSEN RD                                                                         COMMERCE TOWNSHIP   MI    48390‐2717
SQUIRES, JENNIE             7382 PINE GROVE DRIVE                                                                    JENISON             MI    49428‐7715
SQUIRES, JERRY L            2568 JULIE DR                                                                            COLUMBIAVILLE       MI    48421‐8911
SQUIRES, JILL               295 W DURBIN CIR                                                                         BELLVILLE           OH    44813‐1172
SQUIRES, JOSEPH G           2540 WHITEWOOD AVE                                                                       SPRING HILL         FL    34609‐4364
SQUIRES, JOSEPH L           276 N MERIDIAN RD                                                                        MIDLAND             MI    48640‐5006
SQUIRES, JUNE E             4869 W CENTER ST BOX 172                                                                 MILLINGTON          MI    48746‐0172
SQUIRES, KEVIN P            198 NORTHWOOD DR                                                                         BUFFALO             NY    14223‐1045
SQUIRES, LLEWELLYN M        2638 W CLARENDON DR                                                                      DALLAS              TX    75211‐5349
SQUIRES, MARC L             2298 HICKORY HOLW                                                                        BURTON              MI    48519‐1367
SQUIRES, MARSHA L           6695 WATERFORD HILL TER                                                                  CLARKSTON           MI    48346‐4517
SQUIRES, MARY G             GOLDENBERG, MILLER, HELLER &      PO BOX 959                                             EDWARDSVILLE        IL    62025‐0959
                            ANTOGNOLI
SQUIRES, MARY G             C/O GOLDENBERG HELLER ANTOGNOLI   2227 S STATE RTE 157                                   EDWARDSVILLE         IL   62025
                            AND ROWLAND P C
SQUIRES, NELLIE M           1210 DAKIN ST                                                                            LANSING             MI    48912‐1916
SQUIRES, PATTY S            521 CHEROKEE APT#212                                                                     KALAMAZOO           MI    49006‐2852
SQUIRES, PATTY S            521 CHEROKEE ST APT 212                                                                  KALAMAZOO           MI    49006‐2852
SQUIRES, PAUL               12455 QUARRY RD                                                                          OBERLIN             OH    44074‐9552
SQUIRES, RICHARD E          1800 NW 6TH TER                                                                          BLUE SPRINGS        MO    64014‐1604
SQUIRES, RICHARD T          1645 STATE SERVICE RD                                                                    DEFIANCE            OH    43512‐1952
SQUIRES, ROBERT C           33623 LEONA ST                                                                           GARDEN CITY         MI    48135‐3053
SQUIRES, ROBERT J           537 SELKIRK DR                                                                           MOUNT MORRIS        MI    48458‐8920
SQUIRES, ROBERT L           960 MOCK RD                                                                              BELLVILLE           OH    44813‐9197
SQUIRES, RONALD E           8038 WINEGAR RD                                                                          PERRY               MI    48872‐9744
SQUIRES, ROSS A             6087 MORGAN RD E                                                                         BATTLE CREEK        MI    49017‐3113
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Name                        Address1                              Address2                         Address3          Address4         City               State Zip
SQUIRES, ROY E              2384 WURTZ RD                                                                                             HERMANN             MO 65041‐4900
SQUIRES, SHELLY ANN         2298 HICKORY HOLW                                                                                         BURTON              MI 48519‐1367
SQUIRES, SHERMAN E          606 COMMONWEALTH AVE                                                                                      FLINT               MI 48503‐6901
SQUIRES, SHERRY L           1214 MERRILL AVE                                                                                          BELOIT              WI 53511‐5030
SQUIRES, STANLEY C          109 PENNY RD APT 221                                                                                      HIGH POINT          NC 27260‐2527
SQUIRES, STEVEN D           C/O GORI JULIAN & ASSOCIATES PC       156 N MAIN ST                                                       EDWARDSVILLE         IL 62025‐1972
SQUIRES, THELMA             1702 HILLCREST DRIVE                                                                                      LAKE                MI 48632‐9025
SQUIRES, WILLIAM I          612 CHARTIER ST                                                                                           JANESVILLE          WI 53546‐2446
SQUIRES, WILLIAM J          13431 ZAREMBA DR                                                                                          BROOK PARK          OH 44142‐4057
SQUIRES, WILLIAM R          849 22 MILE RD                                                                                            BARRYTON            MI 49305‐9587
SQUIRES, WILLIAM T          2855 ROBERT OLIVER AVE                                                                                    FERNANDINA BEACH    FL 32034‐4594
SQUIREWELL, CLEON           18765 ROSELAND BLVD                                                                                       LATHRUP VILLAGE     MI 48076‐2530
SQUIRIC, RONALD P           1355 DEPOT ST                                                                                             MINERAL RIDGE       OH 44440
SR 23 AUTO SPECIALISTS      23607 STATE ROAD 23                                                                                       SOUTH BEND          IN 46614‐9506
SR FREIGHT                  ATTN: CORPORATE OFFICER/AUTHORIZED    707 GOLDEN PRAIRIE DR                                               DAVIS JUNCTION       IL 61020‐9442
                            AGENT
SR ROCKVIEW MASTER MA LTD   C/O ROCKVIEW MANAGEMENT LTD           METRO CENTER ONE STATION PLACE                                      STAMFORD            CT   06902

SR' HALEEM A RIDDICK        193 FERRY AVE                                                                                             PONTIAC            MI    48341‐3212
SRABLE GAY                  1606 LEE LN                                                                                               JANESVILLE         WI    53546‐5896
SRADER, JOHN R              ROUTE 1                                                                                                   LONE JACK          MO    64070
SRAIL, TERESA A             2768 W COUNTY RD 300 SOUTH                                                                                KOKOMO             IN    46902
SRAJ JOE                    12417 N YORK DR                                                                                           STERLING HEIGHTS   MI    48313‐1069
SRAJ JR, JOSEPH A           12417 N YORK DR                                                                                           STERLING HTS       MI    48313‐1069
SRAMEK JOSEPH (407179)      WEITZ & LUXENBERG P.C.                180 MAIDEN LANE                                                     NEW YORK           NY    10038
SRAMEK, JOSPEH              WEITZ & LUXENBERG P.C.                180 MAIDEN LANE                                                     NEW YORK           NY    10038
SRAMEK, ROBERT M            8229 WESTVIEW LN                                                                                          WOODRIDGE          IL    60517‐4118
SRAMKOSKI, DAVID M          4819 COLE RD                                                                                              SAGINAW            MI    48601‐9335
SRAMKOSKI, ELEANOR M        5107 SHERIDAN RD                                                                                          SAGINAW            MI    48601‐9304
SRAMKOSKI‐ MIESKE, LYNN M   5949 N MACKINAW RD                                                                                        PINCONNING         MI    48650‐8499
SRANSON, RACHEL             512 MAIN STREET                                                                                           CASCO              WI    54205‐9414
SRB, WALTER W               PO BOX 345                                                                                                FRIENDSHIP         WI    53934‐0345
SRBINOVSKI, MILE V          230 HARPINGTON DR                                                                                         ROCHESTER          NY    14624‐2637
SRBINOVSKI, TOM T           54110 ALGONQUIN DR                                                                                        SHELBY TOWNSHIP    MI    48315‐1100
SRC                         4431 W. CALHOUN                                                                                           SPRINGFIELD        MO    65802
SRC AUTO/SPRINGFIELD        4431 W CALHOUN ST                                                                                         SPRINGFIELD        MO    65802‐6706
SRC AUTOMOTIVE INC          4431 W CALHOUN ST                                                                                         SPRINGFIELD        MO    65802‐6706
SRC ELASTOMERICA INC        4749 TOLBUT ST                                                                                            PHILADELPHIA       PA    19136‐1512
SRC HEAVY DUTY              650 N BROADVIEW PL                                                                                        SPRINGFIELD        MO    65802‐5839
SRC HOLDINGS CORP           3140 E DIVISION ST                                                                                        SPRINGFIELD        MO    65802‐2408
SRC HOLDINGS CORP           4431 W CALHOUN ST                                                                                         SPRINGFIELD        MO    65802‐6706
SRC HOLDINGS CORP           DWAYNE JACKSON                        4431 W CALHOUN ST                SRC AUTOMOTIVE                     SPRINGFIELD        MO    65802‐6706
SRC HOLDINGS CORP           DWAYNE JACKSON                        SRC AUTOMOTIVE                   4431 W. CALHOUN                    WARREN             OH    44482
SRCH, VIRGINIA B            10901 SE 375 RD                                                                                           COLLINS            MO    64738‐6145
SRCTEC, INC.                PHIL FAZIO, CHIEF FINANCIAL OFFICER   5801 EAST TAFT ROAD                                                 NORTH SYRACUSE     NY    13212
SRDA, DONALD R              5363 DON SHENK DR                                                                                         SWARTZ CREEK       MI    48473‐1103
SRDA, JOHN E                1009 E RIVER RD                                                                                           FLUSHING           MI    48433‐2224
SRDA, JOHN ELVIN            1009 E RIVER RD                                                                                           FLUSHING           MI    48433‐2224
SREBALA I I I, PAUL C       ROUTE 4 BOX 420                                                                                           EUFAULA            OK    74432
SREBALA I I I, PAUL C       RR 4 BOX 420                                                                                              EUFAULA            OK    74432‐9423
SREBALA III, PAUL CHARLES   RR 4 BOX 420                                                                                              EUFAULA            OK    74432‐9423
SREBINSKI, EUGENE J         7008 LAKEWOOD DR                                                                                          OSCODA             MI    48750‐8710
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Name                                  Address1                             Address2                         Address3   Address4                 City                 State Zip
SREBINSKI, KENNETH W                  710 16TH ST                                                                                               BAY CITY              MI 48708‐7227
SREDICH, CHRISTINE L                  1333 TOBIAS RD                                                                                            CLIO                  MI 48420
SREDICH, DAVID L                      12514 N BRAY RD                                                                                           CLIO                  MI 48420‐9139
SREDICH, MIKE G                       3080 E FARRAND RD                                                                                         CLIO                  MI 48420‐9119
SREDICH, PETER J                      2176 BLACKTHORN DR                                                                                        BURTON                MI 48509‐1202
SREDINSKI, JOHN T                     380 LAKE FOREST RD                                                                                        ROCHESTER HLS         MI 48309‐2234
SREDINSKY, GEORGIANN D                141 SUSAN CT                                                                                              NILES                 OH 44446‐2733
SREDINSKY, MICHAEL E                  141 SUSAN CT                                                                                              NILES                 OH 44446‐2733
SREDL, FREDERICK H                    237 PENNINGTON LN                                                                                         CHESTERFIELD          MO 63005‐6915
SREDL, WILLIAM G                      901 BLUEWATER DR                                                                                          MONTICELLO            IN 47960
SREEDHAR NAIR                         12 CARRIAGE DRIVE                                                                                         NORWALK               CT 06850
SREEKANTH REDDY                       1607 BROOKLINE ST                                                                                         CANTON                MI 48187‐3159
SREEKANTH TEEPARTHI                   3229 SILVERBROOK DR                                                                                       ROCHESTER HILLS       MI 48306‐4703
SRENDA J THOMAS                       4423 SPINKS CREEK LN                                                                                      SPRING                TX 77388‐3949
SRG AUTOMOTIVE REPAIR                 578 STATE ROUTE 18                                                                                        EAST BRUNSWICK        NJ 08816‐3717
SRG GLOBAL, INC                       ATT: KEVIN BAIRD ‐ PRESIDENT & CEO   240 LARKIN WILLIAMS INDUSTRIAL                                       FENTON                MI 63026‐2413
                                                                           COURT
SRG GLOBAL, INC.                      C/O GUARDIAN INDUSTRIES CORP.        2300 HARMON RD.                                                      AUBURN HILLS         MI   48326
SRI BOLLAPALLI                        1262 GROSVENOR CT                                                                                         ROCHESTER HILLS      MI   48307‐3171
SRI CONSULTING                        ATTN SHARON MCGREGOR‐NOEL         333 RAVENSWOOD AVE                                                      MENLO PARK           CA   94025‐3453
SRI CONSULTING                        4300 BOHANNON DR STE 200                                                                                  MENLO PARK           CA   94025‐1042
SRI SPORTS KABUSHIKI KAISHA DBA SRI   6‐9 WAKINOHAMA‐CHO 3‐CHOME, CHUO‐                                                JAPAN
SPORTS LIMITED                        KU, KOBE‐SHI, JAPAN
SRI SPORTS KABUSHIKI KAISHA DBA SRI   6‐9 WAKINOHAMA‐CHO 3‐CHOME        CHUO‐KU, KOBE‐SHI, JAPAN                       JAPAN
SPORTS LIMITED
SRIBATSA DAS                          132 EDGEFIELD DR                                                                                          MORRIS PLAINS        NJ   07950
SRIBATSA DAS/CHAITALI ROY             C/O SRIBATSA DAS                     20 TIMBER LN                                                         RANDOLPH             NJ   07859‐4518
SRIDEE, UDOM                          300 N SPRINGHILL DR                                                                                       MACEDONIA            OH   44056‐2097
SRIDHAR RAGU                          31475 MOUND RD APT G                                                                                      WARREN               MI   48092‐1652
SRIDHAR SUBRAMANYAM                   822 LION ST                                                                                               ROCHESTER HILLS      MI   48307‐4222
SRIDHARAN, NAGESH                     5055 CHERRY BLOSSOM CIR                                                                                   W BLOOMFIELD         MI   48324‐1299
SRIDHARAN,NAGESH                      5055 CHERRY BLOSSOM CIR                                                                                   WEST BLOOMFIELD      MI   48324‐1299
SRIGLEY, HAMILTON H                   1409 HAPSBURG AVE                                                                                         HOLT                 MI   48842‐9616
SRIGLEY, WILLIAM N                    23319 N ROSEDALE CT                                                                                       SAINT CLAIR SHORES   MI   48080‐2634
SRIHARI GANGARAJ                      UNIT 129                             2386 EAST DEL MAR BOULEVARD                                          PASADENA             CA   91107‐4782
SRIHARI RAO                           786 RED RUN DR                                                                                            TROY                 MI   48085‐1353
SRIKANT, IYER V                       9618 STAYSAIL CT                                                                                          BURKE                VA   22015‐4456
SRIKANTA KONANUR                      39504 WESTMINSTER CIR                                                                                     NOVI                 MI   48375‐3719
SRIKANTH PORIKA                       433 FOX HILLS DR S APT 6                                                                                  BLOOMFIELD           MI   48304‐1350
SRINGARI, SRIRAM                      4210 SPRINGBROOK DR                                                                                       STERLING HEIGHTS     MI   48314‐2922
SRINIVAS BICHALA                      23081 POTOMAC CIR                                                                                         FARMINGTON HILLS     MI   48335‐3303
SRINIVAS CHANDE                       B9, PARADISE NEST                    TUBARAHALLI                                 BANGALORE INDIA 560056
SRINIVAS CHILPURI                     3675 DEER SPRINGS DR                                                                                      ROCHESTER            MI   48306‐4752
SRINIVAS GADDE                        404 CRABAPPLE WAY                                                                                         MCKINNEY             TX   75070
SRINIVAS GADDE                        3101 WELLS BRANCH PKWY APT 1114      PO BOX 1486                                                          DEL VALLE            TX   78617‐1486
SRINIVAS KOMPELLA                     150 PARADISE LN APT 7                                                                                     TONAWANDA            NY   14150‐2846
SRINIVAS MELLACHERUVU                 42735 LANCELOT CT                                                                                         NOVI                 MI   48377‐2036
SRINIVAS MUKKAMALA MD                 ATTN: SRINIVAS MUKKAMALA             1170 CHARTER DR # F                                                  FLINT                MI   48532‐3587
SRINIVAS RAO                          887 TEN POINT DR                                                                                          ROCHESTER HILLS      MI   48309‐2584
SRINIVAS VASUDEVAN                    203 MILLSTONE DR                                                                                          TROY                 MI   48084‐1739
SRINIVAS, ANAND N                     19646 STAMFORD DR                                                                                         LIVONIA              MI   48152‐1241
SRINIVASA BHAT                        APT A301                             1901 MERRILL CREEK PARKWAY                                           EVERETT              WA   98203‐5868
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Name                          Address1                       Address2                         Address3   Address4                City                 State Zip
SRINIVASA CHERUKUVADA         2600 LOCKSLEY CT                                                                                   TROY                  MI 48083‐5713
SRINIVASA GANESAN             29314 STILLWATER                                                                                   FARMINGTON HILLS      MI 48334‐4005
SRINIVASA MANDADAPU           4164 HONEYSUCKLE DR                                                                                STERLING HEIGHTS      MI 48314‐1237
SRINIVASA MUNNANGI            24710 WILLOWBROOK                                                                                  NOVI                  MI 48375‐3577
SRINIVASA TURUMELLA           2518 WOODCHASE CT                                                                                  STERLING HEIGHTS      MI 48310‐7118
SRINIVASAN LALITA T           PO BOX 2623                                                                DUBAI UNITED ARAB
                                                                                                         EMIRATES
SRINIVASAN RAJA               11094 LA PALOMA DR                                                                                 CUPERTINO            CA   95014‐4718
SRINIVASAN RAJAGOPALAN        1784 KIRTS BLVD APT 216                                                                            TROY                 MI   48084‐4340
SRINIVASAN SOUNDARARAJAN      2015 NEIL AVENUE RM # 395                                                                          COLUMBUS             OH   43210
SRINIVASAN, GANESH            44860 STOCKTON DR                                                                                  NOVI                 MI   48377‐2553
SRINIVASAN, MANOHAR           11425 NW 10TH LN                                                                                   GAINESVILLE          FL   32606‐0430
SRINIVASAN, PRADEEPAN         1253 BUCKBOARD CIR                                                                                 SOUTH LYON           MI   48178‐8713
SRINIVASAN, VENKATRAMANA      530 FOX HILLS DR S                                                                                 BLOOMFIELD HILLS     MI   48304‐1316
SRINIVASAN, VIDYAPRIYA        1253 BUCKBOARD CIR                                                                                 SOUTH LYON           MI   48178‐8713
SRINIVASARAO MOHAN            5230 SKIDAWAY DR                                                                                   ALPHARETTA           GA   30022‐4578
SRINIVASULU S                 NITS 1‐8 3RD FL CREATOR BLG    INTL TECH PARK WHITEFIELD RD                BANGALORE INDIA INDIA
SRIPENBENJA, SANGUAN          10332 COTONEASTER ST                                                                               APPLE VALLEY         CA   92308‐3325
SRIPHET, MANA                 PO BOX 270726                                                                                      SAN DIEGO            CA   92198‐2726
SRIPRAKASH, BHARGAV           3045 WHISPERWOOD DR APT 365                                                                        ANN ARBOR            MI   48105
SRIRAM CHENJERI               453 CONCORD DR                                                                                     CANTON               MI   48188‐5283
SRIRAM GANAPATHY              128 GREYSTONE LN APT 13                                                                            ROCHESTER            NY   14618‐4917
SRIRAM RANGANATH              4845 POLO FIELDS DR                                                                                ANN ARBOR            MI   48103‐8845
SRIRAM SRINGARI               4210 SPRINGBROOK DR                                                                                STERLING HEIGHTS     MI   48314‐2922
SRIRAM SUBRAMANIAN            792 QUILL CREEK DR                                                                                 TROY                 MI   48085‐3201
SRISAMUTRA GITTISARN          18956 MUIRKIRK DR                                                                                  NORTHRIDGE           CA   91326‐1053
SRIVASTAVA NILABH             2701 WESTBURY LAKE DR APT 1                                                                        CHARLOTTE            NC   28269
SRIVASTAVA POONAM             1575 N OLD TRL                                                                                     SELINSGROVE          PA   17870‐8381
SRIVASTAVA, SHIVHARI          5573 SILVER POND                                                                                   WEST BLOOMFIELD      MI   48322‐2059
SRJ EXPEDITE                  DAN JOHNSTON                   2045 CONTINENTAL AVE 2ND FLOOR              WINDSOR ON N9E 3P2
                                                                                                         CANADA
SRJ EXPEDITE LIMITED          DAN JOHNSTON                   2045 CONTINENTAL AVE 2ND FLOOR              WINDSOR ON N9E 3P2
                                                                                                         CANADA
SRL AUDIO/VIDEO CONTRACTING   330 FRANKLIN ROAD #135A‐231                                                                        BRENTWOOD            TN   37027
SRL,                          THE TRACY FIRM                 5473 BLAIR RD STE 200                                               DALLAS               TX   75231‐4168
SRNEK, FRIEDA O               2481 W KOCHVILLE RD                                                                                SAGINAW              MI   48604‐9711
SRNEK, FRIEDA O               2481 KOCHVILLE RD                                                                                  SAGINAW              MI   48604‐9711
SRNEK, STEVEN C               16100 CREST DR                                                                                     LINDEN               MI   48451‐8718
SROCK JR, FRED E              2529 LOCKPORT OLCOTT RD                                                                            NEWFANE              NY   14108‐9519
SROCK, BETTY A                542 BOTTLEBRUSH CT                                                                                 NEW SMYRNA BEACH     FL   32168‐7901
SROCK, CHRISTINE              14283 BLACKBURN ST                                                                                 LIVONIA              MI   48154‐4246
SROCK, JOHN F                 49337 GLASCO CT                                                                                    SHELBY TOWNSHIP      MI   48315‐3929
SROCK, MELISSA J              1195 FOREST LN                                                                                     BLOOMFIELD HILLS     MI   48301‐4115
SRODA, JOSEPH A               22218 LOVE ST                                                                                      ST CLAIR SHRS        MI   48082‐2475
SRODA, LINDA D                30241 ROSEBRIAR ST                                                                                 SAINT CLAIR SHORES   MI   48082‐2642
SRODEK, CHARLES J             714 VILLAGE CLUB RD                                                                                SAGAMORE HILLS       OH   44067‐2337
SRODEK, DOLORES               15024 S GALLATIN BLVD                                                                              BROOKPARK            OH   44142‐2447
SROKA, ANDREW ROBERT          1435 SILVER LINDEN CT                                                                              FORT WAYNE           IN   46804‐5213
SROKA, ARLENE M               34310 SHAWNEE ST                                                                                   WESTLAND             MI   48185‐7012
SROKA, EDWARD                 118 ROSSITER AVE                                                                                   YONKERS              NY   10701‐5011
SROKA, ELIZABETH              3413 PARDEE AVE                                                                                    DEARBORN             MI   48124‐3567
SROKA, FRANK G                PO BOX 1848                                                                                        ROCHESTER            MI   48308
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SROKA, GENE                      1435 SILVER LINDEN CT                                                                                           FORT WAYNE          IN 46804‐5213
SROKA, HELEN E                   26720 JOY RD 5B                                                                                                 REDFORD             MI 48239
SROKA, JAMES A                   25388 POTOMAC DR                                                                                                SOUTH LYON          MI 48178‐1084
SROKA, JAMES R                   2656 APACHE TRL                                                                                                 WIXOM               MI 48393‐2118
SROKA, KENNETH E                 5365 CAMPBELL ST                                                                                                DEARBORN HEIGHTS    MI 48125‐2728
SROKA, LILLIAN                   52358 BAKER RD                                                                                                  CHESTERFIELD        MI 48047‐3173
SROKA, MARTIN E                  2883 DEERFIELD APT 206                                                                                          LAKE ORION          MI 48360‐2396
SROKA, MARTIN EUGENE             2883 DEERFIELD APT 206                                                                                          LAKE ORION          MI 48360‐2396
SROKA, RAYMOND J                 4862 S VAIL LN                                                                                                  GAYLORD             MI 49735‐9657
SROKA, RAYMOND J                 31634 BELLEAU DR                                                                                                WARREN              MI 48092‐1452
SROKA, THELMA J                  6320 EVANGELINE                                                                                                 DEARBORN HEIGHTS    MI 48127
SROKA, THELMA J                  6320 N EVANGELINE ST                                                                                            DEARBORN HEIGHTS    MI 48127‐3085
SRONCE, RICHARD L                550 N CHERRY ST                                                                                                 OAKDALE              IL 62268‐2720
SROONIAN, AMOS M                 7076 LOU MAC DR                                                                                                 SWARTZ CREEK        MI 48473‐9718
SROONIAN, JACK                   6218 OAK FARM RD                                                                                                SWARTZ CREEK        MI 48473‐7963
SROUFE, CARL                     1375 GLENBROOK DR                                                                                               HAMILTON            OH 45013‐2330
SROUFE, LARRY E                  PO BOX 1                                                                                                        CLOVERDALE          OH 45827‐0001
SROUFE, LEROY R                  2599 TOWNSHIP ROAD 18A                                                                                          CONTINENTAL         OH 45831
SROUFE, LEROY ROGER              2599 TOWNSHIP ROAD 18A                                                                                          CONTINENTAL         OH 45831
SROUR, GHADA A                   4681 E 610 N                                                                                                    ROANOKE             IN 46783‐8801
SROUR, MAHMOUD M                 4681 E 610 N                                                                                                    ROANOKE             IN 46783‐8801
SROUR, SAID M                    3935 WESTPOINT ST                                                                                               DEARBORN HTS        MI 48125‐2124
SROUSE CAROLYN                   7105 SEQUOIA TER                                                                                                BELTSVILLE          MD 20705‐1462
SRP                              SRP ‐ SALT RIVER PROJECT             PO BOX 52025                                                               PHOENIX             AZ 85072‐2025
SRP ‐ SALT RIVER PROJECT         PO BOX 2950                                                                                                     PHOENIX             AZ 85062‐2950
SRP ‐ SALT RIVER PROJECT AZ      ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 2950                                                                PHOENIX             AZ 85062‐2950
                                 AGENT
SRP CORP/ELKHART                 2000 INDUSTRIAL PKWY                                                                                            ELKHART            IN    46516‐5411
SRP ENGINEERING LTD              63 BIRCH HILL RD                                                                                                LOCUST VALLEY      NY    11560‐1801
SRP SALT RIVER PROJECT           PO BOX 2950                                                                                                     PHOENIX            AZ    85062‐2950
SRS (SERVICE REPAIR SOLUTIONS)   BOB PRINGLE                          3058 E SUNSET RD STE 113                                                   LAS VEGAS          NV    89120‐5702
SRS 2008 DEMINIMIS SETTLEMENT    AMERICAN ENVIRONMENTAL CONSULT       30 PURGATORY RD                                                            MONT VERNON        NH    03057

SRS HOSPITAL ST FRAN             45 SPINDRIFT DR                                                                                                 WILLIAMSVILLE      NY    14221
SRS INC                          15212 COMMON RD                                                                                                 ROSEVILLE          MI    48066‐1810
SRS REMOVAL ACTION TRUST         AMER ENVIRON CONSULTANTS             30 PURGATORY RD                                                            MONT VERNON        NH    03057
SRSNE SITE NTCRA                 AMERICAN ENVIRONMENTAL CONSULT       30 PURGATORY RD                                                            MONT VERNON        NH    03057

SRSNE SITE PRP GROUP             C/O AMERICAN ENVIR CONSULTANTS       30 PURGATORY RD                                                            MONT VERNON        NH    03057
SRSNE SITE PRP GROUP             C/O JOAN E PRICHARD, HALE&DORR       60 STATE ST                                                                BOSTON             MA    02109
SRUBAS, ALPHONSE A               14733 TIMBER LN                                                                                                 BONNER SPRINGS     KS    66012‐9370
SRUBAS, JOHN R                   3912 WELLESLEY DR NE                                                                                            ALBUQUERQUE        NM    87107‐4522
SRVAN BRICK & STONE              1301 N SHERMAN ST                                                                                               BAY CITY           MI    48708‐6070
SRYGLER, KATHY D                 PO BOX 820                                                                                                      BROWNSVILLE        KY    42210‐0820
SRYNIAWSKI, DAVID J              24572 MIDDLEBELT RD                                                                                             NEW BOSTON         MI    48164‐9717
SRYNIAWSKI, DAVID JAMES          24572 MIDDLEBELT RD                                                                                             NEW BOSTON         MI    48164‐9717
SS & K                           88 PINE ST FL 30                                                                                                NEW YORK           NY    10005‐1825
SS ENTERPRISES INC               3115 THOMPSON RD                                                                                                FENTON             MI    48430
SS INSERTS, LLC
SS TUBE TECHNOLOGY LTD           SUTTON FARM                          SUTTON WITNEY OXON         OX29 5RD GREAT BRITAIN   UNITED KINGDOM GREAT
                                                                                                                          BRITAIN
SS&G LP                          ATTN CARY T WILSON                   PO BOX 459                                                                 ALVIN               TX   77512‐0459
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SS&K                          88 PINE ST FL 30                                                                                                           NEW YORK              NY 10005‐1825
SSA GLOBAL TECHNOLOGIES INC   36549 EAGLE WAY                                                                                                            CHICAGO                IL 60678‐0001
SSAB HARDTECH INC             200 E KIPP RD                                                                                                              MASON                 MI 48854‐9291
SSAB HARDTECH INC
SSAB SWEDISH STEEL INC        PO BOX 643580                                                                                                              PITTSBURGH            PA 15264‐3580
SSAB TUNNPLAT AB              C O 5 SIF JEANETTE LAGNELI, BORLANGE                                                              KOPPARBERGS LAN 781 84
                                                                                                                                SWEDEN
SSC SERVICE SOLUTIONS         1845 MIDPARK RD                                                                                                            KNOXVILLE            TN 37921‐5951
SSC SERVICE SOLUTIONS         JUSTIN BOLLI                           2305 SYCAMORE DR                                                                    KNOXVILLE            TN 37921‐1750
SSCM ENTERPRISES              9605 BIG ROCK DR                                                                                                           FOWLERVILLE          MI 48836‐9372
SSCP CO LTD
SSD DISTRIBUTION SYSTEM INC   PO BOX 110566                                                                                                              CLEVELAND            OH 44111‐0566
SSDC CORP                     28125 CABOT DR STE 201                                                                                                     NOVI                 MI 48377‐2985
SSG BANK                      FOR DEPOSIT TO THE ACCOUNT OF          122 W MAIN ST                  J FILLMORE                                           STOCKBRIDGE          MI 49285‐9483
SSG. ROGER D. WHITE
SSI INCORPORATED              719 THOMSON PARK DR                                                                                                        CRANBERRY TOWNSHIP   PA   16066‐6427
SSI SERVICES INC              308 S STATE AVE                                                                                                            INDIANAPOLIS         IN   46201‐3900
SSI SERVICES LLC              308 S STATE AVE                                                                                                            INDIANAPOLIS         IN   46201‐3900
SSI TECH.‐METALS DIVISION     JIM WILSON                             PO BOX 5011                    SINTERED SPECIALTIES DIV.                            JANESVILLE           WI   53547‐5011
SSI TECH.‐METALS DIVISION     JIM WILSON                             SINTERED SPECIALTIES DIV.      3330 PALMER DR./P.O. BOX                             GASTONIA             NC   28054
                                                                                                    5011
SSI TECHNOLOGIES INC          PO BOX 5011                            3200 PALMER DR                                                                      JANESVILLE           WI   53547‐5011
SSI TECHNOLOGIES INC          2643 W COURT ST                                                                                                            JANESVILLE           WI   53548‐3357
SSI TECHNOLOGIES INC          3330 PALMER DR                                                                                                             JANESVILLE           WI   53546‐2305
SSI TECHNOLOGIES INC          JIM WILSON                             PO BOX 5011                    SINTERED SPECIALTIES DIV.                            JANESVILLE           WI   53547‐5011
SSI TECHNOLOGIES INC          JIM WILSON                             SINTERED SPECIALTIES DIV.      3330 PALMER DR./P.O. BOX                             GASTONIA             NC   28054
                                                                                                    5011
SSI US INC                    DBA SPENCER STUART                     401 N MICHIGAN AVE                                                                  CHICAGO              IL 60611
SSI US INC                    401 N MICHIGAN AVE STE 3400                                                                                                CHICAGO              IL 60611‐4249
SSIMED HOLDINGS               HARTFORD INSURANCE CO.                 BILL BROWN 603 CAMPBELL                                                             CAMPBELL             CA 95008
                                                                     TECHNOLOGY PKW
SSJ CONSULTANT CENTER         PO BOX 124                             ATTN DR ELIZABETH M REIS                                                            NAZARETH             MI   49074‐0124
SSM CARDIAC VASC & T          PO BOX 843217                                                                                                              KANSAS CITY          MO   64184‐3217
SSM CARDIOVASCTHORAC          PO BOX 843217                                                                                                              KANSAS CITY          MO   64184‐17
SSM ST JOSEPHS FOUNDATION     300 1ST CAPITOL DR                                                                                                         SAINT CHARLES        MO   63301‐2844
SSNAKE‐OYL PRODUCTS, INC.     SAM HOUSTON                            114 N GLENWOOD BLVD                                                                 TYLER                TX   75702‐5423
SSOE CHINA CO LTD             SUITE 28K PUFA TOWER NO 588            SOUTH PUDONG ROAD 200120 PRC                               SHANGHAI CHINA CHINA

SSOE INC                      ATTN ACCOUNTS RECEIVABLE               1001 MADISON AVE                                                                    TOLEDO               OH   43604‐5535
SSOE INC                      PLAZA ONE 111 E COURT ST                                                                                                   FLINT                MI   48502
SSOE INC                      1001 MADISON AVE                                                                                                           TOLEDO               OH   43604‐5535
SSOE INC                      1050 WILSHIRE DR STE 260                                                                                                   TROY                 MI   48084‐1526
SSOE SYS/TOLEDO               1001 MADISON AVE                                                                                                           TOLEDO               OH   43604‐5535
SSOE/NASHVILLE                624 GRASSMERE PARK DRIVE               SUITE 28                                                                            NASHVILLE            TN   37211
SSP ASSOCIATES INC            1100 W WASHINGTON AVE #3                                                                                                   SAGINAW              MI   48601‐2557
SSR FANATICS                  C/O DEBBIE COOK                        43743 MERRILL RD                                                                    STERLING HEIGHTS     MI   48314‐2173
SSS CONSULTING INC            1900 FOUNDERS DR                       STE 350                                                                             DAYTON               OH   45420‐4026
SSS SSS                       SSS                                    SSS                            SSS                         SSS                      SSS                  MA   12344
SSS SSS                       SSSSSS                                                                                                                     SSS                       20010
SSS SSS                       SSSS                                                                                                                       SSS                  WI
SST INC                       2600 SUPERIOR CT                                                                                                           AUBURN HILLS         MI 48326‐4313
SST INC                       1750 N CR 750 W                                                                                                            KOKOMO               IN 46904
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Name                              Address1                          Address2               Address3              Address4            City                State Zip
ST AMOUR, CAROL A                 38914 CARR DR                                                                                      ZEPHYR HILLS         FL 33540‐1836
ST ANTOINE JR, JAMES J            95 CARMELL                                                                                         BELLEVILLE           MI 48111
ST AUBIN, CLARENCE F              3565 ORCHARD DR                                                                                    METAMORA             MI 48455‐8918
ST CLAIR, JAMES D                 8489 HOGAN RD                                                                                      FENTON               MI 48430‐9049
ST JOHN, TIMOTHY D                22 W WOODWARD ST                                                                                   ECORSE               MI 48229‐1539
ST LOUIS, BETTY                   84 HIGHLAND AVE                                                                                    MASSENA              NY 13662‐1721
ST PIERRE, DORIS A                1935 HARPER RD                    LOT 10                                                           NORTHPORT            AL 35476‐2358
ST PIERRE, JOSEPH C               15 N BASSETT RD                                                                                    LAPEER               MI 48446‐2862
ST . JAMES, MEMORY A              3175 STATE HIGHWAY 47                                                                              LOS LUNAS            NM 87031‐7529
ST AGNES HOSPITAL                 PO BOX 24216                                                                                       BALTIMORE            MD 21227‐0716
ST AMAND, JAMES C                 11 CARTERS LN                                                                                      NEWINGTON            NH 03801‐2703
ST AMAND, VERNON J                727 PARKMAN DR                                                                                     BLOOMFIELD HILLS     MI 48304‐2449
ST AMANT, JEROME P                547 CLINTON ST APT 1002                                                                            WOONSOCKET            RI 02895‐3236
ST AMANT, ROBERT L                8215 GULLEY ST                                                                                     TAYLOR               MI 48180‐2048
ST AMANT, RONALD R                630 E COLUMBIA AVE                                                                                 PONTIAC              MI 48340‐2045
ST AMANT, STERLING J              3485 MISSION VIEW DR                                                                               FREMONT              CA 94538‐2920
ST AMBROSE UNIVERSITY             BUSINESS OFFICE                   518 W LOCUST ST                                                  DAVENPORT             IA 52803‐2829
ST AMBROSE UNIVERSITY             518 W LOCUST ST                                                                                    DAVENPORT             IA 52803‐2829
ST AMOUR II, WILFRED F            10490 BITZ RD                                                                                      MAYBEE               MI 48159‐9703
ST AMOUR, CAROL A                 38914 CARR DR                                                                                      ZEPHYRHILLS          FL 33540‐1836
ST AMOUR, DAVID ALAN              2420 22 MILE RD                                                                                    SAND LAKE            MI 49343‐9505
ST AMOUR, DORIS E                 1025 GOLFCOAST BLVD                                                                                VENICE               FL 34285
ST AMOUR, JOANN M                 522 E YORK AVE                                                                                     FLINT                MI 48505‐2187
ST AMOUR, JOANN M                 522 EAST YORK AV.                                                                                  FLINT                MI 48505
ST AMOUR, LEO                     1874 BURNING BUSH CT                                                                               ROCHESTER HILLS      MI 48309‐3321
ST AMOUR, MARK C                  2007 E LINCOLN AVE                                                                                 ROYAL OAK            MI 48067‐4025
ST AMOUR, TERRY L                 5480 BURLWOOD CIR                                                                                  GRAND BLANC          MI 48439‐1969
ST ANDRE, EDWARD G                6315 BRENDA DR                                                                                     CASS CITY            MI 48726‐1001
ST ANGELO , STEPHEN               PO BOX 9022                       MEXICO CITY                                                      WARREN               MI 48090‐9022
ST ANGELO JR, STEPHEN             107 GOLF CLUB DR                                                                                   NICHOLASVILLE        KY 40356‐8168
ST ANGELO, STEPHEN F              406 W BARROW DR                                                                                    CHANDLER             AZ 85225‐2658
ST ANNS HOSPITAL                  PO BOX 931072                                                                                      CLEVELAND            OH 44193‐0004
ST ANNS SQUARE NOMINEES LIMITED   HENRY PILLING HOUSE               BOOTH STREET           DESIGNATION: IM333Y   M2 4AF MANCHESTER
                                                                                                                 GREAT BRITAIN
ST ANSELM COLLEGE                 100 SAINT ANSELMS DR                                                                               MANCHESTER          NH   03102‐1308
ST ANTHONY NORTH ASC              PO BOX 108809                                                                                      OKLAHOMA CITY       OK   73101‐8809
ST ANTHONYS TRANSPORT INC         PO BOX 4759                                                                                        YOUNGSTOWN          OH   44515‐0759
ST ANTOINE JR, JAMES J            95 CARMELL ST                                                                                      BELLEVILLE          MI   48111‐2948
ST ARNAUD, WILBERT M              24860 ROXANA AVE                                                                                   EAST DETROIT        MI   48021‐1339
ST ARNO, NORMA L                  6600 TRILLIUM VILLAGE LN UNIT 5                                                                    CLARKSTON           MI   48346‐5204
ST ARNO, NORMA L                  6600 TRILLIUM VILLAGE LANE        UNIT 5                                                           CLARKSTON           MI   48346
ST AUBIN, CLARENCE F              3565 ORCHARD DR                                                                                    METAMORA            MI   48455‐8918
ST AUBIN, DAVID F                 1309 HAMPTON RD                                                                                    MOUNT CLEMENS       MI   48043‐3023
ST AUBIN, GREGORY C               1261 LAKE SHORE BLVD                                                                               LAKE ORION          MI   48362‐3909
ST AUBIN, HELEN                   5404 NUGGET CT                                                                                     YUCCA VALLEY        CA   92284‐7700
ST AUBIN, LAURENCE M              6270 THICKET LAKE LN                                                                               MAINEVILLE          OH   45039‐5086
ST AUBIN, THERESA A               435 E BROADWAY ST                                                                                  BRADLEY             IL   60915‐1701
ST AUDE, ANTOINE                  215 W 91ST ST APT 37                                                                               NEW YORK            NY   10024‐1334
ST BENOIT PRIVATE MANAGEMENT SA   38 AVENUE DE LA FAIENCERIE                                                     L‐1510 LUXEMBOURG
ST BERNARDINE MEDCL               54772 PHILO                                                                                        LOS ANGELES         CA 90074‐0001
ST BONAVENTURE UNIVERSITY         PO BOX 2520                                                                                        SAINT BONAVENTURE   NY 14778‐2520
ST CASIMIR CHURCH                 ATTN: REGINALDO SALCEDO           2122 S JEFFERSON AVE                                             SAGINAW             MI 48601‐3498
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Name                                   Address1                              Address2                      Address3        Address4                 City            State Zip
ST CATHARINE MACHINE PRODS             KATHY MALLABAR                        206 BUNTING RD P.O. BOX 595                   LONDON ON CANADA
ST CATHARINES BUILDING SUPPLIE         126 GRANTHAM AVE S                                                                  ST CATHARINES ON L2P 3H2
                                                                                                                           CANADA
ST CATHARINES BUILDING SUPPLIES        176 BUNTING ROAD                                                                    ST CATHARINES CANADA
                                                                                                                           ON L2M 3Y1 CANADA
ST CATHARINES CORRUGATED               1827 ALLANPORT ROAD                                                                 ALLANBURG ON L0S 1A0
CONTAINERS INC                                                                                                             CANADA
ST CATHARINES MACHIN                   206 BUNTING RD                                                                      ST CATHARINES ON L2M
                                                                                                                           3Y1 CANADA
ST CATHARINES MACHINE PRODUCTS INC     PO BOX 595                            206 BUNTING ROAD                              ST CATHARINES CANADA
                                                                                                                           ON L2R 6X4 CANADA
ST CATHARINES ONTARIO DOLPHIN          SWIM TEAM SPECIAL OLYMPICS            C/O MORGAN FUNERAL HOME       415 REGENT ST   NIAGARA ON THE LAKE ON
                                                                                                                           L0S 1J0 CANADA
ST CATHERINE OF SIEN                   PO BOX 200374                                                                                                PITTSBURGH      PA    15251‐0374
ST CATHERINES HIGH SCHOOL              1200 PARK AVE                                                                                                RACINE          WI    53403‐1847
ST CHARLES CIR CT ACCT OF              D BRADFORD                            300 N SECOND ST                                                        SAINT CHARLES   MO    63301
ST CHARLES CIRCUIT COURT CLERK         COURTS ADMINISTRATION BLDG            300 N SECOND STREET                                                    SAINT CHARLES   MO    63301
ST CHARLES CNTY AMBU                   4169 OLD MILL PKWY                                                                                           SAINT PETERS    MO    63376‐6551
ST CHARLES COMMUNITY COLLEGE           4601 MID RIVERS MALL DR                                                                                      SAINT PETERS    MO    63376‐2865
BUSINESS & INDUSTRY INSTITUTE
ST CHARLES COUNTY COMM COLLEGE         4601 MID RIVERS MALL DR                                                                                     SAINT PETERS     MO    63376‐2865
ST CHARLES COUNTY GOLDEN GAMES         PO BOX 1081                                                                                                 SAINT PETERS     MO    63376‐0018
ST CHARLES CTY CIRCUIT COURT           ACCT OF HAROLD HOLBROOK JR            300 NORTH SECOND RM 436                                               SAINT CHARLES    MO    63301
ST CHARLES FAMILY SUPPORT DIVISION     3737 HARRY S TRUMAN BLVD              SUITE 200                                                             ST. CHARLES      MO    63301‐4052

ST CHARLES FAMILY SUPPORT DIVISION     3737 HARRY S TRUMAN BLVD, SUITE 200                                                                         ST CHARLES       MO 63301‐0405

ST CHARLES FAMITY SUPPORT DIVISON      3737 HARRY S TRUMAN BLVD              STE 200                                                               ST CHARLES       MO    63301
ST CHARLES PHYSICAL                    939 HIGHWAY K                                                                                               O FALLON         MO    63366‐2910
ST CHARLES, ARTHUR                     2168 E PARKWOOD AVE                                                                                         BURTON           MI    48529‐1766
ST CHARLES, PATRICIA V                 1484 CAIRN CT                                                                                               PALM HARBOR      FL    34683‐6365
ST CLAIR CNTY FRIEND OF COURT          ACCT OF DONALD HOLLINGER              201 MC MORRAN BLVD                                                    PORT HURON       MI    48060
ST CLAIR CNTY FRIEND OF COURT          ACCT OF JAMES TREADWAY                201 MC MORRAN BLVD                                                    PORT HURON       MI    48060
ST CLAIR CNTY FRIEND OF COURT          ACCT OF KENNETH PHELPS                201 MC MORRAN BLVD                                                    PORT HURON       MI    48060
ST CLAIR CNTY FRIEND OF COURT          ACCT OF RUSSELL OUELLETTE             201 MC MORRAN BLVD                                                    PORT HURON       MI    48060
ST CLAIR CNTY FRIEND OF COURT          ACCT OF DENNIS DUNDAS                 201 MC MORRAN BLVD                                                    PORT HURON       MI    48060
ST CLAIR CNTY FRIEND OF COURT          ACCOUNT OF TYRONE HILL                201 MC MORRAN BLVD                                                    PORT HURON       MI    48060
ST CLAIR CNTY FRIEND OF COURT          ACCT OF NELSON A JONES                201 MC MORRAN BLVD                                                    PT HURON         MI    38252
ST CLAIR COLLEGE OF APPLIED ARTS AND   2000 TALBOT ROAD WEST                                                               WINDSOR ON N9A6S4
TECHNOLOGY                                                                                                                 CANADA
ST CLAIR COUNTY                        PO BOX 876                                                                                                  ASHVILLE          AL 35953‐0876
ST CLAIR COUNTY                        PO BOX 1129                                                                                                 ASHVILLE          AL 35953‐1129
ST CLAIR COUNTY COMMUNITY COLLEGE      323 ERIE ST                           P O BOX 5015                                                          PORT HURON        MI 48060‐3812

ST CLAIR COUNTY FOC                    201 MC MORRAN BLVD                                                                                          PORT HURON        MI 48060
ST CLAIR COUNTY FRIEND OF COUR         FOR ACCT OF T HILL                    201 MCMORRAN BLVD                                                     PORT HURON        MI 48060
ST CLAIR COUNTY INTERMEDIATE SCHOOL    PO BOX 5001                                                                                                 PORT HURON        MI 48061‐5001
DISTRICT
ST CLAIR COUNTY TAX RETURN             PO BOX 876                                                                                                  ASHVILLE          AL   35953‐0876
ST CLAIR CTY FRIEND OF COURT           ACCT OF TERRY R SHIELDS               201 MC MORRAN BLVD                                                    PORT HURON        MI   48060
ST CLAIR CTY FRIEND OF COURT           ACCT OF DENNIS E BALUT                201 MCMORRAN BLVD                                                     PORT HURON        MI   48060
ST CLAIR CTY FRIEND OF COURT           ACCT OF NELSON A JONES                201 MC MORRAN BLVD                                                    PORT HURON        MI   48060
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Name                              Address1                           Address2                         Address3   Address4              City                 State Zip
ST CLAIR EDGAR L (439535)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK               VA 23510
                                                                     STREET, SUITE 600
ST CLAIR FIB/MTCLEMN              30040 S RIVER RD                                                                                     HARRISON TOWNSHIP    MI 48045‐1878
ST CLAIR FRIEND OF COURT          ACCT OF DENNIS HIRCHBERGER         201 MCMORRAN BLVD                                                 PORT HURON           MI 48060
ST CLAIR JAMES H (346651)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK              VA 23510
                                                                     STREET, SUITE 600
ST CLAIR JANE A                   ST CLAIR, JANE A                   30400 DETROIT RD STE 108                                          WESTLAKE             OH 44145‐1855
ST CLAIR JOHN G (429856)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK              VA 23510
                                                                     STREET, SUITE 600
ST CLAIR JR, JOHN                 6108 E QUINCY ST                                                                                     INVERNESS            FL   34452‐7917
ST CLAIR MCFETRIDGE & GRIFFIN     TELESIS TOWER SUITE 1400           1 MONTGOMERY ST                                                   SAN FRANCISCO        CA   94104‐4503
ST CLAIR MCFETRIDGE GRIFFIN &     268 BUSH ST NO 800                                                                                   SAN FRANCISCO        CA   94104
ST CLAIR ORTHOPAEDIC              45441 HEYDENREICH ROAD                                                                               MACOMB               MI   48044
ST CLAIR PLAS/CHESTE              30855 TETON PL                                                                                       CHESTERFIELD         MI   48047‐3505
ST CLAIR PLASTICS CORP            AMY ORRIS X138                     30855 TETON PLACE                                                 MANCELONA            MI
ST CLAIR PLASTICS CORP            AMY ORRIS X138                     30855 TETON PL                                                    CHESTERFIELD         MI   48047‐3505
ST CLAIR SHORES ADULT EDUCATION   23055 MASONIC BLVD                                                                                   SAINT CLAIR SHORES   MI   48082‐2008
ST CLAIR SYSTEMS INC              12427 31 MILE RD                                                                                     WASHINGTON TWP       MI   48095‐1419
ST CLAIR TECHNOLOGIES             JOE COLLITON                       845 E OHIO ST STE 103                                             TUCSON               AZ   85714‐3313
ST CLAIR TECHNOLOGIES             JOE COLLITON                       845 E. OHIO STREET, STE 103                 SALISBURY AUSTRALIA
ST CLAIR WILLIAMS                 210 E FLINT PARK BLVD                                                                                FLINT                MI   48505‐3442
ST CLAIR, ADELAIDE K              16 ALLEN ST                                                                                          IRVINGTON            NJ   07111‐2118
ST CLAIR, ASHLEY M                190 W NORTH C ST                                                                                     ELWOOD               IN   46036‐8447
ST CLAIR, BARBER D                326 COUNTRY CLUB LN                                                                                  ANDERSON             IN   46011‐3400
ST CLAIR, BERNARD J               PO BOX 387                                                                                           MENDON               MA   01756‐0387
ST CLAIR, BETTY A                 1446 TRILLIUM CIRCLE                                                                                 GRAND HAVEN          MI   49417
ST CLAIR, BILLIE B                43655 STATE ROUTE 162                                                                                SPENCER              OH   44275‐9401
ST CLAIR, BILLIE C                PO BOX 177                                                                                           FRANKTON             IN   46044‐0177
ST CLAIR, CATHERINE E             98 E LOWELLS LN                                                                                      ROSEDALE             IN   47874‐7004
ST CLAIR, CATHERINE E             98 E LOWELLS LANE                                                                                    ROSEDALE             IN   47874‐7004
ST CLAIR, CHARLENE E              1529 HOME AVE                                                                                        BERWYN               IL   60402‐1351
ST CLAIR, DENNIS E                4561 BRIGHTON CIR                                                                                    GRAND BLANC          MI   48439‐7342
ST CLAIR, EDGAR L                 GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK              VA   23510
                                                                     STREET, SUITE 600
ST CLAIR, EDWARD V                300 BAUERS DR                                                                                        EDGEWOOD             MD   21040‐3402
ST CLAIR, EVADEEN L               422 W MAIN ST                                                                                        PERU                 IN   46970‐1859
ST CLAIR, FLORENCE J              2715 TRADEWINDS TRAIL                                                                                ORLANDO              FL   32805‐5819
ST CLAIR, GARY D                  385 COUNTY ROAD 681                                                                                  SULLIVAN             OH   44880‐9751
ST CLAIR, GERTRUDE ELIZABETH      7771 VALLEY RD NW                                                                                    RAPID CITY           MI   49676‐9522
ST CLAIR, IRIS L                  42045 MONTROY DR                                                                                     STERLING HTS         MI   48313‐2594
ST CLAIR, JAMES B                 3912 WINDSOR WAY                                                                                     ANDERSON             IN   46011‐3059
ST CLAIR, JAMES D                 8489 HOGAN RD                                                                                        FENTON               MI   48430‐9049
ST CLAIR, JAMES K                 5501 COUNTYLINE TURNPIKE RD                                                                          WEST FARMINGTON      OH   44491
ST CLAIR, JAMES K                 5501COUNTYLINE TURNPIKE RD                                                                           WEST FARMINGTON      OH   44491
ST CLAIR, JANE A                  MISHLER CO LPA HOWARD V            THE ATRIUM, 30400 DETROIT RD.,                                    WESTLAKE             OH   44145‐1855
                                                                     SUITE 108
ST CLAIR, JOHN D                  217 SANFORD ST                                                                                       RAVENNA              OH   44266‐3315
ST CLAIR, JOHN E                  309 N CHESTNUT ST                                                                                    SENECA               SC   29678
ST CLAIR, JOHN E                  PO BOX 10                                                                                            CLIFFORD             MI   48727‐0010
ST CLAIR, JOYCE L                 1706 HARLANSBURG RD                                                                                  NEW CASTLE           PA   16101
ST CLAIR, KAREN J                 73 SUGAR CANE DR                                                                                     BOARDMAN             OH   44512‐5966
ST CLAIR, KENNETH M               8346 E MILAGRO AVE                                                                                   MESA                 AZ   85209‐5233
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Name                           Address1                        Address2                        Address3                   Address4         City               State Zip
ST CLAIR, LAWRENCE E           2684 DAYTON DR                                                                                              TROY                MI 48085‐4025
ST CLAIR, MARGOT               5866 LOCUST ST EXT                                                                                          LOCKPORT            NY 14094‐5510
ST CLAIR, MARY A               3674 OAKLEAF DR                                                                                             WEST BLOOMFIELD     MI 48324‐2544
ST CLAIR, MARY EVELYN          1811 S COMMERCIAL AVE                                                                                       COLEMAN             TX 76834
ST CLAIR, NETTA J              135 CRAWFORD STREET             APT 1A                                                                      OXFORD              MI 48371
ST CLAIR, NORMAN P             PO BOX 151                                                                                                  CHARLEVOIX          MI 49720‐0151
ST CLAIR, PATRICIA L           406 E DUTCHESS                                                                                              WALTON              IN 46994‐4140
ST CLAIR, RALPH L              24176 ROSITA LN                                                                                             NORTH OLMSTED       OH 44070‐1517
ST CLAIR, RETTAJEAN            10 S COLUMBUS ST                                                                                            BEVERLY HILLS       FL 34465‐3612
ST CLAIR, ROBERT R             PO BOX 11173                                                                                                FORT WAYNE          IN 46856‐1173
ST CLAIR, ROBERT RONALD        PO BOX 11173                                                                                                FORT WAYNE          IN 46856‐1173
ST CLAIR, RONALD C             30373 42ND AVE                                                                                              PAW PAW             MI 49079‐8032
ST CLAIR, RONALD G             PO BOX 177                                                                                                  FRANKTON            IN 46044‐0177
ST CLAIR, RUSSELL R            5420 RIVERVIEW DR                                                                                           LEAVITTSBURG        OH 44430‐9692
ST CLAIR, SAMUEL J             1449 SR #14 BOX 115                                                                                         DEERFIELD           OH 44411
ST CLAIR, SHIRLEY D            724 CENTRAL WAY                                                                                             ANDERSON            IN 46011‐1808
ST CLAIR, THOMAS R             104 RIVIERA CT SE                                                                                           WARREN              OH 44484‐3189
ST CLAIR, WILLIAM D            1405 HARVEY LAKE RD RT                                                                                      HIGHLAND            MI 48356
ST CLAIR, WILLIAM D            2858 BARCLAY MESSERLY RD                                                                                    SOUTHINGTON         OH 44470‐9719
ST CLAIR, WILMA I              1860 RIDGEWOOD ROAD                                                                                         WADSWORTH           OH 44281‐8500
ST CLAIR/STEELE                493 BROWN HILL RD                                                                                           STEELE              AL 35987‐2810
ST CLAIRE ADVERTISING INC      37440 HILLS TECH DR                                                                                         FARMINGTON HILLS    MI 48331‐3414
ST CLAIRE GAYBRIELA            169 PALISADE LOOP                                                                                           PAWLEYS ISLAND      SC 29585‐7835
ST CLAIRE INC                  37440 HILLS TECH DR                                                                                         FARMINGTON HILLS    MI 48331‐3414
ST CLOUD STATE UNIVERSITY      BUSINESS OFFICE A S 122         720 4TH AVE S                                                               SAINT CLOUD         MN 56301‐4442
ST CLOUD TECHNICAL COLLEGE     BUSINESS OFFICE                 1540 NORTHWAY DR                                                            SAINT CLOUD         MN 56303‐1240
ST COME JEAN ERNEST (499388)   LIPMAN DAVID M                  5901 SW 74TH ST STE 304                                                     MIAMI               FL 33143‐5163
ST COME, JEAN ERNEST           LIPMAN DAVID M                  5901 SW 74TH ST STE 304                                                     MIAMI               FL 33143‐5163
ST COME, JEAN ERNEST           C/O THE LIPMAN LAW FIRM         5915 PONCE DE LEON BLVD         SUITE 44                                    CORAL GABLES        FL 33146
ST CROIX COUNTY TREASURER      1101 CARMICHAEL RD                                                                                          HUDSON              WI 54016‐7708
ST CROIX ORTHO                 1991 NORTHWESTERN AVE S                                                                                     STILLWATER          MN 55082‐7536
ST CROIX, CLEMENTINE           25695 BARBARA ST                                                                                            ROSEVILLE           MI 48066‐3836
ST CROIX, KIRSTEN M            APT 1204                        801 WEST 5TH STREET                                                         AUSTIN              TX 78703‐5458
ST CYCLEWEAR / GALLOP LLC
ST CYR DARREN                  ST CYR, DANIEL                  COATES LAW FIRM                 505 S FLAGLER DR STE 300                    WEST PALM BEACH     FL   33401‐5942
ST CYR DARREN                  ST CYR, DARREN                  12012 SOUTHSHORE BLVD STE 107                                               WELLINGTON          FL   33414‐6205

ST CYR, DANIEL                 COATES LAW FIRM                 505 S FLAGLER DR STE 300                                                    WEST PALM BCH      FL    33401‐5942
ST CYR, DARREN                 COATES LAW FIRM                 505 S FLAGLER DR STE 300                                                    WEST PALM BCH      FL    33401‐5942
ST CYR, DONALD R               11804 COPPER TRAILS LN                                                                                      OKLAHOMA CITY      OK    73170‐4463
ST CYR, FLORENCE D             154 PROSPECT ST.                                                                                            LOCKPORT           NY    14094‐2747
ST CYR, HAROLD E               W1396 EAGLE RD                                                                                              NESHKORO           WI    54960‐8511
ST CYR, MICHAEL R              4117 RUGER AVE                                                                                              JANESVILLE         WI    53546
ST DANIEL'S CHURCH             ATTN: EUGENE M YENNOCK          3004 COURT ST                                                               SYRACUSE           NY    13208‐3296
ST DENIS FRANK (661543)        BRAYTON PURCELL                 PO BOX 6169                                                                 NOVATO             CA    94948‐6169
ST DENIS, FRANK                BRAYTON PURCELL                 PO BOX 6169                                                                 NOVATO             CA    94948‐6169
ST DENIS, STEPHEN J            6904 VIOLET DR                                                                                              FREDERICKSBRG      VA    22407‐6292
ST DENNIS, DAVID A             1107 BOSTON AVE                                                                                             WATERFORD          MI    48328‐3711
ST DENNIS, MARGARET            1107 BOSTON                                                                                                 WATERFORD          MI    48328‐3711
ST E'S URGENT CARE             1 ELIZABETH PL                                                                                              DAYTON             OH    45408‐1445
ST EDWARDS UNIVERSITY          STUDENT FINANCIAL SERVICES      3001 S CONGRESS AVE                                                         AUSTIN             TX    78704‐6425
ST ELIZABETH HEALTH            PO BOX 73236                                                                                                CLEVELAND          OH    44193‐0002
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Name                                  Address1                           Address2                      Address3          Address4              City                  State Zip
ST ELIZABETH HEALTH CENTER            1044 BELMONT AVE                                                                                         YOUNGSTOWN             OH 44504‐1006
ST ELIZABETH MEDICAL                  PO BOX 50664                                                                                             WOBURN                 MA 01815‐0664
ST ELMO E WHITLOCK                    NIX PATTERSON & ROACH LLP          GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                         DAINGERFIELD           TX 75638
ST FRANCIS GERIATRIC                  34 BENFIELD AVENUE                                                                                       BUFFALO                NY 14214
ST FRANCIS HOSPITAL CENTER            1600 ALBANY ST                                                                                           BEECH GROVE            IN 46107‐1541
EDUCTIONAL SERVICES
ST FRANCIS HOUSE                      132 EAGLE ST                                                                                             BROOKLYN              NY 11222‐1015
ST FRANCIS UNIVERSITY                 BUSINESS OFFICE                    PO BOX 600                                                            LORETTO               PA 15940‐0600
ST GALLER KANTONALBANK                ST LEONHARDSTRASSE 25              POSTFACH                                        CH‐9001 ST GALLEN
                                                                                                                         SWITZERLAND
ST GERMAIN, CRAIG
ST GERMAIN, GERALD J                 4283 BROCKWAY RD                                                                                          SAGINAW               MI   48638‐4778
ST GERMAIN, JOHN J                   12980 E MELODY RD                                                                                         GRAND LEDGE           MI   48837‐8905
ST GERMAINE, JOURDAN                 3923 N LINDSTROM PL                                                                                       TUCSON                AZ   85750‐2089
ST GREGORYS COLLEGE                  ATTN BUSINESS OFFICE                1900 W MACARTHUR ST                                                   SHAWNEE               OK   74804‐2403
ST HEDWIG FLOWER & GIFT SHOP         ATTN: CONSTANTINE TURZA             3301 JUNCTION ST                                                      DETROIT               MI   48210‐3205
ST HEDWIG'S CHURCH                   ATTN: ROB WOJCIECHOWSKI             3245 JUNCTION ST                                                      DETROIT               MI   48210‐3290
ST HILAIRE AMY                       ST. HILAIRE, AMY                    P.O. BOX 8017                                                         BALLSTON SPA          NY   12020
ST HILAIRE, GARY L                   55 GLEASON ST                                                                                             FRAMINGHAM            MA   01701‐3504
ST HILAIRE, RENE                     1171 HAWTHORNE RD                                                                                         GROSSE POINTE WOODS   MI   48236‐1470
ST HUBERT, MARIE                     WOODARD & NORTH LAW OFFICES OF      9350 S DIXIE HWY STE 1540                                             MIAMI                 FL   33156‐2944
ST JACQUES, PAUL J                   PO BOX 351954                                                                                             PALM COAST            FL   32135‐1954
ST JAMES HOSPITAL AND HEALTH CENTERS 1423 CHICAGO RD                     EMS DEPT                                                              CHICAGO HEIGHTS       IL   60411‐3400

ST JAMES TRANSPORTATION INC         PO BOX 1412                                                                                                TAYLOR                MI 48180‐5812
ST JAMES' PLACE CORPORATE BOND FUND FAO TOM DRIFE, INVESCO PERPETUAL     30 FINSBURY SQUARE                              LONDON EC2A 1AG
                                                                                                                         ENGLAND
ST JAMES, CHARLOTTE T                 1072 WEST CASS AVE                                                                                       FLINT                 MI   48505
ST JAMES, DANIEL M                    2370 MALLISON AVE                                                                                        FLINT                 MI   48532‐4155
ST JAMES, DENNIS P                    3116 E STANLEY RD                                                                                        MOUNT MORRIS          MI   48458‐8731
ST JAMES, GERALD V                    2465 M33                                                                                                 COMINS                MI   48619
ST JAMES, GLADYS M                    2465 M‐33                                                                                                COMINS                MI   48619
ST JAMES, GLADYS M                    2465 M 33                                                                                                COMINS                MI   48619‐9620
ST JAMES, TINA                        800 WEST ST UNIT 2104                                                                                    BRAINTREE             MA   02184‐3864
ST JAMES, ZELMA R                     1422 DEWBERRY PL NE APT 12                                                                               GRAND RAPIDS          MI   49505‐5867
ST JEAN INDUSTRIES INC                424 INDUSTRIAL PARK RD                                                                                   HEBER SPRINGS         AR   72543‐8520
ST JOHN & WAYNE LLC                   70 E 55TH ST                                                                                             NEW YORK              NY   10022
ST JOHN FISHER COLLEGE                ATTN BURSARS OFFICE                3690 EAST AVE                                                         ROCHESTER             NY   14618‐3537
ST JOHN HAROLD R (657163)             SZAFERMAN LAKIND BLUMSTEIN WATER   101 GROVERS MILL RD STE 104                                           LAWRENCEVILLE         NJ   08648‐4706
                                      BLADER LEHMANN & GOLDSHORE

ST JOHN HOSPITAL                      ACCT OF EDWIN WINSININSKI          4185 HIGHLAND RD                                                      WATERFORD             MI   48328‐2136
ST JOHN II, JOSEPH H                  3305 GRANGE HALL                                                                                         HOLLY                 MI   48442
ST JOHN JAMES (629112)                BRAYTON PURCELL                    PO BOX 6169                                                           NOVATO                CA   94948‐6169
ST JOHN OAKLAND OCC                   22255 GREENFIELD ROAD SUITE 42                                                                           SOUTHFIELD            MI   48075
ST JOHN SEAN                          ST JOHN, SEAN                      14934 EDGEMEER DR.                                                    SPRING HILLS          FL   34609
ST JOHN WALLACE BRENNAN & FOLAN LLP   21515 HAWTHORNE BLVD STE 1120                                                                            TORRANCE              CA   90503‐6504

ST JOHN WESTSHORE HO                  PO BOX 951073                                                                                            CLEVELAND             OH   44193‐0005
ST JOHN, BETTY J                      212 WINCHESTER DR                                                                                        ROSCOMMON             MI   48653‐8773
ST JOHN, BILL J                       31427 INDIAN RIDGE CIR                                                                                   EXCELSIOR SPRINGS     MO   64024‐5219
ST JOHN, CALVIN G                     167 6TH ST                                                                                               WAYNESVILLE           OH   45068‐8406
                                    09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                               Address1                         Address2                        Address3   Address4         City            State Zip
ST JOHN, CLARE D                   736 ODA ST                                                                                   DAVISON          MI 48423‐1024
ST JOHN, CRAIG L                   1082 DEEP VALLEY CT                                                                          MILFORD          MI 48381‐2838
ST JOHN, DANNY L                   41355 S ANNAPOLIS CIR                                                                        CANTON           MI 48188‐2715
ST JOHN, DON K                     3002 FOXFIRE DR                                                                              MILFORD          MI 48380‐4477
ST JOHN, DON K                     33480 BOBRICH ST                                                                             LIVONIA          MI 48152‐3142
ST JOHN, DON T                     325 FRONT ST 173                                                                             EVANSTON         WY 82930
ST JOHN, DONNA                     245 ANN ARBOR                                                                                PONTIAC          MI 48340‐1805
ST JOHN, DONNA                     245 W ANN ARBOR AVE                                                                          PONTIAC          MI 48340‐1805
ST JOHN, EDITH K                   2500 ROCKPORT RD                                                                             JANESVILLE       WI 53548‐4448
ST JOHN, EDWARD L                  3370 N US HIGHWAY 27                                                                         SAINT JOHNS      MI 48879‐9402
ST JOHN, EILEEN R                  27323 JEAN RD                                                                                WARREN           MI 48093‐7506
ST JOHN, EVA J                     2401 WESTMOOR RD                                                                             FINDLAY          OH 45840‐2847
ST JOHN, GERARD J                  21 SCHOOL STREET                                                                             TERRYVILLE       CT 06786‐6614
ST JOHN, GLORIA E                  625 OAKDALE RD NE                                                                            ATLANTA          GA 30307‐1611
ST JOHN, JACK W                    PO BOX 37                        208 N DUANE ST                                              VERNON           MI 48476‐0037
ST JOHN, JAMES                     BRAYTON PURCELL                  PO BOX 6169                                                 NOVATO           CA 94948‐6169
ST JOHN, JAMES D                   13443 BLUE SHORE DR                                                                          TRAVERSE CITY    MI 49686‐8765
ST JOHN, JULIA M                   10257 WILLOWEMAC CT                                                                          ORLANDO          FL 32817‐4820
ST JOHN, KEITH                     4036 WOODCLIFFE                                                                              DAYTON           OH 45420‐5420
ST JOHN, KENNETH E                 3861 SANDSTONE CIR                                                                           POWELL           OH 43065‐8538
ST JOHN, LEONARD N                 4600 BRITTON RD LOT 283                                                                      PERRY            MI 48872‐9723
ST JOHN, LINDA L                   390 QUARRY LN NE UNIT E                                                                      WARREN           OH 44483‐4560
ST JOHN, MARY P                    9603 TODDS TAVERN DR                                                                         SPOTSYLVANIA     VA 22551‐3526
ST JOHN, MICHAEL L                 13575 S M52                                                                                  PERRY            MI 48872
ST JOHN, PATRICK E                 7599 E BUCHANAN RD                                                                           ASHLEY           MI 48806‐9345
ST JOHN, PAUL E                    3431 ALPINE AVE                                                                              FORT WAYNE       IN 46809‐1059
ST JOHN, RICHARD E                 3234 N M 52                                                                                  OWOSSO           MI 48867‐1042
ST JOHN, ROBERT H                  330 MAYFLOWER DR                                                                             SAGINAW          MI 48638‐5747
ST JOHN, ROBERT L                  840 N SLAWSON DR                                                                             NATIONAL CITY    MI 48748‐9592
ST JOHN, ROBERT W                  1773 HOPEFIELD ST                                                                            ORION            MI 48359‐2210
ST JOHN, RONALD N                  152 BARE HOLLOW RD                                                                           WATAUGA          TN 37694‐4108
ST JOHN, RONALD NEIL               461 SPRUCE ST                                                                                MOUNT MORRIS     MI 48458‐1938
ST JOHN, SARAH B                   PO BOX 81                        9223 W COLDWATER RD‐                                        FLUSHING         MI 48433‐0081
ST JOHN, SEAN                      14934 EDGEMERE DR                                                                            SPRING HILL      FL 34609‐0692
ST JOHN, SONJA E                   6925 N CASEVILLE ST APT 2A                                                                   CASEVILLE        MI 48725‐9301
ST JOHN, TIMOTHY C                 8610 S DURAND RD                                                                             DURAND           MI 48429‐9445
ST JOHN, TIMOTHY D                 22 W WOODWARD ST                                                                             ECORSE           MI 48229‐1539
ST JOHN, VAN K                     4923 DAVISON RD                                                                              LAPEER           MI 48446‐3507
ST JOHN, WILLIAM H                 212 WINCHESTER DR                                                                            ROSCOMMON        MI 48653‐8773
ST JOHNS COUNTY TAX COLLECTOR      PO BOX 9001                                                                                  ST AUGUSTINE     FL 32085‐9001
ST JOHNS FISHER COLLEGE            3690 EAST AVE                                                                                ROCHESTER        NY 14618‐3537
ST JOHNS MED CTR                   PO BOX 18057B                                                                                SAINT LOUIS      MO 63150‐57
ST JOHNS MERCY PHARM               PO BOX 504238                                                                                SAINT LOUIS      MO 63150‐38
ST JOHNS PROFESSIONA               901 S OAKLAND ST                                                                             SAINT JOHNS      MI 48879
ST JOHNS REGIONAL ME               55542 PHILO                                                                                  LOS ANGELES      CA 90074‐01
ST JOHNS RIVER COMMUNITY COLLEGE   5001 SAINT JOHNS AVE                                                                         PALATKA          FL 32177‐3807
ST JOHNS RIVER WATER MANAGEMENT                                     525 COMMUNITY COLLEGE PKWY SE                                                FL 32909
DISTRICT
ST JOHNS UNIVERSITY OFFICE OF      8000 UTOPIA PKWY                                                                             JAMAICA         NY 11439‐0001
FINANCIAL AID
ST JOHNSBURY AUTOMOBILE            220 MEMORIAL DR                                                                              ST JOHNSBURY    VT 05819
ST JOSEPH CHARTER TOWNSHIP         PO BOX 147                                                                                   SAINT JOSEPH    MI 49085‐0147
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Name                                  Address1                          Address2            Address3         Address4               City               State Zip
ST JOSEPH CHURCH                      420 N ST NW                                                                                   WARREN              OH 44483
ST JOSEPH CNTY FRIEND OF COURT        ACCT OF LOUIS CACHIA              PO BOX 249                                                  CENTREVILLE         MI 49032‐0249
ST JOSEPH COUNTY FOC                  PO BOX 249                                                                                    CENTREVILLE         MI 49032‐0249
ST JOSEPH COUNTY TREASURER            227 WEST JEFFERSON BLVD                                                                       SOUTH BEND          IN 46601
TREASURER'S OFFICE
ST JOSEPH COUNTY UNITED FUND          PO BOX 577                                                                                    CENTREVILLE        MI   49032‐0577
ST JOSEPH FRIEND OF COURT             ACCT OF JOSEPH GORDON             PO BOX 249                                                  CENTREVILLE        MI   49032‐0249
ST JOSEPH HC STC                      PO BOX 503508                                                                                 SAINT LOUIS        MO   63150‐0001
ST JOSEPH HEALTH CENTER               PO BOX 713288                                                                                 COLUMBUS           OH   43271‐0001
ST JOSEPH HEALTH SYS                  PO BOX 779                                                                                    TAWAS CITY         MI   48764‐0779
ST JOSEPH HOSPITAL                    PO BOX 9010                                                                                   KOKOMO             IN   46904‐9010
ST JOSEPH HOSPITAL                    PO BOX 11229                                                                                  FORT WAYNE         IN   46856‐1229
ST JOSEPH HOSPITAL                    2605 HARLEM RD                                                                                CHEEKTOWAGA        NY   14225‐4018
ST JOSEPH HOSPITAL O                  PO BOX 102046                                                                                 ATLANTA            GA   30368‐2046
ST JOSEPH MERCY HOSP                  PO BOX 223087                                                                                 PITTSBURGH         PA   15251‐2087
ST JOSEPH MERCY HOSPITAL              ACCT OF CLAUDIETTE BOYD           4185 HIGHLAND RD                                            WATERFORD          MI   48328‐2136
ST JOSEPH MERCY HOSPITAL              ACCT OF MELVIN BAZEMORE           4185 HIGHLAND RD                                            WATERFORD          MI   48328‐2136
ST JOSEPH MERCY HOSPITAL              ACCT OF FLONZIE BOND
ST JOSEPH MERCY HOSPITAL              ACCT OF DARREL D GITTENS          4185 HIGHLAND RD                                            WATERFORD          MI 48328‐2136
ST JOSEPH MERCY HOSPITAL              ACCT OF WILFRED CASWELL           4185 HIGHLAND RD                                            WATERFORD          MI 48328‐2136
ST JOSEPH MERCY HOSPITAL              ACCT OF RANDOLPH CARTER           4185 HIGHLAND RD                                            WATERFORD          MI 48328‐2136
ST JOSEPH MERCY HOSPITAL              ACCT OF BILLIE KEELS
ST JOSEPH MERCY HOSPITAL ET AL        ACCT OF SAMUEL FAIETA
ST JOSEPH MERCY OAKL                  DEPT CH # 10479                                                                               PALATINE           IL   60055‐0001
ST JOSEPH MERCY OAKLAND               44405 WOODWARD AVE                                                                            PONTIAC            MI   48341‐5023
ST JOSEPH WEST PHY B                  PO BOX 503859                                                                                 SAINT LOUIS        MO   63150‐0001
ST JOSEPH'S CHURCH                    ATTN: GAIL ADDIS                  1005 3RD ST                                                 BAY CITY           MI   48708‐6006
ST JOSEPH'S CHURCH                    1111 N SHERMAN ST                                                                             BAY CITY           MI   48708‐6083
ST JOSEPH'S CHURCH                    1338 N JOHNSON ST                                                                             BAY CITY           MI   48708‐6258
ST JOSEPH'S HOSPITAL HLTH CTR         ATTN: PATRICIA BOEHLERT           2700 COURT ST # 7                                           SYRACUSE           NY   13208‐3294
ST JOSEPH'S MERC/CLI                  15855 19 MILE RD                                                                              CLINTON TOWNSHIP   MI   48038‐3504
ST JOSEPHS                            STUDENT SERVICE CENTER            5600 CITY AVE                                               PHILADELPHIA       PA   19131‐1308
ST JUDE CHILDRENS RESEARCH HOSPITAL   501 SAINT JUDE PL                                                                             MEMPHIS            TN   38105‐1905

ST JUDE EMERGENCY ME                  4401 W MEMORIAL RD STE 121                                                                    OKLAHOMA CITY      OK 73134‐1722
ST JULIANA, STEVEN JAMES              627 FREEDOM TRL                                                                               ORTONVILLE         MI 48462‐9481
ST JULIEN, CORRINE M                  3623 FOREST CT                                                                                OLYMPIA FIELDS     IL 60461‐1071
ST KITTS TRANSPORTATION SERVICES      16 MITCHELL ST S                  PO BOX 3005                          ST CATHARINES CANADA
                                                                                                             ON L2R3W4 CANADA
ST LANDRY PARISH TAX COLL             PO BOX 390                                                                                    OPELOUSAS          LA   70571
ST LANDRY PARISH TAX COLLECTOR        P O BOX 390                                                                                   OPELOUSAS          LA   70571
ST LAURENT JR, ARTHUR                 170 MENDON ST                                                                                 BLACKSTONE         MA   01504‐1207
ST LAURENT, BELLA                     170 MENDON ST                                                                                 BLACKSTONE         MA   01504‐1207
ST LAURENT, HENRY                     3200 COUNTY STREET                BOWERS APT 223                                              SOMERSET           MA   02726
ST LAURENT, PHILIP                    PO BOX 357                                                                                    ISABELLA           MO   65676‐0357
ST LAURENT, RONALD                    4168 MARINER LN                                                                               OKEMOS             MI   48864‐3492
ST LAURENT, SONDRA R                  26538 N 115TH ST                                                                              SCOTTSDALE         AZ   85255‐5738
ST LAURENT, WILLIAM J                 9040 PINE ISLAND DR NE                                                                        COMSTOCK PARK      MI   49321‐9530
ST LAWRENCE AQUARIUM &                ECOLOGICAL CENTER                                                                             MASSENA            NY   13662
ST LAWRENCE CENTRAL SCHOOL            1039 STATE HIGHWAY 11C                                                                        BRASHER FALLS      NY   13613‐4104
ST LAWRENCE COUNTY BPW GOLF           PO BOX 751                                                                                    MASSENA            NY   13662‐0751
COORDINATOR
                                       09-50026-mg            Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
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Name                                  Address1                              Address2                  Address3           Address4             City               State Zip
ST LAWRENCE COUNTY CHAMBER OF         101 MAIN STREET                                                                                         CANTON              NY 13617
COMMERCE
ST LAWRENCE COUNTY CLERK              48 COURT ST                                                                                             CANTON             NY   13617‐1161
ST LAWRENCE COUNTY FIRE               TRAINING FACILITY                      PO BOX 391               C/O DAN BASFORD                         HEUVELTON          NY   13654‐0391
ST LAWRENCE COUNTY NEWSPAPER          PO BOX 409                                                                                              OGDENSBURG         NY   13669‐0409
ST LAWRENCE CTY SHERIFFS CIVIL DEPT   48 COURT ST CTY CTHS BLD 2                                                                              CANTON             NY   13617
ST LAWRENCE GAS                       PO BOX 270                             22 STEARNS STREET                                                MASSENA            NY   13662‐0270
ST LAWRENCE GAS CO                    33 STEARNS ST.                                                                                          MASSENA            NY   13662
ST LAWRENCE GAS CO NY                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 270                                                       MASSENA            NY   13662‐0270

ST LAWRENCE GAS COMPANY INC           PO BOX 270                                                                                              MASSENA            NY 13662
ST LAWRENCE HOSPITAL                  ACCT OF MAURINE MUHAMMAD
ST LAWRENCE HOSPITAL                  ACCT OF JAMES D WOOD                  418 COLLEGE AVE NE                                                GRAND RAPIDS       MI   49503‐1706
ST LAWRENCE LEWIS BOCES               PO BOX 231                            OUTER STATE STREET                                                CANTON             NY   13617‐0231
ST LAWRENCE RADIOLOG                  PO BOX 6120                           PPM ‐                                                             WATERTOWN          NY   13601‐6120
ST LAWRENCE RADIOLOGY ASSOCIATES PC   PO BOX 6120                                                                                             WATERTOWN          NY   13601‐6120

ST LAWRENCE SEAWAY MGT CO IN TRUST    202 PITT STREET                                                                    CORNWALL CANADA ON
                                                                                                                         K6J 3P7 CANADA
ST LAWRENCE UNIVERSITY                BUSINESS OFFICE                                                                                         CANTON             NY   13617
ST LAWRENCE, ELMER E                  PO BOX 475                                                                                              THREE LAKES        WI   54562‐0475
ST LAWRENCE, JEAN E                   PO BOX 475                                                                                              THREE LAKES        WI   54562‐0475
ST LEGER, CARLA                       120 ALBURY WAY                                                                                          NORTH BRUNSWICK    NJ   08902
ST LEGER, JAMES D                     4221 E RAY RD                                                                                           PHOENIX            AZ   85044‐0617
ST LOUIS ARTS MUSEUM                  1 FINE ARTS DR FOREST PARK                                                                              SAINT LOUIS        MO   63110
ST LOUIS AUTO AUCTION                 13813 SAINT CHARLES ROCK RD                                                                             BRIDGETON          MO   63044‐3824
ST LOUIS AUTO SHOW                    C/O J D EVENTS                        5520 PARK AVE STE 305                                             TRUMBULL           CT   06611‐3465
ST LOUIS BLUES HOCKEY CLUB LP         1401 CLARK AVE                                                                                          SAINT LOUIS        MO   63103‐2700
ST LOUIS BOILER SUPPLY CO             617 HANLEY INDUSTRIAL CT                                                                                SAINT LOUIS        MO   63144‐1919
ST LOUIS BUSINESS JOURNAL             PO BOX 36188                                                                                            CHARLOTTE          NC   28236‐6188
ST LOUIS CITY CIRCUIT COURT           FOR ACCT OF LEONARD KENT              CS#                       10 N TUCKER                             SAINT LOUIS        MO   63101
ST LOUIS CITY CIRCUIT COURT           FOR ACCT OF LEONARD KENT CASE         #                         10 N TUCKER BLVD                        SAINT LOUIS        MO   63101
ST LOUIS COMMUNITY COLLEGE            FINANCE DEPT ACCTS RECEIVABLE         300 S BROADWAY                                                    SAINT LOUIS        MO   63102‐2800
ST LOUIS COMMUNITY COLLEGE            PO BOX 78025                                                                                            SAINT LOUIS        MO   63178‐8025
ST LOUIS COUNTY CIRCUIT COURT         ACCT OF MONYKA JONES                  7900 CARONDELET AVE                                               CLAYTON            MO   63105
ST LOUIS COUNTY FAIR & AIR SHOW       PO BOX 4414                                                                                             CHESTERFIELD       MO   63005‐4414
ST LOUIS COUNTY HIGHWAYS & TRAFFIC    2500 DRILLING SERVICE DR                                                                                MARYLAND HTS       MO   63043‐3512

ST LOUIS COUNTY NAACP                 PO BOX 20392                                                                                            SAINT LOUIS        MO 63112‐0392
ST LOUIS COUNTY, MISSOURI             DEPT OF REVENUE‐DIVISION OF           41 SOUTH CENTRAL AVENUE                                           CLAYTON            MO 63105
                                      ASSESSMENTS
ST LOUIS CTY CIRCUIT CLERK            ACT OF C RICHTER                      PO BOX 16994                                                      CLAYTON            MO   63105‐1394
ST LOUIS ELECTRONICS INC              148 WELDON PKWY                                                                                         MARYLAND HEIGHTS   MO   63043‐3102
ST LOUIS EYE CLINIC,                  PO BOX 840171                                                                                           KANSAS CITY        MO   64184‐0171
ST LOUIS FST                          10944 GRAVOIS INDUSTRIAL CT                                                                             SAINT LOUIS        MO   63128
ST LOUIS HELICOPTER AIRWAYS IN        7000 AIRPORT DR 204                                                                                     SELLERSBURG        IN   47172‐1957
ST LOUIS JR, FRANCIS W                30 THAMES CT                                                                                            CROSSVILLE         TN   38558‐6879
ST LOUIS MINORITY BUSINESS COUNCIL    308 NORTH 21ST STREET 7TH FL                                                                            SAINT LOUIS        MO   63103

ST LOUIS ORTHOPEDIC                   PO BOX 798275                                                                                           SAINT LOUIS        MO 63179‐8000
ST LOUIS ORTHOPEDIC INSTITUTE INC     12813 FLUSHING MEADOWS DR             STE 210                                                           SAINT LOUIS        MO 63131‐1835
ST LOUIS PAIN MANAGE                  PO BOX 1209                                                                                             MARYLAND HTS       MO 63043‐0209
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Name                                 Address1                          Address2                      Address3   Address4         City                State Zip
ST LOUIS PAPER & BOX                 3843 GARFIELD AVE                                                                           SAINT LOUIS          MO 63113‐3603
ST LOUIS REGIONAL CHAMBER & GROWTH   1 METROPOLITAN SQ STE 1300        ATTN DENISE HASTY                                         SAINT LOUIS          MO 63102‐2797
ASSOCIATION
ST LOUIS SCIENCE CENTER FOUNDATION   5050 OAKLAND AVE                                                                            SAINT LOUIS         MO 63110‐1404

ST LOUIS SOUTHWESTERN RAILWAY        PO BOX 60000                      FILE 21824                                                SAN FRANCISCO       CA   94160‐0001
ST LOUIS SPINE CAREA                 PO BOX 790129                                                                               SAINT LOUIS         MO   63179‐0129
ST LOUIS, BETTY                      124 PINEBLOOM DR                                                                            JESUP               GA   31545
ST LOUIS, DAVIDSON                   3548 SW 2ND ST                                                                              FORT LAUDERDALE     FL   33312‐1851
ST LOUIS, GERALD S                   3556 ZIMMER RD                                                                              WILLIAMSTON         MI   48895‐9703
ST LOUIS, SANDRA A                   30 THAMES CT                                                                                CROSSVILLE          TN   38558‐6879
ST LOUIS, VIOLA                      6140 RAYTOWN RD APT 105                                                                     RAYTOWN             MO   64133‐4016
ST LOUIS, VIOLA                      6140 RAY TOWN RD                  #105                                                      RAY TOWN            MO   64133
ST LOUIS, WILLIAM J                  1126 E FAIRVIEW LN                                                                          ROCHESTER HILLS     MI   48306‐4124
ST LOUIS‐CLAYTON ORT                 1034 S BRENTWOOD BLVD STE 650                                                               SAINT LOUIS         MO   63117‐1267
ST LOUIS‐CLAYTON ORTHOPEDIC GROUP,   1034 S BRENTWOOD BLVD STE 650                                                               SAINT LOUIS         MO   63117‐1267
INC.
ST LUCIE TAX COLLECTOR               PO BOX 308                                                                                  FORT PIERCE         FL 34954‐0308
ST LUKE PHARMACY                     224 S WOODS MILL RD STE 350S                                                                CHESTERFIELD        MO 63017‐3601
ST MARIE KENNETH G (407562)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                       STREET, SUITE 600
ST MARIE, JOAN                       205 CUTOFF RD                                                                               FRUITLAND PARK      FL   34731‐3003
ST MARK UNITED METHODIST CHURCH      3942 LA COCHINA ROAD                                                                        SANTA BARBARA       CA   93110
ST MARTIN PARISH TAX COLLECTOR       PO BOX 247                                                                                  SAINT MARTINVILLE   LA   70582‐0247
ST MARTIN, JOSEPH R                  45 SAINT NICHOLAS AVE                                                                       WORCESTER           MA   01606‐1623
ST MARTIN, RICHARD L                 1601 NW CATAWBA RD                                                                          PORT CLINTON        OH   43452‐2916
ST MARTIN, THOMAS G                  2398 FAIR LN                                                                                BURTON              MI   48509‐1333
ST MARY HOSPITAL                     ACCT OF RAY MACKEY
ST MARY MERCY HOSPIT                 PO BOX 223251                                                                               PITTSBURGH          PA   15251‐2251
ST MARY PARISH ACQUISITIONS, LLC     DON HARGRODER                     2017 MAIN ST                                              FRANKLIN            LA   70538‐3119
ST MARY PARISH TAX COLLECTOR         PO BOX 571                                                                                  FRANKLIN            LA   70538‐0571
ST MARY S COLLEGE OF AVE MARIA       3535 INDIAN TRL                                                                             ORCHARD LAKE        MI   48324‐1623
UNIVERSITY
ST MARY'S CHURCH                     ATTN: THOMAS NENNEAU              11110 N SAGINAW ST                                        MT MORRIS           MI   48458‐2098
ST MARY'S COUNTY TREASURER           PO BOX 642                                                                                  LEONARDTOWN         MD   20650‐0642
ST MARY'S ELEMENTARY SCHOOL          ATTN: D WINCHESTER                11208 N SAGINAW ST                                        MT MORRIS           MI   48458‐2097
ST MARY, BETTY L                     548 PIONEER TRAIL                                                                           SAGINAW             MI   48604‐2219
ST MARY, GEORGE E                    8675 REITZ RD                                                                               PERRYSBURG          OH   43551‐9209
ST MARY, GREGORY G                   10313 ROACHTON RD                                                                           PERRYSBURG          OH   43551‐9656
ST MARY, RICHARD E                   10913 W COPELAND AVE                                                                        HALES CORNERS       WI   53130‐1356
ST MARYS CHURCH                      700 E COLUMBIA DR                                                                           DURAND              MI   48429‐1308
ST MARYS COLLEGE OF CALIFORNIA       BUSINESS OFFICE                   PO BOX 4600                                               MORAGA              CA   94575‐4600
ST MARYS COLLEGE OF MARYLAND         CASHIERS OFFICE                   18952 E FISHER RD                                         ST MARYS CITY       MD   20686‐3001
ST MARYS DEAN VENTUR                 PO BOX 259598                                                                               MADISON             WI   53725‐9598
ST MARYS HOME INFUSI                 360 DIVISION AVE S                STE 1D                                                    GRAND RAPIDS        MI   49503‐4501
ST MARYS HOSP MADISO                 PO BOX 681090                                                                               MILWAUKEE           WI   53268‐0001
ST MARYS TRUCKING CO INC             PO BOX 206                                                                                  SAINT MARYS         OH   45885‐0206
ST MARYS UNIVERSITY                  1 CAMINO SANTA MARIA ST                                                                     SAN ANTONIO         TX   78228‐5433
ST MATLOCK                           11906 E 59TH TER                                                                            KANSAS CITY         MO   64133‐4305
ST MICHAEL, BONITA L                 8032 N SERNS RD                                                                             MILTON              WI   53563‐8724
ST MICHAEL, CLARENCE W               1613 LIBERTY LN                                                                             JANESVILLE          WI   53545‐1287
ST MICHAEL, LEONARD J                3835 AYRSHIRE DR                                                                            YOUNGSTOWN          OH   44511‐1121
                                      09-50026-mg            Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
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Name                                 Address1                        Address2                         Address3                     Address4               City              State Zip
ST MICHAEL, LEONARD J                4292 PEMBROOK RD                                                                                                     YOUNGSTOWN         OH 44515‐4517
ST MICHEL, SHIRLEY A                 PO BOX 120                                                                                                           GALVESTON          IN 46932‐0120
ST MICHEL, VIRGINIA P                74 ORCHARD ST                                                                                                        SOUTH GRAFTON      MA 01560‐1349
ST NORBERT COLLEGE                   BUSINESS OFFICE                 100 GRANT ST                                                                         DE PERE            WI 54115‐2002
ST OEGGER, DWIGHT D                  1040 MONTE DR                                                                                                        SANTA BARBARA      CA 93110‐2145
ST OF ILL‐CNTR MGMT SVCS             200 E ASH ST                                                                                                         SPRINGFIELD         IL 62704‐4769
ST OF KANSAS CENTRAL MOTOR POOL      400 SW VAN BUREN ST                                                                                                  TOPEKA             KS 66603‐3332
ST ONGE JR, WILLIAM E                PO BOX 566                                                                                                           LAKE CITY          MI 49651‐0566
ST ONGE REBA                         15 GOSHEN RD                                                                                                         WATERFORD          CT 06385‐3704
ST ONGE, ANDY                        13686 LAKEFIELD RD                                                                                                   HEMLOCK            MI 48626‐9729
ST ONGE, CHERYL L                    5900 BEATTIE AVE                                                                                                     LOCKPORT           NY 14094
ST ONGE, DANIELLE M                  6699 OLD BEATTIE RD                                                                                                  LOCKPORT           NY 14094‐9506
ST ONGE, FRANCIS L                   2326 PARKWOOD AVE                                                                                                    SAGINAW            MI 48601‐3511
ST ONGE, FRANCIS L                   PO BOX 1671                                                                                                          SAGINAW            MI 48605
ST ONGE, GARY J                      153 LAKE AVENUE                                                                                                      LOCKPORT           NY 14094‐1507
ST ONGE, GARY L                      84 MUSTERFIELD CT                                                                                                    HEDGESVILLE        WV 25427
ST ONGE, JAMES G                     PO BOX 412                                                                                                           ALANSON            MI 49706‐0412
ST ONGE, KELLY L                     5770 STONE RD                                                                                                        LOCKPORT           NY 14094‐1214
ST ONGE, KRISTINE K                  PO BOX 566                                                                                                           LAKE CITY          MI 49651‐0566
ST ONGE, LINDA M                     8000 GROVE DR                                                                                                        JENISON            MI 49428‐8317
ST ONGE, MARJORIE M                  1105 EAGLE NEST DR                                                                                                   MILFORD            MI 48381‐2821
ST ONGE, PAMELA J                    2515 TOBY RD                                                                                                         ORION              MI 48359‐1574
ST ONGE, PAMELA J                    2515 TOBY                                                                                                            ORION              MI 48359‐1574
ST ONGE, PAUL                        53 TAFT AVE                                                                                                          MENDON             MA 01756‐1206
ST ONGE, ROGER P                     3876 LAKELAND DR                                                                                                     CHEBOYGAN          MI 49721‐9469
ST ONGE, TERRI L                     4642 HOLLAND ST                                                                                                      WHEAT RIDGE        CO 80033‐3037
ST ONGE, TODD R                      6699 OLD BEATTIE RD                                                                                                  LOCKPORT           NY 14094‐9506
ST ORES, SHERYL A                    8901 N PARK PLAZA                                                                                                    BROWN DEER         WI 53223
ST PARTNER CORPORATION               ATTN JAY M SCHWAMM              1775 BROADWAY ‐ SUITE 617        (3 COLUMBUS CIRCLE ‐ SUITE                          NEW YORK           NY 10019
                                                                                                      617)
ST PATRICK CATHOLIC CHURCH             ATTN: TED DUDZINSKI           320 W BROADWAY ST                                                                    KOKOMO            IN 46901‐2898
ST PATRICK CATHOLIC SCHOOL             ATTN: ANNE WILES              1230 N ARMSTRONG ST                                                                  KOKOMO            IN 46901‐2800
ST PAUL FIRE & CASUALTY INS CO FZU9855 TRAVELERS INSURANCE           ATTN DENISE M JENKS              100 BAYLIS RD                                       MELVILLE          NY 11747

ST PAUL FIRE AND MARINE INSURANCE
COMPANY
ST PAUL PLACE SPEC GEN                PO BOX 64075                                                                                                        BALTIMORE         MD 21264‐4075
ST PAUL TRAVELERS                     C/O BANK OF AMERICA            91287 COLLECTION CENTER DR                                                           CHICAGO           IL 60693‐1287
ST PAUL TRAVELERS                     1 TOWER SQ                                                                                                          HARTFORD          CT 06183‐0001
ST PB STATE POLYTECHNICAL             UNIVERSITY SPBSPU              29 POLYTECHNICHESKAYA STR        ST PETERSBURG 195251         RUSSIA
ST PB STATE UNIVERSITY OF INFORMATION MECHANICS OPTICS               49 KRONVERKSKIY PR ST PETERSBU                                197101 RUSSIA RUSSIA
TECHNOLOGIES &
ST PE', JUDY A                        1701 SNOW OWL CT                                                                                                    CARROLLTON        TX   75010‐4685
ST PETER MARBLE AND GRANITE           NEUENS & ASSOCIATES            PO BOX 17409                                                                         DENVER            CO
ST PETER S COLLEGE                    2641 JOHN F KENNEDY BLVD                                                                                            JERSEY CITY       NJ   07306‐5943
ST PETER SR, RONALD F                 268 WOODSIDE LAKE DR                                                                                                ORMOND BEACH      FL   32174‐8150
ST PETER THOMAS G                     1078 CLOPTON BRIDGE DR                                                                                              ROCHESTER HILLS   MI   48306‐3913
ST PETER, AGNES R                     1078 CLOPTON BRIDGE DR                                                                                              ROCHESTER HILLS   MI   48306‐3913
ST PETER, HAROLD J                    12275 INDEPENDENCE AVE                                                                                              SHELBY TOWNSHIP   MI   48315‐4524
ST PETER, JAMES J                     3515 E ANTELOPE ST                                                                                                  SILVER SPRINGS    NV   89429‐7650
ST PETER, NORMAN A                    11 MARTIN RD                                                                                                        SPENCER           MA   01562‐2627
ST PETER, PAUL F                      52155 WOLCOT CT                                                                                                     MACOMB            MI   48042‐5695
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Name                                  Address1                        Address2                       Address3                  Address4                City              State Zip
ST PETER, THOMAS G                    1078 CLOPTON BRIDGE DR                                                                                           ROCHESTER HILLS    MI 48306‐3913
ST PETER, WILLIAM G                   133 W ANDERSON RD                                                                                                LINWOOD            MI 48634‐9771
ST PETERS BONE & JOI                  PO BOX 430                                                                                                       SAINT PETERS       MO 63376‐0008
ST PETERS RECPLEX CITY OF ST PETERS   PO BOX 9                                                                                                         SAINT PETERS       MO 63376‐0090
ST PETERSBURG JUNIOR COLLEGE          BUSINESS SERVICES CASHIER       PO BOX 13489                   DISTRICT OFFICE                                   ST PETERSBURG      FL 33733‐3489
ST PETERSBURG STATE                   POLYTECHNICAL UNIVERSITY        ST‐PETERSBURG RUSSIA 195251    POLYTECHNICHESKAYA STR 29 RUSSIA

ST PETERSBURG STATE UNIVERISTYOF      MECHANICS & OPTICS 49           KRONVERSKIY PR ST PETERSBURG                             RUSSIA
INFORMATION TECHNOLOGIES
ST PHILIPS COLLEGE                    ATTN AUTOMOTIVE TECHNOLOGY      1801 MARTIN LUTHER KING DR     DEPARTMENT                                        SAN ANTONIO       TX 78203‐2027
ST PHILLIP, AUGUSTINE                 129 LOCKWOOD AVE                APT #8 F                                                                         NEW ROCHELLE      NY 10801
ST PIERRE AUTOMOBILE AUCTION LTD      1600 NORMAN STE 240                                                                      LACHINE CANADA PQ H8S
                                                                                                                               1A9 CANADA
ST PIERRE RICHARD                     4365 CENTRAL BLVD                                                                                                ANN ARBOR         MI   48108‐1217
ST PIERRE, DAVID L                    1011 KILLDEER DR                                                                                                 MASON             MI   48854‐9652
ST PIERRE, DORIS A                    1935 HARPER RD LOT 10                                                                                            NORTHPORT         AL   35476‐2358
ST PIERRE, EDWIN                      11980 WASHBURN RD                                                                                                COLUMBIAVILLE     MI   48421‐9324
ST PIERRE, EILEEN M                   156R NORTH ST                                                                                                    MEDFIELD          MA   02052
ST PIERRE, HUGUETTE L                 23 CHIMNEY CREST LN                                                                                              BRISTOL           CT   06010‐7971
ST PIERRE, JOHN L                     669 HIGH STREET                                                                                                  WAYNESVILLE       OH   45068‐9792
ST PIERRE, JOSEPH C                   15 N BASSETT RD                                                                                                  LAPEER            MI   48446‐2862
ST PIERRE, JOSEPH E                   512 PENINSULA DR                                                                                                 COLUMBIAVILLE     MI   48421‐9775
ST PIERRE, KAREN T                    129 CHURCH ST                                                                                                    ROMEO             MI   48065‐4606
ST PIERRE, LARRY T                    24189 NW MEACHAM RD                                                                                              NORTH PLAINS      OR   97133‐6136
ST PIERRE, MARC D                     3854 KOCHVILLE RD                                                                                                SAGINAW           MI   48604‐9226
ST PIERRE, MARGUERITE                 14323 STOFER CT                                                                                                  CHELSEA           MI   48118‐9522
ST PIERRE, MARIE                      8627 E DULCIANA AVE                                                                                              MESA              AZ   85208‐2248
ST PIERRE, PAUL E                     37353 STONEGATE CIR                                                                                              CLINTON TWP       MI   48036‐2963
ST PIERRE, PERRY P                    1021 COLUMBIA HWY                                                                                                HOHENWALD         TN   38462‐2410
ST PIERRE, RICHARD A                  33553 BEECHWOOD ST                                                                                               WESTLAND          MI   48185‐3014
ST PIERRE, ROGER J                    253 RAINBOW DR PMB 15360                                                                                         LIVINGSTON        TX   77399‐2053
ST PIERRE, ROLAND T                   2795 PALO VERDE DR                                                                                               AVON PARK         FL   33825‐7703
ST PIERRE, RUTH A                     11980 WASHBURN RD                                                                                                COLUMBIAVILLE     MI   48421‐9324
ST PIERRE, SUSAN M                    2900 DINA DR                                                                                                     TROY              MI   48085‐1132
ST PIERRE, SUSAN MARIE                2900 DINA DR                                                                                                     TROY              MI   48085‐1132
ST PIERRE, THERESA A                  284 N MAIN ST                   APT #202                                                                         BRISTOL           CT   06010‐4982
ST PIERRE, THERESA A                  284 N MAIN ST APT 202                                                                                            BRISTOL           CT   06010‐4982
ST PIERRE,JOHN L                      669 HIGH ST                                                                                                      WAYNESVILLE       OH   45068‐9792
ST REGIS                              ATTN: SHIRLEY JOHNSON           3071 W GRAND BLVD                                                                DETROIT           MI   48202‐3092
ST REGIS MOHAWK TRIBE                 JOHN J PRIVITERA ESQ            MCNAMEE LOCHNER TITUS &        677 BROADWAY                                      ALBANY            NY   12207
                                                                      WILLIAMS P C
ST REGIS NEW YORK                     2 E 55TH ST                                                                                                      NEW YORK          NY   10022‐3103
ST RITAS MEDCL CTR P                  PO BOX 951999                                                                                                    CLEVELAND         OH   44193‐0021
ST RITAS MEDICAL CEN                  PO BOX 951999                                                                                                    CLEVELAND         OH   44193‐0021
ST ROCK, JOHN A                       2945 FOOTHILL RD                                                                                                 SANTA BARBARA     CA   93105‐2905
ST ROMAIN, FRANKIE L                  5716 BONNIE WAYNE                                                                                                FT WORTH          TX   76117‐2115
ST SAUVER, DONALD J                   848 KNOLLWOOD CIR                                                                                                SOUTH LYON        MI   48178‐2068
ST SAUVER, ROBERT L                   28303 GILBERT DR                                                                                                 WARREN            MI   48093‐2624
ST SAUVER, VERONICA C                 61961 YORKTOWN DR               UNIT 5                                                                           SOUTH LYON        MI   48178‐1716
ST SOUVER, MARY A                     402 W ROCKWELL ST                                                                                                FENTON            MI   48430‐2083
ST TAMMANY PARISH TAX COLLECTOR       PO BOX 60178                                                                                                     NEW ORLEANS       LA   70160‐0178
ST TAMMANY PARISH TAX COLLECTOR       PO BOX 608                                                                                                       COVINGTON         LA   70434‐0608
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Name                                   Address1                               Address2                     Address3   Address4               City             State Zip
ST TAMMANY PARISH TAX COLLECTOR        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 608                                                     COVINGTON         LA 70434‐0608

ST THOMAS KENNETH                      1333 NORTHEAST CHARLES COURT                                                                          FAIRVIEW         OR    97024‐2654
ST THOMAS UNIVERSITY                   16400 NW 32ND AVE                                                                                     OPA LOCKA        FL    33054‐6459
ST THOMAS, EDWARD A                    624 COUNTY RD #55                                                                                     NORTH LAWRENCE   NY    12967
ST THOMAS, JOSEPH R                    15694 EDGEWOOD CIRCLE                                                                                 PLYMOUTH         MI    48170‐2795
ST UNIV OF NY AT BUFFALO OFFICE OF     HAYES B                               3435 MAIN ST                                                    BUFFALO          NY    14214
STUDENT ACCOUNTS
ST VINCENT CARMEL HO                   1207 RELIABLE PKWY                                                                                    CHICAGO          IL    60686‐0001
ST VINCENT DE PAUL SOCIETY             PO BOX 951                                                                                            ANDERSON         IN    46015‐0951
ST VINCENT DE PAUL SOUP KITCHEN        PO BOX 224                                                                                            YOUNGSTOWN       OH    44501‐0224
ST VINCENTS SERVICES                   66 BOERUM PL                                                                                          BROOKLYN         NY    11201‐5705
ST WOOTEN CORPORATION                  E.B. WEBB                             3801 BLACK CREEK RD SE                                          WILSON           NC    27893‐9568
ST, C/O FISHER BODY‐DET                7373 E US HIGHWAY 60 LOT 218          ROSALIE EUBANKS                                                 GOLD CANYON      AZ    85218‐7401
ST, CLAIR JAMES H,                     GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA    23510
                                                                             STREET, SUITE 600
ST, CLAIR JOHN G,                      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA 23510
                                                                             STREET, SUITE 600
ST, MARIE KENNETH G,                   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA 23510‐2212
                                                                             STREET, SUITE 600
ST‐AMOUR, KATHLEEN S                   10121 ELM AVE                                                                                         NEWAYGO          MI    49337‐8247
ST‐CLAIR, EDITH                        14897 SANTA ROSA                                                                                      DETROIT          MI    48238
ST. AMANT, DONALD E                    3210 HOSNER RD                                                                                        DRYDEN           MI    48428‐9783
ST. AMANT, DONALD EDWARD               3210 HOSNER RD                                                                                        DRYDEN           MI    48428‐9783
ST. AMOUR, LOUIS J                     PO BOX 291                                                                                            ROGERS CITY      MI    49779‐0291
ST. AMOUR, MIRIAM J                    11870 PARKLANE ST                                                                                     MOUNT MORRIS     MI    48458‐1430
ST. ANDREW, CHRISTINA M                1835 CICOTTE AVE                                                                                      LINCOLN PARK     MI    48146‐1306
ST. ANTHONY MOBIL                      2801 KENZIE TER                                                                                       SAINT ANTHONY    MN    55418‐3204
ST. ANTHONY MOTORS                     135 W MAIN ST                                                                                         SAINT ANTHONY    ID    83445‐2114
ST. ANTHONY NORTH AS                   PO BOX 248822                                                                                         OKLAHOMA CITY    OK    73124‐8822
ST. AUBIN JR., NORMAN G                8907 BEATRICE ST                                                                                      LIVONIA          MI    48150‐4047
ST. CATHARINES SMALL CLAIMS COURT      1‐59 CHURCH ST                                                                 ST CATHARINES ON L2R
                                                                                                                      7N8 CANADA
ST. CATHERINES PATTERN LTD.            26 EXPORT AVE                                                                  ST CATHARINES ON L2M
                                                                                                                      7P2 CANADA
ST. CHARLES COUNTY COUNTY COLLECTOR 201 N 2ND ST                                                                                             SAINT CHARLES    MO 63301

ST. CHARLES MISSOURI DEPARTMENT OF     3737 HARRY S. TRUMAN BLVD SUITE 200                                                                   ST CHARLES       MO 63301
SOCIAL SERVICES ST. CHARLES
ST. CHARLES PARISH SCHOOL BOARD        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 13855 RIVER RD                                                 LULING            LA   70070‐6220

ST. CHARLES PARISH SCHOOL BOARD        13855 RIVER RD                                                                                        LULING           LA    70070‐6220
ST. CHARLES PONTIAC BUICK GMC          1421 E MAIN ST                                                                                        SAINT CHARLES    IL    60174‐2342
ST. CHARLES PONTIAC BUICK GMC INC.     FREDERICK WEISSBERG                   1421 E MAIN ST                                                  SAINT CHARLES    IL    60174‐2342
ST. CHARLES, JOANNE                    2509 HOULIHAN RD                                                                                      SAGINAW          MI    48601‐9757
ST. CHARLES, MATTHEW T                 27458 CROMWELL RD                                                                                     NOVI             MI    48374‐1014
ST. CLAIR CHEVROLET BUICK PONTIAC G    3050 KING RD                                                                                          CHINA            MI    48054‐1430

ST. CLAIR CHEVROLET BUICK PONTIAC GM   DANIEL MORAN                          3050 KING RD                                                    CHINA            MI 48054‐1430

ST. CLAIR CHEVROLET BUICK PONTIAC GMC 3050 KING RD                                                                                           CHINA            MI 48054‐1430
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Name                                  Address1                               Address2                       Address3         Address4                 City              State Zip
ST. CLAIR COUNTY                      ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 165 5TH AVENUE                 SUITE 102                                 ASHVILLE           AL 35953

ST. CLAIR COUNTY                      165 5TH AVENUE                        SUITE 102                                                                 ASHVILLE          AL   35953
ST. CLAIR COUNTY GOVERNMENT POLICE                                          700 N 5TH ST                                                                                IL   62220
GARAGE
ST. CLAIR, DANNY M                    724 CENTRAL WAY                                                                                                 ANDERSON          IN   46011‐1808
ST. CLAIR, LISA A                     118 FALLING CREEK CIR                                                                                           JANESVILLE        WI   53548‐9106
ST. CLAIRE CADILLAC                   3737 STEVENS CREEK BLVD                                                                                         SANTA CLARA       CA   95051‐7336
ST. FRANCIS COUNTY TAX COLLECTOR      PO BOX 1817                                                                                                     FORREST CITY      AR   72336‐1817
ST. FRANCIS REG MED                   PO BOX 9345                           NW 8670S                                                                  MINNEAPOLIS       MN   55440‐9345
ST. FRANCOIS COUNTY MOTORS, INC.      CHRISTOPHER AUFFENBERG                830 VALLEY CREEK DR                                                       FARMINGTON        MO   63640‐1969
ST. GEORGE AUTO SERVICE               171 INDUSTRIAL BLVD.                                                                   ST. GEORGE ON N0E 1N0
                                                                                                                             CANADA
ST. GEORGE EXPRESS LLC                JAN MILLER                             55 N 600 E                                                               SAINT GEORGE      UT   84770‐2931
ST. HILAIRE, AMY                      PO BOX 8017                                                                                                     BALLSTON SPA      NY   12020‐8017
ST. JOHN HEALTH/MI                    27351 DEQUINDRE RD                                                                                              MADISON HEIGHTS   MI   48071‐3487
ST. JOHN THE BAPIST PARISH            ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 2066                                                              LA PLACE          LA   70069‐2066

ST. JOHN THE BAPIST PARISH            PO BOX 2066                                                                                                     LA PLACE          LA   70069‐2066
ST. JOHN, DAVID L                     7576 S STEEL RD                                                                                                 SAINT CHARLES     MI   48655‐8757
ST. JOHN, JOAN A                      6406 SANIBEL DR                                                                                                 CENTERVILLE       OH   45459‐1945
ST. JOHN, JOY L                       3108 S. CHESTER ROAD, R. 2                                                                                      CHARLOTTE         MI   48813
ST. JOHN, LAURA L                     3119 S OLD 11 LOT 38                                                                                            ORFORDVILLE       WI   53576‐9789
ST. JOHN, TIA L                       PO BOX 7424                                                                                                     N KANSAS CITY     MO   64116‐0124
ST. JOHNS CHEVROLET‐BUICK‐PONTIAC‐    PRESTON SLOAN                         1601 REID ST                                                              PALATKA           FL   32177‐3146
GMC, L.L.C.
ST. JOHNSBURY AUTOMOBILE COMPANY,     JOHN LOSCHIAVO                        500 MEMORIAL DR                                                           SAINT JOHNSBURY   VT   05819‐9274
L.L.C.
ST. JOHNSBURY BUICK‐PONTIAC‐GMC‐OLD   500 MEMORIAL DR                                                                                                 SAINT JOHNSBURY   VT   05819‐9274

ST. JOHNSBURY BUICK‐PONTIAC‐GMC‐      500 MEMORIAL DR                                                                                                 SAINT JOHNSBURY   VT   05819‐9274
OLDSMOBILE
ST. JOSEPH MERCY HOSPITAL                                                   5337 MCAULEY DR                                                                             MI 48197
ST. JUDE MEDICAL CEN                  1746‐F S. VICTORIA AVE STE 389                                                                                  VENTURA           CA 93003
ST. KITTS NEVIS ANGUILLA TRADING &    FORT STREET                                                                            BASSETERRE SAINT KITTS
                                                                                                                             AND NEVIS
ST. LANDRY PARISH SCHOOL BOARD        SALES TAX DEPARTMENT                  PO BOX 1210                                                               OPELOUSAS         LA 70571‐1210
ST. LAURENT, CAROL J                  4361 SUGARBUSH LN                                                                                               GRANT             MI 49327
ST. LAWRENCE COUNTY TREASURER'S       48 COURT ST                                                                                                     CANTON            NY 13617‐1161
DEPARTMENT
ST. LAWRENCE GAS                      JAMES WARD                            33 STEARNS STREET               PO BOX 270                                MASSENA           NY   13662
ST. LAWRENCE GAS CO., INC.            ATTN: JAMES WARD                      33 STEARNS STREET               P.O. BOX 270                              MASSENA           NY   13662
ST. LAWRENCE GAS COMPANY, INC.        ROUTE 37 EAST                                                                                                   MASSENA           NY   13662
ST. LAWRENCE GAS COMPANY, INC.        33 STEARNS STREET                                                                                               MASSENA           NY   13662
ST. LAWRENCE GAS COMPANY, INC.        42 MAIN ST                                                                                                      MASSENA           NY   13662‐1920
ST. LAWRENCE GAS COMPANY, INC.        THE BANK OF NEW YORK                  ATTN: ESCROW UNIT‐PHIL TRIOLO   101 BARCLAY ST   8TH FLOOR WEST           NEW YORK          NY   10286‐0001

ST. LAWRENCE GAS COMPANY, INC.        THE BANK OF NEW YORK MELLON           ESCROW UNIT ‐ PHIL TRIOLO       101 BARCLAY ST   8TH FLOOR WEST           NEW YORK          NY 10286‐0001
ST. LAWRENCE SEAWAY AUTHORITY         500‐202 PITT ST                                                                        CORNWALL ON K6J 3P7
                                                                                                                             CANADA
ST. LAWRENCE SEAWAY AUTHORITY         ATTN: CLAUDE MAJOR                    500‐202 PITT ST                                  CORNWALL ON K6J 3P7
                                                                                                                             CANADA
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Name                                 Address1                              Address2                        Address3             Address4             City            State Zip
ST. LOUIS AIR/MO                     I‐70 AT LAMBERT AIRPORT                                                                                         SAINT LOUIS      MO 63134
ST. LOUIS AMERICAN                   KEVIN JONES                           4242 LINDELL BLVD.                                                        SAINT LOUIS      MO 63108
ST. LOUIS BRIDGE COMPANY                                                   655 LANDMARK DR                                                                            MO 63010
ST. LOUIS COUNTY                     ECONOMIC COUNCIL                      121 S MERAMEC AVE STE 900                                                 SAINT LOUIS      MO 63105‐1727
ST. LOUIS COUNTY                                                           10996 KOHRS LN                                                                             MO 63123
ST. LOUIS MAGAZINE LLC               ANGIE HENSHAW                         1600 S BRENTWOOD BLVD STE 550                                             SAINT LOUIS      MO 63144‐1334

ST. LOUIS SPINE CARE ALLIANCE        3009 N BALLAS RD STE 320A                                                                                       SAINT LOUIS     MO   63131‐2324
ST. LOUIS UNIVERSITY                 221 N GRAND BLVD                                                                                                SAINT LOUIS     MO   63103‐2006
ST. MARTIN PARISH SCHOOL BOARD       SALES TAX DEPARTMENT                  PO BOX 1000                                                               BREAUX BRIDGE   LA   70517‐1000
ST. MARY LAND & EXPLORATION          MARK ECK                              1776 LINCOLN                                                              DENVER          CO   80203
ST. MARYS CHEVROLET BUICK CADILLAC   863 S SAINT MARYS ST                                                                                            SAINT MARYS     PA   15857‐2862

ST. MATTHEWS IMPORT SERVICE, INC.    280 N HUBBARDS LN                                                                                               LOUISVILLE      KY 40207‐2233
ST. ONGE JR, FRANCIS E               7021 DYSINGER RD                                                                                                LOCKPORT        NY 14094‐9371
ST. ONGE, CHERYL L                   5900 BEATTIE AVE                                                                                                LOCKPORT        NY 14094‐6630
ST. ONGE, GREGORY E
ST. PAUL EQUIPMENT, INC.             1339 HIGHWAY 281                                                                                                SAINT PAUL      NE 68873‐3401
ST. PAUL EQUIPMENT, INC.             LEON STANCZYK                         1339 HIGHWAY 281                                                          SAINT PAUL      NE 68873‐3401
ST. PAUL UNITED METHODIST            8264 LONE STAR RD                                                                                               JACKSONVILLE    FL 32211‐5162
FOUNDATION
ST. PETERS GARAGE                    108 MAIN ST                                                                                                     SAINT PETERS    MO   63376‐3916
ST. PIERRE, CARLA J                  1240 NESTLE TRL                                                                                                 LAWRENCEVILLE   GA   30045‐2333
ST. PIERRE, JOHN E                   7273 E COURT ST                                                                                                 DAVISON         MI   48423‐2546
ST. PIERRE, JOHN EDWARD              7273 E COURT ST                                                                                                 DAVISON         MI   48423‐2546
ST. PIERRE, KIM H                    1509 AQUARIUS WAY                                                                                               BOWLING GREEN   KY   42104‐0211
ST. PIERRE, TODD A                   1509 AQUARIUS WAY                                                                                               BOWLING GREEN   KY   42104‐0211
ST. REGIS MOHAWK TRIBE               ATTN: HILDA SMOKE                      COMMUNITY BUILDING             ROUTE 37                                  HOGANSBURG      NY   13655
ST. THOMAS SURGICARE                 4230 HARDING PIKE STE 300                                                                                       NASHVILLE       TN   37205‐2158
ST. THOMAS, MICHAEL J                14374 STATE HIGHWAY 37                                                                                          MASSENA         NY   13662‐3154
ST. THOMAS, MICHAEL JOSEPH           14374 STATE HIGHWAY 37                                                                                          MASSENA         NY   13662‐3154
ST. VINCENT CATHOLIC CHARITIES       2800 W WILLOW ST                                                                                                LANSING         MI   48917‐1833
ST.AMOUR, JOSEPH L                   2575 MARTIN COURT                                                                                               NEW LENOX       IL   60451‐3092
ST.AMOUR, JOSEPH L                   857 W WOODLWAN RD                                                                                               NEW LENOX       IL   60451‐3460
ST.CLAIR, HOWARD L                   9314 SNYDER LN                                                                                                  PERRY HALL      MD   21128‐9415
ST.CLAIR, JULIANN M                  225 YORK AVE NW                                                                                                 WARREN          OH   44485‐2726
ST.GALLER KANTONALBANK               ST. LEONHARDSTRASSE 25                 POSTFACH                       CH‐9001 ST. GALLEN
ST.GERMAINE, KENNETH G               49125 DUNHILL DR                                                                                                MACOMB          MI 48044‐1738
ST.JAMES, BONNY L                    14545 TUSCOLA ROAD                                                                                              CLIO            MI 48420‐8850
ST.LANDRY PARISH                     ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 1210                                                              OPELOUSAS       LA 70571‐1210

ST.LANDRY PARISH                     PO BOX 1210                                                                                                     OPELOUSAS       LA   70571‐1210
ST.LOUIS METRO POLICE DEPT.          3919 LACLEDE AVENUE                                                                                             SAINT LOUIS     MO   63108
ST.LOUIS POLICE DEPT.                                                       3930 LACLEDE AVE                                                                         MO   63108
ST.MARTIN PARISH                     ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 1000                                                              BREAUX BRIDGE   LA   70517‐1000

ST.MARTIN PARISH                     PO BOX 1000                                                                                                     BREAUX BRIDGE   LA   70517‐1000
ST.MICHEL, SHIRLEY R                 541 KENILWORTH LN                                                                                               GALVESTON       IN   46932‐9403
ST.PETER, EVELYN M                   CECILIAN VILLAGE                      62 SHERRY LN                                                              NEW OXFORD      PA   17350‐8448
ST.PIERRE, RICHARD                   4365 CENTRAL BLVD                                                                                               ANN ARBOR       MI   48108‐1217
STA DETROIT DIESEL‐ALLISON           SINGAPORE PTE LTD                     16 BENOI CRESCENT               JURONG TOWN          SINGAPORE 629979
                                                                                                                                SINGAPORE
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Name                       Address1                          Address2                        Address3                Address4                 City               State Zip
STAAB JOSEPH (491323)      BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                    NORTHFIELD          OH 44067
                                                             PROFESSIONAL BLDG
STAAB, JEANNE E            1640 BRITTAINY OAKS TRL NE                                                                                         WARREN             OH   44484‐3966
STAAB, JUDITH A            1224 LEISURE DR 55                                                                                                 FLINT              MI   48507
STAAB, LA VON E            1660 DARRAH AVE                                                                                                    SIMI VALLEY        CA   93063‐3312
STAAB, WILLIAM             21871 KNUDSEN DR                                                                                                   GROSSE ILE         MI   48138‐1320
STAAL, DALE A              16021 NE 160TH ST                                                                                                  WOODINVILLE        WA   98072‐8166
STAAL, DEBRA L             APT C                             1086 BEXLEY DRIVE                                                                GREENWOOD          IN   46143‐2588
STAALAND, STEVEN E         1525 WINNSBORO PASS                                                                                                FORT WAYNE         IN   46845‐2007
STAAR'S BAR                3536 MICHIGAN AVE                                                                                                  DETROIT            MI   48216‐1007
STAARMAN, MICKEY           6088 LAYHIGH RD                                                                                                    OKEANA             OH   45053‐9558
STAARMANN, MARK J          3704 BENNINGHOFEN AVE                                                                                              HAMILTON           OH   45015‐2016
STAARMANN, VINCENT P       722 IMPALA PL                                                                                                      HAMILTON           OH   45013‐3817
STAAS & HALSEY LLP         700 11TH ST NW STE 500                                                                                             WASHINGTON         DC   20001
STAAS, GEORGE A            201 CHECOTAH PLACE                                                                                                 LOUDON             TN   37774‐7774
STAAS, WILLIAM L           1299 LAMMES LN                                                                                                     NEW CARLISLE       OH   45344‐8257
STAAT, GEORGE R            6462 CHEROKEE DR                                                                                                   INDIAN HEAD PARK   IL   60525‐4321
STAAT, KELLY C             2309 W MANGOLD AVE                                                                                                 MILWAUKEE          WI   53221‐4950
STAAT, L A                 14052 PERNELL DR                                                                                                   STERLING HEIGHTS   MI   48313‐5447
STAAT, L ANDREW            14052 PERNELL DR                                                                                                   STERLING HEIGHTS   MI   48313‐5447
STAATS, BERTHA             1919 BEACON ST                                                                                                     WASHINGTON COURT   OH   43160‐1727
                                                                                                                                              HOUSE
STAATS, EDWARD L           9301 NORTHWEST PLEASANT DRIVE                                                                                      KANSAS CITY        MO   64152‐2623
STAATS, FRANK D            PO BOX 88                                                                                                          INA                IL   62846‐0088
STAATS, FREDA J            1616 HIGH MEADOW DR                                                                                                CHOCTAW            OK   73020‐6611
STAATS, KAY E              PO BOX 52                                                                                                          MC LEANSBORO       IL   62859‐0052
STAATS, KRISTEN M          11 NINA TER                                                                                                        BUFFALO            NY   14224
STAATS, MILDRED L          2175 LEITER RD                    SYCAMORE GLEN HEALTH CENTER                                                      MIAMISBURG         OH   45342‐3659
STAATS, STANLEY
STAB ZWEITE HOLDING GMBH   1201 TULIP DR                                                                                                      GASTONIA           NC 28052‐1842
STAB ZWEITE HOLDING GMBH   1209 N ORANGE ST                                                                                                   WILMINGTON         DE 19801‐1120
STAB ZWEITE HOLDING GMBH   36225 MOUND RD                                                                                                     STERLING HEIGHTS   MI 48310‐4739
STAB ZWEITE HOLDING GMBH   65 REDWOOD DR                                                                             DINGLEY VI 3172
                                                                                                                     AUSTRALIA
STAB ZWEITE HOLDING GMBH   A. DEMMEL                         POSTFACH 2029                   WALLERSHEIMER WEG 100   SAO PAULO 09891903
                                                                                                                     BRAZIL
STAB ZWEITE HOLDING GMBH   INDUSTRIA METALURGICA 1010                                                                RAMOS ARZIPE CH 25900
                                                                                                                     MEXICO
STAB ZWEITE HOLDING GMBH   INDUSTRIA METALURGICA 1010        PARQUE INDUSTRIAL                                       RAMOS ARZIPE CH 25900
                                                                                                                     MEXICO
STAB ZWEITE HOLDING GMBH   JOHN HESTERMAN                    1201 TULIP DR                   STABILUS DIV                                     GASTONIA           NC 28052‐1842
STAB ZWEITE HOLDING GMBH   JOHN HESTERMAN                    INDUSTRIA METALURGICA 1010                              YEONGI‐GUN KOREA (REP)
STAB ZWEITE HOLDING GMBH   JOHN HESTERMAN                    STABILUS DIV                    1201 TULIP DR                                    MARINE CITY        MI 48039
STAB ZWEITE HOLDING GMBH   ATT: JOANNE HOLMES, SR. PROCESS   1209 ORANGE STREET                                                               WILMINGTON         DE 19801
                           SPECIALIST CT
STABECK INDUSTRIES LLC     2612 ELLIOTT DR                                                                                                    TROY               MI   48083‐4633
STABEK, MARK L             2920 CURTIS RD                                                                                                     BIRCH RUN          MI   48415‐8913
STABEK, SHIRLEY L          2920 CURTIS RD                                                                                                     BIRCH RUN          MI   48415‐8913
STABEL, BERNARD W          6224 BALDWIN RD                                                                                                    SWARTZ CREEK       MI   48473‐9118
STABEL, BERNARD WALTER     6224 BALDWIN RD                                                                                                    SWARTZ CREEK       MI   48473‐9118
STABEL, EDITH ERIKA        5152 BLOSS DR                                                                                                      SWARTZ CREEK       MI   48473‐8876
STABEL, EDITH ERIKA        5152 BLOSS DRIVE                                                                                                   SWARTZ CREEK       MI   48473‐8876
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Name                                 Address1                              Address2                         Address3                Address4                  City               State Zip
STABEL, ROBERT E                     11070 SHARP RD                                                                                                           LINDEN              MI 48451‐9407
STABEN KARL J                        STABEN, KARL J                        8010 EXCELSIOR DRIVE SUITE 200                                                     MADISON             WI 53717
STABEN, REBECCA SUE                  5705 MYERS AVE                                                                                                           SIOUX CITY           IA 51106‐3920
STABENOW, ROBERT D                   258 LIME ST                                                                                                              WESTLAND            MI 48186‐6850
STABENOW, SARA A                     9405 HURON RAPIDS DR                                                                                                     WHITMORE LAKE       MI 48189‐9383
STABILE, DAVID A                     3101 PRIMROSE DR                                                                                                         ROCHESTER HILLS     MI 48307‐5241
STABILE, JOHN                        242 ROUNDHILL DR                                                                                                         YONKERS             NY 10710‐2450
STABILE, JOSEPH G                    8552 LA JOLLA SHORES DR                                                                                                  LA JOLLA            CA 92037‐3020
STABILE, JOSEPHINE S                 918 LINCOLN AVE                                                                                                          NILES               OH 44446‐3166
STABILE, MARY                        515 MAIN ST APT 305                                                                                                      EVANSTON             IL 60202‐4553
STABILE, MARY                        515 MAIN ST UNIT 305                                                                                                     EVANSTON             IL 60202‐4553
STABILE, NOLA R                      1173 JARDIN DR                                                                                                           NAPLES              FL 34104‐6616
STABILITO, ALFRED R                  75 MEADOWBROOK AVE                                                                                                       YOUNGSTOWN          OH 44512‐2606
STABILUS GMBH                        WALLERSHEIMER WEG 100                                                                          KOBLENZ GERMANY
                                                                                                                                    D56070 GERMANY
STABILUS GMBH                        A. DEMMEL                             POSTFACH 2029                    WALLERSHEIMER WEG 100   SAO PAULO 09891903
                                                                                                                                    BRAZIL
STABILUS INC                         36225 MOUND RD                                                                                                           STERLING HEIGHTS   MI 48310‐4739
STABILUS INC                         1201 TULIP DR                                                                                                            GASTONIA           NC 28052‐1842
STABILUS PTY LTD                     65 REDWOOD DR                                                                                  DINGLEY VI 3172
                                                                                                                                    AUSTRALIA
STABILUS SA DE CV                    JOHN HESTERMAN                        INDUSTRIA METALURGICA 1010                               YEONGI‐GUN KOREA (REP)
STABILUS SA DE CV                    AVE INDUSTRIA METALURGICA #1010                                                                ARIZPE MEXICO MEXICO
                                     PARQUE INDUSTRIAL RAMOS
STABILUS SA DE CV                    INDUSTRIA METALURGICA 1010            PARQUE INDUSTRIAL                                        RAMOS ARZIPE CH 25900
                                                                                                                                    MEXICO
STABILUS SA DE CV                    INDUSTRIA METALURGICA 1010                                                                     RAMOS ARZIPE CH 25900
                                                                                                                                    MEXICO
STABILUS US HOLDCO INC               1209 N ORANGE ST                                                                                                         WILMINGTON          DE 19801‐1120
STABILUS/GROSSE POIN                 ATTN: DAVID SUMMERS                   DIVISION OF FICHTEL & SACHS      128 KERCHEVAL AVE.                                GROSSE POINTE       MI 48236
STABILUS/MEXICO                      INDUSTRIA METALURGICA 1010            PARQUE INDUSTRIAL                                        RAMOS ARZIPE CH 25900
                                                                                                                                    MEXICO
STABILUS/TROY                        28400 NORTHWESTERN HWY.               SUITE 160                                                                          SOUTHFIELD         MI   48034
STABILUS/TROY                        36225 MOUND RD                                                                                                           STERLING HEIGHTS   MI   48310‐4739
STABINSKI, BOLESLAUS J               1576 RIVER RD BOX 31                                                                                                     MILLERSBURG        MI   49759
STABINSKY, MARK                      368 BRACKEN CT                                                                                                           TROY               MI   48098‐4691
STABLE ASSET LTD                     EDIFICIO TORRE DEL SOL APARTAMENTO    CALLES 30 Y 24                                           PUNTA DEL ESTE, URUGUAY
                                     1302
STABLE ASSET LTD (F.H. DIENEMANN /   EDIFICIO TORRE DEL SOL                APARTAMENTO 1302                 CALLES 30 Y 24          PUNTA DEL ESTE
DIREC
STABLE ASSET LTD (MR.F.H. DIENEMANN / EDIFICIO TORRE DEL SOL               APARTAMENTO 1302                 CALLES 30 Y 24          PUNTA DEL ESTE
DI
STABLE ASSET LTD F.H. DIENEMANN       EDIFICIO TORRE DEL SOL               APARTAMENTO 1302                 CALLES 30 Y 24          PUNTA DEL ESTE
STABLE ASSET LTD.                     EDIFICIO TORRE DEL SOL APARTAMENTO   CALLES 30 Y 24                   PUNTA DEL ESTE
                                      1302
STABLE ASSET LTD. FRANK               EDIFICIO TORRE DEL SOL               APARTAMENTO 1302                 CALLES 30 Y 24          PUNTA DEL ESTE
DIENEMANN/DIRECT
STABLE ASSET LTD. FRANK H. DIENEMANN EDIFICIO TORRE DEL SOL                APARTAMENTO 1302                 CALLES 30 Y 24          PUNTA DEL ESTE
DIR
STABLE ASSET LTD. GIBRALTAR           ATTN. FRANK H DIENEMANN              EDIFICIO TORRE DEL SOL           CALLES 30 Y 24          PUNTA DEL ESTE
                                                                           APARTAMENTO 1302
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Name                         Address1                         Address2                        Address3   Address4             City            State Zip
STABLE BETEILIGUNGS GMBH     WALLERSHEIMER WEG 100                                                       KOBLENZ RP 56070
                                                                                                         GERMANY
STABLER FRANCIS R            DBA FUTURE TECH LLC              2096 CAMEO DR                                                   TROY            MI    48098‐2409
STABLER I I I, NICHOLAS S    PO BOX 5335                                                                                      WILMINGTON      DE    19808‐0335
STABLER III, NICHOLAS S      PO BOX 5335                                                                                      WILMINGTON      DE    19808‐0335
STABLER ROBERT               4401 BROOKEVILLE RD                                                                              BROOKEVILLE     MD    20833‐1609
STABLER, FRANCIS R           2096 CAMEO DR                                                                                    TROY            MI    48098‐2409
STABLER, ROBERT M            1192 BUCKINGHAM RD                                                                               HASLETT         MI    48840‐9729
STABLER, ROLLAND A           10664 STATE ROUTE 613                                                                            PAULDING        OH    45879‐9422
STABLER, ROLLAND ANDREW      10664 STATE ROUTE 613                                                                            PAULDING        OH    45879‐9422
STABLEY IRENE (661544)       SIMMONS FIRM                     PO BOX 521                                                      EAST ALTON      IL    62024‐0519
STABLEY, FRANK C             5625 MORNING DR                                                                                  DAVISBURG       MI    48350‐3535
STABLEY, IRENE               SIMMONS FIRM                     PO BOX 521                                                      EAST ALTON      IL    62024‐0519
STABLEY, JOHN D              6917 CEDAR BROOK DR                                                                              OSCODA          MI    48750‐9769
STABLEY, PAMELA S            31023 MOCERI CIR                                                                                 WARREN          MI    48088‐1855
STABLEY, PHILLIP L           2401 MAPLE AVE                                                                                   WILMINGTON      DE    19808‐3222
STABLEY, QUEENIE J           5625 MORNING DR                                                                                  DAVISBURG       MI    48350‐3535
STABNAU, DONALD J            PO BOX 1102                                                                                      BELLEVILLE      MI    48112‐1102
STABNAU, DONALD JAMES        PO BOX 1102                                                                                      BELLEVILLE      MI    48112‐1102
STABNAU, WILLIAM O           9740 SCIO CHURCH RD                                                                              CHELSEA         MI    48118‐9647
STABNAU, WILLIAM OTTO        9740 SCIO CHURCH RD                                                                              CHELSEA         MI    48118‐9647
STABRAWA, STANLEY J          8319 161ST PL                                                                                    TINLEY PARK     IL    60477‐8279
STABRYLA, GARY J             48732 PENROSE LN                                                                                 MACOMB          MI    48044‐5550
STACCATO HARDRICK            2199 LANSING ST APT 300                                                                          DETROIT         MI    48209‐2099
STACCHINI ALESSANDRO         VIA FIDENE ,19 00183                                                                             ROME
STACCHINI MARCO              VIA CASALMONFERRATO,21 00182                                                                     ROME
STACCO, ANNE B               1137 OAKDALE DR                  C/O DANIEL K STACCO                                             MANSFIELD       OH    44905‐1651
STACE‐ALLEN CHUCKS INC       PO BOX 21216                     2246‐50 W MINNESOTA STREET                                      INDIANAPOLIS    IN    46221‐0216
STACER, BRUCE M              729 WREN RD                                                                                      FRANKENMUTH     MI    48734‐9300
STACER, LAWRENCE J           2415 CROSSINGS CIR                                                                               DAVISON         MI    48423‐8646
STACER, MICHAEL D            222 DELAWARE ST                                                                                  TONGANOXIE      KS    66086
STACER, WILLIAM R            420 W OAK ST                                                                                     VASSAR          MI    48768‐1228
STACEY A GRAY                4201 EDITH LN APT 101                                                                            GREENSBORO      NC    27409‐2757
STACEY A HILL                708 DELAWARE ST                                                                                  DETROIT         MI    48202‐2450
STACEY A MACILWANE           200 GREENMOUNT BLVD.                                                                             DAYTON          OH    45419‐3242
STACEY A MARTIN              RT 1 BOX 45                                                                                      BOLTON          MS    39041‐9801
STACEY A RHEINBERGER SMITH   3 SUGAR CREEK LN                                                                                 WAUKEE          IA    50263‐8144
STACEY BENZ TRUST            C/O STACEY BENZ                  117 CHEYEENE DR                                                 MORGANVILLE     NJ    07751
STACEY BRESSER               766 WEST RIDGE COURT                                                                             LAKE ORION      MI    48359‐1746
STACEY BRYANT                10973 NASSAU CIRCLE NORTHEAST                                                                    MINNEAPOLIS     MN    55449‐5444
STACEY C RABE                1626 E TAMARRON CT                                                                               SPRINGBORO      OH    45066
STACEY CARL JR (447909)      BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD      OH    44067
                                                              PROFESSIONAL BLDG
STACEY COOPERWOOD            7766 FREESIA ST                                                                                  BLACKLICK       OH    43004‐8067
STACEY D BENSON              241 BROOKLYN AVE.                                                                                DAYTON          OH    45417‐2238
STACEY D BUTLER              1300 ROBERTS AVE #C2                                                                             WARREN          OH    44485‐2455
STACEY D RICHARDSON          13973 RENFREW CT                                                                                 STERLING HTS    MI    48312‐4248
STACEY DICK                  21770 MAPLEWOOD DR                                                                               SOUTHFIELD      MI    48033‐3602
STACEY E HARRIS              1209 LOCHSHYRE CT                                                                                LAWRENCEVILLE   GA    30043‐4474
STACEY F BROWN               870 LOTHROP RD                                                                                   DETROIT         MI    48202‐2736
STACEY FIKE                  1771 GREENWOOD RD                                                                                LAPEER          MI    48446‐9335
STACEY GIRARD                34680 BRIDGEMAN STREET                                                                           FARMINGTN HLS   MI    48335‐4624
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Name                        Address1                        Address2            Address3         Address4         City               State Zip
STACEY GLYNN                27 APPLE BLOSSOM LN                                                                   DANBURY             CT 06811‐4937
STACEY GOTHAM               2098 DEER MEADOW LANE                                                                 ST CLAIRE           MI 48079
STACEY GRAY                 4201 EDITH LN APT 101                                                                 GREENSBORO          NC 27409‐2757
STACEY HAZELTON             1150 HUNTER CT                                                                        MILFORD             MI 48381‐3180
STACEY HECHE                8231 E 400 N                                                                          PIERCETON           IN 46562‐9310
STACEY HELTON               2700 MICHELLE LN                                                                      HARTLAND            MI 48353‐3040
STACEY HENRY                12862 W CALLA RD                                                                      SALEM               OH 44460‐9634
STACEY HERRON               4325 ROSE CT                                                                          LAKE ORION          MI 48362‐1051
STACEY HOLMES               829 SEWARD ST                                                                         DETROIT             MI 48202‐2304
STACEY HOWARD               723 WILBUR AVE                                                                        YOUNGSTOWN          OH 44502‐2358
STACEY HUBERT               49226 MONMOUTH DR                                                                     CHESTERFIELD        MI 48047‐4871
STACEY J BORZILLERI         265 STOTTLE RD                                                                        SCOTTSVILLE         NY 14546‐9601
STACEY J SAUNDERS           3768 WOODMAN DR                                                                       DAYTON              OH 45429
STACEY JACKSON
STACEY JOHNSON              303 MOSS HILL DR                                                                      ARLINGTON          TX    76018‐4023
STACEY JORDAN               1190 CAMPGROUND RD                                                                    WHITEVILLE         NC    28472‐8791
STACEY JR, ARTHUR J         10696 STRATTON RD                                                                     SALEM              OH    44460‐7661
STACEY JR, ROBERT JR        3166 MORRISH RD                                                                       SWARTZ CREEK       MI    48473‐9788
STACEY JR, THOMAS A         HC 31 BOX 109                                                                         WILLIAMSBURG       NM    87942‐9702
STACEY KEMP                 1700 PEET RD                                                                          NEW LOTHROP        MI    48460‐9613
STACEY L BIZZELL            20218 SUNSET DRIVE                                                                    WARRENSVILLE HTS   OH    44122
STACEY L FEW                578 SUN CATCHER DR                                                                    AVON               IN    46123‐8091
STACEY L HERRON             4325 ROSE CT                                                                          LAKE ORION         MI    48362‐1051
STACEY L JENNINGS           4142 WOODCLIFFE AVE                                                                   DAYTON             OH    45420
STACEY L MCCANN             5851 JACKMAN RD                                                                       TOLEDO             OH    43613‐1705
STACEY L MCGREW             3015 TELHURST CT                                                                      MORAINE            OH    45439‐1420
STACEY L OHMER              1419 4TH ST                                                                           BAY CITY           MI    48708‐6133
STACEY L REYNOLDS           181 KANSAS AVE                                                                        YPSILANTI          MI    48198‐6026
STACEY L SPARKS‐CLARKSTON   8265 HYANNIS PORT DR APT 2D                                                           DAYTON             OH    45458
STACEY LAWSON               4813 CANTERBURY LN                                                                    FLINT              MI    48504‐2093
STACEY LEONN                1301 W LAMBERT LN APT 4101                                                            ORO VALLEY         AZ    85737‐7124
STACEY LINGENFELTER         702 E KNIGHT ST                                                                       EATON RAPIDS       MI    48827‐1383
STACEY LISA                 787 PINE TREE RD                                                                      LAKE ORION         MI    48362‐2553
STACEY LUCAS                23 W EVANS ST                                                                         NEWPORT             RI   02840‐1174
STACEY M CREPS              6109 LAKE DR                                                                          YPSILANTI          MI    48197‐7048
STACEY M GILBERT            2220 CHAMBERLIN AVE                                                                   DAYTON             OH    45406‐2503
STACEY M GRANT              3347 WILLIAMSBURG ST NW                                                               WARREN             OH    44485‐2260
STACEY M JOHNSON            547 CRAWLEY RUN APT #102                                                              CENTERVILLE        OH    45458‐‐ 63
STACEY M RIEGLE             3149 LAKE RD                                                                          MEDWAY             OH    45341‐1331
STACEY M RUTH               5845 HENDON AVE.                                                                      DAYTON             OH    45431‐1528
STACEY MARTINEZ             112 LORNA LN                                                                          TONAWANDA          NY    14150‐2807
STACEY MERCER               PO BOX 126                      203 CHURCH ST                                         OAKLAND            KY    42159‐0126
STACEY MERCER
STACEY MILLER
STACEY MILLER               15400 W7 MI RD                                                                        DETROIT            MI    48235
STACEY MITCHELL             3602 MIDDLEFIELD DR                                                                   INDIANAPOLIS       IN    46222‐1702
STACEY NASH                 14710 ROSEMARY BLVD                                                                   OAK PARK           MI    48237‐1936
STACEY NICHOLS              2172 COVERT ROAD                                                                      BURTON             MI    48509‐1065
STACEY NUNN                 735 GRAN HERITAGE WAY                                                                 DACULA             GA    30019‐6857
STACEY P CORNELIUS          1059 ARBOR VISTA                                                                      JACKSON            MS    39209‐7135
STACEY PALMA                4062 E PIERSON RD                                                                     FLINT              MI    48506‐1438
STACEY PRATER               P O BOX 665                                                                           PIEDMONT           AL    36272
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Name                       Address1                      Address2                       Address3   Address4         City                State Zip
STACEY PROCTOR             30445 VALENTI DR                                                                         WARREN               MI 48088‐3354
STACEY R HOWARD            723 WILBUR AVE                                                                           YOUNGSTOWN           OH 44502‐2358
STACEY R MITCHELL          3602 MIDDLEFIELD DR                                                                      INDIANAPOLIS         IN 46222‐1702
STACEY R MORR              1719 WILMINGTON DR                                                                       LOVELAND             OH 45140
STACEY R SERGENT           4312 E 4TH ST                                                                            DAYTON               OH 45431‐1810
STACEY RALPH               319 DANIELS RD B                                                                         SARATOGA SPRINGS     NY 12866
STACEY RHEINBERGER‐SMITH   3 SUGAR CREEK LN                                                                         WAUKEE                IA 50263‐8144
STACEY RICHARDSON          13973 RENFREW CT                                                                         STERLING HTS         MI 48312‐4248
STACEY RUE                 108 S 5TH ST                                                                             OAKWOOD              OH 45873‐9683
STACEY S SCOTT             8 RICEMILL LN                                                                            SAVANNAH             GA 31404
STACEY S SMITH             511 ROESCH ST APT 308                                                                    DAYTON               OH 45417‐2038
STACEY SCHERER             50707 PRINCETON DR                                                                       MACOMB               MI 48044‐1270
STACEY SHAHEEN             5387 WHITEHALL CT                                                                        FLUSHING             MI 48433‐2452
STACEY SOLOMON             1028 AVIS LN                                                                             DELTONA              FL 32738‐6795
STACEY T HICKS             833 WHITMORE                                                                             DAYTON               OH 45417‐1166
STACEY TARTER              7 TARTER LANE                                                                            CARRIERE             MS 39426‐9258
STACEY TURNBULL            1020 FITZROY CIR                                                                         SPRING HILL          TN 37174‐8528
STACEY TURNER              11341 COWFORD RD                                                                         ATHENS               AL 35611‐6887
STACEY UNOLD               41499 BURROUGHS AVE                                                                      NOVI                 MI 48377‐2861
STACEY WAGNER              727 SHARON HILLS DR                                                                      BILOXI               MS 39532‐4313
STACEY WAY                 4864 MOHAWK AVE                                                                          CLARKSTON            MI 48348‐3319
STACEY WHELAN              2813 GREENLAWN AVE                                                                       COMMERCE TOWNSHIP    MI 48382‐3543
STACEY WILCZYNSKI          1711 LOIS CT                                                                             TOLEDO               OH 43613‐2324
STACEY WILLIAMSON          1404 LIZZY CT                                                                            KELLER               TX 76248‐8741
STACEY WRIGHT              8358 VANDEN DR                                                                           WHITE LAKE           MI 48386‐2552
STACEY YOUNG               624 GLENCOE CT                                                                           FRANKLIN             TN 37064‐2669
STACEY ZINN                1415 PIERCE RD                                                                           LANSING              MI 48910‐5270
STACEY, AARON              178 CLIFFORD ST                                                                          PONTIAC              MI 48342‐3317
STACEY, AMY L              7488 NICHOLS RD                                                                          FLUSHING             MI 48433‐9262
STACEY, AMY LEIGH          7488 NICHOLS RD                                                                          FLUSHING             MI 48433‐9262
STACEY, ANNA T             5061 BRISTOL CT                                                                          LOVELAND             OH 45140‐7725
STACEY, BARBARA            45077 COACHMAN CT                                                                        CANTON               MI 48187‐5080
STACEY, BETTY J            5397 AFAF ST                                                                             FLINT                MI 48505‐1022
STACEY, BETTY M            1216 MONTEZUMA ST UNIT 3026                                                              COLUMBUS             TX 78934‐2136
STACEY, BETTY M            1216 MONTEZUMA ST             APT 108                                                    COLUMBUS             TX 78934
STACEY, BIRDIE L           HC 31 BOX 109                                                                            WILLIAMSBURG         NM 87942‐9702
STACEY, BONNIE S           PO BOX 181                                                                               KNIGHTSTOWN          IN 46148‐0181
STACEY, BRENDA S
STACEY, BURNISTINE         50 GRANTOUR CT                                                                           PONTIAC             MI 48340‐1425
STACEY, CARL               BEVAN & ASSOCIATES            10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD          OH 44067
                                                         PROFESSIONAL BLDG
STACEY, CHARLES E          14700 GULLEY ST                                                                          TAYLOR              MI   48180‐4591
STACEY, CHARLES W          180 15 MILE RD NW                                                                        SPARTA              MI   49345‐8590
STACEY, CLELAND C          760 WALNUT ST                                                                            LOCKPORT            NY   14094‐3307
STACEY, GLEN L             111 SIOUX DR                                                                             EDGERTON            WI   53534‐9328
STACEY, GREGORY S          7488 NICHOLS RD                                                                          FLUSHING            MI   48433‐9262
STACEY, HOLLIS R           705 MORNINGSTAR DR                                                                       ELLWOOD CITY        PA   16117‐3018
STACEY, HOMER G            150 AD MURRY RD                                                                          JONESBOROUGH        TN   37659‐3500
STACEY, JAMES D            5175 PERRY RD                                                                            MARTINSVILLE        IN   46151‐8261
STACEY, JASON K            6654 HUBBARD DR                                                                          DAYTON              OH   45424
STACEY, JEAN E             272 STATE ROUTE 176                                                                      HANNIBAL            NY   13074‐2245
STACEY, JEFFREY T          3918 PLEASANT GROVE ROAD                                                                 WHITE HOUSE         TN   37188‐5077
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Name                            Address1                        Address2             Address3       Address4         City               State Zip
STACEY, JENNIFER A              6654 HUBBARD DR                                                                      DAYTON              OH 45424
STACEY, JOHN                    110 W MURAY STREET                                                                   SESSER               IL
STACEY, JOHN                    4247 MIDDLE RUN ROAD                                                                 SPRING VALLEY       OH 45370‐8719
STACEY, JOHN L                  353 SOUTHWEST FILM AVENUE                                                            PORT ST LUCIE       FL 34953‐5968
STACEY, LEON P                  2219 BROOKHAVEN DR                                                                   FLINT               MI 48507‐4601
STACEY, LEON PERCY              2219 BROOKHAVEN DR                                                                   FLINT               MI 48507‐4601
STACEY, LISA A                  787 PINE TREE RD                                                                     LAKE ORION          MI 48362‐2553
STACEY, MILES L                 STUTSMAN MULVANEY & DEBOER      PO BOX 1337                                          ELKHART             IN 46515‐1337
STACEY, MILES L                 STUTSMAN, MULVANEY & DEBOER     1300 CASSOPOLIS ST                                   ELKHART             IN 46514‐3248
STACEY, MILES L                 TALMAGE LAW OFFICES             221 S 3RD ST                                         ELKHART             IN 46516‐3133
STACEY, RICKIE L                20259 FOXBORO ST                                                                     RIVERVIEW           MI 48193‐7915
STACEY, RITA M                  2219 BROOKHAVEN DR                                                                   FLINT               MI 48507‐4601
STACEY, ROBERT L                6715 E COUNTY LINE RD                                                                SOUTH BRANCH        MI 48761‐9528
STACEY, ROBERT W                6351 E POTTER RD                                                                     DAVISON             MI 48423‐9566
STACEY, THOMAS A                2409 KROUSE RD                                                                       OWOSSO              MI 48867‐9155
STACEY, THOMAS ALLAN            2409 KROUSE RD                                                                       OWOSSO              MI 48867‐9155
STACEY, THOMAS D                10715 HUDSON AVE                                                                     HUDSON              FL 34669‐1052
STACEY, THOMAS J                5499 PLANTATION DR                                                                   COMMERCE TWP        MI 48382‐5144
STACEY, THOMAS L                29136 ORVA DR                                                                        PUNTA GORDA         FL 33982‐8539
STACEY, TIMOTHY L               802 THOMAS ST                                                                        FLUSHING            MI 48433‐1762
STACEY, TIMOTHY M               2371 BROOKVIEW LN                                                                    DEWITT              MI 48820‐7115
STACEY, WILMA S                 9201 BELLFALL CT                                                                     COLUMBIA            MD 21045‐4004
STACH, DENNIS A                 G4280 VAN SLYKE RD                                                                   FLINT               MI 48507‐3546
STACH, J IRENE                  2766 NORWALK ST                                                                      HAMTRAMCK           MI 48212‐3420
STACH, J IRENE                  2766 NORWALK                                                                         HAMTRAMCK           MI 48212‐3420
STACH, KEVIN R                  901 S JOHNSON RD                                                                     TURLOCK             CA 95380‐6124
STACH, PAMELA J                 9186 TIMBERLINE DR                                                                   GRAND BLANC         MI 48439‐8322
STACHAK, MARY L                 2554 OAKWOOD DR                                                                      HILLSDALE           MI 49242‐9013
STACHAK, VINCENT T              2554 OAKWOOD DR                                                                      HILLSDALE           MI 49242‐9013
STACHE, MARK W                  17250 LAKE CT BEACH                                                                  HOLLAND             MI 49424
STACHECKI NANCY                 8113 FLAGSTAFF ST                                                                    COMMERCE TWP        MI 48382‐2333
STACHEL, JUDITH S               56 BRANDYWINE CT                                                                     BROWNSBURG          IN 46112‐1076
STACHEL, WALTER J               PO BOX 975                                                                           PRUDENVILLE         MI 48651‐0975
STACHELEK, GALE                 CONWAY & LONDREGAN              PO BOX 1351                                          NEW LONDON          CT 06320‐1351
STACHELSKI, DANIEL              38 YORKTOWN RD                                                                       CHEEKTOWAGA         NY 14225‐1836
STACHELSKI, DOLORES G           4781 HUNTWOOD PATH                                                                   MANLIUS             NY 13104‐1549
STACHELSKI, WANDA               6209 HIGHVIEW                                                                        DEARBORN HEIGHTS    MI 48127‐4801
STACHELSKI, WANDA               6209 HIGHVIEW ST                                                                     DEARBORN HEIGHTS    MI 48127‐4801
STACHERA JR, JOSEPH R           611 RAINBOW BLVD                                                                     LADY LAKE           FL 32159‐2455
STACHERA, DENNIS J              20 REGENT ST                                                                         LOCKPORT            NY 14094‐5017
STACHERA, JOHN J                6102 BUCKHEAD DR                                                                     NORTHPORT           AL 35473‐2229
STACHERSKI JR, KENNETH R        82 RIVER MIST DR                                                                     ELKTON              MD 21921‐6761
STACHERSKI JR, KENNETH ROBERT   82 RIVER MIST DR                                                                     ELKTON              MD 21921‐6761
STACHERSKI, AGNES               38638 SUMMERS ST                                                                     LIVONIA             MI 48154‐4994
STACHERSKI, DENNIS E            7516 ORMOND ROAD                                                                     DAVISBURG           MI 48350‐2421
STACHERSKI, DENNIS E            7516 ORMOND RD                                                                       DAVISBURG           MI 48350‐2421
STACHERSKI, ELEANORE            60 ORPAH DR                                                                          ELKTON              MD 21921‐4423
STACHERSKI, JOSEPHINE           35719 CANDLEWOOD DR                                                                  STERLING HEIGHTS    MI 48312‐4123
STACHERSKI, KENNETH R           60 ORPAH DR                                                                          ELKTON              MD 21921‐4423
STACHERSKI, SCOTT D             38638 SUMMERS ST                                                                     LIVONIA             MI 48154‐4994
STACHEWICZ, ANTHONY J           1249 NW SUN TERRACE CIR APT B                                                        PORT ST LUCIE       FL 34986‐2422
STACHEWICZ, DONALD A            179 AMBER ST                                                                         BUFFALO             NY 14220‐1861
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Name                       Address1                       Address2                     Address3   Address4         City                  State Zip
STACHEWICZ, JOSEPH         BELLUCK & FOX LLP              545 5TH AVE #4                                           NEW YORK               NY 10036‐5000
STACHEWICZ, STANISLAUS J   72 KEMP AVE                                                                             CHEEKTOWAGA            NY 14225‐4535
STACHNIK, BERNARD J        7493 S BOHEMIAN RD                                                                      MAPLE CITY             MI 49664‐8731
STACHNIK, DOLORES J        21718 VISNAW ST                                                                         ST CLAIR SHRS          MI 48081‐2701
STACHNIK, ELEANOR B        16877 CLUB DR                                                                           SOUTHGATE              MI 48195‐6510
STACHNIK, JOSEPH           16877 CLUB DRIVE                                                                        SOUTHGATE              MI 48195‐6510
STACHNIK, JULIANNA V       3356 ELMWOOD AVE                                                                        BUFFALO                NY 14217‐1016
STACHNIK, MARIE E          8165 SW 117TH LOOP                                                                      OCALA                  FL 34481‐3571
STACHNIK, STANLEY F        1220 MONTROSE AVE                                                                       ROYAL OAK              MI 48073‐2721
STACHNIK, STEPHEN T        8165 SW 117TH LOOP                                                                      OCALA                  FL 34481‐3571
STACHO, DAWN M             205 NORTH CHRISTINE CIRCLE                                                              MOUNT CLEMENS          MI 48043‐1508
STACHO, THEODORE M         4648 INVERNESS AVE                                                                      BRUNSWICK              OH 44212‐3291
STACHOROWSKI, LAWRENCE M   1405 BONNETT PL UNIT J                                                                  BEL AIR                MD 21015‐4989
STACHOVIC, RONALD J        10026 MOODY AVE                                                                         OAK LAWN                IL 60453‐3722
STACHOVIC, WAYNE J         4330 151ST ST                                                                           MIDLOTHIAN              IL 60445‐3246
STACHOW, DANIEL G          33952 FOUNTAIN BLVD                                                                     WESTLAND               MI 48185‐9423
STACHOWIAK JR, MICHAEL R   6 PINERIDGE CT                 CAROLINA SHORES                                          CAROLINA SHORES        NC 28467‐2569
STACHOWIAK, D M            2960 ROSE WAY DR                                                                        BAY CITY               MI 48706‐3077
STACHOWIAK, DELPHINE M     WEITZ & LUXENBERG              180 MAIDEN LANE                                          NEW YORK               NY 10038
STACHOWIAK, ESTHER R       14732 144TH AVE                                                                         SPRING LAKE            MI 49456‐9538
STACHOWIAK, FREDERICK J    76 FRANCIS AVE                                                                          BUFFALO                NY 14212‐2324
STACHOWIAK, GARY D         17211 MAYFIELD ST                                                                       ROSEVILLE              MI 48066
STACHOWIAK, GERALD E       6329 COTTER RD                                                                          ELLICOTTVILLE          NY 14731‐9774
STACHOWIAK, GLORIA         7640 FREE AVE                                                                           JACKSONVILLE           FL 32211
STACHOWIAK, GREG           3215 BAUER DR                                                                           SAGINAW                MI 48604‐2240
STACHOWIAK, HARRY JEROME   3457 S 91ST ST                                                                          MILWAUKEE              WI 53227‐4409
STACHOWIAK, KEITH R        MURPHY & PRACHTHAUSER SC       ONE PLAZA EAST,330 EAST                                  MILWAUKEE              WI 53202
                                                          KILBOURN AVENUE,SUITE 1200
STACHOWIAK, KEITH R        MURPHY & PRACHTHAUSER SC       ONE PLAZA EAST 330 EAST                                  MILWAUKEE             WI 53202
                                                          KILBOURN AVENUE SUITE 1200
STACHOWIAK, MARY           237 REYNICK AVENUE                                                                      SAGINAW               MI   48602‐3154
STACHOWIAK, NORMAN F       4832 BANNER ELK DR                                                                      STONE MOUNTAIN        GA   30083‐4931
STACHOWIAK, ROBERT D       PO BOX 8                                                                                ELMA                  NY   14059‐9646
STACHOWIAK, THADDEUS J     1015 22ND ST                                                                            BAY CITY              MI   48708‐7986
STACHOWICZ, EDWARD         4627 OVERLAND RD                                                                        BENSALEM              PA   19020‐1016
STACHOWICZ, GENEVIEVE      1088 BLUETICK LANE                                                                      ST HELEN              MI   48656‐9436
STACHOWICZ, RITA           5017 WOODLAND LANE                                                                      EAST CHINA            MI   48054‐4197
STACHOWICZ, ROBERT J       24810 COTTRELL RD                                                                       HARRISON TOWNSHIP     MI   48045‐3305
STACHOWICZ, WENDY          62819 BRAUN DR                                                                          WASHINGTON TOWNSHIP   MI   48094‐1834
STACHOWSKI, CAROLINE R     400 S BIRNEY ST                                                                         BAY CITY              MI   48708‐7582
STACHOWSKI, CHARLES L      2500 GARFIELD AVE                                                                       BAY CITY              MI   48708‐8644
STACHOWSKI, CHESTER A      309 S MEADOW DR                                                                         N TONAWANDA           NY   14120‐4887
STACHOWSKI, JAMES A        585 HILLCLIFF DR                                                                        WATERFORD             MI   48328
STACHOWSKI, LORRAINE B     119 BRUSH CREEK RD                                                                      AMHERST               NY   14221‐2742
STACHOWSKI, MICHAEL D      5599 COACHMANS LN                                                                       HAMBURG               NY   14075‐5854
STACHOWSKI, ROBERT D       6973 SANDPIPER CT                                                                       NORTH TONAWANDA       NY   14120‐1380
STACHOWSKI, THOMAS S       4670 NORTH RD                                                                           STANDISH              MI   48658‐9629
STACHOWSKI, VALENTINE J    281 CABLE ST                                                                            BUFFALO               NY   14206‐3201
STACHULETZ, DORIS E        1 MT VERNON AVE                                                                         BILLERICA             MA   01821‐1112
STACHULETZ, DORIS E        1 MOUNT VERNON AVE                                                                      BILLERICA             MA   01821‐1112
STACHURA, ALBIN A          614 71ST ST                                                                             NIAGARA FALLS         NY   14304‐2222
STACHURA, GENE J           1269 NW CATAWBA RD                                                                      PORT CLINTON          OH   43452‐2815
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Name                         Address1                         Address2                        Address3                  Address4         City                  State Zip
STACHURA, GREGORY P          67 BARBARA PL                                                                                               CHEEKTOWAGA            NY 14225
STACHURA, RONALD S           237 HOLLY ST                                                                                                BUFFALO                NY 14206‐3221
STACHURSKI, CELESTE
STACHURSKI, ROBERT R         5751 STEWART AVE                                                                                            PORT ORANGE           FL   32127‐4703
STACHURSKI, VIRGINIA J       29234 DESMOND DR                                                                                            WARREN                MI   48093‐2627
STACI BEASLEY                3607 LYNN STREET                                                                                            FLINT                 MI   48503‐4588
STACI E PATRICK              300 E MILWAUKEE ST                                                                                          DETROIT               MI   48202‐3234
STACI FIZET                  165 SURREY LN                                                                                               CANFIELD              OH   44406‐1539
STACI K FIZET                165 SURREY LN                                                                                               CANFIELD              OH   44406‐1539
STACI MILLER
STACI N SHERRER              3731 LAKEBEND DR APT A‐1                                                                                    DAYTON                OH   45404‐2938
STACI POWERS                 8643 ROSSMAN HWY                                                                                            DIMONDALE             MI   48821‐9631
STACI R POWERS               8643 ROSSMAN HWY                                                                                            DIMONDALE             MI   48821‐9631
STACI SHELTON                2160 NEEPER ST                                                                                              GRAND BLANC           MI   48439‐8520
STACI Y BOOKER               406 NOOJIN CT.                                                                                              EAST GADSDEN          AL   35903
STACIA DANCEY                5401 W DAILEY ST APT 3121                                                                                   GLENDALE              AZ   85306‐4774
STACIA DOWD                  65 MAIN ST                                                                                                  TERRYVILLE            CT   06786‐5103
STACIA GOLDEN JR             3357 E WILSON DR                                                                                            MOORESVILLE           IN   46158‐6167
STACIA L PASCALE             7464 BROOKWOOD DR                                                                                           BROOKFIELD            OH   44403‐9723
STACIA LANGEVIN              7 FOREST AVE                                                                                                NATICK                MA   01760‐4856
STACIA MIGLESZ               7681 CONNELLY RD                                                                                            MASURY                OH   44438‐1525
STACIA MIKISHKO              259 PADDOCK AVE                                                                                             MERIDEN               CT   06450‐6943
STACIA STEPKOSKI             55 GOSINSKI PARK                                                                                            TERRYVILLE            CT   06786‐6431
STACIE A LEWE                139 FOREST RD                                                                                               MEDWAY                OH   45341
STACIE A MAJESKI             821 WEST SPRING VALLEY                                                                                      CENTERVILLE           OH   45458‐3252
STACIE A MILLER              24289 US HIGHWAY 23 S                                                                                       PRESQUE ISLE          MI   49777‐‐ 91
STACIE A WILLIAMS            308 SYCAMORE RD.                                                                                            TRENTON               OH   45067
STACIE HARRIMAN              236 SW 23RD ST                                                                                              FT LAUDERDALE         FL   33315‐2539
STACIE HOUSE                 5340 JUDITH ANNE DR                                                                                         INDIANAPOLIS          IN   46236‐2755
STACIE KRAYSOVIC             8373 LENNON RD                                                                                              SWARTZ CREEK          MI   48473‐9716
STACIE L NAPIER              3032 LINDEN AVE                                                                                             DAYTON                OH   45410
STACIE LORAINE STRASSBERG    WEDBUSH SECURITIES CTDN          IRA SEP 05/30/2008              295 DEVON DR                               SAN RAFAEL            CA   94903
STACIE M GIVENS              3281 PARKMAN RD.                                                                                            SOUTHINGTON           OH   44470
STACIE M OVIATT              16738 MACKAN RD                                                                                             MARYSVILLE            OH   43040
STACIE PAVEGLIO              2343 STEPPING STONE PASS                                                                                    FLUSHING              MI   48433‐2589
STACIE R MAR                 121 E BEVERLY AVE                                                                                           PONTIAC               MI   48340‐2615
STACIE ROBERTS               322 N AUSTIN RD                                                                                             JANESVILLE            WI   53548‐8684
STACIE SATTLER               14691 BELLINO TER UNIT 101                                                                                  BONITA SPRINGS        FL   34135‐8366
STACIE TACKETT               326 STAHL AVE                                                                                               CORTLAND              OH   44410‐1140
STACIE WILLIAMS              567 SADDLE LN                                                                                               GROSSE POINTE WOODS   MI   48236‐2727
STACK GARY (447911)          BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                              NORTHFIELD            OH   44067
                                                              PROFESSIONAL BLDG
STACK HAL                    WAYNE STATE UNIVERSITY           656 W KIRBY ST                  3178 FACULTY ADMIN BLDG                    DETROIT               MI 48202‐3622
STACK JOHN EDWARD (429857)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                NORFOLK               VA 23510
                                                              STREET, SUITE 600
STACK JR, WILLIAM F          1659 S 50TH TER                                                                                             KANSAS CITY           KS   66106‐2328
STACK MARY                   21881 RED RIVER DR                                                                                          LAKE FOREST           CA   92630‐2723
STACK PATRICIA               913 LANTANA AVE                                                                                             BREA                  CA   92821‐6449
STACK, ADELE                 4135 MALLARD COURT                                                                                          COMMERCE TWP          MI   48382‐1888
STACK, AMY L                 1470 HOULIHAN RD                                                                                            SAGINAW               MI   48601
STACK, ANDREW R              3365 SUNHAVEN OVAL                                                                                          PARMA                 OH   44134‐5836
STACK, ANNE MARGARET         9800 LEE DR                                                                                                 EDEN PRAIRIE          MN   55347‐4800
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Name                   Address1                        Address2                      Address3   Address4         City              State Zip
STACK, BARBARA L       13896 ALLEN RD # 1                                                                        ALBION             NY 14411‐9253
STACK, BETTY           11141 LENNON RD.                                                                          SWARTZ CREEK       MI 48473‐8508
STACK, BRENDA L        5258 M‐52                                                                                 ST CHARLES         MI 48655‐8528
STACK, BRYAN L         1026 RICHLAND E                                                                           HEMLOCK            MI 48626‐9109
STACK, CATHERINE A     323 EDGEWATER PINES DR SW                                                                 WARREN             OH 44481‐9692
STACK, CHARLES A       2108 N 64TH TER                                                                           KANSAS CITY        KS 66104‐2603
STACK, CHARLES M       5708 VENOY RD                                                                             SAGINAW            MI 48604‐1131
STACK, DAVID J         1802 MOSHER ST # A                                                                        BAY CITY           MI 48706‐3516
STACK, DOLORES L       6825 FAIRVIEW AVE                                                                         DOWNERS GROVE       IL 60516‐3627
STACK, DOLORES L       6825 S FAIRVIEW AVE                                                                       DOWNERS GROVE       IL 60516‐3627
STACK, EDWARD          359 BOULEVARD                                                                             KENILWORTH         NJ 07033‐1538
STACK, ESTHER M        2011 N 83RD PL                                                                            KANSAS CITY        KS 66109‐2174
STACK, ESTHER M        2011 NORTH 83RD PLACE                                                                     KANSAS CITY        KS 66109
STACK, EVELYN          4104 HALTOM RD                                                                            HALTOM CITY        TX 76117‐1226
STACK, EVELYN          4104 HALTOM ROAD                                                                          HALTOM CITY        TX 76117‐1226
STACK, FREDERICK W     6355 RICK RD 46                                                                           UNIONVILLE         MI 48767
STACK, GERALD J        RR 1 BOX 170A                                                                             ELIZABETHTOWN       IL 62931‐9720
STACK, GERALD W        22 MCKENZIE CT                                                                            BUFFALO            NY 14227‐3237
STACK, GLEN E          7266 105TH ST                                                                             FLUSHING           MI 48433‐8725
STACK, HOWARD F        1665 BALDWIN RD                                                                           LAPEER             MI 48446‐9774
STACK, JAMES D         110 E COUNTRY LN                                                                          COLLINSVILLE        IL 62234‐4801
STACK, JAMES L         12434 ROHN RD                                                                             FENTON             MI 48430‐9574
STACK, JAMES M         251 S WILSON HEIGHTS RD                                                                   COLLINSVILLE        IL 62234‐5117
STACK, JAMES P         9800 LEE DR                                                                               EDEN PRAIRIE       MN 55347‐4800
STACK, JAMES P         470 CALDWELL RD                                                                           MIO                MI 48647‐9769
STACK, JERRY R         1016 SHELDON RD                                                                           GRAND HAVEN        MI 49417
STACK, JOHN A          5221 BROWN RD                                                                             MILLINGTON         MI 48746‐9422
STACK, JOHN EDWARD     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                       STREET, SUITE 600
STACK, JOHN F          PO BOX 2134                                                                               PAHRUMP           NV   89041‐2134
STACK, JOHN T          1970 LEMONTREE LN                                                                         COLLINSVILLE      IL   62234‐5251
STACK, JUNE A          3528 EAST ST                                                                              SAGINAW           MI   48601‐4944
STACK, KENNETH         2420 KINGSCROSS DR                                                                        SHELBY TOWNSHIP   MI   48316‐1250
STACK, KENNETH R       9435 TAYLORS TURN                                                                         CANADIAN LAKES    MI   49346‐8812
STACK, LAWRENCE A      15216 RESTWOOD DR                                                                         LINDEN            MI   48451‐8707
STACK, LEO D           607 E SMITH ST                                                                            BAY CITY          MI   48706‐3961
STACK, LEONARD J       37695 ADRIAN DR                                                                           STERLING HTS      MI   48310‐4010
STACK, MARY L          RR 1 BOX 170A                                                                             ELIZABETHTOWN     IL   62931‐9720
STACK, MARY L          RTE 1, BOX 170A                                                                           ELIZABETH TOWN    IL   62931‐9720
STACK, MATTHEW M       47737 WALDEN RD                                                                           MACOMB            MI   48044‐5008
STACK, MICHAEL P       110 MEADOW POINTE DR                                                                      FENTON            MI   48430‐1400
STACK, MICHAEL R       3179 PINE HOLLOW DR                                                                       RAVENNA           OH   44266‐8274
STACK, MICHAEL W       4851 N 123RD ST                                                                           KANSAS CITY       KS   66109‐3804
STACK, MICHAEL WAYNE   4851 N 123RD ST                                                                           KANSAS CITY       KS   66109‐3804
STACK, MILDRED O       PO BOX 157                                                                                LITCHFIELD        CT   06759‐0157
STACK, NADA M          1950 W CHESTNUT ST                                                                        CADILLAC          MI   49601‐9240
STACK, NADA M          1950 CHESTNUT ST                                                                          CADILLAC          MI   49601‐9240
STACK, PAUL T          4580 RHODE ISLAND DR APT 2                                                                YOUNGSTOWN        OH   44515‐4414
STACK, RALPH E         909 N SHORE BLVD                                                                          FRANKLIN          IN   46131‐7385
STACK, RAY C           1315 N TRUMBULL ST                                                                        BAY CITY          MI   48708‐6362
STACK, RICHARD E       231 E EAGLE DR                                                                            NINEVEH           IN   46164‐9042
STACK, RICHARD G       574 BAY HILL DR                                                                           AVON LAKE         OH   44012‐4108
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Name                        Address1                              Address2                       Address3                   Address4               City                    State Zip
STACK, RICHARD J            5380 PATTERSON DR                                                                                                      TROY                     MI 48085‐4006
STACK, ROBERT E             60139 9 MILE RD                                                                                                        SOUTH LYON               MI 48178‐9705
STACK, ROBERT G             RM 3‐220 GM BLDG                      JAPAN ASTEC                                                                      DETROIT                  MI 48202
STACK, ROBERT JAMES         APT 2                                 315 11TH AVENUE SOUTHEAST                                                        MINNEAPOLIS              MN 55414‐1929
STACK, ROBERT L             5258 M‐52                                                                                                              SAINT CHARLES            MI 48655
STACK, ROBERT W             530 MARK DR                                                                                                            FLUSHING                 MI 48433‐2120
STACK, SOPHIE               3278 POTOMAC AVE                                                                                                       WARREN                   MI 48091‐3964
STACK, STANLEY J            109 OAK ST                                                                                                             MEDINA                   NY 14103‐1225
STACK, STEPHEN R            1250 MAYVIEW WAY                                                                                                       WELLINGTON               FL 33414‐9062
STACK, THOMAS L             4261 GRANGE HALL RD LOT 36                                                                                             HOLLY                    MI 48442‐1171
STACK, TIMOTHY A            17346 TIMBER CRK                                                                                                       HOLLY                    MI 48442‐7901
STACK, TIMOTHY ARTHUR       17346 TIMBER CRK                                                                                                       HOLLY                    MI 48442‐7901
STACK, WALTER E             215 N HAMPTON ST                                                                                                       BAY CITY                 MI 48708‐6765
STACK, WILLIAM B            6209 CANTON DR                                                                                                         SAGINAW                  MI 48603‐3495
STACK, WILLIAM H            200 LINDIMORE ST                                                                                                       MINERVA                  OH 44657‐1222
STACK‐ON PRODUCTS CO        PO BOX 489                                                                                                             WAUCONDA                  IL 60084‐0489
STACKABLE JR, DAVID W       3155 PINETREE DR                                                                                                       GREENBUSH                MI 48738‐9622
STACKABLE, JENNIE E         1220 N ALSTOTT                                                                                                         HOWELL                   MI 48843‐7815
STACKABLE, KENNETH JAMES    12025 NATHALINE                                                                                                        REDFORD                  MI 48239‐2582
STACKER, ERIN L             3047 W CHERYLLYN LN                                                                                                    ANAHEIM                  CA 92804‐3168
STACKER, HOWARD G           GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                                     SAGINAW                  MI 48604‐2602
                                                                  260
STACKER, JEFFERY L          PO BOX 7752                                                                                                            OAKLAND                 CA    94601‐0752
STACKER, OBIE L             PO BOX 57                                                                                                              INKSTER                 MI    48141‐0057
STACKER, SHIRLEY            6016 S CHAMPLAIN                                                                                                       CHICAGO                 IL    60637‐2512
STACKER, VALERIE J          PO BOX 13968                                                                                                           LOS ANGELES             CA    90013
STACKHOUSE, CHRISTOPHER L   1175 COUNTY ROAD 1475                                                                                                  ASHLAND                 OH    44805‐9745
STACKHOUSE, DAVID L         1188 CO RD 1475, RD 4                                                                                                  ASHLAND                 OH    44805
STACKHOUSE, EDWARD E        812 OHIO ST                                                                                                            ASHLAND                 OH    44805‐1130
STACKHOUSE, ERNEST L        117 E MAIN ST                                                                                                          MIDDLETOWN              DE    19709‐1446
STACKHOUSE, HOWARD D        34802 E 307TH ST                                                                                                       GARDEN CITY             MO    64747‐8431
STACKHOUSE, NATALIE K       14347 ADEN RD                                                                                                          NOKESVILLE              VA    20181‐3126
STACKHOUSE, ROSEANN         2402 HUNTERS RDG                                                                                                       BOARDMAN                OH    44512‐8108
STACKLE, MICHAEL J          506 SHERMAN AVE E                                                                                                      FORT ATKINSON           WI    53538‐1959
STACKMAN, CLIFFORD C        PO BOX 267                                                                                                             HOUGHTON LAKE HEIGHTS   MI    48630‐0267

STACKMAN, RULETTA A         48 SPINLEY CT                                                                                                          ROCHESTER               NY    14626‐1514
STACKMAN, RULETTA A         48 SPINLEY COURT                                                                                                       ROCHESTER               NY    14626‐1514
STACKO, IRENE M             7236 W 130TH ST                                                                                                        MIDDLEBURG HEIGHTS      OH    44130‐7813
STACKPOLE JR, ED D          PO BOX 381                                                                                                             LAKE MILTON             OH    44429‐0381
STACKPOLE LIMITED           2430 ROYAL WINDSOR DRIVE                                                                        MISSISSAUGA ON L5J 1
                                                                                                                            CANADA
STACKPOLE LTD               128 MONTEITH AVE                                                                                STRATFORD CANADA ON
                                                                                                                            N5A 6T7 CANADA
STACKPOLE LTD               KANTI PATEL                           PRECISION METAL COMPONENTS     1325 CORMORANT ROAD                               NOBLESVILLE              IN   46062
                                                                  DIV
STACKPOLE LTD               ROB ALLEY                             ENGINEERED PRODUCTS DIV        1310 CORMORANT ROAD                               TUCKER                  GA 30085
STACKPOLE LTD               KANTI PATEL                           ENGINEERED PRODUCTS DIV.       2400 ROYAL WINDSOR DRIVE                          KINGS MOUNTAIN          NC 28086

STACKPOLE LTD               KANTI PATEL X4590                     2430 ROYAL WINDSOR DR.                                    RODNEY ON CANADA
STACKPOLE LTD               550 EVANS AVE                                                                                   TORONTO ON M8W 2V6
                                                                                                                            CANADA
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Name                             Address1                                Address2                            Address3                     Address4                 City            State Zip
STACKPOLE LTD                    1325 CORMORANT ROAD                                                                                      ANCASTER ON L9G 4V5
                                                                                                                                          CANADA
STACKPOLE MICHAEL J (431531)     WILENTZ GOLDMAN & SPITZER               88 PINE STREET , WALL STREET                                                              NEW YORK         NY 10005
                                                                         PLAZA
STACKPOLE, JEAN A                PO BOX 334                                                                                                                        OSCODA           MI 48750‐0334
STACKPOLE, MICHAEL J             WILENTZ GOLDMAN & SPITZER               88 PINE STREET, WALL STREET PLAZA                                                         NEW YORK         NY 10005

STACKPOLE, PAUL E                1294 MAIZE CT                                                                                                                     COLUMBUS        OH 43229‐6312
STACKPOLE, RAYMOND               GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                                                  SAGINAW         MI 48604‐2602
                                                                     260
STACKPOLE, ROGER A               455 GLASTONBURY TPKE                                                                                                              PORTLAND         CT   06480‐1034
STACKPOLE/2430 ROYAL             2430 ROYAL WINDSOR DRIVE                                                                                 MISSISSAUGA ON L5J 1K7
                                                                                                                                          CANADA
STACKPOLE/GATES CANADA           1325 CORMORANT RD                                                                                        HAMILTON ON CANADA
STACKPOLE/TORONTO                2430 ROYAL WINDSOR DRIVE                                                                                 MISSISSAUGA ON L5J 1K7
                                                                                                                                          CANADA
STACKPOOLE, KATHERINE M          2920 SELWYN CIR                                                                                                                   SANTA BARBARA   CA    93105‐2240
STACKS JR., CHARLES S            1196 E 172ND ST                                                                                                                   CLEVELAND       OH    44119‐3152
STACKS, CECIL R                  144 CARROLLWOOD DRIVE                                                                                                             FAYETTEVILLE    GA    30215‐5445
STACKS, JENNIE                   7159 WILLIAMSBURG DR                                                                                                              RIVERDALE       GA    30274‐3335
STACKS, KENNETH E                3518 E NORWICH AVE                                                                                                                FRESNO          CA    93726‐2451
STACKS, MARY E                   1324 LEISURE DR                                                                                                                   FLINT           MI    48507‐4054
STACKUS, BOBBIE J                3234 WYOMING AVE                                                                                                                  FLINT           MI    48506‐2517
STACS                            SALES TAX DIVISION                      PO BOX 3989                                                                               MUSCLE SHOALS   AL    35662‐3989
STACS SALES TAX DIVISION         PO BOX 3989                                                                                                                       MUSCLE SHOALS   AL    35662‐3989
STACY
STACY A CAMPBELL                 P.O. BOX 111                                                                                                                      WEST ELKTON     OH    45070‐0111
STACY A KNOBLOCK                 601 E LINDEN                                                                                                                      MIAMISBURG      OH    45342‐2407
STACY A PERKINS                  805 E BROADWELL ST                                                                                                                ALBION          MI    49224‐1407
STACY A WILLIAMSON               2155 E SCOTTWOOD AVE                                                                                                              BURTON          MI    48529‐1751
STACY AGUILAR                    1208 1/2 1ST CENTER AVE                                                                                                           BRODHEAD        WI    53520‐1505
STACY ALTERMAN WIFE OF KENNETH   ATTN J KENT EMISON                      LANGDON & EMISON                    911 MAIN STREET PO BOX 220                            LEXINGTON       MO    64067
ALTERMAN DECEASED
STACY ANDERSON                   7715 TRESTLEWOOD DR APT 1B                                                                                                        LANSING         MI    48917‐8797
STACY ASBRIDGE                   6394 WAILEA DR                                                                                                                    GRAND BLANC     MI    48439‐8595
STACY ATKINS                     202 ADIRONDACK TRL                                                                                                                ARLINGTON       TX    76002‐4704
STACY BITNER                     332 DOROTHY LN                                                                                                                    NEW LEBANON     OH    45345‐1617
STACY BLAIR                      942 FAIRVIEW AVE                                                                                                                  PONTIAC         MI    48340‐2521
STACY BOATRIGHT                  4545 DECATUR HWY                                                                                                                  TEN MILE        TN    37880‐2430
STACY BOGATAJ                    44944 BROADMOOR CIR S                                                                                                             NORTHVILLE      MI    48168‐8644
STACY BURNETTE                   1790 PARKER LN                                                                                                                    TWINSBURG       OH    44087‐2518
STACY CHARLES                    2716 SURFSIDE DR                                                                                                                  VILLA HILLS     KY    41017‐1073
STACY COLE                       1802 BELMEAD LN                                                                                                                   IRVING          TX    75061‐4423
STACY CORBIN                     37 MAJESTIC LAKES CT                                                                                                              MOSCOW MILLS    MO    63362‐1880
STACY COX                        NOT AVAILABLE
STACY DADISMAN                   3738 HERR FIELDHOUSE RD                                                                                                           SOUTHINGTON     OH 44470‐9543
STACY DAVIS ‐ WOFFORD            820 MACMILLIAN STREET                                                                                                             TROTWOOD        OH 45426
STACY DEREMER                    11001 OLD SAINT AUGUSTINE RD APT 2006                                                                                             JACKSONVILLE    FL 32257

STACY DIEMEL                     14008 HAULEY RD                                                                                                                   DURAND           IL 61024‐9713
STACY DISTEL                     8590 COOLEY LAKE RD                                                                                                               COMMERCE TWP     MI 48382‐4721
STACY DURAN‐ SHELLS              3136 COLUMBINE DR                                                                                                                 SAGINAW          MI 48603‐1920
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Name                      Address1                           Address2          Address3         Address4         City            State Zip
STACY E CARR              33 SOUTH CARNEGIE AVE.                                                                 NILES            OH 44446
STACY FISCHER             15222 4‐3                                                                              METAMORA         OH 43540
STACY FRITZ               7078 CROSSWINDS DR                                                                     SWARTZ CREEK     MI 48473‐9778
STACY HARRIS              578 BROOKS CT                                                                          OXFORD           MI 48371‐6736
STACY HEETER              1458 RIVERBEND DR                                                                      DEFIANCE         OH 43512‐6878
STACY HEUSTED             3478 CRANDON DR                                                                        DAVISON          MI 48423‐8588
STACY HUGHES              23976 CORESSEL RD                                                                      DEFIANCE         OH 43512‐9616
STACY HYLTON              116 FRANCIS ST                                                                         FERRELVIEW       MO 64163‐1608
STACY INSURANCE           1021 N MAIN ST                                                                         FINDLAY          OH 45840‐3671
STACY JACKSON‐JOHNSON     325 SUGARMAPLE LANE                                                                    ONTARIO          OH 44903
STACY JOHN S              5005 PELICAN CT                                                                        SPRING HILL      TN 37174‐8612
STACY JOHNSON             2708 E 80TH 1ST FLOOR                                                                  CHICAGO           IL 60617
STACY JOYNER              9120 STONEGATE DR                                                                      CLARKSTON        MI 48348‐2470
STACY JR, CHRISTOPHER     922 FOXTAIL CIR                                                                        TIPP CITY        OH 45371‐2776
STACY JR, DON L           833 WILLOW RD                                                                          SPRINGFIELD      OH 45502‐7545
STACY JR, RICHARD E       1112 W 550 S                                                                           ANDERSON         IN 46013‐9775
STACY JR, WILLIAM         565 OVERLOOK TRL                                                                       PLAINFIELD       IN 46168‐1083
STACY JR,DON L            833 WILLOW RD                                                                          SPRINGFIELD      OH 45502‐7545
STACY KUBIK               11331 LINDEN RD                                                                        FENTON           MI 48430‐8906
STACY KUNZ                9447 BURNING TREE DR                                                                   SAGINAW          MI 48609‐9521
STACY L BURNETTE          1790 PARKER LN                                                                         TWINSBURG        OH 44087‐2518
STACY L DADISMAN          3738 HERR FIELDHOUSE RD                                                                SOUTHINGTON      OH 44470‐9543
STACY L GETTER            10951 PUTNAM RD                                                                        ENGLEWOOD        OH 45322
STACY L JOHNSON           167 FRAYNE DR 1                                                                        NEW CARLISLE     OH 45344
STACY L KELLER            1547 SARASOTA DR                                                                       TOLEDO           OH 43612‐4032
STACY L MONTAGUE          257 SMITH ST                                                                           DAYTON           OH 45408‐2038
STACY L MOORE             1420 NORTHWOOD RD                  #241 L                                              SEAL BEACH       CA 90740
STACY L MURDOCK           37 SOUTH RIVER ST C/0 TRUST 8518                                                       AURORA            IL 60506
STACY L WILLIAMS          752 FAIRGROVE WAY                                                                      TROTWOOD         OH 45426‐2211
STACY LAWHORN             20 BENWELL PL                                                                          YODER            IN 46798‐9302
STACY LAWLESS
STACY LEBAR               36288 JAMISON ST                                                                       LIVONIA         MI   48154‐5115
STACY LEE                 37 S RIVER ST                      C/O TRUST 8518                                      AURORA          IL   60506‐4173
STACY LYON                11633 E 16TH ST S                                                                      INDEPENDENCE    MO   64052‐3922
STACY M BRYANT            1166 MCKINLEY ST NE                                                                    WARREN          OH   44483‐5138
STACY M CRISTLE           1218 E DOWNEY AVE                                                                      FLINT           MI   48505‐1627
STACY M DAVIS ‐ WOFFORD   820 MACMILLIAN STREET                                                                  TROTWOOD        OH   45426
STACY MARTIN              1633 WILLIAM SMITH RD                                                                  ELBERTON        GA   30635‐4142
STACY MARTIN              9625 ROYALTON DR                                                                       SHREVEPORT      LA   71118‐4319
STACY MARTINEZ            4776 W 100 N                                                                           KOKOMO          IN   46901‐3744
STACY MCCART              2380 STROUD RD                                                                         JACKSON         GA   30233‐2810
STACY MCGAHEY             14520 S HARVEY AVE                                                                     OKLAHOMA CITY   OK   73170‐7211
STACY MERRILL             2097 N BELSAY RD                                                                       BURTON          MI   48509‐1321
STACY MORRISS             709 S OAKLAND ST                                                                       HARRISONVILLE   MO   64701‐2117
STACY NIMMO‐SPITLER       2750 HIBBARD RD                                                                        CORUNNA         MI   48817‐9306
STACY OWENS               7501 GRANDMONT AVE                                                                     DETROIT         MI   48228‐4804
STACY ROBERSON            231 DAKOTA ST                                                                          YPSILANTI       MI   48198‐6017
STACY RODRIGUEZ           6198 CRAMLANE DR                                                                       CLARKSTON       MI   48346‐2404
STACY ROLISON             5010 PLANO RD                                                                          BOWLING GREEN   KY   42104‐7875
STACY ROTH                838 GRADY AVE NW                                                                       WARREN          OH   44483‐2127
STACY S GORDON            2020 PIEDMONT CUTOFF                                                                   GADSDEN         AL   35903‐2808
STACY S WILLIAMS          435 VERANDA WAY APT 513                                                                MOUNT DORA      FL   32757‐6177
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Name                         Address1                           Address2                      Address3   Address4         City            State Zip
STACY SHRAMEK                141 S BUCKLEY ST                                                                             ALMA CENTER      WI 54611
STACY SIMS                   4200 MIDWAY AVE                                                                              DAYTON           OH 45417‐1314
STACY SNIDER                 124 N PLEASANT AVE                                                                           NILES            OH 44446‐1137
STACY SOLDANO                8618 ARMINDA CIR UNIT 60                                                                     SANTEE           CA 92071‐3679
STACY STEELE                 5136 BELVEDERE DR                                                                            STONE MTN        GA 30087‐3920
STACY SUITS                  7807 DONCASTER                                                                               AUSTIN           TX 78745
STACY SWIATKOWSKI            8503 RAVINE DR                                                                               WESTLAND         MI 48185‐1145
STACY WALTON                 2028 OLYMPIA CT                                                                              FORT WAYNE       IN 46808‐1422
STACY WEINSTOCK              2240 CHASE COURTE                                                                            ARLINGTON        TX 76013
STACY WELDON                 261 SETTLERS PARK DR                                                                         SHREVEPORT       LA 71115
STACY WHITE                  1214 WOODLAND HTS                                                                            DOUGLAS          GA 31535‐6904
STACY WILLIAM KEN (482027)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                STREET, SUITE 600
STACY WILLIAMS               445 VERANDA WAY                    APT 513                                                   MOUNT DORA      FL    32757
STACY WINKLER                1288 REDBUD LN                                                                               COLUMBIA        TN    38401‐8060
STACY WOODALL                RR 4 BOX 9326                                                                                EUFAULA         OK    74432‐9493
STACY WRIGHT                 712 TOM ST                                                                                   MALDEN          MO    63863‐1726
STACY, ADA R                 100 TIFFANY LN                                                                               CARLISLE        OH    45005‐6226
STACY, ALBERT                1050 WING DR                                                                                 ANN ARBOR       MI    48103‐1467
STACY, ALLENE N              812 FITCHLAND DR                                                                             VANDALIA        OH    45377‐1326
STACY, ANDREW J              5931 W STATE ROAD 11                                                                         JANESVILLE      WI    53548‐9298
STACY, ANNA L                12022 SEYMOUR RD                                                                             MONTROSE        MI    48457‐9782
STACY, ANNA LORENE           12022 SEYMOUR RD                                                                             MONTROSE        MI    48457‐9782
STACY, ANNE W                19208 SOUNDVIEW DR NW                                                                        STANWOOD        WA    98292
STACY, APRIL A               1213 FUDGE DR                                                                                BEAVERCREEK     OH    45434‐6720
STACY, BARBARA F             2514 BULLOCK ROAD                                                                            LAPEER          MI    48446‐9754
STACY, BARBARA F             2514 BULLOCK RD                                                                              LAPEER          MI    48446‐9754
STACY, BARBARA L             34911 SNOW EGRET AVE                                                                         ZEPHYRHILLS     FL    33541‐2673
STACY, BEATRICE              201 E ELIZABETH ST APT 202                                                                   FENTON          MI    48430
STACY, BEATRICE              201 E. ELIZABETH ST                APT 202                                                   FENTON          MI    48430
STACY, BERNICE               1202 NUNNERY DR                                                                              MIAMISBURG      OH    45342‐1715
STACY, BONDY L               12860 LUICK DR                                                                               CHELSEA         MI    48118‐9543
STACY, BRASFIELD             PORTER & MALOUF PA                 4670 MCWILLIE DR                                          JACKSON         MS    39206‐5621
STACY, BRYAN A               709 E POLAND AVE                                                                             BESSEMER        PA    16112‐9733
STACY, BURL                  217 EATON AVE                                                                                EATON           OH    45320‐1027
STACY, CAROLE L              825 W DAYTON YELLOW SPRINGS RD                                                               FAIRBORN        OH    45324‐9757
STACY, CAROLE L              825 DAYTON‐YELLOW SPRINGS                                                                    FAIRBORN        OH    45324‐5324
STACY, CECIL R               1190 TEAKWOOD DR                                                                             MILFORD         OH    45150‐2141
STACY, CHARLES L             2716 SURFSIDE DR                                                                             VILLA HILLS     KY    41017‐1073
STACY, CHARLES R             12022 SEYMOUR RD                                                                             MONTROSE        MI    48457‐9782
STACY, CLYDE D               2718 HAZELBROOK DR                                                                           DAYTON          OH    45414‐2818
STACY, DALE E                11147 CHESTNUT SQ                                                                            MIAMISBURG      OH    45342‐4889
STACY, DANIEL M              5480 N MCKINLEY RD                                                                           FLUSHING        MI    48433‐1128
STACY, DANIEL MAC            5480 N MCKINLEY RD                                                                           FLUSHING        MI    48433‐1128
STACY, DAWN E                261 JUDY AVE                                                                                 CARLISLE        OH    45005‐1323
STACY, DIXIE M               1574 LUCAS RD                                                                                MANSFIELD       OH    44903‐9670
STACY, DON L                 7145 MAUFORD DR                                                                              HUBER HEIGHTS   OH    45424‐3154
STACY, DONALD C              84 GREEN MANOR DR                                                                            BUTLER          PA    16002‐3652
STACY, DOUGLAS J             2004 DONA JANE DR                                                                            O FALLON        MO    63366‐3356
STACY, DOUGLAS J.            2004 DONA JANE DR                                                                            O FALLON        MO    63366‐3356
STACY, E
STACY, EDWARD                310 LINDA DR                                                                                 MOUNTAINSIDE     NJ   07092‐2116
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Name                  Address1                         Address2           Address3         Address4         City            State Zip
STACY, EDWARD L       5794 LEETONIA RD                                                                      LEETONIA         OH 44431‐9751
STACY, ELEANOR M      11203 HORTON RD                                                                       GOODRICH         MI 48438‐9505
STACY, EZEKLE N       1365 BORGSTROM AVE                                                                    YPSILANTI        MI 48198‐6407
STACY, FRANK V        1471 ATWATER ST                                                                       SAGINAW          MI 48601‐2705
STACY, FREDERICK J    11 NORWOOD AVE                                                                        WOODBRIDGE       NJ 07095‐3219
STACY, GEORGE E       3255 W LAKE RD                                                                        CLIO             MI 48420‐8819
STACY, GREGORY T      2718 HAZELBROOK DR                                                                    DAYTON           OH 45414‐2818
STACY, HAROLD D       21 PINE CT. WOODLAND HILLS                                                            MOORESVILLE      IN 46158
STACY, HAROLD D       PO BOX 912                                                                            MOORESVILLE      IN 46158‐0912
STACY, HAROLD E       4140 TROUSDALE LN                                                                     COLUMBIA         TN 38401‐8403
STACY, HELEN M        135 SOLAR DR                                                                          TIPP CITY        OH 45371‐9491
STACY, HELEN M        135 SOLAR DR.                                                                         TIPP CITY        OH 45371‐9491
STACY, JAMES A        1723 STARK AVE NW                                                                     GRAND RAPIDS     MI 49534‐2247
STACY, JAMES D        8210 LINDEN RD                                                                        SWARTZ CREEK     MI 48473‐9151
STACY, JAMES L        PO BOX 447                                                                            MONTROSE         MI 48457
STACY, JAMES R        778 GREYHOUND DR                                                                      NEW LEBANON      OH 45345‐1678
STACY, JANET L        4982 N 800 E                                                                          WINDFALL         IN 46076‐9311
STACY, JASON B        320 LINDDER DR                                                                        SEVIERVILLE      TN 37876‐1196
STACY, JERRY D        7003 MAPLEWOOD DR                                                                     TEMPERANCE       MI 48182‐1328
STACY, JERRY DEAN     7003 MAPLEWOOD DR                                                                     TEMPERANCE       MI 48182‐1328
STACY, JOHN S         5005 PELICAN CT                                                                       SPRING HILL      TN 37174‐8612
STACY, JOSEPHINE M    472 BARRY RD                                                                          ROCHESTER        NY 14617‐4709
STACY, JUSTIN M       1775 STATEHOUSE CT                                                                    BELLBROOK        OH 45305‐1215
STACY, KATHRYN J      84 E BACK BAY RD                                                                      BOWLING GREEN    OH 43402‐9228
STACY, KERMIT L       11574 SHORT CUT RD                                                                    CLOVERDALE       IN 46120‐8067
STACY, KERMIT L       3630 W CROSS ST                                                                       ANDERSON         IN 46011
STACY, KEVIN R        3810 REVERE DR                                                                        TOLEDO           OH 43612‐1108
STACY, KEVIN ROBERT   3810 REVERE DR                                                                        TOLEDO           OH 43612‐1108
STACY, KURT A         13 SUNSET HILLS AVE NW                                                                GRAND RAPIDS     MI 49544
STACY, LARRY N        6330 PINE CONE DRIVE                                                                  DAYTON           OH 45449‐5449
STACY, LAURIE E       7108 CLAWSON RIDGE CT                                                                 LIBERTY TWP      OH 45011‐9120
STACY, LAWSON D       1150 EBENEZER CHURCH RD                                                               RISING SUN       MD 21911‐2518
STACY, LEE J          57 SHERIDAN ST                                                                        PONTIAC          MI 48342‐1471
STACY, LENA P         825 W DAYTON YELLOW SPRINGS RD                                                        FAIRBORN         OH 45324‐9757
STACY, LINDA C        611 SYCAMORE ST                                                                       TIPTON           IN 46072‐1562
STACY, LUTHER E       5710 SUSAN DR                                                                         CASTALIA         OH 44824‐9755
STACY, MANUEL L       825 W DAYTON YELLOW SPRINGS RD                                                        FAIRBORN         OH 45324‐9757
STACY, MANUEL L       825 DAYTON YELLOW SPRINGS                                                             FAIRBORN         OH 45324‐5324
STACY, MARGARET E     12415 STATE ROUTE 774                                                                 BETHEL           OH 45106
STACY, MARTHA W       3630 W CROSS ST                                                                       ANDERSON         IN 46011
STACY, MARVIN C       237 S TECUMSEH RD                                                                     SPRINGFIELD      OH 45506
STACY, MELVIN         322 S. THIRD ST                                                                       MIAMISBURG       OH 45342‐2933
STACY, MELVIN         322 S 3RD ST                                                                          MIAMISBURG       OH 45342‐2933
STACY, MICHAEL J      1341 WYSONG RD                                                                        W ALEXANDRIA     OH 45381‐9737
STACY, NANCY R        853 S CARLSON ST                                                                      WESTLAND         MI 48186‐4004
STACY, PAMELA L
STACY, PATRICIA L     2033 BEAR RIDGE RD APT 103                                                            BALTIMORE       MD   21222‐5787
STACY, PATTY J        565 OVERLOOK TRL                                                                      PLAINFIELD      IN   46168‐1083
STACY, PAULINE L      1434 FLESHER AVENUE                                                                   KETTERING       OH   45420‐3319
STACY, PHYLLIS A      2125 LONOAK COURT                                                                     SEVIERVILLE     TN   37876
STACY, RICHARD J      95 DOROTHY AVE                                                                        EDISON          NJ   08837‐3062
STACY, RICHARD W      2318 LYNDHURST DR                                                                     SUN CITY CTR    FL   33573‐4886
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Name                          Address1                       Address2                      Address3   Address4         City              State Zip
STACY, RICKEY                 2617 CORAL RIDGE CT                                                                      DAYTON             OH 45449‐2833
STACY, ROBERT E               4401 IRELAN ST                                                                           KETTERING          OH 45440‐1532
STACY, ROBERT J               84 E BACK BAY RD                                                                         BOWLING GREEN      OH 43402‐9228
STACY, ROBERT JAY             84 E BACK BAY RD                                                                         BOWLING GREEN      OH 43402‐9228
STACY, RONALD H               5698 SHADOW OAKS PL                                                                      KETTERING          OH 45440‐2710
STACY, RONALD W               2106 CR NUMBER 35                                                                        NORWOOD            NY 13668
STACY, ROY H                  31223 ROUTE 30                                                                           HANOVERTON         OH 44423
STACY, ROY J                  320 SHADY OAKS DR                                                                        SOUTHLAKE          TX 76092‐6151
STACY, SANDRA L.              217 E PINEVIEW DR                                                                        SAGINAW            MI 48609‐9420
STACY, SHAWN H                1213 FUDGE DR                                                                            BEAVERCREEK        OH 45434‐6720
STACY, SONDRA L               209 E HIGH ST                                                                            DEFIANCE           OH 43512‐1847
STACY, SONDRA LOUISE          209 E HIGH ST                                                                            DEFIANCE           OH 43512‐1847
STACY, SONIA C                145 LAURA BOLING LOOP ROAD                                                               STRAW PLAINS       TN 37871‐5726
STACY, SURRILDI               PO BOX 57                                                                                MAYBEE             MI 48159‐0057
STACY, SURRILDI               9068 CENTER ST P O BOX 57                                                                MAYBEE             MI 48159‐0057
STACY, THELMA LOUISE          2319 GREENTREE ST APT A                                                                  INDIANAPOLIS       IN 46227‐5716
STACY, THELMA M               11200 HARTFORD RD                                                                        WASHINGTON         MI 48094‐3621
STACY, THURMAN                2037 E COOK RD                                                                           GRAND BLANC        MI 48439‐8330
STACY, TIMOTHY S              132 AUSTEN CT                                                                            ROSEVILLE          CA 95747‐6480
STACY, TONY L                 3515 PINE GREEN DR                                                                       DAYTON             OH 45414‐2424
STACY, TONY L                 3515 PINEGREEN DRIVE                                                                     DAYTON             OH 45414‐5414
STACY, TROY A                 2518 CAMPBELL ST                                                                         SANDUSKY           OH 44870‐5309
STACY, VERLAN R               1343 DENIES ST                                                                           BURTON             MI 48509‐2120
STACY, VERNA M                331 FRED ST                                                                              CASHTON            WI 54619‐8036
STACY, VERNA M                331 FRED                                                                                 CASHTON            WI 54619‐8036
STACY, VICKI                  264 WINDSOR WAY                                                                          THOMSON            GA 30824
STACY, VIRGINIA L             450 NORTH ELM STREET           APT 252                                                   WEST CARROLLTON    OH 45449‐5449
STACY, VIRGINIA L             450 N ELM ST APT 252                                                                     WEST CARROLLTON    OH 45449‐1264
STACY, WANDA L                PO BOX 128                                                                               BLACKLICK          OH 43004‐0128
STACY, WILLIAM K              GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
STACY, WILLIAM W              2329 GOLFVIEW DR APT 205                                                                 TROY              MI   48084‐3911
STACY, WILLIAM W              11660 S MERIDIAN LINE RD                                                                 CLOVERDALE        IN   46120‐9163
STACY, WORLEY B               11203 HORTON RD                                                                          GOODRICH          MI   48438‐9505
STACY,RICKEY                  2617 CORAL RIDGE CT                                                                      DAYTON            OH   45449‐2833
STADDAN LOUIS H JR (471351)   WEITZ & LUXENBERG              180 MAIDEN LANE                                           NEW YORK          NY   10038
STADDAN, LOUIS H              WEITZ & LUXENBERG              180 MAIDEN LANE                                           NEW YORK          NY   10038
STADDIE EDWARDS               212 HIGHPOINT DR APT 104                                                                 ROMEOVILLE        IL   60446‐4921
STADDON, WARREN L             3240 REVLON DR                                                                           KETTERING         OH   45420‐1247
STADE LARRY                   5201 LUCINDA DR                                                                          PRESCOTT          MI   48756‐9137
STADE, ALDYS J                58915 ROMEO PLANK RD                                                                     RAY               MI   48096‐4133
STADE, FREDERICK N            6240 BOB WHITE DR                                                                        ENGLEWOOD         FL   34224‐9753
STADE, JEFFERSON A            16401 27 MILE RD                                                                         RAY               MI   48096‐3414
STADE, KEITH F                3730 LOFTUS RD                                                                           FREEPORT          MI   49325‐9752
STADE, PAUL A                 53220 JEWELL RD                                                                          SHELBY TOWNSHIP   MI   48315‐1724
STADEL SALLIE                 795 MALENA DR                                                                            ANN ARBOR         MI   48103‐9360
STADEL, DALE J                9287 LAKE HWY                                                                            VERMONTVILLE      MI   49096‐9781
STADEL, DARYL D               130 S OLIVER ST                                                                          CHARLOTTE         MI   48813‐1533
STADEL, DARYL DEAN            130 S OLIVER ST                                                                          CHARLOTTE         MI   48813‐1533
STADEL, DOUGLAS M             238 TRINITY CIR                                                                          LANSING           MI   48911‐3768
STADEL, ELIZABETH L           1076 HALLOWELL ROAD                                                                      DURHAM            ME   04222
STADEL, JAMES C               795 MALENA DR                                                                            ANN ARBOR         MI   48103‐9360
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Name                                Address1                          Address2              Address3      Address4         City             State Zip
STADEL, RICHARD D                   1781 BROOKFIELD RD                                                                     CHARLOTTE         MI 48813‐9196
STADELBAUER FREDERICK               25684 COLLINGWOOD ST                                                                   ROSEVILLE         MI 48066‐5716
STADELMAIER, ALBERT F               512 CONCORD AVE                                                                        ROMEOVILLE         IL 60446‐1316
STADELMAN ALVIN                     PO BOX 109                                                                             WINTER PARK       CO 80482‐0109
STADELMAN, ANGELINE                 4510 SHERIDAN DRIVE                                                                    WILLIAMSVILLE     NY 14221
STADELMAN, KEVEN P                  1588 DAFFODIL PL                                                                       LEWIS CENTER      OH 43035‐7265
STADELMAN, KRISTI R                 1588 DAFFODIL PL                                                                       LEWIS CENTER      OH 43035‐7265
STADELMAN, SHIRLEY E.               34788 FARGO DR                                                                         STERLING HTS      MI 48312‐5033
STADELMAYER, CHARLES J              3119 E KOENIG AVE                                                                      ST FRANCIS        WI 53235‐4235
STADIE, ELFRIEDE K                  2055 E GEORGIA ST                                                                      BARTOW            FL 33830
STADIE, ELFRIEDE K                  51 E THOMAS ST                                                                         AVON PARK         FL 33825‐2729
STADIE, SIEGRIED                    4489 MERLIN DR                                                                         FLINT             MI 48507‐3441
STADIUM CHEVROLET BUICK PONTIAC GMC 292 W STATE ST                                                                         SALEM             OH 44460‐2756

STADIUM CHEVROLET BUICK PONTIAC GMC FLOR NAVARRO                      292 W STATE ST                                       SALEM            OH 44460‐2756
CADILLAC, INC.
STADIUM CHEVROLET BUICK PONTIAC GMC PO BOX 587                                                                             SALEM            OH 44460
CADILLAC, INC.
STADIUM COMPETITIONS INC               PO BOX 1537                                                                         GAINESVILLE       TX   76241‐1537
STADIUM COMPETITIONS INC               1714 N CULBERSON ST            PO BOX 1537                                          GAINESVILLE       TX   76240‐2124
STADIUM MOTORS                         114 ROUTE 32                                                                        NORTH FRANKLIN    CT   06254‐1811
STADIUM TROPHY AWARDS                  1886 PACKARD RD                                                                     YPSILANTI         MI   48197‐1817
STADLBAUER SPIEL ‐ UND FREIZEITARTIKEL
GMBH
STADLBERGER, ERIC J                    5991 BARNES RD                                                                      BROWN CITY       MI    48416‐9010
STADLBERGER, THERON F                  5317 VINEYARD LN                                                                    FLUSHING         MI    48433‐2437
STADLBERGER, TROY ANTHONY              6820 WEST STREET                                                                    NORTH BRANCH     MI    48461‐9347
STADLER & SCHOTT SC                    16655 W BLUEMOUND RD STE 360                                                        BROOKFIELD       WI    53005‐5971
STADLER JR, ELMO L                     4381 S US HIGHWAY 23                                                                GREENBUSH        MI    48738‐9743
STADLER JR, KENNY L                    518 E 4TH AVE                                                                       MONMOUTH         IL    61462‐2255
STADLER, ANTHONY T                     226 DETROIT AVENUE                                                                  DUNDALK          MD    21222‐4240
STADLER, CHARLES                       8389 FARRAND RD                                                                     MONTROSE         MI    48457‐9725
STADLER, D A                           5051 SE BRANDYWINE WAY                                                              STUART           FL    34997‐8782
STADLER, DARREN                        29944 FORD RD                                                                       GARDEN CITY      MI    48135‐2320
STADLER, DELBERT R                     6766 LEGG RD                                                                        KINGSTON         MI    48741‐9717
STADLER, DIANE M                       47610 ASHFORD DR S                                                                  CANTON           MI    48188
STADLER, EDWARD J                      PO BOX 315                     9344 E PITTSBURG RD                                  DURAND           MI    48429‐0315
STADLER, EMMA                          7042 N MCKINLEY RD             C/O GLORIA M WONSEY                                  FLUSHING         MI    48433‐9010
STADLER, EMMA                          C/O GLORIA M WONSEY            7042 N MCKINLEY RD                                   FLUSHING         MI    48433
STADLER, FREDERICK D                   3796 W PARDEE DR                                                                    NATIONAL CITY    MI    48748‐9552
STADLER, GEORGIA                       1386 SOUTH FENMORE                                                                  MERRILL          MI    48637‐8720
STADLER, GEORGIA                       1386 S FENMORE RD                                                                   MERRILL          MI    48637‐8720
STADLER, GERALD E                      3200 ROSALIE ANN CT                                                                 CLIO             MI    48420‐1993
STADLER, GRETCHEN C                    11913 PONTO ST                                                                      AVONDALE         AZ    85323
STADLER, IRENE                         12216 NEFF RD                                                                       CLIO             MI    48420‐1807
STADLER, JANICE E                      5320 N LINDEN RD                                                                    FLINT            MI    48504‐1108
STADLER, JOHN D                        7 RICHARDS CT                                                                       MONROE           MI    48162‐3271
STADLER, JOSEPH P                      29 BRADY RD APT 4                                                                   LAKE HOPATCONG   NJ    07849
STADLER, JOSEPH V                      9104 BOWLINE RD                                                                     BALTIMORE        MD    21236‐2038
STADLER, JUDITH                        5362 SANDLEWOOD CT                                                                  WATERFORD        MI    48329‐3485
STADLER, KAREN A                       410 N BALL ST                                                                       OWOSSO           MI    48867
STADLER, KENDALL B                     2877 SCENIC CT APT 307                                                              LAKE ORION       MI    48360
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STADLER, KENNETH E              12216 NEFF RD                                                                                  CLIO                 MI 48420‐1807
STADLER, LAWRENCE H             16030 WOODFIELD TRL                                                                            HEMLOCK              MI 48626
STADLER, LILA R                 8484 SMITH RD                                                                                  GAINES               MI 48436‐9732
STADLER, LINDA MAY              3796 W PARDEE DR                                                                               NATIONAL CITY        MI 48748‐9552
STADLER, LINDA MAY              3796 W PARDEE                                                                                  NATIONAL CITY        MI 48748‐9552
STADLER, NORTON G               2089 E TOBIAS RD                                                                               CLIO                 MI 48420‐7917
STADLER, NORTON GERALD          2089 E TOBIAS RD                                                                               CLIO                 MI 48420‐7917
STADLER, RALPH W                2496 E TOBIAS RD                                                                               CLIO                 MI 48420‐7924
STADLER, RALPH WALLACE          2496 E TOBIAS RD                                                                               CLIO                 MI 48420‐7924
STADLER, RAYMOND J              3236 S US HIGHWAY 23                                                                           GREENBUSH            MI 48738‐9650
STADLER, RICHARD L              137 CAPE SABLE DR                                                                              NAPLES               FL 34104‐4116
STADLER, ROBERT J               9960 HIGHLAND RD                                                                               WHITE LAKE           MI 48386‐2321
STADLER, SEAN D                 1154 TOWNSHIP ROAD 1117                                                                        IRONTON              OH 45638‐7971
STADLER, THOMAS D               5320 N LINDEN RD                                                                               FLINT                MI 48504‐1108
STADLER, WAYNE H                1070 W BELLA CASA DR                                                                           PUEBLO WEST          CO 81007‐3101
STADNIK, THEODORE J             495 S EDGEHILL AVE                                                                             YOUNGSTOWN           OH 44515‐3402
STADNIKA, DONALD J              2600 GRACE CT                                                                                  SAGINAW              MI 48603‐2840
STADNIKA, EVELYN J              2945 TILDON DR                                                                                 SAGINAW              MI 48603‐3022
STADNIKA, GERTRUDE J            300 KENNELY RD APT 138                                                                         SAGINAW              MI 48609‐7703
STADNIKA, MIKE V                4651 REMEMBRANCE RD NW                                                                         GRAND RAPIDS         MI 49534
STADT, WILLIAM W                6470 PACKER DR NE                                                                              BELMONT              MI 49306‐9656
STADTFELD, HEATHER              11760 W WISE RD                                                                                GREENVILLE           MI 48838‐8174
STADTFELD, HEATHER              238 E 7TH AVE                                                                                  GARNETT              KS 66032
STADTFELD, JUDITH K             155 SHARPSVILLE LOOP                                                                           HARRODSBURG          KY 40330‐8024
STADTFELD, KENNETH L            2384 MEADOWCROFT DR                                                                            BURTON               MI 48519‐1238
STADTFELD, KENNETH LEE          2384 MEADOWCROFT DR                                                                            BURTON               MI 48519‐1238
STADTFELD, ROBERT C             155 SHARPSVILLE LOOP                                                                           HARRODSBURG          KY 40330‐8024
STADTLANDER DEKBERT D           STADTLANDER, DELBERT           1158 CRISMORE WAY                                               MASON CITY            IA 50401
STADTLANDER, DELBERT            1158 CRISMORE WAY                                                                              MASON CITY            IA 50401
STADTLANDER, DELBERT D          1158 CRISMORE WAY                                                                              MASON CITY            IA 50401
STADTLER, FREDERICK             616 GRAND AVE                                                                                  HACKETTSTOWN         NJ 07840‐1112
STADTLER, LINDA L               10787 CREEK MOSS LN                                                                            STRONGSVILLE         OH 44149‐2109
STADTMILLER, DAVID I            151 LECHASE DR APT D                                                                           ROCHESTER            NY 14606‐5139
STADTMILLER, REGIS G            2708 LYNN DR                                                                                   SANDUSKY             OH 44870‐5650
STADTMILLER, THOMAS G           1007 E BOGART RD APT 13D                                                                       SANDUSKY             OH 44870‐6416
STADUL ALBERT JOSEPH (633905)   BARON & BUDD                   8501 WILSHIRE BOULEVARD SUITE                                   BEVERLY HILLS        CA 90211
                                                               305
STADUL, ALBERT JOSEPH           BARON & BUDD                   8501 WILSHIRE BLVD STE 305                                      BEVERLY HILLS       CA   90211‐3117
STADWICK JR, HARVARD E          39332 CANTERBURY DR                                                                            HARRISON TOWNSHIP   MI   48045‐6019
STADWICK, JOHN N                PO BOX 9022                    C/O APHO CHINA                                                  WARREN              MI   48090‐9022
STADY, RONALD L                 12 KINGS LACEY WAY                                                                             FAIRPORT            NY   14450‐3221
STAEDTLER, RICHARD D            8145 SW 196TH COURT RD                                                                         DUNNELLON           FL   34432‐3594
STAEHLI, CHRISTOPHER D          508 TAMARAC DR                                                                                 DAVISON             MI   48423‐1942
STAEHLI, LOLA I                 508 TAMARAC DRIVE                                                                              DAVISON             MI   48423‐1942
STAEHNKE, DAVID E               BOONE ALEXANDRA                205 LINDA DR                                                    DAINGERFIELD        TX   75638‐2107
STAELENA, EDEN                  C/O HEALTHCARE RECOVERIES      ATTN: DEBORAH RICKETTS          PO BOX 36380                    LOUISVILLE          KY   40233
STAELENS, FREDERICK J           5081 FERRIS RD                                                                                 ONONDAGA            MI   49264‐9729
STAELGRAEVE, GEORGE A           108 HOUGHTON VIEW DR                                                                           PRUDENVILLE         MI   48651‐9326
STAERTOW, ANATOLI               280 ONTARIO BLVD                                                                               HILTON              NY   14468‐9571
STAERTOW, MYRA                  62 WIND WAY CIRCLE                                                                             ROCHESTER           NY   14624‐2463
STAES, MARTHA P                 328 MOBILE GARDENS                                                                             ENGLEWOOD           FL   34224
STAEUBLE, MICHAEL F             14586 W CROCUS DR                                                                              SURPRISE            AZ   85379‐5747
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STAEUBLE, PEGGY A                     6866 MARWYCK DRIVE                                                                           DAYTON                OH 45459‐6986
STAEVEN, DAVID M                      2461 LONGSTREET AVE SW                                                                       GRAND RAPIDS          MI 49509‐2065
STAFF ACCOUNTING SERVICE ACCOUNTS     31 JUDSON ‐ MAIL CODE 3105‐04                                                                PONTIAC               MI 48343
PAYABLE
STAFF PRO INC                         15272 NEWSBOY CIR                                                                            HUNTINGTON BEACH     CA   92649‐1202
STAFF RESOURCES INC                   38799 W 12 MI RD                                                                             FARMINGTON HILLS     MI   48331
STAFF, DORIAN W                       1791 OAKLAND DR                                                                              MADISON HTS          MI   48071‐2253
STAFF, GERALD E                       7893 N HONEYSUCKLE LN                                                                        EDGERTON             WI   53534‐8506
STAFF, KATHERINE                      227 N DENNIS AVE                                                                             DECATUR              IL   62522‐1907
STAFF, MELISSA J                      506 CHURCH ST                                                                                SUMMERTOWN           TN   38483‐7513
STAFF, PHILIP M                       506 CHURCH ST                                                                                SUMMERTOWN           TN   38483‐7513
STAFFA, NICKOLAS G                    922 HUNTSMAN DRIVE                                                                           DURHAM               NC   27713‐2381
STAFFA, PAULINE RAY                   2706 DUCK POND CT                                                                            HENDERSON            NV   89074‐1915
STAFFANSON, PATRICIA L                4028 HALLGREN CT                                                                             EXCELSIOR            MN   55331
STAFFE, CYNTHIA L                     550 HARRISON BLVD APT 65                                                                     LINCOLN PARK         MI   48146‐4356
STAFFE, CYNTHIA L                     550 HARRISON                       APT 65                                                    LINKIN PARK          MI   48146
STAFFE, CYNTHIA LEE                   411 WALNUT ST. #3592                                                                         GREEN COVE SPRINGS   FL   32043
STAFFELD, RICHARD W                   33159 WREN HAVEN ST                                                                          NORTH RIDGEVILLE     OH   44039‐6345
STAFFELD, TERESA                      33159 WREN HAVEN CIRCLE                                                                      NORTH RIDGEVILLE     OH   44039
STAFFEN, BRADLEY D                    817 BRYANT ST SW                                                                             WYOMING              MI   49509‐3513
STAFFENHAGEN, GREGORY B               6548 119TH PL N                                                                              CHAMPLIN             MN   55316
STAFFIERA, JOSEPH M                   5091 PINNACLE DR                                                                             OLDSMAR              FL   34677‐1927
STAFFIERI, HENRY M                    128 VILLAGGIO STREET                                                                         HENDERSON            NV   89074‐0967
STAFFILINO CHEVROLET, INC.            JOSEPH STAFFILINO                  PO BOX 220                                                MARTINS FERRY        OH   43935‐2054
STAFFILINO CHEVROLET, INC.            PO BOX 220                                                                                   MARTINS FERRY        OH   43935‐2054
STAFFILINO CHEVROLET‐CADILLAC, INC.   500 GREENBRIER CT                                                                            STEUBENVILLE         OH   43953‐3335

STAFFNE JR, DONALD E                  PO BOX 273                                                                                   HOLLY                MI   48442‐0273
STAFFNE, MERLAND A                    G4429 COLUMBINE AVE                                                                          BURTON               MI   48529
STAFFNEY JR, JAMES                    1409 CHERRY ST                                                                               SAGINAW              MI   48601‐1953
STAFFNEY, KATHRYN C                   4555 SW 142ND AVE APT 156                                                                    BEAVERTON            OR   97005‐2546
STAFFON, ROBERT J                     51 S CARLTON PARK PL                                                                         TUCSON               AZ   85748‐1715
STAFFORD ALMA CASTILLO (ESTATE OF)    (NO OPPOSING COUNSEL)
(463618) ‐ RODRIGUEZ ADRIAN
STAFFORD AREA SOCCER ASSC             235 GARRISONVILLE ROAD STE 102A                                                              STAFFORD             VA 22554
STAFFORD AUTO GROUP, LLC              318 GRANT AVENUE RD                                                                          AUBURN               NY 13021‐8201
STAFFORD AUTO GROUP, LLC C/O NORTH    ATTN: MIKE GUARINO                 989 JERICHO TURNPIKE                                      SMITHTOWN            NY 11787
SHORE SURGI CENTER
STAFFORD AUTOMOTIVE, INC.             1410 RUSSELL RD                                                                              MUSKEGON             MI   49445‐1419
STAFFORD BAUMGARDNER                  5101 BRIAR RIDGE CT                                                                          GRAND BLANC          MI   48439‐2066
STAFFORD CHEVROLET INC.               MARTIN JOHNSON                     79 NORTH ST                                               DRYDEN               NY   13053
STAFFORD CHEVROLET INC.               79 NORTH ST                                                                                  DRYDEN               NY   13053
STAFFORD COUNTY ADMINISTRATOR         1300 COURTHOUSE ROAD               PO BOX 339                                                STAFFORD             VA   22555‐0339
STAFFORD COWLES                       7042 KESSLING ST                                                                             DAVISON              MI   48423‐2444
STAFFORD ELLIS R                      C/O EDWARD O MOODY P A             801 WEST 4TH STREET                                       LITTLE ROCK          AR   72201
STAFFORD GEORGE A (414661)            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510
                                                                         STREET, SUITE 600
STAFFORD GLENN EDWARD                 C/O EDWARD O MOODY P A             801 WEST 4TH STREET                                       LITTLE ROCK          AR   72201
STAFFORD HOWARD                       3520 RUE FORET APT 18                                                                        FLINT                MI   48532‐2836
STAFFORD I I, JAMES G                 4238 LAURA MARIE DR                                                                          WAYNESVILLE          OH   45068‐9618
STAFFORD II, JAMES B                  7557 WOOD                                                                                    CENTER LINE          MI   48015
STAFFORD JACKSON                      2485 BARTH DR                                                                                YOUNGSTOWN           OH   44505‐2101
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Name                         Address1                            Address2                       Address3   Address4         City               State Zip
STAFFORD JAMES L (666146)    GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                 EDWARDSVILLE         IL 62025‐0959
                             ANTOGNOLI
STAFFORD JOHN M              2200 LOST OAK COURT                                                                            GRAND BLANC        MI 48439‐2522
STAFFORD JOHN W (410455)     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510
                                                                 STREET, SUITE 600
STAFFORD JR, COMER E         6613 KELKER STREET                                                                             TOLEDO             OH   43617‐3001
STAFFORD JR, EDWARD E        818 RIVERSIDE DR APT B3                                                                        LITCHFIELD         MI   49252‐9789
STAFFORD JR, G W             PO BOX 92                                                                                      WARRIOR            AL   35180‐0092
STAFFORD JR, ROBERT S        2311 BETH DR                                                                                   ANDERSON           IN   46017‐9680
STAFFORD JUSTIN              6330 SE RATNER RD                                                                              BERRYTON           KS   66409‐9692
STAFFORD LARRY               802 WILLIAMS STREET NORTHWEST                                                                  ORTING             WA   98360‐7411
STAFFORD LAVRA R             18857 RAYMOND RD                                                                               MARYSVILLE         OH   43040‐9207
STAFFORD MICHAEL ISAIAH      C/O EDWARD O MOODY P A              801 WEST 4TH STREET                                        LITTLE ROCK        AR   72201
STAFFORD PREC/BEAR           147 SCHOOL BELL RD                                                                             BEAR               DE   19701‐1191
STAFFORD ROBERT T            DBA BOB STAFFORD CREATIVE SERV      7000 N SHAWNEE AVE                                         OKLAHOMA CITY      OK   73116‐1702
STAFFORD RONALD              2866 NEWARK RD                                                                                 METAMORA           MI   48455‐9354
STAFFORD ROY W SR (439536)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510
                                                                 STREET, SUITE 600
STAFFORD SR, LOYD B          2841 DONAHUE RD                                                                                PULASKI            TN   38478‐6221
STAFFORD STEPHANIE           151 HINDS RD                                                                                   ARAB               AL   35016‐3813
STAFFORD STEWART             562 GEORGETOWN AVE                                                                             ELYRIA             OH   44035‐3856
STAFFORD STONY (470557)      ANANIA, BANDKLAYDER,                BANK OF AMERICA TOWER , SUIT                               MIAMI              FL   33131
                             BLACKWELL,BAUMGARTEN,TORRICELLA &   4300
                             STEIN
STAFFORD TAX COLLECTOR       PO BOX 111                                                                                     STAFFORD SPRINGS   CT   06076‐0111
STAFFORD TROMBLEY PURCELL    LAHTINEN OWENS & CURTIN PC          PO BOX 2947                                                PLATTSBURGH        NY   12901‐0269
STAFFORD TRUCKING INC        9369 VIENNA RD                                                                                 MONTROSE           MI   48457‐9729
STAFFORD, A E                15221 SOUTH VISTA LANE                                                                         PLAINFIELD         IL   60544‐2165
STAFFORD, A E                15221 S VISTA LN                                                                               PLAINFIELD         IL   60544‐2165
STAFFORD, ALLAN J            1824 PIKE RD                                                                                   REESE              MI   48757‐9514
STAFFORD, ALMA CASTILLO      WILLIAMSON CHE D                    16903 RED OAK DR STE 220                                   HOUSTON            TX   77090‐3916
STAFFORD, ALMETTA C          16877 LAUDER ST                                                                                DETROIT            MI   48235‐4037
STAFFORD, ANDREW             1111 CLEVELAND AVE                                                                             DANVILLE           IL   61832‐6408
STAFFORD, BARBARA JEAN       6070 NATCHEZ DRIVE                                                                             MT. MORRIS         MI   48458‐2743
STAFFORD, BENNY V            155 FORD RD N LOT 41                                                                           MANSFIELD          OH   44905‐2927
STAFFORD, BERNICE E.         PO BOX 521                          BERNICE E STAFFORD                                         MANTON             MI   49663‐0521
STAFFORD, BERNICE M          PO BOX 92                                                                                      WARRIOR            AL   35180‐0092
STAFFORD, BOBBY W            589 SAINT PAUL RD                                                                              BYHALIA            MS   38611‐8696
STAFFORD, BRENDA F           3081 S 350 W                                                                                   KOKOMO             IN   46902‐9556
STAFFORD, BRENDA G           501 PUNCHEON BRANCH ROAD                                                                       MINOR HILL         TN   38473‐5465
STAFFORD, BRENDA K           115 MYRTLE AVE                                                                                 NETTLETON          MS   38858‐6015
STAFFORD, BRIAN D            21313 WINDING CREEK DR                                                                         SOUTH LYON         MI   48178‐7058
STAFFORD, CALVIN F           1070 SW 20TH TER APT 124                                                                       DELRAY BEACH       FL   33445‐6033
STAFFORD, CAROL L            8226 FAULKNER DR                                                                               DAVISON            MI   48423‐9535
STAFFORD, CATHERINE L        PO BOX 187                                                                                     LEWISTON           MI   49756
STAFFORD, CHARLES
STAFFORD, CHARLES D          721 POUND ST 1                                                                                 MOUNT MORRIS       MI   48458
STAFFORD, CHARLES O          8815 MADISON RD                                                                                MONTVILLE          OH   44064‐8716
STAFFORD, CHERYL A           28 COUNTY RD                                                                                   MARION             MA   02738‐1011
STAFFORD, CHERYL E           7136 GEORGE AVE                                                                                NEWARK             CA   94560
STAFFORD, CHRISTY L          1983 MIAMI TRL                                                                                 HUNTINGTON         IN   46750‐4181
STAFFORD, DANIAL             2655 W POWERLINE RD                                                                            HELTONVILLE        IN   47436‐8537
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Name                       Address1                            Address2                         Address3   Address4         City               State Zip
STAFFORD, DARWIN F         1200 WRIGHT AVE                                                                                  ALMA                MI 48801‐1133
STAFFORD, DARWIN J         516 BUSHONG BEACH DR                                                                             GLADWIN             MI 48624‐8306
STAFFORD, DAVID H          122 PEPPERMINT LN                                                                                BRISTOL             CT 06010‐8521
STAFFORD, DENNIS R         1481 CULLEOKA HWY                                                                                CULLEOKA            TN 38451‐2711
STAFFORD, DEWAYNE E        PO BOX 17                                                                                        EDGERTON            OH 43517‐0017
STAFFORD, DEWAYNE EUGENE   PO BOX 17                                                                                        EDGERTON            OH 43517‐0017
STAFFORD, DONALD           12294 FISHER RD                                                                                  YALE                MI 48097‐4734
STAFFORD, DONALD E         1125 TECUMSEH ST                                                                                 INDIANAPOLIS        IN 46201‐1116
STAFFORD, DONALD G         1488 DAVIS RD                                                                                    CHURCHVILLE         NY 14428‐9711
STAFFORD, EILEEN
STAFFORD, ELLIS R          MOODY EDWARD O                      801 W 4TH ST                                                 LITTLE ROCK        AR    72201‐2107
STAFFORD, ERNEST F         10128 VIRGINIA ST                                                                                OSCODA             MI    48750‐1903
STAFFORD, EUGENE O         215 N COTTAGE AVE                                                                                CONNELLSVILLE      PA    15425‐3308
STAFFORD, EVELYN           2655 W POWERLINE RD                                                                              HELTONVILLE        IN    47436‐8537
STAFFORD, EVELYN L         2655 W POWERLINE RD                                                                              HELTONVILLE        IN    47436‐8537
STAFFORD, FRANCES H        520 CROSS KEY ROAD                                                                               REIDSVILLE         NC    27320‐9177
STAFFORD, FRANKLIN J       4329 VINEYARDS BLVD                                                                              STERLING HEIGHTS   MI    48314
STAFFORD, FRED             12831 SPRING RUN RD                                                                              MIDLOTHIAN         VA    23112‐1301
STAFFORD, GARY F           911 DUPONT ST                                                                                    FLINT              MI    48504
STAFFORD, GARY P           20345 CLARKRANGE HWY                                                                             MONTEREY           TN    38574‐3752
STAFFORD, GARY PAUL        20345 CLARKRANGE HIGHWAY                                                                         MONTEREY           TN    38574‐3752
STAFFORD, GEMMA
STAFFORD, GEMMA            GOLDFARB & GOLD PA                  100 SOUTHEAST 2ND STREET SUITE                               MIAMI               FL   33131
                                                               3900
STAFFORD, GEORGE A         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510‐2212
                                                               STREET, SUITE 600
STAFFORD, GERALD E         385 BEECHWOOD DR                                                                                 AKRON              OH    44320‐2345
STAFFORD, GERALD J         3503 CRANSTON AVE                                                                                WILMINGTON         DE    19808‐6105
STAFFORD, GERALDINE H      718 RIVERSIDE DRIVE                                                                              BALTIMORE          MD    21221‐6838
STAFFORD, GERTRUDE         6306 SALLY COURT                                                                                 FLINT              MI    48505‐2590
STAFFORD, GERTRUDE         6306 SALLY CT                                                                                    FLINT              MI    48505‐2590
STAFFORD, GLENDA A         104 AVONWOOD DR                                                                                  JAMESTOWN          NC    27282‐9317
STAFFORD, GLENN EDWARD     MOODY EDWARD O                      801 W 4TH ST                                                 LITTLE ROCK        AR    72201‐2107
STAFFORD, GLORIA S         1216 EAST PEMPLE STREET                                                                          WASHINGTON COURT   OH    43160
                                                                                                                            HOUSE
STAFFORD, HAROLD           1983 MIAMI TRL                                                                                   HUNTINGTON         IN    46750‐4181
STAFFORD, HARRELL R        173 LONDON LN                                                                                    FRANKLIN           TN    37067‐4462
STAFFORD, HAZEL V          611 ASHBROOKE CT                                                                                 ST CHARLES         IL    60175‐5636
STAFFORD, HELEN M          12215 WEST 63RD TERRACE                                                                          SHAWNEE            KS    66216‐2760
STAFFORD, HELEN M          12215 W 63RD TER                                                                                 SHAWNEE            KS    66216‐2760
STAFFORD, IDA              1043 MAIDEN PL                                                                                   DAYTON             OH    45418‐1955
STAFFORD, IRIS             2866 NEWARK RD                                                                                   METAMORA           MI    48455‐9354
STAFFORD, IRMA L           23 CLAIRHAVEN DR                                                                                 HUDSON             OH    44236‐3307
STAFFORD, JACK             1117 REID AVE                                                                                    XENIA              OH    45385‐2741
STAFFORD, JACK             18857 RAYMOND RD                                                                                 MARYSVILLE         OH    43040‐9207
STAFFORD, JAMES            2579 CASPER                         FLOOR 1                                                      DETROIT            MI    48209
STAFFORD, JAMES A          10056 8TH ST                                                                                     OSCODA             MI    48750‐1925
STAFFORD, JAMES B          558 E MERRIFIELD RD                                                                              EDGERTON           WI    53534‐9010
STAFFORD, JAMES B          27264 GILBERT DR                                                                                 WARREN             MI    48093‐4446
STAFFORD, JAMES D          34028 FERNWOOD ST                                                                                WESTLAND           MI    48186‐4508
STAFFORD, JAMES L          C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE RTE 157                                         EDWARDSVILLE       IL    62025
                           ROWLAND P C
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Name                         Address1                        Address2                      Address3   Address4         City                State Zip
STAFFORD, JAMES L            GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                EDWARDSVILLE          IL 62025‐0959
                             ANTOGNOLI
STAFFORD, JAMES M            3289 KNIARD DR                                                                            OXFORD              MI 48370‐3025
STAFFORD, JAMES P            801 SPENCER LN                                                                            LINDEN              MI 48451‐8505
STAFFORD, JAMES R            1280 S 13TH ST APT 4                                                                      ELWOOD              IN 46036‐2766
STAFFORD, JASMIN
STAFFORD, JEFFREY L          8411 CLIMBING WAY                                                                         PINCKNEY            MI   48169‐8485
STAFFORD, JENNIFER L         3837 HEARTHSTONE DR                                                                       CHAPEL HILL         TN   37034‐2083
STAFFORD, JENNIFER LYNN      3837 HEARTHSTONE DR                                                                       CHAPEL HILL         TN   37034‐2083
STAFFORD, JIMMY L            2501 LAKE POINTE DR                                                                       COOKEVILLE          TN   38506‐4406
STAFFORD, JOHN               1502 W SPRINGS HWY                                                                        JONESVILLE          SC   29353‐2424
STAFFORD, JOHN A             14140 ELMS RD                                                                             MONTROSE            MI   48457‐9777
STAFFORD, JOHN D             2354 STANDING PEACHTREE CT NW   COURT                                                     KENNESAW            GA   30152‐5845
STAFFORD, JOHN E             1922 S M ST                                                                               ELWOOD              IN   46036‐2930
STAFFORD, JOHN L             3205 CALLOWAY CT                                                                          COOKEVILLE          TN   38501‐7998
STAFFORD, JOHN M             2200 LOST OAK CT                                                                          GRAND BLANC         MI   48439‐2522
STAFFORD, JOHN W             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                             STREET, SUITE 600
STAFFORD, JONATHON R         5986 N IONIA RD                                                                           VERMONTVILLE        MI   49096‐8766
STAFFORD, JOSEPH C           14837 MELVIN STREET                                                                       LIVONIA             MI   48154‐3731
STAFFORD, JOYCE A            240 HILTS RD                                                                              GLADWIN             MI   48624‐7224
STAFFORD, JOYCE D            2175 HENN HYDE RD NE            CARE OF DEBBIE BARNA                                      WARREN              OH   44484‐1241
STAFFORD, JOYCE D            CARE OF DEBBIE BARNA            2175 HENN HYDE                                            WARREN              OH   44484‐4484
STAFFORD, JUDITH A           2734 LOCHMOOR BLVD                                                                        LAKE ORION          MI   48360‐1946
STAFFORD, JUDITH F           2708 W 1025 N                                                                             ALEXANDRIA          IN   46001‐8403
STAFFORD, JUDITH L           2706 MILLCREEK ROAD                                                                       WILMINGTON          DE   19808‐1333
STAFFORD, JULIE A            10128 VIRGINIA ST                                                                         OSCODA              MI   48750‐1903
STAFFORD, JUNE C             3678 N. WOOD LANE                                                                         CASA GRANDE         AZ   85222‐6605
STAFFORD, JUNE C             3678 N WOOD LN                                                                            CASA GRANDE         AZ   85222‐6605
STAFFORD, JUNIOR M           1025 TREMONT AVE                                                                          FLINT               MI   48505‐1417
STAFFORD, JUNIOR MAXWELL     1025 TREMONT AVE                                                                          FLINT               MI   48505‐1417
STAFFORD, KAREN E            14837 MELVIN ST                                                                           LIVONIA             MI   48154‐3731
STAFFORD, KAREN J            27264 GILBERT DR                                                                          WARREN              MI   48093‐4446
STAFFORD, KAREN L            4518 HUCKLEBERRY LN                                                                       FLINT               MI   48507
STAFFORD, KELLY L            451 HAMILTON DRIVE                                                                        BROADVIEW HTS       OH   44147‐4219
STAFFORD, KIMBERLY           2959 WOODLAND RIDGE DR                                                                    WEST BLOOMFIELD     MI   48323‐3561
STAFFORD, LARRY C            4327 ROBINWOOD AVE                                                                        ROYAL OAK           MI   48073‐1530
STAFFORD, LARRY D            674 NOBLES ST                                                                             SEBASTIAN           FL   32958‐4532
STAFFORD, LARRY D            9097 NW OAK ST                                                                            ALEXANDRIA          IN   46001‐8379
STAFFORD, LARRY D            1187 E RUSSELL AVE                                                                        FLINT               MI   48505‐2321
STAFFORD, LARRY DONNELL      1187 E RUSSELL                                                                            FLINT               MI   48505‐2321
STAFFORD, LAWRENCE W         451 HAMILTON DR                                                                           BROADVIEW HEIGHTS   OH   44147‐4219
STAFFORD, LAWRENCE WILLIAM   451 HAMILTON DR                                                                           BROADVIEW HEIGHTS   OH   44147‐4219
STAFFORD, LEEMAN F           5 CENTER ST                                                                               NOBLEBORO           ME   04555‐9019
STAFFORD, LEONARD E          9390 W STATE ROAD 38                                                                      SHIRLEY             IN   47384‐9663
STAFFORD, LETTIE G           27795 DEQUINDRE ROAD            APT 203                                                   MADISON HEIGHTS     MI   48071‐712
STAFFORD, LETTIE G           27795 DEQUINDRE RD APT 203                                                                MADISON HEIGHTS     MI   48071‐5712
STAFFORD, LINDA D            PO BOX 951                                                                                LAPEER              MI   48446‐0951
STAFFORD, LOIS               2310 51ST ST                                                                              COLUMBUS            GA   31904‐6007
STAFFORD, LONNIE F           9440 ROMAINE AVE                                                                          OVERLAND            MO   63114‐3924
STAFFORD, LOUISE             1420 S DEACON ST                                                                          DETROIT             MI   48217‐1615
STAFFORD, MALCOLM L          1071 15TH ST                                                                              OTSEGO              MI   49078‐9714
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Name                       Address1                           Address2                      Address3   Address4         City                 State Zip
STAFFORD, MALCOLM L.       1071 15TH ST                                                                                 OTSEGO                MI 49078‐9714
STAFFORD, MARGARET E       3949 E COUNTY ROAD 250 N                                                                     KOKOMO                IN 46901
STAFFORD, MARGARET L       7812 FOREST LN                                                                               BARNHART              MO 63012‐1703
STAFFORD, MARILYN J        335 GILLCREST DR                                                                             ALBANY                IN 47320
STAFFORD, MARK F           1112 AMBERTON LN                                                                             NEWBURY PARK          CA 91320‐3548
STAFFORD, MARY             1761 SCOTT LAKE                                                                              WATERFORD             MI 48328‐1653
STAFFORD, MARY             P.O.BOX 968                                                                                  HAWKINS               TX 75765
STAFFORD, MARY             PO BOX 968                                                                                   HAWKINS               TX 75765‐0968
STAFFORD, MARY E           9031 AUTUMN LANE                                                                             WARRIOR               AL 35180‐2647
STAFFORD, MARY E           9031 AUTUMN LN                                                                               WARRIOR               AL 35180‐2647
STAFFORD, MARY F           57467 CALEDONIA ST                                                                           CALUMET               MI 49913‐3033
STAFFORD, MARY L           6805 MUNGER RD                                                                               YPSILANTI             MI 48197‐8891
STAFFORD, MAVIS K.         PO BOX 612263                                                                                PORT HURON            MI 48061‐2263
STAFFORD, MAX L            335 GILLCREST DR                                                                             ALBANY                IN 47320‐1356
STAFFORD, MICHAEL E        2316 W MEMORIAL DR                                                                           MUNCIE                IN 47302‐2076
STAFFORD, MICHAEL ISAIAH   MOODY EDWARD O                     801 W 4TH ST                                              LITTLE ROCK           AR 72201‐2107
STAFFORD, MICHAEL J        2479 LANSBURY DR                                                                             WATERFORD             MI 48329‐2324
STAFFORD, MICHAEL W        1025 TREMONT AVE                                                                             FLINT                 MI 48505‐1417
STAFFORD, MICHAEL WAYNE    5399 WEST LAKE ROAD                                                                          CLIO                  MI 48420‐8237
STAFFORD, MILBURN W        3678 N WOOD LN                                                                               CASA GRANDE           AZ 85222‐6605
STAFFORD, NANCY A          390 MELROSE LN                                                                               MOUNT MORRIS          MI 48458‐8923
STAFFORD, NANCY R          9390 W STATE ROAD 38                                                                         SHIRLEY               IN 47384‐9663
STAFFORD, NETTIE J         30098 FORT RD                                                                                ROCKWOOD              MI 48173‐9782
STAFFORD, NORMA T          921 W WASHINGTON ST                                                                          ALEXANDRIA            IN 46001‐1834
STAFFORD, PAMELA           2500 N DESERT LINKS DR APT 13104                                                             TUCSON                AZ 85715‐3799
STAFFORD, PAMELA E         25287 MAPLEBROOKE DR                                                                         SOUTHFIELD            MI 48033‐7418
STAFFORD, PHYLLIS I        PO BOX 197                                                                                   BIRCH RUN             MI 48415‐0197
STAFFORD, PRESTON C        4320 AVENUE K                                                                                FORT PIERCE           FL 34947
STAFFORD, QUINTON
STAFFORD, RACHAEL          3759 BLACK SEA RD                                                                            DORSET               OH   44032‐9611
STAFFORD, RAMONA H         275 NANZETTA WAY 12                                                                          LEWISVILLE           NC   27023
STAFFORD, RAYMOND W        1949 S CROSBY AVE                                                                            JANESVILLE           WI   53546‐5617
STAFFORD, RICHARD A        8309 DEERWOOD RD                                                                             CLARKSTON            MI   48348‐4536
STAFFORD, RICHARD A        2182 AVALON DR                                                                               STERLING HTS         MI   48310‐7805
STAFFORD, RICHARD G        136 LIBERTY BOULEVARD                                                                        MOORESVILLE          IN   46158‐2315
STAFFORD, RICHARD GERALD   136 LIBERTY BOULEVARD                                                                        MOORESVILLE          IN   46158‐2315
STAFFORD, RICHARD H        6 ELDER ST                                                                                   ALVA                 FL   33920‐5591
STAFFORD, RICK L           10091E 500 S.                                                                                LAOTTO               IN   46763
STAFFORD, RICKIE L         3000 N APPERSON WAY TRLR 404                                                                 KOKOMO               IN   46901‐1305
STAFFORD, ROBERT L         5345 E 00 NS                                                                                 GREENTOWN            IN   46936‐8775
STAFFORD, ROBERT N         2111 W 1025 N                                                                                ALEXANDRIA           IN   46001‐8598
STAFFORD, ROBIN            1607 OCEAN DR.                                                                               MANSFIELD            TX   76063
STAFFORD, RONALD D         2866 NEWARK RD                                                                               METAMORA             MI   48455‐9354
STAFFORD, RONALD K         5399 W LAKE RD                                                                               CLIO                 MI   48420‐8237
STAFFORD, RONALD L         54084 CARRINGTON DR                                                                          SHELBY TOWNSHIP      MI   48316‐1363
STAFFORD, RONALD L.        54084 CARRINGTON DR                                                                          SHELBY TOWNSHIP      MI   48316‐1363
STAFFORD, ROY W            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510‐2212
                                                              STREET, SUITE 600
STAFFORD, RUTH M           11347 S MILLER HWY                                                                           BROOKLYN             MI   49230
STAFFORD, SAMARA           2647 FIELD SPRING DR                                                                         LITHONIA             GA   30058‐3841
STAFFORD, SHARON F         1057 WOODBRIDGE ST                                                                           SAINT CLAIR SHORES   MI   48080‐1618
STAFFORD, SHAWN P          10187 N 1100TH ST                                                                            NEWTON               IL   62448‐3531
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Name                        Address1                            Address2                      Address3   Address4         City              State Zip
STAFFORD, SHAWN P           10187 NORTH 1100TH STREET                                                                     NEWTON              IL 62448‐3531
STAFFORD, SHIRLEY A         2493 PONDEROSA TRL                                                                            CHARLOTTESVILLE    VA 22903‐7829
STAFFORD, STEPHEN J         3081 S COUNTY ROAD 350 W                                                                      KOKOMO             IN 46902
STAFFORD, STONY             C/O THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD       SUITE 44                    CORAL GABLES       FL 33146
STAFFORD, STONY             ANANIA, BANDKLAYDER,                BANK OF AMERICA TOWER, SUIT                               MIAMI              FL 33131‐2144
                            BLACKWELL,BAUMGARTEN,TORRICELLA &   4300
                            STEIN
STAFFORD, SYLVESTER C       2005 E KIRK ST                                                                                MUNCIE            IN   47303‐2413
STAFFORD, SYLVIA            1301 ORLEANS ST                     APT 1108                                                  DETROIT           MI   48207‐2947
STAFFORD, SYLVIA            1301 ORLEANS EAST                   APT# 1312                                                 DETROIT           MI   48207
STAFFORD, TERRY B           3134 BAILEY AVENUE                                                                            LINCOLN PARK      MI   48146‐2538
STAFFORD, THOMAS D          5606 12TH AVE W                                                                               BRADENTON         FL   34209‐4740
STAFFORD, THOMAS D          5606 12 AVE W                                                                                 BRADENTON         FL   34209‐4740
STAFFORD, THOMAS L          902 S WALNUT ST                                                                               TROY              OH   45373‐4012
STAFFORD, THOMAS L          1712 TIFFIN DR                                                                                DEFIANCE          OH   43512‐3436
STAFFORD, VANESSA R         3141 HIDDEN RIDGE DR #21                                                                      WATERFORD         MI   48328
STAFFORD, VIOLA W           14140 ELMS RD                                                                                 MONTROSE          MI   48457‐9777
STAFFORD, VIOLA W           14140 N ELM RD                                                                                MONTROSE          MI   48457‐9777
STAFFORD, VIRGINIA L        5851 WESTHAVEN DR                                                                             FORT WORTH        TX   76132‐2601
STAFFORD, WAYNE D           3837 HEARTHSTONE DR                                                                           CHAPEL HILL       TN   37034‐2083
STAFFORD, WAYNE R           1819 CHELSEA CIR                                                                              FLINT             MI   48503‐4707
STAFFORD, WENDELL D         478 NEVADA AVE                                                                                PONTIAC           MI   48341‐2549
STAFFORD, WILLIAM B         1519 ESSLING ST                                                                               SAGINAW           MI   48601‐1335
STAFFORD, WILLIAM E         2591 COVE RD                                                                                  WALES             MI   48027‐1108
STAFFORD, WILLIAM J         755 WILHELM RD                                                                                HERMITAGE         PA   16148‐3752
STAFFORD, WILLIAM J         755 WILHELM                                                                                   HERMITAGE         PA   16148‐3752
STAFFORD, WILLIAM L         4150 LAKE GEORGE RD                                                                           LEONARD           MI   48367‐1611
STAFFORD, WILLIE J          408 W CEDAR ST                                                                                ARLINGTON         TX   76011‐7019
STAFFORD‐SMITH INC          3414 S BURDICK ST                                                                             KALAMAZOO         MI   49001‐4836
STAFFREY GARY & CHRISTINE   3370 ROSEMONT RD                                                                              NORTH JACKSON     OH   44451‐9778
STAFIEJ, BOLESLAW           39427 WINDSOME DR                                                                             NORTHVILLE        MI   48167‐3940
STAFIEJ, RICHARD J          23823 LEIGHWOOD DR                                                                            WOODHAVEN         MI   48183‐2775
STAFIEJ, STANLEY J          6925 FOXTHORN DR                                                                              CANTON            MI   48187‐3019
STAFIEJ, STEFAN T           16786 BLUE SKIES DR                                                                           LIVONIA           MI   48154‐1106
STAFIRSKI, EDWARD S         35538 MARROCCO ST                                                                             CLINTON TWP       MI   48035‐2652
STAFIRSKI, IMOGENE F        701 N MAIN ST LOT 64                                                                          WELLINGTON        OH   44090‐1070
STAFIRSKI, IMOGENE F        701 NORTH MAIN STREET LOT 63                                                                  WELLINGTON        OH   44090‐1070
STAFNE, FLOREINE            155 DEVONSHIRE DR APT 107                                                                     LAPEER            MI   48446
STAFNE, THOMAS E            3295 MERWIN RD                                                                                LAPEER            MI   48446‐9747
STAFORD, HERMAN T           1119 NEW LENOX RD                                                                             JOLIET            IL   60433
STAFOS, DOROTHY G           PO BOX 458                                                                                    HERMITAGE         MO   65668‐0458
STAFOS, DOROTHY G           20404 COUNTRY CLUB DR                                                                         LIBERTY           MO   64068‐9287
STAFURA, JOSEPHINE A        727 KENNY STREET                                                                              WEST MIFFLIN      PA   15122‐2016
STAGAARD, HOWARD G          19 ROOSEVELT STREET                                                                           SOUTH RIVER       NJ   08882‐1565
STAGE 3 PRODUCTIONS INC     32588 DEQUINDRE RD                                                                            WARREN            MI   48092‐1061
STAGE COACH/NSHVILLE        3504 DICKERSON PIKE                                                                           NASHVILLE         TN   37207‐1706
STAGE, BILLIE L             2733 CHAMPION RIDGE DR                                                                        LAKELAND          FL   33813‐5870
STAGE, CARL L               4654 E STATE ROAD 28                                                                          TIPTON            IN   46072‐8894
STAGE, CHARLES E            PO BOX 1790                                                                                   CANYON LAKE       TX   78133‐0005
STAGE, DAVID A              3403 CURRY LN                                                                                 JANESVILLE        WI   53546‐1139
STAGE, DAVID E              2911 E 5TH ST                                                                                 DAYTON            OH   45403‐2641
STAGE, DAVID E              6341 KALBFLEISCH ROAD                                                                         MIDDLETOWN        OH   45042‐9212
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Name                                Address1                         Address2                       Address3         Address4         City             State Zip
STAGE, JERALD D                     1106 W WABASH TER                                                                                 OLATHE            KS 66061‐3928
STAGE, ORINTHA E                    912 PARTRIDGE PL                                                                                  ZIONSVILLE        IN 46077‐9565
STAGE, RICHARD L                    10896 IRELAND DR                                                                                  GRAND LEDGE       MI 48837‐8159
STAGE, RICHARD LEROY                10896 IRELAND DR                                                                                  GRAND LEDGE       MI 48837‐8159
STAGE, RONALD E                     804 MEYER RD                                                                                      WENTZVILLE        MO 63385‐3401
STAGEBERG GRANT K (516656)          MAZUR & KITTEL PLLC              1490 FIRST NATIONAL BUILDING                                     DETROIT           MI 48226
STAGEBERG, GRANT K                  MAZUR & KITTEL PLLC              1490 FIRST NATIONAL BUILDING                                     DETROIT           MI 48226
STAGECOACH CARTAGE & DISTRIBUTION   PO BOX 26517                                                                                      EL PASO           TX 79926‐6517
INC
STAGER EARL L (356988)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510
                                                                     STREET, SUITE 600
STAGER JR, RONALD A                 3060 MIDLAND RD                                                                                   SAGINAW          MI   48603‐9635
STAGER, BETTY E                     4651 SHERWOOD LN                 C/O WILSON                                                       LAKELAND         FL   33813‐2343
STAGER, DAVID H                     7609 HILLBROOK OVAL                                                                               BRECKSVILLE      OH   44141‐1940
STAGER, EARL L                      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA   23510‐2212
                                                                     STREET, SUITE 600
STAGER, GEORGE T                    6826 BREEDLOVE LN                                                                                 HARRISON         AR   72601‐8294
STAGER, JOHN F                      6034 W SMITH RD                                                                                   MEDINA           OH   44256‐8948
STAGER, MARGARET                    750 CHESTNUT ST #OV                                                                               GREENVILLE       OH   45331‐1312
STAGER, REX E                       127 WISE ST                                                                                       BRADFORD         OH   45308‐1055
STAGER, ROBERT A                    4020 WOODCROFT                                                                                    WHITE LAKE       MI   48383‐1777
STAGERS CHEVROLET CO.               528 MAIN ST                                                                                       PORTAGE          PA   15946‐1538
STAGERS CHEVROLET CO.               RANDOLPH STAGER                  528 MAIN ST                                                      PORTAGE          PA   15946‐1538
STAGES AND DRAPES                   PO BOX 9852                                                                                       ARLINGTON        VA   22219‐1852
STAGG CHEVROLET INC DBA CAPE COD    ATTN CHRISTOPHER W PARKER        RUBIN & RUDMAN LLP             50 ROWES WHARF                    BOSTON           MA   02110
AUTO MALL
STAGG CHEVROLET, INC.               PETER STAGG                      182 ROUTE 137                                                    EAST HARWICH     MA   02645‐1316
STAGG JR, DAVID M                   972 SAW CREEK EST                                                                                 BUSHKILL         PA   18324‐9476
STAGG SAFETY EQUIPMENT INC          PO BOX 1363                                                                                       RICHMOND         IN   47375‐1363
STAGG WILLIAM HERBERT (429858)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA   23510
                                                                     STREET, SUITE 600
STAGG, DONALD J                     9182 LONG LAKE PALM DR                                                                            BOCA RATON       FL 33496‐1786
STAGG, SYLVIA I                     3360 MONTGOMERY WAY                                                                               BOWLING GREEN    KY 42104‐0833
STAGG, WILLIAM HERBERT              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510‐2212
                                                                     STREET, SUITE 600
STAGGEMEIER, BEVERLY                6131 ROSEDALE RD                                                                                  LANSING          MI   48911‐5614
STAGGEMEIER, KARL B                 24638 KEMPER OAKS                                                                                 SAN ANTONIO      TX   78260
STAGGENBURG, BERNARD A              2211 SAGAMORE DR                                                                                  ANDERSON         IN   46011‐9023
STAGGER, MATTIE B                   329 INDEPENDENCE DR                                                                               ALBANY           GA   31705‐2512
STAGGER, MUSSOLINI                  329 INDEPENDENCE DR                                                                               ALBANY           GA   31705‐2512
STAGGS JR, BOBBIE J                 1665 SWAFFER RD                                                                                   SILVERWOOD       MI   48760‐9542
STAGGS JR, JAMES E                  145 JUSTIN DR                                                                                     MOORESVILLE      IN   46158‐7686
STAGGS JR, JOE                      7903 LINDA CIR                                                                                    CATLETTSBURG     KY   41129‐8743
STAGGS, ADA                         1081 WALLACE MILL RD                                                                              MUSCHLE SHOALS   AL   35661
STAGGS, ALBERT P                    4654 REDWOOD DR                                                                                   FAIRFIELD        OH   45014‐1634
STAGGS, ANNIE B                     13147 HWY 90                                                                                      RECTOR           AR   72461‐8613
STAGGS, ANNIE B                     13147 HIGHWAY 90                                                                                  RECTOR           AR   72461‐8613
STAGGS, BOBBY E                     RR 4 BOX 2689                                                                                     STIGLER          OK   74462‐9306
STAGGS, BONNIE J                    PO BOX 118                                                                                        FERNLEY          NV   89408‐0118
STAGGS, CARMEN R                    478 RED HILL CENTER RD                                                                            LAWRENCEBURG     TN   38464‐6842
STAGGS, CHERYL S                    638 SIGNORELLI DR                                                                                 NOKOMIS          FL   34275‐3587
STAGGS, CRYSTAL H                   1812 S CROSS LAKES CIR APT A     C/O WANDA M RHEA                                                 ANDERSON         IN   46012‐4930
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Name                   Address1                         Address2            Address3       Address4         City               State Zip
STAGGS, DONMON A       7049 PORTER RD                                                                       GRAND BLANC         MI 48439‐8505
STAGGS, DWIGHT W       5335 HONEY COMB LN                                                                   INDIANAPOLIS        IN 46221
STAGGS, DWIGHT W       PO BOX 42                                                                            SPRINGVILLE         IN 47462
STAGGS, EDWARD L       19 W SUNRISE AVE                                                                     TROTWOOD            OH 45426‐3525
STAGGS, ELMER P        207 N SPARTA ST                                                                      OKAWVILLE            IL 62271
STAGGS, EMOGENE S      12186 US HIGHWAY 72                                                                  ATHENS              AL 35611‐8586
STAGGS, FRANCES        8292 SW 41 PL ROAD                                                                   OCALA               FL 34481
STAGGS, GENE T         638 SIGNORELLI DR                                                                    NOKOMIS             FL 34275‐3587
STAGGS, HARRY LEE      SHANNON LAW FIRM                 100 W GALLATIN ST                                   HAZLEHURST          MS 39083‐3007
STAGGS, HELEN C        5000 ASTON GARDENS DR UNIT 303                                                       VENICE              FL 34292‐6009
STAGGS, JANICE         RT 4 BOX 2689                                                                        STIGLER             OK 74462‐9306
STAGGS, JERRY L        84196 1ST ST                                                                         HARTFORD            MI 49057‐9685
STAGGS, JIMMY L        12703 PETER MOORE LN                                                                 DE SOTO             MO 63020‐4749
STAGGS, KELLY          LOT 11 NORTHSIDE VLG                                                                 MITCHELL            IN 47446
STAGGS, LOIS           1003 W NATIONAL AVE # 205                                                            MARION              IN 46952
STAGGS, MINNIE N       104 RADCLIFF LANE                                                                    HENDERSONVILLE      TN 37075‐7075
STAGGS, MINNIE N       104 RADCLIFF LN                                                                      HENDERSONVILLE      TN 37075‐7116
STAGGS, NINA L.        4064 E 575 S                                                                         MARKLEVILLE         IN 46056‐9746
STAGGS, NINA L.        4064 EAST 575 SOUTH                                                                  MARKLEVILLE         IN 46056‐9746
STAGGS, PAUL D         411 W SHOSHONI TRL                                                                   NEW CASTLE          IN 47362‐8938
STAGGS, RAYMON J       PO BOX 93                                                                            MOORESVILLE         IN 46158‐0093
STAGGS, RENDA I        PO BOX 93                                                                            MOORESVILLE         IN 46158‐0093
STAGGS, ROBERT E       2938 E 250 N                                                                         BLUFFTON            IN 45714‐9257
STAGGS, RUTH           839 EAST SOUTH D STREET                                                              GAS CITY            IN 46933
STAGGS, RUTH           839 E SOUTH D ST                                                                     GAS CITY            IN 46933‐2062
STAGGS, STAN           12919 OXFORD RD                                                                      GERMANTOWN          OH 45327‐9789
STAGGS, THELMA         1440 ERVIN PATTERSON RD                                                              ALBERTVILLE         AL 35951‐6347
STAGGS, THERESA A      403 TAVISTOCK DR                                                                     MOORESVILLE         IN 46158‐1392
STAGGS, WILLENE        175 CORWIN LOT 32                                                                    LAWRENCE            MI 49064‐9508
STAGGS, WILLIAM D      PO BOX 33                                                                            BROWN CITY          MI 48416‐0033
STAGGS, WILLIAM F      SHANNON LAW FIRM                 100 W GALLATIN ST                                   HAZLEHURST          MS 39083‐3007
STAGGS, WILLIAM T      1081 WALLACE MILL ROAD                                                               MUSCLE SHOALS       AL 35661‐5334
STAGLIANO, ADELINE T   3130 BRODERICK ST APT 201                                                            SAN FRANCISCO       CA 94123‐2434
STAGLIANO, DONALD J    28 BLACK WILLOW ST                                                                   HOMOSASSA           FL 34446
STAGLIANO, HELEN R     9‐8 FOXWOOD DR.                                                                      PLEASANTVILLE       NY 10570‐1641
STAGLIANO, HELEN R     9 FOXWOOD DR APT 8                                                                   PLEASANTVILLE       NY 10570‐1641
STAGLIANO, MARCELLA    31 FOXE COMMONS                                                                      ROCHESTER           NY 14624‐4382
STAGMAN, LOLA J        G3139 N BELSAY RD                                                                    FLINT               MI 48506
STAGNER, AMY M         2151 PORTSIDE DR                                                                     LAKE VIEW           NY 14085‐9687
STAGNER, AMY M         4220 THORNWOOD LN                                                                    BUFFALO             NY 14221‐7364
STAGNER, ANN           1459 RAINBROOKWAY                                                                    CORONA              CA 92882
STAGNER, ANN           1459 RAINBROOK WAY                                                                   CORONA              CA 92882‐3016
STAGNER, CHERLYN M     26363 LA MUERA ST                                                                    FARMINGTON HILLS    MI 48334‐4725
STAGNER, DALE L        12420 STATE ROUTE A SE                                                               FAUCETT             MO 64448‐8199
STAGNER, DONALD E      8050 STATE ROUTE H SE                                                                AGENCY              MO 64401‐8145
STAGNER, DOUGLAS L     513 BANCROFT WAY                                                                     FRANKLIN            TN 37064‐2174
STAGNER, FREDDIE M     PO BOX 155                                                                           MONTALBA            TX 75853‐9477
STAGNER, LARRY D       3350 SE MCQUEEN RD                                                                   SAINT JOSEPH        MO 64507‐8006
STAGNER, LARRY D       2700 ELLIS ST                                                                        VENUS               TX 76084‐3319
STAGNER, LARRY DEAN    2700 ELLIS ST                                                                        VENUS               TX 76084‐3319
STAGNER, PEAR          5940 HEREFORD                                                                        DETROIT             MI 48224‐2056
STAGNER, ROGER F       3063 HIGHWAY UU                                                                      CUBA                MO 65453‐6244
                                         09-50026-mg              Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
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Name                                    Address1                               Address2                         Address3                 Address4             City            State Zip
STAGNER, SARA JANE                      2600 EASY ST                                                                                                          DENISON          TX 75020‐7122
STAGNITTA, NORMA                        5207 SILVER FOX DR                                                                                                    JAMESVILLE       NY 13078‐8742
STAGNITTA, ROSA                         140 WAKEMAN PL                                                                                                        BROOKLYN         NY 11220‐4802
STAGNOLIA PAMELA (ESTATE OF) (493115)   BEVAN & ASSOCIATES                     10360 NORTHFIELD ROAD , BEVAN                                                  NORTHFIELD       OH 44067
                                                                               PROFESSIONAL BLDG
STAGON, JOHN F                          14151 RIDGE RD                                                                                                        NO HUNTINGDON   PA 15642‐2169
STAGRA AUTOMOTIVE LTD.                  1375 GREELY LANE                                                                                 GREELY ON K4P 1A1
                                                                                                                                         CANADA
STAGRAY, DUANE E                        1726 E NORTH BOUTELL RD                                                                                               LINWOOD         MI 48634‐9554
STAHEL, ARNOLD E                        185 E THOMPSON                                                                                                        WEST ST PAUL    MN 55118‐3232
STAHELIN, ROBERT R                      3208 AVERILL DR                                                                                                       LANSING         MI 48911‐1402
STAHL / CARDINGTON
STAHL / CARDINGTON                      PO BOX 8                                                                                                              CARDINGTON      OH 43315‐0008
STAHL A SCOTT FETZER COMPANY            NORLING KOLSRUD SIFFERMAN & DAVIS      SUITE 690‐NATIONAL BANK PLAZA,                                                 PHOENIX         AZ 85012
                                        P.L.C.                                 3101 NORTH CENTRAL AVENUE

STAHL CORBIN                            STAHL, CORBIN                          3 SUMMIT PARK DR STE 100                                                       INDEPENDENCE    OH 44131‐2598
STAHL COWEN CROWLEY ADDIS LLC           ATTY FOR GM NAT'L RETIREE ASS., OVER   ATT: TRENT P. CORNELL, ESQ.      55 WEST MONROE STREET,                        CHICAGO         IL 60603
                                        THE HILL CAR PEOPLE, LLC                                                SUITE 1200
STAHL GORDON                            10575 E FREMONT RD                                                                                                    SAINT LOUIS     MI   48880‐9518
STAHL JAMES D II                        STAHL, JAMES D                         215 COURT ST                                                                   MAYSVILLE       KY   41056‐1105
STAHL JOHN (457738)                     GEORGE & SIPES                         151 N DELAWARE ST                STE 1700                                      INDIANAPOLIS    IN   46204‐2503
STAHL JOSEPH (667189)                   WISE & JULIAN                          156 N MAIN STREET STOP 1                                                       EDWARDSVILLE    IL   62025‐1972
STAHL JOYCE (ESTATE OF) (654779)        LANIER LAW FIRM                        6810 FM 1960 WEST SUITE 1550                                                   HOUSTON         TX   77069
STAHL JR, JOHN D                        8718 CAMBRIDGE DR                                                                                                     VERSAILLES      OH   45380‐9569
STAHL JR, KENNETH G                     14330 BRANT RD                                                                                                        SAINT CHARLES   MI   48655‐8503
STAHL LYDIA (447915)                    BEVAN & ASSOCIATES                     10360 NORTHFIELD ROAD , BEVAN                                                  NORTHFIELD      OH   44067
                                                                               PROFESSIONAL BLDG
STAHL METAL PRODUCTS                    ERIC BLASHFORD                         3201 W. LINCOLN WAY                                                            WOOSTER         OH 44691
STAHL METAL PRODUCTS/CARDINGTON         PO BOX 8                                                                                                              CARDINGTON      OH 43315‐0008

STAHL METAL PRODUCTS/CARDINGTON

STAHL METAL PRODUCTS/DURANT             92 WALDRON DR                                                                                                         DURANT          OK   74701‐1900
STAHL RICHARD                           228 TERRE HILL DR                                                                                                     CORTLAND        OH   44410‐1635
STAHL SPECIALTY CO                      111 E PACIFIC ST                                                                                                      KINGSVILLE      MO   64061‐2510
STAHL SPECIALTY CO                      KARL JAEGER                            111 E PACIFIC ST                                                               KINGSVILLE      MO   64061‐2510
STAHL SPECIALTY CO                      KARL JAEGER                            111 E. PACIFIC AVE.                                                            BUTLER          NJ   07405
STAHL SPECIALTY CO                      111 E PACIFIC                                                                                                         KINGSVILLE      MO   64061
STAHL SPECIALTY CO.                     KARL JAEGER                            111 E PACIFIC ST                                                               KINGSVILLE      MO   64061‐2510
STAHL SPECIALTY CO.                     KARL JAEGER                            111 E. PACIFIC AVE.                                                            BUTLER          NJ   07405
STAHL SPECIALTY COMPANY                 PO BOX 6                                                                                                              KINGSVILLE      MO   64061‐0006
STAHL THOMAS                            STAHL, THOMAS                          120 WEST MADISON STREET 10TH                                                   CHICAGO         IL   60602
                                                                               FLOOR
STAHL, ALBERT D                         8500 N LUTHER RD                                                                                                      HARRAH          OK   73045‐8506
STAHL, ALICE                            17374 BIGLEAF MAPLE BLVD               APT 918                                                                        WESTFIELD       IN   46074‐5061
STAHL, ALICE T                          11328 N BRAY RD                                                                                                       CLIO            MI   48420‐7954
STAHL, ALMA J                           111 MEATH ROAD                                                                                                        EATON RAPIDS    MI   48827‐1360
STAHL, ALMA J                           111 MEATH RD                                                                                                          EATON RAPIDS    MI   48827‐1360
STAHL, BARBARA E                        5619 GARDEN LAKES DR                                                                                                  BRADENTON       FL   34203‐7222
STAHL, BETTY J                          36 HIGH POINTE CT                                                                                                     TIFFIN          OH   44883‐2650
STAHL, BETTY J                          408 W BUTLER ST                                                                                                       KOKOMO          IN   46901‐2257
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Name                Address1                       Address2                  Address3   Address4         City           State Zip
STAHL, BETTY J      36 HIGH POINT CRT                                                                    TIFFIN          OH 44883
STAHL, BEVERLY D    4561 BROUGHTON DRIVE                                                                 BLOOMFIELD      MI 48301‐1102
STAHL, BILLY D      5510 BENTGREEN DR                                                                    DALLAS          TX 75248‐2014
STAHL, BILLY N      204 MARWINETTE PL                                                                    HOT SPRINGS     AR 71913‐6544
STAHL, BRANDON M    8230 ROAD 177                                                                        OAKWOOD         OH 45873‐9459
STAHL, CARL H       PO BOX 741                                                                           PIGEON          MI 48755‐0741
STAHL, CHARLES      233 W LYNN ST                                                                        SAGINAW         MI 48604‐2211
STAHL, CHARLES A    53 RUNNING BROOK LN                                                                  ROCHESTER       NY 14626‐1966
STAHL, CHARLES E    198 UNION AVE                                                                        SHARPSVILLE     PA 16150‐1328
STAHL, CHARLES J    2663 MANSFIELD DR                                                                    EAST LANSING    MI 48823‐3860
STAHL, CHARLES S    3128 NILES CORTLAND RD                                                               CORTLAND        OH 44410
STAHL, CYNTHIA A    6556 WOLCOTTSVILLE RD                                                                AKRON           NY 14001‐9004
STAHL, DANIEL F     1274 SHERWOOD DR                                                                     DANVILLE        IN 46122‐1442
STAHL, DANIEL F.    1274 SHERWOOD DR                                                                     DANVILLE        IN 46122‐1442
STAHL, DANNY J      4910 SEMINARY RD                                                                     ALTON            IL 62002‐7568
STAHL, DANNY J.     4910 SEMINARY RD                                                                     ALTON            IL 62002‐7568
STAHL, DAVID B      4042 PINECREST DR                                                                    TOLEDO          OH 43623‐2112
STAHL, DAVID J      5925 DRUMHELLER RD                                                                   BATH            MI 48808‐8726
STAHL, DAVID JACK   5925 DRUMHELLER ROAD                                                                 BATH            MI 48808‐8726
STAHL, DAVID M      22615 TOLLGATE RD                                                                    CICERO          IN 46034‐9749
STAHL, DELORES J    525 E COZY ST                                                                        SPRINGFIELD     MO 65807‐1619
STAHL, DELORES J    525 E. COZY                                                                          SPRINGFIELD     MO 65807
STAHL, DENNIS C     15134 W MIDDLETOWN RD                                                                BELOIT          OH 44609‐9732
STAHL, DENNIS J     3179 E FISHER RD                                                                     BAY CITY        MI 48706‐3131
STAHL, DENNIS J     342 OAK KNOLL LN                                                                     CARO            MI 48723‐9523
STAHL, DONALD E     2784 W ALBAIN RD                                                                     MONROE          MI 48161‐9553
STAHL, DONALD R     5050 BIGGER RD                                                                       KETTERING       OH 45440‐2506
STAHL, DOUGLAS A    871 W OAKRIDGE ST                                                                    FERNDALE        MI 48220‐2753
STAHL, DUANE A      120 CHESTNUT CT                                                                      MANSFIELD       OH 44906‐4012
STAHL, DUANE A.     120 CHESTNUT CT                                                                      MANSFIELD       OH 44906‐4012
STAHL, DWIGHT G     5721 E COUNTY ROAD 500 S                                                             MUNCIE          IN 47302‐8462
STAHL, EDWARD E     2233 W JEFFERSON ST            NORTH WOODS VILLAGE                                   KOKOMO          IN 46901‐4121
STAHL, ELEANOR F    92 CLARK ST                                                                          TONAWANDA       NY 14150‐5206
STAHL, ELIZABETH    3393 CARRIE AVE 23                                                                   ALLEGAN         MI 49010
STAHL, EMMA E       4422 INDIAN TRAIL RD           C/O MELVIN CHONTOFALSKY                               NORTHAMPTON     PA 18067‐9483
STAHL, ERDEEN M     1320 SEQUOIA PLZ                                                                     UKIAH           CA 95482‐3631
STAHL, ERIK C       3853 ETHEL DR                                                                        MIDDLEVILLE     MI 49333‐8378
STAHL, ERIK C.      3853 ETHEL DR                                                                        MIDDLEVILLE     MI 49333‐8378
STAHL, ERNEST A     2332 JOHNSON CREEK RD                                                                BARKER          NY 14012‐9626
STAHL, FLOYD E      205 BRANDON CT                                                                       ENGLEWOOD       OH 45322‐2479
STAHL, FOREST F     7808 W CROOKED CREEK CT                                                              MUNCIE          IN 47304‐9613
STAHL, GABRIEL      5984 MARBLE DR                                                                       TROY            MI 48085‐3921
STAHL, GARY E       913 WOODLYNN RD                                                                      BALTIMORE       MD 21221‐5239
STAHL, GARY L       41515 GARDEN WAY DR                                                                  STERLING HTS    MI 48314‐3831
STAHL, GARY R       5200 KING RD                                                                         BRIDGEPORT      MI 48722‐9738
STAHL, GEORGIA M    2610 S GOYER RD                                                                      KOKOMO          IN 46902‐4103
STAHL, GLENN        3127 RIDGE RD                                                                        WHITE LAKE      MI 48383‐1762
STAHL, GLENN E      3127 RIDGE RD                                                                        WHITE LAKE      MI 48383‐1762
STAHL, GORDON D     10575 E FREMONT RD                                                                   SAINT LOUIS     MI 48880‐9518
STAHL, GRANT L      10020 LAURELWOOD LN                                                                  FREELAND        MI 48623‐8841
STAHL, HAROLD K     5553 OSTER DR                                                                        WATERFORD       MI 48327‐2760
STAHL, HARRY L      303 ELDER ST                                                                         ANDERSON        IN 46012‐2420
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Name                          Address1                           Address2                       Address3   Address4         City            State Zip
STAHL, HELEN E                195 E MAIN ST                                                                                 CORTLAND         OH 44410‐1239
STAHL, HENRIETTA              2795 ALDRIN DR                                                                                LAKE ORION       MI 48360‐1902
STAHL, IAN G                  723 DETROIT AVE                                                                               ROYAL OAK        MI 48073‐3694
STAHL, JAMES                  1094 SMITH TER                                                                                MAYSVILLE        KY 41056‐8457
STAHL, JAMES A                22523 STATE ROUTE 613                                                                         OAKWOOD          OH 45873‐9522
STAHL, JAMES D                ROYSE ZWEIGART KIRK BRAMMER &      215 COURT ST                                               MAYSVILLE        KY 41056‐1105
                              CAUDILL
STAHL, JAMES E                2253 E SAINT CHARLES RD                                                                       ITHACA          MI   48847‐9722
STAHL, JAMES J                6608 NORTHWOODS RD                                                                            ARCADE          NY   14009‐9795
STAHL, JAMES JOSEPH           6608 NORTHWOODS RD                                                                            ARCADE          NY   14009‐9795
STAHL, JANET S                114 W DEFENBAUGH ST                                                                           KOKOMO          IN   46902
STAHL, JANICE L               8718 CAMBRIDGE DR                                                                             VERSAILLES      OH   45380‐9569
STAHL, JEAN L                 7526 GARNETT ST                    C/O HOWARD E STAHL JR.                                     SHAWNEE         KS   66214‐1368
STAHL, JEANETTE S             PO BOX 241122                                                                                 INDIANAPOLIS    IN   46224‐9322
STAHL, JERRY A                902 CARROLL DR                                                                                CLARE           MI   48617‐9015
STAHL, JOHN                   GEORGE & SIPES                     151 N DELAWARE ST STE 1700                                 INDIANAPOLIS    IN   46204‐2503
STAHL, JOHN J                 328 YOUNG ST                                                                                  TONAWANDA       NY   14150‐4013
STAHL, JOHN JEROME            328 YOUNG ST                                                                                  TONAWANDA       NY   14150‐4013
STAHL, JOSEPH                 C/O GORI JULIAN @ ASSOCIATES P C   156 N MAIN ST                                              EDWARDSVILLE    IL   62025
STAHL, JOYCE                  LANIER LAW FIRM                    6810 FM 1960 WEST SUITE 1550                               HOUSTON         TX   77069
STAHL, JOYCE / EARL H STAHL   ICO THE LANIER LAW FIRM PC         6810 FM 1960 WEST                                          HOUSTON         TX   77069
STAHL, JUDY M                 6035 S TRANSIT RD LOT 149                                                                     LOCKPORT        NY   14094‐6324
STAHL, KATIE J                7140 CHAMA TRL                                                                                ENON            OH   45323‐1522
STAHL, KEITH A                7144 KATY DR                                                                                  VASSAR          MI   48768‐9242
STAHL, KELLY M                611 HICKORY RIDGE DR                                                                          TECUMSEH        MI   49286‐1091
STAHL, KYLE D                 7461 W CHADWICK RD                                                                            DEWITT          MI   48820‐8054
STAHL, LARRY L                3520 BANGOR RD                                                                                BAY CITY        MI   48706‐2211
STAHL, LINDA M                10 HAWKES STREET                                                                              MARBLEHEAD      MA   01945‐3138
STAHL, LYDIA                  BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD      OH   44067
                                                                 PROFESSIONAL BLDG
STAHL, MARGARET               31 ST JUDE CIRCLE                                                                             FLORENCE        KY   41042‐2504
STAHL, MARGARET               31 SAINT JUDE CIR                                                                             FLORENCE        KY   41042‐2504
STAHL, MARK G                 440 N SASHABAW RD                                                                             ORTONVILLE      MI   48462‐9141
STAHL, MARK G.                440 N SASHABAW RD                                                                             ORTONVILLE      MI   48462‐9141
STAHL, MARSHA A               2347 LYNN DR                                                                                  KOKOMO          IN   46902‐6507
STAHL, MARY A                 1209 S PURDUM ST                                                                              KOKOMO          IN   46902‐1756
STAHL, MARY S                 10 STOREY LN                       C/O VIRGINIA A. HOLCOMB                                    BATESVILLE      AR   72501‐8378
STAHL, MATTHEW J              111 POLO DRIVE                                                                                NORTH WALES     PA   19454‐4242
STAHL, MELISSA M              607 S CANAL RD                                                                                LANSING         MI   48917‐9696
STAHL, MICHAEL P              752 S VENOY RD                                                                                WESTLAND        MI   48186‐4893
STAHL, MICHAEL PATRICK        752 S VENOY RD                                                                                WESTLAND        MI   48186‐4893
STAHL, MICHAEL R              223 PEBBLE BROOK DR                                                                           CHARLESTOWN     IN   47111‐7811
STAHL, MITCHELL F             15912 NATHAN DR                                                                               MACOMB          MI   48044‐4952
STAHL, MITCHELL F             4475 SHADOW GLEN CV                                                                           HORN LAKE       MS   38637
STAHL, NORMA C                7282 CREEK RD                                                                                 LOCKPORT        NY   14094
STAHL, NORMAN A               4416 WOODNER ROAD                                                                             KETTERING       OH   45440‐1223
STAHL, NORMAN A               4416 WOODNER DR                                                                               KETTERING       OH   45440‐1223
STAHL, PHILLIP L              8332 PARKRIDGE DRIVE                                                                          DEXTER          MI   48130‐9397
STAHL, PHILLIP N              202 E STATE ST                                                                                SAINT LOUIS     MI   48880‐1761
STAHL, RAYMOND H              289 SOUTHVIEW DR                                                                              ARCADE          NY   14009‐9519
STAHL, RICHARD L              228 TERRE HILL DR                                                                             CORTLAND        OH   44410‐1635
STAHL, ROBERT G               APT F                              8 SOMERSET HILLS COURT                                     BERNARDSVILLE   NJ   07924‐2627
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Name                             Address1                         Address2                        Address3   Address4                City              State Zip
STAHL, ROBERT J                  5940 GARRISON ROAD                                                                                  FRANKLIN           TN 37064‐9301
STAHL, ROBERT L                  1140 W STOLL RD                                                                                     DEWITT             MI 48820‐8652
STAHL, ROBERT L                  28763 PARK WOODLAND PL                                                                              SANTA CLARITA      CA 91390‐3104
STAHL, ROBERT L                  1930 BEECH SPRINGS CT                                                                               CUMMING            GA 30040‐2858
STAHL, SUSANN                    6731 BRUTON DR                                                                                      INDIANAPOLIS       IN 46256
STAHL, SUZANNE L                 650 W. RHOBY RD                                                                                     LAKE CITY          MI 49651‐8412
STAHL, SUZANNE L                 650 W RHOBY RD                                                                                      LAKE CITY          MI 49651‐8412
STAHL, TERRY L                   650 W RHOBY RD                                                                                      LAKE CITY          MI 49651‐8412
STAHL, THOMAS W                  422 WATERVLIET AVE                                                                                  DAYTON             OH 45420‐2467
STAHL, VIOLA A                   6867 WOLCOTTSVILLE RD                                                                               AKRON              NY 14001‐9005
STAHL, WILLARD S                 1982 BISSONETTE RD                                                                                  OSCODA             MI 48750‐9218
STAHL, WILLIAM H                 117 ROCKINGHAM AVE                                                                                  ALMA               MI 48801‐2427
STAHL, WILLIAM M                 3649 INDIAN RUN DR UNIT 6                                                                           CANFIELD           OH 44406‐9018
STAHL‐BARBAT, KRIEMHILD M        14580 WILMOT WAY                                                                                    LAKE OSWEGO        OR 97035‐6531
STAHL‐UND METALLBAU GMBH         RUDOLF‐DIESEL‐STR 4              GEWERBOPORK AM NURBURGRING                 MEUSPATH 53520
                                                                                                             GERMANY
STAHL/HIGHWAY 58                 HIGHWAY 58                                                                                          KINGSVILLE        MO   64061
STAHLBAUM CATRINA                STAHLBAUN, CATRINA               PO BOX 27                                                          LAHAINA           HI   96767‐0027
STAHLBAUN, CATRINA               PO BOX 27                                                                                           LAHAINA           HI   96767‐0027
STAHLE, GARY R                   528 WATERVIEW CT                                                                                    CANTON            MI   48188‐6261
STAHLER BOB                      2302 ROSE AVE                                                                                       WEST PORTSMOUTH   OH   45663‐6240
STAHLER FINANCIAL GROUP          ATTN: CHARLES STAHLER            1555 S WASHINGTON AVE # 2                                          SAGINAW           MI   48601‐2818
STAHLER JAYSON D                 DBA STAHLERS WELDING LLC         317 STAHLER LN                                                     MURRAY            KY   42071‐6712
STAHLER TRUCKING & LEASING INC   208 E HARRISON ST                                                                                   WAPAKONETA        OH   45895‐1553
STAHLER, DAVID R                 404 ABINGDON ST                                                                                     CHESANING         MI   48616‐1603
STAHLER, RONALD E                317 PENN ST                                                                                         TAMAQUA           PA   18252‐2315
STAHLER, RYAN H                  760 COMANCHE LN APT 7                                                                               TIPP CITY         OH   45371‐1548
STAHLEY, DENNIS G                8223 STAHLEY DR                                                                                     CINCINNATI        OH   45239‐3965
STAHLGRUBER OTTO GRUBER AG       119 ROCKLAND AVE                 PO BOX 76                                                          NORTHVALE         NJ   07647
STAHLHEBER, ROBERT W             737 GREENWOOD DR                                                                                    MIDWEST CITY      OK   73110‐1633
STAHLI, WILLIAM F                5903 W JACKSON ST                                                                                   LOCKPORT          NY   14094‐1726
STAHLMAN, BERNARD L              4700 OLD FRENCH TOWN RD SPC 59                                                                      SHINGLE SPRINGS   CA   95682‐8316
STAHLO STAHLHANDLES GMBH         KASSELER STRASSE 27                                                         DILLENBURG D‐35683
                                                                                                             GERMANY
STAHLSCHMIDT & MAIWORM USA INC
STAHLSCHMIDT &/GERMA             BRUCHSTRASSE 34                                                             BAD DURKHEIM GE 67098
                                                                                                             GERMANY
STAHLSCHMIDT, JOSEPH T           444 FORT SARATOGA                                                                                   SAINT CHARLES     MO   63303‐1766
STAHLSCHMIDT/AUBURN              979 W VETERANS BLVD                                                                                 AUBURN            AL   36832‐6930
STAHLY CARTAGE CO                PO BOX 486                                                                                          EDWARDSVILLE      IL   62025‐0486
STAHLY NATIONALEASE              I‐55 VETERAN PKWY & MERCER AVE                                                                      BLOOMINGTON       IL   61702
STAHLY, DONNA J                  2921 LOVERS LANE                                                                                    RAVENNA           OH   44266‐8978
STAHLY, DONNA J                  2921 LOVERS LN                                                                                      RAVENNA           OH   44266‐8978
STAHN, GEORGE C                  3721 PEACH ST                                                                                       EULESS            TX   76040‐7205
STAHOVEC, ROBERT G               69701 CAMPGROUND RD                                                                                 BRUCE TWP         MI   48065‐4325
STAHR, JEANANNE E                1087 ARCARO DR                                                                                      GAHANNA           OH   43230‐3858
STAHURSKI, ROSEMARIE C           6819 VIRGINIA AVE                                                                                   PARMA             OH   44129
STAIB, DIANA M                   10107 CAVE AVE                                                                                      BAKERSFIELD       CA   93312‐2409
STAIB, RAYMOND E                 4104 ONSTED HWY                                                                                     ADRIAN            MI   49221‐9437
STAIER, JOSEPH E                 BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG, 233 EAST                                      JACKSONVILLE      FL   32202
                                 MCCLAMMA & YEGELWEL P.A.         BAY STREET
STAIF, HELEN                     32457 NEWCASTLE DR                                                                                  WARREN            MI 48093‐6152
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Name                                 Address1                         Address2                      Address3               Address4             City            State Zip
STAILEY, CRYSTAL R                   215 N PIKE RD                                                                                              SPRINGVILLE      IN 47462‐5068
STAILEY, DEBRA L                     6167 WILLIAMS RD                                                                                           BEDFORD          IN 47421‐8359
STAILEY, DELMER S                    4921 PLANTATION ST                                                                                         ANDERSON         IN 46013‐2896
STAILEY, F L                         981 STARS BLVD                                                                                             BEDFORD          IN 47421‐7661
STAILEY, KATHERINE A                 8719 RIDGEWAY AVE                                                                                          SKOKIE            IL 60076‐2213
STAILEY, KEVIN                       6167 WILLIAMS RD                                                                                           BEDFORD          IN 47421‐8359
STAILEY, PEARL M                     70 LINCOLN AVE                                                                                             BEDFORD          IN 47421‐1611
STAILEY, RICHARD A                   8719 RIDGEWAY AVE                                                                                          SKOKIE            IL 60076‐2213
STAILEY, TERRY L                     1692 MINK CT                                                                                               PENDLETON        IN 46064‐9276
STAIN, JEREMY
STAINBACK AUTO SERVICE               3727 WEONA AVE                                                                                             CHARLOTTE       NC    28209‐2355
STAINBACK, LEROY                     12240 ILENE ST                                                                                             DETROIT         MI    48204‐1080
STAINBROOK JR, JACK E                1016 ASHLAND AVE                                                                                           NEW WHITELAND   IN    46184‐1001
STAINBROOK SR, JACK E                200 PARKVIEW CT                                                                                            FRANKLIN        IN    46131‐1004
STAINBROOK, JULIA A                  1007 NORTH WRIGHT RD. APT #4                                                                               JANESVILLE      WI    53546‐1857
STAINBROOK, JULIA A                  1007 N WRIGHT RD APT 4                                                                                     JANESVILLE      WI    53546‐1857
STAINBROOK, PATSY S                  11 N PENN AVE                                                                                              GREENVILLE      PA    16125‐2008
STAINBROOK, PATSY S                  11 PENN AVE                                                                                                GREENVILLE      PA    16125‐6125
STAINBROOK, RICK T                   1499 WESTWOOD DR                                                                                           FLINT           MI    48532‐2669
STAINFORTH, CHARLES A                1116 N HURON RD                                                                                            TAWAS CITY      MI    48763‐9426
STAINFORTH, DANIEL E                 PO BOX 876                                                                                                 ELK RAPIDS      MI    49629‐0876
STAINLESS PRECISION COMPONENTS       CHEVROLET STR MARKMAN IND PARK   ELIZABETH                                            SOUTH AFRICA
STAINLESS PRECISION COMPONENTS       TIM HALL                         WRP MANUFACTURING             CHEVROLET ST MACKMAN                        NOVI             MI
                                                                                                    INDUSTRIA
STAINLESS PRECISION COMPONENTS PTY   TIM HALL                         WRP MANUFACTURING             CHEVROLET ST MACKMAN                        NOVI             MI
                                                                                                    INDUSTRIA
STAINLESS STEEL BRAKES CORP          11470 MAIN ST                                                                                              CLARENCE        NY 14031‐1720
STAINLESS TUBULAR PRODUCTS INC       27 ENGLEHARD DR                                                                                            MONROE TWP      NJ 08831‐3722
STAINS HARRY E (429859)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA 23510
                                                                      STREET, SUITE 600
STAINS, DONALD E                     317 ELLEN DR                                                                                               CHEEKTOWAGA     NY 14225‐1322
STAINS, HARRY E                      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA 23510‐2212
                                                                      STREET, SUITE 600
STAINTON, DANIEL J                   7255 S FORK DR                                                                                             SWARTZ CREEK    MI 48473‐9759
STAINTON, DANIEL JOSEPH              7255 S FORK DR                                                                                             SWARTZ CREEK    MI 48473‐9759
STAIR ALLEN C (339728)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA 23510
                                                                      STREET, SUITE 600
STAIR DONALD L (626783)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA 23510
                                                                      STREET, SUITE 600
STAIR GERALD (459360)                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA 23510
                                                                      STREET, SUITE 600
STAIR MASTER/KIRKLAN                 12421 WILLOWS ROAD NF            SUITE 100                                                                 KIRKLAND        WA 98034
STAIR, ALLEN C                       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA 23510‐2212
                                                                      STREET, SUITE 600
STAIR, BRIAN E                       520 ALEXANDER DRIVE                                                                                        DAYTON          OH 45403‐3252
STAIR, DONALD L                      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA 23510‐2212
                                                                      STREET, SUITE 600
STAIR, GAINES E                      3103 FALL DR PARK ESTA           TES                                                                       ANDERSON        IN 46011
STAIR, GERALD                        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA 23510‐2212
                                                                      STREET, SUITE 600
STAIR, SCOTT B                       4641 N RAINBOW COURT                                                                                       WILLIAMSBURG    MI 49690
STAIRHIME, NORVAL L                  5745 HUBER RD                                                                                              HICKSVILLE      OH 43526‐9752
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Name                                Address1                          Address2            Address3         Address4                City               State Zip
STAIRHIME, RICHARD                  PORTER & MALOUF PA                4670 MCWILLIE DR                                             JACKSON             MS 39206‐5621
STAIRKS, DOROTHY L                  450 SOUTH 9TH AVENUE                                                                           PIGGOTT             AR 72454
STAIRKS, DOROTHY L                  450 S 9TH AVE                                                                                  PIGGOTT             AR 72454‐2501
STAIRS, ANDREW L                    16365 WHITTAKER RD                                                                             LINDEN              MI 48451‐9096
STAIRS, CINDY L                     11719 CARLISLE HWY                                                                             NASHVILLE           MI 49073‐9117
STAIRS, DAVID W                     10120 W EATON HWY                                                                              GRAND LEDGE         MI 48837‐9101
STAIRS, JEROME A                    2354 RIEDEN ST                                                                                 DETROIT             MI 48209‐1243
STAIRS, RICHARD L                   11719 CARLISLE HWY                                                                             NASHVILLE           MI 49073‐9117
STAJDL, JEFFREY C                   830 N MILLER RD                                                                                SAGINAW             MI 48609‐4857
STAJDL, PHILLIP J                   7112 DEBORAH DR                                                                                SAGINAW             MI 48609‐5228
STAJDL, RICHARD P                   7181 RONALD DR                                                                                 SAGINAW             MI 48609‐6941
STAJDL, SCOTT P                     2595 S CENTER RD                                                                               SAGINAW             MI 48609‐7065
STAJEK, CATHERINE M                 4 MOUNT FAIRWEATHER LANE          HOLIDAY CITY                                                 TOMS RIVER          NJ 08753‐1535
STAJIC, MILIVOJE                    2041 LEITCH RD                                                                                 FERNDALE            MI 48220‐1509
STAJIC, SAVO                        2626 HARTLINE DRIVE                                                                            ROCHESTER HLS       MI 48309‐3838
STAJKOWSKI, DANIEL F                5815 WILDWOOD RD                                                                               ALGER               MI 48610‐9536
STAJKOWSKI, JUDITH A                5815 WILDWOOD RD                                                                               ALGER               MI 48610‐9536
STAJKOWSKI, TIMOTHY P               1411 MIDLAND RD                                                                                BAY CITY            MI 48706‐9474
STAJNINGER, JOHN                    28570 ANCHOR DR                                                                                CHESTERFIELD        MI 48047‐5303
STAK INDUSTRIES INC                 3375 NORTH SERVICE RD UNIT C8                                          BURLINGTON ON L7N 3G2
                                                                                                           CANADA
STAK INDUSTRIES INC
STAKE, RICHARD M                   344 NORTH AVE                                                                                   N TONAWANDA        NY   14120‐1722
STAKEL, JOHN F                     9015 SALTSBURG RD                                                                               PITTSBURGH         PA   15239‐2049
STAKEL, MARY J                     9015 SALTSBURG RD                                                                               PITTSBURGH         PA   15239‐2049
STAKELBECK, JUDITH A               153 E 800 S                                                                                     WARREN             IN   46792‐9432
STAKER, JAMES W                    981 W HIGHLAND DR                                                                               SHELBYVILLE        IN   46176‐9649
STAKICH, MILOS                     5999 PINECROFT DR                                                                               WEST BLOOMFIELD    MI   48322‐1670
STAKICH, ZORICA                    1155 VAUGHAN RD                                                                                 BLOOMFIELD HILLS   MI   48304‐2674
STAKOV, WALTER C                   53376 BUNNY LN                                                                                  SHELBY TOWNSHIP    MI   48316‐2400
STALBURG,FISCHER,WEBERMAN & VERROS 20245 W 12 MILE RD STE 115                                                                      SOUTHFIELD         MI   48076‐6406

STALCUP KELLY R                     1323 LAKE SHORE BLVD                                                                           LAKE ORION         MI   48362‐3911
STALCUP, KELLY R                    1323 LAKE SHORE BLVD                                                                           LAKE ORION         MI   48362‐3911
STALCUP, STEPHEN E                  135 SOUTH DR                                                                                   ANDERSON           IN   46013
STALCUP, VICTOR R                   428 W 500 S                                                                                    ANDERSON           IN   46013‐5408
STALDER CHRIS                       198 SCHELL RD                                                                                  WILMINGTON         OH   45177‐9090
STALDER, CHRIS A                    198 SCHELL RD                                                                                  WILMINGTON         OH   45177‐9090
STALDER, JACKIE L                   4211 W CROSS ST                                                                                ANDERSON           IN   46011‐9028
STALDER, LOIS C                     121 NORTHSHORE CIR                                                                             CASSELBERRY        FL   32707‐3300
STALDER, SHERRY L                   23 ABERFIELD LN                                                                                MIAMISBURG         OH   45342‐6615
STALDER,CHRIS A                     198 SCHELL RD                                                                                  WILMINGTON         OH   45177‐9090
STALER, WILLIAM H                   13930 SOMMERS AVE                                                                              HUDSON             FL   34667‐1350
STALEY DON                          46472 MCGILL RD                                                                                PLANTERSVILLE      TX   77363‐1387
STALEY I I, JAMES B                 2180 WILLOT RD                                                                                 AUBURN HILLS       MI   48326‐2668
STALEY II, JAMES B                  2180 WILLOT RD                                                                                 AUBURN HILLS       MI   48326‐2668
STALEY JOE                          NO ADVERSE PARTY
STALEY JR, RAYMOND J                1261 PARTRIDGE POINT RD                                                                        ALPENA             MI   49707‐5106
STALEY JR, ROBERT H                 223 WHITETAIL CT                                                                               PEWAUKEE           WI   53072‐2571
STALEY JULIE                        61220 190TH ST                                                                                 NEVADA             IA   50201‐7757
STALEY ROGERS                       PO BOX 22                                                                                      BURLINGTON         IN   46915‐0022
STALEY SCOTT                        PO BOX 21                                                                                      OREGON             WI   53575‐0021
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Name                   Address1                            Address2                       Address3               Address4         City            State Zip
STALEY SR, NEIL E      164 MEADOW LANE                                                                                            SIDNEY           OH 45365‐5365
STALEY SR, NEIL E      164 MEADOWLANE DR                                                                                          SIDNEY           OH 45365‐9006
STALEY, ALFRED A       2645 LYONS RD                                                                                              OWOSSO           MI 48867‐9132
STALEY, ARDE           3822 HOLCOMB                                                                                               DETROIT          MI 48214‐1385
STALEY, ARDE           3822 HOLCOMB ST                                                                                            DETROIT          MI 48214‐1385
STALEY, BILLY D        2380 KNOB CREEK RD                                                                                         COLUMBIA         TN 38401‐1424
STALEY, CHARLES E      6083 RED FOX RD                                                                                            PENDLETON        IN 46064
STALEY, CHARLES L      20528 CARLYLE DR                                                                                           STRONGSVILLE     OH 44149‐4004
STALEY, CLIFFORD B     APT 116                             3085 NORTH GENESEE ROAD                                                FLINT            MI 48506‐2190
STALEY, CLIFFORD B     3085 N GENESEE RD APT 116                                                                                  FLINT            MI 48506‐2190
STALEY, DALE D         3301 S BELSAY RD                                                                                           BURTON           MI 48519‐1623
STALEY, DAVID R        2383 N MCKINLEY RD                                                                                         FLUSHING         MI 48433‐9420
STALEY, DAVID W        1578 STONEYBROOK GROVE LN                                                                                  GREENWOOD        IN 46142‐2115
STALEY, DEAN R         110 MINETTA DR                                                                                             CROSSVILLE       TN 38558‐2862
STALEY, DEAN RICHARD   110 MINETTA DRIVE                                                                                          CROSSVILLE       TN 38558‐2862
STALEY, DENNIS A       1174 W COOK RD                                                                                             GRAND BLANC      MI 48439‐9329
STALEY, DIRK L         5923 PETERSON RD                                                                                           COLEMAN          MI 48618‐9401
STALEY, DOIS O         991 COUNTY ROAD 4790                                                                                       BOYD             TX 76023‐5416
STALEY, DORIS M        2511 E 2ND ST APT 1                                                                                        BLOOMINGTON      IN 47401‐7856
STALEY, DOUGLAS B      9873 OLD STAGE RD                                                                                          WAYNESVILLE      OH 45068‐8837
STALEY, EDWARD         BRAYTON PURCELL                     PO BOX 6169                                                            NOVATO           CA 94948‐6169
STALEY, ELNA I         4450 OAKGUARD DR                                                                                           WHITE LAKE       MI 48383‐1580
STALEY, EVELYN R       P.O. BOX 5086                                                                                              CHEHOYGAN        MI 49721‐5086
STALEY, EVELYN R       PO BOX 5086                                                                                                CHEBOYGAN        MI 49721‐5086
STALEY, FLORENCE A     STE 5                               102 EAST BROADWAY STREET                                               BOLIVAR          MO 65613‐1687
STALEY, FLORENCE D     BUSINESS OFFICE                     HARBOUR HEALTH MULTICARE       1205 DELAWARE AVENUE                    BUFFALO          NY 14209
                                                           CENTER
STALEY, FRANK WAYNE    APT 17B                             2001 ROCKCREEK DRIVE                                                   BOWLING GREEN   KY   42101‐5448
STALEY, FRED A         2604 HAMILTON RICHMOND RD                                                                                  HAMILTON        OH   45013‐1028
STALEY, FRED M         653 E CHATHAM ST TRLR 3                                                                                    NEWPORT         NC   28570‐7977
STALEY, GINGER L       14308 BELSAY RD                                                                                            MILLINGTON      MI   48746‐9228
STALEY, GRANT C        20290 CHAPEL ST                                                                                            DETROIT         MI   48219‐1358
STALEY, HAZEL V        509 DELAND RD                                                                                              FLUSHING        MI   48433‐1367
STALEY, HELEN A        6767 WOODLEY RD                                                                                            BALTIMORE       MD   21222‐5158
STALEY, HOWARD T       PO BOX 63                                                                                                  NEWTON FALLS    OH   44444‐0063
STALEY, HOWARD T       11401 TOPANGA CANYON BLVD SPC 51                                                                           CHATSWORTH      CA   91311‐1079
STALEY, HOYET          559 BROWNIE DUNCAN RD                                                                                      WHITLEY CITY    KY   42653‐4229
STALEY, JACK F         110 MINETTA DRIVE                                                                                          CROSSVILLE      TN   38558‐2862
STALEY, JAMES D        1710 WHITTIER LN                                                                                           NEW CASTLE      IN   47362‐1248
STALEY, JAMES E        9315 LYLE MEADOW LN                                                                                        CLIO            MI   48420‐9730
STALEY, JAMES W        6990 MARCY CT                                                                                              PLAINFIELD      IN   46168‐9326
STALEY, JEROME E       GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                           SAGINAW         MI   48604‐2602
                                                           260
STALEY, JERRY L        8366 PENDELL RD                                                                                            MIDDLETON       MI   48856‐9709
STALEY, JOAN E         215 KILDARE CT                                                                                             O FALLON        MO   63366‐7424
STALEY, JOAN EVELYN    215 KILDARE CT                                                                                             O FALLON        MO   63366‐7424
STALEY, JOHNNY D       RR 4 BOX 10A                                                                                               LINDSAY         OK   73052‐9105
STALEY, JUDITH K       6541 DEER KNOLLS DR                                                                                        HUBER HEIGHTS   OH   45424‐6451
STALEY, LANA S         2938 S 109TH ST                                                                                            TOLEDO          OH   43611‐2823
STALEY, LE ROY A       12 FORD ST                                                                                                 NORWALK         OH   44857‐1426
STALEY, LEE J          2815 SWEETBRIAR DR                                                                                         SANDUSKY        OH   44870‐5659
STALEY, LINDA L        1261 PARTRIDGE POINT RD                                                                                    ALPENA          MI   49707‐5106
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Name                               Address1                         Address2               Address3      Address4            City              State Zip
STALEY, LORETTA                    APT 205                          100 BUTTERNUT DRIVE                                      CHARLOTTE          MI 48813‐1166
STALEY, LOYD J                     1945 BLUEHILL DR                                                                          CINCINNATI         OH 45240‐3309
STALEY, MARVIN W                   APT 340                          9201 FOSTER STREET                                       OVERLAND PARK      KS 66212‐2468
STALEY, MARY JANE                  C/O MICHEAL STALEY               9012 W 128TH ST                                          OVERLAND PARK      KS 66213
STALEY, MARYE ELGA                 1408 W MAPLE RD                                                                           FLINT              MI 48507‐5614
STALEY, MARYE ELGA                 1408 W MAPLE AVE                                                                          FLINT              MI 48507‐5614
STALEY, MICHAEL J                  3720 KROES ST NE                                                                          ROCKFORD           MI 49341
STALEY, MICHAEL W                  PO BOX 172                                                                                MARQUETTE          MI 49855‐0172
STALEY, MILDRED A                  5365 SPICER HIGHT                                                                         FLINT              MI 48507
STALEY, MILDRED M                  7355 N ELMS RD                                                                            FLUSHING           MI 48433‐8800
STALEY, NANCY V                    11 FOX HOUND CT                                                                           GRAND BLANC        MI 48439‐8172
STALEY, NITA C                     7456 MENDY ST                                                                             PARAMOUNT          CA 90723
STALEY, NORMAN S                   215 KILDARE CT                                                                            O FALLON           MO 63366‐7424
STALEY, P J                        4011 TUNNELTON RD D                                                                       BEDFORD            IN 47421
STALEY, PATRICIA ANN               533 W HOBBS ST                                                                            BOYD               TX 76023‐3125
STALEY, RALPH F                    225 SALEM CHURCH RD                                                                       BELLE VERNON       PA 15012‐2913
STALEY, REBECCA L                  9873 OLD STAGE RD                                                                         WAYNESVILLE        OH 45068‐8837
STALEY, RICHARD L                  6541 DEER KNOLLS DR                                                                       HUBER HEIGHTS      OH 45424‐6451
STALEY, RICHARD L                  1055 OLD DEARING RD                                                                       ALVATON            KY 42122‐8669
STALEY, ROBERT                     936 GUNSMITH SCHOOL RD                                                                    BEDFORD            IN 47421‐8727
STALEY, ROBERT A                   2418 BOGART RD                                                                            HURON              OH 44839‐9792
STALEY, RONALD B                   7813 HUNTERS PATH                                                                         INDIANAPOLIS       IN 46214‐1534
STALEY, RONALD D                   PO BOX 778                                                                                WELLSVILLE         KS 66092‐0778
STALEY, RYAN
STALEY, SAMUEL G                   250 N DOBSON ST                                                                           WESTLAND          MI   48185‐3648
STALEY, SHIRLEY A                  3516 S COUNTY ROAD 525 E                                                                  GREENCASTLE       IN   46135‐7927
STALEY, STEVEN E                   112 LEXINGTON FARM RD                                                                     UNION             OH   45322‐3408
STALEY, THOMAS D                   7141 BRITTWOOD LN                                                                         FLINT             MI   48507‐4621
STALEY, TOMMIE L                   112 N WILSON BOX 484                                                                      POTOMAC           IL   61865
STALEY, VIRGIL H                   613 MORSE RD                                                                              COLUMBUS          OH   43214‐1836
STALEY, WILLIAM C                  4728 W ALLEN ST                                                                           LAVEEN            AZ   85339
STALEY, WILLIE M                   106 JEWETT AVE                                                                            BUFFALO           NY   14214
STALEY,STEVEN E                    112 LEXINGTON FARM RD                                                                     UNION             OH   45322‐3408
STALF, LORRIE A                    689 KING CIR                                                                              LAKE ORION        MI   48362‐2732
STALFORT & PARTNER                 STR POPA TATU NR 15                                                   BUCHAREST 707771
                                                                                                         ROMANIA
STALHUTH, EDITH ROSE
STALICA, VICTOR W                  816 GENESEE ST                                                                            CORFU             NY   14036‐9595
STALINSKI, JEFFREY A               5163 ELMER AVE                                                                            WARREN            MI   48092‐2695
STALINSKI, RICHARD S               3300 COOK CT                                                                              ROCHESTER         MI   48306‐1312
STALINSKI, THOMAS R                11468 HANFORD DR                                                                          WARREN            MI   48093‐2609
STALIONS, LUCILLE M                C/O JOHN YUN                     7152 GATEWAY PARK DR                                     CLARKSTON         MI   48346‐2574
STALKER CHEVROLET CADILLAC, INC.   601 S SUMNER AVE                                                                          CRESTON           IA   50801‐3307
STALKER CHEVROLET CADILLAC, INC.   TIMOTHY STALKER                  601 S SUMNER AVE                                         CRESTON           IA   50801‐3307
STALKER, ALAN R                    3722 MARSHALL RD                                                                          MEDINA            NY   14103‐9504
STALKER, CHARLES G                 1729 OLD HOMESTEAD DR                                                                     ROCHESTER HILLS   MI   48306‐3651
STALKER, DONALD                    11149 US HIGHWAY 50 W                                                                     BEDFORD           IN   47421‐8334
STALKER, DOUGLAS E                 211 LAYTON RD                                                                             ANDERSON          IN   46011‐1516
STALKER, JAMES R                   12949 M 68                                                                                MILLERSBURG       MI   49759‐9554
STALKER, LEONARD L                 4316 E COUNTY RD N                                                                        MILTON            WI   53563‐9232
STALKER, MARCIA R                  1114 LOCKWOOD DR                                                                          LOCKPORT          NY   14094‐7122
STALKER, MARIE E                   12949 M 68 G8                                                                             MILLERSBURG       MI   49759
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Name                         Address1                          Address2                      Address3                     Address4         City              State Zip
STALKER, MICHAEL J           6719 FOXFIRE DR                                                                                               INDIANAPOLIS       IN 46214‐2033
STALKER, MICHAEL JAMES       6719 FOXFIRE DR                                                                                               INDIANAPOLIS       IN 46214‐2033
STALKER, RICHARD W           4336 FOXGLOVE RD                                                                                              TOLEDO             OH 43623‐4125
STALKER, ROBERT E            1640 HAWTHORNE DR                                                                                             BEDFORD            IN 47421‐3429
STALL, CHAD M                1037 CHATEAU DR                                                                                               KETTERING          OH 45429‐4619
STALL, CLARA B               7745 E GUNNISON PL                                                                                            DENVER             CO 80231‐2622
STALL, CURTIS L              2705 BLACK BRIDGE ROAD                                                                                        JANESVILLE         WI 53545‐0611
STALL, GEORGE E              10551 ALDORA DR                                                                                               MIAMISBURG         OH 45342‐4807
STALL, JAMES F               33 NEW ST                                                                                                     GREENWICH          OH 44837‐1001
STALL, MARJORIE I            846 WEBSTER ST                                                                                                DAYTON             OH 45404‐1561
STALL, MARY L                33 NEW ST                                                                                                     GREENWICH          OH 44837‐1001
STALL, MICHAEL R             1037 CHATEAU DR                                                                                               KETTERING          OH 45429‐4619
STALL, MICHAEL ROBERT        1037 CHATEAU DR                                                                                               KETTERING          OH 45429‐4619
STALL, PAUL E                436 SPRINGSIDE DR                                                                                             DAYTON             OH 45440‐4457
STALL, PHYLLIS J             LOT 73                            7565 WEST STATE ROUTE 571                                                   WEST MILTON        OH 45383‐1750
STALL, PHYLLIS J             7565 WEST STATE ROUTE 571         LOT 73                                                                      WEST MILTON        OH 45383‐5383
STALL, ROBERT F              11637 COCOWOOD DR                                                                                             NEW PORT RICHEY    FL 34654‐1945
STALL, ROBERT G              1182 SHARE DR                                                                                                 DAYTON             OH 45432‐1741
STALL, RONALD M              1647 MCGLY NN RD                                                                                              HASTINGS           MI 49058‐8776
STALL, WILLIAM D             613 TAYLOR ST                                                                                                 DAYTON             OH 45404‐1631
STALLA, EILEEN J             8900 S 51ST AVE                                                                                               OAK LAWN            IL 60453‐1306
STALLA, MILDRED R            11440 GABRIELLA DRIVE                                                                                         PARMA              OH 44130‐1337
STALLARD MELIISA             554 SWEET POTATO HOLW                                                                                         CLINTWOOD          VA 24228‐7015
STALLARD MELISSA             554 SWEET POTATO HOLW                                                                                         CLINTWOOD          VA 24228‐7015
STALLARD ROBERT E (411047)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA 23510
                                                               STREET, SUITE 600
STALLARD TIM                 PROLINK SPORTS & ENTERTAINMENT    4312 LAKEWAY BLVD                                                           AUSTIN            TX   78734‐5018
STALLARD, GARRY D            13516 NW 76TH ST                                                                                              PARKVILLE         MO   64152‐1077
STALLARD, JERRY M            320 HAFELY DR                                                                                                 LORAIN            OH   44052‐2338
STALLARD, JUNIOR C           633 BONAIR AVE                                                                                                MANSFIELD         OH   44905‐1411
STALLARD, MARGIE L           9629 CARTER ST                                                                                                ALLEN PARK        MI   48101‐1338
STALLARD, MARY M             PO BOX 283                                                                                                    MAYSVILLE         OK   73057
STALLARD, NORMAN F           169 MCCALL RD                                                                                                 BEAN STATION      TN   37708‐7006
STALLARD, RALPH M            1921 CROOKS RD                                                                                                ROCHESTER HILLS   MI   48309‐3244
STALLARD, ROBERT E           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK           VA   23510‐2212
                                                               STREET, SUITE 600
STALLARD, ROBERT P           722 MIAMI AVE                                                                                                 KANSAS CITY       KS   66105‐2044
STALLARD, SALLY A            7196 GROVELAND RD                                                                                             HOLLY             MI   48442‐9424
STALLARD, SHANE E            1121 LESLIE RD                                                                                                HVRE DE GRACE     MD   21078‐1717
STALLARD, SHANE EDWARD       1121 LESLIE RD                                                                                                HVRE DE GRACE     MD   21078‐1717
STALLARD‐MAYS, CHARLIE R     2701 PRATT LAKE ROAD                                                                                          GLADWIN           MI   48624‐9765
STALLARD‐MAYS, NELLIE M      2701 PRATT LAKE RD                                                                                            GLADWIN           MI   48624‐9765
STALLBAUM, KENNY L           PO BOX 355                                                                                                    OAKWOOD           OH   45873‐0355
STALLCUP, JESSE E            C/O GLASSER AND GLASSER           CROWN CENTER                  580 EAST MAIN STREET SUITE                    NORFOLK           VA   23510
                                                                                             600
STALLER MEGELLA JANICE       STALLER MEGELLA, JANICE           30 E BUTLER AVE                                                             AMBLER            PA   19002‐4514
STALLER MEGELLA, JANICE      KIMMEL & SILVERMAN                30 E BUTLER AVE                                                             AMBLER            PA   19002‐4514
STALLER, CRAIG E             68099 FRAMPTON DR                                                                                             WASHINGTON        MI   48095‐1236
STALLER, DENNIS J            57697 BROUGHTON RD                                                                                            RAY               MI   48096‐4309
STALLER, JOAN K              176 ARNOTT RD                                                                                                 BULLS GAP         TN   37711‐4126
STALLER, LAURA T             68099 FRAMPTON DR                                                                                             WASHINGTON        MI   48095‐1236
STALLING JR, LINTON          4123 MAR MOOR DR                                                                                              LANSING           MI   48917‐1613
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Name                                    Address1                        Address2                      Address3   Address4         City            State Zip
STALLING, CECIL H                       2304 PRIME PT                                                                             CONYERS          GA 30013‐1471
STALLING, GLORIA J                      5820 KINNEVILLE ROAD ROUTE 1                                                              EATON RAPIDS     MI 48827
STALLING, LILLY P                       2304 PRIME PT                                                                             CONYERS          GA 30013‐1471
STALLING, RUBY B                        1632 N. MAYFLOWER COURT                                                                   MILWAUKEE        WI 53205‐2265
STALLING, RUBY B                        1632 N MAYFLOWER CT                                                                       MILWAUKEE        WI 53205‐2265
STALLINGS AUTOMOTIVE INC.               291 N 3855 E                                                                              RIGBY            ID 83442‐5124
STALLINGS CAPITAL GROUP CONSULTANTS     4 WINDSOR RDG                   DBA BOB STALLINGS RACING                                  FRISCO           TX 75034‐6858

STALLINGS CAPITAL GROUP, INC. DBA BOB   ROBERT W. STALLINGS             4 WINDSOR RDG                                             FRISCO           TX   75034‐6858
STALLINGS RACING LLC
STALLINGS CARSON, SHERLEY               971 E SANFORD ST APT 2104                                                                 ARLINGTON       TX    76011‐7369
STALLINGS ERNEST                        STALLINGS, ERNEST               PO BOX 2207                                               SOUTHFIELD      MI    48037‐2207
STALLINGS JR, JAMES W                   1213 N MCKINLEY RD                                                                        FLUSHING        MI    48433‐9462
STALLINGS MICHAEL                       170 S ROCK RD                                                                             MANSFIELD       OH    44903‐6940
STALLINGS RAYMOND V JR (429860)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA    23510
                                                                        STREET, SUITE 600
STALLINGS STANLEY M (403025)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                                        STREET, SUITE 600
STALLINGS, ALVIN D                      565 WHITE RD                                                                              FAYETTEVILLE    GA    30214‐7522
STALLINGS, ANNE P                       4330 CASCADE RD SW                                                                        ATLANTA         GA    30331‐7248
STALLINGS, ARTHUR C                     2447 YOUNG AVE                                                                            THOUSAND OAKS   CA    91360‐1843
STALLINGS, BETTY J                      PO BOX 16119                                                                              FORT WORTH      TX    76162
STALLINGS, CHERYL C                     5021 DOGWOOD TRL                                                                          PORTSMOUTH      VA    23703‐3805
STALLINGS, CHRISTINE M                  3545 MILL GREEN RD                                                                        STREET          MD    21154‐1726
STALLINGS, DONALD G                     9206 KRANSBURY LANE                                                                       HOUSTON         TX    77095‐7250
STALLINGS, DONALD L                     4950 W FARM ROAD 156 LOT 88                                                               BROOKLINE       MO    65619‐8237
STALLINGS, DONALD W                     10111 SILENT TRL                                                                          JONESBORO       GA    30238‐6540
STALLINGS, DOROTHY J                    1422 W HOME AVE                                                                           FLINT           MI    48505‐2532
STALLINGS, EARNEST K                    3360 RIVERSIDE CT                                                                         CANTON          MI    48188‐2330
STALLINGS, ELSA R                       1921 W 9TH ST                                                                             ANDERSON        IN    46016‐2708
STALLINGS, ERIC J                       2277 OLIN CT                                                                              MORROW          GA    30260‐2639
STALLINGS, FRANCIS A                    210 GILBERT RD                                                                            FAYETTEVILLE    GA    30214‐1445
STALLINGS, FRANCIS G                    1763 GLEN COVE RD                                                                         DARLINGTON      MD    21034‐1337
STALLINGS, GLADYS T                     6616 OLIVEWOOD DRIVE                                                                      ARLINGTON       TX    76001‐7818
STALLINGS, JAMES H                      1420 DR JACK ROAD                                                                         CONOWINGO       MD    21918
STALLINGS, JOHN A                       8439 APPLE BLOSSOM LN           C/O JANET S GOLDMAN                                       FLUSHING        MI    48433‐2906
STALLINGS, JOHN A                       PO BOX 63                                                                                 DELTA           PA    17314‐0063
STALLINGS, JOHN ROSS                    APT A                           7511 COLD SPRINGS BOULEVARD                               FORT WAYNE      IN    46825‐3342
STALLINGS, KATHERINE A                  254 BROOKSTONE WAY                                                                        JACKSONVILLE    NC    28546‐9539
STALLINGS, KRIS                         11510 WHITEHILL STREET                                                                    DETROIT         MI    48224‐1655
STALLINGS, LILLIE M                     410 E SHERMAN ST                                                                          FLINT           MI    48505‐5222
STALLINGS, LILLIE M                     410 E SHERMAN AVE                                                                         FLINT           MI    48505‐5222
STALLINGS, MARGARET G                   1420 DR JACK ROAD                                                                         CONOWINGO       MD    21918
STALLINGS, MARY A                       210 GILBERT RD                                                                            FAYETTEVILLE    GA    30214
STALLINGS, MICHAEL K                    170 S ROCK RD                                                                             MANSFIELD       OH    44903‐6940
STALLINGS, MICHAEL W                    1728 KINDSTON RD                                                                          DEFORD          MI    48729
STALLINGS, MICHAEL W                    1728 KINGSTON RD                                                                          DEFORD          MI    48729‐0274
STALLINGS, NANCY A                      10134 TANNER HILL RUN                                                                     FORT WAYNE      IN    46825‐6962
STALLINGS, NANCY ANN                    10134 TANNER HILL RUN                                                                     FORT WAYNE      IN    46825‐6962
STALLINGS, NICHOLAS ZANE                667 HILLWOOD CT                                                                           DACULA          GA    30019‐1215
STALLINGS, ODELL                        7417 RIVERHILL RD                                                                         OXON HILL       MD    20745‐1030
STALLINGS, PATRICIA A                   635 E FERRY ST                                                                            BUFFALO         NY    14211‐1138
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Name                                 Address1                           Address2                        Address3   Address4         City            State Zip
STALLINGS, PATRICIA ANN              635 E FERRY ST                                                                                 BUFFALO          NY 14211‐1138
STALLINGS, RAYMOND V                 GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510‐2212
                                                                        STREET, SUITE 600
STALLINGS, RICHARD A                 9514 W BRADLEY DR                                                                              INDIANAPOLIS    IN   46231
STALLINGS, ROGER LEE                 410 E SHERMAN AVE                                                                              FLINT           MI   48505‐5222
STALLINGS, RONALD D                  6480 W IMLAY CITY RD                                                                           IMLAY CITY      MI   48444‐8801
STALLINGS, STANLEY M                 GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510‐2212
                                                                        STREET, SUITE 600
STALLINGS, TOMMY R                   667 HILLWOOD CT                                                                                DACULA          GA   30019‐1215
STALLINGS, WAYNE G                   4330 CASCADE RD SW                                                                             ATLANTA         GA   30331‐7248
STALLINGS, WILBER J                  PO BOX 334                                                                                     ANDREWS         IN   46702‐0334
STALLINGS, WILLIAM R                 298 PILOT RILEY RD                                                                             ZEBULON         NC   27597‐5907
STALLION OILFIELD SERVICES           950 CORBINDALE RD                                                                              HOUSTON         TX   77024‐2800
STALLION OILFIELD SERVICES           ALLEN HEBERT                       950 CORBINDALE RD                                           HOUSTON         TX   77024‐2800
STALLION PRODUCTS
STALLION, JOHN D                       8821 ARCADIA ST                                                                              DETROIT         MI   48204‐2375
STALLION, JOHN DARRYL                  8821 ARCADIA ST                                                                              DETROIT         MI   48204‐2375
STALLIONS, CURTIS                      8166 NORTH LINDEN ROAD                                                                       MOUNT MORRIS    MI   48458‐9488
STALLIONS, MABEL D                     8166 N. LINDEN RD                                                                            MT. MORRIS      MI   48458
STALLKAMP, EDWARD C                    4011 HARRIS RD                                                                               SANDUSKY        OH   44870‐9332
STALLMAN, CHARLES F                    4555 RUDY RD                                                                                 TIPP CITY       OH   45371‐9062
STALLMAN, CHARLES F                    4555 S RUDY RD                                                                               TIPP CITY       OH   45371‐9752
STALLMAN, FRANCIS M                    2235 PIN OAK CT                                                                              MIAMISBURG      OH   45342‐4546
STALLMAN, JEFFREY F                    2235 PIN OAK CT                                                                              MIAMISBURG      OH   45342‐4546
STALLMAN, LEONARD E                    1077 TOMPKINS RD                                                                             DORSET          OH   44032‐9780
STALLMAN,JEFFREY F                     2235 PIN OAK CT                                                                              MIAMISBURG      OH   45342‐4546
STALLO, WILMA G                        6112 RIVER RD                                                                                BROOKVILLE      IN   47012‐7907
STALLS, FREDDIE M                      825 S. UNION STREET                                                                          TECUMSEH        MI   49286‐1889
STALLS, FREDDIE M                      825 S UNION ST                                                                               TECUMSEH        MI   49286‐1889
STALLSMITH MARTHENIA A                 STALLSMITH, MARTHENIA A          30 E BUTLER AVE                                             AMBLER          PA   19002‐4514
STALLSWORTH, JOAN                      1238 COUNTRY CREEK COURT                                                                     INDIANAPOLIS    IN   46234‐3811
STALLWOOD, MARTHA A                    2107 NEWTON ST                                                                               JASPER          IN   47546‐1609
STALLWORTH ANTHONY                     1400 N LAKE SHORE DR APT 4G                                                                  CHICAGO         IL   60610
STALLWORTH DEBORHA                     5979 HUNTINGTON DR                                                                           YPSILANTI       MI   48197‐7192
STALLWORTH GAMBLE                      C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                   HOUSTON         TX   77007
                                       BOUNDAS LLP
STALLWORTH II, ROBERT F                5012 MCLENDON DR                                                                             ANTIOCH         TN 37013‐4007
STALLWORTH JR, GARLAND G               4670 COUNTRY LN APT 10                                                                       WARRENSVL HTS   OH 44128‐5878
STALLWORTH WILLIE (ESTATE OF) (489254) BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                        PROFESSIONAL BLDG
STALLWORTH, ALEASE                   4835 CHATSWORTH ST                                                                             DETROIT         MI   48224‐3409
STALLWORTH, ALMA                     15890 ADDISON CT                                                                               SOUTHFIELD      MI   48075‐3084
STALLWORTH, ARGINEE                  17524 3RD ST APT 304                                                                           DETROIT         MI   48203‐1871
STALLWORTH, BEVERLY                  4030ABOURNE ROAD APT A                                                                         LOS ANGELES     CA   90008
STALLWORTH, BOBBY E                  961 BERTRAM AVE APT 2                                                                          DAYTON          OH   45406‐5710
STALLWORTH, CHARLIE                  4075 LEE RD                                                                                    CLEVELAND       OH   44128
STALLWORTH, CHESTER                  PO BOX 2822                                                                                    SOUTHFIELD      MI   48037‐2822
STALLWORTH, CYNTHIA A                14280 WINDING POND LN                                                                          BELLEVILLE      MI   48111‐7106
STALLWORTH, DEBORHA J                5979 HUNTINGTON DR                                                                             YPSILANTI       MI   48197‐7192
STALLWORTH, DENNIS                   2209 HILLCREST RD                                                                              MOBILE          AL   36695‐3809
STALLWORTH, DETOSHIA D               5391 ABBY LOOP WAY                                                                             DAYTON          OH   45414‐3849
STALLWORTH, DOWANA L                 4504 APPLE TREE CT.                                                                            DAYTON          OH   45427‐5427
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Name                             Address1                          Address2                       Address3   Address4         City                 State Zip
STALLWORTH, EAPHROM E            17590 GREENLAWN ST                                                                           DETROIT               MI 48221‐2539
STALLWORTH, EMMITT W             12311 LONGVIEW ST                                                                            DETROIT               MI 48213
STALLWORTH, ESTER                SHANNON LAW FIRM                  100 W GALLATIN ST                                          HAZLEHURST            MS 39083‐3007
STALLWORTH, FLORA S              1649 CORNELL DR.                                                                             DAYTON                OH 45406‐4658
STALLWORTH, INGRID G             7069 RABURN RD                                                                               PENSACOLA             FL 32526‐8050
STALLWORTH, IRA C                5979 HUNTINGTON DR                                                                           YPSILANTI             MI 48197‐7192
STALLWORTH, JEROME               116 W 127TH ST                                                                               CHICAGO                IL 60628‐7332
STALLWORTH, JIMMIE               PO BOX 20326                                                                                 FERNDALE              MI 48220‐0326
STALLWORTH, JOHN                 1107 MELVIN DR                                                                               MURFREESBORO          TN 37128‐7529
STALLWORTH, LAVONYA C            1649 CORNELL DR                                                                              DAYTON                OH 45406‐4658
STALLWORTH, LEO                  434 23RD ST                                                                                  NIAGARA FALLS         NY 14303‐1838
STALLWORTH, MALLORY I            3828 VASSAR ST                                                                               DEARBORN              MI 48124‐3541
STALLWORTH, MALLORY IDRIS        3828 VASSAR ST                                                                               DEARBORN              MI 48124‐3541
STALLWORTH, MARTHA A             12273 WILSHIRE DR                                                                            DETROIT               MI 48213‐1771
STALLWORTH, OLIVER S             1370 KENNETH ST                                                                              YOUNGSTOWN            OH 44505‐3826
STALLWORTH, ROBERT F             1311 W HILLSDALE ST                                                                          LANSING               MI 48915‐1649
STALLWORTH, RON G                815 THORNTON DR                                                                              FRANKLIN              TN 37064‐8969
STALLWORTH, RON G                1101 HOUCHIN DR                                                                              FRANKLIN              TN 37064‐5380
STALLWORTH, SHARON A             3101 ELSTEAD ST                                                                              AUBURN HILLS          MI 48326
STALLWORTH, STEPHEN              2611 W DOUBLEGATE DR                                                                         ALBANY                GA 31721‐9235
STALLWORTH, WILEVA S             1370 KENNETH ST                                                                              YOUNGSTOWN            OH 44505‐3826
STALLWORTH, WILMA D              2462 CUDABACK AVE                                                                            NIAGARA FALLS         NY 14303‐1910
STALMA, LENA M                   PO BOX 202                                                                                   NEW WILMINGTON        PA 16142‐0202
STALMA, LENA M                   RD 1 BOX 202 RIVER RD                                                                        NEW WILMINGTON        PA 16142‐9603
STALMACK, JOHN J                 5926 S NATCHEZ AVE                                                                           CHICAGO                IL 60638‐3448
STALMAH ED                       639 E 78TH LN                                                                                MERRILLVILLE          IN 46410‐5616
STALMAH, EDWARD A                639 E 78TH LN                                                                                MERRILLVILLE          IN 46410‐5616
STALMAN, LEONORA T               29517 WOLF RD                                                                                BAY VILLAGE           OH 44140‐1861
STALNAKER BERNARD D (626784)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK               VA 23510
                                                                   STREET, SUITE 600
STALNAKER DARRELL J (652482)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510
                                                                   STREET, SUITE 600
STALNAKER ROBERT                 16022 W SENTINEL DR                                                                          SUN CITY WEST        AZ 85375‐6681
STALNAKER SALTHEL LEE (626785)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510
                                                                   STREET, SUITE 600
STALNAKER, BERNARD D             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510
                                                                   STREET, SUITE 600
STALNAKER, CHARLES M             111 S WIBAUX ST BOX 260                                                                      WIBAUX               MT 59353
STALNAKER, DARRELL J             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510‐2212
                                                                   STREET, SUITE 600
STALNAKER, DEWARD E              61791 INSTITUTE RD                                                                           LORE CITY            OH 43755‐9750
STALNAKER, JERRY W               51 PAPERMILL RD                                                                              ELKTON               MD 21921‐3518
STALNAKER, KATHERINE A           SCANLON & CO                      400 KEY BUILDING ‐ 159 SOUTH                               AKRON                OH 44308
                                                                   MAIN STREET
STALNAKER, KAYE M                212 E. LIBERTY ST.                                                                           GIRARD               OH   44420‐4420
STALNAKER, KAYE M                212 E LIBERTY ST                                                                             GIRARD               OH   44420‐2650
STALNAKER, KENNETH C             4882 COAL RD                                                                                 VIENNA               OH   44473‐9670
STALNAKER, LARRY L               113 TULLY DR                                                                                 ANDERSON             SC   29421‐7860
STALNAKER, LAURA L               4817 BOOTH ST                                                                                WESTWOOD             KS   66205‐1830
STALNAKER, LAURA L               4817 BOOTH                                                                                   SHAWNEE MISSION      KS   66205‐1830
STALNAKER, MARIA L               61791 INSTITUTE RD                                                                           LORE CITY            OH   43755‐9750
STALNAKER, MARY O                13400 PAWNEE TRL                  C/O KATHLEEN DIVELLA                                       MIDDLEBURG HEIGHTS   OH   44130‐5750
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Name                         Address1                        Address2                      Address3   Address4         City                 State Zip
STALNAKER, MARY O            C/O KATHLEEN DIVELLA            13400 PAWNEE TRAIL                                        MIDDLEBURG HEIGHTS    OH 44130
STALNAKER, ROBERT L          1110 N MADISON AVE                                                                        ANDERSON              IN 46011‐1212
STALNAKER, SALLY A           4645 MEADOWGROVE DRIVE N.W.                                                               CARROLL               OH 43112
STALNAKER, SALTHEL LEE       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                             STREET, SUITE 600
STALNAKER, VIRGINIA D        5030 14TH ST.                   P O BOX K47                                               BRADENTON            FL   34207
STALO, JERRY J               11785 LADY ANNE CIR                                                                       CAPE CORAL           FL   33991‐7504
STALSBERG, CHARLOTTE F       1644 KEELER AVE                                                                           BELOIT               WI   53511‐4767
STALSBERG, DAVID S           1803 N POLZIN RD                                                                          JANESVILLE           WI   53548‐9391
STALSBERG, DENNIS S          318 CAROLINE ST                                                                           JANESVILLE           WI   53545‐3106
STALSBERG, EILEEN            PO BOX 524                                                                                JANESVILLE           WI   53547‐0524
STALSBERG, EUGENE R          3153 SHILLAIR DR                                                                          BAY CITY             MI   48706‐1325
STALSBERG, JAMES A           2879 CAMPBELL RD                                                                          ROSE CITY            MI   48654‐9724
STALSBERG, LLOYD V           106 WESTRIDGE RD                                                                          JANESVILLE           WI   53548‐3263
STALSBERG, ROBERT A          463 N GRANT AVE                                                                           JANESVILLE           WI   53548‐3431
STALSONBURG, RUTH            6185 LAKESHORE DR                                                                         NEWAYGO              MI   49337‐9027
STALTARI JR, JOHN            69 E PENNSYLVANIA AVE                                                                     AVENEL               NJ   07001‐1722
STALTER, BEVERLY D           5749 E FOX ST                                                                             MESA                 AZ   85205‐5529
STALTER, DOROTHY M           W575 ROLEFSON RD                                                                          RUBICON              WI   53078
STALTER, GERALD W            11256 NASH HWY                                                                            CLARKSVILLE          MI   48815‐9606
STALTER, JEFF W              2025 W MUSGROVE HWY                                                                       LAKE ODESSA          MI   48849‐8506
STALTER, JOYCE M             1910 E 500 S                                                                              SHARPSVILLE          IN   46068‐9611
STALTER, LORA J              PO BOX 7023                                                                               KOKOMO               IN   46904‐7023
STALTERI, SALVATORE J        251 GILMORE RD                                                                            BROCKPORT            NY   14420‐9312
STALUPPI FRANK JR            1890 SUNRISE HWY                                                                          BAY SHORE            NY   11706‐6012
STALVEY JOHN H (439537)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510
                                                             STREET, SUITE 600
STALVEY, JOHN H              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                             STREET, SUITE 600
STALVEY, LAURA J             PO BOX 923                                                                                CHIEFLAND            FL   32644‐0923
STALY, JUDITH M              126 FORESTVIEW DR                                                                         DEPEW                NY   14043‐1716
STALZER, ANGELA              7444 LANIER DR                                                                            MIDDLEBURG HTS       OH   44130‐6621
STALZER, DAVID W             39W991 CARL SANDBURG ROAD                                                                 SAINT CHARLES        IL   60175‐7750
STALZER, FRANK W             6403 GALE DR                                                                              SEVEN HILLS          OH   44131‐3128
STALZER, RAYMOND D           507 DALE ST                                                                               FLUSHING             MI   48433‐1425
STALZER, ROBERT W            4151 CANAL AVE SW                                                                         GRANDVILLE           MI   49418‐2620
STALZER, ROBERT W.           4151 CANAL AVE SW                                                                         GRANDVILLE           MI   49418‐2620
STAM, GEORGIA                7816 SUBURBAN LN                                                                          BRIDGEVIEW           IL   60455‐1047
STAM, GEORGIA                7816 W SUBURBAN LN                                                                        BRIDGEVIEW           IL   60455‐1047
STAMANN, CHARLES E           901 DAY RD                                                                                SAGINAW              MI   48609‐6806
STAMANT, MABLE               2735 N WILLIAMS LAKE RD                                                                   WATERFORD            MI   48329‐2665
STAMAS STEVE                 6541 PEAR LN                                                                              CLARKSTON            MI   48346‐2141
STAMAS, PETER S              554 RAINTREE PL APT B                                                                     ENGLEWOOD            OH   45322‐2686
STAMAS, STEPHEN L            6541 PEAR LN                                                                              CLARKSTON            MI   48346‐2141
STAMAS, STEVEN T             5710 PAMONA PL                                                                            CENTERVILLE          OH   45459‐1824
STAMATIA MOULAGIANIS         13910 BYRON BLVD                                                                          MIDDLEBRG HTS        OH   44130‐7119
STAMATIN, CRISTINA           52841 SEVEN OAKS DR                                                                       SHELBY TWP           MI   48316‐2992
STAMATIOS PAPAKONSTANTINOU   4140 VILLAGER DR                                                                          ORION                MI   48359‐1886
STAMATIS, DIMITRIOS H        1327 BROWN ST UNIT 608                                                                    DES PLAINES          IL   60016‐7170
STAMATKIN, STEVEN W          1616 ALLISON AVE                                                                          INDIANAPOLIS         IN   46224‐5630
STAMBAUGH CHEVROLET          1111 S MAIN ST                                                                            HAMPSTEAD            MD   21074
STAMBAUGH JR, GARFIELD C     2641 GATELY DRIVE WEST          VILLA 2606                                                WEST PALM BEACH      FL   33415‐3415
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Name                             Address1                            Address2                       Address3                     Address4               City               State Zip
STAMBAUGH JR, GARFIELD C         2641 GATELY DR W                    VILLA 2606                                                                         WEST PALM BEACH     FL 33415‐7862
STAMBAUGH, BETTY L.              3603 HAZELHURST AVE                                                                                                    TOLEDO              OH 43612‐1020
STAMBAUGH, BRIAN                 11225 LINDA KAY                                                                                                        GOODRICH            MI 48438‐8801
STAMBAUGH, DALE T                1124 W 11TH ST                                                                                                         MARION              IN 46953‐1730
STAMBAUGH, DANIEL B              GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                                       SAGINAW             MI 48604‐2602
                                                                     260
STAMBAUGH, ELIJAH L              9332 SILICA RD                                                                                                         NORTH JACKSON      OH   44451‐9670
STAMBAUGH, EVELYN P              2333 SEWARD DR                                                                                                         SARASOTA           FL   34234‐4990
STAMBAUGH, GARY D                3566 RED CLOUD DR                                                                                                      LAKE HAVASU CITY   AZ   86406‐8705
STAMBAUGH, JAMES E               3515 MELODY LN E                                                                                                       KOKOMO             IN   46902‐3983
STAMBAUGH, JANICE J              204 S CHURCH ST BOX 512                                                                                                TONGANOXIE         KS   66086
STAMBAUGH, JASON E               8381 S FIREFLY DR                                                                                                      PENDLETON          IN   46064‐9297
STAMBAUGH, JASON EARL            8381 S FIREFLY DR                                                                                                      PENDLETON          IN   46064‐9297
STAMBAUGH, JOANNE G              34 LITTLE KNOLL DR                                                                                                     HANOVER            PA   17331‐9277
STAMBAUGH, LYLE D                6265 THORNAPPLE LAKE RD LOT 152                                                                                        NASHVILLE          MI   49073‐9621
STAMBAUGH, MAGDALENA             57 E YALE AVE                                                                                                          PONTIAC            MI   48340‐1976
STAMBAUGH, MARK L                13930 SUNFIELD HWY                                                                                                     LAKE ODESSA        MI   48849‐8502
STAMBAUGH, MICHAEL               8557 HENDERSON RD                                                                                                      GOODRICH           MI   48438‐9778
STAMBAUGH, MITCHELL              2671 BUCKNER RD                                                                                                        LAKE ORION         MI   48362‐2009
STAMBAUGH, RICHARD E             921 LUCE RD SW                                                                                                         SOUTH BOARDMAN     MI   49680‐9582
STAMBAUGH, ROBERT                PO BOX 195                                                                                                             SPARTA             MO   65753‐0195
STAMBAUGH, ROBERT D              926 DANIELS DR                                                                                                         FLATWOODS          KY   41139‐1606
STAMBAUGH, RONALD E              3215 BRETTON WOODS TER                                                                                                 DELTONA            FL   32725‐3054
STAMBAUGH, RUTHANN E             3215 BRETTON WOODS TERRACE                                                                                             DELTONA            FL   32725‐2725
STAMBAUGH, SALLIE V              117 FONTAINBLEAU DR                                                                                                    ROCHESTER HILLS    MI   48307‐2419
STAMBAUGH, SARAH L               130 LOOKOUT ST APT 4                                                                                                   SOMERSET           KY   42501‐1731
STAMBAUGH, SARAH L               130 LOOKOUT STREET                  APT # 4                                                                            SOMERSET           KY   42501‐2501
STAMBAUGH, SHARON                426 HOLIDAY DR                                                                                                         SPRINGFIELD        OH   45505‐1649
STAMBAUGH, SHIRLEY               1615 E BASELINE RD                                                                                                     MT PLEASANT        MI   48858
STAMBAUGH, STANLEY D             100 POCAHONTAS TRL                                                                                                     PRUDENVILLE        MI   48651‐9730
STAMBAUGH, THERESA E             3515 MELODY LN E                                                                                                       KOKOMO             IN   46902‐3983
STAMBERSKY, ALBERT H             4240 CURTIS RD                                                                                                         HIGHLAND           MI   48357‐2400
STAMBERSKY, GARY B               7780 N HOLLISTER RD                                                                                                    ELSIE              MI   48831‐9627
STAMBERSKY, JOYCE M.             585 S. JEFFERY AVE.                                                                                                    ITHACA             MI   48847‐1727
STAMBERSKY, JOYCE M.             585 S JEFFERY AVE                                                                                                      ITHACA             MI   48847‐1727
STAMBERSKY, MICHAEL              115 W MAIN BOX 69                                                                                                      BANNISTER          MI   48807
STAMBLESKY, JENNIE H             6312 ELMDALE RD                     C/O JAMES R SEKERAK SR‐POA                                                         BROOK PARK         OH   44142‐4015
STAMBOLIA, JAMES M               1755 ATLANTIC ST NE                                                                                                    WARREN             OH   44483‐4111
STAMBORSKI, MARC A               2873 MCKENNA DR                                                                                                        NEW LENOX          IL   60451‐5500
STAMBOUGH, CARL J                261 TRACE FORK RD.                                                                                                     WEST LIBERTY       KY   41472‐8169
STAMBOULIAN JR, THOMAS C         28302 CYPRESS CT                                                                                                       FARMINGTON HILLS   MI   48331‐2996
STAMBOULIAN, CHARLES             29737 PINE RIDGE CIR                                                                                                   FARMINGTON HILLS   MI   48331‐1878
STAMENKOVIC, MENDZA              6580 COLONIAL ST                                                                                                       DEARBORN HTS       MI   48127‐2111
STAMER, KATE                     507 13TH AVENUE A                                                                                                      ORION              IL   61273‐7728
STAMET SPA                       STAMPAGGI METALLICI                 SEDE SOCIALE                   CANAVESE STRADA GORETTI 2 FELETTO 10080 ITALY

STAMET SPA STAMPAGGI METALLICI   STRADA GORETTI 2                                                                                FELETTO TORINO 10080
                                                                                                                                 ITALY
STAMET SPA STAMPAGGI METALLICI   GORETTI 2 PO 10080                  FELETTO                        10080                        ITALY
STAMETS ‐ GM CARD                STAMETS,                            ANOLIK ALEXANDER               2107 VAN NESS AVENUE SUITE                          SAN FRANCISCO      CA 94109‐2572
                                                                                                    200
STAMETS ‐ GM CARD                STAMETS
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Name                      Address1                              Address2         Address3       Address4         City            State Zip
STAMEY, ANNE L            100 ANN AVE                                                                            BALTIMORE        MD 21221‐3605
STAMEY, JACK RAY          9204 CROSBY LAKE RD                                                                    CLARKSTON        MI 48346‐2569
STAMEY, JOSEPH M          9204 CROSBY LAKE RD                                                                    CLARKSTON        MI 48346‐2569
STAMEY, ROBERT J          4464 US HIGHWAY 411 NE                                                                 RANGER           GA 30734‐9759
STAMEY, RUTH Y            293 LOWER BELL ROAD                                                                    HIAWASSEE        GA 30546‐1841
STAMFORD CARBURETOR       46 CRESCENT ST                                                                         STAMFORD         CT 06906‐1814
STAMFORD CARBURETOR                                             46 CRESCENT ST                                                    CT 06906
STAMFORD CITY COLLECTOR   ATTN: TREAS'S OFFICE                  PO BOX 50                                        STAMFORD         CT 06904‐0050
STAMFORD, DONALD R        640 WASHINGTON BLVD                                                                    MC DONALD        OH 44437‐1846
STAMISLAWA GRABLICK       1139 CHAMPAIGN RD                                                                      LINCOLN PARK     MI 48146‐2414
STAMLER, KATHY M          100 MILLER ST                                                                          GOWANDA          NY 14070‐1530
STAMM DANIEL T            DBA GREEN IMAGE                       PO BOX 173                                       LIZTON           IN 46149‐0173
STAMM DAVID H             109 KEPPEL AVE                                                                         WEST LAWN        PA 19609‐1515
STAMM ENTERPRISES INC     7007 GRAHAM RD STE 110                                                                 INDIANAPOLIS     IN 46220‐4071
STAMM II, ORVILLE L       3296 ALEXANDRIA PIKE                                                                   ANDERSON         IN 46012‐9654
STAMM JR, CARL A          3067 N MILL RD                                                                         DRYDEN           MI 48428‐9341
STAMM, ALAN E             2336 SOUTH EAST OCEAN BLVD 318                                                         STUART           FL 34996
STAMM, ALICIA M           9304 FERRY RD                                                                          WAYNESVILLE      OH 45068‐9073
STAMM, CHARLES B          1140 N SEYMOUR RD                                                                      FLUSHING         MI 48433‐9451
STAMM, CHIYOKO            7056 PARTRIDGE DR                                                                      FLUSHING         MI 48433‐8816
STAMM, CHIYOKO            7056 PATRIDGE DR                                                                       FLUSHING         MI 48433‐8816
STAMM, CLARA              600 HORIZONS W APT 101                                                                 BOYNTON BEACH    FL 33435
STAMM, CLEO C             214 AIRPORT RD APT E109                                                                NORTH AURORA      IL 60842‐1722
STAMM, DAVID A            2751 SILVER TREE CT                                                                    HOWELL           MI 48843‐8286
STAMM, DELORIS M          3001 E RAHN RD                                                                         DAYTON           OH 45440‐2136
STAMM, DONALD E           1762 ANTIOCH RD                                                                        HAMERSVILLE      OH 45130‐9534
STAMM, DOUGLAS V          1329 HASTINGS AVE                                                                      MIAMISBURG       OH 45342‐3526
STAMM, DOUGLAS V          1329 HASTINGS DR                                                                       MIAMISBURG       OH 45342‐3526
STAMM, EVALINA B          613 MILTON AVE                                                                         ANDERSON         IN 46012‐3329
STAMM, GREGORY J          9265 FIRWOOD RD                                                                        SOUTH LYON       MI 48178‐9327
STAMM, HAZEL M            2305 E 8TH ST                                                                          ANDERSON         IN 46012‐4303
STAMM, JAMES F            555 W M61                                                                              STANDISH         MI 48658
STAMM, JEFFERY A          2053 VALLEY FORGE ST                                                                   BURTON           MI 48519‐1319
STAMM, JEFFERY ALAN       2053 VALLEY FORGE ST                                                                   BURTON           MI 48519‐1319
STAMM, JEFFREY D          1390 BONNIEBROOK DRIVE                                                                 MIAMISBURG       OH 45342‐6409
STAMM, KENNETH A          58 N EAGAN DR                                                                          LAKE ORION       MI 48362‐3709
STAMM, KENNETH W          1002 SUNDANCE DR                                                                       MIAMISBURG       OH 45342‐1986
STAMM, KURTIS JOSEPH      58 N EAGAN DR                                                                          LAKE ORION       MI 48362‐3709
STAMM, LANNY M            1892 BELLAMY ROAD                                                                      CONWAY           SC 29526‐8135
STAMM, LANNY M            1892 BELLAMY RD                                                                        CONWAY           SC 29526‐9526
STAMM, LARRY G            8826 FARMERSVILLE W. CARROLLTON RD.                                                    GERMANTOWN       OH 45327

STAMM, LESLIE W           105 W COUNTY ROAD 900 N                                                                LIZTON          IN   46149‐9353
STAMM, LILLIAN G          27200 CEDAR RD                        APT 312                                          BEACHWOOD       OH   44122‐1142
STAMM, LINDA L            122 CLIFFORD ST                                                                        ANDERSON        IN   46012‐2928
STAMM, LLOYD G            16413 TROWBRIDGE RD                                                                    WOLVERINE       MI   49799
STAMM, MARALENE TATMAN    3104 POPLAR ST                                                                         ANDERSON        IN   46012‐1143
STAMM, MERRILL B          2313 SOUTHLEA DR                                                                       DAYTON          OH   45459‐3642
STAMM, NATHAN A           430 LAUREL LEAH                                                                        OXFORD          MI   48371‐6371
STAMM, NATHAN AARON       430 LAUREL LEAH                                                                        OXFORD          MI   48371‐6371
STAMM, ORVILLE L          904 ALEXANDRIA PIKE                                                                    ANDERSON        IN   46012‐2606
STAMM, PAUL D             2319 SOUTHLEA DR                                                                       DAYTON          OH   45459‐3642
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Name                             Address1                              Address2                      Address3   Address4                City              State Zip
STAMM, RICHARD O                 5641 E 72ND ST                                                                                         INDIANAPOLIS       IN 46250‐2601
STAMM, ROBERT J                  9304 FERRY RD                                                                                          WAYNESVILLE        OH 45068‐9073
STAMM, ROBERT J                  64 HIGHLANDS AVE                                                                                       SPRINGFIELD        NJ 07081‐3743
STAMM, ROGER A                   320 BROWN ST APT 116                                                                                   WEST LAFAYETTE     IN 47906‐3249
STAMM, SEAN P                    6 MANSION HOUSE CT                                                                                     WEST CARROLLTON    OH 45449‐2231
STAMM, SHERRY A                  8915 NEW RD                                                                                            NORTH JACKSON      OH 44451‐9772
STAMM, TAMRA J.                  430 LAUREL LEAH                                                                                        OXFORD             MI 48371‐6371
STAMM, VERL L                    122 CLIFFORD ST                                                                                        ANDERSON           IN 46012‐2928
STAMM, VIKKI L                   RR 10 BOX 323                                                                                          ANDERSON           IN 46012
STAMM, VIRGIL E                  410 GOLF CLUB RD                                                                                       ANDERSON           IN 46011‐1721
STAMM,LARRY G                    8826 FARMERSVILLE W. CARROLLTON RD.                                                                    GERMANTOWN         OH 45327

STAMMANN, LOUELLA                893 EDITH DR                                                                                           OXFORD            MI   48371‐4729
STAMMANN, LOUELLA                893 EDITH ST                                                                                           OXFORD            MI   48371‐4729
STAMMEN, CHRISTOPHER C           1300 GRANDVIEW DR                                                                                      ROCHESTER HILLS   MI   48306‐4033
STAMMEN, DAVID A                 10513 WINDING WOOD TRL                                                                                 RALEIGH           NC   27613
STAMMER, CAROL                   PO BOX 1283                                                                                            DUNDEE            FL   33838‐1283
STAMMER, KEITH A                 51 W MUMMA AVE                                                                                         DAYTON            OH   45405
STAMMERS, JOHN S                 5290 CONSTANCE DR                                                                                      SAGINAW           MI   48603‐1703
STAMMLER, HEATHER M              802 RICHMOND AVE                                                                                       BUFFALO           NY   14222‐1167
STAMMLER, MARY K                 4291 CIRCLE CT                                                                                         WILLIAMSVILLE     NY   14221‐7505
STAMOS KEITH A                   109 WANKER DR                                                                                          PITTSBURGH        PA   15214‐1036
STAMOS, JAMES T                  1 ANCHORAGE LN APT 1B                                                                                  OYSTER BAY        NY   11771‐2719
STAMP, ANNE E                    7864 CHESTNUT RIDGE RD                                                                                 GASPORT           NY   14067‐9503
STAMP, CHESTER J                 PO BOX 164                                                                                             ANDOVER           OH   44003‐0164
STAMP, CRAIG M                   1435 STAMFORD RD                                                                                       YPSILANTI         MI   48198
STAMP, GAIL                      PO BOX 144                                                                                             STRYKERSVILLE     NY   14145‐0144
STAMP, JANET L                   210 NORTH E STREET                                                                                     DUNCAN            OK   73533‐6816
STAMP, JULIAN A                  PO BOX 308                                                                                             OVID              NY   14521‐0308
STAMP, MARLENE D.                2051 EVERETT AVE                                                                                       YOUNGSTOWN        OH   44514‐1023
STAMP, MARTHA J                  PO BOX 22274                                                                                           INDIANAPOLIS      IN   46222‐0274
STAMP, PAUL K                    405 SW COUNTY ROAD BB                                                                                  WARRENSBURG       MO   64093‐8132
STAMP, ROY L                     838 CATALPA BOX 1251                                                                                   BEECHER           IL   60401
STAMP, TERRY G                   5026 COOPERS LANDING DR APT 1B                                                                         KALAMAZOO         MI   49004‐7668
STAMP, TERRY L                   142 N CADILLAC DR                                                                                      BOARDMAN          OH   44512‐3316
STAMP, TONYA T                   4230 W CROSS ST                                                                                        ANDERSON          IN   46011‐9028
STAMP, VIRGINIA                  1374 EDWARDS ST                                                                                        WEST BRANCH       MI   48661‐9349
STAMP, WALTER H                  2175 LYONS DR                                                                                          SAN JOSE          CA   95116‐3636
STAMP, WAYNE V                   6520 STATE ROUTE 5                                                                                     KINSMAN           OH   44428‐9739
STAMPATRON MANUFACTURING         60 TRAVAIL RD                                                                  MARKHAM CANADA ON L3S
                                                                                                                3J1 CANADA
STAMPEE, ROBERT F                286 HERCULES RD                                                                                        EMPORIUM          PA 15834‐3214
STAMPER BLACK HILLS GOLD, INC.
STAMPER CHARLES C (494231)       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA 23510
                                                                       STREET, SUITE 600
STAMPER ELDON                    STAMPER, ELDON                        429 W WESLEY ST                                                  WHEATON           IL   60187‐4925
STAMPER ELDON                    STAMPER, KATHRYN                      429 W WESLEY ST                                                  WHEATON           IL   60187‐4925
STAMPER JR, IVAN                 6880 STATE ROUTE 104                                                                                   PIKETON           OH   45661‐9069
STAMPER JR, JAMES P              2616 BUSCH RD                                                                                          BIRCH RUN         MI   48415‐8918
STAMPER JR, MARVIN               5221 W FRANCES RD                                                                                      CLIO              MI   48420‐8514
STAMPER JR, WILLIE               10534 LOCUST PIKE                                                                                      COVINGTON         KY   41015‐9383
STAMPER KATHRYN                  STAMPER, ELDON                        429 W WESLEY                                                     WHEATON           IL   60187
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Name                                   Address1                        Address2                          Address3            Address4         City                State Zip
STAMPER KATHRYN                        STAMPER, KATHRYN                429 W WESLEY                                                           WHEATON               IL 60187
STAMPER KATHRYN                        STAMPER, ELDON                  429 W WESLEY ST                                                        WHEATON               IL 60187‐4925
STAMPER KATHRYN                        STAMPER, KATHRYN                429 W WESLEY ST                                                        WHEATON               IL 60187‐4925
STAMPER LEMUEL G (351315)              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                            NORFOLK              VA 23510
                                                                       STREET, SUITE 600
STAMPER PATRICK                        STAMPER, PATRICK                1590 MADSEN DRIVE                                                      ORTONVILLE          MI 48462
STAMPER ROBERTA (ESTATE OF) (663734)   STAMPER ROBERTA                 C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN STREET                    EDWARDSVILLE        IL 62025‐1972

STAMPER SAMUEL (459361)                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                            NORFOLK             VA 23510
                                                                       STREET, SUITE 600
STAMPER, ANNA S                        803 S LINDEN AVE                                                                                       MIAMISBURG          OH   45342‐3441
STAMPER, ANNABELLE L                   5802 LAKE AVENUE                                                                                       GREENVILLE          OH   45331‐9607
STAMPER, ANNABELLE L                   5802 LAKE AVE                                                                                          GREENVILLE          OH   45331‐9607
STAMPER, ANNETTE                       18627 ROYAL CT                                                                                         HUDSON              FL   34667‐6265
STAMPER, BARRY K                       4423 PANHANDLE RD                                                                                      NEW VIENNA          OH   45159‐9463
STAMPER, BENNY J                       8100 BYWATER ST                                                                                        COMMERCE TOWNSHIP   MI   48382
STAMPER, BETTY                         5769 UNION ROAD                                                                                        FRANKLIN            OH   45005‐4356
STAMPER, BRYNA R.                      1810 PALO VERDE DR                                                                                     YOUNGSTOWN          OH   44514‐1227
STAMPER, CARL W                        775 SUNSET ST                                                                                          PLYMOUTH            MI   48170‐1076
STAMPER, CHARLES C                     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                            NORFOLK             VA   23510‐2212
                                                                       STREET, SUITE 600
STAMPER, CHARLES E                     3551 TYLERVILLE ROAD LOT #43                                                                           HAMILTON            OH   45011‐8051
STAMPER, CHARLES E                     3551 TYLERSVILLE RD LOT 43                                                                             HAMILTON            OH   45011‐8051
STAMPER, CHARLES J                     26152 OAKLEY CT DR                                                                                     BROWNSTOWN          MI   48174
STAMPER, CHARLES W                     29239 GLENWOOD ST                                                                                      BROOKSVILLE         FL   34602‐7427
STAMPER, CHARLIE                       PO BOX 97                                                                                              DWARF               KY   41739‐0097
STAMPER, CHRISTINA S                   1534 KING RICHARD PKWY                                                                                 MIAMISBURG          OH   45342‐2745
STAMPER, CHRISTINE M                   8009 HIPP ST                                                                                           TAYLOR              MI   48180‐2641
STAMPER, CRISTA L                      24 ROAD 9076                                                                                           FORT PAYNE          AL   35967‐7578
STAMPER, DAPHNE                        1063 N FACTORY ROAD                                                                                    WEST ALEXENDER      OH   45381‐5381
STAMPER, DAVID M                       1016 E SCHOOL ST                                                                                       ANDERSON            IN   46012‐1525
STAMPER, DAVID R                       413 W MARTINDALE RD                                                                                    UNION               OH   45322‐3006
STAMPER, DEBORAH F                     452 W EARLE AVE                                                                                        YOUNGSTOWN          OH   44511‐1721
STAMPER, DENNIS                        125 N MAIN ST                                                                                          GLENCOE             KY   41046
STAMPER, DIANE M                       12111 DEBBY DR                                                                                         PARMA               OH   44130‐5825
STAMPER, DONALD                        2230 S HIGHWAY 76                                                                                      RUSSELL SPRINGS     KY   42642‐8844
STAMPER, DONALD                        2230 S HWY 76                                                                                          RUSSELL SPRINGS     KY   42642‐8844
STAMPER, DOROTHY                       2582 DIXIE HWY                                                                                         LAKESIDE PARK       KY   41017
STAMPER, DOUGLAS J                     803 S LINDEN AVE                                                                                       MIAMISBURG          OH   45342‐3441
STAMPER, DWAYNE A                      6510 E PICCADILLY RD                                                                                   MUNCIE              IN   47303‐4574
STAMPER, EDWIN L                       1408 RUNNYMEADE WAY                                                                                    XENIA               OH   45385‐7066
STAMPER, ENOCH                         745 FAIRLANE RD                                                                                        BUTLER              KY   41006‐8678
STAMPER, ERNESTINA E                   PO BOX 97                                                                                              TOLLESBORO          KY   41189‐0097
STAMPER, ERNESTINA E                   P.O.BOX 97                                                                                             TOLESBORO           KY   41189‐1189
STAMPER, EUGENE                        2093 N PONTIAC TRL                                                                                     COMMERCE TOWNSHIP   MI   48390‐3160
STAMPER, FRANK                         5769 UNION RD                                                                                          FRANKLIN            OH   45005‐4356
STAMPER, FREDDIE                       2382 ROSINA DR                                                                                         MIAMISBURG          OH   45342‐6422
STAMPER, GAIL M                        5525 AUBURN AVE                                                                                        SCIOTOVILLE         OH   45662‐5315
STAMPER, GERALD D                      1726 BINGHAM CIRCLE                                                                                    HEBRON              KY   41048‐8330
STAMPER, GLENN                         1063 N FACTORY RD                                                                                      WEST ALEXANDRIA     OH   45381‐9533
STAMPER, GUDRUN L                      9308 HERITAGE GLEN DR                                                                                  MIAMISBURG          OH   45342‐4486
STAMPER, HELEN E                       33812 WILLOWICK DR                                                                                     EASTLAKE            OH   44095‐2566
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Name                    Address1                         Address2                      Address3   Address4         City               State Zip
STAMPER, HERBERT        844 WELLMEIER AVE                                                                          DAYTON              OH 45410‐2907
STAMPER, JAMES          18627 ROYAL CT                                                                             HUDSON              FL 34667‐6265
STAMPER, JAMES D        331 CROSS CREEK CT                                                                         PITTSBURGH          PA 15237‐1766
STAMPER, JAMES F        10538 SPRINGWOOD DR                                                                        PORT RICHEY         FL 34668‐3044
STAMPER, JEFFREY A      6069 10TH AVE                                                                              MIAMISBURG          OH 45342
STAMPER, JOHN W         4930 E RADIO RD                                                                            YOUNGSTOWN          OH 44515‐1737
STAMPER, JOHN W         2797 PENNYROYAL ROAD                                                                       MIAMISBURG          OH 45342‐5029
STAMPER, KATHERINE      925 JOHNSTON DR                                                                            AURORA               IL 60506‐5713
STAMPER, KATHLEEN F     187 BELVUE DR                                                                              SPARTA              TN 38583‐2497
STAMPER, KATHLEEN F     187 BELLVUE DR                                                                             SPARTA              TN 38583‐2497
STAMPER, KEVIN C        3937 BONITA DR APT J                                                                       MIDDLETOWN          OH 45044‐6577
STAMPER, LARRY A        4247 READING RD                                                                            DAYTON              OH 45420‐2844
STAMPER, LEMUEL G       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                         STREET, SUITE 600
STAMPER, LEONIS         382 TIMBERLAKE DR                                                                          RICHMOND           KY   40475‐9653
STAMPER, LONNIE         10599 LOCUST PIKE                                                                          COVINGTON          KY   41015‐9383
STAMPER, LONNIE         10346 LOCUST PIKE                                                                          RYLAND HEIGHTS     KY   41015
STAMPER, LUCY L         794 RIDGE RD                                                                               VIENNA             OH   44473‐9715
STAMPER, MABEL C        306 BEE ST                                                                                 PRICETON           WV   24740‐3007
STAMPER, MADGE L        2721 E SOUTHPORT RD                                                                        INDIANAPOLIS       IN   46227‐5156
STAMPER, MANFRED        8777 S. UNION RD                                                                           MIAMISBURG         OH   45342‐4028
STAMPER, MANFRED        8777 S UNION RD                                                                            MIAMISBURG         OH   45342‐4028
STAMPER, MARJORY A      22852 CALABASH ST                                                                          WOODLAND HLS       CA   91364‐2811
STAMPER, MARVIN         7101 SPARR RD                                                                              GAYLORD            MI   49735‐9738
STAMPER, MARY           307 CENTRAL AVE                                                                            BATESVILLE         IN   47006‐8971
STAMPER, MARY J         5901 MARION DRIVE                                                                          MARION             MS   39342‐9403
STAMPER, MARY J         5901 MARION DR                                                                             MARION             MS   39342‐9403
STAMPER, MATTHEW S      7159 CHATLAKE DR                                                                           DAYTON             OH   45424
STAMPER, MCKINLEY       11974 FRIEND RD                                                                            GERMANTOWN         OH   45327‐9762
STAMPER, MCKINLEY       11974 FRIEND ROAD                                                                          GERMANTOWN         OH   45327‐9762
STAMPER, MICHAEL J      24 ROAD 9076                                                                               FORT PAYNE         AL   35967‐7578
STAMPER, MICHAEL J      12111 DEBBY DR                                                                             PARMA              OH   44130‐5825
STAMPER, NELLIE         8755 HIGHWAY 1275 N                                                                        MONTICELLO         KY   42633‐7275
STAMPER, NELLIE         8481 HIGHWAY 1275 N                                                                        MONTICELLO         KY   42633
STAMPER, NORA L         1459 PROPER AVE                                                                            BURTON             MI   48529‐2045
STAMPER, OLE C          9247 SUNSHINE CT                                                                           SAINT HELEN        MI   48656‐9718
STAMPER, PATRICK        1590 MADSEN DR                                                                             ORTONVILLE         MI   48462‐9059
STAMPER, PEGGY E        2121 W CAMBRIDGE DR                                                                        MUNCIE             IN   47304‐1404
STAMPER, PEGGY ELLEN    2121 W CAMBRIDGE DR                                                                        MUNCIE             IN   47304‐1404
STAMPER, PHYLLIS JEAN   29239 GLENWOOD ST                                                                          BROOKSVILLE        FL   34602‐7427
STAMPER, PHYLLIS JEAN   5720 LIVERNOIS ROAD                                                                        TROY               MI   48098‐3158
STAMPER, QUENTIS N      1788 HANLEY RD                                                                             LUCAS              OH   44843‐9754
STAMPER, REGINA M       801 MARTHA DR                                                                              FRANKLIN           OH   45005‐2021
STAMPER, REMEL D        34900 FREEDOM RD APT 3                                                                     FARMINGTON HILLS   MI   48335‐4017
STAMPER, RICKEY L       7276 SOUTHAMPTON LANE                                                                      WEST CHESTER       OH   45069‐8540
STAMPER, ROBERT L       12125 N 200 W                                                                              ALEXANDRIA         IN   46001‐8515
STAMPER, ROBERT LEE     12126 N 200 W                                                                              ALEXANDRIA         IN   46001‐8516
STAMPER, ROBERTA L      2579 VAYVIEW DRIVE                                                                         DAYTON             OH   45431‐1633
STAMPER, RUTH           47 NORMANDY HGTS RD                                                                        TAYLORSVILLE       KY   40071‐9728
STAMPER, RUTH           47 NORMANDY HEIGHTS RD                                                                     TAYLORSVILLE       KY   40071‐9728
STAMPER, SAMUEL         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                         STREET, SUITE 600
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Name                            Address1                         Address2                    Address3   Address4               City              State Zip
STAMPER, SAMUEL C               21 2ND AVE                                                                                     CLAYMONT           DE 19703‐2001
STAMPER, SANDRA K               8201 W RAMBLING RD                                                                             PRESCOTT           AZ 86305‐8410
STAMPER, SHELBY L.              20 N. WRIGHT AVE.                                                                              DAYTON             OH 45403‐1740
STAMPER, SHELBY L.              20 N WRIGHT AVE                                                                                DAYTON             OH 45403‐1740
STAMPER, TERRY A                16910 W 327TH ST                                                                               PAOLA              KS 66071‐8259
STAMPER, THRESSIA               6014 CECELIA DR                                                                                NEW PORT RICHEY    FL 34653‐5138
STAMPER, TIMOTHY J              1810 PALO VERDE DRIVE                                                                          YOUNGSTOWN         OH 44514‐1227
STAMPER, TROY W                 5901 MARION DRIVE                                                                              MARION             MS 39342‐9403
STAMPER, VALERIE                336 SWINTON WAY                                                                                SEVERNA PARK       MD 21146‐1527
STAMPER, VANCE R                5072 MERIDIAN RD # 2                                                                           WILLIAMSTON        MI 48895
STAMPER, VAUGHN                 2723 CRESWELL RD                                                                               BEL AIR            MD 21015‐6512
STAMPER, WALTER L               2230 DEVERON LN                                                                                GROVE CITY         OH 43123‐1089
STAMPER, WILEY E                1541 OAKWOOD TRL                                                                               XENIA              OH 45385‐9566
STAMPER, WILLIAM                8755 HIGHWAY 1275 N                                                                            MONTICELLO         KY 42633‐7275
STAMPER, WILLIAM D              221 THAT A WAY                                                                                 NEWPORT            TN 37821‐9301
STAMPER, WOODROW K              3132 STATE ROUTE 133                                                                           BETHEL             OH 45106‐8345
STAMPER,HERBERT                 844 WELLMEIER AVE                                                                              DAYTON             OH 45410‐2907
STAMPER‐PARDEE, NORA L          1459 PROPER AVE                                                                                BURTON             MI 48529‐2045
STAMPERS FEDERAL CREDIT UNION   250 MONROE NW                    200 CALDER PLAZA                                              GRAND RAPIDS       MI 49503
STAMPES, GEORGIA                9498 CHASEWOOD BLVD                                                                            CONROE             TX 77304‐7417
STAMPF, JOSEPH S                4 VIEWPOINT TER                                                                                NANUET             NY 10954‐1003
STAMPFEL, VICTORIA A            9608 PERRY LN                                                                                  OVERLAND PARK      KS 66212‐5154
STAMPFER, MICHAEL               3740 S RIVERSHIRE DR APT #1                                                                    GREENFIELD         WI 53228‐1159
STAMPFER, ROBERTA H             3740 S RIVERSHIRE DR APT 1                                                                     GREENFIELD         WI 53228‐1159
STAMPFLI, EUGENE D              1303 W 4TH AVE                                                                                 BRODHEAD           WI 53520‐1621
STAMPFLI, JENNY                 6740 WILLOW CREEK DRIVE                                                                        HUBER HEIGHTS      OH 45424‐5424
STAMPFLMEIER, RICHARD M         5305 ROWLAND RD                                                                                TOLEDO             OH 43613‐2739
STAMPFLY, ARTHUR R              122 FLORAL AVE                                                                                 SAINT JOHNS        MI 48879‐1046
STAMPFLY, DAVID E               540 JENNY LN                                                                                   PULASKI            TN 38478‐8500
STAMPFLY, ROLAND L              204 E WILLIAMS ST APT 201                                                                      OVID               MI 48866‐9502
STAMPING & WHEELS SA DE CV      PLANO REGULADOR # 8 COL          XOCOYAHUALCO TLALNEPANTLA              ESTADO MEXICO MEXICO
STAMPINGS/LAKEVILLE             21980 HAMBURG AVE                                                                              LAKEVILLE         MN 55044‐7246
STAMPINI GIANCARLO              TUGNOLI ANTONIA                  VIA SACCHIA 10                         40033 CASALECCHIO DI
                                                                                                        RENO ITALY
STAMPINI GIANCARLO, STAMPINI    C/O STAMPINI GIANCARLO           VIA JACCHIA 10                         40033 CASALECCHIO DI
GIANLUIGI, STAMPINI GIANNA                                                                              RENO BO ITALY
STAMPLEY, FREDDIE A             9111 W OUTER DR                                                                                DETROIT           MI   48219‐4061
STAMPLEY, HARDY JAMES           SHANNON LAW FIRM                 100 W GALLATIN ST                                             HAZLEHURST        MS   39083‐3007
STAMPLEY, JESSE LOVELL          SHANNON LAW FIRM                 100 W GALLATIN ST                                             HAZLEHURST        MS   39083‐3007
STAMPLEY, JESSIE                SHANNON LAW FIRM                 100 W GALLATIN ST                                             HAZLEHURST        MS   39083‐3007
STAMPLEY, KENNETH               SHANNON LAW FIRM                 100 W GALLATIN ST                                             HAZLEHURST        MS   39083‐3007
STAMPLEY, MAC A                 SHANNON LAW FIRM                 100 W GALLATIN ST                                             HAZLEHURST        MS   39083‐3007
STAMPLEY, MILDRED H             SHANNON LAW FIRM                 100 W GALLATIN ST                                             HAZLEHURST        MS   39083‐3007
STAMPLEY, ROY                   GUY WILLIAM S                    PO BOX 509                                                    MCCOMB            MS   39649‐0509
STAMPS ANDREW T                 1510 BUCK HILL LANE                                                                            BREINIGSVILLE     PA   18031‐1192
STAMPS DOT COM                  DEPT 398                         PO BOX 120398                                                 DALLAS            TX   75312‐0398
STAMPS JR, ELVAN                2214 ATWOOD DR                                                                                 ANDERSON          IN   46016‐2739
STAMPS JR, JIMMIE C             PO BOX 88172                                                                                   KENTWOOD          MI   49518‐0172
STAMPS, ALICE J                 PO BOX 568625                                                                                  ORLANDO           FL   32856‐8625
STAMPS, BEULAH                  12046 COUNTY ROAD 29                                                                           CENTRE            AL   35960‐3205
STAMPS, BOBBY J                 6201 IMPERIAL HILLS DR                                                                         DAYTON            OH   45414‐2823
STAMPS, CATHY F                 2214 ATWOOD DR                                                                                 ANDERSON          IN   46016‐2739
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Name                            Address1                            Address2                         Address3   Address4         City             State Zip
STAMPS, CLINTON C               4561 KALIDA AVE.                                                                                 DAYTON            OH 45424‐5424
STAMPS, DAN I                   7544 MOUNT RANIER                                                                                DAYTON            OH 45424‐6939
STAMPS, DAVID B, SR,            C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE RTE 157                                         EDWARDSVILLE       IL 62025
                                ROWLAND P C
STAMPS, DAVID L                 5313 HODIAMONT AVE                                                                               SAINT LOUIS      MO   63136‐3416
STAMPS, DORINE                  541 HIGHLAND ST SE                                                                               GRAND RAPIDS     MI   49507‐1206
STAMPS, DORINE                  541 HIGHLAND S E                                                                                 GRAND RAPIDS     MI   49507‐1206
STAMPS, INA B                   2202 OXMOOR DRIVE                                                                                DAYTON           OH   45431‐3135
STAMPS, INA B                   2202 OXMOOR DR                                                                                   DAYTON           OH   45431‐3135
STAMPS, JERRY                   814 SMITH BEND LN                                                                                GAINESBORO       TN   38562‐5330
STAMPS, JOHN A                  1757 ERIC DR                                                                                     DAYTON           OH   45414‐3917
STAMPS, MARGARET                3079 BROOKSIDE DR                                                                                WATERFORD        MI   48328‐2595
STAMPS, MARY J                  210 WEST DRAHNER ROAD APT. #127                                                                  OXFORD           MI   48371
STAMPS, MARY J                  210 W DRAHNER RD APT 127                                                                         OXFORD           MI   48371‐5087
STAMPS, MELVIN                  2 GREENHEAD LANE                                                                                 RAYMOND          MS   39154‐9154
STAMPS, MELVIN                  2 GREENHEAD LN                                                                                   RAYMOND          MS   39154‐7625
STAMPS, MIKE A                  44 WATERSVIEW DR                                                                                 JACKSON          MS   39212‐5630
STAMPS, RALPH I                 55 MAXWELL CT                                                                                    TIPP CITY        OH   45371‐2339
STAMPS, RICKIE L                3888 FEEDWIRE RD                                                                                 DAYTON           OH   45440‐3913
STAMPS, ROBERT NOAH             742 VINE ST                                                                                      PIQUA            OH   45356‐1452
STAMPS, ROGER                   184 CHANDLER DR                                                                                  FLORENCE         AL   35633‐6826
STAMPS, RONALD W                118 DUNCAN AVE                                                                                   KILLEN           AL   35645‐2932
STAMPS, RUTHIE M                PO BOX 88172                                                                                     KENTWOOD         MI   49518‐0172
STAMPS, SHIRLEY L               4561 KALIDA AVE                                                                                  DAYTON           OH   45424‐5768
STAMPS, SONJA A                 2137 PADEN ST                                                                                    JACKSON          MS   39204‐4808
STAMPS, STEVEN A                26500 W DAVISON                                                                                  REDFORD          MI   48239‐2776
STAMPS, STEVEN A.               26500 W DAVISON                                                                                  REDFORD          MI   48239‐2776
STAMPS, TIERRA L                23363 PLUM HOLLOW ST                                                                             SOUTHFIELD       MI   48033‐3235
STAMPS, VALORIE J               4904 E 24TH ST                                                                                   KANSAS CITY      MO   64127‐4609
STAMPS, VANEL C
STAMPS.COM INC.
STAMPSKI, MARY A                1444 W CUTLER RD                                                                                 DEWITT           MI   48820‐8450
STAMULIS, MARIE                 112 WICKERSHAM DR                                                                                SAVANNAH         GA   31411‐1310
STAMUS, ARISTIDES P             37467 BURTON CT                                                                                  REHOBOTH BEACH   DE   19971‐1578
STAN ASHLEY                     2531 N 85TH ST                                                                                   MESA             AZ   85207‐1426
STAN AUSBY                      5993 SHERIDAN STREET                                                                             DETROIT          MI   48213‐2466
STAN BAROSKI                    4085 FOUR LAKES AVE                                                                              LINDEN           MI   48451‐9480
STAN CLARK                      6225 S BENTON AVE                                                                                KANSAS CITY      MO   64130‐3766
STAN DOOLEY                     BRENT COON & ASSOCIATES             215 ORLEANS                                                  BEAUMONT         TX   77701
STAN DUFUR                      15363 W HOPE DR                                                                                  SURPRISE         AZ   85379‐5361
STAN E SALZMAN                  104 WEST LINKS                                                                                   WILLIAMSBURG     VA   23188
STAN FRANCZAK                   4507 STARY DR                                                                                    PARMA            OH   44134‐5832
STAN HILLING                    2221 CONNECTICUT AVE                                                                             YOUNGSTOWN       OH   44509‐1731
STAN JOHN NICKLAS (512086)      BARON & BUDD                        3102 OAK LANE AVE , SUITE 1100                               DALLAS           TX   75219
STAN JURGIELEWICZ
STAN KING CHEVROLET, INC.       ROYCE KING                          333 BROOKHAVEN ST                                            BROOKHAVEN       MS   39601‐3680
STAN KING CHEVROLET, INC.       333 BROOKHAVEN ST                                                                                BROOKHAVEN       MS   39601‐3680
STAN KOCH & SONS TRUCKING INC   PO BOX 581189                                                                                    MINNEAPOLIS      MN   55458‐1189
STAN KRYZANOWSKI                46783 HIGH MEADOWS CT                                                                            MACOMB           MI   48044‐3351
STAN L MCDOWELL                 4131 FREE PIKE APT. 19                                                                           DAYTON           OH   45416‐1232
STAN MASELLAS
STAN MC MAIN                    5899 SW REED LN                                                                                  TRIMBLE          MO 64492‐8129
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Name                              Address1                         Address2                        Address3              Address4                City               State Zip
STAN MCNABB‐CHEVROLET‐CADILLAC‐   2000 N JACKSON ST                                                                                              TULLAHOMA           TN 37388‐2206
PONT
STAN MCNABB‐CHEVROLET‐CADILLAC‐   HORACE MCNABB                    2000 N JACKSON ST                                                             TULLAHOMA          TN 37388‐2206
PONTIAC‐BUICK‐GMC, INC.
STAN MCNABB‐CHEVROLET‐CADILLAC‐   2000 N JACKSON ST                                                                                              TULLAHOMA          TN 37388‐2206
PONTIAC‐BUICK‐GMC, INC.
STAN NICHOLSON                    2218 POLK ST                                                                                                   JANESVILLE         WI 53546‐3208
STAN NOVAK
STAN PEPPLE MOTORS, INC.          112 N LYNN ST #114                                                                                             BRYAN              OH   43506
STAN PERALA                       48411 EDGAR ST                                                                                                 BELLEVILLE         MI   48111‐2205
STAN PUKLICH CHEVROLET            3701 STATE STREET                                                                                              BISMARCK           ND   58503
STAN PUKLICH CHEVROLET            STANLEY PUKLICH                  3701 STATE STREET                                                             BISMARCK           ND   58503
STAN ROBERTS                      PO BOX 436                                                                                                     HARTSELLE          AL   35640‐0436
STAN ROSS
STAN SERPENTO                     28164 GRAND DUKE DR                                                                                            FARMINGTON HILLS   MI 48334‐5217
STAN SEVERANCE
STAN SHEPHERD                     620 WESTBRIDGE DR                                                                                              SAINT PETERS       MO   63376‐3330
STAN SHOWALTER                    7725 W 54TH TER                                                                                                OVERLAND PARK      KS   66202‐1131
STAN STAGGS                       12919 OXFORD RD                                                                                                GERMANTOWN         OH   45327‐9789
STAN STANLEY                      1806 E HAMILTON AVE                                                                                            FLINT              MI   48506‐4465
STAN STRAYHORN
STAN SWARTZ                       11186 CLOVER LEAF CIR                                                                                          BOCA RATON         FL   33428‐1607
STAN SZANTY                       BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS         OH   44236
STAN THOMSEN                      790 CEDAR VIEW DR                UNIT 403                                                                      LEMARS             IA   51031
STAN VOZAR                        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS         OH   44236
STAN WLUSEK                       446 NOTRE DAME ST                BOX 484                                               BELLE RIVER ON N0R1A0
                                                                                                                         CANADA
STAN WOODS                        661 PRAIRIE DELL ST                                                                                            LEWISVILLE         TX   75067‐3600
STAN'S AUTO CENTER                106 CAMILLE ST                                                                                                 LAFAYETTE          LA   70503‐3712
STAN'S AUTO ELECTRIC INC          5115 E 30TH ST                                                                                                 INDIANAPOLIS       IN   46218‐3266
STAN'S AUTO SERVICE, INC.         1019 S LINCOLN AVE                                                                                             LOVELAND           CO   80537‐6380
STAN'S AUTOMOTIVE                 1914 12TH AVE                                                                                                  SOUTH MILWAUKEE    WI   53172‐2009
STAN'S GARAGE                     24301 W WARREN ST                                                                                              DEARBORN HEIGHTS   MI   48127‐2233
STAN'S GARAGE                     13434 10TH AVE S                                                                                               BURIEN             WA   98168‐2742
STAN'S PERFORMANCE SHOP           409 E HITT ST                                                                                                  MOUNT MORRIS       IL   61054‐1211
STAN, EUGENE                      3945 ALEESA DR SE                                                                                              WARREN             OH   44484‐2913
STAN, GABRIELA M                  78 LAWRENCE DRIVE                                                                                              WHITE PLAINS       NY   10603
STAN, JOHN NICKLAS                BARON & BUDD                     3102 OAK LANE AVE, SUITE 1100                                                 DALLAS             TX   75219
STAN, PETRE                       3556 MARIBELLA DR                                                                                              NEW SMYRNA BEACH   FL   32168‐5327
STAN, SHELLY                      13307 MICHAELANGELO DR                                                                                         BAKERSFIELD        CA   93314
STANA GELO                        36291 VALLEY VISTA DR                                                                                          EASTLAKE           OH   44095‐2371
STANA PEKOVIC                     5855 18TH ST N APT 12                                                                                          SAINT PETERSBURG   FL   33714‐4705
STANA, MARY                       678 STANA LANE                                                                                                 RUFFSDALE          PA   15679‐9634
STANA, WILLIAM J                  3406 WAYSIDE DR                                                                                                YOUNGSTOWN         OH   44502‐3061
STANABACK, BAYARD L               3904 N AUSABLE RD                                                                                              EAST TAWAS         MI   48730‐9625
STANABACK, DONNA J                3904 N AUSABLE RD                                                                                              EAST TAWAS         MI   48730‐9625
STANABACK, LEONE B                3919 AQUARINA ST                                                                                               WATERFORD          MI   48329‐2115
STANADYNE AUTOMOTIVE CORP         92 DEERFIELD RD                                                                                                WINDSOR            CT   06095‐4209
STANADYNE AUTOMOTIVE CORP         230 CLARKS NECK RD                                                                                             WASHINGTON         NC   27889‐8976
STANADYNE CORP                    TERRENCE GILBERT2248             STANDYNE DIESEL SYSTEMS         408 WHITE ST                                  BELLEVILLE         MI   48111
STANADYNE CORP                    405 WHITE ST                                                                                                   JACKSONVILLE       NC   28546‐6790
STANADYNE CORPORATION             TERRY GILBERT X2248              405 WHITE ST                    DIESEL SYSTEMS DIV.                           FLINT              MI   48505‐4129
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Name                           Address1                            Address2                         Address3              Address4             City              State Zip
STANADYNE CORPORATION          DIESEL SYSTEMS DIV                  PO BOX 371749M                                                              PITTSBURGH         PA 15251
STANADYNE DIESEL SYSTEMS       SIMON GARNER X5172                  CLARKS NECK RD. POB 1105                               ZENTRUMD HEILBRONN
                                                                                                                          GERMANY
STANADYNE HOLDINGS INC         230 CLARKS NECK RD                                                                                              WASHINGTON        NC 27889‐8976
STANADYNE HOLDINGS INC         408 WHITE ST                        PO BOX 5084                                                                 JACKSONVILLE      NC 28546‐6732
STANADYNE HOLDINGS INC         SIMON GARNER X5172                  CLARKS NECK RD. POB 1105                               ZENTRUMD HEILBRONN
                                                                                                                          GERMANY
STANADYNE HOLDINGS INC         TERRENCE GILBERT2248                STANDYNE DIESEL SYSTEMS          408 WHITE ST                               BELLEVILLE        MI   48111
STANADYNE HOLDINGS INC         TERRY GILBERT X2248                 405 WHITE ST                     DIESEL SYSTEMS DIV.                        FLINT             MI   48505‐4129
STANADYNE HOLDINGS INC         92 DEERFIELD RD                                                                                                 WINDSOR           CT   06095
STANAFORD, DANNY L             4094 MIDDLEBROOK DR                                                                                             DAYTON            OH   45440‐3370
STANAFORD, GERALDINE           1030 CREDE WAY .                                                                                                WAYNEVILLE        OH   45068‐9224
STANAFORD, MARY R              7660 PARAGON COMMONS CIR                                                                                        CENTERVILLE       OH   45459‐4057
STANAFORD, OVAL D              923 MILBURN AVENUE                                                                                              DAYTON            OH   45404‐1628
STANAFORD, RICHARD A           P O BOX 8                                                                                                       N LEBANON         OH   45345‐0008
STANAFORD, RICHARD A           PO BOX 8                                                                                                        NEW LEBANON       OH   45345
STANAFORD, ROBERT E            135 GRACEWOOD DR                                                                                                CENTERVILLE       OH   45458‐2504
STANAFORD, ROBERT EUGENE       135 GRACEWOOD DR                                                                                                CENTERVILLE       OH   45458‐2504
STANAFORD, ROBERT L            7147 RIO VISTA CT                                                                                               DAYTON            OH   45424‐3116
STANAFORD, RONNIE L            2849 BLACKHAWK RD                                                                                               KETTERING         OH   45420‐3805
STANAFORD, RUSSELL             240 ORCHARD HILL                                                                                                WEST CARROLLTON   OH   45449‐2233
STANAFORD, SONYA               24 N CHURCH ST                                                                                                  NEW LEBANON       OH   45345‐1240
STANAFORD, TERESA K            2217 E DOROTHY LN                                                                                               KETTERING         OH   45420‐1145
STANAFORD, TERESA K            5251 GRANTLAND DR                                                                                               DAYTON            OH   45429‐2126
STANALAJCZO, MARIANNE          2215 WINSTON DR                                                                                                 STERLING HTS      MI   48310‐5844
STANALAND, EDWARD L            GLASSER AND GLASSER, CROWN CENTER   580 EAST MAIN STREET SUITE 600                                              NORFOLK           VA   23510

STANALONIS, JOSEPH P
STANALONIS, KATHLEEN M         ZIMMERMAN & ASSOCIATES              3312 PIEDMONT RD NE STE 550                                                 ATLANTA           GA   30305‐1740
STANAR, ROBERT G               48 EWING RD                                                                                                     YOUNGSTOWN        OH   44512‐3448
STANARD, KENNETH D             56720 CHIPPEWA DR                                                                                               THREE RIVERS      MI   49093‐8014
STANARD, MELVIN L              4400 LORCARDO DR NE UNIT C                                                                                      CEDAR RAPIDS      IA   52402‐2344
STANAWAY, DAVID A              1807 E JASON RD                                                                                                 SAINT JOHNS       MI   48879‐8238
STANAWAY, HELEN                PO BOX 1306                                                                                                     GOODLETTSVILLE    TN   37070‐1306
STANAWAY, KATHERINE M          14422 BEXLEY CT #212B                                                                                           SHELBY TWP        MI   48315
STANAWAY, ROBERT R             3790 W LEHMAN RD                                                                                                DEWITT            MI   48820‐9149
STANBACK, BETTIE L             2824 MARBELLA PLACE                                                                                             COLUMBUS          OH   43219
STANBACK, BETTIE L             1005 N MCLEMORE AVE                                                                                             BROWNSVILLE       TN   38012‐1948
STANBACK‐LINDSEY, TINA J       8302 PAR FOUR WAY                                                                                               LITHONIA          GA   30038‐1854
STANBAUGH, GARY L              4194 E VIENNA RD                                                                                                CLIO              MI   48420‐9706
STANBAUGH, RONALD E            1203 ROSEBERRY LN                                                                                               CLIO              MI   48420‐1728
STANBERRY ANNA BELL (406255)   WARTNICK CHABER HAROWITZ SMITH &    101 CALIFORNIA ST STE 2200                                                  SAN FRANCISCO     CA   94111‐5853
                               TIGERMAN
STANBERRY, ANNA BELL           WARTNICK CHABER HAROWITZ SMITH &    101 CALIFORNIA ST STE 2200                                                  SAN FRANCISCO     CA 94111‐5853
                               TIGERMAN
STANBERRY, EMMA H              905 E NORTH D ST                    C/O CAROL R LEWIS                                                           GAS CITY          IN   46933‐1328
STANBERRY, FRANCES L           30214 ELMWOOD                                                                                                   GARDEN CITY       MI   48135‐2361
STANBERRY, FRANCES L           30214 ELMWOOD ST                                                                                                GARDEN CITY       MI   48135‐2361
STANBERRY, LARRY L             209 EARL WILLIAMS RD                                                                                            ELIZABETHTON      TN   37643‐5677
STANBERRY, MARVIN L            109 MAKEPEACE DR                                                                                                CHESTERFIELD      IN   46017‐1214
STANBERRY, MATTIE M            8810 S DORCHESTER AVE                                                                                           CHICAGO           IL   60619‐7010
STANBERRY, MAXINE              4616 BRANDON                                                                                                    DETROIT           MI   48209‐1379
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Name                                Address1                         Address2                        Address3   Address4            City                  State Zip
STANBERRY, MAXINE                   4616 BRANDON ST                                                                                 DETROIT                MI 48209‐1379
STANBERY, JERRY P                   2537 LITTLE DRY RUN RD                                                                          BUTLER                 TN 37640
STANBERY, NORMA J                   1700 ALLEN ROAD                                                                                 TALBOTT                TN 37877‐9003
STANBERY, NORMA J                   1700 ALLEN RD                                                                                   TALBOTT                TN 37877‐9003
STANBRIDGE PRECISION                LEIGH WELCH                      30‐32 BILTON WAY DALLOW RD                 HAMAMATSU JAPAN
STANBRIDGE PRECISION TURNED PARTS   LEIGH WELCH                      30‐32 BILTON WAY DALLOW RD                 HAMAMATSU JAPAN

STANBRIDGE, HARTLEY                 5250 CHAMPIONS AVE                                                                              LAS VEGAS             NV   89142‐2537
STANBROUGH, DARRYL R                10631 OAK PARK BLVD                                                                             OAK PARK              MI   48237‐2237
STANBROUGH, HOWARD R                11812 AMELING RD                                                                                MARYLAND HEIGHTS      MO   63043‐1542
STANBROUGH, URSULA L                28293 CARLTON WAY DR                                                                            NOVI                  MI   48377‐2634
STANBURY, GEORGE J                  63204 W CHARLESTON DR                                                                           WASHINGTON TOWNSHIP   MI   48095‐2431
STANBURY, JOHN                      3937 WATERFORD WAY                                                                              ANTIOCH               TN   37013‐2565
STANBURY, RUTH Y                    29118 BARKLEY ST                                                                                LIVONIA               MI   48154‐4006
STANBURY, VALERIE J                 2152 CHALET DR                                                                                  ROCHESTER HLS         MI   48309‐2103
STANCAMPIANO, RICHARD               6 VILLAGE VW                                                                                    LANCASTER             NY   14086‐9341
STANCATI & ASSOCIATES, P.C.         121 W. CEDAR ST                                                                                 KALAMAZOO             MI   49007
STANCATO & TRAGGE PC                440 E CONGRESS AVE 4TH FL                                                                       DETROIT               MI   48226
STANCATO, ERIK A                    9341 ROSEDALE BLVD                                                                              ALLEN PARK            MI   48101‐1649
STANCATO, KEITH L                   121 LIVINGSTON ROAD                                                                             WEST MIFFLIN          PA   15122‐2518
STANCEK, JENNIE M                   3057 BRUCE AVE                                                              WINDSOR ONTARIO
                                                                                                                CANADA N9E‐1W3
STANCEL, GRADY F                    3339 WOODTREE LN                                                                                BUFORD                GA   30519‐6944
STANCEL, JOANNE H                   1611 VAN WAGONER DR                                                                             SAGINAW               MI   48603‐4488
STANCEL, LUCY M                     3326 STANCIL DR                                                                                 DACULA                GA   30019‐1002
STANCEL, LUCY M                     3326 STANCEL DRIVE N E                                                                          DACULA                GA   30019‐1002
STANCEL, WAYNE P                    3262 STANCIL DR                                                                                 DACULA                GA   30019‐1004
STANCH, CAROL A                     16009 N 4TH DR                                                                                  PHOENIX               AZ   85023‐4413
STANCHAK, EDWARD J                  236 ARROWHEAD LN                                                                                EIGHTY FOUR           PA   15330‐2690
STANCHAK, MICHAEL J                 6125 POWERS RD                                                                                  ORCHARD PARK          NY   14127‐3213
STANCHER, MARY C                    1022 ROBBINS AVE.                                                                               NILES                 OH   44446‐3349
STANCHER, MARYBETH                  1022 ROBBINS AVE                                                                                NILES                 OH   44446‐3349
STANCHINA, F. J                     8396 LINDEN RD                                                                                  SWARTZ CREEK          MI   48473‐9151
STANCIL FORD (IRA)                  7192 CEDAR HILL RD                                                                              TALBOTT               TN   37877‐9025
STANCIL FORD                        7192 CEDAR HILL RD                                                                              TALBOTT               TN   37877‐9025
STANCIL FORD (IRA)                  7192 CEDAR HILL RD                                                                              TALBOTT               TN   37877‐9025
STANCIL JR, HUEY M                  158 MECHANIC ST                                                                                 CLYDE                 OH   43410‐1918
STANCIL LARRY                       STANCIL, LARRY                   2801 CABIN MUSEUM RD                                           TURKEY                NC   28393‐8946
STANCIL, ALPHA C                    4027 COUNTY ROAD 223                                                                            CLYDE                 OH   43410‐9754
STANCIL, LARRY                      2801 CABIN MUSEUM RD                                                                            TURKEY                NC   28393‐8946
STANCIL, MELVIN E                   3723 ATLANTA HWY                                                                                CUMMING               GA   30040‐6382
STANCIL, SHIRLEY RUPPE              101 DOVE AVE SW                                                                                 CONCORD               NC   28025‐5680
STANCIL, WOODROW W                  1575 BRASELTON HWY                                                                              LAWRENCEVILLE         GA   30043‐2809
STANCILE JAKE T (476948)            KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                  CLEVELAND             OH   44114
                                                                     BOND COURT BUILDING
STANCILE, JAKE T                    KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                   CLEVELAND             OH 44114
                                                                     BOND COURT BUILDING
STANCIN, ANDREA M                   1239 S CARROLLTON AVE                                                                           NEW ORLEANS           LA   70118‐2025
STANCIN, ANDREA M                   1239 SOUTH CARROLLTON AVENUE                                                                    NEW ORLEANS           LA   70118‐2025
STANCLIFF JR, WALTER J              19333 SUMMERLIN ROAD SITE 126                                                                   FORT MYERS            FL   33908
STANCO JAMES M (460209)             DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                                NORTH OLMSTED         OH   44070
STANCO METAL PROD INC               DAMIAN HAYDEN                    PO BOX 307                                                     AVILLA                IN   46710‐0307
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Name                              Address1                              Address2                    Address3                 Address4                 City               State Zip
STANCO METAL PRODUCTS INC         DAMIAN HAYDEN                         PO BOX 307                                                                    AVILLA              IN 46710‐0307
STANCO, PASQUALINA                18 AMITY ST                                                                                                         ELIZABETH           NJ 07202‐3936
STANCO, PASQUALINA                18 AMITY STREET                                                                                                     ELIZABETH           NJ 07202‐3936
STANCO, RACHEL                    60 ROOSEVELT ST                                                                                                     ROSELAND            NJ 07068‐1259
STANCOMBE, CLIFTON M              941 HELTONVILLE RD E                                                                                                BEDFORD             IN 47421‐8184
STANCOMBE, DARREN J               3787 S LEATHERWOOD RD                                                                                               BEDFORD             IN 47421‐8877
STANCOMBE, GREG                   544 MAPLE GRV                                                                                                       HELTONVILLE         IN 47436‐8676
STANCOMBE, STEPHEN J              723 V STREET                                                                                                        BEDFORD             IN 47421‐2430
STANCROFF ROMANO & MIKHOV &       THOMAS GUILBAULT                      33900 W 8 MILE RD STE 149                                                     FARMINGTON HILLS    MI 48335‐5204
STANCROFF, MICHAEL R              # 4A                                  11185 COMMERCIAL WAY                                                          WEEKI WACHEE        FL 34614‐3002
STANCU, CONSTANTIN                1800 OAK ST UNIT 413                                                                                                TORRANCE            CA 90501‐3375
STANCZAK JR, ERIC                 PO BOX 9022                           C/O ADAM OPEL, T2‐03                                                          WARREN              MI 48090‐9022
STANCZAK JR, ERIC J               PO BOX 9022                           C/O ADAM OPEL, T2‐03                                                          WARREN              MI 48090‐9022
STANCZAK, EMILIA ANN              44317 HIGHGATE DR                                                                                                   CLINTON TWP         MI 48038‐1487
STANCZAK, JESSE                   52315 MELODY DR                                                                                                     MACOMB              MI 48042‐3703
STANCZAK, JOSEPH P                2771 SO. 63 STREET                                                                                                  MILWAUKEE           WI 53219
STANCZAK, LYDIA
STANCZAK, LYDIA B                 44317 HIGHGATE DR                                                                                                   CLINTON TWP        MI   48038‐1487
STANCZAK, SUSAN                   5507 WOODFIELD DR                                                                                                   TROY               MI   48098‐5348
STANCZAK, TIMOTHY L               W31558993 GENA DR                                                                                                   MUKWONAGO          WI   53149‐8270
STANCZYK JR, WALTER J             1032 E ROWLAND A 4                                                                                                  FLINT              MI   48507
STANCZYK WALT                     DBA STANCZYK WALT ENTERPRISES         41446 PATRICK DR                                                              STERLING HEIGHTS   MI   48313‐3555
STANCZYK WALT DBA STANCZYK WALT   ATTN: CORPORATE OFFICER/AUTHORIZED    41446 PATRICK DR                                                              STERLING HEIGHTS   MI   48313‐3555
ENTERPRISES                       AGENT
STANCZYK, DAVID A                 53 ASHFORD AVE                                                                                                      TONAWANDA          NY   14150‐8503
STANCZYK, JEFFREY E               1430 BELL RD                                                                                                        CHAGRIN FALLS      OH   44022‐4245
STANCZYK, JEFFREY E.              1430 BELL RD                                                                                                        CHAGRIN FALLS      OH   44022‐4245
STANCZYK, RHONDA H                1430 BELL RD                                                                                                        CHAGRIN FALLS      OH   44022‐4245
STAND, KAREN                      216 E MORGAN ST                                                                                                     QUAPAW             OK   74363‐2860
STANDAERT ‐ BALCAEN               SEND NOTICES TO: SG PRIVATE BANKING   CUSTODY / ANN GELAUDE       KORTRIJKSESTEENWEG 302   B ‐ 9000 GENT BELGIUM

STANDAERT JOHN (515214)           BRAYTON PURCELL                       PO BOX 6169                                                                   NOVATO             CA   94948‐6169
STANDAERT, JOHN                   BRAYTON PURCELL                       PO BOX 6169                                                                   NOVATO             CA   94948‐6169
STANDARD & POOR'S                 55 WATER STREET                                                                                                     NEW YORK           NY   10041
STANDARD & POORS                  55 WATER ST                                                                                                         NEW YORK           NY   10041
STANDARD & POORS CVC              68 WILLOW RD                                                                                                        MENLO PARK         CA   94025‐3653
STANDARD & POORS CVC              39555 ORCHARD HILL PL STE 460                                                                                       NOVI               MI   48375‐5534
STANDARD ‐ THOMSON CORPORATION    PO BOX 899                                                                                                          CONNERSVILLE       IN   47331‐0899

STANDARD AERO LIMITED             33 ALLEN DYNE ROAD                                                                         WINNIPEG CANADA MB
                                                                                                                             R3H 1A1 CANADA
STANDARD AERO LTD
STANDARD ALVIN                    6195 MALLARD CT                                                                                                     CLARKSTON          MI 48346‐2295
STANDARD AUTO & EQUIPMENT         217 ANDREW DR                                                                                                       WASHINGTON         GA 30673‐2124
STANDARD BANK                     INTERNATIONAL BANKING CENTRE          1 PLEKERING ST.                                      NEWTON PARK, PORT
                                                                                                                             ELIZABETH SOUTH AFRICA
STANDARD BANK & TRUST CO          ATTN MR JOSEPH BULLINGTON             2400 W 95TH ST                                                                EVERGREEN PARK     IL 60805
STANDARD BANK LONDON LIMITED      153 EAST 53RD STREET                                                                                                NEW YORK           NY 10022
STANDARD CHARTERED BANK
STANDARD COMPONENTS INC           44208 PHOENIX DR                                                                                                    STERLING HEIGHTS   MI 48314‐1465
STANDARD CRANE & HOIST LLC        3005 HARVESTER DR                                                                                                   MONROE             LA 71201‐8355
STANDARD CRANE & HOIST LLC        14694 AIRLINE HWY                                                                                                   DESTREHAN          LA 70047‐4335
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Name                                Address1                               Address2                    Address3                Address4             City               State Zip
STANDARD DIE & FABRICATING INC      12980 WAYNE RD                                                                                                  LIVONIA             MI 48150‐1259
STANDARD DIE SUPPLY OF INDIANA      927 S PENNSYLVANIA ST                  PO BOX 2044                                                              INDIANAPOLIS        IN 46225‐1395
STANDARD DIE SUPPLY OF INDIANAINC   927 S PENNSYLVANIA ST                  PO BOX 2044                                                              INDIANAPOLIS        IN 46225‐1395

STANDARD ELECTRIC                   1514 S DORT HWY                                                                                                 FLINT              MI   48503‐2839
STANDARD ELECTRIC CO                PO BOX 5289                                                                                                     SAGINAW            MI   48603‐0289
STANDARD ELECTRIC CO                JOHN WISNIEWSKI                        2650 TRAUTNER DR                                                         SAGINAW            MI   48604
STANDARD ELECTRIC CO                1514 S DORT HWY                                                                                                 FLINT              MI   48503‐2839
STANDARD ELECTRIC CO                2650 TRAUTNER DR                       PO BOX 5289                                                              SAGINAW            MI   48604‐9599
STANDARD ELECTRIC CO                1300 WASHINGTON AVE                                                                                             BAY CITY           MI   48708‐5711
STANDARD ELECTRIC CO                ATTN: RAY MACLEOD                      1300 WASHINGTON AVE                                                      BAY CITY           MI   48708‐5778
STANDARD ENGRG & MFG‐INC ‐ GARNMT   NO ADVERSE PARTY

STANDARD EXPRESS INC                2727 S 11TH ST                                                                                                  MILWAUKEE          WI   53215‐3803
STANDARD FEDERAL BANK               FOR DEPOSIT TO THE ACCOUNT OF          T ROWLAND C                                                              ROCHESTER          MI   48307
STANDARD FEDERAL BANK               FOR DEPOSIT IN THE ACCOUNT OF          D WENNER                    43600 W OAKS DR BR 51                        NOVI               MI   48377
STANDARD FEDERAL BANK BCH 403       FOR DEPOSIT TO ACCOUNT OF              2950 WALTON BLVD                                                         ROCHESTER HILLS    MI   48309‐1418
STANDARD FEDERAL BANK N.A.          2600 WEST BIG BEAVER ROAD              PO BOX 3703                                                              TROY               MI   48084
STANDARD FEDERAL BANK NA
STANDARD FEDERAL BANK NA            ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 2600 WEST BIG BEAVER ROAD                                                TROY               MI 48084

STANDARD FORWARDING CO INC          2925 MORTON DR                                                                                                  EAST MOLINE        IL   61244‐1960
STANDARD GENERATOR                  4418 W OGDEN AVE                                                                                                CHICAGO            IL   60623‐2927
STANDARD HORSE NAIL CORP            PO BOX 316                             1415 5TH AVENUE                                                          NEW BRIGHTON       PA   15066‐0316
STANDARD HORSE NAIL CORP            1415 5TH AVE                                                                                                    NEW BRIGHTON       PA   15066‐2213
STANDARD HORSE NAIL CORP            KRIS MERRICK X12                       1415 FIFTH AVE/PO BOX 316                                                IRVINE             CA   92650
STANDARD HORSE NAIL CORP            KRIS MERRICK X12                       PO BOX 316                  1415 FIFTH AVE/                              NEW BRIGHTON       PA   15066‐0316
STANDARD HORSE/PA                   1415 5TH AVE                                                                                                    NEW BRIGHTON       PA   15066‐2213
STANDARD INDUSTRIAL & AUTO          6211 CHURCH RD                                                                                                  HANOVER PARK       IL   60133‐4802
EQUIPMENT INC
STANDARD INSURANCE CO               ATTN: GERALD GRACEFFO                  100 WALNUT AVE # 310                                                     CLARK              NJ 07066‐1247
STANDARD LABORATORIES INC           ATTN: CORPORATE OFFICER/AUTHORIZED     147 11TH AVE STE 100                                                     SOUTH CHARLESTON   WV 25303‐1136
                                    AGENT
STANDARD LABORATORIES INC           8451 RIVER KING DR                                                                                              FREEBURG           IL   62243‐2352
STANDARD LAFARGE                    6715 TIPPECANOE RD BLDG C510                                                                                    CANFIELD           OH   44406
STANDARD LEASING CORP               4220 BALTIMORE AVE                                                                                              HYATTSVILLE        MD   20781
STANDARD LOCKNUT & LOCKWASHER       KARA GRAMM                             1045 E 169TH ST.                                                         HARRODSBURG        KY   40330
STANDARD LOCKNUT INC                1045 E 169TH ST                                                                                                 WESTFIELD          IN   46074‐9630
STANDARD MACH/ROSVIL                29900 HAYES RD                                                                                                  ROSEVILLE          MI   48066‐1820
STANDARD MOT/INDEPEN                1300 W OAK ST                                                                                                   INDEPENDENCE       KS   67301‐2347
STANDARD MOTOR PRODUCTS             11045 GAGE AVE                                                                                                  FRANKLIN PARK      IL   60131‐1437
STANDARD MOTOR PRODUCTS             9101 ELY ST                                                                                                     PENSACOLA          FL   32514‐7019
STANDARD MOTOR PRODUCTS             2345 N CENTRAL AVE                                                                                              BROWNSVILLE        TX   78521‐5204
STANDARD MOTOR PRODUCTS             ATTN: VICE PRESIDENT GENERAL COUNSEL   37‐18 NORTHERN BLVD                                                      LONG ISLAND CITY   NY   11101‐1631

STANDARD MOTOR PRODUCTS             MICHELLE SHAFFER                       5150 PELHAM ROAD                                    HIMEJI HYOGO JAPAN
STANDARD MOTOR PRODUCTS             TOM LEHTO                              1300 W. OAK                                                              CLINTON TWP        MI   48036
STANDARD MOTOR PRODUCTS             37‐18 NORTHERN BLVD                                                                                             LONG ISLAND CITY   NY   11101
STANDARD MOTOR PRODUCTS             TOM LEHTO                              1300 W OAK ST                                                            INDEPENDENCE       KS   67301‐2347
STANDARD MOTOR PRODUCTS             MICHELLE SHAFFER                       5150 PELHAM RD                                                           GREENVILLE         SC   29615‐5719
STANDARD MOTOR PRODUCTS INC         7070 GOLF COURSE DR                                                                                             DISPUTANTA         VA   23842‐6054
STANDARD MOTOR PRODUCTS INC         37‐18 NOTHERN BLVD 12/28/06CM          RMVD 11/18/05 CS                                                         LONG ISLAND CITY   NY   11101
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STANDARD MOTOR PRODUCTS INC          1300 W OAK ST                                                                                                      INDEPENDENCE         KS 67301‐2347
STANDARD MOTOR PRODUCTS INC          37‐18 NORTHERN BLVD                                                                                                LONG ISLAND CITY     NY 11101
STANDARD MOTOR PRODUCTS INC          GAYLE CUNNINGHAM 135             7070 GOLF COURSE DR           STANDARD MOTOR                                      DISPUTANTA           VA 23842‐6054
                                                                                                    PRODUCTS, INC.
STANDARD MOTOR PRODUCTS INC          GAYLE CUNNINGHAM 135             STANDARD MOTOR PRODUCTS, INC. 7070 GOLF COURSE DRIVE    SILAO GJ 36100 MEXICO

STANDARD MOTOR PRODUCTS INC          GEN ANDERSA 38 ST                                                                        BIALYSTOK PL 15 113
                                                                                                                              POLAND (REP)
STANDARD MOTOR PRODUCTS INC          MICHELLE SHAFFER                 2717 COMMERCE ROAD                                                                DAYTON              OH 45404
STANDARD MOTOR PRODUCTS INC          MICHELLE SHAFFER                 5150 PELHAM RD                                                                    GREENVILLE          SC 29615‐5719
STANDARD MOTOR PRODUCTS INC          MICHELLE SHAFFER                 5150 PELHAM ROAD                                        HIMEJI HYOGO JAPAN
STANDARD MOTOR PRODUCTS INC          MICHELLE SHAFFER 479             C/O STANDARD MOTOR PRODUCTS    1300 WEST OAK STREET                               WABASH               IN
                                                                      IN
STANDARD MOTOR PRODUCTS INC          MICHELLE SHAFFER 479             SMP ELECTRONICS             170 SUNPORT LANE            BRANTFORD ON CANADA
STANDARD MOTOR PRODUCTS INC          PAT DIAMOND                      1801 WATERS RIDGE DR        FOUR SEASONS                                          LEWISVILLE           TX   75057‐6027
STANDARD MOTOR PRODUCTS INC          PAT DIAMOND                      500 INDUSTRIAL BLVD         FOUR SEASONS/STANDARD                                 GRAPEVINE            TX   76051‐3914
                                                                                                  MOTOR
STANDARD MOTOR PRODUCTS INC          PAT DIAMOND                      FOUR SEASONS                1801 WATERS RIDGE DRIVE                               COLUMBIA            MD
STANDARD MOTOR PRODUCTS INC          PAT DIAMOND                      FOUR SEASONS DIV            500 INDUSTRIAL BLVD                                   MCALLEN             TX 78501
STANDARD MOTOR PRODUCTS INC          PAT DIAMOND                      FOUR SEASONS/STANDARD MOTOR 500 INDUSTRIAL BLVD                                   ENGLEWOOD           OH

STANDARD MOTOR PRODUCTS INC          PAT DIAMOND                      STANDARD MOTOR PRODUCTS        1241 OLD TEMESCAL ROAD   LERMA CP 52000 MEXICO
STANDARD MOTOR PRODUCTS INC          STEVE BIZARRO X1183              1718 N HOME ST                                                                    MISHAWAKA            IN   46545‐7237
STANDARD MOTOR PRODUCTS INC          STEVE BIZARRO X1183              1718 N. HOME STREET                                     OSIMO ITALY
STANDARD MOTOR PRODUCTS INC          TOM LEHTO                        1300 W OAK ST                                                                     INDEPENDENCE        KS 67301‐2347
STANDARD MOTOR PRODUCTS INC          TOM LEHTO                        1300 W. OAK                                                                       CLINTON TWP         MI 48036
STANDARD MOTOR PRODUCTS INC          TOM LEHTO                        845 S 9TH ST                                                                      EDWARDSVILLE        KS 66111‐1354
STANDARD MOTOR PRODUCTS INC          TOM LEHTO                        845 S. 9TH STREET                                       CONCORD ON CANADA
STANDARD MOTOR PRODUCTS INC.         MICHELLE SHAFFER                 2717 COMMERCE ROAD                                                                DAYTON              OH 45404
STANDARD MOTOR PRODUCTS, INC.        TOM LEHTO                        845 S 9TH ST                                                                      EDWARDSVILLE        KS 66111‐1354
STANDARD MOTOR PRODUCTS, INC.        MICHELLE SHAFFER 479             SMP ELECTRONICS                170 SUNPORT LANE         BRANTFORD ON CANADA
STANDARD MOTOR PRODUCTS, INC.        TOM LEHTO                        845 S. 9TH STREET                                       CONCORD ON CANADA
STANDARD MOTOR PRODUCTS, INC.        STEPHANIE DAVENPORT              37‐18 NORTHERN BLVD                                                               LONG ISLAND CITY    NY    11101
STANDARD MOTORS & MARINE SUPPL                                        285 HUKILIKE ST                                                                                       HI    96732
STANDARD PLAQ/LVONIA                 PO BOX 2852                                                                                                        LIVONIA             MI    48150
STANDARD PLAQ/MLVNDL                 17271 FRANCIS ST                                                                                                   MELVINDALE          MI    48122‐1338
STANDARD PLAS/ELK GR                 935 LEE ST                                                                                                         ELK GROVE VILLAGE   IL    60007‐1206
STANDARD PROD/DEARBO                 PO BOX 8034                                                                                                        NOVI                MI    48376‐8034
STANDARD PROD/WARREN                 WARREN AUTOMOTIVE SALES OFFICE   3200 EAST 12 MILE ROAD         SUITE 100                                          WARREN              MI    48092
STANDARD PRODUCTS INC                PAT DIAMOND                      FOUR SEASONS DIV               500 INDUSTRIAL BLVD                                MCALLEN             TX    78501
STANDARD PROFIL A.S.                 H.FIRAT ASLAN                    EXPORT DEPT                    KONURALP HAMAMALTI                                 ROMULUS             MI    48174
                                                                                                     MEVKI
STANDARD PROFIL BULGARIA A D         FIRAT ASLAN                      12 NIKOLA PETKOV ULITZA 12                              MEXICO DF 9360 MEXICO
STANDARD PROFIL BULGARIA AD          12 NIKOLA PETKOV ST.                                                                     STARA ZAGORA 6000
                                                                                                                              BULGARIA
STANDARD PROFIL OTOMOTIV             SANAYI VE TICARET AS             CUMHURIYET CADDESI KA HAN NO   16/5                     ISTANBUL 34367 TURKEY

STANDARD PROFIL OTOMOTIV             SANAYL VE TICARET AS             CUMHURIYET CADDEST 16/7                                 ISTANBUL 80200 TURKEY
STANDARD PROFIL OTOMOTIV SANAYI VE   KONURALP HAMAMALTI MEVK                                                                  DUZCE BOLU 81620 TURKEY

STANDARD REGISTER CO                 PO BOX 91047                                                                                                       CHICAGO             IL 60693‐1047
STANDARD REGISTER COMPANY            LILLIAN FLATT                    600 ALBANY ST                                                                     DAYTON              OH 45408
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Name                                 Address1                             Address2                        Address3     Address4              City            State Zip
STANDARD RENT A CAR                  1122 N ABBY ST                                                                                          FRESNO           CA 93701‐1008
STANDARD RENT‐A‐CAR, INC.            1945 N FINE AVE STE 116                                                                                 FRESNO           CA 93727‐1528
STANDARD SCALE & SUPPLY CO           25421 GLENDALE                                                                                          DETROIT          MI 48239‐4511
STANDARD SCALE & SUPPLY CO           25421 GLENDALE                       PO BOX 40720                                                       DETROIT          MI 48239‐4511
STANDARD SCIENTIFIC SUPPLY LLC       105 W BUTTERNUT RD                                                                                      HELLERTOWN       PA 18055‐9712
STANDARD SLAG COMPANY                1200 STAMBAUGH BLDG                                                                                     YOUNGSTOWN       OH 44501
STANDARD STEEL                                                            500 N WALNUT ST                                                                     PA 17009
STANDARD SYSTEMS INTL CORP           1450 E SOUTH ST                                                                                         OWOSSO           MI 48867‐9779
STANDARD SYSTEMS INTL INC            1450 E SOUTH ST                                                                                         OWOSSO           MI 48867‐9779
STANDARD TH/WALTHAM                  PO BOX 899                                                                                              CONNERSVILLE     IN 47331‐0899
STANDARD THOMSON CORP                PO BOX 899                                                                                              CONNERSVILLE     IN 47331‐0899
STANDARD TOO/STVNSVL                 2950 JOHNSON RD                      P.O. BOX 208                                                       STEVENSVILLE     MI 49127‐1217
STANDARD TOOL & DIE                  2950 JOHNSON RD                                                                                         STEVENSVILLE     MI 49127‐1217
STANDARD TOOL & DIE, INC,            2950 JOHNSON ROAD                    PO BOX 608                                                         STEVENSVILLE     MI 49127
STANDARD TOOL & DIE, INC,            ATTN: CORPORATE OFFICER/AUTHORIZED   2950 JOHNSON RD                 PO BOX 608                         STEVENSVILLE     MI 49127‐1217
                                     AGENT
STANDARD TOOLS & EQUIPMENT TOOLS     4810 CLOVER RD                                                                                          GREENSBORO      NC 27405‐9607
USA
STANDARD TRUCK CENTER INC            1015 W PERSHING RD                                                                                      CHICAGO          IL   60609‐1427
STANDARD TUBE CANADA,INC.            ROB LARDER X234                      P.O.BOX 430/193 GIVINS ST                    WOODSTOCK ON CANADA
STANDARD TUBE CANADA,INC.            ROB LARDER X234                      PO BOX 430/193                                                     DEPEW           NY
STANDARD UTILITY CONSTRUCTION, INC   JOHN HUFF                            3202 HARDROCK RD                                                   GRAND PRAIRIE   TX 75050‐7103

STANDARD, ALVIN N                    6195 MALLARD CT                                                                                         CLARKSTON       MI    48346‐2295
STANDARD, AVON W                     3700 BERKELEY RD                                                                                        CLEVELAND HTS   OH    44118‐1943
STANDARD, JAMES E                    1230 TEMPLE PL                                                                                          SAINT LOUIS     MO    63112‐2906
STANDARD, LEON                       PO BOX 206                           366 N. FRONT STREET                                                ARTESIA         MS    39736‐0206
STANDARD‐THOMSON CORP                PO BOX 899                                                                                              CONNERSVILLE    IN    47331‐0899
STANDARDS FOR TECHNOLOGY IN          8400 WESTPARK DRIVE, STE 16, MACLEAN                                                                    MC LEAN         VA    22102
AUTOMOTIVE RETAIL CORPORATION
STANDARDS TESTING LABORATORIES       1845 HARSH AVE SE                    PO BOX 758                                                         MASSILLON       OH 44646‐7123
STANDARDS TESTING LABORATORIES INC   1845 HARSH AVE SE                    PO BOX 758                                                         MASSILLON       OH 44646‐7123

STANDARDS TESTING LABORATORIESINC    1845 HARSH AVE SE                                                                                       MASSILLON       OH 44646‐7123

STANDART PROF/TURKEY                 CUMHURIYET CAD. NO 16/7              ELMADAG 34367                                ISTAMBUL TK 34367
STANDART, WILLIAM R                  GENERAL DELIVERY                                                                                        MANSFIELD       TX 76063‐9999
STANDART, WILLIAM RICHARD            4408 FOSSIL DRIVE                                                                                       HALTOM CITY     TX 76117‐3917
STANDBERRY CURTIS M SR (ESTATE OF)   C/O GUY PORTER & MALOUF              4670 MCWILLIE DRIVE                                                JACKSON         MS 39206
STANDBERRY CURTIS M SR (ESTATE OF)   (NO OPPOSING COUNSEL)
(504988)
STANDBERRY JR, ELMORE                15884 EVERGREEN RD                                                                                      DETROIT         MI    48223‐1239
STANDBERRY, BARBARA J                6476 ENCLAVE DR                                                                                         CLARKSTON       MI    48348‐4858
STANDBERRY, CURTIS                   GUY WILLIAM S                        PO BOX 509                                                         MCCOMB          MS    39649‐0509
STANDEFER, DOROTHY D                 6140 RAYTOWN RD APT 505                                                                                 RAYTOWN         MO    64133‐4074
STANDEFER, PATSY R                   56 FREDOINA LOOP                                                                                        DUNLAP          TN    37327
STANDEFER, PATSY R                   56 FREDONIA LOOP                                                                                        DUNLAP          TN    37327‐3458
STANDEFER, RUTH D                    551 AVALON DR                                                                                           DYER            IN    46311‐1514
STANDEFORD, SHARON L.                2836 MORGAN TRL                                                                                         MARTINSVILLE    IN    46151‐6696
STANDEN ALBERT (447920)              KELLEY & FERRARO LLP                 1300 EAST NINTH STREET , 1901                                      CLEVELAND       OH    44114
                                                                          BOND COURT BUILDING
STANDEN JR, WILLIAM                  2559 DOYLE SCHOOL RD                                                                                    LACHINE         MI 49753‐9425
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Name                          Address1                             Address2                       Address3         Address4                City              State Zip
STANDEN'S LIMITED             GEORDIE MA                           1222 58TH AVE SE                                                        SOUTHFIELD         MI 48086
STANDEN, ALBERT               KELLEY & FERRARO LLP                 1300 EAST NINTH STREET, 1901                                            CLEVELAND          OH 44114
                                                                   BOND COURT BUILDING
STANDEN, DOROTHY L            G4444 W. COURT ST.                   BLDG 1 #1103                                                            FLINT             MI    48532
STANDEN, EUGENE H             89 BLARE DR                                                                                                  PALM COAST        FL    32137‐7312
STANDEN, HAROLD B             3628 FAIRHILLS DR                                                                                            OKEMOS            MI    48864‐5904
STANDEN, JUDY L               2626 N PETERSON DR                                                                                           SANFORD           MI    48657‐9487
STANDEN, JUDY LINDA           2626 N PETERSON DR                                                                                           SANFORD           MI    48657‐9487
STANDEN, MARY E               525 BRYN MAWR STREET                                                                                         BIRMINGHAM        MI    48009‐1586
STANDEN, MICHAEL R            3056 MORRISH RD                                                                                              SWARTZ CREEK      MI    48473‐9787
STANDEN, RALPH W              4147 BRISTOLWOOD DRIVE                                                                                       FLINT             MI    48507‐5534
STANDEN, RICHARD J            1130 W BERGIN AVE                                                                                            FLINT             MI    48507‐3604
STANDEN, ROGER A              312 LOCKWOOD ST                                                                                              ALPENA            MI    49707‐2544
STANDEN, THOMAS H             PO BOX 105                                                                                                   HARSENS IS        MI    48028‐0105
STANDENS LIMITED              1222‐58TH AVENUE SE                                                                  CALGARY CANADA AB T2H
                                                                                                                   2G7 CANADA
STANDENS LTD                  GEORDIE MA                           1222 58TH AVE SE                                                        SOUTHFIELD        MI    48086
STANDER, KARL W               8597 MEYERS LN                                                                                               PINCKNEY          MI    48169
STANDER, KATHLEEN H           24221 SARGEANT ROAD                                                                                          RAMONA            CA    92065‐4094
STANDER, TARYN M              APT 23B                              2557 COOLIDGE HIGHWAY                                                   TROY              MI    48084‐3652
STANDER, TARYN M              # 23                                 2557 COOLIDGE HIGHWAY                                                   TROY              MI    48084‐3652
STANDERFER JIMMIE L           1890 NORTH LANGLEY AVENUE                                                                                    CLOVIS            CA    93619‐0508
STANDERFER, DEBORAH L         1340 ELAINE DR                                                                                               TROY              MI    48083‐2108
STANDERFER, MICHAEL J         810 MINNEAPOLIS AVE                                                                                          GLADSTONE         MI    49837‐1623
STANDERFER, MICHAEL JAMES     810 MINNEAPOLIS AVENUE                                                                                       GLADSTONE         MI    49837‐1623
STANDERFER, PHILIP K          2600 S HILL RD LOT 37                                                                                        GLADSTONE         MI    49837‐2141
STANDEX ENGRAVING             5901 LEWIS RD                                                                                                SANDSTON          VA    23150‐2413
STANDEX ENGRAVING LLC         5901 LEWIS ROAD                      PO BOX 38130                                                            RICHMOND          VA    23231
STANDEX INTERNATIONAL         A/K/A MOLD ‐ TECH MICHIGAN           34497 KELLY ROAD                                                        FRASER            MI    48026
STANDEX INTERNATIONAL         A/K/A MOLD ‐ TECH MICHIGAN           ATTN: CORPORATE                34497 KELLY RD                           FRASER            MI    48026‐3404
                                                                   OFFICER/AUTHORIZED AGENT
STANDEX INTERNATIONAL CORP    ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 93928                                                            CHICAGO            IL   60673‐3928
                              AGENT
STANDEX INTERNATIONAL CORP    6 MANOR PKWY                                                                                                 SALEM             NH    03079‐2841
STANDEX INTERNATIONAL CORP    34497 KELLY RD                                                                                               FRASER            MI    48026‐3404
STANDFAST INDUSTRIES INC      28024 CENTER OAKS CT                                                                                         WIXOM             MI    48393‐3343
STANDFEST, HOPE E             361 ENGLE ST                                                                                                 IMLAY CITY        MI    48444‐1340
STANDFEST, OWEN W             14854 PALAIS DR                                                                                              SHELBY TWP        MI    48315‐2567
STANDFEST, SHARON             14854 PALAIS DR                                                                                              SHELBY TWP        MI    48315‐2567
STANDFEST, SHARON L           14854 PALAIS DR                                                                                              SHELBY TOWNSHIP   MI    48315‐2567
STANDFIELD, ELLA              7316 MAPLELAWN DRIVE                                                                                         YPSILANTI         MI    48197‐1883
STANDFIELD, J L               27 MCCALL RD                                                                                                 DELHI             LA    71232‐7027
STANDFIELD, WARDELL           PO BOX 2161                                                                                                  SOUTHFIELD        MI    48037‐2161
STANDFILL, LARRY D            4701 HOMESTEAD RD                                                                                            OKLAHOMA CITY     OK    73165‐9783
STANDFORD JR, WILLIAM G       2947 VOLTURNO DR                                                                                             GRAND PRAIRIE     TX    75052‐8732
STANDFORD, ETHEL              2209 SUMMERDALE DR.                                                                                          BROADVIEW         IL    60155‐4615
STANDFORD, MEREDITH L         1672 FOREST HILLS DR                                                                                         SAINT CHARLES     MO    63303‐3504
STANDHARDT, CHARLES W         10202 TORREY RD                                                                                              FENTON            MI    48430‐9711
STANDHARDT, CHARLES WILLIAM   10202 TORREY RD                                                                                              FENTON            MI    48430‐9711
STANDIFER JR., LARRY C        6312 HIDDEN TRAIL DR                                                                                         DALLAS            TX    75241‐5924
STANDIFER, CHARLENE           PORTER & MALOUF PA                   4670 MCWILLIE DR                                                        JACKSON           MS    39206‐5621
STANDIFER, DENNIS R           266 MOORE ST                                                                                                 FRANKLIN          OH    45005‐2157
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Name                              Address1                             Address2                      Address3                Address4         City            State Zip
STANDIFER, DENNIS R               266 MOORE DR                                                                                                FRANKLIN         OH 45005‐2157
STANDIFER, HERRIS E               9304 E 90TH TER                                                                                             KANSAS CITY      MO 64138‐4767
STANDIFER, JULIA M                6716 E 123RD TER                                                                                            GRANDVIEW        MO 64030‐1804
STANDIFER, KATIE                  6331 HAZLETT ST                                                                                             DETROIT          MI 48210‐1211
STANDIFER, MARCELLE               14213 STANSBURY ST                                                                                          DETROIT          MI 48227‐3151
STANDIFER, MILTON                 5372 MAPLEWOOD ST                                                                                           DETROIT          MI 48204‐3696
STANDIFER, THOMAS D               499 THISTLEDOWN WAY                                                                                         THE VILLAGES     FL 32162‐3323
STANDIFER, VICKI L                3809 BROOK SHADOWS CT                                                                                       ARLINGTON        TX 76016‐2773
STANDIFORD FERRIS C JR (449832)   SIMMONS FIRM                         PO BOX 559                                                             WOOD RIVER        IL 62095‐0559
STANDIFORD, CHARLES A             3708 CHANCERY PL                                                                                            FORT WAYNE       IN 46804‐2611
STANDIFORD, FERRIS C              SIMMONS FIRM                         PO BOX 559                                                             WOOD RIVER        IL 62095‐0559
STANDIFORD, HELEN A               4161 FAIRWAY DR                                                                                             NORTH PORT       FL 34287‐6107
STANDING CHAP 13 TRUSTEE OFFIC    ACCT OF MICHAEL L BEEMON             MCDONALD DRAW BOX 79001‐T #                                            DETROIT          MI
                                                                       555
STANDING CHAPTER 13 TRUSTEE       ACCT OF JOE EDWARD HORRISON          CAE #95‐31356 S               316 N MICHIGAN ST 501                    TOLEDO          OH 43604
                                                                                                     TOLEDO
STANDING CHAPTER 13 TRUSTEE       ACCT OF NOEL E MINTON                PO BOX 5816                                                            TROY            MI
STANDING CHAPTER 13 TRUSTEE       PO BOX 107                                                                                                  MEMPHIS         TN   38101‐0107
STANDING CHPT13 TRUSTEE           ACCT OF RICHARD J CHLOPICKI          26555 EVERGREEN RD STE 1100                                            SOUTHFIELD      MI   49076‐4251
STANDING CHPT13 TRUSTEE OFFICE    ACCT OF DELORES THOMAS               PO BOX 79001                  DRAWER 555                               DETROIT         MI   48279‐0002
STANDING CHPT13 TRUSTEE OFFICE    ACCT OF CECIL R BERG                 PO BOX 79001                  DRAWER 555                               DETROIT         MI   48279‐0002
STANDING CHPT13 TRUSTEE OFFICE    ACCOUNT OF KENNETH T WARD            PO BOX 79001                  DRAWER 555                               DETROIT         MI   48279‐0002
STANDING CHTP13 TRUSTEE           ACCT OF LARRY CAUDILL                26555 EVERGREEN RD            STE 1100                                 SOUTHFIELD      MI   48076‐4251
STANDING MICHAEL                  37 EDGEHILL AVE                                                                                             CHATHAM         NJ   07928‐1936
STANDING, MICHAEL H               41857 CONNERWOOD CT                                                                                         CANTON          MI   48187‐3592
STANDISH III, CLARENCE G          3250 WALTON AVE                                                                                             FLINT           MI   48504‐4232
STANDISH REHAB CENTE              PO BOX 213                                                                                                  CADILLAC        MI   49601‐0213
STANDISH STEEL INC                280 STANDISH STEEL DR                                                                                       BEDFORD         IN   47421‐6866
STANDISH, CHARIL L                1306 138TH AVE                                                                                              WAYLAND         MI   49348‐9140
STANDISH, JOHN W                  195 CAMPBELL BLVD                                                                                           GETZVILLE       NY   14068
STANDISH, JUDITH A                7151 N DURAND RD                                                                                            NEW LOTHROP     MI   48460‐9764
STANDISH, JUDITH A                7151 DURAND RD                                                                                              NEW LOTHROP     MI   48460‐9764
STANDISH, LEON R                  32 BROWN RD                                                                                                 ALBION          NY   14411‐9756
STANDISH, MELISSA K               2565 B&B BLVD.                                                                                              MERCED          CA   95348
STANDISH, RICHARD G               13105 EAGLE HARBOR KNOWLESVILLE RD                                                                          ALBION          NY   14411‐9124

STANDISH, TIMOTHY J               16230 SHERWOOD DR                                                                                           ORLAND PARK     IL   60462‐5641
STANDISH‐ MULLEN, JUNE ANN        166 BIG OAK LANE                                                                                            WILDWOOD        FL   34785‐9045
STANDISH‐ MULLEN, JUNE ANN        166 BIG OAK LN                                                                                              WILDWOOD        FL   34785‐9045
STANDKE THOMAS & JANICE           STANDKE, JANICE                      HAUER FARGIONE LOVE LANDY &   5901 SOUTH CEDAR LAKE                    MINNEAPOLIS     MN   55416
                                                                       MCELLISTREM PA                ROAD
STANDKE THOMAS & JANICE           STANDKE, THOMAS                      5901 CEDAR LAKE RD S                                                   MINNEAPOLIS     MN   55416‐1488
STANDLEE, ELWOOD                  24940 STATE HIGHWAY RA                                                                                      GOLDEN          MO   65658‐8277
STANDLEY II, MICHAEL S            8250 CORUNNA RD                                                                                             FLINT           MI   48532‐5501
STANDLEY SCOTT                    42995 RIGGS RD                                                                                              BELLEVILLE      MI   48111‐3084
STANDLEY, DOROTHY E               7051 CLIFFWOOD PL                                                                                           HUBER HEIGHTS   OH   45424‐2929
STANDLEY, ETHEL B                 35556 ANN ARBOR TRL CT                                                                                      LIVONIA         MI   48150‐5504
STANDLEY, JUNE M                  14722 OTSEGO ST                                                                                             SHERMAN OAKS    CA   91403‐1439
STANDLEY, MICHAEL S               2374 MORRISH RD                                                                                             SWARTZ CREEK    MI   48473‐9723
STANDLEY, MICHAEL SCOTT           2374 MORRISH RD                                                                                             SWARTZ CREEK    MI   48473‐9723
STANDLEY, RONALD L                415 W HENDRIX ST                                                                                            BRAZIL          IN   47834‐1026
STANDLEY, WILBERT M               HWY 127 BOX 21604                                                                                           ELKMONT         AL   35620
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Name                            Address1                          Address2                        Address3   Address4         City             State Zip
STANDLICK, JUDITH A             46 S MONROE ST                                                                                BEVERLY HILLS     FL 34465‐3756
STANDLICK, JUDITH A             46 SOUTH MONROE STREET                                                                        BEVERLY HILLS     FL 34465
STANDOAK, O D                   623 E DARTMOUTH ST                                                                            FLINT             MI 48505‐4341
STANDOHAR, EDWIN M              423 N HIGHLAND AVE                                                                            GIRARD            OH 44420‐2222
STANDOKES, DOROTHY M            2706 CLEMENT ST                                                                               FLINT             MI 48504‐7371
STANDOKES, ERNEST               2706 CLEMENT ST                                                                               FLINT             MI 48504‐7371
STANDOKES, TONY                 1187 RIVER VALLEY DR APT 5                                                                    FLINT             MI 48532‐2951
STANDOKES, TROY D               218 E MARENGO AVE                                                                             FLINT             MI 48505‐3300
STANDON AUTOMOTIVE TECHNOLOGY   1949 CLEARING CT                                                                              NEW LENOX          IL 60451‐2702
STANDPIPE STUDIOS LLC           21221 HILLTOP ST                                                                              SOUTHFIELD        MI 48033‐4914
STANDRIDGE ELTON GENE           C/O EDWARD O MOODY P A            801 WEST 4TH STREET                                         LITTLE ROCK       AR 72201
STANDRIDGE RONNIE SR            C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                         LITTLE ROCK       AR 77201
STANDRIDGE, ANN L               510 VALLEY VIEW DR                                                                            WINDER            GA 30680‐1422
STANDRIDGE, BARBARA J           5920 GRANGE HALL RD                                                                           HOLLY             MI 48442‐8758
STANDRIDGE, BILLY
STANDRIDGE, CLARENCE E          1802 EARLMOOR BLVD                                                                            FLINT            MI    48506‐3941
STANDRIDGE, ELTON GENE          C/O MOODY                         801 WEST FOURTH ST                                          LITTLE ROCK      AR    72201
STANDRIDGE, FAYE D              37 OWENSBY WAY                                                                                TRINITY          AL    35673
STANDRIDGE, GARY D              351 COUNTY ROAD 525                                                                           ATHENS           TN    37303‐6376
STANDRIDGE, GLENN D             3160 COIN ST                                                                                  BURTON           MI    48519‐1538
STANDRIDGE, IONA M              1802 EARLMORE BLVD.                                                                           FLINT            MI    48506
STANDRIDGE, JUDY                KROHN & MOSS ‐ CA,                5055 WILSHIRE BLVD STE 300                                  LOS ANGELES      CA    90036‐6101
STANDRIDGE, JULIAN B            19951 NE 50TH ST                                                                              WILLISTON        FL    32696‐6777
STANDRIDGE, LINDA               ROBINSON CALCAGNIE & ROBINSON     620 NEWPORT CENTER DR STE 700                               NEWPORT BEACH    CA    92660‐8014

STANDRIDGE, MARGARET            3070 S CENTER RD                                                                              BURTON            MI   48519‐1412
STANDRIDGE, PATTY M             19951 NE 50TH ST                                                                              WILLISTON         FL   32696
STANDRIDGE, PATTY M             19951 NORTHEAST 50TH ST                                                                       WILLISTON         FL   32696
STANDRIDGE, PEGGY               5833 HIGHWAY 22 EAST              ROOM #6                                                     ALEXANDER CITY    AL   35010
STANDRIDGE, RACHEL HALL
STANDRIDGE, RONNIE SR           MOODY EDWARD O                    801 W 4TH ST                                                LITTLE ROCK      AR 72201‐2107
STANDRIDGE, SAMUEL FREDERICK
STANDRIFF, WILBUR G             7343 RIDGEPOINT DR APT 107                                                                    CINCINNATI       OH    45230‐4438
STANDRING, CATHERINE M          4098 PORTER RD                                                                                WESTLAKE         OH    44145‐5252
STANDRING, SYDNEY L             7684 CLINTONVILLE RD                                                                          CLARKSTON        MI    48348‐4934
STANDTKE, PAUL D                17619 LENNANE                                                                                 REDFORD          MI    48240‐2164
STANEART, JACK R                18202 E CASPIAN PL                                                                            AURORA           CO    80013‐5908
STANEC, JAMES R                 411 RUSSELL AVE                                                                               NILES            OH    44446‐3731
STANECK, LESLEY R               9391 FERRY RD                                                                                 WAYNESVILLE      OH    45068‐9081
STANECK, MICHAEL C              9391 FERRY RD                                                                                 WAYNESVILLE      OH    45068‐9081
STANEFF MICHAEL                 14135 WILSON DR                                                                               PLYMOUTH         MI    48170‐2390
STANEFF, MICHAEL A              14135 WILSON DR                                                                               PLYMOUTH         MI    48170‐2390
STANEFF, MICHAEL ALLEN          14135 WILSON DR                                                                               PLYMOUTH         MI    48170‐2390
STANEFF, PANDORA                424 ROOSEVELT ST                                                                              CANTON           MI    48188‐6699
STANEK EUGENE G (664777)        GOLDENBERG, MILLER, HELLER &      PO BOX 959                                                  EDWARDSVILLE     IL    62025‐0959
                                ANTOGNOLI
STANEK JR, STANISLAUS J         5512 OAK CENTER DR                                                                            OAK LAWN          IL 60453‐3810
STANEK JR, STANLEY J            4756 MATTERHORN WAY                                                                           ANTIOCH           CA 94531‐8317
STANEK NETTING CO INC           STANEK NETTING CO INC
STANEK SR, FRANK J              2710 STIVING RD                                                                               MANSFIELD        OH 44903‐8004
STANEK, CLARENCE J              42 STONEYKIRK DR                                                                              PINEHURST        NC 28374‐9046
STANEK, EDWARD D                109 COTSWOLD CT                                                                               LANSING          MI 48906‐1500
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Name                        Address1                            Address2               Address3    Address4         City                  State Zip
STANEK, EUGENE G            C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE RTE 157                                EDWARDSVILLE            IL 62025
                            ROWLAND P C
STANEK, FRANK M             7567 LITTLE WALTERS CT                                                                  CLARKSTON             MI   48348‐4446
STANEK, JASON B             PO BOX 9022                                                                             WARREN                MI   48090‐9022
STANEK, JENNIFER M          7567 LITTLE WALTERS CT                                                                  CLARKSTON             MI   48348‐4446
STANEK, JOHN D              291 LOTHROP RD                                                                          GROSSE POINTE FARMS   MI   48236‐3405
STANEK, KATHERINE G         9560 S 5 1/2 RD                                                                         WELLSTON              MI   49699‐9601
STANEK, MARK L              1715 S ARCH ST                                                                          JANESVILLE            WI   53546‐5736
STANEK, MARY C              42 STONEYKIRK DR                                                                        PINEHURST             NC   28374‐9046
STANEK, MARY E              291 LOTHROP RD                                                                          GROSSE POINTE         MI   48236‐3405
STANEK, MARY ELIZABETH      291 LOTHROP RD                                                                          GROSSE POINTE         MI   48236‐3405
STANEK, MARY L              7567 LITTLE WALTERS COURT                                                               CLARKSTON             MI   48348‐4446
STANEK, PATRICIA            2361 N NICKLAUS DR                                                                      MESA                  AZ   85215‐2663
STANEK, PETER A             3807 LA MANCHA DR                                                                       JANESVILLE            WI   53546‐1454
STANEK, RICHARD J           9660 S 5 1/2 RD                                                                         WELLSTON              MI   49689‐9601
STANEK, RICHARD T           283 PATRICIA AVE ES                                                                     NAPOLEON              OH   43545
STANEK, ROBERT A            11285 SW 79TH AVE                                                                       OCALA                 FL   34476‐3705
STANEK, ROBERTA J           235 COAL VALLEY RD                                                                      JEFFERSON HILLS       PA   15025‐3805
STANEK, STEPHEN K           11 DAVID DR                                                                             AUGUSTA               NJ   07822‐2114
STANEK, THERESA             4756 MATTERHORN WAY                                                                     ANTIOCH               CA   94531‐8317
STANEK, THOMAS A            17540 E NORTHVILLE TRL                                                                  NORTHVILLE            MI   48168‐3249
STANEK, THOMAS J            1920 STRATFORD ST                                                                       SYLVAN LAKE           MI   48320‐1677
STANELLE, JONATHON C        23 WINDSOR CT                                                                           MILTON                WI   53563‐1150
STANESCU, DANIELA DORENNA
STANESCU, DAVID
STANESCU, EMANUELA
STANESCU, FLOARE
STANESCU, GEORGE VALENTIN
STANESCU, JESSICA ANETTA
STANESCU, JONATHAN
STANESCU, MIRIAM FLOARE
STANESCU, TABITHA DANIELA
STANESU, R M                431 CLAYPOOL BOYCE RD                                                                   ALVATON               KY   42122‐8732
STANESU, R MITCHELL         431 CLAYPOOL BOYCE RD                                                                   ALVATON               KY   42122‐8732
STANFA, JAMES K.            15 BIRCH TREE CT                                                                        ELMHURST              IL   60126
STANFEL, FRED W             725 BEVERLY PARK PL                                                                     JACKSON               MI   49203‐3930
STANFEL, GREGORY F          6303 SEMINOLE DR                                                                        TROY                  MI   48085‐1129
STANFEL, JAMES G            2834 MANCHESTER RD                                                                      BIRMINGHAM            MI   48009‐7500
STANFEL, THEODORE D         466 BERNICE LN                                                                          SONOMA                CA   95476‐5984
STANFEL, WILLIAM C          1205 GEORGINA DR                                                                        YPSILANTI             MI   48198
STANFIELD ENTERPRISES INC   3808 KAREN LN                                                                           BOSSIER CITY          LA   71112‐2614
STANFIELD JR, AARON M       6784 WILLIAMS LAKE RD                                                                   WATERFORD             MI   48329‐2986
STANFIELD RONALD            22747 LAWRENCE APT 1230                                                                 AURORA                MO   65605
STANFIELD, CAROL S          807 N GUINIVERE DR                                                                      MARION                IN   46952
STANFIELD, CAROLINE M       1921 WILLOUGHBY AVE                                                                     LAS VEGAS             NV   89101‐2231
STANFIELD, CHARLES          GUY WILLIAM S                       PO BOX 509                                          MCCOMB                MS   39649‐0509
STANFIELD, CHARLES E        1620 W HARRELD RD                                                                       MARION                IN   46952‐8611
STANFIELD, CHARLES R        141 BETHANY LN                                                                          WINLOCK               WA   98596‐9108
STANFIELD, CHRISTOPHER C    1962 SHERWOOD DR                                                                        DEFIANCE              OH   43512‐3432
STANFIELD, CLARENCE W       2956 SHAFOR BLVD                                                                        KETTERING             OH   45419‐1632
STANFIELD, DARYL A          4996 HAWTHORNE WAY                                                                      AVON                  IN   46123‐9433
STANFIELD, DONALD C         343 ARLETA DR                                                                           DEFIANCE              OH   43512‐1709
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Name                        Address1                           Address2                      Address3   Address4         City               State Zip
STANFIELD, DONALD R         2110 MEADOW LN                                                                               GRAND PRAIRIE       TX 75050‐1717
STANFIELD, DORIS A          6117 SW PARK PL                                                                              LAWTON              OK 73505‐7731
STANFIELD, DOYLE D          224 FLEMING DR                                                                               FLEMING ISLAND      FL 32003‐9326
STANFIELD, DUSTIN           816 CALLAHAN PL                                                                              FRANKLIN            TN 37067‐1373
STANFIELD, EDITH D          8261 BINGHAM ST                                                                              DETROIT             MI 48228‐2730
STANFIELD, ELEASE           24694 VERDANT DR                   UNIT 203 BLDG 76                                          FARMINGTON HILLS    MI 48335‐2127
STANFIELD, EMILIE F         690 HAMLET CIR                                                                               GOOSE CREEK         SC 29445‐7116
STANFIELD, EVERETTE P       6540 OLD WHITE MILL RD                                                                       FAIRBURN            GA 30213‐2584
STANFIELD, GORDON S         14736 EAST BURNT ROAD                                                                        GOETZVILLE          MI 49736
STANFIELD, HAROLD D         4504 ADRIAN LN                                                                               SALTVILLE           VA 24370‐3656
STANFIELD, JAMES K          1007 MEADOWBROOK RD                                                                          MURFREESBORO        TN 37129‐6402
STANFIELD, JANICE M         200 LAKESIDE DR                                                                              BRANDON             MS 39047‐6137
STANFIELD, JEFFREY W        324 C W MOORE RD                                                                             SMITHS GROVE        KY 42171‐9323
STANFIELD, JERRY L          14076 TUSCOLA RD                                                                             CLIO                MI 48420‐8808
STANFIELD, JERRY W          482 COUNTY ROAD 1653                                                                         CHICO               TX 76431‐3615
STANFIELD, JIMMY B          434 FAITH DRIVE                                                                              GIBSONVILLE         NC 27249‐2675
STANFIELD, JOHN D           13361 TUSCOLA RD                                                                             CLIO                MI 48420‐1850
STANFIELD, JONATHAN F       1252 CHARLESGATE CIR                                                                         EAST AMHERST        NY 14051‐1216
STANFIELD, KAREN D          6118 TURNERGROVE DR                                                                          LAKEWOOD            CA 90713‐1947
STANFIELD, KENNETH J        RR 1 BOX 94‐B                                                                                WELLSTON            OK 74881
STANFIELD, KENNETH J        331592 E HIGHWAY 66                                                                          WELLSTON            OK 74881‐4422
STANFIELD, MONTIE R         1383 ROSEWOOD AVE                                                                            SAN CARLOS          CA 94070‐4829
STANFIELD, NANCY            35 GARLAND AVE                                                                               ROCHESTER           NY 14611‐1001
STANFIELD, NANCY            35 GARLAND AVENUE                                                                            ROCHESTER           NY 14611‐1001
STANFIELD, OLIVIA           434 FAITH DR                                                                                 GIBSONVILLE         NC 27249‐2675
STANFIELD, PATRICIA A       22 PENNSBURY WAY E                                                                           CHADDS FORD         PA 19317‐9302
STANFIELD, RITA             482 LAKESIDE DR                                                                              WATERFORD           MI 48328‐4038
STANFIELD, ROBERT P         2121 RIVER RD                                                                                FRANKLIN            NC 28734‐3561
STANFIELD, ROBERT T         962 COUNTY ROAD 40                                                                           NOVA                OH 44859‐9729
STANFIELD, SAMMY R          3796 BRIMFIELD AVE                                                                           AUBURN HILLS        MI 48326‐3339
STANFIELD, SAMUEL R         425 IMY LN                                                                                   ANDERSON            IN 46013‐3872
STANFIELD, SANDRA S         1962 SHERWOOD DR                                                                             DEFIANCE            OH 43512‐3432
STANFIELD, SONDRA R         425 IMY LN                                                                                   ANDERSON            IN 46013‐3872
STANFIELD, SYLVIA M         744 N. HAUGH STREET                                                                          INDIANAPOLIS        IN 46222‐3647
STANFIELD, SYLVIA M         744 HAUGH ST                                                                                 INDIANAPOLIS        IN 46222‐3647
STANFIELD, VIRGINIA J       2202 BERKLEY ST                                                                              FLINT               MI 48504‐4020
STANFIELD, WAYNE D          13100 123RD STREET                                                                           LEXINGTON           OK 73051‐7336
STANFILL BILLY W (352579)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                               STREET, SUITE 600
STANFILL, ARVID C           505 N CHURCH ST                                                                              NEW CARLISLE       OH 45344‐1348
STANFILL, BILLY W           3342 E CEDAR LAKE DR                                                                         GREENBUSH          MI 48738‐9616
STANFILL, BILLY W           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                               STREET, SUITE 600
STANFILL, DALE L            7104 ROSEWOOD DR                                                                             FLUSHING           MI   48433‐2277
STANFILL, ELMER M           143 N SHORE DR W                                                                             CADILLAC           MI   49601‐8208
STANFILL, FRANKLIN D        117 STANFILL RD                                                                              STRUNK             KY   42649‐9377
STANFILL, HOWARD R          75 PHEASANT RUN CIR                                                                          SPRINGBORO         OH   45066‐1493
STANFILL, JERRY L           2338 MARLENE DR                                                                              SWARTZ CREEK       MI   48473‐7918
STANFILL, JESSIE L          459 BOWENS MILL HWY                                                                          FITZGERALD         GA   31750‐6953
STANFILL, JIM A             2294 RIDGMAR PLZ APT 106                                                                     FORT WORTH         TX   76116‐2354
STANFILL, LONNIE            1045 RYDALE RD                                                                               DAYTON             OH   45405‐1511
STANFILL, LORETTA G         401 CHESTER LEVEE ROAD                                                                       JACKSON            TN   38301
                                   09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
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Name                               Address1                             Address2                      Address3                 Address4                City            State Zip
STANFILL, MICHAEL L                4217 KEDRON ROAD                                                                                                    SPRING HILL      TN 37174‐2203
STANFILL, PATRICIA C               921 S BALLENGER HWY                                                                                                 FLINT            MI 48532
STANFILL, RICHARD A                6371 SANDPIPER WAY                                                                                                  LAS VEGAS        NV 89103‐2110
STANFILL, TOMMY                    30 CR 238                                                                                                           CORINTH          MS 38834‐7603
STANFILL, TOMMY                    30 COUNTY ROAD 238                                                                                                  CORINTH          MS 38834‐7603
STANFILL, VIRGINIA E               14855 LYONS ST                                                                                                      LIVONIA          MI 48154‐3917
STANFORD ANDERS                    12912 SANTA CLARA ST                                                                                                DETROIT          MI 48235‐1432
STANFORD ARCHER                    8650 HIGHLAND RD                                                                                                    MARTINSVILLE     IN 46151‐8320
STANFORD AUTO CENTRE INC.          1‐531 STANFORD AVE E                                                                        PARKSVILLE BC V9P 1V6
                                                                                                                               CANADA
STANFORD AUTOMOTIVE                66 YOUNGS MILL RD                                                                                                   LAGRANGE        GA   30241‐1336
STANFORD BATES                     625 COTTAGE GROVE AVE                                                                                               FLINT           MI   48504‐4804
STANFORD BLACK JR                  8573 E OUTER DR                                                                                                     DETROIT         MI   48213‐1419
STANFORD CENTER FOR PROFESSIONAL   496 LOMITA MALL                      DURAND BLDG 3RD FLR LOBBY                                                      STANFORD        CA   94305‐4008
DEVELOPMENT
STANFORD CHASE                     1218 HAMLET CT                                                                                                      SAINT LOUIS     MO   63137‐1119
STANFORD CLEMENS                   6510 MERIDIAN PKWY APT B                                                                                            INDIANAPOLIS    IN   46220‐1385
STANFORD D WILLIAMS TRUST          HWY 14 W BOX 309                                                                                                    CARMI           IL   62821
STANFORD FEWELL                    PO BOX 321                                                                                                          AZLE            TX   76098‐0321
STANFORD GOODMAN                   8470 LIMEKILN PINE                  APT B808                                                                        WYNCOTE         PA   19095
STANFORD HACKLEMAN                 185 W WOODLAND DR                                                                                                   PENDLETON       IN   46064‐9534
STANFORD HAROLD EUGENE (339366)    DOFFERMYRE SHIELDS CANFIELD KNOWLES 1355 PEACHTREE ST NE STE 1600                                                   ATLANTA         GA   30309‐3276
                                   & DEVINE
STANFORD HATTER                    3508 LENARDO DR SW                                                                                                  ATLANTA         GA   30331‐2424
STANFORD HERBERT                   4101 DEL‐LAGO                                                                                                       SAINT LOUIS     MO   63034
STANFORD HOFMEISTER                419 EARLSTON ST                                                                                                     BOWLING GREEN   KY   42104‐7206
STANFORD J STROUP                  1880 MAHONING AVE NW                                                                                                WARREN          OH   44483‐2052
STANFORD JEAN                      STANFORD, JEAN                      275 E DOUGLAS AVE STE 102                                                       EL CAJON        CA   92020‐4545
STANFORD JR, SAM                   2096 WAITSFIELD DR                                                                                                  REYNOLDSBURG    OH   43068‐3178
STANFORD L HACKLEMAN               185 W WOODLAND DR                                                                                                   PENDLETON       IN   46064‐9534
STANFORD LAWRENCE JR               11611 MOORESTOWN RD                                                                                                 ROSCOMMON       MI   48553‐7176
STANFORD PLACE                     8055 E TUFTS AVE STE 1310                                                                                           DENVER          CO   80237‐2837
STANFORD PLACE I                   8055 E TUFTS AVE STE 1310                                                                                           DENVER          CO   80237‐2837
STANFORD R JONES                   1820 AVE H                                                                                                          JACKSON         MS   39213
STANFORD RESEARCH SYSTEMS          1290 REAMWOOD AVE STE D                                                                                             SUNNYVALE       CA   94089‐2279
STANFORD SINCLAIR                  18887 SHIELDS ST                                                                                                    DETROIT         MI   48234‐2033
STANFORD ST JUDE CHAMPIONSHIP      YOUTH PROGRAMS INC                  3325 CLUB AT SOUTHWIND                                                          MEMPHIS         TN   38125‐8832
STANFORD STROUP                    1880 MAHONING AVE NW                                                                                                WARREN          OH   44483
STANFORD SWARTS                    BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS      OH   44236
STANFORD UNIVERISTY                DEPT OF MECHANICAL ENGR             THERMAL & FLUID SCIENCES      AFFILITES PROGRAM                                 STANFORD        CA   94305
STANFORD UNIVERSITY                ATTN TODD LOGAN                     TERMAN ENGINEERING CTR RM 307 380 PANAMA MALL MC 4027                           STANFORD        CA   94305

STANFORD UNIVERSITY                THERMAL & FLUID SCIENCES AFF         488 ESCONDIDO MALL BLDG 500                                                    STANFORD        CA   94305‐3040
STANFORD UNIVERSITY                DBA STANFORD CATERING                459 LAGUNITA DR STE 5                                                          STANFORD        CA   94305‐8214
STANFORD UNIVERSITY                FINANCIAL AID OFFICE                 OLD UNION ROOM 322            520 LASUEN MALL                                  STANFORD        CA   94305
STANFORD UNIVERSITY                FINANCIAL AID OFFICE                 355 GALVEZ ST                 BAKEWELL BUILDING                                STANFORD        CA   94305‐6106
STANFORD UNIVERSITY                CONTROLLERS OFFICE                   RECEIVABLE ACCOUNTING         PO BOX 44436                                     SAN FRANCISCO   CA   94144‐0001
STANFORD UNIVERSITY                PO BOX 44253                                                                                                        SAN FRANCISCO   CA   94144‐0001
STANFORD UNIVERSITY                DEPT OF MECHANICAL ENG               ATTN KRISTIN BURNS            TERMAN 551                                       STANFORD        CA   94305
STANFORD UNIVERSITY
STANFORD UNIVERSITY                ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 44253                                                                   SAN FRANCISCO   CA 94144‐0001
                                   AGENT
                                     09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
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Name                                 Address1                             Address2                          Address3   Address4          City             State Zip
STANFORD UNIVERSITY ALLIANCE FOR     BLDG 530 RM 103 UPTD PER AFC         440 ESCONDIDO MALL 6/28/06                                     STANFORD          CA 94305
INNOVATIVE MFG
STANFORD UNIVERSITY SCHOOL OF        496 LOMITA MALL                      DURAND BLDG 3RD FL                                             STANFORD         CA 94305‐4008
ENGINEERING
STANFORD UNIVSERSITY                 450 SERRA MALL                                                                                      STANFORD         CA   94305
STANFORD WALLING                     3355 MORTON RD                                                                                      STOCKBRIDGE      MI   49285‐9119
STANFORD WENTZ                       6053 BARKER DR                                                                                      WATERFORD        MI   48329‐3101
STANFORD WILLIAM                     2947 VOLTURNO DR                                                                                    GRAND PRAIRIE    TX   75052‐8732
STANFORD, ALTHEA M                   7268 TOWNSEND DR                                                                                    ROMULUS          MI   48174‐6351
STANFORD, ANDREA B                   9532 HOLLY OAK DR                                                                                   SHREVEPORT       LA   71118‐4735
STANFORD, AUDRA C                    4697 HERNER COUNTY LINE ROAD                                                                        SOUTHINGTON      OH   44470‐9406
STANFORD, AUTUMN
STANFORD, BETTY J                    3062 LINGER LN                                                                                      SAGINAW          MI   48601‐5616
STANFORD, CAROL B                    8488 RED OAK DR NE                                                                                  WARREN           OH   44484‐1628
STANFORD, CAROLE G                   1485 TRIPODI CIR                                                                                    NILES            OH   44446‐3564
STANFORD, CHARLES D                  1305 VETO RD                                                                                        PROSPECT         TN   38477
STANFORD, CHARLES M                  4801 SE 104TH ST                                                                                    OKLAHOMA CITY    OK   73165‐9712
STANFORD, CHARLES W                  1070 RIVER VIEW RD                                                                                  MILLSAP          TX   76066‐9650
STANFORD, CHRISTINA M                105 HARDING HEIGHTS BLVD                                                                            MANSFIELD        OH   44906‐1317
STANFORD, CHRISTINA M                8233 N STODDARD AVE                                                                                 KANSAS CITY      MO   64152‐2052
STANFORD, DOMINIQUE
STANFORD, ELIZABETH                  16 TONLEGEE ROAD OFF MALAHIDE       DUBLIN                                        . IRELAND
STANFORD, ERIC H                     20500 BLOOM ST                                                                                      DETROIT          MI   48234‐2411
STANFORD, GEORGE H                   2015 YORK ST                                                                                        N BLOOMFIELD     OH   44450‐9794
STANFORD, GEORGE H                   PO BOX 2015                                                                                         N BLOOMFIELD     OH   44450
STANFORD, HAROLD EUGENE              DOFFERMYRE SHIELDS CANFIELD KNOWLES 1355 PEACHTREE ST NE STE 1600                                   ATLANTA          GA   30309‐3276
                                     & DEVINE
STANFORD, HELEN E                    117 WALNUT ST                                                                                       APOLLO           PA   15613‐9406
STANFORD, JAMES A                    32 MADDOX LN                                                                                        ARDMORE          TN   38449‐3034
STANFORD, JAMES R                    340 HARRIET ST                                                                                      DAYTON           OH   45408‐2022
STANFORD, JARVIS D                   PO BOX 5552                                                                                         MANSFIELD        OH   44901‐5552
STANFORD, JEAN
STANFORD, JEAN                       LEAVITT RANDAL C LAW OFFICE OF       275 E DOUGLAS AVE STE 102                                      EL CAJON         CA   92020‐4545
STANFORD, JERMAINE L                 23440 CHURCH ST                                                                                     OAK PARK         MI   48237‐2429
STANFORD, JERRY D                    1807 BAUSS CT                                                                                       MIDLAND          MI   48642‐4022
STANFORD, JOEY                       WATTS LAW FIRM                       555 N CARANCAHUA ST STE 1400                                   CORPUS CHRISTI   TX   78478‐0801
STANFORD, JOHN                       PORTER & MALOUF PA                   4670 MCWILLIE DR                                               JACKSON          MS   39206‐5621
STANFORD, JOHNIE L                   1152 FOREST OAKS LN                                                                                 HURST            TX   76053‐4348
STANFORD, JOHNNY M                   25923 VAUGHN ST                                                                                     ELKMONT          AL   35620‐5513
STANFORD, JOSEPH L                   45 E EMERLING ST                     APT B                                                          AKRON            OH   44301
STANFORD, JOSEPH L                   PO BOX 561                                                                                          AKRON            OH   44309‐0561
STANFORD, JOY                        2107 STARLING DRIVE                                                                                 BOSSIER CITY     LA   71111‐5657
STANFORD, JOY P                      2107 STARLING DR                                                                                    BOSSIER CITY     LA   71111
STANFORD, KAREN L                    895 E LINDEN CIR                                                                                    MANSFIELD        OH   44906‐2966
STANFORD, KAREN LEE                  895 E LINDEN CIR                                                                                    MANSFIELD        OH   44906‐2966
STANFORD, KEVIN J                    FERRARO & ASSOCIATES                 4000 PONCE DE LEON BLVD STE 700                                CORAL GABLES     FL   33146‐1434

STANFORD, LARRY A                    29 STONEYCREEK DR                                                                                   ROCHESTER        NY   14616‐1903
STANFORD, LELAND JUNIOR UNIVER       TERMAN 551                                                                                          STANFORD         CA   94305
STANFORD, LELAND JUNIOR UNIVER       320 PANAMA ST                                                                                       STANFORD         CA   94305‐4111
STANFORD, LELAND JUNIOR UNIVERSITY   320 PANAMA ST                                                                                       STANFORD         CA   94305‐4111
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Name                                 Address1                          Address2                    Address3   Address4         City               State Zip
STANFORD, LELAND JUNIOR UNIVERSITY   TERMAN 551                                                                                STANFORD            CA 94305

STANFORD, LEOTIS                     PORTER & MALOUF PA                4670 MCWILLIE DR                                        JACKSON            MS   39206‐5621
STANFORD, LEROY P                    1350 S VASSAR RD                                                                          BURTON             MI   48519‐1343
STANFORD, LILLIE C                   4582 MITCHELLS RIDGE DR                                                                   ELLENWOOD          GA   30294‐4395
STANFORD, LITA J                     505 BIRR ST                                                                               ROCHESTER          NY   14613‐1317
STANFORD, LOUISE                     36 FAIRLEA RD                                                                             HONEOYE FALLS      NY   14472‐1242
STANFORD, LOUISE                     36 FAIRLEA ROAD                                                                           HONEOYE FALL       NY   14472‐1242
STANFORD, MARVIN E                   3274 SHERIDAN RD                                                                          FLUSHING           MI   48433‐9715
STANFORD, MARY D.                    1810 PILGRIM MILL RD                                                                      CUMMING            GA   30041‐4848
STANFORD, MARY E                     17326 E BROOKSFARM                                                                        GILBERT            AZ   85297
STANFORD, MICHAEL
STANFORD, MITCHELL                   3302 WEBBER ST                                                                            SAGINAW            MI   48601‐4008
STANFORD, PATRICIA A                 697 BEVERLY HILLS DR                                                                      YOUNGSTOWN         OH   44505‐1117
STANFORD, PATRICIA ANN               697 BEVERLY HILLS DR                                                                      YOUNGSTOWN         OH   44505‐1117
STANFORD, RAYMOND J                  2178 EVA DR                                                                               TROY               MI   48083‐2627
STANFORD, RONALD A                   1485 TRIPODI CIR                                                                          NILES              OH   44446‐3564
STANFORD, RONALD W                   1511 RICHMOND RD                                                                          COLUMBIA           TN   38401‐9083
STANFORD, SHAWN L                    9532 HOLLY OAK DR                                                                         SHREVEPORT         LA   71118‐4735
STANFORD, SHELDON                    895 E LINDEN CIR                                                                          MANSFIELD          OH   44906‐2966
STANFORD, STANLEY G                  PO BOX 1666                                                                               ATHENS             AL   35612‐6666
STANFORD, STANLEY G                  12480 JESSE LANE                                                                          ATHENS             AL   35613‐8434
STANFORD, STEVEN C                   24092 WINDRIDGE LN                                                                        NOVI               MI   48374‐3652
STANFORD, TERESA A                   1251 SENECA DR                                                                            DAYTON             OH   45402‐5618
STANFORD, TERRY L                    1940 FM 221                                                                               HAMILTON           TX   76531‐3524
STANFORD, WARREN G                   1368 LAKEVIEW DR                                                                          ROCHESTER HLS      MI   48306‐4574
STANFORTH, CONNIE L                  4580 BOTTOM LANE RD.                                                                      HILLSBORO          OH   45133
STANFORTH, FRANK A                   6240 STATE ROUTE 132                                                                      GOSHEN             OH   45122‐9243
STANFORTH, KYLE W                    7854 OPEN MEADOWS DR                                                                      BRIGHTON           MI   48116‐8856
STANG AUTO TECH INC.                 7202 W 116TH AVE                                                                          BROOMFIELD         CO   80020‐6912
STANG AUTO TECH INC.                 7202 W 116TH AVE                                                                          BROOMFIELD         CO   80020‐6912
STANG, DENNIS B                      27140 WINDJAMMER RD                                                                       MILLSBORO          DE   19966‐6866
STANG, GEORGE D                      8313 PIN OAK DR                                                                           PARMA              OH   44130‐7648
STANG, MARGARET R                    33939 GLOUSTER CIR                                                                        FARMINGTON HILLS   MI   48331‐1513
STANG, MARGARET ROSE                 33939 GLOUSTER CIR                                                                        FARMINGTON HILLS   MI   48331‐1513
STANG, MARY JEANETTE                 7060 E STATE ROUTE 571                                                                    TIPP CITY          OH   45371‐8309
STANG, MARY JEANETTE                 7060 E ST RT 571                                                                          TIPP CITY          OH   45371‐8309
STANG, MATTIE                        641 BELLE AVE.                                                                            HAMILTON           OH   45015‐1146
STANG, MICHAEL P                     3123 N 79TH ST                                                                            MESA               AZ   85207‐9780
STANG, MICHAEL P                     UNIT 54                           1250 SOUTH RIALTO                                       MESA               AZ   85209‐3776
STANG, ROBERT J                      33466 WILLOWICK DR                                                                        EASTLAKE           OH   44095‐2852
STANG, ROSE M                        3800 NORWOODS CT NE #4                                                                    WARREN             OH   44483
STANGE JR, CHARLES E                 9461 VASSAR RD                                                                            MILLINGTON         MI   48746‐9735
STANGE PAUL RICHARD                  STANGE, PAUL RICHARD              9047 FLOWER ST                                          BELLFLOWER         CA   90706‐5605
STANGE, DANIEL J                     6880 PLATT RD                                                                             YPSILANTI          MI   48197‐9302
STANGE, DAVID                        PO BOX 1882                                                                               BREWSTER           WA   98812‐1882
STANGE, DENNIS H                     988 E GENESEE ST                                                                          FRANKENMUTH        MI   48734
STANGE, DERRICK A                    5729 COUNTRY LN                                                                           YPSILANTI          MI   48197‐9387
STANGE, DIANE G                      STE C                             3970 US HIGHWAY 131 SOUTH                               CADILLAC           MI   49601‐8104
STANGE, DIANE G                      3970 US HIGHWAY 131 S STE C                                                               CADILLAC           MI   49501‐9104
STANGE, DIANE M                      1505 ROLLING MEADOW DR                                                                    VALRICO            FL   33594
STANGE, DON K                        4545 BARNES RD                                                                            MILLINGTON         MI   48746‐9662
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Name                               Address1                             Address2                        Address3   Address4             City               State Zip
STANGE, ELAINE                     1012 W HURON RTE 4                                                                                   VASSAR              MI 48768
STANGE, GERALDINE C                7051 LINDEN RD                                                                                       SWARTZ CREEK        MI 48473‐9432
STANGE, GERTRUD E                  6532 EMERALD LAKE DR                                                                                 TROY                MI 48085‐1445
STANGE, GOLDIE WYNELLE             8324 CHIMNEY OAK DR                                                                                  JACKSONVILLE        FL 32244‐5442
STANGE, JAMES R                    5992 DUBOIS RD                                                                                       VASSAR              MI 48768‐9608
STANGE, JIMMY L                    339 KEINATH DR                                                                                       FRANKENMUTH         MI 48734‐9317
STANGE, MICHAEL E                  4068 WITHROW RD                                                                                      HAMILTON            OH 45011‐9659
STANGE, NORMAN R                   2305 BERBEROVICH DR                                                                                  SAGINAW             MI 48603‐3694
STANGE, PAUL RICHARD               FATONE TIMOTHY F                     9047 FLOWER ST                                                  BELLFLOWER          CA 90706‐5605
STANGE, PHILLIP A                  7051 LINDEN RD                                                                                       SWARTZ CREEK        MI 48473‐9432
STANGE, RALPH W                    741 CR 489                           LOT 18                                                          LAKE PANASOFFKEE    FL 33538
STANGE, ROBERT C                   6142 CAPSHORE DR                                                                                     TOLEDO              OH 43611‐1211
STANGE, SCOTT L                    4240 YORBA LINDA BLVD                                                                                ROYAL OAK           MI 48073‐6462
STANGE, STEVEN J                   4019 SEQUOIA TRL                                                                                     SPRING HILL         TN 37174‐5185
STANGEE, ROGER F                   27400 MEMORIAL RD                                                                                    HOT SPRINGS         SD 57747‐7512
STANGELAND AUTO BJ. STANGELAND &   STABBURVEIEN 5                                                                  FREDRIKSTAD N‐160
CO.                                                                                                                NORWAY
STANGELAND, DOUGLAS D              1327 59TH ST                                                                                         DOWNERS GROVE      IL    60516‐1202
STANGELO GREGORY                   STANGELO, GREGORY                    333 S MAIN ST STE 701                                           AKRON              OH    44308‐1228
STANGELO, ANGELA D                 727 SOUTHEAST AVENUE                                                                                 TALLMADGE          OH    44278‐2841
STANGENWALD, HANS G                21578 N SHORE DR                                                                                     MICHIGAMME         MI    49861‐9014
STANGER, GERALD R                  916 TOWNSHIP ROAD 2375                                                                               PERRYSVILLE        OH    44864‐9717
STANGER, RONALD J                  9780 E BARNUM RD                                                                                     WOODLAND           MI    48897‐9791
STANGIS, ANTHONY E                 5340 CASMERE AVE                                                                                     WARREN             MI    48092‐3133
STANGL EDWARD J (660952)           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA    23510
                                                                         STREET, SUITE 600
STANGL JOSEPH J (492685)           GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                   PITTSBURGH         PA 15219

STANGL, EDWARD J                   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510‐2212
                                                                         STREET, SUITE 600
STANGL, JOSEPH                     C/O GOLDBERG PERSKY & WHITE PC        1030 FIFTH AVENUE                                              PITTSBURGH         PA 15219
STANGL, JOSEPH J                   GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                   PITTSBURGH         PA 15219

STANGLAND KRANTZ, DORRAINE         LUCIA STARK WILLIAMSON LLP           2700 N CENTRAL AVE STE 1400                                     PHOENIX            AZ    85004‐1176
STANGLAND KRANTZ, DORRAINE         SICO WHITE & BRAUGH                  900 FROST BANK PLAZA ‐ 802 N                                    CORPUS CHRISTI     TX    78470
                                                                        CARANCAHUA
STANGLAND MEGAN ANNA MARIE         STANGLAND, ISABELLA                  2700 NORTH CENTRAL AVENUE                                       PHOENIX            AZ    85004
                                                                        SUITE 1400
STANGLAND MEGAN ANNA MARIE         STANGLAND KRANTZ, DORRAINE           2700 NORTH CENTRAL AVENUE                                       PHOENIX            AZ    85004
                                                                        SUITE 1400
STANGLAND MEGAN ANNA MARIE         STANGLAND KRANTZ, DORRAINE           900 FROST BANK PLAZA ‐ 802 N                                    CORPUS CHRISTI      TX   78470
                                                                        CARANCAHUA
STANGLAND MEGAN ANNA MARIE         STANGLAND, MEGAN ANNA MARIE          900 FROST BANK PLAZA ‐ 802 N                                    CORPUS CHRISTI      TX   78470
                                                                        CARANCAHUA
STANGLAND, EVERETT T               288 TOWER ST                                                                                         WHITE LAKE         MI    48386‐3065
STANGLAND, ISABELLA                LUCIA STARK WILLIAMSON LLP           2700 N CENTRAL AVE STE 1400                                     PHOENIX            AZ    85004‐1176
STANGLAND, MEGAN                   515 E CAREFREE HWY                                                                                   PHOENIX            AZ    85085‐8839
STANGLAND, MEGAN ANNA MARIE        SICO WHITE & BRAUGH                  900 FROST BANK PLAZA ‐ 802 N                                    CORPUS CHRISTI     TX    78470
                                                                        CARANCAHUA
STANGLER, DONALD E                 4597 VACATIONLAND DR                                                                                 GAYLORD            MI 49735‐9676
STANGO JR, DOMINICK                1515 RIDGE RD LOT 368                                                                                YPSILANTI          MI 48198‐4267
STANGO, BARBARA                    65 VENICE DR                                                                                         BRICK              NJ 08723
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Name                                Address1                        Address2               Address3      Address4                  City                 State Zip
STANGO, BARBARA A                   1515 RIDGE RD LOT 368                                                                          YPSILANTI             MI 48198‐4267
STANGO, IRENE                       44 SHARON DR                                                                                   TONAWANDA             NY 14150‐5117
STANGO, JOHN                        C3829 RUTH DRIVE                                                                               STRATFORD             WI 54484
STANGONI ARNALDO STANGONI LAURA     1733790                         VIA MICHLE ABOZZI 31                 7100 SASSARI (SS) ITALY

STANHOPE, GAIL C.                   17196 WOOD ST                                                                                  MELVINDALE           MI   48122‐1045
STANHOPE, JAMES R                   8511 CENTRALIA ST                                                                              DEARBORN HTS         MI   48127‐1186
STANHOPE, KEVIN D                   1202 VIA DE LUNA DR                                                                            PENSACOLA BEACH      FL   32561‐2268
STANHOPE, LORRAINE L                66 EMMETT ST TRLR 63                                                                           BRISTOL              CT   06010‐6695
STANIC GRADIMIR & RADMILA           7392 EAGLE TRACE DR                                                                            YOUNGSTOWN           OH   44512
STANIC JR, MIKE                     16694 WHITEHEAD RD                                                                             LAGRANGE             OH   44050‐9583
STANICH                             7067 TIFFANY BLVD STE 150                                                                      YOUNGSTOWN           OH   44514‐1981
STANICH NICK (ESTATE OF) (660526)   BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                    WILMINGTON           DE   19899‐2165
STANICH, ANNA L                     5350 CHURCHMAN AVE APT 332                                                                     INDIANAPOLIS         IN   46203‐6099
STANICH, JAMES G                    4219 STANLEY CT                                                                                WATERFORD            MI   48329‐4185
STANICH, JOYE                       237 SUBSTATION RD                                                                              BRUNSWICK            OH   44212‐1028
STANICH, JOYE                       237 SUB STATION RD                                                                             BRUNSWICK HILLS      OH   44212‐1028
STANICH, MARY                       2234 PHILLIPS DR                                                                               AUBURN HILLS         MI   48326‐2447
STANICH, MARY                       2234 PHILLIPS RD                                                                               AUBURN HILLS         MI   48326‐2447
STANICH, MIKE D                     2310 UMBEL ST                                                                                  MISSION              TX   78574‐7920
STANICH, MIKE D                     2310 UMBEL                                                                                     MISSION              TX   78574‐7920
STANICH, NICK                       BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                    WILMINGTON           DE   19899‐2165
STANICK, DARAL E                    6041 COOK RD                                                                                   SWARTZ CREEK         MI   48473‐9164
STANICK, DARAL ELAINE               6041 COOK RD                                                                                   SWARTZ CREEK         MI   48473‐9164
STANICK, GARY L                     6041 COOK RD                                                                                   SWARTZ CREEK         MI   48473‐9164
STANICK, JAMES M                    3161 GREENSPRING LN                                                                            ROCHESTER HILLS      MI   48309‐2742
STANICK, LAURENE A                  9610 TROON CT                                                                                  DESERT HOT SPRINGS   CA   92240‐1269
STANICK, LISA G                     3161 GREENSPRING LN                                                                            ROCHESTER HILLS      MI   48309‐2742
STANICK, MARIE                      6248 LONGLEAF DR                                                                               HOSCHTON             GA   30548‐8237
STANICK, STEPHANIE                  555 HUPP CROSS RD                                                                              BLOOMFIELD HILLS     MI   48301‐2433
STANIEC, DALE M                     126 S BRIGGS ST                                                                                JOLIET               IL   60433‐1302
STANIEC, GARY J                     14795 ALMONT RD                                                                                ALLENTON             MI   48002‐3107
STANIEC, JOHN                       152 S MAIN ST APT 1                                                                            YARDLEY              PA   19067‐1643
STANIEC, MIRA                       152 S MAIN ST APT 1                                                                            YARDLEY              PA   19067‐1643
STANIECKI, RAYMOND                  6090 W HOUGHTON LAKE DR                                                                        HOUGHTON LAKE        MI   48629‐9704
STANIEK, KATHRYN C                  20050 N CAVE CREEK RD APT 157                                                                  PHOENIX              AZ   85024‐5408
STANIFER JR, RONALD D               4553 S COUNTY ROAD 500 E                                                                       PLAINFIELD           IN   46168‐8608
STANIFER, ALBERT E                  399 CRAWFORD RD                                                                                NEW LEBANON          OH   45345‐9276
STANIFER, ALBERT E                  399 CRAWFORD TOM'S RUN RD                                                                      NEW LEBANON          OH   45345‐5345
STANIFER, BARBARA J                 4553 S COUNTY ROAD 500 E                                                                       PLAINFIELD           IN   46168‐8608
STANIFER, EARLENE A                 2541 S 600 W                                                                                   LEBANON              IN   46052‐8954
STANIFER, LINDA S                   597 RILEY WILLS RD                                                                             LEBANON              OH   45036‐7400
STANIFER, LINDA S                   597 RILEY‐WILLS RD                                                                             LEBANON              OH   45036‐7400
STANIFER, PATRICIA A                4846 PROSPECT AVENUE                                                                           CINCINNATI           OH   45242
STANIFER, PEGGY ANN                 7037 MIAMIVIEW DR                                                                              FRANKLIN             OH   45005‐2945
STANIFER, PEGGY ANN                 7037 MIAMI VIEW DR                                                                             FRANKLIN             OH   45005‐2945
STANIFER, RONALD D                  2541 S 600 W                                                                                   LEBANON              IN   46052‐8954
STANIFER, TIM L                     225 PINEWOOD LN                                                                                SPRINGVILLE          IN   47462‐5011
STANIGAR, ANDREAS                   20191 WEXFORD ST                                                                               DETROIT              MI   48234‐1809
STANIGAR, LEON R                    20191 WEXFORD ST                                                                               DETROIT              MI   48234‐1809
STANILKA, WILLIAM P                 9160 HUSTON RD                                                                                 CHATSWORTH           CA   91311‐6324
STANILOIU, ELI J                    2124 GREENBRIAR BLVD                                                                           CLEARWATER           FL   33763‐1421
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Name                        Address1                            Address2                            Address3                    Address4                    City            State Zip
STANIORSKI, MARY            # 150                               700 NORTHAMPTON STREET                                                                      KINGSTON         PA 18704‐3424
STANIS F MARTIN             1190 MCCORDYSVILLE PIKE                                                                                                         RIVESVILLE       WV 26588
STANIS, JANICE C            5091 BORDMAN RD                                                                                                                 DRYDEN           MI 48428‐9311
STANIS, JERRY M             303 ELEAN0R ST                                                                                                                  KINGSLAND        GA 31548
STANISCI, BRUNO B           54 ANDIRON LN                                                                                                                   ROCHESTER        NY 14612‐1633
STANISCI, DIANE C           54 ANDIRON LN                                                                                                                   ROCHESTER        NY 14612‐1633
STANISH, ALBERT J           10666 WILMA AVE NE                                                                                                              ALLIANCE         OH 44601‐8326
STANISH, FRANCES L          ST PAULS RETIREMENT COMMUNITY       GOOD SHEPPARDS MEMORY UNIT          3602 SOUTH IRONWOOD                                     SOUTH BEND       IN 46614
                                                                                                    ROOM 112
STANISH, JOSEPH             100 LLEWELLYN AVE                                                                                                               BLOOMFIELD      NJ   07003
STANISH, ROBERTA E.         1407 SKIPPER DR APT 332                                                                                                         WATERFORD       MI   48327‐2494
STANISH, RONALD D           7855 BENTLER AVE NE                                                                                                             CANTON          OH   44721‐2304
STANISKI, RAYMOND           13696 NORTHMOOR DR                                                                                                              CEMENT CITY     MI   49233‐9038
STANISLAO PASQUARIELLO      VIA PASQUALE CUGIA 43                                                                               09129 CAGLIARI SARDINIA,
                                                                                                                                ITALY
STANISLAO PASQUARIELLO      VIA PASQUALE CUGIA 43               CAGLIARI
STANISLAO PASQUARIELLO      VIA PASQUALE CUGIA, 43              09129 CAGLIARI ( SARDINIA, ITALY)   PHONE: 39 070 300962 ‐ E‐   IBAN: IT 73 H 03002 04811
                                                                                                    MAIL: ST.PASQUA             000003751874 ‐
STANISLAS MROZEK            52602 WILDWOOD DR                                                                                                               MACOMB          MI   48042‐3571
STANISLAUS CARDIOLOG        1401 SPANOS CT STE 230                                                                                                          MODESTO         CA   95355‐2816
STANISLAUS COUNTY           1010 10TH STREET STE 2500           PO BOX 859                                                                                  MODESTO         CA   95354
STANISLAUS REISNER          30418 YORKSHIRE DR                                                                                                              MADISON HTS     MI   48071‐5922
STANISLAUS SEIGEL           5416 PATRICIA DRIVE                                                                                                             ORLANDO         FL   32822‐2059
STANISLAUS SMOLINSKI        8440 BEAVERLAND                                                                                                                 DETROIT         MI   48239‐1127
STANISLAUS, DELLA M         338 W 38TH ST                                                                                                                   ANDERSON        IN   46013‐4016
STANISLAV DROBNOV & OXANA   CUMBRE DEL SOL 138E                                                                                 BENITACHELL ALICANTE,
PONOMAREVA JT TEN                                                                                                               SPAIN 03726
STANISLAV JANEZIC           8118 W COLDSPRING RD                                                                                                            GREENFIELD      WI   53220‐2825
STANISLAV NIKULIN           623 CONCORD DR                                                                                                                  CANTON          MI   48188‐5291
STANISLAV VIDAIC            65 ORCHARD ST                                                                                                                   COS COB         CT   06807‐2404
STANISLAVA KEPALAS          6475 SHORELINE DR APT 5302                                                                                                      ST PETERSBURG   FL   33708‐4543
STANISLAVA OPACIC           221 DESMOND DR                                                                                                                  TONAWANDA       NY   14150‐7834
STANISLAW ALEKSANDROWICZ    28 GLEIM RD                                                                                                                     WHITE HSE STA   NJ   08889‐3688
STANISLAW ARNOLD (354604)   ANGELOS PETER G LAW OFFICES OF      100 PENN SQUARE EAST , THE                                                                  PHILADELPHIA    PA   19107
                                                                WANAMAKER BUILDING
STANISLAW BIS               5205 STREEFKERK DR                                                                                                              WARREN          MI   48092‐3187
STANISLAW BUCINSKI          1310 MOUNTCLAIRE DR                                                                                                             CUMMING         GA   30041‐9519
STANISLAW CZARNIK           41474 HAGGERTY WOODS CT                                                                                                         CANTON          MI   48187‐3780
STANISLAW DETKOS            13540 SARASOTA                                                                                                                  REDFORD         MI   48239‐4509
STANISLAW DOMAGALA          722 CLARIDGE DR                                                                                                                 ARLINGTON       TX   76018‐2307
STANISLAW DULEMBA           16297 VANDELAY DR                                                                                                               MACOMB          MI   48044‐3927
STANISLAW FABER             12237 MORAN ST                                                                                                                  DETROIT         MI   48212‐2749
STANISLAW GNIEWCZYNSKI      11 BRUCE CT                                                                                                                     MILLTOWN        NJ   08850‐1301
STANISLAW GOLDYN            1011 1/2 S WATER ST                                                                                                             BAY CITY        MI   48708‐7068
STANISLAW GUMUL             6240 SEEGER RD                                                                                                                  CASS CITY       MI   48726‐9672
STANISLAW IWANSKI           11061 YARMOUTH AVE                                                                                                              GRANADA HILLS   CA   91344‐4537
STANISLAW JASKIEWICZ        559 SPOTSWOOD ENGLISHTOWN                                                                                                       JAMESBURG       NJ   08831
STANISLAW JR, PAUL J        8270 DAWSON DR SE                                                                                                               WARREN          OH   44484‐3014
STANISLAW KOZIEL            563 HAWKSMOORE DR                                                                                                               CLARKSTON       MI   48348‐3688
STANISLAW KRZYZANOWSKI      26757 WILSON DR                                                                                                                 DEARBORN HTS    MI   48127‐3634
STANISLAW KUC               6938 NIGHTINGALE ST                                                                                                             DEARBORN HTS    MI   48127‐2133
STANISLAW KULPA             1230 HOME PLACE DR                                                                                                              LAWRENCEVILLE   GA   30043‐7094
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Name                              Address1                           Address2                          Address3   Address4         City            State Zip
STANISLAW LUPINA                  2443 E VIENNA RD                                                                                 CLIO             MI 48420‐7925
STANISLAW PALCZYK                 256 OLDE HARBOUR TRL                                                                             ROCHESTER        NY 14612‐2928
STANISLAW PELIC                   25935 PENNIE ST                                                                                  DEARBORN HTS     MI 48125‐1464
STANISLAW PLACHA                  523 BERKSHIRE DR                                                                                 SALINE           MI 48176‐1082
STANISLAW REMBOWSKI               16 BEECH ST                                                                                      PENNINGTON       NJ 08534‐5202
STANISLAW WOLPIUK                 39 GLENN HOLLOW                                                                                  ROCHESTER        NY 14622‐1771
STANISLAW WROBEL                  56 ANDRES PL                                                                                     CHEEKTOWAGA      NY 14225‐3204
STANISLAW, ARNOLD                 ANGELOS PETER G LAW OFFICES OF     100 PENN SQUARE EAST, THE                                     PHILADELPHIA     PA 19107
                                                                     WANAMAKER BUILDING
STANISLAW, CYNTHIA M              26462 SILVER SADDLE LN                                                                           LAGUNA HILLS    CA   92653
STANISLAW, DOLORES S              4321 CLEARVIEW DR.                                                                               CANFIELD        OH   44406‐9314
STANISLAW, MARILYN F              324 MYRON ST                                                                                     HUBBARD         OH   44425‐1441
STANISLAWA BURGRAF                960 S RIVER RD                                                                                   DES PLAINES     IL   60016‐6748
STANISLAWA ORSON                  850 SPRUCE ST                                                                                    TRENTON         NJ   08648‐4530
STANISLAWA PASEK                  25A WOODSVILLE RD                                                                                HOPEWELL        NJ   08525‐2703
STANISLAWA SIDUR                  941 OHIO AVE                                                                                     EWING           NJ   08638‐3927
STANISLAWA STASIAK                5521 ELMGROVE AVE                                                                                WARREN          MI   48092‐3470
STANISLAWSKI, CAROLINE            27820 BELANGER                                                                                   ROSEVILLE       MI   48066‐5204
STANISLAWSKI, STELLA T            3546 ODYSSEA COURT                                                                               N FT MYERS      FL   33917‐7782
STANISLAWSKI, STELLA T            210 ADELFA DR                                                                                    ROUND ROCK      TX   78664
STANISLAWSKI, THADEUS F           30627 MINTON ST                                                                                  LIVONIA         MI   48150‐2980
STANISLOWSKI, LINDA J             1925 W TIMBERRIDGE LN , APT 1212                                                                 OAK CREEK       WI   53154
STANISTAW DZIEKONSKI              9 AZALEA WAY                                                                                     TRENTON         NJ   08690‐1304
STANISTREET, PAUL D               3640 DOYLE RD                                                                                    BALDWINSVILLE   NY   13027‐9409
STANISZ JASON                     STANISZ, JASON                     2200 S STEWART AVENUE # 2D                                    LOMBARD         IL   60148
STANISZ, JASON                    2200 S STEWART AVE APT 2D                                                                        LOMBARD         IL   60148‐5518
STANISZ, MICHAEL J                15422 WILDFLOWER CT                                                                              WESTFIELD       IN   46074‐9756
STANISZ, RAYMOND J                1837 HALLMARK DR                                                                                 TROY            MI   48098‐4355
STANISZEWSKI WALTER (ESTATE OF)   BROOKMAN ROSENBERG BROWN &         17TH FLR, ONE PENN SQUARE WEST,                               PHILADELPHIA    PA   19102
(499389)                          SANDLER                            30 SOUTH 15TH STREET
STANISZEWSKI, DAVID S             APT 2                              166 SPRUCE STREET                                             N TONAWANDA     NY   14120‐6323
STANISZEWSKI, DAVID S             6600 GASPARILLA PINES              UNIT 115                                                      ENGLEWOOD       FL   34224‐9729
STANISZEWSKI, ELEANOR I           40730 62ND AVE.                                                                                  PAW PAW         MI   49079‐9752
STANISZEWSKI, ELEANOR I           40730 62ND AVE                                                                                   PAW PAW         MI   49079‐9752
STANISZEWSKI, HELEN C             36752 HAVERHILL                                                                                  STERLING HTS    MI   48312‐2730
STANISZEWSKI, JAY C               6327 GOLF VIEW DR                                                                                CLARKSTON       MI   48346
STANISZEWSKI, JAY CARL            6327 GOLF VIEW DR                                                                                CLARKSTON       MI   48346
STANISZEWSKI, JEFFREY D           8861 CAVALIER CT                                                                                 JENISON         MI   49428‐8642
STANISZEWSKI, LAWRENCE J          4809 W CRESCENT LAKE DR                                                                          MERIDIAN        MS   39301
STANISZEWSKI, NORBERT             634 BRIDGE PARK DR                                                                               TROY            MI   48098‐1856
STANISZEWSKI, ROBERT A            8525 S 42ND ST                                                                                   FRANKLIN        WI   53132‐9318
STANISZEWSKI, ROBERT F            31 IRVING TER                                                                                    DEPEW           NY   14043‐2210
STANISZEWSKI, ROSE                8525 S 42ND ST                                                                                   FRANKLIN        WI   53132‐9318
STANISZEWSKI, WALTER              BROOKMAN ROSENBERG BROWN &         17TH FLR, ONE PENN SQUARE WEST,                               PHILADELPHIA    PA   19102
                                  SANDLER                            30 SOUTH 15TH STREET
STANITSKI, LEONARD J              314 BROOKSIDE DR                                                                                 WILMINGTON      DE   19804‐1321
STANK, KATHRYN J                  1829 DELEVAN AVE                                                                                 LANSING         MI   48910‐9022
STANK, RANDALL L                  10246 DOW RD                                                                                     MULLIKEN        MI   48861‐9775
STANKE JAMES H                    8434 N ELMS RD                                                                                   FLUSHING        MI   48433‐8852
STANKE MARY                       3350 PALM CENTER DR                                                                              LAS VEGAS       NV   89103‐5668
STANKE, ALICE J                   7880 KNOX RD                                                                                     PORTLAND        MI   48875‐9782
STANKE, CURTIS R                  2494 OAKRIDGE DR                                                                                 FLINT           MI   48507‐6211
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Name                             Address1                              Address2                        Address3                      Address4                 City              State Zip
STANKE, DENISE R                 219 N MAPLE ST                                                                                                               FLUSHING           MI 48433‐1649
STANKE, DENISE RAE               219 NORTH MAPLE STREET                                                                                                       FLUSHING           MI 48433‐1649
STANKE, DOUGLAS T                488 SE COUNTY ROAD DD                                                                                                        WARRENSBURG        MO 64093‐8391
STANKE, EDWIN J                  290 DAVID ST                                                                                                                 PONTIAC            MI 48341‐1062
STANKE, HAROLD D                 6187 LUCAS RD                                                                                                                FLINT              MI 48506‐1228
STANKE, JAMES H                  8434 N ELMS RD                                                                                                               FLUSHING           MI 48433‐8852
STANKE, JEROME L                 PO BOX 487                                                                                                                   GAINESVILLE        MO 65655‐0487
STANKE, TIMOTHY S                2390 HOWALD AVE                                                                                                              FLINT              MI 48504‐2318
STANKE, TIMOTHY SCOTT            2390 HOWALD AVE                                                                                                              FLINT              MI 48504‐2318
STANKE, WILLIAM E                68 WINTHROP RD                                                                                                               EDISON             NJ 08817‐4051
STANKE, WILLIS F                 5250 N SEYMOUR RD                                                                                                            FLUSHING           MI 48433‐1029
STANKER, ROBERT M                12715 S AUBURN AVE                                                                                                           PALOS HEIGHTS       IL 60463‐2201
STANKER, ROBERT M                18501 ZURICH LN                                                                                                              TINLEY PARK         IL 60477‐4406
STANKEVICIUS GEDIMINAS           STANKEVICIUS, GEDIMINAS               30 E BUTLER AVE                                                                        AMBLER             PA 19002‐4514
STANKEVICZ, CHRISTINE            424 VAUGHN ST                                                                                                                LUZERNE            PA 18709‐1426
STANKEWICH, RONALD E             966 FLAMINGO AVE                                                                                                             SEBASTIAN          FL 32958‐5122
STANKEY, THOMAS M                9920 HODGES DR                                                                                                               INDIANAPOLIS       IN 46280‐1591
STANKICH ROBERT                  STANKICH, BRENDA                      KAHN & ASSOCIATES               55 PUBLIC SQUARE, SUITE 650                            CLEVELAND          OH 44113

STANKICH ROBERT                  STANKICH, ROBERT                      55 PUBLIC SQ STE 650                                                                   CLEVELAND         OH   44113‐1909
STANKICH WILLIAM & MILDRED       14421 N PALMYRA RD                                                                                                           NORTH JACKSON     OH   44451‐9728
STANKICH, BRENDA                 KAHN & ASSOCIATES                     55 PUBLIC SQ STE 650                                                                   CLEVELAND         OH   44113‐1909
STANKICH, ROBERT                 KAHN & ASSOCIATES                     55 PUBLIC SQ STE 650                                                                   CLEVELAND         OH   44113‐1909
STANKIEWICK GMBH                 HANNOVERSCHE STRABE 120                                                                             ADELHEIDSDORF 29352
                                                                                                                                     GERMANY
STANKIEWICZ INTERNATIONAL CORP   PO BOX 1836                                                                                                                  SPARTANBURG       SC   29304‐1836
STANKIEWICZ INTERNATIONAL CORP   MARK WOOLFORD                         10093 BROSE DRIVE                                                                      MADISON HEIGHTS   MI   48071
STANKIEWICZ INTERNATIONAL CORP   1 AUSTRIAN WAY                                                                                                               SPARTANBURG       SC   29303‐2478
STANKIEWICZ INTERNATIONAL CORP   10093 BROSE DR                                                                                                               VANCE             AL   35490
STANKIEWICZ, AGNES T             9 S WALNUT ST                                                                                                                MOUNT CARMEL      PA   17851‐2311
STANKIEWICZ, AGNES T             9 S WALUNUT ST                                                                                                               MT CARMEL         PA   17851
STANKIEWICZ, ANTHONY M           5800 NIKE DR                                                                                                                 HILLIARD          OH   43026‐8755
STANKIEWICZ, EDWARD              26834 O JAUSTIN ST                                                                                                           NOVI              MI   48377‐3750
STANKIEWICZ, ERNEST A            2733 CARROLLTON RD                                                                                                           SAGINAW           MI   48604‐2403
STANKIEWICZ, FRANK L             1101 VERMONT ST APT 512                                                                                                      LAWRENCE          KS   66044
STANKIEWICZ, HELEN H             11810 TRAILWOOD RD                    C/O DONALD C STANKIEWICZ                                                               PLYMOUTH          MI   48170‐3726
STANKIEWICZ, JOHN A              606 W CLARKSTON RD                                                                                                           LAKE ORION        MI   48362‐2683
STANKIEWICZ, JOSEPH              PO BOX 10479                                                                                                                 DETROIT           MI   48210‐0479
STANKIEWICZ, JOSEPH A            885 ORCHARD PARK ROAD                                                                                                        MANSFIELD         OH   44904‐1306
STANKIEWICZ, LORRAINE M          3205 WILDWOOD DR                                                                                                             SAGINAW           MI   48603‐1646
STANKIEWICZ, MARIBETH            379 HUFF RD                                                                                                                  N BRUNSWICK       NJ   08902‐2720
STANKIEWICZ, RAYMOND             15614 MILLAR RD                                                                                                              CLINTON TWP       MI   48036‐1617
STANKIEWICZ, WILLIAM
STANKIEWICZ/BELGIUM              BOUWELVEN 9                                                                                         GROBBENDONK BL 2280
                                                                                                                                     BELGIUM
STANKIEWICZ/GERMANY              HANNOVERSCHE STRASSE 120                                                                            ADELHEIDSDORF GE 29352
                                                                                                                                     GERMANY
STANKIWICZ, GERALD               9230 CENTRALIA                                                                                                               REDFORD           MI 48239‐1817
STANKO EDWARD (498334)           GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                                           PITTSBURGH        PA 15219

STANKO GEORGE (492686)           BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                                          NORTHFIELD        OH 44067
                                                                       PROFESSIONAL BLDG
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Name                    Address1                              Address2                       Address3                Address4         City              State Zip
STANKO, ANTHONY M       510 IOWA AVE                                                                                                  NILES              OH 44446‐1042
STANKO, CHARLES E       6540 WEDGEWOOD DR                                                                                             BROOK PARK         OH 44142‐3431
STANKO, DARLENE         LEARNED REILLY & LEARNED LLP          PO BOX 1308                    449 EAST WATER STREET                    ELMIRA             NY 14902‐1308
                        ATTORNEYS AT LAW
STANKO, DOLORES M       11580 WALDEN AVE                      ERIE COUNTY HOME                                                        ALDEN             NY 14004‐9715
STANKO, EDWARD          GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                            PITTSBURGH        PA 15219

STANKO, GEORGE          BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD, BEVAN                                            NORTHFIELD        OH 44067
                                                              PROFESSIONAL BLDG
STANKO, HELEN           165 EDGAR AVE                                                                                                 BUFFALO           NY 14207‐1007
STANKO, ILENE V         53822 OAKVIEW DR                                                                                              SHELBY TOWNSHIP   MI 48315‐1925
STANKO, JILL S          698 TENNYSON                                                                                                  ROCHESTER HILLS   MI 48307‐4248
STANKO, JOHN
STANKO, JOY E           2320 TIVERTON DR                                                                                              STERLING HTS      MI   48310‐6999
STANKO, JUDITH S        211 HARRINGTON DR                                                                                             TROY              MI   48098‐3027
STANKO, MICHAEL         220 ROAD 18.5 NE                                                                                              SOAP LAKE         WA   98851‐9603
STANKO, PETER           15416 RIDGELAND AVE                                                                                           OAK FOREST        IL   60452‐1621
STANKO, PETER J         6011 RED OAK DR                                                                                               FORT WAYNE        IN   46835‐2367
STANKO, RICHARD A       230 OAKHAM CT                                                                                                 SAN RAMON         CA   94583‐2531
STANKO, ROBERT J        188 HOWLAND WILSON RD NE                                                                                      WARREN            OH   44484‐2075
STANKO, ROBERT J        8000 MEADOWOOD DR                                                                                             CANFIELD          OH   44406‐8400
STANKO, ROBIN D         33115 47TH AVE SW                                                                                             FEDERAL WAY       WA   98023‐3213
STANKO, RUDOLPH J       8601 STONEWALL DR                                                                                             INDIANAPOLIS      IN   46231‐2562
STANKO, SCOTT           8442 LOVELAND LN                                                                                              PALOS HILLS       IL   60465
STANKO, THOMAS G        4425 13TH ST                                                                                                  WYANDOTTE         MI   48192
STANKOFF, JEFFREY C     9091 E DEBORAH CT                                                                                             LIVONIA           MI   48150‐3312
STANKOVI, KATRINA
STANKOVIC, KATARINA     BRADY LAW GROUP                       1015 IRWIN STREET SUITE A                                               SAN RAFAEL        CA 94901
STANKOVIC, STEFAN       BRADY LAW GROUP                       1015 IRWIN STREET SUITE A                                               SAN RAFAEL        CA 94901
STANKOVIC, STEFAN
STANKOVICH, EDWARD F    6017 AQUA BLUE CT                                                                                             N LAS VEGAS       NV   89031‐7208
STANKOVICH, GEORGE M    5816 HANSFORD RANCH AVE                                                                                       LAS VEGAS         NV   89131‐2973
STANKOVICH, HELEN H     3304 TRAPPERS TRL UNIT A                                                                                      CORTLAND          OH   44410‐9143
STANKOVICH, HELEN L     2600 ASHLAND RD                                                                                               MANSFIELD         OH   44905‐1714
STANKOVICH, MARK A      4 RIDGE RD N                                                                                                  MANSFIELD         OH   44905‐3040
STANKOVICH, RONALD J    175 DONALD RD                                                                                                 SHARON            PA   16148‐3555
STANKOVICH, SAMUEL G    1054 TWP RD. 1104                                                                                             ASHLAND           OH   44805
STANKOVITS, IMRE        5744 E CREEKSIDE AVE UNIT 50                                                                                  ORANGE            CA   92869‐3147
STANKOWICZ, ANDREW E    1217 PIRL ST                                                                                                  MCKEESPORT        PA   15132‐5230
STANKOWSKI, EDWARD J    3501 APPLE GROVE DR                                                                                           BEAVERCREEK       OH   45430‐1479
STANKOWSKI, EDWARD S    5417 HUBERVILLE AVE                                                                                           DAYTON            OH   45431‐1212
STANKOWSKI, EUGENE P    207 IDLEWOOD DR                                                                                               TONAWANDA         NY   14150‐6429
STANKOWSKI, HENRY       3612 WASHINGTON PIKE                                                                                          BRIDGEVILLE       PA   15017‐1052
STANKOWSKI, KYLE J      3501 APPLE GROVE DR                                                                                           BEAVERCREEK       OH   45430‐1479
STANKUS, ANTHONY C      3903 ADRIAN DR SE                                                                                             WARREN            OH   44484‐2747
STANKUS, DONALD JOHN    7925 FOSTER RD                                                                                                CLARKSTON         MI   48346‐1946
STANKUS, LENA C         2825 SAINT ALBANS CIR NW                                                                                      NORTH CANTON      OH   44720‐4562
STANKUS, LENA C         2825 ST ALBANS CIRCLE NW                                                                                      N CANTON          OH   44720‐4562
STANKUS, MARGARET F     4510 HIGHLAND AVE SW                                                                                          WARREN            OH   44481‐9640
STANKUS, MARK A         52684 ANTLER DR                                                                                               MACOMB            MI   48042‐3409
STANKUS, MARK ANTHONY   52684 ANTLER DR                                                                                               MACOMB            MI   48042‐3409
STANKUS, SHIRLEY L      192 BONDIE ST                                                                                                 WYANDOTTE         MI   48192‐2718
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Name                             Address1                       Address2                    Address3           Address4              City                   State Zip
STANKUS, VERLA M                 54982 COUNTY RD EAST                                                                                EASTMAN                 WI 54626‐8156
STANLAKE, ROLAND R               9845 STOLL ROAD, R. 3                                                                               HASLETT                 MI 48840
STANLELY CHROBAK                 3400 FAIRWAY DR                                                                                     BAY CITY                MI 48706‐3330
STANLEY & ELSA BLUM              18695 SCHOONER DR                                                                                   BOCA RATON              FL 33496
STANLEY & SANDRA BEARDEN         1242 LOGAN ST                                                                                       LOUISVILLE              KY 40204
STANLEY & WILLIAMS LLC           PO BOX 6329                                                                                         MOORE                   OK 73153‐0329
STANLEY & WILLIAMS, L.L.C.       ATTENTION: DAVID STANLEY       PO BOX 6329                 10003 S. SHIELDS                         MOORE                   OK 73153‐0329
STANLEY ( RAMSEY                 2455 BAYWOOD ST                                                                                     DAYTON                  OH 45406‐1408
STANLEY A HOUZE                  C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                            HOUSTON                 TX 77007
                                 BOUNDAS LLP
STANLEY A HYATT                  8809 MADISON AVE APT 305C                                                                           INDIANAPOLIS           IN   46227‐2918
STANLEY A KISIELOWSKI            3740 S WINCHESTER AVE                                                                               CHICAGO                IL   60609‐2037
STANLEY A KOTLA                  151 RICE ROAD                                                                                       ELMA                   NY   14059‐9576
STANLEY A LATOSKY                3384 SANDALWOOD LN                                                                                  YOUNGSTOWN             OH   44511‐2549
STANLEY A MARKS                  3223 PEERLESS AVE SW                                                                                WARREN                 OH   44485
STANLEY A SIMPSON                27727 MICHIGAN AVE APT 727                                                                          INKSTER                MI   48141‐2271
STANLEY A SPARKS                 C/O BRAYTON PURCELL            222 RUSH LANDING RD                                                  NOVATO                 CA   94948‐6169
STANLEY A STEWART                1038 LORI ST                                                                                        YPSILANTI              MI   48198‐6268
STANLEY A STOVER                 2431 LINDA DR. N.W.                                                                                 WARREN                 OH   44485‐1708
STANLEY A STROHL CHEVROLET INC   7831 MAIN ST                                                                                        FOGELSVILLE            PA   18051‐1743
STANLEY ABRAHAM                  2131 BEL AIRE                                                                                       WEST BLOOMFIELD        MI   48323‐1909
STANLEY ABRAMCZYK                712 PUTNAM AVE                                                                                      TRENTON                NJ   08648‐4619
STANLEY ADAMS                    2417 SCARLET LN SE                                                                                  CONYERS                GA   30013‐2960
STANLEY ADAMS                    1247 WOODWARD AVE APT 504                                                                           DETROIT                MI   48226‐2028
STANLEY ADAMSKI                  32553 DOWLAND DR                                                                                    WARREN                 MI   48092‐3267
STANLEY ADDIE                    4549 RUGER AVE                                                                                      JANESVILLE             WI   53546‐8679
STANLEY ADDISON                  705 N LUETT AVE                                                                                     INDIANAPOLIS           IN   46222‐3315
STANLEY ADKINS                   26624 COUZENS AVE                                                                                   MADISON HTS            MI   48071‐3850
STANLEY AINSWORTH JR             33 BEAVER CREEK DR SW                                                                               WARREN                 OH   44481‐9607
STANLEY AIR/CLEVLAND             700 BETA DR                                                                                         CLEVELAND              OH   44143‐2328
STANLEY ALARM SYSTEM INC         3183 WHEELER RD                                                                                     BAY CITY               MI   48706‐1649
STANLEY ALBERTSON                712 SW 27TH ST                                                                                      MOORE                  OK   73160‐5523
STANLEY ALBIN                    2000 E DAYTON RD                                                                                    CARO                   MI   48723‐9476
STANLEY ALDRICH                  11401 VISTA DR                                                                                      FENTON                 MI   48430‐2488
STANLEY ALLEN                    258 MORRIS DR                                                                                       SOUTH LEBANON          OH   45065‐1324
STANLEY ALLEN                    521 HURSTVIEW DR                                                                                    HURST                  TX   76053‐6604
STANLEY ALLEN                    258 MORRIS DRIVE                                                                                    SOUTH LEBANON          OH   45065‐1324
STANLEY ALLRED                   13701 SE 31ST ST                                                                                    CHOCTAW                OK   73020‐6157
STANLEY ALMOND                   3848 SHERWOOD DR                                                                                    DOUGLASVILLE           GA   30135‐3256
STANLEY AMARAL                   14146 W MIDDLE RD                                                                                   TRACY                  CA   95304‐9473
STANLEY AMBRUSKO                 1178 VINEWOOD DR                                                                                    LOCKPORT               NY   14094‐7131
STANLEY AMBUSKI                  C/O WEITZ AND LUXENBERG PC     700 BROADWAY                                                         NEW YORK CITY          NY   10003
STANLEY AMIAN AUTOMOBIELEN       WILHELMINASTRAAT #91                                                          PARAMARIBO SURINAME
STANLEY AND ELSA BLUM            18695 SCHOONER DR                                                                                   BOCA RATON             FL   33496
STANLEY ANDERSON                 23416 MCCANN ST                                                                                     WARRENSVILLE HEIGHTS   OH   44128‐5246
STANLEY ANDERSON SR              4018 GRANTLEY RD                                                                                    BALTIMORE              MD   21215‐7234
STANLEY ANDREWS                  4220 1/2 LYNHURST RD                                                                                BALTIMORE              MD   21222‐3613
STANLEY ANKER                    9381 WADSWORTH RD                                                                                   SAGINAW                MI   48601‐9473
STANLEY APOSTOLAKOS              577 WALNUT DR N                                                                                     LEXINGTON              OH   44904‐1538
STANLEY ARGALL                   906 RUSHMORE ST                                                                                     JENISON                MI   49428‐9328
STANLEY ARNOLD
STANLEY ASKE
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Name                            Address1                       Address2                      Address3   Address4         City            State Zip
STANLEY ASPHY                   4606 GREENLAWN DR                                                                        FLINT            MI 48504‐5409
STANLEY ASSEMBLY TECHNOLOGIES   700 BETA DR 060548860                                                                    CLEVELAND        OH 44143
STANLEY ASSEMBLY TECHNOLOGIES   700 BETA DR                                                                              CLEVELAND        OH 44143‐2328
STANLEY ATKINSON                302 RIDGEVIEW ST                                                                         DANVILLE          IL 61832‐1523
STANLEY AUSTIN                  10213 OLD HILLSBORO RD                                                                   FOREST           MS 39074‐7757
STANLEY AVERY                   46967 EDGEWATER DR                                                                       MACOMB           MI 48044‐3597
STANLEY B DELONEY               1263 FOREST HILL AVE                                                                     FLINT            MI 48504‐3350
STANLEY B LANDERS               416 PLAINVILLE RD NE                                                                     ROME             GA 30161‐3920
STANLEY B STRUKAMP              4020 TWIN LAKES CIRCLE                                                                   CLAYTON          OH 45315‐8758
STANLEY BACK                    4285 N 950 WEST                                                                          SHIRLEY          IN 47384
STANLEY BAILEY                  529 S MAIN ST                                                                            MIAMISBURG       OH 45342‐3120
STANLEY BAKER                   2240 GORDON CT                                                                           MIAMISBURG       OH 45342‐2788
STANLEY BALLARD                 1822 UTAH AVE                                                                            FLINT            MI 48506‐4642
STANLEY BALLIET                 192 NASSAU (LOWER)                                                                       KENMORE          NY 14217
STANLEY BARAWSKAS               979 E PEARL AVE                                                                          HAZEL PARK       MI 48030‐1808
STANLEY BARCIA                  PO BOX 334                                                                               KAWKAWLIN        MI 48631‐0334
STANLEY BARGER                  9941 64TH AVE                                                                            ALLENDALE        MI 49401‐9315
STANLEY BARNETT                 3901 HAMMERBERG RD D12                                                                   FLINT            MI 48507
STANLEY BARNISH                 375 FERN DR                                                                              BEREA            OH 44017‐1308
STANLEY BARNUM JR               16614 RAINBOW LAKE RD                                                                    HOUSTON          TX 77095‐4064
STANLEY BARTHOLOMEW             2478 HIGHWAY 75                                                                          WETUMKA          OK 74883‐6203
STANLEY BASNER                  906 N BANGOR ST                                                                          BAY CITY         MI 48706‐3908
STANLEY BASS                    170 AVON BELDEN RD                                                                       AVON LAKE        OH 44012‐1649
STANLEY BASTECKI                8612 BERKLEY DR                                                                          HUDSON           FL 34667‐6941
STANLEY BATOR                   10685 WEXFORD ST UNIT 3                                                                  SAN DIEGO        CA 92131‐3948
STANLEY BATOR JR                4320 SPRING DR                                                                           RENO             NV 89502‐5912
STANLEY BAUER                   618 HOMEFIELD GLEN CT                                                                    O FALLON         MO 63366‐4684
STANLEY BAUGHN                  7294 MERIDIAN TERRANCE APT B                                                             INDIANAPOLIS     IN 46217
STANLEY BEALE                   42842 JUDD RD                                                                            SUMPTER TWP      MI 48111‐9195
STANLEY BEALS                   2871 N BRADLEY RD                                                                        CHARLOTTE        MI 48813‐9589
STANLEY BEARD JR                14202 MURRAY CLARK RD                                                                    DANVILLE          IL 61834‐7884
STANLEY BEDNARCHIK              16701 MAPLE HEIGHTS BLVD                                                                 MAPLE HEIGHTS    OH 44137‐2642
STANLEY BEIDLEMAN               4803 PIER NINE DR                                                                        ARLINGTON        TX 76016‐5372
STANLEY BELL                    2604 N RACEWAY RD                                                                        INDIANAPOLIS     IN 46234‐9223
STANLEY BELL                    9 MCCARTHY DR                                                                            OSSINING         NY 10562‐2414
STANLEY BELYEU                  3760 SHALLOW CT                                                                          MARIETTA         GA 30066‐4602
STANLEY BENFORD                 1201 SOUTH WOLFE STREET                                                                  MUNCIE           IN 47302‐3653
STANLEY BENTLEY                 5120 MILLIS RD                                                                           NORTH BRANCH     MI 48461‐9604
STANLEY BERNARD                 2470 GENA ANN LN                                                                         FLINT            MI 48504‐6525
STANLEY BERRY                   9201 GODDARD ST                                                                          OVERLAND PARK    KS 66214‐2116
STANLEY BETTY                   1105 SUNDERLAND LN                                                                       FORT WORTH       TX 76134
STANLEY BETZ                    7086 W S SAGINAW RD                                                                      BAY CITY         MI 48706
STANLEY BICKEL                  5707 CONRAD RD                                                                           MAYVILLE         MI 48744‐9618
STANLEY BICZAK                  20125 WESTVIEW DRIVE                                                                     NORTHVILLE       MI 48167‐9206
STANLEY BIEGANOWSKI             16093 IMLAY CITY RD                                                                      MUSSEY           MI 48014‐2201
STANLEY BIEHLER                 1735 YINGLING RD                                                                         FREMONT          OH 43420‐9621
STANLEY BILL (459362)           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                               STREET, SUITE 600
STANLEY BIRCHMEIER              7352 OLD TIMBER TRL                                                                      NEW LOTHROP     MI   48460‐9807
STANLEY BISHOP                  11090 ROAD 4306                                                                          COLLINSVILLE    MS   39325
STANLEY BIST                    25585 OAKLAND DR                                                                         DEARBORN HTS    MI   48125‐1011
STANLEY BIZAY                   19651 ORMISTON AVE                                                                       EUCLID          OH   44119‐1522
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Name                           Address1                          Address2                         Address3   Address4         City               State Zip
STANLEY BJERKE                 PAUL HANLEY & HARLEY              1608 4TH ST STE 300                                          BERKELEY            CA 94710‐1749
STANLEY BLACK                  2503 SHASTA DR                                                                                 KALAMAZOO           MI 49004‐1028
STANLEY BLAIR                  20236 ANDOVER ST                                                                               DETROIT             MI 48203‐1195
STANLEY BLASZCZYK              5853 EASTLAKE DR                                                                               NEW PORT RICHEY     FL 34653‐4416
STANLEY BLAUE                  2713 68TH ST                                                                                   URBANDALE            IA 50322‐4914
STANLEY BLAUGRUND IRA          6121 HELICONIA ROAD                                                                            DEL RAY BEACH       FL 33484
STANLEY BLOECKER               2950 BIRD RD                                                                                   ORTONVILLE          MI 48462‐8439
STANLEY BLOMBERG               5102 CASS CITY RD                                                                              CASS CITY           MI 48726‐9782
STANLEY BOBO                   4189 E ROLSTON RD                                                                              LINDEN              MI 48451‐8437
STANLEY BOCEK JR               711 BROADWAY AVE                                                                               OWOSSO              MI 48867‐4503
STANLEY BOGAN                  12190 DIEHL DR                                                                                 STERLING HTS        MI 48313‐2430
STANLEY BOGASKY                PO BOX 718                                                                                     AU GRES             MI 48703‐0718
STANLEY BOJANOWSKI JR          PO BOX 352722                                                                                  TOLEDO              OH 43635‐2722
STANLEY BOJARSKI               20501 CALUMET DR                                                                               CLINTON TOWNSHIP    MI 48038‐1466
STANLEY BOLINGER               125 TIMBERLAKE                                                                                 DAMIANSVILLE         IL 62215‐1359
STANLEY BOND                   2003 LASEA WAY                                                                                 SPRING HILL         TN 37174‐2742
STANLEY BONK                   2821 SW 144TH CT                                                                               MIAMI               FL 33175‐7446
STANLEY BOOG                   611 S MEADE ST APT 7                                                                           FLINT               MI 48503‐2293
STANLEY BORA JR                1078 LEWERENZ ST                                                                               DETROIT             MI 48209‐2243
STANLEY BORAM                  4121 BURTON PLACE CT                                                                           ANDERSON            IN 46013‐5601
STANLEY BOROWSKI               401 KENNEDY DR                                                                                 LINDEN              NJ 07036‐4405
STANLEY BORUFF                 2229 SEVEN PEAKS DR                                                                            CICERO              IN 46034‐4400
STANLEY BORYK                  14 VAN ESS DR                                                                                  OLMSTED FALLS       OH 44138‐2964
STANLEY BOST/INDIANA           420 S KITLEY AVE                                                                               INDIANAPOLIS        IN 46219‐7426
STANLEY BOVIT                  1011 AVIAN CT                                                                                  BRUNSWICK           OH 44212‐2293
STANLEY BOYDEN                 4808 W GOLDEN LN                                                                               GLENDALE            AZ 85302‐5115
STANLEY BOYER                  24158 MARY ST                                                                                  TAYLOR              MI 48180‐2157
STANLEY BOYER                  3102 KNEELAND CIR                                                                              HOWELL              MI 48843‐4508
STANLEY BOYETT                 144 WOODLAND HILLS PL                                                                          SOMERVILLE          AL 35670‐5470
STANLEY BOZEK                  32407 RIDGEFIELD AVE                                                                           WARREN              MI 48088‐1331
STANLEY BRABBS                 6285 SPRINGDALE BLVD                                                                           GRAND BLANC         MI 48439‐8524
STANLEY BRACZYNSKI             3027 DUMAS AVE                                                                                 SPRING HILL         FL 34609‐4568
STANLEY BRADYCHOK              24828 CROCKER BLVD                                                                             HARRISON TWP        MI 48045‐1908
STANLEY BRAGG                  3264 MOBLEY RIDGE RD                                                                           DUCK RIVER          TN 38454‐3454
STANLEY BRAGG                  1149 S LAKE VALLEY DR                                                                          FENTON              MI 48430‐1243
STANLEY BRANDENBURG            201 N WATER ST                                                                                 PINCONNING          MI 48650‐9633
STANLEY BRASCHUK (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                               NEW HAVEN           CT 06510
                                                                 265 CHURC
STANLEY BRASCHUK (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C    ONE CENTRY TOWER, 11TH FLOOR,                                NEW HAVEN           CT   06510
                                                                 265 CHURCH
STANLEY BRASCHUK ESTATE OF     EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                               NEW HAVEN           CT   06510
                                                                 265 CHURCH STREET
STANLEY BRATEK                 4576 VAN PEYMA RD                                                                              HAMBURG            NY    14075‐2513
STANLEY BREEDLOVE              351 W COUNTY RD                   1075 N                                                       LIZTON             IN    46149
STANLEY BREITENBACH            619 RAINBOW CIR                                                                                KOKOMO             IN    46902
STANLEY BRENT                  3769 HUNTLEY RD                                                                                SAGINAW            MI    48601‐5137
STANLEY BREWER                 175 LOU ELLEN DR                                                                               MANCHESTER         TN    37355‐3216
STANLEY BRICKSON               3281 CONSERVANCY ESTATES LN                                                                    SUN PRAIRIE        WI    53590‐9246
STANLEY BRIDGEFORTH            26746 CLAUDETTE ST UNIT 462                                                                    SANTA CLARITA      CA    91351‐4850
STANLEY BRIGHT                 3600 LORRAIN RD                                                                                INDIANAPOLIS       IN    46220‐5563
STANLEY BRIGHT                 2444 BRAHMS BLVD                                                                               DAYTON             OH    45449‐3357
STANLEY BROADBENT              1717 PERSHING PL                                                                               JANESVILLE         WI    53546‐5641
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Name                                Address1                        Address2            Address3         Address4         City               State Zip
STANLEY BROMBERG JR                 2313 FRASER ST                                                                        BAY CITY            MI 48708‐8633
STANLEY BRONZOVICH                  13861 BARFIELD DR                                                                     WARREN              MI 48088‐5711
STANLEY BROOKS                      14404 HUNTER RD                                                                       HARVEST             AL 35749‐7361
STANLEY BROWN                       7310 LAKESIDE DR                                                                      INDIANAPOLIS        IN 46278‐1617
STANLEY BROWN                       602 W RICKENBACKER DR                                                                 MIDWEST CITY        OK 73110‐5651
STANLEY BRUNSKE                     308 STONEHENGE DR                                                                     CROSSVILLE          TN 38558‐6371
STANLEY BRUZEWSKI JR                2089 IRENE DR                                                                         KAWKAWLIN           MI 48631‐9731
STANLEY BRYAN OLDSMOBILE BUICK PONT HWY 77 & 44                                                                           ROBSTOWN            TX

STANLEY BRYAN OLDSMOBILE BUICK      HWY 77 & 44                                                                           ROBSTOWN            TX   78380
PONTIAC GMC TRUCK
STANLEY BRYAN OLDSMOBILE BUICK      STANLEY BRYAN                   HWY 77 & 44                                           ROBSTOWN            TX   78380
PONTIAC GMC, INC.
STANLEY BRYANT                      69 PLYMOUTH ST                                                                        MEDINA             OH    44256‐2418
STANLEY BRYANT                      511 LAUREL ST                                                                         SMITHS GROVE       KY    42171‐8127
STANLEY BRYSON                      2310 SWIFT RD                                                                         BELLEVUE           MI    49021‐9439
STANLEY BRZOZOWSKI                  11514 8TH AVE NW                                                                      GRAND RAPIDS       MI    49534
STANLEY BRZUCHOWSKI                 33710 FLORENCE ST                                                                     GARDEN CITY        MI    48135‐1098
STANLEY BUCREK                      6004 N RIVER HWY                                                                      GRAND LEDGE        MI    48837‐9372
STANLEY BUINICKI                    1159 STEAD SCHOOL RD                                                                  PAINTED POST       NY    14870‐8528
STANLEY BULAR                       3762 PETERS RD                                                                        COLUMBIAVILLE      MI    48421‐9203
STANLEY BURGAN                      505 N 2ND ST                                                                          NICHOLASVILLE      KY    40356‐1117
STANLEY BURGER                      5457 COUNTYLINE RD                                                                    MIDDLEPORT         NY    14105‐9631
STANLEY BURNETTE                    112 BENTWOOD DR                                                                       GREENWOOD          IN    46143‐1215
STANLEY BUSH                        2100 WARRINGTON RD                                                                    ROCHESTER HILLS    MI    48307‐3770
STANLEY BUTKUS JR                   756 EMPEROR ST SW                                                                     GRAND RAPIDS       MI    49504‐6422
STANLEY BUTTRICK JR                 414 NW KNIGHTS AVE                                                                    LAKE CITY          FL    32055‐7247
STANLEY BYK                         5556 UNDERHILL CT                                                                     GRAND BLANC        MI    48439‐9428
STANLEY C BOGASKY                   PO BOX 718                                                                            AU GRES            MI    48703‐0718
STANLEY C BONK                      2310 DAKOTA AVE                                                                       FLINT              MI    48506‐4905
STANLEY C CAMPBELL                  5069 SAWYER LAKE DR                                                                   ARLINGTON          TN    38002‐8349
STANLEY C FAHR                      1643 LOCKWOOD                                                                         HIGHLAND           MI    48356‐2838
STANLEY C GREENE                    29 S VAN LEAR ST                                                                      DAYTON             OH    45403‐1947
STANLEY C RIFE                      3275 S TERM ST                                                                        BURTON             MI    48529‐1420
STANLEY C SMITH                     3519 STANFORD PL                                                                      DAYTON             OH    45406‐3640
STANLEY C SPIRES                    953 BROADMEAD AVE                                                                     DAYTON             OH    45404‐2503
STANLEY C STRONG                    32532 WINDSOR ST                                                                      GARDEN CITY        MI    48135‐1660
STANLEY C ZRNCIC JR                 261 SALEM CHURCH RD                                                                   MECHANICSBURG      PA    17050
STANLEY CALDWELL                    5426 REVERE ST                                                                        GRAND BLANC        MI    48439‐4332
STANLEY CAMPBELL                    5069 SAWYER LAKE DR                                                                   ARLINGTON          TN    38002‐8349
STANLEY CAMPBELL                    8234 PINEHURST DR                                                                     PARMA              OH    44129‐6421
STANLEY CAMPBELL                    721 RAGAN RD                                                                          CONOWINGO          MD    21918‐1217
STANLEY CANTRELL                    2095 LAKEWARD LN                                                                      BLOOMFIELD HILLS   MI    48302‐0152
STANLEY CARDINAL                    7138 MILLER RD                                                                        SWARTZ CREEK       MI    48473‐1534
STANLEY CARLSON                     2137 FOXFIRE LN                                                                       KOKOMO             IN    46902‐5192
STANLEY CARPENTER                   3222 N DOW RD                                                                         WEST BRANCH        MI    48661‐8401
STANLEY CARPENTER                   1338 CASON TRL                                                                        MURFREESBORO       TN    37128‐6748
STANLEY CARPENTER                   3111 E US HIGHWAY 52                                                                  MORRISTOWN         IN    46161‐9782
STANLEY CARPENTER                   5515 E STATE ROAD 18                                                                  FLORA              IN    46929‐8208
STANLEY CARR                        640 NE 65TH AVE                                                                       OCALA              FL    34470‐2222
STANLEY CARSON                      6915 SPRINGBANK WAY                                                                   STONE MTN          GA    30087‐5417
STANLEY CART/FRM HIL                28702 WALL ST                                                                         WIXOM              MI    48393‐3515
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Name                                Address1                           Address2                         Address3   Address4         City             State Zip
STANLEY CARTER                      155 FAIRWAY VIEW XING                                                                           ACWORTH           GA 30101‐8550
STANLEY CARTER                      2409 CABERNET CT                                                                                FALLSTON          MD 21047‐2115
STANLEY CARTER                      APT 14112                          10702 OAK LANE                                               BELLEVILLE        MI 48111‐4708
STANLEY CARY JR                     1553 BENTLEY CIR                                                                                BEL AIR           MD 21015‐8419
STANLEY CAWTHORN                    3717 E 1050 S                                                                                   FAIRMOUNT         IN 46928‐9305
STANLEY CEBULA                      200A LANDING LN                                                                                 ELKTON            MD 21921
STANLEY CEBULA JR.                  94 WARREN DR                                                                                    ELKTON            MD 21921‐4870
STANLEY CHEATHAM                    21534 COUNTY ROAD 460                                                                           TRINITY           AL 35673‐3801
STANLEY CHEELEY                     1011 TURNER ST NE                                                                               CONYERS           GA 30012‐4533
STANLEY CHERRY JR                   2761 MARGARET ST                                                                                MELVINDALE        MI 48122‐1833
STANLEY CHERWINSKI                  11030 SEYMOUR RD                                                                                MONTROSE          MI 48457‐9065
STANLEY CHEVROLET BUICK PONTIAC GMC 603 SW GEORGIA AVE                                                                              SWEETWATER        TX 79556‐8119

STANLEY CHEVROLET BUICK PONTIAC GMC 603 SW GEORGIA AVE                                                                              SWEETWATER        TX   79556‐8119
CADILLAC ‐ SWEETWATER
STANLEY CHEVROLET OLDS BUICK        178 LAKE FLOWER AVE                                                                             SARANAC LAKE     NY 12983
CADILLAC INC & GMAC
STANLEY CHEVROLET OLDSMOBILE INC
STANLEY CHEVROLET PONTIAC BUICK GMC 1119 HWY 287 E                                                                                  CLARENDON         TX

STANLEY CHEVROLET PONTIAC BUICK GMC 1119 HWY 287 E                                                                                  CLARENDON         TX   79226
CADILLAC CLARENDON
STANLEY CHEVROLET, INC.             5697 W STATE ROAD 67                                                                            MC CORDSVILLE     IN   46055‐9672
STANLEY CHEVROLET, INC.             BRAD STANLEY                       5697 W STATE ROAD 67                                         MC CORDSVILLE     IN   46055‐9672
STANLEY CHEVROLET‐BUICK‐PONTIAC‐CAR PO BOX 2350                                                                                     GEORGE WEST       TX   78022‐2350

STANLEY CHEVROLET‐BUICK‐PONTIAC‐    PO BOX 2350                                                                                     GEORGE WEST       TX   78022‐2350
CARRIZO SPRINGS
STANLEY CHEVROLET‐BUICK‐PONTIAC‐GMC 1706 LUBBOCK HWY                                                                                BROWNFIELD        TX

STANLEY CHEVROLET‐BUICK‐PONTIAC‐GMC 3165 HIGHWAY 281 N                                                                              GEORGE WEST       TX   78022

STANLEY CHEVROLET‐BUICK‐PONTIAC‐GMC‐ 1706 LUBBOCK HWY                                                                               BROWNFIELD        TX   79316
CADILLAC‐BROWNFIELD
STANLEY CHEVROLET‐BUICK‐PONTIAC‐GMC‐ 3165 HIGHWAY 281 N                                                                             GEORGE WEST       TX   78022
GEORGE WEST
STANLEY CHEVROLET‐CELINA             1413 S PRESTON RD                                                                              CELINA           TX    75009‐3765
STANLEY CHEVROLET‐CELINA             PO BOX 310                                                                                     PILOT POINT      TX    76258‐0310
STANLEY CHEVROLET‐GIDDINGS           1906 W AUSTIN ST                                                                               GIDDINGS         TX    78942‐5793
STANLEY CHILSON                      4020 W DODGE RD                                                                                CLIO             MI    48420‐8525
STANLEY CHILSON                      8320 AARWOOD TRL NW                                                                            RAPID CITY       MI    49676‐9752
STANLEY CHITTICK                     104 OAK RIDGE TRL SE                                                                           WHITE            GA    30184‐3549
STANLEY CHLEBEK                      15971 DIXON RD                                                                                 PETERSBURG       MI    49270‐9510
STANLEY CHLEBUS                      12780 BERLIN STATION RD                                                                        BERLIN CENTER    OH    44401‐9772
STANLEY CHLIBECKI                    7467 MONTROSE ST                                                                               DETROIT          MI    48228‐3606
STANLEY CHWOJNICKI                   8217 E LIPPINCOTT BLVD            C/O STANLEY FRANCIS CHWOJNICKI                               DAVISON          MI    48423‐8359

STANLEY CHWOJNICKI                   8217 E LIPPINCOTT BLVD                                                                         DAVISON          MI    48423‐8359
STANLEY CIEMERYCH                    20237 BALMORAL DR                                                                              MACOMB           MI    48044‐2899
STANLEY CIESIELCZYK                  10786 71ST ST                                                                                  COUNTRYSIDE      IL    60525‐4804
STANLEY CINDY                        8425 MAEVE CT                                                                                  CLEMMONS         NC    27012‐8845
STANLEY CIUS                         156 MISHE MOKWA DR                                                                             HARBOR SPRINGS   MI    49740‐9417
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Name                   Address1                        Address2                     Address3   Address4         City                State Zip
STANLEY CLARK          8533 E PITTSBURG RD                                                                      DURAND               MI 48429‐1572
STANLEY CLARK          329 LAFAYETTE BLVD                                                                       OWOSSO               MI 48867‐2016
STANLEY CLARK          1021 NE KENWOOD DR                                                                       LEES SUMMIT          MO 64064‐1764
STANLEY COATS          12160 RAILROAD ST                                                                        JONES                MI 49061‐9700
STANLEY COGSWELL       3715 TOLES RD                                                                            MASON                MI 48854‐9710
STANLEY COHOON         500 MAXINE DR                                                                            DAVISON              MI 48423‐1061
STANLEY COLE           205 BROOKWOOD DR                                                                         ENGLEWOOD            OH 45322‐2461
STANLEY CONRAD         10398 SEYMOUR RD                                                                         MONTROSE             MI 48457‐9014
STANLEY COOK JR.       APT 68                          10200 BELLE RIVE BOULEVARD                               JACKSONVILLE         FL 32256‐9503
STANLEY COOK SR        6374 N KEEL DR                                                                           HERNANDO             FL 34442‐2598
STANLEY COOMBES        229 BASSTOWN RD                                                                          CLINTON              NC 28328‐7678
STANLEY COOPER         2250 CAMERON ST                                                                          KALAMAZOO            MI 49001‐4576
STANLEY COOPER         1414 S LANSING ST                                                                        SAINT JOHNS          MI 48879‐2156
STANLEY CORDELL        3125 MORANZA ST                                                                          COMMERCE TOWNSHIP    MI 48390‐1136
STANLEY CORP.          ANDREW RZASA                    480 MYRTLE ST                                            NEW BRITAIN          CT 06053‐4018
STANLEY COUCH          99 COUCH DR                                                                              MANCHESTER           KY 40962‐5513
STANLEY COURTNEY       6321 LAPEER RD                                                                           BURTON               MI 48509‐2435
STANLEY COVERT         925 TAM O SHANTER WAY                                                                    MONROE               OH 45050‐1646
STANLEY CRABTREE       7409 E GREGORY BLVD                                                                      KANSAS CITY          MO 64133‐6234
STANLEY CRAIG          38799 COVINGTON DR                                                                       WAYNE                MI 48184‐1079
STANLEY CRIPPIN        58048 CHURCH DR                                                                          THREE RIVERS         MI 49093‐8926
STANLEY CROSS          106 S MAIN ST APT C                                                                      EATON RAPIDS         MI 48827‐1073
STANLEY CROW           41 COUNTY ROAD 15                                                                        DANVILLE             AL 35619‐9655
STANLEY CRYSTAL        STANLEY, ISRAEL                 30 E BUTLER AVE                                          AMBLER               PA 19002‐4514
STANLEY CURTIS         2471 PONDEROSA RD                                                                        SPENCER              IN 47460‐5556
STANLEY CUSACK         8890 BORDEN RD                                                                           MUIR                 MI 48860‐9707
STANLEY CWIKLIK        641 CORNELL ST                                                                           PERTH AMBOY          NJ 08861‐2509
STANLEY CWIKLINSKI     12537 CHURCH ST APT D1                                                                   BIRCH RUN            MI 48415‐8702
STANLEY CZAJKA         15420 CLEVELAND AVE                                                                      ALLEN PARK           MI 48101‐2068
STANLEY CZARNY         6853 WEBB RD                                                                             HALE                 MI 48739‐8536
STANLEY CZULI          48483 ARKONA RD                                                                          BELLEVILLE           MI 48111‐9603
STANLEY CZYMBOR        PO BOX 75                                                                                GLENNIE              MI 48737‐0075
STANLEY D GATLIN       335 LAKE SHORE RD                                                                        JACKSON              MS 39212
STANLEY D GILBERT      4410 WARRINGTON DR                                                                       FLINT                MI 48504‐2079
STANLEY D GRIFFITH     4175 PLEASANT ROAD R.6                                                                   HILLSBORO            OH 45133‐6689
STANLEY D HOBBS        4324 W BUENA VISTA ST                                                                    DETROIT              MI 48238‐3276
STANLEY D HURT         980 WHALEY ROAD                                                                          NEW CARLISLE         OH 45344‐9700
STANLEY D KEYES        888 PALLISTER ST APT 616                                                                 DETROIT              MI 48202‐2672
STANLEY D MALOTT JR    8962 THOMAS RD                                                                           MIDDLETOWN           OH 45042‐1230
STANLEY D MITTENDORF   2243 FORESTLAKE DR                                                                       CINCINNATI           OH 45244
STANLEY D PAUL         6301 PINE CONE DR                                                                        W CARROLLTON         OH 45449‐3036
STANLEY D RIGGS        612 COMFORT LANE                                                                         SCOTTSBORO           AL 35769‐8505
STANLEY D STAMBAUGH    100 POCAHONTAS TRL                                                                       PRUDENVILLE          MI 48651
STANLEY D THOMPSON     104 EASY LIVING LN                                                                       DOWNSVILLE           LA 71234‐3018
STANLEY DALTON         446 IROQUOIS DR                                                                          BOWLING GREEN        KY 42103‐1316
STANLEY DALZIEL        4464 GRAND BLANC RD                                                                      SWARTZ CREEK         MI 48473‐9136
STANLEY DANIELS        2248 WEBSTER AVE                                                                         NEWTON FALLS         OH 44444‐9766
STANLEY DARGA          2621 DARWOOD GRV                                                                         NEW HAVEN            IN 46774‐1005
STANLEY DAVID          20 SANDY CREEK DR                                                                        WAYNESBORO           MS 39367‐7741
STANLEY DAVID          STANLEY, DAVID                  7 NW WENTWOOD HILLS DR                                   LAWTON               OK 73505
STANLEY DAVIDSON       10000 MEMORIAL ST                                                                        DETROIT              MI 48227‐4501
STANLEY DAVIS          683 TALL OAKS BLVD APT 11                                                                AUBURN HILLS         MI 48326‐3580
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STANLEY DAVIS          4413 E ATHERTON RD                                                                          BURTON                 MI 48519‐1400
STANLEY DAVIS          7184 ROSEMONT AVE                                                                           PENNSAUKEN             NJ 08110‐6129
STANLEY DAWSON         10316 CASA LINDA                                                                            OKLAHOMA CITY          OK 73139‐5513
STANLEY DEAN           245 SMITH ST                                                                                DAYTON                 OH 45408‐2038
STANLEY DEAN WHIPPLE   NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT     205 LINDA DR                    DAINGERFIELD           TX 75638
STANLEY DEAR JR        30981 PAMMAR DR                                                                             NEW HUDSON             MI 48165‐9784
STANLEY DEFREESE       2222 E WILLIAMSON ST                                                                        BURTON                 MI 48529‐2446
STANLEY DELECKI        16118 SCENIC VIEW DR                                                                        LINDEN                 MI 48451‐9083
STANLEY DELISLE        3188 PONEMAH DR                                                                             FENTON                 MI 48430‐1345
STANLEY DELONEY        1263 FOREST HILL AVE                                                                        FLINT                  MI 48504‐3350
STANLEY DEMBINSKI      6 LE MARC CT                                                                                ROCHESTER              NY 14618‐5657
STANLEY DENTON         400 FAIRBURN RD SW APT B18                                                                  ATLANTA                GA 30331‐1917
STANLEY DIGARD         7575 MAPLE AVE                                                                              HALE                   MI 48739‐8997
STANLEY DOANE          1672 E LINWOOD RD                                                                           LINWOOD                MI 48634‐9520
STANLEY DOBEK          2798 E MUNGER RD                                                                            TECUMSEH               MI 49286‐9724
STANLEY DOHERTY        15011 N COUNTY ROAD 400 E                                                                   EATON                  IN 47338‐8891
STANLEY DOMALIK        795 SHERRY DR                                                                               LAKE ORION             MI 48362‐2867
STANLEY DOMARACKI      1140 DUFF PL                                                                                POINT PLEASANT BORO    NJ 08742‐4971
STANLEY DOROBA         1352 XAVIER DR                                                                              MANSFIELD              TX 76063‐2851
STANLEY DROZDOWSKI     5280 FISHING SITE RD                                                                        HILLMAN                MI 49746‐9628
STANLEY DROZDOWSKI     4524 TARRY LN                                                                               WILMINGTON             DE 19804‐4056
STANLEY DUBIEL         9901 KEAR DR                                                                                OKLAHOMA CITY          OK 73165‐9235
STANLEY DUDA           143 COLLEGE HWY                                                                             SOUTHHAMPTON           MA 01073
STANLEY DUDA           661 CAREW STREET                                                                            SPRINGFIELD            MA 01104
STANLEY DUDAS          33 HOLLAND AVE                                                                              LANCASTER              NY 14086‐2204
STANLEY DUDLEY         2070 ARDSLEY DR                                                                             ORTONVILLE             MI 48462‐8567
STANLEY DULANEY        1303 W SALZBURG RD                                                                          AUBURN                 MI 48611‐8519
STANLEY DULANEY        5403 BOLAND DR                                                                              GRAND BLANC            MI 48439‐5101
STANLEY DUMAS          14480 LIBERAL ST                                                                            DETROIT                MI 48205‐1902
STANLEY DUNLAP         PO BOX 1564                                                                                 DESLOGE                MO 63601‐1564
STANLEY DURHAM         939 N 12TH ST                                                                               ELWOOD                 IN 46036‐1110
STANLEY DUTT           8930 HOUGHTON DR                                                                            STERLING HTS           MI 48314‐3524
STANLEY DVORAK         6537 EASTON RD                                                                              NEW LOTHROP            MI 48460‐9716
STANLEY DZIARMAGA      23 WILLIAMSTOWNE CT APT 7                                                                   CHEEKTOWAGA            NY 14227‐3951
STANLEY DZIEDZIC       2636 E EATON LN                                                                             CUDAHY                 WI 53110‐2816
STANLEY DZON JR.       29908 DONNA LN                                                                              CHESTERFIELD           MI 48047‐5739
STANLEY E CALDWELL     1028 SKYVIEW DRIVE                                                                          WEST CARROLLTON        OH 45449
STANLEY E CHLEBEK      15971 DIXON RD                                                                              PETERSBURG             MI 49270‐9510
STANLEY E DROZDOWSKI   5280 FISHING SITE RD                                                                        HILLMAN                MI 49746‐9628
STANLEY E FLOYD        P.O. BOX 4                                                                                  SABINA                 OH 45169‐0004
STANLEY E FRAZIER      4974 PENNSWOOD DR                                                                           DAYTON                 OH 45424
STANLEY E PERKINS      1211 S MICHIGAN AVE APT 3                                                                   SAGINAW                MI 48602‐1409
STANLEY E REDD SR.     893 1/2 TAIT RD SW                                                                          WARREN                 OH 44481‐9632
STANLEY E SMITH        C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                   HOUSTON                TX 77007
                       BOUNDAS, LLP
STANLEY E SOSTAK       664 N OLDEN AVE                                                                             TRENTON               NJ   08638‐4332
STANLEY E VANDIVER     3807 E 4TH ST                                                                               DAYTON                OH   45403
STANLEY EARLES         851 W 300 S                                                                                 FRANKLIN              IN   46131‐8642
STANLEY EASTMAN        3007 SALMON RIVER DR                                                                        MONROE                NC   28110‐1324
STANLEY ECKSTEIN       1101 ANGOLA AVE                                                                             MOUNT MORRIS          MI   48458‐2123
STANLEY EDISON         4550 HARRIET ST                                                                             INKSTER               MI   48141‐2984
STANLEY EDSOL          STANLEY, EDSOL                 25805 HARPER AVE                                             SAINT CLAIR SHORES    MI   48081‐2263
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STANLEY EDWARD BANKS        BARON & BUDD PC                   THE CENTRUM SUITE 1100        3102 OAK LAWN AVE                              DALLAS           TX 75219‐4281
STANLEY EDWARD FISHER       ROBERT W PHILLIPS                 SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521                EAST ALTON        IL 62024
                                                              ANGELIDES & BARNERD LLC
STANLEY EDWARDSON           414 RANDOLPH ST                                                                                                EDGERTON        WI 53534‐1425
STANLEY EHNIS               4341 HOLT RD                                                                                                   HOLT            MI 48842‐1685
STANLEY ELDRIDGE            222 S 25TH ST                     APT 435                                                                      TERRE HAUTE     IN 47803‐1866
STANLEY ELECTRIC CO LTD     2‐9‐13 NAKAMEGURO MEGURO‐KU                                                          TOKYO JP 153‐0061 JAPAN
STANLEY ELECTRIC CO LTD                                       2‐9‐13 NAKAMEGURO MEGURO‐KU                        TOKYO,JP,153‐0061,JAPAN

STANLEY ELECTRIC CO LTD     1500 HILL BRADY RD                                                                                             BATTLE CREEK    MI   49037‐7320
STANLEY ELECTRIC CO LTD     CHRIS STAAB X2632                 1500 HILL BRADY ROAD                                                         HUNTINGTON      IN   46750
STANLEY ELLISON             226 WILLOWBROOK TRL                                                                                            BLUFFTON        IN   46714‐1017
STANLEY EMPIE               PO BOX 97                                                                                                      CEDAR SPRINGS   MI   49319‐0097
STANLEY ENERGY              1775 SHERMAN STREET, SUITE 1355                                                                                DENVER          CO   80203
STANLEY ENERGY              485 W MILWAUKEE ST                ARGO A‐250                                                                   DETROIT         MI   48202‐3220
STANLEY ENERGY              7130 S LEWIS AVE STE 700                                                                                       TULSA           OK   74136‐5489
STANLEY ENERGY, INC.        485 W MILWAUKEE ST                ARGONAUT A‐250                                                               DETROIT         MI   48202‐3220
STANLEY ENERGY, INC.        485 W MILWAUKEE ST                                                                                             DETROIT         MI   48202‐3220
STANLEY ENERGY, INC.        150 SPEAR ST                                                                                                   SAN FRANCISCO   CA   94105‐1503
STANLEY ENGINEERING INC     2700 W I 44 SERVICE RD                                                                                         OKLAHOMA CITY   OK   73112‐3721
STANLEY ENVIRONMENTAL INC   2700 W I 44 SERVICE RD                                                                                         OKLAHOMA CITY   OK   73112‐3721
STANLEY ESTEP               6728 MONTANA CT                                                                                                KANSAS CITY     KS   66111‐2351
STANLEY EUBANKS             1855 SW 193RD CT                                                                                               BEAVERTON       OR   97006‐2641
STANLEY EVANOFF             341 LORBERTA LN                                                                                                WATERFORD       MI   48328‐2528
STANLEY EVANS               2535 STATE ROUTE 7                                                                                             FOWLER          OH   44418‐9785
STANLEY EVANS               3651 JACKSON LIBERTY DR NW                                                                                     WESSON          MS   39191‐6047
STANLEY F BLUM              18695 SCHOONER DR                                                                                              BOCA RATON      FL   33496
STANLEY F CHILSON           8320 AARWOOD TRL NW                                                                                            RAPID CITY      MI   49676‐9752
STANLEY F JUDA              73 COLLENTON DRIVE                                                                                             ROCHESTER       NY   14626
STANLEY F KUBILIUS          503 MERRICK DR                                                                                                 BEAVERCREEK     OH   45434‐5813
STANLEY F LUKE              3122 21ST AVE SO                                                                                               SEATTLE         WA   98144
STANLEY F VONBOKEL          117 BLUE GRASS LANE                                                                                            BELLEVILLE      IL   62220‐3002
STANLEY F. KRAMER
STANLEY FABIAN              306 W 6TH ST                                                                                                   LAPEL           IN   46051‐9506
STANLEY FAHR                1643 LOCKWOOD                                                                                                  HIGHLAND        MI   48356‐2838
STANLEY FAJNOR              1440 E 5 POINT HWY                                                                                             CHARLOTTE       MI   48813‐9162
STANLEY FAMILY TRUST        ERNEST E STANLEY TRUSTEE          7810 17TH GREEN DR                                                           HUMBLE          TX   77346
STANLEY FARLIN              4419 N MEADOW DR                                                                                               WATERFORD       MI   48329‐4643
STANLEY FARNSWORTH          42341 PARK RIDGE WAY                                                                                           CLINTON TWP     MI   48038‐5041
STANLEY FASKI               924 4 MILE RD NE                                                                                               GRAND RAPIDS    MI   49525‐2649
STANLEY FASTENING SYSTEMS   PO BOX 371929                                                                                                  PITTSBURGH      PA   15251‐7929
STANLEY FAULKNER            18441 SANTA BARBARA DR                                                                                         DETROIT         MI   48221‐2147
STANLEY FAY                 5020 MAYBEE RD                                                                                                 CLARKSTON       MI   48346‐4333
STANLEY FEDEWA              7077 LYONS RD                                                                                                  PORTLAND        MI   48875‐8604
STANLEY FEDONIK             68 WOODYCREST AVE                                                                                              YONKERS         NY   10701‐5921
STANLEY FERGUSON            1455 WILDWOOD TRL                                                                                              SALINE          MI   48176‐1654
STANLEY FERRELL             7598 OAK GROVE RD                                                                                              GEORGETOWN      OH   45121‐9625
STANLEY FITZGERALD          17 COLUMBUS SQUARE DR                                                                                          SAINT LOUIS     MO   63101‐2745
STANLEY FITZGERALD          BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                   BOSTON HTS.     OH   44236
STANLEY FLISAK              14 JAMES AVE                                                                                                   CLARK           NJ   07066‐1213
STANLEY FLOURNOY            1169 GOOSEBERRY HL                                                                                             SHREVEPORT      LA   71118‐3560
STANLEY FLOYD               PO BOX 4                                                                                                       SABINA          OH   45169‐0004
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STANLEY FONER            500‐C GRAND ST APT 5G                                                                        NEW YORK           NY 10002
STANLEY FORBES SLAYTON   NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD       TX 75638
STANLEY FORCE            4465 GRAND RIVER RD                                                                          BANCROFT           MI 48414‐9718
STANLEY FORMANCZYK       46641 WORCHESTER DR                                                                          MACOMB             MI 48044‐3979
STANLEY FOWLER           11252 DENTON HILL RD                                                                         FENTON             MI 48430‐2522
STANLEY FOX              6350 CARTWRIGHT RD                                                                           KINGSTON           MI 48741‐9755
STANLEY FRACZEK          150 SWEETFIELD CIR                                                                           YONKERS            NY 10704‐2612
STANLEY FRANC            4124 CHANNELVIEW DRIVE                                                                       VICKSBURG          MI 49097‐1020
STANLEY FRANCE           9 GALOPPI RD                                                                                 MERIDEN            CT 06450‐5809
STANLEY FRANCO           2983 BRETBY DR                                                                               TROY               MI 48098‐2153
STANLEY FRASER           11630 KENNETH DR                                                                             WARREN             MI 48093‐1773
STANLEY FREDERICKS       2217 BYRNES RD                                                                               LANSING            MI 48906‐3479
STANLEY FREE             3223 MULHEARN AVE                                                                            KALAMAZOO          MI 49048‐1221
STANLEY FRY              22800 BEECH DALY RD                                                                          BROWNSTOWN         MI 48134‐9586
STANLEY FRYMARK JR       400 JAYNE RD                                                                                 FENTON             MI 48430‐2583
STANLEY FUJARA           31242 WELLSTON DR                                                                            WARREN             MI 48093‐7641
STANLEY FUJII            2863 W 229TH ST                                                                              TORRANCE           CA 90505‐2861
STANLEY G COGSWELL       3715 TOLES RD                                                                                MASON              MI 48854‐9710
STANLEY G HENSON         4400 S TRIPLE X RD                                                                           CHOCTAW            OK 73020‐5963
STANLEY G ICE            10832 SUMMER CHASE RD                                                                        FORT WAYNE         IN 46818‐9825
STANLEY G JENKINS        2841 SCHOOL DRIVE NE                                                                         PALMBAY            FL 32905
STANLEY G LOVELESS       6630‐A EAST U S ROUTE 35                                                                     W ALEXANDRIA       OH 45381
STANLEY G LOVELESS       6630A US ROUTE 35 E                                                                          W ALEXANDRIA       OH 45381‐9550
STANLEY G MITCHEM        641 COSLER DR                                                                                DAYTON             OH 45403‐3205
STANLEY G MITCHEM        326 BLACKWOOD AVE                                                                            DAYTON             OH 45403‐1604
STANLEY GADZINSKI JR.    711 VICTORIA DR                                                                              MIDDLETOWN         DE 19709‐9301
STANLEY GAGACKI          23835 OAK ST                                                                                 DEARBORN           MI 48128‐1218
STANLEY GAGACKI          1489 CLARK LAKE RD                                                                           BRIGHTON           MI 48114‐4907
STANLEY GAISHIN          3602 YORKSHIRE DR                                                                            ARLINGTON          TX 76013‐1157
STANLEY GAJDA            3365 WYNNS MILL RD                                                                           METAMORA           MI 48455‐9628
STANLEY GAJEWSKI         241 DUPONT AVE                                                                               TONAWANDA          NY 14150‐7816
STANLEY GALE             5135 W PREAKNESS CT                                                                          MUNCIE             IN 47304‐5327
STANLEY GALECKI          801 DARTFORD PLACE DR                                                                        ROCHESTER HILLS    MI 48307‐3314
STANLEY GARDNER          PO BOX 4275                                                                                  MONROE             LA 71211‐4275
STANLEY GARMON           165 STEPHENS SALEM RD                                                                        STEPHENS           GA 30667‐1857
STANLEY GARVIN           9765 S TOWER RD                                                                              MAPLE CITY         MI 49664‐9782
STANLEY GAWLIK           3235 HERMANSAU DR                                                                            SAGINAW            MI 48603‐2519
STANLEY GAY              612 LINDA VISTA DR                                                                           PONTIAC            MI 48342‐1649
STANLEY GEHRI            1420 E STRATFORD DR                                                                          BELOIT             WI 53511‐1400
STANLEY GEMBOLYS         112 TOWERS BLVD                                                                              CHEEKTOWAGA        NY 14227‐3139
STANLEY GENSLAK          1607 BOULDER CT                                                                              ROCHESTER          MI 48306‐4810
STANLEY GENTRY           716 LAKECREST DR                                                                             MOORE              OK 73170‐1110
STANLEY GERRICK JR       PO BOX 30                                                                                    HOLLY              MI 48442‐0030
STANLEY GEYER            9503 WINDSOR CLUB CIR                                                                        FORT MYERS         FL 33905‐5309
STANLEY GIBBONS          1515 WADE DR                                                                                 LAPEER             MI 48446‐8705
STANLEY GIBSON           11370 BAY OF FIRTH BLVD                                                                      FENTON             MI 48430‐8712
STANLEY GIBSON           PO BOX 36                                                                                    FAIRMOUNT          IN 46928‐0036
STANLEY GILBERT          4410 WARRINGTON DR                                                                           FLINT              MI 48504‐2079
STANLEY GILBERT          2819 PARK LN                                                                                 SANDUSKY           OH 44870‐5962
STANLEY GINDER           502 ELIZABETH DRIVE                                                                          LANCASTER          PA 17601
STANLEY GLADKE           119 WILLIAMS ST                                                                              SOUTHINGTON        CT 06489‐4732
STANLEY GLINSKI          40119 CUCCI DR                                                                               STERLING HTS       MI 48313‐5378
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Name                                 Address1                           Address2                     Address3   Address4                   City             State Zip
STANLEY GLOWACKI                     3525 S BALDWIN RD                                                                                     ITHACA            MI 48847‐9510
STANLEY GOCH                         G7154 BREWER RD                                                                                       FLINT             MI 48507
STANLEY GODLEY                       3293 SEYMOUR RD                                                                                       SWARTZ CREEK      MI 48473‐9774
STANLEY GOINGS                       501 W GASSER RD                                                                                       PAULDING          OH 45879‐8758
STANLEY GOLEMBESKI                   2215 LINCOLN PARK AVE                                                                                 ALVA              FL 33920‐1015
STANLEY GOLEMBOWSKI                  1820 HAINES RD                                                                                        ORWELL            OH 44076‐9646
STANLEY GOLIMOWSKI                   5235 S 22ND PL                                                                                        MILWAUKEE         WI 53221‐3806
STANLEY GOLIS                        6388 BUELL RD                                                                                         VASSAR            MI 48768‐9614
STANLEY GOLIS JR                     6388 BUELL RD                                                                                         VASSAR            MI 48768‐9614
STANLEY GONDEK                       4213 CONNIE DR                                                                                        STERLING HTS      MI 48310‐3837
STANLEY GONZALES                     2725 111TH ST                                                                                         LYNWOOD           CA 90262‐1715
STANLEY GOOD                         16000 ELIZABETH ST                                                                                    BEVERLY HILLS     MI 48025‐5610
STANLEY GOODRICH                     9967 N CLINTON TRL                 C/O ORPHA STIFFLER                                                 MULLIKEN          MI 48861‐9737
STANLEY GORDON JR.                   15948 DENBY                                                                                           REDFORD           MI 48239‐3984
STANLEY GORNEY                       8233 TEACHOUT RD                                                                                      OTISVILLE         MI 48463‐9418
STANLEY GORRINGE                     4810 S BANCROFT RD                                                                                    DURAND            MI 48429‐9117
STANLEY GOSS I I                     2000 ANGIE LN                                                                                         ANDERSON          IN 46017‐9530
STANLEY GOTTLIEB TRADITIONAL IRA     STANLEY GOTTLIEB                   605 RT 306                                                         SUFFERN           NY 10901
STANLEY GRABOWSKI                    41640 BERLY DR                                                                                        CLINTON TWP       MI 48038‐4630
STANLEY GRABOWSKI                    365 JANICE DR                                                                                         SPARTA            TN 38583‐5698
STANLEY GRADDY                       231 WINTERGREEN RD                                                                                    TIMBERLAKE        NC 27583‐8996
STANLEY GRALKA                       3309 TRAPPERS TRL UNIT D                                                                              CORTLAND          OH 44410
STANLEY GRATZER                      1716 M ST                                                                                             BEDFORD           IN 47421‐4227
STANLEY GREATHOUSE JR                131 N MERIDIAN ST                                                                                     RUTHERFORDTON     NC 28139‐2301
STANLEY GREAVES                      P.O.BOX 51                                                                 MILK RIVER AL CANADA T0K
                                                                                                                1M0
STANLEY GREAVES                     BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.      OH   44236
STANLEY GREEN                       TRLR 28                             30030 WEST 8 MILE ROAD                                             FARMINGTN HLS    MI   48336‐5505
STANLEY GREENE                      6810 BLUEGRASS ST                                                                                      PORTAGE          MI   49024‐3369
STANLEY GREENE                      29 S VAN LEAR ST                                                                                       DAYTON           OH   45403‐1947
STANLEY GREGORY                     6378 GRANDMONT AVE                                                                                     DETROIT          MI   48228‐3820
STANLEY GREYERBIEHL                 122 S LINCOLN RD                                                                                       BAY CITY         MI   48708‐9186
STANLEY GRIFFIN                     7702 DECKER AVE                                                                                        CLEVELAND        OH   44103‐2863
STANLEY GRIFFITH                    4175 PLEASANT ROAD R.6                                                                                 HILLSBORO        OH   45133
STANLEY GRIFFITH                    216 W JACKSON AVE                                                                                      FLINT            MI   48505‐6612
STANLEY GROMEK                      36 S ROSSLER AVE                                                                                       CHEEKTOWAGA      NY   14206‐3418
STANLEY GRONDESKI                   4964 WOODLAWN AVE                                                                                      NEWTON FALLS     OH   44444‐9464
STANLEY GRUSZKA                     3821 KINGSWAY DR                                                                                       HIGHLAND         MI   48356‐1849
STANLEY GRYCZEWSKI                  2507 DIXON TER                                                                                         PORT CHARLOTTE   FL   33981‐1007
STANLEY GRZEMKOWSKI                 3331 N KIRK RD                                                                                         FAIRGROVE        MI   48733‐9771
STANLEY GUNN                        2721 DORIS ST                                                                                          DETROIT          MI   48238‐2725
STANLEY GUNSEL                      5263 W 52ND ST                                                                                         PARMA            OH   44134‐1023
STANLEY GWARA                       125 WILLOW ST                                                                                          MERIDEN          CT   06450‐5765
STANLEY H BELL                      2604 NORTH RACEWAY ROAD                                                                                INDIANAPOLIS     IN   46234‐9223
STANLEY H KAPLAN EDUC CENTER        MERIDIAN PARK ONE STE 440           9102 NORTH MERIDIAN                                                INDIANAPOLIS     IN   46260
STANLEY H KAPLAN EDUC CENTER        200 MAC AVE SUITE 200                                                                                  EAST LANSING     MI   48823
STANLEY H KAPLAN EDUCATION CENTER   220 MAC AVE SUITE 200                                                                                  EAST LANSING     MI   48823
LTD
STANLEY H KAPLAN EDUCATIONAL CENTER 220 E POST RD                                                                                          WHITE PLAINS     NY 10601‐4903

STANLEY H KAPLAN EDUCATIONAL CENTER 333 ALBERT AVE STE 214                                                                                 EAST LANSING     MI 48823‐4351
LTD
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Name                                Address1                            Address2                     Address3   Address4         City            State Zip
STANLEY H KAPLAN EDUCATIONAL CENTER 4201 CONNECTICUT AVE NW SUITE 302                                                            WASHINGTON       DC 20008
LTD
STANLEY H SHANNON                   6865 N RAIDER RD                                                                             MIDDLETOWN      IN   47356‐9751
STANLEY HAAK                        2302 W 13 MILE RD                                                                            ROYAL OAK       MI   48073‐3002
STANLEY HADDEN                      5056 EAST CARPENTER RD                                                                       FLINT           MI   48506
STANLEY HAGGARTY                    2654 CAMPBELLGATE DR                                                                         WATERFORD       MI   48329‐3120
STANLEY HALL                        3857 REINWOOD DR                                                                             DAYTON          OH   45414‐2445
STANLEY HALL                        G3213 KLEINPELL ST                                                                           BURTON          MI   48529‐1080
STANLEY HALL                        19100 28 MILE RD                                                                             RAY             MI   48096‐3001
STANLEY HALL                        8529 HAUSER CT                                                                               LENEXA          KS   66215‐4545
STANLEY HALLMAN                     9002 MELODY LN                                                                               SHREVEPORT      LA   71118‐2417
STANLEY HAMILTON                    308 ALYSE RD                                                                                 ROANOKE         TX   76262‐6158
STANLEY HANSEN                      1500 EDEN DR                                                                                 INVERNESS       FL   34450‐6410
STANLEY HARASYM                     11640 S KEDVALE AVE                                                                          ALSIP           IL   60803‐1626
STANLEY HARDY                       5287 LEWSINDA AVE                                                                            KALAMAZOO       MI   49009‐3825
STANLEY HARR                        739 FITTING AVE                                                                              LANSING         MI   48917‐2229
STANLEY HARRIS                      PO BOX 431651                                                                                PONTIAC         MI   48343‐1651
STANLEY HARRISON                    3745 FRIENDSHIP RD                                                                           BUFORD          GA   30519‐1815
STANLEY HARRISON                    1360 HERITAGE DR APT 121                                                                     NORTHFIELD      MN   55057‐3142
STANLEY HARTCO                      PAUL FLADUNG                        7707 NORTH AUSTIN                                        DETROIT         MI   48209
STANLEY HARTER                      4939 OLD SPRINGFIELD RD                                                                      VANDALIA        OH   45377‐9607
STANLEY HATFIELD                    N1695 MOUNT HOPE RD                                                                          BRODHEAD        WI   53520‐9573
STANLEY HAYES                       PO BOX 292                                                                                   LOCKPORT        NY   14095‐0292
STANLEY HAYNES                      10104 KY HIGHWAY 185                                                                         BOWLING GREEN   KY   42101‐9330
STANLEY HAZELRIGG                   2004 E 9TH ST                                                                                SEDALIA         MO   65301‐6416
STANLEY HEIKELL                     11276 JEWETT AVE                                                                             WARREN          MI   48089‐1844
STANLEY HELLER                      SANDRA HELLER                       210 N CAROLWOOD DR                                       LOS ANGELES     CA   90077‐3511
STANLEY HELTON                      400 SYCAMORE LN                                                                              WATERVILLE      OH   43566‐1219
STANLEY HENSON                      4400 S TRIPLE X RD                                                                           CHOCTAW         OK   73020‐5963
STANLEY HERBERT                     3750 KIRKWOOD RD                                                                             CLARKSVILLE     TN   37043‐1316
STANLEY HERDA                       2053 CAYUGA ST NW                                                                            GRAND RAPIDS    MI   49504‐5917
STANLEY HERGERT                     19 3RD ST                                                                                    MILTON          WI   53563‐1244
STANLEY HERNER                      118 PINDO PALM ST W                                                                          LARGO           FL   33770‐7434
STANLEY HERRINGTON                  3864 MILAM RD                                                                                BATES CITY      MO   64011‐8276
STANLEY HERRON                      5310 SW 27TH PL                                                                              CAPE CORAL      FL   33914‐6642
STANLEY HERTEL                      4348 PHILLIPS RD                                                                             METAMORA        MI   48455‐9747
STANLEY HICKS                       225 TROGDON LN                                                                               BEDFORD         IN   47421‐8652
STANLEY HIESIGER                    11753 CASTELLON CT                                                                           BOYTON BEACH    FL   33437
STANLEY HILL                        2714 DORSEY PEEK RD                                                                          GAINESVILLE     GA   30507‐7928
STANLEY HINDS                       23161 HILL AVE                                                                               WARREN          MI   48091‐4704
STANLEY HITTNER JR                  3771 MCNICHOLAS AVE                                                                          CINCINNATI      OH   45236
STANLEY HOBBS                       4324 W BUENA VISTA ST                                                                        DETROIT         MI   48238‐3276
STANLEY HODGES                      PO BOX 151                                                                                   BURT            MI   48417‐0151
STANLEY HOHMAN                      18026 N CAVE CREEK RD LOT 111                                                                PHOENIX         AZ   85032‐1624
STANLEY HOJNA JR                    1362 ROSS RD                                                                                 AVONMORE        PA   15618‐1016
STANLEY HOKE                        642 MCPHERSON ST                                                                             MANSFIELD       OH   44903‐1068
STANLEY HOLLAND                     1130 INDIAN MOUND DR                                                                         ANDERSON        IN   46013‐1203
STANLEY HOLOWIECKI                  BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.     OH   44236
STANLEY HONEYCUTT                   1610 N SHELDON RD                                                                            CANTON          MI   48187‐3173
STANLEY HOOD                        766 DYE FORD RD                                                                              ALVATON         KY   42122‐9676
STANLEY HOPAK                       1813 ROCKCREEK LN                                                                            FLINT           MI   48507‐2233
STANLEY HOPE                        37 BROOKHAVEN DR                                                                             TROTWOOD        OH   45426‐3102
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Name                                  Address1                       Address2                      Address3   Address4         City              State Zip
STANLEY HOPPER                        292 N 600 W                                                                              ANDERSON           IN 46011‐8744
STANLEY HORKY                         4251 LOCUST VALLEY LN                                                                    OXFORD             MI 48370‐1403
STANLEY HOROSZEWSKI                   560 JUNIPER LN                                                                           BRIDGEWATER        NJ 08807‐1129
STANLEY HOSTETLER                     2274 N CENTER RD                                                                         BURTON             MI 48509‐1003
STANLEY HOUGHTALING                   9570 WISNER AVE                                                                          NEWAYGO            MI 49337‐8147
STANLEY HOWES                         41512 BEDFORD DR                                                                         CANTON             MI 48187‐3702
STANLEY HRENIUK                       301 LINCOLN PARK E                                                                       CRANFORD           NJ 07016‐3122
STANLEY HUGHES                        203 MILL SPGS                                                                            COATESVILLE        IN 46121‐8948
STANLEY HUGHES                        23846 W CLEARMONT DR                                                                     ELKMONT            AL 35620‐6359
STANLEY HUHN                          12901 GEORGIA AVE                                                                        GRAND LEDGE        MI 48837‐1952
STANLEY HUNT                          723 LINCOLN AVE                                                                          OWOSSO             MI 48867‐4619
STANLEY HUNTER                        3993 SLOAN MILL RD                                                                       GAINESVILLE        GA 30507‐8674
STANLEY HUNTER                        9020 COLLAGE LN                                                                          PORT RICHEY        FL 34668‐5108
STANLEY HURT                          980 WHALEY RD                                                                            NEW CARLISLE       OH 45344‐9700
STANLEY HUTCHESON                     45677 PEBBLE CRK W APT 4                                                                 SHELBY TOWNSHIP    MI 48317‐4881
STANLEY HUTCHINS                      5420 JUNE IVEY RD NW                                                                     BETHLEHEM          GA 30620‐4707
STANLEY HUTCHINSON                    4245 TAMARACK RD                                                                         HILLSDALE          MI 49242‐9529
STANLEY HYATT                         APT 305C                       8809 MADISON AVENUE                                       INDIANAPOLIS       IN 46227‐2918
STANLEY I RICHARDS                    4922 HOGPATH RD                                                                          GREENVILLE         OH 45331‐8733
STANLEY I WOOD                        735 ACADEMY ST                                                                           RURAL HALL         NC 27045
STANLEY ICE                           9923 N BROOKEVALLEY DR 8                                                                 FORT WAYNE         IN 46825
STANLEY IGIELSKI                      13266 KARL DR                                                                            PLYMOUTH           MI 48170‐1093
STANLEY INDUSTRIES INC                PETE CARLSON X129              641 N.ROCHESTOR RD.                                       TINLEY PARK         IL 60477
STANLEY INDUSTRIES, INC.              PETE CARLSON X129              641 N.ROCHESTOR RD.                                       TINLEY PARK         IL 60477
STANLEY INDUSTRIES, INC.              PETE CARLSON X129              641 N ROCHESTER RD                                        CLAWSON            MI 48017‐1729
STANLEY INEICH                        208 CO. RT. 84                                                                           WEST MONROE        NY 13167
STANLEY J COOPER                      147 E CHANNEL DR                                                                         SHERIDAN           MI 48884‐9332
STANLEY J GEMBOLYS                    112 TOWERS BLVD                                                                          CHEEKTOWAGA        NY 14227‐3139
STANLEY J GERRICK                     PO BOX 30                                                                                HOLLY              MI 48442‐0030
STANLEY J HAKE                        1703 E LEXINGTON RD                                                                      EATON              OH 45320
STANLEY J KANIA JR                    27845 WAGNER DR                                                                          WARREN             MI 48093‐8358
STANLEY J KENSY JR                    10042 CREEK RD                                                                           FORESTVILLE        NY 14062‐9675
STANLEY J KIELAR                      473 MOORE AVE.                                                                           NEW CASTLE         PA 16101‐1605
STANLEY J KLOSINSKI                   8593 COLUMBIA RD                                                                         ORWELL             OH 44076
STANLEY J KWITEK                      2254 W FOSTER AVE                                                                        CHICAGO             IL 60625‐1882
STANLEY J MARTAIN                     G 4634 FLUSHING RD.                                                                      FLINT              MI 48504
STANLEY J MARTYNOWICZ                 4903 NEWTON RD                                                                           HAMBURG            NY 14075‐5434
STANLEY J RICHARDS                    19075 LEWIS RD                                                                           AMESVILLE          OH 45711
STANLEY J WEISS                       1038 TERRY AVE                                                                           MOUNT MORRIS       MI 48458‐2568
STANLEY J WELLS                       5407 MARSHALL RD                                                                         KETTERING          OH 45429
STANLEY J ZYNDA JR                    154 WOODLAWN AVE                                                                         DEPEW              NY 14043‐3932
STANLEY JACK                          1297 S PALMERLEE RD                                                                      CEDARVILLE         MI 49719‐9413
STANLEY JACK                          1297 S. PALMERLEE                                                                        CEDARVILLE         MI 49719
STANLEY JACKSON                       35 W BROWN RD APT 376                                                                    MESA               AZ 85201‐3494
STANLEY JACKSON                       20051 GREYDALE AVE                                                                       DETROIT            MI 48219‐1226
STANLEY JACKSON                       4329 SAINT MARTINS DR                                                                    FLINT              MI 48507‐3771
STANLEY JAIME ‐ CHEVROLET SILVERADO   NO ADVERSE PARTY
REGULAR CAB 2008
STANLEY JAMES                         5009 S BY PASS TER                                                                       OKLAHOMA CITY     OK 73119‐4227
STANLEY JAMES KENESKE                 MCKENNA & ASSOCIATES PC        436 BOULEVARD OF THE ALLIES                               PITTSBURGH        PA 15219‐1331
                                                                     SUITE 500
STANLEY JAMROG                        2310 26TH ST                                                                             BAY CITY          MI 48708‐3803
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Name                                 Address1                        Address2                    Address3               Address4         City                 State Zip
STANLEY JANKOWSKI                    2351 VALEWAY DR                                                                                     TOLEDO                OH 43613‐1525
STANLEY JANOWSKI                     3799 QUARRY RD                                                                                      DU BOIS                IL 62831‐1421
STANLEY JANUSZ                       11995 ANGUS CIR                                                                                     STERLING HTS          MI 48312‐1303
STANLEY JAWORSKI                     1410 LINVILLE DR                                                                                    WATERFORD             MI 48328‐1233
STANLEY JENNINGS                     1811 HAMLET PL S                                                                                    BEL AIR               MD 21015‐1544
STANLEY JENT                         766 KOOGLE RD                                                                                       MANSFIELD             OH 44903‐8710
STANLEY JEZ                          15 BRAVER DR                                                                                        TRENTON               NJ 08610‐1307
STANLEY JEZ EDUCATIONAL FOUNDATION   DONALD P HOFFMAN TTEE           C/O RBC WEALTH MANAGEMENT   ONE CORPORATE CENTER                    HARTFORD              CT 06103

STANLEY JOHNSON                      6541 N WACOUSTA RD                                                                                  FOWLER               MI   48835‐8710
STANLEY JOHNSON                      1700 PRESTWICK PL                                                                                   SAINT AUGUSTINE      FL   32086‐8879
STANLEY JOHNSON                      321 GREEN ST                                                                                        LOCKPORT             NY   14094‐2013
STANLEY JOHNSON                      1757 BROWNDEER AVE                                                                                  ARKDALE              WI   54613‐9712
STANLEY JOHNSON                      4900 DEERHURST DR                                                                                   NORMAN               OK   73072‐3877
STANLEY JOHNSON                      26 ELM DR                                                                                           SAINT PETERS         MO   63376‐1466
STANLEY JOHNSON                      8208 E 79TH TER                                                                                     KANSAS CITY          MO   64138‐1335
STANLEY JOHNSON                      28156 SAN MARINO DR                                                                                 SOUTHFIELD           MI   48034‐1507
STANLEY JOHNSON                      1959 LEMON CREEK RD                                                                                 JUNEAU               AK   99801
STANLEY JOHNSON JR.                  2940 E 30TH ST                                                                                      KANSAS CITY          MO   64128‐1609
STANLEY JONES                        804 NW B ST                                                                                         BLUE SPRINGS         MO   64015‐3728
STANLEY JONES                        8621 BRAILE ST                                                                                      DETROIT              MI   48228‐2809
STANLEY JONES                        375 JOSLYN AVE                                                                                      PONTIAC              MI   48342‐1518
STANLEY JONES                        PO BOX 28631                                                                                        KANSAS CITY          MO   64188‐8631
STANLEY JONES                        814 SPRAGUE RD                                                                                      INDIANAPOLIS         IN   46217‐3394
STANLEY JONES                        1520 GYPSY LANE                                                                                     NILES                OH   44446‐3202
STANLEY JR, CHARLES H                133 MONICA DRIVE                                                                                    SHELBYVILLE          KY   40065‐8911
STANLEY JR, LOUIE W                  1318 IDLEWOOD DRIVE                                                                                 SUN CITY CTR         FL   33573‐6345
STANLEY JR, MARTIN T                 104 W 11TH ST                                                                                       LINDEN               NJ   07036‐4508
STANLEY JR, RAY M                    1310 CRISTINA DR                                                                                    FENTON               MI   48430‐9637
STANLEY JR, ROBERT                   5422 AFAF ST                                                                                        FLINT                MI   48505‐1023
STANLEY JR, RUSSELL C                17441 RAYMER ST                                                                                     NORTHRIDGE           CA   91325‐3449
STANLEY JR., ROY A                   904 SKYLARK DR                                                                                      MANSFIELD            TX   76063‐1532
STANLEY JUDA                         73 COLLENTON DR                                                                                     ROCHESTER            NY   14626‐4430
STANLEY JUDIS                        17670 CHIPPEWA TRL                                                                                  HOWARD CITY          MI   49329‐8838
STANLEY K DAWSON                     10316 CASA LINDA                                                                                    OKLAHOMA CITY        OK   73139‐5513
STANLEY K WATKINS                    642 E LYNDON AVE                                                                                    FLINT                MI   48505‐2952
STANLEY KAMINSKI                     28509 MARQUETTE ST                                                                                  GARDEN CITY          MI   48135‐2712
STANLEY KAMINSKI                     907 S GERALD DR                                                                                     NEWARK               DE   19713‐3023
STANLEY KANIA                        2746 BRIARWOOD DR                                                                                   SAGINAW              MI   48601‐5801
STANLEY KANIA                        2214 NICHOLS RD                                                                                     LENNON               MI   48449‐9321
STANLEY KANIA JR                     27845 WAGNER DR                                                                                     WARREN               MI   48093‐8358
STANLEY KAPELUCH                     184 W STRATHMORE AVE                                                                                PONTIAC              MI   48340‐2776
STANLEY KAPINUS                      403 TEMPLE BLVD                                                                                     PALMYRA              NJ   08065‐2316
STANLEY KARPINSKI                    PO BOX 558                                                                                          CHAPEL HILL          TN   37034‐0558
STANLEY KARPINSKI                    20415 TULLIO ST                                                                                     CLINTON TWP          MI   48035‐5104
STANLEY KARWOWSKI                    23340 MASONIC BLVD                                                                                  SAINT CLAIR SHORES   MI   48082‐2076
STANLEY KASPER                       15921 LARSEN AVE                                                                                    GOWEN                MI   49326‐9521
STANLEY KASPRZAK                     3155 CLEARVIEW WAY APT 1                                                                            BLASDELL             NY   14219
STANLEY KAY                          325 THRID WAY                                                                                       WEST PALM BCH        FL   33407
STANLEY KELLER                       2103 WESTMINSTER DR                                                                                 WILMINGTON           DE   19810‐3928
STANLEY KENAS                        1727 SALT CREEK RD                                                                                  SPRINTOWN            TX   76082‐3931
STANLEY KENSY JR                     10042 CREEK RD                                                                                      FORESTVILLE          NY   14062‐9675
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STANLEY KENYON                      3816 CHASE RD                                                                                           MIDDLEPORT         NY 14105‐9704
STANLEY KETCHAM                     BEVAN & ASSOCIATES, LPA, INC.         6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.        OH 44236
STANLEY KETCHUM                     24 DEMPSEY DR                                                                                           NEWARK             DE 19713‐1932
STANLEY KIELAR                      473 MOORE AVE                                                                                           NEW CASTLE         PA 16101‐1605
STANLEY KIELB                       4686 W BERRY RD                                                                                         STERLING           MI 48659‐9765
STANLEY KIMMEL                      337 LANELL LN                                                                                           BELLAIRE           MI 49615‐9477
STANLEY KINDRED                     4200 WESTBROOK DR APT 709                                                                               BROOKLYN           OH 44144‐1206
STANLEY KING                        4512 LAWNDALE DR APT 326                                                                                GREENSBORO         NC 27455‐2259
STANLEY KINNEY                      9601 DARTMOUTH RD                                                                                       CLARKSTON          MI 48348‐2212
STANLEY KIOSKI                      5300 BARTON RD                                                                                          WILLIAMSTON        MI 48895‐9302
STANLEY KIRAGA                      1429 S SHELDON RD APT 2                                                                                 PLYMOUTH           MI 48170‐5907
STANLEY KISIELOWSKI                 3740 S WINCHESTER AVE                                                                                   CHICAGO             IL 60609‐2037
STANLEY KITA                        22208 23 MILE RD                                                                                        OLIVET             MI 49076‐9577
STANLEY KITCHEN                     1137 BIRCHGATE TRL                                                                                      FERGUSON           MO 63135‐1332
STANLEY KLAUSNER                    83‐25 98TH STREET                                                                                       WOODHAVEN          NY 11421
STANLEY KLEISS                      3048 LESSITER DR                                                                                        LAKE ORION         MI 48360‐1522
STANLEY KLEPACZ AND DOROTHY KLEPACZ C/O MCKENNA & ASSOCIATES PC           436 BOULEVARD OF THE ALLIES ‐ STE                                 PITTSBURGH         PA 15219
                                                                          600
STANLEY KLICKNER                     2325 E. BRADEN RD., BOX 377                                                                            PERRY             MI   48872
STANLEY KLIMASZEWSKI                 3901 DOW CT LOT 151                                                                                    MIDLAND           MI   48642
STANLEY KLIMEK                       5 NEW ST                                                                                               CRANFORD          NJ   07016‐2644
STANLEY KLINGBEIL                    1501 GLENROSE AVE                                                                                      LANSING           MI   48915‐1516
STANLEY KLOC                         1723 CARMANBROOK PKWY                                                                                  FLINT             MI   48507‐1441
STANLEY KLOCKO                       19259 24TH AVE                                                                                         CONKLIN           MI   49403‐9707
STANLEY KLOS                         27102 SIMONE ST                                                                                        DEARBORN HTS      MI   48127‐3340
STANLEY KLUS                         23319 W FAIRWAY DR                                                                                     WOODHAVEN         MI   48183‐3110
STANLEY KNUTOWICZ                    139 N PARK DR                                                                                          ROCHESTER         NY   14612‐3923
STANLEY KOCH                         2445 SCHOOL RD                                                                                         HAMILTON          OH   45013‐9508
STANLEY KOCIECKI                     PO BOX 584                                                                                             KENMORE           NY   14217‐0584
STANLEY KOLECZKO                     28947 W CHICAGO ST                                                                                     LIVONIA           MI   48150‐3189
STANLEY KOLONKO                      1448 ST RTE #49                                                                                        CLEVELAND         NY   13042
STANLEY KONAT                        BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.       OH   44236
STANLEY KONDRACIUK                   1224 SHOEMAKER DR                                                                                      WESTLAND          MI   48185‐3596
STANLEY KOOK                         5216 HOAGLAND BLACKSTUB RD                                                                             CORTLAND          OH   44410‐9519
STANLEY KOPACZ                       4756 VENETIAN DR                                                                                       STERLING HTS      MI   48310‐6664
STANLEY KOPICKI                      273 PARK LANE DR                                                                                       WEBSTER           NY   14580‐1432
STANLEY KORCZYK                      630 VALENTINE LANE POSEY LAKE                                                                          HUDSON            MI   49247
STANLEY KOSKY                        13 BERNATH ST                                                                                          CARTERET          NJ   07008‐1617
STANLEY KOSZELAK                     175 UNIVERSITY AVE                                                                                     BUFFALO           NY   14214‐1228
STANLEY KOURT                        9493 RAY RD                                                                                            GAINES            MI   48436‐9796
STANLEY KOVITCH                      C/O THE LAW OFFICES OF PETER G       100 NORTH CHARLES                   22ND FLOOR                    BALTIMORE         MD   21201
                                     ANGELOS
STANLEY KOVITCH                      THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES                   22ND FLOOR                    BALTIMORE         MD 21201

STANLEY KOWAL                        5701 S ASHLAND                                                                                         COUNTRYSIDE       IL   60525‐3512
STANLEY KOWALSKI                     509 S ORGAN PIPE WAY                                                                                   MESA              AZ   85208‐6480
STANLEY KOWALSKI JR                  188 VICTORIA BLVD                                                                                      KENMORE           NY   14217‐2316
STANLEY KOZANDA                      1000 COLUMBIA                                                                                          MUNSTER           IN   46321
STANLEY KOZDRON                      12710 SEYMOUR RD                                                                                       BURT              MI   48417‐9775
STANLEY KOZLOWICZ                    4476 TULANE ST                                                                                         DEARBORN HTS      MI   48125‐2248
STANLEY KRAJCZYNSKI                  3 GARDEN DR APT 6                                                                                      LA GRANGE PK      IL   60526‐1075
STANLEY KRASNOW                      29 ARDSLEIGH PLACE                                                                                     MONROE TOWNSHIP   NJ   08831
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Name                              Address1                         Address2                         Address3   Address4         City              State Zip
STANLEY KRASZEWSKI                116 GRAVEL HILL SPOTSWOOD RD                                                                  MONROE TWP         NJ 08831‐3518
STANLEY KRAWCZYK                  10238 BIRD RIVER RD                                                                           BALTIMORE          MD 21220‐1536
STANLEY KROPIEWNICKI JR           29201 EMERSON ST                                                                              INKSTER            MI 48141‐1178
STANLEY KRUCKENBERG               3821 GALAXY DR                                                                                JANESVILLE         WI 53546‐4223
STANLEY KRUISENGA                 1610 GRAVEL HILL RD                                                                           COLUMBIA           TN 38401‐1340
STANLEY KRUPA JR                  819 E GRAND RIVER AVE                                                                         WILLIAMSTON        MI 48895‐1537
STANLEY KRUSZELNICKI              7613 CLAREMONT DR                                                                             TINLEY PARK         IL 60477‐2126
STANLEY KRZEWINSKI                1603 30TH ST                                                                                  BAY CITY           MI 48708‐8795
STANLEY KUBACKI                   704 ONETA ST                                                                                  OXFORD             MI 48371‐5073
STANLEY KUBEK                     54 BORY DR                                                                                    DEPEW              NY 14043‐4752
STANLEY KUBILIUS                  503 MERRICK DR                                                                                BEAVERCREEK        OH 45434‐5813
STANLEY KUCZBORSKI                298 SONIA AVE                                                                                 MADISON HEIGHTS    MI 48071‐2861
STANLEY KULAK                     4953 SUNSET DR                                                                                LOCKPORT           NY 14094‐1839
STANLEY KUSHION JR                7560 BRADENTON ST                                                                             BRIDGEPORT         MI 48722‐9758
STANLEY KUSTRA                    11836 ANGUS CIR                                                                               STERLING HTS       MI 48312‐1300
STANLEY KWIATKOWSKI               6100 BEST DR                                                                                  PORT RICHEY        FL 34668‐6776
STANLEY L BRIGHT                  2444 BRAHMS BLVD                                                                              DAYTON             OH 45449
STANLEY L COVERT                  925 TAM O SHANTER                                                                             MONROE             OH 45050‐1646
STANLEY L CUNNINGHAM              4825 LAUDERDALE DR APT 1                                                                      MORAINE            OH 45439‐2849
STANLEY L DEAN                    245 SMITH ST                                                                                  DAYTON             OH 45408
STANLEY L GUNN                    2721 DORIS ST                                                                                 DETROIT            MI 48238‐2725
STANLEY L JONES                   4241 EAST KITRIDGE ROAD                                                                       DAYTON             OH 45424
STANLEY L MASON                   1500 CANFIELD AVE                                                                             DAYTON             OH 45406‐4207
STANLEY L MOORE                   19325 MURRAY HILL ST                                                                          DETROIT            MI 48235‐2424
STANLEY L OWEN AND ALICE M OWEN   124‐C WEST MABERRY DR                                                                         LYNDEN             WA 98264‐8560
JTWROS
STANLEY L OWEN AND ALICE M OWEN   124 ‐ C WEST MABERRY DRIVE                                                                    LYNDEN            WA 98264
JTWROS
STANLEY L PUCHOSIC                C/O BRAYTON PURCELL              222 RUSH LANDING RD                                          NOVATO            CA    94948‐6169
STANLEY L PUGH                    727 HARVEY ST                                                                                 BALTIMORE         MD    21230‐5114
STANLEY L SMITH                   4633 DAYVIEW AVE                                                                              DAYTON            OH    45417‐1334
STANLEY L THOMAS                  C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                    HOUSTON           TX    77007
                                  BOUNDAS LLP
STANLEY LACHOWICZ                 15809 E BRODIEA DR                                                                            FOUNTAIN HILLS     AZ   85268‐3902
STANLEY LACZKA                    19 CROMPTON PL                                                                                PALM COAST         FL   32137‐8124
STANLEY LAFEBER                   3060 VALLEY FARMS RD APT 142                                                                  INDIANAPOLIS       IN   46214‐1598
STANLEY LANDE & HUNTER            301 IOWA AVE STE 400             PER LINDA PANICCIA LEGAL STAFF                               MUSCATINE          IA   52761‐3850

STANLEY LANDERS                   416 PLAINVILLE RD NE                                                                          ROME              GA    30161‐3920
STANLEY LANE                      54 BOWMAN TRL                                                                                 LIBERTY           KY    42539‐6967
STANLEY LANTTA                    9893 W UPPER RD                                                                               SAXON             WI    54559‐9557
STANLEY LAPETZ                    406 EWINGVILLE RD                                                                             EWING             NJ    08638‐1539
STANLEY LAPINSKI                  4035 DRIFTWOOD DR                                                                             DEWITT            MI    48820‐9234
STANLEY LARABEE                   12017 CLARIDON TROY RD                                                                        CHARDON           OH    44024‐8442
STANLEY LARNER                    296 STATE ROAD 64 E                                                                           ZOLFO SPRINGS     FL    33890‐9776
STANLEY LATOSKI                   12334 CRAWFORD RD                                                                             EATON RAPIDS      MI    48827‐9403
STANLEY LAWRENCE                  3373 OAK KNOLL DR                                                                             BRIGHTON          MI    48114‐8909
STANLEY LAWRENCE                  14939 W DORNER RD                                                                             BRODHEAD          WI    53520‐9023
STANLEY LAWRIE                    84 SAUNDERSDALE RD                                                                            CHARLTON          MA    01507‐5101
STANLEY LAZAREK                   6590 PLAIN RD                                                                                 SILVERWOOD        MI    48760‐9719
STANLEY LAZARZ                    25210 ANNA ST                                                                                 TAYLOR            MI    48180‐3242
STANLEY LEAVITT                   2399 9 MILE RD                                                                                KAWKAWLIN         MI    48631‐9794
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Name                         Address1                       Address2            Address3         Address4         City               State Zip
STANLEY LEE                  10129 S FAIRVIEW DR                                                                  OKLAHOMA CITY       OK 73159‐7216
STANLEY LEEMAN               1301 N STEWART RD                                                                    ANDERSON            IN 46012‐9809
STANLEY LEGG                 153 SPRUCE ST                                                                        ELYRIA              OH 44035‐3356
STANLEY LEGG                 13835 WALTON VERONA RD                                                               VERONA              KY 41092‐9305
STANLEY LEHMAN               3109 E CHARLES RD              ROUTE 1                                               IONIA               MI 48846‐9761
STANLEY LENART               412 LONDON AVE                                                                       NORTH VERSAILLES    PA 15137‐2802
STANLEY LESESKY              2173 S HARBORVIEW DR                                                                 LKSID MARBLHD       OH 43440‐2443
STANLEY LESLIE               236 CROSS CREEK BLVD                                                                 ROCHESTER HILLS     MI 48306‐4565
STANLEY LESSARD JR           7855 CRIBBINS RD                                                                     CROSWELL            MI 48422
STANLEY LESSITER             722 HUBBARD AVE                                                                      FLINT               MI 48503‐4923
STANLEY LESTER               2091 ALA ST                                                                          BURTON              MI 48519‐1201
STANLEY LEVICKAS             1 LACROIX COURT DR             APT 1D                                                ROCHESTER           NY 14609
STANLEY LEVINE               12859 HERITAGE APT 101                                                               PLYMOUTH            MI 48170‐2942
STANLEY LEVINSON REV TRUST   STANLEY LEVINSON               240 KAVENISH DR                                       RANCHO MIRAGE       CA 92270‐3257
STANLEY LEWICKI JR           10400 N LINDEN RD                                                                    CLIO                MI 48420‐8500
STANLEY LEWIS                5004 N GALVIN RD                                                                     SIBLEY              MO 64088‐9614
STANLEY LEWIS                5019 64TH AVE                                                                        HUDSONVILLE         MI 49426‐9502
STANLEY LEWISKI              4085 BARNES RD                                                                       NORTH BRANCH        MI 48461‐8621
STANLEY LIJANA JR.           9299 SHADY LAKE DR APT 102                                                           STREETSBORO         OH 44241‐4513
STANLEY LIPKA                54238 BURGUNDY PT                                                                    SHELBY TWP          MI 48316‐1507
STANLEY LISKIEWITZ JR        4076 KINGS ROW CT NW                                                                 WALKER              MI 49534‐3405
STANLEY LISSEK               29655 SHELBOURNE RD                                                                  PERRYSBURG          OH 43551‐3454
STANLEY LOJEK                6770 WATER TOWER RD                                                                  LONGS               SC 29568‐7628
STANLEY LOLL                 1285 MAPLE ST                                                                        NATIONAL CITY       MI 48748‐9618
STANLEY LOVELESS             6630A US ROUTE 35 E                                                                  W ALEXANDRIA        OH 45381‐9550
STANLEY LUBIEWSKI            410 WESTBROOK DR                                                                     O FALLON            MO 63366‐2465
STANLEY LUDLOW               9310 WALTHAM ST                                                                      WHITE LAKE          MI 48386‐1581
STANLEY LUNKAS               2088 LONG POINT DR                                                                   HOUGHTON LAKE       MI 48629‐9464
STANLEY LUSCZ                PO BOX 523                                                                           KEANSBURG           NJ 07734‐0523
STANLEY LUSK                 7208 KROPP ROAD                                                                      GROVE CITY          OH 43123‐8829
STANLEY LUTTRELL             1007 W PRINCE RD UNIT 14                                                             TUCSON              AZ 85705‐3166
STANLEY M LEWIS              833 WHITMORE AVE                                                                     DAYTON              OH 45417
STANLEY M PRAWDZIK           222 WEST TEAMON CIR                                                                  GRIFFIN             GA 30223‐5823
STANLEY M RUSHING            411 OLD CANTON ROAD                                                                  CARTHAGE            MS 39051‐4017
STANLEY M TANNER             5188 E. CHICHASAW                                                                    BROOKHAVEN          MS 39601
STANLEY M TIFER              11 CREEK DR                                                                          NEW CASTLE          DE 19720‐8721
STANLEY MACDONALD            1649 BELLE AVE                                                                       FLINT               MI 48506‐3378
STANLEY MACIAG               9034 HORTON RD                                                                       GOODRICH            MI 48438‐9085
STANLEY MACIAK               2877 BAY DR                                                                          WEST BLOOMFIELD     MI 48324‐2033
STANLEY MACIOLEK             3170 LUKE MOSER RD                                                                   COLUMBIA            TN 38401‐8230
STANLEY MACK                 1425 NE 4TH PL                                                                       CAPE CORAL          FL 33909‐1301
STANLEY MAGEE                227 W BALTIMORE BLVD                                                                 FLINT               MI 48505‐6302
STANLEY MAGIERA              1541 WISMER ST                                                                       YPSILANTI           MI 48198‐7707
STANLEY MAGRETA              8353 RYGATE AVE                                                                      LAS VEGAS           NV 89178‐3842
STANLEY MAIR II              4901 N OVERFIELD RD                                                                  CASA GRANDE         AZ 85294‐7053
STANLEY MAJKA                5401 MAXINE CT                                                                       BAY CITY            MI 48706‐9742
STANLEY MAJKA                45037 PATRICK DR                                                                     CANTON              MI 48187‐2552
STANLEY MALISH               7734 WILLOW HWY                                                                      GRAND LEDGE         MI 48837‐8992
STANLEY MALKIEWICZ           132 N OGDEN ST                                                                       BUFFALO             NY 14206‐1431
STANLEY MALONE               21500 DEQUINDRE RD APT 101                                                           WARREN              MI 48091‐2245
STANLEY MANDLER              931 JEFFERSON WAY                                                                    WEST CHESTER        PA 19380‐6912
STANLEY MANEKE               10719 13 MILE RD                                                                     RODNEY              MI 49342‐9779
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Name                     Address1                           Address2                       Address3          Address4         City              State Zip
STANLEY MANERT           8108 TERRA SIESTA BLVD                                                                               ELLENTON           FL 34222‐3563
STANLEY MANIAL           1884 E BIRCH RUN RD                                                                                  BURT               MI 48417‐2321
STANLEY MANN             803 ORCHARD MANOR DR                                                                                 BOONSBORO          MD 21713‐1144
STANLEY MANNS            17366 MELROSE ST                                                                                     SOUTHFIELD         MI 48075‐7605
STANLEY MANSFIELD        541 CAREY PL                                                                                         LAKELAND           FL 33803‐3911
STANLEY MANSFIELD I I    14654 RD 25‐N                                                                                        CLOVERDALE         OH 45827
STANLEY MARCEY           82 MAYFAIR LN                                                                                        TONAWANDA          NY 14150‐4712
STANLEY MARESCH          1446 S GRANT AVE                                                                                     JANESVILLE         WI 53546‐5409
STANLEY MARSHALL         11205 WASHBURN RD                                                                                    OTISVILLE          MI 48463‐9731
STANLEY MARSHALL         3263 LELAND RD                                                                                       LAINGSBURG         MI 48848‐9682
STANLEY MARSHALL JR      246 ROOSEVELT DR                                                                                     DAVISON            MI 48423‐8550
STANLEY MARTIN           1315 GALINDO PL                                                                                      LADY LAKE          FL 32159‐8597
STANLEY MARTIN           G4634 FLUSHING RD                                                                                    FLINT              MI 48504
STANLEY MARTIN           265 TURNBERRY PL APT E                                                                               SAINT PETERS       MO 63376‐4480
STANLEY MARTY            14205 81ST DR                                                                                        DYER               IN 46311‐2666
STANLEY MARTYNOWICZ      4903 NEWTON RD                                                                                       HAMBURG            NY 14075‐5434
STANLEY MARUSAK          10 KEARNEY DR                                                                                        NEW MONMOUTH       NJ 07748‐1135
STANLEY MARY ESTATE OF   52 E TOULON DR                                                                                       BUFFALO            NY 14227‐3110
STANLEY MASLONA          8101 MEADE AVE                                                                                       BURBANK             IL 60459‐1943
STANLEY MASSEY           1365 SHEFFIELD DR                                                                                    SAGINAW            MI 48638‐5546
STANLEY MASTICK          PO BOX 1200                                                                                          YOUNTVILLE         CA 94599‐1297
STANLEY MATHEWS          8517 JANIS ST                                                                                        SHELBY TOWNSHIP    MI 48317‐5321
STANLEY MATHEWS          215 LAKE BY DR                                                                                       KEMP               TX 75143‐8687
STANLEY MATHIS           909 LINFIELD RD                                                                                      NEWARK             DE 19713‐2410
STANLEY MATLOCK          BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS         OH 44236
STANLEY MATUSZCZAK       74 HUMMINGBIRD LN                                                                                    CRAWFORDVILLE      FL 32327‐2177
STANLEY MATUZEK          5 CROSS ST                                                                                           SOUTH GRAFTON      MA 01560‐1103
STANLEY MATYAS           8 SARABEL CT                                                                                         CHEEKTOWAGA        NY 14225‐5020
STANLEY MAZIARZ          119 MILLER ST                                                                                        NORTH TONAWANDA    NY 14120‐6816
STANLEY MAZIARZ          PO BOX 422                                                                                           HOPEWELL           NJ 08525‐0422
STANLEY MAZUR            87 ELMWOOD TER                                                                                       TORRINGTON         CT 06790‐3237
STANLEY MC CLISTER       BOX 918 CREAMERY RD.                                                                                 NEWTOWN            PA 18940
STANLEY MC CULLOUGH      223 SOUTH CROSS STREET                                                                               DANVILLE           IN 46122‐1729
STANLEY MC NEELEY        PO BOX 7781                                                                                          MONROE             LA 71211‐7781
STANLEY MC WILLIAMS      203 HALTINER ST                                                                                      RIVER ROUGE        MI 48218‐1226
STANLEY MCALLISTER       8940 MONROE RD APT F4                                                                                DURAND             MI 48429‐1082
STANLEY MCCOY            211 W SEMINARY ST                                                                                    CHARLOTTE          MI 48813‐1827
STANLEY MCKELLAR         11375 COLONIAL WOODS DR                                                                              CLIO               MI 48420‐1503
STANLEY MCKENNA          1672 LOWER STATE RD                                                                                  DOYLESTOWN         PA 18901‐7034
STANLEY MCLEAN           4102 8TH ST                                                                                          BALTIMORE          MD 21225‐2137
STANLEY MCNETT           722 BRANDON DR                                                                                       MOUNTAIN VIEW      AR 72560‐7585
STANLEY MCPEEK           151 AIGLER BLVD                                                                                      BELLEVUE           OH 44811‐1102
STANLEY MCPHEE           NIX PATTERSON & ROACH LLP          GM BANKRUPTCY DEPARTMENT       205 LINDA DRIVE                    DAINGERFIELD       TX 75638
STANLEY MCTHOMPSON       3418 NORTH COUNTY HWY F            C/O ROCK HAVEN NURSING HOME                                       JANESVILLE         WI 53545

STANLEY MELLOTT          2641 DAVID DR                                                                                        NIAGARA FALLS     NY   14304‐4618
STANLEY MERRITT          5294 PINECREST DR                                                                                    ELMIRA            MI   49730‐9054
STANLEY METTRICK         86 MCGUIRE RD                                                                                        ROCHESTER         NY   14616‐2329
STANLEY METTRICK         86 MC GUIRE RD                                                                                       ROCHESTER         NY   14616‐2329
STANLEY MIACZYNSKI       1600 S VALLEY VIEW BLVD APT 1110                                                                     LAS VEGAS         NV   89102‐1873
STANLEY MICHALAK         30068 BALMORAL ST                                                                                    GARDEN CITY       MI   48135‐2061
STANLEY MICHNIEWICZ      C/O COONEY AND CONWAY              120 NORTH LASALLE 30TH FLOOR                                      CHICAGO           IL   60602
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Name                           Address1                         Address2               Address3      Address4         City               State Zip
STANLEY MIDKIFF                5027 ROOSEVELT RD                                                                      DEXTER              KY 42036‐9418
STANLEY MIESZALA               40 S LINDEN DR                                                                         PLANO                IL 60545‐9643
STANLEY MIGIEL                 6933 ROCKDALE ST                                                                       DEARBORN HEIGHTS    MI 48127‐2547
STANLEY MIGLETS                3441 ALMERINDA DR                                                                      CANFIELD            OH 44406‐9203
STANLEY MILLARD                1401 BARHAM AVE                                                                        JANESVILLE          WI 53548‐1505
STANLEY MILLER                 9834 WOODMAN AVE                                                                       ARLETA              CA 91331‐5047
STANLEY MILLER                 10434 N ELLENDALE RD                                                                   EDGERTON            WI 53534‐8406
STANLEY MILLER                 2025 ADAMS AVE                                                                         FLINT               MI 48505‐5033
STANLEY MILLER                 124 WYKOFF BLVD                                                                        HOUGHTON LAKE       MI 48629‐9334
STANLEY MILLER                 16520 SCHROEDER RD                                                                     BRANT               MI 48614‐9788
STANLEY MILLER                 1515 BULGER RD                                                                         ALKOL               WV 25501‐9527
STANLEY MILLER                 4774 GOODISON PLACE DR                                                                 ROCHESTER           MI 48306‐1673
STANLEY MILLER                 3710 CHILDERS RD                                                                       ORTONVILLE          MI 48462‐8489
STANLEY MILLIKAN               17215 WILLOW VIEW RD                                                                   NOBLESVILLE         IN 46062‐9223
STANLEY MILOSTAN               5210 MAIN ST                                                                           PINCONNING          MI 48650‐7972
STANLEY MINK                   1061 GARY AVE                                                                          GIRARD              OH 44420‐1943
STANLEY MIROS                  17109 5TH ST                                                                           BARRYTON            MI 49305‐9523
STANLEY MITCHELL               28766 HWY 251                                                                          ARDMORE             AL 35739
STANLEY MITCHELL               2511 N 57TH DR                                                                         KANSAS CITY         KS 66104‐2802
STANLEY MITCHEM                641 COSLER DR                                                                          DAYTON              OH 45403‐3205
STANLEY MIZE                   129 ALBANY WAY APT D                                                                   BEECH GROVE         IN 46107‐3200
STANLEY MODJESKI               12636 GREEN TREE TRL                                                                   SOUTH LYON          MI 48178‐9360
STANLEY MOORE                  PO BOX 19575                                                                           S LAKE TAHOE        CA 96151‐0575
STANLEY MOORE                  804 ALAN DR                                                                            BURLESON            TX 76028‐2000
STANLEY MOORE                  20516 RUTHERFORD ST                                                                    DETROIT             MI 48235
STANLEY MOORE                  12504 N RITCHEY LN                                                                     SPOKANE             WA 99224‐8958
STANLEY MOORE                  2471 CIMARRON CIRCLE                                                                   MIDLAND             NC 28107‐6487
STANLEY MORRIS                 104 WATTS ST                                                                           PARK HILLS          MO 63601‐1836
STANLEY MORRIS                 160 HARRISON CIR                                                                       CUMBERLAND GAP      TN 37724‐3409
STANLEY MORRIS                 2738 MILES AVENUE                                                                      PITTSBURG           PA 15216
STANLEY MORRIS JR.             2041 NICHOLS RD                                                                        FLUSHING            MI 48433‐9726
STANLEY MORRISSETT             10003 SHARON DR                                                                        MONTROSE            MI 48457‐9787
STANLEY MOTOWSKI               3429 LINCOLN ST                                                                        DEARBORN            MI 48124‐3561
STANLEY MOZDZEN                PO BOX 1162                                                                            INTERLACHEN         FL 32148‐1162
STANLEY MROZ                   8170 GERALD AVE                                                                        WARREN              MI 48093‐7101
STANLEY MURAK                  112 DANEBROCK DR                                                                       AMHERST             NY 14226‐3431
STANLEY MURAWSKI               650 EISENHOWER AVE                                                                     ANGOLA              NY 14006‐9151
STANLEY MURZYN                 16502 W 79TH TER                                                                       LENEXA              KS 66219‐1696
STANLEY MUSZYNSKI JR           1302 CLAIRMONTE LN                                                                     FRANKLIN            TN 37064‐2496
STANLEY MYSLIWIEC              7110 JOSEPHINE DR                                                                      NORTH OLMSTED       OH 44070‐5002
STANLEY N AND HELEN R MARCUM   STANLEY N MARCUM                 4910 BRIARDWOOD LANE                                  MANLIUS             NY 13104‐1308
STANLEY N GOANS                29849 BARTON ST                                                                        GARDEN CITY         MI 48135‐2707
STANLEY N LEWIS                5004 N GALVIN RD                                                                       SIBLEY              MO 64088‐9614
STANLEY N MOSS                 PO BOX 14207                                                                           SAVANNAH            GA 31416
STANLEY NAGAYAMA               1251 BOYD ST                                                                           TROY                MI 48083‐5437
STANLEY NAGEL                  196 MAPLEVIEW DR                                                                       TONAWANDA           NY 14150‐7804
STANLEY NAMULIK                225 DONNA LEA BLVD                                                                     WILLIAMSVILLE       NY 14221‐3169
STANLEY NAVARRO                3542 SEVILLE LN                                                                        SAGINAW             MI 48604‐9580
STANLEY NAVIS                  3269 130TH AVE                                                                         HOPKINS             MI 49328‐9751
STANLEY NEACE                  9459 KENRICK RD                                                                        CENTERVILLE         OH 45458‐5309
STANLEY NELSON                 PO BOX 310641                                                                          FLINT               MI 48531‐0641
STANLEY NELSON                 23793 BATTELLE AVE                                                                     HAZEL PARK          MI 48030‐1422
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STANLEY NEWSOME         3588 HWY 138,SE,STE 243                                                                     STOCKBRIDGE           GA 30281
STANLEY NEWSOME         3588 HWY 138 S.E. STE 243                                                                   STOCKBRIDGE           GA 30281
STANLEY NEWTON          1328 HIGHWAY 64 W                                                                           SHELBYVILLE           TN 37160‐6311
STANLEY NIELSEN JR      727 WALL AVE                                                                                ALPENA                MI 49707‐4530
STANLEY NIKINSKI        713 E SAHARA AVE APT 318                                                                    LAS VEGAS             NV 89104‐2994
STANLEY NONN            9917 TETON CT                                                                               FORT WAYNE            IN 46804‐3900
STANLEY NOSAL           6864 GRANDMONT AVE                                                                          DETROIT               MI 48228‐4724
STANLEY NOVAK           5713 WOODFIELD PKWY                                                                         GRAND BLANC           MI 48439‐9426
STANLEY NOWACZYK        1904 FAIRFIELD ST                                                                           SAGINAW               MI 48602‐3226
STANLEY NOWACZYK        410 OLD TRAIL DRIVE                                                                         HOUGHTON LAKE         MI 48629‐9586
STANLEY NOWAK           50196 RALEIGH CT                                                                            MACOMB                MI 48044‐6110
STANLEY NOWAK           2036 HOWARD AVE                                                                             DOWNERS GROVE          IL 60515‐4420
STANLEY NOWAK JR        13030 AMESBURY CT                                                                           FENTON                MI 48430‐2502
STANLEY NOWORUL         8758 MENARD AVE                                                                             OAK LAWN               IL 60453‐1286
STANLEY NUCKOLLS        461 HWY #124                                                                                PANGBURN              AR 72121
STANLEY NUMMER          PO BOX 330                                                                                  IONIA                 MI 48846‐0330
STANLEY NUNES           22935 LAKE BLVD                                                                             SAINT CLAIR SHORES    MI 48082‐2729
STANLEY O BARNETT       3901 HAMMERBERG RD D12                                                                      FLINT                 MI 48507
STANLEY O COBB          848 RIVERVIEW TER APT 408                                                                   DAYTON                OH 45402‐6445
STANLEY OBLAK JR        26720 ACADEMY ST                                                                            ROSEVILLE             MI 48066‐3224
STANLEY OCENASEK        750 SCHARRER DR                                                                             FLUSHING              MI 48433‐1313
STANLEY OCZEPEK         1302 S JACKSON ST                                                                           BAY CITY              MI 48708‐8066
STANLEY OEHLER          11106 HOFFMAN RD                                                                            FORT WAYNE            IN 46816‐9554
STANLEY OGINSKY         3401 N DURAND RD                                                                            CORUNNA               MI 48817‐9759
STANLEY OGRIZEK         BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS            OH 44236
STANLEY OLDHAM          60 W BROADWAY ST                                                                            SOUTH LEBANON         OH 45065‐1206
STANLEY OLESZKOWICZ     48472 SAVOY CT                                                                              SHELBY TWP            MI 48315‐4279
STANLEY OLSZEWSKI       213 RED OAK DR                                                                              MC MURRAY             PA 15317‐2632
STANLEY OLSZEWSKI       764 EAGLEDALE CIR                                                                           DAYTON                OH 45429‐5222
STANLEY OLSZOWY         1020 BLUFFHAVEN WAY NE                                                                      ATLANTA               GA 30319‐4817
STANLEY ORLIKOWSKI      1028 BLUEBELL LN                                                                            DAVISON               MI 48423‐7906
STANLEY ORNAT           MOTLEY RICE LLC                 28 BRIDGESIDE BLVD           PO BOX 1792                    MT PLEASANT           SC 29465
STANLEY OSBORNE         1061 FORESTSTONE WAY SW                                                                     MARIETTA              GA 30054‐3079
STANLEY OSETKOWSKI JR   1423 FORBES ST                                                                              NORTH TONAWANDA       NY 14120‐1858
STANLEY OSLOWSKI        715 SUMMIT ST                                                                               GLASSPORT             PA 15045‐1246
STANLEY OSOWSKI         5372 N GEORGETOWN RD                                                                        GRAND BLANC           MI 48439‐8773
STANLEY OTT             3680 EAST M‐72                                                                              GRAYLING              MI 49738
STANLEY OTT             361 SHUMMARD BR                                                                             OXFORD                MI 48371‐6365
STANLEY OUELLETTE       3358 N GENESEE RD                                                                           FLINT                 MI 48506‐2166
STANLEY OWENS           1507 HOMEWOOD AVE SE                                                                        WARREN                OH 44484‐4912
STANLEY OZAROWSKI       1106 HILLCREST AVE                                                                          FOX RIVER GROVE        IL 60021
STANLEY OZARWORSKI      1106 HILLCREST AVE                                                                          FOX RIVER GROVE        IL 60021‐1511
STANLEY P DIXON         313 PATIO PL                                                                                CLINTON               MS 39056‐5381
STANLEY PAMELA J        9119 DAY RD                                                                                 LOCKPORT              NY 14094
STANLEY PANEK           3296 W MOUNT MORRIS RD                                                                      MOUNT MORRIS          MI 48458‐8240
STANLEY PAPCIAK         7623 RING NECK DR                                                                           WATERFORD             MI 48327‐4335
STANLEY PAPCIAK         65 DEXTER TER                                                                               TONAWANDA             NY 14150‐2917
STANLEY PARDEL          1355 S BADOUR RD                                                                            MIDLAND               MI 48640‐9502
STANLEY PARKER          1916 JUNIPER LN                                                                             BENSALEM              PA 19020‐4428
STANLEY PARKS           6261 WELLINGTON ST                                                                          TAYLOR                MI 48180‐1037
STANLEY PARROTT         19 DOOLITTLE DR                                                                             DAYTON                OH 45431‐1343
STANLEY PATOCKI         521 SLUMBER LN                                                                              ROCHESTER HLS         MI 48307‐2885
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Name                      Address1                       Address2                         Address3   Address4               City            State Zip
STANLEY PATRICK           RT #2 BLUE RD                                                                                     FIFE LAKE        MI 49633
STANLEY PATSY             STANLEY, PATSY                 TEAYS CORPORATE CENTER ‐ 500                                       SCOTT DEPOT      WV 25560
                                                         CORPORATE CENTER DRIVE ‐ SUITE

STANLEY PAUL              6301 PINE CONE DR                                                                                 W CARROLLTON    OH   45449‐3036
STANLEY PAUL V (460210)   DUFFY & ASSOCS JOHN J          23823 LORAIN RD                                                    NORTH OLMSTED   OH   44070
STANLEY PAYNE             PO BOX 601                                                                                        LOVELAND        OH   45140‐0601
STANLEY PEARCE            4467 CREEK RD                                                                                     LEWISTON        NY   14092‐1124
STANLEY PEARLMAN          1736 BERGEN STREET                                                                                PHILADELPHIA    PA   19152
STANLEY PECYNA            3836 N ALTA VISTA TER                                                                             CHICAGO         IL   60613‐2908
STANLEY PEKOSZ            404 ROSEWOOD TER                                                                                  LINDEN          NJ   07036‐5220
STANLEY PELAK             11137 16 MILE RD NE                                                                               CEDAR SPRINGS   MI   49319‐9762
STANLEY PENTZ             714 EMILY AVE                                                                                     LANSING         MI   48910‐5602
STANLEY PERRY             G 7440 LAWRENCE ST                                                                                GRAND BLANC     MI   48439
STANLEY PERRY             RTE 3 B0X 180                                                                                     MARION          AL   36756
STANLEY PERRY JR          4034 AUTUMN HUE LN                                                                                DAVISON         MI   48423‐8975
STANLEY PETERSON          2079 MERION DR                                                                                    ORLANDO         FL   32826‐5293
STANLEY PETERSON          2913 ONAGON CIR                                                                                   WATERFORD       MI   48328‐3136
STANLEY PETERWAS          301 RED STORE ST                                                                                  WESTVILLE       IL   61883‐6067
STANLEY PETRAS            210 MALONE RD                                                                                     MANSFIELD       OH   44907‐2120
STANLEY PEYTON            1530 S MAPLE AVE                                                                                  FAIRBORN        OH   45324‐3427
STANLEY PEYTON            1530 S. MAPLE AVE                                                                                 FAIRBORN        OH   45324‐3427
STANLEY PHILLIPS          2900 LOWELL DR                                                                                    COLUMBUS        OH   43204‐2138
STANLEY PHILLIPS          255 MAGNOLIA DR                                                                                   INKSTER         MI   48141‐1160
STANLEY PHILLIPS          PO BOX 83                                                                                         DAVISBURG       MI   48350‐0083
STANLEY PIASKOWSKI        6902 BRENTWOOD AVE                                                                                BALTIMORE       MD   21222‐1704
STANLEY PIECEWICZ         25 RANSOM RD                                                                                      FRAMINGHAM      MA   01702‐5624
STANLEY PIET JR           808 N SHAMROCK RD                                                                                 BEL AIR         MD   21014‐2785
STANLEY PIETRUSKO         1204 ERIC DR                                                                                      BOOTHWYN        PA   19061
STANLEY PIFER             511 S MAIN ST                                                                                     EATON RAPIDS    MI   48827‐1209
STANLEY PIFKO             45843 KENSINGTON ST                                                                               UTICA           MI   48317
STANLEY PINKAVA           1612 ELEANOR AVE                                                                                  TOLEDO          OH   43612‐2021
STANLEY PINKOS            8199 DEVON DR                                                                                     SHELBY TWP      MI   48317‐1422
STANLEY PINKOWSKI         15648 LANDING CREEK LN                                                                            ROANOKE         TX   76262‐3383
STANLEY PIOTROWSKI JR     1196 84TH ST SE                                                                                   BYRON CENTER    MI   49315‐8788
STANLEY PIRHONEN          8398 STATE HIGHWAY M38                                                                            NISULA          MI   49952‐9802
STANLEY PIROCHTA          1111 E EXCHANGE ST                                                                                OWOSSO          MI   48867‐9017
STANLEY PIRUCKI           4729 SOUTHPOINTE PKWY                                                                             MONROE          MI   48161‐4536
STANLEY PISZCZEK          2473 PARKRIDGE DR                                                                                 HINCKLEY        OH   44233
STANLEY PLASTEK           510 STENNING DRIVE             STENNING WOODS                                                     HOCKESSIN       DE   19707
STANLEY PLASTICS LTD      UNITS 4‐7 HOLMBUSH NO EST      MIDWEST WEST SUSSEX                         UNITED KINGDOM GREAT
                                                                                                     BRITAIN
STANLEY PLAZA             2963 BELIZE CT                                                                                    MURFREESBORO    TN   37127‐7159
STANLEY PLONKA            2788 ELLSWORTH                                                                                    COLUMBUS        MI   48063‐4403
STANLEY POBE IV           18282 KANDT DR                                                                                    MACOMB          MI   48044‐3476
STANLEY POCHOPIEN         927 BOSUNS DR                                                                                     FORT WAYNE      IN   46819‐2635
STANLEY POGOZELSKI        11123 CHIPPEWA DR                                                                                 WARREN          MI   48093‐1641
STANLEY POHL              4925 S JONES RD                                                                                   WESTPHALIA      MI   48894‐9252
STANLEY POLCIK            10492 LEANN DR                                                                                    CLIO            MI   48420‐1961
STANLEY POLLITT           6033 SELFRIDGE BLVD                                                                               LANSING         MI   48911‐4704
STANLEY POLLOCK           20 CYNTHIA LN                                                                                     ROCHESTER       NY   14621‐5506
STANLEY POMPEY            PO BOX 430897                                                                                     PONTIAC         MI   48343‐0897
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Name                               Address1                          Address2            Address3         Address4         City               State Zip
STANLEY PONTIAC‐BUICK‐GMC‐ SHERMAN 3314 TEXOMA PKWY                                                                        SHERMAN             TX 75090‐1914

STANLEY PONTIAC‐BUICK‐GMC‐ SHERMAN GAINES STANLEY                    3314 TEXOMA PKWY                                      SHERMAN             TX   75090‐1914

STANLEY POOLE                      818 PLATEAU DR                                                                          HEDGESVILLE        WV    25427‐3870
STANLEY POPOWSKI                   18831 N 124TH DR                                                                        SUN CITY WEST      AZ    85375‐4275
STANLEY POTRZEBKA                  12427 W TOREADOR DR                                                                     SUN CITY WEST      AZ    85375‐1919
STANLEY POWALOWSKI                 3 FAIRWAY LN                                                                            DEPEW              NY    14043‐1065
STANLEY POWELL                     6069 DRYDEN RD                                                                          DRYDEN             MI    48428‐9764
STANLEY POZIEMSKI                  24440 PATRICIA AVE                                                                      WARREN             MI    48091‐5609
STANLEY PRAHIN                     6860 W SHORE DR                                                                         WEIDMAN            MI    48893‐8775
STANLEY PRAHIN JR                  3260 MIDLAND RD                                                                         SAGINAW            MI    48603‐9688
STANLEY PRAWDZIK                   222 W TEAMON CIR                                                                        GRIFFIN            GA    30223‐5823
STANLEY PREIKSA                    23249 W PETERSON DR                                                                     PLAINFIELD         IL    60586‐9096
STANLEY PRESTON                    1817 CHAPMAN AVE NE                                                                     HUNTSVILLE         AL    35811‐2203
STANLEY PRICE                      8289 W 600 N                                                                            ELWOOD             IN    46036‐9071
STANLEY PRICE                      42086 METALINE DR                                                                       CANTON             MI    48187‐3894
STANLEY PROCKO                     49 TUTTLE ST                                                                            WALLINGTON         NJ    07057‐1418
STANLEY PRUETT                     1234 S ELMS RD                                                                          FLINT              MI    48532‐5344
STANLEY PTAK                       4368 MOUNT VERNON PASS                                                                  SWARTZ CREEK       MI    48473‐8240
STANLEY PUGH                       8751 BAXTER RD                                                                          BENTON             IL    62812‐6140
STANLEY PUGH                       727 HARVEY ST                                                                           BALTIMORE          MD    21230‐5114
STANLEY PURALEWSKI                 705 WILSON ST                                                                           BAY CITY           MI    48708‐7765
STANLEY PUROLL                     2165 FAIRWEATHER DR                                                                     INDIANAPOLIS       IN    46229‐4979
STANLEY PURVIS                     1132 E ALWARD RD                                                                        DEWITT             MI    48820‐9748
STANLEY PUZIO                      4515 OLD ROUTE 422                                                                      NEW CASTLE         PA    16101
STANLEY R BARTHOLOMEW              2478 HWY 75                                                                             WETUMKA            OK    74883
STANLEY R CHALKER                  4098 EASTLAWN AVE.                                                                      YOUNGSTOWN         OH    44505‐1527
STANLEY R CROUSE                   23101 ROSEDALE DR #201                                                                  BONITA SPRINGS     FL    34135
STANLEY R EVANS                    2535 STATE ROUTE 7                                                                      FOWLER             OH    44418‐9785
STANLEY R GIBSON                   PO BOX 36                                                                               FAIRMOUNT          IN    46928‐0036
STANLEY R GREEN                    30030 W 8 MILE RD TRLR 28                                                               FARMINGTON HILLS   MI    48336‐5505
STANLEY R GRONDESKI                4964 WOODLAWN AVENUE                                                                    NEWTON FALLS       OH    44444‐9464
STANLEY R HALL                     3857 REINWOOD DR                                                                        DAYTON             OH    45414‐2445
STANLEY R HARTER                   4939 OLD SPRINGFIELD                                                                    VANDALIA           OH    45377‐9607
STANLEY R KENAS                    1724 SALT CREEK RD                                                                      SPRINGTOWN         TX    76082‐3931
STANLEY R MALISH                   7734 WILLOW HWY                                                                         GRAND LEDGE        MI    48837‐8992
STANLEY R OLSZEWSKI                764 EAGLEDALE CIRCLE                                                                    DAYTON             OH    45429‐5222
STANLEY R PUZA                     C/O WEITZ & LUXENBERG PC          700 BROADWAY                                          NEW YORK CITY      NY    10003
STANLEY R SEMCHESKI                418 WYOMING ST                                                                          HANOVER TWP        PA    18706
STANLEY R STASKO                   27653 LEXINGTON PKWY                                                                    SOUTHFIELD         MI    48076
STANLEY R. STASKO                  27653 LEXINGTON PKWY                                                                    SOUTHFIELD         MI    48076
STANLEY R. WILEN
STANLEY RAAB                       16401 SILVERADO DRIVE                                                                   SOUTHGATE          MI    48195‐3925
STANLEY RACHWAL                    624 S GRAND TRAVERSE ST           STE 5                                                 FLINT              MI    48502‐1230
STANLEY RADER                      1700 FLINT RD                                                                           SAINT HELEN        MI    48656‐9423
STANLEY RADOSKY                    7361 BISHOP RD                                                                          APPLETON           NY    14008‐9633
STANLEY RAJCA                      5833 FARMINGTON CT                                                                      HANOVER PARK       IL    60133‐5304
STANLEY RAMSEY                     PO BOX 2341                                                                             FLORISSANT         MO    63032‐2341
STANLEY RAMSEY                     2455 BAYWOOD ST                                                                         DAYTON             OH    45406‐1408
STANLEY RAPCIEWICZ                 6045 YORKRIDGE DR                                                                       ALPHARETTA         GA    30005‐8399
STANLEY RAY JR                     26 CHARLES LN                                                                           PONTIAC            MI    48341‐2925
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Name                              Address1                               Address2                      Address3          Address4         City            State Zip
STANLEY RAYMOND E (429861)        GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510
                                                                         STREET, SUITE 600
STANLEY REASONS                   26249 TIMBERLINE DR                                                                                     WARRENTON       MO   63383‐6576
STANLEY REAVES                    17902 MCCLUNG AVE                                                                                       SOUTHFIELD      MI   48075‐3420
STANLEY RECZKA                    181 CASTLE HEIGHTS AVE                                                                                  PENNSVILLE      NJ   08070‐2224
STANLEY REED                      115 PINEWOOD ACRES DR 1                                                                                 POWELLS POINT   NC   27966‐9763
STANLEY REHBURG                   231 PROSPECT STREET                                                                                     NILES           OH   44446‐1517
STANLEY REYNOLDS                  720 KING ST                                                                                             IONIA           MI   48846‐1049
STANLEY REYNOLDS                  24230 BEVERLY ST                                                                                        OAK PARK        MI   48237‐1552
STANLEY RHODUS                    2148 E US HIGHWAY 36                                                                                    MARKLEVILLE     IN   46056‐9773
STANLEY RICHARDS                  19075 LEWIS RD                                                                                          AMESVILLE       OH   45711‐9477
STANLEY RIES                      4228 LIPPINCOTT BLVD                                                                                    BURTON          MI   48519‐1162
STANLEY RIFE                      3275 S TERM ST                                                                                          BURTON          MI   48529‐1420
STANLEY RIGGS                     6065 NEFF RD UNIT G                                                                                     MOUNT MORRIS    MI   48458‐2760
STANLEY RIGGS                     612 COMFORT LN                                                                                          SCOTTSBORO      AL   35769‐8505
STANLEY RIST                      196 COUNTY ROUTE 50                                                                                     BRASHER FALLS   NY   13613‐3138
STANLEY RITCHISON                 401 FOREST VIEW DR                                                                                      BEDFORD         IN   47421‐5218
STANLEY ROBACHINSKI               3214 YALE ST                                                                                            FLINT           MI   48503‐4698
STANLEY ROBERT                    4632 DUBOIS BLVD APT 1                                                                                  BROOKFIELD      IL   60513‐2277
STANLEY ROBERT E (429862)         GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA   23510
                                                                         STREET, SUITE 600
STANLEY ROBERTS                   3502 SOUTHVIEW CIR                                                                                      GAINESVILLE     GA   30506‐3783
STANLEY ROBERTS JR                1539 PORTLAND AVE                                                                                       SAINT PAUL      MN   55104‐6825
STANLEY ROBINSON                  811 SUSAN DR                                                                                            ARLINGTON       TX   76010‐2426
STANLEY ROBINSON                  PO BOX 218                                                                                              GRANT           MI   49327
STANLEY ROBINSON                  4262 N WASHBURN RD                                                                                      DAVISON         MI   48423‐8006
STANLEY ROBINSON                  911 E 104TH ST                                                                                          GRANT           MI   49327‐7419
STANLEY ROBINSON                  BEVAN & ASSOCIATES LPA INC             6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS      OH   44236
STANLEY RODRIGUEZ                 608 W IDYLWILD DR                                                                                       MIDWEST CITY    OK   73110‐1649
STANLEY ROMANEK                   2571 PRIVADA DR                                                                                         THE VILLAGES    FL   32162‐8513
STANLEY RONAN                     1148 HINSDALE AVENUE                                                                                    BELOIT          WI   53511‐4710
STANLEY ROOSA                     8367 LAKE ST                           P O BOX 348                                                      BEAR LAKE       MI   49614‐9688
STANLEY ROOT                      3604 HIGHTREE AVE SE                                                                                    WARREN          OH   44484‐3730
STANLEY ROSS                      3914 DIAMOND LN                                                                                         INDIANAPOLIS    IN   46254‐2803
STANLEY ROSYSKI                   511 FAIRWAY DR                                                                                          SOMERSET        MA   02726‐4008
STANLEY ROWE                      4081 S 11 MILE RD                                                                                       BRECKENRIDGE    MI   48615‐9637
STANLEY ROWEN & SYLVIE MERLIER‐   2400 STONEWALL CT                                                                                       CATONSVILLE     MD   21228‐5440
ROWEN
STANLEY RUBIN                     21830 CYPRESS CIR. D                                                                                    BOCA RATON      FL   33433
STANLEY RULE                      2015 S 14TH AVE                                                                                         BROADVIEW       IL   60155‐3137
STANLEY RUNNING                   173 PINE LAKES DR W                                                                                     LAPEER          MI   48446‐4502
STANLEY RUSSELL                   PO BOX 10966                                                                                            JACKSON         MS   39289‐0966
STANLEY RUST                      1190 SHEIRER RD                                                                                         MANSFIELD       OH   44903‐8644
STANLEY RYNDAK                    4061 HARDT RD                                                                                           EDEN            NY   14057‐9650
STANLEY RYNICKI JR                5742 N RAISIN CENTER HWY                                                                                TECUMSEH        MI   49286‐9581
STANLEY RYZNAR                    4194 SAWMILL RD                                                                                         GLENNIE         MI   48737‐9385
STANLEY S GLABIEN                 198 DUNLOP AVE                                                                                          TONAWANDA       NY   14150‐7811
STANLEY S HARAKAS                 14442 SILVERSMITH CIRCLE                                                                                BROOKSVILLE     FL   34609
STANLEY S KAHN                    STANLEY S KAHN & ADELINE F KAHN TTEE   UAD 1/18/01 FBO KAHN FAMILY   2449 RUSSELL ST                    BERKLEY         CA   94705‐2019
                                                                         TRUST
STANLEY S KLUSKA                  P.O. BOX 104                                                                                            VIENNA          OH 44473
STANLEY SAGER                     7189 N 44TH ST                                                                                          AUGUSTA         MI 49012‐9659
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Name                             Address1                             Address2                      Address3               Address4                City               State Zip
STANLEY SAKOWSKI                 16960 HUDSON RD                                                                                                   MILTON              DE 19968‐3630
STANLEY SALLEE                   232 RAINBOW DR APT 13214                                                                                          LIVINGSTON          TX 77399‐2032
STANLEY SAMULL                   4859 ROSALIE ST                                                                                                   DEARBORN            MI 48126‐4123
STANLEY SANAK                    4433 NORTH WILDWOOD DRIVE                                                                                         PINCONNING          MI 48650‐9724
STANLEY SANDEFUR                 4624 W 300 S                                                                                                      ANDERSON            IN 46011‐9430
STANLEY SARTAIN                  36784 LAKE SHORE BLVD                                                                                             EASTLAKE            OH 44095‐1145
STANLEY SARTWELL                 2151 CURDY RD                                                                                                     HOWELL              MI 48855‐9725
STANLEY SAWICKI                  10615 W DIANA AVE                                                                                                 PEORIA              AZ 85345‐7424
STANLEY SCHADEWALD               5619 CENTENNIAL RD                                                                                                TECUMSEH            MI 49286‐7521
STANLEY SCHAFER                  6 CANTERBURY CT                                                                                                   FAIRPORT            NY 14450‐1644
STANLEY SCHNIERS                 PO BOX 87                                                                                                         GERMANTOWN           IL 62245‐0087
STANLEY SCHOENBORN               4424 BENNINGTON DR                                                                                                STERLING HEIGHTS    MI 48310‐3109
STANLEY SCHOTT                   2017 ROCKY ROAD DR                                                                                                SAINT PAUL          MO 63366‐1023
STANLEY SCHRADER                 3436 S EAST COUNTY LINE RD                                                                                        SUMNER              MI 48889‐9614
STANLEY SCHULTZ JR               5091 CLYDESDALE LN                                                                                                SAGINAW             MI 48603‐2817
STANLEY SCHWARTZ                 74 S ROSSLER AVE                                                                                                  CHEEKTOWAGA         NY 14206‐3418
STANLEY SCOTT                    PO BOX 183                                                                                                        BARNHART            MO 63012‐0183
STANLEY SCOTT                    6932 PHEASANT RUN                                                                                                 GAYLORD             MI 49735‐8759
STANLEY SCRIBNER                 70 E HOPKINS AVE                                                                                                  PONTIAC             MI 48340‐1931
STANLEY SEAN M                   277 S MERIDIAN RD                                                                                                 HUNTINGTON          IN 46750‐9254
STANLEY SEARLES                  1484 E WALKER RD                                                                                                  SAINT JOHNS         MI 48879‐9706
STANLEY SECURITY SOLUTIONS       BEST ACCESS SYSTEMS DIV              6150 EAST 75TH STREET                                                        INDIANAPOLIS        IN 46250
STANLEY SECURITY SOLUTIONS       BAY #2 1715 27TH AVE N E                                                                  CALGARY CANADA AB T2E
                                                                                                                           7E1 CANADA
STANLEY SECURITY SOLUTIONS INC   BEST ACCESS SYSTEMS DIV              DEPT CH 14210                                                                PALATINE           IL   60055‐4210
STANLEY SECURITY SOLUTIONS INC   6161 E 75TH ST                       PO BOX 50444                                                                 INDIANAPOLIS       IN   46250‐2701
STANLEY SECURITY SOLUTIONS INC   11947 CUMBERLAND RD                                                                                               FISHERS            IN   46037‐9748
STANLEY SECURITY SOLUTIONS INC   50485 PONTIAC TRL                                                                                                 WIXOM              MI   48393‐2028
STANLEY SELESKY                  10330 CLARK RD                                                                                                    DAVISON            MI   48423‐8507
STANLEY SELL                     1541 GREENWOOD DR                                                                                                 NORCROSS           GA   30093‐1434
STANLEY SEMONES                  THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES             22ND FLOOR                                     BALTIMORE          MD   21201

STANLEY SHANNON                  6865 N RAIDER RD                                                                                                  MIDDLETOWN         IN   47356‐9751
STANLEY SHARP                    60 SPANISH CT                                                                                                     FORT MYERS         FL   33912‐2101
STANLEY SHARPE                   1524 SUZANNE CT                                                                                                   FLUSHING           MI   48433‐1863
STANLEY SHEP/BERLIN              758 FOUR ROD RD                      P.O. BOX 280                                                                 BERLIN             CT   06037‐3628
STANLEY SHEPTOSKI                7303 MOHAWK ST                                                                                                    WESTLAND           MI   48185‐2332
STANLEY SHERMAN                  8751 SLEE RD                                                                                                      ONSTED             MI   49265‐9535
STANLEY SHIMKUS                  30166 WILLOW SPRINGS RD                                                                                           FLAT ROCK          MI   48134‐2745
STANLEY SHIVERS                  561 BAYS FORK RD                                                                                                  BOWLING GREEN      KY   42103‐9033
STANLEY SHOEMAKER                439 E MAIN ST                                                                                                     BAINBRIDGE         OH   45612‐9456
STANLEY SIBINSKI                 17892 EVANS RD                                                                                                    TONGANOXIE         KS   66086‐5168
STANLEY SIDELINKER               1350 NOKOMIS WAY                                                                                                  WATERFORD          MI   48328‐4254
STANLEY SIEFKER                  3144 INGERSOLL RD                                                                                                 LANSING            MI   48906‐9142
STANLEY SIKORSKI                 227 E CENTER STREET                  PO BOX 43                                                                    WAUTOMA            WI   54982
STANLEY SILVERMAN                C/O LYNNE KIZIS ESQ                  WILENTZ GOLDMAN AND SPITZER   90 WOODBRIDGE CENTER                           WOODBRIDGE         NJ   07095
                                                                                                    DRIVE
STANLEY SIMMONS                  9417 FARLEY AVE                                                                                                   KANSAS CITY        MO   64138‐4809
STANLEY SIMONS                   2828 E CROWN DR                                                                                                   TRAVERSE CITY      MI   49684‐7126
STANLEY SIMPSON                  27727 MICHIGAN AVE APT 330                                                                                        INKSTER            MI   48141‐2268
STANLEY SINGLETON                372 JOHN GOLDEN RD                                                                                                TEMPLE             GA   30179‐2534
STANLEY SIPES                    PO BOX 597                                                                                                        LINDEN             MI   48451‐0597
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STANLEY SITAR                         BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS       OH 44236
STANLEY SKALA                         769 SE FALLON DR                                                                         PORT ST LUCIE    FL 34983‐2779
STANLEY SKIBICKI                      6848 WINTHROP ST                                                                         DETROIT          MI 48228‐5232
STANLEY SKOWRON JR                    266 BISHOP ST                                                                            FRAMINGHAM       MA 01702‐6513
STANLEY SKRZEC                        10024 BOG IRON DRIVE                                                                     MILLSBORO        DE 19966‐4261
STANLEY SKRZYPEK                      18801 COTHERMAN LAKE RD                                                                  THREE RIVERS     MI 49093‐9030
STANLEY SLAWINSKI                     132 PRESS AVE                                                                            BROWNS MILLS     NJ 08015‐4151
STANLEY SLUDER                        195 PARSON RD                                                                            WAYNESBURG       KY 40489
STANLEY SLUITER                       33840 S GARCIA ST UNIT 348                                                               PORT ISABEL      TX 78578‐4331
STANLEY SMALEC                        41130 EXETER CT                                                                          NORTHVILLE       MI 48168‐2313
STANLEY SMITH                         7819 WETZEL FARM RD                                                                      CLAYTON          OH 45315‐8984
STANLEY SMITH                         7464 SCHOOL AVE                                                                          BALTIMORE        MD 21222‐3116
STANLEY SMITH                         5930 KINGS HWY                                                                           CLEVELAND        OH 44130‐1713
STANLEY SMITH                         87 E PRIVATE ROAD 925 N                                                                  BRAZIL           IN 47834‐8334
STANLEY SMITH                         4070 CROSS RD                                                                            WHITE LAKE       MI 48386‐1204
STANLEY SMITH                         505 ABINGDON ST                                                                          CHESANING        MI 48616‐1604
STANLEY SMITH                         PO BOX 311174                                                                            FLINT            MI 48531‐1174
STANLEY SNIKOSKY                      508 W ARCH ST                                                                            FRACKVILLE       PA 17931‐2009
STANLEY SOLOCINSKI                    1104 ADELINE ST                                                                          DETROIT          MI 48203‐1553
STANLEY SOSTAK                        664 N OLDEN AVE                                                                          TRENTON          NJ 08638‐4332
STANLEY SOWA                          5801 CABOT ST                                                                            DETROIT          MI 48210‐1892
STANLEY SPALDING                      9881 S AIRPORT RD                                                                        ATLANTA          MI 49709‐9003
STANLEY SPARKMAN                      8640 CHAMBERLAIN ROAD                                                                    FRANKLIN         OH 45005‐3215
STANLEY SPEARS                        511 CLEAR CREEK DR                                                                       DANVILLE         IN 46122‐9006
STANLEY SPENCER                       11952 CRUM RD                                                                            WINCHESTER       OH 45697‐9628
STANLEY SPENCER                       6224 S VASSAR RD                                                                         VASSAR           MI 48768‐9664
STANLEY SPENCER                       11952 CRUM ROAD                                                                          WINCHESTER       OH 45697‐9628
STANLEY SPICER                        5279 MARCONI ST                                                                          CLARKSTON        MI 48348‐3843
STANLEY SPILIS                        17608 WENTWORTH AVE                                                                      LANSING           IL 60438‐2057
STANLEY SPIRES                        953 BROADMEAD AVE                                                                        DAYTON           OH 45404‐2503
STANLEY SR, ALBERT J                  2332 CASHUA FERRY RD                                                                     DARLINGTON       SC 29532‐8711
STANLEY STABRAWA                      8319 161ST PL                                                                            TINLEY PARK       IL 60477‐8279
STANLEY STACK                         109 OAK ST                                                                               MEDINA           NY 14103‐1225
STANLEY STAMBAUGH                     100 POCAHONTAS TRL                                                                       PRUDENVILLE      MI 48651‐9730
STANLEY STANFORD                      PO BOX 1566                                                                              ATHENS           AL 35612‐6666
STANLEY STANONIS                      6683 NORTHPOINT DR                                                                       TROY             MI 48085‐1421
STANLEY STANUL                        50 E 21ST ST APT 622                                                                     BAYONNE          NJ 07002‐3732
STANLEY STAREK                        1413 MAYBERRY LN                                                                         FRANKLIN         TN 37064‐9612
STANLEY STEEMER                                                       3730 HONEYSUCKLE LN                                                       GA 30340
STANLEY STEEMER INTERNATIONAL, INC.   RALPH MELVIN                    5700 SHIER RINGS RD                                      DUBLIN           OH 43016‐1234

STANLEY STEEMER OF DETROIT INC        24800 NORTH INDUSTRIAL DRIVE                                                             FARMINGTN HLS   MI   48335‐1557
STANLEY STEEMER OF DETROIT INC        24800 N INDUSTRIAL DR                                                                    FARMINGTON      MI   48335‐1557
STANLEY STEEMER SAGINAW               7536 GRATIOT RD STE 1                                                                    SAGINAW         MI   48609‐6949
STANLEY STEPHENSON                    89 COUNTRY ROAD 35                                                                       MOUNT HOPE      AL   35651
STANLEY STEPP                         702 HERITAGE LN                                                                          ANDERSON        IN   46013‐1419
STANLEY STERNKOWSKI                   BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS      OH   44236
STANLEY STEVENS                       46537 ECORSE RD TRLR 23                                                                  BELLEVILLE      MI   48111‐5118
STANLEY STEVENSON                     6 DARDENNE DR                                                                            SAINT PETERS    MO   63376‐1435
STANLEY STEWART                       5848 BOEPTCHER COURT                                                                     INDIANAPOLIS    IN   46228
STANLEY STEWART                       24206 SUSAN DR                                                                           FARMINGTN HLS   MI   48336‐2812
STANLEY STIDD                         10174 DEER RUN RD                                                                        POLAND          IN   47868‐7470
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Name                               Address1                              Address2                      Address3               Address4         City                 State Zip
STANLEY STOKER                     2005 MURRAY ST                                                                                              GRAND BLANC           MI 48439‐9389
STANLEY STOKOSZYNSKI               3007 PALMER RD                                                                                              STANDISH              MI 48658‐9655
STANLEY STONE                      1238 S TERRACE ST                                                                                           JANESVILLE            WI 53546‐5537
STANLEY STOVER                     2431 LINDA DR NW                                                                                            WARREN                OH 44485‐1708
STANLEY STRADFORD                  309 E MADISON AVE                                                                                           OWENSVILLE            MO 65066‐1435
STANLEY STRALEY E (429863)         GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                           NORFOLK               VA 23510
                                                                         STREET, SUITE 600
STANLEY STRAND                     5656 DEERWOOD                                                                                               COMMERCE TWP         MI   48382‐1017
STANLEY STREAKS                    6 SADDLEWOOD CT                                                                                             HILTON HEAD ISLAND   SC   29926‐2607
STANLEY STROBEL                    4290 N HOCKADAY RD                                                                                          GLADWIN              MI   48624
STANLEY STRUKAMP                   4020 TWIN LAKES CIR                                                                                         CLAYTON              OH   45315‐8758
STANLEY STURTEVANT JR              6485 CLOVERLEAF DR                                                                                          LOCKPORT             NY   14094‐6120
STANLEY SUDOL                      4123 DEMASTUS LN                                                                                            COLUMBIA             TN   38401‐8413
STANLEY SUFFRIDGE                  8267 S HIGHWAY 1680                                                                                         JAMESTOWN            KY   42629‐7937
STANLEY SULEWSKI                   130 CASCADE SPRING RD                                                                                       HOHENWALD            TN   38462‐2016
STANLEY SULLIVAN                   133 MAUDLIN STREET                                                                                          NOVI                 MI   48377‐1845
STANLEY SULOWSKI                   15 LAURENTIAN DR                                                                                            BUFFALO              NY   14225‐2755
STANLEY SUMA JR                    520 SHOREWOOD DR                                                                                            SHOREWOOD            IL   60404‐9727
STANLEY SURANTAS IRA FCC AS CUST   4691 BLACK OAK TRAIL                                                                                        ROCKFORD             IL   61101
STANLEY SUTPHIN                    175 FALLING LEAF RD                                                                                         JAMESTOWN            TN   38556‐7414
STANLEY SWAN                       4266 EDGAR RD                                                                                               LESLIE               MI   49251‐9778
STANLEY SWBONI                     9167 BRIAR DR                                                                                               STREETSBORO          OH   44241‐5548
STANLEY SWIERKOWSKI                6813 CORTLAND AVENUE                                                                                        ALLEN PARK           MI   48101‐2311
STANLEY SWIGERT                    9243 SCHLOTTMAN RD                                                                                          LOVELAND             OH   45140‐9772
STANLEY SWINFORD                   21128 OVERDORF RD                                                                                           NOBLESVILLE          IN   46062‐8834
STANLEY SWITAJ                     523 SPRUCE ST                                                                                               KULPMONT             PA   17834
STANLEY SYDNEY                     605 RIDGEWOOD DR                                                                                            RAYMORE              MO   64083‐8413
STANLEY SYROKOSZ                   14950 W MOUNTAIN VIEW BLVD APT 7111                                                                         SURPRISE             AZ   85374‐4734

STANLEY SYSAK                      75A #3 GARDEN VILLAGE DR                                                                                    CHEEKTOWAGA          NY   14227
STANLEY SYSAK                      7711 COVERT RD NE                                                                                           MANCELONA            MI   49659‐9518
STANLEY SZATKOWSKI                 47 ALDER ST                                                                                                 YONKERS              NY   10701
STANLEY SZCZUBLEWSKI               S 5791 EAST LANE                                                                                            LAKE VIEW            NY   14085
STANLEY SZKOTNICKI                 10 FOX TAIL CT                                                                                              RIVERWOODS           IL   60015‐3550
STANLEY SZOTT                      903 CASTLE SHANNON BLVD                                                                                     PITTSBURGH           PA   15234
STANLEY SZULC                      3604 JOHN F KENNEDY BLVD                                                                                    JERSEY CITY          NJ   07307‐3302
STANLEY SZUPA                      #1                                    2 PULTENEY STREET                                                     HAMMONDSPORT         NY   14840‐9318
STANLEY SZWED                      18167 DONCASTER CT                                                                                          BROWNSTOWN           MI   48193‐8219
STANLEY SZYDLOWSKI                 32 PARKWAY DR                                                                                               CLARK                NJ   07066‐1935
STANLEY SZYDLOWSKI                 C/O WILENTZ GOLDMAN & SPITZER         ATTN D. PACHECO               90 WOODBRIDGE CENTER                    WOODBRIDGE           NJ   07095
                                                                                                       DRIVE
STANLEY SZYMANKIEWICZ              47217 NAPOLI LN                                                                                             MACOMB               MI   48044‐2672
STANLEY SZYMANSKI                  106 6TH AVE                                                                                                 LANCASTER            NY   14086‐3049
STANLEY SZYMANSKI                  8373 JEFFERSON CT                                                                                           WARREN               MI   48093‐6786
STANLEY SZYMANSKI                  38148 LEO ST                                                                                                DADE CITY            FL   33525‐6029
STANLEY SZYNKOWICZ                 50 TUNXIS RD                                                                                                BRISTOL              CT   06010‐7142
STANLEY SZYPER                     80 LUCY LN                                                                                                  CHEEKTOWAGA          NY   14225‐4438
STANLEY T ALDRICH                  11401 VISTA DRIVE                                                                                           FENTON               MI   48430‐2488
STANLEY T OGINSKY                  3401 N DURAND RD                                                                                            CORUNNA              MI   48817‐9759
STANLEY T STRICKLIN                2005 SCANLON DRIVE                                                                                          JACKSON              MS   39204‐4421
STANLEY TADEMY                     794 CONISBURGH CT                                                                                           STONE MTN            GA   30087‐4968
STANLEY TANSKI                     43162 WASHINGTON WAY                                                                                        CANTON               MI   48187‐3058
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Name                            Address1                             Address2                      Address3      Address4         City              State Zip
STANLEY TARALA                  34462 SHARON AVE                                                                                  PAW PAW            MI 49079‐9576
STANLEY TAYLOR                  220 N CLINTON ST                                                                                  GRAND LEDGE        MI 48837‐1639
STANLEY TAYLOR                  4032 N MAIN ST APT 605                                                                            DAYTON             OH 45405‐1607
STANLEY TAYLOR                  THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES             22ND FLOOR                     BALTIMORE          MD 21201

STANLEY TERRELL                 17 BEAUDETTE AVE                                                                                  PONTIAC           MI    48341‐2181
STANLEY TERRY                   7641 CAROLLING WAY                                                                                INDIANAPOLIS      IN    46237‐3426
STANLEY THEISEN                 1129 ROBERTS BEND RD                 C/O DEBORAH THEISEN                                          BURNSIDE          KY    42519‐9544
STANLEY THELEN                  1803 HIGH POINTE DR                                                                               OXFORD            MI    48371‐5836
STANLEY THELEN                  PO BOX 551                                                                                        WESTPHALIA        MI    48894‐0551
STANLEY THOMAS                  9308 SIMMS RD                                                                                     BALTIMORE         MD    21234‐1322
STANLEY THOMAS ASSOCIATES INC   37261 MAPLE LEAF CT                                                                               CLINTON TWP       MI    48036‐1614
STANLEY THOMAS S (400735)       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA    23510
                                                                     STREET, SUITE 600
STANLEY THOMPSON                1071 ROYALCREST DR                                                                                FLINT             MI    48532‐3244
STANLEY THOMPSON                104 EASY LIVING LN                                                                                DOWNSVILLE        LA    71234‐3018
STANLEY THOMPSON                23352 LEXINGTON AVE                                                                               EAST DETROIT      MI    48021‐1968
STANLEY THOMPSON                465 DOUGLAS ST                                                                                    JANESVILLE        WI    53545‐4209
STANLEY THOMPSON                13202 WINDING VINE RUN                                                                            FORT WAYNE        IN    46845‐8711
STANLEY THOMPSON SHIELS         MOTLEY RICE LLC                      28 BRIDGESIDE BLVD            PO BOX 1792                    MT PLEASANT       SC    29465
STANLEY TIFER                   11 CREEK DR                                                                                       NEW CASTLE        DE    19720‐8721
STANLEY TOMASZEWSKI             702 HOMEDALE ST                                                                                   SAGINAW           MI    48604‐2348
STANLEY TOMCHEK                 650 FOREST ST                                                                                     COALPORT          PA    16627
STANLEY TOMINSKY JR             7050 ELIZABETH LAKE RD                                                                            WATERFORD         MI    48327‐3723
STANLEY TORINESE                3312 RICHMOND ST                                                                                  MONROE            LA    71202‐5272
STANLEY TRUSTY                  8310 GOAT HOLLOW RD                                                                               MARTINSVILLE      IN    46151‐7879
STANLEY TRZASKOS                8419 CENTRALIA ST                                                                                 DEARBORN HTS      MI    48127‐1185
STANLEY TUCKER                  24100 MOORESVILLE RD                                                                              ATHENS            AL    35613‐3162
STANLEY TUREK                   6854 KILLARNEY DR                                                                                 TROY              MI    48098‐2122
STANLEY TURNER                  PO BOX 261                                                                                        LENNON            MI    48449‐0261
STANLEY TWOREK                  PO BOX 669151                                                                                     MARIETTA          GA    30066‐0103
STANLEY TYMRAK                  1825 INNISBROOK LN                                                                                SARASOTA          FL    34234‐3029
STANLEY UNSEL                   1160 SHINNECOCK CRST                                                                              AVON              IN    46123‐7075
STANLEY V JORDAN                2001 MCCULLOUGH RD SE                                                                             BOGUE CHITTO      MS    39629
STANLEY VALENTINE               3956 AURELIUS RD                                                                                  ONONDAGA          MI    49264‐9720
STANLEY VANDERMARK              6287 SHAWNEE RD                                                                                   N TONAWANDA       NY    14120‐9597
STANLEY VANDIVER                3807 E 4TH ST                                                                                     DAYTON            OH    45403‐2833
STANLEY VANWORMER               1337 W HURD RD                                                                                    CLIO              MI    48420‐1817
STANLEY VAUGHN                  35002 E STRINGTOWN RD                                                                             LONE JACK         MO    64070‐8144
STANLEY VAUGHT                  4513 SE 20TH ST                                                                                   DEL CITY          OK    73115‐4045
STANLEY VELENSKI                1317 ROSE OF SHARON CT                                                                            PLEASANT GARDEN   NC    27313‐8216
STANLEY VENTON                  1784 N IONIA RD                                                                                   VERMONTVILLE      MI    49096‐9507
STANLEY VERBICK &               KATHY VERBICK JT TENWROS             13 IRIS LANE                                                 BOBBITT           MN    55706
STANLEY VICKI                   2510 N MAPLE GROVE HWY                                                                            HUDSON            MI    49247‐9730
STANLEY VID/ALLENTWN            11 GRAMMES RD                        P.O. BOX 1151                                                ALLENTOWN         PA    18103‐4760
STANLEY VIDMAR STORAGE          11 GRAMMES RD                                                                                     ALLENTOWN         PA    18103‐4760
TECHNOLOGIES
STANLEY VINING                  PO BOX 404                                                                                        SOCIAL CIRCLE     GA 30025‐0404
STANLEY VOLLERTSEN
STANLEY VONBOKEL                117 BLUE GRASS LANE                                                                               BELLEVILLE         IL   62220‐3002
STANLEY W COLE                  C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY, STE 600                                   HOUSTON            TX   77007
                                BOUNDAS, LLP
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Name                         Address1                             Address2                     Address3                   Address4         City            State Zip
STANLEY W HILL               2714 DORSEY PEEK RD                                                                                           GAINESVILLE      GA 30507‐7928
STANLEY W JENKINS            1745 GOWENS RD                                                                                                GADSDEN          AL 35903‐4103
STANLEY W POWELL             6069 DRYDEN ROAD                                                                                              DRYDEN           MI 48428
STANLEY WACHOWICZ            13385 W TOWNLINE RD                                                                                           SAINT CHARLES    MI 48655‐9772
STANLEY WACHOWICZ JR         14700 W TOWNLINE RD                                                                                           SAINT CHARLES    MI 48655‐9761
STANLEY WADE                 47590 ADRIANA CT                                                                                              CANTON           MI 48187‐1336
STANLEY WADOLOWSKI           238 TOPAZ CIR                                                                                                 CANFIELD         OH 44406‐9676
STANLEY WAJDA                11350 REECK RD APT 84                                                                                         SOUTHGATE        MI 48195‐2286
STANLEY WALCZAKOWSKI         41018 E ROSEWOOD DR                                                                                           CLINTON TWP      MI 48038‐4900
STANLEY WALCZAKOWSKI         41018 EAST ROSEWOOD DRIVE                                                                                     CLINTON TWP      MI 48038‐4900
STANLEY WALEK                126 ELECTRIC AVE                                                                                              BUFFALO          NY 14206‐3305
STANLEY WALEK                121 ONTARIO DR                                                                                                CHEEKTOWAGA      NY 14225‐1778
STANLEY WALKER               3756 15TH ST                                                                                                  ECORSE           MI 48229‐1332
STANLEY WALLACE              6906 E 950 N                                                                                                  WILKINSON        IN 46186‐9742
STANLEY WALLER               4402 CURTIS LOOP                                                                                              BOSSIER CITY     LA 71112‐4236
STANLEY WALLS                4381 W BROCKER RD                                                                                             METAMORA         MI 48455‐9796
STANLEY WALOWSKI             19 RACE ROCK RD                                                                                               WATERFORD        CT 06385‐3222
STANLEY WARD                 2378 SUNLADEN DR                                                                                              GROVE CITY       OH 43123‐1585
STANLEY WARNER               9893 GULFSTREAM BLVD                                                                                          ENGLEWOOD        FL 34224‐9213
STANLEY WARNER               6227 CHABLIS DR                                                                                               LIBERTY TWP      OH 45011‐5258
STANLEY WARZECHA JR          3153 N MILFORD RD                                                                                             HIGHLAND         MI 48357‐3550
STANLEY WASHAM               1255 JONES CHAPEL RD.                                                                                         PIEDMONT         AL 36272
STANLEY WASIK                42045 WOODBROOK DR                                                                                            CANTON           MI 48188‐2613
STANLEY WATERS               PO BOX 5244                                                                                                   FLINT            MI 48505‐0244
STANLEY WATERS               PO BOX 24                                                                                                     SEAMAN           OH 45679‐0024
STANLEY WATKINS              642 E LYNDON AVE                                                                                              FLINT            MI 48505‐2952
STANLEY WAZNY                2711 CHURCHILL LN APT 4                                                                                       SAGINAW          MI 48603‐2677
STANLEY WEBSTER              8057 CARDALE WAY                                                                                              SACRAMENTO       CA 95829‐1203
STANLEY WEISBROT REV TRUST   STANLEY WEISBROT TTEE & HOPE         U/A/D 5/3/1996               2551 NW 103 AVE                             SUNRISE          FL 33322
                             WEISBROT TTEE
STANLEY WELCH                3000 WELLAND DR                                                                                               SAGINAW         MI   48601‐6914
STANLEY WELLS                PO BOX 785                                                                                                    CELINA          TN   38551‐0785
STANLEY WENGLIKOWSKI         1271 PARISH RD                                                                                                KAWKAWLIN       MI   48631‐9434
STANLEY WENTZEL              586 MAIN ST                                                                                                   KINDE           MI   48445‐9502
STANLEY WESTCOTT             BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS      OH   44236
STANLEY WETHINGTON           5144 W 50 S                                                                                                   LEBANON         IN   46052‐9458
STANLEY WHITAKER             2641 LIBERTY TRL                                                                                              PLAINFIELD      IN   46168‐8025
STANLEY WHITE                PO BOX 93                                                                                                     RAYMONDVILLE    NY   13678‐0093
STANLEY WHITE                6412 WILDWOOD RD                                                                                              ALGER           MI   48610‐9569
STANLEY WICKHAM              218 WALLACE ST                                                                                                WILLIAMSTON     MI   48895‐1632
STANLEY WIECH                9374 RIVERVIEW                                                                                                REDFORD         MI   48239‐1250
STANLEY WIECHEC              1303 17TH ST                                                                                                  BAY CITY        MI   48708‐7339
STANLEY WIERZBICKI           1045 ELLIS PKWY                                                                                               EDISON          NJ   08820‐1347
STANLEY WILHITE              5091 ROSSWAY DR                                                                                               FLINT           MI   48506‐1527
STANLEY WILKOWSKI JR         2141 BRADLEY AVE                                                                                              YPSILANTI       MI   48198‐9233
STANLEY WILLIAMS             4214 FLOWERTON RD                                                                                             BALTIMORE       MD   21229‐1501
STANLEY WILLIAMS             16388 MARR RD                                                                                                 ALLENTON        MI   48002‐4003
STANLEY WILLIAMS             16364 HARDEN CIR                                                                                              SOUTHFIELD      MI   48075‐3078
STANLEY WILLIAMS             32101 RIVERDALE ST                                                                                            HARRISON TWP    MI   48045‐2899
STANLEY WILLIAMSON           873 SILLIMAN RD                                                                                               PLYMOUTH        OH   44865‐9670
STANLEY WILLIS STUTSMAN      LEVIN SIMES KAISER AND GORNICK LLP   ATTN JEFFREY KAISER          44 MONTGOMERY ST 36TH FL                    SAN FRANCISCO   CA   94104
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Name                             Address1                       Address2            Address3         Address4         City               State Zip
STANLEY WILMOTH                  1351 RAVEN HILL RD                                                                   TAZEWELL            TN 37879‐6340
STANLEY WILSON                   221 PROSPECT AVE                                                                     MASSENA             NY 13662‐2512
STANLEY WILSON                   HC 63 BOX 101                                                                        MOYERS              WV 26815‐9505
STANLEY WILSON                   126 N WEST ST                                                                        VASSAR              MI 48768‐1119
STANLEY WILSON                   4010 GROVELAND RD                                                                    ORTONVILLE          MI 48462‐8442
STANLEY WINKLER                  320 LOGAN ST                                                                         BETHALTO             IL 62010‐1518
STANLEY WINSTON                  3831 BENNETT DR                                                                      INDIANAPOLIS        IN 46254‐2903
STANLEY WISE SR                  4010 HILTON RD                                                                       BALTIMORE           MD 21215‐7507
STANLEY WISNIEWSKI               5854 S GRAHAM RD                                                                     SAINT CHARLES       MI 48655‐9537
STANLEY WISNIEWSKI               15153 PEGGY CT                                                                       STERLING HEIGHTS    MI 48312‐4434
STANLEY WITEK                    11682 RAN ST                                                                         TAYLOR              MI 48180‐4105
STANLEY WOJCIECHOWSKI            54 FREDERICK RD                                                                      TONAWANDA           NY 14150‐4215
STANLEY WOLANZYK                 2460 ANDREWS DR NE                                                                   WARREN              OH 44481‐9342
STANLEY WOLANZYK                 2460 ANDREWS DR NE                                                                   WARREN              OH 44481‐9342
STANLEY WOLFE                    66 PLEASANT ST                                                                       WAKEMAN             OH 44889‐8995
STANLEY WOOD CHEVROLET‐PONTIAC   290 S CENTRAL AVE                                                                    BATESVILLE          AR 72501‐6806
COMP
STANLEY WOOD CHEVROLET‐PONTIAC   290 S CENTRAL AVE                                                                    BATESVILLE         AR 72501‐6806
COMPANY
STANLEY WOOD CHEVROLET‐PONTIAC   SCOTT WOOD                     290 S CENTRAL AVE                                     BATESVILLE         AR 72501‐6806
COMPANY
STANLEY WOODARD                  PO BOX 108                                                                           SHARPSVILLE        IN   46068‐0108
STANLEY WOODCOCK                 4173 BEACH RIDGE RD                                                                  N TONAWANDA        NY   14120‐9574
STANLEY WOOLARD                  840 MILL ST                                                                          ORTONVILLE         MI   48462‐9762
STANLEY WORKS INC, THE           2195 EASTVIEW PKWY STE 103                                                           CONYERS            GA   30013‐5769
STANLEY WORKS INC, THE           5335 AVION PARK DR                                                                   CLEVELAND          OH   44143‐1916
STANLEY WORKS INC, THE           6161 E 75TH ST                 PO BOX 50444                                          INDIANAPOLIS       IN   46250‐2701
STANLEY WORKS INC, THE           PAUL FLADUNG                   7707 NORTH AUSTIN                                     DETROIT            MI   48209
STANLEY WORKS THE                5335 AVION PARK DR                                                                   CLEVELAND          OH   44143‐1916
STANLEY WORKS, THE               2195 EASTVIEW PKWY STE 103                                                           CONYERS            GA   30013‐5769
STANLEY WORKS, THE               5335 AVION PARK DR                                                                   CLEVELAND          OH   44143‐1916
STANLEY WORKS, THE INC           11 GRAMMES RD                  PO BOX 1151                                           ALLENTOWN          PA   18103‐4760
STANLEY WOZNIAK                  3313 MILLS ACRES ST                                                                  FLINT              MI   48506‐2132
STANLEY WRAY                     PO BOX 20094                                                                         LANSING            MI   48901‐0694
STANLEY WRIGHT                   23 WALNUT ST                                                                         PENNS GROVE        NJ   08069‐1719
STANLEY WYATT                    21761 LASALLE ST                                                                     WARREN             MI   48089
STANLEY YASKIVICH                116 WORTHY AVE                                                                       MEDINA             NY   14103‐1344
STANLEY YOUNG                    233 GLENWOOD AVE                                                                     FENTON             MI   48430‐3225
STANLEY YOUNT                    216 VILLA DR                                                                         LAKE ST LOUIS      MO   63367‐1354
STANLEY ZAKENS                   2606 HOODS MILL CT APT 203                                                           ODENTON            MD   21113‐3924
STANLEY ZAMOJSKI                 4571 TUCKER RD                                                                       SYRACUSE           NY   13215‐9799
STANLEY ZEBROSKI                 1982 CAROL DR                                                                        WILMINGTON         DE   19808‐4885
STANLEY ZEISLOFT                 3180 MINTON RD                                                                       HAMILTON           OH   45013‐4348
STANLEY ZELASKO JR               5308 LAKE AVE                                                                        ORCHARD PARK       NY   14127‐1041
STANLEY ZIAYA                    3170 COVENTRY DR                                                                     BAY CITY           MI   48706‐9226
STANLEY ZIECINA JR               8326 RATHBUN RD                                                                      BIRCH RUN          MI   48415‐8420
STANLEY ZIELINSKI                3624 GARRISON RD                                                                     DURAND             MI   48429‐9127
STANLEY ZIELINSKY                2619 PINE RIDGE RD                                                                   W BLOOMFIELD       MI   48324‐1958
STANLEY ZIELONKA                 15158 TOWERING OAKS DR                                                               SHELBY TOWNSHIP    MI   48315‐1634
STANLEY ZNIDARSIC                7445 JULIAN CT                                                                       MENTOR             OH   44060‐7138
STANLEY ZUB                      7967 SPARTAN DR                                                                      BOARDMAN           OH   44512‐5865
STANLEY ZUCZEK                   PO BOX 354                     110 PINE LANE                                         PINEVILLE          PA   18946‐0354
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STANLEY ZUHLKE          2570 DALEY RD                                                                                     LAPEER              MI 48446‐8340
STANLEY ZYGLIS          1259 WALDEN AVE                                                                                   BUFFALO             NY 14211‐2819
STANLEY ZYNDA JR        154 WOODLAWN AVE                                                                                  DEPEW               NY 14043‐3932
STANLEY ZYSK            20 MCEVOY RD                                                                                      EDISON              NJ 08837‐2759
STANLEY'S GARAGE INC.   1125 PECAN ST                                                                                     COLORADO SPRINGS    CO 80904‐3707
STANLEY'S GARAGE INC.   1125 PECAN ST                                                                                     COLORADO SPRINGS    CO 80904‐3707
STANLEY, ADAM G         5411 NICHOLS RD                                                                                   SWARTZ CREEK        MI 48473‐8524
STANLEY, ADAM T         220 SAGINAW APT B11                                                                               GRAND LEDGE         MI 48837
STANLEY, ADAM TRENT     220 SAGINAW APT B11                                                                               GRAND LEDGE         MI 48837
STANLEY, ALEX WAYNE     1340 FINGER LKS                                                                                   DAYTON              OH 45458‐3120
STANLEY, ALFORD R       8633 COUNTY ROAD 109                                                                              ALVARADO            TX 76009‐6968
STANLEY, ALICE          2621 CRYSTAL ST                                                                                   ANDERSON            IN 46012‐1305
STANLEY, ALICE          80 ED GRAVES RD                                                                                   MURPHY              NC 28906‐9350
STANLEY, ALTHEARE       413 E. MOHAMMAD ALI                     APT 313 BLD A                                             LOUISVILLE          KY 40202
STANLEY, ANNE E         4313 ESTA DR                                                                                      FLINT               MI 48506‐1457
STANLEY, ANNIE M        11615 HARVARD AVE                                                                                 CLEVELAND           OH 44105‐5457
STANLEY, ARNOLD W       RR 2 BOX 47                                                                                       PERRYSVILLE         OH 44864
STANLEY, ARTHUR T       448 N PLEASANT VALLEY AVE                                                                         DAYTON              OH 45404‐2432
STANLEY, AUDREY         3821 ENVIRON BLVD                       204                                                       LAUDERHILL          FL 33319
STANLEY, AUDREY         3821 ENVIRON BLVD                       APT 204                                                   LAUDERHILL          FL 33319‐4217
STANLEY, AVA R          4602 91ST ST                                                                                      LUBBOCK             TX 79424
STANLEY, B M            517 161ST AVE                                                                                     REDINGTON BEACH     FL 33708‐1658
STANLEY, BARBARA J      9710 CAROLWOOD DR                                                                                 SAN ANTONIO         TX 78213
STANLEY, BENJAMIN T     22 WESTRAY DR                                                                                     NASHUA              NH 03062‐3020
STANLEY, BENNY OTIS     C/O LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                BIRMINGHAM          MI 48009‐5394
                                                                406
STANLEY, BERNARD W      3820 BLUE RIDGE BLVD                                                                              INDEPENDENCE       MO   64052‐2357
STANLEY, BETTE J        2427 RITTER DR                                                                                    ANDERSON           IN   46012‐3238
STANLEY, BETTY          509 W. BROWN STREET                                                                               TECUMSEH           MI   49286‐1005
STANLEY, BETTY          509 BROWN ST                                                                                      TECUMSEH           MI   49286‐1005
STANLEY, BILL           GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                STREET, SUITE 600
STANLEY, BILLIE C       420 GIBBS ST                                                                                      PLAINFIELD         IN   46168‐1308
STANLEY, BILLY          91 DOGWOOD TRAIL CT                                                                               TARBORO            NC   27886
STANLEY, BOBBIE J       962 ALPINE DR                                                                                     JANESVILLE         WI   53546‐1750
STANLEY, BOBBIE JO      962 ALPINE DR                                                                                     JANESVILLE         WI   53546‐1750
STANLEY, BONITA L       13547 COUNTY ROAD 4178                                                                            LINDALE            TX   75771‐6121
STANLEY, BONITA L       13547 CR. 4178                                                                                    LINDALE            TX   75771‐6121
STANLEY, BONNIE L       621 W ATHERTON RD                                                                                 FLINT              MI   48507‐2406
STANLEY, BRIAN L        4115 WOODMERE DR                                                                                  YOUNGSTOWN         OH   44515‐3516
STANLEY, CALVIN W       PO BOX 405                                                                                        WOLFE CITY         TX   75496‐0405
STANLEY, CARL           39 IROQUOIS DR                                                                                    CHEROKEE VILLAGE   AR   72529‐5235
STANLEY, CARMALETA E    3215 W MOUNT HOPE AVE APT 234                                                                     LANSING            MI   48911‐1280
STANLEY, CAROL A        2065 KITTRIDGE AVE                                                                                COLORADO SPRINGS   CO   80919‐3889
STANLEY, CAROL A        16 E 5TH ST                                                                                       PERU               IN   46970
STANLEY, CAROL E        11270 S WEST BAY SHORE DR                                                                         TRAVERSE CITY      MI   49684‐5238
STANLEY, CHARLENE       12725 W CO RD 550 N                                                                               PARKER             IN   47368
STANLEY, CHARLES A      826 MYERS ST                                                                                      ANDERSON           IN   46012‐4161
STANLEY, CHARLES E      3909 BANCROFT RD                                                                                  BALTIMORE          MD   21215‐2705
STANLEY, CHARLES E      2600 ROBBINS STATION RD                                                                           NO HUNTINGDON      PA   15642‐2822
STANLEY, CHARLES H      425 STROUSE LN                                                                                    SANDUSKY           OH   44870‐1420
STANLEY, CHARLES J      5736 LAKE BREEZE AVE                                                                              LAKELAND           FL   33809
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Name                      Address1                            Address2          Address3                     Address4         City               State Zip
STANLEY, CHARLES T        6036 E PIERSON RD                                                                                   FLINT               MI 48506‐2250
STANLEY, CHARLES THOMAS   6036 E PIERSON RD                                                                                   FLINT               MI 48506‐2250
STANLEY, CHARON L         132 MAPLE ST                                                                                        NEWTON FALLS        OH 44444‐1519
STANLEY, CHARON L         132 MAPLE                                                                                           NEWTON FALLS        OH 44444‐4444
STANLEY, CHERYL B         228 GILMORE RD                                                                                      ANDERSON            IN 46016‐5810
STANLEY, CHRISTINA N
STANLEY, CHRISTINE E      PO BOX 1883                                                                                         LADY LAKE          FL   32158‐1883
STANLEY, CLARENCE E       4800 JANICE DR                                                                                      COLLEGE PARK       GA   30337‐5314
STANLEY, CLIFTON R        4458 WOOD ST                                                                                        WILLOUGHBY         OH   44094‐5818
STANLEY, CLYDE            PO BOX 45                                                                                           BURDINE            KY   41517‐0045
STANLEY, CONSTANCE J      4505 YATES RD                                                                                       COLLEGE PARK       GA   30337‐5211
STANLEY, DANIEL E         204 E 6TH ST                                                                                        ALEXANDRIA         IN   46001‐2609
STANLEY, DANIEL EUGENE    204 E 6TH ST                                                                                        ALEXANDRIA         IN   46001‐2609
STANLEY, DANIEL F         4280 FARM MEADOWS CT                                                                                OKEMOS             MI   48864‐2956
STANLEY, DANIEL L         2985 PEPPERHILL RD                                                                                  AKRON              OH   44312‐2945
STANLEY, DANNY B          1019 CHESTNUT ST                                                                                    ANDERSON           IN   46012‐4122
STANLEY, DANNY E          6231 BEACON TREE CT                                                                                 HUBER HEIGHTS      OH   45424‐1339
STANLEY, DARLA M          525 RICHMOND ST                                                                                     PERRYVILLE         MD   21903‐2743
STANLEY, DAVE W           2212 SMELCER LN                                                                                     SEVIERVILLE        TN   37876‐6320
STANLEY, DAVID
STANLEY, DAVID            7 NW WENTWOOD HILL DR                                                                               LAWTON             OK 73505‐9500
STANLEY, DAVID            C/O LIBERTY MUTUAL FIRE INSURANCE   ATTN: DAWN PERL   5050 W TILGHMAN ST STE 200                    ALLENTOWN          PA 18104‐9154
                          COMPANY
STANLEY, DAVID A          PO BOX 286                                                                                          SELMA              IN   47383‐0286
STANLEY, DAVID L          743 WEATHERWOOD RD                                                                                  SYMSONIA           KY   42082‐9500
STANLEY, DAVID L          5395 HOPKINS RD                                                                                     FLINT              MI   48506‐1543
STANLEY, DAVID LEROY      5395 HOPKINS RD                                                                                     FLINT              MI   48506‐1543
STANLEY, DAVID R          1110 LAWRENCE HWY                                                                                   CHARLOTTE          MI   48813‐8855
STANLEY, DEANNA M         2212 SMELCER LN                                                                                     SEVIERVILLE        TN   37876‐6320
STANLEY, DEBRA L.         13190 DECHANT RD                                                                                    FARMERSVILLE       OH   45325‐9238
STANLEY, DELILAH E        1200 WRIGHT AVE                                                                                     ALMA               MI   48801‐1133
STANLEY, DENNIS H         2230 E MAIN ST                                                                                      MEDFORD            OR   97504‐7675
STANLEY, DENNIS L         36403 E STEINHAUSER RD                                                                              SIBLEY             MO   64088‐9599
STANLEY, DIKKI M          1126 ADAMS ST                                                                                       BOWLING GREEN      KY   42101‐2604
STANLEY, DON D            26 HATHAWAY COMMONS                                                                                 LEBANON            OH   45036‐3832
STANLEY, DONALD F         328 MCCARTY RD                                                                                      CLINTWOOD          VA   24228‐7835
STANLEY, DONALD L         26 W YALE AVE                                                                                       PONTIAC            MI   48340‐1856
STANLEY, DONNA A          51 SUNSET DR                                                                                        SPRINGFIELD        OH   45504‐5903
STANLEY, DONNA A          51 SUNSET DR.                                                                                       SPRINGFIELD        OH   45504‐5504
STANLEY, DONNA K          2864 WAREING DR                                                                                     LAKE ORION         MI   48360‐1656
STANLEY, DONNA L          10010 LAKESHORE DR                                                                                  CLERMONT           FL   34711
STANLEY, DONNALOU R       26 W YALE AVE                                                                                       PONTIAC            MI   48340‐1856
STANLEY, DOROTHY          6275 NEW TAYLOR RD                                                                                  ORCHARD PARK       NY   14127
STANLEY, DOUGLAS          2104 CARSINS RUN RD                                                                                 ABERDEEN           MD   21001‐1508
STANLEY, EDITH L          373 N SECTION ST                                                                                    SOUTH LEBANON      OH   45065‐1130
STANLEY, EDITH L          373 N. SECTION ST                                                                                   S. LEBANON         OH   45065‐1130
STANLEY, EDSOL J          PO BOX 6933                                                                                         SHALLOTTE          NC   28469‐0933
STANLEY, EDWARD           6172 MEADOWOOD DR                                                                                   GRAND BLANC        MI   48439
STANLEY, EDWARD E         400 W 6TH ST                                                                                        PORTAGEVILLE       MO   63873‐1111
STANLEY, EDWARD O         10028 W WELSH RD                                                                                    JANESVILLE         WI   53548‐8500
STANLEY, ELAINE           2151 EAST 14 MILES RD               APT 105                                                         STERLING HEIGHTS   MI   48310
STANLEY, ELIZABETH        523 N CAHUENGA BLVD                                                                                 LOS ANGELES        CA   90004‐1101
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Name                   Address1                           Address2            Address3         Address4         City            State Zip
STANLEY, ELMOUS L      1066 CRITES RD                                                                           ATKINS           AR 72823‐8098
STANLEY, EMILIA        2000 N MAIN ST                                                                           MIDLAND          TX 79705‐5714
STANLEY, ERNEST C      9149 N DORT HWY                                                                          MOUNT MORRIS     MI 48458‐1218
STANLEY, ERWIN H       13660 E ST RD                                                                            MONTROSE         MI 48457
STANLEY, ESTHER J      3204 SOUTH EARLE CRT                                                                     URBANA            IL 61802
STANLEY, ESTHER J      3204 EARLE CT                                                                            URBANA            IL 61802‐7092
STANLEY, ETHEL M       5335 HIGHLAND RD # A105                                                                  WATERFORD        MI 48327
STANLEY, FELIX         142 GOULDING AVE                                                                         BUFFALO          NY 14208‐1606
STANLEY, FLORA L       301 JONES ST APT 524A                                                                    BLUE RIDGE       GA 30513‐4652
STANLEY, FLORA L       301 JONES ST., APT# 538A                                                                 BLUE RIDGE       GA 30513
STANLEY, FLORENCE E    1402 SHIPLEY STREET                                                                      MUNCIE           IN 47302‐3758
STANLEY, FLORENCE E    1402 S SHIPLEY ST                                                                        MUNCIE           IN 47302‐3758
STANLEY, FRANCES L     28930 LAKE FORK DR                                                                       MENIFEE          CA 92584‐8777
STANLEY, FRANCIS T     3194 GOODING PL                                                                          THE VILLAGES     FL 32162‐7435
STANLEY, FRANKLIN E    3413 TOWN LINE RD                                                                        LANCASTER        NY 14086‐9781
STANLEY, FRED L        1642 WARNER RD APT A                                                                     VIENNA           OH 44473‐9755
STANLEY, GAIL A        216 STATE PARK DR                                                                        BAY CITY         MI 48706‐1761
STANLEY, GARY L        34155 PARKINSON RD                                                                       MIDDLEPORT       OH 45760‐9749
STANLEY, GARY L        5411 NICHOLS RD                                                                          SWARTZ CREEK     MI 48473‐8524
STANLEY, GARY LEE      1056 CORYDON DR                                                                          MOUNT MORRIS     MI 48458‐1630
STANLEY, GARY W        1011 EDEN PARK DRIVE                                                                     FRANKLIN         TN 37067‐4697
STANLEY, GENE K        112 GILMORE RD                                                                           ANDERSON         IN 46016‐5808
STANLEY, GENE K        112 GILLMORE RD                                                                          ANDERSON         IN 46016‐5808
STANLEY, GENEVIEVE K   6611 BLUEGRASS DR                                                                        ANDERSON         IN 46013‐9575
STANLEY, GEORGE        WEITZ & LUXENBERG                  180 MAIDEN LANE                                       NEW YORK         NY 10038
STANLEY, GEORGE A      3200 SW 153RD ST                                                                         OKLAHOMA CITY    OK 73170‐8608
STANLEY, GEORGE B      92 W KNIGHT RD                                                                           MCDONOUGH        GA 30252‐2534
STANLEY, GEORGIANNA    PO BOX 18                                                                                GREENBUSH        MI 48738‐0018
STANLEY, GERALD E      7722 W TENNANT DR.                                                                       MANISTIQUE       MI 49854
STANLEY, GERALD L      2361 E TOBIAS RD                                                                         CLIO             MI 48420‐7904
STANLEY, GERALD R      107 SPRING ST                                                                            KAWKAWLIN        MI 48631‐9208
STANLEY, GERRY LYNN    7193 INDIGO CIR                                                                          RENO             NV 89506‐1767
STANLEY, GERTRUDE      2533 WESTFIELD AVE                                                                       DAYTON           OH 45420‐2375
STANLEY, GILBERT L     21966 HIGHWAY T                                                                          STOVER           MO 65078‐1555
STANLEY, GILLIAN M     3412 CORINTH AVE                                                                         LOS ANGELES      CA 90066‐2114
STANLEY, GORDON A      5447 SITKA ST                                                                            BURTON           MI 48519‐1523
STANLEY, GORDON F      2312 GOLF COURSE DR                                                                      ALBANY           GA 31721‐2035
STANLEY, GRACE N       535 N OAK AVE #85                                                                        PITMAN           NJ 08071
STANLEY, GRAFTON       42499 E HURON RIVER DR                                                                   BELLEVILLE       MI 48111‐2839
STANLEY, GREGORY A     11905 BIRDIE CT                                                                          KOKOMO           IN 46901‐9717
STANLEY, GREGORY C     2405 HARTSUFF ST                                                                         SAGINAW          MI 48601‐1570
STANLEY, HARLARD F     4340 DIVISION ST                                                                         WAYLAND          MI 49348‐9781
STANLEY, HAROLD W      302 LAWNDALE DR                                                                          PLAINFIELD       IN 46168‐2020
STANLEY, HAZEL B       RT 3 BOX 464                                                                             CONWAY           SC 29526‐9803
STANLEY, HAZEL J       4340 DIVISION ST                                                                         WAYLAND          MI 49348‐9781
STANLEY, HERB E        13357 NEFF RD                                                                            CLIO             MI 48420‐1868
STANLEY, HOWARD L      PO BOX 2636                                                                              DOUGLAS          GA 31534‐2636
STANLEY, HOWARD P      2151 WEBBER AVE                                                                          BURTON           MI 48529‐2413
STANLEY, HOWARD S      1610 NORTHBOURNE RD                                                                      BALTIMORE        MD 21239‐3623
STANLEY, HYONG K       71 BENJAMIN AVE                                                                          ROCHESTER        NY 14616‐3158
STANLEY, J E           209 WILLARD                                                                              PONTIAC          MI 48342‐3173
STANLEY, JACK C        4415 BRIAN RD                                                                            ANDERSON         IN 46013‐1409
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Name                    Address1                       Address2                       Address3   Address4         City                  State Zip
STANLEY, JACK L         423 BREWER DR                                                                             GREENWOOD              IN 46142‐3602
STANLEY, JACK R         1409 KITTIWAKE DR                                                                         PUNTA GORDA            FL 33950‐7633
STANLEY, JACKIE D       5538 DOLLAR HIDE NORTH DR                                                                 INDIANAPOLIS           IN 46221‐4108
STANLEY, JACKIE G       134 SHERWOOD DR                                                                           BATTLE CREEK           MI 49015‐8660
STANLEY, JACQUELINE Y   6227 LAURELTON AVE.                                                                       BALTIMORE              MD 21214‐1550
STANLEY, JAMES B        581 W MIDDLE CREEK RD                                                                     OTTO                   NC 28763‐9532
STANLEY, JAMES D        PO BOX 192                                                                                LAKETON                IN 46943‐0192
STANLEY, JAMES E        464 W NORTHFIELD AVE                                                                      PONTIAC                MI 48340‐1323
STANLEY, JAMES L        1200 WRIGHT AVE                MASONIC PATH WAYS SEN LIVING                               ALMA                   MI 48801‐1133
                                                       CNT
STANLEY, JAMES M        7731 W 200 S                                                                              LAPEL                 IN   46051‐9610
STANLEY, JAMES R        474 W 500 N                                                                               ANDERSON              IN   46012‐9500
STANLEY, JANE E         3225 STONE RD                                                                             MIDDLEPORT            NY   14105‐9750
STANLEY, JANE F         702 S CLINTON ST                                                                          ALEXANDRIA            IN   46001‐2420
STANLEY, JANET H        392 ENCHANTED DR                                                                          ANDERSON              IN   46013‐1071
STANLEY, JASON M        5221 STONERIDGE DR                                                                        SPRINGFIELD           OH   45503
STANLEY, JEAN R         40 MURILLO WAY                                                                            HOT SPRINGS VILLAGE   AR   71909‐5537
STANLEY, JERRY W        10804 E 64TH TER                                                                          RAYTOWN               MO   64133‐5317
STANLEY, JIM G          16539 E HIGHWAY 175                                                                       KEMP                  TX   75143‐4391
STANLEY, JIMMY          16574 FENMORE ST                                                                          DETROIT               MI   48235‐3421
STANLEY, JOE K          2141 STATE ST                                                                             ANDERSON              IN   46012‐1743
STANLEY, JOED L         904 COUNTRY CLUB LN                                                                       ANDERSON              IN   46011‐3412
STANLEY, JOHN A         15978 POWER DAM RD                                                                        DEFIANCE              OH   43512‐7049
STANLEY, JOHN E         PO BOX 1236                                                                               NEWPORT               TN   37822‐1236
STANLEY, JOHN F         392 ENCHANTED DR                                                                          ANDERSON              IN   46013‐1071
STANLEY, JOHN L         738 S MAIN ST                                                                             GENEVA                NY   14456‐3204
STANLEY, JOHN P         1795 PALOMINO DR                                                                          SAGINAW               MI   48609‐4277
STANLEY, JOHN T         19317 HARLOW ST                                                                           DETROIT               MI   48235‐2238
STANLEY, JOHN T         610 GRAISBURY AVE                                                                         HADDONFIELD           NJ   08033‐3053
STANLEY, JOHN W         2729 PENFOLD LN                                                                           WAKE FOREST           NC   27587
STANLEY, JOHN W         PO BOX 870                                                                                VONORE                TN   37885‐0870
STANLEY, JOHNNY A       817 EDGEWOOD RD                                                                           EDGEWOOD              MD   21040‐2430
STANLEY, JOHNNY B       949 WEST OLD KOKOMO ROAD                                                                  MARION                IN   46953‐5833
STANLEY, JONATHAN C     4773 GIRL SCOUT ROAD                                                                      EDWARDSVILLE          IL   62025‐4567
STANLEY, JONATHAN W     6637 TUBSPRING RD                                                                         ALMONT                MI   48003‐8322
STANLEY, JOSEPH F       14412 SAINT ANDREWS DR                                                                    GRANDVIEW             MO   64030‐4166
STANLEY, JOSEPH H       420 GIBBS ST                                                                              PLAINFIELD            IN   46168‐1308
STANLEY, JOSEPH T       125 SILVIS FARM RD                                                                        GREENSBURG            PA   15601‐1679
STANLEY, JOYCE M        3974 STATE ROUTE 225                                                                      DIAMOND               OH   44412‐9757
STANLEY, JUDITH A       422 EAST ABERDEEN DR.                                                                     TRENTON               OH   45067
STANLEY, JULIA D        243 OAK KNOLL                                                                             NEWTON FALLS          OH   44444‐1734
STANLEY, JULIA D        243 OAK KNOLL AVE                                                                         NEWTON FALLS          OH   44444‐1734
STANLEY, JULIA M        9526 MUELLER ST                                                                           TAYLOR                MI   48180‐3571
STANLEY, KAREN          PO BOX 7153                                                                               RAINBOW CITY          AL   35906‐7153
STANLEY, KATHLEEN D     805 DEERFIELD RD                                                                          ANDERSON              IN   46012‐9625
STANLEY, KATHRYN I      5411 NICHOLS RD                                                                           SWARTZ CREEK          MI   48473‐8524
STANLEY, KENNETH E      5889 WESTBROOK DR                                                                         BROOK PARK            OH   44142‐2577
STANLEY, KENNETH R      1257 N. M‐33                                                                              CHEBOYGAN             MI   49721
STANLEY, KENNY          PO BOX 1505                                                                               VIDOR                 TX   77570‐1305
STANLEY, KEVIN D        2177 FERGUSON RD APT 3                                                                    MANSFIELD             OH   44906‐1157
STANLEY, KIM            250 PASCHAL RD                                                                            UNIONVILLE            TN   37180‐8692
STANLEY, KIMBERLY       97 BANNOCK                                                                                WOODLAND PARK         CO   80863‐8917
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Name                    Address1                       Address2                Address3     Address4         City               State Zip
STANLEY, KINSTON H      503 ROUNDVIEW RD                                                                     BALTIMORE           MD 21225‐1426
STANLEY, KRISTINE S     11345 WILSON RD                                                                      MONTROSE            MI 48457‐9180
STANLEY, KRISTINE SUE   11345 WILSON RD                                                                      MONTROSE            MI 48457‐9180
STANLEY, LADONNA L      187 HOLLYWOOD BLVD                                                                   XENIA               OH 45385‐1254
STANLEY, LARRY J        PO BOX 16                                                                            YORKTOWN            IN 47396‐0016
STANLEY, LARRY R        PO BOX 276                                                                           NEW LEBNANON        OH 45345‐0276
STANLEY, LARRY RAY      7610 S STIVERS RD                                                                    GERMANTOWN          OH 45327‐8557
STANLEY, LAVADA M       9149 N.DORT HWY.                                                                     MT. MORRIS          MI 48458‐1218
STANLEY, LAVADA M       9149 N DORT HWY                                                                      MOUNT MORRIS        MI 48458‐1218
STANLEY, LAWRENCE J     2054 SNOWBIRD DR                                                                     LODI                CA 95242‐4754
STANLEY, LEANNETTE P    1167 S PENDLETON AVE                                                                 PENDLETON           IN 46064‐8980
STANLEY, LEVI A         177 FRANCIS RD                                                                       PERRYOPOLIS         PA 15473‐1213
STANLEY, LINDA L        3331 PALMTREE DR                                                                     LAKE HAVASU CITY    AZ 86404‐1619
STANLEY, LINDA L        7717 CURRIE HILL CT                                                                  FORT WAYNE          IN 46804‐3520
STANLEY, LINDA S        405 QUINCY AVE APT 3                                                                 COLUMBIANA          OH 44408
STANLEY, LORETTA M      164 W SPRUCEWOOD DR                                                                  SANDUSKY            OH 44870‐4483
STANLEY, LORRAINE M     5526 W. MAIN ST.                                                                     STERLING            MI 48659‐9776
STANLEY, LORRAINE M     5526 W MAIN STREET RD                                                                STERLING            MI 48659‐9776
STANLEY, LOUIS W        16175 JAMAICA AVE                                                                    LAKEVILLE           MN 55044‐9433
STANLEY, LOUISE H       145 ROLLING BROOK TRAIL                                                              FAYETTEVILLE        GA 30215
STANLEY, LYDIA E        3206 TEMPE DR                                                                        INDIANAPOLIS        IN 46241‐6236
STANLEY, MARGARET F.    5700 MERWIN CHASE RD                                                                 BROOKFIELD          OH 44403‐9763
STANLEY, MARJORIE W     2180 OAK TREE DR E                                                                   KETTERING           OH 45440‐2557
STANLEY, MARK J         5465 ACADEMY ST                                                                      DEARBORN HTS        MI 48125‐2302
STANLEY, MARK J         4289 N CHAPEL RD                                                                     FRANKLIN            TN 37067‐7803
STANLEY, MARK J         1204 HILLSIDE AVENUE                                                                 HENRICO             VA 23229‐5920
STANLEY, MARTHA D       2937 SPRING HILL DR                                                                  MEMPHIS             TN 38127‐7422
STANLEY, MARTHA L       523 HIGHWAY 24 EAST                                                                  MILLEDGEVILLE       GA 31061‐8194
STANLEY, MARTHA M       5736 LAKE BREEZE AVE                                                                 LAKELAND            FL 33809‐3341
STANLEY, MARVIN A       10551 DAVISBURG RD                                                                   DAVISBURG           MI 48350‐2031
STANLEY, MARVIN L       555 E HAZELWOOD AVE APT 431                                                          RAHWAY              NJ 07065‐5436
STANLEY, MARY           2574 EDGEVALE DRIVE                                                                  WATERFORD           MI 48329‐3929
STANLEY, MARY E         306 W HOUSTONIA AVE                                                                  ROYAL OAK           MI 48073‐4054
STANLEY, MARY M         24 W 3RD ST STE 300                                                                  MANSFIELD           OH 44902‐1243
STANLEY, MARY S         1134 SE MENDAVIA AVE                                                                 PORT ST LUCIE       FL 34952‐5309
STANLEY, MELISSA A      8526 CHAMBERSBURG RD                                                                 HUBER HEIGHTS       OH 45424‐3944
STANLEY, MICHAEL E      28 1/2 E PEARL ST                                                                    MIAMISBURG          OH 45342‐2315
STANLEY, MICHAEL J      3608 NW 87TH ST                                                                      KANSAS CITY         MO 64154‐8301
STANLEY, MICHAEL J      600 GROVELAND PKWY                                                                   LAWRENCEVILLE       GA 30046‐5543
STANLEY, MICHAEL L      10581 COLBY LAKE RD                                                                  PERRY               MI 48872‐9796
STANLEY, MICHAEL LEE    10581 COLBY LAKE RD                                                                  PERRY               MI 48872‐9796
STANLEY, MICHAEL R      11300 N BELLEVIEW AVE                                                                KANSAS CITY         MO 64155
STANLEY, MINA L         2466 SPRUCE ST                                                                       GIRARD              OH 44420‐3151
STANLEY, NANCY A        8099 HUNTINGTON RIDGE CT                                                             WASHINGTON          MI 48094‐2278
STANLEY, NELDA A        10074 NORTHRIDGE DR                                                                  MANCELONA           MI 49659‐7820
STANLEY, NELLIE BERRY   1206 BRYSON RD                                                                       COLUMBUS            OH 43224‐2008
STANLEY, NELLIE BERRY   1206 BRYSON ROAD                                                                     COLUMBUS            OH 43224‐2008
STANLEY, NETTIE M       3940 WARRIOR JASPER RD                                                               WARRIOR             AL 35180‐3124
STANLEY, NORMAN R       1324 WOODGLEN AVE                                                                    YPSILANTI           MI 48198‐6222
STANLEY, OSCAR          TOWER EAST #762                200 VERDANT DR APT A2                                 GREENVILLE          NC 27858
STANLEY, OTIS           PO BOX 42                                                                            WASHINGTON TWP      MI 48094‐0042
STANLEY, PAMELA J       3454 MEADOWBROOK DR                                                                  LEAVITTSBURG        OH 44430‐9609
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Name                    Address1                         Address2                         Address3   Address4         City               State Zip
STANLEY, PATRICIA G     4322 N. 700 W.                                                                                MARION              IN 46952‐9346
STANLEY, PATRICIA G     4322 N 700 W                                                                                  MARION              IN 46952‐9346
STANLEY, PATRICIA L     14 MOUND MANOR DR.                                                                            ST MARYS            WV 26170‐9620
STANLEY, PATRINA A      2054 SNOWBIRD DR                                                                              LODI                CA 95242‐4754
STANLEY, PATSY
STANLEY, PATSY          PEYTON LAW FIRM                  TEAYS CORPORATE CENTER ‐ 500                                 SCOTT DEPOT        WV 25560
                                                         CORPORATE CENTER DRIVE ‐ SUITE

STANLEY, PATSY A        5618 COLDWATER RD                                                                             COLUMBIAVILLE      MI    48421‐8801
STANLEY, PATTIE L       8474 THETFORD LN                                                                              WILLIS             MI    48191‐8511
STANLEY, PATTIE LYNN    8474 THETFORD LN                                                                              WILLIS             MI    48191‐8511
STANLEY, PAUL A         116 KRUG DR                                                                                   UNION              OH    45322‐8722
STANLEY, PAUL ANTHONY   116 KRUG DR                                                                                   UNION              OH    45322‐8722
STANLEY, PAUL E         939 SUTTON ST                                                                                 SAGINAW            MI    48602‐2956
STANLEY, PAUL F         1202 E STRUB RD                                                                               SANDUSKY           OH    44870‐5683
STANLEY, PAUL N         89 BRIGGS AVE                                                                                 BUFFALO            NY    14207‐1425
STANLEY, PAUL NORMAN    89 BRIGGS AVE                                                                                 BUFFALO            NY    14207‐1425
STANLEY, PAUL V         DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                              NORTH OLMSTED      OH    44070
STANLEY, PRESTON        1361 MOLNER CT                                                                                YPSILANTI          MI    48198‐6327
STANLEY, RALPH B        174 JIM HOLLOW RD                                                                             CARMICHAELS        PA    15320‐2526
STANLEY, RALPH E        135 CEABURN STANLEY DR                                                                        CLINTWOOD          VA    24228‐6887
STANLEY, RAMON C        1805 CANYON TRL                                                                               LANSING            MI    48917‐1509
STANLEY, RAY E          1720 E 25TH ST                                                                                MUNCIE             IN    47302‐5918
STANLEY, RAYMOND E      9231 CHAMBERLAIN ST                                                                           DETROIT            MI    48209‐1740
STANLEY, RAYMOND E      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA    23510‐2212
                                                         STREET, SUITE 600
STANLEY, REBEKAH A      824 MAUMEE DR                                                                                 KOKOMO              IN   46902‐5525
STANLEY, RENARD
STANLEY, RICHARD D      29119 ORVA DR                                                                                 PUNTA GORDA        FL    33982‐8540
STANLEY, RICHARD D      29 MILL LN                                                                                    CASTINE            ME    04421‐3230
STANLEY, RICHARD E      2065 KITTRIDGE AVE                                                                            COLORADO SPRINGS   CO    80919‐3889
STANLEY, RICHARD J      12529 E SIX CORNERS RD                                                                        WHITEWATER         WI    53190‐3545
STANLEY, RICHARD L      805 DEERFIELD RD                                                                              ANDERSON           IN    46012‐9625
STANLEY, RICHARD L      5015 SEMINOLE BLVD LOT 218                                                                    ST PETERSBURG      FL    33708‐3374
STANLEY, RICHARD R      12840 CORBIN DR                                                                               STERLING HEIGHTS   MI    48313‐3310
STANLEY, RICHARD W      407 APLIN ST                                                                                  BAY CITY           MI    48706‐3811
STANLEY, ROBERT         237 WEBSTER ST # A                                                                            HUDSON             NH    03051‐3222
STANLEY, ROBERT A       432 WINDMILL BLVD                                                                             N FT MYERS         FL    33903‐2147
STANLEY, ROBERT C       434 DRIFTWOOD CT                                                                              FRANKLIN           IN    46131‐7944
STANLEY, ROBERT D       272 FORREST DR                                                                                MARION             AR    72364‐2131
STANLEY, ROBERT E       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA    23510‐2212
                                                         STREET, SUITE 600
STANLEY, ROBERT E       6450 ALDEN HWY                                                                                BELLAIRE           MI    49615‐9263
STANLEY, ROBERT J       443 FIRE LEAF WAY                                                                             FAIRBURN           GA    30213‐2715
STANLEY, ROBERT J       3225 STONE RD                                                                                 MIDDLEPORT         NY    14105‐9750
STANLEY, ROBERT L       6181 N 600 E                                                                                  GREENFIELD         IN    46140‐9037
STANLEY, ROBERT L       4715 E 200 N                                                                                  ANDERSON           IN    46012‐9439
STANLEY, ROBERT M       6215 CONFEDERATE DR                                                                           PENSACOLA          FL    32503‐7514
STANLEY, ROBERT M       3131 CLEAR SPRINGS RD                                                                         SPRING VALLEY      OH    45370‐7731
STANLEY, ROBERT R       2004 W 11TH ST APT C                                                                          JOPLIN             MO    64801‐3788
STANLEY, ROGER D        621 W ATHERTON RD                                                                             FLINT              MI    48507‐2406
STANLEY, ROLAND B       PO BOX 1583                                                                                   DECATUR            AL    35602‐1583
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Name                   Address1                         Address2                       Address3   Address4         City             State Zip
STANLEY, RONALD A      4537 LINCOLN DR                                                                             GASPORT           NY 14067‐9214
STANLEY, RONALD A      4099 N GENESEE RD                                                                           FLINT             MI 48506‐2136
STANLEY, RONALD E      1167 S PENDLETON AVE                                                                        PENDLETON         IN 46064‐8980
STANLEY, RONALD J      216 STATE PARK DR                                                                           BAY CITY          MI 48706‐1761
STANLEY, RONALD L      38789 WINDMILL POINTE W                                                                     CLINTON TWP       MI 48038
STANLEY, RONALD W      107 ANTWERP AVE                                                                             BROOKVILLE        OH 45309‐1320
STANLEY, RONALD W      PO BOX 870                                                                                  VONORE            TN 37885‐0870
STANLEY, ROSETTA E     10637 W 239TH ST                                                                            BUCYRUS           KS 66013‐9205
STANLEY, ROSS A        1076 CHIPMUNK LN                                                                            PENDLETON         IN 46064
STANLEY, ROY C         R 2 BOX 567                                                                                 PENNINGTON GAP    VA 24277
STANLEY, RUTH A        UNIVERSITY NURSING HOME          1564 UNIVERSITY BLVD                                       UPLAND            IN 46989‐9199
STANLEY, RUTH A        1564 UNIVERSITY BLVD             UNIVERSITY NURSING HOME                                    UPLAND            IN 46989‐9199
STANLEY, SABINA M      190 SW MANATEE TERR                                                                         FORT WHITE        FL 32038‐4774
STANLEY, SALLIE K      6220 S CASE AVE                                                                             GRAND BLANC       MI 48439‐7000
STANLEY, SANDRA K      40156 RT 303 EAST                                                                           LAGRANGE          OH 44050
STANLEY, SCOTT J       6690 TULSA AVE                                                                              KALAMAZOO         MI 49048‐8402
STANLEY, SHARI
STANLEY, SHARON K      1012 CHIPPEWA LN                                                                            KOKOMO           IN   46902
STANLEY, SHIRLEY A     3350 SHERBOURNE RD                                                                          DETROIT          MI   48221‐1817
STANLEY, SONIA N       239 CHARLES LN                                                                              PONTIAC          MI   48341‐2930
STANLEY, STAN B        1806 E HAMILTON AVE                                                                         FLINT            MI   48506‐4465
STANLEY, STAN BERLIN   1806 E HAMILTON AVE                                                                         FLINT            MI   48506‐4465
STANLEY, STEPHEN J     635 MAPLE RD                                                                                BUFFALO          NY   14221
STANLEY, STEPHEN L     8062 N COUNTY ROAD 600 W                                                                    MIDDLETOWN       IN   47356‐9405
STANLEY, STEPHEN L     701 HEMLOCK ST                                                                              SHELBYVILLE      IN   46176‐2215
STANLEY, STEVEN        337 LYONS DR                                                                                TROY             MI   48083‐1058
STANLEY, STEVEN C      7816 E 100TH ST                                                                             TULSA            OK   74133‐7008
STANLEY, STRALEY E     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA   23510‐2212
                                                        STREET, SUITE 600
STANLEY, SUSAN         9818 PALM DR                                                                                BAYTOWN          TX   77523‐8795
STANLEY, SUSAN A       4513 NOLAN LN                                                                               LAS VEGAS        NV   89107‐2944
STANLEY, SUSAN E       1505 KIRK ROW                                                                               KOKOMO           IN   46902
STANLEY, SYLVESTER     211 S GARLAND AVE                                                                           YOUNGSTOWN       OH   44506‐1535
STANLEY, SYLVIA D      44808 BROOKSTONE VALLEY                                                                     FLINT            MI   48504
STANLEY, SYLVIA D      2449 GIBSON ST                                                                              FLINT            MI   48503
STANLEY, SYLVIA J
STANLEY, TERESA        6727 DORCHESTER DR                                                                          ZIONSVILLE       IN   46077‐9162
STANLEY, TERESA E      110 N COOK RD                                                                               MUNCIE           IN   47303‐4507
STANLEY, THOMAS H      46 WOODCREST DR                                                                             AMHERST          NY   14226
STANLEY, THOMAS H      PO BOX 66                                                                                   AKRON            NY   14001‐0066
STANLEY, THOMAS L      1872 WAGON WHEEL DRIVE                                                                      HAMILTON         OH   45013‐8037
STANLEY, THOMAS M      14703 N BEL AIR DR SW                                                                       CUMBERLAND       MD   21502‐5808
STANLEY, THOMAS S      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA   23510‐2212
                                                        STREET, SUITE 600
STANLEY, THOMAS W      10010 LAKESHORE DR                                                                          CLERMONT         FL   34711‐8487
STANLEY, THOMAS W      10010 S LAKESHORE DR                                                                        CLEARMONT        FL   34711
STANLEY, THURMAN E     ONE COUNTRY LANE A103            BROOKHAVEN                                                 BROOKVILLE       OH   45309‐9284
STANLEY, THURMAN E     1 COUNTRY LN APT A103            BROOKHAVEN                                                 BROOKVILLE       OH   45309‐9284
STANLEY, TODD          MILLER & PADILLA, P.C.           2301 W BIG BEAVER RD STE 318                               TROY             MI   48084
STANLEY, TOMMIE L      906 E 152ND PL                                                                              PHOENIX          IL   60426‐2502
STANLEY, TONIA M       PO BOX 471                                                                                  FLINT            MI   48501‐0471
STANLEY, TRACY A       3006 CRESWELL RD                                                                            ABERDEEN         MD   21001‐1518
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Name                                Address1                        Address2                Address3    Address4         City              State Zip
STANLEY, TRIMBLE                    1431 COBBLESTONE ST.                                                                 DAYTON             OH 45432‐3406
STANLEY, TROY A                     6943 WINDSONG CT                                                                     BROWNSBURG         IN 46112‐9398
STANLEY, VELMER G                   PO BOX 82                                                                            RICHLANDS          VA 24641‐0082
STANLEY, VICKEY S                   PO BOX 276                                                                           NEW LEBANON        OH 45345‐0276
STANLEY, VICKEY SUE                 14363 OLD DAYTON RD                                                                  NEW LEBANON        OH 45345‐9758
STANLEY, VICTORIA LYNN              2328 EMERALD DR                                                                      NILES              MI 49120‐4575
STANLEY, VINCENT J                  13734 W ELMBROOK DR                                                                  SUN CITY WEST      AZ 85375‐5425
STANLEY, VIRGINIA                   PO BOX 198                      8191 COUNTY ROAD                                     FLYNN              TX 77855
STANLEY, VIRGINIA N                 145 CLEAR BROOKE DR                                                                  SHREVEPORT         LA 71115‐3257
STANLEY, WALLACE                    WILLIAMS & BAILEY               8441 GULF FWY STE 600                                HOUSTON            TX 77017‐5051
STANLEY, WALTER F                   8963 DEVON DR                                                                        SHELBY TOWNSHIP    MI 48317‐1436
STANLEY, WAYNE C                    1345 FELDMAN AVE                                                                     DAYTON             OH 45432‐3105
STANLEY, WILFRED A                  9115 N CENTER RD                                                                     CLIO               MI 48420‐9759
STANLEY, WILLIAM
STANLEY, WILLIAM A                  309 SERRA DR                                                                         WHITE LAKE        MI   48386
STANLEY, WILLIAM B                  11223 TIMBERLINE RD                                                                  HOUSTON           TX   77043‐4640
STANLEY, WILLIAM B                  15684 POWER DAM RD                                                                   DEFIANCE          OH   43512‐6811
STANLEY, WILLIAM B                  1000 MAGNOLIA WOODS CT UNIT F                                                        EDGEWOOD          MD   21040‐1649
STANLEY, WILLIAM BRUCE              15684 POWER DAM RD                                                                   DEFIANCE          OH   43512‐6811
STANLEY, WILLIAM F                  1286 HUSAK RD                                                                        OMER              MI   48749‐9723
STANLEY, WILLIAM H                  7826 EGLINGTON CT                                                                    CINCINNATI        OH   45255‐2413
STANLEY, WILLIAM L                  2808 E SOUTHWAY BLVD                                                                 KOKOMO            IN   46902‐4112
STANLEY, WILLIAM P                  30734 BRADNER DR                                                                     WARREN            MI   48088‐3215
STANLEY, WILLIAM PAUL               30734 BRADNER DR                                                                     WARREN            MI   48088‐3215
STANLEY, WILLIAM R                  1235 JEFFERSON AVE                                                                   KALAMAZOO         MI   49006‐3164
STANLEY, WILLIAM R                  28750 BOHN ST                                                                        ROSEVILLE         MI   48066‐2409
STANLEY, WILLIAM R                  35525 POUND RD                                                                       RICMOND           MI   48062
STANLEY, WILMA E                    C/O ELAINE BAILEY               10275 W WINDSOR ROAD                                 FARMLAND          IN   47340
STANLEY, WILMA E                    10275 W WINDSOR RD              C/O ELAINE BAILEY                                    FARMLAND          IN   47340‐9034
STANLEY,PAUL ANTHONY                116 KRUG DR                                                                          UNION             OH   45322‐8722
STANLEY,RONALD W                    107 ANTWERP AVE                                                                      BROOKVILLE        OH   45309‐1320
STANLEY,VICKEY SUE                  PO BOX 276                                                                           NEW LEBANON       OH   45345‐0276
STANLEY‐CHEVROLET‐PONTIAC‐KAUFMAN   825 E FAIR ST                                                                        KAUFMAN           TX   75142‐3559

STANLEY‐CRAIG, GEORGIA L            P.O. BOX 284                                                                         PONTIAC           IL   61764
STANLEY‐CROSSON, IRENE              811 S WYANDOTTE ST                                                                   TAYLORVILLE       IL   62568‐2513
STANLEY‐LYND AUTOPLEX               308 N FANNIN AVE                                                                     CAMERON           TX   76520‐3362
STANLEY‐LYND AUTOPLEX, LLC          JAMES STANLEY                   308 N FANNIN AVE                                     CAMERON           TX   76520‐3362
STANLY SAMDAL SR                    15100 120TH AVE                                                                      NUNICA            MI   49448‐9721
STANMORE JR, JOHN                   6121 RIDGEVIEW AVE                                                                   BALTIMORE         MD   21206‐2448
STANN JR, MICHAEL J                 19483 AUBURNDALE ST                                                                  LIVONIA           MI   48152‐1529
STANN, ADELBERT J                   2321 CENTER RD                                                                       AVON              OH   44011‐1830
STANN, GERALD B                     365 TOURANGEAU DR                                                                    ROCHESTER HILLS   MI   48307‐2488
STANNARD JASON                      102 BAY RD                                                                           COLCHESTER        VT   05446‐7580
STANNARD, CHARLES C                 12101 COUNTY ROAD 87                                                                 LAKEVIEW          OH   43331‐9135
STANNARD, DONALD L                  84 WATSON RD                                                                         OTWAY             OH   45657‐9522
STANNARD, LETTIE RIGLER             805 REGENT CT                                                                        WELLINGTON        OH   44090‐1102
STANNARD, LINDSY M                  6114 YUNKER ST                                                                       LANSING           MI   48911‐5522
STANNARD, LORETTA H                 369 KOHLER ST                                                                        TONAWANDA         NY   14150‐3811
STANNARD, RICHARD E                 15400 RIVERDALE AVE                                                                  DETROIT           MI   48223‐1468
STANNARD, ROBERT E                  16507 WILLOW DR                                                                      ROGERS            AR   72756‐6385
STANNARD, TIMOTHY J                 1437 RIDLEY DR                                                                       FRANKLIN          TN   37064‐9616
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Name                          Address1                            Address2                       Address3   Address4         City               State Zip
STANNEK, GERHARD F            7425 AVON LN                                                                                   CHESTERLAND         OH 44026‐2901
STANNER, DONALD               1172 HIGHLAND GREENS DR                                                                        VENICE              FL 34285‐5662
STANO JR, PAUL D              23879 NEWBERRY DR                                                                              CLINTON TWP         MI 48035‐1935
STANO, CARLO J                451 CEDAR DR                                                                                   CORTLAND            OH 44410‐1321
STANO, EMMA A                 2404 REEVES RD NE                                                                              WARREN              OH 44483‐4334
STANO, EMMA A                 2404 REEVES ROAD                                                                               WARREN              OH 44483‐4334
STANO, JOHN C                 5158 PHILLIPS RICE RD                                                                          CORTLAND            OH 44410‐9675
STANO, JOHN F                 1231 W HIGHWAY 287 BYP APT 116                                                                 WAXAHACHIE          TX 75165
STANO, JOHN F                 1231 WEST HIGHWAY 287 BYPASS        APT 116                                                    WAXAHACHIE          TX 75165‐5165
STANO, KENNETH J              6650 RIDGEVIEW DR                                                                              CLARKSTON           MI 48346‐4456
STANO, LORETTA B.             1012 EASTVIEW DR                                                                               MANSFIELD           OH 44905‐1528
STANO, MARGARET A             1300 SUPERIOR                                                                                  CLEVELAND           OH 44114
STANO, PAUL F                 1696 HONEYSUCKLE DR                                                                            MANSFIELD           OH 44905‐2312
STANO, VERA R                 6650 RIDGEVIEW DRIVE                                                                           CLARKSTON           MI 48346‐4456
STANO, VICKIE J               1696 HONEYSUCKLE DR                                                                            MANSFIELD           OH 44905‐2312
STANOLIS, ANTHONY A           4710 N VARGAS RD                                                                               CHOCTAW             OK 73020‐9006
STANOLIS, LUVONNE R           2112 N GARFIELD RD                                                                             PINCONNING          MI 48650‐7471
STANONIS, STANLEY J           6683 NORTHPOINT DR                                                                             TROY                MI 48085‐1421
STANOS, STEPHEN W             GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW             MI 48604‐2602
                                                                  260
STANOSZ, LEROY A              607 EAGLE NEST BLVD APT 300                                                                    ROTHSCHILD         WI   54474‐6907
STANOSZEK, DUANE H            670 SUSAN DR                                                                                   N HUNTINGDON       PA   15642‐3126
STANOSZEK, GARY H             13141 PINE HOLLOW RD EXT RD                                                                    TRAFFORD           PA   15085
STANOSZEK, HENRY G            100 FREEDOM WAY APT N201                                                                       GREENSBURG         PA   15601‐9263
STANOSZEK, PAUL T             1125 CALVIN LN                                                                                 TRAFFORD           PA   15085‐2016
STANOSZEK, PAUL T             13121 PINE HOLLOW RD EXT                                                                       TRAFFORD           PA   15085‐2009
STANOVCAK FRANK (494232)      CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                      CLEVELAND          OH   44113‐1328
                              COONE AND ASSOCIATES
STANOVCAK, FRANK              CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                      CLEVELAND          OH 44113‐1328
                              COONE AND ASSOCIATES
STANOVICH, THELMA B           3400 MORNING GLORY RD                                                                          DAYTON             OH   45449‐3033
STANOW, CAROL W               23044 DAVID AVE                                                                                EASTPOINTE         MI   48021‐1827
STANOWSKI, PAUL A             22762 CARTER RD                                                                                BROWNSTOWN TWP     MI   48183‐1431
STANPHILL, ERSIE B            8698 RICHARDSON RD                                                                             ATHENS             TX   75752
STANRIDGE, PATRICIA J         67516 SMILAX ROAD                                                                              NORTH LIBERTY      IN   46554‐9630
STANSBERRY BRIAN              GERRY LANE SAAB                     10945 REIGER RD                                            BATON ROUGE        LA   70809‐4546
STANSBERRY JR, PAUL V         3976 PLYMOUTH SPRINGMILL RD                                                                    SHELBY             OH   44875‐9549
STANSBERRY JR., LIONEL J      12527 S QUINN DR BOX 10                                                                        ALSIP              IL   60803
STANSBERRY LIONEL (507609)    COON BRENT W                        PO BOX 4905                                                BEAUMONT           TX   77704‐4905
STANSBERRY PETROFF MARCUM &   3 COURTHOUSE SQUARE                                                                            HUNTSVILLE         TN   37756
BLAKELY PC
STANSBERRY, ALMA J            8321 E CARLTON RD                                                                              W ALEXANDRIA       OH   45381‐9543
STANSBERRY, BARTHOLOME A      2029 N COLLEGE AVE APT B                                                                       INDIANAPOLIS       IN   46202‐1762
STANSBERRY, DAVID P           4417 N 200 E                                                                                   ANDERSON           IN   46012‐9516
STANSBERRY, DOLORES A         11 ROSS ST                                                                                     NEW MARTINSVILLE   WV   26155
STANSBERRY, HIAWATHA G        6705 YATARUBA DR                                                                               BALTIMORE          MD   21207‐5666
STANSBERRY, JAMES             425 CORAL RIDGE DR                                                                             PACIFICA           CA   94044‐1433
STANSBERRY, JAMES A           10759 W CINNEBAR AVE                                                                           SUN CITY           AZ   85351‐4610
STANSBERRY, JOANNE E          30597 LINCOLNSHIRE E                                                                           BEVERLY HILLS      MI   48025‐4753
STANSBERRY, JOHN M            1047 STEVENS BLVD                                                                              EASTLAKE           OH   44095‐2652
STANSBERRY, JOYCE E           1921 VERSAILLES DR                                                                             KOKOMO             IN   46902
STANSBERRY, LARRY L           12506 N STATE ROAD 9                                                                           ALEXANDRIA         IN   46001‐8927
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Name                          Address1                         Address2            Address3         Address4         City           State Zip
STANSBERRY, LILLIAN           2427 FRANK P HOLDER RD                                                                 EASTMAN         GA 31023
STANSBERRY, LIONEL            COON BRENT W                     PO BOX 4905                                           BEAUMONT        TX 77704‐4905
STANSBERRY, MARK E            3428 E BALTIMORE ST                                                                    BALTIMORE       MD 21224‐1501
STANSBERRY, MATTHEW
STANSBERRY, NATHANIEL         6705 YATARUBA DR                                                                       BALTIMORE      MD   21207‐5666
STANSBERRY, VELMA             625 E WATER ST #301                                                                    PEMBLETON      IN   46064‐8532
STANSBERRY, VICKIE S          2082 LIGHTWOOD BRIDGE RD                                                               WALLACE        NC   28466‐7344
STANSBERY, MICHAEL H          11539 S MERIDIAN LINE RD                                                               CLOVERDALE     IN   46120‐9162
STANSBERY, VALERIE M          18611 LAUDER ST                                                                        DETROIT        MI   48235‐2759
STANSBURY CHRISTINE           110 FORSYTHIA DR                                                                       NEWARK         DE   19711‐6860
STANSBURY JOBS                155 BOVET RD STE 465                                                                   SAN MATEO      CA   94402‐3137
STANSBURY ROBERT L (476949)   GEORGE LINDA                     151 N DELAWARE ST   STE 1700                          INDIANAPOLIS   IN   46204‐2503
STANSBURY, DAVID              124 RANDY SMITH DR                                                                     SPRINGVILLE    IN   47462‐5104
STANSBURY, DONALD G           8745 ROYAL MEADOW DR                                                                   INDIANAPOLIS   IN   46217‐4831
STANSBURY, HELEN B            877 LINWOOD DR                                                                         TROY           OH   45373‐2200
STANSBURY, HELLEN
STANSBURY, JEFFREY D          14802 DRAYTON DR                                                                       NOBLESVILLE    IN   46062‐8233
STANSBURY, JERRY D            5845 BLUE BLUFF RD                                                                     MARTINSVILLE   IN   46151‐8806
STANSBURY, KATHY A            133 ANNE RD                                                                            MIDDLETOWN     OH   45044
STANSBURY, MAYNARD Q          17225 SHERFIELD PL                                                                     SOUTHFIELD     MI   48075‐1968
STANSBURY, RAYMOND E          3509 W LAYTON AVE                                                                      GREENFIELD     WI   53221‐2031
STANSBURY, ROBERT E           15523 MCDONALD RD                                                                      LISBON         OH   44432‐9638
STANSBURY, ROBERT L           GEORGE LINDA                     151 N DELAWARE ST   STE 1700                          INDIANAPOLIS   IN   46204‐2599
STANSBURY, ROGER A            8917 SHOSHONE RD NE                                                                    ALBUQUERQUE    NM   87111
STANSBURY, SAMUEL S           317 ELTON DR                                                                           HOPKINSVILLE   KY   42240‐4761
STANSBURY, STEVEN P           8110 ANNA MARIA AVE                                                                    SPRINGDALE     AR   72762
STANSBURY, TIMOTHY E          463 OLD ORCHARD CIR                                                                    MILLERSVILLE   MD   21108‐2013
STANSEL, ANN V                668 CAMPBELL CIRCLE                                                                    HAPEVILLE      GA   30354
STANSEL, EUGENE F             410 4TH AVENUE NORTHEAST                                                               JACKSONVILLE   AL   36265‐1849
STANSEL, MARION E             6728 TAYLORSVILLE ROAD                                                                 DAYTON         OH   45424‐3166
STANSEL, WILLIAM R            668 CAMPBELL CIR                                                                       HAPEVILLE      GA   30354‐1024
STANSELL, ANITA A             2900 RUSHLAND DR                                                                       KETTERING      OH   45419‐2136
STANSELL, GARY R              545 CALDWELL RD                                                                        GRIFFIN        GA   30223‐6322
STANSELL, JOHN W              683 BEARDEN RD                                                                         DOUGLASVILLE   GA   30134‐4102
STANSELL, JOYCE A             920 WESTWOOD LN                                                                        WINDER         GA   30680‐2856
STANSELL, KENNETH O           4769 RIDGEWOOD DR                                                                      FOREST PARK    GA   30297‐1934
STANSELL, MYRTLE M            3216 AINSWORTH DR                                                                      CINCINNATI     OH   45251‐2100
STANSELL, NATHAN F            9140 CAYUGA DR                                                                         CLARKSTON      MI   48348‐3203
STANSELL, PEGGY               683 BEARDEN RD                                                                         DOUGLASVILLE   GA   30134‐4102
STANSELL, RONDA L             895 BRIDDLEWOOD ST                                                                     DAYTON         OH   45430
STANSELL, TRACIE              201 SUSSEX DR                                                                          MONROE         LA   71203‐3322
STANSELL, TRACIE S            201 SUSSEX DR                                                                          MONROE         LA   71203‐3322
STANSELL, VERA                2250 MUEHLEISEN RD.                                                                    DUNDEE         MI   48131‐9509
STANSFIELD, BETTY R           2738 W RIVER DR                                                                        GLADWIN        MI   48624‐7905
STANSFIELD, JEAN              305 E 305TH ST                                                                         WILLOWICK      OH   44095‐3740
STANSFIELD, JEAN              305 EAST 305TH STREET                                                                  WILLOWICK      OH   44095‐3740
STANSFIELD, JOHN A            2738 W RIVER DR                                                                        GLADWIN        MI   48624‐7905
STANSIFER, DAVID E            5941 TIMBER LAKE WAY                                                                   INDIANAPOLIS   IN   46237‐2280
STANSIFER, GREGORY E          11801 PAINTED PEAK WAY                                                                 FORT WAYNE     IN   46845‐2069
STANSIFER, STEPHEN J          77 TULIP DR                                                                            INDIANAPOLIS   IN   46227‐2360
STANSON JETER                 5535 LEWIS AVE APT 5                                                                   TOLEDO         OH   43612‐3044
STANSON, PEARL C              418 W BISHOP AVE                                                                       FLINT          MI   48505‐6318
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Name                         Address1                          Address2                          Address3            Address4              City             State Zip
STANSON, RETTA               624 E SCHOOL ST                                                                                               ANDERSON          IN 46012‐1431
STANSON, ROBERT J            624 E SCHOOL ST                                                                                               ANDERSON          IN 46012‐1431
STANSPEC/BOSTON              1234 WASHINGTON ST                                                                                            BOSTON            MA 02118‐2109
STANT CORP                   LINDA SCHIEN                      IDEAL DIVISION                    3200 PARKER DRIVE                         AUBURN HILLS      MI 48326
STANT CORP/DIXON             RTE 38 EAST, AIRPORT IND PARK                                                                                 DIXON              IL 61021
STANT CORPORATION            1620 COLUMBIA AVE                                                                                             CONNERSVILLE      IN 47331‐1696
STANT IDEAL/SOUTHFLD         PO BOX 2106                       IDEAL DIVISION                                                              SOUTHFIELD        MI 48037‐2106
STANT INCORPORATED           5300 JEFFERSON PKWY                                                                                           PINE BLUFF        AR 71602‐3435
STANT MANUFACTURING INC      5300 JEFFERSON PKWY                                                                                           PINE BLUFF        AR 71602‐3496
STANT MANUFACTURING SRO      NA NOVEM POLI 379/2                                                                     KARVINA STARE MESTO
                                                                                                                     73301 CZECH (REP)
STANT MFG INC                1620 COLUMBIA AVE                                                                                             CONNERSVILLE     IN   47331‐1672
STANT, ANN                   2012 W SHEFFIELD DR                                                                                           MUNCIE           IN   47304‐1255
STANT, CHARLES A             2601 W BURNELL DR                                                                                             MUNCIE           IN   47304‐2630
STANT, DAVID H               55‐646 WAHINEPEE ST                                                                                           LAIE             HI   96762‐1253
STANT, ROGER L               234 E 11TH ST                                                                                                 DELPHOS          OH   45833‐1118
STANT, SHEREE J              2815 MANHATTAN BEACH BLVD.                                                                                    GARDENA          CA   90249‐4533
STANT/SOUTHFIELD             1620 COLUMBIA AVE                 ATTN: MARY HUFFMAN                                                          CONNERSVILLE     IN   47331‐1672
STANTEC CONSULTING INC       6980 SIERRA CENTER PKWY STE 100                                                                               RENO             NV   89511‐2237
STANTEC INC
STANTIAL, DIANE              22 HIGHLAND RD                                                                                                ULSTER PARK      NY   12487‐5314
STANTIAL, SHIRLEY H          1401 STATE RD NW                                                                                              WARREN           OH   44481‐9132
STANTIFORD, CAROL M          1851 HETH‐MCBEAN RD.                                                                                          HEPHZIBAH        GA   30815
STANTIFORD, ERIC ALBERT      1443 COLLEEN LN                                                                                               DAVISON          MI   48423‐8321
STANTIFORD, TODD A           416 GREENFIELD AVE                                                                                            FLINT            MI   48503‐2165
STANTON ALLAN J              4227 EAST PATRICIA JANE DRIVE                                                                                 PHOENIX          AZ   85018‐3757
STANTON C JONES              5470 FAIRFORD COURT                                                                                           DAYTON           OH   45414
STANTON C LONG               4468 BASCULE BRIDGE DR            APT 820                                                                     DAYTON           OH   45440‐3138
STANTON CHING                4382 FOREST AVE                                                                                               WATERFORD        MI   48328‐1111
STANTON DRAPER               KELLER, FISHBACK & JACKSON LLP    18425 BURBANK BLVD, STE 610                                                 TARZANA          CA   91356
STANTON ERNEST (491324)      BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                               NORTHFIELD       OH   44067
                                                               PROFESSIONAL BLDG
STANTON FEARS                83 NORTHRUP PL                                                                                                BUFFALO          NY   14214‐1307
STANTON FORD                 524 CHATHAM CT                                                                                                CIRCLEVILLE      OH   43113‐2309
STANTON G FORD               524 CHATHAM COURT                                                                                             CIRCLEVILLE      OH   43113
STANTON H PEACLMAN           142 ANITA AVE                                                                                                 PITTSBURGH       PA   15217‐2523
STANTON H WILSON             NIX PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT          205 LINDA DRIVE                           DAINGERFIELD     TX   75638
STANTON IDEKER               PO BOX 274                                                                                                    CLIMAX SPRINGS   MO   65324‐0274
STANTON JACI                 SEXTON, CHELSEA
STANTON JACI                 STANTON, JACI
STANTON JEFFREY              23500 W 74TH TER                                                                                              SHAWNEE          KS 66227‐5510
STANTON JOHN L (178503)      HOWARD GEORGE W III P.C.          1608 WALNUT STREET , 17TH FLOOR                                             PHILADELPHIA     PA 19103

STANTON JR, HARRY JENNINGS   1200 ORCHARD ST                                                                                               OWOSSO           MI   48867‐4919
STANTON JR, ODELL            3743 CONKLIN DR                                                                                               SAGINAW          MI   48603‐3129
STANTON JR, ROBERT J         5402 HUBBARD DR                                                                                               FLINT            MI   48506‐1154
STANTON JR, WILLIAM J        17 NARCISSUS LN                                                                                               LEVITTOWN        PA   19054‐3401
STANTON JR., CHARLES H       86 SHERIDAN RD                                                                                                ASHEVILLE        NC   28803‐2251
STANTON JR., FRANK E         5083 NORTH VASSAR ROAD                                                                                        FLINT            MI   48506‐1750
STANTON KENNY                15465 NORTHLAWN ST                                                                                            DETROIT          MI   48238‐1151
STANTON MARQUITA             STANTON, MARQUITA                 119 RACINE ST STE 200C                                                      MEMPHIS          TN   38111‐2726
STANTON MARTIN               1465 COUNTY ROAD Y                                                                                            HATLEY           WI   54440‐9508
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Name                           Address1                        Address2                         Address3   Address4         City            State Zip
STANTON MAURICE O (472175)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510
                                                               STREET, SUITE 600
STANTON PENNY                  6339 KNOLLWOOD DR                                                                            FREDERICK       MD    21701‐5828
STANTON PHELPS                 2963 E COUNTY ROAD 500 S                                                                     NEW CASTLE      IN    47362‐9666
STANTON RICHARDS               PO BOX 452                                                                                   DAVISBURG       MI    48350‐0452
STANTON WIDMEYER               8927 S MERIDIAN RD                                                                           WARREN          IN    46792‐9450
STANTON WILLIS                 14247 7TH ST APT 104                                                                         DADE CITY       FL    33523
STANTON, ALBERT                15370 GRANDVILLE AVE                                                                         DETROIT         MI    48223‐1709
STANTON, ALLEN E               143 N ROYS AVE                                                                               COLUMBUS        OH    43204‐2634
STANTON, ANNA M                201 MOORE AVE                                                                                BUFFALO         NY    14223‐1614
STANTON, ANNA M                201 MOORE AVE.                                                                               BUFFALO         NY    14223‐1614
STANTON, ARLENE L              2680 GAIL PL                                                                                 NEWFANE         NY    14108‐1134
STANTON, ARTHUR L              1094 SANTIAGO RD                                                                             TURNER          MI    48765‐9762
STANTON, ARTHUR P              492 ORANGEVILLE RD                                                                           GREENVILLE      PA    16125‐9281
STANTON, ASHLEY E              21589 N PRAIRIE RD                                                                           WARRENTON       MO    63383‐4699
STANTON, BARBARA J             3701 BRIARWOOD DR                                                                            FLINT           MI    48507‐1459
STANTON, BARBARA L             227 DEVONSHIRE DR                                                                            DIMONDALE       MI    48821‐9777
STANTON, CAROL                 PMB 178                         28421 N VISTANCIA BLVD STE 103                               PEORIA          AZ    85383‐2089
STANTON, CHARLES A             17440 SE 124TH CT                                                                            SUMMERFIELD     FL    34491‐1811
STANTON, CHARLES F             214 PLEASANT STREET                                                                          MEDINA          NY    14103‐1330
STANTON, CHRISTOP J            6610 SQUIRREL HILL CT                                                                        CLARKSTON       MI    48346‐2457
STANTON, DAVID J               6137 N SEYMOUR RD                                                                            FLUSHING        MI    48433‐1083
STANTON, DAVID JAMES           6137 N SEYMOUR RD                                                                            FLUSHING        MI    48433‐1083
STANTON, DAVID R               1419 N OAKHILL AVE                                                                           JANESVILLE      WI    53548‐1454
STANTON, DEBORAH A             2950 E LINTON RD                                                                             BENTON          LA    71006
STANTON, DENNIS R              7155 NEW HARMONY RD                                                                          MARTINSVILLE    IN    46151‐7523
STANTON, DILLARD D             7165 NEW HARMONY RD                                                                          MARTINSVILLE    IN    46151‐7523
STANTON, DONAL M               19658 MELVIN ST                                                                              LIVONIA         MI    48152‐1927
STANTON, DONALD E              6343 W ROWLAND CIR                                                                           LITTLETON       CO    80128‐4627
STANTON, DONALD T              3401 PICKETT RD                                                                              SAINT JOSEPH    MO    64503‐1431
STANTON, DOROTHY J             4000 E FLETCHER AVE APT G314                                                                 TAMPA           FL    33613‐4898
STANTON, DUANE E               PO BOX 397                                                                                   WOODBURY        NJ    08096‐7397
STANTON, EDGAR D               6975 CORK RD                                                                                 BANCROFT        MI    48414‐9739
STANTON, EDMUND I              6075 E TAMARACK RD                                                                           VESTABURG       MI    48891‐9523
STANTON, EDWARD C              3113 RUTGERS PL                                                                              ROCKFORD         IL   61109‐1628
STANTON, ELVIN                 124 ARROWHEAD DR                                                                             MONTGOMERY      AL    36117‐4104
STANTON, ERNEST J              260 HARWOOD ST                                                                               ELYRIA          OH    44035‐3960
STANTON, FRANK E               4701 S BYRON RD                                                                              DURAND          MI    48429‐1810
STANTON, FREDERICK A           1525 BROCKHAM CIR                                                                            DALLAS          TX    75217‐1233
STANTON, FREDERICK ANTANELLI   1525 BROCKHAM CIR                                                                            DALLAS          TX    75217‐1233
STANTON, GARY L                212 WESTERN AVE                                                                              LANSING         MI    48917‐3712
STANTON, GERALD G              20525 SWITZER RD                ROUTE 1                                                      DEFIANCE        OH    43512‐8457
STANTON, GLENDA J              492 ORANGEVILLE RD                                                                           GREENVILLE      PA    16125‐9281
STANTON, GLINDER               17269 NEW JERSEY ST                                                                          SOUTHFIELD      MI    48075‐2827
STANTON, GRACE                 7435 GREEN VALLEY DR                                                                         GRAND BLANC     MI    48439‐8197
STANTON, HARVEY A              307 HIGHWAY 32 W                                                                             SARATOGA        AR    71859‐9034
STANTON, HOWARD N              3781 STARSHINE TRL                                                                           BRIGHTON        MI    48114‐9286
STANTON, IVORY                 1075 FISCHER DR                                                                              SAGINAW         MI    48601‐5719
STANTON, JACK R                562 EMILY DR SW                                                                              LILBURN         GA    30047‐5224
STANTON, JACQUILIAN D          2307 ARMSTRONG RD                                                                            GRAND PRAIRIE   TX    75052‐0720
STANTON, JACQUILIANE D         2307 ARMSTRONG RD                                                                            GRAND PRAIRIE   TX    75052‐0720
STANTON, JAMES A               166 KAYWOOD DR                                                                               ROCHESTER       NY    14626‐3767
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Name                      Address1                         Address2                         Address3   Address4         City              State Zip
STANTON, JAMES A          2028 GLENN DR NE                                                                              WARREN             OH 44483‐4316
STANTON, JAMES C          10950 UNION HILLS DR. LOT 1326                                                                SUN CITY           AZ 85373
STANTON, JAMES E          7606 STICKNEY AVE                                                                             BRIDGEVIEW          IL 60455‐1260
STANTON, JAMES E          1535 CARSWELL TER                                                                             ARLINGTON          TX 76010‐4510
STANTON, JAMES P          4889 GATE POST LN                                                                             KENT               OH 44240‐5605
STANTON, JAMES P          3690 LOBELIA DR                                                                               CINCINNATI         OH 45241‐3335
STANTON, JAMES R          99 EDGEWOOD DRIVE EXT                                                                         TRANSFER           PA 16154‐2027
STANTON, JANET M          5382 WARWICK TRL                                                                              GRAND BLANC        MI 48439‐9578
STANTON, JEFFERY D        8917 FENTON                                                                                   REDFORD            MI 48239‐1209
STANTON, JEFFERY DEAN     8917 FENTON                                                                                   REDFORD            MI 48239‐1209
STANTON, JOAN             17 NARCISSUS LN                                                                               LEVITTOWN          PA 19054‐3401
STANTON, JOAN L           5800 W BEARD RD                                                                               PERRY              MI 48872‐8148
STANTON, JOHN             PO BOX 757                                                                                    BEREA              KY 40403‐0757
STANTON, JOHN             HOWARD GEORGE W III P.C.         1608 WALNUT STREET, 17TH FLOOR                               PHILADELPHIA       PA 19103

STANTON, JOHN             4504 S MAZE DR                                                                                MUNCIE            IN   47302‐9055
STANTON, JOHN J           530 RIPPLEWOOD DR                                                                             ROCHESTER         NY   14616
STANTON, JOHN M           22 DUNBAR RD                                                                                  HILTON            NY   14468‐9104
STANTON, JOHN T           11617 KINGS CIR                                                                               OKLAHOMA CITY     OK   73162‐2048
STANTON, JOHN W           1612 DEER PATH DR                                                                             LAPEER            MI   48446‐8097
STANTON, JON R            6322 RED OAK DR                                                                               AVON              IN   46123‐9459
STANTON, JOSEPH E         4013 WALTON RD                                                                                FINLEYVILLE       PA   15332‐1571
STANTON, JOSEPH R         7295 E O N AVE                                                                                KALAMAZOO         MI   49048
STANTON, KENNEY           15465 NORTHLAWN ST                                                                            DETROIT           MI   48238‐1151
STANTON, LEO A            3015 WALTON RD                                                                                FINLEYVILLE       PA   15332‐1573
STANTON, LESLEY           321 HARDING ST                                                                                DEFIANCE          OH   43512‐1315
STANTON, LESLIE W         7385 BUSCH RD                                                                                 BIRCH RUN         MI   48415‐8753
STANTON, LOIS C           3237 W PARNELL AVE                                                                            MILWAUKEE         WI   53221‐4048
STANTON, LUCILLE R        7066 N LINCOLNSHIRE CIR                                                                       MILWAUKEE         WI   53223‐6343
STANTON, MADELINE M       585 LAKE SHORE DR                                                                             HILTON            NY   14468‐9561
STANTON, MARGARET         1629 FOUNTAIN SQUARE DR 18                                                                    YOUNGSTOWN        OH   44515
STANTON, MARGARET R       530 RIPPLEWOOD DR                                                                             ROCHESTER         NY   14616‐1304
STANTON, MARION J         1200 ORCHARD ST                                                                               OWOSSO            MI   48867‐4919
STANTON, MARY A           3845 DEWEY AVE # A17A                                                                         ROCHESTER         NY   14616
STANTON, MARY H           106 STUBBS DR                                                                                 TROTWOOD          OH   45426‐3020
STANTON, MARY R           1844 HOBBES DR 74D                                                                            HILLIARD          OH   43026
STANTON, MAURICE O        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510‐2212
                                                           STREET, SUITE 600
STANTON, MAX J            1348 WALTON RD                                                                                JEFFERSON HILLS   PA   15025‐2536
STANTON, MERLIN F         2586 DICK RD                                                                                  IONIA             MI   48846‐9517
STANTON, MERRILL D        268 WHITHERSPOON LN                                                                           NEWARK            DE   19713
STANTON, MICHAEL B        2307 ARMSTRONG ROAD                                                                           GRAND PRAIRIE     TX   75052‐0720
STANTON, MICHAEL H        17269 NEW JERSEY ST                                                                           SOUTHFIELD        MI   48075‐2827
STANTON, MICHAEL J        713 SUTHERLAND AVE                                                                            JANESVILLE        WI   53545‐1627
STANTON, MURDENA L        10234 CARISBROOKE COVE                                                                        FORT WAYNE        IN   46835
STANTON, OTTIS            3904 MACKINAW ST                                                                              SAGINAW           MI   48602‐3314
STANTON, PATRICIA         2407 KYLE ROBERT LN                                                                           OKLAHOMA CITY     OK   73160‐6071
STANTON, PATRICIA         10105 S 200TH EAST AVE                                                                        BROKEN ARROW      OK   74014‐3540
STANTON, PHILIP D         PO BOX 2222                                                                                   SAN GABRIEL       CA   91778‐2222
STANTON, RANDY L          9209 COUNTY ROAD 519                                                                          ALVARADO          TX   76009‐8542
STANTON, REBECCA L        1055 S DAYTON ST                                                                              DAVISON           MI   48423‐1734
STANTON, REBECCA LOUISE   1055 SOUTH DAYTON STREET                                                                      DAVISON           MI   48423‐1734
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Name                                  Address1                            Address2                       Address3   Address4         City              State Zip
STANTON, RICHARD D                    713 SUTHERLAND AVE                                                                             JANESVILLE         WI 53545‐1627
STANTON, RICHARD F                    322 CARNOUSTIE                                                                                 HIGHLAND           MI 48357‐4753
STANTON, RICHARD W                    816 SOUTH ST                                                                                   DANVILLE            IL 61832‐6425
STANTON, RICHARD W                    4000 E FLETCHER AVE APT G314                                                                   TAMPA              FL 33613‐4898
STANTON, ROBERT B                     6425 CHESTNUT HILL CT                                                                          CLARKSTON          MI 48346‐3051
STANTON, RODNEY K                     2052 DEAN AVE                                                                                  HOLT               MI 48842‐1315
STANTON, ROGER                        5438 IROQUOIS ST                                                                               DETROIT            MI 48213‐2987
STANTON, RUBY H                       6729 W CO RD 90 S                                                                              KOKOMO             IN 46901
STANTON, RUSSELL M                    PO BOX 216                                                                                     CARSON CITY        MI 48811‐0216
STANTON, RUTH V                       6684 AMY DR                                                                                    CLARKSTON          MI 48348‐4509
STANTON, SAMMY B                      13130 ARNAU LN                                                                                 NEW PORT RICHEY    FL 34654‐4636
STANTON, SHARON A                     6700 150TH AVE NORTH #412                                                                      CLEARWATER         FL 33764
STANTON, SHARRON T                    99 EDGEWOOD DR EXT                                                                             TRANSFER           PA 16154‐2033
STANTON, SHARRON T                    99 EDGEWOOD DRIVE EXT                                                                          TRANSFER           PA 16154‐2027
STANTON, SHIRLEY A                    155 BLUE SPRUCE LN                                                                             FLINT              MI 48506‐5300
STANTON, THOMAS J                     3237 W PARNELL AVE                                                                             MILWAUKEE          WI 53221‐4048
STANTON, THOMAS M                     1038 WESTBURY WAY                                                                              HEATHROW           FL 32746‐1976
STANTON, THURMAN                      4320 KETCHAM ST                                                                                SAGINAW            MI 48601‐6769
STANTON, TONY C                       788 SPRING CREEK RD                                                                            WARWICK            GA 31796‐5317
STANTON, WADE M                       1179 S LAKE VALLEY DR                                                                          FENTON             MI 48430‐1243
STANTON, WAYNE A                      1152 HOLT RD                                                                                   MASON              MI 48854‐9439
STANTON, WILLARD J                    206 WESTERN AVE                                                                                LANSING            MI 48917‐3712
STANTON, WILLIAM J                    5465 STATLER DR                                                                                BURTON             MI 48509‐1348
STANTON, WILLIAM S                    538 TIPPECANOE RD                                                                              SMOCK              PA 15480‐2032
STANTOS STEPHEN W (497530) ‐ STANOS   GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW            MI 48604‐2602
STEPHEN W                                                                 260
STANTS JR, WENDELL L                  8801 SUNDIAL DR                                                                                LAS VEGAS         NV   89134‐8403
STANTS, RICHARD O                     828 W WOODLAND AVE                                                                             KOKOMO            IN   46902‐6262
STANTZ, ERIC T                        2844 EMERALD PARK                                                                              SAGINAW           MI   48603‐6154
STANTZ, ERIC TIMOTHY                  2844 EMERALD PARK                                                                              SAGINAW           MI   48603‐6154
STANTZ, JOSEPH L                      3264 E FISHER RD                                                                               BAY CITY          MI   48706‐3226
STANTZ, LEONARD A                     1750 CURTIS RD                                                                                 BIRCH RUN         MI   48415‐8914
STANTZ, ROBERT E                      PO BOX 93                                                                                      JAMESTOWN         IN   46147‐0093
STANTZ, WALTER R                      5748 S COUNTY ROAD 150 E                                                                       CLAYTON           IN   46118‐9673
STANUL, STANLEY J                     50 E 21ST ST APT 622                                                                           BAYONNE           NJ   07002‐3732
STANULA, ROBERT                       7732 MEADE AVE                                                                                 BURBANK           IL   60459‐1229
STANULIS, JOHN W                      17070 SWAN CREEK RD                                                                            HEMLOCK           MI   48626‐8768
STANULIS, RICHARD R.                  2041 LOST MEADOW LN SW                                                                         CONYERS           GA   30094‐5773
STANULIS, VYTAUTAS V                  4512 S TALMAN AVE                                                                              CHICAGO           IL   60632‐1345
STANUSZEK, MILDRED T                  1010 W BROAD ST                                                                                CHESANING         MI   48616‐1078
STANUSZEK, ROBERT A                   12211 W SHARON RD                                                                              OAKLEY            MI   48649‐9718
STANUSZEK, ROBERT ALLEN               12211 W SHARON RD                                                                              OAKLEY            MI   48649‐9718
STANWOOD, ALBERT H                    42600 CHERRY HILL RD APT 346                                                                   CANTON            MI   48187‐3787
STANYARD, PATTI J                     175 CURTIS DR                                                                                  BEAVER FALLS      PA   15010‐1056
STANYER, WILLIAM L                    4497 W WILSON RD                                                                               CLIO              MI   48420‐9442
STANZ, ROBERT D                       142 LONGVIEW CT                                                                                SAINT MARYS       OH   45885‐1139
STANZ, WALTER J                       448 E WATERFORD AVE                                                                            MILWAUKEE         WI   53207‐4434
STANZAK JR, ADAM E                    7919 WYOMING CT                                                                                BLOOMINGTON       MN   55438‐1092
STANZAK, JOHN J                       PO BOX 15021                                                                                   HAMILTON          OH   45015‐0021
STANZAK, JOHN W                       11636 S WILLIAMSBURG DR                                                                        KNOXVILLE         TN   37934
STANZAK, RONALD A                     6462 STATE RD # 9                                                                              PARMA             OH   44134
STANZE JR, HOWARD H                   1013 WASHINGTON TWIN RD                                                                        EATON             OH   45320‐1301
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Name                                 Address1                         Address2                        Address3   Address4         City             State Zip
STANZE, JANICE L                     646 RATON PASS                   C/O JENNY KNOTT                                             MIAMISBURG        OH 45342‐2227
STANZE, MARKEATTA                    1013 WASHINGTON TWIN RD                                                                      EATON             OH 45320‐1301
STANZEL, MARY                        22 SUNFLOWER LN                                                                              BRICK             NJ 08724‐2791
STANZIONE, MICHAEL J                 225 ASHLAR WAY                                                                               TOMS RIVER        NJ 08753‐8101
STAPELMANN, DAWN                     4004 S STATE ROAD 213                                                                        ORFORDVILLE       WI 53576‐9556
STAPELMANN, GARY R                   1639 W INTERLOCHEN DR                                                                        JANESVILLE        WI 53545‐8863
STAPELMANN, JOHN A                   12524 W STATE ROAD 11                                                                        ORFORDVILLE       WI 53576‐9745
STAPERT, DONNA C                     24820 FRONT AVE                                                                              MATTAWAN          MI 49071‐9598
STAPERT, JAMES D                     11502 E THOMPSON RD                                                                          INDIANAPOLIS      IN 46239‐9111
STAPERT, MARY                        C/O S HUFFMAN 132 MAPLELEAF DR                                                               CATLIN             IL 61817
STAPERT, PAUL A                      4414 HEDGETHORN CT                                                                           FLINT             MI 48509‐1215
STAPERT, RAYMOND J                   1750 E RAYMOND ST                                                                            INDIANAPOLIS      IN 46203‐4164
STAPERT, RICHARD L                   1025 W 100 N                                                                                 FRANKLIN          IN 46131‐8571
STAPERT, RONALD D                    5815 STATE ROAD 39                                                                           MARTINSVILLE      IN 46151‐9181
STAPF, ALMER J                       170 COLUMBUS DR S                                                                            HAMILTON          OH 45013‐4803
STAPF, BILLIE                        74 JACKSON AVE                                                                               ALBION            PA 16401‐1010
STAPF, BILLIE                        74 JACKSON AVENUE                                                                            ALBION            PA 16401
STAPISH BRITTANY L                   STAPISH, BRITTANY L              813 SOUTH MAIN STREET P O BOX                               COLUMBIA          TN 38402
                                                                      1660
STAPISH, BRITTANY                   1170 SOUTHPORT RD                                                                             MOUNT PLEASANT   TN   38474‐1941
STAPISH, BRITTANY L                 SANDS LAWRENCE D                  PO BOX 1660                                                 COLUMBIA         TN   38402‐1660
STAPISH, BRUCE J                    803 S ERIE ST                                                                                 BAY CITY         MI   48706‐5032
STAPISH, KURT A                     1170 SOUTHPORT RD                                                                             MT PLEASANT      TN   38474‐1941
STAPLA ULTRASONICS CORP             250 ANDOVER ST                                                                                WILMINGTON       MA   01887‐1048
STAPLA ULTRASONICS CORPORATION      250 ANDOVER ST                                                                                WILMINGTON       MA   01887‐1048
STAPLE, MYRAN JEAN                  353 NORTH CEDARWOOD DR                                                                        DANVILLE         IL   61832‐1530
STAPLE, MYRAN JEAN                  353 N CEDARWOOD DR                                                                            DANVILLE         IL   61832‐1530
STAPLE, WALTER E                    PO BOX 147                                                                                    JOHANNESBURG     MI   49751‐0147
STAPLE, WILLIAM H                   143 HIBISCUS DR                                                                               LEESBURG         FL   34788‐2620
STAPLE, WILLIAM K                   PO BOX 226                                                                                    CARO             MI   48723
STAPLE, WILLIAM KEITH               PO BOX 226                                                                                    CARO             MI   48723‐0226
STAPLEFORD'S CHEVROLET & OLDSMOBILE 1402 N DUPONT HWY                                                                             SAINT GEORGES    DE

STAPLEFORD'S CHEVROLET & OLDSMOBILE, 1402 N DUPONT HWY                                                                            SAINT GEORGES    DE 19733
INC.
STAPLEFORD'S CHEVROLET & OLDSMOBILE, RICHARD STAPLEFORD               1402 N DUPONT HWY                                           SAINT GEORGES    DE 19733
INC.
STAPLES BUSINESS ADVANTAGE           PO BOX 83689                                                                                 CHICAGO          IL   60696‐0001
STAPLES BUSINESS SOLUTION            PO BOX 415256                                                                                BOSTON           MA   02241
STAPLES CARROLL                      RM 221                           3000 SKIPWITH ROAD                                          HENRICO          VA   23294‐4148
STAPLES CENTER                       DEPT P                           1111 S FIGUEROA                                             LOS ANGELES      CA   90015
STAPLES CONTRACT & COMMERICAL        7500 W 110TH                                                                                 OVERLAND PARK    KS   66210
STAPLES DEBI                         1237 FITZ HUGH DR SE                                                                         OLYMPIA          WA   98513‐7736
STAPLES DONALD                       801 S ASH ST                                                                                 KEYTESVILLE      MO   65261‐1115
STAPLES GEORGE V (494233)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA   23510
                                                                      STREET, SUITE 600
STAPLES INC                          500 STAPLES DR                   PO BOX 9265                                                 FRAMINGHAM       MA   01702‐4478
STAPLES INC                          7500 W 110TH                                                                                 OVERLAND PARK    KS   66210
STAPLES JR, ALBERT                   338 SAINT CLAIR ST                                                                           WEST HELENA      AR   72390‐1417
STAPLES JR, ALLEN W                  7290 103RD ST                                                                                FLUSHING         MI   48433‐8714
STAPLES LUKE                         2813 NEVADA AVE S                                                                            ST LOUIS PARK    MN   55426‐3229
STAPLES MILO                         STAPLES, MILO                    PO BOX 211                                                  TYNDALL          SD   57066‐0211
                                09-50026-mg                Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                           Address1                            Address2                      Address3   Address4         City               State Zip
STAPLES PROMOTIONAL PRODUCTS   7500 WEST 110TH STREET                                                                        OVERLAND PARK       KS 66210
STAPLES PROMOTIONAL PRODUCTS   7500 W 110TH STREET                                                                           OVERLAND PARK       KS 66210
STAPLES, ARNOLD J              2225 YAUPON DR                                                                                IRVING              TX 75063‐3484
STAPLES, ARNOLD J              2225 YAUPON DRIVE                                                                             IRVING              TX 75063‐3484
STAPLES, BEATRCE               2518 GODDARD RD.                                                                              TOLEDO              OH 43606‐3209
STAPLES, BRIAN E               141 CHERRYWOOD DRIVE                                                                          FISHKILL            NY 12524‐2809
STAPLES, CARY E                3680 PENINSULAR SHORES DR                                                                     GRAWN               MI 49637‐9720
STAPLES, CHARLES E             9141 WARD ST                                                                                  DETROIT             MI 48228‐2646
STAPLES, CLARENCE G            18622 FENMORE ST                                                                              DETROIT             MI 48235‐3064
STAPLES, CLINTON E             APT 317                             5932 STUMPH ROAD                                          CLEVELAND           OH 44130‐1741
STAPLES, DANIEL V              24 LITTLEFIELD RD                                                                             MILFORD             MA 01757‐3964
STAPLES, DIANE
STAPLES, DONALD E              12158 E SHORE DR                                                                              MILLERSBURG        MI   49759
STAPLES, DORIS J               3295 CLEARVIEW DRIVE                                                                          MARIETTA           GA   30060‐6315
STAPLES, DOUGLAS D             117 N. FRANKLING                                                                              CENTREVILLE        MI   49032
STAPLES, ERMA M                1919 NW PEACE PKWY APT 111                                                                    LEES SUMMIT        MO   64081‐1138
STAPLES, ERMA M                1919 NW PEACE PARKWAY               APT 111                                                   LEE'S SUMMIT       MO   64081
STAPLES, ERNEST D              PO BOX 116311                                                                                 CARROLLTON         TX   75011‐6311
STAPLES, GEORGE V              GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                   STREET, SUITE 600
STAPLES, JACKIE E              PO BOX 215042                                                                                 AUBURN HILLS       MI   48321‐5042
STAPLES, JAMES W               BUDD RUSSELL W                      3102 OAK LAWN AVE STE 1100                                DALLAS             TX   75219‐4283
STAPLES, JEREMY R              201 W 96TH ST                                                                                 INDIANAPOLIS       IN   46260‐1423
STAPLES, JIMMY L               5194 S CLARENDON ST                                                                           DETROIT            MI   48204‐2922
STAPLES, JOHNNIE MAE           PO BOX 29                                                                                     ROCKMART           GA   30153‐0029
STAPLES, JOHNNIE MAE           P O BOX 29                                                                                    ROCKMART           GA   30153‐0029
STAPLES, KENNETH G             2500 E LAS OLAS BLVD PH 3                                                                     FORT LAUDERDALE    FL   33301‐1588
STAPLES, KENNETH J             1169 COUNTY ROAD 20                                                                           ROANOKE            AL   36274‐3652
STAPLES, LESLEY E              529 PURPLE FINCH DR.                                                                          LAKE PLACID        FL   33852‐7411
STAPLES, LESLEY E              1510 13TH ST                                                                                  BEDFORD            IN   47421‐3112
STAPLES, LIZZIE MAE            1319 BARLOW AVE                                                                               DALLAS             TX   75224‐2531
STAPLES, LOIS J                2380 CROTON DR                                                                                NEWAYGO            MI   49337‐9501
STAPLES, MARILYN C             207 MOUNT LAUREL DR                                                                           DALLAS             GA   30132‐0958
STAPLES, MARJORIE J            534 E JOLLY RD                                                                                LANSING            MI   48910‐6829
STAPLES, MARY H                516 GREENHILL DR                                                                              UPPER CHICHESTER   PA   19061‐2902
STAPLES, MICHAEL R             3401 OREGON TRL                                                                               FORT COLLINS       CO   80526‐2571
STAPLES, MILO                  PO BOX 211                                                                                    TYNDALL            SD   57066‐0211
STAPLES, NANCY L               1017 ELDERBERRY DRIVE                                                                         HOUSE SPRINGS      MO   63051‐1562
STAPLES, NELSON H              990 N MILLER RD                                                                               SAGINAW            MI   48609‐4859
STAPLES, NETTIE M              6801 DUPONT ST                                                                                FLINT              MI   48505‐2071
STAPLES, ROBERT C              3469 HORAN RD                                                                                 MEDINA             NY   14103‐9417
STAPLES, RONALD E              1017 ELDERBERRY DRIVE                                                                         HOUSE SPRINGS      MO   63051‐1562
STAPLES, RUSSELL W             65 LEXINGTON CT # A                                                                           LOCKPORT           NY   14094‐5365
STAPLES, RUTH A                4150 TROUT AVE                                                                                MILTON             FL   32583‐8542
STAPLES, STEVEN G              23150 OAK GLEN DR                                                                             SOUTHFIELD         MI   48033‐3488
STAPLES, STEVEN GEROD          23150 OAK GLEN DR                                                                             SOUTHFIELD         MI   48033‐3488
STAPLES, SYLVESTER             4023 PITTMAN PL                                                                               INDIANAPOLIS       IN   46254‐3757
STAPLES, THOMAS L              1100 ALBERT RD APT A14                                                                        BROOKHAVEN         PA   19015
STAPLES, THOMAS O              820 CRYSTAL LAKE DR                                                                           GREENWOOD          IN   46143‐3008
STAPLES, WILLIAM C             107 SE COUNTY ROAD 3010                                                                       CORSICANA          TX   75109‐9005
STAPLES, WOODROW W             9758 HAIGHT RD                                                                                BARKER             NY   14012‐9633
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STAPLETON ANDREA               STAPLETON, ANDREA                2299 MIAMISBURG CENTERVILLE RD                             DAYTON           OH 45459‐3816

STAPLETON BRANDON              STAPLETON, BRANDON               212 CENTER ST STE 600                                      LITTLE ROCK     AR 72201‐2437
STAPLETON JOE (447927)         BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                              NORTHFIELD      OH 44067
                                                                PROFESSIONAL BLDG
STAPLETON JOHN                 PO BOX 9022                                                                                 WARREN          MI   48090‐9022
STAPLETON JR, GEORGE L         73 JADEWOOD CRIVE                                                                           JACKSON         TN   38305
STAPLETON JR, WAYNE            159 TRACY LN                                                                                SOUTHGATE       KY   41071‐3020
STAPLETON LOYD K               9168 GLENRIDGE BLVD                                                                         CENTERVILLE     OH   45458‐5018
STAPLETON WILLIAM (401543)     ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                 BALTIMORE       MD   21202
                                                                CHARLES CENTER 22ND FLOOR
STAPLETON WILLIAM R (460212)   DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                            NORTH OLMSTED   OH   44070
STAPLETON, ALKA J              9226 BRUCE DR                                                                               FRANKLIN        OH   45005‐1407
STAPLETON, ALVERY R            2568 DEARBORN AVE                                                                           ROCHESTER HLS   MI   48309‐3830
STAPLETON, AMY                 219 E 69TH ST                    APT 3M                                                     NEW YORK        NY   10021‐0022
STAPLETON, AMY                 2540 SHORE BLVD APT 17H                                                                     ASTORIA         NY   11102‐3951
STAPLETON, ANGIE W             G‐2262 E MAPLE RD                                                                           FLINT           MI   48507‐4420
STAPLETON, ANNE M              5862 WILLOW BEND DRIVE                                                                      AVON            IN   46123‐7353
STAPLETON, BARBARA A           1107 ELODIE DR                                                                              FLINT           MI   48532‐3628
STAPLETON, BARBARA ANN         1107 ELODIE DR                                                                              FLINT           MI   48532‐3628
STAPLETON, BEVERLY J           6232 RENDON NEW HOPE RD                                                                     FORT WORTH      TX   76140‐8318
STAPLETON, BILL R              3315 LANDVIEW DR                                                                            ROCHESTER       MI   48306‐1152
STAPLETON, BILLIE D            120 HILLTOP DR                                                                              DAYTON          OH   45415‐1217
STAPLETON, BILLY T             240 RIDGEWAY RD                                                                             WOODRUFF        SC   28388‐8049
STAPLETON, BONNIE LOU          10395 ST RTE 73                                                                             NEW VIENNA      OH   45159‐9650
STAPLETON, BONNIE LOU          10395 STATE ROUTE 73                                                                        NEW VIENNA      OH   45159‐9650
STAPLETON, BRANDON             BARRON BARRON & TUCKER PA        212 CENTER ST STE 600                                      LITTLE ROCK     AR   72201‐2437
STAPLETON, CAROL A             8 BURK DR.                                                                                  DEL CITY        OK   73115‐2002
STAPLETON, CAROL A             8 BURK DR                                                                                   DEL CITY        OK   73115‐2002
STAPLETON, CHARLES M           13830 STATE ROUTE 41             C/O LEONARD STAPLETON                                      WEST UNION      OH   45693‐9751
STAPLETON, CHARLES P           604 SW 5TH ST                                                                               OAK GROVE       MO   64075‐9752
STAPLETON, CHRISTINE           2171 CHESTNUT ST                                                                            FERNDALE        MI   48220‐3003
STAPLETON, CHRISTINE           2171 CHESTNUT                                                                               FERNDALE        MI   48220‐3003
STAPLETON, DAVID H             13915 BREST ST                                                                              SOUTHGATE       MI   48195‐1702
STAPLETON, DAVID HAROLD        13915 BREST ST                                                                              SOUTHGATE       MI   48195‐1702
STAPLETON, DENNIS C            46 OAK GROVE DR APT A                                                                       BALTIMORE       MD   21220‐3335
STAPLETON, DONNA MAE A         19495 OELKE DR                                                                              PRIOR LAKE      MN   55372‐8814
STAPLETON, DONNIE              422 OAK LAWN DR                                                                             FAIRBORN        OH   45324‐2731
STAPLETON, DORIS L             PO BOX 1087                                                                                 CLINTON         MS   39060‐1087
STAPLETON, DOUGLAS L           1183 BRIDGE MILL AVE                                                                        CANTON          GA   30114‐7713
STAPLETON, EDDIE               5481 SCR 120                                                                                RALEIGH         MS   39153‐5456
STAPLETON, ENOCH L             1691 COOKS GRANT DR                                                                         MILFORD         OH   45150‐2582
STAPLETON, ETHEL               4819 N CARL ROSE HIGHWAY                                                                    HERNANDO        FL   34442‐2729
STAPLETON, FRANCES D           4408 PULASKI HWY                                                                            CULLEOKA        TN   38451
STAPLETON, FRED                5028 LINDEN AVE                                                                             NORWOOD         OH   45212‐2326
STAPLETON, GEORGE E            1107 ELODIE DR                                                                              FLINT           MI   48532‐3628
STAPLETON, GEORGE EARL         1107 ELODIE DR                                                                              FLINT           MI   48532‐3628
STAPLETON, GREG A              1329 TERRINGTON WAY                                                                         MIAMISBURG      OH   45342‐4280
STAPLETON, HAROLD M            4609 BALDWIN BLVD                                                                           FLINT           MI   48505‐3129
STAPLETON, HUBERT H            1150 PURPLE FLOWER CT                                                                       BROOKSVILLE     FL   34604‐1423
STAPLETON, JACK D              3265 BISHOP RD RTE 2                                                                        GOSHEN          OH   45122
STAPLETON, JACQUELINE L        407 E 7TH ST                                                                                SHERIDAN        IN   46069‐1348
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Name                    Address1                         Address2                    Address3   Address4         City            State Zip
STAPLETON, JAMES H      17 COLONIAL CLUB DR APT 301                                                              BOYNTON BEACH    FL 33435‐8311
STAPLETON, JAMES P      2307 HAWAII DRIVE                                                                        JANESVILLE       WI 53548‐4466
STAPLETON, JANICE M     1132 SESSIONS DR.                                                                        DAYTON           OH 45459‐4713
STAPLETON, JANICE S     604 SW 5TH ST                                                                            OAK GROVE        MO 64075‐9752
STAPLETON, JEFFREY W    5200 STEVENS RD                                                                          CLARKSTON        MI 48346‐4156
STAPLETON, JERRY A      6232 RENDON NEW HOPE RD                                                                  FORT WORTH       TX 76140‐8318
STAPLETON, JERRY E      3884 PARKS RIDGE RD                                                                      VEVAY            IN 47043‐8996
STAPLETON, JOAN M       5647 GRAY RD                                                                             FAIRFIELD        OH 45014‐4433
STAPLETON, JOANN        1041 CARRINGTON ST                                                                       JANESVILLE       WI 53545‐4875
STAPLETON, JOE G        2722 E 150 S                                                                             ANDERSON         IN 46017‐9583
STAPLETON, JOHN J       4663 WILLOWBROOK DR                                                                      MENTOR           OH 44060‐1039
STAPLETON, JOHN P       8491 GLENEAGLE WAY                                                                       NAPLES           FL 34120‐1673
STAPLETON, JOHN P       PO BOX 9022                                                                              WARREN           MI 48090‐9022
STAPLETON, JOYCE        17 COLONIAL CLUB DR #301                                                                 BOYTON BEACH     FL 33435‐8311
STAPLETON, JOYCE K      9009 S 48TH CT                                                                           OAK LAWN          IL 60453‐1304
STAPLETON, JUNIOR E     317 SYCAMORE GLEN                APT 10                                                  MIAMIBURG        OH 45342‐5342
STAPLETON, JUNIOR E     APT 10                           317 SYCAMORE GLEN DRIVE                                 MIAMISBURG       OH 45342‐5706
STAPLETON, KATHLEEN M   7237 SOMERBY                                                                             W BLOOMFIELD     MI 48322‐2932
STAPLETON, LARRY A      1132 SESSIONS DR.                                                                        DAYTON           OH 45459‐0713
STAPLETON, LOUIE R      1606 DRAGOON ST                                                                          DETROIT          MI 48209‐2048
STAPLETON, LOUISE A     5004 GREEN CAY                   CHRISTIANSTAD                                           ST CROIX          VI 00820‐4537
STAPLETON, LOUISE D     5278 REDFORD DR                                                                          BRUNSWICK        OH 44212‐6466
STAPLETON, LOYD K       9168 GLENRIDGE BLVD                                                                      CENTERVILLE      OH 45458‐5018
STAPLETON, MARGIE L.    559 CRYSTAL LAKE DRIVE                                                                   HOLLAND          OH 43528
STAPLETON, MATTHEW E    8006 MEAGHAN LEIGH DR                                                                    EDMOND           OK 73034‐1503
STAPLETON, MAXINE       3514 SW MCDANIAL AVE                                                                     BLUE SPRINGS     MO 64015‐7434
STAPLETON, MERLENE      P O BOX 182                                                                              MEADVIEW         AZ 86444‐0182
STAPLETON, MICHAEL      PO BOX 9022                      SHANGHAI                                                WARREN           MI 48090‐9022
STAPLETON, MICHAEL A    543 ANACONDA RD                                                                          SAINT CLAIR      MO 63077‐4448
STAPLETON, MINNIE       416 WILLIAMS LANE                                                                        ROGERSVILLE      TN 37857‐6084
STAPLETON, NANCY R      3626 WRENDWOOD DR                                                                        MASON            OH 45040
STAPLETON, OTTO M       14082 HWY 10 N                                                                           BUTLER           KY 41006
STAPLETON, PHYLLIS
STAPLETON, RACHEL M     3447 STONEY CREEK ST                                                                     SPRINGFIELD     OH   45504‐4367
STAPLETON, RICHARD M    6331 BALLINA MEADOWS CT                                                                  KATY            TX   77449
STAPLETON, RITA S       2101 NEW TRENTON RD                                                                      WEST HARRISON   IN   47060‐8023
STAPLETON, ROBERT D     613 A ST                                                                                 CREIGHTON       MO   64739‐9102
STAPLETON, ROBERT J     5043 OAKRIDGE DR                                                                         TOLEDO          OH   43623‐2358
STAPLETON, ROBERT N     819 STEWART RD                                                                           ANDERSON        IN   46012‐9609
STAPLETON, ROBIN R      187 BROADMOOR BND                                                                        PITTSBORO       IN   46167‐8979
STAPLETON, SADIE R      2839 OLD YELLOW SPRINGS RD.                                                              FAIRBORN        OH   45324‐2123
STAPLETON, SHARILYN K
STAPLETON, SUSAN K      4712 LAKEWOOD S.E.                                                                       KENTWOOD        MI   49508
STAPLETON, THOMAS A     1774 POLLY ADAMS RD                                                                      BELFAST         TN   37019‐2033
STAPLETON, THOMAS E     527 MURPHY DR                                                                            REPUBLIC        MO   65738‐1763
STAPLETON, THOMAS F     3401 LINCOLN CT                                                                          INDIANAPOLIS    IN   46228‐2793
STAPLETON, THOMAS T     1900 BUELL CT                                                                            ROCHESTER HLS   MI   48306‐1304
STAPLETON, VINCENT R    16875 OVERVIEW LN                                                                        STEWARTSTOWN    PA   17363‐7592
STAPLETON, WALTER       8521 STAGE COACH RD                                                                      BACONTON        GA   31716
STAPLETON, WILLIAM      ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE       MD   21202
                                                         CHARLES CENTER 22ND FLOOR
STAPLETON, WILLIAM R    DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                         NORTH OLMSTED   OH 44070
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Name                               Address1                              Address2                            Address3        Address4                City             State Zip
STAPLETON, WILLIAM S               2306 SPYGLASS COURT                                                                                               FAIRBORN          OH 45324‐8512
STAPLETON, WILLIAM W               2756 64TH STREET SOUTHWEST                                                                                        BYRON CENTER      MI 49315‐9436
STAPLETONS INC                     PO BOX 18                                                                                                         HEMLOCK           MI 48626‐0018
STAPONSKI JR, BENJAMIN L           1803 W ELM ST                                                                                                     GREENWOOD         MO 64034‐9603
STAPONSKI, FRANK X                 PO BOX 130                                                                                                        MEHAMA            OR 97384‐0130
STAPOR, CHRISTIAN M                2145 N STINE RD                                                                                                   CHARLOTTE         MI 48813‐8806
STAPOR, JOHN                       69 ISLAND CT                                                                                                      HASTINGS          MI 49058‐9421
STAPOR, THOMAS J                   1375 BROOKFIELD RD                                                                                                CHARLOTTE         MI 48813
STAPP JOHN                         PO BOX 1165                                                                                                       DICKINSON         TX 77539
STAPP, BENJAMIN E                  1414 WHISPER LAKE BLVD                                                                                            SEBRING           FL 33870‐1202
STAPP, CHARLES D                   12836 W 108TH ST                                                                                                  OVERLAND PARKK    KS 66210‐1138
STAPP, DELILA P                    613 W DAKOTA ST                                                                                                   BUTLER            MO 64730‐1327
STAPP, JAMES A                     APT 203                               7108 EBY AVENUE                                                             OVERLAND PARK     KS 66204‐1660
STAPP, JAMES A                     4212 NW 51ST ST                                                                                                   OKLAHOMA CITY     OK 73112‐2108
STAPP, KATHRYN                     12836 W 108TH ST                                                                                                  OVERLAND PARK     KS 66210‐1138
STAPP, MADELYN F                   1879 MEGAN AVE                                                                                                    CLOVIS            CA 93611‐6973
STAPP, ODESSA K                    8612 N KANSAS AVE APT 202                                                                                         KANSAS CITY       MO 64156‐2952
STAPPERFENNE, ERNEST J             319 ESSEX ST                                                                                                      STIRLING          NJ 07980‐1301
STAPPERT SR, KENNETH S             9706 IRISH RIDGE RD                                                                                               CASSVILLE         WI 53806‐9520
STAR & STRAND TRANSPORTATION                                             300 5TH AVE                                                                                   NY 12182
STAR AUTO AUTHORITY, INC.          600 LAKEVIEW PKWY                                                                                                 VERNON HILLS       IL 60061‐1828
STAR AUTO COLLISION TOWING
STAR AUTO PARTS                    RICH GUYETT                            535 TENNIS COURT LN                                                        SAN BERNARDINO   CA    92408‐1615
STAR AUTO SALES AND SERVICE INC.   ANTHONY MANCUSO                        ROUTE 19 SOUTH                                                             CLARKSBURG       WV    26301
STAR BUILDING SUPPLY INC           ATTN: ROB ARMSTRONG                    PO BOX 649                                                                 KOKOMO           IN    46903‐0649
STAR CARTAGE CO INC                322 MATZINGER RD                                                                                                  TOLEDO           OH    43612‐2627
STAR CHEVROLET COMPANY             1628 AZALEA DR S                                                                                                  WIGGINS          MS    39577‐8132
STAR CHEVROLET COMPANY             ROBERT REGAN                           1628 AZALEA DR S                                                           WIGGINS          MS    39577‐8132
STAR CHEVROLET, INC.               ROBERT SERPENTINI                      140 WEST AVE                                                               TALLMADGE        OH    44278‐2206
STAR CHEVROLET‐NISSAN‐VOLVO        5200 STATE ROUTE 30                                                                                               GREENSBURG       PA    15601‐6405
STAR CUTTER CO                     210 INDUSTRIAL PARK DR                                                                                            ELK RAPIDS       MI    49629
STAR CUTTER CO                     23461 INDUSTRIAL PARK DR               PO BOX 376                                                                 FARMINGTON       MI    48335‐2855
STAR DELIVERY & TRANSFER INC       PO BOX 909                                                                                                        MORTON           IL    61550‐0909
STAR DELTA ELECTRIC LLC            17 BATTERY PL STE 203                                                                                             NEW YORK         NY    10004‐1165
STAR DENTAL                        ATTN: STEVE RAOUF                      775 BALDWIN AVE # C                                                        PONTIAC          MI    48340‐2576
STAR EMS                           ATTN: BILL GRUBB                       PO BOX 420155                                                              PONTIAC          MI    48342‐0155
STAR EMS                           PO BOX 420155                                                                                                     PONTIAC          MI    48342‐0155
STAR FAX & COPY SERVICES           PO BOX 234                                                                                                        LAKE MILLS       WI    53551‐0234
STAR FINANCIAL BANK                ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 3815 RIVER CROSSING PKWY STE 330                                           INDIANAPOLIS     IN    46240‐7808

STAR FINANCIAL BANK                TECHNOLOGY INVESTMENT PARTNERS LLC ATTN: LEGAL OFFICER / BANKRUPTCY 3815 RIVER CROSSING                           INDIANAPOLIS      IN   46240
                                                                      DEPT.                            PARKWAY, STE 33
STAR FINANCIAL BANK                3815 RIVER CROSSING PARKWAY        SUITE 330                                                                      INDIANAPOLIS      IN   46240
STAR FINANCIAL BANK                TECHNOLOGY INVESTMENT PARTNERS LLC 3815 RIVER CROSSING PARKWAY      STE 330                                       INDIANAPOLIS      IN   46240

STAR FREIGHT INC                   417 E COMA ST STE # 636                                                                                           HIDALGO          TX 78557
STAR HEADLIGHT & LANTERN CO INC    455 ROCHESTER ST                                                                                                  AVON             NY 14414‐9503
STAR HEADLIGHT & LANTERN CO        455 ROCHESTER ST                                                                                                  AVON             NY 14414‐9503
INCORPORATED
STAR JAPAN/TOKYO                   MATSUDA BLDG. 2F / 4F                 3‐14‐13 SHIBA , MINATO‐KU                           TOKYO 105 JAPAN
STAR LLOYD                         2205 HOWE RD                                                                                                      BURTON           MI 48519‐1148
STAR M MORAN                       189 MARTHA STREET                                                                                                 SPENCERPORT      NY 14559‐1411
                                      09-50026-mg               Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
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Name                                  Address1                             Address2                          Address3   Address4                 City               State Zip
STAR MACHINE & FABRICATION INC        6620 CRULL SREET                                                                                           CINCINNATI          OH 45244
STAR MAXWELL                          65 PRESTWICK DR                                                                                            YOUNGSTOWN          OH 44512‐1150
STAR MCGAHA                           498 SANDERSON AVE                                                                                          CAMPBELL            OH 44405‐1463
STAR MECHANICAL CONTRACTORS LLC       437 STAGECOACH RD                                                                                          CLARKSBURG          NJ 08510‐1528
STAR MOTOR CO                         PO BOX 367                                                                                                 CLARKSBURG          WV 26302‐0367
STAR OF BETHLEHEM AUMP CHURCH         ATTN: GRACE BOYER                    1203 NEWPORT GAP PIKE                                                 WILMINGTON          DE 19804‐2843
STAR PARTY STORE                      84 AUBURN AVE                                                                                              PONTIAC             MI 48342‐3004
STAR PHYSICAL THERAP                  PO BOX 681478                                                                                              FRANKLIN            TN 37068‐1478
STAR PLASTICS INC                     1930 DREW RD UNIT 1                                                               MISSISSAUGA ON L5S 1J6
                                                                                                                        CANADA
STAR PONTIAC BUICK GMC                260 COUNTRY CLUB RD                                                                                        EASTON             PA 18045‐2341
STAR PONTIAC BUICK GMC TRUCKS, INC.   326 E MARKET ST                                                                                            LEESBURG           VA 20176‐4101

STAR PONTIAC BUICK GMC TRUCKS, INC.   RAYMOND MARTIN GLEMBOT               326 E MARKET ST                                                       LEESBURG           VA 20176‐4101

STAR PONTIAC, INC.                    CLETUS LANDIS                        260 COUNTRY CLUB RD                                                   EASTON             PA 18045‐2341
STAR PRODUCTION & ENTERTAINMENT       PO BOX 5297                                                                                                BOSSIER CITY       LA 71171‐5297
SERVICES INC
STAR RAC                              1587 GALBRAITH RD                                                                                          CINCINNATI         OH   45231
STAR ROGERS JR                        1956 HANDLEY AVE SW                                                                                        ATLANTA            GA   30310‐2215
STAR SERVICES INC OF DELAWARE         ACCT OF WILLIAM ROBERT BROOKS        PO BOX 59141                                                          MINNEAPOLIS        MN   55459‐0141
STAR SHIPPING AS INC                  222 KEARNY ST STE 300                                                                                      SAN FRANCISCO      CA   94108‐4528
STAR SHUTTLE                                                               136 FREEWAY DR E                                                                         NJ   07018
STAR SOURCE MANAGEMENT SERVICE        243 W CONGRESS ST STE 350                                                                                  DETROIT            MI   48226‐3262
STAR SOURCE MANAGEMENT SERVICES       PO BOX 1525                                                                                                NOVI               MI   48376‐1525
INC
STAR SOURCE MANAGEMENT SERVICES       243 W CONGRESS ST STE 350                                                                                  DETROIT            MI 48226‐3262
INC
STAR SOURCE MANAGEMENT SERVICES       LARRY DISMUKIS                       0
INC
STAR SOURCE MANAGEMENT SVCS           2275 CASSENS DR STE 118                                                                                    FENTON             MO   63026‐2561
STAR STAFFING INC                     8199 SMILEY AVE                                                                                            SHELBY TOWNSHIP    MI   48316‐3635
STAR SU                               SU AMERICA                           5200 PRAIRIE STONE PKWY           STE 100                             HOFFMAN ESTATES    IL   60192‐3709
STAR SU INC                           23461 INDUSTRIAL PARK DR                                                                                   FARMINGTON HILLS   MI   48335‐2855
STAR SU LLC                           5200 PRAIRIE STONE PKWY STE 100                                                                            HOFFMAN ESTATES    IL   60192‐3709
STAR SU LLC                           23461 INDUSTRIAL PARK DR                                                                                   FARMINGTON HILLS   MI   48335‐2855
STAR SU LLC                           5200 PRAIRIE STONE PKWY              STE 100                                                               HOFFMAN ESTATES    IL   60192
STAR SU LLC                           ATTN: CORPORATE OFFICER/AUTHORIZED   5200 PRAIRIE STONE PKWY STE 100                                       HOFFMAN ESTATES    IL   60192‐3709
                                      AGENT
STAR TELEGRAM                         400 W 7TH ST                                                                                               FORT WORTH         TX   76102‐4701
STAR TIRE & AUTOMOTIVE                402 S MAIN ST                                                                                              COLUMBIA CITY      IN   46725‐2144
STAR TRANSPORTATION                   PO BOX 409588                                                                                              ATLANTA            GA   30384‐9588
STAR TRIBUNE                                                               909 N 2ND ST                                                                             MN   55401
STAR TRIBUNE COMP                     425 PORTLAND AVE                                                                                           MINNEAPOLIS        MN   55488‐1511
STAR TRUCK RENTALS                    2580 BLACK CREEK RD                                                                                        MUSKEGON           MI   49444‐2674
STAR TRUCK RENTALS                    3203 W SAWYER                                                                                              SAGINAW            MI   48601‐9259
STAR TRUCK RENTALS                    1645 W SOUTH AIRPORT RD                                                                                    TRAVERSE CITY      MI   49686‐4707
STAR TRUCK RENTALS                    1945 SOUTH DORT HWY                                                                                        FLINT              MI   48503
STAR TRUCK RENTALS                    3940 EASTERN AVE SE                                                                                        GRAND RAPIDS       MI   49508‐2417
STAR TRUCK RENTALS INC                3940 EASTERN AVE SE                                                                                        GRAND RAPIDS       MI   49508‐2417
STAR TRUCK RENTALS INC                3717 KING HWY                                                                                              KALAMAZOO          MI   49048‐5902
STAR TRUCK RENTALS INC                901 WEST U.S. 10                                                                                           EVART              MI   49631
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Name                                  Address1                         Address2                        Address3           Address4               City               State Zip
STAR TRUCK RENTALS INC                ATTN: BOB FOWLER                 3203 W SAGINAW ST                                                         LANSING             MI 48917‐2310
STAR TRUCK SALES                      3940 EASTERN AVE SE                                                                                        GRAND RAPIDS        MI 49508‐2417
STAR TRUCK SALES, INC.                3020 S CREYTS RD                                                                                           LANSING             MI 48917‐9533
STAR TRUCK SALES, INC.                WILLIAM BYLENGA                  3020 S CREYTS RD                                                          LANSING             MI 48917‐9533
STAR VREDEVELD                        5707 W MAPLE GROVE RD APT 2838                                                                             HUNTINGTON          IN 46750‐8910
STAR WEST CHEVROLET‐OLDSMOBILE, INC   520 BABCOCK BLVD E                                                                                         DELANO              MN 55328‐9129

STAR WEST CHEVROLET‐OLDSMOBILE, INC. JOHN TACKABERRY                   520 BABCOCK BLVD E                                                        DELANO             MN 55328‐9129

STAR WEST CHEVROLET‐OLDSMOBILE, INC. 520 BABCOCK BLVD E                                                                                          DELANO             MN 55328‐9129

STAR, JESSIE L                        6510 COOPER RD                                                                                             LANSING            MI 48911‐5559
STAR, SOPHIA L                        6189 HUGH STREET                                                                                           BURTON             MI 48509‐1625
STAR‐KEY ENT. LTD                     53 EP WORTHPARK RD. UNIT 1                                                          GRAND BAY NB E5K 2M1
                                                                                                                          CANADA
STAR‐LEDGER THE                       PO BOX 5718                                                                                                HICKSVILLE         NY   11802‐5718
STAR‐TEX PROPANE                                                       20TH & IH 35                                                                                 TX   76703
STARACE, FRANCESCA                    405 W STIMPSON AVE                                                                                         LINDEN             NJ   07036‐4422
STARALA K HARDEN                      2128 WINONA DR                                                                                             MIDDLETOWN         OH   45042‐‐ 24
STARBARD, DARREL M                    4742 E SAINT JOE HWY                                                                                       GRAND LEDGE        MI   48837‐9490
STARBIRD, EDGAR R                     1578 CAMELOT CIR                                                                                           TUCKER             GA   30084‐7703
STARBIRD, GEORGE E                    2014 GLENFAWN                                                                                              COMMERCE TWP       MI   48382‐1728
STARBOARD IND/AUB HL                  27611 HALSTED RD                 C/O PLASTIC TRIM                                                          FARMINGTON HILLS   MI   48331‐3511
STARBOARD IND/E TAWA                  935 AULERICH RD                                                                                            EAST TAWAS         MI   48730‐9565
STARBOARD INDUSTRIES                  DIVISION OF PLASTIC TRIM LLC     PO BOX 67                                                                 DETROIT            MI   48267‐0001
STARBOARD INDUSTRIES INC.             KATHY MITCHELL                   935 AVLERICH RD                                                           EAST THOMAS        MI   48730‐9565
STARBOARD INDUSTRIES INC.             KATHY MITCHELL                   PO BOX 32                       EAST TAWAS PLANT                          CARY               NC   27512‐0032
STARBODY, JAY L                       106 SUNRISE LN                                                                                             BRYAN              OH   43506‐8720
STARBROOK INDUSTRIES INC              260 W EVANSTON RD                                                                                          TIPP CITY          OH   45371‐2314
STARBUCK, DALLAS D                    9973 W STATE ROAD 28                                                                                       RIDGEVILLE         IN   47380‐9327
STARBUCK, GLEN R                      PO BOX 3                                                                                                   KENNARD            IN   47351‐0003
STARBUCK, LARRY D                     4627 GLEN MOOR WAY                                                                                         KOKOMO             IN   46902‐9102
STARBUCK, PHILLIP A                   12405 NW CROOKED RD                                                                                        PARKVILLE          MO   64152‐4907
STARCEVICH, MICHAEL P                 7633 S COUNTY ROAD A                                                                                       SUPERIOR           WI   54880‐8604
STARCEVICH, NANCY M                   7633 SO CITY RD A                                                                                          SUPERIOR           WI   54880
STARCHER LARRY (641340)               BIFFERATO GENTILOTTI & BIDEN     PO BOX 2165                                                               WILMINGTON         DE   19899‐2165
STARCHER PAUL (447928)                BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD         OH   44067
                                                                       PROFESSIONAL BLDG
STARCHER ROY F                        C/O MCKENNA & CHIODO             436 BOULEVARD OF THE ALLIES ‐                                             PITTSBURGH         PA 15219
                                                                       SUITE 500
STARCHER ROY F (507066)               (NO OPPOSING COUNSEL)
STARCHER, BRENDA J                    PO BOX 721                                                                                                 RAVENSWOOD         WV   26164‐0721
STARCHER, CARL G                      6872 LOVE WARNER RD                                                                                        CORTLAND           OH   44410‐9661
STARCHER, DENZIL D                    159 ARBORDALE LN                                                                                           PAINESVILLE        OH   44077‐6105
STARCHER, JOHN P                      4245 NORTHCROFT LN                                                                                         TOLEDO             OH   43611‐1753
STARCHER, LARRY                       BIFFERATO GENTILOTTI & BIDEN     PO BOX 2165                                                               WILMINGTON         DE   19899‐2165
STARCHER, MARTHA JUNE                 57 STRATFORD RD                                                                                            PAINESVILLE        OH   44077‐1526
STARCHER, OSBERT B                    392 CHERRY HILL LN                                                                                         CORTLAND           OH   44410‐1103
STARCHER, OTMER C                     PO BOX 3                         12128 GREENWICH RD                                                        HOMERVILLE         OH   44235‐0003
STARCHER, R M                         BOX 195                                                                                                    MT. ZION           WV   26151
STARCHER, ROY F                       MCKENNA & CHIDO                  436 BOULEVARD OF THE ALLIES ‐                                             PITTSBURGH         PA   15219
                                                                       SUITE 500
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STARCHER, ROY F                    C/O THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD       SUITE 44                    CORAL GABLES           FL 33146
STARCHER, SUZETTE K                4245 NORTHCROFT LN                                                                             TOLEDO                 OH 43611‐1753
STARCK, DUANE A                    671 CHURCHILL LN                                                                               OSWEGO                  IL 60543‐8222
STARCK, ELEANOR C                  18 KENLEN DR                                                                                   EDISON                 NJ 08817‐4808
STARCOM MEDIA VEST GROUP           150 W JEFFERSON AVE STE 400                                                                    DETROIT                MI 48226‐4453
STARCOM MEDIAVEST GROUP
STARCOM MEDIAVEST GROUP INC        150 W JEFFERSON AVE STE 400                                                                    DETROIT               MI 48226‐4453
STARCOM MEDIAVEST GROUP INC
STARCOM MEDIAVEST GROUP INC        ATTN: CORPORATE OFFICER/AUTHORIZED   150 W JEFFERSON AVE STE 400                               DETROIT               MI 48226‐4453
                                   AGENT
STARCOM MEDIAVEST GROUP, INC.      35 WEST WACKER DRIVE                                                                                                  IL   60601
STARCOM MEDIAVEST GROUP, INC.      350 WEST WACKER DRIVE                                                                                                 IL   60601
STARCRAFT AUTOMOTIVE CORP.         2703 COLLEGE AVE                                                                               GOSHEN                 IN   46528‐5040
STARCRAFT AUTOMOTIVE CORPORATION   2703 COLLEGE AVE                                                                               GOSHEN                 IN   46528‐5040

STARCUT SALES INC                  PO BOX 376                           23461 INDUSTRIAL PARK DR                                  FARMINGTON            MI 48332‐0376
STARCUT/FRMNGTN HILL               23461 INDUSTRIAL PARK DR             P.O. BOX 376                                              FARMINGTON HILLS      MI 48335‐2855
STARDEVANT DEROSIA, VICKY L        713 ARROWHEAD                                                                                  CHARLOTTE             MI 48813‐8436
STARDOCK SYSTEMS, INC.
STARE, DONALD E                    741 SHADY LN NE                                                                                WARREN                OH 44484‐1635
STAREE PORTER                      1966 RENFROE RD                                                                                UNION SPRINGS         AL 36089‐2810
STAREK, ARIANNA
STAREK, JAMES                      BRUSTIN MARVIN A LTD                 100 W MONROE ST STE 500                                   CHICAGO                IL   60603‐1921
STAREK, JENNIFER
STAREK, LORRAINE A                 1784 VERNIER RD                                                                                GROSSE POINTE WOODS   MI 48236‐1545
STAREK, STANLEY D                  1413 MAYBERRY LN                                                                               FRANKLIN              TN 37064‐9612
STAREK, WILLOW
STARES, CAROL A                    1110 LIGHTHOUSE RD                                                                             SOUTHOLD              NY    11971‐2301
STARESINA, ANA                     13968 W SPRAGUE RD                                                                             MIDDLEBRG HTS         OH    44130‐7145
STARESINIC, DAVID                  15621 HICKORY ST                                                                               BASEHOR               KS    66007‐8200
STARESINIC, MIROSLAV               16362 DONAHOO RD                                                                               BASEHOR               KS    66007‐5205
STARFIRE SYSTEMS                   10 HERMES RD                                                                                   MALTA                 NY    12020
STARFIRE SYSTEMS INC               1000 SARATOGA VILLAGE BLVD           STE 20                                                    MALTA                 NY    12020‐3703
STARFIRE SYSTEMS INC               SARATOGA TECH & ENERGY PARK          100 SARATOGA VILLAGE BLVD     STE 20                      MALTA                 NY    12020‐3703
STARFIRE SYSTEMS INC               10 HERMES RD                                                                                   MALTA                 NY    12020
STARGEL, KENNETH W                 PO BOX 4                                                                                       TATE                  GA    30177‐0004
STARGEL, MYRON J                   3811 N PENBROOK DR                                                                             MARION                IN    46952‐1035
STARGELL ROYAL (491701)            CHRISTOPHER J. HICKEY, ESQ. BRENT    1220 W 6TH ST STE 303                                     CLEVELAND             OH    44113‐1328
                                   COONE AND ASSOCIATES
STARGELL, CLIFFORD G               1661 JACKSON ST SW                                                                             WARREN                OH    44485‐3549
STARGELL, EVELYN A                 455 CATHERINE ST.                                                                              YOUNGSTOWN            OH    44505‐1507
STARGELL, GEREANA                  1335 NORTHGATE DRIVE                                                                           ATMORE                AL    36502‐6502
STARGELL, JOHN (                   3135 NORTHGATE DR                                                                              ATMORE                AL    36502
STARGELL, KATHRYN C                3797 SMITH NELSON RD                                                                           SOUTHINGTON           OH    44470
STARGELL, KEVIN M                  540 BOARDMAN CANFIELD RD APT 66                                                                YOUNGSTOWN            OH    44512
STARGELL, MICHELLE                 6691 LISTER FERRY RD                                                                           RAINBOW CITY          AL    35906‐9308
STARGELL, REGINA                   2425 CARNEGIE ST                                                                               DAYTON                OH    45406‐1414
STARGELL, ROYAL C                  2115 JEFFERSON ST SW                                                                           WARREN                OH    44485‐3457
STARGELL, WAYNE                    1090 MARTIN LUTHER KING BLVD SW                                                                WARREN                OH    44485‐3026
STARGELL,REGINA                    2425 CARNEGIE ST                                                                               DAYTON                OH    45406‐1414
STARGHILL, HAROLD L                1310 BENNINGTON AVE                                                                            YOUNGSTOWN            OH    44505‐3218
STARGLE, DOROTHY E                 4010 GROVE AVE                                                                                 NORWOOD               OH    45212‐4036
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Name                                    Address1                               Address2                         Address3                  Address4              City            State Zip
STARGRANT, ROSE                         4247 E CHAFER DR                                                                                                        LAS VEGAS        NV 89121‐4652
STARI PETER PAUL (ESTATE OF) (482884)   BARON & BUDD                           3102 OAK LANE AVE , SUITE 1100                                                   DALLAS           TX 75219

STARI, PETER PAUL                       BARON & BUDD                           3102 OAK LANE AVE, SUITE 1100                                                    DALLAS          TX   75219
STARICH, ALAN W                         42 SILO SUMMIT CT                                                                                                       WENTZVILLE      MO   63385‐4346
STARICH, JAMES K                        28 STAGECOACH CT                                                                                                        SAINT PETERS    MO   63376‐2665
STARICH, JAMES K.                       28 STAGECOACH CT                                                                                                        SAINT PETERS    MO   63376‐2665
STARICH, MICHAEL R                      19295 TIMBERLINE DR                                                                                                     BROOKFIELD      WI   53045‐6027
STARICHA, SHERRY A                      3651 LAKEVIEW DR                                                                                                        HIGHLAND        MI   48356‐2379
STARICK, RHONDA L                       366 FERNBARRY DR                                                                                                        WATERFORD       MI   48328‐2506
STARIN, DAWN M                          1125 GILMAN ST                                                                                                          GARDEN CITY     MI   48135‐3018
STARIN, LLOYD D                         1200 N MARTIN LUTHER KING JR BLVD                                                                                       LANSING         MI   48915‐2130
STARIN, MARGARET K                      8912 HARRISON ST                                                                                                        LIVONIA         MI   48150‐4120
STARIN, MARGARET K                      8912 HARRISON                                                                                                           LIVONIA         MI   48150‐4120
STARIN, MARK R                          225 CHARTERHOUSE DR                                                                                                     CANTON          MI   48188‐1521
STARIN, MARK RICHARD                    225 CHARTERHOUSE DR                                                                                                     CANTON          MI   48188‐1521
STARINSKY, MARY F                       1242 CHARLESTON CT                                                                                                      NORTHVILLE      MI   48167‐3308
STARIYA C BURNETT                       3119 TRUMBULL AVE                                                                                                       FLINT           MI   48504‐2547
STARK & SONS ASSOCIATES INC             19111 WEST 10 MILE RD STE A 9                                                                                           SOUTHFIELD      MI   48075
STARK & STARK PC                        993 LENOX DR BLDG 2 3RD FL                                                                                              LAWRENCEVILLE   NJ   08648
STARK AUTOMOTIVE & DIAGNOSTICS          217 N MINNESOTA AVE                                                                                                     SIOUX FALLS     SD   57104‐6000
STARK AUTOMOTIVE GROUP                  1877 W MAIN ST                                                                                                          SUN PRAIRIE     WI   53590‐2527
STARK AUTOMOTIVE GROUP                  1509 HWY 51/138                                                                                                         STOUGHTON       WI   53589
STARK AUTOMOTIVE GROUP                  N259 BRANDENBURG AVE                                                                                                    MERRILL         WI   54452‐9222
STARK AUTOMOTIVE GROUP                  1423 US HIGHWAY 51                                                                                                      STOUGHTON       WI   53589‐3739
STARK BENELLE (447929)                  BEVAN & ASSOCIATES                     10360 NORTHFIELD ROAD , BEVAN                                                    NORTHFIELD      OH   44067
                                                                               PROFESSIONAL BLDG
STARK CHEVROLET CADILLAC                684 NORTHVIEW RD                                                                                                        WAUKESHA        WI 53188‐6913
STARK CHEVROLET OF SUN PRAIRIE, INC.    A. STARK                               1877 W MAIN ST                                                                   SUN PRAIRIE     WI 53590‐2527

STARK CHEVROLET‐PONTIAC‐ BUICK‐         A. STARK                               N259 BRANDENBURG AVE                                                             MERRILL         WI 54452‐9222
CADILLAC, INC.
STARK CHEVROLET‐PONTIAC‐BUICK‐GMC,      A. STARK                               1423 US HIGHWAY 51                                                               STOUGHTON       WI 53589‐3739
INC.
STARK COUNTY TREASURER                  200 TUSCARAWAS ST W                                                                                                     CANTON          OH 44702‐2202
STARK COUNTY TREASURER                  110 CENTRAL PLZ S STE 250                                                                                               CANTON          OH 44702‐1410
STARK COUNTY TREASURER                  ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 110 CENTRAL PLZ S STE 250                                                        CANTON          OH 44702‐1410

STARK DINA                              STARK, DINA                            12 FULLER AVE                                                                    WEST BABYLON    NY 11704‐6202
STARK GARY                              507 OLD ROCK RD                                                                                                         GRANITE CITY    IL 62040‐6809
STARK H R A DIVISION OF WILLIAM STARK   ATTN MELISSA BELIVEAU                  C/O KITCHEN SIMESON MCFARLANE 86 SIMCOE ST S               OSHAWA, ON L1H 4G6,
GROUP                                                                                                                                     CANADA
STARK JR, JOHN R                        1541 W MULBERRY ST                                                                                                      KOKOMO          IN 46901‐4271
STARK JR, RUSSELL J                     3023 ROSS RD                                                                                                            COLUMBIA        TN 38401‐7464
STARK KIMBERLY A                        STARK, KIMBERLY A                  2325 GRANT BUILDING 310 GRANT                                                        PITTSBURGH      PA 15219
                                                                           STREET
STARK REAGAN                            ATTY FOR SATTERLUND SUPPLY COMPANY ATTN: J. CHRISTOPHER CALDWELL,       1111 W. LONG LAKE ROAD,                         TROY            MI 48098
                                                                           ESQ.                                 SUITE 202
STARK RICHARD                           C/O KARRIS HUTCHISON               1455 W ALEXIS RD                                                                     TOLEDO          OH   43612‐4044
STARK SCOTT                             9853 PLER RD                                                                                                            SOUTH LYON      MI   48178
STARK SR, GARY L                        4503 SAINT ANTHONY RD                                                                                                   TEMPERANCE      MI   48182‐9779
STARK STATE COLLEGE                     6200 FRANK AVE NW                                                                                                       CANTON          OH   44720‐7228
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STARK STATE COLLEGE OF TECHNOLOGY   6200 FRANK AVE NW                                                                          CANTON               OH 44720‐7228

STARK TECHNICAL COLLEGE             6200 FRANK AVE NW                                                                          CANTON              OH 44720‐7228
STARK WILLIAM GROUP INC
STARK, ALICE                        APT 3                            3025 COLTON BOULEVARD                                     BILLINGS            MT   59102‐2024
STARK, ALICE E                      420 SARATOGA DR                                                                            PITTSBURGH          PA   15236‐4457
STARK, ALICE I                      800 SIGLER RD                                                                              CARLETON            MI   48117
STARK, ALLAN P                      571 CLAY PIKE                                                                              N HUNTINGDON        PA   15642‐2316
STARK, ALVIN L                      1464 SHARONS DR                                                                            RURAL RETREAT       VA   24368‐5947
STARK, AMY L                        38665 NORTHAMPTON ST                                                                       WESTLAND            MI   48186‐8081
STARK, ANDREW N                     3875 HIGHTREE CIR SE                                                                       WARREN              OH   44484‐3738
STARK, ANITA J                      3918 RAVENWOOD DR SE                                                                       WARREN              OH   44484‐3759
STARK, ANITA L.                     30037 WORTH ST                                                                             GIBRALTAR           MI   48173
STARK, ANNA M                       C/O BAYSHORE HEALTHCARE CENTRE   ROOM 119                                                  HOLMDEL             NJ   07733
STARK, ANTHONY J                    526 NE 5TH ST                    C/O MICHELLE TREMMEL                                      ANKENY              IA   50021‐1913
STARK, ARTHUR R                     946 KATHY CIR                                                                              FLINT               MI   48506‐5249
STARK, AVON M                       1921 LINHART DR                                                                            FESTUS              MO   63028‐3646
STARK, BEN R                        10451 JENNINGS RD                                                                          GRAND BLANC         MI   48439‐9330
STARK, BRIAN M                      3945 HERMANSAU DR                                                                          SAGINAW             MI   48603‐2525
STARK, CHARLES A                    11770 TAWAS CT                                                                             BOKEELIA            FL   33922‐3478
STARK, CHERYL J                     48177 PARK LANE CT                                                                         CANTON              MI   48187‐5469
STARK, CLAIR W                      6360 FALCON                      LAIR DR                                                   NORTH PORT          FL   34287‐2274
STARK, CLARICE A                    4941 SYCAMORE ST                                                                           GREENDALE           WI   53129‐2929
STARK, CONNIE L                     4428 OLD COLONY DR                                                                         FLINT               MI   48507‐6212
STARK, COY W                        355 BETHEL AVE                                                                             MAMMOTH SPRING      AR   72554‐8001
STARK, DAISY J                      2470 BERBEROVICH DR              C/O JAMES A STARK                                         SAGINAW             MI   48603‐3621
STARK, DANIEL L                     2802 ABBOTT ST                                                                             FORT WAYNE          IN   46806‐1323
STARK, DAVID                        7853 ROLLING ACRES                                                                         SUPERIOR TOWNSHIP   MI   48198‐9555
STARK, DEANNA Q                     8115 WINDING OAK LN                                                                        SPRING              TX   77379‐4558
STARK, DEBORAH                      7446 E SCHMIED RD                                                                          VESTABURG           MI   48891‐9480
STARK, DENNIS D                     1813 AYERSVILLE AVE                                                                        DEFIANCE            OH   43512‐3610
STARK, DIANNE J                     2230 W 113TH ST                                                                            CHICAGO             IL   60643‐4103
STARK, DINA                         12 FULLER AVE                                                                              WEST BABYLON        NY   11704‐6202
STARK, DONALD A                     8064 ORA LAKE RD                                                                           HALE                MI   48739‐8904
STARK, DONALD F                     7828 ASHTON AVENUE                                                                         DETROIT             MI   48228‐5410
STARK, DONALD P                     1707 IRENE AVE NE                                                                          WARREN              OH   44483‐3528
STARK, DONALD P                     1707 IRENE, N.E.                                                                           WARREN              OH   44483‐3528
STARK, DONNA G                      4380 SAINT MARTINS DR                                                                      FLINT               MI   48507‐3735
STARK, DORIS M                      34857 FAIRCHILD ST                                                                         WESTLAND            MI   48186‐8410
STARK, DOROTHY                      13 GROTE ST                                                                                BUFFALO             NY   14207‐2423
STARK, DOROTHY                      13 GROTE STREET                                                                            BUFFALO             NY   14207‐2423
STARK, DOROTHY H                    3921 9TH ST                                                                                WAYLAND             MI   49348‐9742
STARK, DUANE R                      PO BOX 147                                                                                 FREELAND            MI   48623‐0147
STARK, EDWARD R                     3929 CANNON RD                                                                             YOUNGSTOWN          OH   44515‐4604
STARK, ELDORA F                     APT 119                          3215 WEST MOUNT HOPE AVENUE                               LANSING             MI   48911‐1274

STARK, ELDORA F                     3215 W MOUNT HOPE AVE APT 119                                                              LANSING             MI   48911‐1274
STARK, ELISABETH J                  2325 OVERLOOK AVE                                                                          YOUNGSTOWN          OH   44509‐2206
STARK, ERICH L                      226 COTTAGE ST                                                                             ROSCOMMON           MI   48653‐8137
STARK, ERNEST J                     4063 PINECREST DR                                                                          TOLEDO              OH   43623‐2111
STARK, ERNEST JAMES                 4063 PINECREST DR                                                                          TOLEDO              OH   43623‐2111
STARK, ESTHER                       6328 FARMSWOOD DR APT 2B                                                                   FORT WAYNE          IN   46804‐8330
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Name                       Address1                            Address2                       Address3   Address4         City              State Zip
STARK, EUGENE W            4314 STATE ROUTE 110                                                                           DE SOTO            MO 63020‐3214
STARK, GARY L              4413 NE 48TH TER                                                                               KANSAS CITY        MO 64119‐3608
STARK, GAYLE D             7878 COPPER GULCH RD                                                                           TEXAS CREEK        CO 81223
STARK, GEORGE              1609 FRANKLIN DR                    C/O JAMES H ROSS                                           PLAINFIELD         IN 46168‐1933
STARK, GEORGE D            204 EMERALD CIR                                                                                DUNDEE             MI 48131‐2011
STARK, GERALD              PO BOX 224                                                                                     MILL RUN           PA 15464‐0224
STARK, GERALD R            LAW OFFICES OF MICHAEL B. SERLING     280 N OLD WOODWARD AVE STE                               BIRMINGHAM         MI 48009‐5394
                                                                 406
STARK, GERALD R (667190)   C/O LAW OFFICES OF MICHAEL B. SERLING 280 N OLD WOODWARD AVE STE                               BIRMINGHAM        MI 48009‐5394
                                                                 406
STARK, GERALDINE F         5430 KITRIDGE RD                                                                               DAYTON            OH   45424‐4442
STARK, GLORIA J            407 N BRIDGE ST                                                                                LINDEN            MI   48451‐9789
STARK, HAROLD E            400 NE TERR                           LINDEN TRAILER PK LOT 4                                  GLADSTONE         MO   64118
STARK, HAROLD I            3215 S MERIDIAN ST                                                                             INDIANAPOLIS      IN   46217‐3231
STARK, HAROLD R            10 RIDGEWOOD AVE                                                                               MASSENA           NY   13662‐2115
STARK, HOWARD M            PO BOX 45                                                                                      WHEELER           MI   48662‐0045
STARK, JAMES G             345 W SOUTH BOUNDARY ST                                                                        PERRYSBURG        OH   43551‐1761
STARK, JAMES GORDON        345 W SOUTH BOUNDARY ST                                                                        PERRYSBURG        OH   43551‐1761
STARK, JAMES W             200 SONTAG DR                                                                                  FRANKLIN          TN   37064‐5762
STARK, JANE K              440 W RUSSELL ST                      EVANGELICAL HOME SALINE                                  SALINE            MI   48176‐1184
STARK, JANET               1668 FAIRLAWN ST                                                                               DEFIANCE          OH   43512‐4013
STARK, JANIE               3280 POMME DE TERRE CIR                                                                        FLEMINGTON        MO   65650‐9552
STARK, JAY I               4221 MARGATE LN                                                                                BLOOMFIELD        MI   48302‐1627
STARK, JEAN                APT 1‐A MIDDLESEX VILLAGE                                                                      MIDDLESEX         NJ   08846‐2060
STARK, JERROLD A           5026 CENTER ST                                                                                 GEORGETOWN        IL   61846‐6146
STARK, JOANNE K            765 DRESDEN DR                                                                                 HUBBARD           OH   44425‐1219
STARK, JOANNE K            765 DRESDEN DRIVE                                                                              HUBBARD           OH   44425‐1219
STARK, JOHN                5538 REGIMENTAL PLACE                                                                          CINCINNATI        OH   45239‐6719
STARK, JOHN C              4380 SAINT MARTINS DR                                                                          FLINT             MI   48507‐3735
STARK, JOHN E              6078 EAST AVE                                                                                  NEWFANE           NY   14108‐1304
STARK, JOHN G              250 TWIN OAKS RD                                                                               DOVER             TN   37058‐3717
STARK, JON A               1330 LAKESIDE                                                                                  ERIE              MI   48133
STARK, JON ANTHONY         1330 LAKESIDE                                                                                  ERIE              MI   48133
STARK, JOSEPH S            13 GROTE ST                                                                                    BUFFALO           NY   14207‐2423
STARK, JULIE ANN
STARK, KAREN               8343 S STONY DR APT 40                                                                         WASHINGTON        MI   48094‐2389
STARK, KARL A              1490 MARINER DR                                                                                WALLED LAKE       MI   48390‐3653
STARK, KARL ALLEN          1490 MARINER DR                                                                                WALLED LAKE       MI   48390‐3653
STARK, KATHLEEN A          56777 SAINT JAMES DR                                                                           SHELBY TOWNSHIP   MI   48316‐4849
STARK, KEITH J             2672 ELTON CIR                                                                                 LAMBERTVILLE      MI   48144‐9451
STARK, KIMBERLY N          12715 E 89TH ST N                                                                              OWASSO            OK   74055
STARK, LARRY D             PO BOX 209                                                                                     BUTLER            MO   64730
STARK, LARRY E             548 SHATTUCK RD APT 1                                                                          SAGINAW           MI   48604‐2381
STARK, LEE R               3041 COVENTRY DRIVE                                                                            WATERFORD         MI   48329‐3322
STARK, LEGALE E            2073 SAKO DRIVE                                                                                PLANO             TX   75023‐3224
STARK, LEROY JAMES         GORI JULIAN & ASSOCIATES P C        156 N MAIN ST                                              EDWARDSVILLE      IL   62025
STARK, LYNNE               15902 ALLEN AVE                                                                                BELTON            MO   64012‐1514
STARK, MAE M               1707 IRENE AVE NE                                                                              WARREN            OH   44483‐3528
STARK, MAE M               1707 IRENE N.E.                                                                                WARREN            OH   44483‐3528
STARK, MARGARET E.         3509 WILLOW BEACH TRL SW                                                                       PRIOR LAKE        MN   55372‐2382
STARK, MARK R              3363 STONY POINT RD                                                                            GRAND ISLAND      NY   14072‐1152
STARK, MARK R.             3363 STONY POINT RD                                                                            GRAND ISLAND      NY   14072‐1152
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Name                     Address1                          Address2            Address3         Address4         City               State Zip
STARK, MARLETA V         PO BOX 687                                                                              PORT HADLOCK        WA 98339‐0687
STARK, MARVIN K          2412 KEYLON DR                                                                          W BLOOMFIELD        MI 48324‐1337
STARK, MARY J            15409 COLLEGE AVE                                                                       GEORGETOWN           IL 61846
STARK, MARY L            4141 MCCARTY RD                   APT 209                                               SAGINAW             MI 48603
STARK, MARY L            4141 MCCARTY RD APT 209                                                                 SAGINAW             MI 48603‐9325
STARK, MATTHEW W         6300 AIKEN RD                                                                           LOCKPORT            NY 14094‐9618
STARK, MICHAEL E         9 W MIDLAND RD                                                                          AUBURN              MI 48611‐9311
STARK, MYRANDA
STARK, NOAH
STARK, NORBERT A         1712 SHEARING DR                                                                        MARILLA            NY   14102‐9740
STARK, NORBERT ANTHONY   1712 SHEARING DR                                                                        MARILLA            NY   14102‐9740
STARK, NORBERT F         1875 W ERICKSON RD                                                                      LINWOOD            MI   48634‐9750
STARK, PATRICIA A        22320 HEATHERBRAE WAY S                                                                 NOVI               MI   48375‐4930
STARK, PATRICK H         5920 SUMMER PLACE DR                                                                    SYLVANIA           OH   43560‐4247
STARK, PATRICK V         2296 E WILLARD RD                                                                       CLIO               MI   48420‐7963
STARK, PATRICK V.        2296 E WILLARD RD                                                                       CLIO               MI   48420‐7963
STARK, PAUL D            402 MICHIGAN ST                                                                         WESTVILLE          IL   61883‐1730
STARK, PAUL D            KALO ZILINSKI & SWANN             4500 E COURT ST                                       BURTON             MI   48509‐1820
STARK, PHILIP L          34 CHURCH ST S APT 49                                                                   BRASHER FALLS      NY   13613‐3209
STARK, RICHARD A         803 JENNA SR                                                                            SOUTH WHITLEY      IN   46787
STARK, RICHARD C         2504 DARTMOUTH DR                                                                       JANESVILLE         WI   53548‐6710
STARK, RICHARD J         2205 LOTUS DR                                                                           ERIE               MI   48133‐9667
STARK, RICHARD JOSEPH    2205 LOTUS DR                                                                           ERIE               MI   48133‐9667
STARK, RICHARD L         24132 BOWMAN RD                                                                         DEFIANCE           OH   43512‐6819
STARK, RICKEY E          128 CARDINAL CIR                                                                        LAWSON             MO   64062‐9314
STARK, RICKIE L          739 SECTION LINE RD                                                                     GREERS FERRY       AR   72067‐9555
STARK, ROBERT A          4180 SHEELY RD                                                                          LEETONIA           OH   44431‐9736
STARK, ROBERT E          ROUTE 1BOX 419‐B                                                                        OZARK              MO   65721
STARK, ROBERT E          6603 VANDA LN                                                                           LAND O LAKES       FL   34637‐3381
STARK, ROBERT J          7 CEDAR DR                                                                              ANDOVER            OH   44003‐8608
STARK, ROGER A           1309 SW 5TH TER                                                                         OAK GROVE          MO   64075‐9517
STARK, ROGER D           4205 DONALD ST                                                                          LANSING            MI   48910‐4515
STARK, ROGER L           3928 GLENHURST RD                                                                       BALTIMORE          MD   21222‐2833
STARK, RONALD            29929 WOODHAVEN LN                                                                      SOUTHFIELD         MI   48076‐5285
STARK, RONALD R          1015 OLEANDER ST                                                                        ENGLEWOOD          FL   34223‐2438
STARK, ROYCE C           11655 COUNTY ROAD 92                                                                    ROGERSVILLE        AL   35652‐5155
STARK, RUSSEL J          11553 LAKESHORE DR                                                                      LAKEVIEW           MI   48850‐9708
STARK, RUTH W            1651 N WALNUT ST                                                                        DANVILLE           IL   61832‐2387
STARK, SALLY A           5165 SHARPS CT                                                                          WESTERVILLE        OH   43081‐4457
STARK, SAUNDRA J         5418 GARDENDALE AVE                                                                     TROTWOOD           OH   45427‐2107
STARK, SCOTT M           9853 PEER RD                                                                            SOUTH LYON         MI   48178‐9180
STARK, SHELLEY M         14751 ENDICOTT WAY                                                                      APPLE VALLEY       MN   55124‐6406
STARK, STEVEN R          1005 E WILLOW DR                                                                        OLATHE             KS   66061‐4949
STARK, TERRENCE L        56777 SAINT JAMES DR                                                                    SHELBY TWP         MI   48316‐4849
STARK, THELMA L          BOX 155                                                                                 UTICA              KS   67584‐0155
STARK, THELMA L          PO BOX 155                                                                              UTICA              KS   67584‐0155
STARK, THOMAS
STARK, THOMAS E          475 NICKLAUS BLVD                                                                       NORTH FORT MYERS   FL   33903‐2611
STARK, THOMAS S          5340 BLUE HERON DR                                                                      ALMA               MI   48801‐9559
STARK, VEARRON C         297 NORTH DR                                                                            DAVISON            MI   48423‐1609
STARK, VELMAN L          313 PARADISE LN                                                                         GRANITE CITY       IL   62040‐2830
STARK, VERNOR C          13331 NELSON RD                                                                         BATH               MI   48808‐9491
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Name                                    Address1                             Address2                        Address3   Address4         City            State Zip
STARK, VIRGINIA L                       1432 S AURILLA DR                                                                                SAINT JOSEPH     MI 49085‐3401
STARK, VIRGINIA L                       1432 S. AURILLA                                                                                  ST. JOSEPH       MI 49085
STARK, VIVIAN                           266 S ELM                                                                                        MANTENO           IL 60950‐1451
STARK, VIVIAN                           266 S ELM ST                                                                                     MANTENO           IL 60950‐1451
STARK, WILLIAM D                        502 WITHERELL ST                                                                                 SAINT CLAIR      MI 48079‐5354
STARK, WILLIAM D                        180 N CRANBROOK CROSS RD                                                                         BLOOMFIELD       MI 48301‐2508
STARK, WILLIAM H                        15116 CHARLUENE DR                                                                               FENTON           MI 48430‐1404
STARKE CHEVROLET, LLC                   PRESTON SLOAN                        1901 N TEMPLE AVE                                           STARKE           FL 32091‐1962
STARKE COUNTY TREASURER                 53 EAST MOUND STREET                                                                             KNOX             IN 46534
STARKE SHELDON                          STARKE, SHELDON                      55 PUBLIC SQ STE 650                                        CLEVELAND        OH 44113‐1909
STARKE, ANDREW B                        407 OLD STAGE RD.                                                                                GLEN BURNIE      MD 21061
STARKE, HARRY P                         PO BOX 15103                                                                                     HAMILTON         OH 45015‐0103
STARKE, JAMES L                         113 STILLMEADOW DR                                                                               JOPPA            MD 21085‐4748
STARKE, LARRY E                         3075 S MILLER RD                                                                                 SAGINAW          MI 48609‐9747
STARKE, LAURINDA H                      1337 NORTH 33 ROAD                                                                               CADILLAC         MI 49601‐8829
STARKE, MARTIN E                        7741 S RAUCHOLZ RD                                                                               SAINT CHARLES    MI 48655‐8706
STARKE, SHELDON                         KAHN & ASSOCIATES                    55 PUBLIC SQ STE 650                                        CLEVELAND        OH 44113‐1909
STARKE, THOMAS M                        51310 S ADELE CIR                                                                                CHESTERFIELD     MI 48047‐3089
STARKE, VICTOR D                        21245 W MARION RD                                                                                BRANT            MI 48614
STARKEBAUM, RICHARD E                   14321 DOVE CREEK RD                                                                              OKLAHOMA CITY    OK 73165‐8926
STARKEL, CLARA J                        5205 CEDAR BEND DRIVE                                                                            GRAND BLANC      MI 48439
STARKEL, FRED A                         PO BOX 1297                                                                                      CRAWFORDVILLE    FL 32326‐1297
STARKEL, JAMES C                        6464 ROYAL CLUB DR                                                                               FLUSHING         MI 48433‐3536
STARKEL, JANE K                         5309 DON SHENK DR                                                                                SWARTZ CREEK     MI 48473‐1103
STARKEL, LARRY C                        4082 40TH AVENUE NORTH                                                                           ST PETERSBURG    FL 33714‐4310
STARKEL, PAUL D                         73720 SHADOW MOUNTAIN DR APT 12                                                                  PALM DESERT      CA 92260‐4806
STARKEL, ROBERT G                       4248 W ROUNDHOUSE RD APT 1                                                                       SWARTZ CREEK     MI 48473‐1441
STARKES, AZURE                          PO BOX 506                                                                                       HEBER            AZ 85928
STARKES, DARRYL V                       PO BOX 901370                                                                                    KANSAS CITY      MO 64190‐1370
STARKEY & HENRICKS                      PETER BIRD                           121 VARICK STREET                                           NEW YORK         NY 10013
STARKEY & HENRICKS                      121 VARICK ST                                                                                    NEW YORK         NY 10013
STARKEY & HENRICKS                      ATTN: CORPORATE OFFICER/AUTHORIZED   121 VARICK ST                                               NEW YORK         NY 10013
                                        AGENT
STARKEY INC.                                                                 4500 W MAPLE ST                                                             KS 67209
STARKEY JACK Y JR (407253)              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                                             STREET, SUITE 600
STARKEY JR, BOBBY H                     5063 DURNHAM DR                                                                                  WATERFORD       MI   48327‐3110
STARKEY JR, MOSE                        PO BOX 6060                                                                                      CINCINNATI      OH   45206‐0060
STARKEY JR, PHILIP G                    857 MILDRED AVE                                                                                  BALTIMORE       MD   21222‐1342
STARKEY JR., JAMES E                    1074 WESTWOOD DR                                                                                 MOORESVILLE     IN   46158‐1125
STARKEY PAULETTE (ESTATE OF) (447933)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH   44067
                                                                             PROFESSIONAL BLDG
STARKEY ROY W (429864)                  GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                                             STREET, SUITE 600
STARKEY WILBUR L (429865)               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                                             STREET, SUITE 600
STARKEY, AMY L                          1410 HOLLAND ST                                                                                  MELBOURNE       FL   32935‐2823
STARKEY, ANN M                          2261 E 400 N                                                                                     OSSIAN          IN   46777‐9661
STARKEY, ARTHUR L                       3480 SPRINGDALE DR                                                                               LAMBERTVILLE    MI   48144‐9602
STARKEY, BARBARA J                      1117 N COLLEGE RD                                                                                MASON           MI   48854‐9321
STARKEY, BETTY J                        410 N RUSH ST                                                                                    FAIRMOUNT       IN   46928‐1643
STARKEY, BETTY J                        410 N. RUSH                                                                                      FAIRMOUNT       IN   46928‐1643
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Name                       Address1                          Address2                       Address3   Address4         City               State Zip
STARKEY, BISHOP K          76 LANSDOWNE BLVD                                                                            YOUNGSTOWN          OH 44506‐1135
STARKEY, BOBBY H           1840 MAUVA JUAN RD                                                                           JACKSONVILLE        FL 32225‐2130
STARKEY, CHARLES F         9060 SE 120TH LOOP                                                                           SUMMERFIELD         FL 34491‐9468
STARKEY, CONNIE            221 E HAMILTON ST                                                                            BRYAN               OH 43506‐2116
STARKEY, DENNIS B          14636 N 300 E                                                                                COVINGTON           IN 47932‐7033
STARKEY, DILLON J          7256 LAKERIDGE DR                                                                            FORT WAYNE          IN 46819‐1926
STARKEY, DONALD R          2232 HUBBARD CT                                                                              TROY                MO 63379‐4844
STARKEY, DOROTHY V         702 CRESTVIEW DR                                                                             DURHAM              NC 27712‐2337
STARKEY, DORRIS L          829 HALESWORTH DR                                                                            CINCINNATI          OH 45240‐1856
STARKEY, EDDIE J           2229 SE 40TH ST                                                                              OKLAHOMA CITY       OK 73129‐8546
STARKEY, ELIZABETH W       643 BELLAIR CT                                                                               NILES               OH 44446‐1082
STARKEY, ELIZABETH W       643 BELLAIR CRT                                                                              NILES               OH 44446‐1058
STARKEY, FRED P            308 SURREY PL                                                                                MACUNGIE            PA 18062‐1801
STARKEY, GARY L            211 ALPHA RD                                                                                 NEWPORT             TN 37821‐9403
STARKEY, GEORGE E          2519 RUTH DR                                                                                 FENTON              MI 48430‐8806
STARKEY, HARRELL R         4301 GREENVILLE RD                                                                           FARMDALE            OH 44417‐9713
STARKEY, HERCHAL C         31478 BAGLEY RD 11                                                                           NORTH RIDGEVILLE    OH 44039
STARKEY, JACK Y            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA 23510‐2212
                                                             STREET, SUITE 600
STARKEY, JAMES E           1012 LONGFELLOW LN                                                                           PLAINFIELD         IN   46168‐1446
STARKEY, JAMES L           7156 W 200 S                                                                                 SWAYZEE            IN   46986‐9745
STARKEY, JAMES L           7156 WEST 200 SOUTH                                                                          SWAYZEE            IN   46986‐9745
STARKEY, JAMES M           415 E 2ND NORTH ST                                                                           LAINGSBURG         MI   48848‐9687
STARKEY, JANICE E          PO BOX 9022                                                                                  WARREN             MI   48090‐9022
STARKEY, JEFFREY L         6449 MCCANDLISH RD                                                                           GRAND BLANC        MI   48439‐9555
STARKEY, JESSICA ANN       6161 N MAIN ST                                                                               OSSIAN             IN   46777‐9683
STARKEY, JON C             11472 SPARKS DAVIS ROAD                                                                      KEITHVILLE         LA   71047‐8592
STARKEY, KATHLEEN A        41352 CLAIRPOINTE ST                                                                         HARRISON TWP       MI   48045‐5915
STARKEY, KENNETH J         4157 MINERVA DR                                                                              FLINT              MI   48504‐1430
STARKEY, LELA J            605 CASSVILLE RD                                                                             KOKOMO             IN   46901‐5904
STARKEY, LEOLA             6341 EASTBROOKE                                                                              WEST BLOOMFIELD    MI   48322‐1047
STARKEY, LEON J            4526 FISCHER ST                                                                              DETROIT            MI   48214‐1296
STARKEY, LILA              PO BOX 432                                                                                   THACKERVILLE       OK   73459‐0432
STARKEY, MABEL             G‐13188 CLIO ROAD                                                                            CLIO               MI   48420‐1029
STARKEY, MARTY L           1609 COUNTY ROAD 129                                                                         WEDOWEE            AL   36278‐7220
STARKEY, MERVIN F          PO BOX 41                                                                                    BISMARCK           IL   61814‐0041
STARKEY, P L               1701 COUNTY RD 37                                                                            FLORENCE           AL   35634
STARKEY, PAUL E            2261 E 400 N                                                                                 OSSIAN             IN   46777‐9661
STARKEY, PAUL W            3207 KIRK RD                                                                                 YOUNGSTOWN         OH   44511‐2147
STARKEY, PAULETTE          BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD         OH   44067
                                                             PROFESSIONAL BLDG
STARKEY, PHILIP C          1916 S CR 450 E                                                                              BLUFFTON           IN   46714
STARKEY, RACHEL J          1916 S 450 E                                                                                 BLUFFTON           IN   46714‐9418
STARKEY, REBA              2852 CLAYTON DELANEY RD                                                                      CLAYTON            DE   19938
STARKEY, REBECCA MARIE     1525 RIDGEWOOD LN                                                                            BLUFFTON           IN   46714
STARKEY, REX D             211 MATTERHORN CT                                                                            GLEN CARBON        IL   62034‐1326
STARKEY, REX DODD          211 MATTERHORN CT                                                                            GLEN CARBON        IL   62034‐1326
STARKEY, RICHARD W         36110 QUAKERTOWN LN                                                                          FARMINGTN HLS      MI   48331‐3881
STARKEY, RICHARD WILLIAM   36110 QUAKERTOWN LN                                                                          FARMINGTN HLS      MI   48331‐3881
STARKEY, ROBERT J          PO BOX 9022                                                                                  WARREN             MI   48090‐9022
STARKEY, ROY W             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510‐2212
                                                             STREET, SUITE 600
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Name                                Address1                              Address2                       Address3   Address4         City            State Zip
STARKEY, SCOTT W                    427 MARBOROUGH DR                                                                                FORT WAYNE       IN 46804‐6455
STARKEY, SHIRLEY C                  11165 STANWICK CT                                                                                SAINT LOUIS      MO 63126‐3431
STARKEY, STEPHEN L                  234 NEVADA AVE                                                                                   ROCHESTER HLS    MI 48309‐1568
STARKEY, THOMAS W                   5035 WINDY KNOLL CT                                                                              FORT WAYNE       IN 46809‐9525
STARKEY, THOMAS WESLEY              5035 WINDY KNOLL CT                                                                              FORT WAYNE       IN 46809‐9525
STARKEY, TODD E                     2713 WEST LONG MEADOW LANE                                                                       MUNCIE           IN 47304‐5896
STARKEY, TODD E                     2713 WEST LONGMEDOW LANE                                                                         MUNCIE           IN 47304
STARKEY, VIRGINIA                   1657 ANCHOR DR W                                                                                 COLUMBUS         OH 43207‐1506
STARKEY, VIRGINIA                   247 E. WOODROW                                                                                   COLUMBUS         OH 43207
STARKEY, WAYNE N                    4512 THORNTREE DR                                                                                BURTON           MI 48509‐1239
STARKEY, WILBUR L                   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510‐2212
                                                                          STREET, SUITE 600
STARKEY, WILLIAM A                  1725 E CHURCHVILLE RD                                                                            BEL AIR         MD   21015‐4805
STARKEY, WILLIAM ALLEN              1725 E CHURCHVILLE RD                                                                            BEL AIR         MD   21015‐4805
STARKEY, WILLIAM C                  1411 LORIS LOOP                                                                                  LADY LAKE       FL   32162‐3774
STARKEY‐MILLER, LELA J              605 CASSVILLE RD                                                                                 KOKOMO          IN   46901‐5904
STARKGRAF, GLORIA                   19022 KARL CT NE                      C/O RICHARD STRAKGRAF                                      POULSBO         WA   98370‐8718
STARKGRAF, GLORIA                   C/O RICHARD STRAKGRAF                 19022 KARL PLACE NE                                        POULSBO         WA   98370
STARKING, DAVID                     2459 SWEET CLOVER LN                                                                             LAPEER          MI   48446‐9479
STARKING, RACHAEL E                 4673 FIVE LAKES RD                                                                               NORTH BRANCH    MI   48461‐8415
STARKINGS, ERNESTINE A              5974 WEST OREGON ROAD                                                                            LAPEER          MI   48446‐8079
STARKINGS, ERNESTINE A              5974 W OREGON RD                                                                                 LAPEER          MI   48446
STARKKA RALPH N (429866)            GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510
                                                                          STREET, SUITE 600
STARKKA RAYMEN A (429867)           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA 23510
                                                                          STREET, SUITE 600
STARKKA, RALPH N                    GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA 23510‐2212
                                                                          STREET, SUITE 600
STARKKA, RAYMEN A                   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA 23510‐2212
                                                                          STREET, SUITE 600
STARKOLIT, FRANK C                  7163 CHIRCO DR                                                                                   SHELBY TWP      MI 48316‐3425
STARKS CHARLES JOSEPH               C/O EDWARD O MOODY PA                 801 WEST 4TH STREET                                        LITTLE ROCK     AR 77201
STARKS CLYDE (ESTATE OF) (490567)   GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH      PA 15219

STARKS DALE                         6324 CONGRESS DRIVE                                                                              PENDLETON       IN   46064‐8509
STARKS DEBRA HENDERSON              C/O EDWARD O MOODY PA                 801 WEST 4TH STREET                                        LITTLE ROCK     AR   77201
STARKS II, CARL ANTHONY             9515 OLMSTEAD RD                                                                                 KANSAS CITY     MO   64134‐2339
STARKS JR, ERNEST                   5777 BUCKINGHAM AVE                                                                              DETROIT         MI   48224‐3256
STARKS JR, HENRY                    252 ROBERT ST                                                                                    BALTIMORE       MD   21217‐4344
STARKS JR, JAMES                    15883 APPOLINE ST                                                                                DETROIT         MI   48227‐4011
STARKS LASHUNDRA                    STARKS, EARNESTINE                    1400 URBAN CENTER DR STE 475                               BIRMINGHAM      AL   35242‐2245
STARKS LASHUNDRA                    STARKS, LASHUNDRA                     1400 URBAN CENTER DR STE 475                               BIRMINGHAM      AL   35242‐2245
STARKS LASHUNDRA                    STARKS, LASHUNDRA                     200 CAHABA PARK CIR STE 214                                BIRMINGHAM      AL   35242‐8113
STARKS SR., SYLVESTER               2665 RICHTON ST                                                                                  DETROIT         MI   48206
STARKS TERRY                        STARKS, TERRY                         805 WEAVER ST                                              LARCHMONT       NY   10538
STARKS, ALFONSO C                   5111 FIELD ST                                                                                    DETROIT         MI   48213‐2803
STARKS, ALFONSO C                   5111 FIELD STREET                                                                                DETROIT         MI   48213‐2803
STARKS, ALICIA D                    1025 MAIDEN PL                                                                                   DAYTON          OH   45418‐1955
STARKS, ALTHEA                      3548 SEASONS DR                                                                                  ANTIOCH         TN   37013‐4952
STARKS, ANNA B                      2398 MURRAY HWY                                                                                  BENTON          KY   42025‐4601
STARKS, ANNA B                      1078 EMERALD FOREST LN                                                                           DAVISON         MI   48423‐9024
STARKS, ARNOLD F                    2990 LOWER BEAR PAW RD                                                                           MURPHY          NC   28906‐1717
                          09-50026-mg              Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                      Address1                              Address2                       Address3   Address4         City           State Zip
STARKS, ARTHUR L          7111 NORTHVIEW DRIVE                                                                             LOCKPORT        NY 14094‐5340
STARKS, BARBARA J         6246 W ADAMS                                                                                     BELLEVILLE      MI 48111‐4201
STARKS, BARBARA J         8711 SUMMIT AVE                                                                                  BALTIMORE       MD 21234‐4625
STARKS, BRADLEY JOE       1085 RED PINE DR                                                                                 IONIA           MI 48846‐8655
STARKS, CALVIN A          7111 NORTHVIEW DR                                                                                LOCKPORT        NY 14094‐5340
STARKS, CARMEN C          2524 ELSMERE AVENUE                                                                              DAYTON          OH 45406‐1935
STARKS, CASSANDRA E       1550 VANCOUVER DR                                                                                DAYTON          OH 45406‐4748
STARKS, CATHY             2407 ENGLAND AVE                                                                                 DAYTON          OH 45406‐1322
STARKS, CHARLES JOSEPH    MOODY EDWARD O                        801 W 4TH ST                                               LITTLE ROCK     AR 72201‐2107
STARKS, CHARLOTTE M       2530 MAPLE GROVE AVE                                                                             RACINE          WI 53404‐2221
STARKS, CLYDE             GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH      PA 15219

STARKS, DARLENE           PO BOX 43033                                                                                     DETROIT        MI   48243‐0033
STARKS, DARRYL H          601 NEVADA AVE                                                                                   PONTIAC        MI   48341‐2556
STARKS, DAVID P           3243 CHAMPIONS DR                                                                                WILMINGTON     DE   19808‐2601
STARKS, DEBRA HENDERSON   MOODY EDWARD O                        801 W 4TH ST                                               LITTLE ROCK    AR   72201‐2107
STARKS, DELLIE LEE        SHANNON LAW FIRM                      100 W GALLATIN ST                                          HAZLEHURST     MS   39083‐3007
STARKS, DOLORES           1616 DOGWOOD RD                                                                                  FLOURTOWN      PA   19031‐2207
STARKS, DOUGLAS           1027 ALLGOOD RD                                                                                  STONE MTN      GA   30083‐5016
STARKS, DUKE              824 CONRAD C2                                                                                    LANSING        MI   48911
STARKS, EARNESTINE        ALVIS & WILLINGHAM                    1400 URBAN CENTER DR STE 475                               BIRMINGHAM     AL   35242‐2245
STARKS, ERIC E            1423 KUMLER AVE 200                                                                              DAYTON         OH   45406
STARKS, EUGENE            1720 RUSKIN ROAD                                                                                 DAYTON         OH   45406‐4016
STARKS, EUGENE            1720 RUSKIN RD                                                                                   DAYTON         OH   45406‐4016
STARKS, EVERETT W         PO BOX 46                                                                                        LAINGSBURG     MI   48848‐0046
STARKS, GLENDON D         6324 CONGRESS DR                                                                                 PENDLETON      IN   46064‐8509
STARKS, GORDON A          11346 N STATE ROAD 138                                                                           EVANSVILLE     WI   53536‐8927
STARKS, HAZEL R           4318 JOHN WESLEY DR                                                                              DECATUR        GA   30035‐2142
STARKS, JAMES A           1186 LATHRUP AVE                                                                                 SAGINAW        MI   48638‐4785
STARKS, JENNIE B          201 WEST JOLLY RD                                                                                LANSING        MI   48910
STARKS, JESSE J           558 S 9TH ST                                                                                     GRIFFIN        GA   30224‐4158
STARKS, JOAN M            4613 PENDLETON                                                                                   MILTON         WI   53563‐8435
STARKS, JOHNNIE L         401 N UPLAND AVENUE                                                                              DAYTON         OH   45417‐1663
STARKS, JOHNNY E          428 W 234TH PL                                                                                   CARSON         CA   90745‐5108
STARKS, KENNETH           SHANNON LAW FIRM                      100 W GALLATIN ST                                          HAZLEHURST     MS   39083‐3007
STARKS, LAGRANT           PO BOX 2724                                                                                      DETROIT        MI   48202‐0724
STARKS, LASHUNDRA         2102 8TH ALY N                                                                                   BESSEMER       AL   35020‐4957
STARKS, LASHUNDRA         WEAVER TIDMORE LLC                    200 CAHABA PARK CIR STE 214                                BIRMINGHAM     AL   35242‐8113
STARKS, LASHUNDRA         ALVIS & WILLINGHAM                    1400 URBAN CENTER DR STE 475                               BIRMINGHAM     AL   35242‐2245
STARKS, LISA G            45 S 3RD ST                                                                                      HILBERT        WI   54129‐9586
STARKS, LISA M            822 E MILWAUKEE ST                                                                               JANESVILLE     WI   53545‐3163
STARKS, LULA M            1240 ARAPAHOE CT                                                                                 NAPERVILLE     IL   60540‐0919
STARKS, LULA M            1240 ARAPAHO CRT                                                                                 NAPERVILLE     IL   60540‐0919
STARKS, MICHAEL B         20510 KEYSTONE ST                                                                                DETROIT        MI   48234‐2317
STARKS, MIRTHA R          PO BOX 90                                                                                        LAKE CITY      MI   49651
STARKS, OPAL M            8675 ULERY RD                                                                                    NEW CARLISLE   OH   45344‐9169
STARKS, PATSY A           738 KINNEY RD                                                                                    PONTIAC        MI   48340‐2439
STARKS, ROBERT B          1730 NORTHFIELD AVE                                                                              E CLEVELAND    OH   44112‐3357
STARKS, ROBERT D          4613 PENDLETON CT                                                                                MILTON         WI   53563‐8435
STARKS, ROGER C           6039 PORTWOOD CT                                                                                 INDIANAPOLIS   IN   46254‐5139
STARKS, ROGER T           100 WESTWOOD AVE                                                                                 DAYTON         OH   45417‐1736
STARKS, ROSE MARY         3475 SCENIC DR                                                                                   EAST POINT     GA   30344‐5835
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Name                               Address1                           Address2            Address3      Address4         City          State Zip
STARKS, ROSE MARY                  3475 SCEINC DRIVE                                                                     EAST POINT     GA 30344‐5835
STARKS, ROY C                      19149 BRADFORD ST                                                                     DETROIT        MI 48205‐2107
STARKS, RUTH J                     PO BOX 24051                                                                          BELLEVILLE      IL 62223‐9051
STARKS, SONYA D                    726 LONG BAYOU LN                                                                     SHREVEPORT     LA 71106‐5347
STARKS, SPRAGGS B                  14039 DORNOCH ST                                                                      GRANDVIEW      MO 64030‐4040
STARKS, TERRY                      805 WEAVER ST                                                                         LARCHMONT      NY 10538‐1031
STARKS, VERONICA C                 28872 N OAK DR                                                                        WRIGHT CITY    MO 63390‐3097
STARKS, VIRGIL                     2237 CARDSTON CT                                                                      COLUMBUS       OH 43232‐4011
STARKS, VONDALYN T                 1531 SMYRNA LEIPSIC RD                                                                SMYRNA         DE 19977‐3465
STARKS, WILLIAM A                  12639 KESTREL ST                                                                      SAN DIEGO      CA 92129‐3540
STARKS, WILMALYN                   1816 N MERRIMAC AVE                                                                   CHICAGO         IL 60639‐3803
STARKS, WILMALYN                   1816 N. MERRIMAC AVE.                                                                 CHICAGO         IL 60639‐3803
STARKWEATHER FREIGHT LINES INC     PO BOX 31                                                                             ALBION         NY 14411‐0031
STARKWEATHER JR, BOB E             279 W NYE HWY                                                                         OLIVET         MI 49076‐9641
STARKWEATHER, DOUGLAS J            1415 MAYCROFT RD                                                                      LANSING        MI 48917‐2057
STARKWEATHER, DOUGLAS JAMES        1415 MAYCROFT RD                                                                      LANSING        MI 48917‐2057
STARKWEATHER, GERALD E             17912 SE 115TH CT                                                                     SUMMERFIELD    FL 34491‐7820
STARKWEATHER, PAULINE E            PO BOX 162                                                                            NAUBINWAY      MI 49762‐0162
STARKWEATHER, ROBERT L             925 CHESLEY DR                                                                        LANSING        MI 48917‐4106
STARKWEATHER, WILLIAM E            2915 WESTWOOD DR                                                                      BAY CITY       MI 48706‐1573
STARLA ALEXANDER                   3260 VALERIE ARMS DR APT 501                                                          DAYTON         OH 45405‐2113
STARLA J ALEXANDER                 3260 VALERIE ARMS DR APT 501                                                          DAYTON         OH 45405‐2113
STARLA JACOBS                      3733 N 59TH ST                                                                        KANSAS CITY    KS 66104‐1106
STARLAND SMITH                     1089 HEAVENRIDGE RD                                                                   ESSEXVILLE     MI 48732‐1737
STARLAND, BETTY R                  2175 W LINWOOD RD                                                                     LINWOOD        MI 48634‐9736
STARLAND, DANIEL M                 4561 S AIRPORT RD                                                                     BRIDGEPORT     MI 48722‐9561
STARLAND, RALPH C                  2175 W LINWOOD RD                                                                     LINWOOD        MI 48634‐9736
STARLEIN, AMANDA                   8336 SHARP LN                                                                         CHESTERLAND    OH 44026‐1445
STARLEIN, CHRISTINA                8336 SHARP LN                                                                         CHESTERLAND    OH 44026‐1445
STARLETIA BRACK                    2016 WESLEY DR APT B                                                                  ARLINGTON      TX 76012‐8816
STARLETT GIBSON                    3217 TWISTED BRANCH PL P                                                              FORT WAYNE     IN 46804
STARLETT M GIBSON                  1400 N STATE HIGHWAY 360 APT 412                                                      MANSFIELD      TX 76063‐3513
STARLIN JARVIS                     2090 CACTUS LN                                                                        CUMMING        GA 30040‐4483
STARLIN SCOTT                      7966 WASHINGTON PARK DR                                                               DAYTON         OH 45459
STARLIN SIMINGTON                  371 W WOOD ST                                                                         ASHDOWN        AR 71822‐3331
STARLIN, CALVIN E                  1101 STUDEBAKER AVE                                                                   YPSILANTI      MI 48198‐6265
STARLIN, DAVID F                   609 N MORTON ST LOT 54                                                                SAINT JOHNS    MI 48879‐1279
STARLIN, SANDRA L                  5465 CIRCLE DR NE                                                                     BELMONT        MI 49306‐9004
STARLINE DIXON                     17487 GATEWAY CIR                                                                     SOUTHFIELD     MI 48075‐4715
STARLINE TRANSPORTAION             150 S KENYON ST STE C                                                                 SEATTLE        WA 98108‐4212
STARLING C CORLEY                  812 STATE ROUTE 305                                                                   CORTLAND       OH 44410‐9561
STARLING CHEVROLET                 1001 E US HWY 192                                                                     SAINT CLOUD    FL 34769
STARLING CHEVROLET                 ALAN STARLING                      1001 E US HWY 192                                  SAINT CLOUD    FL 34769
STARLING CHEVROLET‐CADILLAC, LLC   ALAN STARLING                      2800 S HWY 17 92                                   DELAND         FL 32720
STARLING CHEVROLET‐CADILLAC, LLC   2800 S HWY 17 92                                                                      DELAND         FL 32720
STARLING COLEMAN                   1222 AVONDALE ST APT 8                                                                SANDUSKY       OH 44870‐4208
STARLING CORLEY                    812 WILSON SHARPSVILLE RD                                                             CORTLAND       OH 44410‐9561
STARLING H NEAL                    BOX 2626                                                                              CROSSVILLE     TN 38557‐2626
STARLING HARRIS                    489 NORTHAMPTON ST                                                                    BUFFALO        NY 14208‐2450
STARLING HERMAN LAMAR (188985)     LANE, ROGER B., LAW OFFICES OF     1801 REYNOLDS ST                                   BRUNSWICK      GA 31520
STARLING HOPKINS                   2302 TUNSTILL ROAD SW                                                                 HARTSELLE      AL 35640
STARLING JAMES E (426041)          SIMMONS LAW FIRM
                                      09-50026-mg              Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                                  Address1                         Address2                        Address3   Address4         City            State Zip
STARLING JOHNSON                      815 E MINNESOTA ST                                                                           INDIANAPOLIS     IN 46203‐3954
STARLING MATTHEWS                     106 ELMWOOD AVE                                                                              DANVILLE          IL 61832‐6508
STARLING NEAL                         PO BOX 2626                                                                                  CROSSVILLE       TN 38557‐2626
STARLING, BARBARA                     1410 E HENRY ST                                                                              LINDEN           NJ 07036‐1809
STARLING, BETTY L                     5112 VIRGIL ST                                                                               FORT WORTH       TX 76119‐2217
STARLING, BETTY LOU                   5112 VIRGIL ST                                                                               FORT WORTH       TX 76119‐2217
STARLING, CHERI                       2296 260TH ST                                                                                INDEPENDENCE      IA 50644‐9385
STARLING, CONLEY W                    2338 ROLLING HILL RD                                                                         FAYETTEVILLE     NC 28304‐3741
STARLING, CORA L                      1412 DARREL RD                                                                               TOLEDO           OH 43612‐4214
STARLING, CORA LEE                    1412 DARREL RD                                                                               TOLEDO           OH 43612‐4214
STARLING, DOLLIE F                    5510 KERMIT ST                                                                               FLINT            MI 48505‐2556
STARLING, DWAYNE D                    113 MICHEL ST                                                                                BRANDON          MS 39042‐3267
STARLING, ELLEN B                     514 US HWY 158 BUSINESS E                                                                    WARRENTON        NC 27589
STARLING, EVA                         914 W RIDGEWAY                                                                               FLINT            MI 48505‐5140
STARLING, HELEN K                     2216 BRECON DR                                                                               SALINE           MI 48176‐1195
STARLING, HERMAN LAMAR                LANE, ROGER B., LAW OFFICES OF   1801 REYNOLDS ST                                            BRUNSWICK        GA 31520
STARLING, ISIAH                       8633 S EUCLID AVE                                                                            CHICAGO           IL 60617‐2941
STARLING, JAMES E                     SIMMONS LAW FIRM                 PO BOX 521                                                  EAST ALTON        IL 62024‐0519
STARLING, JUNELLE E                   PO BOX 716                                                                                   SYRACUSE         NY 13205‐0716
STARLING, KATIE M                     316 CHURCH ST                                                                                ATLANTA          TX 75551‐2222
STARLING, LOIS G                      19440 SAINT MARYS ST                                                                         DETROIT          MI 48235‐2325
STARLING, LOIS GENE                   19440 SAINT MARYS ST                                                                         DETROIT          MI 48235‐2325
STARLING, MARK E                      22 LA GORCE BLVD                                                                             BURLINGTON       NJ 08016‐2968
STARLING, MARLENE E                   3750 SEMINOLE ST                                                                             DETROIT          MI 48214‐1193
STARLING, TYRONE                      PO BOX 6962                                                                                  ARLINGTON        TX 76005‐6962
STARLISA S LITTLE                     133 MISTY OAKS CT                                                                            DAYTON           OH 45415
STARLITE CONEY ISLAND                 ATTN: KOSTA POPOFF               1500 N CENTER RD                                            BURTON           MI 48509‐1430
STARMANN, RICHARD H                   25 ACKERMAN RD                                                                               WINFIELD         MO 63389‐3106
STARMS, KEVIN                         7141 AVALON TRAIL CT                                                                         INDIANAPOLIS     IN 46250
STARNA, HENRY J                       47341 BEACON SQUARE DR D                                                                     MACOMB           MI 48044
STARNA, KATHERINE                     34936 QUAIL TRAIL                                                                            RICHMOND         MI 48062
STARNA, KATHERINE                     34936 QUAIL TRL                                                                              RICHMOND         MI 48062‐5531
STARNER ROSS E                        STARNER, BONNIE L                60 WEST POMFRET STREET                                      CARLISLE         PA 17013
STARNER ROSS E                        STARNER, ROSS E                  60 WEST POMFRET STREET                                      CARLISLE         PA 17013
STARNER TIMOTHY B (497948)            KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                               CLEVELAND        OH 44114
                                                                       BOND COURT BUILDING
STARNER, BONNIE L                     IRWIN & MCKNIGHT                 60 WEST POMFRET STREET                                      CARLISLE         PA 17013
STARNER, ROSS                         815 TORWAY RD                                                                                GARDNERS         PA 17324‐9097
STARNER, ROSS E & STARNER, BONNIE L   IRWIN & MCKNIGHT                 60 WEST POMFRET STREET                                      CARLISLE         PA 17013

STARNER, TIMOTHY B                    KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                CLEVELAND       OH 44114
                                                                       BOND COURT BUILDING
STARNER, WILLIAM P                    401 18TH AVE N                                                                               GREENWOOD       MO   64034‐9675
STARNES D B JR                        242 RIVERSIDE DR                                                                             MOUNT CLEMENS   MI   48043‐2515
STARNES III, HENRY C                  PO BOX 332                                                                                   GREAT FALLS     SC   29055‐0332
STARNES JR, D B                       242 RIVERSIDE DR                                                                             MOUNT CLEMENS   MI   48043‐2515
STARNES JR, ELBERT B                  3030 JUNE APPLE DR                                                                           DECATUR         GA   30034‐4531
STARNES JR, HAROLD A                  1128 W PARKWOOD AVE                                                                          FLINT           MI   48507‐3632
STARNES PHYLLIS                       STARNES, PHYLLIS                 578 OLD RIDGE RD.                                           MCCAYSVILLE     GA   00000
STARNES, ALAN T                       3451 RIDGE AVE                                                                               DAYTON          OH   45414‐5468
STARNES, ANESSA M                     9034 GREENLEE CIR                                                                            INDIANAPOLIS    IN   46234‐2540
STARNES, ASHLEY                       209 PENNSYLVANIA CT                                                                          DYESS AFB       TX   79607‐4001
                            09-50026-mg            Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                        Address1                        Address2                      Address3   Address4         City             State Zip
STARNES, BARBARA Q          PO BOX 833                                                                                CLEMMONS          NC 27012‐0833
STARNES, BESSIE J           8180 SE 170TH BRAMPTON STREET                                                             THE VILLAGES      FL 32162‐8371
STARNES, BESSIE J           17065 SE 93RD TELLFIER TER                                                                THE VILLAGES      FL 32162‐1868
STARNES, BETTY SUE          317 SHADY DR                                                                              KINGSPORT         TN 37660‐3375
STARNES, BETTY SUE          216 RIDDLE ST                                                                             KINGSPORT         TN 37660‐6137
STARNES, BURL L             6424 BARKER DR                                                                            WATERFORD         MI 48329‐3112
STARNES, CLOTILDA E         PO BOX 158                                                                                HUBBARD           OH 44253‐0158
STARNES, CYNTHIA            C/O SENATH NURSING CENTER       HIGHWAY 412 SOUTH                                         SENATH            MO 63876
STARNES, DALE E             2127 WINDING WAY DR                                                                       DAVISON           MI 48423‐2024
STARNES, DEBORAH M          4821 CLEVELAND AVE                                                                        KANSAS CITY       KS 66104‐3230
STARNES, DELORIS            8536 WARD                                                                                 DETROIT           MI 48228‐4037
STARNES, DELTUS             3649 MAYFLOWER DR                                                                         INDIANAPOLIS      IN 46221‐2429
STARNES, DIANA L            756 CENTENNARY RD                                                                         MOORESVILLE       IN 46158
STARNES, DIANNE G           474 WILLOW DR NE                                                                          WARREN            OH 44484‐1960
STARNES, DIANNE G           474 WILLOW DRIVE N.E                                                                      WARREN            OH 44484‐1960
STARNES, EDWARD L           7389 LOBDELL RD                                                                           LINDEN            MI 48451‐8765
STARNES, ERIC C             9 MALINDA LN                                                                              WASHINGTON        MO 63090‐3622
STARNES, FREDDIE L          7630 BIRCH RUN RD                                                                         MILLINGTON        MI 48746‐9531
STARNES, GEORGE W           1648 GENESEE AVE NE                                                                       WARREN            OH 44483‐4140
STARNES, GEORGE W           1648 GENESSE AVE.                                                                         WARREN            OH 44483‐4483
STARNES, HAROLD             4586 E CENTENARY RD                                                                       MOORESVILLE       IN 46158
STARNES, HERBERT G          4492 RIVES EATON RD                                                                       RIVES JUNCTION    MI 49277‐9402
STARNES, JAMES H            4722 MERITO CT                                                                            SPARKS            NV 89436‐1645
STARNES, JAMES L            7630 BIRCH RUN RD                                                                         MILLINGTON        MI 48746‐9531
STARNES, JAMES R            6188 BALMORAL TER                                                                         CLARKSTON         MI 48346‐3339
STARNES, JIMMY F            12506 COBBLESTONE DR                                                                      BAYONET POINT     FL 34667‐2321
STARNES, JOHN A             3142 WHITTIER AVE                                                                         FLINT             MI 48506‐3051
STARNES, JOHN R             17753 N ESCALANTE LN                                                                      SURPRISE          AZ 85374‐6358
STARNES, JOHN R             4430 CARTERSBURG RD                                                                       CARTERSBURG       IN 46168‐8706
STARNES, JOHN W             6079 LENNON RD                                                                            SWARTZ CREEK      MI 48473‐7904
STARNES, JOHNIE K           7208 S LA CIENEGA BLVD          APT 1                                                     INGLEWOOD         CA 90302‐2754
STARNES, JOSIE O            2173 S CENTER RD APT 347                                                                  BURTON            MI 48519‐1807
STARNES, JOYCE              3142 WHITTIER AVENUE                                                                      FLINT             MI 48506‐3051
STARNES, KATHY D            4492 RIVES EATON RD                                                                       RIVES JUNCTION    MI 49277‐9402
STARNES, KRISTIN            188 N JEFFERSON ST                                                                        MASON             MI 48854
STARNES, LAMAR B            4031 STATE ROUTE 925                                                                      HICKMAN           KY 42050‐7623
STARNES, LARRY L            307 SUNSET DR                                                                             FLUSHING          MI 48433‐2153
STARNES, LARRY LEE          307 SUNSET DR                                                                             FLUSHING          MI 48433‐2153
STARNES, MARGUERITE C       3854 LONGHILL DRIVE SE                                                                    WARREN            OH 44484‐2616
STARNES, OLLIN B            480 HIGHWAY 93                                                                            FALL BRANCH       TN 37656‐2020
STARNES, PHYLLIS            578 OLD RIDGE RD                                                                          MC CAYSVILLE      GA 30555‐2040
STARNES, RAYMOND E          6376 E COUNTY ROAD 300 S                                                                  PLAINFIELD        IN 46168‐3027
STARNES, RICHARD L          17065 SE 93RD TELLFIER TER                                                                THE VILLAGES      FL 32162‐1868
STARNES, RODNEY A           19493 HILTON DR                                                                           SOUTHFIELD        MI 48075‐7243
STARNES, TERRY M            344 DARTMORE LN                                                                           DAWSONVILLE       GA 30534
STARNS RICHARD L (352900)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                            STREET, SUITE 600
STARNS, JIMMY L             12222 NS 359                                                                              SEMINOLE         OK 74868
STARNS, MICHAEL C           PO BOX 244                                                                                PATRICKSBURG     IN 47455‐0244
STARNS, RICHARD L           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                            STREET, SUITE 600
STAROBA, ANNA K             31 PAT DR                                                                                 COLLINSVILLE      IL   62234‐5812
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Name                               Address1                         Address2                      Address3       Address4             City              State Zip
STAROBA, BETTY J                   12640 HOLLY RD APT B207                                                                            GRAND BLANC        MI 48439‐1858
STAROBA, BRENDA S                  5124 N GENESEE RD                                                                                  FLINT              MI 48506‐1540
STAROBA, GERALD D                  12640 HOLLY RD APT B207                                                                            GRAND BLANC        MI 48439
STAROBA, J D                       3825 LAKESHORE DR                                                                                  GLADWIN            MI 48624‐7805
STAROBA, RONALD C                  9347 GOLFCREST CIR                                                                                 DAVISON            MI 48423‐8370
STARODUBZEW, ANNA                  803 GROVE RD                                                                                       SYRACUSE           NY 13219‐2200
STARODUBZEW, ANNA                  803 GROVE ROAD                                                                                     WESTVALE           NY 13219‐2200
STARODUBZEW, JOHN                  803 GROVE RD                                                                                       SYRACUSE           NY 13219‐2200
STARON, DAVID M                    37551 FIELDCREST LN                                                                                STERLING HTS       MI 48312‐2514
STARON, JOSEPH F                   11114 S DEERPATH LN                                                                                PALOS HILLS         IL 60465‐2105
STARON, JOSEPH T                   617 W MADISON ST                                                                                   ANN ARBOR          MI 48103‐4827
STARON, MICHAEL                    PO BOX 137                                                                                         CLARKLAKE          MI 49234‐0137
STARON, RICHARD G                  3898 CHERYL DR                                                                                     COMMERCE TWP       MI 48382‐1720
STAROSKA, DEANNA                   243 W RUTGERS AVE                                                                                  PONTIAC            MI 48340‐2763
STAROSKA, DEANNA                   243 W RUTGERS                                                                                      PONTIAC            MI 48340‐2763
STAROSKA, THOMAS P                 5633 JOHNSON DR                                                                                    COLUMBIAVILLE      MI 48421‐9745
STAROST, TOM                       11738 N CAUNTY RD 400E                                                                             BATESVILLE         IN 47006
STAROSTANKO, JEANETTE              595 CHERRY RIDGE DR                                                                                TRAVERS CITY       MI 49686
STAROSTKI, BRETT A                 3810 TOWERS RD                                                                                     SAINT CHARLES      MO 63304‐7438
STAROSZIK, FRED                    1120 33RD AVE W RM 118                                                                             BRADENTON          FL 34205
STARQUIP INDUSTRIAL                STARQUIP INDUSTRIAL PRODUCTS     40 DYNAMIC DRIVE UNIT 4                      TORONTO CANADA ON
                                                                                                                 M1V 2W2 CANADA
STARQUIP INDUSTRIAL PRODUCTS       40 DYNAMIC DR UNIT 4                                                          TORONTO ON M1V 2W2
                                                                                                                 CANADA
STARQUIP INDUSTRIAL PRODUCTS LTD
STARR BIELAS                       5084 SKYLITE LN                                                                                    SHELBY TOWNSHIP   MI   48316‐1651
STARR BRUCE                        118 E 60TH ST APT 31H                                                                              NEW YORK          NY   10022
STARR CHAPPELL                     1937 HIGHWAY 192S                                                                                  FAYETTEVILLE      GA   30215
STARR COUNTY TAX OFFICE            100 N FM 3167 STE 200                                                                              RIO GRANDE CITY   TX   78582‐6689
STARR DONALD J (349846)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
                                                                    STREET, SUITE 600
STARR GARY G                       8409 FOREST GLENN CT                                                                               FORT WORTH        TX   76180‐1487
STARR I I, ROBERT C                5428 CALVARY CIR                                                                                   LANSING           MI   48911‐3731
STARR II, ROBERT C                 5428 CALVARY CIR                                                                                   LANSING           MI   48911‐3731
STARR INSTR/CHARLOTT               305 HALL STREET                                                                                    CHARLOTTE         MI   48813
STARR INSTRUMENT SERVICE           DIV OF CALIBRATION SPECIALIST    1101 LAWRENCE HWY                                                 CHARLOTTE         MI   48813‐8855
STARR J KLEINFELDER                431 GRANDVIEW DR                                                                                   LEBANON           OH   45036‐2428
STARR JR, JAMES F                  1550 BRECKENRIDGE RD                                                                               BEDFORD           IN   47421‐1512
STARR JR, JOHN W                   111 ARLENE CT                                                                                      WHITE LAKE        MI   48386‐1904
STARR JR, PHILIP A                 1870 CHESTER AVE SW                                                                                WARREN            OH   44481‐9700
STARR JR, ROBERT D                 762 BRIARCLIFF ROAD                                                                                JACKSON           MI   49203‐3908
STARR JR, WILLIAM O                1721 CEDAR WALK LN                                                                                 CONLEY            GA   30288‐1760
STARR L RICHARDSON                 5110 BRKPT SPENCERPORT RD                                                                          SPENCERPORT       NY   14559
STARR MICHAEL                      BRAYTON PURCELL                  222 RUSH LANDING ROAD         P O BOX 6169                        NOVATO            CA   94948
STARR R ALVAREZ                    810 N LINCOLN ST                                                                                   BAY CITY          MI   48708‐6155
STARR ROBERT L ATTORNEY &          OSCAR F PEREZ                    23277 VENTURA BLVD                                                WOODLAND HILLS    CA   91364‐1002
STARR STAFFING INC                 8199 SMILEY AVE                                                                                    SHELBY TOWNSHIP   MI   48316‐3635
STARR SUSAN R                      450 BUD IKERD RD                                                                                   BEDFORD           IN   47421‐7969
STARR WILBURT                      512 W FALLBROOK AVE                                                                                CLOVIS            CA   93611‐7166
STARR'S AUTO REPAIR INC.           8183 NAVARRE PKWY                                                                                  NAVARRE           FL   32566‐6941
STARR, ALVIRA                      3530 BANGOR RD                                                                                     BAY CITY          MI   48706
STARR, ANNE MARIE                  1144 HUNTERSTON PL                                                                                 CUPERTINO         CA   95014‐5069
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Name                  Address1                          Address2                      Address3   Address4         City              State Zip
STARR, ANTHONY D      A56 CONTINENTAL CT APT #7                                                                   VANDALIA           OH 45377
STARR, ANTHONY R      851 PEERLESS RD                                                                             BEDFORD            IN 47421‐8095
STARR, ARDIS M        16400 UPTON RD LOT 225                                                                      EAST LANSING       MI 48823‐9306
STARR, AVON E         3917 SPICER RD                                                                              BEAVERTON          MI 48612‐9734
STARR, BARBARA L      3075 FARRAND RD                                                                             CLIO               MI 48420
STARR, BARBARA L      3075 W FARRAND RD                                                                           CLIO               MI 48420‐8830
STARR, BERNICE        40 EAST NORMAN AVE                                                                          DAYTON             OH 45405‐5405
STARR, BERNICE        40 E NORMAN AVE                                                                             DAYTON             OH 45405‐3508
STARR, BETTY          2052 CRESCENT LK RD                                                                         WATERFORD          MI 48329
STARR, BETTY J        90 LIBERTY SQUARE DR NE APT 310                                                             CARTERSVILLE       GA 30121‐8059
STARR, BETTY L        3323 MESA VERDE WAY                                                                         JACKSONVILLE       FL 32223‐3259
STARR, BOBBIE         290 W LAKE PARK RD APT 834                                                                  LEWISVILLE         TX 75057‐4084
STARR, CARL T         1649 LAKESHORE DR. I H                                                                      CUBA               MO 65453
STARR, CAROLYN        587 RICHARDS CHAPEL RD                                                                      COVINGTON          GA 30016‐4494
STARR, CAROLYN A      134 E MILNOR AVE                                                                            LACKAWANNA         NY 14218‐3532
STARR, CHARLES N      4761 E 900 N                                                                                ALEXANDRIA         IN 46001‐8767
STARR, CHERYL         7571 RIVER RD                                                                               FLUSHING           MI 48433‐2259
STARR, DALLAS F       1645 WETTERS RD                                                                             KAWKAWLIN          MI 48631‐9457
STARR, DARRYL W       10929 WINDSOR WOODS BLVD                                                                    FORT WAYNE         IN 46845‐6133
STARR, DARRYL WAYDE   10929 WINDSOR WOODS BLVD                                                                    FORT WAYNE         IN 46845‐6133
STARR, DAVID E        2224 MILBOURNE AVE                                                                          FLINT              MI 48504‐2838
STARR, DEBRA J        148 LEGACY TRACE DRIVE                                                                      LA VERNIA          TX 78121‐8121
STARR, DEBRA L        225 CATALINA DR                                                                             DEFIANCE           OH 43512‐3010
STARR, DEBRA L        12 EMILY PL                                                                                 PALM COAST         FL 32137‐2235
STARR, DEOLIVER       1109 SUNSET DR                                                                              ENGLEWOOD          OH 45322‐2271
STARR, DONALD E       PO BOX 302                                                                                  ALEXANDRIA         IN 46001‐0302
STARR, DONALD J       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                        STREET, SUITE 600
STARR, DONNA K        18342 EAST US HIGHWAY 24 CIR                                                                INDEPENDENCE      MO   64056‐3234
STARR, EDITH M        2630 REBA DR                                                                                GLADWIN           MI   48624‐9262
STARR, EMERSON L      21414 S VERMONT AVE               RM 25A                                                    TORRANCE          CA   90502
STARR, ERVIN E        3853 E SAINT JOE HWY                                                                        GRAND LEDGE       MI   48837‐9446
STARR, EVELYN L       04532 RENKIE RD                   PO BOX 196                                                BOYNE FALL        MI   49713‐9709
STARR, EVELYN L       4532 RENKIE RD                    PO BOX 196                                                BOYNE FALLS       MI   49713‐9709
STARR, FLOYD E        1147 SHERWOOD AVE                                                                           NORTH TONAWANDA   NY   14120‐3511
STARR, FREDERICK E    413 W 11TH ST APT D25                                                                       ALEXANDRIA        IN   46001‐2830
STARR, GARY G         8409 FOREST GLENN CT                                                                        N RICHLND HLS     TX   76180‐1487
STARR, GARY GENE      8409 FOREST GLENN CT                                                                        N RICHLND HLS     TX   76180‐1487
STARR, GEORGE M       PO BOX 434                                                                                  MOUNT LOOKOUT     WV   26678‐0434
STARR, GERALD R       4763 COTTAGE RD                                                                             GASPORT           NY   14067‐9259
STARR, GLADYS C       755 OAK PARK CIR                                                                            MERRITT ISLAND    FL   32953‐4157
STARR, HENRY L        1816 AYERSVILLE AVE                                                                         DEFIANCE          OH   43512‐3611
STARR, HOLLIS L       747 S JEFFERSON ST                                                                          BROWNSBURG        IN   46112‐1674
STARR, JACK D         225 CATALINA DR                                                                             DEFIANCE          OH   43512‐3010
STARR, JACOB J        118 HAZELWOOD CIR                                                                           WILLINGBORO       NJ   08046‐1246
STARR, JACQUELINE M   116 E ROUSE ST                                                                              LANSING           MI   48910‐4527
STARR, JAMES B        RR 1 BOX 1448                                                                               NICHOLSON         PA   18446‐9459
STARR, JAMES B        431 N CHIPMAN ST                                                                            OWOSSO            MI   48867‐2139
STARR, JAMES E        3918 DEVEREAUX DR                                                                           JANESVILLE        WI   53546‐4006
STARR, JAMES E        8987 BROWER LAKE ROOAD N.E.                                                                 ROCKFORD          MI   49341
STARR, JAMES E        476 E 127TH ST                                                                              CLEVELAND         OH   44108‐1804
STARR, JANIE B        10 NIMITZ DR                                                                                DAYTON            OH   45431‐1312
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Name                 Address1                       Address2                         Address3   Address4         City               State Zip
STARR, JANIE B       10 NIMITZ DR.                                                                               DAYTON              OH 45431‐1312
STARR, JESSIE        KROGER GARDIS & REGAS LLP      111 MONUMENT CIR STE 900                                     INDIANAPOLIS        IN 46204
STARR, JESSIE        GIRARDI AND KEESE              1126 WILSHIRE BLVD                                           LOS ANGELES         CA 90017
STARR, JESSIE        ENGSTROM LIPSCOMB & LACK       10100 SANTA MONICA BOULEVARD ,                               LOS ANGELES         CA 90067‐4107
                                                    16TH FLOOR
STARR, JILL A        APT 310                        3295 WATKINS LAKE ROAD                                       WATERFORD          MI   48328‐1553
STARR, JOHN D        2816 DOWNDERRY CT                                                                           BLOOMFIELD HILLS   MI   48304‐1904
STARR, JOHN J        8281 S COUNTY ROAD 650 E                                                                    CLOVERDALE         IN   46120‐8958
STARR, JOHN W        3036 AIRPORT RD                                                                             WATERFORD          MI   48329‐3311
STARR, JOHN W        465 SCHUMACHER TRL                                                                          NAPOLEON           MO   64074‐7179
STARR, JON E         3887 E COUNTY ROAD 450 N                                                                    PITTSBORO          IN   46167‐9357
STARR, JON EDWARD    3887 E COUNTY ROAD 450 N                                                                    PITTSBORO          IN   46167‐9357
STARR, JOSEPH        53 RAMSEY RIDGE RD                                                                          BEDFORD            IN   47421
STARR, KAI A         13801 SHIRLEY ST UNIT 10                                                                    GARDEN GROVE       CA   92843‐3625
STARR, KAREN S       6821 DAISY LN                                                                               INDIANAPOLIS       IN   46214‐3868
STARR, KATHRYN L     3045 EASTWOOD DR                                                                            ROCHESTER HILLS    MI   48309‐3912
STARR, KENNETH A     3707 3RD STREET                                                                             GRAND LEDGE        MI   48837‐1936
STARR, KENNETH A     3707 3RD ST                                                                                 GRAND LEDGE        MI   48837‐1936
STARR, KENNETH H     PO BOX 181                                                                                  COOSA              GA   30129‐0181
STARR, KEVIN R       1769 N BLUE BLUFF RD                                                                        MARTINSVILLE       IN   46151‐7447
STARR, LARRY E       17050 ROAD 168                                                                              PAULDING           OH   45879‐9060
STARR, LARRY W       3636 VALLEY DR                                                                              METAMORA           MI   48455‐9652
STARR, LENA T        12114 N 200 W                                                                               ALEXANDRIA         IN   46001‐8516
STARR, LEONARD R     77 DOGWOOD DR                                                                               ANDOVER            OH   44003‐9486
STARR, LOIS B        428 RUTH AVE                                                                                UPPER CHICHESTER   PA   19014‐3337
STARR, LOIS B        428 RUTH AVENUE                                                                             ASTON              PA   19014‐3337
STARR, LUCILLE A     5130 BALDWIN RD                                                                             HOLLY              MI   48442‐9365
STARR, LUCILLE V     2805 N BYRON RD                                                                             LENNON             MI   48449‐9606
STARR, LYLE          PO BOX 356                                                                                  EAST BURKE         VT   05832‐0356
STARR, MARCELLA      3707 3RD ST                                                                                 GRAND LEDGE        MI   48837‐1936
STARR, MARCELLA      3707 3RD STREET                                                                             GRAND LEDGE        MI   48837‐1936
STARR, MARIA G       4629 STILLWELL AVE                                                                          LANSING            MI   48911‐2838
STARR, MARIE R       1123 JOHNSON PLANK RD                                                                       WARREN             OH   44481‐9363
STARR, MARLENE J     8987 BROWER LAKE RD NE                                                                      ROCKFORD           MI   49341‐8900
STARR, MARTHA L      509 MAPLE LEAF DR                                                                           GREENCASTLE        IN   46135‐7209
STARR, MARY J        1905 GALKE CT                                                                               BAY CITY           MI   48708‐8162
STARR, MICHAEL       BRAYTON PURCELL                PO BOX 6169                                                  NOVATO             CA   94948‐6169
STARR, MICHAEL D     PO BOX 300781                                                                               DRAYTON PLAINS     MI   48330‐0781
STARR, MOLLIE L      RR 1 BOX 1435                                                                               STILWELL           OK   74960‐9795
STARR, MOLLIE L      ROUTE 1 BOX 1435                                                                            STILLWELL          OK   74960‐9795
STARR, MORISE C      3541 PINGREE AVE                                                                            FLINT              MI   48503‐4544
STARR, NEIL D        2805 N BYRON RD                                                                             LENNON             MI   48449‐9606
STARR, NITA L        2700 SHIMMONS RD LOT 17                                                                     AUBURN HILLS       MI   48326
STARR, NORMAN E      440 W MORRELL ST                                                                            OTSEGO             MI   49078‐1224
STARR, PATRICIA A    3918 DEVEREAUX DR                                                                           JANESVILLE         WI   53546‐4006
STARR, PAUL J        3709 3RD ST                                                                                 GRAND LEDGE        MI   48837‐1936
STARR, PAUL JEROME   3709 3RD ST                                                                                 GRAND LEDGE        MI   48837‐1936
STARR, PAULETTE M    2200 DAFFODIL TRL                                                                           GRAYLING           MI   49738‐6817
STARR, RAYMOND J     1136 N MAPLELEAF RD                                                                         LAPEER             MI   48446‐8074
STARR, RICHARD       4302 E LAKE RD                                                                              CLIO               MI   48420‐9145
STARR, RICHARD A     351 RUSTIC CIR                                                                              WHITE LAKE         MI   48386‐3044
STARR, RICHARD B     9458 FRANCES RD                                                                             OTISVILLE          MI   48463‐9461
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Name                            Address1                          Address2                      Address3   Address4         City               State Zip
STARR, RICHARD D                1095 N GARNER RD                                                                            MILFORD             MI 48380‐3507
STARR, ROBERT D                 3075 W FARRAND RD                                                                           CLIO                MI 48420‐8830
STARR, ROBERT H                 1859 SMITH RD                                                                               LAPEER              MI 48446‐7716
STARR, ROBERT L                 4195 LOCUST LN                                                                              BROWNSBURG          IN 46112‐8696
STARR, ROBERT W                 9316 MULKINS LN                                                                             GERMANTOWN          TN 38139‐6843
STARR, ROXANNE E                8208 E BRISTOL RD                                                                           DAVISON             MI 48423‐8716
STARR, RUDOLPH L                44867 E HAMILTON ST                                                                         OBERLIN             OH 44074‐9611
STARR, SAMMANTHIA               405 GREENBRIAR LN                                                                           FOWLERVILLE         MI 48835‐7740
STARR, SANDRA                   13755 OLIN LAKES DR                                                                         SPARTA              MI 49345‐8574
STARR, SANDRA C                 PO BOX 538                                                                                  FRANKTON            IN 46044‐0538
STARR, SHIRLEY                  730 SOUTH SAGINAW                                                                           LAPEER              MI 48446
STARR, STEPHEN                  5984 STATE ROAD 54 W                                                                        SPRINGVILLE         IN 47462‐5139
STARR, STEVE R                  3201 96TH AVE NE                                                                            NORMAN              OK 73026‐5954
STARR, SUZANNE                  2253 EAST KENT RD.                                                                          ROTHBURY            MI 49452
STARR, SUZANNE                  2253 KENT RD                                                                                ROTHBURY            MI 49452‐7912
STARR, TAYARI J                 10707 HEATHER GLEN WAY                                                                      BOWIE               MD 20720‐4281
STARR, TERRY D                  5206 S EXPRESSWAY 83 LOT B7                                                                 HARLINGEN           TX 78552
STARR, THEOBLAND S              4347 ROBINDALE DR                                                                           BURTON              MI 48519‐1239
STARR, THOMAS E                 2598 BATES ST SE                                                                            SMYRNA              GA 30080‐2408
STARR, TIMOTHY J                1191 W 5 POINT HWY                                                                          CHARLOTTE           MI 48813‐8744
STARR, TRACY R                  714 MAPLE STREET                                                                            FRANKTON            IN 46044
STARR, TRACY R                  794 W 300 N                                                                                 ANDERSON            IN 46011
STARR, WAVERELL J               522 BUNN DR                                                                                 DEFIANCE            OH 43512‐4306
STARR, WAVERELL J               522 BUNN ST                                                                                 DEFIANCE            OH 43512‐4306
STARR, WILLIAM E                130 OAK POINTE CT                                                                           BOWLING GREEN       KY 42103‐7084
STARR,DANIEL L                  5430 CALVARY CIR                                                                            LANSING             MI 48911‐3731
STARR‐JUDE, DARRELL E           182 FOXCROFT RD                                                                             LEXINGTON           OH 44904‐9706
STARRAGHECKERT INC              PO BOX 6108                                                                                 CINCINNATI          OH 45270‐6108
STARRAK, LINDA J                4009 W BARNES RD                                                                            MASON               MI 48854‐9721
STARRANTINO SAMUEL J (637687)   HOWARD BRENNER & GARRIGAN‐NASS    1608 WALNUT ST , 17TH FLOOR                               PHILADELPHIA        PA 19103

STARRANTINO, SAMUEL J           HOWARD BRENNER & GARRIGAN‐NASS    1608 WALNUT ST, 17TH FLOOR                                PHILADELPHIA       PA 19103

STARRCO                         11700 FAIRGROVE INDUSTRIAL BLVD                                                             MARYLAND HEIGHTS   MO   63043‐3436
STARRETT SERVICE INC            PO BOX 526                                                                                  MASSILLON          OH   44648‐0526
STARRETT, ANNA L                235 BAILEY LN                                                                               SPRINGBORO         OH   45066‐1611
STARRETT, DELLA A               4326 CHELSEA DR                                                                             ANDERSON           IN   46013‐4423
STARRETT, L S CO                24500 DETROIT RD                                                                            CLEVELAND          OH   44145‐2521
STARRIE NEVELS                  2801 MARGATE CIR                                                                            FLINT              MI   48506‐1319
STARRING, ROBERT W              PO BOX 52                         172 W MAIN                                                VERMONTVILLE       MI   49096‐0052
STARRITT, LOIS L                139 N MASSACHUSETTS AVE                                                                     LA FOLLETTE        TN   37766‐2827
STARRITT, LOIS L                139 NORTH MASSACHUSETTS AVE.                                                                LA FOLLETTE        TN   37766‐7766
STARRLEEN A MARSHALL            150 WARWICK AVE                                                                             ROCHESTER          NY   14611‐3014
STARRS, DANIEL J                4490 HARP DR                                                                                LINDEN             MI   48451‐9040
STARRS, FRANCIS T               6232 LAKEVIEW PARK DR                                                                       LINDEN             MI   48451‐9099
STARRS, JOHN M                  16144 LINDEN RD                   P O BOX 221                                               LINDEN             MI   48451‐9102
STARRS, KATHLEEN M              4490 COCHRAN ST                                                                             SIMI VALLEY        CA   93063‐3066
STARRS, KEVIN J                 4553 GREEN LAKE RD                                                                          W BLOOMFIELD       MI   48323‐1340
STARRS, MICHELE L               4553 GREEN LAKE RD                                                                          W BLOOMFIELD       MI   48323‐1340
STARRS, SUSAN J                 5493 HIDDEN VALLEY TRL                                                                      LINDEN             MI   48451‐8832
STARRS, SUSAN JO                5493 HIDDEN VALLEY TRL                                                                      LINDEN             MI   48451‐8832
STARRS, WILLIAM J               41227 CHANCELLOR CT                                                                         CLINTON TOWNSHIP   MI   48038‐5852
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Name                                Address1                          Address2                         Address3           Address4                City                 State Zip
STARRY, RONALD L                    2108 PAULINE BLVD APT 108                                                                                     ANN ARBOR             MI 48103‐5117
STARRY, RYAN T                      6948 SYLMAR CT                                                                                                HUBER HEIGHTS         OH 45424‐3351
STARRY, WILLIAM T                   3448 STEELE ST                                                                                                MCKEESPORT            PA 15132‐5511
STARS & STRIPES                     529 14TH ST NW STE 350                                                                                        WASHINGTON            DC 20045‐1300
STARS EXPEDITED DELIVERY LLC        330 E KILBOURN AVE STE 1085                                                                                   MILWAUKEE             WI 53202‐3146
STARS SIGNATURES, INC.
STARS TECHNOLOGIES INDUSTRIAL LTD   64/40 MOO 4 TAMBON PLUAKDAEN                                                          RAYONG TH 21140
                                    AMPHUR                                                                                THAILAND
START UP                                                                                                                                          CANTON               MI   48188
START, E J                          14304 CRANSTON ST                                                                                             LIVONIA              MI   48154‐4251
START, JACK R                       2468 KNOLLVIEW ST SW                                                                                          WYOMING              MI   49519‐4511
START, JOANNE E                     PO BOX 1687                                                                                                   SAINT PETERSBURG     FL   33731‐1687
START, LEWIS J                      4011 DEL MAR VILLAGE CT SW                                                                                    GRANDVILLE           MI   49418‐8327
START, LOUISE                       3154 WINDRUSH BOURNE                                                                                          SARASOTA             FL   34235‐2000
START, PETER J                      2229 SHAWNEE DR SE                                                                                            GRAND RAPIDS         MI   49506‐5385
START, RICHARD L                    6822 68TH ST SE                                                                                               CALEDONIA            MI   49316‐8498
START, THOMAS E                     29900 MANHATTAN ST                                                                                            SAINT CLAIR SHORES   MI   48082‐2621
START, THOMAS EDWARD                29900 MANHATTAN ST                                                                                            SAINT CLAIR SHORES   MI   48082‐2621
STARTECH COMMUNICATIONS             ATTN: SAM JARBO                   21 W MONTCALM ST                                                            PONTIAC              MI   48342‐1139
STARTECH/STERLING HT                111 E POND DR                                                                                                 ROMEO                MI   48065‐4903
STARTING GATE SERVICENTER           3521 WHISKEY BOTTOM RD                                                                                        LAUREL               MD   20724‐1403
STARTRANS BUS DIV                   2592 KERCHER RD                                                                                               GOSHEN               IN   46528‐7505
STARTS ERNEST                       5777 BUCKINGHAM AVE                                                                                           DETROIT              MI   48224‐3256
STARTS, LEONARD P                   4446 RED OAK LN                                                                                               ZELLWOOD             FL   32798‐9747
STARTS, STANLEY                     61301 E 315 RD                                                                                                GROVE                OK   74344‐6066
STARUSNAK, RUTH C                   2 GARLOCH CT                                                                                                  LIVERPOOL            NY   13090‐3909
STARWALT, GLENN O                   10206 STATE ROUTE 1                                                                                           WESTVILLE            IL   61883‐6028
STARWALT, STEVE G                   1649 N BOWMAN                                                                                                 DANVILLE             IL   61832
STARWARD PARTNERSHIP                FRED M STARLING                   5959 CATTLERRIDGE BLVD STE 200   MANAGING GENERAL                           SARASOTA             FL   34232‐6060
                                                                                                       PARTNER
STARWOOD HOTELS & RESORTS           1111 WESTCHESTER AVE                                                                                          WHITE PLAINS         NY 10604‐3525
WORLDWIDE INC
STARWOOD HOTELS & RESORTS           PO BOX 198872                                                                                                 ATLANTA              GA 30384‐8872
WORLDWIDE INC
STARWOOD HOTELS & RESORTS           ATTN ROBIN ZEIDEL                 1111 WESTCHESTER AVENUE                                                     WHITE PLAINS         NY 10604
WORLDWIDE INC
STARWOOD HOTELS & RESORTS           NEWMARK KNIGHT FRANK GLOBAL MGT   ATTN ROLLA EISNER, PORTFOLIO     125 PARK AVENUE                            NEW YORK             NY 10017
WORLDWIDE, INC                      SVS                               ADMINISTRATOR
STARWOOD HOTELS & RESORTS           ATTN: GENERAL COUNSEL             1111 WESTCHESTER AVE                                                        WHITE PLAINS         NY 10604‐3500
WORLDWIDE, INC.
STARWOOD HOTELS & RESORTS           ROLLA EISNER, STARWOOD HOTELS     125 PARK AVENUE                                                             NEW YORK             NY 10017
WORLDWIDE, INC.                     PORTFOLIO ADMINISTRATOR
STARWOOD HOTELS & RESORTS           NEWMARK KNIGHT FRANK GLOBAL       ROLLA EISNER, STARWOOD HOTELS    125 PARK AVENUE                            NEW YORK             NY 10017
WORLDWIDE, INC.                     MANAGEMENT SERVICES               PORTFOLIO ADMINISTRATOR

STARWORKS INC                                                                                                                                     ANN ARBOR            MI   48103
STARY, CLYDE W                      1727 BONITAS CIR                                                                                              VENICE               FL   34293‐1802
STARZ, KARL T                       15875 S 29TH ST                                                                                               VICKSBURG            MI   49097‐9598
STARZYK, ANNA V                     2255 HAMILTON AVE                                                                                             TRENTON              NJ   08619‐3005
STARZYK, CECILIA V                  728 PEAR ST                                                                                                   LAWRENCEVILLE        NJ   08648‐4640
STARZYK, CECILIA V                  728 PEAR STREET                                                                                               LAWRENCEVILLE        NJ   08648‐4640
STARZYK, DUANE J                    2842 TRAILWOOD DR                                                                                             ROCHESTER HILLS      MI   48309‐1440
                                   09-50026-mg            Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                               Address1                         Address2                     Address3   Address4         City               State Zip
STARZYK, ELAINE                    53596 DRYDEN ST                                                                           SHELBY TWP          MI 48316‐2410
STARZYNSKI, FRANCES N              142 LEE ST                                                                                DEPEW               NY 14043‐1042
STARZYNSKI, RICHARD S              127 LONGNECKER ST                                                                         BUFFALO             NY 14206‐1314
STAS I I I, ANDREW A               3452 NE MADISON WAY                                                                       ISSAQUAH            WA 98029‐3609
STAS III, ANDREW A                 3452 NE MADISON WAY                                                                       ISSAQUAH            WA 98029‐3609
STAS JR, CARL A                    27984 WISTERIA DR                                                                         NORTH OLMSTED       OH 44070‐2470
STAS JUNE C OR JOHN JR             165 WEST ST                                                                               LUNENBURG           MA 01462
STAS, THOMAS M                     1765 BEARS DEN                                                                            YOUNGSTOWN          OH 44511‐1359
STASA, CAROLINE M                  1116 SOUTH FRONT ST                                                                       CHESANING           MI 48616‐1468
STASA, CAROLINE M                  1116 S FRONT ST                                                                           CHESANING           MI 48616‐1468
STASA, DANIEL F                    7964 CORK RD                                                                              BANCROFT            MI 48414
STASA, FRANK                       6591 HUNTERS CREEK ROAD                                                                   IMLAY CITY          MI 48444‐9723
STASA, FRANK J                     14054 MAXWELL RD                                                                          CARLETON            MI 48117‐9789
STASA, JAMES J                     2222 MORRISH RD                                                                           SWARTZ CREEK        MI 48473‐9755
STASA, JOHN M                      12353 FRANKFORT RD                                                                        SWANTON             OH 43558‐8530
STASA, JOHN MARTIN                 12353 FRANKFORT RD                                                                        SWANTON             OH 43558‐8530
STASA, MICHAEL D                   6024 JOHNSON RD                                                                           FLUSHING            MI 48433‐1106
STASA, MICHAEL DAVID               6024 JOHNSON RD                                                                           FLUSHING            MI 48433‐1106
STASA, MILAN T                     1405 SHADY LANE DR                                                                        OWOSSO              MI 48867‐1431
STASA, THOMAS J                    1984 W NEWBURG RD                                                                         CARLETON            MI 48117‐9223
STASCH RICHARD W (465774)          ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                               BALTIMORE           MD 21202
                                                                    CHARLES CENTER 22ND FLOOR
STASCH, KERRY L                    28040 CANYON CREST DR                                                                     CANYON COUNTRY     CA 91351‐5003
STASCH, RICHARD W                  ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                BALTIMORE          MD 21202
                                                                    CHARLES CENTER 22ND FLOOR
STASCHAK, PETER P                  2539 CLANCIE RD                                                                           SHACKLEFORDS       VA   23156
STASEK, ALFRED M                   6002 W PLEASANT VALLEY RD                                                                 PARMA              OH   44129‐6728
STASEK, DONALD A                   17211 SEDALIA AVE                                                                         CLEVELAND          OH   44135‐4467
STASEK, WILLIAM H                  13375 W PEET RD                                                                           OAKLEY             MI   48649‐7705
STASEL, NOEL E                     10920 TALON WAY                                                                           LOUISVILLE         KY   40223‐5582
STASER, JOE A                      6821 ROCKY TOP CIR                                                                        DALLAS             TX   75252‐6109
STASEVICH, PHILIP G                5629 FOX RIDGE DR                                                                         CLARKSTON          MI   48348‐5147
STASH, MICKY R                     2204 BRIARWOOD DR                                                                         MCKEESPORT         PA   15135‐3202
STASHER, JAMES A                   314B WHITSETT RD                                                                          NASHVILLE          TN   37210‐5321
STASHICK, MARQUERITE C             4503 INFINITY LN                                                                          LORAIN             OH   44053‐3030
STASHINKO, PATRICIA M              2644 BLACK OAK DR                                                                         NILES              OH   44446‐4469
STASHINKO, RONALD S                2644 BLACK OAK DR # 1                                                                     NILES              OH   44446
STASHKO, KELLY                     5514 FERN DR                                                                              FENTON             MI   48430‐9230
STASI PETER (ESTATE OF) (452784)   WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                          NEW YORK           NY   10038
STASI, ANTONIO P                   24 MARLBORO ST                                                                            WORCESTER          MA   01604‐1739
STASI, DIXIE L                     5204 NW DOWNING ST                                                                        BLUE SPRINGS       MO   64015‐2313
STASI, PETER                       WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                          NEW YORK           NY   10038
STASI, PETER S                     1556 MAEDER AVE                                                                           MERRICK            NY   11566‐2321
STASI, RONALD J                    6543 COCHISE DR                                                                           INDIAN HEAD PARK   IL   60525‐4326
STASI, ROSE                        1905 ENGLISHTOWN RD                                                                       JAMESBURG          NJ   08831‐3236
STASI, VITO J                      5630 LOCHWOODE CT                                                                         HOLT               MI   48842‐8709
STASIA SIEROTA                     9986 SAINT CLAIR HWY                                                                      CASCO              MI   48064‐1112
STASIA SPARROW                     127 SEWARD ST APT 105                                                                     DETROIT            MI   48202‐2435
STASIA WEFLER                      3455 HIGHLAND CT                                                                          CROWN POINT        IN   46307‐8925
STASIAK, DAVID J                   6160 VINEYARD AVE                                                                         ANN ARBOR          MI   48108‐5919
STASIAK, DOLORES E                 1624 W WINDLAKE AVE                                                                       MILWAUKEE          WI   53215‐3051
STASIAK, ELEANOR K                 6005 GRANDVILLE                                                                           DETROIT            MI   48228‐3942
                               09-50026-mg               Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
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Name                           Address1                          Address2                           Address3   Address4            City              State Zip
STASIAK, NORBERT J             3023 MILL POND DRIVE                                                                                BELLBROOK          OH 45305‐1480
STASIAK, PAULA                 706‐1176 OUELLETTE AVE.                                                         WINDSOR N9A 6S9
                                                                                                               CANADA
STASIAK, PAULETTE L            77 GORSKI ST                                                                                        BUFFALO           NY    14206‐3111
STASIAK, ROBERT W              44825 ASPEN RIDGE DR                                                                                NORTHVILLE        MI    48168‐4435
STASIAK, STANISLAWA            5521 ELMGROVE AVE                                                                                   WARREN            MI    48092‐3470
STASIAK, STANISLAWA            5521 ELMGROVE                                                                                       WARREN            MI    48092‐3470
STASIAK, TRUDY A               44825 ASPEN RIDGE DR                                                                                NORTHVILLE        MI    48168‐4435
STASICK, BEATRICE L            69 JOSE I GARCIA RD                                                                                 BELEN             NM    87002‐8502
STASIE, PAUL M                 1905 N EVANGELINE ST                                                                                DEARBORN HTS      MI    48127‐3471
STASIEWICZ, JOSEPH C           4845 STRATFORD DR                                                                                   GREENDALE         WI    53129‐2043
STASIK JOE                     9170 BRIGADOON LANE NORTH                                                                           WEST OLIVE        MI    49460‐9006
STASIK, CHRISTIE
STASIK, EDWIN W                20 BIRCH ST                                                                                         COUNTRYSIDE       IL    60525‐4103
STASIK, EUGENE P               2462 SMILEY WAY                                                                                     JACKSON           MI    49203‐3649
STASIK, JAMES E                12930 BAYVIEW DR                                                                                    VICKSBURG         MI    49097
STASIK, JOSEPH A               9170 BRIGADOON LANE NORTH                                                                           WEST OLIVE        MI    49460‐9006
STASIK, KAY‐DEE                873 MEADOWVIEW DR                                                                                   FLORA             IL    62839‐2703
STASIK, MARY K                 597 HOLLY LN                                                                                        NORTH BRUNSWICK   NJ    08902‐2509
STASIK, MARY K                 597 HOLLY LANE                                                                                      NORTH BRUNSWICK   NJ    08902‐2509
STASIK, RAYMOND E              505 GERMANIA ST APT 316                                                                             BAY CITY          MI    48706
STASIK, ROBERT                 12 OVERHILL DR                                                                                      N BRUNSWICK       NJ    08902‐1206
STASIK, STELLA                 2381 CASMERE                                                                                        HAMTRAMCK         MI    48212‐2948
STASIK, STELLA                 2381 CASMERE ST                                                                                     HAMTRAMCK         MI    48212‐2948
STASIKOWSKI, J JOHN            1307 8TH AVE STE 202                                                                                FORT WORTH        TX    76104‐4141
STASINSKI, BILLY L             4813 RUSSELL ST                                                                                     MIDLAND           MI    48640‐2836
STASINSKI, MARJORIE            1320 S JACKSON                                                                                      BAY CITY          MI    48708‐8066
STASIUK, MARIAN E              91 FAIRLANE AVE                                                                                     TONAWANDA         NY    14150‐8119
STASIUK, WILLIAM R             8825 OLDE 8 RD                                                                                      NORTHFIELD        OH    44067‐2739
STASIULEWICZ, STELLA M         141 E 11TH ST                                                                                       LINDEN            NJ    07036‐3306
STASIW, PETER M                477 PINE CIRCLE EXT                                                                                 HORSEHEADS        NY    14845‐1346
STASIW, STEPHANIE              139 KINGS GATE NORTH                                                                                ROCHESTER         NY    14617‐5410
STASKEL DONNA                  STASKEL, DONNA                    30 E BUTLER AVE                                                   AMBLER            PA    19002‐4514
STASKEL, DONNA                 KIMMEL & SILVERMAN                30 E BUTLER AVE                                                   AMBLER            PA    19002‐4514
STASKEL‐LEVENTRY LISA          1490 PAGE DR                                                                                        YARDLEY           PA    19067‐4473
STASKIE, MICHAEL B             12581 VILLAGIO WAY                                                                                  FORT MYERS        FL    33912‐0602
STASKIEL, FRANCIS              127 WESTON PL                                                                                       SHENANDOAH        PA    17976‐1000
STASKIEWS, ALBERT C            2021 E SKYLINE DR                                                                                   LORAIN            OH    44053‐2443
STASKIEWS, MILDRED             2021 E SKYLINE DR                                                                                   LORAIN            OH    44053‐2443
STASKIEWS, RAYMOND             PO BOX 922                                                                                          RICHFIELD         NC    28137‐1004
STASKO, FRANK A                PO BOX 1044                       C/O PATRICIA L GERMAIN & WILLIAM                                  SOUTHGATE         MI    48195‐0044
                                                                 G STASKO
STASKO, MARTIN C               4905 PIEHL RD                                                                                       OTTAWA LAKE       MI    49267‐8709
STASKUS, ALLEN W               7765 GOULD RD                                                                                       NASHVILLE         MI    49073‐9513
STASO, GEORGE J                930 WINDRIVER DR                                                                                    SYKESVILLE        MD    21784‐5528
STASSI GRIFFITH & CONROY LLC   3838 N CAUSEWAY BLVD STE 3030                                                                       METAIRIE          LA    70002‐8337
STASSINOS GUS (498335)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA    23510
                                                                 STREET, SUITE 600
STASSINOS, GUS                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA 23510‐2212
                                                                 STREET, SUITE 600
STASTNY, HANNAH                4239 N OAK PARK AVE.              APT# 120                                                          CHICAGO            IL   60634
STASTNY, HANNAH                4239 N OAK PARK AVE APT 120                                                                         CHICAGO            IL   60634‐3380
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Name                                Address1                          Address2                Address3           Address4         City              State Zip
STASTNY, PATRICIA L                 6167 MANZANILLO DR                                                                            GOLETA             CA 93117‐1765
STASTNY, ROY L                      11244 E CHESAPEAKE PL                                                                         WESTCHESTER         IL 60154‐5928
STASTNY, VAUGHN R                   176 BRANDON CT                                                                                BOLINGBROOK         IL 60440‐1804
STASUNAS, ANTHONY J                 1416 CREEKSIDE CIR                                                                            WINTER SPRINGS     FL 32708‐4329
STASUNAS, PAMELA SUE                12097 N SHORES BLVD                                                                           LA SALLE           MI 48145‐9530
STASYK, SOFIA                       5351 E 11 MILE RD                                                                             WARREN             MI 48092‐2688
STASYSZEN‐KELLINGTON, EVELYN        7837 NE 16TH ST                                                                               MIDWEST CITY       OK 73110‐3224
STASZAK ROBERT J                    2918 W MARQUETTE RD                                                                           CHICAGO             IL 60629‐2924
STASZAK VICTOR                      622 70TH ST                                                                                   DARIEN              IL 60561‐4054
STASZAK, DUANE R                    10262 HORSESHOE CIR                                                                           CLARKSTON          MI 48348‐2004
STASZAK, ESTHER C                   1219 SOUTH GRANT                                                                              BAY CITY           MI 48708
STASZAK, GENEVIEVE                  35300 WOODWARD AVE #303                                                                       BERMINGHAM         MI 48009
STASZAK, HELEN M                    16001 ALEXANDRIA DRIVE                                                                        TINLEY PARK         IL 60477
STASZAK, NORBERT S                  49 ZURBRICK RD                                                                                DEPEW              NY 14043‐4310
STASZAK, PAMELLA A                  6978 MEDITERRANEAN RD D                                                                       ORLANDO            FL 32822
STASZAK, PAUL D                     667 SHORTRIDGE AVE                                                                            ROCHESTER HILLS    MI 48307‐5144
STASZAK, PAUL E                     411 N 6TH ST                      3157                                                        EMERY              SD 57332‐2124
STASZAK, PAUL F                     287 LAKE AVE                                                                                  LANCASTER          NY 14086‐3122
STASZAK, ROBERT J                   2918 W MARQUETTE RD                                                                           CHICAGO             IL 60629‐2924
STASZEL CYNTHIA                     STASZEL, CYNTHIA                  30 E BUTLER AVE                                             AMBLER             PA 19002‐4514
STASZEWSKI, KAZIMIERZ J             11223 BAYBERRY DR                                                                             BRUCE TWP          MI 48065‐3740
STASZEWSKI, NOEL N                  6360 SANTA FE TRL                                                                             FLINT              MI 48532‐2047
STASZKIEWICZ, VERA                  1 BEECH LN                                                                                    WHITE HAVEN        PA 18661
STASZKO, EDWARD                     5895 STATE ROUTE 534                                                                          W FARMINGTON       OH 44491‐9760
STAT A MATRIX                       ONE QUALITY PLACE                                                                             EDISON             NJ 08820
STAT CARE PC                        DEPT CH # 17767                                                                               PALATINE            IL 60055‐0001
STAT EMS LLC                        520 W 3RD ST                                                                                  FLINT              MI 48503‐2668
STATDFIELD, LINDA                   16311 JATOS CIR                                                                               LAKEVILLE          MN 55044
STATE AFFAIRS CO STE 400            11800 SUNRISE VALLEY DR                                                                       RESTON             VA 20191
STATE AND FEDERAL COMMUNICATIONS    80 S SUMMIT ST STE 100                                                                        AKRON              OH 44308‐1741
INC
STATE AUTO INSURANCE                AS SUBROGEE OF CHERYL WOJTOWICZ   P O BOX 65150                                               WEST DES MOINES    IA   50265
STATE AUTO INSURANCE
STATE AUTO INSURANCE                WILBER & ASSOCIATES, PC           RE: BENJAMIN DUNCAN     PO BOX 2159                         BLOOMINGTON       IL    61702‐2159
STATE AUTO INSURANCE                CLAIM# SMIT‐0290621               1300 WOODLAND AVE                                           WEST DES MOINES   IA    50265
STATE AUTO MUTUAL INSURANCE         518 E BROAD ST                                                                                COLUMBUS          OH    43215‐3901
STATE AUTO MUTUAL INSURANCE CO      KERNS HURT PROE & RODMAN          6902 PEARL RD STE 502                                       CLEVELAND         OH    44130‐3621
STATE AUTO MUTUAL INSURANCE         HARTMAN & SPRINGFIELD             PO BOX 846                                                  BIRMINGHAM        AL    35201‐0846
COMPANY
STATE AUTO MUTUAL INSURANCE         ART HERSEY                        518 E BROAD ST                                              COLUMBUS          OH 43215‐3901
COMPANY
STATE AUTOMOBILE MUTUAL INS CO      RHODES CLINE                      PO BOX 856                                                  SNELLVILLE        GA 30078‐0856
STATE AUTOMOBILE MUTUAL INSURANCE   HALLYBURTON MICHAEL D             54 S MAIN ST                                                MADISONVILLE      KY 42431‐2568
COMPANY
STATE BANK                          FOR DEPOSIT TO THE ACCOUNT OF     PO BOX 725              P KOENINGSKNECHT                    FENTON            MI    48430‐0725
STATE BANK THE                      FOR DEPOSIT TO THE ACCOUNT OF     175 N LEROY ST          M KEHOE                             FENTON            MI    48430‐3805
STATE BANK THE                      FOR DEPOSIT IN THE ACCOUNT OF     PO BOX 725              K FULTON                            FENTON            MI    48430‐0725
STATE BANK THE                      FOR DEPOSIT IN THE ACCOUNT OF     175 N LEROY ST          M MAIZLAND                          FENTON            MI    48430‐3805
STATE BAR OF ARIZONA                PO BOX 13026                                                                                  PHOENIX           AZ    85002‐3026
STATE BAR OF CALIFORNIA             PO BOX 39000                                                                                  SAN FRANCISCO     CA    94139‐9126
STATE BAR OF GEORGIA                PO BOX 930835                                                                                 ATLANTA           GA    31193‐0835
STATE BAR OF MICHIGAN               306 TOWNSEND ST                                                                               LANSING           MI    48933‐2012
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Name                                  Address1                               Address2                       Address3            Address4                 City               State Zip
STATE BAR OF MICHIGAN                 PO BOX NO                              PO BOX 79001                                                                DETROIT             MI 48279‐0001
STATE BAR OF TEXAS                    PO BOX 149180                                                                                                      AUSTIN              TX 78714
STATE BOARD OF EQUALIZATION           PROPERTY & SPECIAL TAXES DEPT          450 N ST                                                                    SACRAMENTO          CA 95814‐4311
STATE BOARD OF EQUALIZATION           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 942879                                                               SACRAMENTO          CA 94279‐0001

STATE BOARD OF EQUALIZATION           PO BOX 942879                                                                                                      SACRAMENTO         CA    94279‐0001
STATE BOARD OF WORKERS COMP           PO BOX 101427                                                                                                      ATLANTA            GA    30392‐1427
STATE BUILDING COMMISIONER FUND       IN GVNMT CTR S RM W246                302 WEST WASHINGTON STREET                                                   INDIANAPOLIS       IN    46204
STATE CALIF FRANCHISE TX BOARD        ACCT OF ROGER FERRIN                  PO BOX 942867                                                                SACRAMENTO         CA    94267‐0001
STATE CALIFORNIA DSA                  700 N ALAMEDA ST STE 5‐500                                                                                         LOS ANGELES        CA    90012‐3356
STATE CENTRAL COLLECTION UNIT         PO BOX 6219                                                                                                        INDIANAPOLIS       IN    46206‐6219
STATE CENTRAL SECURITIES              DEPOSITORY REP OF UZBEKISTAN          10 BUKHORO STREET                                   TASHKENT CITY
                                                                                                                                UZBEKISTAN
STATE CHEMICAL LTD                    1745 MEYERSIDE DR UNIT 1                                                                  MISSISSAUGA ON L5T 1C6
                                                                                                                                CANADA
STATE CHEMICAL MFG CO                 3100 HAMILTON AVE                                                                                                  CLEVELAND          OH 44114‐3701
STATE COLLECTION SERVICE              PO BOX 6037                                                                                                        MADISON            WI 53716‐0037
STATE COMPENSATION INS FUND           1275 MARKET ST                                                                                                     SAN FRANCISCO      CA 94103
STATE COMPENSATION INSURANCE FUND

STATE COMPTROLLER                    COMPTROLLER OF PUBLIC ACCOUNTS         111 E. 17TH STREET                                                           AUSTIN             TX    78774‐0001
STATE COMPTROLLER                    CAPITAL STA                                                                                                         AUSTIN             TX    78774‐0001
STATE CORPORATION COMMISSION         PO BOX 1197                            OFFICE OF THE CLERK                                                          RICHMOND           VA    23218‐1197
STATE CORPORATION COMMISSION OF      PO BOX 1269                            CORPORATION DEPARTMENT                                                       SANTA FE           NM    87504‐1269
NEW MEXICO
STATE COURIER SYSTEMS                7510 MIDDLE RIDGE RD                                                                                                MADISON            OH    44057‐3016
STATE COURT OF FULTON COUNTY         ACCT OF ANGELA D MILES                 102 STATE CT BL 16O PRYOR S W                                                ATLANTA            GA    30303
STATE CT OF COBB COUNTY              ACT OF D R PHELPS 97G1166              12 E PARK SQ                                                                 MARIETTA           GA    30090‐0115
STATE DEPARTMENT OF ASSESSMENTS      301 W PRESTON ST                       CORPORATE CHARTER DIVISION                                                   BALTIMORE          MD    21201‐2385
AND TAXATION
STATE DEPT OF ASSESSMENTS & TAXATION ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 301 W PRESTON ST                PERSONAL PROPERTY   ROOM 801                 BALTIMORE          MD 21201‐2385
                                                                                                            DIVISION
STATE DEPT OF ASSESSMENTS & TAXATION 301 W PRESTON ST                       PERSONAL PROPERTY DIVISION      ROOM 801                                     BALTIMORE          MD 21201‐2385

STATE DEVELOPMENT & INVESTMENT        550TH YUANQU RD ANTING NO 2           JIADING DISTRICT                                    SHANGHAI CN 201814
CORP                                                                                                                            CHINA (PEOPLE'S REP)
STATE DISBURSEMENT UNIT               PO BOX 5400                                                                                                        CAROL STREAM       IL    60197‐5400
STATE DISBURSEMENT UNIT               PO BOX 989067                                                                                                      WEST SACRAMENTO    CA    95798‐9067
STATE DISBURSEMENT UNIT ACT OF        DAVID JOHNSON JR 98D 1663             PO BOX 5400                                                                  CAROL STREAM       IL    60197‐5400
STATE ELECTRIC                        1977 CONGRESSIONAL DR                                                                                              SAINT LOUIS        MO    63146‐4123
STATE ELECTRIC COMPANY                TOM BRALEY                            2010 2ND AVENUE                                                              HUNTINGTON         KY
STATE ENTERPRISE ZONE BOARD           INDIANA DEPARTMENT OF COMMERCE        1 N CAPITOL AVE STE 600                                                      INDIANAPOLIS       IN    46204‐2027
STATE EQUIPMENT FLEET                 6860 GLACIER HWY                                                                                                   JUNEAU             AK    99801‐7909
STATE FABRICATORS INC                 30550 W 8 MILE RD                                                                                                  FARMINGTON HILLS   MI    48336‐5301
STATE FAIR OF TEXAS                   C/O MITCHELL GLIEBER                  PO BOX 150009                                                                DALLAS             TX    75315‐0009
STATE FAIR OF TEXAS                   PO BOX 150009                                                                                                      DALLAS             TX    75315‐0009
STATE FAIR OF TEXAS                   MR. MITCHELL GLIEBER                  PO BOX 150009, DALLAS                                                        DALLAS             TX    75315
STATE FARM
STATE FARM                            DICK MALCOM                           1 STATE FARM PLZ                                                             BLOOMINGTON         IL   61701‐4300
STATE FARM AGENTS                     DICK MALCOM                           1 STATE FARM PLZ                                                             BLOOMINGTON         IL   61701‐4300
STATE FARM ASO MARSHALL PUBLIC
SCHOOLS
                                     09-50026-mg              Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
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Name                                 Address1                             Address2                        Address3           Address4         City             State Zip
STATE FARM AUTOMOBILE INSURANCE      PARNELL RONALD W                     PO BOX 81085                                                        CONYERS           GA 30013‐9085
COMPANY
STATE FARM FIRE & CASUALTY COMPANY   MUELLER GOSS & POSSI                 744 NORTH FOURTH STREET                                             MILWAUKEE        WI 53203
                                                                          COMMERCE CENTER SUITE 600
STATE FARM FIRE & CASUALTY COMPANY   OLTMAN & MAISEL PC                   77 W WASHINGTON ST STE 520                                          CHICAGO           IL   60602‐3318

STATE FARM FIRE & CASUALTY COMPANY   CHEEK & ZEEHANDELAR                  PO BOX 15069                                                        COLUMBUS         OH 43215‐0069

STATE FARM FIRE & CASUALTY COMPANY   SPANGLER JENNINGS & DOUGHERTY P.C.   8396 MISSISSIPPI ST                                                 MERRILLVILLE      IN   46410

STATE FARM FIRE & CASUALTY COMPANY   GENNET KALLMANN ANTIN & ROBINSON     6 CAMPUS DRIVE                                                      PARSIPPANY        NJ   07054

STATE FARM FIRE & CASUALTY COMPANY   C/O ZEEHANDELAR SABATINO &           471 E BROAD ST SUITE 1200                                           COLUMBUS         OH 43215
AND SUMMIT RIDGE CONDOMINIUM         ASSOCIATES LLC

STATE FARM FIRE AND CASUALTY         PARNELL RONALD W                     PO BOX 81085                                                        CONYERS          GA 30013‐9085
COMPANY
STATE FARM FIRE AND CASUALTY         BRICKER & ECKLER                     9277 CENTRE POINTE DR STE 100                                       WEST CHESTER     OH 45069‐4844
COMPANY
STATE FARM FIRE AND CASUALTY
COMPANY
STATE FARM FIRE AND CASUALTY         COSBY OLTMAN & BELL                  77 WEST WASHINGTON ST                                               CHICAGO           IL   60602
COMPANY
STATE FARM FIRE AND CASUALTY         WATKINS MICHAEL T LAW OFFICES OF     1100 DEXTER AVENUE NORTH                                            SEATTLE          WA 98109
COMPANY
STATE FARM FIRE AND CASUALTY         DILBECK MYERS & HARRIS PLLC          239 S 5TH ST STE 1100                                               LOUISVILLE        KY   40202‐3254
COMPANY
STATE FARM FIRE AND CASUALTY         OLTMAN & MAISEL PC                   77 W WASHINGTON ST STE 520                                          CHICAGO           IL   60602‐3318
COMPANY
STATE FARM FIRE AND CASUALTY         C/O EVEZICH LAW OFFICE               600 UNIVERSITY ST STE 2701                                          SEATTLE          WA 98101
COMPANY
STATE FARM GENERAL INSURANCE         CHOLAKIAN & ASSOCS                   5 THOMAS MELLON CIR STE 105                                         SAN FRANCISCO    CA 94134‐2501
COMPANIES
STATE FARM GENERAL INSURANCE         CHOLAKIAN & ASSOCS                   400 OYSTER POINT BLVD           STE 415                             S SAN FRAN       CA 94080‐1920
COMPANIES
STATE FARM GENERAL INSURANCE         CHOLAKIAN & ASSOCS                   400 OYSTER POINT BLVD STE 415                                       S SAN FRAN       CA 94080‐1920
COMPANY
STATE FARM INDEMNITY COMPANY         BINDER GOLDSTEIN                     401 HAMBURG TURNPIKE                                                WAYNE             NJ   07470
STATE FARM INDEMNITY COMPANY         KEARNS & DUFFY                       PO BOX 56                                                           LIBERTY CORNER    NJ   07938‐0056
STATE FARM INDEMNITY COMPANY         MARTIN & SIMMONDS                    PO BOX 201                      ONE OLD HIGHWAY,                    WHITEHOUSE        NJ   08888‐0201
STATE FARM INS
STATE FARM INS CO                    SERPE ANDREE & KAUFMAN               PO BOX 165                                                          HUNTINGTON       NY 11743‐0165
STATE FARM INSURANCE                 1 STATE FARM PLZ                                                                                         BLOOMINGTON      IL 61701‐4300
STATE FARM INSURANCE
STATE FARM INSURANCE                 RE: DENISE HIPPLER                   PO BOX 3020                                                         NEWARK           OH    43058‐3020
STATE FARM INSURANCE                 RE: JOSHUA JOHNSON                   P.O. BOX 2367                                                       BLOOMINGTON      IL    61702
STATE FARM INSURANCE                 ATTN: FRED BARGER                    1319 6TH ST                                                         BEDFORD          IN    47421‐2107
STATE FARM INSURANCE                 ATTN: ERIC HUFFMAN                   900 PALLISTER ST                                                    DETROIT          MI    48202‐2615
STATE FARM INSURANCE                 ATTN: JENNIFER H SCHAFFER            5216 SPRINGBORO PIKE                                                MORAINE          OH    45439‐2971
STATE FARM INSURANCE 09/08/97
STATE FARM INSURANCE CO              RE: BRANDY HALL                      P.O. BOX 799011                                                     DALLAS            TX   75379‐9011
                                     09-50026-mg              Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                          Exhibit B
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Name                                 Address1                             Address2                           Address3                        Address4             City           State Zip
STATE FARM INSURANCE CO RUBY KILBY

STATE FARM INSURANCE COMPANIES       RE: JAMES BROWER                   P.O. BOX 3020                                                                             NEWARK         OH    43058‐3020
STATE FARM INSURANCE COMPANIES       RE: TAMMY ADKINS                   P.O. BOX 3020                                                                             NEWARK         OH    43058‐3020
STATE FARM INSURANCE COMPANIES       RE: CHERYL BAPST                   P.O. BOX 3020                                                                             NEWARK         OH    43058‐3020
STATE FARM INSURANCE COMPANIES       RE: DAVID TANTER                   PO BOX 2335                                                                               BLOOMINGTON    IL    61702‐2335
STATE FARM INSURANCE COMPANIES       RE: PRO SEAL                       PO BOX 20707                                                                              MURFREESBORO   TN    37129
STATE FARM INSURANCE COMPANIES       MCDONALD MCKENZIE RUBIN MILLER AND PO BOX 58                                                                                 COLUMBIA       SC    29202‐0058
                                     LYBRAND LLP
STATE FARM INSURANCE COMPANIES       PILLSBURY & READ PA                1204 E WASHINGTON ST STE A                                                                GREENVILLE      SC 29601‐3134
STATE FARM INSURANCE COMPANY         RE: CHARLES GARTLAND               416 KENT RD                                                                               RIVERSIDE       IL 60546‐1714
STATE FARM INSURANCE COMPANY         GILLEY T FRANKLIN                  14 N PUBLIC SQ                                                                            MURFREESBORO    TN 37130‐3633
STATE FARM INSURANCE COMPANY
STATE FARM INSURANCE COMPANY         MARQUOIT J JASON LAW OFFICE OF       7830 SW 40TH AVE STE 8                                                                  PORTLAND        OR 97219‐1682
STATE FARM INSURANCE COMPANY         JOHNSON EDWARD L                     1274 LIBRARY ST STE 304                                                                 DETROIT         MI 48226‐2291
STATE FARM INSURANCE COMPANY         SERPE ANDREE & KAUFMAN               PO BOX 165                                                                              HUNTINGTON      NY 11743‐0165
8/22/96
STATE FARM LLOYDS INSURANCE          CARPENTER LAW FIRM PC                PARKWAY CENTRE IV SUITE 570 2701                                                        PLANO           TX   75093
COMPANY                                                                   NORTH DALLAS PARKWAY
STATE FARM MUTL AUTO INSUR CO        ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 2371                                                                             BLOOMINGTON    OH 61702‐2371
                                     AGENT
STATE FARM MUTUAL
STATE FARM MUTUAL AUTOMOBILE         RE: CLINTON MAPLES                   P.O. BOX 3649                                                                           TULSA           OK 74121‐3649
INSURANCE CO
STATE FARM MUTUAL ATUOMOBILE         KEIS GEORGE LLP                      55 PUBLIC SQUARE #800                                                                   CLEVELAND      OH 44113
INSURANCE COMPANY
STATE FARM MUTUAL AUTO
STATE FARM MUTUAL AUTO               STATE FARM MUTUAL AUTOMOBILE         HANNAH COLVIN & PIPES              2051 SILVERSIDE DRIVE , SUITE                        BATON ROUGE     LA   70808
                                     INSURANCE CO                                                            260
STATE FARM MUTUAL AUTO INSURANCE     CARPENTER LAW FIRM, J. DAVID JOYCE   5045 LORIMAR DR STE 280                                                                 PLANO           TX   75093‐5721

STATE FARM MUTUAL AUTO INSURANCE     NICOLINI & PARADISE                  PO BOX 9006                        114 OLD COUNTRY ROAD                                 MINEOLA         NY 11501‐9006
CO
STATE FARM MUTUAL AUTO INSURANCE     WILSON STUART                        100 N MAIN ST STE 2304                                                                  MEMPHIS         TN 38103‐0565
CO
STATE FARM MUTUAL AUTO INSURANCE     CARPENTER LAW FIRM PC                PARKWAY CENTRE IV SUITE 570 2701                                                        PLANO           TX   75093
COMPANY                                                                   NORTH DALLAS PARKWAY
STATE FARM MUTUAL AUTOMIBILE         ZEEHANDLER, SABATINO & ASSOCIATES,   471 EAST BROAD STREET SUITE 1200                                                        COLUMBUS       OH 43215
INSURANCE COMPANY                    LLC
STATE FARM MUTUAL AUTOMIBLE          C/O THE LAW OFFICES OF JEFFREY W     717 COLLEGE AVENUE 2ND FLOOR                                                            SANTA ROSA      CA 95404
INSURANCE COMPAY                     PARKS
STATE FARM MUTUAL AUTOMOBILE         INSURANCE COMPANY                    A/S/O CYNTHIA CADO STAUTS (#960‐ C/O LAW OFFICES OF R W            PO BOX 81085         CONYERS         GA 30013
                                                                          0117)                            PARNELL
STATE FARM MUTUAL AUTOMOBILE         INSURANCE COMPANY                    A/S/O DEXTER JACKSON (#960‐0116) C/O LAW OFFICES OF R W            PO BOX 81085         CONYERS         GA 30013
                                                                                                           PARNELL
STATE FARM MUTUAL AUTOMOBILE INS     C/O JEFFREY R BECKER, ESQUIRE        PO BOX 550858                                                                           JACKSONVILLE    FL   32255
CO
STATE FARM MUTUAL AUTOMOBILE INS     ATTN: JEFFREY R BECKER ESQUIRE       PO BOX 550858                                                                           JACKSONVILLE    FL   32255
CO
STATE FARM MUTUAL AUTOMOBILE INS     PILLEMER & PILLEMER                  14724 VENTURA BLVD #401                                                                 SHERMAN OAKS    CA 91403
CO
                                   09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
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Name                               Address1                             Address2                             Address3   Address4         City             State Zip
STATE FARM MUTUAL AUTOMOBILE INS   KEIS GEORGE LLP                      55 PUBLIC SQ STE 800                                             CLEVELAND         OH 44113‐1909
CO
STATE FARM MUTUAL AUTOMOBILE       ARMOUR LAW FIRM                      PO BOX 710                                                       ALEXANDRIA        LA   71309‐0710
INSURANCE
STATE FARM MUTUAL AUTOMOBILE       MARKOWITZ STUART D LAW OFFICE OF     575 JERICHO TPKE STE 210                                         JERICHO          NY 11753‐1847
INSURANCE
STATE FARM MUTUAL AUTOMOBILE       CARPENTER LAW FIRM PC                PARKWAY CENTRE IV SUITE 570 2701                                 PLANO             TX   75093
INSURANCE CO                                                            NORTH DALLAS PARKWAY
STATE FARM MUTUAL AUTOMOBILE       HANNAH COLVIN & PIPES                2051 SILVERSIDE DR STE 260                                       BATON ROUGE       LA   70808‐4040
INSURANCE CO
STATE FARM MUTUAL AUTOMOBILE
INSURANCE CO
STATE FARM MUTUAL AUTOMOBILE       1 STATE FARM PLZ                                                                                      BLOOMINGTON       IL   61710‐0001
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE       LEVERETT SHON                        600 W WASHINGTON ST                                              LOUISVILLE        KY   40202‐2925
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE       CHOLAKIAN & ASSOCS                   400 OYSTER POINT BLVD                STE 415                     S SAN FRAN       CA 94080‐1920
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE       GREGORY OLTMAN                       77 W WASHINGTON ST STE 1605                                      CHICAGO           IL   60602‐3212
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE       VANCE & LOTANE, P.A.                 200 BREVARD AVENUE                                               COCOA             FL   32922
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE       LESNIAK & MURAKOWSKI                 40 EAST JOLIET STREET ‐ SUITE B                                  SCHERERVILLE      IN   46375
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE       CHEEK & ZEEHANDELAR                  PO BOX 15069                                                     COLUMBUS         OH 43215‐0069
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE       LENNOX EMANUEL PLLC                  1249 WASHINGTON BLVD STE 2900                                    DETROIT          MI 48226‐1891
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE       COSBY OLTMAN & BELL                  77 WEST WASHINGTON ST                                            CHICAGO           IL   60602
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE       VANCE LOTANE & BOOKHARDT             1980 MICHIGAN AVE                                                COCOA             FL   32922‐5729
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE       ZEEHANDELAR STEVEN J                 471 E BROAD ST FL 18                                             COLUMBUS         OH 43215‐3842
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE       JOHNSON EDWARD L                     1249 WASHINGTON BLVD STE 2900                                    DETROIT          MI 48226‐1891
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE       BINDER GOLDSTEIN                     401 HAMBURG TURNPIKE                                             WAYNE             NJ   07470
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE       KAMRATH SCOTT R LAW OFFICES OF       22845 VENTURA BOULEVARD SUITE                                    WOODLAND HILLS   CA 91364
INSURANCE COMPANY                                                       523
STATE FARM MUTUAL AUTOMOBILE       FISHER KANARIS PC                    200 S WACKER DR FL 2                                             CHICAGO           IL   60606‐5843
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE       WALKER FERGUSON & FERGUSON           301 NW 63RD ST                                                   OKLAHOMA CITY    OK 73116
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE       NODARSE BUSCEMI ODALYS LAW OFFICE    2676 SW 137TH AVE                                                MIAMI             FL   33175‐6636
INSURANCE COMPANY                  OF
STATE FARM MUTUAL AUTOMOBILE       COSBY OLTMAN & BELL PC ATTORNEYS &   77 W WASHINGTON ST STE 1605                                      CHICAGO           IL   60602‐3212
INSURANCE COMPANY                  COUNSELORS
STATE FARM MUTUAL AUTOMOBILE       SABATINO ALESSANDRO JR               471 E BROAD ‐ 18TH FLOOR P O BOX ‐                               COLUMBUS         OH 43215
INSURANCE COMPANY
                               09-50026-mg              Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
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Name                           Address1                             Address2                            Address3               Address4         City            State Zip
STATE FARM MUTUAL AUTOMOBILE   HEWSON AND VAN HELLEMONT PC          29900 LORRAINE AVE STE 100                                                  WARREN           MI 48093‐5267
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   HANNAH COLVIN & PIPES                2051 SILVERSIDE DR STE 260                                                  BATON ROUGE      LA   70808‐4040
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   BROUILLETTE JAMES E                  4200 S I 10 SERVICE RD W STE 138                                            METAIRIE         LA   70001‐1237
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   KOELLER NEBEKER CARLSON & HALUCK LLP 3200 N CENTRAL AVE STE 2300                                                 PHOENIX         AZ    85012‐2443
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   NICOLINI PARADISE FERETTI AND SABELLA PO BOX 9006                        114 OLD COUNTRY ROAD                    MINEOLA         NY 11501‐9006
INSURANCE COMPANY              COUNSELORS AT LAW
STATE FARM MUTUAL AUTOMOBILE   HICKMAN GOZA & SPRAGINS PLLC          PO BOX 943                                                                 GRENADA         MS 38902‐0943
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   JOHNSON EDWARD L                     725 S ADAMS RD STE L‐124                                                    BIRMINGHAM      MI 48009‐6998
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   CARPENTER LAW FIRM PC                PARKWAY CENTRE IV SUITE 570 2701                                            PLANO            TX   75093
INSURANCE COMPANY                                                   NORTH DALLAS PARKWAY
STATE FARM MUTUAL AUTOMOBILE   BRINTON AMANDA LH LAW OFFICES OF     521 N WEST ST                                                               WILMINGTON      DE 19801‐2139
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   MULHERIN REHFELDT & VARCHETTO PC     211 S WHEATON AVE STE 200                                                   WHEATON          IL   60187‐5251
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   PILLEMER & PILLEMER                  14724 VENTURA BLVD STE 401                                                  SHERMAN OAKS    CA 91403‐3504
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   WALKER FERGUSON & FERGUSON           941 E BRITTON RD                                                            OKLAHOMA CITY   OK 73114‐7802
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   MARKOWITZ, STUART D                  575 JERICHO TPKE STE 210                                                    JERICHO         NY 11753‐1847
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   MARKOWITZ STUART D LAW OFFICE OF     575 JERICHO TPKE STE 210                                                    JERICHO         NY 11753‐1847
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   MCHUGHES LAW FIRM LLC                PO BOX 2180                                                                 LITTLE ROCK     AR 72203‐2180
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   GARNER STEPHEN E PC                  766O WOODWAY DRIVE, SUITE 465                                               HOUSTON          TX   77063
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   PARNELL RONALD W                     PO BOX 81085                                                                CONYERS         GA 30013‐9085
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   ZEEHANDELAR, SABATINO & ASSOC        471 E BROAD ST STE 1200                                                     COLUMBUS        OH 43215‐3806
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   CHEEK & ZEEHANDELAR                  471 E BROAD STREET, 18TH FLOOR                                              COLUMBUS        OH 43215‐0069
INSURANCE COMPANY                                                   PO BOX 15069
STATE FARM MUTUAL AUTOMOBILE   SABATINO ALESSANDRO JR               471 EAST BROAD ‐ 18TH FLOOR ‐ P O                                           COLUMBUS        OH 43215‐0069
INSURANCE COMPANY                                                   BOX 15069
STATE FARM MUTUAL AUTOMOBILE   BROUILLETTE JAMES E                  3330 LAKE VILLA DR STE 202                                                  METAIRIE         LA   70002‐4300
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   OLTMAN & MAISEL P C                  77 W WASHINGTON ST STE 520                                                  CHICAGO          IL   60602‐3318
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   DALAN KATZ & SIEGEL PL               2633 MCCORMICK DRIVE SUITE 101                                              CLEARWATER       FL   33759
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   KEIS GEORGE LLP                      55 PUBLIC SQ STE 800                                                        CLEVELAND       OH 44113‐1909
INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE   ZEEHANDELAR SABATINO & ASSOCIATES    471 EAST BROAD STREET STE 1200                                              COLUMBUS        OH 43215
INSURANCE COMPANY              LLC
STATE FARM MUTUAL AUTOMOBILE   C/O ZEEHANDELAR SABATINO &           471 E BROAD ST STE 1200                                                     COLUMBUS        OH 43215
INSURANCE COMPANY              ASSOCIATES LLC
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Name                                 Address1                             Address2                           Address3                     Address4                City           State Zip
STATE FARM MUTUAL AUTOMOBILE         ZEEHANDELAR SAGATINO & ASSOCIATES    471 EAST BROAD STREET STE 1200                                                          COLUMBUS        OH 43215
INSURANCE COMPANY                    LLC
STATE FARM MUTUAL AUTOMOBILE         C/O ZEEHANDELAR SABATINO &           471 EAST BROAD STREET SUITE 1200                                                        COLUMBUS       OH 43215
INSURANCE COMPANY                    ASSOCIATES LLC
STATE FARM MUTUAL AUTOMOBILE         C/O LAW OFFICES OF JEFFREY W PARKS   717 COLLEGE AVENUE 2ND FLOOR                                                            SANTA ROSA     CA 95404
INSURANCE COMPANY
STATE FARM MUTUAL INS CO             COSBY OLTMAN & BELL                  77 WEST WASHINGTON ST                                                                   CHICAGO        IL 60602
STATE FARM MUTUAL INSURANCE          JOHNSON EDWARD L                     1274 LIBRARY ST STE 304                                                                 DETROIT        MI 48226‐2291
COMPANY
STATE FARM MUTUAL INSURANCE          ATTN R GAREIS ATTORNEY AT LAW        C/O GROTEFELD & HOFFMAN            407 S 3RD STSTE 200                                  GENEVE          IL   80134
COMPANY A/S/O RYAN BEECH
STATE FIRE MARSHAL                   CASHIER BOILERS                      PO BOX 3331                        ILLINOIS OFFICE STATE FIRE                           SPRINGFIELD     IL   62708‐3331
                                                                                                             MAR
STATE GEAR COMPANY INC               510 S HARDING ST                                                                                                             INDIANAPOLIS   IN 46221‐1137
STATE GOVERNMENT LEADERSHIP          1400 K ST NW STE 450                                                                                                         WASHINGTON     DC 20005‐2423
FOUNDATION
STATE GROUP INDUSTRIAL LIMITED       7560 AIRPORT RD UNIT 10                                                                              MISSISSAUGA CANADA ON
                                                                                                                                          L4T 4H4 CANADA
STATE GROUP INDUSTRIAL LTD
STATE LAND DEPARTMENT                UNCLAIMED PROPERTY DIVISION          PO BOX 5523                                                                             BISMARCK       ND    58506‐5523
STATE LINE AUTO AUCTION              PO BOX 351                                                                                                                   WAVERLY        NY    14892‐0351
STATE LINE AUTO AUCTION              830 TALMADGE HILL RD S                                                                                                       WAVERLY        NY    14892‐9510
STATE LINE AUTO AUCTION              JEFF BARBER                          830 TALMADGE HILL RD S                                                                  WAVERLY        NY    14892‐9510
STATE LINE AUTO AUCTION, LLC
STATE LINE AUTO AUCTION, LLC         JEFF BARBER                          830 TALMADGE HILL RD S                                                                  WAVERLY        NY    14892‐9510
STATE MONT DOT/PAGE                  2701 PROSPECT AVE                                                                                                            HELENA         MT    59601‐9746
STATE OF AK TED STEVENS AIRPORT                                           5740 DE HAVILLAND AVE                                                                                  AK    99502
STATE OF ALABAMA MOTOR POOL                                               386 S RIPLEY ST                                                                                        AL    36104
STATE OF ALABAMA TREASURERS OFFICE   PO BOX 302520                        UNCLAIMED PROPERTY DIVISION                                                             MONTGOMERY     AL    36130‐2520

STATE OF ALABAMA V ONSTAR            STATE OF ALABAMA
STATE OF ALABAMA,DEPT OF REV         ACCT OF LORA A BAILEY                PO BOX 327825                                                                           MONTGOMERY     AL    36132‐7825
STATE OF ALASKA                      DEPT. OF COMMERCE & ECON. DEV.       PO BOX 110806                      BUSINESS LICENSING SECTION                           JUNEAU         AK    99811‐0806

STATE OF ALASKA                      UNCLAIMED PROPERTY                   PO BOX 110405                                                                           JUNEAU         AK    99811‐0405
STATE OF ALASKA DOT/PF               2301 PEGER RD                                                                                                                FAIRBANKS      AK    99709‐5316
STATE OF ARIZONA                     STATE LAND DEPARTMENT                1616 WEST ADAMS                                                                         PHOENIX        AZ    85007
STATE OF ARIZONA                     DEPT OF ENVIRONMENTAL QUALITY        PO BOX 18228                                                                            PHOENIX        AZ    85005‐8228
STATE OF ARKANSAS                    MOTOR VEHICLE COMMISSION             101 E CAPITOL AVE STE 210                                                               LITTLE ROCK    AR    72201‐3826
STATE OF ARKANSAS                    FINANCE & ADMINISTRATION DEPT        PO BOX 3861                                                                             LITTLE ROCK    AR    72203‐3861
STATE OF ARKANSAS                    DEPT OF FIN & ADMINISTRATION         PO BOX 1272                                                                             LITTLE ROCK    AR    72203‐1272
STATE OF ARKANSAS                    DEPARTMENT OF FINANCE                & ADMINISTRATION                   P.O. BOX 3861                                        LITTLE ROCK    AR    72203
STATE OF ARKANSAS ARKANSAS           ATTN: KENDRA AKIN JONES              323 CENTER STREET                  STE. 400                                             LITTLE ROCK    AR    72201
DEPARTMENT OF
STATE OF ARKANSAS/ADEQ               ARKANSAS ATTORNEY GENERAL            ATTN KENDRA AKIN JONES             323 CENTER STREET STE 400                            LITTLE ROCK    AR    72201
STATE OF CAL PERS                    C\O EQUITABLE R\E MGMT               CENTRAL PARK PLZ                   PO BOX 73523                                         CHICAGO        IL    60673‐0001
STATE OF CAL‐DEPT TRANS              34TH ST.& STOCKTON BLVD                                                                                                      SACRAMENTO     CA    95816
STATE OF CAL‐DEPT TRANS              34TH ST & STOCKTON BLVD                                                                                                      SACRAMENTO     CA    95816
STATE OF CALIFORNIA                  802 Q ST                                                                                                                     SACRAMENTO     CA    95811‐6422
STATE OF CALIFORNIA                  122 S HILL ST                                                                                                                LOS ANGELES    CA    90012
STATE OF CALIFORNIA                  DEPT OF TRANS CASHIER                PO BOX 168019                                                                           SACRAMENTO     CA    95816‐8019
STATE OF CALIFORNIA                  EMPLOYMENT DEVELOPMENT DEPT
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Name                                   Address1                               Address2                       Address3                    Address4         City           State Zip
STATE OF CALIFORNIA                    DEPT OF TRANSPORTATION                 101 S MAIN ST                                                               LOS ANGELES     CA 90012‐3701
STATE OF CALIFORNIA                    STATE CONTROLLER                       PO BOX 942850                                                               SACRAMENTO      CA 94250‐0001
STATE OF CALIFORNIA                    ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 944230                  SECRETARY OF STATE                           SACRAMENTO      CA 94244‐2300

STATE OF CALIFORNIA                    PO BOX 944230                         SECRETARY OF STATE                                                           SACRAMENTO     CA    94244‐2300
STATE OF CALIFORNIA                    PO BOX 942879                         BOARD OF EQUALIZATION                                                        SACRAMENTO     CA    94279‐0001
STATE OF CALIFORNIA ‐ GSA              122 SOUTH HILL STREET                                                                                              LOS ANGELES    CA    90012
STATE OF CALIFORNIA BOARD OF           PO BOX 942757                                                                                                      SACRAMENTO     CA    94291‐2757
EQUALIZATION
STATE OF CALIFORNIA DEPARTMENT         MOTOR VEHICLES OCCUPATIONAL           PO BOX 932342                   LICENSING UNIT UPTD                          SACRAMENTO     CA 94232‐3420
                                                                                                             11/14/05GJ
STATE OF CALIFORNIA DEPT OF TOXIC      P.O. BOX 806                                                                                                       SACRAMENTO     CA 95812‐0806
SUBSTANCES
STATE OF CALIFORNIA DEPT OF TOXIC      ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 806                                                                  SACRAMENTO     CA 95812‐0806
SUBSTANCES
STATE OF CALIFORNIA EMPLOYMENT         CENTRAL COLLECTION DIVISION, MTC 92   ATTN: LEGAL OFFICER / BANKRUPTCY PO BOX 826880                               SACRAMENTO     CA 94280‐0001
DEVELOPMENT DEPARTMENT                                                       DEPT.
STATE OF CALIFORNIA EMPLOYMENT         CENTRAL COLLECTION DIVISION, MTC 92   PO BOX 826880                                                                SACRAMENTO     CA 94280‐0001
DEVELOPMENT DEPARTMENT
STATE OF CALIFORNIA
EMPLOYMENTDEVELOPMENT CENTER
STATE OF CALIFORNIA
EMPLOYMENTDEVELOPMENT
DEPARTMENT
STATE OF CALIFORNIA HEALTH SER         DHS‐LABORATORY FIELD SERVICES         850 MARINA BAY PKWY BLDG P1ST                                                RICHMOND       CA 94804

STATE OF CALIFORNIA, DEPARTMENT OF     700 HEINZ AVE STE 200                                                                                              BERKELEY       CA 94710‐2761
TOXIC SUBSTANCES CONTROL
STATE OF CALIFORNIA, DIRECTOR OF THE   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 826880                                                               SACRAMENTO     CA 94280‐0001
EMPLOYMENT DEVELOPMENT CENTER

STATE OF CALIFORNIA, DIRECTOR OF THE   PO BOX 826880                                                                                                      SACRAMENTO     CA 94280
EMPLOYMENT DEVELOPMENT CENTER

STATE OF CALIFORNIA/STATE GARAGE       1416 10TH ST/2ND FLR.                                                                                              SACRAMENTO     CA 95814
STATE OF COLLETT JR. ALLEN E           18 GLENN LN                                                                                                        LONDON         KY 40741‐9230
STATE OF COLORADO DEPARTMENT OF        1881 PIERCE ST RM 142                                                                                              LAKEWOOD       CO 80214‐1447
REVENUE
STATE OF CONNECTICUT                   UNCLAIMED PROPERTY DIV                55 ELM STREET 7TH FLOOR                                                      HARTFORD        CT   06106‐1746
STATE OF CONNECTICUT                   25 SIGOURNEY STREET                                                                                                HARTFORD        CT   06106
STATE OF CONNECTICUT                   DEPARTMENT OF REVENUE SERVICES        P.O. BOX 308                                                                 HARTFORD        CT   06141
STATE OF CONNECTICUT                   UNCLAIMED PROPERTY DIV                55 ELM ST 7TH FL                                                             HARTFORD        CT   06106
STATE OF CONNECTICUT                   PO BOX 2974                           DEPT OF REVENUE SERVICES                                                     HARTFORD        CT   06104‐2974
STATE OF CONNECTICUT (5089)            DEPT. OF REVENUE SERVICES             PO BOX 595                                                                   HARTFORD        CT   06141‐0595
STATE OF CONNECTICUT DEPARTMENT OF     79 ELM ST                                                                                                          HARTFORD        CT   06106‐5127
ENVIRONMENTAL PROTECTION
STATE OF CONNECTICUT DEPARTMENT OF     EMPLOYMENT SECURITY DIVISION
LABOR
STATE OF CONNECTICUT DEPARTMENT OF     60 STATE ST                                                                                                        WETHERSFIELD    CT   06161‐5003
MOTOR VEHICLES
STATE OF CONNECTICUT DEPT OF LABOR     UNEMPLOYMENT COMPENSATION             DELINQUENT ACCOUNTS UNIT        200 FOLLY BROOK BOULEVARD                    WETHERSFIELD    CT   06109
                                       DIVISION
                                       09-50026-mg            Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
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Name                                  Address1                               Address2                    Address3                Address4         City          State Zip
STATE OF CONNECTICUT DOT                                                     65 BROOKSIDE DR                                                                     CT 06820
STATE OF CONNECTICUT ENVIRO           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 79 ELM ST                                                            HARTFORD       CT 06106‐5127

STATE OF DELAWARE                     DEPARTMENT OF NATURAL RESOURCES       89 KINGS HWY                                                          DOVER         DE 19901‐7305
                                      AND ENVIRONMENTAL CONTROL

STATE OF DELAWARE                     DIVISION OF REVENUE                   820 N FRENCH ST              P.O. BOX 2340                            WILMINGTON    DE    19801‐3536
STATE OF DELAWARE                     PO BOX 898                                                                                                  DOVER         DE    19903‐0898
STATE OF DELAWARE                     PUB HEALTH‐RADIATION CONTROL          ATTN FEES                    417 FEDERAL ST                           DOVER         DE    19901
STATE OF DELAWARE                     ATTN: HARVEY THOMAS                   PO BOX 1512                                                           WILMINGTON    DE    19899‐1512
STATE OF DELAWARE                     PO BOX 778                                                                                                  DOVER         DE    19903‐0778
STATE OF DELAWARE                     PO BOX 2340                           DIVISION OF REVENUE                                                   WILMINGTON    DE    19899‐2340
STATE OF DELAWARE                     PO BOX 11728                          DIVISION OF CORPORATIONS                                              NEWARK        NJ    07101‐4728
STATE OF DELAWARE DEPARTMENT OF       820 N FRENCH ST                       PO BOX 8911                                                           WILMINGTON    DE    19801‐3536
FINANCE
STATE OF DELAWARE DEPARTMENT OF       PO BOX 674                            DIVISION OF BOILER SATETY                                             DOVER         DE 19903‐0674
PUBLIC SAFETY
STATE OF DELAWARE DNREC               ABOVE GROUND STORAGE TANK BRCH        391 LUKENS DR                                                         NEW CASTLE    DE 19720‐2769
STATE OF DELAWARE OFFICE OF THE       401 FEDERAL ST STE 3                                                                                        DOVER         DE 19901‐3639
SECRETARY OF STATE
STATE OF DELAWARE, DEPARTMENT OF      PO BOX 778                                                                                                  DOVER         DE 19903‐0778
TRANSPORATION
STATE OF DELAWARE, OFFICE OF THE      ATTN: GENERAL COUNSEL                 401 FEDERAL ST STE 3                                                  DOVER         DE 19901‐3639
SECRETARY OF STATE
STATE OF DELAWARE‐ DNREC WATER RE     89 KINGS HWY                                                                                                DOVER         DE 19901‐7305
BD OF CERTIFICATION
STATE OF FLORIDA                      DEPARTMENT OF HIGHWAY SAFETY AND      DIVISION OF MOTOR VEHICLES   NEIL KIRKMAN BUILDING                    TALLAHASSEE    FL   32399‐0500
                                      MOTOR VEHICLES
STATE OF FLORIDA DEPARTMENT OF        BANKRUPTCY SECTION                    POST OFFICE BOX 6668                                                  TALLAHASSEE    FL   32314
REVENUE
STATE OF FLORIDA DEPARTMENT OFLEGAL   1 THE CAPITOL PL                                                                                            TALLAHASSEE    FL   32399‐1050
AFFAIRS
STATE OF FLORIDA DISB UNIT            PO BOX 8500                                                                                                 TALLAHASSEE    FL   32314‐8500
STATE OF FLORIDA DLR LICENSE          SECTION DIV MOTOR VEHICLES            2900 APALACHEE PKWY                                                   TALLAHASSEE    FL   32399‐0635
STATE OF FLORIDA OFFICE OF THE        PL01 THE CAPITOL                                                                                            TALLAHASSEE    FL   32399‐1050
ATTORNEY GENERAL
STATE OF FLORIDA OFFICE OF THE        LEMON LAW ARBITRATION PROGRAM         THE CAPITOL PL‐01                                                     TALLAHASSEE    FL   32399‐1050
ATTORNEY GENERAL
STATE OF FLORIDA V GELIN KEVIN        NO ADVERSE PARTY
STATE OF FLORIDA‐ DEPARTMENT OF       BANKRUPTCY SECTION                    POST OFFICE BOX 6668                                                  TALLAHASSEE    FL   32314
REVENUE
STATE OF FLORIDA‐DEPARTMENT OF        DEPT OF FINANCIAL SERVICES            200 EAST GAINES STREET                                                TALLAHASSEE    FL   32399‐15
FINANCIAL SERV
STATE OF GEORGIA                      INCOME TAX DIVISION
STATE OF GEORGIA                      SALES & USE TAX DIVISION              TRINITY‐WASHINGTON BLDG                                               ATLANTA       GA 30334
STATE OF GEORGIA DEPARTMENT OF        1800 CENTURY BLVD NE STE 2206                                                                               ATLANTA       GA 30345‐3206
REVENUE
STATE OF HAWAII                       DEPT OF COMMERCE & CONSUMER           335 MERCHANT ST                                                       HONOLULU       HI   96813
STATE OF HAWAII                       DIRECTOR OF FINANCE                   PO BOX 150                   UNCLAIMED PROPERTY                       HONOLULU       HI   96810‐0150
                                                                                                         SECTION
STATE OF HAWAII DEPARTMENT OF         HAWAII STATE TAX COLLECTOR            ATTN BANKRUPTCY UNIT (EL)    PO BOX 259                               HONOLULU       HI   96809
TAXATION
                                       09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
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Name                                   Address1                              Address2                         Address3                Address4            City           State Zip
STATE OF HAWAII DEPARTMENT OF          KURT KAWAFUCHI, DIRECTOR              830 PUNCHBOWL STREET                                                         HONOLULU        HI 96813
TAXATION
STATE OF HAWAII DEPARTMENT OF          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 259                                                                  HONOLULU        HI   96809‐0259
TAXATION
STATE OF HAWAII DEPARTMENT OF          PO BOX 259                                                                                                         HONOLULU        HI   96809‐0259
TAXATION
STATE OF HAWAII HIGHWAYS                                                     650 PALAPALA DR                                                                              HI   96732
STATE OF HESSE                         HESSISCHE STAATSKANZLEI, GEORG‐                                                                WIESBADEN 65183
                                       AUGUST‐ZINN STR. 1
STATE OF IDAHO                         STATE TAX COMMISSION                  PO BOX 76                                                                    BOISE           ID   83707‐0076
STATE OF IDAHO DEPARTMENT OF
EMPLOYMENT
STATE OF IDAHO OFFICE OF STATE TAX     PO BOX 76                                                                                                          BOISE           ID   83707‐0076
COMMISSION
STATE OF IDAHO TRANSPORTATION          PO BOX 7129                                                                                                        BOISE           ID   83707‐1129
DEPARTMENT
STATE OF ILLINOIS                      UNCLAIMED PROPERTY DIVISION           PO BOX 19496                                                                 SPRINGFIELD     IL   62794‐9496
STATE OF ILLINOIS                      DEPT OF EMPLOYMENT SECURITY
STATE OF ILLINOIS                      200 E ASH ST                                                                                                       SPRINGFIELD     IL   62704‐4769
STATE OF ILLINOIS                      JESSE WHITE, SECRETARY OF STATE       DEPARTMENT OF ACCOUNTING         501 S 2ND ST                                SPRINGFIELD     IL   62756‐5300
                                                                             REVENUE
STATE OF IND MOTOR POOL                425 W NEW YORK                                                                                                     INDIANAPOLIS    IN   46202
STATE OF IND MOTOR POOL                425 W. NEW YORK                                                                                                    INDIANAPOLIS    IN   46202
STATE OF INDIANA                       BUREAU OF MOTOR VEHICLES              6400 E 30TH ST                                                               INDIANAPOLIS    IN   46219‐1007
STATE OF INDIANA                       IN ATTORNEY GENERALS OFFICE           35 S PARK BLVD                   DIVISION OF UNCLAIMED                       GREENWOOD       IN   46143‐8838
                                                                                                              PROPERTY
STATE OF INDIANA
STATE OF INDIANA                       SECRETARY OF STATE                     201 STATE HOUSE                                                             INDIANAPOLIS    IN   46204‐2791
STATE OF INDIANA                       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 242 STATE HOUSE                                                             INDIANAPOLIS    IN   46204‐2792

STATE OF INDIANA DEPT OF TREASURY      ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 242 STATE HOUSE                                                             INDIANAPOLIS    IN   46204‐2792

STATE OF INDIANA DEPT OF TREASURY
STATE OF INDIANA MOTOR POOL            425 W NEW YORK ST                                                                                                  INDIANAPOLIS    IN   46202
STATE OF IOWA                          301 E 7TH ST                                                                                                       DES MOINES      IA   50319‐1934
STATE OF KANSAS                        DEPT OF LABOR
STATE OF KANSAS DEPARTMENT OF          ATTN DEALER LICENSING BUREAU          915 SW HARRISON                                                              TOPEKA         KS    66626‐0001
REVENUE
STATE OF KANSAS OFFICE OF STATE        900 SW JACKSON ST RM 201                                                                                           TOPEKA         KS    66612‐1221
TREASURER
STATE OF KENTUCKY
STATE OF LA., BOARD OF COMMERCE &      1051 N 3RD ST                                                                                                      BATON ROUGE    LA    70802‐5239
INDUSTRY
STATE OF LOUISIANA                     DEPT OF REVENUE & TAXATION            PO BOX 91010                                                                 BATON ROUGE    LA    70821‐9010
STATE OF LOUISIANA                     DEPT OF TRANSPORTATION & DEVLP        1201 CAPITOL ACCESS RD           POST OFFICE BOX 94042                       BATON ROUGE    LA    70802‐4438
STATE OF LOUISIANA                     DEPARTMENT OF REVENUE                 PO BOX 66658                                                                 BATON ROUGE    LA    70896
STATE OF LOUISIANA DEPARTMENT OF       TAX OPERATIONS                        ATTN: LEGAL OFFICER / BANKRUPTCY PO BOX 44127                                BATON ROUGE    LA    70804‐4127
LABOR, OFFICE OF REGULATORY SERVICES                                         DEPT.

STATE OF LOUISIANA DEPARTMENT OF     TAX OPERATIONS                          POST OFFICE BOX 44127                                                        BATON ROUGE    LA    70804‐4127
LABOR, OFFICE OF REGULATORY SERVICES
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STATE OF LOUISIANA DEPT OF REV       ACCT OF TERRY ADAMS              PO BOX 31706                                                                SHREVEPORT      LA 71130‐1706
STATE OF LOUISIANA OFFICE OF MOTOR   7979 INDEPENDENCE BLVD           SPECIAL PLATES UNIT                                                         BATON ROUGE     LA 70806‐6409
VEHICLES
STATE OF LOUISIANA OFFICE OF MOTOR   PO BOX 64886                                                                                                 BATON ROUGE     LA   70896‐4886
VEHICLES
STATE OF MAINE                       ABANDONED PROPERTY DIVISION      39 STATE HOUSE STA                                                          AUGUSTA        ME    04333‐0039
STATE OF MAINE                       MAINE REVENUE SERVICES           24 STATE HOUSE STA                                                          AUGUSTA        ME    04333‐0024
STATE OF MARYLAND                    WORKERS COMPENSATION COMM        10 EAST BALTIMORE ST                                                        BALTIMORE      MD    21202
STATE OF MARYLAND                    COMPTROLLER OF THE TREASURY      UNCLAIMED PROPERTY SECTION     301 WEST PRESTON                             BALTIMORE      MD    21201
STATE OF MARYLAND                    45 CALVERT STREET3RD FLR                                                                                     ANNAPOLIS      MD    21401
STATE OF MARYLAND                    COMPTROLLER OF THE TREASURY      PO BOX 207                     REVENUE ADMINISTRATION                       ANNAPOLIS      MD    21404‐0207
                                                                                                     DIV.
STATE OF MARYLAND                    WORKERS COMP COMMISSION          10 EAST BALTIMORE ST                                                        BALTIMORE      MD 21202
STATE OF MARYLAND                    DEPT OF ASSESSMENTS & TAXATION   301 W PRESTON ST                                                            BALTIMORE      MD 21201‐2385
STATE OF MARYLAND OFFICE OF          INSURANCE FUND
UNEMPLOYMENT
STATE OF MARYLAND TREASURER'S OFFICE NANCY K. KOPP                    80 CALVERT ST                  GOLDSTEIN TREASURY                           ANNAPOLIS      MD 21401‐1907
                                                                                                     BUILDING
STATE OF MD DEPT OF THE ENVIRONMENT HORACIO TABLADA DIRECTOR OF LMA   MARYLAND DEPARTMENT OF THE     1800 WASHINGTON BLVD                         BALTIMORE      MD 21230
                                                                      ENVIRONMENT
STATE OF MI/HAZARDOU                 PO BOX 30157                     HAZARDOUS MATERIAL SECTION                                                  LANSING        MI    48909‐7657
STATE OF MICH MTR TRANS              180 U.S. 41 EAST                                                                                             NEGAUNEE       MI    49866
STATE OF MICH MTR TRANSP             5201 ROSA PARKS BLVD                                                                                         DETROIT        MI    48208‐1706
STATE OF MICHGAN                     HIGHLAND REC AREA                5200 HIGHLAND RD                                                            WHITE LAKE     MI    48383‐2530
STATE OF MICHIGAN                    DEPT OF CONSUMER & INDUSTRY      PO BOX 30671                   ASBESTOS PROGRAM                             LANSING        MI    48909‐8171
STATE OF MICHIGAN                    SALES USE & WITHOLDING TAXES     DIVIDE MICHIGAN DEPT OF        TREASURY BUILDING                            LANSING        MI    48922‐0001
STATE OF MICHIGAN                    MICHIGAN DEPARTMENT OF NATURAL   PO BOX 30451                                                                LANSING        MI    48909‐7951
STATE OF MICHIGAN                    STORAGE TANK DIVISION            MICHIGAN DEPT OF               333 S CAPITOL AVE                            LANSING        MI    48933
                                                                      ENVIRONMENTAL
STATE OF MICHIGAN                    MICHIGAN STATE POLICE‐BFS‐       714 S HARRISON RD              CASHIERS OFFICE                              EAST LANSING   MI    48823‐5143
STATE OF MICHIGAN                    MI DEPARTMENT OF AGRICULTURE     611 W OTTAWA ST 4TH FL                                                      LANSING        MI    48933
STATE OF MICHIGAN                    MDEQ OFFICE OF FINANCIAL MGMT    PO BOX 30657                   REVENUE CONTROL UNIT                         LANSING        MI    48909‐8157
STATE OF MICHIGAN                    ACCT OF KEVIN D BINION           PO BOX 30158                                                                LANSING        MI    48909‐7658
STATE OF MICHIGAN                    DEPT OF LABOR & ECON GROWTH      PO BOX 30658                                                                LANSING        MI    48909‐8158
STATE OF MICHIGAN                    GENERAL INDUSTRY SAFETY DIV      PO BOX 30644                   7150 HARRIS DR                               LANSING        MI    48909‐8144
STATE OF MICHIGAN                    DIV OF OCCUPATIONAL HEALTH       3423 N MARTIN LUTHER KING JR                                                LANSING        MI    48906‐2934
                                                                      BLVD
STATE OF MICHIGAN                    DNR AIR QUALITY DIV ADMIN SECT   PO BOX 30460                   AIR QUALITY DIV ADMIN                        LANSING        MI 48909‐7960
                                                                                                     SECTION
STATE OF MICHIGAN                    DEPT OF LABOR & ECONOMICS        PO BOX 30255                   BUREAU OF CONSTRUCTION                       LANSING        MI 48909‐7755
                                                                                                     CODES
STATE OF MICHIGAN                    MICH DEPT OF ENVIRONMENTAL       QUALITY CASHIERS OFFICE AQD    PO BOX 30460 INATV PER DB                    LANSING        MI 48909
                                                                                                     6/07
STATE OF MICHIGAN                    MI DEPT OF COMMUNITY HEALTH      RADIATION SAFETY SECTION       PO BOX 30658                                 LANSING        MI 48909
STATE OF MICHIGAN                    MICHIGAN DEPT OF COMMERCE        PO BOX 30057                                                                LANSING        MI 48909‐7557
STATE OF MICHIGAN                    MOTOR FUEL DIVISION              PO BOX 77692                                                                DETROIT        MI 48277‐0692
STATE OF MICHIGAN
STATE OF MICHIGAN                    ENVIRONMENTAL RESPONSE FUND      PO BOX 30426                   MDNR ACTG SUPER\ADMN                         LANSING        MI 48909‐7926
                                                                                                     SECT ERD
STATE OF MICHIGAN                    DEPT OF LABOR & ECONOMIC         PO BOX 30768                   GROWTH BUREAU OF COMM                        LANSING        MI 48909‐8268
                                                                                                     SERVICE
STATE OF MICHIGAN                    MICHIGAN DEPARTMENT OF STATE     CAHIER                         7064 CROWNER DR                              LANSING        MI 48918‐0001
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STATE OF MICHIGAN                  MI COMMISSION ON LAW             ENFORCEMENT STANDARDS            7426 N CANAL ROAD                             LANSING       MI 48913‐0001
STATE OF MICHIGAN                  BUREAU OF COMMERCIAL SERVICES    PO BOX 30054                     CORPORATION DIVISION                          LANSING       MI 48909‐7554
STATE OF MICHIGAN                  DEPT OF COMMUNITY HEALTH         PO BOX 30658                                                                   LANSING       MI 48909‐8158
STATE OF MICHIGAN                  MICHIGAN DEPT OF ENVIRONMENTAL   PO BOX 30241                                                                   LANSING       MI 48909‐7741
STATE OF MICHIGAN                  MI DEPT OF ENV QUAL WATER TEST   PO BOX 30667                                                                   LANSING       MI 48909‐8167
STATE OF MICHIGAN                  DEPT OF LABOR & ECONOMIC         PO BOX 30670                     GROWTH                                        LANSING       MI 48909‐8170
STATE OF MICHIGAN                  DEPT OF LABOR & ECON GROWTH      7150 HARRIS DRIVE                                                              LANSING       MI 48909
STATE OF MICHIGAN                  DEPT OF LABOR & ECON GROWTH      PO BOX 30186                                                                   LANSING       MI 48909‐7686
STATE OF MICHIGAN                  MI DEPT OF ENVIRONMENTAL QUALI   PO BOX 30460                     CASHIERS OFFICE ‐ EI04                        LANSING       MI 48909‐7960
STATE OF MICHIGAN                  METAMORA‐HADLEY/ORTONVILLE REC   3871 HERD RD                     MI DEPT OF NATURAL                            METAMORA      MI 48455‐9763
                                                                                                     RESOURCES
STATE OF MICHIGAN                  CASHIERS OFFICE                  DEPARTMENT OF AGRICULTURE                                                      LANSING      MI 48909
STATE OF MICHIGAN                  MICHIGAN DEPT OF ENVIRONMENTAL   PO BOX 30657                     QUALITY CASHIERS OFFICE ‐                     LANSING      MI 48909‐8157
                                                                                                     UST
STATE OF MICHIGAN                  PINCKNEY RECREATION AREA         8555 SILVER HILL RD                                                            PINCKNEY     MI   48169‐8901
STATE OF MICHIGAN                  SELF‐INSURERS SECURITY FUND      7201 W SAGINAW HWY STE 110                                                     LANSING      MI   48917‐1127
STATE OF MICHIGAN                  DEPT OF AGRICULTURE              3066 W GRAND BLVD #3‐300                                                       DETROIT      MI   48202‐6066
STATE OF MICHIGAN                  MI DEPT OF LABOR AND ECONOMIC    PO BOX 30255                                                                   LANSING      MI   48909‐7755
STATE OF MICHIGAN                  ELEVATOR SAFETY DIVISION         PO BOX 30255                                                                   LANSING      MI   48909‐7755
STATE OF MICHIGAN                  MAYBURY PARKS AND RECREATION     20145 BECK RD                                                                  NORTHVILLE   MI   48167‐1758
STATE OF MICHIGAN                  PARKS AND RECREATION‐METAMORA    PARKS AND REC MICH DEPT OF NAT   3871 HERD RD UPDTE PER AFC                    METAMORA     MI   48455

STATE OF MICHIGAN                  SOUTH HIGGINS LAKE RECREATION    MICHIGAN DEPARTMENT OF           RESOURCES ROSCOMMON                           ROSCOMMON    MI 48653
                                                                    NATURAL
STATE OF MICHIGAN                  MICHIGAN COMMISSION ON LAW       ENFORCEMENT STANDARDS            7426 N CANAL ROAD                             LANSING      MI   48913‐0001
STATE OF MICHIGAN                  PARKS AND RECREATION‐METAMORA    3871 HERD RD                                                                   METAMORA     MI   48455‐9763
STATE OF MICHIGAN                  25263 TELEGRAPH RD                                                                                              SOUTHFIELD   MI   48033‐5263
STATE OF MICHIGAN                  SILICOSIS DUST DISEASE           7201 W SAGINAW HWY STE 110                                                     LANSING      MI   48917‐1127
STATE OF MICHIGAN                  SURPLUS LINES                    PO BOX 30165                     OFFICE OF FINANCE &                           LANSING      MI   48909‐7665
                                                                                                     INSURANCE
STATE OF MICHIGAN                  DEPT OF LABOR & ECON GROWTH      PO BOX 30018                                                                   LANSING      MI   48909‐7518
STATE OF MICHIGAN                  MICH DEPT OF COMMUNITY HEALTH    PO BOX 30670                     BOARD OF PHARMACY                             LANSING      MI   48909‐8170
STATE OF MICHIGAN                  MI DEPT OF STATE ‐ 1RP UNIT      7064 CROWNER DR                                                                LANSING      MI   48909
STATE OF MICHIGAN                  MI DEPT EVIRONMENTAL QUALITY     PO BOX 30657                     CASHIER OFFICE‐NP1                            LANSING      MI   48909‐8157
STATE OF MICHIGAN                  MI DEPT ENVIRONMENTAL QUALITY    PO BOX 30657                     CASHIERS OFFICE ‐ AST                         LANSING      MI   48909‐8157
STATE OF MICHIGAN                  DEPT OF COMMUNITY HEALTH         611 W OTTAWA ST                                                                LANSING      MI   48933‐1070
STATE OF MICHIGAN                  PO BOX 30197                     UCC SECTION                                                                    LANSING      MI   48909‐7697
STATE OF MICHIGAN                  MICHIGAN CAPITAL COMMITTEE       PO BOX 30014                                                                   LANSING      MI   48909‐7514
STATE OF MICHIGAN                  MICHAEL FILDEY                   ENHANCED SERVICES SECTION        MICHIGAN DEPARTMENT OF                        LANSING      MI   48918‐0001
                                                                                                     STATE
STATE OF MICHIGAN                  PO BOX 30255                                                                                                    LANSING      MI 48909‐7755
STATE OF MICHIGAN                  ATTN: MICHAEL FILDEY             ENHANCED SERVICES SECTION        MICHIGAN DEPARTMENT OF                        LANSING      MI 48918‐0001
                                                                                                     STATE
STATE OF MICHIGAN                  DEPT OF ENVIRONMENTAL QUALITY    PO BOX 30426                                                                   LANSING      MI 48909‐7926
STATE OF MICHIGAN                  DEPT OF ENVIRONMENTAL QUALITY    ATTN: LEGAL OFFICER / BANKRUPTCY PO BOX 30426                                  LANSING      MI 48909‐7926
                                                                    DEPT.
STATE OF MICHIGAN                   DEPARTMENT OF TREASURY          CADILLAC PLACE STE 10‐200        3030 W GRAND BLVD                             DETROIT      MI 48202
STATE OF MICHIGAN ‐ CD              PO BOX 30443                                                                                                   LANSING      MI 48909‐7943
STATE OF MICHIGAN ‐ DEPTOF CONSUMER PO BOX 30646                    BWDC REDEMPTION FEES                                                           LANSING      MI 48909‐8146
AND
STATE OF MICHIGAN ‐ PHARMACY        MI DEPT OF COMMUNITY HEALTH     PO BOX 30194                                                                   LANSING      MI 48909‐7694
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Name                                 Address1                              Address2                       Address3                     Address4         City         State Zip
STATE OF MICHIGAN BOARD OF           PO BOX 30018                                                                                                       LANSING       MI 48909‐7518
ACCOUNTANCY
STATE OF MICHIGAN BOILER DIV         LABOR\BUR CONSTRUCTION CODES          PO BOX 30255                                                                 LANSING      MI 48909‐7755
STATE OF MICHIGAN CONSUMER &         PO BOX 30194                                                                                                       LANSING      MI 48909‐7694
INDUSTRY SERVICES
STATE OF MICHIGAN DEPARTMENT OF
ENVIRONMENTAL QUALITY
STATE OF MICHIGAN DEPARTMENT OF      STATE HIGHWAY BUILDING                POST OFFICE DRAWER K                                                         LANSING      MI 48904
STATE HIGHWAYS AND TRANSPORTATION

STATE OF MICHIGAN DEPARTMENT OF     PO BOX 77003                                                                                                        DETROIT      MI 48277‐0003
TREASURY
STATE OF MICHIGAN DEPERTMENT OF     PO BOX 30756                                                                                                        LANSING      MI 48909‐8256
TREASURY
STATE OF MICHIGAN DEPT 77283        MDOT AIRCRAFT REGISTRATION             PO BOX 77000                                                                 DETROIT      MI 48277‐0283
STATE OF MICHIGAN DEPT OF CONSUMER PO BOX 30658                            RADIATION SAFETY SECTION                                                     LANSING      MI 48909‐8158
& INDUSTRY SERVICES
STATE OF MICHIGAN DEPT OFLABOR &    PO BOX 30053                           WCA REDEMPTION FEES                                                          LANSING      MI 48909‐7553
ECONOMIC GR
STATE OF MICHIGAN DEQ MEDICAL WASTE PO BOX 30657                           REVENUE OFFICE                                                               LANSING      MI 48909‐8157
RENEWAL
STATE OF MICHIGAN EMS               DEPT OF LABOR & ECON GROWTH            PO BOX 30717                                                                 LANSING      MI 48909‐8217
STATE OF MICHIGAN ENV SCIENCE &     PO BOX 30457                                                                                                        LANSING      MI 48909‐7957
SERVICE DIV
STATE OF MICHIGAN MANIFEST ORDER    PO BOX 30241                                                                                                        LANSING      MI 48909‐7741
MICH DNR
STATE OF MICHIGAN MIOSHA            STANDARDS DIV CONSUMER SERV            PO BOX 30643                                                                 LANSING      MI 48909‐8143
STATE OF MICHIGAN MOTOR             6951 CROWNER DR                                                                                                     LANSING      MI
TRANSPORTAT
STATE OF MICHIGAN MOTOR             6951 CROWNER DR                                                                                                     LANSING      MI 48909
TRANSPORTATION DIVISION
STATE OF MICHIGAN PONTIAC LAKE      MI DEPT OF NATURAL RESOURCES           7800 GALE RD UPDT 8/19/08 CP                                                 WATERFORD    MI 48327
RECREATION AREA
STATE OF MICHIGAN PONTIAC LAKE      7800 GALE RD                           MI DEPT OF NATURAL RESOURCES                                                 WATERFORD    MI 48327‐1058
RECREATION AREA
STATE OF MICHIGAN REVENUE OFFICE    PO BOX 30657                                                                                                        LANSING      MI 48909‐8157
STATE OF MICHIGAN, DEPARTMENT OF    KATHLEEN A. GARDINER, ASST ATTY        CADDILLAC PLACE                SUITE 10‐200, 3030 W GRAND                    DETROIT      MI 48202
THE TREASURY                        GENERAL                                                               BLVD
STATE OF MICHIGAN‐NURSING           MI DEPT OF COMMUNITY HEALTH            PO BOX 30186                                                                 LANSING      MI 48909‐7686
STATE OF MICHIGAN‐REAL ESTATE       MI DEPARTMENT OF LABOR &               PO BOX 30243                   ECONOMIC GROWTH                               LANSING      MI 48909‐7743
STATE OF MICHIGAN/DEPARTMENT OF     ATTN KATHLEEN A. GARDINER              CADILLAC PLACE STE 10‐200      3030 W GRAND BLVD                             DETROIT      MI 48202
TREASURY
STATE OF MICHIGAN/DEPT OFCONSUMER PO BOX 30646                             BWDC REDEMPTION FEES                                                         LANSING      MI 48909‐8146
& IND
STATE OF MICHIGAN/DEPT OFLABOR      PO BOX 30016                           BWDC REDEMPTION FEES                                                         LANSING      MI 48909‐7516
STATE OF MIND SALON                 ATTN: VICTORIA TINDLE                  3065 E GRAND BLVD                                                            DETROIT      MI 48202‐3135
STATE OF MINNESOTA                  RETIREMENTS SYSTEMS OF MINNESOTA       60 EMPIRE DR STE 100                                                         SAINT PAUL   MN 55103
                                    BLDG
STATE OF MINNESOTA, DEPT OF REVENUE DEPT OF REVENUE, COLLECTION DIVISION   BANKRUPTCY SECTION             PO BOX 64447 ‐ BKY                            SAINT PAUL   MN 55164

STATE OF MINNESOTA, DEPT. OF REVENUE ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 64447                                                                SALEM        OR 97301
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Name                                 Address1                         Address2                        Address3                 Address4              City          State Zip
STATE OF MINNESOTA, DEPT. OF REVENUE PO BOX 64447                                                                                                    SALEM          OR 97301

STATE OF MISSISSIPPI                 PO BOX 1270                                                                                                     GULFPORT      MS 39502‐1270
STATE OF MISSISSIPPI                 STATE TREASURER                  PO BOX 138                                                                     JACKSON       MS 39205‐0138
STATE OF MONTANA COMMISSIONER OF     1205 8TH AVE                                                                                                    HELENA        MT 59601‐3921
POLITICAL PRACTICES
STATE OF MONTANA, HIGHWAY DEPT 81    PO BOX 1110                                                                                                     BOZEMAN       MT 59771‐1110

STATE OF MONTANA‐ HIGHWAY DEPT 81    PO BOX 491                                                                                                      LEWISTOWN     MT 59457‐0491

STATE OF MONTANA‐ HIGHWAY DEPT 81    PO BOX 460                                                                                                      MILES CITY    MT 59301‐0460

STATE OF MONTANA‐ HIGHWAY DEPT 81    HWY 13 EAST, DRAWER L                                                                                           WOLF POINT    MT 59201

STATE OF MONTANA‐ HIGHWAY DEPT. 81   PO BOX 592‐‐                                                                                                    HAVRE         MT 59501

STATE OF MONTANA‐DEPT OF HWY         104 18TH AVE NW                                                                                                 GREAT FALLS   MT   59404‐1808
STATE OF MONTANA‐DEPT OF HWY         2701 PROSPECT AVE                                                                                               HELENA        MT   59601‐9746
STATE OF MONTANA‐DEPT OF HWY         2100 W BROADWAY ST                                                                                              MISSOULA      MT   59808‐1816
STATE OF MONTANA‐DEPT OF HWY         503 N RIVER AVE                                                                                                 GLENDIVE      MT   59330‐1753
STATE OF MONTANA‐DEPT OF HWY         WYNNE & LOWELL                                                                                                  BUTTE         MT   59702
STATE OF MONTANA‐DEPT OF HWY         424 MOREY LANE                                                                                                  BILLINGS      MT   59101
STATE OF MONTANA‐DEPT OF HWY         HIGHWAY 13 EAST                                                                                                 WOLF POINT    MT   59201
STATE OF MONTANA‐DEPT OF HWY         THIRD & ORR                                                                                                     MILES CITY    MT   59301
STATE OF MONTANA‐DEPT OF HWY         5TH AVE NE & MONTANA                                                                                            KALISPELL     MT   59901
STATE OF MONTANA‐DEPT OF HWY         907 N ROUSE AVE                                                                                                 BOZEMAN       MT   59715‐2930
STATE OF MONTANA‐DEPT OF HWY         WEST OF HAVRE                                                                                                   HAVRE         MT   59501
STATE OF MONTANA‐DEPT OF HWY         WEST OF LEWISTOWN                                                                                               LEWISTOWN     MT   59457
STATE OF MONTANA‐HIGHWAY DEPT 81     PO BOX 400                                                                                                      KALISPELL     MT   59903‐0400

STATE OF MONTANA‐HIGHWAY DEPT. 81    104 18TH AVE NW                                                                                                 GREAT FALLS   MT 59404‐1808

STATE OF MONTANA‐HIGHWAY DEPT. 81    503 N RIVER AVE                                                                                                 GLENDIVE      MT 59330‐1753

STATE OF MONTANA‐HIGHWAY DEPT. 81    WAYNE & LOWELL                                                                                                  BUTTE         MT 59702

STATE OF MONTANA‐HIGHWAY DEPT. 92    424 MOREY ST                                                                                                    BILLINGS      MT 59101‐4732

STATE OF MONTANA‐HIGHWAY DEPT. 92    2100 W BROADWAY ST                                                                                              MISSOULA      MT 59808‐1816

STATE OF NC DENR DIVISION OF WASTE   JOHN G REEN JR ESQ               NC OFFICE OF ATTORNEY GENERAL   ENVIRONMENTAL DIVISION   POST OFFICE BOX 629   RALEIGH       NC 27602
MANAGEMENT
STATE OF NC DENR‐DIVISION OF WASTE   JOHN R GREEN JR, ESQ             NC OFFICE OF ATTORNEY GENERAL   ENVIRONMENTAL DIVISION   POST OFFICE BOX 629   RALEIGH       NC 27602‐0629
MANAGEMENT
STATE OF NEBRASKA                    UNCLAIMED PROPERTY DIVISION      5800 CORNHUSKER HWY STE 4                                                      LINCOLN       NE 68507‐3175
STATE OF NEBRASKA DEPT OF REVENUE    PO BOX 94818                                                                                                    LINCOLN       NE 68509‐4818

STATE OF NEBRASKA MOTOR              VEHICLE INDUSTRY LICENSING BRD   PO BOX 94697                    STATE OFFICE BUILDING                          LINCOLN       NE 68509‐4697
STATE OF NEVADA                      BUSINESS LICENSE RENEWAL         PO BOX 52614                                                                   PHOENIX       AZ 85072‐2614
STATE OF NEVADA                      UNCLAIMED PROPERTY SECTION       555 E WASHINGTON AVE STE 4200                                                  LAS VEGAS     NV 89101‐1070

STATE OF NEVADA                      EMPLOYMENT SECURITY DEPARTMENT
                                       09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                      Exhibit B
                                                                          Part 35 of 40 Pg 332 of 895
Name                                  Address1                              Address2                           Address3                   Address4             City          State Zip
STATE OF NEVADA                       PO BOX 52609                                                                                                             PHOENIX        AZ 85072‐2609
STATE OF NEVADA ‐ OSHA                MECHANICAL UNIT                       1301 N GREEN VALLEY PKWY STE 200                                                   HENDERSON      NV 89074‐6197

STATE OF NEVADA DEPT OF MOTOR         DIVIDE BUREAU OF ENFORCEMENT          555 WRIGHT WAY                                                                     CARSON CITY   NV 89711‐0001
VEHICLES & PUBLIC SAFETY REG
STATE OF NEVADA MOTOR POOL            ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 555 E WASHINGTON AVE STE 3900                                                     LAS VEGAS     NV 89101‐1068

STATE OF NEVADA STATE MOTOR POOL      750 E KING ST                                                                                                            CARSON CITY   NV 89701‐4768

STATE OF NEVADA‐SALES/USE             PO BOX 52609                                                                                                             PHOENIX       AZ    85072‐2609
STATE OF NEW HAMPSHIRE                                                                                                                                         CONCORD       NH    03302
STATE OF NEW HAMPSHIRE                STE 200                               53 REGIONAL DRIVE                                                                  CONCORD       NH    03301‐8500
STATE OF NEW HAMPSHIRE                TREASURY                              25 CAPITOL ST RM 121                                                               CONCORD       NH    03301‐6312
STATE OF NEW JERSEY                   DIVISION OF TAXATION                  COMPLIANCE ACTIVITY                PO BOX 245                                      TRENTON       NJ    08646
STATE OF NEW JERSEY                   NEW JERSEY DEPARTMENT OF LABOR AND    DIVISION OF EMPLOYER ACCOUNTS      PO BOX 379                                      TRENTON       NJ    08625‐0379
                                      WORKFORCE DEVELOPMENT
STATE OF NEW JERSEY
STATE OF NEW JERSEY                   UNCLAIMED PROPERTY                    PO BOX 214                                                                         TRENTON        NJ   08695‐0214
STATE OF NEW JERSEY                   DIVISION OF EMPLOYER ACCOUNTS         PO BOX 59                                                                          TRENTON        NJ   08625‐0059
STATE OF NEW JERSEY                   DEPT OF LABOR & WORKFORCE DEVE        DIVIDE OF REVENUE PROCESSING       PO BOX 924                                      TRENTON        NJ   08646‐0929
STATE OF NEW JERSEY                   NJ E‐Z PASS VIOLATION CENTER          PO BOX 52005                                                                       NEWARK         NJ   07101‐8205
STATE OF NEW JERSEY ‐ CBT             DIVISION OF TAXATION                  PO BOX 10457                                                                       TRENTON        NJ   08646‐0193
STATE OF NEW JERSEY ‐ GIT
STATE OF NEW JERSEY CBT               REVENUE PROCESSING CTR                PO BOX 257                                                                         TRENTON        NJ   08646‐0257
STATE OF NEW JERSEY DIV OF TAXATION   248 CN                                                                                                                   TRENTON        NJ   08646‐0248
GROSS INCOME TAX
STATE OF NEW JERSEY DIV REVENU        SPECIAL COMPENSATION SURCHARGS        DEPT OF LABOR ATTN E DIODATI       PO BOX 394 6TH FL                               TRENTON       NJ 08625
STATE OF NEW MEXICO MILAN                                                   1919 PINON DRIVE                                                                                 NM 87021
STATE OF NEW MEXICO TAXATION &        PO BOX 25123                                                                                                             SANTA FE      NM 87504‐5123
REVENUE DEPARTMENT
STATE OF NEW MEXICO TAXATION AND      ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 5301 CENTRAL AVE. NE                                                              ALBUQUERQUE   NM 87108
REVENUE DEPARTMENT
STATE OF NEW MEXICO TAXATION AND      5301 CENTRAL AVE. NE                                                                                                     ALBUQUERQUE   NM 87108
REVENUE DEPARTMENT
STATE OF NEW YORK                     DEPARTMENT OF LABOR                   UNEMPLOYMENT INSURANCE DIV         GOV W AVERALL HARRIMAN     BLDG 12, ROOM 256    ALBANY        NY 12240
                                                                                                               STATE OFFICE BLDG CAMPUS

STATE OF NEW YORK
STATE OF NEW YORK DEPARTMENT OF       DOSH‐BOILER & SAFETY BUREA            STATE CAMPUS BUILDING NO 12                                                        ALBANY        NY 12240‐0001
LABOR
STATE OF NEW YORK DEPARTMENT OF       UNEMPLOYMENT INSURANCE DIVISION       GOVERNOR W AVERELL HARRIMAN        BUILDING 12 ROOM 256                            ALBANY        NY 12240
LABOR                                                                       STATE OFFICE BUILDING CAMPUS

STATE OF NEW YORK OFFICE OF COURT     PO BOX 2806                                                                                                              NEW YORK      NY 10008‐2806
ADMIN
STATE OF NEW YORK WORKERS '           FINANCE OFFICE                        20 PARK STREET, ROOM 301                                                           ALBANY        NY 12207
COMPENSATION
STATE OF NORTH CAROLINA               DIVISION OF MOTOR VEHICLES            ENFORCEMENT SECTION ‐ DEALER U 3129 MAIL SERVICE                                   RALEIGH       NC 27699‐0001

STATE OF NORTH DAKOTA                 UNCLAIMED PROPERTY DIVISION           PO BOX 5523                                                                        BISMARCK      ND 58506‐5523
STATE OF NORTH DAKOTA OFFICE OF       STATE CAPITOL                         600 E BOULEVARD AVE                                                                BISMARCK      ND 58505
STATE TAX COMMISSION
                                       09-50026-mg                Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                    Exhibit B
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Name                                  Address1                              Address2                           Address3                    Address4             City               State Zip
STATE OF NORTH‐RHINE WESTPHALIA       STAATSKANZLEI DES LANDES NORDRHEIN‐                                                                  DUESSELDORF 40219
                                      WESTFALEN, STADTTOR 1
STATE OF NY DEPART OF LABOR           RADIOLOGICAL HEALTH UNIT              ROOM 169 BLDG 12                   STATE OFFICE CAMPUS                              ALBANY             NY    12240‐0001
STATE OF OHIO                         DEPARTMENT OF DEVELOPMENT             77 SOUTH HIGH STREET                                                                COLUMBUS           OH    43215
STATE OF OHIO                         EXISE & MOTOR FUEL TAX                PO BOX 530                         DIVISION EXCISE TAX UNIT                         COLUMBUS           OH    43216‐0530
STATE OF OHIO                                                                                                                                                   COLUMBUS           OH    43216
STATE OF OHIO                         180 EAST BROAD STREET                                                                                                     COLUMBUS           OH    43215
STATE OF OHIO                         DEPARTMENT OF TAXATION
STATE OF OHIO                         PO BOX 2678                            DEPARTMENT OF TAXATIOIN                                                            COLUMBUS           OH 43216‐2678
STATE OF OHIO                         TREASURER                              PO BOX 16561                                                                       COLUMBUS           OH 43266‐0001
STATE OF OHIO                         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 2678                       DEPARTMENT OF TAXATIOIN                          COLUMBUS           OH 43216‐2678

STATE OF OHIO                         DEPARTMENT OF TAXATION                ATTN: LEGAL OFFICER / BANKRUPTCY
                                                                            DEPT.
STATE OF OHIO                         30 E. BROAD STREET                                                                                                        COLUMBUS           OH 43215
STATE OF OHIO ‐ TREASURER             C/O PROPERTY MGMT NE REGION RE        705 OAKWOOD ST                                                                      RAVENNA            OH 44266
STATE OF OHIO ‐ TREASURER             DEPT OF ADMINISTRATIVE SERVICE        DIVISION OF PUBLIC WORKS FL 35     30 EAST BROAD STREET                             COLUMBUS           OH 43266‐0001

STATE OF OHIO DEPARTMENT OF           77 SOUTH HIGH STREET                  29TH FLOOR                         ATTENTION: LEGAL OFFICE                          COLUMBUS           OH 43215
DEVELOPMENT
STATE OF OHIO DEPARTMENT OF           PO BOX 1090                                                                                                               COLUMBUS           OH 43266‐0001
TAXATION
STATE OF OHIO DEPT OF NATURAL         RESOURCES‐OFFC OF REAL ESTATE         FOUNTAIN SQUARE                                                                     COLUMBUS           OH    43224
STATE OF OHIO TREASURER               DIVISION OF WATER                     2045 MORSE ROAD BLDG B‐2                                                            COLUMBUS           OH    43229
STATE OF OHIO UST FUND                PO BOX 163188                                                                                                             COLUMBUS           OH    43216‐3188
STATE OF OHIO UST FUND                PETROLEUM UNDERGROUND STORAGE         PO BOX 163188                      TANK RELEASE COMP BOARD                          COLUMBUS           OH    43216‐3188

STATE OF OHIO, TAX CREDIT AUTHORITY   77 SOUTH HIGH ST.                                                                                                         COLUMBUS           OH 43215

STATE OF OKLAHOMA                     MOTOR VEHICLE COMMISSION              4334 NW EXPRESSWAY STE 183                                                          OKLAHOMA CITY       OK 73116‐1515
STATE OF OKLAHOMA                     WORKERS COMPENSATION COURT            1915 N. STILES                                                                      OKLAHOMA CITY       OK 73105
STATE OF OKLAHOMA DEPARTMENT OF                                             3301 N SANTA FE AVE                                                                                     OK 73118
CENTRAL SERVICES FLEET MGMT
STATE OF OKLAHOMA DOT
STATE OF OREGON                       DIVISION OF STATE LANDS               775 SUMMER ST NE                                                                    SALEM               OR 97310‐0001
STATE OF OREGON                       811 SW SIXTH AVE                                                                                                          PORTLAND            OR 97204
STATE OF RHINELAND PALATINATE         STAATSKANZLEI RHEINLAND‐PFALZ, PETER‐                                                                MAINZ 55116
                                      ALTMEIER‐ALLEE 1
STATE OF RHODE ISLAND                 GENERAL TREASURER                     PO BOX 1436                                                                         PROVIDENCE          RI   02901‐1436
STATE OF RHODE ISLAND                 UNCLAIMED PROPERTY DIVISION           PO BOX 1435                                                                         PROVIDENCE          RI   02901‐1435
STATE OF RHODE ISLAND                 DIVISION OF TAXATION ST               ONE CAPITOL HILL                                                                    PROVIDENCE          RI   02908
STATE OF RHODE ISLAND                 EXECUTIVE DEPARTMENT                  1951 SMITH ST                      E 9‐1‐1 UNIFORM TELEPHONE                        NORTH PROVIDENCE    RI   02911‐1716
                                                                                                               SYS
STATE OF RHODE ISLAND               CORPORATION TAX                         ONE CAPITOL HILL                   STE. 9                                           PROVIDENCE          RI   02908
STATE OF RHODE ISLAND               DIV OF TAX                              ONE CAPITOL HILL                                                                    PROVIDENCE          RI   02908
STATE OF RHODE ISLAND AND           DIVISION OF MOTOR VEHICLES              DEALERS LICENSE AND REGULATIONS 100 MAIN STREET                                     PAWTUCKET           RI   02860
PROVIDENCE PLANTATIONS                                                      OFFICE
STATE OF RHODE ISLAND DEPARTMENT OF REGION 1                                235 PROMENADE ST                                                                    PROVIDENCE          RI   02908‐5760
ENVIRONMENTAL MANAGEMENT

STATE OF RHODE ISLAND DEPT OF         TERENCE J TIERNEY S A A G             DEPARTMENT OF ATTORNEY             150 SOUTH MAIN STREET                            PROVIDENCE          RI   02903
ENVIRONMENTAL MANAGEMENT                                                    GENERAL
                                       09-50026-mg            Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                      Exhibit B
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Name                                 Address1                               Address2                           Address3                  Address4             City             State Zip
STATE OF RHODE ISLAND, DEPARTMENT OF C/O TERENCE J TIERNEY, SAAG            DEPARTMENT OF ATTORNEY             150 SOUTH MAIN STREET                          PROVIDENCE         RI 02903
ENVIRONMENTAL MANAGEMENT                                                    GENERAL

STATE OF SOUTH CAROLINA               1022 SENATE ST                                                                                                          COLUMBIA         SC    29201‐3160
STATE OF SOUTH CAROLINA               STATE TREASURERS OFFICE               PO BOX 11778                                                                      COLUMBIA         SC    29211‐1778
STATE OF SOUTH DAKOTA                 UNCLAIMED PROPERTY DIVISION           500 EAST CAPITAL AVE                                                              PIERRE           SD    57501
STATE OF TENNESSEE                    2200 CHARLOTTE AVE                                                                                                      NASHVILLE        TN    37203‐1818
STATE OF TENNESSEE ‐ MVM              2200 CHARLOTTE AVE                                                                                                      NASHVILLE        TN    37203‐1818
STATE OF TENNESSEE DEPARTMENT OF      500 JAMES ROBERTSON PKWY FL 2                                                                                           NASHVILLE        TN    37243‐1204
COMMERCE & INSURANCE
STATE OF TENNESSEE TREASURY           UNCLAIMED PROPERTY DIVISION           500 DEADERICK ST                                                                  NASHVILLE        TN    37243‐0001
STATE OF TENNESSEE/MVM                2200 CHARLOTTE AVE                                                                                                      NASHVILLE        TN    37203‐1818
STATE OF TEXAS                        COMPTROLLER OF PUBLIC ACCOUNTS                                                                                          AUSTIN           TX    78774‐0100
STATE OF TEXAS                        COMPTROLLER OF PUBLIC ACCOUNTS        ATTN: LEGAL OFFICER / BANKRUPTCY                                                  AUSTIN           TX    78774
                                                                            DEPT.
STATE OF TEXAS RAILROAD COMMISSION    1701 CONGRESS AVE                     WILLIAM TRAVIS BLDG STE 9‐120                                                     AUSTIN            TX   78701‐1402
OF TEXAS
STATE OF THURINGIA                    THUERINGER STAATSKANZLEI,                                                                          ERFURT 99084
                                      REGIERUNGSSTRA▀E 73
STATE OF TN/CHPL HIL                  HENRY HORTON INN STATE PARK                                                                                             CHAPEL HILL      TN    37034
STATE OF TN/WINCHEST                  TIMS FORD STATE PARK                  ROUTE 4                                                                           WINCHESTER       TN    37398
STATE OF UTAH                         DEPT. OF COMMERCE                     PO BOX 26823                                                                      SALT LAKE CITY   UT    84126‐0823
STATE OF UTAH                         UTAH DIV CORP & COMM CODE             PO BOX 146705                                                                     SALT LAKE CITY   UT    84111
STATE OF UTAH DEPARTMENT OF           PO BOX 45801                          DIV. OF CORP. & COMM. CODE                                                        SALT LAKE CITY   UT    84145‐0801
COMMERCE
STATE OF UTAH DEPT OF COMMERCE        VEHICLE DLRS FRANCHISE ACT REG        HEBER WELLS BUILDING               160 EAST 300 SOUTH                             SALT LAKE CITY   UT 84114
STATE OF UTAH MOTOR VEHICLE           210 NORTH 1950 WEST                                                                                                     SALT LAKE CITY   UT 84134
ENFORCEMENT DIVISION
STATE OF UTAH MOTOR VEHICLE           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 210 NORTH 1950 WEST                                                              SALT LAKE CITY   UT 84134
ENFORCEMENT DIVISION
STATE OF VT, AGENCY OF NATURAL        IHLA SCHWARTZ ESQ                     OFFICE OF THE ATTORNEY GENERAL ENVIRONMENTAL                 109 STATE ST         MONTPELIER        VT   05609
RESOURCES                                                                                                  PROTECTION DIVISION
STATE OF WASHINGTON                   PO BOX 9048                           DEPARTMENT OF LICENSING                                                           OLYMPIA          WA 98507‐9048
STATE OF WASHINGTON                   PO BOX 34051                                                                                                            SEATTLE          WA 98124‐1051
STATE OF WASHINGTON                   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 34051                                                                     SEATTLE          WA 98124‐1051

STATE OF WASHINGTON                   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 9048                       DEPARTMENT OF LICENSING                        OLYMPIA          WA 98507‐9048

STATE OF WASHINGTON                   DEPT OF LABOR & INDUSTRIES            PO BOX 34022                                                                      SEATTLE          WA 98124‐1022
STATE OF WASHINGTON                   DEPT OF LABOR & INDUSTRIES            7273 LINDERSON WAY SW              ATTN 3RD FLOOR LEGAL                           TUMWATER         WA 98501‐5414
STATE OF WASHINGTON DEPARTMENT OF     PO BOX 34051                                                                                                            SEATTLE          WA 98124‐1051
REVENUE
STATE OF WASHINGTON, DEPT. OF         ZACHARY MOSNER, ASSISTANT ATTY        800 5TH AVE STE 2000                                                              SEATTLE          WA 98104‐3188
REVENUE                               GENERAL
STATE OF WASHINGTON‐DEPT OF           PO BOX C‐34053                                                                                                          SEATTLE          WA 98140
REVENUE
STATE OF WEST VIRGINIA                WV STATE TAX DEPT RD‐EFT              PO BOX 11895                                                                      CHARLESTON       WV    25339‐1895
STATE OF WEST VIRGINIA                DIV OF UNCLAIMED PROPERTY             CAPITOL BLDG                                                                      CHARLESTON       WV    25305
STATE OF WISCONSIN                    WISCONSIN DEPT OF COMMERCE            S & B INVOICING                    PO BOX 78086                                   MILWAUKEE        WI    53293‐0086
STATE OF WISCONSIN                    PO BOX 690                                                                                                              WHITEWATER       WI    53190‐0690
STATE OF WISCONSIN                    ACCT OF BOBBIE EASTERN                819 N 6TH ST RM 408                                                               MILWAUKEE        WI    53203‐1606
STATE OF WISCONSIN                    UNCLAIMED PROPERTY DIVISION           PO BOX 2114                                                                       MADISON          WI    53701‐2114
                                        09-50026-mg              Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                    Exhibit B
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Name                                    Address1                               Address2                         Address3                Address4               City                State Zip
STATE OF WISCONSIN                      DEPT OF TRANSPORATION                  PO BOX 7909                      DEALER SECTION                                 MADISON              WI 53707‐7909
STATE OF WISCONSIN                      910 STATE HIGHWAY 54                                                                                                   BLACK RIVER FALLS    WI 54615‐5450
STATE OF WISCONSIN BUREAU OF            PO BOX 7972                                                                                                            MADISON              WI 53707‐7972
APPRENTICESHIP STANDARDS
STATE OF WISCONSIN DEPARTMENT OF        201 W WASHINGTON ST                                                                                                    MADISON             WI 53703
COMMERCE
STATE OF WISCONSIN DEPARTMENT OF        JERRE L. ZIEBELMAN DANE COUNTY DEPT.   1202 NORTHPORT DR                                                               MADISON             WI 53704‐2020
HEALTH AND FAMILY SERVICES              OF HUMAN SERVICES
STATE OF WISCONSIN DEPARTMENT OF        C/O WILLIAM H RAMSEY, ASSISTANT        DEPARTMENT OF JUSTICE            PO BOX 7857                                    MADISON             WI 53707
NATURAL RESOURCES                       ATTORNEY GENERAL
STATE OF WISCONSIN DEPT OF REV          ACCT OF CHARLES KING                   PO BOX 8960                      4638 UNIVERSITY DR                             MADISON             WI 53708‐8960
STATE OF WISCONSIN DEPT OF REV          ACCT OF JIMMY L BOATNER                PO BOX 8910                                                                     MADISON             WI 53708‐8910
STATE OF WISCONSIN DEPT OF              PO BOX 7946                            201 E WASHINGTON AVE                                                            MADISON             WI 53707‐7946
WORKFORCE DEV
STATE OF WYOMING                        UNCLAIMED PROPERTY DIV                 2515 WARREN AVE STE 502                                                         CHEYENNE            WY    82002‐0001
STATE OFFICE                            3046 W GRAND BLVD                                                                                                      DETROIT             MI    48202‐6046
STATE POLICE                            ATTN: ANN MCCAFFERY                    3050 W GRAND BLVD                                                               DETROIT             MI    48202‐6050
STATE POLICE RIGHT‐TO‐KNOW              PO BOX 66614                           RTK UNIT‐MAIL SLIP A26                                                          BATON ROUGE         LA    70896‐6614
STATE POLICE, MICHIGAN DEPT OF          7426 S CANAL RD                                                                                                        LANSING             MI    48913‐0001
STATE PUBLIC REG COMMISSION OF NEW      PO BOX 1269                                                                                                            SANTA FE            NM    87504‐1269
MEXICO
STATE STREEET BANK TRUST SSLL           DB SGP‐PWM                             KARL HEINZ WILLEMSEN             6.28151E+12
STATE STREET BANK                       ATTN: CHRISTINE GINN                   105 ROSEMONT ROAD                                                               WESTWOOD            MA 02090
STATE STREET BANK
STATE STREET BANK                       ONE LINCOLN STREET                                                                                                     BOSTON              MA    02111
STATE STREET BANK                       ATTN: CHRISTINE CRONIN                 105 ROSEMONT RD                                                                 WESTWOOD            MA    02090
STATE STREET BANK & TRUST CO            AS OWNER TRUSTEE (GM 1991A‐3)          225 ASYLUM ST                    23RD FL                                        HARTFORD            CT    06103
STATE STREET BANK & TRUST CO            ONE LINCOLN ST                                                                                                         BOSTON              MA    02111
STATE STREET BANK & TRUST CO            ATTN CHRISTINE GINN WES1N              105 ROSEMONT RD                                                                 WESTWOOD            MA    02090‐2318
STATE STREET BANK & TRUST CO            FOR INDEPENDENT HEALTH CARE            TRUST FOR UAW RETIREES GM CORP 200 NEWPORT AVENUE JQ7N                          QUINCY              MA    02171

STATE STREET BANK & TRUST CO            AS OWNER TRUSTEE (GM 1991A‐3)          ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                            HARTFORD             CT   06103‐1534
                                                                               DEPT.
STATE STREET BANK & TRUST CO OF         PO BOX 321                             CORPORATE TRUST DEPT                                                            SAINT LOUIS         MO 63166‐0321
MISSOURI
STATE STREET BANK & TRUST CO.           STATE STREET FINANCIAL CENTER          ONE LINCOLN STREET                                                              BOSTON              MA 21111
STATE STREET BANK & TRUST CO.           1200 CROWN COLONY DRIVE                CROWN COLONY                                                                    QUINCY              MA 02169
STATE STREET BANK & TRUST CO. OF CT     GENERAL MOTORS CORPORATION             ATTN: GENERAL COUNSEL            200 RENAISSANCE CTR                            DETROIT             MI 48265‐2000

STATE STREET BANK & TRUST CO. OF CT     GENERAL MOTORS CORPORATION             ATTN: GENERAL COUNSEL            200 RENAISSANCE CTR                            DETROIT             MI 48265‐2000
N.A.
STATE STREET BANK & TRUST CO. OF CT.,   225 ASYLUM ST                                                                                                          HARTFORD             CT   06103
N.A.
STATE STREET BANK & TRUST CO. OF CT.,   WELLS FARGO BANK NORTHWEST, N.A.       ATTN: GENERAL COUNSEL            3889 WASHINGTON                                OGDEN               UT 84403
N.A.                                                                                                            BOULEVARD
STATE STREET BANK & TRUST CO. OF CT.,   WELLS FARGO NORTHWEST, N.A.            CORPORATE TRUST SERVICES         79 SOUTH MAIN STREET,   MAC: U1254‐031         SALT LAKE CITY      UT 84111
N.A.                                                                                                            THIRD FLOOR
STATE STREET BANK & TRUST COMPANY       AS OWNER TRUSTEE                       225 ASYLUM STREET                23RD FLOOR                                     HARTFORD             CT   06103

STATE STREET BANK & TRUST COMPANY       AS OWNER TRUSTEE                       ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                            HARTFORD             CT   06103‐1534
                                                                               DEPT.
                                         09-50026-mg           Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
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Name                                     Address1                         Address2                         Address3                 Address4              City       State Zip
STATE STREET BANK & TRUST COMPANY        AS OWNER TRUSTEE                 (GM 191A‐5)                      ATTN: LEGAL OFFICER /    225 ASYLUM ST FL 23   HARTFORD    CT 06103‐1534
                                                                                                           BANKRUPTCY DEPT.
STATE STREET BANK & TRUST COMPANY        NATIONAL ASSOCIATION, AS OWNER   ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                            HARTFORD    CT   06103‐1534
OF CONNECTICUT                           TRUSTEE                          DEPT.
STATE STREET BANK & TRUST COMPANY        AS OWNER TRUSTEE                 225 ASYLUM STREET                23RD FLOOR                                     HARTFORD    CT   06103
OF CONNECTICUT
STATE STREET BANK & TRUST OF CT., N.A.   225 ASYLUM ST                                                                                                    HARTFORD    CT   06103

STATE STREET BANK & TRUST OF CT., N.A.   WELLS FARGO NORTHWEST, N.A.      ATTN: GENERAL COUNSEL             3889 WASHINGTON                               OGDEN      UT 84403
                                                                                                            BOULEVARD
STATE STREET BANK AND TRUST         DEUTSCHE BANK AG SINGAPORE            KARL HEINZ WILLEMSEN
STATE STREET BANK AND TRUST CO                                                                                                                            BOSTON     MA 02110
STATE STREET BANK AND TRUST CO OF   AS OWNER TRUSTEE (GM 2002 A‐2)        STATE STREET BANK AND TRUST CO   ATTN: LEGAL OFFICER /    225 ASYLUM ST FL 23   HARTFORD   CT 06103‐1534
CONNECTICUT NA                                                            OF CONNECTICUT                   BANKRUPTCY DEPT.
STATE STREET BANK AND TRUST COMPANY OF CONNECTICUT, NATIONAL              AS OWNER TRUSTEE (GM 2000A‐2)    ATTN: LEGAL OFFICER /
                                    ASSOCIATION                                                            BANKRUPTCY DEPT.
STATE STREET BANK AND TRUST COMPANY AS OWNER TRUSTEE                      ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                            HARTFORD    CT   06103‐1534
                                                                          DEPT.
STATE STREET BANK AND TRUST COMPANY

STATE STREET BANK AND TRUST COMPANY AS OWNER TRUSTEE                      225 ASYLUM STREET                 23RD FLOOR                                    HARTFORD    CT   06103

STATE STREET BANK AND TRUST COMPANY 225 ASYLUM ST FL 23                                                                                                   HARTFORD    CT   06103‐1534

STATE STREET BANK AND TRUST COMPANY ONE LINCOLN STREET                                                                                                    BOSTON     MA 02111

STATE STREET BANK AND TRUST COMPANY STATE STREET FINANCIAL CENTER, ONE                                                                                    BOSTON     MA 02111
                                    LINCOLN STREET
STATE STREET BANK AND TRUST COMPANY AS OWNER TRUSTEE (GM191A‐3)           225 ASYLUM ST                     23RD FL                                       HARTFORD    CT   06103

STATE STREET BANK AND TRUST COMPANY (ADDITONAL SECURED)                    STATE STREET BANK AND TRUST CO   ATTN: LEGAL OFFICER /   225 ASYLUM ST FL 23   HARTFORD    CT   06103‐1534
AS OWNER TRUSTEE                                                           OF CONNECTICUT                   BANKRUPTCY DEPT.
STATE STREET BANK AND TRUST COMPANY ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 225 ASYLUM ST FL 23                                                            HARTFORD    CT   06103‐1534
AS OWNER TRUSTEE (GM 1991A‐6)

STATE STREET BANK AND TRUST COMPANY 225 ASYLUM STREET                     23RD FLOOR                                                                      HARTFORD    CT   06103
AS OWNER TRUSTEE (GM 1991A‐6)

STATE STREET BANK AND TRUST COMPANY AS OWNER TRUSTEE (GM 2000A‐3)         225 ASYLUM STREET                 23RD FLOOR                                    HARTFORD    CT   06103
NATIONAL ASSOCIATION
STATE STREET BANK AND TRUST COMPANY AS OWNER TRUSTEE (GM 2000A‐3)         ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                            HARTFORD    CT   06103‐1534
NATIONAL ASSOCIATION                                                      DEPT.
STATE STREET BANK AND TRUST COMPANY CONNECTICUT, NATIONAL ASSOCIATION     225 ASYLUM STREET, 23RD FLOOR                                                   HARTFORD    CT   06103
OF
STATE STREET BANK AND TRUST COMPANY NATIONAL ASSOCIATION, AS OWNER        225 ASYLUM STREET                 23RD FLOOR                                    HARTFORD    CT   06103
OF CONNECTICUT                      TRUSTEE (GM 2000A‐2)
STATE STREET BANK AND TRUST COMPANY NATIONAL ASSOICATION                  225 ASYLUM ST, 23RD FLOOR                                                       HARTFORD    CT   06103‐1521
OF CONNECTICUT
STATE STREET BANK AND TRUST COMPANY NATIONAL ASSOCIATION, AS OWNER        ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                            HARTFORD    CT   06103‐1534
OF CONNECTICUT                      TRUSTEE (GM 2000A‐2)                  DEPT.
                                      09-50026-mg           Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
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Name                                Address1                              Address2                         Address3              Address4         City         State Zip
STATE STREET BANK AND TRUST COMPANY STATE STREET BANK AND TRUST CO OF     ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                    HARTFORD      CT 06103‐1534
OF CONNECTICUT AS OWNER TRUSTEE     CONNECTICUT                           DEPT.

STATE STREET BANK AND TRUST COMPANY STATE STREET BANK AND TRUST CO OF     225 ASYLUM ST                    23RD FL                                HARTFORD      CT   06103
OF CONNECTICUT AS OWNER TRUSTEE     CONNECTICUT

STATE STREET BANK AND TRUST COMPANY 225 ASYLUM ST                          23RD FLOOR                                                             HARTFORD      CT   06103‐1521
OF CONNECTICUT NA
STATE STREET BANK AND TRUST COMPANY 225 ASYLUM ST                                                                                                 HARTFORD      CT   06103
OF CONNECTICUT, NA
STATE STREET BANK AND TRUST COMPANY 225 ASYLUM ST FL 23                                                                                           HARTFORD      CT   06103‐1534
OF CONNECTICUT, NA
STATE STREET BANK AND TRUST COMPANY STATE STREET BANK AND TRUST COMPANY NATIONAL ASSOICATION               225 ASYLUM ST                          HARTFORD      CT   06103
OF CONNECTICUT, NA                  OF CONNECTICUT
STATE STREET BANK AND TRUST COMPANY STATE STREET BANK AND TRUST COMPANY 225 ASYLUM ST                                                             HARTFORD      CT   06103
OF CONNECTICUT, NA                  OF CONNECTICUT NA
STATE STREET BANK AND TRUST COMPANY STATE STREET BANK AND TRUST COMPNAY NATIONAL ASSOCIATION               225 ASYLUM ST                          HARTFORD      CT   06103
OF CONNECTICUT, NA                  OF CONNECTICUT
STATE STREET BANK AND TRUST COMPANY WILMINGTON TRUST COMPANY               ATTN: GENERAL COUNSEL           1100 N MARKET ST                       WILMINGTON   DE 19890‐0001
OF CONNECTICUT, NA
STATE STREET BANK AND TRUST COMPANY 225 ASYLUM ST FL 23                                                                                           HARTFORD      CT   06103‐1534
OF CT, N.A.
STATE STREET BANK AND TRUST COMPANY 225 ASYLUM ST                                                                                                 HARTFORD      CT   06103
OF CT, N.A.
STATE STREET BANK AND TRUST COMPANY WELLS FARGO BANK NORTHWEST, N.A.       ATTN: GENERAL COUNSEL           3889 WASHINGTON                        OGDEN        UT 84403
OF CT, N.A.                                                                                                BOULEVARD
STATE STREET BANK AND TRUST COMPANY WILMINGTON TRUST COMPANY               ATTN: CORPORATE TRUST           1100 N MARKET ST                       WILMINGTON   DE 19890‐0001
OF CT, N.A.                                                                ADMINISTRATION
STATE STREET BANK AND TRUST COMPANY WILMINGTON TRUST COMPANY               ATTN: GENERAL COUNSEL           1100 N MARKET ST                       WILMINGTON   DE 19890‐0001
OF CT, N.A.
STATE STREET BANK AND TRUST COMPANY 225 ASYLUM ST FL 23                                                                                           HARTFORD      CT   06103‐1534
OF CT., N.A.
STATE STREET BANK AND TRUST         225 ASYLUM STREET                      23RD FLOOR                                                             HARTFORD      CT   06103
COMPANY, AS OWNER TRUSTEE (GM
1991A‐4)
STATE STREET BANK AND TRUST         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 225 ASYLUM ST FL 23                                                    HARTFORD      CT   06103‐1534
COMPANY, AS OWNER TRUSTEE (GM
1991A‐4)
STATE STREET BANK AND TRUST         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 225 ASYLUM ST FL 23                                                    HARTFORD      CT   06103‐1534
COMPANY, AS OWNER TRUSTEE (GM
1991A‐5)
STATE STREET BANK AND TRUST         225 ASYLUM STREET                      23RD FLOOR                                                             HARTFORD      CT   06103
COMPANY, AS OWNER TRUSTEE (GM
1991A‐5)
STATE STREET BANK AND TRUST         225 ASYLUM STREET                      23RD FLOOR                                                             HARTFORD      CT   06103
COMPANY, AS OWNER TRUSTEE (GM
1991A‐6)
STATE STREET BANK AND TRUST         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 225 ASYLUM ST FL 23                                                    HARTFORD      CT   06103‐1534
COMPANY, AS OWNER TRUSTEE (GM
1991A‐6)
                                       09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
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Name                                Address1                               Address2                       Address3                      Address4         City              State Zip
STATE STREET BANK AND TRUST         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 225 ASYLUM ST FL 23                                                           HARTFORD           CT 06103‐1534
COMPANY, AS OWNER TRUSTEE (GM 92A‐
2)
STATE STREET BANK AND TRUST         225 ASYLUM STREET                      23RD FLOOR                                                                    HARTFORD           CT   06103
COMPANY, AS OWNER TRUSTEE (GM 92A‐
2)
STATE STREET BANK AND TRUST COMPNAY NATIONAL ASSOCIATION                   225 ASYLUM ST                                                                 HARTFORD           CT   06103‐1521
OF CONNECTICUT
STATE STREET BANK OF TRUST COMPANY 225 ASYLUM ST FL 23                                                                                                   HARTFORD           CT   06103‐1534
OF CONNECTICUT, N.A.
STATE STREET BANK TRUST SSL         DEUTSCHE BANK LUXEMBOURG               KARL HAHN
STATE STREET BANK/MA                PO BOX 1389                            RETIREMENT INVESTMENT SERVICES                                                BOSTON            MA 02117‐1389

STATE STREET CORP                      225 FRANKLIN ST                       PO BOX 351                                                                  BOSTON            MA    02110‐2875
STATE STREET CORPORATION               ACCOUNTING OPERATIONS CCI/6N          1 ENTERPRISE DR                                                             NORTH QUINCY      MA    02171‐2125
STATE STREET CORPORATION               ATTN SSGA FINANCE                     ATTN SSGA FINANCE BOX 55848                                                 BOSTON            MA    02205
STATE STREET NATIONAL BANK AND         TRUST COMPANY OF CONNECTICUT,         225 FRANKLIN ST                                                             BOSTON            MA    02110
                                       NATIONAL ASSOCIATION
STATE STREET SQUARE URBAN RNWL         C/O BR MGMT COR                       3000 CENTRE SQ W              1500 MARKET STREET                            PHILADELPHIA      PA 19102‐2173
PARTNERS‐I
STATE STREET/BOSTON                    MASTER TRUST DIVISION                 P.O. BOX 2364                                                               BOSTON            MA    02107
STATE STREET/NORTH Q                   SPECIALIZED TRUST SERVICES            200 NEWPORT AVENUE JQ7S                                                     NORTH QUINCY      MA    02171
STATE STREET/NTH QUI                   1 ENTERPRISE DR                       ATTN: MEI WOO‐YU              MAIL DROP D‐12                                NORTH QUINCY      MA    02171‐2125
STATE STREET/WESTWD                    105 ROSEMONT RD                       ATTN: ARTHUR ZONGHETTI                                                      WESTWOOD          MA    02090‐2318
STATE STUDENT ASST COMM                ACCT OF G. MARIKA HATCHER             150 W MARKET ST STE 500       CAUSE #49 C01 9110 CP 3383                    INDIANAPOLIS      IN    46204‐2879

STATE SUPPLY                        597 7TH ST E                                                                                                         SAINT PAUL        MN 55130‐2419
STATE SURFACE TO AIR TRANSPORTATION 919 E CENTRAL AVE                        *SCW*SCAC*STSR & STSR*                                                      WEST CARROLLTON   OH 45449‐1820

STATE SURPLUS                          ATTN: ROBERT FLAKE                     601 W MCCARTY ST # 100                                                     INDIANAPOLIS      IN 46225‐1215
STATE TAX COMM LEVY SECTION            ACCT OF ROBERT L THOMAS                PO BOX 22828                                                               JACKSON           MS 39225‐2828
STATE TAX COMMISSION                   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 800 PARK BLVD.               PLAZA IV                                      BOISE             ID 83712

STATE TAX COMMISSION                   PO BOX 960                            SALES AND USE TAX DIVISION                                                  JACKSON           MS    39205‐0960
STATE TAX COMMISSION                   PO BOX 1033                                                                                                       JACKSON           MS    39215‐1033
STATE TAX COMMISSION                   800 PARK BLVD.                        PLAZA IV                                                                    BOISE             ID    83712
STATE TAX COMMISSION                   210 N 1950 W                                                                                                      SALT LAKE CITY    UT    84134‐9000
STATE TAX COMMISSION                   PO BOX 76                                                                                                         BOISE             ID    83707‐0076
STATE TAX COMMISSION LEVY SECT         ACCT OF MARY R DEVAUL                 PO BOX 23338                  WARRANT#                                      JACKSON           MS    39225‐3338
STATE TAX COMMISSION LEVY SECT         ACCT OF BRUCE BENDER                  PO BOX 22828                  WARRANT #                                     JACKSON           MS    39225‐2828
STATE TAX COMMISSION LEVY SECT         ACCT OF LINDA L BROWN                 PO BOX 23338                                                                JACKSON           MS    39225‐3338
STATE TAX COMMISSION‐ARIZONA
STATE TECHNICAL INSTITUTE AT MEMPHIS   5983 MACON CV                                                                                                     MEMPHIS           TN 38134‐7642

STATE TILE COMPANY INC                 2083 N VASSAR RD                                                                                                  BURTON            MI 48509‐1380
STATE TN/DEPT LABOR                    DEPARTMENT OF LABOR                    501 UNION BUILDING                                                         NASHVILLE         TN 37219
STATE TREASURER                        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1200 SENATE ST                                                             COLUMBIA          SC 29201‐3735

STATE TREASURER                        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 11778                                                               COLUMBIA           SC   29211‐1778

STATE TREASURER                        PO BOX 630262                                                                                                     BALTIMORE         MD 21263‐0262
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Name                                  Address1                              Address2                       Address3                Address4         City               State Zip
STATE TREASURER                       OFFICE OF SELF INSURURANCE            SPRINGFIELD REGIONAL OFFICE    4500 S SIXTH ST                          SPRINGFIELD          IL 62703‐5118
                                                                            BUILDING
STATE TREASURER ALABAMA               DEPT OF REVENUE                       PO BOX 302520                  UNCLAIMED PROPERTY                       MONTGOMERY          AL   36130‐2520
                                                                                                           SECTION
STATE TREASURER FISCAL OFFICE         ILLINOIS INDUSTRIAL COMMISSION         100 W RANDOLPH STE 8 329                                               CHICAGO            IL 60601
STATE TREASURER OF CALIFORNIA         BILL LOCKYER                           PO BOX 942809                 915 CAPITOL MALL C‐15                    SACRAMENTO         CA 94209‐0001
STATE TREASURER OF MISSISSIPPI        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 138                                                             JACKSON            MS 39205‐0138

STATE TREASURER OF MISSISSIPPI        UNCLAIMED PROPERTY DIVISION            PO BOX 138                                                             JACKSON            MS    39205‐0138
STATE TREASURER OF MISSISSIPPI        PO BOX 138                                                                                                    JACKSON            MS    39205‐0138
STATE TREASURER OF WYOMING            JOSEPH B. MEYER                        200 W 24TH ST                                                          CHEYENNE           WY    82002‐0001
STATE TREASURER SARAH STEELMAN        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 210                                                             JEFFERSON CITY     MO    65102‐0210

STATE TREASURER SARAH STEELMAN        PO BOX 210                                                                                                    JEFFERSON CITY     MO    65102‐0210
STATE TREASURER'S OFFICE              MICHAEL L. FITZGERALD                 CAPITAL BUILDING                                                        DES MOINES         IA    50319
STATE UNIV OF NY BUFFALO              DIV OF MICROCOMPUTER EDUC             126 JACOBS MANAGEMENT CTR                                               BUFFALO            NY    14260‐4000
STATE UNIVERSITY COLLEGE AT BUFFALO   1300 ELMWOOD AVE STUDENT ACCTS GC                                                                             BUFFALO            NY    14222
                                      304
STATE UNIVERSITY COLLEGE OF GENESEO   1 COLLEGE CIRCLE                                                                                              GENESEO            NY 14454

STATE UNIVERSITY COLLEGE OF NEW YORK PO BOX 2000                                                                                                    CORTLAND           NY 13045‐0900
AT CORTLAND
STATE UNIVERSITY OF IOWA             RM 105 JESSUP HALL                                                                                             IOWA CITY          IA    52242
STATE UNIVERSITY OF NEW YORK         BUSINESS OFFICE                        COLLEGE OF AGRICULTURE AND     TECHNOLOGY                               MORRISVILLE        NY    13408
STATE UNIVERSITY OF NEW YORK         EMPIRE STATE COLLEGE                   2 UNION AVE                                                             SARATOGA SPRINGS   NY    12866‐4310
STATE UNIVERSITY OF NEW YORK         PURCHASE COLLEGE                       735 ANDERSON HILL RD                                                    PURCHASE           NY    10577‐1402
STATE UNIVERSITY OF NEW YORK         MARITIME COLLEGE                       6 PENNYFIELD AVE               FORT SHUYLER                             BRONX              NY    10465‐4127
STATE UNIVERSITY OF NEW YORK AT      OFFICE OF STUDEN ACCTS BA B20          1400 WASHINGTON AVENUE                                                  ALBANY             NY    12222‐0001
ALBANY
STATE UNIVERSITY OF NEW YORK AT      232 CAPEN HALL                                                                                                 BUFFALO            NY 14260‐1609
BUFFALO
STATE UNIVERSITY OF NEW YORK AT      MBA PROG ADMIN BOX 604000              206 JACOBS MANAGEMENT CENTER                                            BUFFALO            NY 14260‐4000
BUFFALO
STATE UNIVERSITY OF NEW YORK AT
BUFFALO
STATE UNIVERSITY OF NEW YORK AT      3435 MAIN STREET                                                                                               BUFFALO            NY 14214
BUFFALO OFFICE OF STUDENT
STATE UNIVERSITY OF NEW YORK AT      1 COLLEGE CIRCLE                                                                                               GENESEO            NY 14454
GENESEO
STATE UNIVERSITY OF NEW YORK CANTON 34 CORNELL DR                           STUDENT SERVICE CENTER                                                  CANTON             NY 13617‐1037

STATE UNIVERSITY OF NEW YORK COLLEGE BURSARS OFC 350 NEW CAMPUS DR                                                                                  BROCKPORT          NY 14420
AT BROCKPORT
STATE UNIVERSITY OF NEW YORK COLLEGE 312 MAYTUM HALL                        OFFICE OF STUDENT ACCOUNTS                                              FREDONIA           NY 14063‐1128
AT FREDONIA
STATE UNIVERSITY OF NEW YORK COLLEGE 223 STOREHILL RD                                                                                               OLD WESTBURY       NY 11568
AT OLD WESTBURY
STATE UNIVERSITY OF NEW YORK COLLEGE 44 PIERREPONT AVE                                                                                              POTSDAM            NY 13676‐2200
AT POTSDAM
STATE UNIVERSITY OF NEW YORK COLLEGE STUDENT ACCOUNTS OFFICE                                                                                        ALFRED             NY 14802
OF TECHNOLOGY ALFRED
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Name                                 Address1                      Address2                       Address3      Address4         City              State Zip
STATE UNIVERSITY OF NEW YORK         POST OFFICE BOX 4017          ROOM 240                                                      ONEONTA            NY 13820
ONEONTA
STATE UNIVERSITY OF NEW YORK         101 BROAD ST                  FINANCIAL AID OFFICE                                          PLATTSBURGH       NY 12901‐2637
PLATTSBURGH
STATE UNIVERSITY OF NEW YORK SCHOOL CENTER FOR MANAGEMENT DEV      108 JACOBS MANAGEMENT CENTER                                  BUFFALO           NY 14260‐4000
OF MANAGEMENT
STATE UNIVERSITY OF NEW YORK SCHOOL 108 JACOBS MANAGEMENT CTR                                                                    BUFFALO           NY 14260‐4000
OF MANAGEMENT
STATE UNIVERSITY OF NEW YORK         ROUTE 110                                                                                   FARMINGDALE       NY 11735
TECHNOLOGY
STATE UNIVERSITY OF NY BUFFALOCENTER 108 JACOBS MANAGEMENT CTR     SCHOOL OF MANAGEMENT                                          BUFFALO           NY 14260‐4000
FOR MANAGEMENT DEVLOP

STATE UNIVERSITY OF WEST GEORGIA   STUDENT FINANCIAL SERVICES                                                                    CARROLLTON        GA   30118‐0001
STATE WIDE EXPRESS INC             5231 ENGLE RD                                                                                 BROOK PARK        OH   44142‐1531
STATELER, GERALD L                 30011 MOULIN AVE                                                                              WARREN            MI   48088‐3151
STATELINE AUTO GROUP, INC.         413 E MAIN ST                                                                                 ANDOVER           OH   44003‐9506
STATELINE AUTO GROUP, INC.         FRANK PASQUALETTI               413 E MAIN ST                                                 ANDOVER           OH   44003‐9506
STATELINE AUTO SERVICE             88 ENFIELD ST                                                                                 ENFIELD           CT   06082‐1910
STATELINE CHEVROLET PONTIAC INC.   ROBERT LORENZONI                419 SUPERIOR AVE                                              CRYSTAL FALLS     MI   49920‐1436
STATELINE CHEVROLET PONTIAC INC.   419 SUPERIOR AVE                                                                              CRYSTAL FALLS     MI   49920‐1436
STATELINE SERVICE & TIRE CENTER    1209 SOCIAL ST                                                                                WOONSOCKET        RI   02895‐1332
STATELINE UNITED WAY               400 E GRAND AVE STE 101                                                                       BELOIT            WI   53511‐6200
STATEN HEARD                       5209 TILTON DRIVE                                                                             EVANS             GA   30809‐7077
STATEN JR, GASTON                  5523 S PICCADILLY                                                                             WEST BLOOMFIELD   MI   48322‐1449
STATEN R P                         6168 HIGHWAY 45 N                                                                             WAYNESBORO        MS   39367‐7483
STATEN TIVES                       SIMMONS FIRM                    707 BERKSHIRE BLVD             P O BOX 521                    EAST ALTON        IL   62024
STATEN, ALMA                       PORTER & MALOUF PA              4670 MCWILLIE DR                                              JACKSON           MS   39206‐5621
STATEN, BEATRICE                   127 E MARENGO                                                                                 FLINT             MI   48505
STATEN, BERNARD                    1512 VAN AUKEN ST SE                                                                          GRAND RAPIDS      MI   49508‐2519
STATEN, BERTHA M                   7471 PEREGRINE LANE                                                                           DAVIDSON          MI   48423‐8423
STATEN, BEVERLY R                  1458 MOUNT OLIVET RD                                                                          HENDERSONVILLE    TN   37075‐9515
STATEN, CHARLES
STATEN, CURTIS W                   14111 LINDSEY LN                                                                              POPLAR BLUFF      MO   63901‐9761
STATEN, DARNELL L                  11827 LAKEPOINTE ST                                                                           DETROIT           MI   48224‐1103
STATEN, DEMETHRIUS L               4300 HOLYOKE DR SE                                                                            GRAND RAPIDS      MI   49508‐3768
STATEN, DEMETHRIUS LASHANE         4300 HOLYOKE DR SE                                                                            GRAND RAPIDS      MI   49508‐3768
STATEN, DURWARD                    PORTER & MALOUF PA              4670 MCWILLIE DR                                              JACKSON           MS   39206‐5621
STATEN, ERNESTINE                  1120 WATKINS ST SE                                                                            GRAND RAPIDS      MI   49507‐1471
STATEN, FRANK C                    PO BOX 12183                                                                                  NEW BERN          NC   28561‐2183
STATEN, GASTON                     20430 MARK TWAIN ST                                                                           DETROIT           MI   48235‐1615
STATEN, HENRYETTA                  6622 ORANGE LN                                                                                FLINT             MI   48505
STATEN, JAMES M                    2934 GRIFFINVIEW DR LOT 142                                                                   LADY LAKE         FL   32159‐4669
STATEN, JAMES N                    10 ROSEWOOD DR N                                                                              LAKE PLACID       FL   33852‐6875
STATEN, JIMMIE L                   125 ISLE OF VENICE DR APT 2                                                                   FT LAUDERDALE     FL   33301‐1456
STATEN, JIMMIE L                   125 ISLE OF VENICE              APT 2                                                         FORT LAUDERDALE   FL   33301‐1456
STATEN, KEVIN D                    5562 ATTICA RD                                                                                ATTICA            MI   48412‐9710
STATEN, KOREA                      875 VICTOR AVE APT 337                                                                        INGLEWOOD         CA   90302
STATEN, LEE
STATEN, MARY J                     4300 HOLYOKE DR SE                                                                            GRAND RAPIDS      MI 49508‐3768
STATEN, MAURICE I                  30370 WOODGATE DR                                                                             SOUTHFIELD        MI 48076‐1079
STATEN, MAURICE IVAN               30370 WOODGATE DR                                                                             SOUTHFIELD        MI 48076‐1079
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Name                            Address1                            Address2                  Address3   Address4         City              State Zip
STATEN, MAX                     PORTER & MALOUF PA                  4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621
STATEN, MINNIE M                1016 HALLER AVENUE                                                                        DAYTON             OH 45408‐2508
STATEN, PATTIE                  PO BOX 430664                                                                             PONTIAC            MI 48343‐0664
STATEN, REGINALD                5540 POPPLETON CT                                                                         WEST BLOOMFIELD    MI 48324‐1141
STATEN, ROBBIE C                5565 ALLEN RD                                                                             HERNANDO           MS 38632‐9636
STATEN, SILAS                   PORTER & MALOUF PA                  4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621
STATEN, TIVES                   SIMMONS FIRM                        PO BOX 521                                            EAST ALTON          IL 62024‐0519
STATEN, TOMMY                   5746 DESOTO ST                                                                            DAYTON             OH 45426
STATEN, VANESSA                 2631 ELMWOOD ST                                                                           DETROIT            MI 48207‐3318
STATEN, W R                     479 ALEXIS DR                                                                             NEW BERN           NC 28562‐6426
STATER, JOAN F                  10253 E PANTERA AVE                                                                       MESA               AZ 85212‐2317
STATER, LARRY L                 10253 E PANTERA AVE                                                                       MESA               AZ 85212‐2317
STATER, MICHAEL A               8847 E STATE ROAD 26                                                                      FOREST             IN 46039‐9673
STATER, MICHAEL ALAN            8847 E STATE ROAD 26                                                                      FOREST             IN 46039‐9673
STATES OF CONNECTICUT           UNCLAIMED PROPERTY DIV              55 ELM ST 7TH FL                                      HARTFORD           CT 06106
STATES, CHARLES R               41 S NEW YORK ST                                                                          LOCKPORT           NY 14094
STATES, DONALD H                313 N HARDIN DR                                                                           COLUMBIA           TN 38401‐2030
STATES, MARTIN L                3875 BRONSON LAKE RD                                                                      LAPEER             MI 48446‐9092
STATES, MARTIN V                11910 SPENCER RD                                                                          SAGINAW            MI 48609‐9776
STATES, RONALD E                7366 STATE ROUTE 305                                                                      BURGHILL           OH 44404‐9772
STATES, ROSE M                  41 S NEW YORK ST                                                                          LOCKPORT           NY 14094‐4226
STATES, SHARON J                8224 W PICCADILLY RD                                                                      PHOENIX            AZ 85033‐3414
STATES, SHIRLEY W               2650 ROMAR                                                                                HERMITAGE          PA 16148‐2893
STATES, SHIRLEY W               2650 ROMAR DR                                                                             HERMITAGE          PA 16148‐2893
STATES, THEODORE J              PO BOX 64                                                                                 DUPONT             OH 45837‐0064
STATES, TOMMIE L                LIPMAN DAVID M                      5901 SW 74TH ST STE 304                               MIAMI              FL 33143‐5163
STATES, TOMMY                   COLOM LAW FIRM                      605 2ND AVE N                                         COLUMBUS           MS 39701‐4513
STATESBORO TIRE & BRAKE         102 N ZETTEROWER AVE                                                                      STATESBORO         GA 30458‐7116
STATESVILLE AUTO AUCTION        I‐77 AT EXIT 54                                                                           STATESVILLE        NC 28687
STATEWAY 737/8826
STATEWIDE EMERGENCY PRODUCTS    1114 W MAIN ST                                                                            VAN WERT          OH   45891‐1423
STATEWIDE FIRE PROTECTION       410 COPELAND DR                                                                           HAMPTON           VA   23661‐1305
STATEWIDE PEST CONTROL CO INC   14829 CALVERT ST                                                                          VAN NUYS          CA   91411‐2708
STATEWIDE SERVICES FOR          1631 MILLER RD                                                                            FLINT             MI   48503‐4720
HEARINGIMPAIRED
STATEWIDE TRUCKING INC          PO BOX 189                                                                                SYRACUSE          NY   13211‐0189
STATHAM & MCCRAY                PO BOX 3567                                                                               EVANSVILLE        IN   47734‐3567
STATHAM CARL                    307 BAMBERG DR                                                                            BLUFFTON          SC   29910‐4899
STATHAM JOHNSON & MCCRAY        215 NW MARTIN LUTHER KING JR BLVD                                                         EVANSVILLE        IN   47708‐1901
STATHAM, CHARLES F              27800 E US 24 HWY                                                                         BUCKNER           MO   64016
STATHAM, DENNIS P               PO BOX 31332                                                                              KNOXVILLE         TN   37930‐1332
STATHAM, JAMES R                339 LOCH LOMOND DR                                                                        FARMERVILLE       LA   71241‐5673
STATHAM, JIMMY C                10 BEAVER RUN                                                                             CEDARTOWN         GA   30125‐7167
STATHAM, MARY                   120 STEWART DR                                                                            MOSELLE           MS   39459
STATHAM, ROBERT                 GUY WILLIAM S                       PO BOX 509                                            MCCOMB            MS   39649‐0509
STATHAM, ROBERT L               6713 LONGHILL RD                                                                          BALTIMORE         MD   21207‐5681
STATHES, DENO C                 1055 JUSTIN RIDGE WAY                                                                     WAYNESVILLE       OH   45068‐9250
STATHES, DENO C                 7710 NORMANDY LANE                                                                        CENTERVILLE       OH   45459‐5459
STATHES, PAUL G                 3307 HIGHGROVE PLACE                                                                      KETTERING         OH   45429‐3515
STATHIS, ANDY J                 1478 CALAIS CT                                                                            LIVERMORE         CA   94550‐6022
STATHIS, CHRISTOPHER A          131 ALLAN ST                                                                              CORTLANDT MANOR   NY   10567
STATHOPOULOS, SPERO             2539 E ROUNDTABLE DR                                                                      CANTON            MI   48188‐1934
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Name                                Address1                         Address2                      Address3   Address4                 City              State Zip
STATHOPOULOS, THOMAS                1919 CATALPA DR                                                                                    BERKLEY            MI 48072‐1803
STATHOPOULOS, WILLIAM H             308 ZINK AVE                                                                                       SANTA BARBARA      CA 93111‐2804
STATIA URBAN                        65 WILSON AVE                                                                                      MERIDEN            CT 06450‐6915
STATIC CONTROL/WIXOM                30460 S WIXOM RD                                                                                   WIXOM              MI 48393‐2410
STATIC CONTROLS CORP                30460 S WIXOM RD                                                                                   WIXOM              MI 48393‐2410
STATIN, DAVID S                     656 LOTHROP RD APT 106                                                                             DETROIT            MI 48202
STATION DE SERVICE DUPUIS           1030 ST LAURENT                                                           LONGUEUIL QC J4K 1C8
                                                                                                              CANADA
STATION ROBERT GASSE                7 RUE RACINE EST                                                          CHICOUTIMI QC G7H 1P3
                                                                                                              CANADA
STATION SERVICE COTE VERTU          975 BLVD COTE VERTU                                                       ST. LAURENT QC H4L 1Y7
                                                                                                              CANADA
STATION SERVICE DIONNE ENR.         80 SEIGNEUR COTE                                                          ISLE‐VERTE QC G0L 1K0
                                                                                                              CANADA
STATION SERVICE FERNAND THERIAULT   4950 RUE BANNANTYNE                                                       VERDUN QC H4G 1E9
INC.                                                                                                          CANADA
STATION SERVICE JACQUES BLAIS INC   880 ST‐ALPHONSE NORD                                                      THETFORD MINES QC G6G
                                                                                                              3X5 CANADA
STATION SERVICE MARCEL JOBIN        508 ST‐VALIER OUEST                                                       QUEBEC CITY QC G1N 1B9
                                                                                                              CANADA
STATIONARY ENGINEERS                24270 W 7 MILE RD                                                                                  DETROIT           MI 48219‐1664
EDUCATIONCENTER
STATKUS, DIANE M                    21131 SUMMERFIELD DR                                                                               MACOMB            MI   48044‐2928
STATLAND & VALLEY                   JAY L. STATLAND                  111 E WACKER DR               STE 2601                            CHICAGO           IL   60601‐1587
STATLER JR, JOHN E                  290 DARTMOUTH DR                                                                                   CANFIELD          OH   44406‐1214
STATLER LEE JEAN                    3620 W MARKET ST                                                                                   LEAVITTSBURG      OH   44430‐9536
STATLER THOMAS E (403905)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
                                                                     STREET, SUITE 600
STATLER, ALLEN R                    5464 HIGHLAND AVE SW                                                                               WARREN            OH   44481‐9638
STATLER, CARLYN V                   PO BOX 374                                                                                         AZTEC             NM   87410‐0374
STATLER, CLARA M                    1416 HAYS PK                                                                                       KALAMAZOO         MI   49001‐3920
STATLER, DAVID P                    151 LUKIA ST                                                                                       HILO              HI   96720‐1436
STATLER, DONA D                     1013 NILE AVE NE                                                                                   RENTON            WA   98059‐4384
STATLER, DONALD G                   1063 PICKWICK PL                                                                                   FLINT             MI   48507‐3780
STATLER, GERALDINE I                7505 JOHN DR                                                                                       SAINT HELEN       MI   48656‐9680
STATLER, JUDI L                     PO BOX 144                                                                                         GENESEE           MI   48437‐0144
STATLER, REGINALD N                 8318 COLE CREEK CT                                                                                 FLUSHING          MI   48433‐9418
STATLER, ROBERT L                   PO BOX 137                                                                                         PENTRESS          WV   26544‐0137
STATLER, SHIRLEY                    1260 ROLLING ACRES DR                                                                              DELAND            FL   32720‐2337
STATLER, STEPHANIE B                330 VALLEY PARK S                                                                                  BETHLEHEM         PA   18018‐1359
STATLER, THOMAS E                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510‐2212
                                                                     STREET, SUITE 600
STATLER, VIRGIL C                   77 CARRICO HOLW                                                                                    CORE              WV 26541‐7209
STATLY, JOHN F                      3565 HAZELTON AVE                                                                                  ROCHESTER HILLS   MI 48307‐5012
STATLY, JOHN K                      70206 WHITE TAIL LN                                                                                BRUCE TWP         MI 48065‐4452
STATOIL INT AVIATION                N‐4035 STAVANGER                                                          STAVANGER N‐4035
                                                                                                              NORWAY
STATOM JR, MAJOR H                  9601 MARK TWAIN ST                                                                                 DETROIT           MI   48227‐3047
STATOM JR, SAMUEL C                 3701 W ROBINWOOD DR                                                                                MUNCIE            IN   47304
STATOM JR, SAMUEL C                 2701 S ROBINWOOD DR                                                                                MUNCIE            IN   47304‐2868
STATOM, GREGORY S                   4201 W ROBINWOOD DR                                                                                MUNCIE            IN   47304‐2838
STATOM, GREGORY SINGLETON           4201 W ROBINWOOD DR                                                                                MUNCIE            IN   47304‐2838
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Name                  Address1                          Address2                        Address3   Address4         City            State Zip
STATOM, JASON E       4056 RESTIN CT                                                                                GREENWOOD        IN 46142‐8581
STATON DONNA          STATON, DONNA                     700 E MAIN ST STE 1600                                      RICHMOND         VA 23219‐2604
STATON III, BALLARD   14 DELROSE DR                                                                                 MONESSEN         PA 15062‐2330
STATON JEFFREY        STATON, JEFFREY                   2325 GRANT BUILDING 310 GRANT                               PITTSBURGH       PA 15219
                                                        STREET
STATON JR, JOSEPH H   83 WINDERMERE BLVD                                                                            AMHERST         NY   14226‐3041
STATON MICHAEL        STATON, MICHAEL                   HC 67 BOX 1405                                              PILGRIM         KY   41250‐9704
STATON, ALBERT E      3672 AMITY LANE                                                                               MIDDLETOWN      OH   45044‐9443
STATON, ALBERT E      3672 AMITY LN                                                                                 MIDDLETOWN      OH   45044‐9443
STATON, ANTHONY G     2227 RHODA PL                                                                                 SCOTCH PLAINS   NJ   07076‐1353
STATON, ARVIE         3711 W RIVER RD                                                                               NEWTON FALLS    OH   44444‐9426
STATON, BARBARA A     23835 KOTHS                                                                                   TAYLOR          MI   48180‐3454
STATON, BOBBY G       4701 SHAWNEE TRL                                                                              AMARILLO        TX   79109‐5937
STATON, CARL H        218 PRIMROSE CIR                                                                              RICHMOND        KY   40475‐6852
STATON, CHARLES E     PO BOX 431872                                                                                 PONTIAC         MI   48343‐1872
STATON, CHARLES E     1824 TOWN LAKE RD                                                                             AKRON           IN   46910‐9741
STATON, DALLAS R      179 N DUNLAP AVE                                                                              YOUNGSTOWN      OH   44509‐2023
STATON, DANNY P       5520 DEER RUN LN                                                                              DEXTER          MI   48130‐9357
STATON, DAVID V       4246 KESSLER BOULEVARD NORTH DR                                                               INDIANAPOLIS    IN   46228‐2874
STATON, DELOIS J      112 MADISON ST BOX 486                                                                        DEEPWATER       NJ   08023‐0486
STATON, DONALD R      14045 ALGER AVE                                                                               WARREN          MI   48088‐3236
STATON, DOROTHY M.    25325 GRODAN DR APT #119                                                                      SOUTHFEILD      MI   48034
STATON, EMILY A       2914 W COLD SPRING LN APT D                                                                   BALTIMORE       MD   21215‐6637
STATON, EMILY A       2914 W COLD SPRING LN             APT D                                                       BALTIMORE       MD   21215‐6637
STATON, FRANCIS G     1302 DOUGLAS LN                                                                               ANDERSON        IN   46017‐9647
STATON, GERALD E      1535 CAPE COD DR                                                                              MANSFIELD       OH   44904
STATON, JACK L        24206 KENSINGTON ST                                                                           TAYLOR          MI   48180‐3345
STATON, JAMES E       1001 GRACELAWN DR                                                                             BRENTWOOD       TN   37027‐5510
STATON, JEFFREY       GORBERG DAVID J & ASSOCIATES      2325 GRANT BUILDING 310 GRANT                               PITTSBURGH      PA   15219
                                                        STREET
STATON, JERRY T       1778 DULUTH HWY                                                                               LAWRENCEVILLE   GA   30043‐5009
STATON, JOHN K        13130 SUTTERS PKWY                                                                            FORT WAYNE      IN   46845‐9061
STATON, JOHN M        1617 HARDY DR                                                                                 ROCK HILL       SC   29732‐8590
STATON, LARRY L       1778 DULUTH HWY                                                                               LAWRENCEVILLE   GA   30043‐5009
STATON, LARRY O       PO BOX 162                                                                                    PATASKALA       OH   43062‐0162
STATON, LAWRENCE R    9386 MESA VERDE G                                                                             MONTCLAIR       CA   91763
STATON, LEO L         204 ELM AVE                                                                                   SAC CITY        IA   50583‐1404
STATON, LEVORN        318 LAMA CIR                                                                                  LANSING         MI   48911‐5040
STATON, LINDA H       14 DELROSE DR                                                                                 MONESSEN        PA   15062‐2330
STATON, LINDA M       17890 REDWOOD RD                                                                              LAKE MILTON     OH   44429‐9732
STATON, MARY L        202 SAINT CROIX CT                                                                            GREER           SC   29651‐5798
STATON, MICHAEL       HC 67 BOX 1405                                                                                PILGRIM         KY   41250‐9704
STATON, MICHAEL C     651 N MARTHA ST                                                                               DEARBORN        MI   48128
STATON, MILDRED S     1726 N. IRVINGTON                                                                             INDIANAPOLIS    IN   46218‐4819
STATON, MILDRED S     1726 N IRVINGTON AVE                                                                          INDIANAPOLIS    IN   46218‐4819
STATON, ROBERT B      6611 GRATIS RD                                                                                CAMDEN          OH   45311‐8813
STATON, SANDRA E      18723 WOODSIDE ST                                                                             HARPER WOODS    MI   48225‐2121
STATON, SARAH A       12011 PARK STREET                                                                             INDEPENDENCE    MO   64054‐1137
STATON, SARAH A       12011 E PARK ST                                                                               SUGAR CREEK     MO   64054‐1137
STATON, SHIRLEY C     4822 OTTO RD                                                                                  CHARLOTTE       MI   48813‐9723
STATOVCI, SHUKRIJE    105 ROSE CIR                                                                                  MIDDLETOWN      CT   06457
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Name                               Address1                         Address2                      Address3   Address4             City                State Zip
STATPOWER/BURNABY                  7012 LOUGHEED HWY.                                                        BURNABY BC V5A 1W2
                                                                                                             CANADA
STATRANS DELIVERY SYSTEM INC       141 E TWENTY SIXTH ST                                                                          ERIE                PA 16504
STATS, ALEX                        19115 HOMEWAY RD                                                                               CLEVELAND           OH 44135‐4033
STATS, JIM
STATSICK, RICHARD W                1404 6TH AVE N                                                                                 SARTELL             MN    56377
STATTENFIELD JR, DAVID B           6051 CHINKAPIN DR                                                                              COLUMBUS            IN    47201‐8447
STATTMAN, VIVIAN D                 2069 MINNEHAHA AVENUE EAST                                                                     SAINT PAUL          MN    55119‐3929
STATTON, DONALD R                  175 S THOMPSON AVE                                                                             LECANTO             FL    34461‐8661
STATTON, ROBERT R                  2661 BOB WHITE CIR                                                                             NAVARRE             FL    32566‐2547
STATURE/DETROIT                    20201 HOOVER ST                                                                                DETROIT             MI    48205‐1033
STATURE/WARREN                     23647 RYAN RD                                                                                  WARREN              MI    48091‐1930
STATUS AUTOMOTIVE INC              2388 DANFORTH AVE.                                                        TORONTO ON M4C 1K7
                                                                                                             CANADA
STATUS DELIVERY SERVICE            PO BOX 1991                                                                                    GRAND RAPIDS         MI   49501‐1991
STATZ, CHARLES J                   1810 WOODLAND RIDGE RD                                                                         WAUSAU               WI   54403‐2372
STATZ, GORDON J                    2196 WILLOW LEAF DR                                                                            ROCHESTER HILLS      MI   48309‐3736
STATZER, CHRISTINE A               1130 KRA NUR DR                                                                                BURTON               MI   48509‐1629
STATZER, MAGGIE E                  407 POWELL MOUNTAIN RD                                                                         DUFFIELD             VA   24244‐2644
STATZER, ROBY D                    1130 KRA NUR DR                                                                                BURTON               MI   48509‐1629
STAUB HENRY III (494234)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK              VA   23510
                                                                    STREET, SUITE 600
STAUB JR, VINCENT M                 4147 GORDON LANDIS RD                                                                         ARCANUM             OH 45304‐9774
STAUB REBECCA AND KAHN & ASSOCIATES 55 PUBLIC SQ STE 650                                                                          CLEVELAND           OH 44113‐1909

STAUB ROBERT                       121 BISHOP HOLLOW RD                                                                           NEWTOWN SQUARE      PA    19073‐3220
STAUB, AUDREY H                    13019 BRIDGEVIEW CT                                                                            MCCORDSVILLE        IN    46055‐9654
STAUB, BRITTANY N                  3663 ORCHARD HILL DR                                                                           CANFIELD            OH    44406‐9268
STAUB, BRUCE HOWARD                APT B                            620 DODGE COURT                                               DAYTON              OH    45431‐4829
STAUB, ERIC M                      21204 ALEXA DR                                                                                 COMMERCE TOWNSHIP   MI    48390‐5841
STAUB, GERALD O                    23 WILLHURST DR                                                                                ROCHESTER           NY    14606‐3231
STAUB, HENRY                       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK             VA    23510‐2212
                                                                    STREET, SUITE 600
STAUB, JUNE W                      42 COUNTY ROUTE 1                                                                              HAMMOND             NY    13646
STAUB, KEN JR TRUCKING INC         7 AUSTIN ST                      ADDRESS CHANGE 2/25/93                                        BUFFALO             NY    14207‐2504
STAUB, MARTIN S                    92 APPLE CREEK LN                                                                              ROCHESTER           NY    14612‐3444
STAUB, PAMELA E                    92 APPLE CREEK LN                                                                              ROCHESTER           NY    14612‐3444
STAUB, PATRICIA L                  1111 SAINT ANDREWS PARKWAY                                                                     ONEONTA             AL    35121‐3574
STAUB, RHONDA K                    3663 ORCHARD HILL DR                                                                           CANFIELD            OH    44406‐9268
STAUB, RICHARD G                   144 N GRAND POINTE DR                                                                          BROOKLYN            MI    49230‐9748
STAUB, ROBERT J                    2371 BARBARA WAY                                                                               POTTSTOWN           PA    19464‐2691
STAUB, ROBERT J                    121 BISHOP HOLLOW RD                                                                           NEWTOWN SQ          PA    19073‐3220
STAUB, WILLIAM G                   1843 PETER SMITH RD                                                                            KENT                NY    14477‐9739
STAUBACH AGENT FOR BNSF            PO BOX 847574                                                                                  DALLAS              TX    75284‐7574
STAUBACH AUTOMOTIVE GROUP LLC      2415 E CAMELBACK RD STE 400                                                                    PHOENIX             AZ    85016‐9297
STAUBER, JAMES L                   305 GLASSCOCK RD                                                                               LIBERTY HILL        TX    78642‐5765
STAUBER, THOMAS W                  4608 BLANCHAN AVE                                                                              BROOKFIELD          IL    60513‐2208
STAUBITZ, MARK F                   8879 BRADLEY RD                                                                                GASPORT             NY    14067‐9446
STAUBLE MACH/LOUISVI               1427 HUGH AVE                                                                                  LOUISVILLE          KY    40213‐1916
STAUBLE, ROBERT S                  31458 W 236TH ST                                                                               LAWSON              MO    64062‐7050
STAUBLI CORP                       PO BOX 751607                                                                                  CHARLOTTE           NC    28275‐1607
STAUBLI CORP                       201 PARKWAY W                    PO BOX 189                                                    DUNCAN              SC    29334‐9279
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Name                          Address1                         Address2                      Address3   Address4         City               State Zip
STAUBLIN, WILLIAM E           346 N 10TH ST                                                                              MIDDLETOWN          IN 47356‐1217
STAUBS                        951 E MAIN ST                                                                              ROCHESTER           NY 14605‐2726
STAUBS, PAUL D                453 COMPASSION DR                                                                          MARTINSBURG         WV 25405‐5095
STAUBS, ROLAND B              1206 64TH ST                                                                               BALTIMORE           MD 21237‐2508
STAUBS, TERESA L              453 COMPASSION DR                                                                          MARTINSBURG         WV 25405‐5095
STAUBS, TERESA L              PO BOX 1253                                                                                SOUTHAVEN           MS 38571‐0013
STAUBUS, CHARLES R            7016 RED OAK DR                                                                            SHAWNEE             KS 66217‐9521
STAUCH FRANK P (439538)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                               STREET, SUITE 600
STAUCH JR, RALPH S            305 SOUTHEAST GINGERBREAD LANE                                                             BLUE SPRINGS       MO   64014‐3612
STAUCH MARK                   43027 W KIRKWOOD DR                                                                        CLINTON TOWNSHIP   MI   48038‐1219
STAUCH, ELLEN C               2042 N STATE HIGHWAY 5                                                                     CAMDENTON          MO   65020‐2611
STAUCH, FRANK P               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                               STREET, SUITE 600
STAUCH, GERALD D              803 S CARLTON ST                                                                           ENNIS              TX   75119‐5707
STAUCH, JOHANN                38348 RIVER PARK DR                                                                        STERLING HTS       MI   48313‐5774
STAUCH, JOHN L                11415 ENTREVAUX DR                                                                         EDEN PRAIRIE       MN   55347‐2864
STAUCH, KEVIN L               GENERAL DELIVERY                                                                           BROWNSBURG         IN   45112‐9999
STAUCH, MARK R                43027 W KIRKWOOD DR                                                                        CLINTON TOWNSHIP   MI   48038‐1219
STAUCH, MICHAEL               2189 CHICAGO RD                                                                            WARREN             MI   48092‐1050
STAUDACHER JR, THOMAS J       9508 WOODMONT DR                                                                           GRAND BLANC        MI   48439‐9524
STAUDACHER JR, THOMAS JAMES   9508 WOODMONT DR                                                                           GRAND BLANC        MI   48439‐9524
STAUDACHER, GARY E            2778 EVERGREEN DR                                                                          BAY CITY           MI   48706‐6313
STAUDACHER, JAMES N           5871 SUNSET DR                                                                             DAVISON            MI   48423‐8003
STAUDACHER, JIMMIE D          8539 DOLPHIN                                                                               PORTAGE            MI   49024‐6124
STAUDACHER, JIMMY D           8539 DOLPHIN ST                                                                            PORTAGE            MI   49024‐6124
STAUDACHER, ROBERT E          301 24TH ST                                                                                BAY CITY           MI   48708‐7703
STAUDACHER, ROBERT J          5179 WORCHESTER DR                                                                         SWARTZ CREEK       MI   48473‐1267
STAUDACHER, ROBERT JAMES      5179 WORCHESTER DR                                                                         SWARTZ CREEK       MI   48473‐1267
STAUDACHER, THOMAS J          2393 MARGARET DR                                                                           FENTON             MI   48430‐8804
STAUDACHER, VIRGIL E          2923 N LAKE BEACH DR                                                                       BAY CITY           MI   48706‐1908
STAUDE, ALDRENE W             2117 S PALM ST                                                                             JANESVILLE         WI   53546‐6116
STAUDE, ALDRENE W             2117 S. PALM ST.                                                                           JANESVILLE         WI   53546‐6116
STAUDENMEYER, ROY R           961 N STRONG RD                                                                            IONIA              MI   48846‐8589
STAUDER AUTOMOTIVE SERVICE    5930 COLLEGE AVE                                                                           OAKLAND            CA   94618‐1326
STAUDER, DIANE J              10017 RIVER RD                                                                             HURON              OH   44839‐9352
STAUDHAMMER PETER             49640 VIA CONQUISTADOR                                                                     LA QUINTA          CA   92253‐8472
STAUDHAMMER, PETER            49640 VIA CONQUISTADOR                                                                     LA QUINTA          CA   92253‐8472
STAUDINGER WILLIAM (459363)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                               STREET, SUITE 600
STAUDINGER, WILLIAM           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                               STREET, SUITE 600
STAUDT, ELAINE R              8400 VAMO RD UNIT 1044                                                                     SARASOTA           FL   34231‐7854
STAUDT, JOHN S                70555 FISHER RD                                                                            BRUCE TWP          MI   48065‐4124
STAUDTER, DALE J              13116 GRUBE ROAD                                                                           ST PARIS           OH   43072‐9718
STAUDTER, DALE J              13116 GRUBE RD                                                                             SAINT PARIS        OH   43072‐9718
STAUFENBERG, KURT C           911 SAN PASCUAL ST                                                                         SANTA BARBARA      CA   93101‐4323
STAUFENEGER, JAMES J          2747 LEETONIA RD                                                                           LEETONIA           OH   44431‐9725
STAUFENGER, JAMES J           2747 LEETONIA RD                                                                           LEETONIA           OH   44431‐9725
STAUFER, DONALD N             8313 SIERRA OVAL                                                                           CLEVELAND          OH   44130‐6161
STAUFER, LEONARD F            1160 SAND RUN RD                                                                           TROY               MO   63379‐3428
STAUFER, WILDA A              1160 SAND RUN RD                                                                           TROY               MO   63379‐3428
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Name                                 Address1                          Address2                         Address3   Address4         City               State Zip
STAUFFACHER, ALBERT H                9215 RIDGE RD                                                                                  GOODRICH            MI 48438‐9250
STAUFFACHER, GLORENE A               528 20TH AVE                                                                                   MONROE              WI 53566
STAUFFACHER, JAMES A                 132 APOLLO AVE                                                                                 FLUSHING            MI 48433
STAUFFENBERG, DREW B                 3 EILEEN CT                                                                                    EAST BRUNSWICK      NJ 08816‐2743
STAUFFENGER, NANCY R                 APT 608                           350 SOUTH ARCH AVENUE                                        ALLIANCE            OH 44601‐2679
STAUFFER DALLAS                      STAUFFER, DALLAS                  125 S WHITNEY                                                YOUNGSTOWN          OH 44509
STAUFFER HARRY JR (514065)           MOTLEY RICE                       321 S MAIN ST                    STE 200                     PROVIDENCE           RI 02903‐7109
STAUFFER JOHN J (494235)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA 23510
                                                                       STREET, SUITE 600
STAUFFER PAUL EDWARD (493116)        BARON & BUDD                      3102 OAK LANE AVE , SUITE 1100                               DALLAS             TX 75219
STAUFFER SR, DAVID E                 76 HARVEST RD                                                                                  WAYNESBORO         VA 22980‐9243
STAUFFER WILLIAM HENRY (ESTATE OF)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
(626786)                                                               STREET, SUITE 600
STAUFFER WILLIAM J (499193)          ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                                     WILMINGTON         DE   19801‐1813
STAUFFER, ALDA A                     PO BOX 579                                                                                     BRADFORD           PA   16701‐0579
STAUFFER, BECKI E                    PO BOX 4307                                                                                    WARREN             OH   44482‐4307
STAUFFER, BONNY J                    1756 ROSE CREST CT                                                                             HAZELWOOD          MO   63042‐1590
STAUFFER, CHARLES I                  9294 B DR N                                                                                    BATTLE CREEK       MI   49014‐8505
STAUFFER, CHARLES M                  3250 WOODLAND RD                                                                               LONGVIEW           TX   75602‐7538
STAUFFER, CHELSEA                    SAAD LEON J AND ASSOCIATES        1916 3RD AVE                                                 SAN DIEGO          CA   92101‐2301
STAUFFER, CHELSEA                    WICKMAN & WICKMAN                 5151 MURPHY CANYON RD STE 100                                SAN DIEGO          CA   92123‐4339

STAUFFER, CHELSEA                    GOMEZ LAW FIRM                    625 BROADWAY STE 1104                                        SAN DIEGO          CA   92101‐5418
STAUFFER, DALLAS                     125 S WHITNEY                                                                                  YOUNGSTOWN         OH   44509
STAUFFER, DAVID L                    8055 ENGELHURST DR                                                                             JENISON            MI   49428‐8516
STAUFFER, DENNIS C                   455 LOCKPORT ST                                                                                YOUNGSTOWN         NY   14174‐1163
STAUFFER, DICK E                     17122 14 MILE RD                                                                               BATTLE CREEK       MI   49014‐8930
STAUFFER, DONALD C                   8 VENTURA DR                                                                                   ORCHARD PARK       NY   14127‐2380
STAUFFER, E
STAUFFER, EMMA H                     3282 REVLON DR                                                                                 DAYTON             OH   45420‐1247
STAUFFER, FRED                       1626 W AKRON DR                                                                                DELTONA            FL   32725‐4853
STAUFFER, GENEVIEVE A                7546 REEDS CORNERS RD                                                                          DANSVILLE          NY   14437
STAUFFER, GEORGE V                   7818 PINES RD                                                                                  SHREVEPORT         LA   71129‐4402
STAUFFER, HARRY                      MOTLEY RICE                       312 S MAIN ST                    STE 200                     PROVIDENCE         RI   02903‐7109
STAUFFER, HORACE T                   439 EAST AVE                                                                                   TALLMADGE          OH   44278‐2062
STAUFFER, JACK D                     PO BOX 764                                                                                     CASTROVILLE        TX   78009‐0764
STAUFFER, JOAN M                     PO BOX 220                                                                                     HATFIELD           PA   19440‐0220
STAUFFER, JOHN J                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510‐2212
                                                                       STREET, SUITE 600
STAUFFER, JOSHUA DAVID               8055 ENGELHURST DR                                                                             JENISON            MI   49428‐8516
STAUFFER, JUDITH                     1115 LAVENDER ST                                                                               MONROE             MI   48162‐2872
STAUFFER, LEE E                      1004 SCHAVEY RD                                                                                DEWITT             MI   48820‐7738
STAUFFER, LINDA G                    5354 COPELAND AVE NW                                                                           WARREN             OH   44483‐1232
STAUFFER, LOUISE E                   4958 WHISPERING PINE LN                                                                        BLOOMFIELD HILLS   MI   48302‐2274
STAUFFER, MARGARET K                 6747 BRANDT PIKE                  APT 104                                                      HUBER HEIGHTS      OH   45424‐5424
STAUFFER, MARGARET K                 8666 BATON ROUGE DR                                                                            HUBER HEIGHTS      OH   45424‐1041
STAUFFER, MARIAN E                   15056 COUNTRY TRL                                                                              LEROY              MI   49655‐8111
STAUFFER, MARILYN P                  1 HANDHEWN WAY                                                                                 MANLIUS            NY   13104‐9477
STAUFFER, MILDRED R                  4296 MARCUS                                                                                    WATERFORD          MI   48329‐1426
STAUFFER, MILDRED R                  4296 MARCUS RD                                                                                 WATERFORD          MI   48329‐1426
STAUFFER, PAUL EDWARD                BARON & BUDD                      3102 OAK LANE AVE, SUITE 1100                                DALLAS             TX   75219
STAUFFER, RICHARD E                  100 S LINDEN RD                                                                                MANSFIELD          OH   44906‐3028
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Name                           Address1                          Address2                      Address3   Address4               City              State Zip
STAUFFER, RICHARD W            15056 COUNTRY TRL                                                                                 LEROY              MI 49655‐8111
STAUFFER, ROBERT J             2314 BARCLAY MESSERLY RD                                                                          SOUTHINGTON        OH 44470‐9740
STAUFFER, ROBERT L             120 E AMKEY WAY                                                                                   CARMEL             IN 46032‐5168
STAUFFER, RONALD J             4357 ROUNDTREE DR                                                                                 DAYTON             OH 45432‐1840
STAUFFER, ROY B                6 REYBURN CT                                                                                      BEAR               DE 19701‐1123
STAUFFER, SANDRA               6301 SPRING OAK CT                                                                                TAMPA              FL 33625‐1507
STAUFFER, STEPHEN J            1357 W 100 S                                                                                      FRANKLIN           IN 46131‐8425
STAUFFER, THELMA               12 SUNNYSIDE DR                                                                                   DANSVILLE          NY 14437‐1148
STAUFFER, TRAVIS T             5186 SMITH STEWART RD                                                                             GIRARD             OH 44420‐1338
STAUFFER, VESTA S              5464 HOLIDAY PARK BLVD                                                                            NORTH PORT         FL 34287‐2602
STAUFFER, VIRGINIA             284 SWEET BIRCH LA                                                                                ROCHESTER          NY 14615‐1218
STAUFFER, WILLIAM HENRY        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510‐2212
                                                                 STREET, SUITE 600
STAUFFER, WILLIAM J            11103 HERITAGE DR                                                                                 TWINSBURG         OH   44087‐1110
STAUFFER, WILLIAM JOSEPH       ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                                        WILMINGTON        DE   19801‐1813
STAUFFER, WILLIAM R            8890 SE 168TH SEDGEWICK PL                                                                        THE VILLAGES      FL   32162
STAUFT III, DANIEL B           5616 SELU DR                                                                                      LIBERTY TWP       OH   45011‐8296
STAUFT III, DANIEL B           5616 SELU DRIVE                                                                                   LIBERTY TWP       OH   45011‐8296
STAUGH JR, JOHN H              4411 BARDSHAR RD                                                                                  CASTALIA          OH   44824‐9472
STAUGH‐SHUEY, DARLENE          1505 PEARL ST                                                                                     SANDUSKY          OH   44870
STAUNTON, MONICA M             PO BOX 570609                                                                                     WHITESTONE        NY   11357‐0609
STAUP, BEN D                   2293 ROCHELLE PARK DR                                                                             ROCHESTER HILLS   MI   48309‐3743
STAUP, BEVERLY J               9818 CHERRY DR                                                                                    READING           MI   49274‐9400
STAUP, CHARLES N               5972 TOMBERG ST.                                                                                  HUBER HEIGHTS     OH   45424‐5336
STAUP, NANCY R                 P. O. BOX 251                                                                                     MONTEREY          TN   38574‐0251
STAUP, NANCY R                 PO BOX 251                                                                                        MONTEREY          TN   38574‐0251
STAUP, NORMA                   228 E SIEBENTHALER AVE                                                                            DAYTON            OH   45405
STAUP, RICHARD M               739 OLD STANDING STONE RD                                                                         HILHAM            TN   38568‐6211
STAUP, ROBERT C                798 LONG RD                                                                                       XENIA             OH   45385‐8420
STAUP, SHIRLEY A               2116 BRANDT PIKE                                                                                  DAYTON            OH   45404‐5404
STAURING, DAVID J              222 RENWOOD AVE                                                                                   KENMORE           NY   14217‐1049
STAURING, DAVID JOHN           222 RENWOOD AVE                                                                                   KENMORE           NY   14217‐1049
STAURING, GLENDA C.            222 RENWOOD AVE                                                                                   KENMORE           NY   14217‐1049
STAUSKAS, ALEXANDRA            3156 GLOUCHESTER DR APT 137A                                                                      TROY              MI   48084‐2734
STAUTS CYNTHIA CADO            STATE FARM AUTOMOBILE INSURANCE   PO BOX 81085                                                    CONYERS           GA   30013‐9085
                               COMPANY
STAUTS CYNTHIA CADO            STAUTS, CYNTHIA CADO              PO BOX 81085                                                    CONYERS           GA   30013‐9085
STAUTS, CYNTHIA CADO           PARNELL RONALD W                  PO BOX 81085                                                    CONYERS           GA   30013‐9085
STAUTS, TINA L                 PO BOX 292                                                                                        SCOTTSVILLE       TX   75688‐0292
STAUTS, TINA L.                PO BOX 292                                                                                        SCOTTSVILLE       TX   75688‐0292
STAUTZENBERGER COLLEGE         1796 INDIAN WOOD CIR                                                                              MAUMEE            OH   43537‐4007
STAVALE, JANICE                400 ABBEY WOOD DR                                                                                 ROCHESTER         MI   48306‐2603
STAVALE, LOUIS                 14309 RAINBOW AVE                                                                                 CLEVELAND         OH   44111‐2319
STAVELEY NDT/KENNEWI           421 N QUAY ST                                                                                     KENNEWICK         WA   99336‐7735
STAVELEY SERVICES              18419 EUCLID AVE                                                                                  CLEVELAND         OH   44112‐1016
STAVELEY SERVICES CANADA INC   916 GATEWAY                                                                BURLINGTON CANADA ON
                                                                                                          L7L 5K7 CANADA
STAVELY, CAROL A               8046 GEDDES RD                                                                                    SAGINAW           MI   48609‐9530
STAVELY, CHRISTOPHER A         1760 N MILLER RD                                                                                  SAGINAW           MI   48609‐9592
STAVELY, GREG A                1760 N MILLER RD                                                                                  SAGINAW           MI   48609‐9592
STAVELY, JULIA A               17745 GRATIOT RD                                                                                  HEMLOCK           MI   48626‐8622
STAVELY, MARLIN                863 ROSS BRANCH RD                                                                                ERIN              TN   37061‐6673
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Name                                Address1                         Address2                        Address3   Address4              City             State Zip
STAVELY, MICHAEL J                  15 NORRIS RD                                                                                      POUGHKEEPSIE      AR 72569‐9305
STAVELY, RICKY L                    2688 MCKNIGHT RD                                                                                  CULLEOKA          TN 38451‐2607
STAVELY, SARAH F                    863 ROSS BRANCH RD                                                                                ERIN              TN 37061‐6673
STAVER MATTHEW                      DBA MATTHEW STAVER PHOTOGRAPHY   5122 S IRIS WAY                                                  LITTLETON         CO 80123‐2155

STAVER, JANE E                      5343 S RANGELINE RD                                                                               WEST MILTON      OH   45383‐9624
STAVER, JANE E                      5343 S. RANGE LINE RD                                                                             WEST MILTON      OH   45383‐9624
STAVER, JOHN A                      PO BOX 20264                                                                                      SAGINAW          MI   48602
STAVER, KENNETH E                   1743 FAIRFIELD ST                                                                                 SAGINAW          MI   48602‐3223
STAVER, WANDA L                     2903 DARTMOUTH DRIVE                                                                              MIDLAND          MI   48642‐4629
STAVES, RUSSELL W                   2937 NE 43RD ST                                                                                   KANSAS CITY      MO   64117‐1667
STAVESKI RALPH (491325)             BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD       OH   44067
                                                                     PROFESSIONAL BLDG
STAVESKIE RON (491326)              BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD       OH 44067
                                                                     PROFESSIONAL BLDG
STAVICH, CHRISTOPHER S              15107 HESBY ST                                                                                    SHERMAN OAKS     CA 91403‐1246
STAVINOHA EUGENE F (402891)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510
                                                                     STREET, SUITE 600
STAVINOHA, EUGENE F                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510‐2212
                                                                     STREET, SUITE 600
STAVIS, MAHLON                      563 ANNA ST                                                                                       DAYTON           OH   45402‐5509
STAVIS, SHANNON M                   563 ANNA ST                                                                                       DAYTON           OH   45402‐5509
STAVIS, SHARLA                      563 ANNA ST                                                                                       DAYTON           OH   45407
STAVISH DANIEL                      697 LATONA RD                                                                                     MORRISVILLE      PA   19067‐7510
STAVISH JR, DANIEL R                571 BUCK DR                                                                                       FAIRLESS HILLS   PA   19030‐3701
STAVISH, ANDREW D                   6484 S 123RD ST                                                                                   FRANKLIN         WI   53132‐1024
STAVISH, ANDREW DAVID               6484 S 123RD ST                                                                                   FRANKLIN         WI   53132‐1024
STAVISH, DANIEL                     571 BUCK DR                                                                                       FAIRLESS HILLS   PA   19030‐3701
STAVISH, DANIEL R                   697 LATONA RD                                                                                     MORRISVILLE      PA   19067‐7510
STAVN, LEORA V                      2120 S JACKSON ST                                                                                 JANESVILLE       WI   53546‐3225
STAVOLA, KATHLEEN A                 60 TWO STONE DR                                                                                   WETHERSFIELD     CT   06109‐4165
STAVOLA, ROSEMARIE                  126 FAIRLANE DRIVE                                                                                WETHERSFIELD     CT   06109‐4121
STAVRAKIDIS IOANNIS / STAVRAKIDIS   ARTEMIDOST                                                                  VOULA 16673 ATHENS
PASCHALIS                                                                                                       GREECE
STAVRAKIDIS IOANNIS/ STAVRAKIDIS    ARTEMIDOS 7 VOULA                                                           16673 ATHENS GREECE
PASCHALIS
STAVRAKIS, ANN                      414 S NEWKIRK ST                                                                                  BALTIMORE        MD   21224‐2633
STAVRAKIS, JEFFREY W                W142N6635 MEMORY RD                                                                               MENOMONEE FLS    WI   53051‐5118
STAVRESKI, DIMKO                    6563 PAUL REVERE LN                                                                               CANTON           MI   48187‐3053
STAVRESKI, PARA                     6563 PAUL REVERE LN                                                                               CANTON           MI   48187‐3053
STAVRESKI, SIME                     44063 YORKSHIRE DR                                                                                CANTON           MI   48187‐2859
STAVRIDIS, OLGA M                   4397 CASTLETON RD W                                                                               COLUMBUS         OH   43220
STAVROPOULOS, DENISE F              2353 SOWELL MILL PIKE                                                                             COLUMBIA         TN   38401‐8029
STAVROPOULOS, JUDITH A              19505 QUESADA AVE APT T202                                                                        PORT CHARLOTTE   FL   33948‐3131
STAVROPULOS, ANN M                  114 CHERRY CREEK LN                                                                               GEORGETOWN       KY   40324
STAVROPULOS, JAMES                  PO BOX 859                                                                                        LINCOLN PARK     MI   48146‐0859
STAVROPULOS, THELMA K               P O BOX 859                                                                                       LINCOLN PARK     MI   48146‐0859
STAVROPULOS, THELMA K               PO BOX 859                                                                                        LINCOLN PARK     MI   48146‐0859
STAVROS & THEODORA PROTOFANOUSIS    3315 SPRINGDALE AVE                                                                               GLENVIEW         IL   60025‐2689

STAVROS DIAMANDIS                   6661 SHAWBUTTE ST                                                                                 POLAND           OH 44514‐2170
STAVROS I MANGOPOULOS               551 MAPLEHILL AVE                                                                                 LANSING          MI 48910‐4570
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STAVROS MANGOPOULOS           551 MAPLEHILL AVE                                                                          LANSING               MI 48910‐4570
STAVROS MITROPOULOS           11239 PATTY ANN LN                                                                         BRUCE TWP             MI 48065‐5303
STAVROS, CONNIE               194 SPRINGDALE LANE                                                                        BLOOMINGDALE           IL 60108‐3025
STAVROS, MARLENE A            210 W FAIRFIELD AVE                                                                        LANSING               MI 48906‐3116
STAVROS, STEVE P              8780 W CUTLER RD                                                                           DEWITT                MI 48820‐8064
STAVROU, DEMETRIOS J          9040 MAPLE RUN CT                                                                          SHELBY TOWNSHIP       MI 48317‐1804
STAVROULA ZOIS                5400 RED COACH RD                                                                          KETTERING             OH 45429‐6114
STAWARA, TIMOTHY A            4226 COLUMBIA PIKE                                                                         FRANKLIN              TN 37064‐9680
STAWASZ, ALICE JEAN           5204 BLOSSOM DR                                                                            FLUSHING              MI 48433‐9024
STAWASZ, CAROLYN              7508 WINTHROP                                                                              DETROIT               MI 48228‐3693
STAWASZ, CAROLYN              7508 WINTHROP ST                                                                           DETROIT               MI 48228‐3693
STAWASZ, DOROTHY              6766 HEYDEN ST                                                                             DETROIT               MI 48228‐3970
STAWASZ, HENRY J              35536 W CHICAGO ST                                                                         LIVONIA               MI 48150‐2519
STAWASZ, HENRY JOHN           35536 W CHICAGO ST                                                                         LIVONIA               MI 48150‐2519
STAWASZ, JAMES H              1695 COMMERCE PINES CIR                                                                    COMMERCE TWP          MI 48390‐1571
STAWASZ, JAMES HENRY          1695 COMMERCE PINES CIR                                                                    COMMERCE TWP          MI 48390‐1571
STAWASZ, MICHEL L             3301 GULL RD APT 501                                                                       KALAMAZOO             MI 49048‐7361
STAWASZ, MICHEL L             3301 GULL RD                  APT 501                                                      KALAMAZOO             MI 49048‐7361
STAWASZ, THOMAS T             1408 COUTANT ST                                                                            FLUSHING              MI 48433‐1821
STAWASZ, THOMAS THEODORE      1408 COUTANT ST                                                                            FLUSHING              MI 48433‐1821
STAWECKI, MARY C              2201 E LAKE MITCHELL DR                                                                    CADILLAC              MI 49601‐8543
STAWIARSKA, DIANE M           6106 MISSION DR                                                                            WEST BLOOMFIELD       MI 48324‐1392
STAWIARSKA, DIANE MC DONALD   6106 MISSION DR                                                                            WEST BLOOMFIELD       MI 48324‐1392
STAWIARSKI, KARIN R           PO BOX 4205                                                                                CHESTERFIELD          MO 63006‐4205
STAWIARSKI, T T               6106 MISSION DR                                                                            WEST BLOOMFIELD       MI 48324‐1392
STAWIARSKI, WILLIAM P         PO BOX 4205                                                                                CHESTERFIELD          MO 63006‐4205
STAWIASZ, RONALD S            26332 YORK RD                                                                              HUNTINGTON WOODS      MI 48070‐1313
STAWICK, BARBARA G            6150 W SURREY RD                                                                           BLOOMFIELD VILLAGE    MI 48301‐1661
STAWICKI MICHAEL (486893)     BARON & BUDD                  3102 OAK LANE AVE , SUITE 1100                               DALLAS                TX 75219
STAWICKI PHILLIP              STAWICKI, PHILLIP             3 SUMMIT PARK DR STE 100                                     INDEPENDENCE          OH 44131‐2598
STAWICKI, MARIA W             1553 SLEEPY HOLLOW ROAD                                                                    ATHENS                NY 12015‐3615
STAWICKI, MICHAEL             BARON & BUDD                  3102 OAK LANE AVE, SUITE 1100                                DALLAS                TX 75219
STAWICKI, MICHAEL J           10279 EDGERTON RD                                                                          N ROYALTON            OH 44133‐5540
STAWICKI, PHILLIP             KROHN & MOSS                  3 SUMMIT PARK DR STE 100                                     INDEPENDENCE          OH 44131‐2598
STAWINSKI, CAROL A            8753 EMBASSY DR                                                                            STERLING HGTS         MI 48313‐3226
STAWINSKI, CHRISTIAN C        550 W SNELL RD                                                                             ROCHESTER             MI 48306‐1729
STAWINSKI, ELIZABETH J        626 KENMORE AVE APT 3                                                                      BUFFALO               NY 14216‐1633
STAWINSKI, JOSEPH P           337 OAK AVE                                                                                WOODBRIDGE            NJ 07095‐1605
STAWIS                        11900 EAST 12 MILE RD                                                                      WARREN                MI 48093
STAWISKI, STELLA              5023 S LATROBE AVE                                                                         CHICAGO                IL 60638‐1725
STAWISKI, STELLA              5023 S. LATROBE                                                                            CHICAGO                IL 60638‐1725
STAWSKI, LUCILLE H            22128 HASKELL ST                                                                           TAYLOR                MI 48180‐2705
STAWSKI, LUCILLE H            22128 HASKELL                                                                              TAYLOR                MI 48180‐2705
STAWSKI, MARIE                11829 SUSAN AVE                                                                            WARREN                MI 48093‐4632
STAWSKI, MARY ANNE C          51808 LIONEL LN               C/O JEFFREY PAUL MARTIN                                      CHESTERFIELD          MI 48051‐2332
STAWSKI, RICHARD              30 LYNNS CT                                                                                MORRISVILLE           PA 19067‐7521
STAWSKI, RICHARD              2081 TYLER ST                                                                              UNION                 NJ 07083‐5319
STAY THEODORE & SONS INC      14 KAYCEE LOOP RD                                                                          PLATTSBURGH           NY 12901‐2009
STAY, MILDRED L               8671 CRABAPPLE LN                                                                          WARREN                MI 48093‐5578
STAY, THOMAS F                8671 CRABAPPLE LN                                                                          WARREN                MI 48093‐5578
STAY, THOMAS F.               8671 CRABAPPLE LN                                                                          WARREN                MI 48093‐5578
STAY, TIMOTHY F               263 CHARLOTTE ST                                                                           MULLIKEN              MI 48861‐9739
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Name                         Address1                       Address2                          Address3   Address4         City              State Zip
STAYANCHO, DONALD J          109 LAKE BREEZE CIR                                                                          MARBLEHEAD         OH 43440‐2215
STAYBRIDGE SUITES‐CITY CTR   ATTN: GREG ESLICK              535 S WEST ST                                                 INDIANAPOLIS       IN 46225‐1139
STAYDUHAR, DONNA M           155 COUNTRYVIEW DR                                                                           MC KEES ROCKS      PA 15136‐1264
STAYEN, ARNOLD R             APT A                          2762 ELDORA CIRCLE                                            LAS VEGAS          NV 89146‐5449
STAYER, FRED P               707 NEWBERRY ST                                                                              BOWLING GREEN      KY 42103‐1591
STAYER, JOHN M               1474 KINMORE ST                                                                              DEARBORN HTS       MI 48127‐3413
STAYER, KATHLEEN             2049 UNIVERSITY ST.                                                                          LINCOLN PARK       MI 48146‐1339
STAYER, VICTORIA             1344 WOODMERE ST                                                                             DETROIT            MI 48209‐1738
STAYHUE, FRED A              1450 ROY RD                                                                                  OXFORD             MI 48371‐3241
STAYLOR CHARLES (459364)     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                            STREET, SUITE 600
STAYLOR, CHARLES             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA 23510‐2212
                                                            STREET, SUITE 600
STAYMATES, PAUL C            8346 BUFFHAM RD                                                                              LODI              OH 44254‐9704
STAYSNIAK LEONARD (447945)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD        OH 44067
                                                            PROFESSIONAL BLDG
STAYT, FLOYD J               5469 RED OAK CT                                                                              LINDEN            MI   48451‐8833
STAYT, KENNETH W             14235 VASSAR RD                                                                              MILLINGTON        MI   48746‐9210
STAYT, SHELLEY M             14235 VASSAR RD                                                                              MILLINGTON        MI   48746‐9210
STAYTON EDWARD (655729)      LEVIN SIMES & KAISER           160 SANSOME STREET ‐ 12TH FLOOR                               SAN FRANCISCO     CA   94104

STAYTON, CLAUDIA J           10 WICKLOW RD                                                                                BEAR              DE 19701‐6345
STAYTON, EDWARD              LEVIN SIMES & KAISER           160 SANSOME STREET ‐ 12TH FLOOR                               SAN FRANCISCO     CA 94104

STAYTON, GENE E              5400 HELEN AVE                                                                               JENNINGS          MO   63136‐3531
STAYTON, JOHNNIE R           5377 GROVELAND RD                                                                            HOLLY             MI   48442‐9468
STAYTON, LANOUS R            94 RIVER RD                                                                                  LUDLOW            KY   41016‐1583
STAYTON, MILDRED I           3621 LAW RD                                                                                  NORTH BRANCH      MI   48461‐8697
STAYTON, MILDRED I           3621 LAW ROAD                                                                                NORTH BRANCH      MI   48461
STAYTON, RICHARD B           7200 MCCANDLISH RD                                                                           GRAND BLANC       MI   48439‐7410
STAYTON, RICHARD R           8129 BURPEE RD                                                                               GRAND BLANC       MI   48439‐7409
STAYTON, SALLY J             8129 BURPEE RD                                                                               GRAND BLANC       MI   48439‐7409
STAYTON‐DIEHL, ROBIN L       8057 BURPEE RD                                                                               GRAND BLANC       MI   48439‐7409
STAYZER, MARILYN T           4829A STURBRIDGE LN                                                                          LOCKPORT          NY   14094‐3459
STAZA, BETTY A               54914 SPYRIA DR                                                                              SHELBY TOWNSHIP   MI   48315‐1427
STAZIE, JOSEPH D             301 CROSBY LN                                                                                ROCHESTER         NY   14612‐3150
STAZIE, JOSEPH D             301 CROSBY LANE                                                                              ROCHESTER         NY   14612‐3150
STAZKO, LORI A               12823 CARRIAGE RD                                                                            POWAY             CA   92064‐6045
STC SERVICES                 7086 STATE ROUTE 546                                                                         BELLVILLE         OH   44813‐9316
STC TECH/PORTAGE             9718 PORTAGE RD                                                                              PORTAGE           MI   49002‐7251
STCHARLES, RANDY D           37562 DALE DR                                                                                NEW BOSTON        MI   48164‐9047
STCHARLES, STEVEN R          1802 LYNBROOK DR                                                                             FLINT             MI   48507‐2232
STCHUR, DAVID J              1754 WARREN DR                                                                               FAIRVIEW          MI   48621‐8725
STCHUR, ERIC J               9575 CAVELL ST                                                                               LIVONIA           MI   48150‐3219
STCHUR, ERIC JOSEPH          9575 CAVELL ST                                                                               LIVONIA           MI   48150‐3219
STCLAIR, CLARA M             3112 E 6TH ST                                                                                ANDERSON          IN   46012‐3826
STCLAIR, DONALD W            2190 GLENCOE RD                                                                              CULLEOKA          TN   38451‐2153
STCLAIR, DOUG P              814 RICHARD ST                                                                               HOLLY             MI   48442
STCLAIR, GERALDINE K         1265 E CO RD ‐ 550 N                                                                         KOKOMO            IN   46901
STCLAIR, JANET R             2320 E 9TH ST                                                                                ANDERSON          IN   46012‐4309
STCLAIR, JOSEPHINE M         1935 MORRIS RD                                                                               LAPEER            MI   48446‐9323
STCLAIR, KEITH L             11400 E LENNON RD                                                                            LENNON            MI   48449‐9666
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Name                              Address1                            Address2                        Address3   Address4                  City              State Zip
STCLAIR, KENNETH R                BOONE ALEXANDRA                     205 LINDA DR                                                         DAINGERFIELD       TX 75638‐2107
STCLAIR, MADENA M                 513 N HIGH ST                                                                                            CORTLAND           OH 44410‐1026
STCLAIR, MAURICE L                1265 E 550 N                                                                                             KOKOMO             IN 46901‐8574
STCLAIR, NORMA J                  2010 E 500 N                                                                                             KOKOMO             IN 46901‐8122
STCLAIR, PATRICK A                1437 VIENNA RD                                                                                           NILES              OH 44446‐3597
STCYR, LARRY F                    18 HARBOR PARK                                                                                           WILSON             NY 14172‐9402
STCYR, NOEL D                     36 GAFFNEY RD                                                                                            LOCKPORT           NY 14094‐5536
STE AUTO CENTRE                   311 HOPKINS ST UNIT 6                                                          WHITBY ON L1N 2C1
                                                                                                                 CANADA
STE HENRI FRAISE FILS & CIE       BOITE POSTALE 28                                                               ANTANANARIVO
                                                                                                                 MADAGASCAR
STE JOB ANCIENS ETABLISSEMENTS    2301 RAVINE WAY                     REPUBLIC TECHNOLOGIES                                                GLENVIEW           IL   60025‐7627
BARDOU‐JOB & PAUILHAC
STE MARIE AUTO ELECTRIQUE INC.    559 BOUL VACHON N                                                              SAINTE‐MARIE QC G6E 1L8
                                                                                                                 CANADA
STE THERESE AUTOS INC             105 EST, BOUL. DESJARDINS                                                      STE‐THERESE CANADA PQ
                                                                                                                 J7E 1C5 CANADA
STE. GENEVIEVE COUNTY COLLECTOR   PO BOX 448                                                                                               STE GENEVIEVE     MO 63670‐0448
STE. HENRI FRAISE FILS & CIE      RUE RAVONINAHITRINIARIVO                                                       ANTANANARIVO 101
                                                                                                                 MADAGASCAR
STEABAN, FREDERICK H              1104 SANDSTONE DR                                                                                        JEFFERSONVILLE    IN 47130‐8448
STEABAN, HENRY W                  47811 LIBERTY DR                                                                                         SHELBY TOWNSHIP   MI 48315‐4536
STEACY, ROY A                     20419 FOSTER DR                                                                                          CLINTON TWP       MI 48036‐2218
STEACYS EXPRESS                   RR 2                                                                           LANSDOWNE ON K0E 1L0
                                                                                                                 CANADA
STEAD BRYAN                       208 DEACON STREET                                                              THEDFORD CANADA ON
                                                                                                                 N0M 2N0 CANADA
STEAD LLOYD C (439539)            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                          NORFOLK           VA 23510
                                                                      STREET, SUITE 600
STEAD, ALICE S.                   17237 BUCKS LAKE ROAD                                                                                    GUYSVILLE         OH 45735‐9418
STEAD, BRIAN L                    814 FITTING AVE                                                                                          LANSING           MI 48917‐2230
STEAD, CLARE H                    14222 NICHOLS RD                                                                                         MONTROSE          MI 48457‐9413
STEAD, DOLORES
STEAD, EMERSON J                  1431 LYNN STREET                                                                                         OWOSSO            MI 48867‐3337
STEAD, LESLIE                     2006 REMINGTON PL                                                                                        INDIANAPOLIS      IN 46227‐5956
STEAD, LLOYD C                    GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                          NORFOLK           VA 23510‐2212
                                                                      STREET, SUITE 600
STEAD, LOIS J                     16203 PALM ST                                                                                            CHANNELVIEW       TX    77530‐2804
STEAD, MAXINE                     1431 LYNN STREET                                                                                         OWOSSO            MI    48867‐3337
STEAD, MICHAEL                    OGG CORDES MURPHY & IGNELZI         245 FORT PITT BOULEVARD                                              PITTSBURGH        PA    15222
STEAD, RICHARD B                  1981 NE 196TH TER                                                                                        MIAMI             FL    33179‐3629
STEADHAM, HELEN M                 P.O.BOX 34                                                                                               FORESTBURG        TX    76239
STEADHAM, HELEN M                 PO BOX 34                                                                                                FORESTBURG        TX    76239‐0034
STEADING ROBERT E (492170)        BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD        OH    44067
                                                                      PROFESSIONAL BLDG
STEADLEY, RICHARD D               5814 COTTAGE DR                                                                                          BELLAIRE          MI    49615‐9221
STEADMAN JANIS                    2610 ISLAND OAKS E                                                                                       LAKELAND          FL    33805‐7635
STEADMAN JR, ROBERT L             1770 S US 23                                                                                             HARRISVILLE       MI    48740‐9559
STEADMAN JR., LEO R               11343 N ELMS RD                                                                                          CLIO              MI    48420‐9468
STEADMAN JR., LEO ROBERT          11343 N ELMS RD                                                                                          CLIO              MI    48420‐9468
STEADMAN RICHARD K (356284)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                          NORFOLK           VA    23510
                                                                      STREET, SUITE 600
                               09-50026-mg               Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                           Address1                          Address2                        Address3   Address4               City                 State Zip
STEADMAN RONALD B (492171)     BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD            OH 44067
                                                                 PROFESSIONAL BLDG
STEADMAN, CHERYL               1251 OLD WANUS DR                                                                                   MT PLEASANT          SC    29464‐5237
STEADMAN, CHRISTINE B          75 HUNTOON MEM HWY BLDG4 UNIT5                                                                      LEICESTER            MA    01524
STEADMAN, CLIFFORD W           7328 MELANIE LN                                                                                     KNOXVILLE            TN    37918‐5634
STEADMAN, DAVID                151 CESSNA LN                                                                                       SHELBYVILLE          TN    37160‐7159
STEADMAN, DAVID N              5493 MAPLE RDG                                                                                      HASLETT              MI    48840‐8651
STEADMAN, DEBRA M              151 CESSNA LN                                                                                       SHELBYVILLE          TN    37160‐7159
STEADMAN, DONALD W             206 MOUNT PLEASANT BLVD                                                                             IRWIN                PA    15642‐4727
STEADMAN, DURRELL S            132 CLEVELAND ST                                                                                    BAD AXE              MI    48413‐1109
STEADMAN, EARL S               740 SHADOWOOD LN SE                                                                                 WARREN               OH    44484‐2441
STEADMAN, GERALD S             127 HILL CIR ROSE LK FOREST                                                                         LEROY                MI    49655
STEADMAN, HOWARD               1251 OLD WANUS DR                                                                                   MOUNT PLEASANT       SC    29464‐5237
STEADMAN, J C                  1332 E NORTH ST                                                                                     GREENVILLE           SC    29607‐1356
STEADMAN, JERRY R              26841 W DAVISON                                                                                     REDFORD              MI    48239‐2706
STEADMAN, JERRY ROBERT         26841 W DAVISON                                                                                     REDFORD              MI    48239‐2706
STEADMAN, KENNETH M            527 STAFFORD RD                                                                                     JANESVILLE           WI    53546‐1920
STEADMAN, LEO R                6134 W WILSON RD                                                                                    CLIO                 MI    48420‐9462
STEADMAN, MURIEL B             452 CAPISTRANO DR                                                                                   PALM BEACH GARDENS   FL    33410‐4300
STEADMAN, RICHARD K            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK              VA    23510‐2212
                                                                 STREET, SUITE 600
STEADMAN, ROBERT L             50810 BALTIMORE ST                                                                                  NEW BALTIMORE        MI    48047‐1686
STEADMAN, ROSELENE             1430 HOUSE RD                                                                                       WEBBERVILLE          MI    48892‐9792
STEADMAN, WELLS                851 COUNTY ROUTE 124                                                                                REXVILLE             NY    14877‐9615
STEADMAN‐JERSEY, THOMAS A      4185 DALLAS AVE                                                                                     HOLT                 MI    48842‐1735
STEAGALL, BARBARA J            490 GRIFFIN HOLLOW RD                                                                               SHADY VALLEY         TN    37688‐5014
STEAGALL, CAROL A              614 DILL LN                                                                                         MURFREESBORO         TN    37130‐5811
STEAGALL, DURWARD A            930 N CHURCH ST                                                                                     MOUNTAIN CITY        TN    37683‐1110
STEAGALL, GAROLD L             13131 COLUMBIA                                                                                      REDFORD              MI    48239
STEAGALL, HAYDEN B             PO BOX 275                                                                                          BAINBRIDGE           IN    46105‐0275
STEAGALL, KENNETH L            490 GRIFFIN HOLLOW RD                                                                               SHADY VALLEY         TN    37688‐5014
STEAGALL, MONTA S              588 BRICKYARD BRANCH RD                                                                             SHADY VALLEY         TN    37688‐5003
STEAGALL, TERRY S              614 DILL LN                                                                                         MURFREESBORO         TN    37130‐5811
STEAKLEY, SALETA C.            8378 SOPHIE LN                                                                                      GREENWOOD            LA    71033‐3400
STEAKLEY, WHITIE H             8378 SOPHIE LN                                                                                      GREENWOOD            LA    71033‐3400
STEAKLEY, WHITIE HENRY         8378 SOPHIE LN                                                                                      GREENWOOD            LA    71033‐3400
STEALTH AUTO TECH              8059 S VINCENNES AVE                                                                                CHICAGO              IL    60620‐1759
STEALTH COMPUTER CORPORATION   4‐530 ROWNTREE DAIRY RD                                                      WOODBRIDGE CANADA ON
                                                                                                            L4L 8H2 CANADA
STEAM ECONOMIES CO INC         2531 CRESCENTVILLE RD                                                                               CINCINNATI           OH    45241‐1575
STEAM ECONOMIES COMPANY INC    5409 DRY RUN RD                                                                                     MILFORD              OH    45150‐9412
STEANS, ANDREW                 902 IRVING WAY                                                                                      ANDERSON             IN    46016‐2755
STEANS, ARLEETHA W             2424 LOCUST ST                                                                                      ANDERSON             IN    46016‐4931
STEANS, DAWNITA R
STEANS, HAROLD                 PO BOX 655                                                                                          ANDERSON              IN   46015‐0655
STEANS, MARVA S                2527 PALOMINO CT                                                                                    ANDERSON              IN   46012‐4486
STEANS, NIKKI D
STEAPLETON, ANNA M             1440 JENNY RIDGE ROAD                                                                               CARRIER MILL         IL    62917‐2304
STEAR, JULIA                   RR 1                                                                                                W FARMINGTON         OH    44491
STEARLE, BARBARA E             6356 MAPLEHILL DR                                                                                   BRIGHTON             MI    48116‐9556
STEARLEY, COLLEEN M            721 WALNUT STREET                                                                                   GREENFIELD           IN    46140‐2382
STEARLEY, JAMES J              2758 E STATE ROAD 42                                                                                BRAZIL               IN    47834‐7681
                                      09-50026-mg            Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                                  Address1                        Address2                        Address3   Address4         City            State Zip
STEARLEY, ROBERTA                     5571 PARVIEW #103                                                                           CLARKSTON        MI 48346
STEARLEY, ROBERTA                     5571 PARVIEW DR APT 103                                                                     CLARKSTON        MI 48346‐2832
STEARLEY, WILBUR L                    5890 N COUNTY ROAD 300 E                                                                    BRAZIL           IN 47834‐7684
STEARLIN GOLDEN                       93 CAGLE BRANCH RD                                                                          JASPER           GA 30143‐5746
STEARLYS MOTOR FREIGHT INC            PO BOX 450                                                                                  COLLEGEVILLE     PA 19426‐0450
STEARMAN WILBURN D (660953)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                                      STREET, SUITE 600
STEARMAN, KATHERINE L                 9021 W 52ND STREET                                                                          INDIANAPOLIS    IN 46234‐2806
STEARMAN, KATHERINE L                 9021 W 52ND ST                                                                              INDIANAPOLIS    IN 46234‐2806
STEARMAN, WILBURN D                   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510‐2212
                                                                      STREET, SUITE 600
STEARN, BERTHA                        20660 SECLUDED LANE                                                                         SOUTHFIELD      MI    48075‐3871
STEARN, CHERYL L                      536 FRANK SHAW RD                                                                           TALLAHASSEE     FL    32312‐1047
STEARN, STEVEN                        KIMMEL & SILVERMAN PC           1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL     NJ    08003
STEARN, TINA                          KIMMEL & SILVERMAN PC           1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL     NJ    08003
STEARNS AUTO SALES                    71 MECHANIC ST., RTE.140                                                                    BELLINGHAM      MA    02019
STEARNS BANK N A                      FRMLY RICE CHADWICK RUBBER CO   PO BOX 634115                                               CINCINNATI      OH    45263‐4115
STEARNS CHEVROLET, INC.               428 AUTO PARK DR                                                                            GRAHAM          NC    27253‐2965
STEARNS CHEVROLET, INC.               CARROLL STEARNS                 428 AUTO PARK DR                                            GRAHAM          NC    27253‐2965
STEARNS DONNA S                       STEARNS, DONNA S                PO BOX 907                                                  MARION          IL    62959‐7407
STEARNS IVY SR (ESTATE OF) (511766)   COHEN PLACIELLA & ROTH          1705 TWO PENN CENTER PLAZA                                  PHILADELPHIA    PA    19082
STEARNS IVY SR (ESTATE OF) (511766)   HOAGLAND LONGO MORAN DUNST &    156 WILLIAM STREET 11TH FLOOR                               NEW YORK        NY    10038
                                      DUKAS
STEARNS IVY SR (ESTATE OF) (513433)   (NO OPPOSING COUNSEL)
STEARNS JAMES F (429868)              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                                      STREET, SUITE 600
STEARNS JR, DICK E                    2051 SE 28TH TER                                                                            CAPE CORAL      FL    33904‐4037
STEARNS MARY ANN                      3716 HAMPSTEAD DR                                                                           SYLVANIA        OH    43560‐5503
STEARNS PATRICK R (451408)            SIMMONS FIRM                    PO BOX 559                                                  WOOD RIVER      IL    62095‐0559
STEARNS, ARTHUR G                     3880 N HIGHWAY A1A APT 905                                                                  FORT PIERCE     FL    34949‐8538
STEARNS, BRENDA J                     6362 STURBRIDGE CT                                                                          SARASOTA        FL    34238‐2780
STEARNS, CHARLES E                    1899 COUNTY ROAD 3512                                                                       DIKE            TX    75437‐3409
STEARNS, CHARLES N                    3451 LILA DR                                                                                ORLANDO         FL    32806‐6543
STEARNS, CREAL E                      424 STRATFORD SQUARE BLVD                                                                   DAVISON         MI    48423‐1662
STEARNS, DAVID J                      5230 S DEHMEL RD                                                                            FRANKENMUTH     MI    48734‐9708
STEARNS, DAVID R                      170 E PARKWAY DR                                                                            BOISE           ID    83706‐4010
STEARNS, DONALD D                     9125 SLY FOX LOOP                                                                           LAKELAND        FL    33810‐2343
STEARNS, DONALD DOUGLAS               9125 SLY FOX LOOP                                                                           LAKELAND        FL    33810‐2343
STEARNS, DOUGLAS L                    5145 MEADOWBROOK LN                                                                         FLUSHING        MI    48433‐1386
STEARNS, DUANE E                      3499 OAKS WAY APT 910                                                                       POMPANO BEACH   FL    33069‐5317
STEARNS, GARRY L                      3355 W WILSON RD                                                                            CLIO            MI    48420‐1929
STEARNS, GARY L                       9317 1/2 SUMMERFIELD RD                                                                     TEMPERANCE      MI    48182‐9759
STEARNS, GENEVA                       1601 S JACKSON AVE                                                                          DEFIANCE        OH    43512‐3727
STEARNS, GEORGE F                     8283 POTTER RD                                                                              FLUSHING        MI    48433‐9413
STEARNS, IVY                          HOAGLAND LONGO MORAN DUNST &    156 WILLIAM STREET 11TH FLOOR                               NEW YORK        NY    10038
                                      DUKAS
STEARNS, IVY                          156 WILLIAM STREET 11TH FLOOR                                                               NEW YORK        NY    10038
STEARNS, IVY                          COHEN PLACIELLA & ROTH          1705 TWO PENN CENTER PLAZA                                  PHILADELPHIA    PA    19082
STEARNS, JAMES C                      8374 JACLYN ANN DR                                                                          FLUSHING        MI    48433‐2908
STEARNS, JAMES F                      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA    23510‐2212
                                                                      STREET, SUITE 600
STEARNS, JAMES R                      6362 STURBRIDGE CT                                                                          SARASOTA         FL   34238‐2780
                        09-50026-mg            Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                    Address1                       Address2                  Address3   Address4         City               State Zip
STEARNS, JAMES R        1904 HAYWOOD ST                                                                      FARRELL             PA 16121
STEARNS, JAMIE          8406 MAGRATH ST                                                                      FORT BENNING        GA 31905‐1968
STEARNS, JESSE R        1534 S 100 W                                                                         FRANKLIN            IN 46131‐8434
STEARNS, JOANNE L       2350 DOWNPATRICK ST                                                                  DAVISON             MI 48423‐9557
STEARNS, JOSEPH A       PO BOX 57                      33 E LAKESHORE DR                                     EDENVILLE           MI 48620‐0057
STEARNS, JOYCE L        11432 SKYLINE DR                                                                     FENTON              MI 48430‐8823
STEARNS, JOYCE M        625 DEETER RD                                                                        LEWISTON            MI 49756‐8519
STEARNS, KENNETH D      4512 BRIAR LN                                                                        BURTON              MI 48509‐1227
STEARNS, KURT           304 SPRINGDALE DR                                                                    COLUMBIA            TN 38401‐5277
STEARNS, KYLE A         14231 ALEXANDER ST                                                                   LIVONIA             MI 48154‐4501
STEARNS, LAURA          5070 DEEP WOOD RD                                                                    BLOOMFIELD HILLS    MI 48302
STEARNS, MARGIE A       17361 TALL TREE TRAIL                                                                CHAGRIN FALLS       OH 44023‐4023
STEARNS, MARIE F        401 WILLS DR                                                                         JACKSON             MO 63755
STEARNS, MARTIN K       11432 SKYLINE DR                                                                     FENTON              MI 48430
STEARNS, MARY A         4734 BLAIR FIELD DRIVE                                                               COLUMBUS            OH 43214‐3214
STEARNS, MARY A         4734 BLAIRFLEID DR                                                                   COLUMBUS            OH 43214
STEARNS, MAXINE E       12 MECHANIC STREET                                                                   PROVINCETOWN        MA 02657‐2025
STEARNS, NANCY L        646 W 11TH ST                                                                        ASHLAND             OH 44805‐1609
STEARNS, PATRICK R      SIMMONS FIRM                   PO BOX 559                                            WOOD RIVER           IL 62095‐0559
STEARNS, PAUL J         1601 S JACKSON AVE                                                                   DEFIANCE            OH 43512‐3727
STEARNS, RICHARD T      209 E VILBIG ST                                                                      IRVING              TX 75060‐6040
STEARNS, RICHARD W      2104 LAKESIDE DR                                                                     MC CALLA            AL 35111
STEARNS, ROBERT         N5970 45TH CIRCLE DR                                                                 POUND               WI 54161‐9227
STEARNS, ROBERT L       2350 DOWNPATRICK ST                                                                  DAVISON             MI 48423‐9557
STEARNS, RODNEY L       7405 WINDRIDGE WAY                                                                   BROWNSBURG          IN 46112‐8800
STEARNS, ROSE M         345 LEAR RD APT 130                                                                  AVON LAKE           OH 44012‐2099
STEARNS, STEPHAN A      1871 HAMPSHIRE CT                                                                    COMMERCE TWP        MI 48382‐1554
STEARNS, STEWART R      4401 CASTLEWOOD DR                                                                   AUBURN HILLS        MI 48326‐1860
STEARNS, TONY R         2804 SYCAMORE ST                                                                     NEW CASTLE          IN 47362‐3460
STEARNS, WAYNE J        6164 DELAND RD                                                                       FLUSHING            MI 48433‐1135
STEARS, JOHN E          72 COUNTRY RD 262                                                                    FALLS CITY          TX 78113
STEARS, MICHAEL P.      APT 1309                       902 NORTH MARKET STREET                               WILMINGTON          DE 19801‐3061
STEAVE BOYD JR          32380 BROWN ST                                                                       GARDEN CITY         MI 48135‐3245
STEAVEN BLACKBURN       PO BOX 787                                                                           LINDEN              MI 48451‐0787
STEAVENS, ROSEMARY E    509 W WILLIAMS                                                                       OWOSSO              MI 48867‐2237
STEAVESON, ARNOLD K     213 E BROADWAY ST                                                                    ALEXANDRIA          IN 46001‐1618
STEAVESON, WILLIAM R    708 RIVER AVE                                                                        ALEXANDRIA          IN 46001‐2252
STEBAR, RUSSELL F       11956 RAINTREE CT                                                                    SHELBY TWP          MI 48315‐1158
STEBBE, PAUL R          4190 BRADYLEIGH BLVD                                                                 ROCHESTER           MI 48306‐4710
STEBBINS JR, MARION E   7472 ANTIETAM AVE                                                                    KEYSTONE HEIGHTS    FL 32656‐8250
STEBBINS, BERRY J       3311 MEYER PL                                                                        SAGINAW             MI 48603‐2330
STEBBINS, BRIAN         9744 E RIVER RD                                                                      MT PLEASANT         MI 48858‐9842
STEBBINS, CHARLOTTE     3799 HALF MOON LAKE RD R                                                             HARRISON            MI 48625
STEBBINS, CLINTON W     6230 ORIOLE DR                                                                       FLINT               MI 48506‐1738
STEBBINS, CONSTANCE     239A ACORN VILLAGE                                                                   HENDERSON           KY 42420‐3440
STEBBINS, CURTIS F      4002 ORANGEPORT RD                                                                   GASPORT             NY 14067‐9309
STEBBINS, DAVID A       APT N4                         126 NEW BRITAIN AVENUE                                PLAINVILLE          CT 06062‐2035
STEBBINS, DAVID L       6421 VALENCIA DR NE                                                                  ROCKFORD            MI 49341‐9570
STEBBINS, DELORES E     6209 MOCKINGBIRD LN                                                                  FLINT               MI 48506‐1605
STEBBINS, DENNIS L      10183 OAK RD                                                                         OTISVILLE           MI 48463‐9738
STEBBINS, DENNIS LEE    10183 OAK RD                                                                         OTISVILLE           MI 48463‐9738
STEBBINS, DORIS E       7883 MIAMI COUNTY LINE RD                                                            ENGLEWOOD           OH 45322
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Name                                  Address1                           Address2                       Address3   Address4         City               State Zip
STEBBINS, EDWARD D                    6048 SUN VALLEY DR                                                                            GRAND BLANC         MI 48439‐9165
STEBBINS, ELIZABETH                   27601 CHESTER ST                                                                              GARDEN CITY         MI 48135‐2585
STEBBINS, ELIZABETH                   27601 CHESTER                                                                                 GARDEN CITY         MI 48135‐2585
STEBBINS, HOWARD E                    32 OAK LN                                                                                     FLINT               MI 48506‐5281
STEBBINS, IVAN W                      1523 BOYNTON DR                                                                               LANSING             MI 48917‐1707
STEBBINS, JAMES A                     2162 WINDING WAY DR                                                                           DAVISON             MI 48423‐2025
STEBBINS, JILL L                      7818 LASATA CT                                                                                HARRISON            TN 37341‐9613
STEBBINS, JOHN D                      4108 HARWOOD AVE                                                                              BLASDELL            NY 14219‐2710
STEBBINS, KEITH E                     5889 STONE RD                                                                                 LOCKPORT            NY 14094‐1237
STEBBINS, KRISTINE L                  1352 SANTA BARBARA AVE                                                                        MOUNT MORRIS        MI 48458‐1323
STEBBINS, LILA                        455 SHERBOURNE                                                                                INKSTER             MI 48141‐4005
STEBBINS, LILLIAN R                   28920 LIST ST                                                                                 FARMINGTON HILLS    MI 48336‐5929
STEBBINS, LYNN M                      5225 SEYMOUR RD                                                                               SWARTZ CREEK        MI 48473‐1029
STEBBINS, MARK A                      427 WADSWORTH LN                                                                              BLOOMFIELD HILLS    MI 48301‐3349
STEBBINS, MATTHEW A                   8025 HIDDEN PONDS DRIVE                                                                       GRAND BLANC         MI 48439‐7230
STEBBINS, MATTHEW ALLAN               8025 HIDDEN PONDS DRIVE                                                                       GRAND BLANC         MI 48439‐7230
STEBBINS, MICHAEL A                   10476 HEGEL RD                                                                                GOODRICH            MI 48438‐9792
STEBBINS, MICHAEL P                   130 BLOOMFIELD AVE                                                                            BUFFALO             NY 14220‐1923
STEBBINS, NOLA                        11 DOUGLAS DR                                                                                 ROCHESTER           NY 14624‐4803
STEBBINS, NORMA J                     1121 PINE RD                                                                                  VENICE              FL 34285‐3722
STEBBINS, PATRICIA A                  6048 SUN VALLEY DR                                                                            GRAND BLANC         MI 48439‐9165
STEBBINS, PATRICK J                   6951 MANCHESTER DR                                                                            WHITE LAKE          MI 48383‐2371
STEBBINS, ROBERT B                    2807 MONTEGO DR                                                                               LANSING             MI 48912‐4549
STEBBINS, RUSSELL G                   756 BRILL DR                                                                                  BULLHEAD CITY       AZ 86442‐6427
STEBBINS, THOMAS C                    7818 LASATA CT                                                                                HARRISON            TN 37341‐9613
STEBBINS, TIMOTHY D                   6077 HALDERMAN RD                                                                             W ALEXANDRIA        OH 45381‐5381
STEBBINS, WILLIAM A                   708 WORCHESTER DR                                                                             FENTON              MI 48430‐1855
STEBBINS, WILLIAM E                   10124 SHERIDAN RD                                                                             MILLINGTON          MI 48746‐9306
STEBBINS, WILLIAM R                   7883 N MONTGOMERY COUNTY LINE RD                                                              ENGLEWOOD           OH 45322‐9619

STEBBINS, WILLIAM R                   7883 MIAMI CO LINE RD                                                                         UNION              OH   45322
STEBBINS‐WILCOX, RITA A               123 E KNOX RD                                                                                 BEAVERTON          MI   48612‐8741
STEBENNE BETTY (ESTATE OF) (653335)   LANIER LAW FIRM                    6810 FM 1960 WEST SUITE 1550                               HOUSTON            TX   77069
STEBENNE, BETTY / MAURICE STEBENNE    ICO THE LANIER LAW FIRM PC         6810 FM 1960 WEST                                          HOUSTON            TX   77069

STEBENS, DENNIS P                     4924 HOWE RD                                                                                  WAYNE              MI 48184‐2416
STEBENS, GARY L                       37317 HANSON DR                                                                               STERLING HTS       MI 48310‐3683
STEBER JULIUS (402522)                ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                 BALTIMORE          MD 21202
                                                                         CHARLES CENTER 22ND FLOOR
STEBER PHILIP F (429869)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510
                                                                         STREET, SUITE 600
STEBER, ANNE                          122 DURNFORD HILL CT                                                                          DAPHNE             AL   36526‐4008
STEBER, BRIAN L                       1765 FAIRVIEW FARMS CIR                                                                       WENTZVILLE         MO   63385‐2765
STEBER, BRIAN L.                      1765 FAIRVIEW FARMS CIR                                                                       WENTZVILLE         MO   63385‐2765
STEBER, JULIUS                        ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET, ONE                                  BALTIMORE          MD   21202
                                                                         CHARLES CENTER 22ND FLOOR
STEBER, PHILIP F                      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510‐2212
                                                                         STREET, SUITE 600
STEBERL, BRENDA L                     1761 BROOKLINE AVE                                                                            DAYTON             OH   45420‐1968
STEBLEIN JR, ROGER P                  1103 TRIVETTE RD                                                                              BEAVERDAM          VA   23015‐2030
STEBLEIN ROGER P JR                   1103 TRIVETTE RD                                                                              BEAVERDAM          VA   23015‐2030
STEBLEIN, CAROL J                     13 THE CMN                                                                                    LOCKPORT           NY   14094‐4001
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Name                         Address1                          Address2                      Address3   Address4         City               State Zip
STEBLEIN, EDWARD             7986 TELEGRAPH RD                                                                           GASPORT             NY 14067‐9248
STEBLEIN, JAMES E            6344 RIDGE RD                                                                               LOCKPORT            NY 14094
STEBLEIN, MARILYN            7680 WHEELER RD                                                                             GASPORT             NY 14067‐9315
STEBLEIN, ROGER P            7680 WHEELER RD                                                                             GASPORT             NY 14067‐9315
STEBLEIN, TINA M             418 PROSPECT STREET                                                                         LOCKPORT            NY 14094‐2124
STEBLEIN, VELMA G            39 C BEEHUNTER CT                                                                           E AMHERST           NY 14051‐1201
STEBLETON FRANK W (358794)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                               STREET, SUITE 600
STEBLETON, FRANK W           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                               STREET, SUITE 600
STEBLETON, YVONNE M          322 PLUMMER POWERS RD                                                                       CUMBERLND CTY      TN   37050‐4304
STEBNER, CYNTHIA M           6011 JUDD RD                                                                                BIRCH RUN          MI   48415‐8746
STEBNER, EDWARD E            13105 ROUNDING RUN CIRCLE                                                                   HERNDON            VA   20171‐3909
STEBNER, GARY E              1815 HENDRIE RD                                                                             METAMORA           MI   48455‐9780
STEBNER, MICHAEL W           6979 CROSSWELL DR                                                                           WEST BLOOMFIELD    MI   48322‐3029
STEBNICKI, ALLEN W           831 N PARKER AVE                                                                            INDIANAPOLIS       IN   46201‐2450
STEBNITZ, JOHN C             W342N5171 ROAD P                                                                            OKAUCHEE           WI   53069‐9707
STEC CHARLES                 801 PATRIOT PKWY APT 108                                                                    ROCK HILL          SC   29730‐2320
STEC JR, BERNARD J           14 ALTON RD                                                                                 TRENTON            NJ   08619‐1546
STEC JR., CHARLES G          230 CARRIAGE PARK                                                                           WEST SENECA        NY   14224‐4460
STEC LEO E                   3527 VANTAGE LN                                                                             GLENVIEW           IL   60026‐1369
STEC, BERNETTA J             767 W FRANK ST                                                                              CARO               MI   48723‐1481
STEC, BONITA M               1028 E INDIANOLA AVE                                                                        YOUNGSTOWN         OH   44502‐2642
STEC, CHARLES G              801 PATRIOT PKWY APT 108                                                                    ROCK HILL          SC   29730‐2320
STEC, CHARLES G              801 PATRIOT PWY 108                                                                         ROCK HILL          SC   29732
STEC, CHARLES GARY           230 CARRIAGE PARK                                                                           BUFFALO            NY   14224
STEC, DANIEL R               43800 VINTAGE OAKS DR                                                                       STERLING HEIGHTS   MI   48314‐2059
STEC, DEBORAH                4846 MAYVILLE RD                                                                            SILVERWOOD         MI   48760‐9403
STEC, DIANE C                3094 EXETER DR                                                                              MILFORD            MI   48380‐3233
STEC, DIANE C.               3094 EXETER DR                                                                              MILFORD            MI   48380‐3233
STEC, ERNEST T               305 N ALMER ST                                                                              CARO               MI   48723‐1556
STEC, JAMES G                211 PURITAN AVENUE                                                                          BIRMINGHAM         MI   48009‐4631
STEC, JASON D                2460 STARLITE DR                                                                            SAGINAW            MI   48603
STEC, JONATHAN J             3094 EXETER DR                                                                              MILFORD            MI   48380‐3233
STEC, JOSEPH R               16785 SCHROEDER RD                                                                          BRANT              MI   48614
STEC, JOSEPH R               766 W HOLCOMB TRL                                                                           ROSE CITY          MI   48654‐9675
STEC, JOSEPHINE J            7316 DREXEL ST                                                                              DEARBORN HEIGHTS   MI   48127‐1746
STEC, MARIE A                8563 FAIRLANE DR                                                                            OLMSTED TWP        OH   44138‐2116
STEC, PAUL                   929 HARRISON RD                                                                             TOMS RIVER         NJ   08753‐3970
STEC, WALTER                 58 SUNSET AVE                                                                               EAST QUOGUE        NY   11942
STEC, WALTER                 DELCOL @ BRIGHTON 1801 OAK TREE                                                             EDISON             NJ   08820
STECA, JERRY                 2465 RIVERSIDE DR                                                                           TRENTON            MI   48183
STECH, DON D                 25336 S CANAL ST                                                                            CHANNAHON          IL   60410
STECH, DOROTHY               2382 OAKFIELD CT                                                                            AURORA             IL   60503‐4783
STECH, HOLLY B               511 CANAL ST.                                                                               CHANNAHON          IL   60410
STECH, JEFFREY J             3220 MONTE BELLA PL                                                                         FRANKLIN           TN   37067‐5872
STECH, RAYMOND               396 GREENLEAF DRIVE                                                                         LAVONIA            GA   30553‐6024
STECHEBAR, RICHARD B         39198 HAYES RD                                                                              CLINTON TWP        MI   48038‐5717
STECHER JOSEPH D             9E 96TH ST                                                                                  NEW YORK           NY   10025
STECHER JR, WILLIAM J        177 WALKER RD                                                                               LANDENBERG         PA   19350‐1266
STECHER MICHAEL J (494237)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                               STREET, SUITE 600
                              09-50026-mg               Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                          Address1                          Address2                          Address3   Address4         City              State Zip
STECHER'S AUTOMOTIVE          1006 W MAIN ST                                                                                  PEORIA              IL 61606‐1257
STECHER, DANNY L              6273 WILLIAMS CENTER CECIL RD                                                                   MARK CENTER        OH 43536‐9715
STECHER, DAVID G              23765 MURRAY ST                                                                                 CLINTON TWP        MI 48035‐3850
STECHER, ELEANORE             1102 DAVENPORT DR                                                                               BURTON             MI 48529‐1905
STECHER, JASON R              1276 TIMBERWOOD CIR                                                                             ANDERSON           IN 46012
STECHER, JOSEPH D             9 EAST 96TH ST.                   APT. 10A                                                      NEW YORK           NY 10128
STECHER, LUCILE M             1100 W 15TH ST                    EAST 106                                                      OTTAWA             KS 66067
STECHER, MICHAEL J            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510‐2212
                                                                STREET, SUITE 600
STECHER, ROY W                316 LAWNDALE DR                                                                                 BRYAN             OH 43506‐2445
STECHKOBER JOHN (659095)      COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                               CHICAGO           IL 60602
                                                                FLOOR
STECHKOBER, JOHN              COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                                CHICAGO            IL   60602
                                                                FLOOR
STECHLY MICHAEL               COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                               CHICAGO            IL   60602
                                                                FLOOR
STECHLY, MICHAEL              COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                                CHICAGO            IL   60602
                                                                FLOOR
STECHSCHULTE                  PO BOX 219830                                                                                   KANSAS CITY       MO    64121‐9830
STECHSCHULTE, CARL            7066 CLOISTER ROAD                                                                              TOLEDO            OH    43617‐2208
STECHSCHULTE, DANIEL J        6238 MARSHALL RD                                                                                CANTON            MI    48187‐5453
STECHSCHULTE, DANIEL J        19254 ROAD Q                                                                                    FORT JENNINGS     OH    45844‐9790
STECHSCHULTE, DANIEL JOSEPH   19254 ROAD Q                                                                                    FORT JENNINGS     OH    45844‐9790
STECHSCHULTE, MARK T          21110 ROAD 18S                                                                                  FORT JENNINGS     OH    45844‐8959
STECHSCHULTE, MARK THOMAS     21110 ROAD 18S                                                                                  FORT JENNINGS     OH    45844‐8959
STECHSCHULTE, MICHAEL J       8555 ROAD 12                                                                                    OTTAWA            OH    45875‐9614
STECHYN, PAUL A               97 OAK VALLEY DR                                                                                SPRING HILL       TN    37174‐2597
STECIK, CECELIA R             7723 SAINT LAWRENCE AVE                                                                         SWISSVALE         PA    15218‐2138
STECIK, CECELIA R             7723 ST LAWRENCE AVE                                                                            SWISSVALE         PA    15218‐2138
STECK DENNIS L (494238)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA    23510
                                                                STREET, SUITE 600
STECK SCHULTE SUPPLY INC      32604 DEQUINDRE RD                                                                              WARREN            MI    48092‐1062
STECK SUPPLY/WARREN           32604 DEQUINDRE RD                                                                              WARREN            MI    48092‐1062
STECK, BARBARA                22353 TROON DR                                                                                  ATHENS            AL    35613‐8138
STECK, CHARLES D              166 SAPPHIRE DRIVE                                                                              CENTERVILLE       OH    45458‐5458
STECK, DENNIS L               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA    23510‐2212
                                                                STREET, SUITE 600
STECK, EDWIN F                4905 HEEGE RD                                                                                   AFFTON            MO    63123‐4706
STECK, EMERSON L              14310 BROOKVILLE PYRMONT PK                                                                     BROOKVILLE        OH    45309‐8718
STECK, FRANCES M              PO BOX 291843                                                                                   DAYTON            OH    45429‐0843
STECK, FRANK J                640 SNUG HARBOR DR APT F6                                                                       BOYNTON BEACH     FL    33435‐6147
STECK, FRED J                 9710 WARNICK RD                                                                                 FRANKENMUTH       MI    48734‐9555
STECK, GAIL R                 11551 SOUTH WOLF CREEK PIKE                                                                     BROOKVILLE        OH    45309‐8317
STECK, GALEN O                1841 ENGLEWOOD AVE                                                                              MADISON HTS       MI    48071‐1024
STECK, JAMES R                8906 N COUNTY LINE RD                                                                           BROOKVILLE        OH    45309
STECK, JR,DANIEL J            225 N ELM AVE                                                                                   FAIRBORN          OH    45324‐5123
STECK, KAREN D                5220 UNION RD                                                                                   CLAYTON           OH    45315‐9746
STECK, LELAND R               5766 QUAIL CROSSING DR                                                                          INDIANAPOLIS      IN    46237‐2576
STECK, PATRICK D              100 HUFFMAN PLACE                 APT. 326                                                      DAYTON            OH    45403‐1969
STECK, PATRICK D              100 HUFFMAN AVE APT 326                                                                         DAYTON            OH    45403‐1969
STECK, ROBERTA K              2815 LAKE SHORE PLACE APT 101                                                                   DAYTON            OH    45420‐1758
STECK, VEDA H                 P.O. BOX 127                                                                                    WEST MANCHESTER   OH    45382‐0127
                             09-50026-mg           Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
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Name                         Address1                          Address2                          Address3   Address4         City               State Zip
STECK, VEDA H                PO BOX 127                                                                                      WEST MANCHESTER     OH 45382‐0127
STECK‐SCHULTE SUPPLY INC     32604 DEQUINDRE RD                                                                              WARREN              MI 48092‐1062
STECKEL, CHARLES R           1019 BOGART RD                                                                                  HURON               OH 44839‐9795
STECKEL, JAMES J             75 HOCKANUM BLVD UNIT 1735                                                                      VERNON              CT 06066‐4059
STECKEL, JAMES J             23132 SAGEBRUSH                                                                                 NOVI                MI 48375‐4169
STECKEL, MARILYN S           3217 BANTING ST                                                                                 DUBLIN              OH 43017‐1653
STECKEL, THOMAS              5768 SUNNYCREST DR                                                                              W BLOOMFIELD        MI 48323‐3869
STECKELMANN I I I, WILLIAM   759 WAUBUNSEE TRAIL UNIT #1                                                                     FORT ATKINSON       WI 53538
STECKELMANN III, WILLIAM     759 WAUBUNSEE TRAIL UNIT #1                                                                     FORT ATKINSON       WI 53538
STECKER JR, RICHARD A        6079 POPLAR                                                                                     STERLING HTS        MI 48314
STECKER JR, RICHARD A        6079 POPLAR AVE                                                                                 STERLING HTS        MI 48314‐1472
STECKER JR, RICHARD ARTHUR   6079 POPLAR AVE                                                                                 STERLING HTS        MI 48314‐1472
STECKER RANDEE               3901 BLUEBIRD LN                                                                                ROLLING MEADOWS      IL 60008‐2906
STECKER, CLARENCE E          7568 MESTER RD                                                                                  CHELSEA             MI 48118‐9519
STECKER, CLARENCE EDWARD     7568 MESTER RD                                                                                  CHELSEA             MI 48118‐9519
STECKER, JEFFREY J           106 N SALINAS ST                                                                                SANTA BARBARA       CA 93103‐2828
STECKER, KURT E              19689 MCKINNON ST                                                                               ROSEVILLE           MI 48066‐1202
STECKER, KURT ERIC           19689 MCKINNON ST                                                                               ROSEVILLE           MI 48066‐1202
STECKER, LEROY E             223 EL MONTE DR                                                                                 SANTA BARBARA       CA 93109‐2005
STECKER, OSCAR W             31263 BEECHWOOD DR                                                                              WARREN              MI 48088‐2023
STECKER, PEGGY M             6079 POPLAR AVE                                                                                 STERLING HEIGHTS    MI 48314‐1472
STECKER, PEGGY MARIE         6079 POPLAR AVE                                                                                 STERLING HEIGHTS    MI 48314‐1472
STECKER, RICHARD W           14810 PHILIP MEADOWS CT                                                                         FLORISSANT          MO 63034‐1523
STECKER, ROBERT A            5465 GASHE RD                                                                                   GLADWIN             MI 48624‐9637
STECKERT, ALMA M             2764 WARWICK ST                                                                                 SAGINAW             MI 48603‐3107
STECKERT, BRADY W            4647 MIDLAND RD                                                                                 SAGINAW             MI 48603‐4902
STECKERT, CAROLYN O          5615 BROCKWAY RD                                                                                SAGINAW             MI 48638‐4472
STECKERT, WILLIAM F          9830 WEBSTER RD                                                                                 FREELAND            MI 48623‐8660
STECKI, ANNA                 15440 LILLIE RD                                                                                 BYRON               MI 48418‐9515
STECKLER, K                  63240 E CHARLESTON DR 2LIBER                                                                    WASHINGTON          MI 48095
STECKLY, ROGER J             6213 ARMSTRONG RD                                                                               IMLAY CITY          MI 48444‐8923
STECKMAN, JUSTIN             BEHLEN LITTLE BENTWOOD & LUTHER   116 EAST SHERIDAN ‐ BRICKTOWN ‐                               OKLAHOMA CITY       OK 73104
                                                               GLASS CO BUILDING ‐ STE 107

STECKO, NADIA                13233 BLOOM                                                                                     DETROIT            MI   48212‐2456
STECKOWSKI, FLORENCE M       33463 CINDY ST                                                                                  LIVONIA            MI   48150‐2601
STECKOWSKI, PAMELA S         618 CASELTON CT                                                                                 FRANKLIN           TN   37069‐4309
STECKOWSKI, PAMELA SUE       618 CASELTON CT                                                                                 FRANKLIN           TN   37069‐4309
STECYNA, ALEXANDER           105 WILLOW DR                                                                                   JACKSON            NJ   08527‐3845
STED, EMILY M                6663 ROCHELLE BLVD                                                                              PARMA HEIGHTS      OH   44130‐3978
STEDDENBENZ, LUCILLE R       5515 LINDA LN                                                                                   INDIANAPOLIS       IN   46241‐0621
STEDDENBENZ, LUCILLE R       5515 W. LINDA LN.                                                                               INDIANAPOLIS       IN   46241‐0621
STEDMAN GRAY                 15711 PREVOST ST                                                                                DETROIT            MI   48227‐1964
STEDMAN TIMOTHY J            DYNASTY PROMOTIONAL PRINTING L    2812 TRAFFORD RD                                              ROYAL OAK          MI   48073‐2909
STEDMAN TIMOTHY J            DBA DYNASTY PROMOTIONAL PRINTI    2812 TRAFFORD RD                                              ROYAL OAK          MI   48073‐2909
STEDMAN, CLIFTON R           1607 TOWER DR                                                                                   ARLINGTON          TX   76010
STEDMAN, DARLENE M           4282 BARNSIDE LN                                                                                CLAY               NY   13041‐8732
STEDMAN, DONALD R            PO BOX 454                                                                                      HANOVER            WI   53542‐0454
STEDMAN, DOUGLAS R           1601 CREEKSTONE DR                                                                              COLUMBIA           TN   38401‐6769
STEDMAN, FYNETTA B           1815 PIPER LN APT 102                                                                           CENTERVILLE        OH   45440‐5087
STEDMAN, HOWARD G            201 NORTH COMMERCE                BOX 422                                                       LEWISBURG          OH   45338
STEDMAN, JOHN A              220 N UNION ST                                                                                  MANCHESTER         MI   48158‐9586
                                      09-50026-mg            Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                                  Address1                       Address2              Address3       Address4              City                State Zip
STEDMAN, JOHN M                       9929 MILLERS FORK RD                                                                      LEWISBURG            OH 45338‐8976
STEDMAN, JOYCE E                      1568 36TH ST                                                                              ALLEGAN              MI 49010‐9469
STEDMAN, JUANITA M                    211 CHERRY LANE                                                                           MILAN                MI 48160
STEDMAN, JUANITA M                    211 CHERRYLANE DR                                                                         MILAN                MI 48160‐1171
STEDMAN, KRISTIAN JAMES               366 ASHLEY DR                                                                             SOODY DAISY          TN 37379‐4163
STEDMAN, LAWRENCE A                   G‐9166 BEECHER RD                                                                         FLUSHING             MI 48433
STEDMAN, LEO JEAN                     P O BOX 148                                                                               GARDNER               IL 60424‐0148
STEDMAN, LEO JEAN                     PO BOX 148                                                                                GARDNER               IL 60424‐0148
STEDMAN, MARIA I                      220 N UNION ST                                                                            MANCHESTER           MI 48158‐9586
STEDMAN, MATTHEW J                    5040 VASSAR RD                                                                            GRAND BLANC          MI 48439‐9176
STEDMAN, PAUL E                       13157 PINE MEADOW DR                                                                      FENTON               MI 48430‐9556
STEDMAN, RONNIE R                     178 HCR 1246                                                                              WHITNEY              TX 76692‐4711
STEDMAN, RONNIE R                     179 HCR 1246                                                                              WHITNEY              TX 76692‐4711
STEDMAN, SHELLEY A                    4241 E. MAPLE LN. RD.                                                                     JANESVILLE           WI 53546
STEDMAN, SHIRLEY A                    G‐9166 BEECHER RD                                                                         FLUSHING             MI 48433
STEDMIRE‐PITTS, DORIS Y               3254 HYDE PARK AVE                                                                        CLEVELAND HEIGHTS    OH 44118‐2132
STEDRON, JOAN D                       11660 HAWTHORNE DR                                                                        GRAND BLANC          MI 48439
STEDRON, RAYMOND H                    1640 GLENVIEW RD APT 76L                                                                  SEAL BEACH           CA 90740‐4119
STEDRON, RICHARD V                    11660 HAWTHORNE DR                                                                        GRAND BLANC          MI 48439
STEDRY JR, HERBERT J                  2220 S VAN BUREN RD                                                                       REESE                MI 48757‐9230
STEDRY, ALDIS L                       4660 W SAGINAW RD                                                                         VASSAR               MI 48768‐9510
STEDRY, ARTHUR D                      5153 COTTRELL ROAD                                                                        VASSAR               MI 48768‐9499
STEDRY, DONALD L                      429 N CASS AVE                                                                            VASSAR               MI 48768‐1420
STEDRY, FLORENCE                      4044 COLTER DR                                                                            KOKOMO               IN 46902‐4486
STEDRY, FRANK J                       14100 LINCOLN RD                                                                          CHESANING            MI 48616‐9472
STEDRY, HELEN A                       3970 STATE BOX 219                                                                        BRIDGEPORT           MI 48722‐0219
STEDRY, KATE NORA                     3837 HOLLLY AVE                                                                           FLINT                MI 48505‐3108
STEDRY, LOIS M                        5980 80TH ST N APT 301                                                                    SAINT PETERSBURG     FL 33709‐1019
STEDRY, MATTHEW P                     4083 N CHIPPING NORTON DR                                                                 SAGINAW              MI 48603‐9336
STEDRY, MICHAEL F                     4332 LIMBERLOST TRL                                                                       GLENNIE              MI 48737‐9527
STEDRY, ROSE M                        2220 S VAN BUREN RD                                                                       REESE                MI 48757‐9230
STEDRY, ROY R                         9223 S BEYER RD                                                                           BIRCH RUN            MI 48415‐8426
STEDRY, STEVEN K                      82 RHOTON RD                                                                              MANCHESTER           TN 37355‐5138
STEDRY, THOMAS R                      1367 HEATHERCREST DR                                                                      FLINT                MI 48532‐2670
STEDRY, THOMAS ROBERT                 1367 HEATHERCREST DR                                                                      FLINT                MI 48532‐2670
STEDRY, VENCE F                       15185 NELSON RD                                                                           SAINT CHARLES        MI 48655‐9767
STEDRY, WANDA J                       82 RHOTON RD                                                                              MANCHESTER           TN 37355‐5138
STEEB, ANTHONY G                      112 PARWOOD TRL                                                                           DEPEW                NY 14043‐1070
STEEB, JOHN E                         3205 ALLISON CT                                                                           CARMEL               IN 46033‐8778
STEEB, SAMUEL J                       23206 SUNFLOWER RD                                                                        EDGERTON             KS 66021‐9259
STEEBER, CHARLES D                    3182 HIDDEN TRL                                                                           WATERFORD            MI 48328‐2556
STEEBY, ANNMARIE                      17780 MATTHEWS ST                                                                         RIVERVIEW            MI 48193‐4731
STEEBY, WILLIAM M                     109 GREENBRIAR AVE                                                                        HOUGHTON LAKE        MI 48629‐9568
STEECE, JONATHAN C                    1712 CRESTWOOD DR                                                                         DEFIANCE             OH 43512‐3625
STEED ALIGNMENT & BRAKE               8143 COMMONWEALTH AVE                                                                     BUENA PARK           CA 90621‐2521
STEED DEBRA H                         NO ADVERSE PARTY
STEED STANDARD TRANSPORT LTD          158 JOHN ST N                                                       STRATFORD CANADA ON
                                                                                                          N5A 6L1 CANADA
STEED TRUCKING                        2950 YODER RD                                                                             LIMA                OH 45806‐2760
STEED WILSON D (ESTATE OF)            C/O GUY PORTER & MALOUF        4670 MCWILLIE DRIVE                                        JACKSON             MS 39206
STEED WILSON D (ESTATE OF) (504989)   (NO OPPOSING COUNSEL)
STEED, ALVIN                          660 LOOKOUT ST                                                                            PONTIAC              MI 48342‐2946
                                   09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                              Address1                         Address2                     Address3   Address4                 City               State Zip
STEED, BERNARD W                  764 E TYLER RD # R1                                                                               ALMA                MI 48801
STEED, DANIEL E                   818 E EMERSON ST                                                                                  ITHACA              MI 48847‐1332
STEED, DEBRA H                    11517 SPRUCE RD                                                                                   LAKEVIEW            MI 48850‐9800
STEED, DELOIS                     2303 TIVERTON DR                                                                                  STERLING HEIGHTS    MI 48310‐7802
STEED, DENNIS E                   1163 N PARKER DR                                                                                  JANESVILLE          WI 53545‐0711
STEED, GENELL                     600 W WALTON BLVD E                                                                               PONTIAC             MI 48340
STEED, HATTIE R                   PO BOX 214196                                                                                     AUBURN HILLS        MI 48321
STEED, HERMAN W                   1037 N TWYCKENHAM DR                                                                              SOUTH BEND          IN 46617‐1633
STEED, IRMA I                     10106 BRIAR CIRCLE                                                                                HUDSON              FL 34667‐6601
STEED, JAMES E                    11517 SPRUCE RD                                                                                   LAKEVIEW            MI 48850‐9800
STEED, JESSIE I                   1326 HARPST STREET                                                                                ANN ARBOR           MI 48104‐6134
STEED, JOHN                       101 H BOND ST                                                                                     WINDSOR             NC 27983‐2136
STEED, KELLY P                    9117 E COUNTY RD N                                                                                MILTON              WI 53563‐9034
STEED, LEE D                      394 BOYD ST                                                                                       PONTIAC             MI 48342‐1922
STEED, LEROY                      1425 CREEL ST                                                                                     MIDFIELD            AL 35228‐2311
STEED, LEROY                      27230 CANFIELD DR                APT 116                                                          DEARBORN HEIGHTS    MI 48127
STEED, LORRAINE                   13904 SPINNING AVE                                                                                GARDENA             CA 90249‐2910
STEED, LYN                        5748 N HELTON RD                                                                                  VILLA RICA          GA 30180‐3124
STEED, MARY                       460 WINDMILL DR APT 1                                                                             MARYSVILLE          OH 43040‐1810
STEED, PEGGY                      5815 CARY DR                                                                                      YPSILANTI           MI 48197
STEED, RALPH                      PO BOX 440341                                                                                     KENNESAW            GA 30160‐9506
STEED, ROBERT L                   3099 SHABAY DR                                                                                    FLUSHING            MI 48433‐2482
STEED, ROBERT L                   1572 HEATHERWOOD DR APT 104                                                                       INKSTER             MI 48141
STEED, ROBERT L                   C/O REGENA ANDERSON              28555 AVONDALE ST                                                INKSTER             MI 48141
STEED, STEVEN L
STEED, THELMA J                   2705 WILSON AVE                                                                                   LANSING            MI   48906‐2640
STEED, THOMAS E                   2673 WINDEMERE                                                                                    NORTH BRANCH       MI   48461‐9758
STEED, WENDAL Z                   12 S NOME ST UNIT C                                                                               AURORA             CO   80012‐1262
STEED, WILSON DEAN                GUY WILLIAM S                    PO BOX 509                                                       MCCOMB             MS   39649‐0509
STEEDE, CARLYLE D                 13295 HARBORVIEW DR              PO BOX 74                                                        LINDEN             MI   48451‐8414
STEEDLEY DOROTHY L (487847)       ANGELOS PETER G                  100 N CHARLES STREET , ONE                                       BALTIMORE          MD   21201
                                                                   CHARLES CENTER
STEEDLEY, DOROTHY L               ANGELOS PETER G                  100 N CHARLES STREET, ONE                                        BALTIMORE          MD 21201
                                                                   CHARLES CENTER
STEEDMAN, LISA
STEEHLER, ELIZABETH M             2350 WATKINS LAKE RD APT 113                                                                      WATERFORD          MI 48328‐1426
STEEIRL HUNT                      3946 EDENDALE RD                                                                                  COLUMBUS           OH 43207‐4123
STEEK, BERNARDT D                 17768 NASSAU DR                                                                                   BROOKFIELD         WI 53045‐3470
STEEL & ALLOY PROCESSING LTD      TRAFALGAR WORKS UNION STREET     W BROMWICH W MIDLANDS B70               UNITED KINGDOM GREAT
                                                                   6BZ                                     BRITAIN
STEEL & MACHINERY TRANSPORT INC   PO BOX 2310                      REINSTATE ON 02‐12‐98 VS                                         HAMMOND            IN 46323‐0310
STEEL CEILINGS                    451 EAST COSHOCTON ST                                                                             JOHNSTOWN          OH 43031
STEEL CITY TRUCK LINES LTD        PO BOX 847                                                               SAULT STE MARIE ON P6A
                                                                                                           5N3 CANADA
STEEL DYNAMICS INC                7575 W JEFFERSON BLVD                                                                             FORT WAYNE         IN   46804‐4131
STEEL EQUIP/PONTIAC               585 OAKLAND AVE                                                                                   PONTIAC            MI   48342
STEEL EQUIPMENT CO                ATTN: DAVID GRAKE                585 CESAR E CHAVEZ AVE # A                                       PONTIAC            MI   48342‐1070
STEEL EQUIPMENT CO                585 OAKLAND AVE                                                                                   PONTIAC            MI   48342
STEEL EXPRESS INC                 5192 US HIGHWAY 20                                                                                PORTAGE            IN   46368‐1303
STEEL FAB                         17403 LEE HWY                                                                                     ABINGDON           VA   24210‐7833
STEEL FOUND/DES PLNS              455 STATE STREET                                                                                  DES PLAINES        IL   60016
STEEL HECTOR & DAVIS LLP          200 S BISCAYNE BLVD STE 4000                                                                      MIAMI              FL   33131‐2362
                                     09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
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Name                                 Address1                             Address2                        Address3        Address4            City            State Zip
STEEL HECTOR & DAVIS LLP SC          CENTRO SEGUROS SUDAMERICA            PISO 10 10A FRANCISCO MIRANDA   1060 EL ROSAL   CARACAS VENEZUELA

STEEL INDUSTRY 2008‐2009 PRICING     NO ADVERSE PARTY
STEEL KING INDUSTRIES INC            2700 CHAMBER ST                                                                                          STEVENS POINT   WI    54481‐4856
STEEL LOUIS M                        C/O EDWARD O MOODY PA                801 WEST 4TH STREET                                                 LITTLE ROCK     AR    77201
STEEL MASTER TRANSFER INC            2171 XCELSIOR DR                                                                                         OXFORD          MI    48371‐2363
STEEL PARTS CORP                     801 BERRYMAN PIKE                                                                                        TIPTON          IN    46072‐8492
STEEL PARTS MANUFACTURING            801 BERRYMAN PIKE                                                                                        TIPTON          IN    46072‐8492
STEEL PARTS MANUFACTURING INC        TODD NORWOOD                         801 BERRYMAN PIKE                                                   MC CALLA        AL    35111
STEEL PARTS MANUFACTURING INC        801 BERRYMAN PIKE                                                                                        TIPTON          IN    46072‐8492
STEEL PARTS MANUFACTURING INC        PO BOX 1450                          NW # 5390                                                           MINNEAPOLIS     MN    55485‐5390
STEEL PARTS/TIPTON                   801 BERRYMAN PIKE                                                                                        TIPTON          IN    46072‐8492
STEEL PRICING                        NO ADVERSE PARTY
STEEL SHIELDS, LIMITED               GARY VAN METER                       204 MAIN ST                                                         WAYNE            NE   68787‐1941
STEEL SLITTING CO INC                215 S 28TH ST                                                                                            ELWOOD           IN   46036‐2216
STEEL STORAGE SYSTEMS INC            6301 DEXTER ST                                                                                           COMMERCE CITY    CO   80022‐3128
STEEL SUMMIT TENNESSEE MASTER COIL   RYO TOYAMA                           1718 JP HENNESSY DR                                                 LA VERGNE        TN   37086‐3525

STEEL TANK & FABRICATING CORP        365 S JAMES ST                       PO BOX 210                                                          COLUMBIA CITY   IN    46725‐8721
STEEL TECHNOLOGIES                   15415 SHELBYVILLE RD                 PO BOX 43339                                                        LOUISVILLE      KY    40245‐4137
STEEL TECHNOLOGIES INC               15415 SHELBYVILLE RD                                                                                     LOUISVILLE      KY    40245‐4137
STEEL TECHNOLOGIES INC               15415 SHELBYVILLE RD                 PO BOX 43339                                                        LOUISVILLE      KY    40245‐4137
STEEL TECHNOLOGIES MASTER COIL       JUSTIN CLIFFORD                      RTE 1 & US STE 42                                                   GHENT           KY    41045
STEEL TECHNOLOGIES MASTER COIL       JUSTIN CLIFFORD                      15415 SHELBYVILLE RD                                                LOUISVILLE      KY    40245‐4137
STEEL TECHNOLOGIES MASTER COIL       KELLY SHANNON                        15415 SHELBYVILLE RD                                                LOUISVILLE      KY    40245‐4137
STEEL TECHNOLOGIES MASTER COIL       KELLY SHANNON                        RTE 1 & US STE 42                                                   GHENT           KY    41045
STEEL TRANSPORT CO                   1 WEST INTERSTATE                                                                                        BEDFORD         OH    44146
STEEL TRANSPORT INC                  6701 MELTON RD                                                                                           GARY            IN    46403‐3016
STEEL TRANSPORT INC                  ATTN: CORPORATE OFFICER/AUTHORIZED   8055 HIGHLAND POINTE PKWY                                           MACEDONIA       OH    44056‐2147
                                     AGENT
STEEL TRANSPORTATION SERVICE INC     JEFF CLARK                           2115 BRANCH RD                                                      FLINT           MI    48506‐2906
STEEL TRANSPORTATION SERVICES INC    2115 BRANCH RD                                                                                           FLINT           MI    48506‐2906
STEEL TRUCKING INC                   PO BOX 607                                                                                               WHEATLAND       PA    16161‐0607
STEEL VALLEY CRANE SERVICE INC       PO BOX 678                                                                                               CANFIELD        OH    44406‐0678
STEEL VALLEY INFECTI                 1 PENN CTR W STE 307                                                                                     PITTSBURGH      PA    15276‐0106
STEEL VALLEY ORTHOPE                 1200 BROOKS LN STE 240                                                                                   CLAIRTON        PA    15025‐3750
STEEL, ANNA L                        2197 SW 83RD TER                                                                                         DAVIE           FL    33324‐5367
STEEL, B O                           1554 LOUGHBORO RD                                                                                        BISMARCK        MO    63624‐9632
STEEL, BESSIE                        5810 MARLOWE DRIVE                                                                                       FLINT           MI    48504‐7056
STEEL, DAVID                         8549 DRY CREEK RD                                                                                        MT PLEASANT     TN    38474‐2091
STEEL, DAVID W                       40 BEECHWOODE LN                                                                                         PONTIAC         MI    48340‐2200
STEEL, DIANE S                       2960 ROSEMARIE CIR                                                                                       NEWFANE         NY    14108‐9717
STEEL, DOROTHY A                     5221 W FARRAND RD                                                                                        CLIO            MI    48420‐8234
STEEL, GERALD E                      5221 W FARRAND RD                                                                                        CLIO            MI    48420‐8234
STEEL, GERALD EUGENE                 5221 W FARRAND RD                                                                                        CLIO            MI    48420‐8234
STEEL, JEMIMA M                      APT 12                               146 SHAMROCK CIRCLE                                                 PENDLETON       IN    46064‐8557
STEEL, JIMMY E                       7317 BENNINGTON DR                                                                                       WATAUGA         TX    76148‐1234
STEEL, JOHNATHAN                     3800 MANNHEIM RD                     FRANKLIN                                                            FRANKLIN PARK   IL    60131‐1206
STEEL, LOIS E                        8184 N DORT HWY                                                                                          MOUNT MORRIS    MI    48458‐1207
STEEL, LOUIS M                       C/O MOODY                            801 WEST FOURTH ST                                                  LITTLE ROCK     AR    72201
STEEL, MALVIN                        5810 MARLOWE DR                                                                                          FLINT           MI    48504‐7056
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Name                                    Address1                             Address2                        Address3   Address4              City            State Zip
STEEL, RICHARD JAY                      1021 TAPPEN VALLEY ROAD                                                         TAPPEN BC V0E 2X3
                                                                                                                        CANADA
STEEL, RODERICK J                       5117 MILKY WAY                                                                                        SHELBY TWP      MI    48316‐1674
STEEL, RONALD C                         2960 ROSEMARIE CIR                                                                                    NEWFANE         NY    14108‐9717
STEEL, RONALD J                         15107 S STATE ROUTE 66                                                                                DEFIANCE        OH    43512‐6803
STEEL, WAYNE D                          19206 HARTWELL ST                                                                                     DETROIT         MI    48235‐1248
STEEL, WAYNE DAUVALL                    19206 HARTWELL ST                                                                                     DETROIT         MI    48235‐1248
STEEL‐HEADY, LAURIE A                   24038 BOSTON ST                                                                                       DEARBORN        MI    48124‐3202
STEELCASE                               PO BOX 1967                                                                                           GRAND RAPIDS    MI    49501‐1967
STEELCASE FINANCIAL SERVICES
STEELCASE FINANCIAL SERVICES INC        901 44TH STREET S.E.                                                                                  GRAND RAPIDS     MI 49508
STEELCASE FINANCIAL SERVICES INC        PO BOX 91200                                                                                          CHICAGO          IL 60693‐1200
STEELCASE FINANCIAL SERVICES INC        ATTN: CORPORATE OFFICER/AUTHORIZED   901 44TH ST SE                                                   GRAND RAPIDS     MI 49508‐7594
                                        AGENT
STEELCASE INC                           ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 91200                                                     CHICAGO          IL   60693‐1200
                                        AGENT
STEELCASE INC                           475 SANSOME ST FL 19                                                                                  SAN FRANCISCO    CA 94111‐3172
STEELE BOBBIE                           STEELE, BOBBIE                       120 WEST MADISON STREET 10TH                                     CHICAGO          IL 60602
                                                                             FLOOR
STEELE CAROLYN J                        C/O EDWARD O MOODY PA                801 WEST 4TH STREET                                              LITTLE ROCK      AR 77201
STEELE DWAIN G (498336)                 GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510
                                                                             STREET, SUITE 600
STEELE EUGENE D (467079)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510
                                                                             STREET, SUITE 600
STEELE GENE (447947)                    BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD      OH 44067
                                                                             PROFESSIONAL BLDG
STEELE III, THOMAS W                    115 EDWARDS AVE                                                                                       RICHLAND        MS    39218‐9543
STEELE JEQUETTA                         3898 E 176TH ST                                                                                       CLEVELAND       OH    44128‐1702
STEELE JR, ANTHONY                      5301 CLOUDS REST AVE                                                                                  LAS VEGAS       NV    89108‐4037
STEELE JR, CHARLES W                    37 MELDEN DR                                                                                          BRUNSWICK       ME    04011‐9511
STEELE JR, CURTIS                       1113 ROSEDALE AVE                                                                                     FLINT           MI    48505‐2925
STEELE JR, EMRED                        8200 E JEFFERSON AVE APT 909                                                                          DETROIT         MI    48214‐2658
STEELE JR, HARRY C                      3478 E AKRON RD                                                                                       CARO            MI    48723‐9334
STEELE JR, JAMES H                      3663 IARGO RD                                                                                         HALE            MI    48739‐9033
STEELE JR, KENNETH P                    5195 PLEASANT DR                                                                                      BEAVERTON       MI    48612‐8543
STEELE JR, TRACY R                      1137 FRANCIS AVE SE                                                                                   WARREN          OH    44484‐4335
STEELE JR, WILTON A                     15214 CORBY ST                                                                                        OMAHA           NE    68116‐7129
STEELE JR., D J                         36815 DOVER DR                                                                                        WESTLAND        MI    48185‐3489
STEELE JR., D J                         37427 PHONSWOOD DR                                                                                    NORTHVILLE      MI    48167‐9748
STEELE JUDITH ANN                       STEELE, JUDITH ANN                   10299 GRAND RIVER RD STE N                                       BRIGHTON        MI    48116‐9558
STEELE JULIUS SR                        2632 REEL ST                                                                                          HARRISBURG      PA    17110‐2017
STEELE LARRY                            47612 GOLDRIDGE LN                                                                                    MACOMB          MI    48044‐2415
STEELE LISA                             2201 SHADY OAKS CT                                                                                    GARLAND         TX    75044
STEELE LLL, LESLIE K                    4417 PECOS ST                                                                                         FORT WORTH      TX    76119‐5179
STEELE LOUISE                           STEELE, LOUISE                       30928 FORD RD                                                    GARDEN CITY     MI    48135‐1803
STEELE MATTHEW                          SAAB OF SOUTH ANCHORAGE              9100 OLD SEWARD HWY                                              ANCHORAGE       AK    99515‐2026
STEELE RICHARD W JR (424850)            ENSLEIN PETER T LAW OFFICES          1738 WISCONSIN AVE NW                                            WASHINGTON      DC    20007‐2313
STEELE RICHARD W JR (424850) ‐ STEELE   ENSLEIN PETER T LAW OFFICES          1738 WISCONSIN AVE NW                                            WASHINGTON      DC    20007‐2313
NANCY L
STEELE ROBERTA                          5858 ARROWHEAD LAKE RD                                                                                HESPERIA        CA 92345‐9500
STEELE RONALD F (492172)                BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD      OH 44067
                                                                             PROFESSIONAL BLDG
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Name                              Address1                          Address2                       Address3   Address4         City            State Zip
STEELE RUBBER PRODUCTS            MATTEO AGOSTA                     6180 HIGHWAY 150 E                                         DENVER           NC 28037‐9650
STEELE SCHARBACH ASSOCIATES LLC   2124 N DAYTON ST                                                                             CHICAGO           IL 60614‐4302
STEELE SR, RONNIE D               1748 RISDON RD                                                                               CONCORD          CA 94518‐3452
STEELE VEST JR                    8291 W 1100 N                                                                                ELWOOD           IN 46036‐9013
STEELE WALTER A (343342)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510
                                                                    STREET, SUITE 600
STEELE WAYNE                      134 N PARK DR                                                                                MADERA          CA   93637‐3032
STEELE'S HOME HEALTH              822 S STATE ST                                                                               DOVER           DE   19901‐4148
STEELE, AARON C                   212 W 4TH AVE                                                                                GARNETT         KS   66032‐1316
STEELE, ALENE M                   17514 YORK RD                                                                                HAGERSTOWN      MD   21740‐7528
STEELE, ALICE                     646 WILLOW SPRINGS DR                                                                        DAYTON          OH   45427‐2840
STEELE, ALLEN D                   202 W OAK ST                                                                                 ARCHIE          MO   64725‐9529
STEELE, ANNA M                    608 RALEIGH DR                                                                               COLUMBUS        OH   43228‐2915
STEELE, ANNETTE M                 340 RIDGE RD APT C5                                                                          NEWTON FALLS    OH   44444‐1243
STEELE, ANNETTE M                 340 RIDGE ROAD APT C5                                                                        NEWTON FALLS    OH   44444‐4444
STEELE, ANTHONY C                 203 CROSSCREEK DR                                                                            BOSSIER CITY    LA   71111‐2354
STEELE, ARNOLD                    535 NASH AVE                                                                                 YPSILANTI       MI   48198‐6125
STEELE, BARBARA                   600 ARLINGTON AVE.                UNIT #7                                                    PETOSKEY        MI   49770
STEELE, BARBARA                   600 ARLINGTON AVE APT 7                                                                      PETOSKEY        MI   49770‐3423
STEELE, BARBARA A                 158 BARNSLEY ROAD                                                                            OXFORD          PA   19363‐3910
STEELE, BARBARA J                 134 S CANAL ST                                                                               CHESANING       MI   48616‐1510
STEELE, BARRY F                   279 PLEASANTVIEW DR                                                                          SUNRISE BEACH   MO   65079‐7809
STEELE, BASIL R                   PO BOX 134                                                                                   FAIRLAND        IN   46126‐0134
STEELE, BETTY L                   45055 STATE HIGHWAY 74 SPC 3                                                                 HEMET           CA   92544
STEELE, BETTY L                   CROWN POINT ASSISTED LIVING       ROOM 146                                                   SEBRING         FL   33872
STEELE, BETTY L                   3891 POLK ST RM 22                                                                           RIVERSIDE       CA   92505‐1703
STEELE, BETTY L.                  12 PEBBLERIDGE DR                                                                            MEDINA          NY   14103‐9563
STEELE, BEVERLY M                 907 LOCKSLEY MANOR DR                                                                        LAKE ST LOUIS   MO   63367‐2576
STEELE, BEVERLY MARSHA            907 LOCKSLEY MANOR DR                                                                        LAKE ST LOUIS   MO   63367‐2576
STEELE, BILLY J                   410 BENJAMIN WRIGHT DR                                                                       MIDDLETOWN      DE   19709‐9272
STEELE, BILLY R                   68 SPEEGLE ST                                                                                DECATUR         AL   35603‐5751
STEELE, BILLY RAY                 68 SPEEGLE ST                                                                                DECATUR         AL   35603‐5751
STEELE, BLAINE                    301 MEGGS BLVD                                                                               COPPERAS COVE   TX   76522‐2850
STEELE, BLANCHE                   5001 N 64TH ST                                                                               MILWAUKEE       WI   53218‐4025
STEELE, BOBBIE                    KROHN & MOSS ‐ IN                 120 WEST MADISON STREET 10TH                               CHICAGO         IL   60602
                                                                    FLOOR
STEELE, CARMEN B                  2428 SUNSET BLVD                                                                             ANDERSON        IN   46013‐2247
STEELE, CAROLYN JOE               MOODY EDWARD O                    801 W 4TH ST                                               LITTLE ROCK     AR   72201‐2107
STEELE, CAROLYN S                 766 INDIANWOOD DRIVE                                                                         MASON           OH   45040‐1422
STEELE, CAROLYN S                 3030 BONANZA DR.                                                                             LEXINGTON       KY   40509‐1530
STEELE, CAROLYN SUE               1523 SIERRA ST                                                                               MONTGOMERY      AL   36108‐3542
STEELE, CAROLYN SUE               1523 SIERRA STREET                                                                           MONTGOMERY      AL   36108‐3542
STEELE, CAROLYNN                  3934 HILLSDALE DR                                                                            AUBURN HILLS    MI   48326‐4302
STEELE, CHARLENE                  1402 DECAMP ST                                                                               BURTON          MI   48529‐1220
STEELE, CHARLENE                  1402 E DECAMP ST                                                                             BURTON          MI   48529‐1220
STEELE, CHARLES A                 6531 EMMONS DR                                                                               FORT WAYNE      IN   46835‐2293
STEELE, CHARLES E                 632 HORN SPRINGS RD                                                                          LEBANON         TN   37087‐1913
STEELE, CHARLES G                 2947 N COUNTY ROAD 50 E                                                                      GREENCASTLE     IN   46135‐8589
STEELE, CHARLES G                 1149 GOOSEBERRY HILL                                                                         SHREVEPORT      LA   71118‐3560
STEELE, CHARLES GLENN             1149 GOOSEBERRY HILL                                                                         SHREVEPORT      LA   71118‐3560
STEELE, CHARLES L                 157 POPLAR AVE                                                                               SHELBY          OH   44875‐1018
STEELE, CHEYENNE
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Name                       Address1                        Address2                          Address3   Address4         City               State Zip
STEELE, CHRIS W            9614 JOPLIN ST                                                                                COMMERCE CITY       CO 80022‐9319
STEELE, CHRISTI REDFEARN   PAYNE LAW GROUP                 2911 TURTLE CREEK BLVD STE 1400                               DALLAS              TX 75219‐6258

STEELE, CHRISTOPHER S      2467 BELMONT CT                                                                               TROY               MI   48098‐2358
STEELE, CLARENCE D         125 LOMBARD RD                                                                                OXFORD             PA   19363‐2267
STEELE, CLARENCE D         22861 BOWMAN RD                                                                               DEFIANCE           OH   43512‐8991
STEELE, CLARENCE DOUGLAS   22861 BOWMAN RD                                                                               DEFIANCE           OH   43512‐8991
STEELE, CLARK B            9131 BRAY RD                                                                                  MILLINGTON         MI   48746‐9557
STEELE, CLAUDE T           8119 WICKLIFFE RD                                                                             WICKLIFFE          KY   42087‐9551
STEELE, CLEMENT R          241 KRAN ELLE LN                                                                              BELOIT             OH   44609‐9405
STEELE, CLYDE J            1715 PINE FOREST CT                                                                           BEL AIR            MD   21014‐5661
STEELE, CONNIE R           18 KEVIN LN                                                                                   TRINITY            AL   35673
STEELE, CORA               738 N ELIZABETH ST                                                                            CHICAGO            IL   60642‐5712
STEELE, COZZIE T           1319 E PARISH ST                                                                              SANDUSKY           OH   44870‐4361
STEELE, CRAIG J            7464 PARADISE DR                                                                              GRAND BLANC        MI   48439‐7100
STEELE, CURTIS             3301 PROCTOR AVE                                                                              FLINT              MI   48504‐2684
STEELE, DAKOTA
STEELE, DALE A             8501 DILLON RD                                                                                CHARLESTOWN        IN   47111
STEELE, DALE R             7397 STATE ROUTE 305                                                                          BURGHILL           OH   44404
STEELE, DALE T             442 VILLA DR SW                                                                               LILBURN            GA   30047‐5319
STEELE, DALTON R           216 GUY ROBERTS RD                                                                            HARTSELLE          AL   35640‐6126
STEELE, DANA               4815 RIDGELINE DR                                                                             ARLINGTON          TX   76017‐1112
STEELE, DANA A             2101 S MERIDIAN RD LOT 402                                                                    APACHE JUNCTION    AZ   85220‐7220
STEELE, DANIEL L           11211 GIRDLED RD                                                                              PAINESVILLE        OH   44077
STEELE, DARRELL D          1605 S OCEAN BLVD UNIT 404                                                                    MYRTLE BEACH       SC   29577
STEELE, DARRELL D          1612 STOCKBRIDGE AVE                                                                          KALAMAZOO          MI   49001
STEELE, DARYL B            11232 PLAINS RD                                                                               EATON RAPIDS       MI   48827‐9745
STEELE, DAVID              635 E 123RD ST                                                                                CLEVELAND          OH   44108‐2329
STEELE, DAVID A            3600 COUNTY ROAD 4990                                                                         WINNSBORO          TX   75494‐5641
STEELE, DAVID A            2661 RAMBLEWOOD RD                                                                            AIKEN              SC   29803‐6288
STEELE, DAVID A            403 PORTSIDE DR                                                                               FERNANDINA BEACH   FL   32034‐4841
STEELE, DAVID C            303 CREEKSIDE DR                                                                              COOPERSVILLE       MI   49404‐8410
STEELE, DAVID O            22021 BERNARD ST                                                                              TAYLOR             MI   48180‐3654
STEELE, DAVID R            127 TAYLOR ST                                                                                 PIEDMONT           AL   36272‐1325
STEELE, DEBORAH            8215 WHARTON DR                                                                               MORRISVILLE        PA   19067‐5224
STEELE, DEBORAH Y          309 ENGLAND CREAMERY RD                                                                       NORTH EAST         MD   21901‐1537
STEELE, DEBRA J            7714 N NORTON AVE                                                                             KANSAS CITY        MO   64119‐5464
STEELE, DEBRA J            17989 TONGANOXIE RD                                                                           LEAVENWORTH        KS   66048‐6392
STEELE, DELOIS             3168 SHICK DR                                                                                 INDIANAPOLIS       IN   46218‐2355
STEELE, DELPHES C          4698 CATTAIL ST                                                                               MIDDLEBURG         FL   32068‐5200
STEELE, DENISE A           22315 VERSAILLES COURT                                                                        ST CLR SHORES      MI   48081‐2406
STEELE, DIANNE             5870 DUBAY ST                                                                                 WATERFORD          MI   48329‐1532
STEELE, DIANNE             5870 DUBAY STREET                                                                             WATERFORD          MI   48329‐1532
STEELE, DIANNE J           5372 WOODLAND CIR                                                                             GAINESVILLE        GA   30504‐5122
STEELE, DOLLIE E           200 ELLEN ST                                                                                  HARTWELL           GA   30643‐2036
STEELE, DOLLIE E           200 ELLEN STREET                                                                              HARTWELL           GA   30643‐2036
STEELE, DONA M             2849 ROY ST                                                                                   YOUNGSTOWN         OH   44509‐1207
STEELE, DOROTHY A          1131 E 11TH ST                                                                                DULUTH             MN   55805‐1557
STEELE, DOROTHY B          320 COLONY STREET                                                                             MERIDEN            CT   06451‐2053
STEELE, DOROTHY B          320 COLONY ST                                                                                 MERIDEN            CT   06451‐2053
STEELE, DOROTHY J          8142 SPENCER RD                                                                               HOMERVILLE         OH   44235‐9715
STEELE, DOROTHY J          8142 SPENCER ROAD                                                                             HOMERVILLE         OH   44235‐9715
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Name                       Address1                         Address2                      Address3   Address4         City                  State Zip
STEELE, DOROTHY K          507 E PEARL ST                                                                             GREENWOOD              IN 46143‐1351
STEELE, DOROTHY M          3956 NICHOLAS ROAD                                                                         DAYTON                 OH 45408‐2328
STEELE, DOUGLAS A          4950 BAETCKE LAKE RD                                                                       BRIGHTON               MI 48116‐9707
STEELE, DOUGLAS E          15 DALE AVENUE                                                                             SHELBY                 OH 44875‐1318
STEELE, DREW               3850 ANVIL BLOCK RD                                                                        ELLENWOOD              GA 30294‐3705
STEELE, DWAIN G            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA 23510‐2212
                                                            STREET, SUITE 600
STEELE, EDGAR R            4169 MEADOR PORT OLIVER RD                                                                 SCOTTSVILLE           KY   42164‐9445
STEELE, EDWARD L           340 HORATIO ST                                                                             CHARLOTTE             MI   48813‐1556
STEELE, EDWIN S            1379 NE 51ST LOOP                                                                          OCALA                 FL   34479‐7692
STEELE, ELAINE J           6 BUTLER RD                                                                                EGG HARBOR TOWNSHIP   NJ   08234‐6604
STEELE, ELIZABETH A        PO BOX 242                                                                                 TECUMSEH              MI   49286‐0242
STEELE, ELMER D            11770 CLEVELAND RD                                                                         CARSON CITY           MI   48811‐9602
STEELE, ELMER L            8142 SPENCER RD                                                                            HOMERVILLE            OH   44235‐9715
STEELE, ELMER W            4908 WIXOM DR                                                                              BEAVERTON             MI   48612‐8807
STEELE, EUGENE D           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510‐2212
                                                            STREET, SUITE 600
STEELE, EUGENE M           5855 STRATMORE AVE                                                                         CYPRESS               CA   90630‐4623
STEELE, EVERETT D          128 INDIAN SHADOWS DR                                                                      MARYVILLE             TN   37801‐3682
STEELE, EVERETTE B         8351 BENNETT LAKE RD                                                                       FENTON                MI   48430‐9089
STEELE, EVERETTE BERKELY   8351 BENNETT LAKE RD                                                                       FENTON                MI   48430‐9089
STEELE, FRANCIS J          556 S LAFAYETTE ST                                                                         CLOVERDALE            IN   46120‐9145
STEELE, FRED D             1928 JERI KAY LN                                                                           SEBRING               FL   33870‐1907
STEELE, FREDERIC M         737 WALTER AVE                                                                             FAIRFIELD             OH   45014‐1727
STEELE, GARNET B           115 S JAMESTOWN RD                                                                         CORAOPOLIS            PA   15108‐1018
STEELE, GARNETT L          1795 E LONG ST                                                                             COLUMBUS              OH   43203‐2009
STEELE, GARNETT L          1795 EAST LONG STREET                                                                      COLUMBUS              OH   43203‐2009
STEELE, GARY D             5267 N GALE RD                                                                             DAVISON               MI   48423‐8956
STEELE, GARY D             PO BOX 195                                                                                 MORRICE               MI   48857‐0195
STEELE, GARY DWIGHT        5267 N GALE RD                                                                             DAVISON               MI   48423‐8956
STEELE, GENE L             1355 TOWNSHIP ROAD 1503                                                                    ASHLAND               OH   44805‐9716
STEELE, GEORGE D           9573 5 ML RD                                                                               EVART                 MI   49631
STEELE, GEORGE E           23185 104TH ST                                                                             LIVE OAK              FL   32060‐5834
STEELE, GEORGE R           2111 S CLARK ST APT 1311                                                                   CHICAGO               IL   60616
STEELE, GERALDINE          155 SUNFLOWER MEADOW                                                                       MCDONOUGH             GA   30252
STEELE, GERTRUDE           4183 LITHOPOLIS RD NW                                                                      LANCASTER             OH   43130‐9596
STEELE, GLENDA J           9000 E JEFFERSON AVE APT 29‐11                                                             DETROIT               MI   48214‐5607
STEELE, GLENN P            2821 ERNEST HAWKINS RD                                                                     SANTA FE              TN   38482‐3141
STEELE, GOLDIE I           1223 GREENWICH ST                                                                          SAGINAW               MI   48602‐1645
STEELE, GREG T             26708 NICK DAVIS RD                                                                        ATHENS                AL   35613
STEELE, HAROLD J           PO BOX 307                                                                                 HOLCOMBE              WI   54745‐0307
STEELE, HARRY D            158 BARNSLEY RD                                                                            OXFORD                PA   19363‐3910
STEELE, HARRY J            5032 SEAGRASS DR                                                                           VENICE                FL   34293‐4297
STEELE, HELEN B            738 N 28TH ST                                                                              SAGINAW               MI   48601‐6120
STEELE, HELEN L            4707 VENICE RD LOT 22                                                                      SANDUSKY              OH   44870‐1407
STEELE, HELEN L            4707 VENICE RD., LOT 22                                                                    SANDUSKY              OH   44870‐1407
STEELE, HERBERT C          255 MAYER RD APT 336M                                                                      FRANKENMUTH           MI   48734‐1847
STEELE, HERBERT E          PO BOX 681044                                                                              FRANKLIN              TN   37068‐1044
STEELE, HERBERT J          608 RALEIGH DR                                                                             COLUMBUS              OH   43228‐2915
STEELE, HERMAN H           1302 S COLUMBIA AVE                                                                        SHEFFIELD             AL   35660‐6314
STEELE, IONE               1201 W CEDAR AVE APT C3          THE BROOK                                                 GLADWIN               MI   48624‐1874
STEELE, IONE               1201 WEST CEDAR AVENUE           APT. C‐3                                                  GLADWIN               MI   48624
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Name                      Address1                         Address2            Address3         Address4         City              State Zip
STEELE, JACK E            2232 S 12TH ST                                                                         BELOIT             OH 44609‐9445
STEELE, JACOB L           2707 HILLVALE COVE DR                                                                  LITHONIA           GA 30058‐1871
STEELE, JAMES             PORTER & MALOUF PA               4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621
STEELE, JAMES A           2466 DORIS DR                                                                          BRIGHTON           MI 48114‐4914
STEELE, JAMES A           14294 S RIVERSIDE DR                                                                   DAFTER             MI 49724‐9514
STEELE, JAMES A           836 MAGNOLIA ST                                                                        BOWLING GREEN      KY 42103‐4924
STEELE, JAMES D           214 COUNTY ROAD 204                                                                    DANVILLE           AL 35619‐9431
STEELE, JAMES L           1428 FOLEY AVE                                                                         YPSILANTI          MI 48198‐6502
STEELE, JAMES L           4705 FRANKFORD AVE                                                                     BALTIMORE          MD 21206‐5244
STEELE, JAMES O           17470 SE 110TH TER                                                                     SUMMERFIELD        FL 34491‐8636
STEELE, JAMES O           8142 WESTPORT CIR                                                                      DISCOVERY BAY      CA 94505‐2680
STEELE, JAMES P           4410 NEWARK RD                                                                         ATTICA             MI 48412‐9647
STEELE, JAMES R           1002 112TH AVE                                                                         MARTIN             MI 49070‐9724
STEELE, JAMES S           1155 ROY SELLERS RD                                                                    COLUMBIA           TN 38401‐8886
STEELE, JASON R           251 IDLEWOOD RD                                                                        AUSTINTOWN         OH 44515‐2831
STEELE, JEFFREY D         8002 WOLFF DR                                                                          GARRETTSVILLE      OH 44231‐1067
STEELE, JEQUETTA A        3898 E 176TH ST                                                                        CLEVELAND          OH 44128‐1702
STEELE, JERRY L           PO BOX 695                                                                             LITTLEFIELD        AZ 86432‐0695
STEELE, JO H              4709 NORRIS ST                                                                         FORT WORTH         TX 76105‐4340
STEELE, JOHN D            1682 S SHORE DR                                                                        ROCHESTER HILLS    MI 48307‐4341
STEELE, JOHN E            19051 MERRIMAN RD                                                                      LIVONIA            MI 48152‐3373
STEELE, JOHN H            89 NELSON MOBLIE HOME PARK                                                             BEVERLY            WV 26253
STEELE, JOHN R            8493 KING RD                     STRONACH TWP                                          MANISTEE           MI 49660‐9438
STEELE, JOHN R            416 SCHOTTS LN                                                                         BALTIMORE          MD 21221‐1630
STEELE, JOHN R            112 VILLAGE RD                                                                         GREENWOOD          SC 29649‐7914
STEELE, JOHN W            43 ASHLEY LN                                                                           SCOTTSVILLE        KY 42164‐7600
STEELE, JOHNNIE           1732 E 79TH ST                                                                         CLEVELAND          OH 44103‐3430
STEELE, JOHNNIE M         46 S VIRGINIA AVE                                                                      DANVILLE            IL 61832‐6134
STEELE, JONATHAN W        PO BOX 452                                                                             CHESANING          MI 48616‐0452
STEELE, JOSHUA DEFOREST
STEELE, JOSHUA MAX
STEELE, JUANITA           1940 W MT LOOKOUT RD                                                                   MT LOOKOUT        WV   26678‐0149
STEELE, JUANITA P         254 E 248TH ST                                                                         EUCLID            OH   44123‐1437
STEELE, JUDITH ANN        8351 BENNETT LAKE RD                                                                   FENTON            MI   48430‐9089
STEELE, JUDITH L          1601 CRANBROOK DR                                                                      KOKOMO            IN   46902‐5615
STEELE, JUDITH V          611 BEAVERBROOK DR                                                                     CARMEL            IN   46032‐4598
STEELE, JULIA A           24513 BOLAM AVE                                                                        WARREN            MI   48089‐2175
STEELE, JULIA A           24513 BOLAM                                                                            WARREN            MI   48089‐2175
STEELE, JULIA K           11795 KINGS COLONY                                                                     GRAND BLANC       MI   48439‐8659
STEELE, KARL M            9131 BRAY RD                                                                           MILLINGTON        MI   48746‐9557
STEELE, KATHERINE         116 S DORCHESTER AVE                                                                   ROYAL OAK         MI   48067‐3930
STEELE, KATHLEEN M        5250 MALLET CLUB DRIVE                                                                 DAYTON            OH   45439‐3277
STEELE, KATIE             3590 HARRIET ST                                                                        INKSTER           MI   48141‐2943
STEELE, KAY
STEELE, KENNETH L         612 COUNTY ROAD 169                                                                    MOULTON           AL   35650‐6631
STEELE, KERMIT L          15808 SILVERGROVE DR                                                                   WHITTIER          CA   90604‐3744
STEELE, KERRY L           680 ROBERT PL                                                                          CARLISLE          OH   45005‐3723
STEELE, LARRY J           1841 BLANDVILLE RD                                                                     WICKLIFFE         KY   42087‐9614
STEELE, LARRY W           47612 GOLDRIDGE LN                                                                     MACOMB            MI   48044‐2415
STEELE, LARRY W           10893 S AMERICA RD                                                                     LA FONTAINE       IN   46940‐9062
STEELE, LARRY WAYNE       10893 S AMERICA RD                                                                     LA FONTAINE       IN   46940‐9062
STEELE, LAURA K           6 SOUSA PL                                                                             KETTERING         OH   45420‐2930
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Name                   Address1                        Address2                Address3     Address4         City            State Zip
STEELE, LAVILLA F      914 SUNFLOWER CT                                                                      PEMBERVILLE      OH 43450‐9445
STEELE, LENA M         147 BURBANK ST                                                                        CRESTON          OH 44217‐9629
STEELE, LEON J         0‐588 KOZY KOVE NW                                                                    GRAND RAPIDS     MI 49544
STEELE, LEROY          9311 ROBSON ST                                                                        DETROIT          MI 48228
STEELE, LESLIE K       1325 BOCA CHICA DR                                                                    DALLAS           TX 75232‐2807
STEELE, LEWIS C        738 N 28TH ST                                                                         SAGINAW          MI 48601‐6120
STEELE, LEWIS E        3470 OLIVESBURG RD                                                                    MANSFIELD        OH 44903‐9003
STEELE, LINDA A        979 RED MAPLE CT                                                                      GREENWOOD        IN 46143
STEELE, LINDA L        911 CARSON DR                                                                         LEBANON          OH 45036‐1317
STEELE, LOIS MARIE     239 PICKLO ST                                                                         JOHNSTOWN        PA 15906‐1054
STEELE, LOUIS C        123 BEGONIA CT                                                                        GRIFFIN          GA 30223‐7260
STEELE, LOUISE         CONSUMER LEGAL SERVICES P.C.    30928 FORD RD                                         GARDEN CITY      MI 48135‐1803
STEELE, LOUISE H       5575 TICA AVE                                                                         DAYTON           OH 45424‐4457
STEELE, LUELLA M       8937 E US HIGHWAY 36                                                                  COATESVILLE      IN 46121‐8828
STEELE, LUTHER B       6840 W 16TH ST                                                                        INDIANAPOLIS     IN 46214‐3326
STEELE, MABLE          PO BOX 269                      8180 OTTAWA                                           DE SOTO          KS 66018‐0269
STEELE, MANUEL         GUY WILLIAM S                   PO BOX 509                                            MCCOMB           MS 39649‐0509
STEELE, MARGARET ANN   SHANNON LAW FIRM                100 W GALLATIN ST                                     HAZLEHURST       MS 39083‐3007
STEELE, MARIAN S       RYDAL PARK                      1515 THE FAIRWAY        APT 226H                      RYDAL            PA 19046‐1438
STEELE, MARILYN H      1846 OWEN ST                                                                          FLINT            MI 48503‐4359
STEELE, MARJORIE M     5740 KENSINGTON WAY SOUTH                                                             PLAINFIELD       IN 46168‐7550
STEELE, MARK D         2948 NEWTON FALLS RD                                                                  NEWTON FALLS     OH 44444‐9603
STEELE, MARSHA S       314 NORMAGENE ST                                                                      LIVINGSTON       TX 77351‐8295
STEELE, MARTHA E       779 TORRINGTON DR                                                                     NAPERVILLE        IL 60565‐4129
STEELE, MARVIN K       6925 N COUNTY ROAD 400 W                                                              NORTH SALEM      IN 46165‐9701
STEELE, MARY           12210 56TH AVE                                                                        ALLENDALE        MI 49401‐9161
STEELE, MARY A         1685 N 400 E                                                                          WARSAW           IN 46582‐5618
STEELE, MARY A         1685 N. 400 E.                                                                        WARSAW           IN 46582
STEELE, MARY ANN       5159 CENTREVILLE                                                                      GRAND BLANC      MI 48439‐8747
STEELE, MARY C         1511 EASTLAND ST                                                                      BOWLING GREEN    KY 42104‐3313
STEELE, MARY C         3850 ANVIL BLOCK RD                                                                   ELLENWOOD        GA 30294‐3705
STEELE, MARY F         3100 BELL WICK RD               C/O KAREN L. BANIC                                    HUBBARD          OH 44425‐3135
STEELE, MARY F         C/O KAREN L. BANIC              3100 BELL WICK RD                                     HUBBARD          OH 44425‐4425
STEELE, MARY L         1128 WOOD AVE SW                                                                      WARREN           OH 44485‐3865
STEELE, MELINDA S      1672 AMOY WEST RD                                                                     MANSFIELD        OH 44903‐8022
STEELE, MICHAEL A      23132 LAKE RAVINES DR                                                                 SOUTHFIELD       MI 48033‐6531
STEELE, MICHAEL J      235 W BOLIVAR AVE                                                                     MILWAUKEE        WI 53207‐4941
STEELE, MICHAEL M      176 ASHTON CT                                                                         BOWLING GREEN    KY 42104‐8594
STEELE, MILO V         5136 CASPER ST                                                                        DETROIT          MI 48210‐2203
STEELE, MOZELLA        PO BOX 656                                                                            INKSTER          MI 48141‐0656
STEELE, MYRN L         PO BOX 216                                                                            OMENA            MI 49674‐0216
STEELE, MYRTLE R       4225 WOLF RD                                                                          DAYTON           OH 45416‐2225
STEELE, NANCY          1101 SOUTH ELLSWORTH RD         SPACE 70                                              MESA             AZ 85208
STEELE, NANCY L        ENSLEIN PETER T LAW OFFICES     1738 WISCONSIN AVE NW                                 WASHINGTON       DC 20007‐2313
STEELE, NOEL C         716 RIVERA ROAD                                                                       THE VILLAGES     FL 32159‐2159
STEELE, NOEL C         716 RIVERA RD                                                                         THE VILLAGES     FL 32159‐8733
STEELE, NORMA J        6454 JEFFERSON PAIGE RD                                                               SHREVEPORT       LA 71119‐5106
STEELE, NORMAN A       14189 W CALLA RD                                                                      SALEM            OH 44460‐9648
STEELE, NORMAN R       10608 WINDJAMMER CIR                                                                  INDIANAPOLIS     IN 46236‐8933
STEELE, OLIVER S       5001 N 64TH ST                                                                        MILWAUKEE        WI 53218‐4025
STEELE, ORMIA J        PO BOX 21745                                                                          DETROIT          MI 48221‐0745
STEELE, PAMELA M       304 INDEPENDENCE CREEK LN                                                             GEORGETOWN       TX 78633‐5314
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Name                    Address1                        Address2                Address3     Address4         City               State Zip
STEELE, PATRICIA A      522 GORMAN ST                                                                         SHELBY              NC 28152‐6404
STEELE, PEARL A         P.O. BOX 12                                                                           HARTFORD            OH 44424‐0012
STEELE, PHILIP S        8105 WILLOW LN                                                                        WARREN              MI 48093‐7948
STEELE, PHYLLIS M       5785 HALL RD                                                                          PLAINFIELD          IN 46168‐7659
STEELE, QUINTON E       19175 SNOWDEN ST                                                                      DETROIT             MI 48235‐1259
STEELE, QUINTON E.      19175 SNOWDEN ST                                                                      DETROIT             MI 48235‐1259
STEELE, RALPH W         512 BARRETT ST                                                                        WILMINGTON          DE 19802‐2021
STEELE, RALPH WARNICK   512 BARRETT ST                                                                        WILMINGTON          DE 19802‐2021
STEELE, RANDALL S       116 S DORCHESTER AVE                                                                  ROYAL OAK           MI 48067‐3930
STEELE, RICHARD A       2644 BEACH RD                                                                         PORT HURON          MI 48060‐7734
STEELE, RICHARD A       5100 GREENWOOD RD                                                                     GLADWIN             MI 48624‐9000
STEELE, RICHARD C       921 MAPLE MEADOWS AVE                                                                 VICKSBURG           MI 49097‐1515
STEELE, RICHARD G       2521 183RD AVE NE                                                                     REDMOND             WA 98052‐5928
STEELE, RICHARD J       13255 SILVER THORN LOOP APT 6                                                         N FT MYERS          FL 33903‐8905
STEELE, RICHARD T       5530 VAL VERDE RD                                                                     LOOMIS              CA 95650‐9442
STEELE, RICHARD T       636 POLK ST                                                                           SANDUSKY            OH 44870‐3319
STEELE, RICHARD W       ENSLEIN PETER T LAW OFFICES     1738 WISCONSIN AVE NW                                 WASHINGTON          DC 20007‐2313
STEELE, RICKY L         128 BRIGHTON RD                                                                       HOWELL              MI 48843
STEELE, ROBERT E        1113 ROSEDALE AVE                                                                     FLINT               MI 48505
STEELE, ROBERT E        PO BOX 12                                                                             HARTFORD            OH 44424‐0012
STEELE, ROBERT G        3274 VOIGT CT                                                                         INDIANAPOLIS        IN 46224‐2156
STEELE, ROBERT L        7629 CARLTON ARMS BLVD                                                                WINTER HAVEN        FL 33884‐4810
STEELE, ROBERT L        1295 HOLLY VISTA BLVD                                                                 SAN BERNARDINO      CA 92404‐2539
STEELE, ROBERTA M       9449 MITCHELL DEWITT RD                                                               PLAIN CITY          OH 43064‐8704
STEELE, ROGER A         2500 MANN RD LOT 126                                                                  CLARKSTON           MI 48346‐4268
STEELE, ROGER E         623 SOUTH MCCRARY STREET                                                              ASHEBORO            NC 27203‐6101
STEELE, ROGER E         53669 MEADOW VIEW LN                                                                  NEW BALTIMORE       MI 48047‐5844
STEELE, ROGER EDWARD    53669 MEADOW VIEW LN                                                                  NEW BALTIMORE       MI 48047‐5844
STEELE, ROLAND L        1321 NW WILLOW DR                                                                     GRAIN VALLEY        MO 64029‐9534
STEELE, RONALD E        3337 GOLFVIEW DR NW                                                                   GRAND RAPIDS        MI 49544‐7338
STEELE, RONALD M        10755 BLISS RD                                                                        ELWELL              MI 48832‐9753
STEELE, RONALD R        PO BOX 1886                                                                           BULLHEAD CITY       AZ 86430‐1886
STEELE, RONALD R        6123 N HWY 66                                                                         KINGMAN             AZ 86401
STEELE, RONALD T        1626 INGLIS LN                                                                        SAN JOSE            CA 95118
STEELE, ROSA L          777 HOWELL RD                                                                         TARBORO             NC 27886‐8074
STEELE, ROSALIE         8634 ESPER ST                                                                         DETROIT             MI 48204‐3180
STEELE, ROSALIE A       1608 LEE LN                                                                           PLEASANT HILL       MO 64080‐1104
STEELE, ROSALIE A       1608 LEE LANE                                                                         PLEASANT HILL       MO 64080‐1104
STEELE, ROSEMARY B      RM 3‐220 GM BLDG                BRAZIL                                                DETROIT             MI 48202
STEELE, ROY B           447 SW 21ST ST                                                                        RICHMOND            IN 47374‐5015
STEELE, ROY L           6949 W US 36                                                                          DANVILLE            IN 46122
STEELE, RUSSEL L        14342 MCCAVIT RD                C/O LE ANN FRITCH                                     NEY                 OH 43549‐9788
STEELE, RUSSELL K       16626 CEDERAMA DR                                                                     CLINTON TOWNSHIP    MI 48038‐2757
STEELE, RUTH E          5955 WING AVE SE                                                                      GRAND RAPIDS        MI 49512‐9650
STEELE, SCOTT J         PO BOX 50541                                                                          BOWLING GREEN       KY 42102‐3741
STEELE, SELMA A         820 MANCHESTER                                                                        SALINA              KS 67401
STEELE, SHANE J         5010 MIDDLETON PIKE                                                                   LUCKEY              OH 43443‐9701
STEELE, SHARON L        3032 SAGEFIELD RD                                                                     TUSCALOOSA          AL 35405
STEELE, SHIRLEY A       21645 GLENCO ST                                                                       DETROIT             MI 48219‐2441
STEELE, SHIRLEY A       11540 CROSBY RD                                                                       FENTON              MI 48430‐8926
STEELE, SHIRLEY B       716 RIVERA RD                                                                         THE VILLAGES        FL 32159‐8733
STEELE, SHIRLEY B       716 RIVERA ROAD                                                                       THE VILLAGES        FL 32159‐2159
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Name                      Address1                            Address2                         Address3   Address4         City                State Zip
STEELE, SONYA R           4565 HAMPTON CT N                                                                                WARREN               MI 48092‐4375
STEELE, STACY M           5136 BELVEDERE DR                                                                                STONE MTN            GA 30087‐3920
STEELE, STEVEN L          511 W BROAD                                                                                      SPICELAND            IN 47385
STEELE, STUART H          11795 KINGS COLONY                                                                               GRAND BLANC          MI 48439‐8659
STEELE, SUSIE T           5742 DAPHNE LANE                                                                                 DAYTON               OH 45415‐2646
STEELE, SUSIE T           5742 DAPHNE LN                                                                                   DAYTON               OH 45415‐2646
STEELE, SUZETTE           23667 MATTS DR                                                                                   ROMULUS              MI 48174‐9658
STEELE, SYLVESTER         24780 GLOUCHESTER ST APT 304                                                                     HARRISON TOWNSHIP    MI 48045‐3157
STEELE, TERRY F           827 DRIFTWOOD LN                                                                                 EDMONDS              WA 98020‐2691
STEELE, THOMAS A          7070 HICKORY HOLLOW CIR                                                                          CLARKSTON            MI 48348‐4253
STEELE, THOMAS T          6860 SLIPPERY ROCK DR                                                                            CANFIELD             OH 44406‐8666
STEELE, TICARRA E         1490 SPICETREE CIR APT 201                                                                       FAIRBORN             OH 45324‐7113
STEELE, TIMOTHY C         7449 BARRETT RD.                                                                                 CINCINNATI           OH 45069
STEELE, TIMOTHY R         2685 LUELLA AVE                                                                                  SAGINAW              MI 48603‐3041
STEELE, TIMOTHY RAY       2685 LUELLA AVE                                                                                  SAGINAW              MI 48603‐3041
STEELE, TOBY JAY
STEELE, TODD W            112 FLORAL AVE                                                                                   PLAINWELL           MI   49080‐1419
STEELE, TRILLMON H        11946 HWY 33                                                                                     MOULTON             AL   35650
STEELE, TROY J            619 LIBERTY RD                                                                                   YOUNGSTOWN          OH   44505‐4258
STEELE, VAULTY            210 OAK ST                                                                                       CARLISLE            OH   45005‐5813
STEELE, VAULTY            210 OAK DR                                                                                       CARLISLE            OH   45005‐5813
STEELE, VICTOR            GUY WILLIAM S                       PO BOX 509                                                   MCCOMB              MS   39649‐0509
STEELE, VIRGINIA          815 E CENTRAL AVE                                                                                MIAMISBURG          OH   45342‐2447
STEELE, VIRGINIA K        2407 ARDMORE AVE                                                                                 CINCINNATI          OH   45237‐4403
STEELE, VIRGINIA L        9133 LOG RUN DR N                                                                                INDIANAPOLIS        IN   46234‐1329
STEELE, WALTER A          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA   23510‐2212
                                                              STREET, SUITE 600
STEELE, WALTER E          54 SUNSET DR                                                                                     SHELBY              OH   44875‐9415
STEELE, WALTER E          650 W ADRIAN ST LOT 193                                                                          BLISSFIELD          MI   49228‐1063
STEELE, WAYNE L           811 E MILWAUKEE ST                                                                               JANESVILLE          WI   53545‐3162
STEELE, WILLIAM E         5055 WILLOWVALE WAY                                                                              ANDERSON            IN   46012‐9722
STEELE, WILLIAM H         5335 DUFFIELD RD                                                                                 FLUSHING            MI   48433‐9765
STEELE, WILLIAM R         PO BOX 262                                                                                       CAYUGA              IN   47928‐0262
STEELE, WILLIAM T         3934 HILLSDALE DR                                                                                AUBURN HILLS        MI   48326‐4302
STEELE, WILLIAM W         2849 ROY ST                                                                                      YOUNGSTOWN          OH   44509‐1207
STEELE, WILLIAM Z         216 STATE ST                                                                                     EATON RAPIDS        MI   48827‐1545
STEELE, WILLIE M          200 TRANQUILITY LN                                                                               CEDAR HILL          TX   75104‐3156
STEELE, WILLIE N          3212 WATERFORD CLUB DR                                                                           LITHIA SPRINGS      GA   30122‐4418
STEELE, YOLANDA D         6454 JEFFERSON PAIGE RD                                                                          SHREVEPORT          LA   71119‐5106
STEELE, YOLANDA DANYELL   6454 JEFFERSON PAIGE RD                                                                          SHREVEPORT          LA   71119‐5106
STEELE, ZANE M, SR        GLASSER AND GLASSER, CROWN CENTER   580 EAST MAIN STREET SUITE 600                               NORFOLK             VA   23510

STEELE, ZELDEN N          7222 ZIGLER RD                                                                                   STERLING            OH   44276‐9626
STEELE,CHRISTOPHER S      2467 BELMONT CT                                                                                  TROY                MI   48098‐2358
STEELE,LAURA K            6 SOUSA PL                                                                                       KETTERING           OH   45420‐2930
STEELE,LINDA L            911 CARSON DR                                                                                    LEBANON             OH   45036‐1317
STEELEY, CHRISTOPHE       185 SKINNER HILL RD                                                                              WORCESTER           NY   12197
STEELEY, DONALD E         1736 WOODS DR                                                                                    DAYTON              OH   45432‐2237
STEELEY, RAYMOND R        PO BOX 178                                                                                       MEEKER              OK   74855‐0178
STEELEY, RAYMOND R        342844 E 940 RD                                                                                  CHANDLER            OK   74834‐8593
STEELEY, ROGER D          2350 ORION RD                                                                                    OAKLAND             MI   48363‐1948
STEELEY, SAMUEL B         521 BIG TIMBER LN                                                                                O FALLON            MO   63368‐3565
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Name                                   Address1                        Address2                  Address3   Address4              City            State Zip
STEELMAN ALBERT T                      13709 PEYTON DR                                                                            DALLAS           TX 75240‐3714
STEELMAN JAMES R (418797)              PAUL REICH & MYERS              1608 WALNUT ST STE 500                                     PHILADELPHIA     PA 19103‐5446
STEELMAN JOHNNY CLAYTON (504556)       COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                    HOUSTON          TX 77002‐1751
STEELMAN JR, JAMES L                   4345 THORNVILLE RD                                                                         METAMORA         MI 48455‐9254
STEELMAN JR, LIGE                      445 UPLAND AVE                                                                             PONTIAC          MI 48340‐1347
STEELMAN RONALD & TAMARA               5361 WEDGE CIR                                                                             FAIR OAKS        CA 95628‐3434
STEELMAN, ALIN C                       3629 HAWTHORNE ST                                                                          CLARKSTON        MI 48348‐1347
STEELMAN, BEATRICE                     411 W LINDEN ST                                                                            TOLONO            IL 61880‐9786
STEELMAN, BEATRICE                     411 W. LINDEN                                                                              TOLONO            IL 61880‐9786
STEELMAN, CHAD                         1402 BRABYN AVE                                                                            FLINT            MI 48503‐3540
STEELMAN, EDDIE W                      139 DURHAM RD                                                                              LEOMA            TN 38468‐5103
STEELMAN, ELDREDA A                    445 UPLAND AVE                                                                             PONTIAC          MI 48340‐1347
STEELMAN, GAILYNNE                     7425 LAKEVIEW DR                                                                           BLANCHARD        OK 73010‐4504
STEELMAN, JAMES                        PAUL REICH & MYERS              1608 WALNUT ST STE 500                                     PHILADELPHIA     PA 19103‐5446
STEELMAN, JAMES P                      48615 ADAMS DR                                                                             MACOMB           MI 48044‐4949
STEELMAN, JERRY                        BOONE ALEXANDRA                 205 LINDA DR                                               DAINGERFIELD     TX 75638‐2107
STEELMAN, JIMMY R                      4300 BENNETT DR                                                                            BURTON           MI 48519‐1112
STEELMAN, JIMMY RAY                    4300 BENNETT DR                                                                            BURTON           MI 48519‐1112
STEELMAN, JOHN T                       6444 N LAGRO RD                                                                            MARION           IN 46952‐9734
STEELMAN, JOHNNY CLAYTON               COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                    HOUSTON          TX 77002‐1751
STEELMAN, KEITH L                      9146 CORUNNA RD                                                                            FLINT            MI 48532‐5503
STEELMAN, KENNETH D                    7425 LAKEVIEW DR                                                                           BLANCHARD        OK 73010‐4504
STEELMAN, MAE L                        356 CYPRESS LN                                                                             PALM SPRINGS     FL 33461‐1506
STEELMAN, MITCHELL A                   3990 BUFFALO RD                                                                            SUMMERTOWN       TN 38483‐7175
STEELMAN, ROBERT D                     72 OLD HIGHWAY 43                                                                          SUMMERTOWN       TN 38483‐7018
STEELMAN, WILLIAM W                    10465 BEERS RD                                                                             SWARTZ CREEK     MI 48473‐9125
STEELS, HERMENA L                      PO BOX 35                                                                                  SOUTH HOLLAND     IL 60473‐0035
STEELS, HERMENA L                      P.O BOX 0035                                                                               SOUTH HOLLAND     IL 60473‐0035
STEELSUMMIT TENNESSEE INC              1718 J P HENNESSEY DR                                                                      LA VERGNE        TN 37086
STEELTECH LTD                          1251 PHILLIPS AVE SW                                                                       GRAND RAPIDS     MI 49507‐1516
STEELWELD EQ CO INC SW BELL TEL CO     3321 PARKWAY DR                                                                            TEMPLE           TX 76504‐1241
STEELWELD EQ CO INS SW BELL TEL CO     ELAINE HUNTER                   PO BOX 440                                                 SAINT CLAIR      MO 63077‐0440
STEELWELD EQ. CO. INC SW BELL TEL C
STEELWELD EQ. CO. INC SW BELL TEL CO   HWY 66                                                                                     SAINT CLAIR     MO 63077

STEELWELD EQUIPMENT COMPANY            HWY 66                                                                                     SAINT CLAIR     MO 63077
STEELWELD EQUIPMENT COMPANY            3321 PARKWAY DR                                                                            TEMPLE          TX 76504‐1241
STEELWORKS DESIGN INC                  2085 WHITTINGTON DRIVE UNIT 6                                        PETERBOROUGH CANADA
                                                                                                            ON K9J 6X4 CANADA
STEELY, HENRY E                        6323 W N00S                                                                                SWAYZEE         IN   46986
STEELY, HOMER                          576 FAIRVIEW DR                                                                            CARLISLE        OH   45005‐3102
STEELY, JOHN W                         2799 ALDERSGATE RD                                                                         MEDFORD         OR   97504‐5110
STEELY, REBA                           8631 ORAMEL HILL RD                                                                        CANEADEA        NY   14717‐8759
STEELY, VIRGINIA E                     3535 N VERMILION                UNIT 239                                                   DANVILLE        IL   61832
STEELY, VIRGINIA E                     3535 N VERMILION ST APT 239                                                                DANVILLE        IL   61832‐1341
STEEN                                  ANITA STEEN                     3201 S 26TH ST                                             PHILADELPHIA    PA   19145‐5201
STEEN GARY (505258)                    MOTLEY RICE                     PO BOX 1792                                                MT PLEASANT     SC   29465‐1792
STEEN JAMES                            8301 MISSION GORGE RD SPC 36                                                               SANTEE          CA   92071
STEEN JR, JOHN L                       9 CURTIS AVE                                                                               WILMINGTON      DE   19804‐1909
STEEN JR, STOTMY                       1724 W 23RD ST                                                                             ANDERSON        IN   46016‐3833
STEEN, ANDREW                          1517 PATTERSON ST                                                                          ANDERSON        IN   46012‐4164
STEEN, ANDREW H                        706 MOUNT ALBAN DR                                                                         ANNAPOLIS       MD   21409‐4647
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Name                              Address1                         Address2             Address3        Address4         City             State Zip
STEEN, ANDREW HARRISON            706 MOUNT ALBAN DR                                                                     ANNAPOLIS         MD 21409‐4647
STEEN, BILLY E                    73 HAMILTON ST.                                                                        EAST ORANGE       NJ 07017
STEEN, BRENDA Y                   PO BOX 3153                                                                            ANDERSON          IN 46018‐3153
STEEN, BRENDA YOUNGBLOOD          900 LONG BLVD APT 351                                                                  LANSING           MI 48911
STEEN, CAROLYN V                  515 LAKE LOUISE CIR APT 102                                                            NAPLES            FL 34110‐8658
STEEN, COLENE M                   PO BOX 425                                                                             LEAVITTSBURG      OH 44430‐4430
STEEN, DOUGLAS H                  926 MAITLAND DR                                                                        LOCKPORT           IL 60441
STEEN, DOUGLAS R                  908 87TH STREET                                                                        NIAGARA FALLS     NY 14304‐2402
STEEN, GARY                       MOTLEY RICE                      PO BOX 1792                                           MT PLEASANT       SC 29465‐1792
STEEN, GERALDINE                  5820 N. COUNTY RD. 1460 E.                                                             CHARLESTON         IL 61920‐8031
STEEN, GERALDINE                  5820 N COUNTY ROAD 1460E                                                               CHARLESTON         IL 61920‐8031
STEEN, IRMA L                     2173 S CENTER RD APT 244                                                               BURTON            MI 48519‐1808
STEEN, IRMA L                     2173 SOUTH CENTER                APT 244                                               BURTON            MI 48519
STEEN, JAMES M                    1812 N HINES RD                                                                        INDEPENDENCE      MO 64058‐1554
STEEN, JOHN E                     8843 GRANT AVE APT 101                                                                 OVERLAND PARK     KS 66212‐3749
STEEN, JOHN E                     PO BOX 599                                                                             CARPINTERIA       CA 93014‐0599
STEEN, JOHN S                     1415 WILLIS LOOP RD                                                                    CAVE CITY         KY 42127‐8925
STEEN, LUCINDA M                  1212 W CENTER ST APT 103                                                               MANTECA           CA 95337‐4205
STEEN, MILDRED L                  1724 W 23RD ST                                                                         ANDERSON          IN 46016‐3833
STEEN, PAUL H                     7804 CAPWOOD AVE                                                                       TAMPA             FL 33637‐4937
STEEN, PAULA S                    2803 BRENTWOOD DR                                                                      ANDERSON          IN 46011‐4044
STEEN, PHYLLIS J                  284 WILLOW ST APT 13                                                                   LOCKPORT          NY 14094‐5555
STEEN, PHYLLIS J                  284 WILLOW ST                    APT 13                                                LOCKPORT          NY 14094‐5555
STEEN, RANDY M                    PO BOX 268                                                                             BELLE             MO 65013‐0268
STEEN, RAYMOND L                  69 PARKSIDE DR                                                                         WEST SENECA       NY 14224‐3405
STEEN, ROGER L                    7 STATE ST                                                                             JEFFERSONVILLE    OH 43128‐1029
STEEN, SAM                        2803 BRENTWOOD DR                                                                      ANDERSON          IN 46011‐4044
STEEN, VICKI L                    P.O. BOX 268                                                                           BELLE             MO 65013
STEEN, WAYMOND                    9974 E OUTER DR                                                                        DETROIT           MI 48224‐2486
STEENBERGEN CHAD                  STEENBERGEN, CHAD
STEENBERGEN, DANNY S              802 LAWNDALE DR                                                                        GREENWOOD        IN   46142‐3920
STEENBERGEN, LARY C               6035 N HENDERSON FORD RD                                                               MOORESVILLE      IN   46158‐7323
STEENBERGEN, RICHARD A            1571 SPENCER AVE                                                                       HUDSONVILLE      MI   49426‐8720
STEENBERGEN, RICHARD L            3481 STONEGLEN LN SW                                                                   WYOMING          MI   49519‐3176
STEENBERGH, EVE                   165 MARYLAND ST NW                                                                     WARREN           OH   44483‐3237
STEENBERGH, FRANKLIN D            975 E EDDY SCHOOL RD                                                                   MANCELONA        MI   49659‐8768
STEENBERGH, PAMELA A              26183 EUREKA DR                                                                        WARREN           MI   48091‐1179
STEENBERGH, RODNEY J              5349 SKYLARK PASS                                                                      GRAND BLANC      MI   48439‐9147
STEENBERGH, THOMAS A              2793 RENSHAW DR                                                                        TROY             MI   48085‐3722
STEENBLIK, HENRY J                4856 CHATSWORTH CREEK CT                                                               HUDSONVILLE      MI   49426‐9190
STEENBLOCK, KRIS E                2210 PLYMOUTH RD APT 311                                                               HOPKINS          MN   55305
STEENBURG, MICHAEL                30631 BOCK ST                                                                          GARDEN CITY      MI   48135‐1424
STEENHAGEN, MARIE A               910 62ND ST                                                                            KENOSHA          WI   53143‐1107
STEENMAN, ANTOINETTE              101 LOWER ANCHORAGE RD           C/O LINDA STEENMAN                                    SAUSALITO        CA   94965‐1632
STEENMAN, JANINE M                6434 PASEO SANTA MARIA                                                                 PLEASANTON       CA   94566‐8658
STEENS, VADIE L WRIGHT, VADIE L   135 COUNTY ROAD 247                                                                    BRUCE            MS   38915‐9587
STEENSEN, ROBIN J                 1615 BOYD AVE                                                                          RACINE           WI   53405‐3527
STEENSMA, BEVERLY A               13272 WEST SHORE DR                                                                    MILLERSBURG      MI   49759
STEENSMA, BEVERLY A               13272 W SHORE DR                                                                       MILLERSBURG      MI   49759‐9210
STEENSMA, DELORES L               2941 GOLFHILL DR                                                                       WATERFORD        MI   48329‐4514
STEENSON, WILLIAM H               1406 NEIGHBORS LN SW                                                                   HARTSELLE        AL   35640‐3574
STEENWYK, ANETTE R                195 LAURELWOOD CT SW                                                                   GRAND RAPIDS     MI   49548‐7942
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Name                                  Address1                             Address2                      Address3         Address4               City            State Zip
STEENWYK, WAYNE D                     PO BOX 506                                                                                                 HOWARD CITY      MI 49329‐0506
STEEP, JIMMY L                        8053 MAPLE LEAF DR                                                                                         TRAVERSE CITY    MI 49684‐6937
STEEPE, LYNNE M                       PO BOX 771                                                                                                 ELK RAPIDS       MI 49629‐0771
STEEPE, ROBERT D                      3700 S WESTPORT AVE                  #2223                                                                 SIOUX FALLS      SD 57106
STEEPE, WILLIAM J                     3394 CHILDS LN                                                                                             CENTRAL LAKE     MI 49622‐9266
STEEPE, WILLIAM JOHN                  3394 CHILDS LN                                                                                             CENTRAL LAKE     MI 49622‐9266
STEEPLE, LARRY                        18941 PATTON ST                                                                                            DETROIT          MI 48219‐2513
STEEPLECHASE TOOL & DIE               ATTN: CORPORATE OFFICER/AUTHORIZED   9307 M‐46                                                             LAKEVIEW         MI 48850
                                      AGENT
STEEPLECHASE TOOL & DIE               9307 M‐46                                                                                                  LAKEVIEW        MI   48850
STEEPLECHASE/BRENTWD                  5581 FRANKLIN PIKE CIR               I‐65 AT OLD HICKORY BLVD                                              BRENTWOOD       TN   37027‐4363
STEEPLES, SHIRLEY A                   24060 ROCKINGHAM                                                                                           SOUTHFIELD      MI   48034‐7028
STEEPY, EDWARD R                      20 LAUREL AVE                                                                                              BORDENTOWN      NJ   08505‐1929
STEER JR, BERNARD A                   24759 WILLOWBROOK                                                                                          NOVI            MI   48375‐3578
STEER MICHAEL E JR AND                KAHN & ASSOCIATES LLC                55 PUBLIC SQ STE 650                                                  CLEVELAND       OH   44113‐1909
STEER, JOSEPH M                       1950 VALLEY RD                                                                                             SALEM           OH   44460‐9726
STEER, TREVOR L                       1605 SHEFFIELD DR                                                                                          YPSILANTI       MI   48198‐3670
STEERE ENT/TALLMADGE                  285 COMMERCE ST                                                                                            TALLMADGE       OH   44278‐2140
STEERE ENTERPRISES                    DAVID SMITH X3036                    285 COMMERCE ROAD                              OAKLEIGH SOUTH
                                                                                                                          AUSTRALIA
STEERE ENTERPRISES                    DAVID SMITH X3036                    285 COMMERCE ST                                                       TALLMADGE       OH 44278‐2140
STEERE ENTERPRISES INC                285 COMMERCE ST                                                                                            TALLMADGE       OH 44278‐2140
STEERE ENTERPRISES INC                DAVID SMITH X3036                    285 COMMERCE ROAD                              OAKLEIGH SOUTH
                                                                                                                          AUSTRALIA
STEERE ENTERPRISES INC                DAVID SMITH X3036                    285 COMMERCE ST                                                       TALLMADGE       OH   44278‐2140
STEERE, BEVERLY A                     101 MARLETTE AVE                                                                                           HOUGHTON LAKE   MI   48629‐9141
STEERE, DOUGLAS R                     7970 S CHANDLER RD                                                                                         SAINT JOHNS     MI   48879‐8107
STEERE, DOUGLAS R                     APT 4                                840 SOUTH BRIDGE STREET                                               DEWITT          MI   48820‐8809
STEERING SOLUTIONS CORPORATION        EVA KALAWSKI, GENERAL COUNSEL        360 N. CRESCENT DR.           SOUTH BUILDING                          BEVERLY HILLS   CA   90210
STEERMAN BURTON E (406817)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                           NORFOLK         VA   23510
                                                                           STREET, SUITE 600
STEERMAN, BURTON E                    GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                           NORFOLK         VA 23510‐2212
                                                                           STREET, SUITE 600
STEERMAN, JERRY E                     1687 THATCHER RD                                                                                           MARTINSBURG     WV   25403‐8193
STEES, S T                            2006 N WOODLAWN BLVD                                                                                       DERBY           KS   67037‐3129
STEET/PONTE CHEVROLET INC             3036 STATE ROUTE 28                                                                                        HERKIMER        NY   13350‐1000
STEET/PONTE CHEVROLET OLDSMOBILE, I   3036 STATE ROUTE 28                                                                                        HERKIMER        NY   13350‐1000

STEET/PONTE CHEVROLET OLDSMOBILE,     3036 STATE ROUTE 28                                                                                        HERKIMER        NY 13350‐1000
INC.
STEET/PONTE CHEVROLET OLDSMOBILE,     STEVEN PONTE                         3036 STATE ROUTE 28                                                   HERKIMER        NY 13350‐1000
INC.
STEETS JENNIFER                       1070 BUCHANAN VALLEY ROAD                                                                                  ORRTANNA        PA   17353‐9569
STEETS, WILLIAM M                     242 ELKINS LK                                                                                              HUNTSVILLE      TX   77340‐7306
STEEVER, MARIANNA                     1196 ANDERSON LN                                                                                           COLUMBIA        TN   38401‐9543
STEEVES JOHN                          STEEVES, JOHN                        23 DURANT ST                                                          LAWRENCE        MA   01841‐2706
STEEVES, AARON E                      224 GLENDOLA AVE NW                                                                                        WARREN          OH   44483‐1247
STEEVES, ANN R                        160 BERLIN ST                                                                                              SOUTHINGTON     CT   06489‐3704
STEEVES, ANN R                        160 BERLIN STREET                                                                                          SOUTHINGTON     CT   06489‐3704
STEEVES, CAROL A                      2267 N 1000 E                                                                                              WHITESTOWN      IN   46075‐9324
STEEVES, DONALD A                     9008 W 125TH TER                                                                                           OVERLAND PARK   KS   66213‐1784
STEEVES, EDWARD F                     6110 STRAUSS RD                                                                                            LOCKPORT        NY   14094‐5816
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Name                   Address1                           Address2              Address3          Address4                City              State Zip
STEEVES, JOHN          23 DURANT ST                                                                                       LAWRENCE           MA 01841‐2706
STEEVES, PAULA L       9008 W 125TH TER                                                                                   OVERLAND PARK      KS 66213‐1784
STEF, JOHN J           2585 N CRAMER STREET                                                                               MILWAUKEE          WI 53211
STEFAN
STEFAN ANDRASH         28860 WARNER AVE                                                                                   WARREN            MI 48092‐2423
STEFAN ANDRUSIK        2321 WEISS ST                                                                                      SAGINAW           MI 48602‐3857
STEFAN ANTONIAK        146 TAFT AVE                                                                                       ROCHESTER         NY 14609‐1112
STEFAN BAUER           FLACHSKAMP 14                      33824 WERTHER
STEFAN BEINKAEMPEN     BENSTABEN 71
STEFAN BEINKAEMPEN     BENSTABEN 71                       23858 BARNITZ
STEFAN BERGER          ULMENWEG 6                         55278 MOMMENHEIM
STEFAN BERSKI          29 HASTINGS RD                                                                                     MANCHESTER         NJ   08759‐6726
STEFAN BLACHA          ALTSTADSTRASSE 8                                                                                   MEGGEN                  6045
STEFAN BLACHA          ALTSTADTSTRASSE 8                                                          CH 6045 MEGGEN
                                                                                                  SWITZERLAND
STEFAN BLACHA          ALTSTAD STRASSE 8                                                          CH‐6045 MEGGEN
                                                                                                  SWITZERLAND
STEFAN BRENDGEN        AHORNWEG 10                        65606 VILLMAR
STEFAN BROTHAN         QUELLWIESSTRASSE 28                                                        55120 MAINZ GERMANY
STEFAN CONRADI         OSTSTR.8                                                                   04317 LEIPZIG GERMANY
STEFAN CZARNIECKI      3823 BRANTLEY PLACE CIR                                                                            APOPKA            FL 32703‐6855
STEFAN DEMIANCZYK      8014 PICKETT LN                                                                                    CICERO            NY 13039‐9056
STEFAN DEMSKO          1285 REAVIS BARRACKS RD                                                                            SAINT LOUIS       MO 63125
STEFAN DR. AUWAERTER   EMIL‐MUENZ‐STRASSE 14/2            D‐71332 WAIBLINGEN
STEFAN DR. ELBE        C/O HEINZ‐JOACHIM ELBE             HANS BOEHM ZEILE 32   14165 BERLIN
STEFAN DUEX            SAARSTRASSE 2                                                                                      NIEDERKASSEL         53859
STEFAN D▄X             SAARSTRASSE 2                                                                                      NIEDERKASSEL         53859
STEFAN EICHHORST       3591 AEROVIEW ST                                                                                   W BLOOMFIELD      MI 48324‐2684
STEFAN FERARU          1677 RIVERSIDE DR APT 14                                                                           ROCHESTER HILLS   MI 48309‐2707
STEFAN FIEDLER         SONNENWEG 8                        85640 PUTZBRUNN       +49 179 2430391   FIEDLER63@GMAIL.COM
STEFAN FIEDLER         SONNENWEG 8                        85840 PUTZBRUNN
STEFAN FITTKAU         105 CECIL STREET 06‐01                                                     SINGAPORE 069534,
                                                                                                  REPUBLIC OF SINGAPORE
STEFAN GOERIS          AM POTH 4                                                                  40625 DUSSELDORF ‐
                                                                                                  GERMANY
STEFAN GUENTHER        REISNEISTR 10/12                                                           A‐1030 VIENNA AUSTRIA
STEFAN HAAS            M╓HNESTR. 122                      D‐59755 ARNSBERG
STEFAN HAAS            MOEHNESTR 122                                                              D‐59755 ARNSBERG
                                                                                                  GERMANY
STEFAN HALABURDA       26448 HAVERHILL DR                                                                                 WARREN            MI 48091‐1122
STEFAN HALCZYSZAK      4402 WOODROW AVE                                                                                   PARMA             OH 44134‐3842
STEFAN HEITHECKER      AM ZIEGELHAEUSCHEN 3                                                       HAAN GERMANY 42781
STEFAN HEITHECKER      AM ZIEGELH─USCHEN 3                42781 HAAN
STEFAN HOCHHOLZER      AM STEINBERG 8                                                             91244 REICHENSCHWAND
                                                                                                  GERMANY
STEFAN HOFFMANN        OFFERMANNSHEIDER STR. 173                                                  51515 KUERTEN GERMANY
STEFAN HOLDGREWE       HELLERWEG 71                                                               32052 HERFORD GERMANY
STEFAN HOLDGREWE       HELLERWEG 71                       32051 HERFORD
STEFAN J KIELBASA      4207 CRESCENT DR                                                                                   NIAGARA FALLS     NY 14305‐1613
STEFAN J KUCZYNSKI     144 LARKIN AVE                                                                                     CANASTOTA         NY 13032‐3206
STEFAN JASINSKI        42 NASSAU LN                                                                                       CHEEKTOWAGA       NY 14225‐4816
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Name                         Address1                          Address2                      Address3   Address4                City                State Zip
STEFAN JOCHUM                JUGENDSTR 5                                                                22527 HAMBURG
                                                                                                        GERMANY
STEFAN JR, ALEX              1200 WILLOWDALE AVE.                                                                               KETTERING           OH 45429‐4737
STEFAN KARWOWSKI             1325 ROUTE 82                                                                                      HOPEWELL JUNCTION   NY 12533‐3301
STEFAN KIELBASA              4207 CRESCENT DR                                                                                   NIAGARA FALLS       NY 14305‐1613
STEFAN KLARIC GMBH & CO KG   HAFENBAHNSTRASSE 10A                                                       STUTTGART BW 70329
                                                                                                        GERMANY
STEFAN KLARIC GMBH & CO KG   GESCHAFTSFUHRER STEFAN KLARIC     HAFENBAHNSTR 10A                         STUTTGART D‐70329
                                                                                                        GERMANY
STEFAN KNUST                 MATTHIAS ‐ GR▄NEWALD ‐ STR 56                                              65428 R▄SSELSHEIM
                                                                                                        GERMANY
STEFAN KOLISNYK              7008 SCENIC RIDGE DR                                                                               CLARKSTON            MI 48346‐1345
STEFAN KUCZYNSKI             144 LARKIN AVE                                                                                     CANASTOTA            NY 13032‐3206
STEFAN KUHN                  8 ADAMS HOUSE                     RUSTAT AVENUE                            CAMBRIDGE CB1 3RE, UK
STEFAN KUROWSKI              5207 COUNTRY CLUB DR                                                                               BRENTWOOD            TN 37027‐5175
STEFAN L CARTER              741 SEWARD ST RM 205                                                                               DETROIT              MI 48202‐2556
STEFAN MICHALENKO            THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                                      HOUSTON              TX 77017
STEFAN MILLER                DR STEINHUBEL & V BUTTLAR         L╓EFFELSTRASSE 44                        70597 STUTTGART
                             RECHTSANWALTE                                                              GERMANY
STEFAN MILLER                ROSENSTR. 6A
STEFAN MOERTEL               AEUSSERE SULZBACHER STRASSE 159   90491 NUERNBERG
STEFAN MOOS                  TANNENRING 36                                                                                      WIESBADEN
STEFAN MUELLER               2182 BELLE VERNON DR                                                                               ROCHESTER HILLS      MI 48309‐2127
STEFAN M▄LLER                L╓FFELSTR 44
STEFAN OTT                   52156 NAUGATUCK DR                                                                                 MACOMB               MI 48042‐3842
STEFAN OTTENTHAL             3660 NEW BOSTON DR                                                                                 STERLING HEIGHTS     MI 48314
STEFAN PANASIUK              28605 WEXFORD DR                                                                                   WARREN               MI 48092‐2501
STEFAN PAUL                  KAPFSTRASSE 49                                                             70771 LEINFELDEN‐
                                                                                                        ECHTERDINGEN GERMANY
STEFAN PERUN & ANNA PERUN    1697 PALACE COURT                                                                                  PORT CHARLOTTE      FL    33980
STEFAN POPIELCZYK            6905 COLLEEN DR                                                                                    BOARDMAN            OH    44512‐3836
STEFAN POPIELCZYK SR         6905 COLLEEN DR                                                                                    BOARDMAN            OH    44512‐3836
STEFAN PSOTKA                30712 MOULIN AVE                                                                                   WARREN              MI    48088‐6832
STEFAN QUINTUS               179 OLD HAVERSTRAW RD                                                                              CONGERS             NY    10920‐1609
STEFAN REIMOSER              ALMRAUSCHSTRASSE 14                                                        82031 GRUENWALD
                                                                                                        GERMANY
STEFAN REIMOSER              ALMRAUSCHSTRASSE 14               82031 GR▄NWALD
STEFAN REIMOSER              ALMRAUSCHSTRASSE 14               82031 GRUENWALD
STEFAN RITTENBERY            1557 DOVER ST.                                                                                     FERNDALE            MI    48220
STEFAN ROTH                  2428 COUNTRY LN                                                                                    POLAND              OH    44514‐1514
STEFAN ROTH                  2428 COUNTRY LANE                                                                                  POLAND              OH    44514‐‐ 15
STEFAN S GREEN               77 EARL STREET                                                                                     ROCHESTER           NY    14611‐3727
STEFAN SCHILCHER             STEINBACHERSTRASSE 79                                                      7551 STEGERSBACH
                                                                                                        AUSTRIA
STEFAN SCHILGEN              HAIERBAEUMCHEN 55                                                          MOENCHENGLADBACH
                                                                                                        41169 GERMANY
STEFAN SCHILGEN              HAIERB─UMCHEN 55                                                                                   M╓NCHENGLADBACH           41169
STEFAN SCHNEIDER             RADENSDORFER HAUPTSTRASSE 24      15907 L▄BBEN OT RADENSDORF
STEFAN SCHNEIDER             RADENSDORFER HAUPTSTRASSE 24                                               15907 LUEBBEN OT
                                                                                                        RADENSDORF, GERMANY
STEFAN SCHREIER
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Name                        Address1                         Address2                      Address3                 Address4                City             State Zip
STEFAN SCHULZE              HAYDNSTR 20                                                                             70195 STUTTGART
                                                                                                                    GERMANY
STEFAN SCHWARTZ             NEUNKIRCHNERSTRASSE 52                                                                  2620 BREITENAU AM
                                                                                                                    STEINFELD AUSTRIA
STEFAN SCHWARTZ             NEUNKIRCHNERSTRASSE 52           2620 BREITENAU AM STEINFELD
STEFAN SEIBT                QUENDELWEG 2                                                                                                    MUNICH               81375
STEFAN SHELANDER            1090 E SHERWOOD RD                                                                                              WILLIAMSTON       MI 48895‐9438
STEFAN SIEVERS              ROSENHEIMER ST 39
STEFAN SIEWERT              WISCHENGRUND 1                   22929 KOETHEL
STEFAN SOMMER               THOMAS NAST STR 34                                                                      LANDAU 76829 GERMANY
STEFAN STAFIEJ              16786 BLUE SKIES DR                                                                                             LIVONIA           MI 48154‐1106
STEFAN STEIB                HINDENBURGSTRASSE 63                                                                    70825 KORNTAL GERMANY
STEFAN STRUYF               C/O SG PRIVATE BANKING           CUSTODY / ANN GELAUDE         KORTRIJKSESTEENWEG 302   B ‐ 9000 GENT BELGIUM
STEFAN THEINER              GLURNSER STRASSE 13                                                                     I‐39020 SCHLUDERNS BZ
                                                                                                                    ITALY
STEFAN U. SONJA HETTERICH   AUGSFELDER WEG 3                 97475 ZEIL
STEFAN URBANSKI             32 WHEELER VILLAGE               APT 32                                                                         SOUTHINGTON       CT   06489
STEFAN VOELCKER             HAMMER STEINDAMM 109                                                                                            HAMBURG
STEFAN VOLKLE               ZOLLERNSTR 26                                                                           72348 ROSENFELD
                                                                                                                    GERMANY
STEFAN WEBER                SUEDRING 18                      63517 RODENBACH
STEFAN WEBER                BASALTSTRASSE 9                  60487 FRANKFURT GERMANY
STEFAN WEGLARZ              914 MOORE ST                                                                                                    DAVISON           MI 48423‐1106
STEFAN WEILAND              MAINSTRASSE 38                                                                          66333 V╓LKLINGEN
                                                                                                                    GERMANY
STEFAN WEILAND              MAINSTR. 38                      66333 V╓LKLINGEN
STEFAN WEIMERSHAUS          MULTKESTRASSE 76                                                                        50674 KOELN, GERMANY
STEFAN WERBEN               ORFFSTR 13                                                                              91207 LAUF GERMANY
STEFAN WERBEN               ORFFSTR. 13                                                                             91207 LAUF GERMANY
STEFAN WLODARCZYK           3615 HAMIL CHASE WAY                                                                                            BUFORD            GA 30519‐7011
STEFAN ZEITLBERGER          HAUPTSTRASSE 26                                                                         4863 SEEWALCHEN
                                                                                                                    AUSTRIA
STEFAN ZGORECKI             15153 BLUE SKIES ST                                                                                             LIVONIA          MI    48154‐4826
STEFAN, ALBERT P            12318 WHITE LAKE RD                                                                                             FENTON           MI    48430‐2572
STEFAN, ANNABELLE           8400 STONEY CREEK CT                                                                                            DAVISON          MI    48423‐2112
STEFAN, CHARLOTTE L         22 OPENWOOD LN                                                                                                  LEVITTOWN        PA    19055‐1514
STEFAN, DOROTHY J           3020 SOLAR LANE N.W.                                                                                            WARREN           OH    44485‐1610
STEFAN, DOROTHY J           3020 SOLAR DR NW                                                                                                WARREN           OH    44485‐1610
STEFAN, EDWARD E            16324 MARSHA ST                                                                                                 LIVONIA          MI    48154‐1245
STEFAN, FRANK               161 GERTRUDE ST NW                                                                                              WARREN           OH    44483‐1401
STEFAN, GEORGE S            41610 BELKNAP                                                                                                   MOUNT CLEMENS    MI    48038
STEFAN, JAMES A             45977 ASHFORD CIR                                                                                               NOVI             MI    48374‐3650
STEFAN, JEFFREY M           909 ELMSFORD DR                                                                                                 CLAWSON          MI    48017‐1016
STEFAN, JEFFREY M.          909 ELMSFORD DR                                                                                                 CLAWSON          MI    48017‐1016
STEFAN, JOSEF               54554 EMBER DR                                                                                                  MACOMB           MI    48042
STEFAN, JUDITH S            5150 SABRINA LN NW                                                                                              WARREN           OH    44483‐1278
STEFAN, MARK A              12364 HOISINGTON RD                                                                                             GAINES           MI    48436‐9778
STEFAN, MARK ALAN           12364 HOISINGTON RD                                                                                             GAINES           MI    48436‐9778
STEFAN, NICKOLAS J          203 GRAMPIAN DR                                                                                                 OXFORD           MI    48371‐5216
STEFAN, SANDRA L            P.0. BOX 213                                                                                                    NEWTON FALLS     OH    44444
STEFAN, SHANNON             2277 WINDHAVEN LANE                                                                                             RANCHO CORDOVA   CA    95670
STEFAN, STEPHEN J           3216 STARLITE DR. NW                                                                                            WARREN           OH    44485‐1620
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Name                              Address1                          Address2                   Address3        Address4         City               State Zip
STEFAN, STEVEN M                  3014 BESSIE ST                                                                                AUBURN HILLS        MI 48326‐3600
STEFAN,JEFFREY M.                 909 ELMSFORD DR                                                                               CLAWSON             MI 48017‐1016
STEFANA KANTOR                    1833 COLORADO AVE                                                                             FLINT               MI 48506‐4635
STEFANAC, CHARLES D               5270 BIRCHWOOD DR                                                                             KALAMAZOO           MI 49009‐9534
STEFANAC, CHERYL A                6589 PINE RIDGE CIR                                                                           CLARKSTON           MI 48346‐1124
STEFANAC, JOSEPH                  1799 GUERARD AVE                                                                              THE VILLAGES        FL 32162‐4018
STEFANAC, JOSEPH                  1158 E 60TH ST                                                                                CLEVELAND           OH 44103‐1408
STEFANAVAGE BEN                   LAW OFFICES OF PETER G. ANGELOS   100 NORTH CHARLES STREET   22ND FLOOR                       BALTIMORE           MD 21201
STEFANAVAGE BENJAMIN E (478555)   ANGELOS PETER G LAW OFFICES       60 WEST BROAD ST                                            BETHLEHEM           PA 18018
STEFANAVAGE, BENJAMIN E           ANGELOS PETER G LAW OFFICES       60 WEST BROAD ST                                            BETHLEHEM           PA 18018
STEFANCHIK, SARAH T               PO BOX 764                                                                                    NEWBURY             OH 44065‐0764
STEFANCIN NICHOLAS P & MARY M     8650 CARMICHAEL DR                                                                            CHESTERLAND         OH 44026‐3504
STEFANCZAK, BETTY A               4545 BAKER ST                     RD #1                                                       LAKEWOOD            NY 14750‐9762
STEFANCZAK, BETTY A               4545 BAKER ST EXT                 RD #1                                                       LAKEWOOD            NY 14750‐9762
STEFANDEL, DEBRA R                11702 TIDEWATER DR S                                                                          INDIANAPOLIS        IN 46236‐8918
STEFANDEL, DEBRA RICE             11702 TIDEWATER DR S                                                                          INDIANAPOLIS        IN 46236‐8918
STEFANDEL, JERRY B                9119 W COUNTY ROAD 650 N                                                                      MIDDLETOWN          IN 47356‐9762
STEFANDEL, WANDA N                8907 CARRIAGE LN                                                                              PENDLETON           IN 46064
STEFANEK, KAREN A                 6103 MANCHESTER PL                                                                            NAPLES              FL 34110‐2411
STEFANELLI, JOHN F                6 ROOSEVELT AVE                                                                               HAZLET              NJ 07730‐1320
STEFANELLI, JOSEPH                339 HARDING AVE                                                                               LYNDHURST           NJ 07071‐3307
STEFANELLI, REX B                 1142 LYMAN AVE                                                                                OAK PARK             IL 60304‐2228
STEFANI L HAZELL                  25 VILLA RIDGE DR                                                                             DALLAS              GA 30157‐6735
STEFANI, FAUSTO A                 8123 CASTLE ROCK DR NE                                                                        WARREN              OH 44484‐1417
STEFANI, GREGORY T                710 BASSWOOD DR                                                                               ROCHESTER HILLS     MI 48309‐1711
STEFANI, HARRY F                  1322 CIRCLE DR                                                                                METAMORA            MI 48455‐8912
STEFANI, MICHAEL A                3825 SAN ANTONIO RD                                                                           YORBA LINDA         CA 92886
STEFANI, MIRENO                   2520 CANARY ISLES DR                                                                          MELBOURNE           FL 32901‐6800
STEFANI, STEVEN A                 4721 POOL SIDE RD                                                                             VIRGINIA BCH        VA 23455‐5348
STEFANI, STEVEN A                 1805 PERO LAKE RD                                                                             LAPEER              MI 48446‐9093
STEFANIA BYSKO                    4444 HAMILTON WAY                                                                             GLADWIN             MI 48624‐0630
STEFANIA DUB                      4382 BERKSHIRE DR                                                                             STERLING HEIGHTS    MI 48314‐1203
STEFANIA GARBACEWICZ              25 MECHANIC ST                                                                                BAYONNE             NJ 07002‐4513
STEFANIA HAC                      130 CRESTHILL RD                                                                              YONKERS             NY 10710‐2615
STEFANIA HANCZARYK                5044 WISHING WELL DR                                                                          GRAND BLANC         MI 48439‐4238
STEFANIA KAMINSKI                 180 LOGANBERRY LN                                                                             FREEHOLD            NJ 07728‐4043
STEFANIA KURZEJA                  7291 WOODMONT AVE                                                                             DETROIT             MI 48228‐3630
STEFANIA LITWINSKI                22524 PLEASANT AVE                                                                            EAST DETROIT        MI 48021‐2478
STEFANIA LOZINSKI                 PO BOX 66                                                                                     ATLAS               MI 48411‐0066
STEFANIA MARSELLA                 19/21 BOULEVARD DU PRINCE HENRI   L‐1724 LUXEMBOUG                                            LU
STEFANIA OLDANI                   41265 CILANTRO DR                                                                             STERLING HTS       MI   48314‐4070
STEFANIA PIENTAK                  9944 PERE AVE                                                                                 LIVONIA            MI   48150‐4537
STEFANIA SOWA                     5656 BOB WHITE CIR NW                                                                         LILBURN            GA   30047‐6124
STEFANIA TABIAN                   834 N GULLEY RD                                                                               DEARBORN           MI   48128‐1550
STEFANIA TELESCA                  CORSO SVIZZERA 153                10149 TORINO TO
STEFANIA ZILINKA                  12691 GALLAGHER ST                                                                            DETROIT            MI   48212‐2359
STEFANIAK AMY GAGE                DBA ALT DATABASE SVCS & CONSUL    914 GARFIELD AVE           ATTN AMY GAGE                    BAY CITY           MI   48708‐7195
STEFANIAK, DOUGLAS C              1016 S MADISON AVE                                                                            BAY CITY           MI   48708‐7261
STEFANIAK, DOUGLAS CHARLES        1016 S MADISON AVE                                                                            BAY CITY           MI   48708‐7261
STEFANIAK, FRANK R                6343 SPRINGDALE BLVD                                                                          GRAND BLANC        MI   48439‐8550
STEFANIAK, GARY L                 2360 E MAPLE AVE                                                                              FLINT              MI   48507‐4419
STEFANIAK, JOHN RANDALL           673 W GERMAN RD                                                                               BAY CITY           MI   48708‐9660
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Name                      Address1                         Address2              Address3       Address4               City            State Zip
STEFANIAK, JOSEPH J       3058 BASELINE RD                                                                             GRAND ISLAND     NY 14072‐1381
STEFANIAK, LORENA C       1003 BROADWAY                                                                                BAY CITY         MI 48708‐7825
STEFANIAK, LORENA C       1003 BROADWAY ST                                                                             BAY CITY         MI 48708‐7825
STEFANIAK, RANDALL J      2507 25TH ST                                                                                 BAY CITY         MI 48708‐4200
STEFANIAK, RAYMOND A      7675 E HARRYS RD                                                                             TRAVERSE CITY    MI 49684‐7402
STEFANIC, DALE E          2174 CHAPIN ST                                                                               GRAND BLANC      MI 48439‐4202
STEFANIC, DAVID A         1437 TWINING RD                                                                              TURNER           MI 48765‐9704
STEFANIC, DAVID M         678 VISTA HILLS CT                                                                           EUREKA           MO 63025‐3606
STEFANIC, DAVID R         1517 WILKINSON RD                                                                            GAYLORD          MI 49735
STEFANIC, GERALD R        2810 YALE ST                                                                                 FLINT            MI 48503‐4606
STEFANIC, IRENE M         3414 N. TERM ST.                                                                             FLINT            MI 48506‐2624
STEFANIC, IRENE M         3414 N TERM ST                                                                               FLINT            MI 48506‐2624
STEFANIC, JAMES M         6126 CLINGAN RD                                                                              POLAND           OH 44514‐2124
STEFANIC, JOSEPH          1283 N WALKER RD                                                                             TWINING          MI 48766‐9751
STEFANIC, MARTIN A        5925 HOWELL RD                                                                               OTTER LAKE       MI 48464‐9767
STEFANIC, MARY A          1917 CANTERBURY CIR                                                                          FORT WORTH       TX 76112
STEFANIC, MARY E          1980 DRIFTWOOD TRAILS                                                                        FLORISSANT       MO 63031‐7430
STEFANIC, ROSE            1283 N WALKER                                                                                TWINING          MI 48766‐9751
STEFANICH DONALD          1170 SPANISH ARMADA RD                                                                       LAS VEGAS        NV 89123‐1462
STEFANICH, PHILIP J       PO BOX 2453                                                                                  DEARBORN         MI 48123‐2453
STEFANICK BOB             11102 WINDHURST ST                                                                           WHITE LAKE       MI 48386‐3681
STEFANICK, CHARLES E      248 CONNELLSVILLE ST                                                                         DUNBAR           PA 15431‐1610
STEFANICK, FRANK A        1106 DONNA CT                                                                                LINDEN           NJ 07036‐6108
STEFANICK, GORDON S       33966 LA MOYNE ST                                                                            LIVONIA          MI 48154‐2618
STEFANICK, JOSEPH M       2826 GREENS MILL RD                                                                          COLUMBIA         TN 38401‐6179
STEFANICK, LYNN           2826 GREENS MILL RD                                                                          COLUMBIA         TN 38401‐6179
STEFANICK, ROBERT J       11102 WINDHURST ST                                                                           WHITE LAKE       MI 48386‐3681
STEFANICK, SALLY A        390 TWO MILE CREEK RD                                                                        TONAWANDA        NY 14150‐6618
STEFANIE A ROSS           302 MOCCASIN TRAIL                                                                           GIRARD           OH 44420‐3662
STEFANIE BACKES           MAXIMILIANSTR. 8
STEFANIE BAUR             5162 WYNDHAM PL                                                                              FENTON          MI 48430‐9161
STEFANIE FLIEGER          LUDWIG ‐ FEUERBACH ‐ STR 30                                           D‐90489 NURCMBERG
                                                                                                GERMANY
STEFANIE HAINRIHAR        1980 BEVERLY HILLS DR                                                                        RICHMOND HTS    OH 44143‐1310
STEFANIE HAUSNER          12 KROPSBURGRING                                                      D 67125 DANNSTADT 2
                                                                                                GERMANY
STEFANIE J LAWRENCE       1343 RUSSELL ST                                                                              YPSILANTI       MI   48198‐5952
STEFANIE JAMES            4545 GROVER DR                                                                               YOUNGSTOWN      OH   44512‐1602
STEFANIE L MONTGOMERY     2202 POTOMAC DR                                                                              HOUSTON         TX   77057
STEFANIE L REICHARD       2800 COLONIAL AVE                                                                            KETTERING       OH   45419
STEFANIE LAXY             FURTWAENGLERSTR. 45                                                   BAYREUTH DEUTSCHLAND
                                                                                                95445
STEFANIE ROSS             302 MOCCASIN TRL                                                                             GIRARD          OH 44420‐3662
STEFANIE SCHIPFER‐HUBER   ZUGSPITZSTR. 10                                                       GRUENWALD 82031
                                                                                                GERMANY
STEFANIE SCHIPFER‐HUBER   ZUGSPITZSTR 10                                                        82031 GRUENWALD
                                                                                                GERMANY
STEFANIE STIERHOF         WEGFELD 10                       91459 MARKT ERLBACH
STEFANIE STIERHOF         WEGFELD 10                                                            91459 MARKT ERLBACH
                                                                                                GERMANY
STEFANIE, RONALD P        195 ROSEMONT AVE                                                                             KENMORE         NY 14217‐1025
STEFANIE, THOMAS A        4327 CHESTNUT RIDGE RD                                                                       AMHERST         NY 14228
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Name                      Address1                             Address2                        Address3   Address4                 City                  State Zip
STEFANIJA IWASYSZYN       46232 COACHWOOD DR                                                                                       SHELBY TWP             MI 48315‐5602
STEFANIJA‐VIKTOR KLASIC   HERBST STR. 201A                                                                74072 HEILBRONN
                                                                                                          GERMANY
STEFANIK DAVID            90A BOYD ST                                                                                              NEWTON                MA   02458‐1502
STEFANIK, ANGELINE        223 COLD SPRINGS RD                                                                                      LOCKPORT              NY   14094‐2524
STEFANIK, ELEDORE A       3453 DUNSTAN DR NW APT 2                                                                                 WARREN                OH   44485‐1531
STEFANIK, GREGORY F       11171 WHISPERING RIDGE TRL                                                                               FENTON                MI   48430‐3410
STEFANIK, HELEN G         212B NEWTON DR                                                                                           NEWTON FALLS          OH   44444‐1913
STEFANIK, HELEN G         212‐B NEWTON DR.                                                                                         NEWTON FALLS          OH   44444‐1913
STEFANIK, JOANN V         146 FITCH BLVD                                                                                           AUSTINTOWN            OH   44515‐2233
STEFANIK, MARGARET        608 E DAWSON RD                                                                                          MILFORD               MI   48381‐3206
STEFANIK, PAULA ANNE      3205 W 90TH ST                                                                                           CLEVELAND             OH   44102‐4807
STEFANIK, PAULA ANNE      3205 WEST 90 ST                                                                                          CLEVELAND             OH   44102‐4807
STEFANIK, ROSE            24145 PALM DR                                                                                            NORTH OLMSTED         OH   44070‐2845
STEFANIK, ROSE            24145 PALM DRIVE                                                                                         NORTH OLMSTED         OH   44070‐2845
STEFANINAS RESTAURANT     762 W PEARCE BLVD                                                                                        WENTZVILLE            MO   63385‐1016
STEFANIS                  310 HOSPITAL DR STE 205                                                                                  MACON                 GA   31217‐8025
STEFANIS BOMBA            12202 E BRISTOL RD                                                                                       DAVISON               MI   48423‐9102
STEFANIS ELENI            4 SIMPSON CT                                                                                             BETHANY               CT   06524‐3310
STEFANISZYN, TADEUSZ      47024 CORBETT CT                                                                                         MACOMB                MI   48044‐2551
STEFANISZYN, WOJCIECH L   11250 25 MILE RD                                                                                         SHELBY TWP            MI   48315‐1004
STEFANIV, CATHERINE       2510 STANFIELD DRIVE                                                                                     PARMA                 OH   44134‐5004
STEFANIW, STEFAN          3100 WYNDHAM DR RM 105                                                                                   FLUSHING              MI   48433
STEFANKO, ALICE M         2007 GOLFCREST DR                                                                                        DAVISON               MI   48423‐8377
STEFANKO, ANNE L          8252 NOBLET RD                                                                                           DAVISON               MI   48423‐8618
STEFANKO, CAROL           14130 ROSEMARY LN APT 6217                                                                               LARGO                 FL   33774‐2939
STEFANKO, CRAIG L         PO BOX 375                                                                                               DAVISON               MI   48423
STEFANKO, DAVID J         7207 RIDGE RD                                                                                            LOCKPORT              NY   14094‐9424
STEFANKO, FRANK E         3530 BRANDON ST                                                                                          FLINT                 MI   48503‐6600
STEFANKO, JOSEPH M        6070 N SEYMOUR RD                                                                                        FLUSHING              MI   48433‐1006
STEFANKO, JOSEPH P        6070 N SEYMOUR RD                                                                                        FLUSHING              MI   48433‐1006
STEFANKO, KENNETH R       14477 RAMBLEWOOD ST                                                                                      LIVONIA               MI   48154‐5336
STEFANKO, RICHARD J       6761 PANTHER LN APT T2                                                                                   FORT MYERS            FL   33919‐7206
STEFANKO, RICHARD N       157 PILGRIM RD                                                                                           TONAWANDA             NY   14150‐9027
STEFANKO, ROBERT          7418 WATERFALL DR                                                                                        GRAND BLANC           MI   48439‐7102
STEFANKO, THELMA M        4304 ROUS ST                                                                                             SAN DIEGO             CA   92122‐2631
STEFANKO, WILLIAM         9824 HEDGESVILLE RD                                                                                      HEDGESVILLE           WV   25427‐6017
STEFANO ALFRED (491702)   CHRISTOPHER J. HICKEY, ESQ. BRENT    1220 W 6TH ST STE 303                                               CLEVELAND             OH   44113‐1328
                          COONE AND ASSOCIATES
STEFANO BALLETTI          VIA GIOTTO 36                                                                                            SALA BOLOGNESE             40010
STEFANO BERNARDO          RUDOWER STR. 99                                                                 BERLIN 12351 GERMANY
STEFANO BERNARDO          VICO GIUNONE 6                                                                  CERVINO CE ITALY 81023
STEFANO BROGGI            25601 S RIVER RD                                                                                         SELFRIDGE ANGB        MI 48045‐5639
STEFANO CAVICCHIOLI
STEFANO D'ANGELO          VIA CHIAVENNA, 20 A                                                             BESOZZO (VARESE)                                  21023
STEFANO GUARINI           145 GROSSE POINTE BLVD                                                                                   GROSSE POINTE FARMS   MI 48236‐3739
STEFANO MANARA            LGO ADIGE LEOPARDI 99 38100 TRENTO
STEFANO MANARA            VIA LUNG'ADIGE G LEOPARDI 99                                                    38100 TRENTO TN ITALY
STEFANO MANARA            LUNGO ADIGE LEOPARDI 99                                                                                  TRENTO ‐ ITALY        NY 38100
STEFANO MARK L & ALEX     SIMANOVSKY & ASSOCIATES              2300 HENDERSON MILL RD NE STE                                       ATLANTA               GA 30345‐2704
                                                               300
STEFANO MORACCINI         48569 VALLEY FORGE DR                                                                                    MACOMB                MI 48044‐2057
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Name                               Address1                              Address2                       Address3   Address4               City                 State Zip
STEFANO NUNNARI                    2806 SW 195TH TER                                                                                      MIRAMAR               FL 33029‐2472
STEFANO PERON
STEFANO PICCINI MACORINI           VIA COSTALUNGA 43                                                               34100 TRIESTE ITALY
STEFANO SOLDATI                    VIA LIVATINO, 65                      47521 CESENA FC
STEFANO SORCI                      26025 SEMINOLE LAKES BLVD                                                                              PUNTA GORDA           FL   33955‐4720
STEFANO TONOZZI                    42 VIA SARACENO                       44100 FERRARA                  ITALY
STEFANO VEGLIA                     VIA CAVOUR
STEFANO VIVOLO                     517 N SCOTT ST                                                                                         WILMINGTON           DE    19805‐3019
STEFANO, GLORIA L                  663 PORTERVILLE RD                                                                                     EAST AURORA          NY    14052‐1532
STEFANO, JAMES V                   3855 PENNEMITE RD                                                                                      LIVONIA              NY    14487‐9607
STEFANO, JAMES V                   3855 PENNIMITE RD.                                                                                     LIVONIA              NY    14487‐9607
STEFANOFSKI, KRSTE E               48191 PRESTWYCK DR                                                                                     MACOMB               MI    48044‐6510
STEFANONI, LOUIS                   8 ACORN CT                                                                                             FLORENCE             NJ    08518‐2815
STEFANOS FRANK (661939)            GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                     PITTSBURGH           PA    15219

STEFANOS MANTAKIDIS                20 LEONIDOU STR. , AGIA PARASKEVI
STEFANOS, FRANK                    GOLDBERG PERSKY & WHITE P.C.          1030 FIFTH AVENUE                                                PITTSBURGH           PA    15219
STEFANOSKI, JOSEPH R               6192 BIXLER RD                                                                                         NEWFANE              NY    14108‐9784
STEFANOSKI, KOCO                   14639 ELROND DR                                                                                        STERLING HTS         MI    48313‐5624
STEFANOSKI, WINIFRED D             1723 IRONMINE RD                                                                                       FELTON               DE    19943‐2241
STEFANOVIC, ANDRE T                20 NOVA LN                                                                                             ROCHESTER            NY    14606‐5830
STEFANOVIC, TOMISLAV               12 BERNA LN                                                                                            ROCHESTER            NY    14624‐4014
STEFANOVIC, VERA                   20 NOVA LN                                                                                             ROCHESTER            NY    14606‐5830
STEFANOVIC, VERA                   20 NOVA LANE                                                                                           ROCHESTER            NY    14606‐5830
STEFANOVIC, VICTOR R               6849 PAWSON RD                                                                                         ONSTED               MI    49265‐9726
STEFANOVICH, SANDRA                5114 CHASE RD                                                                                          DEARBORN             MI    48126‐3126
STEFANOVICH, STEFAN P              1550 WESTBROOK CT APT 6203                                                                             RICHMOND             VA    23227‐3356
STEFANOVSKA, PERSA                 48191 PRESTWYCK DR                                                                                     MACOMB               MI    48044‐6510
STEFANOVSKI MILES                  4747 HARRISON AVE                                                                                      ROCKFORD             IL    61108‐7929
STEFANOVSKI, JAMES A               38318 CAMERON DR                                                                                       STERLING HTS         MI    48310‐3007
STEFANOVSKI, KOSTADINKA            46144 PEACH GROVE AVE                                                                                  MACOMB               MI    48044‐3494
STEFANOVSKI, LILJANA               6 EMERALD PT                                                                                           ROCHESTER            NY    14624‐3702
STEFANOVSKI, VERA                  6462 NORBORN                                                                                           DEARBORN HTS         MI    48127‐2010
STEFANOVSKI, VERA                  6462 NORBORNE AVE                                                                                      DEARBORN HTS         MI    48127‐2010
STEFANOVSKI, ZIVKO                 37514 BRISTOL CT                                                                                       LIVONIA              MI    48154‐1261
STEFANOVSKY FREDERICK G (429870)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK              VA    23510
                                                                         STREET, SUITE 600
STEFANOVSKY, FREDERICK G           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK              VA 23510‐2212
                                                                         STREET, SUITE 600
STEFANOWICZ, ANN P                 53 JODI DR                            C/O NANCY A SALAMITES                                            MERIDEN              CT    06450‐3569
STEFANOWICZ, JOHN W                1778 BROOKVIEW RD                                                                                      BALTIMORE            MD    21222‐1208
STEFANOWICZ, JOHN WALTER           1778 BROOKVIEW RD                                                                                      BALTIMORE            MD    21222‐1208
STEFANOWICZ, ROSE T                118 MILTON DRIVE                                                                                       MERIDEN              CT    06450‐2423
STEFANOWICZ, ROSE T                118 MILTON DR                                                                                          MERIDEN              CT    06450‐2423
STEFANOWSKI, ADOLPH                6351 DONALDSON                                                                                         TROY                 MI    48085‐1531
STEFANOWSKI, ROSELLA B             5859 COBBLESTONE                                                                                       DEERFIELD TOWNSHIP   MI    48461‐8887
STEFANOWSKI, STANLEY L             S106W20937 PATRICIA CT                S 106 W 20937 PATRICIA CT.                                       MUSKEGO              WI    53150‐9581
STEFANSKI JR, JOSEPH               4063 DAY ST                                                                                            BURTON               MI    48519‐1512
STEFANSKI, ANTHONY J               2311 E REID RD                                                                                         GRAND BLANC          MI    48439‐8535
STEFANSKI, BARBARA A               53695 BRAMBLE DR                                                                                       SHELBY TOWNSHIP      MI    48316‐2211
STEFANSKI, CARL L                  880 GOLF VILLA DR                                                                                      OXFORD               MI    48371‐3697
STEFANSKI, DALE K                  61 WHITE OAK CT 44406                                                                                  CANFIELD             OH    44406
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Name                            Address1                       Address2                   Address3   Address4               City                 State Zip
STEFANSKI, ERMA IRENE           354 WALCK RD                                                                                N TONAWANDA           NY 14120‐3327
STEFANSKI, GLADYS               422 E STENZIL ST                                                                            NO TONAWANDA          NY 14120‐1757
STEFANSKI, HELEN W              45 MULLEN ROAD                                                                              FULTON                NY 13069‐4537
STEFANSKI, JEAN F               PO BOX 1590                                                                                 EAGLE LAKE            FL 33839‐1590
STEFANSKI, JOHN C               9 ARBOR WAY                                                                                 NORTHVILLE            MI 48167‐9304
STEFANSKI, JOSEPH A             236 MINUTEMAN DR.                                                                           BLUFF CITY            TN 37618‐1527
STEFANSKI, KENNETH G            473 FAIRMONT AVE                                                                            N TONAWANDA           NY 14120‐2915
STEFANSKI, LEONARD J            106 BRUNDAGE AVE                                                                            N TONAWANDA           NY 14120‐1706
STEFANSKI, ROBERT W             15703 LAKE HILLS CT.                                                                        ORLAND PARK            IL 60462
STEFANSKI, THOMAS W             20228 AIRPORT ROAD                                                                          ROMEOVILLE             IL 60446‐6592
STEFANSKI, TRACY G              546 N MCKINLEY RD                                                                           FLUSHING              MI 48433‐1365
STEFANSKY, JANET T              35498 UPMANN DR                                                                             STERLING HTS          MI 48310‐5322
STEFANSKY, KAREN                6316 JOHNSON RD                                                                             FLUSHING              MI 48433‐1187
STEFANSKY, THOMAS S             227 CHESTNUT ST                                                                             SAINT CLAIR           PA 17970‐1133
STEFANYSHYN, EUGENE W           PO BOX 9022                    C/O GM HOLDEN LTD.                                           WARREN                MI 48090‐9022
STEFEK, ALISON L                301 XAVIER ST                                                                               ELYRIA                OH 44035‐8291
STEFEK, DANIEL J                639 WASHINGTON AVE                                                                          ELYRIA                OH 44035‐3602
STEFEK, JOHN F                  6520 LAKE AVE                                                                               ELYRIA                OH 44035‐1141
STEFFAN, DUANE A                13681 ROAD 20                                                                               CLOVERDALE            OH 45827‐9447
STEFFAN, DUANE ALLAN            13681 ROAD 20                                                                               CLOVERDALE            OH 45827‐9447
STEFFAN, JAMES R                22 BROOKFIELD DR                                                                            OXFORD                MI 48371‐4401
STEFFAN, KARL E                 2756 ROAD E                                                                                 LEIPSIC               OH 45856‐9744
STEFFAN, SUSAN C                4902 EASTBROOKE PL                                                                          WILLIAMSVILLE         NY 14221‐4124
STEFFANI, ANN M                 11625 LADD RD                                                                               BROOKLYN              MI 49230‐8502
STEFFANI, LARRY E               115 E RIVER ST APT 2                                                                        ELYRIA                OH 44035‐5213
STEFFANIE K SWINFORD            840 ALVERNO AVE                                                                             DAYTON                OH 45410
STEFFANO, INEZ                  6441 FAR HILLS AVE             APT# 229                                                     CENTERVILLE           OH 45459
STEFFANO, RALPH                 44 LAKE HAMILTON BEACHES                                                                    HAINES CITY           FL 33844
STEFFANO, VIRGINIA V            44 LAKE HAMILTON BEACHES                                                                    HAINES CITY           FL 33844
STEFFANS, GERALD                108 DUNLOP AVE                                                                              TONAWANDA             NY 14150‐7800
STEFFANS, PATRICIA              2579 STONY POINT DR                                                                         GRAND ISLAND          NY 14072‐1828
STEFFE MARILYN                  STEFFE, MARILYN                8069 JEFFERSON RIVER RD                                      ATHENS                GA 30607‐3561
STEFFE, ALAN K                  8096 HAWKCREST DR                                                                           GRAND BLANC           MI 48439‐2428
STEFFE, JAN R                   PO BOX 9022                    ADAM OPEL (IPC R2‐05)                                        WARREN                MI 48090‐9022
STEFFE, JAN R                   37 COTESWORTH PL                                                                            HILTON HEAD ISLAND    SC 29926‐2272
STEFFE, MARILYN                 8069 JEFFERSON RIVER RD                                                                     ATHENS                GA 30607‐3561
STEFFEK, EDWARD S               8659 DUTCHER RD                                                                             FAIRGROVE             MI 48733‐9728
STEFFEK, MARK E                 9530 SAGINAW ST                                                                             REESE                 MI 48757‐9201
STEFFEK, SUSAN M                4994 SLACK RD                                                                               FAIRGROVE             MI 48733‐9502
STEFFEL, CHARLES G              APT B110                       10396 VALLEY FORGE DRIVE                                     CLEVELAND             OH 44130‐4588
STEFFEL, CHRISTOPHER J          15616 COUNTY ROAD K                                                                         WAUSEON               OH 43567‐9137
STEFFEL, CHRISTOPHER JAMES      15616 COUNTY ROAD K                                                                         WAUSEON               OH 43567‐9137
STEFFEL, MARIAN R               6731 WAKEFIELD DR              C/O KAREN OAKES                                              EDEN PRAIRIE          MN 55346‐2028
STEFFEL, RONALD M               10450 BRUTUS RD                                                                             BRUTUS                MI 49716‐9530
STEFFEN AUTO REPAIR & SERVICE   104 N MAIN ST                                                                               WIGGINS               CO 80654
STEFFEN BARTENSCHLAG            FRITZ‐ERLER‐STR. 21                                                  HANAU/GERMANY
STEFFEN BERTHOLD                KURFUERSTENSTRASSE 82                                                12105 BERLIN GERMANY
STEFFEN DOERR                   HOLZBERGSTRASSE 23A            64668 RIMBACH
STEFFEN LEMSER                  DIESELSTR. 3                                                                                ROTH                      91154
STEFFEN LEMSER                  DIESELSTR 3                                                          91154 ROTH GERMANY
STEFFEN LOEBNER                 ENZHALDE 19                                                          D‐75180 PFORZHEIM
                                                                                                     GERMANY
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Name                          Address1                        Address2                         Address3                Address4               City            State Zip
STEFFEN MIKE                  11840 FLOYD MCFALL                                                                                              WILLIS           MI 48191
STEFFEN MOERITZ               275 SEVENTH AVE                                                                                                 NEW YORK         NY 10001
STEFFEN SALLY                 712 WALTHAM COURT                                                                                               EL PASO          TX 79922‐2128
STEFFEN THOMAS RABOFSKY       MASURENWEG 15                                                                            53119 BONN GERMANY
STEFFEN WOLF                  HILDASTR 5 A                                                                             75223 NIEFERN‐
                                                                                                                       OESCHELBRONN GERMANY
STEFFEN, BRENDA L             53130 JEWELL RD                                                                                                 SHELBY TWP      MI   48315‐1768
STEFFEN, BRENDA LYNN          53130 JEWELL RD                                                                                                 SHELBY TWP      MI   48315‐1768
STEFFEN, CLARICE J            316 W RIVER RD                                                                                                  FLUSHING        MI   48433‐2161
STEFFEN, DORIS L              N633 MCINTYRE RD                                                                                                FT. ATKINSON    WI   53538‐9353
STEFFEN, DORIS M              37003 MITCHELL ST                                                                                               GRAND BLANC     MI   48439‐7220
STEFFEN, DOROTHY A            138 ROLAND ST                                                                                                   BUFFALO         NY   14212‐2309
STEFFEN, EDWIN J              4104 STATE ROUTE 108 # 2                                                                                        LEIPSIC         OH   45856
STEFFEN, EDWIN JOSEPH         4104 STATE ROUTE 108 # 2                                                                                        LEIPSIC         OH   45856
STEFFEN, FRANK J              5609 LEE AVENUE                                                                                                 DOWNERS GROVE   IL   60516‐1146
STEFFEN, GLORIA P             7686 ARNOLD RD                                                                                                  GREENVILLE      OH   45331‐9309
STEFFEN, GORDON J             1433 HOGEBOOM AVE                                                                                               EAU CLAIRE      WI   54701‐4247
STEFFEN, HEINER B             1316 RESERVOIR RD                                                                                               BELLEFONTAINE   OH   43311‐2765
STEFFEN, HENRY J              703 WOODLAND HILLS DR                                                                                           HATTIESBURG     MS   39402
STEFFEN, JOHN F               1532 TURNBERRY VLG DR                                                                                           CENTERVILLE     OH   45458‐3130
STEFFEN, JOSEPH C             6626 FISHER RD                                                                                                  WILLIAMSON      NY   14589‐9585
STEFFEN, KENNETH G            59246 BATES RD                                                                                                  LENOX           MI   48048‐1727
STEFFEN, KENNETH G.           59246 BATES RD                                                                                                  LENOX           MI   48048‐1727
STEFFEN, KRIS M               10242 FRANCES RD                                                                                                FLUSHING        MI   48433‐9221
STEFFEN, MARGARET P           20529 ARDMORE PARK DRIVE                                                                                        ST CLR SHORES   MI   48081‐1773
STEFFEN, MARK R               4308 MAIZE AVE                                                                                                  SWARTZ CREEK    MI   48473‐8216
STEFFEN, PAUL C               541 GILLETTE DR                                                                                                 SAGINAW         MI   48609‐5008
STEFFEN, RICHARD C            53130 JEWELL RD                                                                                                 SHELBY TWP      MI   48315‐1768
STEFFEN, ROBERT L             37003 MITCHELL ST                                                                                               GRAND BLANC     MI   48439‐7220
STEFFEN, WALTER               9001A N SWAN RD                                                                                                 MILWAUKEE       WI   53224‐1900
STEFFEN, WILLIAM L            2729 POWDERHORN RIDGE RD                                                                                        ROCHESTER HLS   MI   48309‐1339
STEFFEN‐PUTNAM, JOANNE        1790 DINSMORE ST                                                                                                NORTH PORT      FL   34288‐1822
STEFFENHAGEN JR, KENNETH G    3516 BRIARCREST DR                                                                                              CASTALIA        OH   44824‐9407
STEFFENHAGEN, DONNA           VOLPE CLAIM INVESTIGATIONS      8402 10TH ST NE                                                                 SAINT MICHAEL   MN   55376‐9203
STEFFENHAGEN, DONNA           32450 HILL AVENUE TRL                                                                                           RED WING        MN   55066
STEFFENHAGEN, DONNA           GREAT NORTHWEST                 C/O VOLPE CLAIM INVESTIGATIONS   8402 10TH ST NE                                SAINT MICHAEL   MN   55376

STEFFENHAGEN, DONNA           GREAT NORTHWEST                 32450 HILL AVE. TRAIL                                                           RED WING        MN   55066
STEFFENHAGEN, KEVIN P         1960 TOWNLINE 12 RD                                                                                             WILLARD         OH   44890
STEFFENHAGEN, KRISTINE        105 DELMAR ST                                                                                                   ROCHESTER       NY   14606
STEFFENS ENTERPRISES INC      FOLD A COVER DIV                4045 KORONA CT SE                                                               CALEDONIA       MI   49316‐8428
STEFFENS ENTERPRISES INC      CHRIS HILTONX16                 4045 KORONA CT SE                FOLD A COVER DIVISION                          CALEDONIA       MI   49316‐8428
STEFFENS ENTERPRISES INC      CHRIS HILTONX16                 FOLD A COVER DIVISION            4045 KARONA CT                                 BRISTOL         TN
STEFFENS ENTERPRISES INC.     CHRIS HILTONX16                 4045 KORONA CT SE                FOLD A COVER DIVISION                          CALEDONIA       MI   49316‐8428
STEFFENS ENTERPRISES INC.     CHRIS HILTONX16                 FOLD A COVER DIVISION            4045 KARONA CT                                 BRISTOL         TN
STEFFENS JOHN                 17199 MERGANSER DRIVE                                                                                           BEND            OR   97707‐2099
STEFFENS MARCELLUS (641994)   BRAYTON PURCELL                 PO BOX 6169                                                                     NOVATO          CA   94948‐6169
STEFFENS, BEVERLY J           9200 FOX HOLLOW RD                                                                                              CLARKSTON       MI   48348‐1975
STEFFENS, BEVERLY J           92O0 FOX HOLLOW CT                                                                                              CLARKSTON       MI   48348
STEFFENS, BEVERLY S           11846 FOOD LN                                                                                                   KANSAS CITY     MO   64134‐3954
STEFFENS, CHARLES E           13914 N WHITEFISH POINT RD                                                                                      PARADISE        MI   49768‐9605
STEFFENS, EDWIN D             1460 NORTH M‐33                                                                                                 ROSE CITY       MI   48654
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Name                    Address1                       Address2                     Address3   Address4         City            State Zip
STEFFENS, EUGENE P      4337 LESSING                                                                            WATERFORD        MI 48329‐1425
STEFFENS, JAMES E       10724 SOUTH CHRISTINA COURT                                                             OAK CREEK        WI 53154‐7077
STEFFENS, JAMES F       11846 FOOD LN                                                                           KANSAS CITY      MO 64134‐3954
STEFFENS, JOHN A        742 ARTESIAN AVE                                                                        NEWTON FALLS     OH 44444‐1055
STEFFENS, LINDA E       1145 RATHFON CIR                                                                        SALINE           MI 48176
STEFFENS, MARCELLUS     BRAYTON PURCELL                PO BOX 6169                                              NOVATO           CA 94948‐6169
STEFFENS, MARIAN E      570 CALLE MASTIL                                                                        SANTA BARBARA    CA 93111‐1731
STEFFENS, MARK S        2441 GRIFFITH DR                                                                        CORTLAND         OH 44410‐9656
STEFFENS, MARTIN G      7027 PARK STREET RD                                                                     BENTON            IL 62812‐3950
STEFFENS, RONALD D      5935 EAGLE DR                                                                           ALMONT           MI 48003‐9631
STEFFENSEN, CHARLES R   5625 S WAVERLY RD                                                                       LANSING          MI 48911‐4334
STEFFENSEN, ROGER E     33840 S GARCIA ST UNIT 283                                                              PORT ISABEL      TX 78578‐4327
STEFFES GERALD          14925 NEWPORT ROAD                                                                      CLEARWATER       FL 33764‐7049
STEFFES, DOLLY F        14 WILDERNESS TRL                                                                       KERRVILLE        TX 78028
STEFFES, JOSEPH L       4500 PARK CIRCLE                                                                        PINETOP          AZ 85935
STEFFES, LEO R          209 S MADISON ST                                                                        HINSDALE          IL 60521‐3963
STEFFES, LINDA C        10808 DEERWOOD DR SE                                                                    LOWELL           MI 49331‐9630
STEFFES, MARVIN J       5907 CANAL AVE SW                                                                       WYOMING          MI 49418‐9373
STEFFES, MICHAEL D      36621 DOWLING ST                                                                        LIVONIA          MI 48150‐3415
STEFFES, MILDRED M      4500 PARK CIRCLE                                                                        PINETOP          AZ 85935
STEFFES, PATRICIA       255 BERKLEY ST                 C/O LAURA HARPER                                         DEARBORN         MI 48124‐5300
STEFFES, RAYMOND A      446 VILLAGE CIR SW CI                                                                   WINTER HAVEN     FL 33880
STEFFES, RONALD J       PO BOX 159                                                                              BRODHEAD         KY 40409‐0159
STEFFES, RONALD J       7249 EDGEHILL RD                                                                        GREENDALE        WI 53129‐1725
STEFFES, TOMMY J        10808 DEERWOOD DR SE                                                                    LOWELL           MI 49331‐9630
STEFFEY, AMBROSE P      22481 WEST RD                  APT 104                                                  WOODHAVEN        MI 48183‐3131
STEFFEY, CHARLIE E      312 SAFFRON WAY                                                                         BARGERSVILLE     IN 46106‐8331
STEFFEY, CLEADUS R      8531 BRIDGE LAKE RD                                                                     CLARKSTON        MI 48348‐2560
STEFFEY, FRANCY         755 HEATHERIDGE CT                                                                      BRIGHTON         MI 48116‐6715
STEFFEY, JEAN           8531 BRIDGE LAKE RD                                                                     CLARKSTON        MI 48348‐2560
STEFFEY, PATRICIA J     6652 S NEW JERSEY ST                                                                    INDIANAPOLIS     IN 46227‐7325
STEFFEY, ROSELYN        822 SOUTH JACKSON                                                                       BAY CITY         MI 48708‐7313
STEFFEY, ROSELYN        822 S JACKSON ST                                                                        BAY CITY         MI 48708‐7313
STEFFEY, RUBE C         2020 W CHOLLA ESTATE DR                                                                 TUCSON           AZ 85704‐1091
STEFFEY, SUSAN L        3434 DEERFIELD LN                                                                       LUPTON           MI 48635‐9752
STEFFEY, WALTER E       2219 LYNTZ RD. S.W.                                                                     WARREN           OH 44481
STEFFEY, WILLIAM J      3434 DEERFIELD LN                                                                       LUPTON           MI 48635‐9752
STEFFI DITTMAN          106 DRAKE LANE                                                                          MANHASSETT       NY 11030
STEFFIC, NANCY L        58869 EDGEWOOD DR                                                                       THREE RIVERS     MI 49093‐9274
STEFFIC, ROBERT F       APT H1                         24500 WEST MCGILLEN AVENUE                               MATTAWAN         MI 49071‐8816
STEFFIE CIAKO           15200 SANTA ANITA ST                                                                    LIVONIA          MI 48154‐3961
STEFFIE SZUBROWSKI      6 WINEBERG PL                                                                           TRENTON          NJ 08638
STEFFIE ZIMA            554 PROVINCE LINE RD                                                                    ALLENTOWN        NJ 08501‐1306
STEFFIN JOSEPH JR       1008 FAUN RD                                                                            WILMINGTON       DE 19803‐3313
STEFFKA, MARK A         1226 HEREFORD CT                                                                        CANTON           MI 48187‐4676
STEFFKE, KARL           1850 BOXFORD ST                                                                         TRENTON          MI 48183‐1811
STEFFLER, ABBIE
STEFFLER, DAVID J       3072 FIELD RD                                                                           CLIO            MI   48420‐1151
STEFFLER, IRENE M       3072 FIELD RD                                                                           CLIO            MI   48420‐1151
STEFFLER, TERESA B      81221 LOST VALLEY DR                                                                    MARS            PA   16046‐4251
STEFFLER, WILLIAM R     4339 E SHORE DR                                                                         GRAWN           MI   49637‐9727
STEFFY CLYDE & NANCY    15 PRICE DRIVE                                                                          TOPTON          PA   19562‐1607
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Name                        Address1                            Address2                      Address3            Address4              City               State Zip
STEFFY, CHARLES L           3421 W HOME AVE                                                                                             FLINT               MI 48504‐1462
STEFFY, CHARLES LOUIS       3421 W HOME AVE                                                                                             FLINT               MI 48504‐1462
STEFFY, GARY L              10908 COUNTRYSIDE DR                                                                                        GRAND LEDGE         MI 48837‐9130
STEFFY, MARY                1349 DEFOREST RD SE                                                                                         WARREN              OH 44484‐3556
STEFICEK, ZORA Z            32 ANTLIA STREET REGENTS PARK                                                         REGENTS PARK QLD FA
                                                                                                                  AUSTRALIA 4118
STEFINA, MICHAEL K          117 S HARRIS RD LOT 74                                                                                      YPSILANTI          MI    48198‐5990
STEFKA, RUBY L              610 DESHONG DRIVE                                                                                           PARIS              TX    75460
STEFKO KATHLEEN             STEFKO, KATHLEEN                    37 DESMOND RD                                                           ROCHESTER          NY    14616
STEFKO, KATHLEEN            37 DESMOND RD                                                                                               ROCHESTER          NY    14616‐3123
STEFL, KIMBERLY R           3861 E CARPENTER AVE                                                                                        CUDAHY             WI    53110‐1703
STEFL, ROBERT E             PARAMOUNT SENIOR LIVING             APT 324                       100 KNOEDLER ROAD                         PITTSBURGH         PA    15236‐2767
STEFL, VICTOR E             4237 DEEMS‐CHILDS LAKE ESTATES                                                                              MILFORD            MI    48381
STEFNY
STEFONETTI, DOROTHY         16 DEERFIELD COURT                                                                                          FREEBURG            IL   62243‐4014
STEFONETTI, DOROTHY         16 DEERFIELD TRAILER CT                                                                                     FREEBURG            IL   62243‐4014
STEFONETTI, JOSEPH          C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                                  EDWARDSVILLE        IL   62025
                            ROWLAND PC
STEFOS, ANNA                25879 DUMAS CT                                                                                              FARMINGTON HILLS   MI    48335‐1447
STEFOS, STELIOS             25879 DUMAS CT                                                                                              FARMINGTON HILLS   MI    48335‐1447
STEFTER, VIOLA J            538 TWEED DR                                                                                                LEMAY              MO    63125‐2709
STEGALL JR, GRIFFIN C       G3347 HOGARTH AVE                                                                                           FLINT              MI    48532‐4812
STEGALL RICKY               1615 HIGHWAY 35 S                                                                                           CARTHAGE           MS    39051‐6175
STEGALL WATSON E (429871)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                             NORFOLK            VA    23510
                                                                STREET, SUITE 600
STEGALL, AGNES              13671 WESLEY ST                                                                                             SOUTHGATE          MI 48195‐1718
STEGALL, ALAN
STEGALL, ALLEN Z            50 RIVER HILL ROAD                  LOT 2 # LOT                                                             FULTON             MS    38843
STEGALL, ALVIN L            8442 S CARPENTER ST                                                                                         CHICAGO            IL    60620‐3303
STEGALL, BILLY              7990 CYPRESS ST LOT 19                                                                                      WEST MONROE        LA    71291‐8286
STEGALL, BILLY F            211 S LEXINGTON SPRINGMILL RD                                                                               MANSFIELD          OH    44906‐1329
STEGALL, BILLY W            7990 CYPRESS ST LOT 19                                                                                      WEST MONROE        LA    71291‐8286
STEGALL, BONNIE M           522 FILDEW AVE                                                                                              PONTIAC            MI    48341‐2631
STEGALL, CHARLESETTA        4505 SUNNYDALE AVE                                                                                          KALAMAZOO          MI    49006‐2624
STEGALL, CHARLIE            PORTER & MALOUF PA                  4670 MCWILLIE DR                                                        JACKSON            MS    39206‐5621
STEGALL, CLEVELAND E        34799 FONTANA DR                                                                                            STERLING HTS       MI    48312‐5731
STEGALL, CLEVELAND EARL     34799 FONTANA DR                                                                                            STERLING HTS       MI    48312‐5731
STEGALL, DIANNE             3071 ELMWOOD DR                                                                                             FORT GRATIOT       MI    48059
STEGALL, DOROTHY            8411 S WOLCOTT AVE                                                                                          CHICAGO            IL    60620‐4752
STEGALL, ELLA M             19200 ROSELAND AVE # G244                                                                                   EUCLID             OH    44117
STEGALL, FREDDIE R          1075 4TH ST                                                                                                 WESSON             MS    39191‐9504
STEGALL, FREDDIE R          1075 FOURTH ST                                                                                              WESSON             MS    39191‐9504
STEGALL, GAYLE B            39110 JAMISON ST                                                                                            LIVONIA            MI    48154‐4725
STEGALL, GENTREL L          1309 BRIDGE ST                                                                                              KALAMAZOO          MI    49048‐1801
STEGALL, HAROLD RAY         SHANNON LAW FIRM                    100 W GALLATIN ST                                                       HAZLEHURST         MS    39083‐3007
STEGALL, HARRY W            24 E 4TH ST                                                                                                 ARAGON             GA    30104
STEGALL, JAMES              357 EASTWYCK CIR                                                                                            DECATUR            GA    30032‐6661
STEGALL, JERRY V            PO BOX 277                                                                                                  ARAGON             GA    30104‐0277
STEGALL, JIMMY S            281 LOWERY RD                                                                                               ROCKMART           GA    30153‐3410
STEGALL, JUSTIN T           26A RAILROAD ST                                                                                             JEFFERSONVILLE     OH    43128
STEGALL, KEVIN R            15720 SELWYN ST                                                                                             SOUTHGATE          MI    48195‐1325
STEGALL, PATRICIA           235 EAGLE AVE                                                                                               SEBRING            FL    33872‐3511
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Name                        Address1                          Address2                      Address3    Address4             City               State Zip
STEGALL, PATTY S            540 WILLARD AVE SE                                                                               WARREN              OH 44483‐4483
STEGALL, RALPH E            1484 JAMES ST                                                                                    BURTON              MI 48529‐1234
STEGALL, RALPH E            4685 COURTNEY DR APT D2                                                                          FOREST PARK         GA 30297‐3841
STEGALL, ROBERT T           6965 NORMANDALE DR                                                                               SAINT LOUIS         MO 63121‐5235
STEGALL, SANDRA J           112 ABACO DRIVE                                                                                  PALM SPRINGS        FL 33461‐3461
STEGALL, THOMAS E           2300 MARTIN RD                                                                                   BEAVERTON           MI 48612
STEGALL, WATSON E           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA 23510‐2212
                                                              STREET, SUITE 600
STEGALL, WESLEY O           34799 FONTANA DR                                                                                 STERLING HEIGHTS   MI 48312‐5731
STEGALL, WILLIAM E          8808 WELLS RD                                                                                    MILLINGTON         TN 38053‐4402
STEGALL‐BARRY, KAREN S      2951 SATELLITE BLVD APT 226                                                                      DULUTH             GA 30096‐2331
STEGAN, ADRIAN              JIM WINKEL 7A                                                               30974 WENNIGSEN ‐
                                                                                                        GERMANY
STEGAR JR, PRENTICE E       2091 HEMPSTEAD RD                                                                                AUBURN HILLS       MI   48326‐3403
STEGAR, MARINA N            APT 203                           2602 BEACON HILL DRIVE                                         AUBURN HILLS       MI   48326‐3714
STEGAR, ROLAND              19720 CHEYENNE ST                                                                                DETROIT            MI   48235
STEGAR, SAUNDRA C           2091 HEMPSTEAD RD                                                                                AUBURN HILLS       MI   48326‐3403
STEGE, GARY W               1147 GUTHRIE RD                                                                                  WENTZVILLE         MO   63385‐3108
STEGE, GARY WYATT           1147 GUTHRIE RD                                                                                  WENTZVILLE         MO   63385‐3108
STEGEHUIS, ELEANOR I        3940 5 MILE RD NE                                                                                GRAND RAPIDS       MI   49525‐9721
STEGEHUIS, STEVEN J         APT A                             6271 NORTH LONDON AVENUE                                       KANSAS CITY        MO   64151‐5206
STEGEMAN CURTIS             STEGEMAN, CURTIS                  504 ANDERSON LAKE ROAD                                         CENTERTOWN         MO   65023
STEGEMAN JAMIE              STEGEMAN, JAMIE                   5901 CEDAR LAKE RD S                                           MINNEAPOLIS        MN   55416‐1488
STEGEMAN, CURTIS            504 ANDERSON LAKE ROAD                                                                           CENTERTOWN         MO   65023
STEGEMAN, CURTIS            504 SHADY ACRES RD                                                                               CENTERTOWN         MO   65023‐3517
STEGEMAN, CURTIS            C/O ACUITY                        ATTN: CLAIMS DEPT             PO BOX 58                        SHEBOYGAN          WI   53082‐0058
STEGEMAN, GEORGE T          1206 N LAKESHORE RD                                                                              PORT SANILAC       MI   48469‐9795
STEGEMANN, CONNIE M         APT D                             5605 SOUTH MAY AVENUE                                          OKLAHOMA CITY      OK   73119‐5678
STEGEMANN, LARRY L          APT 189                           7253 SOUTH WALKER AVENUE                                       OKLAHOMA CITY      OK   73139‐7623
STEGEMANN, SCOTT            115 E 14TH ST                                                                                    LOMBARD            IL   60148‐4513
STEGEMEYER, KENNETH         610 MARK AVE #615                                                                                SHEBOYGAN FALLS    WI   53085
STEGEMILLER, JEANE          1022 NELMS RD                                                                                    ALBANY             GA   31705‐6130
STEGEMILLER, MARK E         RR 1 BOX 132                                                                                     SUNMAN             IN   47041
STEGEMOLLER EARL (485184)   GEORGE & SIPES                    151 N DELAWARE ST STE 1700                                     INDIANAPOLIS       IN   46204‐2503
STEGEMOLLER FRED (484890)   GEORGE & SIPES                    156 E MARKET ST STE 600                                        INDIANAPOLIS       IN   46204‐3227
STEGEMOLLER, DIANA LYNNE    4411 READING RD                                                                                  DAYTON             OH   45420‐3130
STEGEMOLLER, DIANE K        147 GOLDEN HILLS DR                                                                              WOODSTOCK          GA   30189‐2345
STEGEMOLLER, EARL           GEORGE & SIPES                    151 N DELAWARE ST STE 1700                                     INDIANAPOLIS       IN   46204‐2503
STEGEMOLLER, ERVIN W        8616 W 10TH ST APT 240                                                                           INDIANAPOLIS       IN   46234‐2155
STEGEMOLLER, FRED           GEORGE & SIPES                    151 N DELAWARE ST STE 1700                                     INDIANAPOLIS       IN   46204‐2503
STEGEMOLLER, JOHN W         3818 S 9TH ST                                                                                    LAFAYETTE          IN   47909‐3541
STEGEMOLLER, MICHAEL E      5893 BEAU JARDIN DR                                                                              INDIANAPOLIS       IN   46237
STEGEN JURGEN               IM WINKEL 1A                      30974 WENNIGSEN                           GERMANY
STEGEN, SABRINA             IM WINKEL 1 A                                                               30974 WENNIGSEN
                                                                                                        GERMANY
STEGER ROBERT L (429872)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                              STREET, SUITE 600
STEGER, CHARLES B           816 DUBLIN AVENUE                                                                                ENGLEWOOD          OH   45322‐2840
STEGER, DOROTHY J           4805 TRANSIT RD APT 301                                                                          DEPEW              NY   14043‐4793
STEGER, DOROTHY J           4805 TRANSIT ROAD                 APT 301                                                        DEPEW              NY   14043
STEGER, JAMES E             5005 ABBEY LN                                                                                    SHELBY TOWNSHIP    MI   48316‐4101
STEGER, JEFFREY             232 MORNING STAR DR                                                                              HUNTSVILLE         AL   35811
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Name                       Address1                         Address2                      Address3   Address4         City              State Zip
STEGER, MARY L             15322 FARNSWORTH ST                                                                        SAN LEANDRO        CA 94579‐2014
STEGER, MICHAEL B          4844 INTERBORO AVE                                                                         PITTSBURGH         PA 15207‐2130
STEGER, ROBERT C           915 BAY VIEW CIR                                                                           MUKWONAGO          WI 53149‐3149
STEGER, ROBERT L           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                            STREET, SUITE 600
STEGEWANS, BERNITA J       2548 EDEN S.W.                                                                             WYOMING           MI   49519‐6828
STEGEWANS, BERNITA J       2548 EDEN ST SW                                                                            WYOMING           MI   49519‐6828
STEGEWANS, RANDALL L       7101 SUNSET AVE                                                                            JENISON           MI   49428‐8927
STEGG, GARY D              22 LAKEWOOD DR                                                                             LAGUNA VISTA      TX   78578‐2857
STEGGALL JR, CLIFFORD C    11334 OLD BRIDGE RD                                                                        GRAND BLANC       MI   48439‐1060
STEGGALL JUDITH            1143 CRIM RD                                                                               BRIDGEWATER       NJ   08807‐2344
STEGGALL, JOHN W           15278 DALE RD                                                                              CHAGRIN FALLS     OH   44022‐3821
STEGGER, JESSIE M          17197 CHERRYLAWN ST                                                                        DETROIT           MI   48221‐2566
STEGGS, WILLIAM H          921 I ROBIN RD APT I                                                                       AMHERST           NY   14228‐1005
STEGICH, ALAN R            17723 CRESTBROOK DR                                                                        NORTHVILLE        MI   48168‐5012
STEGMAN TOOL CO            1985 RING DR                                                                               TROY              MI   48083‐4229
STEGMAN TOOL COMPANY INC   355 W GIRARD AVE                                                                           MADISON HEIGHTS   MI   48071‐1841
STEGMAN, DAVID J           1169 AUGUSTA DR                                                                            TROY              MI   48085‐6127
STEGMAN, GERALD W          4404 WHITMORE LN                                                                           FAIRFIELD         OH   45014‐8554
STEGMAN, JUNE C            26 MARSHALL AVE                                                                            AKRON             NY   14001‐1016
STEGMAN, OLIVER E          7482 ZION HILL RD                                                                          CLEVES            OH   45002‐9694
STEGMEYER, JOSEPH J        908 PARK LN                                                                                NASHVILLE         TN   37221‐4368
STEGNER CONTROLS           3333 BALD MOUNTAIN RD                                                                      AUBURN HILLS      MI   48326‐1808
STEGNER RICHARD (665272)   SIMMONS FIRM                     PO BOX 521                                                EAST ALTON        IL   62024‐0519
STEGNER, ELMER R           710 SW 500TH RD                                                                            CENTERVIEW        MO   64019‐9258
STEGNER, FRITZ             24324 SILKBAY COURT                                                                        LUTZ              FL   33559‐8633
STEGNER, LORE C            515 LOCUST ST BLDG J APT 3                                                                 LOCKPORT          NY   14094
STEGNER, RICHARD           SIMMONS FIRM                     PO BOX 521                                                EAST ALTON        IL   62024‐0519
STEH, GEORGE S             8209 WAIR CHRISTY RD                                                                       KINSMAN           OH   44428‐4428
STEH, GEORGE S             8209 WARD CHRISTY RD                                                                       KINSMAN           OH   44428‐9517
STEHENS INC C/F            THOMAS I GEORGE IRA              1400 CHIMNEY ROCK                                         MOUNTAIN VIEW     AR   72560
STEHLE JR, ROBERT L        60 1ST AVE                                                                                 LEXINGTON         OH   44904‐1102
STEHLE MICHELE             1321 BINGHAM ST                                                                            PITTSBURGH        PA   15203‐1503
STEHLE, BERT E             10049 N CLIO RD                                                                            CLIO              MI   48420‐1942
STEHLE, DANIEL             132 RIDGE LN                                                                               FLAT ROCK         NC   28731‐9795
STEHLE, DAVID A            14169 COLE RD                                                                              LINDEN            MI   48451‐9647
STEHLE, DAVID ARTHUR       14169 COLE RD                                                                              LINDEN            MI   48451‐9647
STEHLE, DENNIS B           7163 NICHOLS RD                                                                            FLUSHING          MI   48433‐9222
STEHLE, DENNIS BRIAN       7163 NICHOLS RD                                                                            FLUSHING          MI   48433‐9222
STEHLE, JAMES A            317 N MARTHA ST                                                                            LOMBARD           IL   60148‐2016
STEHLE, JOSEPH M           759 HIBBARD RD                                                                             HORSEHEADS        NY   14845‐7941
STEHLE, KIRBY L            6149 BALLARD DR                                                                            FLINT             MI   48505‐4801
STEHLE, MARTHA D           14115 COLE RD                                                                              LINDEN            MI   48451‐9647
STEHLE, PAUL H             4183 CAMERON RD                                                                            WILLIAMSVILLE     NY   14221‐7607
STEHLE, ROBERT L           130 HILLTOP RD                                                                             MANSFIELD         OH   44906‐1350
STEHLEY JAY                333 S BROADWAY ST STE 200                                                                  WICHITA           KS   67202‐4325
STEHLI, JOHN R             10419 W 60TH ST                                                                            SHAWNEE           KS   66203‐3005
STEHLIK, DAVID A           115 STRATFORD DR                                                                           PRUDENVILLE       MI   48651‐9746
STEHLIK, FRED L            2500 LELAND RD                                                                             OVID              MI   48866‐9417
STEHLIK, JERRY F           8220 M‐21                                                                                  OVID              MI   48866
STEHLIN, JEROME A          PO BOX 169                                                                                 SHANDON           OH   45063‐0169
STEHLIN, MICHAEL E         14504 IVANHOE DR                                                                           WARREN            MI   48088‐7402
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Name                                Address1                        Address2                        Address3   Address4         City                State Zip
STEHLING, GEORGE A                  2313 SUMMIT FRST                                                                            FREDERICKSBURG       TX 78624‐6895
STEHNEY, MARY I                     200 PENNEMAN AVE                                                                            ELIZABETH            PA 15037‐1638
STEHNEY, MARY I                     200 PENNEMAN DR                                                                             ELIZABETH            PA 15037‐1638
STEHOUWER, DONN A                   170 79TH ST SE                                                                              GRAND RAPIDS         MI 49508‐7249
STEHR, FRANK                        5324 CLOVER LN                                                                              SHEFFIELD VILLAGE    OH 44035‐1480
STEHR, PETER                        665 RANVEEN ST                                                                              WHITE LAKE           MI 48386‐2859
STEHR, PHILIP J                     1022 DREXEL DR                                                                              SAINT CHARLES        MO 63303‐6619
STEHR, SONJA M                      255 SHERIDAN RD                                                                             POLAND               OH 44514‐1686
STEHR, SYLVESTER J                  813 CAROLYN JEAN DR                                                                         O FALLON             MO 63366‐2142
STEHULAK GREGORY                    5132 MOSER RD                                                                               DEFIANCE             OH 43512‐8110
STEHURA, STEVE J                    PO BOX 104                                                                                  FOWLER               OH 44418‐0104
STEIB JR., LOUIS H                  1938 STILLWAGON RD SE                                                                       WARREN               OH 44484‐3165
STEIB, ANNA W                       6747 BRISTLEWOOD DRIVE          UNIT 1‐A                                                    YOUNGSTOWN           OH 44512
STEIB, VIVIAN L                     732 S HAWTHORNE AVE                                                                         ELMHURST              IL 60126‐4713
STEIBEL, DONALD R                   1009 W HAMILTON AVE                                                                         FLINT                MI 48504‐7230
STEIBEL, MICHAEL E                  4266 ISLAND PARK DR             APT A                                                       WATERFORD            MI 48329
STEIBING JR., WALTER                5109 N LOTUS AVE # 2                                                                        CHICAGO               IL 60630‐2233
STEIDEL, JACK E                     C/O COADY LAW FIRM              205 PORTLAND ST, 5TH FL                                     BOSTON               MA 02114‐1721
STEIDEL, ROGER A                    PO BOX 283                                                                                  WESTFIELD CTR        OH 44251‐0283
STEIDEMANN, ROSEMARY A              2305 JOHNSTOWN DR                                                                           FLORISSANT           MO 63033‐3559
STEIDL, ALVERNA                     1105 TALL GRASS CIR APT 103                                                                 STOW                 OH 44224‐6927
STEIDL, ALVERNA                     1105 TALL GRASS CIR             APT 103                                                     STOW                 OH 44224‐6927
STEIDLE, SUSAN                      231 LORILLARD AVE                                                                           UNION BEACH          NJ 07735‐2913
STEIDLER DAVID                      1207 DELTA RD                                                                               RED LION             PA 17356‐9705
STEIDTMANN, EUSTACE J               708 JASMINE AVE                                                                             MYRTLE BEACH         SC 29577‐2426
STEIER, JOHN A                      15431 RIDGE RD W                                                                            ALBION               NY 14411‐9775
STEIERT, FRANK K                    4514 LOON HARBOR LN                                                                         LINDEN               MI 48451‐8431
STEIERT, HEINZ J                    154 OLDE POINT RD                                                                           HAMPSTEAD            NC 28443‐2386
STEIERT, KARL                       154 OLDE POINT ROAD                                                                         HAMPSTEAD            NC 28443‐2386
STEIERT, MICHAEL P                  1215 HIDDEN HILLS RD                                                                        FRANKLIN             NC 28734‐1045
STEIF, IRMA                         555 ASH PKWY                                                                                WESTVILLE            IN 46391‐9752
STEIFER, ROBERT A                   31522 HALDANE ST                                                                            LIVONIA              MI 48152‐1558
STEIG TRUCKING                      PO BOX 114                                                                                  REED CITY            MI 49677‐0114
STEIGAUF JOSEPH P                   610 OAKLEY CIRCLE                                                                           HUDSON               WI 54016‐8244
STEIGAUF, JACOB D                   8513 176TH LN NW                                                                            RAMSEY               MN 55303‐5519
STEIGAUF, JOSEPH P                  610 OAKLEY CIR                                                                              HUDSON               WI 54016‐8244
STEIGELMAN, PETER K                 441 TOWER GROVE PL                                                                          SAINT CHARLES        MO 63301‐2151
STEIGER JOHN SR (511560)            PAUL REICH & MYERS P.C.         1608 WALNUT ST STE 500                                      PHILADELPHIA         PA 19103‐5446
STEIGER JR, CLARENCE J              412 FOX LN                                                                                  CARMEL               IN 46032‐5091
STEIGER MARY ANN                    300 RABRO DR                                                                                HAUPPAUGE            NY 11788
STEIGER MD                          550 N GOLDEN CIRCLE DR STE A    CO PLC AND ASSOCIATES                                       SANTA ANA            CA 92705‐3977
STEIGER, FERDINAND                  1920 WHITT ST                                                                               XENIA                OH 45385‐4943
STEIGER, FERDINAND                  1920 WHITT STREET                                                                           XENIA                OH 45385‐4943
STEIGER, GERALD L                   2553 NEWBERRY RD                                                                            WATERFORD            MI 48329‐2345
STEIGER, JOHN                       PAUL REICH & MYERS P.C.         1608 WALNUT ST STE 500                                      PHILADELPHIA         PA 19103‐5446
STEIGER, ROBERT F                   8187 GARNET DR                                                                              CENTERVILLE          OH 45458‐2142
STEIGERS ROBERT FRANK JR (492173)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD           OH 44067
                                                                    PROFESSIONAL BLDG
STEIGERWALD, BARBARA                6443 MAYBURN                                                                                DEARBORN HEIGHTS    MI   48127
STEIGERWALD, FRANK J                1600 PETH RD                                                                                MANLIUS             NY   13104‐9630
STEIGERWALD, KLARA                  14790 CRAIG COURT                                                                           WARREN              MI   48088
STEIGERWALD, KLARA                  14790 CRAIG CT                                                                              WARREN              MI   48088‐3314
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Name                         Address1                         Address2                          Address3              Address4         City               State Zip
STEIGERWALD, LOUIS W         13354 IOWA DR                                                                                             WARREN              MI 48088‐3165
STEIGERWALD, RAYMOND A       6443 MAYBURN ST                                                                                           DEARBORN HEIGHTS    MI 48127‐2216
STEIGERWALT, CAROL V         508 N BUCKINGHAM CT                                                                                       ANDERSON            IN 46013‐4469
STEIGERWALT, ROSALIND M      634 FRANCIS DR                                                                                            ANDERSON            IN 46013‐1614
STEIGERWALT, STEVE E         634 FRANCIS DR                                                                                            ANDERSON            IN 46013‐1614
STEIGLEMAN APRIL N           STEIGLEMAN, APRIL N              30 E BUTLER AVE                                                          AMBLER              PA 19002‐4514
STEIGLEMAN APRIL N           STEIGLEMAN, MICHAEL              KIMMEL & SILVERMAN                30 EAST BUTLER PIKE                    AMBLER              PA 19002
STEIGLEMAN, APRIL N          KIMMEL & SILVERMAN               30 E BUTLER AVE                                                          AMBLER              PA 19002‐4514
STEIGLEMAN, MICHAEL          KIMMEL & SILVERMAN               30 E BUTLER AVE                                                          AMBLER              PA 19002‐4514
STEIGMANN, HARVEY H          6955 FOOTHILL BLVD #3RD FL.                                                                               OAKLAND             CA 94605
STEIGMEYER, TINA             1046 E 8TH ST                                                                                             ERIE                PA 16503‐1513
STEIHR, THOMAS J             3474 N BELSAY RD                                                                                          FLINT               MI 48506‐2269
STEIHR, THOMAS JOHN          3474 N BELSAY RD                                                                                          FLINT               MI 48506‐2269
STEIL III, DONALD E.         1202 FM 2965                                                                                              WILLS POINT         TX 75169‐8429
STEILBERGER, HANS            1077 FAIRLANE CT                                                                                          FRANKLIN            IN 46131‐7499
STEILEN, GARY J              16932 BROOKLANE BLVD                                                                                      NORTHVILLE          MI 48168‐8422
STEILEN, KIMBERLY S          16932 BROOKLANE BLVD                                                                                      NORTHVILLE          MI 48168‐8422
STEILING DENNIS L (442196)   SIMMONS FIRM                     PO BOX 559                                                               WOOD RIVER           IL 62095‐0559
STEILING, DENNIS L           SIMMONS FIRM                     PO BOX 559                                                               WOOD RIVER           IL 62095‐0559
STEIMEL, CATHERINE C         3508 RUE DE RENARD C/O G HOLSC                                                                            FLORISSANT          MO 63034
STEIMEL, CHRISTIE            200 SASSAFRAS PARC DR                                                                                     O FALLON            MO 63368‐6622
STEIMEL, JOSEPH H            84 PALM HARBOR DR                                                                                         NORTH PORT          FL 34287‐6534
STEIMEL, RICHARD L           PO BOX 501                                                                                                ROSS                OH 45061‐0501
STEIMEL, STEPHEN J           261 N 500 E                                                                                               GREENFIELD          IN 46140‐9406
STEIMER, CHARLES L           1706 COTTAGE WOOD WAY                                                                                     KNOXVILLE           TN 37919‐8881
STEIMKE, DAN L               2772 FOOTHILL DR                                                                                          OGDEN               UT 84403
STEIMLE ELLIOT J (666577)    COONEY & CONWAY                  120 NORTH LASALLE STREET , 30TH                                          CHICAGO              IL 60602
                                                              FLOOR
STEIMLE, ELLIOT J            COONEY & CONWAY                  120 NORTH LASALLE STREET, 30TH                                           CHICAGO             IL   60602
                                                              FLOOR
STEIMLE, IRENE E             404 CHESTNUT DR                                                                                           BEREA              OH    44017‐1336
STEIN                        PO BOX 33278                                                                                              GRANADA HILLS      CA    91394‐3278
STEIN ALBERT                 STEIN, ALBERT                    950 W UNIVERSITY DR STE 300                                              ROCHESTER          MI    48307‐1887
STEIN AUTOMOTIVE             1215 W MAIN ST                                                                                            BELLEVILLE         IL    62220‐1524
STEIN BENJAMIN               602 N CRESCENT DR                                                                                         BEVERLY HILLS      CA    90210‐3330
STEIN BRADY                  2625 LEGEND WOODS DR                                                                                      GRAND LEDGE        MI    48837‐8933
STEIN CAREY                  STEIN, CAREY
STEIN CARL E (460214)        DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                                          NORTH OLMSTED      OH    44070
STEIN HANS JMD PC            1121 CROOKS RD                                                                                            ROYAL OAK          MI    48067‐1301
STEIN I I I, HARRY A         18257 E STREET RD                                                                                         NEW LOTHROP        MI    48460‐9612
STEIN II, KARL A             12 BEVERLY PL                                                                                             DAYTON             OH    45419‐3401
STEIN III, HARRY A           18257 E STREET RD                                                                                         NEW LOTHROP        MI    48460‐9612
STEIN III, HARRY M           3304 GIBBONS AVE                                                                                          BALTIMORE          MD    21214‐2658
STEIN JANE                   4257 ALLEGHENY DR                                                                                         TROY               MI    48085‐3668
STEIN JR, JOSEPH L           178 SILO VIEW DR                                                                                          WENTZVILLE         MO    63385‐4344
STEIN KEITH                  36 MINUTE MAN HL                                                                                          WESTPORT           CT    06880‐6522
STEIN KENNETH M.             STEIN, KENNETH M.
STEIN L M & ASSOCIATES       PO BOX 7118                      CERTIFIED SHORTHAND REPORTERS                                            NOVI               MI 48376‐7118

STEIN PATTY                  PO BOX 4117                                                                                               PLANT CITY         FL 33563‐0020
STEIN ROBERT                 425 STREAMVIEW CT                                                                                         ROCHESTER HILLS    MI 48309‐1806
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Name                     Address1                           Address2                      Address3   Address4         City            State Zip
STEIN ROBERT (459365)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                            STREET, SUITE 600
STEIN WILLIAM (514808)   SIMMONS FIRM                       PO BOX 521                                                EAST ALTON      IL   62024‐0519
STEIN, ANGELIQUE         2337 HIGH ST NW                                                                              WARREN          OH   44483
STEIN, ARLAN H           4176 ATKINS RD                                                                               PORT HURON      MI   48060‐1633
STEIN, ARTHUR C          29846 BAYVIEW DR                                                                             GROSSE ILE      MI   48138‐1959
STEIN, ASHLEY L          506 S RACCOON RD                                                                             AUSTINTOWN      OH   44515
STEIN, ASHLEY L          1203 IDAHO RD                                                                                YOUNGSTOWN      OH   44515‐4402
STEIN, AUDREY O          8336 E COLDWATER RD                                                                          DAVISON         MI   48423‐8966
STEIN, BARBARA M         4760 HUMMER LAKE RD                                                                          ORTONVILLE      MI   48462‐9437
STEIN, BARBARA R         1914 MCPHAIL ST                                                                              FLINT           MI   48503‐4328
STEIN, BLANCHE LOUISE    12640 HOLLY RD APT B211                                                                      GRAND BLANC     MI   48439‐2456
STEIN, BLANCHE LOUISE    12640 HOLLY ROAD APT#B211                                                                    GRAND BLANC     MI   48439
STEIN, BRIAN E           7065 BLUEBUSH RD                                                                             MONROE          MI   48162‐9124
STEIN, CAREY             EDELMAN COMBS LATTURNER &          120 S LA SALLE ST FL 18                                   CHICAGO         IL   60603‐3593
                         GOODWIN LLC
STEIN, CARL E            DUFFY & ASSOCS JOHN J              23823 LORAIN RD                                           NORTH OLMSTED   OH   44070
STEIN, CAROL G           1614 WARM SPRINGS DR                                                                         ALLEN           TX   75002‐1883
STEIN, CECELIA           31743 WIXSON DR                                                                              WARREN          MI   48092‐1420
STEIN, CHARLES T         14882 RIVERSIDE ST                                                                           LIVONIA         MI   48154‐5192
STEIN, CHRISTY L         4631 RUSH CIR                                                                                BOARDMAN        OH   44512‐1613
STEIN, CLARABELLE M      6963 MITCH LN LOT 10                                                                         MACCLENNY       FL   32063‐5641
STEIN, CLIFFORD D        5739 STONE RD                                                                                LOCKPORT        NY   14094‐1213
STEIN, CYNTHIA E         344 SOUTH FOURTH ST.                                                                         WEST BRANCH     MI   48661‐1310
STEIN, CYNTHIA E         344 S 4TH ST                                                                                 WEST BRANCH     MI   48661‐1310
STEIN, DARNITA L         9230 TUSCARORA DR                                                                            CLARKSTON       MI   48348‐3151
STEIN, DAVID K           18103 FOXPOINTE DR                                                                           CLINTON TWP     MI   48038‐2148
STEIN, DAVID W           6707 BEAR RIDGE RD                                                                           LOCKPORT        NY   14094‐9288
STEIN, DAVID W           205 HALL ST                                                                                  ESSEXVILLE      MI   48732‐1149
STEIN, DENISE C          802 COTTONRIDGE DR                                                                           PEARL           MS   39208‐7016
STEIN, DEVON J           2640 NORTH ST                                                                                GRANITE CITY    IL   62040‐2042
STEIN, DIANE G           1003 SKYRIDGE DR                                                                             WOODSTOCK       GA   30188‐3962
STEIN, DONALD            4119 OAKHURST CIR W                                                                          SARASOTA        FL   34233‐1438
STEIN, DONALD M          220 GLENDALE DR                                                                              TONAWANDA       NY   14150‐4632
STEIN, DOUGLAS P         9825 CHERRY HILLS DR                                                                         CANFIELD        OH   44406‐8160
STEIN, EDWARD J          9230 KIRK RD                                                                                 NORTH JACKSON   OH   44451‐9741
STEIN, ELIZABETH D       19 JULIET LN APT 301                                                                         BALTIMORE       MD   21236‐1235
STEIN, ELIZABETH D       19 JULIET LANE UNIT 301                                                                      BALTIMORE       MD   21236‐1235
STEIN, ERICK G           2864 EWINGS RD                                                                               NEWFANE         NY   14108‐9607
STEIN, ESTHER L          2811 N OAKLAND FOREST DR APT 201                                                             OAKLAND PARK    FL   33309‐6439
STEIN, EUGENE L          19044 MOUNT. SPENC. RD                                                                       SPENCERVILLE    OH   45887
STEIN, FLORENCE A        546 CHASSEUR DR                                                                              GRAND BLANC     MI   48439‐2308
STEIN, FRANK S           3204 TALLY HO DR                                                                             KOKOMO          IN   46902‐3985
STEIN, GARY C            7131 VIENNA RD                                                                               OTISVILLE       MI   48463‐9474
STEIN, GARY J            7434 JOHNSON RD                                                                              FLUSHING        MI   48433‐9050
STEIN, GARY M            7617 W BERGEN RD                                                                             BERGEN          NY   14416‐9772
STEIN, GERHARD           254 SPORTSMAN RD                                                                             ROTONDA WEST    FL   33947‐1927
STEIN, GLORIA            3872 TUBBS RD                                                                                ANN ARBOR       MI   48103‐9437
STEIN, HARLAND C         8336 E COLDWATER RD                                                                          DAVISON         MI   48423‐8966
STEIN, INC.              DAVE HOLVEY                        1929 E ROYALTON RD                                        CLEVELAND       OH   44147‐2809
STEIN, JAMES
STEIN, JAMES D           3939 18TH ST                                                                                 DORR            MI 49323‐9385
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STEIN, JAMES E        1659 ADAMS LN N                                                                             STANDISH           MI 48658‐9600
STEIN, JAMES H        4760 HUMMER LAKE RD                                                                         ORTONVILLE         MI 48462‐9437
STEIN, JAMES W        2226 BREEZEWOOD DR                                                                          YOUNGSTOWN         OH 44515‐5101
STEIN, JANE MADIGAN   4257 ALLEGHENY DR                                                                           TROY               MI 48085‐3668
STEIN, JERRY J        16904 CHIPPEWA RD                                                                           ALPENA             MI 49707‐9106
STEIN, JESSE W        5202 N STATE ROUTE 72                                                                       SABINA             OH 45169‐9100
STEIN, JOANN M        3822 WHIPPORWILL LN.                                                                        BOARDMAN           OH 44511
STEIN, JOHN C         2755 BULLARD RD                                                                             HARTLAND           MI 48353‐3007
STEIN, JOHN E         11864 WILDWING ROAD                                                                         PLYMOUTH           MI 48170‐3654
STEIN, JOHN T         3822 WHIPPOORWILL LN                                                                        YOUNGSTOWN         OH 44511‐3372
STEIN, JOSEPH H       7263 N WEBSTER RD                                                                           MOUNT MORRIS       MI 48458‐9430
STEIN, JOYCE          1075 PARKLEIGH RD                                                                           COLUMBUS           OH 43220‐4041
STEIN, JOYCE R        1075 PARKLEIGH ROAD                                                                         COLUMBUS           OH 43220‐3220
STEIN, JUDY K         2755 BULLARD RD                                                                             HARTLAND           MI 48353‐3007
STEIN, KEITH H        8105 E COLDWATER RD                                                                         DAVISON            MI 48423‐8938
STEIN, KEITH J        1201 N WILLIAMS ST                                                                          BAY CITY           MI 48706‐3666
STEIN, LARRY M        5185 JUSTIN DR                                                                              FLINT              MI 48507‐4562
STEIN, LINDA C        STE 200                           5206 GATEWAY CENTER                                       FLINT              MI 48507‐3917
STEIN, LINDA D        3560 SUTTON RD                                                                              DRYDEN             MI 48428‐9734
STEIN, LINDA S        2323 MARCIA DR                                                                              BELLBROOK          OH 45305‐1723
STEIN, LOIS F         2864 EWINGS RD                                                                              NEWFANE            NY 14108
STEIN, LOIS F         6095 WALNUT ST                                                                              NEWFANE            NY 14108‐1317
STEIN, LOIS J         2447 E GLACIER PL                                                                           CHANDLER           AZ 85249‐2912
STEIN, LUELLA T       302 CEDAR BROOK LANE                                                                        SANDUSKY           OH 44870‐6924
STEIN, MARIA A        2516 BRIDGEPORT LNE S E                                                                     KENTWOOD           MI 49508‐8429
STEIN, MARIE E        7263 WEBSTER RD                                                                             MT MORRIS          MI 48458‐9430
STEIN, MARIE E        7263 N WEBSTER RD                                                                           MOUNT MORRIS       MI 48458‐9430
STEIN, MARIE‐LUISE    471 PIN OAK CT                                                                              MONROE             MI 48162‐3391
STEIN, MARVIN J       125 MALLARD DUCK LN                                                                         ROCKWOOD           TN 37854
STEIN, MARVIN J       2323 MARCIA DR                                                                              BELLBROOK          OH 45305‐1723
STEIN, MARY ANN       3414 KNOLLWOOD ST NE                                                                        ROCKFORD           MI 49341‐8563
STEIN, MARY B         28512 BARTON ST                                                                             GARDEN CITY        MI 48135‐2702
STEIN, MICHAEL C      2181 MAPESBURY DR                                                                           WEST BLOOMFIELD    MI 48324‐1445
STEIN, MICHAEL C      4244 SUNNYSLOPE AVE                                                                         SHERMAN OAKS       CA 91423‐3806
STEIN, MICHAEL F      624 W 13TH ST                                                                               OKMULGEE           OK 74447‐7711
STEIN, MICHAEL F      1130 CORA DR                                                                                FLINT              MI 48532‐2722
STEIN, MICHAEL W      PO BOX 420                                                                                  CLAYTON            IN 46118‐0420
STEIN, MITCHELL P     12204 WILLOWDELL DR                                                                         DALLAS             TX 75243‐3710
STEIN, PAUL
STEIN, PAUL E         646 WADHAMS RD                                                                              KIMBALL           MI   48074‐3717
STEIN, PAUL J         4631 RUSH CIR                                                                               BOARDMAN          OH   44512‐1613
STEIN, PAULA J        4167 SHERATON DR                                                                            FLINT             MI   48532‐3556
STEIN, RALPH T        101 PRIVATE ROAD 1315                                                                       MORGAN            TX   76671‐3221
STEIN, REGIS V        PO BOX 737                                                                                  WAYNE             MI   48184‐0737
STEIN, REGIS V        35355 CURRIER                                                                               WAYNE             MI   48184
STEIN, REGIS VAN      PO BOX 737                                                                                  WAYNE             MI   48184
STEIN, RITA L         11021 BUSCH AVE                                                                             WARREN            MI   48089‐1057
STEIN, ROBERT         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                        STREET, SUITE 600
STEIN, ROBERT G       4167 SHERATON DR                                                                            FLINT             MI 48532‐3556
STEIN, ROBERT G       10500 BEE HOLLOW RD                                                                         MASCOUTAH         IL 62258‐5134
STEIN, ROBERT R       1075 PARKLEIGH RD                                                                           COLUMBUS          OH 43220‐4041
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Name                           Address1                      Address2                      Address3   Address4         City              State Zip
STEIN, ROBERT W                425 STREAMVIEW CT                                                                       ROCHESTER HLS      MI 48309‐1806
STEIN, ROY D                   332 MUTTON CREEK DR                                                                     SEYMOUR            IN 47274‐4042
STEIN, RUTH S                  46 CHESTNUT STREET                                                                      LONG BEACH         CA 90802
STEIN, SANDRA J                7301 SHILOH LN                                                                          SAINT LOUIS        MO 63123‐2032
STEIN, STEVEN R                2099 BALSAM LN                                                                          GRAND BLANC        MI 48439‐7392
STEIN, STEVEN ROBERT           2099 BALSAM LN                                                                          GRAND BLANC        MI 48439‐7392
STEIN, THELMA J                95 HEMPSTEAD RD                                                                         TRENTON            NJ 08610‐2032
STEIN, THELMA J                95 HEMPSTEAD ROAD                                                                       TRENTON            NJ 08610‐2032
STEIN, THOMAS                  4466 WOLF RD                                                                            PINCKNEYVILLE       IL 62274‐3927
STEIN, THOMAS A                PO BOX 857                                                                              CLOVERDALE         IN 46120‐0857
STEIN, THOMAS L                8054 AKRON RD                                                                           FAIRGROVE          MI 48733‐9730
STEIN, TIMOTHY D               11511 MAGNOLIA DR                                                                       FORT WAYNE         IN 46814‐4549
STEIN, TIMOTHY J               8381 SHEEHAN RD                                                                         CENTERVILLE        OH 45458‐4103
STEIN, TIMOTHY W               5355 ROYALE CT NE                                                                       ROCKFORD           MI 49341‐8646
STEIN, VALERIE                 8720 GREENWAY AVE S                                                                     COTTAGE GROVE      MN 55016‐2770
STEIN, VERNON E                32314 SPRING CT                                                                         DAGSBORO           DE 19939‐4001
STEIN, WILLIAM                 SIMMONS FIRM                  PO BOX 521                                                EAST ALTON          IL 62024‐0519
STEIN, WILLIAM A               1717 RACHEL DR                                                                          PLAINFIELD         IN 46168‐9344
STEIN, WILLIAM E               1620 S MILLER RD                                                                        SAGINAW            MI 48609‐9589
STEIN, WILLIAM J               38868 ROSS ST                                                                           LIVONIA            MI 48154‐4739
STEIN, YVETTE                  6225 DORCHESTER RD                                                                      LOCKPORT           NY 14094‐5903
STEINACKER EDWARD J (429873)   GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                             STREET, SUITE 600
STEINACKER, EDWARD J           GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                             STREET, SUITE 600
STEINACKER, JAMES H            2522 S JENTILLY LN                                                                      TEMPE              AZ 85282‐2406
STEINACKER, MARGARET E         APT 126                       200 WEST EDGEWOOD BOULEVARD                               LANSING            MI 48911‐5668

STEINACKER, MARGARET E         200 W EDGEWOOD BLVD APT 125                                                             LANSING           MI   48911‐5668
STEINACKER, PAULA S            3608 SUNRIDGE DR                                                                        FLINT             MI   48506‐2548
STEINACKER, PHILLIP K          3864 HIGHWOOD PL                                                                        OKEMOS            MI   48864‐3789
STEINAGEL, WITHOLD B           1131 DOGWOOD DR                                                                         PORTAGE           MI   49024‐5227
STEINAGLE, DIANE               3830 CONCORD DR                                                                         NORTH TONAWANDA   NY   14120‐3702
STEINAGLE, NORMAN F            3830 CONCORD DR                                                                         NORTH TONAWANDA   NY   14120‐3702
STEINAGLE, NORMAN FREDRICK     3830 CONCORD DR                                                                         NORTH TONAWANDA   NY   14120‐3702
STEINAWAY LAURA                STEINAWAY, LAURA              505 SOUTH INDEPENDENCE BLVD                               VIRGINIA BEACH    VA   23452
STEINAWAY, DALE E              88 LAMB ST                                                                              WHITMORE LAKE     MI   48189
STEINAWAY, JUNE R              13511 ROSEMARY BLVD                                                                     OAK PARK          MI   48237‐2094
STEINAWAY, LAURA               BEIER JOEL D                  136 CHALMERS DR                                           BILOXI            MS   39530
STEINBACH TERRY                6936 OAK RIDGE RD                                                                       HAMEL             MN   55340‐9389
STEINBACH, LOUIS W             24 ESTATE TRL                                                                           BELTON            TX   76513‐6257
STEINBACH, ROBERT G            7427 BURKE RD                                                                           JAMESVILLE        NY   13078‐9693
STEINBACHER, ESTHER L          1504 LINCOLN AVE                                                                        MT MORRIS         MI   48458‐1325
STEINBACHER, WILLIAM C         4881 S OLD STATE ROAD 3                                                                 LAOTTO            IN   46763‐9700
STEINBARGER I I, CARL M        7021 YORKSHIRE DR                                                                       DAYTON            OH   45414‐2150
STEINBARGER JR, ELMER M        1900 COLTON DR                                                                          KETTERING         OH   45420‐1442
STEINBECK, DONALD E            1003 BEECH TREE RD                                                                      JACKSONVILLE      NC   28546‐6001
STEINBECK, DUANE V             W8199 JOHNSON RD                                                                        IRON MOUNTAIN     MI   49801
STEINBECK, DUANE V             N. 16570 PARK AVENUE          W8199 JOHNSON ROAD                                        IRON MOUNTAIN     MI   49801‐9546
STEINBECK, JANET               1200 DUANE SWIFT PARKWAY      APT C22                                                   JEFFERSON CITY    MO   65109
STEINBECK, PAMELA J.           934 LAFAYETTE AVE                                                                       NILES             OH   44446‐3160
STEINBECK, RENEE R             7286 S DELAINE DR                                                                       OAK CREEK         WI   53154‐2410
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Name                              Address1                         Address2                      Address3   Address4              City                State Zip
STEINBECK, SHARI R                247 PLEASANT PARK CT N.W                                                                        WARREN               OH 44481‐9442
STEINBECK, WILLIAM D              3198 SOLAR DR NW                                                                                WARREN               OH 44485‐1612
STEINBEISER, DELORES P            1921 CLOVERBROOK DR                                                                             MINERAL RIDGE        OH 44440‐9519
STEINBEISER, LEO M                RD3 BOX 468T                                                                                    ALTOONA              PA 16601‐6601
STEINBEISER, LEO M                RR 3 BOX 468T                                                                                   ALTOONA              PA 16601‐9228
STEINBERG ANDREW                  1729 CARLSON LANE                                                                               REDONDO BEACH        CA 90278‐4712
STEINBERG EDUARD                  NEUE STR 7                                                                D‐22851 NORDERSTEDT
                                                                                                            GERMANY
STEINBERG, BARRY E                89 PICKLE ST                                                                                    POTSDAM             NY 13676‐3219
STEINBERG, DORIS H                PO BOX 3010                                                                                     FALLBROOK           CA 92088‐3010
STEINBERG, LEON
STEINBERG, SOPHIE V               5371 FERN AVE                                                                                   GRAND BLANC         MI   48439‐4321
STEINBERGER LINDA                 2549 MARBLEHEAD DRIVE                                                                           SARASOTA            FL   34231‐5181
STEINBERGER MICHAEL (654780)      BRAYTON PURCELL                  PO BOX 6169                                                    NOVATO              CA   94948‐6169
STEINBERGER, FRANK E              4041 HOMESTEAD DR                                                                               HOWELL              MI   48843‐7427
STEINBERGER, MICHAEL              BRAYTON PURCELL                  PO BOX 6169                                                    NOVATO              CA   94948‐6169
STEINBICER, JOHN R                1212 SURREY DR                                                                                  MILTON              WI   53563‐1804
STEINBICER, JUDITH                940 SANTA ROSA BLVD APT 1724                                                                    FORT WALTON BEACH   FL   32548‐5966
STEINBICHLER OPTOTECHNIK GMBH     AM BAUHOF 4                                                               NEUBEUERN D‐83115
                                                                                                            GERMANY
STEINBICHLER VISION SYSTEMS INC   39255 COUNTRY CLUB DRIVE                                                                        FARMINGTON HILLS    MI   48331
STEINBOCK, CARL H                 2321 STONEFIELD DR                                                                              FLUSHING            MI   48433‐2664
STEINBOCK, CARL HEINS             2321 STONEFIELD DR                                                                              FLUSHING            MI   48433‐2664
STEINBORN, ERIC M                 3810 E MILWAUKEE ST                                                                             JANESVILLE          WI   53546‐1500
STEINBORN, ERIC M                 3405 CRABAPPLE LN                                                                               JANESVILLE          WI   53548‐5814
STEINBORN, GUENTHER R             3898 E PATTERSON RD                                                                             DAYTON              OH   45430‐1106
STEINBORN, PAUL J                 5448 N SEYMOUR RD                                                                               FLUSHING            MI   48433‐1004
STEINBRECHER, DOROTHY B           1432 43RD ST SW                                                                                 WYOMING             MI   49509‐4341
STEINBRECHER, EDWIN A             8454 88TH ST                                                                                    HOWARD CITY         MI   49329‐9059
STEINBRICK, HELENE ANN            1805 CITRUS ORCHARD WAY                                                                         VALRICO             FL   33594‐4016
STEINBRING CHEVROLET, INC.        3710 S 29                                                                                       ALEXANDRIA          MN
STEINBRINK ROGER (459366)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA   23510
                                                                   STREET, SUITE 600
STEINBRINK, CHARLES H             5411 OLD STATE RD                                                                               NATIONAL CITY       MI 48748‐9432
STEINBRINK, JERRY J               BOONE ALEXANDRA                  205 LINDA DR                                                   DAINGERFIELD        TX 75638‐2107
STEINBRINK, ROGER                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA 23510‐2212
                                                                   STREET, SUITE 600
STEINBRUECK, MILDRED C            244 STALWART DR                                                                                 TROY                MI   48098‐3039
STEINBRUGGE JR, RALPH J           146 CHURCH STREET                                                                               DAYTON              OH   45410‐1802
STEINBRUGGE JR, RALPH J           146 CHURCH ST                                                                                   DAYTON              OH   45410‐1802
STEINBRUGGE, DORA B               6713 ALTER RD                                                                                   HUBER HEIGHTS       OH   45424‐3409
STEINBRUGGE, HELEN B              10181 CAMDEN COLLEGE CORNER RD                                                                  COLLEGE CORNER      OH   45003‐9223
STEINBRUGGE, JANICE C             146 CHURCH STREET                                                                               DAYTON              OH   45410‐1802
STEINBRUGGE, JANICE C             146 CHURCH ST                                                                                   DAYTON              OH   45410‐1802
STEINBRUGGE, KEVIN L              8448 MARTZ PAULIN RD                                                                            FRANKLIN            OH   45005‐4022
STEINBRUGGE, KIMBERLY J           149 CHURCH ST                                                                                   DAYTON              OH   45410‐1801
STEINBRUGGE, PAUL L               4211 PLEASANT VIEW AVE                                                                          DAYTON              OH   45420‐2836
STEINBRUGGE, PAUL LEONARD         3033 WAYLAND AVE                                                                                DAYTON              OH   45420‐2142
STEINBRUGGE, PHILIP C             5320 VALCOURT ST                                                                                MIAMISBURG          OH   45342
STEINBRUNER, ROBERT J             140 COLONEL DR                                                                                  FRANKLIN            OH   45005
STEINBRUNER, WILLIAM J            1305 LITTLE YANKEE RUN                                                                          CENTERVILLE         OH   45458‐5910
STEINBRUNNER, LUCILE M            5683 MAD RIVER RD                                                                               CENTERVILLE         OH   45459‐1627
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Name                                   Address1                        Address2                        Address3    Address4         City                State Zip
STEINBRUNNER, MILDRED W                1124 S WAYNESVILLE RD                                                                        OREGONIA             OH 45054‐9413
STEINBRUNNER, WILLIAM L                4022 KNOLL WOOD LN                                                                           ANDERSON             IN 46011
STEINBUCH, PATRICIA                    1332 N BUTLER AVE                                                                            INDIANAPOLIS         IN 46219‐2922
STEINBUCH, PHILLIP D                   10632 SE 251ST ST                                                                            LATHROP              MO 64465‐8265
STEINBURG, SHAPRIO & CLARK             ATTN: MARK H. SHAPIRO           24901 NORTHWESTERN HIGHWAY      SUITE 611                    SOUTHFIELD           MI 48075

STEINCKE HENRY                         150 GREENWAY TERRACE                                                                         FLUSHING            NY   11375
STEINDICHLER VISION SYSTEMS IN         39205 COUNTRY CLUB DR STE C30                                                                FARMINGTON HILLS    MI   48331‐5700
STEINDICHLER VISION SYSTEMS INC        39205 COUNTRY CLUB DR STE C30                                                                FARMINGTON HILLS    MI   48331‐5700
STEINDL, EDWARD J                      964 SCENERY DR                                                                               ELIZABETH           PA   15037‐2244
STEINDL, HARLAN L                      1414 BARBERRY DR                                                                             JANESVILLE          WI   53545‐0402
STEINDL, WILLIAM R                     1624 GARTLAND AVE                                                                            JANESVILLE          WI   53548‐1522
STEINDORF, RONALD R                    800 MILFORD ST                                                                               WATERTOWN           WI   53094‐6003
STEINECK, EUGELA C                     11821 ROLLING MEADOW LN                                                                      NORTH ROYALTON      OH   44133‐3035
STEINEMAN, BRENT T                     4240 FOX FERN COURT                                                                          DAYTON              OH   45432‐4132
STEINEMAN, DONALD T                    917 SILVER LEAF                                                                              DAYTON              OH   45431‐2922
STEINEMAN, DONALD T                    917 SILVERLEAF DR                                                                            DAYTON              OH   45431‐2922
STEINER & STEINER                      613 WOODLAND ST                                                                              NASHVILLE           TN   37208‐4211
STEINER AUTOMOTIVE                     9801 CLAY RD                                                                                 HOUSTON             TX   77080‐1101
STEINER CHRISTOPHER                    13653 EMERSON RD                                                                             DALTON              OH   44618‐9244
STEINER ELECTRIC CO                    1250 TOUHY AVE                                                                               ELK GROVE VILLAGE   IL   60007‐5302
STEINER I I I, CHARLES F               1842 DREXEL AVE NW                                                                           WARREN              OH   44485‐2122
STEINER II, DWIGHT L                   865 BARN SWALLOW LN                                                                          MILAN               MI   48160‐1569
STEINER JEFF L                         5803 EVERETT HULL RD                                                                         FOWLER              OH   44418‐9603
STEINER JOHN (ESTATE OF) (454068)      BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD          OH   44067
                                                                       PROFESSIONAL BLDG
STEINER JR, EDWARD A                   322 EMERALD DR                                                                               CHARLOTTE           MI 48813‐9011
STEINER JR, JOSEPH                     512 BOXWOOD LN                                                                               NEW SMYRNA BEACH    FL 32168‐7902
STEINER KAREN (ESTATE OF) (447958)     BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD          OH 44067
                                                                       PROFESSIONAL BLDG
STEINER WALTER                         205 NESMITH WAY                                                                              STATESBORO          GA 30458‐4478
STEINER WANDA                          1270 TONAWANDA AVE                                                                           AKRON               OH 44305‐2757
STEINER WILLIAM (ESTATE OF) (492687)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD          OH 44067
                                                                       PROFESSIONAL BLDG
STEINER WOLFF SALES & MKTNG            ATTN: STU WOLFF                 39201 SCHOOLCRAFT RD # B2                                    LIVONIA             MI   48150‐1069
STEINER, ALBERTA M                     2726 ROCKFORD CT N                                                                           KOKOMO              IN   46902‐3206
STEINER, ANDREA                        402 PARKDALE AVE                                                                             ROCHESTER           MI   48307‐1612
STEINER, BARBARA                       5276 COBBLEGATE BLVD APT B                                                                   MORAINE             OH   45439‐5190
STEINER, BARBARA                       5276B COBBLE GATE BLVD                                                                       MORAINE             OH   45439‐5190
STEINER, BERNICE P                     1145 DEL TORO DR                                                                             LADY LAKE           FL   32159‐5709
STEINER, BILL E                        104 MOHICAN TRL                                                                              JEFFERSONVILLE      KY   40337‐8990
STEINER, BILL E                        104 MOHICAN TRAIL                                                                            JEFFERSONVILLE      KY   40337‐0337
STEINER, BRADLEY J                     766 JOYCIE LN                                                                                WAYNESVILLE         OH   45068‐8461
STEINER, BRANDY S                      10487 VALLEY CREEK DR                                                                        GOODRICH            MI   48438‐8734
STEINER, BRENDA R                      2002 CARLTON RD                                                                              KENT                OH   44240‐4215
STEINER, BYRON J                       3130 ASTOR AVE                                                                               TOLEDO              OH   43614‐5223
STEINER, BYRON JOSEPH                  3130 ASTOR AVE                                                                               TOLEDO              OH   43614‐5223
STEINER, CAROLYN S                     2061 BIRCH ST                                                                                HARTLAND            MI   48353‐3401
STEINER, CHARLES E                     2057 N KIRK RD                                                                               FAIRGROVE           MI   48733‐9763
STEINER, CHARLES J                     3034 VERNON AVE                                                                              BROOKFIELD          IL   60513‐1004
STEINER, DAVID L                       224 DOUGHERTY AVE                                                                            SHARON              PA   16146‐3805
STEINER, DAVID R                       8464 RATHBUN RD                                                                              BIRCH RUN           MI   48415‐8420
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STEINER, DAVID W       700 ARROUES DR                                                                                    FULLERTON           CA 92835‐1925
STEINER, DEL           12297 BROSIUS RD                                                                                  GARRETTSVILLE       OH 44231‐9213
STEINER, DENNIS M      1145 DEL TORO DR                                                                                  LADY LAKE           FL 32159‐5709
STEINER, DONALD E      900 OLIVE ST                                                                                      OXFORD              MI 48371‐5069
STEINER, DONALD E      7664 E PORTOBELLO AVE                                                                             MESA                AZ 85212‐1738
STEINER, DONALD K      2017 SHAWNEE DR                                                                                   DEFIANCE            OH 43512‐3330
STEINER, DOROTHY I     2890 EASTWOOD DR                                                                                  KIMBALL             MI 48074
STEINER, DUANE C       4509 SWIGART RD                                                                                   BELLVILLE           OH 44813‐9147
STEINER, DWIGHT L      6757 DENNISON RD                                                                                  DUNDEE              MI 48131‐9648
STEINER, EARL M        1443 RIDGEVIEW CIR                                                                                LAKE ORION          MI 48362‐3462
STEINER, EDWARD R      6751 MATT PLEDGER CT                                                                              NORTH FORT MYERS    FL 33917‐8231
STEINER, ELIZABETH Z   1055 W JOPPA RD UNIT 243                                                                          TOWSON              MD 21204‐3745
STEINER, ELMER R       6319 AFTON DR                                                                                     DAYTON              OH 45415‐1833
STEINER, ERIC L        1480 FAIRVIEW HWY                                                                                 CHARLOTTE           MI 48813‐9794
STEINER, ERNEST F      9451 EDGEWOOD AVE                                                                                 TRAVERSE CITY       MI 49684‐8169
STEINER, EUGENE W      1455 CATAWISSA CREEK RD                                                                           ZION GROVE          PA 17985‐9690
STEINER, EVELYN M      321 SAINT LOUIS AVE                                                                               DAYTON              OH 45405‐2745
STEINER, FAYETTA       8098 POTTER RD                                                                                    FLUSHING            MI 48433‐9444
STEINER, FLOYD E       1943 W GORDONVILLE RD                                                                             MIDLAND             MI 48640‐9198
STEINER, GARY R        40753 IRVAL DR                                                                                    STERLING HTS        MI 48313‐4029
STEINER, GARY R        1120 GREENWAY TER APT 3                                                                           BROOKFIELD          WI 53005
STEINER, GARY ROBERT   40753 IRVAL DR                                                                                    STERLING HTS        MI 48313‐4029
STEINER, GERALD E      1838 W VALLEY RD                                                                                  ADRIAN              MI 49221‐8500
STEINER, GLADYS        1260 FRANCISCIAN DR APT 20                                                                        LEMONT               IL 60439‐3787
STEINER, GREG S        PO BOX 155025                                                                                     FORT WORTH          TX 76155‐0025
STEINER, GREG SHANE    PO BOX 155025                                                                                     FORT WORTH          TX 76155‐0025
STEINER, JACK A        1883 LANCASTER DR                                                                                 YOUNGSTOWN          OH 44511‐1068
STEINER, JANE D        312 WESTVIEW AVE                                                                                  HUBBARD             OH 44425‐1965
STEINER, JANE D        312 WEST VIEW                                                                                     HUBBARD             OH 44425‐1965
STEINER, JEAN          1301 N TAMIAMI TRL APT 910                                                                        SARASOTA            FL 34236‐2448
STEINER, JEFFREY L     5803 EVERETT HULL RD                                                                              FOWLER              OH 44418‐9603
STEINER, JILL D        1809 VALLEY VIEW DR S                                                                             KOKOMO              IN 46902‐5074
STEINER, JOHN          BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD          OH 44067
                                                        PROFESSIONAL BLDG
STEINER, JOYCE A       4148 BENNETT LAKE ROAD                                                                            FENTON             MI 48430‐8709
STEINER, KAREN         BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                     NORTHFIELD         OH 44067
                                                        PROFESSIONAL BLDG
STEINER, KAREN M       PO BOX 155025                                                                                     FORT WORTH         TX   76155‐0025
STEINER, LAWRENCE      2002 CARLTON RD                                                                                   KENT               OH   44240‐4215
STEINER, LAWRENCE M    625 WELLMAN AVE                                                                                   GIRARD             OH   44420‐2337
STEINER, LEONA A       3034 VERNON AVE                                                                                   BROOKFIELD         IL   60513‐1004
STEINER, LEONA A       3034 VERNON                                                                                       BROOKFIELD         IL   60513‐1004
STEINER, LORINE        615 HATHAWAY TRAIL                                                                                TIPP CITY          OH   45371‐5371
STEINER, LUCIE         1080 WIEN ALBERT GASSE 3A 6                                                VIENNA AUSTRIA
                                                                                                  000002000
STEINER, MARIANNE      89 CARRIAGE CREEK WAY                                                                             ORMOND BEACH       FL   32174‐6784
STEINER, MARION M      9837 NARROW BRANCH RD                                                                             BERLIN             MD   21811‐2200
STEINER, MARK J        10350 BALD HILL ST                                                                                THREE RIVERS       MI   49093‐9401
STEINER, MONNA S       120 RITTMAN AVE                                                                                   RITTMAN            OH   44270‐1276
STEINER, MONNA S       120 RITTMAN RD                                                                                    RITTMAN            OH   44270‐1276
STEINER, PETER T       1625 NEWCASTLE CT                                                                                 ROCHESTER HILLS    MI   48306‐3679
STEINER, PHYLLIS J     3916 DUNBAR ST                                                                                    AUSTINTOWN         OH   44515‐4639
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Name                          Address1                         Address2                       Address3   Address4         City              State Zip
STEINER, RICHARD H            1005 DERRYBERRY FARM RD                                                                     COLUMBIA           TN 38401‐0905
STEINER, RICHARD H            221 MAIN ST                                                                                 DUNBAR             PA 15431‐2230
STEINER, RICHARD W            6498 DALE DR                                                                                BROOK PARK         OH 44142‐3452
STEINER, RICHARD W            3841 W 146TH ST                                                                             CLEVELAND          OH 44111‐4319
STEINER, ROBERT B             PO BOX 18                                                                                   ARCADIA            IN 46030‐0018
STEINER, ROBERT E             955 EMERALD DR                                                                              CHARLOTTE          MI 48813‐9026
STEINER, ROBERT H             16611 GRILLO DR                                                                             CLINTON TWP        MI 48038‐4012
STEINER, ROBERT J             4471 CROSBY RD                                                                              FLINT              MI 48506‐1417
STEINER, ROBERT R             5345 SE 64TH TERRACE B30‐L9                                                                 OKEECHOBEE         FL 34974
STEINER, ROBERT W             30365 GLENWOOD CIR                                                                          WARREN             MI 48088‐3336
STEINER, RONALD W             3841 W 146TH ST                                                                             CLEVELAND          OH 44111‐4319
STEINER, RUTH M               14019 SAINT JAMES AVE                                                                       CLEVELAND          OH 44135‐1463
STEINER, SEGAL,MULLER, P.C.   2401 PENNSYLVANIA AVE STE 1C44                                                              PHILADELPHIA       PA 19130‐7722
STEINER, STARLING D           1301 N TAMIAMI TRL APT 910                                                                  SARASOTA           FL 34236‐2448
STEINER, STEVEN T             PO BOX 153                                                                                  ARMADA             MI 48005‐0153
STEINER, TERRANCE C           414 ELM ST                                                                                  WEST MIFFLIN       PA 15122‐1535
STEINER, TONI M               1801 INDUSTRIAL ST APT 4                                                                    HUDSON             WI 54016‐9150
STEINER, TONI MARIE           1801 INDUSTRIAL ST APT 4                                                                    HUDSON             WI 54016‐9150
STEINER, VIRGINIA M           119 E 12TH ST APT 7                                                                         PORT CLINTON       OH 43452‐2400
STEINER, WILLIAM              BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD         OH 44067
                                                               PROFESSIONAL BLDG
STEINER, WILLIAM              4045 CORNWALL C                                                                             BOCA RATON        FL   33434‐2951
STEINER, WILLIAM K            1809 VALLEY VIEW DR S                                                                       KOKOMO            IN   46902‐5074
STEINER, WILLIAM L            5446 E 5TH ST                                                                               AU GRES           MI   48703‐9577
STEINER, WILLIAM M            700 ARROUES DR                                                                              FULLERTON         CA   92835‐1925
STEINER, ZACHARY D            6478 CARRIAGE LANE AVE NE                                                                   CANTON            OH   44721‐2544
STEINER,ELMER R               6319 AFTON DR                                                                               DAYTON            OH   45415‐1833
STEINERT SHARON               STEINERT, SHARON                 742 PINE STREET                                            PORT HURON        MI   48060
STEINERT SHARON               742 PINE STREET                                                                             PORT HURON        MI   48060‐5340
STEINERT, CLINTON             2775 PINECROFT DR                                                                           LAKE              MI   48632‐8922
STEINERT, DIETER H            496 PASEO DEL DESCANSO                                                                      SANTA BARBARA     CA   93105‐2928
STEINERT, FRANK R             6040 METEOR AVE                                                                             TOLEDO            OH   43623‐1154
STEINERT, FRANK ROBERT        6040 METEOR AVE                                                                             TOLEDO            OH   43623‐1154
STEINERT, GARY A              8880 HIX RD                                                                                 LIVONIA           MI   48150‐3476
STEINERT, JACQUELINE J        228 N GLEANER RD                                                                            SAGINAW           MI   48609‐9411
STEINERT, JAMES M             930 GODDARD RD APT 96                                                                       LINCOLN PARK      MI   48146‐4427
STEINERT, SHARON              742 PINE ST                                                                                 PORT HURON        MI   48060‐5340
STEINES, CHARLES R            18 TERRI DR                                                                                 WEST MIDDLESEX    PA   16159‐2242
STEINES, DAVID J              934 COBBLESTONE CT                                                                          ROCHESTER HILLS   MI   48309‐1627
STEINES, DONNA M              5560 HIGHWAY 230                                                                            LYLES             TN   37098‐2242
STEINES, EDWARD J             5915 VIRGINIA RD                                                                            SHARON            PA   16148‐9142
STEINES, THOMAS G             762 YANKEE RUN RD                                                                           MASURY            OH   44438‐9760
STEINETZ, GRACE E             110 52ND AVENUE PLZ E                                                                       BRADENTON         FL   34203‐4722
STEINETZ, GRACE E             110 52ND AVE PLAZA EAST                                                                     BRADENTON         FL   34203‐4722
STEINETZ, HELEN M             27060 OAKWOOD CIRCLE #101‐M                                                                 OLMSTED TWP       OH   44138‐3118
STEINETZ, SHERYL A            345 MORRIS AVE                                                                              TRENTON           NJ   08611‐1131
STEINFADT, ERIC G             8214 FERNHILL AVE                                                                           PARMA             OH   44129‐2127
STEINFADT, ERIC GLENN         8214 FERNHILL AVE                                                                           PARMA             OH   44129‐2127
STEINFADT, SHARON L           8109 KENTON AVE                                                                             PARMA             OH   44129‐4323
STEINFELDT, BEATRICE          4503 IMPERIAL PALM CT                                                                       LARGO             FL   33771‐1619
STEINFELDT, KIMBERLY A        2225 HUNTINGTON DR                                                                          LAKE ORION        MI   48360‐2269
STEINGASS, JEANANNE           1789 WILDWOOD DR                                                                            DEFIANCE          OH   43512‐2542
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Name                             Address1                            Address2                        Address3                 Address4          City               State Zip
STEINGASS, LLOYD F               1789 WILDWOOD DR                                                                                               DEFIANCE            OH 43512‐2542
STEINGASS, ROLLAND D             605 DOMERSVILLE RD                                                                                             DEFIANCE            OH 43512‐9007
STEINGASS, WILLIAM E             04697 DOMERVILLE RT. 3                                                                                         DEFIANCE            OH 43512
STEINGEL, VERA                   7526 KNIFFEN RD                                                                                                PAINESVILLE         OH 44077‐8857
STEINGERG SHAPIRO & CLARK LLC    ATTORNEY FOR TOLEDO MINING & DIE,   ATTN: MARK H. SHAPRIO           24901 NORTHWESTERN HWY   SUITE 611         SOUTHFIELD          MI 48075
                                 INC.
STEINGRAEBER, CARL H             5364 WYNDEMERE COMMON SQ                                                                                       SWARTZ CREEK       MI   48473‐8911
STEINGRAEBER, JAMES K            N6446 EMERY ANSORGE RD APT 357                                                                                 CECIL              WI   54111‐9288
STEINGRAEBER, MARYJANE           5364 WYNDEMERE COMMON SQ                                                                                       SWARTZ CREEK       MI   48473‐8911
STEINHAGEN, JAMES E              1633 HAMLET DR                                                                                                 TROY               MI   48084‐5704
STEINHALL, BOBBIE L              5005 W FRANCES AVE                                                                                             MUNCIE             IN   47302‐8942
STEINHALL, NORMA J               8022 N MECHANICSBURG RD                                                                                        MIDDLETOWN         IN   47356‐9721
STEINHALL, THELMA L              PO BOX 437                                                                                                     EATON              IN   47338‐0437
STEINHARDT, TERRELL K            1344 MAYNARD DR                                                                                                INDIANAPOLIS       IN   46227‐5014
STEINHART LANCE J M PC           1720 WINDWARD CONCOURSE STE 250                                                                                ALPHARETTA         GA   30005‐2293
STEINHAUER EUGENE D (461856)     WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                                            NEW YORK           NY   10038
STEINHAUER, DEBORAH
STEINHAUER, EUGENE D             WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                                            NEW YORK           NY 10038
STEINHAUER, JAMES R              508 JAMES ST                                                                                                   BAY CITY           MI 48706‐3932
STEINHAUER, TERRY
STEINHAUER, TRAVIS L             3529 FISHER RD                                                                                                 INDIANAPOLIS       IN   46239‐1304
STEINHAUS, BRUCE S               2575 BERTHA AVE                                                                                                FLINT              MI   48504‐2305
STEINHAUS, JEFFREY W             1890 HOLLOWBROOK DR                                                                                            HOLT               MI   48842‐8639
STEINHAUSER DONALD (ESTATE OF)   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                              NORTHFIELD         OH   44067
(489255)                                                             PROFESSIONAL BLDG
STEINHAUSER JR, PAUL M           1364 HILLSDALE DR                                                                                              DAVISON            MI   48423‐2324
STEINHAUSER, ALFRED G            1317 N V ST SPC 199                                                                                            LOMPOC             CA   93436‐3146
STEINHAUSER, ALFRED T            5449 E VIENNA RD                                                                                               CLIO               MI   48420‐9129
STEINHAUSER, ARDEN G             2426 SOLARWOOD DR                                                                                              DAVISON            MI   48423‐8758
STEINHAUSER, DONALD N            6071 STEINHAUSER TRL                                                                                           HALE               MI   48739‐9024
STEINHAUSER, HANS F              819 E MAIN ST                                                                                                  LURAY              VA   22835‐1617
STEINHAUSER, HELEN M.            3319 W STONEWAY DR                  C/O MICHAEL G STEINHAUSER                                                  SANDUSKY           OH   44870‐7404
STEINHAUSER, HELEN M.            C/O MICHAEL G STEINHAUSER           3319 STONEWAY DR W                                                         SANDUSKY           OH   44870
STEINHAUSER, IVOR V              128 49TH AVE                                                                                                   BELLWOOD           IL   60104‐1018
STEINHAUSER, JILL D              4200 ABBOTT AVE N                                                                                              ROBBINSDALE        MN   55422‐1453
STEINHAUSER, JOHN L              1604 CROYDON LN                                                                                                MIDDLETOWN         OH   45042‐2921
STEINHAUSER, LUISE J             1317 N V ST SPC 128                                                                                            LOMPOC             CA   93436‐3141
STEINHAUSER, ROSE R              136 W MAIN ST                                                                                                  CORTLAND           OH   44410‐1432
STEINHAUSER, ROSE R              136 WEST MAIN STREET                                                                                           CORTLAND           OH   44410‐1432
STEINHAUSSER, JOHN A             34841 MOUND RD BOX 334                                                                                         STERLING HEIGHTS   MI   48310
STEINHEBEL,SAM E                 230 MORAN RD                                                                                                   GROSSE POINTE      MI   48236‐3536
STEINHEIMER, ARTHUR V            716 BUBBLING SPRINGS CT                                                                                        WENTZVILLE         MO   63385‐3439
STEINHEIMER, ERWIN R             914 S HAMILTON ST                                                                                              MARISSA            IL   62257‐1938
STEINHEISER, MARILYN A           12148 QUAKER DRIVE                                                                                             STERLING HTS       MI   48313‐1623
STEINHEISER, THOMAS C            36753 IROQUOIS DR                                                                                              STERLING HEIGHTS   MI   48310‐4555
STEINHELPER, CHARLES W           8851 CEDAR LN                                                                                                  CLARKSTON          MI   48348‐4211
STEINHELPER, JERRY L             484 TILMOR DR                                                                                                  WATERFORD          MI   48328‐2568
STEINHELPER, LYNN D              9598 WOODY CT                                                                                                  WHITE LAKE         MI   48386‐2372
STEINHELPER, RICHARD A           91 CHURCH ST APT 9                                                                                             CLARKSTON          MI   48346‐2185
STEINHELPER, RICHARD A           91 E CHURCH STREET #9                                                                                          CLARKSTON          MI   48346‐2185
STEINHER, LINDA S                157 TRAIL EDGE CIR                                                                                             POWELL             OH   43065‐7912
STEINHILBER, JANE C              445 N PARK BLVD APT 5I                                                                                         GLEN ELLYN         IL   60137‐4669
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Name                       Address1                       Address2                         Address3   Address4         City                State Zip
STEINHILBER, MARY          5433 W STATE ROAD 46           HERITAGE AT LAKE FOREST          #208                        SANFORD              FL 32771‐9236
STEINHILBER, MARY          HERITAGE AT LAKE FOREST        5433 W. STATE RD. 46                                         SANFORD              FL 32771‐9236
STEINHILPER JR, ROBERT J   6921 TERRELL ST                                                                             WATERFORD            MI 48329‐1149
STEINHILPER, ERIC A        37834 MALLAST ST                                                                            HARRISON TWP         MI 48045‐2715
STEINHILPER, MARY F        1807 FLEETWOOD DR                                                                           TROY                 MI 48098‐2555
STEINHOFF, DAVID C         8309 VASSAR ROAD                                                                            GRAND BLANC          MI 48439‐9537
STEINHOFF, DAVID C         8309 VASSAR RD                                                                              GRAND BLANC          MI 48439‐9537
STEINHOFF, FREDERICK G     2701 S JEFFERSON ST                                                                         BAY CITY             MI 48708‐8798
STEINHOFF, GERALD          PO BOX 895458                                                                               LEESBURG             FL 34789‐5458
STEINHOFF, GERALD R        8727 SAKADEN PKWY                                                                           FORT WAYNE           IN 46825‐2938
STEINHOFF, JODI L          14627 FIRETHORNE PATH                                                                       FORT WAYNE           IN 46814‐8914
STEINHOFF, JODI LYNN       14627 FIRETHORNE PATH                                                                       FORT WAYNE           IN 46814‐8914
STEINHOFF, JOHN F          701 W HART ST                                                                               BAY CITY             MI 48706‐3628
STEINHOFF, LEVI S          150 TAMARACK CIR                                                                            GRAYLING             MI 49738‐8918
STEINHOFF, LOIS M          5281 KIMBERLY DR                                                                            GRAND BLANC          MI 48439‐5161
STEINHOFF, RICHARD F       PO BOX 233                                                                                  VASSAR               MI 48768‐0233
STEINHOFF, SUSAN A         8309 VASSAR RD                                                                              GRAND BLANC          MI 48439‐9537
STEINHORST, DAVID G        11313 E COUNTY ROAD MM                                                                      AVALON               WI 53505‐9742
STEINHORST, EVAN R         S4316 HACKBARTH RD             ROUTE 2                                                      REEDSBURG            WI 53959‐9530
STEININGER KAREN           710 WINSTON DR                                                                              ELK GROVE VILLAGE     IL 60007‐3342
STEININGER, DONALD R       8257 BROOKFIELD DR                                                                          FINDLAY              OH 45840‐8895
STEININGER, MICHAEL        4123 CORDELL CV                                                                             FORT WAYNE           IN 46845‐8863
STEININGER, STUART W       623 LIBERTY POINTE DR                                                                       ANN ARBOR            MI 48103‐2097
STEINKAMP, GARY A          2913 MERE DR                                                                                COLUMBIA             TN 38401‐5145
STEINKE, ANDREW M          905 NORTHWOOD BLVD                                                                          FORT WAYNE           IN 46805‐3438
STEINKE, BRETT F           4522 W ROTAMER RD                                                                           JANESVILLE           WI 53546‐1032
STEINKE, BRUCE R           1812 MYRA AVE                                                                               JANESVILLE           WI 53548‐0156
STEINKE, CHARLES N         7777 PETERS PIKE                                                                            DAYTON               OH 45414‐1713
STEINKE, DANIEL T          W8519 WHITE CROW RD                                                                         FORT ATKINSON        WI 53538‐9138
STEINKE, DENNIS E          9226 STATE ROUTE 19                                                                         GALION               OH 44833‐9672
STEINKE, DENNIS EUGENE     9226 STATE ROUTE 19                                                                         GALION               OH 44833‐9672
STEINKE, EDNA P            APT 107                        4312 NORTH HOLLAND SYLVANIA RD                               TOLEDO               OH 43623‐4701

STEINKE, EDNA P            4312 N. HOLLAND SYLVANIA       APT 107                                                      TOLEDO              OH   43623
STEINKE, ERVIN H           2120 E DELAVAN DR                                                                           JANESVILLE          WI   53546‐2709
STEINKE, GARY W            118 UNIVERSITY DR                                                                           PONTIAC             MI   48342‐2360
STEINKE, GORDON M          2220 BAYER AVE                                                                              FORT WAYNE          IN   46805‐3419
STEINKE, HAROLD W          1720 E MEMORIAL DR APT 121                                                                  JANESVILLE          WI   53545‐1981
STEINKE, HAROLD W          12101 LAKEFIELD RD                                                                          SAINT CHARLES       MI   48655‐9516
STEINKE, HERBERT G         2229 107TH AVE                                                                              OTSEGO              MI   49078
STEINKE, HERMAN O          8110 E CYPRESS ST                                                                           SCOTTSDALE          AZ   85257‐2815
STEINKE, IRENE             3717 EAST AVENUE                                                                            BERWIN              IL   60402
STEINKE, JANICE M          61962 YORKTOWN DR UNIT 4                                                                    SOUTH LYON          MI   48178‐1717
STEINKE, JOHN P            19 GOLFVIEW TRL                                                                             WILDWOOD            FL   34785‐9390
STEINKE, KAREN G           19 GOLFVIEW TRL                                                                             WILDWOOD            FL   34785‐9390
STEINKE, KATHY J           728 W BURBANK AVE                                                                           JANESVILLE          WI   53546‐3163
STEINKE, LANA J            933 PRINCETON RD                                                                            JANESVILLE          WI   53546‐1711
STEINKE, LEIGH N           1317 CARVELLO DR                                                                            THE VILLAGES        FL   32162‐0134
STEINKE, LINDA L           3470 E ARMOUR AVE                                                                           CUDAHY              WI   53110‐1003
STEINKE, MARK A            1469 S OAKHILL AVE                                                                          JANESVILLE          WI   53546‐5574
STEINKE, MELVIN L          4505 E MCBRIDE DR                                                                           MILTON              WI   53563‐9407
STEINKE, MICHAEL T
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Name                                   Address1                         Address2               Address3      Address4         City               State Zip
STEINKE, MICHAEL T                     705 HILLCREST CIRCLE                                                                   AUBURN HILLS        MI 48326
STEINKE, PETER J                       PO BOX 110                                                                             UNION LAKE          MI 48387‐0110
STEINKE, PHYLLIS                       4880 CEDAR OAK WAY                                                                     SARASOTA            FL 34233‐3294
STEINKE, PHYLLIS K                     4880 CEDAR OAK WAY                                                                     SARASOTA            FL 34233‐3294
STEINKE, ROBERT L                      312 CLUBHOUSE DR                                                                       FAIRHOPE            AL 36532‐3302
STEINKE, ROBERT P                      933 PRINCETON RD                                                                       JANESVILLE          WI 53546‐1711
STEINKE, RONALD V                      5226 WOODCREEK TRL                                                                     CLARKSTON           MI 48346‐3970
STEINKE, RUSSELL E                     934 S BALL ST                                                                          OWOSSO              MI 48867‐4405
STEINKE, STEVEN R                      728 W BURBANK AVE                                                                      JANESVILLE          WI 53546‐3163
STEINKE, TAMMY S                       N7804 KETTLE MORAINE DR                                                                WHITEWATER          WI 53190‐4222
STEINKE, THOMAS G                      6834 W THORNAPPLE DR                                                                   JANESVILLE          WI 53548‐9327
STEINKE, THOMAS G                      1805 HARLAN RD                                                                         TOLEDO              OH 43615‐3819
STEINKE, WARREN D                      PO BOX 2095                                                                            ARIZONA CITY        AZ 85223‐1199
STEINKE, WILLIAM T                     6701 W FENRICK RD                                                                      EVANSVILLE          WI 53536‐9527
STEINL, GREGORY L                      3531 SOUTH YORKTOWN AVENUE                                                             TULSA               OK 74105‐2712
STEINL, LEO G                          765 UPPER SCOTSBOROUGH WAY                                                             BLOOMFIELD HILLS    MI 48304‐3827
STEINLAUF, ROBERT                      2801 NE 14TH ST APT 4A                                                                 FT LAUDERDALE       FL 33304‐1655
STEINLE CHEVROLET BUICK LLC            1014 E MCPHERSON HWY                                                                   CLYDE               OH 43410‐9800
STEINLE CHEVROLET BUICK LLC            GARRETT STEINLE                  1014 E MCPHERSON HWY                                  CLYDE               OH 43410‐9800
STEINLE OLDSMOBILE‐PONTIAC‐CADILLAC    2149 W STATE ST                                                                        FREMONT             OH 43420‐1555

STEINLE OLDSMOBILE‐PONTIAC‐CADILLAC‐   GARRETT STEINLE                  2149 W STATE ST                                       FREMONT            OH 43420‐1555
GMC TRUCK, INC.
STEINLE OLDSMOBILE‐PONTIAC‐CADILLAC‐   2149 W STATE ST                                                                        FREMONT            OH 43420‐1555
GMC TRUCK, INC.
STEINLE, BONNIE J                      1206 W BASSWOOD DR                                                                     ANDOVER            KS   67002‐7543
STEINLECHNER, FRIEDRICH J              3873 BAUMBERGER RD                                                                     STOW               OH   44224‐3246
STEINLECHNER, GERHARD                  1630 TALLMADGE RD                                                                      KENT               OH   44240‐6814
STEINLEY, ALLAN A                      8042 STANLEY RD                                                                        FLUSHING           MI   48433‐1110
STEINLEY, BEVERLY J                    1614 CRESCENTLANE DR                                                                   FLINT              MI   48532‐4371
STEINLEY, BEVERLY J                    1614 CRESCENT LANE                                                                     FLINT              MI   48532
STEINLEY, EDSEL L                      2692 LUCINDA DR                                                                        PRESCOTT           MI   48756‐9339
STEINLEY, LYNN M                       4335 CARDINAL DR                                                                       GRAND BLANC        MI   48439‐7920
STEINLEY, ORVAL E                      3728 AGUALINDA BLVD APT 102                                                            CAPE CORAL         FL   33914‐5522
STEINLICHT, JUDY M                     5316 NW MELBA DRIVE CT                                                                 TOPEKA             KS   66618‐3269
STEINLY, OSCAR L                       PO BOX 99                                                                              GARRETT            PA   15542‐0099
STEINMACHER, W A                       72 MONMOUTH AVE                                                                        EDISON             NJ   08820‐3841
STEINMAN, ARTHUR L                     15 SOUTHWIND DR                                                                        ENGLEWOOD          FL   34223
STEINMAN, DAVID J                      218 E OAKRIDGE ST                                                                      FERNDALE           MI   48220‐1398
STEINMAN, JANET                        15 SOUTHWIND DR                                                                        ENGLEWOOD          FL   34223‐3131
STEINMAN, JANET E                      15 SOUTHWIND DR                                                                        ENGLEWOOD          FL   34223‐3131
STEINMAN, JOANN                        115 DORWOOD PARK                                                                       RANSOMVILLE        NY   14131‐9616
STEINMAN, JOANN M                      115 DORWOOD PARK                                                                       RANSOMVILLE        NY   14131
STEINMAN, JOSEPH J                     2222 N SUMAC DR                                                                        JANESVILLE         WI   53545‐0566
STEINMAN, KEITH E                      4232 ARLINGTON DR                                                                      BRUNSWICK          OH   44212‐3965
STEINMAN, MARCELLA A                   5953 ACOMA DR                                                                          TOLEDO             OH   43623‐1319
STEINMAN, MARCELLA A                   5953 ACAOMA DR                                                                         TOLEDO             OH   43623‐1319
STEINMAN, RICHARD A                    1400 E UNIVERSITY DR APT 1208                                                          DENTON             TX   76209‐2229
STEINMANN, DENNIS L                    750 OBRIEN RD                                                                          MAYVILLE           MI   48744‐9434
STEINMANN, SANDRA A                    302 S WEST ST                                                                          VASSAR             MI   48768‐1624
STEINMAYER, RONALD F                   1930 HUNTERS RIDGE DR                                                                  BLOOMFIELD         MI   48304‐1036
STEINMEIR, SARAH
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Name                               Address1                           Address2                      Address3   Address4                City                 State Zip
STEINMETZ TRANSFER CO INC          1459 COX AVE                                                                                        ERLANGER              KY 41018‐1001
STEINMETZ, CLETUS E                7265 KUHN RD                                                                                        SHELBY                OH 44875‐9215
STEINMETZ, CRAIG E                 6417 72ND AVE N                                                                                     BROOKLYN PARK         MN 55428‐1411
STEINMETZ, GARY L                  1018 W SUNNY LN                                                                                     JANESVILLE            WI 53545‐8937
STEINMETZ, GARY L                  1845 S CROSBY AVE                                                                                   JANESVILLE            WI 53546‐5615
STEINMETZ, GARY T                  1069 VALLEY STREAM DR                                                                               ROCHESTER HILLS       MI 48309‐1730
STEINMETZ, GERALD C                3863 FIELD LN                                                                                       CINCINNATI            OH 45255‐4918
STEINMETZ, HOWARD C                8 AMELIA DR                                                                                         EAST SAINT LOUIS       IL 62206‐2902
STEINMETZ, JEAN‐MICHEL             4444 COMANCHE DR                                                                                    OKEMOS                MI 48864‐2443
STEINMETZ, MARY L                  26951 DRAKEFIELD AVENUE                                                                             EUCLID                OH 44132‐2010
STEINMETZ, THOMAS J                1945 NORWOOD ST NW                                                                                  WARREN                OH 44485‐1739
STEINMETZ, TODD M                  3121 6TH AVE S                                                                                      ESCANABA              MI 49829‐1285
STEINMETZ, WALTER W                5511 N COUNTY ROAD Y                                                                                MILTON                WI 53563‐8835
STEINMEYER, GLENN C                6438 MANDALAY DR                                                                                    PARMA HEIGHTS         OH 44130‐2922
STEINMEYER, ILENE M                N3772 COUNTY ROAD D                                                                                 MENOMONIE             WI 54751‐6108
STEINMEYER, ROBERT M               27007 KARNS CT UNIT 2401                                                                            CANYON CNTRY          CA 91387‐4934
STEINRUCK JR, J. N                 134 BRANDYWINE DR                                                                                   MARLTON               NJ 08053‐1147
STEINWAND, GREGORY L               1394 SE LAUREL CT                                                                                   ROSEBURG              OR 97470
STEINWART, ROLAND                  7762 GEORGETOWN CHASE                                                                               ROSWELL               GA 30075‐3580
STEINWAY OF MANHATTAN AUTOMOTIVE   180 FRONT ST                                                                                        HEMPSTEAD             NY 11550

STEINWAY, LAURA                    136 CHALMERS DR                                                                                     BILOXI               MS   39530
STEINWAY, RICK L                   9674 CENTERVILLE CREEK LN                                                                           DAYTON               OH   45458
STEINWAY, WALTER E                 4099 OLD RIVERSIDE DRIVE                                                                            DAYTON               OH   45405‐2329
STEINWAY, WILLIAM M                5707 KENSINGTON BLVD                                                                                PLAINFIELD           IN   46168‐7552
STEIR, RICHARD A                   1553 BACK MOUNTAIN RD                                                                               BEAVERTOWN           PA   17813‐9207
STEIS, DONALD F                    1238 BUCKINGHAM RD                                                                                  GROSSE POINTE PARK   MI   48230‐1138
STEISKAL, JOSEPH                   16427 W 140TH PL                                                                                    LOCKPORT             IL   60441‐5827
STEISKAL, KAREN                    7605 S 78TH CT                                                                                      BRIDGEVIEW           IL   60455‐1249
STEITZ VICKIE                      928 N SPRING ST                                                                                     BEAVER DAM           WI   53916‐1752
STEITZ, FRED E                     4478 RIVER RIDGE RD                                                                                 DAYTON               OH   45415‐1651
STEITZ, STEVE A                    1077 BROOKSIDE DR                                                                                   GRAND LEDGE          MI   48837‐1372
STEITZ, STEVE ALLAN                1077 BROOKSIDE DR                                                                                   GRAND LEDGE          MI   48837‐1372
STEJANKO, CAROL                    12370 EVERARD DR                                                                                    SPRING HILL          FL   34609‐9063
STEJSKAL, BLANCHE V.               819 ROYAL DRIVE #2                                                                                  MCHENRY              IL   60050‐4270
STEJSKAL, BLANCHE V.               819 ROYAL DR APT 2                                                                                  MCHENRY              IL   60050‐4270
STEKETEE, BRUCE W                  2452 THRUSH DR                                                                                      JENISON              MI   49428‐9112
STEKETEE, PENNY K                  113 JONES DR                                                                                        GOODLETTSVILLE       TN   37072‐3618
STEKETEE, ROBERT C                 1700 BUCKTHORN DR                                                                                   HASLETT              MI   48840‐8468
STEKLACH, S VIRGINIA               836 BASSWOOD AVE                                                                                    CANAL FULTON         OH   44614‐9382
STELBERT RUSSELL                   38500 JUDD RD                                                                                       BELLEVILLE           MI   48111‐9614
STELCK LIONEL LESTER (429874)      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK              VA   23510
                                                                      STREET, SUITE 600
STELCK, LIONEL LESTER              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK              VA 23510‐2212
                                                                      STREET, SUITE 600
STELCO FAST/BURLNGTN               1250 APPLYBY LANE                                                           BURLINGTON ON L8N 3T1
                                                                                                               CANADA
STELCO INC                         100 KING ST                                                                 HAMILTON CANADA ON
                                                                                                               L8N 3T1 CANADA
STELCO INC
STELCO INC/HAMILTON                P.O. BOX 2030                                                               HAMILTON ON L8N 3T1
                                                                                                               CANADA
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Name                   Address1                            Address2                    Address3   Address4             City               State Zip
STELCO INC/WINDSOR     1550 OUELLETTE AVENUE               SUITE 104                              WINDSOR ON N8X 1K7
                                                                                                  CANADA
STELICK, ROBERT M      7629 WILLITS RD                                                                                 FOSTORIA           MI    48435‐9716
STELIGA, ALICE V       3023 SO 84TH STREET                                                                             WEST ALLIS         WI    53227
STELIGA, JOSEPH S      11405 W RAWSON AVE                                                                              FRANKLIN           WI    53132‐1718
STELIGA, PATRICIA R    557 WESTFIELD WAY APT A                                                                         PEWAUKEE           WI    53072‐6507
STELIOS BOURNIAS       196 OAK KNOLL AVE SE                                                                            WARREN             OH    44483‐6035
STELIOS STEFOS         25879 DUMAS CT                                                                                  FARMINGTON HILLS   MI    48335‐1447
STELL RICHARD          C/O TONYA KELLY                     114 E WALNUT ST                                             POTOMAC            VA    22301
STELL, ANTHONY R       8328 NW 25TH ST                                                                                 BETHANY            OK    73008‐4809
STELL, CHARLES B       3374 SOL VIS                                                                                    FALLBROOK          CA    92028‐2600
STELL, CHRISTINE       436 E MAIN ST                                                                                   LAGRANGE           OH    44050‐9701
STELL, MELVIN E        151 BALTIMORE AVE                                                                               WASHINGTON         PA    15301‐5742
STELLA ADAMS           515 E NOBLE ST                                                                                  LEBANON            IN    46052‐2839
STELLA ADAMS           1764 COURTLAND AVE                                                                              NORWOOD            OH    45212‐2844
STELLA ADSIT           741 1ST AVE                                                                                     PONTIAC            MI    48340‐2814
STELLA AKER            124 OLD NIAGARA RD APT 4                                                                        LOCKPORT           NY    14094‐1523
STELLA ALEXANDER       263 N HIGH ST                                                                                   JACKSON            OH    45640‐1176
STELLA ALLEN           2912 S YONKERS ST                                                                               BLOOMINGTON        IN    47403‐3872
STELLA ALLENE WEAVER   8848 KINGS ROAD                                                                                 LAKEVIEW           OH    43331‐9295
STELLA ANDRUSATIS      443 MURRAY ST                                                                                   RAHWAY             NJ    07065‐2209
STELLA ARDANOWSKI      5376 SILVER BEACH RD                                                                            ONAWAY             MI    49765‐9789
STELLA ARMSTRONG       3008 OKLAHOMA AVE                                                                               FLINT              MI    48506‐2933
STELLA AUGULIS         1210 UNIVERSITY CITY BLVD APT 111                                                               BLACKSBURG         VA    24060‐3032
STELLA B BUTLER        2010 PAUL ST                                                                                    FARRELL            PA    16121
STELLA BABEL           29037 MAPLEWOOD ST                                                                              GARDEN CITY        MI    48135‐2186
STELLA BAILEY          4128 SHANNON ST NW                  C/O ELIZABETH DROSKI                                        WALKER             MI    49534‐2170
STELLA BAJOR           9928 FARMINGTON RD                                                                              LIVONIA            MI    48150‐2746
STELLA BAKER           4321 SARAH DR                                                                                   ENGLEWOOD          OH    45322‐2550
STELLA BALDYGA         8995 COOLEY LAKE RD                                                                             WHITE LAKE         MI    48386‐4028
STELLA BANDURSKI       2310 HOFF ST                                                                                    FLINT              MI    48506‐3481
STELLA BANKA           820 HOUSEMAN AVE NE                                                                             GRAND RAPIDS       MI    49503‐1834
STELLA BARATY          2455 OAKWOOD DR                                                                                 FLINT              MI    48504‐6508
STELLA BARBARICH       15735 JONAS AVE                                                                                 ALLEN PARK         MI    48101‐1752
STELLA BATES           PO BOX 42                                                                                       LAKE PLEASANT      NY    12108‐0042
STELLA BATTLE          700 E COURT ST APT 306                                                                          FLINT              MI    48503‐6223
STELLA BAYLESS         757 ERNROE DR                                                                                   DAYTON             OH    45408‐1507
STELLA BELANGER        6340F AMERICANA DR UNIT 1016                                                                    WILLOWBROOK        IL    60527
STELLA BENBOW          4625 PENSACOLA BLVD                                                                             DAYTON             OH    45439
STELLA BENNETT         765 NATURAL BRIDGE RD                                                                           HARTSELLE          AL    35640‐7132
STELLA BENTIVENGO      200 BLAKESLEE ST                    APT 81                                                      BRISTOL            CT    06010‐6399
STELLA BERAK           223 KEYSTONE DR                                                                                 TRAVERSE CITY      MI    49686‐8800
STELLA BETTURA         525 FORSYTHE AVE                                                                                GIRARD             OH    44420‐2211
STELLA BIDDLE          801 HUNINGTON AVENUE                UNITED METHODIST MEMORIAL                                   WARREN             IN    46792
                                                           HOME
STELLA BISKUP          2553 BENJAMIN ST                                                                                SAGINAW            MI    48602‐5707
STELLA BLAIR           230 GARFIELD AVE SW                                                                             GRAND RAPIDS       MI    49504‐6122
STELLA BLUJ            648 STATE ROUTE 10                  SUNRISE OF RANDOLPH                                         RANDOLPH           NJ    07869‐2012
STELLA BOEKEL          6902 SOUTHERN VISTA DR                                                                          ENON               OH    45323‐1544
STELLA BOILORE         519 W SILVER LAKE RD                                                                            FENTON             MI    48430‐2618
STELLA BOLDEN          634 SPENCER ST                                                                                  FLINT              MI    48505‐4277
STELLA BOLZ            7491 NIGHTINGALE ST                                                                             DEARBORN HTS       MI    48127‐1720
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Name                    Address1                      Address2            Address3         Address4         City                 State Zip
STELLA BONNICI          21040 POWERS AVE                                                                    DEARBORN HEIGHTS      MI 48125‐2821
STELLA BOOKER           6081 NATCHEZ DR                                                                     MOUNT MORRIS          MI 48458‐2742
STELLA BOOKER           4429 HICKORY CT                                                                     WARREN                MI 48092‐6120
STELLA BOSWELL          6031 WEDGEWOOD DR SE                                                                MABLETON              GA 30126‐4420
STELLA BOWEN            4890 WOOD ST                                                                        WATERFORD             MI 48329‐3477
STELLA BRANDT           1471 LONG POND RD APT 242                                                           ROCHESTER             NY 14626‐4139
STELLA BRANHAM          424 DUNMORE ST                                                                      FREDERICKSBURG        VA 22401‐6113
STELLA BRITT            47432 NEW LONDON EASTERN RD                                                         NEW LONDON            OH 44851‐9614
STELLA BRONIKOWSKI      2808 PINE HOTEL DR                                                                  BRIGHTON              MI 48114‐9308
STELLA BROOKS           1939 GREEN RD APT 424                                                               CLEVELAND             OH 44121‐1154
STELLA BROOKS           4410 TRUMBULL DR                                                                    FLINT                 MI 48504‐3755
STELLA BROWN            4900 MACKINAW RD              C/O JOAN M KRUSKE                                     SAGINAW               MI 48603‐7246
STELLA BURGESS          3076 OAKMONT DR                                                                     LAPEL                 IN 46051‐9544
STELLA BUSTAMANTE       11218 GERALD AVE                                                                    GRANADA HILLS         CA 91344‐4251
STELLA BUSZKO           4760 SUNNY LANE DRIVE                                                               BROOKLYN              OH 44144
STELLA BUTLER           2010 PAUL ST                                                                        FARRELL               PA 16121‐1326
STELLA BUTLER           104 W TENNESSEE ST                                                                  COLLINWOOD            TN 38450‐4706
STELLA BYRNE            10150 TORRE AVE APT 109                                                             CUPERTINO             CA 95014‐2129
STELLA C CALLAHAN       2009 PEACHTREE AVE                                                                  OKLAHOMA CITY         OK 73121‐7241
STELLA CAIRNS           700 MEASE PLZ APT 405                                                               DUNEDIN               FL 34698‐6624
STELLA CALLAHAN         2009 PEACHTREE AVE                                                                  OKLAHOMA CITY         OK 73121‐7241
STELLA CAMPBELL         800 MACLIN ST                                                                       HUMBOLDT              TN 38343‐2442
STELLA CAMPBELL         201 W MAIN ST                                                                       MEDWAY                OH 45341‐1111
STELLA CAMPBELL         8231 DAVIS ST                                                                       MASURY                OH 44438‐1132
STELLA CARPENTER        65657 COUNTY ROAD 31                                                                GOSHEN                IN 46528‐7310
STELLA CHAMBERS         205 BELMONT AVE                                                                     WILMINGTON            DE 19804‐1406
STELLA CHESTERS         1249 WATER STONE CIRCLE                                                             WAUCONDA               IL 60084‐1419
STELLA CHRISTOPHER      15841 REMORA BLVD                                                                   BROOK PARK            OH 44142‐2215
STELLA CIESINSKI        71 DEBBY LN                                                                         ROCHESTER             NY 14606‐5340
STELLA COLE             6215 MCKENZIE DRIVE                                                                 FLINT                 MI 48507‐3835
STELLA CONNER           209 SE 70TH ST                                                                      OKLAHOMA CITY         OK 73149‐1502
STELLA COOK             3111 TAYLOR DR                                                                      PINE BLUFF            AR 71603‐4758
STELLA COX              1538 FAIRWAY DR                                                                     RANTOUL                IL 61866‐3542
STELLA CROWELL          1313 BRENNER PASS                                                                   CLIO                  MI 48420‐2149
STELLA D WAITS          2100 NORTH HOLLOWTOWN RD                                                            LYNCHBURG             OH 45142‐9696
STELLA DALLAS           1591 NE 162ND ST                                                                    CITRA                 FL 32113‐3169
STELLA DALLAS           19524 SALISBURY ST                                                                  SAINT CLAIR SHORES    MI 48080‐1617
STELLA DANGELO          35321 PONDEROSA DR                                                                  FRUITLAND PARK        FL 34731‐6205
STELLA DAPSER           4003 W 104TH ST # A                                                                 OAK LAWN               IL 60453
STELLA DAY              8 LYNNHAVEN DR                                                                      DAYTON                OH 45431‐1920
STELLA DEMANSKI         20305 LAUREL CREEK DR                                                               MACOMB                MI 48044‐3592
STELLA DICINTIO         1858 BELLE TERRE AVE I                                                              NILES                 OH 44446
STELLA DIGNAN           1424 N GENESEE RD                                                                   BURTON                MI 48509‐1441
STELLA DINGO            409 WOODARD ST                                                                      OAKLEY                MI 48649‐9778
STELLA DOMANSKI         13445 CRESTWOOD DRIVE                                                               LOWELL                MI 49331‐1109
STELLA DROZEK           1001 LINCOLN AVENUE                                                                 LOCKPORT              NY 14094‐6142
STELLA DUDEK            9262 BELL RD                                                                        BIRCH RUN             MI 48415‐9039
STELLA DULL             209 PINE KNOLL DR APT 1B                                                            BATTLE CREEK          MI 49014‐7764
STELLA E JOHNSON        1001 EAST LINDEN APT 41                                                             MIAMISBURG            OH 45342‐3473
STELLA ELDRIDGE         PO BOX 35275                                                                        DETROIT               MI 48235‐0275
STELLA ERLENE CASSIDY   823 WESTERN AIR DR                                                                  JEFFERSON CITY        MO 65109
STELLA EVANCZUK         316 MONROE ST                                                                       PORT CLINTON          OH 43452‐1836
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Name                        Address1                             Address2                   Address3   Address4         City              State Zip
STELLA EVANS                6513 EAST AVE                                                                               HODGKINS            IL 60525‐7615
STELLA EWANISH              56 WOODLAND CHASE BLVD                                                                      NILES              OH 44446‐5353
STELLA F CAMPBELL           8231 DAVIS ST.                                                                              MASURY             OH 44438‐1132
STELLA FARRELL              2117 W CAMBRIDGE DR                                                                         MUNCIE             IN 47304‐1404
STELLA FERA                 30421 BLUEHILL ST                                                                           ROSEVILLE          MI 48066‐1401
STELLA FLEETWOOD            9 ROLLING LN                                                                                LEVITTOWN          PA 19055‐1112
STELLA FLIGGER              6292 BADGER DR                                                                              LOCKPORT           NY 14094‐5919
STELLA FLYNN                172 IRIS DRIVE                                                                              BAILEY             CO 80421‐2316
STELLA FRANKLIN             1033 WOODBRIDGE ST                                                                          ST CLR SHORES      MI 48080‐1618
STELLA FRYE                 1609 N D ST                                                                                 ELWOOD             IN 46036‐1519
STELLA FUENTES              9233 CORD AVE                                                                               DOWNEY             CA 90240‐3026
STELLA G BETTURA            525 FORSYTHE AVE                                                                            GIRARD             OH 44420‐2211
STELLA GATES                1695 QUEENS GATE CIR APT 324                                                                CUYAHOGA FALLS     OH 44221‐5548
STELLA GELADINO             201 NEWELL AVE                                                                              BRISTOL            CT 06010‐5937
STELLA GILBERT              30 MAGNOLIA ST                                                                              RACELAND           LA 70394‐2142
STELLA GILLIS               8890 WOODBINE                                                                               REDFORD            MI 48239‐1228
STELLA GIROU                4158 S AIRPORT RD                    C/O EDWARD GIROU                                       BRIDGEPORT         MI 48722‐9584
STELLA GLOVER               425 W 2ND ST                                                                                ANDERSON           IN 46016
STELLA GONZALES             4401 HUGHES LN SPC 43                                                                       BAKERSFIELD        CA 93304‐6817
STELLA GONZALES             PO BOX 13255                                                                                FLINT              MI 48501‐3255
STELLA GRAVES               3755 S. HOPKINS                      UNIT 7C                                                TITUSVILLE         FL 32780
STELLA GREEN                601 MULDOON DR                                                                              LEXINGTON          KY 40509‐4525
STELLA GRZYMALA             3880 RAINIER DR                                                                             HOWELL             MI 48843‐9212
STELLA GUADIANA             2516 INGLIS ST                                                                              DETROIT            MI 48209‐1068
STELLA H ZAGULA             520 DUBIE RD                                                                                YPSILANTI          MI 48198‐6106
STELLA HAENER               35900 HURON RIVER DR                                                                        NEW BOSTON         MI 48164‐9731
STELLA HAMBLIN              6210 WHITES BRIDGE RD                                                                       BELDING            MI 48809‐9216
STELLA HANACEK              734 BARNEY AVE                                                                              FLINT              MI 48503‐4921
STELLA HARDIN               PO BOX 309                                                                                  LAKE GEORGE        MI 48633‐0309
STELLA HARMON               141 CHARIOT DR                                                                              ANDERSON           IN 46013‐1033
STELLA HARTSOE              100 DECKER DR                                                                               NEWARK             DE 19711‐3811
STELLA HAWK                 7013 S 500 E                                                                                JONESBORO          IN 46938‐9713
STELLA HERNANDEZ            2295 FABIAN DRIVE                                                                           SAGINAW            MI 48603‐3614
STELLA HERRINGTON           385 WINTER PARK LN                                                                          POWDER SPRINGS     GA 30127‐6790
STELLA HICKS                159 E POLK ST                                                                               ORLEANS            IN 47452‐1026
STELLA HOLT                 2483 EGLESTON AVE                                                                           BURTON             MI 48509‐1127
STELLA HOMRICH              6976 HOLLY HILL CT SW                                                                       BYRON CENTER       MI 49315‐8364
STELLA HUBBARD              304 DORTON BR                                                                               PINEVILLE          KY 40977‐9407
STELLA HUNTER               32985 VICTORY ROAD                                                                          PAOLA              KS 66071‐8221
STELLA HUSSAR               35 HARDISON RD                                                                              ROCHESTER          NY 14617‐3843
STELLA INTERNATIONAL CAFE   ATTN: BROOKE HUG                     3011 W GRAND BLVD # 110A                               DETROIT            MI 48202‐3093
STELLA ISOM                 510 W PULASKI AVE                                                                           FLINT              MI 48505‐3124
STELLA J BOEKEL             6902 SOUTHERN VISTA DR                                                                      ENON               OH 45323‐1544
STELLA J BUJAK              205 WESTWOOD AVE                                                                            SYRACUSE           NY 13211‐1623
STELLA J DICINTIO           121 NEWPORT I                                                                               DEERFIELD BEACH    FL 33442‐2650
STELLA J LOVING             107 BRADBURN ST                                                                             ROCHESTER          NY 14619‐1907
STELLA JACKEY               3535 DR MARTIN LUTHER KING JR BLVD                                                          ANDERSON           IN 46013‐2010
STELLA JANICKI              11696 KLINGER ST                                                                            HAMTRAMCK          MI 48212‐3160
STELLA JANUCHOWSKI          125 NORTH AVENUE                                                                            BUFFALO            NY 14224‐1327
STELLA JARSULIC             46471 HAYES RD 227                                                                          SHELBY TOWNSHIP    MI 48315
STELLA JESSMER              47 HOWARD ST                                                                                MASSENA            NY 13662‐2234
STELLA JETT                 484 PINK DILL MILL RD                                                                       GREER              SC 29651‐4752
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Name                      Address1                        Address2           Address3         Address4         City                 State Zip
STELLA JOHNSTON           2951 PARSONS AVENUE                                                                  COLUMBUS              OH 43207‐3741
STELLA KAREK              7544 N DEWITT RD R#3                                                                 SAINT JOHNS           MI 48879
STELLA KASCSAK            4750 MAPLE DR                                                                        WALNUTPORT            PA 18088‐9318
STELLA KAUFFMAN           441 KIMBERLY DR                                                                      DIMONDALE             MI 48821‐9782
STELLA KEARNEY            959 EAST MAPLEDALE AVENUE                                                            HAZEL PARK            MI 48030‐1206
STELLA KELL               6003 ROBINDALE AVE                                                                   DEARBORN HTS          MI 48127‐3152
STELLA KINDLE             36599 ORCHARD LAKE DR                                                                NEW BALTIMORE         MI 48047‐5550
STELLA KINKES             1751 KALE ADAMS RD SW                                                                WARREN                OH 44481‐9716
STELLA KLOBUCAR           PO BOX 62                                                                            CLARIDGE              PA 15623‐0062
STELLA KOKOCKI            2645 AKSHAR CT                                                                       NIAGARA FALLS         NY 14304‐4631
STELLA KOOB               2727 CROWN POINTE CIR APT 102                                                        ANDERSON              IN 46012
STELLA KOPECK             5719 BEAVER ST                                                                       DEARBORN HTS          MI 48127‐2401
STELLA KOPYTEK            43533 ELIZABETH ST                                                                   MOUNT CLEMENS         MI 48043‐1034
STELLA KORCZYNSKI         17 MORGAN ST                                                                         DEPEW                 NY 14043‐2409
STELLA KOWALSKI           2749 FALLS ST                                                                        NIAGARA FALLS         NY 14303‐2004
STELLA KOZIKOWSKI         PO BOX 296                      TOWN HILL RD                                         TERRYVILLE            CT 06786‐0296
STELLA KRAMER             11036 HERMENITT DR                                                                   DELTON                MI 49046‐7797
STELLA KRAWCZYK           8800 ELLIS RD                                                                        RAVENNA               MI 49451‐9105
STELLA KRESHOK            16961 POTTS PL                                                                       MEAD                  CO 80542‐4543
STELLA KRULICKI           30 EDGEWOOD ST                                                                       BRISTOL               CT 06010‐6236
STELLA KWIATKOWSKI        91 HENRIETTA AVE                                                                     BUFFALO               NY 14207‐1623
STELLA L MUSE             3709 WEDGEWOOD DR                                                                    LANSING               MI 48911‐2144
STELLA L TILLMAN          2943 BARTH ST                                                                        FLINT                 MI 48504‐3051
STELLA LAFERTY            PO BOX 512                                                                           HAMDEN                OH 45634‐0512
STELLA LASLEY             PO BOX 90042                                                                         BURTON                MI 48509‐0042
STELLA LENNERT            757 E HIGH ST                                                                        LOCKPORT              NY 14094‐4705
STELLA LEWIS              14615 NORTHLAWN ST                                                                   DETROIT               MI 48238‐1890
STELLA LIERENZ            1102 E STRUB RD                                                                      SANDUSKY              OH 44870‐5638
STELLA LINSON             PO BOX 332                                                                           PUXICO                MO 63960‐0332
STELLA LOGAN              28 WALDO ST                                                                          PONTIAC               MI 48341‐1224
STELLA LUBERT             27775 HOOVER RD APT 3                                                                WARREN                MI 48093‐4570
STELLA LYKE               2412 BAXTER RD APT 2                                                                 KOKOMO                IN 46902‐2709
STELLA LYONS              3611 SAINT MARYS ST                                                                  AUBURN HILLS          MI 48326‐1444
STELLA LYSIK              123 HENRY RD                                                                         SOUTHAMPTON           NY 11968‐2305
STELLA M GAYAN            829 OREGON                                                                           MCDONALD              OH 44437‐1627
STELLA M MCINTOSH         PO BOX 117                                                                           VANDALIA              MI 49095‐0117
STELLA M TONELLI          2205 TAYLOR ST                                                                       JOLIET                 IL 60435
STELLA MACHER             21400 ARCHWOOD CIR APT 113                                                           FARMINGTON HILLS      MI 48336‐4181
STELLA MACKOWSKI          1140 RAHN ST                                                                         WESTLAND              MI 48186‐4828
STELLA MAJKA              8485 MENGE                                                                           CENTER LINE           MI 48015‐1614
STELLA MALCOLM            207 MAPLE ST                                                                         LOWELL                MI 49331‐1626
STELLA MALKIEWICZ         21 UNION VALLEY RD                                                                   MONROE TWP            NJ 08831‐8051
STELLA MARKIEWICZ         28116 GLADSTONE ST                                                                   SAINT CLAIR SHORES    MI 48081
STELLA MARS               33 CARDINAL LN                                                                       NORTH TONAWANDA       NY 14120‐1375
STELLA MARSHALL           5200 N JENNINGS RD                                                                   FLINT                 MI 48504‐1116
STELLA MARTIN             995 CALEDONIA AVE                                                                    CLEVELAND HTS         OH 44112‐2323
STELLA MARTINEZ           8619 BELMAR AVE                                                                      NORTHRIDGE            CA 91324‐4108
STELLA MATIJEGA           326 E 3RD ST                                                                         PINCONNING            MI 48650‐9630
STELLA MAZIARZ            6577 FENTON ST                                                                       DEARBORN HTS          MI 48127‐2114
STELLA MC GOWEN           1452 OSBURN RD                                                                       CHICKAMAUGA           GA 30707‐2767
STELLA MC INTOSH‐ ALLEN   PO BOX 117                                                                           VANDALIA              MI 49095‐0117
STELLA MCCLURE            369 N 3RD ST                                                                         WEST BRANCH           MI 48661‐1047
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Name                        Address1                        Address2            Address3            Address4              City               State Zip
STELLA MCFAUL               8012 GRAY HAVEN RD                                                                            BALTIMORE           MD 21222‐3446
STELLA MCINERNEY            3500 DILLON ACRES DR                                                                          ZANESVILLE          OH 43701‐9656
STELLA MCKEE                62 WILSON AVE                                                                                 KEARNY              NJ 07032‐1941
STELLA MCKENZIE             2855 GULF TO BAY BLVD APT 23F                                                                 CLEARWATER          FL 33759‐4022
STELLA MELANCON             926 GATEWOOD CT NE                                                                            PALM BAY            FL 32905‐4420
STELLA MILAZZO              19976 S GREAT OAKS CIR                                                                        CLINTON TOWNSHIP    MI 48036‐4401
STELLA MISLIK               4208 WOODLAND CT                                                                              FLUSHING            MI 48433‐2356
STELLA MOGG                 2745 N HURON RD                                                                               PINCONNING          MI 48650‐7920
STELLA MOLLOHAN             3 NORMANDY DRIVE                                                                              SILVER SPRING       MD 20901‐3030
STELLA MOORE                16822 MENDOTA ST                                                                              DETROIT             MI 48221‐2829
STELLA MORGAN               604 PINE ST NW                                                                                HARTSELLE           AL 35640‐2322
STELLA MUSE                 3709 WEDGEWOOD DR                                                                             LANSING             MI 48911‐2144
STELLA NAGURSKI             3819 STANDISH AVE NE                                                                          GRAND RAPIDS        MI 49525‐2223
STELLA NATASCHA SCHNEIDER   AM ALBERTSBERG 13               D‐75031 EPPINGEN    EPPINGEN DE 75031   GERMANY
STELLA NETZEL               300 PARKER AVE                                                                                CHEEKTOWAGA        NY   14206‐2627
STELLA NOETH                4765 P0ST RD                                                                                  NEWPORT            MI   48166
STELLA O EWANISH            56 WOODLAND CHASE BLVD                                                                        NILES              OH   44446‐5353
STELLA OGIELA               181 DARTWOOD DR                                                                               CHEEKTOWAGA        NY   14227‐3165
STELLA ORVIS                2501 E 104TH AVE UNIT G3‐3                                                                    THORNTON           CO   80233
STELLA OSTROWSKI            339 E MANHATTAN BLVD                                                                          TOLEDO             OH   43608‐1214
STELLA OWENS                1705 SYLVAN DR                                                                                MARION             IN   46953‐2508
STELLA PACKARD              PO BOX 255                                                                                    WEBSTER            NY   14580‐0255
STELLA PAGE                 9280 PICKENS ST                                                                               SPRING HILL        FL   34608‐6348
STELLA PAJA                 40831 NEWPORT DR                                                                              PLYMOUTH           MI   48170‐4741
STELLA PAPASAVVA            3035 SYLVAN DR                                                                                ROYAL OAK          MI   48073‐3247
STELLA PEARSON              4852 KINGS RIDGE CIR                                                                          FAIRBORN           OH   45324‐1849
STELLA PELEHAC              3631 HARVEY AVE                                                                               BERWYN             IL   60402‐3832
STELLA PENCE                39465 W ARCHER DR                                                                             SELFRIDGE ANGB     MI   48045‐1818
STELLA PENDER               1029 BLUEBELL LN                                                                              DAVISON            MI   48423‐7906
STELLA PISAREK              211 STONEY DR                                                                                 SYRACUSE           NY   13219‐2229
STELLA PLASCENCIA           7480 E NEPTUNE DR                                                                             FLAGSTAFF          AZ   86004‐3102
STELLA PLEKAN               1500 PORTLAND AVE 516                                                                         ROCHESTER          NY   14621
STELLA PODOLSKI             4031 ROGER AVE                                                                                ALLEN PARK         MI   48101‐3059
STELLA POSKEY               4691 W DUNBAR RD                                                                              MONROE             MI   48161‐9005
STELLA POWELL               3575 MOORE ST                                                                                 INKSTER            MI   48141‐3013
STELLA PRESTON              5438 HAVERFIELD RD                                                                            DAYTON             OH   45432‐3535
STELLA PRIALGAUSKAS         222 N HAMMES AVE                                                                              JOLIET             IL   60435
STELLA PRUETT               G‐4084 MANNER DR                                                                              FLINT              MI   48506
STELLA R CIESINSKI          71 DEBBY LANE                                                                                 ROCHESTER          NY   14606‐5340
STELLA RACZYINSKI           1470 JAMAICA LN                                                                               MARION             IL   62959‐8652
STELLA RAK                  5143 S NEW ENGLAND AVE                                                                        CHICAGO            IL   60638‐1107
STELLA RAO                  154 MECHANIC ST                                                                               BRISTOL            CT   06010‐5429
STELLA RATLIFF              1927 N CHARLES ST               C/O JO ANN THOMAS                                             SAGINAW            MI   48602‐4853
STELLA REDLIN               AM ALTEN DREISCH 60 A                                                   D‐33605 BIELEFELD
                                                                                                    GERMANY
STELLA REED                 535 DICKEMERY DR                                                                              AKRON              OH   44303‐1608
STELLA REEDER               1225 SARAH JEAN CIR APT 103                                                                   NAPLES             FL   34110‐9155
STELLA REGALSKI             8267 LOCHDALE ST                                                                              DEARBORN HTS       MI   48127‐1234
STELLA REMBISZ              2110 AVON ST                                                                                  SAGINAW            MI   48602‐3957
STELLA ROBISON              1610 COUNTY LINE RD                                                                           LYNDONVILLE        NY   14098‐9500
STELLA ROBISON              12 STANDISH RD                                                                                LOCKPORT           NY   14094‐3315
STELLA ROGERS               6835 E STOP 11 RD                                                                             INDIANAPOLIS       IN   46237‐9395
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Name                  Address1                        Address2                Address3     Address4         City            State Zip
STELLA ROGERS         200 KIMELA DR                                                                         WOODBURY         TN 37190‐1320
STELLA ROMANOWSKI     2010 WALNUT WAY                                                                       NOBLESVILLE      IN 46062‐9328
STELLA RONEWICZ       8262 WOODLAND SHORE DR                                                                BRIGHTON         MI 48114‐9313
STELLA ROSS           17796 REDWOOD DR                                                                      MACOMB           MI 48042‐3518
STELLA ROSSI          443 WEST AVE                                                                          MOUNT CARMEL     PA 17851‐1101
STELLA ROZMUS         7057 WEST BLVD APT 170                                                                BOARDMAN         OH 44512‐4325
STELLA RYAN           6593 OAK HILL DR                                                                      ENON             OH 45323‐1619
STELLA S GONZALES     PO BOX 13255                                                                          FLINT            MI 48501‐3255
STELLA S SHAFFER      6855 SR 45, N.W.                                                                      BRISTOLVILLE     OH 44402‐9778
STELLA SACHS          7559 HIGHWAY HH                                                                       CATAWISSA        MO 63015‐1284
STELLA SAID           2135 RUTH AVE                                                                         LINCOLN PARK     MI 48146‐1251
STELLA SAVAGE         1670 STIRLING AVE                                                                     PONTIAC          MI 48340‐1344
STELLA SAWICKI        54 CONDICT ST                                                                         JERSEY CITY      NJ 07306‐7010
STELLA SCHAFFER       2991 HOFFMAN CIR NE                                                                   WARREN           OH 44483‐3063
STELLA SCHEELE        228 N STATE ST                                                                        ZEELAND          MI 49464‐1215
STELLA SEPA           246 STONECREST DR                                                                     BRISTOL          CT 06010‐5323
STELLA SEXTON         1414 DYER RD                                                                          GROVE CITY       OH 43123‐9738
STELLA SHAFFER        6855 STATE ROUTE 45                                                                   BRISTOLVILLE     OH 44402‐9778
STELLA SHANK          101 CARLIN DR                                                                         LOGAN            OH 43138‐9272
STELLA SIZEMORE       G3064 MILLER RD APT 215                                                               FLINT            MI 48507‐1339
STELLA SIZEMORE       PO BOX 1391                                                                           MIAMISBURG       OH 45343‐1391
STELLA SMELTZER       925 CLARK ST                                                                          KOKOMO           IN 46901‐6607
STELLA SMITH          13340 WABASH RD                                                                       MILAN            MI 48160‐9292
STELLA SMITH          30342 AUTUMN LN                                                                       WARREN           MI 48088‐3294
STELLA SOLIANI        1217 ROUTE 917                                                                        MONONGAHELA      PA 15063‐3329
STELLA SOTO           624 MYRTLE ST                                                                         ELIZABETH        NJ 07202‐2621
STELLA SOUTHWORTH     53066 FLATBUSH RD                                                                     MARCELLUS        MI 49067‐9331
STELLA SOWDERS        PO BOX 66                                                                             LAONA            WI 54541‐0066
STELLA STANISLAWSKI   3546 ODYSSEA COURT                                                                    N FT MYERS       FL 33917‐7782
STELLA STASIK         2381 CASMERE ST                                                                       HAMTRAMCK        MI 48212‐2948
STELLA STAWISKI       5023 S LATROBE AVE                                                                    CHICAGO           IL 60638‐1725
STELLA STEIGERWALD    CASCINO MICHAEL P               220 SOUTH ASHLAND AVE                                 CHICAGO           IL 60607
STELLA STEMPEK        7500 WINTHROP ST                                                                      DETROIT          MI 48228‐3693
STELLA STEWART        3056 W CASS AVE                                                                       FLINT            MI 48504‐1206
STELLA SUDOL          3403 NOTTINGHAM DR                                                                    NORTHVILLE       MI 48167‐8696
STELLA SUTTON         11428 SUSSEX ST                                                                       DETROIT          MI 48227‐2089
STELLA SUTTON         722 HUBBLE ST                                                                         MONROE           MI 48161‐1533
STELLA SWEGHEIMER     4729 CARMEL ST                                                                        ORLANDO          FL 32808‐2707
STELLA SWIATEK        4554 MEMPHIS VILLAS S                                                                 BROOKLYN         OH 44144‐2412
STELLA SWIERBUT       2980 CLOVER RIDGE CT NW APT C                                                         GRAND RAPIDS     MI 49504‐8033
STELLA SYKES          5821 ETHELBERT AVE                                                                    BALTIMORE        MD 21215‐3905
STELLA SZCZEPANIAK    8225 CRESTVIEW DR                                                                     WILLOW SPGS       IL 60480‐1009
STELLA SZELIGA        2932 CLEVELAND AVE                                                                    NIAGARA FALLS    NY 14305‐3306
STELLA SZUMA          318 SANDLEWOOD LANE                                                                   EULESS           TX 76039‐7923
STELLA T FARISH       5760 S. PITCHIN RD                                                                    SPRINGFIELD      OH 45502
STELLA T MAXIK        107 PINECONE LN                                                                       HAVELOCK         NC 28532‐9571
STELLA TANNER         426 EAST EUCLID AVENUE                                                                NEW CASTLE       PA 16105‐2623
STELLA TAYLOR         952 CAMERON AVE                                                                       PONTIAC          MI 48340‐3214
STELLA TELLEZ         24107 REAGON CANYON DR                                                                HOCKLEY          TX 77447‐9291
STELLA THIMLING       41 SIR CHARLES DR                                                                     BEDFORD          IN 47421‐8282
STELLA TILLMAN        2943 BARTH ST                                                                         FLINT            MI 48504‐3051
STELLA TIMS           1432 TAMPA AVE                                                                        DAYTON           OH 45408‐1850
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Name                           Address1                            Address2            Address3                     Address4             City            State Zip
STELLA TINKER                  121 BILL MARTIN RD                                                                                        CHUCKEY          TN 37641‐2049
STELLA TREPKO                  11 MEADOW ST                                                                                              BAYONNE          NJ 07002‐4511
STELLA TRINCIA                 ATTN: STELLA TRINCIA                705 FALLON AVE                                                        WILMINGTON       DE 19804‐2113
STELLA TUCKER                  PO BOX 1416                                                                                               LEWISBURG        WV 24901‐4416
STELLA TUMINO                  14 SANDHURST CT                                                                                           TOMS RIVER       NJ 08757‐6564
STELLA TURCZYN                 33 HEIL AVE                                                                                               TRENTON          NJ 08638‐3816
STELLA TURNER                  9582 COLLETT RD                                                                                           WAYNESVILLE      OH 45068‐9300
STELLA V SCHAFFER              2991 HOFFMAN CIRCLE                                                                                       WARREN           OH 44483‐3063
STELLA VELLA                   827 W NEWTON RD                                                                                           GREENSBURG       PA 15601‐2858
STELLA VERMOEGENSVERWALTUNGS   1850 RIVERFORK DR                                                                                         HUNTINGTON       IN 46750‐9004
GMBH
STELLA VERMOEGENSVERWALTUNGS   21 FINEGAN RD                                                                                             DEL RIO          TX   78840‐8505
GMBH
STELLA VERMOEGENSVERWALTUNGS   CARRETERA LA AMISTAD KM 6.5                                                          CD ACUNA CZ 26200
GMBH                                                                                                                MEXICO
STELLA VERMOEGENSVERWALTUNGS   KEVIN BOUDER                        1850 RIVERFORK DR   HUNTINGTON PLANT                                  HUNTINGTON       IN   46750‐9004
GMBH
STELLA VERMOEGENSVERWALTUNGS   KEVIN BOUDER                        HUNTINGTON PLANT    1850 RIVER FORK DRIVE WEST                        MURFREESBORO    TN 37127
GMBH
STELLA VERMOEGENSVERWALTUNGS   MOOSACHER STR 80                                                                     MUENCHEN, BY 80
GMBH                                                                                                                GERMANY
STELLA W HARRIS                5787 DURAND ST                                                                                            DAYTON          OH    45414‐3015
STELLA WALL                    2733 E DUDLEY AVE                                                                                         INDIANAPOLIS    IN    46227‐4538
STELLA WALLER                  4023 W OUTER DR                                                                                           DETROIT         MI    48221‐1428
STELLA WESTERS                 5642 BLAINE AVENUE SOUTHEAST                                                                              GRAND RAPIDS    MI    49508‐6219
STELLA WILLIAMS                507 7TH ST                                                                                                DALEVILLE       IN    47334
STELLA WILLIAMS                422 S 28TH ST                                                                                             SAGINAW         MI    48601‐6421
STELLA WILLS                   23332 E MAIN ST                                                                                           ARMADA          MI    48005‐4677
STELLA WOJEWSKI                PO BOX 61                                                                                                 ATLANTA         MI    49709‐0061
STELLA WOLAK                   10045 ARNOLD                                                                                              REDFORD         MI    48239‐2001
STELLA WOOD                    5936 SPRINGPORT RD                                                                                        EATON RAPIDS    MI    48827‐9066
STELLA WOZNIEK                 63 JENELL DR                                                                                              GRAND ISLAND    NY    14072‐2613
STELLA WRIGHT                  6033 HILL RD                                                                                              SWARTZ CREEK    MI    48473‐8203
STELLA Y BRANDT                1471 LONG POND DR APT 242                                                                                 ROCHESTER       NY    14626
STELLA YANCOSKI                49690 BLAIRMONT RD                                                                                        ADENA           OH    43901‐9607
STELLA YARCHAK                 4 OSLO CT                                                                                                 TOMS RIVER      NJ    08757‐6034
STELLA YOUNG                   6155 HILTAN LANE DR                                                                                       MOUNT MORRIS    MI    48458
STELLA YURASHUS                160 HAWTHORNE TER                                                                                         TORRINGTON      CT    06790‐5159
STELLA ZAJACK                  171A COLUMBINE AVE                                                                                        WHITING         NJ    08759‐3058
STELLA ZALEWSKI                62041 TAYBERRY CIR                                                                                        SOUTH LYON      MI    48178‐9286
STELLA ZARIS                   15265 LAKESIDE VILLAGE DR APT 103                                                                         CLINTON TWP     MI    48038‐3565
STELLA ZOFCHAK                 1193 HARTMAN ST                                                                                           MOUNT MORRIS    MI    48458‐2520
STELLA ZUBAL                   4430 W SPRAGUE RD                                                                                         PARMA           OH    44134‐6388
STELLA, ANTHONY P              285 COMMERCE ST                                                                                           HAWTHORNE       NY    10532‐1901
STELLA, EMILLE                 8889 SE 132ND LOOP                                                                                        SUMMERFIELD     FL    34491‐8295
STELLA, FRANK                  DEARIE & ASSOCS JOHN C              3265 JOHNSON AVE                                                      RIVERDALE       NY    10463
STELLA, JOSEPH J               1970 GRANGE RD                                                                                            TRENTON         MI    48183‐1757
STELLA, JOSEPHINE              70 PEACH TREE LN                                                                                          BRISTOL         CT    06010‐3066
STELLA, MILDRED L              170 WALNUT ST                                                                                             WINSTED         CT    06098‐1236
STELLA, RICHARD G              10 HAYES CT                                                                                               WILMINGTON      DE    19808‐1551
STELLA, STEPHANIE L            25777 HERB ST                                                                                             OLMSTED FALLS   OH    44138‐2726
STELLA, SUSAN J                PO BOX 6446                                                                                               SCARBOROUGH     ME    04070‐6446
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Name                                Address1                             Address2                        Address3   Address4         City               State Zip
STELLA, SUSAN J                     P.O. BOX 6446                                                                                    SCARBOURGH          ME 04070‐6446
STELLABUTO WILLIAM (464298)         KELLEY & FERRARO LLP                 1300 EAST NINTH STREET , 1901                               CLEVELAND           OH 44114
                                                                         BOND COURT BUILDING
STELLABUTO, WILLIAM                 KELLEY & FERRARO LLP                 1300 EAST NINTH STREET, 1901                                CLEVELAND          OH 44114
                                                                         BOND COURT BUILDING
STELLANT‐ORACLE
STELLAR AUDIO VISUAL SERVICES LLC   46562 ERB DR                                                                                     MACOMB             MI   48042‐5916
STELLAR ENGINEERING INC             13231 23 MILE RD                                                                                 SHELBY TOWNSHIP    MI   48315‐2713
STELLAR HERBERT (643106)            BIFFERATO GENTILOTTI & BIDEN         PO BOX 2165                                                 WILMINGTON         DE   19899‐2165
STELLAR, HERBERT                    BIFFERATO GENTILOTTI & BIDEN         PO BOX 2165                                                 WILMINGTON         DE   19899‐2165
STELLAR/MAD HGTS                    1020 W 13 MILE RD                                                                                MADISON HEIGHTS    MI   48071‐1603
STELLAR/ST HGTS                     5555 GATEWOOD DR                                                                                 STERLING HEIGHTS   MI   48310‐2227
STELLAR/WARREN                      5505 E 13 MILE RD                                                                                WARREN             MI   48092‐1510
STELLARD, ARNOLD L                  605 CHICKADEE LN                                                                                 KINGSLEY           MI   49649‐9337
STELLARD, CLARA M                   3231 W 48TH ST                                                                                   FREMONT            MI   49412‐7432
STELLARD, EDWARD G                  4333 WOODROW AVE                                                                                 BURTON             MI   48509‐1125
STELLARD, WILLIAM W                 5389 CONIFER DR                                                                                  COLUMBIAVILLE      MI   48421‐8934
STELLATO, DAVID A                   314 S MAPLE AVE                                                                                  MARTINSBURG        WV   25401‐3230
STELLATO, DAVID ALAN                3140SOUTH MAPLE AVENUE                                                                           MARTINSBURG        WV   25401
STELLCO TECHNOLOGIES INC            100 ENGELWOOD DR STE F                                                                           ORION              MI   48359‐2411
STELLER, EDWARD H                   12423 LAKE RD                                                                                    MONTROSE           MI   48457‐9443
STELLER, MARION A                   1489 S GENEVIEVE                                                                                 BURTON             MI   48509‐2401
STELLEY, THOMAS J                   4865 ROSWELL MILL DR                                                                             ALPHARETTA         GA   30022‐4569
STELLHORN, LEWIS D                  4837 WOODFORD DR                                                                                 FORT WAYNE         IN   46835‐1401
STELLING, FLORENCE                  200 ST LUKE DR APT 425                                                                           LITITZ             PA   17543
STELLING, MARLENE LOUISE            19510 ALVO RD                                                                                    WAVERLY            NE   68462‐2000
STELLING, MORTON A                  12140 CHAMPIONSHIP CIR                                                                           MUKILTEO           WA   98275‐5032
STELLINGWERF, FRED W                17 MONMOUTH ST                                                                                   HAZLET             NJ   07730‐2125
STELLINI, JOHN                      2380 HIGH MEADOWS DR                                                                             ORTONVILLE         MI   48462‐9181
STELLITE COAT/GOSHEN                1201 EISENHOWER DR N                                                                             GOSHEN             IN   46526‐5311
STELLMACH, GARY L                   20535 WESTHAMPTON AVE                                                                            SOUTHFIELD         MI   48075‐5609
STELLMACH, MARGARET M               981 ARGYLE AVE                                                                                   PONTIAC            MI   48341‐2302
STELLMACHER DAVID C JR (654427)     ZAMLER, MELLEN & SHIFFMAN            23077 GREENFIELD RD STE 557                                 SOUTHFIELD         MI   48075‐3727
STELLMACHER, DAVID C                ZAMLER, MELLEN & SHIFFMAN            23077 GREENFIELD RD STE 557                                 SOUTHFIELD         MI   48075‐3727
STELLMACHER, ELLEN                  847 CLEAR LAKE DR                                                                                PORT ORANGE        FL   32127‐7780
STELLMACK, RICHARD F                11744 N EATON RD                                                                                 HAYWARD            WI   54843‐6404
STELLOH, PATRICK J                  138 DEEPWATER DR                                                                                 STELLA             NC   28582‐9741
STELLOR JEFF                        4155 E JEWELL AVE STE 310                                                                        DENVER             CO   80222
STELLOW, JOHN H                     130 S STATE ST                                                                                   ALMA               MI   48801‐2337
STELLS, BOBBY G                     21259 LYNTON AVENUE                                                                              CARSON             CA   90745‐1441
STELLUTO, JOSEPH B                  695 E WESTERN RESERVE RD UNIT 1504                                                               POLAND             OH   44514‐4325
STELLUTO, VINCENT P                 70 HIGH ST                                                                                       FAIRPORT           NY   14450‐1428
STELLWAG, GLENDILE                  7705 BELL RD                                                                                     BIRCH RUN          MI   48415‐9098
STELLWAG, WALTER L                  3404 W MERRYWOOD LN                                                                              MUNCIE             IN   47302‐9418
STELLWAG, WALTER LEE                3404 W MERRYWOOD LN                                                                              MUNCIE             IN   47302‐9418
STELLWAG, WILLIAM L                 1123 CALLE MILAGRO                                                                               ESPANOLA           NM   87532‐2837
STELLWAGEN, MICHAEL B               5045 BIDWELL ST                                                                                  BRIGHTON           MI   48116‐9702
STELLY JR, SYLVESTER                8660 CAMAY DR                                                                                    HOUSTON            TX   77016‐6104
STELLY, ROSIA LEE                   8610 COMPTON ST                                                                                  HOUSTON            TX   77016‐6107
STELMA, JAMES R                     3705 BASSWOOD DR SW                                                                              GRANDVILLE         MI   49418‐2003
STELMACH SUE                        7813 CHESTNUT RIDGE ROAD                                                                         GASPORT            NY   14067‐9503
STELMACH, EDMUND L                  119 PINE AVE                                                                                     ST CLAIRSVLE       OH   43950‐9738
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Name                        Address1                       Address2               Address3      Address4         City               State Zip
STELMACH, GARY              1329 WINDING RIDGE DR          APT 3A                                                GRAND BLANC         MI 48439‐7559
STELMACH, GARY              1329 WINDING RIDGE DR APT 3A                                                         GRAND BLANC         MI 48439‐7559
STELMACH, GARY              1329 WINDING DR APT 3A                                                               GRAND BLANC         MI 48439
STELMACH, GLENN E           313 THORNCLIFF RD                                                                    BUFFALO             NY 14223‐1207
STELMACH, GLENN EDWIN       313 THORNCLIFF RD                                                                    BUFFALO             NY 14223‐1207
STELMACH, LEONA R           6305 WALDON RD                                                                       CLARKSTON           MI 48346‐2461
STELMACH, MICHAEL           5324 BINGHAM ST                                                                      DEARBORN            MI 48126‐3339
STELMACH, RITA B            150 NORTHLEDGE DRIVE                                                                 SYNDER              NY 14226
STELMACH, RITA M            1 MATTERHORN WAY               GREEN BRIAR TWO                                       BRICK               NJ 08724‐2079
STELMACH, SHERRI A          557 BERRIDGE CIR                                                                     LAKE ORION          MI 48360‐1239
STELMACH, SUZANNE M         7813 CHESTNUT RIDGE ROAD                                                             GASPORT             NY 14067‐9503
STELMACK, CASMERE S         4614 RAYMOND AVE                                                                     BROOKFIELD           IL 60513‐2230
STELMACK, GREGORY S         1783 LEDBURY DR                                                                      BLOOMFIELD HILLS    MI 48304‐1251
STELMAN, MARVIN B           16445 ROSEMARY                                                                       FRASER              MI 48026‐3224
STELMAN, MARVIN BUTCH       16445 ROSEMARY                                                                       FRASER              MI 48026‐3224
STELMASIEWICZ, ANNA         32678 RAYBURN ST                                                                     LIVONIA             MI 48154‐2925
STELMASZCZAK, LUCILLE       6635 FLINTLOCK RDG                                                                   SHELBY TOWNSHIP     MI 48317‐3129
STELMO BRANSON              5441 CRACKER NECK RD                                                                 WASHBURN            TN 37888‐4301
STELOISE GREEN              1233 E JULIAH AVE                                                                    FLINT               MI 48505‐1647
STELRON CAM CO              1495 MACARTHUR BLVD                                                                  MAHWAH              NJ 07430‐3600
STELRON COMPONENTS INC      1495 MACARTHUR BLVD                                                                  MAHWAH              NJ 07430‐3600
STELTEN, KELLY M            534 KASSEL DR                                                                        CHASKA              MN 55318‐2501
STELTER, BRUCE E            418 S SUMMIT ST                                                                      WHITEWATER          WI 53190‐1737
STELTER, BRUCE E            750 GEORGIA STREET                                                                   STURGEON BAY        WI 54235‐2137
STELTER, CAROL              1218 YELLOWBRICK RD                                                                  PENDLETON           IN 46064‐9303
STELTER, CHERYL A           2951 S IRIS DR                                                                       BELOIT              WI 53511‐1751
STELTER, DENNIS C           3854 S 17TH ST                                                                       MILWAUKEE           WI 53221‐1656
STELTER, ERIC A             2304 W SENECA DR                                                                     APPLETON            WI 54914
STELTER, EUGENE R           14692 STELTER VALLEY LN                                                              FERRYVILLE          WI 54628
STELTER, EVELYN P           1000 W CANTERBURY CT                                                                 OAK CREEK           WI 53154‐5560
STELTER, FLOYD R            1218 YELLOWBRICK RD                                                                  PENDLETON           IN 46064‐9303
STELTER, JAMES A            7760 W THUNDER MOUNTAIN DR                                                           BOISE               ID 83709‐5472
STELTER, JAMES N            2750 W AVALON RD                                                                     JANESVILLE          WI 53546‐8918
STELTER, LAVERN N           3501 S MURRAY RD                                                                     JANESVILLE          WI 53548‐9251
STELTER, LYNN A             3321 SOUTHERN CAY DR                                                                 JUPITER             FL 33477‐1376
STELTER, MICHAEL L          5112 W TRIPP RD                                                                      JANESVILLE          WI 53548‐9245
STELTER, THOMAS J           1218 ELIDA ST                                                                        JANESVILLE          WI 53545‐1808
STELTON, ERNEST F           614 VICTORIA AVE                                                                     FLINT               MI 48507‐1731
STELTON, ERNEST FREDERICK   614 VICTORIA AVE                                                                     FLINT               MI 48507‐1731
STELTZ, LILLIAN E           425 S 92ND ST                                                                        MILWAUKEE           WI 53214‐1254
STELTZRIEDE, JACK M         18380 OHARA RD                                                                       HEMLOCK             MI 48626‐9613
STELWAGEN DANIEL            1919 SPYGLASS TRL                                                                    MUSKEGON            MI 49442‐6822
STELWAGEN, DANIEL R         1919 SPYGLASS TRL                                                                    MUSKEGON            MI 49442‐6822
STELY, HAYLEY
STELZEL, STEPHEN R          5142 W 12TH ST                                                                       SPEEDWAY           IN   46224‐6918
STELZER JR, EDWARD W        714 SCHUST RD                                                                        SAGINAW            MI   48604‐1515
STELZER MARK                STELZER, MARK                  55 PUBLIC SQ STE 650                                  CLEVELAND          OH   44113‐1909
STELZER, DENNIS J           PO BOX 434                                                                           MILAN              OH   44846‐0434
STELZER, GUSTAV R           PO BOX 1087                                                                          LA CONNER          WA   98257‐1087
STELZER, JAMES J            39765 EDGEMONT DR                                                                    STERLING HTS       MI   48310‐2326
STELZER, LESLIE R           22268 PONDVIEW                                                                       NOVI               MI   48375‐5037
STELZER, MARGARET           76 PARKVIEW ROAD                                                                     CARMEL             IN   46032‐1151
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Name                                   Address1                              Address2                          Address3                 Address4                 City                 State Zip
STELZER, ROBERT L                      PO BOX 3961                                                                                                               SOUTH PADRE ISLAND    TX 78597‐3961
STELZER, ROY E                         GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                                        PITTSBURGH            PA 15219

STELZER, SEAN R                        PO BOX 9022                            SHANGHAI                                                                           WARREN               MI   48090‐9022
STELZER, THOMAS L                      820 FALKIRK DR                                                                                                            SPRINGFIELD          OH   45502‐8318
STELZER, WARREN W                      2407 HEDGEAPPLE DR                                                                                                        ARLINGTON            TX   76001‐5477
STELZL, MARIE M                        865 TECHNOLOGY BLVD. #BB               C/O GOEROGE SCHRAMM                                                                BOZEMAN              MT   59718
STELZNER, SCOTT M                      2672 BONITA DR                                                                                                            WATERFORD            MI   48329‐4822
STELZNER, STEPHEN B                    8344 S STATE ROAD 75                                                                                                      COATESVILLE          IN   46121‐9124
STEMA, RICHARD                         30616 MCGRATH DR                                                                                                          WARREN               MI   48093‐5613
STEMALY, EDWIN T                       39 SANDERSON ST                                                                                                           BATTLE CREEK         MI   49017‐5525
STEMBER FEINSTEIN                      429 FORBES AVE                         1705 ALLEGHENY BLDG                                                                PITTSBURGH           PA   15219‐1609
STEMBER FEINSTEIN DOYLE & PAYNE, LLC   ATTY FOR INT'L UNION UAW AND UAW ET    ATT: WILLIAM PAYNE, J. STEMBER, E. 429 FORBES AVENUE      ALLEGHENY BUILDING STE   PITTSBURGH           PA   15219
                                       AL                                     DOYLE, S. PINCUS, P. EWING, J. HURT                       1705

STEMBER FEINSTEIN DOYLE AND PAYNE      JOHN STEMBER, ESQ.                     429 FORBES AVENUE                ALLEGHENY BUILDING STE                            PITTSBURGH           PA 15219
LLC                                                                                                            1705
STEMBER FEINSTEIN DOYLE AND PAYNE      STEPHEN M. PINCUS, ESQ.                429 FORBES AVENUE                ALLEGHENY BUILDING STE                            PITTSBURGH           PA 15219
LLC                                                                                                            1705
STEMBER FEINSTEIN DOYLE AND PAYNE      ELLEN M DOYLE, ESQ. & JOEL HURT, ESQ. & 429 FORBES AVENUE               ALLEGHENY BUILDING STE                            PITTSBURGH           PA 15219
LLC                                    PAMINA EWING, ESQ.                                                      1705
STEMBRIDGE, HUBERT                     4321 KIMBALL RD SW                                                                                                        ATLANTA              GA 30331‐6521
STEMBRIDGE, RAYMON C                   1766 FM 2123                                                                                                              PARADISE             TX 76073‐2210
STEMCO CANADA TRUCK PRODUCTS           DIV OF GARLOCK OF CANADA                5900 AMBLER DR UNITS 4 & 5                               MISSISSAUGA CANADA ON
                                                                                                                                        L4W 2N3 CANADA
STEMCO INC                             PO BOX 98511                                                                                                              CHICAGO              IL   60693‐0001
STEMCO INC                             ANNETT BULLOCK                         301 E INDUSTRIAL BLVD                                                              WARREN               MI   48092
STEMCO INC                             300 INDUSTRIAL DR                                                                                                         LONGVIEW             TX   75602‐4720
STEMCZYNSKI, FRANK R                   26101 JEFFERSON AVE.                   STE. 3122                                                                          ST. CLR SHROES       MI   48081‐2353
STEMEN, DAVID A                        816 N CLAY ST                                                                                                             DELPHOS              OH   45833‐1028
STEMEN, ERIC M                         3940 SCHUST RD                                                                                                            SAGINAW              MI   48603‐1240
STEMEN, GEORGE W                       5511 LENNON RD                                                                                                            SWARTZ CREEK         MI   48473‐7906
STEMEN, JOANNE F                       PO BOX 10                                                                                                                 WALKERVILLE          MI   49459‐0010
STEMEN, WILBUR L                       607 S ALLEN ST                                                                                                            BRYAN                OH   43506
STEMER, THOMAS G                       418 GREENTREE LN                                                                                                          MILAN                MI   48160‐1085
STEMER, THOMAS GERARD                  418 GREENTREE LN                                                                                                          MILAN                MI   48160‐1085
STEMLER, KENNETH G                     6088 MADISON ST                                                                                                           SUNFIELD             MI   48890‐9763
STEMLER, MAXINE I                      240 CHARLOTTE HWY APT 22                                                                                                  PORTLAND             MI   48875‐1669
STEMLER, WILLIAM F                     RR 1 BOX 141C                                                                                                             CLOVERDALE           IN   46120
STEMM, FRED                            1132 BLOSSOM DR                                                                                                           THREE RIVERS         MI   49093‐1006
STEMM, JEANNINE T                      301 E FLINT ST                                                                                                            DAVISON              MI   48423‐1210
STEMM, R MICHAEL                       3165 W MOTT AVE                                                                                                           FLINT                MI   48504‐6840
STEMM, ROBERT M                        3165 W MOTT AVE                                                                                                           FLINT                MI   48504‐6840
STEMMEL, DONALD                        TYDING & ROSENBERG LLP                 100 EAST PRATT STREET                                                              BALTIMORE            MD   21202
STEMMER, BETTY J                       4240 LESHER DRIVE                      APT. 1                                                                             KETTERING            OH   45429‐3042
STEMMER, BETTY J                       4240 LESHER DR APT 1                                                                                                      KETTERING            OH   45429‐3042
STEMMER, EVELYN M                      509 ROUTE 530 APT 101                                                                                                     WHITING              NJ   08759‐3146
STEMMER, GERRIT J                      8015 WOODSTONE DR                                                                                                         GRAND BLANC          MI   48439‐7096
STEMMER, LORRAINE B                    7 GREENMEADOW LN                                                                                                          WHITING              NJ   08759‐2353
STEMMLER, HAROLD W                     3151 GLOUCESTER DR                                                                                                        STERLING HTS         MI   48310‐2962
STEMMLER, JOHN L                       238 FAIRVIEW RIDGES                                                                                                       AFTON                TN   37616‐4875
STEMMLER, ROSE MARIE                   213 NEBOBISH                                                                                                              ESSEXVILLE           MI   48732‐1158
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Name                        Address1                        Address2                      Address3   Address4         City             State Zip
STEMMLER, ROSE MARIE        213 NEBOBISH AVE                                                                          ESSEXVILLE        MI 48732‐1158
STEMMONS, ROBERT            725 S HUALAPAI WAY APT 1105                                                               LAS VEGAS         NV 89145‐8837
STEMPEK, DONALD R           1695 E ALMEDA BEACH RD                                                                    PINCONNING        MI 48650‐9491
STEMPEK, JOHN C             1502 7 MILE RD                                                                            KAWKAWLIN         MI 48631‐9777
STEMPEK, LOUIS F            305 E ASHMAN ST                                                                           MIDLAND           MI 48642‐4686
STEMPEK, STELLA B           7500 WINTHROP ST                                                                          DETROIT           MI 48228‐3693
STEMPEK, STELLA B           7500 WINTHROP                                                                             DETROIT           MI 48228‐3693
STEMPEL ROBERT C            1675 W MAPLE RD                                                                           TROY              MI 48084‐7118
STEMPEL, ROBERT C           1790 N OXFORD RD                                                                          OXFORD            MI 48371‐2532
STEMPER, GARY W             3797 BRAYLEY RD                                                                           WILSON            NY 14172‐9717
STEMPER, GRACE L            3797 BRAYLEY RD                                                                           WILSON            NY 14172‐9717
STEMPER, PATRICIA T         5919 WYNKOOP RD                                                                           LOCKPORT          NY 14094‐9370
STEMPIEN JR, ALFRED J       2722 WESTON AVE                                                                           NIAGARA FALLS     NY 14305‐3230
STEMPIEN PATRICIA           450 BROAD ST                                                                              MERIDEN           CT 06450‐5802
STEMPIEN, ALOISIUS R        2485 CHILDS LAKE RD                                                                       MILFORD           MI 48381‐3020
STEMPIEN, CAROL A           9619 BLAUVELT DR                                                                          GROSSE ILE        MI 48138‐1614
STEMPIEN, CHRISTIN B        850 ALBERTON ST                                                                           WOLVERINE LAKE    MI 48390‐2313
STEMPIEN, EDWARD J          7893 QUAIL CREEK ROAD                                                                     MAUMEE            OH 43537‐9455
STEMPIEN, LOUIS J           9911 ADAMS ST                                                                             LIVONIA           MI 48150‐4517
STEMPIEN, PATRICK           1525 MICHAEL CT                                                                           MILFORD           MI 48381‐2900
STEMPIEN, RONALD E          7133 SHADY GROVE LN                                                                       TEMPERANCE        MI 48182‐1370
STEMPIEN, RONALD EDWARD     7133 SHADY GROVE LN                                                                       TEMPERANCE        MI 48182‐1370
STEMPKOWSKI, JOSEPH P       18 EDWARD CT                                                                              CHEEKTOWAGA       NY 14225‐1863
STEMPLE I I I, CARL R       1030 STURBRIDGE LN                                                                        DAVISON           MI 48423‐9006
STEMPLE III, CARL RICHARD   2066 WHISPERING WATERS PASS                                                               FLUSHING          MI 48433‐9794
STEMPLE JAMES A (340490)    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                            STREET, SUITE 600
STEMPLE JR, CARL R          1422 IVA ST                                                                               BURTON           MI   48509‐1529
STEMPLE JR, CARL RICHARD    1422 IVA ST                                                                               BURTON           MI   48509‐1529
STEMPLE JR, MARTIN L        1322 HILLCREST RD                                                                         WELLSVILLE       OH   43968‐1850
STEMPLE, AMANDA LYNN        6227 ORIOLE DR                                                                            FLINT            MI   48506‐1720
STEMPLE, BEVERLY M          6463 BLUEJAY DR                                                                           FLINT            MI   48506‐1766
STEMPLE, BRUCE A            208 MORNINGSIDE DR                                                                        FALLING WATERS   WV   25419‐4054
STEMPLE, BRUCE ALAN         208 MORNINGSIDE DR                                                                        FALLING WATERS   WV   25419‐4054
STEMPLE, GERALDINE A        6446 WHISPER RIDGE CT                                                                     BURTON           MI   48509‐2616
STEMPLE, GERALDINE ANNE     6446 WHISPER RIDGE CT                                                                     BURTON           MI   48509‐2616
STEMPLE, GLADYS L           39062 FRENCH CREEK RD           C/O LINDA L SMITH                                         AVON             OH   44011‐1722
STEMPLE, IRIS G             3973 STATE ROUTE 82                                                                       NEWTON FALLS     OH   44444‐9554
STEMPLE, IRIS G             3973 STATE RT. 82 SW                                                                      NEWTON FALLS     OH   44444
STEMPLE, JAMES A            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                            STREET, SUITE 600
STEMPLE, JULIE A            10524 SHANNA TRELLIS AVE                                                                  LAS VEGAS        NV   89144‐5447
STEMPLE, JULIE ANN          10524 SHANNA TRELLIS AVENUE                                                               LAS VEGAS        NV   89144‐5447
STEMPLE, KAREN L            3725 PITKIN AVE                                                                           FLINT            MI   48506‐4220
STEMPLE, KAREN LYNN         3725 PITKIN AVE                                                                           FLINT            MI   48506‐4220
STEMPLE, MARJORIE           7600 NANKIN BLVD.               APT. 1120                                                 WESTLAND         MI   48185
STEMPLE, MARY O             1305 EDGEHILL AVE SE                                                                      WARREN           OH   44484‐4519
STEMPLE, NICOLE M           4058 CANEY CREEK LN                                                                       CHAPEL HILL      TN   37034‐2075
STEMPLE, RICHARD L          4058 CANEY CREEK LN                                                                       CHAPEL HILL      TN   37034‐2075
STEMPLE, SHERRI R           2853 FIKE RD                                                                              JASPER           MI   49248‐9705
STEMPLE, STEPHEN W          115 LOUGH AVE                   CRYSTAL SRPINGS                                           ELKINS           WV   26241‐8525
STEMPLE, WILLIAM J          1036 SOUTH ST                                                                             MOUNT MORRIS     MI   48458‐2041
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Name                           Address1                        Address2                      Address3   Address4                City                  State Zip
STEMPLEWSKI, VIRGINIA M        25500 HARMON ST                                                                                  SAINT CLAIR SHORES     MI 48081‐3342
STEMPLEWSKI, VIRGINIA M        25500 HARMON                                                                                     ST CLAIR SHORES        MI 48081‐3342
STEMPLINSKI, GEORGIA           15364 RADEMAKER DR                                                                               BROOK PARK             OH 44142‐2831
STEMPLINSKI, MICHAEL           15364 RADEMAKER DR                                                                               BROOK PARK             OH 44142‐2831
STEMPNIAK, LORRAINE C          28 NORTHWOOD DR                                                                                  LANCASTER              NY 14043
STEMPNIEWSKI DONALD            50737 RAINTREE CIR                                                                               CHESTERFIELD           MI 48047‐5709
STEMPNIEWSKI, DONALD N         50737 RAINTREE CIR                                                                               CHESTERFIELD           MI 48047‐5709
STEMPNIK, IRENE                32760 MCCONNELL CT                                                                               WARREN                 MI 48092‐3111
STEMPNIK, JOHN                 39577 BALBOA DR                                                                                  STERLING HTS           MI 48313‐4820
STEMPNIK, JOSEPH M             2423 MARLOW DR                                                                                   WARREN                 MI 48092‐5413
STEN ANDREA                    STEN, ANDREA                    745 WILLIAMS ST, APT # A                                         WASHINGTON             PA 15301‐5933
STEN OSCAR DESIGN              BOX 444                                                                  BORAS S 503 13 SWEDEN
STEN PUKERUD                   1307 MANOR DRIVE                                                                                 MARION                IN   46952‐1935
STEN PUKERUD                   1307 N MANOR DR                                                                                  MARION                IN   46952‐1935
STEN TED                       30943 VIA RIVERA                                                                                 RCH PALOS VRD         CA   90275‐5344
STEN, ANDREA                   113 QUEENS WAY                                                                                   CANONSBURG            PA   15317‐2292
STEN, ROBERT L                 9679 CAIN DR NE                                                                                  WARREN                OH   44484‐1719
STENBACK DOUGLAS               717 JENKINS BRIDGE RD                                                                            SIMPSONVILLE          SC   29680‐7011
STENBERG JAMES C (439540)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK               VA   23510
                                                               STREET, SUITE 600
STENBERG, ARLEA R              2209 ROBERTS BEND RD                                                                             COLUMBIA              TN   38401‐1582
STENBERG, GLORIA               APT 209                         1270 WISCONSIN STREET                                            LAKE GENEVA           WI   53147‐1747
STENBERG, GLORIA               1270 WISCONSIN ST APT 209                                                                        LAKE GENEVA           WI   53147‐1747
STENBERG, JAMES C              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK               VA   23510‐2212
                                                               STREET, SUITE 600
STENBERG, JEROLD               KELLER FISHBACK LLP             18425 BURBANK BLVD STE 610                                       TARZANA               CA   91356‐6918
STENBERG, MARLENE E            7515 N STURTEVANT RD                                                                             WHITEWATER            WI   53190
STENBERG, MARLENE E            7515 NORTH STURTEVANT ROAD                                                                       WHITEWATER            WI   53190‐3405
STENBERG, MICHAEL G            18 SMITH ST                                                                                      MOUNT CLEMENS         MI   48043‐2338
STENBERG, WILLIAM L            560 E 1ST AVE                                                                                    SUN VALLEY            NV   89433‐8008
STENCEL JR, GEORGE             303 MCMILLAN RD                                                                                  GROSSE POINTE FARMS   MI   48236‐3417
STENCEL MICHAEL                4441 CORNWELL LN                                                                                 WHITMORE LAKE         MI   48189‐9799
STENCEL, CATHY J               51221 LANDMARK                                                                                   BELLEVILLE            MI   48111‐4463
STENCEL, CATHY JO              51221 LANDMARK                                                                                   BELLEVILLE            MI   48111‐4463
STENCEL, GRACE R               4018 LAWNDALE ST                                                                                 DETROIT               MI   48210‐2079
STENCEL, ILENE M               49720 MARTZ RD                                                                                   BELLEVILLE            MI   48111‐4285
STENCEL, JOHN R                14570 BLUE SKIES ST                                                                              LIVONIA               MI   48154‐4966
STENCEL, MARC F                8117 LOCHDALE ST                                                                                 DEARBORN HTS          MI   48127‐1232
STENCEL, MARC FRANCIS          8117 LOCHDALE ST                                                                                 DEARBORN HTS          MI   48127‐1232
STENCEL, MICHAEL               2626 BRIDLE RD                                                                                   BLOOMFIELD HILLS      MI   48304‐1606
STENCEL, MICHAEL               4441 CORNWELL LN                                                                                 WHITMORE LAKE         MI   48189‐9799
STENCEL, PAUL                  29521 LEROY ST                                                                                   ROMULUS               MI   48174‐3117
STENCEL, RONALD W              1065 BLUE RIDGE CIR                                                                              CLARKSTON             MI   48348‐5212
STENCEL, VIRGINIA M            8855 W MELODY LN                                                                                 GREENFIELD            WI   53228‐3428
STENCH, JOHN R                 1545 GLORIA ST                                                                                   WESTLAND              MI   48186‐8925
STENCIL ILENE                  49720 MARTZ RD                                                                                   BELLEVILLE            MI   48111‐4285
STENCIL MIKE                   4441 CORNWELL LN                                                                                 WHITMORE LAKE         MI   48189‐9799
STENCIL, KEVIN                 7801 W WINFIELD AVE                                                                              MILWAUKEE             WI   53218‐1153
STENCILS & STRIPES UNLIMITED   RALPH M. GREINKE, JR.           1108 S CRESCENT AVE                                              PARK RIDGE            IL   60068‐4846
STENDARDO, ANTHONY             511 EMERSON ST                                                                                   ROCHESTER             NY   14613‐2112
STENDER, EMIL G                1950 ENGLE ST                                                                                    HUNTINGTON            IN   46750‐3933
STENDER, EMIL G.               1950 ENGLE ST                                                                                    HUNTINGTON            IN   46750‐3933
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Name                          Address1                          Address2                        Address3           Address4             City               State Zip
STENDER, JEREMY E             5424 W 200 N                                                                                              HUNTINGTON          IN 46750‐9007
STENDER, JERRY V              2076 ANN ARBOR DR                                                                                         PRUDENVILLE         MI 48651‐9513
STENELLA LINDA                STENELLA, LINDA                   STEWART C. CRAWFORD             223 N. MONROE ST                        MEDIA               PA 19063
STENELLA, LINDA               STEWART C. CRAWFORD               223 N MONROE ST                                                         MEDIA               PA 19063‐3019
STENELLA, LINDA               2 BROOKE LN                       PLYMOUTH                                                                PLYMOUTH MEETING    PA 19462‐1103
STENFELT, JAMES E             429 N MAIN ST                                                                                             WEBBERVILLE         MI 48892‐9707
STENGEL, JENNIE RAY           135 WILL SCARLET CT                                                                                       EL PASO             TX 79924‐5423
STENGEL, JENNIE RAY           135 WILL‐SCARLET                                                                                          EL PASO             TX 79924‐5423
STENGEL, JOHN H               712 GRIGGS ST SW                                                                                          GRAND RAPIDS        MI 49503‐8051
STENGEL, LYDIA                5190 HIGH ST                                                                                              BELGRADE            MT 59714‐8210
STENGEL, MARTHA E             2320 E TERRACE DR                                                                                         BLUFFTON            IN 46714‐9239
STENGEL, MARTHA EUGENIA       2320 E TERRACE DR                                                                                         BLUFFTON            IN 46714‐9239
STENGEL, MICHAEL T            85 JEFFREY DR                                                                                             AMHERST             NY 14228‐1930
STENGEL, WALTER J             4912 2ND A ST E                                                                                           BRADENTON           FL 34203‐4555
STENGER & STENGER             4095 EMBASSY SE SUITE A                                                                                   GRAND RAPIDS        MI 49546
STENGER JUDITH                380 26TH ST NW                                                                                            MASSILLON           OH 44647‐6007
STENGER, DAVID J              10175 GRAFTON RD                                                                                          CARLETON            MI 48117‐9584
STENGER, EDWARD C             1124 BELLTOWN RD                                                                                          TELLICO PLAINS      TN 37385‐5452
STENGER, ERICA N              5214 MEADOW CREST CIR                                                                                     HOLLY               MI 48442‐9352
STENGER, JOHN A               430 GLIDDEN RD                                                                                            BEAVERTON           MI 48612‐8149
STENGER, MARION K             570 STAFFORD AVE APT 3C                                                                                   BRISTOL             CT 06010‐4670
STENGER, MORRIS D             17748 GRANDE BAYOU CT                                                                                     FORT MYERS          FL 33908‐6116
STENGER, SUSAN E              4476 MOLLWOOD DR                                                                                          FLINT               MI 48506‐2007
STENGL, JOSEF                 262 LAWTON RD                                                                                             RIVERSIDE            IL 60546‐2337
STENGLE, GARY R               5498 N HORIZON DR                                                                                         NORTH PLATTE        NE 69101‐9598
STENGLEIN, STEPHEN G          370 ELM ST                                                                                                STRUTHERS           OH 44471‐1108
STENHOUSE ARTHUR (631530)     COON BRENT & ASSOCIATES           2010 S BIG BEND BLVD                                                    SAINT LOUIS         MO 63117‐2404
STENHOUSE, ARTHUR             COON BRENT & ASSOCIATES           2010 S BIG BEND BLVD                                                    SAINT LOUIS         MO 63117‐2404
STENKE, ARTHUR L              287 PIPERS LN                                                                                             MOUNT MORRIS        MI 48458‐8703
STENKE, DIANE M               5010 ALGONQUIN BLVD                                                                                       CLARKSTON           MI 48348‐3303
STENKE, JAMES E               5010 ALGONQUIN BLVD                                                                                       CLARKSTON           MI 48348‐3303
STENKE, JAMES EDWARD          5010 ALGONQUIN BLVD                                                                                       CLARKSTON           MI 48348‐3303
STENKLYFT, JOAN               3922 OAK VALLEY DR                                                                                        KILLEEN             TX 76542
STENKLYFT, SHIRLEY A          18012 W LAKEVIEW DR                                                                                       TROUP               TX 75789‐3629
STENLI, LAVERNE J             1877 SANDSTONE CT                                                                                         LOVELAND            CO 80537‐5093
STENLI, ROBERT L              497 E WATTS SPRINGS RD                                                                                    EDGERTON            WI 53534‐8926
STENLUND, VERN                1220 CABANA RD W                                                                     WINDSOR ON N9G 1B7
                                                                                                                   CANADA
STENMAN, PAUL W               103 CHRISTINE DR                                                                                          AMHERST            NY   14228‐1312
STENNER, HANS H               909 PARK ST                                                                                               SYRACUSE           NY   13208‐2725
STENNER, IRVING H             915 DELTA WAY                     HIDDEN GLEN AT SUNTREE                                                  MELBOURNE          FL   32940‐6931
STENNETH ADAMSON AND MONICA   THE FERRARO LAW FIRM PA           4000 PONCE DE LEON BLVD SUITE                                           MIAMI              FL   33146
ADAMSON                                                         700
STENNETT, KEITH               GUY WILLIAM S                     PO BOX 509                                                              MCCOMB             MS   39649‐0509
STENNIE, EDWARD P             2644 SW 20TH CIR                                                                                          OCALA              FL   34471‐7768
STENNIS JR, HENRY             1848 SELMA AVE                                                                                            YOUNGSTOWN         OH   44504‐1302
STENNIS, D V                  2407 FAIRVIEW ST                                                                                          ANDERSON           IN   46016‐5051
STENNIS, GLORIA M             153 E PIPER AVE                                                                                           FLINT              MI   48505‐2717
STENNIS, JIMMY L              1518 COSTELLO DR                                                                                          ANDERSON           IN   46011‐3107
STENNIS, JIMMY L              312 WEST 34TH STREET                                                                                      ANDERSON           IN   46013‐3200
STENNIS, LINCOLN              COLOM LAW FIRM                    605 2ND AVE N                                                           COLUMBUS           MS   39701‐4513
STENNIS, MARY L               23677 MERRILL AVE                                                                                         SOUTHFIELD         MI   48075‐3421
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Name                       Address1                      Address2                        Address3                     Address4         City                  State Zip
STENNIS, OLLIE J           8049 S INDIANA                                                                                              CHICAGO                 IL 60619‐3506
STENNIS, ROBERT E          3725 N AUDUBON RD                                                                                           INDIANAPOLIS           IN 46218‐1835
STENNIS, ROSIE E           PO BOX 8061                                                                                                 WEST PALM BEACH        FL 33407‐0061
STENOTECH                  4570 HOWLEY CT                                                                                              SAGINAW                MI 48638‐4642
STENQUIST JR, HAROLD W     2561 N RUTGERS TER                                                                                          HERNANDO               FL 34442‐3484
STENQUIST JR, JOHN R       3412 SEEBALDT AVE                                                                                           WATERFORD              MI 48329‐4159
STENQUIST, RUBY J          26 FULLER RD                                                                                                WAYLAND                MA 01778‐4704
STENSBY WILLIAM (459367)   GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                                   NORFOLK                VA 23510
                                                         STREET, SUITE 600
STENSBY, WILLIAM           GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                                   NORFOLK               VA 23510‐2212
                                                         STREET, SUITE 600
STENSEN KERRY              1002 CARLISLE CIR                                                                                           GRAND LEDGE           MI   48837‐2265
STENSEN, KERRY C           1002 CARLISLE CIR                                                                                           GRAND LEDGE           MI   48837‐2265
STENSETH, JAMES D          1847 N 81ST ST                                                                                              WAUWATOSA             WI   53213‐2146
STENSKI, DINA R            2940 E 53RD ST                                                                                              ANDERSON              IN   46013‐3118
STENSLIEN, BARBARA L       3441 RUGER AVE                                                                                              JANESVILLE            WI   53546‐1931
STENSON JR, JOHN F         25745 LINCOLN ST                                                                                            NOVI                  MI   48375‐2037
STENSON, DAVID J           26447 MANDALAY CIR                                                                                          NOVI                  MI   48374‐2379
STENSON, DENNIS P          2530 ELKRIDGE CIR                                                                                           HIGHLAND              MI   48356‐2477
STENSON, JOHN K            4631 W 21ST ST                                                                                              CICERO                IL   60804‐2517
STENSON, LINDA S           23568 SUTTONS BAY DR                                                                                        CLINTON TWP           MI   48036‐1270
STENSON, MARK L            318 STONEHENGE DR                                                                                           CROSSVILLE            TN   38558‐6371
STENSON, PALMER C          2812 SW BRIGHTON WAY                                                                                        PALM CITY             FL   34990‐6068
STENTA HENRY A             STENTA, HENRY A               PO BOX 250                                                                    WILMINGTON            DE   19899‐0250
STENTA, ANTONIO            16163 HOMESTEAD CIR                                                                                         NORTHVILLE            MI   48168‐4315
STENTA, HENRY A            ERISMAN & CURTIN              PO BOX 250                                                                    WILMINGTON            DE   19899‐0250
STENTZ JEFF                2215 YORK RD STE 400                                                                                        OAK BROOK             IL   60523‐2378
STENTZ JEFFREY             8457 E ROCKTON RD                                                                                           ROSCOE                IL   61073‐9753
STENWALL, GERALD A         488 HENLEY DR                                                                                               BLOOMFIELD HILLS      MI   48304‐1820
STENZEL JR, DAUNT I        1853 PERRY POINT RD                                                                                         PENN YAN              NY   14527‐9714
STENZEL, ANDREW J          5145 LEDGEWOOD DR                                                                                           COMMERCE TOWNSHIP     MI   48382‐1434
STENZEL, ARNOLD H          41121 FOX RUN DR                                                                                            CLINTON TWP           MI   48038‐4638
STENZEL, DOROTHY J         920 E ROBINSON ST APT 7B                                                                                    NORTH TONAWANDA       NY   14120‐4764
STENZEL, DOROTHY J         920 E. ROBINSON ST. #7B                                                                                     NO TONAWANDA          NY   14120‐4764
STENZEL, GARY L            4712 HIGHWAY 511                                                                                            ROCKHOLDS             KY   40759‐9522
STENZEL, JEFFREY A         2344 ALLARD AVE                                                                                             GROSSE POINTE WOODS   MI   48236‐1914
STENZEL, JOAN E.           10916 SWANCREEK RD                                                                                          SAGINAW               MI   48609‐9119
STENZEL, JOAN E.           10916 SWAN CREEK RD                                                                                         SAGINAW               MI   48609‐9119
STENZEL, KENNETH J         3909 N MAIN ST                                                                                              MARION                NY   14505‐9579
STENZEL, MICHAEL P         1825 N WILLOW HWY                                                                                           LANSING               MI   48917‐1644
STENZEL, MYRON E           2068 CAYUGA DRIVE EXT                                                                                       NIAGARA FALLS         NY   14304‐2965
STENZEL, RICHARD C         359 DIVISION ST                                                                                             N TONAWANDA           NY   14120‐4634
STENZEL, RICHARD J         9487 E BENCH MARK LOOP                                                                                      TUCSON                AZ   85747‐5644
STENZEL, ROBERT H          51 KIOWA DR                                                                                                 FORT MYERS BEACH      FL   33931‐2400
STENZEL, SHIRLEY J         18330 EASTLAND ST APT 311                                                                                   ROSEVILLE             MI   48066‐2177
STEOGER, SPENCER E         47390 VICTORIAN SQ N                                                                                        CANTON                MI   48188‐6321
STEP, RITA K               4046 FIELD RD                                                                                               CLIO                  MI   48420‐8221
STEPAN COMPANY             ATTN TIMOTHY W GARVEY ESQ     C/O LATSHA DAVIS YOHE &         350 EAGLEVIEW BLVD STE 100                    EXTON                 PA   19341
                                                         MCKENNA PC
STEPAN COMPANY             ATTN TIMOTHY W GARVEY ESQ     LATSHA DAVIS YOHE & MCKENNA P C 350 EAGLEVIEW BLVD SUITE                      EXTON                  PA 19341
                                                                                         100
STEPAN JOHN                STEPAN, JOHN                  921 W WOOMAN STREET                                                           BUTTE                 MT 59701
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Name                         Address1                          Address2                      Address3   Address4                City                State Zip
STEPAN KARPOWITSCH           4749 TIPTON DR                                                                                     TROY                 MI 48098‐4466
STEPAN SAHAKIAN              19972 BRENTWOOD ST                                                                                 LIVONIA              MI 48152‐2011
STEPAN, JOHN                 921 W WOOMAN STREET                                                                                BUTTE                MT 59701
STEPAN, JOHN                 921 W WOOLMAN ST                                                                                   BUTTE                MT 59701‐8731
STEPAN, JOSEPH R             3522 W VILLA RITA DR                                                                               GLENDALE             AZ 85308‐2822
STEPAN, LORETTA L            52238 BIRCH CT                                                                                     CHESTERFIELD         MI 48047‐4574
STEPANEK, JOHN W             8669 SCENIC BLUFF LN                                                                               WHITE LAKE           MI 48386‐2058
STEPANEK, WILLIAM L          12612 N GATE RD                                                                                    ROSCOE                IL 61073‐7618
STEPANIAK SR, DANIEL J       5915 BUTMAN RD                                                                                     GLADWIN              MI 48624‐9254
STEPANIAK, GEORGE T          1170 CONCORD CT                                                                                    NORTHVILLE           MI 48167‐3310
STEPANIAK, LOVEDA G          LOVEDA BURNETT                    6815 FLOYD                                                       OP                   KS 66204
STEPANIAN, CHARLES           1830 W WARDLOW RD                                                                                  HIGHLAND             MI 48357‐4323
STEPANIC, DONNA J            640 MAPLEWOOD DR SE                                                                                BROOKFIELD           OH 44403‐9722
STEPANIC, JOHN E             640 MAPLEWOOD DR SE                                                                                BROOKFIELD           OH 44403‐9722
STEPANIC, MICHAEL            118 CARDINAL CIR                                                                                   HOCKESSIN            DE 19707‐2044
STEPANICH, JOHN R            12225 OAKMONT ST                                                                                   OVERLAND PARK        KS 66213‐2258
STEPANICH, MARY E            19841 N 92ND AVE                                                                                   PEORIA               AZ 85382‐0988
STEPANICK, KEVIN W           PO BOX 1222                                                                                        SPRING HILL          TN 37174‐1222
STEPANICK, PATRICIA M        6220 MOCKINGBIRD LN                                                                                FLINT                MI 48506‐1606
STEPANOFF, PETER P           13440 TAMARACK PL                                                                                  CHOCTAW              OK 73020‐7611
STEPANOVICH, DAVID F         08175 ‐14 TRILLIUN CT                                                                              CHARLEVOIX           MI 49720
STEPANOVICH, THOMAS G        911 CRAMTON AVE NE                                                                                 ADA                  MI 49301‐9526
STEPANOVICH, THOMAS GERARD   911 CRAMTON AVE NE                                                                                 ADA                  MI 49301‐9526
STEPANSKI, BEATRICE F        3960 E SMITH RD                                                                                    BAY CITY             MI 48706‐1745
STEPANSKI, EDWARD J          9305 W CIRCLE DR                                                                                   STANWOOD             MI 49346‐9610
STEPANSKI, JAMES P           3960 E SMITH RD                                                                                    BAY CITY             MI 48706‐1745
STEPANSKI, LILLIAN           1971 ANDOVER DR                                                                                    SUPERIOR TOWNSHIP    MI 48198‐9411
STEPANSKI, LYNNE S           1555 N TRUMBULL ST                                                                                 BAY CITY             MI 48708‐5538
STEPCHUK, GORDON M           36119 HAVERFORD PLACE                                                                              AVON                 OH 44011‐3466
STEPE, MARITA                1267 GREENGLEN CT                                                                                  BLOOMFIELD           MI 48304‐1232
STEPEK, JUDITH E             3025 FRIGATE WAY                                                                                   NORTH LAS VEGAS      NV 89084‐2468
STEPENSON, LAURA             MCGEE WILLIAM R LAW OFFICES OF    16855 W BERNARDO DR STE 380                                      SAN DIEGO            CA 92127‐1626
STEPHAINE R HARDIN           4439 CLARENDON DR                                                                                  DAYTON               OH 45440
STEPHAN & REGINE JAEGER      AUF DEM KAPPUS 12                                                          D 41542 DORMAGEN
                                                                                                        GERMANY
STEPHAN & RENATE KOEMM       FASANENWEG 7                                                               82110 GERMERING
                                                                                                        GERMANY
STEPHAN ANDERS               FRANZ‐VON‐DEFREGGER‐STRASSE 22                                             D 83607 HOLZKIRCHEN
                                                                                                        GERMANY
STEPHAN BENTLEY              9208 S KESTREL RIDGE RD                                                                            BRIGHTON            MI 48116‐5153
STEPHAN BIGGS                52352 ACORN CIR                                                                                    AMHERST             OH 44001‐9466
STEPHAN BILLER               1789 WASHINGTON BLVD                                                                               BIRMINGHAM          MI 48009‐1917
STEPHAN B╓S                  KALTBACHTAL 21                                                             56377 NASSAU GERMANY
STEPHAN BRACKMANN            TAXISSTR. 10                                                               D‐86153 AUGSBURG
                                                                                                        GERMANY
STEPHAN CHOPE                26839 N DIXBORO RD                                                                                 SOUTH LYON          MI 48178‐9104
STEPHAN CROSS                5691 WINTERSET DR                                                                                  ELMIRA              MI 49730‐9603
STEPHAN DAHM                 SIERICHSTR. 102
STEPHAN DAHM                 SIERICHSTRASSE 102                                                         22299 HAMBURG
STEPHAN DONNA                PO BOX 4702                                                                                        PALM SPRINGS         CA 92263‐4702
STEPHAN DRUSKATH             WINGERTSTR 25                                                              60316 FRANKFURT
                                                                                                        GERMANY
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Name                     Address1                        Address2                      Address3   Address4                City                 State Zip
STEPHAN EDER             PALNKAM 7                       83624 OTTERFING                                                  OTTERFING
STEPHAN EDER             KAMMERMAYRSTR. 20                                                                                STEYR                      4400
STEPHAN EDER             KAMMERMAYRSTR. 20               4400 STEYR
STEPHAN EDER             C/O HARALD EDER                 KAMMERMAYRSTR. 20                                                4400 STEYR AUSTRIA
STEPHAN ERKENS           GRUNEWALDSTRA▀E 12              D‐47608 GELDERN
STEPHAN F CAMPBELL       1507 KENTUCKY HWY 1284 W                                                                         BERRY                 KY 41003‐‐ 00
STEPHAN FANCHER          3220 E RATTALEE LAKE RD                                                                          HOLLY                 MI 48442‐8696
STEPHAN FITTKAU          105 CECIL STREET #06‐01                                                  SINGAPORE 069534
STEPHAN FRANKLIN         23720 MARINE AVE                                                                                 EASTPOINTE            MI 48021‐3422
STEPHAN FREITAG          MORELLENWEG 1 A                                                          HAMBURG 22043
STEPHAN GEISSLER         GAUSSSTR 39                     FRANKFURT AM MAIN DE 60316    GERMANY
STEPHAN GORDON           18 DAKOTA ST                                                                                     PONTIAC               MI 48341‐1101
STEPHAN GREEN            2106 GILEAD AVENUE                                                                               ZION                  IL 60099‐2247
STEPHAN GREGOR           BEETHOVENSTRA E 96                                                       58097 HAGEN GERMANY
STEPHAN HAHN             KIMMELSBACH 45                                                           97494 BUNDORF UFR,
                                                                                                  GERMANY
STEPHAN HALL
STEPHAN HAMILTON         PO BOX 132                                                                                       ALTO                 MI    49302‐0132
STEPHAN HANSMANN         16084 AMORE ST                                                                                   CLINTON TWP          MI    48038‐2512
STEPHAN HELIK            1109 CORNERSTONE DR                                                                              CORPUS CHRISTI       TX    78418‐4533
STEPHAN HIGHFIELD        47086 EXWORTHY CT                                                                                SHELBY TOWNSHIP      MI    48315‐4807
STEPHAN JAMIESON         THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                      HOUSTON              TX    77017
STEPHAN JEFF             12110 LOUISE AVE                                                                                 GRANADA HILLS        CA    91344‐1930
STEPHAN JONES            PO BOX 255                                                                                       GRATIS               OH    45330‐0255
STEPHAN JR, THEODORE R   6691 12TH AVE                                                                                    JENISON              MI    49428‐9350
STEPHAN KAPFERER         C/O KONRAD KAPFERER             UNTERSEESTR 27                           CH‐8280 KREUZLINGEN /
                                                                                                  SWITZERLAND
STEPHAN KASPAR           WITTMANNSTRASSE 38                                                       64285 DARMSTADT
                                                                                                  GERMANY
STEPHAN KASPAR           WITTMANNSTR 38                                                           64285 DARMSTADT
                                                                                                  GERMANY
STEPHAN KISS
STEPHAN KOTT             1250 BENNETT RD                                                                                  LANSING               MI 48906‐1880
STEPHAN KOZLOWSKI        24906 S SYLBERT DR                                                                               REDFORD               MI 48239‐1642
STEPHAN KRAMER           SEXTROSTR. 17                   D‐30169 HANNOVER                                                 HANNOVER
STEPHAN KRAMER           SEXTROSTR 17                                                             D‐30169 HANNOVER
                                                                                                  GERMANY
STEPHAN L MCDONALD       4133 MEADOWCROFT FOAD                                                                            KETTERING            OH    45429‐5027
STEPHAN MAKRINOS         236 HIGHWAY VIEW DR                                                                              MCMURRAY             PA    15317
STEPHAN MCPHEARSON       309 WINDING WAY                                                                                  FRANKTON             IN    46044‐9600
STEPHAN P SWEETON        7032 KALANAIAOL HIGHWAY                                                                          HONOLULU             HI    96825
STEPHAN PUST             ARNOLD‐SCHL▄TER‐WEG 11          33100 PADERBORN
STEPHAN PUST             ARNOLD‐SCHLUETER‐WEG 11                                                  33100 PADERBORN
                                                                                                  GERMANY
STEPHAN R MCDOLE         414 MAJESTIC                                                                                     DAYTON               OH    45427
STEPHAN REMESCH          245 LIBERTY GROVE RD                                                                             PORT DEPOSIT         MD    21904‐1003
STEPHAN RHODES           6453 S DERBY DR                                                                                  COLUMBIA CITY        IN    46725‐9232
STEPHAN RUH              2322 JANET CT                                                                                    ANDERSON             IN    46012‐9637
STEPHAN SARI             3901 71ST ST W LOT 23                                                                            BRADENTON            FL    34209‐6520
STEPHAN SCHERER          SCHMUTTERSTR. 3                                                          86420 DIEDORF GERMANY
STEPHAN SIKORSKI         14780 FALLEN OAK CT                                                                              SHELBY TWP            MI 48315‐4317
STEPHAN SOWA             8245 KINMORE ST                                                                                  DEARBORN HEIGHTS      MI 48127‐1231
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Name                        Address1                           Address2               Address3      Address4                City                 State Zip
STEPHAN STEARNS             1871 HAMPSHIRE CT                                                                               COMMERCE TWP          MI 48382‐1554
STEPHAN SWEETON             201 OHUA AVE #1207                                                                              HONOLULU              HI 96815‐3653
STEPHAN THEIS               2032 WATKINS LAKE RD                                                                            WATERFORD             MI 48328‐1432
STEPHAN TOTH                59 APPLEGATE RD                                                                                 JOBSTOWN              NJ 08041‐2202
STEPHAN U. CLAUDIA KRUPOP   DR STEINHUBEL & V BUTTLAR          L╓FFELSTRASSE 44                     70597 STUTTGART
                            RECHTSANWALTE                                                           GERMANY
STEPHAN W JONES             P O BOX 255                                                                                     GRATIS               OH 45330
STEPHAN WATSON              4333 TERPENING RD                                                                               HARBOR SPRINGS       MI 49740‐9777
STEPHAN WELLMER             ESCHENAUER STRASSE 11              70437 STUTTGART
STEPHAN WIESE               BRESSLAUER STR 43A                 04299 LEIPZIG
STEPHAN WITTER              OBERSTR 31                                                                                      ISSUM                     47661
STEPHAN ZINKE               STOBURGES STR 9A                   D‐09306 ROCHLITZ                     ROCHLITZ DE 09306
                                                                                                    GERMANY
STEPHAN, BARRY C            6752 HIGHMEADOW DR SW                                                                           BYRON CENTER         MI   49315‐8360
STEPHAN, BLANCHE E          3971 BRADFORD CT.                                                                               POWELL               OH   43065
STEPHAN, CHESTER L          5561 W NEW MARKET RD                                                                            HILLSBORO            OH   45133‐7723
STEPHAN, JAMES R            8819 PHEASANT VALLEY WAY                                                                        LAS VEGAS            NV   89123‐3644
STEPHAN, JANET A            10213 SORENSTAM DR                                                                              TRINITY              FL   34655‐4661
STEPHAN, JOHN G             1809 THOMAS DR                                                                                  EAST TROY            WI   53120‐1326
STEPHAN, JOHN L             159 HILLCREST ST                                                                                MANSFIELD            OH   44907‐1639
STEPHAN, JOHN P             8355 MCCARTY RD                                                                                 SAGINAW              MI   48603‐9680
STEPHAN, KAREN              159 HILLCREST                                                                                   MANSFIELD            OH   44907‐1639
STEPHAN, KEITH J.
STEPHAN, MICHAEL M          PO BOX 123                                                                                      WAPITI               WY   82450‐0123
STEPHAN, RALPH D            2015 E HOUGHTON LAKE DR                                                                         HOUGHTON LAKE        MI   48629‐7601
STEPHAN, ROBERT J           26700 LARCHMONT ST                                                                              SAINT CLAIR SHORES   MI   48081
STEPHAN, ROBERT M           7635 BLACKMAR CIR                                                                               PORTAGE              MI   49024‐4089
STEPHAN, SARA L             10173 HOUNSDALE DR                 PO BOX 195                                                   PICKERINGTON         OH   43147‐9767
STEPHAN, SHIRLEY R          5 EASTBURY CT                                                                                   ANN ARBOR            MI   48105‐1402
STEPHAN, THOMAS R           10526 E SHEENA DR                                                                               SCOTTSDALE           AZ   85255‐1743
STEPHAN, WOLFGANG R         3614 CARTWRIGHT CT                                                                              BONITA SPRINGS       FL   34134‐7570
STEPHANA GLIGOROFF          565 N RHODES AVE                                                                                NILES                OH   44446‐3825
STEPHANA R BITTLE           222 GUM STREET                                                                                  JACKSONVILLE         AR   72076‐4513
STEPHANE SALADIN            ROUTE DE GRANCY 24                                                      COTTENS VD 1116
                                                                                                    SWITZERLAND
STEPHANE VERMETTE           C/O PAQUETTE GADLER INC            00, PLACE D'YOUVILLE   BUREAU B‐10   MONTREAL QUEBEC H2Y
                                                                                                    2B6
ST╔PHANE VERMETTE           300 PLACE D'YOUVILLE, B‐10                                                                      MONTR╔AL                  H2Y2B
STEPHANI BAKER              1246 E YALE AVE                                                                                 FLINT                MI   48505‐1753
STEPHANI BUBLEWICZ          353 TINDALL AVE                                                                                 TRENTON              NJ   08610‐5336
STEPHANI RICKARD            9888 JOAN CIR                                                                                   YPSILANTI            MI   48197‐6911
STEPHANIA BIALECKI          17 ROSER ST                                                                                     ROCHESTER            NY   14621‐2335
STEPHANIA JANKOWSKI         300 DIAMOND AVE NE                                                                              GRAND RAPIDS         MI   49503‐3625
STEPHANIA KRASUSKI          165 S OGDEN ST                                                                                  BUFFALO              NY   14206‐3521
STEPHANIA ROBBINS           18 BOYD LN                                                                                      BEDFORD              IN   47421‐9085
STEPHANIA SLUSAR            91 MARY DR                                                                                      ROCHESTER            NY   14617‐4511
STEPHANIA SZYMCZAK          44 NASH ST                                                                                      BUFFALO              NY   14206‐3320
STEPHANIA YAKES             5837 FIVE LAKES RD                                                                              NORTH BRANCH         MI   48461‐9637
STEPHANIC, FRANK C          9127 LUEA LN                                                                                    SWARTZ CREEK         MI   48473‐1005
STEPHANIE
STEPHANIE A BRADNER         1103 S HARRIS RD APT 101                                                                        YPSILANTI            MI 48198‐6562
STEPHANIE A CRAMER          428 S 8TH ST                                                                                    MIAMISBURG           OH 45342‐3306
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Name                                 Address1                              Address2                Address3   Address4         City                 State Zip
STEPHANIE A HOLMES                   357 EASTWYCK CIR                                                                          DECATUR               GA 30032‐6661
STEPHANIE A MABREY                   4350 SEA CV                                                                               NEW SMYRNA            FL 32169‐3933
STEPHANIE A O'SHEA                   2745 HOLMAN ST.                                                                           MORAINE               OH 45439
STEPHANIE A PETERSON                 1016 4TH ST                                                                               BAY CITY              MI 48708‐6020
STEPHANIE A PRINTUP                  2900 N VERITY PKWY #7                                                                     MIDDLETOWN            OH 45042
STEPHANIE A SCOTT                    25 MEADOW DR                                                                              DAYTON                OH 45416
STEPHANIE A TAYL0R                   25 GRAMONT AVE                                                                            DAYTON                OH 45417‐2254
STEPHANIE A WALLACE                  1219 GREYSTONE CIRCLE                                                                     DAYTON                OH 45414
STEPHANIE A ZIEGLER                  1477 SOUTHERN BLVD NW                                                                     WARREN                OH 44485
STEPHANIE ALLEN                      4410 BRIAR RIDGE DR                                                                       SHREVEPORT            LA 71119‐8422
STEPHANIE ALLEN                      2609 W 23RD ST                                                                            ANDERSON              IN 46011‐4014
STEPHANIE ALMEIDA                    435 WINTERGREEN DR                                                                        WADSWORTH             OH 44281‐8621
STEPHANIE ANDREWS                    73 PENN LYLE RD                                                                           PRINCETON JCT         NJ 08550‐1627
STEPHANIE ANDREWS                    20621 WOODSIDE ST                                                                         HARPER WOODS          MI 48225‐2209
STEPHANIE ARCH                       205 SUNVIEW DR                                                                            SAINT CHARLES         MI 48655‐1013
STEPHANIE B GRZYWINSKI               2378 PONDS CT                                                                             SHELBY TWP            MI 48317‐4508
STEPHANIE BAILEY                     4704 SEACHEST LN                                                                          ARLINGTON             TX 76016‐5377
STEPHANIE BAKER                      557 MICHIGAN AVE                                                                          MANSFIELD             OH 44905‐2053
STEPHANIE BALINSKI                   30115 FLANDERS AVE                                                                        WARREN                MI 48088‐5832
STEPHANIE BANKS                      1099 RIVER VALLEY DR APT 1                                                                FLINT                 MI 48532‐2991
STEPHANIE BARKER                     5569 OLIVE TREE DR                                                                        TROTWOOD              OH 45426‐1310
STEPHANIE BARTA                      G5201 WOODHAVEN COURT                 APT. 502                                            FLINT                 MI 48532
STEPHANIE BARTUS                     210 ROUTE 837                         RESIDENT AT HILLTOP                                 MONONGAHELA           PA 15063‐1036
STEPHANIE BAXTER                     2540 ALTOONA ST                                                                           FLINT                 MI 48504‐7701
STEPHANIE BIVENS                     302 BATES RD                                                                              LORETTO               TN 38469‐2034
STEPHANIE BLAIR                      PO BOX 23026                                                                              NASHVILLE             TN 37202‐3026
STEPHANIE BLASER                     5690 28 MILE RD                                                                           WASHINGTON            MI 48094‐1201
STEPHANIE BOOTH                      12063 JUNIPER WAY APT 914                                                                 GRAND BLANC           MI 48439‐2105
STEPHANIE BRIGGS                     3831 E 147TH ST                                                                           CLEVELAND             OH 44128‐1026
STEPHANIE BROWN                      206 EAST NORTH ST.                                                                        GRATIS                OH 45330
STEPHANIE BROWN                      122 E NORTHRUP ST                                                                         LANSING               MI 48911‐3716
STEPHANIE BROWN                      12891 CROFTSHIRE DR                                                                       GRAND BLANC           MI 48439‐1543
STEPHANIE BROWN                      2292 FREDONIA AVE                                                                         FLINT                 MI 48504‐6516
STEPHANIE BUER                       1041 BEACONSFIELD AVE                                                                     GROSSE POINTE PARK    MI 48230‐1346
STEPHANIE C MANN                     1837 AUBURN AVE                                                                           DAYTON                OH 45406
STEPHANIE C STEPHENS                 7701 WOODWARD AVE                                                                         DETROIT               MI 48202‐2819
STEPHANIE CASH SPECIAL ADMINISTRATOR BRUCE N COOK C/O COOK YSURSA ET AL    12 W LINCOLN STREET                                 BELLEVILLE             IL 62220
OF THE ESTATE OF ERIC CASH

STEPHANIE CHAMBERS                   429 WEST MAPLE ROAD                                                                       CLAWSON              MI   48017‐1110
STEPHANIE CHARLES                    116 TRODER ST                                                                             BRYAN                OH   43506‐9147
STEPHANIE CIARAMITARO                30588 LYNN CT                                                                             CHESTERFIELD TWP     MI   48051
STEPHANIE CLACK                      19315 GRIGGS ST                                                                           DETROIT              MI   48221‐1439
STEPHANIE CLARK                      C/O THE LAW OFFICE OF PAUL SULLIVAN   443 OSBORN AVE STE106                               BIGFORK              MT   59911

STEPHANIE CLINE                      33724 WARREN RD                                                                           WESTLAND             MI   48185‐2749
STEPHANIE COBB                       1623 NW 75TH ST                                                                           KANSAS CITY          MO   64118‐8391
STEPHANIE COLE                       PO BOX 3106                                                                               CENTER LINE          MI   48015‐0106
STEPHANIE CORKER                     3938 RESEDA RD                                                                            WATERFORD            MI   48329‐2557
STEPHANIE CORNE                      3130 GARY RD                                                                              MONTROSE             MI   48457‐9365
STEPHANIE CRAMER                     428 S 8TH ST                                                                              MIAMISBURG           OH   45342‐3306
STEPHANIE D BANKS                    3505 MICHIGAN AVE                                                                         DAYTON               OH   45416‐1926
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Name                      Address1                          Address2         Address3         Address4         City              State Zip
STEPHANIE D ENASKO        3591 WOODBINE AVE SE                                                                 WARREN             OH 44484
STEPHANIE D FOURNIER      5277 VINEYARD LANE                                                                   FLUSHING           MI 48433‐2437
STEPHANIE D LOUIE         263 MARSTON ST                                                                       DETROIT            MI 48202‐2541
STEPHANIE D MOORE         134 LORENE DR                                                                        RED OAK            TX 75154‐2904
STEPHANIE D POSTON        2921 OLD SELLARS RD                                                                  MORAINE            OH 45439
STEPHANIE D'ANGELO        4600 CONNECTICUT AVE NW APT 929                                                      WASHINGTON         DC 20008‐5723
STEPHANIE DAIGLE          138 BELLEVUE AVE                                                                     LAKE ORION         MI 48362‐2704
STEPHANIE DAUGHERTY       738 HIGHLAND SPRINGS CT                                                              KOKOMO             IN 46902‐4890
STEPHANIE DOYLE           9728 BARKSDALE DR                                                                    KELLER             TX 76248‐6024
STEPHANIE DUGAN           10 SUSSEX PLACE                                                                      FORKED RIVER       NJ 08731‐5610
STEPHANIE DUNHAM          319 ENOLA MAE DR                                                                     MARSHALL           TX 75670‐0802
STEPHANIE E BRIDGES       133 N. SPERLING AVE                                                                  DAYTON             OH 45403
STEPHANIE E DZIEKAN       6685 WEST SWEDEN RD                                                                  BERGEN             NY 14416‐9525
STEPHANIE E SMITH         23465 HAYNES                                                                         FARMINGTON         MI 48024
STEPHANIE ELYNICH         24 BERGEN AVE                                                                        N ARLINGTON        NJ 07031‐5207
STEPHANIE ERNSTER         43925 SETTLERS CREEK CT                                                              NOVI               MI 48375‐2337
STEPHANIE FEHNEL          259 GREVE DR                                                                         NEW MILFORD        NJ 07646‐2313
STEPHANIE FILES           563 CALADIUM CT                                                                      KERNERSVILLE       NC 27284‐9060
STEPHANIE FLIS            1218 BURCHAM DRIVE                                                                   EAST LANSING       MI 48823‐3603
STEPHANIE FLORES          3380 HUMPHREY HWY                                                                    PALMYRA            MI 49268‐9781
STEPHANIE FOURNIER        5277 VINEYARD LANE                                                                   FLUSHING           MI 48433‐2437
STEPHANIE FRANCHI         7238 CASCADE RD SE                                                                   GRAND RAPIDS       MI 49546‐7309
STEPHANIE FRIEND          2517 TAFT AVE                                                                        YOUNGSTOWN         OH 44502‐2658
STEPHANIE G FLORES        3380 HUMPHREY HWY                                                                    PALMYRA            MI 49268‐9781
STEPHANIE G SIMCOX        8793 SQUIRREL HILL DR NE                                                             WARREN             OH 44484‐2059
STEPHANIE GALBREATH       397 MELANIE CT                                                                       LINDEN             MI 48451‐9121
STEPHANIE GATES           2160 N THOMPSON LN APT H3                                                            MURFREESBORO       TN 37129‐6029
STEPHANIE GEHL            2968 RIVER TRAIL DR                                                                  ROCHESTER HILLS    MI 48309‐3203
STEPHANIE GOOD            15371 DEVOE ST                                                                       SOUTHGATE          MI 48195‐3296
STEPHANIE GORAL           22516 CLEARWATER DR                                                                  MACOMB             MI 48044‐3733
STEPHANIE GREEN           3 LA ROCHELLE CT                                                                     NEWARK             DE 19702‐5537
STEPHANIE GRZYWINSKI      2378 PONDS CT                                                                        SHELBY TWP         MI 48317‐4508
STEPHANIE GUSKA           11840 MEADOWBROOK DR                                                                 CLEVELAND          OH 44130
STEPHANIE HANDY           139 W HIGH ST                                                                        HICKSVILLE         OH 43526‐1029
STEPHANIE HARBIN          16245 SAN JUAN DR                                                                    DETROIT            MI 48221‐2918
STEPHANIE HAWKINS         8073 E LIPPINCOTT BLVD                                                               DAVISON            MI 48423‐8301
STEPHANIE HAYHURST
STEPHANIE HENSON          120 S SCATTERFIELD RD                                                                ANDERSON          IN   46012‐3105
STEPHANIE HICKEY          4157 DEWBERRY LANE                                                                   BURTON            MI   48529‐2238
STEPHANIE HIGDON          11222 WIRRA WIRRA HILL                                                               ROANOKE           IN   46783‐8921
STEPHANIE HNATKO          6475 CURWOOD DR                                                                      EAST SYRACUSE     NY   13057‐1540
STEPHANIE HOCHHAUS        GOETTELMANNSTR. 53                55131 MAINZ      GERMANY
STEPHANIE HOLLAND         69 COPPERFIELD CT                                                                    JACKSON           MS   39206‐2421
STEPHANIE HOLLINGSWORTH   9515 W MORSE ST                                                                      YORKTOWN          IN   47396‐1524
STEPHANIE HOLLOWAY        PO BOX 150256                                                                        ARLINGTON         TX   76015‐6256
STEPHANIE HOLMES          357 EASTWYCK CIR                                                                     DECATUR           GA   30032‐6661
STEPHANIE HOMEN           115 CRYSTAL AVE                                                                      BUFFALO           NY   14220‐1841
STEPHANIE HORTON          2500 MEADOWWOOD TRL APT 5201                                                         ARLINGTON         TX   76014‐4618
STEPHANIE HUGHES          101 MCPHERSON AVE                                                                    LANSING           MI   48915‐1759
STEPHANIE I FELTMAN       787 CAMPBELL AVE                  APT 25                                             YPSILANTI         MI   48198‐3860
STEPHANIE J ALLEN         4410 BRIAR RIDGE DR                                                                  SHREVEPORT        LA   71119‐8422
STEPHANIE J HALLIFAX      84 DUNLOP AVE                                                                        TONAWANDA         NY   14150‐7809
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Name                              Address1                        Address2            Address3         Address4             City                State Zip
STEPHANIE J HILL                  7841 COUNTRY VIEW LN                                                                      BROOKVILLE           OH 45309
STEPHANIE J HILL                  3573 MISSISSIPPI DR NW A                                                                  MINNEAPOLIS          MN 55433
STEPHANIE J JOHNSTON              2120 9TH ST                                                                               WYANDOTTE            MI 48192‐3863
STEPHANIE J MOODY                 4017 DELPHOS AVE                                                                          DAYTON               OH 45407‐1220
STEPHANIE J NANTAMBU              PO BOX 491192                                                                             LAWRENCEVILLE        GA 30049‐0020
STEPHANIE J SILVAS                1022 CLEO ST                                                                              LANSING              MI 48915‐1438
STEPHANIE J WILLIAMS              201 SO. HEINCKE RD. APT.R                                                                 MIAMISBURG           OH 45342
STEPHANIE J ZELLERS               55 SPRINGWOOD DR                                                                          SPRINGBORO           OH 45066
STEPHANIE JANOWSKI                1971 WEATHERHILL DR                                                                       DEXTER               MI 48130‐9592
STEPHANIE JEROMIN                 8210 BEAVERLAND                                                                           DETROIT              MI 48239‐1104
STEPHANIE JOHNSON                 601 ELLINGTON DR                                                                          FRANKLIN             TN 37064‐5024
STEPHANIE JOHNSON                 38784 DONALD ST                                                                           LIVONIA              MI 48154‐4710
STEPHANIE JOHNSON                 251 PRESERVE PARK PL                                                                      O FALLON             MO 63366‐4841
STEPHANIE JOHNSTON                2120 9TH ST                                                                               WYANDOTTE            MI 48192‐3863
STEPHANIE JONES                   18822 CHAREST ST                                                                          DETROIT              MI 48234‐1624
STEPHANIE JORDAN                  1214 HARVARD BLVD                                                                         DAYTON               OH 45406‐5927
STEPHANIE JOYNER                  2007 BAIRNSDALE DR                                                                        THOMPSONS STATION    TN 37179‐9726
STEPHANIE JUBA                    69 HERMANN ST                                                                             CARTERET             NJ 07008‐1358
STEPHANIE K HENSON                120 S SCATTERFIELD RD                                                                     ANDERSON             IN 46012‐3105
STEPHANIE K MAYBERRY              7215 E WALNUT GROVE RD                                                                    TROY                 OH 45373
STEPHANIE K SPOERR                1128 NILES CORTLAND RD NE                                                                 WARREN               OH 44484‐1007
STEPHANIE K TOLBERT               PO BOX 320004                                                                             FLINT                MI 48532‐0001
STEPHANIE K WHITTAKER             107 S PLEASANT VALLEY AVE                                                                 DAYTON               OH 45404‐2646
STEPHANIE KATH                    AN DEN SCHULWIESEN 37                                                63263 NEU‐ISENBURG
                                                                                                       GERMANY
STEPHANIE KIDRICK                 327 UNIVERSE DR                                                                           MARTINSBURG         WV   25404‐3496
STEPHANIE KLAMECKI                170 PINE LAKES DR W                                                                       LAPEER              MI   48446‐4502
STEPHANIE KOSZCZUK                19106 PEACEFUL STREAM DR                                                                  LEESBURG            VA   20176‐1698
STEPHANIE KOWALSKI                7455 E CARPENTER RD                                                                       DAVISON             MI   48423‐8914
STEPHANIE KOZAK                   2370 HIGHWAY 55 E                                                                         CLOVER              SC   29710‐9146
STEPHANIE KRUPECKI                4601 S.RIVER RD.                                                                          EAST CHINA          MI   48054
STEPHANIE KUBINSKI                425 LATONA AVE                                                                            EWING               NJ   08618‐2715
STEPHANIE KUJAWA                  128 BELMONT AVE                                                                           LANCASTER           NY   14086‐1257
STEPHANIE KWIATKOWSKI             10171 FAETANO LN                                                                          MILAN               MI   48160‐9015
STEPHANIE L & ALFRED E DONNELLY   535 CARVERTON RD                                                                          WYOMING             PA   18644
STEPHANIE L ANDERSON              9225 W LAKESIDE DR                                                                        OKLAHOMA CITY       OK   73127‐9729
STEPHANIE L BARKER                5569 OLIVE TREE                                                                           TROTWOOD            OH   45426
STEPHANIE L BOONE                 925 GILLMER RD                                                                            LEAVITTSBURG        OH   44430
STEPHANIE L BRODACK               19 PIEDMONT ROAD                                                                          EDISON              NJ   08817‐4110
STEPHANIE L BROWN                 206 EAST NORTH ST.                                                                        GRATIS              OH   45330
STEPHANIE L COTHERN               PO BOX 3615                                                                               BROOKHAVEN          MS   39603‐7615
STEPHANIE L ELIAS                 4465 WOODRIDGE CT                                                                         WATERFORD           MI   48328
STEPHANIE L HILL                  1840 SPRING RIDGE CT                                                                      XENIA               OH   45385‐9801
STEPHANIE L LEWIS                 130 HILLDALE AVE                                                                          BOWLING GREEN       KY   42104
STEPHANIE L MARIN                 4000 BRADLEY BROWNLEE RD                                                                  CORTLAND            OH   44410‐9714
STEPHANIE L MCBRIDE               7326 STATE ROUTE 19 UNIT 1404                                                             MOUNT GILEAD        OH   43338‐9492
STEPHANIE L NEY                   2912 DAYTON PIKE                                                                          GERMANTOWN          OH   45327‐9337
STEPHANIE L NORTH                 2501 GUERNSEY DELL AVE                                                                    RIVERSIDE           OH   45404‐2415
STEPHANIE L POPLIN                411 N MAIN ST                                                                             SEVEN MILE          OH   45062
STEPHANIE L RUBLE                 1560 LAMBERS DR                                                                           NEW CARLISLE        OH   45344
STEPHANIE L SELLARDS              5800 PRINCE EDWARD WAY                                                                    DAYTON              OH   45424
STEPHANIE L SMITH                 5157 WELL FLEET DR                                                                        TROTWOOD            OH   45426‐1419
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Name                                 Address1                        Address2              Address3      Address4         City                  State Zip
STEPHANIE L THOMAS                   220LEXINGTON AVE                                                                     DAYTON                 OH 45407‐2138
STEPHANIE L WILLIAMS                 111 W 4TH ST                                                                         TILTON                  IL 61833‐7418
STEPHANIE LEE LAINO PERSONAL         C/O BRAYTON PURCELL             222 RUSH LANDING RD                                  NOVATO                 CA 94948‐6169
REPRESENTATIVE FOR LEONARD L LAINO

STEPHANIE LESIUK                     11472 CHICAGO RD                                                                     WARREN                MI   48093‐1149
STEPHANIE LEWIS                      130 HILLDALE AVE                                                                     BOWLING GREEN         KY   42104‐7907
STEPHANIE LILLY                      13221 LEVERNE                                                                        REDFORD               MI   48239‐4609
STEPHANIE LINDSTROM                  5965 SMITH RD                                                                        HAMBURG               NY   14075‐6138
STEPHANIE LOGES                      845 WESTHAFER RD                                                                     VANDALIA              OH   45377‐2838
STEPHANIE LOGUE                      1304 N 18TH ST                                                                       DECATUR               IL   62521
STEPHANIE M BAKER                    557 MICHIGAN AVE                                                                     MANSFIELD             OH   44905‐2053
STEPHANIE M BOGGS                    708 WOODLAWN                                                                         ENGLEWOOD             OH   45322‐1834
STEPHANIE M BRYANT                   1094 TERRY AVE                                                                       MOUNT MORRIS          MI   48458‐2568
STEPHANIE M BUCHANAN                 499 SPRINGRIDGE RD LOT E6                                                            CLINTON               MS   39056
STEPHANIE M COATES                   5129 RETFORD DR.                                                                     DAYTON                OH   45418‐2046
STEPHANIE M CORNE                    807 S PORTER ST                                                                      SAGINAW               MI   48602‐2209
STEPHANIE M GRAY                     141 WILDWOOD CT                                                                      GREENEVILLE           TN   37745
STEPHANIE M LAWSON                   7532 ABRAHAM CT.                                                                     DAYTON                OH   45414
STEPHANIE M SAMUEL                   371 THOMAS AVENUE                                                                    ROCHESTER             NY   14617‐2145
STEPHANIE M SCOTT                    640 DELAWARE ST APT 113                                                              DETROIT               MI   48202‐4400
STEPHANIE M SPLAN                    3024 SLEAFORD DR                                                                     WATERFORD             MI   48329‐3349
STEPHANIE M VAIL                     800 EUGENE ST                                                                        YPSILANTI             MI   48198‐6147
STEPHANIE M VAUGHN                   416 GARFIELD ST                                                                      YOUNGSTOWN            OH   44502
STEPHANIE M ZWISSLER                 2425 JOHN GLENN RD                                                                   DAYTON                OH   45420‐2526
STEPHANIE MAESHACK                   2673 DR MARTIN LUTHER KING DR                                                        SHREVEPORT            LA   71107‐4940
STEPHANIE MAHER                      1401 W CRESTVIEW DR                                                                  MUNCIE                IN   47302‐8708
STEPHANIE MAHNKEN                    401 DOC HENRY RD                                                                     GREENWOOD             MO   64034‐9778
STEPHANIE MAJHER                     8 BETTS DR                                                                           WASHINGTON CROSSING   PA   18977
STEPHANIE MALAVE                     1302 ROCK VALLEY DR                                                                  ROCHESTER             MI   48307‐6031
STEPHANIE MALIK                      39055 HARVEY AVE                                                                     LISBON                OH   44432‐9549
STEPHANIE MARINO                     33416 BROWNLEA DR                                                                    STERLING HTS          MI   48312‐6614
STEPHANIE MARSHALL                   9341 RIGGS ST                                                                        OVERLAND PARK         KS   66212‐1442
STEPHANIE MARTIN                     PO BOX 377                                                                           CLARKSTON             MI   48347‐0377
STEPHANIE MASITTO
STEPHANIE MAYS                       1233 BOYSENBERRY DR                                                                  DESOTO                TX   75115‐1440
STEPHANIE MAYS‐HURST                 720 SAINT CLAIR ST                                                                   DETROIT               MI   48214‐3660
STEPHANIE MC CARTER                  40 DOMEDION AVE                                                                      BUFFALO               NY   14211‐2109
STEPHANIE MCBRIDE                    7326 STATE ROUTE 19 UNIT 1404                                                        MOUNT GILEAD          OH   43338‐9492
STEPHANIE MESSER                     289 BEAUPRE AVE                                                                      GROSSE POINTE FARMS   MI   48236‐3352
STEPHANIE MICHALEK                   207 GRANT AVE                                                                        CLARENDON HILLS       IL   60514‐1326
STEPHANIE MILLER                     1400 HONEY LN                                                                        KOKOMO                IN   46902‐3920
STEPHANIE MIZE                       1990 GARDEN DR                                                                       GAINESVILLE           GA   30507‐5016
STEPHANIE MONTGOMERY                 58 ASCOT AVE                                                                         WATERFORD             MI   48328‐3500
STEPHANIE MONTGOMERY                 7215 CALKINS RD                                                                      FLINT                 MI   48532‐3011
STEPHANIE MOORE                      134 LORENE DR                                                                        RED OAK               TX   75154‐2904
STEPHANIE MROZ                       7938 HOWE DR                                                                         PRAIRIE VILLAGE       KS   66208‐4224
STEPHANIE MULLER ANDROINS            8787 WOODWAY DRIVE APT 10304                                                         HOUSTON               TX   77063‐2449
STEPHANIE N JOHNSON                  1004 RANDALL ST.                                                                     GADSDEN               AL   35901
STEPHANIE N PHILLIPS                 5559 HARSHMANVILLE RD                                                                HUBER HEIGHTS         OH   45424‐5805
STEPHANIE NANTAMBU                   PO BOX 491192                                                                        LAWRENCEVILLE         GA   30049‐0020
STEPHANIE NEES                       121 N DIBBLE AVE                                                                     LANSING               MI   48917‐2821
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Name                       Address1                         Address2                  Address3    Address4         City               State Zip
STEPHANIE NEWSOM           14841 STAHELIN AVE                                                                      DETROIT             MI 48223‐2218
STEPHANIE NIRSCHL          557 IDAHO AVE                                                                           VERONA              PA 15147‐2909
STEPHANIE O RICHARDSON     6310 NW HOGAN DR APT 1                                                                  KANSAS CITY         MO 64152‐3901
STEPHANIE OLSEY            1612 COLORADO AVE                                                                       FLINT               MI 48506‐2701
STEPHANIE PADLO            50 WEST NECK ROAD                                                                       SOUTHAMPTON         NY 11968‐2229
STEPHANIE PALMER           APT 2071                         13201 SOUTH WAKIAL LOOP                                PHOENIX             AZ 85044‐5029
STEPHANIE PANEK            1420 W FARGO AVE                                                                        CHICAGO              IL 60626‐1811
STEPHANIE PARTYKA          100 MICHAELS WALK                                                                       LANCASTER           NY 14086‐9306
STEPHANIE PATTON           1121 LOCHHEAD AVE                                                                       FLINT               MI 48507‐2803
STEPHANIE PAVLOVYCH        7237 ALLAMANDA LANE                                                                     PUNTA GORDA         FL 33955
STEPHANIE POLZIN           8551 ALWARDT DR                                                                         STERLING HEIGHTS    MI 48313‐4800
STEPHANIE POWELL           214 FARMINGDALE RD                                                                      CHEEKTOWAGA         NY 14225‐1838
STEPHANIE PRESCOTT         520 HIDDEN CREEK TRL                                                                    CLIO                MI 48420‐2025
STEPHANIE PRESTON          2191 OAKWOOD ST                                                                         GIRARD              OH 44420
STEPHANIE PRUITT           517 MANOR DR                                                                            NORMAN              OK 73072‐6516
STEPHANIE R BENSON         432 MULFORD AVENUE                                                                      DAYTON              OH 45417‐2036
STEPHANIE R BLAIR          PO BOX 23026                                                                            NASHVILLE           TN 37202‐3026
STEPHANIE R BROWN          12891 CROFTSHIRE DR                                                                     GRAND BLANC         MI 48439‐1543
STEPHANIE R BROWN          7090 KY HIGHWAY 519                                                                     MOREHEAD            KY 40351
STEPHANIE R BROWN          666 W BETHUNE ST APT 703                                                                DETROIT             MI 48202‐2746
STEPHANIE R COFFMAN        1199 LYTLE RD                                                                           WAYNESVILLE         OH 45068
STEPHANIE R DAUGHERTY      738 HIGHLAND SPRINGS CT                                                                 KOKOMO              IN 46902‐4890
STEPHANIE R JENNINGS       452 N KING ST                                                                           XENIA               OH 45385
STEPHANIE R PRUITT         517 MANOR DR                                                                            NORMAN              OK 73072‐6516
STEPHANIE R WHITE          187 DRESDEN AVE                                                                         PONTIAC             MI 48340‐2518
STEPHANIE R WILLIAMS       950 RIVERBEND DRIVE              APT. 51                                                GADSDEN             AL 35901
STEPHANIE RAINES           6210 MUNSELL RD                                                                         HOWELL              MI 48843‐9638
STEPHANIE RANDOLPH         PO BOX 252561                                                                           W BLOOMFIELD        MI 48325‐2561
STEPHANIE REESE            4706 NE 67TH TER                                                                        KANSAS CITY         MO 64119‐7854
STEPHANIE RHINE            PO BOX 18497                                                                            SHREVEPORT          LA 71138‐1497
STEPHANIE RICE             804 GEORGIA ST                                                                          WILLIAMSTON         MI 48895‐1614
STEPHANIE RICHARDS         2707 DEBBIE CT                                                                          FINKSBURG           MD 21048‐1909
STEPHANIE RICHARDSON       6310 NW HOGAN DR APT 1                                                                  PARKVILLE           MO 64152‐3901
STEPHANIE RICHTER          15245 HUMBERT RD                                                                        BRIGHTON             IL 62012
STEPHANIE RICHTER ACT OF   C E RICHTER                      1026 N MAIN APT 5                                      LEWISTON            MI 49756
STEPHANIE ROBERSON         2100 WAVERLY DR                                                                         KOKOMO              IN 46902‐7806
STEPHANIE ROBINSON         434 N IRIS LN                                                                           LAINGSBURG          MI 48848‐8200
STEPHANIE ROBINSON         2601 MARCUS DR                                                                          TROY                MI 48083‐2424
STEPHANIE ROSE             19519 CRANBROOK DR APT 217                                                              DETROIT             MI 48221‐1572
STEPHANIE ROSENCRANTZ      10398 POTTER RD                                                                         FLUSHING            MI 48433‐9722
STEPHANIE ROSSER           164 MADDOX ST APT L                                                                     LAWRENCEVILLE       GA 30045‐4655
STEPHANIE RUFF             5052 MIDDLEBORO RD                                                                      GRAND BLANC         MI 48439‐8749
STEPHANIE RUTTER           7909 31ST ST                                                                            BALTIMORE           MD 21237‐1401
STEPHANIE S GOINES         4380 HAYWOOD PL                                                                         SHREVEPORT          LA 71109‐6819
STEPHANIE S JACKSON        59 SEWARD ST APT 107                                                                    DETROIT             MI 48202‐2430
STEPHANIE SALEY            41 JOSEPH ST                                                                            CLARK               NJ 07066‐2510
STEPHANIE SANDERS          433 CHARLES GRIGGS ST                                                                   RIPLEY              TN 38063‐3415
STEPHANIE SCROGIN          C/O RICHARD E. GENTER, ESQUIRE   610 YORK ROAD             SUITE 200                    JENKINTOWN          PA 19046
STEPHANIE SEBERT           13165 N CLIO RD                                                                         CLIO                MI 48420‐1028
STEPHANIE SEEGE            1641 WESLEYAN RD.                                                                       DAYTON              OH 45406‐3607
STEPHANIE SENEDIAK         69 PARADISE BLVD                 HOLIDAY CITY                                           TOMS RIVER          NJ 08757‐6439
STEPHANIE SIERADZKI        4074 HILLCREST DR                                                                       WARREN              MI 48092‐1103
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Name                     Address1                         Address2                      Address3   Address4               City               State Zip
STEPHANIE SILVAS         1022 CLEO STREET                                                                                 LANSING             MI 48915‐1438
STEPHANIE SIMCOX         8793 SQUIRREL HILL DR NE                                                                         WARREN              OH 44484‐2059
STEPHANIE SIMCOX         BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS          OH 44236
STEPHANIE SIPE           PO BOX 148                                                                                       MAYO                FL 32066
STEPHANIE SKOVRANKO      11753 HERBERT AVE                                                                                WARREN              MI 48089‐1258
STEPHANIE SLAWSON        4775 COYOTE TRL                                                                                  BENZONIA            MI 49616‐9414
STEPHANIE SMITH          14042 MORRISH RD                                                                                 MONTROSE            MI 48457‐9723
STEPHANIE SMITH          35234 S CYPRESS DR                                                                               TUCSON              AZ 85739‐1519
STEPHANIE SMITH          12461 ROSSELO AVE                                                                                WARREN              MI 48093‐5019
STEPHANIE SMITH          1522 HENRY ST                                                                                    HUNTINGTON          IN 46750‐3979
STEPHANIE SMITH          3023 SAINT LOUIS AVE                                                                             FORT WAYNE          IN 46809‐2950
STEPHANIE SPILKER        STIFTER STR 4                                                             D 32791 LAGE GERMANY
STEPHANIE SPISZ          18244 DEERING ST                                                                                 LIVONIA            MI   48152‐3708
STEPHANIE SPLAN          3024 SLEAFORD DR                                                                                 WATERFORD          MI   48329‐3349
STEPHANIE SPOERR         1128 NILES CORTLAND RD NE                                                                        WARREN             OH   44484‐1007
STEPHANIE STASIW         139 KINGS GATE N                                                                                 ROCHESTER          NY   14617‐5410
STEPHANIE STASIW         139 KINGS GATE NORTH                                                                             ROCHESTER          NY   14617‐5410
STEPHANIE STELLA         25777 HERB ST                                                                                    OLMSTED FALLS      OH   44138‐2726
STEPHANIE STIKOVICH      3417 EDGEWOOD CT                                                                                 DAVISON            MI   48423‐8423
STEPHANIE SWINDALL       3801 VINE ST.                                                                                    GADSDEN            AL   35903
STEPHANIE SZCZERBA       48 BELMAR BLVD                                                                                   WARETOWN           NJ   08758‐2634
STEPHANIE T BRYANT       637 GREENLAWN ST                                                                                 YPSILANTI          MI   48198‐2951
STEPHANIE T KINGSLEY     234 BELEY AVE                                                                                    MATTYDALE          NY   13211‐1528
STEPHANIE T WILSON       1500 EAST MAYNARD STREET                                                                         PAGELAND           SC   29728
STEPHANIE TAYLOR         27869 HOPKINS DR                                                                                 NOVI               MI   48377‐2563
STEPHANIE TENEROWICZ     147 HACKENSACK ST APT 4S                                                                         EAST RUTHERFORD    NJ   07073‐1512
STEPHANIE TENNESON       242 S 6TH AVE APT 2F                                                                             HIGHLAND PARK      NJ   08904‐2828
STEPHANIE THOMPSON       15700 SAN JOSE ST                                                                                GRANADA HILLS      CA   91344‐7237
STEPHANIE THORNE         333 MITCHELL AVE                                                                                 MATTYDALE          NY   13211‐1741
STEPHANIE TOLBERT        PO BOX 320004                                                                                    FLINT              MI   48532‐0001
STEPHANIE TROTTER
STEPHANIE VANDENBAND     9645 WINANS ST                                                                                   WEST OLIVE         MI   49460‐9381
STEPHANIE VANHOOSE       134 PANDY ST                                                                                     VERSAILLES         KY   40383‐1055
STEPHANIE VAVRINA        4325 ELM AVE                                                                                     LYONS              IL   60534‐1507
STEPHANIE VERBURG        1743 8TH ST NW                                                                                   GRAND RAPIDS       MI   49504‐3904
STEPHANIE VIA            212 KARNES DR                                                                                    FRANKLIN           TN   37064‐5758
STEPHANIE VICKERS        4716 CURRIE LAKE RD                                                                              HARSHAW            WI   54529‐9719
STEPHANIE WALATKIEWICZ   121 RENSHAW AVE APT 105                                                                          CLAWSON            MI   48017‐2074
STEPHANIE WATSON         701 S KINGSWOOD ST                                                                               DURAND             MI   48429‐1735
STEPHANIE WELCH          6220 FARMSWOOD DR APT 3B                                                                         FORT WAYNE         IN   46804‐8323
STEPHANIE WESTPHAL       250 N KERBY RD                                                                                   CORUNNA            MI   48817‐9405
STEPHANIE WILSON         22548 MEADOWBROOK RD                                                                             NOVI               MI   48375‐4365
STEPHANIE WOELFEL        20800 SWENSON DR. STE 300                                                                        WAUKESHA           WI   53186
STEPHANIE WOMMACK        506 S 17TH ST                                                                                    BOWLING GREEN      MO   63334‐1841
STEPHANIE WOODS          4047 ROCHDALE DR                                                                                 FLINT              MI   48504‐1131
STEPHANIE WOODS          KELLER FISHBACK & JACKSON LLP    18425 BURBANK BLVD STE 610                                      TARZANA            CA   91356
STEPHANIE WOODS          KELLER, FISHBACK & JACKSON LLP   18425 BURBANK BLVD, STE 610                                     TARZANA            CA   91356
STEPHANIE WRIGHT         PO BOX 849                                                                                       FLINT              MI   48501‐0849
STEPHANIE YATES          33726 ASHTON DR                                                                                  STERLING HEIGHTS   MI   48312‐6007
STEPHANIE ZAD            7610 RED OAK DR                                                                                  PLAINFIELD         IL   60586‐2510
STEPHANIE ZEOLLA         6160 W STATE ROAD 205                                                                            SOUTH WHITLEY      IN   46787‐9130
STEPHANNIE SMITH         631 BENSON ST                                                                                    PONTIAC            MI   48342‐2505
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Name                          Address1                        Address2                 Address3    Address4         City                   State Zip
STEPHANOFF, CLARENCE D        11315 M‐60                                                                            THREE RIVERS            MI 49093
STEPHANOFF, MARY M            3705 HAMPTON BLVD                                                                     ROYAL OAK               MI 48073‐2105
STEPHANOFF, MICHAEL W         59 KENSINGTON BLVD                                                                    PLEASANT RDG            MI 48069‐1220
STEPHANOFF, MICHAEL WILLIAM   59 KENSINGTON BLVD                                                                    PLEASANT RDG            MI 48069‐1220
STEPHANOW
STEPHANS, DAVID B             439 LEISURE LN                                                                        GREENWOOD              IN   46142‐8314
STEPHANS, ISAAC               PO BOX 6354                                                                           FORT WAYNE             IN   46896‐0354
STEPHANS, SYDNEY G            101 N. POINTE BLVD              C/O STERLING FIN. TRST                                LANCASTER              PA   17601
STEPHANSEN, ROBERT W          1049 E WOODROW AVE                                                                    LOMBARD                IL   60148‐3168
STEPHANSKI, CHARLES J         4349 PLANK RD                                                                         LOCKPORT               NY   14094‐9780
STEPHANSKY, JEANEEN           818 COWLEY AVE                                                                        EAST LANSING           MI   48823‐3012
STEPHANY KARPOWICZ            1450 KENAN AVE NW                                                                     GRAND RAPIDS           MI   49504‐2931
STEPHANY KRENZEL              N10460 JUNET RD                                                                       IRONWOOD               MI   49938‐9240
STEPHANY KRYSZTOPANIEC        7442 RUTLAND ST                                                                       DETROIT                MI   48228‐3545
STEPHANY PODOLAN WHITE        501 9TH ST                                                                            ROYAL OAK              MI   48067‐3145
STEPHANY, SCOTT A             356 BRUSH CREEK DR                                                                    ROCHESTER              NY   14612‐2270
STEPHANY, TODD M              219 CAVE HOLW                                                                         W HENRIETTA            NY   14586‐9569
STEPHANY, WAYNE C             683 SHARON DRIVE                                                                      ROCHESTER              NY   14626‐1952
STEPHANY, WAYNE C             683 SHARON DR                                                                         ROCHESTER              NY   14626‐1952
STEPHEN
STEPHEN                       262 PHEASANT RUN                                                                      FEASTERVILLE TREVOSE   PA 19053‐5948
STEPHEN GODAR
STEPHEN & JEAN HUPKA          4525 BEACON DRIVE                                                                     NASHVILLE              TN   37215‐4003
STEPHEN & SANDRA BALLARD      650 COCOA AVE                                                                         HERSHEY                PA   17033
STEPHEN A ALBANESE            4100 FAWN TRAIL NE                                                                    WARREN                 OH   44483‐3663
STEPHEN A BARNES              3546 KIRBY VALLEY DR                                                                  MEMPHIS                TN   38115‐4349
STEPHEN A BEIRNE              7481 BERKS WAY                                                                        HUDSON                 OH   44236‐4637
STEPHEN A BERNHEISEL          1524 BROWN STREET                                                                     DAYTON                 OH   45409‐2606
STEPHEN A BERRY               3768 WOODMAN DR                                                                       KETTERING              OH   45429
STEPHEN A BEY                 502 WASHINGTON ST                                                                     VERSAILLES             OH   45380
STEPHEN A BICKERS             526 GALLAGHER ST                                                                      SPRINGFIELD            OH   45505‐1932
STEPHEN A CAVERLEE            5 MANOR DR APT 8                                                                      GREENFIELD             IN   46140
STEPHEN A DENNING             2113 COLTON DR                                                                        DAYTON                 OH   45420
STEPHEN A DRAKE               35 E SPRGVLY‐PAINTERSVILLE                                                            XENIA                  OH   45385
STEPHEN A GATTA               222 SHADOW LAKE DR N                                                                  CLINTON                MS   39056
STEPHEN A HALL                115 LOGIC CT                                                                          DAYTON                 OH   45440‐3420
STEPHEN A HARDEN              5025 BALLARD DR                                                                       DAYTON                 OH   45418‐2019
STEPHEN A HARLOW              14646 W STATE RT 35                                                                   NEW LEBANON            OH   45345
STEPHEN A HIATT               738 EAST PEARL ST                                                                     MIAMISBURG             OH   45342
STEPHEN A HLAVAC              19 WILLOW WAY                                                                         CANFIELD               OH   44406
STEPHEN A HROBAK              4025 ST RT422                                                                         SOUTHINGTON            OH   44470‐9508
STEPHEN A JANOTTA             241 WILLOW WAY                                                                        FLORA                  MS   39071‐9554
STEPHEN A JONES               2954 NC 18 US 64                                                                      MORGANTON              NC   28655
STEPHEN A KETTERING           479 WENDEMERE DR.                                                                     HUBBARD                OH   44425
STEPHEN A KOKOSKY             C/O EMBRY & NEUSNER             PO BOX 1409                                           GROTON                 CT   06340
STEPHEN A KOWALCZYK JR        2707 BIRCHWOOD DR                                                                     HOWELL                 MI   48855‐7645
STEPHEN A KURPIEWSKI SR       219 MITCHELL AVE                                                                      MATTYDALE              NY   13211‐1739
STEPHEN A LYNCH               3125 E 4TH ST                                                                         DAYTON                 OH   45403
STEPHEN A MCINTOSH            1713 RUSSET AVE                                                                       DAYTON                 OH   45410
STEPHEN A MCKOWN              835 SAUTTER DR                                                                        MANSFIELD              OH   44904‐1789
STEPHEN A MEESE               8811 OAKES RD.                                                                        ARCANUM                OH   45304
STEPHEN A MERRITT             WEITZ & LUXENBERG PC            700 BROADWAY                                          NEW YORK               NY   10003
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Name                         Address1                           Address2                     Address3           Address4         City              State Zip
STEPHEN A MERRITT            C/O WEITZ & LUXENBERG PC           700 BROADWAY                                                     NEW YORK CITY      NY 10003
STEPHEN A MICHAELS           6623 S NORTH CAPE RD                                                                                FRANKLIN           WI 53132‐1227
STEPHEN A MOTIKA             162 DIAMOND WAY                                                                                     CORTLAND           OH 44410‐1399
STEPHEN A NECZYPOR           24 WATERS EDGE DR                                                                                   DELRAN             NJ 08075
STEPHEN A NELSON             9921 WEBSTER CIR                                                                                    KANSAS CITY        KS 66109‐7800
STEPHEN A PARKINSON          1985 S CAVALIER DR                                                                                  CANTON             MI 48188‐1826
STEPHEN A PREJSNAR           5645 CLINGAN RD UNIT 2A                                                                             STRUTHERS          OH 44471‐3122
STEPHEN A SHAFFER            400 ANNISTON DR.                                                                                    DAYTON             OH 45415‐3004
STEPHEN A SNELLING           350 CHRISTINA WAY                                                                                   FRANKLIN           OH 45005
STEPHEN A SNYDER             2213 S HADLEY ROAD                                                                                  SPRINGFIELD        OH 45505‐4416
STEPHEN A SWAFFORD           5793 HALDERMAN RD                                                                                   W ALEXANDRIA       OH 45381
STEPHEN A TINMAN             5424 EMMONS ST                                                                                      FAIRBORN           OH 45324
STEPHEN A TURNER             118 OLIVE ST                                                                                        GIRARD             OH 44420‐1847
STEPHEN A VERBOCY            7652 HIGHLAND DR                                                                                    GASPORT            NY 14067‐9264
STEPHEN A WALKER JR          3452 MAIN ST APT 5J                                                                                 MORAINE            OH 45439‐1344
STEPHEN A WERTHEIMER         4290 KATILLA AVE 2ND FLOOR                                                                          LOS ALAMITOS       CA 90720
STEPHEN A WIENER ESQ         ACCT OF BARBARA A COOMBS           PO BOX 280245                                                    EAST HARTFORD      CT 06128‐0245
STEPHEN A WILLIAMS           115 MEDFORD RD                                                                                      SYRACUSE           NY 13211‐1827
STEPHEN A ZARLENGA           4495 PLUMBROOK DR                                                                                   CANFIELD           OH 44406
STEPHEN A. MARCUS            REGISTERED AGENT FOR JET SUPPORT   6600 SEARS TOWER                                                 CHICAGO             IL 60606
                             SERVICES
STEPHEN ABAR                 711 N ALTADENA AVE                                                                                  ROYAL OAK         MI   48067‐4203
STEPHEN ABED                 25536 GREENLAWN CT                                                                                  TAYLOR            MI   48180‐3263
STEPHEN ACKERMAN             129 SUNSET ST                                                                                       BUFFALO           NY   14207‐1820
STEPHEN ACKERMAN             8041 ARKONA RD                                                                                      CLINTON           MI   49236‐9412
STEPHEN ACKERSON             4830 COPAS RD                                                                                       CORUNNA           MI   48817‐9410
STEPHEN ADAMCZAK             5974 MEADOWGREENE DR                                                                                WATERFORD         MI   48327‐2981
STEPHEN ADAMCZAK             5399 CADE RD                                                                                        IMLAY CITY        MI   48444‐9450
STEPHEN ADAMCZUK             171 KINGS GATE S                                                                                    ROCHESTER         NY   14617‐5439
STEPHEN ADAMCZUK             171 KINGS GATE S                                                                                    ROCHESTER         NY   14617‐5439
STEPHEN ADAMCZYK JR          136 CARRIAGE DR E                                                                                   MERIDEN           CT   06450‐7009
STEPHEN ADAMETZ              468 W COMMODORE BLVD                                                                                JACKSON           NJ   08527‐5403
STEPHEN ADAMS                2095 HAWTHORNE DR                                                                                   MARTINSVILLE      IN   46151‐9244
STEPHEN ADAMS                4300 MITCHELL WEAVER RD                                                                             SCOTTSVILLE       KY   42164‐9665
STEPHEN ADAMS                BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS.       OH   44236
STEPHEN ADELMAN              PO BOX 7741                                                                                         NEWARK            DE   19714‐7741
STEPHEN ADKINS               1336 FREBIS AVE                                                                                     COLUMBUS          OH   43206‐3717
STEPHEN AHLRICH              SIMMONS FIRM                       PO BOX 521                                                       EAST ALTON        IL   62024‐0519
STEPHEN AKER                 10050 CARPENTER RD                                                                                  FLUSHING          MI   48433‐1046
STEPHEN ALBANESE             4100 FAWN TRL NE                                                                                    WARREN            OH   44483‐3663
STEPHEN ALBITZ               2396 OTTAWA RIVER RD                                                                                TOLEDO            OH   43611‐1965
STEPHEN ALDRED               PO BOX 3012                                                                                         ANDERSON          IN   46018‐3012
STEPHEN ALEXANDER            610 N FAIRVIEW ST                                                                                   ALEXANDRIA        IN   46001‐8174
STEPHEN ALIFF                6019 W THOMPSON RD                                                                                  INDIANAPOLIS      IN   46221‐3822
STEPHEN ALLAN                13120 N LEWIS RD                                                                                    CLIO              MI   48420‐9105
STEPHEN ALLING               121 PLEASANT ST                                                                                     ROMEO             MI   48065‐5142
STEPHEN ALLISON              307 E WINTER AVE                                                                                    DANVILLE          IL   61832‐1857
STEPHEN AND CELIA WASYLKIW   JT TEN/WROS                        53 SILVERSPRING ROAD                                             SHORT HILLS       NJ   07078‐3120
STEPHEN AND ELAINE TURKEL    577 GRAND ST APT 506                                                                                NEW YORK          NY   10002
STEPHEN AND SHARON RITCHIE   STEPHEN RITCHIE                    SHARON RITCHIE               20560 ROMAR LANE                    SANTA CLARITA     CA   91350‐3801
STEPHEN ANDERSON             1402 LOMAS VERDES                                                                                   ROCHESTER HILLS   MI   48306‐3955
STEPHEN ANDERSON             4850 ROYAL KING CT                                                                                  SAINT LOUIS       MO   63128‐3926
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Name                                  Address1                          Address2                          Address3   Address4         City                State Zip
STEPHEN ANDREWS JR                    2121 SEYMOUR LAKE RD                                                                            OXFORD               MI 48371‐4348
STEPHEN ANDRUCHOWSKYJ                 825 RANSOM RD                                                                                   LANCASTER            NY 14086‐9720
STEPHEN ANGELOFF                      24 RIDGE RD                                                                                     PLEASANT RDG         MI 48069‐1118
STEPHEN ANTHONY GNIADEK               974 FAIRFIELD BEACH RD                                                                          FAIRFIELD            CT 06824
STEPHEN ANTON                         660 SUTTEN DR                                                                                   CANTON               MI 48188‐1227
STEPHEN APKING                        5507 BUELL DR                                                                                   COMMERCE TOWNSHIP    MI 48382‐5110
STEPHEN APPLE                         5821 BARNSTABLE CT                                                                              INDIANAPOLIS         IN 46250‐2750
STEPHEN ARBUCKLE                      2804 S P ST                                                                                     ELWOOD               IN 46036‐8641
STEPHEN ARKSEY                        2553 JULIE DR                                                                                   COLUMBIAVILLE        MI 48421‐8911
STEPHEN ARMSTRONG                     4280 GROSSEPOINT                                                                                SPRINGFIELD          OH 45502‐9712
STEPHEN ARNELL
STEPHEN ASARO                         633 BAYBERRY POINTE DR NW APT H                                                                 GRAND RAPIDS        MI   49534‐4624
STEPHEN ASHBY                         4435 S SCATTERFIELD RD                                                                          ANDERSON            IN   46013‐2944
STEPHEN ASHWORTH                      10709 OLD CENTRALIA RD                                                                          CHESTER             VA   23831‐1222
STEPHEN ASHWORTH                      3218 DUCK POINT DR                                                                              MONROE              NC   28110‐8881
STEPHEN ASPLUND                       3015 BOND PL                                                                                    JANESVILLE          WI   53548‐3285
STEPHEN ASSENMACHER                   24612 HICKORY ST                                                                                DEARBORN            MI   48124‐2421
STEPHEN ATCHLEY                       13012 LINDON DR                                                                                 OKLAHOMA CITY       OK   73170‐2079
STEPHEN ATKINSON                      9301 DENTON HILL RD                                                                             FENTON              MI   48430‐8404
STEPHEN AUBE                          4144 PHEASANT DR                                                                                FLINT               MI   48506‐1727
STEPHEN AUGUSTA                       2136 LOVERS LN NW                                                                               WARREN              OH   44485‐1609
STEPHEN AUGUSTINI                     32 EASTVIEW RD                                                                                  HOPKINTON           MA   01748‐1868
STEPHEN AUPPERLE                      6924 SADIE LN                                                                                   BELLEVILLE          MI   48111‐5127
STEPHEN AUTOMALL CENTRE INC
STEPHEN AYRISS                        3000 GLENSTONE DR                                                                               COLUMBIA            TN   38401‐5985
STEPHEN B BOLIN                       132 WESTRIDGE BLVD                                                                              GREENWOOD           IN   46142‐2125
STEPHEN B DATZ                        1516 STOCKTON AVE                                                                               KETTERING           OH   45409
STEPHEN B GREEN                       6331 ROSECREST DR                                                                               DAYTON              OH   45414
STEPHEN B KOENIGSBERG                 17 MALIBU COURT                                                                                 TOWSON              MD   21204
STEPHEN B LINCOLN                     60 WOODSTOCK RD                                                                                 WOODSTOCK           CT   06281
STEPHEN B MAZURSKI JR.                PO BOX 514                                                                                      VARYSBURG           NY   14167‐0514
STEPHEN B MICHEL                      3 TRAILWOOD CIRCLE                                                                              ROCHESTER           NY   14618‐4811
STEPHEN B ROE                         183 CHARIOT DR                                                                                  ANDERSON            IN   46013‐1083
STEPHEN B SHEPHERD / LINDA L SHEPHERD MCKENNA & ASSOCIATES PC           436 BOULEVARD OF THE ALLIES STE                               PITTSBURGH          PA   15219‐1331
                                                                        500
STEPHEN B ZAHORANSKY                 3095 YORK ST                                                                                     FARMDALE            OH   44417‐9726
STEPHEN B. FOLEY                     STEPHEN B. FOLEY, P.C.             9900 PELHAM ROAD                                              TAYLOR              MI   48180
STEPHEN BABCOCK                      PO BOX 901                                                                                       CLARKSTON           MI   48347‐0901
STEPHEN BABYAK                       149 OAK RIDGE RD                                                                                 ACME                PA   15610‐1207
STEPHEN BACAK                        1620 N CARNEGIE AVE                                                                              NILES               OH   44446‐4004
STEPHEN BACHA                        7097 CHASE LAKE RD                                                                               FOWLERVILLE         MI   48836‐9391
STEPHEN BADDERS                      6251 S 450 E                                                                                     MARKLEVILLE         IN   46056‐9745
STEPHEN BADGLEY                      10316 S FAIRWAY CT                                                                               YUMA                AZ   85367‐9008
STEPHEN BAIER                        627 NORTHWOOD DR                                                                                 FLUSHING            MI   48433‐1309
STEPHEN BAILEY                       3207 DEEDS RD                                                                                    HOUSTON             TX   77084‐5568
STEPHEN BAILEY                       138 ROYALLSPRINGS PKWY                                                                           O FALLON            MO   63368‐6994
STEPHEN BAILEY                       4014 E 250 N                                                                                     ANDERSON            IN   46012‐9787
STEPHEN BAILEY JR                    103 STEVEN CT                                                                                    COLUMBIA            TN   38401‐5589
STEPHEN BAILLIE                      4191 CALKINS RD                                                                                  FLINT               MI   48532‐3511
STEPHEN BAIZA                        2200 FENTRESS CT                                                                                 SPRING HILL         FL   34609‐3918
STEPHEN BAJ                          40 BUELL ST                                                                                      AKRON               NY   14001‐1309
STEPHEN BAKA                         178 WALNUT RIDGE WAY                                                                             BOWLING GREEN       KY   42104‐8770
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Name                 Address1                       Address2            Address3         Address4         City            State Zip
STEPHEN BAKER        3192 STRALEY LN                                                                      YOUNGSTOWN       OH 44511‐3355
STEPHEN BAKER        3915 SAND BAR CT                                                                     OXFORD           MI 48371‐5731
STEPHEN BAKER        1212 BOYDS CORNER RD                                                                 MIDDLETOWN       DE 19709‐9228
STEPHEN BAKER        603 HILLSIDE DR                                                                      LAKELAND         FL 33803‐5132
STEPHEN BALAS        33347 LAKE RD                                                                        AVON LAKE        OH 44012‐1205
STEPHEN BALBACH      1436 S BEYER RD                                                                      SAGINAW          MI 48601‐9422
STEPHEN BALDWIN      204 N 5TH ST                                                                         CONTINENTAL      OH 45831‐9053
STEPHEN BALDWIN      PO BOX 68                                                                            LA FONTAINE      IN 46940‐0068
STEPHEN BALL         3577 MAHLON MOORE RD                                                                 SPRING HILL      TN 37174‐2165
STEPHEN BALLARD      PO BOX 55                                                                            MASON            MI 48854
STEPHEN BALOG        891 GOIST LN                                                                         GIRARD           OH 44420‐1406
STEPHEN BARBARICK    18194 W 155TH TER                                                                    OLATHE           KS 66062‐6717
STEPHEN BARBAT       708 MORNINGSIDE DR                                                                   GRAND BLANC      MI 48439‐2303
STEPHEN BARICEVICH   289 RICHMOND RD                                                                      RICHMOND HTS     OH 44143‐1405
STEPHEN BARKDULL     3145 HUNTSVILLE RD                                                                   PENDLETON        IN 46064‐9035
STEPHEN BARKER       1612 MARY ANN ST                                                                     MT PLEASANT      MI 48858‐1244
STEPHEN BARNES       3546 KIRBY VALLEY DR                                                                 MEMPHIS          TN 38115‐4349
STEPHEN BARNES       9968 ROAD 171                                                                        OAKWOOD          OH 45873‐9236
STEPHEN BARNES       63 MCINTOSH DR                                                                       LOCKPORT         NY 14094‐5129
STEPHEN BARNETT      18881 PLEASANT VALLEY RD                                                             HILLMAN          MI 49746‐9063
STEPHEN BARNETT      3226 MARDAN DR                                                                       ADRIAN           MI 49221‐1027
STEPHEN BARNETT      4344 BENDER CT                                                                       TROY             MI 48098‐4427
STEPHEN BARRETT      1605 PARLIAMENT CT                                                                   FAIRFIELD        OH 45014‐4615
STEPHEN BARRIE       500 SOUTHERNESS DR                                                                   TOWNSEND         DE 19734‐3804
STEPHEN BARTH        5091 PLYMOUTH RD                                                                     ANN ARBOR        MI 48105‐9520
STEPHEN BASS         7089 E HOUGHTON LAKE DR                                                              HOUGHTON LAKE    MI 48629‐9599
STEPHEN BASSINGER    862 STEVENS TRAIL                                                                    MONROE           MI 48161‐4593
STEPHEN BATEY        PO BOX 95                                                                            AMBOY            IN 46911‐0095
STEPHEN BATKO        1212 NORTON RD                                                                       STOW             OH 44224‐1331
STEPHEN BATOR        9265 PETTIT RD                                                                       BIRCH RUN        MI 48415‐8504
STEPHEN BATY         9259 SAWGRASS DR                                                                     MIAMISBURG       OH 45342‐6779
STEPHEN BATZ         116 TIMARRON TRL                                                                     ROCHESTER        NY 14612
STEPHEN BAUER        3404 GLORIA DR                                                                       ELLENTON         FL 34222‐3516
STEPHEN BAXTER       106 YOHA DR                                                                          MANSFIELD        OH 44907‐2863
STEPHEN BAYNES       8430 SOUTH INGLESIDE AVE.                                                            CHICAGO           IL 60619
STEPHEN BEACHAM      55335 WOODY LN                                                                       SOUTH LYON       MI 48178‐9716
STEPHEN BEAM         1599 N HENNEY RD                                                                     CHOCTAW          OK 73020‐8144
STEPHEN BEAN         G4691 BEECHER RD.                                                                    FLINT            MI 48532
STEPHEN BEARD JR     820 S CONKLING ST                                                                    BALTIMORE        MD 21224‐4303
STEPHEN BEATY        1570 W FM 1382                                                                       CEDAR HILL       TX 75104
STEPHEN BECK         12255 E POTTER RD                                                                    DAVISON          MI 48423‐8147
STEPHEN BECKMAN      10172 CLARKSHIRE CT                                                                  SOUTH LYON       MI 48178‐9824
STEPHEN BEEBE        4041 GRANGE HALL RD LOT 47                                                           HOLLY            MI 48442‐1919
STEPHEN BEEMAN       3038 S NYE SCHOOL RD                                                                 BELOIT           WI 53511‐8640
STEPHEN BEHNKE       11501 NW TIFFANY SPRINGS RD                                                          KANSAS CITY      MO 64153‐1517
STEPHEN BEIRNE       7481 BERKS WAY                                                                       HUDSON           OH 44236‐4637
STEPHEN BELLAFAIRE   PO BOX 654                                                                           BUFFALO          NY 14223‐0654
STEPHEN BEMISH       9252 N 400 E                                                                         ALEXANDRIA       IN 46001‐8185
STEPHEN BENDER       7714 NEVIN RD                                                                        MERCERSBURG      PA 17236‐9747
STEPHEN BENDLE       5279 FENTON RD                                                                       FLINT            MI 48507‐4029
STEPHEN BENDORIS     11 WILLIE NICK WAY                                                                   DENNIS           MA 02638‐1824
STEPHEN BENNETT      1040 HACKER DR                                                                       MARTINSVILLE     IN 46151‐3020
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Name                      Address1                             Address2                     Address3     Address4         City              State Zip
STEPHEN BENOSKA           3750 WOLF TRAIL DR                                                                              ABINGDON           MD 21009‐4307
STEPHEN BERGHOFF          4800 BROOK DR                                                                                   SAGINAW            MI 48638‐5648
STEPHEN BERGIN            601 SPARTAN DR                                                                                  ROCHESTER HLS      MI 48309‐2526
STEPHEN BEST              1150 BALD MOUNTAIN RD                                                                           LAKE ORION         MI 48360‐1402
STEPHEN BEY               502 WASHINGTON ST                                                                               VERSAILLES         OH 45380‐1342
STEPHEN BEYER             5187 MONTICELLO DR                                                                              SWARTZ CREEK       MI 48473‐8252
STEPHEN BIALLY            1905 MARLETTE RD                                                                                KIMBALL            MI 48074‐2723
STEPHEN BIASKO            BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS.        OH 44236
STEPHEN BIENIEK           14510 HOERNING AVE                                                                              WARREN             MI 48088‐6040
STEPHEN BILBEY            4520 WILDWOOD LOOP                                                                              CLARKSTON          MI 48348‐1464
STEPHEN BILLS             812 MAGNOLIA ST W                                                                               EXCLSOR SPRGS      MO 64024‐2045
STEPHEN BINGAMAN          9191 NORTH LIMA ROAD                                                                            POLAND             OH 44514
STEPHEN BIRCH             20533 100TH AVE                                                                                 EVART              MI 49631‐9632
STEPHEN BISSELL           6366 CLINGAN RD                                                                                 POLAND             OH 44514‐2128
STEPHEN BLACKBURN         3600 W OUTER DR                                                                                 DETROIT            MI 48221‐1662
STEPHEN BLACKBURN         3312 WILD IVY CIR                                                                               INDIANAPOLIS       IN 46227‐9734
STEPHEN BLACKMON          108 N WILLOW ST                                                                                 MANSFIELD          TX 76063‐1832
STEPHEN BLACKWOOD         713 N SECTION ST                                                                                HANNIBAL           MO 63401‐3244
STEPHEN BLAIR             30 COLIN KELLY DR                                                                               DAYTON             OH 45431‐1340
STEPHEN BLAISDELL         19350 BARNETT RD                                                                                MARYSVILLE         OH 43040‐9261
STEPHEN BLAKSLEE          1115 RO‐DIC‐DON DR                                                                              DEWITT             MI 48820
STEPHEN BLAZEK            155 OAK KNOLL AVE NE                                                                            WARREN             OH 44483‐5418
STEPHEN BLEASE J          1053 CR‐N                                                                                       STOUGHTON          WI 53589
STEPHEN BLEDSOE           9971 STATE ROUTE 45                                                                             LISBON             OH 44432‐8624
STEPHEN BLOMBERG          11275 ANDERSONVILLE RD                                                                          DAVISBURG          MI 48350‐3135
STEPHEN BLOYE             112 CELIA ST SE                                                                                 GRAND RAPIDS       MI 49548‐1234
STEPHEN BOATMAN           206 LAWNDALE DR                                                                                 MARLIN             TX 76661‐2012
STEPHEN BOBST             7259 VINNEDGE RD                                                                                FAIRFIELD          OH 45011‐8610
STEPHEN BODISH            110 LEWISTON RD                                                                                 KETTERING          OH 45429‐2642
STEPHEN BOGGS             3315 HARRISBURG GEO RD                                                                          GROVE CITY         OH 43123
STEPHEN BOHN              3564 MILLIGANS COVE RD                                                                          MANNS CHOICE       PA 15550‐8001
STEPHEN BOITNOTT          166 OLD TIMER RD                                                                                ANACONDA           MT 59711‐9441
STEPHEN BOLANDER          24432 PARKLANE                                                                                  FLAT ROCK          MI 48134‐2107
STEPHEN BOLDING           PO BOX 50725                                                                                    BOWLING GREEN      KY 42102‐3925
STEPHEN BOLEN             THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET     22ND FLOOR                    BALTIMORE          MD 21201

STEPHEN BOLIN             132 WESTRIDGE BLVD                                                                              GREENWOOD         IN   46142‐2125
STEPHEN BOLINGER          10698 E GOODALL RD                                                                              DURAND            MI   48429‐9756
STEPHEN BOLLING           PO BOX 76                                                                                       KILA              MT   59920‐0076
STEPHEN BOLLINGER         1872 POINT ST                                                                                   COMMERCE TWP      MI   48382‐2275
STEPHEN BOMBERO           125 HILLCREST RD                                                                                MONROE            CT   06468‐2832
STEPHEN BONA              6229 MISTY MEADOW LOOP                                                                          NEW PORT RICHEY   FL   34655‐1179
STEPHEN BONDRA            20 RICHMOND PL                                                                                  CORTLANDT MANOR   NY   10567‐1643
STEPHEN BONE              STEPHEN L. BONE                      11241 MARSHALL RD                                          SOUTH LYON        MI   48178
STEPHEN BONETTI           5223 CROWFOOT DR                                                                                TROY              MI   48085‐4095
STEPHEN BONINCONTRI JR    8208 LONGPOINT RD                                                                               BALTIMORE         MD   21222‐6017
STEPHEN BONINCONTRI, JR   8208 LONGPOINT RD                                                                               BALTIMORE         MD   21222‐6017
STEPHEN BONKOWSKI         1139 ARBROAK CT                                                                                 LAKE ORION        MI   48362‐2580
STEPHEN BONNER            424 W IROQUOIS RD                                                                               PONTIAC           MI   48341‐2019
STEPHEN BOOK              24430 W 9 MILE RD                                                                               SOUTHFIELD        MI   48033‐3960
STEPHEN BOONE             1720 OXLEY DR                                                                                   FLINT             MI   48504‐7026
STEPHEN BORECKY JR        PO BOX 334                                                                                      CLEAR CREEK       IN   47426‐0334
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Name                   Address1                         Address2                   Address3   Address4         City              State Zip
STEPHEN BORNE          6833 BAILEY ST                                                                          TAYLOR             MI 48180‐1655
STEPHEN BOROWICZ       7346 CRYSTAL LAKE DR APT 8                                                              SWARTZ CREEK       MI 48473‐8952
STEPHEN BOSSELL        1910 NE 104TH TER                                                                       KANSAS CITY        MO 64155‐3568
STEPHEN BOURCIER       PO BOX 379                                                                              OTISVILLE          MI 48463‐0379
STEPHEN BOWEN          1111 N BRADLEY RD                                                                       CHARLOTTE          MI 48813‐9505
STEPHEN BOWEN          469 VENTURA LN                                                                          WHITEWATER         WI 53190‐1548
STEPHEN BOWER          36 N ADAM ST                                                                            LOCKPORT           NY 14094‐2416
STEPHEN BOWER          54 BUCK RIDGE DR                                                                        COLUMBIA           SC 29229
STEPHEN BOWERS         4921 W 600 N                                                                            MIDDLETOWN         IN 47356
STEPHEN BOWERS         5250 OWEN RD                                                                            LINDEN             MI 48451‐9118
STEPHEN BOWERS         2219 E STATE ROAD 236                                                                   ANDERSON           IN 46017‐9757
STEPHEN BOWMAN         2108 VAN OSS DR                                                                         DAYTON             OH 45431‐3326
STEPHEN BOYCE          4197 US ROUTE 422 5                                                                     SOUTHINGTON        OH 44470
STEPHEN BOYD           813 INDIANA AVE                                                                         ANDERSON           IN 46012‐2317
STEPHEN BOYETT         1933 ROCK SPRINGS RD                                                                    COLUMBIA           TN 38401‐7423
STEPHEN BOYKO          2609 RACQUET CLUB DR                                                                    MURFREESBORO       TN 37128‐4809
STEPHEN BOZOKI         4166 SHERATON DR                                                                        FLINT              MI 48532‐3555
STEPHEN BRADFORD
STEPHEN BRADISH        5 COLGATE DR                                                                            MASSENA           NY   13662‐2530
STEPHEN BRADLEY        3197 LIPPINCOTT RD                                                                      LAPEER            MI   48446‐9758
STEPHEN BRADLEY        25 VIA PACIFICA                                                                         SAN CLEMENTE      CA   92673‐3910
STEPHEN BRADSHAW JR    2114 WATKINS LAKE RD                                                                    WATERFORD         MI   48328‐1434
STEPHEN BRAMOS         1406 HARPER RD                                                                          MASON             MI   48854‐9301
STEPHEN BRANSON        8842 ADMIRALS POINTE DR                                                                 INDIANAPOLIS      IN   46236‐9176
STEPHEN BRASHEARS      2100 NW SWEETGUM CT                                                                     GRAIN VALLEY      MO   64029‐8389
STEPHEN BRAUN          PO BOX 9022                      C/O GMODC/IESMIDDLE EAST                               WARREN            MI   48090‐9022
STEPHEN BRECKLER       PO BOX 38                                                                               FARMER            OH   43520‐0038
STEPHEN BREIER         38210 HYMAN ST                                                                          WESTLAND          MI   48186‐3834
STEPHEN BREITENBACH    5714 N STETSON CT                                                                       PARKER            CO   80134‐5830
STEPHEN BRENNER        505 W 10TH ST                                                                           JONESBORO         IN   46938‐1346
STEPHEN BRESCIANI JR   143 GREEN ST                                                                            HOPEDALE          MA   01747‐1925
STEPHEN BRICKER        9910 HIDDEN BRANCH LN                                                                   SHREVEPORT        LA   71118‐5049
STEPHEN BRIDGER        6747 BERWICK DR                                                                         CLARKSTON         MI   48346‐4715
STEPHEN BRINSO         32650 MERRITT DR                                                                        WESTLAND          MI   48185‐1532
STEPHEN BRISTOW        1709 ANDERSON FRANKTON RD                                                               ANDERSON          IN   46011‐8792
STEPHEN BRITTON        2418 ANCHOR CT                                                                          HOLT              MI   48842‐8749
STEPHEN BROCK          2141 KINGSCROSS DR                                                                      SHELBY TWP        MI   48316‐5609
STEPHEN BROWN          22269 50TH AVE                                                                          MARION            MI   49665‐8177
STEPHEN BROWN          3109 E 7TH ST                                                                           ANDERSON          IN   46012‐3831
STEPHEN BROWN          4142 N OXFORD ST                                                                        INDIANAPOLIS      IN   46205‐2958
STEPHEN BROWN
STEPHEN BROWNHEIM      26380 DELTON ST                                                                         MADISON HEIGHTS   MI   48071‐3631
STEPHEN BRUCE          909 COUNTRY LN                                                                          INDIANAPOLIS      IN   46217‐6830
STEPHEN BRUMFIELD      32651 BIRCHILL CT                                                                       CHESTERFIELD      MI   48047‐4021
STEPHEN BRUMM          16786 WILLOW CIR                                                                        FOUNTAIN VALLEY   CA   92708‐2250
STEPHEN BRYANT         24 DAMON CT                                                                             FARIBORN          OH   45324‐4219
STEPHEN BRYANT         650 PARSELLS AVENUE                                                                     ROCHESTER         NY   14609‐5421
STEPHEN BRYK
STEPHEN BUCHY          6468 FUNSTON RD SE                                                                      WINNABOW          NC   28479‐5356
STEPHEN BUCKLEY        6082 CURTIS RD                                                                          BRIDGEPORT        MI   48722‐9715
STEPHEN BUDA           104 ISABELLE RD                                                                         CHEEKTOWAGA       NY   14225‐1321
STEPHEN BUDD           16801 MAY AVE                                                                           EASTPOINTE        MI   48021‐3356
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Name                    Address1                        Address2           Address3         Address4         City             State Zip
STEPHEN BUFF            6216 HIGHWAY 178 W                                                                   LAKEVIEW          AR 72642‐9047
STEPHEN BUGIN           23801 HARDING AVE                                                                    HAZEL PARK        MI 48030‐1543
STEPHEN BUILA JR        2826 NILES CORTLAND RD NE                                                            CORTLAND          OH 44410‐1732
STEPHEN BULAZO          121 MARLBORO DR                                                                      NEW KENSINGTON    PA 15068‐4931
STEPHEN BULL            624 S OSBORN RD                                                                      SUMNER            MI 48889‐8734
STEPHEN BULLARD
STEPHEN BURBRINK        3365 42ND ST                                                                         CANFIELD         OH   44406‐9285
STEPHEN BURCH           1613 S HARRISON ST                                                                   ALEXANDRIA       IN   46001‐2815
STEPHEN BURFORD         43237 FORTNER DR                                                                     STERLING HTS     MI   48313‐1736
STEPHEN BURGESS         660 CAMINO DEL MAR                                                                   NEWBURY PARK     CA   91320‐6717
STEPHEN BURGESS         9228 S GUSTAFSON RD                                                                  CLINTON          WI   53525‐9279
STEPHEN BURKHART        1760 E MORGAN ST                                                                     MARTINSVILLE     IN   46151‐1847
STEPHEN BURNS           6100 N BITTERSWEET RD                                                                MORGANTOWN       IN   46160‐8106
STEPHEN BURR            3482 PREBLE COUNTY LINE RD S                                                         W ALEXANDRIA     OH   45381‐9516
STEPHEN BURT            7446 DRIFTWOOD DR                                                                    FENTON           MI   48430‐8904
STEPHEN BUSKE           863 BASELINE RD                                                                      GRAND ISLAND     NY   14072‐2507
STEPHEN BUSSING         PO BOX 472                                                                           BRAZIL           IN   47834‐0472
STEPHEN BUTCHER         3120 LOCKPORT OLCOTT RD                                                              NEWFANE          NY   14108‐9603
STEPHEN BUTLER          616 BENDERLOCK WAY                                                                   FORT WAYNE       IN   46804‐3514
STEPHEN BUWALA          5379 IDLEWEISE COURT                                                                 SPRING HILL      FL   34606‐1314
STEPHEN BYBEL           27 GUNTHER AVE                                                                       YONKERS          NY   10704‐1106
STEPHEN BYRNE           3473 CHARLWOOD DR                                                                    ROCHESTER HLS    MI   48306‐3620
STEPHEN C BOBST         7259 VINNEDGE RD                                                                     FAIRFIELD        OH   45011‐8610
STEPHEN C BOURCIER      PO BOX 379                                                                           OTISVILLE        MI   48463‐0379
STEPHEN C BURNS         143 NEWTON RD                                                                        ROCHESTER        NY   14626‐2341
STEPHEN C BURRESS I I   1904 MINNESOTA                                                                       MIDDLETOWN       OH   45044
STEPHEN C BYELICK       31 CREST DR                                                                          TARRYTOWN        NY   10591
STEPHEN C CALLICOAT     70 KENT RD                                                                           TIPP CITY        OH   45371
STEPHEN C CARTER        CO‐COUNSEL FOR WILLIAM HARDEE   PO BOX 368                                           HARTWELL         GA   30643‐0368
STEPHEN C CASE          2619 E 600 S                                                                         ANDERSON         IN   46017‐9500
STEPHEN C DIBLASI       426 FARMERSVILLE PIKE                                                                GERMANTOWN       OH   45327‐1035
STEPHEN C GREENE        WEITZ & LUXENBERG PC            700 BROADWAY                                         NEW YORK CITY    NY   10003
STEPHEN C HATCHEL       5276 NEWELL CIRCLE                                                                   KETTERING        OH   45440‐2807
STEPHEN C MAHONEY       282 N ROYAL BELL DR                                                                  GREEN VALLEY     AZ   85614
STEPHEN C MOUNTJOY      215 C GUNCKEL AVE                                                                    DAYTON           OH   45410
STEPHEN C PURNER        864 GLEBE RD                                                                         EARLEVILLE       MD   21919‐1313
STEPHEN C RAINS         5411 ROLSTON AVE                                                                     CINCINNATI       OH   45212
STEPHEN C SCHNEDER      1821 GUMMER AVE                                                                      DAYTON           OH   45403
STEPHEN C SCHNEIDER     1708 N 16TH ST                                                                       READING          PA   19604
STEPHEN C SEITZ         717 NELSON CT                                                                        TIPP CITY        OH   45371
STEPHEN C SHOPE         4887 TAYLORSVILLE RD                                                                 HUBER HEIGHTS    OH   45424‐2444
STEPHEN C STEDMAN       7235 N HEARTHSTONE GREEN DR                                                          HOUSTON          TX   77095
STEPHEN C TRACHSEL      975 SLOCUM DR                                                                        AUBURN HILLS     MI   48326‐3849
STEPHEN C WARD          145 THOREAU LN                                                                       XENIA            OH   45385
STEPHEN C WOLFE         11021 EAGLE RD                                                                       DAVISBURG        MI   48350‐1403
STEPHEN C. COLL         STEPHEN COLL                    53 OREGON ST                                         WASHINGTON       PA   15301‐4632
STEPHEN C. ERNST
STEPHEN CALL            4725 SHATTUCK RD                                                                     SAGINAW          MI   48603‐2960
STEPHEN CALL I I        1909 NE LIVITHA PL                                                                   BLUE SPRINGS     MO   64029‐3701
STEPHEN CAMPBELL        38 LOUTRE BEND RD                                                                    HERMANN          MO   65041‐2800
STEPHEN CAMPBELL        PO BOX 226                                                                           RACINE           OH   45771‐0226
STEPHEN CAMPBELL        3224 GEORGETOWN RD                                                                   INDIANAPOLIS     IN   46224‐2431
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STEPHEN CAMPBELL       5700 NW 56TH ST                                                                        KANSAS CITY        MO 64151‐2417
STEPHEN CAMPBELL       14912 WINTERS RD                                                                       ROANOKE            IN 46783‐8721
STEPHEN CANADAY        800 HORIZON DR                                                                         MARION              IL 62959‐3770
STEPHEN CARD           4920 LORE DR                                                                           WATERFORD          MI 48329‐1643
STEPHEN CAREY          PO BOX 980437                                                                          YPSILANTI          MI 48198‐0437
STEPHEN CARLISLE       PO BOX 9022                      APHQ CHINA                                            WARREN             MI 48090‐9022
STEPHEN CARNES         10081 EDGEWATER TRL                                                                    HOLLY              MI 48442‐9322
STEPHEN CARON          137 HAWKINS CT                                                                         GERMANTOWN         OH 45327‐8358
STEPHEN CARPENTER      2455 BARFIELD DR SE                                                                    GRAND RAPIDS       MI 49546‐5576
STEPHEN CARPENTER JR   4451 ASBURY DR                                                                         TOLEDO             OH 43612‐1809
STEPHEN CARTER         1325 POPLAR ST                                                                         BEDFORD            IN 47421‐3031
STEPHEN CARTER         8735 EASTHAM DR                                                                        CANTON             MI 48187‐8200
STEPHEN CASE           3315 CORDLEY LAKE RD                                                                   PINCKNEY           MI 48169‐9346
STEPHEN CASE           2619 E 600 S                                                                           ANDERSON           IN 46017‐9500
STEPHEN CASEBOLT       2468 PENUMBRA DR                                                                       HENDERSON          NV 89044‐4469
STEPHEN CASSATTA       2200 MILLSTREAM DR                                                                     WIXOM              MI 48393‐1747
STEPHEN CASTLEMUN JR   3190 HIGHLAND PARK PL                                                                  MEMPHIS            TN 38111‐3629
STEPHEN CASTOR         464 E STATE ST                                                                         PENDLETON          IN 46064‐1033
STEPHEN CATHEY         107 HILLTOP RD                                                                         DICKSON            TN 37055‐2221
STEPHEN CAVINESS       5354 SPRUCEVIEW LN                                                                     FOWLERVILLE        MI 48836‐9654
STEPHEN CEREZ          5599 WOODFIELD PKWY                                                                    GRAND BLANC        MI 48439‐9423
STEPHEN CESSNA         927 COLFAX DR                                                                          DANVILLE            IL 61832‐3324
STEPHEN CHAMBERS       2480 LYNN LAKE CIR S                                                                   ST PETERSBURG      FL 33712‐6117
STEPHEN CHAMBERS       456 E TIENKEN RD                                                                       ROCHESTER HILLS    MI 48306‐4535
STEPHEN CHANEY         11624 WATKINS DR                                                                       SHELBY TWP         MI 48315‐5758
STEPHEN CHAPMAN        7750 HAENSZEL RD                                                                       GROVE CITY         OH 43123‐9753
STEPHEN CHAPPELL       15 3RD AVE APT 35                                                                      LONGMONT           CO 80501‐5678
STEPHEN CHARLES        9054 CAVELL AVE                                                                        LIVONIA            MI 48150‐4166
STEPHEN CHARLTON       335 ABERDEEN AVE                                                                       DAYTON             OH 45419‐3205
STEPHEN CHARTIER       12696 TAKOMA DR                                                                        STERLING HTS       MI 48313‐3371
STEPHEN CHIASSON       8150 EARLY MORNING WAY                                                                 ANTELOPE           CA 95843‐5369
STEPHEN CHMIELEWICZ    5905 GREEN RD                                                                          HASLETT            MI 48840‐9784
STEPHEN CHODAK         79 BRU MAR DR                                                                          ROCHESTER          NY 14606‐5355
STEPHEN CHRCEK         645 MONTANA ST                                                                         MARYSVILLE         MI 48040‐1225
STEPHEN CHRISTENSEN    431 N MILL ST                                                                          CLIO               MI 48420‐1226
STEPHEN CHRISTIAN      5648 N CROWN ST                                                                        WESTLAND           MI 48185‐2245
STEPHEN CHRISTINE      6333 LONGVIEW RD                                                                       SHAWNEE            KS 66218‐9739
STEPHEN CHUBATY JR     438 N GREECE RD                                                                        HILTON             NY 14468‐8974
STEPHEN CHUBRICK       223 ROYAL PALM CIR               ROYAL PALM COUNTRY CLUB                               LARGO              FL 33778‐1358
STEPHEN CHURCH         295 N COLE ST                                                                          INDIANAPOLIS       IN 46224‐8805
STEPHEN CHVOJKA JR     7650 N BLAIR RD                                                                        BRECKENRIDGE       MI 48615‐9725
STEPHEN CHVOJKA SR     7676 N BLAIR RD                  R#2                                                   BRECKENRIDGE       MI 48615‐9725
STEPHEN CHYBA          2885 MULBERRY DR                                                                       CLARKSTON          MI 48348‐5305
STEPHEN CLARK          22 HICKORY LN S                                                                        CRAWFORDSVILLE     IN 47933‐7602
STEPHEN CLAY, SR.      203 FULTON ST.                                                                         BROOKHAVEN         MS 39601
STEPHEN CLIFFORD       8854 STONEBRIAR DR                                                                     CLARENCE CTR       NY 14032‐9157
STEPHEN CLOSSER        1607 MAGNOLIA DR                                                                       ANDERSON           IN 46011‐3041
STEPHEN CLOUSE         PO BOX 37                                                                              YORKTOWN           IN 47396‐0037
STEPHEN COCKRILL       15601 W 650 S                                                                          ANDERSON           IN 46017‐9308
STEPHEN COLBURN        1571 E COUNTY LINE RD                                                                  MINERAL RIDGE      OH 44440‐9576
STEPHEN COLBY          14421 W STOLL RD                                                                       EAGLE              MI 48822‐9608
STEPHEN COLE           2319 AIRPORT RD                                                                        ADRIAN             MI 49221‐3691
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Name                  Address1                          Address2            Address3         Address4         City              State Zip
STEPHEN COLE          PO BOX 712                                                                              OWOSSO             MI 48867‐0712
STEPHEN COLETTA       PO BOX 9022                       GMDAT (SEOUL)                                         WARREN             MI 48090‐9022
STEPHEN COLLIN        1288 CATALPA DR                                                                         ROCHESTER HILLS    MI 48307‐1500
STEPHEN COLLINS       56 MEADOW LARK LN                                                                       SCOTTSVILLE        KY 42164‐8319
STEPHEN COLLINS       13520 STEPHEN RD                                                                        STOCKBRIDGE        MI 49285‐9557
STEPHEN COLLINS       2401 DOUBLE BRANCH RD                                                                   COLUMBIA           TN 38401‐6165
STEPHEN COLWELL       PO BOX 1055                                                                             BURLESON           TX 76097‐1055
STEPHEN COMBS JR      PO BOX 416                                                                              LEWISBURG          OH 45338‐0416
STEPHEN COMBS JR      P. O. BOX 416                                                                           LEWISBURG          OH 45338‐0416
STEPHEN COMERFORD     1713 OHIO AVE                                                                           FLINT              MI 48506‐4340
STEPHEN CONDLEY       3414 LITTLESTONE DR                                                                     ARLINGTON          TX 76014‐3170
STEPHEN CONGER        825 COUNTY ROAD 212                                                                     FREMONT            OH 43420‐9277
STEPHEN CONNOR        3102 LINDA DR                                                                           FLINT              MI 48507‐4523
STEPHEN CONTRERAS     3901 VIA MONTALVO                                                                       CAMPBELL           CA 95008‐2726
STEPHEN CONWELL       409 TOMAHAWK BLVD                                                                       KOKOMO             IN 46902‐5552
STEPHEN COOK          375 LEONARD ST NW                                                                       GRAND RAPIDS       MI 49534‐6853
STEPHEN COONEY        1924 WINCHESTER DR                                                                      EAST LANSING       MI 48823‐1355
STEPHEN COOPER        8025 COOK AVE                                                                           MARION             MI 49665‐9557
STEPHEN COPAS         112 PINEWOOD CT                                                                         GREENVILLE         OH 45331‐1093
STEPHEN COPSY         9206 WALTON ST                                                                          INDIANAPOLIS       IN 46231‐1168
STEPHEN CORNWELL      1904 COVINGTON DR SE                                                                    GRAND RAPIDS       MI 49506‐4939
STEPHEN CORON         5801 BRANCH RD                                                                          FLINT              MI 48506‐1383
STEPHEN COTTRILL      PO BOX 309                                                                              MIAMITOWN          OH 45041‐0309
STEPHEN COUNTS        1995 CROSS WILLOWS CT                                                                   BOWLING GREEN      KY 42104‐4731
STEPHEN COVEY/PROVO   3507 N UNIVERSITY AVE STE 100                                                           PROVO              UT 84604‐4479
STEPHEN COWAP
STEPHEN COWLEY        2461 CANADIAN WAY APT 55                                                                CLEARWATER        FL   33763‐3755
STEPHEN COX           1229 ACADEMY CT                                                                         ARLINGTON         TX   76013‐2305
STEPHEN CRAIG         245 W WOOD ST                                                                           PARIS             IL   61944‐1713
STEPHEN CRAIG         1419 BARDSHAR RD                                                                        SANDUSKY          OH   44870‐9750
STEPHEN CRAIG
STEPHEN CRANS         32 SHERMAN CT                                                                           EVANSVILLE        WI   53536‐1031
STEPHEN CRAWFORD      741 MARTINCIC LN                                                                        TIONESTA          PA   16353‐7212
STEPHEN CRAWFORD      1128 MIAMI ST                                                                           LEAVENWORTH       KS   66048‐1774
STEPHEN CRAWFORD      320 N CLEVELAND AVE                                                                     BELTON            MO   64012‐1876
STEPHEN CREMEANS      831 NORTH PONTIAC TRIAL                                                                 WALLED LAKE       MI   48390
STEPHEN CRIM          4800 MASON RD                                                                           OWOSSO            MI   48867‐9359
STEPHEN CRISLER       545 LEBANON CHURCH RD                                                                   PADUCAH           KY   42003‐9383
STEPHEN CRNKOVICH     5101 INDIAN HILLS TRL                                                                   FLINT             MI   48506‐1184
STEPHEN CRONIN        202 CANDLELITE LANE                                                                     OOLITIC           IN   47451
STEPHEN CROSS         8528 ROYAL WOODS DR                                                                     CLARKSTON         MI   48348‐3497
STEPHEN CROUCH        1913 S POST RD                                                                          ANDERSON          IN   46012‐2745
STEPHEN CROWE
STEPHEN CRUM          1033 PEBBLE CT                                                                          ANDERSON          IN   46013‐3773
STEPHEN CRUMP         4345 W 200 N                                                                            PORTLAND          IN   47371‐8597
STEPHEN CUKOVECKI     1499 ROCKWELL DR                                                                        XENIA             OH   45385‐3857
STEPHEN CULP          45139 N SPRING DR                                                                       CANTON            MI   48187‐2541
STEPHEN CUMMER        2330 BINGHAM RD                                                                         CLIO              MI   48420‐1953
STEPHEN CURRAN        72 HOME ST                                                                              PONTIAC           MI   48342‐1338
STEPHEN CURRY         204 EMERALD CIR                                                                         DUNDEE            MI   48131‐2011
STEPHEN CZAJA         15 MARJORIE DR                                                                          BUFFALO           NY   14223‐2419
STEPHEN CZEH          5 COLIN KELLY ST                                                                        CRANFORD          NJ   07016‐3334
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STEPHEN CZEKNER
STEPHEN CZERNESKI       4860 BELL OAK RD                                                                          WEBBERVILLE        MI    48892‐9754
STEPHEN D ABSTON        5701 E DECKER RD D                                                                        FRANKLIN           OH    45005
STEPHEN D BOJACK        7862 S CLAYTON WAY                                                                        CENTENNIAL         CO    80122
STEPHEN D BOWMAN        2108 VAN OSS DR                                                                           DAYTON             OH    45431‐3326
STEPHEN D CHRISTENSEN   32 HAYNES ST                                                                              DAYTON             OH    45410‐1819
STEPHEN D COTTERMAN     412 DONAL TERRACE                                                                         WHITE HOUSE        TN    37188‐9189
STEPHEN D DAGLEY        3306 S 725 E                                                                              WALDRON            IN    46182‐9708
STEPHEN D EVERS         5870 CURSON DR                                                                            TOLEDO             OH    43612‐4009
STEPHEN D GONZALES      545 LINACRE DR                                                                            CROWLEY            TX    76036‐4115
STEPHEN D HAGANS        209 GLENSIDE CT                                                                           TROTWOOD           OH    45426‐2733
STEPHEN D HALL          C/O WEITZ AND LUEXNBERG PC       700 WEST BROADWAY                                        NEW YORK CITY      NY    10003
STEPHEN D HARTMAN       4201 CEDAR HILLS AVE                                                                      SPRINGFIELD        OH    45504
STEPHEN D HAYDEN        2996 HEWITT GIFFORD RD SW                                                                 WARREN             OH    44481
STEPHEN D HENDRICKS     295 E MEADE ST                                                                            PEARL              MS    39208
STEPHEN D HROMYAK       3509 LARCHMONT AVE NE                                                                     WARREN             OH    44483
STEPHEN D HUTCHINSON    5735 BUCKWHEAT ROAD                                                                       MILFORD            OH    45150
STEPHEN D JETTE         451 QUARRY RD                                                                             JAMESTOWN          OH    45335‐1717
STEPHEN D JOHNSON       6230 MANTZ AVE                                                                            DAYTON             OH    45427‐1831
STEPHEN D LARGE         1819 WAYNE AVENUE                                                                         DAYTON             OH    45410‐1713
STEPHEN D LUCAS         937 SHADY LN                                                                              BEAVERCREEK        OH    45434‐7142
STEPHEN D MATTESON      2127 HIDDEN MEADOWS DR UNIT D                                                             WALLED LAKE        MI    48390‐2578
STEPHEN D MORRIS        4267 S LAKE DR                                                                            PRESCOTT           MI    48756‐9302
STEPHEN D NEELY         315 MARBLE BEND DR                                                                        WENTZVILLE         MO    63385
STEPHEN D PATKO         118 1/2 LINDEN AVE                                                                        DAYTON             OH    45403‐1919
STEPHEN D WATZ          3360 DAVISON RD                                                                           LAPEER             MI    48446‐2903
STEPHEN D WEAVER        PO BOX 472                                                                                NEWPORT            IN    47966‐0472
STEPHEN D WHITING       8371 BARKLEY RD                                                                           MILLINGTON         MI    48746‐9514
STEPHEN D ZAMARRON      11788 5 MILE RD NE                                                                        LOWELL             MI    49331‐9725
STEPHEN D.ST.E WOOD
STEPHEN DAGLEY          3306 S 725 E                                                                              WALDRON            IN    46182‐9708
STEPHEN DALTON          12314 N PADDOCK RD                                                                        CAMBY              IN    46113‐8552
STEPHEN DALY            PO BOX 7824                                                                               FLINT              MI    48507‐0824
STEPHEN DAMIANO         269 ANNELISE AVE                                                                          SOUTHINGTON        CT    06489‐2022
STEPHEN DANFORTH        83 N 1100 E                                                                               GREENTOWN          IN    46936‐9412
STEPHEN DANG            11826 SORTINO CT                                                                          MOORPARK           CA    93021‐3346
STEPHEN DANIEL          3718 CREADY HILL RD                                                                       PITTSBURGH         PA    15236‐1125
STEPHEN DANIELS         1538 OSBORN ST                                                                            SAGINAW            MI    48602‐2830
STEPHEN DANIELS         11133 MCENRUE RD                 C/O RITA HUDAK                                           SWARTZ CREEK       MI    48473‐8506
STEPHEN DANNA           118 ROGERS DRIVE                                                                          BERNICE            LA    71222‐4726
STEPHEN DARLING         3306 PONEMAH DR                                                                           FENTON             MI    48430‐1349
STEPHEN DARLING         4683 LANSING RD                                                                           PERRY              MI    48872‐9715
STEPHEN DAUGHERTY       14016 FISH LAKE RD                                                                        HOLLY              MI    48442‐8306
STEPHEN DAVENPORT       7095 HUNTERS RIDGE DR                                                                     PLAINFIELD         IN    46158‐7920
STEPHEN DAVIDSON        18294 NEWBY CHAPEL RD                                                                     ATHENS             AL    35613‐6000
STEPHEN DAVIS           5160 E STANLEY RD                                                                         FLINT              MI    48506‐1188
STEPHEN DAVIS           24302 COTE D'NEL                                                                          FARMINGTON HILLS   MI    48336
STEPHEN DAVIS           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH    44236
STEPHEN DAVIS JR        1414 N ROCHESTER AVE                                                                      INDIANAPOLIS       IN    46222‐2949
STEPHEN DAY             16 CHINOOK CT                                                                             TIPP CITY          OH    45371‐1508
STEPHEN DE ANDY         39857 WILMETTE DR                                                                         STERLING HTS       MI    48313‐5660
STEPHEN DEAN            304 N 1ST ST APT 2                                                                        BRIGHTON           MI    48116‐1276
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Name                     Address1                         Address2                     Address3   Address4         City                State Zip
STEPHEN DEAN             751 RIVER EDGE CT                                                                         FLUSHING             MI 48433‐2130
STEPHEN DEARING          705 RUSTIC RD                                                                             ANDERSON             IN 46013‐1541
STEPHEN DEARMENT         7010 HAYES ORGVILLE RD                                                                    BURGHILL             OH 44404
STEPHEN DEBRAND          6355 MOONSTONE DR                                                                         GRAND BLANC          MI 48439‐7810
STEPHEN DECK             5264 ROBINSON VAIL RD                                                                     FRANKLIN             OH 45005‐4729
STEPHEN DEFRANK          20851 RIVERS FRD                                                                          ESTERO               FL 33928‐2262
STEPHEN DELANEY          904 ONEIDA WOODS TRL                                                                      GRAND LEDGE          MI 48837‐2255
STEPHEN DEMBIEC          S67W19034 STEEPLECHASE DR                                                                 MUSKEGO              WI 53150‐8568
STEPHEN DEMETER          51184 NORTHVIEW                                                                           PLYMOUTH             MI 48170‐5169
STEPHEN DEMUSZ           7043 FERRY RD                                                                             NEW HOPE             PA 18938‐9735
STEPHEN DENMAN           4727 NIXON RD                                                                             DIMONDALE            MI 48821‐9718
STEPHEN DENNIS           11827 WOODSPOINTE DR                                                                      GRAND LEDGE          MI 48837‐9100
STEPHEN DENORIO          1238 E MAIN ST                                                                            SHRUB OAK            NY 10588‐1425
STEPHEN DEOREO           2437 HENN HYDE RD NE                                                                      WARREN               OH 44484‐1247
STEPHEN DERBY            534 ROCKINGHAM AVE                                                                        ALMA                 MI 48801‐2721
STEPHEN DESOVICH         67 HILL PKWY                                                                              MIDDLEBURY           CT 06762‐3327
STEPHEN DETRICK          4925 STATE ROUTE 93 SE                                                                    NEW LEXINGTON        OH 43764‐9737
STEPHEN DEWAYNE SMITH    C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                      LITTLE ROCK          AR 72201
STEPHEN DEWILDE          13676 108TH AVE                                                                           GRAND HAVEN          MI 49417‐9769
STEPHEN DEX              2770 BUCKINGHAM AVE                                                                       BERKLEY              MI 48072‐1359
STEPHEN DEXTER           LATHROP & GAGE LLP               370 17TH STREET                                          DENVER               CO 80202
STEPHEN DIBLASI          426 FARMERSVILLE PIKE                                                                     GERMANTOWN           OH 45327‐1035
STEPHEN DICIACCIO        363 FISHER RD                                                                             ROCHESTER            NY 14624‐3531
STEPHEN DILLON           6936 CANDLEWOOD TRL                                                                       W BLOOMFIELD         MI 48322‐3924
STEPHEN DIMARIA          1403 TURNBERRY CT                                                                         BOWLING GREEN        OH 43402‐5209
STEPHEN DION             2717 VILLAGE DR                                                                           THOMPSONS STATION    TN 37179‐9283
STEPHEN DOBBS            1148 WEAVER FARM LN                                                                       SPRING HILL          TN 37174‐2185
STEPHEN DOBRICH          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.          OH 44236
STEPHEN DOLAN            12584 TENNYSON LN APT 206                                                                 CARMEL               IN 46032‐5459
STEPHEN DOLAN JR         8499 E M 71 LOT 10                                                                        DURAND               MI 48429‐1005
STEPHEN DOMBROWSKI       8034 HOUSE ST                                                                             DETROIT              MI 48234‐3342
STEPHEN DORAN            11270 SILVERLAKE CT                                                                       SHELBY TOWNSHIP      MI 48317‐2646
STEPHEN DORINGO          14000 REEDER AVE NE                                                                       ALLIANCE             OH 44601‐9663
STEPHEN DOUBLER          3527 OAKMONTE BLVD                                                                        ROCHESTER            MI 48305‐4790
STEPHEN DOUGLAS          418 N RICHVIEW AVE                                                                        YOUNGSTOWN           OH 44509‐1732
STEPHEN DOUGLAS          165 S OPDYKE RD LOT 47                                                                    AUBURN HILLS         MI 48326‐3148
STEPHEN DOUGLAS MORRIS   4267 S LAKE DR                                                                            PRESCOTT             MI 48756‐9302
STEPHEN DOWNS            230 TURNER RD                                                                             CASAR                NC 28020‐7735
STEPHEN DRAKE            35 E SPRGVLY‐PAINTERSVILLE                                                                XENIA                OH 45385
STEPHEN DRAPER           6503 JUNIOR CT                                                                            CARLISLE             OH 45005‐4145
STEPHEN DRIESLEIN        PO BOX 155                                                                                GRIMSLEY             TN 38565‐0155
STEPHEN DRINNON          3344 W HICKORY RDG                                                                        ORTONVILLE           MI 48462‐9282
STEPHEN DRUMMOND         4530 SNIDER RD                                                                            GIBSON               GA 30810‐4406
STEPHEN DUCKLO           2749 JUPITER DR                                                                           FAIRFIELD            OH 45014‐5000
STEPHEN DUCKWORTH        480 HIGHWAY 160                                                                           BENTON               LA 71006‐8611
STEPHEN DUDEK            69 SCHOOL ST                                                                              HUDSON               PA 18705‐3432
STEPHEN DUNAWAY          7320 ESSEX DR                                                                             YPSILANTI            MI 48197‐3176
STEPHEN DUNCAN           12950 BELL RD                                                                             BURT                 MI 48417‐9622
STEPHEN DUNLAP MAY       WEITZ & LUXENBERG PC             700 BROADWAY                                             NEW YORK CITY        NY 10003
STEPHEN DUNLAP MAY       C/O WEITZ & LUXENBERG PC         700 BROADWAY                                             NEW YORK CITY        NY 10003
STEPHEN DUNN             11828 N 750 W                                                                             ELWOOD               IN 46036‐8635
STEPHEN DUNNING          5372 HAMMOND RD                                                                           LAPEER               MI 48446‐2779
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Name                                   Address1                       Address2              Address3              Address4         City            State Zip
STEPHEN DURDEN                         6485 CONWAY RD                                                                              CHELSEA          MI 48118‐9473
STEPHEN DURHAM                         10853 WILBUR HWY                                                                            EATON RAPIDS     MI 48827‐9336
STEPHEN DUROSKY                        12 LONG VIEW DR                                                                             STROUDSBURG      PA 18360‐8283
STEPHEN DUSKO                          26 WASHINGTON AVE                                                                           SOUTH AMBOY      NJ 08879‐2434
STEPHEN DUYNSLAGER                     5410 RIVER RIDGE DR                                                                         FLUSHING         MI 48433‐1062
STEPHEN DYBATA                         6455 SANDY KNL                                                                              LINDEN           MI 48451‐9690
STEPHEN DYER                           2131 THORNHILL ST                                                                           PORT HURON       MI 48060‐6653
STEPHEN E BENZ                         107 LIND AVE                                                                                SYRACUSE         NY 13211‐1820
STEPHEN E BOODIN                       909 W MAPLE RD STE 104                                                                      CLAWSON          MI 48017‐1000
STEPHEN E BREWER                       8896 SHEPARD RD                                                                             MACEDONIA        OH 44056
STEPHEN E CAVANAUGH                    338 WATERVLIET AVE                                                                          DAYTON           OH 45420
STEPHEN E COMBS                        1140 MARINA BAY DR APT 205                                                                  KEMAH            TX 77565
STEPHEN E CRAWFORD                     5544 E STATE BLVD                                                                           FORT WAYNE       IN 46815‐7475
STEPHEN E FLANNERY                     216 WOODRIDGE DRIVE                                                                         MIAMISBURG       OH 45342
STEPHEN E KELLER AND MARICA A KELLER   C/O STEPHEN E KELLER           32 SARAH LANE                                                MT JOY           PA 17552

STEPHEN E LACOMB                       PO BOX 824                                                                                  SYLVAN BEACH    NY   13157‐0824
STEPHEN E LIMBERT                      2868 RHETT DR                                                                               DAYTON          OH   45434
STEPHEN E LOY                          326 MCCABE STREET                                                                           EATON           OH   45320‐1840
STEPHEN E MASSEY                       4004 GLENROSE DR                                                                            COLUMBIA        TN   38401‐5013
STEPHEN E MAUCH                        1010 E WHIPP RD                                                                             CENTERVILLE     OH   45459‐2212
STEPHEN E MOSES                        511 STOVER RD                                                                               W. ALEXANDRIA   OH   45381‐9302
STEPHEN E RICHARDSON                   401 E STAUNTON RD                                                                           TROY            OH   45373
STEPHEN E ROLLINS                      PO BOX 669                                                                                  HOMER           AL   99603
STEPHEN E SATTLER                      WEITZ & LUXENBERG PC           700 BROADWAY                                                 NEW YORK CITY   NY   10003
STEPHEN E SATTLER                      C/O WEITZ & LUXENBERG PC       700 BROADWAY                                                 NEW YORK CITY   NY   10003
STEPHEN E SCHEELE                      9013 INDIANAPOLIS BLVD                                                                      HIGHLAND        IN   46322
STEPHEN E SIGLER                       3493 DRAPER AVENUE SE                                                                       WARREN          OH   44484‐3328
STEPHEN E SPISAK                       4483 KNOB HILL DR                                                                           BELLBROOK       OH   45305‐1428
STEPHEN E TRENT                        300 JOHNSON TRAIL                                                                           MORAINE         OH   45418‐2995
STEPHEN E WESSON                       16745 OLD JAMESTOWN RD                                                                      FLORISSANT      MO   63034‐1408
STEPHEN E WHITE, PERSONAL              STEPHEN E WHITE                C/O BRAYTON PURCELL   222 RUSH LANDING RD                    NOVATO          CA   94948‐6169
REPRESENTATIVE FOR ROBERT L WHITE
STEPHEN E WILLIAMS                     2123 COLTON DR                                                                              KETTERING       OH   45420
STEPHEN E WILSON                       910 KINGSDALE AVE                                                                           TILTON          IL   61833‐7958
STEPHEN E WOOLLARD                     2241 S LAKEMAN DR                                                                           BELLBROOK       OH   45305
STEPHEN E WREN                         14312 SAWGRASS CIRCLE                                                                       VALLEY CENTER   CA   92082
STEPHEN EASTRIDGE                      501 W SUMMIT AVE                                                                            WILMINGTON      DE   19804‐1813
STEPHEN EDWARDS                        633 ASHLEY LN                                                                               DAYTON          TN   37321‐2534
STEPHEN EDWARDS                        575 TOWNCREST DR                                                                            BEAVERCREEK     OH   45434‐5859
STEPHEN EDWARDS                        2160 N LATHROP RD                                                                           SWANTON         OH   43558‐8945
STEPHEN EGRY                           1328 DEPOT ST                                                                               MINERAL RIDGE   OH   44440‐9799
STEPHEN EILENFELD                      1449 CHEW RD                                                                                MANSFIELD       OH   44903‐9230
STEPHEN ELEY                           1291 TUSCANY BLVD                                                                           VENICE          FL   34292‐6637
STEPHEN ELLIOTT                        7652 W INTERSTATE 20                                                                        WEATHERFORD     TX   76088‐8200
STEPHEN ELLSWORTH                      2356 PRICE DR                                                                               ANDERSON        IN   46012‐9270
STEPHEN ELSWORTH                       7302 CHIMNEY ROCK CT                                                                        INDIANAPOLIS    IN   46217‐4075
STEPHEN EMBERTON                       9909 E ROLLING MEADOWS DR                                                                   MUSTANG         OK   73064‐9638
STEPHEN EMSLEY                         41336 WINDSOR CT.                                                          48167            NORTHVILLE      MI   48167
STEPHEN ENGEL                          5960 NW 136TH ST                                                                            KANSAS CITY     MO   64164‐1049
STEPHEN ENGELMANN                      6517 GREENE HAVEN DR                                                                        CLARKSTON       MI   48348‐4419
STEPHEN ENGLAND                        8983 S. COMMONS CIRCLE         APT. 36E                                                     WASHINGTN TWP   MI   48094
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Name                          Address1                         Address2                     Address3       Address4         City              State Zip
STEPHEN ENGLUND               5310 PARVIEW DR                                                                               CLARKSTON          MI 48346‐2810
STEPHEN ENNIS                 2350 E WILSON RD                                                                              CLIO               MI 48420‐7939
STEPHEN ERICKSON              4235 ALLENDALE DR                                                                             JANESVILLE         WI 53546‐2144
STEPHEN ERICKSON              1108 LA SALLE AVE                                                                             WATERFORD          MI 48328‐3750
STEPHEN ERSKINE               12239 FAIRVIEW DR                                                                             STERLING HTS       MI 48312‐2166
STEPHEN ESSIG                 312 WASHINGTON STREET                                                                         SPENCERPORT        NY 14559‐9511
STEPHEN ESTLE                 7096 S CEDARVIEW LN                                                                           CEDAR              MI 49621‐8507
STEPHEN ETTERLE               4847 SENECA ST                                                                                BUFFALO            NY 14224‐4927
STEPHEN ETTIENNE              PO BOX 29309                                                                                  SHREVEPORT         LA 71149‐9309
STEPHEN EUBANK                18830 BUNGALOW DR                                                                             LATHRUP VILLAGE    MI 48076‐3382
STEPHEN EVANS                 7025 DERBY RD                                                                                 DERBY              NY 14047‐9774
STEPHEN EVARIAN               8222 N SILVERY LN                                                                             DEARBORN HTS       MI 48127‐1317
STEPHEN F AUS                 7000 PARK AVE SO                                                                              RICHFIELD          MN 55423
STEPHEN F AUSTIN STATE UNIV   PO BOX 13053                                                                                  NACOGDOCHES        TX 75962‐0001
STEPHEN F BEATY               1570 W FM 1382                                                                                CEDAR HILL         TX 75104
STEPHEN F DEOREO              2437 HENN HYDE                                                                                WARREN             OH 44484‐1247
STEPHEN F FULLER              2510 HEN HYDE                                                                                 CORTLAND           OH 44410‐9447
STEPHEN F GROSS               NIX, PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT     205 LINDA DR                    DAINGERFIELD       TX 75638
STEPHEN F HARGIS              55 N MAIN ST                                                                                  CLARKSTON          MI 48346
STEPHEN F LUKASIEWICZ         31 MALTBY ST                                                                                  ROCHESTER          NY 14606‐1441
STEPHEN F SZKOLNIK            315 E MOLLOY RD                                                                               SYRACUSE           NY 13211‐1639
STEPHEN F WYBORSKI            1188 INCA TRAIL                                                                               LAKE ORION         MI 48362
STEPHEN FABER                 3023 BLACKMAN RD                                                                              JACKSON            MI 49201‐9015
STEPHEN FABUS                 7605 E COLONY RD                                                                              ELSIE              MI 48831‐9760
STEPHEN FALK                  1408 LINDY DR                                                                                 LANSING            MI 48917‐8979
STEPHEN FALKO                 25640 LARKINS ST                                                                              SOUTHFIELD         MI 48033‐4849
STEPHEN FANTE                 9380 UTE POINTE DR                                                                            CLARKSTON          MI 48346‐1859
STEPHEN FARINOLA              2360 CAMBRIDGE RD                                                                             BERKLEY            MI 48072‐1709
STEPHEN FARKAS                BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS.        OH 44236
STEPHEN FARMER                7739 KIRKWOOD                                                                                 NEWPORT            MI 48166‐9429
STEPHEN FARRAR                16137 MEREDITH CT                                                                             LINDEN             MI 48451‐9095
STEPHEN FARRIS                5946 RICHMOND LN                                                                              INDIANAPOLIS       IN 46254‐1067
STEPHEN FEHER                 3227 JEANNETTE AVE                                                                            TOLEDO             OH 43608‐2150
STEPHEN FELIX                 8216 N SOONER RD                                                                              OKLAHOMA CITY      OK 73151‐9224
STEPHEN FENTER                15309 SPONSELLER RD                                                                           DEFIANCE           OH 43512‐8818
STEPHEN FERCHEN               10 STANDISH RD                                                                                LOCKPORT           NY 14094‐3315
STEPHEN FERCHEN JR            4710 OAK ORCHARD RD                                                                           ALBION             NY 14411
STEPHEN FERENCZI              206 DEVONSHIRE DR                                                                             LIMA               OH 45804‐3320
STEPHEN FERRO                 1344 SPRINGWOOD TRCE SE                                                                       WARREN             OH 44484‐3143
STEPHEN FESLER                3704 QUAIL LN                                                                                 ANDERSON           IN 46012‐9600
STEPHEN FIELDS                413 W LOMAR AVE                                                                               CARLISLE           OH 45005‐3362
STEPHEN FIELDS                512 N 5TH ST                                                                                  MIDDLETOWN         IN 47356‐1006
STEPHEN FIRMENT               624 WASHINGTON BLVD                                                                           MC DONALD          OH 44437‐1846
STEPHEN FIRMENT               1109 LOGAN AVE                                                                                MC DONALD          OH 44437‐1649
STEPHEN FISHER                77 CASTLE CIR                                                                                 CROSSVILLE         TN 38555‐6864
STEPHEN FISHER                1004 WILTSHIRE DR                                                                             OWOSSO             MI 48867‐1970
STEPHEN FISHER                1664 HELENA DR                                                                                MANSFIELD          OH 44904‐1817
STEPHEN FITCH                 22022 ROAD 128                                                                                OAKWOOD            OH 45873‐9314
STEPHEN FLACHS                4450 N GUY RD                                                                                 LAKE               MI 48632‐9652
STEPHEN FLAMION               199 CASTLE DR                                                                                 GILBERTSVILLE      KY 42044‐8537
STEPHEN FLANNERY              216 WOODRIDGE DR                                                                              MIAMISBURG         OH 45342‐3543
STEPHEN FLASK                 7050 DOWNS RD NW                                                                              WARREN             OH 44481‐9413
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Name                  Address1                       Address2                 Address3    Address4         City                State Zip
STEPHEN FLEMING       30 COAL RUN RD                                                                       MARIETTA             OH 45750‐8737
STEPHEN FLEMING       3190 KINGS MILL RD                                                                   NORTH BRANCH         MI 48461‐8919
STEPHEN FLESSNER      16706 STERLING RD                                                                    WILLIAMSPORT         MD 21795‐3156
STEPHEN FLETCHER      1611 US ROUTE 68 S                                                                   XENIA                OH 45385‐9751
STEPHEN FLETCHER      7200 EDWARDS RD                                                                      BELLEVILLE           MI 48111‐1102
STEPHEN FLINT         811 THOMAS ST                                                                        JANESVILLE           WI 53545‐1635
STEPHEN FLOOD         828 SENTINEL DR                                                                      JANESVILLE           WI 53546‐3710
STEPHEN FLYNN         32 HOUGH RD                                                                          MASSENA              NY 13662‐3307
STEPHEN FLYNN         6610 AUGUSTA PINES PKWY E                                                            SPRING               TX 77389‐4053
STEPHEN FLYNN         6310 TOLBERT CT                                                                      FORT WAYNE           IN 46804‐4241
STEPHEN FOGLE         3388 WINTERBERRY DR                                                                  W BLOOMFIELD         MI 48324‐2463
STEPHEN FOISTER       7178 IRON KETTLE DR                                                                  HAMILTON             OH 45011‐5519
STEPHEN FORD          8901 MERIDIAN RD                                                                     BANNISTER            MI 48807‐9317
STEPHEN FORD          RR 1 BOX 2190                                                                        DONIPHAN             MO 63935‐9757
STEPHEN FORD          3 DOGWOOD DR                                                                         SHALIMAR             FL 32579
STEPHEN FORTENBERRY   10451 SHARP RD                                                                       SWARTZ CREEK         MI 48473‐9121
STEPHEN FORTIN        3717 BULLARD RD                                                                      HARTLAND             MI 48353‐2015
STEPHEN FOSTER        2007 N PONCA DR                                                                      INDEPENDENCE         MO 64058‐1278
STEPHEN FOUNTAINE     6016 LIBERTY GLADE CT                                                                FORT WAYNE           IN 46804‐4219
STEPHEN FOWLER        8132 N 875 W                                                                         MIDDLETOWN           IN 47356
STEPHEN FOX           1116 GREENBRIAR DR                                                                   ANDERSON             IN 46012‐4528
STEPHEN FOX           14749 W HANSES RD                                                                    WESTPHALIA           MI 48894‐9236
STEPHEN FOX           1471 GIDDINGS RD                                                                     PONTIAC              MI 48340‐1408
STEPHEN FRALICK       600 PINE ST                                                                          ESSEXVILLE           MI 48732‐1428
STEPHEN FRANCIS       21916 ROSEDALE ST                                                                    ST CLAIR SHRS        MI 48080‐2342
STEPHEN FRANCO        APT 10                         4000 NORTH MAIN STREET                                FALL RIVER           MA 02720‐1655
STEPHEN FRANKLIN      PO BOX 109                                                                           FRANKLIN             ME 04634‐0109
STEPHEN FRANKLIN JR   34732 GLEN ST                                                                        WESTLAND             MI 48186‐8414
STEPHEN FRANKO        4614 PINEGROVE AVE                                                                   AUSTINTOWN           OH 44515‐4847
STEPHEN FRANTZ        566 SAND STONE DR                                                                    WOOSTER              OH 44691‐6931
STEPHEN FREDERICK     403 E HERBISON DR                                                                    DEWITT               MI 48820‐9683
STEPHEN FREUND        7536 S MORRICE RD                                                                    MORRICE              MI 48857‐9773
STEPHEN FRICKERT      123 HOME                                                                             DAYTON               OH 45401
STEPHEN FRONTZ        902 ANGELICA ST                                                                      BOWLING GREEN        KY 42104‐5502
STEPHEN FROST         25474 HATCHELL RD                                                                    TONGANOXIE           KS 66086‐3281
STEPHEN FROST         9119 N ELMS RD                                                                       CLIO                 MI 48420‐8509
STEPHEN FRY           4898 GEORGETOWN DR                                                                   ROCHESTER            MI 48306‐1490
STEPHEN FRY           COUNTY ATTORNEY                2401 SE MONTEREY RD                                   STUART               FL 34996‐3322
STEPHEN FULFORD       8403 NOTTINGHILL DR                                                                  INDIANAPOLIS         IN 46234‐2666
STEPHEN FULK          PO BOX 229                                                                           MARKLEVILLE          IN 46056‐0229
STEPHEN FULLER        2201 S WEBSTER DR                                                                    YORKTOWN             IN 47396‐1445
STEPHEN FULLER        1116 RANIKE DR                                                                       ANDERSON             IN 46012‐2740
STEPHEN FULLER        3440 ROANOKE ST                                                                      THE VILLAGES         FL 32162‐7109
STEPHEN FULLER        2510 HENN HYDE RD                                                                    CORTLAND             OH 44410‐9447
STEPHEN FURR          5691 CARTERS CREEK PIKE                                                              THOMPSONS STATION    TN 37179‐5292
STEPHEN FURTAK        2592 OUR LAND ACRES                                                                  MILFORD              MI 48381‐2592
STEPHEN G BENDER      7714 NEVIN RD                                                                        MERCERSBURG          PA 17236‐9747
STEPHEN G BLACKWOOD   28 HILLCREST DR                                                                      HANNIBAL             MO 63401‐3624
STEPHEN G EDLIN       210 PARKWOOD AVE                                                                     ROCHESTER            NY 14620
STEPHEN G FLEMING     30 COAL RUN RD                                                                       MARIETTA             OH 45750‐8737
STEPHEN G GIEWONT     616 PITTSBURGH AVE                                                                   ERIE                 PA 16505
STEPHEN G HILL SR     68 W BETHUNE ST                                                                      DETROIT              MI 48202‐2707
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Name                   Address1                            Address2                 Address3               Address4         City                  State Zip
STEPHEN G KOVALY       201 WILLOWOOD DR                                                                                     ROCHESTER              NY 14612
STEPHEN G LAWRENCE     26266 E HURON RIVER DR APT 2                                                                         FLAT ROCK              MI 48134‐1583
STEPHEN G LEWIS        BARON & BUDD PC                     THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                       DALLAS                 TX 75219‐4281
STEPHEN G PAPPAS       CHARLES SCHWAB & CO INC CUST        SEP‐IRA                  216 HAMPTON POINT DR                    SAINT SIMONS ISLAND    GA 31522‐5412
STEPHEN G PATAK        2917 CRONE RD                                                                                        BEAVERCREEK            OH 45434‐6618
STEPHEN G PATAK        2917 CRONE RD                                                                                        BEAVERCREEK            OH 45434‐6618
STEPHEN G SLIDER       10008 LEWIS AVE                                                                                      TEMPERANCE             MI 48182‐9731
STEPHEN G STEWART      667 DELAWARE ST                                                                                      DETROIT                MI 48202‐2425
STEPHEN G VILLAREAL    509 S 5TH ST                                                                                         NOBLE                  OK 73068‐8925
STEPHEN GAARENSTROOM   11319 VENTURA DR                                                                                     WARREN                 MI 48093‐1123
STEPHEN GABOR          66 GLENWOOD BLVD                                                                                     MANSFIELD              OH 44906‐3210
STEPHEN GAC            309 WINDING CREEK DR                                                                                 SPRING HILL            TN 37174‐2529
STEPHEN GADANY         PO BOX 22                                                                                            ALPENA                 MI 49707‐0022
STEPHEN GAGLIANO       232 WINDSOR AVE                                                                                      WOODDALE                IL 60191‐2044
STEPHEN GAINES         416 NW 143RD ST                                                                                      EDMOND                 OK 73013‐2437
STEPHEN GAJEWSKI       13410 FIELDCREEK LN                                                                                  RENO                   NV 89511‐6620
STEPHEN GAJEWSKI       192 ORCHARD AVE                                                                                      LAURENCE HARBOR        NJ 08879‐2855
STEPHEN GALES          PO BOX 753                                                                                           XENIA                  OH 45385‐0753
STEPHEN GALLAGHER      1548 CRANBROOK ST                                                                                    CAMARILLO              CA 93010‐1902
STEPHEN GALLUP         315 E 69TH ST                       PHAB                                                             NEW YORK               NY 10021
STEPHEN GAMBINO        154 PENARROW DR                                                                                      TONAWANDA              NY 14150‐4238
STEPHEN GANE           18420 NORTH COMET TRAIL                                                                              MARICOPA               AZ 85238‐5804
STEPHEN GANE JR        PO BOX 2322                                                                                          NIAGARA FALLS          NY 14302‐2322
STEPHEN GANSMILLER     7830‐3                                                                                               SWANTON                OH 43558
STEPHEN GARCIA         53 WEST JACKSON BLVD., SUITE 1660                                                                    CHICAGO                 IL 60604
STEPHEN GAREY          9359 VAN VLEET RD                                                                                    GAINES                 MI 48436‐9710
STEPHEN GARRETT        6114 ALMOND BLUFF PASS                                                                               FORT WAYNE             IN 46804‐4259
STEPHEN GARRETT        12 RIDGEVIEW DR                                                                                      SCOTTSVILLE            KY 42164‐8911
STEPHEN GARRETT        6734 W 800 N                                                                                         FAIRLAND               IN 46126‐9560
STEPHEN GARRETT        PO BOX 274                                                                                           JONESBURG              MO 63351‐0274
STEPHEN GARRITY        2913 EAGLE DR                                                                                        ROCHESTER HILLS        MI 48309‐2852
STEPHEN GARRY          126 E STATE ST                                                                                       JANESVILLE             WI 53546‐2607
STEPHEN GARTEN
STEPHEN GARTIN         756 ORANGEWOOD DR                                                                                    FREMONT               CA   94536‐1834
STEPHEN GASS           44272 CROFTON CT                                                                                     CANTON                MI   48187‐1910
STEPHEN GATES          2428 CHAPARREL DR                                                                                    JANESVILLE            WI   53546‐3142
STEPHEN GATLIN         101 WINSLOW DR                                                                                       ATHENS                AL   35613‐2725
STEPHEN GATTA          222 SHADOW LAKE DR N                                                                                 CLINTON               MS   39056‐4536
STEPHEN GAUSS          3303 S DEERFIELD AVE                                                                                 LANSING               MI   48911‐1822
STEPHEN GAZDIK         3691 GOLDNER LN SW                                                                                   WARREN                OH   44481‐8604
STEPHEN GEARHART       PO BOX 2892                                                                                          MYRTLE BEACH          SC   29578‐2892
STEPHEN GEHRING        331 SAINT BEES DR                                                                                    SEVERNA PARK          MD   21146‐1540
STEPHEN GEIGER         781 VIEWPOINT DR                                                                                     PLAINFIELD            IN   46168‐1086
STEPHEN GEIGER         3520 ALEPPO PINE ST                                                                                  LAS VEGAS             NV   89129‐8176
STEPHEN GELENGER       2036 N VERMONT AVE                                                                                   ROYAL OAK             MI   48073‐4257
STEPHEN GELLER         25450 CROCKER BLVD APT 1105                                                                          HARRISON TWP          MI   48045‐2497
STEPHEN GEORGE         1475 DIAMOND MILL RD                                                                                 BROOKVILLE            OH   45309‐7333
STEPHEN GEORGE
STEPHEN GERBE          23075 REMICK DR                                                                                      CLINTON TWP           MI   48036‐2734
STEPHEN GIBSON         5203 W FRANCES RD                                                                                    CLIO                  MI   48420‐8514
STEPHEN GIELEGHEM      43369 NEBEL TRL                                                                                      CLINTON TWP           MI   48038‐2465
STEPHEN GILLEAN        9074 VISTA DEL ARROYA DR                                                                             FLUSHING              MI   48433‐1245
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Name                            Address1                         Address2            Address3         Address4         City               State Zip
STEPHEN GILLEY                  12315 SMITH RD                                                                         DADE CITY           FL 33525‐8384
STEPHEN GILMORE                 2374 TREMAINSVILLE RD                                                                  TOLEDO              OH 43613‐3426
STEPHEN GIRARD                  7065 WOONSOCKET ST                                                                     CANTON              MI 48187‐2733
STEPHEN GIRARD                  9350 PERRY RD                                                                          ERIE                MI 48133‐9308
STEPHEN GIROUARD                PO BOX 9022                      GM KOREA                                              WARREN              MI 48090‐9022
STEPHEN GLADKI                  6077 WINDWARD ST                                                                       NORTH BRANCH        MI 48461‐9762
STEPHEN GLASSER                 2101 GARLAND CIRCLE                                                                    VESTAVIA HILLS      AL 35216
STEPHEN GLAUBER                 PO BOX 57                                                                              WILSON              NY 14172‐0057
STEPHEN GLAZZY                  230 ROSEMONT AVE                                                                       YOUNGSTOWN          OH 44515‐3221
STEPHEN GLODICH                 34489 COACHWOOD DR                                                                     STERLING HTS        MI 48312‐5625
STEPHEN GLUK                    2044 S LATTIMORE DR                                                                    MARBLEHEAD          OH 43440‐2491
STEPHEN GMAZEL                  540 CHANTICLEER TRL                                                                    LANSING             MI 48917‐3013
STEPHEN GOBLINGER               3688 S LEAVITT RD SW                                                                   WARREN              OH 44481‐9114
STEPHEN GOLD II                 15010 CORUNNA RD                                                                       CHESANING           MI 48616‐9491
STEPHEN GOLEMBIEWSKI            18238 GILLMAN ST                                                                       LIVONIA             MI 48152‐3722
STEPHEN GOLICZEWSKI             10 NEWARK BAY CT                                                                       BAYONNE             NJ 07002‐1904
STEPHEN GONZALES                545 LINACRE DR                                                                         CROWLEY             TX 76036‐4115
STEPHEN GOODIN                  19483 EDGEWOOD RD                                                                      ATHENS              AL 35614‐5925
STEPHEN GOODMAN                 306 GRAPE ST                                                                           PORTLAND            MI 48875‐1135
STEPHEN GORECKI                 544 REED ST                                                                            NORTHVILLE          MI 48167‐1176
STEPHEN GOULD CORPORATION       35 S JEFFERSON RD                                                                      WHIPPANY            NJ 07981‐1034
STEPHEN GOULD OF INDIANA        8351 NORTHWEST BLVD STE 100                                                            INDIANAPOLIS        IN 46278‐1355
CORPORATION
STEPHEN GOULD OF MICHIGAN INC   40473 KOPPERNICK RD                                                                    CANTON             MI   48187‐4283
STEPHEN GOULD OF MICHIGAN INC   38855 HILLS TECH DR STE 700                                                            FARMINGTON HILLS   MI   48331‐3424
STEPHEN GOULDING                5514 LIME RD                                                                           GALION             OH   44833‐9558
STEPHEN GOWAN                   19242 S LOUISIANA ST                                                                   IDA                LA   71044‐8824
STEPHEN GRABOWSKI               PO BOX 533                                                                             BRIELLE            NJ   08730‐0533
STEPHEN GRABOWSKI               1178 BELL LANE                                                                         ROSE CITY          MI   48654‐9445
STEPHEN GRAHAM                  600 W 107TH ST APT 108                                                                 KANSAS CITY        MO   64114‐5927
STEPHEN GRAHAM                  701 SMITH RD                                                                           PORT MATILDA       PA   16870
STEPHEN GRANT                   1088 E SAINT JOE HWY                                                                   GRAND LEDGE        MI   48837‐9719
STEPHEN GRAY                    4505 WINTER DR                                                                         ANDERSON           IN   46012‐9564
STEPHEN GRAY                    2321 EASY ST SW                                                                        WYOMING            MI   49519‐4816
STEPHEN GREEN                   6331 ROSECREST DR                                                                      DAYTON             OH   45414‐2834
STEPHEN GREENE                  20645 EDGEWOOD RD                                                                      ATHENS             AL   35614‐5505
STEPHEN GREENE                  23844 SETTLERS DR                                                                      MACOMB             MI   48042‐5923
STEPHEN GRIESHABER              7235 CONTINENTAL AVE                                                                   WARREN             MI   48091‐3533
STEPHEN GRIFFEY                 3955 NE 63RD TER                                                                       GLADSTONE          MO   64119‐5014
STEPHEN GRIFFIN                 4477 SAINT MARTINS DR                                                                  FLINT              MI   48507‐3726
STEPHEN GRIGGS                  20191 MYERS RD                                                                         ATHENS             AL   35614‐5415
STEPHEN GRILLI                  820 ANN MARIE CIR                                                                      BOWLING GREEN      KY   42103‐6012
STEPHEN GRIMME                  9168 N 500 W                                                                           HUNTINGTON         IN   46750‐7981
STEPHEN GRINAGE                 11721 N CLINTON TRL                                                                    SUNFIELD           MI   48890‐9747
STEPHEN GROFF                   322 FERMAN ST                                                                          MILAN              MI   48160‐1347
STEPHEN GROMAK                  1240 11 MILE RD                                                                        AUBURN             MI   48611‐9760
STEPHEN GROSSHANS               12956 SHILTON RD                                                                       LAKE ODESSA        MI   48849‐9527
STEPHEN GROVE                   6337 CHERI LYNNE DR                                                                    DAYTON             OH   45415‐2110
STEPHEN GRUBER                  2400 HALLIE MILL RD                                                                    ATLANTA            GA   30349‐4908
STEPHEN GRUBIAK                 100 ROCKNE RD                                                                          YONKERS            NY   10701‐5421
STEPHEN GRZYBOWSKI              1491 MANISTEE DR                                                                       GRAND BLANC        MI   48439‐2504
STEPHEN GUALTIERI               1959 BELMONT DR                                                                        MUSKEGON           MI   49441‐4503
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Name                              Address1                             Address2                      Address3   Address4               City                 State Zip
STEPHEN GUBANCHE IV               7944 JEFFERSON RD                                                                                    NORTH BRANCH          MI 48461‐8676
STEPHEN GUILBAULT                 1264 DAUNER RD                                                                                       FENTON                MI 48430‐1558
STEPHEN GURSKI                    704 WEST COMMERCE ROAD                                                                               COMMERCE TWP          MI 48382‐3927
STEPHEN GUTHRIE                   15256 RIVERBEND BLVD #202B                                                                           NORTH FORT MYERS      FL 33917
STEPHEN H BURR                    3482 S PREBLE CNTY LN RD                                                                             W ALEXANDRIA          OH 45381
STEPHEN H COCHRAN                 117 FIELDSTONE WAY                                                                                   LEBANON               OH 45036
STEPHEN H KELSEY                  9326 BEERS RD                                                                                        SWARTZ CREEK          MI 48473‐9124
STEPHEN H KOZLOWSKI               926 JAPONICA LN                                                                                      SHREVEPORT            LA 71118‐3511
STEPHEN H KREITZER                310 WOLF RD.                                                                                         W ALEXANDRIA          OH 45381‐9377
STEPHEN H PIRAINO                 309 BROWN AVE                                                                                        SYRACUSE              NY 13211‐1723
STEPHEN H SCHULTZ                 300 N 17TH ST                                                                                        CAMP HILL             PA 17011‐3912
STEPHEN H SEWELL                  1397 HOLTSLANDER AVE                                                                                 FLINT                 MI 48505‐1782
STEPHEN H SHAPOFF                 143 COLD SPRING POINT ROAD                                                                           SOUTHAMPTON           NY 11968
STEPHEN H WALLACH                 37 BEVERLY RD                                                                                        WEST ORANGE           NJ 07052‐4607
STEPHEN H WARREN                  1901 S GOYER RD APT 89                                                                               KOKOMO                IN 46902‐2744
STEPHEN H. ARMSTRONG, UNGARETTI   3500 THREE FIRST NATIONAL PLAZA                                                                      CHICAGO                IL 60602‐4283
HARRIS LLP
STEPHEN H. FAY                    GERALD A. SWAYE & ASSOCIATES, P.C.   901‐105 MAIN ST E                        HAMILTON ONTARIO L8N
                                                                                                                1G6
STEPHEN H. GROSS, ESQ.            ATTY FOR DELL MARKETING LP AND DELL 35 OLD SPORT HILL ROAD                                           EASTON                CT   06612
                                  FINANCIAL SERVICES LLC
STEPHEN HABAN                     BEVAN & ASSOCIATES, LPA, INC.         6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.          OH    44236
STEPHEN HAGEMAN                   22627 GARMAN RD                                                                                      DEFIANCE             OH    43512‐9089
STEPHEN HAGEMEYER                 325 W HERR ST                                                                                        ENGLEWOOD            OH    45322‐1221
STEPHEN HAINES                    8351 E DE AVE                                                                                        RICHLAND             MI    49083‐9719
STEPHEN HALBEISEN                 810 PLEASANT ST                                                                                      CHARLOTTE            MI    48813‐2210
STEPHEN HALICKY                   BEVAN & ASSOCIATES, LPA, INC.         6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.          OH    44236
STEPHEN HALL                      38723 NAVAJO CT                                                                                      ROMULUS              MI    48174‐4074
STEPHEN HAMBY                     823 W 6TH ST                                                                                         OCILLA               GA    31774‐3601
STEPHEN HAMILTON                  3748 FALCON RIDGE DR.                                                                                JANESVILLE           WI    53548
STEPHEN HAMILTON                  3103 MOUNT ZION AVENUE                                                                               JANESVILLE           WI    53546‐1619
STEPHEN HANEY                     5552 BRUNSWICK BLVD                                                                                  WATERFORD            MI    48327‐2507
STEPHEN HANLEY                    8553 PINEVIEW LAKE DRIVE                                                                             LINDEN               MI    48451‐9765
STEPHEN HANNA                     6980 PEPPER TREE CT                                                                                  LOCKPORT             NY    14094‐9668
STEPHEN HANSON                    PO BOX 865                                                                                           FISHERS              IN    46038‐0865
STEPHEN HARDENBROOK               500 N LEXINGTON SPRINGMILL RD APT 103                                                                MANSFIELD            OH    44906‐1254

STEPHEN HARDIN                    3358 E 200 N                                                                                         ANDERSON             IN    46012‐9437
STEPHEN HARDING                   7394 STATE ROUTE 97 LOT 28                                                                           MANSFIELD            OH    44903‐8514
STEPHEN HARGIS                    1730 WATKINS RD                                                                                      BATTLE CREEK         MI    49015‐8607
STEPHEN HARGIS                    55 N MAIN ST                                                                                         CLARKSTON            MI    48346‐1517
STEPHEN HARMON                    1849 DEER XING                                                                                       PENDLETON            IN    46064‐9057
STEPHEN HARNICHER                 1426 MAPLEWOOD ST NE                                                                                 WARREN               OH    44483‐4166
STEPHEN HARRINGTON                7963 TELEGRAPH RD                                                                                    GASPORT              NY    14067‐9248
STEPHEN HARRINGTON                1654 N MORGAN AVE                                                                                    BLANCHARD            OK    73010‐8967
STEPHEN HARRIS                    9095 BRISTOL RD                                                                                      SWARTZ CREEK         MI    48473‐8502
STEPHEN HARRIS                    1517 SANDRINGHAM WAY                                                                                 BLOOMFIELD VILLAGE   MI    48301‐2249
STEPHEN HARRIS                    8424 ILENE DR                                                                                        CLIO                 MI    48420‐8552
STEPHEN HARRISON                  2822 FLINTWOOD DR                                                                                    SAINT LOUIS          MO    63129‐2530
STEPHEN HARRISON                  1341 FENTONWOOD                                                                                      FENTON               MI    48430‐9617
STEPHEN HART
STEPHEN HATCH                     328 77TH ST                                                                                          NIAGARA FALLS        NY 14304‐4124
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Name                  Address1                         Address2                      Address3   Address4         City               State Zip
STEPHEN HATFIELD
STEPHEN HAUTALA       9741A MASSACHUSETTS ST                                                                     OSCODA             MI    48750‐1945
STEPHEN HAUTALA II    1202 HUGHES AVE                                                                            FLINT              MI    48503‐3206
STEPHEN HAWKINS       16813 W BELOIT NEWARK RD                                                                   BRODHEAD           WI    53520‐9336
STEPHEN HAWKINS       290 PENNY COUNTY RTE 93                                                                    NEW HAMPTON        NY    10958
STEPHEN HAYDEN        15038 NORTH 151ST DRIVE                                                                    SURPRISE           AZ    85379‐7006
STEPHEN HAYES III     2358 SOWER BLVD                                                                            OKEMOS             MI    48864‐2810
STEPHEN HEDGECRAFT    2212 LARITA LN                                                                             ANDERSON           IN    46017‐9518
STEPHEN HEFFNER       4689 MERRICK DR                                                                            DRYDEN             MI    48428‐9369
STEPHEN HEIEN         APT E211                         333 1ST STREET                                            SEAL BEACH         CA    90740‐6607
STEPHEN HELLEMS       1451 W 300 N                                                                               ANDERSON           IN    46011‐9265
STEPHEN HELLRUNG      8214 SHORT CUT RD                                                                          IRA                MI    48023‐2105
STEPHEN HENDERSHOT    29131 COOLIDGE ST                                                                          ROSEVILLE          MI    48066‐2208
STEPHEN HENDERSON     686 HELMS ORANGE DR                                                                        ROANOKE            IN    46783‐8878
STEPHEN HENDON        415 FRANKLIN ST                                                                            GRAND LEDGE        MI    48837‐1901
STEPHEN HENRY         3008 SW 132ND PL                                                                           OKLAHOMA CITY      OK    73170‐5427
STEPHEN HERMANN       PO BOX 667                                                                                 WAYNE              MI    48184‐0667
STEPHEN HERON JR      6146 KINGS SHIRE RD                                                                        GRAND BLANC        MI    48439‐8712
STEPHEN HERRON        392 BELL RD                                                                                CROSSVILLE         TN    38571‐7473
STEPHEN HERSHBERGER   203 N WILHELM ST                 PO BOX 431                                                HOLGATE            OH    43527‐9576
STEPHEN HESS          7530 W CORNBREAD RD                                                                        YORKTOWN           IN    47396‐9631
STEPHEN HESTER        231 DICK AVE                                                                               PONTIAC            MI    48341‐1801
STEPHEN HEWITT        PO BOX 164                                                                                 OLIVET             MI    49076‐0164
STEPHEN HEYWOOD       104 RIVER LAUREL DRIVE                                                                     BELLEVILLE         IL    62220
STEPHEN HIBBERD       2214 W RUNION DR                                                                           PHOENIX            AZ    85027‐3413
STEPHEN HICKERSON     THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                               HOUSTON            TX    77017
STEPHEN HICKS         11419 LAKE SHORE DR                                                                        CHARLEVOIX         MI    49720‐8703
STEPHEN HIGHFILL      615 SUNMEADOW DR SE                                                                        GRAND RAPIDS       MI    49508‐7711
STEPHEN HILL          1503 JOHNSTON DR                                                                           RAYMORE            MO    64083‐9566
STEPHEN HILL          15019 W AHARA RD LOT 17                                                                    EVANSVILLE         WI    53536‐8555
STEPHEN HILL          9448 WOODBURY RD                                                                           LAINGSBURG         MI    48848‐9750
STEPHEN HILL          2646 BIRCH HARBOR LN                                                                       ORCHARD LAKE       MI    48324‐1904
STEPHEN HILL          10436 BLACKBERRY LN                                                                        HASLETT            MI    48840‐9127
STEPHEN HILL          3136 LYNTZ RD.                                                                             WARREN             OH    44481
STEPHEN HILLARD       20022 BRYN MAWR CT                                                                         NORTHVILLE         MI    48167‐1916
STEPHEN HILLMAN       PO BOX 48                        4128 WA TERLAND                                           HADLEY             MI    48440‐0048
STEPHEN HINES         311 S HUFFMAN ST                                                                           JASONVILLE         IN    47438‐1702
STEPHEN HLAVAC        19 WILLOW WAY                                                                              CANFIELD           OH    44406‐9226
STEPHEN HLYWA         24694 BRITTANY AVE                                                                         EASTPOINTE         MI    48021‐3374
STEPHEN HOARD         4405 N WASHBURN RD                                                                         DAVISON            MI    48423‐8162
STEPHEN HOCKING       402 BROWNING CIR                                                                           CHURCH HILL        TN    37642‐3425
STEPHEN HOCKING       502 BARBERRY LN                                                                            EDGERTON           WI    53534‐1107
STEPHEN HODGE         3641 CRAIG BRIDGE RD                                                                       WILLIAMSPORT       TN    38487‐2160
STEPHEN HODGES        2808 PARK DR                                                                               ARLINGTON          TX    76016‐5907
STEPHEN HODOREK       16020 RIVERSIDE ST                                                                         LIVONIA            MI    48154‐2461
STEPHEN HODSON        12243 HOGAN RD                                                                             GAINES             MI    48436‐9745
STEPHEN HOEK          PO BOX 680324                                                                              FRANKLIN           TN    37068‐0324
STEPHEN HOELSCHER     35241 OLD HOMESTEAD DR                                                                     FARMINGTON HILLS   MI    48335‐1342
STEPHEN HOFFMAN       8214 WOODPARK DR SW                                                                        BYRON CENTER       MI    49315‐9339
STEPHEN HOFFMAN       15342 LINCOLNSHIRE LN                                                                      FRASER             MI    48026‐2386
STEPHEN HOFSESS       625 HALF ACRE DR                                                                           MILFORD            MI    48380‐3425
STEPHEN HOHOLICK      BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.        OH    44236
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Name                                  Address1                             Address2                   Address3   Address4         City                State Zip
STEPHEN HOLADAY                       208 BREEZY LN                                                                               KOKOMO               IN 46901‐3804
STEPHEN HOLLAND                       2203 E 100 N                                                                                KOKOMO               IN 46901‐3418
STEPHEN HOLLAND                       980 HEATHERWOODE CIR                                                                        SPRINGBORO           OH 45066‐1533
STEPHEN HOLOWKA                       2011 FOREST DR                                                                              INVERNESS            FL 34453‐3826
STEPHEN HOLUP                         5665 COUNTY ROAD 1635                                                                       CULLMAN              AL 35058‐1233
STEPHEN HOMAN                         9234 YORKSHIRE DR                                                                           SALINE               MI 48176‐9442
STEPHEN HOMMEL                        PO BOX 501                                                                                  BARGERSVILLE         IN 46106‐0501
STEPHEN HOMRICH                       PO BOX 208                                                                                  THOMPSONS STATION    TN 37179‐0208
STEPHEN HOOTMAN                       9849 LAKE RD                                                                                HICKSVILLE           OH 43526‐9775
STEPHEN HOPKINS                       1068 CEDARVIEW LN                                                                           FRANKLIN             TN 37067‐4068
STEPHEN HOPKINS                       PO BOX 53                            417 SECOND AVE                                         WORTHINGTON          KY 41183‐0053
STEPHEN HOPKINS                       220 N ZAPATA HWY STE 11                                                                     LAREDO               TX 78043‐4464
STEPHEN HOPKINS                       3101 N. CENTRAL AVENUE               SUITE 1250                                             PHOENIX              AZ 85012
STEPHEN HORTON                        533 WOODROW AVE                                                                             LANSING              MI 48910‐3244
STEPHEN HORVATH                       6906 BARLEYTON CIR                                                                          SYLVANIA             OH 43560‐3508
STEPHEN HOSIMER                       APT B47                              2884 WEST BRITTON ROAD                                 PERRY                MI 48872‐9624
STEPHEN HOSKINS                       5909 MARTHA CT                                                                              SYLVANIA             OH 43560‐1092
STEPHEN HOTARD                        1629 SAN SIMEON WAY                                                                         FENTON               MO 63026‐3057
STEPHEN HOUGH                         2633 EAST SAINT JOE HIGHWAY                                                                 GRAND LEDGE          MI 48837‐9723
STEPHEN HOUSTON                       PO BOX 141012                                                                               DETROIT              MI 48214‐5012
STEPHEN HOUSTON                       14 WHEAT RIDGE DRIVE                                                                        COLLINSVILLE          IL 62234
STEPHEN HOWE                          1400 DOUBLE BRIDGE RD                                                                       LEWISBURG            TN 37091‐6700
STEPHEN HOWELL                        3860 KAELEAF RD                                                                             LAKE ORION           MI 48360‐2629
STEPHEN HOWLAND                       5895 PEACHTREE DR                                                                           GRAND LEDGE          MI 48837‐8908
STEPHEN HROBAK                        4025 ST RT422                                                                               SOUTHINGTON          OH 44470
STEPHEN HUCKABY                       2930 HALEY RD                                                                               TERRY                MS 39170‐8823
STEPHEN HUDDLESTON                    259 CREEK DR                                                                                RAINSVILLE           AL 35986‐4772
STEPHEN HUELSMANN                     3714 S COUNTY ROAD 101 E                                                                    CLAYTON              IN 46118‐9662
STEPHEN HUESTON                       1550 JOSEPH ST                                                                              SEYMOUR              TN 37865‐3648
STEPHEN HUGHES                        640 WATKINS DR                                                                              COLUMBIA             TN 38401‐6002
STEPHEN HUGHES                        204 S MULBERRY ST # A                                                                       CORNERSVILLE         TN 37047‐4217
STEPHEN HUMPHRIES
STEPHEN HUNT                          37760 JOY RD                                                                                LIVONIA             MI   48150‐3433
STEPHEN HUNT                          7091 S FORK DR                                                                              SWARTZ CREEK        MI   48473‐9737
STEPHEN HUNTER                        16545 WORMER ST                                                                             DETROIT             MI   48219‐3626
STEPHEN HUNTLEY                       1780 SEAVY HIGHT RD                                                                         COLUMBIA            TN   38401‐8213
STEPHEN HURST                         408 W ANNIE DR                                                                              MUNCIE              IN   47303‐9741
STEPHEN HUTCHINSON                    5735 BUCKWHEAT RD                                                                           MILFORD             OH   45150‐2464
STEPHEN INC F/B/O LINDA M CLINE IRA   C/O WILLIAM E PATTEN ESQ, ATTY FOR   ONE WEST THIRD ST, # 900                               TULSA               OK   74103
                                      CREDITOR
STEPHEN INGMAN                        7680 ALLEN RD                                                                               CLARKSTON           MI   48348‐4444
STEPHEN J ANDRICK                     1524 ABERDEEN CT                                                                            NAPERVILLE          IL   60564
STEPHEN J ANGEL                       615 CLIFFSIDE DRIVE                                                                         NEW CARLISLE        OH   45344‐2537
STEPHEN J BRYANT                      430 BISHEA CT                                                                               FAIRBORN            OH   45324
STEPHEN J CHUBRICK                    223 ROYAL PALM CIRCLE                ROYAL PALM COUNTRY CLUB                                LARGO               FL   33778
STEPHEN J DECK                        5264 ROBINSON VAIL RD                                                                       FRANKLIN            OH   45005‐4729
STEPHEN J EKIERT                      3 PEACH BLOSSOM ROAD S                                                                      HILTON              NY   14468
STEPHEN J FLOR                        45 SAINT CASIMIR                                                                            ROCHESTER           NY   14621‐3559
STEPHEN J FOERSTNER TTEE              TRUST U/A DTD 8‐31‐90                16714 FISCHER RD                                       LAKEWOOD            OH   44107‐5536
STEPHEN J FRAZIER                     1380 N STATE ROUTE 201                                                                      CASSTOWN            OH   45312‐9753
STEPHEN J GILLS                       99 ARLINGTON AVE                                                                            FRANKLIN            OH   45005‐‐ 15
STEPHEN J HENRY                       834 AVENUE F NE                                                                             WINTER HAVEN        FL   33881
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Name                                   Address1                         Address2             Address3         Address4             City               State Zip
STEPHEN J HORECKY                      40 BEAVER HILL RD                                                                           ELMSFORD            NY 10523
STEPHEN J KACHMAR                      6705 MEANDER RUN                                                                            AUSTINTOWN          OH 44515‐2140
STEPHEN J KICHTON                      3939 S DUCK CREEK RD                                                                        NORTH JACKSON       OH 44451‐9735
STEPHEN J LABELLE/LABELLE CHEVEROLET   PAUL M HARRIS ESQ                MURTHA CULLINA LLP   99 HIGH STREET                        BOSTON              MA 02110

STEPHEN J LESNIAK                      420 WITHERBY DR                                                                             DAYTON             OH   45429
STEPHEN J LUDWIG                       P O BOX 64                                                                                  CEDAR GROVE        IN   47016
STEPHEN J MCNEAL                       4455 S GRABER DR                                                                            PERU               IN   46970‐3702
STEPHEN J MEYVIS                       3 NIXON DR                                                                                  ROCHESTER          NY   14622‐1327
STEPHEN J MONTEFUSCO                   5807 CANDLELIGHT LN                                                                         GRAND PRAIRIE      TX   75052‐8591
STEPHEN J OCONNELL                     2242 E EASY ST                                                                              BELOIT             WI   53511‐1806
STEPHEN J PETERSON                     8223 CHAPELLE COURT                                                                         LAS VEGAS          NV   89131
STEPHEN J ROBERTS II                   3123 YANKEE RD.                                                                             MIDDLETOWN         OH   45044
STEPHEN J SANKO JR                     917 WATERVLIET AVE.              APT # B                                                    DAYTON             OH   45420
STEPHEN J SCHULKERS                    4037 ROMAN DRIVE                                                                            DAYTON             OH   45415
STEPHEN J SEATON                       1051 AUTUMNVIEW CT                                                                          ROCHESTER          MI   48307
STEPHEN J SKINNER                      1901 HIGHLAND                                                                               SPRINGFIELD        OH   45503‐4611
STEPHEN J SLETVOLD                     5075 E. ROCKWELL RD.                                                                        AUSTINTOWN         OH   44515
STEPHEN J SMITH                        590 S OAKLAND AVE                                                                           SHARON             PA   16146
STEPHEN J STEFAN                       3216 STARLITE DR. NW                                                                        WARREN             OH   44485‐1620
STEPHEN J TAUSCH                       1491 CREEK ST                                                                               ROCHESTER          NY   14625‐1105
STEPHEN J TENHARMSEL                   668 146TH AVE                                                                               CALEDONIA          MI   49316‐9210
STEPHEN J TOMSIC                       292 LONG ACRE RD                                                                            ROCHESTER          NY   14621
STEPHEN J VOISARD                      1590 N PONDEROSA DR                                                                         PORT CLINTON       OH   43452
STEPHEN J WAVER                        136 GALLOWAY DR                                                                             GARNER             NC   27529
STEPHEN J WILCOX                       267 LOWER ROANS CREEK RD                                                                    LINDEN             TN   37096‐5133
STEPHEN J ZOMBAR                       9330 CAIN DR., N.E.                                                                         WARREN             OH   44484‐1711
STEPHEN JACKSON                        STEPHEN JACKSON                  O.O. BOX 11                           WOODFORD GREEN GREAT WOODFORD GREEN
                                                                                                              BRITAIN
STEPHEN JACKSON                        306 EDGEWOOD PL E                                                                           ANDERSON           IN   46011‐1610
STEPHEN JACOBS                         9618 TREETOP DR                                                                             GALESBURG          MI   49053‐8701
STEPHEN JACOBS                         7421 CAMELBACK DR                                                                           SHREVEPORT         LA   71105‐5009
STEPHEN JAKUBIK                        3840 SWAFFER RD                                                                             MILLINGTON         MI   48746‐9142
STEPHEN JANCI                          20 BROWNTOWN RD                                                                             AVELLA             PA   15312‐2708
STEPHEN JANDERWSKI                     3130 E RIVERVIEW DR                                                                         BAY CITY           MI   48706‐1321
STEPHEN JANISSE                        585 HUNTWICK PL                                                                             ROSWELL            GA   30075‐4347
STEPHEN JARVIS                         4292 COVEY LN                                                                               GRAND BLANC        MI   48439‐9625
STEPHEN JEFFERS                        7760 REDMAPLE CT                                                                            HUBER HEIGHTS      OH   45424‐1920
STEPHEN JENKINS                        1629 LINDEN TRL                                                                             KALAMAZOO          MI   49009‐2818
STEPHEN JENKINS                        PO BOX 9022                      GM STRASBOURG                                              WARREN             MI   48090‐9022
STEPHEN JERRY                          3645 N HEMLOCK RD                                                                           HEMLOCK            MI   48626‐9695
STEPHEN JESKIE                         566 CARSON ST                                                                               HAZLETON           PA   18201‐5210
STEPHEN JESKIE                         566 CARSON ST.                                                                              HAZLETON           PA   18201‐5210
STEPHEN JETTE                          451 QUARRY RD                                                                               JAMESTOWN          OH   45335‐1717
STEPHEN JOHANNSEN                      12220 160TH ST E                                                                            PUYALLUP           WA   98374‐9254
STEPHEN JOHN                           7417 NORTH 40TH STREET           K105                                                       TAMPA              FL   33604
STEPHEN JOHNSON                        PO BOX 22                                                                                   GREENWOOD          LA   71033‐0022
STEPHEN JOHNSON                        4696 QUARTON RD                                                                             BLOOMFIELD HILLS   MI   48302‐2541
STEPHEN JOHNSON                        18548 MYRON ST                                                                              LIVONIA            MI   48152‐3029
STEPHEN JOHNSON                        681 MILFORD FARMS CT                                                                        MILFORD            MI   48381‐3353
STEPHEN JOHNSON                        1239 ALMOND DR                                                                              TROY               MI   48098‐2067
STEPHEN JOHNSON                        3663 OLDE DOMINION DR                                                                       BRIGHTON           MI   48114‐4944
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Name                   Address1                     Address2                 Address3    Address4         City              State Zip
STEPHEN JOHNSON        2778 BRIARWOOD DR                                                                  SAGINAW            MI 48601‐5801
STEPHEN JOHNSON        97 SUUPPI DR                                                                       LAPEER             MI 48446‐8752
STEPHEN JOHNSON        204 ARCH ST                                                                        VEVAY              IN 47043‐1002
STEPHEN JOHNSON        315 WOODY BROWN RD                                                                 RISING SUN         MD 21911‐1029
STEPHEN JOHNSON        419 PEACEFUL CREEK DR                                                              YORK               SC 29745‐6388
STEPHEN JOHNSON        740 HAYMARKET RD                                                                   W JEFFERSON        OH 43162‐9715
STEPHEN JOHNSON        8265 W 600 S                                                                       JAMESTOWN          IN 46147‐8904
STEPHEN JOHNSON        3472 WILLIAMSPORT PIKE                                                             WILLIAMSPORT       TN 38487‐2141
STEPHEN JOHNSON        5476 STATE ROAD 58 E                                                               HELTONVILLE        IN 47436‐8694
STEPHEN JONES          16615 W BAJADA TRL                                                                 SURPRISE           AZ 85387‐8202
STEPHEN JONES          117 BROADWAY CIR                                                                   OKLAHOMA CITY      OK 73170‐7219
STEPHEN JONES          5957 RIVERSIDE DR                                                                  OSCODA             MI 48750‐9278
STEPHEN JONES          3468 BIRMINGHAM RD                                                                 MARSHALL           TX 75672‐6057
STEPHEN JONES          6068 W DODGE RD                                                                    CLIO               MI 48420‐8508
STEPHEN JONES          6215 SOUTH POND POINTE                                                             GRAND BLANC        MI 48439
STEPHEN JONES JR       4608 N MICHELLE ST                                                                 SAGINAW            MI 48601‐6629
STEPHEN JONES SR       9367 HAWK NEST LN                                                                  NORTH PORT         FL 34287‐2099
STEPHEN JONESS         9470 FOX HOLLOW ROAD                                                               CLARKSTON          MI 48348‐1968
STEPHEN JORDAN         1345 GREENLEAF RD                                                                  WILMINGTON         DE 19805‐1318
STEPHEN JORDAN         1108 SUMMERHILL DR                                                                 JANESVILLE         WI 53546‐3723
STEPHEN JORDAN         374 SHADOW RD                                                                      GREENWOOD          IN 46142‐8445
STEPHEN JOURDAN        7177 W 400 S                                                                       SWAYZEE            IN 46986‐9779
STEPHEN JOZWIAK        1622 BONNIEVIEW DR                                                                 ROYAL OAK          MI 48073‐3806
STEPHEN JR, PETER C    4018 PARDEE AVE                                                                    DEARBORN HTS       MI 48125‐2408
STEPHEN JULIAN         3946 W 950 S                                                                       WABASH             IN 46992‐7912
STEPHEN JUNO           11330 BEECHER RD                                                                   FLUSHING           MI 48433‐9751
STEPHEN JURK           419 5TH ST                                                                         MARYSVILLE         MI 48040‐1087
STEPHEN JUSKO          48693 GOLDEN OAKS LN                                                               SHELBY TOWNSHIP    MI 48317‐2613
STEPHEN K BRISTOW      1709 ANDERSON TRANKTON RD                                                          ANDERSON           IN 46011‐0792
STEPHEN K CASEBOLT     182 N FOURTH                                                                       WAYNESVILLE        OH 45068‐8453
STEPHEN K FLETCHER     1611 ST RT 68 SOUTH                                                                XENIA              OH 45385‐9751
STEPHEN K MARTIN PHD   121 ROWLAND PL                                                                     TYLER              TX 75701
STEPHEN K SONNEFELD    736 RESIDENZ PKWY APT E                                                            KETTERING          OH 45429‐6222
STEPHEN K TAYLOR       2939 SEARS RD                                                                      SPRINGVALLEY       OH 45370‐9730
STEPHEN KAAS           136 PIONEER RIDGE DR                                                               PORT DEPOSIT       MD 21904‐1465
STEPHEN KABRICH        3738 N STATE ROAD 9                                                                ANDERSON           IN 46012‐1246
STEPHEN KACER          11233 MORNINGSTAR DR                                                               SAGINAW            MI 48609‐9478
STEPHEN KADET          1454 HUNTERS LAKE DR W                                                             CUYAHOGA FALLS     OH 44221‐5304
STEPHEN KALASZ         1857 GROUSE LN                                                                     SAINT HELEN        MI 48656‐9327
STEPHEN KALETA         3440 RD 7 BELGIUM RD                                                               BALDWINSVILLE      NY 13027
STEPHEN KALOROPLOS     1814 WINDWARD PT             C/O STEPHEN KALOROPLOS                                SENECA             SC 29672‐7044
STEPHEN KANA           2936 EDDIE ST                                                                      YOUNGSTOWN         OH 44509‐1231
STEPHEN KANAGAWA       1128 CLOPTON BRIDGE DR                                                             ROCHESTER HILLS    MI 48306‐3914
STEPHEN KANIA          5210 NEWHART CIR                                                                   TOLEDO             OH 43615‐3826
STEPHEN KANOUS         6380 E PIERSON RD                                                                  FLINT              MI 48506‐2256
STEPHEN KAPLAN         1214 BOBWHITE COURT                                                                PUNTA GORDA        FL 33950
STEPHEN KARALFA        5726 YARMOUTH AVE                                                                  TOLEDO             OH 43623‐1645
STEPHEN KAWALEC        22539 FURTON ST                                                                    ST CLR SHORES      MI 48082‐1873
STEPHEN KEATON         2181 HOWE RD                                                                       BURTON             MI 48519‐1148
STEPHEN KEE
STEPHEN KEEN           PO BOX 168                                                                         DURAND            MI 48429‐0168
STEPHEN KEESEE         210 BATEMAN AVE                                                                    FRANKLIN          TN 37067‐2648
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Name                     Address1                         Address2                     Address3                  Address4         City               State Zip
STEPHEN KEGERREIS        640 AQUILA DR                                                                                            EAST LANSING        MI 48823‐8319
STEPHEN KELEHER          5 HYDE CT                                                                                                TROY                MO 63379‐2399
STEPHEN KELLER           2875 SUNDERLAND                                                                                          WATERFORD           MI 48329‐2856
STEPHEN KELLY            1207 CREEK VIEW CT                                                                                       BURTON              MI 48509‐1458
STEPHEN KELLY            1112 HONEYSUCKLE WAY                                                                                     LOMPOC              CA 93436‐3262
STEPHEN KELLY            45507 E HAMILTON ST                                                                                      OBERLIN             OH 44074‐9558
STEPHEN KELLY            100 POTRERO AVE                                                                                          SAN FRANCISCO       CA 94103‐4813
STEPHEN KELSEY           9326 BEERS RD                                                                                            SWARTZ CREEK        MI 48473‐9124
STEPHEN KEMP             2423 HAYES RD                                                                                            MUIR                MI 48860‐9793
STEPHEN KEMPHER          1573 W COUNTRY MANOR LN                                                                                  ANDERSON            IN 46013‐9660
STEPHEN KEMPHER          C/O WILLIAM N IVERS              HARRISON & MOBERLY LLP       10 W MARKET ST, STE 700                    INDIANAPOLIS        IN 46024
STEPHEN KEMPKER          5944 NE PARKS VIEW PL                                                                                    LEES SUMMIT         MO 64064‐2352
STEPHEN KENDALL          11491 VISTA DR                                                                                           FENTON              MI 48430‐2412
STEPHEN KENDRICK         8594 CROSBY LAKE RD                                                                                      CLARKSTON           MI 48346‐2558
STEPHEN KENNY            4914 S WALKER AVE APT 130                                                                                OKLAHOMA CITY       OK 73109‐7743
STEPHEN KENSETT          836 RAVINE TERRACE DR                                                                                    ROCHESTER HILLS     MI 48307‐2721
STEPHEN KENSKY           230 GRANDVIEW BLVD                                                                                       BUTLER              PA 16001
STEPHEN KERN             564 STATE RT 89 RD 3                                                                                     WEST SALEM          OH 44287
STEPHEN KERN             BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS.         OH 44236
STEPHEN KETCHUM          315 W VIRGINIA AVE                                                                                       SEBRING             OH 44672‐1146
STEPHEN KETRING          4580 S 900 E                                                                                             UPLAND              IN 46989‐9791
STEPHEN KETTERER I I I   4448 PEBBLE CREEK BLVD                                                                                   GRAND BLANC         MI 48439‐9069
STEPHEN KEUPER           14831 OLD LINCOLN HWY                                                                                    EAST LIVERPOOL      OH 43920‐9734
STEPHEN KICHINKA         5706 WICHITA AVE                                                                                         CLEVELAND           OH 44144‐3653
STEPHEN KIDD             4844 GARY CIR                                                                                            PACE                FL 32571‐8988
STEPHEN KIEVIT           1335 PARK AVE E                                                                                          MANSFIELD           OH 44905‐2635
STEPHEN KILDOW           11773 N 200 E                                                                                            ALEXANDRIA          IN 46001‐9056
STEPHEN KILEY            PO BOX 374                                                                                               AUBURN              GA 30011‐0374
STEPHEN KILLINGSWORTH    571 BROOKSHIRE DR                                                                                        DAVENPORT           FL 33837
STEPHEN KIMBLE           2469 COURTNEY DR                                                                                         HARRISON            MI 48625‐9070
STEPHEN KIMBLER          8319 S DELAWARE ST                                                                                       INDIANAPOLIS        IN 46227‐2611
STEPHEN KING             2267 COVERT RD                                                                                           BURTON              MI 48509‐1014
STEPHEN KIRK             165 OAKWOOD ESTS                                                                                         SCOTT DEPOT         WV 25580‐9730
STEPHEN KIRK
STEPHEN KIRKLAND         13412 COMMONWEALTH ST                                                                                    SOUTHGATE          MI   48195‐1267
STEPHEN KIRSCH           43480 HILLCREST DR                                                                                       STERLING HEIGHTS   MI   48313‐2366
STEPHEN KIRTLEY          675 MASSAS CREEK RD                                                                                      JONESBURG          MO   63351‐1801
STEPHEN KISSNER          30747 HOFFMAN RD                                                                                         NEW BAVARIA        OH   43548‐9608
STEPHEN KITTS            415 W GRIFFITH ST                                                                                        GALVESTON          IN   46932‐9513
STEPHEN KIVES JR         7206 10TH AVE W                                                                                          BRADENTON          FL   34209‐4037
STEPHEN KLASS            2359 N BIRCH RIDGE DR R                                                                                  MIDLAND            MI   48642
STEPHEN KLEPINGER        1276 W 9TH ST                                                                                            ROCHESTER          IN   46975‐7976
STEPHEN KLIMKOWSKI JR    11652 MEADOWBROOK DR                                                                                     CLEVELAND          OH   44130‐5135
STEPHEN KLOSCAK          13641 N 111TH AVE                                                                                        SUN CITY           AZ   85351‐2513
STEPHEN KLUCKA           14691 ALMA DR                                                                                            STERLING HTS       MI   48313‐3605
STEPHEN KNOTE            PO BOX 233                                                                                               SELMA              IN   47383‐0233
STEPHEN KNOWLTON         1788 E BEARDSLEE RD                                                                                      SHERIDAN           MI   48884‐9304
STEPHEN KNOX             1660 NEWTON AVE                                                                                          DAYTON             OH   45406‐4110
STEPHEN KNUEPPEL         6871 AMES RD APT 1012                                                                                    PARMA              OH   44129‐5838
STEPHEN KNUTSON
STEPHEN KOCSIS           3493 WOLF CREEK RD                                                                                       CUBA               NY 14727‐9590
STEPHEN KOKOSZKI         27964 THOMAS AVE                                                                                         WARREN             MI 48092‐3592
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Name                    Address1                        Address2                     Address3                    Address4         City                   State Zip
STEPHEN KOPERA          6546 OVERHILL DR                                                                                          ROSCOMMON               MI 48653‐9666
STEPHEN KORNBLUM        2320 BRIAR RDG                                                                                            WOLVERINE LAKE          MI 48390‐2118
STEPHEN KORODY          731 N LINCOLN AVE                                                                                         AURORA                   IL 60505‐2144
STEPHEN KOROL           41 HILLSIDE AVENUE                                                                                        ORCHARD PARK            NY 14127
STEPHEN KORUBA JR       300 W END AVE                                                                                             HADDONFIELD             NJ 08033‐2622
STEPHEN KOSCIELNY       21074 TIFFANY DR                                                                                          WOODHAVEN               MI 48183‐1620
STEPHEN KOSHOREK        3621 ROCKINGHAM RD                                                                                        ROYAL OAK               MI 48073‐6748
STEPHEN KOSHOREK        25926 AMHERST ST                                                                                          DEARBORN HTS            MI 48125‐1404
STEPHEN KOSO            8691 WHITEFIELD ST                                                                                        DEARBORN HTS            MI 48127‐1134
STEPHEN KOSS JR         4930 FOX CREEK DR #298                                                                                    CLARKSTON               MI 48346
STEPHEN KOSUT JR        5909 STONE RD                                                                                             LOCKPORT                NY 14094‐1235
STEPHEN KOTALIK SR      53 SAINT JOHN DR                                                                                          WILMINGTON              DE 19808‐4629
STEPHEN KOTSCHITSCH     17670 LENORE                                                                                              DETROIT                 MI 48219‐3049
STEPHEN KOVAC           601 RAVINIA DR                                                                                            SHOREWOOD                IL 60404‐9125
STEPHEN KOVACH          2301 INNWOOD DR                                                                                           YOUNGSTOWN              OH 44515‐5153
STEPHEN KOVACS          2107 CHERRY HILL AVE                                                                                      YOUNGSTOWN              OH 44509‐1622
STEPHEN KOVACS JR       497 MILLBROOK ST                                                                                          CANFIELD                OH 44406‐9663
STEPHEN KOWALCZYK JR    2707 BIRCHWOOD DR                                                                                         HOWELL                  MI 48855‐7645
STEPHEN KOWALK          STEVE KOWALK                    C/O POUCH MAIL                                                            WARREN                  MI 48090
STEPHEN KOZSEY          370 JENNIFER DR                                                                                           TITUSVILLE              FL 32796‐3249
STEPHEN KOZUB           PO BOX 125                                                                                                HASTINGS                PA 16646‐0125
STEPHEN KRAJCARSKI      855 REGONDA DR                                                                                            DEFIANCE                OH 43512‐3631
STEPHEN KRAJENKE        526 S WILSON AVE                                                                                          ROYAL OAK               MI 48067‐2949
STEPHEN KRAJEWSKI       21 HULL DR                                                                                                EDISON                  NJ 08817‐3516
STEPHEN KRALIK          7524 ORANGE VALLEY DR                                                                                     NORTH RICHLAND HILLS    TX 76180‐2121
STEPHEN KRAMARCK JR     347 WHEATSHEAF DR                                                                                         NEW CASTLE              DE 19720‐5618
STEPHEN KRAMPITZ        1380 VESTA RD                                                                                             WAKEMAN                 OH 44889‐9391
STEPHEN KRATZER         215 MOUNT LUCAS RD                                                                                        PRINCETON               NJ 08540‐2714
STEPHEN KREBS           1732 MORNINGSIDE DR APT B                                                                                 SHELBYVILLE             IN 46176‐9143
STEPHEN KREIDER         382 BLANCHARD DR                                                                                          DEFIANCE                OH 43512‐3462
STEPHEN KREITZER        310 WOLF RD                                                                                               W ALEXANDRIA            OH 45381‐9377
STEPHEN KRIDLER         2545 OLD BEAVER RD                                                                                        KAWKAWLIN               MI 48631‐9126
STEPHEN KRUEGER         4621 HURDS CORNER RD                                                                                      MAYVILLE                MI 48744‐9524
STEPHEN KRUPA           8664 MORRO CT                                                                                             WHITE LAKE              MI 48386‐4408
STEPHEN KUBALA          1805 ALVERNE DR                                                                                           POLAND                  OH 44514‐1406
STEPHEN KUBASKY         6965 STATE ROUTE 819                                                                                      MT PLEASANT             PA 15666‐3542
STEPHEN KUBOVICK        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                                BOSTON HEIGHTS          OH 44236
STEPHEN KUCKA JR        42585 WHITE HART BLVD                                                                                     CANTON                  MI 48188‐2665
STEPHEN KUHAR           4422 W 67TH PL                                                                                            BROOKLYN                OH 44144‐2818
STEPHEN KUHLMAN         13204 MAPLE LEAF DR                                                                                       OKLAHOMA CITY           OK 73170‐1143
STEPHEN KUJAWSKI        30988 WHEATON APT 122                                                                                     NEW HUDSON              MI 48165‐9467
STEPHEN KUPCZYK         BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                                BOSTON HEIGHTS          OH 44236
STEPHEN KURPIEWSKI JR   116 MEDFORD RD                                                                                            SYRACUSE                NY 13211‐1828
STEPHEN KURTZ           657 MASTERS WAY                                                                                           BOWLING GREEN           KY 42104‐8586
STEPHEN KURUTZ          815 FOSTER AVE                                                                                            DUQUESNE                PA 15110‐2076
STEPHEN KUZIA           570 DORRANCE RD                                                                                           COLDWATER               MI 49036‐9116
STEPHEN KUZIA           660 JACKSON ST                                                                                            AMHERST                 OH 44001‐2411
STEPHEN KYLE            45182 W PARK DR APT 41                                                                                    NOVI                    MI 48377‐1302
STEPHEN L AHLRICH       ATTN ROBERT W PHILLIPS          SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD PO BOX                    EAST ALTON               IL 62024
                                                        ANGELIDES & BARNERD LLC      521
STEPHEN L BACKUS        16 LOYALIST AVE                                                                                           ROCHESTER              NY 14624‐4957
STEPHEN L BAGGETT       100 TIMBERWOOD DR                                                                                         RAYMOND                MS 39154
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Name                    Address1                            Address2                    Address3             Address4               City                  State Zip
STEPHEN L BENSON        816 N PAUL LAURENCE DUNBAR ST                                                                               DAYTON                 OH 45402‐‐ 59
STEPHEN L BOSTON        424 STUCKHARDT ROAD                                                                                         TROTWOOD               OH 45426
STEPHEN L CALMES        1171 TRUDY CT.                                                                                              LEBANON                OH 45036
STEPHEN L CONGER        651 WOODLAWN AVE                                                                                            YPSILANTI              MI 48198‐8019
STEPHEN L COUNTS        WEITZ & LUXENBERG PC                700 BROADWAY                                                            NEW YORK CITY          NY 10003
STEPHEN L EDWARDS       720 MAIN ST                                                                                                 HYANNIS                MA 02601‐4301
STEPHEN L EWRY          3348 TRAIL ON RD                                                                                            MORAINE                OH 45439‐1146
STEPHEN L FARROW        PO BOX 2787                                                                                                 DETROIT                MI 48202‐0787
STEPHEN L HUBBARD       5129 RADBROOK PLACE                                                                                         DALLAS                 TX 75220‐3945
STEPHEN L KIDD          4844 GARY CIR                                                                                               PACE                   FL 32571‐8988
STEPHEN L LOUX          4510 WEXFORD RD                                                                                             INDIANAPOLIS           IN 46226‐3266
STEPHEN L MCGARRY       1853 CAMPUS COURT                                                                                           ROCHESTER HILLS        MI 48309
STEPHEN L NEWMAN I I    2630 ALLENBY PL                                                                                             DAYTON                 OH 45449
STEPHEN L ROBINSON      3204 STATE ROUTE 14                                                                                         ROOTSTOWN              OH 44272
STEPHEN L SHEA          6821 WILD PINE CIRCLE                                                                                       SAGINAW                MI 48603
STEPHEN L SHERDEN AND   VIRGINIA E SHERDEN                  201 JAMES ST                                                            WEST LEECHBURG         PA 15656
STEPHEN L SIMMONS       4417 QUEENS AVE                                                                                             DAYTON                 OH 45406
STEPHEN L SMITH         1375 WILLIAMSBURG RD                                                                                        FLINT                  MI 48507‐5627
STEPHEN L ST JOHN       C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                                               HOUSTON                TX 77007
                        BOUNDAS LLP
STEPHEN L SUTTON III    4001 HANEY RD                                                                                               DAYTON                OH   45416‐2035
STEPHEN L VOGEL         C/O STEPHEN L VOGEL & JAN M VOGEL   218 COLUMBIA DR                                                         WILLIAMSVILLE         NY   14221
STEPHEN L WILDER        1381 EBINBURG DR                                                                                            TROY                  OH   45373
STEPHEN L WOOD          1317 TENNISON AVE                                                                                           DAYTON                OH   45406
STEPHEN L. COOKE
STEPHEN LABELLE         LABELLE CHEVERLOT LLC               C/O PAUL HARRIS, ESQ        MURTHA CULLINA LLP   99 HIGH STREET         BOSTON                MA   02110
STEPHEN LABELLE         1870 EASTWOOD CT                                                                                            SAGINAW               MI   48601‐9789
STEPHEN LABUSZEWSKI     6777 SHAWNEE RD                                                                                             N TONAWANDA           NY   14120‐9504
STEPHEN LACKEY          1442 S 500 W                                                                                                ANDERSON              IN   46011‐8748
STEPHEN LACOMB          2308 PLEASANT AVE, BOX 824                                                                                  SYLVAN BEACH          NY   13157
STEPHEN LADICH          4149 SIEFER DR                                                                                              ROOTSTOWN             OH   44272‐9615
STEPHEN LAFAY           PO BOX 642                                                                                                  NORFOLK               NY   13667‐0642
STEPHEN LAFRANKIE       2169 LINCOLN BLVD                                                                                           ELIZABETH             PA   15037‐2912
STEPHEN LAGASSE         PO BOX 588                                                                                                  GRAND BLANC           MI   48480‐0588
STEPHEN LAGODA          420 HUDSON ST                                                                                               JERMYN                PA   18433‐1227
STEPHEN LAITINEN        2517 TRAIL TREE CT                                                                                          BURLESON              TX   76028‐1249
STEPHEN LAKATOS         7002 GALTS FERRY RD                                                                                         ACWORTH               GA   30102‐1192
STEPHEN LALKO           2932 E BEVENS RD                                                                                            CARO                  MI   48723‐9452
STEPHEN LAMBERS         401 BELANGER ST                                                                                             GROSSE POINTE FARMS   MI   48236‐3201
STEPHEN LAMBIRIS        1984 DEER PATH TRL                                                                                          COMMERCE TOWNSHIP     MI   48390‐1875
STEPHEN LANG            634 NW STANFORD LN                                                                                          PORT ST LUCIE         FL   34983‐3400
STEPHEN LARKIN          7248 ANNA ST                                                                                                GRAND BLANC           MI   48439‐8547
STEPHEN LAROSE          5789 RIDGE RD                                                                                               LOCKPORT              NY   14094‐9408
STEPHEN LAUREL          143 JUNIPER ST                                                                                              BURLINGTON            NJ   08016‐1403
STEPHEN LAVIN           9650 RIDGE TOP TRL                                                                                          CLARKSTON             MI   48348‐2354
STEPHEN LAWLESS         2719 ALDRIN DR                                                                                              LAKE ORION            MI   48360‐1901
STEPHEN LAWRENCE        5818 HOLLYBROOK LN E                                                                                        SYLVANIA              OH   43560‐1566
STEPHEN LAWRENCE        26266 E HURON RIVER DR APT 2                                                                                FLAT ROCK             MI   48134‐1583
STEPHEN LAY             2268 KEVIN DAVID DR                                                                                         FLINT                 MI   48505‐1055
STEPHEN LAZAR           102 HARVEST CT                                                                                              HOCKESSIN             DE   19707‐2114
STEPHEN LAZAROWYCZ      6819 LAVERNE AVE                                                                                            PARMA                 OH   44129‐1929
STEPHEN LEATHERS        2408 N 200 E                                                                                                ANDERSON              IN   46012‐9203
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STEPHEN LEE                       1353 ANTIOCH RD                                                                           SOMERVILLE         AL 35670‐4301
STEPHEN LEE                       906 E COMMERCE ST                                                                         MILFORD            MI 48381‐1728
STEPHEN LEGGE                     42452 PROCTOR RD                                                                          CANTON             MI 48188‐1150
STEPHEN LEGRAND                   5230 DUFFIELD RD                                                                          FLUSHING           MI 48433‐9780
STEPHEN LEIGH                     865 SWALLOW ST SW                                                                         WARREN             OH 44485‐3683
STEPHEN LENARD                    31682 CINDY                                                                               FRASER             MI 48026‐2619
STEPHEN LENHART                   BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS     OH 44236
STEPHEN LEONARD                   11633 W STATE ROAD 42                                                                     STILESVILLE        IN 46180‐9665
STEPHEN LESHINSKY                 1410 MARYLAND                                                                             MILFORD            MI 48380‐1602
STEPHEN LETT                      680 GRANVILLE PL                                                                          DAYTON             OH 45431‐2736
STEPHEN LEVIJOKI                  9431 LINDEN RD                                                                            SWARTZ CREEK       MI 48473‐9143
STEPHEN LEWK                      356 AMHERST ST                                                                            INKSTER            MI 48141‐1283
STEPHEN LEWMAN                    133 W US HIGHWAY 52                                                                       FOUNTAINTOWN       IN 46130‐9404
STEPHEN LINDNER                   294 SILVER CREEK CIR                                                                      CLIFTON SPRINGS    NY 14432‐9528
STEPHEN LINDZY                    6001 HAYS DR                                                                              COLUMBIA           TN 38401‐5014
STEPHEN LINGLE                    1750 DUNAWAY RD                                                                           MORGANTOWN         IN 46160‐8559
STEPHEN LINHOSS                   102 PITTMAN DR                                                                            LONG BEACH         MS 39560‐6325
STEPHEN LINNEMEIER                7379 US 20 E                                                                              ANGOLA             IN 46703
STEPHEN LINNEN                    4653 RITA ST                                                                              AUSTINTOWN         OH 44515‐3831
STEPHEN LINSEMAN                  5254 PINE KNOB TRL                                                                        CLARKSTON          MI 48346‐4130
STEPHEN LINTON                    7659 N COUNTY ROAD 400 E                                                                  BRAZIL             IN 47834‐7687
STEPHEN LISHNOFF                  465 WINDROW CLUSTERS DR                                                                   MOORESTOWN         NJ 08057‐4307
STEPHEN LISISCKI                  7430 GLASCOTT AVE                                                                         W BLOOMFIELD       MI 48323‐1332
STEPHEN LISTISEN JR               717 ELMWOOD DR                                                                            HUBBARD            OH 44425‐1221
STEPHEN LISTON
STEPHEN LITTLE                    820 FOREST DR                                                                             ANDERSON          IN 46011‐1234
STEPHEN LLOYD                     46746 N VALLEY DR                                                                         NORTHVILLE        MI 48167‐1791
STEPHEN LOGSDON                   42946 WOODHILL DR                                                                         ELYRIA            OH 44035‐2055
STEPHEN LOGUE
STEPHEN LOMERSON                  5501 PLEASANT DR                                                                          WATERFORD         MI   48329‐3335
STEPHEN LONCAR JR                 55 DAHLGREEN PL                                                                           N TONAWANDA       NY   14120‐4355
STEPHEN LONG                      5 TIMBER OAKS RD                                                                          MCLOUD            OK   74851‐8129
STEPHEN LONG                      12790 DENOTER DR                                                                          STERLING HTS      MI   48313‐3333
STEPHEN LONG                      602 BERRIDGE CIR                                                                          LAKE ORION        MI   48360‐1219
STEPHEN LONGMAN                   5459 WINDERMERE DR                                                                        GRAND BLANC       MI   48439‐9631
STEPHEN LOUX                      4510 WEXFORD RD                                                                           INDIANAPOLIS      IN   46226‐3266
STEPHEN LOVE                      22803 HIGHBANK DR                                                                         BEVERLY HILLS     MI   48025‐4742
STEPHEN LOWLER                    2861 KEATS LN                                                                             LAKE ORION        MI   48360‐1864
STEPHEN LOYD                      3112 QUAIL LN                                                                             ARLINGTON         TX   76016‐2113
STEPHEN LUCAS                     225 CARNEGIE AVE                                                                          YOUNGSTOWN        OH   44515‐2805
STEPHEN LUDWIG                    PO BOX 64                                                                                 CEDAR GROVE       IN   47016‐0064
STEPHEN LUEBBERS                  410 CHERYL ST                                                                             POTOSI            MO   63664‐1567
STEPHEN LUKAC JR                  1229 W TERRY CLOVE RD                                                                     DELANCEY          NY   13752‐3115
STEPHEN LUKASIEWICZ               31 MALTBY ST                                                                              ROCHESTER         NY   14606‐1441
STEPHEN LUKEFAHR                  2730 PCR 819                                                                              PERRYVILLE        MO   63775‐8490
STEPHEN LUSHIN                    640 S MAIN ST                                                                             KOKOMO            IN   46901‐5462
STEPHEN LUTHERN                   1927 PEACHTREE CT                                                                         POLAND            OH   44514‐1431
STEPHEN LUZETSKY                  86 CHESTNUT SPRINGS RD                                                                    CHESAPEAKE CITY   MD   21915‐1115
STEPHEN LYNN                      PO BOX 9022                      SHANGHAI                                                 WARREN            MI   48090‐9022
STEPHEN LYON                      11362 WATSON RD                                                                           BATH              MI   48808‐8412
STEPHEN LYTTLE                    PO BOX 98                                                                                 HOLLY             MI   48442‐0098
STEPHEN M & REGINA E JANODOWSKI   793 KINGFISHER RD                                                                         LEANDER           TX   78641
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Name                          Address1                         Address2            Address3         Address4               City            State Zip
STEPHEN M & ROSAILE P MYERS   113 DUHE DRIVE                                                                               HAHNVILLE        LA 70057
STEPHEN M CARON               2025 WASHINGTON MILL RD                                                                      XENIA            OH 45385‐9361
STEPHEN M CASSANIO            4907 PENNSWOOD DR                                                                            HUBER HEIGHTS    OH 45424‐5417
STEPHEN M CASSELLA            1005 SWEET BREEZE DR                                                                         VALRICO          FL 33594
STEPHEN M CHRISTIAN           5648 N CROWN ST                                                                              WESTLAND         MI 48185‐2245
STEPHEN M COPAS               112 PINEWOOD COURT                                                                           GREENVILLE       OH 45331
STEPHEN M CURRAN              2077 RICHFIELD DR APT B                                                                      DAYTON           OH 45420
STEPHEN M DAY                 16 CHINOOK CT.                                                                               TIPP CITY        OH 45371‐1508
STEPHEN M DOBRICH             165 LEN ANN DR                   PO BOX 424                                                  BESSEMER         PA 16112
STEPHEN M DUNPHY              C/O WEITZ & LUXENBERG PC         700 BROADWAY                                                NEW YORK CITY    NY 10003
STEPHEN M EASTON              4613 3B REFUGEE ROAD                                                                         COLUMBUS         OH 43232‐5746
STEPHEN M EICHELBERGER        305 QUAIL RUN DR                                                                             HINESVILLE       GA 31313
STEPHEN M FRIEND              791 WAKE FOREST RD                                                                           DAYTON           OH 45431
STEPHEN M GIFFORD             90 VOLLMER PKWY                                                                              ROCHESTER        NY 14623‐5128
STEPHEN M GOLDSCHMIDT         1935 CIDER MILL WAY                                                                          TIPP CITY        OH 45371
STEPHEN M HAGEMEYER           325 W HERR ST                                                                                ENGLEWOOD        OH 45322‐1221
STEPHEN M HAHN                190 S. MAYSVILLE RD.                                                                         GREENVILLE       PA 16125
STEPHEN M JACKSON             2927 GRAND ISLAND BLVD # B                                                                   GRAND ISLAND     NY 14072‐1212
STEPHEN M KELLY               18055 TAVERN RD                                                                              BURTON           OH 44021
STEPHEN M KENNEDY             ATTN: STEPHEN M KENNEDY          PO BOX 293                                                  MT MORRIS        MI 48458‐0293
STEPHEN M KNOX                1660 NEWTON AVE                                                                              DAYTON           OH 45406‐4110
STEPHEN M LASKO JR            4341 HALLOCK YOUNG RD                                                                        NEWTON FALLS     OH 44444‐8719
STEPHEN M LAWSON              1604 N 24TH ST                                                                               NEW CASTLE       IN 47362‐4036
STEPHEN M LAWSON              235 WATERFORD DRIVE                                                                          CENTERVILLE      OH 45458‐2523
STEPHEN M LISISCKI            7450 GLASCOTT AVE                                                                            W BLOOMFIELD     MI 48323‐1332
STEPHEN M MARCH               432 FLORENCE AVE                                                                             FAIRBORN         OH 45324‐4351
STEPHEN M MELNYCZUK           332 PENFIELD AVE                                                                             ELYRIA           OH 44035‐3237
STEPHEN M MIHALOW             1029 N SEMINARY ST                                                                           ROANOKE          IN 46783‐9115
STEPHEN M MOWCHAN             4573 PRESIDENTIAL WAY                                                                        DAYTON           OH 45429‐5752
STEPHEN M PEBLEY              1432 IRONWOOD DR.                                                                            FAIRBORN         OH 45324
STEPHEN M RICE                2606 ANTRIM CIR                                                                              COLUMBIA         TN 38401‐5823
STEPHEN M SAWYER KATHLEEN M   12821 GARDEN ST                                                                              BIRCH RUN        MI 48415
SAWYER
STEPHEN M SCHAUBROECK         203 PADDY HILL DRIVE                                                                         ROCHESTER       NY   14616‐1141
STEPHEN M SENTERS             612 TUPPER LAKE ST                                                                           LAKE ODESSA     MI   48849‐1063
STEPHEN M SHORT               6601 IMPERIAL RIDGE DR                                                                       EL PASO         TX   79912
STEPHEN M SKRZYSINSKI         3268 SCHOOL RD RT 1                                                                          RHODES          MI   48652
STEPHEN M SLACK               315 S AUBURN RD                                                                              AUBURN          MI   48611‐9301
STEPHEN M SMITH               236 BROOKE RD                                                                                FALMOUTH        VA   22405
STEPHEN M TURLEY              7049 CLIFFSTONE DR                                                                           HUBER HEIGHTS   OH   45424‐2926
STEPHEN M ULICKI              1811 MAINE ST                                                                                SAGINAW         MI   48602‐1723
STEPHEN M‐LOCKHART            92 CROMER ROAD                                                        BEAUMARIS 3193
                                                                                                    AUSTRALIA
STEPHEN MACDONALD             5781 ZACHARIAH WAY                                                                           DUBLIN          OH   43016
STEPHEN MACKEY                2038 BELMONT CIR                                                                             FRANKLIN        TN   37069‐1878
STEPHEN MACKIEWICZ            5 OSBORNE ST                                                                                 HIGHLANDS       NJ   07732‐1867
STEPHEN MACKOS                1980 BIRCH TRACE DR                                                                          YOUNGSTOWN      OH   44515‐4903
STEPHEN MADAFFER              334 PIONEER DR                                                                               PONTIAC         MI   48341‐1853
STEPHEN MADEJ                 7083 CARDWELL ST                                                                             GARDEN CITY     MI   48135‐2243
STEPHEN MAGER                 19 MEADOWBROOK DR                                                                            ALBION          NY   14411‐1652
STEPHEN MAGRUM                6127 N REIMAN RD                                                                             CURTICE         OH   43412‐9624
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Name                    Address1                           Address2                    Address3     Address4         City               State Zip
STEPHEN MAJOR           ROBERT W PHILLIPS, SIMMONS BROWDER 707 BERKSHIRE BLVD          PO BOX 521                    EAST ALTON           IL 62024
                        GIANARIS ANGELIDES & BARNERD LLC

STEPHEN MALCOLM JR      88 W KLEIN RD                                                                                AMHERST            NY   14221‐1528
STEPHEN MALENICH        3397 W FARRAND RD                                                                            CLIO               MI   48420‐8827
STEPHEN MALKIEWICZ JR   34708 ASH RD                                                                                 NEW BOSTON         MI   48164‐9178
STEPHEN MALLOY          1041 LEE ROAD 369                                                                            VALLEY             AL   36854‐6501
STEPHEN MALONE          1085 DEVENISH LN                                                                             FLINT              MI   48532‐3526
STEPHEN MANDALARI       2918 ORBIT DR                                                                                LAKE ORION         MI   48360‐1976
STEPHEN MANEMANN        PO BOX 3672                                                                                  JANESVILLE         WI   53547‐3672
STEPHEN MANRY SR        39 THOUSAND PAKS MHP                                                                         MANSFIELD          TX   76063‐6242
STEPHEN MANVILLE        30 WESTERN HILLS AVE                                                                         BEDFORD            IN   47421‐7567
STEPHEN MAPLE           PO BOX 68097                                                                                 INDIANAPOLIS       IN   46268‐0097
STEPHEN MARKIDIS        58 PLACID PLACE                                                                              ROCHESTER          NY   14617
STEPHEN MARKS           8057 RANCH ESTATES RD                                                                        CLARKSTON          MI   48348
STEPHEN MARKS           3746 MCCULLOCH RD                                                                            BEAVERTON          MI   48612‐9201
STEPHEN MARKUSIC        8370 NICHOLS RD                                                                              WINDHAM            OH   44288‐9517
STEPHEN MARLETT         1313 64TH ST SW                                                                              BYRON CENTER       MI   49315‐8689
STEPHEN MARLIN          24 ALPINE CIR                                                                                SANDY HOOK         CT   06482‐1259
STEPHEN MARSH           10004 E 35TH TER S                                                                           INDEPENDENCE       MO   64052‐1108
STEPHEN MARSHALL        1889 OKLAHOMA DR                                                                             XENIA              OH   45385‐4427
STEPHEN MARTIN          37506 FOUNTAIN PK CR 309                                                                     WESTLAND           MI   48185
STEPHEN MARTIN          1382 FLORENCE ST                                                                             NATIONAL CITY      MI   48748‐9677
STEPHEN MARTIN          8471 E POTTER RD                                                                             DAVISON            MI   48423‐8175
STEPHEN MARTIN          4105 BOLD MDWS                                                                               OAKLAND TOWNSHIP   MI   48306‐1489
STEPHEN MARTIN          4101 MEADOWDALE DR                                                                           WILLIAMSTON        MI   48895‐9114
STEPHEN MASON           2901 ARIES CT                                                                                CINCINNATI         OH   45251‐2601
STEPHEN MASON           2440 WATERWORKS RD                                                                           HUNTINGTON         IN   46750‐4144
STEPHEN MASSEY          4004 GLENROSE DR                                                                             COLUMBIA           TN   38401‐5013
STEPHEN MATA            7144 E RICHFIELD RD                                                                          DAVISON            MI   48423‐8976
STEPHEN MATHIAS         1110 N LAFONTAINE ST                                                                         HUNTINGTON         IN   46750‐1816
STEPHEN MATLOCK         5116 OVERLOOK PT                                                                             HAMBURG            NY   14075‐3410
STEPHEN MATTESON        UNIT D                             2127 HIDDEN MEADOWS DRIVE                                 WALLED LAKE        MI   48390‐2578
STEPHEN MATTINGLY       3510 NORTHVIEW DR                                                                            KALAMAZOO          MI   49004‐3138
STEPHEN MATUSZEWSKI     PO BOX 386                                                                                   KAWKAWLIN          MI   48631‐0386
STEPHEN MATZAN          47 SPARROWHAWK POINT RD                                                                      LISBON             NY   13658‐4213
STEPHEN MAUCH           1010 E WHIPP RD                                                                              CENTERVILLE        OH   45459‐2212
STEPHEN MAUCH           1029 SAINT FRANCIS WAY                                                                       SHREVEPORT         LA   71106‐5500
STEPHEN MAYO            125 MARIAN DR                                                                                MATTYDALE          NY   13211‐1825
STEPHEN MAZUR           5163 S GRAVEL RD                                                                             MEDINA             NY   14103‐9524
STEPHEN MAZURSKI JR.    PO BOX 514                                                                                   VARYSBURG          NY   14167‐0514
STEPHEN MC COURY        3451 DUNNING RD                                                                              ROCHESTER HLS      MI   48309‐3959
STEPHEN MC ILWAINE      3255 SOUTH DR                                                                                CALEDONIA          NY   14423‐1121
STEPHEN MC KINNEY       PO BOX 263                                                                                   EXCELSIOR SPG      MO   64024‐0263
STEPHEN MC MASTER       410 2ND AVENUE                                                                               THREE RIVERS       MI   49093‐1106
STEPHEN MC MURRAY       17095 LADUE RD                                                                               HOLLEY             NY   14470‐9509
STEPHEN MC NAMARA       212 COX AVE                                                                                  MORRISVILLE        PA   19067‐2202
STEPHEN MCBEAN          4544 CINCO DR SW                                                                             LILBURN            GA   30047‐4306
STEPHEN MCCAFFREY       447 E BEACON DR                                                                              AUSTINTOWN         OH   44515‐4064
STEPHEN MCCARTHY        7668 BOBSYL LN                                                                               GRAND LEDGE        MI   48837‐9108
STEPHEN MCCARTHY        650 PARADISE ROAD                                                                            EAST AMHERST       NY   14051‐1604
STEPHEN MCCLAIN         314 ELBOW LN                                                                                 ELKTON             MD   21921‐2146
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Name                           Address1                          Address2            Address3         Address4         City               State Zip
STEPHEN MCCLINTICK             13851 SW 72ND PL                                                                        CEDAR KEY           FL 32625‐2921
STEPHEN MCCLURE                2864 CHEROKEE VALLEY RD                                                                 RINGGOLD            GA 30736‐4367
STEPHEN MCCORMACK              1856 RED PHISTER DR                                                                     AVON                IN 46123‐7105
STEPHEN MCCREARY               5307 S 150 E                      P O BOX 147                                           JONESBORO           IN 46938‐1548
STEPHEN MCCULLY AND PATRICIA   531 E SHERIDAN AVE                                                                      DUBOIS              PA 15801
MCCULLY
STEPHEN MCDONALD               27 WOODWARD RD TRLR 16                                                                  LINCOLN            RI   02865‐4962
STEPHEN MCDONALD               6159 LAKEVIEW PARK DR                                                                   LINDEN             MI   48451‐9098
STEPHEN MCFALL                 208 E BENTON ST                                                                         ALEXANDRIA         IN   46001‐9229
STEPHEN MCFARLAN               3177 KNOTTINGHAM DR                                                                     FLINT              MI   48507‐3454
STEPHEN MCFARLAND              6554 E MCFARLAND TRL                                                                    MARTINSVILLE       IN   46151‐6440
STEPHEN MCFARLAND              PO BOX 49                                                                               NEW LONDON         PA   19360‐0049
STEPHEN MCGARRY                1853 CAMPUS COURT                                                                       ROCHESTER HILLS    MI   48309
STEPHEN MCGEHEE                106 BUCKS POCKET DR                                                                     NEW MARKET         AL   35761‐9035
STEPHEN MCGILL                 7 LASONIA CT                                                                            EDGEWOOD           MD   21040‐3516
STEPHEN MCGLINCHEY             5327 JAIME LN                                                                           FLUSHING           MI   48433‐2907
STEPHEN MCGUIRE                18230 BEVERLY RD                                                                        BEVERLY HILLS      MI   48025‐4002
STEPHEN MCHALE                 WEITZ & LUXENBERG P C             700 BROADWAY                                          NEW YORK CITY      NY   10003
STEPHEN MCKELLAR               7250 COTTONWOOD KNL                                                                     WEST BLOOMFIELD    MI   48322‐4045
STEPHEN MCKELVEY               3131 VAN DYKE RD                                                                        ALMONT             MI   48003‐8032
STEPHEN MCKENNY                2005 CHURCHILL DR                                                                       ANN ARBOR          MI   48103‐6006
STEPHEN MCKOWN                 835 SAUTTER DR                                                                          MANSFIELD          OH   44904‐1789
STEPHEN MCLAIN                 6497 W 300 S                                                                            ANDERSON           IN   46011‐9400
STEPHEN MCMICAN                2971 WILSON AVE                                                                         PINCKNEY           MI   48169‐9228
STEPHEN MCNEAL                 4455 S GRABER DR                                                                        PERU               IN   46970‐3702
STEPHEN MCSTAY                 748 SLEEPY HOLLOW RD                                                                    BRIARCLIFF MANOR   NY   10510‐2525
STEPHEN MCVEY                  5602 PALEO PINES CIR                                                                    FORT PIERCE        FL   34951‐2350
STEPHEN MD                     PO BOX 92336                                                                            ROCHESTER          NY   14692‐0336
STEPHEN MEAD                   5425 W CUTLER RD                                                                        DEWITT             MI   48820‐9125
STEPHEN MEDOVICH               1417 W LIBERTY ST                                                                       HUBBARD            OH   44425‐3310
STEPHEN MENCHHOFER             7355 HIGHPOINT CIR                                                                      INDIANAPOLIS       IN   46259‐7665
STEPHEN MERCER                 1727 S WAVERLY RD                                                                       EATON RAPIDS       MI   48827‐9715
STEPHEN MERCHANT               4448 JEAN RD                                                                            BAY CITY           MI   48706‐2205
STEPHEN MERRITT                150 SHILOH RUN NW                                                                       KENNESAW           GA   30144‐1502
STEPHEN MERRITT                1885 OLD HOMESTEAD DR                                                                   ROCHESTER HILLS    MI   48306‐2927
STEPHEN MESECHER
STEPHEN MESSLER                6330 STONEHEARTH PASS                                                                   GRAND BLANC        MI   48439‐9141
STEPHEN METCALF                4529 DECKERLAND ST                                                                      W BLOOMFIELD       MI   48323‐1417
STEPHEN MEYER                  1761 NW 775TH RD                                                                        BATES CITY         MO   64011‐9126
STEPHEN MEYER                  3 ABBOTT DR                                                                             KETTERING          OH   45420‐2903
STEPHEN MEZZAPESO SR           6608 SHAWBUTTE ST                                                                       YOUNGSTOWN         OH   44514‐2169
STEPHEN MICHALERYA             C/O THE LAW OFFICES OF PETER G    100 N CHARLES ST    22ND FL                           BALTIMORE          MD   21201
                               ANGELOS
STEPHEN MIDDLEDITCH            3400 LONGVIEW DR                                                                        FLUSHING           MI   48433‐2203
STEPHEN MIECZKOWSKI            6842 CHURCH RD                                                                          IRA                MI   48023‐1906
STEPHEN MIHALOW                1029 N SEMINARY ST                                                                      ROANOKE            IN   46783‐9115
STEPHEN MILES                  PO BOX 34                                                                               COULTERVILLE       IL   62237‐0034
STEPHEN MILLEN                 5146 W HARVARD AVE                                                                      CLARKSTON          MI   48348‐3113
STEPHEN MILLER                 1559 STILLWAGON RD                                                                      NILES              OH   44446‐4432
STEPHEN MILLER                 13080 MICHALEK LN                                                                       SOUTH LYON         MI   48178‐9169
STEPHEN MILLER                 191 BLANCHE DR                                                                          TROY               MI   48098‐2934
STEPHEN MILLER                 16626 RIDGE RD                                                                          HOLLEY             NY   14470‐9366
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Name                            Address1                        Address2                     Address3   Address4         City              State Zip
STEPHEN MILLER                  4319 SPRINGMILL DR                                                                       KOKOMO             IN 46902‐5177
STEPHEN MILLER                  2930 PALMETTO ST                                                                         NORTHPORT          AL 35475‐4874
STEPHEN MILLER                  5337 HOPKINS RD                                                                          FLINT              MI 48506‐1543
STEPHEN MILLER                  2444 COLLINS AVE                                                                         SHELBY TWP         MI 48317‐3620
STEPHEN MILLER                  125 HOLLYWOOD AVE                                                                        OXNARD             CA 93035
STEPHEN MILLS                   703 FALL RIVER RD                                                                        LAWRENCEBURG       TN 38464‐3907
STEPHEN MINDERA JR              5 VIRGINIA RD                                                                            TERRYVILLE         CT 06786‐5500
STEPHEN MIRICH                  3238 MEREDYTH LN                                                                         YOUNGSTOWN         OH 44511‐2222
STEPHEN MOCKLER                 2444 GREENS MILL RD                                                                      COLUMBIA           TN 38401‐6176
STEPHEN MOLICKY                 24317 URSULINE ST                                                                        ST CLAIR SHRS      MI 48080‐1035
STEPHEN MOLLNER                 355 3RD AVE W                                                                            MADISON            WV 25130
STEPHEN MOLNAR                  1865 AUGUSTA DR                                                                          JAMISON            PA 18929‐1085
STEPHEN MOLNAR                  5429 CHAMBERS RD                                                                         MAYVILLE           MI 48744‐9419
STEPHEN MONDELLO                10351 GOLDSBERRY RD                                                                      SHREVEPORT         LA 71106‐8303
STEPHEN MONTEFUSCO              5807 CANDLELIGHT LANE                                                                    GRAND PRAIRIE      TX 75052‐8591
STEPHEN MONTELAURO              2588 NW CATAWBA RD                                                                       PORT CLINTON       OH 43452‐3044
STEPHEN MONTGOMERY              1494 HUNTERS CHASE DR                                                                    CHAPEL HILL        TN 37034‐2094
STEPHEN MOON                    307 LOOKOUT DR                                                                           COLUMBIA           TN 38401‐6145
STEPHEN MOON                    9300 WEBSTER RD                                                                          FREELAND           MI 48623‐8603
STEPHEN MOORE                   907 MOTEL DR                                                                             FORTVILLE          IN 46040‐1157
STEPHEN MOORE                   1144 NOVAK RD                                                                            GRAFTON            OH 44044‐1252
STEPHEN MOORE                   2336 N PENNSYLVANIA ST                                                                   INDIANAPOLIS       IN 46205‐4344
STEPHEN MOORE                   9393 SEYMOUR RD                                                                          SWARTZ CREEK       MI 48473‐9129
STEPHEN MORGAN                  28261 SAN MARCOS                                                                         MISSION VIEJO      CA 92692‐1318
STEPHEN MORRIS                  1500 W MOUNT MORRIS RD                                                                   MOUNT MORRIS       MI 48458‐1828
STEPHEN MORRIS                  4267 S LAKE DR                                                                           PRESCOTT           MI 48756‐9302
STEPHEN MORRIS
STEPHEN MORRIS C/O D SCHIPPER   ACCT OF ROGER SCHIPPER          30 CORPORATE WOODS STE 120                               ROCHESTER         NY   14623‐1454
STEPHEN MOSES                   511 STOVER RD                                                                            WEST ALEXANDRIA   OH   45381‐9302
STEPHEN MOTIKA                  162 DIAMOND WAY                                                                          CORTLAND          OH   44410‐1399
STEPHEN MOTORS, INC.            1011 S MAIN ST                                                                           MONTICELLO        IA   52310‐2016
STEPHEN MOTORS, INC.            ROGER STEPHEN                   1011 S MAIN ST                                           MONTICELLO        IA   52310‐2016
STEPHEN MOUNT                   4911 W 700 N                                                                             SHARPSVILLE       IN   46068‐8907
STEPHEN MRACNA                  3161 DENTON RD                                                                           CANTON            MI   48188‐2106
STEPHEN MULLINS                 4410 MAIN ST                                                                             ANDERSON          IN   46013‐4730
STEPHEN MURANYI                 2837 1ST ST                                                                              MONROE            WI   53566‐3900
STEPHEN MURIN                   3800 F41                                                                                 LINCOLN           MI   48742
STEPHEN MURRAY                  855 LAIRD ST                                                                             LAKE ORION        MI   48362‐2038
STEPHEN MURRAY                  22 WATERFORD CT NE                                                                       SANDY SPRINGS     GA   30328‐4538
STEPHEN MUSANTO                 2719 W ERIE RD                                                                           TEMPERANCE        MI   48182‐9455
STEPHEN MUZER                   4032 SAINT ANDREWS CT APT 1                                                              CANFIELD          OH   44406‐8066
STEPHEN N DUDLEY                300 SCENIC CT                                                                            VANDALIA          OH   45377
STEPHEN N GROSSHANS             12956 SHILTON RD                                                                         LAKE ODESSA       MI   48849‐9527
STEPHEN N TERBOVICH             559 HAZEL ST                                                                             GIRARD            OH   44420
STEPHEN N ZARBAUGH              1262 N PARK DR                                                                           BROOKFIELD        OH   44403‐9515
STEPHEN NAGY                    4490 BORLAND ST                                                                          W BLOOMFIELD      MI   48323‐1410
STEPHEN NAGY                    PO BOX 1169                                                                              FLINT             MI   48501‐1169
STEPHEN NAPIER                  7267 N VILLAGE DR                                                                        CLARKSTON         MI   48346‐1997
STEPHEN NAPIERALA               704 S HILL PARK DR                                                                       HOLLAND           OH   43528‐8585
STEPHEN NARRIN                  340 DONNA DR                                                                             LOWELL            MI   49331‐1218
STEPHEN NASH                    205 RED FOX CT                                                                           MIDDLETOWN        DE   19709‐8609
STEPHEN NATISHIN                968 BALLYSHANNON DRIVE                                                                   ELIZABETHTOWN     PA   17022
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Name                    Address1                         Address2                       Address3   Address4            City               State Zip
STEPHEN NELSON          9921 WEBSTER CIR                                                                               KANSAS CITY         KS 66109‐7800
STEPHEN NEWELL          13293 36TH ST SE                                                                               LOWELL              MI 49331‐9136
STEPHEN NEWMAN          11985 N GOLDENDALE AVE                                                                         DUNNELLON           FL 34433‐2224
STEPHEN NEWMAN I I      2630 ALLENBY PL                                                                                DAYTON              OH 45449‐3322
STEPHEN NIEBAUER        5755 CHALET CT                                                                                 OSCODA              MI 48750‐8925
STEPHEN NIESE           969 FOX BRIDGE RD                                                                              NAPOLEON            OH 43545‐9456
STEPHEN NIGH            4663 S BLACKBERRY CT                                                                           NEW PALESTINE       IN 46163‐9015
STEPHEN NIPPLE          1082 REDWOOD DR                                                                                BROWNSBURG          IN 46112‐1950
STEPHEN NOLAN           4295 BARTON CRES                                                           WINDSOR ON N9G2V5
                                                                                                   CANADA
STEPHEN NORRIS          1306 DARBY AVE                                                                                 KOKOMO             IN   46902‐6007
STEPHEN NOTAR DONATO    12 BAYBERRY MEADOWS CT                                                                         O FALLON           MO   63366‐4191
STEPHEN NOVAJOSKY       125 LINCOLN AVE                                                                                SOUTH PLAINFIELD   NJ   07080‐4009
STEPHEN NOVAK           1548 PATHWAY DR                                                                                NAPERVILLE         IL   60565‐9305
STEPHEN NOVAK           APT 915                          5610 BUNCOMBE ROAD                                            SHREVEPORT         LA   71129‐3617
STEPHEN NOWICKI         119 MAJESTIC TER                                                                               LACKAWANNA         NY   14218‐3258
STEPHEN NUGENT          4256 E MILWAUKEE ST                                                                            JANESVILLE         WI   53546‐1796
STEPHEN NUXHALL         876 E BENJAMIN DR                                                                              FRANKLIN           TN   37067‐5548
STEPHEN O'CALLAGHAN     156 SUMMERHILL CIR                                                                             ST AUGUSTINE       FL   32086‐5924
STEPHEN O'CONNOR        7315 KHRISTOPHER CT                                                                            CONCORD TWP        OH   44077‐2265
STEPHEN O'DONNELL       1223 CHATHAM LN                                                                                BLOOMINGTON        IL   61704‐8229
STEPHEN O'MAHONEY       C/O COONEY AND CONWAY            120 NORTH LASALLE 30TH FLOOR                                  CHICAGO            IL   60602
STEPHEN O'NEILL         311 HILLCLIFF DR                                                                               WATERFORD          MI   48328‐2522
STEPHEN OAKLEY          346 SARATOGA DR                                                                                PITTSBURGH         PA   15236‐4455
STEPHEN OCONNELL        2242 E EASY ST                                                                                 BELOIT             WI   53511‐1806
STEPHEN OEHRING         6215 PIERCE RD                                                                                 FREELAND           MI   48623‐9051
STEPHEN OHMAN           4009 SKYVIEW DR                                                                                JANESVILLE         WI   53546‐2018
STEPHEN OJESHINA        3388 EDMUNTON DR                                                                               ROCHESTER HILLS    MI   48306‐2900
STEPHEN OLAH            3725 LARCHMONT PKWY                                                                            TOLEDO             OH   43613‐4939
STEPHEN OLIN            6231 S IVY LN                                                                                  BELOIT             WI   53511‐9430
STEPHEN OLSEN           344 IMAGINATION DR                                                                             ANDERSON           IN   46013‐1049
STEPHEN OMLOR           648 MERCER AVE                                                                                 DECATUR            IN   46733‐2331
STEPHEN ONEIL           703 S DIVISION                                                                                 OWOSSO             MI   48867
STEPHEN OPALKA          103 HARWINTON CT                                                                               CAMILLUS           NY   13031‐2065
STEPHEN OPETT           74 CANANDAIGUA AVE                                                                             CANANDAIGUA        NY   14424‐1123
STEPHEN ORDING          3610 ZIMMER RD                                                                                 WILLIAMSTON        MI   48895‐9182
STEPHEN OREBAUGH        6903 W 11TH ST                                                                                 INDIANAPOLIS       IN   46214‐3543
STEPHEN OREL JR         76 HENRIETTA AVE                                                                               BUFFALO            NY   14207‐1624
STEPHEN OREWILER        1789 LUCAS NORTH RD                                                                            LUCAS              OH   44843‐9704
STEPHEN ORR             LOT 100                          4101 SOUTH SHERIDAN ROAD                                      LENNON             MI   48449‐9414
STEPHEN ORTEGA          449 POINTE TREMBLE RD                                                                          ALGONAC            MI   48001‐1806
STEPHEN OSBORNE         18890 HIGHWAY 59 TRLR 11                                                                       COUNTRY CLUB       MO   64505‐8538
STEPHEN OSWALT          3507 W 075 S                                                                                   HARTFORD CITY      IN   47348‐9500
STEPHEN OTEY            10109 W 54TH ST                                                                                MERRIAM            KS   66203‐1981
STEPHEN OTOOLE          2014 HOMER TER                                                                                 RESTON             VA   20191‐1343
STEPHEN OVENHOUSE       8780 BASS ST                                                                                   MECOSTA            MI   49332‐9766
STEPHEN P BLAIR         30 COLIN KELLY DR                                                                              RIVERSIDE          OH   45431‐1340
STEPHEN P BRADLEY MD    5375 LAKESHORE BLVD                                                                            LAKEPORT           CA   95453‐6123
STEPHEN P CHAPMAN, JR   300 PADEN RD                                                                                   GADSDEN            AL   35903‐3665
STEPHEN P CIOPPA        25 SAHARA DRIVE                                                                                ROCHESTER          NY   14624
STEPHEN P CONLEY        364 FIFTH ST.                                                                                  WAYNESVILLE        OH   45068
STEPHEN P GRAVES        3461 BELDEER DR                                                                                SAINT CHARLES      MO   63303‐6631
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Name                            Address1                         Address2            Address3         Address4         City               State Zip
STEPHEN P JARVIS                4292 COVEY LN                                                                          GRAND BLANC         MI 48439‐9625
STEPHEN P KAPLAN                1214 BOBWHITE COURT                                                                    PUNTA GORDA         FL 33950
STEPHEN P KETTERER III          4448 PEBBLE CREEK BLVD                                                                 GRAND BLANC         MI 48439‐9069
STEPHEN P KLEIN JR              1203 RIVER GLEN DR NE                                                                  WARREN              OH 44484‐6062
STEPHEN P LINNEN                4653 RITA ST                                                                           AUSTINTOWN          OH 44515‐3831
STEPHEN P MARKS                 3746 MCCULLOCH RD                                                                      BEAVERTON           MI 48612‐9201
STEPHEN P METZENDORF            4048 WOODSIDE DR NW                                                                    WARREN              OH 44483‐2157
STEPHEN P PARKHURST             1952 PETERSMITH ROAD                                                                   KENT                NY 14477‐9613
STEPHEN P QVICK                 1626 LARCHWOOD DR                                                                      DAYTON              OH 45432‐3611
STEPHEN P RUBY                  155 TULIP DR                                                                           HUBBARD             OH 44425
STEPHEN P SANDERS               1183 E GREY CT                                                                         WAYLAND             MI 49348‐9008
STEPHEN P SCHULTZ               150 METAL ARM NTH                APT #2                                                NORTH CHILI         NY 14514
STEPHEN P TRUSNOVIC             343 WESTERN AVE                                                                        OAKDALE             PA 15077
STEPHEN P WOODS                 4014 JACQUE STREET                                                                     FLINT               MI 48532‐3842
STEPHEN P WRAY                  30 TWINCREEK COURT                                                                     SPRINGBORO          OH 45066‐1136
STEPHEN PACK'S AUTOMOTIVE LLC   20094 AL HIGHWAY 127                                                                   ATHENS              AL 35614‐6100
STEPHEN PACURAI                 1342 BYRON AVE                                                                         YPSILANTI           MI 48198‐3109
STEPHEN PADDOCK                 21537 VESPER ST                                                                        CREST HILL           IL 60403‐1528
STEPHEN PADILLA                 8042 LECLAY DR                                                                         KNOXVILLE           TN 37938‐3031
STEPHEN PADILLA                 1011 W MAPLE RD                                                                        MILFORD             MI 48381‐3827
STEPHEN PAGE
STEPHEN PAGLIUCA                216 STONEBROOK WAY                                                                     EDMOND             OK   73003‐2137
STEPHEN PAGONAS                 44263 WHITHORN DR                                                                      STERLING HTS       MI   48313‐1059
STEPHEN PAIKO                   106 CHERRY CREEK LN                                                                    ROCHESTER          NY   14626‐4204
STEPHEN PAINTER III             3813 S MAIN ST                                                                         INDEPENDENCE       MO   64055‐3248
STEPHEN PAJKOS                  100 MEADOWWOOD COURT                                                                   DECATUR            MI   49045‐8711
STEPHEN PALLARD                 36358 TEEGARDEN RD                                                                     SALEM              OH   44460‐9452
STEPHEN PALLER I I I            1691 CRESCENT POINTE DR SE                                                             CALEDONIA          MI   49316‐7507
STEPHEN PALMITER                16920 TALLMAN RD                                                                       GRAND LEDGE        MI   48837‐9613
STEPHEN PAPPAS                  3125 JOHNSON RD                                                                        MIDDLEVILLE        MI   49333‐8526
STEPHEN PARDY                   222 S SHORE DR                                                                         AMARILLO           TX   79118‐9396
STEPHEN PARKER                  1933 ROCK WAY                                                                          LANSING            MI   48910‐2561
STEPHEN PARKER                  2105 WHITE PINE LN                                                                     MANSFIELD          GA   30055‐2892
STEPHEN PARKER                  2532 E 700 N                                                                           ALEXANDRIA         IN   46001‐8864
STEPHEN PARKER                  10315 CORTEZ RD W LOT 25F                                                              BRADENTON          FL   34210‐1658
STEPHEN PARKER                  2709 OMAHA DR                                                                          JANESVILLE         WI   53546‐4403
STEPHEN PARKER                  PO BOX 155311                                                                          FORT WORTH         TX   76155‐0311
STEPHEN PARKINSON               1985 S CAVALIER DR                                                                     CANTON             MI   48188‐1826
STEPHEN PARRY                   58250 SALEM DR                                                                         WASHINGTN TWP      MI   48094‐2748
STEPHEN PASICHNYK               505 WOODHAVEN DR                                                                       LANSING            MI   48917‐3546
STEPHEN PASLEY                  2718 W 13 MILE RD                                                                      ROYAL OAK          MI   48073‐4406
STEPHEN PASS                    48574 LEAFDALE CT                                                                      SHELBY TOWNSHIP    MI   48317‐2747
STEPHEN PASTOR                  28454 GOLF POINTE BLVD                                                                 FARMINGTON HILLS   MI   48331‐2942
STEPHEN PASTRAS                 1252 TAFT ST                                                                           LANSING            MI   48906‐4948
STEPHEN PATAK                   2917 CRONE RD                                                                          BEAVERCREEK        OH   45434‐6618
STEPHEN PATE                    118 HIDEAWAY LN                                                                        HAMPTON            TN   37658‐3069
STEPHEN PATERNEL                4668 VAN AMBERG RD                                                                     BRIGHTON           MI   48114‐9201
STEPHEN PATERSON                7230 WARD RD                                                                           NORTH TONAWANDA    NY   14120‐1438
STEPHEN PATKO                   118 1/2 LINDEN AVE                                                                     DAYTON             OH   45403‐1919
STEPHEN PATRICK                 6421 BARNETT CIR                                                                       GRAND LEDGE        MI   48837‐9323
STEPHEN PATRICK                 1444 W SILVERBELL RD                                                                   LAKE ORION         MI   48359‐1330
STEPHEN PATTERSON               33224 PALMER RD                                                                        WESTLAND           MI   48186‐4788
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Name                               Address1                        Address2                     Address3   Address4         City               State Zip
STEPHEN PAULLUS                    8279 CASTLE ROCK CT                                                                      INDIANAPOLIS        IN 46256‐3457
STEPHEN PAWLICKI                   225 EMS B40 A LANE                                                                       LEESBURG            IN 46538
STEPHEN PAYNE                      6000 ARMADA ST                                                                           TAVARES             FL 32778‐9250
STEPHEN PEBLEY                     1432 IRONWOOD DR                                                                         FAIRBORN            OH 45324‐3506
STEPHEN PECHATSKO                  3438 MEANDERWOOD DR                                                                      CANFIELD            OH 44406‐9616
STEPHEN PECK                       1255 124TH AVE                                                                           SHELBYVILLE         MI 49344‐9503
STEPHEN PECK                       1568 WADE DR                                                                             LAPEER              MI 48446‐8705
STEPHEN PELTIER                    171 DAY DR                                                                               SEBASTIAN           FL 32958‐6937
STEPHEN PELZEL                     3067 BELINDA DR                                                                          STERLING HTS        MI 48310‐2935
STEPHEN PENNINGTON                 2637 LIGON SPRINGS RD                                                                    RUSSELLVILLE        AL 35654‐3194
STEPHEN PENNINGTON                 1568 LOREWOOD GROVE RD                                                                   MIDDLETOWN          DE 19709‐9480
STEPHEN PENNOCK                    37655 BETHEL CHURCH RD                                                                   OSAWATOMIE          KS 66064‐4254
STEPHEN PERKINS                    652 W LINCOLN ST                                                                         CARO                MI 48723‐1459
STEPHEN PERRY                      16943 CAMBRIDGE AVE                                                                      ALLEN PARK          MI 48101‐3110
STEPHEN PERRY KIENZL               3788 CYNTHIA DR                                                                          PITTSBURGH          PA 15227‐4506
STEPHEN PETERS
STEPHEN PETERSEN                   1010 LAKE VIEW DR                                                                        BAYFIELD           CO   81122‐8839
STEPHEN PETERSON                   13133 N BRAY RD                                                                          MOORESVILLE        IN   46158‐6975
STEPHEN PETROFF                    60 BAYVIEW RD # B                                                                        CASTROVILLE        CA   95012‐9725
STEPHEN PETROFF JR                 9094 ELDORADO TRL                                                                        STRONGSVILLE       OH   44136‐1406
STEPHEN PETTINGER                  868 S WAVERLY RD                                                                         EATON RAPIDS       MI   48827‐8205
STEPHEN PETTLON                    105 NW 74TH TER                                                                          GLADSTONE          MO   64118‐1683
STEPHEN PHELPS                     1449 W. U.S. 40                                                                          SPICELAND          IN   47385
STEPHEN PHILLIPS                   15711 S STATE ROUTE 66                                                                   DEFIANCE           OH   43512‐8804
STEPHEN PHILLIPS                   1039 KIRTS BLVD                                                                          TROY               MI   48084
STEPHEN PICKARD                    88 BASSETT LN                                                                            YOUNGSTOWN         OH   44505‐4804
STEPHEN PIERSHALSKI                117 AUTUMNWOOD DR                                                                        GRAND ISLAND       NY   14072‐1366
STEPHEN PIETRYGA                   3625 WINDMILL DR                                                                         SANTA CLARA        UT   84765‐5370
STEPHEN PIHONSKY                   844 BARN SWALLOW LN                                                                      MILAN              MI   48160‐1570
STEPHEN PINCHOT                    5702 SOUTHINGTON DR                                                                      PARMA              OH   44129‐5230
STEPHEN PINGSTON                   607 MAXWELL AVE                                                                          ROYAL OAK          MI   48067‐1652
STEPHEN PINTUR                     BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH   44236
STEPHEN PLUTA JR                   185 SWANSON RD                                                                           SAGINAW            MI   48609‐6926
STEPHEN POCHATKO                   1350 101ST ST                                                                            NIAGARA FALLS      NY   14304‐2716
STEPHEN PODHORSKY                  15777 STUART RD                                                                          CHESANING          MI   48616‐8434
STEPHEN PODOBA                     11610 WAHL RD                                                                            SAINT CHARLES      MI   48655‐8531
STEPHEN POLAK                      226 LONE LANE                                                                            ALLENTOWN          PA   18104
STEPHEN POLITTE                    PO BOX 521                                                                               VIBURNUM           MO   65566‐0521
STEPHEN POLKINGHORNE               9125 DORCHESTER LN                                                                       WILLOW SPRING      NC   27592‐7517
STEPHEN POLLICK                    410 PARSHALL ST BOX 56                                                                   OAKLEY             MI   48649
STEPHEN PONIATOWSKI                1916 E WHITEFEATHER RD                                                                   PINCONNING         MI   48650‐8416
STEPHEN PONIEWIERSKI               7545 PINE GROVE CIR                                                                      MILLINGTON         MI   48746‐8500
STEPHEN PONT‐CAD INC/CT/AVIS       1097 FARMINGTON AVE                                                                      BRISTOL            CT   06010‐4706
STEPHEN PONTIAC‐CADILLAC (FLEET)   1097 FARMINGTON AVE                                                                      BRISTOL            CT   06010‐4706
STEPHEN PONTIAC‐CADILLAC INC       1097 FARMINGTON AVE                                                                      BRISTOL            CT   06010‐4706
STEPHEN PONTIAC‐CADILLAC, INC.     1097 FARMINGTON AVE                                                                      BRISTOL            CT   06010‐4706
STEPHEN PONTIAC‐CADILLAC, INC.     STEPHEN BARBERINO               1097 FARMINGTON AVE                                      BRISTOL            CT   06010‐4706
STEPHEN POPP JR                    6894 N GULLEY RD                                                                         DEARBORN HTS       MI   48127‐2035
STEPHEN PORKOLAB                   597 SOLANO DR                                                                            HEMET              CA   92545‐2469
STEPHEN PORTER                     2285 CEDAR DR                                                                            READING            MI   49274‐9404
STEPHEN POTTER                     7005 ANGELHOLM RD                                                                        COLORADO SPRINGS   CO   80908‐1166
STEPHEN POULOS                     28487 EASTBROOK CT                                                                       FARMINGTON HILLS   MI   48334‐4252
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Name                     Address1                          Address2            Address3         Address4         City              State Zip
STEPHEN POWELL           11584 RIDGE RD                                                                          SOUTH LYON         MI 48178‐9319
STEPHEN POWERS           1691 MCCLELLAN RD                                                                       XENIA              OH 45385‐9322
STEPHEN PRATER           11530 GOLDEN WILLOW DR                                                                  ZIONSVILLE         IN 46077‐1196
STEPHEN PREJSNAR         5645 CLINGAN RD UNIT 2A                                                                 STRUTHERS          OH 44471‐3122
STEPHEN PRETTYMAN        3367 ALDER LN                                                                           WOODBURY           MN 55129‐6265
STEPHEN PRICE            7405 STONEGATE CT                                                                       INDIANAPOLIS       IN 46256‐2094
STEPHEN PRUSAK           277 N BEVERLY AVE                                                                       YOUNGSTOWN         OH 44515‐2827
STEPHEN PRUSS            3762 ROLLING HILLS RD                                                                   LAKE ORION         MI 48359‐1491
STEPHEN PRYOR            2280 JERNIGAN DR SE                                                                     ATLANTA            GA 30315‐7558
STEPHEN PUDVAY           4348 KELLIE CT                                                                          HOWELL             MI 48855‐9640
STEPHEN PURNER           864 GLEBE RD                                                                            EARLEVILLE         MD 21919‐1313
STEPHEN PUTERBAUGH       10950 ROSE LN                                                                           BIRCH RUN          MI 48415‐9437
STEPHEN PUTT             1345 STATE ROUTE 534 SW                                                                 NEWTON FALLS       OH 44444‐9520
STEPHEN PYLE             2421 W 500 S                                                                            MARION             IN 46953‐9322
STEPHEN Q LEIGH          865 SWALLOW ST. S.W.                                                                    WARREN             OH 44485‐3683
STEPHEN QUICK
STEPHEN QUINDLEN         5 BLACK WILLOW CT                                                                       WILMINGTON        DE   19808‐1146
STEPHEN QUINDLEN         1110 JANICE DR                                                                          NEWARK            DE   19713‐2353
STEPHEN QUINLAN          63287 STOREY HILL ST                                                                    VANDALIA          MI   49095
STEPHEN QUINN            6068 E DODGE RD                                                                         MOUNT MORRIS      MI   48458‐9720
STEPHEN R ARMSTRONG      4280 GROSSEPOINT                                                                        SPRINGFIELD       OH   45502‐9712
STEPHEN R ASHWORTH       3218 DUCK POINT DR                                                                      MONROE            NC   28110‐8881
STEPHEN R AUGUSTA        2136 LOVERS LANE, N.W.                                                                  WARREN            OH   44485‐1609
STEPHEN R BAKER          1417 MELROSE AVE                                                                        KETTERING         OH   45409
STEPHEN R BROWN          2935 LANSING DR                                                                         DAYTON            OH   45420
STEPHEN R CLINE I I      4807 NEPTUNE LN                                                                         HUBER HEIGHTS     OH   45424
STEPHEN R CORNES         300 NORTHAMPTON DR                                                                      AMERICAN CANYON   CA   94503‐4114
STEPHEN R CUMMER         2330 BINGHAM RD                                                                         CLIO              MI   48420‐1953
STEPHEN R EVERHART       622 E 4TH ST                                                                            GREENVILLE        OH   45331‐2047
STEPHEN R FARINA         53 TERRACE HILL DR                                                                      PENFIELD          NY   14526
STEPHEN R FIORINO        50 CIDER CREEK LN                                                                       ROCHESTER         NY   14616
STEPHEN R FOWLER MD      1406 W RANDOL MILL RD                                                                   ARLINGTON         TX   76012‐3115
STEPHEN R HARDING        7394 STATE ROUTE 97 LOT 28                                                              MANSFIELD         OH   44903‐8514
STEPHEN R HILDEBRAND     653 FAIR RD                                                                             SIDNEY            OH   45365
STEPHEN R HUCKABY        2930 HALEY RD                                                                           TERRY             MS   39170
STEPHEN R HUNT           340 W HILLCREST AVE                                                                     DAYTON            OH   45406‐2116
STEPHEN R JOHNSON        3066 AUBREE LN                                                                          SPRINGFIELD       OH   45502‐7232
STEPHEN R JONES          665 LEWISHAM AVE                                                                        DAYTON            OH   45429
STEPHEN R JONES          3468 BIRMINGHAM RD                                                                      MARSHALL          TX   75672‐6057
STEPHEN R LEGRAND        5230 DUFFIELD RD                                                                        FLUSHING          MI   48433‐9780
STEPHEN R LEWIS          4529 LAWRENCE ST                                                                        ST BERNARD        OH   45217
STEPHEN R LILLY          238 DELLWOOD DR                                                                         FAIRBORN          OH   45324
STEPHEN R LYON           RR 2 BOX 2605                                                                           TROY              PA   16947
STEPHEN R MCDOWELL       9523 STILL MEADOW LANE                                                                  SPRING VALLEY     OH   45370‐9532
STEPHEN R NEWMAN         1 WATERSIDE DR                                                                          BRYAN             OH   43506
STEPHEN R OCKERMAN       6424 OAKHURST PLACE                                                                     DAYTON            OH   45414‐2866
STEPHEN R PETTIT         1299 E WALTON BLVD                APT 202                                               PONTIAC           MI   48340‐1577
STEPHEN R PRESLEY        21 KING RD                                                                              SOMERSET          NJ   08873‐2309
STEPHEN R REIS           67 E NORMAN AVENUE                                                                      DAYTON            OH   45405‐3509
STEPHEN R SMEREK JR      186 OHIO ST                                                                             YPSILANTI         MI   48198‐7820
STEPHEN R STOMOFF, JR.   3213 PENNACLE PARK DR                                                                   MORAINE           OH   45418
STEPHEN R TAYLOR         20652 LINDY SUE LN                                                                      PIERSON           MI   49339‐9433
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Name                          Address1                      Address2                 Address3    Address4         City               State Zip
STEPHEN R. AMES, D/B/A AMES   STEPHEN R. AMES               1 BONNEY ROAD                                         MARLBOROUGH         NH 03455
AUTOMOTIVE
STEPHEN RAGLAND               PO BOX 307161                                                                       COLUMBUS           OH    43230‐7161
STEPHEN RAGNONE               14021 HOGAN RD                                                                      LINDEN             MI    48451‐8661
STEPHEN RAGSDILL              998 COUNTY ROAD 1255                                                                DETROIT            TX    75436‐4309
STEPHEN RAINEY                PO BOX 793                                                                          DULUTH             GA    30096‐0015
STEPHEN RAMER                 3320 WEATHERED ROCK CIR                                                             KOKOMO             IN    46902‐6066
STEPHEN RANARD                2000 FREEMAN RD                                                                     SPENCER            IN    47460‐7434
STEPHEN RANDLE                1972 HUNTERS RIDGE DR                                                               BLOOMFIELD HILLS   MI    48304‐1036
STEPHEN RANGELOFF             120 DOGWOOD AVE               (LOTP ‐ JOHNSON CREEK)                                JEFFERSON          TX    75657‐9151
STEPHEN RANK                  1855 N CENTER RD                                                                    SAGINAW            MI    48638‐5565
STEPHEN RAO                   32200 ARLINGTON DR                                                                  BEVERLY HILLS      MI    48025‐4216
STEPHEN RAPP                  104 WINDING DR                                                                      HOUGHTON LAKE      MI    48629‐9153
STEPHEN RASLICH               5213 RAY RD                                                                         LINDEN             MI    48451‐8460
STEPHEN RATLIFF               10062 N HUNT CT                                                                     DAVISON            MI    48423‐3510
STEPHEN RATLIFF               404 DRIFTWOOD CT                                                                    FRANKLIN           IN    46131‐7944
STEPHEN RAWA                  780 JOSLYN RD                                                                       LAKE ORION         MI    48362‐2120
STEPHEN RAYNES                2415 CORIANDER CT                                                                   TROY               OH    45373‐8751
STEPHEN REEVES                2938 CADY DR                                                                        BRIGHTON           MI    48114‐8661
STEPHEN REIS                  67 E NORMAN AVE                                                                     DAYTON             OH    45405‐3509
STEPHEN REMINGTON             9640 W 400 N                                                                        NOBLESVILLE        IN    46060‐8302
STEPHEN RENN                  15490 POWER DAM RD                                                                  DEFIANCE           OH    43512‐8817
STEPHEN RENO                  2951 SPRING MEADOW CIR                                                              YOUNGSTOWN         OH    44515‐4952
STEPHEN RESCH                 47101 ELDREDGE ST                                                                   MACOMB             MI    48042‐5116
STEPHEN RETZLOFF              6515 GRAHAM RD                                                                      WATERFORD          MI    48327‐1603
STEPHEN REVELL                2850 S FORDNEY RD                                                                   HEMLOCK            MI    48626‐9717
STEPHEN REVNIK JR             2913 IROQUOIS AVE                                                                   FLINT              MI    48505‐4000
STEPHEN REYNOLDS              8207 CHURCH RD                                                                      SAINT JOHNS        MI    48879‐9289
STEPHEN RHOADES               2912 LONG LAKE DR                                                                   SHREVEPORT         LA    71106‐8416
STEPHEN RHOADS                2577 FM 2048                                                                        BOYD               TX    76023‐5615
STEPHEN RHODERICK             121 W CENTER ST                                                                     SANFORD            MI    48657‐9556
STEPHEN RHODES                641 CABLE POINT DR                                                                  CLIMAX SPRINGS     MO    65324‐2911
STEPHEN RICE                  2606 ANTRIM CIR                                                                     COLUMBIA           TN    38401‐5823
STEPHEN RICH                  11774 STATE ROUTE 725                                                               GERMANTOWN         OH    45327‐9760
STEPHEN RICHARDSON
STEPHEN RICHARDSON            401 E STAUNTON RD                                                                   TROY               OH    45373‐2106
STEPHEN RICHMOND              250 S FIFTH ST                                                                      ROGERS CITY        MI    49779‐2004
STEPHEN RICHWINE              2375 S ASHLEY DR                                                                    GREENFIELD         IN    46140‐8146
STEPHEN RILEY                 392 HOLMES RD                                                                       ROCHESTER          NY    14626‐3635
STEPHEN RILEY                 PO BOX 141                                                                          MULLETT LAKE       MI    49761‐0141
STEPHEN RINEHART              713 W VIRGINIA AVE APT 9                                                            MARTINSBURG        WV    25401‐2161
STEPHEN RISH                  1137 CHURCH RD                                                                      DALLAS             PA    18612
STEPHEN RITCHEY               1516 E 500 N                                                                        ANDERSON           IN    46012‐9514
STEPHEN RITCHIE               5905 N COUNTY ROAD 500 W                                                            MUNCIE             IN    47304‐9405
STEPHEN RIZZONELLI            5431 HALL RD                                                                        COLUMBUS           OH    43228‐3209
STEPHEN ROBERTS               7199 ALGER DR                                                                       DAVISON            MI    48423‐2377
STEPHEN ROBINSON              10 ASHMONT DR                                                                       FRAMINGHAM         MA    01701‐3329
STEPHEN ROBINSON              3204 STATE ROUTE 14                                                                 ROOTSTOWN          OH    44272‐9792
STEPHEN ROBINSON              3024 WINDSOR DR                                                                     COLUMBIA           TN    38401‐4952
STEPHEN ROBISON               791 HELM DR                                                                         AVON               IN    46123‐9560
STEPHEN ROCHE
STEPHEN ROE                   183 CHARIOT DR                                                                      ANDERSON            IN   46013‐1083
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Name                               Address1                         Address2                     Address3   Address4         City               State Zip
STEPHEN ROELL, CHAIRMAN AND CEO,   5757 N GREEN BAY AVE                                                                      GLENDALE            WI 53209‐4408
JOHNSON CONTROLS, INC.
STEPHEN ROGERS                     8236 N 600 E                                                                              DENVER             IN   46926‐9363
STEPHEN ROGERS                     1‐11759N                                                                                  LYONS              OH   43533
STEPHEN ROJESKI                    13329 GILBERT RD                                                                          RILEY              MI   48041‐3427
STEPHEN ROLLINS                    3676 LISTERMAN RD                                                                         HOWELL             MI   48855‐9741
STEPHEN ROMOGA JR                  10367 ROCK LEDGE WAY                                                                      NORTH ROYALTON     OH   44133‐6083
STEPHEN ROPELEWSKI                 546 RICHARD ST                                                                            MARTINSBURG        WV   25404‐9083
STEPHEN ROSENDALL                  5285 OAKDALE DR                                                                           HUDSONVILLE        MI   49426‐9359
STEPHEN ROSS                       12116 COOLIDGE RD                                                                         GOODRICH           MI   48438‐9709
STEPHEN ROUSH                      142 ALDEN LN                                                                              LEBANON            TN   37087‐3287
STEPHEN ROWE                       4523 MARVIN DR                                                                            FORT WAYNE         IN   46806‐2599
STEPHEN ROWLAND                    1623 HIGHLAND AVE # A                                                                     COLUMBIA           TN   38401‐4032
STEPHEN ROY                        8960 CARRIAGE HILL DR                                                                     SHELBY TWP         MI   48317‐1413
STEPHEN ROY                        1419 52ND ST SW                                                                           WYOMING            MI   49509‐9524
STEPHEN RUMMEL                     5346 N LATSON RD                                                                          HOWELL             MI   48855‐9716
STEPHEN RUPLEY                     179 N SCOTT ST                                                                            ADRIAN             MI   49221‐1945
STEPHEN RUSCH                      1505 ADAMS ST                                                                             DANSVILLE          MI   48819‐9695
STEPHEN RUSICKA JR                 11006 W CIMARRON DR                                                                       SUN CITY           AZ   85373‐4307
STEPHEN RUSNAK                     PO BOX 9022                                                                               WARREN             MI   48090‐9022
STEPHEN RUSSELL                    4741 SHADYBROOK WAY SE                                                                    CONYERS            GA   30094‐4461
STEPHEN RUSZ JR                    900 W BELLE AVE                                                                           SAINT CHARLES      MI   48655‐1618
STEPHEN RUZZIN                     2104 NEWELL DR                                                                            STERLING HEIGHTS   MI   48310‐2860
STEPHEN RYAN                       1454 N 550 E                                                                              WINDFALL           IN   46076‐9496
STEPHEN RYAN                       315 W ROOSEVELT RD                                                                        ASHLEY             MI   48806‐9720
STEPHEN S CZARNECKI                1815 3RD ST                                                                               BAY CITY           MI   48708‐6212
STEPHEN S KIEVIT                   1335 PARK AVE E                                                                           MANSFIELD          OH   44905‐2635
STEPHEN S KRAJEWSKI                21 HULL DR                                                                                EDISON             NJ   08817
STEPHEN S LEWIS                    235 FRANKLIN STREET                                                                       XENIA              OH   45385‐2710
STEPHEN S STEWART                  124 CLAY ST                                                                               BRADFORD           OH   45308
STEPHEN SABO JR                    PO BOX 334                                                                                GOODRICH           MI   48438‐0334
STEPHEN SABOL                      15092 E 12TH AVE                                                                          AURORA             CO   80011‐7048
STEPHEN SAFFORD                    5274 MILL BRANCH RD                                                                       GROVETOWN          GA   30813
STEPHEN SAKALOS                    71 GARFIELD PL                                                                            PARLIN             NJ   08859‐1572
STEPHEN SAKO                       15973 WEDGEWOOD LN                                                                        STRONGSVILLE       OH   44149‐5756
STEPHEN SALAS                      212 ADAMS ST                                                                              BAY CITY           MI   48708
STEPHEN SALESKY                    3930 HEMMETER RD                                                                          SAGINAW            MI   48603‐2036
STEPHEN SALISBURY                  3350 YAQUI DR                                                                             LAKE HAVASU CITY   AZ   86406‐7167
STEPHEN SALOKA                     17863 CANAL RD                                                                            CLINTON TWP        MI   48038‐2122
STEPHEN SALYER                     4333 LITTLE YORK RD                                                                       DAYTON             OH   45414‐2567
STEPHEN SANCHEZ                    6590 SQUIRREL HILL CT                                                                     CLARKSTON          MI   48346‐2456
STEPHEN SANDAY                     203 CEDARHURST DR                                                                         CANTON             GA   30115‐6443
STEPHEN SANDBERG                   7420 VILLAGE DR                                                                           PRAIRIE VILLAGE    KS   66208‐2860
STEPHEN SANDERS                    1183 EAST GRAY ST                                                                         WAYLAND            MI   49348
STEPHEN SANDERS                    1413 EAGLES GROVE CT                                                                      WHITEFORD          MD   21160‐1417
STEPHEN SANDERS                    BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH   44236
STEPHEN SANTFANT                   511 FORSYTHE AVE                                                                          GIRARD             OH   44420‐2211
STEPHEN SANTO                      1669 TWIN DR                                                                              DEFIANCE           OH   43512‐3639
STEPHEN SANZONE                    309 FORESTRIDGE DR                                                                        MANSFIELD          TX   76063‐7589
STEPHEN SARGENT                    202 S TALLEY AVE                                                                          MUNCIE             IN   47303‐4760
STEPHEN SAROW                      1225 SHANNON CT                                                                           JANESVILLE         WI   53546‐3739
STEPHEN SATTLER                    28405 VIA ODANTI DR                                                                       BONITA SPRINGS     FL   34135‐8268
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Name                               Address1                             Address2                     Address3   Address4         City                State Zip
STEPHEN SATTLER JR                 14691 BELLINO TER UNIT 101                                                                    BONITA SPGS          FL 34135‐8366
STEPHEN SAVEL                      13195 ATLANTIC RD                                                                             STRONGSVILLE         OH 44149‐3956
STEPHEN SAVEL                      7999 STRONGSVILLE BLVD                                                                        STRONGSVILLE         OH 44149‐1534
STEPHEN SAVOIE                     7719 PHELAN DR                                                                                CLARKSTON            MI 48346‐1255
STEPHEN SCHAEFER                   137 ROBERT AVE                                                                                BELLEVUE             OH 44811‐1114
STEPHEN SCHEATZLE                  2894 CHELTENHAM CT                                                                            THE VILLAGES         FL 32162‐6337
STEPHEN SCHEIDERER                 2236 ROAD 129 SOUTH                                                                           ZANESFIELD           OH 43360
STEPHEN SCHELTER                   1018 N CHESTNUT ST                                                                            LANSING              MI 48906‐5017
STEPHEN SCHIESSLER                 5827 OVERHILL LN                                                                              DAYTON               OH 45429‐6043
STEPHEN SCHILLINGER                BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS           OH 44236
STEPHEN SCHIRA                     1812 DREXEL ST                                                                                DEARBORN             MI 48128‐1161
STEPHEN SCHIRMAN                   7000 S ASH CIR                                                                                CENTENNIAL           CO 80122‐2119
STEPHEN SCHLICHT                   1860 CLAYPOOL BOYCE RD                                                                        ALVATON              KY 42122‐8636
STEPHEN SCHLOTZ                    6685 CRANE RD                                                                                 YPSILANTI            MI 48197‐9028
STEPHEN SCHMANSKY                  5210 TIMBER RIDGE TRL                                                                         CLARKSTON            MI 48346‐3855
STEPHEN SCHMIDT                    2931 CHURCHILL LN                                                                             THOMPSONS STATION    TN 37179‐5255
STEPHEN SCHMIDT                    1 CYPRESS ST                                                                                  HOLLIDAYSBURG        PA 16648
STEPHEN SCHNELL                    21 CROOKED STICK PL                                                                           MONROE               NJ 08831‐8898
STEPHEN SCHNIPKE                   8428 STATE ROUTE 109                                                                          OTTAWA               OH 45875‐8640
STEPHEN SCHOWE                     4615 W 494 N                                                                                  HUNTINGTON           IN 46750‐8944
STEPHEN SCHULTHEIS                 117 S SEMINARY ST                                                                             PARIS                MO 65275‐1261
STEPHEN SCHULTZ & DOUGLAS TILDEN   250 LOCH HAVEN DR                                                                             WILLIAMSBURG         VA 23188
STEPHEN SCHUYLER                   1244 N 800 W                                                                                  ANDERSON             IN 46011‐9123
STEPHEN SCOTT                      3600 SHOALS ST                                                                                WATERFORD            MI 48329‐2262
STEPHEN SCOTT                      6003 ADAGIO LANE                                                                              APOLLO BEACH         FL 33572‐2722
STEPHEN SCOTT                      1124 HANLEY RD W                                                                              MANSFIELD            OH 44904‐1522
STEPHEN SCULLY                     13158 NEFF RD                                                                                 CLIO                 MI 48420‐1812
STEPHEN SEAGRAVE                   7755 S STATE ROAD 29                                                                          FRANKFORT            IN 46041‐9682
STEPHEN SEAMANS                    6355 LAKESHORE RD                                                                             CICERO               NY 13039‐8827
STEPHEN SEATON                     1051 AUTUMNVIEW CT                                                                            ROCHESTER            MI 48307‐6059
STEPHEN SECOR                      13742 BROADFORDING CHURCH RD                                                                  HAGERSTOWN           MD 21740‐2260
STEPHEN SEGER                      4864 MERIDIAN RD                                                                              WILLIAMSTON          MI 48895‐9334
STEPHEN SENTERS                    612 TUPPER LAKE ST                                                                            LAKE ODESSA          MI 48849‐1063
STEPHEN SENTERS                    40573 W 10 MILE RD                                                                            NOVI                 MI 48375‐3503
STEPHEN SERRANO                    556 SE ASHEVILLE DR                                                                           LEES SUMMIT          MO 64063‐1066
STEPHEN SERVATI                    78 CARRIE MARIE LN.                                                                           HILTON               NY 14468
STEPHEN SHADER                     1550 STEPNEY ST                                                                               NILES                OH 44446‐3738
STEPHEN SHAFFER                    400 ANNISTON DR                                                                               DAYTON               OH 45415‐3004
STEPHEN SHAFOR                     4493 CARO RD                                                                                  VASSAR               MI 48768‐9726
STEPHEN SHANK                      276 TECUMSEH ST                                                                               DUNDEE               MI 48131‐1064
STEPHEN SHANKER                    39555 ORCHARD HILL PLACE SUITE 460                                                            NOVI                 MI 48375
STEPHEN SHARP                      104 S COB ST                                                                                  ELWOOD               IN 46036‐8419
STEPHEN SHASSBERGER                5293 LENARD CIR                                                                               HOWELL               MI 48843‐7967
STEPHEN SHAUL                      5801 WHEELHORSE DR                                                                            INDIANAPOLIS         IN 46221‐4021
STEPHEN SHAW                       536 DAVIS RD                                                                                  CEDARTOWN            GA 30125‐4718
STEPHEN SHAW                       691 EDWARDS ST                                                                                ENGLEWOOD            FL 34223‐2515
STEPHEN SHAW                       2977 N US HIGHWAY 23                                                                          OSCODA               MI 48750‐9530
STEPHEN SHEA                       6821 WILD PINE CIR                                                                            SAGINAW              MI 48603‐8667
STEPHEN SHEA                       31019 COOLEY BLVD                                                                             WESTLAND             MI 48185‐1624
STEPHEN SHEEKS                     390 DALE ST                                                                                   MARTINSVILLE         IN 46151‐3109
STEPHEN SHELLABARGER               933 CALMER ERNST BLVD                                                                         BROOKVILLE           OH 45309‐8607
STEPHEN SHELTON                    4108 WESTCOUNTY ROAD                 400 SOUTH                                                MUNCIE               IN 47302
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Name                  Address1                       Address2            Address3         Address4         City                State Zip
STEPHEN SHELTON       253 PURVIS RD                                                                        SUNRISE BEACH        MO 65079‐6515
STEPHEN SHEN          1195 TRADITION DR                                                                    CANTON               MI 48187‐5809
STEPHEN SHEPARD       3074 SNOWY PINE DR                                                                   CHARLOTTE            MI 48813‐7315
STEPHEN SHEPHERD      2018 WILLIAMSPORT PIKE                                                               COLUMBIA             TN 38401‐5669
STEPHEN SHEPHERD      8137 HOOVER LN                                                                       INDIANAPOLIS         IN 46260‐2886
STEPHEN SHEPPARD      5136 N VALLEYVIEW DR                                                                 JANESVILLE           WI 53546‐9365
STEPHEN SHERRICK      3361 WHITFIELD DR                                                                    WATERFORD            MI 48329‐2779
STEPHEN SHETTERLY     2641 E 2ND ST                                                                        ANDERSON             IN 46012‐3200
STEPHEN SHIPLEY       6500 S OVERLOOK DR                                                                   DALEVILLE            IN 47334‐9343
STEPHEN SHOEMAKER     3056 DESERT ST                                                                       PENSACOLA            FL 32514‐6292
STEPHEN SHOEMAKER     12358 ANGLERS COVE COURT                                                             FORT MYERS           FL 33908
STEPHEN SHOOK         500 S WINMERE AVE                                                                    SELMA                IN 47383‐9427
STEPHEN SHORT         8790 DEER PLAINS WAY                                                                 HUBER HEIGHTS        OH 45424‐7020
STEPHEN SHORT         193 PALLADIUM DR                                                                     SURFSIDE BEACH       SC 29575‐4783
STEPHEN SHORTRIDGE    PO BOX 67                                                                            DARLINGTON           MD 21034‐0067
STEPHEN SHUE          2800 E 100 N                                                                         KOKOMO               IN 46901‐3462
STEPHEN SIBAL         4909 STODDARD DR                                                                     TROY                 MI 48085‐3539
STEPHEN SIFTON        54715 SHELBY RD                                                                      SHELBY TWP           MI 48316‐1439
STEPHEN SIGG          12896 VIA CATHERINA DR                                                               GRAND BLANC          MI 48439‐1530
STEPHEN SIGLER        3493 DRAPER AVE SE                                                                   WARREN               OH 44484‐3328
STEPHEN SIMMET        1377 S RAUCHOLZ RD                                                                   HEMLOCK              MI 48626‐9761
STEPHEN SIMMONS       16825 WILDEMERE ST                                                                   DETROIT              MI 48221‐3162
STEPHEN SIMON         615 HELINA DR                                                                        SANDUSKY             OH 44870‐5782
STEPHEN SIMONS        427 MAPLE LANE                                                                       SEWICKLEY            PA 15143
STEPHEN SIMS          53 BLACKBRIAR                                                                        DANVILLE              IL 61832‐1204
STEPHEN SIMS          320 M‐15                                                                             ORTONVILLE           MI 48462
STEPHEN SIMS          19938 ANDOVER ST                                                                     DETROIT              MI 48203‐1152
STEPHEN SINKO         216 S MAIN ST                                                                        NATICK               MA 01760‐4916
STEPHEN SIVAK JR      526 WOODROW AVE                                                                      LANSING              MI 48910‐3245
STEPHEN SIWY JR       1000 GRANDVIEW AVE APT 607                                                           PITTSBURGH           PA 15211‐1354
STEPHEN SKAROSI JR    7354 DRAKE ST. LINE ROAD                                                             BURGHILL             OH 44404
STEPHEN SKILLMAN      1547 HAZELWOOD CT E                                                                  GREENWOOD            IN 46143‐7850
STEPHEN SKINNER       2942 N 200 E                                                                         ANDERSON             IN 46012‐9614
STEPHEN SKOWRON       750 TIFFT ST                                                                         BUFFALO              NY 14220‐1815
STEPHEN SKRZYSINSKI   3268 SCHOOL ROAD RT 1                                                                RHODES               MI 48652
STEPHEN SLACK         315 S AUBURN RD                                                                      AUBURN               MI 48611‐9301
STEPHEN SLAYTON       PO BOX 238                                                                           ONTARIO              OH 44862‐0238
STEPHEN SLIDER        10008 LEWIS AVE                                                                      TEMPERANCE           MI 48182‐9731
STEPHEN SLIFKA        28 LAKESIDE DR                                                                       WILLIAMSVILLE        NY 14221‐1748
STEPHEN SLOCUM        1901 US HIGHWAY 17             92 LOT 175                                            LAKE ALFRED          FL 33850‐3192
STEPHEN SMALL         28 W 1850 N                                                                          SUMMITVILLE          IN 46070‐9066
STEPHEN SMEREK        186 OHIO ST                                                                          YPSILANTI            MI 48198
STEPHEN SMERIKA       6235 WINTERWOOD                                                                      FENTON               MI 48430‐9347
STEPHEN SMITH         9 GOLDFINCH CT                                                                       ANNANDALE            NJ 08801‐4004
STEPHEN SMITH         8571 TIPSICO TRL                                                                     HOLLY                MI 48442‐8100
STEPHEN SMITH         1829 UNION LAKE RD                                                                   COMMERCE TOWNSHIP    MI 48382‐2247
STEPHEN SMITH         156 ROSWELL AVE                                                                      BUFFALO              NY 14207‐1017
STEPHEN SMITH         283 W M 72                                                                           LINCOLN              MI 48742‐9334
STEPHEN SMITH         2829 S J ST                                                                          ELWOOD               IN 46036‐2644
STEPHEN SMITH         2575 W 300 N                                                                         ANDERSON             IN 46011‐9206
STEPHEN SMITH         825 DRY VALLEY RD                                                                    TOWNSEND             TN 37882‐4438
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STEPHEN SMITH          1100 INDIAN TRAIL LILBURN RD APT 1416                                                            NORCROSS            GA 30093‐4583

STEPHEN SMITH          1375 WILLIAMSBURG RD                                                                             FLINT              MI   48507‐5627
STEPHEN SMITH JR       PAUL REICH & MYERS PC                   1608 WALNUT ST STE 500                                   PHILADELPHIA       PA   19103‐5446
STEPHEN SNOW           4048 SPRING HUE LN                                                                               DAVISON            MI   48423‐8900
STEPHEN SNOW           C/O EMBRY & NEUSNER                     PO BOX 1409                                              GROTON             CT   06340
STEPHEN SNOW           EMBRY & NEUSNER                         PO BOX 1409                                              GROTON             CT   06340
STEPHEN SNYDER         12 COBBLESTONE LANE                                                                              LE CLAIRE          IA   52753‐9249
STEPHEN SNYDER
STEPHEN SOKOLA         2715 S PEAKTOP VIEW DR                                                                           COTTONWOOD         AZ   86326‐2826
STEPHEN SOLOMON        6010 N COUNTY ROAD 850 W                                                                         MIDDLETOWN         IN   47356‐9774
STEPHEN SOLTESZ        2439 E 1400 N                                                                                    SUMMITVILLE        IN   46070‐9051
STEPHEN SONIA          53412 ABRAHAM DR                                                                                 MACOMB             MI   48042‐2819
STEPHEN SOOTER         2003 N YORK ST                                                                                   INDEPENDENCE       MO   64058‐1335
STEPHEN SOPKO          BEVAN & ASSOCIATES LPA INC              6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH   44236
STEPHEN SOWA           6309 BRISTOL RD                                                                                  SWARTZ CREEK       MI   48473‐7920
STEPHEN SPADO          2820 NW GOLF COURSE DR S                                                                         BEND               OR   97701‐5502
STEPHEN SPEER          3203 BURTON PL                                                                                   ANDERSON           IN   46013‐5239
STEPHEN SPICELAND      4688 PARKSIDE BLVD                                                                               ALLEN PARK         MI   48101‐3206
STEPHEN SPICER         2743 W 17TH ST LOT 64                                                                            MARION             IN   46953‐9427
STEPHEN SPINNEY        234 BOOTH DR                                                                                     ALVATON            KY   42122‐9731
STEPHEN SPISAK         4483 KNOB HILL DR                                                                                BELLBROOK          OH   45305‐1428
STEPHEN SPRINGER       1844 RED FOX RD                                                                                  EDMOND             OK   73034‐5888
STEPHEN SPRINGSTUBBE   68260 S FOREST AVE                                                                               RICHMOND           MI   48062‐1314
STEPHEN ST ANGELO JR   107 GOLF CLUB DR                                                                                 NICHOLASVILLE      KY   40356‐8168
STEPHEN ST DENIS       6904 VIOLET DR                                                                                   FREDERICKSBRG      VA   22407‐6292
STEPHEN STAFFORD       3081 S COUNTY ROAD 350 W                                                                         KOKOMO             IN   46902
STEPHEN STALLWORTH     2611 W DOUBLEGATE DR                                                                             ALBANY             GA   31721‐9235
STEPHEN STANCOMBE      723 V STREET                                                                                     BEDFORD            IN   47421‐2430
STEPHEN STANLEY        701 HEMLOCK ST                                                                                   SHELBYVILLE        IN   46176‐2215
STEPHEN STANLEY        8062 N COUNTY ROAD 600 W                                                                         MIDDLETOWN         IN   47356‐9405
STEPHEN STANSIFER      77 TULIP DR                                                                                      INDIANAPOLIS       IN   46227‐2360
STEPHEN STARKEY        234 NEVADA AVE                                                                                   ROCHESTER HLS      MI   48309‐1568
STEPHEN STARR          5984 STATE ROAD 54 W                                                                             SPRINGVILLE        IN   47462‐5139
STEPHEN STATLER
STEPHEN STAUFFER       1357 W 100 S                                                                                     FRANKLIN           IN   46131‐8425
STEPHEN STEFAN         3216 STARLITE DR NW                                                                              WARREN             OH   44485‐1620
STEPHEN STEIMEL        261 N 500 E                                                                                      GREENFIELD         IN   46140‐9406
STEPHEN STELZEL        5142 W 12TH ST                                                                                   SPEEDWAY           IN   46224‐6918
STEPHEN STEWART        2910 N VERMONT AVE                                                                               ROYAL OAK          MI   48073‐3527
STEPHEN STEWART        3788 GRUBER RD                                                                                   MONROE             MI   48162‐9496
STEPHEN STEWART        601 MEADOWS DR                          C/O CARI ANN STEWART                                     MOORESVILLE        IN   46158‐7968
STEPHEN STIFF          4384 MAYA LN                                                                                     SWARTZ CREEK       MI   48473‐1593
STEPHEN STIFFLER       2433 BRAZILIA DR APT 75                                                                          CLEARWATER         FL   33763‐3830
STEPHEN STILES         312 COURTNEYS PL                                                                                 LAPEER             MI   48446‐7625
STEPHEN STIMMEL        61 RINGNECK PL                                                                                   BEAR               DE   19701‐2734
STEPHEN STINE          6050 LAMIE HWY                                                                                   CHARLOTTE          MI   48813‐8875
STEPHEN STODDARD       9438 HENDERSON RD                                                                                CORUNNA            MI   48817‐9751
STEPHEN STONE          5612 WILLIAMSBURG LN                                                                             WILDWOOD           FL   34785‐8126
STEPHEN STONEMAN       43026 HILLCREST DR                                                                               STERLING HEIGHTS   MI   48313‐2357
STEPHEN STOPKO
STEPHEN STRAUER        PO BOX 642                                                                                       KALIDA             OH 45853‐0642
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STEPHEN STRICKER         3146 DECKERVILLE RD                                                                 CASS CITY           MI 48726‐9337
STEPHEN STROHM           3115 HARVARD RD                                                                     ROYAL OAK           MI 48073‐6606
STEPHEN STRONG           240 CHESTNUT ST                                                                     WILMINGTON          MA 01887‐3304
STEPHEN STULGIS          1703 ROBBINS AVE                                                                    NILES               OH 44446
STEPHEN STYRANEC         2502 COUNTRY LN                                                                     POLAND              OH 44514‐1516
STEPHEN SUMMERS          1536 NE NEAWANNA DR                                                                 LEES SUMMIT         MO 64086‐5914
STEPHEN SUMNER           5688 TIBET DR                                                                       DAYTON              OH 45424‐5355
STEPHEN SUNDE            4212 WOODROW AVE                                                                    BURTON              MI 48509‐1054
STEPHEN SUPERNAW         11320 N GENESEE RD                                                                  CLIO                MI 48420‐9754
STEPHEN SUSAK            300 RIVERFRONT DR APT 26B                                                           DETROIT             MI 48226‐4586
STEPHEN SUTTON           1862 DUNHAM DR                                                                      ROCHESTER           MI 48306‐4807
STEPHEN SUTTON           403 WHISPERING WINDS TRL                                                            FENTON              MI 48430‐2940
STEPHEN SUTTON III       4001 HANEY RD                                                                       DAYTON              OH 45416‐2035
STEPHEN SUZDAK           228 RED OAK TRL                                                                     SPRING HILL         TN 37174‐7504
STEPHEN SWANSON          PO BOX 53                                                                           LINWOOD             MI 48634‐0053
STEPHEN SWARIN           3885 PINE HARBOR DRIVE                                                              WEST BLOOMFIELD     MI 48323
STEPHEN SWIATECKI        5936 CURSON DR                                                                      TOLEDO              OH 43612‐4011
STEPHEN SWIATOWICZ       2485 CLEWISTON STREET                                                               SPRING HILL         FL 34609‐3410
STEPHEN SWIM             8354 N COUNTY ROAD 200 W                                                            SPRINGPORT          IN 47386‐9757
STEPHEN SYJUD            8195 NICHOLS RD                                                                     GAINES              MI 48436‐9705
STEPHEN SYPNIEWSKI       203 MAIN STREET                                                                     S BOUND BROOK       NJ 08880
STEPHEN SZABO            4389 HEDGETHORN CIR                                                                 BURTON              MI 48509‐1213
STEPHEN SZCZEPANSKI JR   32434 HEES ST                                                                       LIVONIA             MI 48150‐3721
STEPHEN SZELESTEY        4208 YORKBROOK                                                                      BURTON              MI 48519‐2813
STEPHEN SZOMOLYAI        1175 CLEVELAND AVE                                                                  LINCOLN PARK        MI 48146‐2437
STEPHEN SZYMANSKI        13 WOODY RD                                                                         BALTIMORE           MD 21221‐1933
STEPHEN SZYNKOWSKI       8125 REED RD                                                                        HOWARD CITY         MI 49329‐9209
STEPHEN SZYSZKA          5 KENSINGTON CT                                                                     BRANCHBURG          NJ 08853‐4104
STEPHEN T CHRISTMAN      3400 STOCKER DR                                                                     DAYTON              OH 45429
STEPHEN T CIMINO         57 SHADYWOOD DRIVE                                                                  ROCHESTER           NY 14606
STEPHEN T DOWNS          230 TURNER RD                                                                       CASAR               NC 28020‐7735
STEPHEN T EMBERTON       9909 E ROLLING MEADOWS DR                                                           MUSTANG             OK 73064‐9638
STEPHEN T FUGETT         216 YORKWOOD DR                                                                     NEW LEBANON         OH 45345
STEPHEN T KOLAKOWSKI     3689 SHAKERTOWN RD                                                                  DAYTON              OH 45430‐1451
STEPHEN T LUKASIEWICZ    675 FINCHINGFIELD LA                                                                WEBSTER             NY 14580‐8771
STEPHEN T MOORE DO       1101 NEAL ST STE 102                                                                COOKEVILLE          TN 38501‐0917
STEPHEN T REYNOLDS       158 OHIO ST                                                                         YPSILANTI           MI 48198‐7820
STEPHEN T WERTH          1931 LAKEVILLE RD                                                                   AVON                NY 14414‐9604
STEPHEN TAKACS           7014 BENNETT LAKE RD                                                                FENTON              MI 48430‐9005
STEPHEN TAMMARO          1510 W 9TH ST                                                                       LORAIN              OH 44052‐1270
STEPHEN TARCZYNSKI       8 BONUS HILL RD                                                                     SCOTCH PLAINS       NJ 07076‐2701
STEPHEN TASKER           227 RUSTIC HILL LN                                                                  AMHERST             OH 44001‐1962
STEPHEN TAYLOR           PO BOX 13186                                                                        FLINT               MI 48501‐3186
STEPHEN TAYLOR           7221 JENNINGS RD                                                                    SWARTZ CREEK        MI 48473‐8873
STEPHEN TAYLOR           37666 BROOKWOOD DR                                                                  STERLING HEIGHTS    MI 48312‐1910
STEPHEN TAYLOR           20652 LINDY SUE LN                                                                  PIERSON             MI 49339‐9433
STEPHEN TAYLOR           2939 SEARS RD                                                                       SPRING VALLEY       OH 45370‐9730
STEPHEN TAYLOR           7689 GRASS LAKE RD NE                                                               KALKASKA            MI 49646‐8316
STEPHEN TEAGUE           6985 MARJEAN DR                                                                     TIPP CITY           OH 45371‐2335
STEPHEN TEHANSKY         2332 STETLER DR                                                                     COAL TOWNSHIP       PA 17866‐1677
STEPHEN TELLA            23 CUMBERLAND RD                                                                    HAMILTON SQUARE     NJ 08690‐2124
STEPHEN TENHARMSEL       668 146TH AVE                                                                       CALEDONIA           MI 49316‐9210
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STEPHEN TERLECKI      5600 CIDER MILL XING                                                                      YOUNGSTOWN          OH 44515‐4273
STEPHEN TERRY         350 KINROSS AVE                                                                           CLAWSON             MI 48017‐1489
STEPHEN TERSIGNI      4770 HILLSBORO RD                                                                         DAVISBURG           MI 48350‐3815
STEPHEN THEODORE      6353 BRIARCLIFF DR                                                                        BELLEVILLE          MI 48111‐5156
STEPHEN THOM          716 TAYLOR RD                                                                             SANDUSKY            OH 44870‐8344
STEPHEN THOMAS        229 COLONIAL AVENUE                                                                       PORTAGE             MI 49002‐1417
STEPHEN THOMAS        7716 AUGUSTA AVE                                                                          SAINT LOUIS         MO 63121‐4818
STEPHEN THOMAS        800 OLD HIGHWAY 60 W                                                                      MITCHELL            IN 47446‐7312
STEPHEN THOME         7111 LEDGEWOOD DR                                                                         FENTON              MI 48430‐9351
STEPHEN THOMPSON      22350 HOWARD ST                                                                           ATHENS              AL 35613‐3802
STEPHEN THOMPSON      1711 E 900 S                                                                              FAIRMOUNT           IN 46928‐9200
STEPHEN THOMSON       351 WILDFLOWER LN                                                                         LAPEER              MI 48446‐7655
STEPHEN THURBER       1403 LYON ST                                                                              COLUMBIA            TN 38401‐5256
STEPHEN TIBBETTS      3428 II RD                                                                                GARDEN              MI 49835‐9434
STEPHEN TILLIS        5621 E HASKELL LAKE RD                                                                    HARRISON            MI 48625‐8739
STEPHEN TINMAN        5424 EMMONS ST                                                                            FAIRBORN            OH 45324‐1916
STEPHEN TODORICH JR   26220 PARKLANE DR                                                                         EUCLID              OH 44132‐2338
STEPHEN TOMSICK       3417 KEVIN CIR                                                                            WARREN              MI 48092‐2282
STEPHEN TONELLI       6337 ASHDALE CT                                                                           LIBERTY TOWNSHIP    OH 45044‐8609
STEPHEN TONKOVICH     7335 E 32ND ST                                                                            CHASE               MI 49623‐9702
STEPHEN TORSKY        1305 CEDARWOOD DR                                                                         MINERAL RIDGE       OH 44440
STEPHEN TOTH          4608 E PEACHTON DR                                                                        PORT CLINTON        OH 43452‐2954
STEPHEN TOTH          BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS      OH 44236
STEPHEN TRACHSEL      975 SLOCUM DR                                                                             AUBURN HILLS        MI 48326‐3849
STEPHEN TRAVIS        3020 W DAVISON LAKE RD                                                                    OXFORD              MI 48371‐1060
STEPHEN TREMBLAY      6213 SOUTHWIND CT                                                                         MEBANE              NC 27302‐8629
STEPHEN TRENT         300 JOHNSON TRL                                                                           MORAINE             OH 45418‐2995
STEPHEN TRIGGS        498 EVANS RUN DR                                                                          MARTINSBURG         WV 25405‐5209
STEPHEN TROUT         109 FRIENDSHIP ROAD                                                                       DREXEL HILL         PA 19026‐5008
STEPHEN TROUTT        3185 COPE DR                                                                              OWOSSO              MI 48867‐9362
STEPHEN TRULSON       1221 W DELAVAN DR                                                                         JANESVILLE          WI 53546‐5307
STEPHEN TRUXALL       1250 ALTON DR SW                                                                          SHERRODSVILLE       OH 44675‐9513
STEPHEN TUCKER        11025 NATIONAL PIKE                                                                       CLEAR SPRING        MD 21722‐1624
STEPHEN TURCHANIK     13330 DE MOTT DR                                                                          WARREN              MI 48088‐6606
STEPHEN TURINSKY      325 E MAIN ST                                                                             MARBLEHEAD          OH 43440‐2229
STEPHEN TURNER        85‐175 FARRINGTON HWY APT C214                                                            WAIANAE             HI 96792‐2187
STEPHEN TURNER        1602 WAGON WHEEL LN                                                                       GRAND BLANC         MI 48439‐4872
STEPHEN TURNER        118 OLIVE ST                                                                              GIRARD              OH 44420‐1847
STEPHEN TUSSEY        641 HARPWOOD DR                                                                           FRANKLIN            OH 45005‐6502
STEPHEN TUTTLE        1014 WHITMORE ST                                                                          ANDERSON            IN 46012‐9216
STEPHEN TYLER         10420 WILLOUGHBY CIR                                                                      KEITHVILLE          LA 71047‐9564
STEPHEN TYNER         508 N 7 1/2 ST                                                                            PARAGOULD           AR 72450‐3510
STEPHEN UCINSKI       1575 E LEONARD RD                                                                         LEONARD             MI 48367‐2043
STEPHEN ULICKI        1811 MAINE ST                                                                             SAGINAW             MI 48602‐1723
STEPHEN ULRICH        12181 LAKE RD                                                                             OTTER LAKE          MI 48464‐9122
STEPHEN UNDERWOOD     1105 EAST DR                                                                              EDMOND              OK 73034‐5414
STEPHEN UNDERWOOD     P. O. BOX 566                                                                             HAMPSTEAD           NC 28443
STEPHEN UNDERWOOD     PO BOX 566                                                                                HAMPSTEAD           NC 28443
STEPHEN URBANIAK      116 DELTON ST                                                                             TONAWANDA           NY 14150‐5364
STEPHEN V DRAPER      6503 JUNIOR CT                                                                            CARLISLE            OH 45005
STEPHEN V DYAS        233 MONTGOMERY AVE                                                                        CARLISLE            OH 45005
STEPHEN V SHADER      1550 STEPNEY ST.                                                                          NILES               OH 44446‐3738
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Name                       Address1                         Address2                     Address3                    Address4         City             State Zip
STEPHEN VACCARO            5086 OAKWOOD DR                                                                                            N TONAWANDA       NY 14120‐9609
STEPHEN VAN LOAN           15 INDEPENDENCE DR                                                                                         ORCHARD PARK      NY 14127‐3401
STEPHEN VAN NORMAN         10145 OZGA ST                                                                                              ROMULUS           MI 48174‐1336
STEPHEN VANCE              PO BOX 1595                                                                                                HILLIARD          OH 43026‐6595
STEPHEN VANDERKARR         5076 N HENDERSON RD                                                                                        DAVISON           MI 48423‐8513
STEPHEN VANDERLAAN         3446 WYOMING AVE SW                                                                                        WYOMING           MI 49519‐3246
STEPHEN VANDERLUIT         2107 ANGIE LN                                                                                              ANDERSON          IN 46017‐9531
STEPHEN VANVLEET           130 W MAIN ST                                                                                              MONROVIA          IN 46157‐9579
STEPHEN VANWAGONER         906 VILLAGE DR                                                                                             DAVISON           MI 48423‐1052
STEPHEN VARGA              7159 S DURANGO DR BLDG           15 #211                                                                   LAS VEGAS         NV 89113
STEPHEN VARNER             1146 COUNTY STREET 2967                                                                                    BLANCHARD         OK 73010‐3030
STEPHEN VENSOR             9160 ESTATE THOMAS PMB 296                                                                                 ST THOMAS          VI 00802‐3641
STEPHEN VERBOCY            7652 HIGHLAND DR                                                                                           GASPORT           NY 14067‐9264
STEPHEN VERBOS             8942 NASHVILLE HWY                                                                                         VERMONTVILLE      MI 49096‐9539
STEPHEN VICTORY            12684 SWANN FARM LN                                                                                        BRIGHTON          MI 48114‐9295
STEPHEN VIDA               GENERAL DELIVERY                                                                                           PERRY             KS 66073
STEPHEN VIDOSICS           541 PLEASANT HOME CT                                                                                       KALAMAZOO         MI 49008‐3205
STEPHEN VIDOVICH           BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                BOSTON HEIGTHS    OH 44236
STEPHEN VILLAREAL          509 S 5TH ST                                                                                               NOBLE             OK 73068‐8925
STEPHEN VINCAK             9547 N. KINGS HWY                ROOM 124                                                                  MYRTLE BEACH      SC 29572
STEPHEN VISOCKY JR.
STEPHEN VITALE             3212 TRAILS END                                                                                            SAINT CHARLES    MO   63301‐0446
STEPHEN VOISARD            1590 N PONDEROSA DR                                                                                        PORT CLINTON     OH   43452‐2948
STEPHEN VOJTUSH JR         73901 LOWE PLANK RD                                                                                        RICHMOND         MI   48062‐4102
STEPHEN VOLOVAR            C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS       OH   44236
STEPHEN VRACAN JR          4431 TULANE ST                                                                                             DEARBORN HTS     MI   48125‐2247
STEPHEN VUKETICH           5154 RAYMOND AVE                                                                                           BURTON           MI   48509‐1934
STEPHEN W BACAK            1620 N CARNEGIE AVE                                                                                        NILES            OH   44446‐4004
STEPHEN W BANKSTON         1555 YOUNGS CHAPEL RD                                                                                      PIEDMONT         AL   36272‐8442
STEPHEN W BURTON           43 GUNCKEL AVENUE                                                                                          DAYTON           OH   45410‐1739
STEPHEN W COFFMAN          24E GREENBRIAR APTS S.BLDG                                                                                 EARLVILLE        IL   60518
STEPHEN W CROSS            8528 ROYAL WOODS DR                                                                                        CLARKSTON        MI   48348‐3497
STEPHEN W GARRETT          2037 ELSMERE AVE                                                                                           DAYTON           OH   45406
STEPHEN W GRIGGS           20191 MYERS RD                                                                                             ATHENS           AL   35614‐5415
STEPHEN W HARRIS           920 W JEFFERSON ST                                                                                         KOKOMO           IN   46901‐4347
STEPHEN W HURST            HC 4 BOX 46921                                                                                             MAYAGUEZ         PR   00580‐9426
STEPHEN W JANKOVICH        3932 GLENDALE MILFORD RD                                                                                   CINCINNATI       OH   45241‐3206
STEPHEN W KLAMAN JR        207 E 4TH ST                                                                                               TILTON           IL   61833‐7416
STEPHEN W KOCH             ATTN ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD PO BOX                    EAST ALTON       IL   62024
                                                            ANGELIDES & BARNERD LLC      521
STEPHEN W MANRING          7647 E NATIONAL RD                                                                                         S CHARLESTON     OH   45368‐8781
STEPHEN W MCLAIN           6497 W 300 S                                                                                               ANDERSON         IN   46011‐9400
STEPHEN W MINDERA JR       5 VIRGINIA RD                                                                                              TERRYVILLE       CT   06786‐5500
STEPHEN W NICHOLS          8612 N FLORA AVE                                                                                           KANSAS CITY      MO   64155‐3028
STEPHEN W SEARS            43 ALOHA DR                                                                                                DAYTON           OH   45439
STEPHEN W SUMNER           5688 TIBET DR                                                                                              DAYTON           OH   45424
STEPHEN W WILFONG          5517 BURNETT RD                                                                                            LEAVITTSBURG     OH   44430
STEPHEN W WILSON           P.O BOX 426                                                                                                TWAIN HEART      CA   95383
STEPHEN WADE               PO BOX 90541                                                                                               BURTON           MI   48509‐0541
STEPHEN WADE               8316 NW 15TH ST                                                                                            OKLAHOMA CITY    OK   73127‐3004
STEPHEN WADE               1548 BLUE SPRING CAVERNS RD                                                                                BEDFORD          IN   47421‐8208
STEPHEN WADE AUTO CENTER   150 HILTON DR                                                                                              SAINT GEORGE     UT   84770‐6737
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Name                               Address1                          Address2                     Address3   Address4         City                  State Zip
STEPHEN WADE AUTO CENTER           150 E 1160 S                                                                               SAINT GEORGE           UT 84770
STEPHEN WAHAL                      54 GRANDVIEW AVE                                                                           MORRISVILLE            PA 19067‐2255
STEPHEN WALD                       2472 STONY POINT RD                                                                        GRAND ISLAND           NY 14072‐1831
STEPHEN WALDRIP                    1117 SAWGRASS CT SW                                                                        LILBURN                GA 30047‐1871
STEPHEN WALDRUP                    884 N KELLY SPRINGS RD                                                                     STRINGTOWN             OK 74569
STEPHEN WALES                      31 ALMAZAN WAY                                                                             HOT SPRINGS VILLAGE    AR 71909‐4471
STEPHEN WALKER                     PO BOX 53                                                                                  CHIPPEWA LAKE          MI 49320‐0053
STEPHEN WALKER                     6503 W 200 S                                                                               SWAYZEE                IN 46986‐9744
STEPHEN WALKER                     8340 PARKSIDE DR                                                                           GRAND BLANC            MI 48439‐7436
STEPHEN WALKER                     899 LAKEPOINTE ST                                                                          GROSSE POINTE PARK     MI 48230‐1707
STEPHEN WALL                       73 PLEASANT ST                                                                             OXFORD                 MI 48371‐4649
STEPHEN WALLACE                    2308 NE CENTER CIR                                                                         JENSEN BEACH           FL 34957‐5545
STEPHEN WALSH                      1818 PARK RD                                                                               ANDERSON               IN 46011‐3955
STEPHEN WAND                       4652 S 500 E                                                                               KOKOMO                 IN 46902‐9387
STEPHEN WARD                       2724 GARDEN DR N APT 304                                                                   LAKE WORTH             FL 33461‐2212
STEPHEN WARD                       714 BAKER ST                                                                               LANSING                MI 48910‐1710
STEPHEN WARE                       10010 GLADSTONE RD                                                                         NORTH JACKSON          OH 44451‐9662
STEPHEN WARGO                      1306 CHEZ CT                                                                               FALLSTON               MD 21047‐2206
STEPHEN WARREN                     1901 S GOYER RD APT 89                                                                     KOKOMO                 IN 46902‐2744
STEPHEN WATSON                     1916 NORMAND AVE                                                                           BOSSIER CITY           LA 71112‐4355
STEPHEN WATZ                       3360 DAVISON RD                                                                            LAPEER                 MI 48446‐2903
STEPHEN WAUGH                      7 JACKSON ST                                                                               SILVER CREEK           NY 14136‐1009
STEPHEN WAUN                       447 WILDFLOWER LN                                                                          LAPEER                 MI 48446‐7660
STEPHEN WAYLAND                    3833 HOLLY AVE                                                                             FLINT                  MI 48506‐3108
STEPHEN WAYNE                      15697 MEIGS BLVD                                                                           BROOK PARK             OH 44142‐2970
STEPHEN WEAVER                     PO BOX 472                                                                                 NEWPORT                IN 47966‐0472
STEPHEN WEBSTER                    2209 KENT DR                                                                               BAKERSFIELD            CA 93306‐3510
STEPHEN WEICKER                    70104 SUNSET LN                                                                            BRUCE TWP              MI 48065‐4046
STEPHEN WEIDENHAMER                24015 SCOTT DR                                                                             FARMINGTON HILLS       MI 48336‐3075
STEPHEN WEISGLASS MEM SCHOLAR FUND GREATER MIAMI TENNIS FOUNDATION   501 NE 1ST AVE                                           MIAMI                  FL 33132

STEPHEN WELCH                      1727 ONONDAGA RD                                                                           HOLT                  MI   48842‐8600
STEPHEN WENDT                      6062 WEAVER RD                                                                             BERLIN CENTER         OH   44401‐9748
STEPHEN WERLE                      5 NOB HILL DR                                                                              BOONVILLE             MO   65233‐2001
STEPHEN WERNEKE                    168 FISHOOK STREET                                                                         KARNACK               TX   75661‐1828
STEPHEN WESSON                     16745 OLD JAMESTOWN RD                                                                     FLORISSANT            MO   63034‐1408
STEPHEN WEST                       11705 N SHELBY 700 W                                                                       NEW PALESTINE         IN   46163‐9404
STEPHEN WEST                       PO BOX 71                                                                                  OOLITIC               IN   47451‐0071
STEPHEN WESTERFIELD                1112 S ENGLISH ST                                                                          MOORE                 OK   73160‐7021
STEPHEN WESTFALL                   4000 PARK DR                                                                               COLUMBIA              TN   38401‐5025
STEPHEN WHEELER                    924 FITTING AVE                                                                            LANSING               MI   48917‐2233
STEPHEN WHETSTONE                  13501 NORMAN CIR                                                                           HUDSON                FL   34667
STEPHEN WHITACRE                   5049 TRIPHAMMER RD                                                                         GENESEO               NY   14454‐9774
STEPHEN WHITE                      9420 PRIMROSE LN                                                                           SHREVEPORT            LA   71118‐4020
STEPHEN WHITELEY                   BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS            OH   44236
STEPHEN WHITING                    8371 BARKLEY RD                                                                            MILLINGTON            MI   48746‐9514
STEPHEN WHITTON                    353 EAST RD                                                                                BRISTOL               CT   06010‐6840
STEPHEN WIGGAM                     1205 WESLEY CT                                                                             THORNTOWN             IN   46071‐8955
STEPHEN WILCOX                     267 LOWER ROANS CREEK RD                                                                   LINDEN                TN   37096‐5133
STEPHEN WILHELM                    RR 3 11 397 CO RD B                                                                        LEIPSIC               OH   45856
STEPHEN WILKS                      935 BROOKS LN                                                                              BALTIMORE             MD   21217‐4508
STEPHEN WILLIAM WEISE              C/O WEITZ & LUXENBERG PC          700 BROADWAY                                             NEW YORK CITY         NY   10003
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Name                 Address1                         Address2                     Address3   Address4                 City               State Zip
STEPHEN WILLIAMS     802 LINCOLNWOOD LN APT D                                                                          INDIANAPOLIS        IN 46260‐4651
STEPHEN WILLIAMS     7138 GALE RD                                                                                      GRAND BLANC         MI 48439‐7416
STEPHEN WILLIAMS     4811 MONTAUK AVE                                                                                  PARMA               OH 44134‐2123
STEPHEN WILLIAMS     PO BOX 43                                                                                         ASHER               OK 74826‐0043
STEPHEN WILLIAMSON   108 CHEEK RD                                                                                      OXFORD              PA 19363‐1047
STEPHEN WILLIAMSON   33947 HARROUN ST                                                                                  WAYNE               MI 48184‐2409
STEPHEN WILLIAMSON   3434 PULASKI HWY                                                                                  COLUMBIA            TN 38401‐8526
STEPHEN WILSON       703 KRYSTAL CREEK CT                                                                              FLUSHING            MI 48433‐2191
STEPHEN WILSON       27 MARGARET ST APT 2                                                                              DAYTON              OH 45410‐1738
STEPHEN WILSON       15 COBBLESTONE DR                                                                                 NEW CASTLE          DE 19720‐5659
STEPHEN WILSON       PO BOX 627                                                                                        FOWLERVILLE         MI 48836‐0627
STEPHEN WILSON       2257 WOODSTEAD STREET                                                                             BURTON              MI 48509‐1055
STEPHEN WILSON       10 LAKE DR                                                                                        LAMBERTVILLE        NJ 08530‐2706
STEPHEN WINDY        619 GILLETTE DR                                                                                   SAGINAW             MI 48609‐5037
STEPHEN WISE         15 PONTIAC ST                                                                                     OXFORD              MI 48371‐4856
STEPHEN WISEHART     6010 ARROWHEAD BLVD                                                                               KOKOMO              IN 46902‐5507
STEPHEN WISNIEWSKI   285 CRESTMOUNT AVE APT 117                                                                        TONAWANDA           NY 14150‐6330
STEPHEN WOEBER       140 COWPEN LANE                                                                                   SARASOTA            FL 34240
STEPHEN WOLFE        11021 EAGLE RD                                                                                    DAVISBURG           MI 48350‐1403
STEPHEN WOLFORD      1925 SHENANDOAH RD                                                                                TOLEDO              OH 43607‐1674
STEPHEN WOLKEN       887 SNOWMASS DR                                                                                   ROCHESTER HILLS     MI 48309‐1328
STEPHEN WOOD         RR 1 BOX 86                                                                                       WORTHINGTON         IN 47471‐9319
STEPHEN WOODS        4014 JACQUE STREET                                                                                FLINT               MI 48532‐3842
STEPHEN WOOLLEY      62 CORTEZ AVE                                                                                     RANCHO VIEJO        TX 78575‐9627
STEPHEN WORMAN       36425 BIRDIE CT                                                                                   GRAND ISLAND        FL 32735‐7822
STEPHEN WOUSTER      PO BOX 1032                                                                                       PERU                IN 46970‐4032
STEPHEN WRIGHT       2186 QUAIL RUN DR                                                                                 KALAMAZOO           MI 49009‐1837
STEPHEN WRIGHT       3429 SWITCH RD                                                           STEVENSVILLE ON L0S1S0
                                                                                              CANADA
STEPHEN WRYE         13900 CROSSOVER RD NE                                                                             FLINTSTONE         MD   21530‐3168
STEPHEN WYATT        1091 LONE STAR BLVD                                                                               TERRELL            TX   75160‐7352
STEPHEN WYATT        680 NORTHRIDGE RD                                                                                 COLUMBIA           TN   38401‐5565
STEPHEN WYATT        5193 E CARPENTER RD                                                                               FLINT              MI   48506‐4519
STEPHEN YAMBOR       916 SOUTHPORT DR                                                                                  MEDINA             OH   44256‐3018
STEPHEN YANDURA      12053 SCHULTZ ST                                                                                  ROMULUS            MI   48174‐1142
STEPHEN YEOMANS      11116 COBBLESTONE LN                                                                              GRAND LEDGE        MI   48837‐9125
STEPHEN YING         3801 LAKESIDE DR                                                                                  SHREVEPORT         LA   71119‐6521
STEPHEN YOBUCK       9619 SW YACHT DR                                                                                  ARCADIA            FL   34269‐7073
STEPHEN YORK         1005 N EAST ST                                                                                    LEBANON            IN   46052‐1844
STEPHEN YOUNG        646 AN COUNTY ROAD 2218                                                                           TENNESSEE COLONY   TX   75861‐2474
STEPHEN YOUNG        5980 HOLT RD                                                                                      HOLT               MI   48842‐8629
STEPHEN YUKLE        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS         OH   44236
STEPHEN ZABORSKY     877 CARLTON DR                                                                                    CAMPBELL           OH   44405‐2039
STEPHEN ZAHORANSKY   3095 YORK ST                                                                                      FARMDALE           OH   44417‐9726
STEPHEN ZAHORANSKY   BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS         OH   44236
STEPHEN ZAMARRON     11788 5 MILE RD NE                                                                                LOWELL             MI   49331‐9725
STEPHEN ZARBAUGH     1262 N PARK DR                                                                                    BROOKFIELD         OH   44403‐9515
STEPHEN ZEADKER      4341 STABLE PATH DR                                                                               MAUMEE             OH   43537‐9028
STEPHEN ZEMKA        2786 MANSFIELD LUCAS RD                                                                           LUCAS              OH   44843‐9760
STEPHEN ZEMKE        8174 ADLER RD                                                                                     LAMBERTVILLE       MI   48144‐9778
STEPHEN ZENUH        502 NORDEEN DR                                                                                    WEST MIFFLIN       PA   15122‐1158
STEPHEN ZIENTARSKI   C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS         OH   44236
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Name                     Address1                       Address2              Address3       Address4         City             State Zip
STEPHEN ZOMBAR           9330 CAIN DR NE                                                                      WARREN            OH 44484‐1711
STEPHEN ZURBRICK         759 MARC CT                                                                          OXFORD            MI 48371‐1455
STEPHEN ZYBER            9157 NICHOLS RD                                                                      GAINES            MI 48436‐9790
STEPHEN'S AUTO REPAIR    118 CAMBRIDGE ST                                                                     BURLINGTON        MA 01803‐4103
STEPHEN'S AUTOMOTIVE     2362 LANIER RD STE E                                                                 ROCKVILLE         VA 23146‐2243
STEPHEN, ALEXANDER G     253 DUCK DR                                                                          GATE CITY         VA 24251‐6013
STEPHEN, ALFRED G        107 CENTENNIAL BLVD                                                                  SULPHUR           OK 73086‐9460
STEPHEN, ALFRED G        44 FIVE LAKES                                                                        SULPHUR           OK 73086‐9735
STEPHEN, ANDREA M        2427 S VASSAR RD                                                                     DAVISON           MI 48423‐2338
STEPHEN, BERNEIL J       2497 KETZLER DR                                                                      FLINT             MI 48507‐1035
STEPHEN, BRADLEY J       2427 S VASSAR RD                                                                     DAVISON           MI 48423‐2338
STEPHEN, CHARLES L       9157 WATERMAN RD                                                                     ELK GROVE         CA 95624‐9436
STEPHEN, CINDY
STEPHEN, DALLAS J        10383 MAPLE RD                                                                       BIRCH RUN        MI   48415‐8469
STEPHEN, DARLENE L       PO BOX 996                                                                           JENKS            OK   74037‐0996
STEPHEN, DAVID J         9721 CENTER RD                                                                       FOSTORIA         MI   48435‐9718
STEPHEN, DONALD H        30601 MOUNTAINSIDE DR                                                                BUENA VISTA      CO   81211‐8726
STEPHEN, DOROTHY F.M.    30 ALEXANDRINA DR NARRUNG      S AUSTRALIA                                           .
STEPHEN, EDWARD F        1393 MECHANIC ST                                                                     ALDEN            NY   14004‐1342
STEPHEN, EILEEN J        1411 WILLOWBROOK COVE                                                                SAINT LOUIS      MO   63146
STEPHEN, GARY S          5146 E CARPENTER RD                                                                  FLINT            MI   48506‐4520
STEPHEN, GEORGE D        1068 FLYNN RD                                                                        ROCHESTER        NY   14612‐2904
STEPHEN, GEORGE I        32245 JOHN HAUK ST                                                                   GARDEN CITY      MI   48135‐1201
STEPHEN, GEORGIA I       14279 ELMS RD                                                                        MONTROSE         MI   48457‐9720
STEPHEN, JANET L         1834 TOWNER RD                                                                       SAINT HELEN      MI   48656‐9465
STEPHEN, JANET L         13318 DIXIE HWY                LOT 45                                                HOLLY            MI   48442‐9759
STEPHEN, JANET L         LOT 45                         13318 DIXIE HIGHWAY                                   HOLLY            MI   48442‐9759
STEPHEN, JEAN L          G5146 E. CARPENTER ROAD                                                              FLINT            MI   48506
STEPHEN, JEAN LOUISE     G5146 E. CARPENTER ROAD                                                              FLINT            MI   48506
STEPHEN, JOSEPH I        4135 CURTISVILLE RD                                                                  SOUTH BRANCH     MI   48761‐9705
STEPHEN, LILLIAN         6312 MILROY LANE                                                                     KNOXIVILLE       TN   37918‐6401
STEPHEN, MARIKO K        32245 JOHN HAUK ST                                                                   GARDEN CITY      MI   48135‐1201
STEPHEN, MARK D          3427 BRIDLEGATE DR                                                                   ARLINGTON        TX   76016‐3210
STEPHEN, MELVIN L        11646 SIR WINSTON WAY                                                                ORLANDO          FL   32824‐6008
STEPHEN, OREN G          7747 E WEST BRANCH RD                                                                SAINT HELEN      MI   48656‐8546
STEPHEN, PATRICIA        4018 PARDEE                                                                          DEARBORN         MI   48125‐2408
STEPHEN, PETER C         8640 FRONT ST                  BOX 97                                                LONG LAKE        MI   48743‐0097
STEPHEN, PETER C         PO BOX 97                      8640 FRONT ST                                         LONG LAKE        MI   48743‐0097
STEPHEN, RALPH P         22567 MANOR ST                                                                       ST CLAIR SHRS    MI   48081‐2359
STEPHEN, RICHARD D       4165 BRUNSWICK AVE                                                                   TROTWOOD         OH   45416‐1512
STEPHEN, RICHARD L       2229 BEACON DR                                                                       PORT CHARLOTTE   FL   33952‐5664
STEPHEN, ROBERT S        6612 MONTECITO CT                                                                    FORT WAYNE       IN   46835‐1707
STEPHEN, ROBERT SAMUEL   6612 MONTECITO CT                                                                    FORT WAYNE       IN   46835‐1707
STEPHEN, RODNEY A        644 CLOUD CREEK RD                                                                   ROGERSVILLE      TN   37857‐3831
STEPHEN, RODNEY J        7100 HASKELL LAKE RD                                                                 MARION           MI   49665‐9553
STEPHEN, SIMON           1919 CRESCENT OAK DR                                                                 MISSOURI CITY    TX   77459
STEPHEN, STEPHENY J      7100 HASKELL LAKE RD                                                                 MARION           MI   49665‐9553
STEPHEN, THEODORE J      3421 DOROTHY LN                                                                      WILLIAMSTON      MI   48895‐9110
STEPHEN, TRAVERS H       PO BOX 107                                                                           PINTO            MD   21556
STEPHEN, VIRGINIA        140 GROVE LN S                                                                       HENDERSONVILLE   TN   37075‐7001
STEPHEN, WILLIAM         31537 BENNETT ST                                                                     LIVONIA          MI   48152‐3325
STEPHEN, WILLIAM         425 E SINAI RD                                                                       LOUISVILLE       MS   39339‐8352
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Name                                   Address1                            Address2                         Address3   Address4               City           State Zip
STEPHEN, WILLIAM C                     4540 NEWGARDEN RD                                                                                      SALEM           OH 44460‐9519
STEPHEN, WILLIAM G                     2789 ENGLISH RD                                                                                        ROCHESTER       NY 14616‐1639
STEPHEN, WILLODEAN                     64 N. SUMMITT RIDGE DR.                                                                                WILLIFORD       AR 72482‐7002
STEPHEN, WILLODEAN                     64 N SUMMIT RIDGE DR                                                                                   WILLIFORD       AR 72482‐7002
STEPHEN.J LEONOWICZ                    2270 CAMBRIDGE ST                                                                                      TRENTON         MI 48183‐2633
STEPHENEE MOORE                        19226 DELAWARE AVE                                                                                     REDFORD         MI 48240‐2625
STEPHENINE MCMILLON                    5165 MACKINAW RD                                                                                       SAGINAW         MI 48603‐1256
STEPHENNA MALLETTE                     3359 PERRYVILLE RD                                                                                     ORTONVILLE      MI 48462‐8422
STEPHENS & STEPHENS                    410 MAIN ST                                                                                            BUFFALO         NY 14202
STEPHENS & STEPHENS LLP                RAICHLE BANNING ‐ R W STEPHENS      410 MAIN STREET                                                    BUFFALO         NY 14202
STEPHENS ALFRED (ESTATE OF) (489256)   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD      OH 44067
                                                                           PROFESSIONAL BLDG
STEPHENS ALFRED B (626787)             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK        VA 23510
                                                                           STREET, SUITE 600
STEPHENS ALICE                         180 E 79TH ST                                                                                          NEW YORK       NY   10075
STEPHENS AUTOMOTIVE                    673 W COLFAX ST                                                                                        PALATINE       IL   60067‐2340
STEPHENS CHARLES                       2205 NORTHFIELD DR                                                                                     JASPER         AL   35504‐9020
STEPHENS CHARLES                       PO BOX 9743                                                                                            AUGUSTA        GA   30916‐9743
STEPHENS CHARLES                       FRYE, THOMAS                        4712 W. MEDITERRANEAN DR.                                          GLENDALE       AZ   85301
STEPHENS CHARLES                       STEPHENS, CHARLES                   4712 W MEDITERRANEAN DR                                            GLENDALE       AZ   85301
STEPHENS CHARLES E (406930)            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK        VA   23510
                                                                           STREET, SUITE 600
STEPHENS CHRISTOPHER MATTHEW           STEPHENS, CHRISTOPHER MATTHEW       5015 SOUTHPARK DR STE 250                                          DURHAM         NC   27713‐7736
STEPHENS CLEO                          PO BOX 51221                                                                                           FORT WORTH     TX   76105‐8221
STEPHENS COLLEGE                       PO BOX 2006                                                                                            COLUMBIA       MO   65215‐0001
STEPHENS COUNTY TAX OFFICE             200 WEST WALKER                                                                                        BRECKENRIDGE   TX   76424
STEPHENS COUNTY TREASURER              101 S 11TH ST RM 207                                                                                   DUNCAN         OK   73533‐4758
STEPHENS COURTNEY                      STEPHENS, COURTNEY                  640 S SAN VICENTE BLVD STE 230                                     LOS ANGELES    CA   90048‐4654
STEPHENS CROMER, JULIE A               29720 WILDBROOK DR                                                                                     SOUTHFIELD     MI   48034‐7615
STEPHENS DOUGLAS                       1116 DEATS RD                                                                                          DICKINSON      TX   77539‐4426
STEPHENS ERNEST                        13699 KENDRICK RD                                                                                      WATERPORT      NY   14571‐9706
STEPHENS GRACE                         625 S 20TH ST                                                                                          QUINCY         IL   62301‐5125
STEPHENS HOLMAN WAREHAM DEVRAJ         ATTN: RODNEY A.F. WAREHAM           412 ‐16TH AVENUE NE                         CALGARY, ALBERTA T2E
                                                                                                                       1K2
STEPHENS I I I, JIMMIE                 3231 DEER RIDGE RD                                                                                     CANTONMENT     FL   32533‐3841
STEPHENS INC C/F                       SONJA THOMPSON IRA                  2014 INDIAN TRAILS                                                 JONESBORO      AR   72401
STEPHENS INC C/F                       VICKIE SNOW IRA                     1534 COUNTY RD 945                                                 JONESBORO      AR   72401
STEPHENS INC C/F                       VERNON DRAKE IRA                    1608 MONTEZ                                                        JONESBORO      AR   72401
STEPHENS INC C/F                       FRANCES BOWER IRA                   2604 MINX LANE                                                     JONESBORO      AR   72404
STEPHENS INC C/F                       JANE HULETT IRA                     1004 SW MAPLE                                                      HOXIE          AR   72433
STEPHENS INC C/F                       GLORIA STACHURSKI IRA               PO BOX 205                                                         KEO            AR   72083
STEPHENS INC C/F                       BARBARA SUBER SEP IRA               PO BOX 228                                                         MONETTE        AR   72447
STEPHENS INC C/F                       CAROL SCHOLES IRA                   605 OAK HOLLOW                                                     JONESBORO      AR   72401
STEPHENS INC C/F                       LARRY HUETER IRA                    PO BOX 229                                                         LEACHVILLE     AR   72438
STEPHENS INC C/F                       JAMES PACE IRA                      609 SE 2ND                                                         HOXIE          AR   72433
STEPHENS INC CUSTODIAN FOR             LINDA CLARK                         402 WEST ROBINSON                                                  BAY            AR   72411
STEPHENS JAMES D (309882)              LEWIS BABCOCK PLEICONES & HAWKINS   PO BOX 11208                                                       COLUMBIA       SC   29211‐1208

STEPHENS JR, ALBERT H                  241 PHOENIX ST                                                                                         COMMERCE TWP   MI   48382‐3171
STEPHENS JR, ANDREW                    1150 W 88TH ST                                                                                         CHICAGO        IL   60620‐3436
STEPHENS JR, ASHEN                     440 DAKOTA AVE                                                                                         MC DONALD      OH   44437‐1513
STEPHENS JR, DANNY L                   3233 FALLASBURG PARK DR NE          DRIVE                                                              LOWELL         MI   49331‐9717
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Name                           Address1                           Address2                      Address3                     Address4         City             State Zip
STEPHENS JR, ELMER             228 KENTUCKY DR                                                                                                CLAYTON           NC 27527
STEPHENS JR, FORREST J         11560 BLUEBIRD DR                                                                                              LAKEVIEW          MI 48850‐9455
STEPHENS JR, HENRY G           PO BOX 395                                                                                                     SIMPSONVILLE      SC 29681‐0395
STEPHENS JR, HENRY L           912 GARFIELD PL                                                                                                DANVILLE           IL 61832‐3333
STEPHENS JR, HERMAN L          4718 EAST HARD SCRABBLE ROAD                                                                                   MADISON           IN 47250‐7515
STEPHENS JR, HOKE W            2805 DOUBLE SPRINGS CHURCH RD SW                                                                               MONROE            GA 30656‐4044
STEPHENS JR, J. L              1701 COUNTY ROAD 1560                                                                                          ALBA              TX 75410‐3827
STEPHENS JR, JAMES A           25 N PATTERSON PARK AVE                                                                                        BALTIMORE         MD 21231‐1657
STEPHENS JR, MERVIN L          107 S RIDGEVIEW RD                                                                                             OLATHE            KS 66061‐3753
STEPHENS JR, ROBERT L          3 BRANDYWINE DR                                                                                                CINCINNATI        OH 45246‐3809
STEPHENS JR, WADE E            1035 N SHADY LANE LOOP                                                                                         CLARKRANGE        TN 38553‐5417
STEPHENS JR, WILLIS A          141 W PRINCETON AVE                                                                                            PONTIAC           MI 48340‐1841
STEPHENS JR., CEOPHUS          21716 NORMANDY AVENUE                                                                                          EASTPOINTE        MI 48021‐2510
STEPHENS JR., HAROLD K         N 22 W 24208A PKWY MEADOW                                                                                      PEWAUKEE          WI 53072
STEPHENS KENNETH               278 N BELLVIEW RD                                                                                              ARAGON            GA 30104‐2304
STEPHENS LAWRENCE              25653 N US HIGHWAY 119                                                                                         CHAD              KY 40823‐8113
STEPHENS LAWRENCE J            STEPHENS, LAWRENCE J               MIKHOV LAW OFFICES OF STEVE   640 S SAN VICENTE BLVD STE                    LOS ANGELES       CA 90048‐4654
                                                                                                230
STEPHENS LAWRENCE J            STEPHENS, THERESA                  MIKHOV LAW OFFICES OF STEVE   640 S SAN VICENTE BLVD STE                    LOS ANGELES      CA 90048‐4654
                                                                                                230
STEPHENS LAWRENCE J            STEPHENS, LAWRENCE J               640 S SAN VICENTE BLVD        STE 230                                       LOS ANGELES      CA   90048‐4654
STEPHENS LAWRENCE J            STEPHENS, THERESA                  640 S SAN VICENTE BLVD        STE 230                                       LOS ANGELES      CA   90048‐4654
STEPHENS LISA                  STEPHENS, LISA                     218 N SPRING ST                                                             TUPELO           MS   38804‐3924
STEPHENS LYON                  STEPHENS, LYON                     24750 LAHSER RD                                                             SOUTHFIELD       MI   48033‐6044
STEPHENS MEDIA GROUP           SHERMAN FREDERICK                  P.O. BOX 70                                                                 LAS VEGAS        NV   89125‐0070
STEPHENS MEDIA GROUP           PO BOX 70                                                                                                      LAS VEGAS        NV   89125‐0070
STEPHENS MEDIA GROUP           SHERMAN FREDERICK                  PO BOX 70                                                                   LAS VEGAS        NV   89125‐0070
STEPHENS NATASON               3037 W JEROME AVE                                                                                              VISALIA          CA   93291‐6576
STEPHENS RONALD L (352996)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK          VA   23510
                                                                  STREET, SUITE 600
STEPHENS SHANE                 1205 RIVERBEND DRIVE                                                                                           GREENWOOD        MS   38930‐3300
STEPHENS SR, EZRA R            23300 HALL RD                                                                                                  WOODHAVEN        MI   48183‐3241
STEPHENS SR., CURTIS           4401 DICKERSON ST                                                                                              DETROIT          MI   48215‐3342
STEPHENS THOMAS                3119 8TH AVE E                                                                                                 PALMETTO         FL   34221‐2459
STEPHENS TONY                  228 HONEYSUCKLE DR                                                                                             PAGOSA SPRINGS   CO   81147
STEPHENS TONY                  PO BOX 1081                                                                                                    APOPKA           FL   32704
STEPHENS VERNICE               6409 BAYTREE DR                                                                                                FORT WAYNE       IN   46825‐4712
STEPHENS WILLIAM B (626788)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK          VA   23510
                                                                  STREET, SUITE 600
STEPHENS WILSON S (429875)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK          VA 23510
                                                                  STREET, SUITE 600
STEPHENS WORLD OF WHEELS INC
STEPHENS, AARON                919 WASHINGTON ST                                                                                              FLATWOODS        KY 41139‐1661
STEPHENS, AIDA                 3010 W ESPARTERO WAY                                                                                           PHOENIX          AZ 85086‐4205
STEPHENS, ALFRED B             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK          VA 23510‐2212
                                                                  STREET, SUITE 600
STEPHENS, ALFRED L             5227 DEL PRADO BLVD S                                                                                          CAPE CORAL       FL   33904‐9718
STEPHENS, ALICE R              7600 WIRE GRASS RD                                                                                             ORRUM            NC   28369‐9427
STEPHENS, ALLAN C              1421 S MCGEE RD                                                                                                LAKE CITY        MI   49651‐7929
STEPHENS, ALLEN L              PO BOX 197                                                                                                     MAPLE RAPIDS     MI   48853‐0197
STEPHENS, ALONZIA              1062 ARLINGTON ST                                                                                              INKSTER          MI   48141‐1846
STEPHENS, ALONZO M             114 ROWE AVENUE                                                                                                PANAMA CITY      FL   32401‐4057
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Name                            Address1                       Address2                 Address3   Address4         City              State Zip
STEPHENS, ALVIE                 1755 TEA ROSE DR                                                                    FAIRBORN           OH 45324‐9628
STEPHENS, ALVIE                 1755 TEAROSE CIRCLE                                                                 FAIRBORN           OH 45324‐9628
STEPHENS, ANDREW J              6763 HERITAGE PARK BOULEVARD                                                        DAYTON             OH 45424‐1834
STEPHENS, ANGILA J              27 ELM STREET                                                                       JAMESTOWN          OH 45335‐1567
STEPHENS, ANN                   16300 SILVER PARKWAY           APT 329                                              FENTON             MI 48430
STEPHENS, ANN                   16300 SILVER PKWY APT 329                                                           FENTON             MI 48430‐4422
STEPHENS, ANN F                 860 RIVER CLIFF DR                                                                  KODAK              TN 37764‐2386
STEPHENS, ANN M                 PO BOX 362                                                                          DE TOUR VILLAGE    MI 49725‐0362
STEPHENS, ANN M                 P.O.BOX 362 HURON ST                                                                DE TOUR VILLAGE    MI 49725‐0362
STEPHENS, ANNA I                2613 E 27TH ST                                                                      MUNCIE             IN 47302‐5554
STEPHENS, ANNIE M               2853 EAST 91 STREET                                                                 CLEVELAND          OH 44104‐3305
STEPHENS, ANNIE M               2853 E 91ST ST                                                                      CLEVELAND          OH 44104‐3305
STEPHENS, ANTHONY A             212 S ELMS RD                                                                       FLUSHING           MI 48433‐1834
STEPHENS, ARTHUR A              4500 PROSPECT ST                                                                    W BLOOMFIELD       MI 48324‐1274
STEPHENS, ARTHUR C              607 BLOOMFIELD AVE                                                                  PONTIAC            MI 48341‐2715
STEPHENS, ARTHUR C              10539 CAMROSE CIR                                                                   TRAVERSE CITY      MI 49684‐6224
STEPHENS, AUDREY J              313 N LENFESTY AVE                                                                  MARION             IN 46952‐6202
STEPHENS, BARBARA               2044 30TH AVE NORTH                                                                 ST PETERSBURG      FL 33713‐4163
STEPHENS, BARBARA ANN           22045 POINCIANA ST                                                                  SOUTHFIELD         MI 48033‐3500
STEPHENS, BARBARA JEAN          4430 SHORHAM CT                                                                     DAYTON             OH 45426
STEPHENS, BARBARA M             709 W SHADBURN AVE                                                                  BUFORD             GA 30518‐2613
STEPHENS, BARBARA M             709 SHADBURN AVE                                                                    BUFORD             GA 30518‐2613
STEPHENS, BARBARA N             5338 N PARK AVE                                                                     BRISTOLVILLE       OH 44402‐8713
STEPHENS, BENJAUN D             8821 N CONGRESS AVE            APT 1137                                             KANSAS CITY        MO 64153‐1916
STEPHENS, BENJAUN DAVID DJUAN   8821 N CONGRESS AVE APT 1137                                                        KANSAS CITY        MO 64153‐1916
STEPHENS, BENNARD               PO BOX 4698                                                                         COMPTON            CA 90224‐4698
STEPHENS, BENNIE L              3102 CHEROKEE ST                                                                    FLINT              MI 48507‐1910
STEPHENS, BENNIE L              3102 CHEROKEE AVE                                                                   FLINT              MI 48507‐1910
STEPHENS, BENNY H               PO BOX 28547                                                                        DETROIT            MI 48228‐0547
STEPHENS, BERNARD               125 15TH AVE W                                                                      BIRMINGHAM         AL 35204‐2014
STEPHENS, BERNICE               10338 GREENSBORO                                                                    DETROIT            MI 48224‐2577
STEPHENS, BERNICE W             PO BOX 309                     C/O MRS CAROLYN LENNEN                               DALEVILLE          IN 47334‐0309
STEPHENS, BETTY                 6656 WEST 152ND STREET                                                              OVERLAND PARK      KS 66223‐3100
STEPHENS, BETTY G.              56 WALN ST                                                                          WELLSBORO          PA 16901‐1936
STEPHENS, BETTY J               83 WOODLAKE DR                                                                      CHOCTAW            OK 73020‐7305
STEPHENS, BETTY JOYCE           83 WOODLAKE DR                                                                      CHOCTAW            OK 73020‐7305
STEPHENS, BETTY LEE             2083 NEWMARK DR                                                                     DELTONA            FL 32738‐6117
STEPHENS, BETTY M               6656 W 152ND ST                                                                     OVERLAND PARK      KS 66223‐3100
STEPHENS, BILL R                1616 VERONA PITSBURG RD                                                             ARCANUM            OH 45304‐9616
STEPHENS, BILLIE F              2920 JASPER RD                                                                      XENIA              OH 45385‐8424
STEPHENS, BILLIE F              2920 JASPER PIKE                                                                    XENIA              OH 45385‐8424
STEPHENS, BILLY E               1340 TWIN RIVERS RD                                                                 GREENSBORO         GA 30642‐2614
STEPHENS, BILLY G               1308 NEW HAVEN ST                                                                   ARLINGTON          TX 76011‐5003
STEPHENS, BOBBIE H              310 FIRST ST                                                                        BOWDON             GA 30108‐1332
STEPHENS, BOBBY J               1200 W 18TH ST                                                                      MUNCIE             IN 47302‐3959
STEPHENS, BONNIE                66 PRINCE WILLIAM CT                                                                SAINT CHARLES      MO 63304‐6974
STEPHENS, BRAYTON W             4121 JONQUIL DR                                                                     SAGINAW            MI 48603‐1128
STEPHENS, BRENDA                2941 VERONA CANEY RD                                                                LEWISBURG          TN 37091‐6556
STEPHENS, BRENDA L              1536 EMMONS AVE                                                                     DAYTON             OH 45410
STEPHENS, BRIAN K               29324 SPENCER DRIVE                                                                 CANYON CNTRY       CA 91387‐1415
STEPHENS, BRIAN N               22 JUNIATA PL                                                                       BUFFALO            NY 14210‐1804
STEPHENS, BRUCE E
                              09-50026-mg           Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                          Address1                         Address2                      Address3   Address4         City           State Zip
STEPHENS, BRYAN K             1426 OLDE BRIAR LANE                                                                       CARMEL          IN 46032‐7336
STEPHENS, BURL E              1306 N 22ND ST                                                                             PARAGOULD       AR 72450‐2272
STEPHENS, CANDICE M           12750 DEJAROL RD                                                                           SOUTH LYON      MI 48178‐8133
STEPHENS, CARL D              240 FAIRBROOK ST                                                                           NORTHVILLE      MI 48167‐1504
STEPHENS, CARL DENTON         240 FAIRBROOK ST                                                                           NORTHVILLE      MI 48167‐1504
STEPHENS, CAROL L             6095 PONTIAC TRAIL                                                                         SOUTH LYON      MI 48178‐9647
STEPHENS, CAROLE J            670 E 900 S                                                                                CLAYTON         IN 46118
STEPHENS, CAROLE L            7212 PINEVIEW DR                                                                           ENGLEWOOD       OH 45322‐2600
STEPHENS, CAROLE S            304 HAMPTON RD                                                                             DURAND          MI 48429‐1410
STEPHENS, CAROLE S            304 N HAMPTON DR                                                                           DURAND          MI 48429‐1410
STEPHENS, CECIL G             PO BOX 178                                                                                 CEDAR           MI 49621‐0178
STEPHENS, CHARLES             4712 W MEDITERRANEAN DR                                                                    GLENDALE        AZ 85301‐2720
STEPHENS, CHARLES A           48 MARIE                                                                                   DAYTON          OH 45405‐3210
STEPHENS, CHARLES A           48 MARIE AVE                                                                               DAYTON          OH 45405‐3210
STEPHENS, CHARLES E           4755 STEPHENS RD                                                                           GAINESVILLE     GA 30504‐8250
STEPHENS, CHARLES E           3834 JOHN DALY ST                                                                          INKSTER         MI 48141‐3150
STEPHENS, CHARLES E           7945 SCARFF RD                                                                             NEW CARLISLE    OH 45344‐7682
STEPHENS, CHARLES E           10608 TAVISTOCK DR                                                                         TAMPA           FL 33626‐1716
STEPHENS, CHARLES E           705 AIRPORT RD.                                                                            WARREN          OH 44481‐9409
STEPHENS, CHARLES E           705 AIRPORT RD NW                                                                          WARREN          OH 44481‐9409
STEPHENS, CHARLES E           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                               STREET, SUITE 600
STEPHENS, CHARLES F           1341 WINTON AVE                                                                            AKRON          OH   44320‐4050
STEPHENS, CHARLES G           5338 N PARK AVE                                                                            BRISTOLVILLE   OH   44402‐8713
STEPHENS, CHARLES L           3702 W PETTY RD                                                                            MUNCIE         IN   47304‐3278
STEPHENS, CHARLES N           713 TIMBERHILL DR                                                                          HURST          TX   76053‐4325
STEPHENS, CHARLES R           2493 BONNIEBROOK DR                                                                        MARYLAND HTS   MO   63043‐1109
STEPHENS, CHARLES R           708 S CORY LN LOT 6                                                                        BLOOMINGTON    IN   47403‐2006
STEPHENS, CHARLES W           2750 168TH AVE NE                                                                          NORMAN         OK   73026‐9077
STEPHENS, CHARLIE R           10249 S COUNTY ROAD 10 E                                                                   CLOVERDALE     IN   46120‐9106
STEPHENS, CHESTER E           2100 N SPRUCE DR                                                                           WASILLA        AK   99654‐4226
STEPHENS, CHRISTOPHE          378 BRIDGESTONE LN                                                                         DOUGLASVILLE   GA   30134
STEPHENS, CICERO              300 PINE VALLEY DR                                                                         FELTON         PA   17322‐9217
STEPHENS, CLARENCE G          360 GEORGETOWN CIR                                                                         ELKTON         KY   42220‐9331
STEPHENS, CLARENCE L          PO BOX 380340                                                                              DUNCANVILLE    TX   75138‐0340
STEPHENS, CLAUDE O            PO BOX 750                                                                                 JAMESTOWN      TN   38556‐0750
STEPHENS, CLEO D              1060 HILLTOP COMMONS BOULEVARD                                                             WHITELAND      IN   46184‐9224
STEPHENS, CLIFFORD D          4509 E DEERTRAILS                                                                          FALMOUTH       MI   49632‐9617
STEPHENS, CRAIG L             12244 FOREST HILL RD                                                                       DEWITT         MI   48820‐7830
STEPHENS, CRYSTAL M           PO BOX 154                                                                                 KARNACK        TX   75661‐0154
STEPHENS, CURTIS              2904 E 200 S                                                                               ANDERSON       IN   46017‐2026
STEPHENS, DANA L              9501 COUNTY RD #519                                                                        ALVARADO       TX   76009
STEPHENS, DARLENE E           14729 STATE HIGHWAY 2                                                                      GRAYSON        KY   41143‐7306
STEPHENS, DARLENE ELIZABETH   14729 STATE HIGHWAY 2                                                                      GRAYSON        KY   41143‐7306
STEPHENS, DARRELL E           42980 WHITNEY RD                                                                           LAGRANGE       OH   44050‐9460
STEPHENS, DARRELL R           866 WESTGATE DR                                                                            ANDERSON       IN   46012‐9245
STEPHENS, DARRYL K            25245 WAYCROSS                                                                             SOUTHFIELD     MI   48033‐6143
STEPHENS, DARRYL KEITH        25245 WAYCROSS                                                                             SOUTHFIELD     MI   48033‐6143
STEPHENS, DAVID B             304 SASSAFRAS CIR                                                                          NOBLESVILLE    IN   46062‐9164
STEPHENS, DAVID F             5109 ROSSWAY DR                                                                            FLINT          MI   48506‐1511
STEPHENS, DAVID J             917 TILLMAN RD                                                                             MOULTRIE       GA   31788‐1169
STEPHENS, DAVID L             3019 CHAPEL RD                                                                             ANDERSON       IN   46012‐9412
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Name                       Address1                        Address2               Address3      Address4         City              State Zip
STEPHENS, DAVID L          18661 ALBANY ST                                                                       DETROIT            MI 48234‐2535
STEPHENS, DAVID L          1997 LOGUE RD                                                                         MOUNT JULIET       TN 37122‐3825
STEPHENS, DAVID R          6363 LAKESHORE DR                                                                     LAKEVIEW           MI 48850‐9702
STEPHENS, DE WAYNE R       6185 MILLER RD                                                                        ALGER              MI 48610‐8531
STEPHENS, DEBORAH E        6363 LAKESHORE DR                                                                     LAKEVIEW           MI 48850‐9702
STEPHENS, DEBORAH G        701 ASPEN PEAK LOOP APT 713                                                           HENDERSON          NV 89011‐1843
STEPHENS, DEBORAH L        449 S MERIDIAN RD                                                                     HUDSON             MI 49247‐9709
STEPHENS, DEBORAH LOUISE   449 S MERIDIAN RD                                                                     HUDSON             MI 49247‐9709
STEPHENS, DEBORAH S        314 SPRING MILL RD                                                                    ANDERSON           IN 46013‐3742
STEPHENS, DEBRA B          4641 BETHUME DR                                                                       SHREVEPORT         LA 71109‐6633
STEPHENS, DEBRA BRYANT     4641 BETHUME DR                                                                       SHREVEPORT         LA 71109‐6633
STEPHENS, DEBRA K          228 KENTUCKY DR                                                                       CLAYTON            NC 27527
STEPHENS, DENNIS
STEPHENS, DENNIS A         PO BOX 593                                                                            WEST BRANCH       MI   48661‐0593
STEPHENS, DENNIS L         260 SANTA MONICA DR                                                                   OXNARD            CA   93035‐4470
STEPHENS, DEWEY B          HC 78 BOX 20                                                                          CROOKSTON         NE   69212‐9507
STEPHENS, DIANA K          3417 RUFUS ST                                                                         FORT WORTH        TX   76119‐1931
STEPHENS, DIANA KAY        3417 RUFUS ST                                                                         FORT WORTH        TX   76119
STEPHENS, DIANE            708 S CORY LN TRLR 6                                                                  BLOOMINGTON       IN   47403‐2006
STEPHENS, DIANE M          22941 GARY LN                                                                         ST CLAIR SHRS     MI   48080‐2713
STEPHENS, DON S            APT B1                          5555 WEST 6TH STREET                                  LAWRENCE          KS   66049‐8106
STEPHENS, DONALD           20200 GREYDALE AVE                                                                    DETROIT           MI   48219‐1229
STEPHENS, DONALD E         4134 W 94TH TER APT 112                                                               PRAIRIE VILLAGE   KS   66207‐2772
STEPHENS, DONALD J         12750 DEJAROL RD                                                                      SOUTH LYON        MI   48178‐8133
STEPHENS, DONALD JOHN      12750 DEJAROL RD                                                                      SOUTH LYON        MI   48178‐8133
STEPHENS, DONNA            1846 LAKESIDE LN                                                                      INDIANAPOLIS      IN   46229‐9750
STEPHENS, DONNA L          4651 INDIANWOOD RD                                                                    CLARKSTON         MI   48348‐2238
STEPHENS, DONNA M          502 ERIE ST                                                                           HOUGHTON LAKE     MI   48629‐8830
STEPHENS, DORIS            122 MONEE RD                                                                          PARK FOREST       IL   60466‐2508
STEPHENS, DORIS A          5230 CARTHAGE AVE                                                                     NORWOOD           OH   45212‐1508
STEPHENS, DOROTHY          16565 PREVOST ST                                                                      DETROIT           MI   48235‐3615
STEPHENS, DOROTHY A        PO BOX 1633                                                                           SCAPPOOSE         OR   97056‐1633
STEPHENS, DOROTHY L        102 N ANTLER DR                                                                       NIXA              MO   65714‐7205
STEPHENS, DUANE            233 BRIDGEWATER DR                                                                    NEWPORT NEWS      VA   23603‐1433
STEPHENS, EARL L           2520 MADISON AVE                                                                      INDIANAPOLIS      IN   46225‐2109
STEPHENS, EARL W           5138 WOODHAVEN DR                                                                     FLINT             MI   48504‐1282
STEPHENS, EARNIE L         3029 E DOROTHY LN                                                                     KETTERING         OH   45420‐3817
STEPHENS, EARNIE L         RR 1 BOX 282                                                                          FLEMINGSBURG      KY   41041‐1041
STEPHENS, EDDIE D          3365 COLGATE PL                                                                       GRANITE CITY      IL   62040‐3630
STEPHENS, EDDYE C          3402 BRENTWOOD DR                                                                     FLINT             MI   48503‐2380
STEPHENS, EDITH V          4258 ASPEN WAY                                                                        INDIANAPOLIS      IN   46226‐5362
STEPHENS, EDMOND A         1316 PAULSON WAY                                                                      ANTIOCH           TN   37013‐5127
STEPHENS, EDMOND J         1420 SQUAW CREEK RD                                                                   FOSTORIA          MI   48435‐9640
STEPHENS, EDWARD           8925 JOHNNYCAKE RIDGE RD                                                              MENTOR            OH   44060‐6908
STEPHENS, EDWARD C         1576 ELM RD NE                                                                        WARREN            OH   44483‐4021
STEPHENS, EDWARD L         1307 E DODGE RD                                                                       MOUNT MORRIS      MI   48458‐9137
STEPHENS, EDWARD L         917 N OAKLAND ST                                                                      SAINT JOHNS       MI   48879‐1063
STEPHENS, EDWARD M         706 S LINCOLN AVE                                                                     ALMA              MI   48801‐2357
STEPHENS, EDWARD O         4029 CALAVERA DR                                                                      FLORISSANT        MO   63033‐6632
STEPHENS, ELAINE S         22 JUNIATA PL                                                                         BUFFALO           NY   14210‐1804
STEPHENS, ELBERT G         804 COUNTRY CLUB LN                                                                   ANDERSON          IN   46011‐3410
STEPHENS, ELIZABETH O      831 W ALMA AVE                                                                        FLINT             MI   48505‐1971
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Name                     Address1                         Address2            Address3         Address4         City            State Zip
STEPHENS, ELOISE         434 PINKNEY DR                                                                         GRAND CANE       LA 71032‐5914
STEPHENS, ELOISE         434 PINKNEY ROAD                                                                       GRAND CANE       LA 71032‐5914
STEPHENS, ELZA A         1038 GREENWOOD DR                                                                      JAMESTOWN        TN 38556‐6137
STEPHENS, EMILY K        709 PAMELA ST                                                                          GADSDEN          AL 35904‐3171
STEPHENS, EMMA L         14195 PLUM ISLAND DR                                                                   FORT MYERS       FL 33919‐7707
STEPHENS, ERIC O         9519 W 300 S                                                                           DUNKIRK          IN 47336‐9007
STEPHENS, ERNEST D       28230 HANOVER BLVD                                                                     WESTLAND         MI 48186‐5108
STEPHENS, EUGENE         SCHULTE J BRYAN                  PO BOX 517                                            BURLINGTON        IA 52601‐0517
STEPHENS, EUGENE H       BOONE ALEXANDRA                  205 LINDA DR                                          DAINGERFIELD     TX 75638‐2107
STEPHENS, EVELYN B       9415 BLIND PASS RD APT 801                                                             ST PETE BEACH    FL 33706‐1340
STEPHENS, FAWN D         PO BOX 864                                                                             OWOSSO           MI 48867‐0864
STEPHENS, FLORENCE G     717 BOGAR DR                                                                           SELINSGROVE      PA 17870‐9362
STEPHENS, FLOYD H        11289 IRISH RD                                                                         OTISVILLE        MI 48463‐9451
STEPHENS, FLOYD R        3049 VINELAND AVE                                                                      BURTON           MI 48519‐1666
STEPHENS, FRANCES L      1317 CHANDLER ST                                                                       GADSDEN          AL 35903‐3018
STEPHENS, GARY D         8680 MORGANTOWN RD                                                                     BOWLING GREEN    KY 42101‐4209
STEPHENS, GARY L         6291 SHARP RD                                                                          SWARTZ CREEK     MI 48473‐9469
STEPHENS, GARY L         11964 BURTLEY DR                                                                       STERLING HTS     MI 48313‐1714
STEPHENS, GARY LEE       6291 SHARP RD                                                                          SWARTZ CREEK     MI 48473‐9469
STEPHENS, GARY W         10146 BELSAY RD                                                                        MILLINGTON       MI 48746‐9753
STEPHENS, GARY W         12395 SHERIDAN RD                                                                      MONTROSE         MI 48457‐9302
STEPHENS, GENEVA         3295 YELLOW DOG RD                                                                     LONEDELL         MO 63060‐1723
STEPHENS, GENIE J        3413 GREYSTONE DR                                                                      LOGANVILLE       GA 30052‐4525
STEPHENS, GEORGE C       4771 BABYLON ST                                                                        DAYTON           OH 45439‐2903
STEPHENS, GEORGE C       2798 RANDOLPH ST NW                                                                    WARREN           OH 44485‐2519
STEPHENS, GEORGE E       1080 TAYLORWOOD CIR                                                                    TUSCALOOSA       AL 35405‐5939
STEPHENS, GEORGE S       4958 COUNTRY DR                                                                        OKEMOS           MI 48864‐1308
STEPHENS, GEORGE T       3800 MAY CENTER R.                                                                     LAKE ORION       MI 48360
STEPHENS, GERALD         4454 FAIRWAY DR                                                                        FORT GRATIOT     MI 48059‐3912
STEPHENS, GERALD G       2892 VAN WORMER RD                                                                     SAGINAW          MI 48609‐9789
STEPHENS, GERALD W       305 DECATUR CT                                                                         SHREVEPORT       LA 71106‐8520
STEPHENS, GERALD WAYNE   305 DECATUR CT                                                                         SHREVEPORT       LA 71106‐8520
STEPHENS, GERALDINE G    1465 HILLCREST DR APT. 40                                                              NILES            OH 44446‐3758
STEPHENS, GLADYS B       PO BOX 141                                                                             PORT WILLIAM     OH 45164‐0141
STEPHENS, GLEN           1301 DUCK CREEK LN                                                                     ORTONVILLE       MI 48462‐9049
STEPHENS, GLOUCESTER     109 HENRY CLAY AVE                                                                     PONTIAC          MI 48341‐1724
STEPHENS, GREGG T.       2662 CLIFTON SPRINGS RD                                                                DECATUR          GA 30034‐3747
STEPHENS, GREGORY A      PO BOX 45                                                                              OTSEGO           MI 49078‐0045
STEPHENS, GREGORY A      638 MONTICELLO AVE                                                                     DAYTON           OH 45404‐2424
STEPHENS, GREGORY L      2662 CLIFTON SPRINGS RD A                                                              DECATUR          GA 30034‐3747
STEPHENS, GREGORY L      3554 FAIRLANE DR NW                                                                    ATLANTA          GA 30331‐1516
STEPHENS, GROVER C       1225 E GRACELAWN AVE                                                                   FLINT            MI 48505‐3001
STEPHENS, GROVER L       5262 BROMWICK DR                                                                       TROTWOOD         OH 45426‐1910
STEPHENS, HAROLD A       319 CANTON ST                                                                          ALPHARETTA       GA 30009‐2338
STEPHENS, HAROLD G       3977 WILDWOOD RD                                                                       ALGER            MI 48610‐9530
STEPHENS, HARVEY         19717 SAGAMORE RD                                                                      WALTON HILLS     OH 44146‐5214
STEPHENS, HARVEY D       2931 LAKEHURST AVE                                                                     SHREVEPORT       LA 71108‐3732
STEPHENS, HARVEY DAVID   2931 LAKEHURST AVE                                                                     SHREVEPORT       LA 71108‐3732
STEPHENS, HELEN M        840 REDELMAN CT                                                                        NEWCASTLE        IN 47362
STEPHENS, HENRY K        2652 FONTAINEBLEAU DR                                                                  ATLANTA          GA 30360‐1210
STEPHENS, HENRY W        157 MERIDIAN DR                                                                        STOCKBRIDGE      GA 30281‐7121
STEPHENS, HOBERT B       PO BOX 450063                                                                          KISSIMMEE        FL 34745‐0063
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Name                     Address1                            Address2        Address3        Address4         City              State Zip
STEPHENS, HOBERT R       6420 MANNING RD                                                                      MIAMISBURG         OH 45342‐1618
STEPHENS, HOWARD W       3439 RINGLE RD                                                                       AKRON              MI 48701‐9519
STEPHENS, HUEY F         368 FOREST OAKS ROAD                                                                 MONROE             LA 71202‐8521
STEPHENS, IDA            VARAS & MORGAN                      PO BOX 886                                       HAZLEHURST         MS 39083‐0886
STEPHENS, IMOGENE E      7171 TROY PIKE                                                                       DAYTON             OH 45424
STEPHENS, IRVIN K        25715 ROSENBUSCH BLVD                                                                WARREN             MI 48089‐1581
STEPHENS, ISABELLE M     119 ARTLEE AVE                                                                       BUTLER             PA 16001‐2770
STEPHENS, J C            3489 S HONEY CREEK RD                                                                GREENWOOD          IN 46143‐9517
STEPHENS, J RUTH         984 STATE RD W                                                                       MACKS CREEK        MO 65786‐9239
STEPHENS, J S            9920 W 200 S                                                                         DUNKIRK            IN 47336‐9034
STEPHENS, J SHANE        9920 W 200 S                                                                         DUNKIRK            IN 47336‐9034
STEPHENS, JACK A         846 S TOHONO RIDGE PL                                                                TUCSON             AZ 85745‐5092
STEPHENS, JACK E         279 W CAREY ST                                                                       KNIGHTSTOWN        IN 46148‐1112
STEPHENS, JACQULINE      7394 STATE ROUTE 97 LOT 26                                                           MANSFIELD          OH 44903‐8563
STEPHENS, JACQULINE      7394 STATE RT 97 LOT 26                                                              MANSFIELD          OH 44903‐8563
STEPHENS, JAMES          1004 W 86TH TER                                                                      KANSAS CITY        MO 64114‐2733
STEPHENS, JAMES          1014 WOODVIEW BLVD                                                                   FORT WAYNE         IN 46806‐4226
STEPHENS, JAMES A        28314 JAMES DR                                                                       WARREN             MI 48092‐5611
STEPHENS, JAMES A        10488 E COLDWATER RD                                                                 DAVISON            MI 48423‐8598
STEPHENS, JAMES C        116 ASH‐HILLERY                                                                      DANVILLE            IL 61832
STEPHENS, JAMES D        LEWIS BABCOCK PLEICONES & HAWKINS   PO BOX 11208                                     COLUMBIA           SC 29211‐1208

STEPHENS, JAMES E        545 SUNLIGHT DR                                                                      ROCHESTER HILLS   MI   48309‐1331
STEPHENS, JAMES E        7175 PLUM ORCHARD RD RT !2                                                           MUNITH            MI   49259
STEPHENS, JAMES E        5855 OBERLIES WAY                                                                    PLAINFIELD        IN   46168‐7302
STEPHENS, JAMES E        987 WOOD CREEK PL                                                                    GREENWOOD         IN   46142‐7280
STEPHENS, JAMES F        8131 7TH ST N                                                                        ST PETERSBURG     FL   33702‐3633
STEPHENS, JAMES F        1359 NASH RD NW                                                                      ATLANTA           GA   30331‐1015
STEPHENS, JAMES F        1359 NASH RD., N.W.                                                                  ATLANTA           GA   30331‐0331
STEPHENS, JAMES H        800 ELM DR APT 420                                                                   EDGERTON          WI   53534‐1238
STEPHENS, JAMES H        APT 420                             800 ELM DRIVE                                    EDGERTON          WI   53534‐1238
STEPHENS, JAMES H        9300 E EATON HWY                                                                     LAKE ODESSA       MI   48849‐9309
STEPHENS, JAMES L        1916 HOSLER ST                                                                       FLINT             MI   48503‐4416
STEPHENS, JAMES L        1025 NOME AVE                                                                        AKRON             OH   44320‐2621
STEPHENS, JAMES L        481 MCGARITY RD                                                                      MCDONOUGH         GA   30252‐2770
STEPHENS, JAMES R        52682 WILDWOOD DR                                                                    MACOMB            MI   48042‐3571
STEPHENS, JAMES R        2613 E 27TH ST                                                                       MUNCIE            IN   47302‐5554
STEPHENS, JAMES R        6231 CANTER CREEK TRL                                                                GRAND BLANC       MI   48439‐7440
STEPHENS, JAMES T        404 EAST RD                                                                          DIMONDALE         MI   48821‐8717
STEPHENS, JAMES W        7002 MCLAIN DR                                                                       INDIANAPOLIS      IN   46217‐4057
STEPHENS, JAMES W        2909 OKLAHOMA AVE                                                                    FLINT             MI   48506‐2930
STEPHENS, JAMIEL M       23105 PROVIDENCE DR APT 103                                                          SOUTHFIELD        MI   48075‐3622
STEPHENS, JANE L         771 OAK BROOK RIDGE DR                                                               ROCHESTER HILLS   MI   48307‐1043
STEPHENS, JANET L        518 E LINDEN AVE                                                                     MIAMISBURG        OH   45342‐2851
STEPHENS, JARILYN K      2040 LAWRENCE CIR                                                                    SOUTH JORDAN      UT   84095‐9308
STEPHENS, JEFF           PO BOX 7373                                                                          FLINT             MI   48507‐0373
STEPHENS, JEFFERY W      449 S MERIDIAN RD                                                                    HUDSON            MI   49247‐9709
STEPHENS, JEFFERY WADE   449 S MERIDIAN RD                                                                    HUDSON            MI   49247‐9709
STEPHENS, JEFFREY R      1440 CAMPER VIEW RD                                                                  SAN DIMAS         CA   91773‐3924
STEPHENS, JEFFREY T      7374 TAWAS AVE                                                                       KALAMAZOO         MI   49009‐5944
STEPHENS, JENNINGS       1360 RIDGECREST DR                                                                   MILFORD           OH   45150‐2436
STEPHENS, JERRY R        114 CUMBERLAND CT                                                                    RUSSELL SPRINGS   KY   42642‐8632
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Name                       Address1                        Address2                  Address3   Address4         City               State Zip
STEPHENS, JERRY R          7372 W 800 S                                                                          REDKEY              IN 47373‐9472
STEPHENS, JESSE E          1954 COUNTY ROAD 900N                                                                 GREENUP              IL 62428‐3127
STEPHENS, JESSIE E         5757 N STATE ROAD 67                                                                  MUNCIE              IN 47303‐9520
STEPHENS, JIMMY D          PO BOX 369                                                                            RUSSELL SPRINGS     KY 42642‐0369
STEPHENS, JOAN R           31600 LAKE SHORE BLVD APT 24                                                          WILLOWICK           OH 44095‐3523
STEPHENS, JOAN R           31600 LAKESHORE BLVD            UNIT 24                                               WILLOWICK           OH 44095
STEPHENS, JOANN            78 RITTER ROAD BOX 607                                                                STORMVILLE          NY 12582‐5310
STEPHENS, JOANN            28952 OAKWOOD ST                                                                      INKSTER             MI 48141‐1666
STEPHENS, JOANN            7190 MCTAGGART RD                                                                     NORTH BRANCH        MI 48461‐8793
STEPHENS, JOE C            PO BOX 5285                                                                           FLINT               MI 48505‐0285
STEPHENS, JOE D            50 GLENADA CT                                                                         W CARROLLTON        OH 45449‐1744
STEPHENS, JOE H            161 STEPHENS CIR                                                                      CELINA              TN 38551‐7298
STEPHENS, JOHN             1629 EASTWIND PL                                                                      AUSTINTOWN          OH 44515‐5626
STEPHENS, JOHN C           821 S 14TH ST                                                                         PALATKA             FL 32177‐5019
STEPHENS, JOHN D           9990 S. 39 HWY                                                                        STOCKTON            MO 65785
STEPHENS, JOHN E           7782 HILLCREST DR                                                                     MOORESVILLE         IN 46158‐7436
STEPHENS, JOHN E           719 HIATT AVE                                                                         WILMINGTON          OH 45177‐1401
STEPHENS, JOHN E           BUNGER & ROBERTSON              PO BOX 910                                            BLOOMINGTON         IN 47402‐0910
STEPHENS, JOHN G           T272 COUNTY ROAD 1D                                                                   LIBERTY CENTER      OH 43532‐9596
STEPHENS, JOHN H.          259 S CYPRESS AVE                                                                     COLUMBUS            OH 43223‐1407
STEPHENS, JOHN K           1872 MEADOWLARK DR                                                                    MOGADORE            OH 44260‐9339
STEPHENS, JOHN M           SAVILLE EVOLA & FLINT LLC       PO BOX 602                                            ALTON                IL 62002‐0602
STEPHENS, JOHN W           9850 MOSCOW RD                                                                        HORTON              MI 49246
STEPHENS, JOHN W           PO BOX 154                                                                            KARNACK             TX 75661‐0154
STEPHENS, JOHN W           3043 HENRYDALE ST                                                                     AUBURN HILLS        MI 48326‐3622
STEPHENS, JOHNNY C         1044 CLIFF WHITE RD                                                                   COLUMBIA            TN 38401‐6759
STEPHENS, JOHNNY L         5332 SANGARA DR                                                                       NORTH LAS VEGAS     NV 89031‐7915
STEPHENS, JOHNNY M         4601 ANNHURST RD                                                                      COLUMBUS            OH 43228‐1337
STEPHENS, JOHNNY W         2258 SUNNY RIDGE DR                                                                   PINCKNEY            MI 48169‐9244
STEPHENS, JON P            2161 HO HUM HOLLOW RD                                                                 MONROE              GA 30655‐5529
STEPHENS, JOSEPH           120 MAPLE ST                                                                          COLONIA             NJ 07067‐1608
STEPHENS, JOSEPH A         566 S KENTUCKY ST                                                                     DANVILLE            IN 46122‐1616
STEPHENS, JOSEPH F         275 PLUM RUN COURT                                                                    COMMERCIAL PT       OH 43116‐9711
STEPHENS, JOSEPH V         9112 VERONA RD                                                                        LEWISBURG           OH 45338‐9718
STEPHENS, JUANITA G        14225 FOOTHILL RD                                                                     GOLDEN              CO 80401‐2032
STEPHENS, JUDY             11292 MORRIS DR                                                                       MADISON             AL 35756
STEPHENS, JUDY A           109 PANA DR                                                                           HENDERSONVILLE      TN 37075‐2265
STEPHENS, JUDY C           807 10TH ST                                                                           WHEATLAND           WY 82201‐2938
STEPHENS, JUDY CARMICKLE   807 10TH STREET                                                                       WHEATLAND           WY 82201‐2938
STEPHENS, JULI A           3800 MAY CENTER RD                                                                    LAKE ORION          MI 48360‐2512
STEPHENS, JULIA L          9990 HIGHWAY 114 WEST                                                                 SCOTTS HILL         TN 38374‐6472
STEPHENS, JULIOUS          1064 KENSINGTON AVE                                                                   BUFFALO             NY 14215‐2734
STEPHENS, JULIUS J         3123 CANEY FORT RD.                                                                   MARTIN              KY 41649‐7829
STEPHENS, JULIUS J         3123 CANEY FORK RD                                                                    MARTIN              KY 41649‐7829
STEPHENS, KAREN L          16567 FORESTVIEW DR                                                                   CLINTON TOWNSHIP    MI 48036‐1608
STEPHENS, KAREN L          C/O GUARDIAN CARE, INC.         26601 COOLIDGE HWY.                                   OAK PARK            MI 48237
STEPHENS, KAREN L          26601 COOLIDGE HWY              C/O GUARDIAN CARE, INC.                               OAK PARK            MI 48237‐1135
STEPHENS, KARL R           8825 72ND AVE                                                                         HUDSONVILLE         MI 49426‐9589
STEPHENS, KARRIEM ADUL     3010 WILTON PL                                                                        FLINT               MI 48506‐1389
STEPHENS, KATHERINE A      8843 KINGS DR                                                                         BOYNTON BEACH       FL 33436‐2307
STEPHENS, KATHLEEN A       207 VALENCIA CT N                                                                     PLANT CITY          FL 33566‐6704
STEPHENS, KELDA N          218 W PINE ST                                                                         KNIGHTSTOWN         IN 46148‐1349
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Name                      Address1                            Address2                       Address3   Address4         City                  State Zip
STEPHENS, KENNETH C       730 ROSE AVE                                                                                   BIG RAPIDS             MI 49307‐1036
STEPHENS, KENNETH I       2055 TRANSIT RD                                                                                KENT                   NY 14477‐9743
STEPHENS, KENNETH L       5648 PINEWOOD DR                                                                               FLOWERY BR             GA 30542‐2713
STEPHENS, KENNETH LAMAR   5648 PINEWOOD DR                                                                               FLOWERY BR             GA 30542‐2713
STEPHENS, KENNETH M       8930 E CHEROKEE DR                                                                             CANTON                 GA 30115‐6156
STEPHENS, KENNETH R       850 WESTHAFER RD                                                                               VANDALIA               OH 45377‐2839
STEPHENS, KESTER K        273 KEETON AVE                                                                                 WEST LIBERTY           KY 41472‐8641
STEPHENS, KESTER K        32 CRESTVIEW LN                                                                                WEST LIBERTY           KY 41472‐1290
STEPHENS, KEVIN H         APT 2004                            17249 NORTH 7TH STREET                                     PHOENIX                AZ 85022‐2412
STEPHENS, KEVIN W         1143 WOODNOLL DR                                                                               FLINT                  MI 48507‐4711
STEPHENS, KEVIN WAYNE     1143 WOODNOLL DR                                                                               FLINT                  MI 48507‐4711
STEPHENS, KIM V           4281 PINEPORT RD                                                                               BRIDGEPORT             MI 48722‐9505
STEPHENS, L M             447 S 30TH ST                                                                                  SAGINAW                MI 48601‐6430
STEPHENS, LACRESHA S      9730 BAIRD RD APT 211                                                                          SHREVEPORT             LA 71118‐3819
STEPHENS, LACY J          909 WILDOAK DR                                                                                 ENID                   OK 73701‐7681
STEPHENS, LACY J          DAVIS CHAD N                        224 NORTH INDEPENDENCE SUITE                               ENID                   OK 73701
                                                              410
STEPHENS, LAPIP           9397 N BRADLEY LN                                                                              BRAZIL                IN   47834‐8287
STEPHENS, LARRY           557 KAREN ST                                                                                   MIDFIELD              AL   35228‐2214
STEPHENS, LARRY           PORTER & MALOUF PA                  4670 MCWILLIE DR                                           JACKSON               MS   39206‐5621
STEPHENS, LARRY D         410 SILVER LAKE DR                                                                             LAKE                  MI   48632‐9182
STEPHENS, LARRY J         8835 LONG LN                                                                                   CLARKSTON             MI   48348‐3544
STEPHENS, LARRY J         RIDGE PARK MANOR A2‐D                                                                          NEWTON FALLS          OH   44444
STEPHENS, LARRY W         2852 S ELIZABETH ST                                                                            INDIANAPOLIS          IN   46203‐5807
STEPHENS, LARY            10338 GREENSBORO ST                                                                            DETROIT               MI   48224‐2577
STEPHENS, LAUREN          824 DANCER LN                                                                                  MANALAPAN             NJ   07726‐8874
STEPHENS, LAWRENCE C      345 ISHAM RD W                                                                                 WINFIELD              TN   37892‐2255
STEPHENS, LAWRENCE C      345 W ISHAM RD                                                                                 WINFIELD              TN   37892‐2255
STEPHENS, LEE E           23 MILAN MANOR DR                                                                              MILAN                 OH   44846‐9601
STEPHENS, LEON            9201 AUBURN ST                                                                                 DETROIT               MI   48228‐1749
STEPHENS, LEONARD         19653 BRADY                                                                                    REDFORD TWP           MI   48240‐1364
STEPHENS, LEONARD         349 S MILLER RD                                                                                FAIRLAWN              OH   44333
STEPHENS, LEONARD B       23051 HARDING ST                                                                               OAK PARK              MI   48237‐2446
STEPHENS, LESLIE R        2570 HORSTMEYER RD                                                                             LANSING               MI   48911‐8427
STEPHENS, LEWIS A         1106 QUEENS PLACE                                                                              DECATUR               GA   30035‐1394
STEPHENS, LEWIS J         2510 LAKE MICHIGAN DR NW APT E205                                                              GRAND RAPIDS          MI   49504‐8053
STEPHENS, LEWIS J         9515 WOODSIDE DR                                                                               CLARKSTON             MI   48348‐3167
STEPHENS, LIARYL D        19520 NORTHBROOK DR                                                                            SOUTHFIELD            MI   48076‐1735
STEPHENS, LILLIAN         75 SUNFLOWER PLACE                                                                             TIPP CITY             OH   45371‐5371
STEPHENS, LINDA A         859 LOCHMOOR BLVD                                                                              GROSSE POINTE WOODS   MI   48236‐1756
STEPHENS, LISA            SHELTON & ASSOCIATES PA             218 N SPRING ST                                            TUPELO                MS   38804‐3924
STEPHENS, LISA            63422 HIGHWAY 25 NORTH                                                                         SMITHVILLE            MS   38870‐9700
STEPHENS, LOIS            7445 PILGRIM                                                                                   DETROIT               MI   48238‐1262
STEPHENS, LOIS            7445 PILGRIM ST                                                                                DETROIT               MI   48238‐1262
STEPHENS, LORENE P        364 STEPHENS LN                                                                                LINDEN                TN   37096‐6280
STEPHENS, LOUISE D        1891 SAILCLOTH STREET                                                                          LITHONIA              GA   30058‐5531
STEPHENS, LUCILLE         5108 MILLER AVE                                                                                MAPLE HEIGHTS         OH   44137‐1132
STEPHENS, LUTHER O        3272 W MOUNT MORRIS RD                                                                         MOUNT MORRIS          MI   48458‐8240
STEPHENS, LYLE G          23658 4TH ST APT B                                                                             GRAND RAPIDS          OH   43522‐9835
STEPHENS, LYNN H          12244 FOREST HILL RD                                                                           DEWITT                MI   48820‐7830
STEPHENS, LYON            MURPHYS LAW OFFICE PC               24750 LAHSER RD                                            SOUTHFIELD            MI   48033‐6044
STEPHENS, LYON GARTH      5311 REMINGTON DR                                                                              LAPEER                MI   48446
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Name                    Address1                        Address2            Address3         Address4         City               State Zip
STEPHENS, MABEL A       323 SAW GRASS ST                                                                      DAVENPORT           FL 33837‐1520
STEPHENS, MABEL A       323 SAWGRASS ST                                                                       DAVENPORT           FL 33837‐1520
STEPHENS, MACK M        PO BOX 701                                                                            AKRON               OH 44309‐0701
STEPHENS, MALINDA E     3275 E CENTENARY RD                                                                   MOORESVILLE         IN 46158‐6848
STEPHENS, MARETA M      6185 MILLER RD                                                                        ALGER               MI 48610‐8531
STEPHENS, MARGARET D    52 N 600 W                                                                            ANDERSON            IN 46011‐8744
STEPHENS, MARGARET M    8208 LEONARD DR                                                                       HOLLY               MI 48442‐9136
STEPHENS, MARGIE G      5118 HILL RD                                                                          SWARTZ CREEK        MI 48473‐8247
STEPHENS, MARGIE G      4495 CALKINS RD APT 323                                                               FLINT               MI 48532‐3577
STEPHENS, MARGIE R      1608 BIRCH RD                                                                         HARRISON            MI 48625‐8641
STEPHENS, MARGIE R      1608 BIRCH ROAD                                                                       HARRISON            MI 48625‐8641
STEPHENS, MARIE         219 FLORIDA AVE                                                                       WILLIAMSTOWN        NJ 08094‐5450
STEPHENS, MARIE         568 LUTHER                                                                            PONTIAC             MI 48341‐2528
STEPHENS, MARIE         568 LUTHER AVE                                                                        PONTIAC             MI 48341‐2528
STEPHENS, MARIE L       219 FLORIDA AVE                                                                       WILLIAMSTOWN        NJ 08094‐5450
STEPHENS, MARIE L       219 FLORDIA AVE                                                                       WILLIAMSTOWN        NJ 08094‐5450
STEPHENS, MARILYN E     12433 N BELSAY RD                                                                     CLIO                MI 48420‐9146
STEPHENS, MARK O        1110 WILLIAMS RD                                                                      WESSON              MS 39191‐9012
STEPHENS, MARTIN W      1006 WOODSHIRE CIR                                                                    SHREVEPORT          LA 71107‐2837
STEPHENS, MARTIN WADE   1006 WOODSHIRE CIR                                                                    SHREVEPORT          LA 71107‐2837
STEPHENS, MARVA J       PO BOX 7402                                                                           FLINT               MI 48507‐0402
STEPHENS, MARVIN E      5226 LEE ST                                                                           TORRANCE            CA 90503‐5331
STEPHENS, MARY          6 FLAGLER LN                                                                          HOLLY HILL          FL 32117‐2575
STEPHENS, MARY A        1345 CASTILLION DR.             N.E.                                                  WARREN              OH 44484‐1472
STEPHENS, MARY E        107 JOHNSON ST                                                                        BUFFALO             NY 14212‐1000
STEPHENS, MARY E        6550 RED SIERRA DR APT 1324                                                           FORT WORTH          TX 76112‐4183
STEPHENS, MARY E        833 LOPEZ LN                                                                          MONROE              GA 30655‐8487
STEPHENS, MARY F        8693 PRIOR RD                                                                         DURAND              MI 48429
STEPHENS, MARY L        15959 BRIDGE RD                                                                       KENT                NY 14477
STEPHENS, MARY M        11416 PLATTNER DRIVE                                                                  MOKENA               IL 60448‐9228
STEPHENS, MARY M        870 DEXTER ST APT 202                                                                 DENVER              CO 80220
STEPHENS, MARY W.       3781 EASTERN HILLS LN #501                                                            CINCINNATI          OH 45209
STEPHENS, MATTHEW C     838 QUIGLEY ST                                                                        HOLLAND             OH 43528‐8583
STEPHENS, MCNEAL L      4850 ERIN RD SW                                                                       ATLANTA             GA 30331‐7807
STEPHENS, MEKIA M       1863 SHELMAN TRL                                                                      FORT WORTH          TX 76112‐4223
STEPHENS, MELVIN C      137 DOSSETT LN                                                                        JACKSBORO           TN 37757‐2807
STEPHENS, MICHAEL D     548 VOELM RD                                                                          WELLSTON            MI 49689‐9554
STEPHENS, MICHAEL J     13866 FOWLER RD                                                                       HONOR               MI 49640‐9449
STEPHENS, MICHAEL J     PO BOX 1304                                                                           TROY                MI 48099‐1304
STEPHENS, MICHAEL J     5824 N VICTORIA DR                                                                    INDIANAPOLIS        IN 46228‐1654
STEPHENS, MICHAEL O     1483 BUCKNELL WAY                                                                     MARIETTA            GA 30068‐2002
STEPHENS, MICHAEL W     3819 SONNY LANE                                                                       DANVILLE             IL 61832‐1120
STEPHENS, MICHEAL D     2046 BURR BLVD                                                                        FLINT               MI 48503‐4234
STEPHENS, MICHELA       651 E 305TH ST                                                                        WILLOWICK           OH 44095‐4861
STEPHENS, MICHELLE      2386 RUTHERFORD RD                                                                    BLOOMFIELD HILLS    MI 48302‐0659
STEPHENS, MICHELLE M    24313 THORN DR                                                                        BROWNSTOWN          MI 48134‐6037
STEPHENS, MILDRED       8125 SEWARD AVE APT 176                                                               CINCINNATI          OH 45231‐3269
STEPHENS, MILDRED L     4130 HIGHWAY 77                                                                       NEWBERN             TN 38059‐6320
STEPHENS, MINA A        124 BRYON J DRIVE                                                                     HOUGHTON LAKE       MI 48629‐9360
STEPHENS, MONA J        6660 PIRKLE PL                                                                        CUMMING             GA 30028‐5522
STEPHENS, MONA J        6660 PIRCLE PLACE                                                                     CUMMING             GA 30040‐5522
STEPHENS, MURIELENE C   PO BOX 262546                                                                         HOUSTON             TX 77207‐2546
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Name                       Address1                          Address2                      Address3   Address4             City                 State Zip
STEPHENS, MYRA J           79 SHOEMAKER CT APT 305                                                                         MEMPHIS               TN 38103‐8790
STEPHENS, MYRTLE           19653 BRADY                                                                                     REDFORD               MI 48240‐1364
STEPHENS, NEIL A           2835 KELLER SPRINGS RD APT 1009                                                                 CARROLLTON            TX 75006
STEPHENS, NELSON L         102 WINDING TRAILS UNIT 1                                                                       DIAMOND                IL 60416
STEPHENS, NEWTON E         4259 N GENESEE RD                                                                               FLINT                 MI 48506‐1542
STEPHENS, NORMA            5411 HOLLYHOCK LN                                                                               BOSSIER CITY          LA 71112‐4921
STEPHENS, NORMA J          21948 MAIN ST                                                                                   RANDBURNE             AL 36273‐4123
STEPHENS, NORMA J          221 EASTLAND S.E.                                                                               WARREN                OH 44483‐6314
STEPHENS, NORMA J          221 EASTLAND AVE SE                                                                             WARREN                OH 44483‐6314
STEPHENS, NORMA J          152 BURNETT LN                                                                                  ONEIDA                TN 37841‐5949
STEPHENS, NORMAN A         102 N ANTLER DR                                                                                 NIXA                  MO 65714‐7205
STEPHENS, NORMAN W         5906 WAUBESA WAY                                                                                KOKOMO                IN 46902‐5564
STEPHENS, OLVIN L          10105 ROAD 444                                                                                  PHILADELPHIA          MS 39350‐4365
STEPHENS, OMAR S           1220 PICKWICK RD                                                                                KNOXVILLE             TN 37914‐5739
STEPHENS, OREN H           3560 SAMPLES RD                                                                                 CUMMING               GA 30041‐6647
STEPHENS, ORVILLE L        2611 HIGHWAY 11                                                                                 GRIFFITHVILLE         AR 72060‐8074
STEPHENS, OVA D            1767 LEFFLE WEBB RD                                                                             CROSSVILLE            TN 38572‐3362
STEPHENS, PAM J            8725 MEADOW GROVE LN                                                                            GAINESVILLE           GA 30506‐4830
STEPHENS, PATRICIA A       43915 MARNE CT                                                                                  CANTON                MI 48188‐1721
STEPHENS, PATRICIA A       PO BOX 320978                                                                                   FLINT                 MI 48532‐0017
STEPHENS, PATRICIA A       2615 RIDGECREST CT                                                                              FLINT                 MI 48505‐2414
STEPHENS, PATRICIA A       423 SHERWOOD FOREST CT                                                                          ARLINGTON             TX 76012‐5913
STEPHENS, PATRICIA K       PO BOX 1081                                                                                     LEONARD               TX 75452‐1081
STEPHENS, PATRICK M        2011 SPARROW ST                                                                                 SPRING HILL           TN 37174‐2688
STEPHENS, PAUL             3831 STORMONT ROAD                                                                              TROTWOOD              OH 45426‐5426
STEPHENS, PAUL M           22771 LINGEMANN ST                                                                              SAINT CLAIR SHORES    MI 48080‐2129
STEPHENS, PAUL R           PO BOX 426                                                                                      DE SOTO               KS 66018‐0426
STEPHENS, PAUL S           4641 BETHUME DR                                                                                 SHREVEPORT            LA 71109‐6633
STEPHENS, PAUL STANLEY     4641 BETHUME DR                                                                                 SHREVEPORT            LA 71109‐6633
STEPHENS, PEGGY            560 COUNTY ROAD 2240                                                                            IVANHOE               TX 75447‐4420
STEPHENS, PEGGY A          4212 MARTINA DR                                                                                 ROCKFORD               IL 61114‐5210
STEPHENS, PEGGY L          205 TINCH FORD RD                                                                               JAMESTOWN             TN 38556‐5139
STEPHENS, PHILLIP E        3113 ELLEN DR                                                                                   INDIANAPOLIS          IN 46224‐2512
STEPHENS, PHILLIP M        209 ROYAL MALL DR                                                                               NILES                 OH 44446‐3247
STEPHENS, PHYLLIS          PO BOX 354                                                                                      LEOMA                 TN 38468‐0354
STEPHENS, PHYLLIS O        APT 121                           600 MAIN STREET                                               ANDERSON              IN 46016‐1561
STEPHENS, R                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK               VA 23510‐2212
                                                             STREET, SUITE 600
STEPHENS, RALPH D          5612 LIEBOLD DR                                                                                 DAYTON               OH   45424‐3832
STEPHENS, REGINA M         24849 HANOVER ST                                                                                DEARBORN HTS         MI   48125‐1880
STEPHENS, REGINALD K       7600 WIRE GRASS RD                                                                              ORRUM                NC   28369‐9427
STEPHENS, RENEE I          2149 ADDISON HILLS CT                                                                           OXFORD               MI   48370‐2436
STEPHENS, RHEA             304‐1323 LANGLOIS AVE                                                      WINDSOR ON N8X4L8
                                                                                                      CANADA
STEPHENS, RHEA             1146 HOWARD AVE                                                            WINDSOR ON N9A 1S7
                                                                                                      CANADA
STEPHENS, RICHARD          BALDWIN & BALDWIN                 PO DRAWER 1349                                                MARSHALL             TX   75670
STEPHENS, RICHARD A        PO BOX 9781                                                                                     FORT WAYNE           IN   46899‐9781
STEPHENS, RICHARD ARNOLD   BARR & MUDFORD                    PO BOX 994390                                                 REDDING              CA   96099‐4390
STEPHENS, RICHARD B        19709 GAUKLER ST                                                                                SAINT CLAIR SHORES   MI   48080‐3356
STEPHENS, RICHARD E        6355 MILLER RD                                                                                  ALGER                MI   48610‐9538
STEPHENS, RICHARD L        17 PIEDMONT PARK                                                                                O FALLON             MO   63368‐8514
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Name                    Address1                         Address2                Address3   Address4         City            State Zip
STEPHENS, RICHARD L     100 BRIARMEAD DR                                                                     GLENCOE          AL 35905‐1042
STEPHENS, ROBERT        402 W PULASKI AVE                                                                    FLINT            MI 48505‐3390
STEPHENS, ROBERT A      PO BOX 158                                                                           MAPLE RAPIDS     MI 48853‐0158
STEPHENS, ROBERT D      3800 DAVENPORT RD                                                                    METAMORA         MI 48455‐9637
STEPHENS, ROBERT D      37133 TERICREST DR                                                                   STERLING HTS     MI 48310‐3956
STEPHENS, ROBERT D      4336 SEYMOUR LAKE RD                                                                 OXFORD           MI 48371‐4023
STEPHENS, ROBERT D      78 RITTER ROAD BOX 607                                                               STORMVILLE       NY 12582
STEPHENS, ROBERT E      593 FILDEW AVE                                                                       PONTIAC          MI 48341‐2633
STEPHENS, ROBERT J      1133 YEOMANS ST LOT 94                                                               IONIA            MI 48846‐1953
STEPHENS, ROBERT L      13249 TUSCOLA ROAD                                                                   CLIO             MI 48420‐1850
STEPHENS, ROBERT L      1282 OLD VICTRON SCHOOL RD                                                           HOSCHTON         GA 30548‐3430
STEPHENS, ROBERT L      PO BOX 2535                                                                          LOGANVILLE       GA 30052‐1961
STEPHENS, ROBERT L      2421 CAINWOOD CT                                                                     CONYERS          GA 30094‐8203
STEPHENS, ROBERT L      2785 ROCKCLIFF RD SE                                                                 ATLANTA          GA 30316‐4015
STEPHENS, ROBERT L      1822 HAMILTON ST SW                                                                  WARREN           OH 44485‐3529
STEPHENS, ROBERT M      925 WARBURTON DR                                                                     TROTWOOD         OH 45426‐2269
STEPHENS, ROBERT M      23266 S ROCKY POINT RD                                                               PICKFORD         MI 49774‐8911
STEPHENS, ROBERT P      2618 W 92ND ST                                                                       LEAWOOD          KS 66206
STEPHENS, ROBERTA B     707 HIGHWAY 92 N                                                                     FAYETTEVILLE     GA 30214‐1332
STEPHENS, ROGER J       5112 N IRISH RD                                                                      DAVISON          MI 48423‐8911
STEPHENS, ROGER L       7212 PINEVIEW DRIVE                                                                  ENGLEWOOD        OH 45322‐5322
STEPHENS, RONALD E      PO BOX 307                       121 EAST URBAN STREET                               UPLAND           IN 46989‐0307
STEPHENS, RONALD L      502 S STATE ST                                                                       ALMA             MI 48801‐2345
STEPHENS, RONALD L      67 SOUTHERN GOLF CT                                                                  FAYETTEVILLE     GA 30215‐8008
STEPHENS, RONALD W      265 VINE ST                                                                          FAIRBORN         OH 45324‐3326
STEPHENS, RONNIE L      21472 SHELDON RD APT E29                                                             BROOK PARK       OH 44142‐1271
STEPHENS, RONNIE L      2827 DELLVIEW DR                                                                     FORT WAYNE       IN 46816‐2181
STEPHENS, RONNIE W      SHANNON LAW FIRM                 100 W GALLATIN ST                                   HAZLEHURST       MS 39083‐3007
STEPHENS, ROY           8135 BEECHMONT AVE APT W349                                                          CINCINATTI       OH 45255‐6161
STEPHENS, ROY           APT W349                         8135 BEECHMONT AVENUE                               CINCINNATI       OH 45255‐6161
STEPHENS, RUBY O        PO BOX 1495                                                                          JAMESTOWN        TN 38556‐1495
STEPHENS, RUBYE H       3876 E 61ST ST                                                                       KANSAS CITY      MO 64130‐4432
STEPHENS, RUBYE H       3876 EAST 61ST ST                                                                    KANSAS CITY      MO 64130‐4432
STEPHENS, SALLIE M      360 GEORGETOWN CIR                                                                   ELKTON           KY 42220‐9331
STEPHENS, SAM W         464 CHAPMAN ST                                                                       FORSYTH          GA 31029‐3204
STEPHENS, SAMUEL        14719 HOLMUR ST                                                                      DETROIT          MI 48238‐2140
STEPHENS, SANDRA K      41 N LANSDOWN WAY                                                                    ANDERSON         IN 46012‐3222
STEPHENS, SAVANNAH      2411 CORTLAND AVE                                                                    FORT WAYNE       IN 46808‐3119
STEPHENS, SCOTT A       3383 RICHFIELD RD                                                                    FLINT            MI 48506
STEPHENS, SCOTT ALAN    3383 RICHFIELD RD                                                                    FLINT            MI 48506
STEPHENS, SHARON K      349905 E 1060 RD                                                                     PRAGUE           OK 74864‐3208
STEPHENS, SHARON L      7782 HILLCREST DR                                                                    MOORESVILLE      IN 46158‐7436
STEPHENS, SHAWN C       707 HIGHWAY 92 N                                                                     FAYETTEVILLE     GA 30214‐1332
STEPHENS, SHERMAN       305 W 10TH ST                                                                        NEWPORT          KY 41071‐1501
STEPHENS, SHERRILL      427 CHAPEL DR                                                                        SPRINGBORO       OH 45066‐8835
STEPHENS, SHIRLENE M    53950 RIDGE ROAD                                                                     NEW BALTIMORE    MI 48047
STEPHENS, SHIRLENE M    53950 RIDGE RD                                                                       NEW BALTIMORE    MI 48047‐5801
STEPHENS, STEPHEN F     5567 E 250 S                                                                         AVILLA           IN 46710‐9719
STEPHENS, SUSAN J       1312 STRATTON DR                                                                     LAKELAND         FL 33813‐2352
STEPHENS, SUZANNE M     3235 CHAPEL RD                                                                       ANDERSON         IN 46012‐9253
STEPHENS, SYBLE H       PO BOX 16883                                                                         ATLANTA          GA 30321‐0883
STEPHENS, SYLVESTER J   2731 MARTIN LUTHER KING BLVD E                                                       SAGINAW          MI 48601‐7455
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Name                        Address1                          Address2                      Address3   Address4         City              State Zip
STEPHENS, TED C             204 DERWENT BLVD                                                                            FORT MYERS         FL 33908‐3413
STEPHENS, TERESSA L         320 E WASHINGTON ST                                                                         HARTFORD CITY      IN 47348‐2243
STEPHENS, TERESSA LYNN      320 E WASHINGTON ST                                                                         HARTFORD CITY      IN 47348‐2243
STEPHENS, TERRANCE          PO BOX 161195                                                                               ATLANTA            GA 30321‐1195
STEPHENS, TERRY E           2537 N ELY HWY                                                                              ALMA               MI 48801‐9659
STEPHENS, TERRY J           13734 RUGGED TRL                                                                            GRAND LEDGE        MI 48837‐9332
STEPHENS, TERRY R           4164 WELLS CIR                                                                              DOUGLASVILLE       GA 30135‐3630
STEPHENS, THEODORE C        6612 WILLIAMS LAKE RD                                                                       WATERFORD          MI 48329‐2979
STEPHENS, THOMAS            952 LC POPE RD                                                                              EAST DUBLIN        GA 31027‐1648
STEPHENS, THOMAS E          23136 BROOKDALE BLVD                                                                        ST CLAIR SHRS      MI 48082‐1136
STEPHENS, THOMAS F          18727 E PINE VALLEY DR                                                                      QUEEN CREEK        AZ 85242‐3576
STEPHENS, THOMAS G          53950 RIDGE RD                                                                              NEW BALTIMORE      MI 48047‐5801
STEPHENS, THOMAS G          38020 RHONSWOOD DR                                                                          NORTHVILLE         MI 48167‐9753
STEPHENS, THOMAS GREGORY    53950 RIDGE RD                                                                              NEW BALTIMORE      MI 48047‐5801
STEPHENS, THOMAS L          4423 THORNTREE DR                                                                           BURTON             MI 48509‐1224
STEPHENS, THOMAS O          20862 BAY SHORE DR                                                                          FLINT              TX 75762‐9609
STEPHENS, TIM L             14532 STARGAZER DR                                                                          BROOMFIELD         CO 80023
STEPHENS, TIMOTHY           16160 BEECHWOOD AVE                                                                         BEVERLY HILLS      MI 48025‐4200
STEPHENS, TRAVIS            68 STEPHENS CEMETERY RD                                                                     GRAYSON            KY 41143‐6451
STEPHENS, TRAVIS ALLEN      APT 11                            506 PORTLEDGE COMMONS DRIVE                               LAFAYETTE          IN 47904‐3276

STEPHENS, TRAVIS J          JOHN MCGINNIS                     PO BOX 280                                                GREENUP           KY   41144‐0280
STEPHENS, TREMAINE          10359 N CHERRY DR                                                                           KANSAS CITY       MO   64155‐1973
STEPHENS, VAL M             12469 S 200 W                                                                               KOKOMO            IN   46901‐7516
STEPHENS, VAN H             P.O BOX 972182                                                                              YPSILANTI         MI   48197
STEPHENS, VERA LEE          1173 APPLE BLOSSOM LN                                                                       COLUMBUS          OH   43223‐3167
STEPHENS, VERLON R          52 N 600 W                                                                                  ANDERSON          IN   46011‐8744
STEPHENS, VICKEY            101 PIER PT                                                                                 GRIFFIN           GA   30223‐9010
STEPHENS, VICTOR W          701 N SARA RD                                                                               MUSTANG           OK   73064‐4552
STEPHENS, VINEY M           18253 LITTLEFIELD ST                                                                        DETROIT           MI   48235‐1458
STEPHENS, VIVIAN K          821 S 14TH ST                                                                               PALATKA           FL   32177‐5019
STEPHENS, VIVIAN K          821 SOUTH 14TH ST                                                                           PALATKA           FL   32177‐5019
STEPHENS, WALDO             1211 WEST ST                                                                                EATON RAPIDS      MI   48827‐1760
STEPHENS, WALLACE G         279 PROSPECT AVE                                                                            LAURENCE HARBOR   NJ   08879‐2815
STEPHENS, WALTER R          3873 PERCY KING RD                                                                          WATERFORD         MI   48329‐1367
STEPHENS, WAYLAND E         10017 S LINN AVE                                                                            OKLAHOMA CITY     OK   73159‐7239
STEPHENS, WAYNE O           2835 KELLER SPRINGS RD APT 1009                                                             CARROLLTON        TX   75006‐4838
STEPHENS, WENDY N           5649 N. 400 W.                                                                              MIDDLETOWN        IN   47356
STEPHENS, WILLIAM           3824 OAKRIDGE BLVD                                                                          SAINT LOUIS       MO   63121‐3422
STEPHENS, WILLIAM B         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                              STREET, SUITE 600
STEPHENS, WILLIAM D         394 LEWIS BROWN DR                                                                          SOMERSET          KY   42503‐9707
STEPHENS, WILLIAM D         PO BOX 33                                                                                   PEEL              AR   72668‐0033
STEPHENS, WILLIAM D         977 DAFFODIL DR                                                                             WATERFORD         MI   48327‐1401
STEPHENS, WILLIAM MICHAEL   34697 FOUNTAIN BLVD                                                                         WESTLAND          MI   48185‐9436
STEPHENS, WILLIAM R         4600 N BROOKE DR                                                                            MARION            IN   46952‐9727
STEPHENS, WILLIAM R         11292 MORRIS DR                                                                             MADISON           AL   35756‐4330
STEPHENS, WILLIAM T         5649 N 400 W                                                                                MIDDLETOWN        IN   47356
STEPHENS, WILLIE A          439 E PHARR RD                                                                              DECATUR           GA   30030‐4427
STEPHENS, WILLIE A          4955 NEWPARK LN NW                                                                          ACWORTH           GA   30101‐7125
STEPHENS, WILLIE H          3315 EWALD CIR                                                                              DETROIT           MI   48238‐3167
STEPHENS, WILLIS E          83 VAUGHN DR                                                                                RAINSVILLE        AL   35986‐4728
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Name                                  Address1                         Address2                      Address3   Address4         City                  State Zip
STEPHENS, WILLIS E                    83 VAUGHN DRIVE                                                                            RAINSVILLE             AL 35986‐4728
STEPHENS, WILSON S                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA 23510‐2212
                                                                       STREET, SUITE 600
STEPHENS, WINENETT W                  263 PARKWAY PINES CT                                                                       MONTICELLO            FL   32344
STEPHENS, WINNIE J                    PO BOX 387                                                                                 GOODRICH              MI   48438‐0387
STEPHENS,JAMES E                      545 SUNLIGHT DR                                                                            ROCHESTER HILLS       MI   48309‐1331
STEPHENS,JOE D                        50 GLENADA CT                                                                              W CARROLLTON          OH   45449‐1744
STEPHENS,JOSEPH V                     9112 VERONA RD                                                                             LEWISBURG             OH   45338‐9718
STEPHENS,LINDA A                      859 LOCHMOOR BLVD                                                                          GROSSE POINTE WOODS   MI   48236‐1756
STEPHENS,THOMAS G                     38020 RHONSWOOD DR                                                                         NORTHVILLE            MI   48167‐9753
STEPHENS‐GOLDSMITH, NEQUANDRA D       13419 CROSLEY                                                                              REDFORD               MI   48239‐4520

STEPHENS‐HOTOPP, GENIRA J             835 WILMOT RD                                                                              DEERFIELD             IL   60015
STEPHENSON ARVELLA                    229 SOUTHSIDE DR                                                                           GAINESVILLE           TX   76240‐0506
STEPHENSON BORYSZEWSKI                51 TINDLE AVE                                                                              WEST SENECA           NY   14224‐1855
STEPHENSON BROADWAY                   350 MARTHA AVE                                                                             BUFFALO               NY   14215‐2904
STEPHENSON CORPORATION                4401 WESTERN RD                                                                            FLINT                 MI   48506‐1807
STEPHENSON DON (ESTATE OF) (502018)   SIMMONS FIRM                     PO BOX 521                                                EAST ALTON            IL   62024‐0519

STEPHENSON GROUP LLC                  10221 W ARTHUR AVE                                                                         WEST ALLIS            WI   53227‐2004
STEPHENSON INC                        4401 WESTERN RD                                                                            FLINT                 MI   48506‐1807
STEPHENSON INC                        DUANE DOUGLAS                    4401 WESTERN AVENUE                                       FLINT                 MI   48506
STEPHENSON J BORYSZEWSKI              51 TINDLE AVE                                                                              BUFFALO               NY   14224‐1855
STEPHENSON J BROADWAY                 350 MARTHA AVE                                                                             BUFFALO               NY   14215‐2904
STEPHENSON JR, DANIEL H               911 ROLLING HILL RD                                                                        GREENWOOD             IN   46142‐5234
STEPHENSON JR, FREDERICK J            5892 LOCHLEVEN                                                                             WATERFORD             MI   48327‐1842
STEPHENSON JR, MELVIN L               42315 BRENTWOOD DR                                                                         PLYMOUTH              MI   48170‐2534
STEPHENSON JR, RUSSELL G              2235 FRONTIER RD                                                                           JANESVILLE            WI   53546‐5666
STEPHENSON JR., RICKY FERNANDERO      APT 701                          5900 BRIDGE ROAD                                          YPSILANTI             MI   48197‐7009
STEPHENSON LEONIDAS                   502 BIRCHBARK CT                                                                           SENECA                SC   29672‐0784
STEPHENSON LOIS                       1632 EDGE HILL ROAD                                                                        BENBROOK              TX   76126‐2902
STEPHENSON MARGARET                   4 BRYAN RD                                                                                 ATHENS                OH   45701‐1354
STEPHENSON ROBERT D (494239)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510
                                                                       STREET, SUITE 600
STEPHENSON STEVEN (402081)            WILENTZ GOLDMAN & SPITZER        PO BOX 10                                                 WOODBRIDGE            NJ 07095‐0958
STEPHENSON THOMAS                     216 QUEENSFERRY RD                                                                         CARY                  NC 27511‐6314
STEPHENSON, AARON L
STEPHENSON, ALFORD W                  704 SPRING MILLER CT                                                                       ARLINGTON             TX   76002‐4125
STEPHENSON, ALICE                     918 MPALE MEADOWS AVE                                                                      VICKSBURG             MI   49097‐1515
STEPHENSON, AMORY B                   545 A C SMITH RD                                                                           COMMERCE              GA   30530‐5761
STEPHENSON, ANNA                      621 74TH ST                                                                                NIAGARA FALLS         NY   14304‐2205
STEPHENSON, ARNIECE L                 4316 DEVONSHIRE AVE                                                                        LANSING               MI   48910‐5630
STEPHENSON, ARTHUR K                  7734 COUNTY ROAD 221                                                                       TRINITY               AL   35673‐4111
STEPHENSON, ARTHUR M                  366 COUNTY RD 82                                                                           MOULTON               AL   35650‐4807
STEPHENSON, ARVELLA                   229 SOUTHSIDE DR                                                                           GAINESVILLE           TX   76240‐0506
STEPHENSON, BARRY W                   7016 LUDLUM RD                                                                             MORROW                OH   45152‐9514
STEPHENSON, BEN V                     RR 1                                                                                       COMMISKEY             IN   47227‐9801
STEPHENSON, BERT B                    2331 W G AVE                                                                               KALAMAZOO             MI   49009‐5411
STEPHENSON, BETTY                     PO BOX 128                       240 W. LANGLEY ST.                                        LAKE CITY             MI   49651‐0128
STEPHENSON, BETTY G                   5763 SABAL TRACE DR. UNIT# 104                                                             NORTH PORT            FL   34287
STEPHENSON, BILLY C                   PO BOX 99                                                                                  HILLSBORO             AL   35643‐0099
STEPHENSON, BRADLEY O                 1204 W STATE ROAD 16                                                                       DENVER                IN   46926‐9176
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Name                       Address1                            Address2                 Address3            Address4              City               State Zip
STEPHENSON, BRUCE A        1776 CHINOOK TRAIL CT                                                                                  DEFIANCE            OH 43512‐3498
STEPHENSON, C D            13433 TORCH RIVER ROAD                                                                                 RAPID CITY          MI 49676‐9389
STEPHENSON, CALVIN         PO BOX 981162                                                                                          YPSILANTI           MI 48198‐1162
STEPHENSON, CANDACE A      PO BOX 527                                                                                             BELLEVILLE          MI 48112‐0527
STEPHENSON, CARTER
STEPHENSON, CATHERINE      PO BOX 428‐214                                                                                         EVERGREEN PK       IL   60805
STEPHENSON, CECIL J        607 SHAFER ST                                                                                          CHESTERFIELD       IN   46017‐1724
STEPHENSON, CHARLES E      917 W MOORE AVE                                                                                        STILLWATER         OK   74075‐2755
STEPHENSON, CHARLES L      4232 S KESSLER FREDERICK RD                                                                            WEST MILTON        OH   45383‐9704
STEPHENSON, CHARLES M      23585 OLIVER CT                                                                                        SOUTHFIELD         MI   48033‐3107
STEPHENSON, CHARLIE B      2721 BURTZ DR                                                                                          MARIETTA           GA   30068‐3606
STEPHENSON, CHARLIE M      19924 KENTUCKY                                                                                         DETROIT            MI   48221‐1137
STEPHENSON, CLAUDE G       5388 N VALENTINE AVE APT 101                                                                           FRESNO             CA   93711‐2689
STEPHENSON, CRAIG A        20802 S AMBER WILLOW TRL                                                                               CYPRESS            TX   77433‐5997
STEPHENSON, DANIEL A       7925 SMITHS CREEK RD                                                                                   WALES              MI   48027‐3914
STEPHENSON, DANIEL E       7885 PERRY LAKE RD                                                                                     CLARKSTON          MI   48348‐4644
STEPHENSON, DANNY J        209 EAST DR                                                                                            PLAINFIELD         IN   46168‐1807
STEPHENSON, DAVID          419 W FOSTER MAINEVILLE RD                                                                             MAINEVILLE         OH   45039‐8099
STEPHENSON, DAVID          419 W.FOSTER‐MAINEVILLE RD.                                                                            MAINEVILLE         OH   45039‐8061
STEPHENSON, DAVID A        19389 CANTERBURY RD                                                                                    DETROIT            MI   48221‐1807
STEPHENSON, DAVID L        885 N 700 E                                                                                            FRANKLIN           IN   46131‐8243
STEPHENSON, DAVID L        2216 S ANDREWS RD                                                                                      YORKTOWN           IN   47396‐1416
STEPHENSON, DAVID P        35823 SPRINGVALE ST                                                                                    FARMINGTON HILLS   MI   48331‐1353
STEPHENSON, DEBORAH A      3117 S RD 400 E                                                                                        KOKOMO             IN   46902
STEPHENSON, DENNIS J       6396 CHICAGO RD                                                                                        FLUSHING           MI   48433‐9004
STEPHENSON, DENNIS JAMES   6396 CHICAGO RD                                                                                        FLUSHING           MI   48433‐9004
STEPHENSON, DON            SIMMONS FIRM                        PO BOX 521                                                         EAST ALTON         IL   62024‐0519
STEPHENSON, DONALD         C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                             EDWARDSVILLE       IL   62025
                           ROWLAND PC
STEPHENSON, DONALD R       1904 WILSHIRE DR                                                                                       PIQUA              OH   45356‐4469
STEPHENSON, DONNA J        18841 26 1/2 MILE ROAD                                                                                 ALBION             MI   49224‐8545
STEPHENSON, DORIS J        317 SUMMIT ST                                                                                          LEBANON            OH   45036‐1947
STEPHENSON, DOROTHY A      195 SOUTH ROSLYN ROAD                                                                                  WATERFORD          MI   48328‐3554
STEPHENSON, DOROTHY J      123 STEPHENSON LN                                                                                      STEWART            TN   37175‐7028
STEPHENSON, DOUGLAS N      3014 BEECHER RD                                                                                        FLINT              MI   48503‐4902
STEPHENSON, EDNA M.        5171 W SIMS LN                                                                                         MONROVIA           IN   46157‐9152
STEPHENSON, EDNA M.        5171 W. SIMS LN.                                                                                       MONROVIA           IN   46157‐9152
STEPHENSON, EDWARD E       309 VAN SULL ST                                                                                        WESTLAND           MI   48185‐3694
STEPHENSON, ESTHER L       PO BOX 57                                                                                              AMBOY              IN   46911‐0057
STEPHENSON, ETHAN          315 W 1175 N APT 23                                                                                    CEDAR CITY         UT   84721‐9395
STEPHENSON, ETHAN          C/O COLORADO CASUALTY               ATTN: MAGGI DRUMMOND     1315 N HIGHWAY DR                         FENTON             MO   63026
STEPHENSON, FRANK          874 WABEDO SPRINGS RD NE N                                                                             LONGVILLE          MN   56655
STEPHENSON, GARY B         195 S ROSLYN RD                                                                                        WATERFORD          MI   48328‐3554
STEPHENSON, GARY L         2316 E LOWER SPRINGBORO RD                                                                             WAYNESVILLE        OH   45068‐9336
STEPHENSON, GARY O         8908 HICKORY KNOLL BLVD                                                                                FORT WAYNE         IN   46825‐2280
STEPHENSON, GEORGE E       330 FIRST AVENUE EAST                                                            SHELBURNE ON CANADA
                                                                                                            L0N1S2
STEPHENSON, GEORGIA C      PO BOX 32                                                                                              MEXICO             IN   46958‐0032
STEPHENSON, GLADYS L       1201 GRAIN ELEVATOR RD                                                                                 LUCEDALE           MS   39452
STEPHENSON, GLADYS L       PO BOX 535                                                                                             MIDDLETOWN         DE   19709‐0535
STEPHENSON, GREGORY A      4625 VILLAGE DR                                                                                        ANDERSON           IN   46012‐9718
STEPHENSON, GREGORY W      5201 S. COCKRELL HILL RD                                                                               DALLAS             TX   75236
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Name                       Address1                         Address2                        Address3   Address4             City              State Zip
STEPHENSON, GROVENE        1008 FAUROT AVE                                                                                  LIMA               OH 45805‐3218
STEPHENSON, GUY R          17562 TUSCANY LN.                                                                                CORNELIUS          NC 28031‐8052
STEPHENSON, HAL W          504 AUGUSTA DR                                                                                   ROCHESTER HILLS    MI 48309‐1528
STEPHENSON, HAROLD E       6141 ROCHESTER RD                                                                                TROY               MI 48085‐1374
STEPHENSON, HELEN L        70 COUNTY ROAD 281                                                                               SULLIVAN           OH 44880‐9729
STEPHENSON, HENRY W        8108 MILAN AVE                                                                                   SAINT LOUIS        MO 63130‐1242
STEPHENSON, HERBERT E      6213 SPLITROCK TRL                                                                               APEX               NC 27539‐9778
STEPHENSON, JACKIE L       4807 E 250 N                                                                                     ANDERSON           IN 46012‐9292
STEPHENSON, JACQUELINE M   2004 TIMBERVILLE DR                                                                              OKEMOS             MI 48864
STEPHENSON, JAMES D        106 S MEAD ST                                                                                    SAINT JOHNS        MI 48879‐1961
STEPHENSON, JAMES J        1704 MOULIN AVE                                                                                  MADISON HTS        MI 48071‐4837
STEPHENSON, JAMES W        N64W24174 IVY AVE                                                                                SUSSEX             WI 53089‐3089
STEPHENSON, JAY A          7 JENNINGS TER                                                                                   BRISTOL            CT 06010‐4904
STEPHENSON, JEAN           EDDY D. MANZOCCO                 176 UNIVERSITY AVE WEST SUITE              WINDSOR ON N9A 5P1
                                                            900                                        CANADA
STEPHENSON, JEFFREY D      510 E CENTRAL AVE                                                                                MIAMISBURG        OH   45342‐2811
STEPHENSON, JEFFREY D      6219 N LONDON AVE                APT I                                                           KANSAS CITY       MO   54151‐4789
STEPHENSON, JEFFREY S      430 HILL ST                                                                                      PORTLAND          MI   48875‐1826
STEPHENSON, JEREMY L       121 MING ST                                                                                      WARRENSBURG       MO   64093‐2319
STEPHENSON, JESSICA L      2606 PALMETTO DR                                                                                 BOSSIER CITY      LA   71111‐2031
STEPHENSON, JESSICA L.     2606 PALMETTO DR                                                                                 BOSSIER CITY      LA   71111‐2031
STEPHENSON, JOANN H        715 SPRING AVE                                                                                   NILES             OH   44446‐2957
STEPHENSON, JOE E          303 E 5TH ST                                                                                     SHERIDAN          IN   46069‐1321
STEPHENSON, JOHN C         12389 CRABAPPLE LN                                                                               GRAND LEDGE       MI   48837‐8952
STEPHENSON, JOHN R         4646 DRIFTWOOD LN                                                                                YOUNGSTOWN        OH   44515‐4831
STEPHENSON, JON W          18841 26 1/2 MILE RD                                                                             ALBION            MI   49224‐8545
STEPHENSON, JOYCE I        6549 N 100 E                                                                                     OSSIAN            IN   46777‐9668
STEPHENSON, JULIA R        3731 BITTERSWEET DR                                                                              COLUMBIAVILLE     MI   48421‐8742
STEPHENSON, JULIE A        2823 SOUTHEAST 240TH STREET                                                                      LATHROP           MO   64465‐8270
STEPHENSON, JULIE A        2823 SE 240TH ST                                                                                 LATHROP           MO   64465‐8270
STEPHENSON, KAREN D        4780 JASMINE CT                                                                                  YPSILANTI         MI   48197‐7479
STEPHENSON, KAYE ANN       475 N 11TH ST                                                                                    MIDDLETOWN        IN   47356‐1230
STEPHENSON, KAYE ANN       475 N. 11TH STREET                                                                               MIDDLETOWN        IN   47356‐1230
STEPHENSON, LEROY F        PO BOX 327                                                                                       ANDERSON          IN   46015‐0327
STEPHENSON, LESLIE D       2901 RUSSELL RD                                                                                  ARLINGTON         TX   76001‐6918
STEPHENSON, LILLIE         815 N LINVILLE ST                                                                                WESTLAND          MI   48185‐3445
STEPHENSON, LOIS E         1904 WILSHIRE DR                                                                                 PIQUA             OH   45356‐4469
STEPHENSON, LOUIS          421 RAWLINS MILL RD                                                                              BEDFORD           IN   47421‐7649
STEPHENSON, M EILEEN       2512 BITTERSWEET AVE                                                                             MCHENRY           IL   60051‐9320
STEPHENSON, M G            690 STATE ST/IND MASONIC HOME                                                                    FRANKLIN          IN   46131
STEPHENSON, MARGARET H     2004 N WESTBROOK DR                                                                              MUNCIE            IN   47304‐9782
STEPHENSON, MARIAN K       504 HAWLEY ST                                                                                    LOCKPORT          NY   14094‐2153
STEPHENSON, MARIE B        2512 MISTY LN                                                                                    DAVISON           MI   48423‐8368
STEPHENSON, MARIE BOSTIC   2512 MISTY LN                                                                                    DAVISON           MI   48423‐8368
STEPHENSON, MARION D       306 E 7TH ST BOX 125                                                                             LAPEL             IN   46051
STEPHENSON, MARK E         2015 W 500 N                                                                                     HARTFORD CITY     IN   47348‐9575
STEPHENSON, MARTHA H       5124 PREAKNESS CT WILLOWLAC CR                                                                   MUNCIE            IN   47304
STEPHENSON, MARY A         52370 WASHINGTON                                                                                 NEW BALTIMORE     MI   48047‐1504
STEPHENSON, MARY A         132 CONRADT AVE                                                                                  KOKOMO            IN   46901‐5254
STEPHENSON, MAUREEN E.     84 WELLINGTON AVE                                                                                TONAWANDA         NY   14223‐2843
STEPHENSON, MAVIS M        5303 HIGHLAND SHORE DR                                                                           FLUSHING          MI   48433‐2406
STEPHENSON, MELBA C        22490 MULEBARN RD                                                                                SHERIDAN          IN   46069‐9137
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Name                     Address1                       Address2                      Address3   Address4         City            State Zip
STEPHENSON, MICHAEL B    3522 E 1000 N                                                                            ALEXANDRIA       IN 46001‐8477
STEPHENSON, MINNIE E     PO BOX 113                                                                               RUSSELLVILLE     AL 35653‐0113
STEPHENSON, NANCY A.     42315 BRENTWOOD DR                                                                       PLYMOUTH         MI 48170‐2534
STEPHENSON, NATHAN       133 CHAMBERLAIN ST                                                                       PONTIAC          MI 48342‐1475
STEPHENSON, NELS M       710 MAPLECREST AVE                                                                       KOKOMO           IN 46902‐3342
STEPHENSON, OREEVE       4724 14ST EAST                                                                           TUSCALOOSA       AL 35404‐4504
STEPHENSON, OREEVE       4724 14TH ST E                                                                           TUSCALOOSA       AL 35404‐4504
STEPHENSON, PAMELA A     52660 COULTER CT                                                                         NEW BALTIMORE    MI 48047‐6503
STEPHENSON, PATRICK K    801 LONSVALE DR                                                                          ANDERSON         IN 46013‐3220
STEPHENSON, PATSY H      1070 E 700 N                                                                             FORTVILLE        IN 46040‐9723
STEPHENSON, PAUL G       211 MARCY AVE                                                                            PENDLETON        IN 46064‐8805
STEPHENSON, PEGGY L      904 E SPRAKER ST                                                                         KOKOMO           IN 46901‐2440
STEPHENSON, PHILIP J     801 E ADAMS ST                                                                           MUNCIE           IN 47305‐2609
STEPHENSON, PHILLIP E    1219 WOODWARD ST                                                                         LAPEL            IN 46051‐9794
STEPHENSON, PRENTICE L   18648 REVERE ST                                                                          DETROIT          MI 48234‐1730
STEPHENSON, RACHEL E     234 DORWIN RD                                                                            WEST MILTON      OH 45383‐1601
STEPHENSON, RALPH J      1744 PARKWAY DR N                                                                        MAUMEE           OH 43537‐2617
STEPHENSON, RICHARD A    2369 DOUBLE BRANCH RD                                                                    COLUMBIA         TN 38401‐6165
STEPHENSON, RICHARD J    491 HELMAND                                                                              ROCHESTER HLS    MI 48307‐2644
STEPHENSON, RICKEY       1544 EASY ST                                                                             SHREVEPORT       LA 71101‐5219
STEPHENSON, RICKY F      7980 HWY 63                                                                              RUSSELLVILLE     AL 35653
STEPHENSON, ROBERT       5789 SUSANNE DR                                                                          LOCKPORT         NY 14094‐6531
STEPHENSON, ROBERT A     114 E WASHINGTON ST                                                                      CHAGRIN FALLS    OH 44022‐2919
STEPHENSON, ROBERT A     2823 SE 240TH ST                                                                         LATHROP          MO 64465‐8270
STEPHENSON, ROBERT A     2823 SOUTHEAST 240TH STREET                                                              LATHROP          MO 64465‐8270
STEPHENSON, ROBERT D     521 W TAYLOR ST                                                                          KOKOMO           IN 46901‐4416
STEPHENSON, ROBERT D     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                        STREET, SUITE 600
STEPHENSON, ROBERT F     110 CONCORD DR                                                                           COLUMBIA        TN   38401‐7200
STEPHENSON, ROBERT K     PO BOX 154                                                                               HGHTN LK HTS    MI   48630‐0154
STEPHENSON, ROBERT L     20508 EDGEWOOD RD                                                                        ATHENS          AL   35614‐5500
STEPHENSON, ROBERT L     3231 W 53RD ST                                                                           ANDERSON        IN   46011‐9460
STEPHENSON, ROBERT M     178 DOGWOOD DR                                                                           WARREN          IN   46792‐9260
STEPHENSON, ROBERT M     602 YANCEY RD                                                                            ARNOLDSVILLE    GA   30619‐1516
STEPHENSON, ROBERT P     2376 NORTON RD                                                                           ROCHESTER HLS   MI   48307‐3766
STEPHENSON, ROGER D      806 BIRCHWOOD DR                                                                         SANDUSKY        OH   44870‐6305
STEPHENSON, ROGER D      1021 OAKWOOD RD                                                                          ORTONVILLE      MI   48462‐8650
STEPHENSON, RONALD L     HASLER & MAYNARD               334 W 8TH ST                                              ANDERSON        IN   46016‐1310
STEPHENSON, ROY          3136 BEECHWOOD AVE                                                                       FLINT           MI   48506‐3043
STEPHENSON, RUSSELL L    3716 TRIVILLO RD.                                                                        MORROW          OH   45152‐9610
STEPHENSON, RUSSELL L    3716 TROVILLO RD                                                                         MORROW          OH   45152‐9610
STEPHENSON, RUTH L       359 BUSH AVE                                                                             GRAND BLANC     MI   48439‐1114
STEPHENSON, SAMUEL C     5519 FERNPARK AVE                                                                        BALTIMORE       MD   21207‐6814
STEPHENSON, SAMUEL P     1906 CENTER CIR                                                                          DARIEN          IL   60561‐4302
STEPHENSON, SARAH        ADDRESS NOT IN FILE
STEPHENSON, SARAH J      6396 CHICAGO RD                                                                          FLUSHING        MI   48433‐9004
STEPHENSON, SARAH JANE   6396 CHICAGO RD                                                                          FLUSHING        MI   48433‐9004
STEPHENSON, SHARON A     20508 EDGEWOOD RD                                                                        ATHENS          AL   35614‐5500
STEPHENSON, SHERRI J     189 AZALEA CHASE DRIVE                                                                   SUWANEE         GA   30024‐3911
STEPHENSON, STANLEY L    89 COUNTRY ROAD 35                                                                       MOUNT HOPE      AL   35651
STEPHENSON, STEVEN       WILENTZ GOLDMAN & SPITZER      PO BOX 10                                                 WOODBRIDGE      NJ   07095‐0958
STEPHENSON, STEWART D    1920 LOBDELL ST                                                                          FLINT           MI   48507‐1422
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Name                                    Address1                        Address2                        Address3   Address4         City             State Zip
STEPHENSON, STEWART W                   1331 BALLARD RD                                                                             SEAGOVILLE        TX 75159‐4509
STEPHENSON, STEWART WILSON              1331 BALLARD RD                                                                             SEAGOVILLE        TX 75159‐4509
STEPHENSON, TEDDY L                     D. NEAL TOMLINSON               3883 H HUGHES PKWY # 1100                                   LAS VEGAS         NV 89169
STEPHENSON, TESSIE V                    1912 MARSHALL ST                                                                            ELDORADO           IL 62930‐1532
STEPHENSON, THOMAS A                    1794 ALLARD AVE                                                                             GROSSE POINTE     MI 48236‐1902
STEPHENSON, VICTORIA L                  PO BOX 629                                                                                  INTERLACHEN       FL 32148‐0629
STEPHENSON, VICTORIA L                  2316 EAST LOWER SPRINGBORO RD                                                               WAYNESVILLE       OH 45068‐5068
STEPHENSON, VICTORIA L                  2316 E LOWER SPRINGBORO RD                                                                  WAYNESVILLE       OH 45068‐9336
STEPHENSON, W A                         5669 BOWMILLER RD                                                                           LOCKPORT          NY 14094‐9050
STEPHENSON, WILBUR D                    726 BELZER DR                                                                               ANDERSON          IN 46011‐2002
STEPHENSON, WILLIAM E                   3727 OAKLAWN DR APT D                                                                       ANDERSON          IN 46013‐4951
STEPHENSON, WILLIAM E                   1707 HENRY AVE                                                                              BELOIT            WI 53511‐3711
STEPHENSON, WILLIAM H                   147 DEER POINT RD                                                                           UNIONVILLE        TN 37180‐8691
STEPHENSON, WILLIAM R                   421 AEOLIA DR                                                                               AUBURN            CA 95603‐4910
STEPHENSON, WILLIE J                    PO BOX 317833                                                                               CINCINNATI        OH 45231‐7833
STEPHENSON, WYKEYMA YOLONDA             691 DESOTA PL                                                                               PONTIAC           MI 48342‐1619
STEPHENSON,CHARLES L                    4232 S KESSLER FREDERICK RD                                                                 WEST MILTON       OH 45383‐9704
STEPHENY PONIEWIERSKI                   14393 RAMBLEWOOD STREET                                                                     LIVONIA           MI 48154‐5336
STEPHENY STEPHEN                        7100 HASKELL LAKE RD                                                                        MARION            MI 49665‐9553
STEPHERSON ALVIN (ESTATE OF) (643107)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                                        PROFESSIONAL BLDG
STEPHERSON, ALVIN                       BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD       OH 44067
                                                                        PROFESSIONAL BLDG
STEPHERSON, JACQUELINE D                2278 HINDE RD                                                                               TOLEDO           OH   43607‐3515
STEPHERSON, LAURA A                     1225 VO TECH DR                                                                             FITZGERALD       GA   31750
STEPHERSON, PAUL                        1225 VO TECH DR                                                                             FITZGERALD       GA   31750‐6534
STEPHERSON, SUSIE J                     23844 BOHN RD                                                                               BELLEVILLE       MI   48111‐8903
STEPHERSON, WILLIAM J                   2245 WATKINS RD                                                                             COLUMBUS         OH   43207‐3449
STEPHEY, JIMMY A                        6544 ROAD 187                                                                               OAKWOOD          OH   45873‐9446
STEPHEY, MAE I                          5431 NE 35TH ST LOT 18                                                                      SILVER SPRINGS   FL   34488‐1713
STEPHEY, MICHAEL D                      210S JEFFERSON ST                                                                           MORESVILLE       IN   46158
STEPHEY, MICHAEL D                      210 S JEFFERSON ST                                                                          MOORESVILLE      IN   46138‐1714
STEPHEY, WILLIAM A                      20874 ROAD 82                                                                               PAULDING         OH   45879‐9727
STEPHEY, WILMA J                        418 PEARL ST APT C                                                                          COLUMBUS         IN   47201‐6822
STEPHIA G SMITH                         1528 SE 7TH ST                                                                              MOORE            OK   73160‐8235
STEPHIA SMITH                           1528 SE 7TH ST                                                                              MOORE            OK   73160‐8235
STEPHIE MATTSON                         175 MCINTOSH DR                                                                             BRISTOL          CT   06010‐3020
STEPHINEY YOPP                          1208 L ST APT 3                                                                             BEDFORD          IN   47421‐2946
STEPHISON, GILBERT L                    2615 AIRPORT RD                                                                             WATERFORD        MI   48329‐3302
STEPHNEY, SARITA                        2224 WARRIOR CIR                                                                            OKLAHOMA CITY    OK   73121‐2865
STEPHNEY, TYRONE                        3811 W COLUMBUS AVE UNIT 1                                                                  CHICAGO          IL   60652‐3789
STEPHNIE GANSER                         PO BOX 106                                                                                  PERRY            MI   48872‐0106
STEPHON JR, LOUIS R                     5944 QUAIL RUN DR                                                                           INDIANAPOLIS     IN   46237‐2724
STEPHON KENNEDY                         9227 RIDGELAND ST                                                                           SAN ANTONIO      TX   78250‐4025
STEPHON RODGERS                         101 LODGEPOLE CIR                                                                           LAFAYETTE        LA   70508‐6350
STEPHONIA DEL RAE                       621 DUMONT AVE                                                                              CAMPBELL         OH   44405‐2007
STEPHONS, LAMONT                        GUY WILLIAM S                   PO BOX 509                                                  MCCOMB           MS   39649‐0509
STEPHYN D MARTIN                        6371N STATE RD 1                                                                            PENNVILLE        IN   47369
STEPHYN MARTIN                          PO BOX 204                                                                                  PENNVILLE        IN   47369‐0204
STEPIEN CREATIVE SERVICES INC           327 ELMWOOD ST                  NAME CHNGE LOF 11/96                                        DEARBORN         MI   48124‐1603
STEPIEN STANLEY                         87 MIRY BROOK RD                                                                            HAMILTON         NJ   08690‐1641
STEPIEN, IRENE C                        6496 ARCHDALE                                                                               DETROIT          MI   48228‐3800
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Name                           Address1                       Address2                      Address3   Address4         City               State Zip
STEPIEN, IRENE C               6496 ARCHDALE ST                                                                         DETROIT             MI 48228‐3800
STEPIEN, WALENTY               6361 DRY HARBOR RD                                                                       MIDDLE VILLAGE      NY 11379‐1964
STEPIEN, WANDA B               9910 SAGE HILL WAY                                                                       ESCONDIDO           CA 92026
STEPKA, FREDERICK E            2459 CHESTNUT TERRACE                                                                    THE VILLAGES        FL 32162‐2044
STEPKE, AMANDA A               4450 WILDWOOD LOOP                                                                       CLARKSTON           MI 48348‐1461
STEPKOSKI, STACIA L            55 GOSINSKI PARK                                                                         TERRYVILLE          CT 06786‐6431
STEPLER, BONNIE E              2900 N APPERSON WAY TRLR 275                                                             KOKOMO              IN 46901
STEPLES STEVE                  PO BOX 121                                                                               CARTHAGE            MO 64836‐0121
STEPLETON, JOHN E              PO BOX 604                     9171 DEERFIELD DR                                         WESTFIELD CENTER    OH 44251‐0604
STEPLETON, JON E               PO BOX 689                                                                               WESTFIELD CTR       OH 44251‐0689
STEPLETON, MICHAEL L           36139 ROYCROFT ST                                                                        LIVONIA             MI 48154‐1909
STEPLIGHT, DIONNA M            15221 GROVEWOOD AVE                                                                      CLEVELAND           OH 44110‐1333
STEPLITUS, PAUL G              620 ELKINFORD                                                                            WHITE LAKE          MI 48383‐2927
STEPLITUS, PAUL GREGORY        620 ELKINFORD                                                                            WHITE LAKE          MI 48383‐2927
STEPMEY, EMMETT                PO BOX 3254                                                                              DETROIT             MI 48203‐0254
STEPNEY JR, ROBERT             12565 SHORESIDE DR                                                                       FLORISSANT          MO 63033‐5105
STEPNEY, RALPH N               APT D                          2575 TRINITY CIRCLE                                       COLORADO SPGS       CO 80918‐6952
STEPNIAK, DAVID C              PO BOX 830765                                                                            RICHARDSON          TX 75083‐0765
STEPNIOWSKI, ADAM              4815 RED MAPLE DR                                                                        WARREN              MI 48092‐4626
STEPNOSKI, AGNES T             2809 STATE ROAD 557                                                                      LAKE ALFRED         FL 33850‐2541
STEPNOSKI, AGNES T             C/O JUDITH A BEARD             2809 STATE ROAD 557                                       LAKE ALFRED         FL 33850
STEPNOWSKI WALTER C (472388)   WEITZ & LUXENBERG              180 MAIDEN LANE                                           NEW YORK            NY 10038
STEPNOWSKI, BETTY J            4064 HUFFMAN RD                                                                          MEDINA              OH 44256‐7923
STEPNOWSKI, BETTY J            4064 HUFFMAN                                                                             MEDINA              OH 44256
STEPNOWSKI, WACLAW             711 SEVILLE AVE                                                                          WILMINGTON          DE 19809‐2128
STEPNOWSKI, WALTER             WEITZ & LUXENBERG              180 MAIDEN LANE                                           NEW YORK            NY 10038
STEPONKUS, RONALD B            378 E RIVERVIEW RD                                                                       EDGERTON            WI 53534‐9015
STEPP BRAD                     41486 SESAME DRIVE                                                                       STERLING HTS        MI 48314‐4152
STEPP KATHERINE                16 PARAGON LANE                                                                          STAMFORD            CT 06905‐4425
STEPP MEREDITH E (439541)      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                              STREET, SUITE 600
STEPP SHANNON                  4650 ROMAN FOREST DR                                                                     OLIVE BRANCH       MS   38654‐9402
STEPP SHARON                   STEPP, SHARON                  44750 CRESTMONT DRIVE                                     CANTON             MI   48187
STEPP'S AUTO REPAIR            1018 NE 44TH ST                                                                          OAKLAND PARK       FL   33334‐3822
STEPP, ALEXANDER               139 LUCERNE BLVD                                                                         CHERRY HILL        NJ   08003‐5117
STEPP, ANDREA K                4707 SOUTHVIEW DR                                                                        ANDERSON           IN   46013‐4758
STEPP, ANDREW H                PO BOX 20031                                                                             CHICAGO            IL   60620‐0031
STEPP, ANGELA K                811 PARK RD                                                                              ANDERSON           IN   46011
STEPP, ANGELICA MARIE          2304 VICTOR AVE                                                                          LANSING            MI   48911
STEPP, ANGELINA A              7650 CHRISTIAN CIR                                                                       LAS VEGAS          NV   89131‐1454
STEPP, BETTY I                 1275 FLORENCE AVE                                                                        WATERFORD          MI   48328‐1215
STEPP, BEVERLY J               287 GETTYSBURG                                                                           COATESVIDLLE       IN   46121
STEPP, BRADLEY M               41486 SESAME DR                                                                          STERLING HEIGHTS   MI   48314‐4152
STEPP, BRUCE E                 1248 SLEEPY HOLLOW ROAD                                                                  VENICE             FL   34285‐6441
STEPP, CHARLES L               10455 S MERIDIAN RD                                                                      KEYSTONE           IN   46759‐9721
STEPP, CLETUS H                3470 BEECHGROVE RD                                                                       MORAINE            OH   45439‐1102
STEPP, DIXIE N                 2477 HWY 645                                                                             LOUISA             KY   41230
STEPP, EARLE H                 7650 CHRISTIAN CIR                                                                       LAS VEGAS          NV   89131‐1454
STEPP, EUNICE                  1214 MASSACHUSETTS AVE                                                                   LANSING            MI   48906‐4927
STEPP, FRANCIS R               5544 SWANNER RD                BERRY HILL MANOR                                          MILTON             FL   32570‐4069
STEPP, GAYLON D                5675 W MICHIGAN AVE                                                                      SAGINAW            MI   48638‐6375
STEPP, GAYLON DEWAYNE          5675 W MICHIGAN AVE                                                                      SAGINAW            MI   48638‐6375
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Name                      Address1                          Address2                      Address3   Address4         City              State Zip
STEPP, GOLDIE B           6055 HIGHWAY 70 W                                                                           BRUCETON           TN 38317‐7834
STEPP, HERMAN             GUY WILLIAM S                     PO BOX 509                                                MCCOMB             MS 39649‐0509
STEPP, HERMAN L           29 E BARTHMAN AVE                                                                           COLUMBUS           OH 43207‐1882
STEPP, HERSHEL D          403 N 11TH AVE                                                                              PARAGOULD          AR 72450‐3285
STEPP, HOWARD R           3887 MAYFAIR DR                                                                             GROVE CITY         OH 43123‐9015
STEPP, HULDA              4001 135TH STREET                                                                           SAVAGE             MN 55378‐2677
STEPP, HULDA              4001 W 135TH ST                                                                             SAVAGE             MN 55378‐2677
STEPP, J DALE             6433 E FARMINGTON RD                                                                        GAS CITY           IN 46933‐9503
STEPP, JASON L            3732 MARY ANN DR                                                                            LEBANON            OH 45036‐1011
STEPP, JERALD R           1066 GODDARD RD APT 7                                                                       LINCOLN PARK       MI 48146‐4450
STEPP, JIMMY D            6433 E FARMINGTON RD                                                                        GAS CITY           IN 46933‐9503
STEPP, JUNE M             762 GRACE HILL DR                                                                           CROSSVILLE         TN 38571‐1619
STEPP, KENNETH R          7782 O BRYAN PL                                                                             CENTERVILLE        OH 45459
STEPP, LARRY J            287 GETTYSBURG                                                                              COATESVILLE        IN 46121‐8957
STEPP, MARIE M            2322 2ND ST                                                                                 PLAINFIELD         IN 46168‐1819
STEPP, MARJORIE H         6512 LAKE FOREST                                                                            AVON               IN 46123
STEPP, MEREDITH E         C/O GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                            STREET, SUITE 600
STEPP, MICHAEL A          809 PEPPERMILL CIR                                                                          LAPEER            MI   48446‐2678
STEPP, MICHELE H          2912 CARDINAL LAKE DRIVE                                                                    DULUTH            GA   30096‐3936
STEPP, NANCY D            1525 INVERNESS ROAD                                                                         MANSFIELD         TX   76063‐2962
STEPP, NETTIE J           347 N HUNTINGTON ST                                                                         MEDINA            OH   44256‐1838
STEPP, RAYMOND O          351 W 30TH ST                                                                               INDIANAPOLIS      IN   46208‐5142
STEPP, REATHA M           25 PHEASANT RUN CIRCLE                                                                      SPRINGBORO        OH   45066‐1493
STEPP, ROBERT G           1878 5TH ST                                                                                 WYANDOTTE         MI   48192‐3917
STEPP, ROSALEE            4833 BARNHART AVE                                                                           DAYTON            OH   45432‐3305
STEPP, ROSALEE            4833 BANHART AVENUE                                                                         DAYTON            OH   45432‐3305
STEPP, ROY K              9811 POPLAR POINT RD                                                                        ATHENS            AL   35611‐6924
STEPP, SALLY E            15191 FORD ROAD APT# BG624                                                                  DEARBORN          MI   48126
STEPP, SANDRA H           809 RENAISSANCE POINTE APT 307                                                              ALTAMONTE SPG     FL   32714‐3534
STEPP, SANDRA H           P.O. BOX 1652                                                                               FULTON            KY   42041‐0652
STEPP, STANLEY E          702 HERITAGE LN                                                                             ANDERSON          IN   46013‐1419
STEPP, VERNON L           3501 GINGERSNAP LN                                                                          LANSING           MI   48911‐1517
STEPP, VIRGINIA M         219 MORNING CREEK CIRCLE                                                                    APOPKA            FL   32712‐8147
STEPP, WILLIAM R          455 SUMMIT BLVD                                                                             LAKE ORION        MI   48362‐2668
STEPPAN, ANTHONY R        20122 SHADOW MOUNTAIN RD                                                                    WALNUT            CA   91789‐1122
STEPPAN, JACK F           3671 EVE CIR APT M                                                                          MIRA LOMA         CA   91752‐1217
STEPPE DANNY E (482028)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                            STREET, SUITE 600
STEPPE JR, CARL           915 PLAINVIEW DR.                                                                           SHELBYVILLE       KY 40065‐1545
STEPPE JR, CARL           915 PLAINVIEW AVE                                                                           SHELBYVILLE       KY 40065‐1545
STEPPE, DANNY E           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                            STREET, SUITE 600
STEPPE, KAREN M           15486 DAYTON RD                                                                             MONROE            MI   48161
STEPPE, RUTH              915 PLAINVIEW DR.                                                                           SHELBYVILLE       KY   40065‐1545
STEPPE, RUTH              915 PLAINVIEW AVE                                                                           SHELBYVILLE       KY   40065‐1545
STEPPES, FLORA            50 REA‐CIRCLE                                                                               WARREN            AR   71671‐3023
STEPPEY, LLOYD J          54627 ASHFORD CT                                                                            SHELBY TOWNSHIP   MI   48316‐1295
STEPPKE, DANIEL H         3268 W 50TH ST                                                                              CLEVELAND         OH   44102
STEPPKE, MARJORIE         201 S GREENFIELD RD LOT 297                                                                 MESA              AZ   85206‐1237
STEPPKE, MARJORIE         201 S. GREENFIELD RD              LOT 297                                                   MESA              AZ   85206
STEPPS, CARL M            1763 VANCOUVER DR                                                                           DAYTON            OH   45406‐4622
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STEPTER, CASAUNDRA S         WALL & BULLINGTON               6881 PARC BRITTANY BLVD                                 NEW ORLEANS        LA 70126
STEPTER, CLEVE W             3701 STARLIGHT LN                                                                       LANSING            MI 48911‐1458
STEPTOE & JOHNSON            1330 CONNECTICUT AVE NW                                                                 WASHINGTON         DC 20036
STEPTOE & JOHNSON PLLC       PO BOX 2190                                                                             CLARKSBURG         WV 26302‐2190
STEPTRON TECHNOLOGIES INC    PO BOX 389                                                                              FRASER             MI 48026‐0389
STEPULKOSKI, JAMES G         17330 S HEMLOCK RD                                                                      OAKLEY             MI 48649‐9744
STEPULKOSKI, JAMES GERARD    17330 SOUTH HEMLOCK ROAD                                                                OAKLEY             MI 48649‐9744
STEPULKOSKI, JANET L         8302 CALKINS RD                                                                         FLINT              MI 48532
STEPULKOSKI, SALLY J         17330 S HEMLOCK RD                                                                      OAKLEY             MI 48649‐9744
STEPULKOSKI, SALLY JEAN      17330 S HEMLOCK RD                                                                      OAKLEY             MI 48649‐9744
STEPULLA, JOSEPH W           13653 BREEZY DR                                                                         STERLING HTS       MI 48313‐2808
STER, DENNIS L               1927 PHEASANT WAY                                                                       GREENWOOD          IN 46143‐8744
STERBA, THOMAS W             8744 SUNNINGDALE BLVD                                                                   INDIANAPOLIS       IN 46234‐1795
STERBENK, EDNA T             2165 OAKCREST DR                                                                        LAKEPORT           CA 95453‐3039
STERCO                       51328 ORO DR                                                                            SHELBY TWP         MI 48315‐2928
STERE, CARL R                369 STEWART ST                                                                          HUBBARD            OH 44425‐1514
STERE, LINDA P               450 SIMLER ST                                                                           HUBBARD            OH 44425‐1446
STEREICHLER JERRY            4007 PORTE DE PALMAS UNIT 66                                                            SAN DIEGO          CA 92122‐5113
STEREOGRAPHICS CORP          2171 FRANCISCO BLVD E STE G                                                             SAN RAFAEL         CA 94901‐5509
STEREOGRAPHICS CORPORATION   100 N CRESCENT DR STE 120                                                               BEVERLY HILLS      CA 90210‐5427
STERETT, BARBARA             7300 N MONA LISA RD APT 8146                                                            TUCSON             AZ 85741‐4518
STERETT, DOUGLAS C           40679 VILLAGE WOOD RD                                                                   NOVI               MI 48375‐4467
STERGALAS, SHIRLEY I         17764 QUARRY                                                                            RIVERVIEW          MI 48192‐4739
STERGALAS, SHIRLEY I         17764 QUARRY ST                                                                         RIVERVIEW          MI 48193‐4739
STERGAR, DONALD F            1227 MARIA CT                                                                           LADY LAKE          FL 32159‐5759
STERGIOS VOSKOPOULOS         AL MURJAN CENTER JUFFAIR                                             MANAMA BAHRAIN
STERGIOU, ERNEST S           4663 PINE TREE CT                                                                       WESTERVILLE       OH   43082‐8798
STERICYCLE INC               13975 W POLO TRAIL DR STE 102                                                           LAKE FOREST       IL   60045‐5119
STERICYCLE INC               1040 MARKET AVE SW                                                                      GRAND RAPIDS      MI   49503‐4836
STERICYCLE INC               13975 POLO TRL DR STE 201                                                               LAKE FOREST       IL   60045
STERING, PAUL V              25628 HASS ST                                                                           DEARBORN HTS      MI   48127‐3052
STERINO, NANCY               928 WOODBRIDGE CT                                                                       SAFETY HARBOR     FL   34695‐2951
STERK JR, JOSEPH J           108 S ACADEMY ST                                                                        JANESVILLE        WI   53548‐3766
STERK, ANN M                 43221 SAN MATEO WAY                                                                     HEMET             CA   92544‐5156
STERK, CORNELIUS J           70 SUNNYBROOK DR SW                                                                     GRANDVILLE        MI   49418‐2180
STERK, DEBORAH L             501 E FIR ST                                                                            SEQUIM            WA   98382‐3428
STERK, JAMIE L               2702 W STATE ST                                                                         JANESVILLE        WI   53546‐5400
STERK, JANET L.              PO BOX 749                                                                              JANESVILLE        WI   53547‐0749
STERK, JANET L.              P.O. BOX 749                                                                            JANESVILLE        WI   53547‐0749
STERK, LEO R                 5722 E CREEK RD                                                                         BELOIT            WI   53511‐8930
STERK, MARK A                1204 BROWN DR                                                                           MILTON            WI   53563‐3705
STERK, MATTHEW T             5224 HALLEY VIEW RUN                                                                    FORT WAYNE        IN   46814‐9500
STERK, MICHAEL A             108 S ACADEMY ST                                                                        JANESVILLE        WI   53548‐3766
STERK, PATRICIA J            5808 N WEST ROTAMER RD                                                                  MILTON            WI   53563‐9424
STERK, RICHARD A             1517 CRESTVIEW ST                                                                       JANESVILLE        WI   53546‐5892
STERK, ROGER A               4319 HUNTERS HILL RD                                                                    NORMAN            OK   73072‐3925
STERK, RONALD R              4281 HUNTINGTON AVE                                                                     JANESVILLE        WI   53546‐4246
STERK, ROSE E                4636 N FITZSIMMONS RD                                                                   JANESVILLE        WI   53548‐9008
STERK/ST. AUGUSTINE          10 MILTON ST                                                                            SAINT AUGUSTINE   FL   32084‐2114
STERKEL, JOHN P              1426 SIOUX LN                                                                           BURKBURNETT       TX   76354‐2832
STERKEL, ROBERT E            3030 EAGLE POINTE                                                                       GERING            NE   69341‐1574
STERKEN, CHARLES             1689 GARDEN VIEW DR                                                                     ZEELAND           MI   49464‐2134
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STERKEN, RICHARD L                   6192 N RIVERFIELD DR                                                                                  JANESVILLE             WI 53548‐9475
STERKENBURG, DOUGLAS                 2222 WRENWOOD ST SW                                                                                   WYOMING                MI 49519‐2325
STERL HUBER                          8910 E WINDSOR RD                                                                                     SELMA                  IN 47383‐9666
STERLACHINI RUSSELL R (439542)       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                     NORFOLK                VA 23510
                                                                           STREET, SUITE 600
STERLACHINI, RUSSELL R               GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                     NORFOLK               VA 23510‐2212
                                                                           STREET, SUITE 600
STERLEY DE VAULT                     1070 N GERBER RD                                                                                      MIO                   MI    48647‐8705
STERLIN INGRAM                       35672 HAWTHORNE DR                                                                                    ROMULUS               MI    48174
STERLIN, EMMANUEL                    25 SANHICAN DR                                                                                        TRENTON               NJ    08618‐5101
STERLING & SCHILLING PC              ATTN: RONALD F SCHILLING               2432 VINSETTA BLVD                                             ROYAL OAK             MI    48073‐3338
STERLING (SPI)/SHELB                 51370 CELESTE                                                                                         SHELBY TOWNSHIP       MI    48315‐2902
STERLING A BEVLY                     4841 SAMPSON DR                                                                                       YOUNGSTOWN            OH    44505‐‐ 12
STERLING ALFORD                      2700 S ANNABELLE ST                    APT 512                                                        DETROIT               MI    48217‐1157
STERLING ALLEN SR                    C/O WILLIAMS KHERKHER HART &           8441 GULF FREEWAY STE 600                                      HOUSTON               TX    77007
                                     BOUNDAS LLP
STERLING AUTO GROUP                  205 N EARL RUDDER FWY                                                                                 BRYAN                 TX    77802‐5006
STERLING AUTO WORKS                  125 FALTIN DR                                                                                         MANCHESTER            NH    03103‐5755
STERLING AVIATION                    5480 S HOWELL AVE                                                                                     MILWAUKEE             WI    53207‐6113
STERLING AVIATION LLC                5480 S HOWELL AVE                                                                                     MILWAUKEE             WI    53207‐6113
STERLING BANK                        3100 ROUTE 38                          PO BOX 5900                                                                          NJ    08054
STERLING BANK                        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 3100 ROUTE 38                PO BOX 5900                       MOUNT LAUREL          NJ    08054‐9756

STERLING BARRETT                     PO BOX 420586                                                                                         PONTIAC               MI    48342‐0586
STERLING BENEFITS GROUP LLC          3303 W SAGINAW ST                                                                                     LANSING               MI    48917‐2303
STERLING BOILER & MECHANICAL I       1420 KIMBER LN                        PO BOX 8004                                                     EVANSVILLE            IN    47715‐4025
STERLING BOILER & MECHANICAL INC     1420 KIMBER LN                                                                                        EVANSVILLE            IN    47715‐4025
STERLING BOILER AND MECHANICAL INC   KEN WAHL                              1420 KIMBER LN                                                  EVANSVILLE            IN    47715‐4025

STERLING BREWER                      29231 MARIMOOR DR                                                                                     SOUTHFIELD            MI 48076‐5234
STERLING C HARPER                    21500 W 14 MILE RD                                                                                    BLOOMFIELD TOWNSHIP   MI 48301‐4003
STERLING CENTURY INC.
STERLING CHASE                       BEVAN & ASSOCIATES LPA INC            6555 DEAN MEMORIAL PARKWAY                                      BOSTON HEIGHTS        OH    44236
STERLING CHEVROLET                   BARRY ENNESSY                         1824 LOCUST ST                                                  STERLING              IL    61081‐1102
STERLING CHEVROLET INC.              1824 LOCUST ST                                                                                        STERLING              IL    61081‐1102
STERLING CHEVROLET, INC.             46990 HARRY BYRD HWY                                                                                  STERLING              VA    20164‐1816
STERLING CHEVROLET, INC.             J. BURKE O'MALLEY                     46990 HARRY BYRD HWY                                            STERLING              VA    20164‐1816
STERLING COACH
STERLING COLLEGE                     ATTN: BUSINESS OFFICE                 PO BOX 98                                                       STERLING               KS   67579‐0098
STERLING COLLEGE                     DIVISION OF CONTINUING EDUC                                                                           STERLING               KS   67579
STERLING COMMERCE‐73199              PO BOX 73199                                                                                          CHICAGO                IL   60673‐0001
STERLING DIE & ENGINEERING INC       15767 CLAIRE CT                                                                   BADEN‐WURTTENBERG
                                                                                                                       GERMANY
STERLING DIE/MACOMB                  15767 CLAIRE CT                                                                                       MACOMB                MI    48042‐4024
STERLING DIE/MACOMB                  15762 CLAIRE CT                                                                                       MACOMB                MI    48042‐4024
STERLING E TAULBEE                   1572 SILVERLAKE DR                                                                                    CENTERVILLE           OH    45458‐‐ 35
STERLING ECKHARDT                    19303 NEW TRADITION DR #141                                                                           SUN CITY WEST         AZ    85375
STERLING EMERGENCY SOLUTIONS         ATTN: CRAIG MOYER                     33 LLOYD ST                                                     NEWPORT               DE    19804‐2819
STERLING ENGINEERING INC             7539 19 MILE RD                                                                                       STERLING HEIGHTS      MI    48314‐3222
STERLING EXPRESS LTD                 PO BOX 1067                                                                                           VALPARAISO            IN    46384‐1067
STERLING FIRE & RESCUE CORP          1135 S BRACY AVE                                                                                      GREENVILLE            MI    48838‐9701
STERLING FLOWERS                     200 HARPER AVE                                                                                        DETROIT               MI    48202‐3571
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STERLING FREEMAN                   2207 W 3RD ST                                                                            CHESTER                PA 19013‐2519
STERLING GAFFORD                   2837 E FLINT CT                                                                          WEST BRANCH            MI 48661‐9796
STERLING GARRISON                  3455 HWY 16                                                                              GLENCOE                KY 41046
STERLING GUNZ                      2118 LINWAY DR                                                                           BELOIT                 WI 53511‐2720
STERLING HARGROVE                  4129 MOUNTWOOD RD                                                                        BALTIMORE              MD 21229‐1746
STERLING HARPER                    21500 W 14 MILE RD                                                                       BLOOMFIELD TOWNSHIP    MI 48301‐4003
STERLING HEIGHTS (CITY OF)         PO BOX 55000                                                                             DETROIT                MI 48255‐0001
STERLING HEIGHTS CITY TREASURER    40555 UTICA RD                                                                           STERLING HEIGHTS       MI 48313‐4083
STERLING HOWELL                    C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                HOUSTON                TX 77007
                                   BOUNDAS LLP
STERLING III, ALBERT L             1088 N OLD HIGHWAY 27                                                                    WINCHESTER            IN   47394‐8571
STERLING INC                       5200 WEST CLINTON AVE                                                                    MILWAUKEE             WI   53223
STERLING INC/MILWUKE               5200 W CLINTON AVE                                                                       MILWAUKEE             WI   53223‐4718
STERLING INDUSTRIAL SERVICES I     52421 SOUTHDOWN RD                                                                       SHELBY TWP            MI   48316‐3455
STERLING INDUSTRIAL SERVICES INC   52421 SOUTHDOWN RD                                                                       SHELBY TWP            MI   48316‐3455
STERLING INDUSTRIAL SERVICES INC   12832 E 9 MILE RD                                                                        WARREN                MI   48089‐2641
STERLING INN                       34911 VAN DYKE AVE                                                                       STERLING HTS          MI   48312‐4662
STERLING IPC                       2350 ENDRESS PL                                                                          GREENWOOD             IN   46143‐9772
STERLING J MERCIER                 11409 DORA DR                                                                            STERLING HEIGHTS      MI   48314‐1590
STERLING JACKSON                   1724 W GRAND BLVD                                                                        DETROIT               MI   48208‐1002
STERLING JAMISON                   2500 GAULT RD                                                                            NORTH JACKSON         OH   44451‐9710
STERLING JENNY                     C/O DTS REFUELING SYSTEMS LLC   1525 LIMA AVE                                            FINDLAY               OH   45840‐1431
STERLING JEWELERS                  375 GHENT RD                                                                             FAIRLAWN              OH   44333‐4601
STERLING JEWELERS                  CHERYL CORDEA                   375 GHENT RD                                             FAIRLAWN              OH   44333‐4601
STERLING JONES                     1827 S PATRIOT DR                                                                        YORKTOWN              IN   47396‐9000
STERLING JONES                     BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.           OH   44236
STERLING JR, ROBERT W              PO BOX 160                                                                               RISINGSUN             OH   43457‐0160
STERLING JR, ROBERT WAYNE          PO BOX 160                                                                               RISINGSUN             OH   43457‐0160
STERLING L MOORE                   PO BOX 153                                                                               MINERAL RIDGE         OH   44440‐0153
STERLING LAWSON                    1561 TOWNSHIP LINE RD                                                                    PLAINFIELD            IN   46168‐7517
STERLING LEE                       817 N CLINTON ST LOT 304                                                                 GRAND LEDGE           MI   48837‐1151
STERLING LOGISTICS INC             9165 PINE TREE CIR                                                                       GAINESVILLE           GA   30506‐4044
STERLING LOUKS                     12646 STRAWTOWN AVE                                                                      NOBLESVILLE           IN   46060‐6969
STERLING MANUFACTURING & ENGIN     7539 19 MILE RD                                                                          STERLING HEIGHTS      MI   48314‐3222
STERLING MANUFACTURING &           7539 19 MILE RD                                                                          STERLING HEIGHTS      MI   48314‐3222
ENGINEERIN
STERLING MAXFIELD                  3821 LAKESHORE DR                                                                        GLADWIN               MI   48624‐7805
STERLING MERCIER                   11409 DORA DR                                                                            STERLING HEIGHTS      MI   48314‐1590
STERLING METS LP                   ATTN CONTROLLER                 SHEA STADIUM                                             FLUSHING              NY   11368
STERLING MFG & ENG I               7539 19 MILE RD                                                                          STERLING HEIGHTS      MI   48314‐3222
STERLING MFG & ENG INC             7539 19 MILE RD                                                                          STERLING HEIGHTS      MI   48314‐3222
STERLING MITCHELL SR               6129 SE 58TH ST                                                                          OKLAHOMA CITY         OK   73135‐5478
STERLING MOORE                     PO BOX 153                                                                               MINERAL RIDGE         OH   44440‐0153
STERLING MULLINS                   8830 BROOKLINE AVENUE                                                                    PLYMOUTH              MI   48170‐4010
STERLING MURRY                     2228 CRESTLINE DR                                                                        BURTON                MI   48509‐1344
STERLING O JONES                   1827 S PATRIOT DRIVE                                                                     YORKTOWN              IN   47396‐9000
STERLING OFFICE SYSTEMS INC        50217 SCHOENHERR RD                                                                      SHELBY TWP            MI   48315‐3117
STERLING OIL & CHEMICAL CO INC     702 E 11 MILE RD                                                                         ROYAL OAK             MI   48067‐1964
STERLING OSWALT                    94 ANKARA AVE                                                                            BROOKVILLE            OH   45309‐1208
STERLING PAGE                      14110 NORTHEND AVE                                                                       OAK PARK              MI   48237‐2667
STERLING PCU                       2280 W DOROTHY LN                                                                        MORAINE               OH   45439‐1824
STERLING PERFORMANCE INC           54420 PONTIAC TRL                                                                        MILFORD               MI   48381‐4344
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Name                               Address1                         Address2                      Address3   Address4         City                State Zip
STERLING PHYSICIANS                36040 DEQUINDRE RD                                                                         STERLING HTS         MI 48310‐4239
STERLING PKG/WESTLAK               25800 FIRST STREET                                                                         WESTLAKE             OH 44145
STERLING PONTIAC BUICK GMC, INC.   MANUEL GONZALEZ                  205 N EARL RUDDER FWY                                     BRYAN                TX 77802‐5006
STERLING PONTIAC BUICK GMC, INC.   ATTN: MANUEL GONZALES            601 S TEXAS AVE                                           BRYAN                TX 77803‐3944
STERLING PRICE I I I               1322 ARROYO DR                                                                             YPSILANTI            MI 48197‐8949
STERLING PRODUCTS INC              6066 MILLETT AVE                                                                           STERLING HEIGHTS     MI 48312‐2640
STERLING PROMEASURE LLC            7539 19 MILE RD                                                                            STERLING HEIGHTS     MI 48314‐3222
STERLING PROMEASURE SYSTEMS INC    7539 19 MILE RD                                                                            STERLING HEIGHTS     MI 48314‐3222
STERLING ROBERT L SR (429876)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                                    STREET, SUITE 600
STERLING SCALE CO                  20950 BOENING DR                                                                           SOUTHFIELD          MI   48075‐5737
STERLING SCALE CO (INC)            20950 BOENING DR                                                                           SOUTHFIELD          MI   48075‐5737
STERLING SCALE CO INC              20950 BOENING DR                                                                           SOUTHFIELD          MI   48075‐5737
STERLING SCHOOL OF DRAFTING AND    ONE WESTBROOD CORPORATE CENTER                                                             WESTCHESTER         IL   60154
DESIGN
STERLING SCOTT                     3767 16TH ST                                                                               ECORSE              MI   48229‐1335
STERLING SERVICES INC              1080 NAUGHTON DR                                                                           TROY                MI   48083‐1910
STERLING SEWELL                    PO BOX 51                                                                                  FLIPPIN             AR   72634‐0051
STERLING SEWELL JR                 43460 ROBSON RD                                                                            BELLEVILLE          MI   48111‐1339
STERLING SMITH                     4865 PELTON RD                                                                             CLARKSTON           MI   48346‐3652
STERLING SMITH                     PO BOX 412                                                                                 LAPEL               IN   46051‐0412
STERLING STONE                     850 NELA VIEW RD                                                                           CLEVELAND HTS       OH   44112‐2351
STERLING SUP/FERNDLE               1220 E 9 MILE RD                 P.O. BOX 20160                                            FERNDALE            MI   48220‐1972
STERLING SUPPLY CO INC             1220 E 9 MILE RD                 PO BOX 20160                                              FERNDALE            MI   48220‐1972
STERLING TAULBEE                   1572 SILVER LAKE DR                                                                        CENTERVILLE         OH   45458‐3529
STERLING TECHNOLOGIES INC          2035 EASY ST                                                                               COMMERCE TOWNSHIP   MI   48390‐3223
STERLING TENANT                    558 S PINE ST                                                                              HEMLOCK             MI   48626‐9411
STERLING TOLSON                    PO BOX 12                                                                                  MONROE              OH   45050‐0012
STERLING WESLEY                    3984 COLUMBIA DR                                                                           BLOOMFIELD HILLS    MI   48302‐1264
STERLING WILLIAMS                  3456 SHAKERTOWN RD                                                                         ANTIOCH             TN   37013‐1002
STERLING, ALICE                    6133 E 400 S                                                                               COLUMBUS            IN   47201
STERLING, ANNIE D                  1007 SUNSET DR                                                                             ENGLEWOOD           OH   45322‐2252
STERLING, BERTHA                   1032 24TH ST                                                                               BEDFORD             IN   47421‐5006
STERLING, C F                      PO BOX 90258                                                                               BURTON              MI   48509‐0258
STERLING, CHRISTOPHER R            502 CRYSTAL CT                                                                             OSWEGO              IL   60543‐7937
STERLING, CLIFTON C                7103 PORTSMOUTH RD                                                                         BALTIMORE           MD   21244‐3432
STERLING, DALE W                   12221 WELLINGTON ST                                                                        GRAND BLANC         MI   48439‐1961
STERLING, DENNIS P                 1321 LOMAS VERDES                                                                          ROCHESTER HLS       MI   48306‐3954
STERLING, DOUGLAS R                6217 CORWIN STA                                                                            NEWFANE             NY   14108‐9745
STERLING, ELVIN                    1007 SUNSET DR                                                                             ENGLEWOOD           OH   45322‐2252
STERLING, FANTASIA                 902 W 10TH ST                                                                              CROWLEY             LA   70526‐3410
STERLING, FANTASIA                 MARCUS POULLIARD                 11305 ST. CHARLES AVE                                     NEW ORLEANS         LA   70130
STERLING, FLORENCE D               105 KERBY PKWY                                                                             FORT WASHINGTON     MD   20744‐4737
STERLING, FRANCIS G                1459 STEPNEY                                                                               NILES               OH   44446‐3735
STERLING, FRANCIS G                1459 STEPNEY ST                                                                            NILES               OH   44446‐3735
STERLING, GARY A                   1930 WOODS ST                                                                              OSCODA              MI   48750
STERLING, GARY B                   6578 PARKWOOD DR                                                                           LOCKPORT            NY   14094‐6614
STERLING, GEORGIE L                575 EASTON APT #1‐N                                                                        SOMERSET            NJ   08873‐1938
STERLING, GEORGIE L                575 EASTON AVE APT 1N                                                                      SOMERSET            NJ   08873‐1938
STERLING, GORDON A                 1210 EDMONSON CIR                                                                          NASHVILLE           TN   37211‐7231
STERLING, GUY                      137 W RUTGERS AVE                                                                          PONTIAC             MI   48340‐2759
STERLING, JAMES A                  4937 HADDINGTON DR                                                                         TOLEDO              OH   43623‐3960
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Name                                Address1                           Address2                      Address3   Address4            City              State Zip
STERLING, JAMES W                   5122 SCHOOL ST                                                                                  SWARTZ CREEK       MI 48473‐1221
STERLING, JANNIE L                  PO BOX 5454                                                                                     FLINT              MI 48505‐0454
STERLING, JESSICA
STERLING, JOAN A                    7103 PORTSMOUTH RD                                                                              WINDSOR MILL      MD   21244‐3432
STERLING, JOHN L                    4901 MCKEACHIE RD                                                                               WHITE LAKE        MI   48383‐1327
STERLING, JOSEPH J                  102 SUMMITT DR                                                                                  COLUMBIA          TN   38401‐6158
STERLING, JOSEPH J                  2470 PALOMAR CIR                   APT A7                                                       COLUMBIA          TN   38401‐6238
STERLING, KAREN D                   32524 E BALTIMORE CT                                                                            MILLSBORO         DE   19966‐4822
STERLING, KENNETH G                 1209 PECK RD                                                                                    HILTON            NY   14468‐9308
STERLING, MAMIE L                   305 GEISSLER ST                                                                                 LOCKPORT          IL   60441
STERLING, MARY                      2211 COUNTRY CLUB AVE NW APT 207                                                                HUNTSVILLE        AL   35816
STERLING, MICHAEL E                 2938 LEE MARIE DRIVE                                                                            ADRIAN            MI   49221
STERLING, MICHAEL E                 2928 LEE MARIE DRIVE                                                                            ADRIAN            MI   49221‐9832
STERLING, MICHAEL W                 3930 MOUNT VERNON DRIVE                                                                         BLOOMFIELD        MI   48301‐3226
STERLING, MYRTLE D                  34601 ELMWOOD ST APT 339                                                                        WESTLAND          MI   48185‐8146
STERLING, MYRTLE D                  2503 PITTSFIELD BLVD                                                                            ANN ARBOR         MI   48104‐5240
STERLING, REGINA                    4500 BAYMEADOWS RD APT 123                                                                      JACKSONVILLE      FL   32217‐5109
STERLING, REJA E                    4154 SUPREMES DR                                                                                DETROIT           MI   48201‐1529
STERLING, RICHARD A                 7308 NW 84TH TER                                                                                KANSAS CITY       MO   64153‐1708
STERLING, RICHMOND A                8167 BLISS ST                                                                                   DETROIT           MI   48234‐3331
STERLING, RITA M                    6559 GREEN ACRES                                                                                GLEN CARBON       IL   62034‐3252
STERLING, ROBERT G                  3200 SW BURRIS RD                                                                               BLUE SPRINGS      MO   64015‐4778
STERLING, ROBERT L                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510‐2212
                                                                       STREET, SUITE 600
STERLING, ROBERT L                  908 SIBLEY ST                                                                                   BAY CITY          MI   48706‐3859
STERLING, RODGER L                  11198 GRAMS RD                                                                                  MAYBEE            MI   48159‐9799
STERLING, ROY G                     1535 MURPHY DR                                                                                  ROCKWALL          TX   75087‐4647
STERLING, SARAH E                   BOX 292                            320 UNION ST                                                 RISING SUN        OH   43457‐0292
STERLING, SARAH E                   PO BOX 292                         320 UNION ST                                                 RISINGSUN         OH   43457‐0292
STERLING, SHARON                    12903 225TH RD                                                                                  LIVE OAK          FL   32060
STERLING, SHIRLEY A                 53262 AURORA PARK DRIVE                                                                         SHELBY TOWNSHIP   MI   48316
STERLING, SYLVIA MAE                5974 NW MASON RD                                                                                KIDDER            MO   64649‐9185
STERLING, SYLVIA MAE                5974 NW MANSON RD                                                                               KIDDER            MO   64649‐9185
STERLING, TERESA J                  1284 S VASSAR RD                                                                                BURTON            MI   48509‐2301
STERLING, TERESA JEWEL              1284 S VASSAR RD                                                                                BURTON            MI   48509‐2301
STERLING, THAD                      GUY WILLIAM S                      PO BOX 509                                                   MCCOMB            MS   39649‐0509
STERLING, URLA J                    553 CHARLOTTE AVE                                                                               HERMITAGE         PA   16148‐2960
STERLING, VIOLA MARIE               6047 GWYNN OAK AVE                                                                              BALTIMORE         MD   21207‐6001
STERLING, WILLARD A                 418 SOUTH 13TH STREET                                                                           ESCANABA          MI   49829‐3339
STERLING, WILLIAM C                 13720 CENTER ST LOT 16                                                                          WESTON            OH   43569‐9686
STERLING, WILLIS A                  718 N OAKLEY ST                                                                                 SAGINAW           MI   48602‐4581
STERLITZ, REBECCA T                 7081 NORTH CENTER ROAD                                                                          MOUNT MORRIS      MI   48458‐8826
STERMAN KAREN                       3118 IVEL DR                                                                                    ORLANDO           FL   32806‐6521
STERMAN, GREGORY W                  115 CAMPUS DR                                                                                   ROCHESTER         NY   14623‐5109
STERMER, THOMAS A                   2532 TRAVER BLVD                                                                                ANN ARBOR         MI   48105
STERMINSKI, ALEX                    16310 161ST KN SE                                                                               YELM              WA   98597
STERN AUTOMOTIVE                    SS 13 GMDAT                                                                 GMDAT ARUBA
STERN AUTOMOTIVE ENTERPRISES N.V.   SABANA BLANCO 35                                                            ORANJESTAD ARUBA

STERN RONALD                        2537 S RIDGE AVE                                                                                BULLHEAD CITY     AZ 86429‐7218
STERN SYLVIA COURT REPORTING        20560 CHARLTON SQ APT 212                                                                       SOUTHFIELD        MI 48076‐4062
STERN'S TIRE & AUTO                 1590 S MCCALL RD                                                                                ENGLEWOOD         FL 34223‐4899
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Name                                  Address1                        Address2                        Address3   Address4         City            State Zip
STERN, BETTY                          5 WOODHAVEN CT                                                                              BELLEVILLE        IL 62223‐4544
STERN, CLARISSA K                     11331 FLORINDO RD                                                                           SAN DIEGO        CA 92127‐1303
STERN, DEBORAH A                      18401 STATE HIGHWAY 180 APT 9                                                               GULF SHORES      AL 36542‐4110
STERN, DENNIS E                       14039 VALLEY VIEW DR                                                                        WHITE OAK        PA 15131‐4231
STERN, DIANE E                        279 PORTAL DR                                                                               CORTLAND         OH 44410‐1522
STERN, DONALD J                       N87W18143 QUEENSWAY ST                                                                      MENOMONEE FLS    WI 53051‐2503
STERN, DORIS J                        910 ELMHURST DR                                                                             KOKOMO           IN 46901‐1553
STERN, ELAINE                         4227 BOLTON RD                                                                              GASPORT          NY 14067‐9245
STERN, FLORENCE M                     1223 GENESEE PK BLVD                                                                        ROCHESTER        NY 14619‐1435
STERN, GARY D                         25 BIRMINGALE AVE                                                                           LAPEER           MI 48446‐2688
STERN, GEORGE B                       PO BOX 366                                                                                  NEWTON FALLS     OH 44444‐0366
STERN, HERMAN R                       3531 GREEN SPRING DRIVE                                                                     SAN ANTONIO      TX 78247
STERN, HOWARD                         1430 47TH ST                                                                                BROOKLYN         NY 11219‐2634
STERN, JASON E                        10185 PAMONA CT                                                                             FISHERS          IN 46038‐5515
STERN, JEFFREY A                      6505 ENCLAVE DRIVE                                                                          CLARKSTON        MI 48348‐4858
STERN, JOAN C                         3871 BENNETTS CORNERS RD                                                                    HOLLEY           NY 14470‐9702
STERN, JOHN A                         30 TETON CT                                                                                 LAFAYETTE        IN 47905‐4046
STERN, JOSEPH                         79 SHERRY LN                                                                                LEICESTER        NC 28748‐6481
STERN, KENNETH G                      315 MONET DR                                                                                NOKOMIS          FL 34275‐1358
STERN, LARRY W                        39538 ARDELL BLVD                                                                           NOVI             MI 48377‐3702
STERN, LOYAL D                        42 HARBOR BEND CT                                                                           LAKE ST LOUIS    MO 63367‐1337
STERN, LURINDA R                      11684 PETTENGER RD                                                                          ATLANTA          MI 49709
STERN, MARION                         871 E WALTON                                                                                PONTIAC          MI 48340‐1363
STERN, MARION                         871 E WALTON BLVD                                                                           PONTIAC          MI 48340‐1363
STERN, MARY C                         PO BOX 366                                                                                  NEWTON FALLS     OH 44444‐0366
STERN, PAUL                           36039 ZINNIA AVE                                                                            ZEPHYRHILLS      FL 33541‐8221
STERN, RAY J                          5422 BROWN CITY ROAD                                                                        BROWN CITY       MI 48416‐9348
STERN, RAYMOND C                      178 CLARENDON ST                                                                            ALBION           NY 14411‐1649
STERN, ROGER B                        11331 FLORINDO RD                                                                           SAN DIEGO        CA 92127‐1303
STERN, ROGER BENNETT                  11331 FLORINDO ROAD                                                                         SAN DIEGO        CA 92127‐1303
STERN, SALLY                          6016 HUNTERS CREEK RD                                                                       IMLAY CITY       MI 48444‐9716
STERN, SHIRLEY                        18 COMPRESSION CT                                                                           BALTIMORE        MD 21220‐3512
STERN, SUZANNE L                      10028 WESTLAKE ST                                                                           TAYLOR           MI 48180‐3262
STERN, THOMAS F                       2427 6TH ST                                                                                 SAINT CLOUD      FL 34769
STERN, THOMAS W                       PO BOX 60362                                                                                ROCHESTER        NY 14606‐0362
STERN, VIRGINIA E                     1431 ATTICA DRIVE                                                                           ST LOUIS         MO 63137‐1524
STERNADEL EDWARD (ESTATE OF) (643108) BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                                      PROFESSIONAL BLDG
STERNADEL, EDWARD                    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD      OH 44067
                                                                      PROFESSIONAL BLDG
STERNADEL, JOHN C                    28607 MISTLETOE AVE                                                                          WARSAW          MO   65355‐7003
STERNADEL, STEVE                     614 W MAIN ST                                                                                COLE CAMP       MO   65325
STERNAMAN, BARBARA K                 9610 CREEKSIDE CT                                                                            DAVISON         MI   48423‐3502
STERNAMAN, JOHN F                    220 LAFAYETTE BLVD                                                                           OWOSSO          MI   48867‐2015
STERNAMAN, WILLIAM                   2500 HUNTERS PT                                                                              KALAMAZOO       MI   49048
STERNBERG, JAMES H                   2104 HERON DR                                                                                LAKE WALES      FL   33859‐4822
STERNBERG, MARY B                    7447 KARLOV AVE                                                                              SKOKIE          IL   60076‐3813
STERNBERG, MARY R                    706 N ILLINOIS AVE                                                                           SALEM           IL   62881‐1107
STERNBERG, WILLIAM J                 420 CALLE MASTIL                                                                             SANTA BARBARA   CA   93111‐1729
STERNBERGH, THOMAS H                 6553 FLAMINGO DR                                                                             JACKSON         MI   49201
STERNDAHL                                                             11861 BRANFORD ST                                                           CA   91352
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Name                                   Address1                          Address2                      Address3   Address4         City                 State Zip
STERNE AGEE & LEACH C/F BOBBY F        BOBBY F WILLIAMS                  4628 HAWTHORNE RD                                         TIBBIE                AL 36583
WILLIAMS
STERNE AGEE & LEACH C/F JON R INGRAM   JON R INGRAM                      1486 CO RD 205                                            JEMISON              AL   35085
IRA
STERNE AGEE & LEACH C/F JUDY A MIMS    JUDY A MIMS                       635 COUNTY ROAD 114                                       RADOLPH              AL   36792

STERNE AGEE & LEACH C/F KEITH R MIMS   C/O KEITH R MIMS                  635 COUNTY ROAD 114                                       RANDOLPH             AL   36792

STERNE AGEE & LEACH C/F KELLY D MIMS   KELLY D MIMS                      105 COUNTY ROAD 241                                       CLANTON              AL   35045

STERNE AGEE & LEACH INC C/F JOHN W     JOHN W GANT JR                    3018 WEATHERTON CIRCLE                                    BIRMINGHAM           AL   35223‐2759
GANT JR R/O IRA
STERNE AGEE & LEACH INC. C/F WILLIAM C WILLIAM C. MARTIN III             1804 CHARLOTTE DR                                         HOOVER               AL   35226
MARTIN III IRA
STERNE AGEE & LEACH, INC C/F JED C     JED C MARTIN                      543 O'NEAL DR                                             BIRMINGHAM           AL   35226
MARTIN IRA
STERNE AGEE AND LEACH C/F PEGGY J      PEGGY J BUSH                      125 HIGHWOOD DR                                           HUEYTOWN             AL   35023
BUSH
STERNE AGEE C/F                        WILLIAM T BEALL IRA               PO BOX 3361                                               PINEVILLE            LA   71361‐3361
STERNE AGEE C/F                        ZELDA M BEALL IRA                 PO BOX 3361                                               PINEVILLE            LA   71361‐3361
STERNE AGEE LEACH INC C/F              CORA ANN JONES R/O IRA            PO BOX 463                                                BEEBE                AR   72012‐0463
STERNE JACK                            STERNE, JACK                      725 NW BROADWAY                                           BEND                 OR   97701
STERNE, AGEE & LEACH C/F LINDA G       LINDA G URQUHART                  1501 HARDWOOD COVE CIRCLE                                 BIRMINGHAM           AL   35242
URQUHART
STERNE, AGEE & LEACH C/F MARY N PATE 321 16TH AVE NW                                                                               BIRMINGHAM           AL   35215

STERNEMANN, JANE H                     9056 TINDALL RD                                                                             DAVISBURG            MI   48350‐1638
STERNEMANN, MICHAEL J                  9056 TINDALL RD                                                                             DAVISBURG            MI   48350‐1638
STERNEMANN, THEODORE R                 3713 TALLY HO DR                                                                            KOKOMO               IN   46902‐4450
STERNER, LEWIS R                       1101 KIMBERLY DR                                                                            SHREVEPORT           LA   71118‐3211
STERNER, MATTHEW T                     14 QUAY ST                                                                                  DANSVILLE            NY   14437‐1714
STERNER, ROBERT N                      317 PLUMB ST                                                                                MILTON               WI   53563‐1440
STERNER, RUTH A                        429 FELL ST                                                                                 BELLE VERNON         PA   15012‐1807
STERNER, RUTH E                        402 SHADY NOOK AVE                                                                          CATONSVILLE          MD   21228
STERNER, STEVE R                       509 WAYNE DR                                                                                SHREVEPORT           LA   71105‐4721
STERNER, TIMOTHY P                     916 E WOODRUFF AVE                                                                          HAZEL PARK           MI   48030‐1825
STERNER, WALDEMAR P                    8266 S COUNTRY CLUB CIR                                                                     FRANKLIN             WI   53132‐8532
STERNES I I I, GEORGE H                828 BIGFORK DR                                                                              ARLINGTON            TX   76001‐6144
STERNES III, GEORGE HENERY             828 BIGFORK DR                                                                              ARLINGTON            TX   76001‐6144
STERNES LANDRY, LORETTA                7612 CARRIAGE LN                                                                            FORT WORTH           TX   76112‐5418
STERNETT, HAROLD A                     295 PHELPS RD                                                                               DOUGLAS              GA   31533‐8259
STERNETT, PAUL W                       PO B0X 595                                                                                  BALDWIN              FL   32234
STERNIAK JR, EDMUND J                  1955 WEST ST                                                                                SOUTHINGTON          CT   06489‐1031
STERNIK, MICHAEL S                     2018 TOMAHAWK RD                                                                            OKEMOS               MI   48864‐2131
STERNISHA, PETER F                     7310 MILFORD RD                                                                             HOLLY                MI   48442‐8526
STERNISHA, PETER F.                    7310 MILFORD RD                                                                             HOLLY                MI   48442‐8526
STERNITZKE, GARY D                     1 OCEAN LN APT 1407                                                                         HILTON HEAD ISLAND   SC   29928‐7698
STERNITZKE, SHARON R                   APT 1407                          1 OCEAN LANE                                              HILTON HEAD          SC   29928‐7698
STERNITZKE, SHARON R                   1 OCEAN LN APT 1407                                                                         HILTON HEAD ISLAND   SC   29928‐7698
STERNLIB JOSEPH                        PO BOX 572437                                                                               TARZANA              CA   91357‐2437
STERNOT RAYMOND F (410891)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510
                                                                         STREET, SUITE 600
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Name                      Address1                            Address2                      Address3   Address4         City              State Zip
STERNOT, DELORES A        5692 ENCINA RD                                                                                GOLETA             CA 93117‐2308
STERNOT, RAYMOND F        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                              STREET, SUITE 600
STERNQUIST GARAGE, INC.   1823 W 3RD ST                                                                                 BOONE             IA   50036
STERNS                    3950 E ROBINSON RD STE 305                                                                    BUFFALO           NY   14228‐2044
STERNS TRANSPORT INC      PO BOX 397                                                                                    BRADLEY BEACH     NJ   07720‐0397
STERNS, HENRY R           158 EWINGVILLE RD                                                                             EWING             NJ   08638‐2422
STERNTHAL, ALTHEA C       6404 BUCKHEAD COURT                                                                           WESLEY CHAPEL     FL   33545‐3545
STEROPLE, JOSEPH R        PO BOX 603                                                                                    RHINEBECK         NY   12572‐0603
STERPHONE, ALFRED S       7 HOFFMAN DR                                                                                  CALIFON           NJ   07830‐4332
STERPHONE, JOSEPH         1 THORNTON ST                                                                                 HILLSBOROUGH      NJ   08844‐7007
STERPHONE, ROBERT A       1020 TOD AVE                                                                                  GIRARD            OH   44420‐1856
STERPIN, MARY             11431 S AVENUE J                                                                              CHICAGO           IL   60617‐7464
STERREN, MARGOT           68 1/2 ROSENEATH AVE                C/O ALICE S. MCCONNELL                                    NEWPORT           RI   02840‐3849
STERRETT, BETTY A         269 CATHERINE HEIGHTS RD                                                                      HOT SPRINGS       AR   71901‐8333
STERRETT, COLVIN R        122 WILLIS APT 1‐WEST                                                                         DETROIT           MI   48201
STERRETT, COLVIN R        15906 EASTWOOD ST                                                                             DETROIT           MI   48205‐2979
STERRETT, DAVID P         750 EDGEMONT BLVD APT 4                                                                       LANSING           MI   48917‐2222
STERRETT, FRED L          816 E COUNTY ROAD 400 N                                                                       GREENCASTLE       IN   46135‐8514
STERRETT, J.H. B          305 S CLEMENS AVE                                                                             LANSING           MI   48912‐2901
STERRETT, J.H. BRIAN      305 S CLEMENS AVE                                                                             LANSING           MI   48912‐2901
STERRETT, JR,HARLAN B     3511 REDWOOD DR                                                                               INDIANAPOLIS      IN   46227‐7066
STERRETT, OPAL I          520 SNOWBERRY CT                    C/O BETTY J HALLIBURTON                                   NOBLESVILLE       IN   46062‐8719
STERRETT, RUDAFORD R      1035 W ARNOLD LAKE RD.                                                                        HARRISON          MI   48625‐9743
STERRETT, RUSSELL D       8752 W OLD 67                                                                                 PARAGON           IN   46166‐9527
STERRETT, RUSSELL D       927 N ROCHESTER AVE                                                                           INDIANAPOLIS      IN   46222‐3471
STERRETT, SARA M          645 YOSEMITE DR                     C/O STEPHEN G GROVE                                       INDIANAPOLIS      IN   46217‐3961
STERRETT, TOBY J          1035 W ARNOLD LAKE RD                                                                         HARRISON          MI   48625‐9743
STERRITT, WILLIAM B       3200 N LAKE PLEASANT RD                                                                       LUM               MI   48412‐9201
STERRY, DAVID A           2104 GEORGIA DR                                                                               WESTLAKE          OH   44145‐1845
STERTZ, ELEANOR           1385 RISER DR                                                                                 SAGINAW           MI   48638‐5688
STERZIK, KALYN D          PO BOX 9022                         C/O RAYONG 80‐20                                          WARREN            MI   48090‐9022
STESIAK, ALVIN S          231 SPRINGBROOK DR NE                                                                         WARREN            OH   44484‐6028
STESIAK, BRIAN P          206 WOODBINE AVE SE                                                                           WARREN            OH   44483‐6033
STESKAL, CHRISTINE E
STESKAL, DEBORAH
STESKAL, RONALD           NARKIEWICZ LAW OFFICES              PO BOX 365                                                MONTGOMERYVILLE   PA   18936‐0365
STESLICK, ERNEST F        46822 BALBOA ROAD                                                                             CANTON            MI   48187‐1426
STESLICKI JR., FRANK A    3845 LAWNDALE                                                                                 DETROIT           MI   48210
STESLICKI, EUGENE F       23111 WILSON AVE                                                                              DEARBORN          MI   48128‐2809
STESNEY, MICHAEL D        6591 WHITETAIL DR                                                                             ALGER             MI   48610‐9427
STESZEWSKI, DENNIS A      64 TERRY LN                                                                                   BUFFALO           NY   14225‐1351
STESZEWSKI, IRENE M       67 STILLWELL AVE                                                                              KENMORE           NY   14217‐2121
STETKA, ANNE              4148 ELMWOOD AVE                    APT 210                                                   BERWYN            IL   60402
STETKEWYCZ, JULIA         4472 MCKINLEY AVE                                                                             WARREN            MI   48091‐1161
STETLER & DUFFY LTD       11 S LA SALLE ST STE 1200                                                                     CHICAGO           IL   60603‐1208
STETLER, GARY M           3696 HIGHWAY 178 N                                                                            FLIPPIN           AR   72634‐9691
STETLER, GARY M           628 TAYLOR DR                                                                                 LIBERTY           MO   64068‐1287
STETLER, JOHN C           6610 KING PIKE                                                                                W JEFFERSON       OH   43162‐9729
STETLER, MARY H           7674 CLIPPERT ST                                                                              TAYLOR            MI   48180‐2569
STETOR JULIE              8819 MARGO DR                                                                                 BRIGHTON          MI   48114
STETOR, JOSEPH M          8819 MARGO DR                                                                                 BRIGHTON          MI   48114‐8941
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Name                                   Address1                              Address2                       Address3   Address4         City           State Zip
STETS, ANDREW S                        2912 STEAM CORNERS RD RR 14                                                                      MANSFIELD       OH 44904
STETS, TINA
STETSON AUTO SALES                     1174 EASTERN ROAD ROUTE 131                                                                      WARREN         ME   04864
STETSON AUTO SALES                     STETSON, HOWARD B                     1174 EASTERN ROAD ROUTE 131                                WARREN         ME   04864
STETSON FRANCIS RONALD (455189)        WEITZ & LUXENBERG P.C.                180 MAIDEN LANE                                            NEW YORK       NY   10038
STETSON GREEN                          10684 GREEN APPLE RD                                                                             MIAMISBURG     OH   45342‐6230
STETSON N GREEN                        10684 GREEN APPLE RD                                                                             MIAMISBURG     OH   45342‐6230
STETSON, BEVERLY D                     18226 W COUNTY ROAD 1491                                                                         ALACHUA        FL   32615‐3160
STETSON, CHARLES W                     8988 CHURCH ST                                                                                   TUSCOLA        MI   48769
STETSON, ELIZABETH L                   C/O JUNE HECKART                      225 SAVAGE HILL RD                                         BERLIN         CT   06037‐6037
STETSON, ELIZABETH L                   225 SAVAGE HILL RD                    C/O JUNE HECKART                                           BERLIN         CT   06037‐3315
STETSON, FRANCIS RONALD                WEITZ & LUXENBERG P.C.                180 MAIDEN LANE                                            NEW YORK       NY   10038
STETSON, KAREN L                       9188 N ISLAND CT                                                                                 FLUSHING       MI   48433‐2917
STETSON, MICHAEL C                     7331 E RED HAWK ST                                                                               MESA           AZ   85207‐1819
STETTER JAMES P (ESTATE OF) (658453)   LIPSITZ & PONTERIO                    135 DELAWARE AVE , SUITE 506                               BUFFALO        NY   14202
STETTER, ANGELINE B                    33 SCHULTZ RD                                                                                    BUFFALO        NY   14224‐2515
STETTER, CAROL J                       1570 PIERCE ST                                                                                   BIRMINGHAM     MI   48009‐2002
STETTER, JAMES P                       LIPSITZ & PONTERIO                    135 DELAWARE AVE, SUITE 506                                BUFFALO        NY   14202‐2416
STETTLER, HEATH R                      6033 N 200 E                                                                                     HUNTINGTON     IN   46750‐8316
STETTLER, PAUL N                       412 MCLAUGHLIN AVE                                                                               INDIANAPOLIS   IN   46227‐5144
STETTLER, RICHARD J                    7543 MILL POND CIR                                                                               NAPLES         FL   34109‐1702
STETTNER, ERNEST R                     595 GILLETT RD                                                                                   SPENCERPORT    NY   14559‐2005
STETTNISCH, DONALD D                   RR 1 BOX 117                                                                                     BARNES         KS   66933‐9770
STETZ WILLIAM                          3363 RAYMOND AVE                                                                                 DEARBORN       MI   48124‐4343
STETZ, AGNES M                         5080 BALDWIN ROAD APT D1                                                                         HOLLY          MI   48442
STETZ, DANIEL J                        14974 CICOTTE AVE                                                                                ALLEN PARK     MI   48101‐3093
STETZ, DONALD A                        7601 LESWOOD CT                                                                                  FORT WAYNE     IN   46816‐2665
STETZ, DONALD N                        2279 SUNNY RIDGE DR                                                                              PINCKNEY       MI   48169
STETZ, GORDON M                        305 SANDY BEACH LN                                                                               OAKLAND        MD   21550‐7660
STETZ, JOHN                            4394 WICKFIELD DR                                                                                FLINT          MI   48507‐3757
STETZ, JOHN A                          2214 GEORGIA EDNA LN                                                                             PRESCOTT       MI   48756
STETZ, JOSEPH E                        3483 CLINTONVILLE RD                                                                             WATERFORD      MI   48329‐2227
STETZ, K                               11240 CHEYENNE TRL                    APT F                                                      CLEVELAND      OH   44130‐9022
STETZ, LAWRENCE J                      2184 RICHLAND AVE                                                                                LAKEWOOD       OH   44107‐6066
STETZ, MICHAEL J                       1682 SHERWOOD CT                                                                                 DEARBORN       MI   48124‐4073
STETZ, RON                             GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                               SAGINAW        MI   48604‐2602
                                                                             260
STETZ, WILLIAM T                       3363 RAYMOND AVE                                                                                 DEARBORN       MI   48124‐4343
STETZEL JR, DANIEL A                   23 STONEY PATH LN                                                                                ROCHESTER      NY   14626‐1713
STETZEL, DANIEL A                      537 DENISE RD                                                                                    ROCHESTER      NY   14616‐2714
STETZEL, MARK T                        35 SAINT JOHNS PARK                                                                              ROCHESTER      NY   14612
STETZEL, ROBERT A                      1608 ALDERSGATE LN                                                                               NEWBERG        OR   97132‐1112
STEUART BRICE                          1130 BRANNON DR                                                                                  GREENSBORO     GA   30642‐2518
STEUBE, NORBERT H                      1215 BOUCHARD AVE                                                                                JANESVILLE     WI   53546‐2648
STEUBEN COUNTY TREASURER               317 S WAYNE ST STE 2K                                                                            ANGOLA         IN   46703‐1958
STEUBENVILLE TRUCK CENTER, INC.        620 SOUTH ST                                                                                     STEUBENVILLE   OH   43952‐2802
STEUBENVILLE TRUCK CENTER, INC.        LARRY REMP                            620 SOUTH ST                                               STEUBENVILLE   OH   43952‐2802
STEUBER, ALBERT F                      101 MORTON MILLS LN                                                                              HERNDON        VA   20170‐4482
STEUBER, THOMAS E                      11150 GREENWOOD ST                    APT 122 GREENWOOD TER                                      LENEXA         KS   66215
STEUBING, MARK F                       2725 BAIRD RD                                                                                    FAIRPORT       NY   14450‐1225
STEUBING, RICHARD L                    117 NETTLECREEK RD                                                                               FAIRPORT       NY   14450‐3055
STEUCK, GERALD E                       7816 N JOHN PAUL RD                                                                              MILTON         WI   53563‐9257
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Name                       Address1                         Address2            Address3         Address4         City               State Zip
STEUDLE, CHRISTINE M       100 DAYTON ST APT B101                                                                 AURORA              CO 80010‐4433
STEUDLE, HERMAN J          1149 HILLPOINTE CIR                                                                    BLOOMFIELD HILLS    MI 48304‐1515
STEUER, JUANITA A          2724 FOUR WINDS PL                                                                     MOUNT PLEASANT      SC 29466
STEUER, RICHARD J          2724 FOUR WINDS PL                                                                     MT PLEASANT         SC 29466‐8646
STEUERNAGEL, MARY          236 NO HARVEST ST                                                                      AMHERST             NY 14221‐6642
STEUERNAGEL, MARY          236 N HARVEST ST                                                                       AMHERST             NY 14221‐6642
STEUERWALD, FLORENCE M     3448 WHITE EAGLE DR              C/O CRAIG TAYLOR                                      NAPERVILLE           IL 60564‐4621
STEUERWALD, FORREST L      9675 EAST 400 NORTH                                                                    BROWNSBURG          IN 46112
STEUERWALD, LILIANE        163 FIREWEED PL                                                                        CLAYTON             NC 27527‐4570
STEUPERT, JUERGEN P        8106 REMINGTON CT                                                                      CLARKSTON           MI 48348‐4478
STEURER III, ALBERT J      9589 CHERRYWOOD RD                                                                     CLARKSTON           MI 48348‐2507
STEURER, BETTY J           820 KELLOGG AVE APT 3                                                                  JANESVILLE          WI 53546‐2825
STEURER, JAMES R           10305 W GROVE SCHOOL RD                                                                BELOIT              WI 53511‐8353
STEURER, JENNIFER L        2040 RIVER VIEW DRIVE                                                                  JANESVILLE          WI 53546
STEURER, WENDELL D         4440 TANGLEWOOD DR                                                                     JANESVILLE          WI 53546‐3510
STEURI, JAMES F            602 1ST ST                                                                             BRODHEAD            WI 53520‐1096
STEURI, JOSEPH F           3927 S COUNTY ROAD T                                                                   BRODHEAD            WI 53520‐9703
STEURY, ANGELA J           6120 WEST FERGUSON ROAD                                                                FORT WAYNE          IN 46809‐9758
STEV FRAN/MOUND RD         40675 MOUND RD                                                                         STERLING HEIGHTS    MI 48310‐2263
STEVA MUCHA                1520 CEDARWOOD DR APT 335                                                              FLUSHING            MI 48433‐1865
STEVAN BRYAN               1623 HIGHWAY 80 E                                                                      CALHOUN             LA 71225‐9122
STEVAN DAVIS               172 ALBATROSS STREET                                                                   GWINN               MI 49841‐2715
STEVAN ENGLUND             5341 LOBDELL RD                                                                        FENTON              MI 48430‐9002
STEVAN KOCH                PO BOX 9022                      GM SOUTH AFRICA                                       WARREN              MI 48090‐9022
STEVAN LIPAJIC             3402 WALNUT AVE                                                                        NIAGARA FALLS       NY 14301‐2635
STEVAN MALONE              920 E 9TH ST                                                                           FLINT               MI 48503‐2783
STEVAN PANIN               5188 EVERGREEN DR                                                                      NORTH OLMSTED       OH 44070‐3074
STEVAN PIROCANAC           185 CEDAR MOUNTAIN DRIVE                                                               TRACY               CA 95376‐‐ 14
STEVAN RICHARDSON          6368 BREWER RD                                                                         FLINT               MI 48507‐4604
STEVAN SMITH               STEVAN SMITH                     1704 CARSON ST                                        ROCK SPRINGS        WY 82901‐6712
STEVANOVIC, RISTO T        1328 N BEECH DALY RD                                                                   DEARBORN HTS        MI 48127‐3454
STEVANOVIC, VELIMIR        26499 N DIXBORO RD                                                                     SOUTH LYON          MI 48178‐9104
STEVANOVIC, ZLATKO         6331 SEMINOLE DR                                                                       TROY                MI 48085‐1129
STEVANUS, ARLINE           804 EAST DR                                                                            SHEFFIELD LAK       OH 44054‐2016
STEVE
STEVE & BETTY LOU KULJIS   234 BAYSIDE DR                                                                         BELLINGHAM         WA   98225
STEVE & DELORA HEADLEY     7770 N ST LOUIS ST                                                                     CAVE CITY          AR   72521
STEVE A ARGAST, JR.        124 SPRINGHOUSE DR                                                                     ENGLEWOOD          OH   45322
STEVE A FATHERGILL         2863 WHITEHORSE AVE                                                                    KETTERING          OH   45420‐3922
STEVE A FRYMAN             PO BOX 24875                                                                           HUBER HEIGHTS      OH   45424‐0875
STEVE A HAGEDORN           58 E SHORE BLVD                                                                        EASTLAKE           OH   44095
STEVE A HONTO              753 N BECK RD                                                                          CANTON             MI   48187‐4808
STEVE A HOWELL             6215 RICK ST                                                                           YPSILANTI          MI   48197‐8233
STEVE A IACONO             217 DANDRIDGE DR                                                                       FRANKLIN           TN   37067‐4099
STEVE A KREGER             1522 BISCAYNE DR                                                                       TOLEDO             OH   43612‐4003
STEVE A MARCIANO           5591 BROOKHILL DR.                                                                     YORBA LINDA        CA   92886‐5608
STEVE A MILLS              3740 SEVILLE DR                                                                        FLORISSANT         MO   63033‐2831
STEVE A SKRIPY JR          330 S CRAWFORD RD                                                                      DEFORD             MI   48729‐9795
STEVE A VANWERT            910 N GRANT ST                                                                         BAY CITY           MI   48708‐6481
STEVE ABINGTON             2420 NW 1ST ST                                                                         BLUE SPRINGS       MO   64014‐1503
STEVE ABSTANCE             1129 MASON DR NW                                                                       HARTSELLE          AL   35640‐1767
STEVE ADAMS                7748 E MAHALASVILLE RD                                                                 MORGANTOWN         IN   46160‐9346
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Name                                Address1                          Address2                     Address3          Address4         City              State Zip
STEVE ADAMS                         1048 HIGHWAY 3408                                                                                 BLACKEY            KY 41804‐9037
STEVE ADEY
STEVE AFENTUL                       411 WEAVERS WAY                                                                                   BOSSIER CITY      LA 71111‐5163
STEVE AGUINAGA                      3168 GALENA AVE                                                                                   SIMI VALLEY       CA 93065‐2718
STEVE AHAJANIA IRA                  18220 CAMINO BEL                                                                                  ROWLAND HEIGHTS   CA 91748‐2640
STEVE AHRENS
STEVE AKINS                         2801 N UNION AVE APT 57                                                                           SHAWNEE           OK    74804‐2183
STEVE ALLEN                         1411 LOTHRIDGE RD                                                                                 CLEVELAND         GA    30528‐5058
STEVE ALLEN                         120 W HARRISON AVE                                                                                WABASH            IN    46992‐1224
STEVE ALLEN                         PO BOX 62                                                                                         LINDEN            MI    48451‐0062
STEVE ALLEY
STEVE ALTHERR                       6125 N MONROE AVE                                                                                 GLADSTONE         MO    64119‐1969
STEVE AMONETT                       1376 N 800 E                                                                                      GREENTOWN         IN    46936‐8819
STEVE AMOROSO                       3941 RIVER COURT DR                                                                               LEWISBURG         TN    37091‐5621
STEVE ANDERSON                      201 CLYDE ST                                                                                      WILMINGTON        DE    19804‐2805
STEVE ANDERSON                      9249 FEATHER HOLLOW DR                                                                            NEWPORT           MI    48166‐9580
STEVE ANDERSON                      789 CENTER ST E                                                                                   WARREN            OH    44481‐9311
STEVE ANDROSKY                      6336 SANDFIELD DR                                                                                 BROOK PARK        OH    44142‐3750
STEVE ANTALICK                      938 LINFORD DR                                                                                    SAINT LOUIS       MO    63129‐2018
STEVE ANTHONY ROBINSON              NIX PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD      TX    75638
STEVE APPLEBEE                      5519 N EAGLE RD                                                                                   EVANSVILLE        WI    53536‐8757
STEVE ARENDT                        2890 ST HELENS DR                                                                                 KIMBALL           MI    48074‐1557
STEVE ARMAS                         400 SIEVERS AVE                                                                                   BREA              CA    92821‐5355
STEVE ARMBRUSTER                    3365 ASPEN DR APT 6106                                                                            ORION             MI    48359‐2316
STEVE ARRINGTON JR                  C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                       HOUSTON           TX    77007
                                    BOUNDAS LLP
STEVE ASBURY SR                     816 BENNINGTON AVE                                                                                KANSAS CITY       MO    64125‐1527
STEVE AUSTIN'S AUTO GROUP, INC.     STEVEN AUSTIN                     2500 ROUTE 68 S                                                 BELLEFONTAINE     OH    43311
STEVE AUSTIN'S AUTO GROUP, INC.     2500 ROUTE 68 S                                                                                   BELLEFONTAINE     OH    43311
STEVE B GRAYSON                     PO BOX 3                                                                                          ONTARIO           OH    44862‐0003
STEVE B MITCHELL                    2402 SUNCREST DR                                                                                  FLINT             MI    48504‐8415
STEVE B SEXTON                      68 NICKELL CT                                                                                     GERMANTOWN        OH    45327‐9339
STEVE BADA JR                       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.       OH    44236
STEVE BADGETT                       PO BOX 306                                                                                        NORTH JACKSON     OH    44451‐0306
STEVE BAKER                         203 N 7TH ST APT A                                                                                CLINTON           MO    64735‐2274
STEVE BALDO CHEVROLET GEO, INC.     11234 MAIN ST                                                                                     CLARENCE          NY    14031‐1716
STEVE BALDO CHEVROLET GEO, INC.     STEVEN BALDO                      11234 MAIN ST                                                   CLARENCE          NY    14031‐1716
STEVE BALDO CHEVROLET‐OLDSMOBILE‐BU 11208 GOWANDA STATE ROAD                                                                          NORTH COLLINS     NY    14111

STEVE BALDO CHEVROLET‐OLDSMOBILE‐   11208 GOWANDA STATE ROAD                                                                          NORTH COLLINS     NY 14111
BUICK‐CADILLAC, INC.
STEVE BALDO CHEVROLET‐OLDSMOBILE‐   STEVEN BALDO                      11208 GOWANDA STATE ROAD                                        NORTH COLLINS     NY 14111
BUICK‐CADILLAC, INC.
STEVE BANACKA                       8125 S 950 W                                                                                      SOUTH WHITLEY      IN   46787‐9734
STEVE BARDEN
STEVE BARGER                        5374 COTTON RUN RD.                                                                               HAMILTON          OH    45011‐8460
STEVE BARNEY                        57 11TH ST                                                                                        COVINGTON         IN    47932‐1645
STEVE BARRY BUICK, INC.             STEVEN BARRY                      16000 DETROIT AVE                                               LAKEWOOD          OH    44107‐3713
STEVE BARRY BUICK, INC.             16000 DETROIT AVE                                                                                 LAKEWOOD          OH    44107‐3713
STEVE BATES                         14800 E IMHOFF RD                                                                                 NORMAN            OK    73026‐9162
STEVE BEAL                          470 LIRDALE FARM LN                                                                               INWOOD            WV    25428‐4108
STEVE BEDNARIK                      4253 MAHONING COUNTY LINE RD                                                                      DIAMOND           OH    44412
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Name                         Address1                            Address2                     Address3      Address4         City                State Zip
STEVE BEHM                   12 AARBACK RD                                                                                   CAMBRIDGE            WI 53523‐9601
STEVE BEILGARD
STEVE BENGALA                BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS.         OH   44236
STEVE BENJAMIN               5335 DEARING DR                                                                                 FLINT               MI   48506‐1576
STEVE BENKO                  514 W 5TH ST                                                                                    PORT CLINTON        OH   43452‐1706
STEVE BERLETICH              BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS.         OH   44236
STEVE BETZ                   PO BOX 9022                         GENERAL MOTORS CORP                                         WARREN              MI   48090‐9022
STEVE BEVAN                  C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS.         OH   44236
STEVE BEZUE JR               18474 LAUDER ST                                                                                 DETROIT             MI   48235‐2737
STEVE BILLMAN                6390 BEECH CREEK RD                                                                             CLIFTON             TN   38425‐5102
STEVE BLACK                  1103 W TWINBROOK DR APT 18                                                                      DEWITT              MI   48820‐8669
STEVE BLACK                  12035 POMERANTZ RD                                                                              DEFIANCE            OH   43512‐9084
STEVE BLACK                  MOTLEY RICE LLC                     28 BRIDGESIDE BLVD           PO BOX 1792                    MT PLEASANT         SC   29465
STEVE BLAKER                 40017 BUTTERNUT RIDGE RD                                                                        ELYRIA              OH   44035‐7901
STEVE BOCKERSTETTE           3260 HIGHGATE LN                                                                                SAINT CHARLES       MO   63301‐1043
STEVE BONIOWSKI              18630 MATTHEWS ST                                                                               RIVERVIEW           MI   48193‐4543
STEVE BOOTH
STEVE BORDENKIRCHER          THE GOODYEAR TIRE & RUBBER COMPANY 1144 EAST MARKET STREET                                      AKRON               OH 44311

STEVE BOXX                   22805 HIGHWAY B                                                                                 COWGILL             MO   64637‐9602
STEVE BOYER                  112 LONGSTREET DR                                                                               COLUMBIA            TN   38401‐5000
STEVE BRADACS LIVING TRUST   STEVE BRADACS                       4223 DANBERRY DR                                            NORTH OLMSTED       OH   44070‐2832
STEVE BRANDL                 BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS.         OH   44236
STEVE BRANTON                1861 BETHBIREI RD                                                                               LEWISBURG           TN   37091‐6253
STEVE BRAUTIGAN JR           3346 JAMESON PL                                                                                 SAGINAW             MI   48602‐3207
STEVE BREWER
STEVE BRODIE                 2020 GARDEN CT                                                                                  YPSILANTI           MI   48198‐9214
STEVE BROEKEMA               4821 DIVISION AVE N                                                                             COMSTOCK PARK       MI   49321
STEVE BROUGHMAN              6248 MARATHON RD                                                                                OTTER LAKE          MI   48464‐9765
STEVE BROWN                  3048 HIGHWAY 136 W                                                                              DAWSONVILLE         GA   30534‐2510
STEVE BROWN                  PO BOX 937                                                                                      OZARK               AR   72949‐0937
STEVE BROWN                  175‐20 WEXFORD TERRACE              APT 15                                                      JAMAICA ESTATES     NY   11432
STEVE BRUCE                  2130 WINTON AVE                                                                                 SPEEDWAY            IN   46224‐5052
STEVE BRUMITT                2503 TOBY RD                                                                                    ORION               MI   48359‐1574
STEVE BRUSKY                 32 SOMERSET LN                                                                                  PUTNAM VALLEY       NY   10579‐2806
STEVE BUBEN                  11281 DIXIE HWY                                                                                 BIRCH RUN           MI   48415‐9751
STEVE BUCHNER                2518 W KALAMAZOO ST                                                                             LANSING             MI   48917‐3847
STEVE BURGDORF               830 S MACKINAW RD                                                                               KAWKAWLIN           MI   48631‐9470
STEVE BURNHAM                9 BROOKWOOD DR                                                                                  CARTERSVILLE        GA   30120‐2105
STEVE BYRD                   3797 MYRON AVE                                                                                  DAYTON              OH   45416‐1433
STEVE C BLACK                1103 W TWINBROOK DR APT 18                                                                      DEWITT              MI   48820‐8669
STEVE C CURTIS               407 KATY LN                                                                                     ENGLEWOOD           OH   45322
STEVE C HARRIS               53 CEDAR ST                                                                                     DECATUR             AL   35603‐6232
STEVE C LOHSTROH             6277 ROCKNOLL LN                                                                                CINCINNATI          OH   45247
STEVE C SKINNER              16726 FROG POND RD                                                                              OAKBORO             NC   28129
STEVE C ZONDLAK              16734 DUNSWOOD RD                                                                               NORTHVILLE          MI   48168‐2312
STEVE C ZOULAS               TEENA ZOULAS JTWROS                 5 LYNDE BROOK DRIVE                                         LEICESTER           MA   01524‐1002
STEVE CAL                    2070 CALLIE DR                                                                                  COMMERCE TOWNSHIP   MI   48390‐3271
STEVE CAMARATA
STEVE CAPITO                 1221 KNOLLWOOD DR                                                                               CAROL STREAM        IL 60188
STEVE CARLISLE               BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS.         OH 44236
STEVE CARNEY                 2846 THORNDALE AVE                                                                              COLUMBUS            OH 43207‐3750
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Name                                  Address1                          Address2                     Address3   Address4         City              State Zip
STEVE CARREON                         4212 PORTALES DR                                                                           ARLINGTON          TX 76016‐4612
STEVE CARROLL                         419 VINCENT ST                                                                             MILTON             WI 53563‐9613
STEVE CASTILLO                        1738 MARY AVE                                                                              LANSING            MI 48910‐5211
STEVE CHANDLER                        23704 TAWAS AVE                                                                            HAZEL PARK         MI 48030‐2724
STEVE CHANDLER                        PO BOX 81                                                                                  MONTPELIER         IN 47359‐0081
STEVE CHEFF                           4650 RITA ST                                                                               AUSTINTOWN         OH 44515‐3830
STEVE CHEMO                           2367 S BELSAY RD                                                                           BURTON             MI 48519‐1215
STEVE CHEREP
STEVE CHERVENY                        15592 BEACHCOMBER AVENUE                                                                   FORT MYERS        FL 33908‐3362
STEVE CHRENKO                         261 MANLEY CT                                                                              WOODSTOCK         GA 30188‐7124
STEVE CHRISANTHUS                     BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH 44236
STEVE CHRISCADEN
STEVE CHUSKA                          25 ACADEMY RD                                                                              SOMERSET          NJ   08873‐1620
STEVE CICHY                           3849 GOLF VISTA DR                                                                         LAPEER            MI   48446‐3649
STEVE CITTY                           3408 OAK TRAIL DR                                                                          BURLESON          TX   76028‐2380
STEVE CLARKE                          PO BOX 9022                                                                                WARREN            MI   48090‐9022
STEVE CLINE                           401 VZ COUNTY ROAD 3701                                                                    EDGEWOOD          TX   75117‐4221
STEVE CLONTZ                          3012 E WILSON RD                                                                           CLIO              MI   48420‐9704
STEVE COCKRAM                         9461 SPRUCEDALE DR                                                                         FLUSHING          MI   48433‐1033
STEVE COLE                            320 UNION ST                                                                               MONROE            MI   48161‐1638
STEVE COLEMAN                         1950 BUCKINGHAM CT                                                                         DEFIANCE          OH   43512‐9082
STEVE COLEMAN                         4600 WYNNDALE RD                                                                           TERRY             MS   39170‐7772
STEVE COLLINS                         10525 BEECH DALY RD                                                                        TAYLOR            MI   48180‐3146
STEVE COLLINS                         762 E RIDGEWAY AVE                                                                         FLINT             MI   48505‐2917
STEVE CONLEY
STEVE COOKS                           1251 VANDERVEER AVE                                                                        HAMILTON          OH 45011‐4337
STEVE COOLEY, DISTRICT ATTORNEY,      DISTRICT ATTORNEY'S OFFICE        210 W TEMPLE ST STE 18000                                LOS ANGELES       CA 90012‐3229
COUNTY OF LOS ANGELES
STEVE CORRIVEAU
STEVE COUCH                           5851 BAR DEL WEST DR                                                                       INDIANAPOLIS      IN   46221‐4409
STEVE COURY BUICK, PONTIAC & GMC TR   6101 E COURY DR                                                                            COTTONWOOD        AZ   86326‐9200

STEVE COURY BUICK, PONTIAC & GMC      STEVEN COURY                      6101 E COURY DR                                          COTTONWOOD        AZ   86326‐9200
TRUCK, INC.
STEVE COURY BUICK, PONTIAC & GMC      6101 E COURY DR                                                                            COTTONWOOD        AZ   86326‐9200
TRUCK, INC.
STEVE CREEL                           395 W ROBERTS RD                                                                           INDIANAPOLIS      IN   46217‐3461
STEVE CRESS                           9964 GERALDINE ST                                                                          YPSILANTI         MI   48197‐6937
STEVE CSONTOS                         2640 LINCOLN HGHWY                                                                         NORTH BRUNSWICK   NJ   08902
STEVE CUNNINGHAM                      849 PROGRESS STREET                                                                        MIDDLETOWN        IN   47356‐1322
STEVE CURRY                           PO BOX 311                                                                                 CRESTLINE         OH   44827‐0311
STEVE CURTIS                          300 RANDY DR                                                                               WEST CARROLLTON   OH   45449‐2143
STEVE CZEISZPERGER JR                 PO BOX 232                                                                                 OAKLEY            MI   48649‐0232
STEVE CZEREPAK                        17042 RACCOON TRL                                                                          STRONGSVILLE      OH   44136‐6281
STEVE D COOK                          2151 RAHN RAHN ROAD                                                                        KETTERING         OH   45440
STEVE D EYLER                         452 POPULAR GROVE                                                                          VANDALIA          OH   45377
STEVE D MAGGARD                       312 RIDGEBURY DR.                                                                          XENIA             OH   45385
STEVE D PHILLIPS                      3914 N LAKESHORE DR                                                                        JAMESTOWN         OH   45335
STEVE D SALYER                        45 ROUNDTREE CT                                                                            SPRINGBORO        OH   45066‐1171
STEVE D SPORRE                        565 N JOHNSVILLE BROOKVILLE RD                                                             NEW LEBANON       OH   45345
STEVE D TSIKOURIS                     694 DEVITT                                                                                 CAMPBELL          OH   44405‐1519
STEVE DANIELS                         2071 THOMAS DR                                                                             WHITE OAK         PA   15131‐4200
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Name                                Address1                            Address2                     Address3          Address4         City            State Zip
STEVE DAO                           8505 RUGBY DR                                                                                       IRVING           TX 75063‐9385
STEVE DAO                           5847 CANDLELIGHT LN                                                                                 GRAND PRAIRIE    TX 75052‐8592
STEVE DAVIS                         950 STOLZ AVENUE                                                                                    DAYTON           OH 45408‐2235
STEVE DECKER                        1001 24 MILE RD UNIT 158                                                                            HOMER            MI 49245‐9684
STEVE DEHOOP                        C/O MOTLEY RICE LLC                 28 BRIDGESIDE BLVD           PO BOX 1792                        MT PLEASANT      SC 29465
STEVE DENNETT                       4430 SE 9TH PL                                                                                      CAPE CORAL       FL 33904‐5320
STEVE DI FRANCO                     6701 SOUTHWEST 93RD COURT                                                                           OCALA            FL 34481‐2517
STEVE DINA                          6119 NORWALK RD                                                                                     MEDINA           OH 44256‐9453
STEVE DOBOS                         2201 MILES RD                                                                                       LAPEER           MI 48446‐8058
STEVE DOCKMAN                       16355 MUSKINGUM BLVD                                                                                BROOK PARK       OH 44142‐2243
STEVE DOERFLER                      2350 COUNTY RD E‐F                                                                                  SWANTON          OH 43558
STEVE DOLAN                         1565 HAYES RD                                                                                       BOWLING GREEN    KY 42103‐9881
STEVE DONAT                         BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.      OH 44236
STEVE DUANE DOOLIN                  C/O NIX, PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD     TX 75638
STEVE DUFFEY                        PO BOX 503                                                                                          STOCKBRIDGE      GA 30281‐0503
STEVE DUNCKO                        3026 DENVER DR                                                                                      POLAND           OH 44514‐2435
STEVE DURKO                         16 MOYER AVE                                                                                        CHARLEROI        PA 15022‐1709
STEVE DZIADZIO                      15948 WOODWORTH                                                                                     REDFORD          MI 48239‐3991
STEVE DZIERWA                       2056 BYRON RD                                                                                       HOWELL           MI 48855‐8764
STEVE DZUBAK                        BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.      OH 44236
STEVE E ADAMS                       323 MARCHESTER DR                                                                                   DAYTON           OH 45429
STEVE E ALLEN                       1146 WISCONSIN BLVD                                                                                 DAYTON           OH 45408‐1945
STEVE E ANDERSON                    789 CENTER ST E                                                                                     WARREN           OH 44481‐9311
STEVE E GLASGOW                     9112 S NELSON RD                                                                                    BRODHEAD         WI 53520‐8977
STEVE E HOTTINGER                   3695 N DAYTON LAKEVIEW RD                                                                           NEW CARLISLE     OH 45344‐9514
STEVE E MCCOY                       3818 WILMINGTON DAYTON RD                                                                           BELLBROOK        OH 45305
STEVE E MROFCHAK                    3180 MEADOW LANE N.E.                                                                               WARREN           OH 44483‐2634
STEVE E SCHRIEFER                   1603 FLORIDA ST                                                                                     MICHIGAN CITY    IN 46360‐6777
STEVE E WEISS                       8327 HERRINGTON AVE NORTHEAST                                                                       BELMONT          MI 49306‐9776
STEVE EATON                         105 MUNSON ST                                                                                       CHARLOTTE        MI 48813‐1152
STEVE ECHELBARGER                   5862 LAKESIDE DR                                                                                    MANITOU BEACH    MI 49253‐9523
STEVE ECKERD
STEVE ECKRICH                       3929 MINER DR                                                                                       BRUNSWICK       OH   44212‐2736
STEVE EDWARDS                       4753 LOU IVY RD                                                                                     DULUTH          GA   30096‐2917
STEVE ELEY                          3401 W ROCKPORT PARK DR                                                                             JANESVILLE      WI   53548‐7608
STEVE ELLERT                        185 ANDERS DR                                                                                       BOWLING GREEN   KY   42103‐9575
STEVE ELLIS                         WEITZ & LUXENBERG PC                700 BROADWAY                                                    NEW YORK CITY   NY   10003
STEVE ELLIS                         C/O WEITZ & LUXENBERG PC            700 BROADWAY                                                    NEW YORK CITY   NY   10003
STEVE ELSTON                        6202 VAN VLEET RD                                                                                   SWARTZ CREEK    MI   48473‐8521
STEVE EMRICH
STEVE ENDRESZ                       4910 GUY YOUNG RD                                                                                   BREWERTON       NY   13029‐9764
STEVE ENGLAND                       BRENT COON AND ASSOCIATES           215 ORLEANS                                                     BEAUMONT        TX   77701
STEVE EUM                           3815 BLACK FOREST LN                                                                                YORBA LINDA     CA   92886‐7904
STEVE EVANS                         C/O WILLIAMS KHERKHER HART AND      8441 GULF FREEWAY, STE 600                                      HOUSTON         TX   77007
                                    BOUNDAS LLP
STEVE EVANS RO EVANS PONTIA GMC &   100 RENAISSANCE CTR                                                                                 DETROIT         MI 48265‐0001
WF BLANKENSHIP III
STEVE FAKNER                        C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.     OH   44236
STEVE FALKE                         1900 BROWNELL RD                                                                                    DAYTON          OH   45403‐3411
STEVE FARMER                        2879 CARTERS CREEK STATION RD                                                                       COLUMBIA        TN   38401‐7307
STEVE FEATHERSTON                   20517 PRIVATE ROAD 1190                                                                             EAGLE ROCK      MO   65641‐7160
STEVE FEHRS
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Name                         Address1                          Address2                     Address3   Address4         City              State Zip
STEVE FERRELL                1654 CALMING WATER DR                                                                      ORANGE PARK        FL 32003‐3415
STEVE FERRY                  4119 MARTIN ST                                                                             DETROIT            MI 48210‐2805
STEVE FIGUEROA               24 E HOOVER AVE                                                                            MESA               AZ 85210‐5331
STEVE FINCH                  212 W MICHIGAN AVE                                                                         JACKSON            MI 49201‐2236
STEVE FISHER                 PO BOX 980079                                                                              YPSILANTI          MI 48198‐0079
STEVE FISHER                 99 PAGE DR                                                                                 DEFIANCE           OH 43512‐9649
STEVE FITZSIMMONS
STEVE FLEMING                BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH   44236
STEVE FLETCHER               68 DOUGLAS DR                                                                              JACKSON           NJ   08527‐3516
STEVE FLYNN                  818 COLLEGE ST                                                                             SMITHS GROVE      KY   42171‐8240
STEVE FOGELSONG              410 W 600 N                                                                                PERU              IN   46970‐8243
STEVE FOLEY CADILLAC, INC.   STEPHEN FOLEY                     100 SKOKIE BLVD                                          NORTHBROOK        IL   60062‐1610
STEVE FOLEY CADILLAC, INC.   100 SKOKIE BLVD                                                                            NORTHBROOK        IL   60062‐1610
STEVE FORD                   6635 W RATLIFF RD                                                                          BLOOMINGTON       IN   47404‐9664
STEVE FOSTER                 7159 LONE OAK WAY                                                                          LITHONIA          GA   30058‐8292
STEVE FOSTER                 3031 CHIMNEY RDG E                                                                         SNELLVILLE        GA   30078‐2715
STEVE FOUST                  6209 E BRISTOL RD                                                                          BURTON            MI   48519‐1740
STEVE FRENCH                 1401 EAST AVE                                                                              EATON             OH   45320‐1207
STEVE FRITH                  22 FOREST GROVE LN                                                                         HAUGHTON          LA   71037‐9236
STEVE FRYMAN                 PO BOX 24875                                                                               HUBER HEIGHTS     OH   45424‐0875
STEVE FULP                   208 HAVERHILL DR                                                                           ANDERSON          IN   46013‐4228
STEVE G GONZALEZ             754 OAK ST                                                                                 ADRIAN            MI   49221‐3918
STEVE G HELPHINSTINE         231 GALEWOOD DRIVE                                                                         NEW CARLISLE      OH   45344‐1308
STEVE G JOHNSON              1422 E JULIAH AVE                                                                          FLINT             MI   48505‐1734
STEVE G MICHALAK             5904 DALTON RD                                                                             TOLEDO            OH   43612‐4210
STEVE G PATERAS              250 VALLEY BROOK BLVD                                                                      HINCKLEY          OH   44233‐9686
STEVE G ROSELLE              2360 FAUVER AVE                                                                            DAYTON            OH   45420
STEVE G SINCEK               3340 VALLEY VIEW RD                                                                        SHARPSVILLE       PA   16150
STEVE GAGE
STEVE GALBERTH I I I         1103 OLD HIGHWAY 51                                                                        HAZLEHURST        MS   39083‐8914
STEVE GALES                  4040 MRYTLE AVENUE, APT 24                                                                 NORTH HIGHLANDS   CA   95660‐5394
STEVE GALL                   552 ANSONIA ST                                                                             OREGON            OH   43616‐2704
STEVE GALLOWAY               10615 SEAVIEW DR                                                                           ANDERSON ISLAND   WA   98303‐9699
STEVE GANOFF                 10771 BLACK MOUNTAIN RD SPC 107                                                            SAN DIEGO         CA   92126‐2956
STEVE GARRETSON              90 N COATS RD                                                                              OXFORD            MI   48371‐3500
STEVE GARWOOD                10718 PUTNAM RD                                                                            ENGLEWOOD         OH   45322‐9706
STEVE GAY                    62 MORNINGSIDE RD                                                                          NILES             OH   44446‐2110
STEVE GEIGER                 32204 APPLE HILL DR                                                                        PAOLA             KS   66071‐4760
STEVE GEMMILL                1017 WILLOWOOD CT                                                                          FENTON            MI   48430‐2282
STEVE GERKIN                 561 STEVENS LN                                                                             MITCHELL          IN   47446‐6609
STEVE GESTRICH               6729 W STUART RD                                                                           BELOIT            WI   53511‐9421
STEVE GIBSON                 3326 S KEARSLEY BLVD                                                                       FLINT             MI   48506‐2045
STEVE GINGERICH              4254 S 900 W                                                                               TIPTON            IN   46072‐9044
STEVE GIRARD                 924 N REMBRANDT AVE                                                                        ROYAL OAK         MI   48067‐2081
STEVE GLASGOW                9112 S NELSON RD                                                                           BRODHEAD          WI   53520‐8977
STEVE GLENN                  2314 MONTICELLO ST SW                                                                      DECATUR           AL   35603‐1156
STEVE GODDARD                42 RIVERVIEW DR                                                                            LAPEER            MI   48446‐7631
STEVE GOINS                  1608 CHAPEL ST                                                                             DAYTON            OH   45404
STEVE GOLD                   BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH   44236
STEVE GONZALEZ               114 N HAMPTON CT                                                                           SANFORD           FL   32773‐7316
STEVE GONZALEZ               754 OAK ST                                                                                 ADRIAN            MI   49221‐3918
STEVE GOODEN                 3551 ROME RD SW                                                                            PLAINVILLE        GA   30733‐9740
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Name                   Address1                          Address2                     Address3   Address4         City                 State Zip
STEVE GOODRICH         37535 W HURON RIVER DR                                                                     ROMULUS               MI 48174‐1168
STEVE GRAY             1411 BROOKE PARK DR APT 6                                                                  TOLEDO                OH 43612‐4137
STEVE GRAYSON          PO BOX 3                                                                                   ONTARIO               OH 44862‐0003
STEVE GREEN            PO BOX 5453                                                                                CANTON                GA 30114‐0036
STEVE GREENLER         20633 SWITZER RD                                                                           DEFIANCE              OH 43512‐8458
STEVE GRESKO           2400 MCFARLAND DR APT C208                                                                 WEST PLAINS           MO 65775‐1684
STEVE GRIEVE           142 FIORD DR                                                                               EATON                 OH 45320‐2760
STEVE GRIFFIN          PO BOX 9022                       C/O DUBAI                                                WARREN                MI 48090‐9022
STEVE GRIMES
STEVE GRIST            7294 STATE ROUTE 609                                                                       BURGHILL             OH 44404‐9754
STEVE GROSSHEIM        1488 CENTER STAR RD                                                                        COLUMBIA             TN 38401‐7749
STEVE GRUDEN           6600 PORTAGE LK RD L202                                                                    MUNITH               MI 49259
STEVE GRUENSCHLAEGER
STEVE GUBANCSIK        4178 CRYSTAL DR                                                                            BEULAH               MI   49617‐9462
STEVE GUNIA            28305 DOHRAN DR                                                                            WARREN               MI   48088‐6661
STEVE GUTIERREZ        50 W NORTH BOUTELL RD                                                                      KAWKAWLIN            MI   48631‐9719
STEVE H BENNETT        15449 SNOWDEN ST                                                                           DETROIT              MI   48227‐3359
STEVE H QUIGLEY        1072 JUNE DRIVE                                                                            XENIA                OH   45385‐3726
STEVE HACKETT
STEVE HACKNEY          2271 W COUNTY ROAD 325 N                                                                   WEST BADEN SPRINGS   IN   47469‐9135
STEVE HAEFKE           6785 FINLAND RD                                                                            AUSTINTOWN           OH   44515‐2113
STEVE HAGEDORN         58 E SHORE BLVD                                                                            TIMBERLAKE           OH   44095‐1903
STEVE HAJEK            5486 E HILL RD                                                                             GRAND BLANC          MI   48439‐9101
STEVE HALECKI          54 PARKVIEW DR                                                                             AKRON                NY   14001‐1313
STEVE HALL             4261 S WAYSIDE DR                                                                          SAGINAW              MI   48603‐3078
STEVE HAMBORSKY        13 MAIN ST                                                                                 DOBBS FERRY          NY   10522‐2105
STEVE HAMILTON         8445 SUMMERFELDT RD                                                                        SAGINAW              MI   48609‐9647
STEVE HAMMOND          5675 PARVIEW DR APT 111                                                                    CLARKSTON            MI   48346‐2856
STEVE HANSEN           4185 CAMINO TASSAJARA                                                                      DANVILLE             CA   94506‐4723
STEVE HANSES           14786 W HANSES RD                                                                          WESTPHALIA           MI   48894‐9236
STEVE HANSON           2198 FIRWOOD DR                                                                            DAVISON              MI   48423‐9524
STEVE HARDISTY         6008 W BURMA RD                                                                            GOSPORT              IN   47433‐8915
STEVE HARGRAVE         4877 CHAMBERS LN                                                                           SPRING HILL          TN   37174‐2219
STEVE HARRELL          14721 SE 27TH ST                                                                           CHOCTAW              OK   73020‐6518
STEVE HARRIS           PO BOX 141                                                                                 YONKERS              NY   10703‐0141
STEVE HART             543 S OSCAR ST                                                                             OLATHE               KS   66061‐4158
STEVE HART             31 FLAGLER DR                                                                              PALM COAST           FL   32137‐2433
STEVE HART             313 ROBTON ST                                                                              INDIANAPOLIS         IN   46241‐0908
STEVE HARVEY           PO BOX 535791                                                                              GRAND PRAIRIE        TX   75053‐5791
STEVE HAWAL            4503 STARY DR                                                                              PARMA                OH   44134‐5832
STEVE HAWKINS          3616 FOREST DR                                                                             LUPTON               MI   48635‐9793
STEVE HAWRYLUK         2501 CHESTNUT ST                                                                           GIRARD               OH   44420‐3106
STEVE HAZUKA           BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.          OH   44236
STEVE HEAD             500 STOVER RD                                                                              WEST ALEXANDRIA      OH   45381‐9302
STEVE HEDDEN           1413 W WASHINGTON ST                                                                       ATHENS               AL   35611‐2941
STEVE HEGGEN           RUE PIESSEVAUX 35                                                                          SAINT‐MARD                6762
STEVE HEIM             7334 ANTEBELLUM DR                                                                         FORT WAYNE           IN   46815‐6436
STEVE HEISE            1421 BARHAM AVE                                                                            JANESVILLE           WI   53548‐1505
STEVE HENDERSON        4320 SE SECRETARIAT CT                                                                     LEES SUMMIT          MO   64082‐4930
STEVE HENSLEE          9636 TRADING POST RD                                                                       LEO                  IN   46765‐9307
STEVE HENSLEY JR       19 SAINT LAWRENCE DR                                                                       SAINT PETERS         MO   63376‐1447
STEVE HERCZAK          2750 SIGNATURE CIR                                                                         PINCKNEY             MI   48169‐8166
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Name                                   Address1                         Address2                         Address3   Address4                 City               State Zip
STEVE HERNANDEZ                        13282 SPRUCE ST                                                                                       SOUTHGATE           MI 48195‐1328
STEVE HESKI                            573 DEER RUN                                                                                          WHITE LAKE          MI 48386‐2010
STEVE HILL                             4852 SUNDALE DR                                                                                       CLARKSTON           MI 48346‐3691
STEVE HOFFMAN                          7845 KRISDALE DR                                                                                      SAGINAW             MI 48609‐4932
STEVE HOFFMANN                         RUE DES FRERES PROVOST 2                                                     F‐22300 LANNION FRANCE
STEVE HOLLAND                          164 CARDINAL CIR                                                                                      LAWSON             MO   64062‐9314
STEVE HOLLINGSHEAD                     8167 PINE ST                                                                                          GERMFASK           MI   49836‐9067
STEVE HOLLOWNICZKY                     313 TOWNSHIP ROAD 350                                                                                 SULLIVAN           OH   44880‐9745
STEVE HONTO                            753 N BECK RD                                                                                         CANTON             MI   48187‐4808
STEVE HOROSZ                           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS.        OH   44236
STEVE HORVATH                          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS.        OH   44236
STEVE HUDSON                           13 WATERSTONE DR SE                                                                                   CARTERSVILLE       GA   30121‐8182
STEVE HUGHES                           775 COUNTY ROAD 290                                                                                   BRYANT             AL   35958‐4411
STEVE HUMPHREY                         5510 YODER RD                                                                                         YODER              IN   46798‐9705
STEVE HUTCHINSON                       4747 WILLOW BEND RD                                                                                   OSCODA             MI   48750‐9760
STEVE IACONO                           217 DANDRIDGE DR                                                                                      FRANKLIN           TN   37067‐4099
STEVE J BARGA                          111 ELMWOOD DRIVE                                                                                     VERSAILLES         OH   45380‐8586
STEVE J DAVIS                          659 CROWN AVE                                                                                         DAYTON             OH   45427
STEVE J DEAK                           4300 FREUDENBERGER AVE                                                                                DAYTON             OH   45427‐3503
STEVE J HALE                           481 NORMAN RD                                                                                         JACKSBORO          TN   37757
STEVE J KIELBASA                       4207 CRESCENT DR                                                                                      NIAGARA FALLS      NY   14305‐1613
STEVE J KNEBEL                         1918 RICHARDSON DR                                                                                    HUBBARD            OH   44425
STEVE J MCCAULEY                       3473 LYNTZ TOWNLINE RD SW                                                                             WARREN             OH   44481‐9239
STEVE J POWELL                         1030 APPLE BLOSSOM LN                                                                                 LEBANON            OH   45036
STEVE J SCHUSTER                       8510 MURRAY RIDGE RD                                                                                  ELYRIA             OH   44035‐4751
STEVE J SPATZ                          5017 WOLF CREEK PIKE LOT 49                                                                           DAYTON             OH   45426‐2444
STEVE J TATROE                         12100 FRANDSCHE RD                                                                                    SAINT CHARLES      MI   48655‐9657
STEVE J WAGENLANDER                    86 WEST MAPLE                                                                                         BELLBROOK          OH   45305‐1941
STEVE J ZERKA                          5261 WYNDEMERE SQ                                                                                     SWARTZ CREEK       MI   48473‐8896
STEVE J ZUMERLING                      487 CHARLES AVE                                                                                       CORTLAND           OH   44410
STEVE JACKOVICH                        35317 BRIGHTON DR                                                                                     STERLING HEIGHTS   MI   48310‐7412
STEVE JACKSON                          13096 HIGHWAY 15                                                                                      DOWNSVILLE         LA   71234‐5940
STEVE JACOBS                           3081 OAKVALE HTS                                                                                      DECATUR            GA   30034‐4785
STEVE JAKUBOWSKI, ELIZABETH RICHERT    THE COLEMAN LAW FIRM             77 WEST WACKER DR., SUITE 4800                                       CHICAGO            IL   60601

STEVE JANCAR                           10245 S BRAY RD                                                                                       CLIO               MI 48420‐7712
STEVE JANICEK JR                       4927 LYTLE RD                                                                                         CORUNNA            MI 48817‐9593
STEVE JANNISCH                         4505 SUMPTER DRIVE                                                                                    MILTON             WI 53563‐8418
STEVE JASKOSKI
STEVE JEFFERY                          4524 CROSSWINDS CT                                                                                    WHITE LAKE         MI   48383‐1267
STEVE JENNINGS                         979 MILL CREEK RUN                                                                                    SUWANEE            GA   30024‐2103
STEVE JERISK                           1456 KETTERING ST                                                                                     BURTON             MI   48509‐2406
STEVE JEZIORSKI                        6130 MYRTLE HILL RD                                                                                   VALLEY CITY        OH   44280‐9794
STEVE JOHNSON                          1422 E JULIAH AVE                                                                                     FLINT              MI   48505‐1734
STEVE JOHNSON                          861 E LANCASTER CIR                                                                                   FLORENCE           AZ   85232‐8338
STEVE JOHNSON JR                       508 MONROE STREET                                                                                     GRETNA             LA   70053‐2047
STEVE JONES                            3720 OUTPOST DR                                                                                       SPENCER            OK   73084‐2901
STEVE JONES CHEVROLET‐PONTIAC‐BUICK‐   3600 N WASHINGTON ST                                                                                  FORREST CITY       AR   72335‐9593
CADILLAC‐GMC
STEVE JORDAN                           PO BOX 6643                                                                                           OAK RIDGE          TN 37831‐3655
STEVE K CHAN                           91 CRYSTAL CIR                                                                                        HERCULES           CA 94547‐1705
STEVE K FALKE                          1900 BROWNELL RD                                                                                      DAYTON             OH 45403
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Name                              Address1                         Address2                     Address3      Address4                  City             State Zip
STEVE KAROFFA                     1396 CONNELLSVILLE RD                                                                                 LEMONT FURNACE    PA 15456‐1325
STEVE KARRS                       3990 WILKS RD                                                                                         LOWER BURRELL     PA 15068‐2246
STEVE KATT                        PO BOX 402                                                                                            HEMLOCK           MI 48626‐0402
STEVE KAUFMAN                     2408 COUNTRY CLUB LN                                                                                  KOKOMO            IN 46902‐3167
STEVE KAVANAUGH                   4042 GAMBEL RD                                                                                        INDIANAPOLIS      IN 46221‐3429
STEVE KAVOURAS                    2116 CRANE ST                                                                                         WATERFORD         MI 48329‐3719
STEVE KEETCH MOTORS, INC.         127 N BROADWAY                                                                                        CORTEZ            CO 81321‐2711
STEVE KEETCH MOTORS, INC.         STEVEN KEETCH                    127 N BROADWAY                                                       CORTEZ            CO 81321‐2711
STEVE KEISER                      2476 ACADEMY RD                                                                                       HOLLY             MI 48442‐8324
STEVE KELBERT                     5518 W ST JOE HWY                                                                                     LANSING           MI 48917‐3901
STEVE KELEMEN                     6422 COUNTRYDALE CT                                                                                   DAYTON            OH 45415‐1803
STEVE KELTERBORN                  1420 HOPEWELL RD                                                                                      ATKINS            AR 72823‐5304
STEVE KIBLER                      406 SOUTH THIRD ST                                                                                    WATERTOWN         WI 53094
STEVE KIESLING                    32705 STEINHAUER ST                                                                                   WESTLAND          MI 48186‐7912
STEVE KIM                         AV WASHINGTON LUIS,1576          APTO 51                                    SAO PAULO BRAZIL 04627‐
                                                                                                              001
STEVE KING TIRE CENTER            321 MAIN ST                                                                                           NASHUA           NH   03060‐4601
STEVE KNIPMEYER CHEVROLET, INC.   STEPHEN KNIPMEYER                205 E 4TH ST                                                         BEARDSTOWN       IL   62618‐1302
STEVE KNIPMEYER CHEVROLET, INC.   205 E 4TH ST                                                                                          BEARDSTOWN       IL   62618‐1302
STEVE KNOTTS                      417 173RD PL NE                                                                                       BELLEVUE         WA   98008‐4130
STEVE KOCUBA                      6100 LAURENT DR APT 611                                                                               CLEVELAND        OH   44129
STEVE KOHUT                       2610 E 1000 S                                                                                         WARREN           IN   46792‐9411
STEVE KOITCH                      24832 CHICAGO ST                                                                                      DEARBORN         MI   48124‐4479
STEVE KOKKAS                      2338 W 11TH ST                                                                                        CLEVELAND        OH   44113‐3678
STEVE KOLESZAR                    BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS.      OH   44236
STEVE KOMAR JR                    6254 LEIGHLAND DR                                                                                     GRAND BLANC      MI   48439‐9044
STEVE KOPSHO                      PO BOX 291                                                                                            BEDFORD          IN   47421‐0291
STEVE KOPSHO                      NOT AVAILABLE
STEVE KORDA                       MOTLEY RICE LLC                  28 BRIDGESIDE BLVD           PO BOX 1792                             MT PLEASANT      SC   29465
STEVE KORF                        13715 LITCHFIELD RD                                                                                   MONTROSE         MI   48457‐9317
STEVE KORMANIK                    1331 DRAGOON ST                                                                                       DETROIT          MI   48209‐2390
STEVE KORNELIS                    1243 GLEN EAGLE TRL                                                                                   HUDSONVILLE      MI   49426‐8732
STEVE KOSANOVICH                  7630 WOODVIEW ST APT 3                                                                                WESTLAND         MI   48185‐5952
STEVE KOSEGI                      PO BOX 649                                                                                            ARLINGTON        OH   45814‐0649
STEVE KOVICAK                     6577 BYRON RD                                                                                         NEW LOTHROP      MI   48460‐9704
STEVE KOWALSKI                    PO BOX 102                                                                                            LAKE ANN         MI   49650‐0102
STEVE KOZMOR                      8411 MILAN OAKVILLE RD                                                                                MILAN            MI   48160‐9005
STEVE KOZUB                       2370 OAK TRACE ST                                                                                     YOUNGSTOWN       OH   44515‐4921
STEVE KRAUS                       101 ST MARKS PLACE               APT 6                                                                NEW YORK         NY   10009‐5116
STEVE KRENNING                    2425 KING RICHARD PKWY                                                                                MIAMISBURG       OH   45342‐2752
STEVE KRONDON                     739 ALDWORTH RD                                                                                       BALTIMORE        MD   21222‐1305
STEVE KRUEGER                     6110 BLACK OAK BLVD                                                                                   FORT WAYNE       IN   46835‐2653
STEVE KUBALA                      7435 COBBLERS RUN                                                                                     POLAND           OH   44514‐5315
STEVE KUNDER                      PO BOX 35                                                                                             HIGHLAND         MI   48357‐0035
STEVE KUNKLE                      4884 OVIATT RD                                                                                        NEWTON FALLS     OH   44444
STEVE KUZMA                       215 BRIARWOOD DR                                                                                      LAPEER           MI   48446‐3702
STEVE L CSONTOS                   2640 LINCOLN HGHWY                                                                                    NORTH BRUNSWI    NJ   08902‐1021
STEVE L HAMILTON                  8445 SUMMERFELDT RD                                                                                   SAGINAW          MI   48609‐9647
STEVE L HOLMES                    1014 WENG AVE.                                                                                        DAYTON           OH   45420‐2747
STEVE L LANE                      49 BARNARD ST                                                                                         BUFFALO          NY   14206‐3502
STEVE L REYNOLDS                  249 ORTH DR                                                                                           NEW CARLISLE     OH   45344
STEVE L RIBBINK                   1354 JORDAN AVE                                                                                       DAYTON           OH   45410
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Name                            Address1                             Address2                     Address3             Address4            City                 State Zip
STEVE L WALSTROM                PO BOX 9651                                                                                                BOWLING GREEN         KY 42102‐9651
STEVE LAFAVE                    15014 HICKORY ST                                                                                           SPRING LAKE           MI 49456‐1122
STEVE LAITY                     1017 CLARK RD                                                                                              LANSING               MI 48917‐2129
STEVE LANE                      49 BARNARD ST                                                                                              BUFFALO               NY 14206‐3502
STEVE LANG                      26224 AVONDALE ST                                                                                          INKSTER               MI 48141‐1923
STEVE LANGLOIS                  1611 CINDY CT                                                                                              ARLINGTON             TX 76012‐4610
STEVE LANGRY                    75 OREGON BLVD                                                                                             RENO                  NV 89506‐8323
STEVE LANMAN                    1105 SHERIDAN LN                                                                                           CLEBURNE              TX 76033‐5233
STEVE LAUDICINO                 404 WANDERING TRAIL                                                                                        FRANKLIN              TN 37067‐5768
STEVE LAWRENCE                  1522 COUNTY ROAD A                                                                                         EDGERTON              WI 53534‐9549
STEVE LEHMAN                    1105 OAK BAY RUN                                                                                           FORT WAYNE            IN 46825‐6474
STEVE LETNIANCHYN               BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.           OH 44236
STEVE LEWIS                     RR 2 BOX 119                                                                                               BUTLER                MO 64730‐9511
STEVE LEWIS                     3176 PLANK RD                                                                                              NATIONAL CITY         MI 48748‐9470
STEVE LIEBER & ASSOCIATES INC   950 GEMINI ST STE 3                                                                                        HOUSTON               TX 77058‐2730
STEVE LIGERAKIS                 3799 MARK DR                                                                                               TROY                  MI 48083‐5331
STEVE LIGGENS                   691 SEWARD ST APT C4                                                                                       DETROIT               MI 48202‐2470
STEVE LIRAKIS                   THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                               BALTIMORE             MD 21201

STEVE LODGE                     8907 N DIXIE DR # A                                                                                        DAYTON               OH 45414‐1805
STEVE LOGGINS                   ROBERT W PHILLIPS                    SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521          EAST ALTON           IL 62024
                                                                     ANGELIDES & BARNERD LLC
STEVE LOHSTROH                  6277 ROCKNOLL LN                                                                                           CINCINNATI           OH   45247‐3471
STEVE LONCAREVIC                8476 WOODRIDGE DRIVE                                                                                       DAVISON              MI   48423‐8389
STEVE LONG                      1730 COUNTY ROAD 331                                                                                       MOULTON              AL   35650‐7057
STEVE LONG                      20489 HALLS BRANCH RD                                                                                      GAYS MILLS           WI   54631‐8157
STEVE LOPEZ                     20028 BRIGHTWOOD RD                                                                                        MADERA               CA   93638‐8056
STEVE LYONS                     17811 MOUNT VERNON ST                                                                                      SOUTHFIELD           MI   48075‐8010
STEVE M CASTILLO                1738 MARY AVE                                                                                              LANSING              MI   48910‐5211
STEVE M CLARY                   922 KESTER AVE.                                                                                            DAYTON               OH   45403‐3419
STEVE M KURTZ                   9651 RT 503                                                                                                CAMDEN               OH   45311
STEVE M MARSH                   216 THUNDERBIRD DR.                                                                                        HARVEST              AL   35749‐9605
STEVE M STOCKSLAGER             1 WESTERN AVE                                                                                              W ALEXANDRIA         OH   45381‐1125
STEVE MACKEY                    310 BUCKEYE RD                                                                                             HURON                OH   44839‐1239
STEVE MAKAR                     8407 KIMBALL AVE                                                                                           KANSAS CITY          KS   66109‐1441
STEVE MALOGORSKI                4338 KAREN DR                                                                                              KETTERING            OH   45429‐4712
STEVE MARCHAND                  BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                            BOSTON HEIGHTS       OH   44236
STEVE MARCHEN                   C/O MCNEELY KELLY                    ATTN WILLIAM KELLY           197 BOND STREET E    OSHAWA ON L1G 1B4
STEVE MARCHUK                   21006 BON BRAE ST                                                                                          SAINT CLAIR SHORES   MI   48081‐1884
STEVE MARICIC                   319 N 6TH ST                                                                                               CLAIRTON             PA   15025‐2010
STEVE MARIOTT                   114 W 6TH ST                                                                                               WEWOKA               OK   74884‐3104
STEVE MARR                      9455 BRISTOL RD                                                                                            SWARTZ CREEK         MI   48473‐8592
STEVE MARSH                     216 THUNDERBIRD DR                                                                                         HARVEST              AL   35749‐9605
STEVE MARTIAN                   604 5TH AVE NW                                                                                             MANDAN               ND   58554‐2903
STEVE MARTIN                    4165 PHEDORA ST NE                                                                                         COVINGTON            GA   30014‐2532
STEVE MARTIN JR                 16355 HEISER RD                                                                                            BERLIN CENTER        OH   44401‐8711
STEVE MASCELLA                  235 SAINT LAWRENCE BLVD                                                                                    EASTLAKE             OH   44095‐1134
STEVE MASKOVICH                 7496 DAWN HAVEN DR                                                                                         PARMA                OH   44130‐5961
STEVE MASTALINSKI               PO BOX 376                           194 LEIPTRANDT                                                        PIGEON               MI   48755‐0376
STEVE MASTOROVICH               905 LILAC LN                                                                                               MURRYSVILLE          PA   15668‐8920
STEVE MATIEVICH                 1172 BANCROFT ST                                                                                           DELTONA              FL   32725‐5819
STEVE MATIJEGA                  234 E WHITEFEATHER RD                                                                                      PINCONNING           MI   48650‐8919
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Name                                Address1                         Address2                      Address3   Address4                 City               State Zip
STEVE MATSIL                        4701 BONNIE CT                                                                                     WEST BLOOMFIELD     MI 48322
STEVE MATWYUK                       PO BOX 3055                                                                                        EATONTON            GA 31024‐3055
STEVE MCANALLY                      THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                       HOUSTON             TX 77017
STEVE MCARTHUR
STEVE MCCAULEY                      3473 LYNTZ TOWNLINE RD SW                                                                          WARREN             OH 44481‐9239
STEVE MCCONNERY CONSULTING INC      975 ST JOSEPH BLVD STE 230                                                HULL PQ J8Z 1W8 CANADA
STEVE MCDOWELL                      2731 MOLLYS CT                                                                                     SPRING HILL        TN   37174‐7126
STEVE MCFARLAND                     302 SW 4TH ST                                                                                      RICHMOND           IN   47374‐5349
STEVE MCKENNA                       2262 COUNTY ROAD 1245                                                                              BLANCHARD          OK   73010‐3009
STEVE MCVAY                         3532 NASSAU CT                                                                                     GRANBURY           TX   76049‐5862
STEVE MEGGINSON                     6259 BEECHFIELD DR                                                                                 LANSING            MI   48911‐5734
STEVE MELBY                         1269 ASHWOOD LN                                                                                    HOWELL             MI   48843‐8381
STEVE MELCZER                       15435 98TH AVE                                                                                     DYER               IN   46311‐7729
STEVE MENDEZ                        503 MURBACH ST                                                                                     ARCHBOLD           OH   43502‐1257
STEVE MICHEL                        2200 GREENTREE NORTH             WESTMINSTER APT. 2106                                             CLARKSVILLE        IN   47120
STEVE MICIC                         2680 N LAKE GEORGE RD                                                                              METAMORA           MI   48455‐9393
STEVE MIDDLETON                     18 E YPSILANTI AVE                                                                                 PONTIAC            MI   48340‐1977
STEVE MIHAIL                        PO BOX 121                                                                                         KENNEDALE          TX   76060‐0121
STEVE MIHALCIK                      C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS         OH   44236
STEVE MIKUS                         7175 S RANSOM RD                                                                                   ASHLEY             MI   48806‐9306
STEVE MILETICH                      PO BOX 143                                                                                         MONROE             MI   48161‐0143
STEVE MILLER                        13768 W WALKER RD                                                                                  FOWLER             MI   48835‐9277
STEVE MILLER                        11247 CLOVERLAWN DR                                                                                BRIGHTON           MI   48114‐8130
STEVE MILLEROV                      PO BOX 49                                                                                          REESE              MI   48757‐0049
STEVE MILLS                         3740 SEVILLE DR                                                                                    FLORISSANT         MO   63033‐2831
STEVE MILLS RACING & ACR            2215 W VERMIJO AVE                                                                                 COLORADO SPRINGS   CO   80904‐3346
STEVE MINETTE                       91 NORTHERN LIGHTS BLVD                                                                            KALISPELL          MT   59901‐3027
STEVE MISAK                         1372 BLANCHARD ST SW                                                                               WYOMING            MI   49509‐2722
STEVE MITCHELL                      2402 SUNCREST DR                                                                                   FLINT              MI   48504‐8415
STEVE MITTAG                        739 E SQUARE LAKE RD                                                                               TROY               MI   48085‐3106
STEVE MLINCEK                       982 FLAMINGO AVE                                                                                   SEBASTIAN          FL   32958‐5122
STEVE MOLNAR                        14622 FORD AVE                                                                                     ALLEN PARK         MI   48101‐1000
STEVE MONEYBRAKE                    11610 ORCHARD PARK DR                                                                              SPARTA             MI   49345‐9552
STEVE MONTANARO                     298 STONY POINT RD                                                                                 ROCHESTER          NY   14624‐1950
STEVE MOORE                         3310 MERIDIAN RD                                                                                   LESLIE             MI   49251‐9518
STEVE MOORE                         7395 GREEN VALLEY DR                                                                               GRAND BLANC        MI   48439‐8195
STEVE MOORE CHEVROLET               STEPHEN MOORE                    9325 SOUTH BLVD                                                   CHARLOTTE          NC   28273‐6943
STEVE MOORE CHEVROLET               9325 SOUTH BLVD                                                                                    CHARLOTTE          NC   28273‐6943
STEVE MOORE CHEVROLET DELRAY, LLC   JAMES BENDER                     1111 LINTON BLVD                                                  DELRAY BEACH       FL   33444‐1105
STEVE MOORE CHEVROLET LLC           STEPHEN MOORE                    9325 SOUTH BLVD                                                   CHARLOTTE          NC   28273‐6943
STEVE MOORE CHEVROLET, INC.         5757 LAKE WORTH RD                                                                                 GREENACRES         FL   33463‐3207
STEVE MOORE CHEVROLET, LLC          JAMES BENDER                     5757 LAKE WORTH RD                                                GREENACRES         FL   33463‐3207
STEVE MORAN                         975 YANCEY ST                                                                                      LIBERTY            MO   64068‐3390
STEVE MORBER                        1200 JAY ST                                                                                        WATERFORD          MI   48327‐2927
STEVE MORGAN                        PO BOX 713                                                                                         MONTEAGLE          TN   37356‐0713
STEVE MORRIS                        19810 CRESTVIEW                                                                                    PURCELL            OK   73080‐4761
STEVE MORTBY                        37258 LOCUST ST                                                                                    NEWARK             CA   94560
STEVE MOTZ                          1008 ENGLEWOOD AVE                                                                                 ROYAL OAK          MI   48073‐2866
STEVE MOUGHAMIAN
STEVE MOWERY                        8204 RED WING CT                                                                                   FREDERICK          MD 21701‐3281
STEVE MROFCHAK                      3180 MEADOW LN NE                                                                                  WARREN             OH 44483‐2634
STEVE MUELLER                       ROSENFELDER RING 52                                                       10315 BERLIN GERMANY
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Name                           Address1                       Address2                     Address3            Address4         City              State Zip
STEVE MYERS                    10191 N KELLER LN                                                                                MOORESVILLE        IN 46158‐6459
STEVE NAGY                     46520 SNOWBIRD DR                                                                                MACOMB             MI 48044‐4714
STEVE NAGY                     10215 E HAPPY HOLLOW DR                                                                          SCOTTSDALE         AZ 85262
STEVE NAGY                     809 STELLA ST                                                                                    SMYRNA             DE 19977‐1796
STEVE NANCE                    PO BOX 247                                                                                       MADISONVILLE       KY 42431
STEVE NEAL                     604 HERMAN AVE                                                                                   BOWLING GREEN      KY 42104‐8578
STEVE NELSON                   25276 RAMPART BOULEVARD                                                                          PUNTA GORDA        FL 33983‐6403
STEVE NEPHEW                   1415 COLONNADE DRIVE                                                                             ARLINGTON          TX 76018‐1827
STEVE NEWMAN                   2720 WHIPPOORWILL AVE                                                                            ELIDA              OH 45807‐1463
STEVE NEYMEIYER                6775 PORT SHELDON ST                                                                             HUDSONVILLE        MI 49426‐8509
STEVE NICHOLLS                 PO BOX 271                                                                                       CURTIS             MI 49820‐0271
STEVE NIELSEN TRUST            C/O JODY VALENTA WOLFSKIL      1017 CRESTVIEW RD                                                 ALBERT LEA         MN 56007
STEVE NIKO                     1363 NEAR TRL                                                                                    OSCODA             MI 48750‐9249
STEVE NOBLE                    PO BOX 1832                                                                                      MANSFIELD          OH 44901‐1832
STEVE NOLAN                    4012 STATE ROAD 446                                                                              HELTONVILLE        IN 47436‐8809
STEVE NOLL
STEVE NOTMAN                   1515 LAURENTIAN PASS                                                                             FLINT             MI   48532‐2051
STEVE NYHART                   10831 W 76TH ST                                                                                  SHAWNEE           KS   66214‐2937
STEVE O KEEFE                  21315 NALL AVE                                                                                   BUCYRUS           KS   66013‐9505
STEVE OBRADOVICH JR            103 BANE STREET SOUTHWEST                                                                        WARREN            OH   44485‐4002
STEVE OCHAB                    8259 ROSSI ROAD                                                                                  BRENTWOOD         TN   37027‐8368
STEVE OLIVER                   3021 PRATT RD                                                                                    METAMORA          MI   48455‐9710
STEVE OLIVERIO                 2777 COOK CREEK DR                                                                               ANN ARBOR         MI   48103‐8962
STEVE ONDRICK                  BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS        OH   44236
STEVE ONDRICK JR               BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS        OH   44236
STEVE ORASCO                   16 CENTER ST                                                                                     OXFORD            MI   48371‐4615
STEVE ORTLIEB                  4225 MILLER RD                 STE 9                                                             FLINT             MI   48507‐1257
STEVE OSTBY                    7150 WHITE OAK BLVD                                                                              MOUNT MORRIS      MI   48458‐9322
STEVE OSTERMAN                 3204 STATE HIGHWAY M35                                                                           BARK RIVER        MI   49807‐9631
STEVE OVICK                    635 NORTHRIDGE DR NW STE 100                                                                     PINE CITY         MN   55063‐5981
STEVE P CHUSKA                 25 ACADEMY ROAD                                                                                  SOMERSET          NJ   08873‐1620
STEVE P DURKO                  16 MOYER AVE                                                                                     CHARLEROI         PA   15022‐1709
STEVE P HOSTETLER              RT. 2 BOX 669                                                                                    BROOKHAVEN        MS   39601‐9802
STEVE P KUNKLE                 4884 OVIATT RD                                                                                   NEWTON FALLS      OH   44444
STEVE P O'CONNELL              202 CARLWOOD DRIVE                                                                               MAIMISBURG        OH   45342‐3568
STEVE P SCHERRER               1987 CRADLE MOUNTAIN WAY                                                                         BEND              OR   97701
STEVE P TOMBOR                 145 GLENDOLA AVE NW                                                                              WARREN            OH   44483‐1244
STEVE PALMER                   201 FAIRVIEW DRIVE                                                                               BRANDON           MS   39047‐7062
STEVE PARKER                   PO BOX 22042                                                                                     LANSING           MI   48909‐2042
STEVE PARKES                   26331 WHISPERING WOODS CIR                                                                       PLAINFIELD        IL   60585‐2585
STEVE PARRISH                  1001 NORTH 13TH STREET                                                                           SAINT JOSEPH      MO   64501‐1421
STEVE PATERAS                  250 VALLEY BROOK BLVD                                                                            HINCKLEY          OH   44233‐9686
STEVE PATTERSON                1110 YALE DR                                                                                     OXFORD            MI   48371‐5974
STEVE PATTON                   3415 WILLET AVE                                                                                  ROCHESTER HLS     MI   48309‐3545
STEVE PAUL GRESKO              BARON & BUDD PC                THE CENTRUM SUITE 1100       3102 OAK LAWN AVE                    DALLAS            TX   75219‐4281
STEVE PENCE                    5500 N AUSTIN DR                                                                                 MUNCIE            IN   47304‐5921
STEVE PERKINS                  306 MARQUETTE CT                                                                                 ROCHESTER HILLS   MI   48307‐2459
STEVE PERO                     1413 CENTER AVE                                                                                  BAY CITY          MI   48708‐6109
STEVE PERYMA                   1015 N FRANKLIN AVE APT 2                                                                        FLINT             MI   48506‐5101
STEVE PETERS CHEVROLET, INC.   STEVE PHILLIPOS                18033 HALSTED ST                                                  HOMEWOOD          IL   60430‐2505
STEVE PETERS CHEVROLET, INC.   18033 HALSTED ST                                                                                 HOMEWOOD          IL   60430‐2505
STEVE PETRONZIO                590 EDGEWOOD DR                                                                                  RIO VISTA         CA   94571‐9792
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Name                          Address1                           Address2                     Address3          Address4         City                  State Zip
STEVE PHELPS                  344 ZION HILL RD                                                                                   UNIONVILLE             TN 37180‐8681
STEVE PHILLIPS                1823 RIDGEWOOD AVE APT 306                                                                         HOLLY HILL             FL 32117‐1788
STEVE PICCIANO
STEVE PICKARD                 2318 BOLLMAN DR                                                                                    LANSING               MI   48917‐1311
STEVE PIERCE                  54 MATTHEWS SCHOOL RD                                                                              WINDER                GA   30680‐3941
STEVE PISARSKY                2325 RIVER AVE                                                                                     SANDUSKY              OH   44870‐3957
STEVE POLENSKY                7111 DIXIE HIGHWAY 156                                                                             CLARKSTON             MI   48346
STEVE POLLARD                 5419 E 96TH ST                                                                                     NORTH SPERRY          OK   74073
STEVE POMAVILLE               4009 S CRYSLER AVE APT 8                                                                           INDEPENDENCE          MO   64055‐4478
STEVE POOL
STEVE PRESCOTT                PO BOX 864                                                                                         SANTAQUIN             UT   84655‐0864
STEVE PROTULIS                12536 NW 58TH MNR                                                                                  CORAL SPRINGS         FL   33076‐1930
STEVE R AKINS                 2801 N UNION AVE APT 57                                                                            SHAWNEE               OK   74804‐2183
STEVE R CURTIS                300 RANDY DR                                                                                       WEST CARROLLTON       OH   45449
STEVE R DANKS                 904 RIVERVIEW DR                                                                                   GADSDEN               AL   35903
STEVE R HILL                  2435 TARPON BAY DR                                                                                 MIAMISBURG            OH   45342‐7851
STEVE R LEWIS                 3176 PLANK RD                                                                                      NATIONAL CITY         MI   48748‐9470
STEVE R ROBBINS               NIX PATTERSON & ROACH LLP          GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD          TX   75638
STEVE R SERECKY               8073 APPLE ORCHARD WAY                                                                             WASHINGTON            MI   48095‐1393
STEVE R WASHINGTON            1020 BELMONT PARK DR SE APT A                                                                      SMYRNA                GA   30080‐4804
STEVE RACZ JR                 PO BOX 23                                                                                          COOKEVILLE            TN   38503‐0023
STEVE RALEY                   906 WOODRUFF ROAD SW                                                                               DECATUR               AL   35603
STEVE RAPPLEY                 3529 RIVERWOODS DR NE                                                                              ROCKFORD              MI   49341‐9268
STEVE RAYMAN CHEVROLET        2155 COBB PKWY SE                                                                                  SMYRNA                GA   30080‐7632
STEVE RAYMAN CHEVROLET        ATTN: MR. STEVE RAYMAN             4200 JONESBORO RD                                               UNION CITY            GA   30291‐2266
STEVE RAYMAN CHEVROLET, LLC   2155 & 2185 COBB PARKWAY                                                                           SMYRNA                GA   30080
STEVE RAYMAN CHEVROLET, LLC   2155 & 2165 COBB PARKWAY, SE                                                                       SMYRNA                GA   30080
STEVE RAYMAN CHEVROLET, LLC   2155 AND 2165 COBB PARKWAY, SE                                                                     SMYRNA                GA   30080
STEVE RAYMAN CHEVROLET, LLC   STEVEN RAYMAN                      2155 COBB PKWY SE                                               SMYRNA                GA   30080‐7632
STEVE RAYMAN CHEVROLET, LLC   2155 COBB PKWY SE                                                                                  SMYRNA                GA   30080‐7632
STEVE RAYMOND AUTOMOTIVE
STEVE REEDER                  3245 HOOVER RD                                                                                     BETHEL                OH   45106‐9545
STEVE REEDY                   9047 BRIDGE HWY                                                                                    DIMONDALE             MI   48821‐9605
STEVE RENCHKOVSKY             BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS            OH   44236
STEVE REYNOLDS                3410 WOODVINE CIR                                                                                  HAUGHTON              LA   71037‐7511
STEVE RIBOVICH                6605 SENECA TRL                                                                                    MENTOR                OH   44060‐3420
STEVE RICE
STEVE RICH                    11774 STATE ROUTE 725                                                                              GERMANTOWN            OH   45327‐9760
STEVE RIDER                   680 S IRELAN LN                                                                                    MIDLAND               MI   48640‐8969
STEVE RILEY                   9733 DUDLEY ST                                                                                     TAYLOR                MI   48180‐3742
STEVE RISTOFF                 BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS            OH   44236
STEVE RODRIGUEZ               3226 S AUBURN DR                                                                                   SAGINAW               MI   48601‐4504
STEVE ROGERS                  6 ALTURA LN                                                                                        HOT SPRINGS VILLAGE   AR   71909‐7914
STEVE ROHDE                   2955 BATESON CT                                                                                    ANN ARBOR             MI   48105‐9651
STEVE ROSELLE                 2360 FAUVER AVE                                                                                    DAYTON                OH   45420‐2525
STEVE ROSIEK                  1701 32ND ST                                                                                       BAY CITY              MI   48708‐8728
STEVE RUDA                    3246 W 112TH ST                                                                                    CLEVELAND             OH   44111‐2719
STEVE RUMAN                   1850 PLEASANT VALLEY RD                                                                            GIRARD                OH   44420‐1263
STEVE RUSNOCK                 733 VILLAGE DR                                                                                     FOWLERVILLE           MI   48836‐7930
STEVE S BOONE                 334 ELLENWOOD DRIVE                                                                                W CARROLLTON          OH   45449‐2127
STEVE S WILKINS               12205 PEMWOOD LN                                                                                   FREDERICKSBRG         VA   22407‐2150
STEVE SABLE                   10100 SW 188TH CT                                                                                  DUNNELLON             FL   34432‐4483
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Name                           Address1                         Address2                     Address3            Address4                  City              State Zip
STEVE SABO                     614 N CANAL ST                                                                                              NEWTON FALLS       OH 44444‐1313
STEVE SAGEN                    PO BOX 103                                                                                                  FOOTVILLE          WI 53537‐0103
STEVE SAIA                     46460 STRATHMORE CT                                                                                         PLYMOUTH           MI 48170‐3488
STEVE SALTER                   2920 DIXIE HWY                                                                                              WATERFORD          MI 48328‐1715
STEVE SALUGA                   567 OAK KNOLL AVE SE                                                                                        WARREN             OH 44483‐6042
STEVE SANCHEZ
STEVE SAVANICK JR              602 PINEBROOK CRES                                                                                          VENICE            FL   34285‐6413
STEVE SCHAEFER                 15590 OCEAN WALK CIR             #7‐112                                                                     FORT MYERS        FL   33908
STEVE SCHIFF                   3391 LATHROP AVE                                                                                            SIMI VALLEY       CA   93063‐1110
STEVE SCHILLINGER              3036 W BALDWIN RD                                                                                           GRAND BLANC       MI   48439‐9323
STEVE SCHMIDT                  10642 NEW RD                                                                                                NORTH JACKSON     OH   44451‐9709
STEVE SCHMIDT                  307 MORTON LN                                                                                               OSSIAN            IN   46777‐9618
STEVE SCHMITT INC              12631 STATE ROUTE 143                                                                                       HIGHLAND          IL   62249‐1145
STEVE SCHMITT, INC.            12631 STATE ROUTE 143                                                                                       HIGHLAND          IL   62249‐1145
STEVE SCHMITT, INC.            STEVEN SCHMITT                   12631 STATE ROUTE 143                                                      HIGHLAND          IL   62249‐1145
STEVE SCHMITT‐BRUBAKER, INC.   STEVEN SCHMITT                   1 GALAXY LN                                                                LITCHFIELD        IL   62056‐1091
STEVE SCHMITT‐BRUBAKER, INC.   1 GALAXY LN                                                                                                 LITCHFIELD        IL   62056‐1091
STEVE SCHMITZ                  832 S MANITOU AVE                                                                                           CLAWSON           MI   48017‐1889
STEVE SCHORNAK                 7725 KNOLLS DR                                                                                              WATERFORD         MI   48329‐2621
STEVE SCHRIEFER                1603 FLORIDA ST                                                                                             MICHIGAN CITY     IN   46360‐6777
STEVE SCHUMAN                  10143 FREEDOMS WAY                                                                                          KEITHVILLE        LA   71047‐8950
STEVE SCHWEID
STEVE SCHWINKE                 9083 WOODGROVE DR                                                                                           PLYMOUTH          MI   48170‐5747
STEVE SCHYCK                   7106 GIBRALTAR AVE                                                                                          NEW PORT RICHEY   FL   34653‐4018
STEVE SCOTT ROARK              C/O BARON & BUDD PC              THE CENTRUM SUITE 1100       3102 OAK LAWN AVE                             DALLAS            TX   75219‐4281
STEVE SCOVILLE, INC.           STEPHEN SCOVILLE                 839 STATE ROUTE 17C                                                        OWEGO             NY   13827‐4817
STEVE SCROGGINS                1408 S WILLOW AVE                                                                                           INDEPENDENCE      MO   64052‐2252
STEVE SEEFELD                  1022 WILLOW DR                                                                                              CHOCTAW           OK   73020‐7146
STEVE SEKERAK                  1150 HAMMOND DR                  C/O LINDA C. LINDERMAN                                                     MATTHEWS          NC   28104‐8038
STEVE SELBERG                  5400 MARVIN RD                                                                                              CLARKSTON         MI   48346‐3430
STEVE SEMRO                    131 WESTMORELAND DR                                                                                         BULL SHOALS       AR   72619‐4335
STEVE SEPIC                    4325 BELMONT CT                                                                                             MEDINA            OH   44256‐7484
STEVE SERECKY                  8073 APPLE ORCHARD WAY                                                                                      WASHINGTON        MI   48095‐1393
STEVE SERNULKA                 1868 BEECHWOOD ST NE                                                                                        WARREN            OH   44483‐4136
STEVE SEXTON                   68 NICKELL CT                                                                                               GERMANTOWN        OH   45327‐9339
STEVE SEYBOLD                  7422 SOUTHWICK DR                                                                                           DAVISON           MI   48423‐9564
STEVE SHAFFER                  1712 SMITH ST                                                                                               YPSILANTI         MI   48198‐6755
STEVE SHAFTIC                  29 BUENA VISTA WAY                                                                                          NEW CASTLE        PA   16105‐1201
STEVE SHARP                    2 SOUTHBRIDGE CT                                                                                            SAINT PETERS      MO   63376‐3333
STEVE SHEFFIELD
STEVE SHELTON                  3227 S BELSAY RD                                                                                            BURTON            MI   48519‐1621
STEVE SHEPPARD                 1855 OTTAWA AVE                                                                                             DEFIANCE          OH   43512‐3507
STEVE SIEFKER                  16399 ROAD P                                                                                                COLUMBUS GRV      OH   45830‐9216
STEVE SIENKO                   272 COUNTY ROAD 1081                                                                                        CARTHAGE          TX   75633‐5241
STEVE SIGANOFF                 568 E VENBOW ST                                                                                             COVINA            CA   91722
STEVE SKAGGS                   13473 LAKE SHORE DR                                                                                         FENTON            MI   48430‐1023
STEVE SKRIPY JR                330 S CRAWFORD RD                                                                                           DEFORD            MI   48729‐9795
STEVE SLAMKA                   60 BEACHVIEW DR                                                                   ST CATHARINES ON L2N5Z7
                                                                                                                 CANADA
STEVE SLANKARD                 1138 S 138TH ST                                                                                             BONNER SPRNGS     KS 66012‐9267
STEVE SLIFKO                   BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS        OH 44236
STEVE SLOCIK                   13261 W OAK RIDGE LN                                                                                        HOMER GLEN        IL 60491‐8649
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Name                     Address1                           Address2                     Address3   Address4         City                State Zip
STEVE SLOVINSKY          1051 PERKINSWOOD BLVD SE APT 5                                                              WARREN               OH 44484‐4407
STEVE SMETHURST          PO BOX 5                                                                                    MULLIKEN             MI 48861‐0005
STEVE SMITH              7106 N LAKEWOOD DR LOT 86F                                                                  MONTICELLO           IN 47960
STEVE SMITH              245 3RD STREET                                                                              RUSSIAVILLE          IN 46979‐9132
STEVE SMITH              14400 N BANNER RD                                                                           YUKON                OK 73099‐8807
STEVE SMITH              780 EDNAVILLE RD                                                                            BRASELTON            GA 30517‐2315
STEVE SMITH              4329 WHITE OAK DR                                                                           MURFREESBORO         TN 37128‐4524
STEVE SMITH              366 LOCH LOMOND DR                                                                          FARMERVILLE          LA 71241‐5672
STEVE SMITH              10981 HIGHWAY 207                                                                           ANDERSON             AL 35610‐4055
STEVE SMITH
STEVE SMITH COUNTRY      6372 W SUNSET AVE                                                                           SPRINGDALE          AR 72762‐0760
STEVE SMOLINSKY          5040 SHERIDAN RD                                                                            POLAND              OH 44514‐1279
STEVE SOENKSEN
STEVE SOLIWODA           BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
STEVE SOMMERFELDT
STEVE SOMODI             684 GREYLOCK ST                                                                             BELLEVILLE          MI   48111‐2769
STEVE SONS               1502 HILLCREST RD                                                                           BEDFORD             IN   47421‐3028
STEVE SORLAGAS           17210 MOUNT STEPHEN AVE                                                                     CANYON CNTRY        CA   91387‐3145
STEVE SOULLIERE          PO BOX 42                                                                                   ONONDAGA            MI   49264‐0042
STEVE SOWULEWSKI         155 ELAINE ST                                                                               SAGINAW             MI   48609‐9437
STEVE SPENCER            1983 AUTUMN WIND DR                                                                         GROVE CITY          OH   43123‐8363
STEVE SQUIRIC            BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH   44236
STEVE STADLER
STEVE STARKEY
STEVE STARR              3201 96TH AVE NE                                                                            NORMAN              OK   73026‐5954
STEVE STARWALT           1649 N BOWMAN                                                                               DANVILLE            IL   61832
STEVE STAVROS            8780 W CUTLER RD                                                                            DEWITT              MI   48820‐8064
STEVE STEHURA            PO BOX 104                                                                                  FOWLER              OH   44418‐0104
STEVE STEIGERWALT        634 FRANCIS DR                                                                              ANDERSON            IN   46013‐1614
STEVE STEITZ             1077 BROOKSIDE DR                                                                           GRAND LEDGE         MI   48837‐1372
STEVE STERNER            509 WAYNE DR                                                                                SHREVEPORT          LA   71105‐4721
STEVE STINSON            2830 CHEROKEE LN                                                                            NEW CASTLE          IN   47362‐5310
STEVE STOCKSLAGER        1 WESTERN DR                                                                                W ALEXANDRIA        OH   45381‐1125
STEVE STONE              6327 FREEMAN RD                                                                             KRUM                TX   76249‐3363
STEVE STOPJIK            11903 PEET RD                                                                               CHESANING           MI   48616‐9574
STEVE STRADER            11075 WOODLAND DR                                                                           HOUGHTON LAKE       MI   48629‐9170
STEVE STREETMAN          9263 STAR CT                                                                                SWARTZ CREEK        MI   48473‐8533
STEVE STRONGRICH         1468 CRANBROOK DR                                                                           SAGINAW             MI   48638‐5469
STEVE STRZYNSKI          1460 S CUMMINGS RD                                                                          DAVISON             MI   48423‐9147
STEVE SUDSBERRY          2013 ELIM CHURCH RD                                                                         LUDOWICI            GA   31316
STEVE SUHAR              18629 NORHT 28TH WAY                                                                        PHOENIX             AZ   85050
STEVE SUSHYNSKY          4500 JONES RD                                                                               NORTH BRANCH        MI   48461‐8224
STEVE SUSKO              1594 SABINA WAY                                                                             SAN JOSE            CA   95118
STEVE SWAGEL JR          273 UTICA ST                                                                                TONAWANDA           NY   14150‐5433
STEVE SWAN               1049 SCOTTS HIDEAWAY RD                                                                     FARMERVILLE         LA   71241‐7517
STEVE SWIRPLE            5948 ROBINDALE AVE                                                                          DEARBORN HTS        MI   48127‐3144
STEVE SZABO              1400 NE 191ST ST APT 245                                                                    NORTH MIAMI BEACH   FL   33179‐4076
STEVE SZTUMERSKI         1801 KRISTINA DR                                                                            WHITE LAKE          MI   48386‐1864
STEVE SZUCS              43923 5TH ST E                                                                              LANCASTER           CA   93535‐4053
STEVE T HOFFMAN          7845 KRISDALE DR                                                                            SAGINAW             MI   48609‐4932
STEVE T RUMAN            1850 PLEASANT VALLEY RD                                                                     GIRARD              OH   44420‐1263
STEVE T RUMSEY IRA R/O   C/O STEVE T RUMSEY                 1601 E 2ND ST                                            SANFORD             FL   32771
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Name                       Address1                           Address2                     Address3   Address4                   City                  State Zip
STEVE TAHREBANDI           42828 MCCARTHY BLVD                                                                                   CLINTON TWP            MI 48038‐1785
STEVE TAMMER               355 MUTH RD                                                                                           MANSFIELD              OH 44903‐1921
STEVE TANINECZ             422 E WHEELING ST APT A3                                                                              WASHINGTON             PA 15301
STEVE TAPLEY               3700 DEL RD                                                                                           DEL CITY               OK 73115‐2325
STEVE TATROE               12100 FRANDSCHE RD                                                                                    SAINT CHARLES          MI 48655‐9657
STEVE TEACHOUT             PO BOX 108                                                                                            WHITTAKER              MI 48190‐0108
STEVE TEDESCO
STEVE TELEGRAPHIS          2046 NEW DR SW                                                                                        WARREN                OH   44481‐9211
STEVE THOMAS               8005 SE 240TH ST                                                                                      LATHROP               MO   64465‐8537
STEVE THOMAS               7131 WHITE TAIL DR                                                                                    GRAND BLANC           MI   48439‐9644
STEVE THOMAS JR            934 MASON TURNER RD N W            APT 9‐B                                                            ATLANTA               GA   30314
STEVE THOMPSON             2602 LULLWATER RD                                                                                     TIFTON                GA   31794‐1631
STEVE THOMPSON             2119 SHAWNEE DR                                                                                       DEFIANCE              OH   43512‐3332
STEVE THOMPSON
STEVE THOMPSON CARS LTD.   EASTERN AVENUE                                                             LICHFIELD, STAFFORDSHIRE
                                                                                                      WS13 GREAT BRITAIN
STEVE THOMSON              14652 CLINTONIA RD                                                                                    GRAND LEDGE           MI   48837‐9505
STEVE TIBAUDO              22531 BARTON                                                                                          ST. CLAIR SHORES      MI   48081
STEVE TINSLEY              3810 W CHAPEL RD                                                                                      ABERDEEN              MD   21001‐1117
STEVE TITHERAGE            57429 RIDGEWOOD DR                                                                                    WASHINGTON TOWNSHIP   MI   48094‐3161
STEVE TOLSTICK             BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                         BOSTON HEIGHTS        OH   44236
STEVE TOMA                 5348 S SCRIBNER RD                                                                                    DURAND                MI   48429‐9125
STEVE TOMBLIN              14795 LEFFINGWELL RD                                                                                  BERLIN CENTER         OH   44401‐9621
STEVE TOMBOR               145 GLENDOLA AVE NW                                                                                   WARREN                OH   44483‐1244
STEVE TOMCHANYI            3596 PINE CREEK RD                                                                                    METAMORA              MI   48455‐9602
STEVE TRIJO                3057 BUSCH RD                                                                                         BIRCH RUN             MI   48415‐9010
STEVE TROUTMAN             1207 TOWER DR                                                                                         DANVILLE              PA   17821‐9140
STEVE TROXELL              PO BOX 47                                                                                             NEW WAVERLY           IN   46961‐0047
STEVE TRUBY                515 EAST 5TH STREET                PO BOX 0163                                                        HUXLEY                IA   50124
STEVE TSAPATORIS           22542 LAZY K                                                                                          SOUTH LYON            MI   48178‐8243
STEVE TSIKOURIS            694 DEVITT AVE                                                                                        CAMPBELL              OH   44405‐1519
STEVE TURNER               4031 ARTHINGTON BLVD                                                                                  INDIANAPOLIS          IN   46226‐4521
STEVE TURNER               326 SMITH ST                                                                                          ROCKMART              GA   30153‐1812
STEVE TUZA                 330 MADISON AVE                                                                                       CUYAHOGA FALLS        OH   44221‐1410
STEVE UHELSKI              308 WOODBRIDGE DR                                                                                     GRAND BLANC           MI   48439‐1140
STEVE UHRIG                8565 SMITH CALHOUN RD LOT 56                                                                          PLAIN CITY            OH   43064‐8104
STEVE ULBERG               9415 64TH AVE                                                                                         HUDSONVILLE           MI   49426‐9533
STEVE VANECHANOS           96 UNION AVE                                                                                          RUTHERFORD            NJ   07070
STEVE VANNIER
STEVE VENSKO               6360 S ELMS RD                                                                                        SWARTZ CREEK          MI   48473‐9438
STEVE VILLALPANDO          PO BOX 19                                                                                             IMLAY CITY            MI   48444‐0019
STEVE VILLEGAS             2663 CLOVERDALE AVE                                                                                   ADRIAN                MI   49221‐3510
STEVE VIVIAN               42733 HEYDENREICH RD                                                                                  CLINTON TWP           MI   48038‐2422
STEVE W HEAD               500 STOVER RD                                                                                         WEST ALEXANDRIA       OH   45381
STEVE W KRENNING           2425 KING RICHARD PKWY                                                                                MIAMISBURG            OH   45342
STEVE W TRUETT             4082 MARIANNE DR                                                                                      DAYTON                OH   45404‐1374
STEVE WAISHWELL            5761 VIAL PKWY                                                                                        LA GRANGE             IL   60525‐3741
STEVE WALKER               25115 COWBOY LN                                                                                       TECUMSEH              OK   74873‐7455
STEVE WALKER               25515 COWBOY LANE                                                                                     TECUMSEH              OK   74873
STEVE WALTERS              6606 SALEM RD                                                                                         PLYMOUTH              MI   48170‐5038
STEVE WARD                 1434 LANCELOT DR                                                                                      ROSEDALE              MD   21237‐1531
STEVE WASHINGTON           1020 BELMONT PARK DR SE APT A                                                                         SMYRNA                GA   30080‐4804
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Name                       Address1                         Address2                     Address3   Address4         City                State Zip
STEVE WASHINGTON           3191 W MYRTLE AVE                                                                         FLINT                MI 48504‐1825
STEVE WASHINGTON           PO BOX 424                                                                                WESSON               MS 39191
STEVE WASILEWSKI           1025 W LIBERTY ST                                                                         HUBBARD              OH 44425‐1339
STEVE WATTERSON            199 HONEYVIEW ACRES                                                                       SPEEDWELL            TN 37870‐7781
STEVE WAYMON               1527 BISHOP DR                                                                            TROY                 MO 63379‐3343
STEVE WEBER                C/O PAUL HANLEY & HARLEY         1608 4TH ST SUITE 300                                    BERKELEY             CA 94710‐1749
STEVE WEI
STEVE WEICHMAN             198 OTTERBEIN DR                                                                          LEXINGTON           OH   44904‐9783
STEVE WEISS                8327 HERRINGTON AVE NORTHEAST                                                             BELMONT             MI   49306‐9776
STEVE WENDLING             220 MEADOWSIDE DR                                                                         MANSFIELD           TX   76063‐6296
STEVE WESTFALL             24275 ARMADA RIDGE RD                                                                     ARMADA              MI   48005‐4859
STEVE WHITAKER             PO BOX 361                                                                                THOMPSONS STATION   TN   37179‐0361
STEVE WHITE                5655 HENRY BAILEY RD                                                                      SUGAR HILL          GA   30518‐4507
STEVE WHITE                326 WALTON AVE                                                                            DAYTON              OH   45417‐1670
STEVE WHITE I I I          19978 HUNT CLUB DR                                                                        HARPER WOODS        MI   48225‐1758
STEVE WHITFIELD            C/O THE LAW OFFICES OF PETER G   100 N CHARLES ST             22ND FL                     BALTIMORE           MD   21201
                           ANGELOS
STEVE WHITNEY              4445 CHEVRON DR                                                                           HIGHLAND            MI   48356‐1125
STEVE WIERSMA              11904 E CREEK RD                                                                          DARIEN              WI   53114‐1126
STEVE WILKINS              12205 PEMWOOD LN                                                                          FREDERICKSBRG       VA   22407‐2150
STEVE WILLIAMS             PO BOX 95                                                                                 NEW FLORENCE        MO   63363‐0095
STEVE WILLIAMS             1424 S UNION ST                                                                           LIMA                OH   45804‐2156
STEVE WILLIAMS             4088 ATLANTA DR                                                                           COLUMBUS            OH   43228‐2102
STEVE WILSON               4737 SPRING COVE DR                                                                       MURFREESBORO        TN   37128‐4139
STEVE WINKLER, INC.        15200 US 150                                                                              PARIS               IL   61944
STEVE WINKLER, INC.        DARRELL WINKLER                  15200 US 150                                             PARIS               IL   61944
STEVE WISE                 17812 STATE ROUTE 18                                                                      DEFIANCE            OH   43512‐8202
STEVE WISNIEWSKI           405 AUBURN DR APT A                                                                       DAYTONA BEACH       FL   32118‐3221
STEVE WOODBY               146 M KYKER RD                                                                            TELFORD             TN   37690‐2817
STEVE WOODS                938 WILLOW ST                                                                             GADSDEN             AL   35901
STEVE WORONKO              17980 W STANTON RD                                                                        PIERSON             MI   49339‐9644
STEVE WRIGHT               PO BOX 90                                                                                 BROOKFIELD          CT   06804‐0090
STEVE WURTH                16 APPLEHILL CT                                                                           SAINT PETERS        MO   63376‐1981
STEVE YAKLIN               12521 WALLACE DR                                                                          CLIO                MI   48420‐1844
STEVE YOKOBOSKY            5044 2ND ST                                                                               SWARTZ CREEK        MI   48473‐1421
STEVE YOUNG                13020 LIBERTY SCHOOL RD                                                                   AZLE                TX   76020‐5722
STEVE YOUNG                1461 MARINA POINTE BLVD                                                                   LAKE ORION          MI   48362‐3906
STEVE YUREK                1859 LANCASTER LN                                                                         WOODRIDGE           IL   60517‐7625
STEVE YURKO JR             BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH   44236
STEVE ZAJAC                10450 S 82ND AVE                                                                          PALOS HILLS         IL   60465‐1832
STEVE ZAWILINSKY           C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH   44236
STEVE ZECHMEISTER          4244 ELMWOOD RD                                                                           AKRON               MI   48701‐9703
STEVE ZERKA                5261 WYNDEMERE SQ                                                                         SWARTZ CREEK        MI   48473‐8896
STEVE ZONDLAK              16734 DUNSWOOD RD                                                                         NORTHVILLE          MI   48168‐2312
STEVE ZUMERLING            487 CHARLES AVE                                                                           CORTLAND            OH   44410‐1301
STEVE ZYZIK                9 ISABEL ST                                                                               MASSENA             NY   13662‐2506
STEVE'S AUTO CARE          221 E TIFFIN ST                                                                           WILLARD             OH   44890‐1520
STEVE'S AUTO ELECTRIC      451 N HIGHWAY 52                                                                          MONCKS CORNER       SC   29461‐3924
STEVE'S AUTO REPAIR        27168 469TH AVE                                                                           TEA                 SD   57064‐8100
STEVE'S AUTO REPAIR        2400 E 12TH ST                                                                            OAKLAND             CA   94601‐1017
STEVE'S AUTO SERVICE       560 US HIGHWAY 250 S                                                                      NORWALK             OH   44857‐8874
STEVE'S AUTO SERVICE INC   2551 GAYTON CENTRE DR                                                                     RICHMOND            VA   23238‐6912
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Name                                  Address1                         Address2                       Address3                     Address4                   City               State Zip
STEVE'S AUTO WORKS                    115 W MAIN ST                                                                                                           MERRIMAC            MA 01860‐2240
STEVE'S AUTOMOTIVE                    615 N GREENBRIAR PKWY STE B                                                                                             MARIETTA            GA 30062‐0823
STEVE'S AUTOMOTIVE & MACHINE                                           2909 HWY 95                                                                                                ID 83610
STEVE'S AUTOMOTIVE REPAIR CENTER      720 E CENTRAL RD                                                                                                        DES PLAINES          IL 60016‐1102
STEVE'S COMPUTERIZED TUNE UP          2120 FALCON RD                                                                                                          ALTUS               OK 73521‐5002
STEVE'S GARAGE                        1359 SW 21ST TER                                                                                                        FORT LAUDERDALE     FL 33312‐3116
STEVE'S PRO‐LUBE AND SERVICE CENTER   108 W WADE LN                                                                                                           PAYSON              AZ 85541‐4849

STEVE'S QUICK SERVICE                 601 MAIN ST                                                                                                             GOODING             ID   83330‐1333
STEVE'S SERVICE                       1179 MATHESON DR RR 1                                                                        SMITHS FALLS ON K7A 5B8
                                                                                                                                   CANADA
STEVE'S SERVICE                       2075 AMELIA AVE                                                                              SIDNEY BC V8L 3Z8 CANADA
STEVE'S SERVICE                       320 E FREEBORN ST                                                                                                       CECIL              WI    54111‐9272
STEVE'S SMALL CAR REPAIR              6236 MAIN AVE BLDG 3‐4                                                                                                  ORANGEVALE         CA    95662
STEVE'S TIRE & ALIGNMENT              722 W CAMERON AVE                                                                                                       ROCKDALE           TX    76567‐2712
STEVE, GEORGE N                       561 S ELBA RD                                                                                                           LAPEER             MI    48446‐2790
STEVE, SAUNDRA D                      342 E MOTT AVE                                                                                                          FLINT              MI    48505‐5208
STEVE, SAUNDRA DELORES                342 E MOTT AVE                                                                                                          FLINT              MI    48505‐5208
STEVE, TOMMI W.                       APT 206                          8590 NORTH HIX ROAD                                                                    WESTLAND           MI    48185‐5795
STEVEDORING SERVICES OF AMERICA                                        1999 MIDDLE HARBOR ROAD                                                                                   CA    94607
STEVEN & CAROL MCCORMICK              521 BRADFORD DRIVE                                                                                                      ROCKVILLE          MD    20850
STEVEN & NANCI LYON                   STEVEN LYON                      440 LESLIE DR                                                                          FRANKENMUTH        MI    48734
STEVEN A ARGAST                       8114 BROOKVILLE PHILLIPSBG RD                                                                                           BROOKVILLE         OH    45309
STEVEN A BECKLEY                      2635 RHAPSODY DR                                                                                                        DAYTON             OH    45449‐3358
STEVEN A BOSKOVICH                    1290 S LINDEN RD                                                                                                        FLINT              MI    48532‐3407
STEVEN A BRENNER                      11807 CHRISTY GLEN CT                                                                                                   HOUSTON            TX    77089
STEVEN A CARNEY                       ATTN: ROBERT W PHILLIPS          SIMMONS BROWDER GIANARIS       707 BERKSHIRE BLVD, PO BOX                              EAST ALTON         IL    62024
                                                                       ANGELIDES & BARNERD LLC        521
STEVEN A CURTIS                       7457 YANKEE ST                                                                                                          CENTERVILLE        OH    45459‐3325
STEVEN A DANIELS                      943 MARTIN ROAD                                                                                                         W HENRIETTA        NY    14586
STEVEN A DAVIS                        PO BOX 320041                                                                                                           FLINT              MI    48532‐0001
STEVEN A EMMONS                       1001 FULLER WISER RD             APT 518                                                                                EULESS             TX    76039‐8209
STEVEN A FRY                          2034 CADIE AVE                                                                                                          DAYTON             OH    45414‐3323
STEVEN A JACKSON                      319 LUCAS ST                                                                                                            KOSCIUSKO          MS    39090‐3440
STEVEN A JACKSON II                   929 WILMINGTON AVE APT A                                                                                                DAYTON             OH    45420‐‐ 16
STEVEN A JOHNSON                      1002 N CHERRY ST                                                                                                        GERMANTOWN         OH    45327
STEVEN A JOHNSTON                     NIX, PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT       205 LINDA DR                                            DAINGERFIELD       TX    75638
STEVEN A JULY                         10202 LAKE RD                                                                                                           OTISVILLE          MI    48463‐9714
STEVEN A KLEINER                      1015 CABOT DR                                                                                                           FLINT              MI    48532‐2633
STEVEN A KOBRIN                       111 BRISTOL DR                                                                                                          DAYTON             OH    45458
STEVEN A LEWIS                        518 ORCHARD ST                                                                                                          MIDDLETOWN         OH    45044‐4923
STEVEN A MAZUR                        15983 MEADOWWOOD                                                                                                        SOUTHFIELD         MI    48076
STEVEN A MENKEN                       PO BOX 7370                                                                                                             BLOOMFIELD HILLS   MI    48302‐7370
STEVEN A MORRIS                       363 W BIG BEAVER RD STE 250                                                                                             TROY               MI    48084‐5222
STEVEN A OCENASEK                     5320 DUFFIELD RD                                                                                                        FLUSHING           MI    48433‐9765
STEVEN A PAYLOR                       PO BOX 5973                                                                                                             BOSSIER CITY       LA    71171‐5973
STEVEN A RITZ                         3727 SPRINGBORO RD                                                                                                      LEBANON            OH    45036
STEVEN A ROLLER                       11 BUDDE CT                                                                                                             FORT THOMAS        KY    41075‐1215
STEVEN A SERING                       146 WEINLAND DRIVE                                                                                                      NEW CARLISLE       OH    45344‐2926
STEVEN A SIMAN                        ACCT OF CHARLES AMANZE           3250 W BIG BEAVER RD STE 344                                                           TROY               MI    48084‐2902
STEVEN A SIMAN                        ACCT OF HAROLD CRUTCHFIELD       3250 W BIG BEAVER RD STE 344                                                           TROY               MI    48084‐2902
STEVEN A SIMAN                        ACCT OF D ZIMMERMAN              3250 W BIG BEAVER RD STE 344                                                           TROY               MI    48084‐2902
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Name                           Address1                        Address2                       Address3            Address4         City             State Zip
STEVEN A SIMAN                 ACCT OF MERCY HOSPITAL          3270 WEST BIG BEAVER STE 440                                        TROY              MI 48084
STEVEN A SIMAN                 ACCT OF PHILIP GORMAN           3250 W BIG BEAVER RD STE 344                                        TROY              MI 48084‐2902
STEVEN A SIMAN PC              ACCT OF RANDOLPH CARTER         3270 W BIG BEAVER RD STE 440                                        TROY              MI 48084
STEVEN A SMITH                 7352 N BRAY RD                                                                                      MOUNT MORRIS      MI 48458‐8830
STEVEN A SORENSEN              34 DUNBAR RD                                                                                        HILTON            NY 14468‐9104
STEVEN A TINNIN                8055 BEECHER RD                                                                                     FLUSHING          MI 48433‐9424
STEVEN A TOMICH                9285 S BYRON RD                                                                                     DURAND            MI 48429‐9416
STEVEN A WILLIS                1023 NEWPARK DR                                                                                     ENGLEWOOD         OH 45322‐2228
STEVEN A WINSKI                981 E ELM RD                                                                                        OAK CREEK         WI 53154‐6477
STEVEN A WISE                  13969 US HIGHWAY 35 NW                                                                              JEFFERSONVILLE    OH 43128‐9769
STEVEN A WOGGERMON             9159 CHESTERFIELD DR                                                                                SWARTZ CREEK      MI 48473‐1121
STEVEN A. SEXTON
STEVEN ABDELNOUR               6850 PATRICK CT                                                                                     CLARKSTON        MI   48346‐2271
STEVEN ABRAM                   1845 TRUEMAN CT                                                                                     ORTONVILLE       MI   48462‐8555
STEVEN ADAMS                   835 ANDREWS RD                                                                                      MEDINA           OH   44256‐2002
STEVEN ADAMS                   2605 N NESHANNOCK RD                                                                                SHARPSVILLE      PA   16150‐3425
STEVEN ADAMS                   2746 APACHE DR                                                                                      ANDERSON         IN   46012‐1402
STEVEN ADAMS                   213 GRANDMERE DR                                                                                    FLINT            MI   48507‐4265
STEVEN ADKINS                  12 PINEWOOD DR                                                                                      WEST MILTON      OH   45383‐1245
STEVEN ALBERT                  1914 ELIZABETH ST                                                                                   JANESVILLE       WI   53548‐2706
STEVEN ALBERT                  STEVEN ALBERT ROTH IRA          FCC AS CUSTODIAN               3984 RIDGEMOOR DR                    HOLT             MI   48842‐9759
STEVEN ALDERMAN                21152 N VANCEY DR                                                                                   BROOK PARK       OH   44142‐1217
STEVEN ALEXANDER               8 N 675 W                                                                                           ANDERSON         IN   46011‐9111
STEVEN ALEXANDER               6913 W 250 S                                                                                        RUSSIAVILLE      IN   46979‐9495
STEVEN ALEXANDER               7289 FORD RIDGE RD                                                                                  NASHVILLE        IN   47448‐8610
STEVEN ALLEN                   302 S WILLIAMS ST                                                                                   PERRY            MI   48872‐8124
STEVEN ALLEN                   8615 PONTIAC LAKE RD APT 6                                                                          WHITE LAKE       MI   48386‐1671
STEVEN ALLEN                   11269 LAKE RD                                                                                       OTISVILLE        MI   48463‐9716
STEVEN ALLEN                   2680 BIALIK RD                                                                                      MANISTEE         MI   49660‐9451
STEVEN ALLISON                 900 JAMES PL                                                                                        DANVILLE         IL   61832‐3423
STEVEN ALLISON                 400 N NORTH SHORE DR                                                                                LAKE ORION       MI   48362‐3063
STEVEN ALTENBERNDT             7295 SURFWOOD DR                                                                                    FENTON           MI   48430‐9353
STEVEN ALVAREZ                 1437 GRABER DR                                                                                      LAKEWOOD         OH   44107‐3215
STEVEN ALVES                   575 MISTHAVEN CT                                                                                    SUWANEE          GA   30024‐3755
STEVEN AMBROSE                 15801 PEMBERVILLE RD                                                                                PEMBERVILLE      OH   43450
STEVEN AMEY SR                 3058 LINDSEY RD                                                                                     ATTICA           NY   14011‐9681
STEVEN AND BETTIE VON STROHE   538 HIDE AWAY LN EAST                                                                               LINDALE          TX   75771
STEVEN ANDERS                  9406 EGLER RD                                                                                       DEFIANCE         OH   43512‐9002
STEVEN ANDERSEN                1506 BEAUMONT TER                                                                                   SPRING HILL      TN   37174‐7168
STEVEN ANDERSON                1090 SAINT ALBANS RD                                                                                SAN MARINO       CA   91108‐1852
STEVEN ANDERSON                7171 BREWER RD                                                                                      FLINT            MI   48507‐4609
STEVEN ANDERSON                2255 E 600 N                                                                                        ALEXANDRIA       IN   46001‐8781
STEVEN ANDERSON                8976 SW 33RD TER                TER                                                                 OCALA            FL   34476‐4622
STEVEN ANDERSON                5891 ROWLEY BLVD                                                                                    WATERFORD        MI   48329‐3249
STEVEN ANDERSON                9533 CASS AVE                                                                                       TAYLOR           MI   48180‐3508
STEVEN ANDIS                   3178 BEACH BLVD                                                                                     CICERO           IN   46034‐9600
STEVEN ANDRASKO                30175 OLD PLANK RD                                                                                  WIXOM            MI   48393‐2215
STEVEN ANDREEN                 6165 ARROWCREST CT NE                                                                               ROCKFORD         MI   49341‐7368
STEVEN ANDREWS                 222 W STEWART AVE                                                                                   FLINT            MI   48505‐3283
STEVEN ANSCOMB                 5249 GLEN OAK PL                                                                                    SAGINAW          MI   48603‐1765
STEVEN ANSCOMB II              1630 BROCKWAY ST                                                                                    SAGINAW          MI   48602‐2644
STEVEN ANTAL JR                7228 MAPLEWOOD RD                                                                                   PARMA            OH   44130‐3727
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Name                Address1                      Address2            Address3         Address4         City               State Zip
STEVEN APPLEGATE    1155 E CROSS ST                                                                     YPSILANTI           MI 48198‐3953
STEVEN ARCHER       1207 PENNYROYAL CIR                                                                 MEDINA              OH 44256‐4115
STEVEN AREVALO      18902 WATSON AVE                                                                    CERRITOS            CA 90703‐6370
STEVEN ARMSTRONG    557 HIGHPOINT DR                                                                    SPRINGBORO          OH 45066‐9673
STEVEN ARMSTRONG    7200 S HIBISCUS DR                                                                  MUNCIE              IN 47302‐8527
STEVEN ARMSTRONG    5597 CORAL WAY                                                                      HASLETT             MI 48840‐9736
STEVEN ARNETT       4091 MILLSBORO RD W                                                                 MANSFIELD           OH 44903‐8788
STEVEN ARNOLD       N3869 KLONDIKE RD                                                                   MONROE              WI 53566‐9123
STEVEN ARNOLD       221 N GRIFFITH PARK DR                                                              BURBANK             CA 91506‐2028
STEVEN ARSENAULT    53537 DEERFIELD LN                                                                  NEW BALTIMORE       MI 48047‐6395
STEVEN ARSLAN       335 CLIFF VIEW DR                                                                   RENO                NV 89523‐9607
STEVEN ASH          1614 DIAMOND BROOK DR                                                               HOUSTON             TX 77062‐2097
STEVEN ASHBY        10050 CAMP TRACY RD                                                                 GLEN ST MARY        FL 32040‐2704
STEVEN ASTALOS      5829 SHERO RD                                                                       HAMBURG             NY 14075‐7148
STEVEN ATKINSON     2775 RINIEL RD                                                                      LENNON              MI 48449‐9334
STEVEN AUSTIN       6519 FREMONT CIR                                                                    HUNTINGTON BEACH    CA 92648‐6637
STEVEN AUVENSHINE   46091 WINDRIDGE LN                                                                  CANTON              MI 48188‐6226
STEVEN B CARR       5776 S RIDGEWAY RD.                                                                 ANDERSON            IN 46013
STEVEN B CORKE      28 BLUE SPRUCE DR                                                                   ROCHESTER           NY 14624‐5529
STEVEN B HAMILTON   7649 RAMBLER DR.                                                                    CENTERVILLE         OH 45459‐5140
STEVEN B KNEE       8727 SYCAMORE ST                                                                    SPRINGBORO          OH 45066
STEVEN B LINK       7450 ZIMMERMAN RD ‐1                                                                SAINT PARIS         OH 43072
STEVEN B MATHEWS    3316 NORTHWEST BLVD NW                                                              WARREN              OH 44485‐‐ 22
STEVEN B MORSE      14071 BELSAY RD                                                                     MILLINGTON          MI 48746‐9215
STEVEN BABCOCK      8 CHESTNUT CIR E                                                                    DAVISON             MI 48423‐9162
STEVEN BABER        8520 W NEWBURG RD                                                                   CARLETON            MI 48117‐9480
STEVEN BADGLEY      5659 CLARK ST                                                                       PECK                MI 48466‐9795
STEVEN BADURIK      108 CREED CIR                                                                       CAMPBELL            OH 44405‐1205
STEVEN BAER         5944 SNOW APPLE DR                                                                  CLARKSTON           MI 48346‐3045
STEVEN BAHE         108 CHURCHILL PL                                                                    FRANKLIN            TN 37067‐4435
STEVEN BAILEY       608 W FARGO ST                                                                      IONIA               MI 48846‐1131
STEVEN BAILEY       413 MACADAMIA DR.                                                                   BAREFOOT BAY        FL 32976
STEVEN BAINES       26440 RIDGETRAIL DR                                                                 WARRENTON           MO 63383‐6571
STEVEN BAIZE        3606 S MAPLE LN                                                                     MUNCIE              IN 47302‐5884
STEVEN BAKER        11143 LAKE RD                                                                       MONTROSE            MI 48457‐9770
STEVEN BAKER        6225 BULLARD RD                                                                     FENTON              MI 48430‐9412
STEVEN BALDUS       6090 RADDATZ RD                                                                     FOWLERVILLE         MI 48836‐9744
STEVEN BALDWIN      141 LEETONIA DR                                                                     TROY                MI 48085‐5513
STEVEN BALGAARD     7458 LEDGEWOOD DR                                                                   FENTON              MI 48430‐9224
STEVEN BALL         3430 W MINERAL POINT RD                                                             JANESVILLE          WI 53548‐3203
STEVEN BALLARD      110 DERBY DRIVE                                                                     CRITTENDEN          KY 41030‐8994
STEVEN BALLENTINE   9134 LYNDENGLEN CT                                                                  HOWELL              MI 48843‐6123
STEVEN BANKS        100 BARKLEY PL                                                                      MONROE              LA 71203‐2406
STEVEN BANKS        4001 NW DELWOOD DR                                                                  BLUE SPRINGS        MO 64015‐2494
STEVEN BANKS        2105 TUSCOLA ST                                                                     FLINT               MI 48503‐2191
STEVEN BANTA        119 SURREY LN                                                                       GREENVILLE          OH 45331‐2929
STEVEN BANTZ        1010 SMITH ST                                                                       ROANOKE             IN 46783‐9113
STEVEN BARKER       7047 HOUSTON RD                                                                     EATON RAPIDS        MI 48827‐9510
STEVEN BARKER       3751 SWIGART RD                                                                     DAYTON              OH 45440‐3527
STEVEN BARKER       2171 W BATAAN DR                                                                    KETTERING           OH 45420‐3647
STEVEN BARKLEY      16305 SLATER AVE                                                                    BELTON              MO 64012‐1789
STEVEN BARMETTLER   41 W MILTON AVE                                                                     HAZEL PARK          MI 48030‐2422
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Name                    Address1                      Address2            Address3         Address4         City                  State Zip
STEVEN BARNES           3449 STARWICK DR                                                                    CANFIELD               OH 44406‐8049
STEVEN BARNES           PO BOX 734                                                                          ELYRIA                 OH 44036‐0734
STEVEN BARNES           11532 S STATE ROAD 42                                                               CLOVERDALE             IN 46120‐8544
STEVEN BARNES           2292 ROLLINS ST                                                                     GRAND BLANC            MI 48439‐4351
STEVEN BARNES           1954 200TH AVE                                                                      MORLEY                 MI 49336‐9437
STEVEN BARNETTE         12104 MARSHALL RD                                                                   MONTROSE               MI 48457‐9781
STEVEN BAROSKI          192 CIRCLE DR                                                                       FLUSHING               MI 48433‐1546
STEVEN BARRY            411 W MARYKNOLL RD                                                                  ROCHESTER HILLS        MI 48309‐1947
STEVEN BARTOLONE        3529 MILL CREEK DR                                                                  LAKE ORION             MI 48360‐1566
STEVEN BARTSHE          3602 W BELLEVUE RD                                                                  LESLIE                 MI 49251‐9797
STEVEN BASTING          4218 MONTCLAIR RD                                                                   ROSCOE                  IL 61073‐8998
STEVEN BATDORFF         12875 IVAN TRL                                                                      MIDDLEVILLE            MI 49333‐9312
STEVEN BATE             15083 CLEVELAND AVE                                                                 ALLEN PARK             MI 48101‐2111
STEVEN BATSON           415 N MARION ST                                                                     OLATHE                 KS 66061‐2427
STEVEN BAUER            6104 S US HIGHWAY 51                                                                JANESVILLE             WI 53546‐9501
STEVEN BAUGHAN          325 OLD BRIDGE RD                                                                   GRAND BLANC            MI 48439‐1147
STEVEN BAUGHMAN         6523 S 38TH ST                                                                      CLIMAX                 MI 49034‐9724
STEVEN BAUMGARTNER      165 E WISCONSIN AVE                                                                 SEBRING                OH 44672‐1447
STEVEN BEACH            1005 CARDINAL WAY                                                                   ANDERSON               IN 46011‐1407
STEVEN BEAMS            919 MARCIA ST SW                                                                    WYOMING                MI 49509‐3905
STEVEN BEAN             12206 W MOUNT MORRIS RD                                                             FLUSHING               MI 48433‐9219
STEVEN BEAN JR.         PO BOX 402                                                                          FLUSHING               MI 48433‐0402
STEVEN BEARDSLEE        3377 GRAND BLANC RD                                                                 SWARTZ CREEK           MI 48473‐8881
STEVEN BEATTIE          1976 VAN ANTWERP ST                                                                 GROSSE POINTE WOODS    MI 48236‐1623
STEVEN BEAVER           1209 14TH ST                                                                        BEDFORD                IN 47421‐3228
STEVEN BECK             1818 W 14TH AVE                                                                     APACHE JUNCTION        AZ 85220‐6943
STEVEN BECKER           5916 PENNY FARM DR SE                                                               KENTWOOD               MI 49508‐6706
STEVEN BEDFORD          PO BOX 24                                                                           WILLIAMSTON            MI 48895‐0024
STEVEN BEEMAN           827 N MADISON AVE                                                                   ANDERSON               IN 46011‐1205
STEVEN BEHLING          31465 ROSSLYN AVE                                                                   GARDEN CITY            MI 48135‐1345
STEVEN BEHME            2631 HUNTINGTON DR                                                                  TROY                   OH 45373‐8222
STEVEN BELL             15755 BURTON ST                                                                     LANSING                MI 48906‐1102
STEVEN BENCH            12 CORRAL DR                                                                        TRENTON                NJ 08620‐9729
STEVEN BENELLI          14104 PENDLETON MILLS CT                                                            FORT WAYNE             IN 46814‐8802
STEVEN BENNETT          8205 S BURLINGTON DR                                                                MUNCIE                 IN 47302
STEVEN BENNETT          10231 PLEASANT RD E                                                                 SAINT HELEN            MI 48656‐9761
STEVEN BENNETT          W9401 VALLEY VIEW RD                                                                SHELL LAKE             WI 54871‐8100
STEVEN BENSCOTER        3909 DIEHL RD                                                                       METAMORA               MI 48455‐9672
STEVEN BENSON           400 DAVID LN                                                                        INDIANAPOLIS           IN 46227‐2820
STEVEN BENSON           8170 W ANNSBURY CIR                                                                 SHELBY TWP             MI 48316‐1905
STEVEN BENYO            552 ORCHARD AVE                                                                     NILES                  OH 44446‐5250
STEVEN BERG             PO BOX 62                                                                           SWARTZ CREEK           MI 48473‐0062
STEVEN BERGIN           37745 SPRING LN                                                                     FARMINGTON HILLS       MI 48331‐3741
STEVEN BERNARD          103 AMBER LYNN CIR                                                                  COLUMBIA               TN 38401‐8934
STEVEN BERNARD          6820 RATTALEE LAKE RD                                                               CLARKSTON              MI 48348‐1954
STEVEN BERNHARD JOSEF   PAUL‐ESSERS‐STRASSE 23                                                              45468 M▄HLHEIM A.D.    DE
                                                                                                            RUHR
STEVEN BERRIMAN         7081 RANDEE ST                                                                      FLUSHING              MI   48433‐8817
STEVEN BERRY            175 1ST AVE                                                                         FRUITPORT             MI   49415‐8837
STEVEN BETTERLY         1791 ARCH RD                                                                        EATON RAPIDS          MI   48827‐8224
STEVEN BETZ             2595 CO. RD. N                                                                      SWANTON               OH   43558
STEVEN BEVIS            130 BOLL GREEN DR                                                                   INTERLACHEN           FL   32148‐3626
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Name                     Address1                        Address2            Address3         Address4         City               State Zip
STEVEN BEZDEK            2020 RABY RD                                                                          HASLETT             MI 48840‐8603
STEVEN BIECHELE          2880 SCENIC MEADOWS DR                                                                ORTONVILLE          MI 48462‐8933
STEVEN BIEREMA           PO BOX 468                                                                            SWEETSER            IN 46987‐0468
STEVEN BIESZKI           40291 AYNESLEY ST                                                                     CLINTON TOWNSHIP    MI 48038‐2736
STEVEN BILLINGS          23148 SAGEBRUSH                                                                       NOVI                MI 48375‐4169
STEVEN BILLINGSLEY       921 WISE ST                                                                           OXFORD              MI 48371‐4575
STEVEN BILOVESKY         3720 HELSEY FUSSELMAN RD                                                              SOUTHINGTON         OH 44470‐9739
STEVEN BINGAMAN          1027 N 1050 W                                                                         KOKOMO              IN 46901‐8677
STEVEN BIRDSALL          4711 POTTER AVE SE                                                                    KENTWOOD            MI 49548‐7549
STEVEN BISHOP            6116 WAKEFIELD DR                                                                     SYLVANIA            OH 43560‐3652
STEVEN BITTNER           1523 SURREY LN                                                                        ROCHESTER HILLS     MI 48306‐4248
STEVEN BLACK             784 STIRLING ST                                                                       PONTIAC             MI 48340‐3163
STEVEN BLACK             401 N 800 E                                                                           PARKER CITY         IN 47368
STEVEN BLACK             609 WILLOW DR                                                                         WHITELAND           IN 46184‐9476
STEVEN BLACKMER          377 CREEKWOOD CIR                                                                     LINDEN              MI 48451‐8969
STEVEN BLACKMORE         3892 N CEDAR BLUFF RD                                                                 WOODBURN            KY 42170‐9721
STEVEN BLAIN             2218 CLARENCE DR                                                                      PORTAGE             MI 49002‐6410
STEVEN BLAINE            2848 GALWAY BAY DR                                                                    METAMORA            MI 48455‐9722
STEVEN BLAIR             2318 BEAR FOUNTAIN RUN                                                                WENTZVILLE          MO 63385‐3522
STEVEN BLAIR             465 SOUTHGATE DR                                                                      GREENWOOD           IN 46143‐1206
STEVEN BLAKE             7819 WINDSOR DR                                                                       KANSAS CITY         MO 64167‐1067
STEVEN BLAKELY           3323 W FARRAND RD                                                                     CLIO                MI 48420‐8827
STEVEN BLALOCK           2498 EDWARDS ST                                                                       GRAND BLANC         MI 48439‐8515
STEVEN BLESSING          420 KENBROOK DR                                                                       VANDALIA            OH 45377‐2406
STEVEN BLEVINS           389 STATE ROUTE 725 W                                                                 CAMDEN              OH 45311‐9601
STEVEN BLIZE             6215 FAIRLANE DR                                                                      ARLINGTON           TX 76001‐7403
STEVEN BLOCHER           11592 W MOUNT HOPE HWY                                                                VERMONTVILLE        MI 49096‐9759
STEVEN BLYTHE            2132 S ELBA RD                                                                        LAPEER              MI 48446‐9724
STEVEN BOCK              37593 BRISTOL CT                                                                      LIVONIA             MI 48154‐1260
STEVEN BODNOVITS I I I   962 W ROSE AVE                                                                        GARDEN CITY         MI 48135‐3617
STEVEN BOERSCHLEIN       34 LEEDALE DR                                                                         WEBSTER             NV 14580‐1818
STEVEN BOGARD            7050 KATIE LN                                                                         GREENWOOD           LA 71033‐2300
STEVEN BOHL              18555 EDERER RD                                                                       HEMLOCK             MI 48626‐9775
STEVEN BOHL              5498 W MOUNT MORRIS RD                                                                MOUNT MORRIS        MI 48458‐9483
STEVEN BONZACK           3730 N EAGER RD                                                                       HOWELL              MI 48855‐9778
STEVEN BORR              7924 LAKEVIEW AVE                                                                     LENEXA              KS 66219‐1892
STEVEN BOS               8051 W G AVE                                                                          KALAMAZOO           MI 49009‐8524
STEVEN BOSCH
STEVEN BOSHAW            6394 TURNER RD                                                                        FLUSHING           MI   48433‐9251
STEVEN BOTEK             855 W JEFFERSON ST LOT 66                                                             GRAND LEDGE        MI   48837‐1377
STEVEN BOTHE             12162 FITZGERALD AVE                                                                  GRANT              MI   49327‐9059
STEVEN BOUCHARD          1309 WORTHINGTON PL                                                                   HURON              OH   44839‐1479
STEVEN BOUGH             RR 1 BOX 400                                                                          SPRINGVILLE        IN   47462‐9605
STEVEN BOURGEOIS         8501 COUNTY ROAD 528                                                                  BURLESON           TX   76028‐1027
STEVEN BOUTORWICK        1440 BURLINGTON DR                                                                    MOUNT CLEMENS      MI   48043‐6565
STEVEN BOWDEN            11903 CADY RD                                                                         GRASS LAKE         MI   49240‐9724
STEVEN BOWER             50958 76TH AVE                                                                        DECATUR            MI   49045‐9143
STEVEN BOWERS            6970 CHIPPEWA DR                                                                      ROMULUS            MI   48174‐4089
STEVEN BOWERS            813 DRESSER DR                                                                        ANDERSON           IN   46011‐1111
STEVEN BOWKER            1006 MERCER ST                                                                        ESSEXVILLE         MI   48732‐1220
STEVEN BOWLING           725 OAKWOOD RD                                                                        ORTONVILLE         MI   48462‐8589
STEVEN BOWMAN            44220 PENTWATER DR                                                                    CLINTON TWP        MI   48038‐4466
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Name                 Address1                           Address2         Address3         Address4         City            State Zip
STEVEN BOWMAN        4001 ANDERSON RD UNIT A135                                                            NASHVILLE        TN 37217‐4716
STEVEN BOYCE         4820 DIMOND WAY                                                                       DIMONDALE        MI 48821‐9319
STEVEN BOYCE         15448 LOBDELL RD                                                                      LINDEN           MI 48451‐8720
STEVEN BOYD          438 DEVON PL                                                                          LAKE MARY        FL 32746‐5041
STEVEN BRADFORD      3847 BROKEN OAK                                                                       WHITE LAKE       MI 48383‐1051
STEVEN BRAINARD      2815 NORTHWEST AVE                                                                    LANSING          MI 48906‐2652
STEVEN BRANDON       1964 RYAN RD                                                                          NEWARK           OH 43056‐1052
STEVEN BRANDT        1403 HIGHLAND PARK CT                                                                 WENTZVILLE       MO 63385‐5539
STEVEN BRANTMEIER    1623 W KIRBY PL                                                                       SHREVEPORT       LA 71103
STEVEN BRASCHAYKO    30080 MERRICK AVE                                                                     WARREN           MI 48092‐1802
STEVEN BRASHER       7330 S 500 W                                                                          WARREN           IN 46792‐9760
STEVEN BRASKA        PO BOX 23549                                                                          FT LAUDERDALE    FL 33307‐3549
STEVEN BRASWELL      2380 DUNWOODY XING APT I                                                              ATLANTA          GA 30338‐7336
STEVEN BRAY          5733 N RAIDER RD                                                                      MIDDLETOWN       IN 47356‐9792
STEVEN BREEDLOVE     17131 242ND ST                                                                        TONGANOXIE       KS 66086‐3027
STEVEN BRETZ         6750 W GRAND RIVER AVE                                                                LANSING          MI 48906‐9159
STEVEN BREWER        449 ALGENE ST                                                                         LAKE ORION       MI 48362‐2701
STEVEN BRIDGENS      471 ATLANTIC ST NE                                                                    WARREN           OH 44483‐3807
STEVEN BRIDSON       4312 APPLETREE LN                                                                     LANSING          MI 48917‐1652
STEVEN BROWN         2024 N 49TH ST                                                                        KANSAS CITY      KS 66104‐3210
STEVEN BROWN         1830 E M‐61                                                                           GLADWIN          MI 48624
STEVEN BROWN         11605 WINDSOR CASTLE LN                                                               CHARLOTTE        NC 28277‐2556
STEVEN BROWN         3109 GRAND BLANC ROAD                                                                 SWARTZ CREEK     MI 48473‐8920
STEVEN BROWN         1532 N ELY HWY                                                                        ALMA             MI 48801‐9668
STEVEN BROWN         155 S 400 E                                                                           ANDERSON         IN 46017‐9620
STEVEN BROWN         330 4TH ST                                                                            MIDDLETOWN       IN 47356‐1442
STEVEN BROWN         1815 E STATE ROAD 28                                                                  ALEXANDRIA       IN 46001‐8910
STEVEN BROWN         5144 BISHOP RD                                                                        DRYDEN           MI 48428‐9226
STEVEN BROWN         11095 TORREY RD                                                                       FENTON           MI 48430‐9701
STEVEN BROWN         1402 IRON BRIDGE RD                                                                   COLUMBIA         TN 38401‐8007
STEVEN BROWNE        1646 PARK HILL DR                                                                     INDIANAPOLIS     IN 46229‐4131
STEVEN BROWNING      452 BEACH ST                                                                          MOUNT MORRIS     MI 48458‐1904
STEVEN BROWNING      2365 LEXINGTON AVE                                                                    MANSFIELD        OH 44907‐3029
STEVEN BRUDER        1795 OLTESVIG LN                                                                      HIGHLAND         MI 48357‐3313
STEVEN BRUNNER       5020 GREENWOOD RD                                                                     KENOCKEE         MI 48006‐3322
STEVEN BRUNOW        907 MAPLE AVE                                                                         SANDUSKY         OH 44870‐9611
STEVEN BRUNSON       435 ENCHANTED DR                                                                      ANDERSON         IN 46013‐1074
STEVEN BRYANT        1450 N STATE HIGHWAY 360 APT 419                                                      GRAND PRAIRIE    TX 75050‐4122
STEVEN BRYANT        PO BOX 47                                                                             ANDREWS          IN 46702‐0047
STEVEN BRYDE         11250 HILLMAN                                                                         DAVISBURG        MI 48350‐3508
STEVEN BUCCI         40 JACKSON ST                      SUITE C                                            ANDERSON         IN 46016
STEVEN BUCKLAND      8735 COTTONWOOD DR                                                                    JENISON          MI 49428‐9424
STEVEN BUCZNIEWICZ   27842 ASHLAND AVE                                                                     HARRISON TWP     MI 48045‐6806
STEVEN BUDDE         52480 CHESWICK CT                                                                     SHELBY TWP       MI 48315‐2420
STEVEN BUHR          33101 HAMPSHIRE RD                                                                    LIVONIA          MI 48154‐2952
STEVEN BULLARD       45122 HULL RD                                                                         BELLEVILLE       MI 48111‐2923
STEVEN BULLERDICK    2015 MAIN ST                                                                          BEECH GROVE      IN 46107‐1421
STEVEN BUNCE         10287 WELLINGTON DR                                                                   CLARKSTON        MI 48348‐1557
STEVEN BURCH         11 BRIGHAM CIRCLEE                                                                    HONEOYE FALLS    NY 14472
STEVEN BURGER        2798 S IONIA RD                                                                       BELLEVUE         MI 49021‐9441
STEVEN BURGESS       710 W DAVISON LAKE RD                                                                 OXFORD           MI 48371‐1117
STEVEN BURKE         908 CHASE LAKE RD                                                                     HOWELL           MI 48855‐9399
                                    09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                                Address1                           Address2                      Address3   Address4         City            State Zip
STEVEN BURKHOLDER                   20320 COUNTY ROAD C                                                                          ARCHBOLD         OH 43502‐9717
STEVEN BURNELL                      1855 WOODFIELD ST                                                                            ORTONVILLE       MI 48462‐9120
STEVEN BURNHAM
STEVEN BURNS                        3157 FOX HOLLOW DRIVE                                                                        LITTLE ELM      TX   75068‐6622
STEVEN BURNS                        1253 S MAIZE DR NE                                                                           BELMONT         MI   49306‐9781
STEVEN BURRELL                      236 GREYSTONE DR                                                                             FRANKLIN        TN   37069‐4304
STEVEN BURRELL                      300 REECE RD                                                                                 DAWSONVILLE     GA   30534‐2465
STEVEN BURRIDGE                     302 MUSTANG LN                                                                               AUBURN          MI   48611‐9341
STEVEN BURTON                       11591 W FREELAND RD                                                                          FREELAND        MI   48623‐9502
STEVEN BUSH                         1951 WILLOW BAY DR                                                                           DEFIANCE        OH   43512‐3712
STEVEN BUTLER                       1560 HARPER RD                                                                               MASON           MI   48854‐9260
STEVEN BUTLER                       9094 ROAD D                                                                                  LEIPSIC         OH   45856‐9274
STEVEN BUTSKI                       7524 STEPHENSON AVE                                                                          NIAGARA FALLS   NY   14304‐4116
STEVEN BUZASH                       9194 OLGA ST                                                                                 STREETSBORO     OH   44241‐5238
STEVEN BYRD                         7240 TORREY RD                                                                               SWARTZ CREEK    MI   48473‐8882
STEVEN C BOYKIN                     4034 INDIAN RUN DR., APT. G                                                                  DAYTON          OH   45415
STEVEN C BRANNON                    1304 ARBOR AVE                                                                               DAYTON          OH   45420
STEVEN C BRUNER                     332 S. MAIN ST                                                                               WEST MILTON     OH   45383‐‐ 15
STEVEN C BURGER                     2798 S IONIA RD                                                                              BELLEVUE        MI   49021‐9441
STEVEN C CERASOLI                   3485 E CARPENTER RD                                                                          FLINT           MI   48506‐1035
STEVEN C COMBS                      5340 HARVEYSBURG RD.                                                                         WAYNESVILLE     OH   45068‐9333
STEVEN C CURLEY                     1272 PARKWOOD AVE                                                                            YPSILANTI       MI   48198‐5946
STEVEN C DAVIS                      24 DANIEL ST                                                                                 DAYTON          OH   45404‐1606
STEVEN C FIELDS                     850 LINDBERG DR., U‐5                                                                        JACKSON         MS   39209‐6070
STEVEN C GUY                        8508 W SOMERSET RD                                                                           BARKER          NY   14012‐9620
STEVEN C HACKER                     3311 S DEERFIELD AVE                                                                         LANSING         MI   48911‐1822
STEVEN C HAUBENSTRICKER             3408 DAKOTA AVE                                                                              FLINT           MI   48506‐3132
STEVEN C HEUSS                      1448 E TIFFIN                                                                                DES MOINES      IA   50316‐1331
STEVEN C HOFFMAN                    114 BLUE JOY WAY                                                                             NORTH WALES     PA   19454‐4282
STEVEN C JONES                      428 W SIEBENTHALER AVE                                                                       DAYTON          OH   45405‐2250
STEVEN C JONES                      23 RITZ STREET                                                                               ROCHESTER       NY   14605‐2336
STEVEN C MOORE                      102 MEADOWBROOK DR                                                                           EATON           OH   45320
STEVEN C NOVOSEL                    2211 VERMONT DR                                                                              TROY            MI   48083‐2565
STEVEN C OLIVER                     2000 S MUSTANG RD APT 2611                                                                   YUKON           OK   73099‐0334
STEVEN C PRETZINGER                 100 LOOKOUT DRIVE                                                                            DAYTON          OH   45409‐2237
STEVEN C RAMBLE                     43 KINGSLEY ROAD                                                                             ROCHESTER       NY   14612
STEVEN C SCHAFER                    4347 FRONTENAC DR                                                                            BEAVERCREEK     OH   45440
STEVEN C TRICKLER                   4400 DALEVIEW AVE TRLR 14                                                                    DAYTON          OH   45405
STEVEN C VESTAL                     3806 LAKE BEND DR APT 2A                                                                     DAYTON          OH   45404‐2954
STEVEN C WARNER                     2729 SOUTH BLVD                                                                              KETTERING       OH   45419
STEVEN C WATSKY                     2205 87TH NW                                                                                 BRADENTON       FL   34209‐9430
STEVEN C WOOD                       5215 W COURT ST                                                                              FLINT           MI   48532‐4114
STEVEN C. KOHL, WARNER NORCROSS &   2000 TOWN CTR STE 2700                                                                       SOUTHFIELD      MI   48075‐1318
JUDD, C/O BARRELS INC PRP GROUP
STEVEN C. NADEAU, HONIGMAN MILLER   C/O FOREST WASTE DISPOSAL PRP GROUP 660 WOODWARD AVENUE, 2290                                DETROIT         MI 48226
SCHWARTZ AND COHN LLP                                                    FIRST NATIONAL BLDG
STEVEN C. NADEAU, HONIGMAN MILLER   C/O GENERAL OIL/NORTHVILLE SITE PRP  660 WOODWARD AVENUE, 2290                               DETROIT         MI 48226
SCHWARTZ AND COHN LLP               GROUP                                FIRST NATIONAL BLDG
STEVEN C. NADEAU, HONIGMAN MILLER   C/O METAMORA LANDFILL PRP GROUP      660 WOODWARD AVENUE, 2290                               DETROIT         MI 48226
SCHWARTZ AND COHN LLP                                                    FIRST NATIONAL BLDG
STEVEN C. NADEAU, HONIGMAN MILLER   GENERAL OIL/FORD POND SITE PRP GROUP 660 WOODWARD AVENUE, 2290                               DETROIT         MI 48226
SCHWARTZ AND COHN LLP                                                    FIRST NATIONAL BLDG
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Name                               Address1                           Address2                    Address3   Address4         City              State Zip
STEVEN C. NADEAU,HONIGMAN MILLER   C/O RASMUSSEN DUMP PRP GROUP       660 WOODWARD AVENUE, 2290                               DETROIT            MI 48226
SCHWARTZ AND COHN LLP                                                 FIRST NATIONAL BLDG
STEVEN CADLE                       12230 HIAWATHA DR                                                                          SHELBY TOWNSHIP   MI   48315‐1249
STEVEN CAGLE                       5270 DOLLHOUSE RD                                                                          PLACERVILLE       CA   95667
STEVEN CAI                         16680 ZACHARY DR                                                                           MACOMB            MI   48042‐2333
STEVEN CALANDRELLI                 14607 DERRYHALE WAY                                                                        SMITHVILLE        MO   64089‐8287
STEVEN CALDERON                    28271 MAPLEWOOD ST                                                                         GARDEN CITY       MI   48135‐2218
STEVEN CALIMERI                    32655 AMBERIDGE DRIVE                                                                      ROSEVILLE         MI   48066‐1090
STEVEN CALKIN DO                   ATTN: STEVEN CALKIN                50 N PERRY ST                                           PONTIAC           MI   48342‐2217
STEVEN CALL                        2241 122ND ST                                                                              NEW RICHMOND      WI   54017‐6116
STEVEN CALLAWAY                    5920 80TH ST N APT 303                                                                     ST PETERSBURG     FL   33709‐7036
STEVEN CALLONI                     709 EDGESTONE PL APT 257                                                                   ARLINGTON         TX   76006‐2257
STEVEN CAMBRIC                     259 IVASON DR                                                                              STANTON           MI   48888‐9216
STEVEN CAMERON                     10433 WINCHESTER CT                                                                        FORT MYERS        FL   33908‐3566
STEVEN CAMPBELL                    538 RANKIN RD                                                                              INDEPENDENCE      MO   64055‐1733
STEVEN CAMPBELL                    1221 WHITTER ST                                                                            INVERNESS         FL   34450‐6056
STEVEN CANEN                       4220 BYRUM RD                                                                              ONONDAGA          MI   49264‐9716
STEVEN CANFIELD                    7228E SPECERVILLE HWY                                                                      EATON RAPIDS      MI   48827
STEVEN CARBONE                     3500 WHITE AVE                                                                             BALTIMORE         MD   21214‐2302
STEVEN CARICO                      960 WOODCREST LN                                                                           HAZELWOOD         MO   63042‐1246
STEVEN CARIE                       4350 PONTIFF ST                                                                            WATERFORD         MI   48329‐1551
STEVEN CARLIN                      224 ELMGROVE AVE                                                                           HAZELWOOD         MO   63042‐2057
STEVEN CARLISLE                    3 ALLEN ST APT 5                                                                           CLINTON           MA   01510‐1125
STEVEN CARLISLE                    9518 ROAD 230                                                                              CECIL             OH   45821‐9366
STEVEN CARLSON                     PO BOX 9022                        C/O SAN LUIS POTOSI, MX                                 WARREN            MI   48090‐9022
STEVEN CARLSON                     4820 CRYSTAL LAKE RD                                                                       NORMAN            OK   73072‐9741
STEVEN CARLSON                     1436 S GRANT AVE                                                                           JANESVILLE        WI   53546
STEVEN CARMANY                     15001 MILL RD LOT 84                                                                       FORT WAYNE        IN   46816‐9785
STEVEN CARMEAN                     6402 DEERWOOD CT                                                                           GREENWOOD         IN   46143‐9165
STEVEN CARNEY                      4747 BETH ANN DR                                                                           INDIANAPOLIS      IN   46221‐3421
STEVEN CARPENTER                   5140 EASTVIEW RD                                                                           CLARKSTON         MI   48346‐4101
STEVEN CARPENTER                   4455 CEDARDALE LN                                                                          FLUSHING          MI   48433‐1013
STEVEN CARPENTER                   908 MILL ST                                                                                FENTON            MI   48430‐2825
STEVEN CARR                        5776 S RIDGEVIEW RD                                                                        ANDERSON          IN   46013‐9685
STEVEN CARR                        21343SR18 RR 1                                                                             DEFIANCE          OH   43512
STEVEN CARR                        8101 BOULDER DR                                                                            DAVISON           MI   48423‐8641
STEVEN CARR                        6267 PECK RD                                                                               EATON RAPIDS      MI   48827‐9558
STEVEN CARR                        6321 WAKOPA CT                                                                             FORT WAYNE        IN   46815‐6355
STEVEN CARRUTH                     615 JEWELL ST                                                                              DANVILLE          IL   61832‐4015
STEVEN CARSON                      1505 WAYNE DR                                                                              SAINT JOSEPH      MO   64506‐3226
STEVEN CARSON                      33 KATIE ANN CT                                                                            SMYRNA            DE   19977‐8210
STEVEN CARTER                      18850 SUNBRIGHT AVE                                                                        LATHRUP VILLAGE   MI   48076‐4428
STEVEN CARTER                      6197 W 900 N                                                                               FRANKTON          IN   46044‐9450
STEVEN CARTIN                      4015 CHANCERY PL                                                                           FORT WAYNE        IN   46804‐2616
STEVEN CASEY                       1676 DOUGLAS DR                                                                            TAWAS CITY        MI   48763‐9422
STEVEN CASMAN                      26304 THOMAS ST                                                                            WARREN            MI   48091‐1023
STEVEN CASSELL                     3405 MAYHEW FORREST LN                                                                     MINT HILL         NC   28227‐9436
STEVEN CASTELEIN                   1820 LINDY DR                                                                              LANSING           MI   48917‐9734
STEVEN CASWELL                     3674 104TH AVE                                                                             ALLEGAN           MI   49010‐8196
STEVEN CATES                       10380 CARLISLE HWY                                                                         NASHVILLE         MI   49073‐9116
STEVEN CATRON                      1337 WEDGEWOOD TRL                                                                         NEKOOSA           WI   54457‐7947
STEVEN CAVANAUGH                   53310 BRIAR DR                                                                             SHELBY TWP        MI   48316‐2222
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Name                    Address1                       Address2                      Address3   Address4         City               State Zip
STEVEN CAVELL           1576 BIRCHWOOD CIR                                                                       FRANKLIN            TN 37064‐6871
STEVEN CAVES            12612 N 300 W                                                                            ALEXANDRIA          IN 46001‐8695
STEVEN CERASOLI         3485 E CARPENTER RD                                                                      FLINT               MI 48506‐1035
STEVEN CERNAK           38820 CORNWALL CT                                                                        NORTHVILLE          MI 48167‐9068
STEVEN CERQUA           483 MELWOOD DRIVE                                                                        ROCHESTER           NY 14626
STEVEN CHALFANT         28 TOM CAT LN                                                                            MOORCROFT           WY 82721‐8819
STEVEN CHAMPION         36455 BRIARCLIFF RD                                                                      STERLING HEIGHTS    MI 48312‐2709
STEVEN CHAMPION         648 HWY 4                                                                                WEST BOONEVILLE     MS 38829
STEVEN CHAPMAN          5200 SEDWICK RD                                                                          MARTINSVILLE        IN 46151‐8624
STEVEN CHARLAND         7419 NEW HAMPSHIRE DR                                                                    DAVISON             MI 48423‐9512
STEVEN CHARRON          6030 HARTLAND RD                                                                         FENTON              MI 48430‐9522
STEVEN CHARTRAND        APT 5                          126 SAWYER STREET                                         GRAND BLANC         MI 48439‐1373
STEVEN CHATMAN          665 LAKEWOOD DR                                                                          LAKE ST LOUIS       MO 63367‐1311
STEVEN CHECK            13125 BOARDWALK DR                                                                       BRUCE TWP           MI 48065‐4484
STEVEN CHERNEY          14450 VANESSA DR                                                                         HOLLY               MI 48442‐2019
STEVEN CHERNOBY         PO BOX 338                                                                               WHITE CLOUD         MI 49349‐0338
STEVEN CHISSUS          1315 HENDRICKS WAY                                                                       WATERFORD           MI 48328‐4236
STEVEN CHRIST           23083 FARMINGTON RD                                                                      FARMINGTON          MI 48336‐3981
STEVEN CHRISTENSEN      3418 CARLISLE HWY                                                                        CHARLOTTE           MI 48813‐9560
STEVEN CHRISTIANSEN     2908 S DERBY RD                                                                          SIDNEY              MI 48885‐9793
STEVEN CHRISTINA        841 BEACH RD                                                                             ANGOLA              NY 14006‐9756
STEVEN CHRISTOPHERSEN   6711 E BUSS RD                                                                           CLINTON             WI 53525‐8815
STEVEN CHURCH           7735 W RANGE RD                                                                          MEARS               MI 49436‐8689
STEVEN CHURCH           226 OAKWOOD LN                                                                           PERRY               MI 48872‐9185
STEVEN CICHON           3832 NYMAN AVE                                                                           WAYNE               MI 48184‐1523
STEVEN CIOLLI           40640 MELODY CT                                                                          CLINTON TWP         MI 48038‐4111
STEVEN CITTY            2108 NUGENT DR                                                                           MANSFIELD           TX 76063‐5125
STEVEN CLARK            5370 PLYMOUTH AVE                                                                        GRAND BLANC         MI 48439‐5118
STEVEN CLARK            31966 INGLEWOOD ST                                                                       BEVERLY HILLS       MI 48025‐3954
STEVEN CLARK            118 SHARON ST                                                                            FARMERSVILLE         IL 62533‐7864
STEVEN CLARK            BOX 8796 CARRIAGE LANE                                                                   PENDLETON           IN 46064
STEVEN CLARK            15000 BLACK OAK DR                                                                       SMITHVILLE          MO 64089‐8363
STEVEN CLARK            7286 S COUNTY ROAD 325 W                                                                 GREENCASTLE         IN 46135‐7634
STEVEN CLARK            27790 BANNER SCHOOL RD                                                                   DEFIANCE            OH 43512‐9600
STEVEN CLARK            2469 CHERYL ANN DR                                                                       BURTON              MI 48519‐1329
STEVEN CLAYTON          4375 STAFFORD TER                                                                        WELLSVILLE          KS 66092‐8775
STEVEN CLEMENTS         THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                               HOUSTON             TX 77017
STEVEN CLEVENGER        108 S MULBERRY ST                                                                        FARMLAND            IN 47340‐9109
STEVEN CLINE            PO BOX 318                                                                               BULLS GAP           TN 37711‐0318
STEVEN CLINE            2840 WHITE CT NE                                                                         CONYERS             GA 30012‐2606
STEVEN CLINTON          6206 LEDWIN DRIVE                                                                        TROY                MI 48098‐2047
STEVEN CLODFELTER       4425 BOWERS RD                                                                           ATTICA              MI 48412‐9205
STEVEN CLOUSER          101 SLOBODA AVE                                                                          MANSFIELD           OH 44906‐1353
STEVEN COBB             110 CREST MOTEL RD                                                                       BEDFORD             IN 47421‐7278
STEVEN COBBLE           975 CARRIE AVE                                                                           PLAINWELL           MI 49080‐9517
STEVEN COBLE            PO BOX 2222                                                                              TAYLOR              MI 48180‐7622
STEVEN COCHRANE         1527 WINCHESTER PL                                                                       JANESVILLE          WI 53548‐1491
STEVEN CODD             1972 BEAVER CREEK DR                                                                     ROCHESTER           MI 48307‐6020
STEVEN COE              1003 S CLINTON AVE                                                                       SAINT JOHNS         MI 48879‐2327
STEVEN COEN             653 N 480 W                                                                              KOKOMO              IN 46901‐3738
STEVEN COFFMAN          302 OLIVE ST                                                                             ANDERSON            IN 46017‐9677
STEVEN COKER            1235 HOLLY RIDGE RUN                                                                     FORT WAYNE          IN 46845‐2025
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Name                  Address1                           Address2          Address3         Address4         City               State Zip
STEVEN COLE           5146 KELLY RD                                                                          FLINT               MI 48504‐1012
STEVEN COLEMAN        7940 N WILDWOOD ST                                                                     WESTLAND            MI 48185‐1436
STEVEN COLIP          1627 LORA ST                                                                           ANDERSON            IN 46013‐2739
STEVEN COLLEY         3472 FARLEY ST                                                                         BURTON              MI 48519‐1045
STEVEN COLLIER        622 JORDAN RD                                                                          FRANKLIN            TN 37067‐6255
STEVEN COLLINS        1915 N BRYAN AVE                                                                       SHAWNEE             OK 74804‐3350
STEVEN COLLINS        11345 GEDDES RD                                                                        FREELAND            MI 48623‐7801
STEVEN COLLINS        7256 TORREY RD                                                                         SWARTZ CREEK        MI 48473‐8882
STEVEN COLLINS        10505 S COUNTY ROAD 10 E                                                               CLOVERDALE          IN 46120‐8679
STEVEN COLLINS        23801 PANAMA AVE                                                                       WARREN              MI 48091‐4748
STEVEN COLLINS        327 COVE VIEW DR                                                                       WATERFORD           MI 48327‐3785
STEVEN COLLINS        18118 BUCKINGHAM AVE                                                                   BEVERLY HILLS       MI 48025‐3106
STEVEN COLLINS        324 BEVERLY ESTATES DR                                                                 WATERFORD           MI 48328‐3679
STEVEN COLLINS        1890 ERDAHL DR                                                                         STOUGHTON           WI 53589‐3517
STEVEN COLLINS        320 EDGEBROOK DR                                                                       CENTERVILLE         OH 45459‐2148
STEVEN COMPTON        300 CLARK ST                                                                           GRAND LEDGE         MI 48837‐1242
STEVEN CONAWAY        12615 N STATE ROAD 19                                                                  ROANN               IN 46974‐9235
STEVEN CONKLIN        8720 CARLISLE HWY                                                                      VERMONTVILLE        MI 49096‐9520
STEVEN CONLEY         110 RAILROAD ST SUITE 7                                                                FRANKFORT           NY 13340
STEVEN CONNELL        773 MADOUSE CT                                                                         WHITMORE LAKE       MI 48189‐9589
STEVEN CONNOLLY       13198 N LINDEN RD                                                                      CLIO                MI 48420‐8233
STEVEN COOK           1620 BELL RD                                                                           CROSSVILLE          TN 38571‐7475
STEVEN COOL           22735 FLORAL ST                                                                        FARMINGTON          MI 48336‐4221
STEVEN COOLIDGE       2144 GILBERT RD                                                                        LANSING             MI 48911‐6429
STEVEN COONS          646 S SLEIGHT ST                                                                       NAPERVILLE           IL 60540‐6647
STEVEN COONS          17241 SE 65TH RD                                                                       DEARBORN            MO 64439‐8118
STEVEN COOPER         5934 STUMPH RD APT 310                                                                 PARMA               OH 44130‐1753
STEVEN COOPER         3727 32ND ST                                                                           HAMILTON            MI 49419‐8523
STEVEN COPE           1343 WALKER AVE E                                                                      MANSFIELD           OH 44905‐3028
STEVEN COPPENBARGER   203 E 5TH ST                                                                           TILTON               IL 61833‐7424
STEVEN CORBETT        6055 BEECHWOOD DR                                                                      HASLETT             MI 48840‐9719
STEVEN COREY          2306 S CECIL RD                                                                        MUNCIE              IN 47302‐8671
STEVEN CORNMAN        PO BOX 50075                                                                           MIDWEST CITY        OK 73140‐5075
STEVEN CORNWELL       2717 CARTERTON WAY                                                                     FLOWER MOUND        TX 75022‐5182
STEVEN CORRION        1406 JOHNS CT                                                                          OXFORD              MI 48371‐5934
STEVEN CORTE          31495 CAPRI TER APT 913                                                                WESTLAND            MI 48185‐2464
STEVEN COSTELLO       3518 KINGSBRIDGE DR                                                                    JANESVILLE          WI 53546‐3506
STEVEN COTNER         366 PARADISE ISLAND DRIVE LOT T1                                                       DEFUNIAK SPRINGS    FL 32433
STEVEN COTTER         618 W PARK AVE                                                                         WEATHERFORD         TX 76086‐6104
STEVEN COTTINGHAM     815 WARRIOR RIDGE CT                                                                   WARRENTON           MO 63383‐2359
STEVEN COULTER        715 MARSH LN                                                                           ORTONVILLE          MI 48462‐9091
STEVEN COUNTS         6083 N LAKE RD                                                                         OTTER LAKE          MI 48464‐9665
STEVEN COUNTS         716 HIGHLAND DR                                                                        ARLINGTON           TX 76010‐7530
STEVEN COURSER        8393 W GRAND LEDGE HWY                                                                 SUNFIELD            MI 48890‐9717
STEVEN COURTLAND      2130 PHILLIPS AVE APT D                                                                HOLT                MI 48842‐6317
STEVEN COWDEN         17017 NE 104TH ST                                                                      LIBERTY             MO 64068‐9405
STEVEN COWELL         843 HARDING ST NW                                                                      WALKER              MI 49544‐1838
STEVEN COX            4293 BRISTOW RD                                                                        BOWLING GREEN       KY 42103‐9526
STEVEN COX            131 SPARKS LN                                                                          SPEEDWELL           TN 37870‐8200
STEVEN COYLE          24251 EASTWOOD ST                                                                      OAK PARK            MI 48237‐1601
STEVEN CRACRAFT       8676 EDGEWATER LN                                                                      WARREN              MI 48093‐1605
STEVEN CRAFT          300 LAKE DR                                                                            COLUMBIA            TN 38401‐2021
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Name                  Address1                         Address2                     Address3   Address4         City              State Zip
STEVEN CRAFTON        5455 MONTICELLO DR                                                                        LAPEER             MI 48446‐9768
STEVEN CRAGG          2022 DAKOTA RD SE                                                                         GRAYLING           MI 49738‐6831
STEVEN CRAGUN         PO BOX 3071                                                                               KOKOMO             IN 46904‐3071
STEVEN CRAIG          4558 E FOREST LN                                                                          POLAND             IN 47868‐7027
STEVEN CRAIG          2421 BOND PL                                                                              JANESVILLE         WI 53548‐3323
STEVEN CRANDALL       10101 W COUNTY ROAD 500 S                                                                 DALEVILLE          IN 47334‐9781
STEVEN CREDENDINO     36 UNIVERSITY AVENUE                                                                      YONKERS            NY 10704‐1126
STEVEN CREEK          55900 APPLE LN                                                                            SHELBY TOWNSHIP    MI 48316‐5349
STEVEN CREPS          5230 BARR RD                                                                              CANTON             MI 48188‐2165
STEVEN CRIDER         1035 SIXTENTH AVE N                                                                       ST PETERSBURG      FL 33704
STEVEN CROSBY         13354 OLD FLORIDA CIR                                                                     HUDSON             FL 34669‐2892
STEVEN CROSS          309 TROUT DR                                                                              MURRAY             KY 42071‐5636
STEVEN CROSS
STEVEN CROYLE         22250 CENTER RD                                                                           ALLIANCE          OH   44601‐9061
STEVEN CRUSET         4124 MARICARR DR                                                                          KETTERING         OH   45429‐3206
STEVEN CSENDOM        127 DEUMANT TER                                                                           TONAWANDA         NY   14223‐2735
STEVEN CUMMINGS       3027 SANDWEDGE CT                                                                         GREENWOOD         IN   46143‐9598
STEVEN CUNNINGHAM     13248 PROMISE RD                                                                          FISHERS           IN   46038‐7496
STEVEN CUNNINGHAM     10127 S AMERICA RD                                                                        LA FONTAINE       IN   46940‐9149
STEVEN CURTIS         8506 COLDWATER RD                                                                         FLUSHING          MI   48433‐2905
STEVEN CURTIS         13031 ADDINGTON DR                                                                        DEWITT            MI   48820‐8100
STEVEN CURTIS DEW     WEITZ & LUXENBERG P C            700 BROADWAY                                             NEW YORK          NY   10003
STEVEN CURTIS DEW     C/O WEITZ & LUXENBERG PC         700 BROADWAY                                             NEW YORK CITY     NY   10003
STEVEN CUSTER         3006 SUNSET RD                                                                            GROVESPRING       MO   65662‐8417
STEVEN CUTLIP         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH   44236
STEVEN CYPHER         11608 ONEIDA RD                                                                           GRAND LEDGE       MI   48837‐9448
STEVEN D ADAMS        929 BRIGHT AVE                                                                            VANDALIA          OH   45377
STEVEN D APPLEBERRY   680 BROOKLYN AVE                                                                          DAYTON            OH   45407‐1501
STEVEN D BADGLEY      5659 CLARK ST                                                                             PECK              MI   48466‐9795
STEVEN D BARKER       3751 SWIGART RD                                                                           DAYTON            OH   45440‐3527
STEVEN D BARNES       11632 S STATE ROAD 42                                                                     CLOVERDALE        IN   46120‐8544
STEVEN D BAUER        6104 S US HIGHWAY 51                                                                      JANESVILLE        WI   53546‐9501
STEVEN D BECKMAN      1615 ROBBINS AVE.                APT. 51                                                  NILES             OH   44446
STEVEN D BURGESS      5938 PEPPERRIDGE CT                                                                       MAINEVILLE        OH   45039
STEVEN D COLLINS      320 EDGEBROOK DR                                                                          CENTERVILLE       OH   45459
STEVEN D COMER        2365 GHENT AVE.                                                                           KETTERING         OH   45420‐3447
STEVEN D CORBITT      631 RANDOLPH ST                                                                           DAYTON            OH   45408‐‐ 12
STEVEN D DAFLER       3332 LUTHERAN CHURCH RD                                                                   FARMERSVILLE      OH   45325
STEVEN D DANIELS      7613 S HURON RIVER DR                                                                     SOUTH ROCKWOOD    MI   48179‐9799
STEVEN D DANIELS      7613 SOUTH HURON RIVER D                                                                  SOUTH ROCKWOOD    MI   48179
STEVEN D DEBUSK       303 PINEWOOD AVE                                                                          PIQUA             OH   45356
STEVEN D DEGLER       312 KINDT CORNER RD                                                                       LEESPORT          PA   19533
STEVEN D EVERETT      3050 LONGWOOD DR                                                                          JACKSON           MS   39212‐4004
STEVEN D FLEGE        7867 LOCKPORT BLVD.                                                                       CENTERVILLE       OH   45459
STEVEN D GARDINER     4097 BEECHWOOD DRIVE                                                                      BELLBROOK         OH   45305
STEVEN D GEORGE       P.O BOX 217                                                                               VANDALIA          OH   45377
STEVEN D GOAD         6289 US ROUTE 35 E                                                                        W ALEXANDRIA      OH   45381‐9529
STEVEN D HARDEN       225 ELM HILL DR                                                                           DAYTON            OH   45415
STEVEN D HEYSER       5253 ASHEVILLE HWY                                                                        PISGAH FOREST     NC   28768‐8823
STEVEN D KAMMEYER     15950 POWER DAM RD                                                                        DEFIANCE          OH   43512‐7049
STEVEN D LE PORTE     110 BENDER AVE                                                                            SYRACUSE          NY   13211‐1844
STEVEN D LEAGUE       12739 BARTON ST                                                                           OVERLAND PARK     KS   66213‐4452
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Name                   Address1                       Address2              Address3       Address4         City              State Zip
STEVEN D MANNING       7322 EYLER DRIVE                                                                     SPRINGBORO         OH 45066‐1412
STEVEN D MCGUIRE       1068 HOWLAND WILSON RD SE                                                            WARREN             OH 44484
STEVEN D MITCHELL      9210 WILLOWGATE LANE                                                                 GOODRICH           MI 48438
STEVEN D MOODY         2854 VAN OSS DR                                                                      DAYTON             OH 45431
STEVEN D MULLINS       9763 ST RT 320                                                                       NEW PARIS          OH 45347‐1590
STEVEN D NEWPORT       104 MEADOW CIRCLE LANE APT A                                                         HILLSBORO          OH 45133
STEVEN D PAYNE         2185 E CENTRAL AVE.                                                                  MIAMISBURG         OH 45342
STEVEN D PORTER        100 WEST GRANET                                                                      HAZEL PARK         MI 48030‐2065
STEVEN D RAPP          104 WINDING DR                                                                       HOUGHTON LAKE      MI 48629‐9153
STEVEN D REED          4543 DEEDS RD SW                                                                     PATASKALA          OH 43062‐7446
STEVEN D SCHEER        PO BOX 5617                                                                          CHARLESTON         OR 97420
STEVEN D SLUSSER       4240 S FIRESIDE TRL                                                                  GILBERT            AZ 85291‐9716
STEVEN D STREET        6965 RATTALEE LAKE RD                                                                CLARKSTON          MI 48348
STEVEN D SWANEY        10400 GRAND VISTA DR                                                                 CENTERVILLE        OH 45458‐4418
STEVEN D TITSWORTH     5890 MURPHY LAKE RD                                                                  MILLINGTON         MI 48746‐8715
STEVEN D YOUNG         3107 MYERS TILLMAN ROAD                                                              ARCANUM            OH 45304‐9204
STEVEN D'ARCY          524 LAREDO RD                                                                        BURLESON           TX 76028‐2258
STEVEN D. BEAUCHAMP    FOSTER & SEAR, LLP             817 GREENVIEW DRIVE                                   GRAND PRAIRIE      TX 75050
STEVEN DALE            5179 W 400 N                                                                         ANDERSON           IN 46011‐9136
STEVEN DALE GIRT       733 E 600 S                                                                          ANDERSON           IN 46013‐9504
STEVEN DALZIEL         6435 STONEHEARTH PASS                                                                GRAND BLANC        MI 48439‐9000
STEVEN DAMAS           7834 VALLEY VILLAS DR                                                                PARMA              OH 44130‐7667
STEVEN DANIELS         7613 SOUTH HURON RIVER D                                                             SOUTH ROCKWOOD     MI 48179
STEVEN DANIELSON       11328 MIRAMAR CV                                                                     ROANOKE            IN 46783‐8799
STEVEN DARLING         4138 RURAL ST                                                                        WATERFORD          MI 48329‐1649
STEVEN DATEMA          6600 POORMAN RD                                                                      BATTLE CREEK       MI 49017‐9484
STEVEN DAUGHERTY       2177 DRAKE DR                                                                        XENIA              OH 45385‐3917
STEVEN DAUSS           4156 BROADWAY ST                                                                     INDIANAPOLIS       IN 46205‐2733
STEVEN DAVANZO         2468 OMIRA DR                                                                        WATERFORD          MI 48328‐1737
STEVEN DAVIDSON        5615 STANDISH DR                                                                     FORT WAYNE         IN 46806‐3375
STEVEN DAVIDSON        5041 OTTO RD                                                                         CHARLOTTE          MI 48813‐9732
STEVEN DAVIS           5965 STRATHDON WAY                                                                   WATERFORD          MI 48327‐2056
STEVEN DAVIS           PO BOX 320041                                                                        FLINT              MI 48532‐0001
STEVEN DAVIS           9125 WILLIAM ST                                                                      TAYLOR             MI 48180‐2822
STEVEN DAVIS           3212 S BROADWAY ST                                                                   YORKTOWN           IN 47396‐9633
STEVEN DAVIS           6369 PEACH TREE CT                                                                   ROCHESTER HILLS    MI 48306‐3352
STEVEN DAVIS           2663 STEEL CT                                                                        HOWELL             MI 48843‐7655
STEVEN DAVIS           10758 W BRAEMAR                                                                      HOLLY              MI 48442‐8694
STEVEN DAVIS           2865 E BENNINGTON RD                                                                 DURAND             MI 48429‐9120
STEVEN DAVIS           12082 HOISINGTON RD                                                                  GAINES             MI 48436‐9727
STEVEN DAVIS           0 137 COUNTY ROAD 11                                                                 NAPOLEON           OH 43545
STEVEN DE MARANVILLE   19988 DOUGLAS RD                                                                     TONGANOXIE         KS 66086‐5101
STEVEN DE WEERD        5773 LAKE MICHIGAN DR                                                                ALLENDALE          MI 49401‐9520
STEVEN DEACON          66 HICKORY LN                                                                        WATERFORD          MI 48327‐2568
STEVEN DEARBORN        78 WATSON ST APT 13                                                                  DETROIT            MI 48201‐2708
STEVEN DECARTERET      31154 W CHELTON DR                                                                   BEVERLY HILLS      MI 48025‐5145
STEVEN DECESS          5915 SUNFISH LAKE AVE NE                                                             ROCKFORD           MI 49341‐9000
STEVEN DECKER          310 DAVIS GREEN LN                                                                   SPRING HILL        TN 37174‐7568
STEVEN DEFAZIO         2260 LANNEN RD                                                                       HOWELL             MI 48855‐9255
STEVEN DEKETT          6181 CARROLL LAKE RD                                                                 COMMERCE TWP       MI 48382‐3668
STEVEN DELOZIER        2333 SALEM AVE                                                                       GROVE CITY         OH 43123‐1829
STEVEN DELY            130 W 2ND ST STE 900                                                                 DAYTON             OH 45402‐1590
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Name                            Address1                        Address2            Address3         Address4         City              State Zip
STEVEN DEMES                    PO BOX 4758                                                                           AUSTINTOWN         OH 44515‐0758
STEVEN DENSMORE                 10909 STOW RD                                                                         WEBBERVILLE        MI 48892‐9517
STEVEN DEPA                     7620 LIGHTHOUSE COVE DR                                                               PORT HOPE          MI 48468‐9662
STEVEN DEPEEL                   927 FIELDS RD                                                                         DANSVILLE          MI 48819‐9795
STEVEN DEUEL                    7803 STONES RIVER RD                                                                  CHATTANOOGA        TN 37421‐8202
STEVEN DI RUSSO                 1918 WINDING RIDGE RD                                                                 EDMOND             OK 73034‐1410
STEVEN DIAMOND                  PO BOX 471216                                                                         LAKE MONROE        FL 32747‐1216
STEVEN DICK                     3810 HAMPSTEAD DR                                                                     SYLVANIA           OH 43560‐5505
STEVEN DIENES                   38230 AVONDALE ST                                                                     WESTLAND           MI 48186‐3830
STEVEN DIETZ                    36095 HOWELL AVE                                                                      LIVONIA            MI 48154‐5112
STEVEN DIJAK                    PO BOX 431                                                                            FREDERIC           MI 49733‐0431
STEVEN DILTS                    1821 ROBINHOOD RD                                                                     ALBANY             GA 31707‐3123
STEVEN DINKINS                  7715 CRUYFF CIR                                                                       INDIANAPOLIS       IN 46214‐2347
STEVEN DOBBRASTINE              810 EDMONSON CIR                                                                      NASHVILLE          TN 37211‐7226
STEVEN DODDS                    751 MOUNT OLYMPUS AVE SE                                                              OCEAN SHORES       WA 98569‐9748
STEVEN DOGGETT                  2401 BRISBANE ST                                                                      WOLVERINE LAKE     MI 48390‐1831
STEVEN DOLL                     3095 PARK AVE                                                                         BELOIT             WI 53511‐1638
STEVEN DONLEY                   111 E MAIN BOX 137                                                                    POTTERVILLE        MI 48876
STEVEN DONNELLY                 14533 BLUE HERON DR                                                                   FENTON             MI 48430‐3268
STEVEN DONOVAN                  3302 TENNYSON DR                                                                      JANESVILLE         WI 53548‐8564
STEVEN DOOLEY                   24400 LAKEVIEW PL                                                                     PORT CHARLOTTE     FL 33980‐5235
STEVEN DORCEY                   100 ROBIN LN                                                                          WILDWOOD           FL 34785‐9218
STEVEN DORK                     2527 MUNSTER RD                                                                       ROCHESTER HILLS    MI 48309‐2323
STEVEN DOUGLAS                  5316 BISON CT                                                                         WATAUGA            TX 76137‐6704
STEVEN DOUGLAS                  5600 LIZ LN                                                                           ANDERSON           IN 46017‐9742
STEVEN DOUGLAS ASSOCIATES INC   3040 UNIVERSAL BLVD STE 190                                                           WESTON             FL 33331‐3529
STEVEN DOUGLASS                 4508 E 200 S TRLR 172                                                                 KOKOMO             IN 46902‐4252
STEVEN DOWNING                  954 BURNWYCK DR                                                                       JANESVILLE         WI 53546‐3703
STEVEN DRAPER                   7587 US HIGHWAY 72                                                                    ATHENS             AL 35611‐8981
STEVEN DRAYS                    40 GOEDE RD                                                                           EDGERTON           WI 53534‐9305
STEVEN DRESBACK                 39 SQUIRREL TRL                                                                       HENDERSONVILLE     NC 28791‐8200
STEVEN DROGAN                   10 PRESTON CIR                                                                        ROCHESTER          NY 14626‐1157
STEVEN DROP                     404 STAFFORD CLOSE                                                                    FRANKLIN           TN 37069‐4360
STEVEN DROST                    360 BUCKINGHAM AVE                                                                    FLINT              MI 48507‐2705
STEVEN DSOUZA                   23029 SAGEBRUSH                                                                       NOVI               MI 48375‐4168
STEVEN DUBOIS                   6285 N 8 MILE RD                                                                      LAKE CITY          MI 49651‐9521
STEVEN DUDLEY                   4679 WESTGATE DR NW                                                                   COMSTOCK PARK      MI 49321‐9365
STEVEN DUDLEY                   3701 N COUNTY ROAD 700 W                                                              MUNCIE             IN 47304‐9662
STEVEN DUDLEY                   2352 WINTERSET DR                                                                     TOLEDO             OH 43614‐1255
STEVEN DUES                     9350 ELAINE DR                                                                        SWARTZ CREEK       MI 48473‐8555
STEVEN DUKES                    11615 TUPPER LAKE RD                                                                  GRAND LEDGE        MI 48837‐9508
STEVEN DULING                   4061 S PINE DELL DR                                                                   LANSING            MI 48911‐6128
STEVEN DUNCAN                   1095 WILLIAMSON CIR                                                                   PONTIAC            MI 48340‐3314
STEVEN DUNGEY                   500 S PINE ST APT 306                                                                 LANSING            MI 48933‐2246
STEVEN DUNN                     2118 W CLARK RD                                                                       DEWITT             MI 48820‐8131
STEVEN DUNN                     2605 HAZELWOOD AVENUE                                                                 DAYTON             OH 45419‐2763
STEVEN DUNN                     529 ESSEX DR                                                                          ROCHESTER HILLS    MI 48307‐3512
STEVEN DUNSHEE                  322 BAGDAD RD                                                                         POTSDAM            NY 13676‐3175
STEVEN DUQUENNE                 3536 SWEET MAGGIE LN                                                                  NAPERVILLE          IL 60564‐8299
STEVEN DUSO                     1518 ROSE ST                                                                          BAY CITY           MI 48708‐5535
STEVEN DUTCHER                  PO BOX 269                                                                            DIMONDALE          MI 48821‐0269
STEVEN DUVAL                    2705 WATER VALLEY RD                                                                  SANTA FE           TN 38482
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Name                   Address1                       Address2                       Address3   Address4         City               State Zip
STEVEN DYKES           1233 BENTLEY DR                                                                           MONROE              MI 48162‐5105
STEVEN E BALLOR        4110 GALWAY                                                                               HOUSTON             TX 77080‐1616
STEVEN E BRANDENBURG   88 CATHERINE CT                                                                           GERMANTOWN          OH 45327
STEVEN E BUTLER        9094 ROAD D                                                                               LEIPSIC             OH 45856‐9274
STEVEN E CALLAWAY      1614 SHERWOOD DR                                                                          ANDERSON            IN 46012‐2830
STEVEN E COWAN         6316 JANICE RD                                                                            MILLINGTON          MI 48746‐9544
STEVEN E DAVIS         1824 EAST MICHIGAN AVENUE                                                                 LANSING             MI 48912‐2836
STEVEN E DEARWESTER    304 TAYLOR LOT #3                                                                         RUSSELLS PT         OH 43348
STEVEN E DIETZ         181 PROSPECT ST                                                                           SPENCERPORT         NY 14559‐1831
STEVEN E ELDRIDGE      390 CREDITON ST                                                                           LAKE ORION          MI 48362‐2024
STEVEN E FRANTZ        5120 DENLINGER RD                                                                         TROTWOOD            OH 45426‐1850
STEVEN E FUGATE        24DAMON COURT                                                                             FAIRBORN            OH 45324‐4219
STEVEN E GILES         4249 TROTWOOD DR                                                                          LAKE HAVASU CITY    AZ 86406‐8073
STEVEN E HAGGERTY      90 EDMONTON RD                                                                            BELLVILLE           OH 44813‐1007
STEVEN E HAWS          1542 WESTONA DR                                                                           DAYTON              OH 45410‐3338
STEVEN E HEISHMAN      10 BOBCAT RD                                                                              CARLISLE            PA 17015
STEVEN E JANKE         630 SPRUCE ST                                                                             LANSDALE            PA 19446
STEVEN E KEATON        4840 SUNRAY RD                                                                            KETTERING           OH 45429
STEVEN E KENNEDY       6771 SHAKER RD                                                                            FRANKLIN            OH 45005
STEVEN E KUNTZ         319 MOUND RIDGE RD                                                                        COOK STA            MO 65449‐9130
STEVEN E LAFLAME       2061 AUBURN AVE                                                                           DAYTON              OH 45406‐2910
STEVEN E MCEWEN        8958 OLD RTE 422                                                                          NEW CASTLE          PA 16101
STEVEN E MONEY         2125 WOODCREST CT                                                                         INDIANAPOLIS        IN 46227‐4331
STEVEN E NELSON        944 COUNTY ROAD 326                                                                       MOULTON             AL 35650‐7011
STEVEN E NEWTON        3909 LONG LANE                                                                            MIDDLETOWN          OH 45044
STEVEN E PHILLIPS      1100 QUAIL RUN                                                                            MITCHELL            IN 47446‐6217
STEVEN E PRIORE        6225 POSSUM RUN                                                                           DAYTON              OH 45440‐4031
STEVEN E SKINNER       304 MOREHEAD ST                                                                           TROY                OH 45373‐3730
STEVEN E SMITH         243 AULLWOOD RD                                                                           DAYTON              OH 45414
STEVEN E STALEY        112 LEXINGTON FARM RD                                                                     UNION               OH 45322
STEVEN E SWANK         20065 HUBBARD ST                                                                          LIVONIA             MI 48152‐4221
STEVEN E TERRILL       2324 KING RICHARD PKWY                                                                    MIAMISBURG          OH 45342
STEVEN E THIEL         4705 ANGEVINE RD                                                                          ALBION              NY 14411‐9535
STEVEN E THOMPSON      1265 N. CHRISDEN ST. C‐201                                                                ANAHEIM             CA 92807‐2285
STEVEN E VALIUKAS      133 DAFFODIL TRL                                                                          ROCHESTER           NY 14626
STEVEN E WEST          619 HIGHWAY DD                                                                            DEFIANCE            MO 63341‐2003
STEVEN E WRIGHT        25 MOLER AVENUE                                                                           GERMANTOWN          OH 45327‐1254
STEVEN E WRIGHT        6812 HOMESTRETCH RD                                                                       DAYTON              OH 45414‐2518
STEVEN EARL            5 STEVE EARL RD                                                                           SPRINGVILLE         IN 47462‐5442
STEVEN EASTMAN         6330 TIMBERLAND DR                                                                        DIMONDALE           MI 48821‐9755
STEVEN EASTMAN         4824 FRIEGEL RD                                                                           LAINGSBURG          MI 48848‐9794
STEVEN EASTVOLD        830 HARMONY TER                                                                           LAKE ST LOUIS       MO 63367‐2401
STEVEN EATON           4852 MESSENGER HWY                                                                        OLIVET              MI 49076‐9803
STEVEN EATON           27 TOLPA COURT                                                                            CHICOPEE            MA 01020
STEVEN EBERT           272 BUTTERNUT DR                                                                          STRUM               WI 54770‐5001
STEVEN ECKERSTROM      C/O COONEY AND CONWAY          120 NORTH LASALLE 30TH FLOOR                               CHICAGO              IL 60602
STEVEN ECKERT          770 BROWN SCHOOL RD                                                                       EVANSVILLE          WI 53536‐8101
STEVEN ECKHOUT         19445 CHALK DR                                                                            MACOMB              MI 48044‐1767
STEVEN EDEN            104 NORFOLK DR                                                                            ALEXANDRIA          IN 46001‐1226
STEVEN EDGERLY         PO BOX 17993                                                                              SHREVEPORT          LA 71138‐0993
STEVEN EDMISTEN        PO BOX 204                                                                                WINCHESTER          OH 45697‐0204
STEVEN EDMISTER        8449 DALE RD                                                                              GASPORT             NY 14067‐9351
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Name                   Address1                        Address2            Address3         Address4         City               State Zip
STEVEN EDWARDS         8315 E EATON HWY                                                                      MULLIKEN            MI 48861‐9642
STEVEN EDY             45 N BOLTON AVE                                                                       INDIANAPOLIS        IN 46219‐5913
STEVEN EFU JR          536 MARK DR                                                                           SAINT CHARLES       MI 48655
STEVEN EGGLESTON       200 N BRYAN AVE                                                                       SHAWNEE             OK 74801‐7820
STEVEN EHRHARD         116 PECAN GROVE LN                                                                    BOSSIER CITY        LA 71112‐9714
STEVEN EIDSON          42501 PROCTOR RD                                                                      CANTON              MI 48188‐1192
STEVEN EIKENBARY       1039 WALNUT CREEK LN                                                                  GAS CITY            IN 46933‐1497
STEVEN EKHARDT         2813 RASKOB ST                                                                        FLINT               MI 48504‐7540
STEVEN ELDRIDGE        390 CREDITON ST                                                                       LAKE ORION          MI 48362‐2024
STEVEN ELLICOTT        3675 MOORE RD                                                                         OWENDALE            MI 48754‐9784
STEVEN ELLIS           19466 N 1430 EAST RD                                                                  DANVILLE             IL 61834‐5402
STEVEN ELLISON         4689 HAWKVIEW CT                                                                      MILFORD             MI 48380‐2775
STEVEN ELMORE          210 S ANN ARBOR ST                                                                    SALINE              MI 48176‐1304
STEVEN EMMONS          1001 FULLER WISER RD APT 518                                                          EULESS              TX 76039‐8209
STEVEN ENCISO          3260 LUTHER RD                                                                        SAGINAW             MI 48603‐3215
STEVEN ENGEL           3886 VANGUARD DRIVE                                                                   SAGINAW             MI 48604‐1823
STEVEN ENGLISH         7333 BARHAM HOLLOW DR                                                                 WAKE FOREST         NC 27587‐5642
STEVEN ENSING          12494 68TH AVE                                                                        ALLENDALE           MI 49401‐9794
STEVEN EPPERSON        15001 RIVENDELL DR                                                                    STERLING HEIGHTS    MI 48313‐5755
STEVEN ERTLE           PO BOX 2872                                                                           MUNCIE              IN 47307‐0872
STEVEN ESCH            14550 W KINLEY RD                                                                     PEWAMO              MI 48873‐9612
STEVEN ESPINOZA        PO BOX 97101                                                                          PHOENIX             AZ 85060‐7101
STEVEN ESPINOZA        13606 W VERDE LN                                                                      AVONDALE            AZ 85392
STEVEN ESSELINK        9080 COOK RD                                                                          GAINES              MI 48436‐9711
STEVEN ESTELL          108 DORMAN DR                                                                         COLUMBIA            TN 38401‐5540
STEVEN ESTES           19693 OLD US 12                                                                       CHELSEA             MI 48118
STEVEN ETHIER          7236 E POTTER RD                                                                      DAVISON             MI 48423‐9544
STEVEN EUBANK          21601 S MARTHA RD                                                                     PECULIAR            MO 64078‐8741
STEVEN EVANS           10250 BELSAY RD                                                                       MILLINGTON          MI 48746‐9751
STEVEN EVANS           14388 BROOKFIELD ST                                                                   LIVONIA             MI 48154‐4116
STEVEN EVANS           101 S FRANKLIN ST                                                                     GREENFIELD          IN 46140‐2203
STEVEN EVANS           2197 E 200 S                                                                          ANDERSON            IN 46017‐2011
STEVEN EWELL           29476 WALNUT GROVE LN                                                                 WRIGHT CITY         MO 63390‐3187
STEVEN EYERS           7984 S 350 W                                                                          SOUTH WHITLEY       IN 46787‐9719
STEVEN F ADAMS         202 DUNLOP AVE                                                                        TONAWANDA           NY 14150‐7840
STEVEN F AMEY, SR.     3230 WOODLAND AVE                                                                     NIAGARA FALLS       NY 14304‐1314
STEVEN F DEPA          7620 LIGHTHOUSE COVE DRIVE                                                            PORT HOPE           MI 48468‐9662
STEVEN F DURFEE        5062 MANSFIELD                  APT 32                                                ROYAL OAK           MI 48073
STEVEN F JOHNSON       14411 US HIGHWAY 23                                                                   WAVERLY             OH 45690‐9372
STEVEN F KENNEDY       221 DIEHL SOUTH RD                                                                    LEAVITTSBURG        OH 44430
STEVEN F KERCHNER      PO BOX 606                                                                            FLINT HILL          VA 22627
STEVEN F KERCHNER II   PO BOX 606                                                                            FLINT HILL          VA 22627
STEVEN F KRIER         271 LAURISTON ST                                                                      PHILADELPHIA        PA 16128
STEVEN F LADIN         1895 PEREGRINE LANE             PO BOX 23124                                          SILVERTHORNE        CO 80498‐3124
STEVEN F LINVILLE      4035 CAPRICE DR                                                                       ENGLEWOOD           OH 45322‐2648
STEVEN F MUSGROVE      5338 LINDBERGH                                                                        WEST CARROLLT       OH 45449‐2743
STEVEN FAHNER          3223 WOODVIEW CIRCLE                                                                  LAKE ORION          MI 48362‐2068
STEVEN FAHR            9815 N ESTON RD                                                                       CLARKSTON           MI 48348‐2229
STEVEN FAIRCHILD       153 OLD 122 RD                                                                        LEBANON             OH 45036‐2440
STEVEN FALLIS          2514 SWAFFER RD                                                                       MILLINGTON          MI 48746‐9614
STEVEN FALTA           445 CHEESE FACTORY RD                                                                 HONEOYE FALLS       NY 14472‐9768
STEVEN FARR            16400 UPTON RD LOT 99                                                                 EAST LANSING        MI 48823‐9305
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Name                  Address1                         Address2                     Address3   Address4         City              State Zip
STEVEN FARR           2205 N 154TH ST                                                                           BASEHOR            KS 66007‐9763
STEVEN FARR           1332 JOLIET PL                                                                            DETROIT            MI 48207‐2834
STEVEN FAZEKAS        8085 ROSEVILLE LN                                                                         EAST AMHERST       NY 14051‐1927
STEVEN FEHRENBACH     5880 N LOWELL RD                                                                          SAINT JOHNS        MI 48879‐9766
STEVEN FELDKAMP       955 CASTLE PINES DR                                                                       BALLWIN            MO 63021‐4475
STEVEN FELIX          9152 SHERWOOD DR                                                                          DAVISBURG          MI 48350‐1932
STEVEN FERGUSON       1198 CRANFORD HOLLOW RD                                                                   COLUMBIA           TN 38401‐7638
STEVEN FERGUSON       2111 E HILL RD                                                                            GRAND BLANC        MI 48439‐5109
STEVEN FETZ           209 N BELMONT ST                                                                          ALEXANDRIA         IN 46001‐1756
STEVEN FEYEDELEM      114 CLEMONS ST                                                                            MARBLEHEAD         OH 43440‐2211
STEVEN FIALKOWSKI     BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH 44236
STEVEN FICK           2451 AURELIA CT                                                                           SAGINAW            MI 48603‐3802
STEVEN FIELD          12366 HOGAN RD                                                                            GAINES             MI 48436‐9776
STEVEN FIELD          9125 PETERSON RD                                                                          BROOKLYN           MI 49230‐8802
STEVEN FILICE         1007 NORWOOD RD                                                                           LANSING            MI 48917‐2361
STEVEN FINCH          8955 CONNEMARA LN                                                                         CLARENCE CENTER    NY 14032‐9511
STEVEN FINE           7499 EDGEWATER DR                                                                         INDIANAPOLIS       IN 46240‐3062
STEVEN FIORETTI       7123 HOLLOW CORNERS RD                                                                    ALMONT             MI 48003‐7964
STEVEN FIRLE          7451 SCENIC CT                                                                            CEDAR HILL         MO 63016‐3435
STEVEN FISCHER        2843 BYNUM OVERLOOK DR                                                                    ABINGDON           MD 21009‐2714
STEVEN FISH           11682 SHELL BARK LN                                                                       GRAND BLANC        MI 48439‐1376
STEVEN FISHER         2694 RENFREW WAY                                                                          LANSING            MI 48911‐6465
STEVEN FISHER         1628 EXECUTIVE DR                                                                         KOKOMO             IN 46902‐3255
STEVEN FITCH          7791 NW 144TH ST                                                                          TRENTON            FL 32693‐7348
STEVEN FLEMING        6641 N WILDWOOD ST                                                                        WESTLAND           MI 48185‐7003
STEVEN FLEMING        459 EASTMAN ST                                                                            YPSILANTI          MI 48197‐1916
STEVEN FLEWELLING     2497 COVERT RD                                                                            BURTON             MI 48509‐1059
STEVEN FLICK          PO BOX 282                                                                                FREELANDVILLE      IN 47535‐0282
STEVEN FLOURNEY       PO BOX 5113                                                                               FLINT              MI 48505‐0113
STEVEN FLOWERS        6900 10 MILE RD NE                                                                        ROCKFORD           MI 49341‐9381
STEVEN FLOWERS        320 CRESTVIEW COURT                                                                       ANDERSON           IN 46017‐1418
STEVEN FLOYD          1458 DANGELO DR                                                                           N TONAWANDA        NY 14120‐3072
STEVEN FLOYD          1416 SHALE CT                                                                             SAINT PETERS       MO 63303‐1620
STEVEN FLYNN          26 1/2 E MAIN ST                                                                          EVANSVILLE         WI 53536‐1122
STEVEN FORCHE         1578 GROSVENOR HWY                                                                        ADRIAN             MI 49221‐9342
STEVEN FORD           3131 E WILLARD RD                                                                         CLIO               MI 48420‐7703
STEVEN FORD           1225 LONG LAKE CT                                                                         BRIGHTON           MI 48114‐9640
STEVEN FORNETTI       630 KERN RD                                                                               FOWLERVILLE        MI 48836‐9254
STEVEN FORSLUND       116 SAN LUCIA DR                                                                          DEBARY             FL 32713‐5421
STEVEN FORTHENBERRY   413 N BOWMAN AVE                                                                          DANVILLE            IL 61832‐4834
STEVEN FOSNAUGH       168 MOORE DR                                                                              FRANKLIN           OH 45005‐2131
STEVEN FOSS           1054 SUMMERHILL DR                                                                        JANESVILLE         WI 53546‐3727
STEVEN FOSTER         411 W MORENCI ST                                                                          LYONS              OH 43533‐9802
STEVEN FOSTER         108 HICKORY HILL LN                                                                       RUSSELLVILLE       KY 42276‐9264
STEVEN FOSTER         2501 SW GOLDEN EAGLE RD                                                                   LEES SUMMIT        MO 64082‐4145
STEVEN FOSTER         3250 E HOWE RD                                                                            DEWITT             MI 48820‐9402
STEVEN FOSTER         5413 NAPLES DR                                                                            HUBER HEIGHTS      OH 45424‐6103
STEVEN FOX            723 DILL ST                                                                               PARIS               IL 61944‐1210
STEVEN FOX            6460 GRAHAM RD                                                                            WATERFORD          MI 48327‐1600
STEVEN FOX            9737 SHILTON RD                                                                           PORTLAND           MI 48875‐8709
STEVEN FOX            9049 HIDDEN OAKS DR                                                                       GRAND BLANC        MI 48439‐8099
STEVEN FRAMMARTINO    7215 TREVOR LN                                                                            PARMA              OH 44129‐6228
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Name                  Address1                         Address2                     Address3   Address4         City              State Zip
STEVEN FRANK          2700 BADGER LN                                                                            NORTH PORT         FL 34286‐7789
STEVEN FRANK          32950 ILLINOIS ST                                                                         LIVONIA            MI 48150‐3706
STEVEN FRANKLIN       2550 PYRITE PL                                                                            OXNARD             CA 93030‐8602
STEVEN FRAYER         13207 SHADYBROOK LN                                                                       DEWITT             MI 48820‐9291
STEVEN FRAZIER        9805 WELSH RD                                                                             BROOKVILLE         OH 45309‐9220
STEVEN FRECKER        4326 E 450 N                                                                              LEESBURG           IN 46538‐9482
STEVEN FREDENDALL     2507 WINTHROP DR                                                                          JANESVILLE         WI 53546‐3441
STEVEN FREELAND       437 TIMBERLINE DR                                                                         ROCHESTER HILLS    MI 48309‐1310
STEVEN FREGOSA JR     2104 SW BROOKSHIRE DR                                                                     BLUE SPRINGS       MO 64015‐7167
STEVEN FREIHEIT       12409 FIELD RD                                                                            CLIO               MI 48420‐8246
STEVEN FRENCH         119 S GREENWAY DR                                                                         TRINITY            AL 35673‐6001
STEVEN FRESHOUR       5276 PUNDT RD                                                                             LEWISBURG          OH 45338‐9714
STEVEN FREUNDLICH     1930 MELVINA RD                                                                           DEPTFORD           NJ 08096‐5613
STEVEN FREW           445 HEMLOCK DR                                                                            FLOWOOD            MS 39232‐7610
STEVEN FROLKA         2475 W BENNINGTON RD                                                                      OWOSSO             MI 48867‐9748
STEVEN FUHR           2588 JULIE DR                                                                             COLUMBIAVILLE      MI 48421‐8911
STEVEN FUHRMAN
STEVEN FUJA           5405 ALLISON DR                                                                           TROY              MI   48085‐3457
STEVEN FULTON         1732 ALAN LN                                                                              LANSING           MI   48917‐1236
STEVEN FUNK           3858 COUNTY RD 2216                                                                       CADDO MILLS       TX   75135‐8382
STEVEN FURR           7102 CATLETT ST                                                                           SPRINGFIELD       VA   22151‐3425
STEVEN G ANDERSON     8976 SW 33RD TER                                                                          OCALA             FL   34476‐4622
STEVEN G CAMPANELLA   1316 JOSEPHINE ST                                                                         OCEAN SPRINGS     MS   39564
STEVEN G HART         544 ROBIN DR                                                                              ARNOLD            MO   63010‐1632
STEVEN G JUDA         290 NORRAN DRIVE                                                                          ROCHESTER         NY   14609‐1007
STEVEN G KINNEY       1014 E FAIRPLAINS ST                                                                      GREENVILLE        MI   48838‐2805
STEVEN G KOHLER       747 WASHINGTON ST A 5                                                                     SPENCERPORT       NY   14559
STEVEN G LANGER       105 E JOHNSON ST                                                                          SAGINAW           MI   48604‐1317
STEVEN G LEONG        5216 HARTER FARMS MNR                                                                     HIGH RIDGE        MO   63047‐1706
STEVEN G MACDERMUT    4579 GLENHEATH DR                                                                         KETTERING         OH   45440
STEVEN G MAKARCHUK    130 BARCLAY COURT                                                                         ROCHESTER         NY   14612
STEVEN G MAUL         5104 PINE VIEW DR                                                                         ELMIRA            MI   49730‐9472
STEVEN G MCINTURFF    2145 LODELL AVE                                                                           DAYTON            OH   45414
STEVEN GABLE          1670 STONEMORE DR                                                                         DEFIANCE          OH   43512‐3717
STEVEN GAEDERT        107 GATEWOOD DR APT 2B10                                                                  LANSING           MI   48917‐2575
STEVEN GALLAUGHER     313 N GLEANER RD                                                                          SAGINAW           MI   48609‐9669
STEVEN GALLEGOS SR    11 N SQUIRREL RD                                                                          AUBURN HILLS      MI   48326‐4002
STEVEN GALLIMORE      3097 SECTION RD                                                                           NASHVILLE         MI   49073‐9126
STEVEN GALLIMORE      328 BRIDLE LN S                                                                           WEST CARROLLTON   OH   45449‐2118
STEVEN GALVAN         28851 WESTFIELD ST                                                                        LIVONIA           MI   48150‐3136
STEVEN GARCIA         2135 BEECHNUT TRL                                                                         HOLT              MI   48842‐8761
STEVEN GARCIA         4054 STEWART AVE                                                                          BALDWIN PARK      CA   91706‐3117
STEVEN GARLEFF        5505 CHATHAM LN                                                                           GRAND BLANC       MI   48439‐9742
STEVEN GARNER         38895 N POINTE PKWY                                                                       HARRISON TWP      MI   48045‐6802
STEVEN GARNER         1104 THRUSH CT                                                                            CALABASH          NC   28467‐2257
STEVEN GARZA          1420 ROSENEATH AVE                                                                        LANSING           MI   48915‐2246
STEVEN GAY            1011 WESTERN HILLS DR                                                                     FLINT             MI   48532‐2160
STEVEN GEISWITE       32717 BAGLEY RD                                                                           N RIDGEVILLE      OH   44039‐4327
STEVEN GELOTTE        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH   44236
STEVEN GENTRY         1562 EXCALIBUR CT                                                                         LAKELAND          FL   33810‐2094
STEVEN GENTRY         9218 W 280 N                                                                              ANDERSON          IN   46011‐9151
STEVEN GEORGE         1188 FALLEN TIMBERS DR                                                                    DEFIANCE          OH   43512‐1355
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Name                  Address1                       Address2            Address3         Address4         City              State Zip
STEVEN GEORGE         PO BOX 113                                                                           MITCHELL           IN 47446‐0113
STEVEN GEORGE         1250 STATE ROAD 446                                                                  BEDFORD            IN 47421‐7665
STEVEN GERNAND        14110 W DIVISION RD                                                                  DALEVILLE          IN 47334‐9304
STEVEN GERSHMAN       14180 BALFOUR                                                                        OAK PARK           MI 48237
STEVEN GIAMMALVO      790 S. LAKE CLAIRE CLR.                                                              OVIEDO             FL 32766
STEVEN GIBBS          16855 PINEWOOD CT                                                                    PRESQUE ISLE       MI 49777‐8520
STEVEN GIBBS          1125 BENFIELD DR                                                                     KETTERING          OH 45429‐4450
STEVEN GIBSON         4305 W ROBINWOOD DR                                                                  MUNCIE             IN 47304‐2840
STEVEN GIBSON         3504 E COUNTY ROAD 1025 S                                                            MARENGO            IN 47140‐7576
STEVEN GIBSON         8112 POELLET ST                                                                      BIRCH RUN          MI 48415‐8566
STEVEN GIERKE         6643 E 25 S                                                                          PERU               IN 46970‐7155
STEVEN GIESING        EMBRY AND NEUSNER              PO BOX 1409                                           GROTON             CT 06340
STEVEN GIL            34259 ASPEN PARK DR                                                                  CHESTERFIELD       MI 48047‐6103
STEVEN GILBERT        131 MILL AVE SE                                                                      CALEDONIA          MI 49316‐9440
STEVEN GILBERT        1825 OTTAWA ST                                                                       SAGINAW            MI 48602‐2612
STEVEN GILES          4249 TROTWOOD DRIVE                                                                  LK HAVASU CTY      AZ 86406‐8073
STEVEN GILLES         388 FRANKLIN LAKE CIRCLE                                                             OXFORD             MI 48371‐6704
STEVEN GILMAN         3613 LAYTON ST                                                                       HALTOM CITY        TX 76117‐2736
STEVEN GINDER         8023 HIGHWAY 814                                                                     MYRTLE BEACH       SC 29588‐8923
STEVEN GLASS          532 N 25TH ST                                                                        SAGINAW            MI 48601‐6207
STEVEN GLASS          N417 HAIGHT RD                                                                       FORT ATKINSON      WI 53538‐9516
STEVEN GLOMBOWSKI     1660 COCHRANE RD                                                                     BERLIN             MI 48002‐2300
STEVEN GLUCK          1137 W STATE ROAD 18                                                                 HARTFORD CITY      IN 47348‐9271
STEVEN GLUZA          9660 BISHOPSWOOD LN                                                                  PERRYSBURG         OH 43551‐2684
STEVEN GNIAZDOWSKI    119 CLARK LANE                                                                       CAMILLUS           NY 13031‐2303
STEVEN GOAD           6289 US ROUTE 35 E                                                                   W ALEXANDRIA       OH 45381‐9529
STEVEN GOAT           PO BOX 678                                                                           TECUMSEH           OK 74873‐0678
STEVEN GOBLE          5962 GRACE HWY                                                                       SUNFIELD           MI 48890‐9732
STEVEN GODBEY         4819 KRUEGER AVE                                                                     PARMA              OH 44134‐2419
STEVEN GODDARD        2412 CRITTENDEN RD                                                                   ALDEN              NY 14004‐8516
STEVEN GODINA         720 ANN ST                                                                           DELAVAN            WI 53115‐1914
STEVEN GOEBEL         6650 RIO VISTA CT                                                                    SPRINGBORO         OH 45066‐9329
STEVEN GOEBEL         869 SAGAMORE WAY                                                                     VICTOR             NY 14564‐1287
STEVEN GOERTEMILLER   2378 MIAMI VILLAGE DR                                                                MIAMISBURG         OH 45342‐7238
STEVEN GOLIAS         1421 GUARNIERI DR NE                                                                 WARREN             OH 44483‐4249
STEVEN GOLIAS         2015 DEER CREEK RUN                                                                  CORTLAND           OH 44410‐1837
STEVEN GONDOL         12139 SANDY RD                                                                       NORTH JACKSON      OH 44451‐9637
STEVEN GONG           16709 KEITH DR                                                                       MACOMB             MI 48042‐2330
STEVEN GOODRICH       763 RANCHWOOD DR                                                                     TUTTLE             OK 73089‐8666
STEVEN GORALSKI       710 NETHERLAND PL                                                                    ARLINGTON          TX 76017‐6017
STEVEN GORDON         PO BOX 51021                                                                         LIVONIA            MI 48151‐5021
STEVEN GORDON         7152 BRISTOL RD                                                                      SWARTZ CREEK       MI 48473‐7914
STEVEN GORNICK        2273 LONDON BRIDGE DR APT 31                                                         ROCHESTER HILLS    MI 48307
STEVEN GORNICK        13170 OLD OAKS DR                                                                    FENTON             MI 48430‐9550
STEVEN GOSDA          1706 SE 11TH TER                                                                     CAPE CORAL         FL 33990‐1858
STEVEN GOSS           9135 SILVER LAKE RD                                                                  LINDEN             MI 48451‐9643
STEVEN GOSS           4173 FIELDVIEW AVE                                                                   ORCHARD LAKE       MI 48324‐2840
STEVEN GOSSETT        2947 SHORES DR                                                                       SAINT LOUIS        MO 63125‐3925
STEVEN GOUGEON        8515 GRAND VIEW DR                                                                   GRAND BLANC        MI 48439‐7371
STEVEN GOVERT         7048 W STATE ROAD 81                                                                 BELOIT             WI 53511‐9235
STEVEN GOWARD         18134 W SHARON RD                                                                    OAKLEY             MI 48649‐8707
STEVEN GOZELANCZYK    2347 GRANT AVE                                                                       CUYAHOGA FLS       OH 44223‐1058
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Name                 Address1                         Address2                   Address3   Address4         City                State Zip
STEVEN GRADDY        139 N 2ND ST                                                                            MIDDLETOWN           IN 47356‐1401
STEVEN GRADDY        210 S ELMA ST                                                                           ANDERSON             IN 46012‐3144
STEVEN GRADDY        840 EARL AVE                                                                            MIDDLETOWN           IN 47356‐9308
STEVEN GRAHAM        STEVEN GRAHAM                    77 HAWAII AVE NE APT 103                               WASHINGTON           DC 20011‐4931
STEVEN GRAHAM        STEVEN GRAHAM                    2300 GOOD HOPE RD SE       APT 423                     WASHINGTON           DC 20002‐5118
STEVEN GRANDOWICZ    4321 COMMONWEALTH AVE                                                                   TOLEDO               OH 43612‐2040
STEVEN GRANUS        573 CONRAD AVE                                                                          CHARLEROI            PA 15022‐2227
STEVEN GRAY          3324 GRAND BLANC RD                                                                     SWARTZ CREEK         MI 48473‐8881
STEVEN GREEN         2117 BROWNELL BLVD                                                                      FLINT                MI 48504‐7114
STEVEN GREEN         7226 S CHANDLER RD                                                                      SAINT JOHNS          MI 48879‐9132
STEVEN GREENWALD     177 ROSELAWN DR                                                                         XENIA                OH 45385‐1965
STEVEN GREENWOOD     3116 SW 106TH ST                                                                        OKLAHOMA CITY        OK 73170‐2503
STEVEN GREGA         PO BOX 357                                                                              BERLIN HTS           OH 44814‐0357
STEVEN GREGOR        730A ESPADA DR                                                                          EL PASO              TX 79912‐1907
STEVEN GREGORY       5280 BIG BEND DR                                                                        DAYTON               OH 45427‐2715
STEVEN GRIEWAHN      10909 MATTHEWS HWY                                                                      CLINTON              MI 49236‐9757
STEVEN GRIFFES       11090 RUSSELL ST                                                                        UTICA                MI 48317‐5817
STEVEN GRIFFIN       3285 TOWNSEND RD                                                                        MARTINSVILLE         IN 46151‐7770
STEVEN GRIFFITH      2857 ELIZAVILLE RD                                                                      LEBANON              IN 46052‐1286
STEVEN GRIFFITTS     34 VERDI VISTA DR                                                                       WILMINGTON           OH 45177
STEVEN GROSSKREUTZ   11229 E PIONEER RD                                                                      WHITEWATER           WI 53190‐3310
STEVEN GROW          4203 PIERSONVILLE RD                                                                    COLUMBIAVILLE        MI 48421‐9375
STEVEN GRUENER       13220 N WEBSTER RD                                                                      CLIO                 MI 48420‐8238
STEVEN GRUN          7092 SW KAREN RD                                                                        TRIMBLE              MO 64492‐8203
STEVEN GUBANCSIK     9885 CRESCENT SHORES RD                                                                 TRAVERSE CITY        MI 49684‐9642
STEVEN GUBKA         513 S BURK ST                                                                           GILBERT              AZ 85296‐2223
STEVEN GUILLEN       3708 SHERRI ST                                                                          SELMA                CA 93662‐4272
STEVEN GUNN          36668 HIVELEY ST                                                                        WESTLAND             MI 48186‐4000
STEVEN GUTHRIE       6047 CONNELL RD                                                                         BROCKWAY             MI 48097‐4312
STEVEN GUY           8508 W SOMERSET RD                                                                      BARKER               NY 14012‐9620
STEVEN GWIZDALA      8618 FAR RAVINE DR                                                                      PINCKNEY             MI 48169‐8607
STEVEN H BLOOM       7 BEAN COURT                                                                            WANAQUE              NJ 07465
STEVEN H EGGLESTON   200 N BRYAN AVE                                                                         SHAWNEE              OK 74801‐7820
STEVEN H GEIGER      4045 FIRELINE RD                                                                        PALMERTON            PA 18071
STEVEN H HOWARD      503 APT 2 PARK DRIVE                                                                    TRENTON              OH 45067
STEVEN H MILLER      265 CROSBY BLVD                                                                         AMHERST              NY 14226‐3317
STEVEN H OVERMYER    1410 N SR 48                                                                            PLEASANT HILL        OH 45359
STEVEN H SABBAUGH    3351 PIRRIN DR                                                                          WATERFORD            MI 48329‐2745
STEVEN H STOCKARD    1439 WOLCOTT ST                                                                         FLINT                MI 48504‐4025
STEVEN H THOMPSON    5675 CORWIN LN                                                                          RIVERSIDE            CA 92503‐2509
STEVEN HAAR          843 RACHELLE ST                                                                         WHITE LAKE           MI 48386‐2980
STEVEN HAASE         334 NEWMAN RD                                                                           OKEMOS               MI 48864‐1312
STEVEN HABIB         8901 ELKS BLUFF DR UNIT 101                                                             LOUISVILLE           KY 40220‐6722
STEVEN HACK          6540 STONEBROOK LN                                                                      FLUSHING             MI 48433‐2593
STEVEN HACKER        3311 S DEERFIELD AVE                                                                    LANSING              MI 48911‐1822
STEVEN HACKNEY       113 BONAIRE DR                                                                          PANAMA CITY BEACH    FL 32413‐6006
STEVEN HAEFFNER      324 SE 23RD ST                                                                          MOORE                OK 73160‐6249
STEVEN HAENER        254 GLENMOOR DR                                                                         ROCHESTER            MI 48307‐1729
STEVEN HAGEN         5805 E M H TOWNLINE RD                                                                  MILTON               WI 53563‐9768
STEVEN HAGGARTY      113 OAK VALLEY DR                                                                       SPRING HILL          TN 37174‐2591
STEVEN HAGGERTY      90 EDMONTON RD                                                                          BELLVILLE            OH 44813‐1007
STEVEN HALEY         112 HIGHPOINT DR                                                                        ELKTON               MD 21921‐2457
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Name                    Address1                       Address2                     Address3   Address4         City               State Zip
STEVEN HALFMANN         PO BOX 415                                                                              FOWLER              MI 48835‐0415
STEVEN HALL             5179 E 50 S                                                                             GREENTOWN           IN 46936‐9102
STEVEN HALL             8509 BOBBY PL                                                                           CARLISLE            OH 45005‐4203
STEVEN HALL             8115 BAILEY DR NE                                                                       ADA                 MI 49301‐9743
STEVEN HALL             PO BOX 213                                                                              SAINT HELEN         MI 48656‐0213
STEVEN HALLER           1760 PHINNEY LN                                                                         HIGHLAND            MI 48357‐3063
STEVEN HALLOWAY         1012 OAKDALE DR                                                                         COLUMBIA            TN 38401‐3093
STEVEN HAMBLEN          2020 CRAMERTOWN LOOP                                                                    MARTINSVILLE        IN 46151‐8618
STEVEN HAMILTON         6219 MILLER RD                                                                          MANISTEE            MI 49660‐9764
STEVEN HAMM             1013 NW 9TH ST                                                                          MOORE               OK 73160‐1811
STEVEN HAMMOND          735 HAYES ST                                                                            MARNE               MI 49435‐9601
STEVEN HAMMOND          1136 EMERALD FOREST LN                                                                  DAVISON             MI 48423‐9019
STEVEN HAMPTON          C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                               HOUSTON             TX 77007
                        BOUNDAS, LLP
STEVEN HANDLEY          1423 PELHAM DR                                                                          FORT WAYNE         IN   46825‐4121
STEVEN HANEL            1192 FALLEN TIMBERS DR                                                                  DEFIANCE           OH   43512‐1355
STEVEN HANNAH           104 W WARD ST                                                                           CENTERVILLE        TN   37033‐1632
STEVEN HANNAH           187 SINNICKSON LANDING RD                                                               SALEM              NJ   08079‐9610
STEVEN HANNAH SR        577 N BAKER RD                                                                          WELLSTON           MI   49689‐9706
STEVEN HANNON           1552 E 200 S                                                                            HARTFORD CITY      IN   47348‐9788
STEVEN HANSEN           9578 E COLBY RD                                                                         CRYSTAL            MI   48818‐9508
STEVEN HANSES           500 S EDGEWORTH AVE                                                                     ROYAL OAK          MI   48067‐3971
STEVEN HARGRAVE         6374 N MYRTLE AVE                                                                       GLADSTONE          MO   64119‐1994
STEVEN HARMEYER         9200 N SHAFFER RD                                                                       MUNCIE             IN   47303‐9326
STEVEN HARMON           151 SECLUSION LOOP                                                                      GRANTS PASS        OR   97526‐9690
STEVEN HARMON           310 BLACK OAK CT                                                                        FLINT              MI   48506‐5342
STEVEN HARNETT          6702 STATE ROUTE 88                                                                     KINSMAN            OH   44428‐9743
STEVEN HARRIS           111 WILLITS ST APT 304                                                                  BIRMINGHAM         MI   48009‐3330
STEVEN HARRIS           5712 PIPER AVE                                                                          LANSING            MI   48911‐4614
STEVEN HARRIS           1323 W STATE ST                                                                         JANESVILLE         WI   53546‐5340
STEVEN HARROD           6845 ABERDEEN DR                                                                        DIMONDALE          MI   48821‐9402
STEVEN HARROW           523 LELAND ST                                                                           FLUSHING           MI   48433‐3302
STEVEN HART             957 E MAPLE ST                                                                          HOLLY              MI   48442‐1723
STEVEN HART             17497 AUGUSTA DR                                                                        MACOMB             MI   48042‐1130
STEVEN HARTZELL         2331 DISCOVERY DR                                                                       ANDERSON           IN   46017‐9613
STEVEN HASKIN           14661 STATE ROUTE 118                                                                   OHIO CITY          OH   45874‐9631
STEVEN HASTINGS         3713 E PINON WAY                                                                        GILBERT            AZ   85234‐3120
STEVEN HATHAWAY         4413 PONDVIEW DR                                                                        SWARTZ CREEK       MI   48473‐8400
STEVEN HATHERLEY        7873 PAMALANE CT                                                                        BRIGHTON           MI   48116‐6265
STEVEN HATLEN           5107 N NEWVILLE RD                                                                      MILTON             WI   53563‐8885
STEVEN HATTEN           274 DUSTIN LANE                                                                         ORTONVILLE         MI   48462‐8889
STEVEN HAUBENSTRICKER   3408 DAKOTA AVE                                                                         FLINT              MI   48506‐3132
STEVEN HAVARD           2404 S MECKLIN SCHOOL RD                                                                OAK GROVE          MO   64075‐7100
STEVEN HAWKINS          3099 WALDON PARK DR                                                                     LAKE ORION         MI   48359‐1335
STEVEN HAYDEN           4754 RUSHWOOD CIR                                                                       UNION              OH   45322‐3612
STEVEN HAYS             43633 GOLDBERG DR                                                                       STERLING HEIGHTS   MI   48313‐1870
STEVEN HAYSLETT         2414 JOHN R RD APT 101                                                                  TROY               MI   48083‐2582
STEVEN HAZEN            1900 NE 24TH ST                                                                         BLUE SPRINGS       MO   64029‐9615
STEVEN HEALY            476 S WILHELM ST                                                                        HOLGATE            OH   43527‐9746
STEVEN HEARD            4009 ARNST WAY                                                                          SPRING HILL        TN   37174‐9265
STEVEN HEASTON          7845 N 650 E                                                                            OSSIAN             IN   46777‐8909
STEVEN HECIMOVICH       5810 N PROMISING LN                                                                     MILTON             WI   53563‐8453
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Name                   Address1                         Address2            Address3         Address4         City            State Zip
STEVEN HEDDEN          6322 LERNER WAY                                                                        LANSING          MI 48911‐6005
STEVEN HEERDT          123 MARYWOOD DR                                                                        DEPEW            NY 14043‐4215
STEVEN HEGEDUS         407 35TH ST                                                                            SUNSET BEACH     NC 28468‐4117
STEVEN HEIDEN          1016 GRENOBLE CIR                                                                      LANSING          MI 48917‐4811
STEVEN HEILIG          2316 KNOB CREEK RD                                                                     COLUMBIA         TN 38401‐1423
STEVEN HEIMGARTNER     STEVEN HEIMGARTNER IRA           PO BOX 33416                                          LAS VEGAS        NV 89133
STEVEN HEINIG          4247 E KINSEL HWY                                                                      CHARLOTTE        MI 48813‐9742
STEVEN HENDERSHOT      33 LOCUST DR                                                                           BELLEVILLE       MI 48111‐4213
STEVEN HENDERSON       4607 ANDALUSIA TRAIL                                                                   ARLINGTON        TX 76017‐2149
STEVEN HENDRICKS       PO BOX 215                                                                             RANSOMVILLE      NY 14131‐0215
STEVEN HENDRIKSEN      3237 CONNECTICUT ST                                                                    BURTON           MI 48519‐1547
STEVEN HENGESBACH      9900 BUTLER RD                                                                         PORTLAND         MI 48875‐9425
STEVEN HENNING         4204 TANGLEWOOD DR                                                                     JANESVILLE       WI 53546‐8847
STEVEN HENRY           937 GARVER RD                                                                          MANSFIELD        OH 44903‐9058
STEVEN HENSEL          1407 E 500 S                                                                           HUNTINGTON       IN 46750‐9222
STEVEN HENSLEY         7105 WANDA LN                                                                          SHREVEPORT       LA 71107‐9373
STEVEN HENTHORN        18293 HIGH POINT RD                                                                    VIOLA            WI 54664‐8786
STEVEN HEPBURN         8965 E FLORIDA AVE               APT 10‐307                                            DENVER           CO 80247‐2821
STEVEN HERALD          2530 BARNES RD                                                                         MILLINGTON       MI 48746‐9024
STEVEN HERBST          16535 W HEATHERLY DR                                                                   NEW BERLIN       WI 53151‐6537
STEVEN HERKOMER        1885 RACCOON WAY                                                                       PENDLETON        IN 46064‐9064
STEVEN HERMILLER       1195 W MAIN ST                                                                         OTTAWA           OH 45875‐1326
STEVEN HERNANDEZ       53854 SILVERBOW RD                                                                     LANCASTER        CA 93535
STEVEN HERRERA         900 LONG BLVD APT 385                                                                  LANSING          MI 48911‐6732
STEVEN HESS            5875 BARNES RD                                                                         MILLINGTON       MI 48746‐8713
STEVEN HEUER           6445 WAILEA DR                                                                         GRAND BLANC      MI 48439‐9023
STEVEN HEUSTED         11411 DODGE RD                                                                         OTISVILLE        MI 48463‐9739
STEVEN HEYSER          5253 ASHEVILLE HWY                                                                     PISGAH FOREST    NC 28768‐8823
STEVEN HIBBS JR        716 CHESAPEAKE DR                                                                      FORKED RIVER     NJ 08731‐5213
STEVEN HICKS           4797 SADDLEBAG LAKE RD                                                                 WOODLAND         MI 48897‐9657
STEVEN HICKS           25748 N SHORE DR                                                                       ELKHART          IN 46514‐6303
STEVEN HIGELMIRE       6373 S LACEY LAKE RD                                                                   BELLEVUE         MI 49021‐9451
STEVEN HIGELMIRE JR.   11173 STONY POINT HWY                                                                  BELLEVUE         MI 49021‐9711
STEVEN HILL            12926 CARNEY RD                                                                        AKRON            NY 14001‐9661
STEVEN HILL            10500 BLACKBERRY LN                                                                    HASLETT          MI 48840‐9127
STEVEN HILLIARD        4714 KESSLER DR                                                                        LANSING          MI 48910‐5323
STEVEN HILLIS          1632 HIGH MEADOW DR                                                                    CHOCTAW          OK 73020‐6611
STEVEN HILLISON SR.    1010 12TH AVE                                                                          MONROE           WI 53566‐1750
STEVEN HILLMAN         7887 W SOMERSET RD                                                                     APPLETON         NY 14008‐9687
STEVEN HINCHEY         13 LIMOUSIN LN                                                                         SHAWNEE          OK 74804‐1027
STEVEN HINTZ           2798 MICHAEL DR                                                                        CORUNNA          MI 48817‐1150
STEVEN HIPSKIND        1319 CONGRESS ST                                                                       MIDDLETOWN       IN 47356‐9345
STEVEN HOBBS           5855 W MAPLE DR                                                                        FRANKTON         IN 46044‐9491
STEVEN HOCEVAR         10425 FOLEY RD                                                                         FENTON           MI 48430‐9303
STEVEN HOEKSEMA        4214 APPLETREE LN                                                                      LANSING          MI 48917‐1601
STEVEN HOFFMAN         54 THE COMMONS                                                                         GRAND ISLAND     NY 14072‐2953
STEVEN HOFFMAN         12596 S US HIGHWAY 27                                                                  DEWITT           MI 48820‐8384
STEVEN HOGUE           410 HARRISON ST                                                                        LEWISBURG        OH 45338‐9595
STEVEN HOLCOMB         3311 STELLAR DRRD                                                                      JANESVILLE       WI 53545
STEVEN HOLIDAY         14500 AGNES ST                                                                         SOUTHGATE        MI 48195‐1944
STEVEN HOLLAND         1008 N RIVERSIDE AVE                                                                   SAINT CLAIR      MI 48079‐4268
STEVEN HOLLIDAY        3463 AQUARIOUS CIR                                                                     OAKLAND          MI 48363‐2716
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Name                 Address1                         Address2            Address3         Address4         City             State Zip
STEVEN HOLLINGS      20870 MELROSE ST                                                                       SOUTHFIELD        MI 48075‐5680
STEVEN HOLLOWAY      4323 AUGUSTA MANOR CT                                                                  FLORISSANT        MO 63034‐3475
STEVEN HOLM          4303 PRATT AVE                                                                         GRAND BLANC       MI 48439‐9114
STEVEN HOLMES        3820 BROWN RD                                                                          MILLINGTON        MI 48746‐9014
STEVEN HOLSEY        PO BOX 2843                                                                            DETROIT           MI 48202‐0843
STEVEN HOOKER        238 WAKELY TER                                                                         BEL AIR           MD 21014‐5442
STEVEN HOOLEY        11308 STONY CREEK RD                                                                   MILAN             MI 48160‐9577
STEVEN HOPKINS       8729 N CLINTON TRL                                                                     MULLIKEN          MI 48861‐9744
STEVEN HORETSKI      8788 RUSHSIDE DR                                                                       PINCKNEY          MI 48169‐8536
STEVEN HORN          6452 BRIDLE LN                                                                         HIGHLAND          MI 48356‐1200
STEVEN HORNE         217 MOULTRIE COURT                                                                     BOWLING GREEN     KY 42103‐7089
STEVEN HORNUNG       20 W BASSWOOD LN                                                                       MILTON            WI 53563‐1608
STEVEN HOSTETLER     409 E GRAND ST                                                                         GALLATIN          MO 64640‐1123
STEVEN HOUCHINS      850 DEERFIELD RD                                                                       ANDERSON          IN 46012‐9374
STEVEN HOUGH         PO BOX 201                                                                             VERMONTVILLE      MI 49096‐0201
STEVEN HOWARD        7749 WILLIS RD                                                                         YPSILANTI         MI 48197‐8918
STEVEN HOWARD        1017 LOMITA AVE                                                                        FLINT             MI 48505‐3087
STEVEN HOWDIESHELL   80 FIORD DR                                                                            EATON             OH 45320‐2764
STEVEN HOYLES        1798 OLD LOUISVILLE RD LOT 44                                                          BOWLING GREEN     KY 42101‐5508
STEVEN HUBBARD       608 S LANSING ST                                                                       MASON             MI 48854‐1558
STEVEN HUBBLE        3265 BOLGOS CIRCLE                                                                     ANN ARBOR         MI 48105‐1591
STEVEN HUBBLE        1405 PARKER RD                                                                         HOLLY             MI 48442‐8638
STEVEN HUCAL         6154 SPRINGDALE BLVD                                                                   GRAND BLANC       MI 48439‐8523
STEVEN HUDSON        2538 E 200 N                                                                           ANDERSON          IN 46012‐9472
STEVEN HUDSON        9104 CURTIS RD                                                                         ATHENS            AL 35614‐4347
STEVEN HUDVAGNER     35101 WICK RD                                                                          ROMULUS           MI 48174‐1658
STEVEN HUEY          520 FLORENCE CT                                                                        MILFORD           MI 48381‐1711
STEVEN HUFFMAN       1228 SUNSET DR                                                                         FORT WAYNE        IN 46807‐2950
STEVEN HUGHES        1 DEMPSEY DR                                                                           NEWARK            DE 19713‐1929
STEVEN HUIZENGA      980 RIVER ROCK DR NE                                                                   COMSTOCK PARK     MI 49321‐8388
STEVEN HUIZENGA      5395 WING AVE SE                                                                       KENTWOOD          MI 49512‐9687
STEVEN HULETT        4267 LOU MAR LN                                                                        LAKE ORION        MI 48359‐1908
STEVEN HULL          3227 S ELMS RD                                                                         SWARTZ CREEK      MI 48473‐7928
STEVEN HULL          4461 BONNEVILLE DR NE                                                                  GRAND RAPIDS      MI 49525‐1370
STEVEN HUMMEL        1455 FOREST LN                                                                         CLEWISTON         FL 33440‐9041
STEVEN HUNT          34000 MILLWOOD CT                                                                      WESTLAND          MI 48185‐1496
STEVEN HUNT          2838 WEBSTER RD                                                                        LANSING           MI 48906‐9005
STEVEN HUNTER        6015 ROSE HILL CT                                                                      CUMMING           GA 30040‐5728
STEVEN HURST         3622 WESTERN RD                                                                        FLINT             MI 48506‐2332
STEVEN HUSTAD        5634 W JEFFERSON BLVD                                                                  FORT WAYNE        IN 46804‐1671
STEVEN HUTCHINS      5180 STEVENS RD                                                                        CLARKSTON         MI 48346‐4154
STEVEN HUTCHINSON    8904 BRAXTON DR                                                                        SHERRILLS FORD    NC 28673‐3000
STEVEN HUTTO         758 COUNTY ROAD 214                                                                    MOULTON           AL 35650‐8402
STEVEN HUXEL         202 HAMBRO AVE                                                                         UNION             MO 63084‐1532
STEVEN HYDE          505 E BROAD ST                                                                         LINDEN            MI 48451‐8914
STEVEN HYLLA         1830 PATTERSON ST                                                                      ORTONVILLE        MI 48462‐9217
STEVEN HYTINEN       1132 CORVETTE DR                                                                       JENISON           MI 49428‐9414
STEVEN I LINKSMAN    15742 LOCH MAREE LANE                                                                  DELRAY BEACH      FL 33446
STEVEN IDA           6287 MEREDITH GRADE RD                                                                 HARRISON          MI 48625‐9665
STEVEN ILENICH       3700 MAY CENTER RD                                                                     LAKE ORION        MI 48360‐2520
STEVEN INGERSOLL     900 5TH ST                                                                             BAY CITY          MI 48708‐6028
STEVEN INSKEEP       813 N LINCOLN ST                                                                       BAY CITY          MI 48708‐6188
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Name                           Address1                         Address2                    Address3   Address4         City               State Zip
STEVEN IRWIN                   43503 BROOKS DR                                                                          CLINTON TWP         MI 48038‐5320
STEVEN IRWIN                   5111 OAK KNOLL AVE                                                                       NEWTON FALLS        OH 44444‐9483
STEVEN ISROW                   1660 TREESIDE DR                                                                         ROCHESTER HILLS     MI 48307‐3474
STEVEN IVES                    8291 S SHERIDAN AVE                                                                      DURAND              MI 48429‐9314
STEVEN IZER                    7101 W 89TH ST                                                                           OVERLAND PARK       KS 66212‐2020
STEVEN IZER                    1915 WALKER LAKE RD                                                                      MANSFIELD           OH 44906‐1421
STEVEN J BARRY                 10805 RIDGECREST                                                                         ST ANN              MO 63074‐3437
STEVEN J BILOVESKY             3720 HELSEY FUSSELMAN RD                                                                 SOUTHINGTON         OH 44470‐9739
STEVEN J BOUGH                 RR 1 BOX 400                                                                             SPRINGVILLE         IN 47462‐9605
STEVEN J BRASKA                PO BOX 23549                                                                             FT LAUDERDALE       FL 33307‐3549
STEVEN J CAINE                 C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                               HOUSTON             TX 77007
                               BOUNDAS LLP
STEVEN J CHRISTINA             841 BEACH RD                                                                             ANGOLA             NY   14006‐9756
STEVEN J CICHON                3832 NYMAN AVE                                                                           WAYNE              MI   48184‐1523
STEVEN J DELY                  130 W 2ND STREET                 SUITE 900                                               DAYTON             OH   45402‐1590
STEVEN J DENTON                16398 VISTA ROMA                                                                         HUNTINGTON BE      CA   92649‐5225
STEVEN J DONOFRIO              130 PENNELS DR                                                                           ROCHESTER          NY   14626‐4909
STEVEN J DUDLEY                4679 WESTGATE DR NW                                                                      COMSTOCK PARK      MI   49321‐9365
STEVEN J DUNN                  2027 RICHFIELD DR                                                                        KETTERING          OH   45420
STEVEN J DUNN                  2605 HAZELWOOD AVE                                                                       KETTERING          OH   45419‐2763
STEVEN J EDMISTEN              18827 ST.RT. 136 P.O. BOX 204                                                            WINCHESTER         OH   45697
STEVEN J EGGERS                191 MIMOSA DRIVE                                                                         CENTERVILLE        OH   45459‐4447
STEVEN J ELLICOTT              3675 MOORE RD                                                                            OWENDALE           MI   48754‐9784
STEVEN J ERISMAN               1628 SENICA DR                                                                           XENIA              OH   45385
STEVEN J FOSTER                411 W MORENCI ST                                                                         LYONS              OH   43533‐9802
STEVEN J GLOMBOWSKI            1660 COCHRANE RD                                                                         BERLIN             MI   48002‐2300
STEVEN J GURALNY               213 BROWN AVE                                                                            SYRACUSE           NY   13211‐1721
STEVEN J HABIB                 8901 ELKS BLUFF DR UNIT 101                                                              LOUISVILLE         KY   40220‐6722
STEVEN J HUTCHISON
STEVEN J IPACS                 347 BLEAKER ROAD                                                                         ROCHESTER          NY   14609‐1624
STEVEN J LEWANDOWSKI           197 EMBERGLOW LN                                                                         ROCHESTER          NY   14612‐1425
STEVEN J LUKCO                 220 NORTH RD SE                                                                          WARREN             OH   44484
STEVEN J MAGRYTA               4246 BUTTERNUT LN                                                                        GRAND BLANC        MI   48439‐2073
STEVEN J MANSFIELD             PO BOX 681                                                                               GRAND ISLAND       NY   14072‐0681
STEVEN J MILLER                4141 SELBY WAY                                                                           WILLIAMSON         NY   14589‐9740
STEVEN J MORIN                 46550 WEAR RD                                                                            BELLEVILLE         MI   48111‐9224
STEVEN J NELSEN                1701 N ALBERT ST                                                                         FALCON HTS         MN   55113
STEVEN J NOWAK MEMORIAL FUND   6690 STERLING DR N                                                                       STERLING HEIGHTS   MI   48312‐4558
STEVEN J O'DONNELL             62 SUCH STREET                                                                           PARLIN             NJ   08859‐1762
STEVEN J PACE                  83 DOBBINS DR                                                                            STOCKBRIDGE        GA   30281‐3035
STEVEN J POSNICK               PO BOX 848205                                                                            BOSTON             MA   02284‐8205
STEVEN J POWERS                7534 SILAGE CIRCLE                                                                       PT CHARLOTTE       FL   33981‐2659
STEVEN J PRESSEL               859 HEINCKE RD                                                                           DAYTON             OH   45449
STEVEN J REDEMSKY              10150 FROST RD                                                                           PORTLAND           MI   48875‐8451
STEVEN J REINERT               42333 CARRIAGE COVE DR BLDG 23                                                           CANTON             MI   48187
STEVEN J SCHAEFER              861 LOEKES                                                                               FLORISSANT         MO   63031‐5229
STEVEN J SCHUYLER              346 IDDINGS AVE SE                                                                       WARREN             OH   44483‐5918
STEVEN J SHELBY                6325 HAZELWOOD AVE                                                                       INDIANAPOLIS       IN   46260‐4713
STEVEN J SIAR                  207 S MORGAN AVE                                                                         WHEATON            IL   60187
STEVEN J SIDES                 14359 CORNELL ST                                                                         TAYLOR             MI   48180‐4609
STEVEN J SKAPPER               1274 N. BARKLEY PL                                                                       NO.BRUNSWICK       NJ   08902‐3103
STEVEN J STORACI               8756 STONEHILL CT                                                                        SPRINGBORO         OH   45066
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Name                                  Address1                         Address2              Address3       Address4         City           State Zip
STEVEN J TAYLOR                       1400 E COLDWATER RD                                                                    FLINT           MI 48505‐1704
STEVEN J THOMAS                       855 GRACELAND DR                                                                       W CARROLLTON    OH 45449
STEVEN J THOMPSON                     1402 RAYBELL DR                                                                        XENIA           OH 45385
STEVEN J TRUPIANO                     7699 W HENRIETTA RD #1                                                                 RUSH            NY 14543‐9790
STEVEN J VANDENBOSCH                  1659 PORT SHELDON ST                                                                   JENISON         MI 49428‐9324
STEVEN J VILLA                        19 DUNLOP AVE                                                                          TONAWANDA       NY 14150‐7808
STEVEN J WEGNER                       673 EAST STATE ST                                                                      ALBION          NY 14411‐1127
STEVEN J WESTFALL                     6504 WATCH HILL CT                                                                     ARLINGTON       TX 76002‐5553
STEVEN J WIERZBA                      1221 S CENTRAL AVE                                                                     FAIRBORN        OH 45324‐3603
STEVEN J WILLIS                       240 EAST AVE                                                                           BATAVIA         NY 14020‐2704
STEVEN J WROBLEWSKI                   21530 REVERE                                                                           ST.CLAIR SRS    MI 48080
STEVEN J YUCHASZ                      8502 RIDGE RD                                                                          GOODRICH        MI 48438‐9441
STEVEN J. JACKSON                     12640 AUTO MALL CIR                                                                    FOLSOM          CA 95630‐8099
STEVEN J. MATUSZAK, NORTH SHORE GAS   130 EAST RANDOLF DRIVE                                                                 CHICAGO          IL 60601‐1635
COMPANY
STEVEN JACHIMSKI                      7619 SPRUCE RD                                                                         BALTIMORE      MD   21222‐1425
STEVEN JACKSON                        4045 SEYMOUR RD                                                                        SWARTZ CREEK   MI   48473‐8568
STEVEN JACKSON                        3410 NORWOOD DR                                                                        FLINT          MI   48503‐2378
STEVEN JACKSON                        1430 S PLEASANT HILL DR                                                                NEW BERLIN     WI   53146‐1126
STEVEN JACKSON                        6490 JORDAN VILLAGE RD                                                                 POLAND         IN   47868‐7193
STEVEN JACKSON                        6621 RYE GRASS CT SE                                                                   KENTWOOD       MI   49508‐7879
STEVEN JACKSON                        6100 E LYNN DR                                                                         MOORESVILLE    IN   46158‐6576
STEVEN JACOBSON                       512 S CLEMENS AVE                                                                      LANSING        MI   48912‐2906
STEVEN JACOT                          4516 CARMANWOOD DR                                                                     FLINT          MI   48507‐5631
STEVEN JACOWSKI                       221S. FREMONT                                                                          JANESVILLE     WI   53545
STEVEN JAIMES                         8562 E SAGE DR                                                                         SCOTTSDALE     AZ   85250‐6742
STEVEN JAKE                           4076 BEVERLY HILLS DR                                                                  BRUNSWICK      OH   44212‐1606
STEVEN JAMES                          10191 KEITHSHIRE CT                                                                    MIAMISBURG     OH   45342‐7264
STEVEN JANDO                          8060 CREEKWOOD LN                                                                      GOODRICH       MI   48438‐8755
STEVEN JANI                           110 DAY ST APT 101                                                                     BLOOMINGDALE   IL   60108‐2945
STEVEN JANIS                          2882 FAUSSETT RD                                                                       HOWELL         MI   48855‐8236
STEVEN JANOWSKI                       427 WILLETT ST                                                                         BUFFALO        NY   14206‐3234
STEVEN JARRETT                        1502 BRISTOL CHAMPION TWP. R                                                           WARREN         OH   44481
STEVEN JASINSKI                       1415 DIANA AVE                                                                         MADISON HTS    MI   48071‐2988
STEVEN JAWETZ, BEVERIDGE & DIAMOND    1350 I ST NW STE 700                                                                   WASHINGTON     DC   20005‐3311

STEVEN JENSEN                         PO BOX 9022                      C/O SAN LUIS POTOSI                                   WARREN         MI   48090‐9022
STEVEN JENSEN                         2316 PEPPERMILL CT                                                                     HARTLAND       MI   48353‐3146
STEVEN JESSE                          3008 COURT ST                                                                          SAGINAW        MI   48602‐3605
STEVEN JEUDE                          12474 MENTZ DR                                                                         BRUCE TWP      MI   48065‐4438
STEVEN JOHNK                          10295 VFW RD                                                                           EATON RAPIDS   MI   48827‐9776
STEVEN JOHNS                          2180 JEFFERSON RD                                                                      CLARKLAKE      MI   49234‐9675
STEVEN JOHNSON                        1501 VERMONT AVE                                                                       LANSING        MI   48906‐4636
STEVEN JOHNSON                        221 LUCKY LN                                                                           PENDLETON      IN   46064‐9190
STEVEN JOHNSON                        739 HOLIDAY DR                                                                         FORTVILLE      IN   46040‐1138
STEVEN JOHNSON                        14411 US HIGHWAY 23                                                                    WAVERLY        OH   45690‐9372
STEVEN JOHNSON                        3245 HARPER RD                                                                         MASON          MI   48854‐9351
STEVEN JOHNSON                        3340 COVERT RD                                                                         LESLIE         MI   49251‐9713
STEVEN JOHNSON                        2819 W WASHTENAW ST                                                                    LANSING        MI   48917‐3871
STEVEN JOHNSON                        11150 PHELPS AVE                                                                       SPARTA         MI   49345‐8702
STEVEN JOHNSON                        1002 N CHERRY ST                                                                       GERMANTOWN     OH   45327‐1118
STEVEN JOHNSON                        # 24                             18341 PINE WEST                                       BROWNSTOWN     MI   48193‐8320
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Name                    Address1                      Address2                   Address3             Address4           City           State Zip
STEVEN JOHNSON          3120 HODGES RD                                                                                   DRYDEN          MI 48428‐9735
STEVEN JOHNSTON         533 N MARION ST                                                                                  HAMLER          OH 43524‐9783
STEVEN JOHNSTON         2136 N MARKET ST                                                                                 KOKOMO          IN 46901‐1451
STEVEN JOINER           1341 WHISPERING OAK                                                                              JACKSON         MS 39212‐2052
STEVEN JONES            1518 SHADOWMOSS CIR                                                                              LAKE MARY       FL 32746‐4426
STEVEN JONES            4035 CHARLES DR                                                                                  DANIELSVILLE    PA 18038‐9537
STEVEN JONES            1667 WINSLOW ROAD                                                                                ATTICA          MI 48412‐9707
STEVEN JONES            2745 TOMAHAWK DR                                                                                 WATERFORD       MI 48328‐3187
STEVEN JONES            6000 WESTSHORE DR                                                                                OSCODA          MI 48750‐9683
STEVEN JONES            16400 BRINGARD DR                                                                                DETROIT         MI 48205‐1521
STEVEN JONES            606 BRECKENRIDGE WAY                                                                             BEAVERCREEK     OH 45430‐2302
STEVEN JONES            20444 BREEZEWAY DR                                                                               MACOMB          MI 48044‐3516
STEVEN JONES            6055 LANGCHESTER DR                                                                              GRAND BLANC     MI 48439‐9650
STEVEN JONES            8228 DANIELS PURCHASE WAY                                                                        MILLERSVILLE    MD 21108‐1598
STEVEN JOSEPH           69100 HENRY ROSS DR                                                                              BRUCE TWP       MI 48065‐4039
STEVEN JOSEPH DYER      C/O ROBERT W PHILLIPS         SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON       IL 62024
                                                      ANGELIDES & BARNERD LLC
STEVEN JOSEPH SMIALEK   ROBERT W PHILLIPS             SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON      IL   62024
                                                      ANGELIDES & BARNERD LLC
STEVEN JOURDAN          5701 N EUCLID AVE                                                                                GLADSTONE      MO    64118‐5634
STEVEN JOYNER           4170 GRONDINWOOD LN                                                                              MILFORD        MI    48380‐4223
STEVEN JOZWICK          3883 PIEDMONTE DR                                                                                OAKLAND TWP    MI    48306‐5001
STEVEN JUBIK            12879 FALL RIVER DR                                                                              SOUTH LYON     MI    48178‐8174
STEVEN JULY             10202 LAKE RD                                                                                    OTISVILLE      MI    48463‐9714
STEVEN JURATICH         5173 DAVAL DR                                                                                    SWARTZ CREEK   MI    48473‐1240
STEVEN JUREWICK         44B W 31ST ST                                                                                    BAYONNE        NJ    07002‐8643
STEVEN K COMBS          403 HARRISON                                                                                     GRATIS         OH    45330
STEVEN K EDWARDS        8315 E EATON HWY                                                                                 MULLIKEN       MI    48861‐9642
STEVEN K FAIRCHILD      153 OLD 122                                                                                      LEBANON        OH    45036
STEVEN K FLEMING        6144 LAKE DR                                                                                     YPSILANTI      MI    48197‐7051
STEVEN K HOWDIESHELL    80 FIORD DR                                                                                      EATON          OH    45320
STEVEN K LEMSTRA        1540 PINE AVE                                                                                    ONTARIO        CA    91762‐5434
STEVEN K STENMANN       C/O BRAYTON PURCELL           222 RUSH LANDING RD                                                NOVATO         CA    94948‐6169
STEVEN KAISER           214 N LAING ST                                                                                   LAINGSBURG     MI    48848‐9405
STEVEN KALAKAY III      1424 LYLE ST                                                                                     BURTON         MI    48509‐1641
STEVEN KALMBACH         10319 ROLSTON RD                                                                                 BYRON          MI    48418‐9021
STEVEN KAMINSKI         APT 158219 ELLSWORTH ST                                                                          ISELIN         NJ    08830‐2433
STEVEN KAMMEYER         15950 POWER DAM RD                                                                               DEFIANCE       OH    43512‐7049
STEVEN KANGAS           421 S FAIRVIEW AVE                                                                               LANSING        MI    48912‐2915
STEVEN KANOZA           10930 E PENCIL LEAF PL                                                                           TUCSON         AZ    85748‐3560
STEVEN KARNER           10 WINDING WOOD CT                                                                               MAHOPAC        NY    10541‐2623
STEVEN KARPINSKI        57703 NICOLE ST                                                                                  NEW HAVEN      MI    48048‐3310
STEVEN KAUFMAN          6505 SOUTHAMPTON DR                                                                              CLARKSTON      MI    48346‐4742
STEVEN KAYSER           965 EGGERT RD                                                                                    AMHERST        NY    14226‐4140
STEVEN KAZER            3630 NAVARRA DR                                                                                  WHITE LAKE     MI    48383‐1464
STEVEN KEEFER           7808 WARWICK RD                                                                                  MORENCI        MI    49256‐9747
STEVEN KEELER           2086 SKIPPING STONE TRL                                                                          FLUSHING       MI    48433‐9797
STEVEN KEESLING         1020 ANDERSON FRANKTON RD                                                                        ANDERSON       IN    46011‐8737
STEVEN KEESLING         7537 N 850 W                                                                                     MIDDLETOWN     IN    47356
STEVEN KEIM             PO BOX 357                                                                                       LINWOOD        MI    48634‐0357
STEVEN KEITH            2530 E CLAY CT                                                                                   BLOOMINGTON    IN    47401‐4792
STEVEN KEKEL            4403 MAPLEWOOD MEADOWS AVE                                                                       GRAND BLANC    MI    48439‐8666
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Name                  Address1                          Address2            Address3         Address4               City            State Zip
STEVEN KELLAR         9073 MELTRICA AVE                                                                             GRAND BLANC      MI 48439‐8365
STEVEN KELLER         121 W GUY ST                      P.O. BOX 58                                                 LINWOOD          MI 48634‐2519
STEVEN KELLEY         11810 E GRAND RIVER AVE                                                                       PORTLAND         MI 48875‐8443
STEVEN KELLY          166 MONTAUK CT                                                                                CLEMMONS         NC 27012‐8661
STEVEN KELLY          7523 DYKE RD                                                                                  IRA              MI 48023‐2726
STEVEN KELSCHENBACH   1427 RED JACKET RD                                                                            GRAND ISLAND     NY 14072‐2326
STEVEN KEMP           318 MARSALA CT                                                                                CANTON           MI 48187‐4663
STEVEN KENNEDY        6791 AKRON RD                                                                                 LOCKPORT         NY 14094‐5316
STEVEN KENNEDY        6771 SHAKER RD                                                                                FRANKLIN         OH 45005‐2658
STEVEN KENNEDY        2384 HOLTZ RD                                                                                 SHELBY           OH 44875‐8809
STEVEN KERL           121 JONATHON DR                                                                               JANESVILLE       WI 53548‐5801
STEVEN KERL           3337 W KECK RD                                                                                COLUMBIA CITY    IN 46725‐9558
STEVEN KERN           175 N ANDREWS ST                                                                              LAKE ORION       MI 48362‐3004
STEVEN KERR           9350 TWP RD 249                                                                               GALION           OH 44833
STEVEN KERSTEN        3716 FALCON RIDGE DR                                                                          JANESVILLE       WI 53548
STEVEN KESSLER        4328 CHARLES DR                                                                               BROWNSBURG       IN 46112‐8527
STEVEN KESTNER        2320 W 12TH ST                                                                                ANDERSON         IN 46016‐3015
STEVEN KETCHUM        13483 W STATE RD                                                                              GRAND LEDGE      MI 48837‐9626
STEVEN KEYZER         KOPSTRAAT 372                                                          2900 SCHOTEN BELGIUM
STEVEN KIBBEY         6091 BATTLE CREEK HWY                                                                         BELLEVUE        MI 49021‐8415
STEVEN KIDD           2080 HADLEY RD                                                                                LAPEER          MI 48446‐9657
STEVEN KIDWELL        3232 SW 48TH ST                                                                               OKLAHOMA CITY   OK 73119‐4327
STEVEN KIEN
STEVEN KIMBLE         PO BOX 292648                                                                                 DAYTON          OH   45429‐0648
STEVEN KIMMEL         1520 SPENCER PIKE RD                                                                          SPRINGVILLE     IN   47462‐5376
STEVEN KINDINGER      149 BLUE SPRUCE CT                                                                            DELAWARE        OH   43015‐4005
STEVEN KING           8151 BALFOUR AVE                                                                              ALLEN PARK      MI   48101‐2268
STEVEN KING           20101 160TH AVE                                                                               TUSTIN          MI   49688‐8533
STEVEN KING           6500 KANSAS AVE LOT 94                                                                        KANSAS CITY     KS   66111‐2339
STEVEN KING           7794 ACRE LN                                                                                  BROWNSBURG      IN   46112‐8567
STEVEN KINNEY         1576 POUND DR                                                                                 FLINT           MI   48532‐4560
STEVEN KINNEY         1810 N MCGUIRE AVE                                                                            MONROE          LA   71203‐3422
STEVEN KINNEY         PO BOX 9022                       GM ZURICH                                                   WARREN          MI   48090‐9022
STEVEN KINNEY         1014 E FAIRPLAINS ST                                                                          GREENVILLE      MI   48838‐2805
STEVEN KIRKMAN        703 N REMBRANDT AVE                                                                           ROYAL OAK       MI   48067‐2080
STEVEN KISH           PO BOX 1026                                                                                   BLUE HILL       ME   04614‐1026
STEVEN KITCHEN        1188 HARTVILLE RD                                                                             ATWATER         OH   44201‐9748
STEVEN KLEBS          11234 E CARPENTER RD                                                                          DAVISON         MI   48423‐9303
STEVEN KLEIN          13825 16TH AVE                                                                                MARNE           MI   49435‐9696
STEVEN KLEIN          11047 MILLER RD                                                                               GAINES          MI   48436‐9626
STEVEN KLEIN          3212 SW LAKEFRONT LN W                                                                        ST JOSEPH       MO   64504‐9548
STEVEN KLEIN          2860 PINE BLFS                                                                                HIGHLAND        MI   48357‐4245
STEVEN KLEPCHAK       266 OXFORD LAKE DR                                                                            OXFORD          MI   48371‐5163
STEVEN KLINE          7619 SILVER LAKE RD                                                                           LINDEN          MI   48451‐8711
STEVEN KLOECKNER      18041 EVENER WAY                                                                              EDEN PRAIRIE    MN   55346
STEVEN KLUMPP         2490 SPICE VALLEY RD                                                                          MITCHELL        IN   47446‐5368
STEVEN KNAPP          25335 TETHER LN                                                                               PUNTA GORDA     FL   33983‐5917
STEVEN KNAPP          1574 SHADY LAND CHURCH RD                                                                     BOWLING GREEN   KY   42101‐8399
STEVEN KNAPP          2009 MATTHES DR                                                                               MANSFIELD       OH   44906‐3318
STEVEN KNIGHT         6301 S WASHINGTON AVE                                                                         LANSING         MI   48911‐5546
STEVEN KNIGHT         12169 LAKESHORE CT                                                                            SANGER          TX   76266‐3350
STEVEN KOCHIE         6870 W 91ST CT APT 12203                                                                      WESTMINSTER     CO   80021‐4887
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Name                     Address1                         Address2                     Address3                   Address4         City              State Zip
STEVEN KOENKER           215 S MCKINLEY AVE                                                                                        MUNCIE             IN 47303‐4860
STEVEN KOKOT             4420 WOODNER DR                                                                                           KETTERING          OH 45440‐1223
STEVEN KOLISH            BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS.        OH 44236
STEVEN KOMINDO           15998 RUBY LN                                                                                             WRIGHT CITY        MO 63390‐4385
STEVEN KONCSOL           5052 COPELAND AVE NW                                                                                      WARREN             OH 44483‐1226
STEVEN KOPERSKI          3122 TUELL ST NW                                                                                          GRAND RAPIDS       MI 49504‐7608
STEVEN KOPKO             3055 WALTER LEATHERS DR                                                                                   ROCKVALE           TN 37153‐4434
STEVEN KORNBURGER        1954 SQUAW LAGOON DR                                                                                      OXFORD             MI 48371‐4462
STEVEN KOS               BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS.        OH 44236
STEVEN KOTFER            1608 CREEKRIDGE DR                                                                                        KELLER             TX 76248‐6851
STEVEN KOVACS            3628 AYNSLEY DR                                                                                           ROCHESTER HILLS    MI 48306‐3782
STEVEN KOWALK            7850 S DEWITT RD                                                                                          DEWITT             MI 48820‐8465
STEVEN KOWALSKI          PO BOX 320                                                                                                HEMLOCK            MI 48626‐0320
STEVEN KOZACHIK          8915 DEPOT DR                                                                                             INDIANAPOLIS       IN 46217‐5209
STEVEN KOZAK             498 ROBERT CT                                                                                             AUBURN HILLS       MI 48326‐2959
STEVEN KRAFT             1016 OAKRIDGE A                                                                                           DEERFIELD BEACH    FL 33442‐1952
STEVEN KRANSZ            7850 W CHADWICK RD                                                                                        DEWITT             MI 48820‐8051
STEVEN KRAUSS            518 S ROGERS ST                                                                                           MASON              MI 48854‐1736
STEVEN KRAUTER           4604E 531 N                                                                                               ROANOKE            IN 46783
STEVEN KRAVEC            11150 WOODBURY LN                                                                                         N ROYALTON         OH 44133‐7219
STEVEN KRENISKY JR       5364 N STATE ROUTE 18                                                                                     CLYDE              OH 43410‐9607
STEVEN KRIEFALL          828 COLUMBIA DR                                                                                           JANESVILLE         WI 53546‐1722
STEVEN KRISHA            BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS         OH 44236
STEVEN KROCK             3110 MILLSBORO RD E                                                                                       MANSFIELD          OH 44903‐8781
STEVEN KROUSE            11 GATES CIR                     IRON GATES                                                               HOCKESSIN          DE 19707‐9659
STEVEN KRUTZ             W6698 COUNTY ROAD Y                                                                                       MONROE             WI 53566‐9279
STEVEN KUHL              1707 REDSTONE MANOR DR                                                                                    SPRING             TX 77379‐7410
STEVEN KUKAN             20 HEATHER DR                                                                                             OLD BRIDGE         NJ 08857‐2229
STEVEN KUKIN             4279 GREGOR ST                                                                                            GENESEE            MI 48437‐7727
STEVEN KUMLIEN           5312 N WAVERLY DR                                                                                         MILTON             WI 53563‐9423
STEVEN KUNTZ             319 MOUND RIDGE RD                                                                                        COOK STA           MO 65449‐9130
STEVEN KUSCHEL           APT 1309                         4180 LA VALSE STREET                                                     GRAND PRAIRIE      TX 75052‐0256
STEVEN KWASIBORSKI       280 HECHT DR                                                                                              MADISON HTS        MI 48071‐2852
STEVEN KWONG             1474 CIRCLE DR APT 306                                                                                    PONTIAC            MI 48340‐1515
STEVEN L ARMSTRONG       557 HIGHPOINT DR                                                                                          SPRINGBORO         OH 45066‐9673
STEVEN L BAKER           5303 ROCKPORT AVE.                                                                                        DAYTON             OH 45427‐2237
STEVEN L BARKER          2171 W BATAAN DRIVE                                                                                       KETTERING          OH 45420
STEVEN L BEGLEY          P O BOX 354                                                                                               WAYNESVILLE        OH 45068
STEVEN L BLEVINS         389 STATE ROUTE 725 W                                                                                     CAMDEN             OH 45311‐9601
STEVEN L BOONE           656 LOTHROP RD APT 108                                                                                    DETROIT            MI 48202‐2728
STEVEN L BRAY            5733 N RAIDER RD                                                                                          MIDDLETOWN         IN 47356
STEVEN L CARLISLE        3 ALLEN ST APT 5                                                                                          CLINTON            MA 01510‐1125
STEVEN L CRABTREE        216 ELLER AVENUE                                                                                          ENGLEWOOD          OH 45322‐1727
STEVEN L CRIDDLE ET AL   ATTN: E TODD TRACY               THE TRACY FIRM               5473 BLAIR RD, SUITE 200                    DALLAS             TX 75231
STEVEN L CROUCH          4 HITCHING POST RD                                                                                        ENGLEWOOD          OH 45322
STEVEN L DAUGHERTY       2177 DRAKE DR                                                                                             XENIA              OH 45385
STEVEN L DAWSON          1221 ELLEN DRIVE                                                                                          MIDDLETOWN         OH 45042
STEVEN L DOUGHMAN        905 SHARON DR APT2                                                                                        LEBANON            OH 45036‐1445
STEVEN L DUKES           2982 KENTWOOD DR                                                                                          JACKSON            MS 39212‐2629
STEVEN L FAHR            9815 N ESTON RD                                                                                           CLARKSTON          MI 48348‐2229
STEVEN L GRIFFIN         46 SOUTH MONMOUTH STREET                                                                                  DAYTON             OH 45403
STEVEN L HOWARD          748 ELBERON AVE                                                                                           DAYTON             OH 45403
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Name                  Address1                         Address2              Address3      Address4         City            State Zip
STEVEN L LEOPOLD      1881 PRAIRIE CLOVER DR                                                                LEBANON          OH 45036‐4013
STEVEN L LINKHART     4310 ALLEGHANY TR                                                                     JAMESTOWN        OH 45335‐1204
STEVEN L MAHAFFY      5720 BRUNTSFIELD DR                                                                   GLADWIN          MI 48624‐9274
STEVEN L MARTIN       PO BOX 751931                                                                         DAYTON           OH 45475‐1931
STEVEN L MARTIN       3548 BEECHGROVE RD                                                                    MORAINE          OH 45439‐1104
STEVEN L MATHIS       99 E ANKENEY MILL RD                                                                  XENIA            OH 45385‐1817
STEVEN L MC VEY       7299 GREENVIEW AVE                                                                    DETROIT          MI 48228‐3404
STEVEN L MCGLINCH     730 HONEYSUCKLE DR                                                                    GREENVILLE       OH 45331‐2338
STEVEN L MERRELL      8177 ENGLISH ELM CIR                                                                  SPRING HILL      FL 34606‐2925
STEVEN L MOOMEY       9922 JOAN CIR                                                                         YPSILANTI        MI 48197‐6913
STEVEN L MOORE        1362 HOLMES RD                                                                        YPSILANTI        MI 48198‐3957
STEVEN L MORGAN       2017 COLTON DR.                                                                       DAYTON           OH 45420‐1408
STEVEN L NICKELL      PO BOX 67                                                                             GRATIS           OH 45330‐0067
STEVEN L PETERSON     C/O BRAYTON PURCELL              222 RUSH LANDING RD                                  NOVATO           CA 94948‐6169
STEVEN L PITTMAN      5840 CHARLESGATE RD                                                                   DAYTON           OH 45424
STEVEN L RAMSEY       2070 WOODALE AVE                                                                      YPSILANTI        MI 48198‐9217
STEVEN L ROARK        3425 SHARON AVENUE                                                                    KETTERING        OH 45429‐3629
STEVEN L RUTHERFORD   PO BOX 311114                                                                         FLINT            MI 48531‐1114
STEVEN L SANTELLANO   1415 3RD ST                                                                           BAY CITY         MI 48708‐6127
STEVEN L SEXTON       612 BURNSIDE DR                                                                       MIAMISBURG       OH 45342
STEVEN L SHUMAKER     2862 S STATE ROAD 267                                                                 PLAINFIELD       IN 46168‐3019
STEVEN L SIMMONS      3140 BIG HILL ROAD                                                                    KETTERING        OH 45419
STEVEN L SMITH        908 W MARTINDALE RD                                                                   UNION            OH 45322
STEVEN L SMITH        29 WAIN WRIGHT DR                                                                     DAYTON           OH 45431‐1317
STEVEN L SMITH        926 GEORGE ST                                                                         MUMFORD          NY 14511
STEVEN L SMITH        4050 W FREDERICK GARLAND RD                                                           WEST MILTON      OH 45383‐9720
STEVEN L STRANGE      92 N JOHNSVILLE BROOKVILLE RD                                                         NEW LEBANON      OH 45345
STEVEN L THORNHILL    299 MONARCH RD                                                                        DAYTON           OH 45458
STEVEN L THORPE       1413 WATERVLIET AVE                                                                   DAYTON           OH 45420‐3044
STEVEN L TUSSEY       641 HARPWOOD DR                                                                       FRANKLIN         OH 45005
STEVEN L WALL         5836 STATE ROAD 42                                                                    POLAND           IN 47868‐7416
STEVEN L WALSTROM     PO BOX 9651                                                                           BOWLING GREEN    KY 42102‐9651
STEVEN L ZIELINSKI    12411 STANLEY RD                                                                      FLUSHING         MI 48433‐9206
STEVEN LABUTA         10279 CEDAR ISLAND RD                                                                 WHITE LAKE       MI 48386‐2912
STEVEN LACKEY         410 S KIBBEE ST                                                                       SAINT JOHNS      MI 48879‐2028
STEVEN LADD           5882 W OREGON RD                                                                      LAPEER           MI 48446‐8008
STEVEN LAFLAME        2061 AUBURN AVE                                                                       DAYTON           OH 45406‐2910
STEVEN LAJEWSKI       706 S GOMAS CT                                                                        DURAND           MI 48429‐1762
STEVEN LAKE           403 AMANDA PINES DR                                                                   PARKER           CO 80138‐4915
STEVEN LAKITS         C/O THE LAW OFFICES OF PETER G   100 N CHARLES ST      22ND FL                        BALTIMORE        MD 21201
                      ANGELOS
STEVEN LALIBERTE      9310 CAIN DR NE                                                                       WARREN          OH   44484‐1711
STEVEN LAMB           6686 CHEDDAR VALLEY DR                                                                BRIGHTON        MI   48116‐8784
STEVEN LAMB           11414 W FREELAND RD                                                                   FREELAND        MI   48623‐9251
STEVEN LAMBOURIS      6915 HUBBARD CIR                                                                      CLARKSTON       MI   48348‐2878
STEVEN LAMON          26101 MERIDIAN RD                                                                     GROSSE ILE      MI   48138‐1663
STEVEN LAMOURIA       3186 SANDOVAL DR                                                                      LAKE ORION      MI   48360‐1547
STEVEN LANDRY         2680 EDGEVALE DR                                                                      WATERFORD       MI   48329‐3607
STEVEN LANE           105 BAVARIAN DR APT B                                                                 MIDDLETOWN      OH   45044‐5439
STEVEN LANE           6067 SIMMONS TRL                                                                      NORTH BRANCH    MI   48461‐8143
STEVEN LANE           4504 N BELSAY RD                                                                      FLINT           MI   48506‐1674
STEVEN LANE           2918 RAVENGLASS RD                                                                    WATERFORD       MI   48329‐2647
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Name                 Address1                        Address2                     Address3   Address4         City              State Zip
STEVEN LANG          116 WALES CENTER RD                                                                      COLUMBUS           MI 48063‐1316
STEVEN LANGELER      5926 FILLMORE ST                                                                         ALLENDALE          MI 49401‐9394
STEVEN LANGERAK      6901 VALLEY VIEW AVE                                                                     JENISON            MI 49428‐8175
STEVEN LAPERNA       4285 21ST ST                                                                             DORR               MI 49323‐9570
STEVEN LAPINE        5620 MACKINAW RD                                                                         SAGINAW            MI 48604‐9769
STEVEN LAPORTE
STEVEN LARSEN        4235 SHERIDAN DR                                                                         ROYAL OAK         MI   48073‐6231
STEVEN LARSON        5130 BANK ST                                                                             CLARENCE          NY   14031‐1644
STEVEN LASKY         8300 N WHEATON RD                                                                        CHARLOTTE         MI   48813‐8629
STEVEN LASTER        6344 HOOVER AVE APT A                                                                    WHITTIER          CA   90601‐3270
STEVEN LASTIC JR     3726 SE 8TH PL                                                                           CAPE CORAL        FL   33904‐5189
STEVEN LATHROP       12302 LINDEN DR                                                                          MARNE             MI   49435‐9719
STEVEN LAUCKS        PO BOX 457                                                                               IRON STATION      NC   28080‐0457
STEVEN LAUGHLIN      19125 W 183RD ST                                                                         OLATHE            KS   66062‐9277
STEVEN LAUX          6179 JOHNSON RD                                                                          FLUSHING          MI   48433‐1195
STEVEN LAW           644 BERKSHIRE DRIVE                                                                      SALINE            MI   48176‐1087
STEVEN LAWRENCE      3408 E OLCOTT BLVD                                                                       BLOOMINGTON       IN   47401‐2429
STEVEN LAYNE         22673 GARMAN RD                                                                          DEFIANCE          OH   43512‐9089
STEVEN LE FEVER      2351 HERITAGE POINTE DR                                                                  STERLING HTS      MI   48314‐3739
STEVEN LEACH         1402 S MORRIS ST                                                                         MEXICO            MO   65265‐2239
STEVEN LEACH         409 GRANDVIEW DR                                                                         LE ROY            IL   61752‐1284
STEVEN LEAGUE        12739 BARTON ST                                                                          OVERLAND PARK     KS   66213‐4452
STEVEN LEAR          4010 COLTER CT                                                                           KOKOMO            IN   46902‐4485
STEVEN LEATH SR      6607 PARK VISTA RD                                                                       ENGLEWOOD         OH   45322‐3712
STEVEN LEE           PO BOX 2885                                                                              KOKOMO            IN   46904‐2885
STEVEN LEE           PO BOX 1347                                                                              STERLING HTS      MI   48311‐1347
STEVEN LEFFINGWELL   108 W NORTH ST                                                                           MOORELAND         IN   47360‐9701
STEVEN LEGGETT       46778 LANDINGS DR                                                                        MACOMB            MI   48044‐4048
STEVEN LEHMAN        PO BOX 61                                                                                DEFIANCE          OH   43512‐0061
STEVEN LEISURE       10524 HARBINGER CT                                                                       NOBLESVILLE       IN   46060‐6715
STEVEN LEMMONS       6560 S PEBBLE BEACH DR                                                                   CHANDLER          AZ   85249‐4344
STEVEN LEMONAKIS     402 ACTON WAY KINGS CHARTER                                                              BEL AIR           MD   21015
STEVEN LEONARD       BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH   44236
STEVEN LEPEAK        395 GRINDSTONE RD                                                                        PORT AUSTIN       MI   48467‐9270
STEVEN LESH          8154 BUCKELL LAKE RD                                                                     HOLLY             MI   48442‐9619
STEVEN LESNIAK       14157 RAMBLEWOOD ST                                                                      LIVONIA           MI   48154‐5335
STEVEN LESPERANCE    PO BOX 182                                                                               WYANDOTTE         MI   48192‐0182
STEVEN LETZER        6304 ORCHARD LAKE ROAD                                                                   WEST BLOOMFIELD   MI   48322
STEVEN LEVCHAK       6726 ALMOND LN                                                                           CLARKSTON         MI   48346‐2214
STEVEN LEVI          952 HUNTER AVE                                                                           YPSILANTI         MI   48198‐3128
STEVEN LEVINE
STEVEN LEWIS         9909 S 300 W                                                                             PENDLETON         IN   46064‐9527
STEVEN LEWIS         518 ORCHARD ST                                                                           MIDDLETOWN        OH   45044‐4923
STEVEN LEWIS         5943 N TERESA DR                                                                         ALEXANDRIA        IN   46001‐8610
STEVEN LEWIS         5441 ALABAMA AVE                                                                         SAINT LOUIS       MO   63111‐1832
STEVEN LEWIS SR      PO BOX 328                                                                               FOREST HILL       MD   21050‐0328
STEVEN LIND          28787 YORKSHIRE DR                                                                       CHESTERFIELD      MI   48047‐1746
STEVEN LINDEMAN      6990 FRIEGEL RD                                                                          LAINGSBURG        MI   48848‐9709
STEVEN LINDEMAN      7228 STATE ROUTE 13                                                                      BELLVILLE         OH   44813‐8941
STEVEN LINKHART      4310 ALLEGHANY TRL                                                                       JAMESTOWN         OH   45335‐1204
STEVEN LINKOUS       22 WALTER BOULDEN ST                                                                     ELKTON            MD   21921‐6401
STEVEN LIPSKI        509 CLINTON AVE NW                                                                       WALKER            MI   49534‐3515
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Name                     Address1                           Address2             Address3     Address4         City            State Zip
STEVEN LIVINGSTON        715 HENRY ST                                                                          HUNTINGTON       IN 46750‐3319
STEVEN LOEB              5033 E PRATT RD                                                                       SAINT JOHNS      MI 48879‐9191
STEVEN LOGAN             1015 WOODRUFF LAKE DR                                                                 HIGHLAND         MI 48357‐2633
STEVEN LOMAS
STEVEN LOMAX             7002 COVE RIDGE DRIVE                                                                 OWENS X RDS     AL   35763‐9096
STEVEN LONDEAU           5108 S MERRIMAN RD                                                                    WAYNE           MI   48184‐2228
STEVEN LONG              4427 COUNTRY CLUB BLVD APT H2                                                         CAPE CORAL      FL   33904‐5269
STEVEN LONG              1910 TERI LN                                                                          ANDERSON        IN   46012‐1951
STEVEN LOUGH             6192 SMITHS WHARF RD                                                                  KING GEORGE     VA   22485‐7415
STEVEN LOUNSBURY         2343 KNOLLRIDGE LN                                                                    WILLIAMSTON     MI   48895‐9108
STEVEN LOUNSBURY         OFFICE OF COUNTY COUNSEL           2051 KAEN RD                                       OREGON CITY     OR   97045‐4035
STEVEN LOWERY            12803 E SHORE RD                                                                      BERGLAND        MI   49910‐9508
STEVEN LOY               5807 BAKER RD                                                                         BRIDGEPORT      MI   48722‐9750
STEVEN LUBONIECKI        507 BRANDYWINE DR                                                                     MURFREESBORO    TN   37129‐6663
STEVEN LUCE              696 136TH AVE                                                                         WAYLAND         MI   49348‐9580
STEVEN LUCH              300 PARK ST STE 410                                                                   BIRMINGHAM      MI   48009‐3482
STEVEN LUCIDO            PO BOX 1029                                                                           MANTECA         CA   95336‐1140
STEVEN LUKES             2301 BROOKSIDE DR                                                                     FLINT           MI   48503‐2804
STEVEN LULL              PO BOX 440                                                                            OLIVET          MI   49076‐0440
STEVEN LUMBERT           PO BOX 171                                                                            PLEASANT LAKE   MI   49272‐0171
STEVEN LUND              6522 DAVISON RD                                                                       BURTON          MI   48509‐1614
STEVEN LUND              1449 E BALDWIN RD                                                                     GRAND BLANC     MI   48439‐8361
STEVEN LUNDE             PO BOX 385                                                                            ORFORDVILLE     WI   53576‐0385
STEVEN LUSK              PO BOX 841                                                                            FENTON          MI   48430‐0841
STEVEN LUST AUTOMOTIVE   STEVEN LUST                        1314 6TH AVE SW                                    ABERDEEN        SD   57401‐3728
STEVEN LUST AUTOMOTIVE   1314 6TH AVE SW                                                                       ABERDEEN        SD   57401‐3728
STEVEN LUYBER            1606 GORDON RD                                                                        BURLINGTON      NJ   08016‐2340
STEVEN LYKINS            1349 DONNA RD                                                                         LEWISBURG       TN   37091‐3579
STEVEN LYLES             97 E SMILEY AVE                                                                       SHELBY          OH   44875‐9414
STEVEN LYNDRUP           22338 HARRIS CT                                                                       MACOMB          MI   48044‐6217
STEVEN LYON              12746 BRYCE RD                                                                        EMMETT          MI   48022‐2902
STEVEN M ARCHER          CGM IRA ROLLOVER CUSTODIAN         13461 W ALMERIA RD                                 GOODYEAR        AZ   85395‐2285
STEVEN M BLANCHARD       4444 SEYBOLD RD                                                                       TROTWOOD        OH   45426‐4112
STEVEN M BLESSING        420 KENBROOK DR.                                                                      VANDALIA        OH   45377‐2406
STEVEN M BOOS            221 WISTOWA TRL                                                                       BEAVERCREEK     OH   45430‐2015
STEVEN M BOYCE           15448 LOBDELL RD                                                                      LINDEN          MI   48451‐8720
STEVEN M BUERSCHEN       1421 WYOMING STREET                                                                   DAYTON          OH   45410‐2203
STEVEN M CALVERT         8151 SUE AVE                                                                          FRANKLIN        OH   45005
STEVEN M CHOJNOWSKI      67 LAZY CREEK CIRCLE                                                                  ROCHESTER       NY   14612‐1451
STEVEN M DEARING         623 WALNUT ST                                                                         GREENVILLE      OH   45331‐1943
STEVEN M DIETRICH        2485 GWINNETT ST                                                                      CARMEL          IN   46032
STEVEN M DUBEAU          1813 DURHAM ST                                                                        NEW BERN        NC   28560‐3001
STEVEN M DYE             PO BOX 6071                                                                           LONGMONT        CO   80501‐2077
STEVEN M ENGSTER         428 ELM RD NE                                                                         WARREN          OH   44483
STEVEN M ERNST           112 CALMONT FARM CIR                                                                  ENGLEWOOD       OH   45322
STEVEN M FAULHABER       STEVEN M. FAULHABER AND CARRIE J   207 SADIE DUNN RD                                  MT VERNON       ME   04352
                         FAULHABER JTTEN
STEVEN M GENTRY          1562 EXCALIBUR COURT                                                                  LAKEHAND        FL   33810
STEVEN M HALL            8509 BOBBY PLACE                                                                      CARLISLE        OH   45005‐4203
STEVEN M HELTON          2325 MUNDALE AVE                                                                      DAYTON          OH   45420
STEVEN M HUMMEL          1455 FOREST LANE                                                                      CLEWISTON       FL   33440‐9041
STEVEN M IRWIN           5111 OAK KNOLL AVE                                                                    NEWTON FALLS    OH   44444‐9483
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Name                                Address1                        Address2            Address3                   Address4         City               State Zip
STEVEN M JEWELL                     168 ANGELA DR                                                                                   GERMANTOWN          OH 45327
STEVEN M KARR                       2001 STATE RD NW                                                                                WARREN              OH 44481‐9477
STEVEN M KEENER                     1212 DAFLER RD                                                                                  W ALEXANDRIA        OH 45381‐8327
STEVEN M KEY & LINDA A KEY JTWROS   STEVEN M KEY                    LINDA A KEY         1975 MT CARMEL CHURCH RD                    LEBANON JUNCTION    KY 40150

STEVEN M KIEFER                     14 MERRYDALE DRIVE                                                                              ROCHESTER          NY   14624‐2916
STEVEN M KOKOT                      4420 WOODNER DR                                                                                 KETTERING          OH   45440‐1223
STEVEN M LESH                       8154 BUCKELL LAKE RD                                                                            HOLLY              MI   48442‐9619
STEVEN M MARTINI                    4261 STONEYBROOK DR SE                                                                          WARREN             OH   44484
STEVEN M MEIS                       1628 PRIMROSE AVE                                                                               TOLEDO             OH   43612‐4062
STEVEN M NEGRETE                    1619 LILLIAN CIR                                                                                COLUMBIA           TN   38401‐5437
STEVEN M ORR MD LLC                 PO BOX 843112                                                                                   KANSAS CITY        MO   64184‐3112
STEVEN M RECTOR                     5719 MARBLEHEAD DRIVE                                                                           DAYTON             OH   45431‐2917
STEVEN M ROBBINS                    224 E. TROTWOOD BLVD.                                                                           TROTWOOD           OH   45426‐‐ 31
STEVEN M ROSE                       1266 WOODLEDGE DR.                                                                              MINERAL RIDGE      OH   44440
STEVEN M SCHULTZ                    405 WRIGHT AVE                                                                                  SYRACUSE           NY   13211‐1541
STEVEN M SHAY                       38882 ROSS ST                                                                                   LIVONIA            MI   48154‐4739
STEVEN M SMITH                      1439 BUTCHER RD                                                                                 FENTON             MI   48430‐1203
STEVEN M SOUTHWORTH                 1357 W KALAMO HWY                                                                               CHARLOTTE          MI   48813‐9535
STEVEN M STOVER II                  9753 ROBERTS DR                                                                                 FRANKLIN           OH   45005
STEVEN M WALKER                     3017 SAGEBROOK DR                                                                               MIAMISBURG         OH   45342
STEVEN M WARD                       705 W PIERSON RD                                                                                FLUSHING           MI   48433‐2608
STEVEN M WITTMAN                    1020 LORD FITZWALTER DR                                                                         MIAMISBURG         OH   45342
STEVEN M. MELLEY                    FRANK & SANDRA CACCOMA          24 CLOSS DRIVE                                                  RHINEBACK          NY   12572
STEVEN M. ROBINSON‐WORLEY
STEVEN MAC EVOY                     7698 KERWIN RD                                                                                  GASPORT            NY   14067‐9430
STEVEN MACCONNELL                   1402 LIBERTY RD                                                                                 SAGINAW            MI   48604‐9260
STEVEN MACIS                        2520 E JOPPA RD                                                                                 BALTIMORE          MD   21234‐2924
STEVEN MACKENZIE                    3230 STANFORTH AVE                                                                              WEST BLOOMFIELD    MI   48324‐4761
STEVEN MACKIN                       26101 HARBOUR POINTE DR N                                                                       HARRISON TWP       MI   48045‐3209
STEVEN MACLEAN                      4418 BALDWIN RD                                                                                 METAMORA           MI   48455‐8976
STEVEN MACLIN                       8201 KRYSTA CT                                                                                  FLUSHING           MI   48433‐3014
STEVEN MAGRYTA                      4246 BUTTERNUT LN                                                                               GRAND BLANC        MI   48439‐2073
STEVEN MAHAFFY                      5720 BRUNTSFIELD DR                                                                             GLADWIN            MI   48624‐9274
STEVEN MAIN
STEVEN MAIN SR.                     PO BOX 883                                                                                      KEARNEY            MO   64060‐0883
STEVEN MAJCHRYCZ                    7075 ANTHONY LN                                                                                 CLEVELAND          OH   44130‐4660
STEVEN MAJORS                       5615 N OLIVIA DR                                                                                ALEXANDRIA         IN   46001‐8605
STEVEN MAJORS                       7161 COLONIAL WAY                                                                               HOWELL             MI   48855‐6204
STEVEN MAKOWSKI                     4910 GERBER DR                                                                                  HAMBURG            NY   14075‐1649
STEVEN MALONE                       14903 FLANDERS ST                                                                               DETROIT            MI   48205‐4112
STEVEN MALONEY                      25775 KRISTEL                                                                                   CHESTERFIELD       MI   48051‐2966
STEVEN MALONEY                      PO BOX 195                                                                                      HOHENWALD          TN   38462‐0195
STEVEN MANCINAS                     3224 FAWN CREEK CT                                                                              HIGHLAND           IL   62249‐2866
STEVEN MANDELKOW                    608 SW 70TH ST                                                                                  OKLAHOMA CITY      OK   73139‐4404
STEVEN MANGO                        27141 WEDDEL AVE                                                                                BROWNSTOWN TWP     MI   48183‐5916
STEVEN MANIAL                       11924 BRADY RD                                                                                  CHESANING          MI   48616‐1081
STEVEN MANN                         813 DIVOT CIR                                                                                   BOWLING GREEN      KY   42104‐5563
STEVEN MANNERS                      8151 SW 42ND AVE                                                                                PORTLAND           OR   97219‐3514
STEVEN MANSFIELD                    PO BOX 681                                                                                      GRAND ISLAND       NY   14072‐0681
STEVEN MARCH                        89 ANDROLA DR                                                                                   HERMITAGE          PA   16148‐3557
STEVEN MARCINKOWSKI                 357 EAST 130TH AVENUE                                                                           CROWN POINT        IN   46307‐7852
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Name                Address1                       Address2            Address3         Address4         City                  State Zip
STEVEN MARCUM       368 S SQUIRREL RD                                                                    AUBURN HILLS           MI 48326‐3257
STEVEN MAREK        7106 MANDELL CIR                                                                     LANSING                MI 48917‐9272
STEVEN MARKHAM      1630 BLAIR ST                                                                        LANSING                MI 48910‐1127
STEVEN MARKS        3874 SILVER BIRCH                                                                    WHITE LAKE             MI 48383‐1062
STEVEN MARLOW       6853 N SAGEBRUSH AVE                                                                 ALEXANDRIA             IN 46001‐8858
STEVEN MAROCLO
STEVEN MARSCHNER    26877 CORONATION DR                                                                  WOODHAVEN             MI   48183‐5820
STEVEN MARSH        1034 PAMELA DR                                                                       PLAINFIELD            IN   46168‐9279
STEVEN MARSH        9514 ROSSMAN HWY                                                                     EATON RAPIDS          MI   48827‐8335
STEVEN MARSHALL     706 VERNON AVE                                                                       BELOIT                WI   53511‐6065
STEVEN MARSHALL     1587 NOTTINGHAM CT                                                                   MUSKEGON              MI   49445‐2055
STEVEN MARTIAN      2126 COULEE DRIVE N                                                                  MANDAN                ND   58554
STEVEN MARTIN       PO BOX 343                                                                           DEFIANCE              OH   43512‐0343
STEVEN MARTIN       B0X11 S MICHIGAN ST                                                                  BURLINGTON            IN   46915
STEVEN MARTIN       15479 PROSPECT RD                                                                    STRONGSVILLE          OH   44149‐4857
STEVEN MARTIN       2384 PIONEER DR                                                                      BELOIT                WI   53511‐2549
STEVEN MARTIN       53 N MCGREGOR DR                                                                     LAKE ORION            MI   48362‐3724
STEVEN MARTIN       1423 SHANNON LN                                                                      LANSING               MI   48917‐2059
STEVEN MARTIN       4838 W OAKWOOD PARK DR                                                               JANESVILLE            WI   53548‐9086
STEVEN MARTIN       2440 CHICKASAW DR                                                                    JANESVILLE            WI   53545‐2293
STEVEN MARTINELLI   63537 MONTICELLO E                                                                   WASHINGTON TOWNSHIP   MI   48095‐2455
STEVEN MARTZ        7817 SHENK RD                                                                        DELPHOS               OH   45833‐9525
STEVEN MARVICSIN    3807 DEERPATH DR                                                                     SANDUSKY              OH   44870‐6071
STEVEN MARZEC       30 CHEROKEE DR                                                                       WEST SENECA           NY   14224‐4736
STEVEN MASCHER      5620 S MERIDIAN ST                                                                   INDIANAPOLIS          IN   46217‐2711
STEVEN MASON        244 WOODBRIAR                                                                        NOBLE                 OK   73068‐8317
STEVEN MASON        814 VERNAL LN                                                                        SHREVEPORT            LA   71118‐4126
STEVEN MASON        W300 HALFWAY TREE RD                                                                 BRODHEAD              WI   53520‐9108
STEVEN MASON        19519 BRETTON DR                                                                     DETROIT               MI   48223‐1268
STEVEN MASSIMILLA   3804 SAMUEL AVE                                                                      ROCHESTER HLS         MI   48309‐4256
STEVEN MASZATICS    4943 LATHROP ST                                                                      TRENTON               MI   48183‐4740
STEVEN MATSIL       4701 BONNIE CT                                                                       W BLOOMFIELD          MI   48322‐4467
STEVEN MATTEI       16157 COLORADO DR                                                                    MACOMB                MI   48042‐2347
STEVEN MATTHEWS     1501 LINDSEY LN                                                                      CHAPEL HILL           TN   37034‐4031
STEVEN MATTHEWS     5255 VASSAR RD                                                                       GRAND BLANC           MI   48439‐9176
STEVEN MATTHEWS     54138 ACADIA DR                                                                      MACOMB                MI   48042‐6117
STEVEN MATTICE      875 MORTON RD                                                                        HORTON                MI   49246‐9741
STEVEN MATTINSON    4655 EDGEWOOD DR                                                                     CLARKSTON             MI   48346‐4007
STEVEN MATUSIK      155 RED MAPLE TRL                                                                    ORTONVILLE            MI   48462‐8588
STEVEN MATZKE       11204 DUFFIELD RD                                                                    MONTROSE              MI   48457‐9400
STEVEN MAUL         5104 PINE VIEW DR                                                                    ELMIRA                MI   49730‐9472
STEVEN MAURER       3146 FARMERS CREEK RD                                                                METAMORA              MI   48455‐9679
STEVEN MAYER        6100 S CRAPO RD                                                                      ASHLEY                MI   48806‐9336
STEVEN MAYO         1063 COLONIAL DR                                                                     SALEM                 OH   44460‐1076
STEVEN MAYS         PO BOX 2967                                                                          TOLEDO                OH   43606‐0967
STEVEN MAYS         23385 WILSON RD                                                                      STURGIS               MI   49091‐9222
STEVEN MAZUR        5695 MABLEY HILL RD                                                                  FENTON                MI   48430‐9427
STEVEN MC ALISTER   PO BOX 51                                                                            SHAFTSBURG            MI   48882‐0051
STEVEN MC CALLUM    9357 KATIE CT                                                                        FRANKENMUTH           MI   48734‐9599
STEVEN MC CARTY     2748 N 103RD ST                                                                      KANSAS CITY           KS   66109‐5021
STEVEN MC DERMOTT   23 MISTY PINE RD                                                                     FAIRPORT              NY   14450‐2653
STEVEN MC DIARMID   2804 HAGER RD                                                                        NASHVILLE             MI   49073‐9600
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Name                 Address1                          Address2                   Address3   Address4         City               State Zip
STEVEN MC DONALD     923 N REMBRANDT AVE                                                                      ROYAL OAK           MI 48067‐2082
STEVEN MC GARRY      1932 PERSIMMON PATH                                                                      HOLT                MI 48842‐1569
STEVEN MC INTOSH     3330 10TH ST                                                                             MONROE              MI 48162‐4857
STEVEN MC KAY        710 HAMPTON ST                                                                           CHESANING           MI 48616‐1623
STEVEN MC VEY        7299 GREENVIEW AVE                                                                       DETROIT             MI 48228‐3404
STEVEN MC WHORTER    5885 MICHAEL ST                                                                          TAYLOR              MI 48180‐1271
STEVEN MCADAMS       1002 MADISON ST                                                                          FRANKTON            IN 46044‐9786
STEVEN MCALPINE      7060 W JASON RD                                                                          SAINT JOHNS         MI 48879‐8216
STEVEN MCCABE        21737 ROSLYN RD                                                                          HARPER WOODS        MI 48225‐1150
STEVEN MCCABE        42120 E EDWARD DR                                                                        CLINTON TOWNSHIP    MI 48038‐1712
STEVEN MCCAFFREY     15927 SE 15TH ST                                                                         CHOCTAW             OK 73020‐7049
STEVEN MCCALLISTER   8934 SPRINGRIDGE DR                                                                      KEITHVILLE          LA 71047‐7606
STEVEN MCCANN        1384 CATHOLIC CHURCH RD                                                                  LESLIE              MI 49251‐9528
STEVEN MCCARROLL     7518 ALT E ST RT 49                                                                      ARCANUM             OH 45304
STEVEN MCCARTY       5 CANDY CT                                                                               EATON               OH 45320‐1559
STEVEN MCCLAIN       7146 RIDGEVIEW DR                                                                        GENESEE             MI 48437‐7724
STEVEN MCCLELLAND    915 E POST RD                                                                            ANDERSON            IN 46012‐2703
STEVEN MCCLENDON     23109 CURIE ST                                                                           WARREN              MI 48091‐3190
STEVEN MCCLINTICK    11310 S HONEYCREEK RD                                                                    DALEVILLE           IN 47334‐9445
STEVEN MCCLURE       2331 SOWELL MILL PIKE                                                                    COLUMBIA            TN 38401‐8044
STEVEN MCCORMICK     10444 GALE RD                                                                            GOODRICH            MI 48438‐9045
STEVEN MCCRACKEN     2001 JASMINE RD                                                                          DUNDALK             MD 21222‐5637
STEVEN MCCRACKEN     7715 MARTINDALE RD                                                                       TIPP CITY           OH 45371‐8943
STEVEN MCCRONE       418 PALOMINO DR                                                                          DANVILLE             IL 61834‐7853
STEVEN MCCULLOUGH    9668 BARKLEY RD                                                                          MILLINGTON          MI 48746‐9761
STEVEN MCDONALD      2055 82ND AVE LOT 450                                                                    VERO BEACH          FL 32966‐1637
STEVEN MCINTYRE      PO BOX 297                                                                               TILIHINA            OK 74571
STEVEN MCKAY         10488 KEYSBURG CT                                                                        SHREVEPORT          LA 71106‐7785
STEVEN MCKELLAR      1483 BATTLE CREEK RD                                                                     CHARLOTTE           MI 48813‐8508
STEVEN MCKNIGHT      102 EIGER CT                                                                             COLUMBIA            TN 38401‐5912
STEVEN MCNAIR        2571 PACKARD HWY                                                                         CHARLOTTE           MI 48813‐8719
STEVEN MCNETT        218 JONATHON DR                                                                          JANESVILLE          WI 53548‐5806
STEVEN MCROBERT      1538 S DOGWOOD ST                                                                        CORNELIUS           OR 97113‐7415
STEVEN MEADOWS       24241 RADCLIFT STREET                                                                    OAK PARK            MI 48237‐1557
STEVEN MEDVETZ       PO BOX 171                        181 FOURTH STREET                                      ONEIDA              PA 18242‐0171
STEVEN MELSON        433 TIMBER DR                                                                            WARRENTON           MO 63383‐6182
STEVEN MENDELSOHN    4333 TRAVIS STREET                                                                       DALLAS              TX 75205
STEVEN MENDELSOHN    4333 TRAVIS ST                                                                           DALLAS              TX 75205
STEVEN MERKEL        5759 LIMESTONE DR                                                                        TROY                MI 48085‐3916
STEVEN MERRELL       8177 ENGLISH ELM CIRCLE                                                                  SPRING HILL         FL 34606‐2925
STEVEN MERRICLE      31147 LYONS CIR W                                                                        WARREN              MI 48092‐1723
STEVEN MERRITT       2015 E GORMAN RD                                                                         ADRIAN              MI 49221‐9655
STEVEN MERTES        PO BOX 9022                       C/O: ADAM OPEL IPC C4‐02                               WARREN              MI 48090‐9022
STEVEN MESZAROS      3854 BARSTOW AVE                                                                         TOLEDO              OH 43623‐3870
STEVEN METCALF       512 DUTCH HILL DR                                                                        LANSING             MI 48917‐3444
STEVEN METTER        582 S ELBA RD                                                                            LAPEER              MI 48446‐2775
STEVEN MEYER         6960 HEATHERIDGE BLVD                                                                    SAGINAW             MI 48603‐8602
STEVEN MEYERS        381 WILLIE GROCE RD                                                                      GLASGOW             KY 42141‐7844
STEVEN MEYERS        70 MAYFAIR RD                                                                            LEXINGTON           OH 44904‐9781
STEVEN MICHAEL       5387 MULLIGANS BLUFF RD                                                                  NEY                 OH 43549‐9757
STEVEN MICHAEL       PO BOX 721552                                                                            NORMAN              OK 73070‐8193
STEVEN MICK          421 GANDER CT                                                                            SPRING HILL         TN 37174‐7562
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Name               Address1                      Address2                Address3     Address4         City               State Zip
STEVEN MIELKE      1012 LINDA LN                                                                       LADY LAKE           FL 32159‐2435
STEVEN MILAM       PO BOX 46                                                                           BOULDER JUNCTION    WI 54512‐0046
STEVEN MILES       4729 WICKFORD DR E                                                                  SYLVANIA            OH 43560‐3350
STEVEN MILLER      5646 N STATE ROAD 75                                                                NORTH SALEM         IN 46165‐9316
STEVEN MILLER      265 CROSBY BLVD                                                                     EGGERTSVILLE        NY 14226‐3317
STEVEN MILLER      10664 WESTDALE DR                                                                   JEROME              MI 49249‐9582
STEVEN MILLER      589 JOHNNIE BUSH RD                                                                 HORSE CAVE          KY 42749
STEVEN MILLER      PO BOX 733                                                                          NORTHPORT           AL 35476‐0733
STEVEN MILLER      4500 HIBBARD RD                                                                     CORUNNA             MI 48817‐9312
STEVEN MILLER      1284 WINEBRENNER RD                                                                 MARTINSBURG         WV 25404‐0575
STEVEN MILLER      2616 MULBERRY DR                                                                    SANDUSKY            OH 44870‐5655
STEVEN MILLER      10245 E 200 N                                                                       LOGANSPORT          IN 46947
STEVEN MILLER      323 W 700 N                                                                         KOKOMO              IN 46902‐9307
STEVEN MILLER      7705 S STATE ROAD 29                                                                FRANKFORT           IN 46041‐9682
STEVEN MILLER      9300 BOOTS ST                                                                       PUNTA GORDA         FL 33982‐2359
STEVEN MILLER      2608 ARLINGTON RD                                                                   LANSING             MI 48906‐3710
STEVEN MILLER      3716 N RIVER RD                                                                     FREELAND            MI 48623‐8839
STEVEN MILLER      12033 CHEYENNE ST                                                                   DETROIT             MI 48227‐3772
STEVEN MILLER      636 ALLCUTT AVE                                                                     BONNER SPRINGS      KS 66012‐1162
STEVEN MILLER      158 N RIVER DR                                                                      CLARKSTON           MI 48346‐4168
STEVEN MILLER      5646 N. STATE ROAD 75                                                               NORTH SALEM         IN 46165
STEVEN MILLIKAN    1623 E 44TH ST                                                                      ANDERSON            IN 46013‐2554
STEVEN MILLS       42047 ZACHARY ST                                                                    BELLEVILLE          MI 48111‐1453
STEVEN MILOVICH    5275 SODERQUIST RD                                                                  MANCELONA           MI 49659‐8928
STEVEN MILZ        2903 CORTLAND DR                                                                    JANESVILLE          WI 53548‐3222
STEVEN MINCHELLA   143 LYNCOURT PARK                                                                   ROCHESTER           NY 14612‐3823
STEVEN MINER       4621 VALLEYRIDGE AVE SW                                                             WYOMING             MI 49519‐4514
STEVEN MISKEY      3676 MARY LOU LN N                                                                  MANSFIELD           OH 44906‐1011
STEVEN MISZEWSKI   6811 W CLOVERNOOK ST                                                                MILWAUKEE           WI 53223‐5755
STEVEN MITCHELL    APT A1                        7170 ROUND HILL DRIVE                                 WATERFORD           MI 48327‐4028
STEVEN MITCHELL    9210 WILLOWGATE                                                                     GOODRICH            MI 48438‐9102
STEVEN MITCHELL    2319 KINNEVILLE RD                                                                  LESLIE              MI 49251‐9359
STEVEN MITCHELL    7753 WEXFORD CT                                                                     ONSTED              MI 49265‐9594
STEVEN MOBLEY      133 W BROOKLYN AVE                                                                  PONTIAC             MI 48340‐1123
STEVEN MOE         1516 WILLIAMS DR                                                                    STOUGHTON           WI 53589‐3336
STEVEN MOERDYK     1815 PLANTERS ROW DR SW                                                             BYRON CENTER        MI 49315‐8177
STEVEN MOHR        3778 FARNSWORTH DR                                                                  LANSING             MI 48906‐9208
STEVEN MOJZUK      7165 PENINSULA DR NE                                                                ROCKFORD            MI 49341‐9506
STEVEN MOLIN       780 MOUNT CUBA RD                                                                   YORKLYN             DE 19736‐9712
STEVEN MOLL        9031 NORTH DALTON AVENUE                                                            KANSAS CITY         MO 64154‐1915
STEVEN MONDRUSH    PO BOX 154                    2551 POPLAR ST                                        SPICELAND           IN 47385‐0154
STEVEN MONEY       2125 WOODCREST CT                                                                   INDIANAPOLIS        IN 46227‐4331
STEVEN MONROE      5193 MOYER RD                                                                       WEBBERVILLE         MI 48892‐9764
STEVEN MONTAGUE    6161 MOUNTAIN LAUREL DR                                                             BRIGHTON            MI 48116‐3711
STEVEN MOON        1310 MARK TWAIN DR                                                                  LANSING             MI 48911‐4814
STEVEN MOONEY      410 CHICKASAW DR                                                                    WEST MONROE         LA 71291‐2320
STEVEN MOORE       452 DONNA DR                                                                        PORTLAND            MI 48875‐1118
STEVEN MOORE       1362 HOLMES RD                                                                      YPSILANTI           MI 48198‐3957
STEVEN MOORE       W162S7936 BAY LANE PL                                                               MUSKEGO             WI 53150‐9787
STEVEN MOORE       26452 E BASELINE HWY                                                                CHARLOTTE           MI 48813‐9005
STEVEN MOORE       802 FAYETTE ST                                                                      LANSING             MI 48910‐1734
STEVEN MOORE SR    40 W TAYLOR ST                                                                      HUNTINGTON          IN 46750‐3725
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Name                  Address1                      Address2            Address3         Address4         City            State Zip
STEVEN MOORMAN        6180 SCULLY RD                                                                      DEXTER           MI 48130‐9629
STEVEN MORAN          3585 PARKER RD                                                                      DAVISBURG        MI 48350‐2237
STEVEN MORAN          920 WINDPOINT CT                                                                    FORT WAYNE       IN 46818‐8441
STEVEN MORGAN         14810 WCR 700 N                                                                     GASTON           IN 47342
STEVEN MORIN          46550 WEAR RD                                                                       BELLEVILLE       MI 48111‐9224
STEVEN MORRIS         7708 BALLYSHANNON ST                                                                INDIANAPOLIS     IN 46217‐5449
STEVEN MORRIS         5227 CONNORS LN                                                                     HIGHLAND         MI 48356‐1517
STEVEN MORRIS         7943 VERNIER LN                                                                     IRA              MI 48023‐2444
STEVEN MORRISON       706 LAKESIDE DR                                                                     STANTON          MI 48888‐9113
STEVEN MORROW         19 COUNTRY LIFE DR                                                                  O FALLON         MO 63366‐2709
STEVEN MORSE          13191 BELSAY RD                                                                     MILLINGTON       MI 48746‐9226
STEVEN MORSE          14071 BELSAY RD                                                                     MILLINGTON       MI 48746‐9215
STEVEN MOSHER         24561 HASKELL ST                                                                    TAYLOR           MI 48180‐2161
STEVEN MOWREY         PO BOX 462                                                                          MARION           IN 46952‐0462
STEVEN MOWRY          6583 STATE ROUTE 48                                                                 GOSHEN           OH 45122‐9268
STEVEN MOYER          14611 W 65TH ST                                                                     SHAWNEE          KS 66216‐2120
STEVEN MUELLER        49250 LIMESTONE DR                                                                  MACOMB           MI 48044‐1776
STEVEN MULLEN         4535 S HARMON ST                                                                    MARION           IN 46953‐5240
STEVEN MULLER         2458 FORREST AVE                                                                    BENSALEM         PA 19020‐4115
STEVEN MUNOZ          2046 KENWOOD DR                                                                     FLINT            MI 48532‐4034
STEVEN MURDOCK        1882 PIERCE ST                                                                      BIRMINGHAM       MI 48009‐2003
STEVEN MURDOCK        4015 MOUNDS RD                                                                      ANDERSON         IN 46017‐1832
STEVEN MURRAY         10100 ROSSMAN HWY                                                                   EATON RAPIDS     MI 48827‐9337
STEVEN MURRAY         7510 PAH RAH DR                                                                     SPARKS           NV 89436‐9096
STEVEN MURRAY HIGGS   5330 OLD MILL RD                                                                    ROCHESTER        MI 48306‐2461
STEVEN MUYLLE         2253 MOORESVILLE HWY                                                                LEWISBURG        TN 37091‐6457
STEVEN MYERS          819 ISLAND COVE CT                                                                  FORT WAYNE       IN 46845‐2060
STEVEN MYERS          4665 S FOREST HILL RD                                                               SAINT JOHNS      MI 48879‐8724
STEVEN MYERS          2260 SHREWSBURY RD                                                                  COLUMBUS         OH 43221‐1232
STEVEN MYERS          306 CENTER ST                                                                       GARWOOD          NJ 07027‐1210
STEVEN N HINZ         306 OREGON ST                                                                       YPSILANTI        MI 48198‐7823
STEVEN N MCMILLAN     1054 E YALE AVE                                                                     FLINT            MI 48505‐1517
STEVEN N WADDELL      48 S MAIN ST                                                                        JEFFERSONVLLE    OH 43128‐1019
STEVEN NADEAU         109 EXMOOR RD                                                                       WATERFORD        MI 48328‐3413
STEVEN NAGY           3851 WOODVIEW DR                                                                    TOLEDO           OH 43623‐1165
STEVEN NASH           4497 DAVID HWY                                                                      LYONS            MI 48851‐9720
STEVEN NASH           113 N CENTER ST                                                                     EATON RAPIDS     MI 48827‐1304
STEVEN NAZARYK        2241 BARBARA WAY                                                                    UPLAND           CA 91784‐1266
STEVEN NEBEL          26324 WEST YUKON COURT                                                              BUCKEYE          AZ 85396‐2204
STEVEN NEGRETE        1619 LILLIAN CIR                                                                    COLUMBIA         TN 38401‐5437
STEVEN NEIGEBAUER     336 N HEMLOCK RD                                                                    HEMLOCK          MI 48626‐8642
STEVEN NEIS           22136 EDGERTON RD                                                                   EDGERTON         KS 66021‐9268
STEVEN NEITZEL        4676 MELEANA CT SW                                                                  WYOMING          MI 49519‐4845
STEVEN NELSON         5257 TUBBS RD                                                                       WATERFORD        MI 48327‐1362
STEVEN NELSON         190 EDGEWOOD DR                                                                     GALION           OH 44833‐1283
STEVEN NELSON         944 COUNTY ROAD 326                                                                 MOULTON          AL 35650‐7011
STEVEN NELSON         PO BOX 14431                                                                        SAGINAW          MI 48601‐0431
STEVEN NETTLETON      1217 E ROUND LAKE RD                                                                DEWITT           MI 48820‐9735
STEVEN NEUMAN         7324 WESTSIDE SAGINAW RD                                                            BAY CITY         MI 48706‐9326
STEVEN NEUMANN        1296 CARPATHIAN WAY                                                                 CLIO             MI 48420‐2146
STEVEN NEWMAN         6820 S ROLLAND RD                                                                   BLANCHARD        MI 49310‐9279
STEVEN NEWMAN         9797 SHERIDAN RD                                                                    MILLINGTON       MI 48746‐9304
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Name                  Address1                          Address2            Address3         Address4         City                State Zip
STEVEN NEWPORT        104 MEADOW CIR APT A                                                                    HILLSBORO            OH 45133‐8227
STEVEN NEWTON         3909 LONG LN                                                                            MIDDLETOWN           OH 45044‐2939
STEVEN NIBARGER       5102 COPPER LN                                                                          INDIANAPOLIS         IN 46237‐3007
STEVEN NICHOLS        7844 UNA DR                                                                             SAGINAW              MI 48609‐4970
STEVEN NICHOLS        5834 CRESCENT RD                                                                        WATERFORD            MI 48327‐2624
STEVEN NICKELL        59 CHILTON AVE                                                                          MANSFIELD            OH 44907‐1307
STEVEN NICKOLOFF      5389 E ATHERTON RD                                                                      BURTON               MI 48519‐1531
STEVEN NIEDZWIECKI    3818 KNIGHTBRIDGE CIR                                                                   STERLING HTS         MI 48314‐4531
STEVEN NIEMEYER       444 VALLEY FORGE TRL                                                                    ROCKTON               IL 61072‐3029
STEVEN NIEZGODA       6974 TONAWANDA CREEK RD                                                                 LOCKPORT             NY 14094‐7959
STEVEN NINNEMAN       S78W20389 MONTEREY DR                                                                   MUSKEGO              WI 53150‐8121
STEVEN NOLLEY         34 CASTLE HILL DR                                                                       ROANOKE              IN 46783‐9185
STEVEN NORDMEYER      419 BRADFORD CIR                                                                        COLUMBIA             TN 38401‐5093
STEVEN NORMAN         3791 SUNSHINE TRL                                                                       BRIGHTON             MI 48114‐9211
STEVEN NORRIS         1117 W MAPLE AVE                                                                        FLINT                MI 48507‐3731
STEVEN NORTH          3433 FOXBOROUGH CIR                                                                     SAINT CHARLES        MO 63301‐4104
STEVEN NOVOSEL        2211 VERMONT DR                                                                         TROY                 MI 48083‐2565
STEVEN NOYES          14210 BAYBERRY DR                                                                       SHELBY TOWNSHIP      MI 48315‐1443
STEVEN NURENBERG      3200 S GRANGE RD                                                                        FOWLER               MI 48835‐9256
STEVEN OAKLEY         3141 LINDA MARIE WAY                                                                    COMMERCE TOWNSHIP    MI 48390‐1165
STEVEN OBENOUR        5367 BLOOMINGGROVE RD                                                                   GALION               OH 44833‐9545
STEVEN OBERLIN
STEVEN OCENASEK       5320 DUFFIELD RD                                                                        FLUSHING            MI   48433‐9765
STEVEN OCESTOLO       169 GENESEE ST                                                                          LOCKPORT            NY   14094‐4425
STEVEN OCHS           32293 WOODFIELD DR                                                                      AVON LAKE           OH   44012‐2557
STEVEN OCONNELL       15205 CHARLUENE DR                                                                      FENTON              MI   48430‐1405
STEVEN ODETTE         10388 N LINDEN RD                                                                       CLIO                MI   48420‐8500
STEVEN OJA            29305 W NOTTINGHAM CIR            WEST                                                  WARREN              MI   48092‐2269
STEVEN OLDFATHER      2695 S.CO.RD.‐ 400 E                                                                    KOKOMO              IN   46902
STEVEN OLISECK        801 HOLLY BUSH DR                                                                       HOLLY               MI   48442‐1322
STEVEN OLIVER         2000 S MUSTANG RD APT 2611                                                              YUKON               OK   73099‐0334
STEVEN OLIVO          909 DANCING VINES AVE                                                                   LAS VEGAS           NV   89183‐6367
STEVEN OLSON          1405 S 2ND ST                                                                           DUNCAN              OK   73533‐7862
STEVEN OLSON          814 EISENHOWER AVE                                                                      JANESVILLE          WI   53545‐1742
STEVEN ONEAL          301 W 1ST AVE                                                                           FRANKLIN            KY   42134‐8621
STEVEN OPITECK        812 HUNTINGTON DR                                                                       SOUTH LYON          MI   48178‐2529
STEVEN OROPEZA        921 ARMSTRONG AVE                                                                       KANSAS CITY         KS   66101‐2606
STEVEN OSBORNE        19508 SIX POINTS RD                                                                     SHERIDAN            IN   46069‐9150
STEVEN OSBORNE
STEVEN OSBUN          207 ROLLINGWOOD DR                                                                      ROCKFORD            MI   49341‐1194
STEVEN OSER           1124 S 600 E                                                                            MARION              IN   46953‐9544
STEVEN OSIKA          9601 COPAS RD                                                                           LENNON              MI   48449‐9650
STEVEN OTTJEPKA       26885 S RIVER RD                                                                        HARRISON TWP        MI   48045‐2160
STEVEN OUELLETTE      6326 FOSTORIA RD                                                                        OTTER LAKE          MI   48464‐9784
STEVEN OUTTEN         8614 QUENTIN AVE                                                                        PARKVILLE           MD   21234‐3831
STEVEN OVERHOLT       2287 S APACHE DR                                                                        SHELBY              MI   49455‐9380
STEVEN OWEN           8605 S SHARTEL AVE                                                                      OKLAHOMA CITY       OK   73139‐9307
STEVEN OWENS FAMILY   1100 S CEDAR ST                   P O BOX 258                                           MASON               MI   48854‐2009
STEVEN OWSIANY        67565 51ST ST                                                                           LAWRENCE            MI   49064‐8790
STEVEN P BENNETT      4491 E COUNTY LINE RD N                                                                 MUNCIE              IN   47302
STEVEN P BENYO        552 ORCHARD AVE.                                                                        NILES               OH   44446‐5250
STEVEN P BLAIR        136 W CEDAR RD                                                                          MEDWAY              OH   45341‐1354
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Name                Address1                             Address2            Address3     Address4         City             State Zip
STEVEN P BUSH       3345 TRAIL ON RD                                                                       MORAINE           OH 45439‐1145
STEVEN P CANFIELD   7228 E SPICERVILLE HWY                                                                 EATON RAPIDS      MI 48827‐9050
STEVEN P CATES      511 W GEORGE ST                                                                        ARCANUM           OH 45304
STEVEN P FLYTHE     265 TOWNSEND ST                                                                        NEW BRUNSWICK     NJ 08901‐2431
STEVEN P FRAZIER    9805 WELSH RD                                                                          BROOKVILLE        OH 45309
STEVEN P GLASGOW    1609 OXFORD DR                                                                         CELINA            OH 45822
STEVEN P HOLDER     5611 COACH DR E APT G                                                                  DAYTON            OH 45440
STEVEN P LAKIN      1105 LINDEN AVE.                                                                       DAYTON            OH 45410‐2810
STEVEN P MALONEY    PO BOX 195                                                                             HOHENWALD         TN 38462‐0195
STEVEN P MITTAL     2455 TROUT ISLAND RD                                                                   HERMITAGE         PA 16148‐7321
STEVEN P SORLAGAS   17210 MOUNT STEPHEN AVE                                                                CANYON COUNTRY    CA 91387‐3145
STEVEN P STOCKTON   28607 BLOCK ST                                                                         GARDEN CITY       MI 48135‐2430
STEVEN P WAGNER     9603 REEDER ST                                                                         OVERLAND PARK     KS 66214‐2269
STEVEN P WARD       4117 CHALFONTE DR                                                                      DAYTON            OH 45440‐3220
STEVEN P WEADICK    7208 EATON OXFORD RD                                                                   CAMDEN            OH 45311
STEVEN P WHITE      113 GATES ST                                                                           PALMYRA           NY 14522‐1212
STEVEN P WOOLUM     5799 BAYSIDE DR                                                                        DAYTON            OH 45431
STEVEN P YOUNG SR   66 WILDFLOWER DR                                                                       ROCHESTER         NY 14623‐4323
STEVEN P YOVA       11 FAIRWOODS DR                                                                        DURHAM            NC 27712
STEVEN PACE         3306 S KEARSLEY BLVD                                                                   FLINT             MI 48506‐2045
STEVEN PACE         606 JOSH DR                                                                            BRIGHTON           IL 62012‐2153
STEVEN PACIOREK     10043 REESE RD                                                                         BIRCH RUN         MI 48415‐9608
STEVEN PADILLA      PO BOX 181953                                                                          ARLINGTON         TX 76096‐1953
STEVEN PAHLE        145 GRADOLPH ST                                                                        TOLEDO            OH 43612‐1419
STEVEN PALAZZOLO    25760 LIRA LN                                                                          WARREN            MI 48089‐6264
STEVEN PALCICH      2243 CLEARVIEW AVE NW                                                                  WARREN            OH 44483‐1335
STEVEN PALECEK      8844 S CHICAGO RD                                                                      OAK CREEK         WI 53154‐4214
STEVEN PARGO        1170 BANGOR RD                                                                         WATERFORD         MI 48328‐4722
STEVEN PARKER       5371 DURWOOD DR                                                                        SWARTZ CREEK      MI 48473‐1107
STEVEN PARKER       1055 E FLAMINGO RD APT 422                                                             LAS VEGAS         NV 89119‐7444
STEVEN PARKER       941 N WHEATON RD                                                                       CHARLOTTE         MI 48813‐8826
STEVEN PARKS        601 E BISHOP AVE                                                                       FLINT             MI 48505‐6402
STEVEN PARRISH      211 VINE ST                                                                            SADIEVILLE        KY 40370‐9732
STEVEN PARSH        3043 RICHMOND ST NW                                                                    GRAND RAPIDS      MI 49534‐2338
STEVEN PASEK        13006 AUGUST CIR                                                                       RIVERSIDE         CA 92503‐0915
STEVEN PATRICK      9449 CLINTONIA RD                                                                      PORTLAND          MI 48875‐9671
STEVEN PATTERSON    711 HENRY ST                                                                           ANDERSON          IN 46016‐2641
STEVEN PAUL         2908 W SUNBLEST DR                                                                     MUNCIE            IN 47302‐8824
STEVEN PAULSON      8517 S COUNTY ROAD T                                                                   BRODHEAD          WI 53520‐9342
STEVEN PAVELICH     6060 TREE LINE DR                                                                      GRAND BLANC       MI 48439‐9790
STEVEN PAVLEDES     23617 N ROCKLEDGE                                                                      NOVI              MI 48375‐3760
STEVEN PAVLIK       1370 EPLEY RD                                                                          WILLIAMSTON       MI 48895‐9613
STEVEN PAVLISCAK    2328 CHESTNUT CIR                                                                      LAKE ORION        MI 48360‐2284
STEVEN PAXTON       THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES   22ND FLOOR                    BALTIMORE         MD 21201

STEVEN PAYER        12136 HENDERSON RD                                                                     OTISVILLE        MI   48463‐9728
STEVEN PAYLOR       1338 GRIFFIN LN                                                                        BOSSIER CITY     LA   71111‐4724
STEVEN PAYNE        10434 OAK RD                                                                           OTISVILLE        MI   48463‐9632
STEVEN PEABODY      225 N FRANKLIN ST                                                                      STOUGHTON        WI   53589‐1809
STEVEN PEAK         3861 E STANTON RD                                                                      STANTON          MI   48888‐9547
STEVEN PEAKE        3741 E MOUNT HOPE HWY                                                                  GRAND LEDGE      MI   48837‐9442
STEVEN PECK         1023 NARCISSE LN                                                                       CHARLOTTE        MI   48813‐8760
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Name                 Address1                       Address2            Address3         Address4         City               State Zip
STEVEN PECKINPAUGH   4160 W 750 N                                                                         MIDDLETOWN          IN 47356
STEVEN PEELE         816 BREVARD DR                                                                       INDIANAPOLIS        IN 46217‐4331
STEVEN PEETZ         10465 LA SALLE PL                                                                    BRIGHTON            MI 48114‐9047
STEVEN PELC          20025 FIVE POINTS ST                                                                 REDFORD             MI 48240‐1014
STEVEN PEMBERTON     1113 P ST                                                                            BEDFORD             IN 47421‐2819
STEVEN PERKINS       1133 VILLEROY DR                                                                     SUN CITY CENTER     FL 33573‐4416
STEVEN PERKINS       306 MARQUETTE CT                                                                     ROCHESTER HILLS     MI 48307
STEVEN PERLOW        531 FARBER LAKES DR                                                                  WILLIAMSVILLE       NY 14221
STEVEN PEROT         270 VANCE RD                                                                         BENTON              LA 71006‐3456
STEVEN PERRY         23573 DONALDSON ST                                                                   CLINTON TWP         MI 48035‐4321
STEVEN PERRY         2881 W BARNES RD                                                                     MASON               MI 48854‐9223
STEVEN PERSELLO      3466 MCCRACKEN RD                                                                    SALEM               OH 44460‐9415
STEVEN PERSINGER     2178 N 800 E                                                                         ANDREWS             IN 46702‐9608
STEVEN PETERS        25584 COUNTY ROAD N                                                                  CLOVERDALE          OH 45827
STEVEN PETERSON      1918 BLANDING DR                                                                     HARTSVILLE          SC 29550‐5931
STEVEN PETRINKO      8544 PELLETT DR                                                                      WHITMORE LAKE       MI 48189‐9606
STEVEN PETT          8004 N PINE RD                                                                       MILTON              WI 53563‐9184
STEVEN PETTIFORD     29255 KENNEDY CT                                                                     FARMINGTON HILLS    MI 48331‐2304
STEVEN PETTIS        12285 N ELMS RD                                                                      CLIO                MI 48420‐9467
STEVEN PETTITT       3199 COOMER RD                                                                       NEWFANE             NY 14108‐9614
STEVEN PFAFF         8216 E COUNTY RD N                                                                   MILTON              WI 53563‐9013
STEVEN PFAHL         38560 TOWNHALL ST                                                                    HARRISON TWP        MI 48045‐5527
STEVEN PFEIFFER      2332 WHEELER RD                                                                      BAY CITY            MI 48706
STEVEN PFENNING      1214 SNELL RD                                                                        LEWISBURG           TN 37091‐6933
STEVEN PFROMM        40710 OLYMPIA DR                                                                     STERLING HEIGHTS    MI 48313‐5350
STEVEN PHILLIPS      6246 MCCUE RD                                                                        HOLT                MI 48842‐8608
STEVEN PHILLIPS      7182 DODGE RD                                                                        MONTROSE            MI 48457‐9136
STEVEN PHILLIPS      6228 CHARLESGATE RD                                                                  HUBER HEIGHTS       OH 45424‐6434
STEVEN PHILLIPS      1100 QUAIL RUN                                                                       MITCHELL            IN 47446‐6217
STEVEN PHILLIPS      PO BOX 187                                                                           DALEVILLE           IN 47334‐0187
STEVEN PHILLIPS      8021 AICHEBAUN ST                                                                    MOUNT MORRIS        MI 48458‐8513
STEVEN PHILLIPS      415 GRAZING RIDGE LN                                                                 MOORE               SC 29369‐9042
STEVEN PHILLIPS JR   461 DRAKE AVE                                                                        YOUNGSTOWN          OH 44505‐3552
STEVEN PICKETT       316 N 11TH ST                                                                        FRANKTON            IN 46044‐9346
STEVEN PIEDMONT      3275 FAIRWAY 6                                                                       MACEDON             NY 14502‐8739
STEVEN PIFER         PO BOX 243                                                                           SARANAC             MI 48881‐0243
STEVEN PIKE          PO BOX 1068                                                                          MOUNT VERNON        KY 40456‐1068
STEVEN PINGEL        8905 E GARFIELD RD                                                                   ASHLEY              MI 48806‐9369
STEVEN PINNICK       2104 E GRACE CT                                                                      MUNCIE              IN 47302‐4642
STEVEN PINNOW        1360 MADISON RD                                                                      BELOIT              WI 53511‐4078
STEVEN PIORKOWSKI    6220 BURNINGTREE DR                                                                  BURTON              MI 48509‐2609
STEVEN PITCHER       1602 S IONIA RD                                                                      VERMONTVILLE        MI 49096‐9583
STEVEN PITTMAN       PO BOX 118                                                                           WELLSTON            OK 74881‐0118
STEVEN PITTMAN       7518 W MINNEZONA AVE                                                                 PHOENIX             AZ 85033
STEVEN PLATTE        2750 PARK BLVD                                                                       LYONS               MI 48851‐9771
STEVEN PODLECKI      718 COVE AVE                                                                         LOCKPORT             IL 60441‐2206
STEVEN POHL          8977 NIXON RD                                                                        GRAND LEDGE         MI 48837‐9406
STEVEN POLLIE        3233 W CLASRK RD                                                                     LANSING             MI 48905‐9354
STEVEN POOLE         9100 HOLLISTER RD                                                                    LAINGSBURG          MI 48848‐9290
STEVEN POPE          4754 102ND AVE                                                                       GRAND JUNCTION      MI 49056‐9168
STEVEN POPE          33371 PAOLETTI                                                                       FRASER              MI 48026‐5093
STEVEN PORTER        967 WHITE HOUSE DR                                                                   HIGHLAND            MI 48356‐1665
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Name                    Address1                             Address2                Address3                Address4         City                 State Zip
STEVEN PORTER           9688 COUNTY RD 8‐1                                                                                    DELTA                 OH 43515
STEVEN PORTER           100 W GRANET AVE                                                                                      HAZEL PARK            MI 48030‐2065
STEVEN POST             4338 W STATE RD                                                                                       MIDDLEVILLE           MI 49333‐9435
STEVEN POSTEMA          3464 WYOMING AVE SW                                                                                   WYOMING               MI 49519‐3246
STEVEN POTTENGER        8240 CARTER ST                                                                                        LANTANA               TX 76226‐7331
STEVEN POTTER           5710 SHERWOOD RD                                                                                      OXFORD                MI 48371‐3432
STEVEN POTTS            13111 HOGAN RD                                                                                        LINDEN                MI 48451‐8690
STEVEN POWELL           1749 S 350 E                                                                                          TIPTON                IN 46072‐9249
STEVEN POWELL           808 53RD AVE E LOT 100C                                                                               BRADENTON             FL 34203
STEVEN POWELL           8809 S HARDSAW RD                                                                                     OAK GROVE             MO 64075‐7234
STEVEN POWELL           39589 BAROQUE BLVD                                                                                    CLINTON TOWNSHIP      MI 48038‐2610
STEVEN POWELL           223 HAYWOOD KNOLLS DR                                                                                 HENDERSONVILLE        NC 28791‐8717
STEVEN POWERS           912 E COUNTY ROAD 650 S                                                                               GREENSBURG            IN 47240‐9606
STEVEN POWERS           7534 SILAGE CIRCLE                                                                                    PT CHARLOTTE          FL 33981‐2659
STEVEN POYNTER          3852 S EWING ST                                                                                       INDIANAPOLIS          IN 46237‐1257
STEVEN PRATHER          1208 NE 21ST CT                                                                                       MOORE                 OK 73160‐6309
STEVEN PRATT            305 S BYWOOD AVE                                                                                      CLAWSON               MI 48017‐2628
STEVEN PRATT            13650 E QUEEN CREEK RD                                                                                CHANDLER              AZ 85286‐0237
STEVEN PRESTON          6130 FISH LAKE RD                                                                                     NORTH BRANCH          MI 48461‐9680
STEVEN PREZBINDOWSKI    12815 ERNST RD                                                                                        ROANOKE               IN 46783‐9651
STEVEN PRICE            551 TERRACE CT                                                                                        CANTON                MI 48188‐6279
STEVEN PRICE            12311 W COUNTY ROAD 950 N                                                                             GASTON                IN 47342‐9068
STEVEN PRICE            5851 BROWN RD                                                                                         LAKE ODESSA           MI 48849‐9609
STEVEN PRICE            421 LEWIS RD                                                                                          BOWLING GREEN         KY 42104‐8762
STEVEN PRICE            4132 CHALFONTE DR                                                                                     DAYTON                OH 45440‐3221
STEVEN PRITCHARD        12860 CULVER DR                                                                                       SHELBY TOWNSHIP       MI 48315‐5230
STEVEN PRONTIKER        173 LINCOLN HALL RD                                                                                   ELIZABETH             PA 15037‐2351
STEVEN PROSEUS          10028 S FRANCIS RD                                                                                    DEWITT                MI 48820‐9140
STEVEN PROVOST          23958 BEERS RD                                                                                        MESICK                MI 49668‐9605
STEVEN PRUCNELL         16326 PARKWOOD DR                                                                                     MACOMB                MI 48044‐3219
STEVEN PRYOR            PO BOX 7115                                                                                           DEFIANCE              OH 43512‐7115
STEVEN PRYOR            2649 TEMPERANCE RD                                                                                    FRANKLIN              KY 42134‐7002
STEVEN PSIUK            9457 MOORISH RD                                                                                       BIRCH RUN             MI 48415‐8571
STEVEN PULLY            268 HICKORY ST                                                                                        MONTROSE              MI 48457‐9418
STEVEN PUNG             2590 IONIA ST                                                                                         CRYSTAL               MI 48818‐9608
STEVEN PURCHIARONI      6190 THREE LAKES DR                                                                                   BRIGHTON              MI 48116‐9519
STEVEN PURDY            11101 S 950 W                                                                                         DALEVILLE             IN 47334
STEVEN PURVIS           9152 CHESTERFIELD DR                                                                                  SWARTZ CREEK          MI 48473‐1122
STEVEN PYKE             6084 TREE LINE DR                                                                                     GRAND BLANC           MI 48439‐9791
STEVEN PYTLOWANYJ       305 N MORTON ST                                                                                       SAINT JOHNS           MI 48879‐1429
STEVEN QUACKENBUSH      5359 WAKEFIELD RD                                                                                     GRAND BLANC           MI 48439‐9020
STEVEN QUADERER         17257 E STREET RD                                                                                     NEW LOTHROP           MI 48460‐9614
STEVEN QUAKENBUSH       1354 CLORE DR                                                                                         MARTINSVILLE          IN 46151‐2903
STEVEN QUATE            502 LITTLE RIVER PATH                                                                                 THE VILLAGES          FL 32162‐6027
STEVEN R AGER           1185 11TH AVE N                                                                                       JACKSONVILLE BEACH    FL 32250
STEVEN R ALLEN          11269 LAKE RD                                                                                         OTISVILLE             MI 48463‐9716
STEVEN R AREVALO        18902 WATSON AVE                                                                                      CERRITOS              CA 90703‐6370
STEVEN R ARON CPA PSP   C/O STEVEN R ARON CPA PROFIT SHARING STEVEN R ARON TRUSTEE   30423 CANWOOD ST #124                    AGOURA HILLS          CA 91301
                        PLAN
STEVEN R BENNETT        8205 S BURLINGTON DR                                                                                  MUNCIE               IN 47302
STEVEN R BERGMAN        2101 APT D SIDNEYWOOD DR                                                                              WEST CARROLLT        OH 45449
STEVEN R CARTER         1299 PARKWOOD AVE                                                                                     YPSILANTI            MI 48198‐5947
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Name                  Address1                       Address2            Address3         Address4         City              State Zip
STEVEN R CROUCH       1132 N CHERRY ST                                                                     GERMANTOWN         OH 45327‐1120
STEVEN R DALTON       510 OVERLAND TR                                                                      MIAMISBURG         OH 45342‐2214
STEVEN R GEORGE       7619 LAKESIDE DR                                                                     RIVERSIDE          CA 92509
STEVEN R GEVEDON      836 TREE TRUNK RD                                                                    KNOXVILLE          TN 37934
STEVEN R GINDER       8023 HIGHWAY 814                                                                     MYRTLE BEACH       SC 29588‐8923
STEVEN R GOODRICH     763 RANCHWOOD DR                                                                     TUTTLE             OK 73089‐8666
STEVEN R GREENWALD    177 ROSELAWN DR.                                                                     XENIA              OH 45385‐1965
STEVEN R HAMBURG      9915 JOAN CIR                                                                        YPSILANTI          MI 48197‐8297
STEVEN R HUBBARD      8435 US ROUTE 127                                                                    WEST MANCHESTER    OH 45382‐9742
STEVEN R JACKSON      3424 HARLAN CARROLL RD                                                               WAYNESVILLE        OH 45068‐9414
STEVEN R JEWELL       1608 S HAMILTON ST                                                                   SAGINAW            MI 48602‐1316
STEVEN R JONES        520 WATERVLIET AVE APT A                                                             DAYTON             OH 45420
STEVEN R JOZWICK      3883 PIEDMONTE DR                                                                    OAKLAND TWP        MI 48306‐5001
STEVEN R KIMBLE       P O BOX 292648                                                                       DAYTON             OH 45429
STEVEN R KNIGHT       222 A 82ND ST                                                                        VIRGINIA BEACH     VA 23451
STEVEN R LANE         105 BAVARIAN DRIVE             APT B                                                 MIDDLETOWN         OH 45044
STEVEN R MICK         421 GANDER CT                                                                        SPRING HILL        TN 37174‐7562
STEVEN R OLSCHEWSKI   5 LINDA LANE                                                                         SPENCERPORT        NY 14559‐1613
STEVEN R POPE         415 HOMEWOOD DRIVE                                                                   PEARL              MS 39208‐6011
STEVEN R RENTZ        141 E SAINT ANNES CIR                                                                APOLLO BEACH       FL 33572‐2214
STEVEN R SHELTON      2772 EATON & LEWISBURG RD                                                            EATON              OH 45320‐9710
STEVEN R SMITH        5758 MERWIN CHASE RD                                                                 BROOKFIELD         OH 44403
STEVEN R SNODDY       1611 W 38TH ST                                                                       ANDERSON           IN 46013‐1012
STEVEN R SOSTROM      608 HAYES ST                                                                         YPSILANTI          MI 48198‐8026
STEVEN R SUTTON       160 DUNLOP AVE                                                                       TONAWANDA          NY 14150‐7811
STEVEN R WILK         5764 HOMESTEAD RD                                                                    HAMBURG            NY 14075
STEVEN R WILLIAMS     5187 BURKHARDT RD                                                                    DAYTON             OH 45431
STEVEN R WINTERS      224 CAA LANE                                                                         CLARION            PA 16214
STEVEN R WITHAM       963‐G XENIA AVENUE                                                                   WILMINGTON         OH 45177‐1395
STEVEN R YORK         8 DEXTER PL                                                                          FAIRBORN           OH 45324‐4227
STEVEN R. BRANDON
STEVEN R. MASSEY
STEVEN RAE            2280 FEDERALIST PL                                                                   O FALLON          MO   63368‐8562
STEVEN RAGAN          2347 HEMPSTEAD RD                                                                    AUBURN HILLS      MI   48326‐3409
STEVEN RAGNI          13838 BARCROFT WAY                                                                   WARREN            MI   48088‐5106
STEVEN RAGSDALE       6402 QUAIL RDG W                                                                     PLAINFIELD        IN   46168‐9346
STEVEN RALEIGH        10816 EASTON RD                                                                      NEW LOTHROP       MI   48460‐9714
STEVEN RAMIREZ        1938 ENGLEWOOD AVE                                                                   MADISON HEIGHTS   MI   48071‐1053
STEVEN RAMIREZ        2207 LYRIC AVE                                                                       LOS ANGELES       CA   90027‐4751
STEVEN RAMIREZ        201 LAKEWOOD POINT DR                                                                BOSSIER CITY      LA   71111‐2175
STEVEN RAMSAWACK      PO BOX 2782                                                                          DETROIT           MI   48202‐0782
STEVEN RAMSEY         9256 US HIGHWAY 84 E                                                                 TIMPSON           TX   75975‐2121
STEVEN RAMSEY         2070 WOODALE AVE                                                                     YPSILANTI         MI   48198‐9217
STEVEN RANDALL        11520 HARRISON RD                                                                    SHAWNEE           OK   74804‐7520
STEVEN RANK           13701 RIVERCREST DR                                                                  WHITE PIGEON      MI   49099‐8133
STEVEN RATERINK       246 N 500 E LOT 231                                                                  MARION            IN   46952‐8530
STEVEN RATLIFF        PO BOX 7213                                                                          GREENWOOD         IN   46142‐6422
STEVEN RATLIFF        4037 SPRINGHILL DR                                                                   TUSCALOOSA        AL   35405‐4744
STEVEN RAU            950 PLYMOUTH RD                                                                      SAGINAW           MI   48638‐7143
STEVEN RAY            4809 S COUNTY ROAD 750 E                                                             FILLMORE          IN   46128‐9437
STEVEN RAY            9742 S GREEN RD                                                                      SHEPHERD          MI   48883‐9531
STEVEN REDEMSKY       10150 FROST RD                                                                       PORTLAND          MI   48875‐8451
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Name                                Address1                      Address2             Address3        Address4         City                 State Zip
STEVEN REED                         18900 N HONEY ST                                                                    GASTON                IN 47342‐9088
STEVEN REED                         5672 HUBBARDSTON RD                                                                 HUBBARDSTON           MI 48845‐9705
STEVEN REED                         4543 DEEDS RD SW                                                                    PATASKALA             OH 43062‐7446
STEVEN REES                         7027 PARK GREEN DR                                                                  ARLINGTON             TX 76001‐6792
STEVEN REESE                        8445 HOGAN RD                                                                       FENTON                MI 48430‐9049
STEVEN REEVES                       12814 ARLINGTON ST                                                                  DETROIT               MI 48212‐2279
STEVEN REILLY                       10205 W CALEDONIA RD                                                                EVANSVILLE            WI 53536‐8901
STEVEN REIMBOLD                     120 STONER RD                                                                       LANSING               MI 48917‐3708
STEVEN REINERT                      1905 STANLEY ST                                                                     SAGINAW               MI 48602‐1085
STEVEN REINHEIMER                   ACT L WHITE 95‐81153‐CK       43494 WOODWARD AVE                                    BLOOMFIELD HILLS      MI 48302
STEVEN RENNER                       50 WYCKOFF ST                                                                       MATAWAN               NJ 07747‐3148
STEVEN REPASY                       300 STEEPLECHASE DR                                                                 SMITHVILLE            TN 37166‐7013
STEVEN RESTIVO EVENT SERVICES LLC   805 4TH ST STE 8                                                                    SAN RAFAEL            CA 94901‐3258
STEVEN RESTORICK                    2757 GRAMER RD                                                                      WEBBERVILLE           MI 48892‐9314
STEVEN REYNOLDS                     1225 SW 96TH ST                                                                     OKLAHOMA CITY         OK 73139‐2611
STEVEN RHIM II                      4925 FALCON GROVE DR                                                                INDIANAPOLIS          IN 46254‐5905
STEVEN RICHARD                      1104 E SMITH ST                                                                     BAY CITY              MI 48706‐4032
STEVEN RICHTER                      20873 PALOMA ST                                                                     SAINT CLAIR SHORES    MI 48080‐1122
STEVEN RICHTER                      22916 DETOUR ST                                                                     SAINT CLAIR SHORES    MI 48082‐1341
STEVEN RICKERD                      16250 KILMER RD                                                                     GRASS LAKE            MI 49240‐9139
STEVEN RIDER                        1250 S CHARLTON PARK RD                                                             HASTINGS              MI 49058‐9199
STEVEN RIEGER                       14‐ 715 CO RD Z                                                                     NAPOLEON              OH 43545
STEVEN RIGGLEMAN                    302 MONTROSE CT                                                                     FRANKLIN              TN 37069‐1805
STEVEN RIGGS                        10132 SW 44TH ST                                                                    MUSTANG               OK 73064‐9432
STEVEN RINKS                        13082 GREAT OAKS LN                                                                 BURT                  MI 48417‐2500
STEVEN RITER                        201 W PINEWOOD AVE                                                                  DEFIANCE              OH 43512‐3584
STEVEN RITTER                       3052 MILLVILLE RD                                                                   LAPEER                MI 48446‐9084
STEVEN RIVERA                       4549 WILCOX RD                                                                      HOLT                  MI 48842‐1647
STEVEN ROBB                         1890 N COUNTY ROAD 850 W                                                            DALEVILLE             IN 47334‐9617
STEVEN ROBB                         2230 COLORADO BEND                                                                  SAN ANTONIO           TX 78245‐3682
STEVEN ROBERTS                      16029 W 124TH CIR                                                                   OLATHE                KS 66062‐4319
STEVEN ROBERTS                      239 S CLEMATIS CT                                                                   FRANKLIN              TN 37067‐5619
STEVEN ROBERTSON                    4391 CLARKE DR                                                                      TROY                  MI 48085‐4906
STEVEN ROBERTSON                    3927 WINDWOOD DR                                                                    JANESVILLE            WI 53546‐1471
STEVEN ROBINSON                     4374 S WAYSIDE DR                                                                   SAGINAW               MI 48603‐3060
STEVEN ROBINSON                     9912 GLACIER RIDGE DR                                                               SANDY                 UT 84092‐4288
STEVEN ROBINSON                     9684 SPRINGWATER LANE                                                               MIAMISBURG            OH 45342‐4531
STEVEN RODGERS                      20481 CHEYENNE ST                                                                   DETROIT               MI 48235‐1089
STEVEN ROEBER                       8937 N DIX DR                                                                       MILTON                WI 53563‐9248
STEVEN ROFFE                        26427 NICOLA DR                                                                     WARREN                MI 48091‐3963
STEVEN ROGERS                       10722 CORKERY LN                                                                    GRAND LEDGE           MI 48837‐9530
STEVEN ROGERS                       5133 THURSTON AVE                                                                   BLASDELL              NY 14219‐2677
STEVEN ROGERS                       1206 COVENTRY LN                                                                    MURFREESBORO          TN 37128‐6736
STEVEN ROJAS                        5595 AMBLER ST                                                                      LANSING               MI 48911‐7201
STEVEN ROLLER                       11 BUDDE CT                                                                         FORT THOMAS           KY 41075‐1215
STEVEN ROM                          5548 EARLIGLOW LN                                                                   HASLETT               MI 48840‐9766
STEVEN ROMANEK                      64 ROCKLAND RD                                                                      TONAWANDA             NY 14150‐7142
STEVEN ROMANSKI                     4024A S KANSAS AVE                                                                  SAINT FRANCIS         WI 53235‐4626
STEVEN ROMEO                        11336 LAKEHAVEN DR                                                                  WHITE LAKE            MI 48386‐3644
STEVEN ROP                          16945 32ND ST                                                                       GOBLES                MI 49055‐9647
STEVEN ROSE                         609 NE 16TH ST                                                                      MOORE                 OK 73160‐5701
STEVEN ROSE                         4080 S IRISH RD                                                                     DAVISON               MI 48423‐8627
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Name                   Address1                              Address2      Address3         Address4         City               State Zip
STEVEN ROSE            6201 BERT KOUNS INDUSTRIAL LOOP LOT                                                   SHREVEPORT          LA 71129‐5020
                       113
STEVEN ROSENBLUM       47294 AUTUMN PARK CT                                                                  NOVI               MI   48374‐3637
STEVEN ROSENICK        6289 HIGH ST                                                                          HASLETT            MI   48840‐8281
STEVEN ROSS            2721 E TOWNSEND RD                                                                    SAINT JOHNS        MI   48879‐8020
STEVEN ROSS            12125 ROOSEVELT RD                                                                    SAGINAW            MI   48609‐9723
STEVEN ROSS            18300 GRIMM ST                                                                        LIVONIA            MI   48152‐3515
STEVEN ROSS            10059 PINE MEADOWS CT                                                                 GOODRICH           MI   48438‐8809
STEVEN ROUNDS          3753 CLARK RD                                                                         BATH               MI   48808‐8417
STEVEN ROWLAND SR      1220 BRANDYWINE ST                                                                    TEMPERANCE         MI   48182‐1274
STEVEN ROZELL          536 COOKSTON AVE                                                                      SPRINGFIELD        OH   45503‐2214
STEVEN RUBIN           3090 TIMOTHY ROAD                                                                     BELLMORE           NY   11710
STEVEN RUDISILL        6646 NEFF RD                                                                          MEDINA             OH   44256‐9451
STEVEN RUDOLF          4870 W 150 N                                                                          GREENFIELD         IN   46140‐9622
STEVEN RUGGIRELLO      2389 TORREY GROVE CT                                                                  FENTON             MI   48430‐9606
STEVEN RUMFELT         3104 S JEFFERSON ST                                                                   MUNCIE             IN   47302‐5638
STEVEN RUMLER          11145 SILBERHORN HWY                                                                  BLISSFIELD         MI   49228‐9710
STEVEN RUNYAN          9470 62ND ST                                                                          NEWAYGO            MI   49337‐9529
STEVEN RUPERT          7718 OAKLAND AVE                                                                      KANSAS CITY        KS   66112‐2452
STEVEN RUSH            383 TAYLOR RD                                                                         MANSFIELD          OH   44903‐1853
STEVEN RUSSELL         4928 BIG BEND DRIVE                                                                   WICHITA FALLS      TX   76310‐1118
STEVEN RUSSELL         3007 LONE OAK DR                                                                      SHREVEPORT         LA   71118‐2423
STEVEN RUSZKOWSKI      8453 CRANBROOK DR                                                                     GRAND BLANC        MI   48439‐7456
STEVEN RUTHERFORD      PO BOX 311114                                                                         FLINT              MI   48531‐1114
STEVEN S AMATO         1136 STONEY SPRING RD.                                                                VANDALIA           OH   45377‐1639
STEVEN S FRICTON       16476 N MAIDEN LAKE RD                                                                MOUNTAIN           WI   54149
STEVEN S GOBLE         1330 HAWTHORNE AVE                                                                    YPSILANTI          MI   48198‐5944
STEVEN S HALL          8115 BAILEY DR NE                                                                     ADA                MI   49301‐9743
STEVEN S HARRIS        705 MARTHA DR                                                                         FRANKLIN           OH   45005‐2019
STEVEN S MILLER        4504 KINGVIEW AVENUE                                                                  DAYTON             OH   45420‐3340
STEVEN S SARVER        20 SANTA FE RD                                                                        MIDDLETOWN         OH   45042
STEVEN S SMITH         858 SE QUIESCENT LN                                                                   PORT SAINT LUCIE   FL   34983
STEVEN S. VON STROHE   538 H.A.W.L. EAST                                                                     LINDALE            TX   75771
STEVEN SABBAUGH        3351 PIRRIN DR                                                                        WATERFORD          MI   48329‐2745
STEVEN SABIN           12927 COBBLESTONE DR                                                                  STERLING HEIGHTS   MI   48313‐1158
STEVEN SABINS          8548 COUNTY ROAD C                                                                    BRYAN              OH   43506‐9530
STEVEN SABINS          633 S WALNUT ST                                                                       BRYAN              OH   43506‐2148
STEVEN SACHO           2550 DEVONSHIRE RD                                                                    ANN ARBOR          MI   48104‐2708
STEVEN SAGE            5826 LAPORTE DR                                                                       LANSING            MI   48911‐5043
STEVEN SAINSBURY       S339 HOFF VALLEY RD                                                                   ONTARIO            WI   54651‐7500
STEVEN SALEEM          3345 ASPEN DR                         APT 4302                                        ORION              MI   48359‐2324
STEVEN SALERNO         6819 MEAD HILL ROAD                                                                   WAYLAND            NY   14572
STEVEN SALKE
STEVEN SALSER          PO BOX 14178                                                                          POLAND             OH   44514‐7178
STEVEN SALVO           10305 FOX HOLLOW DR                                                                   PARMA              OH   44130‐8234
STEVEN SAMAN           15799 HARRIS RD                                                                       DEFIANCE           OH   43512‐8090
STEVEN SAMS            3281 MARATHON RD                                                                      COLUMBIAVILLE      MI   48421‐8974
STEVEN SANCHEZ JR      818 MOORE ST                                                                          DAVISON            MI   48423‐1110
STEVEN SANDERS         9655 HOLMES HWY                                                                       EATON RAPIDS       MI   48827‐9508
STEVEN SANDERSON       35468 STATE ROUTE 172                                                                 LISBON             OH   44432‐9488
STEVEN SANDOE          8476 FARNUM AVE                                                                       WARREN             MI   48093‐4911
STEVEN SANTANGELO      881 WILLOW ST                                                                         LOCKPORT           NY   14094‐5125
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Name                  Address1                        Address2            Address3         Address4         City               State Zip
STEVEN SANTMYER       200 S ROCK RD                                                                         MANSFIELD           OH 44903‐9269
STEVEN SARGINSON      5019 HICKORY GREEN COURT                                                              KINGWOOD            TX 77345‐2340
STEVEN SAS            1588 FISH LAKE RD                                                                     LAPEER              MI 48446‐8305
STEVEN SATTORA        52 NISA LN                                                                            ROCHESTER           NY 14606‐4051
STEVEN SAUER          276 PALMER CIR NE                                                                     WARREN              OH 44484‐5547
STEVEN SAULTS         1311 KENNELY RD                                                                       SAGINAW             MI 48609‐9645
STEVEN SAUNDERS       6122 W COOK RD                                                                        FORT WAYNE          IN 46818‐9414
STEVEN SAVACH         1658 S STATELINE RD                                                                   MASURY              OH 44438‐9704
STEVEN SAYLES         5885 BARNES RD                                                                        MILLINGTON          MI 48746‐8713
STEVEN SCARDINA       13407 RHODES CT                                                                       CLEAR SPRING        MD 21722‐1757
STEVEN SCHAAF         1296 FLAMINGO DR                                                                      MOUNT MORRIS        MI 48458‐2859
STEVEN SCHAEFFER      4611 FREEMAN RD                                                                       EATON RAPIDS        MI 48827‐8022
STEVEN SCHAFER        510 N ELM ST                                                                          FOWLER              MI 48835‐9705
STEVEN SCHANK         2600 SW 121ST CT                                                                      OKLAHOMA CITY       OK 73170‐4757
STEVEN SCHERRER       2833 BUCKINGHAM DRIVE, #106                                                           LISLE                IL 60532
STEVEN SCHLEIFER      973 PIERPONT ST                                                                       RAHWAY              NJ 07065‐3114
STEVEN SCHLICHT       13220 DUFFIELD RD                                                                     MONTROSE            MI 48457‐9706
STEVEN SCHMIDT        2370 S FENTON RD                                                                      HOLLY               MI 48442‐8333
STEVEN SCHMIDT        7 HENRY AVE                                                                           BELMONT             NC 28012‐3921
STEVEN SCHMIEG        2423 TEROVA DR                                                                        TROY                MI 48085‐3560
STEVEN SCHMITT        3921 WINDWARD DR                                                                      SYLVANIA            OH 43560‐9112
STEVEN SCHNEEBERGER   1401 E JASON RD                                                                       SAINT JOHNS         MI 48879‐8153
STEVEN SCHNEIDER      7864R DEXTER TRL                                                                      SAINT JOHNS         MI 48879
STEVEN SCHOFIELD
STEVEN SCHROEDER      453 N ESPLANADE ST                                                                    MOUNT CLEMENS      MI   48043‐6501
STEVEN SCHROEDER      10968 STATE ROUTE 500                                                                 PAULDING           OH   45879‐9147
STEVEN SCHROEDER      1052 DARTMOUTH LN                                                                     WATERFORD          MI   48327‐4086
STEVEN SCHUCHARD      8488 COLONIAL ST                                                                      DEARBORN HEIGHTS   MI   48127‐1305
STEVEN SCHULTZ        4821 HATCHERY RD                                                                      WATERFORD          MI   48329‐3637
STEVEN SCHULTZ        22511 MASCH AVE                                                                       WARREN             MI   48091‐5271
STEVEN SCHULZ         2112 BRIDGEPORT WAY                                                                   TORRANCE           CA   90503‐8931
STEVEN SCHUMACHER     4237 RACE RD                                                                          LESLIE             MI   49251‐9446
STEVEN SCHUMACHER     1416 BROOKMARK ST SE                                                                  KENTWOOD           MI   49508‐6117
STEVEN SCHURTTER      55 MICHIGAN AVE                                                                       MONTREAL           WI   54550‐9725
STEVEN SCHUSTER       36091 GRAND RIVER AVE APT 203                                                         FARMINGTON         MI   48335‐3036
STEVEN SCHUYLER       4650 VILLAGE DR                                                                       ANDERSON           IN   46012‐9721
STEVEN SCHWARTZ       2528 SPRUCE DR                                                                        BOSSIER CITY       LA   71111‐5133
STEVEN SCHWARZ        1336 RIVERDALE CIR                                                                    CHESTERFIELD       MO   63005‐4472
STEVEN SCOFIELD       6303 HIDDEN TRL                                                                       BURTON             MI   48519‐1712
STEVEN SCOTT          1971 SWARTZ FAIRBANKS RD                                                              MONROE             LA   71203‐8465
STEVEN SCOTT          15718 STANSBURY ST                                                                    DETROIT            MI   48227‐3325
STEVEN SCOTT          2603 E 5TH ST                                                                         ANDERSON           IN   46012‐3762
STEVEN SCOTT          6959 ANTHONY ST                                                                       KALAMAZOO          MI   49009‐7796
STEVEN SCOTT
STEVEN SCRIVANICH     480 CENTRAL BLVD                                                                      FORT LEE           NJ   07024‐1743
STEVEN SEAMON         1114 E OLIVER ST                                                                      OWOSSO             MI   48867‐9694
STEVEN SEBASTIAN      4174 MAPLEVIEW DR                                                                     BEAVERCREEK        OH   45432‐1937
STEVEN SECHLER        2096 GOLF CREST DRIVE                                                                 MILFORD            MI   48382
STEVEN SEDLAR         4792 N VERITY RD                                                                      SANFORD            MI   48657‐9391
STEVEN SEEGRAVES      1114 1/2 N CHIMNEY HILL DR                                                            DEWITT             MI   48820‐9571
STEVEN SEICHTER       3774 STONE RIDGE DR                                                                   JANESVILLE         WI   53548‐5826
STEVEN SELBIG         608 ABREY AVE                                                                         OWOSSO             MI   48867‐3718
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Name               Address1                       Address2                     Address3   Address4         City               State Zip
STEVEN SELL        883 GRANADA DR                                                                          GREENWOOD           IN 46143‐2610
STEVEN SELLS       4635 S AIRPORT RD                                                                       BRIDGEPORT          MI 48722‐9562
STEVEN SEMRAU      1700 E JASON RD                                                                         SAINT JOHNS         MI 48879‐9124
STEVEN SETSUDA     5560 GRACE LN                                                                           ALMONT              MI 48003‐9655
STEVEN SETTER      8170 VASSAR RD                                                                          GRAND BLANC         MI 48439‐7407
STEVEN SEXTON      5507 IRISH RD                                                                           N TONAWANDA         NY 14120‐9610
STEVEN SEXTON      9029 SOUTHERLAND PL                                                                     BRENTWOOD           TN 37027‐8539
STEVEN SEYBERT     511 CENTER ST                                                                           PENDLETON           IN 46064‐1307
STEVEN SHAFER      721 ARLETTA GLEN DR                                                                     GAS CITY            IN 46933‐1400
STEVEN SHAFFER     3273 BERENT ST                                                                          BURTON              MI 48529‐1430
STEVEN SHANCE      7117 N IONIA RD                                                                         VERMONTVILLE        MI 49096‐9768
STEVEN SHANNON     1525 N CRANBROOK RD                                                                     BLOOMFIELD HILLS    MI 48301‐2315
STEVEN SHARON      1390 TRACILEE DR                                                                        HOWELL              MI 48843‐7810
STEVEN SHARPE      928 N LAFAYETTE AVE                                                                     ROYAL OAK           MI 48067‐1798
STEVEN SHAW        2237 S ARCH ST                                                                          JANESVILLE          WI 53546‐5955
STEVEN SHAW        2725 N WEST OAKS PL                                                                     NEWCASTLE           OK 73065‐6528
STEVEN SHAW        103 E MAIN ST                                                                           MOORESVILLE         IN 46158‐1405
STEVEN SHAW        6401 ELIZABETH LAKE RD                                                                  WATERFORD           MI 48327‐1718
STEVEN SHAY        38882 ROSS ST                                                                           LIVONIA             MI 48154‐4739
STEVEN SHEARER     8172 WEST O.P. AVE.                                                                     KALAMAZOO           MI 49009
STEVEN SHEETZ      10891 E 1350 S                                                                          GALVESTON           IN 46932
STEVEN SHEFFIELD   2670 CEDAR KEY DR                                                                       LAKE ORION          MI 48360‐1826
STEVEN SHELBY      290 RICHMOND DR                                                                         HOPE                MI 48628‐9790
STEVEN SHELBY      6325 HAZELWOOD AVE                                                                      INDIANAPOLIS        IN 46260‐4713
STEVEN SHELDON     2326 STONEFIELD DR                                                                      FLUSHING            MI 48433‐2664
STEVEN SHELLEY     2185 ROME HWY                                                                           ROCKMART            GA 30153‐3575
STEVEN SHELTON     4067 WATERMAN RD                                                                        VASSAR              MI 48768‐9549
STEVEN SHEPARD     125 LUCINDA CT                                                                          FRANKLIN            TN 37064‐2943
STEVEN SHEPHERD    PO BOX 9022                                                                             WARREN              MI 48090‐9022
STEVEN SHEPHERD    2912 CREEK RD                                                                           ELVERSON            PA 19520‐9167
STEVEN SHERARD     430 CASA GRANDE                                                                         EDGEWATER           FL 32141‐7663
STEVEN SHERIDAN    3774 ROTHERFIELD LN                                                                     CHADDS FORD         PA 19317‐8918
STEVEN SHERMAN     103 TERRACE LN                                                                          WASHINGTON          MO 63090‐6202
STEVEN SHERMAN     6318 MAPLE AVE                                                                          SWARTZ CREEK        MI 48473‐8230
STEVEN SHERRARD    468 GOLF VIEW BLVD                                                                      BIRMINGHAM          MI 48009‐4410
STEVEN SHERRY      2134 NASHVILLE HWY                                                                      COLUMBIA            TN 38401‐7233
STEVEN SHETTERLY   3328 MOSS ISLAND HEIGHTS RD                                                             ANDERSON            IN 46011‐8779
STEVEN SHIELS      5903 PRINTEMP DR                                                                        EAST LANSING        MI 48823‐9214
STEVEN SHIRLEY     STEVEN, SHIRLEY                1313 EAST I65 SERVICE ROAD                               MOBILE              AL 36606
STEVEN SHOCK       20901 MARLINGA DR                                                                       CLINTON TWP         MI 48038‐2440
STEVEN SHOEN       7010 LAKESIDE DR                                                                        BARRYTON            MI 49305‐9537
STEVEN SHOLTIS     36581 SAINT CLAIR DR                                                                    NEW BALTIMORE       MI 48047‐5562
STEVEN SHOOLTZ     3763 N AIRPORT RD                                                                       SAINT JOHNS         MI 48879‐9779
STEVEN SHORT       140 PLUMSTEAD LN                                                                        CLEMMONS            NC 27012‐9570
STEVEN SHOWALTER   PO BOX 4                                                                                ATLANTA             MI 49709‐0004
STEVEN SHOWERS     3878 LONG MEADOW LN                                                                     LAKE ORION          MI 48359‐1444
STEVEN SHOWERS     124 E JEFFERSON ST                                                                      DEWITT              MI 48820‐8942
STEVEN SHOWS       507 E OAK ST                                                                            ELLISVILLE          MS 39437‐3635
STEVEN SHREFFLER   101 TWIN EAGLES BLVD W                                                                  HUNTERTOWN          IN 46748‐9296
STEVEN SHULER      552 KEENELAND LN                                                                        GREENWOOD           IN 46142‐7503
STEVEN SHULL       8391 LANSING RD                                                                         PERRY               MI 48872‐9749
STEVEN SHUMAKER    2862 S STATE ROAD 267                                                                   PLAINFIELD          IN 46168‐3019
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Name                Address1                        Address2                Address3     Address4         City                 State Zip
STEVEN SHUST        21112 WEST 118TH TERRACE                                                              OLATHE                KS 66061‐5565
STEVEN SIDES        14359 CORNELL ST                                                                      TAYLOR                MI 48180‐4609
STEVEN SIEBEL       1741 VERNON AVE                                                                       BELOIT                WI 53511‐5965
STEVEN SIEFFERT     11254 CATHY DR                                                                        GOODRICH              MI 48438‐9024
STEVEN SIERADSKI    6227 PARKRIDGE CT                                                                     CLARKSTON             MI 48348‐4844
STEVEN SILCOX       1226 MORIAH RD                                                                        NORWALK               OH 44857‐9735
STEVEN SIMONSON     3517 WAYNE AVE                                                                        DAYTON                OH 45420‐2436
STEVEN SIMPSON      2125 MISTYS RUN                                                                       KELLER                TX 76248‐4715
STEVEN SIMPSON      2225 PARROT PLACE                                                                     LAKE WALES            FL 33859‐0352
STEVEN SIMS         13418 POMONA DR                                                                       FENTON                MI 48430‐1226
STEVEN SINON        201 KATHRYN LN                                                                        NORTH AURORA           IL 60542‐1750
STEVEN SITEK        2693 PLYMOUTH DR                                                                      SHELBY TWP            MI 48316‐6200
STEVEN SKAGGS       2432 VAN BUSKIRK RD                                                                   ANDERSON              IN 46011‐1047
STEVEN SKALSKY JR   1061 COOPERS RUN                                                                      AMHERST               OH 44001
STEVEN SKIDGEL      14900 SE 84TH ST                                                                      CHOCTAW               OK 73020‐4532
STEVEN SKINNER      304 MOREHEAD ST                                                                       TROY                  OH 45373‐3730
STEVEN SKULA
STEVEN SLACK        29872 CHESTER ST                                                                      GARDEN CITY          MI   48135‐3424
STEVEN SLACKTA      5387 OLE BANNER TRL                                                                   GRAND BLANC          MI   48439‐7707
STEVEN SLEZIAK      17164 WILSON AVE                                                                      EASTPOINTE           MI   48021‐1245
STEVEN SLOAN        2552 EATON GATE RD                                                                    LAKE ORION           MI   48360‐1849
STEVEN SLOAN        105 GARGANTUA AVE                                                                     CLAWSON              MI   48017‐2636
STEVEN SLOSSER      4523 S M 76                                                                           WEST BRANCH          MI   48661‐9323
STEVEN SMALLMAN     4025 OLIVER AVE                                                                       INDIANAPOLIS         IN   46241‐0920
STEVEN SMILEY       17160 TIMBER TRL                                                                      HILLMAN              MI   49746‐8271
STEVEN SMITH        RR 2 BOX 234                                                                          ADRIAN               MO   64720‐9424
STEVEN SMITH        11740 W STATE RD                                                                      EAGLE                MI   48822‐9707
STEVEN SMITH        10092 RAVINE RD                                                                       OTSEGO               MI   49078‐9545
STEVEN SMITH        APT 6                           11670 PLAZA DRIVE                                     CLIO                 MI   48420‐1792
STEVEN SMITH        1439 BUTCHER RD                                                                       FENTON               MI   48430‐1203
STEVEN SMITH        12167 24TH AVE                                                                        MARNE                MI   49435‐9667
STEVEN SMITH        189 CHINKAPIN RILL                                                                    FENTON               MI   48430‐8790
STEVEN SMITH        PO BOX 972253                                                                         YPSILANTI            MI   48197‐0838
STEVEN SMITH        11947 N STATE ROAD 59                                                                 BRAZIL               IN   47834‐6940
STEVEN SMITH        APT 14                          1148 SUMMER SET DRIVE                                 VERSAILLES           IN   47042‐9079
STEVEN SMITH        2230 RAVENWOOD LN                                                                     NORMAN               OK   73071‐7427
STEVEN SMITH        8593 MOON LAKE DR                                                                     LAINGSBURG           MI   48848‐9314
STEVEN SMITH        5811 BERRYHILL DR                                                                     ARLINGTON            TX   76017‐3926
STEVEN SMITH        7675 MORNINGSTAR CT                                                                   CLARKSTON            MI   48348‐2629
STEVEN SMITH        6661 DEER KNOLLS DR                                                                   HUBER HEIGHTS        OH   45424‐6454
STEVEN SMITH        310 ESSEX DR                                                                          TIPP CITY            OH   45371‐2224
STEVEN SNEED        1036 INGLESIDE AVE                                                                    FLINT                MI   48507‐2330
STEVEN SNIDER       158 S GREEN RD                                                                        BAY CITY             MI   48708‐9132
STEVEN SNODDY       1611 W 38TH ST                                                                        ANDERSON             IN   46013‐1012
STEVEN SNYDER       2925 STATE RT #5 SW                                                                   LEAVITTSBURG         OH   44430
STEVEN SNYDER       1679 STONY CREEK DR                                                                   ROCHESTER            MI   48307‐1784
STEVEN SOCIA        27690 BLUM ST                                                                         ROSEVILLE            MI   48066‐4310
STEVEN SOKOLOWSKI   6616 GLORIA ST                                                                        ROMULUS              MI   48174‐4358
STEVEN SOMERS       39784 S WINDWOOD DR                                                                   TUCSON               AZ   85739‐2436
STEVEN SONNENBERG   D‐409 ROAD 10‐A                                                                       HAMLER               OH   43524
STEVEN SORENSON     11861 OAKLAND AVE                                                                     MOUNT MORRIS         MI   48458‐1419
STEVEN SORGELOOS    29800 GLORIA ST                                                                       SAINT CLAIR SHORES   MI   48082‐1880
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Name                 Address1                      Address2                   Address3   Address4         City            State Zip
STEVEN SOUTHWELL     1408 BUSH CREEK DR                                                                   GRAND BLANC      MI 48439‐2300
STEVEN SOUTHWORTH    1357 W KALAMO HWY                                                                    CHARLOTTE        MI 48813‐9535
STEVEN SPADE         402 N WALNUT ST                                                                      ALEXANDRIA       IN 46001‐1615
STEVEN SPARKS        4825 ROCKFORD RIDGE DR                                                               MARIETTA         GA 30066‐3262
STEVEN SPARKS        132 GRIGGS ST                                                                        ROCHESTER        MI 48307‐1414
STEVEN SPEDOSKE      7845 SYLVAN DR                                                                       PORTLAND         MI 48875‐1984
STEVEN SPENCER       19 MARC MAR TRL                                                                      ROCHESTER        NY 14606‐3547
STEVEN SPENCER       1713 CLARK AVE                                                                       PLACENTIA        CA 92870‐2436
STEVEN SPIGGLE       7409 WAHL RD                                                                         VICKERY          OH 43464‐9608
STEVEN SPITZLEY      PO BOX 464                                                                           FOWLER           MI 48835‐0464
STEVEN SPITZLEY      230 S GRANT ST                                                                       PORTLAND         MI 48875‐1533
STEVEN SPOERL        2721 SADDLEBACK DR                                                                   LANCASTER        PA 17603‐4152
STEVEN SPOONHOWARD   1311 N MANOR DR                                                                      MARION           IN 46952‐1935
STEVEN SPOTTS        1638 E 5 POINT HWY                                                                   CHARLOTTE        MI 48813‐9162
STEVEN SPRAGUE       15275 FLOURNOY SCHOOL RD                                                             LEXINGTON        MO 64067‐8115
STEVEN SPRAGUE       4526 WHISPER WAY DR                                                                  TROY             MI 48098‐4470
STEVEN SPRECHER      5852 MANCHESTER CT                                                                   PITTSBORO        IN 46167‐9064
STEVEN SPRING        W3860 COUNTY ROAD EE                                                                 MONTICELLO       WI 53570‐9724
STEVEN SRNEK         16100 CREST DR                                                                       LINDEN           MI 48451‐8718
STEVEN STAALAND      1525 WINNSBORO PASS                                                                  FORT WAYNE       IN 46845‐2007
STEVEN STALEY        112 LEXINGTON FARM RD                                                                UNION            OH 45322‐3408
STEVEN STAMAS        5710 PAMONA PL                                                                       CENTERVILLE      OH 45459‐1824
STEVEN STAMATKIN     1616 ALLISON AVE                                                                     INDIANAPOLIS     IN 46224‐5630
STEVEN STAMPS        26500 W DAVISON                                                                      REDFORD          MI 48239‐2776
STEVEN STANFORD      24092 WINDRIDGE LN                                                                   NOVI             MI 48374‐3652
STEVEN STANGE        4019 SEQUOIA TRL                                                                     SPRING HILL      TN 37174‐5185
STEVEN STAPLES       23150 OAK GLEN DR                                                                    SOUTHFIELD       MI 48033‐3488
STEVEN STEDRY        82 RHOTON RD                                                                         MANCHESTER       TN 37355‐5138
STEVEN STEFAN        3014 BESSIE ST                                                                       AUBURN HILLS     MI 48326‐3600
STEVEN STEGEHUIS     APT A                         6271 NORTH LONDON AVENUE                               KANSAS CITY      MO 64151‐5206
STEVEN STEIN         2099 BALSAM LN                                                                       GRAND BLANC      MI 48439‐7392
STEVEN STEINER       PO BOX 153                                                                           ARMADA           MI 48005‐0153
STEVEN STEINKE       728 W BURBANK AVE                                                                    JANESVILLE       WI 53546‐3163
STEVEN STEMPIEN      142 PLEASANT VALLEY ST        APT 200103                                             METHUEN          MA 01844
STEVEN STEWART       7415 E FRANCES RD                                                                    MOUNT MORRIS     MI 48458‐9742
STEVEN STEWART       332 OXFORD LAKE DR                                                                   OXFORD           MI 48371‐5102
STEVEN STEWART       716 N WHEATON RD                                                                     CHARLOTTE        MI 48813‐8826
STEVEN STID          91 LINDEN BLVD                                                                       MASON            MI 48854‐1043
STEVEN STILES        6488 CHURCH ST                                                                       CLARKSTON        MI 48346‐2120
STEVEN STIREMAN      3257 S EXTENSION RD                                                                  CHEBOYGAN        MI 49721‐9752
STEVEN STOBER        2630 LAFAYETTE AVE                                                                   LANSING          MI 48906‐2766
STEVEN STOCKARD      1439 WOLCOTT ST                                                                      FLINT            MI 48504‐4025
STEVEN STOCKTON      28607 BLOCK ST                                                                       GARDEN CITY      MI 48135‐2430
STEVEN STOCKTON      506 GARNET CIR                                                                       WHITMORE LAKE    MI 48189‐8280
STEVEN STONE         2895 BROWN RD                                                                        MILLINGTON       MI 48746‐9636
STEVEN STONE         4313 CARLTON ST                                                                      FLINT            MI 48505‐5337
STEVEN STOPA         6388 RIDGE RD                                                                        LOCKPORT         NY 14094‐1017
STEVEN STORMS        17783 REDWOOD RD                                                                     LAKE MILTON      OH 44429‐9732
STEVEN STOUGHTON     1550 CENTER STAR RD                                                                  COLUMBIA         TN 38401‐7770
STEVEN STRACENSKY    1805 COCONUT PALM CIR                                                                NORTH PORT       FL 34288‐8653
STEVEN STRAUB        4602 GAINES MILL DR                                                                  SYLVANIA         OH 43560‐3233
STEVEN STREUKENS     9037 TWIN OAKS CT                                                                    FLUSHING         MI 48433‐1189
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Name                                   Address1                       Address2                           Address3   Address4         City               State Zip
STEVEN STRICKLAND                      9021 LANDSFORD RD                                                                             MONROE              NC 28112‐8297
STEVEN STRINE                          123 EAST MAIN ST                                                                              HAYESVILLE          OH 44838
STEVEN STRINE                          2962 MOHAWK LN                                                                                ROCHESTER HILLS     MI 48306‐3832
STEVEN STRINGFELLOW                    3245 WAINS WAY                                                                                OAKLAND             MI 48363‐2752
STEVEN STROBEL                         13260 WHITTIER DR                                                                             STERLING HTS        MI 48312‐6908
STEVEN STROM                           1411 TRANSUE AVE                                                                              BURTON              MI 48509‐2425
STEVEN STROMSKI                        46 KOVAL LN                                                                                   FREDERICKSBURG      VA 22406‐4858
STEVEN STRONG                          1037 W SANTEE HWY                                                                             CHARLOTTE           MI 48813‐8614
STEVEN STRZELECKI                      10329 APPOMATTOX ST                                                                           HOLLY               MI 48442‐8617
STEVEN STUBBLEFIELD                    10878 SHADY REST RD                                                                           OIL CITY            LA 71061‐8742
STEVEN STUBBS                          612 NE 44TH TER                                                                               KANSAS CITY         MO 64116‐1858
STEVEN STUDEBAKER                      2840 ELLEN LN                                                                                 BEAVERCREEK         OH 45430‐1929
STEVEN STURGEON                        5607 SENNA CT                                                                                 FORT WAYNE          IN 46804‐4997
STEVEN STURK                           2375 WILLOWDALE DR                                                                            BURTON              MI 48509‐2601
STEVEN STURTEVANT                      24160 PRATT RD                                                                                ARMADA              MI 48005‐4807
STEVEN SUDDUTH                         904 QUARTERHORSE RUN                                                                          BARGERSVILLE        IN 46106‐8751
STEVEN SULKEY                          36 EMS C 24G LANE                                                                             WARSAW              IN 46582
STEVEN SULLIVAN                        10908 KINNEVILLE RD                                                                           EATON RAPIDS        MI 48827‐9719
STEVEN SULLIVAN                        2138 VAIL CT                                                                                  ANN ARBOR           MI 48108‐9695
STEVEN SUMMERS                         1015 PUMPKINVINE HILL RD                                                                      MARTINSVILLE        IN 46151‐8147
STEVEN SWAIN                           2805 FAUNA AVE                                                                                LANSING             MI 48911‐1708
STEVEN SWANEY                          10400 GRAND VISTA DR                                                                          CENTERVILLE         OH 45458‐4418
STEVEN SWANK                           20065 HUBBARD ST                                                                              LIVONIA             MI 48152‐4221
STEVEN SWANSON                         1758 PINE FOREST DR                                                                           COMMERCE TWP        MI 48390‐2221
STEVEN SWANTICK                        14196 DORIS ST                                                                                LIVONIA             MI 48154‐4432
STEVEN SWARTHOUT                       10468 BABCOCK RD                                                                              BATH                MI 48808‐9426
STEVEN SWARTZ                          140 ROLLING HILLS RD                                                                          MCLOUD              OK 74851‐8492
STEVEN SWARTZELL                       4092 US HWY 522 N                                                                             LEWISTOWN           PA 17044
STEVEN SWIFT                           2207 S MAY AVE                                                                                MUNCIE              IN 47302‐4786
STEVEN SWIND                           475 GARVER RD                                                                                 MANSFIELD           OH 44903‐7553
STEVEN SWINFORD                        2243 S COUNTY ROAD 975 E                                                                      PERU                IN 46970‐6933
STEVEN SWITALSKI                       11302 FRANCES RD                                                                              FLUSHING            MI 48433‐9263
STEVEN SZABO                           417 TANBRIDGE DR                                                                              MARTINSBURG         WV 25401‐4696
STEVEN SZCZEPANSKI                     3131 13 MILE RD NE                                                                            ROCKFORD            MI 49341‐8070
STEVEN SZPICZKA                        306 CAYUGA ST                                                                                 SYRACUSE            NY 13204‐1808
STEVEN T DOUGLASS                      4508 E 200 S TRLR 172                                                                         KOKOMO              IN 46902‐4252
STEVEN T EVANS                         RR 1 BOX 228                                                                                  SONTAG              MS 39665‐9730
STEVEN T HACK                          6540 STONEBROOK LN                                                                            FLUSHING            MI 48433‐2593
STEVEN T HAHN                          32 STONE HILL RD                                                                              CONESTOGA           PA 17516
STEVEN T KISSEL                        703 THURSTON RD                                                                               ROCHESTER           NY 14619‐2228
STEVEN T LEWIS                         5441 ALABAMA AVE                                                                              SAINT LOUIS         MO 63111‐1832
STEVEN T MOORE                         7941 BUNNELL HILL RD.                                                                         SPRINGBORO          OH 45066‐9373
STEVEN T SMITH                         915 N SHERMAN ST                                                                              BAY CITY            MI 48708‐6064
STEVEN T STAMAS                        5710 PAMONA PL                                                                                CENTERVILLE         OH 45459‐1824
STEVEN T. KOUSIS ET ASSOCIATES, P.C.   ATTN: STEVEN T. KIOUSIS        1740 WEST BIG BEAVER ROAD, SUITE                               TROY                MI 48084
                                                                      207
STEVEN TALBOTT                         1000 LEXINGTON AVE                                                                            ROCHESTER          NY   14606‐2810
STEVEN TALKAT                          23568 DEANHURST ST                                                                            CLINTON TOWNSHIP   MI   48035‐4308
STEVEN TANG                            PO BOX 9022                    SHANGHAI                                                       WARREN             MI   48090‐9022
STEVEN TANNER                          5952 BURGER ST                                                                                DEARBORN HTS       MI   48127‐2412
STEVEN TANNER                          1215 ORCHARD PARK RD                                                                          LEXINGTON          OH   44904‐1314
STEVEN TARKOWSKI                       9981 NORTH ST                                                                                 REESE              MI   48757‐9552
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Name                 Address1                          Address2            Address3         Address4         City                 State Zip
STEVEN TARNOWSKY     6353 N SHORE CT                                                                         WEST BLOOMFIELD       MI 48324‐2040
STEVEN TARQUINIO     53653 AZALEA DR                                                                         MACOMB                MI 48042‐5800
STEVEN TATE          15648 HONEY CREEK RD                                                                    BONNER SPRNGS         KS 66012‐7016
STEVEN TAYLOR        145 NORMAN DR                                                                           PITTSBURGH            PA 15236‐1413
STEVEN TAYLOR        2598 ROCK SPRINGS RD                                                                    BUFORD                GA 30519‐5143
STEVEN TAYLOR        1812 FITZGERALD DR SW                                                                   DECATUR               AL 35603‐4541
STEVEN TAYLOR        4101 OLD POND CT                                                                        MOORE                 OK 73160‐5431
STEVEN TAYLOR        45555 TIMBERLINE CT               APT 202                                               NOVI                  MI 48377‐1140
STEVEN TAYLOR        2121 BERRY HILL DR                                                                      GROVE CITY            OH 43123‐3606
STEVEN TAYLOR        144 GLESSNER AVE                                                                        MANSFIELD             OH 44903‐2414
STEVEN TAYLOR        4010 JENERA LN                                                                          DAYTON                OH 45424‐5765
STEVEN TAYLOR        752 TODD CT                                                                             LIBERTY               MO 64068‐2587
STEVEN TAYLOR        1558 MUSE ST                                                                            FORT WORTH            TX 76112‐3422
STEVEN TEBEAU        111 RAINBOW DR # 1132                                                                   LIVINGSTON            TX 77399‐1011
STEVEN TEESDALE      11889 PHELPS AVE                                                                        SPARTA                MI 49345‐9797
STEVEN TENGLER       1380 KENSINGTON AVE                                                                     GROSSE POINTE PARK    MI 48230‐1104
STEVEN TERVO         901 GOD'S PEACE DRIVE                                                                   HOWELL                MI 48855
STEVEN THELEN        13745 W DEXTER TRL # R2                                                                 WESTPHALIA            MI 48894
STEVEN THIEDA        70123 HILLSIDE CT                                                                       BRUCE TWP             MI 48065‐5345
STEVEN THOMAS        3135 DARTMOUTH RD                                                                       OXFORD                MI 48371‐5503
STEVEN THOMAS        855 GRACELAND DR                                                                        W CARROLLTON          OH 45449‐1528
STEVEN THOMAS        2547 PINCH HWY                                                                          CHARLOTTE             MI 48813‐7736
STEVEN THOMAS        200 ERNEST WHITE RD                                                                     WEST MONROE           LA 71292‐0232
STEVEN THOMAS        42508 BENSON PARK RD                                                                    SHAWNEE               OK 74801‐8815
STEVEN THOME         7241 DAVIES DR NE                                                                       ROCKFORD              MI 49341‐8550
STEVEN THOMPSON      553 CHERRY CREEK LN                                                                     CHINO VALLEY          AZ 86323‐7475
STEVEN THOMPSON      5675 CORWIN LN                                                                          RIVERSIDE             CA 92503‐2509
STEVEN THOMPSON      1105 SE KINGSCROSS RD                                                                   BLUE SPRINGS          MO 64014‐3652
STEVEN THOMPSON      45260 BYRNE DR                                                                          NORTHVILLE            MI 48167‐2800
STEVEN THOMPSON
STEVEN THORPE        1413 WATERVLIET AVE                                                                     DAYTON               OH   45420‐3044
STEVEN THREETS       545 WISDOM ST                                                                           JACKSON              TN   38301‐4331
STEVEN THURSBY       7421 MONROVIA ST                                                                        SHAWNEE MSN          KS   66216‐3611
STEVEN THURSTON      PO BOX 173                                                                              PEWAMO               MI   48873‐0173
STEVEN THURSTON      739 BENDING BRK                                                                         FLUSHING             MI   48433‐3018
STEVEN TILLEY        913 W ELM ST                                                                            KOKOMO               IN   46901‐2643
STEVEN TINNIN        8055 BEECHER RD                                                                         FLUSHING             MI   48433‐9424
STEVEN TIPTON        1037 HICKORY LN                                                                         OKLAHOMA CITY        OK   73110
STEVEN TITSWORTH     5890 MURPHY LAKE RD                                                                     MILLINGTON           MI   48746‐8715
STEVEN TOBIN         49669 GLOUCESTER CT # 211B                                                              SHELBY TWP           MI   48315
STEVEN TODD          3577 DAVID K DR                                                                         WATERFORD            MI   48329‐1316
STEVEN TOLLUS        13876 HOEFT RD                                                                          BELLEVILLE           MI   48111‐4273
STEVEN TOLNAR        16388 WILLOWCREST WAY                                                                   FORT MYERS           FL   33908‐6225
STEVEN TOMASZEWSKI   9239 ROTONDO DR                                                                         HOWELL               MI   48855‐7134
STEVEN TOMICH        9285 S BYRON RD                                                                         DURAND               MI   48429‐9416
STEVEN TOMTEN        PO BOX 274                                                                              OSSIAN               IN   46777‐0274
STEVEN TOPPING       7274 HAWTHORNE CIR                                                                      GOODRICH             MI   48438‐9239
STEVEN TORRES        809 SE 5TH CT                                                                           DEERFIELD BEACH      FL   33441
STEVEN TOTH          7862 WESTWIND LN                                                                        CINCINNATI           OH   45242‐5009
STEVEN TOTOK         1411 NORFOLK AVE                                                                        GRAND BLANC          MI   48439‐5173
STEVEN TOUCHETTE     20219 PIKE 306                                                                          BOWLING GREEN        MO   63334‐4413
STEVEN TOWLER        33230 JOHN HAUK ST                                                                      GARDEN CITY          MI   48135‐1158
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Name                  Address1                       Address2            Address3         Address4         City               State Zip
STEVEN TOWNE          2505 CRYSTAL DR                                                                      MOORE               OK 73160‐5535
STEVEN TOWNSEND       10152 MONROE BLVD                                                                    TAYLOR              MI 48180‐3620
STEVEN TOWNSEND       47835 OXFORD CT                                                                      NORTHVILLE          MI 48168‐8515
STEVEN TRAMMEL        3254 COOLIDGE HWY                                                                    ROCHESTER HLS       MI 48309‐3532
STEVEN TRAMMELL       3028 STILLRIVER DR                                                                   HOWELL              MI 48843‐7384
STEVEN TRANTHAM       9034 CREEKVIEW CT                                                                    GRAND BLANC         MI 48439‐8389
STEVEN TREAT          607 CHESTNUT ST                                                                      JANESVILLE          WI 53548‐4701
STEVEN TREER          9376 SAW MILL DR                                                                     NORTH RIDGEVILLE    OH 44039‐9753
STEVEN TREMPALA       4110 DAPHNE DR                                                                       ANDERSON            IN 46013‐2592
STEVEN TREVINO        1818 WYOMING AVE                                                                     FLINT               MI 48506‐4637
STEVEN TRICKLER       4400 DALEVIEW AVE TRLR 14                                                            DAYTON              OH 45405‐1514
STEVEN TROIA          23581 SUTTONS BAY DR                                                                 CLINTON TOWNSHIP    MI 48036‐1271
STEVEN TROWBRIDGE     1045 POTEET RD                                                                       LEWISBURG           TN 37091‐5239
STEVEN TRUBY          515 EAST 5TH STREET            PO BOX 0146                                           HUXLEY               IA 50124
STEVEN TRUBY          515 EAST 5TH STREET                                                                  HUXLEY               IA 50124
STEVEN TRUDGEON       6487 ROSSMAN HWY                                                                     POTTERVILLE         MI 48876‐9732
STEVEN TRUITT         6245 S. POND POINTE                                                                  GRAND BLANC         MI 48439
STEVEN TRUPIANO       3136 COBBLESTONE RDG                                                                 TECUMSEH            MI 49286‐7787
STEVEN TUCKER         2820 PLUM CT                                                                         KOKOMO              IN 46902‐2957
STEVEN TUER           3120 S IRISH RD                                                                      DAVISON             MI 48423‐2434
STEVEN TUNISON        605 DRIFTWOOD DR E APT 101                                                           LAFAYETTE           IN 47905
STEVEN TURMELL        4418 ALTADENA DR                                                                     BAY CITY            MI 48706‐2514
STEVEN TURNBOW        1483 OVERTON CT                                                                      ROCKVALE            TN 37153‐4004
STEVEN TURNER         1125 WOODCREST LN                                                                    NORTH PORT          FL 34286‐6524
STEVEN TURNER         2416 WESTMORE DR                                                                     FORT WAYNE          IN 46845‐6619
STEVEN TURNER         9670 SUSIN LN                                                                        CLARKSTON           MI 48348‐2448
STEVEN TUSSEY         641 HARPWOOD DR                                                                      FRANKLIN            OH 45005‐6502
STEVEN TUTTLE         6438 SILVER ROCK HWY                                                                 MILLERSBURG         MI 49759‐9442
STEVEN ULAKOVICH      3388 NILES CARVER RD                                                                 MINERAL RIDGE       OH 44440‐9527
STEVEN ULBRICH        16 DON BOB RD                                                                        STAMFORD            CT 06903‐3003
STEVEN UNDERWOOD      36531 HIVELEY ST                                                                     WESTLAND            MI 48186‐4009
STEVEN UNTNEKER       2197 GRAYSTONE DR                                                                    SAINT CHARLES       MO 63303‐4622
STEVEN UNTNEKER       3 MERRIBROOK CT                                                                      O FALLON            MO 63368‐3589
STEVEN UPTEGRAFT      6910 VERNSON DR                                                                      LANSING             MI 48911‐6555
STEVEN URBEN          8075 BUSCH                                                                           CENTER LINE         MI 48015‐1523
STEVEN V BAKER        1412 GLENBECK AVE APT 4                                                              KETTERING           OH 45409‐1706
STEVEN V BRANTMEIER   1623 W KIRBY PL                                                                      SHREVEPORT          LA 71103
STEVEN V BRANTMEIER   PO BOX 29280                                                                         SHREVEPORT          LA 71149‐9280
STEVEN V BUCK         307 S MECHANIC ST                                                                    FAYETTEVILLE        TX 78940
STEVEN V GARCIA       2135 BEECHNUT TRL                                                                    HOLT                MI 48842‐8761
STEVEN V GONDOL       12139 SANDY RD                                                                       NORTH JACKSON       OH 44451‐9637
STEVEN V HOLSEY       629 W MILWAUKEE ST APT 105                                                           DETROIT             MI 48202‐2935
STEVEN V SLOVINSKY    17 CENTER AVE                                                                        MATAWAN             NJ 07747
STEVEN V SMITH        1148 SUMMER SET DR APT 14                                                            VERSAILLES          IN 47042‐9079
STEVEN VALDISERRI     1186 GLENDALE AVE                                                                    SAGINAW             MI 48638‐4747
STEVEN VALLONE        23190 HALSTED RD APT 212                                                             FARMINGTON HILLS    MI 48335‐3757
STEVEN VALUTIS        54123 OVERBROOK CT                                                                   SHELBY TOWNSHIP     MI 48316‐1301
STEVEN VAMOS          4048 HALLOCK RD                                                                      GAYLORD             MI 49735‐9255
STEVEN VAN ANDEL      5800 7 MILE RD NE                                                                    BELMONT             MI 49306‐9163
STEVEN VAN HOVE       7160 COLDWATER RD                                                                    FLUSHING            MI 48433‐9041
STEVEN VANAMBURG      9010 WAGER RD                                                                        LYONS               MI 48851‐9634
STEVEN VANCE          124 DUTTON CT EAGLE GLEN                                                             NEW CASTLE          DE 19720
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Name                    Address1                      Address2                      Address3   Address4         City               State Zip
STEVEN VANCE            524 CLIFDEN CT                                                                          SUNBURY             OH 43074‐8568
STEVEN VANDECAR         501 MASON HILLS DR                                                                      MASON               MI 48854‐1215
STEVEN VANDENABEELE     9771 MOORE RD                                                                           VERMONTVILLE        MI 49096‐9750
STEVEN VANDENBOSCH      1659 PORT SHELDON ST                                                                    JENISON             MI 49428‐9324
STEVEN VANNESTE         7828 BLUE LAGOON DR                                                                     LANSING             MI 48917‐9640
STEVEN VANNORSTRAND     24104 MANILA ST                                                                         CLINTON TWP         MI 48035‐3847
STEVEN VANOVER          8518 OAK HILL RD                                                                        CLARKSTON           MI 48348‐1035
STEVEN VARGO            3882 E365 ST                                                                            WILLOUGHBY          OH 44094
STEVEN VASHAW           6817 MULDERSTRAAT                                                                       GRAND LEDGE         MI 48837‐8429
STEVEN VAUGHN           9711 NORMAN RD                                                                          CLARKSTON           MI 48348‐2411
STEVEN VESS             12360 W JACKSON ST                                                                      YORKTOWN            IN 47396‐9736
STEVEN VETTER           23394 SW CINNAMON HILL PL                                                               SHERWOOD            OR 97140‐8513
STEVEN VIALL            5700 S NEW LOTHROP RD                                                                   DURAND              MI 48429‐1438
STEVEN VICKERS          3931 WINDWOOD DR NE                                                                     ROCKFORD            MI 49341‐8389
STEVEN VICKERS          9459 KROETZ DR                                                                          SHREVEPORT          LA 71118‐4042
STEVEN VIFOREANU        946 LONGFELLOW DR                                                                       CANTON              MI 48187‐2987
STEVEN VOIKOS           55880 NICHOLAS DR                                                                       SHELBY TWP          MI 48316‐5817
STEVEN VOLLMAR          5611 CORAL WAY                                                                          HASLETT             MI 48840‐9736
STEVEN VOZELLA          54015 STARLITE DR                                                                       SHELBY TWP          MI 48316‐1542
STEVEN W AILLS          7278 VERONA RD                                                                          LEWISBURG           OH 45338
STEVEN W BLACK          240 N WRIGHT AVE                                                                        DAYTON              OH 45403‐1637
STEVEN W BOYCE          4820 DIMOND WAY                                                                         DIMONDALE           MI 48821‐9319
STEVEN W BRUNOW         907 MAPLE AVE                                                                           SANDUSKY            OH 44870‐9611
STEVEN W CHARRON        6030 HARTLAND RD                                                                        FENTON              MI 48430‐9522
STEVEN W COLEMAN        1804 S GETTYSBURG AVE                                                                   DAYTON              OH 45408‐2109
STEVEN W CONGER         1231 GREYSTONE DR                                                                       DAYTON              OH 45427‐2142
STEVEN W COPPENBARGER   203 E 5TH ST                                                                            TILTON               IL 61833‐7424
STEVEN W COTTINGHAM     815 WARRIOR RIDGE CT                                                                    WARRENTON           MO 63383‐2359
STEVEN W CRIDER         1035 16TH AVE N                                                                         SAINT PETERSBURG    FL 33704‐4125
STEVEN W CRUSET         4124 MARICARR DR                                                                        KETTERING           OH 45429‐3206
STEVEN W DIXON          PO BOX 1000                                                                             SEAL BEACH          CA 90740‐1000
STEVEN W FARLOW         P O BOX 4145                                                                            GADSDEN             AL 35904‐0145
STEVEN W FOSNAUGH       168 MOORE DR                                                                            FRANKLIN            OH 45005
STEVEN W GAMON          6414 CLEMATIS DR.                                                                       DAYTON              OH 45449‐3012
STEVEN W GIBSON         2031 BRANCH CREEK DR                                                                    BYRAM               MS 39272‐8953
STEVEN W GOODSPEED      624 S MAIN ST                                                                           DAYTON              OH 45402
STEVEN W GREGORY        5280 BIG BEND DR                                                                        DAYTON              OH 45427‐2715
STEVEN W HACHTMAN       6984 COUNTRY OAKS RD                                                                    EXCELSIOR           MN 55331
STEVEN W HATFIELD       9408 MIAMISBURG‐SPRINGBORO                                                              MIAMISBURG          OH 45342
STEVEN W JENKINS        5714 FAIRVIEW RD                                                                        GADSDEN             AL 35904‐‐ 71
STEVEN W LUEKEN         126 SO OWEN                                                                             STILLWATER          MN 55082‐5637
STEVEN W MCBEE          406 DELLWOOD ST                                                                         TILTON               IL 61833‐7532
STEVEN W MINTON         6290 TOWNSHIP LINE RD.                                                                  WAYNESVILLE         OH 45068
STEVEN W MOULTON        727 SOUTH GRAND TRAVERSE ST                                                             FLINT               MI 48502‐1100
STEVEN W MOULTON        ACCT OF JAMES C. VANCE        727 SOUTH GRAND TRAVERSE ST                               FLINT               MI 48502‐1100
STEVEN W PARGO          1170 BANGOR RD                                                                          WATERFORD           MI 48328‐4722
STEVEN W PARKER         1425 SWINGER DR                                                                         DAYTON              OH 45427‐2126
STEVEN W PEMBERTON      1113 P ST                                                                               BEDFORD             IN 47421
STEVEN W SEBASTIAN      4174 MAPLEVIEW DR                                                                       BEAVERCREEK         OH 45432‐1937
STEVEN W SIMS           1319 DUNCAN AVE                                                                         YPSILANTI           MI 48198‐5924
STEVEN W STEWART        716 N WHEATON RD                                                                        CHARLOTTE           MI 48813‐8826
STEVEN W TALOS          1601 5TH ST                                                                             BAY CITY            MI 48708‐6143
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Name                Address1                         Address2            Address3         Address4         City              State Zip
STEVEN W TOTH       7862 WESTWIND LN                                                                       CINCINNATI         OH 45242
STEVEN WACHOWICZ    237 PEAR ST                                                                            CEDAR SPRINGS      MI 49319‐9458
STEVEN WACHOWSKI    4153 BELFORD RD                                                                        HOLLY              MI 48442‐9444
STEVEN WADE         5512 IRVINGTON ST.               APT#8                                                 HOUSTON            TX 77009
STEVEN WADE         10234 EATON PIKE                                                                       NEW LEBANON        OH 45345‐9630
STEVEN WAGG         3035 KENWOOD DR                                                                        ROCHESTER HILLS    MI 48309‐2752
STEVEN WAGNER       9603 REEDER ST                                                                         OVERLAND PARK      KS 66214‐2269
STEVEN WAIDLICH     4443 TULIP DR N                                                                        MARTINSVILLE       IN 46151‐7596
STEVEN WALBRUN      3679 DEER SPRINGS DR                                                                   ROCHESTER          MI 48306‐4752
STEVEN WALCZAK      24921 SARAH FLYNN                                                                      NOVI               MI 48374‐2933
STEVEN WALDRON      10625 S BARNES RD                                                                      DURAND             MI 48429‐9462
STEVEN WALDROP      3214 CHAMBERS ST                                                                       FLINT              MI 48507‐2129
STEVEN WALKER       PO BOX 243                                                                             SUMMITVILLE        IN 46070‐0243
STEVEN WALKER       430 JADE DR                                                                            LANSING            MI 48917‐3446
STEVEN WALKER       10086 LYNCH LN                                                                         BASTROP            LA 71220‐9746
STEVEN WALKOTTEN    6100 16TH AVE                                                                          HUDSONVILLE        MI 49426‐7449
STEVEN WALKUP       16 HIDDEN HARBOR LN                                                                    LAKE PLACID        FL 33852‐4900
STEVEN WALL         5214 WYNDEMERE CIR                                                                     SWARTZ CREEK       MI 48473‐8969
STEVEN WALL         5836 STATE ROAD 42                                                                     POLAND             IN 47868‐7416
STEVEN WALLACE      9420 POTTER RD                                                                         FLUSHING           MI 48433‐1955
STEVEN WALLACE      20591 EDGECLIFF DR                                                                     EUCLID             OH 44123‐1021
STEVEN WALLACE      9981 BRICK LANE DR                                                                     WHITMORE LAKE      MI 48189‐9639
STEVEN WALSH        14870 PATTERSON DR                                                                     SHELBY TWP         MI 48315‐4937
STEVEN WALSTROM     PO BOX 9651                                                                            BOWLING GREEN      KY 42102‐9651
STEVEN WALTERS      6351 WAGNER AVE                                                                        GRAND BLANC        MI 48439‐9115
STEVEN WALTERS      15968 TURNER RD                                                                        LANSING            MI 48906‐1142
STEVEN WALTERS      15968 TURNER ST.                                                                       LANSING            MI 48906
STEVEN WALTON       306 CARTER DR                                                                          TROY               MI 48098‐4611
STEVEN WARD         4117 CHALFONTE DR                                                                      DAYTON             OH 45440‐3220
STEVEN WARD         705 W PIERSON RD                                                                       FLUSHING           MI 48433‐2608
STEVEN WARD         8740 NORTH 169                                                                         MOORINGSPORT       LA 71060
STEVEN WASCHENSKY   3652 KLEMER RD                                                                         N TONAWANDA        NY 14120‐1218
STEVEN WASHINGTON   7556 DARBY RD                                                                          GOODLETTSVILLE     TN 37072‐9363
STEVEN WATTERS      8766 ROSSMAN HWY                                                                       DIMONDALE          MI 48821‐9631
STEVEN WEAVER       780 CUMBERLAND AVE SE                                                                  LOWELL             MI 49331‐9681
STEVEN WEBBER       11408 SUNSET DR                                                                        CLIO               MI 48420‐1559
STEVEN WEBER        253 N. SEMINARY ST. BOX 21                                                             ROANOKE            IN 46783
STEVEN WEBER        14994 SHADY LN                                                                         SHELBY TWP         MI 48315‐1674
STEVEN WEBER        1459 WESTLAWN ST                                                                       MOUNT CLEMENS      MI 48043‐6509
STEVEN WEBSTER      828 MICHIGAN AVE                                                                       SOUTH MILWAUKEE    WI 53172‐2647
STEVEN WEEDEN       40259 SADDLEWOOD DR                                                                    STERLING HTS       MI 48313‐5339
STEVEN WEILER       5253 DUFFIELD RD                                                                       SWARTZ CREEK       MI 48473‐8602
STEVEN WEILNAU      12114 ARLINGTON RD                                                                     BERLIN HTS         OH 44814‐9525
STEVEN WEINBERG     9020 SMITH RD                                                                          TECUMSEH           MI 49286‐9632
STEVEN WEINER       416 COKER VALLEY DR                                                                    KENNEDALE          TX 76060‐6020
STEVEN WELCH        3410 PHILLIPS RD                                                                       KINGSTON           MI 48741‐9539
STEVEN WELLMANN     2405 ADAIR CT                                                                          FRANKLIN           TN 37064‐4955
STEVEN WESLEY       3670 DELL RD                                                                           HOLT               MI 48842‐9405
STEVEN WESOLOSKI    600 WADE CT                                                                            ROCHESTER HILLS    MI 48307‐5067
STEVEN WESOLOWSKI   956 E ALAURA DR                                                                        ALDEN              NY 14004‐9524
STEVEN WEST         2081 BYRNES DR                                                                         CLIO               MI 48420‐9118
STEVEN WEST         619 HIGHWAY DD                                                                         DEFIANCE           MO 63341‐2003
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Name                   Address1                       Address2            Address3         Address4         City               State Zip
STEVEN WESTERBY        5770 LOU DR                                                                          WHITE LAKE          MI 48383‐1365
STEVEN WESTERMANN      5309 OLD VILLAGE RD                                                                  NASHVILLE           TN 37211‐7347
STEVEN WESTFALL        6504 WATCH HILL CT                                                                   ARLINGTON           TX 76002‐5553
STEVEN WESTHOFF        5910 BELLINGHAM LN                                                                   FORT WAYNE          IN 46835‐1255
STEVEN WESTLAKE        11500 NUEPORT DR W                                                                   WILLOW SPGS          IL 60480‐1003
STEVEN WESTMORELAND    3697 WINDING BROOK CIR                                                               ROCHESTER HILLS     MI 48309‐4734
STEVEN WESTRICK        4900 CHRISTY RD                                                                      DEFIANCE            OH 43512‐6751
STEVEN WETHERWAX       165 S OPDYKE RD LOT 23                                                               AUBURN HILLS        MI 48326‐3144
STEVEN WHEATON         9333 CHERRY ST                                                                       FOSTORIA            MI 48435‐9734
STEVEN WHEELER         6600 CLEVELAND AVE                                                                   KANSAS CITY         KS 66104‐2640
STEVEN WHEELOCK        11170 HASSLER WOODS TRL                                                              ALANSON             MI 49706‐8606
STEVEN WHITE           831 HIGHGROVE CIR                                                                    FRANKLIN            TN 37069‐4117
STEVEN WHITE           6362 LUCAS RD                                                                        FLINT               MI 48506‐1224
STEVEN WHITE           2820 STEVENSON ST                                                                    FLINT               MI 48504‐7513
STEVEN WHITE           1260 EASON                                                                           WATERFORD           MI 48328‐1204
STEVEN WHITED          6945 BUNCOMBE RD                                                                     SHREVEPORT          LA 71129‐9404
STEVEN WHITLOCK        118 ELIAS AVE                                                                        WEST MONROE         LA 71291‐7222
STEVEN WHITLOW         28 UPPER RESERVOIR RD                                                                NEW MILFORD         CT 06776‐3036
STEVEN WHITMAN         153 CALLIES WAY                                                                      BEREA               KY 40403
STEVEN WHITMORE        10 VOYAGER DR                                                                        SAINT PETERS        MO 63376‐4410
STEVEN WHITSON         PO BOX 28                                                                            LILLIAN             TX 76061‐0028
STEVEN WHITT           1772 CATTAIL MEADOWS DR                                                              WOODBINE            MD 21797‐7852
STEVEN WIBORN          1641 SCOUT RD                                                                        EATON RAPIDS        MI 48827‐9345
STEVEN WICKHAM         7202 HOLLISTER RD                                                                    LAINGSBURG          MI 48848‐9229
STEVEN WICKINGSON      11731 E SIX CORNERS RD                                                               WHITEWATER          WI 53190‐3506
STEVEN WIECZORKOWSKI   9021 CARLISLE AVE                                                                    BALTIMORE           MD 21236‐1823
STEVEN WIENCKOWSKI     43241 WESTVIEW DR                                                                    STERLING HEIGHTS    MI 48313‐2168
STEVEN WIENEKE         7603 MISTWOOD DR                                                                     WHITE LAKE          MI 48383‐3949
STEVEN WIESENAUER      70 KEVIN DR                                                                          ANDERSON            IN 46016‐5842
STEVEN WILCOX          1519 EAST FLORIAN AVENUE                                                             MESA                AZ 85204‐5111
STEVEN WILCOX          6041 ELLENDALE DR                                                                    LANSING             MI 48911‐5039
STEVEN WILDER          APT 522                        12037 JUNIPER WAY                                     GRAND BLANC         MI 48439‐2150
STEVEN WILHALME        96 ORCHARD ST                                                                        KEANSBURG           NJ 07734‐1942
STEVEN WILHITE         824 OVER RIDGE DR                                                                    GRAND PRAIRIE       TX 75052‐6478
STEVEN WILKINS         30545 BRENTWOOD ST                                                                   SOUTHFIELD          MI 48076‐1576
STEVEN WILLENBERG      315 DRIFTWOOD LN                                                                     SAINT PETERS        MO 63376‐7056
STEVEN WILLIAMS        1300 BRUIN LN                                                                        JANESVILLE          WI 53545‐7808
STEVEN WILLIAMS        380 HUNTINGTON CT                                                                    ROCHESTER HILLS     MI 48307‐3439
STEVEN WILLIAMS        3008 CLAAR AVE                                                                       KETTERING           OH 45429‐3432
STEVEN WILLIAMS        786 ROCKY CRK E                                                                      BEDFORD             IN 47421‐6580
STEVEN WILLIAMS        6920 E COUNTY ROAD 550 S                                                             MUNCIE              IN 47302‐8405
STEVEN WILLIAMS        8740 E CTY RD 200 S                                                                  GREENTOWN           IN 46936
STEVEN WILLIAMS        5187 BURKHARDT RD                                                                    DAYTON              OH 45431‐2072
STEVEN WILLIAMSON      4200 N NEW YORK AVE                                                                  MUNCIE              IN 47304‐1543
STEVEN WILLIS          1067 FAITH DR NE                                                                     TOWNSEND            GA 31331‐7731
STEVEN WILLOUGHBY      333 SENATOR DR                                                                       MIDDLETOWN          DE 19709‐8023
STEVEN WILSON          34281 CHERRY HILL RD                                                                 WESTLAND            MI 48186‐9214
STEVEN WILSON          320 KENT ST                                                                          PORTLAND            MI 48875‐1735
STEVEN WILSON          4231 FIVE POINTS RD                                                                  INDIANAPOLIS        IN 46239‐9611
STEVEN WILSON          54 OLD CARRIAGE LN                                                                   LAPEER              MI 48446‐4607
STEVEN WINELAND        4158 SLEIGHT RD                                                                      BATH                MI 48808‐9407
STEVEN WINK            38844 PARKVIEW DR                                                                    CLINTON TOWNSHIP    MI 48036‐3825
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Name                   Address1                             Address2                 Address3     Address4         City                 State Zip
STEVEN WINKLER         420 S ALLEN ST                                                                              BRYAN                 OH 43506‐2201
STEVEN WINN            31064 BEECHNUT ST                                                                           WESTLAND              MI 48186‐5092
STEVEN WISE            23598 POWERLINE RD                                                                          WARRENTON             MO 63383‐3836
STEVEN WITTE           10274 HILL RD                                                                               SWARTZ CREEK          MI 48473‐8584
STEVEN WITTENBACH      1218 N STATE RD                                                                             IONIA                 MI 48846
STEVEN WOGGERMON       9159 CHESTERFIELD DR                                                                        SWARTZ CREEK          MI 48473‐1121
STEVEN WOJCIECHOWSKI   7328 WILLIAMSON ST                                                                          DEARBORN              MI 48126‐1487
STEVEN WOLF            10404 BORGMAN AVE                                                                           BELLEVILLE            MI 48111‐1211
STEVEN WOLFE           1032 ELMSMERE DR                                                                            NORTHVILLE            MI 48167‐1065
STEVEN WOLFORTH        10271 SHARP RD                                                                              SWARTZ CREEK          MI 48473‐9156
STEVEN WOLK            19 BRISTOL PL                                                                               YONKERS               NY 10710‐1405
STEVEN WOOD            901 S SMITH RD                                                                              EATON RAPIDS          MI 48827‐9378
STEVEN WOODMAN         #B                                   209 NORTH METTS STREET                                 OSSIAN                IN 46777‐9702
STEVEN WOODRUFF        17346 N 200 E                                                                               SUMMITVILLE           IN 46070‐9144
STEVEN WOOLUM          5799 BAYSIDE DR                                                                             DAYTON                OH 45431‐2282
STEVEN WORDEN          816 EDISON RD                                                                               SAGINAW               MI 48604‐1117
STEVEN WORDEN          1077 CHRISTINE DR                                                                           LAPEER                MI 48446‐4213
STEVEN WORKMAN         214 HARLAN DRIVE                                                                            TROY                  MO 63379‐5716
STEVEN WORRALL         4550 BARBARA KAY                                                                            WHITE LAKE            MI 48383‐1277
STEVEN WORTHY          2691 ELDERBERRY DR                                                                          OKEMOS                MI 48864‐4602
STEVEN WREN            529 VANDERVEEN DR                                                                           MASON                 MI 48854‐1958
STEVEN WRIGHT          13780 SHAFTSBURG RD                                                                         PERRY                 MI 48872‐9131
STEVEN WRIGHT          4954 SAND CREEK HWY                                                                         ADRIAN                MI 49221‐9726
STEVEN WRIGHT          13277 WIND SPIRIT DR                                                                        GRAND LEDGE           MI 48837‐9326
STEVEN WRIGHT          1478 E CRANE POND DR                                                                        MARION                IN 46952‐9525
STEVEN WRIGHT          715 WHITNEY DR                                                                              ROCHESTER HILLS       MI 48307‐2865
STEVEN WRIGHT          6399 DERBY RD                                                                               APPLEGATE             MI 48401‐9781
STEVEN WRIGHT          307 SW GREEN TEAL ST                                                                        LEES SUMMIT           MO 64082‐4508
STEVEN WRIGHT          16241 STATE HIGHWAY 49                                                                      JEFFERSON             TX 75657‐5352
STEVEN WRIGHT          25 MOLER AVE                                                                                GERMANTOWN            OH 45327‐1254
STEVEN WRIGHT          11120 S 1100 E                                                                              UPLAND                IN 46989‐9742
STEVEN WRIGHT          541 HILL ST                                                                                 MIDDLETOWN            OH 45042‐1409
STEVEN WRIGHT          11770 BLOCK RD                                                                              BIRCH RUN             MI 48415‐9459
STEVEN WRONA           1055 WOODBINE RD                                                                            SAGINAW               MI 48609‐5247
STEVEN WRUBEL          1919 MELODY DR                                                                              HOLIDAY               FL 34691‐5426
STEVEN WSZOLEK         THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES        22ND FLOOR                    BALTIMORE             MD 21201

STEVEN WUKASCH
STEVEN WYBO            1145 KENSINGTON AVE                                                                         GROSSE POINTE PARK   MI   48230‐1404
STEVEN WYZLIC          12490 S US HIGHWAY 27                                                                       DEWITT               MI   48820‐8383
STEVEN YAKLIN          220 ARROWHEAD DR                                                                            PRUDENVILLE          MI   48651‐9570
STEVEN YANKOWSKI       111 JACKSON ST                                                                              SPRING HILL          TN   37174‐2647
STEVEN YARBROUGH       4014 COCHISE DR                                                                             BALCH SPRINGS        TX   75180‐2562
STEVEN YAW             158 LIBERTY ST BOX 311                                                                      SARANAC              MI   48881
STEVEN YENKEL          22200 SAMUEL ST                                                                             TAYLOR               MI   48180‐2792
STEVEN YERBY           10648 BONIFACE PTE DR                                                                       PLAINWELL            MI   49080
STEVEN YERXA           1052 CAMPBELLSVILLE PIKE                                                                    LYNNVILLE            TN   38472‐8003
STEVEN YOCUM           2287 MEADOW CT                                                                              ADDISON TOWNSHIP     MI   48367‐3434
STEVEN YOUNG           24389 ROUGECREST RD                                                                         SOUTHFIELD           MI   48033‐2836
STEVEN YOUNG           2134 N MAIN ST                                                                              FAIRGROVE            MI   48733‐9570
STEVEN YOUNG           2005 ROOSEVELT AVE                                                                          JANESVILLE           WI   53546‐5972
STEVEN YOUNG           1860 WYBOO AVE                                                                              MANNING              SC   29102‐7832
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Name                                 Address1                           Address2                          Address3   Address4              City               State Zip
STEVEN YOUNG SR                      66 WILDFLOWER DR                                                                                      ROCHESTER           NY 14623‐4323
STEVEN YUCHASZ                       8502 RIDGE RD                                                                                         GOODRICH            MI 48438‐9441
STEVEN ZABEL                         1496 W WESTGATE AVE                                                                                   COLUMBIA CITY       IN 46725‐8727
STEVEN ZAKS                          PO BOX 53                                                                                             GULF BREEZE         FL 32562
STEVEN ZALESKI                       9771 OAK GROVE RD                                                                                     HOWELL              MI 48855‐9520
STEVEN ZANECKI                       890 N PEMBERTON RD                                                                                    BLOOMFIELD HILLS    MI 48302‐1441
STEVEN ZECHIEL                       119 VILLAGE WAY                                                                                       CANTON              MI 48188‐3449
STEVEN ZEDLER                        3515 CAMPBELLSVILLE PIKE                                                                              COLUMBIA            TN 38401‐8633
STEVEN ZEIGLER                       259 MECCA DRIVE                                                                                       PINCKNEY            MI 48169
STEVEN ZIEBA                         10526 LEHRING RD                                                                                      BYRON               MI 48418‐9117
STEVEN ZIELINSKI                     12411 STANLEY RD                                                                                      FLUSHING            MI 48433‐9206
STEVEN ZIEMKE                        5618 FIRWOOD DR                                                                                       TROY                MI 48098‐2511
STEVEN ZOLLA                         7672 HUNTINGTON DR                                                                                    BOARDMAN            OH 44512‐4035
STEVEN ZYERS                         412 DEER CLIFF RUN                                                                                    FORT WAYNE          IN 46804‐3572
STEVEN ZYWICKI                       457 UPPER ALSUP RD                                                                                    TENNESSEE RIDGE     TN 37178‐6011
STEVEN, ALLAN C                      7657 SALTER CT                                                                                        TEMPERANCE          MI 48182‐9227
STEVEN, GERALD L                     10451 NW ROYAL ROSE CT                                                                                PORTLAND            OR 97229‐5269
STEVEN, KAREN ELAINE MOWAD
STEVEN, NORMA J                      4233 GREEN DR                                                                                         HARSENS ISLAND     MI   48028‐9632
STEVEN, RICHARD J                    49 GOSLING CIR E                                                                                      HENDERSONVILLE     NC   28792‐7227
STEVEN, SHIRLEY                      1313 E I65 SERVICE RD S                                                                               MOBILE             AL   36606‐3104
STEVENER, KEITH E                    3647 KLEMER RD                                                                                        N TONAWANDA        NY   14120‐1217
STEVENS & LEE PC                     111 N 6TH ST                                                                                          READING            PA   19601‐3501
STEVENS 5‐STAR CAR & TRUCK CENTER    545 N 25 MILE AVE                                                                                     HEREFORD           TX   79045‐3003
STEVENS A ESTATE OF                  C/O STEVENS CAROLYN                800 W NORTHWOOD ST                                                 GREENSBORO         NC   27408‐7425
STEVENS AIR TRANSPORT INC            PO BOX 88262                                                                                          LOS ANGELES        CA   90009‐8262
STEVENS ALAN & CHERYL                2859 GRANDVIEW RD                                                                                     LAKE MILTON        OH   44429‐9778
STEVENS AMBER                        STEVENS, AMBER                     51 ST JOSEPH STREET P O BOX 894                                    MOBILE             AL   36602
STEVENS AMBER                        STEVENS, GLENN                     51 ST JOSEPH STREET P O BOX 894                                    MOBILE             AL   36602
STEVENS AMBER                        STEVENS, SHERRIE                   51 ST JOSEPH STREET P O BOX 894                                    MOBILE             AL   36602
STEVENS AUTO ELECTRIC                591 MAIN ST. W                                                                  GRIMSBY ON L3M 1V1
                                                                                                                     CANADA
STEVENS AUTO/RYL OAK                 26026 WOODWARD AVE                                                                                    ROYAL OAK          MI 48067‐0914
STEVENS BARARA E                     STEVENS, BARBARA E
STEVENS BOBBY                        3223 SMITH RD                                                                                         FORTSON            GA 31808‐2703
STEVENS CHEVROLET COMPANY            475 W KY DR                                                                                           LA CENTER          KY 42056
STEVENS CHEVROLET‐OLDSMOBILE, LTD.   GERALD STEVENS                     545 N 25 MILE AVE                                                  HEREFORD           TX 79045‐3003

STEVENS CO LTD, THE                  425 RAILSIDE DR                                                                 BRAMPTON ON L7A 0N8
                                                                                                                     CANADA
STEVENS COMPANY LTD
STEVENS COUNTY TREASURER             200 EAST SIXTH                                                                                        HUGOTON            KS   67951
STEVENS COUNTY TREASURER             215 S OAK ST STE 103                                                                                  COLVILLE           WA   99114‐2836
STEVENS CREEK BUICK PONTIAC GMC      203 SE PARK PLAZA DR STE 290                                                                          VANCOUVER          WA   98684‐3401
STEVENS CREEK BUICK‐PONTIAC‐GMC.     203 SE PARK PLAZA DR STE 290                                                                          VANCOUVER          WA   98584‐3401
STEVENS CREEK CADILLAC, INC.         B. SCOTT SMITH                     3737 STEVENS CREEK BLVD                                            SANTA CLARA        CA   95051‐7336
STEVENS DANIEL                       STEVENS, DANIEL                    2310 40TH AVE SE                                                   ROCHESTER          MN   55904‐2728
STEVENS DAVID                        22538 MARKET SQUARE LN                                                                                KATY               TX   77449‐2714
STEVENS DONALD                       STEVENS, DONALD                    5583 WILLOW CHASE CIR                                              SPRINGFIELD        OH   45502‐8351
STEVENS DWIGHT                       3323 ECHO DELLS AVE                                                                                   STEVENS POINT      WI   54481‐5118
STEVENS FOX                          33441 ROSSLYN AVE                                                                                     GARDEN CITY        MI   48135‐1065
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Name                                Address1                         Address2                        Address3      Address4         City             State Zip
STEVENS FRANCIS J II (429877)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK           VA 23510
                                                                     STREET, SUITE 600
STEVENS FRANKLIN JR                 DBA STEVENS FENCE CO             13206 N SAGINAW RD                                             CLIO             MI   48420‐1010
STEVENS GAYLORD (442328)            DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                                NORTH OLMSTED    OH   44070
STEVENS GREG                        12601 RATTALEE LAKE RD                                                                          DAVISBURG        MI   48350‐1228
STEVENS GROUP INC                   PO BOX 71233                                                                                    DURHAM           NC   27722‐1233
STEVENS HUBERT E (472176)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA   23510
                                                                     STREET, SUITE 600
STEVENS II, DEAN A                  3274 E COUNTY ROAD 100 N                                                                        DANVILLE         IN 46122‐9544
STEVENS III, CHARLES K              PO BOX 9022                                                                                     WARREN           MI 48090‐9022
STEVENS J KENNETH (498338)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA 23510
                                                                     STREET, SUITE 600
STEVENS JACOB (400730)              ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                            NEW YORK         NY   10006‐1638
STEVENS JAMES J                     PO BOX 253                                                                                      STORMVILLE       NY   12582‐0253
STEVENS JOAN                        605 E CLAY ST                                                                                   MOUNT PLEASANT   IA   52641‐2328
STEVENS JOHN (ESTATE OF) (657777)   OBRIEN LAW FIRM                  1 METROPOLITAN SQ STE 1500                                     SAINT LOUIS      MO   63102‐2799
STEVENS JOSEPH LEON                 1145 BONE RD                                                                                    FENTON           MI   48430‐8507
STEVENS JOY                         789 WHITEHEAD LN                                                                                JACKSON          AL   36545‐9351
STEVENS JOY                         STEVENS, JOY                     NATIONWIDE                      PO BOX 2655                    HARRISBURG       PA   17105
STEVENS JR, BURROWES G              8773 KENBERTON DRIVE                                                                            OAK PARK         MI   48237‐1790
STEVENS JR, CHALMER J               104 WEEPING WILLOW RD                                                                           EAGLE LAKE       FL   33839‐5118
STEVENS JR, CHARLES E               1210 LITTLEPAGE ST                                                                              FREDERICKSBRG    VA   22401‐4729
STEVENS JR, CHARLES H               7116 POTTERS RD                                                                                 MATTHEWS         NC   28104‐6006
STEVENS JR, CHARLES K               4111 STONEBRIDGE                                                                                HOLLY            MI   48442‐9531
STEVENS JR, DELL                    140 ELDER DR                                                                                    WILMINGTON       NC   28405‐8431
STEVENS JR, FREDERICK               419 STUART CIR                                                                                  ANDERSON         IN   46012‐3860
STEVENS JR, FREDERICK L.            419 STUART CIR                                                                                  ANDERSON         IN   46012‐3860
STEVENS JR, GEORGE F                6730 S STATE ROAD 67                                                                            PENDLETON        IN   46064‐9002
STEVENS JR, HARRY W                 2119 WAR MAC DR                                                                                 CLOVERDALE       IN   46120‐8078
STEVENS JR, JAMES A                 BX 1055POCKET RD                                                                                BRASELTON        GA   30517
STEVENS JR, JAMES F                 1418 CRYSTAL ST                                                                                 ANDERSON         IN   46012‐2503
STEVENS JR, LAFAYETTE               508 W 39TH ST                                                                                   WILMINGTON       DE   19802‐2118
STEVENS JR, LOISEY                  7409 RED FOX TRL                                                                                SHREVEPORT       LA   71129‐3518
STEVENS JR, MOSES                   2316 SHADOWOOD DR                                                                               ANN ARBOR        MI   48108‐2546
STEVENS JR, MOSES                   1634 LAUREL BAY DR                                                                              YPSILANTI        MI   46198‐6494
STEVENS JR, ROBERT F                10729 WHIPPOORWILL LN                                                                           INDIANAPOLIS     IN   46231‐1010
STEVENS KEN                         STEVENS, KEN                     1617 AMBERLEA DR                                               SOUTH DUNEDIN    FL   43698
STEVENS LARRY D                     2444 CHERYL ANN DRIVE                                                                           BURTON           MI   48519‐1362
STEVENS LINDEN & RUTH               2848 GRANDVIEW RD                                                                               LAKE MILTON      OH   44429‐9778
STEVENS LOWELL E (345123)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA   23510
                                                                     STREET, SUITE 600
STEVENS MARILYN ESTATE OF           C/O‐ ADAMS BANK                  PO BOX 720                                                     OGALLALA         NE   69153‐0720
STEVENS MARTHA                      3444 SPRINGMOOR CIRCLE                                                                          RALEIGH          NC   27615‐5706
STEVENS MARYBETH                    PO BOX 6148                                                                                     SCHENECTADY      NY   12306‐0148
STEVENS MELISSA                     STEVENS, MELISSA                 607 7TH STREET                                                 JACKSON          MI   49203‐1652
STEVENS MICHAEL AND TAMARA AND      ALEX SIMANOVSKY AND ASSOCIATES   2300 HENDERSON MILL RD NE STE                                  ATLANTA          GA   30345‐2704
                                                                     300
STEVENS MICHELLE                    STEVENS, MICHELLE                29 OAK HILL LANE                                               ANNISTON         AL 36201
STEVENS PAINTON CORPORATION         JACK DELUCA                      14470 YORK RD                                                  NORTH ROYALTON   OH 44133‐4502
STEVENS PHLIBERT W (410457)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA 23510
                                                                     STREET, SUITE 600
STEVENS RANDALL F                   8401 OAK SHADE CT                                                                               DAVISON          MI 48423‐2106
                              09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                          Address1                              Address2                       Address3   Address4         City              State Zip
STEVENS RAYFORD               23269 PARK PLACE DR                                                                              SOUTHFIELD         MI 48033‐2667
STEVENS ROBERT L (477855)     GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH         PA 15219

STEVENS RODNEY                DBA STEVENS EQUIPMENT                 PO BOX 14782                                               PORTLAND          OR   97293‐0782
STEVENS ROGER                 1516 KINGS BRIDGE RD                                                                             GRAND BLANC       MI   48439‐8713
STEVENS ROSE                  PO BOX 7212                                                                                      TIFTON            GA   31793‐7212
STEVENS SERVICE CENTER        800 HIGHWAY 80                                                                                   VICKSBURG         MS   39180‐7724
STEVENS SERVICES              326 TIMBER DR                                                                                    COLOMA            MI   49038‐9708
STEVENS SHANA                 12602 EAST MAINSGATE STREET                                                                      WICHITA           KS   67226‐4556
STEVENS SR, JAMES J           3567 WHEATLEYS POND RD                                                                           SMYRNA            DE   19977‐3742
STEVENS SR, MARK CHRISTOPHE   111 E FORAKER ST                                                                                 DAYTON            OH   45409‐2920
STEVENS SR., RUSSELL L        6080 E ATHERTON RD                                                                               BURTON            MI   48519‐1602
STEVENS THOMAS                1741 TAMARACK ST                                                                                 HIDDEN VALLEY     CA   91361‐1853
STEVENS TRUCKING              KEN NORTHROUP                         PO BOX 19608                                               OKLAHOMA CITY     OK   73144‐0608
STEVENS VAN LINES INC         527 W MORLEY DR                       P O BOX 3276                                               SAGINAW           MI   48601‐9485
STEVENS VO (507820)           LEBLANC & WADDELL                     5353 ESSEN LN STE 420                                      BATON ROUGE       LA   70809‐0500
STEVENS WILLARD C (344440)    GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510
                                                                    STREET, SUITE 600
STEVENS WILLIAM T (439543)    GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA 23510
                                                                    STREET, SUITE 600
STEVENS WILLIE P (429878)     GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA 23510
                                                                    STREET, SUITE 600
STEVENS WIRE PRODUCT          351 NW F ST                                                                                      RICHMOND          IN   47374‐2229
STEVENS, ADDISON G            3113 PEEL RD                                                                                     BURLINGTON        KY   41005‐8736
STEVENS, ALAN F               8285 CHAIN LAKE RD                                                                               SOUTH BRANCH      MI   48761‐9604
STEVENS, ALAN L               3337 S BELSAY RD                                                                                 BURTON            MI   48519‐1623
STEVENS, ALAN LEE             3337 S BELSAY RD                                                                                 BURTON            MI   48519‐1623
STEVENS, ALBERT C             3347 S BELSAY RD                                                                                 BURTON            MI   48519‐1623
STEVENS, ALFRED S             1010 QUARRY ST                                                                                   GALLITZIN         PA   16641‐1128
STEVENS, ALMA                 1440 S INDIANA #205                                                                              CHICAGO           IL   60605‐2828
STEVENS, ALMA J               543 SMITH AVE 1A                                                                                 XENIA             OH   45385
STEVENS, ALVIN M              430 HAGUE ST                                                                                     DETROIT           MI   48202
STEVENS, AMBER                TAYLOR MARTINO PC                     PO BOX 894                                                 MOBILE            AL   36601‐0894
STEVENS, ANDREA J             213 POINTERS RUN                                                                                 ENGLEWOOD         OH   45322
STEVENS, ANGELA
STEVENS, ANN                  25046 STANFORD                                                                                   DEARBORN HTS      MI 48125‐1624
STEVENS, ANNA M               735 MILL ST                                                                                      TIPTON            IN 46072‐1055
STEVENS, ANNE
STEVENS, ANTHONY              6322 HOLIDAY HILLS CT                                                                            BEDFORD HEIGHTS   OH   44146‐3159
STEVENS, ANTHONY              17811 HOOVER ST                                                                                  DETROIT           MI   48205‐3117
STEVENS, ANTHONY D            1322 MEADOWOOD CIR                                                                               POLAND            OH   44514‐3291
STEVENS, ANTHONY H            3421 GLEN ABBY CT                                                                                STOCKTON          CA   95219‐1809
STEVENS, ANTHONY L            8354 FRANKLIN MADISON RD                                                                         FRANKLIN          OH   45005‐3227
STEVENS, ARLENE               722 ETON CT                                                                                      ROCHESTER HILLS   MI   48307‐4529
STEVENS, ARNOLD E             8300 RUSTIC TRL                                                                                  LINDEN            MI   48451‐9752
STEVENS, BARBARA              1851 BRADFORD ST                                                                                 PLAINFIELD        NJ   07063‐1035
STEVENS, BARBARA A            1600 S FARRAGUT ST                                                                               BAY CITY          MI   48708‐8049
STEVENS, BARBARA A            10777 SHAFTSBURG RD                                                                              LAINGSBURG        MI   48848‐8775
STEVENS, BARBARA A            528 FERNDALE AVE                                                                                 YOUNGSTOWN        OH   44511‐4511
STEVENS, BARBARA E            4218 CAMARGO DR                       APT J                                                      DAYTON            OH   45415‐5415
STEVENS, BARBARA E            485 ORCHARD LAKE RD                                                                              PONTIAC           MI   48341‐2150
STEVENS, BARBARA E            4346 RIVERSIDE DR APT B1                                                                         DAYTON            OH   45405‐1345
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Name                            Address1                             Address2                        Address3     Address4         City                State Zip
STEVENS, BARBARA E              796 ROCK SPRING RD                                                                                 BLOOMFIELD HILLS     MI 48304‐3138
STEVENS, BARBARA J              745 INDIAN CHURCH RD APT 107                                                                       WEST SENECA          NY 14224‐1260
STEVENS, BARBARA J              316 N DODD ST                                                                                      CLAYTON              NC 27520‐1708
STEVENS, BARBARA J              629 CATHERINE ST                                                                                   SAGINAW              MI 48602
STEVENS, BARBARA S              63 HERITAGE LN                                                                                     STAMFORD             CT 06903‐2311
STEVENS, BEATRICE M             9450 ROUND LAKE ROAD                                                                               LAINGSBURG           MI 48848‐9492
STEVENS, BENJAMIN C             2889 COLLINGWOOD DR                                                                                BAY CITY             MI 48706‐1508
STEVENS, BERINDA F              15613 DUPAGE BLVD                                                                                  TAYLOR               MI 48180‐6025
STEVENS, BERNARD A. AND JOY T   C/O NATIONWIDE PROPERTY & CASUALTY   ATTN: LYNN ELLIS                PO BOX 730                    LIVERPOOL            NY 13088‐0730
                                INSURANCE CO.
STEVENS, BERTRAM A              107 E BABB RD                                                                                      EATON               IN   47338‐8807
STEVENS, BETTY                  3985 COOPER RD                                                                                     STOCKBRIDGE         MI   49285‐9638
STEVENS, BETTY                  4122 RANDOLPH ST                                                                                   WAYNE               MI   48184‐1525
STEVENS, BETTY D                1040 SHUMARD LN                                                                                    MCDONOUGH           GA   30252‐4181
STEVENS, BETTY D                1040 SHUMARD LANE                                                                                  MCDONOUGH           GA   30252‐4181
STEVENS, BETTY J                3847 LAKE BAYSHORE DR                APT F104                                                      BRADENTON           FL   34205
STEVENS, BETTY L                4220 CHRISTIANA PARRAN ROAD                                                                        CHESAPEAK BCH       MD   20732‐4032
STEVENS, BETTY M                1210 W JEFFERSON ST                                                                                KOKOMO              IN   46901‐4341
STEVENS, BILLY N                1534 VERONA PITSBURG RD                                                                            ARCANUM             OH   45304‐9618
STEVENS, BLANCHE H              732 BELZER DR                                                                                      ANDERSON            IN   46011‐2002
STEVENS, BLANCHE J              4550 N LINDBERG                                                                                    BRIDGETON           MO   63044‐2201
STEVENS, BOB                    SUTTER & ENSLEIN                     1598 KANAWHA BLVD EAST, SUITE                                 CHARLESTON          WV   25311
                                                                     200
STEVENS, BONITA                 GREENE & REID                        173 INTREPID LN                                               SYRACUSE            NY   13205‐2550
STEVENS, BRADLEY H              4315 CROSBY RD                                                                                     FLINT               MI   48506‐1415
STEVENS, BRENDA J               1721 DEAUVILLE CT                                                                                  FORT WORTH          TX   76112‐3706
STEVENS, BRENT L                2894 WEST MERCER LANE                                                                              PENDLETON           IN   46064‐9313
STEVENS, BRENT LEE              2894 WEST MERCER LANE                                                                              PENDLETON           IN   46064‐9313
STEVENS, BRIAN D                2360 BELLE GLADE CT                                                                                FENTON              MI   48430‐9718
STEVENS, BRIAN E                195 TRACY RD                                                                                       MARSHALL            TX   75672‐9511
STEVENS, BRUCE G                312 GOLFVIEW LN                                                                                    ELK RAPIDS          MI   49629‐9566
STEVENS, BRUCE W                1652 N 9 MILE RD                                                                                   SANFORD             MI   48657‐9729
STEVENS, BUDDY                  108 WILKSHIRE PL                                                                                   HOT SPRINGS         AR   71913‐5605
STEVENS, C J                    10341 DAR LANE                                                                                     GOODRICH            MI   48438‐9405
STEVENS, CARL L                 1306 HILLSIDE DR                                                                                   COLUMBIAVILLE       MI   48421‐9741
STEVENS, CARMEN E               1018 STATE ST                                                                                      BRIGHTON            MI   48116‐1343
STEVENS, CAROL G                650 POLVADERA ST                                                                                   COMMERCE TOWNSHIP   MI   48382‐3948
STEVENS, CAROL J                1155 E MAIN ST                                                                                     LOWELL              MI   49331‐1763
STEVENS, CAROLYN L              10351 COLBY LAKE RD                                                                                PERRY               MI   48872‐9742
STEVENS, CAROLYN M              7299 S IVANHOE CT                                                                                  CENTENNIAL          CO   80112‐1504
STEVENS, CAROLYN S              1963 PLAYER PL                                                                                     KOKOMO              IN   46902‐5080
STEVENS, CAROLYN S              1963 PLAYER PLACE                                                                                  KOKOMO              IN   46902‐5080
STEVENS, CARROLL A              10611 ORANGE GROVE DR                                                                              TAMPA               FL   33618‐3938
STEVENS, CECELIA A              6520 BALSAM DRIVE                    APT 103                                                       HUDSONVILLE         MI   49426
STEVENS, CECELIA A              APT 103                              6520 BALSAM DRIVE                                             HUDSONVILLE         MI   49426‐9207
STEVENS, CHAD D                 1566 LA SALLE CT                                                                                   JANESVILLE          WI   53546‐2454
STEVENS, CHADWICK A             5259 S MOUNT HOPE RD                                                                               CARSON CITY         MI   48811‐9505
STEVENS, CHARLENE E             3649 HANEY RD                                                                                      DAYTON              OH   45416‐2009
STEVENS, CHARLES                8869 HARTWELL ST                                                                                   DETROIT             MI   48228‐2531
STEVENS, CHARLES A              2940 BATES CT                                                                                      TRENTON             MI   48183‐3537
STEVENS, CHARLES D              4661 RATHBURN DR                                                                                   ENGLEWOOD           OH   45322‐3721
STEVENS, CHARLES D              4661 RATHBURN                                                                                      ENGLEWOOD           OH   45322‐3721
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Name                     Address1                         Address2                        Address3   Address4         City               State Zip
STEVENS, CHARLES E       3731 KROES ST NE                                                                             ROCKFORD            MI 49341‐7700
STEVENS, CHARLES E       1102 N PENNSYLVANIA AVE                                                                      ROSWELL             NM 88201‐5047
STEVENS, CHARLES F       7151 E 52ND ST                                                                               INDIANAPOLIS        IN 46226‐2725
STEVENS, CHARLES H       120 HICKORY RD                                                                               SNEADS FERRY        NC 28460‐6577
STEVENS, CHARLES H       PO BOX 202                                                                                   UNION PIER          MI 49129‐0202
STEVENS, CHARLES R       SUMMERS MCDONNELL HUDOCK GUTHRIE 707 GRANT ST STE 2400                                       PITTSBURGH          PA 15219‐1931
                         & SKEEL
STEVENS, CHARLES R       460 UTAH AVE                                                                                 MC DONALD          OH    44437‐1522
STEVENS, CHARLOTTE M     6319 CHICKASAW                                                                               FLINT              MI    48506‐1102
STEVENS, CHESTER T       1301 MACKINTOSH CIRCLE                                                                       TROTWOOD           OH    45426‐5426
STEVENS, CHESTER T       1301 MACINTOSH CIR                                                                           TROTWOOD           OH    45426‐5008
STEVENS, CHITRA          1539 ST RT 314 N. RR 13                                                                      MANSFIELD          OH    44903
STEVENS, CHRISTINE A     5085 15TH AVE                                                                                SEARS              MI    49679‐8161
STEVENS, CHRISTOPHER C   2958 HALL ST SE SOUTH                                                                        GRAND RAPIDS       MI    49506
STEVENS, CHRYSTAL A      6482 WASHBURN RD                                                                             VASSAR             MI    48768‐9534
STEVENS, CLARA E         843 SEIBERT AVENUE                                                                           MIAMISBURG         OH    45342‐3039
STEVENS, CLARE E         411 WOLF LAKE RD                                                                             BROOKLYN           MI    49230‐9207
STEVENS, CLARENCE E      SUTTER & ENSLEIN                 1598 KANAWHA BLVD EAST, SUITE                               CHARLESTON         WV    25311
                                                          200
STEVENS, CLARENCE E      9697 SOUTH AVE EXT                                                                           POLAND             OH    44514
STEVENS, CLAUDE          3003 CLARENDON ST                                                                            FLINT              MI    48504‐4402
STEVENS, CLIFFORD        JOYE LAW FIRM                    5861 RIVERS AVE STE 101                                     NORTH CHARLESTON   SC    29406‐6044
STEVENS, CLYDE B         7147 KESSLING ST                                                                             DAVISON            MI    48423‐2445
STEVENS, CLYDE J         3100 VIEWMONT CT                                                                             EDMOND             OK    73003‐2138
STEVENS, COLLIN T        1702 WOODLIN DR                                                                              FLINT              MI    48504‐3603
STEVENS, CONNIE J.       4024 INFIRMARY RD                                                                            MIAMISBURG         OH    45342‐1226
STEVENS, CORNELIA S      802 WHITLEY CT                                                                               KENNEDALE          TX    76060‐5499
STEVENS, CUC T           16909 WILLOW WOOD DR                                                                         STRONGSVILLE       OH    44136‐7535
STEVENS, CUC THI         16909 WILLOW WOOD DR                                                                         STRONGSVILLE       OH    44136‐7535
STEVENS, CURTIS L        732 BELZER DR                                                                                ANDERSON           IN    46011‐2002
STEVENS, DALE A          5952 MERLE ST                                                                                TOLEDO             OH    43623‐1145
STEVENS, DALE AULTMAN    5952 MERLE ST                                                                                TOLEDO             OH    43623‐1145
STEVENS, DALE K          200 N 1ST ST                                                                                 TRENTON            OH    45067‐1366
STEVENS, DALE L          10351 COLBY LAKE RD                                                                          PERRY              MI    48872‐9742
STEVENS, DANIEL          2310 40TH AVE SE                                                                             ROCHESTER          MN    55904‐2728
STEVENS, DANIEL C        2245 MOUNT FOREST RD                                                                         BENTLEY            MI    48613‐9651
STEVENS, DANIEL K        6150 S GLENN FRST SOUTHWEST                                                                  MABLETON           GA    30126‐4816
STEVENS, DANNY G         739 ASPEN DR                                                                                 TIPP CITY          OH    45371‐2785
STEVENS, DANNY G         739 ASPEN DRIVE                                                                              TIPP CITY          OH    45371‐5371
STEVENS, DARRELL D       10056 N JENNINGS RD                                                                          CLIO               MI    48420‐2501
STEVENS, DARWIN A        11067 DARLING RD                                                                             SOUTH WALES        NY    14139‐9713
STEVENS, DAVID
STEVENS, DAVID           LEE J ROHN                        11010 KING STREET SUIT 2                                   ST CROIX            VI   00820
                                                           CHRISTIANSTED
STEVENS, DAVID A         5128 BERNEDA DR                                                                              FLINT              MI    48506‐1588
STEVENS, DAVID C         23 WENDRON CIR                                                                               BELLA VISTA        AR    72714‐3813
STEVENS, DAVID C         PO BOX 3814                                                                                  SAN DIMAS          CA    91773‐7814
STEVENS, DAVID E         3069 LAKE ROAD NORTH                                                                         BROCKPORT          NY    14420‐9414
STEVENS, DAVID E         3112 SUDBURY DRIVE                                                                           KETTERING          OH    45420‐5420
STEVENS, DAVID E         3069 LAKE RD N                                                                               BROCKPORT          NY    14420‐9414
STEVENS, DAVID J         2058 LAKEVIEW DR                                                                             LAPEER             MI    48446‐8084
STEVENS, DAVID J         PO BOX 461                                                                                   FAIRVIEW           TN    37062‐0461
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STEVENS, DAVID JOHN      2058 LAKEVIEW DR                                                                       LAPEER              MI 48446‐8084
STEVENS, DAVID L         7647 ANDREW TURN                                                                       PLAINFIELD          IN 46168‐9384
STEVENS, DAVID L         6621 US HIGHWAY 80 E                                                                   MARSHALL            TX 75672‐3387
STEVENS, DAVID N         947 QUINCY DR                                                                          HAMILTON            OH 45013‐5917
STEVENS, DAVID N.        947 QUINCY DR                                                                          HAMILTON            OH 45013‐5917
STEVENS, DAVID P         10316 STANLEY RD                                                                       FLUSHING            MI 48433‐9247
STEVENS, DAVID R         1681 GRAY ROAD                                                                         LAPEER              MI 48446‐7795
STEVENS, DAVID R         PO BOX 65                       201 N MAIN ST                                          HOLT                MO 64048‐0065
STEVENS, DAVID RUSSELL   1681 GRAY ROAD                                                                         LAPEER              MI 48446‐7795
STEVENS, DAVID W         1289 MENDON RD                                                                         ATHENS              MI 49011‐9503
STEVENS, DAVID W         8398 LOWER LAKE RD                                                                     BARKER              NY 14012‐9506
STEVENS, DEBORAH A       112 RIDGE POINT                                                                        GREENWOOD           SC 29649‐8765
STEVENS, DELORES D       1364 W 450 N                                                                           KOKOMO              IN 46901‐9158
STEVENS, DELORES M       2404 S DYE RD                                                                          FLINT               MI 48532‐4153
STEVENS, DELORES S       PO BOX 494                                                                             CORTLAND            OH 44410‐0494
STEVENS, DELTAS L        5331 OVERBROOK DR                                                                      MILTON              FL 32570‐4103
STEVENS, DENISE C        3380 LEVEE ST                                                                          WATERFORD           MI 48329‐2248
STEVENS, DENNIS E        4407 ANDRUS RD                                                                         HASTINGS            MI 49058‐9436
STEVENS, DENNIS E        1764 WILLOW LAKE LN                                                                    SAN JOSE            CA 95131‐3544
STEVENS, DENNIS L        8286 VINTON AVE NW                                                                     SPARTA              MI 49345‐9396
STEVENS, DENNIS R        8877 DIXON RD                                                                          MONROE              MI 48161‐9660
STEVENS, DERETHA L       2801 CAMBRON ST                                                                        GADSDEN             AL 35904‐4515
STEVENS, DIANNA L        APT 305                         5825 CROSSINGS BOULEVARD                               ANTIOCH             TN 37013‐3194
STEVENS, DIANNA L        5825 CROSSINGS BLVD APT 305                                                            ANTIOCH             TN 37013‐3194
STEVENS, DIANNE S        4363 SPRINGFIELD ST                                                                    BURTON              MI 48509‐1841
STEVENS, DOLORES A       1414 DELAWARE AVE                                                                      FLINT               MI 48506‐3318
STEVENS, DON J           1356 WAYBURN ST                                                                        GROSSE POINTE       MI 48230‐1071
STEVENS, DONALD          2648 MCALPINE DR                                                                       WARREN              MI 48092‐1842
STEVENS, DONALD          5583 WILLOW CHASE CIR                                                                  SPRINGFIELD         OH 45502‐8351
STEVENS, DONALD          6281 SEA GRASS LN                                                                      NAPLES              FL 34116‐5435
STEVENS, DONALD          5138 N COUNTY ROAD 90 E                                                                ORLEANS             IN 47452‐9721
STEVENS, DONALD A        BOX 403 375 BAY STREET                                                                 WILSON              NY 14172
STEVENS, DONALD D        11854 S MORRICE RD                                                                     MORRICE             MI 48857‐9786
STEVENS, DONALD E        1340 HIGHLAND COVE DR                                                                  BEAVERTON           MI 48612
STEVENS, DONALD G        221 S ROCK RD                                                                          MANSFIELD           OH 44903‐8963
STEVENS, DONALD R        4016 CAROLINA DR # 1                                                                   ANDERSON            IN 46013‐2476
STEVENS, DONALD R        6516 KINGS POINTE RD                                                                   GRAND BLANC         MI 48439‐8711
STEVENS, DONALD R        922 ROMENCE RD                                                                         PORTAGE             MI 49024‐3454
STEVENS, DONNA L         31 VINE ST APT B                                                                       NEWTON FALLS        OH 44444‐1381
STEVENS, DONNA R         1975 HYDE SHAFFER RD                                                                   BRISTOLVILLE        OH 44402‐9707
STEVENS, DORA H          24 NORTH DR                                                                            MIAMISBURG          OH 45342‐3131
STEVENS, DORIS M         3044 RIDGELAWN DR                                                                      CLIO                MI 48420‐9718
STEVENS, DOROTHY L       4575 E STRANGE HWY                                                                     GRAND LEDGE         MI 48837‐9429
STEVENS, DOUGLAS B       95451 BERMUDA DR                                                                       FERNANDINA BEACH    FL 32034‐8784
STEVENS, DOUGLAS C       11417 V.F.W. RD                                                                        EATON RAPIDS        MI 48827
STEVENS, DOUGLAS G       2906 BRANDON ST                                                                        FLINT               MI 48503‐3453
STEVENS, DOW O           3424 HARDWAY LN                                                                        SPRING HILL         TN 37174‐5123
STEVENS, DRUCIE E        1352 WHEELER RD                                                                        BERLIN              MI 48002‐3104
STEVENS, DUANE K         1432 E BARNES LAKE RD                                                                  COLUMBIAVILLE       MI 48421‐9742
STEVENS, DUSTIN H        147 S LAKE DR                                                                          COLUMBIAVILLE       MI 48421‐9714
STEVENS, DUSTIN HERMAN   147 S LAKE DR                                                                          COLUMBIAVILLE       MI 48421‐9714
STEVENS, EARL E          11530 CENTERLINE RD                                                                    ONAWAY              MI 49765‐9121
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Name                      Address1                           Address2                        Address3   Address4         City            State Zip
STEVENS, EDDIE M          4009 LONGTIN AVE                                                                               LINCOLN PARK     MI 48146‐3765
STEVENS, EDITH I          20 IRWIN AVE                                                                                   ELKTON           MD 21921‐7753
STEVENS, EDITH I          20 IRWIN AVENUE                                                                                ELKTON           MD 21921‐7753
STEVENS, EDMUND A         10530 TEXAS COURT                                                                              ORLAND PARK       IL 60467‐0467
STEVENS, EDMUND A         10530 TEXAS CT                                                                                 ORLAND PARK       IL 60467‐8952
STEVENS, EDWARD A         7214 EYLER DR                                                                                  SPRINGBORO       OH 45066‐1410
STEVENS, EDWARD C         1752 RANIER BLVD                                                                               CANTON           MI 48187‐3438
STEVENS, EDWARD G         444 WOOD CT                                                                                    LANGHORNE        PA 19047‐2742
STEVENS, EDWARD R         4435 SANDY DR                                                                                  WILMINGTON       DE 19808‐5636
STEVENS, EDWIN C          4285 GREGORY RD                                                                                GOODRICH         MI 48438‐9649
STEVENS, EILEEN           860 SHERIDAN ST                                                                                UNION            NJ 07083‐6565
STEVENS, ELEANOR          27 TALCOTT HILL RD                                                                             SHICKSHINNY      PA 18655‐3733
STEVENS, ELIZABETH        799 PENNINGTON AVE                                                                             TRENTON          NJ 08518‐2934
STEVENS, ELIZABETH        3839 DAYTONA DRIVE                                                                             YOUNGSTOWN       OH 44515‐3316
STEVENS, ELIZABETH A      4773 OCALA TER                                                                                 NORTH PORT       FL 34288‐5804
STEVENS, ELIZABETH A      8781 TEXAS HIGHWAY 77 E                                                                        ATLANTA          TX 75551‐7783
STEVENS, ELIZABETH E      1398 PARK SHORE CIR APT 4                                                                      FORT MYERS       FL 33901‐9625
STEVENS, ELIZABETH E      1398‐4 PARKSHORE CIRCLE                                                                        FORT MEYERS      FL 33901‐3901
STEVENS, ELIZABETH N      26912 WESTWOOD LANE                                                                            OLMSTED FALLS    OH 44138‐1159
STEVENS, ELIZABETH S      3839 DAYTONA DR                                                                                YOUNGSTOWN       OH 44515‐3316
STEVENS, ELLEN C          2727 LINCOLN ST                                                                                ANDERSON         IN 46016‐5065
STEVENS, ELOISE A         9778 S. STREET ROAD                                                                            LEROY            NY 14482‐8814
STEVENS, ELOISE A         9778 S STREET RD                                                                               LE ROY           NY 14482‐8814
STEVENS, ELOY C           3926 CHANNING CIR                                                                              INDIANAPOLIS     IN 46240‐3610
STEVENS, ELSIE F          6534 BROOKHAVEN DR                                                                             LAMBERTVILLE     MI 48144‐9401
STEVENS, EMMA F           281 E HURON RIVER DR                                                                           BELLEVILLE       MI 48111‐2759
STEVENS, ENDELL L         6589 CASTLEWOOD ST                                                                             NAVARRE          FL 32566‐8156
STEVENS, ERIC M           1462 DUFFUS RD NE                                                                              WARREN           OH 44484
STEVENS, ERIC R           PO BOX 9020                        C/O GME ZURICH                                              WARREN           MI 48090‐9020
STEVENS, ESTELLA          9770 N. 50W                                                                                    FORTVILLE        IN 46040‐9312
STEVENS, ESTELLA          9770 N.50W                                                                                     FORTVILLE        IN 46040
STEVENS, ESTELLA          9770 N 50 W                                                                                    FORTVILLE        IN 46040‐9312
STEVENS, ESTHER L         2700 STONEVALLEY DR SW                                                                         WYOMING          MI 49519‐3175
STEVENS, ETHEL M          12207 VIOLET WALK                                                                              ROSCOE            IL 61073‐6011
STEVENS, ETHELYN M        12519 JENNINGS RD                                                                              LINDEN           MI 48451‐9433
STEVENS, EVA L            785 REDWING DR                                                                                 FLORISSANT       MO 63031‐2243
STEVENS, F J              EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                         DETROIT          MI 48265‐2000

STEVENS, FLORA F          4413 W GRAND BLANC RD                                                                          SWARTZ CREEK    MI   48473‐9150
STEVENS, FLORA F          4413 GRAND BLANC RD                                                                            SWARTZ CREEK    MI   48473‐9150
STEVENS, FLORENCE N       31647 REGAL DR                                                                                 WARREN          MI   48088
STEVENS, FLOYD I          BOX 119BOX 119                                                                                 KINSMAN         OH   44428‐4428
STEVENS, FLOYD I          PO BOX 119                                                                                     KINSMAN         OH   44428‐0119
STEVENS, FOREST L         10275 N PENNINGTON RD                                                                          MOORESVILLE     IN   46158‐6660
STEVENS, FOREST L         10275 NORTH PENNINGTON ROAD                                                                    MOORESVILLE     IN   46158‐6660
STEVENS, FORREST ELWOOD   SUTTER & ENSLEIN                   1598 KANAWHA BLVD EAST, SUITE                               CHARLESTON      WV   25311
                                                             200
STEVENS, FRANCES E        4801 HEDGES AVE                                                                                KANSAS CITY     MO 64133‐2215
STEVENS, FRANCIS J        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510‐2212
                                                             STREET, SUITE 600
STEVENS, FRANK J          9994 FOREST RIDGE DR                                                                           CLARKSTON       MI 48348‐4164
STEVENS, FREDERICK H      11115 LAKEFIELD RD                                                                             SAINT CHARLES   MI 48655‐8545
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Name                      Address1                         Address2                Address3     Address4         City             State Zip
STEVENS, FREDERICK L      5146 N PARK AVE                                                                        BRISTOLVILLE      OH 44402‐9783
STEVENS, FREDERICK L      1710 CENTRAL AVE                                                                       ANDERSON          IN 46016‐1816
STEVENS, G W              5625 MCFALL CIR                                                                        MONTAGUE          MI 49437‐9302
STEVENS, GARRY C          1606 HAMPTON DR                                                                        GLADWIN           MI 48624‐8523
STEVENS, GARY L           G‐3118 S BELSAY RD                                                                     BURTON            MI 48519
STEVENS, GAYLOR           DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                       NORTH OLMSTED     OH 44070
STEVENS, GEORGE E         3553 FLORY AVE SE                                                                      WARREN            OH 44484‐3419
STEVENS, GEORGIA I        740 LATTIN RD                                                                          BIGGS             CA 95917‐9602
STEVENS, GEORGIA IANTHA   740 LATTIN ROAD                                                                        BIGGS             CA 95917
STEVENS, GERALD A         4723 S FOREST HILL RD                                                                  SAINT JOHNS       MI 48879‐8724
STEVENS, GERALD D         1246 POTOMAC DR                                                                        MERRITT ISLAND    FL 32952‐7221
STEVENS, GERALD T         146 WILCOX RD                                                                          YOUNGSTOWN        OH 44515‐4240
STEVENS, GERALD W         16155 343RD AVE                                                                        FAULKTON          SD 57438‐6603
STEVENS, GERALDINE A      4662 W ROOSEVELT RD                                                                    PERRINTON         MI 48871‐9726
STEVENS, GERTRUDE         275 LANDING CIR                                                                        KINGSLAND         GA 31548
STEVENS, GERTRUDE R       275 LANDING CIRCLE                                                                     KINGSLAND         GA 31548
STEVENS, GLADYS M.        4100 FOLEY GLEN CT                                                                     FENTON            MI 48430‐3437
STEVENS, GLEN A
STEVENS, GLENN            TAYLOR MARTINO PC                PO BOX 894                                            MOBILE           AL   36601‐0894
STEVENS, GLENN A          30362 VIA ENCANTADO                                                                    SAN JUAN CAPO    CA   92675‐1729
STEVENS, GLENN D          1274 W 1000 N                                                                          ALEXANDRIA       IN   46001‐8303
STEVENS, GOLDIE           338 BELLE TOWER AVENUE                                                                 LAKE PLACID      FL   33852
STEVENS, GORDON G         1532 DAVID SWANN DR                                                                    DANDRIDGE        TN   37725‐6570
STEVENS, GRACE A          4452 SAINT MARTINS DR                                                                  FLINT            MI   48507
STEVENS, GREGG J          143 BRYAN ST                                                                           ROCHESTER        NY   14613‐1647
STEVENS, GREGORY          427 FRANKLYNN DR                                                                       LANSING          MI   48917‐2403
STEVENS, GREGORY F        9938 RIDGE MANOR AVE                                                                   LAS VEGAS        NV   89148
STEVENS, GREGORY L        1716 WESLEYAN RD                                                                       DAYTON           OH   45406‐3943
STEVENS, GREGORY R        4024 WILSHIRE LN                                                                       JANESVILLE       WI   53546‐2005
STEVENS, GREGORY R        PO BOX 481                                                                             HANOVER          WI   53542
STEVENS, GREGORY S        12 MAPLE ST                                                                            FRANKLIN         OH   45005‐3537
STEVENS, GREGORY S        1620 HACKBERRY DR                                                                      UNION            MO   63084‐3605
STEVENS, GREGORY V        12601 RATTALEE LAKE RD                                                                 DAVISBURG        MI   48350‐1228
STEVENS, GWENDOLYN B      15425 OAKBROOK ST                                                                      ROMULUS          MI   48174‐3227
STEVENS, HARLAN R         36718 DINA DR                                                                          ZEPHYRHILLS      FL   33542‐1912
STEVENS, HAROLD L         1206 INDEPENDENCE RD                                                                   TOLEDO           OH   43607‐2536
STEVENS, HARRIETT         211 E SWAYZEE ST                                                                       MARION           IN   46952‐2713
STEVENS, HARRY            PO BOX 202                                                                             TUCKAHOE         NY   10707‐0202
STEVENS, HARRY L          2603 W CEDAR LAKE RD                                                                   GREENBUSH        MI   48738
STEVENS, HARVEY           10700 HALSEY RD                                                                        GRAND BLANC      MI   48439‐8201
STEVENS, HAZEL E          10406 CENTERLINE RD                                                                    ONAWAY           MI   49765‐8755
STEVENS, HEIDI L          429 W NESHANNOCK AVE                                                                   NEW WILMINGTON   PA   16142‐1010
STEVENS, HELEN C          PO BOX 478618                    C/O LYNN A STEVENS                                    CHICAGO          IL   60647‐8618
STEVENS, HELEN C          8101 S BLACKSTONE AVE                                                                  CHICAGO          IL   60619‐4616
STEVENS, HELEN M          714 BUTTERCUP DR                 C/O BARBARA MCDONNELL                                 SAVOY            IL   61874‐9468
STEVENS, HELEN M          2288 E CORWIN RD                                                                       BULLHEAD CITY    AZ   86442‐8731
STEVENS, HELEN M          18116 EDGEWATER DR                                                                     PORT CHARLOTTE   FL   33948‐7445
STEVENS, HELEN R          12089 SCHONBORN PLACE                                                                  CLIO             MI   48420‐2145
STEVENS, HENRY            GUY WILLIAM S                    PO BOX 509                                            MCCOMB           MS   39649‐0509
STEVENS, HENRY H INC      1273 BROADWAY BLVD                                                                     FLINT            MI   48506‐3206
STEVENS, HENRY L          2613 FOXHAVEN DR                                                                       ASHLAND          OH   44805‐9508
STEVENS, HENRY N          174 OAKBROOK DRIVE                                                                     WEST SENECA      NY   14224‐4439
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Name                    Address1                        Address2                      Address3   Address4         City              State Zip
STEVENS, HERBERT E      APT 111                         100 CANDLELIGHT DRIVE                                     EBENSBURG          PA 15931‐1973
STEVENS, HERBERT E      100 CANDLELIGHT DR APT 111                                                                EBENSBURG          PA 15931‐1973
STEVENS, HERBERT M      10777 SHAFTSBURG RD                                                                       LAINGSBURG         MI 48848‐8775
STEVENS, HERBERT M      6391 SAMSON DR                                                                            GRAND BLANC        MI 48439‐9721
STEVENS, HERSCHEL       498 WASHINGTON ST                                                                         BRISTOL            VA 24201‐4549
STEVENS, HOLLI R        80 W FACTORY RD                                                                           SPRINGBORO         OH 45066‐1212
STEVENS, HOLLIS D       33520 PARDO ST                                                                            GARDEN CITY        MI 48135‐1168
STEVENS, HOLLY D        1752 DREXEL AVE NW                                                                        WARREN             OH 44485‐2120
STEVENS, HOWARD A       26 STREEKER RD                                                                            WRIGHTSTOWN        NJ 08562‐2201
STEVENS, HOWARD E       2316 EMERALD LAKE DR                                                                      SUN CITY CENTER    FL 33573‐4877
STEVENS, HUBERT E       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                        STREET, SUITE 600
STEVENS, ILENE E        5611 WAGONEER CT                                                                          ANN ARBOR         MI   48100‐9337
STEVENS, ILENE E        6146 DUFFIELD ROAD                                                                        FLUSHING          MI   48433‐9280
STEVENS, IRENE LEE      3885 EAST STREET                                                                          SAGINAW           MI   48601‐5125
STEVENS, IRENE LEE      3885 EAST ST                                                                              SAGINAW           MI   48601‐5125
STEVENS, IRENE S        1710 CENTRAL AVE                                                                          ANDERSON          IN   46016‐1816
STEVENS, IRENE S        1204 E 38TH ST                                                                            ANDERSON          IN   46013‐5332
STEVENS, J KENNETH      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                        STREET, SUITE 600
STEVENS, JACK           2197 SEYMOUR RD                                                                           SWARTZ CREEK      MI   48473‐9715
STEVENS, JACK E         11943 N 75 W                                                                              ALEXANDRIA        IN   46001‐8468
STEVENS, JACK E         1467 KEMPER AVE                                                                           HOLT              MI   48842‐9512
STEVENS, JACK P         28956 BOWMAN RD                                                                           DEFIANCE          OH   43512‐8975
STEVENS, JACKIE B       15922 WHIPPLE TREE DRIVE                                                                  HOUSTON           TX   77070‐1639
STEVENS, JACOB          3704 CUMBRIAN LN                                                                          LITHONIA          GA   30038‐3711
STEVENS, JACOB          ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                       NEW YORK          NY   10006‐1638
STEVENS, JACQUELINE D   3792 PENINSULAR DR                                                                        GLADWIN           MI   48624‐9742
STEVENS, JAMES A        1300 ATLANTA CIR                                                                          NORMAN            OK   73071
STEVENS, JAMES A        80 KEYS DR                                                                                BRASELTON         GA   30517‐3256
STEVENS, JAMES D        1237 KEBLE LN                                                                             OXFORD            MI   48371‐5905
STEVENS, JAMES E        4897 WOODMIRE DR                                                                          SHELBY TWP        MI   48316‐1569
STEVENS, JAMES F        202 S BLACK ST                                                                            ALEXANDRIA        IN   46001‐1926
STEVENS, JAMES F        8435 NONO GLEANER RD                                                                      FREELAND          MI   48623
STEVENS, JAMES H        3044 RIDGELAWN DR                                                                         CLIO              MI   48420‐9718
STEVENS, JAMES J        1182 MARIE DRIVE                                                                          GIRARD            OH   44420‐2103
STEVENS, JAMES J        PO BOX 253                                                                                STORMVILLE        NY   12582‐0253
STEVENS, JAMES J        1182 MARIE DR                                                                             GIRARD            OH   44420
STEVENS, JAMES L        4255 WESTSHORE WAY APT H25                                                                FORT COLLINS      CO   80525‐3254
STEVENS, JAMES L        12373 N JENNINGS RD                                                                       CLIO              MI   48420‐8245
STEVENS, JAMES L        6061 SE 240TH ST                                                                          LATHROP           MO   64465‐8602
STEVENS, JAMES M        4707 W SAINT LAWRENCE AVE                                                                 BELOIT            WI   53511‐8537
STEVENS, JAMES M        595 COUNTY ROAD 225                                                                       OXFORD            MS   38655‐8835
STEVENS, JAMES M        29908 RUTHDALE ST                                                                         ROSEVILLE         MI   48066‐2120
STEVENS, JAMES M        6266 CYCLONE RD                                                                           OTTER LAKE        MI   48464‐9766
STEVENS, JAMES P        5 BENTBROOK CT                                                                            SPRINGBORO        OH   45066‐8914
STEVENS, JAMES R        2419 SOUTH AVE                                                                            NIAGARA FALLS     NY   14305‐3119
STEVENS, JAMES R        1245 NOKOMIS DR                                                                           GLADWIN           MI   48624‐8385
STEVENS, JAMES R        6145 QUAIL AVE TRLR 511                                                                   EL PASO           TX   79924‐4328
STEVENS, JAMES R        1972 RYAN RD                                                                              SPRINGBORO        OH   45066‐7436
STEVENS, JAMES R        2380 PRAGUE LN                                                                            PUNTA GORDA       FL   33983‐8650
STEVENS, JAMES V        5401 LIZ LN                                                                               ANDERSON          IN   46017‐9672
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Name                       Address1                      Address2                     Address3   Address4         City              State Zip
STEVENS, JAMES W           BOX 589 YOUNGER RD                                                                     BEDFORD            IN 47421
STEVENS, JAMES W           658 DEMOREST RD                                                                        COLUMBUS           OH 43204‐1112
STEVENS, JAMI LYNN         1274 W 1000 N                                                                          ALEXANDRIA         IN 46001‐8303
STEVENS, JANET K           PO BOX 436                                                                             DEEDSVILLE         IN 46921
STEVENS, JANICE K          4185 ENGLAND BEACH RD                                                                  WHITE LAKE         MI 48383
STEVENS, JANICE P          338 GROVE CIR                                                                          AVON PARK          FL 33825‐2266
STEVENS, JASEN G           5588 MAPLE PARK DR                                                                     FLINT              MI 48507‐3915
STEVENS, JASEN GLENN       5588 MAPLE PARK DR                                                                     FLINT              MI 48507‐3915
STEVENS, JASON A           8045 E DESERT PINE DR                                                                  ANAHEIM            CA 92808‐2414
STEVENS, JASON D           PO BOX 117                                                                             ONTARIO            OH 44862‐0117
STEVENS, JEAN C            160 PLANTATION DR                                                                      HENDERSONVILLE     NC 28792‐2447
STEVENS, JEFFREY A         6745 YARBOROUGH DR                                                                     SHELBY TOWNSHIP    MI 48316‐3476
STEVENS, JEFFREY B         1499 ROAT CT                                                                           BURTON             MI 48509‐2036
STEVENS, JEFFREY BARTON    1499 ROAT CT                                                                           BURTON             MI 48509‐2036
STEVENS, JEFFREY C         5444 GREENVIEW DR                                                                      CLARKSTON          MI 48348‐3719
STEVENS, JEFFREY CHARLES   5444 GREENVIEW DR                                                                      CLARKSTON          MI 48348‐3719
STEVENS, JEFFREY D         2783 BASELINE RD                                                                       LESLIE             MI 49251‐9605
STEVENS, JEFFREY L         2213 KENTUCKY AVE                                                                      FLINT              MI 48506‐3867
STEVENS, JEFFREY N         5260 N OAK RD                                                                          DAVISON            MI 48423‐9375
STEVENS, JENIFER B         406 NW 63RD ST APT 915                                                                 KANSAS CITY        MO 64118‐3977
STEVENS, JENNIE            4846 HEATHE DR                                                                         TALLAHASSEE        FL 32309
STEVENS, JENNIFER M        29 KIRK ST                                                                             CANFIELD           OH 44406‐1628
STEVENS, JENNIFER M        59 ELM STREET                                                                          GERMANTOWN         OH 45327‐1204
STEVENS, JERICIA G         3032 W RIVERVIEW AVE                                                                   DAYTON             OH 45406
STEVENS, JERRY L           7209 COUNTY ROAD 421                                                                   MC MILLAN          MI 49853‐9220
STEVENS, JESSE B           PO BOX 851321                                                                          MESQUITE           TX 75185‐1321
STEVENS, JESSE E           2395 HARMON AVE                                                                        DANVILLE           KY 40422‐9750
STEVENS, JESSICA M         614 CITATION LOOP                                                                      HARKER HEIGHTS     TX 76548‐8010
STEVENS, JOAN I            3983 4 MILE RD NE                                                                      GRAND RAPIDS       MI 49525‐9672
STEVENS, JOAN L            1030 HANNAH AVE                                                                        LANSING            MI 48906‐6819
STEVENS, JOE R             2783 DEER RUN RD                                                                       SPRINGFIELD        OH 45504‐4349
STEVENS, JOEY J            2217 TARVER RD                                                                         BURLESON           TX 76028‐1725
STEVENS, JOHN              OBRIEN LAW FIRM               1 METROPOLITAN SQ STE 1500                               SAINT LOUIS        MO 63102‐2799
STEVENS, JOHN D            2568 RIO LOBO DR                                                                       ST GEORGE          UT 84770‐4417
STEVENS, JOHN E            304 DUNCAN ST                                                                          DUBLIN             GA 31021‐4806
STEVENS, JOHN E            300 CARSON RD.                UNIT D                                                   CARTHAGE           MS 39051
STEVENS, JOHN E            5977 WHITEWATER ELDORADO RD                                                            NEW PARIS          OH 45347‐9260
STEVENS, JOHN ERIC         659 KENNOLIA DR SW                                                                     ATLANTA            GA 30310‐2363
STEVENS, JOHN F            5 KREMPER CT                                                                           MERCERVILLE        NJ 08619‐1169
STEVENS, JOHN L            3250 CHRISTY WAY N                                                                     SAGINAW            MI 48603‐2234
STEVENS, JOHN P            30583 SABRINA CT                                                                       CHESTERFIELD       MI 48051‐1252
STEVENS, JOHN R            16475 RED FOX TRL                                                                      LINDEN             MI 48451‐9172
STEVENS, JOHN S            533 HIGHBROOK AVE                                                                      PELHAM             NY 10803‐2227
STEVENS, JOHN W            2 EDGEWOOD ESTS                                                                        BEVERLY            WV 26253‐9782
STEVENS, JOHN W            7520 N WILLIAMS RD                                                                     SAINT JOHNS        MI 48879‐9479
STEVENS, JOHN W            5301 W DODGE RD                                                                        CLIO               MI 48420‐8535
STEVENS, JOHN W            8116 KATHERINE ST                                                                      TAYLOR             MI 48180‐2594
STEVENS, JON P             8675 MILLER RD                                                                         CLARKSTON          MI 48348‐2543
STEVENS, JOSEPH            730 PEERLESS RD                                                                        BEDFORD            IN 47421‐8094
STEVENS, JOSEPH            1145 BONE RD                                                                           FENTON             MI 48430‐8507
STEVENS, JOSEPH E          2108 27TH ST                                                                           BEDFORD            IN 47421‐4944
STEVENS, JOSEPH K          14269 SEYMOUR RD                                                                       MONTROSE           MI 48457
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Name                      Address1                          Address2                   Address3   Address4         City               State Zip
STEVENS, JOSEPH P         3210 INGERSOL RTE 6                                                                      LANSING             MI 48906
STEVENS, JOSEPHINE M      1340 EASON                                                                               WATERFORD           MI 48328‐1207
STEVENS, JOY              37 SMITH ST                                                                              GOUVERNEUR          NY 13642‐1321
STEVENS, JOY              NATIONWIDE                        PO BOX 2655                                            HARRISBURG          PA 17105‐2655
STEVENS, JOY E            7755 E LAGUNA AZUL AVE UNIT 202                                                          MESA                AZ 85209‐6192
STEVENS, JOYCE A          7325 NEWPORT DR                                                                          DAVISON             MI 48423‐9311
STEVENS, JR.,DAVID A      92 LINDHURST DR                                                                          LOCKPORT            NY 14094‐5718
STEVENS, JUANITA          751 HILLCREST DR                                                                         EATON               OH 45320‐8502
STEVENS, JUANITA          715 HILE LN                                                                              ENGLEWOOD           OH 45322‐1742
STEVENS, JUANITA          715 HILE LANE                                                                            ENGLEWOOD           OH 45322‐1742
STEVENS, JUANITA S        6811 MAYFIELD RD APT 581                                                                 MAYFIELD HEIGHTS    OH 44124‐2222
STEVENS, JUDITH A         9270 SUE LN                                                                              SWARTZ CREEK        MI 48473‐8548
STEVENS, JUDITH GADDIS    762 SW ARUBA BAY                                                                         PORT ST LUCIE       FL 34986‐3425
STEVENS, JUDY E           80 LAKEVIEW DR                                                                           COLUMBIANA          OH 44408‐1328
STEVENS, JUDY K           2323 E BEAVER RD                                                                         KAWKAWLIN           MI 48631‐9442
STEVENS, JUNIOR L         15604 MARILYN AVE                                                                        PLYMOUTH            MI 48170‐4838
STEVENS, KAREN D          23565 E IRISH PL                                                                         AURORA              CO 80016‐7282
STEVENS, KARL A           51534 BUCKHORN RD                                                                        THREE RIVERS        MI 49093‐9035
STEVENS, KATHLEEN M       443 W HANCOCK ST                                                                         DETROIT             MI 48201‐1207
STEVENS, KATHY ANN        255 HIGHWAY 546                                                                          WEST MONROE         LA 71291‐9132
STEVENS, KATHY ANN        255 HWY 546                                                                              WEST MONROE         LA 71291
STEVENS, KEITH A.         PO BOX 34015                                                                             DETROIT             MI 48234‐0015
STEVENS, KEITH C          6825 KINDLING CT                                                                         WEST BLOOMFIELD     MI 48322‐3452
STEVENS, KELLY            9698 EDWARD RD                                                                           FOSTORIA            MI 48435‐9715
STEVENS, KEN              1617 AMBERLEA DR S 3                                                                     DUNEDIN             FL 34698
STEVENS, KENNETH A        175 E REMINGTON DR APT 127                                                               SUNNYVALE           CA 94087‐1927
STEVENS, KENNETH ALLEN    2261 HYDER MOUNTAIN ROAD                                                                 CLYDE               NC 28721‐8721
STEVENS, KENNETH D        1419 MALLARD CIR                                                                         OWOSSO              MI 48867‐1987
STEVENS, KENNETH E        19411 BRADY                                                                              REDFORD             MI 48240‐1304
STEVENS, KENNETH L        SHANNON LAW FIRM                  100 W GALLATIN ST                                      HAZLEHURST          MS 39083‐3007
STEVENS, KENNETH L        1810 CORONEL DR                                                                          BULLHEAD CITY       AZ 86442‐5016
STEVENS, KENNETH LOWELL   1810 CORONEL DR                                                                          BULLHEAD CITY       AZ 86442‐5016
STEVENS, KENNETH T        11 JIMMY LEE RD                                                                          WINTER HAVEN        FL 33880‐1053
STEVENS, KENNETH W        90 E RIVER RD                                                                            GLENMORA            LA 71433‐6719
STEVENS, KEVIN            PO BOX 114                                                                               CLAYTON             OH 45315‐0114
STEVENS, KIMBERLY A       13626 WHISPERING LN                                                                      STERLING HTS        MI 48312‐5621
STEVENS, LARRY            SHRADER JUSTIN                    16903 RED OAK DR STE 220                               HOUSTON             TX 77090‐3916
STEVENS, LARRY A          80 LAKEVIEW DR                                                                           COLUMBIANA          OH 44408‐1328
STEVENS, LARRY B          206 CRANMER                                                                              CHARLOTTE           MI 48813‐8427
STEVENS, LARRY D          2444 CHERYL ANN DR                                                                       BURTON              MI 48519‐1362
STEVENS, LARRY D          4302 JEAN ST                                                                             ALGER               MI 48610‐9517
STEVENS, LARRY DOW        2444 CHERYL ANN DRIVE                                                                    BURTON              MI 48519‐1362
STEVENS, LARRY J          9165 RIVERSIDE DR                                                                        GRAND LEDGE         MI 48837‐9243
STEVENS, LARRY R          8828 FISHER RD                                                                           YALE                MI 48097‐4850
STEVENS, LARRY R          8828 FISHER ROAD                                                                         YALE                MI 48097‐4850
STEVENS, LARRY W          17320 STATE ROAD #1                                                                      SPENCERVILLE        IN 46788
STEVENS, LATRICHA A       4229 SPIVA DR                                                                            DEL CITY            OK 73115‐4423
STEVENS, LAURA A          2507 CHEVERNY DRIVE                                                                      MCKINNEY            TX 75070‐4275
STEVENS, LAURA J          5128 BERNEDA DR                                                                          FLINT               MI 48506‐1588
STEVENS, LAURIE J         1416 CHESANING RD                                                                        ST CHARLES          MI 48655‐1813
STEVENS, LAVELL D         105 E MORRIS AVE                                                                         BUFFALO             NY 14214‐1826
STEVENS, LAVERNE          28182 UNIVERSAL BLDG J                                                                   WARREN              MI 48092‐2432
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Name                     Address1                           Address2                      Address3   Address4         City              State Zip
STEVENS, LAWRENCE L      6451 PERNOD AVE                                                                              SAINT LOUIS        MO 63139‐2043
STEVENS, LEILA H         3369‐A EAGLES LOFT                                                                           CORTLAND           OH 44410‐9157
STEVENS, LEILA H         3369 EAGLES LOFT UNIT A                                                                      CORTLAND           OH 44410‐9157
STEVENS, LEILA O         6448 ORINOCO AVE                                                                             INDIANAPOLIS       IN 46227‐4867
STEVENS, LENA D          618 E NORTH ST                                                                               BUFFALO            NY 14211‐2935
STEVENS, LEO A           9486 W MOUNT MORRIS RD                                                                       FLUSHING           MI 48433‐9216
STEVENS, LEO ALFRED      9486 W MOUNT MORRIS RD                                                                       FLUSHING           MI 48433‐9216
STEVENS, LEONARD DAVID   TRACY FIRM                         5473 BLAIR RD STE 200                                     DALLAS             TX 75231‐4168
STEVENS, LEROY E         3040 KENDALL                                                                                 DETROIT            MI 48238‐2746
STEVENS, LEROY E         3040 KENDALL ST                                                                              DETROIT            MI 48238‐2746
STEVENS, LESLIE D        7048 N MANLIUS RD                                                                            KIRKVILLE          NY 13082‐9754
STEVENS, LILA A          291 DAUSMAN PK                                                                               CLARKSVILLE        MI 48815‐9787
STEVENS, LILA A          291 DAUSMAN PARK                                                                             CLARKSVILLE        MI 48815‐9787
STEVENS, LINDA           180 MEADOWBROOK PKWY                                                                         BUFFALO            NY 14206‐2423
STEVENS, LINDA K         PO BOX 468                                                                                   ARCADIA            IN 46030‐0468
STEVENS, LINDA M         29840 MARSHALL DR                                                                            WESTLAND           MI 48186‐7361
STEVENS, LOIS F          10912 SE 1141ST AVE                                                                          TALIHINA           OK 74571‐5850
STEVENS, LOIS F          RT 2 BOX 1120                                                                                TALIHINA           OK 74571‐9510
STEVENS, LOLA M          R#1 LEIX RD                                                                                  MAYVILLE           MI 48744
STEVENS, LORRAINE        13145 COLD SPRINGS DR                                                                        HUNTLEY             IL 60142
STEVENS, LOWELL E        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                            STREET, SUITE 600
STEVENS, LOYA C          5128 BERNEDA DR                                                                              FLINT             MI   48506‐1588
STEVENS, LUANNE          11 MONROE ST                                                                                 LOCKPORT          NY   14094‐2208
STEVENS, LUARTA          39021 KIRKLAND DR                                                                            ZEPHYNHILLS       FL   33540
STEVENS, LUBOV           5341 E HILL RD                                                                               GRAND BLANC       MI   48439‐8622
STEVENS, LUCILLE S       7647 ANDREW TURN                                                                             PLAINFIELD        IN   46168‐9384
STEVENS, LYDIA           3394 IVY HILL CIR UNIT F                                                                     CORTLAND          OH   44410‐9252
STEVENS, LYDIA           3394 IVY HILL CIRCLE               UNIT F                                                    COURTLAND         OH   44410‐4410
STEVENS, LYLE H          316 NORTHLAND DR                                                                             PRUDENVILLE       MI   48651‐9537
STEVENS, LYNDA L         454 NORTH ST. NW                                                                             WARREN            OH   44483‐3722
STEVENS, LYNDA L         454 NORTH ST NW                                                                              WARREN            OH   44483‐3722
STEVENS, LYNN M          2217 TARVER RD                                                                               BURLESON          TX   76028‐1725
STEVENS, LYNN MICHELE    2217 TARVER RD                                                                               BURLESON          TX   76028‐1725
STEVENS, MABEL L         5956 CROSSCUT LANE                                                                           NOBLESVILLE       IN   46062
STEVENS, MALCOLM P       182 N MARIPOSA AVE                                                                           LOS ANGELES       CA   90004‐4517
STEVENS, MARC A          1215 HIGH ST NE                                                                              WARREN            OH   44483‐5831
STEVENS, MARGARET C      739 ASPEN DR                                                                                 TIPP CITY         OH   45371‐2785
STEVENS, MARGARET E      3700 W 100 NORTH                                                                             TIPTON            IN   46072
STEVENS, MARGARET G      2210 MIARK DR                                                                                LAPEER            MI   48446‐9032
STEVENS, MARGARET M      PO BOX 4474                                                                                  TROY              MI   48099‐4474
STEVENS, MARILYN A       1715 ALTA ST                                                                                 SAN LUIS OBISPO   CA   93401‐3004
STEVENS, MARILYN J       1365 RUBY ANN DRIVE                                                                          SAGINAW           MI   48601‐9761
STEVENS, MARJORIE        20444 MENDOTA ST                                                                             DETROIT           MI   48221‐1050
STEVENS, MARJORIE L      13780 LAKESD BLVD N                BLD‐A#311                                                 SHELBY TOWNSHIP   MI   48315‐6040
STEVENS, MARJORIE M      17975 SE 101ST TER                                                                           SUMMERFIELD       FL   34491‐7418
STEVENS, MARK            1604 DOVE CIR                                                                                SPRING HILL       TN   37174‐5119
STEVENS, MARK A          6645 LANMAN DR                                                                               WATERFORD         MI   48329‐2933
STEVENS, MARK A          3474 BROADVIEW RD                                                                            RICHFIELD         OH   44286‐9217
STEVENS, MARK A          304 E FRANKLIN ST                                                                            SHELBYVILLE       TN   37160‐3416
STEVENS, MARK B          7508 ORE KNOB DR                                                                             FENTON            MI   48430‐9237
STEVENS, MARK C          10190 REED RD                                                                                EAST CONCORD      NY   14055‐9731
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Name                      Address1                      Address2            Address3         Address4         City                  State Zip
STEVENS, MARK CHARLES     10190 REED RD                                                                       EAST CONCORD           NY 14055‐9731
STEVENS, MARK J           2130 WAYLAND DR                                                                     LANSING                MI 48917‐1369
STEVENS, MARK L           13892 BERLIN STATION RD                                                             BERLIN CENTER          OH 44401‐9774
STEVENS, MARK R           4575 E STRANGE HWY                                                                  GRAND LEDGE            MI 48837‐9429
STEVENS, MARK W           4574 BENTLEY DR                                                                     TROY                   MI 48098‐4451
STEVENS, MARTHA P         3234 WINTERSET DR                                                                   DAYTON                 OH 45440‐3630
STEVENS, MARVIN L         1408 MADISON AVE                                                                    WASHINGTON             MO 63090‐4810
STEVENS, MARY             16333 ALLEN RD APT 220                                                              SOUTHGATE              MI 48195
STEVENS, MARY E           683 NORFOLK AVE                                                                     BUFFALO                NY 14215‐2763
STEVENS, MARY E           PO BOX 65                                                                           DECATUR                AL 35602
STEVENS, MARY E           229 S 57TH ST                                                                       TACOMA                 WA 98408‐6406
STEVENS, MARY H           719 W LAKE AVE                                                                      NEW CARLISLE           OH 45344‐1733
STEVENS, MARY J           8004 HAVILAND BEACH DR                                                              LINDEN                 MI 48451‐8868
STEVENS, MARY L           2395 HARMON AVENUE                                                                  DANVILLE               KY 40422‐9750
STEVENS, MARY P           12601 RATTALEE LAKE RD                                                              DAVISBURG              MI 48350‐1228
STEVENS, MATT             1244 E 20TH AVE                                                                     COLUMBUS               OH 43211
STEVENS, MAXINE M         5355 E FRANCES RD                                                                   MOUNT MORRIS           MI 48458‐9752
STEVENS, MELISSA          607 7TH ST                                                                          JACKSON                MI 49203‐1652
STEVENS, MELVINA E        1475 S 46TH AVE APT 223                                                             YUMA                   AZ 85364‐4009
STEVENS, MERLE J          8715 SCANDANAVIAN BLVD                                                              LAKELAND               FL 33809
STEVENS, MICHAEL A        14717 FAIRGROVE ST                                                                  SOUTHGATE              MI 48195‐2530
STEVENS, MICHAEL A        7929 BUFFALO STREET EXT                                                             BERGEN                 NY 14416
STEVENS, MICHAEL C        5139 FOUNTAIN AVE                                                                   LOS ANGELES            CA 90029‐1307
STEVENS, MICHAEL D        3416 HARDWAY LN                                                                     SPRING HILL            TN 37174‐5123
STEVENS, MICHAEL D        3539 GRANT AVE                                                                      GROVE CITY             OH 43123‐2516
STEVENS, MICHAEL G        8087 DOYLE RD                                                                       LAINGSBURG             MI 48848‐9724
STEVENS, MICHAEL G        9160 DESERT TRAIL DR 37                                                             MILAN                  MI 48160
STEVENS, MICHAEL J        21432 CHERI LN                                                                      BRISTOL                IN 46507‐9323
STEVENS, MICHAEL J        122 NATCHES TRCE                                                                    COPPELL                TX 75019‐7904
STEVENS, MICHAEL L        2414 BEATRICE ST                                                                    SPRINGFIELD            OH 45503‐4815
STEVENS, MICHAEL L        303 NORTHLAND DR                                                                    PRUDENVILLE            MI 48651‐9537
STEVENS, MICHAEL P        23 AMBER WAY                                                                        NORWALK                OH 44857‐9038
STEVENS, MICHAEL S        8113 N DOVIN GATE RD                                                                MUNCIE                 IN 47303‐9305
STEVENS, MICHAEL SCOTT    8113 N DOVIN GATE RD                                                                MUNCIE                 IN 47303‐9305
STEVENS, MICHELLE         29 OAK HILL LN                                                                      ANNISTON               AL 36201‐4087
STEVENS, MILLARD          738 BRIARCLIFF DR                                                                   GROSSE POINTE WOODS    MI 48236‐1122
STEVENS, MOLLIE B         801 SOUTH BROADWAY STREET                                                           BLANCHESTER            OH 45107
STEVENS, NANCY A          1063 MILLVILLE RD                                                                   LAPEER                 MI 48446‐1110
STEVENS, NANCY E.         28598 BRIDGE WATER LANE                                                             MENIFEE                CA 92584‐8977
STEVENS, NANCY L.         4513 PAWNEE TRAIL                                                                   SARASOTA               FL 34233‐1948
STEVENS, NANCY L.         4513 PAWNEE TRL                                                                     SARASOTA               FL 34233‐1948
STEVENS, NANIE W          PO BOX 78                                                                           NEW CASTLE             IN 47362‐0078
STEVENS, NEIL C           6639 3RD ST                                                                         MECOSTA                MI 49332‐9640
STEVENS, NICHOLAS F       117 S LAKE DR                                                                       COLUMBIAVILLE          MI 48421‐9714
STEVENS, NICHOLAS FRANK   117 S LAKE DR                                                                       COLUMBIAVILLE          MI 48421‐9714
STEVENS, NORMA L          934 E RUTH AVE                                                                      FLINT                  MI 48505‐2288
STEVENS, NORMA L          3609 MARY ELLEN N.E.                                                                ALBUQUERQUE            NM 87111‐4803
STEVENS, NUEL W           2001 MARY AVE                                                                       SEMINOLE               OK 74868‐2062
STEVENS, NUEL W           802 SKYLINE DR                                                                      SEARCY                 AR 72143‐6506
STEVENS, OARLEE L         1322 N SAND LAKE RD                                                                 NATIONAL CITY          MI 48748‐9619
STEVENS, OLIVIA C         2107 GREEN HERON DR                                                                 MURRELLS INLET         SC 29576‐8849
STEVENS, ONNIE T          1441 NORMAN ST                                                                      JACKSON                MS 39209‐4340
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Name                       Address1                           Address2                      Address3   Address4         City             State Zip
STEVENS, ONNIE T           PO BOX 59063                                                                                 JACKSON           MS 39284‐9284
STEVENS, PAMALA S          3200 CHASE RD                                                                                ADRIAN            MI 49221‐9346
STEVENS, PAMELA L          6390 W DODGE RD                                                                              CLIO              MI 48420‐8547
STEVENS, PAT               1218 WILLOW DR                                                                               CHOCTAW           OK 73020‐7148
STEVENS, PATRICIA A        166 IRENE CT                                                                                 COLONIA           NJ 07067‐1717
STEVENS, PATRICIA A        166 IRENE COURT                                                                              COLONIA           NJ 07067
STEVENS, PATRICIA L        2653 NICOLE LYNN PLACE                                                                       REYNOLDSBURG      OH 43068
STEVENS, PATRICK H         2322 LANGE LN                                                                                LAPEER            MI 48446‐9034
STEVENS, PATRICK H         3951 E KIRKLIN BRICK RD                                                                      FRANKFORT         IN 46041‐8633
STEVENS, PATSY A           637 EAST CARTER VALLEY                                                                       GATE CITY         VA 24251‐1907
STEVENS, PATSY R           4020 COLUSA CIRCLE                                                                           LAS VEGAS         NV 89110‐4402
STEVENS, PATSY R           277 FARMTREE DR                                                                              FLINT             MI 48506
STEVENS, PATTY A           419 LABIAN DR                                                                                FLUSHING          MI 48433‐1745
STEVENS, PAUL              84 PAYNE AVE                                                                                 KINGSTON          PA 18704‐3238
STEVENS, PAUL D            2109 S MAIN ST                                                                               LIMA              OH 45804‐2231
STEVENS, PAUL D            1601 TWIN OAKS DR                                                                            TOLEDO            OH 43615‐4037
STEVENS, PAUL F            3337 CAIN HARBOR DR                                                                          NASHVILLE         TN 37214‐1189
STEVENS, PAUL F            379 BRIXTON RD S                                                                             GARDEN CITY       NY 11530‐5309
STEVENS, PAUL L            11395 WAHL RD                                                                                SAINT CHARLES     MI 48655‐9540
STEVENS, PAULINE C         174 NORTHWOOD DR.                                                                            ROCHESTER         NY 14612‐3022
STEVENS, PEGGY H           1262 LEISURE DR                                                                              FLINT             MI 48507‐4053
STEVENS, PEGGY R           6410 HOPI DR                                                                                 WEST CHESTER      OH 45069‐1337
STEVENS, PERRY E           2511 MUSTANG TRL                                                                             WOODSTOCK          IL 60098‐8475
STEVENS, PERRY E           4440 WARD RD                                                                                 NORTH BRANCH      MI 48461‐8905
STEVENS, PETER F           166 IRENE CT                                                                                 COLONIA           NJ 07067‐1717
STEVENS, PHILBERT W        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                              STREET, SUITE 600
STEVENS, PHILIP E          264 VOLUSIA AVE                                                                              DAYTON           OH   45409‐2225
STEVENS, PHILIP M          315 CORENE AVE                                                                               WAUKEE           IA   50263‐9757
STEVENS, PHILLIP L         2109 S MAIN ST                                                                               LIMA             OH   45804‐2231
STEVENS, PHILOMENA         6435 RICHFIELD RD                                                                            FLINT            MI   48506‐2211
STEVENS, PHYLAN E          5936 N BRANCH RD                                                                             NORTH BRANCH     MI   48461‐8636
STEVENS, PHYLLIS B         2221 TAMARACK RD                                                                             ANDERSON         IN   46011‐2606
STEVENS, PHYLLIS E         20207 BLAINE AVE                                                                             PORT CHARLOTTE   FL   33952‐4016
STEVENS, PHYLLIS J         1645 SAINT ROSE AVE                                                                          BATON ROUGE      LA   70808‐1082
STEVENS, PRESTON M         462 W RIVER RD                                                                               KAWKAWLIN        MI   48631‐9776
STEVENS, PURL L            797 RANDALL RD                                                                               GILLETT          PA   16925‐8984
STEVENS, Q L               800 N WOLFE ST                                                                               MUNCIE           IN   47303‐5029
STEVENS, RALPH L           10850 BISHOP RD                                                                              SAINT CHARLES    MI   48655‐9616
STEVENS, RANDY             361 COPE DR                                                                                  SHREVEPORT       LA   71106‐8247
STEVENS, RAYFORD           23269 PARK PLACE DR                                                                          SOUTHFIELD       MI   48033‐2667
STEVENS, RAYMOND E         5161 SUGAR MAPLE DRIVE                                                                       KETTERING        OH   45440‐5440
STEVENS, RAYMOND G         317 OLEAN ST                                                                                 EAST AURORA      NY   14052‐2532
STEVENS, RAYMOND W         7157 LITTLE BEAR LAKE RD                                                                     JOHANNESBURG     MI   49751‐9536
STEVENS, RAYMOND W         2277 BURROUGHS DR                                                                            TOLEDO           OH   43614‐4311
STEVENS, RAYMOND WALLACE   2277 BURROUGHS DR                                                                            TOLEDO           OH   43614‐4311
STEVENS, REBECCA J         4361 HAYES ST                                                                                WAYNE            MI   48184‐2263
STEVENS, REGINALD          20096 CONLEY ST                                                                              DETROIT          MI   48234‐2256
STEVENS, REVILLO J         2200 W TEMPERANCE RD                                                                         TEMPERANCE       MI   48182‐9768
STEVENS, RHONDA C          3210 FRAMINGTON DR                                                                           COLUMBUS         OH   43224‐3717
STEVENS, RICHARD           PORTER & MALOUF PA                 4670 MCWILLIE DR                                          JACKSON          MS   39206‐5621
STEVENS, RICHARD A         3190 MEYER PL                                                                                SAGINAW          MI   48603‐2322
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Name                   Address1                              Address2                       Address3   Address4         City               State Zip
STEVENS, RICHARD A     2038 MACKINAW DR                                                                                 DAVISON             MI 48423‐2356
STEVENS, RICHARD C     1670 RIVER DR                                                                                    TRAVERSE CITY       MI 49686‐8272
STEVENS, RICHARD D     3749 CHEYENNE TR                                                                                 JAMESTOWN           OH 45335‐1109
STEVENS, RICHARD E     27110 JONES LOOP RD UNIT 268                                                                     PUNTA GORDA         FL 33982‐2471
STEVENS, RICHARD E     3491 SE POWELL RD                                                                                LATHROP             MO 64465‐8104
STEVENS, RICHARD E     690 N LUTHERAN CHURCH RD                                                                         DAYTON              OH 45427‐1204
STEVENS, RICHARD J     863 CEDAR CIR                                                                                    MANTENO              IL 60950‐1818
STEVENS, RICHARD J     1542 BERKLEY DR                                                                                  HOLT                MI 48842‐1853
STEVENS, RICHARD K     1465 SAND RD                                                                                     CHEBOYGAN           MI 49721‐9167
STEVENS, RICHARD K     108 E STEPHENSON ST                                                                              MARION              IN 46952‐2113
STEVENS, RICHARD L     2131 W NEWBERG RD                                                                                PINCONNING          MI 48650‐8959
STEVENS, RICHARD R     408 E LONE STAR AVE                                                                              CLEBURNE            TX 76031‐3230
STEVENS, RICKY A       3173 DEVONSHIRE                                                                                  FLINT               MI 48504
STEVENS, RITA A        5009 CAMELOT DR APT B                                                                            COLUMBIA            TN 38401‐5338
STEVENS, ROBERT C      3398 OAKLAND DR                                                                                  FLINT               MI 48507‐4532
STEVENS, ROBERT D      2969 FLANAGAN LN                                                                                 MARTINSVILLE        IN 46151‐9512
STEVENS, ROBERT D      PO BOX 173                                                                                       W FARMINGTON        OH 44491‐0173
STEVENS, ROBERT D      139 CAMDEN ST                                                                                    ROCHESTER           NY 14612‐2117
STEVENS, ROBERT G      8045 E DESERT PINE DR                                                                            ANAHEIM             CA 92808‐2414
STEVENS, ROBERT G      14867 N 100 W                                                                                    SUMMITVILLE         IN 46070‐9399
STEVENS, ROBERT J      1327 YORKTOWN DR                                                                                 FLINT               MI 48532‐3239
STEVENS, ROBERT J      5589 MAIN ST                          PO BOX 185                                                 DRYDEN              MI 48428‐7728
STEVENS, ROBERT J      51 SCARLET DR                                                                                    PARLIN              NJ 08859‐2518
STEVENS, ROBERT L      1502 S WILLARD AVE                                                                               JANESVILLE          WI 53546‐5441
STEVENS, ROBERT L      232 DENNISON DR                                                                                  BALLWIN             MO 63021‐4802
STEVENS, ROBERT L      2035 N VEGA DR                                                                                   BATON ROUGE         LA 70815‐8852
STEVENS, ROBERT L      7225 COLEMAN RD                                                                                  EAST LANSING        MI 48823‐9450
STEVENS, ROBERT L      1003 DILWORTH RD                      WILLOW RUN                                                 WILMINGTON          DE 19805‐1209
STEVENS, ROBERT L      110 BLAIRWOOD DR                                                                                 TROTWOOD            OH 45426‐2814
STEVENS, ROBERT L      2035N VEGA DR E                                                                                  BATTONROUGE         LA 70815‐8852
STEVENS, ROBERT L      GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH          PA 15219

STEVENS, ROBERT M      629 OAKLAWN AVENUE                                                                               YPSILANTI          MI   48198‐8007
STEVENS, ROBERT N      7765 DOVE RD                                                                                     WOLCOTT            NY   14590‐9538
STEVENS, ROBERT T      3124 FALCON DR                                                                                   BURTON             MI   48519‐1485
STEVENS, ROBERT W      30704 COVE RD                                                                                    TAVARES            FL   32778‐5128
STEVENS, ROBERT W      PO BOX 3                                                                                         CAPE GIRARDEAU     MO   63702‐0003
STEVENS, ROBERT W      671 WALNUT ST                                                                                    LOCKPORT           NY   14094‐3231
STEVENS, ROBERT W      1571 KINGSTON DR                                                                                 SAGINAW            MI   48603‐5409
STEVENS, ROBERT W      12019 INNSBRUCK PL 75                                                                            CLIO               MI   48420
STEVENS, ROBIN G       199 S LAKE DR                                                                                    COLUMBIAVILLE      MI   48421‐9714
STEVENS, ROBIN GENE    199 S LAKE DR                                                                                    COLUMBIAVILLE      MI   48421‐9714
STEVENS, ROGER A       PO BOX 165                                                                                       TAYLOR             WI   54659‐0165
STEVENS, ROGER D       5303 S MOUNT HOPE RD                                                                             CARSON CITY        MI   48811‐9505
STEVENS, ROGER D       2725 W LAWSON RD                                                                                 MARION             IN   46952‐9285
STEVENS, ROGER E       202 N CREYTS RD                                                                                  LANSING            MI   48917‐9285
STEVENS, ROGER ESKIE   202 N CREYTS RD                                                                                  LANSING            MI   48917‐9285
STEVENS, ROGER F       1711 PALMETTO CT                                                                                 NEW SMYRNA BEACH   FL   32168‐7600
STEVENS, ROGER L       1516 KINGS BRIDGE RD                                                                             GRAND BLANC        MI   48439‐8713
STEVENS, RON C         485 TERRACE RD                                                                                   SANTA BARBARA      CA   93109‐1736
STEVENS, RONALD        5521 W M21                                                                                       OWOSSO             MI   48867
STEVENS, RONALD A      1369 E HIGH AVE                                                                                  YOUNGSTOWN         OH   44506‐1160
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STEVENS, RONALD D     3594 SHAWNEE TRAIL                                                                   JAMESTOWN        OH 45335‐1027
STEVENS, RONALD J     3030 OAK DR                                                                          STANTON          MI 48888‐9177
STEVENS, RONALD L     2131 OAKDALE DR                                                                      WATERFORD        MI 48329‐3859
STEVENS, RONALD L     445 LUTZKE RD                                                                        SAGINAW          MI 48609‐6918
STEVENS, RONALD L     4061 FILKINS DR NE                                                                   GRAND RAPIDS     MI 49525‐2129
STEVENS, RONALD N     3413 DAKOTA AVE                                                                      FLINT            MI 48506‐3153
STEVENS, RONALD P     13 TUDOR LN APT 1                                                                    LOCKPORT         NY 14094‐6902
STEVENS, RONALD P     626 PARK AVE                                                                         UNION BEACH      NJ 07735‐3125
STEVENS, RONALD R     1860 DORAN RD                                                                        LIMA             NY 14485‐9755
STEVENS, RONALD R     PO BOX 27                                                                            HICKORY          KY 42051‐0027
STEVENS, RONALD W     4142 OAK ST                                                                          GRAND BLANC      MI 48439‐3447
STEVENS, ROSANNE L.   3352 LAURA ST                                                                        WAYNE            MI 48184‐1162
STEVENS, ROSEMARY     1748 MILL                                                                            LINCOLN PARK     MI 48146‐2229
STEVENS, ROSEMARY     1748 MILL ST                                                                         LINCOLN PARK     MI 48146‐2229
STEVENS, ROSEMARY A   620 PELHAM RD APT 6K                                                                 NEW ROCHELLE     NY 10805‐1438
STEVENS, ROSIE        9631 SOUTH JEFFREY                                                                   CHICAGO           IL 60617
STEVENS, ROSIE L      7409 RED FOX TRL                                                                     SHREVEPORT       LA 71129‐3518
STEVENS, ROXY G       3644 N GRAHAM AVE                                                                    INDIANAPOLIS     IN 46218‐1840
STEVENS, ROY          1621 FRASER RD                                                                       KAWKAWLIN        MI 48631‐9479
STEVENS, RUSSELL      55524 MANDELLA RD                                                                    AMITE            LA 70422‐4002
STEVENS, RUSSELL G    3980 CAMPERDOWN DR                                                                   LANSING          MI 48911‐6142
STEVENS, RUSSELL H    3132 OLEARY RD                                                                       FLINT            MI 48504‐1763
STEVENS, RUSSELL L    3805 HOLLY AVE                                                                       FLINT            MI 48506‐3108
STEVENS, RUSSELL L    PO BOX 127                                                                           GAINES           MI 48436‐0127
STEVENS, RUTH A       36519 ROWE DR                                                                        STERLING HTS     MI 48312‐3281
STEVENS, RUTH E       1023 VAN BIBBER LAKE EST                                                             GREENCASTLE      IN 46135
STEVENS, RUTH E.      1215 ELLEN DR                                                                        MIDDLETOWN       OH 45042‐2544
STEVENS, RUTH K       4631 MCCLELLAND DR UNIT 101                                                          WILMINGTON       NC 28405‐3479
STEVENS, RUTH K       4631 MCCLELLAND DR             UNIT 101                                              WILMINGTON       NC 28405‐3479
STEVENS, RYAN A       219 TOPAZ CIR                                                                        CANFIELD         OH 44406‐9676
STEVENS, SAMUEL L     220 E WOODWARD ST                                                                    PARKER           KS 66072‐9149
STEVENS, SAMUEL L     38 ERNST AVE                                                                         BUFFALO          NY 14211‐1456
STEVENS, SAMUEL O     1403 AMBER WAVE DR                                                                   O FALLON         MO 63366‐8496
STEVENS, SANDRA K     2119 S 600 E                                                                         MARION           IN 46953‐9111
STEVENS, SANDRA L     26113 SEMINOLE LAKES BLVD                                                            PUNTA GORDA      FL 33955
STEVENS, SCOTT D      729 KORNOELJE DR NE                                                                  COMSTOCK PARK    MI 49321‐9537
STEVENS, SCOTT R      599 COUNTY ROAD 26                                                                   HELENA           OH 43435‐9775
STEVENS, SHANE R      245 1ST AVE                                                                          GALION           OH 44833‐2835
STEVENS, SHARLEEN A   1852 US 27 SOUTH               LOT D 24                                              AVON PARK        FL 33825
STEVENS, SHARON       1302 LEISURE DR                                                                      FLINT            MI 48507‐4053
STEVENS, SHARON E     8466 CONLEY RD                                                                       WINCHESTER       OH 45697‐9606
STEVENS, SHARON K     8042 HIGHWAY 317                                                                     DEANE            KY 41812‐9089
STEVENS, SHARON K     3203 W 46TH AVE                                                                      KENNEWICK        WA 99337‐2608
STEVENS, SHERRIE      TAYLOR MARTINO PC              PO BOX 894                                            MOBILE           AL 36601‐0894
STEVENS, SHIRLEY      6347 ELLSWORTH STREET          APT 1                                                 MARLETTE         MI 48453
STEVENS, SHIRLEY      6347 ELLSWORTH ST APT 1                                                              MARLETTE         MI 48453‐1147
STEVENS, SHIRLEY A    24426 BOWMAN RD                                                                      DEFIANCE         OH 43512‐8994
STEVENS, SHIRLEY A    11211 BROOKSHIRE DR                                                                  GRAND BLANC      MI 48439‐1003
STEVENS, SPENCER      3648 RANGE WAY                                                                       LOGANVILLE       GA 30052‐5482
STEVENS, STANLEY R    4310 SENECA HWY                                                                      CLAYTON          MI 49235‐9745
STEVENS, SUE A        5675 NORTH ATHEY AVENUE                                                              HARRISON         MI 48625‐9674
STEVENS, SUE A        5675 N ATHEY AVE                                                                     HARRISON         MI 48625‐9674
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Name                     Address1                       Address2                      Address3   Address4         City            State Zip
STEVENS, SUSAN A         PO BOX 314                     1100 HILL ST                                              SUMMITVILLE      IN 46070‐0314
STEVENS, SUSAN A         1100 HILL ST PO BOX 314                                                                  SUMMITVILLE      IN 46070‐0314
STEVENS, SUZAN A         3311 BROOKHAVEN DR                                                                       MONTGOMERY       TX 77356
STEVENS, TEDDY J         2414 E MOUNT MORRIS RD                                                                   MOUNT MORRIS     MI 48458‐8957
STEVENS, TERENCE B       11328 ROCKLAND                                                                           REDFORD          MI 48239‐2268
STEVENS, TERREL L        924 SPENCE ST                                                                            PONTIAC          MI 48340‐3059
STEVENS, TERRIE M        8207 W LONG LAKE DR                                                                      KALAMAZOO        MI 49048‐5526
STEVENS, TERRIE MARIE    8207 W LONG LAKE DR                                                                      KALAMAZOO        MI 49048‐5526
STEVENS, TERRY L         14395 MARSH CREEK RD                                                                     KENT             NY 14477‐9711
STEVENS, TERRY R         4750 GODWIN LN                                                                           CHIPLEY          FL 32428‐3467
STEVENS, TERRY W         122 SCHOOL AVE                                                                           CLAWSON          MI 48017‐1272
STEVENS, TERRY WILLIAM   122 SCHOOL AVE                                                                           CLAWSON          MI 48017‐1272
STEVENS, THEODORE R      3300 W ROSEBUSH RD                                                                       WEIDMAN          MI 48893‐9754
STEVENS, THEODORE R      2 RAMSGATE RD                                                                            CRANFORD         NJ 07016‐1721
STEVENS, THOMAS B        1177 GADY RD                                                                             ADRIAN           MI 49221‐9306
STEVENS, THOMAS E        3137 STEVENSON DR                                                                        PEBBLE BEACH     CA 93953‐2855
STEVENS, THOMAS E        RR 1 BOX 210                                                                             CRUM             WV 25669‐9672
STEVENS, THOMAS E        ROUTE 1 BOX 210                                                                          CRUM             WV 25669‐9672
STEVENS, THOMAS K        102 QUIET LN                                                                             OOLITIC          IN 47451‐9718
STEVENS, THOMAS L        5490 LIPPINCOTT RD                                                                       LAPEER           MI 48446‐9796
STEVENS, THOMAS LEON     5490 LIPPINCOTT RD                                                                       LAPEER           MI 48446‐9796
STEVENS, THOMAS M        1852 US 27 SOUTH               LOT D 24                                                  AVON PARK        FL 33825
STEVENS, THOMAS R        11604 REBECCA LN                                                                         WHITMORE LAKE    MI 48189‐9782
STEVENS, TIMOTHY J       27658 DRAPE RD                                                                           LAWTON           MI 49065‐9610
STEVENS, TIMOTHY L       7323 CROY LN                                                                             DUBLIN           CA 94568‐5539
STEVENS, TIMOTHY R       3521 OLD MILL DR                                                                         SPRING HILL      TN 37174‐2190
STEVENS, VAN C           1924 MIDVALE ST                                                                          YPSILANTI        MI 48197‐4424
STEVENS, VAN CLAUDE      1924 MIDVALE ST                                                                          YPSILANTI        MI 48197‐4424
STEVENS, VERNITA         3601 PORTSMOUTH RD                                                                       BRIDGEPORT       MI 48722‐9748
STEVENS, VERNITA         3601 S PORTSMOUTH RD                                                                     BRIDGEPORT       MI 48722‐9748
STEVENS, VICKY J.        310 COUNTRY LANE                                                                         WESTVILLE         IL 61883‐1012
STEVENS, VICKY J.        310 COUNTRY LN                                                                           WESTVILLE         IL 61883‐1012
STEVENS, VINCENT         36892 FARMBROOK DRIVE                                                                    CLINTON TWP      MI 48035‐1534
STEVENS, VIRGIE L        8900 N MERIDIAN RD                                                                       PLEASANT LAKE    MI 49272‐9629
STEVENS, VIRGIL D        26491 M 60                                                                               MENDON           MI 49072‐9727
STEVENS, VIRGINIA M      C/O MICHAEL SEABORNE           888 BLVD OF THE ARTS                                      SARASOTA         FL 34326
STEVENS, VIVIAN A        4601 OLIVE RD                                                                            TROTWOOD         OH 45426‐2203
STEVENS, VO              LEBLANC & WADDELL              5353 ESSEN LN STE 420                                     BATON ROUGE      LA 70809‐0500
STEVENS, W. P            4122 MONTICELLO BLVD                                                                     YOUNGSTOWN       OH 44505‐1737
STEVENS, W. PEARL        4122 MONTICELLO BLVD                                                                     YOUNGSTOWN       OH 44505‐1737
STEVENS, WALTER          PORTER & MALOUF PA             4670 MCWILLIE DR                                          JACKSON          MS 39206‐5621
STEVENS, WALTER J        16 LOSSON GARDEN DR APT 4                                                                CHEEKTOWAGA      NY 14227‐2321
STEVENS, WALTER T        5560 REPUBLIC WAY                                                                        BETHLEHEM        PA 18017‐9488
STEVENS, WANDA M         2210 OLDS CT                                                                             KOKOMO           IN 46902‐2528
STEVENS, WILLARD C       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                        STREET, SUITE 600
STEVENS, WILLIAM         3234 WINTERSET DR                                                                        DAYTON          OH   45440‐3630
STEVENS, WILLIAM A       525 N COUNTY ROAD 650 W                                                                  YORKTOWN        IN   47396‐9117
STEVENS, WILLIAM A       1890 CLARA MATHIS RD                                                                     SPRING HILL     TN   37174‐2546
STEVENS, WILLIAM A       18515 AMMAN RD                                                                           CHESANING       MI   48616‐9737
STEVENS, WILLIAM A       42991 HARRIS RD                                                                          BELLEVILLE      MI   48111‐9187
STEVENS, WILLIAM C       3802 PENBROOK LN                                                                         FLINT           MI   48507‐1480
                              09-50026-mg            Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
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Name                          Address1                         Address2                         Address3                    Address4         City              State Zip
STEVENS, WILLIAM C            22472 VICTORY DR                                                                                               HAYWARD            CA 94541‐5940
STEVENS, WILLIAM C            9570 BRAY RD                                                                                                   MILLINGTON         MI 48746‐9522
STEVENS, WILLIAM C            1628 BEAVER CREEK LN                                                                                           KETTERING          OH 45429‐3708
STEVENS, WILLIAM E            8733 TAYBROOK DR 705                                                                                           HUNTERSVILLE       NC 28078
STEVENS, WILLIAM F            14542 SHERIDAN RD                                                                                              MONTROSE           MI 48457‐9434
STEVENS, WILLIAM L            2431 CEDAR POINTE DR                                                                                           JANESVILLE         WI 53546‐5334
STEVENS, WILLIAM P            528 E LOUIS AVE                                                                                                MONTEREY           TN 38574‐1040
STEVENS, WILLIAM T            15193 CAMPBELL RD                                                                                              DEFIANCE           OH 43512‐8833
STEVENS, WILLIAM T            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA 23510
                                                               STREET, SUITE 600
STEVENS, WILLIE P             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                   NORFOLK           VA 23510‐2212
                                                               STREET, SUITE 600
STEVENS, ZONNIE M             20096 CONLEY ST                                                                                                DETROIT           MI   48234‐2256
STEVENS, ZONNIE M             20096 CONLEY                                                                                                   DETROIT           MI   48234‐2256
STEVENS,BILLY N               1534 VERONA PITSBURG RD                                                                                        ARCANUM           OH   45304‐9618
STEVENS,EDWARD A              7214 EYLER DR                                                                                                  SPRINGBORO        OH   45066‐1410
STEVENS,ERIC R                PO BOX 9020                      C/O GME ZURICH                                                                WARREN            MI   48090‐9020
STEVENS,HOLLI R               80 W FACTORY RD                                                                                                SPRINGBORO        OH   45066‐1212
STEVENS,JEFFREY A             6745 YARBOROUGH DR                                                                                             SHELBY TOWNSHIP   MI   48316‐3476
STEVENS‐BARNHART, EVELYN S    PO BOX 195                                                                                                     PALMYRA           MI   49268‐0195
STEVENS‐FERGUSON, DEBRA K     416 E SHAW ST                                                                                                  CHARLOTTE         MI   48813‐1953
STEVENS‐LASLEY, MINNIE        2910 ROOSEVELT AVE                                                                                             KANSAS CITY       KS   66104‐5251
STEVENS‐TUTTLE, DEBBIE J      20 SOUTHWIND DR                                                                                                BURLINGTON        VT   05401‐5467
STEVENSON & BULLOCK           ATTN: CHARLES D BULLOCK          19200 SOUTHFIELD RD, SUITE 210                                                SOUTHFIELD        MI   48076
STEVENSON & BULLOCK PLC       ATTY FOR FATA AUTOMATION, INC.   ATTN: SONYA N. GOLL, ESQ.        26100 AMERICAN DR STE 500                    SOUTHFIELD        MI   48034‐6184

STEVENSON & BULLOCK PLC       ATTY FOR FATA AUTOMATION, INC.   ATTN: CHARLES D. BULLOCK, ESQ.   26100 AMERICAN DR STE 500                    SOUTHFIELD        MI 48034‐6184

STEVENSON BALABON JR          PO BOX 153                       8279 MARYS LANE                                                               FOSTORIA          MI   48435‐0153
STEVENSON BETTY & ROBERT      598 ALOHA DR                                                                                                   HAINES CITY       FL   33844‐8915
STEVENSON BLACK               3311 HYDE PARK AVE                                                                                             CLEVELAND HTS     OH   44118‐2133
STEVENSON CARLA               PO BOX 623                                                                                                     WAXAHACHIE        TX   75168‐0623
STEVENSON CHEVROLET           758 W CORBETT AVE                                                                                              SWANSBORO         NC   28584‐8452
STEVENSON COLIN               1300 HOUSTON CT                                                                                                SOUTHLAKE         TX   76092‐5921
STEVENSON GARY                6886 W MEAD RD                                                                                                 SAINT JOHNS       MI   48879‐9730
STEVENSON HAROLD F (439544)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                   NORFOLK           VA   23510
                                                               STREET, SUITE 600
STEVENSON HAROLD W            12441 STATE ROUTE 56 E                                                                                         CIRCLEVILLE       OH 43113
STEVENSON HENRY J (360545)    ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                                    BALTIMORE         MD 21202
                                                               CHARLES CENTER 22ND FLOOR
STEVENSON HENRY J (487598)    ANGELOS PETER G                  100 N CHARLES STREET , ONE                                                    BALTIMORE         MD 21201
                                                               CHARLES CENTER
STEVENSON JOAN                11 WESTON AVE                                                                                                  GLADSTONE         MI   49837‐2361
STEVENSON JOANNE              407 E OXFORD ST                                                                                                COOPERSBURG       PA   18036‐1534
STEVENSON JOHNNY (628924)     BRAYTON PURCELL                  PO BOX 6169                                                                   NOVATO            CA   94948‐6169
STEVENSON JR, DONALD R        PO BOX 827                                                                                                     HARRISON          MI   48625‐0827
STEVENSON JR, EARNEST L       4664 COLLEGE VIEW DR                                                                                           DAYTON            OH   45427‐2814
STEVENSON JR, JESSE           3186 OAKCLIFF RD NW                                                                                            ATLANTA           GA   30311‐1021
STEVENSON JR, KENNETH M       845 NORMA WAY                                                                                                  SANTA BARBARA     CA   93111‐1106
STEVENSON JR, ROBERT L        2 WELWYN CT                                                                                                    FLORISSANT        MO   63033‐7320
STEVENSON JR, ROOSEVELT       17300 PINEHURST ST                                                                                             DETROIT           MI   48221‐2313
STEVENSON JR, WALTER          486 DITMAR AVE                                                                                                 PONTIAC           MI   48341‐2618
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Name                            Address1                         Address2                     Address3   Address4         City               State Zip
STEVENSON JR, WILLIE            348 CHILD ST                                                                              ROCHESTER           NY 14611
STEVENSON JR,EARNEST L          4664 COLLEGE VIEW DR                                                                      DAYTON              OH 45417‐8914
STEVENSON LINDA                 6415 ASHTON PARK PL                                                                       COLORADO SPRINGS    CO 80919‐4821
STEVENSON PHYLLIS               STEVENSON, PHYLLIS               1521 PEACHLAND LANE                                      JONESVILLE          LA 71343
STEVENSON ROOSEVELT             250 BRYNWOOD ST                                                                           HAGERSTOWN          MD 21740‐5084
STEVENSON RUTH A                4125 OAK KNOLL DR                                                                         YOUNGSTOWN          OH 44512‐1014
STEVENSON SEAN                  722 FOX CREEK LN                                                                          CINCINNATI          OH 45245‐1152
STEVENSON SR, EDGAR D           721 CLYDE DR                                                                              GREENWOOD           IN 46143‐9026
STEVENSON TILMON E (353491)     ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                               BALTIMORE           MD 21202
                                                                 CHARLES CENTER 22ND FLOOR
STEVENSON TIRE                  4343 PERALTA BLVD STE A                                                                   FREMONT            CA   94536‐4859
STEVENSON TIRE OF CENTERVILLE   4343 PERALTA BLVD STE A                                                                   FREMONT            CA   94536‐4859
STEVENSON TIRE OF CENTERVILLE   36527 FREMONT BLVD                                                                        FREMONT            CA   94536‐3627
STEVENSON W BLACK               3311 HYDE PARK AVE                                                                        CLEVELAND HTS      OH   44118‐2133
STEVENSON, ALBERT D             522 W 38TH ST                                                                             MARION             IN   46953‐4862
STEVENSON, ALDWIN R             4908 SEVILLE DR                                                                           INDIANAPOLIS       IN   46228
STEVENSON, ALFREIDA W           800 EAST COURT ST. APT. 322                                                               FLINT              MI   48503
STEVENSON, ALLAN J              836 WASHINGTON RD                                                                         GROSSE POINTE      MI   48230‐1291
STEVENSON, ALLEN L.             6035 WALROND AVE                                                                          KANSAS CITY        MO   64130‐3966
STEVENSON, ANNA J               23411 HAGGERTY RD                                                                         NOVI               MI   48375‐3725
STEVENSON, ANNA J               23441 HAGGERTY RD                                                                         NOVI               MI   48735
STEVENSON, ANNIE O              29621 MONTEREY CIR                                                                        FARMINGTON HILLS   MI   48336‐1304
STEVENSON, ANTHONY M            PO BOX 24295                                                                              FORT WORTH         TX   76124‐1295
STEVENSON, ANTHONY MORRIS       PO BOX 24295                                                                              FORT WORTH         TX   76124‐1295
STEVENSON, ARLENE F             356 WALNUT ST                                                                             LOCKPORT           NY   14094‐3833
STEVENSON, B V                  2700 ELIZABETH LAKE RD           APT 628                                                  WATERFORD          MI   48328
STEVENSON, BETHEL L             APT 2                            5256 OLD LANSING ROAD                                    LANSING            MI   48917‐4482
STEVENSON, BETTY                424 SO 15TH ST                                                                            SAGINAW            MI   48601‐2005
STEVENSON, BETTY A              PO BOX 310743                                                                             DETROIT            MI   48231
STEVENSON, BETTY E              PO BOX 511                                                                                COURTLAND          AL   35618‐0511
STEVENSON, BEULAH K             308 VILLAGE DR                                                                            MASON              OH   45040‐2458
STEVENSON, BOBBY D              5717 TAFFY PKWY                                                                           LANSING            MI   48911‐4733
STEVENSON, BOBBY J              5153 PLAINFIELD AVE                                                                       INDIANAPOLIS       IN   46241‐3533
STEVENSON, BRENDA L             15221 DAGGOTT RD                                                                          LANSING            MI   48906‐9389
STEVENSON, BRIAN E              404 1/2 NORTH VERLINDEN AVENUE                                                            LANSING            MI   48915‐1279
STEVENSON, BRIAN E              404 1/2 N VERLINDEN AVE                                                                   LANSING            MI   48915‐1279
STEVENSON, BRIAN L              132 MEADOWVIEW LN                                                                         GREENWOOD          IN   46142‐1867
STEVENSON, BRIDGET              64‐5245 NOEKOLO ST                                                                        KAMUELA            HI   96743‐8212
STEVENSON, CARL V               1624 PALMER DR                                                                            DEFIANCE           OH   43512‐3421
STEVENSON, CAROLYN E            4309 STANWOOD AVE                                                                         BALTIMORE          MD   21206‐6448
STEVENSON, CARRIE               3920 N DREXEL AVE                                                                         INDIANAPOLIS       IN   46226‐4533
STEVENSON, CARRIE               3920 DREXEL AVE                                                                           INDIANAPOLIS       IN   46226‐4533
STEVENSON, CARY                 6520 FALKIRK RD APT F                                                                     BALTIMORE          MD   21239‐2081
STEVENSON, CHAD T               6 DARDENNE DR                                                                             SAINT PETERS       MO   63376‐1435
STEVENSON, CHARLES A            18455 GRANT ST                                                                            LANSING            IL   60438‐3202
STEVENSON, CHARLES T            1268 S EMERALD GROVE RD                                                                   JANESVILLE         WI   53546‐9779
STEVENSON, CHARLES T            6800 WEMBLEY CIR                                                                          CENTERVILLE        OH   45459‐6206
STEVENSON, CHARLIE              19924 KENTUCKY ST                                                                         DETROIT            MI   48221‐1137
STEVENSON, CHRISTANNA M         1711 S LAUREL DR                                                                          MARION             IN   46953‐2906
STEVENSON, CHRISTINA            1819 TERRACE DR                                                                           FLINT              MI   48507‐4331
STEVENSON, CHRISTINE            6380 FLOYD ST                                                                             DETROIT            MI   48210‐1159
STEVENSON, CHRISTINE C          109 LINDBERG AVE                                                                          WILMINGTON         DE   19804‐3313
                           09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
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Name                       Address1                        Address2                        Address3          Address4                 City            State Zip
STEVENSON, CHRISTINE C     109 LINDBERGH AVE                                                                                          WILMINGTON       DE 19804‐3313
STEVENSON, CHRISTOPHER G   2045 FOX HILL DR APT 11                                                                                    GRAND BLANC      MI 48439
STEVENSON, CLARENCE B      7349 BELLAMY RD NW              P O BOX 52                                                                 LONGWOOD         NC 28452‐0052
STEVENSON, CLARENCE B      PO BOX 52                       7349 BELLAMY ROAD NW                                                       LONGWOOD         NC 28452‐0052
STEVENSON, CONRAD E        PO BOX 1218                                                                                                POOLER           GA 31322‐1218
STEVENSON, CRAIG R         76425 ROSEMARY CT                                                                                          BRUCE TWP        MI 48065‐2632
STEVENSON, CURTIS I        15125 WEST RD APT 728                                                                                      HOUSTON          TX 77095‐3154
STEVENSON, D M             193 ROSE VILLA                                                                                             WEST MONROE      LA 71292‐2216
STEVENSON, D MARKUS        189 ROSE VILLA                                                                                             WEST MONROE      LA 71292‐2216
STEVENSON, DAISY M         892 BAYS RDG                                                                                               GREENUP          KY 41144‐8744
STEVENSON, DANIEL          72 MEADLE ST                                                                                               MOUNT CLEMENS    MI 48043‐2429
STEVENSON, DARSHANN C      5717 TAFFY PKWY                                                                                            LANSING          MI 48911‐4733
STEVENSON, DAVID A         241 SW 140TH ST                                                                                            OKLAHOMA CITY    OK 73170‐6853
STEVENSON, DAVID L         8105 SW 81ST LOOP                                                                                          OCALA            FL 34476‐5738
STEVENSON, DAVID S         BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                                              DALLAS           TX 75219
STEVENSON, DAVID S         DIMOS BROWN ERSKINE BURKETT &   1216 STUBBS AVE                                                            MONROE           LA 71201‐5622
                           GARNER LLP
STEVENSON, DAVID S         BARON & BUDD PC                 9015 BLUEBONNET BLVD                                                       BATON ROUGE     LA   70810‐2812
STEVENSON, DEAN A          15022 LONGFIELD DR                                                                                         LINDEN          MI   48451‐9708
STEVENSON, DEAN ALAN       15022 LONGFIELD DR                                                                                         LINDEN          MI   48451‐9708
STEVENSON, DELMOS O        4141 MCCARTY RD APT 208                                                                                    SAGINAW         MI   48603‐9329
STEVENSON, DELORES         68 MINERAL SPRINGS RD                                                                                      BUFFALO         NY   14210
STEVENSON, DENNIS          1113 STOCKTON ST                                                                                           FLINT           MI   48503‐3624
STEVENSON, DIANA P         COMP 1 SITE 28 R.R. 12.                                                           FREDERICTON NB E3B 6H7
                                                                                                             CANADA
STEVENSON, DIANNA H        PO BOX 3034                     1821 CENTRAL AVE.                                                          ANDERSON        IN   46018‐3034
STEVENSON, DONALD E        10977 S ELY HWY                                                                                            PERRINTON       MI   48871‐9747
STEVENSON, DONALD K        9925 COYLE ST                                                                                              DETROIT         MI   48227
STEVENSON, DONNETTA L      19341 CHAPEL ST                                                                                            DETROIT         MI   48219
STEVENSON, DORIS M         23 ARMSTRONG AVENUE                                                                                        FLUSHING        MI   48433
STEVENSON, DORIS M         23 ARMSTRONG ST                                                                                            FLUSHING        MI   48433‐9208
STEVENSON, DOROTHY C       201 N 110TH STREET                                                                                         KANSAS CITY     KS   66111‐1935
STEVENSON, DOROTHY C       201 N 110TH ST                                                                                             KANSAS CITY     KS   66111‐1935
STEVENSON, EDNA L          4700 VANGUARD AVE                                                                                          DAYTON          OH   45418‐1938
STEVENSON, ELIZABETH S     650 TERRA CALIFORNIA DR APT 7                                                                              WALNUT CREEK    CA   94595‐3318
STEVENSON, EMMA MAE        1005 W LEXINGTON ST                                                                                        BALTIMORE       MD   21223‐1941
STEVENSON, EMMA MAE        1005 WEST LEXINGTON STREET                                                                                 BALTIMORE       MD   21223
STEVENSON, EMMITT          PO BOX 24295                                                                                               FORT WORTH      TX   76124‐1295
STEVENSON, ESSIE D         THE WATERS OF                   AURORA PARK                     292 MAIN STREET                            AURORA          NY   14052
STEVENSON, EULA J          2405 OAKRIDGE DR                                                                                           FLINT           MI   48507‐6213
STEVENSON, EUNICE P        PO BOX 4474                                                                                                MARIETTA        GA   30061‐4474
STEVENSON, FONZY D         5204 VILLE ANGELA LN                                                                                       HAZELWOOD       MO   63042‐1633
STEVENSON, FRANCES         1990 FRIEDENS CHURCH ROAD                                                                                  SEGUIN          TX   78155‐0241
STEVENSON, FRANK           104 S MARSHALL RD                                                                                          MIDDLETOWN      OH   45044‐5324
STEVENSON, FRED A          13604 ANNDYKE PL                                                                                           GERMANTOWN      MD   20874‐2806
STEVENSON, FREDA C         3083 WAGON TRL                                                                                             FLINT           MI   48507‐1213
STEVENSON, FREDA C         3083 WAGON TRAIL                                                                                           FLINT           MI   48507‐1213
STEVENSON, FREDDIE R       PO BOX 278                                                                                                 LONGWOOD        NC   28452‐0278
STEVENSON, FRIEDA          8065 POTTER RD                                                                                             FLUSHING        MI   48433
STEVENSON, GARRETT
STEVENSON, GARY B          1127 LANDSDALE DR                                                                                          FAIRBORN        OH 45324‐5722
STEVENSON, GARY L          6886 W MEAD RD                                                                                             SAINT JOHNS     MI 48879‐9730
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Name                     Address1                          Address2                      Address3   Address4         City               State Zip
STEVENSON, GARY V        276 SHADY ACRES RD                                                                          LUCAS               KY 42156‐9306
STEVENSON, GEORGE A      24643 EDGEWOOD DR                                                                           STURGIS             MI 49091‐9330
STEVENSON, GEORGE P      486 THALIA AVE                                                                              ROCHESTER HILLS     MI 48307‐1152
STEVENSON, GERALD S      1416 NASH RD APT B6                                                                         N TONAWANDA         NY 14120‐2368
STEVENSON, GERARD A      3114 HARBOR CT                                                                              WATERFORD           MI 48328‐2594
STEVENSON, GINA G        3274 RICHTON ST                                                                             DETROIT             MI 48206‐1004
STEVENSON, GLENN R       15221 DAGGOTT RD                                                                            LANSING             MI 48906‐9389
STEVENSON, GLENN W       1101 MINERAL SPRINGS RD                                                                     CHARLOTTE           NC 28262‐4911
STEVENSON, HAROLD E      433 EAST MORENCI STREET                                                                     LYONS               OH 43533‐9776
STEVENSON, HAROLD F      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                           STREET, SUITE 600
STEVENSON, HARVIE R      4616 GIBBS RD                                                                               DANVILLE           IN   46122‐8456
STEVENSON, HELEN E       32828 HAWTHORNE DR                                                                          WARREN             MI   48092‐1016
STEVENSON, HELEN M       25727 W. OUTER DRIVE                                                                        DETROIT            MI   48217
STEVENSON, HENRY J       ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                 BALTIMORE          MD   21202
                                                           CHARLES CENTER 22ND FLOOR
STEVENSON, HUGH C        6240 PLEASANTVIEW DR                                                                        CLARE              MI   48617‐9615
STEVENSON, HUGH C        64 ELWOOD ST                                                                                PONTIAC            MI   48342‐2409
STEVENSON, J L           1173 HINCHEY RD                                                                             ROCHESTER          NY   14624‐2761
STEVENSON, JACK R        14810 W COUNTY ROAD 400 S                                                                   DALEVILLE          IN   47334‐9626
STEVENSON, JACQUELYN J   520 W 5TH ST                                                                                SOUTH SIOUX CITY   NE   68776‐1654
STEVENSON, JAMES A       1531 HOWARD ST                                                                              SAGINAW            MI   48601‐2843
STEVENSON, JAMES E       13200 W COUNCIL RD                                                                          YORKTOWN           IN   47396‐9782
STEVENSON, JAMES H       7322 RIDGE RD                                                                               LOCKPORT           NY   14094‐9458
STEVENSON, JAMES M       1096 RISECLIFF DR                                                                           GRAND BLANC        MI   48439‐8939
STEVENSON, JAMIE A       818 N HICKORY RIDGE RD                                                                      HIGHLAND           MI   48357‐4125
STEVENSON, JANE M        3172 S WAVERLY RD                                                                           EATON RAPIDS       MI   48827‐9738
STEVENSON, JANET K       5794 N RIVER RD                                                                             JANESVILLE         WI   53545‐9042
STEVENSON, JANETTA M     14655 FORE CT                                                                               SMITHVILLE         MO   64089
STEVENSON, JEANETTE      30 KLEIN ST                                                                                 ROCHESTER          NY   14621‐3508
STEVENSON, JEFFREY A     4575 WILDERNESS WAY                                                                         MASON              OH   45040‐7235
STEVENSON, JERRY T       8015 PINE HOLLOW DR                                                                         MOUNT DORA         FL   32757‐9114
STEVENSON, JESSIE        PO BOX 3792                                                                                 FLINT              MI   48502‐0792
STEVENSON, JODY W        1821 BELLSHIRE WAY                                                                          BOWLING GREEN      KY   42104‐4752
STEVENSON, JODY WAYNE    1821 BELLSHIRE WAY                                                                          BOWLING GREEN      KY   42104‐4752
STEVENSON, JOHN          2777 W GULF DR APT 211                                                                      SANIBEL            FL   33957
STEVENSON, JOHN C        6470 SPRING MILL RD                                                                         INDIANAPOLIS       IN   46260‐4244
STEVENSON, JOHN S        32781 US HIGHWAY 6                PO BOX 146                                                SPRING VALLEY      IL   61362‐9271
STEVENSON, JOHNNY        BRAYTON PURCELL                   PO BOX 6169                                               NOVATO             CA   94948‐6169
STEVENSON, JOSEPH L      4460 WICKFIELD DR                                                                           FLINT              MI   48507‐3713
STEVENSON, JULES F       612 LYNNEWOOD AVE                                                                           BURLESON           TX   76028‐6531
STEVENSON, JULIANNE R    17463 CR #501                                                                               BAYFIELD           CO   81122
STEVENSON, JULIE A       45466 PRIVATE SHORE DR                                                                      CHESTERFIELD       MI   48047‐5371
STEVENSON, KATHLEEN A    1357 CHESTERFIELD AVE                                                                       BIRMINGHAM         MI   48009‐1071
STEVENSON, KATHRYN R     3604 SILVER RDG                                                                             SAINT PETERS       MO   63376
STEVENSON, KATHRYN R     215 LANDING LANE                                                                            BLUFFTON           SC   29909‐6092
STEVENSON, KAY D         16241 E 186TH ST                                                                            NOBLESVILLE        IN   46060‐9684
STEVENSON, KELLY W       9301 WINDCREEK CT                                                                           BAKERSFIELD        CA   93312
STEVENSON, KEVAN B       709 S 80TH ST                                                                               KANSAS CITY        KS   66111‐3108
STEVENSON, KEVIN         99 CHESTERFIELD DR                                                                          NEW CASTLE         DE   19720‐1219
STEVENSON, KEVIN S       420 CANARY LN                                                                               SAINT CHARLES      MO   63301‐1237
STEVENSON, KIMBERLY L    511 HARRIET ST                                                                              DAYTON             OH   45408‐2025
                             09-50026-mg               Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
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Name                         Address1                          Address2                           Address3   Address4             City               State Zip
STEVENSON, KYLE M            420 CANARY LN                                                                                        SAINT CHARLES       MO 63301‐1237
STEVENSON, LAKESHA           44542 BAYVIEW AVE APT 13301                                                                          CLINTON TWP         MI 48038‐7052
STEVENSON, LARRY A           13189 FOLEY RD                                                                                       FENTON              MI 48430‐8408
STEVENSON, LARRY D           31 MELLISA CIR                                                                                       CLAYMONT            DE 19703‐1508
STEVENSON, LARRY D.          31 MELLISA CIR                                                                                       CLAYMONT            DE 19703‐1508
STEVENSON, LARRY J           2334 TARTAN RD                                                                                       ANDERSON            IN 46012‐4728
STEVENSON, LARRY R           5421 WAKEFIELD RD                                                                                    GRAND BLANC         MI 48439‐9132
STEVENSON, LAWRENCE A        3482 KINGSWAY DR                                                                                     HIGHLAND            MI 48356‐1840
STEVENSON, LAWRENCE R        PO BOX 42                                                                                            MEDON               TN 38356‐0042
STEVENSON, LEON J            1134 PLEASANT VALLEY LN                                                                              ARLINGTON           TX 76015‐3526
STEVENSON, LEONARD           205 S MCCURDY RD                                                                                     FLORENCE            SC 29506‐4116
STEVENSON, LEONARD           902 WICKLOW RD                                                                                       BALTIMORE           MD 21229‐1631
STEVENSON, LEROY             5318 KIMBERLY WOODS CIR                                                                              FLINT               MI 48504‐1126
STEVENSON, LEWIS A           215 RIO VILLA DR LOT 3416                                                                            PUNTA GORDA         FL 33950‐7478
STEVENSON, LINDA K           6479 HOLLAND RD                                                                                      TAYLOR              MI 48180‐1156
STEVENSON, LINDA L           1559 CHEROKEE RD E                                                                                   CROSSVILLE          TN 38572‐6719
STEVENSON, LOIS M            15221 DAGGOTT RD                                                                                     LANSING             MI 48906‐9389
STEVENSON, LORAIN            259 JUDSON DR                                                                                        OZARK               AL 36360‐3451
STEVENSON, LORETTA           10450 EAST BIG BEND                                                                                  KIRKWOOD            MO 63122‐6451
STEVENSON, LORETTA           10450 BIG BEND RD                                                                                    KIRKWOOD            MO 63122‐6451
STEVENSON, LORETTA R         5597 GREENVIEW CT                                                                                    WATAUGA             TX 76148‐4030
STEVENSON, MAHLON A          508 S COUNTY ROAD 400 E                                                                              MUNCIE              IN 47302‐9032
STEVENSON, MAHLON A W        508 S COUNTY ROAD 400 E                                                                              MUNCIE              IN 47302‐9032
STEVENSON, MAHLON E          520 W 5TH ST                                                                                         SOUTH SIOUX CITY    NE 68776‐1654
STEVENSON, MARCELLA J        6342 RICHFIELD ROAD                                                                                  FLINT               MI 48506‐2210
STEVENSON, MARCUS A          532 NW EDGEWOOD TRL                                                                                  LEES SUMMIT         MO 64081‐4067
STEVENSON, MARGARET J        731 FLORIDA AVE                                                                                      MC DONALD           OH 44437‐1607
STEVENSON, MARILYN D         1493 QUAIL CIRCLE                                                                                    ROSEVILLE           CA 95661‐4843
STEVENSON, MARILYN D         1493 QUAIL CIR                                                                                       ROSEVILLE           CA 95661‐4843
STEVENSON, MARJORIE          1517 SHERMAN ST SE                                                                                   GRAND RAPIDS        MI 49506‐2714
STEVENSON, MARK              HOWIE SACKS & HENRY LLP           SUITE 2800 ‐ P O BOX 4 ‐ 401 BAY              TORONTO ON M5H 2Y4
                                                               STREET                                        CANADA
STEVENSON, MARK D            13318 DIXIE HWY LOT 37                                                                               HOLLY              MI   48442‐9759
STEVENSON, MARK L            1102 FAUSSETT RD                                                                                     HOWELL             MI   48855‐7204
STEVENSON, MARK W            45466 PRIVATE SHORE DR                                                                               CHESTERFIELD       MI   48047‐5371
STEVENSON, MARK W            6518 SWIGERT RD                                                                                      APPLETON           NY   14008‐9604
STEVENSON, MARTHA J          2700 ROSEDALE DR                                                                                     MONROE             LA   71201‐3067
STEVENSON, MARVIN A          623 BRIDGESTONE DR                                                                                   ROCHESTER HILLS    MI   48309‐1615
STEVENSON, MARY              13451 EVANSTON ST                                                                                    DETROIT            MI   48213
STEVENSON, MARY E            2182 WHITE AVE                                                                                       INDIANAPOLIS       IN   46202‐1139
STEVENSON, MARY J            241 SW 140TH ST                                                                                      OKLAHOMA CITY      OK   73170‐6853
STEVENSON, MARYANNE
STEVENSON, MELVIN C          4506 BRIARGLEN DR                                                                                    DALLAS             TX 75211‐7806
STEVENSON, MICHAEL J         4101 S SHERIDAN RD LOT 427                                                                           LENNON             MI 48449‐9426
STEVENSON, MICHELLE M        218 LEEDOM AVE                                                                                       WEST BRISTOL       PA 19007‐3003
STEVENSON, MONICA C
STEVENSON, MONICA C          PO BOX 42                                                                                            MEDON              TN   38356‐0042
STEVENSON, MONIQUE L         5318 KIMBERLY WOODS CIR                                                                              FLINT              MI   48504‐1125
STEVENSON, MONIQUE LATRESE   5318 KIMBERLY WOODS CIR                                                                              FLINT              MI   48504‐1125
STEVENSON, MONROE            PO BOX 974                                                                                           MOUNT CLEMENS      MI   48046‐0974
STEVENSON, MURRELL J         11884 W 200 S                                                                                        RUSSIAVILLE        IN   46979‐9761
STEVENSON, NICHOLAS J        6619 OAK ST                                                                                          GLADWIN            MI   48624‐9040
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Name                          Address1                          Address2                           Address3   Address4             City              State Zip
STEVENSON, ORVILLE L          250 WOODROW ST                                                                                       LINCOLN            AL 35096‐3533
STEVENSON, PATRICIA A         LOT 174                           11596 WEST SIERRA DAWN BLVD                                        SURPRISE           AZ 85374‐9720
STEVENSON, PATRICK J          202 W HILL ST                                                                                        DAVISON            MI 48423‐1125
STEVENSON, PAUL D             1330 KING GEORGE BLVD                                                                                ANN ARBOR          MI 48108‐3212
STEVENSON, PAULINE L          2037 WILLOW BND                   C/O KEN HIPPENSTEEL                                                HUNTINGTON         IN 46750‐4510
STEVENSON, PAULINE L          2037 WILLOW BEND                  C/O KEN HIPPENSTEEL                                                HUNTINGTON         IN 46750‐4510
STEVENSON, PHILIP C           APT 528                           10498 FOUNTAIN LAKE DRIVE                                          STAFFORD           TX 77477‐3761
STEVENSON, PHYLLIS            1521 PEACHLAND LN                                                                                    JONESVILLE         LA 71343‐8142
STEVENSON, R R                52669 KARON DR                                                                                       MACOMB             MI 48042‐3498
STEVENSON, RANDY L            66 OLD STATE ROUTE 41                                                                                PEEBLES            OH 45660‐9734
STEVENSON, REGINALD L         4205 SHELDON RD                                                                                      ROCHESTER          MI 48306‐1845
STEVENSON, RENA               11115 S KING DR                                                                                      CHICAGO             IL 60628‐4556
STEVENSON, RENEE              PO BOX 278                                                                                           LONGWOOD           NC 28452‐0278
STEVENSON, RICARDO P          5868 FELLRATH ST                                                                                     TAYLOR             MI 48180‐1136
STEVENSON, RICHARD A          26105 BRETTONWOODS ST                                                                                MADISON HTS        MI 48071‐3569
STEVENSON, RICHARD D          1812 FRONT ST SW                                                                                     WARREN             OH 44485‐3519
STEVENSON, RICHARD J          1159 IRONWOOD CT APT 103                                                                             ROCHESTER HILLS    MI 48307‐1201
STEVENSON, RICHARD J          96 JAMESTOWN DR                                                                                      METAMORA           MI 48455‐8517
STEVENSON, RICHARD N          11488 DICE RD                                                                                        FREELAND           MI 48623‐9279
STEVENSON, ROBERT A           510 PENSACOLA DR                                                                                     BAY CITY           MI 48708‐6958
STEVENSON, ROBERT B           106 LAKE HOWARD DR NW                                                                                WINTER HAVEN       FL 33880‐2348
STEVENSON, ROBERT G           8930 COLEMAN RD                                                                                      HASLETT            MI 48840‐9324
STEVENSON, ROBERT G           281 HOLBROOK LN                                                                                      SAGINAW            MI 48638‐6217
STEVENSON, ROBERT L           PO BOX 855                                                                                           ROME               GA 30162‐0855
STEVENSON, ROBERT L           10371 BUTTERFLY PALM DR APT 831                                                                      FORT MYERS         FL 33966‐7960
STEVENSON, ROBERT L           446 HAUXWELL DR                                                                                      LAKE ORION         MI 48362
STEVENSON, ROBERT L           8210 HAYES ST                                                                                        COOPERSVILLE       MI 49404‐9712
STEVENSON, ROBERT L           9193 WADSWORTH CT                                                                                    FISHERS            IN 46037‐7964
STEVENSON, ROBIN              5075 BROOKDALE RD                                                                                    BLOOMFIELD         MI 48304‐3611
STEVENSON, ROGER D            6479 HOLLAND RD                                                                                      TAYLOR             MI 48180‐1156
STEVENSON, ROGER G            1868 GLENDORA DR                                                                                     INDIANAPOLIS       IN 46214‐3373
STEVENSON, ROGER J            637 MIRABEAU ST                                                                                      GREENFIELD         OH 45123‐1458
STEVENSON, RONALD L           1559 CHEROKEE RD E                                                                                   CROSSVILLE         TN 38572‐6719
STEVENSON, RONALD W           6139 SHARON AVE                                                                                      NEWFANE            NY 14108‐1117
STEVENSON, ROOSEVELT          250 BRYNWOOD ST                                                                                      HAGERSTOWN         MD 21740‐5084
STEVENSON, RUTH               1407 W EVERGREEN LN                                                                                  CLAREMORE          OK 74017‐5864
STEVENSON, RUTH A             5320 E. M‐48                                                                                         PICKFORD           MI 49774‐9120
STEVENSON, SAMUEL             19 HIGHWAY Y                                                                                         JONESBURG          MO 63351‐2705
STEVENSON, SAMUEL L           2425 LYNN AVE                                                                                        DAYTON             OH 45406‐1923
STEVENSON, SAMUEL LEE         2425 LYNN AVE                                                                                        DAYTON             OH 45406‐1923
STEVENSON, SANDRA D           PO BOX 1                                                                                             PAOLA              KS 66071‐0001
STEVENSON, SANDRA DENISE      PO BOX 1                                                                                             PAOLA              KS 66071‐0001
STEVENSON, SANDRA E           316 SHERMAN ST                                                                                       LINDEN             NJ 07036‐1948
STEVENSON, SCARLETT SIOBHAN   3172 S WAVERLY RD                                                                                    EATON RAPIDS       MI 48827‐9738
STEVENSON, SHARON J           1201 EMERALD DRIVE                                                                                   EMERALD ISLE       NC 28594‐6834
STEVENSON, SHELLEY M          2828 SHADY AVE                                                                                       PITTSBURGH         PA 15217‐2741
STEVENSON, SHEREN W           4800 VEGAS VALLEY DR UNIT 133                                                                        LAS VEGAS          NV 89121‐2030
STEVENSON, STANLEY K          6 DARDENNE DR                                                                                        SAINT PETERS       MO 63376‐1435
STEVENSON, STEFFI             HOWIE SACKS & HENRY LLP           SUITE 2800 ‐ P O BOX 4 ‐ 401 BAY              TORONTO ON M5H 2Y4
                                                                STREET                                        CANADA
STEVENSON, STONYA R           5610 N. MAIN STREET                                                                                  DAYTON            OH 45415
STEVENSON, SUE E              8210 HAYES ST                                                                                        COOPERSVILLE      MI 49404‐9712
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Name                         Address1                              Address2                    Address3   Address4              City                 State Zip
STEVENSON, SUSAN C           1918 MARGIE DR                                                                                     WHITE LAKE            MI 48386‐1830
STEVENSON, SUZANNE M         9367 CRABB RD                                                                                      TEMPERANCE            MI 48182‐9338
STEVENSON, TERRENCE L        213 JOHNSON TRL                                                                                    MORAINE               OH 45418‐2994
STEVENSON, THOMAS J          9423 VASSAR RD                                                                                     GRAND BLANC           MI 48439‐9535
STEVENSON, THOMAS L          13128 GREYBULL TRL                                                                                 AUSTIN                TX 78729‐7813
STEVENSON, THOMASINE E       23633 FOXBORO ST                      P.O. BOX 5                                                   MACOMB                MI 48042‐4854
STEVENSON, TICINA            1646 S MANNHEIM RD                                                                                 WESTCHESTER            IL 60154‐4319
STEVENSON, TILMON E          ANGELOS PETER G LAW OFFICES OF        100 N CHARLES STREET, ONE                                    BALTIMORE             MD 21202
                                                                   CHARLES CENTER 22ND FLOOR
STEVENSON, TIMOTHY D         8214 MORRISH RD                                                                                    SWARTZ CREEK         MI   48473‐9163
STEVENSON, TIMOTHY DEAN      8214 MORRISH RD                                                                                    SWARTZ CREEK         MI   48473‐9163
STEVENSON, TODD W            621 N PEARL ST                                                                                     JANESVILLE           WI   53548‐2849
STEVENSON, TRENT S           2518 NEWPORT DR                                                                                    LANSING              MI   48906
STEVENSON, VELMA M           6850 MAIN ST                                                                                       CASS CITY            MI   48726‐9694
STEVENSON, W G               15300 PALM DR SPC 237                                                                              DESERT HOT SPRINGS   CA   92240‐6928
STEVENSON, WAYNE A           3543 RAVEN AVE SW                                                                                  WYOMING              MI   49509‐3429
STEVENSON, WILLIAM           746 BAHIA CIR                                                                                      OCALA                FL   34472‐2637
STEVENSON, WILLIAM C         6722 NW PARK PLAZA DR                                                                              KANSAS CITY          MO   64151‐1742
STEVENSON, WILLIAM G         746 BAHIA CIR                                                                                      OCALA                FL   34472‐2637
STEVENSON, WILLIAM P         311 N SHERIDAN ST                                                                                  BAY CITY             MI   48708‐6663
STEVENSON, WILLIAM V         1745 TIPTON CIR NW                                                                                 ELK RIVER            MN   55330‐1835
STEVENSON, WILLIE            892 BAYS RIDGE RD                                                                                  GREENUP              KY   41144
STEVENSON, WILLIE B          2402 WILLOW DRIVE                                                                                  TROTWOOD             OH   45426‐5426
STEVENSON, WILLIE B          2402 WILLOW DR                                                                                     TROTWOOD             OH   45426‐2072
STEVENSON, WILLIE M          718 RICHWOOD AVE                                                                                   BALTIMORE            MD   21212‐4622
STEVENSON, WILLIE R          7541 NOEL RD                                                                                       INDIANAPOLIS         IN   46278‐1518
STEVENSON, YONG I            1236 SW 133RD PL                                                                                   OKLAHOMA CITY        OK   73170‐6968
STEVENSON,ANDRE D            7332 GARFIELD AVE                                                                                  KANSAS CITY          MO   64132‐1770
STEVENSON‐BRADY, CHERYLANN   5795 SHOEMAN RD                                                                                    HASLETT              MI   48840‐9791
STEVENSONS LLP               ATTN: COLIN STEVENSON, HARVEY PITCH   144 FRONT ST STE 400                   TORONTO ONTARIO M5J
                                                                                                          2L7
STEVENSONS LLP               144 FRONT ST STE 400                  TORONTO ONTARIO                        M5J 2L7
STEVENTON, MICHAEL P         5963 CALLAWAY CIR                                                                                  AUSTINTOWN           OH   44515‐4181
STEVENTON, ROBERT S          1914 E LONGMEADOW RD                                                                               TRENTON              MI   48183‐1776
STEVER, KEITH E              129 HAMPSHIRE RD                                                                                   BALTIMORE            MD   21221‐6923
STEVER, RICHARD A            4842 THICK RD                                                                                      CHAPEL HILL          TN   37034‐2644
STEVERMER, MARK E            6009 BOND ST                                                                                       SHAWNEE              KS   66203‐2635
STEVERSON BOBBIE             24 COCHRANE PL                                                                                     PONTIAC              MI   48341‐1308
STEVERSON ROCHESTER          C/O GOLDBERG PERSKY AND WHITE PC      1030 FIFTH AVENUE                                            PITTSBURGH           PA   15219
STEVERSON WEBSTER            9607 MCKINNEY ST                                                                                   DETROIT              MI   48224‐2532
STEVERSON, ANDREA F          5274 BERKSHIRE ST                                                                                  DETROIT              MI   48224‐3206
STEVERSON, BOBBIE A          24 COCHRANE PL                                                                                     PONTIAC              MI   48341‐1308
STEVERSON, BOBBIE LEE        2317 ENGLAND AVENUE                                                                                DAYTON               OH   45406‐1320
STEVERSON, ESSIE             14638 COLLINGHAM                                                                                   DETROIT              MI   48205‐1220
STEVERSON, FRED              6159 HARVARD RD                                                                                    DETROIT              MI   48224‐2011
STEVERSON, JOHN W            685 HATHAWAY DR                                                                                    AUBURN HILLS         MI   48326‐3887
STEVERSON, JUNE              847 W RIVER RD                                                                                     JACKSONVILLE         GA   31544‐2151
STEVERSON, JUNE              RR 1 BOX 27                                                                                        JACKSONVILLE         GA   31544‐9704
STEVERSON, MARCINE J         430 SOUTH BYRON                       LOT 114                                                      HOMER                MI   49245
STEVERSON, MARCINE J         430 S BYRON ST LOT 114                                                                             HOMER                MI   49245‐1353
STEVERSON, ROSE S            685 HATHAWAY DR                                                                                    AUBURN HILLS         MI   48326‐3887
STEVERSON, TALMADGE          718 OSMOND AVE                                                                                     DAYTON               OH   45417
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Name                                   Address1                              Address2                        Address3   Address4         City           State Zip
STEVERSON, TOMMIE L                    1977 E HAMMOND LAKE DR                                                                            BLOOMFIELD      MI 48302‐0126
STEVERSON, WEBSTER J                   9607 MCKINNEY ST                                                                                  DETROIT         MI 48224‐2532
STEVERSON, WEBSTER J.                  9607 MCKINNEY ST                                                                                  DETROIT         MI 48224‐2532
STEVES AUTO INC                        704 JEFFERSON AVE                                                                                 MIDLAND         MI 48640‐5365
STEVES AUTOMOTIVE                      1004 PLANTERS AVE                                                                                 DAYTON          OH 45431‐1033
STEVES CHEVROLET OF CHOWCHILLA LLC     1 AUTO PARK DR                                                                                    CHOWCHILLA      CA 93610‐9375

STEVES CHEVROLET OF CHOWCHILLA LLC     BRETT STEVES                          1 AUTO PARK DR                                              CHOWCHILLA     CA 93610‐9375

STEVES CHEVROLET‐BUICK, INC.           FRANK STEVES                          1285 E F ST                                                 OAKDALE        CA   95361‐4112
STEVES CHEVROLET‐BUICK, INC.           1285 E F ST                                                                                       OAKDALE        CA   95361‐4112
STEVES DISCOUNT DRUG                   11809 AL HIGHWAY 157 STE A                                                                        MOULTON        AL   35650‐2708
STEVES VILLAGE LANDSCAPING LLC         DBA VILLAGE LANDSCAPING               9574 STATE ROUTE 48                                         DAYTON         OH   45458‐5136
STEVES, BUDDIE L                       41849 BANBURY RD                                                                                  NORTHVILLE     MI   48168‐2335
STEVES, MARK R                         16124 VANCIL LOOP SE                                                                              YELM           WA   98597
STEVES, PAUL T                         1916 IVY CT                                                                                       COLUMBIA       TN   38401‐1389
STEVEY COLEEN                          STEVEY, COLEEN                        210 GRANT STREET SUITE 202                                  PITTSBURGH     PA   15219
STEVEY SAM (490569)                    GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                PITTSBURGH     PA   15219

STEVEY, SAM                            GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                PITTSBURGH     PA 15219

STEVIAN, GEORGE J                      1203 MANOR DR                                                                                     MARION         IN   46952‐1937
STEVIAN, GEORGE J                      1203 N MANOR DR                                                                                   MARION         IN   46952‐1937
STEVICH, JOYCE C                       3231 FANONE DR                                                                                    PORT HURON     MI   48060‐7255
STEVICK, ELEANOR M                     LOT 843                               7100 ULMERTON ROAD                                          LARGO          FL   33771‐5141
STEVICK, RUSSELL O                     3411 CAMBRIDGE DR                                                                                 MESQUITE       TX   75149‐6726
STEVIE & SABRINA LIMITED PARTNERSHIP   BAUMAN LOEWE & WITT PLLC              8765 EAST BELL ROAD SUITE 204                               SCOTTSDALE     AZ   85260

STEVIE A SHELTON                       666 WESBROOK ST                                                                                   PONTIAC        MI   48340‐3065
STEVIE ANDERSON                        1985 NW 370TH RD                                                                                  KINGSVILLE     MO   64061‐9185
STEVIE ANGEL                           9145 WATER PLANT RD                                                                               BAXTER         TN   38544‐4736
STEVIE B BARNUM                        3200 ATHERTON RD.                                                                                 KETTERING      OH   45409‐1205
STEVIE CAPPS                           1032 S BELMONT AVE                                                                                INDIANAPOLIS   IN   46221‐1106
STEVIE CORBIN                          PO BOX 683                                                                                        LAPEL          IN   46051‐0683
STEVIE ELKINS                          3595 MCCLINTOCKSBURG RD                                                                           DIAMOND        OH   44412‐8708
STEVIE GRAY                            1801 ST LAWRENCE WAY                                                                              ARLINGTON      TX   76002‐4057
STEVIE JONES                           8828 TROWBRIDGE WAY                                                                               DAYTON         OH   45424‐7053
STEVIE KNOX                            41 KINNARD STREET                                                                                 DAYTON         OH   45407‐3022
STEVIE L PACE                          2310 W LAKE RD                                                                                    CLIO           MI   48420‐8838
STEVIE L REEDER                        41 KINNARD AVE                                                                                    DAYTON         OH   45407‐3022
STEVIE LAMBERT                         22360 ROAD 128                                                                                    OAKWOOD        OH   45873‐9314
STEVIE N BOOHER                        2800 ARGELLA AVE                                                                                  DAYTON         OH   45410
STEVIE OXENDINE                        2082 CABINET SHOP ROAD                                                                            ROWLAND        NC   28383‐8326
STEVIE PACE                            2310 W LAKE RD                                                                                    CLIO           MI   48420‐8838
STEVIE SHELTON                         666 WESBROOK ST                                                                                   PONTIAC        MI   48340‐3065
STEVIE SIMS
STEVIE SMITH                           18417 GOULBURN ST                                                                                 DETROIT        MI   48205‐2650
STEVIE STORM                           13226 N STATE ROAD 9                                                                              ALEXANDRIA     IN   46001‐8933
STEVIE THOMAS                          UNIT 203                              5259 CASPIAN SPRINGS DRIVE                                  LAS VEGAS      NV   89120‐5131
STEVIE WADDELL                         6920 COUNTY ROAD 747                                                                              CULLMAN        AL   35055‐8922
STEVINSON CHEVROLET WEST, INC.         KENT STEVINSON                        15000 W COLFAX AVE                                          LAKEWOOD       CO   80401‐4023
STEVINSON CHEVROLET WEST, INC.         15000 W COLFAX AVE                                                                                LAKEWOOD       CO   80401‐4023
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Name                                  Address1                       Address2                         Address3   Address4            City            State Zip
STEVISON, FRANK H                     1511 27TH ST                                                                                   VIENNA           WV 26105‐3343
STEVLINGSON, RYOKO                    9305 GRANDVIEW DR                                                                              DENTON           TX 76207‐6629
STEVN VAN HOUCKE
STEVO DRAGISICH                       1051 S ARDMORE AVE                                                                             VILLA PARK      IL 60181‐3228
STEVO KOVACEVIC                       5037 WISHING WELL DR                                                                           GRAND BLANC     MI 48439‐4239
STEW ATWOOD
STEW KRAFT'S SERVICE CENTRE           200 HAMILTON RD.                                                           LONDON ON N6B 1N5
                                                                                                                 CANADA
STEWARD BRENDA                        STEWARD, BRENDA                120 WEST MADISON STREET , 10TH                                  CHICAGO          IL   60602
                                                                     FLOOR
STEWARD CHARLES (354899)              ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                             NEW YORK        NY    10006‐1638
STEWARD DANIEL                        239 ROCKWELL AVE                                                                               PONTIAC         MI    48341‐2262
STEWARD DANIEL JR                     210 FRANKLIN RD                                                                                PONTIAC         MI    48341‐2421
STEWARD DOROTHY                       PO BOX 200                                                                                     DONIE           TX    75838‐0200
STEWARD FULK                          573 CALLAHAN RD                                                                                JACKSON         OH    45640‐8028
STEWARD I I I, ROBERT L               4418 CALGARY BLVD                                                                              OKEMOS          MI    48864‐2940
STEWARD III, ROBERT L                 4418 CALGARY BLVD                                                                              OKEMOS          MI    48864‐2940
STEWARD JOHN L (ESTATE OF) (666147)   THORNTON EARLY & NAUMES        100 SUMMER ST LBBY 3                                            BOSTON          MA    02110‐2104

STEWARD JONES JR                      4320 NEWCASTLE CIR                                                                             LITHONIA        GA    30038‐3507
STEWARD JR, JIMMIE                    PO BOX 495                                                                                     BUFFALO         NY    14212‐0495
STEWARD JR, LARRY GENE                1084 HIGHWAY 26 WEST                                                                           POPLARVILLE     MS    39470‐7431
STEWARD JR, MARSHALL                  5330 CULVER ST                                                                                 INDIANAPOLIS    IN    46226‐4757
STEWARD JR, MERLIN V                  773 3RD AVE                                                                                    LAKE ODESSA     MI    48849‐1253
STEWARD JR, WILLIAM H                 42 PLEASANT CT                                                                                 MARTINSBURG     WV    25404‐3690
STEWARD JR., JOHN                     36 HEMLOCK RD                                                                                  LIVINGSTON      NJ    07039‐1422
STEWARD LEROY (400732)                ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                             NEW YORK        NY    10006‐1638
STEWARD MACH/BIRMING                  PO BOX 11008                   3511 13TH AVE. NORTH                                            BIRMINGHAM      AL    35202‐1008
STEWARD MITCHELL                      4 LATZER LN                                                                                    HIGHLAND        IL    62249‐2629
STEWARD MOORE                         3602 GRATIOT AVE                                                                               FLINT           MI    48503‐4911
STEWARD SR, LESTER BL                 2401 N WALNUT ST APT 6B                                                                        MUNCIE          IN    47303‐1921
STEWARD VENTURES EXCHANGE LLC         1514 CURTIS ST STE 300                                                                         DENVER          CO    80202‐2359
STEWARD WICKLINE                      266 GRANTWOOD DR                                                                               DAYTON          OH    45449‐1570
STEWARD, ALBERT J                     100 CANDLER ST                                                                                 HIGHLAND PARK   MI    48203‐2830
STEWARD, ALICE G                      12260 HARRIS ROAD                                                                              GERMANTOWN      OH    45327‐8729
STEWARD, ANNIE G                      2208 BRAMBLE WAY                                                                               ANDERSON        IN    46011‐2833
STEWARD, AUDREY E.                    1458 AMESBURY RD                                                                               TOLEDO          OH    43612‐2003
STEWARD, BEAUTIE R                    110 STEWARDS LANE                                                                              RUFFIN          SC    29475‐4116
STEWARD, BEAUTIE R                    110 STEWARDS LN                                                                                RUFFIN          SC    29475‐4116
STEWARD, BENNETTA                     PO BOX 842                                                                                     SAGINAW         MI    48606‐0842
STEWARD, BRADLEY J                    11677 ORCHARDVIEW DR                                                                           FENTON          MI    48430‐3508
STEWARD, BRADLEY JEROME               11677 ORCHARDVIEW DR                                                                           FENTON          MI    48430‐3508
STEWARD, BRENDA                       KROHN & MOSS ‐ IL              120 WEST MADISON STREET, 10TH                                   CHICAGO         IL    60602
                                                                     FLOOR
STEWARD, CAMILLA C                    35 VERSAILLES APT U                                                                            CINCINNATI      OH    45240‐3865
STEWARD, CAROL A                      5736 DEFISHER RD                                                                               MARION          NY    14505‐9545
STEWARD, CHANDRA L                    18021 ARDMORE ST                                                                               DETROIT         MI    48235‐2606
STEWARD, CHARLES                      ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                             NEW YORK        NY    10006‐1638
STEWARD, CHARLES E                    6046 DAVID BERGER ST                                                                           MOUNT MORRIS    MI    48458‐2708
STEWARD, CHARLES EDWARD               6046 DAVID BERGER ST                                                                           MOUNT MORRIS    MI    48458‐2708
STEWARD, CHARLES P                    205 BISHOP PL                                                                                  JACKSON         TN    38301
STEWARD, CHARLES W                    2327 BERKLEY CT                                                                                SAGINAW         MI    48601
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Name                      Address1                       Address2               Address3      Address4         City            State Zip
STEWARD, CLARENCE L       828 VILLAGE DR                                                                       DAVISON          MI 48423‐1049
STEWARD, COLUMBUS         APT 5                          501 LYON STREET                                       FLINT            MI 48503‐2554
STEWARD, COLUMBUS         501 LYON ST APT 5                                                                    FLINT            MI 48503
STEWARD, CONNIE J         1744 S. GROVE ROAD             APT. 102A                                             YPSILANTI        MI 48198
STEWARD, CRAIG F          165 CURLEW STREET                                                                    ROCHESTER        NY 14613‐2102
STEWARD, DEBORAH JEAN     320 NORTH ST APT D                                                                   ELKTON           MD 21921‐5500
STEWARD, DONAL J          37 BEAR CREEK DR                                                                     WENTZVILLE       MO 63385‐3374
STEWARD, DORRELL D        723 N COCHRAN AVE                                                                    CHARLOTTE        MI 48813‐1131
STEWARD, ESTHER           PO BOX 406                                                                           BRIDGEPORT       MI 48722‐0406
STEWARD, EUGENE W         962 MOWERY RD                                                                        PERRYSVILLE      OH 44864‐9685
STEWARD, FRANCES          11502 KENT                                                                           WASHINGTON       MI 48094
STEWARD, FRANK            PO BOX 473                                                                           LICKING          MO 65542‐0473
STEWARD, GAROLD D         1700 CEDARWOOD DR APT 130                                                            FLUSHING         MI 48433‐3602
STEWARD, GEORGE F         2113 HARTSUFF ST                                                                     SAGINAW          MI 48601‐2255
STEWARD, GLORIA           5337 ALTO VISTA AVE                                                                  SHREVEPORT       LA 71109‐7101
STEWARD, HELEN A          3838 DAMIAN DR                                                                       ZEPHYRHILLS      FL 33541‐2349
STEWARD, IAN              7592 ABIGAIL DR                                                                      SUPERIOR TWP     MI 48198‐7602
STEWARD, J D              2722 DUPONT ST                                                                       FLINT            MI 48504‐2822
STEWARD, JAMES A          636 N MAIN ST                                                                        OMER             MI 48749‐9755
STEWARD, JAMES R          540 HILLCREST DR                                                                     RADCLIFF         KY 40160‐2802
STEWARD, JAMES T          6907 EVANSTON AVE                                                                    MUSKEGON         MI 49442‐9446
STEWARD, JESSE D.         3005 SLEAFORD DR                                                                     WATERFORD        MI 48329‐3350
STEWARD, JOE H            1421 DELAWARE APT. 307                                                               DETROIT          MI 48206
STEWARD, JOHN L           THORNTON EARLY & NAUMES        100 SUMMER ST LBBY 3                                  BOSTON           MA 02110‐2104
STEWARD, JOHN R           20777 DODDTOWN RD                                                                    HARBESON         DE 19951‐2871
STEWARD, JOHN ROBERT      20777 DODDTOWN ROAD                                                                  HARBESON         DE 19951‐2871
STEWARD, JOHN W           PO BOX 5516                                                                          FLINT            MI 48505‐0516
STEWARD, JOSEPH B         876 W TUTTLE RD                                                                      IONIA            MI 48846‐9496
STEWARD, JOSEPH D         1027 NUTANA BLVD                                                                     MOUNT MORRIS     MI 48458‐2115
STEWARD, JOSEPH DELBERT   1027 NUTANA BLVD                                                                     MOUNT MORRIS     MI 48458‐2115
STEWARD, KENNETH D        816 S PERRY ST                                                                       NAPOLEON         OH 43545‐2157
STEWARD, LARRY G          1084 HIGHWAY 26 W                                                                    POPLARVILLE      MS 39470
STEWARD, LAURA M          LOT 86                         1133 YEOMANS STREET                                   IONIA            MI 48846‐1952
STEWARD, LENARD C         1425 BELLCREEK DR                                                                    FLINT            MI 48505‐2545
STEWARD, LEONORA V        1039 ASHLEY TAYLOR CT                                                                WADSWORTH        OH 44281‐8187
STEWARD, LEROY            ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                   NEW YORK         NY 10006‐1638
STEWARD, LILLIAN L        4997 IROQUOIS BOULEVARD                                                              CLARKSTON        MI 48348‐3218
STEWARD, LINNE            5330 CULVER ST                                                                       INDIANAPOLIS     IN 46226‐4757
STEWARD, MARCIA J         211 W HOWE AVE                                                                       LANSING          MI 48906‐3137
STEWARD, MARVIN T         3713 BEECHWOOD AVE                                                                   FLINT            MI 48506‐3122
STEWARD, MARVIN THOMAS    3713 BEECHWOOD AVE                                                                   FLINT            MI 48506‐3122
STEWARD, MICHAEL D        12333 STANLEY RD                                                                     COLUMBIAVILLE    MI 48421‐8804
STEWARD, OCIE             8585 AMERICAN ST                                                                     DETROIT          MI 48204
STEWARD, ODESSA           1166 BURNT LEAF LN                                                                   GRAND BLANC      MI 48439‐4970
STEWARD, RAYMOND T        2545 E STEVENSON LAKE RD                                                             CLARE            MI 48617‐9017
STEWARD, RICHARD F        17171 WILLIAMS DR                                                                    HOLLY            MI 48442‐9187
STEWARD, RICHARD F.       17171 WILLIAMS DR                                                                    HOLLY            MI 48442‐9187
STEWARD, ROSALIE V        3114 W ALTO RD                                                                       KOKOMO           IN 46902‐4687
STEWARD, ROSEMARY E       165 CURLEW ST                                                                        ROCHESTER        NY 14613‐2102
STEWARD, ROSETTA          11155 PRITCHARD DR                                                                   SAINT LOUIS      MO 63136‐5852
STEWARD, ROSETTA          2113 HARTSUFF                                                                        SAGINAW          MI 48601
STEWARD, ROSIE N          983 CANTERBURY DR              C/O LENECSIA BURSEY                                   PONTIAC          MI 48341‐2335
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Name                            Address1                          Address2                        Address3          Address4         City            State Zip
STEWARD, SAMUEL E               PO BOX 32                                                                                            KEMBLESVILLE     PA 19347‐0032
STEWARD, SANDRA                 1228 CHATWELL DR                                                                                     DAVISON          MI 48423‐2721
STEWARD, SANDRA K               2327 BERKLEY CT                                                                                      SAGINAW          MI 48601‐2065
STEWARD, STELLA L               10110 S MAY ST                                                                                       CHICAGO           IL 60643‐2237
STEWARD, SUSAN K                7947 LEEWARD SHORES                                                                                  DELTON           MI 49046‐1022
STEWARD, SYLVIA L               4101 W NAVY BLVD APT 8105                                                                            PENSACOLA        FL 32507‐5710
STEWARD, SYVORD J               6214 BEAVER DAM RD                                                                                   MATTESON          IL 60443‐1306
STEWARD, TERRY                  1012 W BARNES AVE                                                                                    LANSING          MI 48910‐1308
STEWARD, TOMMIE                 12103 KINSMAN RD APT 1                                                                               CLEVELAND        OH 44120‐4395
STEWARD, TORREY C               73 DUNN RIDGE DR                  APT B                                                              JACKSON          TN 38305‐7952
STEWARD, TORREY C               73 DUNN RIDGE DR APT B                                                                               JACKSON          TN 38305‐7962
STEWARD, WALTER J               110 RED FOX CT                                                                                       ROSCOMMON        MI 48653‐9328
STEWARD, WARREN T               2429 NORTH ARMSTRONG STREET                                                                          KOKOMO           IN 46901‐5806
STEWARD, WILLIAM E              809 DAVID DR                                                                                         GALLATIN         MO 64640‐9474
STEWARD, WILLIAM E              KNOLLWOOD APARTMENTS              6065 WEST KNOLL DR                                                 GRAND BLANC      MI 48439‐4908
STEWARD, WILLIAM M              24980 PANITZ ST                                                                                      HAYWARD          CA 94541‐6929
STEWARD, WILLIAM R              321 OXFORD AVE                                                                                       DAYTON           OH 45402‐6041
STEWART SR, JAMES M             1894 FRANCISCO RD                                                                                    GRASS LAKE       MI 49240
STEWART & DONNA WEINBERG        REV LIVING TRUST DTD 12/29/92     STEWART AND DONNA WEINBERG      2822 RUSSELL ST                    BERKELEY         CA 94705

STEWART & IRWIN PC              251 E OHIO ST STE 1100                                                                               INDIANAPOLIS    IN   46204‐2147
STEWART & STEVENSON POWER INC   5840 DAHLIA ST                    ADDRESS CHANGE 9/21/93                                             COMMERCE CITY   CO   80022‐3707
STEWART ALLAN & ASSOCIATES      5447 E 5TH ST STE 110                                                                                TUCSON          AZ   85711‐2345
STEWART AND IRWIN PC            251 E OHIO ST STE 1100                                                                               INDIANAPOLIS    IN   46204‐2147
STEWART ANTHONY K               STEWART, ANTHONY K                6909 E GREENWAY PKWY STE 200                                       SCOTTSDALE      AZ   85254‐2172
STEWART AUTO SERVICE            521 E COMMERCIAL ST                                                                                  SPRINGFIELD     MO   65803‐2945
STEWART BARNES BRENDA           STEWART‐BARNES, BRENDA
STEWART BILLY (468753)          KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                      CLEVELAND       OH 44114
                                                                  BOND COURT BUILDING
STEWART BLANTON                 40012 RODEO DR                                                                                       HAMILTON        MS 39746
STEWART BRADY C (175748)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510
                                                                  STREET, SUITE 600
STEWART BRETT                   5705 N FROSTWOOD PKWY APT 5                                                                          PEORIA          IL   61615
STEWART BROWN                   1255 S SEYMOUR RD                                                                                    FLINT           MI   48532‐5518
STEWART BRUMENSHENKEL           3119 LONDON EAST RD                                                                                  SHELBY          OH   44875‐9127
STEWART BUICK COMPANY           1114 COLLEGE AVE                                                                                     JACKSON         AL   36545‐2405
STEWART C ROBERSON              133 BRECKENRIDGE DRIVE                                                                               CEDARTOWN       GA   30125
STEWART CADILLAC, L.P.          2520 MAIN ST                                                                                         HOUSTON         TX   77002‐9106
STEWART CADILLAC, L.P.          JOSEPH STEWART                    2520 MAIN ST                                                       HOUSTON         TX   77002‐9106
STEWART CANFIELD                15 CATALONIA CT                                                                                      ST AUGUSTINE    FL   32086‐7627
STEWART CAREY                   10151 UNIVERSITY BLVD SUITE 322                                                                      ORLANDO         FL   32817
STEWART CARL L (629622)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA   23510
                                                                  STREET, SUITE 600
STEWART CHEVROLET CADILLAC      780 SERRAMONTE BLVD                                                                                  COLMA           CA   94014‐3220
STEWART CHEVROLET INC GORDON    LEWIS LONGMAN & WALKER PA         125 S GADSDEN ST STE 300                                           TALLAHASSEE     FL   32301‐1589
STEWART CHEVROLET INC GORDON    LEWIS LONGMAN & WALKER PA         125 S GADEDEN STREET            SUITE 300                          TALLAHASSEE     FL   32301
STEWART CHRISTOPHER             13162 LATHENE DR                                                                                     ALPHARETTA      GA   30004‐6189
STEWART CLIFTON L SR (343383)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA   23510
                                                                  STREET, SUITE 600
STEWART CONLEY                  2159 LYNPARK AVE                                                                                     DAYTON          OH 45439
STEWART COUNTY TRUSTEE          PO BOX 618                                                                                           DOVER           TN 37058‐0618
STEWART CRAIG                   STEWART, CRAIG                    2317 EAST 13TH ST                                                  DES MOINES      IA 51316
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Name                                  Address1                          Address2                        Address3   Address4                   City            State Zip
STEWART CRAWFORD                      PO BOX 501                                                                                              LAKE ORION       MI 48361‐0501
STEWART CROFTS INVESTMENTS LTD        398 ONTARIO ST                                                               ST CATHARINES ON L2R 5L8
                                                                                                                   CANADA
STEWART CYNTHIA                       2646 WILLIAMSBURG CIR                                                                                   AUBURN HILLS    MI   48326‐4150
STEWART CYNTHIA B                     15 MERRIMACK DR                                                                                         MERRIMACK       NH   03054‐4849
STEWART D BERNARD                     1030 N LINDEN RD                                                                                        FLINT           MI   48532‐2339
STEWART DARYL W                       HC 80 BOX 88                                                                                            MAYSVILLE       WV   26833‐9704
STEWART DAVID                         1073 GOODRICH AVE                                                                                       SAINT PAUL      MN   55105‐3135
STEWART DAVID                         3937 MAPLELEAF RD                                                                                       WATERFORD       MI   48328‐4058
STEWART DAVID                         942 SEARCY WAY                                                                                          BOWLING GREEN   KY   42103‐7168
STEWART DAVID F                       STEWART, DAVID F                  PO BOX 40                                                             PINEVILLE       WV   24874‐0040
STEWART DAWN                          74 THELMA IRENE DRIVE                                                                                   N KINGSTOWN     RI   02852‐5621
STEWART DIBLEY                        PO BOX 12                                                                                               MULLETT LAKE    MI   49761
STEWART DON R                         DBA DON R STEWART ATTY AT LAW     200 E MAIN ST                                                         ARLINGTON       TX   76010‐1126
STEWART DONALD (ESTATE OF) (629623)   SIMMONS FIRM                      PO BOX 521                                                            EAST ALTON      IL   62024‐0519

STEWART DONALD E SR (457597)          WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                       NEW YORK        NY 10038
STEWART DONALD R (352654)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                           NORFOLK         VA 23510
                                                                        STREET, SUITE 600
STEWART DONNIE                        1707 TRACY MILLER LANE                                                                                  CEDAR PARK      TX   78613‐3565
STEWART DORENE                        51 OAK LN                                                                                               EDISON          NJ   08817‐3570
STEWART DOUGLAS                       4452 SUNSET BLVD                                                                                        GRAND BLANC     MI   48439‐9055
STEWART DOUGLAS                       1810 E NORTH BOUTELL RD                                                                                 LINWOOD         MI   48634‐9512
STEWART DUNCAN (447990)               BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD      OH   44067
                                                                        PROFESSIONAL BLDG
STEWART E BOYD, JR                    275 PINE GROVE RD                                                                                       CANTON          MS   39046‐8680
STEWART E NESTOR JR                   415 KIRKWOOD DR                                                                                         VANDALIA        OH   45377‐1942
STEWART EDDIE (659863)                BRAYTON PURCELL                   PO BOX 6169                                                           NOVATO          CA   94948‐6169
STEWART EFI CONNECTICUT LLC           CHRIS CAREY                       45 OLD WATERBURY ROAD                                                 EMPORIUM        PA   15834
STEWART EFI LLC                       CHRIS CAREY                       45 OLD WATERBURY ROAD                                                 EMPORIUM        PA   15834
STEWART EFI LLC                       45 OLD WATERBURY ROAD                                                                                   THOMASTON       CT   06787‐1903
STEWART ELLIS                         5087 MAPLE AVE                                                                                          SWARTZ CREEK    MI   48473‐8225
STEWART ENTERPRISES, INC.             KEMP SETTLE                       2432 GENTRY MEMORIAL HWY                                              PICKENS         SC   29671‐9424
STEWART ESTHER                        STEWART, ESTHER                   314 W 15TH STREET                                                     VINCENNES       IN   47591‐5385
STEWART EUGENE (476186)               BRAYTON PURCELL                   PO BOX 6169                                                           NOVATO          CA   94948‐6169
STEWART EUGENE L (403155)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                           NORFOLK         VA   23510
                                                                        STREET, SUITE 600
STEWART FREE                          5189 WASHAKIE TRL                                                                                       BRIGHTON        MI   48116‐9743
STEWART GARY                          409 WILLIS RD                                                                                           SALINE          MI   48176‐1560
STEWART GATES                         PO BOX 42                                                                                               FREDERIC        MI   49733‐0042
STEWART GEAR MANUFACTURING INC        1502 W MAY AVE                                                                                          GASTONIA        NC   28052‐1410
STEWART GEORGE                        11 BUNKER LN                                                                                            THORNDALE       PA   19372
STEWART GILLETT                       3576 GOLDNER LN SW                                                                                      WARREN          OH   44481‐9635
STEWART GLAPAT/ZANES                  PO BOX 3030                                                                                             ZANESVILLE      OH   43702
STEWART GREEN                         4667 HUMMEL DR                                                                                          LUM             MI   48412‐9309
STEWART GREGORY                       437 STARWOOD CIR                                                                                        CHULA VISTA     CA   91910‐7436
STEWART GULLIVER                      203 OVERLOOK DR                                                                                         FRANKLIN        TN   37069‐6210
STEWART HAAS RACING                   TONY STEWART                      6001 HAAS HWY, KANNAPOLIS                                             KANNAPOLIS      NC   28081
STEWART HANSARD                       2690 HARRINGTON RD                                                                                      ROCHESTER HLS   MI   48307‐4401
STEWART HARVEY (447993)               KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                         CLEVELAND       OH   44114
                                                                        BOND COURT BUILDING
STEWART HEATHER                       1123 21ST ST                                                                                            WYANDOTTE       MI 48192‐3041
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Name                                    Address1                          Address2                          Address3                 Address4         City            State Zip
STEWART HEATHER E                       15989 CRYSTAL DOWNS E                                                                                         NORTHVILLE       MI 48168‐9637
STEWART HEBEL                           642 WEXFORD RD                                                                                                JANESVILLE       WI 53546‐1910
STEWART HECKMAN                         2605 PIKE CREEK RD                                                                                            WILMINGTON       DE 19808‐3609
STEWART HERMAN THOMAS (486010)          BARON & BUDD                      3102 OAK LANE AVE , SUITE 1100                                              DALLAS           TX 75219
STEWART HOLES                           BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS.      OH 44236
STEWART HOLMES                          1825 DELL RD                                                                                                  LANSING          MI 48911‐7135
STEWART HUDGINS                         4200 TOWN CROSSING BLVD APT 104                                                                               UNIONTOWN        OH 44685‐7981
STEWART HUMMER                          97 EAST SAWDUST ROAD                                                                                          LAPEER           MI 48446
STEWART I I I, JOSEPH M                 4552 W 300 S                                                                                                  ANDERSON         IN 46011‐9430
STEWART I I, HAROLD W                   390 3RD AVE                                                                                                   PONTIAC          MI 48340‐2845
STEWART I I, RICHARD E                  901 N WASHINGTON ST                                                                                           OWOSSO           MI 48867‐1764
STEWART II, LILBOURNE E                 PO BOX 13245                                                                                                  FLINT            MI 48501‐3245
STEWART III, FRANKIE                    912 SCIOTO ST                                                                                                 YOUNGSTOWN       OH 44505‐3754
STEWART III, SAMUEL S                   PO BOX 369                                                                                                    LAKE LEELANAU    MI 49653‐0369
STEWART ILER                            129 LINWOOD AVE                                                                                               ALMA             MI 48801‐2643
STEWART J FREE                          5189 WASHAKIE TRAIL                                                                                           BRIGHTON         MI 48116
STEWART JAMES                           STEWART, JAMES                    30 E BUTLER AVE                                                             AMBLER           PA 19002‐4514
STEWART JAMES E (400698)                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK          VA 23510
                                                                          STREET, SUITE 600
STEWART JAMES G (407341)                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK         VA 23510
                                                                          STREET, SUITE 600
STEWART JAMES SR (402193)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK         VA 23510
                                                                          STREET, SUITE 600
STEWART JEFFREY                         902 BANDERA CT                                                                                                ALLEN           TX 75013‐1134
STEWART JERRY RICHARD (ESTATE OF)       BRAYTON PURCELL                   621 SW MORRISON ST STE 950                                                  PORTLAND        OR 97205‐3824
(665273)
STEWART JOE (3D ACTION)                 STEWART, JOE                      MORRIS RATHNAU & DE LA ROSA       100 WEST MONROE STREET                    CHICAGO          IL   60603
                                                                                                            21ST FLOOR
STEWART JOE (3D ACTION)                STEWART, JOE
STEWART JOHN A (497725)                OSHEA ROBERT LAW OFFICES OF        1818 MARKET ST STE 3520                                                     PHILADELPHIA    PA 19103‐3636
STEWART JOHN W JR (ESTATE OF) (473161) ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                                  BALTIMORE       MD 21202
                                                                          CHARLES CENTER 22ND FLOOR
STEWART JOHNNY (ESTATE OF) (663735)     COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                                             CHICAGO          IL   60602
                                                                          FLOOR
STEWART JOSEPH J (ESTATE OF) (483210)   ANGELOS PETER G                   100 N CHARLES STREET , ONE                                                  BALTIMORE       MD 21201
                                                                          CHARLES CENTER
STEWART JOSEPH L JR (186155)            JACOBS & CRUMPLAR P.A.            PO BOX 1271                       2 EAST 7TH ST                             WILMINGTON      DE    19899‐1271
STEWART JR, ANDREW J                    2709 SUMMIT VIEW DR                                                                                           BEDFORD         TX    76021‐4319
STEWART JR, BILLY K                     6302 BOULDER DR                                                                                               ANDERSON        IN    46013‐3761
STEWART JR, BILLY KEMP                  6302 BOULDER DR                                                                                               ANDERSON        IN    46013‐3761
STEWART JR, BRITTON                     5699 LARKINS DR                                                                                               TROY            MI    48085‐3876
STEWART JR, CALVIN                      PO BOX 222                                                                                                    FLINT           MI    48501‐0222
STEWART JR, CHARLES D                   9217 MELODY DR                                                                                                SAVANNAH        GA    31406‐6952
STEWART JR, CHARLES R                   902 JOHNSTONE LN                                                                                              MIDDLETOWN      DE    19709‐8834
STEWART JR, COLIN M                     33 HASLEITER'S RETREAT                                                                                        SAVANNAH        GA    31411
STEWART JR, DELLMER J                   339 N WAVERLY RD                                                                                              LANSING         MI    48917‐2846
STEWART JR, EDWARD                      604 N POMPEO AVE                                                                                              CRYSTAL RIVER   FL    34429‐2505
STEWART JR, EDWARD B                    4117 NW LIBERTY ST                                                                                            OKLAHOMA CITY   OK    73107‐5035
STEWART JR, HOMER R                     6860 HOOVER AVE                                                                                               DAYTON          OH    45427‐1507
STEWART JR, HOMER RAY                   6860 HOOVER AVE                                                                                               DAYTON          OH    45427‐1507
STEWART JR, HOWARD D                    6376 W HERITAGE WAY                                                                                           FLORENCE        AZ    85232‐6610
STEWART JR, JAMES A                     14009 WILSON ST                                                                                               GRAND BLANC     MI    48439‐9398
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Name                               Address1                            Address2                        Address3        Address4                 City                State Zip
STEWART JR, JAMES C                2340 N M 52                                                                                                  OWOSSO               MI 48867‐1143
STEWART JR, JOHN H                 716 W 12TH ST                                                                                                ANDERSON             IN 46016‐1235
STEWART JR, LESLIE D               9230 EAGLE MEADOW DR                                                                                         INDIANAPOLIS         IN 46234‐2851
STEWART JR, OLIVER                 1204 E GENESEE AVE                                                                                           FLINT                MI 48505‐1637
STEWART JR, OWEN R                 194 DEARDOFF RD                                                                                              FRANKLIN             OH 45005‐1454
STEWART JR, PORT B                 6059 LAKESHORE DRIVE                                                                                         WEST OLIVE           MI 49460‐9765
STEWART JR, RALPH E                11 MAYFAIR DR                                                                                                FREDERICKSBRG        VA 22407‐1655
STEWART JR, REM                    1427 W TERRACE                                                                                               FLINT                MI 48504
STEWART JR, REM                    1427 WESTERRACE DR                                                                                           FLINT                MI 48532
STEWART JR, ROBERT E               1010 CHEROKEE DR                                                                                             WAUSEON              OH 43567‐1874
STEWART JR, ROBERT PATRICK         1509 W NOPAL AVE                                                                                             MESA                 AZ 85202‐7547
STEWART JR, ROGER T                254 CROSSWELL AVE                                                                                            BROOKVILLE           OH 45309‐1508
STEWART JR, RUSSELL                PO BOX 57                                                                                                    LAURA                OH 45337‐0057
STEWART JR, SAM                    606 E SHERMAN AVE                                                                                            FLINT                MI 48505‐5224
STEWART JR, SETH                   2619 CHURCHILL DR                                                                                            THOMPSONS STATION    TN 37179‐9297
STEWART JR, WILLIAM A              1045 CREEKSIDE LN                                                                                            PLAINFIELD           IN 46168‐2390
STEWART JR, ZOLLIE                 2143 HARTSUFF ST                                                                                             SAGINAW              MI 48601‐2255
STEWART JR,HOMER RAY               6860 HOOVER AVE                                                                                              DAYTON               OH 45417‐7607
STEWART JS                         W7125 BLACKHAWK ISLAND RD                                                                                    FORT ATKINSON        WI 53538‐9570
STEWART KOWALK                     1277 E SHERWOOD RD                                                                                           WILLIAMSTON          MI 48895‐9368
STEWART KUMFERT                    907 MOUNTAIN CREEK HOLLOW DR                                                                                 TALKING ROCK         GA 30175‐4711
STEWART LANGE                      6702 LUTHER ST                                                                                               NIAGARA FALLS        NY 14304‐4542
STEWART LAWERENCE                  APT 2405                            7707 WEST BRITTON ROAD                                                   OKLAHOMA CITY        OK 73132‐1526
STEWART LAWRENCE                   80 GRANGE HALL RD                                                                                            ORTONVILLE           MI 48462‐8836
STEWART LINDSEY                    PORTNOY & QUINN                     1 OXFORD CTR                                                             PITTSBURGH           PA 15219
STEWART LINDSEY                    STEWART, GARY                       1 OXFORD CTR                                                             PITTSBURGH           PA 15219‐1400
STEWART LINDSEY                    STEWART, LINDSEY                    1 OXFORD CTR                                                             PITTSBURGH           PA 15219‐1400
STEWART LINDSEY                    STEWART, SUZANNE                    1 OXFORD CTR                                                             PITTSBURGH           PA 15219‐1400
STEWART LISA                       1246 WHIP O WILL LANE                                                                                        MONTVALE             VA 24122‐2702
STEWART LOUIS E (476950)           KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                            CLEVELAND            OH 44114
                                                                       BOND COURT BUILDING
STEWART LYONS                      416 N WALNUT ST                                                                                              EAST ORANGE         NJ   07017‐3917
STEWART M ROBBINS JR               33023 FARMBROOK 155                                                                                          NEW HAVEN           MI   48048
STEWART MANUFACTURING LLC          PO BOX 219                          N16415 EARLE DRIVE                                                       HERMANSVILLE        MI   49847‐0219
STEWART MANUFACTURING LLC          GREG STEWART                        N 16125 N BALSAM LN                                                      LIVONIA             MI   48150
STEWART MARRIOTT                   10125 S 300 W                                                                                                PENDLETON           IN   46064‐9521
STEWART MARVIN                     1284 COUNTY ST UNIT 2                                                                                        ATTLEBORO           MA   02703‐6174
STEWART MARY                       2646 SUSSEX STREET SOUTHEAST                                                                                 WARREN              OH   44484‐4422
STEWART MASH                       27 GAYLORD CT                                                                                                NEWTOWN             PA   18940
STEWART MCALVEY                    2090 HAMILTON ST                                                                                             HOLT                MI   48842‐1337
STEWART MCKELVEY                   ATTN: VANESSA MCCARTHY              100 NEW GOWER STREET            P.O. BOX 5038   ST. JOHN'S, NL A1C 5V3
STEWART MCKELVEY                   ATTN: SHEREE CONLON                 900 ‐ 1959 UPPER WATER STREET   PO BOX 997      HALIFAX, NS B3J 2X2
STEWART MCKELVEY LLP               ATTN: SCOTT C NORTON                1959 UPPER WATER ST STE 900,    PO BOX 997      HALIFAX NS CANADA B3J
                                                                       PURDY'S WHARF TOWER ONE                         2X2
STEWART MCKELVEY STIRLING SCALES   ATTN: FRASER MACFAYDEN              900‐1959 UPPER WATER STREET                     HALIFAX NS B3J 2X2
                                                                                                                       CANADA
STEWART MCKELVEY STIRLING SCALES   SUITE 600, PURDY'S WARF TOWER ONE   1959 UPPER WATER ST.                            HALIFAX NS B3J 3N2
                                                                                                                       CANADA
STEWART MELVIN                     STEWART, MELVIN                     430M W 6TH STREET                                                        LEXINGTON           KY   40508‐1363
STEWART MICHAEL                    STEWART, MICHAEL                    2236 E WATCH                                                             SPRINGFIELD         IL   62702
STEWART MICHAEL A                  DBA SOLVE METROLOGY                 16320 GREENLY ST                                                         HOLLAND             MI   49424‐5849
STEWART MITCHELL                   19363 MACINTOSH DR                                                                                           CLINTON TWP         MI   48036‐1858
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Name                                  Address1                             Address2                          Address3                   Address4         City             State Zip
STEWART N WEBB                        41E. DAYTON STREET                                                                                                 W ALEXANDRIA      OH 45381‐1264
STEWART NESTOR JR                     415 KIRKWOOD DR                                                                                                    VANDALIA          OH 45377‐1942
STEWART NICHOLS                       304 ORCHARD ST                                                                                                     STANDISH          MI 48658‐9701
STEWART OWENS                         209 S HARRISON                                                                                                     SHERWOOD          OH 43556
STEWART OXYGEN SERVICE INC            ATTN: CORPORATE OFFICER/AUTHORIZED   5080 N ELSTON AVE                                                             CHICAGO            IL 60630‐2427
                                      AGENT
STEWART PATRICIA G IRREV TRUST        ATTN BRUCE H GRIFFIN JR              2500 W ROOSEVELT BLVD             PO BOX 1699                                 MONROE           NC 28110‐8431
STEWART PAUL E (405048)               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                   NORFOLK          VA 23510
                                                                           STREET, SUITE 600
STEWART POUNDS                        2054 KINGSWOOD DR                                                                                                  FLINT            MI   48507‐3523
STEWART RIGBY                         C/O BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS       OH   44236
STEWART ROBBINS JR                    655 RAFTER RD                                                                                                      TELLICO PLAINS   TN   37385‐5865
STEWART ROBERT (643387)               COONEY & CONWAY                      120 NORTH LASALLE STREET , 30TH                                               CHICAGO          IL   60602
                                                                           FLOOR
STEWART ROBERT EARL (636613)          GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                   NORFOLK          VA 23510
                                                                           STREET, SUITE 600
STEWART RODNEY                        PO BOX 9009                                                                                                        AURORA           IL 60598‐9009
STEWART ROGER THOMAS SR (439545)      GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                   NORFOLK          VA 23510
                                                                           STREET, SUITE 600
STEWART RON (493117)                  BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                 NORTHFIELD       OH 44067
                                                                           PROFESSIONAL BLDG
STEWART ROY (655214)                  SIMMONS FIRM                         PO BOX 521                                                                    EAST ALTON        IL 62024‐0519
STEWART RUSHTON                       2905 WALSH DR                                                                                                      ROCHESTER HLS     MI 48309‐4328
STEWART RUSSELL, AS PERSONAL REP OF   THE ESTATE OF WENDY RUSSELL          ATTN: K RICK ALVIS ALVIS &        1400 URBAN CENTER DR,                       BIRMINGHAM        AL 35242
                                                                           WILLINGHAM, LLP                   SUITE 475
STEWART SABIAN                        16725 SOUTHEAST 149TH STREET                                                                                       RENTON           WA   98059‐8821
STEWART SATTERFIELD                   BEVAN & ASSOCIATES, LPA, INC         6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS       OH   44236
STEWART SAVAGE                        175 BRENTWOOD ST                                                                                                   INKSTER          MI   48141‐1254
STEWART SEWELL                        506 CHRIS CIR                                                                                                      LAWRENCEVILLE    GA   30044‐3759
STEWART SHAFER                        760 N VAN DYKE RD                                                                                                  IMLAY CITY       MI   48444‐1107
STEWART SHERMAN                       1112 SANTA MARIA DR                                                                                                MARRERO          LA   70072‐2558
STEWART SILVA JR                      2907 OAKHILL AVE                                                                                                   BALTIMORE        MD   21207‐6734
STEWART SNYDER JR                     18 BUTLER BLVD                                                                                                     BAYVILLE         NJ   08721‐3002
STEWART SOFFA                         8737 COLUMBIA CIR                    COLUMBIA SQUARE CONDOS                                                        CANTON           MI   48187‐1354
STEWART SR, JAMES M                   1894 S FRANCISCO RD                                                                                                GRASS LAKE       MI   49240‐9739
STEWART SR, JOHN E                    PO BOX 7588                                                                                                        CHICAGO          IL   60680‐7588
STEWART SR., RICHARD B                2335 HISTORIC OAKS BLVD                                                                                            INDIANAPOLIS     IN   46214‐2387
STEWART STANLEY                       STEWART, STANLEY                     25 MAXWELL ROAD                                                               BELVIDERE        TN   37306
STEWART STEARNS                       4401 CASTLEWOOD DR                                                                                                 AUBURN HILLS     MI   48326‐1860
STEWART STEPHENSON                    1920 LOBDELL ST                                                                                                    FLINT            MI   48507‐1422
STEWART STEPHENSON                    1331 BALLARD RD                                                                                                    SEAGOVILLE       TX   75159‐4509
STEWART SUTHERLAND                    2577 PRITCHARD OHLTOWN RD SW                                                                                       WARREN           OH   44481‐8653
STEWART TERRI                         STEWART, TERRI                       22260 HAGGERTY RD STE 250                                                     NORTHVILLE       MI   48167‐8985
STEWART TINA                          STEWART, TINA                        3151 SOARING GULLS DR UNIT 1195                                               LAS VEGAS        NV   89128‐7032

STEWART TIRE & AUTO SERVICE           7135 READING RD                                                                                                    CINCINNATI       OH   45237‐3806
STEWART TRIPLETT                      1838 CANAVAN DR                                                                                                    POLAND           OH   44514‐1407
STEWART TUKE                          23 CONGRESS COURT B                                                                                                SAGINAW          MI   48602‐3716
STEWART VANDYKE                       3558 HAWTHORNE DR W                                                                                                CARMEL           IN   46033‐9619
STEWART W SMITH INC                   ATTN: STEWART W SMITH                6491 RIDINGS RD                                                               SYRACUSE         NY   13206‐1110
STEWART WAYNE                         STEWART, WAYNE                       GROTEFELD & HOFFMANN, LLP         180 NORTH LASALLE STREET                    CHICAGO          IL   60601
                                                                                                             SUITE 1810
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Name                         Address1                         Address2                         Address3        Address4         City               State Zip
STEWART WHITE                104 LYNDON DR.                                                                                     CLARKS SUMMIT       PA 18411
STEWART WILLIAM              STEWART, WILLIAM                 2299 MIAMISBURG CENTERVILLE RD                                    DAYTON              OH 45459‐3816

STEWART WILLIAM F (352955)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510
                                                              STREET, SUITE 600
STEWART WILMER H (626789)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510
                                                              STREET, SUITE 600
STEWART WILSON               1528 DAM RD                                                                                        WEST BRANCH        MI   48661‐9274
STEWART WILTON (510605)      LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                           MIAMI              FL   33143‐5163
STEWART WONSEY               74861 FULTON ST                                                                                    ARMADA             MI   48005‐3389
STEWART WOODS                4169 LARK LN                                                                                       FLINT              MI   48506‐1708
STEWART WYLOIDINE (312831)   JACOBS & CRUMPLAR P.A.           PO BOX 1271                      2 EAST 7TH ST                    WILMINGTON         DE   19899‐1271
STEWART YVONNE               PRO SE                           6028 ETZEL AVE                                                    SAINT LOUIS        MO   63112‐2122
STEWART ZUCKER IRA           108 MOFFAT RD                                                                                      WASHINGTONVILLE    NY   10992
STEWART'S AUTO BODY          ATTN: CLAY STEWART               311 W MONTCALM ST                                                 PONTIAC            MI   48342‐1154
STEWART'S AUTOMOTIVE         8211 PHLOX ST                                                                                      DOWNEY             CA   90241‐4820
STEWART'S AUTOMOTIVE         6820 E 44TH ST                                                                                     TULSA              OK   74145‐4621
STEWART, AARON G             1702 W 32ND ST                                                                                     MARION             IN   46953‐3434
STEWART, ADOLPHUS            3716 BRAMBLETON PL                                                                                 FOREST HILL        TX   76119‐6766
STEWART, AELCIDEAN           135 FORREST DR                                                                                     MARION             AR   72364‐2143
STEWART, ALAN A              205 PROVINCIAL CT UNIT 63                                                                          SAGINAW            MI   48638‐6173
STEWART, ALBERT F            9483 NEWTON FALLS RD                                                                               RAVENNA            OH   44266‐9246
STEWART, ALDEN               12978 HIDDEN VALLY RR                                                                              DESOTO             MO   63020
STEWART, ALEC                101 DEVILLE DR                                                                                     JONESVILLE         LA   71343
STEWART, ALEX J              455 WOOSLEY DR                                                                                     SMITHS GROVE       KY   42171‐7283
STEWART, ALEX JOE            455 WOOSLEY DR                                                                                     SMITHS GROVE       KY   42171‐7283
STEWART, ALEXANDER           2450 WILLIAMSDOWNS CIR                                                                             SNELLVILLE         GA   30078‐2346
STEWART, ALICE W             4345 NELSON‐MOSIER RD                                                                              LEAVITTSBURG       OH   44430‐9426
STEWART, ALICE W             4345 NELSON MOSIER RD                                                                              LEAVITTSBURG       OH   44430‐9426
STEWART, ALICIA              300 MARSHALL RD APT 48                                                                             JACKSONVILLE       AR   72076‐2344
STEWART, ALICIA A            44448 CLAY RD                                                                                      BELLEVILLE         MI   48111‐9138
STEWART, ALINE               2219 MONTGOMERY ST                                                                                 SAGINAW            MI   48601
STEWART, ALLAN T             6138 RAINTREE DR                                                                                   CANTON             MI   48187‐3634
STEWART, ALLEN               18101 SUMPTER RD                                                                                   BELLEVILLE         MI   48111‐8721
STEWART, ALLEN E             116 GROVE RUN RD                                                                                   COMMERCIAL POINT   OH   43116‐9702
STEWART, ALLEN R             6 ELM ST                                                                                           GERMANTOWN         OH   45327‐1205
STEWART, ALLEN R             6 ELM ST.                                                                                          GERMANTOWN         OH   45327‐1205
STEWART, ALMA K              5113 OGEECHEE RD BOX A                                                                             SAVANNAH           GA   31405‐2521
STEWART, ALONZA              1357 WESTOVER AVE                                                                                  SAINT LOUIS        MO   63130‐1529
STEWART, ALONZO R            18438 SUNDERLAND RD                                                                                DETROIT            MI   48219‐2846
STEWART, ALVIN JOSEPH        SHANNON LAW FIRM                 100 W GALLATIN ST                                                 HAZLEHURST         MS   39083‐3007
STEWART, ANDREW D            25605 SPRATT RD                                                                                    WESTON             MO   64098‐9511
STEWART, ANGELISA            618 S 11TH ST                                                                                      SAGINAW            MI   48601‐1907
STEWART, ANGELO              2022 CAMBRIDGE DR SE                                                                               GRAND RAPIDS       MI   49506‐5236
STEWART, ANN V               266 MCCLURE STREET                                                                                 DAYTON             OH   45410‐1529
STEWART, ANNE                2525 GREENSBURG PIKE APT 306                                                                       PITTSBURGH         PA   15221‐3686
STEWART, ANNETTE J           457 S CASTOR RD                                                                                    SHEPHERD           MI   48883
STEWART, ANNIE G             1059 OGLETHROPE AVE S W APT322                                                                     ATLANTA            GA   30310
STEWART, ANTHONY K           SHUMWAY, G LYNN                  4647 N 32ND ST STE 230                                            PHOENIX            AZ   85018‐3347
STEWART, ANTHONY KEVIN       2532 SOUTH REVOLTA                                                                                 MESA               AZ   85209‐6651
STEWART, ANTHONY O           5675 TREEBROOK DRIVE NORTHEAST                                                                     ADA                MI   49301‐8701
STEWART, ANTHONY W           2212 E 74TH ST                                                                                     INDIANAPOLIS       IN   46240‐3110
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Name                      Address1                         Address2                       Address3   Address4         City            State Zip
STEWART, APRIL            18005 MURRAY PL                                                                             NOBLESVILLE      IN 46060
STEWART, ARDIS J          11651 HERON BAY DR                                                                          FENTON           MI 48430‐8612
STEWART, ARLENE           SHANNON LAW FIRM                 100 W GALLATIN ST                                          HAZLEHURST       MS 39083‐3007
STEWART, ARNOLD R         60 KY HIGHWAY 611                                                                           PIKEVILLE        KY 41501‐4135
STEWART, ARTELIA          3613 DUPONT ST                                                                              FLINT            MI 48504‐3520
STEWART, ARTHUR C         520 GREENWAY ST                                                                             DAVISON          MI 48423‐1213
STEWART, ARTHUR H         3680 CURTIS RD                                                                              NASHVILLE        MI 49073‐9402
STEWART, ARTHUR JAMES     ANDERSON A BROOKS                3219 MCKINNEY AVE STE 3000                                 DALLAS           TX 75204
STEWART, ARTHUR R         6579 ALKIRE RD                                                                              GALLOWAY         OH 43119‐9375
STEWART, ARTIS            7 TORRINGTON LN                                                                             WILLINGBORO      NJ 08046‐3609
STEWART, ARVIA M          1316 WARD RD                                                                                BAYTOWN          TX 77520‐5452
STEWART, BARBARA          3901 HAMMERBERG RD 15                                                                       FLINT            MI 48507
STEWART, BARBARA          861 ROXANA DRIVE                                                                            VANDALIA         OH 45377‐5377
STEWART, BARBARA          861 ROXANA DR                                                                               VANDALIA         OH 45377‐2830
STEWART, BARBARA B        2520 ORLANDO ST                                                                             INDIANAPOLIS     IN 46228‐2944
STEWART, BARBARA D        904 PORTLAND AVE                                                                            NEW CARLISLE     OH 45344‐3014
STEWART, BARBARA E        2716 W 38TH ST                                                                              MARION           IN 46953‐9396
STEWART, BARBARA J        902 E COUNTRY GABLES DR                                                                     PHOENIX          AZ 85022‐3713
STEWART, BARBARA J        4980 E LECKIE LN                                                                            SAGINAW          MI 48603‐9630
STEWART, BARBARA J        58523 MEADOW CREEK BLVD                                                                     NEW HAVEN        MI 48048
STEWART, BARBARA M        3646 SLATTERY RD                                                                            ATTICA           MI 48412‐9389
STEWART, BARBARA THOMAS   LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                    MIAMI            FL 33143‐5163
STEWART, BARBARA V        214 W 30TH ST                    C/O RENEE‐TAYLOR                                           WILMINGTON       DE 19802‐3131
STEWART, BELINDA A        81 S JESSIE ST                                                                              PONTIAC          MI 48342‐2815
STEWART, BERNADETTE       PO BOX 19283                                                                                BALTIMORE        MD 21213‐0283
STEWART, BERNICE          3622 N 51ST BLVD                                                                            MILWAUKEE        WI 53216‐2935
STEWART, BERNICE          6118 N LINDEN RD                                                                            MOUNT MORRIS     MI 48458‐9336
STEWART, BESSIE J         498 WOMACK RD                                                                               PORTLAND         TN 37148‐5455
STEWART, BETTIE J         413 BRIGHTSTONE RD                                                                          FARMINGTON       MO 63640‐7578
STEWART, BETTIE J         321 E GENESEE ST                                                                            FLINT            MI 48505‐4215
STEWART, BETTY            18707 JEANETTE ST                                                                           SOUTHFIELD       MI 48075‐1728
STEWART, BETTY G          PO BOX 250204                                                                               MONTGOMERY       AL 36125‐0204
STEWART, BETTY J          3224 E MAIN ST                                                                              PLAINFIELD       IN 46168
STEWART, BETTY L          2298 LONDON BRIDGE DR UNIT 56                                                               ROCHESTER HLS    MI 48307‐4264
STEWART, BETTY W          51246 SUNNY HILL DR                                                                         SHELBY TWP       MI 48316‐4546
STEWART, BEVERLY K        6583 S COUNTY ROAD 400 E                                                                    CLAYTON          IN 46118‐9441
STEWART, BILLIE J         3646 SLATTERY RD                                                                            ATTICA           MI 48412‐9389
STEWART, BILLY            KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                               CLEVELAND        OH 44114
                                                           BOND COURT BUILDING
STEWART, BILLY A          14430 N 19TH AVE APT 1                                                                      PHOENIX         AZ   85023‐6704
STEWART, BILLY B          2425 S PLEASANT CIR                                                                         ARLINGTON       TX   76015‐4025
STEWART, BILLY D          380 E DAYTON ST                                                                             FLINT           MI   48505
STEWART, BILLY E          5544 BLUE RIDGE BLVD                                                                        RAYTOWN         MO   64133‐2976
STEWART, BILLY R          260 BEAR LAKE RD                                                                            TUCKASEGEE      NC   28783‐8505
STEWART, BILLY R          35 EAGLE RD                                                                                 COATS           NC   27521‐9589
STEWART, BLANCHE E.       826 W NORTH ST                                                                              KOKOMO          IN   46901‐2768
STEWART, BOBBIE J         16630 N 174TH AVE                                                                           SURPRISE        AZ   85388‐0255
STEWART, BOBBY D          14607 HALCOURT AVE                                                                          NORWALK         CA   90650‐4639
STEWART, BOBBY H          PO BOX 37                                                                                   MORGANTON       GA   30560‐0037
STEWART, BOBBY J          4686 UNIVERSAL ST                                                                           DEARBORN HTS    MI   48125‐3339
STEWART, BONNIE J         3206 S HOPKINS AVE                                                                          TITUSVILLE      FL   32780‐5667
STEWART, BRAD D           227 FAIRCREST DR                                                                            ARLINGTON       TX   76018‐4027
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STEWART, BRAD W          23172 CANDACE DR                                                                                 ROCKWOOD         MI 48173‐1233
STEWART, BRADY C         GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA 23510‐2212
                                                       STREET, SUITE 600
STEWART, BRENDA J        PO BOX 1373                                                                                      FLINT           MI   48501‐1373
STEWART, BRIAN           4065 BONNETT CREEK LN                                                                            HOSCHTON        GA   30548‐6207
STEWART, BRIAN A         PO BOX 352                                                                                       LIPAN           TX   76462‐0352
STEWART, BRIAN R         617 N MADISON ST                                                                                 LAPEER          MI   48446‐2033
STEWART, BRIAN T         91 COLEWOOD LN                                                                                   RISING SUN      MD   21911‐2723
STEWART, BRUCE           3915 CLOVERDALE RD                                                                               MEDWAY          OH   45341‐8726
STEWART, BRUCE M         6383 DENTON DR                                                                                   TROY            MI   48098‐2006
STEWART, BRYAN J         57763 CIDER MILL DR                                                                              NEW HUDSON      MI   48165‐9482
STEWART, BURDETTE L      2255 HEWITT GIFFORD RD SW                                                                        WARREN          OH   44481‐9117
STEWART, CALVIN E        3131 MOLLER RD                                                                                   INDIANAPOLIS    IN   46224‐2101
STEWART, CAMMI L         19785 NOB HILL DR                                                                                MACOMB          MI   48044‐5923
STEWART, CARDELL         9550 MADELAINE MANOR WALK                                                                        SAINT LOUIS     MO   63134‐3208
STEWART, CARL E          933 N UNION ST                                                                                   NATCHEZ         MS   39120
STEWART, CARL L          GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA   23510‐2212
                                                       STREET, SUITE 600
STEWART, CARLA           BOX 246                                                                                          CARTERT         NJ   07008
STEWART, CARLOS ANDREW   22 LANYARD AVE                                                                                   TROTWOOD        OH   45426‐3046
STEWART, CARMEN J        2822 W TIENKEN RD                                                                                ROCHESTER HLS   MI   48306‐3865
STEWART, CAROL           1502 BENT DR                                                                                     FLINT           MI   48504‐1985
STEWART, CAROL           1380 HERMAN GREEN RD                                                                             OWENTON         KY   40359‐8651
STEWART, CAROL A         206 JEREMIAH AVE                                                                                 TRENTON         NJ   08610‐6623
STEWART, CAROL E         PO BOX 8430                                                                                      SOUTH BEND      IN   46660
STEWART, CAROLYN         4472 KRISTINA DR                                                                                 GRAND BLANC     MI   48439
STEWART, CAROLYN         PO BOX 542                                                                                       GENESEE         MI   48437‐0542
STEWART, CAROLYN E       APT B                         819 AUBURN HILL DRIVE                                              INDIANAPOLIS    IN   46224‐7137
STEWART, CAROLYN J       828 SECOR RD                                                                                     TOLEDO          OH   43607‐2857
STEWART, CAROLYN JEAN    828 SECOR RD                                                                                     TOLEDO          OH   43607‐2857
STEWART, CARRIE A        539 COPEMAN BLVD                                                                                 FLINT           MI   48503‐1115
STEWART, CARRIE E        HYLAND NURSING HOME           C. REDDING                    601 EAST G STREET                    IRON MOUNTAIN   MI   49801
STEWART, CARRIE L        APT A                         1421 CUMBERLAND STREET                                             LITTLE ROCK     AR   72202‐5007
STEWART, CASEY D         116 DONALD DR                                                                                    HURST           TX   76053‐6844
STEWART, CATHERINE       2A FOREST RD                                                                                     GLEN BURNIE     MD   21060‐7558
STEWART, CATHLEEN L      1443 DAUNER RD APT D                                                                             FENTON          MI   48430‐1500
STEWART, CECELIA L       19472 HARLOW ST                                                                                  DETROIT         MI   48235‐2239
STEWART, CELESTINE E     309 N COLUMBUS ST                                                                                CRESTLINE       OH   44827‐1409
STEWART, CELESTINE E     309 NORTH COLUMBUS                                                                               CRESTLINE       OH   44827
STEWART, CEOLA M         370 BALDWIN AVE APT 204                                                                          PONTIAC         MI   48342‐1387
STEWART, CHARLENE E      5305 N ELMS RD                                                                                   FLUSHING        MI   48433‐9027
STEWART, CHARLES         1120 E SHERMAN AVE                                                                               FLINT           MI   48505‐2939
STEWART, CHARLES         7394 N 67TH DR APT‐10                                                                            GLENDALE        AZ   85303
STEWART, CHARLES         228 HARRIET ST                                                                                   ROMEO           MI   48065‐4751
STEWART, CHARLES A       1110 SALLY HOLLER RD                                                                             HARRISBURG      IL   62946‐5668
STEWART, CHARLES D       166 MANOR AVENUE NORTHWEST                                                                       CANTON          OH   44708‐5346
STEWART, CHARLES E       642 EAGLE RUN                                                                                    LAKELAND        FL   33809‐5637
STEWART, CHARLES H       1227 BROADACRE AVE                                                                               CLAWSON         MI   48017‐1437
STEWART, CHARLES L       357 MAIN ST                                                                                      RIDGEDALE       MO   65739‐4147
STEWART, CHARLES R       4322 FORESTVIEW COURT                                                                            ENGLEWOOD       OH   45322‐2561
STEWART, CHARLES S       3260 TWINLEAF ST                                                                                 COMMERCE TWP    MI   48382‐4262
STEWART, CHARLES T       171 WALL ST                                                                                      PONTIAC         MI   48342‐3164
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Name                     Address1                         Address2                      Address3   Address4         City            State Zip
STEWART, CHARLES T       18681 LAMONT ST                                                                            DETROIT          MI 48234‐2230
STEWART, CHEQUITA R      915 S BLAINE ST                                                                            MUNCIE           IN 47302‐2628
STEWART, CHERYL A        3317 N EMERALD GROVE RD                                                                    MILTON           WI 53563‐8612
STEWART, CHESTER         PO BOX 70215                                                                               KNOXVILLE        TN 37938‐0215
STEWART, CHESTER G       28545 BENJIE WAY                                                                           LANCASTER        CA 93536‐9231
STEWART, CHRISTINE A     2146 SHERWOOD FOREST DR                                                                    MIAMISBURG       OH 45342‐2034
STEWART, CHRISTINE A     2246 GIPSY DRIVE                                                                           DAYTON           OH 45414‐3342
STEWART, CHRISTINE M     3077 HARLEY DR                                                                             BAY CITY         MI 48706‐2734
STEWART, CHRISTOPHER A   1530 14TH ST SE                                                                            CLEVELAND        TN 37311‐3181
STEWART, CHRISTOPHER J   6860 HOOVER AVE                                                                            DAYTON           OH 45427‐1507
STEWART, CHRISTOPHER L   605 1ST AVENUE                                                                             PONTIAC          MI 48340‐2808
STEWART, CIARA M         5516 DOUGLAS RD                                                                            TOLEDO           OH 43613‐2072
STEWART, CINDY H         2502 MUD TAVERN ROAD SOUTHWEST                                                             DECATUR          AL 35603‐3416
STEWART, CLAIRE L        18 CLARK ST                                                                                WAKEMAN          OH 44889‐9311
STEWART, CLARENCE E      PO BOX 16                                                                                  KINCAID          WV 25119‐0016
STEWART, CLARENCE R      2918 REGALIA DR                                                                            PINE BLUFF       AR 71603
STEWART, CLAUDE N        2050 BURR BLVD                                                                             FLINT            MI 48503‐4234
STEWART, CLENNON E       7997 ZIEGLER ST                                                                            TAYLOR           MI 48180‐2631
STEWART, CLETUS R        3857 PRICE VALLEY RD.                                                                      SUMMERSET        KY 42501‐2501
STEWART, CLIFFORD        9209 SOUTH LAKE DR                                                                         OKLAHOMA         OK 73159
STEWART, CLIFFORD        9209 SOUTHLAKE DR                                                                          OKLAHOMA CITY    OK 73159‐6758
STEWART, CLIFFORD L      500 N WALNUT ST APT 15H                                                                    WILMINGTON       DE 19801‐3821
STEWART, CLIFFORD L      12 ELM ST                                                                                  JAMESTOWN        OH 45335‐1526
STEWART, CLIFTON L       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                          STREET, SUITE 600
STEWART, CLIFTON R       421 N WEBSTER ST                                                                           SAGINAW         MI   48602‐4425
STEWART, CLYDE F         20930 PERSIMMON PL                                                                         ESTERO          FL   33928‐2253
STEWART, CLYDE R         1350 HAYES RD                                                                              MUIR            MI   48860‐9781
STEWART, COLE D          9305 MERLOT CIR                                                                            SEFFNER         FL   33584‐2619
STEWART, CONNIE M        229 STATE HIGHWAY UU                                                                       BURFORDVILLE    MO   63739‐9039
STEWART, CONNIE MARIE    229 STATE HIGHWAY UU                                                                       BURFORDVILLE    MO   63739‐9039
STEWART, CORENE H.       1236 OAKLAND PKWY                                                                          LIMA            OH   45805‐2406
STEWART, CRAIG           2317 E 13TH ST                                                                             DES MOINES      IA   50316‐1914
STEWART, CRAIG           233 ELVA ST                                                                                ANDERSON        IN   46013‐4662
STEWART, CREACY          11500 SHOEMAKER ST               APT 210                                                   DETROIT         MI   48213
STEWART, CYNTHIA A       PO BOX 310865                                                                              FLINT           MI   48531‐0865
STEWART, CYNTHIA D       2646 WILLIAMSBURG CIR                                                                      AUBURN HILLS    MI   48326‐4150
STEWART, CYNTHIA E       903 W 5TH ST                                                                               MARION          IN   46953‐1628
STEWART, CYNTHIA M       8073 KENSINGTON BLVD APT 441                                                               DAVISON         MI   48423
STEWART, DAISY M         2205 W HAMPTON BLVD                                                                        SHELBYVILLE     IN   46176‐3007
STEWART, DALE T          4596 WENZ RD                                                                               WAKEMAN         OH   44889‐9381
STEWART, DANIEL          4220 71ST AVE                                                                              PINELLAS PARK   FL   33781
STEWART, DANIEL J        8977 HERITAGE RD                                                                           FRANKLIN        OH   45005‐1316
STEWART, DANIEL J        3317 N EMERALD GROVE RD                                                                    MILTON          WI   53563‐8612
STEWART, DANIEL J        2218 EDWARD DR                                                                             KOKOMO          IN   46902‐6503
STEWART, DANIEL K        721 W JEFFERSON ST                                                                         ALEXANDRIA      IN   46001‐1732
STEWART, DANIEL KEITH    721 W JEFFERSON ST                                                                         ALEXANDRIA      IN   46001‐1732
STEWART, DANIEL L        10052 SEYMOUR RD                                                                           MONTROSE        MI   48457‐9012
STEWART, DANIEL O        5525 SILVERDALE DR                                                                         TOLEDO          OH   43612‐3623
STEWART, DANIEL R        618 HALE RD                                                                                WILMINGTON      OH   45177‐8505
STEWART, DANNY W         1415 EDMONSON CIR                                                                          NASHVILLE       TN   37211‐7234
STEWART, DARCY S         PO BOX 457                                                                                 BURNSIDE        KY   42519‐0457
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Name                          Address1                        Address2                  Address3   Address4         City           State Zip
STEWART, DARLENE A            50198 WHEATON CT                                                                      MACOMB          MI 48044‐6111
STEWART, DARYL W              HC 80 BOX 88                                                                          MAYSVILLE       WV 26833‐9704
STEWART, DAVID                APT 3                           3100 86TH STREET                                      STURTEVANT      WI 53177‐2847
STEWART, DAVID
STEWART, DAVID                THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES   FL    33146
STEWART, DAVID A              5335 KOALA LN                                                                         SUN VALLEY     NV    89433‐7933
STEWART, DAVID A              12723 M 89                                                                            PLAINWELL      MI    49080‐9049
STEWART, DAVID A              7225 BELFAIR DR                                                                       PRESQUE ISLE   MI    49777‐8509
STEWART, DAVID C              8460 REESE RD                                                                         CLARKSTON      MI    48348‐2746
STEWART, DAVID F              THOMPSON, DAVID G               PO DRAWER 40                                          PINEVILLE      WV    24874
STEWART, DAVID L              1254 W GRAND BLANC RD                                                                 GRAND BLANC    MI    48439‐9338
STEWART, DAVID M              12322 BENNINGTON AVE                                                                  GRANDVIEW      MO    64030‐1871
STEWART, DAVID MICHAEL        12322 BENNINGTON AVE                                                                  GRANDVIEW      MO    64030‐1871
STEWART, DAVID S              3937 MAPLELEAF RD                                                                     WATERFORD      MI    48328‐4058
STEWART, DAVID S              3700 LANSING RD                                                                       ROSCOMMON      MI    48653‐9503
STEWART, DAVID W              6531 E SWAMP RD                                                                       CONESUS        NY    14435‐9730
STEWART, DAVID W              PO BOX 483                                                                            KILMARNOCK     VA    22482‐0483
STEWART, DEBORAH E            PO BOX 1141                                                                           FARMINGTON     MI    48332‐1141
STEWART, DEBORAH L            11402 N GENESEE RD                                                                    CLIO           MI    48420‐9755
STEWART, DEBORAH LYNN         11402 N GENESEE RD                                                                    CLIO           MI    48420‐9755
STEWART, DEBRA                16175 FIELDING ST                                                                     DETROIT        MI    48219‐3329
STEWART, DEBRA J              6909 OLD STATE RD                                                                     WHITTEMORE     MI    48770
STEWART, DEBRA K              84 FAIR ST                                                                            BROCKPORT      NY    14420‐2060
STEWART, DELANO T             PO BOX 275                                                                            LUZERNE        MI    48636‐0275
STEWART, DELORES              432 E 49TH ST                                                                         ANDERSON       IN    46013‐4804
STEWART, DELORES J            3100 GARY DR                                                                          ST LOUIS       MO    63121‐5345
STEWART, DELORES J            2241 W JEFFERSON ST APT C331                                                          KOKOMO         IN    46901‐4157
STEWART, DELPHA T             8904 BELLEHAVEN AVE NE                                                                ALBUQUERQUE    NM    87112‐3813
STEWART, DELSIE P             1230 WALNUT ST                                                                        OWOSSO         MI    48867‐4329
STEWART, DENIS R              2299 HARTFORD 5 PTS RD                                                                FOWLER         OH    44418
STEWART, DENNIS R             4345 NELSON MOSIER RD                                                                 LEAVITTSBURG   OH    44430‐9426
STEWART, DENVER R             7760 DOG LEG RD                                                                       DAYTON         OH    45414‐1608
STEWART, DIANA K              9450 LINDA DR                                                                         DAVISON        MI    48423‐1797
STEWART, DIANE C              866 S RIDGE PL                                                                        BENSON         AZ    85602‐6870
STEWART, DIANE C              HC3 BOX 673‐B                                                                         PAYSON         AZ    85541
STEWART, DIANE K              4400 OKEMOS RD APT H202                                                               OKEMOS         MI    48864
STEWART, DIANE M              20630 COUNTY ROAD X                                                                   NAPOLEON       OH    43545‐9421
STEWART, DIANE M              20‐630 CO RD X                                                                        NAPOLEON       OH    43545‐9421
STEWART, DIANN D              345 LOCHRIDGE                                                                         AZLE           TX    76020‐2565
STEWART, DIANN D              345 LOCHRIDGE DR                                                                      AZLE           TX    76020‐2565
STEWART, DOLA D               7348 PRINCETON                                                                        ST LOUIS       MO    63130‐2922
STEWART, DOLORES S            3498 GREAT NECK ST              C/O PAUL A GRAMIGNA                                   PT CHARLOTTE   FL    33952‐8446
STEWART, DON E                112 GALENA LN                                                                         BRYAN          OH    43506‐9206
STEWART, DON EDWARD           112 GALENA LN                                                                         BRYAN          OH    43506‐9206
STEWART, DON H                1395 COUNTRY OAKS LN                                                                  LAKELAND       FL    33810‐8118
STEWART, DONALD (ESTATE OF)   SIMMONS FIRM                    PO BOX 521                                            EAST ALTON      IL   62024‐0519
STEWART, DONALD B             5905 PINE ST                                                                          HUBBARD LAKE   MI    49747‐9648
STEWART, DONALD E             WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                       NEW YORK       NY    10038
STEWART, DONALD E             8109B BURKHART ST                                                                     CINCINNATI     OH    45237‐1301
STEWART, DONALD E             356 HUDSON ST                                                                         BUFFALO        NY    14201‐1709
STEWART, DONALD K             1169 E YALE AVE                                                                       FLINT          MI    48505‐1518
STEWART, DONALD KEVIN         1169 E YALE AVE                                                                       FLINT          MI    48505‐1518
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Name                     Address1                       Address2                      Address3   Address4         City               State Zip
STEWART, DONALD O        5038 BONNIE BRAE ST                                                                      INDIANAPOLIS        IN 46228‐3034
STEWART, DONALD P        143 E IROQUOIS RD                                                                        PONTIAC             MI 48341‐1610
STEWART, DONALD R        3647 MOORESVILLE HWY                                                                     CULLEOKA            TN 38451‐8034
STEWART, DONALD R        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                        STREET, SUITE 600
STEWART, DONALD S        2487 TOM ANDERSON RD                                                                     FRANKLIN           TN   37064‐9639
STEWART, DONALD W        3270 E BEVENS RD                                                                         CARO               MI   48723‐9462
STEWART, DONALD W        4250 BONAIRE LN                                                                          LITTLE RIVER       SC   29566‐7657
STEWART, DONNA J         14913 STEEL ST                                                                           DETROIT            MI   48227‐3957
STEWART, DONNA L         5059 E ELENA AVE                                                                         MESA               AZ   85206‐2806
STEWART, DONNABELLE M    6 BENNETT LN UNIT C                                                                      NORWALK            OH   44857‐2630
STEWART, DORA N          2728 BROCKTON RD                                                                         JEFFERSON          GA   30549‐3707
STEWART, DORETTA M       721 MILLER AVE                                                                           JANESVILLE         WI   53548‐2336
STEWART, DOROTHEA L      930 NELSON ST                                                                            JACKSON            GA   30233‐2604
STEWART, DOROTHY
STEWART, DOROTHY E       3109 ELM AVE                                                                             BROOKFIELD         IL   60513‐1305
STEWART, DOROTHY F       1337 AZALEA DR                                                                           REYNOLDSBURG       OH   43068‐1296
STEWART, DOROTHY I       198 MCKINLEY AVENUE                                                                      MERCER             PA   16137‐1352
STEWART, DORSEY D        34330 PINEWOODS CIR APT 201                                                              ROMULUS            MI   48174
STEWART, DOUGLAS E       12643 ELK RIVER MILLS RD                                                                 ATHENS             AL   35614‐4611
STEWART, DOUGLAS E       4452 SUNSET BLVD                                                                         GRAND BLANC        MI   48439‐9055
STEWART, DOUGLAS R       1207 SOMMEREST DR                                                                        ATHENS             AL   35611‐4127
STEWART, DOUGLAS W       2010 PROPER AVE                                                                          BURTON             MI   48529‐2048
STEWART, DWARNER         19616 JEROME ST APT 178                                                                  ROSEVILLE          MI   48066‐1244
STEWART, DWIGHT W        900 MILLRIDGE RD                                                                         HIGHLAND HEIGHTS   OH   44143‐3114
STEWART, EDDIA L         1820 WOODLAND AVE APT 109                                                                KANSAS CITY        MO   64108‐1699
STEWART, EDDIE           BRAYTON PURCELL                PO BOX 6169                                               NOVATO             CA   94948‐6169
STEWART, EDDIE D         716 W GRAMERCY AVE                                                                       TOLEDO             OH   43612‐2418
STEWART, EDGAR P         HC 2 BOX 43                                                                              WASOLA             MO   65773‐9704
STEWART, EDNA M          1920 NE 69TH ST                                                                          OKLAHOMA CITY      OK   73111‐8110
STEWART, EDNA M          1920 N E 69TH ST                                                                         OKLAHOMA CITY      OK   73111‐8110
STEWART, EDWARD J        7 HOVEY ST                                                                               OXFORD             MI   48371‐4823
STEWART, EDWARD K        330 MANSELL DR                                                                           YOUNGSTOWN         OH   44505‐1963
STEWART, EDWARD P        15450 18 MILE RD               APT 112                                                   CLINTON TOWNS      MI   48038‐5870
STEWART, EDWARD T        96 SUNRISE DR                  BLUE SPRING ESTATES                                       CADIZ              KY   42211‐8881
STEWART, EDWARD W        33920 MULVEY                                                                             FRASER             MI   48026‐1951
STEWART, EDWARD WALTER   33920 MULVEY                                                                             FRASER             MI   48026‐1951
STEWART, EDWIN E         1265 COLLAR PRICE RD                                                                     HUBBARD            OH   44425‐2956
STEWART, EDWIN E         8620 N 84TH ST                                                                           SCOTTSDALE         AZ   85258‐2491
STEWART, EDWIN T         20130 FORT STREET                                                                        RIVERVIEW          MI   48193
STEWART, EDWIN THOMAS    20130 FORT ST APT 101                                                                    RIVERVIEW          MI   48193
STEWART, ELDON L         6817 HILLSBORO H.S. RD.                                                                  CEDAR HILL         MO   63016
STEWART, ELEANORA L      807 EDGEWICK RD                                                                          NEW CARLISLE       OH   45344‐2418
STEWART, ELISE           5998 CYRUS AVE                                                                           BATON ROUGE        LA   70805
STEWART, ELISE           650 N ARDENWOOD DR APT 1611                                                              BATON ROUGE        LA   70806‐2639
STEWART, ELIZABETH A     2429 NORBERT ST                                                                          FLINT              MI   48504‐4682
STEWART, ELIZABETH J     6203 WALSH ST                                                                            SAINT LOUIS        MO   63109‐3126
STEWART, ELLEN M         5541 WESTWOOD N BLVD #8                                                                  CINCINNATI         OH   45248
STEWART, ELMO            SHANNON LAW FIRM               100 W GALLATIN ST                                         HAZLEHURST         MS   39083‐3007
STEWART, ELWOOD L        PO BOX 97                                                                                DONNELSVILLE       OH   45319‐0097
STEWART, EMIL            1886 SULKY TRAIL                                                                         MIAMISBURG         OH   45342‐6340
STEWART, EMIL            1886 SULKY TRL                                                                           MIAMISBURG         OH   45342‐6340
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Name                    Address1                        Address2                      Address3   Address4         City             State Zip
STEWART, EMMETT D       519 WEEKS AVE                                                                             BATTLE CREEK      MI 49015‐3719
STEWART, ERIC W         824 JEFFREY PINE DR                                                                       BEAR              DE 19701‐2162
STEWART, ERIC WILLIAM   824 JEFFREY PINE DR                                                                       BEAR              DE 19701‐2162
STEWART, ERIK C         9357 RIVER DR                                                                             LINDEN            MI 48451‐8763
STEWART, ERMA F         220 GREENWOOD CIRCLE                                                                      OXFORD            GA 30054
STEWART, ERNEST         2375 ACORN FORK RD                                                                        FLAT LICK         KY 40935‐6478
STEWART, ERNEST L       PO BOX 1141                                                                               FARMINGTON        MI 48332‐1141
STEWART, ERNEST W       404 WEST WILLIAMS STREET                                                                  OWOSSO            MI 48867‐2236
STEWART, ESTHER         314 W 15TH STREET                                                                         VINCENNES         IN 47591‐5385
STEWART, ESTHER         314 W 15TH ST                                                                             VINCENNES         IN 47591‐5385
STEWART, ETHEL L        716 W 12TH ST                                                                             ANDERSON          IN 46016‐1235
STEWART, ETSUKO         8756 WOODBURY RD                                                                          LAINGSBURG        MI 48848‐8791
STEWART, EUGENE         BRAYTON PURCELL                 PO BOX 6169                                               NOVATO            CA 94948‐6169
STEWART, EUGENE L       101 CAMPGROUND RD                                                                         MCDONOUGH         GA 30253‐4756
STEWART, EUGENE L       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                        STREET, SUITE 600
STEWART, EVART W        144 TIMBER RIDGE DR                                                                       VASSAR           MI   48768‐9009
STEWART, EVELYN C       PAUL REICH & MYERS PC           1608 WALNUT ST STE 500                                    PHILADEPHIA      PA   19103‐5446
STEWART, EVELYN D       5216 FAWN HILL CT                                                                         INDIANAPOLIS     IN   46226‐1412
STEWART, EVERETT L      931 E JUDD ST                                                                             GREENVILLE       MI   48838‐2449
STEWART, EVERLENE       PO BOX 94                                                                                 PINSON           TN   38366‐0094
STEWART, FANNIE S       33 OAK TREE DR.                                                                           CANFIELD         OH   44406‐4406
STEWART, FANNIE S       33 OAK TREE DR                                                                            CANFIELD         OH   44406‐9293
STEWART, FLOYD          850 ELLIOTT ST SE                                                                         GRAND RAPIDS     MI   49507‐2724
STEWART, FLOYD          1742 COLLEGE AVE SE                                                                       GRAND RAPIDS     MI   49507‐2601
STEWART, FRANCES J      217 SOUTH LAKE STREET           BOX 202                                                   ROGERS CITY      MI   49779
STEWART, FRANK D        4121 E LEXINGTON AVE                                                                      SAINT LOUIS      MO   63115‐3334
STEWART, FRANK T        PO BOX 355                                                                                TEN MILE         TN   37880‐0355
STEWART, FRANK THOMAS   119 HARVEST LN                                                                            HAUGHTON         LA   71037‐9277
STEWART, FRANKLIN D     11831 E 47TH TER                                                                          KANSAS CITY      MO   64133‐2487
STEWART, FRED           921 N GRIFFIN ST                                                                          DANVILLE         IL   61832‐3338
STEWART, FRED E         62 PARADISE ACRES RD                                                                      EDWARDS          MO   65326‐2244
STEWART, FREDA M        1519 S I ST                                                                               ELWOOD           IN   46036‐2806
STEWART, FREDDIE        65 ONEIDA ST                                                                              PONTIAC          MI   48341‐1624
STEWART, GALE R         8849 TROWBRIDGE WAY                                                                       DAYTON           OH   45424‐7055
STEWART, GARRY A        10239 DE KOSTER AVE                                                                       HUDSON           FL   34667‐4806
STEWART, GARY           PORTNOY & QUINN                 1 OXFORD CTR                                              PITTSBURGH       PA   15219‐1400
STEWART, GARY B         11229 DAVISON RD                                                                          DAVISON          MI   48423‐8102
STEWART, GARY D         485 WENDEMERE DR                                                                          HUBBARD          OH   44425‐2621
STEWART, GARY K         409 WILLIS RD                                                                             SALINE           MI   48176‐1560
STEWART, GARY K         3555 LAKEWOOD DR                                                                          GREENFIELD       IN   46140‐8711
STEWART, GARY L         4222 WELLER DR                                                                            BELLBROOK        OH   45305‐1335
STEWART, GARY L         15540 S 22ND ST                                                                           VICKSBURG        MI   49097‐9787
STEWART, GARY L         104 N CAYCE LN                                                                            COLUMBIA         TN   38401‐5606
STEWART, GARY L         1748 COUNTY ROAD 294                                                                      HILLSBORO        AL   35643‐3321
STEWART, GARY R         14364 MANSFIELD ST                                                                        DETROIT          MI   48227‐1830
STEWART, GARY W         46 N TECUMSEH RD                                                                          SPRINGFIELD      OH   45504‐3403
STEWART, GENEVA         3805 DELAWARE AVENUE                                                                      FLINT            MI   48506‐3110
STEWART, GEORGE         PO BOX 262                                                                                MINERALSPRINGS   AR   71851
STEWART, GEORGE         PORTER & MALOUF PA              4670 MCWILLIE DR                                          JACKSON          MS   39206‐5621
STEWART, GEORGE         1101 LAUREL AVE                                                                           KANSAS CITY      KS   66104‐5240
STEWART, GEORGE         4171 WOODCREEK LN                                                                         LANSING          MI   48911‐1932
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Name                      Address1                              Address2                       Address3   Address4         City                State Zip
STEWART, GEORGE E         22605 AVON LN                                                                                    SOUTHFIELD           MI 48075‐4069
STEWART, GEORGE H         434 S 1ST AVE # 29                                                                               MOUNT VERNON         NY 10550
STEWART, GEORGIA M        1311 FAYETTE CT                                                                                  WYLIE                TX 75098‐8466
STEWART, GEORGIA R        9701 SPRINGDALE DR                                                                               FISHERS              IN 46037‐9592
STEWART, GEORGIE L        418 BROOKSBORO TER                                                                               NASHVILLE            TN 37217‐3381
STEWART, GEORGIE L        1489 N EUCLID AVE                                                                                DAYTON               OH 45406‐5919
STEWART, GEORGIE L        1489 NORTH EUCLID AVE                                                                            DAYTON               OH 45406‐5919
STEWART, GERALD           8462 RHODHISS RD                                                                                 CONNELLYS SPRINGS    NC 28612‐8057
STEWART, GERALD A         3717 PRICE VALLEY ROAD                                                                           SOMERSET             KY 42501‐2501
STEWART, GERALD D         2298 LONDON BRIDGE DR N56                                                                        ROCHESTER HILLS      MI 48307
STEWART, GERALD J         5500 W HESSLER RD                                                                                MUNCIE               IN 47304‐8965
STEWART, GERALDINE E      C/O DONNA REID 9180 COMPTON CT.                                                                  PINCKNEY             MI 48169
STEWART, GINGER L         12030 LAUREL OAK DRIVE                                                                           LAWRENCE             IN 46236
STEWART, GLADYS I         13780 LAKESIDE BLVD N                 A227                                                       SHELBY TWP           MI 48315‐6040
STEWART, GLEN             PO BOX 174                                                                                       TUSCUMBIA            AL 35674‐0174
STEWART, GLEN E           2572 WEST BUCKINGHAM DRIVE                                                                       CRAWFORDSVLLE        IN 47933‐9356
STEWART, GLEN G           3036 W STATE ROAD 28                                                                             ALEXANDRIA           IN 46001‐8674
STEWART, GLEN P           2342 TWIN LEAF CT                                                                                ASHLAND              OH 44805‐8520
STEWART, GLENDA M         6905 DOUBLEBRAND CT                                                                              FREDERICK            MD 21703‐8607
STEWART, GLENDA S         1113 E GERHART ST                                                                                KOKOMO               IN 46901
STEWART, GLENN E          5393 ERNEST RD                                                                                   LOCKPORT             NY 14094‐5406
STEWART, GLENN W          8016 TELEPHONE RD                                                                                LE ROY               NY 14482‐8921
STEWART, GLENNA S         3647 MOORESVILLE HWY                                                                             CULLEOKA             TN 38451‐8034
STEWART, GLORIA           1177 COUNTY ROUTE 37                                                                             MASSENA              NY 13662‐3332
STEWART, GLORIA           1177 COUNTY RTE37                                                                                MASSENA              NY 13662‐3332
STEWART, GLORIA D         19612 28TH DR SE                                                                                 BOTHELL              WA 98012‐7272
STEWART, GLORIA J         1947 W 1100 N                                                                                    KNIGHTSTOWN          IN 46148‐9782
STEWART, GLORIA L         469 GLENBROOK DR                                                                                 ATLANTIS             FL 33462‐1007
STEWART, GORDON J         4006 SYRACUSE ST                                                                                 DEARBORN HTS         MI 48125‐2145
STEWART, GORDON JOHN      4006 SYRACUSE ST                                                                                 DEARBORN HTS         MI 48125‐2145
STEWART, GRACE            1024 TILLMAN ST #4                                                                               MEMPHIS              TN 38112‐2037
STEWART, GRACE C          8173 S KOSTNER AVE                                                                               CHICAGO               IL 60652‐2128
STEWART, GRACE E          626 SHORELINE DR                                                                                 FENTON               MI 48430‐4124
STEWART, GRACE PATRICIA   17757 E KIRKWOOD DR                                                                              CLINTON TWP          MI 48038‐1215
STEWART, GRANT M          7856 JUNIPER LN                                                                                  AVON                 IN 46123‐9808
STEWART, GREGORY          4 HARBOR COVE ST                                                                                 SAFETY HARBOR        FL 34695‐2821
STEWART, GREGORY          37504 E MEADOWHILL DR                                                                            NORTHVILLE           MI 48167‐8915
STEWART, GREGORY D        6498 BURKWOOD DR                                                                                 CLAYTON              OH 45315‐8822
STEWART, GREGORY R        8823 DOUGLAS AVE                                                                                 KALAMAZOO            MI 49009‐5206
STEWART, GWENDOLYN P      3720 CANDLEWYCK CLUB DR APT E                                                                    FLORISSANT           MO 63034‐2573
STEWART, HAROLD G         PO BOX 25                                                                                        ROCKHOUSE            KY 41561‐0025
STEWART, HAROLD L         10592 EAST M‐79 HWY                                                                              NASHVILLE            MI 49073
STEWART, HAROLD L         1453 KINSMAN RD NW                                                                               N BLOOMFIELD         OH 44450‐9507
STEWART, HAROLD R         2400 E BASELINE AVE LOT 142                                                                      APACHE JUNCTION      AZ 85219
STEWART, HAROLD V         5444 WOLFPEN PLEASANT HILL RD LOT 408                                                            MILFORD              OH 45150‐9669

STEWART, HARRY R          8411 KAVANAGH RD                                                                                 BALTIMORE           MD 21222‐5626
STEWART, HARVEY           KELLEY & FERRARO LLP                  1300 EAST NINTH STREET, 1901                               CLEVELAND           OH 44114
                                                                BOND COURT BUILDING
STEWART, HASKELL L        6196 MARATHON EDENTON RD                                                                         BLANCHESTER         OH 45107‐8834
STEWART, HASSON O         1705 MIDDLEBOROUGH RD                                                                            ESSEX               MD 21221‐3010
STEWART, HATTIE N         16182 ROBINDALE DR                                                                               STRONGSVILLE        OH 44136‐6360
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Name                     Address1                        Address2                        Address3   Address4         City            State Zip
STEWART, HAZEL           14364 MANSFIELD ST                                                                          DETROIT          MI 48227‐1830
STEWART, HAZEL L         34 MEADOW WOOD DR                                                                           ROCHESTER HLS    MI 48307‐3082
STEWART, HEATHER E       15989 CRYSTAL DOWNS E                                                                       NORTHVILLE       MI 48168‐9637
STEWART, HELEN D         10864 GLAMER DR                                                                             PARMA            OH 44130‐5905
STEWART, HENRY           7 RIDGEDALE CT                                                                              NEWNAN           GA 30265‐1881
STEWART, HENRY L         1045 N CASSADY AVE                                                                          COLUMBUS         OH 43219‐2208
STEWART, HENRY L         525 CLEMENT RD                                                                              LANSING          MI 48917‐3649
STEWART, HENRY L         713 DEERWOOD DR                                                                             DEFIANCE         OH 43512‐6795
STEWART, HERBERT M       1061 N GENESEE RD                                                                           BURTON           MI 48509‐1432
STEWART, HERMAN THOMAS   BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                               DALLAS           TX 75219
STEWART, HILDA C         10130 MAD RIVER RD                                                                          NEW VIENNA       OH 45159‐9479
STEWART, HOWARD K        2286 N STINE RD                                                                             CHARLOTTE        MI 48813‐8806
STEWART, HOWARD L        1601 LEAIRD DR                                                                              ANN ARBOR        MI 48105‐1822
STEWART, HOWARD LAWRIE   1601 LEAIRD DR                                                                              ANN ARBOR        MI 48105‐1822
STEWART, INEZ            807 CHASTAIN AVE                                                                            CONCORD          NC 28025
STEWART, IRIS J          765 CINDY LN                                                                                PETALUMA         CA 94952‐2060
STEWART, IRMA V          4655 SWIGART RD                                                                             DAYTON           OH 45440‐3821
STEWART, ISAAC L         1211 SEEMORE AVE                                                                            KALAMAZOO        MI 49048‐1445
STEWART, ISHMAEL         509 BANGS ST                                                                                FLINT            MI 48504‐4986
STEWART, J B             1601 FOX PARK DR APT 9E                                                                     WEST JORDAN      UT 84088‐8267
STEWART, J H             1308 SO K ST                                                                                ELWOOD           IN 46036‐2728
STEWART, J L             6041 CYPRESS DR                                                                             MOUNT MORRIS     MI 48458‐2851
STEWART, J L             370 BALDWIN AVE APT 226                                                                     PONTIAC          MI 48342
STEWART, J SCOTT         W7125 BLACKHAWK ISLAND RD                                                                   FORT ATKINSON    WI 53538‐9570
STEWART, JACK C          18796 BIG CREEK PKWY                                                                        STRONGSVILLE     OH 44149‐1447
STEWART, JACK D          12480 SW TORCH LAKE DR                                                                      RAPID CITY       MI 49676‐9332
STEWART, JACK L          4588 FLAT SHOALS PKWY                                                                       DECATUR          GA 30034‐5004
STEWART, JACK V          6931 BIG TRAIL RD                                                                           HOLLY            MI 48442‐9153
STEWART, JACKIE L        713 S BELLEVIEW PLACE                                                                       INDIANAPOLIS     IN 46221
STEWART, JACKIE L        PO BOX 43                                                                                   BELLMORE         IN 47830‐0043
STEWART, JACOB D         5568 E ISLAND RD                                                                            ELSIE            MI 48831‐9767
STEWART, JACOB DEVERE    5568 E ISLAND RD                                                                            ELSIE            MI 48831‐9767
STEWART, JADEN           UNKNOWN ADDRESS
STEWART, JAMES           2334 KING CT                                                                                GREEN BROOK     NJ   08812‐1722
STEWART, JAMES           210 RIVER RIDGE DR                                                                          PENDERGRASS     GA   30567‐3439
STEWART, JAMES           PORTER & MALOUF PA              4670 MCWILLIE DR                                            JACKSON         MS   39206‐5621
STEWART, JAMES           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510‐2212
                                                         STREET, SUITE 600
STEWART, JAMES           1536 OVERCREEK DR                                                                           NASHVILLE       TN   37217‐4066
STEWART, JAMES A         19 A WEST BLUEBELL LN                                                                       MOUNT LAUREL    NJ   08054
STEWART, JAMES A         13554 ARGYLE ST                                                                             SOUTHGATE       MI   48195‐1251
STEWART, JAMES A         2315 S TERM ST                                                                              BURTON          MI   48519‐1032
STEWART, JAMES A         200 WOODSIDE DRIVE                                                                          RADCLIFF        KY   40160‐9650
STEWART, JAMES A         709 S KINGSWOOD ST                                                                          DURAND          MI   48429‐1735
STEWART, JAMES ALAN      709 S KINGSWOOD ST                                                                          DURAND          MI   48429‐1735
STEWART, JAMES B         920 STATE HIGHWAY 32                                                                        BUFFALO         MO   65622
STEWART, JAMES B         3304 SNOWGLEN LN                                                                            LANSING         MI   48917‐1733
STEWART, JAMES C         2499 SUNRIDGE AVE SE                                                                        ATLANTA         GA   30315‐8425
STEWART, JAMES C         1310 S LANSING ST                                                                           SAINT JOHNS     MI   48879‐2154
STEWART, JAMES D         29608 FADE COURT                                                                            SAN ANTONIO     FL   33576‐4604
STEWART, JAMES E         1431 SYLMAR PL                                                                              LOVELAND        CO   80537‐5075
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Name                    Address1                      Address2                      Address3   Address4         City            State Zip
STEWART, JAMES E        GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                      STREET, SUITE 600
STEWART, JAMES E        PO BOX 340481                                                                           COLUMBUS        OH   43234‐0481
STEWART, JAMES E        420 OCEAN BLVD                                                                          KEYPORT         NJ   07735‐6031
STEWART, JAMES E        3411 MILFORD MILL RD                                                                    WINDSOR MILL    MD   21244‐2928
STEWART, JAMES E        5118 EC AVE                                                                             RICHLAND        MI   49083
STEWART, JAMES E        5405 W MOUNT MORRIS RD                                                                  MOUNT MORRIS    MI   48458‐9483
STEWART, JAMES E        313 S 1ST ST                                                                            CASEYVILLE      IL   62232‐1505
STEWART, JAMES E        891 HOUSEL CRAFT RD                                                                     BRISTOLVILLE    OH   44402‐9752
STEWART, JAMES EDWARD   5405 W MOUNT MORRIS RD                                                                  MOUNT MORRIS    MI   48458‐9483
STEWART, JAMES F        23010 NORFOLK ST                                                                        DETROIT         MI   48219‐1184
STEWART, JAMES G        GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                      STREET, SUITE 600
STEWART, JAMES H        4959 TALBOT LN APT 172                                                                  RENO            NV   89509‐6517
STEWART, JAMES H        22616 LAKELAND ST                                                                       ST CLAIR SHRS   MI   48081‐2317
STEWART, JAMES H        35477 PARKDALE ST                                                                       LIVONIA         MI   48150‐2552
STEWART, JAMES K        12000 EDWARDS HOLLOW RUN                                                                AUSTIN          TX   78739‐7634
STEWART, JAMES L        104 MAIN ST                                                                             GREENSBORO      AL   36744‐2108
STEWART, JAMES LEO      APT 71                        2230 SOUTH PATTERSON                                      DAYTON          OH   45409‐1941
                                                      BOULEVARD
STEWART, JAMES M        318 N 11TH ST                                                                           FRANKTON        IN   46044‐9346
STEWART, JAMES O        209 FAULKNER CT APT 102                                                                 CARMEL          IN   46032‐5462
STEWART, JAMES P        2108 MOHR DR                                                                            KOKOMO          IN   46902‐2561
STEWART, JAMES P        2583 LAKE CHARNWOOD DR                                                                  TROY            MI   48098‐2123
STEWART, JAMES R        22 EVANS ST                                                                             NILES           OH   44446‐2632
STEWART, JAMES R        4091 HAWK DR                                                                            DAVISON         MI   48423‐8522
STEWART, JAMES R        RR 2 BOX 173                                                                            BOONEVILLE      KY   41314‐8988
STEWART, JAMES R        251 STARR AVE                                                                           PONTIAC         MI   48341‐1861
STEWART, JAMES R        8418 S WALNUT ST                                                                        DALEVILLE       IN   47334‐9634
STEWART, JAMES R        6583 S COUNTY ROAD 400 E                                                                CLAYTON         IN   46118‐9441
STEWART, JAMES S        15151 FORD RD APT 219                                                                   DEARBORN        MI   48126‐5026
STEWART, JAMES S        925 HIGHWAY P                                                                           PARK HILLS      MO   63601‐9302
STEWART, JAMES S        W7125 BLACKHAWK ISLAND RD                                                               FORT ATKINSON   WI   53538‐9570
STEWART, JAMES T        485 WALDEN PARK DR                                                                      FORT MILL       SC   29715‐1616
STEWART, JAMES V        PO BOX 145                                                                              JACKSONVILLE    FL   32220‐0145
STEWART, JAMES W        13230 N ELMS RD                                                                         CLIO            MI   48420‐8230
STEWART, JAMES W        PO BOX 692                                                                              SAINT FRANCIS   MN   55070
STEWART, JAMES W        201 LYNN LN APT 13                                                                      STARKVILLE      MS   39759‐3931
STEWART, JAMES W        615 STATE ROUTE 4                                                                       BUCYRUS         OH   44820‐9397
STEWART, JAMES W        426 S UNION AVE                                                                         SALEM           OH   44460‐2347
STEWART, JAMES W        617 HERITAGE CIR                                                                        FENTON          MI   48430‐2317
STEWART, JAMES W        276 WENCHRIS DR                                                                         CINCINNATI      OH   45215‐3508
STEWART, JAMEY A        2218 EDWARD DR                                                                          KOKOMO          IN   46902‐6503
STEWART, JAMIE          115 W EVERGREEN AVE                                                                     YOUNGSTOWN      OH   44507‐1331
STEWART, JAMIE          115 W. EVERGREEN                                                                        YOUNGSTOWN      OH   44507‐1331
STEWART, JAN M          17073 FAULMAN RD                                                                        CLINTON TWP     MI   48035‐2348
STEWART, JANE A         397 LAND OR DR                                                                          RUTHER GLEN     VA   22546‐1232
STEWART, JANE A         397 LAND'OR DR                                                                          RUTHER GLEN     VA   22546‐2546
STEWART, JANE D         6456 SHAFER RD                                                                          WARREN          OH   44481‐9475
STEWART, JANE D         6456 SHAFFER RD NW                                                                      WARREN          OH   44481‐9475
STEWART, JANELLE        2404 NED DR                                                                             MORAINE         OH   45439‐2824
STEWART, JANELLE        2404 NED DR.                                                                            DAYTON          OH   45439‐2824
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Name                     Address1                       Address2                     Address3   Address4         City            State Zip
STEWART, JANET C         1514 AVOCA EUREKA RD                                                                    BEDFORD          IN 47421‐8406
STEWART, JANET D         11115 ABBEYWOOD                                                                         OKLAHOMA CITY    OK 73170‐3208
STEWART, JANET W         429 RENAISSNANCE GARDENS       SEABROOK VILLAGE                                         TINTON FALLS     NJ 07753
STEWART, JAWANZA M       9448 OAK CT                                                                             MILWAUKEE        WI 53223
STEWART, JAY J           3440 BRENT AVE                                                                          FLINT            MI 48506
STEWART, JEAN A          5038 BONNIE BRAE ST                                                                     INDIANAPOLIS     IN 46228‐3034
STEWART, JEANETTE B      2800 ISLAND DR                                                                          HARRISON         MI 48625‐9235
STEWART, JEFFERY         2819 DONNA AVE                                                                          RACINE           WI 53404‐1817
STEWART, JEFFREY L       1239 BELLFLOWER AVE                                                                     COLUMBUS         OH 43204‐2229
STEWART, JEFFREY P       PO BOX 115                                                                              MAPLE RAPIDS     MI 48853‐0115
STEWART, JEFFREY P       11402 N GENESEE RD                                                                      CLIO             MI 48420‐9755
STEWART, JENNIE L        34601 ELMWOOD ST APT 349                                                                WESTLAND         MI 48185‐8147
STEWART, JERMAINE        110 BRENTLAWN DR                                                                        SPRINGFIELD      TN 37172‐4104
STEWART, JERRY           1945 OTTAWA DR APT 3                                                                    TOLEDO           OH 43606‐4332
STEWART, JERRY B         3108 15TH AVE                                                                           MERIDIAN         MS 39305‐4743
STEWART, JERRY D         818 LEYENDA DR                                                                          MESQUITE         TX 75149‐5153
STEWART, JERRY DEAN      818 LEYENDA DRIVE                                                                       MESQUITE         TX 75149‐5153
STEWART, JERRY G         PO BOX 595                                                                              SHELBYVILLE      IN 46176‐0595
STEWART, JERRY L         1205 ‐ 3020 COLQUITT RD                                                                 SHREVEPORT       LA 71118
STEWART, JERRY L         3891 LAKE JULIETTE DR                                                                   BUFORD           GA 30519‐1860
STEWART, JERRY RICHARD   BRAYTON PURCELL                621 SW MORRISON ST STE 950                               PORTLAND         OR 97205‐3824
STEWART, JESS L          9164 STONEYFIELD CT                                                                     DEXTER           MI 48130‐8504
STEWART, JESSE           PORTER & MALOUF PA             4670 MCWILLIE DR                                         JACKSON          MS 39206‐5621
STEWART, JESSIE D        6153 BEECHWOOD RD                                                                       MATTESON          IL 60443‐1313
STEWART, JILL M          57763 CIDER MILL DR                                                                     NEW HUDSON       MI 48165‐9482
STEWART, JILL P          263 HUDSON AVENUE                                                                       ROCHESTER        NY 14605‐2151
STEWART, JIM T           2236 BANCROFT STREET                                                                    SAGINAW          MI 48601‐2072
STEWART, JIMMIE          VARAS & MORGAN                 PO BOX 886                                               HAZLEHURST       MS 39083‐0886
STEWART, JIMMIE L        3056 W CASS AVE                                                                         FLINT            MI 48504‐1206
STEWART, JIMMIE W        PO BOX 228                                                                              CAVE CITY        KY 42127‐0228
STEWART, JIMMY A         4034 WISNER ST                                                                          SAGINAW          MI 48601‐4248
STEWART, JIMMY C         2520 TALON CT APT 204                                                                   NAPLES           FL 34105‐4502
STEWART, JOAN            9929 QUANDT AVE                                                                         ALLEN PARK       MI 48101‐1352
STEWART, JOAN C          3037 51ST STREET SOUTH                                                                  GULFPORT         FL 33707‐5639
STEWART, JOANN           806 E FIRST                                                                             SALEM            MO 65560‐2602
STEWART, JOANN D         2709 TRANSIT ROAD                                                                       NEWFANE          NY 14108‐9701
STEWART, JOANN E         2320 SHEFFIELD AVE                                                                      ANDERSON         IN 46011‐1352
STEWART, JODA M          19932 E VIA DEL RANCHO                                                                  QUEEN CREEK      AZ 85242‐4024
STEWART, JOE B           818 N 12TH ST                                                                           ROGERS           AR 72756‐2724
STEWART, JOE E           PO BOX 28                                                                               PARK CITY        KY 42160‐0028
STEWART, JOE M           3521 W ASH AVE                                                                          FULLERTON        CA 92833‐3105
STEWART, JOE N           1646 S TRUMBULL AVE                                                                     CHICAGO           IL 60623‐2521
STEWART, JOE Q           610 WHEATHILL DR                                                                        GRAND PRAIRIE    TX 75051‐2125
STEWART, JOE QUINTON     610 WHEATHILL DR                                                                        GRAND PRAIRIE    TX 75051‐2125
STEWART, JOE R           5906 SUMMER POINT DR                                                                    MC KINNEY        TX 75070‐5482
STEWART, JOE R           LEBLANC & WADDELL              5353 ESSEN LN STE 420                                    BATON ROUGE      LA 70809‐0500
STEWART, JOHN            1301 HIDDEN CREEK CT                                                                    WINTER HAVEN     FL 33880‐5028
STEWART, JOHN            THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD      SUITE 44                    CORAL GABLES     FL 33146
STEWART, JOHN A          4478 ELEANOR DR                                                                         FENTON           MI 48430‐9141
STEWART, JOHN A          OSHEA ROBERT LAW OFFICES OF    1818 MARKET ST STE 3520                                  PHILADELPHIA     PA 19103‐3636
STEWART, JOHN C          9690 S HONEYCREEK RD                                                                    MUNCIE           IN 47302‐8143
STEWART, JOHN E          18628 HILTON DR                                                                         SOUTHFIELD       MI 48075‐7234
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Name                    Address1                          Address2                         Address3         Address4         City               State Zip
STEWART, JOHN E         50198 WHEATON CT                                                                                     MACOMB              MI 48044‐6111
STEWART, JOHN E         6801 AXTEL DR                                                                                        CANAL WINCHESTER    OH 43110‐8463
STEWART, JOHN F         114 E ELM ST                                                                                         OVID                MI 48866‐9706
STEWART, JOHN F         5730 COUNTY ROAD C                                                                                   DELTA               OH 43515‐9627
STEWART, JOHN G         12300 JENNINGS RD                                                                                    LINDEN              MI 48451‐9433
STEWART, JOHN H         7510 BROOKSTEAD XING                                                                                 JOHNS CREEK         GA 30097‐1954
STEWART, JOHN J         46831 AMBERWOOD DR                                                                                   SHELBY TOWNSHIP     MI 48317‐4102
STEWART, JOHN K         4013 NE CHANNEL DR                                                                                   LEES SUMMIT         MO 64064‐1530
STEWART, JOHN L         8530 MEADOWLARK DR                                                                                   INDIANAPOLIS        IN 46226‐5349
STEWART, JOHN M         5533 NORTH DEXTER AVENUE                                                                             GLENDALE            WI 53209‐5043
STEWART, JOHN M         3523 E WESTCHESTER DR                                                                                CHANDLER            AZ 85249‐8944
STEWART, JOHN N         4059 CHABLIS ST                                                                                      WEST BLOOMFIELD     MI 48323‐3028
STEWART, JOHN O         17668 OWENS ST                                                                                       ATHENS              AL 35611‐5682
STEWART, JOHN P         935 PATIO DR                                                                                         NASHVILLE           TN 37214‐3935
STEWART, JOHN P         # 39                              935 PATIO DRIVE                                                    NASHVILLE           TN 37214‐3935
STEWART, JOHN P         2862 N PARK AVENUE EXT                                                                               WARREN              OH 44481‐9335
STEWART, JOHN P         5566 S CLADWELL DR                                                                                   PENDLETON           IN 46064‐9593
STEWART, JOHN R         2233 CLARENCE ST SE                                                                                  WARREN              OH 44484‐4940
STEWART, JOHN R         10869 BLOOM RD                                                                                       GARRETTSVILLE       OH 44231‐9714
STEWART, JOHN RANDAL    PO BOX 605                                                                                           GREENCASTLE         IN 46135‐0605
STEWART, JOHN T         PO BOX 3037                                                                                          BROOKHAVEN          MS 39603‐7037
STEWART, JOHN T         P.O. BOX 3037                                                                                        BROOKHAVEN          MS 39603‐9603
STEWART, JOHN W         ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                          BALTIMORE           MD 21202
                                                          CHARLES CENTER 22ND FLOOR
STEWART, JOHN W         1863 PIERCE AVE                                                                                      NIAGARA FALLS      NY   14301‐1347
STEWART, JOHN W         PO BOX 612024                                                                                        PORT HURON         MI   48061‐2024
STEWART, JOHN W         PO BOX 184                        140 NORTH 200 WEST                                                 MENDON             UT   84325‐0184
STEWART, JOHN W         265 SUN DR                                                                                           JACKSON            MS   39211‐4340
STEWART, JOHN WAYNE     PO BOX 612024                                                                                        PORT HURON         MI   48061‐2024
STEWART, JOHNNIE L      1646 S TRUMBULL                                                                                      CHICAGO            IL   60623‐2521
STEWART, JOHNNIE W      1456 BLUFF SPRINGS RD                                                                                MC MINNVILLE       TN   37110‐4107
STEWART, JOHNNY         COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                                     CHICAGO            IL   60602
                                                          FLOOR
STEWART, JOHNNY C       996 FRANKLIN AVE                                                                                     SALEM              OH   44460‐3802
STEWART, JOHNNY L       6276 STATE ROUTE 132                                                                                 GOSHEN             OH   45122‐9243
STEWART, JOHNNY R       2905 BUCKINGHAM AVE                                                                                  WESTCHESTER        IL   60154‐5114
STEWART, JON            20‐18 EAST PRICE STREET                                                                              LINDEN             NJ   07036
STEWART, JONAS P        ROUTE =2 ‐ BOX 4A                                                                                    MALDEN             MO   63863
STEWART, JOSEPH D       9085 BLIZZARD RD                                                                                     MERIDIAN           MS   39305‐9227
STEWART, JOSEPH J       ANGELOS PETER G                   100 N CHARLES STREET, ONE                                          BALTIMORE          MD   21201‐3812
                                                          CHARLES CENTER
STEWART, JOSEPH L       JACOBS & CRUMPLAR P.A.            PO BOX 1271                      2 EAST 7TH ST,                    WILMINGTON         DE   19899‐1271
STEWART, JOSEPH L       5596 E COUNTY ROAD 350 S                                                                             PLAINFIELD         IN   46168‐8341
STEWART, JOSEPH L       210 APPIAN WAY                                                                                       ANDERSON           IN   46013‐4776
STEWART, JOSEPHINE B    1520 OAK RUN CT                                                                                      MANSFIELD          OH   44906‐3657
STEWART, JOSHUA W       729 REDWING DRIVE                                                                                    FORT WORTH         TX   76131‐2908
STEWART, JOYCE A        120 RIDGEVIEW DR                                                                                     MEDINA             OH   44256‐2958
STEWART, JOYCE E        APT 117                           31 TREMBLE AVENUE                                                  CAMPBELL           OH   44405‐1687
STEWART, JR,JOHN P      15597 STEPHENS DR                                                                                    MEADVILLE          PA   16335‐7515
STEWART, JR.,DONALD E   5367 GENESEE ST                                                                                      BOWMANSVILLE       NY   14026‐1034
STEWART, JR.,EDDIE J    2109 TERRY GATESVILLE RD                                                                             CRYSTAL SPGS       MS   39059‐9749
STEWART, JUANITA        4 N COLLETT ST                                                                                       DANVILLE           IL   61832‐5928
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Name                        Address1                          Address2           Address3         Address4         City               State Zip
STEWART, JUDITH             26220 W LESLIE DR                                                                      CHANNAHON            IL 60410‐5373
STEWART, JUDITH A           10414 KATZAFOGLE C/O DUTCH VI                                                          MT MORRIS           MI 48458‐8548
STEWART, JUDITH F           12480 SW TORCH LAKE DR                                                                 RAPID CITY          MI 49676‐9332
STEWART, JUDITH K.          3084 MILANO DR                                                                         BULLHEAD CITY       AZ 86442‐8448
STEWART, JUDITH K.          3084 MILANO DRIVE                                                                      BULLHEAD CITY       AZ 86442
STEWART, JULIA              1601 ROBERT BRADBY DR             APT 1002                                             DETROIT             MI 48207‐3861
STEWART, JULIA M            201 STUART AVE                                                                         INTERLACHEN         FL 32148‐6719
STEWART, JULIA M            21504 W JUNIPER CT                                                                     PLAINFIELD           IL 60544‐5607
STEWART, JULIANN M          789 ROLLING HILLS LN #1                                                                LAPEER              MI 48446‐4764
STEWART, JUSTIN W           12128 GLENMARK TRL                                                                     MONTROSE            MI 48457
STEWART, KAREN L            2836 HARTUN DR                                                                         BRIGHTON            MI 48114‐8657
STEWART, KAREN L            2977 N WEST TORCH LAKE DR                                                              KEWADIN             MI 49648‐9056
STEWART, KATE E             407 EASTBROOKE LANE                                                                    ROCHESTER           NY 14618‐5201
STEWART, KATHLEEN A         6033 STEWART RD                                                                        SYLVANIA            OH 43560‐1543
STEWART, KATHLEEN ANN       6033 STEWART RD                                                                        SYLVANIA            OH 43560‐1543
STEWART, KATHRYN A          415 E CLARK ST                                                                         DAVISON             MI 48423‐1820
STEWART, KATHRYN M          63 MEADOW LN                                                                           HOMER CITY          PA 15748‐5218
STEWART, KATHRYN M          63 MEADOW LANE                                                                         HOMER CITY          PA 15748‐5218
STEWART, KATHY M            8281 OLD HBR                                                                           GRAND BLANC         MI 48439‐8394
STEWART, KATIE R            1410 PAXTON AVE                                                                        ARLINGTON           TX 76013‐2743
STEWART, KATIE R            1410 PAXTON                                                                            ARLINGTON           TX 76013‐2743
STEWART, KAY L              3552 RUSKVIEW DR                                                                       SAGINAW             MI 48603‐2055
STEWART, KAYDIA             12131 SW 251 ST                                                                        MIAMI               FL 33032
STEWART, KEARNEY E          4701 CR 1235 B ROUTE 2 BOX 94 E                                                        CLEBURNE            TX 76033
STEWART, KEITH R            3429 S IRISH RD                                                                        DAVISON             MI 48423‐2462
STEWART, KENDALL D          9111 RAY RD                                                                            GAINES              MI 48436‐9717
STEWART, KENNETH            3923 KEARNEY NE                                                                        GRAND RAPIDS        MI 49525‐1820
STEWART, KENNETH            3923 KEARNEY DR NE                                                                     GRAND RAPIDS        MI 49525‐1820
STEWART, KENNETH B          3048 LAWSON DR                                                                         MARIETTA            GA 30064‐6418
STEWART, KENNETH C          10 LANCASTER CT                                                                        AVON                CT 06001‐3957
STEWART, KENNETH C          5471 MILITARY RD                                                                       LEWISTON            NY 14092‐2123
STEWART, KENNETH C          10 LANCASTER COURT                                                                     AVON                CT 06001‐3957
STEWART, KENNETH E          2210 N 67TH ST                                                                         KANSAS CITY         KS 66104‐2627
STEWART, KENNETH H          1581 W FINLAND DR                                                                      DELTONA             FL 32725‐5638
STEWART, KENNETH H          10 RIVERCREST DR                                                                       PISCATAWAY          NJ 08854‐4630
STEWART, KENNETH L          1115 JESSICA DR                                                                        LEBANON             TN 37087‐5601
STEWART, KENNETH W          3017 HALTOM RD                                                                         FORT WORTH          TX 76117‐3949
STEWART, KENSLEY S          9350 SHARTEL DR                                                                        SHREVEPORT          LA 71118‐3345
STEWART, KEVIN D            44120 RIVERVIEW RIDGE DR                                                               CLINTON TOWNSHIP    MI 48038‐6902
STEWART, KIM L              3202 LAWRENCE HWY                                                                      CHARLOTTE           MI 48813‐8853
STEWART, KRYSTAL S          605 1ST AVENUE                                                                         PONTIAC             MI 48340‐2808
STEWART, KRYSTAL SHEAVONE   605 1ST AVENUE                                                                         PONTIAC             MI 48340‐2808
STEWART, L S                10219 PRINCE DR                                                                        SAINT LOUIS         MO 63136‐5932
STEWART, LARRY D            21879 INDEPENDENCE DR                                                                  SOUTHFIELD          MI 48076‐2362
STEWART, LARRY E            6415 HARBINGER LN                                                                      DAYTON              OH 45449‐3515
STEWART, LARRY J            10015 JAMAICA DR                                                                       FORT WAYNE          IN 46825‐1925
STEWART, LARRY K            1831 E TUMBLEWEED LN                                                                   ALEXANDRIA          IN 46001‐8854
STEWART, LARRY L            14110 BUECHE RD                                                                        MONTROSE            MI 48457‐9376
STEWART, LARRY M            8600 W 400 S                                                                           YORKTOWN            IN 47396
STEWART, LARRY N            2485 TURNER RD                                                                         GRAND JUNCTION      TN 38039
STEWART, LARRY W            1749 WESTGATE DR                                                                       HOWELL              MI 48843‐6469
STEWART, LATRECE R          12204 MERION DR                                                                        KANSAS CITY         KS 66109‐5028
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Name                       Address1                           Address2                       Address3   Address4         City             State Zip
STEWART, LAURIE H          534 BIGHAM ST                                                                                 PITTSBURGH        PA 15211
STEWART, LAWRENCE B        80 GRANGE HALL RD                                                                             ORTONVILLE        MI 48462‐8836
STEWART, LAWRENCE C        9224 ARROWHEAD TRL                                                                            EATON RAPIDS      MI 48827‐8563
STEWART, LAWRENCE D        12160 MCKINLEY RD                  P.O BOX 546                                                MONTROSE          MI 48457‐9728
STEWART, LAWRENCE E        6909 OLD STATE RD                                                                             WHITTEMORE        MI 48770‐9732
STEWART, LAWRENCE E        509 N CHERRY ST                                                                               MARTINSVILLE      IN 46151‐1011
STEWART, LAWRENCE V        3714 DUSTINE DR E                                                                             SAGINAW           MI 48603‐1845
STEWART, LEE E             23653 CARLINGTON ST                                                                           CLINTON TWP       MI 48036‐3111
STEWART, LEE V             12222 N WEBSTER RD                                                                            CLIO              MI 48420‐8209
STEWART, LEE VINCENT       12222 N WEBSTER RD                                                                            CLIO              MI 48420‐8209
STEWART, LEON              212 HUNTINGTON DR                                                                             DUBLIN            GA 31021‐2423
STEWART, LEONARD F         6147 BELSAY RD                                                                                GRAND BLANC       MI 48439‐9701
STEWART, LESLIE A          101 AMBER CT                                                                                  WEXFORD           PA 15090
STEWART, LESLIE D          19166 GLENMORE                                                                                REDFORD           MI 48240‐1421
STEWART, LESLIE DANIELLE   19166 GLENMORE                                                                                REDFORD           MI 48240‐1421
STEWART, LILLIE MAE        5422 S MAY ST                                                                                 CHICAGO            IL 60609‐6051
STEWART, LINDA D           6048 CYPRESS DR                                                                               MOUNT MORRIS      MI 48458‐2852
STEWART, LINDA J           33445 MINA DR                                                                                 STERLING HTS      MI 48312‐6649
STEWART, LINDA M           2299 HARTFORD 5 PTS. RD.                                                                      FOWLER            OH 44418
STEWART, LINDA R           294 CHERRY BERRY LN                                                                           SANFORD           NC 27332‐1329
STEWART, LINDSAY R         409 NORTH DR E                                                                                MARSHALL          MI 49068‐1279
STEWART, LINDSEY           RD. 2 P.O. BOX 356                                                                            JEANNETTE         PA 15644
STEWART, LINDSEY           PORTNOY & QUINN                    1 OXFORD CTR                                               PITTSBURGH        PA 15219
STEWART, LINTON E          400 LELAND PL                                                                                 LANSING           MI 48917‐3525
STEWART, LIONEL L          3622 CLUB HOUSE DR                                                                            ANDERSON          IN 46013‐6029
STEWART, LLC               GORDON STEWART                     2031 GORDON HWY                                            AUGUSTA           GA 30909‐4457
STEWART, LLOYD J           1061 OAK LEAF RD                                                                              FRANKLIN          IN 46131‐1079
STEWART, LOLA M            407A S STONEWALL ST                                                                           SUTTON            WV 26601‐1505
STEWART, LOLA M            407A STONEWALL STREET                                                                         SUTTON            WV 26601‐1505
STEWART, LONNIE D          424 HOSKINS RD                                                                                WILMINGTON        OH 45177‐7568
STEWART, LORETTA A         2836 SW 54TH ST                                                                               OKLAHOMA CITY     OK 73119‐5622
STEWART, LORETTA E         3200 RONALD ST                                                                                LANSING           MI 48911‐2640
STEWART, LOUIS C           18861 HIGHWAY 17                                                                              ALICEVILLE        AL 35442‐4915
STEWART, LOUIS C           9924 METTETAL ST                                                                              DETROIT           MI 48227‐1639
STEWART, LOUIS E           KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                               CLEVELAND         OH 44114
                                                              BOND COURT BUILDING
STEWART, LOUISE            3568 BROOKLYN AVE                                                                             PORT CHARLOTTE   FL   33952‐7248
STEWART, LOWELL R          1000 N BRADY ST                                                                               MUNCIE           IN   47303‐5040
STEWART, LOYE G            8521 BAYBERRY DR NE                                                                           WARREN           OH   44484‐1610
STEWART, LUCILLE           18796 BIG CREEK PKWY                                                                          STRONGSVILLE     OH   44149‐1447
STEWART, LUCILLE           6919 WILLOW TREE LN                                                                           HUBER HEIGHTS    OH   45424‐2483
STEWART, LUEBERTA          3631 N RILEY AVE                                                                              INDIANAPOLIS     IN   46218‐1654
STEWART, LUEBERTA          3631 NORTH RILEY                                                                              INDIANAPOLIS     IN   46218‐1654
STEWART, LUVERDIA          4100 OLD WARREN ROAD                                                                          PINE BLUFF       AR   71603‐6104
STEWART, LYMAN L           7128 LEBANON TRL                                                                              DAVISON          MI   48423‐2352
STEWART, LYNICE D          4688 NORTH UNION ROAD                                                                         TROTWOOK         OH   45426‐5426
STEWART, LYNNE ANN         12912 MILLL DR E APT E2                                                                       PALOS PARK       IL   60464‐1796
STEWART, M                 EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                        DETROIT          MI   48265‐2000

STEWART, M FOSTEEN A       1417 MANN AVE                                                                                 FLINT            MI 48503‐3282
STEWART, MAGALINE          1554 MCCALLIE BLVD NW                                                                         ATLANTA          GA 30318‐3554
STEWART, MAJOR A           419 MINORS DR                                                                                 MUKWONAGO        WI 53149‐9412
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Name                    Address1                           Address2                Address3   Address4             City              State Zip
STEWART, MARCIA B       8915 MAYFIELD CT                                                                           SAINT LOUIS        MO 63136‐5016
STEWART, MARDEN         3875 HAMBLETONIAN DR                                                                       FLORISSANT         MO 63033‐3009
STEWART, MARGARET C     6786 RED CEDAR LN                                                                          WEST BLOOMFIELD    MI 48324‐3768
STEWART, MARGARET C     2412 MONTGOMERY AVE NW                                                                     WARREN             OH 44485‐1422
STEWART, MARGARET G     418 SHERWOOD CT                                                                            HOLLY              MI 48442‐1228
STEWART, MARGARET L     3801 TRUMBULL AVE                                                                          FLINT              MI 48504‐3718
STEWART, MARIA D        6851 SAN MARCUS                                                                            PARAMOUNT          CA 90723‐3129
STEWART, MARILYN A      9905 BELLAIRE                                                                              KANSAS CITY        MO 64134
STEWART, MARILYN A      626 SHORELINE DR                                                                           FENTON             MI 48430‐4124
STEWART, MARILYN A      9905 BELLAIRE AVE                                                                          KANSAS CITY        MO 64134‐1239
STEWART, MARILYN J      3646 N MOORLAND DR                                                                         MARION             IN 46952‐8752
STEWART, MARILYN J      2704 LATONIA AVE                                                                           DAYTON             OH 45439‐2925
STEWART, MARILYN L      504 W 30TH ST                                                                              MARION             IN 46953‐3551
STEWART, MARILYNN A     288 FIELDING RD                                                                            ROCHESTER          NY 14626‐2125
STEWART, MARION E       9613 JANET ST                                                                              TAYLOR             MI 48180‐3110
STEWART, MARION L       1724 AERO AVE                                                                              DAYTON             OH 45429‐5004
STEWART, MARK           PO BOX 2142                                                                                WILLINGBORO        NJ 08046‐6242
STEWART, MARK A         801 CITY RD                                                                                MANCHESTER         MI 48158‐8516
STEWART, MARK A         6957 N COUNTY ROAD 50 W                                                                    LIZTON             IN 46149‐9490
STEWART, MARK ANTHONY   6957 N COUNTY ROAD 50 W                                                                    LIZTON             IN 46149‐9490
STEWART, MARK D         471 S STATE RD                                                                             OTISVILLE          MI 48463‐9758
STEWART, MARK DOUGLAS   471 S STATE RD                                                                             OTISVILLE          MI 48463‐9758
STEWART, MARK J         2146 SHERWOOD FOREST DR                                                                    MIAMISBURG         OH 45342‐2034
STEWART, MARK J         626 WALTON AVE                                                                             DAYTON             OH 45417‐1527
STEWART, MARK T         309 SYLVAN RD                                                                              ANDERSON           IN 46012‐3817
STEWART, MARK T         4185 SHATTUCK RD                                                                           SAGINAW            MI 48603‐3063
STEWART, MARK T         1081 CORA GREENWOOD DR                                                WINDSOR ON N8P 1K3
                                                                                              CANADA
STEWART, MARLENE A      PO BOX 194                                                                                 MAPLE RAPIDS      MI   48853‐0194
STEWART, MARSHA         PO BOX 32                                                                                  MC CAYSVILLE      GA   30555‐0032
STEWART, MARSHALL       909 EINWOOD                                                                                ARLINGTON         TX   76010
STEWART, MARTHA         3543 MORGANPORT DR APT 1                                                                   SAGINAW           MI   48601
STEWART, MARTHA         2635 TATUM ROAD                                                                            SAGINAW           MI   48601
STEWART, MARTHA H       5790 DENLINGER RD #6205                                                                    DAYTON            OH   45426
STEWART, MARTHA H       3895 SHIPLEY RD                                                                            COOKEVILLE        TN   38501‐0709
STEWART, MARVIN         1284 COUNTY ST UNIT 2                                                                      ATTLEBORO         MA   02703‐6174
STEWART, MARVIN F       PO BOX 102                                                                                 NEWTONSVILLE      OH   45158‐0102
STEWART, MARY           7125 E SUPERSTITION SPRINGS BLVD   APT 1019                                                MESA              AZ   85209
STEWART, MARY           1350 SNAKE NATION                                                                          BLUE RIDGE        GA   30513‐5627
STEWART, MARY           1539 W NOPAL AVE                                                                           MESA              AZ   85202‐7547
STEWART, MARY A         2429 BRATTON                                                                               BLOOMFIELD HI     MI   48302‐0419
STEWART, MARY A         295 EVERGREEN RD                                                                           FITZGERALD        GA   31750
STEWART, MARY A         PO BOX 143                                                                                 TRAVERSE CITY     MI   49685‐0143
STEWART, MARY A         127 E BEVERLY AVE                                                                          PONTIAC           MI   48340‐2615
STEWART, MARY A         2429 BRATTON AVE                                                                           BLOOMFIELD        MI   48302‐0419
STEWART, MARY A         9071 SADDLE HORN DR                                                                        FLUSHING          MI   48433‐1211
STEWART, MARY A         2646 SUSSEX ST SE                                                                          WARREN            OH   44484‐4422
STEWART, MARY A         127 EAST BEVERLY AVENUE                                                                    PONTIAC           MI   48340‐2615
STEWART, MARY A         609 ASHWOOD DR                                                                             FLUSHING          MI   48433‐1300
STEWART, MARY A         429 DRAYTON PARK DR                C/O MAURENE S RICKARD                                   KERNERSVILLE      NC   27284‐8321
STEWART, MARY A         2228 S F ST                                                                                ELWOOD            IN   46036‐2544
STEWART, MARY ANN       343 S WALNUT ST                                                                            BAY CITY          MI   48706
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Name                       Address1                      Address2                  Address3   Address4         City               State Zip
STEWART, MARY ANN          9071 SADDLE HORN DR                                                                 FLUSHING            MI 48433‐1211
STEWART, MARY C            1585 QUEEN ANNES GATE                                                               WESTLAKE            OH 44145‐2637
STEWART, MARY E            120 W 38TH ST                                                                       WILMINGTON          DE 19802‐2726
STEWART, MARY ELIZABETH    120 W 38TH ST                                                                       WILMINGTON          DE 19802‐2726
STEWART, MARY J            29343 W CHANTICLEER DR                                                              SOUTHFIELD          MI 48034‐1484
STEWART, MARY JOYCE        29343 W CHANTICLEER DR                                                              SOUTHFIELD          MI 48034‐1484
STEWART, MARY L            8614 DALE ST                                                                        DEARBORN HEIGHTS    MI 48127
STEWART, MARY L            69 SUMMAR DR                                                                        JACKSON             TN 38301‐4252
STEWART, MARY L            3530 WINNEBAGO ST APT 205                                                           SAINT LOUIS         MO 63118
STEWART, MARY L            3015 NORTH 23RD ST            APT 348 EAST                                          ST.LOUIS            MO 63107
STEWART, MARY L            1060 KENTON AVE                                                                     HAMILTON            OH 45013‐2910
STEWART, MARY LEE          COON & ASSOCS BRENT           917 FRANKLIN ST STE 210                               HOUSTON             TX 77002‐1751
STEWART, MARY R            18 BRANDY HILL DR                                                                   PORT ORANGE         FL 32129‐3631
STEWART, MARY R            18 BRANDY HILLS DR                                                                  PORT ORANGE         FL 32129‐3631
STEWART, MARY S            40 SARATOGA DR PENNWOOD                                                             NEW CASTLE          DE 19720
STEWART, MARYANN           2905 BUCKINGHAM AVE                                                                 WESTCHESTER          IL 60154
STEWART, MATTIE E          18912 SUSSEX ST                                                                     DETROIT             MI 48235‐2840
STEWART, MAURICE A         2239 QUAIL VALLEY EAST DR                                                           MISSOURI CITY       TX 77459‐3325
STEWART, MAURICE R         PO BOX 310362                                                                       FLINT               MI 48531‐0362
STEWART, MAX E             9452 N ROMINE RD                                                                    MOORESVILLE         IN 46158‐6329
STEWART, MAXINE M          8219 DAYTON GERMANTOWN PIKE                                                         GERMANTOWN          OH 45327‐9342
STEWART, MAXINE M          8219 GERMANTOWN PIKE                                                                GERMANTOWN          OH 45327‐9342
STEWART, MAXINE U          701 N OCEAN ST APT 1802                                                             JACKSONVILLE        FL 32202‐3079
STEWART, MAXINE U          701 NORTH OCEANS STREET       APT 1802                                              JACKSONVILLE        FL 32202‐3079
STEWART, MAY E             1429 LIBERTY RD                                                                     YOUNGSTOWN          OH 44505‐3648
STEWART, MAY E             1429 LIBERTY ROAD                                                                   YOUNGSTOWN          OH 44505‐3648
STEWART, MCARTHUR          129 W HILDALE                                                                       DETROIT             MI 48203‐4560
STEWART, MCARTHUR          95 COURT ST                                                                         PONTIAC             MI 48342‐2507
STEWART, MCNEAL            527 MAJESTIC DR                                                                     DAYTON              OH 45427‐2823
STEWART, MELINDA           509 TATE DR                                                                         DESOTO              TX 75115‐6075
STEWART, MELVIN            849 MERRITT ST SE                                                                   GRAND RAPIDS        MI 49507‐3343
STEWART, MELVIN            430M W 6TH STREET                                                                   LEXINGTON           KY 40508‐1363
STEWART, MELVIN            430 W 6TH STREET                                                                    LEXINGTON           KY 40508‐1363
STEWART, MELVIN E          28573 BURNING TREE LN                                                               ROMULUS             MI 48174‐4904
STEWART, MELVYN B          6672 WESTPOINTE DR                                                                  TROY                MI 48085‐1260
STEWART, MICHAEL           16320 GREENLY ST                                                                    HOLLAND             MI 49424‐5849
STEWART, MICHAEL           2236 E WATCH AVE                                                                    SPRINGFIELD          IL 62702‐3173
STEWART, MICHAEL A         5572 ALEXANDRIA PIKE                                                                ANDERSON            IN 46012‐9509
STEWART, MICHAEL A         9417 RAVENSWOOD ROAD                                                                GRANBURY            TX 76049‐4523
STEWART, MICHAEL A         664 N PENDLETON AVE                                                                 PENDLETON           IN 46064‐8976
STEWART, MICHAEL A         509 BANGS ST                                                                        FLINT               MI 48504‐4986
STEWART, MICHAEL D         PO BOX 813                                                                          PLAINFIELD          IN 46168‐0813
STEWART, MICHAEL D         4972 PLEASANT AVE                                                                   FAIRFIELD           OH 45014‐2559
STEWART, MICHAEL D         PO BOX 278                    9081 MAIN RD                                          W BLOOMFIELD        NY 14585‐0278
STEWART, MICHAEL E         3366 OLD LAKEVIEW RD                                                                HAMBURG             NY 14075‐6141
STEWART, MICHAEL EDWARD    3366 OLD LAKEVIEW RD                                                                HAMBURG             NY 14075‐6141
STEWART, MICHAEL G         393 HUBBARD LAKE RD                                                                 HUBBARD LAKE        MI 49747‐9604
STEWART, MICHAEL G         1495 TERNBURY DR                                                                    ROCHESTER HILLS     MI 48307‐3539
STEWART, MICHAEL J         2027 HENBERT RD                                                                     W BLOOMFIELD        MI 48324‐1039
STEWART, MICHAEL L         1199 W LINDA LN                                                                     CHANDLER            AZ 85224‐3573
STEWART, MICHAEL P         9050 SADDLE HORN DR                                                                 FLUSHING            MI 48433‐1212
STEWART, MICHAEL PATRICK   9050 SADDLE HORN DR                                                                 FLUSHING            MI 48433‐1212
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Name                       Address1                            Address2       Address3         Address4         City             State Zip
STEWART, MICHAEL R         6860 HOOVER AVE                                                                      DAYTON            OH 45427‐1507
STEWART, MICHAEL W         308 HERMITAGE DRIVE                                                                  ELKTON            MD 21921‐5749
STEWART, MICHAEL WILLIAM   308 HERMITAGE DRIVE                                                                  ELKTON            MD 21921‐5749
STEWART, MICKEY            2412 WESTWOOD RD                                                                     MECHANICSVILLE    VA 23111‐6262
STEWART, MILDRED L         14031 ASBURY PARK                                                                    DET               MI 48227‐1387
STEWART, MILDRED L         3096 AYRE COURT                                                                      FLINT             MI 48506
STEWART, MILDRED L         3096 AYRE CT                                                                         FLINT             MI 48506‐5402
STEWART, MILDRED M         1702 IDAHO ST                                                                        TOLEDO            OH 43605‐2748
STEWART, MINNIE I          18953 SAN JUAN                                                                       DETROIT           MI 48221‐2175
STEWART, MIRIAM A          5551 MONTGOMERY SQUARE DR APT 101                                                    DAYTON            OH 45440‐2928

STEWART, MONA L            44120 RIVERVIEW RIDGE DR                                                             CLINTON TWP      MI   48038‐6902
STEWART, MONEVAH I         4823 VALLEY VIEW RD                                                                  BELLAIRE         MI   49615‐9115
STEWART, MORRIS L          1608 E COUNTY ROAD 900 S                                                             CLAY CITY        IN   47841‐8244
STEWART, MOSES             1301 MARTIN LUTHER KING DR                                                           JONESVILLE       LA   71343‐3119
STEWART, MURRAY            2475 BURNT HICKORY RD                                                                MARIETTA         GA   30064
STEWART, MYRON A           1344 ALCOTT DR                                                                       DAYTON           OH   45406‐4203
STEWART, MYRTLE L          5713 EDWARDS AVE                                                                     FLINT            MI   48505‐5168
STEWART, NANCY B           5301 SE 104TH ST                                                                     OKLAHOMA CITY    OK   73165
STEWART, NANCY J           8 LAWN AVE                                                                           GORHAM           ME   04038‐1119
STEWART, NATHAN            41757 WILLIS ROAD                                                                    BELLEVILLE       MI   48111‐9147
STEWART, NATHANIEL         PO BOX 318                                                                           CUMBERLAND GAP   TN   37724‐0318
STEWART, NATHANIEL         P.O. BOX 318                                                                         CUMBERLAND GAP   TN   37724‐0318
STEWART, NICHOLAS          8507 HERALDRY ST                                                                     SAN ANTONIO      TX   78254‐2425
STEWART, NICOLE SHANTEL    2042 CAROLINE AVE                                                                    INDIANAPOLIS     IN   46218‐3539
STEWART, NINA              1805 SAINT ALBANS BLVD                                                               AUSTIN           TX   78745‐2899
STEWART, NINA              1805 ST. ALBANS                                                                      AUSTIN           TX   78745‐2899
STEWART, NORMA L           11337 N LAKE DR                                                                      FENTON           MI   48430‐8813
STEWART, NORMA L           11040 BUCKHORN LAKE RD                                                               HOLLY            MI   48442‐8515
STEWART, NORMAN L          7788 LOVE RD                                                                         BENZONIA         MI   49616‐9751
STEWART, NORMAN L          721 MIKAL LN                                                                         BROWNSBURG       IN   46112
STEWART, NORMAN LEE        721 MIKAL LN                                                                         BROWNSBURG       IN   46112
STEWART, NOTRA B           7231 S MICHIGAN AVE                                                                  CHICAGO          IL   60619
STEWART, OLIVER E          100 COLLEGE AVE                                                                      SLEEPY HOLLOW    NY   10591
STEWART, OLLIE M           144 OTTAWA ST                                                                        OAKLEY           CA   94561‐1673
STEWART, OSCAR             9180 COMPTON COURT                                                                   PINCKNEY         MI   48169‐9193
STEWART, OSCAR E           6000 E CAROLYN DR                                                                    MUNCIE           IN   47303‐4445
STEWART, OWEN R            5846 RUSSELL AVE                                                                     FRANKLIN         OH   45005‐2826
STEWART, OZELA E           8542 MARLOWE ST                                                                      DETROIT          MI   48228‐2432
STEWART, PATRICIA          1706 MIDDLEBOROUGH RD                                                                ESSEX            MD   21221‐3010
STEWART, PATRICIA          72 BREUNIG AVE                                                                       TRENTON          NJ   08638‐3402
STEWART, PATRICIA          261 SWEET ALYSSUM DR                                                                 LADSON           SC   29456‐3897
STEWART, PATRICIA A        2081 LENNON ST                                                                       GROSSE POINTE    MI   48236‐1616
STEWART, PATRICIA A        65 MARK AVE                                                                          PONTIAC          MI   48341‐1347
STEWART, PATRICIA A        917 N MASON ST                                                                       SAGINAW          MI   48602‐4652
STEWART, PATRICIA C        241 E NEWBERRY ST                                                                    ROMEO            MI   48065‐4771
STEWART, PATRICIA C        241 NEWBERRY                                                                         ROMEO            MI   48065
STEWART, PATRICIA L        330 S SCOTT DR                                                                       SANTA MARIA      CA   93454‐5850
STEWART, PATRICIA L        2919 GLENBROOK DR                                                                    LANSING          MI   48911‐2340
STEWART, PATRICIA L        9417 RAVENSWOOD ROAD                                                                 GRANBURY         TX   76049‐4523
STEWART, PATRICIA R        4914 CAPRICE DRIVE                                                                   MIDDLETOWN       OH   45044‐7158
STEWART, PATRICK R         524 CLARION ST                                                                       CLIO             MI   48420‐1260
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Name                  Address1                       Address2                      Address3   Address4         City             State Zip
STEWART, PAUL         THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD       SUITE 44                    CORAL GABLES      FL 33146
STEWART, PAUL A       4154 JENNIE LN                                                                           SWARTZ CREEK      MI 48473‐1549
STEWART, PAUL B       298 N FROST DR                                                                           SAGINAW           MI 48638‐5743
STEWART, PAUL C       2181 BEDELL RD APT 8                                                                     GRAND ISLAND      NY 14072‐1662
STEWART, PAUL D       147 JACKSON AVE                                                                          SLOAN             NY 14212‐2367
STEWART, PAUL D       BOONE ALEXANDRA                205 LINDA DR                                              DAINGERFIELD      TX 75638‐2107
STEWART, PAUL E       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                     STREET, SUITE 600
STEWART, PAUL E       14583 STATE ROAD 120                                                                     BRISTOL          IN   46507
STEWART, PAUL E       10544 PROPOSAL POINTE WAY                                                                FORTVILLE        IN   46040‐8105
STEWART, PAULA        3615 BROOKSIDE RD                                                                        CUYAHOGA FALS    OH   44221‐1036
STEWART, PEARL A      514 HIGH STREET                                                                          WAYNESVILLE      OH   45068‐5068
STEWART, PEARL A      514 HIGH ST                                                                              WAYNESVILLE      OH   45068‐9784
STEWART, PEGGY E      651 VILLAGE DR APT 706                                                                   POMPANO BEACH    FL   33060‐3704
STEWART, PERCY E      1316 MERRILL ST                                                                          SAGINAW          MI   48601‐2301
STEWART, PEREANE B    5342 COQUINA SHORES LANE                                                                 PORT ORANGE      FL   32128‐2128
STEWART, PETER W      261 LOWELL RD                                                                            KENMORE          NY   14217‐1221
STEWART, PHILLIP A    1947 W 1100 N                                                                            KNIGHTSTOWN      IN   46148‐9782
STEWART, PHYLLIS A    12762 SAINT JAMES PL APT H                                                               NEWPORT NEWS     VA   23602‐4403
STEWART, PHYLLIS L    2438 HEMPHILL RD                                                                         KETTERING        OH   45440‐1220
STEWART, PHYLLIS M    7253 CHESTNUT HILL CHURCH RD                                                             COOPERSBURG      PA   18036
STEWART, PHYLLIS W    6899 STEWART SHARON, S.E.                                                                BROOKFIELD       OH   44403‐9789
STEWART, QUINTINA A   3830 PARK FOREST DR                                                                      FLINT            MI   48507‐2257
STEWART, RACHEL A     30325 BARNES LN                                                                          WATERFORD        WI   53185‐3401
STEWART, RACHELLE Y   945 GLASTONBURY CIR # A                                                                  RIDGELAND        MS   39157‐1210
STEWART, RALLING      6505 CHERIE LN                                                                           COLLEGE PARK     GA   30349‐1113
STEWART, RAMONA C     6150 OAK HILL DR                                                                         W FARMINGTON     OH   44491‐8703
STEWART, RANDALL W    4929 E MAPLE LN                                                                          JANESVILLE       WI   53546‐9572
STEWART, RANDELL C    18686 POINCIANA                                                                          REDFORD          MI   48240‐2031
STEWART, RANDY K      PO BOX 82                                                                                NEWTONSVILLE     OH   45158‐0082
STEWART, RAQUEL       7371 QUEENS COURT                                                                        ALMA             MI   48801
STEWART, RAQUEL       7371 QUEENS CT                                                                           ALMA             MI   48801‐8742
STEWART, RAY          1609 BRUSHY BRANCH RD                                                                    MANCHESTER       KY   40962‐6407
STEWART, RAYMOND E    6550 N FARMINGTON RD                                                                     WESTLAND         MI   48185‐2885
STEWART, RAYMOND E    2316 SAWMILL CT APT 205                                                                  BURLINGTON       KY   41005‐8375
STEWART, RAYMOND G    1008 RHODELLA LN                                                                         RICHMOND         KY   40475‐9574
STEWART, RAYMOND W    1429 LINCOLN AVE                                                                         MOUNT MORRIS     MI   48458‐1306
STEWART, REBECCA W    PO BOX 871342                                                                            STONE MOUNTAIN   GA   30087
STEWART, RENA         1058 BLUE BIRD DR                                                                        CRESTLINE        OH   44827‐9232
STEWART, RENA E       1028 TOM SMITH RD                                                                        WESTFIELD        NC   27053‐7203
STEWART, RENA E       1028 TOMSMITH RD                                                                         WESTFIELD        NC   27053‐7203
STEWART, REXFORD N    3200 S VERMONT AVE                                                                       INDEPENDENCE     MO   64052‐2753
STEWART, RICHARD      535 STANFORD AVE                                                                         ELYRIA           OH   44035‐6638
STEWART, RICHARD      COLOM LAW FIRM                 605 2ND AVE N                                             COLUMBUS         MS   39701‐4513
STEWART, RICHARD      2971 N 152ND DR                                                                          GOODYEAR         AZ   85395‐8611
STEWART, RICHARD A    601 STARKEY RD LOT 57          C/O RUTH A STEWART                                        LARGO            FL   33771‐2860
STEWART, RICHARD C    4293 U S HWY 2 WEST                                                                      LIBBY            MT   59923‐9411
STEWART, RICHARD C    28308 US HIGHWAY 2                                                                       LIBBY            MT   59923‐9737
STEWART, RICHARD C    3801 FORGE RD                                                                            NOTTINGHAM       PA   19362‐9420
STEWART, RICHARD C    41 RIGHT WING DR                                                                         BALTIMORE        MD   21220‐4644
STEWART, RICHARD E    2735 SYLVESTER ST                                                                        JANESVILLE       WI   53546‐5659
STEWART, RICHARD E    3254 DURST CLAGG RD NE                                                                   WARREN           OH   44481‐9325
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Name                    Address1                              Address2                      Address3   Address4         City            State Zip
STEWART, RICHARD G      3319 SHADOW BROOK DR                                                                            INDIANAPOLIS     IN 46214‐1913
STEWART, RICHARD J      1150 CALPERNIA                                                                                  WIXOM            MI 48393‐4506
STEWART, RICHARD J      4866 MAYCREST DR                                                                                WATERFORD        MI 48328‐1021
STEWART, RICHARD M      1422 JOLSON AVE                                                                                 BURTON           MI 48529‐2026
STEWART, RICHARD M      BECKLEY SINGLETON DELANOY JEMISON &   3993 HOWARD HUGHES PKWY STE                               LAS VEGAS        NV 89169‐5996
                        LIST CHTD                             600
STEWART, RICHARD P      9193 STATE ROUTE 1241                                                                           BOAZ            KY   42027‐9439
STEWART, RICHARD P      4258 BELLE MEADE CIR                                                                            BELMONT         NC   28012‐6506
STEWART, RICHARD W      2355 W WATTLES RD                                                                               TROY            MI   48098‐4269
STEWART, RICK A         PO BOX 1351                                                                                     TOMBSTONE       AZ   85638‐1351
STEWART, RICK D         1038 ROLLING FIELDS CIR                                                                         COLUMBIA        TN   38401‐3570
STEWART, RICKY L        4065 BONNETT CREEK LN                                                                           HOSCHTON        GA   30548‐6207
STEWART, ROBERT B       10816 NE 28TH AVE                                                                               VANCOUVER       WA   98686‐5708
STEWART, ROBERT C       855 HIGH POINT RIDGE RD                                                                         FRANKLIN        TN   37069‐4768
STEWART, ROBERT C       879 GARY SUMMERS RD                                                                             SENOIA          GA   30276‐1240
STEWART, ROBERT D       16830 JAGUAR AVE                                                                                LAKEVILLE       MN   55044‐5507
STEWART, ROBERT D       6304 HEDGE LANE                                                                                 SHAWNEE         KS   66226
STEWART, ROBERT D       10055 SMITH HILL RD                                                                             HUNT            NY   14846‐9708
STEWART, ROBERT D       4980 APPLERIDGE CT                                                                              DAYTON          OH   45424‐4607
STEWART, ROBERT E       5406 HUNTINGTON WAY CITY                                                                        GLADWIN         MI   48624
STEWART, ROBERT E       2201 N YORK ST                                                                                  INDEPENDENCE    MO   64058‐1365
STEWART, ROBERT E       8161 SOUTH BROWNSCHOOL ROAD                                                                     VANDALIA        OH   45377‐9634
STEWART, ROBERT E       8161 S BROWN SCHOOL RD                                                                          VANDALIA        OH   45377‐9634
STEWART, ROBERT EARL    GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                              STREET, SUITE 600
STEWART, ROBERT G       20158 INDIAN DR                                                                                 PARIS           MI   49338
STEWART, ROBERT G       425 AIRVIEW ST SE                                                                               WYOMING         MI   49548‐1217
STEWART, ROBERT H       142 62ND ST                                                                                     NIAGARA FALLS   NY   14304‐3818
STEWART, ROBERT H       923 JEFFERSON AVE                                                                               OGDENSBURG      NY   13669‐3020
STEWART, ROBERT HENRY   923 JEFFERSON AVE                                                                               OGDENSBURG      NY   13669‐3020
STEWART, ROBERT J       82 HARDING AVE                                                                                  EDISON          NJ   08820‐2524
STEWART, ROBERT L       2721 FOX RUN DR                       APT 2                                                     SPRINGFIELD     IL   62704‐5972
STEWART, ROBERT L       5559 W LONE CACTUS DR                                                                           GLENDALE        AZ   85308‐9135
STEWART, ROBERT L
STEWART, ROBERT L       6488 BLUE WATER DR                                                                              DIMONDALE       MI   48821‐9216
STEWART, ROBERT L       806 E 1ST ST                                                                                    SALEM           MO   65560‐2602
STEWART, ROBERT L       4185 RED BIRD LN                                                                                FLINT           MI   48506‐1756
STEWART, ROBERT M       16630 NORTH 174TH AVENUE                                                                        SURPRISE        AZ   85388‐0255
STEWART, ROBERT M       529 CRAWFORD & MAIN                                                                             IMPERIAL        PA   15126
STEWART, ROBERT P       2643 HAZEL AVE                                                                                  DAYTON          OH   45420‐2701
STEWART, ROBERT R       7611 PARDEE RD                                                                                  TAYLOR          MI   48180‐2386
STEWART, ROBERT S       11129 LAPEER RD                                                                                 DAVISON         MI   48423‐8118
STEWART, ROBERT S       8390 RYAN RD                                                                                    SEVILLE         OH   44273‐9145
STEWART, ROBERT SHAWN   8390 RYAN RD                                                                                    SEVILLE         OH   44273‐9145
STEWART, ROBERT W       409 QUINCY GRANGE RD                                                                            QUINCY          MI   49082
STEWART, ROBERT W       3942 ALSACE PL                                                                                  INDIANAPOLIS    IN   46226‐5413
STEWART, ROBERT WAYNE   3942 ALSACE PL                                                                                  INDIANAPOLIS    IN   46226‐5413
STEWART, ROCKY
STEWART, RODNEY H       4092 HEATHERMOOR DR                                                                             SAGINAW         MI   48603‐1194
STEWART, RODRIC J       PO BOX 279                                                                                      MILLINGTON      MI   48746‐0279
STEWART, ROGER D        110 ASCOT AVE                                                                                   WATERFORD       MI   48328‐3502
STEWART, ROGER J        15580 KINGSWAY DR                                                                               MACOMB          MI   48044‐1136
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Name                    Address1                              Address2                       Address3   Address4         City              State Zip
STEWART, ROGER THOMAS   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510‐2212
                                                              STREET, SUITE 600
STEWART, ROLAND         3663 WEAVER RD                                                                                   WILLIAMSBURG      OH   45176‐9376
STEWART, ROLAND C       PO BOX 11124                                                                                     WILMINGTON        DE   19850‐1124
STEWART, ROMA D         27795 DEQUINDRE RD APT 208                                                                       MADISON HEIGHTS   MI   48071‐5712
STEWART, ROMA D         27795 DEQUINDRE DR                    APT 208                                                    MADISON HEIGHTS   MI   48071
STEWART, RONALD C       4509 N VASSAR RD                                                                                 FLINT             MI   48506‐1769
STEWART, RONALD D       8127 N GENESEE RD                                                                                MOUNT MORRIS      MI   48458‐8984
STEWART, RONALD G       10 COUGAR RD                                                                                     JOLIET            IL   60432‐9783
STEWART, RONALD G       721 MELISSA DR                                                                                   OXFORD            OH   45056‐9044
STEWART, RONALD K       7689 LYN DR                                                                                      FRANKLIN          OH   45005‐4109
STEWART, RONALD L       12001 BROCK HWY                                                                                  LIPAN             TX   76462‐6343
STEWART, RONALD O       7868 W 21ST ST                                                                                   INDIANAPOLIS      IN   46214‐2303
STEWART, RONALD R       13121 BURNINGTREE AVE                                                                            FORT MYERS        FL   33919‐7938
STEWART, RONALD V       5698 S BRADLEY RD                                                                                SANTA MARIA       CA   93455‐5685
STEWART, RONALD W       23620 SHURTE ST                                                                                  CASSOPOLIS        MI   49031‐8712
STEWART, RONALD W       6240 STUMPH RD                        APT 220‐A                                                  PARMA HEIGHTS     OH   44130
STEWART, RONNIE J       401 PORTER DR                                                                                    ENGLEWOOD         OH   45322‐2312
STEWART, ROSA M         13534 BONILLA LN                                                                                 HOUSTON           TX   77083‐5149
STEWART, ROSA M         13534 BONILLA ST                                                                                 HOUSTON           TX   77083
STEWART, ROSA W         932 MACKOW DR                                                                                    TOLEDO            OH   43607‐3058
STEWART, ROSALIND       512 CATHERINE ST                                                                                 YOUNGSTOWN        OH   44505‐1510
STEWART, ROSE L         8056 RAYNA CT                                                                                    BELLEVILLE        MI   48111‐5415
STEWART, ROSE LEE       8056 RAYNA CT                                                                                    BELLEVILLE        MI   48111‐5415
STEWART, ROSIE          2431 THATCHER ST                                                                                 SAGINAW           MI   48601‐3364
STEWART, ROY            444 S POLK DR                                                                                    SARASOTA          FL   34236‐2035
STEWART, ROY            SIMMONS FIRM                          PO BOX 521                                                 EAST ALTON        IL   62024‐0519
STEWART, ROY C          HC 6 BOX 119                                                                                     DONIPHAN          MO   63935‐9004
STEWART, ROY D          1301 E OLD 22                                                                                    HARTFORD CITY     IN   47348
STEWART, ROY L          324 STATE ROUTE 303                                                                              STREETSBORO       OH   44241‐5250
STEWART, ROY L          6647 WINCHELL RD                                                                                 HIRAM             OH   44234
STEWART, RUBY L         3730 BAYBROOK DR                                                                                 WATERFORD         MI   48329‐3904
STEWART, RUBY M         5434 N WAYNESVILLE RD 32                                                                         OREGONIA          OH   45054‐9601
STEWART, RUFUS D        PO BOX 100                                                                                       DECATUR           GA   30031‐0100
STEWART, RUSSELL D      GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                               SAGINAW           MI   48604‐2602
                                                              260
STEWART, RUSSELL J      14267 TORCH RIVER RD                                                                             RAPID CITY        MI   49676‐9688
STEWART, RUSSELL P      2920 KING ST                                                                                     JANESVILLE        WI   53546‐5636
STEWART, RUTH A         601 STARKEY RD LOT 57                 RUTH A STEWART                                             LARGO             FL   33771‐2860
STEWART, RUTH M         613 FLORIDA BLVD                                                                                 NEPTUNE BEACH     FL   32266‐3605
STEWART, RUTH P         5471 MILITARY RD                                                                                 LEWISTON          NY   14092‐2123
STEWART, SAMUEL         2035 SYCAMORE DR                                                                                 BEDFORD HTS       OH   44146‐2313
STEWART, SAMUEL D       1408 DILLON ST                                                                                   SAGINAW           MI   48601‐1376
STEWART, SAMUEL P       412 DARDENNE DR                                                                                  O FALLON          MO   63366‐2718
STEWART, SAMUEL W       505 EMERICK ST APT 1                                                                             YPSILANTI         MI   48198‐5766
STEWART, SAMUEL W       15054 WESTPOINT STREET                                                                           TAYLOR            MI   48180‐6020
STEWART, SANDRA         341 DOGWOOD LOOP                                                                                 ALMA              AR   72921‐7234
STEWART, SANDRA         425 ARLINGTON RD APT 16                                                                          BROOKVILLE        OH   45309‐1134
STEWART, SANDRA         425 ARLINGTON RD                      APT 16                                                     BROOKFIELD        OH   45309
STEWART, SANDRA         3926 E MICHIGAN ST                                                                               INDIANOPOLIS      IN   46201
STEWART, SANDRA A       13155 MICHALEK LN                                                                                SOUTH LYON        MI   48178‐9169
STEWART, SANDRA J       24206 SUSAN DR                                                                                   FARMINGTN HLS     MI   48336‐2812
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Name                       Address1                         Address2                    Address3   Address4         City              State Zip
STEWART, SANDRA J          9613 NE 3RD PL                                                                           MIDWEST CITY       OK 73130‐3425
STEWART, SANDRA K          3531 ALWARD RD                                                                           LAINGSBURG         MI 48848‐9451
STEWART, SANDRA L          5121 KENORA DR                                                                           SAGINAW            MI 48604‐9471
STEWART, SAVONDA J         18101 SUMPTER RD                                                                         BELLEVILLE         MI 48111‐8721
STEWART, SAVONDA JANE      18101 SUMPTER RD                                                                         BELLEVILLE         MI 48111‐8721
STEWART, SCOTT             APT 111                          292 WEST CLAIBORNE STREET                               MONROEVILLE        AL 36460‐1730
STEWART, SHANON L          542 PALMER AVE                                                                           YOUNGSTOWN         OH 44502‐2529
STEWART, SHARON M          PO BOX 875                                                                               COLUMBIA           TN 38402‐0875
STEWART, SHAWN D           153 E STEWART AVE                                                                        FLINT              MI 48505
STEWART, SHIRLEY           339 N WAVERLY RD                                                                         LANSING            MI 48917‐2846
STEWART, SHIRLEY A         7904 E 162ND TER                                                                         BELTON             MO 64012‐5426
STEWART, SHIRLEY A         PO BOX 2421                                                                              DECATUR            GA 30031‐2421
STEWART, SHIRLEY F         321 CROSS OAKS DR                APT 19                                                  PLAINWELL          MI 49080‐1959
STEWART, SHIRLEY M         43464 GERI DRIVE                                                                         CANTON             MI 48187
STEWART, SHIRLEY M         1609 PATTERSON ROAD                                                                      DAYTON             OH 45420‐2633
STEWART, SHUNELL R         1347 FREEMAN AVENUE                                                                      KANSAS CITY        KS 66102‐2807
STEWART, SHUNELL RENIECE   1347 FREEMAN AVENUE                                                                      KANSAS CITY        KS 66102‐2807
STEWART, SONIA             555 S ARLINGTON AVE                                                                      INDEPENDENCE       MO 64053
STEWART, SONJA             406 MASSEY CV                                                                            CARTHAGE           MS 39051‐3926
STEWART, STACEY            23122 SAMUEL ST APT 16                                                                   TORRANCE           CA 90505‐3865
STEWART, STAFFORD          562 GEORGETOWN AVE                                                                       ELYRIA             OH 44035‐3856
STEWART, STANLEY           25 MAXWELL RD                                                                            BELVIDERE          TN 37306‐2145
STEWART, STANLEY L         24206 SUSAN DR                                                                           FARMINGTN HLS      MI 48336‐2812
STEWART, STANLEY R         5848 BOEPTCHER COURT                                                                     INDIANAPOLIS       IN 46228
STEWART, STELLA S          3056 W CASS AVE                                                                          FLINT              MI 48504‐1206
STEWART, STEPHANIE M       1055 N SHAYTOWN RD                                                                       VERMONTVILLE       MI 49096‐9571
STEWART, STEPHEN D         6540 RIDGEWOOD RD                                                                        CLARKSTON          MI 48346‐1023
STEWART, STEPHEN E         3788 GRUBER RD                                                                           MONROE             MI 48152‐9496
STEWART, STEPHEN EARL      3788 GRUBER RD                                                                           MONROE             MI 48162‐9496
STEWART, STEPHEN K         601 MEADOWS DR                   C/O CARI ANN STEWART                                    MOORESVILLE        IN 46158‐7968
STEWART, STEPHEN L         2910 N VERMONT AVE                                                                       ROYAL OAK          MI 48073‐3527
STEWART, STEPHEN R         5847 MEISNER RD                                                                          CHINA              MI 48054‐3313
STEWART, STEPHEN S         124 CLAY ST                                                                              BRADFORD           OH 45308
STEWART, STEVEN            332 OXFORD LAKE DR                                                                       OXFORD             MI 48371‐5102
STEWART, STEVEN D          14353 BRINK AVE                                                                          NORWALK            CA 90650
STEWART, STEVEN J          7415 E FRANCES RD                                                                        MOUNT MORRIS       MI 48458‐9742
STEWART, STEVEN JOSEPH     7415 E FRANCES RD                                                                        MOUNT MORRIS       MI 48458‐9742
STEWART, STEVEN M          3044 W GRAND BLVD                C/O DELPHI‐JAPAN 3‐220                                  DETROIT            MI 48202‐3009
STEWART, STEVEN T          22145 YORKSHIRE DR E                                                                     ATHENS             AL 35613‐2403
STEWART, STEVEN W          716 N WHEATON RD                                                                         CHARLOTTE          MI 48813‐8826
STEWART, SUSAN L           1495 TERNBURY DR                                                                         ROCHESTER HILLS    MI 48307‐3539
STEWART, SUZANNA           292 SMITH ST APT 311                                                                     CLIO               MI 48420‐1399
STEWART, SUZANNE           PORTNOY & QUINN                  1 OXFORD CTR                                            PITTSBURGH         PA 15219‐1400
STEWART, SYLVESTER         3601 BERWICK DR                                                                          LANSING            MI 48911‐2172
STEWART, SYLVIA L          3434 HIGHWOODS DR N                                                                      INDIANAPOLIS       IN 46222‐1890
STEWART, SYLVIA L          3434 N HIGHWOODS DR                                                                      INDIANAPOLIS       IN 46222‐1890
STEWART, TAMALYNN          50 MILTON ST                                                                             BEREA              OH 44017‐2821
STEWART, TAMMY L           198 EUCLID BOULEVARD                                                                     YOUNGSTOWN         OH 44505‐2014
STEWART, TARYN L           2499 KEYSTONE ROAD                                                                       TARPON SPGS        FL 34688‐8622
STEWART, TED               2606 BENJAMIN AVE                                                                        ROYAL OAK          MI 48073‐3085
STEWART, TED A             1786 E 900 N                                                                             ALEXANDRIA         IN 46001‐8327
STEWART, TERESA A          8610 HOPE MEWS CT                                                                        ATLANTA            GA 30350‐2960
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Name                      Address1                           Address2              Address3     Address4         City            State Zip
STEWART, TERRANCE K       4018 WINDMILL RIDGE CIR                                                                OVILLA           TX 75154‐5551
STEWART, TERRY A          1500 W 11TH ST                                                                         MUNCIE           IN 47302‐2149
STEWART, TERRY G          19515 LAKE CHABOT RD                                                                   CASTRO VALLEY    CA 94546
STEWART, TERRY M          6415 FARRAND RD                                                                        MILLINGTON       MI 48746‐9250
STEWART, THADO C          14934 PAULINA ST                                                                       HARVEY            IL 60426‐2134
STEWART, THELMA           1913 E WASHINGTON AVE                                                                  HARLINGEN        TX 78550‐5744
STEWART, THELMA GRACE     784 ROCKVIEW CIRCLE                                                                    AVON             IN 46123‐7468
STEWART, THERESA A        4371 WICKFIELD DR                                                                      FLINT            MI 48507‐3756
STEWART, THOMAS           6024 WATERFRONT DR                                                                     WATERFORD        MI 48329‐1447
STEWART, THOMAS           PORTER & MALOUF PA                 4670 MCWILLIE DR                                    JACKSON          MS 39206‐5621
STEWART, THOMAS A         208 SOUTH DWIGHT STREET                                                                COALGATE         OK 74538‐1220
STEWART, THOMAS D         1724 MELBOURNE RD                                                                      DUNDALK          MD 21222‐4821
STEWART, THOMAS E         11401 BLUEWATER HWY                                                                    LOWELL           MI 49331‐9220
STEWART, THOMAS H         2953 HOMEWAY DR                                                                        BEAVERCREEK      OH 45434‐5708
STEWART, THOMAS L         9784 OLIVE ST                                                                          BLOOMINGTON      CA 92316‐2021
STEWART, THOMAS R         3008 SHERMAN ST                                                                        ANDERSON         IN 46016‐5918
STEWART, TIFFANY
STEWART, TIFFANY A        2916 JULIAN STREET                                                                     YOUNGSTOWN      OH   44502‐2834
STEWART, TIFFANY S        51067 E VILLAGE RD APT 4‐205                                                           CHESTERFIELD    MI   48047‐1385
STEWART, TILLMAN          77 BRUCE PARK DR                                                                       TRENTON         NJ   08618‐5109
STEWART, TIMOTHY          413 JUDAH LOGAN RD                                                                     BEDFORD         IN   47421‐6962
STEWART, TIMOTHY B        4900 WARREN SHARON RD.                                                                 VIENNA          OH   44473‐4473
STEWART, TIMOTHY D        412 DARDENNE DR                                                                        O FALLON        MO   63366‐2718
STEWART, TIMOTHY J        895 N CONKLIN RD                                                                       LAKE ORION      MI   48362‐1711
STEWART, TIMOTHY L        2606 CASCADE COURT                                                                     WESTLAND        MI   48186‐4608
STEWART, TIMOTHY M        4851 OLD HYDES FERRY PIKE                                                              NASHVILLE       TN   37218‐3908
STEWART, TINA             3151 SOARING GULLS DR UNIT 1195                                                        LAS VEGAS       NV   89128‐7032
STEWART, TONY L           866 S RIDGE PL                                                                         BENSON          AZ   85602
STEWART, TRAVIS           2118 27TH ST                                                                           BEDFORD         IN   47421‐4944
STEWART, TRAVIS           2111 27TH ST                                                                           BEDFORD         IN   47421‐4943
STEWART, TROY E           5232 ROCKWAY DR                                                                        COLUMBIAVILLE   MI   48421‐8907
STEWART, TROY V           1080 SW COLORADO AVE                                                                   PORT ST LUCIE   FL   34953‐1803
STEWART, VALERIE M        EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR   PO BOX 200                    DETROIT         MI   48265‐2000

STEWART, VELMA            3284 JACQUE ST                                                                         FLINT           MI   48532‐3709
STEWART, VERA J           1106 W DAYTON ST                                                                       FLINT           MI   48504‐2832
STEWART, VERNON E         PO BOX 7915                                                                            FLINT           MI   48507‐0915
STEWART, VERYL A          1761 S DURAND RD                                                                       LENNON          MI   48449‐9675
STEWART, VICKY L          16 ARIS WAY                                                                            MILFORD         MA   01757‐2925
STEWART, VICTORIA C       215 E BOSTON AVE                                                                       YOUNGSTOWN      OH   44507‐1746
STEWART, VICTORIA R       609 W DEXTER TRL                                                                       MASON           MI   48854‐9666
STEWART, VICTORIA R       609 WEST DEXTER TRAIL                                                                  MASON           MI   48854‐9666
STEWART, VIOLA            1106 HAWORTH ST                                                                        PHILADELPHIA    PA   19124‐2506
STEWART, VIOLET E         4007 MARS HILL RD                                                                      CUMMING         GA   30040‐8052
STEWART, VIRGIE           1008 RHODELLA DRIVE                                                                    RICHMOND        KY   40475
STEWART, VIRGIE           1008 RHODELLA LN                                                                       RICHMOND        KY   40475‐9574
STEWART, VIRGINIA         1414 ELECTRIC ST.                                                                      LINCOLN PARK    MI   48146
STEWART, VIRGINIA A       701 MICHAEL AVE                                                                        WENTZVILLE      MO   63385‐1013
STEWART, VIRGINIA ANN     701 MICHAEL AVE                                                                        WENTZVILLE      MO   63385‐1013
STEWART, VIRGINIA L       308 NORTH ST                                                                           CHESTERFIELD    IN   46017‐1122
STEWART, VIRGINIA M       2159 SANTA ANITA DR                                                                    LEXINGTON       KY   40516‐9668
STEWART, VIRIGINIA WOOD   315 CARROLLTON ST                                                                      BUCHANAN        GA   30113‐4919
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Name                       Address1                            Address2                       Address3   Address4         City              State Zip
STEWART, WALTER D          PO BOX 201418                                                                                  CLEVELAND          OH 44120‐8106
STEWART, WALTER E          310 W 13TH ST                                                                                  NEWPORT            KY 41071‐2317
STEWART, WALTER F          3668 FARMERS CREEK RD                                                                          METAMORA           MI 48455‐9103
STEWART, WALTER J          5160 N JENNINGS RD                                                                             FLINT              MI 48504‐1116
STEWART, WALTER N          215 E BOSTON AVE                                                                               YOUNGSTOWN         OH 44507‐1746
STEWART, WALTER P          803 BURNS ST                                                                                   ESSEXVILLE         MI 48732‐1274
STEWART, WANDA D           3218 LAWRENCE HIGHWAY                                                                          CHARLOTTE          MI 48813‐8853
STEWART, WANDA H           404 WEST WILLIAMS STREET                                                                       OWOSSO             MI 48867
STEWART, WARREN J          8730 ROBINWOOD CIR E                                                                           SHELBY TOWNSHIP    MI 48317‐1452
STEWART, WARREN R          5282 S HOLIDAY DR                                                                              CRAWFORDSVILLE     IN 47933‐9507
STEWART, WAYNE
STEWART, WAYNE             GROTEFELD & HOFFMANN, LLP           180 N LA SALLE ST STE 1810                                 CHICAGO           IL    60601‐2604
STEWART, WAYNE P           PO BOX 154                                                                                     DRYDEN            MI    48428‐0154
STEWART, WAYNE R           6968 NORTHVIEW DR                                                                              LOCKPORT          NY    14094‐5333
STEWART, WAYNE T           6990 E COUNTY LINE RD                                                                          INDIANAPOLIS      IN    46237‐9711
STEWART, WESLEY ANNE       1716 CHATHAM CIRCLE                                                                            APOPKA            FL    32703‐7314
STEWART, WILBERT C         7102 E NEVADA ST                                                                               DETROIT           MI    48234‐3072
STEWART, WILLARD D         1198 SMITH THOMPSON RD                                                                         BETHPAGE          TN    37022‐9109
STEWART, WILLIAM           RENASSAINCE VILLAGE                 6050 S‐800E 92                                             FORT WAYNE        IN    46814
STEWART, WILLIAM A         2836 PARKWOOD DR                                                                               SPEEDWAY          IN    46224‐3247
STEWART, WILLIAM B         4633 S BELDING RD                                                                              JANESVILLE        WI    53546‐9588
STEWART, WILLIAM BERNARD   784 ROCKVIEW CIR                                                                               AVON              IN    46123
STEWART, WILLIAM C         5281 EMPRESS DR                                                                                GRAND BLANC       MI    48439‐8671
STEWART, WILLIAM D         2822 W TIENKEN RD                                                                              ROCHESTER HILLS   MI    48306‐3865
STEWART, WILLIAM F         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA    23510‐2212
                                                               STREET, SUITE 600
STEWART, WILLIAM G         8084 FLINTLOCK RD                                                                              MOUNT MORRIS      MI    48458‐9345
STEWART, WILLIAM J         2811 NICKELBY DR                                                                               SHELBY TOWNSHIP   MI    48316‐4870
STEWART, WILLIAM L         3800 WHITE FEATHER ROAD                                                                        NORMAN            OK    73026‐8909
STEWART, WILLIAM L         9071 SADDLE HORN DRIVE                                                                         FLUSHING          MI    48433‐1211
STEWART, WILLIAM R         4121 DUPONT ST                                                                                 FLINT             MI    48504‐3565
STEWART, WILLIAM R         PO BOX 3341                                                                                    WILMINGTON        DE    19804
STEWART, WILLIAM R         10519 LAFOLLETTE DR                                                                            BRIGHTON          MI    48114‐9623
STEWART, WILLIAM R         2119 E AVENUE K3 12                                                                            LANCASTER         CA    93535
STEWART, WILLIAM RAY       4121 DUPONT ST                                                                                 FLINT             MI    48504‐3565
STEWART, WILLIAM T         2681 N 43RD AVE                                                                                PHOENIX           AZ    85009‐1019
STEWART, WILLIAM W         2012 E 15TH ST                                                                                 MUNCIE            IN    47302‐4428
STEWART, WILLIAM/TN        1222 TROTWOOD AVE STE 411                                                                      COLUMBIA          TN    38401‐6422
STEWART, WILLIE BROWN      GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW           MI    48604‐2602
                                                               260
STEWART, WILLIE C          15864 SANTA ROSA DR                                                                            DETROIT           MI    48238‐1337
STEWART, WILLIE E          1497 S LIEBOLD ST                                                                              DETROIT           MI    48217
STEWART, WILLIE H          201 SOUTHLAND DR APT A6                                                                        BARNESVILLE       GA    30204‐1564
STEWART, WILLIE J          PO BOX 250204                                                                                  MONTGOMERY        AL    36125‐0204
STEWART, WILMA             111 S 3RD ST APT 131                                                                           CONVERSE          IN    46919‐9570
STEWART, WILMA             11320 HARTWELL STREET                                                                          DETROIT           MI    48227‐3443
STEWART, WILMA E           925 HIGHWAY P                                                                                  PARK HILLS        MO    63601‐9302
STEWART, WILMA E           6509 W 35TH ST                                                                                 INDIANAPOLIS      IN    46224‐1113
STEWART, WILMER H          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA    23510‐2212
                                                               STREET, SUITE 600
STEWART, WILNA L           499 W BUNKERHILL RD                                                                            MOORESVILLE        IN   46158
STEWART, WILTON            LIPMAN DAVID M                      5901 SW 74TH ST STE 304                                    MIAMI              FL   33143‐5163
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Name                                Address1                             Address2                  Address3         Address4                City            State Zip
STEWART, WILTON                     THE LIPMAN LAW FIRM                  5915 PONCE DE LEON BLVD   SUITE 44                                 CORAL GABLES     FL 33146
STEWART, WINNIFRED                  3301 WILLIAMSBURG RD                                                                                    ANN ARBOR        MI 48108‐2029
STEWART, WINSTON R                  256 STEWART LN                                                                                          MORGANTON        GA 30560‐4409
STEWART, WYLOIDINE                  JACOBS & CRUMPLAR P.A.               PO BOX 1271               2 EAST 7TH ST,                           WILMINGTON       DE 19899‐1271
STEWART,NANCY S                     30055 CHEVIOT HILLS CT                                                                                  FRANKLIN         MI 48025‐2312
STEWART‐ANKTON, LISA L              2800 MISTY SHORE LANE                                                                                   PFLUGERVILLE     TX 78660‐7744
STEWART‐BARNES, BRENDA A            9455 SKY VISTA PKWY APT 15G                                                                             RENO             NV 89506‐2041
STEWART‐BIGGS, MAXINE               651 WILSON AVE                                                                                          MOUNT MORRIS     MI 48458‐1554
STEWART‐HAAS                        ATTN: CORPORATE OFFICER/AUTHORIZED   6001 HAAS WAY                                                      KANNAPOLIS       NC 28081‐7730
                                    AGENT
STEWART‐HAAS RACING LLC             ATTN: CORPORATE OFFICER/AUTHORIZED   6001 HAAS WAY                                                      KANNAPOLIS      NC 28081‐7730
                                    AGENT
STEWART‐HASS RACING, LLC            JOE CUSTER                           6001 HAAS WAY                                                      KANNAPOLIS      NC    28081‐7730
STEWART‐HUFF, FLORENCE              20631 FM 2556                                                                                           SANTA ROSA      TX    78593
STEWART‐JAMES, GLORIA J             22101 HARDING ST                                                                                        OAK PARK        MI    48237‐2563
STEWART‐MANNING, IRETHA             1833 ALABAMA AVE SW                                                                                     BIRMINGHAM      AL    35211‐2402
STEWART‐MILLER, ELLEN J             8515 APPLE BLOSSOM LN                                                                                   FLUSHING        MI    48433‐1113
STEWART‐MORSE, LOIS Y               1833 NOVA GLN                                                                                           ESCONDIDO       CA    92026‐3327
STEWART‐RICHARDSON & ASSOCIATES INC 201 N ILLINOIS ST STE 1700                                                                              INDIANAPOLIS    IN    46204

STEWART‐SNELL, SANDRA M             1394 RYAN ST                                                                                            FLINT           MI    48532‐3743
STEWART‐SNELL, SANDRA MARIA         1394 RYAN ST                                                                                            FLINT           MI    48532‐3743
STEWART‐TRAYVICK, LAURA W           3548 DARIEN DR                                                                                          DAYTON          OH    45426‐2301
STEWART‐TRAYVICK, LAURA W           3548 DARIEN DR.                                                                                         DAYTON          OH    45426‐2301
STEWART‐WALLACE, GLADYS             20903 ANTIQUE CT                                                                                        SOUTHFIELD      MI    48075‐3228
STEWART‐WARNER ALEMI                167 ROWELAND DR                                                                                         JOHNSON CITY    TN    37601‐3832
STEWART‐WHITEMAN, LISA C            6915 KILRAIN CT                                                                                         COLUMBIA        MD    21045
STEWARTS AUTOMOTIVE                 108 18TH ST                                                                                             HONDO           TX    78861‐1905
STEWY'S AUTO                        246 SOUTH GOWER DR                                                              KEMPTVILLE ON K0G 1J0
                                                                                                                    CANADA
STEYAERT, ROBERT G                  670 SUPERIOR PKWY                                                                                       WESTLAND        MI    48185‐9670
STEYAERT, ROBERT GERMAIN            670 SUPERIOR PKWY                                                                                       WESTLAND        MI    48185‐9670
STEYER JR, PETER P                  404 W NORTH UNION ST                                                                                    BAY CITY        MI    48706‐3523
STEYER, ILEEN MAE                   180 LANDOVER PLACE                   # 143WD                                                            LONGWOOD        FL    32750
STEYER, ILEEN MAE                   413 E CITRUS ST                                                                                         ALTAMONTE SPG   FL    32701‐7830
STEYER, JUDITH I                    1304 CRISTINA DR                                                                                        FENTON          MI    48430‐9637
STEYER, KENNETH A                   11133 PATTY ANN LN                                                                                      BRUCE TWP       MI    48065‐5304
STEYER, TIMOTHY J                   1304 CRISTINA DR                                                                                        FENTON          MI    48430‐9637
STEYER, VIRGIL T                    6491 PARK RD                                                                                            LEAVITTSBURG    OH    44430‐9747
STEYR POWERTRAIN OF AMERICA INC     6340 BEST FRIEND RD                                                                                     NORCROSS        GA    30071
STGEORGE, THOMAS J                  729 CLIFTON DR NE                                                                                       WARREN          OH    44484‐1815
STH AUTOMOTIVE SERVICE CENTER       176 MAIN AVE E STE D                                                                                    WEST FARGO      ND    58078‐1235
STHEINER, GEORGE S                  1491 WEBBER AVE                                                                                         FLINT           MI    48529‐2037
STHEINER, MARK A                    9334 ANACAPA BAY DR                                                                                     PINCKNEY        MI    48169‐8232
STHEINER, PHILLIP A                 200 HURON AVE                                                                                           HARRISVILLE     MI    48740‐9631
STHEINER, SHANE J                   7469 NEW HAMPSHIRE DR                                                                                   DAVISON         MI    48423‐9512
STHILAIRE, AMY
STI TECHNOLOGIES INC                1800 BRIGHTON HENRIETTA TOWN LINE                                                                       ROCHESTER       NY 14623‐2508
                                    RD
STI/GREENSBURG                      1024 BARACHEL LN                     P.O. BOX 588                                                       GREENSBURG       IN   47240‐1277
STIAN SPORT AS                      KOERSELSCSTEENWEG 33, S580 BERINGEN,                                            BELGIUM
                                    BELGIUM
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Name                          Address1                         Address2                      Address3   Address4            City             State Zip
STIAN SPORT AS                ASLAKVEIEN 20 D                                                           OSLO 0753 NORWAY
STIBBE, BERNARD W             11335 W TOWNSEND RD                                                                           JANESVILLE        WI   53548‐8785
STIBBE, WESLEY R              3212 W ROCKPORT PARK DR                                                                       JANESVILLE        WI   53548‐7604
STIBEL, HOWARD S              4357 13TH ST. #167                                                                            LUNA PIER         MI   48157
STIBEL, HOWARD SANFORD        4357 13TH ST. #167                                                                            LUNA PIER         MI   48157
STIBEL, ROSE Y                42102 RIDGE ROAD WEST                                                                         NOVI              MI   48375‐2673
STIBEL, ROSE Y                42500 CHERRY HILL RD APT 1047                                                                 CANTON            MI   48187
STIBER BRITNEY                11475 CEDAR LN                                                                                PLYMOUTH          MI   48170‐4535
STIBICH, ANNE M               5356 ORCHARD CREST DR                                                                         TROY              MI   48085‐3480
STIBICH, ANNE MARIE           5356 ORCHARD CREST DR                                                                         TROY              MI   48085‐3480
STIBICH, RAYMOND C            817 FREEDOM CIRCLE               APT 303                                                      SUN CITY CTR      FL   33573
STIBITZ, CHARLES N            1592 PRINCETON RD                                                                             BERKLEY           MI   48072‐3024
STIBO DATA GRAPHICS           3550 GEORGE BUSBEE PKY NW STE                                                                 KENNESAW          GA   30144
STICCO, MILLINA               508 PARKVIEW DR                  PARKVIEW ESTATES                                             PITTSBURGH        PA   15236‐4592
STICCO, MILLINA               508 PARK VIEW DRIVE              PARKVIEW ESTATES                                             PITTSBURG         PA   15236‐4592
STICE, F B                    3812 NW 57TH ST                                                                               OKLAHOMA CITY     OK   73112‐2012
STICE, ROBERT E               24995 MEADOWBROOK RD                                                                          NOVI              MI   48375‐2853
STICH, CASSANDRA
STICH, KEVIN                  TICHENOR DZIUBA & COLETTI        1100 SW 6TH AVE STE 1450                                     PORTLAND         OR    97204‐1013
STICH, ROBERT M               688 TOWN HILL RD                                                                              NEW HARTFORD     CT    06057‐2623
STICHA BRIANNE                STICHA, BRIANNE                  5901 CEDAR LAKE RD S                                         MINNEAPOLIS      MN    55416‐1488
STICHA, BRIANNE               HAUER FARGIONE LOVE LANDY &      5901 CEDAR LAKE RD S                                         MINNEAPOLIS      MN    55416‐1488
                              MCELLISTREM PA
STICHA, RICHARD D             2333 GLACIER WAY                                                                              HASTINGS         MN    55033‐3757
STICHA, RICHARD D.            2333 GLACIER WAY                                                                              HASTINGS         MN    55033‐3757
STICHEL DAWN                  STICHEL, DAWN                    70 STEMMENS RUN RD                                           BALTIMORE        MD    21221‐3630
STICHEL, DAWN                 70 STEMMERS RUN RD                                                                            BALTIMORE        MD    21221‐3630
STICHER, CLARA PEARL          1374 CLEM LOWELL RD                                                                           CARROLLTON       GA    30116‐9287
STICHER, CLARA PEARL          1374 CLEM‐LOWELL ROAD                                                                         CARROLLTON       GA    30116‐9287
STICHLER MARK (417996)        STRAUSS MARK G                   360 LEXINGTON AVE FL 20                                      NEW YORK         NY    10017‐6530
STICHLER, MARK                STRAUSS MARK G                   360 LEXINGTON AVE FL 20                                      NEW YORK         NY    10017‐6530
STICHLER, SHARON M            1217 PAINTED TURTLE CT                                                                        ANDERSON         IN    46013‐1205
STICHT, BERNICE               188 ZURBRICK RD                                                                               DEPEW            NY    14043‐4313
STICHT, BERNICE               188 ZURBRICK ROAD                                                                             DEPEW            NY    14043‐4313
STICHT, MICHAEL E             11 COLONIAL AVE                                                                               LANCASTER        NY    14086‐2508
STICHTER, DOROTHY E           1225 HAVENDALE BLVD NW APT 329                                                                WINTER HAVEN     FL    33881
STICHTER, ROY H               56 DAISY CT                                                                                   TIPP CITY        OH    45371‐2962
STICHTER, VIRGINIA E          3762 EAST SUDBURY COURT                                                                       BELLBROOK        OH    45305‐1883
STICHTING PENSIOENFONDS ABP   BERNSTEIN LITOWITZ BERGER &      1285 AVENUE OF THE AMERICAS                                  NEW YORK         NY    10019‐6028
                              GROSSMANN
STICHWEH, ELGAR G             C/O JOHN MICHAEL STICHWEH        7835 SEBRING DRIVE                                           DAYTON           OH    45424‐5424
STICHWEH, ELGAR G             7835 SEBRING DR                  C/O JOHN MICHAEL STICHWEH                                    DAYTON           OH    45424‐2231
STICKEL JR., GEORGE H         8220 VINTON AVE NW                                                                            SPARTA           MI    49345‐9396
STICKEL, DELORES M            4273 WEBB RD                                                                                  RAVENNA          OH    44266‐9791
STICKEL, DENNIS M             6624 YARBOROUGH DR                                                                            SHELBY TWP       MI    48316‐3473
STICKEL, EILEEN L             980 WILMINGTON AVE APT 1103                                                                   DAYTON           OH    45420‐1626
STICKEL, EVE                  5970 GIBSON RD                                                                                CANFIELD         OH    44406‐9605
STICKEL, EVE E                5970 GIBSON RD                                                                                CANFIELD         OH    44406‐9605
STICKEL, FREDERICK D          7026 DOMINION LN                                                                              LAKEWOOD RANCH   FL    34202‐5030
STICKEL, JANICE K             23868 200TH AVE                                                                               TUSTIN           MI    49688‐8111
STICKEL, KARL A               23868 200TH AVE                                                                               TUSTIN           MI    49688‐8111
STICKEL, LARRY
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Name                            Address1                          Address2                      Address3         Address4         City              State Zip
STICKEL, PATSY C                9 ZACKRY TRCE                                                                                     FLINTSTONE         GA 30725‐2724
STICKEL, RICHARD L              1442 CHURCH DR                                                                                    MIAMISBURG         OH 45342‐3520
STICKEL, RUSSELL H              3122 REGAL DARNER DR                                                                              KISSIMMEE          FL 34744
STICKEL, WILLIAM R              729 KENDALL LN                                                                                    BOULDER CITY       NV 89005‐1111
STICKELS, AURORA B              116 MAINSAIL CT                                                                                   PORT HUENEME       CA 93041‐3371
STICKELS, DENNIS L              4339 WANAMAKER DR                                                                                 INDIANAPOLIS       IN 46239‐1635
STICKERT, BETTY J               1120 N. EL MIRAGE RD. #32                                                                         EL MIRAGE          AZ 85335‐3104
STICKLE, EMILY P                1 FORDYCE MANOR DR                                                                                SAINT LOUIS        MO 63131‐3118
STICKLE, GEORGE E               3950 CRUM RD                                                                                      YOUNGSTOWN         OH 44515‐1415
STICKLE, PATRICK T              6162 HERBERT RD                                                                                   CANFIELD           OH 44406‐9779
STICKLE, WILLIAM B              116 GARWOOD RD                                                                                    TRUMBULL           CT 06611‐2220
STICKLE, WILLIAM J              408 LASALLE ST                                                                                    BAY CITY           MI 48706‐3948
STICKLEN, RUTH                  6119 BROOKSHIRE LANE                                                                              FRANKLIN           OH 45005‐4301
STICKLER PATTI                  PO BOX 7063                                                                                       LOVELAND           CO 80537‐0063
STICKLER'S AUTOMOTIVE SERVICE   250 N 121ST ST                                                                                    WAUWATOSA          WI 53226‐3804
STICKLER, BARBARA A             714 N 13TH ST                                                                                     ELWOOD             IN 46036‐1212
STICKLER, DAVID L               13891 PIERCE RD                                                                                   BYRON              MI 48418‐8876
STICKLER, DONALD J              555 CROMER RD                                                                                     SALISBURY          NC 28146‐7161
STICKLER, MARY M                89 CRANBERRY BEACH BLVD                                                                           WHITE LAKE         MI 48386‐1915
STICKLER, RACHAEL
STICKLER, RICHARD O             PO BOX 132                                                                                        VERNON            MI   48476‐0132
STICKLES, CAROLYN A             PO BOX 320423                                                                                     COCOA BEACH       FL   32932‐0423
STICKLES, GEORGE S              7192 CRONK HWY                                                                                    BELLEVUE          MI   49021‐9498
STICKLES, LYNN                  1424 W PRICE RD STE 335                                                                           BROWNSVILLE       TX   78520
STICKLES, ROYAL A               766 S IONIA RD                                                                                    VERMONTVILLE      MI   49096‐9521
STICKLES, RUTH A                239 S WARMAN AVE                                                                                  INDIANAPOLIS      IN   46222‐4044
STICKLEY EUGENE (494241)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA   23510
                                                                  STREET, SUITE 600
STICKLEY JAMES T (429880)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA 23510
                                                                  STREET, SUITE 600
STICKLEY, DALE W                553 EAGLE DR                                                                                      WINCHESTER        VA   22601‐5101
STICKLEY, DANA W                1139 SNEAD DR                                                                                     TROY              MI   48085‐3380
STICKLEY, DANA W                18615 GILL RD                                                                                     LIVONIA           MI   48152‐3060
STICKLEY, EUGENE                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA   23510‐2212
                                                                  STREET, SUITE 600
STICKLEY, GERALD A              8711 SANDYCREST DR                                                                                WHITE LAKE        MI   48386‐2459
STICKLEY, HAROLD J              64 E MARYKNOLL RD                                                                                 ROCHESTER HILLS   MI   48309‐1952
STICKLEY, HARRY E               RR 1 BOX 1782                                                                                     HERMITAGE         MO   65668
STICKLEY, HARRY E               ROUTE 1 BOX 1782                                                                                  HERMITAGE         MO   65668
STICKLEY, JAMES T               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA   23510‐2212
                                                                  STREET, SUITE 600
STICKLEY, JOHN C                1459 PORCH ROCK RD                                                                                PIKEVILLE         TN   37367‐8405
STICKLEY, KEITH W               724 OAKBROOK RIDGE                                                                                ROCHESTER HILLS   MI   48309
STICKLEY, KEITH W               724 OAK BROOK RIDGE DR                                                                            ROCHESTER HILLS   MI   48307‐1046
STICKLEY, WALTER R              796 TIGUES CREEK RD                                                                               DAYTON            TN   37321‐7444
STICKNEY AUTO & TRUCK           6827 PERSHING RD                                                                                  STICKNEY          IL   60402‐3960
STICKNEY DENNIS W               STICKNEY, DENNIS W
STICKNEY JR, CHARLES E          9 DONALD CIR                                                                                      ANDOVER           MA   01810‐2406
STICKNEY SR, DENNIS W           9220 APPLE RIDGE DR                                                                               CLARKSVILLE       MI   48815‐9517
STICKNEY TYLER ADMINISTRATIVE   GROUP STAG C\O A MAROVITZ         SCHIFF HARDIN & WAITE         7300 SEARS TWR                    CHICAGO           IL   60606
STICKNEY, BEVERLY               1520 CEDARWOOD DR APT 108                                                                         FLUSHING          MI   48433‐1856
STICKNEY, CHARLES R             3863 LOTUS DR                                                                                     WATERFORD         MI   48329‐1226
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Name                      Address1                         Address2          Address3         Address4         City                State Zip
STICKNEY, CRISTINA        2885 HERITAGE DR APT G                                                               FORT GRATIOT         MI 48059
STICKNEY, DEBRA           3880 SEGWUN AVE SE                                                                   LOWELL               MI 49331‐9495
STICKNEY, DENNIS J        1689 LEAH DR                                                                         N TONAWANDA          NY 14120‐3019
STICKNEY, GEORGE R        96 16TH AVE                                                                          N TONAWANDA          NY 14120‐3222
STICKNEY, GREGORY L       7181 SE171 BROOKHAVEN PLACE                                                          THE VILLAGES         FL 32162
STICKNEY, JAMES G         1367 COLE ST                                                                         BIRMINGHAM           MI 48009‐7048
STICKNEY, KATHLEEN E      1618 JONES BLVD                                                                      MURFREESBORO         TN 37129‐2058
STICKNEY, LEE A           1385 JOAN DR                                                                         LAKE ORION           MI 48362‐1863
STICKNEY, LINDA J         8267 HIDDEN CREEK CT                                                                 FLUSHING             MI 48433
STICKNEY, MARY L          1367 COLE                                                                            BIRMINGHAM           MI 48009‐7048
STICKNEY, MARYALYCE       1637 INDIANA AVE                                                                     FLINT                MI 48506‐3521
STICKNEY, PETER J         14210 TALBOT ST                                                                      OAK PARK             MI 48237‐1183
STICKNEY, PETER J.        1462 MARYLAND CLUB DR                                                                ROYAL OAK            MI 40067‐3300
STICKNEY, RICHARD E       5985 E EXCHANGE RD                                                                   BANCROFT             MI 48414‐9417
STICKNEY, RICHARD ELWIN   5985 E EXCHANGE RD                                                                   BANCROFT             MI 48414‐9417
STICKNEY, ROBERT M        4920 RIDGE ST                                                                        DALZELL              SC 29040‐8851
STICKNEY, RONALD L        7680 REGENCY LN                                                                      STANWOOD             MI 49346‐9499
STICKNEY, SCOTT L         6020 ENTERPRISE RD # Y                                                               FRUITLAND            WA 99129‐9708
STICKNEY, SCOTT L         PO BOX 122                                                                           DAVENPORT            WA 99122‐0122
STICKNEY, SHIRLEY E       414 CRUMP RD                                                                         EXTON                PA 19341‐1519
STICKNEY, WILLIAM M       13300 S M 106                                                                        STOCKBRIDGE          MI 49285
STICKRADT, PAUL R         1213 VINE ST                                                                         LAPEL                IN 46051‐9648
STICKROD, AMY R           729 NURSERY RD                                                                       ANDERSON             IN 46012‐3512
STID, FRANK E             3949 CIRCLE DRIVE                                                                    MASON                MI 48854‐9533
STID, ROBERT L            728 DART RD                                                                          MASON                MI 48854‐9327
STID, STEVEN J            91 LINDEN BLVD                                                                       MASON                MI 48854‐1043
STID, WESLEY A            895 LAMB RD                                                                          MASON                MI 48854‐9445
STIDAM, EVERETT           PO BOX 710                                                                           BEDFORD              IN 47421‐0710
STIDAM, HELEN L           4171 LEESVILLE RD                                                                    BEDFORD              IN 47421‐8997
STIDAM, HOWARD E          6860 N CAVE RIVER VALLEY RD                                                          CAMPBELLSBURG        IN 47108‐6177
STIDAM, JEAN              23 E JEFFERSON AVE                                                                   SHELBY               OH 44875‐1609
STIDARD JR, CHARLES E     6227 JAMESTOWN DR                                                                    PARMA                OH 44134‐4037
STIDARD, VELMA K          6227 JAMESTOWN DR                                                                    PARMA                OH 44134‐4037
STIDD, BEN A              4426 JOHN THOMAS RD                                                                  RAVENNA              OH 44266‐9274
STIDD, ROBERT C           2525 JOHNSON DR                                                                      MESQUITE             TX 75181‐4621
STIDD, STANLEY R          10174 DEER RUN RD                                                                    POLAND               IN 47868‐7470
STIDD, STANLEY RAY        10174 DEER RUN RD                                                                    POLAND               IN 47868‐7470
STIDEM, IVEY J            9 BARRACUDA PL                                                                       PONTE VEDRA BEACH    FL 32082
STIDEM, IVEY J            9 BARRACUDA PLACE                                                                    PONTE VEDRA BEACH    FL 32082
STIDEM, LAWRENCE R        26233 N CAROL ST                                                                     WARRENTON            MO 63383‐7156
STIDHAM BRADLEY           PO BOX 1869                                                                          SANDUSKY             OH 44871‐1869
STIDHAM JR, LINZIE        491 CLERY DR.                                                                        FAIRBORN             OH 45324‐4456
STIDHAM JR, LINZIE        491 CLEARY DR                                                                        FAIRBORN             OH 45324‐4456
STIDHAM JULIE             534 PETER PL                                                                         SIMI VALLEY          CA 93065
STIDHAM KENNITH           STIDHAM, KENNITH                 152 FEDERAL DR                                      CYNTHIANA            KY 41031‐1420
STIDHAM, ANDREW A         7603 TORTUGA DR                                                                      DAYTON               OH 45414‐1749
STIDHAM, BALLARD          1896 ANDOVER ST N.W.                                                                 PALM BAY             FL 32907‐9490
STIDHAM, BRADLEY L        PO BOX 1869                                                                          SANDUSKY             OH 44871‐1869
STIDHAM, CAROL J.         304 E MAIN ST                                                                        MORENCI              MI 49256‐1324
STIDHAM, CLYDE            310 DONOVAN ST                                                                       SOUTH LYON           MI 48178‐2047
STIDHAM, EMMA P           62 CLOVER ST                                                                         DAYTON               OH 45410‐1420
STIDHAM, EVA              341 E DAYTON YELLOW SPRINGS RD                                                       FAIRBORN             OH 45324‐3907
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Name                       Address1                          Address2                  Address3   Address4         City            State Zip
STIDHAM, GARNIE S          1234 IMPERIAL DR                                                                        COLUMBIA         TN 38401‐7204
STIDHAM, GEORGE R          7253 N US 127                                                                           HUSTONVILLE      KY 40437‐9016
STIDHAM, GEORGE R          32 LAUREL LN                      MAPLE SQ. TRAILER COURT                               NEWARK           DE 19713‐1008
STIDHAM, GLENN M           154 NORCROSS RD                                                                         CROSSVILLE       TN 38558‐8524
STIDHAM, HAROLD L          10633 MONROE BLVD                                                                       TAYLOR           MI 48180‐3669
STIDHAM, HASKILL M         341 E DAYTON YELLOW SPRINGS RD                                                          FAIRBORN         OH 45324‐3907
STIDHAM, J W               716 CENTRAL WAY                                                                         ANDERSON         IN 46011‐1808
STIDHAM, JAMES             136 CEDAR ROCK TRCE                                                                     ATHENS           GA 30605
STIDHAM, JEFFREY E         20 FOX PATH DR                                                                          NEWARK           DE 19711‐2309
STIDHAM, JEFFREY ERIC      20 FOX PATH DR                                                                          NEWARK           DE 19711‐2309
STIDHAM, JEWELL C          1350 ASH CT                                                                             MARTINSVILLE     IN 46151‐6386
STIDHAM, JEWELL C          1350 ASH CRT                                                                            MARTINSVILLE     IN 46151
STIDHAM, JIM               888 TR 53                                                                               WEST SALEM       OH 44287
STIDHAM, JIM D             20535 S RIDGEVIEW RD                                                                    SPRING HILL      KS 66083‐8781
STIDHAM, JOANNE            1164 E 58TH ST                                                                          CLEVELAND        OH 44103‐1402
STIDHAM, JOANNE            1164 E 58 ST                                                                            CLEVELAND        OH 44103‐1402
STIDHAM, JODY L            40 BRIARWOOD PL                                                                         GROSSE POINTE    MI 48236‐3773
STIDHAM, JODY LYNN         40 BRIARWOOD PL                                                                         GROSSE POINTE    MI 48236‐3773
STIDHAM, JR.,LAWRENCE      858 ALVERNO AVE                                                                         DAYTON           OH 45410‐3102
STIDHAM, KENNETH R         1828 COUNT HWY 35                                                                       HAMILTON         AL 35570
STIDHAM, KENNITH           152 FEDERAL DR                                                                          CYNTHIANA        KY 41031‐1420
STIDHAM, LARRY C           2655 SPRINGMONT AVE                                                                     DAYTON           OH 45420‐3039
STIDHAM, LIZZIE            8776 SHADYCREEK DR                                                                      CENTERVILLE      OH 45458‐3337
STIDHAM, MARION C          1819 COUNTRY CLUB COVE DR                                                               BAYTOWN          TX 77521‐1988
STIDHAM, MARION G          2390 MELVIN AVE                                                                         ROCHESTER HLS    MI 48307‐4847
STIDHAM, MARY C            510 RUBYTHROAT LN                                                                       CLAYTON          OH 45315‐8743
STIDHAM, MICHAEL L         1051 CANTERBURY DR                                                                      PONTIAC          MI 48341‐2340
STIDHAM, RICHARD L         7650 RAINVIEW CT                                                                        DAYTON           OH 45424‐2423
STIDHAM, ROBERT L          22102 KOTHS ST                                                                          TAYLOR           MI 48180‐3684
STIDHAM, RUSSELL A         4314 SARAH DR                                                                           ENGLEWOOD        OH 45322‐2563
STIDHAM, SHARRON R         1828 COUNTY HIGHWAY 35                                                                  HAMILTON         AL 35570‐7600
STIDHAM, TED M             306 MAGNOLIA RD                                                                         HURON            OH 44839‐1340
STIDHAM, VERNELL V         6520 MONMOUTH MEWS                                                                      MONTGOMERY       AL 36117‐3464
STIDHAM, WILLARD S         1281 SW CINDEE ST                                                                       ARCADIA          FL 34266‐8123
STIEB, CHARLES R           602 WOODLAND ESTATES AVE LOT 43                                                         RUSKIN           FL 33570‐4550
STIEB, RICHARD E           5546 MALDEN AVE                                                                         TOLEDO           OH 43623‐1627
STIEBELING, JANICE         10021 MULDOON RD                                                                        FORT WAYNE       IN 46819‐9780
STIEBELING, PAUL E         10021 MULDOON RD                                                                        FORT WAYNE       IN 46819‐9780
STIEBER, BRITNEY R         11475 CEDAR LN                                                                          PLYMOUTH         MI 48170‐4535
STIEBER, CLARENCE P        16838 COUNTRY RIDGE LN                                                                  MACOMB           MI 48044‐5209
STIEBER, JR,ALOYS J        8858 GARDEN LN                                                                          GREENDALE        WI 53129‐1501
STIEBER, OTTO W            19172 NORBORNE                                                                          REDFORD          MI 48240‐1411
STIEBER, ROBERT S          276 S OVAL DR                                                                           CHARDON          OH 44024‐1462
STIEBIG, DAVID J           3781 HIGGINS RD                                                                         VASSAR           MI 48768‐9739
STIEDL, DAVID I            68 CUTLASS RD                                                                           KINNELON         NJ 07405‐2922
STIEF EQUIPMENT INC        541 HOLLANDER RD                                                                        NEW HOLLAND      PA 17557‐9304
STIEF ROBERT SR (666148)   GOLDENBERG, MILLER, HELLER &      PO BOX 959                                            EDWARDSVILLE      IL 62025‐0959
                           ANTOGNOLI
STIEF, BERNARD F           226 COLONEL THOMAS HEYWARD RD                                                           BLUFFTON        SC 29909‐4462
STIEF, GERALD J            1255 E WALNUT ST                                                                        GALION          OH 44833‐2938
STIEF, ROBERT              GOLDENBERG, MILLER, HELLER &      PO BOX 959                                            EDWARDSVILLE    IL 62025‐0959
                           ANTOGNOLI
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Name                          Address1                             Address2                   Address3   Address4            City               State Zip
STIEF, ROBERT, SR,            C/O GOLDENBERG HELLER ANTOGNIOLI &   2227 S STATE ROUTE 157                                    EDWARDSVILLE         IL 62025
                              ROWLAND PC
STIEFEL JR, CARL              11162 SEYMOUR RD                                                                               GAINES             MI   48436‐9757
STIEFEL, CLAYTON L            40153 RADCLIFF DR                                                                              STERLING HTS       MI   48313‐4042
STIEFEL, FRED M               26574 DRIFTWOOD DRIVE                                                                          MILLSBORO          DE   19966‐5820
STIEFEL, JEREMIAH J           7779 E MOUNT HOPE HWY                                                                          GRAND LEDGE        MI   48837‐9400
STIEFEL, LYLE O               4637 WALDEN DR                                                                                 TROY               MI   48098‐4637
STIEFEL, RALPH E              13729 WILLOWDELL RD                                                                            YORKSHIRE          OH   45388
STIEFEL, WILLIAM R            9723 WOODSONG LN                                                                               INDIANAPOLIS       IN   46229‐4503
STIEFF, CAROLYN               2277 OYSTER BAY LN UNIT 1608                                                                   GULF SHORES        AL   36542‐4008
STIEFF, JAMES F               2277 OYSTER BAY LN UNIT 1608                                                                   GULF SHORES        AL   36542‐4008
STIEFF, KENNETH C             2128 S CRANBROOK AVE                                                                           SAINT AUGUSTINE    FL   32092‐3013
STIEFF, KENNETH C.            148 N ATHERLEY RD                                                                              ST AUGUSTINE       FL   32092‐3067
STIEFFERMANN, KATHERINE M     7806 RAYTOWN RD                                                                                RAYTOWN            MO   64138‐2101
STIEFLER, DAN D               S3660 FULLER AVE                                                                               BLASDELL           NY   14219
STIEFVATER, THOMAS J          1679 CUMBERLAND AVE                                                                            ARKDALE            WI   54613
STIEG, ISABEL H               4035 PRESCOTT AVE                                                                              LYONS              IL   60534‐1330
STIEGELMEYER, EDWARD J        1019 GRIDER DR                                                                                 GALLATIN           TN   37066‐8458
STIEGEMEIER, LEONARD W        9805 WEST 106TH STREET                                                                         OVERLAND PARK      KS   66212‐5556
STIEGEMEYER, DOROTHY K        APT 418                              3850 SCENIC RIDGE                                         TRAVERSE CITY      MI   49684‐9788
STIEGLER MARY LEE             C/O CB RICHARD ELLIS                 111 HUNTINGTON AVE FL 12                                  BOSTON             MA   02199‐7678
STIEGLER RICHARD L (455104)   WEITZ & LUXENBERG P.C.               180 MAIDEN LANE                                           NEW YORK           NY   10038
STIEGLER, ALICE F             281 EDGEWOOD BLVD                                                                              LAKE WALES         FL   33898‐4903
STIEGLER, GEORGE F            152 BENJAMIN ST                                                                                ROMEO              MI   48065‐5102
STIEGLER, RICHARD             WEITZ & LUXENBERG P.C.               180 MAIDEN LANE                                           NEW YORK           NY   10038
STIEGLITZ GARY (631296)       COON BRENT & ASSOCIATES              2010 S BIG BEND BLVD                                      SAINT LOUIS        MO   63117‐2404
STIEGLITZ, GARY               COON BRENT & ASSOCIATES              2010 S BIG BEND BLVD                                      SAINT LOUIS        MO   63117‐2404
STIEGLITZ, THEODORE H         36 WINDHAM CT                                                                                  FLEMINGTON         NJ   08822‐3506
STIEGLITZ, THOMAS             5535 SOMERSET DR                                                                               SANTA BARBARA      CA   93111‐1639
STIEHL, AGNES M               1076 AQUA LN                                                                                   MOORE HAVEN        FL   33471‐5600
STIEHL, DONNA J               2088 LAKEWOOD CIR                                                                              GRAYSON            GA   30017‐1267
STIEHL, JOHN J                1076 AQUA LN                                                                                   MOORE HAVEN        FL   33471‐5600
STIEHL, ROBERT J              1036 BLUEBELL LN                                                                               DAVISON            MI   48423‐7906
STIEHL, SHARON L              5550 WOODFIELD CT                                                                              GRAND BLANC        MI   48439‐9402
STIEHLER, DOROTHY             27 ALCAZAR ST                                                                                  ROCHESTER          NY   14621‐1404
STIEHR, JOSEPH A              3731 THENHAUS RD                                                                               ROSEBUD            MO   63091‐1808
STIEL JR, ANTHONY F           638 FAIRLEDGE ST                                                                               LAKE ORION         MI   48362‐2608
STIEL JR, ANTHONY FRANCIS     638 FAIRLEDGE ST                                                                               LAKE ORION         MI   48362‐2608
STIELER, CARL F               2051 S PARKER ST                                                                               MARINE CITY        MI   48039‐2343
STIELER, CARL J               1885 ROSEDALE ST                                                                               WEST BLOOMFIELD    MI   48324‐1281
STIELER, DAVID C              297 FRANKLIN WRIGHT BLVD                                                                       LAKE ORION         MI   48362‐1584
STIELER, DAVID E              607 E CASTLEBURY CIR                                                                           SALINE             MI   48176‐1484
STIELOW, MARK A               21891 HAMPTON ST                                                                               BEVERLY HILLS      MI   48025‐3662
STIEM, IDA L                  504‐3915 SOUTHWINDS DR                                                     WINDSOR ON N9G2S8
                                                                                                         CANADA
STIENBARGER, E MAXINE         27880 MICHIGAN AVE                                                                             MENDON             MI   49072‐9718
STIENBARGER, STANLEY C        52490 RIDDLE ROAD BOX 63                                                                       MENDON             MI   49072
STIENE N, SADIE E             1355 OHMER AVENUE                    APARTMENT 7                                               DAYTON             OH   45410‐5410
STIENE, ROBERT L              7913 HORNED LARK CIR                                                                           PORT SAINT LUCIE   FL   34952‐3194
STIENEKER, VANESSA A          11500 LISA LORI LN                                                                             SOUTH LYON         MI   48178‐8519
STIENKE, CRAIG R              85 CLOVERIDGE DR                                                                               TROY               MI   48084‐5410
STIENKE, REYNOLD L            27777 DEQUINDRE RD APT 905                                                                     MADISON HEIGHTS    MI   48071‐3465
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Name                                  Address1                         Address2                     Address3   Address4                  City               State Zip
STIENS, JAMES P                       3270 STATE ROUTE 132                                                                               CLARKSVILLE         OH 45113‐9682
STIENSTRA, DENNIS A                   1618 BRIGHTON AVE NE                                                                               WARREN              OH 44483‐3941
STIER CHARLES (421808)                ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST , THE                                        PHILADELPHIA        PA 19107
                                                                       WANAMAKER BUILDING
STIER JR, HERBERT E                   1516 WINTON AVE                                                                                    KALAMAZOO          MI   49001‐5118
STIER JR, KENNETH G                   816 CHANDLER DR                                                                                    LANDENBERG         PA   19350‐1344
STIER, BERND                          3842 LONG MEADOW LN                                                                                LAKE ORION         MI   48359‐1443
STIER, BERTRAM R                      4184 HI HILL DR                                                                                    LAPEER             MI   48446‐2864
STIER, CHARLES                        ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST, THE                                         PHILADELPHIA       PA   19107
                                                                       WANAMAKER BUILDING
STIER, CHRISTIAN R                    43046 STRAND DR                                                                                    STERLING HEIGHTS   MI   48313‐2752
STIER, DONNA M                        3431 EASTDALE DRIVE                                                                                FLINT              MI   48506
STIER, EMMA C                         5324 WOODWILL DR                                                                                   PRESCOTT           MI   48756‐9671
STIER, JAN H                          100 MORAY DR                                                                                       RALEIGH            NC   27613‐8117
STIER, JOHN L                         3785 MEADOWBROOK DR                                                                                TROY               MI   48084‐1709
STIER, KARIN M                        8010 S VERDEV DR                                                                                   OAK CREEK          WI   53154‐3040
STIER, LUTHER W                       R NEBRASKA 592                                                           SAO PAULO BRAZIL 04560‐
                                                                                                               012
STIER, M. ELIZABETH                   2949 CLEARWATER LN                                                                                 WAUKESHA           WI   53189‐6845
STIER, MARIA R                        46220 OAKLAWN ST                                                                                   MACOMB             MI   48042‐5341
STIER, MARIA R                        46220 OAKLAWN                                                                                      MACOMB             MI   48042‐5341
STIER, RICHARD E                      17415 BIRCH TREE LN                                                                                MACOMB             MI   48044‐1689
STIER, ROSEMARY                       17121 SOMERSET                                                                                     MACOMB             MI   48044‐3372
STIER, WILLI                          8010 S VERDEV DR                                                                                   OAK CREEK          WI   53154‐3040
STIERHEIM, SANDRA K                   6143 CANTON ROAD                                                                                   SAGINAW            MI   48603
STIERHEIM, SANDRA K                   6143 CANTON DR                                                                                     SAGINAW            MI   48603‐3494
STIERHOFF BROS MOVING & CARTAGE INC   2033 SUPERIOR ST                                                                                   SANDUSKY           OH   44870‐1825

STIERHOFF, BEVERLY A                  4415 HAYES AVE                                                                                     SANDUSKY           OH   44870‐7219
STIERHOFF, HELEN G                    9314 RAVENRIDGE RD                                                                                 BALTIMORE          MD   21234‐1457
STIERLE, MICHAEL A                    325 DEWEY LAKE BCH                                                                                 BROOKLYN           MI   49230‐9039
STIERLEY, DAVID W                     9909 W EATON HWY                                                                                   GRAND LEDGE        MI   48837‐9002
STIERLEY, TANGA JO                    4069 S PINE DELL DR                                                                                LANSING            MI   48911‐6128
STIERLEY, WILLIAM J                   4113 N PINE DELL DR                                                                                LANSING            MI   48911‐6125
STIERS BARBARA                        220 RIDGE HILL DR                                                                                  HIGHLAND HEIGHTS   KY   41076‐1633
STIERS, ANNA MAE                      27484 COUNTY ROAD #48                                                                              NAPPANEE           IN   46550
STIERS, DAVID W                       608 GEDDINGS DRIVE                                                                                 MYRTLE BEACH       SC   29588‐6029
STIERS, JAMES C                       338 PETIGRU CIR                                                                                    MC CORMICK         SC   29835‐3028
STIERS, MICHAEL E                     19 W ELIZABETH ST                                                                                  NEW CASTLE         PA   16105‐2855
STIERS, MICHAEL ELWIN                 19 W ELIZABETH ST                                                                                  NEW CASTLE         PA   16105‐2855
STIERWALT, JAMES R                    PO BOX 273                                                                                         CHESTERFIELD       IN   46017‐0273
STIERWALT, JOHNNY J                   7255 HANCOCK RIDGE RD                                                                              MARTINSVILLE       IN   46151‐7006
STIERWALT, PAUL J                     860 MOSIER RD                                                                                      MARTINSVILLE       IN   46151‐9716
STIERWALT, ROBERT K                   5622 W 25TH ST                                                                                     SPEEDWAY           IN   46224‐3803
STIERWALT, WILLIAM C                  5108 HERSCHEL SPEARS CIR                                                                           BRENTWOOD          TN   37027‐5176
STIES, VIRGINIA G                     1713 BELLEVUE AVE APT C602                                                                         RICHMOND           VA   23227‐3948
STIESMEYER, CHARLES B                 4996 PARFET ST                                                                                     WHEAT RIDGE        CO   80033‐2144
STIEVE, FRANK W                       500 RISSMAN LN                                                                                     ORTONVILLE         MI   48462‐8469
STIEVE, INEZ S                        2475 LITCHFIELD DR.                                                                                WATERFORD          MI   48329‐3956
STIEVE, MICHAEL L                     5038 BERNEDA DR                                                                                    FLINT              MI   48506‐1502
STIEVE, MICHAEL LEO                   5038 BERNEDA DR                                                                                    FLINT              MI   48506‐1502
STIEVE, PAMELA R                      3101 MERLE DR                                                                                      COLUMBIAVILLE      MI   48421‐8913
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Name                                 Address1                        Address2                Address3   Address4         City              State Zip
STIEVE, PAUL E                       940 DONNALEE DR                                                                     MONROE             MI 48162‐5118
STIEVE, PAUL EDWARD                  940 DONNALEE DR                                                                     MONROE             MI 48162‐5118
STIEVE, SERENA D                     132 NAWAKWA RD                                                                      ROCHESTER HILLS    MI 48307‐5026
STIEVE, SERENA D                     132 NAWAKA                                                                          ROCHESTER          MI 48307‐5026
STIEVENART, JOSEPH V                 HC 1 BOX 1275                                                                       WAPPAPELLO         MO 63966‐9734
STIEWE, KATHLEEN S                   411 PRAIRIE HILL WAY                                                                WATERFORD          WI 53185‐4264
STIFEL NICOLAUS AS CUST FBO RICHARD  RICHARD SAVERINSKE              18239 N 129TH DR                                    SUN CITY WEST      AZ 85375‐5063
SAVERINSKE
STIFEL NICOLAUS CUST FOR             LEE EVAN TABAS IRA              ONE DOVE AVE                                        HAVERFORD         PA 19041
STIFEL NICOLAUS CUST FOR STEPHEN     1141 N SUNNYSLOPE DR            #201                                                RACINE            WI 53406‐6340
STROPES IRA
STIFEL NICOLAUS CUSTODIAN FOR        DORTHY C SILVERS IRA            160 BRIDGEVIEW ROAD                                 CAMDENTON         MO    65020‐3992
STIFEL NICOLAUS CUSTODIAN FOR        JOHN M WHITMORE SAR SEP IRA     5005 SWEETWATER PLACE                               FORT WAYNE        IN    46835‐8860
STIFEL NICOLAUS CUSTODIAN FOR        LEE EVAN TABAS SEP IRA          ONE DOVE LANE                                       HAVERFORD         PA    19041
STIFEL NICOLAUS CUSTODIAN FOR        KENNETH J QUIRK IRA             16 SYLVAN HILLS RD                                  LINN CREEK        MO    65052‐2585
STIFEL NICOLAUS CUSTODIAN FOR        RENEE G SMITH                   40 STONER AVE           APT 1I                      GREAT NECK        NY    11021‐2118
STIFEL NICOLAUS CUSTODIAN FOR        GEORGE ROEMER IRA ROLLOVER      4851 N 103RD ST                                     MILWAUKEE         WI    53225‐4001
STIFEL NICOLAUS CUSTODIAN FOR        7528 YELLOW RIVER ROAD                                                              FORT WAYNE        IN    46818‐9774
GORDON H KOONTZ IRA
STIFEL NICOLAUS CUSTODIAN FOR        4914 GWEN CIRCLE                                                                    ZIONSVILLE        PA 18092‐2015
RANDALL C ALMONY IRA
STIFEL NICOLAUS CUSTODIAN FOR WALTER 1290 AMBERLEY WOODS DRIVE                                                           HELENA             AL   35080‐3808
CARRELL IRA R/O
STIFEL NICOLAUS IRA                  PAUL V MEIERHENRY               2336 SW MAYFAIR PL                                  TOPEKA            KS    66611
STIFF, BERTHA M                      3524 HORTON                                                                         JACKSON           MS    39213‐6331
STIFF, BERTHA M                      3524 HORTON ST                                                                      JACKSON           MS    39213‐6331
STIFF, BETTY                         401 W BROAD                                                                         LINDEN            MI    48451‐8768
STIFF, CHRISTINE L                   PO BOX 9                                                                            LINDEN            MI    48451‐0009
STIFF, DANA K                        3809 OLD SCOTTSVILLE ROAD                                                           ALVATON           KY    42122‐9712
STIFF, DORIS H                       444 CEMETERY RD                                                                     OTISVILLE         MI    48463‐9628
STIFF, DOROTHY M                     AMERICAN HOUSE 12640 HOLLY RD   APT C 207                                           GRAND BLANC       MI    48439‐1859
STIFF, DOUGLAS A                     6298 PRINCE CT                                                                      FLUSHING          MI    48433‐3521
STIFF, DOUGLAS D                     117 HARRISON BLVD                                                                   ROSCOMMON         MI    48653‐8133
STIFF, EDWARD                        353 VANIMAN ST                                                                      AKRON             OH    44305‐3436
STIFF, EVELYN J                      814 BEACH BUGGY LN                                                                  LINDEN            MI    48451‐9693
STIFF, GERALD                        444 CEMETERY RD                                                                     OTISVILLE         MI    48463‐9628
STIFF, GERALD G                      444 CEMETERY ROAD                                                                   OTISVILLE         MI    48463‐9628
STIFF, GREGORY T                     6818 SALINE DR                                                                      WATERFORD         MI    48329‐1255
STIFF, J C                           3016 ELLSWORTH RD                                                                   PERRY             MI    48872‐9512
STIFF, JACQUELINE                    6352 LAURENTIAN CT                                                                  FLINT             MI    48532‐2039
STIFF, JOHN W                        7149 CASTLE MANOR DR                                                                INDIANAPOLIS      IN    46214‐3630
STIFF, KEITH M                       PO BOX 155                                                                          HIGHLAND          MI    48357‐0155
STIFF, LINDA J                       PO BOX 665                                                                          MOUNT MORRIS      MI    48458‐0665
STIFF, MARGUERITE BERT               10500 BEARD RD                                                                      BYRON             MI    48418‐8998
STIFF, MARIANNE M                    12512 FRANCIS RD                                                                    COLUMBIAVILLE     MI    48421‐8806
STIFF, MARIANNE MARIE                12512 FRANCIS RD                                                                    COLUMBIAVILLE     MI    48421‐8806
STIFF, NICCI J                       3712 IVANHOE AVE                                                                    FLINT             MI    48506‐4214
STIFF, NICCI JOHN                    3712 IVANHOE AVE                                                                    FLINT             MI    48506‐4214
STIFF, PAMELA M                      5307 MAPLETREE DR                                                                   FLINT             MI    48532‐3333
STIFF, PATRICK A                     3809 OLD SCOTTSVILLE RD                                                             ALVATON           KY    42122‐9712
STIFF, RICHARD                       1216 W ROWLAND ST                                                                   FLINT             MI    48507‐4015
STIFF, RICHARD W                     12512 FRANCIS RD                                                                    COLUMBIAVILLE     MI    48421‐8806
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Name                               Address1                             Address2                         Address3       Address4               City              State Zip
STIFF, RUTH                        6068 NORTH GAIL RD                                                                                          DAVISON            MI 48423
STIFF, RUTH                        6068 N GALE RD                                                                                              DAVISON            MI 48423‐8943
STIFF, SAMUEL G                    201 ELM ST                                                                                                  GAINES             MI 48436‐8701
STIFF, STEPHEN M                   4384 MAYA LN                                                                                                SWARTZ CREEK       MI 48473‐1593
STIFF, WILLIAM                     PORTER & MALOUF PA                   4670 MCWILLIE DR                                                       JACKSON            MS 39206‐5621
STIFF, WILLIAM G                   14173 IROQUOIS WOODS DR                                                                                     FENTON             MI 48430‐1639
STIFFELMAN JEANNE                  340 GLAN TAI DR                                                                                             BALLWIN            MO 63011‐4076
STIFFLER LAWRENCE                  7015 TRAPPERS CT                                                                                            MANASSAS           VA 20111‐4378
STIFFLER, ANN‐MARIE                29 ILION ST                                                                                                 TONAWANDA          NY 14150‐5419
STIFFLER, CAROLYN H.               1185 TANGLEWOOD                                                                                             GREENWOOD          IN 46142‐5224
STIFFLER, CHARLES                  PO BOX 852                                                                                                  ANDERSON           IN 46015‐0852
STIFFLER, CHARLES L                PO BOX 852                                                                                                  ANDERSON           IN 46015‐0852
STIFFLER, CYNTHIS L                5633 STODDARD HAYES RD                                                                                      FARMDALE           OH 44417‐9603
STIFFLER, EILEEN                   5575 WAYLAND RD                                                                                             RAVENNA            OH 44266‐8557
STIFFLER, JACK A                   824 HEWITT DR #400‐316                                                                                      WOODWAY            TX 76712
STIFFLER, JIMMIE E                 2913 HANOVER DR                                                                                             ARLINGTON          TX 76014‐2427
STIFFLER, JOHN L                   5446 E GRAND RIVER AVE                                                                                      PORTLAND           MI 48875‐9644
STIFFLER, KENDALL L                PO BOX 114                                                                                                  EAGLE              MI 48822‐0114
STIFFLER, KOOKIE K.                2401 N WALNUT ST APT 15C                                                                                    MUNCIE             IN 47303‐1929
STIFFLER, MAXINE L                 8515 US HIGHWAY 41 N LOT 192                                                                                PALMETTO           FL 34221‐9640
STIFFLER, PATRICIA A               938 WEINLAND DR                                                                                             NEW CARLISLE       OH 45344‐2649
STIFFLER, PATTY P                  2618 NORTH RD SE                                                                                            WARREN             OH 44484‐3749
STIFFLER, ROBERT                   5575 WAYLAND RD                                                                                             RAVENNA            OH 44266‐8557
STIFFLER, ROBERT A                 9569 KEEFER HWY                                                                                             PORTLAND           MI 48875‐9712
STIFFLER, ROBERT D                 4890 EVERGREEN DR                                                                                           MONROE             MI 48161‐5422
STIFFLER, RONALD L                 1748 E STAUNTON RD                                                                                          TROY               OH 45373‐2043
STIFFLER, STEPHEN D                2433 BRAZILIA DR APT 75                                                                                     CLEARWATER         FL 33763‐3830
STIFFLER, TERRY J                  29 ILION ST                                                                                                 TONAWANDA          NY 14150‐5419
STIFFLER, TERRY JAMES              29 ILION ST                                                                                                 TONAWANDA          NY 14150‐5419
STIFFLER, THEODORE L               9967 N CLINTON TRL                                                                                          MULLIKEN           MI 48861‐9737
STIFT CHALMERS TEKNISKA HOGSKOLA   CHALMERSPLATSEN 4                                                                    GOTEBORG SE 422 58
                                                                                                                        SWEDEN
STIFT FRAUNHOFER CHALM CENTRUM     SVEN HULTINS GATA 9                                                                  GOTEBORG SE 412 58
                                                                                                                        SWEDEN
STIFTELSEN DET NORSKE VERITAS
STIFTELSEN DET NORSKE VERITAS      1400 RAVELLO DR                                                                                             KATY               TX   77449‐9164
STIFTELSEN DET NORSKE VERITAS      ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 201898                                                          HOUSTON            TX   77216‐1898
                                   AGENT
STIFTER MARCI                      3130 PARKLAND DR                                                                                            WEST BLOOMFIELD   MI 48322‐1823
STIFTER, LINDA S                   355 SUNSET DR                                                                                               BROOKFIELD        OH 44403‐9502
STIFTER, RICHARD M                 6343 CRANE ROAD                                                                                             YPSILANTI         MI 48197‐9029
STIFTUNG ACCION HUMANA             ALEXANDER VALENTIN‐ DALLMER
STIFTUNG ACCION HUMANA             ALEXANDER VELENTIN‐DALLMER           HERBERT‐WEICHMANN‐STR 86                        22085 HAMBURG
STIFTUNG DER FAMILIE AULENBACHER   C/O GERHARD DOHR                     IM BAND 16                                      56743 MENDIG GERMANY
STIFTUNG ELISABETH RHEINDORF       C/O VORSITZENDE RENATE MERSCH        IM HELLTGEN 4                    53773 HENNEF
STIFTUNG JUGENDHANDBALL IM TSV     C/O KAI VON THIENEN                  REIHERSTEIG 202G                                21244 BUCHHOLZ
BUCHHOLZ 08"                                                                                                            GERMANY
STIGALL PAUL                       STIGALL, PAUL                        400 SW LONGVIEW BLVD SUITE 280                                         LEES SUMMIT       MO 64081

STIGALL, CHAD A                    120 LEATHERWOOD CREEK ESTS                                                                                  BEDFORD           IN 47421‐9264
STIGALL, CHARLES E                 16190 MARK TWAIN ST                                                                                         DETROIT           MI 48235‐4061
STIGALL, DANNY R                   5601 N STATE ROAD 9                                                                                         ANDERSON          IN 46012‐9506
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Name                     Address1                       Address2                       Address3   Address4               City               State Zip
STIGALL, GENE F          5417 MARY SUE AVE                                                                               CLARKSTON           MI 48346‐3931
STIGALL, GEORGE E        4595 E US HIGHWAY 40                                                                            STRAUGHN            IN 47387
STIGALL, JAMES W         315 WILSON BLVD                                                                                 RICHMOND            MO 64085‐1351
STIGALL, JEFFREY L       1345 BEAL RD                                                                                    MANSFIELD           OH 44903‐9219
STIGALL, KIMBERLY R
STIGALL, MARY P          8603 E 85TH ST                                                                                  RAYTOWN            MO   64138‐3120
STIGALL, MARY P          8603 EAST 85TH STREET                                                                           RAYTOWN            MO   64138‐3120
STIGALL, MILDRED J       8160 STATE ROAD 446                                                                             NORMAN             IN   47264‐8658
STIGALL, MORRIS E        1033 W STATE ROAD 128                                                                           ALEXANDRIA         IN   46001‐8242
STIGALL, PAUL            KROHN & MOSS ‐ MO              400 SW LONGVIEW BLVD STE 280                                     LEES SUMMIT        MO   64081‐2157
STIGALL, RICHARD L       7267 E COUNTY ROAD 800 N                                                                        BAINBRIDGE         IN   46105‐9499
STIGALL, TOMMY N         8603 E 85TH ST                                                                                  RAYTOWN            MO   64138‐3120
STIGALL, WANDA L         # 307                          204030 PLAZA DRIVE                                               BEDFORD            IN   47421‐3560
STIGDON, CAROLYN P       1711 S GOYER RD                                                                                 KOKOMO             IN   46902‐2732
STIGDON, DANNY C         1711 S GOYER RD                                                                                 KOKOMO             IN   46902‐2732
STIGER, CHARLES J        1180 DUNKIRK AVE                                                                                MOUNT MORRIS       MI   48458‐2570
STIGER, CHARLES JAMES    1180 DUNKIRK AVE                                                                                MOUNT MORRIS       MI   48458‐2570
STIGER, RAYMOND P        4146 PLEASANT VALLEY LN                                                                         CANFIELD           OH   44406‐9308
STIGER, ROSE M.          8041 BIRCHWOOD DR                                                                               BIRCH RUN          MI   48415‐8525
STIGER, WILLIAM J        4898 WILDNER RD                                                                                 UNIONVILLE         MI   48767‐9441
STIGERS, NINA I          1240 CORPORATION LINE RD                                                                        MIDDLETOWN         IN   47356
STIGGER JR, CLAUDE E     4269 DABNY DR                                                                                   INDIANAPOLIS       IN   46254‐1945
STIGGER, BERTHA M        5359 WESTWOOD CT APT B213                                                                       CROWN POINT        IN   46307‐1262
STIGGER, CHARLES L       314 N HAMPTON ST                                                                                BAY CITY           MI   48708‐6768
STIGGER, JOHN            PO BOX 171                                                                                      STUTTGART          AR   72160‐0171
STIGGER, ROSCOE          2013 VIEWPOINTE WAY                                                                             COLUMBIA           TN   38401‐7759
STIGGER, ROWENA          314 N.TH HAMPTON                                                                                BAY CITY           MI   48707
STIGGERS, MARGARET W     65 SPRINGFIELD DR                                                                               COVINGTON          GA   30016
STIGILE, THOMAS R        PO BOX 185                                                                                      LIVONIA            NY   14487‐0185
STIGLEMAN, ANDREA K      2890 BULLARD RD                                                                                 HARTLAND           MI   48353‐3008
STIGLEMAN, RICHARD K     2890 BULLARD RD                                                                                 HARTLAND           MI   48353‐3008
STIGLEMAN, WENDELL       7216 NEW HOPE PASS                                                                              FAIRVIEW           TN   37062‐8353
STIGLER JR., CHARLES L   2503 TIGANI DR                                                                                  WILMINGTON         DE   19808‐2518
STIGLER, ADELINE M       3726 MAPLE AVE                                                                                  BROOKFIELD         IL   60513‐1537
STIGLER, BEATRICE        1318 NICHOL AVE                                                                                 ANDERSON           IN   46016‐3353
STIGLER, EDDIE L         PO BOX 246                                                                                      MUNCIE             IN   47308‐0246
STIGLER, JOHN L          7820 E 118TH TER                                                                                KANSAS CITY        MO   64134‐4051
STIGLER, KEITH B
STIGLER, WILLIE J        PO BOX 820572                                                                                   DALLAS             TX   75382‐0572
STIGLIANO, ANTHONY       5 JOCKEY LN                                                                                     NEW CITY           NY   10956‐6608
STIGLIANO, CAROLINE D    1078 BON AIR DR                                                                                 SHARON             PA   16146‐3514
STIGLIANO, EDWARD J      7530 4TH SECTION RD                                                                             BROCKPORT          NY   14420‐9606
STIGLICH, WILLIAM B      3109 W STANLEY RD                                                                               MOUNT MORRIS       MI   48458‐9338
STIGNEY, LAWRENCE L      5466 TOLTEC DR                                                                                  SANTA BARBARA      CA   93111‐1669
STIHL INCORPORATED       ATTN: TOM TREBI                536 VIKING DR                                                    VIRGINIA BEACH     VA   23452‐7316
STIHL INCORPORATED       TOM TREBI                      536 VIKING DR                                                    VIRGINIA BEACH     VA   23452‐7316
STIHOLT NORD A/S         N. CHRISTENSENSVEJ 5                                                     AALBORG 9200 DENMARK
STIJEPAN MATIJEVIC       2877 LAMPLIGHT LN                                                                               WILLOUGHBY HILLS   OH   44094‐9147
STIKA, DENISE M          184 LAWTON RD                                                                                   RIVERSIDE          IL   60546‐2357
STIKE, DREXEL L          PO BOX 573                                                                                      WEBBERVILLE        MI   48892‐0573
STIKELEATHER, FLOYD R    525 S IVA RD                                                                                    HEMLOCK            MI   48626‐9619
STIKEMAN ELLIOTT         1155 RENE‐LEVESQUE BLVD WEST   40TH FLOOR                                MONTREAL QC H3B 3V2
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Name                                Address1                            Address2                        Address3   Address4              City            State Zip
STIKEMAN ELLIOTT LLP                5300 COMMERCE COURT WEST            199 BAY STREET                             TORONTO CANADA ON M5L
                                                                                                                   1B9 CANADA
STIKLESTAD, JON A                   152 S LOCUST ST                                                                                      JANESVILLE       WI   53548‐3767
STIKNA ERIC                         STIKNA, ERIC                        1930 E MARLTON PIKE SUITE Q29                                    CHERRY HILL      NJ   08003
STIKOVICH, MICHAEL J                3417 EDGEWOOD CT                                                                                     DAVISON          MI   48423‐8423
STIKOVICH, STEPHANIE K              3417 EDGEWOOD CT                                                                                     DAVISON          MI   48423‐8423
STIL‐MOR AUTOMOTIVE                 3848 FOOTHILL BLVD                                                                                   LA CRESCENTA     CA   91214‐1618
STILABOWER RONALD G (408896)        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA   23510
                                                                        STREET, SUITE 600
STILABOWER, RONALD G                GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510‐2212
                                                                        STREET, SUITE 600
STILBER, DAVID R                    9059 OVERLAND TRL                                                                                    FLUSHING         MI 48433‐1204
STILE BERTONE SPA                   VIA ROMA 1                                                                     CAPRI, 10040 ITALY
STILES BRIAN                        2384 HOUGHTON HOLLOW DR                                                                              LANSING         MI 48911‐8419
STILES DONNIE                       1112 LAKEVIEW AVE                                                                                    RICHLANDS       NC 28574‐8234
STILES HOMER (ESTATE OF) (489257)   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD      OH 44067
                                                                        PROFESSIONAL BLDG
STILES III, GUS                     2057 N 5TH ST APT 5                                                                                  KANSAS CITY     KS    66101
STILES JR, VIRGIL E                 2801 LAMB RD                                                                                         MASON           MI    48854‐9316
STILES SR, VIRGIL E                 11387 E TOWNLINE LAKE RD                                                                             GLADWIN         MI    48624‐9520
STILES WILLIAM (448008)             BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD      OH    44067
                                                                        PROFESSIONAL BLDG
STILES, ADAM                        314 RIVERSIDE CT                                                                                     KENT            OH    44240‐2350
STILES, ALLEN J                     113 OGDEN PARMA TOWN LINE RD                                                                         SPENCERPORT     NY    14559‐1623
STILES, ANNE L                      5292 DIVISION AVE N                                                                                  COMSTOCK PARK   MI    49321‐9586
STILES, AUDREY                      1501 RIVERS EDGE DR                                                                                  VALLEY CITY     OH    44280‐9426
STILES, BETTY J                     1120 ANN STREET                                                                                      INDEPENDENCE    MO    64056‐2411
STILES, BETTY J                     1120 S ANN ST                                                                                        INDEPENDENCE    MO    64056‐2411
STILES, BRIAN W                     1413 SCOTT ST                                                                                        OTTAWA          IL    61350‐2417
STILES, CHARLES K                   4234 AMELIA OLIVE BRANCH RD                                                                          BATAVIA         OH    45103‐9728
STILES, CONNIE V                    105 SHADY OAK LN                                                                                     OVIEDO          FL    32765‐8375
STILES, CYNTHIA L                   6281 CHIPPEWA AVE                                                                                    SAUGATUCK       MI    49453‐9670
STILES, DALE R                      2155 CALLAWAY DR                                                                                     THE VILLAGES    FL    32162‐4388
STILES, DAVID W                     2960 CAMBERLY CIRCLE                                                                                 MELBOURNE       FL    32940‐6636
STILES, DENNIS E                    22531 LANGE ST                                                                                       ST CLAIR SHRS   MI    48080‐2872
STILES, DONALD A                    939 SAFFRON LN                                                                                       MILFORD         OH    45150‐5569
STILES, DONALD J                    334 SONESTA AVE                                                                                      ELYRIA          OH    44035‐8272
STILES, DOROTHY M                   334 SONESTA AVE                                                                                      ELYRIA          OH    44035‐8272
STILES, ELLA M                      2445 HANCOCK AVENUE                                                                                  DAYTON          OH    45406‐1730
STILES, ETHEL M                     9793 N LAKE POINT ROAD                                                                               OTTER LAKE      MI    48464‐9400
STILES, FAYE K                      232 HAWKINS FARM CIRCLE                                                                              BALL GROUND     GA    30107
STILES, FRANK E                     4525 ROBIN DR                                                                                        JEANNETTE       PA    15644
STILES, GARY R                      10 MILLTRACE RD                                                                                      BOARDMAN        OH    44511
STILES, GERALD L                    1546 KINGS BRIDGE RD                                                                                 GRAND BLANC     MI    48439‐8713
STILES, HARVEY D                    2305 E MAPLE AVE                                                                                     BURTON          MI    48529‐2153
STILES, IRENE                       7979 S DURAND RD                                                                                     DURAND          MI    48429‐9456
STILES, JACK                        PO BOX 57                                                                                            CULLEOKA        TN    38451‐0057
STILES, JAMES J                     11311 PRYOR RD                                                                                       PORTLAND        MI    48875‐9415
STILES, JAMIE C                     2921 WEBSTER                                                                                         LANSING         MI    48906‐9047
STILES, JESS W                      GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                     SAGINAW         MI    48604‐2602
                                                                        260
STILES, JOANN                       422 AMOR PLACE                                                                                       VANDALIA        OH 45377‐1804
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Name                 Address1                        Address2                  Address3   Address4         City                  State Zip
STILES, JOANN        422 AMOR PL                                                                           VANDALIA               OH 45377‐1804
STILES, JOHN L       15045 E SUNDOWN DR                                                                    FOUNTAIN HILLS         AZ 85268‐2160
STILES, JOHN L       15046 E SUNDOWN DR                                                                    FOUNTAIN HILLS         AZ 85268‐2160
STILES, JOHN W       2921 WEBSTER RD                                                                       LANSING                MI 48906‐9047
STILES, JOSEPH D     9 KNIGHT ST                                                                           SILVER CREEK           NY 14136
STILES, JOSEPH W     7928 STOLL RD                                                                         GRAND LEDGE            MI 48837‐9224
STILES, JOYCE B      543 BROOKLYN AVE                                                                      DAYTON                 OH 45417‐2357
STILES, KAREN A      10310 E BAYSHORE RD LOT 41                                                            LAKESIDE MARBLEHEAD    OH 43440
STILES, KENNETH A    55 ROUGE RD                                                                           ROCHESTER              NY 14623‐4125
STILES, KERMIT       119 MEMORY LN                                                                         MURPHY                 NC 28906‐3689
STILES, KIMBERLY A   711 W WENGER RD APT 226                                                               ENGLEWOOD              OH 45322
STILES, LARRY A      708 POPLAR TRCE                                                                       ELIZABETHTOWN          KY 42701‐7009
STILES, LAWRENCE R   4590 STATE ROUTE 225                                                                  DIAMOND                OH 44412‐9717
STILES, LAWRENCE R   282 WILCOX RD                                                                         AUSTINTOWN             OH 44515‐4277
STILES, LESLIE
STILES, LORAINE G    4902 MCCRAY ST                                                                        INDIANAPOLIS          IN   46224‐5146
STILES, LORAINE G    4902 MCCRAY STREET                                                                    INDIANAPOLIS          IN   46224‐5146
STILES, LORRAINE A   6671 RIVER ST                                                                         BENZONIA              MI   49616‐9626
STILES, MARGARET     6937 BUCKLEY CT                                                                       CANTON                MI   48187‐1601
STILES, MARION E     93 ROBIN DR                                                                           JEANNETTE             PA   15644
STILES, MARK E       614 STANFORD AVE                                                                      ELYRIA                OH   44035‐6641
STILES, MARK P       3109 W 73RD ST                                                                        SHAWNEE MSN           KS   66208‐3210
STILES, MARY C       4615 INGHAM RD.                                                                       LANSING               MI   48911‐2959
STILES, MARY C       4615 INGHAM ST                                                                        LANSING               MI   48911‐2959
STILES, MICHA L      200 S FAIRVIEW AVE                                                                    LANSING               MI   48912
STILES, MILDRED      3657 TARTAN CIR                                                                       PORTAGE               MI   49024‐4095
STILES, MILDRED I    PO BOX 131                                                                            ALVERDA               PA   15710‐0131
STILES, MILDRED I    11191 BOX 131                   ROUTE 553                                             ALVERDA               PA   15710
STILES, NANCY J      89 STRAWBERRY HILL RD                                                                 ROCHESTER             NY   14623‐4321
STILES, PHYLLIS J.   1724 BRANDON HALL DR.                                                                 MIAMISBURG            OH   45342‐6343
STILES, PHYLLIS J.   1724 BRANDONHALL DR                                                                   MIAMISBURG            OH   45342‐6343
STILES, RACHELLE L   APT 15                          3179 VALERIE ARMS DRIVE                               DAYTON                OH   45405‐2041
STILES, RICHARD C    1363 ROOSEVELT HWY                                                                    HILTON                NY   14468‐9726
STILES, RICHARD L    880 SANTA CLARA CIR                                                                   HEMET                 CA   92543‐6980
STILES, RICHARD P    4675 KINCARDINE                                                                       MILFORD               MI   48381‐3942
STILES, ROBERT T     932 WALTON AVE                                                                        DAYTON                OH   45402‐5333
STILES, ROGER S      1285 KENT DR                                                                          MILFORD               OH   45150‐2873
STILES, SALLY A      3773 W WINFIELD DR                                                                    SAGINAW               MI   48603‐2079
STILES, SANDRA K     1546 KINGS BRIDGE RD                                                                  GRAND BLANC           MI   48439‐8713
STILES, SHARON E     932 WALTON AVE                                                                        DAYTON                OH   45402‐5333
STILES, SHARON L     3555 SWEETWATER RD APT 250                                                            DULUTH                GA   30096‐4726
STILES, SHERMAN J    1088 SHARROTT CREEK DR                                                                NORTH LIMA            OH   44452‐8538
STILES, SHIRLEY A    10212 SE 74TH ST                                                                      OKLAHOMA CITY         OK   73150‐5802
STILES, STEPHEN M    312 COURTNEYS PL                                                                      LAPEER                MI   48446‐7625
STILES, STEVEN D     6488 CHURCH ST                                                                        CLARKSTON             MI   48346‐2120
STILES, SYLVIA       284 MAIN ST APT 207                                                                   TONAWANDA             NY   14150‐3341
STILES, TRAVIS       12036 JUNIPER WAY                                                                     GRAND BLANC           MI   48439‐1714
STILES, TRUDIE R     219 AMANDA LN                                                                         GRAIN VALLEY          MO   64029‐9355
STILES, VERNON B     615 REED AVE                                                                          KALAMAZOO             MI   49001‐2979
STILES, VIRGINIA H   755 18TH STREET SOUTHWEST                                                             VERO BEACH            FL   32962‐7007
STILES, WANDA A      2801 LAMB RD                                                                          MASON                 MI   48854‐9316
STILES, WAYNE B      107 PALMER LN APT B                                                                   BRYAN                 OH   43506
                           09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                      Address1                         Address2                       Address3   Address4         City               State Zip
STILES, WILLIAM           BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD          OH 44067
                                                           PROFESSIONAL BLDG
STILES, WILLIAM A         3773 W WINFIELD DR                                                                          SAGINAW            MI    48603‐2079
STILES, WILLIAM O         37291 CHESAPEAKE RD                                                                         FARMINGTON HILLS   MI    48335‐1144
STILES, WILLIAM R         12126 COLUMBIA X                                                                            DETROIT            MI    48239
STILES‐MARTIN, RACHEL     1864 23D STREET                                                                             WYANDOTTE          MI    48192
STILESKI, HAZEL A         1281 ALHI ST                                                                                WATERFORD          MI    48328‐1505
STILL JR, RAYMOND A       115 KOLLAR DR                                                                               MCKEESPORT         PA    15133‐2001
STILL WILBUR E (498340)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA    23510
                                                           STREET, SUITE 600
STILL'S AUTO SERVICE      300 S WASHINGTON ST                                                                         HOPE               AR    71801‐5044
STILL, BONNIE G           PO BOX 930                                                                                  LAWRENCVILLE       GA    30046
STILL, BRIAN C            553 LINDA DR                                                                                HARRISON           MI    48625‐9228
STILL, BRUCE C            137 TIMBERLOST TRL                                                                          SUWANEE            GA    30024‐2416
STILL, BRUCE C            PO BOX 772                                                                                  BLUE RIDGE         GA    30513‐0013
STILL, CLARENCE E         954 SAGE LANE, RT. #2                                                                       CONYERS            GA    30012
STILL, DAISY J            18490 ADRIAN ST                                                                             SOUTHFIELD         MI    48075‐1804
STILL, DON O              4392 S COTTONWOOD LN                                                                        BOLIVAR            MO    65613‐7400
STILL, EDGAR C            3705 WOODROW AVE                                                                            FLINT              MI    48506‐3135
STILL, GALE A             3705 WOODROW AVE                                                                            FLINT              MI    48506‐3135
STILL, GALE ALAN          3705 WOODROW AVE                                                                            FLINT              MI    48506‐3135
STILL, GLENN M            2428 WILTSHIRE CT APT 203                                                                   ROCHESTER HILLS    MI    48309
STILL, GLENN M            11483 STATE ROUTE 141                                                                       KITTS HILL         OH    45645‐8669
STILL, HOWARD G           1403 W BRODWAY AVE RTE 353                                                                  APACHE JUNCTION    AZ    85220
STILL, JACK               9480 OAK RD                                                                                 OTISVILLE          MI    48463‐9789
STILL, JACK L             18811 PLEASANT VIEW DR                                                                      LEBANON            MO    65536‐4368
STILL, JAMES R            1315 E MCVICAR AVE                                                                          KINGMAN            AZ    86409‐1368
STILL, JAMES R            1315 MCVICAR AVE                                                                            KINGMAN            AZ    86401‐1368
STILL, JEAN M             2615 US HIGHWAY 190                                                                         HUNTSVILLE         TX    77340‐7079
STILL, JEFFORY D          1680 STIRLING AVE                                                                           PONTIAC            MI    48340‐1344
STILL, JOHN K             3501 MOINA MICHAELS RD                                                                      GOOD HOPE          GA    30641‐2113
STILL, JOHN L             8382 FRANCES RD                                                                             FLUSHING           MI    48433‐8810
STILL, JR,ROBERT E        7241 SERPENTINE DR                                                                          HUBER HEIGHTS      OH    45424‐2315
STILL, KENNETH B          17339 LINDA VISTA CIR                                                                       LUTZ               FL    33548‐4707
STILL, LARRY D            1100 FRANKLIN ST                                                                            WHITE OAK          PA    15131‐1428
STILL, LESLIE O           413 S 21ST ST                                                                               SAGINAW            MI    48601‐1532
STILL, MARGARET T         1 FR. FINIAN SULLIVIAN DR #3E                                                               YONKERS            NY    10703‐2819
STILL, MARVIN L           1400 S ROYCE ST                                                                             SIOUX CITY         IA    51106‐1862
STILL, OTIS W             6409 N 100 E                                                                                OSSIAN             IN    46777‐9668
STILL, PEGGY L            9403 MCCOWIN RD                                                                             BASTROP            LA    71220‐7152
STILL, RANDOLPH M         18966 SANTA BARBARA DR                                                                      DETROIT            MI    48221‐2152
STILL, RICHARD C          15 DUKE ST                                                                                  BOSTON             MA    02126‐3150
STILL, ROBERT J           14156 EAST 49TH STREET                                                                      YUMA               AZ    85367‐7913
STILL, ROBERT J           14156 E 49TH ST                                                                             YUMA               AZ    85367‐7913
STILL, RONALD             10418 HINDS ST                                                                              HOUSTON            TX    77034‐2003
STILL, SAMUEL D           1800 CLAIRMONT LK APT 317                                                                   DECATUR            GA    30033‐4038
STILL, SHARON L           3770 ROCK CREEK TERRACE                                                                     RANTOUL            KS    66079‐9122
STILL, THOMAS             46 ROBIN LN                                                                                 HUDSON             WI    54016
STILL, TIMOTHY P          1775 HAZEL RD                                                                               HARRISON           MI    48625‐8989
STILL, WILBUR E           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA    23510‐2212
                                                           STREET, SUITE 600
STILLABOWER, DONALD T     1304 LONG SHORE DR                                                                          INDIANAPOLIS        IN   46217‐5268
                                    09-50026-mg               Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                                Address1                          Address2                      Address3   Address4                City              State Zip
STILLE WAYNE E (459576)             ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                                         WILMINGTON         DE 19801‐1813
STILLE, WAYNE E                     ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                                         WILMINGTON         DE 19801‐1813
STILLER DONALD                      87 SANDCASTLE CT                                                                                   PAWLEYS ISLAND     SC 29585‐6338
STILLER, BERNADINE                  5947 BRIARWOOD CT                                                                                  WATERFORD          MI 48346
STILLER, FLORENCE T                 6228 W 91ST ST                                                                                     OAK LAWN            IL 60453‐1543
STILLER, HELMUT                     880 MORNINGSIDE DR APT M119                                                                        FULLERTON          CA 92835‐3582
STILLER, ILSE R                     880 MORNINGSIDE DR APT M119                                                                        FULLERTON          CA 92835‐3582
STILLER, JOHN E                     6344 HARPER DR                                                                                     WATERFORD          MI 48329‐1335
STILLER, JOHN V                     13058 ELMWOOD CT                                                                                   APPLE VALLEY       MN 55124‐4231
STILLER, LEO J                      2 GARDEN WAY                                                                                       EAST ISLIP         NY 11730‐2536
STILLER, MARK E                     26204 BARNES ST                                                                                    ROSEVILLE          MI 48066‐3582
STILLER, MARK EDWARD                26204 BARNES ST                                                                                    ROSEVILLE          MI 48066‐3582
STILLER, RICHARD                    11626 COCOWOOD DRIVE              SUMMERTREE                                                       NEW PORT RICHEY    FL 34654
STILLER/ROCHESTER                   2920 TECHNOLOGY DR                                                                                 ROCHESTER HILLS    MI 48309‐3588
STILLEY CHARLES P (467080)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA 23510
                                                                      STREET, SUITE 600
STILLEY JR, RICHARD S               5226 SANDALWOOD CIR                                                                                GRAND BLANC       MI   48439
STILLEY JR, RICHARD S               1196 SUMMERLYN DRIVE                                                                               GRAND BLANC       MI   48439‐9245
STILLEY STEPHANIE                   2277 FAIR OAKS BLVD STE 190                                                                        SACRAMENTO        CA   95825
STILLEY, CHARLES P                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA   23510‐2212
                                                                      STREET, SUITE 600
STILLEY, FLORENCE D                 7118 FOSTORIA RD                                                                                   MAYVILLE          MI   48744‐9541
STILLEY, GEORGIA M                  2602 STATE STREET                                                                                  NEW ORLEANS       LA   70118‐6330
STILLEY, LAWRENCE H                 5077 SANTA FE DR                                                                                   DAYTON            OH   45414‐3627
STILLI, JAMES A                     2917 ADY RD                                                                                        FOREST HILL       MD   21050‐1801
STILLINGER, JEFFREY D               1719 W 57TH ST                                                                                     INDIANAPOLIS      IN   46228‐1878
STILLINGER, MARY E                  10840 PALMER RD                                                                                    MEDINA            NY   14103‐9628
STILLINGER, RICHARD A               10840 PALMER RD                                                                                    MEDINA            NY   14103‐9628
STILLINGER, ROLAND C                1223 PARKWOOD DR                                                                                   LOCKPORT          NY   14094‐7142
STILLINGS, JOSEPH S                 9132 LEROY RD                                                                                      BROWNSBURG        IN   46112‐8692
STILLINGS, ROBERT S                 65055 INFIRMARY RD                                                                                 MC ARTHUR         OH   45651‐8886
STILLINGS, TERRY S                  2804 US HIGHWAY 62 SW                                                                              WSHNGTN CT HS     OH   43160‐8703
STILLINGS, WAYNE A.
STILLION, CLIFFORD A                1086 S JOHNSON RD                                                                                  SEBRING           OH   44672‐1716
STILLION, DONALD G                  1411 MISHLER ST                                                                                    ALLIANCE          OH   44601
STILLION, JR,PAUL A                 22796 HARRISBURG WESTVILLE RD                                                                      ALLIANCE          OH   44601‐9224
STILLITANO PAUL                     STILLITANO, PAUL                  54 SHERWOOD RD                                                   SPRINGFIELD       NJ   07081‐2521
STILLMAKER, BERNARD C               339 N WHITTIER PL                                                                                  INDIANAPOLIS      IN   46219‐5722
STILLMAN & FRIEDLAND ATTORNEYS AT   208 23RD AVE N STE 201                                                                             NASHVILLE         TN   37203‐1794
LAW
STILLMAN & FRIEDMAN PC              425 PARK AVE                                                                                       NEW YORK          NY   10022
STILLMAN COLLEGE                    PO BOX 1430                                                                                        TUSCALOOSA        AL   35403‐1430
STILLMAN ELKINS                     812 MAJESTIC OAKS CT                                                                               MANSFIELD         TX   76063‐4865
STILLMAN JR, JAMES W                7652 SCHROEDER AVE                                                                                 LEXINGTON         MI   48450‐9736
STILLMAN LAW OFFICE                 7091 ORCHARD LAKE RD STE 270                                                                       WEST BLOOMFIELD   MI   48322‐3667
STILLMAN LLP                        ATTN: GEOFFREY W. COOMBS          300 10335 ‐ 172 STREET                   EDMONTON, ALBERTA T5S
                                                                                                               1K9
STILLMAN, CHARLENE                  6718 HAZELETT RD                                                                                   FORT WAYNE        IN   46835‐9798
STILLMAN, JOSEFINE F                15 SPENCER STREET APT A                                                                            MIDDLEBORO        MA   02346
STILLMAN, JOSEFINE F                15 SPENCER ST APT A                                                                                MIDDLEBORO        MA   02346‐2348
STILLMAN, MINNIE A                  APT 207                           2020 SOUTH MONROE STREET                                         DENVER            CO   80210‐3767
STILLMAN, NORMA J                   2529 LOUIS AVE                                                                                     ST LOUIS          MO   63144‐2534
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Name                          Address1                       Address2                        Address3               Address4         City            State Zip
STILLMAN, ROY D               PO BOX 1663                                                                                            ANDOVER          OH 44003‐1663
STILLMAN, SHERRY L            126 S WOODWARD AVE                                                                                     OTISVILLE        MI 48463‐9492
STILLS, BETTY L               4477 PARKTON DR                                                                                        WARRENSVIL HT    OH 44128‐3531
STILLS, HERSCHELL B           1505 S HACKLEY ST                                                                                      MUNCIE           IN 47302‐3570
STILLS, JOYCE F               639 IDAHO DR                                                                                           XENIA            OH 45385‐4625
STILLS, JOYCE F               639 IDAHO DRIVE                                                                                        XENIA            OH 45385‐4625
STILLS, MARGARET D            1815 ROXBURY DR                                                                                        XENIA            OH 45385‐4932
STILLS, MARIE                 3455 GALAXY LN                                                                                         SHREVEPORT       LA 71119‐5020
STILLS, MARSHALL L            588 E 3RD ST                                                                                           XENIA            OH 45385‐3337
STILLS, MICHAEL R             7507 GIDEON ST                                                                                         SHREVEPORT       LA 71106‐4627
STILLS, SAMUEL D              1708 N WOLFE ST                                                                                        MUNCIE           IN 47303‐2468
STILLS, STEPHANIE J           3455 GALAXY LN                                                                                         SHREVEPORT       LA 71119‐5020
STILLSON, BETTY L             535 S JACKSON ST                                                                                       BREMEN           IN 46506‐1673
STILLSON, JOHN
STILLWAGON, DONNA O           4801 MILLER SOUTH RD                                                                                   BRISTOLVILLE    OH   44402‐9723
STILLWAGON, GARY K            7026 E BRISTOL RD                                                                                      DAVISON         MI   48423‐2420
STILLWAGON, JOSEPH G          PO BOX 971                                                                                             BELLAIRE        MI   49615
STILLWAGON, KEITH A           6387 OAK ST                                                                                            GLADWIN         MI   48624
STILLWAGON, PAUL H            83 FLEETWOOD AVE                                                                                       DEBARY          FL   32713‐2039
STILLWAGON, RAYMOND           7269 ELMCREST AVE                                                                                      MOUNT MORRIS    MI   48458‐1806
STILLWAGON, RONALD W          4801 MILLER SOUTH RD                                                                                   BRISTOLVILLE    OH   44402‐9723
STILLWATER COUNTY TREASURER   PO BOX 149                                                                                             COLUMBUS        MT   59019‐0149
STILLWATER MEDICAL G          1500 CURVE CREST BLVD W                                                                                STILLWATER      MN   55082‐6040
STILLWATER MINING CO          P O BOX 271                                                                                            OOLITIC         IN   47451‐3046
STILLWATER MINING CO          ATTN: JOHN STARK               PO BOX 1330                                                             COLUMBUS        MT   59109‐1330
STILLWATER MINING CO          PO BOX 1330                                                                                            COLUMBUS        MT   59019‐1330
STILLWATER MINING COMPANY     JAMES BINANDO/JOHN STARK       PO BOX 1330                     536 EAST PIKE AVENUE                    COLUMBUS        MT   59019
STILLWATER MINING COMPANY     PO BOX 1330                    536 EAST PIKE AVENUE                                                    COLUMBUS        MT   59019
STILLWATER MINING COMPANY     536 EAST RICE AVE                                                                                      COLUMBUS        MT   59019
STILLWATER MINING COMPANY     PO BOX 1330                                                                                            COLUMBUS        MT   59019‐1330
STILLWATER MOTOR COMPANY      5900 STILLWATER BLVD N                                                                                 STILLWATER      MN   55082‐1190
STILLWATER MOTOR COMPANY      DANIEL RADUENZ                 5900 STILLWATER BLVD N                                                  STILLWATER      MN   55082‐1190
STILLWAUGH, RICHARD H         11234 CRIMSON                                                                                          MIAMISBURG      OH   45342‐4895
STILLWELL ‐ QUINN, LOIS       11 DEWEY DR                                                                                            KETTERING       OH   45420
STILLWELL EARNEST             1824 CONCORD ST                                                                                        SEMINOLE        OK   74868‐4230
STILLWELL GARAGE INC.         172 JACKSON ST                                                                                         MATAWAN         NJ   07747‐3102
STILLWELL JR, KENNETH J       850 WHITMORE RD APT 306                                                                                DETROIT         MI   48203‐1760
STILLWELL SCOTT               627 WADES COACH DR                                                                                     SPRINGDALE      AR   72762‐6091
STILLWELL, AGNES              27 N MAIN ST                   CANTON CHRISTIAN CONVALESCENT                                           CANTON          NC   28716‐3847
                                                             CT
STILLWELL, AMY B              4674 CORNELL CIR                                                                                       MARIETTA        GA   30068‐2005
STILLWELL, BILLY J            3873 OLD FEDERAL HILL RD                                                                               JARRETTSVILLE   MD   21084‐1631
STILLWELL, CECIL L            29933 CARLYSLE ST                                                                                      INKSTER         MI   48141‐2759
STILLWELL, DAVID M            2826 SW 10TH TER                                                                                       LEES SUMMIT     MO   64081‐3744
STILLWELL, DAVID M L          2826 SW 10TH TER                                                                                       LEES SUMMIT     MO   64081‐3744
STILLWELL, EMILY              HABUSH HABUSH AND ROTTIER SC   777 E WISCONSIN AVE STE 2300                                            MILWAUKEE       WI   53202‐5381
                              ATTORNEYS AT LAW
STILLWELL, GARY W             3374 FOREST GLEN DR                                                                                    CORINTH         TX 76210
STILLWELL, JANET L            302 MERIDIAN AVE                                                                                       BAY CITY        MI 48706‐1958
STILLWELL, KEVIN              HABUSH HABUSH AND ROTTIER SC   777 E WISCONSIN AVE STE 2300                                            MILWAUKEE       WI 53202‐5381
                              ATTORNEYS AT LAW
STILLWELL, LARRY G            109 MORAN RD                                                                                           MCLOUD          OK 74851‐7601
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Name                        Address1                       Address2                           Address3   Address4         City               State Zip
STILLWELL, LARRY O          16431 RICHARD DR                                                                              BROOK PARK          OH 44142‐3616
STILLWELL, LORA E           256 POE LN                                                                                    XENIA               OH 45385
STILLWELL, MARY L           1050 104TH AVENUE                                                                             OAKLAND             CA 94603‐3169
STILLWELL, MARY L           1050 104TH AVE                                                                                OAKLAND             CA 94603‐3169
STILLWELL, MICHAEL J        5007 STARFISH DR SE APT D                                                                     SAINT PETERSBURG    FL 33705
STILLWELL, PAMELA           HABUSH HABUSH AND ROTTIER SC   777 E WISCONSIN AVE STE 2300                                   MILWAUKEE           WI 53202‐5381
                            ATTORNEYS AT LAW
STILLWELL, WILLIAM C        165 SERVICE RD                                                                                CAMPTON            KY    41301‐9517
STILSON III, HAROLD H       149 LAURIE DR                                                                                 BRYAN              OH    43506‐8727
STILSON PRODUCTS LLC        15935 STURGEON ST                                                                             ROSEVILLE          MI    48066‐1818
STILSON, CARL W             1498 W SAGINAW RD                                                                             MAYVILLE           MI    48744‐9617
STILSON, DAVID O            4784 NEW HAVEN DR                                                                             HOWELL             MI    48843‐7884
STILSON, DONALD E           134 N MAIN ST                                                                                 VASSAR             MI    48768‐1319
STILSON, DONALD ERWIN       134 N MAIN ST                                                                                 VASSAR             MI    48768‐1319
STILSON, ELIZABETH          149 LAURIE DR                                                                                 BRYAN              OH    43506‐8727
STILSON, JANELLE A          312 S MILL ST                                                                                 CLIO               MI    48420‐1436
STILSON, JOHN
STILSON, MARGARET M         1228 N US 23                                                                                  EAST TAWAS         MI    48730‐9440
STILSON, MARY JO            313 W ROCKWELL ST                                                                             FENTON             MI    48430‐2080
STILSON, ORVIL R            6215 MCKENZIE DR                                                                              FLINT              MI    48507‐3835
STILSON, PAUL S             6086 E HILL RD                                                                                GRAND BLANC        MI    48439‐9103
STILSON, ROBERT V           211 ELM ST                                                                                    CHARLEVOIX         MI    49720‐1137
STILSON, THEODORE P         8253 IRISH RD                                                                                 MILLINGTON         MI    48746‐8719
STILSON, WILLIAM J          22120 4 MILE RD                                                                               MORLEY             MI    49336‐9536
STILTNER JAMES (448010)     BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                  NORTHFIELD         OH    44067
                                                           PROFESSIONAL BLDG
STILTNER, DOROTHY G         196 JAY STREET                                                                                DEARBORN HGTS      MI    48127‐1936
STILTNER, DUDLEY E          287 HOLLY LN                                                                                  BELLEVILLE         MI    48111‐1758
STILTNER, HELEN R           13575 ROAD 208                                                                                CECIL              OH    45821‐9702
STILTNER, KYLE A            361 N TRIMBLE RD                                                                              MANSFIELD          OH    44906
STILTNER, PHYLLIS J         87 MENLO PARK DR                                                                              BELLEVILLE         MI    48111‐2918
STILTNER, RANDALL K         5855 MAYFAIR ST                                                                               TAYLOR             MI    48180‐1362
STILTNER, RICHARD G         196 JAY ST                                                                                    DEARBORN HTS       MI    48127‐1936
STILTNER, SHARON L          2317 W 500 N                                                                                  HARTFORD CITY      IN    47348‐9575
STILTNER, SHEILA L          50333 WILLIS ROAD #21                                                                         BELLEVILLE         MI    48111
STILTS, DALTON              SHELLER, SUDWING & BADEY       ONE GREENTREE CENTRE, SUITE 201,                               MARLTON            NJ    08053
                                                           GREENTREE RD & ROUTE 73
STILTS, MARY E              2106 S MOCK AVE                                                                               MUNCIE              IN   47302‐4441
STILTS, MICHELLE
STILTS, SCOTT
STILWELL CLYDE D            C/O WARD BLACK LAW             208 WEST WENDOVER AVE                                          GREENSBORO         NC 27401
STILWELL CLYDE D (516203)   (NO OPPOSING COUNSEL)
STILWELL JR, PAUL R         14330 FAGAN RD                                                                                HOLLY              MI    48442‐9758
STILWELL, BARBARA A         3384 CANDLEWOOD DR                                                                            LK HAVASU CTY      AZ    86406‐9142
STILWELL, BRETT G           10615 HICKORY TREE RD                                                                         FORT WAYNE         IN    46845‐1025
STILWELL, BRETT G           13065 WOODSTOCK DR                                                                            FENTON             MI    48430‐2561
STILWELL, CHARLES A         893 EDITH ST                                                                                  OXFORD             MI    48371‐4729
STILWELL, DAVID L           1349 S MAIN ST                                                                                OVID               MI    48866‐9724
STILWELL, DAVID P           15675 EUCLID AVE                                                                              ALLEN PARK         MI    48101‐2705
STILWELL, ELAINE            93 GRANDVIEW AVENUE                                                                           BUFFALO            NY    14223
STILWELL, FRANKLIN D        396 JONES SPRING WEST RD                                                                      HEDGESVILLE        WV    25427‐3061
STILWELL, ISABELLA M        10300 EAST 30TH STREET                                                                        INDEPENDENCE       MO    64052‐1410
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Name                        Address1                       Address2            Address3         Address4         City               State Zip
STILWELL, ISABELLA M        10300 E 30TH ST S                                                                    INDEPENDENCE        MO 64052‐1410
STILWELL, JAMES A           PO BOX 214101                                                                        AUBURN HILLS        MI 48321‐4101
STILWELL, LEE A             1080 KATHLEEN DR                                                                     LAPEER              MI 48446‐3724
STILWELL, MICHAEL D         3621 HARRISON ST               C/O DEBRA HYDE      APT #101                          INKSTER             MI 48141‐2950
STILWELL, MICHAEL RICHARD   1313 E MAPLE AVE                                                                     BURTON              MI 48529‐2059
STILWELL, NANCY JEAN        609 MILL CREEK CT                                                                    CLIO                MI 48420
STILWELL, RICHARD T         4018 E GARLAND AVE                                                                   FRESNO              CA 93726‐6054
STILWELL, ROBERT A          5645 CRYSTAL BAY WEST DR                                                             PLAINFIELD          IN 46168‐9254
STILWELL, ROBERT C          869 ORVILLE WAY                                                                      XENIA               OH 45385‐5362
STILWELL, ROSALIE I         317 QUAIL MEADOW DR                                                                  CHESAPEAKE          VA 23323‐1050
STILWELL, WILBUR K          9913 TRINIDAD DR                                                                     EL PASO             TX 79925‐6073
STILWELL, WYLIE T.          5711 RANCHERO LN                                                                     DALLAS              TX 75236‐1727
STILWILL, DELORIS E         5277 COUNTY RD W                                                                     LIBERTY CENTER      OH 43532‐9764
STILWILL, DELORIS E         5‐277 COUNTY RD W                                                                    LIBERTY CENTER      OH 43532‐9764
STILWILL, PATRICIA A        1422 WALTER AVE                                                                      LOUISVILLE          KY 40215
STILZ, EVELYN C             11251 S COUNTY ROAD 525 W                                                            REELSVILLE          IN 46171‐9698
STIMA, JAMES                1019 BIG SWAN CREEK RD                                                               HAMPSHIRE           TN 38461‐5157
STIMAC JR, A J              231 ELMWOOD DR                                                                       HUBBARD             OH 44425‐1606
STIMAC JR., JAMES J         13028 NEW JERSEY AVE                                                                 KANSAS CITY         KS 66109‐3395
STIMAC, ANDREW J            2456 RIVERSIDE DR                                                                    NEWTON FALLS        OH 44444‐9453
STIMAC, BRANKO              19 HUNTER ST                                                                         BERGEN              NY 14416‐9527
STIMAC, CHARLENE M          35591 CECIL CT                                                                       CLINTON TOWNSHIP    MI 48035‐2219
STIMAC, DAVID A             3051 N BELSAY RD                                                                     FLINT               MI 48506‐2232
STIMAC, DAVID ANTHONY       3051 N BELSAY RD                                                                     FLINT               MI 48506‐2232
STIMAC, DOROTHY             1343 SUNSET BLVD                                                                     FLINT               MI 48507‐4061
STIMAC, JO A                3100 PERRIN PL                                                                       RALEIGH             NC 27613
STIMAC, JOHN M              3443 OAK LEAF DR                                                                     TROY                MI 48084‐2637
STIMAC, JOSEPH J            6240 GREENVIEW DR                                                                    BURTON              MI 48509‐1361
STIMAC, JOSEPH P            G8126 WEBSTER RD                                                                     MOUNT MORRIS        MI 48458
STIMAC, JOSEPH PAUL         G8126 WEBSTER RD                                                                     MOUNT MORRIS        MI 48458
STIMAC, KENNETH J           3220 LAPEER RD                                                                       PORT HURON          MI 48060‐2530
STIMAC, MICHAEL C           358 ORCHARD RIDGE DR                                                                 LAKE ORION          MI 48362‐3918
STIMAC, MICHAEL R           2001 24TH AVE                                                                        MENOMINEE           MI 49858‐2019
STIMAC, MICHAEL R           2001 24TH AVENUE                                                                     MENOMINEE           MI 49858‐2019
STIMAC, MILES M             2128 93RD TRL                                                                        MINNEAPOLIS         MN 55444
STIMAC, NINA C              9374 RIVER BEND DRIVE                                                                EVERT               MI 49631‐8539
STIMAC, PATRICIA R          11232 N BRAY RD                                                                      CLIO                MI 48420‐7955
STIMAC, RALPH               2226 SHERWOOD AVE                                                                    WESTCHESTER          IL 60154‐4952
STIMAC, ROBERT J            80 JENNINGS TERRACE DRIVE                                                            GLADWIN             MI 48624‐9770
STIMAC, SHARON L            3194 AMSTERDAM DR                                                                    CLIO                MI 48420‐1495
STIMAGE JR, MENION          PO BOX 430856                                                                        PONTIAC             MI 48343‐0856
STIMAGE, FREDDYE M          1344 BANCROFT ST                                                                     DAYTON              OH 45408‐1810
STIMAGE, MICHAEL E          PO BOX 397                                                                           BLOOMFIELD          MI 48303‐0397
STIMAGE, S L                7426 FOXTROT DR                                                                      HAZELWOOD           MO 63042‐1437
STIMAGE, SHIRLEY A          5473 WOODCREEK CT                                                                    CLARKSTON           MI 48348‐4852
STIMAGE, SHIRLEY ANN        5473 WOODCREEK CT                                                                    CLARKSTON           MI 48348‐4852
STIMEL, HELEN E             PO BOX 651                                                                           EVERGLADES CITY     FL 34139‐0651
STIMER SAMUEL J (460217)    DUFFY & ASSOCS JOHN J          23823 LORAIN RD                                       NORTH OLMSTED       OH 44070
STIMETZ, JOSEPH J           PO BOX 511                                                                           BASEHOR             KS 66007‐0511
STIMM ASSOCIATES INC        30 KATHERINE ST                                                                      BUFFALO             NY 14210‐2006
STIMM ASSOCIATES INC        10 KATHERINE ST                                                                      BUFFALO             NY 14210‐2006
STIMMEL, DAVID L            127 W RUTHERFORD DR                                                                  NEWARK              DE 19713‐2026
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Name                         Address1                        Address2               Address3      Address4         City                 State Zip
STIMMEL, JANICE M            317 BASKET BR                                                                         OXFORD                MI 48371‐6359
STIMMEL, KENNY L             400 S BROWNLEAF RD                                                                    NEWARK                DE 19713‐3212
STIMMEL, KRISTINA E          2879 W SMOKE TREE AVE                                                                 ATHOL                 ID 83801
STIMMEL, RICHARD B           400 S BROWNLEAF RD                                                                    NEWARK                DE 19713‐3212
STIMMEL, STEPHEN M           61 RINGNECK PL                                                                        BEAR                  DE 19701‐2734
STIMMEL, STEPHEN MICHAEL     61 RINGNECK PL                                                                        BEAR                  DE 19701‐2734
STIMMEL, THOMAS M            21816 ROSEDALE ST                                                                     SAINT CLAIR SHORES    MI 48080‐3557
STIMPERT, FERN C             4960 SCOTT ST.                                                                        NEWTON FALLS          OH 44444‐9405
STIMPERT, FERN C             4960 SCOTT ST                                                                         NEWTON FALLS          OH 44444‐9405
STIMPSON, DIANE M            55100 WASHINGTON DR                                                                   SHELBY TOWNSHIP       MI 48316
STIMPSON, EDWARD F           168 FRONTENAC HTS                                                                     ROCHESTER             NY 14617‐1714
STIMPSON, FREDERICK K        19 S ACADEMY ST                                                                       JANESVILLE            WI 53548‐3739
STIMPSON, JAMES R            9976 CEMETARY RD                                                                      ALDEN                 MI 49612‐9754
STIMPSON, MARGARET           815 MAPLEWOOD DR APT 361                                                              HARLEYSVILLE          PA 19438‐1079
STIMPSON, MICHAEL P          841 SPARLING DR                                                                       SAGINAW               MI 48609‐5124
STIMPSON, MICHAEL PAUL       841 SPARLING DR                                                                       SAGINAW               MI 48609‐5124
STIMPSON, PAULA SUE          6825 CALLAWAY DR                                                                      SAINT HELEN           MI 48656‐8514
STIMPSON, RODNEY             PO BOX 572                                                                            SAINT HELEN           MI 48656‐0572
STIMSON MARGERIE             STIMSON, MARGERIE               204 SADDLE HORN ROAD                                  CARLSBAD              MN 88220
STIMSON, BETTY               31200 WELLINGTON DR                                                                   NOVI                  MI 48377
STIMSON, CARYL L             9155 DODGE RD                                                                         OTISVILLE             MI 48463‐9403
STIMSON, DOUGLAS R           4319 BRIGGS RD                                                                        OTTER LAKE            MI 48464‐9706
STIMSON, FRANCIS L           O‐10195 LINDEN DR NW                                                                  GRAND RAPIDS          MI 49534‐8926
STIMSON, GRANT L             291 NORTH DR                                                                          DAVISON               MI 48423‐1609
STIMSON, JAMES D             730 VALEWOOD DR                                                                       LEWISBURG             TN 37091‐4063
STIMSON, LAVERNE R           211 W MAIN ST                                                                         OTISVILLE             MI 48463‐9438
STIMSON, MARGERIE            204 SADDLEHORN RD                                                                     CARLSBAD              NM 88220‐9163
STIMSON, PAUL D              8461 FOSTORIA RD                                                                      FOSTORIA              MI 48435‐9506
STIMSON, REBECCA S           70 S SEELEY DR                                                                        MIDLAND               MI 48640‐9024
STIMSON, SUZANNE R           211 W MAIN ST                                                                         OTISVILLE             MI 48463‐9438
STIMSON, THOMAS              4440 RICHARDS RD                                                                      DAVISON               MI 48423‐8725
STIMSON, VADA F              60 W SANILAC RD RM 208                                                                SANDUSKY              MI 48471‐1063
STIMSON, VADA F              RM 208                          60 WEST SANILAC ROAD                                  SANDUSKY              MI 48471‐1063
STINAR, MARGARET P           4115 GERTRUDE ST                                                                      DEARBORN HTS          MI 48125‐2819
STINARD, AMY E               1515 EDGEWOOD DR                                                                      ANDERSON              IN 46011‐3023
STINCHCOMB JOHN W (467639)   NICHOLL LAW OFFICES PETER T     36 SOUTH CHARLES ST                                   BALTIMORE             MD 21201
STINCHCOMB, CHARLES L        546 DECKER RD                                                                         WALLED LAKE           MI 48390‐3806
STINCHCOMB, DOROTHY E        2409 HARWOOD RD                                                                       BALTIMORE             MD 21234‐2915
STINCHCOMB, GEORGE D         505 W GLENDALE ST                                                                     BEDFORD               OH 44146‐3237
STINCHCOMB, GRACE R          105 THISTLEDOWN DR                                                                    HUMMELSTOWN           PA 17036‐9513
STINCHCOMB, HARVEY C         BX 394, 662 N CHEROKEE RD                                                             SOCIAL CIRCLE         GA 30025
STINCHCOMB, JO ELLEN         7729 WOODLAWN AVE                                                                     PASADENA              MD 21122‐1812
STINCHCOMB, JOHN W           NICHOLL LAW OFFICES PETER T     36 SOUTH CHARLES ST                                   BALTIMORE             MD 21201
STINCHCOMB, MELVIN W         440 YANCEY CIR                                                                        COVINGTON             GA 30014‐7849
STINCHCOMB, RUSSELL R        447 BEE MAXEY RD                                                                      WINDER                GA 30680‐3436
STINCHCOMBE, GARTH V         7211 NORTH CENTER ROAD                                                                MOUNT MORRIS          MI 48458‐8983
STINE III, KENNETH E         6845 W 52ND PL                  APT 2A                                                MISSION               KS 66202
STINE III, KENNETH E         6845 W 52ND PL APT 2A                                                                 MISSION               KS 66202‐1531
STINE JR, HERBERT B          5424 SIERRA CIR E                                                                     DAYTON                OH 45414‐3670
STINE KURT                   STINE, KURT                     P O BOX 426                                           SAINT PETERS          PA 19470‐0426
STINE SR, RONALD E           6974 TAYLOR RD S.W.                                                                   REYNOLDSBURG          OH 43068‐9633
STINE, AMY L                 2431 COUNTY ROAD 306                                                                  VICKERY               OH 43464‐9733
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Name                          Address1                          Address2                      Address3   Address4         City            State Zip
STINE, BRADLEY L              2815 FRANKLIN DR                                                                            COLUMBUS         IN 47201‐2909
STINE, DANIEL D               12961 S WACOUSTA RD                                                                         EAGLE            MI 48822‐9788
STINE, DANIEL L               PO BOX 566                                                                                  MIAMISBURG       OH 45343‐0566
STINE, DANIEL T               6012 LAMIE HWY R 5                                                                          CHARLOTTE        MI 48813
STINE, DAVID F                17121 KROPF AVE                                                                             DAVISBURG        MI 48350‐1188
STINE, DAVID L                14031 NORTHWEST 75TH AVENUE                                                                 TRENTON          FL 32693‐7313
STINE, DOLORES                1330 MIDLAND RD                                                                             SAGINAW          MI 48603‐4330
STINE, DONALD E               602 LITTLE CT                                                                               ENGLEWOOD        OH 45322‐2051
STINE, DOROTHY J              608 N MAPLE ST                                                                              EATON            OH 45320‐1836
STINE, GREGORY W              1004 W LINCOLN RD                                                                           KOKOMO           IN 46902‐3415
STINE, HELEN                  602 LITTLE CT.                                                                              ENGLEWOOD        OH 45322‐2051
STINE, JERRY A                10497 S 700E ‐ 92                                                                           ROANOKE          IN 46783
STINE, JERRY ALLEN            10497 S 700E ‐ 92                                                                           ROANOKE          IN 46783
STINE, JERRY D                293 SPRINGBORO LANE                                                                         COLUMBUS         OH 43235‐5614
STINE, KURT                   PO BOX 426                                                                                  SAINT PETERS     PA 19470‐0426
STINE, LINDA S                529 CRAWLEY RUN APT 207                                                                     CENTERVILLE      OH 45458‐7332
STINE, MARGARET E.            PO BOX 74                                                                                   CENTRAL LAKE     MI 49622‐0074
STINE, MARY S                 3395 NORTHWEST DR                                                                           SAGINAW          MI 48603‐2335
STINE, MICHAEL J              5260 ATTICA RD                                                                              ATTICA           MI 48412‐9638
STINE, NORENE                 1701 PALM AIRE DR                                                                           LADY LAKE        FL 32159‐2236
STINE, NORMAN C               6150 CEDAR CREEK RD                                                                         NORTH BRANCH     MI 48461‐8259
STINE, PAUL J                 3112 HIDDEN TRL 61                                                                          WATERFORD        MI 48328
STINE, PAUL L                 27 HELMSMAN PT                                                                              SUNRISE BEACH    MO 65079‐6737
STINE, REBECCA B              1207 RED BANKS RD                                                                           GREENVILLE       NC 27858‐5302
STINE, RICHARD A              5180 PINEMOUNT CIR                                                                          MIAMISBURG       OH 45342‐1414
STINE, RICHARD J              7914 IVORY AVE.                                                                             SAINT LOUIS      MO 63111
STINE, RONALD R               10655 S 700E‐92                                                                             ROANOKE          IN 46783
STINE, RONALD RUSSELL         10655 S 700E‐92                                                                             ROANOKE          IN 46783
STINE, SANDY A                PO BOX 195                                                                                  DELTA            OH 43515
STINE, STEPHEN M              6050 LAMIE HWY                                                                              CHARLOTTE        MI 48813‐8875
STINE, THOMAS L               516 WINDY CT                                                                                KOKOMO           IN 46901‐3703
STINE, TYRUS G                6688 LAMIE HWY                                                                              VERMONTVILLE     MI 49096‐9543
STINE, WAYNE B                7396 ANDERSON HWY                                                                           VERMONTVILLE     MI 49096‐9564
STINE, WILBUR A               PO BOX 5217                                                                                 TRENTON          NJ 08638‐0217
STINEBAUGH JACK (439546)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                STREET, SUITE 600
STINEBAUGH JR, HOWARD         1795 WHITE OAK LN                                                                           INTERLOCHEN     MI 49643‐9466
STINEBAUGH JR, JACK E         9552 S LAKESHORE DR                                                                         PENTWATER       MI 49449‐9683
STINEBAUGH, JACK              C/O GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                                STREET, SUITE 600
STINEBAUGH, KENNETH D         410 NORTH WATER STREET            APT# 10 M                                                 WEST NEWTON     PA   15089
STINEBISER, RONALD J          14440 HOPE DR                                                                               STERLING HTS    MI   48313‐3652
STINEDURF GERALD E (460218)   DUFFY & ASSOCS JOHN J             23823 LORAIN RD                                           NORTH OLMSTED   OH   44070
STINEDURF, GERALD E           DUFFY & ASSOCS JOHN J             23823 LORAIN RD                                           NORTH OLMSTED   OH   44070
STINEFIELD, DALE E            2774 E STATE ROAD 28                                                                        ALEXANDRIA      IN   46001‐9115
STINEFIELD, ROBERT L          210 W CLEVELAND ST                                                                          ALEXANDRIA      IN   46001‐1027
STINEHART, ROSE L             15160 MCGUIRE ST                                                                            TAYLOR          MI   48180‐5005
STINEHOUR, C F                22735 BECKENHAM CT                                                                          NOVI            MI   48374‐3526
STINEMAN JOHN                 1800 OAKLEY LN                                                                              WHEATLAND       CA   95692‐9716
STINEMAN, IRMA G              2309 NILES‐CORTLAND RD. NE                                                                  CORTLAND        OH   44410‐9471
STINEMAN, IRMA G              2309 NILES CORTLAND RD NE                                                                   CORTLAND        OH   44410‐9471
STINEMETZ, PAUL W             3200 GARDEN PL                                                                              KOKOMO          IN   46902‐7513
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Name                        Address1                        Address2                      Address3   Address4         City             State Zip
STINER BILLY C (467081)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                            STREET, SUITE 600
STINER BOB R (467082)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                            STREET, SUITE 600
STINER JR, WILLIS           6609 NW 119TH ST                                                                          OKLAHOMA CITY    OK 73162‐1778
STINER, BILLY C             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                            STREET, SUITE 600
STINER, BOB R               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                            STREET, SUITE 600
STINER, DIANNE              31 FIELDSTONE DR                                                                          GRAND ISLAND     NY   14072‐1105
STINER, ELIZABETH A         800 COUNTY HIGHWAY 31                                                                     WINFIELD         AL   35594‐6552
STINER, ELIZABETH A         800 COUNTY HWY 31                                                                         WINFIELD         AL   35594‐6552
STINER, EVERETT             9332 N STATE ROAD 37                                                                      ELWOOD           IN   46036‐8838
STINER, JACK K              31 FIELDSTONE DR                                                                          GRAND ISLAND     NY   14072‐1105
STINER, LARRY L             2608 JUDSON RD                                                                            KOKOMO           IN   46901‐1762
STINER, MARGARET B          2005 N C ST                                                                               ELWOOD           IN   46036‐1617
STINER, MARGARET B          2005 N C STREET                                                                           ELWOOD           IN   46036‐1617
STINER, MARY C              3400 WEST MARKET ST             APT B                                                     WARREN           OH   44485‐4485
STINER, MARY C              3400 W MARKET ST APT B                                                                    WARREN           OH   44485‐3086
STINER, MARY E              495 MILL ST                                                                               WILLIAMSVILLE    NY   14221‐5150
STINER, MARY L              1510 ARIANA ST LOT 253                                                                    LAKELAND         FL   33803
STINER, MARY L              1904 S WEBSTER ST                                                                         KOKOMO           IN   46902
STINER, PENNY J             1746 E COUNTY RD                100 NORTH                                                 KOKOMO           IN   46901
STINER, PENNY J             100 W NORTH ST                  1746 EAST COUNTY ROAD                                     KOKOMO           IN   46901‐2848
STINER, RAYMOND J           12667 B ST                                                                                LA SALLE         MI   48145‐9616
STINER, ROSE S              9332 N. ST. ROAD # 37                                                                     ELWOOD           IN   46036
STINER, WILLIAM B           1931 S ARMSTRONG ST                                                                       KOKOMO           IN   46902‐2079
STINER, WILLIAM V           1774 ELM TRACE ST                                                                         YOUNGSTOWN       OH   44515‐4802
STINES PAUL                 3646 OLD STATE ROAD 37 N                                                                  SPRINGVILLE      IN   47462‐5086
STINES, CHARLIE V           988 N FORK RD                                                                             BARNARDSVILLE    NC   28709‐9734
STINES, IAN A               1453 SUNSET RD                                                                            ANN ARBOR        MI   48103‐2934
STINES, MARTHA J            44 JULIANA DR                                                                             DANVILLE         IL   61832‐8441
STINES, OTHEL               OAK BROOK                       179 SUBSTATION LOOP           APT 7                       ERIN             TN   37061
STING JR., WILLIAM F        118 E MAIN ST                                                                             MAYVILLE         MI   48744‐9502
STING JR., WILLIAM F.       118 E MAIN ST                                                                             MAYVILLE         MI   48744‐9502
STING, JOHN M               30 W BAY CITY FORESTVILLE RD                                                              UNIONVILLE       MI   48767‐9606
STING, JOHN W               596 WOLVERINE DR                                                                          WOLVERINE LAKE   MI   48390‐2364
STING, ROGER L              3267 SEYMOUR RD                                                                           SWARTZ CREEK     MI   48473‐9745
STING, RONALD J             1645 FLAJOLE RD                                                                           RHODES           MI   48652‐9503
STING, WILLIAM F            4840 CHEROKEE RD                                                                          SAGINAW          MI   48604‐9467
STINGEL CHARLES & SUE ANN   388 ASPEN DR NW                                                                           WARREN           OH   44483‐1186
STINGER, CHARLES R          250 BITTERSWEET DR                                                                        NEW WHITELAND    IN   46184‐1006
STINGER, DANIEL H           10580 GREENTREE DR                                                                        CARMEL           IN   46032‐9660
STINGER, RICHARD J          305 N WICKSHIRE LN                                                                        DURAND           MI   48429‐1421
STINGER, SCOTT T            10425 BIG TREE CIR E                                                                      JACKSONVILLE     FL   32257
STINGER, WALTER D           5367 DENSAW ROAD                                                                          NORTHPORT        FL   34287‐2845
STINGER, WALTER D           5367 DENSAW RD                                                                            NORTH PORT       FL   34287‐2845
STINGL, JOSEPH              S67W13779 HARDWICKE PL                                                                    MUSKEGO          WI   53150‐3218
STINGLEY MOORE              110 MONROE MOORE RD                                                                       MORTON           MS   39117‐9002
STINGLEY, CARL D            6417 MOUNTAIN MESA AVENUE                                                                 LAS VEGAS        NV   89156‐7529
STINGLEY, DAVID L           683 METAL FORD RD                                                                         HOHENWALD        TN   38462‐5212
STINGLEY, NORMAN L          214 W 226TH ST                                                                            CARSON           CA   90745‐3719
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Name                                  Address1                       Address2                 Address3    Address4         City            State Zip
STINGONE BARBARA & JOSEPH             PO BOX 24372                                                                         JACKSONVILLE     FL 32241‐4372
STINGRAY CHEVROLET                    2002 N FRONTAGE RD                                                                   PLANT CITY       FL 33563‐2700
STINGRAY CHEVROLET, LLC               STEPHEN HURLEY                 2002 N FRONTAGE RD                                    PLANT CITY       FL 33563‐2700
STININGER, ANDREA L                   2827 1ST ST                                                                          MONROE           MI 48162‐4301
STINNARD HARRIGAN                     93 HAVILAND ST                                                                       BRISTOL          CT 06010‐5658
STINNER STEPHANIE D                   2508 LINCOLN BLVD                                                                    ELIZABETH        PA 15037‐2915
STINNETT CHEVROLET, BUICK, PONTIAC,   1041 W HWY 25‐70                                                                     NEWPORT          TN

STINNETT CHEVROLET, BUICK, PONTIAC,   1041 W HWY 25‐70                                                                     NEWPORT         TN 37821
GEO, INC.
STINNETT CHEVROLET, BUICK, PONTIAC,   HUBERT STINNETT                1041 W HWY 25‐70                                      NEWPORT         TN 37821
GEO, INC.
STINNETT JAMES (630513)               BRAYTON PURCELL                PO BOX 6169                                           NOVATO          CA   94948‐6169
STINNETT JR, CHARLES W                14515 BAPTIST CAMP RD                                                                HARVEST         AL   35749‐7517
STINNETT, ANNA                        1307 NORTH FACTORY STREET                                                            FAIRMOUNT       IN   46928‐1142
STINNETT, ARLON B                     8348 ENGLAND ST                                                                      OVERLAND PARK   KS   66212‐3562
STINNETT, ARVIL L                     310 HESTER AVE APT 106                                                               DONNA           TX   78537
STINNETT, ASHBY E                     2441 ALLOWAY DR                                                                      FORT WORTH      TX   76119‐2712
STINNETT, CARMEN M                    2850 ATHENS CIR                                                                      CORONA          CA   92882‐6140
STINNETT, CHARLES E                   6818 FLEMING RD                                                                      FLINT           MI   48504‐1620
STINNETT, DAVID O                     3366 WILLIAMS ST                                                                     WAYNE           MI   48184‐1116
STINNETT, DEANNA D                    7325 FERGUSON RD                                                                     OZAWKIE         KS   66070
STINNETT, DONALD                      840 LEXINGTON AVE                                                                    FLINT           MI   48507‐1636
STINNETT, ELLEN M                     20146 SW 1150TH RD                                                                   WELDA           KS   66091‐9139
STINNETT, ELMUS                       APT 4                          4233 WEST COURT STREET                                FLINT           MI   48532‐4300
STINNETT, ELMUS                       4233 W COURT ST APT 4                                                                FLINT           MI   48532‐4300
STINNETT, HARLEN                      2225 MALLERY ST                                                                      FLINT           MI   48504‐3133
STINNETT, HARVEY                      4835 FLETCHER AVE                                                                    FORT WORTH      TX   76107‐6828
STINNETT, JAMES                       BRAYTON PURCELL                PO BOX 6169                                           NOVATO          CA   94948‐6169
STINNETT, JAMES C                     20146 SW 1150TH RD                                                                   WELDA           KS   66091‐9139
STINNETT, JANET L                     2225 MALLERY ST                                                                      FLINT           MI   48504
STINNETT, JESSIE                      3048 GEHRING DR                                                                      FLINT           MI   48506‐2262
STINNETT, JESSIE M                    3048 GEHRING DR                                                                      FLINT           MI   48506‐2262
STINNETT, JORETHA                     756 11TH ST SE                                                                       MASSILLON       OH   44646‐8210
STINNETT, JOSEPH C                    3368 OLYMPIC LN                                                                      MT PLEASANT     SC   29466‐8998
STINNETT, MARGIE L                    1813 CRESTBROOK LN                                                                   FLINT           MI   48507‐5336
STINNETT, MARY J                      15231 FIELDING RD                                                                    ATHENS          AL   35611‐8028
STINNETT, MARY L                      202 W MARENGO                                                                        FLINT           MI   48505‐3261
STINNETT, MARY L                      202 W MARENGO AVE                                                                    FLINT           MI   48505‐3261
STINNETT, RICHARD
STINNETT, RICHARD D                   PO BOX 15                                                                            WHITELAND       IN   46184‐0015
STINNETT, ROBERT L                    1218 ELDORADO DR                                                                     FLINT           MI   48504‐3218
STINNETT, ROSIE L                     22010 W 71ST TERRACE                                                                 SHAWNEE         KS   66227‐2111
STINNETT, RUTH A                      111 CHITWOOD DR                                                                      ANDERSON        IN   46012‐1001
STINNETT, SARAH OVAL                  726 FAIRLANE DRIVE                                                                   LIVINGSTON      CA   95334
STINNETT, TROY                        2966 QUARTZ DR                                                                       TROY            MI   48085‐3958
STINNETT, VERSIE L                    6405 ALLISON DR                                                                      FLINT           MI   48504‐1627
STINNETT, WILLIAM                     2920 MONROE ST                                                                       BELLWOOD        IL   60104‐2238
STINNETT, WILLIAM A                   1019 HIGHLAND AVE                                                                    RICHMOND        KY   40475‐9707
STINNETTE, HASSAIN                    PO BOX 34                                                                            WAYNE           MI   48184‐0034
STINNETTE, RANDOLPH C                 17 MARBELLA LN                                                                       HOT SPRINGS     AR   71909‐2914
STINNETTS AUTO PARTS                  RR1 BOX 437 HWY 5                                                                    WOODSTOCK       AL   35188
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Name                                 Address1                          Address2                      Address3   Address4                 City            State Zip
STINSO, JENNIE J.                    45248 DUNBARTON DR                                                                                  NOVI             MI 48375‐3807
STINSON AUTOMOTIVE INC.              2121 DUNDAS ST. E.                                                         MISSISSAUGA ON L4X 1M3
                                                                                                                CANADA
STINSON CRAIG S                      STINSON, GRAIG S
STINSON DOROTHY                      4220 N BALDWIN RD                                                                                   OWOSSO          MI   48867‐9420
STINSON I I, JOHN M                  PO BOX 5                                                                                            MARKLEVILLE     IN   46056‐0005
STINSON JAMES (ESTATE OF) (473491)   LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                           MIAMI           FL   33143‐5163
STINSON JAMES E (429881)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510
                                                                       STREET, SUITE 600
STINSON JAMES R (186189)             (NO OPPOSING COUNSEL)
STINSON JANE                         1908 COLONEL SAM DR                                                        OSHAWA CANADA ON L1H
                                                                                                                8P7 CANADA
STINSON JENNIFER                     3930 N MICHAEL RD                                                                                   ANN ARBOR       MI   48103‐9344
STINSON JOHN M                       5929 SEARL TER                                                                                      BETHESDA        MD   20816‐2022
STINSON MAG & FIZZELL                100 S 4TH ST                                                                                        SAINT LOUIS     MO   63102
STINSON MORRISON HECKER LLP          1201 WALNUT ST STE 2800           PO BOX 419251                                                     KANSAS CITY     MO   64106‐2159
STINSON MORRISON HECKER, LLP         ATTN ALAN G. GERSON               168 NORTH MERAMEC STE 400                                         ST. LOUIS       MO   63105
STINSON ROBERT L (496409)            ANGELOS PETER G                   100 N CHARLES STREET , ONE                                        BALTIMORE       MD   21201
                                                                       CHARLES CENTER
STINSON, ALICE L                     11221 N MIDWEST BLVD                                                                                JONES           OK   73049‐5821
STINSON, ASA R                       256 CHEROKEE LOOP                                                                                   RISING FAWN     GA   30738‐4158
STINSON, BETTY E                     1916 DOUGLAS CIR                                                                                    IRVING          TX   75062‐5310
STINSON, BETTY L                     3121 LAKE MICHIGAN DRIVE                                                                            GRAND RAPIDS    MI   49504
STINSON, BOBBY L                     13631 ANGOLA RD                                                                                     SWANTON         OH   43558‐9155
STINSON, BRIAN PATRICK               703 E WILLIAMSBURG MNR                                                                              ARLINGTON       TX   76014‐1204
STINSON, CAPRICE                     5272 VILLAGE WAY                                                                                    NASHVILLE       TN   37211‐6245
STINSON, CARL L                      21492 THATCHER                                                                                      DETROIT         MI   48219‐2553
STINSON, CARL L                      1749 HIGHWAY 212 SW                                                                                 CONYERS         GA   30094‐4252
STINSON, CARLTON                     PO BOX 325                                                                                          DEFIANCE        OH   43512‐0325
STINSON, CHRISTINE M                 PO BOX 212                                                                                          LUTHERSVILLE    GA   30251‐0212
STINSON, CLIFFORD                    32410 PARDO ST                                                                                      GARDEN CITY     MI   48135‐1244
STINSON, CLIFFORD L                  3382 CHERRY AVE., R4                                                                                ALBION          NY   14411
STINSON, CLYDE                       PORTER & MALOUF PA                4670 MCWILLIE DR                                                  JACKSON         MS   39206‐5621
STINSON, CRAIG S                     33 BASKET BR                                                                                        FENTON          MI   48430‐8778
STINSON, DALE                        154 W 900 N                                                                                         ALEXANDRIA      IN   46001‐8388
STINSON, DARRELL G                   6386 W FRANCES RD                                                                                   CLIO            MI   48420‐8549
STINSON, DARRELL GENE                6386 W FRANCES RD                                                                                   CLIO            MI   48420‐8549
STINSON, DAVID E                     5604 W OLD STONE RD                                                                                 MUNCIE          IN   47304‐6730
STINSON, DAVID E                     2683 N COUNTY ROAD 650 W                                                                            GREENCASTLE     IN   46135‐7401
STINSON, DAVID E                     12908 S 36TH ST                                                                                     BELLEVUE        NE   6123‐2176
STINSON, DAVID E                     4024 STANTON DR                                                                                     FORT WAYNE      IN   46815‐5044
STINSON, DAVID L                     3477 WEST BLVD                                                                                      CLEVELAND       OH   44111‐1203
STINSON, DONALD C                    1170 N TRAIL CT NE                                                                                  COMSTOCK PARK   MI   49321‐8289
STINSON, DONALD C                    3323 VALLEY OAK DR                                                                                  LOVELAND        CO   80538‐8922
STINSON, DONALD R                    671 VAN BUREN AVE                                                                                   MOUNT MORRIS    MI   48458‐1550
STINSON, DOROTHY A                   3615 CREEKWOOD DR                                                                                   SAGINAW         MI   48601‐5604
STINSON, DOROTHY I                   3699 E ROSEBUSH RD                                                                                  ROSEBUSH        MI   48878‐8702
STINSON, DOROTHY J                   4220 N BALDWIN RD                                                                                   OWOSSO          MI   48867‐9420
STINSON, EARNESTINE                  4103 HAROLD                                                                                         SAGINAW         MI   48601‐4130
STINSON, ELMORE E                    3149 BIRCH LANE DR                                                                                  FLINT           MI   48504‐1201
STINSON, ELTON C                     7515 S CHAPPEL AVE                                                                                  CHICAGO         IL   60649‐3915
STINSON, ELVIA M                     5716 W 64TH ST                                                                                      CHICAGO         IL   60638‐5510
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Name                    Address1                           Address2                      Address3   Address4         City            State Zip
STINSON, ERNEST E       2291 SIGNATURE DR N                                                                          XENIA            OH 45385‐9101
STINSON, ESTAL E        6727 W 14TH ST                                                                               INDIANAPOLIS     IN 46214‐3422
STINSON, EVERETT G      4418 W 143RD ST                                                                              CLEVELAND        OH 44135‐2004
STINSON, FORREST L      122 THATCH PALM WAY                                                                          LARGO            FL 33770
STINSON, G J            EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                       DETROIT          MI 48265‐2000

STINSON, GARY B         4064 W 300 S                                                                                 ANDERSON        IN   46011‐9489
STINSON, GENE A         11112 SHORESIDE DR                                                                           OKLAHOMA CITY   OK   73170‐2540
STINSON, GENE A         17975 E GREENWOOD DR UNIT 1416                                                               AURORA          CO   80013‐7669
STINSON, GEORGE I       4016 LONG LAKE DR S                                                                          ELLENTON        FL   34222‐4479
STINSON, GERALD W       12803 N OAK DR                                                                               CAMBY           IN   46113‐8474
STINSON, GLEN           6506 KAREN DR                                                                                FLINT           MI   48504‐1680
STINSON, GLORIA D       1081 CABOT DR                                                                                FLINT           MI   48532‐2679
STINSON, HANSFORD G     5636 E US HIGHWAY 40                                                                         FILLMORE        IN   46128‐9410
STINSON, HARRIET C      1742 TISBURY DR NW                                                                           KENNESAW        GA   30152‐6919
STINSON, HARRY A        1103 SHORELINE DR                                                                            HOUGHTON LAKE   MI   48629‐8818
STINSON, HAZEL          7 LAMBETH RD                                                                                 BURLINGTON      NJ   08016‐2907
STINSON, HAZEL L        1125 FAIRFAX ST                                                                              FLINT           MI   48505‐2905
STINSON, HERMAN         6241 AUSTIN DR SW                                                                            MABLETON        GA   30126‐4307
STINSON, HERMAN R       4625 INGHAM ST                                                                               LANSING         MI   48911‐2959
STINSON, JAMES          LIPMAN DAVID M                     5901 SW 74TH ST STE 304                                   MIAMI           FL   33143‐5163
STINSON, JAMES E        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                           STREET, SUITE 600
STINSON, JAMES E        9975 N 850 W                                                                                 DALEVILLE       IN   47334
STINSON, JAMES R        3033 ARAMINGO AVE                                                                            PHILADELPHIA    PA   19134‐4315
STINSON, JAMES S        1906 BOYSENBERRY CT                                                                          CHARLOTTE       NC   28216‐8919
STINSON, JANE E         5800 STANLEY RD                                                                              COLUMBIAVILLE   MI   48421‐8951
STINSON, JANET L        3312 GARBETT STREET                                                                          MCKEESPORT      PA   15132‐5451
STINSON, JANET L        2620 JENNY LIND ST APT 1                                                                     MCKEESPORT      PA   15132‐5036
STINSON, JANICE N       4934 BETHESDA DUPLEX RD                                                                      COLLEGE GROVE   TN   37046‐9258
STINSON, JASON T        204 HIGHLAND AVE                                                                             LEBANON         OH   45036
STINSON, JASPER C       2078 NORTH AVE NW                                                                            ATLANTA         GA   30318‐6352
STINSON, JEFFREY B      6142 WELLWATER WAY                                                                           LITHONIA        GA   30058‐3501
STINSON, JIMMIE R       7126 CHANDLER DR                                                                             INDIANAPOLIS    IN   46217‐4086
STINSON, JOAN L         1216 GARFIELD AVE                                                                            MOUNT MORRIS    MI   48458‐1714
STINSON, JOHN E         7087 ABBEY LN                                                                                SWARTZ CREEK    MI   48473‐1568
STINSON, JOHN K         905 S DEVONSHIRE RD                                                                          YORKTOWN        IN   47396‐9667
STINSON, JOHN KENNETH   905 S DEVONSHIRE RD                                                                          YORKTOWN        IN   47396‐9667
STINSON, JOHN L         6760 BENT GRASS DR SE                                                                        GRAND RAPIDS    MI   49508‐7872
STINSON, KARON          8804 S COUNTY ROAD 825 E                                                                     CLOVERDALE      IN   46120‐9080
STINSON, KATHALINE E    814 BROADWAY AVE                                                                             OWOSSO          MI   48867‐4506
STINSON, KATRINA A      PO BOX 642                         105 5TH ST                                                VERPLANCK       NY   10596‐0642
STINSON, KERRY J        4934 BETHESDA DUPLEX RD                                                                      COLLEGE GROVE   TN   37046‐9258
STINSON, KEVIN          915 LOCUST ST                                                                                MIDDLETOWN      IN   47356‐1223
STINSON, KEVIN W        915 LOCUST ST                                                                                MIDDLETOWN      IN   47356‐1223
STINSON, KURT J         5205 W JUDDVILLE RD                                                                          OWOSSO          MI   48867‐9419
STINSON, LARRY          2501 HEATHER BROOK LN APT 407                                                                ARLINGTON       TX   76006‐5167
STINSON, LARRY          5108 KENNINGTON LN                                                                           OKLAHOMA CITY   OK   73150‐4410
STINSON, LARRY G        512 REDWOOD DR                                                                               MOORESVILLE     IN   46158‐7614
STINSON, LLOYD G        2403 HAMMOND PL                                                                              WILMINGTON      DE   19808‐4208
STINSON, LOLA H         3732 S WALNUT DR                                                                             KINGMAN         IN   47952‐8117
STINSON, LORI A         15063 ARTESIAN STREET                                                                        DETROIT         MI   48223‐2264
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Name                   Address1                        Address2                    Address3   Address4         City              State Zip
STINSON, LUCY M        3149 BIRCH LANE DR                                                                      FLINT              MI 48504‐1201
STINSON, LUCY M        3149 BIRCHLANE DR                                                                       FLINT              MI 48504‐1201
STINSON, M             1104 W 2ND ST                                                                           ANDERSON           IN 46016‐2377
STINSON, MALCOLM K     8303 W PURDUE DR                                                                        MIDDLETOWN         IN 47356‐9724
STINSON, MARGIE        25 GEORGETOWN CT                                                                        DEARBORN           MI 48126‐3400
STINSON, MARLENE J     90 MEYER RD APT 221                                                                     AMHERST            NY 14226‐1003
STINSON, MARVIN G      807 N 4TH ST                                                                            DE SOTO            MO 63020‐1421
STINSON, MARVIN J      6710 FLEMING RD                                                                         FLINT              MI 48504‐1679
STINSON, MARY E        3632 48TH ST                                                                            MERIDIAN           MS 39305‐2531
STINSON, MARY J        4024 RALPH LN S                                                                         FRESNO             CA 93727‐7558
STINSON, MARY L        19170 WALTHAM ST                                                                        DETROIT            MI 48205‐2123
STINSON, MARY L        2515 LORENTZ DR                                                                         SUMTER             SC 29154‐7073
STINSON, MATTIE M      7387 BERKSHIRE RD                                                                       SUNBURY            OH 43074‐8354
STINSON, MAX E         30840 MUSCALONGE TRL                                                                    NEWBERRY           MI 49868‐8246
STINSON, MAXINE M      9120 STATE ROUTE 49                                                                     ANSONIA            OH 45303‐9707
STINSON, MICHAEL D     1505 E 31ST ST                                                                          ANDERSON           IN 46016‐5627
STINSON, MICHAEL J     986 CRYOLITE PL                                                                         CASTLE ROCK        CO 80108‐3084
STINSON, MONICA L      5108 KENNINGTON LN                                                                      OKLAHOMA CITY      OK 73150‐4410
STINSON, NANCY H       2176 DREW ST NE                                                                         BELMONT            MI 49306‐8875
STINSON, NANCY H       2176 DREW DRIVE NORTHEAST                                                               BELMONT            MI 49306
STINSON, NAPOLEON C    15804 PINEHURST ST                                                                      DETROIT            MI 48238‐1017
STINSON, NEIL L        7576 E 1000 N                                                                           OSSIAN             IN 46777‐9215
STINSON, NOMA          703 E WILLIAMSBURG MNR                                                                  ARLINGTON          TX 76014‐1204
STINSON, NOMA          703 WILLIAMSBURG MANOR                                                                  ARLINGTON          TX 76014‐1204
STINSON, NORMAN C      8804 S COUNTY ROAD 825 E                                                                CLOVERDALE         IN 46120‐9080
STINSON, NORMAN O      19170 WALTHAM ST                                                                        DETROIT            MI 48205‐2123
STINSON, PHYLLIS B     1669 BELLEDEER DR W                                                                     CORDOVA            TN 38016‐3537
STINSON, PHYLLIS J     11000 FORT GEORGE RD                                                                    JACKSONVILLE       FL 32226‐2444
STINSON, RALPH A       20875 WATERSCAPE WAY                                                                    NOBLESVILLE        IN 46062‐8373
STINSON, RALPH E       621 S 4TH ST                                                                            DUGGER             IN 47848‐8052
STINSON, RAYMOND J     591 MEADOWVIEW LN                                                                       ELK RAPIDS         MI 49629‐9560
STINSON, REBECCA M     4051 GREEN HAWK TRL                                                                     DECATUR            GA 30035‐2757
STINSON, RHONDALYN     1104 REMINGTON RANCH RD                                                                 MANSFIELD          TX 76063‐5732
STINSON, RICHARD F     1363 AUTUMN LN                                                                          ROCHESTER HLS      MI 48306‐4208
STINSON, RICK J        PO BOX 368                                                                              BRIDGEPORT         MI 48722‐0368
STINSON, RICKEY V      43106 BRADLEY DR                                                                        BELLEVILLE         MI 48111‐5375
STINSON, ROBERT C      101 JOSEPH DR RM 410                                                                    MIDLAND            MI 48542‐9600
STINSON, ROBERT D      2925 LINCOLN ST                                                                         ANDERSON           IN 46016‐5141
STINSON, ROBERT D      820 JEFFERSON ST                                                                        ALEXANDRIA         IN 46001
STINSON, ROBERT J      3696 MAIN ST APT 29                                                                     MINERAL RIDGE      OH 44440‐9715
STINSON, ROBERT K      4010 S BLUE SPRUCE CT                                                                   OWOSSO             MI 48867‐8741
STINSON, ROBERT L      4020 LEERDA ST                                                                          FLINT              MI 48504‐2139
STINSON, ROBERT L      ANGELOS PETER G                 100 N CHARLES STREET, ONE                               BALTIMORE          MD 21201‐3812
                                                       CHARLES CENTER
STINSON, ROBERT L.     4828 CARRINGTON DR                                                                      ROCHESTER HILLS   MI   48306‐1496
STINSON, RODNEY P      77 BEVERLY AVE                                                                          LOCKPORT          NY   14094‐2551
STINSON, ROGER B       6404 WINTER RUN DR SE           SOUTHEAST                                               ADA               MI   49301‐9072
STINSON, RONALD K      1400 S TIGER DR                                                                         YORKTOWN          IN   47396‐9316
STINSON, RONALD KENT   1400 S TIGER DR                                                                         YORKTOWN          IN   47396‐9316
STINSON, ROY           PO BOX 170                                                                              FALKVILLE         AL   35622‐0170
STINSON, SALLIE M      502 E PARKWAY AVE                                                                       FLINT             MI   48505‐5243
STINSON, SAMUEL L      1451 RIPPLEWOOD DR                                                                      DANVILLE          IN   46122‐9190
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Name                         Address1                        Address2                   Address3   Address4         City               State Zip
STINSON, SHEA D              1311 OAKLAND DR                                                                        ANDERSON            IN 46012‐4539
STINSON, SHEA DANIEL         1311 OAKLAND DR                                                                        ANDERSON            IN 46012‐4539
STINSON, SHIRLEY J.          5332 CASEY WAY APT D                                                                   INDIANAPOLIS        IN 46221‐8611
STINSON, SHIRLEY J.          5332 CASEY WAY                  APT D                                                  INDIANAPOLIS        IN 46221
STINSON, STEVE D             2830 CHEROKEE LN                                                                       NEW CASTLE          IN 47362‐5310
STINSON, SUZAN G             14500 CUTTEN RD APT 21205                                                              HOUSTON             TX 77059‐1013
STINSON, SUZAN G             14500 CUTTEN RD                 APT 21205                                              HUSTON              TX 77069
STINSON, TERRY J             9097 W 1000 S35                                                                        LA FONTAINE         IN 46940‐9613
STINSON, THEODRIC            5100 OLD FRANKLIN RD                                                                   GRAND BLANC         MI 48439‐8629
STINSON, THERESA S.          11218 LAKE RD APT 2                                                                    OTISVILLE           MI 48463‐797
STINSON, VERA J              7087 ABBEY LN                                                                          SWARTZ CREEK        MI 48473‐1568
STINSON, VIRGIL              4221 MADISON AVE                                                                       ANDERSON            IN 46013‐1436
STINSON, WALKER K            1704 BEAUPRE AVE                                                                       MADISON HTS         MI 48071‐2670
STINSON, WALTER L            13517 HAGERS FERRY RD                                                                  HUNTERSVILLE        NC 28078‐7440
STINSON, WALTER LOUIS        1410 W STEWART AVE                                                                     FLINT               MI 48504‐2234
STINSON, WENDELL G           1273 STONEGATE RD                                                                      GREENWOOD           IN 46142‐5008
STINSON, WESLEY D            14152 RUTLAND STREET                                                                   DETROIT             MI 48227‐1316
STINSON, WILLARD R           5119 SANDALWOOD CIR                                                                    GRAND BLANC         MI 48439‐4267
STINSON, WILLIAM H           3149 BIRCH LANE DR                                                                     FLINT               MI 48504‐1201
STINSON, WILLIAM P           13069 SUITS US LN                                                                      PARKS               AR 72950‐8802
STINSON, WILLIE C            2918 N WILLIAMS RIDGE RD                                                               ECKERTY             IN 47116‐9505
STINSON, WILMER H            63 RYAN RD                                                                             EVA                 AL 35621‐7651
STINSON, ZELMA L             1052 INA CIR                                                                           FRANKLIN            IN 46131‐9193
STINSON, ZELMA L             1052 INA CIRCLE                                                                        FRANKLIN            IN 46131‐9193
STINSON‐JACKSON, PHYLLIS Q   7262 MANSFIELD ST                                                                      DETROIT             MI 48228‐3640
STINSON‐SANDERS, PAULA       3115 S MICHIGAN AVE APT 103                                                            CHICAGO              IL 60616‐3783
STINVIL, ROBERT J            3817 NW 85TH TER APT C                                                                 KANSAS CITY         MO 64154‐3791
STINZIANO, PATRICIA A        121 JOHN ST                                                                            SYRACUSE            NY 13208‐2741
STINZIANO, PATRICIA A        8186 ROSEVILLE LN                                                                      EAST AMHERST        NY 14051
STINZIANO, RICHARD J         5085 KENSINGTON HIGH ST                                                                NAPLES              FL 34105‐5647
STIPA JR, THEODORE F         112 COLFAX RD                                                                          NEWARK              DE 19713‐2002
STIPANOVIC, JEFFERY L        12058 STATE HIGHWAY 243                                                                CLOVERDALE          IN 46120
STIPCAK, DONALD J            2774 OCEAN OAKS DR N                                                                   FERNANDINA BEACH    FL 32034‐4825
STIPE, JOHN H                420 ASHFORD CT                                                                         INDIANAPOLIS        IN 46214‐2678
STIPEK WILLIAM D (502805)    ANGELOS PETER G LAW OFFICE      1300 N MARKET ST STE 212                               WILMINGTON          DE 19801‐1813
STIPEK, ROBERT L             42915 RIVERGATE DR                                                                     CLINTON TWP         MI 48038‐5556
STIPEK, WILLIAM D            ANGELOS PETER G LAW OFFICE      1300 N MARKET ST STE 212                               WILMINGTON          DE 19801‐1813
STIPES, JO E                 108 PALE MOON DR                                                                       PELZER              SC 29669‐8913
STIPES, RAY E                216 MEADOWLARK LN                                                                      SAINT CHARLES       MO 63301‐1249
STIPKOVICH, MARK             23167 LEONORA DR                                                                       WOODLAND HILLS      CA 91367‐6125
STIPLOSEK, JOHN I            26301 JOY RD                                                                           DEARBORN HTS        MI 48127‐1176
STIPP I I I, HARLEY H        101 BASSFORD AVE                                                                       LA GRANGE            IL 60525‐1729
STIPP, DONALD L              4127 W 200 S                                                                           PORTLAND            IN 47371
STIPP, GEORGE L              8 MCWILLIAMS ST                                                                        ST AUGUSTINE        FL 32084‐3110
STIPP, LOIS M.               1162 TWIN PONDS RD                                                                     NEWBERRY            SC 29108‐6928
STIREMAN, BETH A             7905 ARCADE LAKE LN                                                                    CITRUS HEIGHTS      CA 95610‐5170
STIREMAN, ROBERT R           4271 WILSON RD                                                                         INDIAN RIVER        MI 49749‐9483
STIREMAN, STEVEN E           3257 S EXTENSION RD                                                                    CHEBOYGAN           MI 49721‐9752
STIREMAN, VIOLET             4271 WILSON RD                                                                         INDIAN RIVER        MI 49749‐9483
STIRES, ALMA E               625 E WATER ST APT 9                                                                   PENDLETON           IN 46064‐9378
STIRES, LINDA K              PO BOX 1756                                                                            CORBIN              KY 40702‐1756
STIRES, LINDA K              P O BOX 1756                                                                           CORBIN              KY 40702‐1756
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Name                               Address1                        Address2                        Address3   Address4         City             State Zip
STIRES, THOMAS M                   1379 BICENTENNIAL PKWY                                                                      ANN ARBOR         MI 48108‐7917
STIRGEL FRASHIER                   8590 BUTLER WARREN RD                                                                       MASON             OH 45040‐9712
STIRGWOLT, MARTHA R                643 W CAMBOURNE ST                                                                          FERNDALE          MI 48220‐1261
STIRIZ, ANTHONY P                  2811 CASTLETON AVE                                                                          TOLEDO            OH 43613‐3354
STIRIZ, ANTHONY PAUL               2811 CASTLETON AVE                                                                          TOLEDO            OH 43613‐3354
STIRK, DONALD A                    15522 MILLION DOLLAR HWY                                                                    ALBION            NY 14411
STIRK, YOLANDA M                   24 ASHLAND ST                                                                               ROCHESTER         NY 14620‐1202
STIRK, YOLANDA M                   24 ASHLAND STREET                                                                           ROCHESTER         NY 14620‐4620
STIRL MAIDEN                       1650 NEW CUT RD                                                                             JEFFERSONVILLE    KY 40337‐9061
STIRLEN, CHRISTOPHE A              116 WILDERNESS LAKE CT                                                                      MILFORD           MI 48380‐1346
STIRLEN, CHRISTOPHE ADAM           116 WILDERNESS LAKE CT                                                                      MILFORD           MI 48380‐1346
STIRLING JR, JOHN N                1199 WEAVER FARM LN                                                                         SPRING HILL       TN 37174‐2186
STIRLING KODAMA                    11160 AMESTOY AVE                                                                           GRANADA HILLS     CA 91344‐4110
STIRLING MARY‐KAY                  124 LAURA LN                                                                                THORNTON           IL 60476‐1034
STIRLING PONTIAC‐GMC‐BUICK         1100 VANDERCOOK WAY                                                                         LONGVIEW          WA 98632‐4025
STIRLING, BETH E                   8238 LONGVIEW DR NE                                                                         WARREN            OH 44484‐1932
STIRLING, BUENA                    50 BEVERLY AVE                                                                              LOCKPORT          NY 14094‐2502
STIRLING, CASEY J                  45641 MARGATE DR                                                                            MACOMB            MI 48044‐4180
STIRLING, GERALD J                 6547 ELIZABETH ST                                                                           GARDEN CITY       MI 48135‐2004
STIRLING, HEATHER M                104 OAKDALE PL                                                                              CORTLAND          OH 44410‐1671
STIRLING, JOHN R                   12900 VONN RD                   APT B102                                                    LARGO             FL 33774‐2531
STIRLING, LARRY R                  7368 DRAKE STATELINE RD NE                                                                  BURGHILL          OH 44404‐9718
STIRLING, NEIL B                   936 PINE AVE                                                                                LAKE ORION        MI 48362‐2445
STIRLING, PAUL M                   715 S FRANKLIN AVE                                                                          FLINT             MI 48503‐5358
STIRLING, ROBERT W                 PO BOX 874                                                                                  HOUGHTON LAKE     MI 48629‐0874
STIRLING, ROSE MARIE               2254 DOWELL BRANCH RD                                                                       COLUMBIA          TN 38401‐1537
STIRLING, ROSE MARIE               1955 UNION PLACE                APT. F89                                                    COLUMBIA          TN 38401
STIRM, KENNETH J                   1305 RENFREW ST                 LOT 195                                                     OWASSO            MI 48867‐4749
STIRM, KENNETH J                   1305 RENFREW STREET                                                                         OWOSSO            MI 48867‐4749
STIRM, KENNETH JOHN                1305 RENFREW STREET                                                                         OWOSSO            MI 48867‐4749
STIRM, WILLIAM D                   5709 34TH CT W                                                                              BRADENTON         FL 34210‐3550
STIRN ORVIE (448015)               KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                               CLEVELAND         OH 44114
                                                                   BOND COURT BUILDING
STIRN, DAVID V                     7209 COLONIAL DR                                                                            LAMBERTVILLE     MI 48144‐9567
STIRN, DAVID VERNON                7209 COLONIAL DR                                                                            LAMBERTVILLE     MI 48144‐9567
STIRN, ORVIE                       KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                CLEVELAND        OH 44114
                                                                   BOND COURT BUILDING
STIRN, WALTER P                    8012 METCALF RD                                                                             METAMORA         IN   47030‐9608
STIRRAT, CLARENCE E                6302 W SWEETWATER AVE                                                                       GLENDALE         AZ   85304‐1034
STIRRAT, THOMAS A                  2716 HAWTHORN RD                                                                            GLENN HEIGHTS    TX   75154
STIRRAT, THOMAS A                  2716 HAWTHORNE DR                                                                           RED OAK          TX   75154
STIRRAT, THOMAS ANDREW             2716 HAWTHORN RD                                                                            GLENN HEIGHTS    TX   75154
STIRRETT, KATHLEEN W               PO BOX 87                                                                                   OWENDALE         MI   48754‐0087
STIRRETT, KENNETH A                11840 WAITELEY DR                                                                           STERLING HTS     MI   48313‐2469
STISHAN JR, FRANK M                3530 RIDGELAWN AVE SE                                                                       WARREN           OH   44484‐3650
STISHAN, DEBORAH H                 162 CASSANDRA DR                                                                            NILES            OH   44446‐2035
STISLICKI, RAYMOND C               6756 BURNLY ST                                                                              GARDEN CITY      MI   48135‐2038
STISSER, KEVIN H                   3126 MICHAEL LN                                                                             ANDERSON         IN   46011‐2007
STISSER, ROBERT                    122 LAKEWOOD VLG                                                                            MEDINA           NY   14103‐1848
STITCHES AND DESIGNS WITH MUSCLE
CARS IN MIND, LLC
STITCHICK, CARL A                  15421 VALERIE DR                                                                            MACOMB            MI 48044‐2479
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Name                         Address1                             Address2                       Address3                      Address4         City               State Zip
STITELY, JANET R             1429 JEFFREY DR                                                                                                    NORTH HUNTINGDON    PA 15642‐1419
STITELY, RONALD L            34 HILLTOP TRL                                                                                                     FAIRFIELD           PA 17320‐8135
STITES & HARBISON PLLC       400 W MARKET ST STE 1800                                                                                           LOUISVILLE          KY 40202‐3362
STITES & HARBISON PLLC       ATTY FOR BRIDGESTONE AMERICAS TIRE   ATT: ROBERT C. GOODRICH JR &   401 CHURCH STREET, SUITE                       NASHVILLE           TN 37219
                             OPERATIONS, LLC                      MADISON L. MARTIN              800
STITES & HARBISON, PLLC      ATTY FOR AKEBONO CORP.               ATT: BRIAN H. MELDRUM, ESQ.    400 W. MARKET STREET, SUITE                    LOUISVILLE          KY   40202
                                                                                                 1600
STITES JAMES L (641341)      CASCINO MICHAEL P                    220 SOUTH ASHLAND AVENUE                                                      CHICAGO            IL    60607
STITES RICHARD (662773)      JOYCE MICHAEL P                      201 DEVONSHIRE ST STE 407                                                     BOSTON             MA    02110‐1416
STITES, BARBARA              208 S. JUDKINS                                                                                                     LIMA               OH    45805‐2669
STITES, BARBARA              208 S JUDKINS AVE                                                                                                  LIMA               OH    45805‐2669
STITES, BARRY W              178 W RUNDELL ST                                                                                                   PONTIAC            MI    48342‐1271
STITES, BERTHA L             3000 N APPERSON WAY TRLR 380                                                                                       KOKOMO             IN    46901‐1302
STITES, BEVERLY A            9727 MOONSTONE PLACE                                                                                               MC CORDSVILLE      IN    46055‐9449
STITES, DENNIS L             14514 SHORELINE DR                                                                                                 WOLVERINE          MI    49799‐9684
STITES, GORDON L             11572 SIAM                                                                                                         BROOKLYN           MI    49230
STITES, JAMES L              CASCINO MICHAEL P                    220 SOUTH ASHLAND AVENUE                                                      CHICAGO            IL    60607
STITES, KILEY E              3463 HIXON RD                                                                                                      ROCHESTER          MI    48306‐1239
STITES, LOIS E               117 RAYMOND ST                                                                                                     NAPOLEON           OH    43545‐2139
STITES, MARK E               539 N CONKLIN RD                                                                                                   LAKE ORION         MI    48362‐1817
STITES, MARY T               5895 MARSH RD APT 122                                                                                              HASLETT            MI    48840
STITES, NANCY Y              11572 E SIAM CT                                                                                                    BROOKLYN           MI    49230‐9209
STITES, RICHARD K            1 MAKEFIELD RD APT C123                                                                                            MORRISVILLE        PA    19067‐5061
STITES, RICHARD K            JOYCE MICHAEL P                      201 DEVONSHIRE ST STE 407                                                     BOSTON             MA    02110‐1416
STITES, RONALD E             312 4TH AVE                                                                                                        PONTIAC            MI    48340‐2851
STITES, ROSE M               539 N CONKLIN RD                                                                                                   LAKE ORION         MI    48362‐1817
STITES, SHIRLEY              108 RAINIER DR                                                                                                     COLUMBIA           TN    38401‐5910
STITES, SUE E.               253 GLENBROOKE APT 11107                                                                                           WATERFORD          MI    48327‐2129
STITH, CLOYD G               2254 OAKRIDGE DR                                                                                                   FARWELL            MI    48622‐9751
STITH, DEBORAH G             J 1104 LOCUST ST                                                                                                   ANDERSON           IN    46012
STITH, DEMPLE                3705 EVERGREEN PKWY                                                                                                FLINT              MI    48503‐4565
STITH, DONALD R              678 OLD HICKORY LN SW                                                                                              LILBURN            GA    30047‐2227
STITH, ELAINE H              1916 MORTON ST                                                                                                     ANDERSON           IN    46016‐4153
STITH, GARY T                N‐7687 STATE RD 52                                                                                                 LILY               WI    54491
STITH, GEORGE M              2517 SORREL CT                                                                                                     ANDERSON           IN    46012‐4485
STITH, JAMES A               APT A                                1334 WICKLOW COURT                                                            CARY               NC    27511‐5325
STITH, JASON P               306 HEMLOCK LANE                                                                                                   OSWEGO             IL    60543‐3500
STITH, LARRY L               267 LINWOOD LN                                                                                                     WABASH             IN    46992‐1134
STITH, LUDY L                4814 BLUFFWOOD DR. NORTH                                                                                           INDIANAPOLIS       IN    46228‐2914
STITH, MARILYN B             2517 SORREL CT                                                                                                     ANDERSON           IN    46012‐4485
STITH, MARY ANN              9061 CYPRESS DR. SOUTH                                                                                             FORT MYERS         FL    33912‐3230
STITH, RICHARD S             1426 W 13TH ST                                                                                                     ANDERSON           IN    46016‐3304
STITHAM, ANDREW              36105 SHADY BLUFF LOOP                                                                                             ZEPHYRHILLS        FL    33541‐2718
STITMAN CHARLES J (439547)   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA    23510
                                                                  STREET, SUITE 600
STITMAN, CHARLES J           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA 23510‐2212
                                                                  STREET, SUITE 600
STITT RONALD J (346967)      GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA 23510
                                                                  STREET, SUITE 600
STITT, ARCHIE L              1918 CLEMENT ST                                                                                                    FLINT              MI 48504‐3189
STITT, BRIAN C               8301 NW 111TH TER                                                                                                  OKLAHOMA CITY      OK 73162‐2103
STITT, CARL E                10604 PRAIRIE LN                                                                                                   OKLAHOMA CITY      OK 73162‐4043
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Name                         Address1                       Address2                      Address3   Address4                 City            State Zip
STITT, CHARLES E             3567 E 1450 N                                                                                    SUMMITVILLE      IN 46070‐8924
STITT, DEBORA A              409 W PULASKI AVE                                                                                FLINT            MI 48505‐3391
STITT, DOUGLAS A             9585 HENDERSON RD                                                                                CORUNNA          MI 48817‐9751
STITT, DOUGLAS ALLAN         9585 HENDERSON RD                                                                                CORUNNA          MI 48817‐9751
STITT, FRANK J               182 E BUDD ST                                                                                    SHARON           PA 16146‐1825
STITT, GEORGE R              9428 SASHABAW RD                                                                                 CLARKSTON        MI 48348‐2026
STITT, HAROLD R              704 GRANT ST                                                                                     WILLIAMSPORT     IN 47993‐1324
STITT, HARVEY L              611 E WALNUT ST                PO BOX 253                                                        SUMMITVILLE      IN 46070‐9710
STITT, JOAN MARY             4113 TUXEDO AVE                                                                                  FLINT            MI 48507‐5323
STITT, JOAN MARY             4113 TUXEDO ST                                                                                   FLINT            MI 48507‐5323
STITT, LEO T                 3141 S REED RD                                                                                   KOKOMO           IN 46902‐3758
STITT, LILLIE B              1474 TAYLOR ST                                                                                   DETROIT          MI 48206‐2030
STITT, LILLIE B              1474 TAYLOR                                                                                      DETROIT          MI 48206‐2030
STITT, LISA A                3141 S REED RD                                                                                   KOKOMO           IN 46902
STITT, MANUEL L              47 WESTON AVE                                                                                    BUFFALO          NY 14215‐3329
STITT, PIERRE B              2030 CONNOLLY DR                                                                                 TROY             MI 48098‐2418
STITT, REBA B                2754 W 900 N                                                                                     ALEXANDRIA       IN 46001‐8255
STITT, ROBERT G              35 WALKER FARM RD                                                                                RIMERSBURG       PA 16248‐6343
STITT, RONALD J              GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA 23510‐2212
                                                            STREET, SUITE 600
STITT, SANDRA F              2220 PEBBLE BEACH DR                                                                             KOKOMO          IN   46902‐3123
STITT, SHIRLEY               506 E DEWEY                                                                                      FLINT           MI   48505‐4242
STITT, SHIRLEY               506 E DEWEY ST                                                                                   FLINT           MI   48505‐4242
STITT, SHIRLEY M             182 E BUDD ST                                                                                    SHARON          PA   16146‐1825
STITT, SHIRLEY M             182 E BUDD STREET                                                                                SHARON          PA   16146‐1825
STITT‐RIPBERGER, CYNTHIA J   809 E SOUTHWAY BLVD                                                                              KOKOMO          IN   46902‐4357
STITTS, DONALD G             1812 REARICK RD                                                                                  SHELOCTA        PA   15774‐8438
STITTS, E L                  725 E DIXON ST                                                                                   KOKOMO          IN   46901‐3047
STITTS, L C                  704 E BROADWAY ST                                                                                KOKOMO          IN   46901‐3003
STITTS, MATTHEW M            16551 DRAKE RD                                                                                   STRONGSVILLE    OH   44136‐7309
STITTS, PATSY E              812 NORTH PURDUM STREET                                                                          KOKOMO          IN   46901‐3042
STITTS, VIRGINIA L           724 E MULBERRY ST                                                                                KOKOMO          IN   46901‐4759
STITTS, WILLIAM R            16551 DRAKE RD                                                                                   STRONGSVILLE    OH   44136‐7309
STITTSVILLE AUTOMOTIVE       69 NEIL AVE.                                                            STITTSVILLE ON K2S 1B9
                                                                                                     CANADA
STITZEL, GARY D              1494 ST RT 603, R1                                                                               ASHLAND         OH   44805
STITZEL, KARL E              145 2ND AVE                                                                                      GALION          OH   44833‐2807
STITZLEY WALTER              132 N GLENWOOD AVE                                                                               PONTIAC         MI   48342‐1505
STIVASON, MARGARET           1100 W DIVISION ST                                                                               CADILLAC        MI   49601‐1738
STIVASON, MICHAEL H          2150 W MOORESTOWN RD                                                                             LAKE CITY       MI   49651‐9343
STIVEN, JERRY                2920 N M 18                                                                                      ROSCOMMON       MI   48653‐8597
STIVEN, SANDRA K             6218 N BELSAY RD                                                                                 FLINT           MI   48506‐1250
STIVENDER, MARGARET L        1730 HAMILTON DR                                                                                 BLOOMFIELD      MI   48302‐0221
STIVENSON, ROBERT G          3904 SNODGRASS RD                                                                                MANSFIELD       OH   44903‐8928
STIVER CLARENCE W (626790)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510
                                                            STREET, SUITE 600
STIVER JR, CHARLES R         1915 STIVER LN                                                                                   CHARLOTTE       MI   48813‐7812
STIVER JR, F G               6091 W XY AVE                                                                                    SCHOOLCRAFT     MI   49087‐9117
STIVER, ALAN R               9300 STERLING RD                                                                                 JEROME          MI   49249‐9545
STIVER, APRIL L              800 UNION BLVD APT 201                                                                           ENGLEWOOD       OH   45322
STIVER, BETTY JEAN           1221 LUCAYA AVE                                                                                  VENICE          FL   34285‐6424
STIVER, BETTY L              10253 E HOUGHTON LAKE DR                                                                         HOUGHTON LAKE   MI   48629‐8630
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Name                      Address1                       Address2                      Address3   Address4         City               State Zip
STIVER, CLARENCE W        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                         STREET, SUITE 600
STIVER, DARYL L           23 TERRENCE CT                                                                           W CARROLLTON       OH   45449‐1372
STIVER, DONALD E          408 S COUNTY ROAD 650 W                                                                  CONNERSVILLE       IN   47331‐7701
STIVER, HAROLD T          1221 LUCAYA AVE                                                                          VENICE             FL   34285‐6424
STIVER, HILBERT E         124 MALLARD GLEN DR APT 3                                                                CENTERVILLE        OH   45458‐3477
STIVER, JERRY L           22345 CUTLER RD                                                                          HOWARD CITY        MI   49329‐9123
STIVER, JOSEPHINE B       2476 S PATTERSON BLVD                                                                    KETTERING          OH   45409‐1834
STIVER, MARION F          821 RIDGELAWN AVE                                                                        HAMILTON           OH   45013‐2709
STIVER, PATTIE S          4250 SODOM HUTCHINGS RD                                                                  CORTLAND           OH   44410‐9790
STIVER, RICHARD L         1332 STEPHENS RD.                                                                        W. MANCHESTER      OH   45382‐9736
STIVER, RONALD E          6649 COUNTRY LN                                                                          BELLEVILLE         MI   48111‐4434
STIVER, SANDRA M          16500 QUARRY RD APT 336                                                                  SOUTHGATE          MI   48195
STIVER, SANDRA S          23 TERRENCE CT                                                                           W CARROLLTON       OH   45449‐1372
STIVER, TINA A            6150 W MICHIGAN AVE U 10                                                                 LANSING            MI   48917
STIVER, WILLIAM C         7574 WEXFORD STREET                                                                      NORTH PORT         FL   34287‐5538
STIVER,DARYL L            23 TERRENCE CT                                                                           W CARROLLTON       OH   45449‐1372
STIVERS HOMER             STIVERS, HOMER                 920 HEMINGWAY DRIVE                                       DELTONA            FL   32725
STIVERS JR, RAWLINS C     12931 WOODBINE                                                                           REDFORD            MI   48239‐2615
STIVERS JULIE             16128 3RD DR NE                                                                          ARLINGTON          WA   98223‐5489
STIVERS, DONALD E         1932 ST CLAIR ST                                                                         WILLIAMSTOWN       OH   45011
STIVERS, DORIS A          1500 OTTAWA DRIVE                                                                        XENIA              OH   45385‐4332
STIVERS, ELBERT F         1961 ABERDEEN RD                                                                         MADISON            OH   44057‐1812
STIVERS, HOMER            920 HEMINGWAY DR                                                                         DELTONA            FL   32725‐7316
STIVERS, JOHN M           209 E DWIGHT ST                                                                          LANSING            MI   48906‐4308
STIVERS, JOHN R           1078 HAYES AVE                                                                           HAMILTON           OH   45015‐2022
STIVERS, LYNN A           3905 STILLWELL RD                                                                        HAMILTON           OH   45013‐9167
STIVERS, MARGARET         14226 ROYAL TARA DR                                                                      ORLANDO            FL   32826‐5709
STIVERS, MARIE M          4720 KENTFIELD DR.                                                                       DAYTON             OH   45426‐1822
STIVERS, PAUL A           420 MIRAGE DR                                                                            KOKOMO             IN   46901‐7035
STIVERS, PHILIP E         17 NEWTON DR                                                                             PLEASANT HILL      OH   45359‐9608
STIVERS, STEVEN A         1835 CONTINENTAL DR                                                                      ZIONSVILLE         IN   46077‐8705
STIVERSON, THOMAS O       1192 SUGAR HOLLOW ROAD                                                                   LA FOLLETTE        TN   37766‐5857
STIVES, DONALD H          2108 LLEWELLYN PKWY                                                                      FORKED RIVER       NJ   08731‐5624
STIX TRANSPORTATION INC   PO BOX 54644                                                                             LEXINGTON          KY   40555‐4644
STJAMES, BRADLEY          1209 MONDRIAN LOOP                                                                       VIRGINIA BEACH     VA   23453‐3068
STJAMES, JERRY L          11141 LENNON RD                                                                          SWARTZ CREEK       MI   48473‐8508
STJEFAN DEDVUKAJ          562 BARRINGTON PARK                                                                      BLOOMFIELD HILLS   MI   48304‐2122
STJEPAN BALOG             30814 SCRIVO DR                                                                          WARREN             MI   48092‐4959
STJEPAN KUCMANIC          4545 LISA LN                                                                             N ROYALTON         OH   44133‐3209
STJEPAN POTURICA          19417 ARROWHEAD AVE                                                                      CLEVELAND          OH   44119‐2244
STJOHN, DONALD L          2935 PEARCE RD                                                                           N TONAWANDA        NY   14120‐1135
STJOHN, DONALD R          1921 FARMDALE                                                                            MINERAL RIDGE      OH   44440‐9506
STJOHN, DONALD R          1921 FARMDALE AVE                                                                        MINERAL RIDGE      OH   44440‐9506
STJOHN, JOHN R            6143 S MOHAWK AVE                                                                        YPSILANTI          MI   48197‐9710
STJOHN, LARRY W           PO BOX 54                                                                                MONCLOVA           OH   43542‐0054
STJOHN, LARRY WILLIAM     PO BOX 54                                                                                MONCLOVA           OH   43542‐0054
STJOHN, NORMAN A          15261 THORNTON RD.                                                                       FT. MYERS          FL   33908‐3908
STJOHN, SAMUEL R          7182 S.R. 45 N.W.                                                                        N. BLOOMFIELD      OH   44450‐9719
STJOHN, SAMUEL R          7182 STATE ROUTE 45                                                                      NORTH BLOOMFIELD   OH   44450‐9719
STJOHN, WILLIAM R         9312 ELAINE DR                                                                           SWARTZ CREEK       MI   48473‐8555
STLUKA, RICHARD D         104 MAPLE ST                                                                             FERRYVILLE         WI   54628‐7037
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Name                           Address1                        Address2                      Address3                  Address4                 City                  State Zip
STMARIE, JOAN M                3000 MEADOW LN NE               APT 103                                                                          WARREN                 OH 44483‐2624
STMARIE, JOAN M                3000 MEADOW LANE APT 103                                                                                         WARREN                 OH 44483‐2624
STMARYS HERITAGE FAM           3570 SHATTUCK RD                                                                                                 SAGINAW                MI 48603‐3153
STMICHEL, DONALD A             PO BOX 120                                                                                                       GALVESTON              IN 46932‐0120
STMICHEL, SHIRLEY R            541 W KENILWORTH LN                                                                                              GALVESTON              IN 46932
STMICROELECTRONICS             1310 ELECTRONICS DR             M/S 2340                                                                         CARROLLTON             TX 75006‐7005
STMICROELECTRONICS INC         2745 ALBRIGHT RD                                                                                                 KOKOMO                 IN 46902‐3996
STOAKES, CHARLES K             PO BOX 212                                                                                                       IONIA                  MI 48846‐0212
STOAKES, PATRICIA J            PO BOX 212                                                                                                       IONIA                  MI 48846‐0212
STOAKLEY, MARTHA               696 W HOLLYWOOD                                                                                                  DETROIT                MI 48203‐1997
STOAKLEY, MILTON D             1504 DORCHESTER AVE                                                                                              BALTIMORE              MD 21207‐5021
STOAKS, PAULA J                PO BOX 442                                                                                                       SIDELL                  IL 61876‐0442
STOAKS, PAULA J                P.O. BOX 442                                                                                                     SIDELL                  IL 61876‐0442
STOBART WILLIAM (627662)       HESSION JAMES                   200 S SAGINAW ST                                                                 SAINT CHARLES          MI 48655‐1400
STOBART, GARY O                312 NIGHTSHADE LN                                                                                                DUNCAN                 SC 29334
STOBART, INA                   41793 PRIMROSE DR                                                                                                NOVI                   MI 48377‐4533
STOBART, WILLIAM               HESSION JAMES                   200 S SAGINAW ST                                                                 SAINT CHARLES          MI 48655‐1400
STOBART, WILLIAM A             41793 PRIMROSE DR                                                                                                NOVI                   MI 48377‐4533
STOBAUGH, KEITH C              24661 HIGHWAY 190                                                                                                LACOMBE                LA 70445‐4505
STOBAUGH, KURT S               24126 QUAD PARK LN                                                                                               CLINTON TWP            MI 48035‐3020
STOBB, MICHAEL A               9075 N 306 W                                                                                                     HUNTINGTON             IN 46750‐9713
STOBB, TERRI M.                9075 N 306 W                                                                                                     HUNTINGTON             IN 46750‐9713
STOBBE, B W                    13011 W BLUE SKY DR                                                                                              SUN CITY WEST          AZ 85375‐1815
STOBBE, DAVID F                1958 ALTON CIR                                                                                                   COMMERCE TOWNSHIP      MI 48390‐2605
STOBBE, MARION A               21800 MORLEY AVE APT 308                                                                                         DEARBORN               MI 48124‐2340
STOBBE, RANDALL W              129 OKEMA LN                                                                                                     LOUDON                 TN 37774‐3158
STOBBE, WILLIAM J              6814 N BALTIMORE AVE                                                                                             GLADSTONE              MO 64118‐2413
STOBBER, THOMAS J              TRLR 29                         1515 SOUTH MILLER AVENUE                                                         MARION                 IN 46953‐1158
STOBBS SALES, INC.             304 E 3RD ST                                                                                                     MILLER                 SD 57362‐1515
STOBBS SALES, INC.             KEITH STOBBS                    304 E 3RD ST                                                                     MILLER                 SD 57362‐1515
STOBER, STEVEN R               2630 LAFAYETTE AVE                                                                                               LANSING                MI 48906‐2766
STOBERT, DOROTHY M             2554 COMMERCE LN.               APT. 105                                                                         IONIA                  MI 48846
STOBERT, DOROTHY M             2554 COMMERCE LN APT 105                                                                                         IONIA                  MI 48846‐9820
STOBIE, CHARLES J              S5787 APOLLO DRIVE                                                                                               LAKE VIEW              NY 14085
STOCCHI, ANGELO D              15640 LAUREN                                                                                                     FRASER                 MI 48026‐2629
STOCCHINO MARIA                VIA NAZIONZALE                                                                          8040 CARDEDU NU ITALY
STOCCO JOHN R (626791)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                      NORFOLK               VA 23510
                                                               STREET, SUITE 600
STOCCO, ANTOINETTE M           402‐1037 MCDOUGALL ST                                                                   WINDSOR ON CANADA N9A‐
                                                                                                                       1M2
STOCCO, JOHN R                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                      NORFOLK               VA 23510‐2212
                                                               STREET, SUITE 600
STOCHINO ADELINA               38299922                        STOCHINO ADELINA              BANCO DI SARDEGNA CASELLA 8045 LANUSEI OG ITALY
                                                                                             32
STOCHITOIU, LILIANA            51735 WESTPORT CT                                                                                                GRANGER               IN   46530‐8222
STOCHITOIU, MARCEL A           51735 WESTPORT CT                                                                                                GRANGER               IN   46530‐8222
STOCHL TIRE INC                8525 MORGANFORD RD                                                                                               SAINT LOUIS           MO   63123‐6830
STOCHL, FRANK C                58 STOLL LN                                                                                                      SAINT PETERS          MO   63376‐1650
STOCK & LEADER                 PO BOX 5167                                                                                                      YORK                  PA   17405‐5167
STOCK BUILDING SUPPLY          PO BOX 460                                                                                                       FRASER                MI   48026‐0460
STOCK BUILDING SUPPLY CREDIT   ATTN: BETH WILLIAMS             10941 PIERSON DR                                                                 FREDERICKSBURG        VA   22408‐2070
STOCK DRIVE/NEW YORK           2101 JERICHO TURNPIKE           NEW HYDE PARK                                                                    NORTH NEW HYDE PARK   NY   11040
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Name                                    Address1                         Address2                      Address3   Address4         City            State Zip
STOCK DROP CASE ‐ DELPHI ‐ INSURED BY   NO ADVERSE PARTY
AIG
STOCK EQUIPMENT COMPANY INC             3290 PAYSPHERE CIR                                                                         CHICAGO         IL    60674‐0032
STOCK GERRY                             3840 205TH LN NW                                                                           ANOKA           MN    55303‐9003
STOCK JR, JOHN A                        16743 RICHARDS DR                                                                          TINLEY PARK     IL    60477‐6556
STOCK JR, WILLIAM H                     404 S JONES BLVD                                                                           LAS VEGAS       NV    89107‐2658
STOCK JR, WILLIAM H                     404 SOUTH JONES BLVD                                                                       LAS VEGAS       NV    89107‐2658
STOCK LAURI                             STOCK, LAURI                     16496 BERNARDO CENTER DRIVE                               SAN DIEGO       CA    92128
                                                                         SUITE 101
STOCK TOM                               STOCK, TOM                       8115 OBERLIN RD                                           ELYRIA          OH    44035
STOCK TRANSPORT                         10037 FAUST RD                                                                             LEBANON         IL    62254‐2819
STOCK, ALLEN                            25915 W RIVER RD                                                                           GROSSE ILE      MI    48138‐1613
STOCK, BARBARA H                        1817 E BEAVER RD                                                                           KAWKAWLIN       MI    48631‐9122
STOCK, BONNIE S                         4353 EDMORE RD                                                                             WATERFORD       MI    48329‐3609
STOCK, CHARLES F                        PO BOX 241                                                                                 CARO            MI    48723‐0241
STOCK, DONALD A                         705B SE MELODY LN                APT 218                                                   LEES SUMMIT     MO    64063
STOCK, DONALD A                         PO BOX 1049                                                                                CALIPITRIA      CA    92233
STOCK, DONNA                            31844 BAY CT                                                                               WESTLAND        MI    48186‐4706
STOCK, DOROTHY                          960 TECUMSEH AVE                                                                           WATERFORD       MI    48327‐3138
STOCK, DOROTHY                          960 TECUMSEH                                                                               WATERFORD       MI    48327‐3138
STOCK, ELWOOD M                         21 AVIEMORE DR 21                                                                          MASON           MI    48854
STOCK, ERICK H                          62 CEDAR DR                                                                                PACIFIC         MO    63069‐6504
STOCK, GLENDA S                         514 S HARRISON ST                                                                          ALEXANDRIA      IN    46001‐2428
STOCK, GLENNA M                         2041 PABCO RD                                                                              HENDERSON       NV    89011‐2500
STOCK, GREGORY A                        640 LAKESIDE DR                                                                            CANTON          GA    30115
STOCK, GREGORY D                        925 ROLLING HILLS LN APT 1                                                                 LAPEER          MI    48446‐4789
STOCK, GREGORY DANIAL                   925 ROLLING HILLS LN APT 1                                                                 LAPEER          MI    48446‐4789
STOCK, HANS H                           69 ROBERTS ACRE DR                                                                         TROY            MO    63379‐5616
STOCK, JAMES J                          1975 LAKE RANCH RD                                                                         KISSEE MILLS    MO    65680‐8460
STOCK, JAMES L                          6281 ISLAND LAKE DR                                                                        EAST LANSING    MI    48823‐9734
STOCK, JEFFREY M                        4353 EDMORE RD                                                                             WATERFORD       MI    48329‐3609
STOCK, JESSIE M                         7472 HARTLAND RD                                                                           FENTON          MI    48430‐9422
STOCK, JOHN                             20836 WATERSCAPE WAY                                                                       NOBLESVILLE     IN    46062‐8368
STOCK, JOHN A                           1413 STONEY POINT DR                                                                       LANSING         MI    48917‐1449
STOCK, JOHN H                           20836 WATERSCAPE WAY                                                                       NOBLESVILLE     IN    46062‐8368
STOCK, JOSEPH W                         4201 CLINTON CEMETERY RD                                                                   EDGEWATER       FL    32141‐7129
STOCK, JULIANA R                        31979 N LARKSPUR DR                                                                        QUEEN CREEK     AZ    85243‐5822
STOCK, JUNE O                           108 WINTERGREEN DR                                                                         NOBLESVILLE     IN    46062‐8537
STOCK, KENNETH J                        110 E. MACK ST.                  SHIAWASSEE COUNTY PROBATE                                 CORUNNA         MI    48817
                                                                         COURT
STOCK, KEVIN M                          APT 5                            38 CHARTER OAK PLACE                                      HARTFORD        CT    06106‐1988
STOCK, LAURA F                          1408 SOUTHWEST 22ND STREET                                                                 BLUE SPRINGS    MO    64015‐5227
STOCK, LAURA F                          1408 SW 22ND ST                                                                            BLUE SPRINGS    MO    64150‐5227
STOCK, LAURI                            MCCOY TURNAGE & ROBERTSON        16496 BERNARDO CENTER DRIVE                               SAN DIEGO       CA    92128
                                                                         SUITE 101
STOCK, LEONARD W                        2121 OUTER DR                                                                              SARASOTA        FL    34231‐4313
STOCK, LESLIE A                         13567 SPRING CREEK RD SW                                                                   FIFE LAKE       MI    49633‐9075
STOCK, MARGARET L                       302 FAGLEY ST                                                                              BALTIMORE       MD    21224‐2526
STOCK, MARIE O                          1516 E 43RD ST                                                                             ANDERSON        IN    46013‐2508
STOCK, MARY I                           325 B CLAYTON CROSSING                                                                     BALLWIN         MO    63011
STOCK, MICHAEL S                        13567 SPRING CREEK RD SW                                                                   FIFE LAKE       MI    49633‐9075
STOCK, PATRICIA A                       PO BOX 42                                                                                  PARROTTSVILLE   TN    37843‐0042
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Name                                Address1                          Address2                    Address3   Address4              City            State Zip
STOCK, PEARL A                      1917 S BELMONT AVE                                                                             SPRINGFIELD      OH 45505‐4401
STOCK, PEARL A                      1917 S. BELMONT AVE                                                                            SPRINGFIELD      OH 45505‐4401
STOCK, RONALD G                     205 LAMBERT AVE                                                                                FLAGLER BEACH    FL 32136‐3200
STOCK, RONALD J                     2810 ASHTON DR                                                                                 SAGINAW          MI 48603‐2977
STOCK, ROSALIE A                    15257 US 83 EXPY LOT 99                                                                        HARLINGEN        TX 78552‐4761
STOCK, ROSALIE A                    15257 N INTERSTATE 83             LOT 99                                                       HARLINGEN        TX 78552‐4761
STOCK, SHERRY M                     1711 HADLEY RD                                                                                 LAPEER           MI 48446‐9788
STOCK, SIDNEY R                     88 N 470 E                                                                                     SMITHFIELD       UT 84335‐1128
STOCK, SOPHIE                       23 SPRUCE ST                                                                                   BRENTWOOD        NY 11717‐3812
STOCK, TERRY A                      1770 FISHER VIN RD                                                                             DEL RIO          TN 37727
STOCK, TOM                          8115 OBERLIN RD                                                                                ELYRIA           OH 44035‐1915
STOCK, WESLEY J                     APT 401                           2035 SOUTH INDIANA AVENUE                                    CHICAGO           IL 60616‐2464
STOCKALL, JANET D                   1033 CANTEBURY DR                                                                              GREENCASTLE      IN 46135‐1439
STOCKAMP, RYAN W                    1515 HURON AVE                                                                                 ROYAL OAK        MI 48073‐4714
STOCKARD MARTHA                     401 MONTI DRIVE                                                                                LEWISVILLE       TX 75057‐2249
STOCKARD, ARLENE A                  273 FIVE POINTS RD                                                                             LORETTO          TN 38469‐2745
STOCKARD, DAMIKCO K                 4848 GREENLAWN DR                                                                              FLINT            MI 48504
STOCKARD, FRANK J                   PO BOX 30711                                                                                   MIDWEST CITY     OK 73140‐3711
STOCKARD, JOHN P                    25530 CARL ST                                                                                  ROSEVILLE        MI 48066‐5801
STOCKARD, LONNIE C                  71 TEBEAU CT                                                                                   AUBURN HILLS     MI 48326‐3063
STOCKARD, MARGARET I                27683 PALOMINO DR                                                                              WARREN           MI 48093‐8326
STOCKARD, MICHAEL L                 165 FRANKLIN LAKE CIR                                                                          OXFORD           MI 48371‐3665
STOCKARD, ROBERT D                  71 TEBEAU CT                                                                                   AUBURN HILLS     MI 48326‐3063
STOCKARD, SHARON Y                  4516 PRATT LN                                                                                  FRANKLIN         TN 37064‐7600
STOCKARD, STEVEN H                  1439 WOLCOTT ST                                                                                FLINT            MI 48504‐4025
STOCKBERGER, RUTH A                 1803 W BARNER ST                                                                               FRANKFORT        IN 46041‐1514
STOCKBERGER, VERLIE                 PO BOX 326                                                                                     MICHIGANTOWN     IN 46057‐0326
STOCKBRIDGE ENGINEERING             PAUL ISSELMANN                    831 S. MILITARY ROAD                                         STOCKBRIDGE      WI 53088
STOCKBRIDGE MANUFACTURING INC       PAUL ISSELMANN                    831 S. MILITARY ROAD                                         ANGOLA           IN 46703
STOCKBRIDGE, JOHN M                 83 CAE MAIR                                                              BEAUMARIS GWYNEDD
                                                                                                             UNITED KINGDOM LL58
STOCKBRIDGE, JOHN N                 24507 BETHANY WAY                                                                              NOVI            MI   48375‐2824
STOCKBURGER CHEVROLET, INC.         215 S STATE ST                                                                                 NEWTOWN         PA   18940‐1927
STOCKCROSS FINANCIAL SERVICES INC   77 SUMMER STREET                                                                               BOSTON          MA   02110
STOCKDALE TECHNOLOGIES, INC.        BLAKE GUILES                      104 COMMERCE ST                                              LAKE MARY       FL   32746‐6206
STOCKDALE TIMOTHY                   5200 ASPENWOOD CIR NW                                                                          NORTH CANTON    OH   44720‐8401
STOCKDALE, AGNES S                  2706 WHITEHOUSE DR                                                                             KOKOMO          IN   46902‐3028
STOCKDALE, BETTY LOUISE             PO BOX 214                                                                                     ELWOOD          IN   46036‐0214
STOCKDALE, BEULAH S                 2061 TURNBULL RD                                                                               BEAVERCREEK     OH   45431‐3226
STOCKDALE, CARLA Y                  9041 HARRISON RUN CT                                                                           INDIANAPOLIS    IN   46256‐1890
STOCKDALE, CINDY W                  3859 BRANDOMYNE AVE                                                                            YOUNGSTOWN      OH   44511‐1917
STOCKDALE, DOROTHY M                821 WESTMINSTER LN                                                                             KOKOMO          IN   46901
STOCKDALE, HELEN                    P.O 18196                                                                                      CINCINNATI      OH   45218
STOCKDALE, LAVELLE                  233 NANCE CIRCLE                                                                               PARIS           TN   38242‐5641
STOCKDALE, LAVELLE                  233 NANCE CIR                                                                                  PARIS           TN   38242‐5641
STOCKDALE, LEE A                    3440 2ND ST. N. E.                                                                             TUSCALOOSA      AL   35405
STOCKDALE, LOWELL G                 5615 US HIGHWAY 42                                                                             MOUNT GILEAD    OH   43338‐9792
STOCKDALE, THOMAS R                 1978 20TH ST                                                                                   ALLEGAN         MI   49010‐9546
STOCKDALE, TIMOTHY R                302 BECKET DR APT 5                                                                            BRIGHTON        MI   48116‐1126
STOCKE JAMES E                      2638 ESCH AVE                                                                                  ANN ARBOR       MI   48104‐6258
STOCKE, JAMES E                     2638 ESCH AVE                                                                                  ANN ARBOR       MI   48104‐6258
STOCKE, THOMAS W.                   4201 CANYON POINT CIR                                                                          ROSWELL         GA   30076‐5133
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Name                         Address1                              Address2                      Address3   Address4         City              State Zip
ST╓CKEL MANFRED              STR▄MPELLSTR. 8
STOCKEL, ERIC
STOCKEL, RONALD D            628 TENNYSON                                                                                    ROCHESTER HILLS   MI    48307‐4248
STOCKER CHEVROLET, INC.      701 BENNER PIKE                                                                                 STATE COLLEGE     PA    16801‐7313
STOCKER CHEVROLET, INC.      WILBUR STOCKER                        701 BENNER PIKE                                           STATE COLLEGE     PA    16801‐7313
STOCKER DANIEL R             12510 PINECREST DR                                                                              PLYMOUTH          MI    48170‐3061
STOCKER ELEANORE (657437)    GELMAN JON L                          1700 STATE ROUTE 23 STE 120                               WAYNE             NJ    07470‐7537
STOCKER HINGE MFG CO         8822 47TH ST                                                                                    BROOKFIELD        IL    60513‐2516
STOCKER HINGE MFG CO         GARY MAKI                             8822 W. 47TH ST./PO BOX 149                               PORTAGE           MI    49002
STOCKER HINGE MFG.           GARY MAKI                             8822 W. 47TH ST./PO BOX 149                               PORTAGE           MI    49002
STOCKER HOWARD D & EDITH E   3513 LAYER RD SW                                                                                WARREN            OH    44481‐9191
STOCKER JR, DENVER D         6450 SEYMOUR RD                                                                                 SWARTZ CREEK      MI    48473‐7607
STOCKER WILLIAM & KAY        3625 LAYER RD SW                                                                                WARREN            OH    44481‐9191
STOCKER WILLIAM H            3625 LAYER RD SW                                                                                WARREN            OH    44481‐9191
STOCKER, ALAN F              PO BOX 665                                                                                      ELLICOTTVILLE     NY    14731‐0665
STOCKER, ALBERT L            1502 BEGOLE ST                                                                                  FLINT             MI    48503‐1236
STOCKER, ANNIE W             6841 LOWER RICHLAND BLVD                                                                        HOPKINS           SC    29061‐8836
STOCKER, BARBARA             284 BRANTWOOD RD                                                                                SNYDER            NY    14226‐4308
STOCKER, BERNARD L           3338 W FRANCES RD                                                                               CLIO              MI    48420‐8557
STOCKER, BERNARD LEE         3338 W FRANCES RD                                                                               CLIO              MI    48420‐8557
STOCKER, BETTY J             1820 PARKMAN RD NW                                                                              WARREN            OH    44485‐1742
STOCKER, BRETT S             282 S EDISON AVE                                                                                ELGIN             IL    60123‐7213
STOCKER, BRIAN L             1231 BEL AIR DR                                                                                 FLINT             MI    48507‐3303
STOCKER, BRIAN MATTHEW       CARCIONE JOSEPH W JR LAW OFFICES OF   PO BOX 3389                                               REDWOOD CITY      CA    94064‐3389

STOCKER, CHARLES H           56273 CHIANTI DR                                                                                SHELBY TOWNSHIP   MI    48316‐5088
STOCKER, DALE F              3007 BAZETTA RD                                                                                 CORTLAND          OH    44410‐9211
STOCKER, DALE F              3007 HOAGLAND BLACKSTUB RD                                                                      CORTLAND          OH    44410‐9211
STOCKER, DANIEL E            2466 SUNSET STRIP                                                                               GRAYLING          MI    49738‐6957
STOCKER, DANIEL R            12510 PINECREST DR                                                                              PLYMOUTH          MI    48170‐3061
STOCKER, DAVID C             1705 N DEXTER ST                                                                                FLINT             MI    48506‐4242
STOCKER, DAVID CHARLES       1705 N DEXTER ST                                                                                FLINT             MI    48506‐4242
STOCKER, DELORES V           P.O. 486‐L                                                                                      LANGHORNE         PA    19047‐0486
STOCKER, ELEANORE            GELMAN JON L                          1700 STATE ROUTE 23           STE 120                     WAYNE             NJ    07470‐7537
STOCKER, FOREST C            883 FLOYD MCCREE DR                                                                             FLINT             MI    48503
STOCKER, FOREST CHESTER      883 FLOYD MCCREE DR                                                                             FLINT             MI    48503
STOCKER, FRIEDRICH           426 SMALLS FERRY RD                                                                             NEW CASTLE        PA    16102‐2832
STOCKER, HANNELORE           PO BOX 665                                                                                      ELLICOTTVILLE     NY    14731‐0665
STOCKER, HANS S              8502 INDIAN LAKE DR                                                                             FINDLAY           OH    45840‐8832
STOCKER, HAROLD L            1211 INDEPENDENCE BLVD                                                                          PLAINFIELD        IN    46168‐3269
STOCKER, HAROLD R            516 IVYHURST RD N                                                                               BUFFALO           NY    14226‐2345
STOCKER, HOWARD D            3513 LAYER ROAD                                                                                 WARREN            OH    44481‐9191
STOCKER, HOWARD D            3513 LAYER RD SW                                                                                WARREN            OH    44481‐9191
STOCKER, IDA W               479 RIDGE RD APT#B‐4                                                                            NEWTON FALLS      OH    44444‐1268
STOCKER, IRENE               516 NO IVYHURST RD                                                                              BUFFALO           NY    14226‐2345
STOCKER, JACULINE A          8627 COOLEY LAKE RD APT 305                                                                     COMMERCE TWP      MI    48382‐4700
STOCKER, JOSEPH D            21769 CUSHING AVE                                                                               EASTPOINTE        MI    48021‐2428
STOCKER, KENNETH A           13319 E RED COAT DR                                                                             LEMONT            IL    60439‐8155
STOCKER, KENNETH W           7526 BANNER ST                                                                                  NEW PORT RICHEY   FL    34653‐2916
STOCKER, LAVERN              3310 MUSKET DR                                                                                  COLUMBUS          GA    31907‐2973
STOCKER, MAURICA G           4106 GREENBROOK LN                                                                              FLINT             MI    48507‐2265
STOCKER, MELISSA             160 N MAPLELEAF RD                                                                              LAPEER            MI    48446‐8003
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Name                               Address1                       Address2            Address3         Address4         City              State Zip
STOCKER, NEOMA B                   PO BOX 596                                                                           MOUNT MORRIS       MI 48458‐0596
STOCKER, NORMAN E                  1952 RANCHO VERDE CIR E        C/O WILMA STOCKER                                     DANVILLE           CA 94526‐6220
STOCKER, PAUL W                    117 E GRACELAWN AVE                                                                  FLINT              MI 48505‐2705
STOCKER, ROBERT A                  5199 MAHONING AVE NW                                                                 WARREN             OH 44483
STOCKER, ROBERT W                  5081 BALDWIN RD                                                                      SWARTZ CREEK       MI 48473‐9173
STOCKER, RONALD J                  6435 JOHNSON RD                                                                      FLUSHING           MI 48433‐1137
STOCKER, RUTH T                    3007 HOAGLAND BLACKSTUB RD                                                           CORTLAND           OH 44410‐9211
STOCKER, RUTH T                    3007 BAZETTA RD                                                                      CORTLAND           OH 44410‐9211
STOCKER, SCOTT R                   119 NORTH GENESEE AVENUE                                                             PONTIAC            MI 48341‐1108
STOCKER, SCOTT ROBERT              119 NORTH GENESEE AVENUE                                                             PONTIAC            MI 48341‐1108
STOCKER, THELMA M                  116 W JACKSON AVE                                                                    FLINT              MI 48505‐4052
STOCKER, THELMA N                  434 W GENESEE ST                                                                     FLINT              MI 48505‐4038
STOCKER, VIRGIE L                  3509 RANGELEY DRIVE                                                                  FLINT              MI 48503
STOCKER, WARREN G                  PO BOX 878                                                                           FLINT              MI 48501‐0878
STOCKER, WARREN G                  1916 JASMINE AVE                                                                     FLINT              MI 48503‐4086
STOCKER, WERNER H                  997 WOODCLIFF DRIVE                                                                  YOUNGSTOWN         NY 14174
STOCKER, WILLIAM H                 3625 LAYER RD.                                                                       WARREN             OH 44481‐9191
STOCKER, WILLIAM H                 3625 LAYER RD SW                                                                     WARREN             OH 44481‐9191
STOCKERL, ADOLF J                  1957 REGINA DR                                                                       LAKE ALFRED        FL 33850‐6303
STOCKERO, ERNEST                   330 PRINCETON AVE                                                                    SANTA BARBARA      CA 93111‐1638
STOCKERT, MARGIE J                 2335 NE SMOKEY HILL DR                                                               LESS SUMMIT        MO 64086
STOCKERT, ROBERT C                 31 HAZELHURST DR APT B                                                               ROCHESTER          NY 14606‐4441
STOCKFISCH, DONALD L               9851 VFW RD                                                                          EATON RAPIDS       MI 48827‐9791
STOCKFISH GREGORY                  655 N AZUSA AVE APT 182                                                              AZUSA              CA 91702
STOCKFISH PAMELA                   417 W FOOTHILL BLVD            STE B                                                 GLENDORA           CA 91741‐5301
STOCKFORD JR, CHARLES E            PO BOX 771                                                                           FREELAND           MI 48623‐0771
STOCKFORD JR, CHARLES EDWARD       PO BOX 771                                                                           FREELAND           MI 48623‐0771
STOCKFORD, CLARA J                 1563 HOLMES ST                                                                       SAGINAW            MI 48602‐1264
STOCKFORD, CLARA J                 1563 HOLMES                                                                          SAGINAW            MI 48602‐1264
STOCKFORD, CRAIG S                 402 COURT ST APT 2                                                                   SAGINAW            MI 48502‐4255
STOCKFORD, CRAIG S                 153 SAVAGE DRIVE                                                                     MIO                MI 48647‐9300
STOCKFORD, LOIS M                  2236 N VASSAR RD                                                                     DAVISON            MI 48423‐9552
STOCKFORD, RANDY K                 726 PARK AVE                                                                         SOUTH MILWAUKEE    WI 53172‐1328
STOCKHAM, FRANK L                  2613 NW 112TH ST                                                                     OKLAHOMA CITY      OK 73120‐6404
STOCKHAM, HULDA                    15225 BEVERLY                                                                        OVERLAND PARK      KS 66223
STOCKHAM, JAMES                    700 SHARON CHURCH RD                                                                 CENTRAL            SC 29630‐9621
STOCKHEIMER, DANIEL J              1415 GREENWICH LN                                                                    JANESVILLE         WI 53545‐1219
STOCKHEIMER, JEROME R              1236 E COOPER DR                                                                     EDGERTON           WI 53534‐9064
STOCKHOLDER RELATIONS SOCIETY OF   3135 EASTON TPKE                                                                     FAIRFIELD          CT 06828‐0002
NEW YORK
STOCKHOLM JR, JACK N               1853 CHABLEAU CT SW                                                                  WYOMING           MI   49519‐4990
STOCKI, DAVID E                    1400 MILLERSPORT HWY APT 517                                                         WILLIAMSVILLE     NY   14221‐2928
STOCKI, JOHN F                     10 FALLS BROOK RD                                                                    BRISTOL           CT   06010‐2659
STOCKING III, RICHARD C            4719 TENNY ST                                                                        LANSING           MI   48910‐6230
STOCKING JR, CHARLES E             6408 W OHIO ST                                                                       INDIANAPOLIS      IN   46214‐3973
STOCKING, CRAIG E                  620 WHITE OAK CT                                                                     ZIONSVILLE        IN   46077
STOCKING, DORRIE M                 11705 PIERVIEW RD                                                                    DADE CITY         FL   33525‐9512
STOCKING, JEROME R                 145 RIVR RD UNIT 13                                                                  SAINT CLAIR       MI   48079‐2811
STOCKING, MARTHA M                 16879 4TH SECTION RD                                                                 HOLLEY            NY   14470‐9719
STOCKING, MELVIN J                 47597 HUGHES RD                                                                      WELLINGTON        OH   44090‐9717
STOCKING, MILAN L                  2004 RUSH CREEK CT                                                                   FINDLAY           OH   45840‐7448
STOCKING, MILAN LEE                2004 RUSH CREEK CT                                                                   FINDLAY           OH   45840‐7448
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Name                        Address1                        Address2            Address3         Address4         City               State Zip
STOCKING, PETER M           141 E SESSIONS AVE                                                                    DEFIANCE            OH 43512
STOCKING, PETER MARK        141 E SESSIONS AVE                                                                    DEFIANCE            OH 43512
STOCKING, RENAY L           2865 137TH AVE                                                                        DORR                MI 49323‐9354
STOCKING, RICHARD J         27 PAUL HTS                                                                           SOUTHINGTON         CT 06489‐4132
STOCKINGER, ANNABELLE       6613 N WEBSTER RD                                                                     FLINT               MI 48505
STOCKINGER, BETTIE J        3458 CLEARWATER DR                                                                    DAVISON             MI 48423‐8719
STOCKINGER, GREGORY A       3458 CLEARWATER DR                                                                    DAVISON             MI 48423‐8719
STOCKINGER, GREGORY ALLEN   3458 CLEARWATER DR                                                                    DAVISON             MI 48423‐8719
STOCKINGER, MARTHA L        3458 CLEARWATER DR                                                                    DAVISON             MI 48423‐8719
STOCKINGER, RICHARD A       BOONE ALEXANDRA                 205 LINDA DR                                          DAINGERFIELD        TX 75638‐2107
STOCKINGER, TIMOTHY W       3204 MONA LN                                                                          TOLEDO              OH 43613‐1047
STOCKLAND, BEVERLY J        3014 WILSON ST LOT 210                                                                MENOMONIE           WI 54751‐1065
STOCKLER, DARREN L          1545 WATERVLIET AVE                                                                   DAYTON              OH 45420‐3046
STOCKLER, GRACIE            2215 RUSSET AVE                                                                       DAYTON              OH 45420‐3107
STOCKLIN, KENNETH J         1805 W WARD RD                                                                        AVON PARK           FL 33825‐9293
STOCKMAN, BEVERLY           535 SCHINDLER PL APT 2                                                                MENASHA             WI 54952‐4014
STOCKMAN, ISABELLE J        181 PEERLESS CHURCH RD                                                                BEDFORD             IN 47421‐8118
STOCKMAN, JANICE E          442 PASADENA BLVD                                                                     TOLEDO              OH 43612‐2521
STOCKMAN, JANICE ELAINE     442 PASADENA BLVD                                                                     TOLEDO              OH 43612‐2521
STOCKMAN, JERRY D           4488 BOULDER WAY                                                                      BRUNSWICK           OH 44212‐5527
STOCKMAN, JOAN B            13298 HIGHLAND CIR                                                                    STERLING HEIGHTS    MI 48312‐5336
STOCKMAN, JODINE M          10216 W. CLEOPHAS RD. BOX 423                                                         ORFORDVILLE         WI 53576
STOCKMAN, MARION J          1232 OLDE CHANTELOUP CT                                                               HENDERSONVILLE      NC 28739‐6166
STOCKMAN, MARK A            4129 SHEFFIELD PL                                                                     LAMBERTVILLE        MI 48144‐9729
STOCKMAN, MARK ALLEN        4129 SHEFFIELD PL                                                                     LAMBERTVILLE        MI 48144‐9729
STOCKMAN, MARK J            2175 WOODSFIELD DR                                                                    LAKE VIEW           NY 14085
STOCKMAN, MAURICE C         1232 OLDE CHANTELOUP CT                                                               HENDERSONVILLE      NC 28739‐6166
STOCKMAN, MICHAEL A         453 BROOKWOOD DR                                                                      HAMBURG             NY 14075‐4219
STOCKMAN, MICHAEL J         580 HARSEN RD                                                                         LAPEER              MI 48446‐2742
STOCKMAN, NICHOLAS C        2895 DEERFIELD APT 106                                                                LAKE ORION          MI 48360‐2397
STOCKMAN, PATRICIA I        21646 MONTMORENCY SOUTH                                                               MACOMB TWNSP        MI 48044‐6012
STOCKMAN, RICHARD K         36189 MADORA DR                                                                       WILDOMAR            CA 92595
STOCKMAN, RONALD J          116 BLAINE AVE                                                                        EAST BROOKFIELD     MA 01515‐1512
STOCKMAN, SHERRY            1219 PECK ST                                                                          TOLEDO              OH 43608‐2747
STOCKMAN, THOMAS R          43697 BUCKTHORN CT                                                                    STERLING HEIGHTS    MI 48314‐1882
STOCKMAN, WILLIAM C         4 ROSEMARY AVE                                                                        BUFFALO             NY 14216‐1615
STOCKMAN, WILLIAM C         4300 BAZA                                                                             LEONARD             MI 48367‐1906
STOCKMAN, WILLIAM F         5575 MCDOWELL RD                                                                      LAPEER              MI 48446‐8010
STOCKMAN, WILLIAM L         24796 BLACKBERRY LN                                                                   JULIAETTA           ID 83535‐6096
STOCKMAN‐HOPKINS, TWYLA R   326 E MARENGO AVE                                                                     FLINT               MI 48505‐3366
STOCKMANN, JULIE            1163 BIRCHWOOD LN                                                                     AMERY               WI 54001
STOCKMANN, ROSE             31 LAKE HILL DR                 C/O CAROL MYERS                                       SAINT PETERS        MO 63376‐3247
STOCKMANN, ROSE             C/O CAROL MYERS                 31 LAKE HILL                                          ST PETERS           MO 63376
STOCKMEYER, WALTER F        6565 N PORTSMOUTH RD                                                                  SAGINAW             MI 48601‐9633
STOCKRAHM, LOREN G          642 JEFFERSON VLY                                                                     COATESVILLE         IN 46121‐8941
STOCKREEF, ROBERT L         5327 BLAINE AVE SE                                                                    GRAND RAPIDS        MI 49508‐6074
STOCKS JR, HOWARD D         256 LONSDALE RD                                                                       HOT SPRINGS         AR 71901‐9532
STOCKS, DARLENE C           N13448 K 1 RD                                                                         CARNEY              MI 49812‐8905
STOCKS, DARLENE C           4831 MARY JO                                                                          HARRISON            MI 48625‐8609
STOCKS, DAVID H             7500 FOREST LN                                                                        OKLAHOMA CITY       OK 73150‐7206
STOCKS, DORA                256 LONSDALE RD                                                                       HOT SPRINGS         AR 71901‐9532
STOCKS, ELBERT L            86 STOCKS DR                                                                          HIDDENITE           NC 28636‐8245
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Name                         Address1                            Address2                Address3   Address4         City               State Zip
STOCKS, GEORGE               3133 SW 45TH ST                                                                         OKLAHOMA CITY       OK 73119‐4406
STOCKS, JAMES O              5251 SPRUCEVIEW LN                                                                      FOWLERVILLE         MI 48836‐9653
STOCKS, JEREMY R             8301 16 1/2 MILE RD APT 52                                                              STERLING HEIGHTS    MI 48312‐1849
STOCKS, LINDA J.             24063 STANFORD ST                                                                       DEARBORN HEIGHTS    MI 48125‐1909
STOCKS, MARY                 113 SE 42ND ST APT D                                                                    OKLAHOMA CITY       OK 73129‐2879
STOCKS, RENEE B              1889 ATLANTA CT                                                                         HARTLAND            MI 48353‐3731
STOCKS, RICHARD L            2826 MILLER RIDGE CT                                                                    FORT WAYNE          IN 46818‐9526
STOCKS, SUE                  196 CHAFIN RD                                                                           JASPER              AL 35504‐8007
STOCKS, TERRY D              316 SAND HILL LN                                                                        TOWNSEND            MT 59644‐9682
STOCKSCHLAEDER, CARL J       PO BOX 132                                                                              DARIEN CENTER       NY 14040‐0132
STOCKSDALE, DREW C           PO BOX 641                                                                              BIG SUR             CA 93920‐0641
STOCKSLAGER GLEN (491703)    CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                               CLEVELAND           OH 44113‐1328
                             COONE AND ASSOCIATES
STOCKSLAGER, BETTY J         3751 PLACITA GRACIOSA                                                                   TUCSON             AZ   85745‐9533
STOCKSLAGER, BETTY J         3751 W PLACITA GRACIOSA                                                                 TUCSON             AZ   85745‐9533
STOCKSLAGER, CARLTON         3355 CARLIN DR                                                                          WEST CARROLLTON    OH   45449‐2729
STOCKSLAGER, GARY C          920 S JOHNSON RD                                                                        LUDLOW FALLS       OH   45339‐9728
STOCKSLAGER, JANET I         7000 N VALLEY ST                                                                        DALTON GARDENS     ID   83815‐7727
STOCKSLAGER, JANET I         7000 N. VALLEY ST                                                                       DALTON GARDENS     ID   83815‐7727
STOCKSLAGER, STEVE M         1 WESTERN AVE                                                                           W ALEXANDRIA       OH   45381‐1125
STOCKSLAGER, STEVE M         1 WESTERN DR                                                                            W ALEXANDRIA       OH   45381‐1125
STOCKSLAGER, THELMA D        PO BOX 366                                                                              LEWISBURG          OH   45338‐0366
STOCKSTAD, ALVIN O           209 LINCOLN AVE                                                                         STOUGHTON          WI   53589‐2069
STOCKSTILL JR, CLAUDE L      4810 NORTHERN AVE                                                                       KANSAS CITY        MO   64133‐2222
STOCKTON NEWLIN              320 CHURCH ST                                                                           TRENTON            NJ   08618‐4635
STOCKTON RESIDENTIAL GROUP   PO BOX 444                                                                              UNION LAKE         MI   48387‐0444
STOCKTON'S AUTO SERVICE      2630A BEECH BLUFF RD                                                                    JACKSON            TN   38301‐9051
STOCKTON, ALICE M            3586 E 100 S                                                                            KOKOMO             IN   46902‐2832
STOCKTON, ANTHONY G          93 INDIAN TRAILS CIR                                                                    BEDFORD            IN   47421‐8742
STOCKTON, ARTHUR             1645 S COUNTY ROAD 400 WEST                                                             GREENCASTLE        IN   46135‐8279
STOCKTON, BARKER & MEAD      TWO TOWER PLACE                     STUYVESANT PLAZA                                    ALBANY             NY   12203
STOCKTON, BETTY L            1012 M ST                                                                               BEDFORD            IN   47421‐2927
STOCKTON, BOBBY W            1007 LEGACY CIR                                                                         BRANDON            MS   39042‐5501
STOCKTON, D M                2673 HIGHWAY 411 N                                                                      ENGLEWOOD          TN   37329‐5282
STOCKTON, DONALD J           952 HILL HOLLOW CT 27                                                                   MILFORD            MI   48381
STOCKTON, EDITH              1200 WRIGHT AVE                                                                         ALMA               MI   48801‐1133
STOCKTON, EULA A             524 SUNFLOWER CIR                                                                       SWEETWATER         TN   37874‐5322
STOCKTON, GLORIA M           10109 N VASSAR RD                                                                       MOUNT MORRIS       MI   48458‐9776
STOCKTON, HARLIN E           1061 E COUNTY ROAD 425 N                                                                GREENCASTLE        IN   46135‐8518
STOCKTON, HELEN J            28607 BLOCK ST                                                                          GARDEN CITY        MI   48135‐2430
STOCKTON, JACK E             717 W BROADWAY ST                                                                       HIGGINSVILLE       MO   64037‐1841
STOCKTON, JAMES H            121 S 5TH AVE                                                                           BEECH GROVE        IN   46107‐1926
STOCKTON, JAMES R            6108 N WHEELING AVE                                                                     MUNCIE             IN   47304‐8528
STOCKTON, JOHN E             890 W SANTA FE CIR                                                                      WICKENBURG         AZ   85390‐4249
STOCKTON, JUDITH K           1645 S COUNTY ROAD 400 W                                                                GREENCASTLE        IN   46135‐8279
STOCKTON, KAREN S            890 W SANTA FE CIR                                                                      WICKENBURG         AZ   85390‐4249
STOCKTON, LARRY A            9410 N LINDEN RD                                                                        CLIO               MI   48420‐8554
STOCKTON, LAUREL S           140 S STOCKTON RD                                                                       HARRISVILLE        MI   48740‐9582
STOCKTON, LESLIE             1012 M ST                                                                               BEDFORD            IN   47421‐2927
STOCKTON, MARILYN E          140 S STOCKTON RD                                                                       HARRISVILLE        MI   48740‐9582
STOCKTON, MARK A             6269 RAY RD                                                                             SWARTZ CREEK       MI   48473‐9122
STOCKTON, MARK ALLEN         6269 RAY RD                                                                             SWARTZ CREEK       MI   48473‐9122
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Name                         Address1                        Address2            Address3            Address4                City               State Zip
STOCKTON, MARY J             7911 DONNA ST                                                                                   WESTLAND            MI 48185‐2420
STOCKTON, MARY R             1380 N COUNTY RD 750 E                                                                          HAGERSTOWN          IN 47346‐9508
STOCKTON, MATTHEW LEE        110 STONEWOOD DRIVE                                                                             CORTLAND            OH 44410‐1927
STOCKTON, MAUDE D            315 LOWER BRUSH CREEK RD                                                                        FLETCHER            NC 28732
STOCKTON, MAUDE D            330 LOWER BRUSH CREEK RD                                                                        FLETCHER            NC 28732‐8484
STOCKTON, MILDRED            402 STEFAN CT                                                                                   DUNDALK             MD 21222‐2858
STOCKTON, MILDRED            402 STEFAN CT.                                                                                  DUNDALK             MD 21222‐2858
STOCKTON, NORA H             3628 WISHBONE BLVD                                                                              INDIANAPOLIS        IN 46268‐3641
STOCKTON, NORA HOLLIS        3628 WISHBONE BLVD                                                                              INDIANAPOLIS        IN 46268‐3641
STOCKTON, PAUL E             6731 LIVE OAK CT                                                                                INDIANAPOLIS        IN 46214‐1938
STOCKTON, PEGGY RUTH         PO BOX 213.                                                                                     ADVANCE             MO 63730‐0213
STOCKTON, PEGGY RUTH         PO BOX 213                                                                                      ADVANCE             MO 63730‐0213
STOCKTON, ROBERT             4300 PETERS RD                                                                                  ALGER               MI 48610
STOCKTON, ROBERT C           PO BOX 367                                                                                      SOMERSET CENTER     MI 49282‐0367
STOCKTON, RONNIE L           2658 MCCLEARY JACOBY RD                                                                         CORTLAND            OH 44410‐1708
STOCKTON, STEVEN P           28607 BLOCK ST                                                                                  GARDEN CITY         MI 48135‐2430
STOCKTON, STEVEN S           506 GARNET CIR                                                                                  WHITMORE LAKE       MI 48189‐8280
STOCKTON, STEVEN STANLEY     506 GARNET CIR                                                                                  WHITMORE LAKE       MI 48189‐8280
STOCKTON, TERRY L            5284 E 500 S                                                                                    KOKOMO              IN 46902‐9603
STOCKTON, THADDEUS L         3113 JAKE PL                                                                                    COLUMBUS            OH 43219‐5019
STOCKTON, THOMAS R           21348 JOHN BORN RD                                                                              PENN VALLEY         CA 95946
STOCKTON, VICTOR E           6125 THORMAN RD                                                                                 PORT CHARLOTTE      FL 33981‐5528
STOCKTON, VIRGINIA           19911 HEYDEN ST                                                                                 DETROIT             MI 48219‐2011
STOCKTON, WAYNE              405 TULARE AVE                                                                                  MORRO BAY           CA 93442‐2612
STOCKTON, WILLA              6989 CAMBRIDGE DR                                                                               CINCINNATI          OH 45227‐3359
STOCKTON, WILLIAM L          482 SOUTH ST APT A                                                                              LOCKPORT            NY 14094‐3978
STOCKWELL AND ASSOCIATES     SUITE 1301 PEARL BUILDING       PO BOX 6750         DUBAI UNITED ARAB   UAE UNITED ARAB
                                                                                 EMIRATES            EMIRATES
STOCKWELL ELASTOMERICS INC   4749 TOLBUT ST                                                                                  PHILADELPHIA       PA   19136‐1512
STOCKWELL RUBBER CO INC      4749 TOLBUT ST                                                                                  PHILADELPHIA       PA   19136‐1512
STOCKWELL, ARTHUR L          15699 STOCKTON DR                                                                               CLINTON TOWNSHIP   MI   48038‐2677
STOCKWELL, BARBARA           2500 MANN RD LOT 151                                                                            CLARKSTON          MI   48346‐4250
STOCKWELL, BETTY             6128 PAXTON RD                                                                                  SAINT JOHNS        MI   48879‐9755
STOCKWELL, BONNIE J          PO BOX 1722                                                                                     SEMINOLE           OK   74818‐1722
STOCKWELL, BONNIE J          P.O. BOX 1722                                                                                   SEMINOLE           OK   74818
STOCKWELL, CAMELIA           2717 ARROW HWY #171                                                                             LAVERNE            CA   91750
STOCKWELL, CAROL A           11621 HERON BAY DR                                                                              FENTON             MI   48430‐8612
STOCKWELL, DIANE             8054 HENDERSON RD                                                                               GOODRICH           MI   48438‐9070
STOCKWELL, DIANE             2018 TREEWOOD LN                                                                                SAN JOSE           CA   95132‐1240
STOCKWELL, DONALD L          300 TREALOUT DR APT 1                                                                           FENTON             MI   48430‐3285
STOCKWELL, DUWAYNE F         205 WEAVER DR                                                                                   HOUGHTON LAKE      MI   48629‐9343
STOCKWELL, ERNEST E          80 LOCKWOOD ST                                                                                  GLADWIN            MI   48624‐8397
STOCKWELL, FREDERICK A       11647 W OUTER DR                                                                                DETROIT            MI   48223‐1953
STOCKWELL, HARRIS, WIDOM &   3580 WILSHIRE BLVD STE 1900                                                                     LOS ANGELES        CA   90010‐2532
WOOLVERTON
STOCKWELL, HENRY W           8950 NE ROCK RIVER DR                                                                           EDGERTON           WI   53534‐8933
STOCKWELL, ISABEL            1116 W LONG LAKE RD                                                                             BLOOMFIELD         MI   48302‐1963
STOCKWELL, JAMES H           6650 W BARNARD AVE APT 109                                                                      GREENFIELD         WI   53220‐4559
STOCKWELL, JOHN W            7283 DAVISON RD                                                                                 DAVISON            MI   48423‐2009
STOCKWELL, KELLY M           37717 BADGER DR                                                                                 STERLING HEIGHTS   MI   48312‐2218
STOCKWELL, KEVIN R           3035 GUM CREEK LN                                                                               LOGANVILLE         GA   30052
STOCKWELL, LILA M            256 GERONIMO                                                                                    ALPENA             MI   49707‐8121
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Name                             Address1                      Address2            Address3         Address4                 City            State Zip
STOCKWELL, LILA M                256 GERONIMO RD                                                                             ALPENA           MI 49707‐8121
STOCKWELL, MICHAEL A             135 SUNRISE POINTE                                                                          RIVERWATCH       TN 38583
STOCKWELL, MICHAEL J             35780 BIRCHWOOD CT                                                                          NEW BOSTON       MI 48164‐9135
STOCKWELL, MICHAEL O             11621 HERON BAY DR                                                                          FENTON           MI 48430‐8612
STOCKWELL, MIRIAM O              3910 KENNEDY DR E                                                  WINDSOR ON CANADA N9G‐
                                                                                                    1X7
STOCKWELL, NELSON J              6070 E VIENNA RD                                                                            CLIO            MI   48420‐9136
STOCKWELL, RAYMOND D             1481 S CUMMINGS RD                                                                          DAVISON         MI   48423‐9147
STOCKWELL, ROBERT C              4187 NEWARK RD                                                                              ATTICA          MI   48412‐9760
STOCKWELL, ROBERT T              2116 JUANITO AVENUE                                                                         PONCA CITY      OK   74604‐3813
STOCKWELL, ROGER A               2878 OAK GROVE RD                                                                           NORTH BRANCH    MI   48461‐8874
STOCKWELL, TILLIE                303 BRAZIL CT                                                                               BRADENTON       FL   34207‐3456
STOCKWELL, WILLIAM D             19 QUARTZ AVE                                                                               PENINSULA       OH   44264‐9593
STOCKWOOD, RANDALL L             8708 WEST HARBOR BOULEVARD                                                                  PEORIA          AZ   85383‐9726
STOCKYARDS STATION PARTNERSHIP   130 E EXCHANGE AVE                                                                          FORT WORTH      TX   76164‐8210
STOCUM, HELENE M                 507 ROCKVIEW DR                                                                             HOLLEY          NY   14470‐9407
STOCUM, JAMES F                  BRUCKENSTRASSE 8                                                   WETTINGEN AG 5430
                                                                                                    SWITZERLAND
STOCZ JR, STEVE                  130 KEAN DR                                                                                 CORTLAND        OH   44410‐1222
STOCZ, CATHERINE T               4411 HOAGLAND BLACKSTUB RD                                                                  CORTLAND        OH   44410‐9573
STOCZYNSKI, LORETTA MARGARE      3399 EMERLING DR                                                                            BLASDELL        NY   14219‐2225
STOCZYNSKI, LORETTA MARGARE      3399 SOUTH EMERLING DRIVE                                                                   BLASDELL        NY   14219‐2225
STODANT THOMAS M                 STODANT, THOMAS M             30 E BUTLER AVE                                               AMBLER          PA   19002‐4514
STODDARD COUNTY TAX COLLECTOR    28 N W MAIN                                                                                 DEXTER          MO   63841
STODDARD JR, LEWIS C             1164 TROTWOOD LN                                                                            FLINT           MI   48507‐3711
STODDARD LAURA                   379 WILLOUGHBY WAY WEST                                                                     HOPKINS         MN   55305‐5377
STODDARD SILENCERS INC           1017 PROGRESS DR                                                                            GRAYSLAKE       IL   60030‐1672
STODDARD, ALTON G                5001 TENNY ST                                                                               LANSING         MI   48910‐5344
STODDARD, AMY C                  11467 WHITAKER RD                                                                           FENTON          MI   48430‐9001
STODDARD, BARBARA                29 EVERGREEN DR                                                                             N FT MYERS      FL   33917‐6323
STODDARD, BETTY M                2527 MAHAN DENMAN                                                                           CORTLAND        OH   44410‐9685
STODDARD, CHARLES                412 PERKINS DR                                                                              FRANKLIN        TN   37064‐3720
STODDARD, CLARENCE G             6003 COLONY CT                                                                              LOCKPORT        NY   14094‐9573
STODDARD, COLEEN                 16022 BEATRICE AVE                                                                          ALLEN PARK      MI   48101‐2750
STODDARD, DAVID F                4443 W M 55                                                                                 TAWAS CITY      MI   48763‐9715
STODDARD, DELMER L               2416 STARLITE DR                                                                            SAGINAW         MI   48603‐2537
STODDARD, DONALD F               600 N OTTAWA ST                                                                             SAINT JOHNS     MI   48879‐1226
STODDARD, DONALD G               1201 SILVER RIDGE CT                                                                        GREENVILLE      MI   48838‐7153
STODDARD, DONNA M                4287 DILLON ROAD                                                                            FLUSHING        MI   48433‐9745
STODDARD, DONNA M                4287 DILLON RD                                                                              FLUSHING        MI   48433‐9745
STODDARD, DONNA R                1164 TROTWOOD LN                                                                            FLINT           MI   48507‐3711
STODDARD, DOROTHY M              PO BOX 156                                                                                  BURT            NY   14028‐0156
STODDARD, EARL W                 721 FOXBORO CT                                                                              SALINE          MI   48176‐1063
STODDARD, ERNEST C               9701 S SHORE DR                                                                             SAND POINT      MI   48755‐9675
STODDARD, ETHEL M                7957 SIOUX LN                                                                               LAKELAND        FL   33810‐2181
STODDARD, FREDERICK C            6275 E KEARNEY DR                                                                           SAGINAW         MI   48603‐3411
STODDARD, HARRY W                100 ARVILLA                                                                                 WHITMORE LAKE   MI   48189‐9630
STODDARD, IRENE L                498 PENN AVE NW                                                                             WARREN          OH   44485‐2711
STODDARD, IRENE L                498 PENN AVENUE N.W.                                                                        WARREN          OH   44485‐2711
STODDARD, JAMES E                1825 WARNER AVE                                                                             MINERAL RIDGE   OH   44440‐9551
STODDARD, JAMES R                14329 WEIR RD                                                                               CLIO            MI   48420‐8832
STODDARD, JAMES RYAN             14329 WEIR RD                                                                               CLIO            MI   48420‐8832
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Name                      Address1                       Address2                Address3     Address4         City            State Zip
STODDARD, JAMES W         918 E STEWART AVE                                                                    FLINT            MI 48505‐5344
STODDARD, JAMES W         717 S GRAND TRAVERSE ST                                                              FLINT            MI 48502‐1118
STODDARD, JAMES WILLIAM   517 E VIENNA ST                                                                      CLIO             MI 48420
STODDARD, JENNIFER        32 NASHUA STREET                                                                     NORWICH          CT 06360‐9782
STODDARD, JENNIFER        32 NASHUA ST                                                                         NORWICH          CT 06360‐9782
STODDARD, JOHN BENJAMIN   12032 TORREY RD                                                                      FENTON           MI 48430‐9702
STODDARD, JOHN M          15981 ISLAND RD                                                                      HUBBARDSTON      MI 48845‐9211
STODDARD, JOHN W          1234 REYNOLDS RD LOT 97                                                              LAKELAND         FL 33801‐6448
STODDARD, JOYCE A         PO BOX 4                                                                             HUBBARDSTON      MI 48845
STODDARD, JR,DONALD F     305 E GIBBS ST                                                                       SAINT JOHNS      MI 48879‐1315
STODDARD, KATHLEEN A      7912 JANE AYRE DR                                                                    SOUTHAVEN        MS 38671‐8347
STODDARD, KENNETH A       3716 TREMONTE CIR S 32                                                               ROCHESTER        MI 48306
STODDARD, KENNETH E       31132 HATHAWAY ST                                                                    LIVONIA          MI 48150‐2902
STODDARD, L R             2844 SEMINOLE RD                                                                     ANN ARBOR        MI 48108‐1329
STODDARD, MARYANN         2218 CANNIFF ST                                                                      FLINT            MI 48504‐5403
STODDARD, MILDRED L       2067 DEXTER ST                                                                       DENVER           CO 80207‐3754
STODDARD, RACHEL M        2600 STATE ROUTE 414                                                                 MONTOUR FALLS    NY 14865‐9706
STODDARD, RACHEL M        2600 RTE. 414                                                                        MONTOUR FALLS    NY 14865‐9706
STODDARD, RANDALL K       8550 WARNER RD                                                                       SALINE           MI 48176‐9085
STODDARD, RICHARD H       6152 MACKINAW RD                                                                     SAGINAW          MI 48604‐9751
STODDARD, RICHARD H       6152 MACKINAW                                                                        SAGINAW          MI 48604‐8604
STODDARD, RICKY D         5836 S ASHFORD WAY                                                                   YPSILANTI        MI 48197‐7493
STODDARD, ROBERT J        432 REDMOND DR                                                                       BLISSFIELD       MI 49228‐1073
STODDARD, ROBERT J        390 KEINATH DR                                                                       FRANKENMUTH      MI 48734‐9317
STODDARD, ROBERT M        57 S MAIN ST                                                                         MIDDLEPORT       NY 14105‐1311
STODDARD, STEPHEN L       9438 HENDERSON RD                                                                    CORUNNA          MI 48817‐9751
STODDARD, STEPHEN LLOYD   9438 HENDERSON RD                                                                    CORUNNA          MI 48817‐9751
STODDARD, TERRIE L        853 MAPLEWOOD AVE                                                                    YPSILANTI        MI 48198‐5829
STODDARD, WALTER W        2527 MAHAN DENMAN RD                                                                 CORTLAND         OH 44410‐9685
STODDARD, WALTER W        2527 MAHAN‐DENMAN ROAD                                                               CORTLAND         OH 44410‐9685
STODDARD, WAYNE B         109 W SHERMAN ST                                                                     HOLLY            MI 48442‐1519
STODDARD, WILLIAM C       15829 E LIVERPOOL RD                                                                 E LIVERPOOL      OH 43920‐9677
STODDART I I, KENNETH D   14755 ROBINSON RD                                                                    NEWTON FALLS     OH 44444‐9607
STODDART, SHARON A        7900 CAMPBELL ST                                                                     TAYLOR           MI 48180‐2509
STODDART, SHARON A        7900 CAMPBELL                                                                        ST TAYLOR        MI 48180‐2509
STODGEL NICOLE            1 QUAILWOOD PARKWAY                                                                  LA PLATA         MD 20646‐3136
STODGEL, WILLIAM C        470 E WEST BRANCH RD                                                                 PRUDENVILLE      MI 48651‐9435
STODGELL, CHARLES E       3984E N 300 E                                                                        MARION           IN 46952
STODGELL, DAVID L         1018 E FIRMIN ST                                                                     KOKOMO           IN 46902‐2338
STODGELL, PATRICIA A      508 BRIAR CT                                                                         KOKOMO           IN 46901‐5023
STODGELL, SHARON S        1018 E FIRMIN ST                                                                     KOKOMO           IN 46902‐2338
STODGHILL, DAVID R        1220 SW DAKOTA STAR CT                                                               GRAIN VALLEY     MO 64029‐9037
STODGHILL, JAMES E        827 LEE ANDREWS AVE SE                                                               ATLANTA          GA 30315‐6813
STODGHILL, JEAN E         # 220                          13460 MANCHESTER ROAD                                 SAINT LOUIS      MO 63131‐1734
STODOL, MARY              12032 MORAN ST                                                                       HAMTRAMCK        MI 48212‐2756
STODOLA, ANNE
STODOLAK, DENNIS C        PO BOX 622                                                                           STANDISH        MI 48658‐0622
STODOLAK, JOHN            2737 SAGATOO RD RT 1                                                                 STANDISH        MI 48658
STODOLAK, MARY V          919 PLYMOUTH RD                                                                      SAGINAW         MI 48638‐7144
STODOLSKI, TRISHA
STOEBE, BONNIE M.         4919 WILBUR AVE                                                                      BALTIMORE       MD 21205‐3142
STOEBE, CHARLES A         2279 CANDLESTICK AVE                                                                 HENDERSON       NV 89052
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Name                       Address1                                 Address2                          Address3     Address4         City               State Zip
STOEBER, BERNICE           19301 FM 800                                                                                             SAN BENITO          TX 78586‐7281
STOEBICK, GREGORY P        13413 LUBECK DR                                                                                          FISHERS             IN 46037‐6243
STOEBICK, JAMES W          4432 SWEETWATER DR                                                                                       CLEVELAND           OH 44141‐4103
STOECK, LUCILLE            405 NORTHSHORE DR                                                                                        ST CLAIR SHORE      MI 48080‐1720
STOECKEL MANFRED           STRUEMPELLSTR. 8
STOECKER, HELEN A          35 DEVONSHIRE DR                                                                                         CLIFTON            NJ   07013‐2662
STOECKER, WALLACE J        1115 KENSINGTON DR NW                                                                                    GRAND RAPIDS       MI   49544‐2174
STOECKLE, BRENT J          11251 SEBEWAING RD                                                                                       SEBEWAING          MI   48759‐9705
STOECKLE, BRENT JON        11251 SEBEWAING RD                                                                                       SEBEWAING          MI   48759‐9705
STOECKLEIN JR, EDWARD J    6837 LORIEN WOODS DR                                                                                     DAYTON             OH   45459‐2872
STOECKLEIN, CARL W         76 HILLSIDE CT                                                                                           LAKE OZARK         MO   65049‐4803
STOECKLEIN, HAROLD J       1215 SE HIGHWAY 7                                                                                        CLINTON            MO   64735‐9361
STOECKLEIN, MELVIN J       11400 E 19TH ST S                                                                                        INDEPENDENCE       MO   64052‐3906
STOEFFLER, DENNIS W        36 SUNNYSIDE DR                                                                                          SWEET VALLEY       PA   18656‐2476
STOEGBAUER, DONALD G       150 SAGEFIELD SQUARE                                                                                     CANTON             MS   39046‐7801
STOEGERER, PHILIP J        125 ADDISON MEADOWS CT                                                                                   LEONARD            MI   48367‐4336
STOEHNER, KENN R           3500 WELBORNE LN                                                                                         FLOWERMOUND        TX   75022‐8449
STOEHR RICHARD             STOEHR, RICHARD                          30 EAST BUTLER PIKE , SUITE 310                                 AMBLER             PA   19002
STOEHR, ALICE P            441 RUBY LN                                                                                              WHITMORE LAKE      MI   48189‐8276
STOEHR, DONALD A           1505 SW 72ND ST                                                                                          OKLAHOMA CITY      OK   73159
STOEHR, ELIZABETH W        12651 SEMINOLE BLVD LOT 7K                                                                               LARGO              FL   33778‐2218
STOEHR, IDA L.             1444 RAVER CT                                                                                            GREENWOOD          IN   46143‐7888
STOEHR, JOHN M             383 SOUTHWAY CT                                                                                          BARGERSVILLE       IN   46106‐8459
STOEHR, MARK H             9539 IVANHOE ST                                                                                          ANGOLA             NY   14006‐9326
STOEHR, RICHARD E          17 LOCKWOOD AVE                                                                                          BUFFALO            NY   14220‐1826
STOEL RIVES LLP            DAVID B. LEVANT, ERIN L. ELIASEN, ESQ.   600 UNIVERSITY STREET             SUITE 3600                    SEATTLE            WA   98101

STOEL RIVES LLP            900 SW 5TH AVE STE 2600                                                                                  PORTLAND           OR   97204‐1229
STOELTING, ROY A           6891 SY RD                                                                                               NIAGARA FALLS      NY   14304‐4613
STOELZLE, HELMUT P         2553 W BLOOMFIELD OAKS DR                                                                                W BLOOMFIELD       MI   48324‐3086
STOERKEL, JOSEPH E         111 AVON CT                                                                                              RAVENNA            OH   44266‐2101
STOERMAN, FRANCIS H        32307 BEECHWOOD DR                                                                                       WARREN             MI   48088‐1596
STOERMAN, JUDITH A         2005 N VERNON AVE                                                                                        FLINT              MI   48506‐3635
STOERMER ANDERSON INC      3818 RED BANK RD                                                                                         CINCINNATI         OH   45227‐3413
STOERMER, PAMELA           1228 GLEN KEGLEY DR                                                                                      XENIA              OH   45385‐5746
STOESSER‐GORDON PLASTICS   3250 BRICKWAY BLVD                                                                                       SANTA ROSA         CA   95403‐8235
STOESSNER, TOD J           89 WEST PARK STREET                                                                                      WESTERVILLE        OH   43081‐2014
STOESSNER, TOD J           89 W PARK ST                                                                                             WESTERVILLE        OH   43081‐2014
STOETZER, CHARLES F        32538 SUNNY LANE                                                                                         WARREN             MI   48092‐3193
STOETZER, DONALD L         16057 EAST M‐134                                                                                         DE TOUR VILLAGE    MI   49725
STOETZER, JEROME P         1206 W 48TH ST                                                                                           KANSAS CITY        MO   64112‐1311
STOETZER, ROBERT R         2693 LAMBETH PARK                                                                                        ROCHESTER HLS      MI   48306‐3043
STOEY, DANIEL J            31308 ACTON DR                                                                                           WARREN             MI   48092‐1301
STOEY, JOAN                930 JOHN R RD APT 2607                                                                                   TROY               MI   48083
STOEY, RICHARD E           8080 HUNTINGTON RIDGE CT                                                                                 WASHINGTON TWP     MI   48094‐2278
STOFER JENNIFER L          STOFER, JENNIFER L                       1234 MARKET STREET SUITE 2040                                   PHILADELPHIA       PA   19107
STOFER, WILLIAM E          49988 COOKE AVE                                                                                          PLYMOUTH           MI   48170‐2886
STOFF, DAVID L             6405 CHURCHILL DOWNS PL                                                                                  HUBER HEIGHTS      OH   45424‐3695
STOFF, WILLIAM G           22216 COLONIAL CT                                                                                        ST CLAIR SHRS      MI   48080‐2623
STOFFA, BARBARA            1290 LAKE CRESCENT DR                                                                                    BLOOMFIELD HILLS   MI   48302‐2814
STOFFA, PAUL               202 EL CENTRO BLVD SE                                                                                    GRAND RAPIDS       MI   49506‐2075
STOFFEL EQUIPMENT CO       7764 N 81ST ST                                                                                           MILWAUKEE          WI   53223‐3838
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Name                               Address1                          Address2            Address3             Address4         City            State Zip
STOFFEL GRIND/TUCKAH               66 MARBLEDALE RD                  P.O. BOX 127                                              TUCKAHOE         NY 10707‐3420
STOFFEL HERBERT & RUTH             4764 LEON SQ                                                                                DORSET           OH 44032‐9742
STOFFEL JOE (ESTATE OF) (650551)   (NO OPPOSING COUNSEL)
STOFFEL, JOE                       C/O SIMMONS COOPER                PO BOX 521          707 BERKSHIRE BLVD                    EAST ALTON      IL   62024
STOFFEL, JOHN C                    1912 CONNECTICUT AVE                                                                        YOUNGSTOWN      OH   44509‐1526
STOFFEL, JOHN R                    1946 WENDY LN                                                                               POLAND          OH   44514‐1659
STOFFEL, KATHERINE JANE            3463 TOWNE HILL DR                                                                          GRAND BLANC     MI   48439‐7982
STOFFEL, MEGAN E                   3441 SAINT PAUL BLVD                                                                        ROCHESTER       NY   14617‐2903
STOFFEL, PATSY F                   3477 E 750 N                                                                                HUNTINGTON      IN   46750‐8309
STOFFEL, PAUL C                    885 N BLOCK RD                                                                              REESE           MI   48757‐9355
STOFFEL, ROBERT J                  70 RUE MADELEINE                                                                            BUFFALO         NY   14221
STOFFEL, TIMOTHY A                 9384 N 100 E                                                                                ROANOKE         IN   46783‐9479
STOFFER LAX/LOS ANGL               5400 WEST CENTURY BLVD.                                                                     LOS ANGELES     CA   90045
STOFFER, ALAN                      PO BOX 31                                                                                   HIGHLAND        MI   48357‐0031
STOFFER, ELIZABETH A               147 CHESTNUT STREET                                                                         LEETONIA        OH   44431‐1002
STOFFER, JOHN D                    PO BOX 26172                                                                                TROTWOOD        OH   45426‐0172
STOFFER, JOHN L                    1243 WESTVIEW DR                                                                            SALEM           OH   44460‐1247
STOFFER, MICHAEL G                 12360 DIEHL RD                                                                              NORTH JACKSON   OH   44451‐9734
STOFFER, RODNEY                    637 BARNES RD                                                                               MONROE          LA   71203‐8820
STOFFER, RODNEY H                  637 BARNES RD                                                                               MONROE          LA   71203‐8820
STOFFER, ROGER                     637 BARNES RD                                                                               MONROE          LA   71203‐8820
STOFFER, ROGER                     837 BARNES RD                                                                               MONROE          LA   71203
STOFFERAHN, TIMOTHY F              2018 S 900 E                                                                                PLAINFIELD      IN   46168
STOFFLET GERALD P                  151 WENDELTON RD                                                                            TROY            MI   48084‐1780
STOFFLET, GERALD F                 151 WENDELTON RD                                                                            TROY            MI   48084‐1780
STOFFREGEN, MARY                   494 OLD ROUND POUND LN                                                                      ADVANCE         MO   63730‐9030
STOFIRA, BYRON E                   2600 CAMILLE DR 8                                                                           PALM HARBOR     FL   34684
STOFIRA, GEORGE L                  2713 N RIVER RD NE                                                                          WARREN          OH   44483‐2641
STOFIRA, RENEE R                   664 W 3RD ST                                                                                NILES           OH   44446‐1428
STOFKA, GRACE A.                   7420 OUTLOOK AVE                                                                            BROOKLYN        OH   44144‐2709
STOGDILL, DAVID                    2322 30TH ST                                                                                BEDFORD         IN   47421‐5416
STOGDILL, JACQUE                   3115 W ST                                                                                   BEDFORD         IN   47421‐5527
STOGDILL, JOE E                    640 SHADY CREEK CT                                                                          GREENWOOD       IN   46142‐1244
STOGDILL, JOHN R                   8879 WILLITS RD                                                                             MAYVILLE        MI   48744‐9534
STOGESDILL, HAYDEN B               6 CHANDLER CT                                                                               FLORISSANT      MO   63031‐2945
STOGLIN, MALCOLM E                 PO BOX 246                                                                                  PORT AUSTIN     MI   48467‐0246
STOGLIN, PEGGY S                   PO BOX 7626                                                                                 BLOOMFIELD      MI   48302‐7626
STOGNER JR, ROBERT H               PO BOX BOX 475                                                                              LAGRANGE        GA   30240
STOGNER JR, ROBERT H               PO BOX 475                                                                                  LAGRANGE        GA   30241‐0008
STOGNER, ERIC                      17 MIEDAMA PL                                                                               MIDLAND PARK    NJ   07432
STOGNER, JOHN L                    2149 S HIGHWAY 16                                                                           CARROLLTON      GA   30116‐6467
STOGNER, MABEL                     3229 VAILVIEW DR                                                                            NASHVILLE       TN   37207
STOGNER, RANDALL T                 15712 HASCALL CIR                                                                           OMAHA           NE   68130‐1970
STOGNER, RAYMOND M                 3409 BREWSTER ST                                                                            FLINT           MI   48506‐3944
STOGNER, WILLIE F                  2181 S OAK RD                                                                               DAVISON         MI   48423‐9105
STOGRAN ROBERT L                   STOGRAN, ROBERT                   30 E BUTLER AVE                                           AMBLER          PA   19002‐4514
STOGSDILL JR, HUBERT L             1514 HUGHES AVE                                                                             FLINT           MI   48503‐3270
STOGSDILL, GARY L                  900 PAMELA CT APT 9                                                                         PARK HILLS      MO   83601‐1907
STOGSDILL, GARY L                  APT 9                             900 PAMELA COURT                                          PARK HILLS      MO   63601‐1907
STOGSDILL, MICHAEL V               3208 CLIFTON AVE APT C                                                                      SAINT LOUIS     MO   63139‐2300
STOGSDILL, NOLAN H                 PO BOX 176                                                                                  BOURBON         MO   65441‐0176
STOGSDILL, ROBERT                  84 WOODLAND AVE                                                                             FOND DU LAC     WI   54935‐5749
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Name                          Address1                         Address2                Address3    Address4         City              State Zip
STOHLDRIER DON                4404 GLEN EAGLE DRIVE                                                                 COLUMBIA           MO 65203‐4834
STOHLER JR, FLOYD             1540 OHIO AVE                                                                         ANDERSON           IN 46016‐1934
STOHLER, DON C                PO BOX 241                                                                            FRANKTON           IN 46044‐0241
STOHLER, DOYLE E              1102 CENTRAL AVE                 APT 212                                              ANDERSON           IN 46016‐1759
STOHLER, EDWARD C             2623 MERIDIAN ST                                                                      ANDERSON           IN 46016‐5255
STOHLER, GORDON A             2867 ALEXANDRIA PIKE                                                                  ANDERSON           IN 46012‐9206
STOHLER, HERBERT W            6448 S BAROUCHE                                                                       PENDLETON          IN 46064‐8615
STOHLER, KENNETH D            PO BOX 112                                                                            MARKLEVILLE        IN 46056‐0112
STOHLER, KEVIN R
STOHLER, LORRI S              8719 S STATE ROAD 109                                                                 MARKLEVILLE       IN   46056‐9715
STOHLER, LOU                  14365 HIGHWAY 196                                                                     NANCY             KY   42544
STOHLER, MARTIE               3788 S 300 E                                                                          ANDERSON          IN   46017‐9766
STOHLER, MARTIE J.            3788 S 300 E                                                                          ANDERSON          IN   46017‐9766
STOHLER, MELINDA M            RR 7 BOX 19                                                                           ANDERSON          IN   46017
STOHLER, MERRILL R            226 SARATOGA WAY                                                                      ANDERSON          IN   46013‐4774
STOHLER, RALPH W              4202 HAMILTON CT                                                                      SAINT CLOUD       FL   34769‐6707
STOHLER, RONALD W             764 N 500 W                                                                           ANDERSON          IN   46011‐1428
STOHLER, SANDRA S             764 N 500 W                                                                           ANDERSON          IN   46011‐1428
STOHLER, SHERALYN P           PO BOX 112                                                                            MARKLEVILLE       IN   46056‐0112
STOHLER, WARREN E             6280 D 625 W                                                                          PENDLETON         IN   46054‐8972
STOHLER, WILLIAM M            420 49TH ST E LOT 41                                                                  PALMETTO          FL   34221‐2051
STOHLMAN, GERALD R            3056 W COOK RD                                                                        GRAND BLANC       MI   48439
STOHLMAN, TIMOTHY J           3105 E WILLARD RD                                                                     CLIO              MI   48420‐7703
STOHLMAN, TIMOTHY JACK        3105 E WILLARD RD                                                                     CLIO              MI   48420‐7703
STOHON JR, PETER J            5420 CRANBERRY LAKE RD S                                                              PRESCOTT          MI   48756
STOHON, FLORA                 SEASON'S #21315 BLOOMFIELD AVE   APT/SUITE #102                                       LAKEWOOD          CA   90715
STOHON, JOHN A                4493 FRANKLIN TRL                                                                     STERLING          MI   48659‐9405
STOHOVITCH, WANETA M          STE 104                          25600 WOODWARD AVENUE                                ROYAL OAK         MI   48067‐0944
STOHR, THOMAS J               3815 SAINT CLAIR ST                                                                   MADISON           WI   53711‐1755
STOHRER, MARY A               457 E EDGEWOOD BLVD APT 105                                                           LANSING           MI   48911‐5857
STOHRER, WILLIAM D            1225 W JOLLY RD                                                                       LANSING           MI   48910‐5128
STOIA, JOHANNA                29 SPRINGBROOK RD W                                                                   MONTVILLE         NJ   07045‐9136
STOIA, MARY A                 PO BOX 313                                                                            CAMBY             IN   46113‐0313
STOIA, MICHAEL L              PO BOX 313                                                                            CAMBY             IN   46113‐0313
STOIA, NEVA N                 7631 TROTTER RD                                                                       CAMBY             IN   46113‐9418
STOIBER, ADA K                8 SHARON DR APT 1                                                                     MASSENA           NY   13662‐1652
STOIBER, ERICH A              726 S LA HUERTA                                                                       GREEN VALLEY      AZ   85614‐2231
STOIBER, HAROLD P             12810 W CHERRYTREE LN                                                                 NEW BERLIN        WI   53151‐7606
STOIBER, LEONA T              14777 W HIDDEN CREEK CT                                                               NEW BERLIN        WI   53151‐4463
STOIBER, MARJORIE A           7030 W. FOREST HOME AVENUE                                                            MILWAUKEE         WI   53220
STOIBER, PATRICIA A           S76W14501 EASY ST                                                                     MUSKEGO           WI   53150
STOIBER, RICHARD G            64 BOND ST#C                                                                          BATTLE CREEK      MI   49037
STOICA, CHRISTOPHER M         4286 PHEASANT DR                                                                      FLINT             MI   48506‐1742
STOICA, CHRISTOPHER MICHAEL   4286 PHEASANT DR                                                                      FLINT             MI   48506‐1742
STOICA, GEORGE M              5425 TEAKWOOD DR                                                                      SWARTZ CREEK      MI   48473‐9427
STOICK HEATHER                1202 9TH AVENUE WEST                                                                  MOBRIDGE          SD   57601‐1210
STOICK, GAIL M                3133 CROMWELL PL                                                                      HAYWARD           CA   94542‐1209
STOICK, NOLA I                4521 STANLEY RD                                                                       CLUMBIAVILLE      MI   48421‐8904
STOICK, NOLA I                4521 STANLEY ROAD                                                                     COLUMBIAVILLE     MI   48421‐8904
STOICK, RAYMOND W             11662 PLAZA DR APT 5                                                                  CLIO              MI   48420‐1748
STOICK, RICHARD W             10463 N CENTER RD                                                                     CLIO              MI   48420‐9758
STOICK, VIOLA M               3250 WALTON BLVD APT 229                                                              ROCHESTER HILLS   MI   48309‐1281
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Name                        Address1                            Address2                     Address3   Address4                  City               State Zip
STOICO, MARIE               777 HARVEY LN                                                                                         THE VILLAGES        FL 32162‐8747
STOICO, MARK J              44 WOODRIDGE RD                                                                                       MILFORD             MA 01757‐3926
STOICOVY, MARGARET L        1150B ARGYLL CIR                                                                                      LAKEWOOD            NJ 08701‐6984
STOICU, DANIEL W            628 OAKCREST LN                                                                                       WHITE LAKE          MI 48386‐3140
STOIKE I I, ARTHUR A        3970 DALE RD                                                                                          BEAVERTON           MI 48612‐9753
STOIKES, DAVID J            3315 NEWCASTLE DR                                                                                     JANESVILLE          WI 53546
STOIKES, PAUL D             2519 MOUNT VERNON AVE                                                                                 JANESVILLE          WI 53545‐2298
STOIKES, PAUL R             3627 N EMERALD GROVE RD                                                                               MILTON              WI 53563‐9738
STOILOFF, JOHN L            912 KIOWA DR                                                                                          BURKBURNETT         TX 76354‐2950
STOILOFF, MARIO A           7350 SILVER LAKE RD APT 36C                                                                           RENO                NV 89506‐1335
STOINSKI, GARY L            410 OLD MILL DR                                                                                       FLUSHING            MI 48433‐2178
STOINSKI, GLENN P           1611 COLORADO AVE                                                                                     FLINT               MI 48506
STOINSKI, IMOGENE           5477 N ELMS RD                                                                                        FLUSHING            MI 48433‐9057
STOINSKI, JACOB             3411 F 41                                                                                             LINCOLN             MI 48742‐9742
STOINSKI, LARRY F           3692 S LAKE DR                                                                                        BEAVERTON           MI 48612‐8858
STOINSKI, RICHARD L         5477 N ELMS RD                                                                                        FLUSHING            MI 48433‐9057
STOINSKI, TIMOTHY F         6034 N VASSAR RD                                                                                      FLINT               MI 48506‐1236
STOIOFF, ROBERT G           69 FAIRVIEW AVE                                                                                       DONORA              PA 15033‐2174
STOIOFF, ROBERT J           69 FAIRVIEW AVE                                                                                       DONORA              PA 15033‐2174
STOJ, FERDINAND             63 BLOOMER RD                                                                                         MAHOPAC             NY 10541‐3709
STOJAN MILOSEVIC            1693 EMMONS BLVD                                                                                      LINCOLN PARK        MI 48146‐3819
STOJAN PRUSAC               4148 W COURT ST                                                                                       FLINT               MI 48532‐3521
STOJANKA ZMEJKOSKI          515 N JOHN DALY RD                                                                                    DEARBORN HTS        MI 48127‐4101
STOJANOV, ANTONIO           1105 79TH ST                                                                                          DARIEN               IL 60561‐4503
STOJANOV, KIRIL H           7851 GRANDLEY CT                                                                                      REYNOLDSBURG        OH 43068‐3105
STOJANOV, NAUM              1105 79TH ST                                                                                          DARIEN               IL 60561‐4503
STOJANOVIC, HELEN           535 NEWPORT DR                                                                                        PITTSBURG           PA 15235‐3230
STOJANOVIC, LJUBOMIR        GRMECKA 5B                                                                  BANJA LUKA 78214 BOSNIA
                                                                                                        AND HERCEGOVINA
STOJANOVIC, MARTHA E        6577 GALE DR                                                                                          SEVEN HILLS        OH   44131‐3130
STOJANOVIC, PETE            5917 ROSLYN ST                                                                                        MCKEESPORT         PA   15135‐1126
STOJANOVSKI, DOBRICA        13375 DIEGEL DR                                                                                       SHELBY TWP         MI   48315‐1357
STOJANOVSKI, PAVLE          33450 25 MILE RD                                                                                      CHESTERFIELD       MI   48047‐2706
STOJANOVSKI, SLAVCO         1 ANN MARIE DR                                                                                        LANCASTER          NY   14086‐9440
STOJANOVSKI, SOKOL          13375 DIEGEL DR                                                                                       SHELBY TWP         MI   48315‐1357
STOJANOWSKI, CAROLYN J      5119 S BUNKER HILL DR                                                                                 BRIGHTON           MI   48114‐9012
STOJANOWSKI, DEBORA K       555 85TH AVE N                                                                                        SAINT PETERSBURG   FL   33702
STOJCEVICH, SAVO            7753 HOOP RD                                                                                          INDIANAPOLIS       IN   46217‐4304
STOJCEVSKI VLADIMIR         7928 164TH CT                                                                                         TINLEY PARK        IL   60477‐1446
STOJCEVSKI, VLADIMIR        7928 164TH CT                                                                                         TINLEY PARK        IL   60477‐1446
STOJCIC, GORAN              205 PASEO DE LAS DELICIAS                                                                             REDONDO BEACH      CA   90277
STOJKOVIC, BORIS D          516 N 7TH ST                                                                                          ANN ARBOR          MI   48103‐3324
STOJKOVIC, EDITH M          376 MITTEN                          SARNIA ,ONT                             SARNIA CANADA
STOJKOVICH, PREDRAG         601 71ST ST                                                                                           DARIEN             IL   60561‐4001
STOJSAVLJEVIC, JULI         3467 S 15TH PL                                                                                        MILWAUKEE          WI   53215‐5031
STOJSAVLJEVIC, MARKO M      3634 E 55TH ST                                                                                        CLEVELAND          OH   44105‐1128
STOJSIH, JAMES S            17971 VERONICA AVE                                                                                    EASTPOINTE         MI   48021‐3210
STOKA, CAROL B              84 MOUNTAINVIEW RD                                                                                    EWING              NJ   08628‐1806
STOKARSKI EDWARD (633057)   ANGELOS PETER G                     100 N CHARLES STREET , ONE                                        BALTIMORE          MD   21201
                                                                CHARLES CENTER
STOKARSKI, EDWARD           ANGELOS PETER G                     100 N CHARLES STREET, ONE                                         BALTIMORE          MD 21201‐3812
                                                                CHARLES CENTER
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Name                                  Address1                         Address2                          Address3   Address4         City               State Zip
STOKAS, ANDREW A                      4292 W PINEWOOD DR                                                                             ROSCOMMON           MI 48653‐9360
STOKE, CAROLYNN C                     425 STEWART AVE NW                                                                             WARREN              OH 44483‐2137
STOKE, JOSEPH A                       425 STEWART AVE NW                                                                             WARREN              OH 44483‐2137
STOKEL, BARBARA J                     9 LEDYARD RD                                                                                   WEST HARTFORD       CT 06117‐1712
STOKEL, BARBARA J                     APT 906                          9550 SOUTH OCEAN DRIVE                                        JENSEN BEACH        FL 34957‐2348
STOKELEY, SHARON
STOKELY, AGNES                        7001 CRESTWOOD ST                                                                              DEARBORN HEIGHTS   MI    48127‐4600
STOKELY, ROBERT J                     39500 WARREN RD TRLR 87                                                                        CANTON             MI    48187‐4346
STOKEN, CONNIE M                      7163 22 MILE RD                                                                                SAND LAKE          MI    49343‐9664
STOKEN, CURT                          955 JONES ST NW                                                                                GRAND RAPIDS       MI    49544‐2823
STOKEN, CURT                          955 JONES NORTH WEST                                                                           GRAND RAPIDS       MI    49544
STOKER                                G 5142 MILLER RD                                                                               FLINT              MI    48507
STOKER JR, ARLEY E                    16 STEWART ST                                                                                  SMITHFIELD         PA    15478‐9726
STOKER JR, CHARLES A                  1421 SW GRAND BLVD                                                                             OKLAHOMA CITY      OK    73119‐2344
STOKER, EMILY                         802 SUE ST                                                                                     ALBANY             GA    31705‐1606
STOKER, ESTHER E                      623 RIVERSIDE AVE                                                                              ADRIAN             MI    49221‐1528
STOKER, FRANCIS C                     5382 HIGHWAY 70 E                                                                              CROSSVILLE         TN    38555‐1581
STOKER, GERALDINE M                   1055 CELEBRATION DR                                                                            SEBRING            FL    33872‐9231
STOKER, JASON CHRISTOPHER             APT 54                           100 8TH AVENUE                                                SHALIMAR           FL    32579‐1463
STOKER, LONNIE K                      1002 W TUCKER BLVD                                                                             ARLINGTON          TX    76013‐5109
STOKER, MARGARET, LOSS OF             C/O HAROWITZ & TIGERMAN LLP      450 SANSOME ST, 3RD FL                                        SAN FRANCISCO      CA    94111‐3311
CONSORTIUM
STOKER, RICHARD J                     873 NORWEGIAN WOOD DRIVE                                                                       MEDINA             OH    44256‐3517
STOKER, STANLEY H                     2005 MURRAY ST                                                                                 GRAND BLANC        MI    48439‐9389
STOKER, STANLEY HOWARD                2005 MURRAY ST                                                                                 GRAND BLANC        MI    48439‐9389
STOKER, WAVA ARLENE                   10021 CENTURY LN                                                                               LENEXA             KS    66215‐1921
STOKES                                610 N CENTRAL AVE STE 202                                                                      GLENDALE           CA    91203‐1407
STOKES BRIAN K                        DBA TECH TEAM SUPPORT            15205 DUNLEIGH DR                                             BOWIE              MD    20721‐3260
STOKES CHARLES W (404849)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA    23510
                                                                       STREET, SUITE 600
STOKES CHEVROLET INC                  2130 HIGHLAND AVE S                                                                            BIRMINGHAM          AL   35205‐4002
STOKES CHEVROLET INC                  TAYLOR & TAYLOR                  2130 HIGHLAND AVE S                                           BIRMINGHAM          AL   35205
STOKES CHEVROLET, BUICK, PONTIAC, G   2011 7TH ST N                                                                                  CLANTON             AL

STOKES CHEVROLET, BUICK, PONTIAC, GM KIRK STOKES                       2011 7TH ST N                                                 CLANTON             AL   35045

STOKES CHEVROLET, BUICK, PONTIAC, GMC 2011 7TH ST N                                                                                  CLANTON             AL   35045

STOKES CHEVROLET, INC.                KIRK STOKES                      2011 7TH ST N                                                 CLANTON            AL    35045
STOKES CODY, ANNTONETTA               14443 FAIRMOUNT DR                                                                             DETROIT            MI    48205‐1273
STOKES DAN                            76 CROSS BROOK RD                                                                              WOODBURY           CT    06798‐1504
STOKES DAVID L                        STOKES, DAVID L                  101 MULBERRY STREET EAST PO BOX                               HAMPTON            SC    29924
                                                                       457
STOKES DAVID L                        STOKES, KIM                      101 MULBERRY STREET EAST PO BOX                               HAMPTON             SC   29924
                                                                       457
STOKES EQUIPMENT CO INC               1001 HORSHAM RD                                                                                HORSHAM            PA 19044‐1326
STOKES HARRY (440185)                 ANGELOS PETER G                  100 N CHARLES STREET , ONE                                    BALTIMORE          MD 21201
                                                                       CHARLES CENTER
STOKES HARRY A (ESTATE OF) (510315)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                    BALTIMORE          MD 21202
                                                                       CHARLES CENTER 22ND FLOOR
STOKES HASAN                          STOKES, HASAN                    29700 WARNER AVENUE                                           WARREN             MI 48092
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Name                                Address1                            Address2                          Address3   Address4         City                 State Zip
STOKES HODGES CHEVROLET CADILLAC BU 1214 WASHINGTON RD                                                                                THOMSON               GA 30824‐7324

STOKES HODGES CHEVROLET CADILLAC       1214 WASHINGTON RD                                                                             THOMSON              GA 30824‐7324
BUICK PONTIAC GMC
STOKES I I I, MICHAEL E                2196 THISTLEWOOD DR                                                                            BURTON               MI   48509‐1244
STOKES III, HERMAN                     5218 STATE LINE RD                                                                             OTTAWA LAKE          MI   49267‐9615
STOKES III, MICHAEL ELMER              2196 THISTLEWOOD DR                                                                            BURTON               MI   48509‐1244
STOKES JAMES (127936)                  WYSOKER GLASSNER & WEINGARTNER   340 GEORGE ST                                                 NEW BRUNSWICK        NJ   08901‐2011
STOKES JERRY                           3201 LONE OAK RD                                                                               PLANT CITY           FL   33567‐2034
STOKES JOAN                            STOKES, JOAN                     30 EAST BUTLER PIKE , SUITE 310                               AMBLER               PA   19002
STOKES JR, EDDIE W                     5261 TORCH LN                                                                                  DAYTON               OH   45427‐2743
STOKES JR, EDDIE W                     5261 TORCH LANE                                                                                DAYTON               OH   45427‐2743
STOKES JR, FLEMON                      1763 WELLESLEY ST                                                                              INKSTER              MI   48141‐1599
STOKES JR, JOSEPH                      15039 SNOWDEN ST                                                                               DETROIT              MI   48227‐3647
STOKES JR, LUTHER                      2818 RASKOB ST                                                                                 FLINT                MI   48504‐7512
STOKES JR, MICHAEL E                   PO BOX 257                                                                                     HOLLY                MI   48442‐0257
STOKES JR, THEODORE H                  1505 W GENESEE ST                                                                              FLINT                MI   48504‐2576
STOKES JR., LAURENCE E                 27410 BRADFORD LN                                                                              SOUTHFIELD           MI   48076‐5617
STOKES JR., LAURENCE EARL              27410 BRADFORD LN                                                                              SOUTHFIELD           MI   48076‐5617
STOKES KEVIN                           STOKES, KEVIN                    400 SW LONGVIEW BLVD SUITE 280                                LEES SUMMIT          MO   64081

STOKES MARJORIE                        303 SOUTH 3RD STREET                                                                           UNION CITY           TN 38261‐3723
STOKES NORTH, INC.                     WILLIAM STOKES                   2004 WILSON RD                                                NEWBERRY             SC 29108‐2204
STOKES PATRICIA (ESTATE OF) (489258)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD           OH 44067
                                                                        PROFESSIONAL BLDG
STOKES SHERRY                          871 COUPLAND RD                                                                                BRANCHVILLE          AL   35120‐4705
STOKES SR, FLEMON                      18484 HARLOW ST                                                                                DETROIT              MI   48235‐3273
STOKES STEEL TREATING CO               624 KELSO ST                                                                                   FLINT                MI   48506‐4035
STOKES SUSAN                           PO BOX 550                                                                                     UPPERVILLE           VA   20185‐0550
STOKES VACUUM INC                      PO BOX 8500                                                                                    PHILADELPHIA         PA   19178‐8500
STOKES WALTER (427593)                 PORTER & MALOUF PA               4670 MCWILLIE DR                                              JACKSON              MS   39206‐5621
STOKES, ALFRED J                       4322 VIRGINIA AVE                                                                              CINCINNATI           OH   45223‐1533
STOKES, ALZORA                         4083 GRANDVIEW DR                                                                              FLUSHING             MI   48433‐2365
STOKES, ANNA L                         18401 CHAGRIN BLVD ‐ DOWN                                                                      SHAKER HTS           OH   44122‐4848
STOKES, ANNETTE                        20024 WOODSIDE ST                                                                              HARPER WOODS         MI   48225‐2264
STOKES, ANNETTE                        17058 STRICKER AVE                                                                             EASTPOINTE           MI   48021‐3020
STOKES, ARTHUR D                       1623 TREXLER RD                                                                                TEXARKANA            TX   75501‐8961
STOKES, BARBARA E                      606 SHORT ST                                                                                   GLADWIN              MI   48624‐1462
STOKES, BARBARA E                      606 SHORT STREET                                                                               GLADWIN              MI   48624‐1462
STOKES, BARBARA G                      2406 CENTRAL AVE                                                                               ANDERSON             IN   46016‐5122
STOKES, BENNIE F                       715 OAKLAND AVE APT 301                                                                        OAKLAND              CA   94611‐4519
STOKES, BERNICE                        11 BELLMONTE AVE                                                                               MIDDLETOWN           OH   45042‐3538
STOKES, BERNICE E                      1712 RUSSELL ST                                                                                YPSILANTI            MI   48198‐6042
STOKES, BERNITA                        8110 STRATHMOOR ST                                                                             DETROIT              MI   48228‐2496
STOKES, BESSIE                         8423 HOLLOW GLEN PL APT F                                                                      CHARLOTTE            NC   28226‐4768
STOKES, BETTY J                        3539 MCKENZIE COVE                                                                             MEMPHIS              TN   38118
STOKES, BRANDEE K                      4780 STRATHCONA                                                                                HIGHLAND             MI   48357‐2753
STOKES, BRYAN                          114 DILLINGHAM DR                                                                              MONROE               LA   71203‐3310
STOKES, BRYAN K                        114 DILLINGHAM DR                                                                              MONROE               LA   71203‐3310
STOKES, CALLIE J                       3724 THOMAS JEFFERSON RD.                                                                      JACKSON              MS   39213‐9213
STOKES, CANDACE                        3068 SETH DR                                                                                   GREEN COVE SPRINGS   FL   32043‐5238
STOKES, CAROLE J                       70 WINDEMERE RD                                                                                WEST TERRE HAUTE     IN   47885‐9515
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Name                     Address1                            Address2                      Address3                   Address4         City              State Zip
STOKES, CAROLINE         4266 E LAKE RD                                                                                                LIVONIA            NY 14487‐4487
STOKES, CHARLES W        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                               NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
STOKES, CLEVELAND L      373 WESTERN AVE                                                                                               JOLIET            IL   60435‐7173
STOKES, CLIFTON A        1341 DEER CREEK TRL                                                                                           GRAND BLANC       MI   48439‐9290
STOKES, CRESTON K        PO BOX 200                                                                                                    CICERO            IN   46034‐0200
STOKES, CURTIS           6676 IRIS AVE                                                                                                 CINCINNATI        OH   45213‐1161
STOKES, DAINELL          161 MAXWELL AVE                                                                                               ROCHESTER         NY   14619‐2027
STOKES, DAN A            3693 RICHMONDVILLE RD                                                                                         DECKERVILLE       MI   48427‐9350
STOKES, DAVID
STOKES, DAVID H          901 EVIAN DR NW                                                                                               KENNESAW          GA 30152‐2804
STOKES, DAVID HENRY      901 EVIAN DR NW                                                                                               KENNESAW          GA 30152
STOKES, DAVID L          PETERS MURDAUGH PARKER ELTZROTH &   PO BOX 457                    101 MULBERRY STREET EAST                    HAMPTON           SC 29924‐0457
                         DETRICK
STOKES, DENNIS L         26146 MANDALAY CIR                                                                                            NOVI              MI   48374‐2378
STOKES, DIANE A          4405 PENGELLY RD                                                                                              FLINT             MI   48507‐5420
STOKES, DONALD E         2711 DELK CT                                                                                                  BALTIMORE         MD   21222‐1610
STOKES, DOROTHY          2806 KISMET LN                                                                                                HOUSTON           TX   77043‐1709
STOKES, DOROTHY M        16219 LAMPLIGHTER CT #1107                                                                                    SOUTHFIELD        MI   48075
STOKES, EDWARD W         900 N BROOM ST APT 26                                                                                         WILMINGTON        DE   19806‐4546
STOKES, ELAINE M         520 E PATERSON ST                                                                                             FLINT             MI   48505‐4742
STOKES, ELIZABETH        2855 W WARREN BLVD                                                                                            CHICAGO           IL   60612‐1919
STOKES, ELIZABETH        2855 W WARREN                                                                                                 CHICAGO           IL   60612‐1919
STOKES, ERNEST F         4162 MAPLE PATH CIR                                                                                           NOTTINGHAM        MD   21236‐5562
STOKES, ERSKINE J        5149 WELL FLEET DR                                                                                            DAYTON            OH   45426‐1419
STOKES, EUNICE M         6975 LAKEMONT CIR                                                                                             WEST BLOOMFIELD   MI   48323
STOKES, EVERETT R        201 DOLAK ST                                                                                                  WESTVILLE         IL   61883‐1071
STOKES, FANNIE ANN       1487 HARVEST LN SE                                                                                            ATLANTA           GA   30317‐3016
STOKES, FAYE M           616 DOUGLAS GROVE RD                                                                                          MARTINSBURG       WV   25405‐3074
STOKES, FLORENCE M       750 WILLOW BEND LN                                                                                            COLUMBUS          OH   43204‐1432
STOKES, FLOYD S          3819 INGHAM ST                                                                                                LANSING           MI   48911‐2368
STOKES, FRANCES          656 WHITLEY AVE                                                                                               JOLIET            IL   60433‐1953
STOKES, GARRETT          8006 OLD POST RD                                                                                              TEXARKANA         AR   71854‐8923
STOKES, GARY J           150 N FIJI CIR                                                                                                ENGLEWOOD         FL   34223‐6214
STOKES, GARY W           2670 LAURELSTONE LN                                                                                           BOWLING GREEN     KY   42104‐4740
STOKES, GAY
STOKES, GERALD B         19441 SORRENTO ST                                                                                             DETROIT           MI   48235‐1235
STOKES, GERALD LEE       11125 NE HURLEYS LN                                                                                           NEWBERG           OR   97132‐7343
STOKES, GLADYS P         13507 HACIENDA TRAIL DR                                                                                       SAN ANTONIO       TX   78232‐5164
STOKES, HAMP R           MOODY EDWARD O                      801 W 4TH ST                                                              LITTLE ROCK       AR   72201‐2107
STOKES, HAMP ROBERT SR   C/O EDWARD O MOODY PA               801 W 4TH ST                                                              LITTLE ROCK       AR   72201
STOKES, HARRY            ANGELOS PETER G                     100 N CHARLES STREET, ONE                                                 BALTIMORE         MD   21201‐3812
                                                             CHARLES CENTER
STOKES, HARRY A          ANGELOS PETER G LAW OFFICES OF      100 N CHARLES STREET, ONE                                                 BALTIMORE         MD 21202
                                                             CHARLES CENTER 22ND FLOOR
STOKES, HATTIE Q         9566 HARTWELL                                                                                                 DETROIT           MI   48227‐3423
STOKES, HATTIE Q         9566 HARTWELL ST                                                                                              DETROIT           MI   48227‐3423
STOKES, HELEN            100 W COLGATE AVE                                                                                             PONTIAC           MI   48340‐1143
STOKES, HELEN            2918 MELBOURNE AVE                                                                                            DAYTON            OH   45417‐1616
STOKES, HENRY T          439 VICTOR DR                                                                                                 SAGINAW           MI   48609‐5185
STOKES, HERMALENE        16243 LAWTON ST                                                                                               DETROIT           MI   48221‐3322
STOKES, IRMA J           1309 PEBBLE BEACH LN                                                                                          HAMPTON           GA   30228‐6146
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Name                    Address1                         Address2                         Address3   Address4         City            State Zip
STOKES, JACE W          12898 HIBNER RD                                                                               HARTLAND         MI 48353‐1421
STOKES, JACQUALINE M    280 WAYNE WRIGH ST                                                                            NEWARK           NJ 07112
STOKES, JACQUELINE      1763 WELLESLEY ST                                                                             INKSTER          MI 48141‐1599
STOKES, JAMES           WYSOKER GLASSNER & WEINGARTNER   340 GEORGE ST                                                NEW BRUNSWICK    NJ 08901‐2011
STOKES, JAMES A         4900 GENERAL EWELL DR                                                                         BOSSIER CITY     LA 71112‐4728
STOKES, JAMES E         31 TOWALIGA RD                                                                                FORSYTH          GA 31029‐4055
STOKES, JAMES E         LEE WILLIAM L JR                 PO BOX 14047                                                 JACKSON          MS 39236‐4047
STOKES, JAMES F         7847 OAKLAND DR                                                                               PORTAGE          MI 49024‐4933
STOKES, JAMES H
STOKES, JAMES H         115 FAIRFIELD AVE                                                                             BELLEVUE        OH 44811‐1009
STOKES, JAMES L         436 FRANKLIN BLVD                                                                             SOMERSET        NJ 08873‐3059
STOKES, JANET L.        6710 S DIXIE HWY                                                                              ERIE            MI 48133‐9659
STOKES, JARED
STOKES, JEAN E          1408 KELLOGG DR                                                                               RAVARES         FL   32778‐4938
STOKES, JEAN V          900 N 90TH ST 490                                                                             OMAHA           NE   68114
STOKES, JENNIE          8054 HENDERSON ROAD                                                                           GOODRICH        MI   48438
STOKES, JIMMIE          4405 PENGELLY RD                                                                              FLINT           MI   48507‐5420
STOKES, JOAN            KIMMEL & SILVERMAN PC            30 EAST BUTLER PIKE, SUITE 310                               AMBLER          PA   19002
STOKES, JOHN A          2221 WESTBURY CT SW                                                                           DECATUR         AL   35603
STOKES, JOHN B          20405 FOX                                                                                     REDFORD         MI   48240‐1207
STOKES, JOHN M          8218 CLARKS CV                                                                                ADDISON         MI   49220‐9534
STOKES, JOHN O          412 ROYAL BONNET CT                                                                           FORT MYERS      FL   33908‐1612
STOKES, JOHNNY L        1733 W 107TH ST APT 3                                                                         LOS ANGELES     CA   90047‐4446
STOKES, JUDITH R        1509 BLUNT ST                                                                                 MINERAL RIDGE   OH   44440‐9705
STOKES, JUDITH R        1509 BLUNT ST.                                                                                MINERAL RIDGE   OH   44440‐9705
STOKES, JULIA           8874 STAHELIN AVE                                                                             DETROIT         MI   48228‐3057
STOKES, KAREN M         W153N9646 NEPTUNE DR                                                                          GERMANTOWN      WI   53022‐5214
STOKES, KATHY D         4900 GENERAL EWELL DR                                                                         BOSSIER CITY    LA   71112‐4728
STOKES, KEVIN           KROHN & MOSS ‐ MO                400 SW LONGVIEW BLVD STE 280                                 LEES SUMMIT     MO   64081‐2157
STOKES, KIRK A
STOKES, LARRY
STOKES, LARRY D         5501 STOWEHILL DR SE                                                                          KENTWOOD        MI   49508‐6379
STOKES, LARRY DARNELL   5501 STOWEHILL DR SE                                                                          KENTWOOD        MI   49508‐6379
STOKES, LARRY E         1926 SARAH LOUISE DR                                                                          BRANDON         FL   33510‐2084
STOKES, LAWRENCE        18519 ALBION ST                                                                               DETROIT         MI   48234‐3867
STOKES, LAWRENCE        14175 HIGHWAY 377 S                                                                           FORT WORTH      TX   76126
STOKES, LEE E           1018 W SOUTH ST                                                                               OWOSSO          MI   48867‐8911
STOKES, LESLIE D        14786 COUNTY ROAD 369                                                                         WINONA          TX   75792‐6012
STOKES, LINDA L         27430 VIRGINIA DR                                                                             WARREN          MI   48092‐3596
STOKES, LINDA S         6496 HERITAGE                                                                                 W BLOOMFIELD    MI   48322‐1338
STOKES, LIZZIE M        2818 RASKOB ST                                                                                FLINT           MI   48504‐7512
STOKES, LLOYD A         1400 HAMMERBERG CT. APT 6C                                                                    FLINT           MI   48507
STOKES, LOIS C          3559 MARTIN LUTHER KING JR                                                                    CLEVELAND       OH   44105‐1835
STOKES, LOUIS V         4914 BURCHFIELD AVE                                                                           LANSING         MI   48910‐5384
STOKES, MAE D           85 JONES ST                                                                                   FORSYTH         GA   31029‐1691
STOKES, MAMIE S         15262 RIVIERA SHORES DR                                                                       HOLLY           MI   48442‐1130
STOKES, MARCELLARS      8874 STAHELIN AVENUE                                                                          DETROIT         MI   48228‐3057
STOKES, MARK J          PO BOX 7083                                                                                   MERIDIAN        MS   39304‐7083
STOKES, MARVIN E        3401 NE RUSSELL RD                                                                            KANSAS CITY     MO   64117‐2246
STOKES, MARY
STOKES, MARY            26100 W 12 MILE RD               APT 141                                                      SOUTHFIELD      MI 48034‐1775
STOKES, MARY B          18236 GLASTONBURY ROAD                                                                        DETROIT         MI 48219‐2944
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Name                   Address1                     Address2            Address3         Address4         City              State Zip
STOKES, MARY J         2920 E 5TH ST                                                                      ANDERSON           IN 46012‐3704
STOKES, MARY J         2984 CHAPEL RIDGE CIRCLE                                                           DECATUR            GA 30034‐3547
STOKES, MARY L         405 HOPEWELL RD                                                                    BROWNSVILLE        PA 15417‐9542
STOKES, MARY L         18484 HARLOW                                                                       DETROIT            MI 48235
STOKES, MARY L         538 PARKGATE AVENUE                                                                INDIANAPOLIS       IN 46239‐6885
STOKES, MATTHEW L      12839 CIMARRON DR                                                                  BIRCH RUN          MI 48415‐9315
STOKES, MATTIE M       3936 #4 HUNTERS RIDGE DR                                                           LANSING            MI 48911‐1124
STOKES, MELVIN E       2548 GAYNOR RD                                                                     CHEBOYGAN          MI 49721‐9257
STOKES, MICHAEL J      32 CHAMBORD DR                                                                     NEWARK             DE 19702‐5548
STOKES, MICHELE L      6384 E HARVEST RIDGE DR                                                            AUSTINTOWN         OH 44515‐5579
STOKES, MILDRED E      6050 MAPLERIDGE DR                                                                 FLINT              MI 48532‐2118
STOKES, NANCY G        901 EVIAN DR NW                                                                    KENNESAW           GA 30152‐2804
STOKES, NATHANIEL      6602 ENGLISH OAK RD APT H                                                          BALTIMORE          MD 21234‐6765
STOKES, NORRIS A       608 CEDAR HILL RD NE                                                               ALBUQUERQUE        NM 87122‐1814
STOKES, NORRIS C       11405 WHITMORE AVE                                                                 CLEVELAND          OH 44108‐2645
STOKES, PATRICIA       3509 KEYES ST                                                                      FLINT              MI 48504‐2205
STOKES, PERRY D        19919 ARCHDALE ST                                                                  DETROIT            MI 48235‐2232
STOKES, RANDY J        22950 NW DOGWOOD ST                                                                HILLSBORO          OR 97124‐6565
STOKES, RANDY JAY      22950 NW DOGWOOD ST                                                                HILLSBORO          OR 97124‐6565
STOKES, RICHARD L      630 CLAY ST                                                                        ALGONAC            MI 48001‐1402
STOKES, ROBERT C       2181 RAMBLEWOOD RD                                                                 DOUGLAS            GA 31535‐5353
STOKES, ROBERT L       3020 KATHERINE VALLEY RD                                                           DECATUR            GA 30032‐5826
STOKES, ROBERT L       3505 DUDLEY AVE                                                                    BALTIMORE          MD 21213‐1814
STOKES, ROBERT L.      3505 DUDLEY AVE                                                                    BALTIMORE          MD 21213‐1814
STOKES, ROBERT S       204 STEEPLE DR                                                                     HARVEST            AL 35749‐9608
STOKES, ROBERT W       PO BOX 1104                                                                        SOMERSET           NJ 08875‐1104
STOKES, ROBIN L        3825 PORTSMOUTH CIR                                                                PLANO              TX 75023‐5915
STOKES, RODNEY D       15 1/2 NESBITT ST                                                                  YOUNGSTOWN         OH 44514
STOKES, RONELL         1853 MIDCHESTER DR                                                                 W BLOOMFIELD       MI 48324‐1138
STOKES, ROSE LEE       17800 CLIFF STREET                                                                 DETROIT            MI 48212‐1420
STOKES, ROSEANNE E     1007 MAIN STREET                                                                   ELWOOD             IN 46036‐1961
STOKES, RUTH K         14240 CRANBROOK RD                                                                 STERLING HTS       MI 48312‐5626
STOKES, SANDRA L       2857 HAMMOCK DR                                                                    PLANT CITY         FL 33566‐6753
STOKES, SARAH K        111 CIBOLO CREEK DR                                                                GEORGETOWN         TX 78633‐5317
STOKES, SUELLEN        914 HATTIE DR                                                                      ANDERSON           IN 46013‐1636
STOKES, T              200 OAKWOOD AVE                                                                    KEARNY             NJ 07032‐3553
STOKES, TERESA ANN     2459 WATERFORD DR # A                                                              BOWLING GREEN      KY 42101‐5267
STOKES, TERRY L        2884 LONGVIEW AVE                                                                  ROCHESTER HILLS    MI 48307‐4760
STOKES, THAILA M       6750 SHULL RD                                                                      DAYTON             OH 45424
STOKES, THEODORE       2407 SHERMAN AVE                                                                   ROCKFORD            IL 61101‐5370
STOKES, THOMAS H       2317 ANGEL AVE                                                                     TOLEDO             OH 43611‐1584
STOKES, THOMAS HENRY   2317 ANGEL AVE                                                                     TOLEDO             OH 43611‐1584
STOKES, THOMAS L       4126 FRANCISCO ST                                                                  PLEASANTON         CA 94566‐5617
STOKES, THOMAS R       4162 W PASADENA AVE                                                                FLINT              MI 48504
STOKES, TROY A         4603 OWENS DR                                                                      DAYTON             OH 45406‐1342
STOKES, TROY F         18028 VAN AKEN BLVD                                                                SHAKER HEIGHTS     OH 44122‐4821
STOKES, URSULA         27251 HICKORY ST                                                                   HARRISON TWP       MI 48045‐2579
STOKES, VERA A         13009 AMARYLLIS TRAIL                                                              ELGIN              TX 78621
STOKES, WALTER LEE     PORTER & MALOUF PA           4670 MCWILLIE DR                                      JACKSON            MS 39206‐5621
STOKES, WAYNE A        45003 GOVERNOR BRADFORD RD                                                         PLYMOUTH           MI 48170‐3713
STOKES, WILL           429 SOUTH MAGNOLIA AVENUE                                                          LANSING            MI 48912‐2929
STOKES, WILLIAM W      10655 VALI DR                                                                      INDIANAPOLIS       IN 46280‐1079
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Name                                Address1                          Address2                         Address3   Address4         City                  State Zip
STOKES, WILLIE C                    9333 STOUT ST                                                                                  DETROIT                MI 48228‐1539
STOKES, WILLIE E                    24631 KENOSHA #1103E                                                                           OAK PARK               MI 48237
STOKES, WILLIS R                    9700 STILLWATER LN                                                                             MINT HILL              NC 28227‐4187
STOKES‐HODGES DOMESTIC, INC.        JAN HODGES                        1770 GORDON HWY                                              AUGUSTA                GA 30904‐5168
STOKES‐HODGES SAVANNAH, INC.        JAN HODGES                        14080 ABERCORN ST                                            SAVANNAH               GA 31419‐1935
STOKES‐TRAINOR CHEVROLET‐PONTIAC‐CA 2004 WILSON RD                                                                                 NEWBERRY               SC 29108‐2204

STOKES‐TRAINOR CHEVROLET‐PONTIAC‐   2004 WILSON RD                                                                                 NEWBERRY               SC   29108‐2204
CADILLAC‐BUICK‐GMC
STOKFISZ, EILEEN F.                 32513 ANITA DR                                                                                 WESTLAND              MI    48185‐1510
STOKFISZ, ELIZABETH                 5418 HOLIDAY RD                                                                                MINNETONKA            MN    55345‐4422
STOKFISZ, KENNETH J                 1804 MAZATAN CT                                                                                GRANBURY              TX    76048‐6157
STOKFISZ, MARITA                    23331 SEXTON ST                                                                                DEARBORN HEIGHTS      MI    48127‐2349
STOKFISZ, SCOTT R                   3441 CHARLWOOD DR                                                                              ROCHESTER HILLS       MI    48306‐3620
STOKLAS, HENRY J                    1004 SUMMIT ST                                                                                 OWOSSO                MI    48867‐1866
STOKLEY TRENT JR.                   128 HOWES CHAPEL RD                                                                            ROGERSVILLE           TN    37857‐6000
STOKLEY'S SERVICE CENTER            928 BUTLER DR                                                                                  MOBILE                AL    36693‐5106
STOKLOSA JOSEPH F                   STOKLOSA, JOSEPH F                800 RAND BUILDING 14 LAFAYETTE                               BUFFALO               NY    14203
                                                                      SQUARE
STOKLOSA, BARRY M                   63 LOGAN CIR                                                                                   STRASBURG             VA    22657‐5266
STOKLOSA, CHESTER A                 9135 GREENWAY CT APT K173                                                                      SAGINAW               MI    48609‐6726
STOKLOSA, CHRISTINE G               817 HAVENSHIRE RD                                                                              NAPERVILLE            IL    60565‐6188
STOKLOSA, DENNIS L                  11 GREENHILL TER                                                                               WEST SENECA           NY    14224‐4118
STOKLOSA, DENNIS LOUIS              11 GREENHILL TER                                                                               WEST SENECA           NY    14224‐4118
STOKLOSA, ELEANORE E                14215 HILLSDALE                                                                                STERLING HEIGHTS      MI    48313‐3545
STOKLOSA, GREGORY L                 3730 KOCHVILLE RD                                                                              SAGINAW               MI    48604‐9226
STOKLOSA, GREGORY LYLE              3730 KOCHVILLE RD                                                                              SAGINAW               MI    48604‐9226
STOKLOSA, JOSEPH                    2907 WILSON CAMBRIA RD                                                                         WILSON                NY    14172‐9705
STOKLOSA, MARY                      22161 LANCREST CT                                                                              FARMINGTON HILLS      MI    48335‐5806
STOKLOSA, ROBERT J                  69 JOHN BRIAN LN                                                                               CHEEKTOWAGA           NY    14227‐3615
STOKOE, JAMES B                     PO BOX 634                                                                                     LINDEN                MI    48451‐0634
STOKOE, JAMES C                     2333 HEYWOOD STREET                                                                            SIMI VALLEY           CA    93065‐3656
STOKOE, PRISCILLA R                 122 MAPLE ST APT 3                                                                             MIO                   MI    48647
STOKOSA PROSTHETIC C                2145 UNIVERSITY PARK DR STE 100                                                                OKEMOS                MI    48864‐3982
STOKOSZYNSKI, JAMES M               8331 N JENNINGS RD                                                                             MOUNT MORRIS          MI    48458‐8212
STOKOSZYNSKI, LOUIS                 3133 HATHERLY AVE                                                                              FLINT                 MI    48504‐4312
STOKOSZYNSKI, RICHARD               2590 GROVE RD                                                                                  STANDISH              MI    48658
STOKOSZYNSKI, STANLEY F             3007 PALMER RD                                                                                 STANDISH              MI    48658‐9655
STOL, TIMOTHY A                     22366 MARY ST                                                                                  TAYLOR                MI    48180‐2752
STOLAJ, LODOVIK
STOLAR, BERNELL                     1215 FAIR AVENUE                  APT# 720                                                     SAN ANTONIO           TX    78223
STOLARCZYK, STELLA                  2737 NORWALK ST                                                                                HAMTRAMCK             MI    48212‐3419
STOLARCZYK, VIOLA                   125 TACOMA                                                                                     TROY                  MI    48084‐5424
STOLARCZYK, VIOLA                   125 TACOMA DR                                                                                  TROY                  MI    48084‐5424
STOLAROFF, CHARMETRA YVON           PO BOX 1250                                                                                    SPARKS                NV    89432
STOLAROFF, MICHAEL P                8334 A ST APT B                                                                                OAKLAND               CA    94621‐1810
STOLARSKI, EUGENE J                 3631 BYRD DR                                                                                   STERLING HEIGHTS      MI    48310‐6111
STOLARSKI, JOSEPH J                 244 KERBY RD                                                                                   GROSSE POINTE FARMS   MI    48236‐3148
STOLARSKI, NICHOLAS J               2302 PARKWOOD AVE                                                                              TOLEDO                OH    43620‐1127
STOLARSKI, SANDRA A                 38096 HURON POINTE DR                                                                          HARRISON TWP          MI    48045‐2831
STOLARZ, RICHARD L                  23300 BALMORAL LN G1                                                                           WEST HILLS            CA    91307
STOLBA, GARY TRUCKING               2520 STATE ROUTE 76                                                                            WILLOW SPRINGS        MO    65793‐8252
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Name                      Address1                            Address2          Address3       Address4         City               State Zip
STOLBA, MAGDALENA         15364 LAKES OF DELRAY BLVD APT 48                                                     DELRAY BEACH        FL 33484‐4385
STOLBA, VLADIMIR          7241 INGALLS ST                                                                       ARVADA              CO 80003‐3231
STOLBERG, RONALD A        4805 SW GULL POINT DR                                                                 LEES SUMMIT         MO 64082‐2417
STOLDT, JUERGEN           38540 DELTA ST                                                                        CLINTON TWP         MI 48036‐1710
STOLER, STANLEY H         2099 BRIARWOOD LN                                                                     TEMPERANCE          MI 48182‐9416
STOLFI, FRANK             45 BIRCHWOOD DR                                                                       TORRINGTON          CT 06790‐5736
STOLHAND CLARA            2733 DOLORES ST                                                                       ANTIOCH             CA 94509‐4815
STOLICH, WAYNE C          6 TWAIN PLACE                                                                         KETTERING           OH 45420‐2932
STOLICH, WAYNE C          6 TWAIN PL                                                                            KETTERING           OH 45420‐2932
STOLICKI, JEROME M        4777 SUNDERLAND DR                                                                    STERLING HEIGHTS    MI 48314‐1991
STOLICKI, RICHARD J       20372 SYCAMORE DR                                                                     CLINTON TWP         MI 48036‐1886
STOLIECKI, THOMAS J       11808 N AMBER RD                                                                      MANISTEE            MI 49660‐9574
STOLIKER, THOMAS R        4869 TOLLAND AVE                                                                      HOLT                MI 48842‐1035
STOLINSKY, ANN            305 WARD COURT                                                                        SOUTHAMPTON         PA 18966‐2760
STOLIPHER, DOUGLAS L      BOX 1599, ROPER N. FORK RD                                                            CHARLES TOWN        WV 25414
STOLIPHER, SALLIE A       23 CROWN CT                                                                           MARTINSBURG         WV 25401‐5169
STOLISH, EDWARD           758 GROVE AVE                                                                         KENT                OH 44240‐3408
STOLK DAVE                8845 MICHIGAMME RD                                                                    CLARKSTON           MI 48348‐3435
STOLK, DAVID J            8845 MICHIGAMME RD                                                                    CLARKSTON           MI 48348‐3435
STOLK, ROSE M             8845 MICHIGAMME RD                                                                    CLARKSTON           MI 48348‐3435
STOLKOWSKI, CLAUDE        2193 W 103RD ST                                                                       CLEVELAND           OH 44102‐3526
STOLL KEENON & PARK LLP   300 W VINE ST STE 2100                                                                LEXINGTON           KY 40507‐1801
STOLL NANCY               569 DONALD LN                                                                         WOODMERE            NY 11598‐1516
STOLL SHAUN               15526 BRACKENWOOD CT                                                                  NOBLESVILLE         IN 46062‐6704
STOLL, ALBERT W           RR 1                                                                                  FRANKLIN            OH 45005
STOLL, ALDONIA            5175 LILAC PLACE                                                                      WAYNE               MI 48184‐2516
STOLL, BARBARA F          48850 POINT LAKEVIEW ST                                                               CHESTERFIELD        MI 48047‐3417
STOLL, BELINDA            355 E UNION ST                                                                        LOCKPORT            NY 14094
STOLL, BELINDA A          355 E UNION ST                                                                        LOCKPORT            NY 14094‐2505
STOLL, BETTY JEAN         757 WALNUT ST                                                                         LOCKPORT            NY 14094‐3306
STOLL, BORDEN D           606 MISSOURI AVE BOX 377                                                              PLATTSBURG          MO 64477
STOLL, BRYAN SCOT         1607 FREMONT STREET                                                                   BAY CITY            MI 48708‐8053
STOLL, CATHERINE M        2151 HESS RD                                                                          APPLETON            NY 14008‐9641
STOLL, CHARLES G          22 BRIARWOOD DR                                                                       LOCKPORT            NY 14094‐5104
STOLL, DAVID R            1016 90TH ST                                                                          NIAGARA FALLS       NY 14304‐2814
STOLL, DIXIE M            350 WILDFLOWER LANE                                                                   LAPEER              MI 48446
STOLL, DORA               4824 STOREY AVE                                                                       MIDLAND             TX 79703‐5324
STOLL, EDWARD A           3075 DIXIE HWY A 38                                                                   LINCOLN PARK        MI 48146
STOLL, ELIZEBETH J        757 WALNUT STREET                                                                     LOCKPORT            NY 14094‐3306
STOLL, GAYLE LORAYNE      2867 WEST 116TH STREET                                                                GRANT               MI 49327‐8901
STOLL, GREGORY L          1041 LEVELY RD                                                                        BEAVERTON           MI 48612‐8404
STOLL, JAMES R            4227 S S R 9                                                                          ALBION              IN 46701
STOLL, JANICE F           9281 OLD HICKORY CIR                                                                  FORT MYERS          FL 33912‐6847
STOLL, JEFFREY R          214 GLENDALE DR                                                                       TONAWANDA           NY 14150‐4632
STOLL, JEFFREY ROBERT     214 GLENDALE DR                                                                       TONAWANDA           NY 14150‐4632
STOLL, JOHN W             WEITZ & LUXENBERG                   180 MAIDEN LANE                                   NEW YORK            NY 10038
STOLL, LAURA M            7805 W WILLOW HWY                                                                     GRAND LEDGE         MI 48837‐8927
STOLL, LAWRENCE A         5175 LILAC PL                                                                         WAYNE               MI 48184‐2516
STOLL, MARK W             170 OAK RIDGE ST                                                                      WHITE LAKE          MI 48386‐3345
STOLL, MICAELA            PO BOX 972116                                                                         YPSILANTI           MI 48197‐0836
STOLL, MICHAEL J          1341 ELIZABETH ST                                                                     REDLANDS            CA 92373‐4784
STOLL, MILDRED G          1148 SLUYTER ST SE                                                                    GRAND RAPIDS        MI 49508‐4755
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Name                       Address1                          Address2                          Address3   Address4         City                  State Zip
STOLL, NORMAN L            2537 DALTON DR                                                                                  ANN ARBOR              MI 48108
STOLL, PAUL D              9004 ROCKLAND                                                                                   REDFORD                MI 48239‐1888
STOLL, PAUL R              8786 VICTORY LANE                                                                               WILLIS                 MI 48191‐1006
STOLL, PAULA R             8786 VICTORY LN                                                                                 WILLIS                 MI 48191‐1005
STOLL, ROBERT E            1327 BLUE RIDGE LN                                                                              BROWNSBURG             IN 46112‐7647
STOLL, ROBERT M            355 E UNION ST                                                                                  LOCKPORT               NY 14094‐2505
STOLL, ROBERT W            757 WALNUT ST                                                                                   LOCKPORT               NY 14094‐3306
STOLL, SANDRA L            400 MOUNTAIN BAY TRAIL DR APT 5                                                                 SHAWANO                WI 54166‐2290
STOLL, SHARON              66 IDLEWOOD DR                                                                                  TONAWANDA              NY 14150‐6414
STOLL, SHARON              66 IIDLEWOOD DR                                                                                 TONAWANDA              NY 14150‐6414
STOLL, WILLIAM A           3359 VARDON DR                                                                                  ROCHESTER HLS          MI 48307‐5254
STOLL, WILLIAM L           14809 DASMARINAS DR                                                                             CORPUS CHRISTI         TX 78418‐6109
STOLLA, EDWARD E           8859 EDGERTON RD                                                                                CLEVELAND              OH 44133‐5650
STOLLAK, BRANDI            MORIARITY GOOCH BADARUDDIN &      124 WEST PINE STREET ‐ SUITE B                                MISSOULA               MT 59802‐4222
                           BOOKE
STOLLAK, MILTON            MORIARITY GOOCH BADARUDDIN &      124 WEST PINE STREET ‐ SUITE B                                MISSOULA              MT 59802‐4222
                           BOOKE
STOLLAR CONNIE LEE         STOLLAR, CONNIE LEE               1700 PLEASURE HOUSE RD STE 102A                               VIRGINIA BEACH        VA 23455‐4062

STOLLAR, CONNIE LEE        CONSUMER LEGAL SERVICES PC        30928 FORD RD                                                 GARDEN CITY           MI   48135‐1803
STOLLARD, GARY R           1027 SULLIVANT AVE                                                                              COLUMBUS              OH   43223‐1551
STOLLDORF, JOHN H          6930 WILDCAT RD                                                                                 CROSWELL              MI   48422‐9198
STOLLE, BARRY K            712 ALADAR DR                                                                                   O FALLON              IL   62269‐7511
STOLLENWERK, CHRISTINA M   9 SILENT GROVE CT                                                                               NORWALK               CT   06851‐1018
STOLLENWERK, ERWIN W       5967 S SWIFT AVE                                                                                CUDAHY                WI   53110‐3130
STOLLER NANCY              1135 N BLACKBERRY LN                                                                            EAST PEORIA           IL   61611‐5403
STOLLER NICOLE             SEEWEG 10                         9322 EGNACH
STOLLER ROSE               PO BOX 336220                                                                                   GREELEY               CO   80633‐0604
STOLLER, BRAD A            1660 MEADOWAY DR                                                                                DEFIANCE              OH   43512‐3629
STOLLER, EARNEST B         242 W HOWARD ST                                                                                 PONTIAC               MI   48342‐1242
STOLLER, JAMES E           1425 N TROY AVE                                                                                 MARION                IN   46952‐9264
STOLLER, MICHAEL R         352 MCKINLEY AVE                                                                                GROSSE POINTE FARMS   MI   48236‐3421
STOLLER, PEGGY K           1425 N TROY AVE                                                                                 MARION                IN   46952‐9264
STOLLER, PEGGY KAY         1425 N TROY AVE                                                                                 MARION                IN   46952‐9264
STOLLER, WILLIAM J         428 OLIVET DR                                                                                   ELYRIA                OH   44035‐2932
STOLLERY, TERESA           1 BAY ST                                                                                        PISCATAWAY            NJ   08854‐4645
STOLLING, PATRICIA         804 N EPPINGTON DR                                                                              TROTWOOD              OH   45426‐2522
STOLLING, PATRICIA         804 NORTH EPPINGTON DR                                                                          TROTWOOD              OH   45426‐5426
STOLLINGS, ANITA Y         55 HORACE STREET                                                                                DAYTON                OH   45402‐8313
STOLLINGS, BRENDA J        2107 OAKRIDGE DR                                                                                DAYTON                OH   45417‐2345
STOLLINGS, CHARLES         1151 EMERALD RD                                                                                 PAULDING              OH   45879‐7806
STOLLINGS, GLADYS D        1586 W 2ND ST                                                                                   XENIA                 OH   45385‐4204
STOLLINGS, JESSE C         220 JACH LN                                                                                     RUSSELLVILLE          AR   72802‐9115
STOLLINGS, JR,MICHAEL F    3470 SWEET POTATO RIDGE RD                                                                      ENGLEWOOD             OH   45322‐9768
STOLLINGS, MARK D          25555 W CHICAGO                                                                                 REDFORD               MI   48239‐2053
STOLLINGS, PHILLIP L       1263 LINDA VISTA AVE 2                                                                          DAYTON                OH   45405
STOLLSTEIMER, JANET L      22735 EDERER RD                   P O BOX 58                                                    MERRILL               MI   48637‐8745
STOLLSTEIMER, ROBERT L     22735 EDERER RD                   P O BOX 58                                                    MERRILL               MI   48637‐8745
STOLMAN, FLORENCE          37846 WINDWOOD DR                 C/O NEIL STOLMAN                                              FARMINGTON HILLS      MI   48335‐2761
STOLMAN, NEIL R            37846 WINDWOOD DR                                                                               FARMINGTON HILLS      MI   48335‐2761
STOLOFF RON                STOLOFF, RON                      2325 GRANT BUILDING 310 GRANT                                 PITTSBURGH            PA   15219
                                                             STREET
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Name                            Address1                      Address2                         Address3   Address4         City            State Zip
STOLOWSKI, PAUL J               426 E OVERLOOK DR                                                                          EASTLAKE         OH 44095‐1212
STOLP KENNETH                   615 S MAIN ST APT 6                                                                        VERDIGRE         NE 68783‐5014
STOLP, DOROTHY L                1148 W MOUNTAIN VW                                                                         GREEN VALLEY     AZ 85622‐3206
STOLP, KIMBERLY A               15186 W ALBAIN RD                                                                          PETERSBURG       MI 49270‐9514
STOLP, PHILIP C                 1148 W MOUNTAIN VW                                                                         GREEN VALLEY     AZ 85622‐3206
STOLPE KEVIN                    7943 SANGAMON AVE                                                                          SUN VALLEY       CA 91352‐4254
STOLPE, ALBERT K                345 WYNGATE DR                                                                             ROCHESTER        MI 48307‐1732
STOLPE,ALBERT K                 345 WYNGATE DR                                                                             ROCHESTER        MI 48307‐1732
STOLPIN, ROGER M                3136 QUICK RD                                                                              HOLLY            MI 48442‐1059
STOLPIN, WILLIAM R              12201 GAGE RD                                                                              HOLLY            MI 48442‐8339
STOLT, ALLEN E                  8626 WHITNEYVILLE CT SE                                                                    ALTO             MI 49302‐9785
STOLT, JOHN R                   20491 SUMNER                                                                               REDFORD          MI 48240‐1032
STOLTE, ETHEL C                 4809 NANCY LN                                                                              MANSFIELD        TX 76063‐5277
STOLTE, VERNON J                267 WESTHAVEN CIR                                                                          GENEVA            IL 60134‐3977
STOLTE, VIRGINIA M              5 ERMER RD                                                                                 SALEM            NH 03079‐1203
STOLTENBERG, GISELA P           3815 GREEN ROAD                                                                            BURLINGTON       KY 41005‐9632
STOLTENBERG, HOWARD A           226 WELLINGTON PL                                                                          EDISON           NJ 08817‐5224
STOLTENBERG, RONALD G           12888 IROQUOIS DR                                                                          BIRCH RUN        MI 48415‐9316
STOLTENBERG, THOMAS R           734 JEFFERSON ST                                                                           MOUNT MORRIS     MI 48458‐3211
STOLTER JOHN T                  DBA STOLTER LLC               2660 IRMA ST                                                 WARREN           MI 48092‐3729
STOLTER LLC                     2660 IRMA ST                                                                               WARREN           MI 48092‐3729
STOLTMAN, BETTY J               2808 TEAKWOOD DR                                                                           CLARKSVILLE      TN 37040‐6691
STOLTMAN, DONALD                96 HILL TER                                                                                HENRIETTA        NY 14467‐9710
STOLTMAN, JODY G                2230 S 66TH ST                                                                             WEST ALLIS       WI 53219
STOLTOW, GLENN R                4321 BADOUR RD                                                                             HEMLOCK          MI 48626‐9502
STOLTZ AUTOMOTIVE               4861 NEW WALKERTOWN RD                                                                     WALKERTOWN       NC 27051‐9556
STOLTZ ERIKA                    104 PAGANO DRIVE                                                                           NEW STANTON      PA 15672‐9781
STOLTZ ESQ., EVELYN E           44 CATBIRD CT                                                                              LAWRENCEVILLE    NJ 08648‐2045
STOLTZ RICHARD                  STOLTZ, RICHARD               120 WEST MADISON STREET , 10TH                               CHICAGO           IL 60602
                                                              FLOOR
STOLTZ, BERNARD R               32581/2HESS RD                                                                             LOCKPORT        NY   14094
STOLTZ, DELORIS L               1519 E 3RD ST                                                                              MESA            AZ   85203‐8119
STOLTZ, ELIZABETH T             43 ROCKTOWN LAMBERTVILLE RD                                                                LAMBERTVILLE    NJ   08530‐3104
STOLTZ, RONALD M                43 ROCKTOWN LAMBERTVILLE RD                                                                LAMBERTVILLE    NJ   08530‐3104
STOLTZ, RONALD M                5116 STONEHEDGE BLVD APT 1                                                                 FORT WAYNE      IN   46835‐3036
STOLTZ, STEPHEN V               66 COURTLAND AVE                                                                           CAMPBELL        OH   44405‐1307
STOLTZFUS TRAILER SALES, INC.   1335 WILMINGTON PIKE                                                                       WEST CHESTER    PA   19382‐8217
STOLTZFUS, LINDA L              5 FORTUNA LN                                                                               ENOLA           PA   17025‐2900
STOLTZFUS, ROBERT J             2829 SUNSET DR                                                                             FLINT           MI   48503‐5426
STOLZ, ANTHONY G                415 JONTE AVE                                                                              CINCINNATI      OH   45215‐2933
STOLZ, CHRISTINA A              6060 HUGH ST.                                                                              BURTON          MI   48509‐1622
STOLZ, CHRISTINA A              6060 HUGH ST                                                                               BURTON          MI   48509‐1622
STOLZ, DONNA J                  480 SUNBURST DR                                                                            FRANKENMUTH     MI   48734‐1241
STOLZ, DOROTHY J                25421 TRADEWINDS DR                                                                        LAND O LAKES    FL   34639‐5508
STOLZ, MARTHA E                 PO BOX 75                                                                                  HILTON          NY   14468‐0075
STOLZ, RONALD L                 6060 HUGH ST                                                                               BURTON          MI   48509‐1622
STOLZ, SHARON                   1735 N WAWAUSHNOSH DRIVE      PO BOX 514                                                   MANISTIQUE      MI   49854
STOLZ, SHARON                   PO BOX 514                    1735 N WAWAUSHNOSH DRIVE                                     MANISTIQUE      MI   49854‐0514
STOLZ, STEVEN B                 432 W SCHLEIER ST                                                                          FRANKENMUTH     MI   48734
STOLZ, THOMAS C                 25421 TRADEWINDS DR                                                                        LAND O LAKES    FL   34639‐5508
STOLZ, WERNER O                 15597 HUNTCLIFF DR                                                                         MACOMB          MI   48044‐3851
STOLZE, HEINZ E                 820 PALOMINO CT                                                                            SIMPSONVILLE    SC   29681‐6602
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Name                                 Address1                        Address2                        Address3   Address4         City                State Zip
STOLZENBERG, HAROLD                  6134 GODFREY RD                                                                             BURT                 NY 14028‐9756
STOLZENBERG, LARRY W                 6172 GODFREY RD                                                                             BURT                 NY 14028‐9756
STOLZENBURG, ERIC N                  7235 SHAWNEE RD                                                                             NORTH TONAWANDA      NY 14120‐1352
STOLZENBURG, RUTH A                  7235 SHAWNEE RD                                                                             NORTH TONAWANDA      NY 14120‐1352
STOLZENFELD, ROBERT N                5218 FOREST VALLEY DR                                                                       CLARKSTON            MI 48348‐3752
STOLZMAN, ANTHONY E                  73 CRESTHAVEN DR                                                                            WEST SENECA          NY 14224‐1216
STOLZMAN, ANTHONY EDWARD             73 CRESTHAVEN DR                                                                            WEST SENECA          NY 14224‐1216
STOMA, JAMES E                       1195 FARNSWORTH RD                                                                          WATERVILLE           OH 43566‐1036
STOMBAUGH, CLAIR A                   2617 HERITAGE FARM DR                                                                       WILMINGTON           DE 19808‐3729
STOMBAUGH, MERVIN R                  1008 WINFIELD DR                                                                            BEL AIR              MD 21015‐1537
STOMBAUGH, THOMAS E                  1332 FLAMINGO                                                                               WIXOM                MI 48393‐1507
STOMBER, BERNARD J                   22734 ASHLEY ST                                                                             FARMINGTON HILLS     MI 48336‐3504
STOMBER, JEANETTE M                  15587 SUMMIT PLACE CIR                                                                      NAPLES               FL 34119‐4127
STOMBER, RICHARD R                   15587 SUMMIT PLACE CIR                                                                      NAPLES               FL 34119‐4127
STOMBERSKI, HARRY W                  840 STARDUST DR                                                                             HERRIN                IL 62948‐2436
STOMCZEWSKI, PAM                     PO BOX 264                                                                                  SENECA                IL 61360‐0264
STOMMEL, JAYNE W                     8423 NOTTINGHILL DR                                                                         INDIANAPOLIS         IN 46234‐2666
STOMOFF, JR.,STEPHEN R               3213 PINNACLE PARK DR                                                                       MORAINE              OH 45418‐2983
STOMOFF, SHIRLEY D                   579 JUDITH DR                                                                               TIPP CITY            OH 45371‐1224
STOMPANATO, PATRICK                  3323 SONOMA CIR                                                                             LAKE IN THE HILLS     IL 60156‐6732
STONAKER, WENDELL G                  3236 COUNTY ROAD 4762                                                                       SULPHUR SPRINGS      TX 75482‐1269
STONE & HINDS                        700 FIRST AMERICAN CENTER       507 GAY STREET SW                                           KNOXVILLE            TN 37902
STONE & MCCARTHY RESEARCH            PO BOX                                                                                      PRINCETON            NJ 08542
ASSOCIATES INC
STONE ART MEMORIAL COMPANY INC       914 RIDGE RD                                                                                LACKAWANNA          NY    14218‐1653
STONE BELT                           2815 E 10TH ST                                                                              BLOOMINGTON         IN    47408‐2601
STONE BELT FREIGHT LINES INC         PO BOX 546                                                                                  SHOALS              IN    47581‐0546
STONE BONNIE C (353489)              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA    23510
                                                                     STREET, SUITE 600
STONE CHARLES (ESTATE OF) (489259)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                                     PROFESSIONAL BLDG
STONE CHESTER K (482031)             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                                     STREET, SUITE 600
STONE CITY PRESS PRINTING            1104 12TH ST                                                                                BEDFORD              IN   47421‐2915
STONE CITY PRODUCTS INC              ATTN: STEWART RARIDEN           PO BOX 369                                                  BEDFORD              IN   47421‐0369
STONE CLAUDE H (656855)              GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                  EDWARDSVILLE         IL   62025‐0959
                                     ANTOGNOLI
STONE COMPUTER/ROYAL                 32500 WOODWARD AVE                                                                          ROYAL OAK           MI    48073‐0949
STONE CONTAINER CORP                 3075 LONG LAKE RD                                                                           SAINT PAUL          MN    55113‐1025
STONE COUNTY COLLECTOR               107 W MAIN ST STE E                                                                         MOUNTAIN VIEW       AR    72560‐9610
STONE COUNTY TAX COLLECTOR           308 COURT ST                                                                                WIGGINS             MS    39577‐2700
STONE DOROTHY                        6891 APPROACH ROAD                                                                          SARASOTA            FL    34238‐5184
STONE EDDIE                          2165 KEMP DR                                                                                CUMMING             GA    30041‐5335
STONE FEUCHTENBERGER & BARRINGER     PO BOX 5726                                                                                 PRINCETON           WV    24740‐5726

STONE GEORGE M                       3604 COUNTY ROAD 2526                                                                       ROYSE CITY          TX 75189‐4421
STONE GLENDA                         STONE, GLENDA                   5609 BOBOLINK                                               MCLEANSVILLE        NC 27301
STONE HAROLD G (480791)              KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                               CLEVELAND           OH 44114
                                                                     BOND COURT BUILDING
STONE HOMER J (400753)               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                                     STREET, SUITE 600
STONE I I I, ROY H                   7543 BEEBE DR                                                                               GREENWOOD            LA   71033‐3318
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Name                             Address1                         Address2                          Address3                    Address4         City           State Zip
STONE III, ROY H                 7543 BEEBE DR                                                                                                   GREENWOOD       LA 71033‐3318
STONE JAMES M (429882)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                    NORFOLK         VA 23510
                                                                  STREET, SUITE 600
STONE JEFFREY                    STONE, ELIESCHA                  300 SW COLUMBIA STREET SUITE                                                   BEND           OR 97702
                                                                  203
STONE JEFFREY                    STONE, JEFFREY                   300 SW COLUMBIA STREET SUITE                                                   BEND           OR 97702
                                                                  203
STONE JENKINS SHARON             STONE JENKINS, SHARON            403 W 8TH ST STE 1                                                             ANDERSON        IN   46016‐1398
STONE JENKINS SHARON             STONE JENKINS, SHARON            HOWARD DELAY & HOOLEY             277 EAST 12TH STREET                         INDIANAPOLIS    IN   46202
STONE JOHN D.                    STONE, JOHN D.
STONE JON (494242) ‐ STONE JON   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                    NORFOLK        VA 23510
                                                                  STREET, SUITE 600
STONE JR, BUFORD A               3129 MEDFORD AVE                                                                                                INDIANAPOLIS   IN    46222‐1932
STONE JR, CHARLES E              2049 BUTLER RD                                                                                                  WAKEMAN        OH    44889‐9797
STONE JR, CHESTER                115 N GARNER ROAD, ROUTE                                                                                        FAIRGROVE      MI    48733
STONE JR, FRANK                  518 JEFFREYS DR                                                                                                 ELIZABETH      PA    15037‐2863
STONE JR, FRED L                 2817 GREENSIDE DR NW                                                                                            HUNTSVILLE     AL    35816‐1621
STONE JR, GEORGE J               7056 TIMBERWOOD DR                                                                                              DAVISON        MI    48423‐9523
STONE JR, HARVEY                 6212 ISABEL ST                                                                                                  KANSAS CITY    KS    66102‐3146
STONE JR, JAMES G                8131 N NEWBURGH RD APT 104                                                                                      WESTLAND       MI    48185‐1115
STONE JR, JAMES R                PO BOX 517                                                                                                      PORT HAYWOOD   VA    23138‐0517
STONE JR, JOHN H                 2503 HIGHWAY 32 EXT                                                                                             OKOLONA        MS    38860‐9305
STONE JR, JOHN R                 10990 S BAKER RD                                                                                                ATLANTA        MI    49709‐9387
STONE JR, JOHN R                 4344 LAPEER RD                                                                                                  BURTON         MI    48509‐1804
STONE JR, MILLARD B              2760 DERBY DOWNS DR.                                                                                            CHATTANOOGA    TN    37421‐8400
STONE JR, NORMAN R               13144 IDA CENTER RD                                                                                             IDA            MI    48140‐9722
STONE JR., HERBERT E             284 OCEAN AVE                                                                                                   PORTLAND       ME    04103‐5720
STONE KENNY R PC                 214 S ZETTEROWER AVE                                                                                            STATESBORO     GA    30458‐7135
STONE LEIGH                      5757 NORTH GREEN BAY AVENUE                                                                                     MILWAUKEE      WI    53209‐4408
STONE LION PORTFOLIO L.P         CLAUDIA BORG                     STONE LION CAPITAL PARTNERS LP.   461 5TH AVENUE 14TH FLOOR                    NEW YORK       NY    10017

STONE LION PORTFOLIO LP          CLAUDIA BORG                     461 5TH AVENUE 14TH FLOOR                                                      NEW YORK       NY    10017
STONE MARCIE T                   STONE, KARLOS                    PO BOX 2590                                                                    GEORGETOWN     SC    29442‐2590
STONE MARCIE T                   STONE, MARCIE T                  PO BOX 2590                                                                    GEORGETOWN     SC    29442‐2590
STONE MARK                       28840 WOODMILL DR                                                                                               WESTLAKE       OH    44145‐2090
STONE MD KENNETH R               7365 MAIN ST STE 310                                                                                            STRATFORD      CT    06614
STONE MD, THOMAS R               1260 MILLSBORO RD                                                                                               MANSFIELD      OH    44906‐3429
STONE PACKAGING SYSTEMS          4364 SW 34TH ST                                                                                                 ORLANDO        FL    32811‐6414
STONE PETER                      7208 LAMPLIGHT LN                                                                                               AUSTIN         TX    78731‐2120
STONE PHILIP M (356996)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                    NORFOLK        VA    23510
                                                                  STREET, SUITE 600
STONE RANDY                      STONE, RANDY                     26 ARABIAN RD                                                                  ALMA           GA    31510
STONE RIVER PHARMACY SOLUTIONS   PO BOX 504591                                                                                                   SAINT LOUIS    MO    63150‐91
STONE ROBERT                     4830 NW WITHAM MILL DR           APT 4                                                                          CORVALLIS      OR    97330‐6512
STONE ROBERT                     1206 CLYDE DR                                                                                                   TYLER          TX    75701‐8026
STONE ROGER M                    2849 JOHN GRAY RD                                                                                               CINCINNATI     OH    45251‐4218
STONE ROSANNE                    30 SKYVIEW TER                                                                                                  STIRLING       NJ    07980‐1215
STONE RUTH A (482032)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                    NORFOLK        VA    23510
                                                                  STREET, SUITE 600
STONE SANDRA                     505 DAHLIA DR 505                                                                                               WAYLAND        MA 01778
STONE SERVICES INC               PO BOX 15319                                                                                                    BALTIMORE      MD 21220‐0319
STONE SPECIALISTS INC            ATTN: JASON TREICHEL             4231 DAVISON RD                                                                BURTON         MI 48509‐1405
                                09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
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Name                            Address1                              Address2                       Address3   Address4             City               State Zip
STONE SR, FRANK E               7521 LIPPINCOTT WAY                                                                                  INDIANAPOLIS        IN 46268‐4714
STONE THOMAS B (477857)         GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                   PITTSBURGH          PA 15219

STONE TRANSPORT                 3495 HACK RD                                                                                         SAGINAW            MI 48601‐9244
STONE TRANSPORT                 DEAN DARBY                            PO BOX 1506                                                    SAGINAW            MI 48605‐1506
STONE WHEEL INC                 7675 S QUINCY ST                                                                                     WILLOWBROOK        IL 60527‐5529
STONE'S AUTO SERVICE LTD        1860 ELLESMERE RD                                                               SCARBOROUGH ON M1H
                                                                                                                2V5 CANADA
STONE'S DIESEL & TRUCK REPAIR   30631 HAMPDEN AVE                                                                                    PRINCESS ANNE      MD   21853‐1008
STONE, ABRAHAM                  RT.2 BOX 329 AA                                                                                      BIG SANDY          TN   38221
STONE, ADA                      3422 CAMELLIA CIRCLE                                                                                 COLUMBUS           MS   39705
STONE, AGNES H                  1234 SOMERSET DRIVE                                                                                  MC LEAN            VA   22101‐2337
STONE, ALAN L                   1506 SHERWOOD FOREST DR                                                                              MIAMISBURG         OH   45342‐2000
STONE, ALAN M                   1412 W RIVER PARK DR                                                                                 INKSTER            MI   48141‐1870
STONE, ALISON A                 137 MILL VALLEY CT                                                                                   EAST AMHERST       NY   14051‐1457
STONE, ALLEN C                  4000 PINNACLE CT                                                                                     AUBURN HILLS       MI   48326‐1754
STONE, ALVIN E                  304 BUNN DR                                                                                          ROCKTON            IL   61072‐2715
STONE, ANDREW                   746 E HOLBROOK AVE                                                                                   FLINT              MI   48505‐2237
STONE, ANDREW                   1544 LAKEWOOD DR                                                                                     TROY               MI   48083‐5517
STONE, ANDREW O                 2067 E US 36                                                                                         MARKLEVILLE        IN   46056
STONE, ANNABELLE                1908 SOUTH OAKMONT STREET                                                                            TAMPA              FL   33629‐5945
STONE, ANNIS M                  1827 S ARMSTRONG                                                                                     KOKOMO             IN   46902‐2031
STONE, APRIL Y                  PO BOX 4121                                                                                          FLINT              MI   48504‐0121
STONE, ARTHUR J                 14662 30TH AVE                                                                                       MARION             MI   49665‐8404
STONE, ARTHUR JOHN              14662 30TH AVE                                                                                       MARION             MI   49665‐8404
STONE, ARTHUR M                 68 YORK RD                                                                                           NIAGARA FALLS      NY   14304‐3732
STONE, AUGUST/TROY              1301 W LONG LAKE RD STE 350                                                                          TROY               MI   48098‐6325
STONE, BARBARA A.               373 MAIN ST                                                                                          MT MORRIS          MI   48458‐1160
STONE, BARBARA B                5200 BRITTANY DR S APT 1405                                                                          ST PETERSBURG      FL   33715‐1558
STONE, BARBARA D                530 SHEEP RD                                                                                         NEW LEBANON        OH   45345‐9220
STONE, BARBARA J                2205 ROTH RD                                                                                         EDGEWOOD           MD   21040‐1015
STONE, BARBARA J                1429 HICKORY HOLLOW DR                                                                               FLINT              MI   48532‐2057
STONE, BARBARA JEAN             1429 HICKORY HOLLOW DR                                                                               FLINT              MI   48532‐2057
STONE, BENJAMIN N               PO BOX 1403                                                                                          SANTA ROSA BEACH   FL   32459
STONE, BERNARD                  33057 WHISPERING LN                                                                                  CHESTERFIELD       MI   48047‐3387
STONE, BERNARD W                15636 FAIRCREST ST                                                                                   DETROIT            MI   48205‐2922
STONE, BERNDETTE L              19760 SHARON ST                                                                                      ATLANTA            MI   49709‐9756
STONE, BERNICE B                15441 LOWER ISLAND LAKE LN                                                                           MOUNTAIN           WI   54149‐9611
STONE, BERNICE M                1505 E MEMORIAL DRIVE                                                                                JANESVILLE         WI   53545‐1940
STONE, BETTY A                  28460 WESTLAKE VILLAGE DR APT D213                                                                   WESTLAKE           OH   44145‐6778
STONE, BETTY J                  1323 TANGLEWOOD                                                                                      LAPEER             MI   48446‐3168
STONE, BETTY J                  709 ORION RD                                                                                         LAKE ORION         MI   48362‐3561
STONE, BETTY L                  6212 ISABEL ST                                                                                       KANSAS CITY        KS   66102‐3146
STONE, BETTY M                  APT 139                               5000 SOUTH 107TH STREET                                        MILWAUKEE          WI   53228‐3262
STONE, BEVERLY                  14116 BERRY HILL RD                                                                                  ELKWOOD            VA   22718‐1804
STONE, BEVERLY A                4370 HILLSBOROUGH DR                                                                                 SNELLVILLE         GA   30039‐8734
STONE, BEVERLY A                10179 ROWE RD                                                                                        JONESVILLE         MI   49250‐9681
STONE, BEVERLY ANN              7305 MORRCREST LANE                                                                                  FLUSHING           MI   48433
STONE, BILLY                    4415 LOCKLIN RD                                                                                      MONROE             GA   30655‐5108
STONE, BILLY G                  306 JOHNSON RD                                                                                       NORTH WILKESBORO   NC   28659‐8367
STONE, BILLY W                  3109 S MURVIL ST                                                                                     DECATUR            TX   76234‐4035
STONE, BLANCHE                  1500 EAST 193RD RD                    APT E349                                                       EUCLID             OH   44117
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Name                   Address1                         Address2                      Address3   Address4         City              State Zip
STONE, BLANCHE E       5124 E FRANCIS ROAD                                                                        MT MORRIS          MI 48458‐9750
STONE, BLANCHE E       5124 E FRANCES RD                                                                          MOUNT MORRIS       MI 48458‐9750
STONE, BOBBY J         2666 CANDLEWICK DR                                                                         ORION              MI 48359‐1516
STONE, BOBBY L         1824 S 600 W                                                                               RUSSIAVILLE        IN 46979‐9497
STONE, BONNIE C        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                        STREET, SUITE 600
STONE, BONNIE L        11061 MAIN RD                                                                              FENTON            MI   48430‐9717
STONE, BONNIE L        455 SHIRLEY ANNE DRIVE                                                                     CENTERVILLE       OH   45458‐5458
STONE, BONNIE L        4203 GARY LEE DR                                                                           KOKOMO            IN   46902‐4712
STONE, BONNIE M        5264 INDIAN OCEAN LOOP                                                                     TAVARES           FL   32778‐9260
STONE, BRADLEY D       841 EDGEWOOD PL                                                                            JEFFERSON         WI   53549‐1808
STONE, BRENDA R        1701 BRANDONHALL DR                                                                        MIAMISBURG        OH   45342‐6357
STONE, BRENT M         2154 HAINES RD                                                                             LAPEER            MI   48446‐8304
STONE, BRENT R         9272 W RIDGEWOOD DR                                                                        PARMA HEIGHTS     OH   44130‐4113
STONE, BRIAN           6520 LAMPWICK LN                                                                           FORT WAYNE        IN   46835‐2385
STONE, BRUCE A         208 VINE ST                                                                                CHESTERFIELD      IN   46017‐1623
STONE, BRUCE G         119 JUNIPER ST                                                                             BURLINGTON        NJ   08016‐1403
STONE, CANDICE L       521 EAST ROSE STREET                                                                       SPRINGFIELD       OH   45505‐3840
STONE, CANDICE LYNN    521 EAST ROSE STREET                                                                       SPRINGFIELD       OH   45505‐3840
STONE, CARL W          105 PARK PLZ N APT 1                                                                       GARNETT           KS   66032‐1639
STONE, CARL W          105 PARK PLAZA NORTH             APT 1                                                     GARNET            KS   66032
STONE, CARLTON         1212 CROMPTON RD                                                                           NEWARK            DE   19702
STONE, CARLYLE H       526 CHERRYWOOD DR                                                                          FLUSHING          MI   48433‐3300
STONE, CAROL L         4141 S BALDWIN RD                                                                          ORION             MI   48359‐2106
STONE, CATHY A         APT G                            885 EZZARD CHARLES DRIVE                                  CINCINNATI        OH   45203‐1356
STONE, CELIE R         8876 CHATEAU DR                                                                            PICKERINGTON      OH   43147‐8268
STONE, CELIE R         2469 KIMBERLEY PKWY E APT 15HP                                                             COLUMBUS          OH   43232‐4274
STONE, CHARLES A       1000 E WALNUT ST                                                                           KOKOMO            IN   46901‐4880
STONE, CHARLES A       805 W 800 S                                                                                BUNKER HILL       IN   46914‐9423
STONE, CHARLES B       3500 DORHAM PLACE                                                                          DAYTON            OH   45406
STONE, CHARLES B       250 S EUCLID AVE                                                                           DAYTON            OH   45402‐6905
STONE, CHARLES D       110 MEADOWLARK DR                                                                          IONIA             MI   48846‐8529
STONE, CHARLES D       6922 SY RD                                                                                 NIAGARA FALLS     NY   14304‐4620
STONE, CHARLES J       2213 YEWPON DR                                                                             CARROLLTON        TX   75007‐5758
STONE, CHARLES R       604 WEST 5TH STREET                                                                        BICKNELL          IN   47512‐1612
STONE, CHARLES R       223 BELMAR AVE                                                                             INDIANAPOLIS      IN   46219‐5221
STONE, CHARLES W       7467 DAYTON LIBERTY RD                                                                     DAYTON            OH   45418‐1148
STONE, CHERYL K        244 W BORTON RD                                                                            ESSEXVILLE        MI   48732‐8726
STONE, CHESTER K       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                        STREET, SUITE 600
STONE, CHRISTOPHER G   6930 ERRICK RD                                                                             NORTH TONAWANDA   NY   14120‐1145
STONE, CLARENCE D      661 BROOKDALE DR                                                                           W JEFFERSON       OH   43162‐1003
STONE, CLARENCE E      PO BOX 1054                                                                                FLINT             MI   48501‐1054
STONE, CLARENCE I      3611 BRANCH RD                                                                             FLINT             MI   48506
STONE, CLAUDE H        GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                EDWARDSVILLE      IL   62025‐0959
                       ANTOGNOLI
STONE, CLAUDE H.       GORI JULIAN & ASSOCIATES P C     156 N MAIN ST                                             EDWARDSVILLE      IL   62025
STONE, CLAYTON L       1285 PICKWICK PL                                                                           FLINT             MI   48507‐3776
STONE, CLYDE           110 STONE ROAD                                                                             RIVERTON          WY   82501‐9705
STONE, CLYDE           110 STONE RD                                                                               RIVERTON          WY   82501‐9705
STONE, CLYDE ALAN      3385 SIMS RD                                                                               SNELLVILLE        GA   30078‐4173
STONE, CLYDE T         565 AQUARIUS CONCOURSE                                                                     ORANGE PARK       FL   32073‐3203
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Name                   Address1                       Address2            Address3         Address4         City               State Zip
STONE, CRAIG R         12697 EAGLE RD                                                                       NEW LEBANON         OH 45345‐9126
STONE, CURT B          600 EDENBURG DR                                                                      COLUMBIA            TN 38401‐5206
STONE, CURTIS L        1637 GUILFORD ST                                                                     HUNTINGTON          IN 46750‐1432
STONE, CURTIS R        9333 N CHURCH DR APT 813                                                             PARMA HEIGHTS       OH 44130‐4720
STONE, CYNTHIA A       565 AQUARIUS CONCOURSE                                                               ORANGE PARK         FL 32073‐3203
STONE, CYNTHIA L       5413 FERN AVE                                                                        GRAND BLANC         MI 48439‐4309
STONE, DANIEL C        1535 HICKORY GLENN DR                                                                MIAMISBURG          OH 45342‐5342
STONE, DANIEL D        7845 S STONEY CREEK RD                                                               CARLETON            MI 48117‐9339
STONE, DANIEL D        1723 KENTFIELD ST SW                                                                 WYOMING             MI 49519‐3340
STONE, DANIEL DEAN     7845 S STONEY CREEK RD                                                               CARLETON            MI 48117‐9339
STONE, DANIEL R        8096 E LANSING RD                                                                    DURAND              MI 48429‐1001
STONE, DANIEL RAYE     8096 E LANSING RD                                                                    DURAND              MI 48429‐1001
STONE, DANNY P         1005 OAK CREEK DR                                                                    MOORE               OK 73160‐7913
STONE, DARCY L         3813 SHAWNEE AVE                                                                     FLINT               MI 48507‐2873
STONE, DAVID H         18 ELLIS PL                                                                          OSSINING            NY 10562‐4808
STONE, DAVID L         9, GUN RIGE LN                                                                       LAPEER              MI 48446
STONE, DAVID L         9 GUNRIDGE LN                                                                        LAPEER              MI 48446‐3090
STONE, DAVID M         19960 WOODINGHAM DR                                                                  DETROIT             MI 48221‐1253
STONE, DAVID R         2622 E IDAHO TRL                                                                     JANESVILLE          WI 53546‐9546
STONE, DAVID R         613 EVERGLADE DR                                                                     MANSFIELD           TX 76063‐3230
STONE, DAVID W         210 PINEBLUFF DRIVE EAST                                                             METAMORA            MI 48455‐8507
STONE, DAVID W         2345 MARWOOD DR                                                                      WATERFORD           MI 48328‐1634
STONE, DEAUN R         1531 BROOKHAVEN AVE                                                                  PLACENTIA           CA 92870‐2913
STONE, DEBRA L         2021 S AVERILL AVE                                                                   FLINT               MI 48503‐4465
STONE, DELORES T       13900 HERRON STREET                                                                  SYLMAR              CA 91342‐4224
STONE, DENNIS L        3192 AUTUMN LN                                                                       JANESVILLE          WI 53546‐4376
STONE, DENNIS W        1087 BELL RD                                                                         WRIGHT CITY         MO 63390‐2111
STONE, DIANE L         1312 N COTTAGE ST                                                                    INDEPENDENCE        MO 64050‐1749
STONE, DIANE M         1924 N PINGREE RD                                                                    ALMA                MI 48801‐9663
STONE, DIANNA M        4468 HOLLY SHORES CT                                                                 HOLLY               MI 48442‐1828
STONE, DINA R.         7400 GLENLEAF RD LOT 146                                                             SHREVEPORT          LA 71129‐3717
STONE, DON W           3451 AMBLESIDE DR                                                                    FLUSHING            MI 48433‐9775
STONE, DONALD D        1802 CHELAN ST                                                                       FLINT               MI 48503‐4308
STONE, DONALD DELAIN   1802 CHELAN ST                                                                       FLINT               MI 48503‐4308
STONE, DONALD H        5775 FARGO RD                                                                        CROSWELL            MI 48422‐9762
STONE, DONALD L        1303 E GRUNDY ST                                                                     TULLAHOMA           TN 37388‐2654
STONE, DONALD R        5840 HOPPER RD                 DONALD R STONE                                        BURLESON            TX 76028‐2846
STONE, DONALD R        4747 NE 88TH AVE                                                                     PORTLAND            OR 97220
STONE, DONNA           4791 E STATE ROAD 124                                                                PERU                IN 46970‐7108
STONE, DONNA           4791 E STATE RD 124                                                                  PERU                IN 46970‐7108
STONE, DONNA L         PO BOX 336                                                                           KAMPSVILLE           IL 62053
STONE, DORIS           807 BERRY LANE                                                                       TIPTONVILLE         TN 38079
STONE, DORIS           807 BERRY LN                                                                         TIPTONVILLE         TN 38079‐1504
STONE, DOROTHY         361 AIRPORT PLACE                                                                    HIGHLAND SPRINGS    VA 23075
STONE, DOUGLAS H       53367 NORTHRUP DR                                                                    SHELBY TWP          MI 48316‐1849
STONE, EARL L          1712 CHARLES ST                                                                      ANDERSON            IN 46013‐2722
STONE, EARL T          26305 GROVELAND ST                                                                   MADISON HTS         MI 48071‐3603
STONE, EDDIE M         15320 MEDDLER AVE                                                                    GOWEN               MI 49326‐9738
STONE, EDWARD A        3470 TAYLOR ST                                                                       JENISON             MI 49428‐9534
STONE, EDWARD E        4291 ASHLAWN DR                                                                      FLINT               MI 48507‐5657
STONE, EDWARD R        3361 UNIVERSITY AVE                                                                  HIGHLAND PARK        IL 60035‐1148
STONE, ELENORA         3299 HOMEWARD TRL                                                                    ELLENWOOD           GA 30294‐1989
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Name                  Address1                           Address2                       Address3   Address4         City               State Zip
STONE, ELIESCHA       GRUETTER BRYAN W LAW OFFICES OF    300 SW COLUMBIA ST STE 203                                 BEND                OR 97702‐1176
STONE, ELIZABETH      3514 GRANGE HALL RD APT 106                                                                   HOLLY               MI 48442
STONE, ELIZABETH A    1378 AMOY WEST ROAD, RT 3                                                                     MANSFIELD           OH 44903‐8926
STONE, ELSIE E        609 WEST ALLEN ST                                                                             BLOOMINGTON         IN 47403‐4703
STONE, ELSIE E        609 W ALLEN ST                                                                                BLOOMINGTON         IN 47403‐4703
STONE, ERIC F         5 SNIFFEN RD                                                                                  ARMONK              NY 10504‐2636
STONE, ERIK DANIEL    218 VIA VENETO                                                                                VENICE              FL 34285‐4307
STONE, ERNESTINE M    1755 LUKENS AVE # B                                                                           WILLOW GROVE        PA 19090‐3917
STONE, ERNIE L        PO BOX 235                                                                                    PHILLIPSBURG        OH 45354‐0235
STONE, ETHEL M        31 HOMESTEAD ST                                                                               JAMESTOWN           OH 45335‐1677
STONE, EUGENE         7470 KNAPP ST NE                                                                              ADA                 MI 49301‐9513
STONE, FRANK          1614 ABE MARTIN DR                                                                            NORMAN              OK 73071‐7448
STONE, FRANK A        7389 AQUA ISLE DR                                                                             CLAY                MI 48001‐4203
STONE, FRANK C        10958 ROAN CREEK RD                                                                           BUTLER              TN 37640‐7426
STONE, FRANK R        616 S SHIAWASSEE ST                                                                           OWOSSO              MI 48867‐3457
STONE, GARRY D        536 BONAIR STREET                                                                             LANSING             MI 48917
STONE, GARY E         4912 CARRY BACK LN                                                                            INDIANAPOLIS        IN 46237‐2183
STONE, GARY H         832 DUENKE RD                                                                                 FORISTELL           MO 63348‐1127
STONE, GARY K         9408 SE 132ND LOOP                                                                            SUMMERFIELD         FL 34491‐9360
STONE, GARY L         218 VIA VENETO                                                                                VENICE              FL 34285‐4307
STONE, GENE R         11140 FLORENCE AVE                                                                            SAINT ANN           MO 63074‐2121
STONE, GEORGE A       7323 HOLABIRD AVE                                                                             DUNDALK             MD 21222‐1811
STONE, GEORGE C       1875 BRITT DR                                                                                 SNELLVILLE          GA 30078‐2882
STONE, GEORGE D       6481 BREWER RD                                                                                FLINT               MI 48507‐4605
STONE, GEORGE E       4232 LAMONT DR                                                                                WATERFORD           MI 48329‐1929
STONE, GEORGE L       527 CHERRYWOOD DR                                                                             FLUSHING            MI 48433‐1399
STONE, GEORGIA M      5407 HOOVER AVE APT 303                                                                       DAYTON              OH 45427‐2585
STONE, GERALD M       156 DIANA LN ‐ E                                                                              FAIRBORN            OH 45324‐4450
STONE, GERALD M       156 DIANA LN E                                                                                FAIRBORN            OH 45324‐4450
STONE, GERALDINE      2929 ARUNAH AVE                                                                               BALTIMORE           MD 21216‐4602
STONE, GERTRUDE M     2866 E COGGINS RD                                                                             PINCONNING          MI 48650‐9750
STONE, GERTRUDE M     8660 LILLY CHAPEL GEOSVILLE ROAD                                                              WEST JEFFERSON      OH 43162‐9769
STONE, GLEN J         728 WINSTON PL                                                                                O FALLON            MO 63366‐2442
STONE, GLENDA         5609 BOBOLINK RD                                                                              MC LEANSVILLE       NC 27301‐9678
STONE, GLENDA         5609 BOBOLINK                                                                                 MCLEANSVILLE        NC 27301
STONE, GLENNA M       2167 THISTLEWOOD DR                                                                           BURTON              MI 48509‐1243
STONE, GREGORY A      6116 MONTE BELLA PL                                                                           FRANKLIN            TN 37067
STONE, GREGORY K      5610 EDGEWOOD ST                                                                              DEARBORN HTS        MI 48125‐3248
STONE, GREGORY L      5824 DEWHIRST DR                                                                              SAGINAW             MI 48638‐7367
STONE, HAROLD G       KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                               CLEVELAND           OH 44114
                                                         BOND COURT BUILDING
STONE, HAROLD W       501 S OAK ST                                                                                  DURAND             MI   48429‐1628
STONE, HARRY S        9 SHADOW MIST DR                                                                              SIMPSONVILLE       SC   29681‐1951
STONE, HARRY SIMEON   9 SHADOW MIST DRIVE                                                                           SIMPSONVILLE       SC   29681‐1951
STONE, HEATHER        LATTITUDE SUBROGATION SERVICES     PO BOX 7932                                                BLOOMFIELD HILLS   MI   48302
STONE, HELEN          19459 STOEPEL                                                                                 DETROIT            MI   48221‐1743
STONE, HELEN          3122 AUTUMN LAKE DR                                                                           AURORA             IL   60504‐5823
STONE, HELEN M        5457 RIDGE RD                                                                                 HALE               MI   48739‐9172
STONE, HELEN M        12 COTTAGE ST                                                                                 SPENCERPORT        NY   14559‐1208
STONE, HENRY E        210 WILSON ST NE APT 1102                                                                     DECATUR            AL   35601‐1854
STONE, HENRY G        1159 SHOEMAKER DR                                                                             WESTLAND           MI   48185‐3556
STONE, HERBERT D      6333 BETHEL RD                                                                                WEATHERFORD        TX   76087‐9337
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Name                     Address1                          Address2                        Address3   Address4         City              State Zip
STONE, HERBERT E         1112 LIPPINCOTT BLVD                                                                          FLINT              MI 48503‐5852
STONE, HERTIS J          60 HILLTOP RD                                                                                 MANSFIELD          OH 44906‐1320
STONE, HOMER J           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510‐2212
                                                           STREET, SUITE 600
STONE, INC               ROBERT STONE                      2222 W 6TH ST                                               THE DALLES        OR   97058‐3525
STONE, ISOM A            406 HARRIET ST                                                                                FLINT             MI   48505‐4654
STONE, IVAL E            154 CARDINAL DR. CSL                                                                          NORTH VERNON      IN   47265
STONE, JACK A            14109 MEADOW COURT                                                                            HOLLY             MI   48442‐8412
STONE, JACK L            820 N BOONVILLE ST                                                                            OTTERVILLE        MO   65348‐2122
STONE, JACK R            226 REGENCY LN SW                                                                             CALHOUN           GA   30701‐3543
STONE, JAMES             950 RIVERBEND DRIVE               APT #17                                                     GADSDEN           AL   35901
STONE, JAMES             950 RIVERBEND DR APT 17                                                                       GADSDEN           AL   35901‐2578
STONE, JAMES A           11092 GRAND BLANC RD                                                                          GAINES            MI   48436‐9744
STONE, JAMES A           17560 W DESERT VIEW LN                                                                        GOODYEAR          AZ   85338‐5521
STONE, JAMES H           6727 S DUNE HWY                                                                               EMPIRE            MI   49630‐9446
STONE, JAMES H           1560 STONEY POINT RD                                                                          CUMMING           GA   30041‐6750
STONE, JAMES K           1377 BANNISTER HOLLOW RD                                                                      CLIMAX SPRINGS    MO   65324‐2800
STONE, JAMES L           1019 FORT PARK BLVD                                                                           LINCOLN PARK      MI   48146‐1517
STONE, JAMES M           1465 N KEEBLER AVE                                                                            COLLINSVILLE      IL   62234‐4402
STONE, JAMES M           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA   23510‐2212
                                                           STREET, SUITE 600
STONE, JAMES R           1113 W MILLER RD                                                                              LANSING           MI   48911‐4852
STONE, JAMES T           6657 BRIGHAM SQ                                                                               CENTERVILLE       OH   45459‐6924
STONE, JANE T            7609 LOVAIN DR                                                                                CORPUS CHRISTI    TX   78414‐6159
STONE, JEFFERY A         PO BOX 1641                                                                                   KITTY HAWK        NC   27949‐1641
STONE, JEFFREY           63329 STONEWOOD DR                                                                            BEND              OR   97701
STONE, JEFFREY           GRUETTER BRYAN W LAW OFFICES OF   300 SW COLUMBIA ST STE 203                                  BEND              OR   97702‐1176
STONE, JEFFREY M         25895 ARCADIA DR                                                                              NOVI              MI   48374‐2446
STONE, JEFFREY O         3439 GREENWOOD DR                                                                             JANESVILLE        WI   53546‐1125
STONE, JEFFREY W         610 TOWN TRL                                                                                  PINCKNEY          MI   48169‐8018
STONE, JEFFREY WILLIAM   610 TOWN TRL                                                                                  PINCKNEY          MI   48169‐8018
STONE, JERRY A           PO BOX 396                        5349 M‐65                                                   HALE              MI   48739‐0396
STONE, JIMMIE L          1200 W RUNDLE AVE                                                                             LANSING           MI   48910‐2574
STONE, JOAN D            1200 GABRIEL LN                                                                               FORT WORTH        TX   76116‐1636
STONE, JOAN M            412 LELAND ST                                                                                 FLUSHING          MI   48433‐1343
STONE, JOANN A           5505 EAST BELLEVUE HWY                                                                        EATON RAPIDS      MI   48827
STONE, JOANN A           5505 E BELLEVUE HWY                                                                           EATON RAPIDS      MI   48827‐9513
STONE, JOANN M           3076 MEADOW LANE N.E.                                                                         WARREN            OH   44483‐2632
STONE, JOANN M           3076 MEADOW LN NE                                                                             WARREN            OH   44483‐2632
STONE, JOEY L            7106 BANKS                                                                                    WATERFORD         MI   48327‐3702
STONE, JOHN              58 LAKE WALLKILL RD                                                                           SUSSEX            NJ   07461‐4237
STONE, JOHN A            307 VANESSA DR                                                                                WEST ALEXANDRIA   OH   45381‐9382
STONE, JOHN G            1819 GARDNER DR                                                                               LAPEER            MI   48446‐7721
STONE, JOHN J            38045 WHITESVIEW CIR                                                                          OCEAN VIEW        DE   19970‐3336
STONE, JOHN R            GORBERG DAVID J & ASSOCIATES      2325 GRANT BUILDING 310 GRANT                               PITTSBURGH        PA   15219
                                                           STREET
STONE, JOHN S            824 WALNUT CREEK ROAD                                                                         SIMSBORO          LA   71275‐3238
STONE, JOHN STEVEN       824 WALNUT CREEK ROAD                                                                         SIMSBORO          LA   71275‐3238
STONE, JOHN T            1049 S THOMAN ST                                                                              CRESTLINE         OH   44827‐1861
STONE, JOHN W            298 W GIRARD BLVD                                                                             KENMORE           NY   14217‐1837
STONE, JON               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA   23510‐2212
                                                           STREET, SUITE 600
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Name                    Address1                           Address2             Address3    Address4         City                 State Zip
STONE, JOSEPH E         3819 FERNWAY DR                                                                      ANDERSON              IN 46013‐4345
STONE, JOSEPH EDGAR     3819 FERNWAY DR                                                                      ANDERSON              IN 46013‐4345
STONE, JOSEPH H         6400 SOUTH TAYLOR ROAD             144 ALLIGATOR PARK                                PUNTA GORDA           FL 33950
STONE, JOSEPH L         100 BENT ARROW DR                                                                    STOCKBRIDGE           GA 30281‐4839
STONE, JOYCE            301 N GRANDE AVE                                                                     MUNCIE                IN 47303‐4382
STONE, JOYCE            301 N. GRANDE AVE                                                                    MUNCIE                IN 47303
STONE, JOYCE A          8871 S 400 W                                                                         FAIRMOUNT             IN 46928‐9767
STONE, JOYCE L          306 WILLOW WAY                                                                       PLEASANT VIEW         UT 84414‐2259
STONE, JUANITA M        2816 COLLINS                                                                         INDEPENDENCE          MO 64052‐1354
STONE, JUANITA V        12685 FREEH RD                                                                       SARDINIA              OH 45171‐9382
STONE, JUDITH U         3604 FLETCHER ST                                                                     ANDERSON              IN 46013‐4671
STONE, JULIA F          13461 GAINESVILLE AVE                                                                PORT CHARLOTTE        FL 33981‐3837
STONE, JULIA FERN       13461 GAINESVILLE AVE                                                                PORT CHARLOTTE        FL 33981‐3837
STONE, JUNE H           151 BUFFALO STREET                                                                   CANANDAIGUA           NY 14424‐1011
STONE, JUNE H           151 BUFFALO ST                                                                       CANANDAIGUA           NY 14424‐1011
STONE, KAREN D          8806 S BYAM RD                                                                       BANCROFT              MI 48414‐9416
STONE, KARLOS           BELL J EDWARD III LAW OFFICES OF   PO BOX 2590                                       GEORGETOWN            SC 29442‐2590
STONE, KATHLEEN         444 WEST BROAD STREET                                                                NEWTON FALLS          OH 44444‐1208
STONE, KATHLEEN A       1299 LASALLE AVE                                                                     BURTON                MI 48509‐2345
STONE, KATHRYN M        10416 SMITH RD                                                                       GAINES                MI 48436‐9752
STONE, KATHRYN R        3606 E‐CO RD 250 N                                                                   KOKOMO                IN 46901
STONE, KEITH C          12553 CONNELL DR                                                                     OVERLAND PARK         KS 66213‐1872
STONE, KENDALL L        5583 OSTER DR                                                                        WATERFORD             MI 48327‐2760
STONE, KENNETH          GUY WILLIAM S                      PO BOX 509                                        MCCOMB                MS 39649‐0509
STONE, KENNETH C        214 TERRACE ST                                                                       FLUSHING              MI 48433‐2117
STONE, KENNETH D        710 CARNES ST                                                                        FENTON                MI 48430‐2902
STONE, KENNETH EUGENE   42 N HALLOWAY ST                                                                     DAYTON                OH 45417‐1717
STONE, KENNETH J        31425 6 MILE RD                                                                      LIVONIA               MI 48152‐3301
STONE, KIMBERLY W       2110 STONE HOLLOW RD                                                                 CUMBERLAND FURNACE    TN 37051‐4811
STONE, LAMONT           7923 BREEZEWOOD CT                                                                   YPSILANTI             MI 48197‐6208
STONE, LARRY G          3054 KEITH DR                                                                        FLINT                 MI 48507‐1206
STONE, LARRY L          6510 HADLEY FARM LN APT 306‐1                                                        FORT WAYNE            IN 46835‐2255
STONE, LARRY T          2167 THISTLEWOOD DR                                                                  BURTON                MI 48509‐1243
STONE, LAWRENCE C       9011 PATRICIA LN                                                                     ORLAND PARK            IL 60462‐4772
STONE, LAWRENCE E       922 SHERWOOD AVE                                                                     YOUNGSTOWN            OH 44511‐1464
STONE, LEATHA ROAT      36818 KIOWA AVE                                                                      ZEPHYR HILLS          FL 33542‐5133
STONE, LEE A            5237 LOGAN ARMS DR                                                                   GIRARD                OH 44420‐1633
STONE, LEE H            10317 VASSAR RD                                                                      GRAND BLANC           MI 48439‐9533
STONE, LEIGH A          5757 NORTH GREEN BAY AVENUE                                                          MILWAUKEE             WI 53209‐4408
STONE, LEIGH ANN        5757 NORTH GREEN BAY AVENUE                                                          MILWAUKEE             WI 53209‐4408
STONE, LEO A            2326 HARPER RD                                                                       MASON                 MI 48854‐9313
STONE, LEO M            201 LAKE ST BOX 502                                                                  HARRISVILLE           MI 48740
STONE, LEONARD G        5509 HERITAGE BLVD                                                                   WILDWOOD              FL 34785‐8112
STONE, LEROY A          6912 47TH DR                                                                         FORT WAYNE            IN 46835‐1506
STONE, LESLIE E         6208 W VIENNA RD                                                                     CLIO                  MI 48420‐9455
STONE, LESSIE M         8004 CATALPA DR                                                                      NINEVEH               IN 46164‐9558
STONE, LIBERTY MCCAIN   RICHARDSON PATRICK WESTBROOK &     PO BOX 1368                                       BARNWELL              SC 29812‐1368
                        BRICKMAN
STONE, LILLIAN J        6364 PEBBLEBROOK LN                                                                  WILLIAMSON           NY   14589‐9007
STONE, LINDA A          1723 KENTFIELD ST SW                                                                 WYOMING              MI   49519‐3340
STONE, LINDA K          16701 COUNTY ROAD 18                                                                 GOSHEN               IN   46528‐8683
STONE, LINDA M          4273 VALENCIA DR                                                                     JANESVILLE           WI   53546‐1772
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Name                 Address1                         Address2                  Address3   Address4         City             State Zip
STONE, LISA          3806 ARDLEY CT                                                                         WILMINGTON        NC 28409
STONE, LOIS D        8140 TOWNSHIP LINE RD APT 5410                                                         INDIANAPOLIS      IN 46260‐5867
STONE, LOIS M        1377 BANNISTER HOLLOW RD                                                               CLIMAX SPRINGS    MO 65324‐2800
STONE, LONNIE D      343 DEAN WOODS RD                                                                      EDMONTON          KY 42129‐8824
STONE, LORAIN        525 GEORGETOWN AVE APT H12                                                             ELYRIA            OH 44035‐3808
STONE, LORAIN        525 GEORGETOWN AVE               APT H12                                               ELYRIA            OH 44035
STONE, LOUIS R       6600 N TUTTEROW RD                                                                     MONROVIA          IN 46157‐9005
STONE, MABEL C       2251 SPRINGPORT RD APT 458                                                             JACKSON           MI 49202‐1444
STONE, MARCIE        233 E MARION ST                                                                        JOHNSONVILLE      SC 29555
STONE, MARCIE T      J EDWARD BELL                    PO BOX 2590                                           GEORGETOWN        SC 29442‐2590
STONE, MARIA L       15320 MEDDLER AVE                                                                      GOWEN             MI 49326‐9738
STONE, MARIAN D      COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                               HOUSTON           TX 77002‐1751
STONE, MARIE         210 WILSON ST NE APT 1102                                                              DECATUR           AL 35601‐1854
STONE, MARIE E       37665 MORAVIAN DR                                                                      CLINTON TWP       MI 48036‐1754
STONE, MARILYN J     131 PENLAND ST APT 6                                                                   ELLIJAY           GA 30540‐3570
STONE, MARION E      6357 HOLLYHOCK TRL                                                                     BRIGHTON          MI 48116‐2205
STONE, MARJORIE L    3470 TAYLOR ST                                                                         JENISON           MI 49428‐9534
STONE, MARK A        419 MARINA CT                                                                          SMITHVILLE        MO 64089‐8382
STONE, MARK R        206 S DILLWYN RD                                                                       NEWARK            DE 19711‐5550
STONE, MARK RODNEY   206 S DILLWYN RD                                                                       NEWARK            DE 19711‐5550
STONE, MARSHALL G    8266 STAGHORN TRL                                                                      CLARKSTON         MI 48348‐4571
STONE, MARTHA L      2149 E BRISTOL RD                                                                      BURTON            MI 48529‐1320
STONE, MARY          4969 ALTERNATE 52 HIGHWAY                                                              CHATSWORTH        GA 30705
STONE, MARY L        1204 SENECA DR                                                                         DAYTON            OH 45407‐1617
STONE, MARY LEE      1821 WEST GRAND AVENUE                                                                 DAYTON            OH 45402‐5721
STONE, MARY LEE      1821 W GRAND AVE                                                                       DAYTON            OH 45402
STONE, MATTHEW C     721 S STATE ROUTE 123                                                                  LEBANON           OH 45036‐9633
STONE, MATTHEW J     1266 89TH ST                                                                           NIAGARA FALLS     NY 14304‐2524
STONE, MAXINE H      1325 RED LEAF LANE                                                                     EAST LANSING      MI 48823
STONE, MELISSA A     11395 N PREBLE                                                                         BROOKVILLE        OH 45309
STONE, MELVIN        7605 BASELINE RD                                                                       BELLEVUE          MI 49021‐9739
STONE, MELVIN L      PO BOX 193                                                                             PHILLIPSBURG      OH 45354‐0193
STONE, MICHAEL A     1724 BAYARD AVE                                                                        BALTIMORE         MD 21222‐1803
STONE, MICHAEL E     5960 E 300 N                                                                           GREENFIELD        IN 46140‐8798
STONE, MICHAEL F     3810 S REED RD                                                                         DURAND            MI 48429‐9010
STONE, MICHAEL M     5005 W ADAMS ST                                                                        CHICAGO            IL 60644‐4343
STONE, MICHAEL R     7027 WINBURN DR                                                                        GREENWOOD         LA 71033‐3215
STONE, MICHAEL R     2474 LINDSAY LN                                                                        GRAND BLANC       MI 48439‐8080
STONE, MICHAEL RAY   7027 WINBURN DR                                                                        GREENWOOD         LA 71033‐3215
STONE, MONTY F       321 HIGHWAY 162                                                                        COVINGTON         GA 30016‐5188
STONE, MONTY F       PO BOX 1                                                                               BALTIMORE         MD 21203
STONE, MONTY F       BOX 321                          HIGHWAY 162                                           COVINGTON         GA 30016
STONE, MYRA C        2309 W ALTO RD                                                                         KOKOMO            IN 46902‐4842
STONE, NANCY A       5612 WILLIAMSBURG LN                                                                   WILDWOOD          FL 34785‐8126
STONE, NANCY J       PO BOX 613                                                                             FENTON            MI 48430‐0613
STONE, NANCY L       1113 LARRY DR                                                                          MARSHALL          TX 75672‐8742
STONE, NANCY LOU     1113 LARRY DR                                                                          MARSHALL          TX 75672‐8742
STONE, NANCY M       5960 GREENWAY DR                                                                       GAYLORD           MI 49735
STONE, NANCY S       1688 WYSKIEL LN                                                                        GRAYLING          MI 49738‐7760
STONE, NELSON D      4856 LUM RD                                                                            LUM               MI 48412‐9209
STONE, NICOLE D      5746 DESOTO ST                                                                         DAYTON            OH 45426
STONE, NILON         1401 DONALD LEE HOWELL PARKWAY   BUILDING 1 APT 15                                     ATLANTA           GA 30318
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Name                    Address1                       Address2                      Address3   Address4         City               State Zip
STONE, NINA C           9601 LINKS WAY APT A                                                                     GLEN ALLEN          VA 23059‐7444
STONE, NOEL             11300 122ND AVE                                                                          LARGO               FL 33778‐2537
STONE, NORMAN E         1026 UPPER MOUNTAIN RD                                                                   LEWISTON            NY 14092‐2239
STONE, ORVILLE D        1200 KEYWOOD CT                                                                          BALTIMORE           MD 21222‐2867
STONE, PATRICIA A       45695 HANFORD RD                                                                         CANTON              MI 48187‐4780
STONE, PATRICIA A       3740 DAKOTA AVE                                                                          FLINT               MI 48506‐3169
STONE, PATRICIA A       621 RIDGE RD S                                                                           MARTINSBURG         WV 25403‐0833
STONE, PATRICIA A       2822 BRANDON STREET                                                                      FLINT               MI 48503‐3451
STONE, PATRICIA E       34660 HUNTLEY # 37                                                                       STERLING HEIGHTS    MI 48312
STONE, PATRICIA H       1824 S CO RD ‐ 600 W                                                                     RUSSIAVILLE         IN 46979
STONE, PATRICIA M       8217 KENSINGTON BLVD APT 580                                                             DAVISON             MI 48423‐3116
STONE, PAUL E           3879 W STATE ROUTE 73                                                                    WILMINGTON          OH 45177‐9294
STONE, PAUL E           3879 W. STATE ROUTE 73                                                                   WILLIMINGTON        OH 45177‐9294
STONE, PAUL G           1720 MYRA AVE                                                                            JANESVILLE          WI 53548‐0143
STONE, PAULINE L        606 NW SHAMROCK AVENUE         308 MANOR #1                                              LEE'S SUMMIT        MO 64081
STONE, PENNIE M         5561 ELDERBERRY LN                                                                       FLOWERY BRANCH      GA 30542‐5135
STONE, PHILIP M         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                       STREET, SUITE 600
STONE, PHYLLIS A        3144 STRATFORD ST                                                                        FLINT              MI   48504‐4226
STONE, PHYLLIS D        108 W PINE ST                                                                            ANDERSON           IN   46012‐2453
STONE, PIEDAD           39537 BEACON LN                                                                          PALMDALE           CA   93551‐1076
STONE, RAE ELLEN        2622 E IDAHO TRL                                                                         JANESVILLE         WI   53546‐9546
STONE, RAE ELLEN        2622 IDAHO TRAIL                                                                         JANESVILLE         WI   53546
STONE, RAECHEL          3841 BOGDON DR                                                                           CANAL WINCHESTER   OH   43110‐8142
STONE, RANAE D          515 E 1100 S                                                                             OREM               UT   84097‐7111
STONE, RANDAL M         339 RALEIGH PL                                                                           OVIEDO             FL   32765‐6231
STONE, RANDALL C        22720 CLEVELAND ST                                                                       DEARBORN           MI   48124‐3421
STONE, RANDY            26 ARABIAN RD                                                                            ALMA               GA   31510
STONE, RAYMOND W        2264 GREENWOOD RD                                                                        LUPTON             MI   48635‐9790
STONE, REBECCA F        1710 LOVEJOY RD                                                                          HAMPTON            GA   30228‐1560
STONE, REGINA G         160 MEADOWS CIR W                                                                        WIXOM              MI   48393‐4044
STONE, RICHARD A        8015 W TEMPERANCE RD                                                                     OTTAWA LAKE        MI   49267‐9760
STONE, RICHARD A        1710 POINT RD                                                                            HALE               MI   48739‐9192
STONE, RICHARD A        26831 N SHORE DR                                                                         STURGIS            MI   49091‐9356
STONE, RICHARD D        8231 BOWENS CROSSING ST                                                                  SAN ANTONIO        TX   78250‐3612
STONE, RICHARD E        18 DAYTON ST                                                                             OXFORD             MI   48371‐4625
STONE, RICHARD J        930 MIMOSA TRL                                                                           OVIEDO             FL   32765‐9555
STONE, RICHARD L        5373 SAMARIA RD                                                                          OTTAWA LAKE        MI   49267‐8735
STONE, RICHARD W        500 BROADVIEW BLVD N                                                                     GLEN BURNIE        MD   21061‐2406
STONE, RICHARD W        6 GARDEN LN                                                                              LE ROY             NY   14482
STONE, RICKIE J         2149 E BRISTOL RD                                                                        BURTON             MI   48529‐1320
STONE, RICKIE J         816 E PACIFIC AVE                                                                        INDEPENDENCE       MO   64050‐4640
STONE, ROBERT           1700 WHITE DR                                                                            LEWISBURG          TN   37091‐3029
STONE, ROBERT A         PO BOX 825                                                                               OWOSSO             MI   48867‐0825
STONE, ROBERT A         10161 GOLFSIDE DR                                                                        GRAND BLANC        MI   48439‐9417
STONE, ROBERT ANTHONY   525 E HOME AVE                                                                           FLINT              MI   48505‐2819
STONE, ROBERT B
STONE, ROBERT D         5139 MILLIS RD                                                                           NORTH BRANCH       MI   48461‐9604
STONE, ROBERT L         2701 PROSPECT ST                                                                         FLINT              MI   48504‐3386
STONE, ROBERT L         6103 W NORTH AVE                                                                         WAUWATOSA          WI   53213‐1529
STONE, ROBERT N         4180 GRAVITT RD                                                                          CUMMING            GA   30040‐4236
STONE, ROBERT R         5175 MANGROVE DR                                                                         SAGINAW            MI   48603‐1143
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Name                    Address1                              Address2                       Address3   Address4         City                State Zip
STONE, ROBERT S         15329 S LONE ELM RD APT 123                                                                      OLATHE               KS 66061‐6208
STONE, ROBERT W         1135 S 3RD ST                                                                                    TROY                 MO 53379‐1819
STONE, ROGER E          5420 GREEN HILLS DR                                                                              BROWNSBURG           IN 46112‐8772
STONE, ROGER J          49444 DUNHILL DR                                                                                 MACOMB               MI 48044‐1739
STONE, ROGER L          3595 S DUGGAN RD                                                                                 BELOIT               WI 53511‐8803
STONE, ROGER L          5181 N ELMS RD 1                                                                                 FLUSHING             MI 48433
STONE, ROGER L          2150 WOODMONT DR W                                                                               CANTON               MI 48188‐1650
STONE, ROGER L          41300 BAYHAVEN DR                                                                                HARRISON TOWNSHIP    MI 48045‐1435
STONE, ROGER M          2849 JOHN GRAY RD                                                                                CINCINNATI           OH 45251‐4218
STONE, RONALD A         32123 HUBER LN                                                                                   FRASER               MI 48026‐2120
STONE, RONALD G         9407 NEWCASTLE BLVD                                                                              SHREVEPORT           LA 71129‐4841
STONE, RONNEY L         4376 N ELMS RD                                                                                   FLUSHING             MI 48433‐1450
STONE, RONNEY LYLE      4376 N ELMS RD                                                                                   FLUSHING             MI 48433‐1450
STONE, RONNIE G         4865 STREET CAR RD                                                                               EDWARDSVILLE          IL 62025‐7529
STONE, RONNIE G.        4865 STREET CAR RD                                                                               EDWARDSVILLE          IL 62025‐7529
STONE, RONNIE T         808 WESTWOOD AVE                                                                                 DAYTON               OH 45402‐5341
STONE, ROXIE J          11640 BUTTONWOOD DR                                                                              CARMEL               IN 46033‐3294
STONE, RUDY D           908 KENNEDY ST                                                                                   PARAGOULD            AR 72450‐5654
STONE, RUFUS L          4703 HAYES ST                                                                                    MERRIAM              KS 66203‐5406
STONE, RUTH A           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510‐2212
                                                              STREET, SUITE 600
STONE, RUTH C           1367 HIATT RD                                                                                    CLARKSVILLE         OH   45113‐9390
STONE, RYAN N           7040 DAYTON LIBERTY RD                                                                           DAYTON              OH   45418‐1160
STONE, SCOTT            6333 BETHEL RD                                                                                   WEATHERFORD         TX   76087‐9337
STONE, SCOTT F          137 MILL VALLEY CT                                                                               EAST AMHERST        NY   14051
STONE, SCOTT M          31064 GERALDINE ST                                                                               WESTLAND            MI   48185‐1627
STONE, SCOTT MARTIN     31064 GERALDINE ST                                                                               WESTLAND            MI   48185‐1627
STONE, SHA'KHONDA L     4549 W 149TH ST                                                                                  CLEVELAND           OH   44135‐3419
STONE, SHANNON H        3811 MATT SMITH RD                                                                               SOUTHSIDE           AL   35907‐6222
STONE, SHERRY L         1535 HICKORY GLEN                                                                                MIAMISBURG          OH   45342‐2011
STONE, SHIRLEY C        55 RUNNING CREEK CIR                                                                             ROCHESTER           NY   14623‐4158
STONE, STANLEY O        1238 S TERRACE ST                                                                                JANESVILLE          WI   53546‐5537
STONE, STEPHEN R        5612 WILLIAMSBURG LN                                                                             WILDWOOD            FL   34785‐8126
STONE, STERLING S       850 NELA VIEW RD                                                                                 CLEVELAND HTS       OH   44112‐2351
STONE, STEVE C          6327 FREEMAN RD                                                                                  KRUM                TX   76249‐3363
STONE, STEVEN B         4313 CARLTON ST                                                                                  FLINT               MI   48505‐5337
STONE, STEVEN BRADLEY   4313 CARLTON ST                                                                                  FLINT               MI   48505‐5337
STONE, STEVEN D         2895 BROWN RD                                                                                    MILLINGTON          MI   48746‐9636
STONE, STEVEN DOUGLAS   2895 BROWN RD                                                                                    MILLINGTON          MI   48746‐9636
STONE, SUSAN M          525 LAFAYETTE ST                                                                                 FLINT               MI   48503‐5356
STONE, SUSANNE F        10958 ROAN CREEK RD                                                                              BUTLER              TN   37640‐7426
STONE, SYLVESTER A      1047 W 37TH ST                                                                                   INDIANAPOLIS        IN   46208‐4137
STONE, TED LEE          11061 MAIN RD                                                                                    FENTON              MI   48430‐9717
STONE, TERESA ANN       1637 GUILFORD ST                                                                                 HUNTINGTON          IN   46750‐1432
STONE, TERRY L          4044 DOLLAR CIR                                                                                  SUWANEE             GA   30024‐2339
STONE, TERRY M          726 TURNBERRY DR                                                                                 SAINT CLAIR         MI   48079‐4282
STONE, THERESA A        3595 S DUGGAN RD                                                                                 BELOIT              WI   53511‐8803
STONE, THERESA J        5861 GOODRICH RD 3A                                                                              CLARENCE CTR        NY   14032‐9770
STONE, THOMAS B         GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH          PA   15219

STONE, THOMAS C         7406 PORTER RD                                                                                   GRAND BLANC         MI 48439‐8567
STONE, THOMAS E         735 WASHINGTON ST APT 226             C/O TRADITIONS                                             DEDHAM              MA 02026‐4467
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Name                      Address1                              Address2                       Address3       Address4         City            State Zip
STONE, THOMAS F           GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                   PITTSBURGH       PA 15219

STONE, THOMAS M           610 SWEENEY ST                                                                                       N TONAWANDA     NY   14120‐6321
STONE, THOMAS M           345 SERENITY CT                                                                                      TROY            MI   48098‐1745
STONE, TIMOTHY C          1003 COLUMBIA AVE                                                                                    ALEXANDRIA      IN   46001‐8028
STONE, TIMOTHY E          1231 CATALINA DR                                                                                     FLINT           MI   48507‐3313
STONE, TIMOTHY M          6408 SAMSON DR                                                                                       GRAND BLANC     MI   48439‐9745
STONE, TIMOTHY S          21444 PICKFORD ST                                                                                    DETROIT         MI   48219‐2431
STONE, TODD A             11033 PEMBROOKE CIR                                                                                  SOUTH LYON      MI   48178‐8525
STONE, TODD ALLEN         11033 PEMBROOKE CIR                                                                                  SOUTH LYON      MI   48178‐8525
STONE, TODD E             3285 MANN RD                                                                                         CLARKSTON       MI   48346‐4030
STONE, VALERIE J          2187 S 300 W                                                                                         KOKOMO          IN   46902‐4672
STONE, VENUS D            525 E HOME AVE                                                                                       FLINT           MI   48505‐2819
STONE, VENUS D            525 E HOME AVENUE                                                                                    FLINT           MI   48505‐2819
STONE, VERBIE J           1032 WINDSTREAM DR                                                                                   ST PETERS       MO   63376‐4032
STONE, VERONICA S         3336 S LIPKEY RD                                                                                     NORTH JACKSON   OH   44451‐9745
STONE, VERTILEE           140 KERWIN AVE                                                                                       OAKLAND         CA   94603‐2042
STONE, VERTILEE           140 KERWIN AVENUE                                                                                    OAKLAND         CA   94603‐2042
STONE, VICKI L            38456 FITZGERALD CIR                                                                                 FREMONT         CA   94536‐5232
STONE, VINA M.            ROAD 24 BOX 5872                                                                                     CONTINENTAL     OH   45831‐9802
STONE, VIOLET V           4130 MINNETONKA DR                                                                                   LINDEN          MI   48451‐9429
STONE, VIRGINIA A         461 COLONEL THOMAS HEYWARD RD                                                                        BLUFFTON        SC   29909‐5035
STONE, VIRGINIA A         132 MERCER ST                                                                                        CELINA          OH   45822‐2716
STONE, WALKER R           C/O BUSINESS OFFICE                   CEDAR SPRING HEALTH REHAB      148 CASON RD                    CEDARTOWN       GA   30125
STONE, WALTER G           DAVIS & HAMRICK                       PO BOX 20039                                                   WINSTON SALEM   NC   27120‐0039
STONE, WALTER L           102 MARIANA DR                                                                                       RICHARDSON      TX   75081‐3733
STONE, WAYNE              3151 HARDWOOD DR                                                                                     MURFREESBORO    TN   37129‐8678
STONE, WILBUR G           4305 MOUNDS RD                                                                                       ANDERSON        IN   46017‐1838
STONE, WILLIAM A          9448 BRUCE DR                                                                                        FRANKLIN        OH   45005‐1411
STONE, WILLIAM A          2207 CRESTLINE DR                                                                                    BURTON          MI   48509‐1343
STONE, WILLIAM A          441 PEACH ORCHARD RD                                                                                 CAPE FAIR       MO   65624‐4581
STONE, WILLIAM D          5413 FERN AVE                                                                                        GRAND BLANC     MI   48439‐4309
STONE, WILLIAM DONALD     SMITH ALBERT V PA                     PO BOX 5866                                                    SPARTANBURG     SC   29304‐5866
STONE, WILLIAM E          3691 SE TOBIN VALLEY DR                                                                              COWGILL         MO   64637‐8718
STONE, WILLIAM E          9660 TROON CT                                                                                        LAKELAND        FL   33810‐4358
STONE, WILLIAM E          6371 ADAMS CIR                                                                                       CENTERVILLE     OH   45459‐2506
STONE, WILLIAM G          2220 SAMIRA RD                                                                                       STOW            OH   44224‐3440
STONE, WILLIAM K          621 RIDGE RD S                                                                                       MARTINSBURG     WV   25403‐0833
STONE, WILLIAM K          845 N WILDER RD                                                                                      LAPEER          MI   48446‐3432
STONE, WILLIAM S          PO BOX 664                                                                                           PINEHURST       NC   28370‐0664
STONE, WILLIAM S          9150 SHERWOOD RD                                                                                     FOWLERVILLE     MI   48836‐8745
STONE, WILLIE L           1833 COSTIGAN DR                                                                                     LEXINGTON       KY   40511‐1307
STONE, WILLIS R           1912 GRIDER POND RD                                                                                  BOWLING GREEN   KY   42104‐4536
STONE, WILLIS RAY         1912 GRIDER POND RD                                                                                  BOWLING GREEN   KY   42104‐4536
STONE, WILMA
STONE, WILMA J            8844 ROBEY DR                                                                                        INDIANAPOLIS    IN   46234‐1611
STONE, WILMA J            8844 ROBEY RD                                                                                        INDIANAPOLIS    IN   46243
STONE‐JENKINS, SHARON H   4433 LINDEN LN                                                                                       ANDERSON        IN   46011‐1737
STONE‐NIELSEN, FAYE L     20708 123RD PL SE                                                                                    KENT            WA   98031‐1678
STONE‐TANNER, OLEMA       4178 OLD TROY PIKE                                                                                   DAYTON          OH   45404
STONEBACK, DAVID P        1617 SEIDERSVILLE RD                                                                                 BETHLEHEM       PA   18015
STONEBRAKER SCOTT         599 NORTH BOATMAN ROAD                                                                               SCOTTSBURG      IN   47170‐7944
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Name                                 Address1                             Address2                  Address3    Address4         City           State Zip
STONEBRAKER, CHARLES R               81 E 100 N                                                                                  VEEDERSBURG     IN 47987‐8532
STONEBRAKER, DONALD S                57 DIXON DR                                                                                 INWOOD          WV 25428‐4130
STONEBRAKER, FORREST P               3619 ARDEN BLVD                                                                             YOUNGSTOWN      OH 44511‐3017
STONEBRAKER, HAROLD                  4113 W 400 S                                                                                MUNCIE          IN 47302
STONEBRAKER, KEITH G                 2884 OLD COLUMBIA RD                                                                        LEWISBURG       TN 37091‐6841
STONEBRAKER, KENNETH H               2018 TICE DR                                                                                CULLEOKA        TN 38451‐2719
STONEBRAKER, MILLARD E               39 BENSON DR                                                                                LANCASTER       NY 14086‐2723
STONEBRAKER, PHILLIP E               609 N PIN OAK LN                                                                            MUNCIE          IN 47304‐3175
STONEBRAKER, PHYLLIS L               9092 SOUTH 1000 WEST                                                                        COVINGTON       IN 47932‐7928
STONEBRAKER, RALPH H                 415 SHERMAN AVE                                                                             SHARON          PA 16146‐3907
STONEBRAKER, ROBERT E                39 BENSON DR                                                                                LANCASTER       NY 14086‐2723
STONEBREAKER, MARTHA L               13784 GLENRIO DR                                                                            STERLING HTS    MI 48313‐4200
STONEBRIAR CENTRE MANAGEMENT         2601 PRESTON ROAD                                                                           FRISCO          TX 75034
OFFICE
STONEBRIAR CHEVROLET                 9950 STATE HIGHWAY 121                                                                      FRISCO          TX   75035‐4601
STONEBRIAR CHEVROLET I, L.P.         DARRELL MCCUTCHEON                   9950 STATE HIGHWAY 121                                 FRISCO          TX   75035‐4601
STONEBRIAR DEALERSHIP PROPERTY LP    9950 STATE HIGHWAY 121               ATTN DARRELL MCCUTCHEON                                FRISCO          TX   75035‐4601

STONEBRIAR DEALERSHIP PROPERTY, LP   DARRELL L. MCCUTCHEON                800 N CENTRAL EXPY                                     RICHARDSON      TX   75080‐5204

STONEBRIAR DEALERSHIP PROPERTY, LP   DARRELL MCCUTCHEON                   9950 STATE HIGHWAY 121                                 FRISCO          TX   75035‐4601

STONEBRIDGE INTERNATIONAL LLC        555 13TH ST NW STE 300 W                                                                    WASHINGTON     DC 20004
STONEBRIDGE INTERNATIONAL LLC        ATTN: CORPORATE OFFICER/AUTHORIZED   555 13TH ST NW            STE 300 W                    WASHINGTON     DC 20004‐1109
                                     AGENT
STONEBRIDGE POLLAK (HOLDINGS) LTD    38481 W HURON RIVER DR                                                                      ROMULUS        MI 48174

STONEBURG, GARY D                    1395 OLD MILL RD                                                                            LAPEER         MI    48446‐8736
STONEBURG, HARRY A                   53 E YPSILANTI AVE                                                                          PONTIAC        MI    48340‐1978
STONEBURG, SAMANTHA K                6722 FOLIAGE COURT WEST                                                                     ROSEMOUNT      MN    55068‐1272
STONEBURGH, ELIZABETH A              7222 BLUE OX TRAIL                                                                          SOUTH BRANCH   MI    48761‐9611
STONEBURGH, GUY A                    PO BOX 186                                                                                  ATTICA         MI    48412‐0186
STONEBURGH, KAREN H                  1646 KNEPP RD                                                                               FAIRVIEW       MI    48621‐9723
STONEBURGH, WILLIAM                  1646 KNEPP RD                                                                               FAIRVIEW       MI    48621
STONEBURNER, GERALD R                2618 ABBOTT RD APT J6                                                                       MIDLAND        MI    48642‐4864
STONEBURNER, RAY S                   2536 COLLEGE RD                                                                             HOLT           MI    48842‐8705
STONEBURNER, ROBERT A                4238 THOM ST                                                                                BURTON         MI    48509
STONEBURNER, VICTOR J                3818 RISEDORPH AVE                                                                          FLINT          MI    48506‐3130
STONEBURNER, WILLIAM                 3182 NORTHWEST DR                                                                           SAGINAW        MI    48603‐2351
STONECIPHER JOHN (662774)            SIMMONS FIRM                         PO BOX 521                                             EAST ALTON     IL    62024‐0519
STONECIPHER, CLYDE M                 413 MICHAEL RD                                                                              LEEDS          AL    35094‐3852
STONECIPHER, DELONE                  803 LITTON COVERED BRIDGE RD                                                                HUNTSVILLE     TN    37756‐3305
STONECIPHER, GRACE                   461 LOWER CARLISLE RD                                                                       CARLISLE       OH    45005‐3456
STONECIPHER, JACKIE R                2594 E HIGHWAY 904                                                                          WILLIAMSBURG   KY    40769‐9037
STONECIPHER, JOHN                    SIMMONS FIRM                         PO BOX 521                                             EAST ALTON     IL    62024‐0519
STONECIPHER, LARRY W                 1915 E 25TH ST                                                                              MUNCIE         IN    47302‐5923
STONECIPHER, LESTER                  PORTER & MALOUF PA                   4670 MCWILLIE DR                                       JACKSON        MS    39206‐5621
STONECIPHER, LOIS M                  62 WEYMOUTH LN                                                                              PALM COAST     FL    32164‐4057
STONECIPHER, M B                     8677 SUNSET COVE DR                                                                         CLARKSTON      MI    48348‐2445
STONECIPHER, MARGARET E              1203 SHILOH RD                                                                              COVINGTON      TN    38019
STONECIPHER, MARGARET E              103 2ND ST                                                                                  COLLINSVILLE   IL    62234
STONECIPHER, ROSS A                  11955 WILDWOOD SPRINGS DR                                                                   ROSWELL        GA    30075‐1846
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Name                              Address1                         Address2                      Address3             Address4         City               State Zip
STONECLIFFE, IRENE L              PO BOX 244                                                                                           ROCKTON              IL 61072
STONECLIFFE, JOHN C               7294 VANISTA CT                                                                                      ROCKFORD             IL 61107‐2713
STONECO INC                       221 ALLEN ST BOX 29A                                                                                 MAUMEE              OH 43537
STONECO INC                       1700 FOSTORIA AVE STE 200                                                                            FINDLAY             OH 45840‐6218
STONECYPHER JR, HAROLD L          161 CLAIRE DR SE                                                                                     ATLANTA             GA 30315‐4303
STONEGATE BANQUET CENTRE          1084 N IRISH RD                                                                                      DAVISON             MI 48423‐2209
STONEGATE SALES & SERVICE, INC,   10 STONEGATE CTR                                                                                     VALLEY PARK         MO 63088‐1215
STONEGATE SALES & SERVICE, INC,                                    10 STONEGATE CTR                                                                        MO 63088
STONEHAM, CHRISTINE J             886 DEL REY DR APT 201                                                                               BOULDER CITY        NV 89005‐2373
STONEHAM, DAVID M                 6042 KILLARNEY AVE                                                                                   GARDEN GROVE        CA 92845‐2728
STONEHAM, GARY A                  1820 HALL ST                                                                                         HOLT                MI 48842‐1712
STONEHAM, HARRY R                 34 MOXON DR                                                                                          ROCHESTER           NY 14612‐1813
STONEHAM, VIOLET M                547 S EVERGREEN ST                                                                                   WAUTOMA             WI 54982
STONEHILL COLLEGE                 320 WASHINGTON ST                                                                                    NORTH EASTON        MA 02357‐7800
STONEHILL, MARK A                 51769 CALEDONIAN DRIVE                                                                               GRANGER             IN 46530‐4277
STONEHOCKER CHARLES F (439548)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA 23510
                                                                   STREET, SUITE 600
STONEHOCKER, CHARLES F            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA 23510‐2212
                                                                   STREET, SUITE 600
STONEHOUSE RYAN                   STONEHOUSE, RYAN                 GILPIN & KEEFE                820 2ND STREET, NW                    ALBUQUERQUE        NM   87102
STONEHOUSE, DOROTHY M             8524 BROOKHILL CT                                                                                    INDIANAPOLIS       IN   46234‐1787
STONEHOUSE, GARY D                1717 CARDINAL LN                                                                                     BROWNSBURG         IN   46112‐8863
STONEHOUSE, JOHN R                955 N COUNTY ROAD 1050 E                                                                             INDIANAPOLIS       IN   46234‐8940
STONEHOUSE, MARY E                433 FORSYTHE AVENUE                                                                                  GIRARD             OH   44420‐2209
STONEHOUSE, RYAN S                13 FALCON LN                                                                                         TIJERAS            NM   87059‐8013
STONEHOUSE, TERESA A              351 N SQUIRREL ROAD              LOT 72                                                              AUBURN HILLS       MI   48326‐4043
STONEHOUSE, TERESA A              351 N SQUIRREL RD LOT 72                                                                             AUBURN HILLS       MI   48326‐4043
STONEHOUSE, TIMOTHY J             5655 WINDMILL DR                                                                                     INDIANAPOLIS       IN   46254‐2311
STONEHOUSE, VIRGIL D              8524 BROOKHILL CT                                                                                    INDIANAPOLIS       IN   46234‐1787
STONEHOUSE‐POHL, ELLEN I          4775 VILLAGE DR APT 148                                                                              GRAND LEDGE        MI   48837‐8109
STONEKING ELMER (429883)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA   23510
                                                                   STREET, SUITE 600
STONEKING JEFF                    4616 W SENECA DR                                                                                     JACKSONVILLE       FL   32259‐2161
STONEKING, DAVID W                920 N FREMONT ST                                                                                     JANESVILLE         WI   53545‐1936
STONEKING, EARNEY J               HC 62 BOX RR                                                                                         BURTON             WV   26562‐9713
STONEKING, ELMER                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA   23510‐2212
                                                                   STREET, SUITE 600
STONEKING, FRANCIS L              3216 SAINT JAMES CT                                                                                  OAKLAND TOWNSHIP   MI   48306‐2272
STONEKING, JEANNETTA R            2210 PHALANX MILLS HERNER RD                                                                         SOUTHINGTON        OH   44470‐9515
STONEKING, JENNIFER J             106 N LAKEVIEW BLVD                                                                                  MANITOU BEACH      MI   49253‐9650
STONEKING, KEVIN W                605 HORSESHOE AVENUE                                                                                 SANDUSKY           OH   44870‐1604
STONEKING, LILLIAN J              1055 BUNBURY WAY                                                                                     BALTIMORE          MD   21205‐3202
STONEKING, ROGER L                30200 STEPHENSON HWY             480‐000‐999 AUSTRALIA                                               MADISON HEIGHTS    MI   48071‐1612
STONEMAN, JOHN F                  7323 W HOWE RD                                                                                       DEWITT             MI   48820‐7814
STONEMAN, KATHLEEN C              11026 33 MILE RD                                                                                     BRUCE TWP          MI   48065‐3709
STONEMAN, LARRY D                 7494 E RIDGE RD                                                                                      ELSIE              MI   48831‐9785
STONEMAN, RUBY B                  937 KINWAT AVE                                                                                       BALTIMORE          MD   21221‐5217
STONEMAN, STEPHEN R               43026 HILLCREST DR                                                                                   STERLING HEIGHTS   MI   48313‐2357
STONEMAN, VIRGINIA                PO BOX 233                                                                                           RISING SUN         MD   21911‐0233
STONEOAK DEVELOPMENT LTD          1407 LARKSPUR AVE                                                                                    MCALLEN            TX   78501‐3846
STONEPATH LOGISTICS               LOCKBOCK 712412                                                                                      CINCINNATI         OH   45202
STONEPATH LOGISTICS / UNITED      AMERICAN FREIGHT SERVICES INC    7640 HOLLAND RD                                                     TAYLOR             MI   48180‐1451
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Name                     Address1                        Address2            Address3         Address4         City              State Zip
STONER & CO INC          3223 W ARMITAGE AVE                                                                   CHICAGO             IL 60647‐3715
STONER MICHAEL           2245 LONG ST                                                                          SWEET HOME         OR 97386‐2845
STONER SR., GEORGE H     597 WILLOW ST                                                                         LOCKPORT           NY 14094‐5604
STONER, ARDIS V          PO BOX 225                                                                            LAKE ORION         MI 48361‐0225
STONER, BRYAN E          307 CANYON DRIVE                                                                      PLEASANT HILL      MO 64080‐1958
STONER, CALLIE E         4061 YORKWOODS LN NW                                                                  COMSTOCK PARK      MI 49321‐8789
STONER, CARL A           3426 PIPER DR                                                                         NORTHWOOD          OH 43619‐1612
STONER, CARL AGUSTUS     3426 PIPER DR                                                                         NORTHWOOD          OH 43619‐1612
STONER, CAROL J          1085 TASMAN DR SPC 624                                                                SUNNYVALE          CA 94089‐5723
STONER, CHARLES L        817 E EPLER AVE                                                                       INDIANAPOLIS       IN 46227‐1813
STONER, CLYDE R          3275 NW 44TH CT                                                                       OCALA              FL 34482‐8340
STONER, DALE M           23376 STATE ROUTE 34                                                                  STRYKER            OH 43557
STONER, DANIEL K         8973 BRANDON RD                                                                       NEWPORT            MI 48166‐9348
STONER, DANIEL KENNETH   8973 BRANDON RD                                                                       NEWPORT            MI 48165‐9348
STONER, DANIEL L         5122 GLEN COVE LN                                                                     FLINT              MI 48507‐4519
STONER, DAVID F          755 TIMBERLANE DR                                                                     GALION             OH 44833‐1124
STONER, DENNIS L         1615 N E ST                                                                           ELWOOD             IN 46036‐1330
STONER, DONALD K         205A HUNTER DR                                                                        COLUMBIA           TN 38401‐5070
STONER, DONALD L         1636 W MUSGROVE HWY                                                                   LAKE ODESSA        MI 48849
STONER, DOROTHY          1028 LAKE JASON DR                                                                    WHITE LAKE         MI 48386
STONER, DOROTHY          2300 WATKINS LAKE RD APT 201                                                          WATERFORD          MI 48328
STONER, EDWARD D         720 DOWNING WAY                                                                       THORNTON           CO 80229‐5917
STONER, GENE A           3940 N 143RD LN                                                                       GOODYEAR           AZ 85395‐8426
STONER, GENE ALAN        3940 NORTH 143RD LANE                                                                 GOODYEAR           AZ 85395‐8426
STONER, GEORGE A         308 MULBERRY RD                                                                       CHESTERFIELD       IN 46017‐1723
STONER, GEORGE R         382 HARWIN DR                                                                         SEVERNA PARK       MD 21146‐2013
STONER, GERALD R         2152 DYE FORD RD                                                                      ALVATON            KY 42122‐9677
STONER, GERALDINE M      16671 IDA CENTER RD                                                                   PETERSBURG         MI 49270‐9744
STONER, HAROLD L         3785 EGNER AVE NE                                                                     CEDAR SPRINGS      MI 49319‐8847
STONER, HELEN N          3523 BROWN ST                                                                         ANDERSON           IN 46013‐4223
STONER, JACK L           125 COURT ST N                  P.O. BOX 248                                          STANDISH           MI 48658‐9416
STONER, JACK L           1820 YALTA RD                                                                         BEAVERCREEK        OH 45432‐2332
STONER, JACK L           P.O. BOX 248                    P O BOX 248                                           STANDISH           MI 48658‐9416
STONER, JACOB G          2407 GREENBRIAR                                                                       HARBOR SPRINGS     MI 49740‐9256
STONER, JAMES C          1403 W. BROADWAAY #316                                                                APACHE JUNCTION    AZ 85220
STONER, JAMES E          4992 NW 32ND ST                                                                       OCALA              FL 34482‐8373
STONER, JAMES R          2300 PORTAGE ST APT 224                                                               KALAMAZOO          MI 49001‐6504
STONER, JAMES R          5584 HAMMON DR                                                                        BROWNSBURG         IN 46112‐8677
STONER, JEAN M           1108 BROOKSIDE DRIVE                                                                  LANSING            MI 48917
STONER, JOHN E           9732 E WATFORD WAY                                                                    SUN LAKES          AZ 85248‐7144
STONER, JOHN L           2103 MORROW RD                                                                        MARION             IN 46952‐1511
STONER, JUDITH M         20608 ALGER ST                                                                        ST CLAIR SHRS      MI 48080‐3711
STONER, LISA             10572 S STATE RD                                                                      MORRICE            MI 48857‐9701
STONER, MARIE E          PO BOX 102                                                                            NAZARETH           MI 49074‐0102
STONER, MARK A           6913 E COUNTY ROAD 1100 N                                                             ROACHDALE          IN 46172‐9196
STONER, MATTHEW D        23376 ST. RT 34‐1                                                                     STRYKER            OH 43557
STONER, MYRELL L         3918 US HIGHWAY 51                                                                    MOUNDS              IL 62964‐2206
STONER, NORMAN G         1513 CAMROSE CT                                                                       OKLAHOMA CITY      OK 73159‐7605
STONER, ODELL V          838 S LOGAN ST                                                                        ELYRIA             OH 44035‐6549
STONER, ODELL V          838 S. LOGAN ST.                                                                      ELYRIA             OH 44035‐6549
STONER, PATRICIA A       9732 E WATFORD WAY                                                                    SUN LAKES          AZ 85248‐7144
STONER, PATRICIA M       180 HELEN AVENUE                                                                      NILES              OH 44446‐4446
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Name                                  Address1                         Address2                       Address3                   Address4                  City               State Zip
STONER, PATRICIA M                    180 HELEN AVE                                                                                                        NILES               OH 44446‐1907
STONER, RICHARD E                     3728 ORONO DR                                                                                                        TOLEDO              OH 43614‐5433
STONER, RICHARD ELMER                 3728 ORONO DR                                                                                                        TOLEDO              OH 43614‐5433
STONER, ROBERT D                      5646 TIFFIN ST                                                                                                       PORTAGE             MI 49002‐2281
STONER, ROBERT G                      13322 WINONA DR                                                                                                      STERLING HEIGHTS    MI 48312‐1560
STONER, ROXANN                        420 SW TERRIACE 113                                                                                                  OCALA               FL 34481
STONER, RUTH E.                       3760 WHITE TAIL RUN                                                                                                  MOORESVILLE         IN 46158‐7811
STONER, WILLIAM A                     2740 W MADISON RD                                                                                                    ALMA                MI 48801‐9328
STONER, WILLIAM D                     695 CHERRY ST                                                                                                        GREENFIELD          IN 46140‐1552
STONERIDGE ASIA PACIFIC ELECTRONICS   268 TANGZHUANG BLDG 1                                                                      SUZHOU JIANGSU CN
                                                                                                                                 215021 CHINA (PEOPLE'S
                                                                                                                                 REP)
STONERIDGE ELECTRONICS AS             VALDMAE SAKU VALD 5              TANASSILMA TEHNOPARK                                      HARJUMAA 76406 ESTONIA
STONERIDGE ELECTRONICS AS
STONERIDGE ELECTRONICS INC            DBA POLLAK                       6 BUTTERFIELD TRAIL BLVD                                                            EL PASO             TX   79906‐4902
STONERIDGE INC
STONERIDGE INC                        268 TANGZHUANG BLDG 1                                                                      SUZHOU JIANGSU CN
                                                                                                                                 215021 CHINA (PEOPLE'S
                                                                                                                                 REP)
STONERIDGE INC                        300 DAN RD                                                                                                           CANTON             MA    02021‐2848
STONERIDGE INC                        38481 W HURON RIVER DR                                                                                               ROMULUS            MI    48174
STONERIDGE INC                        9400 E MARKET ST                                                                                                     WARREN             OH    44484‐5514
STONERIDGE INC                        JOE HELLER                       SARASOTA DIVISION              7290 26TH COURT STREET                               CHICAGO            IL
STONERIDGE INC                        PATTI BANWELL                    195 FREEPORT STREET                                                                 HASLETT            MI    48840
STONERIDGE INC                        PATTI BANWELL                    345 S MILL ST                                                                       LEXINGTON          OH    44904‐9573
STONERIDGE INC                        PATTI BANWELL                    345 S. MILL ST                                                                      FENTON             MI    48430
STONERIDGE INC                        PATTI BANWELL                    7 ZANE GREY ST STE A                                                                EL PASO            TX    79906‐5214
STONERIDGE INC                        PATTI BANWELL                    7A ZANE GREY                                                                        TEMPE              AZ    85282
STONERIDGE INC                        PATTI BANWELL                    TRANSPORTATION ELECTRONICS DIV 11801 MIRIAM DRIVE STEB1   INCHON 403032 KOREA
                                                                                                                                 (REP)
STONERIDGE INC                        PATTI BANWELL                    US DISTRIBUTION CENTER         DOCK U1 300 DAN RD         BEIJING CHINA (PEOPLE'S
                                                                                                                                 REP)
STONERIDGE INC                        PATTIE BANWELL                   300 DAN RD                                                                          CANTON             MA 02021‐2848
STONERIDGE INC                        PATTIE BANWELL                   300 DAN ROAD                                                                        COOPERSVILLE       MI 49404
STONERIDGE INC                        VALDMAE SAKU VALD 5              TANASSILMA TEHNOPARK                                      HARJUMAA 76406 ESTONIA
STONERIDGE INC                        VANTAGE POINT BUSINESS VILLAGE                                                             MITCHELDEAN
                                                                                                                                 GLOUCESTERSHIRE GL17
                                                                                                                                 0DD GREAT BRITAIN
STONERIDGE INC                        345 S MILL ST                                                                                                        LEXINGTON          OH 44904‐9573
STONERIDGE INC                        7292 26TH CT E                                                                                                       SARASOTA           FL 34243‐3963
STONERIDGE INC                        AV ANTONIO J BERMUDEZ NO 950                                                               CIUDAD JUAREZ, CI 32470
                                                                                                                                 MEXICO
STONERIDGE INC POLLAK ENGINGEERED     28001 CABOT DR STE 100                                                                                               NOVI               MI 48377‐2958
PRODUCTS GROUP
STONERIDGE INC.                       PATTI BANWELL                    7 ZANE GREY ST STE A                                                                EL PASO            TX 79906‐5214
STONERIDGE INC.                       PATTI BANWELL                    7A ZANE GREY                                                                        TEMPE              AZ 85282
STONERIDGE POLLACK (HOLDINGS)         C/O COMPREHENSIVE LOGISTICS CO   38481 W HURON RIVER DR         NORTHLINE INDUSTRIAL DR                              ROMULUS            MI 48174
STONERIDGE POLLAK LTD                 MOORS TEWKESBURY RD              CHELTENHAM GLOS GL51 9BP                                  ENGLAND GREAT BRITAIN
STONERIDGE POLLAK, LTD.               9400 EAST MARKET STREET                                                                                              WARREN             OH 44484
STONERIDGE‐POLLACK LTD                PATTI BANWELL                    US DISTRIBUTION CENTER         DOCK U1 300 DAN RD         BEIJING CHINA (PEOPLE'S
                                                                                                                                 REP)
                                      09-50026-mg            Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                                 Address1                         Address2             Address3       Address4               City                State Zip
STONERIDGE‐POLLAK LTD                VANTAGE POINT BUSINESS VILLAGE                                       MITCHELDEAN
                                                                                                          GLOUCESTERSHIRE GL17
                                                                                                          0DD GREAT BRITAIN
STONERIDGE/CHELTENHA                 THE MOORS TEWKESBURY RD.                                             CHELTENHAM GL51 9BP
                                                                                                          GREAT BRITAIN
STONERIDGE/FARMNGTN                   28001 CABOT DR STE 100                                                                     NOVI                MI    48377‐2958
STONERIDGE/MEXICO                     28001 CABOT DR STE 100                                                                     NOVI                MI    48377‐2958
STONERIDGE/SARASOTA                   28001 CABOT DR STE 100                                                                     NOVI                MI    48377‐2958
STONERIVER PHARMACY                   PO BOX 504591                                                                              SAINT LOUIS         MO    63150‐91
STONEROCK ROBERT (ESTATE OF) (639977) GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                 EDWARDSVILLE        IL    62025‐0959
                                      ANTOGNOLI
STONEROCK, CAROL L
STONEROCK, PAUL E                     99 OLIVE ST                                                                                LONDON              OH 43140‐1358
STONEROCK, ROBERT                     GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                 EDWARDSVILLE        IL 62025‐0959
                                      ANTOGNOLI
STONES, DENISE A                      2838 HUXLEY PL                                                                             FREMONT             CA    94555‐1416
STONESIFER, PAULA ANN                 C/O MOODY                       801 WEST FOURTH ST                                         LITTLE ROCK         AR    72201
STONESIFER, PAULA ANN                 C/O EDWARD O MOODY PA           801 W 4TH ST                                               LITTLE ROCK         AR    72201
STONESTREET JR, KENNETH E             PO BOX 2467                                                                                CATHEDRAL CITY      CA    92235‐2467
STONESTREET, JUDY C                   30840 TANGLEWOOD TRL                                                                       FARMINGTN HLS       MI    48331‐1220
STONESTREET, STEPHEN P                30840 TANGLEWOOD TRL                                                                       FARMINGTN HLS       MI    48331‐1220
STONEWALL CLEMONS                     1128 W SCOTTWOOD AVE                                                                       FLINT               MI    48507‐3616
STONEWALL CRAIG III                   620 CREEKSIDE CIR APT 202                                                                  AUBURN HILLS        MI    48326‐4520
STONEWALL FAIRLEY                     3351 WEST CARPENTER ROAD                                                                   FLINT               MI    48504‐1276
STONEWALL GREEN                       6249 DEBORA DR                                                                             RICHMOND            VA    23225‐2606
STONEWALL JOHNSON                     1910 W GENESEE ST                                                                          FLINT               MI    48504‐3805
STONEWALL SIMMONS JR                  25478 PARSONS DR                                                                           SOUTHFIELD          MI    48075‐1757
STONEWALL WOODSON                     226 E DARTMOUTH ST                                                                         FLINT               MI    48505‐4979
STONEWALL, CHRISTOPHER P              PO BOX 2428                     P M B #20078                                               PENSACOLA           FL    32513‐2428
STONEWALL, CHRISTOPHER P              PO BOX 2428                                                                                PENSACOLA           FL    32513
STONEWALL, CHRISTOPHER P              P M B 20078                     P O BOX 2428                                               PENSACOLA           FL    32513
STONEWALL, JERI K                     8227 CARPATHIAN DR                                                                         WHITE LAKE          MI    48386‐4503
STONEWALL, MELVIN L                   7050 ROUNDHILL DR. APT #B3                                                                 UNION LAKE          MI    48327
STONEWELL JR, RONALD W                158 DOWN ST                                                                                ROCHESTER           NY    14623‐4610
STONEWELL, JEFFREY W                  71 PALAMINO DR                                                                             ROCHESTER           NY    14623‐4050
STONEWELL, RONALD W                   PO BOX 1                        2210 ELTON RD                                              IONIA               NY    14475‐0001
STONEWELL, RONALD W                   158 DOWN ST                                                                                ROCHESTER           NY    14623‐4610
STONEX, ALAN K                        822 VILLA CT                                                                               BOWLING GREEN       KY    42103‐1560
STONEY AUTOMOTIVE ENGINEERING         445 LINN RD                                                                                WILLIAMSTON         MI    48895‐9359
STONEY AUTOMOTIVE ENGINERRING         445 LINN RD                                                                                WILLIAMSTON         MI    48895‐9359
STONEY BLACKBURN                      2598 DIX FORK RD                                                                           SIDNEY              KY    41564
STONEY JAGGERS                        800 NW 143RD ST                                                                            EDMOND              OK    73013‐1926
STONEY MAYS                           204 N RIVER ST                                                                             CONTINENTAL         OH    45831‐8949
STONEY RIDDLE                         11475 ELLISON RD                                                                           ATLANTA             MI    49709‐9745
STONEY, GORDON S                      445 LINN RD                                                                                WILLIAMSTON         MI    48895‐9359
STONEY, GORDON T                      5430 WENTWORTH DR                                                                          COMMERCE TOWNSHIP   MI    48382‐4877
STONEY, LOUIS D                       26345 WOODLINE CT                                                                          FLAT ROCK           MI    48134‐1864
STONEY, PATRICIA A                    1359 CAROLINE CIR                                                                          FRANKLIN            TN    37064‐6740
STONEY, ROBERT                        1611 DELAWARE AVE               APT 1611                                                   WHITE OAK           PA    15131
STONEYBROOK SUNOCO                    629 FANSHAWE PARK RD. E.                                            LONDON ON N5X 3M2
                                                                                                          CANADA
STONG, DENNIS L                      G5291 NORTHWAY                                                                              SWARTZ CREEK         MI 48473
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Name                                 Address1                        Address2                   Address3               Address4               City                  State Zip
STONG, LEONARD J                     2360 BESTER RD                                                                                           HARBOR SPRINGS         MI 49740‐9401
STONG, NORMAN J                      2430 BASSETT PL                                                                                          FLINT                  MI 48504‐5102
STONG, REBA K                        8347 CRYSTAL CREEK DR                                                                                    WEST JORDAN            UT 84081‐1921
STONG, RICHARD                       1174 WEAVER FARM LN                                                                                      SPRING HILL            TN 37174‐2185
STONG, THEODORE W                    4459 ISLAND VIEW DR                                                                                      FENTON                 MI 48430‐9146
STONG, THEODORE WILLIAM              4459 ISLAND VIEW DR                                                                                      FENTON                 MI 48430‐9146
STONGE, DARYL W                      85 FAIRFAX ST                                                                                            LOCKPORT               NY 14094‐4868
STONGE, LAWRENCE M                   PO BOX 361                      C/O VIVIAN POLZIN                                                        PERRY                  MI 48872‐0361
STONHARD DIVISION                    RPM CANADA                      FRMLY STONHARD LIMITED     95 SUNRAY STREET       WHITBY CANADA ON L1N
                                                                                                                       9C9 CANADA
STONHARD INC                         1 PARK AVE                                                                                               MAPLE SHADE           NJ   08052
STONHOUSE JR, ALAN L                 405 DUTCH MILL DR                                                                                        FLUSHING              MI   48433‐2122
STONHOUSE, MARTIN C                  8429 S DURAND RD                                                                                         DURAND                MI   48429‐9433
STONHOUSE, ROBERT L                  802 NETTLES BLVD                                                                                         JENSEN BEACH          FL   34957‐3365
STONICK, GLENN F                     8236 HORTON HWY                                                                                          COLLEGE GROVE         TN   37046‐9180
STONIE MARTIN                        1187 ORANGE BLSM LN                                                                                      MOUNT MORRIS          MI   48458
STONIER TRANSPORTATION GROUP INC     PO BOX 2121                                                                                              MEMPHIS               TN   38159‐0001

STONINGTON TAX COLLECTOR              ATTN: TREAS'S OFFICE           152 ELM ST                 OFFICE OF THE ASSESS                          STONINGTON            CT 06378‐1166
STONIONIS, VITO A                     77 OAK ST                                                                                               TEATICKET             MA 02536‐6745
STONIS ROBERT PETER (415861) ‐ WELDON SLAUGHTER EDWARD M             1201 N WATSON RD STE 145                                                 ARLINGTON             TX 76006‐6223
TIMOTHY
STONIS, DENNIS A                      1050 TAMARAC DR                                                                                         HOLIDAY               FL 34690‐6543
STONITSCH GEORGE J JR (ESTATE OF)     GREITZER AND LOCKS             747 3RD AVE RM 3700                                                      NEW YORK              NY 10017‐2812
(451896)
STONITSCH, GEORGE J                   GREITZER AND LOCKS             747 3RD AVE RM 3700                                                      NEW YORK              NY   10017‐2812
STONNER I I I, FRANK R                37111 BRADY CREEK RD                                                                                    RICHMOND              MO   64085‐8622
STONNER III, FRANK R                  37111 BRADY CREEK RD                                                                                    RICHMOND              MO   64085‐8622
STONNER PAUL                          664 ALBION PLACE                                                                                        WESTERVILLE           OH   43082‐6457
STONNEY CLASMAN                       6704 AMY DR                                                                                             CLARKSTON             MI   48348‐4510
STONNIE HASAN                         1306 ELDORADO DR                                                                                        FLINT                 MI   48504‐3220
STONOFF, ELI L                        11381 PETERS PIKE                                                                                       TIPP CITY             OH   45371‐9508
STONOFF, ELI L                        11381 PETERS RD                                                                                         TIPP CITY             OH   45371‐9508
STONOFF, JAMES B
STONUM, JOHN M                        716 SW COUNTY ROAD T                                                                                    HOLDEN                MO   64040‐8109
STONY CREEK REFRIGERATION             8727 WILLOW RD                                                                                          WILLIS                MI   48191‐9711
STONYS TRUCKING CO                    PO BOX 901843                                                                                           CLEVELAND             OH   44190‐1843
STOODY COMPANY                        ATTN ROBIN LEEK                5557 NASHVILLE RD                                                        BOWLING GREEN         KY   42101‐7546
STOOKE, MEGAN A                       79 KENWOOD RD                                                                                           GROSSE POINTE FARMS   MI   48236‐3608
STOOKE, MEGAN ANNALESA                79 KENWOOD RD                                                                                           GROSSE POINTE FARMS   MI   48236‐3608
STOOKEY, HAL E                        12415 NORTH 103 RD AVE         APT D34                                                                  SUN CITY              AZ   85351
STOOKEY, LARRY H                      2096 CLEVELAND RD                                                                                       SANDUSKY              OH   44870‐4451
STOOKEY, PAUL W                       2011 UPPER BELLBROOK RD                                                                                 XENIA                 OH   45385‐9007
STOOKEY, RICHARD D                    3440 RED SCHOOL RD                                                                                      BRUTUS                MI   49716‐9757
STOOKSBURY, BENNY E                   426 CREEK RUN DR                                                                                        WOODSTOCK             GA   30188‐1950
STOOKSBURY, SAMMIE H                  77 LAUREL TRL                                                                                           BLUE RIDGE            GA   30513‐6402
STOOKSBURY, WILLARD L                 1004 KNIGHTSBRIDGE RD NW                                                                                KENNESAW              GA   30144‐2731
STOOLMAKER, ALAN D                    16565 WACOUSTA RD                                                                                       GRAND LEDGE           MI   48837‐8233
STOOLMAKER, DUANE                     6067 HARKSON DR                                                                                         EAST LANSING          MI   48823‐1512
STOOP JR, FURMAN C                    7 DARBY CT                                                                                              EWING                 NJ   08628‐3206
STOOP, BRIAN B                        226 RACCOON LN                                                                                          GERRARDSTOWN          WV   25420‐3060
STOOP, ROBERT W                       1535A RICHMOND RD                                                                                       COLUMBIA              TN   38401‐9083
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Name                            Address1                         Address2                      Address3   Address4               City               State Zip
STOOPS AUTOMOTIVE GROUP, INC.   JEFFREY STOOPS                   4055 W CLARA LN                                                 MUNCIE              IN 47304‐5414
STOOPS BUICK                    JEFFREY STOOPS                   4055 W CLARA LN                                                 MUNCIE              IN 47304‐5414
STOOPS BUICK                    4055 W CLARA LN                                                                                  MUNCIE              IN 47304‐5414
STOOPS BUICK, INC.              JEFFREY STOOPS                   1251 QUAKER BLVD                                                PLAINFIELD          IN 46168‐7932
STOOPS BUICK‐GMC                1251 QUAKER BLVD                                                                                 PLAINFIELD          IN 46168‐7932
STOOPS GMC                      4055 W CLARA LN                                                                                  MUNCIE              IN 47304‐5414
STOOPS GMC                      JEFFREY STOOPS                   4055 W CLARA LN                                                 MUNCIE              IN 47304‐5414
STOOPS JR, KENNETH C            1001 REDBUD LN                                                                                   EDMOND              OK 73034‐8041
STOOPS PONTIAC                  4055 W CLARA LN                                                                                  MUNCIE              IN 47304‐5414
STOOPS WILLIAM L (429884)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510
                                                                 STREET, SUITE 600
STOOPS, ANDREW T                4762 COURT ST                                                                                    AUBURN             MI   48611‐9509
STOOPS, ANDREW T.               4762 COURT ST                                                                                    AUBURN             MI   48611‐9509
STOOPS, CARL M                  326 ZERN AVE SW                                                                                  MASSILLON          OH   44646‐3476
STOOPS, DEWAIN E                1517 WALDMAN AVE                                                                                 FLINT              MI   48507‐1596
STOOPS, ESTHER S                725 ALPINE DR                                                                                    ANDERSON           IN   46013‐5001
STOOPS, GERALD                  COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                         HOUSTON            TX   77002‐1751
STOOPS, IRENE C                 904 KING ORANGE DRIVE                                                                            ORANGE CITY        FL   32763
STOOPS, JONATHAN M              4546 S SCATTERFIELD RD                                                                           ANDERSON           IN   46013‐2904
STOOPS, KIP
STOOPS, MATT A                  401 COUNTRY LN                                                                                   NORTH MANCHESTER   IN   46962‐1304
STOOPS, NATHANIEL A             401 COUNTRY LN                                                                                   N MANCHESTER       IN   46962‐1304
STOOPS, PATRICIA W              851 W LEAH LN                                                                                    GILBERT            AZ   85233‐1934
STOOPS, RICHARD M               13026 S 1025 E                                                                                   CONVERSE           IN   46919‐9233
STOOPS, RUSTYN M                2801 KENNEDY RD                                                                                  WILMINGTON         DE   19810‐3447
STOOPS, VIRGINIA K              4546 S SCATTERFIELD RD                                                                           ANDERSON           IN   46013‐2904
STOOPS, VIRGINIA W              27 ROOSEVELT DR                                                                                  LOCKPORT           NY   14094‐5025
STOOPS, WILLIAM L               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510‐2212
                                                                 STREET, SUITE 600
STOOPS, ZOLA B                  5801 WEST BETHEL AV                                                                              MUNICE             IN   47304
STOOPS, ZOLA B                  5801 W BETHEL AVE                                                                                MUNCIE             IN   47304‐9549
STOOS, CHARLES M                10778 DIXIE HWY                                                                                  DAVISBURG          MI   48350‐1123
STOOS, FRANK M                  1317 MORNINGSIDE AVE                                                                             SIOUX CITY         IA   51106‐1711
STOOTS II, GEORGE C             BOX 439A RD 2                                                                                    LITTLESTOWN        PA   17340
STOOTS, AUDREGENE               360 S MAIN ST LOT 586                                                                            WEST SALEM         OH   44287‐8825
STOOTS, BOBBY G                 8054 FILLY LN                                                                                    PLAINFIELD         IN   46168‐8500
STOOTS, HARRY L                 6011 TIMBERLAND WAY                                                                              INDIANAPOLIS       IN   46221‐4544
STOOTS, LINDA JUDY              ASBURY ROBERT I                  512 GORDON AVE                                                  MARION             VA   24354‐1647
STOOTS, WILLIAM K
STOP & GO CHECK CASHING         5825 JACKMAN RD                                                                                  TOLEDO             OH 43613‐1764
STOP & RIDE                     803 LEE ST                                                                                       JEFFERSON          GA 30549‐6324
STOP 23 AUTO SALES & SERVICE    910 WALLANCE AVENUE N                                                     LISTOWELL ON N4W 1M5
                                                                                                          CANADA
STOP‐N‐STOR STORAGE CTR         ATTN: DAVID HAUPT                1534 LOWELL ST                                                  ELYRIA             OH   44035‐4869
STOPA JR., RICHARD K            6219 S US HIGHWAY 51 LOT 1058                                                                    JANESVILLE         WI   53546‐9484
STOPA, DONALD A                 7157 ELLICOTT RD                                                                                 LOCKPORT           NY   14094‐9482
STOPA, JAMES A                  1852 US HIGHWAY 27 S LOT G23                                                                     AVON PARK          FL   33825
STOPA, JOHN R                   8599 MENGE                                                                                       CENTER LINE        MI   48015‐1616
STOPA, MARION W                 435 NORTH 4TH STREET                                                                             LEWISTON           NY   14092‐1243
STOPA, RICHARD K                4243 CHURCH RD                                                                                   LOCKPORT           NY   14094‐9724
STOPA, ROMAN                    2 NE 50TH CT                                                                                     OCALA              FL   34470‐1564
STOPA, STEVEN C                 6388 RIDGE RD                                                                                    LOCKPORT           NY   14094‐1017
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Name                              Address1                            Address2                Address3        Address4         City            State Zip
STOPAR, LILY K                    34424 EUCLID AVE LOT 521                                                                     WILLOUGHBY       OH 44094‐3329
STOPCHINSKI, MARTHA A             32305 HAZELWOOD                                                                              WESTLAND         MI 48186‐8937
STOPCZYNSKI, ANDREA R             3136 PEARL AVE                                                                               WARREN           MI 48091‐5511
STOPERA, DEBORAH CLYDE            309 MAIN ST                                                                                  BELLEVILLE       MI 48111‐2645
STOPERA, FRANK F                  2022 PETTUS DR NE                                                                            HUNTSVILLE       AL 35811‐2214
STOPERA, JOHN S                   37625 KNOLL DR                                                                               WAYNE            MI 48184‐2813
STOPHER JR, GUY L                 4716 SOUTHVIEW DR                                                                            ANDERSON         IN 46013‐4757
STOPIAK, ANDREW V                 14132 KATHLEEN DR                                                                            BROOK PARK       OH 44142‐4038
STOPINSKI, HENRY R                1396 DODGE RD                                                                                GETZVILLE        NY 14068‐1387
STOPJIK, ARLENE F.                100 S JEFFERSON AVE STE 102                                                                  SAGINAW          MI 48607‐1274
STOPJIK, ARLENE F.                100 S JEFFERSON ST                  SUITE 102                                                SAGINAW          MI 48607
STOPJIK, JAMES L                  1126 CHESANING ST                                                                            SAINT CHARLES    MI 48655‐1808
STOPJIK, JOSEPH A                 11744 BALDWIN RD                                                                             CHESANING        MI 48616‐9497
STOPJIK, STEVE                    11903 PEET RD                                                                                CHESANING        MI 48616‐9574
STOPKA, FLORIAN                   8715 W CATHERINE AVE                                                                         CHICAGO           IL 60656‐1156
STOPKA, LINDA                     4101 ARLINGTON ST                                                                            MIDLAND          MI 48642
STOPKA, LINDA S                   4101 ARLINGTON ST                                                                            MIDLAND          MI 48642‐3801
STOPKA, ROBERT L                  4101 ARLINGTON ST                                                                            MIDLAND          MI 48642‐3801
STOPLETON, JIM                    1919 RT 46 S                                                                                 JEFFERSON        OH 44047
STOPOULOS, KRISTEL D              2961 WALNUT ST                                                                               BETTENDORF        IA 52722‐4527
STOPP, CARL R                     14138 NEWCASTLE AVE                                                                          SPRING HILL      FL 34609‐0826
STOPPA, DOROTHY E                 1357 HOWE RD                                                                                 BURTON           MI 48509‐1705
STOPPA, IVES                      16828 TREMLETT DR                                                                            CLINTON TWP      MI 48035‐2382
STOPPE, AMY R                     SPENCE CUSTER SAYLOR WOLFE & ROSE   PO BOX 280                                               JOHNSTOWN        PA 15907‐0280

STOPPEL, RUSSELL A                235W MAIN ST.                                                                                PERU            IN   46970
STOPPELMAN, THOMAS M              3420 GOVERNORS TRL                                                                           DAYTON          OH   45409‐1105
STOPPERT, DONELDA J               4262 SPRINGBROOK DR                                                                          SWARTZ CREEK    MI   48473‐1706
STOPWATCH MAPS                    JOE BOLIAN                          6353 N ROSEBURY AVE                                      SAINT LOUIS     MO   63105‐2204
STOPWATCH MAPS                    6353 N ROSEBURY AVE                                                                          SAINT LOUIS     MO   63105‐2204
STOPWATCH MAPS & INFORMATION S    6353 N ROSEBURY AVE                                                                          SAINT LOUIS     MO   63105‐2204
STOPYRA, THOMAS G                 14201 DEER POINT COURT                                                                       ALPHARETTA      GA   30004‐5049
STOR‐MOR INC                      350 SOUTH BLVD E                                                                             PONTIAC         MI   48341‐2959
STORACE, AMERIGO C                17180 HAWKS LOOKOUT LN                                                                       STRONGSVILLE    OH   44136‐6275
STORACI, STEVEN J                 8756 STONEHILL CT                                                                            SPRINGBORO      OH   45066‐8607
STORAGE & TRANSPORTATION CO INC   24660 DEQUINDRE RD                                                                           WARREN          MI   48091‐3332
STORAGE CONCEPTS INC              PO BOX 42280                                                                                 CINCINNATI      OH   45242‐0280
STORAGE EQUIPMENT SALES INC       1324 CLARKSON CLAYTON CTR                                                                    ELLISVILLE      MO   63011‐2145
STORANDT JEFFREY                  STORANDT, JEFFREY                   1684 50TH ST                                             WASHOUGAL       WA   98671‐9721
STORANDT, JEFF                    C/O ENCOMPASS INSURANCE             ATTN: DIANE SIFUENTES   PO BOX 115001                    CARROLLTON      TX   75011
STORANDT, JEFFREY                 1684 50TH ST                                                                                 WASHOUGAL       WA   98671‐9721
STORC, ROBERT G                   819 LEINSTER RD                                                                              ROCHESTER HLS   MI   48309‐2426
STORCH JR, R L                    329 HARLAN DR                                                                                FRANKENMUTH     MI   48734‐1450
STORCH PRODS ‐ GARNMT             NO ADVERSE PARTY
STORCH PRODUCTS CO INC            PO BOX 531356                                                                                LIVONIA         MI   48153‐1356
STORCH PRODUCTS CO INC            11827 GLOBE ST                      PO BOX 531356                                            LIVONIA         MI   48150‐1133
STORCH TODD                       160 WESTBURY CT                                                                              COPPELL         TX   75019‐3324
STORCH, ALBERT R                  6121 JADE LN                                                                                 BRIDGEPORT      MI   48722‐9521
STORCH, CHARLES E                 21976 W 221ST ST                                                                             SPRING HILL     KS   66083‐4010
STORCH, DAVID H                   3598 N 700 E                                                                                 GREENFIELD      IN   46140‐8931
STORCH, FRANK C                   21935 OLD KANSAS CITY RD                                                                     SPRING HILL     KS   66083‐3047
STORCH, JILL C                    113 N MILTON AVE                                                                             BALTIMORE       MD   21224‐1049
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Name                      Address1                          Address2                      Address3   Address4             City             State Zip
STORCH, KEVIN J           8360 WOODLAND SHORE DR                                                                          BRIGHTON          MI 48114‐7302
STORCH, KEVIN J.          8360 WOODLAND SHORE DR                                                                          BRIGHTON          MI 48114‐7302
STORCH, RICHARD L         5604 LOGGINGTRAIL DR                                                                            SEARS             MI 49679‐8013
STORCH, SHARON L          8360 WOODLAND SHORE DR                                                                          BRIGHTON          MI 48114‐7302
STORCK HAROLD             218 LA CROSS ST                                                                                 LEBANON           MO 65536‐4355
STORCK III, PHILLIP C     52430 FORD LN                                                                                   CHESTERFIELD      MI 48047‐3512
STORCK JR, PHILLIP C      57555 CIDER DR                                                                                  WASHINGTON        MI 48094‐3219
STORCK, ALAN G            2057 DOWNHAM DR                                                                                 WIXOM             MI 48393‐1192
STORCK, BARBARA J.        533 VISTA AVE                                                                                   VANDALIA          OH 45377‐1845
STORCK, BARBARA J.        533 VISTA DR                                                                                    VANDALIA          OH 45377‐1845
STORCK, BRADLEY D         22329 PARK ST                                                                                   DEARBORN          MI 48124‐2779
STORCK, CRYSTAL C         1322 BRUIN LN                                                                                   JANESVILLE        WI 53545‐7808
STORCK, DONALD T          3103 ELMHURST AVE                                                                               ROYAL OAK         MI 48073‐3016
STORCK, GARY W            7722 CURRIE HILL CT                                                                             FORT WAYNE        IN 46804‐3521
STORCK, KEITH W           32047 N SKYLINE DR                                                                              QUEEN CREEK       AZ 85243‐5837
STORCK, KEITH W           32047 NORTH SKYLINE DRIVE                                                                       QUEEN CREEK       AZ 85243‐5837
STORCK, KEVIN J           37701 VIA ROSALIE ST                                                                            CLINTON TWP       MI 48036‐2972
STORCK, MARIE C           PO BOX 44101                                                                                    INDIANAPOLIS      IN 46244‐0101
STORCK, MERLE E           2811 RUGER AVE                                                                                  JANESVILLE        WI 53545‐2248
STORCK, NATHAN P          1322 BRUIN LN                                                                                   JANESVILLE        WI 53545‐7808
STORDAHL DOMINIC          11920 27TH PL SW                                                                                BURIEN            WA 98146
STORDAHL JR, CALMER M     948 NW OAKMONT CT                                                                               MCMINNVILLE       OR 97128‐5020
STORDEUR, ROBERT G        15845 MEYER AVE                                                                                 ALLEN PARK        MI 48101‐2745
STORDEUR, ROBERT GEORGE   15845 MEYER AVE                                                                                 ALLEN PARK        MI 48101‐2745
STORE COLOR/NASHVILL      1421 4TH AVENUE STREET                                                                          NASHVILLE         TN 37120
STORE, JIMMY D            2780 PINE DUNES CT SW                                                                           WYOMING           MI 49418‐9305
STOREMSKI, HARRY E        6912 FAUST AVE                                                                                  DETROIT           MI 48228‐3495
STOREMSKI, LARRY J        14491 AIRPORT RD                                                                                ATLANTA           MI 49709‐9186
STORER JR, JOHN E         5300 W 96TH ST UNIT 401                                                                         INDIANAPOLIS      IN 46268
STORER ROY H (660954)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA 23510
                                                            STREET, SUITE 600
STORER, BARBARA A         26 ROOSEVELT AVE                                                                                WEST HAVEN       CT   06516‐6321
STORER, EVELYN K.         1504 WOODLAND DR                                                                                CENTERVILLE      TN   37033‐1040
STORER, GEORGE H          12047 TOWNLINE RD                                                                               GRAND BLANC      MI   48439‐1650
STORER, HARRY T           21 COLONIAL LN                                                                                  REHOBOTH BEACH   DE   19971‐9723
STORER, HELEN M           11510 E BROOKS RD                                                                               LENNON           MI   48449‐9504
STORER, JACKIE W          5440 W 250 S                                                                                    RUSSIAVILLE      IN   46979‐9493
STORER, MARIE A           849 LUSTERVIEW COURT                                                                            LOS VEGAS        NV   89123
STORER, MARJORIE W        2177 RENSHAW AVE                                                                                DAYTON           OH   45439‐3031
STORER, MICHAEL D         378 TRAILS END RD                                                                               CAMPTON          KY   41301‐1301
STORER, RALPH             280 WALDEN WAY APT 904                                                                          DAYTON           OH   45440‐4407
STORER, RAY E             2793 E RIVER RD                                                                                 NEWTON FALLS     OH   44444‐9790
STORER, RICHARD E         2177 RENSHAW AVE                                                                                DAYTON           OH   45439‐3031
STORER, ROY H             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA   23510‐2212
                                                            STREET, SUITE 600
STORER, SHIRLEY J         568 1/2 GARDEN GROVE CT                                                                         GRAND JUNCTION   CO 81501‐6905
STORER, STANTON R         4510 W BEACHWAY DR                                                                              TAMPA            FL 33609‐4234
STORER, WILLIAM J         134 W JOSIE AVE                                                                                 HILLSBORO        OH 45133‐1242
STOREY AUTOMOTIVE         255 RICHMOND ST.                                                           CHATHAM ON N7M 1P5
                                                                                                     CANADA
STOREY JOHN R             521 NEVADA ST                                                                                   SAUSALITO        CA 94965‐1613
STOREY RUSSELL            STOREY, RUSSELL
                          09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                      Address1                        Address2                      Address3   Address4             City              State Zip
STOREY WILLIAM            3701 INNWOOD ST                                                                               HIGH POINT         NC 27265‐2217
STOREY, ANGELIA           852 E 40TH ST FL 1                                                                            CHICAGO             IL 60653
STOREY, ANTONIO           8200 PINES RD APT 3303                                                                        SHREVEPORT         LA 71129‐4429
STOREY, BARBARA J         971 RIDGEVILLE RD                                                                             THE VILLAGES       FL 32162‐4061
STOREY, BETTY L           6443 BROOKVIEW DR                                                                             GRAND BLANC        MI 48439‐9740
STOREY, BRIAN W           1435 FOLKSTONE CT                                                                             ANN ARBOR          MI 48105‐2847
STOREY, CAMILLE K         17580 HAVERHILL CIRCLE                                                                        LAKEVILLE          MN 55044‐4217
STOREY, DANIEL J          3555 S 12TH ST                                                                                MILWAUKEE          WI 53221‐1718
STOREY, DANIEL L          13832 PARALLEL AVE                                                                            ALPENA             MI 49707‐8527
STOREY, DARL H            1497 W GRAND RIVER AVE                                                                        IONIA              MI 48846‐9445
STOREY, DORIS J           5518 GREAT LAKES DR             APT B                                                         HOLT               MI 48842‐8685
STOREY, DORIS J           5518 GREAT LAKES DR APT B                                                                     HOLT               MI 48842‐8685
STOREY, DOUGLAS           2615 CREEKSTONE CIR                                                                           MARYVILLE          TN 37804‐3897
STOREY, EDWARD A          1174 VIA FRESNO                                                                               CATHEDRAL CITY     CA 92234‐4325
STOREY, EILEEN J          9540 FERNWOOD DR                                                                              OLMSTED FALLS      OH 44138‐2605
STOREY, GENE A            68 OAK KNOLL DR                                                                               LAPEER             MI 48446‐2802
STOREY, GERALD S          1440 WOODBRIDGE LN                                                                            WIXOM              MI 48393‐1673
STOREY, GERALDINE M       862 BOATSWAIN WAY                                                                             ANNAPOLIS          MD 21401‐6854
STOREY, GLENN L           805 WEST ST                                                                                   THREE RIVERS       MI 49093‐2364
STOREY, HARRY W           6 FOX VALLEY DR                                                                               ORANGE PARK        FL 32073‐5114
STOREY, HOWARD L          163 33RD ST SW                                                                                WYOMING            MI 49548‐2119
STOREY, IRENE C           57 KENT AVE                                                              SAULT STE MARIE ON
                                                                                                   CANADA P6B‐4G8
STOREY, JAMES L           4280 W. FORD CITY DR.#507                                                                     CHICAGO           IL   60652
STOREY, JOHN D            475 W WINDS DR                                                                                ALMONT            MI   48003‐8932
STOREY, KATHLEEN L        8081 COWAN LAKE DR NE                                                                         ROCKFORD          MI   49341
STOREY, LEONA J           2 TIMBER RIDGE DR                                                                             WESTMINSTER       MD   21157‐5618
STOREY, LEONA J           #2 TIMBER RIDGE DR                                                                            WESTMINSTER       MD   21157‐5618
STOREY, MARGARET          2275 PRINCE HALL DR APT 2C                                                                    DETROIT           MI   48207‐5102
STOREY, MAXINE            1121 RIVER VALLEY DR                                                                          FLINT             MI   48532
STOREY, RAYMOND J         8081 COWAN LAKE DR NE                                                                         ROCKFORD          MI   49341‐8018
STOREY, RICHARD T         17 ROCKDALE DR                                                                                AMHERST           NY   14228‐3438
STOREY, ROBERT E          209 N MAPLE ST                  PO BOX 908                                                    FOWLERVILLE       MI   48836‐9503
STOREY, RODWIN Q          3149 ARIZONA AVE                                                                              FLINT             MI   48506‐2527
STOREY, RONALD            PO BOX 247                                                                                    WASHINGTON        IN   47501‐0247
STOREY, RONALD C          2225 HALIFAX SETTLE RD                                                                        SCOTTSVILLE       KY   42164‐9023
STOREY, RONALD CLEVE      2225 HALIFAX SETTLE RD                                                                        SCOTTSVILLE       KY   42164‐9023
STOREY, RUSSELL
STOREY, SUSAN A           2336 RAMBLEWOOD DR                                                                            KALAMAZOO         MI   49009‐8914
STOREY, THOMAS R          9384 SWEDE RD                                                                                 BROCTON           NY   14716‐9612
STOREY, TIMOTHY J         306 N 6TH ST                                                                                  KENTLAND          IN   47951‐1119
STOREY, WILLIAM A         891 FOSTER ST                                                                                 FRANKLIN          OH   45005‐2039
STOREY, WILLIAM J         37 OSWEGO RD                                                                                  PLEASANT VALLEY   NY   12569‐5074
STOREY, YVONNE BRADFORD   3001 S MICHIGAN AVE APT 702                                                                   CHICAGO           IL   60616‐3148
STOREY, YVONNE BRADFORD   3001 S. MICHIGAN AVE #702                                                                     CHICAGO           IL   60616‐3148
STORIE FLOYD A (626792)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA   23510
                                                          STREET, SUITE 600
STORIE, DON C             2001 S EATON AVE                                                                              MUNCIE            IN   47302‐4845
STORIE, EUGENE C          8277 FREDERICK PIKE                                                                           DAYTON            OH   45414‐1250
STORIE, EULA M            832 S LAFAYETTE ST                                                                            GREENVILLE        MI   48838‐2320
STORIE, FLOYD A           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA   23510‐2212
                                                          STREET, SUITE 600
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Name                                Address1                              Address2                      Address3   Address4             City           State Zip
STORIE, FOIEST W                    1705 RYAN RD                                                                                        SPRINGBORO      OH 45066‐7737
STORIE, GLEASON E                   1229 SMITH RD                                                                                       XENIA           OH 45385‐8750
STORIE, GLEASON E                   1229 SMITH ROAD                                                                                     XENIA           OH 45385‐8750
STORIE, KENNETH G                   5303 BARRETT DR.                                                                                    DAYTON          OH 45431‐1428
STORIE, MARY E                      331690 E MEADOWOOD DR                                                                               WELLSTON        OK 74881‐9036
STORIE, RONALD J                    700 E COUNTY ROAD 500 S                                                                             MUNCIE          IN 47302‐8501
STORIE, WARD J                      PO BOX 784                                                                                          JAMESTOWN       TN 38556‐0784
STORIE, WILLIAM C                   PO BOX 584                                                                                          BYRDSTOWN       TN 38549‐0584
STORINGE, KEVIN R                   9703 CHALET DR                                                                                      SHREVEPORT      LA 71118‐4203
STORINGE, KEVIN ROBERT              9703 CHALET DR                                                                                      SHREVEPORT      LA 71118‐4203
STORK ASSET PERFORMANCE SOLUTIONS   HTC 69 PO BOX 80036 UPDTE 10/15600 JW                                          JW EINDHOVEN
BV                                  EINDHOVEN                                                                      NETHERLANDS
STORK CLIMAX RESEARCH SERVICESINC   15402 COLLECTION CENTER DR                                                                          CHICAGO         IL   60693‐0154

STORK CLIMAX RESEARCH SVCS INC      51229 CENTURY CT                                                                                    WIXOM          MI    48393‐2074
STORK ERIC 0                        STORK ERIC & ASSOCIATES               1104 N POWHATAN ST                                            ARLINGTON      VA    22205‐1732
STORK II, RICHARD L                 5288 WILLOW GROVE DR                                                                                GRAND BLANC    MI    48439‐8682
STORK II, RICHARD LEE               5288 WILLOW GROVE DR                                                                                GRAND BLANC    MI    48439‐8682
STORK JOHN R (626793)               GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                   NORFOLK        VA    23510
                                                                          STREET, SUITE 600
STORK JR, DONALD C                  885 SUNRISE PARK ST                                                                                 HOWELL         MI    48843‐7500
STORK ROBERT                        9464 HIGHLAND GREEN DR                                                                              SAGINAW        MI    48609‐8901
STORK TECHNIMET INC                 3200 SOUTH 166TH STREET                                                                             NEW BERLIN     WI    53151‐4141
STORK, ALAN M                       95 NEVINS RD                                                                                        HENRIETTA      NY    14467‐9351
STORK, ANNA                         1109 COUNTY ROAD 14                                                                                 BRYAN          OH    43506‐9748
STORK, ANNA                         01109 COUNTY RD 14                                                                                  BRYAN          OH    43506‐9748
STORK, ANNE P                       642 CAMBRIDGE RD                                                                                    AUGUSTA        GA    30909‐3341
STORK, CHRISTOPHER P                18262 STATE ROUTE 111                                                                               PAULDING       OH    45879‐9048
STORK, CHRISTOPHER PAUL             18262 STATE ROUTE 111                                                                               PAULDING       OH    45879‐9048
STORK, DAVID J                      14565 RED FOX RUN APT 614                                                                           NAPLES         FL    34110
STORK, DOROTHY A                    641 ALICE ST                                                                                        SAGINAW        MI    48602‐2709
STORK, GARY L                       22184 BOWMAN RD                                                                                     DEFIANCE       OH    43512‐6615
STORK, JAMES T                      1839 SCHUST RD                                                                                      SAGINAW        MI    48604‐1613
STORK, JANET K                      645 N ADELAIDE ST                                                                                   FENTON         MI    48430‐1828
STORK, JANET KENNEDY                645 N ADELAIDE ST                                                                                   FENTON         MI    48430‐1828
STORK, JEFFREY A                    2870 SUNFLOWER CIR W                                                                                PALM SPRINGS   CA    92262‐1764
STORK, JOHN R                       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                   NORFOLK        VA    23510‐2212
                                                                          STREET, SUITE 600
STORK, JON A                        9606 MARICOPA TRL                                                                                   KALAMAZOO      MI    49009‐4957
STORK, MICHAEL G                    18570 COUNTY ROAD 218                                                                               DEFIANCE       OH    43512‐9312
STORK, MICHAEL GEORGE               18570 COUNTY ROAD 218                                                                               DEFIANCE       OH    43512‐9312
STORK, PAMELA                       111 CAROL DR                                                                                        COLUMBIA       TN    38401‐2010
STORK, PAUL G                       14494 STATE ROUTE 637                                                                               PAULDING       OH    45879‐9022
STORK, RICHARD A                    9457 S BYRON RD                                                                                     DURAND         MI    48429‐9416
STORK, RICHARD L                    2133 HERMITAGE DR                                                                                   DAVISON        MI    48423‐2070
STORK, ROBERT A                     9464 HIGHLAND GREEN DR                                                                              SAGINAW        MI    48609‐8901
STORK, TIMOTHY J                    34214 SHERIDAN ST                                                                                   WESTLAND       MI    48185‐8510
STORK‐HERRON TESTING LABS INC       5405 E SCHAAF RD                                                                                    CLEVELAND      OH    44131‐1337
STORKAMP, HOMER D                   2395 CALEDONIAN ST                                                                                  CLERMONT       FL    34711‐6474
STORLAZZI, MAUREEN A                88 LAMSON ST                                                                                        WEST HAVEN     CT    06516‐2823
STORM COPPER COMPONENTS CO          240 INDUSTRIAL DRIVE                                                                                DECATUR        TN    37322
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Name                              Address1                        Address2                      Address3   Address4         City           State Zip
STORM HARRY P (349827)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                                  STREET, SUITE 600
STORM JR, EDGAR M                 791 STONY POINT RD                                                                        SPENCERPORT    NY   14559‐9721
STORM JR, WALTER W                5743 HUMMINGBIRD LN                                                                       CLARKSTON      MI   48346‐2929
STORM KENNETH                     3216 SUNRISE DR                                                                           JEFFERSON      MD   21755‐7627
STORM LINDA                       STORM, LINDA                    3115 PECAN POINT DR                                       SUGAR LAND     TX   77478‐4222
STORM, ALFRED L                   220 RIVERSIDE DR                                                                          CHEBOYGAN      MI   49721‐2281
STORM, ANDREW                     8753 BRIDLEWOOD TRL                                                                       HOWELL         MI   48843‐6309
STORM, BONNIE A                   791 STONY POINT RD                                                                        SPENCERPORT    NY   14559‐9721
STORM, BRADLEY O                  5688 WEST 8TH                                                                             ANDERSON       IN   46011
STORM, BRIAN J                    2433 NEBRASKA AVE                                                                         FLINT          MI   48506‐3850
STORM, BRIAN J                    220 RIVERSIDE DRIVE                                                                       CHEBOYGAN      MI   49721‐2281
STORM, CAROL S                    PO BOX 182854                                                                             ARLINGTON      TX   76096‐2854
STORM, CHARLES L                  11399 COLDWATER RD                                                                        FLUSHING       MI   48433‐9748
STORM, CONNIE RAY                 3753 LAUREL LAKE RD N                                                                     LONDON         KY   40744‐7085
STORM, DAVID                      1009 HULL ST                                                                              BOYNE CITY     MI   49712‐9773
STORM, DIANE M                    5743 HUMMINGBIRD LN                                                                       CLARKSTON      MI   48346‐2929
STORM, DONALD W                   55 INDEPENDENCE DR                                                                        ORCHARD PARK   NY   14127‐3424
STORM, EDGAR M                    791 STONY POINT RD                                                                        SPENCERPORT    NY   14559‐9721
STORM, GRADY M                    4025 COUNTY ROAD 312                                                                      CLEBURNE       TX   76031‐9005
STORM, HARRY P                    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA   23510‐2212
                                                                  STREET, SUITE 600
STORM, JAMES M                    301 N 81ST TER                                                                            KANSAS CITY    KS   66112‐2647
STORM, JOAN V                     13568 WILKENS ROAD                                                                        HOLLAND        NY   14080‐9533
STORM, JOHNNY A                   4836 N FM 157                                                                             VENUS          TX   76084‐3479
STORM, JOHNNY L                   4844 N FM 157                                                                             VENUS          TX   76084‐3479
STORM, LANCE G                    1258 MAGNOLIA AVE                                                                         FRANKFORT      IN   46041‐1024
STORM, LILLIAN L                  1820 R.W. BERENDS DR S.W.                                                                 WYOMING        MI   49519
STORM, LINDA                      3115 PECAN POINT DR                                                                       SUGAR LAND     TX   77478‐4222
STORM, MARTIN E                   35 SAGEBRUSH LN                                                                           LANGHORNE      PA   19047‐3405
STORM, PHILLIP R                  8900 W 950 N                                                                              MIDDLETOWN     IN   47356
STORM, RAYMOND A                  604 HANDY DR                                                                              BAY CITY       MI   48706‐3511
STORM, ROBERT E                   1346 CONCORDIA DR                                                                         AVON           IN   46123‐8015
STORM, ROBERTA E                  1701 GULF CITY RD APT 9                                                                   RUSKIN         FL   33570
STORM, STEVIE A                   13226 N STATE ROAD 9                                                                      ALEXANDRIA     IN   46001‐8933
STORM, TERRY W                    3724 RAVENWOOD DR SE                                                                      WARREN         OH   44484‐3753
STORME LEROY VAN PARYS DOOLAEGE   B9000 GENT COUPURE 5
STORMER, BENNY R                  855 ROCKDALE AVE                                                                          CINCINNATI     OH   45229‐2731
STORMER, FLORENCE M               120 ALBERTS WAY                                                                           LANGHORNE      PA   19047‐1120
STORMER, HARRY M                  3568 BAYBROOK DR                                                                          WATERFORD      MI   48329‐3900
STORMER, JANE L                   620 KOCH AVE                                                                              VANDALIA       OH   45377‐1318
STORMER, RAYMOND D                1925 SOUTHERN BLVD NW APT 24                                                              WARREN         OH   44485‐1631
STORMER, ROBERT E                 5332 MEDICINE BOW ST                                                                      MILTON         FL   32570‐8010
STORMER, SHANNON J                7941 ANDERSONVILLE RD                                                                     CLARKSTON      MI   48346‐2515
STORMI LOPEZ MARTINEZ             4308 CRESTVIEW LN                                                                         MANSFIELD      TX   76063‐8624
STORMS JR, EDWARD                 1161 N TRIMBLE RD                                                                         MANSFIELD      OH   44906‐1666
STORMS RODNEY LAMONT              STORMS, JASPER                  5473 BLAIR RD STE 200                                     DALLAS         TX   75231‐4168
STORMS RODNEY LAMONT              STORMS, RODNEY LAMONT           5473 BLAIR RD STE 200                                     DALLAS         TX   75231‐4168
STORMS, BRIAN S                   2020 GERARD ST                                                                            FLINT          MI   48507‐3532
STORMS, BRIAN SCOTT               2020 GERARD ST                                                                            FLINT          MI   48507‐3532
STORMS, CAROLE S                  4859 FAIRVIEW AVE                                                                         NEWTON FALLS   OH   44444‐9419
STORMS, DANIELLE D                2020 GERARD ST                                                                            FLINT          MI   48507‐3532
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Name                         Address1                      Address2            Address3         Address4             City            State Zip
STORMS, HUGH S               126 ROBERTS MEADOW LOOP CIR                                                             SPARTANBURG      SC 29307
STORMS, JEWELL M             3009 ILLINOIS ST APT B                                                                  BEDFORD          IN 47421‐5463
STORMS, JEWELL M             3009B ILLINOIS ST.                                                                      BEDFORD          IN 47421
STORMS, LESLIE K             115 W SIEBENTHALER AVE                                                                  DAYTON           OH 45405‐2237
STORMS, LUKE A               670 BEACH ST                                                                            MOUNT MORRIS     MI 48458‐1908
STORMS, MARION M             1 IROQUOIS RD                                                                           OSSINING         NY 10562‐3806
STORMS, MICHAEL R            PO BOX 7151                                                                             FLINT            MI 48507
STORMS, RODNEY               1212 CLOUD ST                                                                           LAMPASAS         TX 76550‐3336
STORMS, SHARON ANN           4081 W BARDEN RD                                                                        COLEMAN          MI 48618‐8905
STORMS, STEVEN T             17783 REDWOOD RD                                                                        LAKE MILTON      OH 44429‐9732
STORMS, TIMOTHY H            126 ROBERTS MEADOW LOOP                                                                 SPARTANBURG      SC 29307
STORMS, TIMOTHY HUGH         126 ROBERTS MEADOW LOOP                                                                 SPARTANBURG      SC 29307‐3166
STORMS, TIMOTHY W            58 S HIGHLAND AVE                                                                       OSSINING         NY 10562‐5224
STORMS, TIMOTHY W            PO BOX 101                                                                              MARYKNOLL        NY 10545
STORMS, WALTER J             13600 FARM RD                                                                           BELLEVILLE       MI 48111‐2513
STORMS, WILLIAM E            2309 W VILLAGE DR                                                                       MUNCIE           IN 47304‐1765
STORMS, WILLIAM L            4103 OAK ARBOR DR                                                                       DALLAS           TX 75233‐3607
STORMZAND JR, LEONARD        52 BAYNTON AVE NE                                                                       GRAND RAPIDS     MI 49503‐3746
STORMZAND, DON G             3906 BINGHAMPTON DR                                                                     OKEMOS           MI 48864‐3720
STORMZAND, DOUGLAS C         5125 WOODVIEW CT                                                                        DEARBORN         MI 48126‐2617
STORMZAND, ERIC D            3859 WILDWATER BCH                                                                      MANITOU BEACH    MI 49253‐9827
STORMZAND, STEPHEN C         217 DELAHOW ST                                                                          DANIEL ISLAND    SC 29492
STORNANT, ROBERT D           5919 VIENNA WAY                                                                         LANSING          MI 48917‐5001
STORNANT, SAMUEL J           513 NORTH MAIN STREET                                                                   BELLEVUE         MI 49021‐1132
STORNANT, SAMUEL J           513 N MAIN ST                                                                           BELLEVUE         MI 49021‐1132
STORNELLI, ROSE              14 YELLOWSTONE DR                                                                       W HENRIETTA      NY 14586‐9704
STORNELLO JR, JOSEPH C       2120 MEADOW DR                                                                          LINDENHURST       IL 60046‐9246
STORNELLO JR, LOUIS          1046 HANNA ST                                                                           GRAND BLANC      MI 48439‐9357
STORNELLO, DOMINIC D         2210 JOLSON AVE                                                                         BURTON           MI 48529‐2133
STORNELLO, JOE               2549 RUSHBROOK DRIVE                                                                    FLUSHING         MI 48433‐2563
STORNELLO, LOUIS D           6040 WENDY DR                                                                           FLINT            MI 48506‐1069
STORNES JR, SYLVESTER        1534 DAWN ST                                                                            YPSILANTI        MI 48198‐3261
STORNETTA MIKE               STORNETTA, MIKE               3807 CLEAR RIDGE                                          SANTA ROSA       CA 95404‐1565
STORNETTA, MIKE              3807 CLEAR RDG                                                                          SANTA ROSA       CA 95404‐1565
STOROSHCHUK, OREST L         1191 GAGE RD                                                                            HOLLY            MI 48442‐8334
STORRIN, THOMAS J            2838 CO. RT. 55                                                                         BRASHER FALLS    NY 13613
STORRS, DOUGLAS L            16536 HI LAND TRL                                                                       LINDEN           MI 48451‐9089
STORRS, ELDONNA J            4437 JENA LN 29,                                                                        FLINT            MI 48507
STORRS, KENNETH A            111 ALMA ST                                                                             PORT CLINTON     OH 43452‐2321
STORRS, LANCE C              8378 WESTMINISTER DR S                                                                  MOUNT MORRIS     MI 48458
STORRS, LORNA D              22075 MIHELICH CT                                                                       EASTPOINTE       MI 48021‐2201
STORRS, LUINDA L             10001 GOODALL RD BOX A‐7                                                                DURAND           MI 48429‐9747
STORRS, ROBERT C             4437 JENA LN 29                                                                         FLINT            MI 48507
STORRS, ROBERT L             PO BOX 85                                                                               MARBLEHEAD       OH 43440‐0085
STORRS, RONNIE J             958 FM 66                                                                               ITASCA           TX 76055‐5709
STORRS, THEODORE J           10001 E GOODALL RD UNIT A7                                                              DURAND           MI 48429‐9747
STORRS, TODD A               23054 WILSON AVE                                                                        DEARBORN         MI 48128‐1853
STORSBERG KLAUS STORSBERG    MOHLENSTRASSE 5                                                                         LEVERKUSEN
STORSBERG KLAUS UND INGRID   MOHLENSTRASSE 5                                                    D‐51371 LEVERKUSEN
                                                                                                GERMANY
STORTI, CARL R               1519 HERRICK ST                                                                         NEW CASTLE      PA 16101‐8509
STORTI, SOPHIE               1060 N INKSTER RD                                                                       DEARBORN HGTS   MI 48127‐3642
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Name                           Address1                         Address2                      Address3   Address4         City             State Zip
STORTI, WILLIAM P              64 BARTHOLF RD                                                                             ROCHESTER         NY 14616‐4508
STORTO MICHELE                 10271 E ACACIA DR                                                                          SCOTTSDALE        AZ 85255‐8552
STORTO, DOMINIC W              309 FLOYD ST SW                                                                            GRAND RAPIDS      MI 49548‐3005
STORTS, BRYAN R                237 SCHORN DR                                                                              LAKE ORION        MI 48362‐3679
STORTS, BRYAN RODNEY           237 SCHORN DR                                                                              LAKE ORION        MI 48362‐3679
STORTS, DONNA L                72497 BROOKS MARTIN RD                                                                     MC ARTHUR         OH 45651‐8390
STORTS, DONNA L                72497 BROOKMARTIN RD                                                                       MCARTHUR          OH 45651‐8390
STORTS, EDGAR                  2511 PONTIAC RD                                                                            AUBURN HILLS      MI 48326‐2466
STORTS, GLADYS L               18299 MONMOUTH AVE                                                                         PORT CHARLOTTE    FL 33948‐3321
STORTS, NICK J                 57810 US HIGHWAY 50                                                                        MC ARTHUR         OH 45651‐8858
STORTZ DAVID                   21 BRETWOOD DR N                                                                           COLTS NECK        NJ 07722
STORTZ, RITA J                 13863 OAK GROVE CT #F                                                                      FISHERS           IN 46038‐8365
STORTZ, RITA J                 46161 VILLAGE GREEN LN           APT B111                                                  BELLEVILLE        MI 48111
STORWICK TERRENCE A (494243)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                STREET, SUITE 600
STORWICK, ROBERT M             PO BOX 1621                                                                                STANWOOD         WA 98292‐1621
STORWICK, TERRENCE A           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                                STREET, SUITE 600
STORY BROTHERS INC             84 BURRITT ST                                                                              NEW BRITAIN      CT   06053‐4004
STORY BUICK‐PONTIAC LCC        6525 W SAGINAW HWY                                                                         LANSING          MI   48917‐1109
STORY JR, JAMES L              2602 RUSH VALLEY CT                                                                        ARLINGTON        TX   76016‐1345
STORY JR, NORRIS D             30226 ANNAPOLIS CT                                                                         INKSTER          MI   48141‐2855
STORY SCOTT                    1025 S LAREDO WAY                                                                          AURORA           CO   80017‐3001
STORY STEVEN D                 57586 HIDDEN TIMBERS DR                                                                    SOUTH LYON       MI   48178‐8701
STORY, AARON B                 2724 N ARABIAN VIEW DR                                                                     JANESVILLE       WI   53545‐0753
STORY, AILEEN M                3147 2ND CT                                                                                OXFORD           WI   53952‐9395
STORY, AILEEN M                3147 SECOND CT                                                                             OXFORD           WI   53952‐9395
STORY, ALICE M                 100 SYCAMORE PL                                                                            ATHENS           AL   35611‐2300
STORY, ALVIN O                 2315 LAKE IN THE WOODS BLVD AP                                                             YPSILANTI        MI   48198
STORY, ALVIN T                 6865 N WILDWOOD ST                                                                         WESTLAND         MI   48185‐2777
STORY, BETTY J.                3046 E. BAY DRIVE                                                                          FENTON           MI   48430‐1388
STORY, BETTY J.                3046 E BAY DR                                                                              FENTON           MI   48430‐1388
STORY, BRANDON D               1931 MIMOSA CT                                                                             SAVANNAH         TX   76227‐7684
STORY, BRIAN K                 35049 AVONDALE ST                                                                          WESTLAND         MI   48186‐4344
STORY, BRIAN KEITH             35049 AVONDALE ST                                                                          WESTLAND         MI   48186‐4344
STORY, CALVIN P                9452 BRENDONWOOD DR                                                                        GOODRICH         MI   48438‐9431
STORY, DAVID J                 144 WEST WASHINGTON ST                                                                     JAMESTOWN        OH   45335‐5335
STORY, DAVID J                 144 W WASHINGTON ST                                                                        JAMESTOWN        OH   45335‐1584
STORY, DORTHA                  504 N BUCKEYE ST                                                                           FAIRMOUNT        IN   46928‐1418
STORY, EDITH M                 17641 MARSH HARBOR LN                                                                      DUMFRIES         VA   22026‐4531
STORY, ELTON L                 PO BOX 894                                                                                 FLINT            MI   48501‐0894
STORY, ELTON LEANDER           PO BOX 894                                                                                 FLINT            MI   48501‐0894
STORY, EVOLYENE F              15615 ARLINGTON RD                                                                         ATHENS           AL   35611‐3997
STORY, GAIL                    34 VILLAGE RD                                                                              SEA GIRT         NJ   08750‐1806
STORY, HARRY I                 6830 NW PRAIRIE VIEW RD                                                                    KANSAS CITY      MO   64151‐1628
STORY, HARVEY C                823 N ALBERTSON AVE                                                                        COMPTON          CA   90220‐1438
STORY, JAMES L                 PO BOX 143                                                                                 SELMAN CITY      TX   75689‐0143
STORY, JAMES W                 9970 BALFOUR RD                                                                            DETROIT          MI   48224‐2591
STORY, JANETTE                 126 S DUTCHER ST                                                                           CORUNNA          MI   48817‐1512
STORY, JANNIE E                1655 WELLESLEY ST                                                                          INKSTER          MI   48141‐1576
STORY, JARED A                 1007 THOMAS ST                                                                             JANESVILLE       WI   53545‐1618
STORY, JEANITTA K.             5882 HEYER ST                                                                              ROMULUS          MI   48174‐4002
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Name                  Address1                         Address2             Address3        Address4         City               State Zip
STORY, JEFFREY W      729 CRANSTON RD                                                                        BELOIT              WI 53511‐2418
STORY, JERRY L        28 HORSESHOW RD NW                                                                     ADAIRSVILLE         GA 30103‐5324
STORY, JESS W         979 GREMEL RD                                                                          SEBEWAING           MI 48759‐9706
STORY, JOHN           PO BOX 300                                                                             CICERO              IN 46034‐0300
STORY, JUDY K         10177 N VASSAR RD                                                                      MOUNT MORRIS        MI 48458‐9776
STORY, KAREN R        APT 915                          5610 BUNCOMBE ROAD                                    SHREVEPORT          LA 71129‐3617
STORY, KAREN RAE      APT 915                          5610 BUNCOMBE ROAD                                    SHREVEPORT          LA 71129‐3617
STORY, KATHARINA      11226 OLDS RD                                                                          OTISVILLE           MI 48463‐9788
STORY, KELLY R        APT 140                          2516 RUGER DRIVE                                      ARLINGTON           TX 76006‐3268
STORY, KEVIN E        135 CUIVRE PARC                                                                        TROY                MO 63379‐5403
STORY, KEVIN T        3367 LELAND RD                                                                         LAINGSBURG          MI 48848‐9624
STORY, KEVIN THOMAS   3367 LELAND RD                                                                         LAINGSBURG          MI 48848‐9624
STORY, LARRY E        4935 WALLAKER RD                                                                       BENZONIA            MI 49616‐9732
STORY, LARRY G        15615 ARLINGTON RD                                                                     ATHENS              AL 35611‐3997
STORY, LAVERNNE O     PO BOX 438                                                                             HANOVER             MD 21075‐0438
STORY, LAVERNNE O     PO BOX 360853                                                                          COLUMBUS            OH 43236‐0853
STORY, LINDSEY R      14 W MARKET ST                                                                         SPRINGBORO          OH 45066‐1214
STORY, LORA J         1007 THOMAS STREET                                                                     JANESVILLE          WI 53545‐1618
STORY, LOU ELLEN      620 WOODLAWN AVE                                                                       ENGLEWOOD           OH 45322‐1832
STORY, MICHAEL W      2613 N RIVER BLUFF DR                                                                  JANESVILLE          WI 53545‐0796
STORY, NANCY F        1025 S LAREDO WAY                                                                      AURORA              CO 80017‐3001
STORY, PATRICIA       7251 TIMKEN AVE                                                                        WARREN              MI 48091‐2030
STORY, PAULA K        1007 THOMAS ST                                                                         JANESVILLE          WI 53545‐1618
STORY, RICARDA G      1053 WALLGREEN ST                                                                      PLACENTIA           CA 92870‐7041
STORY, ROBERT         504 N BUCKEYE ST                                                                       FAIRMOUNT           IN 46928‐1418
STORY, ROBERT G       7408 HALLRIDGE RD NE                                                                   BELDING             MI 48809‐9322
STORY, SAMUEL L       3429 CHALICE RD                                                                        ORION               MI 48359‐1120
STORY, STEVEN D       57586 HIDDEN TIMBERS DR                                                                SOUTH LYON          MI 48178‐8701
STORY, SUSIE          1013 ALLEN AVE                                                                         HAMILTON            OH 45015‐2013
STORY, TEZZIE L       6723 CECIL DRIVE                                                                       FLINT               MI 48505‐5729
STORY, TEZZIE L       6723 CECIL DR                                                                          FLINT               MI 48505‐5729
STORY, THOMAS A       18002 OAK ORCHARD LN                                                                   CYPRESS             TX 77433‐1485
STORY, THOMAS J       10875 ABERCORN ST APT 824                                                              SAVANNAH            GA 31419‐1836
STORY, THOMAS M       10051 CORUNNA RD                                                                       SWARTZ CREEK        MI 48473‐9705
STORY, WAYNE D        25487 W 391ST ST                                                                       FONTANA             KS 66026‐7758
STORY, WAYNE D        26487 W 391ST ST                                                                       FONTANA             KS 66026
STORY, WILMA J        7254 PONDEROSA DRIVE                                                                   SWARTZ CREEK        MI 48473‐9426
STORY, WILSON         208 SOUTH AVE                                                                          EDGERTON            WI 53534‐2131
STORY, WINSHIP W      6258 WINDWARD LN                                                                       FLOWERY BRANCH      GA 30542‐2572
STORZBACH, RONALD     120 WATERSEDGE DR                                                                      KILL DEVIL HILLS    NC 27948‐8044
STOS PETE             STOS, PETE                       30928 FORD RD                                         GARDEN CITY         MI 48135‐1803
STOS, JOHN            2700 HICKORY LN                                                                        OXFORD              MI 48371‐4004
STOSBERG, ALFRIEDA    25301 5 MILE #224 POA F TINNEY                                                         REDFORD             MI 48239
STOSCUP, JAMES G      APT 266                          31048 DORCHESTER                                      NEW HUDSON          MI 48165‐9443
STOSHAK, JOSEPH J     4240 LEAVITT DR. N.W.                                                                  WARREN              OH 44485‐1105
STOSIK, MICHAEL R     9998 HOLT HWY                                                                          DIMONDALE           MI 48821‐9730
STOSKY, HELEN H       2100 HOWLAND WILSON RD                                                                 CORTLAND            OH 44410‐4410
STOSSEL, JOHN A       MAIN ST                          BOX 313                                               TWIN ROCKS          PA 15960‐0313
STOSSEL, JOHN A       PO BOX 313                       MAIN STREET                                           TWIN ROCKS          PA 15960‐0313
STOTE, DONALD W       417 SOUTH AVE                                                                          ROCHESTER           NY 14620‐1009
STOTEN, GLENN R       4296 W OLD NATIONAL RD                                                                 KNIGHTSTOWN         IN 46148‐9651
STOTHARD, DALE T      51 E WAUTOMA BEACH RD                                                                  HILTON              NY 14468‐9153
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Name                             Address1                            Address2                        Address3   Address4         City             State Zip
STOTHARD, DIANE                  3039 WILSON ST                                                                                  UNIONVILLE        MI 48767‐9777
STOTHART, OSBORNE                1196 RUXBURY CT                                                                                 DOUGLASVILLE      GA 30134‐6429
STOTHART, OSBORNE                1196 RUXBURY COURT                                                                              DOUGLASVILLE      GA 30134‐6429
STOTHERS, PAMELA K               2102 EASTERN AVE N.E.                                                                           GRAND RAPIDS      MI 49505
STOTHERS, RUSSELL G              2980 SEEBALDT AVE                                                                               WATERFORD         MI 48329‐4145
STOTKA, RAYMOND C                23422 ISLE DR                                                                                   NISSWA            MN 56468‐2241
STOTLAR, AMY CAROL LUKE          COOK YSURA BARTHOLOMEW BRAUER &     12 W LINCOLN ST                                             BELLEVILLE         IL 62220‐2018
                                 SHELVIN LTD
STOTLER, JAMES L                 214 CONCORD AVE                                                                                 BERKELEY SPGS    WV   25411‐1204
STOTLER, JOHN E                  1833 COLUMBUS ST                                                                                NEW CASTLE       IN   47362‐2343
STOTLER, LARRY W                 10800 N STATE ROAD 3                                                                            MUNCIE           IN   47303‐9537
STOTLER, LINDA T                 4242 E 700 N                                                                                    MONTEREY         IN   46960‐9769
STOTLER, RONALD                  44681 YORKSHIRE DR                                                                              NOVI             MI   48375‐2246
STOTMY STEEN JR                  1724 W 23RD ST                                                                                  ANDERSON         IN   46016‐3833
STOTT & DAVIS MOTOR EXPRESS IN   18 GARFIELD ST                                                                                  AUBURN           NY   13021‐2202
STOTT EUNICE                     3110 WATERMAN DR SE                                                                             BIG COVE         AL   35763‐8485
STOTT, BARBARA W                 85 MACOMB PLACE                                                                                 MT. CLEMENS      MI   48043
STOTT, BEULAH L                  9336 TORREY RD                                                                                  GRAND BLANC      MI   48439‐9324
STOTT, CRAIG A                   12853 NEWBERRY DR                                                                               GRAND LEDGE      MI   48837
STOTT, DOROTHY M                 318 FORT HILL AVE                                                                               CANANDAIGUA      NY   14424
STOTT, DOUGLAS L                 8801 OLYMPIC LN                                                                                 WILMINGTON       NC   28411‐7697
STOTT, DOUGLAS L                 8801 OLYMPIC LANE                                                                               WILMINGTON       NC   28411‐7697
STOTT, DOUGLAS M                 5556 CLARK RD                                                                                   BATH             MI   48808‐9761
STOTT, GAIL                      62 PINDO PALM W                                                                                 LARGO            FL   33770
STOTT, GLORIA A                  4714 67TH ST N                                                                                  ST PETERSBURG    FL   33709‐2928
STOTT, JAMES E                   14043 PLACID DR                                                                                 HOLLY            MI   48442‐8308
STOTT, JANET A                   501 S PINE ST                                                                                   DESHLER          OH   43516‐1314
STOTT, JANET A                   501 S PINE STREET                                                                               DESHLER          OH   43516‐1314
STOTT, JEFFREY R                 3533 CLARK CIR                                                                                  COMMERCE TWP     MI   48382‐1853
STOTT, JEFFREY R                 526 CANAL ST                                                                                    MILFORD          MI   48381‐2023
STOTT, JOHN A                    4467 TRAIL ST                                                                                   NORCO            CA   92860‐2487
STOTT, MARTHA                    29618 MARK LN                                                                                   LIVONIA          MI   48152‐4506
STOTT, PAUL A                    5328 DIAMOND DR                                                                                 SEBRING          FL   33875‐5604
STOTT, RALPH                     PO BOX 367                                                                                      MORRISTON        FL   32668‐0367
STOTT, THEODORE A                25510 EDITH ST                                                                                  DEFIANCE         OH   43512‐9093
STOTT, THEODORE ALLEN            501 SOUTH PINE STREET                                                                           DESHLER          OH   43516‐1314
STOTT, WALTER R                  3809 HERRICK ST                                                                                 FLINT            MI   48532‐5231
STOTT, WILLIAM R                 8891 CUTLER RD                                                                                  MUNITH           MI   49259‐9016
STOTT, WILLIAM R.                8891 CUTLER RD                                                                                  MUNITH           MI   49259‐9016
STOTT, WILLIE L                  2118 BURNSIDE ST                                                                                DETROIT          MI   48212‐2647
STOTTLEMIRE HARRY (492688)       BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH   44067
                                                                     PROFESSIONAL BLDG
STOTTLEMIRE, CHARLES L           13795 S WALNUT VIEW DR                                                                          OLATHE           KS   66061‐9078
STOTTLEMIRE, DONALD D            1922 JOHN BROWN RD                                                                              PRINCETON        KS   66078
STOTTLEMIRE, GLENN M             4073 ROCK CREEK RD                                                                              RANTOUL          KS   66079‐9047
STOTTLEMIRE, HARRY               BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD       OH   44067
                                                                     PROFESSIONAL BLDG
STOTTLEMIRE, HARRY H             4157 BROCKLEY AVE                                                                               SHEFFIELD LAKE   OH   44054‐2109
STOTTLEMIRE, JAMES C             17 BONANZA LN                                                                                   VERO BEACH       FL   32960‐1935
STOTTLEMIRE, KENNETH B           2378 US HIGHWAY 12 SW TRLR 91                                                                   MONTROSE         MN   55363‐8567
STOTTLEMIRE, ROBERT              GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                SAGINAW          MI   48604‐2602
                                                                     260
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Name                                  Address1                            Address2                         Address3                     Address4                City              State Zip
STOTTLEMYER HELEN                     125 SARATOGA WAY                                                                                                          ANDERSON           IN 46013‐4771
STOTTLEMYER, BRENT                    3170 ORCHARD LAKE RD LOT 88                                                                                               KEEGO HARBOR       MI 48320‐1257
STOTTLEMYER, CHARLES L                8421 N 750 W                                                                                                              ELWOOD             IN 46036‐8990
STOTTLEMYER, DORCIA S                 8421 N 750 W                                                                                                              ELWOOD             IN 46036‐8990
STOTTLEMYER, EDWARD R                 243 N COLEMAN RD                                                                                                          SHEPHERD           MI 48883‐9620
STOTTLEMYER, HELEN M                  125 SARATOGA WAY                                                                                                          ANDERSON           IN 46013‐4771
STOTTLEMYER, JANET E                  5301 E COUNTY RD 1200 N                                                                                                   EATON              IN 47338‐8860
STOTTLEMYER, KATHRYN H                2471 N 350 W                                                                                                              ANDERSON           IN 46011‐8772
STOTTLEMYER, KENNETH H                1765 WOODSIDE DR                                                                                                          HERMITAGE          PA 16148‐1614
STOTTLEMYER, LARRY H                  1688 N 600 W                                                                                                              ANDERSON           IN 46011‐8763
STOTTLEMYER, MARY C                   43 HEATH DR NW                                                                                                            WARREN             OH 44481‐9001
STOTTLEMYER, PAUL C                   2604 FOX CHASE DR                                                                                                         TROY               MI 48098‐2330
STOTTLEMYER, ROSCOE M                 2718 N 350 W                                                                                                              ANDERSON           IN 46011‐8784
STOTTLEMYER, ROSCOE MICHAEL           2718 N 350 W                                                                                                              ANDERSON           IN 46011‐8784
STOTTLEMYRE, GENE E                   11252 OCALLA DRIVE                                                                                                        WARREN             MI 48089‐3844
STOTTLEMYRE, NORMAN D                 2195 SW HOLLOW RD                                                                                                         KINGSTON           MO 64650‐9159
STOTTLER, GARY P                      69 ONTARIO ST                                                                                                             HONEOYE FALLS      NY 14472‐1123
STOTTLER, SUZANNE                     P.O. BOX 13738                                                                                                            FORT PIERCE        FL 34979
STOTTLER, SUZANNE                     PO BOX 13738                                                                                                              FORT PIERCE        FL 34979‐3738
STOTTMAN, MARGARET G                  14625 FONTELLA LN                                                                                                         EDMOND             OK 73034‐9312
STOTTS CONSTRUCTION                   LAW OFFICES OF LEWSLEY & FERRO      26777 HALSTED RD 3RD FLOOR                                                            FARMINGTON         MI 48333
STOTTS CONSTRUCTION/ AMERISURE INS.   STOTTS CONSTRUCTION                 LAW OFFICES OF LEWSLEY & FERRO   26777 HALSTED RD 3RD FLOOR                           FARMINGTON         MI 48333‐3577
CO
STOTTS HAROLD (ESTATE OF ) (643684)   GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                                            EDWARDSVILLE       IL   62025‐0959
                                      ANTOGNOLI
STOTTS JOHN (448035)                  BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                                         NORTHFIELD        OH 44067
                                                                          PROFESSIONAL BLDG
STOTTS, ANNA L                        11639 MAPLE VALLEY RD                                                                                                     VICTORVILLE       CA 92392
STOTTS, CLARENCE E                    2624 N 161ST AVE                                                                                                          GOODYEAR          AZ 85395‐8012
STOTTS, CONSTRUCTION
STOTTS, DAVID P                       2073 N TERALTA CIR                                                                                                        CINCINNATI        OH 45211‐8156
STOTTS, DENNIS E                      16111 HOEFT RD                                                                                                            BELLEVILLE        MI 48111‐4279
STOTTS, HAROLD                        GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                                            EDWARDSVILLE      IL 62025‐0959
                                      ANTOGNOLI
STOTTS, HAROLD E                      C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                                                EDWARDSVILLE       IL   62025
                                      ROWLAND PC
STOTTS, JOHN                          BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                                          NORTHFIELD        OH 44067
                                                                          PROFESSIONAL BLDG
STOTTS, JOSHUA B                      4551 EAST 100 NORTH                                                                                                       MARION            IN    46952‐6718
STOTTS, LORENE L                      PO BOX 207                                                                                                                DANVILLE          IN    46122‐0207
STOTTS, MARGARET J                    13007 MARIMBA TRAIL                                                                                                       AUSTIN            TX    78729‐7326
STOTTS, NORMA J                       1840 WASHINGTON NORTH RD                                                                                                  MANSFIELD         OH    44903‐8887
STOTTS, RAY E                         49520 TETON PASS                                                                                                          SHELBY TOWNSHIP   MI    48315‐3396
STOTTS, ROBERTA                       812 24TH ST                                                                                                               BEDFORD           IN    47421‐5104
STOTTS, SANDRA K                      16111 HOEFT RD                                                                                                            BELLEVILLE        MI    48111‐4279
STOTZ KRAMER/GERMANY                  NORDSTRABE 123                      74219 MOCKMUHL‐ZUTTLINGEN                                     MOCKMUHL ZUTTLI 74219
                                                                                                                                        GERMANY
STOTZ, RICHARD R                      928 CUSTER DR                                                                                                             TOLEDO            OH    43612‐3233
STOTZ, ROGER D                        35 GANNET DR                                                                                                              SOUTHINGTON       CT    06489‐1716
STOTZEL, DENNIS E                     3045 LEE STREET                                                                                                           HARRISON          MI    48625‐9185
STOUDAMIRE, JESSE                     11094 SHERIDAN RD                                                                                                         NEW LOTHROP       MI    48460‐9505
STOUDAMIRE, WALTER L                  3801 CHURCHILL AVE                                                                                                        LANSING           MI    48911‐2210
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Name                          Address1                       Address2                      Address3   Address4         City               State Zip
STOUDEMIRE RITA L             STOUDEMIRE, RITA L             5600 W MAPLE RD STE C301                                  WEST BLOOMFIELD     MI 48322‐3700
STOUDEMIRE, CANTEENA          604 BLYTHE ST                                                                            GADSDEN             AL 35903‐1852
STOUDEMIRE, CLARA P           27577 LAHSER RD.               APT #132                                                  SOUTHFIELD          MI 48034
STOUDEMIRE, CLARA P           27577 LAHSER RD APT 132                                                                  SOUTHFIELD          MI 48034‐4710
STOUDEMIRE, GLADYS            12237 ILENE ST                                                                           DETROIT             MI 48204‐1081
STOUDEMIRE, GLADYS            12237 ILENE                                                                              DETROIT             MI 48204‐1081
STOUDEMIRE, JANETTE           360 LONGFORD AVE                                                                         ELYRIA              OH 44035‐4038
STOUDEMIRE, MARVIN            2635 FERRY PARK ST                                                                       DETROIT             MI 48208‐1119
STOUDEMIRE, RITA L            34330 PINEWOODS CIR APT 103                                                              ROMULUS             MI 48174‐8232
STOUDEMIRE, RITA L            APT 103                        34330 PINEWOODS CIRCLE                                    ROMULUS             MI 48174‐8232
STOUDEMIRE, ROBERT            4014 DEVONSHIRE RD                                                                       DETROIT             MI 48224‐3658
STOUDEMIRE, THOMAS L          24541 ONEIDA BLVD                                                                        OAK PARK            MI 48237‐1715
STOUDEMIRE, TIFFANY M         360 LONGFORD AVE                                                                         ELYRIA              OH 44035‐4038
STOUDEMIRE, WILLIAM J         PO BOX 181                                                                               BUFFALO             NY 14215‐0181
STOUDER, NIAL E               4709 EBY LN                                                                              AUSTIN              TX 78731‐4507
STOUDMIRE, WILLIE J           2205 SHELLY ST                                                                           YPSILANTI           MI 48198‐6637
STOUDMIRE, WILLIE JAMES       2205 SHELLY ST                                                                           YPSILANTI           MI 48198‐6637
STOUDT, JAMES E               6293 PARKHURST DR                                                                        GOLETA              CA 93117‐1623
STOUDT, JAMES L               764 ARBOUR DR                                                                            NEWARK              DE 19713‐1221
STOUDT, MYRA L                11220 LOOKOUT PTE                                                                        PERRINTON           MI 48871‐9633
STOUFER, GARY L               N7863 MILLECOQUIN LAKE DR                                                                ENGADINE            MI 49827‐9519
STOUFFER JERRY LEE (429885)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                             STREET, SUITE 600
STOUFFER, BRIAN W             6873 JASMINE DR                                                                          TROY               MI   48098‐6920
STOUFFER, GAIL                615 N. CAPITOL                                                                           LANSING            MI   48933
STOUFFER, JACK A              W183N6023 LOST POND COURT                                                                MENOMONEE FLS      WI   53051‐5565
STOUFFER, JERRY LEE           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                             STREET, SUITE 600
STOUFFER, JOE A               16‐770 RD Y                                                                              NEW BAVARIA        OH   43548
STOUFFER, JOHN R              206 BUSH CT                                                                              MC CORMICK         SC   29835‐3322
STOUFFER, LINDA S             PO BOX 405                                                                               DAVISBURG          MI   48350‐0405
STOUFFER/ATLANTA              1 HARTSFIELD CENTER PKWY                                                                 ATLANTA            GA   30354‐1361
STOUFFER/DENVER               3801 QUEBEC ST                                                                           DENVER             CO   80207‐1629
STOUFFER/NASHVILLE            611 COMMERCE                                                                             NASHVILLE          TN   37203
STOUGH JR, DANIEL C           4484 PINEDALE AVE                                                                        CLARKSTON          MI   48346‐3833
STOUGH MARJORIE               STOUGH, MARJORIE               36700 WOODWARD AVE STE 203                                BLOOMFIELD HILLS   MI   48304‐0930
STOUGH, BARBARA J             1801 CLAYPOOL BOYCE RD                                                                   ALVATON            KY   42122‐8636
STOUGH, DANIEL E              1801 CLAYPOOL BOYCE RD                                                                   ALVATON            KY   42122‐8636
STOUGH, DONALD R              2235 GRAY RD                                                                             LAPEER             MI   48446‐9067
STOUGH, GEORGE W              3537 COAL FORK DRIVE                                                                     CHARLESTON         WV   25306‐6851
STOUGH, GORDON M              4061 GENESEE RD                                                                          LAPEER             MI   48446‐3607
STOUGH, GRACE                 10015 W ROYAL OAK RD APT 342                                                             SUN CITY           AZ   85351‐6100
STOUGH, GRACE                 10015 WEST ROYAL OAK ROAD      APT 342                                                   SUN CITY           AZ   85351
STOUGH, JEFFERY B             PO BOX 6                                                                                 WESTON             OH   43569‐0006
STOUGH, JOHN F                5887 N RAINBOW LAKES DR E                                                                BRAZIL             IN   47834
STOUGH, KENNETH E             11612 PIERVIEW RD                                                                        DADE CITY          FL   33525‐8400
STOUGH, MARILYN J             505 S JEFFERSON ST                                                                       BOWLING GREEN      IN   47833‐8052
STOUGH, RICHARD L             1222 W COUNTY ROAD 800 NORTH                                                             BRAZIL             IN   47834‐7416
STOUGHTON HOSPITAL A          PO BOX 78216                                                                             MILWAUKEE          WI   53278‐0216
STOUGHTON TRUCKING INC        416 S ACADEMY ST                                                                         STOUGHTON          WI   53589‐2657
STOUGHTON, DEXTER J           2862 FOXWOOD CT                                                                          MIAMISBURG         OH   45342‐4435
STOUGHTON, DONALD J           1585 INVERNESS ST                                                                        SYLVAN LAKE        MI   48320‐1628
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Name                               Address1                        Address2                         Address3   Address4         City              State Zip
STOUGHTON, HAROLD K                13749 N WHITE LICK RD                                                                        MOORESVILLE        IN 46158‐6162
STOUGHTON, HAZEL L                 8745 WHITELAND RD                                                                            MARTINSVILLE       IN 46151‐7314
STOUGHTON, JACK E                  7746 MOKENA CT                                                                               NEW PORT RICHEY    FL 34654‐5658
STOUGHTON, JAMES C                 14370 E RIVER RD                                                                             SHOALS             IN 47581‐7203
STOUGHTON, PAUL E                  5608 E 10TH ST                                                                               INDIANAPOLIS       IN 46219
STOUGHTON, RICHARD A               3589 OAKVIEW DR                                                                              GIRARD             OH 44420‐3163
STOUGHTON, STEVEN L                1550 CENTER STAR RD                                                                          COLUMBIA           TN 38401‐7770
STOUGHTON, THOMAS B                708 OAKLAND AVE                                                                              BIRMINGHAM         MI 48009‐5755
STOULIG, LAWRENCE                  10133 FLORENCE CT                                                                            RIVER RIDGE        LA 70123‐1519
STOULIL, BETTY I                   1061 BROKAW DR                                                                               DAVISON            MI 48423‐7907
STOUMBOS, GEORGE L                 1538 BRIARSON DR                                                                             SAGINAW            MI 48638‐4461
STOUP, BETTY L                     1862 MERIDIAN DR                                                                             HAGERSTOWN         MD 21742‐1232
STOUP, JOHN D                      1862 MERIDIAN DR                                                                             HAGERSTOWN         MD 21742‐1232
STOUSE, GLEN A                     926 WHISLER CT                                                                               SAINT CLOUD        FL 34769‐3029
STOUT BERTIE L (429886)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                                   STREET, SUITE 600
STOUT CHARLES                      AVIS RENT A CAR SYSTEM LLC      99 N MAIN ST                                                 LOGAN             UT 84321‐4542
STOUT CHARLES                      STOUT, CHARLES                  3838 SOUTH WEST TEMPLE SUITE 3                               SALT LAKE CITY    UT 84115

STOUT EARL                         20759 VANDERWICK DR                                                                          KATY              TX 77450‐4917
STOUT GARY D (429887)              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510
                                                                   STREET, SUITE 600
STOUT I I, DONALD D                157 CANTERBURY RD                                                                            PENDLETON         IN   46064‐8719
STOUT II, CHARLES W                3013 TALON CIR                                                                               LAKE ORION        MI   48360‐2608
STOUT II, CHARLES WILLIAM          3013 TALON CIR                                                                               LAKE ORION        MI   48360‐2608
STOUT INDUSTRIES INC               PO BOX 790051                                                                                SAINT LOUIS       MO   63179‐0051
STOUT INDUSTRIES INC               6425 W FLORISSANT AVE                                                                        SAINT LOUIS       MO   63136‐3622
STOUT JENNIFER                     1514 PICKWICK LN                                                                             DENTON            TX   76209‐1260
STOUT JR, GEORGE A                 6790 W WHITELAND RD                                                                          BARGERSVILLE      IN   46106‐8999
STOUT JR, KARL F                   6119 W 500 N                                                                                 FRANKTON          IN   46044‐9541
STOUT JR, KARL F                   RR 1 ‐ PO BOX 149                                                                            FRANKTON          IN   46044‐9739
STOUT JR, OTTO E                   2650 COLLEGE RD                                                                              HOLT              MI   48842‐8706
STOUT KATHY                        832 STILWELL AVE                                                                             FREMONT           OH   43420‐2021
STOUT RICHARD BENJAMIN (429888)    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510
                                                                   STREET, SUITE 600
STOUT RISIUS ROSS INC              STE 20                          4000 TOWN CENTER                                             SOUTHFIELD        MI 48075‐1412
STOUT ROBERT E (494244)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510
                                                                   STREET, SUITE 600
STOUT STEVEN                       163 HALLAM ROAD                                                                              WASHINGTON        PA 15301‐7172
STOUT THERESA                      2384 LUMAS RD                                                                                DERIDDER          LA 70634‐7657
STOUT WILLIAM JEFFERSON (348044)   MACLEAN LESLIE                  360 PLACE OFFICE PARK , 1202 N                               ARLINGTON         TX 76006
                                                                   WATSON STE 145
STOUT, ALICE                       PO BOX 464                                                                                   PARKER CITY       IN   47368
STOUT, ALLAN D                     1121 BEN HILL BLVD                                                                           NOLENSVILLE       TN   37135‐8454
STOUT, ALLEN L                     2735 JORDAN RD                                                                               MARTINSVILLE      IN   46151‐7276
STOUT, ALLEN LEROY                 2735 JORDAN RD                                                                               MARTINSVILLE      IN   46151‐7276
STOUT, ALLEN W                     2171 NANDI HILLS TRL                                                                         SWARTZ CREEK      MI   48473‐7903
STOUT, ALLEN WAYNE                 2171 NANDI HILLS TRL                                                                         SWARTZ CREEK      MI   48473‐7903
STOUT, ARTHUR M                    323 E 9TH ST                                                                                 FAIRMOUNT         IN   46928‐1114
STOUT, BARBARA A                   26253 QUEEN MARY LN                                                                          BONITA SPRINGS    FL   34135‐6537
STOUT, BERTIE L                    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510‐2212
                                                                   STREET, SUITE 600
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Name                   Address1                            Address2                      Address3   Address4         City             State Zip
STOUT, BETTY L         55 S HYDE AVE APT 220                                                                         ISELIN            NJ 08830‐2182
STOUT, BETTY L         55 S HYDE AVENUE                    APT 220                                                   WOODBRIDGE        NJ 08830
STOUT, BETTY LEE       1017 RANDY ANN CT                                                                             NEW CASTLE        IN 47362
STOUT, BILLY E         5911 N CLOUD NINE DR                                                                          GARDEN CITY       ID 83714‐1711
STOUT, BOBBY R         1755 AYNSLEY WAY                                                                              VERO BEACH        FL 32966‐8005
STOUT, BRENDA K        16832 GEORGIE EDITH LN                                                                        ATHENS            AL 35613‐6112
STOUT, CARLOS R        GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                EDWARDSVILLE       IL 62025‐0959
                       ANTOGNOLI
STOUT, CARLOS R        C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                    EDWARDSVILLE      IL   62025
                       ROWLAND PC
STOUT, CAROL           64 LAFAYETTE ST                                                                               MOUNT CLEMENS    MI    48043‐1512
STOUT, CAROLYN W       2202 FLORDAWN DR APT 3                                                                        FLORISSANT       MO    63031‐8730
STOUT, CHALICE O       3862 W 400 S                                                                                  NEW PALESTINE    IN    46163‐9611
STOUT, CHALICE O.      3862 W 400 S                                                                                  NEW PALESTINE    IN    46163‐9611
STOUT, CHARLES         43546 WEST HWY 40                                                                             DUCHESNE         UT    84021
STOUT, CHARLES         MCINTYRE & GOLDEN PC                3838 S WEST TEMPLE STE 3                                  SALT LAKE CITY   UT    84115‐4987
STOUT, CHARLES M       8324 NEWCOMB DR                                                                               PARMA            OH    44129‐5825
STOUT, CHARLES M       10746 PHILLIPS RD                                                                             CARP LAKE        MI    49718‐9775
STOUT, CHRISTINA L     32 ARTHUR TER APT G4                                                                          HACKETTSTOWN     NJ    07840‐2378
STOUT, CHRISTOPHER H   5 ROY COURT CHAPEL WOODS                                                                      NEWARK           DE    19711
STOUT, CLARENCE A      9 EDGEMONT LN                                                                                 NEWMANSTOWN      PA    17073‐9039
STOUT, CLYDE A         1771 COUNTY ROAD 256                                                                          VICKERY          OH    43464‐9771
STOUT, DANNY E         1101 S ARMSTRONG ST                                                                           KOKOMO           IN    46902‐6304
STOUT, DARWIN D        3848 THUNDERBIRD AVE SW                                                                       GRANDVILLE       MI    49418‐2245
STOUT, DAVID A         3356 WEATHERED ROCK CIR                                                                       KOKOMO           IN    46902‐6066
STOUT, DAVID R         351 INVERNESS AVE                                                                             VANDALIA         OH    45377‐2216
STOUT, DAYL H          1071 S ALLEN RD                                                                               SAINT CLAIR      MI    48079‐2601
STOUT, DELORES E       5216 ANDERSON RD                                                                              HILLSBORO        OH    45133‐9462
STOUT, DORIS M         235 ADAMS STREET                                                                              PENDLETON        IN    46064‐1111
STOUT, DOROTHY         720 HIGHLAND AVE                                                                              BUFFALO          NY    14223‐1645
STOUT, DOROTHY         720 HIGHLAND PARKWAY                                                                          BUFFALO          NY    14223‐1645
STOUT, DOROTHY         2798 WARREN BURTON ROAD                                                                       SOUTHINGTON      OH    44470‐9742
STOUT, DOUGLAS S       PO BOX 60                                                                                     MAYVILLE         MI    48744‐0060
STOUT, EDDIE B         166 SAM CALDWELL LN                                                                           OCILLA           GA    31774‐3206
STOUT, EDWARD R        1445 LOUISVILLE RD                                                                            SEAMAN           OH    45679‐9609
STOUT, EDWARD S        363 W UPPER FERRY RD                                                                          EWING            NJ    08628‐2640
STOUT, ELOISE M        3808 ARGONNE ST                                                                               MOGADORE         OH    44260‐1402
STOUT, EMMA L          1588 DRUID DR                                                                                 COPLEY           OH    44321‐2050
STOUT, ESTHER C        215 NELLIES CORNER RD                                                                         RISING SUN       MD    21911‐1754
STOUT, EVELYN R        1918 WESTVIEW DRIVE                                                                           INDIANAPOLIS     IN    46221‐1122
STOUT, FARRELL E       1821 N 600 W                                                                                  YORKTOWN         IN    47396
STOUT, GAIL ANN        109 SHAFFER ROAD                                                                              ANTWERP          OH    45813‐9449
STOUT, GARY D          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA    23510‐2212
                                                           STREET, SUITE 600
STOUT, GEORGE F        215 FAIRVIEW RD                                                                               ELKTON           MD    21921‐1702
STOUT, GEORGE R        9321 LAPEER RD                                                                                MAYVILLE         MI    48744‐9306
STOUT, GERALD F        8213 W ASHFORD LN                                                                             MUNCIE           IN    47304‐9500
STOUT, GERALD M        PO BOX 46                                                                                     MAYVILLE         MI    48744‐0046
STOUT, GLADYS A        C/O ROXEANN E ROUSE                 6120 PINE PO BOX 588                                      MAYVILLE         MI    48744
STOUT, GLADYS A        PO BOX 588                          C/O ROXEANN E ROUSE                                       MAYVILLE         MI    48744‐0588
STOUT, GLENN R         20983 HAYES RD RR#3 BOX 123                                                                   BIG RAPIDS       MI    49307
STOUT, GLENNA          21172 HAYES RD                                                                                BIG RAPIDS       MI    49307‐9436
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Name                   Address1                          Address2                   Address3   Address4         City                State Zip
STOUT, GLENNA          21172 HAYES ROAD                                                                         BIG RAPIDS           MI 49307‐9436
STOUT, GREGORY A       1747 TOMMY AARON DR                                                                      EL PASO              TX 79936‐4621
STOUT, GREGORY S       2904 IROQUOIS DR                                                                         THOMPSONS STATION    TN 37179‐5021
STOUT, HAROLD L        PO BOX 1201                                                                              MANSFIELD            OH 44901‐1201
STOUT, HAROLD R        15141 ROCKDALE RD                                                                        SOUTH BELOIT          IL 61080‐9003
STOUT, HAROLD T        164 SOUTH 56TH STREET                                                                    MESA                 AZ 85206‐1503
STOUT, HAZEL B         1915 SOUTH M STREET                                                                      ELWOOD               IN 46036‐2931
STOUT, HERMAN R        2513 BRADY LN                                                                            GRAND PRAIRIE        TX 75052‐5012
STOUT, J M             7250 W 300 N 27                                                                          CONVERSE             IN 46919‐9351
STOUT, JACK A          12137 S 351                                                                              EARLSBORO            OK 74840‐9000
STOUT, JAMES           MACLEAN LESLIE                    3219 MCKINNEY AVE                                      DALLAS               TX 75204‐2472
STOUT, JAMES B         5034 PARADISE HARBOR PL                                                                  NORTH LAS VEGAS      NV 89031‐0987
STOUT, JAMES E         51 DEPOT RD                                                                              OXFORD               MA 01540‐1233
STOUT, JAMES K         3223 HILLSBROUGH RD                                                                      ROCKFORD              IL 61109‐1741
STOUT, JAMES R         29485 STATE HIGHWAY #53                                                                  HOLCOMB              MO 63852
STOUT, JAMES R         3487 N 900 E                                                                             VAN BUREN            IN 46991‐9749
STOUT, JANET ANN       64 LAFAYETTE ST                                                                          MOUNT CLEMENS        MI 48043‐1512
STOUT, JOHN M          749 SUGARBERRY AVE                                                                       BOWLING GREEN        KY 42104‐5554
STOUT, JOHN S          8080 POTTER RD                                                                           FLUSHING             MI 48433‐9444
STOUT, JUNE            P O BOX 745                                                                              WEST BRANCH          MI 48661‐0745
STOUT, JUNE            PO BOX 745                                                                               WEST BRANCH          MI 48661‐0745
STOUT, KEVIN M         4636 MAPLE ST                                                                            CORAL                MI 49322‐9606
STOUT, KIMBERLY A      23907 W 70TH ST                                                                          SHAWNEE              KS 66226‐3544
STOUT, LARRY D         1765 FAIRVIEW CT                                                                         SALEM                OH 44460‐4014
STOUT, LARRY J         4264 S 25 W                                                                              TRAFALGAR            IN 46181‐9774
STOUT, LARRY L         7001 W RIVER RD                                                                          YORKTOWN             IN 47396‐9399
STOUT, LAWRENCE R      APT 109                           31120 WESTGATE BOULEVARD                               NOVI                 MI 48377‐1209
STOUT, LAWRENCE R      21365 LOS PALMOS ST                                                                      SOUTHFIELD           MI 48076‐5554
STOUT, LINDA K         5711 ARROWHEAD BLVD                                                                      KOKOMO               IN 46902‐5502
STOUT, LOIS J          117 LODESTONE DRIVE                                                                      ENGLEWOOD            OH 45322‐1716
STOUT, LUCILLE A       3 CALVIN AVE                                                                             EWING                NJ 08618‐1935
STOUT, LUCILLE A       3 CALVIN AVENUE                                                                          TRENTON              NJ 08618‐1935
STOUT, LUCY I          2808 CLEVELAND RD W                                                                      HURON                OH 44839‐1061
STOUT, LULA            C/O CHARLES BEAVERS               9911 W 48 1/2 ROAD                                     WELLSTON             MI 49689
STOUT, LULA            9911 W 48 1/2 RD                  C/O CHARLES BEAVERS                                    WELLSTON             MI 49689‐9658
STOUT, MARGARET I      1832 NE 23RD TER                                                                         CAPE CORAL           FL 33909‐4758
STOUT, MARK W          55608 E NOCTURNE LN                                                                      SHELBY TWP           MI 48316‐5228
STOUT, MARY J          501 N 17TH AVE                                                                           BEECH GROVE          IN 46107‐1169
STOUT, MARY J          501 N. 17TH AVE                                                                          BEACH GROVE          IN 46107‐1169
STOUT, MARY R          4534 TRUMBULL DRIVE                                                                      FLINT                MI 48504
STOUT, MAUDIE C        412 DELZINGRO DR                                                                         DAVISON              MI 48423‐2832
STOUT, MICHAEL E       7009 W RIVER RD                                                                          YORKTOWN             IN 47396‐9399
STOUT, MICHAEL W       2514 N CLINTON ST                                                                        SAGINAW              MI 48602
STOUT, MOLLIE          2909 HIGHWAY 107                                                                         CHUCKEY              TN 37641‐2332
STOUT, MONTY W         6857 CASSELL DR                                                                          GREENTOWN            IN 46936‐1173
STOUT, OKIE L          1016 MAIN ST                                                                             GRAFTON              OH 44044‐1413
STOUT, PAMELA A        2102 TUSCANY DR                                                                          TROY                 MI 48085‐1078
STOUT, PATRICIA A      16810 KIRKPATRICK RD                                                                     UTICA                OH 43080‐9546
STOUT, PAULA G         7001 W RIVER RD                                                                          YORKTOWN             IN 47396‐9399
STOUT, PEGGY A         8876 W CO RD 400 N                                                                       KOKOMO               IN 46901‐8639
STOUT, PHILIP R        3170 N VERNON RD                                                                         CORUNNA              MI 48817‐9762
STOUT, PHILIP RANDAL   3170 N VERNON RD                                                                         CORUNNA              MI 48817‐9762
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Name                       Address1                       Address2                        Address3   Address4         City                State Zip
STOUT, PHYLLIS
STOUT, R D                 131 LIPTON PL                                                                              SAN RAMON           CA    94583‐3422
STOUT, RACHEL M            1441 W 400 S                                                                               KOKOMO              IN    46902‐5032
STOUT, RANDAL L            23907 W 70TH ST                                                                            SHAWNEE             KS    66226‐3544
STOUT, RAY D               60 ALUM AVE                                                                                WESTON              WV    26452‐1969
STOUT, RAYMOND             36462 BUCKEYE ST                                                                           NEWARK              CA    94560‐2225
STOUT, REBECCA ANN         118 LAREDO AVE                                                                             NEW LEBANON         OH    45345‐1314
STOUT, REBECCA K           8268 HEARTHSTONE CT                                                                        COMMERCE TOWNSHIP   MI    48382‐4523
STOUT, RENDAL L            6509 TALLMADGE RD                                                                          ROOTSTOWN           OH    44272‐9755
STOUT, RICHARD BENJAMIN    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA    23510‐2212
                                                          STREET, SUITE 600
STOUT, RICHARD D           1176 MONTEREY DR                                                                           MANSFIELD           OH    44907‐2446
STOUT, RICHARD L           5133 SAMPSON DR                LIBERTY TOWNSHIP                                            YOUNGSTOWN          OH    44505‐1253
STOUT, RICHARD M           26253 QUEEN MARY LN                                                                        BONITA SPRINGS      FL    34135‐6537
STOUT, ROBERT              PARKS CHRISTOPHER M            1 PLAZA SQUARE                                              PORT ARTHUR         TX    77642
STOUT, ROBERT E            GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA    23510‐2212
                                                          STREET, SUITE 600
STOUT, ROBERT G            2205 N MORRISON RD                                                                         MUNCIE              IN    47304
STOUT, ROBERT K            354 DETROIT AVE                                                                            MANSFIELD           OH    44905‐2602
STOUT, ROBERT L            8513 GLAZE RD                                                                              NEW HOLLAND         OH    43145‐9635
STOUT, ROBERT M            2393 WHITNEY AVE                                                                           MANSFIELD           OH    44906‐1195
STOUT, ROBERT P            1005 COUNTY ROAD 2154                                                                      CADDO MILLS         TX    75135‐5135
STOUT, ROBERT R            8221 DORAL LN                                                                              HEMET               CA    92545‐3438
STOUT, ROBERT R            1212 W PARK RD                                                                             GREENSBURG          IN    47240‐7886
STOUT, ROBERT R            1065 BENNINGTON CT                                                                         GREENWOOD           IN    46143‐7547
STOUT, ROBERT S            50 MAPLE GROVE AVE APT 110                                                                 PRUDENVILLE         MI    48651‐9609
STOUT, RONALD E            997 COUNTY ROAD 3005                                                                       NEW BOSTON          TX    75570‐5819
STOUT, RONALD E            632 DETROIT AVE                                                                            LINCOLN PARK        MI    48146‐3032
STOUT, RONALD EUGENE       997 COUNTY ROAD 3005                                                                       NEW BOSTON          TX    75570‐5819
STOUT, ROOSEVELT A         UNKNOWN
STOUT, ROSE E              606 MEADOWVIEW LN                                                                          ELK RAPIDS          MI    49629‐9558
STOUT, RUDY                PO BOX 78                                                                                  HARRISBURG          IL    62946‐0078
STOUT, RUSSELL D           3221 GREENLAND AVE NORTHWEST                                                               ROANOKE             VA    24012‐7711
STOUT, RUSSELL J           421 GREENUP CT                                                                             FRANKLIN            OH    45005‐2145
STOUT, RUTH E              N8545 LAKEVIEW RD              C/O RANDALL S PROST                                         FOND DU LAC         WI    54937‐9356
STOUT, SAMUEL P            1851 WILENE DR                                                                             DAYTON              OH    45432‐4021
STOUT, SANDRA L            164 SPARKS RD                                                                              JOHNSON CITY        TN    37601‐8137
STOUT, SANDRA L            164 SPARKS ROAD                                                                            JOHNSON CITY        TN    37601‐8137
STOUT, SARAH A             749 W 400 N                                                                                SHARPSVILLE         IN    46068‐9083
STOUT, SHARON              1101 S ARMSTRONG ST                                                                        KOKOMO              IN    46902‐6304
STOUT, SHARON L            PO BOX 386                                                                                 PATASKALA           OH    43062
STOUT, STEVEN K            10535 LINDLEY AVE APT 45                                                                   PORTER RANCH        CA    91326
STOUT, SUE ANN             105 MOHAWK TRAIL                                                                           PRUDENVILLE         MI    48651‐8651
STOUT, SUE ANN             105 MOHAWK TRL                                                                             PRUDENVILLE         MI    48651‐9735
STOUT, THOMAS W            PO BOX 2032                                                                                ELIZABETHTON        TN    37644‐2032
STOUT, TOBY L              5 ROYAL LN                                                                                 LOCKPORT            NY    14094‐5318
STOUT, TOMMY
STOUT, VIVIAN A.           243 RUE ORLEANS                TERRE DU LAC                                                BONNE TERRE         MO    63628‐9233
STOUT, WILLIAM G           16810 KIRKPATRICK RD                                                                       UTICA               OH    43080‐9546
STOUT, WILLIAM J           9156 TENOR WAY                                                                             INDIANAPOLIS        IN    46231‐4260
STOUT, WILLIAM JEFFERSON   MACLEAN LESLIE                 360 PLACE OFFICE PARK, 1202 N                               ARLINGTON           TX    76006
                                                          WATSON STE 145
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Name                       Address1                           Address2                        Address3   Address4         City               State Zip
STOUT, WILLIAM L           170 BROOKE WOODE DR                                                                            BROOKVILLE          OH 45309‐8385
STOUT, WILLIAM T           29910 MARIMOOR DR                                                                              SOUTHFIELD          MI 48076‐5241
STOUT, WILMA I             4540 S CO RD ‐ 800 E                                                                           GREENTOWN           IN 46936
STOUT‐BARNETT, BETTY L     820 NW 17TH ST                                                                                 BLUE SPRINGS        MO 64015‐2927
STOUT‐BARNETT, BETTY L     820 N.W.17TH STREET                                                                            BLUE SPRINGS        MO 64015‐2927
STOUT‐HARPER, ROSALIE I    PO BOX 137                                                                                     HOWARD CITY         MI 49329‐0137
STOUTAMIRE, KAREN D        1467 UNION ST SW                                                                               WARREN              OH 44485‐3535
STOUTAMIRE, RENEE L        PO BOX 3153                                                                                    WARREN              OH 44485‐0153
STOUTEN, RICHARD J         7735 HERRINGTON AVE NE                                                                         BELMONT             MI 49306‐9281
STOUTEN, RICHARD JOHN      7735 HERRINGTON AVE NE                                                                         BELMONT             MI 49306‐9281
STOUTENBERG, MARSHA A      8384 N BRAY RD                                                                                 MOUNT MORRIS        MI 48458‐8929
STOUTENBERG, MARSHA ANN    8384 N BRAY RD                                                                                 MOUNT MORRIS        MI 48458‐8929
STOUTENBERG, PHYLLIS A     9419 MOUNTAIN ASH CT                                                                           DAVISON             MI 48423‐3504
STOUTENBURG JR, HARLEY H   1104 N CASS LAKE RD                                                                            WATERFORD           MI 48328‐1312
STOUTENBURG JR, ROBERT J   12517 N LINDEN RD                                                                              CLIO                MI 48420‐8240
STOUTENBURG, EVELYN        1232 N SAGINAW ST                                                                              LAPEER              MI 48446‐1542
STOUTENBURG, EVELYN        1232 NORTH SAGINAW ST                                                                          LAPEER              MI 48446‐1542
STOUTENBURG, KEVIN W       11067 E MOUNT MORRIS RD LOT 17                                                                 DAVISON             MI 48423‐9355
STOUTENBURG, MARILYN       9139 FRANCES RD                                                                                FLUSHING            MI 48433‐8847
STOUTENBURG, MARILYN       9139 WEST FRANCES ROAD                                                                         FLUSHING            MI 48433‐8847
STOUTENBURG, MARILYN A     9706 CHICAGO AVE S                                                                             BLOOMINGTON         MN 55420‐4526
STOUTENBURG, ROBERT J      8492 N SEYMOUR RD                                                                              FLUSHING            MI 48433‐9266
STOUTENBURG, WILLIAM E     5073 CLINTONVILLE PINES DR                                                                     CLARKSTON           MI 48346‐4170
STOUTENBURG, WILLIAM L     255 MAYER RD APT 350M                                                                          FRANKENMUTH         MI 48734‐1858
STOUTENBURGH WILLIAM       317 NEAPOLITAN WAY                                                                             NAPLES              FL 34103‐8557
STOUTENGER, JAMES          5562 BEAR RD                       APT H3                                                      SYRACUSE            NY 13212‐1509
STOUTENOUR, NANCY A        53514 COUNTY ROAD 7                                                                            ELKHART             IN 46514‐5129
STOUTERMIRE, MICHELLE R    3686 DEER SPRINGS DR                                                                           ROCHESTER           MI 48306‐4752
STOUTJESDYK, RONALD J      9390 BEERS RD                                                                                  SWARTZ CREEK        MI 48473‐9124
STOUTJESDYK, THOMAS J      2133 PINEWOOD ST                                                                               JENISON             MI 49428‐9118
STOUTZ & STOUTZ            RE: LESON CHEVROLET COMPANY INC    3606 CANAL STREET                                           NEW ORLEANS         LA 70119
STOVALL GERALD             23775 PHILIP DR                                                                                SOUTHFIELD          MI 48075‐3348
STOVALL JACK               1046 FLAGSTONE RD                                                                              ELBERTON            GA 30635‐3795
STOVALL LOUIS JR           12726 IROQUOIS AVE                                                                             CLEVELAND           OH 44108‐2528
STOVALL LUVADA (491327)    BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                              PROFESSIONAL BLDG
STOVALL, ALVIS             8232 DESOTO ST                                                                                 DETROIT            MI   48238‐1881
STOVALL, ANNE A            15785 SORRENTO ST                                                                              DETROIT            MI   48227‐4027
STOVALL, BARBARA A         3208 CRANBROOK CIR                                                                             FLINT              MI   48507‐1448
STOVALL, BESSIE L          1205 NOBLE AVE SW                                                                              DECATUR            AL   35601‐3641
STOVALL, BETTY J           5121 WOODHAVEN CT                                                                              FLINT              MI   48532‐4195
STOVALL, BRANDON M         6509 MOUNT AVENUE                                                                              SAINT LOUIS        MO   63121‐5718
STOVALL, CHARLES D         20100 KEYSTONE ST                                                                              DETROIT            MI   48234‐2339
STOVALL, CHARLES U         27590 PARKVIEW BLVD APT 202                                                                    WARREN             MI   48092‐2979
STOVALL, CHARLES W         55361 PACIFIC RIDGE DR                                                                         MACOMB             MI   48042‐6169
STOVALL, CYNTHIA A         23775 PHILIP DR                                                                                SOUTHFIELD         MI   48075‐3348
STOVALL, DAWAN R           2938 PARKWAY CIR                                                                               STERLING HEIGHTS   MI   48310‐7129
STOVALL, DELFRED           PO BOX 414184                                                                                  KANSAS CITY        MO   64141‐4184
STOVALL, FELIX C           19303 N NEW TRADITION RD APT 360                                                               SUN CITY WEST      AZ   85375‐3860
STOVALL, FRANK             SHANNON LAW FIRM                   100 W GALLATIN ST                                           HAZLEHURST         MS   39083‐3007
STOVALL, FRANKLIN J        5121 WOODHAVEN CT                                                                              FLINT              MI   48532‐4195
STOVALL, GALEYON Y         30307 HANOVER BLVD                                                                             WESTLAND           MI   48186‐7328
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Name                     Address1                             Address2              Address3   Address4         City             State Zip
STOVALL, GERALD D        21105 BROOKLAWN DR                                                                     DEARBORN HTS      MI 48127‐2637
STOVALL, GERALD K        23775 PHILIP DR                                                                        SOUTHFIELD        MI 48075‐3348
STOVALL, GLORIA          5047 VIRGINIA AVE                                                                      KANSAS CITY       MO 64110‐2341
STOVALL, HARREL          9260 N TEMPLE AVE                                                                      INDIANAPOLIS      IN 46240‐1338
STOVALL, JAMES D         5101 GRAND AVE                                                                         KANSAS CITY       MO 64112
STOVALL, JAMES DOUGLAS   5101 GRAND AVE                                                                         KANSAS CITY       MO 64112
STOVALL, JEAN A          1212 11TH ST                                                                           BARABOO           WI 53913‐1856
STOVALL, JEFFREY L       10514 BARNES RD                                                                        EATON RAPIDS      MI 48827‐9233
STOVALL, JEFFREY L.      10514 BARNES RD                                                                        EATON RAPIDS      MI 48827‐9233
STOVALL, JENNIE V        20331 HIGHWAY 20                                                                       TRINITY           AL 35673‐6610
STOVALL, JOHNNIE P       2017 CARR ST                                                                           SANDUSKY          OH 44870‐4624
STOVALL, LARRY A         24637 OKAY RD                                                                          TECUMSEH          OK 74873‐6502
STOVALL, LILLIE          5933 CRESTWOOD DR                                                                      CHARLOTTE         NC 28216‐2209
STOVALL, LINDA C         550 W PULASKI AVE                                                                      FLINT             MI 48505‐3124
STOVALL, LOLA M          886 SPENCEST                                                                           PONTIAC           MI 48341
STOVALL, LOLA M          886 SPENCE ST                                                                          PONTIAC           MI 48340‐3057
STOVALL, LOU             6635 MAYBANK DR                                                                        HOUSTON           TX 77055‐2601
STOVALL, LUCY J          PO BOX 5566                                                                            CANTON            GA 30114‐0037
STOVALL, LULA M          4315 ELDERON AVE                                                                       BALTIMORE         MD 21215‐4803
STOVALL, LYNETTE R       501 RAFE COURT                                                                         FRANKLIN          TN 37064‐4256
STOVALL, LYNETTE R       675 HARDING PL APT H2                                                                  NASHVILLE         TN 37211‐4451
STOVALL, MARC J          4603 BRENTGATE CT                                                                      ARLINGTON         TX 76017‐1610
STOVALL, MARGARET        105 FREDDY ST                                                                          MONROE            LA 71202‐7126
STOVALL, MARGARET F      105 FREDDY ST                                                                          MONROE            LA 71202‐7126
STOVALL, MARI A          4025 VINEYARD RD                                                                       KANSAS CITY       MO 64130
STOVALL, MARY            2022 GEORGE AVE                                                                        YPSILANTI         MI 48198‐6613
STOVALL, MARY F          219 OLD MORGANTOWN RD                                                                  BOWLING GREEN     KY 42101‐2837
STOVALL, MICHAEL C       211 HEATHROW DR                                                                        FLORENCE          AL 35633
STOVALL, MILDRED E       12927 SW PURITY SPRINGS RD                                                             AUGUSTA           KS 67010‐8332
STOVALL, NATHAN V        1907 KERRY DR                                                                          ARLINGTON         TX 76013‐4932
STOVALL, NORMAN E        1911 N CHARLES ST                                                                      SAGINAW           MI 48602‐4853
STOVALL, ORAPHINE K      3923 DR MARTIN LUTHER KING JR BLVD                                                     ANDERSON          IN 46013‐2304
STOVALL, ORAPHINE K      3923 DR MLK BLVD                                                                       ANDERSON          IN 46013‐2304
STOVALL, PATRICIA A      4051 COLTER DR                                                                         KOKOMO            IN 46902‐4487
STOVALL, PATRICK D       401 AMERISTAR BLVD AP 302                                                              SAINT CHARLES     MO 63301
STOVALL, PAULINE         13960 STEEL ST                                                                         DETROIT           MI 48227‐3936
STOVALL, RITA E          PO BOX 433                                                                             BONIFAY           FL 32425‐0433
STOVALL, ROBERT L        1484 MALLARD CV                                                                        TWINSBURG         OH 44087‐1269
STOVALL, RONALD E        2101 MONUMENT AVE                                                                      PORT SAINT JOE    FL 32456
STOVALL, RONALD L        15646 GOLFVIEW DR CT                                                                   RIVERVIEW         MI 48193‐8003
STOVALL, SAMMIE E        2420 MARMON CT                                                                         SANTA CLARA       CA 95051‐1851
STOVALL, SANFORD O       20415 HIGHWAY 20                                                                       TRINITY           AL 35673‐6631
STOVALL, TANAY P         19180 HEALY ST                                                                         DETROIT           MI 48234‐2152
STOVALL, TANAY PATRICE   19180 HEALY ST                                                                         DETROIT           MI 48234‐2152
STOVALL, TODD            23775 PHILIP DR                                                                        SOUTHFIELD        MI 48075‐3348
STOVALL, WILLIAM F       3298 TULLAMORE RD                                                                      CLEVELAND HTS     OH 44118‐2980
STOVALL, WILLIAM G       531 COREEN CT                                                                          CANTON            GA 30114‐7113
STOVALL, WILLIE MAE
STOVALL‐WHITE, RENEE     16700 SUNDERLAND RD                                                                    DETROIT          MI   48219‐4047
STOVAN G CHOLAKOV        5745 WILLOWCREST                                                                       NO HOLLYWOOD     CA   91601‐2142
STOVEK LAURA             STOVEK, LAURA                        4740 LIVERPOOL RAOD                               LAKE STATION     IN   46405‐1820
STOVEK, LAURA            4740 LIVERPOOL RD                                                                      LAKE STATION     IN   46405‐1820
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Name                         Address1                        Address2                         Address3   Address4            City             State Zip
STOVELL JR., LEICESTER C     2948 REGAL DR NW                                                                                WARREN            OH 44485‐1246
STOVELL, LEICESTER C         2948 REGAL DR NW                                                                                WARREN            OH 44485‐1246
STOVER CLAUDIA               921 ADAMS ST                                                                                    NEW CASTLE        PA 16101‐4401
STOVER FRANK (448038)        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD        OH 44067
                                                             PROFESSIONAL BLDG
STOVER HAROLD (408972)       SIMMONS FIRM                    PO BOX 559                                                      WOOD RIVER       IL   62095‐0559
STOVER II, STEVEN M          9753 ROBERTS DR                                                                                 FRANKLIN         OH   45005‐1031
STOVER JACKIE LEE (456464)   SKAGGS JOHN H                   405 CAPITOL STREET ‐ SUITE 607                                  CHARLESTON       WV   25301
STOVER JR, ROBERT C          66 RANSOM ST                                                                                    LOCKPORT         NY   14094‐4808
STOVER TRUCKING CO           RT 2 BOX 6                                                                                      ASHTON           WV   25503
STOVER, ALMA J               6210 BELVIDERE AVE                                                                              CLEVELAND        OH   44103‐3817
STOVER, ATHALENE L           2601 W CLAREMONT ST                                                                             PHOENIX          AZ   85017
STOVER, BARBARA M            7822 SUTTON PL NE                                                                               WARREN           OH   44484‐1457
STOVER, BETSY H              35 JESSON PKWY                                                                                  LOCKPORT         NY   14094‐5024
STOVER, BETTY J              425 WHISPERING PINES ST         DAN CUMMINS                                                     SPRINGBORO       OH   45066‐9301
STOVER, CAROL E              7911 STATE ROUTE 113 E                                                                          BERLIN HEIGHTS   OH   44814‐9646
STOVER, CAROLINE             22 EAGLE CREST PATH                                                                             PALM COAST       FL   32164‐6141
STOVER, CECIL R              3242 FILLMORE DR                                                                                BRUNSWICK        OH   44212‐3710
STOVER, CLARA M              1310 TIMBERWOOD CIRCLE                                                                          ANDERSON         IN   46012‐9732
STOVER, CRYSTAL M            2954 HERITAGE DR                                                                                KOKOMO           IN   46901‐5958
STOVER, CYNTHIA L            745 S APPERSON WAY                                                                              KOKOMO           IN   46901‐5430
STOVER, DANIEL C             2227 E MANNSIDING RD                                                                            HARRISON         MI   48625‐8157
STOVER, DANIEL G             995 PAMELA CIR                                                                                  MAINEVILLE       OH   45039‐8514
STOVER, DENNIE R             1818 MAGNOLIA DR S                                                                              FORT MEADE       FL   33841‐9753
STOVER, DENNIS M             8657 KENNEDY CIR N BLDG H A2                                                                    WARREN           MI   48093
STOVER, DIANE                3108 SWEETBRIAR RD SW                                                                           DECATUR          AL   35603‐2122
STOVER, DONALD J             PO BOX 86                                                                                       HILTON           NY   14468‐0086
STOVER, DOREEN M             217 GEORGE ST                                                                                   FLUSHING         MI   48433‐1645
STOVER, DOROTHY              922 PERKINS                                                                                     HARTFORD CITY    IN   47348
STOVER, DOYLE D              1618 DETROIT AVE                                                                                LINCOLN PARK     MI   48146‐3217
STOVER, EVELYN               4901 LONGFORD RD                                                                                HUBER HEIGHTS    OH   45424‐2525
STOVER, FLOYD F              PO BOX 281                                                                                      COLCORD          WV   25048‐0281
STOVER, GARY L               1211 WESTPORT RD                                                                                ANN ARBOR        MI   48103‐2571
STOVER, GERALD D             2163 GRANDVIEW RD                                                                               BEAVER           WV   25813‐9253
STOVER, GLENN E              PO BOX 318                                                                                      COOL RIDGE       WV   25825‐0318
STOVER, GREGORY L            12466 NEFF RD                                                                                   CLIO             MI   48420‐1823
STOVER, HAROLD               SIMMONS FIRM                    PO BOX 559                                                      WOOD RIVER       IL   62095‐0559
STOVER, HAROLD W             3325 BIG ISLAND RD                                                                              FREMONT          NE   68025‐6178
STOVER, HERMAN L             163 CLYDE JAMES DR                                                                              PLEASANT LAKE    MI   49272‐9717
STOVER, JACKIE LEE           SKAGGS JOHN H                   405 CAPITOL STREET ‐ SUITE 607                                  CHARLESTON       WV   25301
STOVER, JAMES E              8908 S EAST END AVE                                                                             CHICAGO          IL   60617‐2807
STOVER, JAMES E              322 LEANING TREE RD                                                                             GREENWOOD        IN   46142‐7465
STOVER, JAMES R              1170 CRYSTAL SPRINGS CT                                                                         RENO             NV   89519‐0655
STOVER, JANET P              1818 MAGNOLIA DR S                                                                              FORT MEADE       FL   33841‐9753
STOVER, JEAN                 6303 SHIMER DR                                                                                  LOCKPORT         NY   14094‐6405
STOVER, JEAN                 1413 RITSON RD S                                                            OSHAWA ON L1J 7M3
                                                                                                         CANADA
STOVER, JEAN H               16101 N EL MIRAGE RD APT 334                                                                    EL MIRAGE        AZ   85335
STOVER, JEAN H               1384 WEST AVE                                                                                   HILTON           NY   14468‐9172
STOVER, JERRY B              5252 MCEVER RD                                                                                  OAKWOOD          GA   30566‐3112
STOVER, JOHN J               6081 STONEGATE DR                                                                               BRIGHTON         MI   48116‐5183
STOVER, JOHN L               528 W MAUMEE AVE                                                                                NAPOLEON         OH   43545‐1927
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Name                          Address1                        Address2                        Address3   Address4         City           State Zip
STOVER, JOHN LEROY            528 W MAUMEE AVE                                                                            NAPOLEON        OH 43545‐1927
STOVER, JOSEPH                JACOBS LAW OFFICES OF JON       3031 STANFORD RANCH RD #2‐150                               ROCKLIN         CA 95765

STOVER, JOSEPH A              409 EMERSON AVE                                                                             PONTIAC        MI   48342‐1820
STOVER, KEITH A               1710 HAINES RD                                                                              LAPEER         MI   48446‐8605
STOVER, KENNETH D             PO BOX 177                                                                                  SPICELAND      IN   47385‐0177
STOVER, KENNETH G             106 CARLTON LN                                                                              DOVER          DE   19904‐3912
STOVER, KENNETH L             50 EL DORADO E                                                                              TUSCALOOSA     AL   35405‐3515
STOVER, KERMIT R              RT 81 BOX 44                                                                                GREENVILLE     WV   24945
STOVER, LARRY D               526 FOX RUN TRL APT E6                                                                      PEARL          MS   39208‐5709
STOVER, LEONA L               292 SMITH ST APT 213                                                                        CLIO           MI   48420‐1397
STOVER, LEONA L               292 SMITH STREET                APT 213                                                     CLIO           MI   48420
STOVER, LINDA L               57728 RIVERCREST DR                                                                         ELKHART        IN   46516‐6348
STOVER, LOLA B                PO BOX 281                                                                                  COLCORD        WV   25048‐0281
STOVER, LORINE                2163 GRANDVIEW RD                                                                           BEAVER         WV   25813‐9253
STOVER, MARK S                4409 KAMERON COURT                                                                          EVANS          GA   30809‐4240
STOVER, MARY M                106 CARLTON LN                                                                              DOVER          DE   19904‐3912
STOVER, MILDRED D             208 SURREY LANE                                                                             GREENVILLE     OH   45331‐2932
STOVER, MURIEL                9450 SESH RD                                                                                CLARENCE CTR   NY   14032‐9696
STOVER, ORA V                 2181 VANDYKE GREEN SPRINGS RD                                                               SMYRNA         DE   19977
STOVER, PAMELA G              5358 BROOKSTONE LN                                                                          GREENWOOD      IN   46142‐7706
STOVER, PAMELA L              35 KILLDEER CT                                                                              LAPEER         MI   48446‐4119
STOVER, PATRICIA J            223 MELROSE ST                                                                              NEW HAVEN      MO   63068‐1230
STOVER, PATRICIA J            223 MELROSE                                                                                 NEW HAVEN      MO   63068‐1230
STOVER, PATRICK J             7286 SURFWOOD DR                                                                            FENTON         MI   48430‐9353
STOVER, PAUL                  6979 CREEKVIEW DR                                                                           LOCKPORT       NY   14094‐9555
STOVER, PHYLLIS G.            330 PETERSBURG RD                                                                           COLUMBUS       OH   43207‐4189
STOVER, R B                   2870 PLUM CREEK DR                                                                          OAKLAND        MI   48363‐2151
STOVER, R BROOKS              2870 PLUM CREEK DR                                                                          OAKLAND        MI   48363‐2151
STOVER, RALPH W               13465 GATES RD                                                                              MULLIKEN       MI   48861‐9710
STOVER, RICHARD A             7085 DAVISON RD                                                                             DAVISON        MI   48423‐2074
STOVER, RICHARD ALAN          7085 DAVISON ROAD                                                                           DAVISON        MI   48423‐2074
STOVER, ROBERT C              9450 SESH RD                                                                                CLARENCE CTR   NY   14032‐9696
STOVER, ROBERT E              4000 WESTBROOK DR APT 416                                                                   BROOKLYN       OH   44144‐1250
STOVER, ROBERT W              309 E WASHINGTON ST                                                                         WAYNETOWN      IN   47990‐8213
STOVER, ROBERT W.             309 E WASHINGTON ST                                                                         WAYNETOWN      IN   47990‐8213
STOVER, RUSH H                1561 FERDINAND ST                                                                           DETROIT        MI   48209‐2105
STOVER, RUTH L                1132 MCCARLEY DR W                                                                          COLUMBUS       OH   43228‐3137
STOVER, STANLEY A             2431 LINDA DR NW                                                                            WARREN         OH   44485‐1708
STOVER, STANLEY A             2431 LINDA DR. N.W.                                                                         WARREN         OH   44485‐1708
STOVER, THOMAS A              1875 CANYON TERRACE DR                                                                      SPARKS         NV   89436‐3629
STOVER, THOMAS J              4014 KINGS MILL RD                                                                          NORTH BRANCH   MI   48461‐8962
STOVER, TIMOTHY A             1282 WESTBROOKE DR                                                                          LAPEER         MI   48446‐1258
STOVER, TIMOTHY ALLEN         1282 WESTBROOKE DR                                                                          LAPEER         MI   48446‐1258
STOVER, VELMA R               5947 HANCOCK RD                                                                             MONTAGUE       MI   49437‐9332
STOVER, WILLIAM               5435 MAIN STREET                                                                            NEW PRT RCHY   FL   34652‐2504
STOVER, WILLIAM A             631 ROLLING HILLS LN APT 1                                                                  LAPEER         MI   48446‐4742
STOVER, WILLIAM C             5277 LINDEN RD                                                                              SWARTZ CREEK   MI   48473‐8200
STOVER, WILLIAM CHRISTOPHER   5277 LINDEN RD                                                                              SWARTZ CREEK   MI   48473‐8200
STOVER, WILLIE F              APT 201                         11450 APACHE DRIVE                                          CLEVELAND      OH   44130‐9002
STOVER, WILLOW J              13481 ARMITAGE DR                                                                           CORAL          MI   49322‐9729
STOVERINK, CHRISTINE M
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Name                               Address1                         Address2                        Address3   Address4         City            State Zip
STOVERINK, LARRY G                 12890 RIDGEVIEW DR                                                                           PLATTE CITY      MO 64079‐7706
STOVERINK, TIMOTHY H               DOWD & DOWN                      100 NORTH BROADWAY ‐ STE 1580                               SAINT LOUIS      MO 63102

STOVERINK, TIMOTHY H               TURNER & ASSOCIATES PA           4702 W COMMERCIAL DR STE B3                                 N LITTLE ROCK   AR 72116‐7073
STOVERINK, TIMOTHY H
STOVESAND MILTON                   2123 COKER HAMPTON DR                                                                        STUTTGART       AR   72160‐6428
STOVEY, LAWRENCE A                 17866 HARBOR LN                                                                              FLINT           TX   75762‐9544
STOVEY, LYDIA V                    6173 MUIRFIELD DRIVE                                                                         GRAND BLANC     MI   48439‐2683
STOVEY, ROBERT W                   6173 MUIRFIELD DR                                                                            GRAND BLANC     MI   48439‐2683
STOVICEK, GEORGE J                 2600 KENSINGTON AVE                                                                          WESTCHESTER     IL   60154‐5131
STOVICH, MICHAEL S                 2663 LA RINCONADA PLACE                                                                      REDDING         CA   96002‐3708
STOW KENT ORTHOPAEDI               174 CURRIE HALL PKWY STE A       MICHAEL L. PRYCE MD                                         KENT            OH   44240‐4387
STOW SHERYL                        2076 CLICK RD                                                                                PETOSKEY        MI   49770‐8817
STOW SPORTS CENTER INC             3774 FISHCREEK RD                                                                            STOW            OH   44224‐4379
STOW SR, RICHARD W                 10399 67TH AVE LOT 60                                                                        SEMINOLE        FL   33772‐6408
STOW, LEROY E                      220 E STATE ST                                                                               NEW ROSS        IN   47968‐8086
STOW, ROBERT L                     44 HEATHER GLEN CIR                                                                          CROSSVILLE      TN   38558‐6434
STOWASSER PONTIAC BUICK GMC        600 E BETTERAVIA RD                                                                          SANTA MARIA     CA   93454‐7885
STOWASSER PONTIAC BUICK GMC        ROBERT STOWASSER                 600 E BETTERAVIA RD                                         SANTA MARIA     CA   93454‐7885
STOWASSER PONTIAC‐CADILLAC, INC.   ROBERT STOWASSER                 600 E BETTERAVIA RD                                         SANTA MARIA     CA   93454‐7885
STOWE HARRY (459368)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510
                                                                    STREET, SUITE 600
STOWE II, CHARLES L                3032 NORTH RD NE                                                                             WARREN          OH   44483‐4483
STOWE MURIEL ‐ METLIFE             STOWE, MURIEL                    24472 NORTHWESTERN HWY                                      SOUTHFIELD      MI   48075
STOWE WALTER                       1550 CRAYTON RD                                                                              NAPLES          FL   34102‐5124
STOWE, ALICE F                     1314 PARKWAY DR                                                                              ANDERSON        IN   46012‐4620
STOWE, ANDY J                      8298 N PORT                                                                                  GRAND BLANC     MI   48439‐8063
STOWE, ANNETTE M                   3032 NORTH RD NE                                                                             WARREN          OH   44483‐3043
STOWE, BILLY J                     16100 CEMETERY ROAD                                                                          NOBLE           OK   73068‐6807
STOWE, BRIANA K                    # 16                             2300 HAWAII DRIVE                                           JANESVILLE      WI   53548‐4464
STOWE, CATHY M                     3625 FIRETHORN DR                                                                            DEL CITY        OK   73115‐2334
STOWE, CLETUS D                    2331 W THOMPSON RD                                                                           FENTON          MI   48430‐9768
STOWE, CLIFFORD D                  4416 S CENTER RD                                                                             BURTON          MI   48519‐1446
STOWE, CLIFFORD DARRELL            4416 S CENTER RD                                                                             BURTON          MI   48519‐1446
STOWE, DALE L                      2435 ANDERS DR                                                                               WATERFORD       MI   48329‐4403
STOWE, DAVID M                     1946 LOMA LINDA LN                                                                           CENTERVILLE     OH   45459‐1359
STOWE, DAVID P                     5659 TUTTLE HILL RD                                                                          YPSILANTI       MI   48197‐7043
STOWE, DEBORAH SUE                 4645 LOVELAND RD                                                                             GRASS LAKE      MI   49240‐9106
STOWE, DOUGLAS A                   3801 EMBARCADERO ST                                                                          WATERFORD       MI   48329‐2244
STOWE, ELAINE R                    5479 AVERILL AVE S.W.                                                                        GRAND RAPIDS    MI   49548‐5704
STOWE, GARY A                      6147 KING ARTHUR DR                                                                          SWARTZ CREEK    MI   48473‐8808
STOWE, HARRY                       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510‐2212
                                                                    STREET, SUITE 600
STOWE, HERBERT D                   2571 GRIFFITH DR                                                                             CORTLAND        OH   44410‐9657
STOWE, HORACE                      1120 SUGAR HILL RD                                                                           BUFORD          GA   30518‐3422
STOWE, HUGH D                      PO BOX 645                                                                                   COMMERCE        GA   30529‐0013
STOWE, JACK E                      5129 VICKI ST                                                                                FORT WORTH      TX   76117‐2412
STOWE, JACK L                      PO BOX 684                                                                                   GRASS LAKE      MI   49240‐0684
STOWE, JANICE I                    252 STAHL AVE                                                                                CORTLAND        OH   44410‐1138
STOWE, JERRY S                     331 D WILLIAMS RD                                                                            MORTON          MS   39117‐9554
STOWE, JERRY SIGMON                331 D WILLIAMS RD                                                                            MORTON          MS   39117‐9554
STOWE, JOSHUA L                    9516 BEARD RD                                                                                LAINGSBURG      MI   48848‐9318
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Name                             Address1                              Address2                        Address3   Address4         City            State Zip
STOWE, KEITH A                   48696 CHAMBURY CT                                                                                 PLYMOUTH         MI 48170‐3243
STOWE, KEVIN LEROY
STOWE, LYLE L                    1155 GALE CT                                                                                      FENTON          MI   48430‐9715
STOWE, LYLE LLOYD                1155 GALE CT                                                                                      FENTON          MI   48430‐9715
STOWE, MARCUS O                  5088 CHAUNCEY DR NE                                                                               BELMONT         MI   49306‐9633
STOWE, MARGARET B                6565 N 19TH AVE APT 49                                                                            PHOENIX         AZ   85015‐1640
STOWE, MARGARET B                6565 N. 19TH AVE., #49                                                                            PHOENIX         AZ   85015‐1640
STOWE, MARGARET K                4015 KARA COURT                                                                                   HERMITAGE       PA   16148‐6148
STOWE, MARGARET K                4015 KARA CT                                                                                      HERMITAGE       PA   16148‐7715
STOWE, MARY W                    3010 ARTHUR RD                                                                                    SPRINGFIELD     OH   45502‐8524
STOWE, MURIEL L                  2841 GLENWOOD CT                                                                                  LAKE ORION      MI   48360‐1720
STOWE, PHYLLIS S                 1003 DAISY LN                                                                                     IRVING          TX   75061‐5231
STOWE, ROBERT N                  1707 LARCHMONT AVE. NE                                                                            WARREN          OH   44483
STOWE, ROY F                     5400 LELAND WAY                                                                                   ANDERSON        IN   46017‐9661
STOWE, ROYCE                     169 LE PARADIS BLVD                                                                               SHARPSBURG      GA   30277‐3607
STOWE, VIRGINIA E                11408 COCKLE DR APT 84                                                                            PORT RICHEY     FL   34668‐7103
STOWEFLAKE RESORT & CONFERENCE   1746 MOUNTAIN RD                                                                                  STOWE           VT   05672‐5099
CENTER
STOWELL JR, FRED T               2385 CEDAR PARK DR APT 115                                                                        HOLT            MI   48842‐3110
STOWELL MIKE                     DBA FIVE STAR ENVIRONMENTAL LL        408 EDWARD J ST                                             CLINTON         MI   49236‐9636
STOWELL, CLIFFORD G              213 CINDY LN                                                                                      BEDFORD         IN   47421‐8216
STOWELL, CLIFFORD GEORGE         213 CINDY LN                                                                                      BEDFORD         IN   47421‐8216
STOWELL, DAVID                   PO BOX 1292                                                                                       LELAND          NC   28451‐1292
STOWELL, DELORES J               6983 CAMELBACK DR NE                                                                              ROCKFORD        MI   49341‐9684
STOWELL, DOUGLAS C               PO BOX 283                                                                                        PALO            MI   48870‐0283
STOWELL, DUANE E                 4339 NEWARK RD                                                                                    ATTICA          MI   48412‐9647
STOWELL, DWIGHT J                5 CENTER ST                                                                                       FT COVINGTON    NY   12937‐1905
STOWELL, DWIGHT JOSEPH           5 CENTER ST                                                                                       FT COVINGTON    NY   12937‐1905
STOWELL, HAROLD R                8404 BEACHWOOD CT                                                                                 SPRING HILL     FL   34606‐1103
STOWELL, HENRIETTA               220 PROSPECT ST APT C6D                                                                           EAST ORANGE     NJ   07017‐2709
STOWELL, IDA A                   15894 19 MILE RD APT 243                                                                          CLINTON TWP     MI   48038‐6350
STOWELL, IDA A                   15894 19 MILE RD                      APT 243                                                     CLINTONTWSP     MI   48038
STOWELL, IRVING W                681 MUIRFIELD CIR                                                                                 BOWLING GREEN   KY   42104‐5550
STOWELL, JOHN H                  2577 HEARTLAND BLVD APT 2                                                                         IONIA           MI   48846‐8462
STOWELL, KATHRYN I               416 UNION CHAPEL ROAD                                                                             MONTICELLO      KY   42633
STOWELL, MANLEY I                12155 ELMS RD                                                                                     BIRCH RUN       MI   48415‐8786
STOWELL, OWEN R                  416 UNION CHAPEL RD                                                                               MONTICELLO      KY   42633‐3448
STOWELL, ROBERT A                2634 GRANDE VALLEY BLVD APT 4114                                                                  ORANGE CITY     FL   32763‐7822
STOWELL, ROBERT W                876 MEADOWLANDS DR                                                                                ELLETTSVILLE    IN   47429‐1077
STOWELL, ROBERT WILLIAM          876 MEADOWLANDS DR                                                                                ELLETTSVILLE    IN   47429‐1077
STOWELL, RODERICK H              116 S 6TH ST                                                                                      SABETHA         KS   66853‐1904
STOWELL, RODERICK H              116 SOUTH 6TH STREET                                                                              SABETHA         KS   66534‐1904
STOWELL, TERRY R                 10308 PACKARD DR                                                                                  FISHERS         IN   46037‐9004
STOWER RUSSELL C                 C/O GOLDBERG PERSKY & WHITE PC        1030 FIFTH AVENUE                                           PITTSBURGH      PA   15219
STOWER, RUSSELL C                GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                SAGINAW         MI   48604‐2602
                                                                       260
STOWERS HAL                      STOWERS, HAL                          4030 WAKE FOREST RD STE 300                                 RALEIGH         NC 27609‐6800
STOWERS III, JOSEPH H            PO BOX 5381                                                                                       FORT WORTH      TX 76108
STOWERS IVAN (448041)            KELLEY & FERRARO LLP                  1300 EAST NINTH STREET , 1901                               CLEVELAND       OH 44114
                                                                       BOND COURT BUILDING
STOWERS JR, JIMMIE C             7090 FELIX DR                                                                                     CLARKSTON       MI 48346‐2614
STOWERS SABRINA                  417 NEW HOPE RD                                                                                   FAYETTEVILLE    GA 30214‐3897
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Name                            Address1                          Address2                       Address3   Address4         City           State Zip
STOWERS, ALBERT M               9122 W WHEELER RD                                                                            EVANSVILLE      WI 53536‐8332
STOWERS, BYRON L                4018 W 1550 N                                                                                ELWOOD          IN 46036‐9234
STOWERS, CURTIS L               1806 E PICKETT ST                                                                            SPRINGFIELD      IL 62703‐4825
STOWERS, DAVID A                3729 LEACH RD                                                                                GAINESVILLE     GA 30506‐3596
STOWERS, DONALD L               3172 PINE HAVEN DR                                                                           GAINESVILLE     GA 30506‐4231
STOWERS, DOUGLAS                6847 GROVE ST                                                                                BROOKFIELD      OH 44403‐9524
STOWERS, ELMA W                 3345 EAST 143 ST                                                                             CLEVELAND       OH 44120‐4014
STOWERS, ERMIE L                3900 MEADOWLAWN DR                                                                           SANDUSKY        OH 44870‐5686
STOWERS, HAL                    KAHN & ASSOCIATES LLC             4030 WAKE FOREST RD STE 300                                RALEIGH         NC 27609‐6800
STOWERS, IVAN                   KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND       OH 44114
                                                                  BOND COURT BUILDING
STOWERS, JAMES P                6073 RIDGE RD                                                                                CORTLAND       OH    44410‐9761
STOWERS, JEREMY                 349 NORTH LINDEN STREET                                                                      DU QUOIN       IL    62832‐1021
STOWERS, JERRY ALLEN            SHANNON LAW FIRM                  100 W GALLATIN ST                                          HAZLEHURST     MS    39083‐3007
STOWERS, JIMMIE C               73 PRALL ST                                                                                  PONTIAC        MI    48341‐1437
STOWERS, JOAN M                 6847 GROVE ST                                                                                BROOKFIELD     OH    44403‐9524
STOWERS, JOEL                   528 S JEFFERSON AVE                                                                          DU QUOIN       IL    62832‐2407
STOWERS, MARK N                 5263 N STATE ROAD 135                                                                        SALEM          IN    47167‐6025
STOWERS, MARSHA                 910 COUNTRY ESTATES RD                                                                       DANVILLE       WV    25053
STOWERS, MARSHA A               BORDAS & BORDAS                   1358 NATIONAL RD                                           WHEELING       WV    26003‐5742
STOWERS, MARY E                 5105 TINCHER RD                                                                              INDIANAPOLIS   IN    46221‐3932
STOWERS, RICHARD K              10204 EAST 450 ROAD                                                                          CLAREMORE      OK    74017‐0073
STOWERS, ROBERT H               1470 ORA RD                                                                                  OXFORD         MI    48371‐3238
STOWERS, ROBERT L               10709 LINNELL DR                                                                             SAINT LOUIS    MO    63136‐4532
STOWERS, ROOSEVELT              215 GREEN GLEN DR                                                                            PITTSBURGH     PA    15227‐4119
STOWERS, RUTH A                 24111 W HADLEY ST                                                                            BUCKEYE        AZ    85326‐1865
STOWERS, RYAN                   PO BOX 1267                                                                                  DANVILLE       WV    25053‐1267
STOWERS, RYAN S
STOWERS, SAM H                  8038 WINGHAM LAKE WAY 2                                                                      INDIANAPOLIS    IN   46214
STOWERS, SCOTTIE DALE
STOWERS, TOM J                  4011 17TH ST                                                                                 ECORSE         MI    48229‐1309
STOWERS, TOMMA                  10709 LINNELL DR                                                                             SAINT LOUIS    MO    63136‐4532
STOWERS, WILLEAN                8607 CAMBRIDGE                                                                               KANSAS CITY    MO    64138‐2841
STOWFLAKE RESORT & CONFERENCE   1746 MOUNTAIN RD                                                                             STOWE          VT    05672‐5099
STOWIK, WALTER J                38 WALLACE ROW                                                                               WALLINGFORD    CT    06492‐3137
STOWITTS, DAVID M               40 PEARL ST NW STE 805            C/O J STEPHEN MARSHALL                                     GRAND RAPIDS   MI    49503‐3031
STOWITTS, DOUGLAS L             4125 HAMLET CV                                                                               BATH           MI    48808‐8782
STOY CHANDLER JR                181 PARKVIEW DR                                                                              COMMERCE       GA    30529‐2627
STOY HOLLAND                    206 RIDGEFIELD DR                                                                            BOSSIER CITY   LA    71111‐2369
STOY, ANITA M.                  23 ASPEN CT BIRCH HOLLOW                                                                     BORDENTOWN     NJ    08505
STOY, DAVID F                   511 OLD NORTH ST                                                                             COLUMBIANA     OH    44408‐1115
STOY, WILLIAM D                 7477 S LOWELL RD                                                                             SAINT JOHNS    MI    48879‐9251
STOYAK JR, PETER J              5528 BELLE REEVE CT                                                                          LIBERTY TWP    OH    45011‐8726
STOYAK, JOHN J                  2377 S LINDEN RD                  C/O EDWARD G HENNEKE           SUITE B                     FLINT          MI    48532‐5430
STOYAK, JOSEPH P                210 SUNNYSIDE DR                                                                             LEXINGTON      TN    38351‐7584
STOYANOFF, PETER J              3561 LAKESHORE RD                                                                            LEXINGTON      MI    48450‐9313
STOYANOV, MARILYN               262 WEST GARWOOD DRIVE                                                                       TALLMADGE      OH    44278‐1320
STOYANOVITCH, ROCKWELL J        29476 HOOVER RD                                                                              WARREN         MI    48093‐3456
STOYCHEFF, ROBERT L             409 FENWAY RD                                                                                COLUMBUS       OH    43214‐1413
STOYE, CHRISTINE                4864 W LOWE RD                                                                               SAINT JOHNS    MI    48879‐9474
STOYKA, JOHN                    5507 BROWNFIELD DR                                                                           PARMA          OH    44129‐4203
STOYLE, FRANKLYN E              270 ALBEMARLE ST                                                                             ROCHESTER      NY    14613‐1406
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Name                        Address1                       Address2                   Address3   Address4         City              State Zip
STOYLE, MELISSA J           270 ALBEMARLE ST                                                                      ROCHESTER          NY 14613‐1406
STOYNOFF, KATHLEEN L        7541 EMBASSY DR                                                                       CANTON             MI 48187‐1543
STOYONOVICH, PAUL           1302 LESLEY AVE                ROSE WALK VILLAGE                                      INDIANAPOLIS       IN 46219‐3144
STRAASBURG, DANIEL A        3407 LA MANCHA DR                                                                     JANESVILLE         WI 53546‐1326
STRAATON BARBARA            PO BOX 983                                                                            NEWTOWN            PA 18940
STRAAYER, DAVID H           3825 FULLER AVE NE                                                                    GRAND RAPIDS       MI 49525‐2250
STRAAYER, DONALD B          6919 OLD LANTERN DR SE                                                                CALEDONIA          MI 49316‐9064
STRAAYER, ESTHER            231 LAWNDALE AVE NE                                                                   GRAND RAPIDS       MI 49503‐3735
STRAAYER, ESTHER            231 LAWNDALE N E                                                                      GRAND RAPIDS       MI 49503
STRAAYER, JACK H            1149 4 MILE RD NE                                                                     GRAND RAPIDS       MI 49525‐2652
STRAB FRANK J (482627)      ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                               WILMINGTON         DE 19801‐1813
STRABA, DOROTHY L           6362 BADGER DR                                                                        LOCKPORT           NY 14094‐5948
STRABEL JR, AARON J         4436 OLD COLONY DR                                                                    FLINT              MI 48507‐6212
STRABEL, NORMA V            4436 OLD COLONY DR                                                                    FLINT              MI 48507‐6212
STRABLE III, WILLIAM F      22532 AMHERST ST                                                                      ST CLAIR SHRS      MI 48081‐2542
STRABLE, ERIC               78207 DELAND RD                                                                       RICHMOND           MI 48062
STRABLEY JR, PAUL R         830 DOLLY DR                                                                          BOWLING GREEN      OH 43402‐8538
STRABLEY JR, PAUL RICHARD   830 DOLLY DR                                                                          BOWLING GREEN      OH 43402‐8538
STRABLEY, THOMAS R          3017 DORIAN DR                                                                        TOLEDO             OH 43614‐5239
STRABLEY, THOMAS RALPH      3017 DORIAN DR                                                                        TOLEDO             OH 43614‐5239
STRABLOW, DONALD L          235 PINE BLUFFS RD                                                                    ROSCOMMON          MI 48653‐8329
STRABLOW, LAVERNE G         83 GEORGIA AVE                                                                        LOCKPORT           NY 14094‐5711
STRACE, LARRY T             59031 GOLDEN OAK CT                                                                   WASHINGTON         MI 48094‐3726
STRACENER, CYNTHIA A        9439 W WESTRIDGE DR                                                                   ODESSA             TX 79764‐8923
STRACENER, GERALDENE        603 HIETT AVE APT 3                                                                   ARLINGTON          TX 76010‐2525
STRACENSKY, STEVEN E        1805 COCONUT PALM CIR                                                                 NORTH PORT         FL 34288‐8653
STRACH, RICHARD S           1707 MYRTLE AVE                                                                       MADISON HTS        MI 48071‐3039
STRACHAN TERRY (642548)     KAZAN MCCLAIN EDISES ABRAMS,   171 12TH ST STE 300                                    OAKLAND            CA 94607‐4911
                            FERNANDZ, LYONS & FARRISE
STRACHAN, CAROL A           53 OLD STONE LN                                                                       ROCHESTER         NY   14615‐1536
STRACHAN, DAVID W           1000 N CHIPMAN ST                                                                     OWOSSO            MI   48867‐4925
STRACHAN, GENEVA            1587 APPLE CREEK TRL                                                                  GRAND BLANC       MI   48439‐4963
STRACHAN, GEORGE R          3416 BOY SCOUT RD                                                                     BAY CITY          MI   48706‐1214
STRACHAN, JAMES R           12 HIDDEN BROOK RD                                                                    HAMDEN            CT   06518‐1765
STRACHAN, KEVIN G           5056 MCCARTY RD                                                                       SAGINAW           MI   48603‐9620
STRACHAN, LASCELLES W       49 GRAYSON CIR                                                                        WILLINGBORO       NJ   08046‐3311
STRACHAN, LAURA L           1000 N CHIPMAN ST                                                                     OWOSSO            MI   48867‐4925
STRACHAN, NICOLE M          54084 CARRINGTON DR                                                                   SHELBY TOWNSHIP   MI   48316‐1363
STRACHAN, NORMAN K          510 E BRITTON RD                                                                      MORRICE           MI   48857‐9697
STRACHAN, R D               494 HELEN DR                                                                          HUBBARD           OH   44425‐2251
STRACHAN, RAYMOND J         30870 PLUM LANE DR                                                                    MADISON HEIGHTS   MI   48071‐1508
STRACHAN, RICHARD D         3344 MAINE AVE                                                                        SEBRING           FL   33872‐2506
STRACHAN, RONALD J          5055 BAXMAN RD                                                                        BAY CITY          MI   48706‐3064
STRACHAN, TERRENCE A        827 WESTLAKE DR                                                                       ORMOND BEACH      FL   32174‐1476
STRACHAN, TERRY             KAZAN MCCLAIN EDISES ABRAMS,   171 12TH ST STE 300                                    OAKLAND           CA   94607‐4911
                            FERNANDZ, LYONS & FARRISE
STRACHAN, WILLIAM J         3285 SPRING MEADOW DR                                                                 ROCHESTER         MI   48306‐2059
STRACHOTA, DENNIS           7718 N CARLAND RD                                                                     ELSIE             MI   48831‐9403
STRACHOTA, DONALD D         7954 DAVIS RD                                                                         SAGINAW           MI   48604‐9259
STRACHOTA, JOHN C           6175 E FRENCH RD                                                                      ELSIE             MI   48831‐8722
STRACK CAROL                STRACK, CAROL                  1060 1ST AVE STE 400                                   KING OF PRUSSIA   PA   19406‐1336
STRACK, ANNA M              32 LAKESIDE DR                                                                        MATAWAN           NJ   07747‐3015
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Name                        Address1                            Address2                           Address3   Address4         City               State Zip
STRACK, CAROL               KAHN & ASSOCIATES                   55 PUBLIC SQ STE 650                                           CLEVELAND           OH 44113‐1909
STRACK, CHRISTA R           8323 HAYES RD                                                                                      MECOSTA             MI 49332‐9521
STRACK, DAVID F             103 FROST ST                                                                                       EATON RAPIDS        MI 48827
STRACK, EDWARD C            9399 PRAIRIE ST                                                                                    ROCHESTER           IN 46975‐9136
STRACK, EDWARD C.           PO BOX 157                                                                                         GARRETT             IN 46738‐0157
STRACK, ERNEST J            880 COVINGTON CT                                                                                   MARYSVILLE          MI 48040‐2019
STRACK, JAMES W             8323 HAYES RD                                                                                      MECOSTA             MI 49332‐9521
STRACK, RENEE
STRACK, VIRGINIA A          2843 S MAUXFERRY RD                                                                                FRANKLIN           IN    46131‐8966
STRACKE, EVELYN J           651 E TANGELO DR                                                                                   TUCSON             AZ    85737‐6629
STRADA MICHAEL              42 YATES AVE                                                                                       NEWTON             NJ    07860
STRADDER, ALLYN M           PO BOX 246                                                                                         SCOTTSVILLE        NY    14546‐0246
STRADDER, FRANK R           1106 WORTHINGTON DRIVE                                                                             DELTONA            FL    32738‐6132
STRADE, DONALD R            280 S. WASHINGTON STREET            ROOM 130                                                       NORTON             MA    02766
STRADE, DONALD R            520 MAIN ST APT 1603                                                                               MALDEN             MA    02148‐3908
STRADER ARTHUR L (626794)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA    23510
                                                                STREET, SUITE 600
STRADER BILLY (657778)      GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                     EDWARDSVILLE        IL   62025‐0959
                            ANTOGNOLI
STRADER I I I, RUSSELL S    7926 HARRINGTON AVE                                                                                DAYTON             OH    45415‐2311
STRADER III, RUSSELL S      7926 HARRINGTON AVE                                                                                DAYTON             OH    45415‐2311
STRADER III,RUSSELL S       7926 HARRINGTON AVE                                                                                DAYTON             OH    45415‐2311
STRADER JR, ROBERT A        1818 W PARKWAY DR.                                                                                 PIQUA              OH    45356‐4430
STRADER JR, WILLIS F        729 SAPP RD APT 203                                                                                RAVENNA            OH    44266‐2553
STRADER MARILYN             STRADER, MARILYN                    33900 WEST 8 MILE ROAD SUITE 149                               FARMINGTON HILLS   MI    48335

STRADER, ANGELA M           651 CALUMET LN                                                                                     DAYTON             OH 45427
STRADER, ARTHUR L           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510‐2212
                                                                STREET, SUITE 600
STRADER, BILLY              GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                     EDWARDSVILLE        IL   62025‐0959
                            ANTOGNOLI
STRADER, BILLY              C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                         EDWARDSVILLE        IL   62025
                            ROWLAND PC
STRADER, CAROL J            380 OTTAWA WAY                                                                                     ROCKLEDGE          FL    32955‐5928
STRADER, CYNTHIA L          2720 COZY LN                                                                                       MORAINE            OH    45439‐1657
STRADER, FRANCISCA Y        10446 LAUREL POINTE LN              C/O CHARLES J. STRADER JR.                                     KNOXVILLE          TN    37931‐3118
STRADER, GAY C              163 COTTON CREEK DR                                                                                MCDONOUGH          GA    30252‐9011
STRADER, GLADYS C           15448 IRELAND ROAD                                                                                 MOORES HILL        IN    47032‐9306
STRADER, JAMES E            10076 RONNIE RD                                                                                    CINCINNATI         OH    45215‐1319
STRADER, JAMES M            575 W BUTTERFIELD HWY                                                                              OLIVET             MI    49076‐9630
STRADER, JEFFREY S          6774 QUARTERHORSE DR                                                                               SPRINGBORO         OH    45066‐7780
STRADER, JERRY A            2586 PEEBLES RD                                                                                    TROY               OH    45373‐8513
STRADER, JOHN E             8665 GERA RD                                                                                       BIRCH RUN          MI    48415‐9717
STRADER, JR.,JERRY A        1347 PALOMINO AVE                                                                                  VANDALIA           OH    45377‐9405
STRADER, LAWRENCE A         PO BOX 224                                                                                         LIBERTY            KY    42539‐0224
STRADER, LOIS R             8665 GERA RD                                                                                       BIRCH RUN          MI    48415‐9717
STRADER, PAUL D             1127 COUNTY ROUTE 56                                                                               POTSDAM            NY    13676‐3350
STRADER, RACHAEL J          3933 COCHISE TERRACE                                                                               SARASOTA           FL    34233‐1526
STRADER, ROGER A            2428 TENNYSON DR                                                                                   BELLBROOK          OH    45305‐1744
STRADER, ROGER T            3829 OAK PARK AVE                                                                                  BERWYN             IL    60402‐3959
STRADER, SELMA L            2659 DUNSTAN DR NW                                                                                 WARREN             OH    44485‐1506
STRADER, STEVE E            11075 WOODLAND DR                                                                                  HOUGHTON LAKE      MI    48629‐9170
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Name                                 Address1                         Address2                  Address3   Address4         City            State Zip
STRADER, VICKIE K                    11799 BUNKER HIGHWAY                                                                   EATON RAPIDS     MI 48827‐9281
STRADER, VICKIE K                    11799 BUNKER HWY                                                                       EATON RAPIDS     MI 48827‐9281
STRADER, WILLIAM R                   3869 N 800 W                                                                           MIDDLETOWN       IN 47356
STRADFORD, STANLEY                   309 E MADISON AVE                                                                      OWENSVILLE       MO 65066‐1435
STRADINGER I I, ROBERT C             841 W BARNES LAKE RD                                                                   COLUMBIAVILLE    MI 48421‐9383
STRADINGER, THOMAS R                 5536 MICK AVE SE                                                                       GRAND RAPIDS     MI 49548‐5857
STRADINGER, WILLIAM R                251 JACQUALYN DR                                                                       LAPEER           MI 48446‐4133
STRADLEY RONON STEVENS & YOUNG       ATTN ACCOUNTING                  2600 ONE COMMERCE SQ                                  PHILADELPHIA     PA 19103‐7018
STRADLEY, JAMES T                    524 CLEVE WRIGHT RD                                                                    DAWSONVILLE      GA 30534‐3002
STRADLING YOCCA CARLSON & RAUTH PC   PO BOX 7680                                                                            NEWPORT BEACH    CA 92658‐7680

STRADLING, DAVID A                   299 COUNTRYSIDE DR N                                                                   TROY            OH   45373‐4584
STRADTMAN, BARBARA A                 1414 JULIANNE CIR                                                                      SANDUSKY        OH   44870‐7032
STRADTMAN, WILLIAM E                 3 CREEK WALK                                                                           GUYTON          GA   31312
STRADTNER, MARK                      4317 VASSAR DR                                                                         TROY            MI   48085‐7022
STRADWICK OSHAWA CO INC
STRADWICK, KENNY L                   2602 E 2ND ST                                                                          FLINT           MI 48503‐2236
STRADWICK, KENNY LEROY               2602 E 2ND ST                                                                          FLINT           MI 48503‐2236
STRADWICK, OPHELIA J                 1938 LYNBROOK DR                                                                       FLINT           MI 48507‐6036
STRADWICKS (OSHAWA) CO LTD
STRAEBEL, SUZANNE M                  6491 CRYSTAL BEACH ROAD                                                                RAPID CITY      MI   49676
STRAEHLY, ELVIS V                    4041 CHIPPEWA TRL                                                                      HALE            MI   48739‐9042
STRAETER III, WILLIAM P              13704 GRANADA DR                                                                       LEAWOOD         KS   66224‐3000
STRAETER, JULIE M                    13704 GRANADA DR 1202                                                                  OVERLAND PARK   KS   66224
STRAFFORD TIRE & BATTERY             118 BROADWAY                                                                           DOVER           NH   03820‐3230
STRAGAND, WANDA F                    775 S BALDWIN LANE                                                                     ROMEOVILLE      IL   60446‐5255
STRAGER, WILLIAM E                   530 WYNGATE DR                                                                         ROCHESTER       MI   48307‐6012
STRAGIER, STEVEN R                   1425 VICTOR AVE                                                                        LANSING         MI   48910‐6512
STRAH, DONALD J                      2300 NEELY AVE                                                                         MIDLAND         TX   79705‐7339
STRAH, MICHAEL P                     17360 STATE ROUTE 57                                                                   GRAFTON         OH   44044‐9649
STRAH, PATRICIA J                    28662 FOREST RD                                                                        WILLOWICK       OH   44095‐5015
STRAHAM JR, EARNEST                  APT 1072                         1060 RIVER VALLEY DRIVE                               FLINT           MI   48532‐2922
STRAHAM, BETTY J                     2041 SOUTHERLAND AVE                                                                   DALLAS          TX   75203‐4532
STRAHAM, CARL D                      5119 CALKINS RD                                                                        FLINT           MI   48532‐3404
STRAHAM, CARL D                      8027 DUNGARVIN DR                                                                      GRAND BLANC     MI   48439‐8161
STRAHAM, CAROLYN B                   5920 SUSAN ST                                                                          FLINT           MI   48505‐2576
STRAHAM, LENNIE B                    2029 MCAVOY ST                                                                         FLINT           MI   48503‐4206
STRAHAM, MAMIE L                     PO BOX 423                                                                             CLARKSTON       MI   48347‐0423
STRAHAM, MICHAEL D                   1605 N FRANKLIN AVE                                                                    FLINT           MI   48506‐3754
STRAHAM, MICHAEL DEWAYNE             1605 N FRANKLIN AVE                                                                    FLINT           MI   48506‐3754
STRAHAM, MILDRED V                   5402 SARA ROSE DR                                                                      FLINT           MI   48505‐1075
STRAHAM, MILTON                      425 W HOME AVE                                                                         FLINT           MI   48505‐2633
STRAHAM, SHERMAN                     6902 DANIEL DR                                                                         FLINT           MI   48505
STRAHAM, TOMMIE L                    927 BURLINGTON DR                                                                      FLINT           MI   48503‐2922
STRAHAM‐FLYNN, REGINA M              PO BOX 320298                                                                          FLINT           MI   48532‐0005
STRAHAN, DOROTHY M                   4155 NE THREE MILE LN UNIT 137                                                         MCMINNVILLE     OR   97128‐9438
STRAHAN, GERALD E                    234 PATTERSON DR                                                                       COLUMBIA        TN   38401‐5590
STRAHAN, GLORIA J                    4801 W STOLL RD                                                                        LANSING         MI   48906‐9384
STRAHAN, MATTHEW                     5920 S WOOD ST                                                                         CHICAGO         IL   60636‐1609
STRAHAN, MATTHEW                     901 EDGEWOOD DR                                                                        COLUMBIA        TN   38401‐4748
STRAHAN, MICHAEL L                   4801 W STOLL RD                                                                        LANSING         MI   48906‐9384
STRAHAN, OLA E                       137 HIGHWAY 856                                                                        RAYVILLE        LA   71269‐4511
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Name                               Address1                         Address2                      Address3   Address4               City           State Zip
STRAHAN, ROBERT H                  915 W STATE ROAD 28                                                                              MUNCIE          IN 47303‐9473
STRAHAN, ROBERT M                  6428 RANGEVIEW DR                                                                                DAYTON          OH 45415‐1930
STRAHAN, SHARON A.                 383 LEROY ST                                                                                     FERNDALE        MI 48220‐1891
STRAHAN, THOMAS B                  PO BOX 117                                                                                       INGLIS          FL 34449‐0117
STRAHAN, THOMAS C                  242 ATLANTIC AVE                                                                                 SHREVEPORT      LA 71105‐3027
STRAHINIC JR, GEORGE N             APT 201                          7494 MANOR CIRCLE                                               WESTLAND        MI 48185‐2039
STRAHL, JOSEPH R                   9235 DOUBLOON RD                                                                                 INDIANAPOLIS    IN 46268‐3208
STRAHLE & HESS GMBH                LM LANGEN LOCHLE 4                                                        ALTHENGSLETT D‐75382
                                                                                                             GERMANY
STRAHLE, GORDON L                  6141 S AIRPORT RD                                                                                SAINT JOHNS    MI   48879‐9267
STRAHLE, JAMES D                   3915 N VIRGINIA AVE                                                                              MUNCIE         IN   47304‐1550
STRAHLEM, JOHN T                   1617 ROYAL CENTER PIKE                                                                           LOGANSPORT     IN   46947‐1082
STRAHLER, MARY M                   6360 MILLBANK DRIVE                                                                              CENTERVILLE    OH   45459‐2245
STRAHM JR, CHARLES F               7423 SHERMAN RD                                                                                  FREDERIC       MI   49733
STRAHM JR, CHARLES F               206 WEST PARK ROAD               P.O BOX 626                                                     HARRISON       MI   48625
STRAHM, CHARLES F                  9700 DOWNING RD                                                                                  BIRCH RUN      MI   48415‐9211
STRAHM, DEBBIE A                   6773 MISTY WILLOW CT                                                                             SAN JOSE       CA   95120‐5417
STRAHM, RANDY L                    8472 W TUSCOLA RD                                                                                FRANKENMUTH    MI   48734‐9564
STRAHOWSKI, FRANCES P              82 GEARY AVE                                                                                     BRISTOL        CT   06010‐6444
STRAIGHT CHARLES (481301)          COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                         HOUSTON        TX   77002‐1751
STRAIGHT EXPRESS TRUCKING INC      PO BOX 547                                                                                       GREENVILLE     NC   27835‐0547
STRAIGHT FORWARD AUTO SERVICE      4646 KINGSTON RD                                                          SCARBOROUGH ON M1E
                                                                                                             2P9 CANADA
STRAIGHT KEISHA                    STRAIGHT, KEISHA                 824 KUMLER AVE                                                  DAYTON         OH 45402‐5912
STRAIGHT LINE AUTOMOTIVE EQUIP     9640 W MAPLE GROVE RD            PO BOX 568                                                      ANDREWS        IN 46702‐9516
STRAIGHT LINE AUTOMOTIVE EQUIPMENT 9640 W MAPLE GROVE RD            PO BOX 568                                                      ANDREWS        IN 46702‐9516

STRAIGHT LINE EXPRESS INC          PO BOX 232                                                                                       MT ZION        IL 62549‐0232
STRAIGHT RAY ELVER (472177)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK        VA 23510
                                                                    STREET, SUITE 600
STRAIGHT SHOT EXPRESS              6677 LOGAN AVE                   DELIVERY SERVICE INC                                            BELVIDERE      IL   61008‐9023
STRAIGHT SHOT EXPRESS              DIVSION OF RAPID RESPONSE INC    1646 HOMESTEAD RD                                               MARSHALL       WI   53559‐9496
STRAIGHT SHOT EXPRESS              STEVE DZIKOWICH                  5907 PRAIRIE ST                                                 SCHOFIELD      WI   54476‐4200
STRAIGHT STEEL COMPANY             PO BOX 2783                                                                                      SOUTHFIELD     MI   48037‐2783
STRAIGHT, BONNIE L                 351 E ORVIS ST APT C                                                                             MASSENA        NY   13662‐3489
STRAIGHT, CHARLES                  COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                         HOUSTON        TX   77002‐1751
STRAIGHT, EDGAR S                  5313 DOLPHIN LN                                                                                  CHARLOTTE      NC   28215‐8215
STRAIGHT, EDGAR S                  426 W DEWALD ST                                                                                  FORT WAYNE     IN   46802
STRAIGHT, GARY R                   2907 S STATE ROUTE 134 LOT 20                                                                    WILMINGTON     OH   45177‐9712
STRAIGHT, GEORGE E                 PO BOX 82                                                                                        DIAMOND        OH   44412‐0082
STRAIGHT, JERRY J                  203 VINEYARD DR                                                                                  ROCHESTER      NY   14616‐2009
STRAIGHT, KEISHA                   824 KUMLER AVE                                                                                   DAYTON         OH   45402‐5912
STRAIGHT, LENYS W                  1711 GODFREY AVE SW                                                                              WYOMING        MI   49509‐1305
STRAIGHT, MARY E                   7873 EXETER BLVD E                                                                               TAMARAC        FL   33321‐8798
STRAIGHT, MARY LYNN                27 DEER TRL                                                                                      SAGINAW        MI   48638‐7374
STRAIGHT, MARY LYNN                27 DEER TRAIL                                                                                    SAGINAW        MI   48638
STRAIGHT, RAY ELVER                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK        VA   23510‐2212
                                                                    STREET, SUITE 600
STRAIGHT, ROBERT J                 3870 N LAPEER RD                                                                                 LAPEER         MI   48446‐8775
STRAIGHTLINE AUTOMOTIVE            5512 E GUY TERRY RD                                                                              SPRINGDALE     AR   72764‐7766
STRAIGHTLINE AUTOMOTIVE            5612 E GUY TERRY RD                                                                              SPRINGDALE     AR   72764‐7766
STRAIN DOTTIE                      425 SPYGLASS RD                                                                                  MC QUEENEY     TX   78123‐3420
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Name                      Address1                         Address2                      Address3   Address4               City                 State Zip
STRAIN JR, ROBERT C       PO BOX 9022                      GM KOREA                                                        WARREN                MI 48090‐9022
STRAIN JR., THOMAS P      6252 DIANA DR                                                                                    POLAND                OH 44514‐1830
STRAIN JR., THOMAS P.     6252 DIANA DR                                                                                    POLAND                OH 44514‐1830
STRAIN MARY               16301 S STATE HIGHWAY 208                                                                        ROBERT LEE            TX 76945‐2830
STRAIN WYLIE E (429889)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK               VA 23510
                                                           STREET, SUITE 600
STRAIN, BETTY S           4016 BOBBIN LN                                                                                   ADDISON              TX   75001‐3103
STRAIN, BRADLEY K         1911 WESTGATE AVE                                                                                PLYMOUTH             IN   46563‐7817
STRAIN, CECIL A           1331 HIGHLAND DR                                                                                 DUNCANVILLE          TX   75137‐3221
STRAIN, CHARLES J         140 CORVETTE DR                                                                                  MARIETTA             GA   30066‐5906
STRAIN, DONALD C          122 BUISDALE DR                                                                                  INDIANAPOLIS         IN   46214‐3912
STRAIN, DONALD E          2005 SAXON DR                                                                                    NEW SMYRNA BEACH     FL   32169‐3246
STRAIN, HELEN B           2532 LONGPINE LN                                                                                 SAINT CLOUD          FL   34772‐8823
STRAIN, HOWARD            5414 FLETCHER AVE                                                                                FORT WORTH           TX   76107‐6720
STRAIN, JACK R            527 VENTURA DR                                                                                   FOREST PARK          GA   30297‐3452
STRAIN, JILL M            10 CUSHMAN LNDG                                                                                  PLYMPTON             MA   02367‐1726
STRAIN, JOYCE A           1597 INDIAN SPRINGS DR                                                                           O FALLON             MO   63366‐5980
STRAIN, LORINE            2005 SAXON DR                                                                                    NEW SMYRNA BEACH     FL   32169‐3246
STRAIN, LUEVINNIA         4183 CHAPEL LAKE DR                                                                              DECATUR              GA   30034‐3568
STRAIN, MYRON I           233 FIELDS CHAPEL RD                                                                             CANTON               GA   30114‐7836
STRAIN, NANCY C           2100 E NIXON DR                                                                                  BLOOMINGTON          IN   47401‐8984
STRAIN, NANCY C           2100 E. NIXON DRIVE                                                                              BLOOMINGTON          IN   47401‐8984
STRAIN, RICHARD E         45 COMMERCE WAY                                                                                  NORTON               MA   02766‐3313
STRAIN, RICHARD L         PO BOX 49                                                                                        KNIGHTSVILLE         IN   47857‐0049
STRAIN, RINDA L           1923 HIGHLAND AVE                                                                                SHREVEPORT           LA   71101‐4818
STRAIN, ROBERT D          9406 CARPENTER RD                                                                                FLUSHING             MI   48433‐1025
STRAIN, ROY F             PO BOX 201                                                                POUCH COVE NL CANADA
                                                                                                    A0A‐3L0
STRAIN, SANDRA L          1901 CANE CREEK RD #22                                                                           COOKEVILLE           TN   38506‐6467
STRAIN, TOMMIE J          971 E SANFORD ST APT 2114                                                                        ARLINGTON            TX   76011‐7370
STRAIN, WILLIAM           2550 GILBERTVILLE AVE                                                                            HENDERSON            NV   89052‐6499
STRAIN, WYLIE E           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK              VA   23510‐2212
                                                           STREET, SUITE 600
STRAINE, SOPHIE M         3737 ASHBY RD                                                                                    SAINT ANN            MO   63074‐2733
STRAINOVICI, JOHN P       23319 MIDDLESEX ST                                                                               SAINT CLAIR SHORES   MI   48080‐2526
STRAINRITE COMPANIES      65 FIRST FLIGHT DR                                                                               AUBURN               ME   04210‐9049
STRAINSERT COMPANY        12 UNION HILL RD                                                                                 WEST CONSHOHOCKEN    PA   19428‐2719
STRAIT GATE MINISTRY      312 E NORTH ST                                                                                   KOKOMO               IN   46901‐2957
STRAIT LISA               2289 PEAR LN                                                                                     MADRID               IA   50156‐7464
STRAIT, BARBARA G.        8301 DOYLE ROAD                                                                                  LAINGSBURG           MI   48848‐9649
STRAIT, BARBARA G.        8301 DOYLE RD                                                                                    LAINGSBURG           MI   48848‐9649
STRAIT, DONALD A          1567 DOGWOOD DR                                                                                  SAINT GERMAIN        WI   54558‐9015
STRAIT, DOUGLAS R         521 S CEDAR ST                                                                                   MASON                MI   48854‐1438
STRAIT, FLOYD D           2960 SILVER CREEK RD LOT 61                                                                      BULLHEAD CITY        AZ   86442‐8319
STRAIT, FRANKIE B         5301 WOODROW BEAN APT 2104                                                                       EL PASO              TX   79924‐3942
STRAIT, HOWARD E          6901 JACKSON ST                                                                                  ANDERSON             IN   46013‐3724
STRAIT, JAMES R           9370 MOON RD                                                                                     SALINE               MI   48176‐9411
STRAIT, JAMES ROBERT      9370 MOON RD                                                                                     SALINE               MI   48176‐9411
STRAIT, MARY L            313 E CENTER ST                                                                                  DUNKIRK              IN   47336‐1339
STRAIT, RICHARD K         9061 NASHVILLE RD                                                                                BOWLING GREEN        KY   42101‐8721
STRAIT, VIVIAN K          6901 JACKSON ST                                                                                  ANDERSON             IN   46013‐3724
STRAIT, WENDELL D         3873 COOK VALLEY BIVD SE                                                                         GRAND RAPIDS         MI   49546
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Name                       Address1                        Address2                     Address3   Address4         City                   State Zip
STRAITH HOSPITAL           23901 LAHSER RD                                                                          SOUTHFIELD              MI 48033‐6035
STRAITH, PAUL F            2312 ELMHURST AVE                                                                        ROYAL OAK               MI 48073‐3861
STRAITIFF, DONALD G        1799 PARK RIDGE CT                                                                       HOWELL                  MI 48843‐8097
STRAITIFF, EDWARD F        216 2ND STREET                                                                           ALLISON                 PA 15413‐9603
STRAITIFF, EDWARD F        216 2ND ST                                                                               ALLISON                 PA 15413‐9603
STRAITIFF, WILBERT M       6100 LONG ST                    P.O. BOX 212                                             CLARENCE CTR            NY 14032‐9726
STRAITIFF, WILLIAM A       419 FOREST N.E.                                                                          WARREN                  OH 44483‐3824
STRAITIFF, WILLIAM A       419 FOREST ST NE                                                                         WARREN                  OH 44483‐3824
STRAKA JOSEPH J (667823)   ANGELOS PETER G                 100 N CHARLES STREET , ONE                               BALTIMORE               MD 21201
                                                           CHARLES CENTER
STRAKA, CHARLES E          34052 MONICA DR                                                                          NORTH RIDGEVILLE       OH   44039‐2130
STRAKA, DORCAS J           3220 MATTHEW LN                                                                          FORTUNA                CA   95540‐3845
STRAKA, ELEANOR M          23311 HAYNES ST                                                                          FARMINGTON HILLS       MI   48336‐3342
STRAKA, GENEVIEVE B        3900 HAMMERBERG RD APT 204                                                               FLINT                  MI   48507‐6024
STRAKA, GENEVIEVE B        3900 HAMMERBERG RD.             APT. 204                                                 FLINT                  MI   48507
STRAKA, GRACE              6600 CONVENT BLVD. APT. 104                                                              SYLVANIA               OH   43560‐2882
STRAKA, HOLLY M            2372 IVY HILL DR                                                                         COMMERCE TOWNSHIP      MI   48382‐1198
STRAKA, JAMES S            6335 KINGS POINTE RD                                                                     GRAND BLANC            MI   48439‐8796
STRAKA, JOSEPH J           ANGELOS PETER G                 100 N CHARLES STREET, ONE                                BALTIMORE              MD   21201‐3812
                                                           CHARLES CENTER
STRAKA, JOSEPHINE C        178 BOST DR                                                                              WEST MIFFLIN           PA   15122‐2509
STRAKA, JULIE A            10214 BOULDER PASS                                                                       SPRINGFIELD TOWNSHIP   MI   48350‐2055
STRAKA, MARTHA J           28527 STATE ROUTE 281                                                                    DEFIANCE               OH   43512‐6937
STRAKA, MARTHA WIDOW       28527 STATE ROUTE 281                                                                    DEFIANCE               OH   43512‐6937
STRAKA, NORMAN J           1708 NORTH MORTON TAYLOR ROAD                                                            CANTON                 MI   48187‐3476
STRAKA, PAUL               12928 ROLLING BROOK CT                                                                   STERLING HEIGHTS       MI   48313‐5200
STRAKA, RICHARD L          8356 STATE ROUTE 15                                                                      DEFIANCE               OH   43512‐9766
STRAKA, ROBERT A           42710 SYCAMORE DR                                                                        STERLING HTS           MI   48313‐2864
STRAKA, TRUDY              42710 SYCAMORE DR                                                                        STERLING HTS           MI   48313‐2864
STRAKA, WILLIAM F          5520 PUSH MOUNTAIN RD                                                                    NORFORK                AR   72658‐8907
STRAKA‐HILL, DIANNA K      14131 ELMS RD                                                                            MONTROSE               MI   48457‐9777
STRAKIS, JOHN F            PO BOX 350745                                                                            GRAND ISLAND           FL   32735‐0745
STRAKSYS, MARTA            1558 25TH ST                                                                             DETROIT                MI   48216‐1468
STRAKSYS, MARYTE           1552 25TH ST                                                                             DETROIT                MI   48216‐1468
STRALEY FRANCIS            980 4TH ST SE                                                                            BANDON                 OR   97411
STRALEY I I, WAYNE O       335 N SALEM WARREN RD                                                                    NORTH JACKSON          OH   44451‐9601
STRALEY II, WAYNE O        335 N SALEM WARREN RD                                                                    NORTH JACKSON          OH   44451‐9601
STRALEY, CHARLES A         3255 SCHOOLHOUSE DR                                                                      WATERFORD              MI   48329‐4332
STRALEY, DEBORAH M         85 CULBERT DR                                                                            HASTINGS               MI   49058‐9461
STRALEY, FLOYD J           6162 N LOGGERS LN                                                                        LUDINGTON              MI   49431‐9219
STRALEY, FLOYD JEROME      6162 N LOGGERS LN                                                                        LUDINGTON              MI   49431‐9219
STRALEY, GLENN L           6673 SE 54TH LN                                                                          OKEECHOBEE             FL   34974‐2538
STRALEY, HARRY J           4812 PUTTERS LN                                                                          SHREVEPORT             LA   71107‐3477
STRALEY, HARRY L           2100 HOPE ST                                                                             BOSSIER CITY           LA   71112‐9705
STRALEY, JAMES             5141 HUGHES RD                                                                           LANSING                MI   48911‐3502
STRALEY, JESSICA M         2100 HOPE ST                                                                             BOSSIER CITY           LA   71112‐9705
STRALEY, JORDAN S          7200 COLDWATER RD                                                                        FLUSHING               MI   48433‐9060
STRALEY, JORDAN S          6162 N LOGGERS LN                                                                        LUDINGTON              MI   49431‐9219
STRALEY, LOLA J            3300 W RIVER DR                                                                          GLADWIN                MI   48624‐9730
STRALEY, SUE A             201 BAYSHORE AVE UNIT 2                                                                  COLUMBIANA             OH   44408‐9354
STRALEY, THOMAS J          3429 FOREST RIDGE DR                                                                     SPRING GROVE           IL   60081‐8630
STRALEY, VERA M            1 HILLCREST AVE                 PRESBYTERIAN APT 302                                     MORRISVILLE            PA   19067‐1145
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Name                           Address1                        Address2                      Address3   Address4         City               State Zip
STRALEY, WANDA L               2100 HOPE ST                                                                              BOSSIER CITY        LA 71112‐9705
STRALEY, WANDA LEE             2100 HOPE ST                                                                              BOSSIER CITY        LA 71112‐9705
STRALEY, WILLIAM C             7243 KALKASKA DR                                                                          DAVISON             MI 48423‐2385
STRALKO, MARY A                129 CLARKSVILLE ST                                                                        GREENVILLE          PA 16125‐2365
STRALO, RONALD R               SHEIN LAW CENTER                121 S BROAD ST                                            PHILADELPHIA        PA 19107‐4518
STRAM, CARL L                  1199 HOSPITAL RD LOT 137                                                                  FRANKLIN            IN 46131‐7320
STRAMA, FRANK J                5420 KING GRAVES RD                                                                       VIENNA              OH 44473‐9717
STRAMA, FRANK V                702 INDIANA AVE                                                                           NILES               OH 44446‐1040
STRAMA, JULIE H                5420 KING GRAVES RD                                                                       VIENNA              OH 44473
STRAMAN, HELEN                 10726 HALLER RD                                                                           DEFIANCE            OH 43512‐1273
STRAMECKI, BRYAN A             22520 BRADY LN                                                                            FARMINGTON HILLS    MI 48335‐2716
STRAMECKI, THOMAS L            14953 HOUGHTON ST                                                                         LIVONIA             MI 48154‐4813
STRAMER'S AUTOMOTIVE SERVICE   240 MAIN STREET                                                                           HAZELTON            ND 58544
STRAMER, CARAMELLO N           12185 HICKORY W                                                                           UTICA               MI 48315‐5841
STRAMER, DEAN B                4576 LANSING DR                                                                           NORTH OLMSTED       OH 44070‐2406
STRAMY, ROBERT J               15140 HARBOUR ISLE DR APT 402                                                             FORT MYERS          FL 33908‐6842
STRAN, JAMES G                 727 CANTERBURY LN                                                                         BOARDMAN            OH 44512‐1722
STRANAHAN, COLLEEN M           2765 COVENTRY RD                                                                          LAS CRUCES          NM 88011
STRANAHAN, PATRICIA G          19 FOWLER AVENUE                                                                          BUFFALO             NY 14217‐1501
STRANAHAN, REVA L              4509 MEDITERRANEAN PL                                                                     FARMINGTON          NM 87402‐1725
STRANAHAN, SHAWN T             1640 PARKER BLVD                                                                          TONAWANDA           NY 14150‐8732
STRANAHAN, SHAWN TIMOTHY       1640 PARKER BLVD                                                                          TONAWANDA           NY 14150‐8732
STRANC, CHRISTINE              6782 S ASH ST                                                                             OAK CREEK           WI 53154‐1602
STRANC, REGINA A               142 MCNAUGHTON AVE                                                                        BUFFALO             NY 14225‐4614
STRANC, THOMAS H               6782 S ASH ST                                                                             OAK CREEK           WI 53154‐1602
STRAND BERNARD (459369)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                               STREET, SUITE 600
STRAND DAVID G                 54 SPARROW COURT                                                                          AURORA             IL 60504‐3105
STRAND THEATRE THE             619 LOUISIANA AVE                                                                         SHREVEPORT         LA 71101
STRAND THOMAS P (429890)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                               STREET, SUITE 600
STRAND, ALAN G                 PO BOX 1024                                                                               CARSON             WA    98610‐1024
STRAND, ALBERT E               7162 S XANTHIA ST                                                                         CENTENNIAL         CO    80112‐1919
STRAND, ANITA I                1262 MARSEILLE CT                                                                         ROCHESTER HLS      MI    48307‐3035
STRAND, ARTHUR F               115 JAMET ST                                                                              MACKINAW CITY      MI    49701‐9640
STRAND, ARTHUR F               115 E JAMET ST                                                                            MACKINAW CITY      MI    49701‐9640
STRAND, BERNARD                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA    23510‐2212
                                                               STREET, SUITE 600
STRAND, CARL G                 1565 DOUGLAS DR                                                                           TAWAS CITY         MI    48763‐9440
STRAND, CAROLINE H             4905 BACKTRAIL DR                                                                         AUSTIN             TX    78731‐2612
STRAND, CHARLES A              5301 PENTWATER DR                                                                         HOWELL             MI    48843‐6478
STRAND, DANIEL D               2167 NORTH SHEERAN DRIVE                                                                  MILFORD            MI    48381‐3681
STRAND, DANIEL D               2167 N SHEERAN DR                                                                         MILFORD            MI    48381‐3681
STRAND, DAVID G                54 SPARROW COURT                                                                          AURORA              IL   60504‐3105
STRAND, DAVID G                54 SPARROW CT                                                                             AURORA              IL   60504‐3105
STRAND, MARGERY                1009 KARNAK DR, CORPUS                                                                    CHRISTINE          TX    78412
STRAND, MARIE                  APT 49                          849 NORTH 3RD STREET                                      EL CAJON           CA    92021‐5941
STRAND, MILES E                132 NOTHEANA DR                                                                           SAINT MARYS        OH    45885
STRAND, NEAL                   508 THOMPSON AVENUE                                                                       MOUNTAIN VIEW      CA    94043‐2742
STRAND, RICHARD G              1274 N SHORT BEACH CT                                                                     STRASBURG          CO    80136‐9537
STRAND, RICHARD G.             1274 N SHORT BEACH CT                                                                     STRASBURG          CO    80136‐9537
STRAND, ROBERT W               50222 MEADOW OAK TRL                                                                      MATTAWAN           MI    49071‐8618
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Name                                Address1                          Address2                      Address3                Address4         City              State Zip
STRAND, RUSSELL R                   07245 UPPER KELSEY DR LOT 101                                                                            CHARLEVOIX         MI 49720
STRAND, RUTH                        230 TIMBERLINE DR                                                                                        MADISON            MS 39110‐9661
STRAND, STANLEY                     5656 DEERWOOD                                                                                            COMMERCE TWP       MI 48382‐1017
STRAND, STEVEN J                    1114 N MARSHALL ST APT 412                                                                               MILWAUKEE          WI 53202
STRAND, THOMAS P                    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                            NORFOLK            VA 23510‐2212
                                                                      STREET, SUITE 600
STRAND, VIRGINIA L                  1512 SHADY LN APT 35                                                                                     BEDFORD           TX   76021
STRANDBERG JR, CONRAD R             105 POTEAU TRCE                                                                                          LOUDON            TN   37774‐2867
STRANDBERG, RHONDA                  W 13509 COUNTY RD                                                                                        GLEASON           WI   54435
STRANDBERG, WAYNE W                 3160 MERWIN RD                                                                                           LAPEER            MI   48446‐7801
STRANDELL, ARNOLD P                 9334 N. SKOOKUM RD.                                                                                      LUTHER            MI   49656
STRANDHOLM, CLEDA                   146 S BEAVERTAIL BAY RD                                                                                  CEDARVILLE        MI   49719‐9483
STRANDHOLM, JEFFREY A               15361 CAMERON ST                                                                                         SOUTHGATE         MI   48195‐3242
STRANDQUIST, MARJORIE M             5782 REGENCY CT                                                                                          GURNEE            IL   60031‐6100
STRANDT CHARLES (459370)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                            NORFOLK           VA   23510
                                                                      STREET, SUITE 600
STRANDT, CARL R                     12975 W OHIO CT                                                                                          NEW BERLIN        WI 53151‐4669
STRANDT, CHARLES                    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                            NORFOLK           VA 23510‐2212
                                                                      STREET, SUITE 600
STRANDT, EARL R                     12910 W OHIO CT                                                                                          NEW BERLIN        WI 53151‐4668
STRANE ANDAE BUICK PONTIAC‐GMC OF   750 BRIDGEPORT AVE                                                                                       MILFORD           CT 06460‐3107
MILFORD
STRANE, ALVIN S                     45 WESLEY DR                                                                                             SHELTON           CT 06484‐5236
STRANEY MICHAEL D                   STRANEY, MICHAEL D                300 BALMORAL CENTRE 32121                                              ROYAL OAK         MI 48073
                                                                      WOODWARD AVENUE
STRANEY, JUDITH A                   120 JODI LN                                                                                              BUTLER            PA 16002‐9186
STRANEY, PATRICK J                  13916 N STEPROCK CANYON PL                                                                               TUCSON            AZ 85755‐5723
STRANG JEREMY                       3023 FOLEY RD                                                                                            CROSBY            TX 77532‐7263
STRANG JOACHIM                      WINDECKER WEG 21                  D‐63486 BRUCHKOEBEL           GERMANY / DEUTSCHLAND
STRANG MARY                         710 BARRETTS MILL RD                                                                                     CONCORD           MA 01742‐1524
STRANG, BRYAN
STRANG, CHRISTOP J                  78 OGEMAW RD                                                                                             PONTIAC           MI   48341‐1143
STRANG, DENNIS A                    6928 W WILLOW HWY                                                                                        LANSING           MI   48917‐9727
STRANG, DOROTHY                     880 MAPLEKNOLL AVE                                                                                       MADISON HEIGHTS   MI   48071‐2954
STRANG, EDWARD K                    2 TROWBRIDGE CT                                                                                          ANN ARBOR         MI   48108‐2553
STRANG, GLORIA V                    280 DEER PATH LN                                                                                         BATTLE CREEK      MI   49015‐7935
STRANG, J WILMA                     19712 SCENIC HARBOUR DR                                                                                  NORTHVILLE        MI   48167‐1918
STRANG, JACK W                      151 ROME ROCK CREEK RD 1549                                                                              ROAMING SHORES    OH   44084
STRANG, JAMES E                     10 DIANA RDG                                                                                             HIGHLAND          NY   12528‐1542
STRANG, JEFFREY C                   10484 E GRAND RIVER AVE                                                                                  PORTLAND          MI   48875‐8457
STRANG, KARL H                      16231 QUAKERTOWN LN                                                                                      LIVONIA           MI   48154‐1113
STRANG, KYLE
STRANG, LOUISE                      23 HATTERAS ST                                                                                           OCEAN PINES       MD   21811‐3815
STRANG, MARGARET M                  2865 12 OAKS DR                                                                                          CHARLOTTE         MI   48813‐8371
STRANG, PETER C                     29181 HAYES RD APT 8                                                                                     WARREN            MI   48088‐4018
STRANG, RICHARD D                   10444 E GRAND RIVER AVE                                                                                  PORTLAND          MI   48875‐8457
STRANG, RONNA L.                    7178 OLDE FARM DR                                                                                        JENISON           MI   49428‐7733
STRANG, VINCENZA M                  31 B ROOSEVELT CITY RD.           CEDAR GLEN LAKES                                                       WHITING           NJ   08759‐1119
STRANG, WANJA                       6262 E MORGAN CIR                                                                                        WESTLAND          MI   48185‐6915
STRANG, WILLIAM F                   2677 SABLE SPRINGS CIR #D 103                                                                            CLEARWATER        FL   33761
STRANGE CHANDLER (470167)           BILBREY & HYLIA                   8724 PIN OAK RD                                                        EDWARDSVILLE      IL   62025‐6822
STRANGE CHRIS                       STRANGE, CHRIS                    55 PUBLIC SQ STE 650                                                   CLEVELAND         OH   44113‐1909
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Name                               Address1                        Address2                 Address3    Address4         City              State Zip
STRANGE ENGINEERING INC            8300 AUSTIN AVE                                                                       MORTON GROVE        IL 60053‐3209
STRANGE JR, ARLIE B                16486 MARIPOSA CIR N                                                                  FORT LAUDERDALE    FL 33331‐4658
STRANGE JR, CHARLIE T              2830 CENTENNIAL RD                                                                    RUTLEDGE           GA 30663‐2806
STRANGE JR, CLARENCE H             4149 RAYMOND DR                                                                       BRUNSWICK          OH 44212‐3935
STRANGE JR, FREDERICK R            3224 WABASH AVE                                                                       FORT WORTH         TX 76109‐2246
STRANGE LORIN EARNEST (320698) ‐   (NO OPPOSING COUNSEL)
FLOYD CALVIN AUGUSTUS
STRANGE SCOTT                      4416 CHILTON LANE                                                                     FLOWER MOUND      TX   75028‐8751
STRANGE WILLIAM & DEANE            330 CASTLE RIDGE HTS                                                                  FAIRFIELD BAY     AR   72088‐4111
STRANGE, ALAN G                    1015 COX AVE                                                                          WSHNGTN XING      PA   18977‐1417
STRANGE, ALLEN                     PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON           MS   39206‐5621
STRANGE, BETTY J                   1341 HOLIDAY LN W                                                                     BROWNSBURG        IN   46112‐2014
STRANGE, BILLY G                   545 W STATE ROAD 44                                                                   FRANKLIN          IN   46131‐8696
STRANGE, BLANDER L                 16537 SNOWDEN ST                                                                      DETROIT           MI   48235‐4274
STRANGE, BOBBY G                   409 WILLOW WINDS DR                                                                   COLUMBIA          SC   29210‐4461
STRANGE, BRIAN E                   4916 WHITE OAK LN                                                                     RIVER OAKS        TX   76114‐2918
STRANGE, CANDY                     10094 AXEL RD                                                                         IRONDALE          MO   63648‐9744
STRANGE, CARMA L                   3016 HUSKIE DR                                                                        WICHITA FALLS     TX   76306‐6963
STRANGE, CARROLL                   111 STRANGE RD                                                                        ROCKFORD          TN   37853‐3441
STRANGE, CARROLL G                 581 N MIAMI ST                                                                        WABASH            IN   46992‐1705
STRANGE, CHANDLER                  BILBREY & HYLIA                 8724 PIN OAK RD                                       EDWARDSVILLE      IL   62025‐6822
STRANGE, CHARLES C                 133 EAST HARRISON AVENUE                                                              WABASH            IN   46992‐1329
STRANGE, CHARLES M                 655 BEDFORD RD                                                                        WEST MIDDLESEX    PA   16159‐6159
STRANGE, CHARLES M                 655 BEDFORD ROAD                                                                      W MIDDLESEX       PA   16159‐2503
STRANGE, CHRIS                     KAHN & ASSOCIATES               55 PUBLIC SQ STE 650                                  CLEVELAND         OH   44113‐1909
STRANGE, DAISY M                   1911 S MARKET ST                                                                      KOKOMO            IN   46902‐2230
STRANGE, DARRELL D                 27457 PATRIOT DR                                                                      SALISBURY         MD   21801‐1669
STRANGE, DELMONT                   1015 LOGAN ST                                                                         BROWNSBURG        IN   46112‐1705
STRANGE, DELMONT                   1015 E LOGAN ST                                                                       BROWNSBURG        IN   46112‐1705
STRANGE, ERMA L                    1734 BALSAMRIDGE ROAD                                                                 COLUMBUS          OH   43229‐2161
STRANGE, ERMA LEE                  1734 BALSAMRIDGE ROAD                                                                 COLUMBUS          OH   43229‐2161
STRANGE, ETTA M                    APT 203                         5908 MCCAIN PARK PLACE                                N LITTLE ROCK     AR   72117‐4479
STRANGE, GARY N                    2331 SHOWALTER CT                                                                     DAYTON            OH   45459‐1150
STRANGE, GLENN F                   14605 LITTLE EAGLE CREEK AVE                                                          ZIONSVILLE        IN   46077‐9623
STRANGE, GOLDIE I                  110 JONES LANE                                                                        DANVILLE          IL   61832‐5310
STRANGE, GOLDIE I                  110 JONES LN                                                                          DANVILLE          IL   61832‐5310
STRANGE, HAROLD D                  2116 N 400 E                                                                          LAGRO             IN   46941‐9655
STRANGE, JAMES G                   245 HERRING GULL CT                                                                   MONTICELLO        GA   31064‐3618
STRANGE, JEAN E                    327 EAST BROADWAY               P O BOX 4102                                          WINCHESTER        KY   40392‐4102
STRANGE, JEAN E                    327 E BROADWAY ST               P O BOX 4102                                          WINCHESTER        KY   40391‐2100
STRANGE, JOHN D                    28285 BLUM ST                                                                         ROSEVILLE         MI   48066‐4755
STRANGE, JOHN DENNIS               28285 BLUM ST                                                                         ROSEVILLE         MI   48066‐4755
STRANGE, JOHN L                    PO BOX 615                                                                            DENNISPORT        MA   02639‐0615
STRANGE, JOHN L                    7155 DRAKE ST LINE RD.RD                                                              BURGHILL          OH   44404
STRANGE, JOSEPH                    4830 N 1200 E                                                                         LOOGOOTEE         IN   47553‐5545
STRANGE, JULIUS                    3800 RICHFIELD RD APT 506                                                             FLINT             MI   48506‐2661
STRANGE, KELLY L                   92 N JOHNSVILLE BROOKVILLE RD                                                         NEW LEBANON       OH   45345‐9152
STRANGE, L B                       CARLILE LAW FIRM                5006 E END BLVD S                                     MARSHALL          TX   75672
STRANGE, LARRY D                   RR 52 BOX 173                                                                         TERRE HAUTE       IN   47805
STRANGE, LENA H                    5361 BESSMER DR                                                                       DAYTON            OH   45426‐1903
STRANGE, LINDA E                   5701 TREATY LN                                                                        KOKOMO            IN   46902‐5466
STRANGE, MELINDA M                 PO BOX 90193                                                                          INDIANAPOLIS      IN   46290‐0193
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Name                                    Address1                           Address2                          Address3   Address4         City            State Zip
STRANGE, MICHAEL                        1700 N EDON RD                                                                                   ALLEN            MI 49227‐9766
STRANGE, MICHAEL J                      1310 N WABASH AVE                                                                                KOKOMO           IN 46901‐2602
STRANGE, MICHAEL R                      13811 GARRISON PLACE DR                                                                          MIDLOTHIAN       VA 23112
STRANGE, MILDRED                        581 N MIAMI ST                                                                                   WABASH           IN 46992‐1705
STRANGE, MILDRED                        581 N. MIAMI ST.,                                                                                WABASH           IN 46992
STRANGE, NELLIE                         412 ASCOT CT                                                                                     KNOXVILLE        TN 37923‐5829
STRANGE, PATRICIA                       354 W 43RD CT                                                                                    GRIFFITH         IN 46319‐1585
STRANGE, PAUL M                         PO BOX 633                                                                                       STATESBORO       GA 30459‐0633
STRANGE, PEGGY W                        6706 MARTHA'S VINEYARD DR                                                                        ARLINGTON        TX 76001
STRANGE, RAY S                          791 MOUNT TABOR RD                                                                               OXFORD           GA 30054‐4504
STRANGE, RICHARD                        74318 PONE BLADES RD                                                                             KENTWOOD         LA 70444‐4934
STRANGE, RICHARD F                      1930 NORTHFIELD AVE NW                                                                           WARREN           OH 44485‐1733
STRANGE, ROBERT C                       14838 CROSWELL ST                                                                                WEST OLIVE       MI 49460‐9532
STRANGE, SHANNONDOAH D                  11698 BARRETTA WAY                                                                               GRAND LEDGE      MI 48837‐9370
STRANGE, SHIRLEY M                      7155 DRAKE STATELINE RD NE                                                                       BURGHILL         OH 44404‐9716
STRANGE, STEVEN L                       5131 CRAINS RUN RD                                                                               MIAMISBURG       OH 45342‐6223
STRANGE, TERRENCE J                     240 W YALE AVE                                                                                   PONTIAC          MI 48340‐1866
STRANGE, TRACIE L                       1945 CLOVERBROOK DR                                                                              MINERAL RIDGE    OH 44440‐9519
STRANGE, VELMA H                        2600 LUMBERJACK DR                                                                               DANSVILLE        MI 48819‐9653
STRANGE, WILLIAM E                      N17111 DARTFORD RD                                                                               SPOKANE          WA 99208
STRANGE, WILLIE F                       3437 BRIMFIELD DR                                                                                FLINT            MI 48503‐2944
STRANGE, WILLIE R                       APT 201 FALL CREEK RETIRMENT VIL   625 EAST WATER STREET                                         PENDLETON        IN 46064
STRANGER, SHARON BEA                    2243 E COUNTY ROAD 1200 N                                                                        ROACHDALE        IN 46172‐9766
STRANGER, SHARON BEA                    2243 EAST COUNTY RD 1200 NORTH                                                                   ROACHDALE        IN 46172‐9766
STRANGES, LUCILLE A                     3 THE CMN                                                                                        LOCKPORT         NY 14094‐4001
STRANGLEN, JOSEPH E                     1212 CONDE ST APT 105                                                                            JANESVILLE       WI 53546‐5861
STRANGLEN, JOSEPH E                     1212 CONDE ST                      APT 105                                                       JAMESVILLE       WI 53546
STRANIAK, PAUL A                        839 TERRA ALTA ST NE                                                                             WARREN           OH 44483‐3926
STRANIERO, MAY                          25101 DRAKEFIELD AVENUE                                                                          EUCLID           OH 44132‐1835
STRANK, DENNIS D                        2920 STATION RD                                                                                  MEDINA           OH 44256‐9419
STRANO SEBASTIAN (ESTATE OF) (504197)   EARLY LUDWICK & SWEENEY L.L.C.     ONE CENTURY TOWER, 11TH FLOOR ,                               NEW HAVEN        CT 06510
                                                                           265 CHURCH STREET
STRANO, ROSE L.                         C/O GRACE LANDER                   8102 ROYAL CREST CT.                                          SPRING           TX   77379
STRANO, ROSE L.                         8102 ROYAL CREST CT                C/O GRACE LANDER                                              SPRING           TX   77379‐4568
STRANO, SEBASTIAN                       EARLY LUDWICK & SWEENEY L.L.C.     ONE CENTURY TOWER, 11TH FLOOR,                                NEW HAVEN        CT   06508‐1866
                                                                           265 CHURCH STREET
STRANSKI, JAMES M                       404 CHAPMAN LN                                                                                   LEXINGTON       OH    44904‐1081
STRANTON BROWNING SR                    1460 FOTIP LANE                                                                                  DAYTON          OH    45406‐3771
STRANTON, ELISABETH A                   120 RED BERKSHIRE                  C/O CLIFFORD J BOTTORF                                        WILLIAMSBURG    VA    23188‐6462
STRANTZALIS VASSILIOS (477858)          OSHEA ROBERT LAW OFFICES OF        1818 MARKET ST STE 3520                                       PHILADELPHIA    PA    19103‐3636
STRANTZALIS, VASSILIOS                  OSHEA ROBERT LAW OFFICES OF        1818 MARKET ST STE 3520                                       PHILADELPHIA    PA    19103‐3636
STRANYAK, ALAN R                        20800 AUDETTE ST                                                                                 DEARBORN        MI    48124‐3967
STRANYAK, ARNOLD J                      17416 N LUCILLE CIR                                                                              NEW BOSTON      MI    48164‐8002
STRAPEC, RONALD R                       2951 KINGSVIEW LN                                                                                SHELBY TWP      MI    48316‐2134
STRAPP, MARSHA A                        5554 WARBLER DR                                                                                  CLARKSTON       MI    48346‐2964
STRASBERGER II, JOHN L                  2651 BIDDLE AVE APT 710                                                                          WYANDOTTE       MI    48192‐5228
STRASBURG CITY TREASURER                PO BOX 351                                                                                       STRASBURG       VA    22657‐0351
STRASBURG, LARRY R                      3827 MINNIE AVE SW                                                                               WYOMING         MI    49519‐3747
STRASBURG, LARRY RAY                    3827 MINNIE AVE SW                                                                               WYOMING         MI    49519‐3747
STRASBURG, LAURA L                      2306 MCCUE RD APT 120                                                                            HOUSTON         TX    77056‐4619
STRASBURG, LYNN D                       N3790 STUEDLI LN                                                                                 JEFFERSON       WI    53549‐9622
STRASBURG, NELLIE H                     3090 COUNTY ROUTE 121                                                                            COHOCTON        NY    14826‐9755
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Name                              Address1                         Address2                       Address3   Address4             City           State Zip
STRASBURGER & PRICE LLP           901 MAIN ST STE 4300                                                                            DALLAS          TX 75202‐3724
STRASBURGER & PRICE, LLP          LLOYD E FERGUSON                 600 CONGRESS AVE, SUITE 1600                                   AUSTIN          TX 78701
STRASBURGER, KAREN E              6507 JUNIOR CT                                                                                  FRANKLIN        OH 45005
STRASCHEIM JR, JAMES H            1846 LANI DR                                                                                    EATON           OH 45320‐9706
STRASCHEWSKI, WILODEAN            8233 KALTZ                                                                                      CENTERLINE      MI 48015‐1756
STRASDIN, DONNA                   3356 BEAM DR                                                                                    LAS VEGAS       NV 89139‐5902
STRASEL, ALAN J                   1505 N STEEL RD                                                                                 MERRILL         MI 48637‐9565
STRASEL, D A                      495 SWANSON ROAD                                                                                SAGINAW         MI 48609‐6928
STRASEL, JAMES M                  4630 FEHN RD                                                                                    HEMLOCK         MI 48626‐9673
STRASEL, SHARON A                 1197 WOODFIELD TRAIL                                                                            HEMLOCK         MI 48626
STRASER JR, LOUIS J               845 CARLTON DR                                                                                  CAMPBELL        OH 44405‐2039
STRASER, MARIJA                   11 SHAWNEE DR                                                                                   GIRARD          OH 44420‐3628
STRASSBURG, ROBBIN D              4552 JAMM RD                                                                                    ORION           MI 48359‐2214
STRASSEL JR, WILLIAM P            4822A CAMBRIDGE DR                                                                              LOCKPORT        NY 14094‐3444
STRASSEL, SUSAN                   4800 CAMBRIDGE DR # A                                                                           LOCKPORT        NY 14094‐3444
STRASSELL, GARY D                 225 9TH ST                                                                                      TELL CITY       IN 47586‐2218
STRASSELL, RICHARD A              3415 WELTY RD                                                                                   LUCAS           OH 44843‐9729
STRASSER GEORGE                   601 LORENE DR                                                                                   O FALLON        MO 63366‐1332
STRASSER, JOHNNY L                675 BOWERS ST                                                                                   CLAWSON         MI 48017‐2167
STRASSER, MARY H                  439 YELLOW JACK LN                                                                              GREENSBURG      PA 15601‐6268
STRASSER, MICHAEL J               383 1ST ST                                                                                      SUNFIELD        MI 48890‐9020
STRASSER, ROBERT J                30907 FERNWOOD ST                                                                               WESTLAND        MI 48186‐5097
STRASSER, WAYNE I                 116 CRAWFORD ST                                                                                 MIDDLETOWN      DE 19709‐1119
STRASSER, WILLIAM G               234 BUTLER RD                                                                                   SAXONBURG       PA 16056‐9501
STRASSNER, DOLORES H              252 GOLDEN RD                                                                                   ROCHESTER       NY 14624‐3734
STRASSNER, HAROLD F               73 ALDERWOOD LN                                                                                 ROCHESTER       NY 14615‐1301
STRASSNER, HAROLD R               32 SIMONE TER                                                                                   WEBSTER         NY 14580‐2256
STRASSNER, HOWARD L               APT 238                          681 HIGH STREET                                                VICTOR          NY 14564‐1371
STRASSNER, JOHN P                 43 NAMES RD                                                                                     ROCHESTER       NY 14623‐1931
STRASSNER, LOUISE R               61 BLACK CREEK ROAD                                                                             ROCHESTER       NY 14623‐1945
STRASSNER, MAX R                  45 WOODVIEW DR                                                                                  ROCHESTER       NY 14624‐2622
STRASSONIA L HUDSON, SR           C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY, STE 600                                     HOUSTON         TX 77007
                                  BOUNDAS LLP
STRASZ, MICHAEL W                 36832 OAKWOOD LN                                                                                RICHMOND       MI   48062‐1466
STRASZHEIM, EDWARD E              1001 N MAPLE ST                                                                                 EATON          OH   45320‐1536
STRASZHEIM, EDWARD E              1001 NORTH MAPLE ST                                                                             EATON          OH   45320‐1536
STRASZHEIM, GLADYS L              641 STATE ROUTE 121 N                                                                           NEW PARIS      OH   45347‐9128
STRAT AT COMM LLC                 1 THOMAS CIR NW FL 10                                                                           WASHINGTON     DC   20005‐5816
STRAT AT COMM LLC                 701 MARKET STREET 199‐3490                                                                      PHILADELPHIA   PA   19106
STRATASYS INC                     7665 COMMERCE WAY                                                                               EDEN PRAIRIE   MN   55344‐2001
STRATASYS INC                     14950 MARTIN DR                                                                                 EDEN PRAIRIE   MN   55344‐2020
STRATCO DUPONT                    ATTN: KEN KRANZ                  601 KINDLEBERGER RD                                            KANSAS CITY    KS   66115‐1228
STRATE COLLEGE                    30100 MOUND RD 480‐113‐A03                                                                      WARREN         MI   48092
STRATE WELDING SUPPLY CO INC      6776 N CANAL RD                                                                                 LOCKPORT       NY   14094‐9680
STRATE, RANDY L                   104 TIMOTHY STREET                                                                              DEFIANCE       OH   43512‐2369
STRATEGIC / TN DIVISION           851 FESSLERS PKWY                                                                               NASHVILLE      TN   37210‐2902
STRATEGIC BUSINESS SYSTEMS INC    17 S FRANKLIN TPKE STE 1                                                                        RAMSEY         NJ   07446‐2536
STRATEGIC CONNECTIONS INC         7050 WOODBINE AVE STE 205                                                  MARKHAM ON L3R 4G8
                                                                                                             CANADA
STRATEGIC CONNECTIONS INC         7030 WOODBINE AVE., 6TH FLOOR    MARKHAM,ON,L3R 6G2                        CANADA
STRATEGIC CONNECTIONS, INC.       7050 WOODBINE AVE                SUITE 205                                 MARKHAM ON CANADA
STRATEGIC ECONOMIC DECISONS INC   2739 E VIRGO PL                                                                                 CHANDLER       AZ   85249‐5241
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Name                               Address1                           Address2                      Address3              Address4                City               State Zip
STRATEGIC ENVIRONMENTAL ASSOCIATES 610 MIDDLECREST RD                                                                                             LAKE OSWEGO         OR 97034‐3848

STRATEGIC GROWTH PORTFOLIO         ATTN JERRY SANADA                  3390 AUTO MALL DR                                                           WESTLAKE VILLAGE   CA   91362
STRATEGIC INDUSTRIES LLC           6554 LAKESHORE RD                                                                                              LEXINGTON          MI   48450‐9763
STRATEGIC INDUSTRIES LLC           DAVE SCHEIDMANTEL                  U.S. INDUSTRIES INC.          4901 CLAY AVE.                                JACKSON            MI   49202
STRATEGIC INDUSTRIES LLC           LUCINDA KINCAID                    6554 LAKESHORE RD             HURON INCORPORATED                            LEXINGTON          MI   48450‐9763
STRATEGIC INDUSTRIES LLC           LUCINDA KINCAID                    HURON INCORPORATED            6554 LAKESHORE ROAD                           PITTSBURGH         PA
STRATEGIC INDUSTRIES LLC           U.S. INDUSTRIES INC.               ARGO INDUS DEVEL APPOLO RD.                                                 NICHOLASVILLE      KY   40356
STRATEGIC LOGISTICS SOLUTIONS      15 ALLEN ST                                                                                                    MYSTIC             CT   06355‐2903
STRATEGIC MARKETING                INNOVATIONS                        PO BOX 1446                                                                 DUBLIN             OH   43017‐6446
STRATEGIC MARKETING INNOVATION     2948 SUNBRIDGE LN                  PO BOX 1446                                                                 DUBLIN             OH   43017‐2527
STRATEGIC MARKETING INNOVATIONS    2948 SUNBRIDGE LN                  PO BOX 1446                                                                 DUBLIN             OH   43017‐2527
STRATEGIC SEMINARS INC             421 4TH ST                                                                                                     ANNAPOLIS          MD   21403‐2503
STRATEGIC SOLUTION INC             ATTN: EUNICE PEEK                  7310 WOODWARD AVE # 700                                                     DETROIT            MI   48202‐3165
STRATEGIC SOLUTIONS CONSULTING     6659 N GREGORY RD                  HORTON LONDA KAY                                                            FOWLERVILLE        MI   48836‐9760
STRATEGIC STAFFING SOLUTIONS       645 GRISWOLD ST STE 3446           645 GRISWOLD                                                                DETROIT            MI   48226‐4216
STRATEGIC TRANSPORTATION INC       1000 N OPDYKE RD STE A                                                                                         AUBURN HILLS       MI   48326‐2672
STRATEGIC/ISELIN                   555 US HWY 1 SOUTH                                                                                             ISELIN             NJ   08830
STRATEGIC/MAUMEE                   1690 WOODLANDS DRIVE                                                                                           MAUMEE             OH   43537
STRATEMEIER, JOSEPH W              3323 HARMONY DR                                                                                                TROY               MI   48083‐5514
STRATEN, LUCILLE R                 6590 LEVY COUNTY LINE RD                                                                                       BURLESON           TX   76028‐2811
STRATEN, VERNON                    6590 LEVY COUNTY LINE RD                                                                                       BURLESON           TX   76028‐2811
STRATER JR, GEORGE T               1118 BURLINGTON DR                                                                                             FLINT              MI   48503‐2935
STRATFIELD SERVICE CENTER          1271 STRATFIELD RD                                                                                             FAIRFIELD          CT   06825‐1314
STRATFORD AUTO                     7 MACKINNON DRIVE                                                                      STRATFORD PE C1B 0A2
                                                                                                                          CANADA
STRATFORD PLASTIC COMPONENTS       RUSTI POOL X240                    1815 MAGDA DR                                                               MONTPELIER         OH 43543‐9208
STRATFORD PLASTIC COMPONENTS       RUSTI POOL X240                    1815 MAGDA DRIVE                                    JIAXING, 314001 CHINA
                                                                                                                          (PEOPLE'S REP)
STRATFORD PLASTIC COMPONENTS LLC   RUSTI POOL X240                    1815 MAGDA DR                                                               MONTPELIER         OH 43543‐9208

STRATFORD PLASTIC COMPONENTS LLC   RUSTI POOL X240                    1815 MAGDA DRIVE                                    JIAXING, 314001 CHINA
                                                                                                                          (PEOPLE'S REP)
STRATFORD PLASTIC COMPONENTS LLC   753 ONTARIO ST                                                                         STRATFORD CANADA ON
                                                                                                                          N5A 7Y2 CANADA
STRATFORD, DORIS B                 4269 EASTLEA DR                                                                                                COLUMBUS           OH   43214‐2837
STRATFORD, GEORGE C                1003 REED RD                                                                                                   CHURCHVILLE        NY   14428‐9356
STRATFORD, GEORGE T                12353 FLORENCE DR                                                                                              ESPYVILLE          PA   16424‐4619
STRATFORD, ROBERT W                2538 UNION AVE NE                                                                                              GRAND RAPIDS       MI   49505‐3662
STRATFORD, TIMOTHY P               2839 KNOLLSIDE LN                                                                                              VIENNA             VA   22180‐7002
STRATFORD, TIMOTHY P               PO BOX 9022                        BEIJING                                                                     WARREN             MI   48090‐9022
STRATHAM UNDERCAR & DIAGNOSTICS    12 PORTSMOUTH AVE                                                                                              STRATHAM           NH   03885‐2521

STRATHMANN, FREDERICK G            5319 PIERCE RD NW                                                                                              WARREN             OH   44481‐9377
STRATIS, JAMES E                   5132 WILD MARSH DR                                                                                             WHITE BEAR LAKE    MN   55110‐3501
STRATMAN, HAROLD J                 13120 VILLAGE CT                                                                                               CLIO               MI   48420‐8263
STRATMAN, PATRICK P                14812 HARTSOOK ST                                                                                              SHERMAN OAKS       CA   91403‐1409
STRATMAN, THOMAS M                 11339 RUNNELLS DR                                                                                              CLIO               MI   48420‐8222
STRATMANN I I, J F                 11425 JOHNSTONE DR                                                                                             PENSACOLA          FL   32534‐9607
STRATMANN, CLAUDIA                 10645 NW 83RD CT                                                                                               PARKLAND           FL   33076‐4760
STRATO N XENELIS AND               ALICE A XENELIS                    512 GALLOWS HILL RD                                                         CRANFORD           NJ   07016
STRATON, STEVE E                   222 BURRITT RD                                                                                                 HILTON             NY   14468‐9769
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Name                                  Address1                           Address2                        Address3                   Address4                 City             State Zip
STRATOS SKARAKIS                      2330 HERON DR                                                                                                          LAKE WALES        FL 33859‐4818
STRATTEC                              FRED KOSLOSKE                      3333 W GOOD HOPE RD                                                                 MILWAUKEE         WI 53209‐2043
STRATTEC DE MEXICO SA DE CV           AUXILIAR 1 NO 512 PARQUE INDSTRL                                                              CD JUAREZ CI 32640
                                                                                                                                    MEXICO
STRATTEC DE MEXICO SA DE CV           AUXILIAR 1 NO 512 PARQUE INDSTRL   GEMA                                                       CD JUAREZ CI 32640
                                                                                                                                    MEXICO
STRATTEC POW/EL PASO                  2155 BUTTERFIELD DRIVE 300S                                                                                            TROY             MI 48084
STRATTEC POWER ACCESS DE MEXICO S D   AUXILIAR 1 NO 512                                                                             CUIDAD JUAREZ MX 32648
                                                                                                                                    MEXICO
STRATTEC POWER ACCESS LLC             160 CLARENCE DR                                                                                                        MOUNT STERLING    KY   40353‐9072
STRATTEC POWER ACCESS LLC
STRATTEC POWER ACCESS LLC             MARY GRYBUSH                       12160 ROJAS DR STE A                                                                HOLMESVILLE      OH    44633
STRATTEC POWER ACCESS LLC             2155 BUTTERFIELD DRIVE 300S                                                                                            TROY             MI    48084
STRATTEC SEC/EL PASO                  12160 ROJAS DR.                                                                                                        EL PASO          TX    79936
STRATTEC SEC/STHFLD                   28314 FRANKLIN RD                                                                                                      SOUTHFIELD       MI    48034‐5503
STRATTEC SEC/W ALLIS                  1706 S 68TH ST                     P.O. BOX 14606                                                                      WEST ALLIS       WI    53214‐4969
STRATTEC SECURITY CORP                3333 W GOOD HOPE RD                                                                                                    MILWAUKEE        WI    53209‐2043
STRATTEC SECURITY CORP                12160 ROJAS DR STE C               PO BOX 370470                                                                       EL PASO          TX    79936‐7705
STRATTEC SECURITY CORP                AUXILIAR 1 NO 512 PARQUE INDSTRL                                                              CD JUAREZ CI 32640
                                                                                                                                    MEXICO
STRATTEC SECURITY CORP                AUXILIAR 1 NO 512 PARQUE INDSTRL   GEMA                                                       CD JUAREZ CI 32640
                                                                                                                                    MEXICO
STRATTEC SECURITY CORP                CALLE JULIO HERNANDEZ NO 7939                                                                 JUAREZ CI 32679 MEXICO
STRATTEC SECURITY CORP                MARY GRYBUSH                       12160 ROJAS DR STE C            STRATTEC DE MEXICO SA DE                            EL PASO           TX   79936‐7705
                                                                                                         CV
STRATTEC SECURITY CORP                MARY GRYBUSH                       STRATTEC DE MEXICO SA DE CV     12160 ROJAS DR STE C                                LAWRENCEBURG     TN 38464
STRATTEC SECURITY CORP                MURPHY CALLAHAN                    MAGNETO NO 2409, COL PARQUE                                AYR ON CANADA
STRATTEC SECURITY CORP                MURPHY CALLAHAN 5932               12160 ROJAS DRIVE STE C                                    VENARIA 10078 ITALY
STRATTEC/MILWAUKEE                    AUXILIAR 1 NO 512 PARQUE INDSTR    GEMA                                                       CD JUAREZ CI 32640
                                                                                                                                    MEXICO
STRATTEC/MILWAUKEE                    3333 W GOOD HOPE RD                                                                                                    MILWAUKEE        WI    53209‐2043
STRATTON CHEVROLET CO.                DON STRATTON                       16050 STATE RTE 14                                                                  BELOIT           OH    44609
STRATTON CHEVROLET CO.                16050 STATE RTE 14                                                                                                     BELOIT           OH    44609
STRATTON EDWARD (627983)              BRAYTON PURCELL                    PO BOX 6169                                                                         NOVATO           CA    94948‐6169
STRATTON HEIDI MARIE                  4016 S TROY AVE                                                                                                        MARION           IN    46953‐9391
STRATTON JR., BILLY J                 495 FOX RIDGE RD APT B                                                                                                 RADCLIFF         KY    40160‐1293
STRATTON LARRY (448044)               KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                                       CLEVELAND        OH    44114
                                                                         BOND COURT BUILDING
STRATTON MERVIN L (429891)            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                         NORFOLK          VA 23510
                                                                         STREET, SUITE 600
STRATTON MICHAEL                      4409 GIRARD ST                                                                                                         MUSKOGEE         OK    74401‐1542
STRATTON SHARON                       1398 ANNANDALE DR                                                                                                      CLARKESVILLE     GA    30523
STRATTON, ADDISON J                   985 BEACHLAND BLVD                                                                                                     WATERFORD        MI    48328‐3901
STRATTON, ALLAN R                     5368 NASHUA DR                                                                                                         AUSTINTOWN       OH    44515‐5125
STRATTON, ALVERA T                    604 RILEY CT APT C                                                                                                     JOPPA            MD    21085‐4677
STRATTON, ALVERA T                    604 RILEY CRT # C                                                                                                      JOPPA            MD    21085‐4677
STRATTON, ALZINA E                    4577 MURPHY LAKE ROAD                                                                                                  MILLINGTON       MI    48746
STRATTON, ANDRE J                     4555 MURPHY LAKE RD                                                                                                    MILLINGTON       MI    48746‐9629
STRATTON, ANNE E                      12841 PINE ST                                                                                                          TAYLOR           MI    48180
STRATTON, ANTHONY D                   8200 PINES RD APT 1611                                                                                                 SHREVEPORT       LA    71129‐4425
STRATTON, ANTHONY D                   6139 BUNCOMBE RD                                                                                                       SHREVEPORT       LA    71129‐4109
STRATTON, ARTHUR A                    20365 NELSON RD                                                                                                        MERRILL          MI    48637‐9791
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Name                    Address1                          Address2                   Address3   Address4         City            State Zip
STRATTON, ARTHUR C      1288 HUNTER CIR                                                                          WEBSTER          NY 14580‐9549
STRATTON, ARTHUR D      PO BOX 981234                                                                            YPSILANTI        MI 48198‐1234
STRATTON, AUDREY L      185 COUNTRY CLUB DR                                                                      MELBOURNE        FL 32940‐7641
STRATTON, AUDREY L      185 COUNRY CLUB DRIVE                                                                    MELBOURNE        FL 32940‐7641
STRATTON, BARBARA SUE
STRATTON, BERT W        487 MILLBROOK ST                                                                         CANFIELD        OH    44406‐9663
STRATTON, BETTY         3671 HEISS                                                                               MONROE          MI    48162‐9422
STRATTON, BETTY         3671 HEISS RD                                                                            MONROE          MI    48162‐9422
STRATTON, BETTY L       PO BOX 124                                                                               BARKER          NY    14012‐0124
STRATTON, BETTY M       37 DAUNTON DR                                                                            ROCHESTER       NY    14624‐4231
STRATTON, BOBBY L       1 BAYWOOD DR                                                                             HEBER SPRINGS   AR    72543‐9519
STRATTON, BRIAN J       2158 COUNTRYSIDE CIRCLE                                                                  NAPERVILLE      IL    60565‐3217
STRATTON, CAROL E       2500 MANN ROAD                    LOT 351 WHITE CLOVE LANE                               CLARKSTON       MI    48346
STRATTON, CHARLES       8302 E 84TH ST                                                                           TULSA           OK    74133‐8062
STRATTON, CHARLIE A     5413 HAXTON DR                                                                           DAYTON          OH    45440‐2218
STRATTON, CLYDE E       4037 ACOMA DR                                                                            ORMOND BEACH    FL    32174‐9349
STRATTON, DALE W        15336 WEXFORD LN                                                                         ORLAND PARK      IL   60462‐6710
STRATTON, DANNY         13154 OLD STATE RD                                                                       JOHANNESBURG    MI    49751‐9785
STRATTON, DARLENE       44 WESTWOOD DR                                                                           BROCKPORT       NY    14420‐1743
STRATTON, DAVID J       1128 SPENCER DR                                                                          BROWNSBURG      IN    46112‐7712
STRATTON, DAVID L       6042 WILD TURKEY RD                                                                      GRAND BLANC     MI    48439‐7980
STRATTON, DAVID M       900 W4 MILE RD                                                                           LUTHER          MI    49656
STRATTON, DEAN E        2896 NEUMAN RD                                                                           RHODES          MI    48652‐9507
STRATTON, DENISE A      10609 ANDERSONVILLE RD                                                                   DAVISBURG       MI    48350‐3103
STRATTON, DENISE ANN    10609 ANDERSONVILLE RD                                                                   DAVISBURG       MI    48350‐3103
STRATTON, DENNIS        2712 1/2 MAHONING AVE                                                                    YOUNGSTOWN      OH    44509‐2335
STRATTON, DONALD E      658 BEAR CT C                                                                            KISSIMMEE       FL    34759
STRATTON, DONALD J      10338 BREEZEWAY CIR                                                                      BROWNSBURG      IN    46112‐8951
STRATTON, DOYLE R       6620 N LAKE RD                                                                           OTTER LAKE      MI    48464‐9700
STRATTON, EDWARD        BRAYTON PURCELL                   PO BOX 6169                                            NOVATO          CA    94948‐6169
STRATTON, EDWARD R      1946 BRIAN CT 1946                                                                       YPSILANTI       MI    48198
STRATTON, EILEEN B      3414 WOODRIDGE DR                                                                        FLUSHING        MI    48433‐9789
STRATTON, ELDON W       12640 HOLLY RD APT B103                                                                  GRAND BLANC     MI    48439‐1855
STRATTON, EMMA L        880 BOWERS ST                                                                            BIRMINGHAM      MI    48009‐6733
STRATTON, EMMA L        329 SILVERFOX DR                                                                         MILAN           MI    48160‐1293
STRATTON, ESTHER        3403 W CIRCLE DR /57                                                                     COLUMBIA CITY   IN    46725
STRATTON, ESTHER M      3403 W CIR DR /57                                                                        COLUMBIA CITY   IN    46725‐9462
STRATTON, FAYE          1166 SHAWNEE BAY RD                                                                      BENTON          KY    42025‐6061
STRATTON, FLORENCE      1930 SUE CT                                                                              LAKE ALFRED     FL    33850
STRATTON, FREEMAN J     1128 SPENCER DR                                                                          BROWNSBURG      IN    46112‐7712
STRATTON, GARETH W      APT 22                            202 MILFORD STREET                                     ROCHESTER       NY    14615‐1891
STRATTON, GARETH W      202 MILFORD ST APT 26                                                                    ROCHESTER       NY    14615‐1891
STRATTON, GARY L        9689 BIG ROCK DR                                                                         KALAMAZOO       MI    49009‐8221
STRATTON, GEORGE W      124 SUDBURY DR                                                                           LAKE PLACID     FL    33852‐6246
STRATTON, GERALD N      8478 RAMBLER DR                                                                          BROOKSVILLE     FL    34601‐2736
STRATTON, GLORIA M      7691 IDA EAST RD                                                                         IDA             MI    48140‐9335
STRATTON, HAROLD J      1004 TIMBERLINE CT                                                                       WINDSOR         CO    80550‐5734
STRATTON, HEIDI M       4016 S TROY AVE                                                                          MARION          IN    46953‐9391
STRATTON, HEIDI MARIE   4016 S TROY AVE                                                                          MARION          IN    46953‐9391
STRATTON, HELEN L       9352 BALDWIN RD                                                                          GAINES          MI    48436‐9719
STRATTON, JACK D        1166 SHAWNEE BAY RD                                                                      BENTON          KY    42025‐6061
STRATTON, JAMES E       4201 STANDISH DR                                                                         INDIANAPOLIS    IN    46221‐2440
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Name                   Address1                          Address2                       Address3   Address4                 City            State Zip
STRATTON, JEFFREY S    6820 HIGHFIELD DR                                                                                    DAYTON           OH 45415‐1532
STRATTON, JOE A        1011 LIEBECK RD                                                                                      CHELSEA          MI 48118‐9776
STRATTON, JOHN C       1451 JEFFWOOD DR                                                                                     WATERFORD        MI 48327‐2032
STRATTON, JOHN C       5522 VANDEMARK RD                                                                                    MEDINA           OH 44256‐9158
STRATTON, JOHN H       720 W 4TH ST                                                                                         ANDERSON         IN 46016‐1002
STRATTON, JOHN J       23200 LAKE RD APT 47                                                                                 BAY VILLAGE      OH 44140‐2972
STRATTON, JOHN L       PO BOX 918                                                                                           QUEEN CREEK      AZ 85142‐1818
STRATTON, JULIE R      PO BOX 12002                                                                                         BROOKSVILLE      FL 34603‐2002
STRATTON, KASI A       11103 E MCGREGOR RD                                                                                  ACTON            IN 46259‐1597
STRATTON, KENNETH K    9146 WOODRIDGE DR                                                                                    DAVISON          MI 48423‐8392
STRATTON, KENNETH W    1750 PINE DR                                                                                         ORTONVILLE       MI 48462‐9272
STRATTON, KIMBERLY A   1731 DUBLIN TRL APT 77                                                                               NEENAH           WI 54956
STRATTON, LARRY        KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                       CLEVELAND        OH 44114
                                                         BOND COURT BUILDING
STRATTON, LARRY J      1655 E HUNT RD                                                                                       MAYVILLE        MI   48744‐9675
STRATTON, LARRY L      2709 W 9TH ST                                                                                        MARION          IN   46953‐1000
STRATTON, LAWRENCE E   155 HOMESTEAD LN                                                                                     TRAVERSE CITY   MI   49686
STRATTON, LAYNE PAUL   TRACY FIRM                        5473 BLAIR RD STE 200                                              DALLAS          TX   75231‐4168
STRATTON, LEO L        1007 E BOGART RD APT 8E                                                                              SANDUSKY        OH   44870‐6409
STRATTON, LEON N       1820 MARE CREEK RD                                                                                   STANVILLE       KY   41659
STRATTON, LEONARD K    3625 PINE OAK AVE SW                                                                                 GRAND RAPIDS    MI   49509‐3915
STRATTON, LEROY J      1054 LAPORT AVE                                                                                      MOUNT MORRIS    MI   48458‐2522
STRATTON, LOIS M       9050 CLIPPERT ST                                                                                     TAYLOR          MI   48180‐2827
STRATTON, LYNDON T     32728 TIMBERWOOD DR                                                                                  LEESBURG        FL   34748‐8131
STRATTON, MACK D       3712 W 103RD ST                                                                                      CLEVELAND       OH   44111‐3813
STRATTON, MARIE L      51000 MOTT RD TRLR 32                                                                                CANTON          MI   48188
STRATTON, MAXINE       9337 56TH AVE                                                                                        HUDSONVILLE     MI   49426
STRATTON, MAXINE       8478 RAMBLER DR                                                                                      BROOKSVILLE     FL   34601‐2736
STRATTON, MERVIN L     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA   23510‐2212
                                                         STREET, SUITE 600
STRATTON, MICHAEL      6897 WOODRUFF RD                                                                                     LIMA            NY   14485‐9448
STRATTON, MICHELE A    15460 W MIDDLETOWN RD                                                                                BELOIT          OH   44609‐9227
STRATTON, MONTE J      166 W BROAD ST 2                                                                                     NANTICOKE       PA   18634
STRATTON, NORMA        901 CANTERBURY TRL                                                                                   RICHMOND        IN   47374‐6683
STRATTON, NORMA R      949 WOODLEA ST                                                                                       BIRMINGHAM      MI   48009‐2958
STRATTON, OLLIE M      5522 VANDERMARK RD                                                                                   MEDINA          OH   44256‐9158
STRATTON, PATRICIA A   1054 LAPORT AVE                                                                                      MOUNT MORRIS    MI   48458‐2522
STRATTON, PAUL M       3536 BIG BRANCH RD                                                                                   DANVILLE        WV   25053‐8079
STRATTON, PENNY L      355 W 200 N                                                                                          COLUMBIA CITY   IN   46725‐8610
STRATTON, RANDEL       PO BOX 563                                                                                           BEAVERTON       MI   48612‐0563
STRATTON, RICHARD T    1148 PARALLEL ST                                                                                     FENTON          MI   48430‐2273
STRATTON, RODNEY J     8335 SHERIDAN RD                                                                                     MILLINGTON      MI   48746‐9135
STRATTON, ROGER F      7825 BALTIMORE ANNAPOLIS BLVD                                                                        GLEN BURNIE     MD   21060‐8138
STRATTON, RONALD L     292 GOODRICH RD                                                                                      FOSTORIA        MI   48435‐9701
STRATTON, ROY          138 NORTH ST                                                                                         CALEDONIA       NY   14423‐1035
STRATTON, SHERRY A     910 LUDWIG PARK DR                                                                                   FORT WAYNE      IN   46825‐4020
STRATTON, STEPHEN      7624 W SAINT CLAIR ST                                                                                INDIANAPOLIS    IN   46214‐2554
STRATTON, STUART E     209‐3915 SOUTHWINDS DR                                                      WINDSOR ON CANADA N9G‐
                                                                                                   2S8
STRATTON, SUSAN A      5714 ESSEX LN                                                                                        CITRUS HTS      CA 95610‐7609
STRATTON, TERRY E      5368 NASHUA DR                                                                                       AUSTINTOWN      OH 44515‐5125
STRATTON, TERRY W      3403 W CIRCLE DRIVE‐57                                                                               COLUMBIA CITY   IN 46725
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Name                    Address1                      Address2                        Address3   Address4         City               State Zip
STRATTON, THOMAS L      3671 HEISS RD                                                                             MONROE              MI 48162‐9422
STRATTON, VELMA J       695 TURNPIKE                                                                              LAWRENCEBURG        TN 38464
STRATTON, VELMA J       6995 TURNPIKE                                                                             LAWRENCEBURG        TN 38464‐6948
STRATTON, VICKIE A      2490 HUNT CREEK ROAD                                                                      LEWISTON            MI 49756‐8135
STRATTON, WANETTA M     2297 WILDWOOD CIRCLE DR                                                                   GRAND BLANC         MI 48439‐4314
STRATTON, WILLIAM       505 RANCH RD                                                                              PONTE VEDRA         FL 32081
STRATTON, WILLIAM L     9352 BALDWIN RD                                                                           GAINES              MI 48436‐9719
STRATTON, WILLIAM P     1473 FINLAND DR                                                                           SPRING HILL         FL 34609‐4746
STRATTON, WILLIAM R     1106 RISECLIFF DR                                                                         GRAND BLANC         MI 48439‐8939
STRATTON, WILLIAM ROY   1106 RISECLIFF DR                                                                         GRAND BLANC         MI 48439‐8939
STRATY, ELDA E          PO BOX 624                                                                                PRUDENVILLE         MI 48651‐0624
STRATZ, BERNARD N       1902 ALTON CIRCLE ST                                                                      WALLED LAKE         MI 48390
STRATZ, DOUGLAS C       6760 W EATON HWY                                                                          LANSING             MI 48906‐9058
STRATZ, MARCUS G        500 NIGHTINGALE ST                                                                        DEARBORN            MI 48128‐1529
STRATZ, NORMAN E        220 S 4TH ST                                                                              TIPP CITY           OH 45371‐1605
STRATZ, SALLYANN L      2331 KETTLE LAKE RD                                                                       KALKASKA            MI 49646‐9118
STRATZ, WILLIAM F       PO BOX 1300                                                                               MOUNTAIN VIEW       MO 65548‐1300
STRAUB DESIGN COMPANY   2238 FLORIDA AVE SOUTH                                                                    SAINT LOUIS PARK    MN 55426
STRAUB HARRY (448045)   KELLEY & FERRARO LLP          1300 EAST NINTH STREET , 1901                               CLEVELAND           OH 44114
                                                      BOND COURT BUILDING
STRAUB MOTORS, INC.     400 HIGHWAY 35                                                                            KEYPORT            NJ   07735‐1497
STRAUB MOTORS, INC.     CHARLES STRAUB                400 HIGHWAY 35                                              KEYPORT            NJ   07735‐1497
STRAUB, ANDREW S        2825 REPPUHN DR                                                                           SAGINAW            MI   48603‐3189
STRAUB, BEVERLY J       PO BOX 85014                                                                              WESTLAND           MI   48185‐0014
STRAUB, BEVERLY J       10221 W MISSION LN                                                                        SUN CITY           AZ   85351‐4863
STRAUB, CHARLES B       9970 ALLISON RD                                                                           MAYBEE             MI   48159‐9513
STRAUB, CHARLES J       15321 OAK KNOLL DR                                                                        MONROE             MI   48161‐1071
STRAUB, CHARLES J       12677 CROWE RD                                                                            MILAN              MI   48160‐9284
STRAUB, CHRISTY         25404 HARMAN LADNER ROAD                                                                  SAUCIER            MS   39574
STRAUB, CHRISTY         24444 STANDARD CEMETARY RD                                                                KILN               MS   39556‐6313
STRAUB, DENNIS E        9655 ALLISON RD                                                                           MAYBEE             MI   48159‐9531
STRAUB, EILEEN F        35 CAMBRIDGE RD                                                                           EDISON             NJ   08817‐3807
STRAUB, FRANCIS L       429 N HOOK RD                                                                             PENNSVILLE         NJ   08070‐1026
STRAUB, HARRY           KELLEY & FERRARO LLP          1300 EAST NINTH STREET, 1901                                CLEVELAND          OH   44114
                                                      BOND COURT BUILDING
STRAUB, HARRY M         1012 ENSOR DR                                                                             JOPPA              MD   21085‐3721
STRAUB, JOHN W          42 RIVIERA DR                                                                             PENNSVILLE         NJ   08070‐2465
STRAUB, JOHN W          7219 NW DONOVAN DR            APT 1327                                                    KANSAS CITY        MO   64153‐3100
STRAUB, JOSEPH H        365 CRANBROOK BLVD                                                                        MONROE             MI   48162‐3521
STRAUB, JUSTIN          415 ASTOR AVENUE                                                                          LANSING            MI   48910‐2981
STRAUB, LEONA K         410 KIRSCH DRIVE                                                                          MATTYDALE          NY   13211‐1447
STRAUB, LEONA K         410 KIRSCH DR                                                                             MATTYDALE          NY   13211‐1447
STRAUB, LUKE J          2 POINT VIEW DR                                                                           CENTRAL SQUARE     NY   13036‐3111
STRAUB, MARC            937 JUNIPER AVE W                                                                         NORTHFIELD         MN   55057‐3354
STRAUB, MARYLOU         9855 JOAN CIRCLE              LOT 73                                                      YPSILANTI          MI   48197
STRAUB, PETER J         115 VILLA RD                                                                              SAINT MARYS        PA   15857‐3055
STRAUB, RAY             901 SW 15TH TERRACE APT B                                                                 FORT LAUDERDALE    FL   33312
STRAUB, ROBERT D        9700 GRAND RIVER DR SE                                                                    LOWELL             MI   49331‐8919
STRAUB, ROBERT L        7100 COVERED BRIDGE DR                                                                    AUSTIN             TX   78736‐3343
STRAUB, RONALD A        543 OAKBROOK CIR                                                                          FLUSHING           MI   48433‐1706
STRAUB, ROSEMARY        4661 BUSHNELL CAMPBELL NE                                                                 FOWLER             OH   44418‐9784
STRAUB, RUSSELL L       44713 COLUMB‐NEW WATERFORD                                                                COLUMBIANA         OH   44408
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Name                       Address1                          Address2                        Address3   Address4         City            State Zip
STRAUB, STEVEN P           4602 GAINES MILL DR                                                                           SYLVANIA         OH 43560‐3233
STRAUB, THEODORE C         5951 N ANN ARBOR RD                                                                           DUNDEE           MI 48131‐9772
STRAUBEL, EDWARD J         3944 NIAGARA ST                                                                               WAYNE            MI 48184‐1962
STRAUBEL, ROBERT J         15728 W CIMARRON DR               SUN CITY GRAND                                              SURPRISE         AZ 85374‐6149
STRAUBEL, THEODORE J       317 AGATE DR                                                                                  ROSCOMMON        MI 48653‐8753
STRAUBEL, TIMOTHY L        13810 HUNTERS HAWK ST                                                                         SAN ANTONIO      TX 78230‐5408
STRAUBHAAR, WILLIAM A      1083 N COLLIER BLVD PMB 151                                                                   MARCO ISLAND     FL 34145‐2539
STRAUBHAAR, WILLIAM R      1741 CREEKSTONE DR                                                                            COLUMBIA         TN 38401‐6718
STRAUCH, ELEANOR L         3139 CARTER ST S                                                                              KOKOMO           IN 46901‐7048
STRAUCH, ERNEST F          4131 CLEMATIS DR                                                                              SAGINAW          MI 48603‐1164
STRAUCH, JAIME A           APT 21208                         7990 EAST SNYDER ROAD                                       TUCSON           AZ 85750‐9046
STRAUCH, LAWRENCE A        6434 STILLWATER DR                                                                            CHELSEA          MI 48118‐9165
STRAUCH, THOMAS E          6812 E FISHER LN                                                                              MUNCIE           IN 47303‐4514
STRAUCH, VERA              812 S WHITNEY RD                                                                              MUNCIE           IN 47302‐9248
STRAUCH, VERA              812 WHITNEY RD                                                                                MUNCIE           IN 47302‐9248
STRAUCH, WILLIAM R         158 KENSINGTON PARK DR                                                                        DAVENPORT        FL 33897‐9776
STRAUCHMAN, MARTHA         5329 HIGHLAWN WAY                                                                             BRIGHTON         MI 48114
STRAUEL JR., DOUGLAS L     2930 ALOUETTE 114‐1                                                                           GRAND PRAIRIE    TX 75052
STRAUEL, DONALD D          3286 FARNSWORTH RD                                                                            LAPEER           MI 48446‐8721
STRAUEL, DOUGLAS L         6017 VIA BREVE UNIT 1                                                                         SIMI VALLEY      CA 93063‐4044
STRAUEL, LURA E            6017 VIA BREVE UNIT 1                                                                         SIMI VALLEY      CA 93063‐4044
STRAUER, ROBERT D          116 GERMAN ST                                                                                 OTTAWA           OH 45875‐9496
STRAUER, STEPHEN A         PO BOX 642                                                                                    KALIDA           OH 45853‐0642
STRAUGH, JAY               1516 COUNTY ROAD 546                                                                          PIGGOTT          AR 72454‐8101
STRAUGHAN, FRANK           PORTER & MALOUF PA                4670 MCWILLIE DR                                            JACKSON          MS 39206‐5621
STRAUGHEN, MILDRED E       2500 GROVER AVE                                                                               PUNTA GORDA      FL 33982‐1514
STRAUGHEN, MILDRED E       2500 GROVER AV                                                                                PUNTA GORDA      FL 33982‐1514
STRAUGHN, JOHN             376 PALMETTO AVENUE NORTHEAST                                                                 WINTER HAVEN     FL 33881‐2572
STRAUGHN, JOHN             1735 HIGHLAND AVE APT 1                                                                       CINCINNATI       OH 45202
STRAUGHTER, RUBY J         13573 WARD ST                                                                                 DETROIT          MI 48227‐3548
STRAUGHTER, VICTORIA       24200 LATHRUP BLVD APT #206                                                                   SOUTHFIELD       MI 48075
STRAUMANN JARED            ALEX SIMANOVSKY AND ASSOCIATES    2300 HENDERSON MILL RD NE STE                               ATLANTA          GA 30345‐2704
                                                             300
STRAUMANN MARGARET         1445 RAMON RD                                                                                 LADY LAKE       FL   32162‐7602
STRAUN, HAZEL G            40 JOHN AVE                                                                                   BRISTOL         CT   06010‐4450
STRAUN, RICHARD B          40 JOHN AVE                                                                                   BRISTOL         CT   06010‐4450
STRAUS, LARRY A            230 HOVENKAMP ST                                                                              KELLER          TX   76248‐3417
STRAUS, MICHAEL E          2401 LINDSAY LN                                                                               GRAND BLANC     MI   48439‐8080
STRAUS, PAUL F             8506 REID RD                                                                                  SWARTZ CREEK    MI   48473‐7629
STRAUS, SHERYL A           8506 REID RD                                                                                  SWARTZ CREEK    MI   48473‐7629
STRAUSBAUGH, CHARLOTTE I   1006 WENBROOK DRIVE                                                                           KETTERING       OH   45429‐4419
STRAUSBAUGH, DALE D        118 E SOUTH A ST                                                                              GAS CITY        IN   46933‐1705
STRAUSBAUGH, EDGAR A       1715 MOUNT VERNON DR                                                                          FT WRIGHT       KY   41011‐3708
STRAUSBAUGH, FRANCIS H     10993 N SHORE DR                                                                              HILLSBORO       OH   45133‐9257
STRAUSBAUGH, FRANCIS H     10993 NORTH SHORE DRIVE                                                                       HILLSBORO       OH   45133‐5133
STRAUSBAUGH, HELEN E       3833 FALLS CIRCLE DRIVE                                                                       HILLIARD        OH   43026‐3026
STRAUSBAUGH, HELEN L       610 FOREST MEADOW CT              C/O KAREN S BYNUM                                           DEFIANCE        MO   63341‐1817
STRAUSBAUGH, JOINER L      5983 CINDY DR                                                                                 DAYTON          OH   45449‐3206
STRAUSBAUGH, LINDA M       318 WOODWARD AVE                                                                              ROCHESTER       MI   48307‐1166
STRAUSBAUGH, THELMA L      3217 BULAH DR                                                                                 KETTERING       OH   45429‐4011
STRAUSBURG, JAMES R        1054 WEDGE CREEK PL                                                                           CENTERVILLE     OH   45458‐3986
STRAUSE, WINIFRED I        6069 OHIO 113                                                                                 BELLEVUE        OH   44811
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Name                           Address1                           Address2                    Address3   Address4            City                State Zip
STRAUSER I I, DONALD R         805 LINCOLN ST                                                                                ELSBERRY             MO 63343‐1126
STRAUSER II, DONALD R          805 LINCOLN ST                                                                                ELSBERRY             MO 63343‐1126
STRAUSER, DONALD R             PO BOX 109                                                                                    MINERAL POINT        MO 63660‐0109
STRAUSER, JERRY L.             1443 E JUDD RD                                                                                BURTON               MI 48529‐2005
STRAUSER, WALTER J             7727W WHITMAN RD                                                                              MANISTIQUE           MI 49854‐8816
STRAUSER, WALTER J             R R 2 BOX 2904                                                                                MANISTIQUE           MI 49854‐9708
STRAUSHEIM, GEORGE J           1425 BRICKELL AVE APT 41C                                                                     MIAMI                FL 33131‐3401
STRAUSHEIM, GEORGE JOHN        1435 BRICKELL AVENUE                                                                          MIAMI                FL 33131‐3407
STRAUSS ALOJZ V & GLADYS A     4853 LEON RD                                                                                  ANDOVER              OH 44003‐9628
STRAUSS JORDAN                 LEAVELL DAVIS, TROY                UNKNOWN
STRAUSS JORDAN                 STRAUSS, JORDAN                    22005 UNIVERSITY BLVD #10                                  DENVER              CO 80210
STRAUSS JR, LOUIS H            1216 OAKMONT DR                                                                               TEMPERANCE          MI 48182‐9564
STRAUSS KENNETH D (656492)     ANGELOS PETER G LAW OFFICES        60 WEST BROAD ST                                           BETHLEHEM           PA 18018
STRAUSS PETER                  NAURODER STR 74                                                           WEISBADEN 65191
                                                                                                         GERMANY
STRAUSS PHILIPP                400 CHARLES ST                                                                                EAST WILLISTON      NY 11596‐2520
STRAUSS RADIO
STRAUSS RADIO                  529 14TH STREET NW                 SUITE 1163                                                 WASHINGTON          DC 20045
STRAUSS RADIO STRATEGIES INC   529 14TH ST NW STE 1163                                                                       WASHINGTON          DC 20045‐2111
STRAUSS RADIO STRATEGIES INC
STRAUSS, ALBERTA M             218 ROSS ST                                                                                   BATAVIA             NY   14020‐1606
STRAUSS, BETTY J               124 ARCHER LN                                                                                 MILLINGTON          MD   21651‐1658
STRAUSS, BETTY J               9890 MCCABE DR                                                                                DIMONDALE           MI   48821‐9447
STRAUSS, CARL H                5201 S TORREY PINES DR UNIT 1177                                                              LAS VEGAS           NV   89118‐0609
STRAUSS, DONALD W              12170 COMMERCE RD                                                                             MILFORD             MI   48380‐1202
STRAUSS, DONNA                 1612 E WINDEMERE AVE                                                                          ROYAL OAK           MI   48073‐5615
STRAUSS, EBERHARD F            1166 ZIRCON COURT                                                                             RIO RICO            AZ   85648‐3310
STRAUSS, EDGAR L               770 GOLFERS PASS RD                                                                           INCLINE VILLAGE     NV   89451‐8820
STRAUSS, ERIC J                9550 SILVERSIDE                                                                               SOUTH LYON          MI   48178‐8810
STRAUSS, ERIN E                3371 S GENESEE RD                                                                             BURTON              MI   48519‐1425
STRAUSS, GARY G                G3284 E MAPLE AVE                                                                             FLINT               MI   48507
STRAUSS, JANE M                794 SHORE ROAD                                                                                NORTHPORT           ME   04849‐4226
STRAUSS, JANE M                794 SHORE RD                                                                                  NORTHPORT           ME   04849‐4226
STRAUSS, JEFFREY M             3428 MARKINS DR                                                                               METAMORA            MI   48455‐9347
STRAUSS, JODY                  8 ONEIDA TRL                                                                                  LOWER BURRELL       PA   15068‐9782
STRAUSS, JODY                  8 ONEIDA TRAIL                                                                                LOWER BURRELL       PA   15068‐9782
STRAUSS, JOSEPH F              410 S SHIAWASSEE ST                                                                           CORUNNA             MI   48817‐1644
STRAUSS, KAREN M               4593 RACEWOOD DR                                                                              COMMERCE TOWNSHIP   MI   48382‐1168
STRAUSS, KATHRYN L             7213 LASSITER DRIVE                                                                           PARMA               OH   44129‐6508
STRAUSS, KENNETH D             ANGELOS PETER G LAW OFFICES        60 WEST BROAD ST                                           BETHLEHEM           PA   18018‐5737
STRAUSS, LAURIE                48 LOWELL RD                                                                                  KENMORE             NY   14217‐1204
STRAUSS, LEO L                 5264 WORCHESTER DR                                                                            SWARTZ CREEK        MI   48473‐1160
STRAUSS, MARIE E.              13163 PARK ST APT 8                                                                           ALDEN               NY   14004‐1051
STRAUSS, MARIE E.              13163 PARK STREET #8                                                                          ALDEN               NY   14004‐1051
STRAUSS, MARK
STRAUSS, MICHAEL R             5311 GREENLEAF DR                                                                             SWARTZ CREEK        MI   48473‐1135
STRAUSS, MICHAEL ROBERT        5311 GREENLEAF DR                                                                             SWARTZ CREEK        MI   48473‐1135
STRAUSS, QUANG V               1450 N STATE HIGHWAY 360 APT 177                                                              GRAND PRAIRIE       TX   75050‐4103
STRAUSS, REBECCA               7825 DOUBLETREE COURT                                                                         KALAMAZOO           MI   49009‐9771
STRAUSS, RICHARD H             PO BOX 112                                                                                    SPEEDWELL           TN   37870‐0112
STRAUSS, RICHARD J             4924 W BIS RD                                                                                 MIDLAND             MI   48642‐9258
STRAUSS, RICHARD J             14165 OLD PLEASANT VALLEY RD                                                                  MIDDLEBRG HTS       OH   44130‐4923
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Name                                Address1                           Address2                      Address3   Address4         City             State Zip
STRAUSS, ROBERT E                   330 W PRESNELL ST APT 46                                                                     ASHEBORO          NC 27203
STRAUSS, ROBERT G                   4389 E PROCUNIER RD                                                                          MIKADO            MI 48745‐9786
STRAUSS, ROBERT H                   7546 BROAD LEAF LANE                                                                         FISHERS           IN 46038‐1854
STRAUSS, ROBERT K                   PO BOX 213                                                                                   OWOSSO            MI 48867‐0213
STRAUSS, RONALD D                   10001 E GOODALL RD UNIT C3         LEISURE LAKE CONDO ASSC                                   DURAND            MI 48429‐9752
STRAUSS, TERENCE A                  144 HASKINS LN S                                                                             HILTON            NY 14468‐9003
STRAUSS, TIMOTHY M                  504 SCONE DR                                                                                 TROY              MI 48098‐1736
STRAUSS, WILLIAM D                  2345 OLMSTEAD RD                                                                             WEST JEFFERSON    OH 43162‐9696
STRAUSSER ROBERT                    STRAUSSER, ROBERT                  12 HARDING STREET SUITE 110                               LAKEVILLE         MA 02347
STRAUSSER, BRIAN E                  3119 WOODHOME AVE                                                                            BALTIMORE         MD 21234‐7809
STRAUSSER, BRIAN ERIC               3119 WOODHOME AVE                                                                            BALTIMORE         MD 21234‐7809
STRAUSSER, BYRON                    4990 GROVELAND RD                                                                            ORTONVILLE        MI 48462‐9099
STRAUSSER, JEFFREY A                344 HIGH BLUFFS DR                                                                           ORTONVILLE        MI 48462‐9484
STRAUSSER, PATRICIA L               4990 GROVELAND RD                                                                            ORTONVILLE        MI 48462‐9099
STRAUSSER, VALORY A                 16380 N SAN PEDRO RIVER RD                                                                   BENSON            AZ 85602
STRAUTNIEKS, RUTE                   240 S WISCONSIN AVE                                                                          ADDISON            IL 60101‐3838
STRAVAKOS, JOHN N                   153 FLOWER DALE DR                                                                           ROCHESTER         NY 14626‐1674
STRAVERS, JOHN J                    26612 S DIGSWELL CT                                                                          SUN LAKES         AZ 85248‐7110
STRAW NORMA                         13483 PARKCREST PL                                                                           ROSCOE             IL 61073‐9790
STRAW PHILIP (ESTATE OF) (456931)   SIMMONS FIRM                       PO BOX 559                                                WOOD RIVER         IL 62095‐0559
STRAW'S AUTO CENTER                 635 RANGE END RD                                                                             DILLSBURG         PA 17019‐8704
STRAW, ARTHUR F                     10395 BUSCH RD                                                                               BIRCH RUN         MI 48415‐9710
STRAW, BARBARA J                    1521 N HIGHWAY 99 LOT 37                                                                     STROUD            OK 74079‐4753
STRAW, JIMMIE L                     1521 N HIGHWAY 99 37                                                                         STROUD            OK 74079
STRAW, JOHN L                       PO BOX 434                                                                                   CLAYTON           IN 46118‐0434
STRAW, LEONA M                      6508 BUFFALO AVE                   HERITAGE MANOR                                            NIAGARA FALLS     NY 14304‐3930
STRAW, LEONA M                      HERITAGE MANOR                     6508 BUFFALO AVE                                          NIAGARA FALLS     NY 14304
STRAW, MARIAN J                     14744 144TH AVE                                                                              SPRING LAKE       MI 49456‐9538
STRAW, PHILIP                       SIMMONS FIRM                       PO BOX 559                                                WOOD RIVER         IL 62095‐0559
STRAW, RONALD                       146 SMOKEY DR                                                                                TOWNSEND          TN 37882‐3920
STRAWBACK, CHARLES F                2683 E 300 S                                                                                 KOKOMO            IN 46902‐9249
STRAWBACK, ROSE M                   2683 E 300 S                                                                                 KOKOMO            IN 46902‐9249
STRAWBERRY, JUANITA C               3319 N COLLEGE AVE                                                                           INDIANAPOLIS      IN 46205‐3859
STRAWBERRY, JUANITA C               3319 N. COLLEGE AVENUE                                                                       INDIANAPOLIS      IN 46205‐3859
STRAWBRIDGE II, THEODORE A          14200 LANDINGS WAY                                                                           FENTON            MI 48430‐1318
STRAWDER COOPER                     805 WALTON AVE                                                                               DAYTON            OH 45402‐5332
STRAWDER COOPER                     805 WALTON AVE                                                                               DAYTON            OH 45407‐1332
STRAWDER, DONNA J                   2751 E ROSEWOOD DR                                                                           MOORESVILLE       IN 46158‐6360
STRAWDER, JERRY R                   2751 E ROSEWOOD DR                                                                           MOORESVILLE       IN 46158‐6360
STRAWDER, KATHERYN R                908 HURON AVE                                                                                DAYTON            OH 45402‐5326
STRAWDER, MARY A                    216 FISHER                                                                                   PONTIAC           MI 48341‐2414
STRAWDERMAN, TIMOTHY A              7832 MISTY SHORE DR                                                                          WEST CHESTER      OH 45069‐9647
STRAWMAN, EDNA M                    PORTAGE VALLEY RETIREMENT COMUNI                                                             PEMBERVILLE       OH 43450

STRAWMAN, EDNA M                    OFC                                20311 PEMBERVILLE ROAD                                    PEMBERVILLE      OH   43450‐9411
STRAWMAN, STEVEN E                  PO BOX 172                         11583 GARFIELD RD APT 10                                  HIRAM            OH   44234‐0172
STRAWN SR, CARL W                   1505 EDGEHILL AVE SE                                                                         WARREN           OH   44484‐4523
STRAWN, DON A                       1263 W BEAVER RD                                                                             AUBURN           MI   48611‐9722
STRAWN, ELIZABETH A                 1224 OLD RENO ROAD                                                                           SPRINGTOWN       TX   76082‐6942
STRAWN, GABRIELE M                  6145 ST RT 46                                                                                CORTLAND         OH   44410
STRAWN, JENNIFER L                  PO BOX 239                                                                                   CARROLL          OH   43112‐0239
STRAWN, MERLE T                     2610 S MONROE ST                                                                             BAY CITY         MI   48708‐8412
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Name                             Address1                          Address2                          Address3   Address4         City               State Zip
STRAWN, PAULINE ELANE            PO BOX 786                                                                                      QUINLAN             TX 75474‐0014
STRAWN, ROBERT D                 507 SW HOLLOWAY LN                                                                              LEES SUMMIT         MO 64081‐2828
STRAWN, SUSAN J                  1505 EDGEHILL AVE SE                                                                            WARREN              OH 44484‐4523
STRAWN, WILLIAM C                2668 SW 103RD ST                                                                                GAINESVILLE         FL 32608‐9074
STRAWN,SR, SUSAN                 1505 EDGEHILL AVE SE                                                                            WARREN              OH 44484
STRAWSER STEEL DRUM OF OHIO LT   PO BOX 637                        1410 BLATT BLVD                                               BLACKLICK           OH 43004‐0637
STRAWSER WALTER L (475173)       ANGELOS PETER G                   100 N CHARLES STREET , ONE                                    BALTIMORE           MD 21201
                                                                   CHARLES CENTER
STRAWSER, ALICE C                1508 MEEKER AVE.                                                                                MUNCIE             IN   47302‐3828
STRAWSER, ALICE C                1508 S MEEKER AVE                                                                               MUNCIE             IN   47302‐3828
STRAWSER, CHARLES                175 DOUBLE OAKS DR                                                                              DOUBLE OAK         TX   75077‐8266
STRAWSER, DONALD E               216 SWEITZER ST.                                                                                GREENVILLE         OH   45331‐1346
STRAWSER, DONALD L               6524 W 13TH ST                                                                                  INDIANAPOLIS       IN   46214‐3443
STRAWSER, JAMES D                9552 DELISLE FOURMAN RD                                                                         ARCANUM            OH   45304‐9638
STRAWSER, MARGARET M             6524 W 13TH ST                                                                                  INDIANAPOLIS       IN   46214‐3443
STRAWSER, MARINA                 4731 MOON CHASE DR                                                                              BUFORD             GA   30519‐5362
STRAWSER, MARION J               14306 CEDAR COVE                  LOT 35                                                        FENTON             MI   48430
STRAWSER, MARY E                 HC 67 BOX 40                                                                                    HUNDRED            WV   26575‐9705
STRAWSER, NORMA J                701 S HENDRICKS AVE                                                                             MARION             IN   46953‐1219
STRAWSER, WALTER L               ANGELOS PETER G                   100 N CHARLES STREET, ONE                                     BALTIMORE          MD   21201‐3812
                                                                   CHARLES CENTER
STRAWTHER, TOMMIE DOROTHEA       4138 FOREST OAK DR                                                                              SHREVEPORT         LA   71109‐8320
STRAY, JEFFREY A                 23329 APPLE RD                                                                                  WATERFORD          WI   53185‐3808
STRAY, JEFFREY ALAN              23329 APPLE RD                                                                                  WATERFORD          WI   53185‐3808
STRAY, MERRILL                   13925 SASSAFRAS CT NE                                                                           GREENVILLE         MI   48838‐9033
STRAY, MERRILL                   6455 BELDING RD                                                                                 BELDING            MI   48809‐9588
STRAYER COLLEGE                  BUSINESS OFFICE                   9990 BATTLEVIEW PKWY                                          MANASSAS           VA   20109‐2330
STRAYER UNIVERSITY               4900 KOGER BLVD STE 400                                                                         GREENSBORO         NC   27407‐2766
STRAYER UNIVERSITY               BUSINESS OFFICE                   9110 KINGS PARADE BLVD                                        CHARLOTTE          NC   28273‐4605
STRAYER UNIVERSITY               NASHVILLE CAMPUS                  1809 DABBS AVE                                                NASHVILLE          TN   37210‐3805
STRAYER UNIVERSITY               BUSINESS OFFICE                   8382 F TERMINAL RD                                            LORTON             VA   22079
STRAYER UNIVERSITY               BUSINESS OFFICE                   PO BOX 487                                                    NEWINGTON          VA   22122‐0487
STRAYER UNIVERSITY               ARLINGTON CAMPUS                  2121 15TH STREET NORTH                                        ARLINGTON          VA   22201
STRAYER UNIVERSITY               BUSINESS OFFICE                   9920 FRANKLIN SQUARE DR STE 200                               BALTIMORE          MD   21236‐4985

STRAYER UNIVERSITY               TAKOMA PARK CAMPUS                6830 LAUREL ST NW                                             WASHINGTON         DC 20012‐2016
STRAYER UNIVERSITY               BUSINESS OFFICE                   700 INDEPENDENCE PKWY STE 400                                 CHESAPEAKE         VA 23320‐5186

STRAYER UNIVERSITY               9920 FRANKLIN SQUARE DR           STE 200                                                       BALTIMORE          MD   22123‐4985
STRAYER UNIVERSITY ‐ CHARLESTO   5010 WETLAND XING                                                                               NORTH CHARLESTON   SC   29418‐6951
STRAYER, BYRAM E                 1200 DAYTON GERMANTOWN PIKE                                                                     GERMANTOWN         OH   45327
STRAYER, DARRELL L               6570 MILL RD BOX 157                                                                            RIVERDALE          MI   48877
STRAYER, DEAN L                  125 ROLLING DR                                                                                  NEWARK             DE   19713‐2021
STRAYER, DONALD V                152 HARPER RD                                                                                   STREETSBORO        OH   44241‐5722
STRAYER, FRANCES P               409 WEST SHERWOOD TERRACE                                                                       FORT WAYNE         IN   46807‐2735
STRAYER, FRANCES P               409 W SHERWOOD TER                                                                              FORT WAYNE         IN   46807‐2735
STRAYER, FRED A                  703 BERKELEY ST                                                                                 KENT               OH   44240‐4505
STRAYER, JEFFREY A               229 DEKALB ST                                                                                   TONAWANDA          NY   14150‐5411
STRAYER, JERRY L                 2801 N HIGHLANDS BLVD                                                                           FORT WAYNE         IN   46808‐1988
STRAYER, JOHN E                  1212 REDCLIFFE ST                                                                               WOODRIDGE          IL   60517‐7734
STRAYER, KIRBY L                 1250 DAYTON‐GERMANTOWN PIKE                                                                     GERMANTOWN         OH   45327‐5327
STRAYER, KIRBY L                 1250 DAYTON GERMANTOWN PIKE                                                                     GERMANTOWN         OH   45327‐1148
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Name                                 Address1                              Address2                          Address3   Address4            City                 State Zip
STRAYER, MARJORIE                    600 SYCAMORE TURN LN                                                                                   COLUMBUS              OH 43213‐2391
STRAYER, MARY E                      3918 STATE ROUTE 113 E                                                                                 MILAN                 OH 44846‐9431
STRAYER, MARY E                      3918 ST RT 113 E                                                                                       MILAN                 OH 44846‐9431
STRAYER, MARY JEAN                   540 UPLAND DR                                                                                          WEST CARROLLTON       OH 45449‐1607
STRAYER, MICHAEL D                   54 ARGUS ST                                                                                            BUFFALO               NY 14207‐1218
STRAYER, MICHAEL DAVID               54 ARGUS ST                                                                                            BUFFALO               NY 14207‐1218
STRAYER, PHYLLIS J                   8676 CROWL RD                                                                                          DE GRAFF              OH 43318‐9539
STRAYER, PHYLLIS J                   8676 CROWL ROAD                                                                                        DEGRAFF               OH 43318‐9539
STRAYER, REGIS A                     6745 OTTAWA AVE                                                                                        MADISON               OH 44057‐1245
STRAYHORN, CLARENCE E                7595 DOUBLOON DR SE                                                                                    GRAND RAPIDS          MI 49546‐9163
STRAYHORN, HARRY W                   9250 RIDGE POST                                                                                        SAN ANTONIO           TX 78250
STRAYHORN, HERMAN M                  401 LAWRENCE MILL RD                                                                                   MOLENA                GA 30258‐3532
STRAYHORN, JOSEPH T                  26928 KINGSWOOD DR                                                                                     DEARBORN HTS          MI 48127‐3366
STRAYHORN, NEALE E                   2601 W 18TH ST                                                                                         INDIANAPOLIS          IN 46222‐2843
STRAYHORN, RONALD A                  5497 VIA MIRA FLORES                                                                                   NEWBURY PARK          CA 91320‐6882
STRAYTON, GAIL P                     4929 INDEPENDENCE CIR UNIT A                                                                           STOW                  OH 44224‐2056
STRAZA JAMIE                         14648 LA PLATA                                                                                         SAN DIEGO             CA 92127
STRAZAR, ANTON                       4077 MAGNOLIA DR                                                                                       BRUNSWICK             OH 44212‐1570
STRAZISAR, SUSAN J                   7328 WESTLAKE RD APT 2                                                                                 BELLEVUE              MI 49021‐9240
STRAZLKA, JEROME R                   1047 WISH CIR                                                                                          EAST AURORA           NY 14052‐9654
STRAZZA, ELLEN M                     2561 BRONXWOOD AVE                                                                                     BRONX                 NY 10469
STRAZZERI                            11550 INDIAN HILLS RD STE 351                                                                          MISSION HILLS         CA 91345‐1252
STRAZZULLA, JACK                     8248 E SENECA TPKE                                                                                     MANLIUS               NY 13104‐2129
STRBENAC, DONA T                     12799 DOULA LANE                      APT 222                                                          NORTH ROYALTON        OH 44133
STRBENAC, RUBY                       204 MEADOW LANE                                                                                        ROCHESTER HILLS       MI 48307‐3064
STREADYFLOW SERVICES INC             PO BOX 294                                                                                             BASKING RIDGE         NJ 07920‐0294
STREAKS, STANLEY J                   6 SADDLEWOOD CT                                                                                        HILTON HEAD ISLAND    SC 29926‐2607
STREAM WILLUS C (629624)             GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK               VA 23510
                                                                           STREET, SUITE 600
STREAM, WILLUS C                     GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                      NORFOLK              VA 23510‐2212
                                                                           STREET, SUITE 600
STREAMLINE PACKAGING SOLUTIONS       907 AVE T STE 106                                                                                      GRAND PRAIRIE         TX   75050
STREAMLINE PLUMBING
STREAMLINE PLUMBING INC               STATE FARM MUTUAL AUTOMOBILE         29508 SOUTHFIELD ROAD SUITE 206                                  SOUTHFIELD           MI 48076
                                      INSURANCE COMPANY
STREAMLINE PLUMBING INC               29508 SOUTHFIELD ROAD SUITE 206                                                                       SOUTHFIELD           MI 48076
STREAMLINE TOOLING SYSTEMS (STS), INC 3306 BALSAM AVE NE                                                                                    GRAND RAPIDS         MI 49525‐2884

STREAMLINE TOOLING SYSTEMS (STS), INC ATTN: CORPORATE OFFICER/AUTHORIZED   3306 BALSAM AVE NE                                               GRAND RAPIDS         MI 49525‐2884
                                      AGENT
STREAMLOGICS INC                      400‐555 RICHMOND ST W                                                             TORONTO CANADA ON
                                                                                                                        M5V 3B1 CANADA
STREAMS, DONALD H                    1710 OLSON RD                                                                                          MARION CENTER        PA 15759‐4505
STREAMSERVE INC.                     GENERAL COUNSEL                       3 VAN DE GRAAFF DR                STE 3                          BURLINGTON           MA 01803‐5143
STREAMSERVE LIMITED                  GENERAL COUNSEL                       3 VAN DE GRAAFF DR                STE 3                          BURLINGTON           MA 01803‐5143
STREAMSERVE LIMITED
STREASICK, GERALD T                  4426 LUDLOW RD SW                                                                                      SOUTH BOARDMAN       MI 49680‐9758
STREASICK, PETER P                   2383 N OAK RD                                                                                          DAVISON              MI 48423‐8170
STREATY, DONALD L                    PO BOX 3162                                                                                            ANDERSON             IN 46018‐3162
STREATY, JOHN T
STREATY, JULIUS                      1227 WEST 13TH STREET                                                                                  ANDERSON              IN   46016‐3301
STREATY, KIM M                       5221 HILLCREST AVE                                                                                     ANDERSON              IN   46011‐1006
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Name                         Address1                          Address2                        Address3   Address4         City                 State Zip
STREATY, KIM M               1706 HILLCREST AVE                                                                            ANDERSON              IN 46011
STREATY, MARYBELLE P         1293 SOUTHFIELD ROAD                                                                          BIRMINGHAM            MI 48009‐3081
STREATY, SOPHIA H            PO BOX 3162                                                                                   ANDERSON              IN 46018‐3162
STREATY, VIRGINIA            P O BOX 2514                                                                                  ANDERSON              IN 46018‐2514
STREATY, VIRGINIA            PO BOX 2514                                                                                   ANDERSON              IN 46018‐2514
STREAVEL, CHARLES H          10800 E 400 S                                                                                 GREENTOWN             IN 46936‐8958
STREAVEL, MADONNA E          10800 E 400 S                                                                                 GREENTOWN             IN 46936‐8958
STREB SR, WILLIAM            453 MONTROSE DR                                                                               ROMEOVILLE             IL 60446‐1545
STREB, AMELIA S              34 MCDONALD AVE                                                                               NILES                 OH 44446‐3922
STREB, ERIC P                4547 SIMON RD.                                                                                BOARDMAN              OH 44512
STREB, GEORGE                1340 SWANN RD                                                                                 YOUNGSTOWN            NY 14174‐9759
STREB, LOIS E                453 MONTROSE DR                                                                               ROMEOVILLE             IL 60446‐1545
STREB, RICHARD R             2534 BERNICE CT                                                                               MELBOURNE             FL 32935‐2935
STREB, RICHARD R             2553 ALLYSON DR SE                                                                            WARREN                OH 44484‐3709
STREBE, GEORGE A             3285 PARKWOOD RD                                                                              LEWISTON              MI 49756‐8644
STREBE, GERALD A             4045 SYLVAN RD                                                                                EVART                 MI 49631‐8198
STREBE, RICHARD R            13101 DUVAL DR                                                                                FISHERS               IN 46037‐8259
STREBE, RONALD L             2241 MCGRATH ST                                                                               GRAND BLANC           MI 48439‐4272
STREBE, RUSSELL L            1610 CLOVER LN                                                                                JANESVILLE            WI 53545‐1371
STREBEL, ROGELIO D           30137 FOX GROVE RD                                                                            FARMINGTON HILLS      MI 48334‐2042
STREBER, PAUL M              11801 RIVER RD                                                                                ATLANTA               MI 49709‐9273
STREBIG, CONSTANCE M         4053 S MEADOW LN                                                                              MOUNT MORRIS          MI 48458‐9311
STREBIG, DOLORES J           435 LABREE AVE                                                                                LEHIGH ACRES          FL 33936‐9680
STREBIG, DONALD J            1032 STONE DR                                                                                 W ALEXANDRIA          OH 45381‐9577
STREBIG, ROBERT K            4053 S MEADOW LN                                                                              MOUNT MORRIS          MI 48458‐9311
STREBIG,DONALD J             1032 STONE DR                                                                                 W ALEXANDRIA          OH 45381‐9577
STREBIN, DONALD G            1618 W ALTO RD                                                                                KOKOMO                IN 46902‐4834
STREBY, JAMES E              1420 RIDGELAWN AVE                                                                            FLINT                 MI 48503‐2755
STRECANSKY, VINCENT A        240 OAKRIDGE DR                                                                               PULASKI               PA 16143‐1506
STRECANSKY, VINCENT A        318 OAKRIDGE DR                                                                               PULASKI               PA 16143‐1508
STRECHA, AMALIA L            3067 BAYVIEW DR.                                                                              FENTON                MI 48430
STRECHA, AMALIA L            3067 BAY VIEW DR                                                                              FENTON                MI 48430‐3302
STRECHA, JOSEPH S            STE 2                             624 SOUTH GRAND TRAVERSE ST                                 FLINT                 MI 48502‐1230
STRECK, JOHN H               331 VERMILLION DR                                                                             O FALLON               IL 62269‐7147
STRECK, JOHN R               2033 CRAIG DR                                                                                 KETTERING             OH 45420‐3617
STRECK, KATHLEEN M           2260 COACH DR APT B                                                                           KETTERING             OH 45440‐2737
STRECK, MARY E               6385 JOSEPH PL                                                                                CENTERVILLE           OH 45459‐2504
STRECKER, JAMES W            540 MAPLE AVE                                                                                 BRISTOL               CT 06010‐2697
STRECKER, JEANNE L           P.O. BOX 756                                                                                  UNALASKA              AK 99685
STRECKER, JOAN J             540 MAPLE AVE                                                                                 BRISTOL               CT 06010‐2697
STRECKER, SHIRLEY A          60 E COUNTY ROAD 6                                                                            TIFFIN                OH 44883‐8507
STRECKERT ANGELA MARIE       STRECKERT, ANGELA MARIE           3541 45TH AVE S                                             MINNEAPOLIS           MN 55406‐2926
STRECZYWILK CHRIS (491328)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD            OH 44067
                                                               PROFESSIONAL BLDG
STREDNEY, ELAINE K           3154 DEER TRL UNIT D                                                                          CORTLAND             OH   44410‐9273
STREDNEY, LARRY A            839 FREDERICK ST                                                                              NILES                OH   44446‐2719
STREDNEY, SCOTT M            2855 WEILACHER RD SW                                                                          WARREN               OH   44481‐9152
STREDNEY, TAMMY L            22 ZACHARY COURT                                                                              MANSFIELD            TX   76063‐5000
STREDNEY, TERENCE P          728 LINCOLN AVE                                                                               NILES                OH   44446‐3162
STREDNEY, WILLIAM E          386 LAIRD AVE SE                                                                              WARREN               OH   44483‐6026
STREEBEL, KENNETH J          P O 25                                                                                        ATHOL SPRINGS        NY   14010‐0025
STREEFKERK, JOHN K           31312 ARROWHEAD ST                                                                            SAINT CLAIR SHORES   MI   48082‐1280
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Name                              Address1                         Address2                 Address3    Address4                 City              State Zip
STREEFLAND, ERIN                  1205 JEFFERSON RD                                                                              NORTHFIELD         MN 55057‐2750
STREEKY, JAMES A                  4167 CLARIDGE DR                                                                               YOUNGSTOWN         OH 44511‐1009
STREET BLIMPS                     DOUG FRANTIN                     465 ENDO BLVD                                                 GARDEN CITY        NY 11530
STREET BROS. AUTO ELECTRIC LTD.   365 ENFORD RD. UNIT 2                                                 RICHMOND HILL ON L4C
                                                                                                        3G2 CANADA
STREET CARTAGE LIMITED            PO BOX 359                                                            PETROLIA CANADA ON N0N
                                                                                                        1R0 CANADA
STREET DEPT GARAGE                1200 S HOYT AVE                                                                                MUNCIE             IN   47302‐3175
STREET EXTREME MIAMI INC          8567 CORAL WAY #250                                                                            MIAMI              FL   33155
STREET FLYERS LLC
STREET GREG                       ATTN FRANZ LYNCH                 4189 HIGHBORNE WAY                                            MARIETTA          GA    30066
STREET JR, FRANCIS J              2635 CHURCHILL LANE                                                                            SAGINAW           MI    48603
STREET JR, GARRETT H              145 ESTEP HOLLOW RD                                                                            ELIZABETHTON      TN    37643‐6934
STREET JR, HARRY L                529 N FLAGSHIP DR                                                                              SALEM             SC    29676‐4106
STREET JR, MORRIS E               20570 WAYLAND ST                                                                               SOUTHFIELD        MI    48076‐3157
STREET JR., FLETCHER D            1492 YORKSHIRE RD                                                                              BIRMINGHAM        MI    48009‐5912
STREET LEGAL PERFORM (SLP)        1501 INDUSTRIAL WAY, NORTH                                                                     TOMS RIVER        NJ    08755
STREET SCENE MANUFACTURING INC.   MIKE SPAGNOLA                    365 MCCORMICK AVE                                             COSTA MESA        CA    92626‐3422
STREET, AARON C                   400 S DUPONT HWY APT 30                                                                        NEW CASTLE        DE    19720
STREET, ANARIA                    3616 SEAWAY DRIVE                                                                              LANSING           MI    48911‐1911
STREET, ANARIA S                  3616 SEAWAY DRIVE                                                                              LANSING           MI    48911‐1911
STREET, ANETTA                    PO BOX 41                                                                                      SPURLOCKVILLE     WV    25565‐0041
STREET, ANETTA                    P.O. BOX 41                                                                                    SPURLOCKVILLE     WV    25565‐0041
STREET, ARTHUR J                  265 HIGHPOINTE LN                                                                              GAYLORD           MI    49735‐9391
STREET, BILLY J                   1559 E WALNUT ST                                                                               FRANKFORT         IN    46041‐2715
STREET, CARL M                    11225 RIDGEHAVEN DR                                                                            KEITHVILLE        LA    71047‐8701
STREET, CHARLES                   PO BOX 376                                                                                     TOOMSUBA          MS    39364‐0376
STREET, DANNY L                   436 HYPATHIA AVE                                                                               DAYTON            OH    45404‐2341
STREET, DARRILL E                 3716 LANSDOWNE AVE                                                                             CINCINNATI        OH    45236‐3050
STREET, DAVID K                   9120 E WINDSOR RD                                                                              SELMA             IN    47383‐9665
STREET, DENISE R                  3252 EMPIRE DR                                                                                 ROCHESTER HILLS   MI    48309‐4091
STREET, DENISE RENA               3252 EMPIRE DR                                                                                 ROCHESTER HILLS   MI    48309‐4091
STREET, DEWEY G                   7487 MCCORMIC RD                                                                               GRAYLING          MI    49738
STREET, DORIS J                   9412 MILLER RD # 5E                                                                            SWARTZ CREEK      MI    48473‐0538
STREET, DOROTHY L                 2715 JEFFERSON ST                                                                              ANDERSON          IN    46016‐5450
STREET, EDDIE R                   418 SEAGULL DR                                                                                 LEWES             DE    19958‐2307
STREET, ELIJAH O                  9934 SOUTH RD                                                                                  FAIRVIEW HTS      IL    62208‐2462
STREET, ELSIE F                   7915 OAKDALE AVE                                                                               BALTIMORE         MD    21237‐2758
STREET, ELYSE
STREET, EVANS L                   3954 WILMA CT                                                                                  CINCINNATI        OH    45245‐2215
STREET, FRANKIE A                 2410 N RD 300 W                                                                                KOKOMO            IN    46901
STREET, GARRY H                   1518 DUNRAVEN GLADE RD           P O BOX 222                                                   GLEN HAVEN        CO    80532
STREET, GARRY H                   PO BOX 222                       1518 DUNRAVEN GLADE RD                                        GLEN HAVEN        CO    80532‐0222
STREET, GARY L                    393 L STREET NILES                                                                             FREMONT           CA    94536
STREET, GWENDOLYN M               P.O.BOX 7676                                                                                   PORTLAND          TN    37148
STREET, HERBERT                   115 W K ST                                                                                     ELIZABETHTON      TN    37643
STREET, HILDA M                   35 ANCHOR INN ROAD                                                                             LAKE WALES        FL    33898‐3898
STREET, HUGH F                    2128 TAMRACK ST                                                                                KALAMAZOO         MI    49006‐1425
STREET, JAMES C                   PO BOX 913                                                                                     CEDAR BLUFF       VA    24609‐0913
STREET, JAMES E                   3421 HICKORY ST                                                                                INKSTER           MI    48141‐2239
STREET, JAMES S                   30940 ARDMORE RIDGE RD                                                                         ARDMORE           TN    38449‐3181
STREET, JOHANNA                   1067 MUELLER RD                                                                                O FALLON          MO    63366‐4708
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Name                     Address1                       Address2            Address3         Address4         City              State Zip
STREET, JOHN R           11137 WAHRMAN ST                                                                     ROMULUS            MI 48174‐3812
STREET, JOHN S           5270 BRIDLE POINT PKWY                                                               SNELLVILLE         GA 30039‐2713
STREET, JOYCE A          12207 BEAR CLAW LOOP                                                                 HUDSON             FL 34667‐2304
STREET, KAREN S          9536 FENHILL DR                                                                      GRAND BLANC        MI 48439‐8314
STREET, KENDERICK R      52 MEADOW LN                                                                         BROXTON            GA 31519‐3089
STREET, KENDERICK R      710 BRITAIN WAY                                                                      SAINT CHARLES      MO 63304‐8754
STREET, LARRY            1508 E 86TH ST #137                                                                  INDIANAPOLIS       IN 46240
STREET, LELA F           PO BOX 2703                                                                          KOKOMO             IN 46904‐2703
STREET, LELAND           4122 BRIDGETON GREENS DR                                                             BRIDGETON          MO 63044‐3526
STREET, LENDELL E        64272 MAGNOLIA LN                                                                    CALIFORNIA         MO 65018‐4532
STREET, MARGARET J       PO BOX 441                                                                           TRINITY            AL 35673‐0005
STREET, MARSHALL D       1791 N VAN DYKE RD                                                                   IMLAY CITY         MI 48444‐9480
STREET, MERL             5880 W 250 S                                                                         ANDERSON           IN 46011‐9437
STREET, PATRICIA M       16919 LAUDERDALE AVE                                                                 BEVERLY HILLS      MI 48025‐5550
STREET, PATTY JEAN       138 CENTER ST                                                                        LEBANON            VA 24266‐7172
STREET, R D              1051 CAROWAY BLVD                                                                    GAHANNA            OH 43230‐6215
STREET, R DWIGHT         1051 CAROWAY BLVD                                                                    GAHANNA            OH 43230‐6215
STREET, RAYMOND G        244 BURNING LEAF DR                                                                  SAINT PETERS       MO 63376‐7047
STREET, RICHARD B        137 N ASPEN CT UNIT 1                                                                WARREN             OH 44484‐6015
STREET, ROBERT L         9141 WALWORTH RD                                                                     BANCROFT           MI 48414‐9603
STREET, ROBERT M         1916 MANOR DR                                                                        COCOA              FL 32922‐6928
STREET, RUSSEL E         6088 BUNKER HILL ST                                                                  FLINT              MI 48506‐1641
STREET, RUSSEL EARL      6088 BUNKER HILL ST                                                                  FLINT              MI 48506‐1641
STREET, SHIRLEY E        185 FETZNER RD                                                                       ROCHESTER          NY 14626‐2259
STREET, SILHOUETTE       21455 W 7 MILE RD APT 3                                                              DETROIT            MI 48219‐1937
STREET, SIMON C          29778 PARK ST                                                                        ROSEVILLE          MI 48066‐2128
STREET, STEWART F        2113 BOCK RD                                                                         SAGINAW            MI 48603‐7804
STREET, TAMARA L         5557 N COUNTY ROAD 1150 E                                                            FOREST             IN 46039‐9539
STREET, TAMARA LOUISE    5557 N COUNTY ROAD 1150 E                                                            FOREST             IN 46039‐9539
STREET, TODD             2206 SPRING GARDEN ST                                                                WILLIAMSPORT       PA 17701‐1231
STREET, VINCENT P        401 E 4TH AVE                                                                        MITCHELL           SD 57301
STREET, VIRGINIA         4 RANDOLPH DR                                                                        MOUNT HOLLY        NJ 08060‐1105
STREET, WALLACE D        416 N STOCKTON ST                                                                    JAMESTOWN          IN 46147‐8805
STREET, WANDA L          510 WELCOME WAY                                                                      ANDERSON           IN 46013‐1166
STREET, WILBER L         3252 EMPIRE DR                                                                       ROCHESTER HILLS    MI 48309‐4091
STREETER ERIC            5403 MCNAMARA LANE                                                                   FLINT              MI 48506‐2280
STREETER JR, CECIL W     1615 W 19TH ST                                                                       ANDERSON           IN 46016‐3811
STREETER JR, ELZIE S     3878 E 177TH ST                                                                      CLEVELAND          OH 44128‐1617
STREETER ROB             1913 TAMPICO DR                                                                      PLANO              TX 75075‐2152
STREETER, ALLEN R        300 KENNELY RD APT 220                                                               SAGINAW            MI 48609‐7705
STREETER, ANGELA H       5401 KRISTEN PL                                                                      ANDERSON           IN 46017
STREETER, ANNA LUCILLE   210 W CROSS ST APT 203                                                               YPSILANTI          MI 48197‐2825
STREETER, ANTHONY        PO BOX 5171                                                                          WARREN             MI 48090‐5171
STREETER, CHARLOTTE J    RT2 BOX 247 09593 WALTERS RD                                                         ONAWAY             MI 49765
STREETER, COY V          370 N SAGE LAKE RD                                                                   HALE               MI 48739‐9144
STREETER, DALE E         2567 N HUGHES RD                                                                     HOWELL             MI 48855‐9749
STREETER, DANIEL L       942 ANGLE RD                                                                         LAPEER             MI 48446‐7797
STREETER, DENNIS L       PO BOX 421                                                                           BROWN CITY         MI 48415‐0421
STREETER, DENNIS R       2815 OSLER DR APT 1102                                                               GRAND PRAIRIE      TX 75051
STREETER, DENNIS R.      2815 OSLER DR APT 1102                                                               GRAND PRAIRIE      TX 75051
STREETER, EDITH G        132 REDSTEM CT                                                                       FLINT              MI 48506‐1088
STREETER, EDITH G        132 RED STEM CT                                                                      FLINT              MI 48506‐1088
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Name                      Address1                              Address2                       Address3   Address4         City               State Zip
STREETER, ELAINE G        397 BROWN RD                                                                                     MUNGER              MI 48747
STREETER, ELAINE G        397 E BROWN RD                                                                                   MUNGER              MI 48747‐9303
STREETER, EMORY E         3405 SWEETWATER RD APT 627                                                                       LAWRENCEVILLE       GA 30044‐2460
STREETER, HAROLD R        4537 BONANZA DRIVE NORTHEAST                                                                     GRAND RAPIDS        MI 49525‐1388
STREETER, HELEN I         139 HUNTERS RILL                                                                                 LAPEER              MI 48446‐4103
STREETER, HELEN I         139 HUNTERS HILL                                                                                 LAPEER              MI 48446‐4103
STREETER, JAMES H         2747 S EDGAR RD R#6                                                                              MASON               MI 48854
STREETER, JANICE E        6492 E HOLLY ST                                                                                  INVERNESS           FL 34452‐7693
STREETER, JASON EARL      2700 W 11TH ST                                                                                   ANDERSON            IN 46011‐2467
STREETER, JOSEPH H        1701 BRIARSON DR                                                                                 SAGINAW             MI 48638‐4498
STREETER, JUAN J          845 DEER RUN RD                                                                                  DAYTON              OH 45459
STREETER, JUDY W          2823 W 20TH ST                                                                                   ANDERSON            IN 46011‐4030
STREETER, KATHLEEN M      2820 SOUTHWOOD DR                     C/O SONYA PENTECOST                                        EAST LANSING        MI 48823‐2347
STREETER, KEITH D         310 E MAIN ST                                                                                    DURAND              MI 48429‐1707
STREETER, KENNETH J       15680 BEECH DALY RD                                                                              TAYLOR              MI 48180‐5053
STREETER, KENNETH L       8200 PENINSULAR DR                                                                               FENTON              MI 48430‐9123
STREETER, KENNETH LEE     8200 PENINSULAR DR                                                                               FENTON              MI 48430‐9123
STREETER, LARRY B         13476 BRENNAN RD                                                                                 CHESANING           MI 48616‐9534
STREETER, MARY            929 E YORK AVE                                                                                   FLINT               MI 48505‐6002
STREETER, MARY            929 E. YORK                                                                                      FLINT               MI 48505‐6002
STREETER, MICHAEL         1427 SPAINWOOD ST                                                                                COLUMBIA            TN 38401‐5245
STREETER, PATRICIA B      PO BOX 1906                           1122 LYDEN AVE                                             YOUNGSTOWN          OH 44506‐0006
STREETER, PATRICIA B      P O BOX 1906                          1122 LYDEN AVE                                             YOUNGSTOWN          OH 44505‐3834
STREETER, PAULINE         4537 BONANZA DR NE                                                                               GRAND RAPIDS        MI 49525‐1388
STREETER, PHYLLIS L       7186 LAKESIDE DR                                                                                 BELLAIRE            MI 49615‐9466
STREETER, ROBERT A        9593 WALTER RD                                                                                   ONAWAY              MI 49765‐8759
STREETER, ROBERT V        687 BECKWOURTH DR                     687 BECKWOURTH DR.                                         RENO                NV 89506‐5766
STREETER, RONALD T        5277 PETAL BROOK DR                                                                              BAY CITY            MI 48706‐3080
STREETER, ROSETTA K       5200 DEEP POINT DR                                                                               PORTAGE             MI 49002‐5922
STREETER, ROY A           11223 MAPLE LN                                                                                   GLADWIN             MI 48624‐8838
STREETER, SALLY S         940 PALM VIEW DR #215D                                                                           NAPLES              FL 34110
STREETER, STEVEN D        G‐4210 CROSBY RD                                                                                 FLINT               MI 48506
STREETER, STEVEN H        2440 E WILLARD RD                                                                                CLIO                MI 48420
STREETER, TERRY L         6347 STONEHEARTH PASS                                                                            GRAND BLANC         MI 48439‐9141
STREETER, THOMAS D        PO BOX 221                                                                                       KEWADIN             MI 49648‐0221
STREETER, TRACY L         11430 ARCHES DR                                                                                  INDIANAPOLIS        IN 46235‐8216
STREETER, TRACY LEON      11430 ARCHES DR                                                                                  INDIANAPOLIS        IN 46235‐8216
STREETER, VERA L          418 S DIVISION ST                                                                                SUFFOLK             VA 23434
STREETMAN PRINCE Q.       NO ADVERSE PARTY
STREETMAN, AGNES          2528 MARIXA DR                                                                                   STATHAM            GA   30666‐2466
STREETMAN, CLARENCE L     6398 TALLMADGE CT                                                                                SWARTZ CREEK       MI   48473‐1523
STREETMAN, HENRY C        5767 ALLEE WAY                                                                                   BRASELTON          GA   30517‐6200
STREETMAN, HERSCHEL F     2167 US 31 S                                                                                     CROTHERSVILLE      IN   47229
STREETMAN, STEVE A        9263 STAR CT                                                                                     SWARTZ CREEK       MI   48473‐8533
STREETMAN, STEVE ALLYNE   9263 STAR CT                                                                                     SWARTZ CREEK       MI   48473‐8533
STREETMAN, THELMA L       29448 SPOON AVE                                                                                  MADISON HTS        MI   48071‐4488
STREETMAN, WILLIAM H      51 FOWLER RD                                                                                     ROCKMART           GA   30153‐4021
STREETS JACK (490570)     GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH         PA   15219

STREETS, BEATRICE I       16711 CASTAWAY LANE                                                                              HUNTINGTON BEACH   CA 92649‐3156
STREETS, DAVID A          4603 VISTA RIDGE LANE                                                                            FLOWERY BR         GA 30542‐3563
STREETS, EUNCIE           219 E BOSTON AVE APT 2                                                                           YOUNGSTOWN         OH 44507
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Name                        Address1                              Address2                       Address3       Address4         City                  State Zip
STREETS, HENRY B            HC 30 BOX 115                                                                                        ARTHUR                 WV 26847‐9470
STREETS, JACK               GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                   PITTSBURGH             PA 15219

STREETS, JAMES D            32 TALISTER CT                                                                                       BALTIMORE             MD   21237‐4029
STREETS, JAMES DWIGHT       32 TALISTER CT                                                                                       BALTIMORE             MD   21237‐4029
STREETS, JAMES W            4134 E TATHAM RD                                                                                     SAGINAW               MI   48601‐6864
STREETT JR, JOHN M          327 AUDREY LN                                                                                        INWOOD                WV   25428‐3645
STREETT, ELOISE             1113 CALLE CHRISTOPHER                                                                               ENCINITAS             CA   92024
STREETT, MARIA T            327 AUDREY LN                                                                                        INWOOD                WV   25428‐3645
STREETT, MARIA T            327 AUDREY LANE                                                                                      INWOOD                WV   25428‐3645
STREETT, WILLIAM W          844 HIGH PLAINS DR                                                                                   BEL AIR               MD   21014
STREETY SR, CLARENCE T      5062 OVERLOOK PT                                                                                     HAMBURG               NY   14075‐3408
STREFLING, CHRISTIAN F      5148 W FOX FARM RD                                                                                   MANISTEE              MI   49660‐9532
STREFLING, ERNEST F         3236 INVERARY DR                                                                                     LANSING               MI   48911‐1328
STREFLING, TEDDY            664 2ND ST                                                                                           GALIEN                MI   49113‐9659
STREGE ROGER                STREGE, ROGER                         STATE FARM INSURANCE           PO BOX 82613                    LINCOLN               NE   68501
STREGE, RICHARD J           325 BLUE SKY TRL                                                                                     NEKOOSA               WI   54457‐8053
STREGE, ROGER               STATE FARM INSURANCE                  PO BOX 82613                                                   LINCOLN               NE   68501‐2613
STREHL, ANN M               2608 VEACH RD APT 9                                                                                  OWENSBORO             KY   42303‐5580
STREHL, JAMES N             65350 CAMPGROUND RD                                                                                  WASHINGTON            MI   48095‐1808
STREHLE DANIEL              520 QUEENSGATE RD                                                                                    SPRINGBORO            OH   45066‐9726
STREHLE, DANIEL EMMETT      520 QUEENSGATE RD                                                                                    SPRINGBORO            OH   45066‐9726
STREHLE, DAVID E            4456 MOSSOAK TR                                                                                      BELLBROOK             OH   45305‐1448
STREHLE, DAVID E            4456 MOSS OAK TRL                                                                                    BELLBROOK             OH   45305‐1448
STREHLE, DAVID E            212 WINDY CT                                                                                         BEAVERCREEK           OH   45434‐6258
STREHLE, DEAN E             PO BOX 1101                                                                                          LIBERTY               MO   64069‐1101
STREHLE, DEAN E             275 CHEROKEE DR                       APT 18                                                         LIBERTY               MO   64069‐2050
STREHLE, DONALD E           1058 HIGHVIEW DR                                                                                     BEAVERCREEK           OH   45434‐5434
STREHLE, LISA G             520 QUEENSGATE ROAD                                                                                  SPRINGBORO            OH   45066‐9726
STREHLE, ROBERT A           PO BOX 423                                                                                           MIO                   MI   48647‐0423
STREHLER, RICHARD E         4056 STATE ROAD 331                                                                                  BREMEN                IN   46506
STREHLOW, RICHARD G         5726 BAR DEL EAST DR                                                                                 INDIANAPOLIS          IN   46221‐4401
STREIB, WILLIAM C           584 SHADY LN                                                                                         ALVATON               KY   42122‐9709
STREIBER, PETER L           209 JOHNSON AVENUE                                                                                   MOUNT VERNON          OH   43050‐4412
STREIBER, PETER LASZLO      209 JOHNSON AVENUE                                                                                   MOUNT VERNON          OH   43050‐4412
STREIBIG, JANICE M          982 BREEZEMONT CT                                                                                    PT ORANGE             FL   32127‐7900
STREIBLE, ALICE             350 KELLY HARRIS RD                                                                                  BOWLING GREEN         KY   42101‐8239
STREIBLE, KENNETH P         3616 OAK BEND CT                                                                                     BOWLING GREEN         KY   42104‐5558
STREIBLE, KENNETH PAUL      3616 OAK BEND CT                                                                                     BOWLING GREEN         KY   42104‐5558
STREIBLE, KIMBERLY D        2099 CLAYPOOL ALVATON RD                                                                             BOWLING GREEN         KY   42103
STREIBLE, LOU ELAINE        3616 OAK BEND CT                                                                                     BOWLING GREEN         KY   42104‐5558
STREICH MARVIN H (439549)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                    NORFOLK               VA   23510
                                                                  STREET, SUITE 600
STREICH MOTORS, INC.        411 W STATE ST                                                                                       FOX LAKE              WI   53933‐8030
STREICH MOTORS, INC.        TIMOTHY STREICH                       411 W STATE ST                                                 FOX LAKE              WI   53933‐8030
STREICH, LAVERN D           70509 COUNTY ROAD 665                                                                                LAWTON                MI   49065‐9419
STREICH, LAYNE L            2965 85TH ST E                                                                                       INVER GROVE HEIGHTS   MN   55076‐5108
STREICH, MARVIN H           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                    NORFOLK               VA   23510‐2212
                                                                  STREET, SUITE 600
STREICH, ROBERT H           2318 DARNELL CT                                                                                      SAN JOSE              CA 95133‐1839
STREICH, SARAH K            8402 W GROVE SCHOOL RD                                                                               BELOIT                WI 53511‐8336
STREICHER JOAN              7359 CAPTAIN HARBOUR COURT                                                                           MAUMEE                OH 43537‐8671
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Name                          Address1                        Address2                        Address3   Address4           City              State Zip
STREICHER, DONALD P           75 BEV CIRCLE                                                                                 BROCKPORT          NY 14420‐1230
STREICHER, DONALD P           75 BEV CIR                                                                                    BROCKPORT          NY 14420‐1230
STREICHER, DONALD W           2002 LAUREL AVE                                                                               JANESVILLE         WI 53548‐3434
STREICHER, ROBERT J           905 W FAIRY CHASM RD UNIT 101                                                                 BAYSIDE            WI 53217‐1666
STREICHER, WILLIAM F          7359 CAPTAIN HARBOUR CT                                                                       MAUMEE             OH 43537‐8671
STREICHERT, GENEVA            226 AIRPORT RD                  C/O JOSEPH EVANCO                                             ENDICOTT           NY 13760‐4426
STREICHERT, IDA P             8848 JONATHAN DR                                                                              NORTH ROYALTON     OH 44133‐1065
STREIDL, ALVIN J              9415 CHERRY TREE DR             APT 102                                                       STRONGSVILLE       OH 44136‐9403
STREIDL, ALVIN J              19205 PEARL RD APT 102                                                                        STRONGSVILLE       OH 44136
STREIFF, SHARON L             11147 COLLETT AVE                                                                             GRANADA HILLS      CA 91344‐3809
STREIFF, THOMAS P             32428 MADISON ST                                                                              BEVERLY HILLS      MI 48025‐4243
STREIFTHAU, ERNEST E          323 N MARSHALL RD                                                                             MIDDLETOWN         OH 45042‐3825
STREIFTHAU, ERNEST E          323 NORTH MARSHALL ROAD                                                                       MIDDLETOWN         OH 45042‐3825
STREIGHT, DONALD H            3038 POINTER DRIVE BOX 5                                                                      PALM HARBOR        FL 34683
STREIT JR, MARVIN J           10547 MOSHIE LN                                                                               SAN ANTONIO        FL 33576‐7986
STREIT MANUFACTURING INC      MAINDEN GROSS GRAFSTEIN &       111 RICHMOND ST WEST                       TORONTO CANADA
                              GREENSTEIN
STREIT, DAVID J               1520 S 104TH TER                                                                              EDWARDSVILLE      KS   66111‐1101
STREIT, DAVID JEROME          1520 S 104TH TER                                                                              EDWARDSVILLE      KS   66111‐1101
STREIT, DAVID L               4318 RISEDORPH ST                                                                             BURTON            MI   48509‐1118
STREIT, DAVID LEON            4318 RISEDORPH ST                                                                             BURTON            MI   48509‐1118
STREIT, ELIZABETH A           1805 PIPER LN APT 104                                                                         CENTERVILLE       OH   45440‐5085
STREIT, ELIZABETH A           1805 PIPER LANE UNIT 104                                                                      CENTERVILLE       OH   45440‐5085
STREIT, JOHN M                404 HILLCREST DR APT 12                                                                       WINDSOR           MO   65360‐1957
STREIT, LEON G                3478 N GALE RD                                                                                DAVISON           MI   48423‐8520
STREIT, TONI E                400 GOLF VILLA DR                                                                             OXFORD            MI   48371‐3693
STREIT, TRACI L               1520 S 104TH TER                                                                              EDWARDSVILLE      KS   66111‐1101
STREIT, TRACI LYNN            1520 S 104TH TER                                                                              EDWARDSVILLE      KS   66111‐1101
STREIT‐EISENHAUER, BERTHA M   233 RANSOM RD                                                                                 LANCASTER         NY   14086
STREITFERDT, GLORIA A         UNIT 505                        1430 BLAKELY CIRCLE SOUTHWEST                                 WARREN            OH   44485‐3885

STREITFERDT, GLORIA A         1430 BLAKELY CIRCLE             UNIT 505                                                      WARREN            OH   44485‐4485
STREITFERDT, JOHN J           5162 CALLA AVE NW                                                                             WARREN            OH   44483‐1220
STREITFERDT, MAYBELLE         2613 NILES CORTLAND RD                                                                        CORTLADN          OH   44410‐1727
STREK, JAMES S                1053 PULAWSKI ST SW                                                                           GRAND RAPIDS      MI   49504‐6108
STREK, ROBERT R               1780 RUTHVEN AVE NW                                                                           WALKER            MI   49534‐7703
STRELAU, SYLVIA K             7082 SW 115TH LOOP                                                                            OCALA             FL   34476‐9491
STRELAU, THOMAS E             7582 E.S.R.101 #B                                                                             CASTALIA          OH   44824
STRELECKI, MARTIN W           1650 CONNELL RD                                                                               ORTONVILLE        MI   48462‐9767
STRELECKI, PAUL J             2225 LYNN RD                                                                                  SANFORD           MI   48657‐9273
STRELING, BLAKE S             48025 FOX CHASE CT                                                                            SHELBY TOWNSHIP   MI   48315‐4232
STRELING, EDMUND E            4135 DIEHL RD                                                                                 METAMORA          MI   48455‐9605
STRELING, HAROLD R            2329 FOX HILL DR                                                                              STERLING HTS      MI   48310‐3553
STRELINGER CO                 PO BOX 78000                    REMOVED 1/4/01 SC                                             DETROIT           MI   48278‐0185
STRELINGER/TROY               1402 RANKIN DR                                                                                TROY              MI   48083‐4021
STRELKA, KENNETH J            3311 W COLLEGE AVE APT 214                                                                    MILWAUKEE         WI   53221‐4783
STRELKA, LUCY A               8536 W OKLAHOMA AVE APT 284                                                                   WEST ALLIS        WI   53227‐4657
STRELLUF, WILLIAM B           102CC COUNTRY CLUB DR                                                                         COUNTRYSIDE       IL   60525
STRELOW, BONNIE B             PO BOX 55                                                                                     HONEY CREEK       WI   53138‐0055
STRELOW, GARY J               W195S10084 RACINE AVE                                                                         MUSKEGO           WI   53150‐9553
STRELOW, ROBERT S             3434 S ALABAMA AVE                                                                            MILWAUKEE         WI   53207‐3641
STREM CHEMICALS INC           7 MULLIKEN WAY                                                                                NEWBURYPORT       MA   01950‐4019
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Name                                Address1                      Address2                      Address3   Address4         City              State Zip
STREM JR, ERVIN H                   49182 MONTE RD                                                                          NEW BALTIMORE      MI 48047‐4866
STREM, GUY E                        8454 GRACE ST                                                                           SHELBY TOWNSHIP    MI 48317‐1708
STREM, HELEN A                      70 LANARK CRES                                                                          ROCHESTER          NY 14609‐7849
STREM, JEAN A                       32644 COLONY HILL DR          C/O JACOBS                                                FRANKLIN           MI 48025‐1016
STREMICK, RICHARD J                 4545 ROUND LAKE HWY                                                                     MANITOU BEACH      MI 49253‐9524
STREMLOW, DAVID W                   6240 M113 EAST                                                                          KINGSLEY           MI 49649
STREMPEL, ROBERT J                  4323 TOMMY ARMOUR DR                                                                    FLINT              MI 48506‐1466
STRENG, CLAIR W                     9393 MAPLE ST                                                                           NEW LOTHROP        MI 48460‐9810
STRENG, JACQUELYN S                 222 SCHILLER AVE                                                                        SANDUSKY           OH 44870
STRENG, JANE K                      5490 W FERDEN RD                                                                        CHESANING          MI 48616‐9719
STRENG, JANE K                      5490 FERDEN RD                                                                          CHESANING          MI 48616‐9719
STRENG, JEFFREY P                   PO BOX 9022                                                                             WARREN             MI 48090‐9022
STRENG, LAWRENCE A                  7346 LEDGEWOOD DRIVE                                                                    FENTON             MI 48430‐9223
STRENG, MICHAEL L                   1422 W COURT ST               FAMILY SERVICE AGENCY                                     FLINT              MI 48503‐5008
STRENG, PATRICK H                   PO BOX 282                                                                              NEW LOTHROP        MI 48460‐0282
STRENGTH RICHARD                    8206 HAMPTON BLVD NO 295                                                                NORFOLK            VA 23505
STRENK, VINCENT T                   182 DICKINSON RD                                                                        WEBSTER            NY 14580‐1349
STRENNEN, HUGH J                    92 RIVERSIDE DR                                                                         SEVERNA PARK       MD 21146‐3437
STRENSKE, HAROLD W                  190 MARKLE RD                                                                           BELLE VERNON       PA 15012‐3119
STREPPA, JOAN                       8455 RIDGE RD                                                                           GASPORT            NY 14067‐9415
STRERATH WILLIAM                    CASCINO MICHAEL P             220 S. ASHLAND                                            CHICAGO             IL 60607
STRESS FREE CORPORATE HOUSING
STRESS FREE CORPORATE HOUSING INC   STE 220                       2500 WESTON ROAD                                          WESTON             FL   33331‐3617

STRESS FREE RELOCATION INC          STE 220                       2500 WESTON ROAD                                          WESTON            FL    33331‐3617
STRESS PHOTO/MADISON                1504 EDGEHILL DR                                                                        MADISON           WI    53705‐1449
STRESS TEL/STATE COL                2790 WEST COLLEGE AVENUE                                                                STATE COLLEGE     PA    16801
STRESSMAN, KATHRYN A                1524 HARDING ST NW                                                                      GRAND RAPIDS      MI    49544‐1734
STRESSMAN, LAWRENCE T               20100 CUTLER RD                                                                         MORLEY            MI    49336‐9615
STRESSMAN, ROBERT W                 3110 SENSKE RD                                                                          STANDISH          MI    48658‐9155
STRESSMAN, WILLIAM L                PO BOX 908                                                                              STANDISH          MI    48658‐0908
STRESSTEL/CHICAGO                   PO BOX 73479                                                                            CHICAGO           IL    60673‐0001
STRESZ, ANTHONY                     240 LAURELWOOD DR                                                                       ROCHESTER         NY    14626‐3747
STRESZ, WILLIAM                     20 BRUSH HOLLOW RD                                                                      ROCHESTER         NY    14626‐3004
STRESZOFF MARK & JENNIFER           6274 ANITA DRIVE                                                                        CLEVELAND         OH    44130‐2818
STRETCH, MARSHALL H                 16432 LOCUST HILL DR                                                                    ROCKVILLE         VA    23146‐1845
STRETCH, ROBERT M                   7125 GOLDEN DESERT AVE                                                                  LAS VEGAS         NV    89129‐7120
STRETLIEN, THOMAS P                 PO BOX 204                                                                              LAKE LEELANAU     MI    49653‐0204
STRETZ, DIANNE M                    422 S FREMONT ST                                                                        JANESVILLE        WI    53545‐4212
STRETZ, DIANNE M J                  422 S FREMONT ST                                                                        JANESVILLE        WI    53545‐4212
STREU, DAVID A                      2869 COLLINGWOOD DR                                                                     BAY CITY          MI    48706‐1508
STREU, ELENOR A                     7639 UPTON COURT                                                                        NEWPORT RICHEY    FL    34654‐6144
STREU, ELENOR A                     7639 UPTON CT                                                                           NEW PORT RICHEY   FL    34654‐6144
STREU, HELEN R                      1610 ELIZABETH ST                                                                       BAY CITY          MI    48708‐5419
STREUER, LLOYD J                    GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA    23510‐2212
                                                                  STREET, SUITE 600
STREUFERT, NANCY S                  225 STEEL LN                                                                            EUREKA            CA    95503‐9444
STREUFERT, RICHARD C                225 STEEL LN                                                                            EUREKA            CA    95503‐9444
STREUKENS, STEVEN W                 9037 TWIN OAKS CT                                                                       FLUSHING          MI    48433‐1189
STREUKENS, VICKI L                  9037 TWIN OAKS CT                                                                       FLUSHING          MI    48433‐1189
STREULY, HENRY A                    N75W16140 COLONY RD                                                                     MENOMONEE FALLS   WI    53051‐4588
STREULY, LOUISE                     342 IROQUOIS LN                                                                         SEYMOUR           TN    37865
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Name                                    Address1                               Address2                           Address3                     Address4         City            State Zip
STREULY, RICHARD M                      3152 DANBURY DR W                                                                                                       JANESVILLE       WI 53546‐8826
STREUR LLOYD J (482034) ‐ STREUER LLOYD GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                                      NORFOLK          VA 23510
J                                                                              STREET, SUITE 600
STREUSAND & LANDON, LLP                 ATTY FOR DELL MARKETING, L.P. AND DELL ATTN: SABRINA L. STREUSAND, ESQ.   811 BARTON SPRINGS RD STE                     AUSTIN           TX   78704‐1166
                                        FINANCIAL SERVICES LLC                                                    811
STREUSAND & LANDON, LLP                 ATTY FOR XEROX CAPITAL SERVICES LLC AS ATTN: SABRINA L. STREUSAND, ESQ.   515 CONGRESS STREET, SUITE                    AUSTIN           TX   78701
                                        SERVICING AGENT TO XEROX CORP                                             2523

STREUTER CHEVROLET, INC.               100 S FRONT ST                                                                                                           OKAWVILLE       IL    62271‐2110
STREUTER CHEVROLET, INC.               LEONARD STREUTER                        100 S FRONT ST                                                                   OKAWVILLE       IL    62271‐2110
STREVA, ANGELINA                       752 KITZMILLER RD                                                                                                        PULLMAN         WA    99163‐8729
STREVA, LEONARD J                      752 KITZMILLER ROAD                                                                                                      PULLMAN         WA    99163‐8729
STREVEL, RICHARD L                     4769 ROCKVALLEY DR NE                                                                                                    GRAND RAPIDS    MI    49525
STREY, CEYLON R                        21810 N CANTO LN                                                                                                         SUN CITY WEST   AZ    85375‐2121
STREY, JOANN C                         7556 S 74TH ST                                                                                                           FRANKLIN        WI    53132‐9756
STREY, MARTHA                          21810 N CANTO LN C                                                                                                       SUN CITY WEST   AZ    85375
STREY, ROBERT J                        7556 S 74TH ST                                                                                                           FRANKLIN        WI    53132‐9756
STREZA, JOHN E                         3600 W 100 N                                                                                                             KOKOMO          IN    46901‐3847
STRGAR, THOMAS P                       502 E CLARK ST                                                                                                           SAINT JOHNS     MI    48879‐2008
STRIATUS INC                           8703 WEBSTER HILLS RD                                                                                                    DEXTER          MI    48130‐9683
STRIBER, DONALD R                      6190 HOUGH RD                                                                                                            ALMONT          MI    48003‐9755
STRIBER, EDWARD J                      428 NOTRE DAME BLVD                                                                                                      ROMEO           MI    48065‐4780
STRIBER, GERALD J                      6071 BELMONT CT                                                                                                          GRAND BLANC     MI    48439‐8679
STRIBER, JEAN M                        6071 BELMONT CT                                                                                                          GRAND BLANC     MI    48439‐8679
STRIBER, JOHN C                        1129 S LAKE VALLEY DR                                                                                                    FENTON          MI    48430‐1243
STRIBER, MARION                        5105 KIDDER RD                                                                                                           ALMONT          MI    48003‐8784
STRIBLIN, KENNETH D                    5784 NORWOOD DR                                                                                                          BROOK PARK      OH    44142‐1033
STRIBLING KATHY                        5724 HIGHWAY 94 N                                                                                                        ROGERS          AR    72756‐7156
STRIBLING PEGGY                        1714 W DARTMOUTH ST                                                                                                      FLINT           MI    48504‐2743
STRIBLING, ARTHUR C                    5617 CLOVERBROOK DR                                                                                                      FORT WAYNE      IN    46806‐3519
STRIBLING, ARTHUR P                    200 PATTINGILL ST                                                                                                        WESTLAND        MI    48185‐7415
STRIBLING, BENNY                       5469 COUNTRY HEARTH LN                                                                                                   GRAND BLANC     MI    48439‐9188
STRIBLING, FREEFIA B                   213 E HEMPHILL RD                                                                                                        FLINT           MI    48507‐2626
STRIBLING, GLENDA F                    3103 SKANDER DR                                                                                                          FLINT           MI    48504‐1242
STRIBLING, LARRY L                     6549 STONEBROOK LN                                                                                                       FLUSHING        MI    48433‐2592
STRIBLING, MARGUERITE                  12847 STEEL ST                                                                                                           DETROIT         MI    48227‐3835
STRIBLING, PEGGY J                     1714 W DARTMOUTH ST                                                                                                      FLINT           MI    48504‐2743
STRIBLING, RAYMOND E                   PO BOX 1121                                                                                                              VAN             TX    75790
STRIBLING, RAYMOND E                   802 CROWN CT                                                                                                             KELLER          TX    76248‐8460
STRIBLING, RAYNELL A                   4350 STAUNTON DR                                                                                                         SWARTZ CREEK    MI    48473‐8278
STRIBLING, RAYNELL ALIECE              4350 STAUNTON DR                                                                                                         SWARTZ CREEK    MI    48473‐8278
STRIBRNY, VERONICA H                   18410 STAMFORD                                                                                                           LIVONIA         MI    48152‐4905
STRIBY, THOMAS A                       8607 SHELBY ST                                                                                                           INDIANAPOLIS    IN    46227‐6258
STRICHERZ, JEFFREY D                   7113 SHIPP RD                                                                                                            ROWLETT         TX    75088‐4227
STRICK, HELEN E                        15061 FORD RD APT 313                                                                                                    DEARBORN        MI    48126‐4651
STRICK, JOHN S                         6910 DEER RIDGE DR                                                                                                       TEMPERANCE      MI    48182‐1463
STRICK, PHILIP C                       1970 SILVERLEAF CIR UNIT G227                                                                                            CARLSBAD        CA    92009‐8477
STRICKBINE, JASON T                    PO BOX 216                                                                                                               POLO            MO    64671‐0216
STRICKBINE, TOMMY D                    802 S D ST                                                                                                               HERINGTON       KS    67449‐3018
STRICKENBERGER, THOMAS W               659 FARRAGUT COMMONS DR                                                                                                  KNOXVILLE       TN    37934‐1661
STRICKER FRED S (626795)               GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                                      NORFOLK         VA    23510
                                                                               STREET, SUITE 600
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Name                                  Address1                               Address2                      Address3   Address4         City              State Zip
STRICKER JR, ANTHONY J                8500 DIXIE HWY                                                                                   BIRCH RUN          MI 48415‐9067
STRICKER, ALAN L                      8 LAPIDARY LN                                                                                    JANESVILLE         WI 53548‐9127
STRICKER, CAROL A                     1829 N POLZIN RD                                                                                 JANESVILLE         WI 53548‐9391
STRICKER, CAROL A                     1829 N. POLZIN RD.                                                                               JANESVILLE         WI 53548‐9391
STRICKER, CHRISTOPHER R               766 MASTERPIECE DR                                                                               SUN CITY CENTER    FL 33573‐6589
STRICKER, DENNIS N                    2077 W GRAND CYPRESS CT                                                                          ORO VALLEY         AZ 85737‐8730
STRICKER, DONALD C                    1501 CLARKE ST                                                                                   DE SOTO            MO 63020‐3346
STRICKER, ELIZABETH L                 9 W LEVERT DR                                                                                    LULING             LA 70070‐3103
STRICKER, ELIZABETH M                 1724 CUNNINGHAM RD                                                                               SPEEDWAY           IN 46224‐5337
STRICKER, EULALIA                     1769 VAN BUREN RD                                                                                REESE              MI 48757‐9236
STRICKER, EULALIA                     1769 S VAN BUREN RD                                                                              REESE              MI 48757‐9236
STRICKER, FRED S                      GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                             STREET, SUITE 600
STRICKER, HILDA                        1553 VERMONT ST                                                                                 SAGINAW           MI   48602‐1741
STRICKER, JAMES M                      9515 ELMS RD                                                                                    BIRCH RUN         MI   48415‐8480
STRICKER, JEANNE C                     637 MARCIA AVE                                                                                  HAMILTON          OH   45013‐2641
STRICKER, JOSEPH B                     7383 N PORTSMOUTH RD                                                                            SAGINAW           MI   48601‐9636
STRICKER, KATHLEEN M                   3815 BOULDER DR                                                                                 TROY              MI   48084‐1118
STRICKER, KENNETH Y                    2517 RANDOLPH RD                                                                                JANESVILLE        WI   53545‐0603
STRICKER, MARTHA L                     6400 WEISS ST                                                                                   SAGINAW           MI   48603‐2754
STRICKER, MARY                         31653 BRETZ DR                                                                                  WARREN            MI   48093‐5536
STRICKER, NANCY J                      898 CITY VIEW DR                                                                                MANSFIELD         OH   44905‐2507
STRICKER, RANDALL C                    1874 LINDEN ST                                                                                  DES PLAINES       IL   60018
STRICKER, ROBERT E                     3705 N BEYER RD                                                                                 SAGINAW           MI   48601
STRICKER, ROBERT F                     8612 MONTRERAY DR                                                                               EVART             MI   49631
STRICKER, SCOTT D                      7234 GLEN TERRA DRIVE                                                                           LANSING           MI   48917‐7819
STRICKER, STEPHEN L                    3146 DECKERVILLE RD                                                                             CASS CITY         MI   48726‐9337
STRICKER, THELMA H                     2131 LAKEVIEW DR APT 502                                                                        SEBRING           FL   33870‐3197
STRICKER, THELMA H                     2131 LAKEVIEW DR                      APT 502                                                   SEBRING           FL   33870‐3148
STRICKER, THERESA                      530 S. CENTER RD.                                                                               SAGINAW           MI   48638
STRICKER, THOMAS J                     C/O TODD STRICKER                     1540 NE 40TH PL                                           OAKLAND PARK      FL   33334
STRICKER, THOMAS J                     1540 NE 40TH PL                                                                                 OAKLAND PARK      FL   33334‐4655
STRICKERT, CHAD A                      12060 OLD LINDEN RD                                                                             LINDEN            MI   48451‐9459
STRICKERT, FRANCIS P                   21 LILAC LN                                                                                     EDGERTON          WI   53534‐2401
STRICKERT, HENRY C                     2411 LAUREL AVE                                                                                 JANESVILLE        WI   53548‐3343
STRICKFADEN, MARGARET                  829 W BIGELAV AVE                                                                               FINDLAY           OH   45840
STRICKHOUSER, MICHAEL R                PO BOX 9022                           CO ADAM OPEL, IPC T2‐05                                   WARREN            MI   48090‐9022
STRICKHOUSER, RICHARD K                11325 HARTLAND RD                                                                               FENTON            MI   48430‐3528
STRICKLAND ARTHUR (ESTATE OF) (651442) C/O PAUL HANLEY & HARLEY              1608 4TH ST STE 300                                       BERKELEY          CA   94710‐1749

STRICKLAND AUTO GROUP, INC.           EDDIE STRICKLAND                       307 NC 42 WEST                                            AHOSKIE           NC 27910
STRICKLAND BRIEANNA                   RICHARD F. MALLEN & ASSOCIATES, LTD.   188 W RANDOLPH ST STE 1750                                CHICAGO           IL 60601‐2995

STRICKLAND BRUCE JAMES                2740 W RILEY RD                                                                                  OWOSSO            MI 48867‐9430
STRICKLAND CHARLES E (494245)         GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                             STREET, SUITE 600
STRICKLAND CHEVROLET, INC.            5719 BROADWAY ST                                                                                 PEARLAND          TX 77581‐7811
STRICKLAND CHEVROLET, INC.            CECIL STRICKLAND                       5719 BROADWAY ST                                          PEARLAND          TX 77581‐7811
STRICKLAND DEWEY R (429892)           GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                             STREET, SUITE 600
STRICKLAND DORINA                     826 CARRIAGE LN                                                                                  WAYCROSS          GA 31503‐9666
STRICKLAND ELOISE                     39167 BAYOU PIGEON RD                                                                            PLAQUEMINE        LA 70764‐7746
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Name                           Address1                         Address2                      Address3   Address4         City             State Zip
STRICKLAND FOUNDRY & MACH CO   2332 E MAIN ST                                                                             RICHMOND          VA 23223
STRICKLAND JASON               STRICKLAND, JASON                PO BOX 1206                                               MOBILE            AL 36633‐1206
STRICKLAND JO                  566 SIX CROWNS ST                                                                          COLLIERVILLE      TN 38017‐1718
STRICKLAND JR, JAMES J         6440 PEARCREST RD                                                                          LAS VEGAS         NV 89108‐5306
STRICKLAND JR, SWEET           4236 BREEZEWOOD AVE                                                                        DAYTON            OH 45406‐1312
STRICKLAND MARK A              3207 W TORQUAY RD                                                                          MUNCIE            IN 47304‐3236
STRICKLAND MICHAEL (662775)    BRAYTON PURCELL                  PO BOX 6169                                               NOVATO            CA 94948‐6169
STRICKLAND PAULA               STRICKLAND, PAULA                4195 OLD WHITEVILLE ROAD                                  LUNMBERTON        NC 28358
STRICKLAND RAYMOND             264 PALMETTO BLUFF ROAD                                                                    PALATKA           FL 32177‐8153
STRICKLAND ROBERT N (467083)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                STREET, SUITE 600
STRICKLAND SR, CARL A          4350 RIVERVIEW DR                                                                          BRIDGEPORT       MI   48722‐9704
STRICKLAND SR, FARRELL R       5817 N KEYSTONE AVE                                                                        INDIANAPOLIS     IN   46220‐2838
STRICKLAND TODD                DBA INCREDIBLE EVENTS LLC        1425 TRAE LN                                              LITHIA SPRINGS   GA   30122‐3249
STRICKLAND, ALESIA D           1199 GENEI CT E APT 106                                                                    SAGINAW          MI   48601
STRICKLAND, ANNELIESE E        3383 ECHO RIDGE PLACE                                                                      COCOA            FL   32926‐7400
STRICKLAND, ARTHUR             C/O PAUL HANLEY & HARLEY         1608 4TH ST STE 300                                       BERKELEY         CA   94710‐1749
STRICKLAND, BARBARA B          470 LEE ROAD                     #374                                                      VALLEY           AL   36854‐6854
STRICKLAND, BARBARA B          470 LEE ROAD 374                                                                           VALLEY           AL   36854‐6918
STRICKLAND, BARBARA G          700 VICTORIA STATION BLVD                                                                  LAWRENCEVILLE    GA   30043‐6459
STRICKLAND, BEATRICE           5801 MAPLE ST                                                                              ALBA             MI   49611
STRICKLAND, BEN J              9003 LANDSFORD RD                                                                          MONROE           NC   28112‐8297
STRICKLAND, BEN S              298 N LIPKEY RD                                                                            NORTH JACKSON    OH   44451‐9752
STRICKLAND, BENJAMIN N         3719 TROUSDALE LN                                                                          COLUMBIA         TN   38401‐8965
STRICKLAND, BETTY J            428 LYNCH AVE                                                                              PONTIAC          MI   48342‐1952
STRICKLAND, BILLY              PORTER & MALOUF PA               4670 MCWILLIE DR                                          JACKSON          MS   39206‐5621
STRICKLAND, BOBBY J            5814 ROCK MEADOW TRL                                                                       ARLINGTON        TX   76017‐0513
STRICKLAND, BONNIE M           924 COLUMBUS CT                                                                            BEDFORD          TX   76022‐7514
STRICKLAND, BRUCE J            2740 W RILEY RD                                                                            OWOSSO           MI   48867‐9430
STRICKLAND, BRUCE JAMES        2740 W RILEY RD                                                                            OWOSSO           MI   48867‐9430
STRICKLAND, BUDDY S            6670 VERNETTE AVE                                                                          AUSTINTOWN       OH   44515‐2100
STRICKLAND, CARL               PORTER & MALOUF PA               4670 MCWILLIE DR                                          JACKSON          MS   39206‐5621
STRICKLAND, CARL R             900 NIPP AVE                                                                               LANSING          MI   48915‐1024
STRICKLAND, CAROL K            1217 PEACHTREE RD                                                                          FALLSTON         MD   21047‐1803
STRICKLAND, CARROLL S          3852 MEADOWBROOK DR                                                                        TROY             MI   48084‐1767
STRICKLAND, CATHY R            2917 MARSHA LN                                                                             DAYTON           OH   45408‐2217
STRICKLAND, CHAD C             309 S CELIA AVE                                                                            MUNCIE           IN   47303‐4613
STRICKLAND, CHAD CLAYTON       309 S CELIA AVE                                                                            MUNCIE           IN   47303‐4613
STRICKLAND, CHARLES D          12683 RR 104                                                                               LUCASVILLE       OH   45648
STRICKLAND, CHARLES D          12683 STATE RR 104                                                                         LUCASVILLE       OH   45648
STRICKLAND, CHARLES E          38810 HAMON ST                                                                             HARRISON TWP     MI   48045‐2109
STRICKLAND, CHARLES E          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510
                                                                STREET, SUITE 600
STRICKLAND, CHARLES H          909 S SARASOTA DR                                                                          YORKTOWN         IN   47396‐9575
STRICKLAND, CHARLES HENRY      909 S SARASOTA DR                                                                          YORKTOWN         IN   47396‐9575
STRICKLAND, CHARLES R          1604 ALCOVY RD                                                                             LAWRENCEVILLE    GA   30045‐5114
STRICKLAND, CLARA M            129 WESTIN PARC                                                                            JOHNSON CITY     TN   37615‐4972
STRICKLAND, CLAYTON            6791 RIVER RD                                                                              FLUSHING         MI   48433‐2513
STRICKLAND, CLIFTON C          3038 SAINT CHARLES AVE                                                                     GAINESVILLE      GA   30504‐5557
STRICKLAND, CLOTINE N          2468 COUNTY ROAD 156                                                                       RALPH            AL   35480‐3021
STRICKLAND, CRAVETTE D         PO BOX 39166                                                                               REDFORD          MI   48239‐0166
STRICKLAND, CREOLA             1053 RIVER HILL                                                                            FLINT            MI   48532
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Name                      Address1                        Address2                      Address3   Address4         City           State Zip
STRICKLAND, CURTIS I      2462 KENYONVILLE RD                                                                       ALBION          NY 14411
STRICKLAND, DAVID         5550 VICKERY ST                                                                           LAVONIA         GA 30553‐1537
STRICKLAND, DEBORAH J     5642 HOOVER ST                                                                            WAYNE           MI 48184‐2624
STRICKLAND, DENNIS L      833 MARY LEE DR                                                                           CARLETON        MI 48117‐9246
STRICKLAND, DENNIS L      8017 DOVE LN                                                                              TUSCALOOSA      AL 35405‐9428
STRICKLAND, DEWEY R       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                          STREET, SUITE 600
STRICKLAND, DOROTHY L     4236 BREEZEWOOD AVE                                                                       DAYTON         OH   45406‐1312
STRICKLAND, EDNADEAN      2332 KENYONVILLE RD                                                                       ALBION         NY   14411‐9115
STRICKLAND, EILEEN M      107 E GIBBS                                                                               ST JOHNS       MI   48879
STRICKLAND, EILEEN M      107 E GIBBS ST                                                                            SAINT JOHNS    MI   48879‐1311
STRICKLAND, ELAINE        3001 KALAMAZOO AVE SE                                                                     GRAND RAPIDS   MI   49508‐1459
STRICKLAND, ELEANOR D     310 E WINCHESTER AVE APT 15B                                                              LANGHORNE      PA   19047‐2244
STRICKLAND, ELIJAH W      1 H C 1 POB 302 B                                                                         SILVA          MO   63964
STRICKLAND, ELIZABETH M   3912 YELLOWSTONE                                                                          DENTON         TX   76209‐7744
STRICKLAND, ELMER         19313 MANOR ST                                                                            DETROIT        MI   48221‐1403
STRICKLAND, ERNEST        SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST     MS   39083‐3007
STRICKLAND, ERNEST R      3030 HUMPHRIES DR SE                                                                      ATLANTA        GA   30354‐2438
STRICKLAND, EVELYN        5486 MENDEL BERGER DR                                                                     FLINT          MI   48505‐1059
STRICKLAND, FRANCES       164 HILL ST                                                                               COMMERCE       GA   30529‐1834
STRICKLAND, FREDDY L      46 MANHATTAN AVE                                                                          BUFFALO        NY   14215‐2114
STRICKLAND, FREELAND      GORI JULIAN & ASSOCIATES P C    156 N MAIN ST                                             EDWARDSVILLE   IL   62025
STRICKLAND, GEORGE        944 105TH AVE                                                                             OAKLAND        CA   94603‐3121
STRICKLAND, GEORGE I      2412 KENYONVILLE RD                                                                       ALBION         NY   14411‐9172
STRICKLAND, GEORGE W      14449 TIMBERS RD                                                                          CARLETON       MI   48117‐9542
STRICKLAND, GEORGIA H     8670 STATE HIGHWAY 94                                                                     RAMER          AL   36069‐5160
STRICKLAND, GRAIG         PO BOX 721024                                                                             BERKLEY        MI   48072‐0024
STRICKLAND, HAROLD L      1213 HIGHPOINT RD                                                                         ALBERTVILLE    AL   35950‐2519
STRICKLAND, HELEN         1401 MARTHA AVE                                                                           BURTON         MI   48509‐2140
STRICKLAND, HELEN L       4140 RANCH DR                                                                             BEAVERCREEK    OH   45432‐1863
STRICKLAND, HENRY C       PO BOX 1215                     160 HEATHER WAY                                           CLEVELAND      GA   30528‐0023
STRICKLAND, HERBERT       121 W PATERSON ST                                                                         FLINT          MI   48503‐1017
STRICKLAND, HERBERT E     8282 STATE ROUTE 15                                                                       BRYAN          OH   43506‐9762
STRICKLAND, HERBERT G     3383 ECHO RIDGE PL                                                                        COCOA          FL   32926‐7400
STRICKLAND, HERSHEL A     70 COUNTY RD #7030                                                                        BOONEVILLE     MS   38829
STRICKLAND, HOWELL R      42 E GEORGIA AVE                                                                          EMERSON        GA   30137‐2337
STRICKLAND, HUBERT        10721 WHITE AVE                                                                           KANSAS CITY    MO   64134‐2509
STRICKLAND, J R           1604 DARLING AVE                                                                          WAYCROSS       GA   31501‐7042
STRICKLAND, JACQULYN L    10773 HIGHWAY 142                                                                         STANTONVILLE   TN   38379‐5319
STRICKLAND, JAMES C       3459 PENNSYLVANIA ST                                                                      DETROIT        MI   48214
STRICKLAND, JAMES E       2056 N 41ST ST                                                                            KANSAS CITY    KS   66104‐3535
STRICKLAND, JAMES H       152 2ND ST                                                                                MORROW         OH   45152‐1224
STRICKLAND, JAMES M       494 RYALL RD                                                                              BARNEY         GA   31625‐4032
STRICKLAND, JAMES T       398 S MAIN ST                                                                             ALPHARETTA     GA   30009‐1956
STRICKLAND, JANIS L       5704 SOUTHWARD AVE.                                                                       WATERFORD      MI   48329‐1565
STRICKLAND, JASON         RIEMER, KENNETH J               PO BOX 1206                                               MOBILE         AL   36633‐1206
STRICKLAND, JEAN C        2550 WYNDGATE CT                                                                          WESTLAKE       OH   44145‐2994
STRICKLAND, JEFFERY M     557 MARTIN RD SW                                                                          CARTERSVILLE   GA   30120
STRICKLAND, JEFFREY L     2253 W THOMPSON RD                                                                        FENTON         MI   48430‐9704
STRICKLAND, JESSE L       5689 TULANE AVE                                                                           AUSTINTOWN     OH   44515‐4225
STRICKLAND, JILL M        18704 WAKENDEN                                                                            REDFORD        MI   48240‐1864
STRICKLAND, JIMMY S       201 CHARDONNAY LN                                                                         NORMAN         OK   73071‐5084
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Name                       Address1                          Address2                Address3   Address4         City           State Zip
STRICKLAND, JOE            LEBLANC & WADDELL                 5353 ESSEN LN STE 420                               BATON ROUGE     LA 70809‐0500
STRICKLAND, JOEL E         4006 COGGINS AVE                                                                      FLINT           MI 48506‐2468
STRICKLAND, JOHN B         6071 YORK BLVD                                                                        LOS ANGELES     CA 90042‐3503
STRICKLAND, JOHN D         7901 N CORTARO RD APT 11105                                                           TUCSON          AZ 85743‐7833
STRICKLAND, JOHN E         12581 HARMONY DR                                                                      GRAFTON         OH 44044‐9509
STRICKLAND, JOHN H         457 OLD MILL CREEK RD                                                                 DAWSONVILLE     GA 30534‐5210
STRICKLAND, JOHN J         3523 CYPRESSWOOD DR                                                                   SPRING          TX 77388‐5831
STRICKLAND, JOHN R         754 DEXTERVILLE OAK RIDGE RD                                                          MORGANTOWN      KY 42261‐9182
STRICKLAND, JONNY          602 HURT RD                                                                           BLOOMBURG       TX 75556‐2663
STRICKLAND, JOSEPH D       3514 KNOLLVIEW CT                                                                     DECATUR         GA 30034‐3206
STRICKLAND, JOSEPH L       19440 AFTON RD                                                                        DETROIT         MI 48203‐1438
STRICKLAND, JOYCE          5943 S CROTON HARDY DR            C/O DANA STRICKLAND                                 NEWAYGO         MI 49337‐8792
STRICKLAND, JUANITA L      361 WEYMOUTH LN                                                                       COLUMBUS        OH 43228‐1333
STRICKLAND, KAREN M        123 GUM CREEK RD                                                                      OXFORD          GA 30054‐4191
STRICKLAND, KEITH A        4236 BREEZEWOOD AVE                                                                   DAYTON          OH 45406‐1312
STRICKLAND, KENNETH E      1318 RIDDLE DR                                                                        WESTVILLE       FL 32464‐3408
STRICKLAND, LAMAR S        PO BOX 441148                                                                         HOUSTON         TX 77244‐1148
STRICKLAND, LEE C          C/O EDWARD O MOODY PA             801 W 4TH ST                                        LITTLE ROCK     AR 72201
STRICKLAND, LEE C          MOODY EDWARD O                    801 W 4TH ST                                        LITTLE ROCK     AR 72201‐2107
STRICKLAND, LEE G          983 STONY POINT RD                                                                    GRAND ISLAND    NY 14072‐2825
STRICKLAND, LEO D          1809 E LOVERS LN                                                                      ARLINGTON       TX 76010‐5936
STRICKLAND, LLOYD E        2332 KENYONVILLE RD                                                                   ALBION          NY 14411‐9115
STRICKLAND, LONNIE         5265 DANIELS ST                                                                       DETROIT         MI 48210‐2305
STRICKLAND, LOREN D        2224 TOWNLINE RD                                                                      WATERPORT       NY 14571‐9742
STRICKLAND, LORRAINE       RR 5                                                                                  DEFIANCE        OH 43512
STRICKLAND, LORRAINE       21616 KISER RD RR # 5                                                                 DEFIANCE        OH 43512‐9061
STRICKLAND, LORRAINE D     245 SOUTH PADOCK                  APT 19                                              PONTIAC         MI 48342‐1604
STRICKLAND, LORRAINE D     245 S PADDOCK ST UNIT 19                                                              PONTIAC         MI 48342‐3181
STRICKLAND, LYMAN W        4622 DEVONSHIRE RD                                                                    DUNWOODY        GA 30338‐5614
STRICKLAND, MARCIA D       3450 STALLION CT                                                                      POWDER SPGS     GA 30127‐2135
STRICKLAND, MARCIA DIANN   3450 STALLION CT                                                                      POWDER SPGS     GA 30127‐2135
STRICKLAND, MAREN C        PO BOX 65092                                                                          SHREVEPORT      LA 71136‐5092
STRICKLAND, MARIANNA       84 ALPINE DRIVE                                                                       GOLETA          CA 93117‐1347
STRICKLAND, MARILYN D      182 NE VILLAS CT                                                                      TALLAHASSEE     FL 32303‐4855
STRICKLAND, MARK A         3207 W TORQUAY RD                                                                     MUNCIE          IN 47304‐3236
STRICKLAND, MARLA J        1051 VALLEYVIEW DR                                                                    CLARKSTON       MI 48348‐5202
STRICKLAND, MARTHA J       47 PINE HAVEN DRIVE                                                                   CARROLLTON      GA 30116‐9446
STRICKLAND, MARTINA S      807 ELBE DR                                                                           ARLINGTON       TX 76001‐8544
STRICKLAND, MARY D         24 EDGEWATER LN                                                                       WILLINGBORO     NJ 08046‐2325
STRICKLAND, MARY E         11348 DUNLAP RD                                                                       MEDINA          NY 14103‐9589
STRICKLAND, MARY E         LAKEWOOD VILLAGE LOT 76                                                               MEDINA          NY 14103
STRICKLAND, MARY J         3461 COUNTY LINE RD                                                                   CALEDONIA       WI 53108‐9757
STRICKLAND, MARY M         1901 FM 424                                                                           CROSSWOODS      TX 76227‐7289
STRICKLAND, MEGAN          2209 OLD HARRISON PIKE NW APT 3                                                       CLEVELAND       TN 37311
STRICKLAND, MELVIN F       862 LATHAM ST                                                                         DAYTON          OH 45408‐1924
STRICKLAND, MELVIS W       4332 ROSEBUD CHURCH RD                                                                WILSON          NC 27893
STRICKLAND, MICHAEL        BRAYTON PURCELL                   PO BOX 6169                                         NOVATO          CA 94948‐6169
STRICKLAND, MICHAEL        129 MAIN STREET                                                                       DUPONT          PA 18641‐2212
STRICKLAND, MORRIS E       4082 CO ROAD 215                                                                      HILLSDALE       WY 82060
STRICKLAND, OKLA D         12757 EVELYN CT                                                                       BELLEVILLE      MI 48111‐2834
STRICKLAND, OTIS           5210 GLADDEN RD                                                                       FAIRBURN        GA 30213‐2805
STRICKLAND, PAUL E         421 MARVIN BROOKS RD                                                                  WILLIAMSBURG    KY 40769‐9114
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Name                       Address1                         Address2                      Address3   Address4         City               State Zip
STRICKLAND, PAUL M         300 HILLVIEW DR                                                                            LAWRENCEBURG        TN 38464‐1212
STRICKLAND, PAULA          4195 OLD WHITEVILLE RD                                                                     LUMBERTON           NC 28358‐7860
STRICKLAND, PHILLIP L      2024 VAN VLEET RD                                                                          SWARTZ CREEK        MI 48473‐9748
STRICKLAND, PHILLIP LEE    2024 VAN VLEET RD                                                                          SWARTZ CREEK        MI 48473‐9748
STRICKLAND, PHYLLIS L      11117 S OAKWOOD CT                                                                         LUCASVILLE          OH 45648‐9092
STRICKLAND, PHYLLIS L      11117 OAKWOOD COURT                                                                        LUCASVILLE          OH 45648‐9092
STRICKLAND, QUELLANETT C   805 S LEE ST                                                                               FITZGERALD          GA 31750‐3639
STRICKLAND, RICHARD C      3815 WAVERLY RD                                                                            TENNESSEE RIDGE     TN 37178‐5528
STRICKLAND, RICHARD D      1246 HARKER STREET                                                                         DAYTON              OH 45404‐1208
STRICKLAND, RICHARD D      1246 HARKER ST                                                                             DAYTON              OH 45404‐1208
STRICKLAND, RICHARD H      5865 E 62ND PL                                                                             INDIANAPOLIS        IN 46220‐4907
STRICKLAND, RICK F         PO BOX 9022                      GM RAYONG                                                 WARREN              MI 48090‐9022
STRICKLAND, ROBERT A       18601 BINDER ST                                                                            DETROIT             MI 48234‐1946
STRICKLAND, ROBERT A       PO BOX 3402                                                                                HIGHLAND PARK       MI 48203‐0402
STRICKLAND, ROBERT E       PO BOX 671                                                                                 ARLINGTON           TX 76004‐0671
STRICKLAND, ROBERT E       5919 WESTHAVEN DR                                                                          INDIANAPOLIS        IN 46254
STRICKLAND, ROBERT N       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                            STREET, SUITE 600
STRICKLAND, ROBERTA        1786 THRESHER DR                                                                           NAVARRE            FL   32566‐7567
STRICKLAND, ROGER L        9195 E ARNOLD LAKE RD                                                                      HARRISON           MI   48625‐9672
STRICKLAND, SANDRA S       338 N LIPKEY RD                                                                            NORTH JACKSON      OH   44451‐9752
STRICKLAND, SARA M         4280 CARY DR                                                                               SNELLVILLE         GA   30039‐6563
STRICKLAND, SARA M         4280 CARY DRIVE                                                                            SNELLVILLE         GA   30039‐6563
STRICKLAND, SHARON         PO BOX 1202                                                                                WILLIAMSBURG       KY   40769
STRICKLAND, SHERRY L       1927 MALVERN AVE                                                                           DAYTON             OH   45406‐4450
STRICKLAND, SQUIRE         267 BENTON ST                                                                              YOUNGSTOWN         OH   44515‐1727
STRICKLAND, STEVEN M       9021 LANDSFORD ROAD                                                                        MONROE             NC   28112‐8297
STRICKLAND, SUSIE          2821 BELMAR DR 2                                                                           YOUNGSTOWN         OH   44505
STRICKLAND, TAMMY          20535 SHAFTSBURY AVE                                                                       DETROIT            MI   48219‐1417
STRICKLAND, THOMAS         3719 TROUSDALE LN                                                                          COLUMBIA           TN   38401‐8965
STRICKLAND, THOMAS H       1469 COUNTY ROAD 432                                                                       JACKSON            MO   63755‐8171
STRICKLAND, TIMOTHY W      823 MORRIS RD                                                                              LAPEER             MI   48446‐9439
STRICKLAND, TINA M         3461 COUNTY LINE RD                                                                        CALEDONIA          WI   53108‐9757
STRICKLAND, TRINIDAD       46 SHELBY ST SW                                                                            GRAND RAPIDS       MI   49507‐1047
STRICKLAND, TRINIDAD       46 SHELBY SW                                                                               GRAND RAPIDS       MI   49507‐1047
STRICKLAND, WALTER E       6030 WALROND AVE                                                                           KANSAS CITY        MO   64130‐3965
STRICKLAND, WAZZIAH        996 GLENDALE DR                                                                            EAST POINT         GA   30344‐2819
STRICKLAND, WILBUR         41 BILLS HILL LN                                                                           NEWTON GROVE       NC   28366‐6452
STRICKLAND, WILLIAM B      18329 ALOIS LN                                                                             LAKE MILTON        OH   44429‐9505
STRICKLAND, WILLIAM D      436 ENXING AVE                                                                             DAYTON             OH   45449‐2010
STRICKLAND, WILLIAM D      975 HCR 1313                                                                               HILLSBORO          TX   76645‐5057
STRICKLAND, WILLIAM D      12550 CARSON ST SPC 16                                                                     HAWAIIAN GARDENS   CA   90716‐1869
STRICKLAND, WILLIAM G      4324 SAINT JOHNS CHURCH RD                                                                 BLACKSHEAR         GA   31516‐5207
STRICKLAND, WILLIAM H      14143 JENKINS RD                                                                           BELLEVUE           MI   49021‐9234
STRICKLAND, WILLIE P       1519 ACADEMY PLACE                                                                         DAYTON             OH   45406‐4719
STRICKLEN PROPERTIES       ATTN: MR. RICHARD H. STRICKLEN   115 UNION AVE                                             BAKERSFIELD        CA   93307‐1550
STRICKLEN, BERNICE         1309 N LAVEEN DR                                                                           CHANDLER           AZ   85226
STRICKLEN, LILLIAN         3333 N 22ND ST                                                                             MILWAUKEE          WI   53206‐1712
STRICKLEN, MICHAEL A       2215 N 40TH ST                                                                             KANSAS CITY        KS   66104‐3531
STRICKLEN, RICHARD M       1399 CLOVERCREST AVE NW                                                                    GRAND RAPIDS       MI   49504‐2405
STRICKLEN, TERRY L         3223 N 66TH TER                                                                            KANSAS CITY        KS   66104‐1321
STRICKLEN, WILLIAM L       3702 PINELAND RD                                                                           GLADWIN            MI   48624‐7938
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Name                                  Address1                         Address2                       Address3   Address4         City                   State Zip
STRICKLER BARRY E (ESTATE OF)         LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                               HOUSTON                 TX 77069
STRICKLER GLENN W (429893)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK                 VA 23510
                                                                       STREET, SUITE 600
STRICKLER, BARRY / KIMALA STRICKLER   ICO THE LANIER LAW FIRM PC       6810 FM 1960 WEST                                          HOUSTON                TX   77069
STRICKLER, BARRY E                    LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                               HOUSTON                TX   77069
STRICKLER, DALE L                     1586 STATE ROUTE 534                                                                        NEWTON FALLS           OH   44444
STRICKLER, DARREL D                   423 CHAPMAN LN                                                                              LEXINGTON              OH   44904‐1085
STRICKLER, DAVID R                    26263 DUCHESS LN                                                                            BONITA SPRINGS         FL   34135‐6521
STRICKLER, GLENN W                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK                VA   23510
                                                                       STREET, SUITE 600
STRICKLER, H L                        39379 BURNS RD                                                                              N RIDGEVILLE           OH   44039‐1005
STRICKLER, JAMES A                    177 CEMETERY RD                                                                             VANDERBILT             PA   15486‐1165
STRICKLER, KARL E                     3814 N POINT RD                                                                             BALTIMORE              MD   21222‐2733
STRICKLER, KARL EUGENE                3814 N POINT RD                                                                             BALTIMORE              MD   21222‐2733
STRICKLER, MICHAEL L                  7280 BERESFORD AVE                                                                          PARMA                  OH   44130‐5059
STRICKLER, NATHAN R                   312 DIXIE TRAIL                                                                             RALEIGH                NC   27607‐7018
STRICKLER, NATHAN R                   312 DIXIE TRL                                                                               RALEIGH                NC   27607‐7018
STRICKLES, GEORGE
STRICKLIN BARBARA                     STRICKLIN, BARBARA               17 NW EAGLE MOUNTAIN RD                                    LAWTON                 OK 73507
STRICKLIN JAMES F SR (429894)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK                VA 23510
                                                                       STREET, SUITE 600
STRICKLIN JR, BERT B                  3530 DILL DR                                                                                WATERFORD              MI   48329‐2128
STRICKLIN JR, RANDAL H                211 RAINBOW DR # 11106                                                                      LIVINGSTON             TX   77399‐2011
STRICKLIN JR, RAYMOND T               2698 EVELYN RD                                                                              YOUNGSTOWN             OH   44511‐1802
STRICKLIN PROPERTIES INC              PO BOX 40340                                                                                BAKERSFIELD            CA   93384‐0340
STRICKLIN TRUCKING COMPANY            108 COLLEGE STREET                                                                          ARCADIA                MO   63621
STRICKLIN, ANCIL L                    35916 JAY DR                                                                                CUSTER PARK            IL   60481‐8447
STRICKLIN, BARBARA                    KROHN & MOSS ‐ OH                1801 E 9TH ST STE 1710                                     CLEVELAND              OH   44114‐3198
STRICKLIN, BRADLEY M                  42 N MAIN ST                                                                                CLARKSTON              MI   48346‐1516
STRICKLIN, CHARLES R                  6577 OAK HILL RD                                                                            ORTONVILLE             MI   48462‐9159
STRICKLIN, CRAIG B                    3530 DILL DR                                                                                WATERFORD TOWNSHIP     MI   48329‐2128
STRICKLIN, DANNY L                    4861 MUSKODAY RD                                                                            CLARKSTON              MI   48348‐3241
STRICKLIN, DAVID                      1320 WOLFORD RD                                                                             MANSFIELD              OH   44903‐9262
STRICKLIN, ELEANOR M                  115 CARRIAGE DRIVE                                                                          HOCKESSIN              DE   19707‐1329
STRICKLIN, GENEVIEVE V                6948 FROSTVIEW LANE                                                                         HAZELWOOD              MO   63042‐3237
STRICKLIN, HELEN G                    74 SCOTLAND BLVD                                                                            MANSFIELD              OH   44906‐2237
STRICKLIN, IDEANER                    136 E RANKIN ST                                                                             FLINT                  MI   48505‐4932
STRICKLIN, IRA W                      PO BOX 526                                                                                  WELLSTON               OK   74881‐0526
STRICKLIN, JACQUELINE J               501 BAYS FORK RD                                                                            BOWLING GREEN          KY   42103‐9033
STRICKLIN, JAMES F                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK                VA   23510
                                                                       STREET, SUITE 600
STRICKLIN, LESLIE R                   70 NANCY AVE                                                                                CADIZ                  KY   42211‐8079
STRICKLIN, LISA L                     2698 EVELYN RD                                                                              YOUNGSTOWN             OH   44511‐1802
STRICKLIN, MARY LOU                   7393 N LIMA RD                                                                              POLAND                 OH   44514‐2680
STRICKLIN, MARY LOU                   7393 NORTH LIMA ROAD                                                                        POLAND                 OH   44514‐2680
STRICKLIN, MARY M                     310 JEANWOOD CT                                                                             DUNDALK                MD   21222‐2856
STRICKLIN, MILDRED Y                  ROUTE 1 BOX 679A                                                                            BISMARCK               MO   63624‐9801
STRICKLIN, PATTI A                    1604 HONEYSUCKLE DR                                                                         FOREST HILL            MD   21050
STRICKLIN, ROBERT A                   7100 TIMBERLANE DR                                                                          NORTH RICHLAND HILLS   TX   76180‐3528
STRICKLIN, ROBIN D                    303 HAWTHORNE BLVD                                                                          GLEN ELLYN             IL   60137‐4039
STRICKLIN, SILAS K                    236 SAMPLE RD                                                                               WEST ALEXANDRIA        OH   45381‐8305
STRICKLIN, VELA M                     1824 SUE DR                                                                                 BIRMINGHAM             AL   35214‐2324
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Name                       Address1                              Address2                        Address3   Address4         City              State Zip
STRICKLIN, VELA M          1824 SUE DR.                                                                                      BIRMINGHAM         AL 35214‐2324
STRICKLIN, VERONICA        264 GREENLAWN AVENUE                                                                              MANSFIELD          OH 44902‐7729
STRICKLIN, VIVIAN M        1914 HOMECREST AVE                                                                                KALAMAZOO          MI 49001‐4584
STRICKLINE, EVELYN M       26 KNIGHT ST                                                                                      PHILADEPHIA        MS 39350‐2061
STRICKLING, BRUCE C        490 WOODS RD                                                                                      ORLEANS            MI 48865‐9724
STRICKLING, JAMES D        349 RINEHART RD                                                                                   BELLVILLE          OH 44813‐9175
STRICKLING, JOHN           738 CYRUS ST                                                                                      IONIA              MI 48846‐1117
STRICKLING, MARK J         115 OREGON RD N                                                                                   LEHIGH ACRES       FL 33936‐6115
STRICKLING, MATT J         6930 DIVINE HWY                                                                                   PORTLAND           MI 48875‐1296
STRICKLING, MATTHEW A      6930 DIVINE HWY                                                                                   PORTLAND           MI 48875‐1296
STRICKMAKER, BILL          GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                PITTSBURGH         PA 15219

STRICKO, AGNES C           PO BOX 4176                                                                                       IDYLLWILD         CA   92549‐4176
STRICKO, ALBERT            504 PORT ARTHUR RD                                                                                TRIMBLE           MO   64492‐9220
STRICKO, GEORGE T          678 MAHAN DENMAN RD. N.E                                                                          BRISTOLVILLE      OH   44402‐9750
STRICKROOT, MATTHEW R      21659 CENTERBROOK COURT                                                                           GROSSE POINTE     MI   48236‐1024
STRIDDE, CHARLES J         307 AGOLI LN                                                                                      LOUDON            TN   37774‐2592
STRIDER BUICK‐GMC‐SUBARU   1011 E DIXIE DR                                                                                   ASHEBORO          NC   27203‐6616
STRIDES FOR CHANGE         MOTHERS AGAINST DRUNK DRIVING         8585 STEMMONS FREEWAY STE 525                               DALLAS            TX   75247
                                                                 SOUTH
STRIDH JR, KURT A          1101 HIGHWAY JJ                                                                                   ELSBERRY          MO   63343‐3611
STRIEBEL, BERNARD C        24 LIENEMANN CT                                                                                   SAINT PETERS      MO   63303‐1634
STRIEBEL, DENNIS R         6420 SADDLE RIDGE RD                                                                              TROY              MO   63379‐4708
STRIEBEL, WILLIAM F        1010 N 33RD ST                                                                                    GALESBURG         MI   49053‐9744
STRIEDINGER, ANTONIO J     1646 WILLOW WAY                                                                                   WOODSTOCK         GA   30188
STRIEFF, CECILIA J         6643 BUNKER HILL DR                                                                               LANSING           MI   48906‐9135
STRIEFF, ESTHER            725 BUSHA RD                                                                                      OWOSSO            MI   48867‐8114
STRIEFF, HENRY H           6643 BUNKER HILL DR                                                                               LANSING           MI   48906‐9135
STRIEFF, JERRY W           5024 MILL CREEK TRL                                                                               FORT WORTH        TX   76179‐5023
STRIEFF, TERRY L           16441 CENTER RD                                                                                   EAST LANSING      MI   48823‐9418
STRIEGEL, AGNES I          2177 E. THOUSAND OAKS 329                                                                         THOUSAND OAKS     CA   91362
STRIETER, BARRY F          6243 CENTER ST                                                                                    UNIONVILLE        MI   48767‐9785
STRIETER, BRIAN P          247 HARLAN DR                                                                                     FRANKENMUTH       MI   48734‐1461
STRIETER, DAVID E          412 S KIESEL ST                                                                                   BAY CITY          MI   48706‐4359
STRIETER, DONA J           6055 N GRAF RD                                                                                    UNIONVILLE        MI   48767‐9659
STRIETER, DONA J           10390 W 65TH AVE                                                                                  ARVADA            CO   80004‐2821
STRIETER, EVELYN M         3713 W COURT ST                                                                                   FLINT             MI   48532‐3836
STRIETER, FELICITA         7145 WELLES ST                                                                                    BROWN CITY        MI   48416‐8695
STRIETER, FELICITA         7145 WELLES ST.                                                                                   BROWN CITY        MI   48416‐8695
STRIETER, KEITH J          7905 HEDRICK RD                                                                                   HARBOR SPRINGS    MI   49740‐9527
STRIETER, MARTIN A         936 JOHNSON AVE                                                                                   FLINT             MI   48532‐3843
STRIETER, MARTIN AARON     936 JOHNSON AVE                                                                                   FLINT             MI   48532‐3843
STRIETER, MAVIS F          858 ZEHNDER DR                                                                                    FRANKENMUTH       MI   48734‐1058
STRIETER, NANCY J          3306 PATRICIA PLACE                                                                               SAGINAW           MI   48602‐3424
STRIETZEL, SYLVIA K        1950 PARKNOLL LANE                                                                                PORT WASHINGTON   WI   53074‐1177
STRIFFLER, HELEN P         6792 AKRON RD                                                                                     LOCKPORT          NY   14094‐5372
STRIFFLER, WILLIAM A       940 CRANBERRY CIR                                                                                 FORT MILL         SC   29715‐7310
STRIGEL, GREGORY P         1150 ESTATES BLVD                     1150 ESTATES BLVD                                           HAMILTON SQUARE   NJ   08690‐2279
STRIGEL, NANCY L           317 FINLEY AVE                                                                                    TRENTON           NJ   08610‐1909
STRIGGOW, DENISE J         9400 ENGLISHMAN DR                                                                                FENTON            MI   48430‐8742
STRIGGOW, HARRIETT M       14025 W LANDEN DRIVE                                                                              HOLLY             MI   48442‐9792
STRIGGOW, HARRIETT M       14025 W LANEDEN DR                                                                                HOLLY             MI   48442‐9792
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Name                            Address1                         Address2                     Address3   Address4                City              State Zip
STRIGGOW, TIMM L                9400 ENGLISHMAN DR                                                                               FENTON             MI 48430‐8742
STRIGGOW, WILLIAM C             607 E KING ST                                                                                    CORUNNA            MI 48817‐1519
STRIGGS, WILLIE J               PO BOX 19556                                                                                     SHREVEPORT         LA 71149‐0556
STRIGLER, JANE E                46 TODDS RD                                                                                      RIDGEFIELD         CT 06877‐1821
STRIKA, TILLIE                  19669 LOCHMOOR ST                                                                                HARPER WOODS       MI 48225‐1743
STRIKE SR, NOEL E               5701 TEA ROSE TRL                                                                                TALLAHASSEE        FL 32311‐7749
STRIKE WARREN                   306 SUNSET DR                                                                                    PEWAUKEE           WI 53072‐4615
STRIKE, ALLEN P                 #99 FUCHENG ROAD, PUDONG         23F AURORA PLAZA , GENERAL              SHANGHAI 200121 CHINA
                                                                 MOTORS
STRIKE, DANIEL W                424 OAK RIDGE CT                                                                                 FORT ATKINSON     WI   53538‐2834
STRIKE, DAVID C                 W1701 COUNTY ROAD CI                                                                             HELENVILLE        WI   53137‐9604
STRIKE, DONALD A                4811 N BARTLETT AVE                                                                              MILWAUKEE         WI   53217‐6017
STRIKE, GLENN E                 W 1882 HWY CI                                                                                    HELENVILLE        WI   53137
STRIKE, MARGARET A              102 SOUTH LN                                                                                     BLUEFIELD         VA   24605‐9217
STRIKE, RHONDA K                424 OAK RIDGE CT                                                                                 FORT ATKINSON     WI   53538‐2834
STRIKEIRON INC                  CHIEF FINANCIAL OFFICER          15501 WESTON PKWY STE 150                                       CARY              NC   27513‐8638
STRIKEIRON INC                  15501 WESTON PKWY STE 150                                                                        CARY              NC   27513‐8638
STRIKER, CHARLES A              5322 WOODCLIFF CT                                                                                WEST CHESTER      OH   45069‐5821
STRIKER, IRENE B                3207 FALCON LN APT 220                                                                           WILMINGTON        DE   19808‐4349
STRIKER, KEVIN R                3822 PICKFORD                                                                                    SHELBY TWP        MI   48316‐4835
STRILECKY, BONNIE J             418 LAKE CIR                                                                                     COLUMBIA          TN   38401‐8879
STRILECKY, PHILIP D             418 LAKE CIR                                                                                     COLUMBIA          TN   38401‐8879
STRILER, BRIAN K                508 AVON ST                                                                                      FLINT             MI   48503‐1937
STRILER, BRIAN KENT             508 AVON ST                                                                                      FLINT             MI   48503‐1937
STRILER, ORVEL J                4029 SEYMOUR RD                                                                                  SWARTZ CREEK      MI   48473‐8568
STRILER, VOLEN L                9403 CORUNNA RD                                                                                  SWARTZ CREEK      MI   48473‐9714
STRIMBU, NICK INC               3500 PARKWAY DR                                                                                  BROOKFIELD        OH   44403‐9755
STRIMPEL, COURTNEY MARCEL       APT 202                          776 KIMBERLY                                                    LAKE ORION        MI   48362‐2969
STRIMPEL, GREGORY S             APT 202                          776 KIMBERLY                                                    LAKE ORION        MI   48362‐2969
STRIMPEL, ROBERT J              36725 HARWICK CT                                                                                 CLINTON TWP       MI   48035‐1143
STRIMPLE, DAVID L               3000 HWY 17‐92W                  #522                                                            HAINES CITY       FL   33844
STRIMPLE, PATRICIA L            826 MERCER AVE NE                                                                                WARREN            OH   44483‐4912
STRINCEVICH, NICHOLAS M         4315 E 100 S                                                                                     MARION            IN   46953‐9670
STRINCEVICH, NICHOLAS MICHAEL   4315 E 100 S                                                                                     MARION            IN   46953‐9670
STRINE JR, HARVEY               14144 MITIGATION CT                                                                              HUDSON            FL   34667‐8481
STRINE WILLIAM H JR (468370)    ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                      BALTIMORE         MD   21202
                                                                 CHARLES CENTER 22ND FLOOR
STRINE, DONNA M                 3565 GREGORY RD                                                                                  ORION             MI   48359‐2016
STRINE, ELLSWORTH L             3629 LAKEVIEW DR                                                                                 BEAVERTON         MI   48612‐8723
STRINE, EUGENE H                703 QUILLETT DR                                                                                  BEAVERTON         MI   48612‐9191
STRINE, FRED L                  100 CANTER LN                                                                                    HOLLY             MI   48442‐9168
STRINE, GEORGE D                1736 CLOVER LN                                                                                   YORK              PA   17403‐4014
STRINE, HELEN M                 126 MARQUETTE                                                                                    PONTIAC           MI   48342‐1527
STRINE, LLOYD H                 92 EAST STREET BOX 41                                                                            HAYESVILLE        OH   44838
STRINE, MYRA E                  54 SHERWOOD DR                                                                                   CROSSVILLE        TN   38555
STRINE, REX A                   466 SPRINGSIDE DR                                                                                DAYTON            OH   45440‐4457
STRINE, RICHARD L               1182 TWP RD 1875 R 4                                                                             ASHLAND           OH   44805
STRINE, STEVEN E                2962 MOHAWK LN                                                                                   ROCHESTER HILLS   MI   48306‐3832
STRINE, STEVEN R                123 EAST MAIN ST                                                                                 HAYESVILLE        OH   44838
STRINE, WILLIAM H               ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                       BALTIMORE         MD   21202
                                                                 CHARLES CENTER 22ND FLOOR
STRINEKA, SUSAN A               8496 CARRIAGE HILL DR NE 1                                                                       WARREN            OH 44484
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Name                          Address1                         Address2                            Address3   Address4         City            State Zip
STRINEKA, SUSAN ANN           8496 CARRIAGE HILL DR NE 1                                                                       WARREN           OH 44484
STRINES, EUGENE T             2792 MEADOW LANE                                                                                 YOUNGSTOWN       OH 44511‐2052
STRINES, EUGENE T             2792 MEADOW LN                                                                                   YOUNGSTOWN       OH 44511‐2052
STRING, CORTAY G              1223A IMPERIAL DR                                                                                COLUMBIA         TN 38401‐7205
STRING, COTY G                1908 BURLINGTON CIR                                                                              COLUMBIA         TN 38401‐6809
STRINGER JR, JOHN             2726 PINGREE ST                                                                                  DETROIT          MI 48206‐2189
STRINGER M L                  3144 RALSTON AVE                                                                                 INDIANAPOLIS     IN 46218‐1943
STRINGER WILLIAM A (626796)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA 23510
                                                               STREET, SUITE 600
STRINGER, ALEX J              8560 WELLBAUM RD                                                                                 BROOKVILLE      OH   45309‐8228
STRINGER, AMY                 1409 DALE DR                                                                                     SAVANNAH        GA   31406‐5001
STRINGER, BERNICE             767 NW 41ST ST                                                                                   MIAMI           FL   33127‐2740
STRINGER, BETTY J             5140 SE 106TH LN                                                                                 BELLEVIEW       FL   34420‐3143
STRINGER, BETTY J             5140 S E 106TH LN                                                                                BELLVIEW        FL   34420‐3143
STRINGER, BILLIE R            450 CREAX ROAD                                                                                   AXIS            AL   36505‐4724
STRINGER, BILLIE R            450 CREAX RD                                                                                     AXIS            AL   36505‐4724
STRINGER, BRENDA L            1290 N SAGINAW ST                                                                                LAPEER          MI   48446‐1542
STRINGER, BUFORD D            1290 N SAGINAW ST                                                                                LAPEER          MI   48446‐1542
STRINGER, CARL N              2070 FINCH DR                                                                                    SAGINAW         MI   48601‐5713
STRINGER, CATHERINE           222 STANFORD RD                                                                                  HAGERSTOWN      MD   21742‐4527
STRINGER, CATHY R             1761 STONEHENGE AVE NE                                                                           WARREN          OH   44483‐2945
STRINGER, COLLEEN S           4672 FOX LAKE RD                                                                                 GOODRICH        MI   48438‐9609
STRINGER, CONNIE P            PO BOX 200633                                                                                    CARTERSVILLE    GA   30120‐9011
STRINGER, DAVID G             18870 STUART RD                                                                                  CHESANING       MI   48616‐9711
STRINGER, DAVID GERARDE       18870 STUART RD                                                                                  CHESANING       MI   48616‐9711
STRINGER, DEREK E             38330 PALMER ROAD                                                                                WESTLAND        MI   48186‐3966
STRINGER, DONALD              PORTER & MALOUF PA               4670 MCWILLIE DR                                                JACKSON         MS   39206‐5621
STRINGER, DONALD J            209 S CUMBERLAND ST                                                                              FLINT           MI   48503‐2161
STRINGER, DOROTHY F           3060 BLACKWOOD                                                                                   FLORISSANT      MO   63033‐6258
STRINGER, EARL G              1340 NE THOMPSON RD                                                                              DECATUR         AL   35603‐6726
STRINGER, ELIZABETH           5518 WILLOW CLIFF RD APT362                                                                      OKLAHOMA CITY   OK   73122‐6361
STRINGER, ELNORA              4368 INGLESIDE RD                                                                                WARRENSV HTS    OH   44128
STRINGER, ELNORA A            5994 WELLINGTON DR                                                                               CLARKSTON       MI   48346‐3467
STRINGER, ERMA L              3506 ESTHER ST                                                                                   FLINT           MI   48505‐3895
STRINGER, ERMA L              3506 ESTHER                                                                                      FLINT           MI   48505‐3895
STRINGER, FRANK               GUY WILLIAM S                    PO BOX 509                                                      MCCOMB          MS   39649‐0509
STRINGER, GARY E              715 STEVENS ST TRLR 4                                                                            FILER           ID   83328‐5406
STRINGER, GEORGE B            127 YORKTOWN RD                                                                                  FRANKLIN        TN   37064‐3235
STRINGER, HAROLD J            325 ROBINHOOD RD                                                                                 COVINGTON       LA   70433‐4764
STRINGER, HERMAN              ANDERSON N CALHOUN JR            340 EISENHOWER DRIVE ‐ BLDG 300 ‐                               SAVANNAH        GA   31416
                                                               SUITE B ‐ P O BOX 13823
STRINGER, HERMAN E            PO BOX 658                                                                                       VINEMONT        AL   35179‐0658
STRINGER, JACK F              PO BOX 523                                                                                       OXFORD          MI   48371
STRINGER, JAMES B             56325 COPPERFIELD DR                                                                             SHELBY TWP      MI   48316‐4809
STRINGER, JAMES C             316 E 650 N                                                                                      ALEXANDRIA      IN   46001‐8622
STRINGER, JAMES L             2104 ESMERALDA AVE                                                                               DAYTON          OH   45406‐2509
STRINGER, JOHN H              3908 SAINT CLAIR ST                                                                              DETROIT         MI   48214‐1553
STRINGER, JOHN H              3608 N BUCKNER TARSNEY RD                                                                        BUCKNER         MO   64016‐9185
STRINGER, JOHN S              4200 CROWNWOOD AVE                                                                               DAYTON          OH   45415‐1402
STRINGER, JONATHAN G          3944 SUNNYBROOK DR SE                                                                            WARREN          OH   44484‐4738
STRINGER, KENNETH E           7090B HILL STATION RD                                                                            GOSHEN          OH   45122
STRINGER, KEVIN D             1767 SOUTHWEST BLVD SW                                                                           WARREN          OH   44485‐3969
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Name                      Address1                         Address2                      Address3   Address4         City                State Zip
STRINGER, LARRY D         SHANNON LAW FIRM                 100 W GALLATIN ST                                         HAZLEHURST           MS 39083‐3007
STRINGER, LEE A           PO BOX 18446                                                                               CLEVELAND HEIGHTS    OH 44118‐0446
STRINGER, LEONARD A       1280 EAST AVE                                                                              ELYRIA               OH 44035‐7667
STRINGER, LINDA L         7636 W COUNTY RD 200 N                                                                     KOKOMO               IN 46901
STRINGER, M. L            3144 RALSTON AVE                                                                           INDIANAPOLIS         IN 46218‐1943
STRINGER, M. L.           3144 RALSTON AVE                                                                           INDIANAPOLIS         IN 46218‐1943
STRINGER, MAE AUDREY      4430 FOSTER RD                                                                             CLEVELAND            NC 27013‐9455
STRINGER, MARY A          1300 WAVERLY DR                                                                            WHITE LAKE           MI 48386‐4548
STRINGER, MARY A
STRINGER, MARY NELL       9030 N BRAY RD                                                                             CLIO                MI 48420‐9721
STRINGER, MERVIN A
STRINGER, MICHAEL J       801 KENDALL RD                                                                             PECULIAR            MO   64078‐9574
STRINGER, MYRTLE M        61 CAMPBELL ST                                                                             CROSSVILLE          TN   38555
STRINGER, NANCY E         626 VERMILLION CT                                                                          ANDERSON            IN   46012‐1537
STRINGER, NATHAN T        913 CREEKWOOD LN                                                                           MILFORD             MI   48381‐2477
STRINGER, NIA S           519 FERNDALE AVE                                                                           YOUNGSTOWN          OH   44511‐3207
STRINGER, PHILLIP D       2003 NETHERY RD                                                                            HARTSELLE           AL   35640‐7375
STRINGER, PHYLLIS M       2667 BEAL ST NW                                                                            WARREN              OH   44485‐1205
STRINGER, RAY             214 CLIFTY ST                                                                              SOMERSET            KY   42501‐1612
STRINGER, RENEE J         525 CARLOTTA DR                                                                            YOUNGSTOWN          OH   44504‐1321
STRINGER, RICHARD A       14350 AARON CT                                                                             VICTORVILLE         CA   92394‐3219
STRINGER, RICHARD L       613 GLEN WOOD DRIVE                                                                        FAIRFIELD           AL   35064‐1616
STRINGER, RILEY           2070 FINCH DR                                                                              SAGINAW             MI   48601‐5713
STRINGER, RILLA A         7299 W COUNTY RD 600 S                                                                     COATESVILLE         IN   46121‐9235
STRINGER, ROBERT D        5994 WELLINGTON DR                                                                         CLARKSTON           MI   48346‐3467
STRINGER, ROBERT L        5219 FEDERAL ST. N.W.                                                                      WARREN              OH   44483‐4483
STRINGER, ROBERT P        407 RIVER RD                     LAGOON BEACH                                              BAY CITY            MI   48706‐1426
STRINGER, ROBERT W        18498 BUFFALO ST                                                                           DETROIT             MI   48234‐2437
STRINGER, ROD             PO BOX 10236                                                                               LUBBOCK             TX   79408‐3236
STRINGER, RONALD          14975 ROBSON ST                                                                            DETROIT             MI   48227‐2695
STRINGER, SHARON          83 ELIOT LN                                                                                YOUNGSTOWN          OH   44505
STRINGER, STANLEY D       542 E 3RD ST                                                                               NEWPORT             KY   41071‐1729
STRINGER, SUSIE           125 NW DONOVAN ROAD                                                                        LEES SUMMIT         MO   64063
STRINGER, SUZANNE B       56325 COPPERFIELD DR                                                                       SHELBY TWP          MI   48316‐4809
STRINGER, THELMA          1232 BRIDGEPORT RD                                                                         PINOLA              MS   39149‐3050
STRINGER, THELMA          1232 BRIDGE PORT RD                                                                        PINOLA              MS   39149
STRINGER, TIMOTHY G       1605 N BUCKEYE RD                                                                          MUNCIE              IN   47304‐9681
STRINGER, TIMOTHY P       601 S WENONA ST                                                                            BAY CITY            MI   48706‐4558
STRINGER, TIMOTHY PAUL    601 S WENONA ST                                                                            BAY CITY            MI   48706‐4558
STRINGER, WAYNE J         35218 SHEFFIELD ST                                                                         WESTLAND            MI   48186‐4456
STRINGER, WILLIAM A       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510
                                                           STREET, SUITE 600
STRINGER, WILLIAM J       218 CC BELL PHIPPS RD ROUTE 4                                                              MONTICELLO          KY   42633
STRINGFELLOW, ANNABELLE   610 SCENIC DR                                                                              SAINT LOUIS         MO   63137‐3355
STRINGFELLOW, AUDREY A    1135 DUENKE DRIVE                                                                          ST.LOUIS            MO   63137
STRINGFELLOW, BOBBY       601 N KIMBALL ST                                                                           DANVILLE            IL   61832‐4019
STRINGFELLOW, CLEVELAND   1508 33RD AVE                                                                              MERIDIAN            MS   39301‐3609
STRINGFELLOW, ESTELENE    3001 NW 89TH TER                                                                           KANSAS CITY         MO   64154‐1834
STRINGFELLOW, ESTELENE    3001 NW 89 TERRACE                                                                         KANSAS CITY         MO   64154
STRINGFELLOW, GLENN S     3383 MOUNT READ BLVD                                                                       ROCHESTER           NY   14616‐4343
STRINGFELLOW, GREGORY     6843 KINDLE WOODS DR                                                                       MEMPHIS             TN   38141‐0538
STRINGFELLOW, LACY        3001 NORTHWEST 89TH TERRACE                                                                KANSAS CITY         MO   64154‐1834
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Name                       Address1                        Address2            Address3         Address4         City               State Zip
STRINGFELLOW, NATASHA T    4314 PIPPIN ST                                                                        MONROE              LA 71203‐5248
STRINGFELLOW, REGINALD A   12913 HIGH CREST ST                                                                   FLORISSANT          MO 63033‐4553
STRINGFELLOW, STEVEN A     3245 WAINS WAY                                                                        OAKLAND             MI 48363‐2752
STRINGFELLOW, UREAL        9352 PANAMA AVE                                                                       YPSILANTI           MI 48198‐3238
STRINGFIELD, BARRY A       1610 T B HOSPITAL RD                                                                  BOWLING GREEN       KY 42101‐8913
STRINGFIELD, DOROTHY B     PO BOX 115                                                                            CHINQUAPIN          NC 28521‐0115
STRINGFIELD, GATHER W      4915 STATE ROUTE 503 N                                                                LEWISBURG           OH 45338‐8769
STRINGFIELD, GAYLE D       146 GRANTWOOD DRIVE                                                                   DAYTON              OH 45449‐1556
STRINGFIELD, RUBERT        4401 WOLF RD                                                                          DAYTON              OH 45416‐2243
STRINGHAM, JACK E          16509 WHITTAKER RD                                                                    LINDEN              MI 48451‐9033
STRINGHAM, JAMES D         2852 N CANAL ST                                                                       LUDINGTON           MI 49431‐9463
STRINGHAM, SHARON L        16509 WHITTAKER RD                                                                    LINDEN              MI 48451‐9033
STRIP IT CO                36427 GROESBECK HWY                                                                   CLINTON TOWNSHIP    MI 48035‐1551
STRIP‐IT CO                36427 GROESBECK HWY                                                                   CLINTON TWP         MI 48035‐1551
STRIP‐IT‐ALL LLC           36427 GROESBECK HWY                                                                   CLINTON TOWNSHIP    MI 48035‐1551
STRIPCO/NEW CARLISLE       1730 DALTON DR                                                                        NEW CARLISLE        OH 45344‐2307
STRIPLING JR, RANDOLPH B   409 N BRIDGE ST                                                                       DE WITT             MI 48820‐8907
STRIPLING, E. M            5916 CHESTNUT BND               C/O DANA COUSINS                                      COLLEYVILLE         TX 76034‐7611
STRIPLING, GERALD H        8917 W CANADA GOOSE CT                                                                OAK HARBOR          OH 43449‐9023
STRIPP, DONALD L           4127 W 200 S                                                                          PORTLAND            IN 47371‐7292
STRIPPGEN, ALLEN J         3520 BOULDER CT                                                                       SAINT PETERS        MO 63303‐1619
STRIPPOLI JR, FRANCIS      17770 SE 114TH CT                                                                     SUMMERFIELD         FL 34491‐7806
STRIPPOLI, CARL G          945 SONESTA AVE NE APT 204                                                            PALM BAY            FL 32905
STRIPPOLI, JOSEPH C        31 WASHINGTON AVE                                                                     OSSINING            NY 10562‐5520
STRIPPOLI, JULIE           20 HILLCREST AVE                                                                      OSSINING            NY 10562
STRIPPOLI, LAUREN          72 CROSSGATES ROAD APT C                                                              ROCHESTER           NY 14606
STRITE'S GARAGE            9119 STOTTLEMYER RD                                                                   WAYNESBORO          PA 17268‐9213
STRITENBERGER, EVA M       1324 FLOWERDALE AVENUE                                                                KETTERING           OH 45429‐5102
STRITTMAN, VALERIE F       SHANNON LAW FIRM                100 W GALLATIN ST                                     HAZLEHURST          MS 39083‐3007
STRITTMATHER, EMMA C       551 WOODBURY DR                                                                       AKRON               OH 44333‐2782
STRITTMATTER, CHARLES      2677 POINTE TREMBLE RD                                                                ALGONAC             MI 48001‐1685
STRITTMATTER, FRANK R      2974 ELMWOOD CT                                                                       LAKE ORION          MI 48360‐1714
STRITTMATTER, JEANNE E     1234 REYNOLDS RD LOT 138                                                              LAKELAND            FL 33801‐6449
STRITTMATTER, JOHN T       1111 CHURCH ST                                                                        FLINT               MI 48502‐1012
STRITTMATTER, KAY W        5391 WARWICK TRL                                                                      GRAND BLANC         MI 48439‐9578
STRITTMATTER, PAUL F       3124 CALLE MADERA                                                                     SANTA BARBARA       CA 93105‐2739
STRITTMATTER, WILLIAM W    PO BOX 481                                                                            LAKEMORE            OH 44250‐0481
STRITZEL, DAVID J          5312 SUNMEADOW DR                                                                     PLAINFIELD           IL 60586‐7587
STRIZ, ELEANOR E           3425 E RUSSELL RD UNIT 138                                                            LAS VEGAS           NV 89120‐2258
STRIZ, WILLIAM S           15616 N 2150 EAST RD                                                                  PONTIAC              IL 61764‐3525
STRIZACK, GRAZIA           2775 E NORTH TERRITORIAL RD                                                           WHITMORE LAKE       MI 48189‐9550
STRIZACK, GRAZIA           2775 E N TERRITORIAL                                                                  WHITMORE LAKE       MI 48189‐9550
STRIZAK, GEORGE E          7087 BIG CREEK PKWY                                                                   CLEVELAND           OH 44130‐4904
STRIZAK, MATTHEW P         14101 REVERE CIR                                                                      CLEVELAND           OH 44130‐7033
STRMISKA, DANIEL F         1844 BELLUS RD                                                                        HINCKLEY            OH 44233‐9530
STRMSEK, ELLEN T           926 E FOREST HILL AVE                                                                 OAK CREEK           WI 53154‐3104
STRMSEK, KARL B            926 E FOREST HILL AVE                                                                 OAK CREEK           WI 53154‐3104
STRNAD JR, FRANK F         6481 BRANCH RD                                                                        FLINT               MI 48506‐1368
STRNAD, BENEDETTA A        54621 MARISSA CT                                                                      SHELBY TOWNSHIP     MI 48316‐1292
STRNAD, CARL L             7130 E WILSON RD                                                                      BANNISTER           MI 48807‐9780
STRNAD, DAN C              7079 E WILSON RD                                                                      BANNISTER           MI 48807‐9780
STRNAD, EARL E             7175 RICHARDSON RD                                                                    W BLOOMFIELD        MI 48323‐1169
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Name                       Address1                        Address2                        Address3   Address4         City                State Zip
STRNAD, GEORGE J           1024 RIVER MIST DR                                                                          ROCHESTER            MI 48307‐2263
STRNAD, KAREN B            32552 STRICKER DR                                                                           WARREN               MI 48088‐5753
STRNAD, NORA M             47584 FORTON ST                 C/O CAROLE STNAD                                            CHESTERFIELD         MI 48047‐3443
STRNAD, TIMOTHY W          36746 CHENE DR                                                                              STERLING HTS         MI 48310‐4529
STRNIC, MATTHEW M          8010 SAWMILL CREEK DR                                                                       DARIEN                IL 60561‐4916
STRNISHA MAX (448055)      BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD           OH 44067
                                                           PROFESSIONAL BLDG
STROBA PATRICIA (660955)   MAZUR & KITTEL PLLC             1490 FIRST NATIONAL BUILDING                                DETROIT             MI   48226
STROBA, PATRICIA           MAZUR & KITTEL PLLC             1490 FIRST NATIONAL BUILDING                                DETROIT             MI   48226
STROBBE, ELAINE            2693 IMLAY CITY RD                                                                          LAPEER              MI   48446‐3221
STROBBE, LEONARD R         2693 IMLAY CITY RD                                                                          LAPEER              MI   48446‐3221
STROBBE, MARIA R           39 E CARDIGAN DR                                                                            SAINT LOUIS         MO   63135
STROBECK GEORGE            STROBECK, GEORGE                586 MAIN ST                                                 CATSKILL            NY   12414
STROBECK, GEORGE           586 MAIN ST                                                                                 CATSKILL            NY   12414‐1023
STROBEL JR, CLARENCE       PO BOX 122                                                                                  BIRCH RUN           MI   48415‐0122
STROBEL, BETTIE M          104 W ELNORA ST                                                                             ODON                IN   47562‐1106
STROBEL, CAROLE E          9800 BARNES RD                                                                              CLAYTON             OH   45315‐8949
STROBEL, CYNTHIA A         13260 WHITTIER DR                                                                           STERLING HEIGHTS    MI   48312‐6908
STROBEL, DAVE R            1942 ASHSTAN DR                                                                             COMMERCE TOWNSHIP   MI   48390‐2680
STROBEL, DENA E            7138 LAKEWOOD DR                                                                            OSCODA              MI   48750
STROBEL, DIANE R           4290 N HOCKADAY RD                                                                          GLADWIN             MI   48624
STROBEL, DIANE R           PO BOX 433                                                                                  GLADWIN             MI   48624‐0433
STROBEL, DONNA M.          5323 CLOVER LANE                                                                            TOLEDO              OH   43623‐2239
STROBEL, EDWIN E           196 APOLLO AVE                                                                              FLUSHING            MI   48433‐9326
STROBEL, ELIZABETH B.      44239 ECORSE RD                                                                             BELLEVILLE          MI   48111‐1173
STROBEL, GARY M            2155 CALVIN AVE                                                                             LINCOLN PARK        MI   48146‐2539
STROBEL, GEORGE F          1092 OKURA ST                                                                               MOORE HAVEN         FL   33471‐4919
STROBEL, GERTRUDE A        223 FORESTWOOD AVE                                                                          VANDALIA            OH   45377‐1907
STROBEL, HERMAN C          7843 N RIVER RD                                                                             FREELAND            MI   48623‐8408
STROBEL, JACK K            82 BLOOMFIELD PL                                                                            ROCHESTER           NY   14620‐1504
STROBEL, JOHN R            31464 NORTH HIGHWAY 59                                                                      GARNETT             KS   66032‐9524
STROBEL, JOHN R            210 E MADISON ST                                                                            MC DONALD           OH   44437‐1709
STROBEL, JOHN R.           31464 NORTH HIGHWAY 59                                                                      GARNETT             KS   66032‐9524
STROBEL, KATHLEEN D.       6483 BELL RD                                                                                BIRCH RUN           MI   48415‐9048
STROBEL, KENNETH M         2519 E PROVINCIAL HOUSE DR                                                                  LANSING             MI   48910‐4877
STROBEL, LINDA             137 GREENLEAF MDWS APT B                                                                    ROCHESTER           NY   14612‐4328
STROBEL, LOIS              APT 308                         900 NORTH CASS LAKE ROAD                                    WATERFORD           MI   48328‐2388
STROBEL, LORETTA E         47 COACH DR                                                                                 SOUTHINGTON         CT   06489‐3441
STROBEL, RAMONA G          13806 SHERI HOLLOW LANE                                                                     HOUSTON             TX   77082‐3314
STROBEL, RICHARD L         6245 E OMEGA ST                                                                             MESA                AZ   85215‐1524
STROBEL, STANLEY P         4290 N HOCKADAY RD                                                                          GLADWIN             MI   48624
STROBEL, STANLEY P         4290 HOCKADAY RD                                                                            GLADWIN             MI   48624
STROBEL, STEVEN L          13260 WHITTIER DR                                                                           STERLING HTS        MI   48312‐6908
STROBEL, TAMMY L           7336 GILLETTE RD                                                                            FLUSHING            MI   48433‐9271
STROBEL, URSULA            4309 NANCY LN                                                                               WHITE LAKE          MI   48383‐1697
STROBHART, HENRY           19306 MONTROSE ST                                                                           DETROIT             MI   48235‐2311
STROBL & BORDA PC          300 E LONG RD STE 200                                                                       BLOOMFIELD HILLS    MI   48304
STROBL, ROBERT J           13749 PERNELL DR                                                                            STERLING HTS        MI   48313‐4247
STROBL, WALTER J           8132 OLD CHANNEL TRL                                                                        MONTAGUE            MI   49437‐1534
STROBL, WALTER JOHN        8132 OLD CHANNEL TRL                                                                        MONTAGUE            MI   49437‐1534
STROBLE, ALMETIA           279 W PHEASANT HILL DR                                                                      DUNCAN              SC   29334‐8822
STROBLE, LOREN E           6655 PARKVIEW AVE                                                                           KANSAS CITY         KS   66104‐1352
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Name                     Address1                        Address2          Address3         Address4         City             State Zip
STROBLE, RICK            6655 PARKVIEW AVE                                                                   KANSAS CITY       KS 66104‐1352
STROBRIDGE, CLAYTON E    PO BOX 933                                                                          HOUGHTON LAKE     MI 48629‐0933
STROBRIDGE, HAROLD D     430 ORTON ST                                                                        HOWARD CITY       MI 49329‐9438
STROBRIDGE, LARRY D      859 RUSTIC TAVERN RD                                                                HEDGESVILLE       WV 25427‐6127
STROCHINE, TONYA L       30426 WEST RD                                                                       NEW BOSTON        MI 48164‐9472
STROCK, ARLENE V         519 WILLIAMSBURG LANE                                                               ODENTON           MD 21113‐1924
STROCK, BEVERLY J        7965 W LINCOLN ST NE                                                                MASURY            OH 44438‐9780
STROCK, FRANCES A        21418 N 138TH AVE                                                                   SUN CITY WEST     AZ 85375‐5812
STROCK, JAMES P          3856 SMITH STEWART RD                                                               NILES             OH 44446‐4429
STROCK, MICKEY E         7965 W LINCOLN ST NE                                                                MASURY            OH 44438‐9780
STROCK, MITCHELL W       305 COUNTRYSIDE LN APT 7                                                            ORCHARD PARK      NY 14127‐1335
STROCK, MITCHELL WAYNE   305 COUNTRYSIDE LN APT 7                                                            ORCHARD PARK      NY 14127
STROCK, ROBERT E         3237 ST. RD. 305, N.W.                                                              WARREN            OH 44481
STROCK, ROGER W          332 GLEN RAPE RD                                                                    CRANBERRY TWP     PA 16066‐2010
STROCK, TERRY L          187 CHERRY HILL RD                                                                  ELKTON            MD 21921‐3628
STROCK, THOMAS E         4703 STATE ROUTE 305                                                                SOUTHINGTON       OH 44470‐9768
STROCK, VICTORIA J       3297 B EAGLES LOFT                                                                  CORTLAND          OH 44410‐9285
STROCK, VICTORIA J       3297 EAGLES LOFT UNIT B                                                             CORTLAND          OH 44410‐9285
STROCK, WILLIAM F        441 S ELMWOOD AVE                                                                   BURLINGTON        WI 53105‐2037
STROCKBINE, WILLIAM R    2264 TROY RD                                                                        WASHINGTON        IN 47501‐7363
STRODE, ANDREW H         13007 KING LN                                                                       OVERLAND PARK     KS 66213‐4476
STRODE, CHARLIE          PO BOX 6562                                                                         SAGINAW           MI 48608
STRODE, MELODY D         7815 HOLLY HILL RD                                                                  CHARLOTTE         NC 28227‐2530
STRODE, SHARON K         345 8TH ST                                                                          ELYRIA            OH 44035‐5830
STRODOSKI, FRANK W       25358 RAMEY ST                                                                      DEARBORN HTS      MI 48127‐3826
STRODOSKI, JOSEPH R      18218 RUSTIC SPRINGS DR                                                             TOMBALL           TX 77375‐8729
STRODTBECK, HELEN        2409 RIVER BIRCH DR                                                                 AVON              IN 46123
STROEBE, RICHARD M       1556 EDISON SHORES LN                                                               PORT HURON        MI 48060‐3377
STROEBEL AUTOMOTIVE      100 CAMPBELL LN                                                                     SAGINAW           MI 48609
STROEBEL, CLIFFORD E     5115 KENCLIFF DR                                                                    SAGINAW           MI 48638‐6106
STROEBEL, DONALD J       20 SHADYSIDE CT                                                                     SAGINAW           MI 48638‐5802
STROEBEL, GARY L         951 HUNTERS RIDGE DR                                                                TIPP CITY         OH 45371‐3704
STROEBEL, GERALDINE G    1503 JACKSON ST                                                                     SAGINAW           MI 48602‐2432
STROEBEL, LOIS M         867 ATTICA ST                                                                       VANDALIA          OH 45377‐1849
STROEHMANN BAKERIES      225 BUSINESS CTR. DR. STE.200                                                       HORSHAM           PA 19044
STROEHMANN LINE HAUL     12 E JERICHO TPKE                                                                   MINEOLA           NY 11501‐3141
STROEHMANN LINE HAUL     815 N NEW RD                                                                        PLEASANTVILLE     NJ 08232‐1311
STROEHMANN LINE HAUL     8501 BACKLICK RD                                                                    LORTON            VA 22079‐1401
STROEHMANN LINE HAUL     1340 BLACKWOOD CLEMENTON RD                                                         CLEMENTON         NJ 08021‐5610
STROEHMANN LINE HAUL     4000 PAXTON ST                                                                      HARRISBURG        PA 17111‐1430
STROEHMANN LINE HAUL     160 AIRPORT RD                                                                      LAKEWOOD          NJ 08701
STROEHMANN LINE HAUL     325 SOUTH ST                                                                        NEWARK            NJ 07114‐2929
STROEHMANN LINE HAUL     2120 STATE ROUTE 27                                                                 EDISON            NJ 08817‐3332
STROEHMANN LINE HAUL     250 DUNKSFERRY RD # 256                                                             BENSALEM          PA 19020
STROEHMANN LINE HAUL     8 ALVIN COURT                                                                       EAST BRUNSWICK    NJ 08816
STROEHMANN LINE HAUL     284 BULL HILL LN                                                                    ORANGE            CT 06477‐3211
STROEHMANN LINE HAUL     3039 NYS ROUTE 417                                                                  OLEAN             NY 14760‐1832
STROEHMANN LINE HAUL     840 SCRANTON CARBONDALE HWY                                                         SCRANTON          PA 18508‐1122
STROEHMANN LINE HAUL     1500 TROY AVE                                                                       BROOKLYN          NY 11203‐6536
STROEHMANN LINE HAUL     901 N ELMER AVE                                                                     SAYRE             PA 18840‐1835
STROEHMANN LINE HAUL     930 RIVERVIEW DR                                                                    TOTOWA            NJ 07512
STROEHMANN LINE HAUL     1724 5TH AVE                                                                        BAY SHORE         NY 11706‐3444
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STROEHMANN LINE HAUL           325 KIWANIS BLVD                                                                          WEST HAZLETON         PA 18202‐1163
STROEHMANN LINE HAUL           1810 E RIDGE PIKE                                                                         ROYERSFORD            PA 19468
STROEHMANN LINE HAUL           7260 PARKWAY DR                                                                           HANOVER               MD 21076‐1307
STROEHMANN LINE HAUL           32 PARKWAY CIR                                                                            NEW CASTLE            DE 19720‐4077
STROEHMANN LINE HAUL           126 MARATHON DR                                                                           WINCHESTER            VA 22602‐2416
STROEHMANN LINE HAUL           7111 DORSEY RUN RD STE 100                                                                ELKRIDGE              MD 21075‐6801
STROEHMANN LINE HAUL           690 E LINCOLN HWY                                                                         EXTON                 PA 19341
STROEHMANN LINE HAUL           2415 BRODHEAD RD                                                                          BETHLEHEM             PA 18020‐8905
STROEHMANN LINE HAUL LP                                        1810 EAST RIDGE PARK                                                            PA 19401
STROEHMANNS LINE HAUL‐HDQTRS   640 PARK AVE                                                                              READING               PA 19611‐1926
STROER, PETER J                3615 VALLEY CREST WAY                                                                     CUMMING               GA 30041
STROETZ, RITA                  10‐24 166TH ST                                                                            WHITESTONE            NY 11357
STROFF ELIZABETH               5571 BOW FALLS BLVD                                                                       DUBLIN                OH 43016‐7388
STROH WILLIAM                  1706 S MAIN ST                                                                            MOUNT AIRY            MD 21771‐5307
STROH, DAVID J                 3325 WOODLAND RIDGE                                                                       COLUMBUS              IN 47201‐1562
STROH, DENNIS A                48580 SUTTON BAY CT                                                                       SHELBY TOWNSHIP       MI 48315‐4281
STROH, EVA BETSY               193 GLEN GARY DR                                                                          MOUNT MORRIS          MI 48458‐8911
STROH, EVA BETSY               193 GLEN GARY                                                                             MT. MORRIS            MI 48458‐8911
STROH, KATHLEEN                106 SANDY LN                                                                              TROY                  MO 63379‐2549
STROH, KATHLEEN J              3515 HALLA LN                                                                             BLOOMFIELD VILLAGE    MI 48301‐2128
STROH, KENNETH R               3444 SHADDICK RD                                                                          WATERFORD             MI 48328‐2560
STROH, RICHARD                 4896 RIVER RD                                                                             HOUGHTON LAKE         MI 48629‐9675
STROH, ROBERT A                2619 LONGSTREET AVE SW                                                                    WYOMING               MI 49509‐2061
STROH, WILLIAM J               9410 S SIERRA DR                                                                          NORTH PLATTE          NE 69101‐6194
STROH, WILLIAM JASON           9410 S SIERRA DR                                                                          NORTH PLATTE          NE 69101‐6194
STROHBUSCH, CHRISTINE M        1006 E LAKESIDE DR                                                                        EDGERTON              WI 53534‐8425
STROHBUSCH, GREGORY P          1006 E LAKESIDE DR                                                                        EDGERTON              WI 53534‐8425
STROHBUSCH, KENNETH W          1511 LEE LN                                                                               JANESVILLE            WI 53546‐5871
STROHL SYSTEMS GROUP INC       631 PARK AVE                                                                              KING OF PRUSSIA       PA 19406‐1408
STROHL, GERALD F               12725 BROOKS MEADOW DR                                                                    BROOKLYN              MI 49230‐9138
STROHL, GERALD R               11377 MERCER RD                                                                           JEROME                MI 49249
STROHL, JOHN D                 19820 N 13TH AVE UNIT 252                                                                 PHOENIX               AZ 85027‐4316
STROHL, ROBERT E               9750 HOWLAND SPRINGS RD                                                                   WARREN                OH 44484‐3110
STROHL, SYLVIA                 620 S REMINGTON DR                                                                        ANGLETON              TX 77515‐3332
STROHM DEAN W (482035)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510
                                                               STREET, SUITE 600
STROHM EARL W JR               STROHM, EARL W                  1751 LINCOLN HIGHWAY                                      NORTH VERSAILLES     PA   15137
STROHM EQUIPMENT COMPANY INC   3508 WEST CAPITOL AVENUE                                                                  WEST SACRAMENTO      CA   95691
STROHM JR, EDGAR W             103 IDLEWOOD RD                                                                           YOUNGSTOWN           OH   44515‐2829
STROHM JR, EDGAR W             3635 ORWEILER RD                                                                          MANSFIELD            OH   44903‐8654
STROHM, BARBARA J              1219 LOHR RD                                                                              GALION               OH   44833‐9533
STROHM, DEAN W                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510‐2212
                                                               STREET, SUITE 600
STROHM, EDGAR W                2267 OLENTANGY RD                                                                         BUCYRUS              OH   44820‐9680
STROHM, KENNETH F              1219 LOHR RD                                                                              GALION               OH   44833‐9533
STROHM, LENORA G               4190 ORCHARD HILL DR                                                                      BLOOMFIELD HILLS     MI   48304‐3248
STROHM, LENORA GAREY           4190 ORCHARD HILL DR                                                                      BLOOMFIELD HILLS     MI   48304‐3248
STROHM, MATTHEW J              808 SOUTHEND CT                                                                           MANCHESTER           NJ   08759‐4600
STROHM, RICHARD E              2114 MOULTON RD                 C/O TOM STROHM                                            KEWADIN              MI   49648‐9307
STROHM, RICHARD T              2114 MOULTON RD                                                                           KEWADIN              MI   49648‐9307
STROHM, ROLLIE L               639 STOCKBRIDGE DR                                                                        WESTFIELD            IN   46074‐8822
STROHM, RONALD A               877 FAIRLANE DR                                                                           SANDUSKY             MI   48471‐9705
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STROHM, STEPHEN C          3115 HARVARD RD                                                                       ROYAL OAK          MI 48073‐6606
STROHM, TRENT T            PO BOX 9022                     C/O SHANGHAI                                          WARREN             MI 48090‐9022
STROHM, VIOLET B           319 E NELSON ST                                                                       CADILLAC           MI 49601‐1946
STROHMAIER, ALAN H         5303 RIVER RIDGE DR                                                                   BRIGHTON           MI 48116‐4791
STROHMAIER, NEIL B         9 KING RAIL LN                                                                        HILTON HEAD        SC 29926‐1859
STROHMAN, BERNARD J        3730 GRAYTON DRIVE                                                                    NEW PRT RCHY       FL 34652‐5754
STROHMAN, LARRY            4813 WESTCHESTER DR APT 209                                                           AUSTINTOWN         OH 44515‐2512
STROHMEIER, RUTH L         PO BOX 208                      42863 KEGO LK RD                                      FIFTY LAKES        MN 56448‐0208
STROHMENGER, ALICE R.      9931 PLEASANT RENNER RD                                                               GOSHEN             OH 45122‐9630
STROHMENGER, ALICE R.      9931 PLESEANT RENNER                                                                  GOSHEN             OH 45122‐9630
STROHMENGER, THOMAS W      508 SPOTTED DOE TRIAL                                                                 PIQUA              OH 45356‐4488
STROHMEYER JR, JOSEPH C    18 CENTENNIAL DR                                                                      POLAND             OH 44514‐1706
STROHMEYER, ANNA B         102 BEAVER AVE                                                                        NILES              OH 44446‐2605
STROHMEYER, FREDERICK G
STROHMEYER, MARY A         1401 VILAS ST                                                                         LEAVENWORTH       KS   66048
STROHMEYER, MARY A         1444 E 8TH ST                                                                         KANSAS CITY       MO   64106‐1712
STROHMEYER, SHERRY L       18 CENTENNIAL DR                                                                      POLAND            OH   44514‐1706
STROHMINGER, RAYMOND E     3615 KINGSWOOD DR                                                                     DAYTON            OH   45429‐4317
STROHPAUL, PATRICIA G      400 GREENLER RD UNIT 1501                                                             DEFIANCE          OH   43512‐4201
STROHPAUL, PAUL R          2971 E CROSBY CT                                                                      MIDLAND           MI   48640‐8918
STROHPAUL, RALPH E         744 SEIDLERS RD                                                                       AUBURN            MI   48611‐8700
STROHPAUL, RALPH R         402 WOODSIDE LN                                                                       BAY CITY          MI   48708‐5551
STROHPAUL, ROGER E         1108 KARNES AVE                                                                       DEFIANCE          OH   43512‐3022
STROHSACK, BRIAN J         2404 E ERIE AVE                                                                       LORAIN            OH   44052‐2416
STROHSACK, JAMES D         1471 E ERIE AVE                                                                       LORAIN            OH   44052‐2228
STROHSCHEIN, GARY W        1450 CHESTERFIELD RD                                                                  LEWISVILLE        NC   27023‐7741
STROHSCHEIN, JEFFREY A     5028 ASHFORD RD                                                                       CLARKSTON         MI   48348‐2172
STROHSCHEIN, JULIUS M      7819 TRUAX RD                                                                         HILLMAN           MI   49746‐9304
STROHSCHEIN, SHASITIY      9988 HIGHWAY 451                                                                      MOREAUVILLE       LA   71355‐3618
STROHSCHEIN, VERNA J       331 NORTH ELIZABETH ST.                                                               HILLMAN           MI   49746‐9048
STROHSCHEIN, VERNA J       331 N ELIZABETH                                                                       HILLMAN           MI   49746‐9048
STROHSCHEIN,JEFFREY A      5028 ASHFORD RD                                                                       CLARKSTON         MI   48348‐2172
STROICH, JOHN              34882 CARBON DR                                                                       STERLING HTS      MI   48312‐4934
STROIK, GARY M             1221 BROOK ARBOR DRIVE                                                                CARY              NC   27519‐7939
STROIK, ISABEL             11954 LAKEFIELD RD                                                                    ST CHARLES        MI   48655‐9554
STROIK, ROBERT R           1704 MENOMONEE AVE                                                                    S MILWAUKEE       WI   53172‐3172
STROIK, WILLIAM J          11811 MOORISH RD                                                                      BIRCH RUN         MI   48415‐8518
STROIKA, MAX A             4817 N ELKHART AVE                                                                    MILWAUKEE         WI   53217‐5944
STROJIN, KENNETH A         1539 ALLEN DR                                                                         WESTLAKE          OH   44145‐2504
STROJNOWSKI, CHARLOTTE R   1325 MOLL ST                                                                          N TONAWANDA       NY   14120‐2229
STROJNOWSKI, JUDITH L      1264 BOWEN CT                                                                         N TONAWANDA       NY   14120‐2859
STROJNOWSKI, WAYNE M       1264 BOWEN CT                                                                         NORTH TONAWANDA   NY   14120‐2859
STROJNY, ALEX              5351 SHARON MARIE CT                                                                  LAS VEGAS         NV   89118‐1832
STROJNY, ALEX              128 GOLF COURSE ST                                                                    LAS VEGAS         NV   89145
STROJNY, ANDREW P          14050 WHITNEY RD                                                                      STRONGSVILLE      OH   44136‐1961
STROJNY, ANNA J            14050 WHITNEY RD                                                                      STRONGSVILLE      OH   44136‐1961
STROJNY, BERTHA            65 POST AVENUE                                                                        HILTON            NY   14468‐8977
STROJNY, BERTHA            65 POST AVE                                                                           HILTON            NY   14468‐8977
STROKA, MARY ANN           8273 GRAND OAKS CT                                                                    WASHINGTON TWP    MI   48095‐2912
STROKA, RICHARD T          34139 SALEM GRANGE RD                                                                 SALEM             OH   44460‐9423
STROLE, ROBERT L           7125 PEREGINE LINE RD                                                                 FREEDOM           IN   47431‐7345
STROLE, SHARON G           2345 GOOSE CREEK RD                                                                   MARTINSVILLE      IN   46151‐7054
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Name                         Address1                             Address2                        Address3   Address4         City              State Zip
STROLLE, MARK E              6174 COLUMBIA ST                                                                                 HASLETT            MI 48840‐8267
STROLLO, BEVERLY J           5812 HERONS BLVD UNIT A                                                                          YOUNGSTOWN         OH 44515‐5827
STROLLO, CHIP C              3075 ESTATES DR                                                                                  POMPANO BEACH      FL 33069‐3806
STROLLO, DAVID T             7486 JEREMY AVE                                                                                  MENTOR             OH 44060‐3941
STROLLO, RON
STROLLO, VIRGINIA            240 RICHMOND AVE APT 103                                                                         BATAVIA           NY 14020‐1285
STROLLO, VIRGINIA            240 RICHMOND AVE                       APT # 103                                                 BATAVIA           NY 14020‐1285
STROM JOHN E (630865)        LIPSITZ GREEN FAHRINGER ROLL SALISBURY 42 DELAWARE AVE STE 300                                   BUFFALO           NY 14202‐3901
                             & CAMBRIA
STROM ROBERT (459371)        GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                    STREET, SUITE 600
STROM SR, JEFFERSON D        4596 PINEHAVEN DR                                                                                OCEAN SPRINGS     MS   39564‐8783
STROM, ARTHUR A              10101 BURNT STORE RD LOT 46                                                                      PUNTA GORDA       FL   33950‐7996
STROM, DANIEL B              220 GRANT AVE                                                                                    CLARENDON HLS     IL   60514‐1327
STROM, DORIS F               4057 CRESCENT DR APT 238                                                                         NORTH TONAWANDA   NY   14120‐3716
STROM, DORIS F               4057 CRESCENT DR                       APT 238                                                   NORTH TONAWANDA   NY   14120‐3716
STROM, DORIS P               APT 212                                521 CHEROKEE STREET                                       KALAMAZOO         MI   49006‐2852
STROM, ELAINE                103 W RITTER ST                                                                                  ELLETTSVILLE      IN   47429‐1524
STROM, ELONA                 10916 GOODRICH AVE S                                                                             BLOOMINGTON       MN   55437‐2906
STROM, GERDA M               600 DARNELL RD                                                                                   WESTON            WV   26452‐7531
STROM, HATTY                 112 LAUREL LEAH                                                                                  FENTON            MI   48430‐8784
STROM, JOAN M                208 S. MIFFLIN STREET                                                                            LANSING           MI   48912‐4036
STROM, JOAN M                208 MIFFLIN AVE                                                                                  LANSING           MI   48912‐4036
STROM, KENNETH A             61607 SPRING CIRCLE TRL                                                                          WASHINGTON        MI   48094‐1144
STROM, KENNETH C             112 LAUREL LEAH                                                                                  FENTON            MI   48430‐8784
STROM, MARY K                1292 WOODNOLL DR                                                                                 FLINT             MI   48507‐4716
STROM, RICHARD               7587 COVINGTON DR                                                                                CHEBOYGAN         MI   49721‐9273
STROM, RICHARD W             1585 BRITTAINY OAKS TRL NE                                                                       WARREN            OH   44484‐3969
STROM, ROBERT                GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                                    STREET, SUITE 600
STROM, ROBERT R              781 WEBBER CT                                                                                    LINDEN            MI   48451‐8761
STROM, STEVEN E              1411 TRANSUE AVE                                                                                 BURTON            MI   48509‐2425
STROM, STEVEN EDWYN          1411 TRANSUE AVE                                                                                 BURTON            MI   48509‐2425
STROM, TAMARA L              4735 SHORELINE BLVD                                                                              WATERFORD         MI   48329‐1659
STROM, WILLIAM C             11167 E HILLIS RD                                                                                RIVERDALE         MI   48877‐9507
STROM, WILLIAM G             3143 CELIA DR                                                                                    WATERFORD         MI   48329‐2223
STROMAG INC                  85 WESTPARK RD                                                                                   CENTERVILLE       OH   45459‐4812
STROMAN, ABRAHAM             179‐16 LESLIE RD                       SPRINGFIELD GARDENS                                       QUEENS            NY   11434‐2700
STROMAN, ABRAHAM             17916 LESLIE RD                        SPRINGFIELD GARDENS                                       JAMAICA           NY   11434‐2700
STROMAN, EDDIE L             4927 OAK HILL DR                                                                                 WATERFORD         MI   48329
STROMAN, JOHN L              1152 VICKSBURG ST                                                                                DELTONA           FL   32725‐2842
STROMAN, LOWMAN              134 PIONEER PL                                                                                   AIKEN             SC   29801‐9254
STROMAN, LOWMAN              236 OLD BARN WELL RD                                                                             AIKEN             SC   29803
STROMAN, MACK L              1224 TENOR PL                                                                                    INDIANAPOLIS      IN   46231‐4264
STROMAN, MIRIAM              2378 JOHN R RD APT 103                                                                           TROY              MI   48083‐2575
STROMAN, NATALA              LIEFF CABRASER HEIMANN & BERNSTEIN     150 4TH AVE N STE 1650                                    NASHVILLE         TN   37219‐2423
                             LLP
STROMAN, NATALA              HUMPHREY FARRINGTON & MCCLAIN          PO BOX 900                                                INDEPENDENCE      MO   64051‐0900
STROMAN, ROBERT L            17333 FIVE POINTS ST                                                                             REDFORD           MI   48240‐2121
STROMAN, TEOSCHE MICHELLE    902 PATTERSON ST APT 1                                                                           TAMPA             FL   33604
STROMAN, YVETTE M            23570 MAPLERIDGE DR                                                                              SOUTHFIELD        MI   48075‐3319
STROMAN‐WATKINS, CYNTHIA D   4469 WHITT STATION RUN NW RU                                                                     ACWORTH           GA   30101
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STROMAR, ANDREA M            24440 BLOOMINGTON DR                                                                        FRANKLIN             MI 48025‐1609
STROMASYS
STROMBELLINE, ANGELA D       171 CAROLINE AVE                                                                            GARDEN CITY SOUTH   NY    11530‐5509
STROMBERG JR, JAMES E        3200 EAGLE RIDGE DR                                                                         PLATTE CITY         MO    64079‐7261
STROMBERG JR, JAMES E.       3200 EAGLE RIDGE DR                                                                         PLATTE CITY         MO    64079‐7261
STROMBERG PRODUCTS           446 BLAKE ST                                                                                NEW HAVEN           CT    06515‐1286
STROMBERG, BETTY J           PO BOX 7878                                                                                 WESTCHESTER          IL   60154‐7878
STROMBERG, CLEMENT A         23047 L ERMITAGE CIR                                                                        BOCA RATON          FL    33433‐7152
STROMBERG, GARY L            34 YORKSHIRE AVE                                                                            WEST MILFORD        NJ    07480‐1624
STROMBERG, JENNIFER L        3200 EAGLE RIDGE DR                                                                         PLATTE CITY         MO    64079‐7261
STROMBERG, JENNIFER LYNN     3200 EAGLE RIDGE DR                                                                         PLATTE CITY         MO    64079‐7261
STROMEI LINDA                PO BOX 2050                                                                                 CORRALES            NM    87048‐2050
STROMIK, PETER P             8372 SENATOR ST                                                                             DETROIT             MI    48209‐3436
STROMINGER, MARILYN J        2170 SETTLERS TRAIL                                                                         VANDALIA            OH    45377‐3262
STROMKO, EDWARD W            PO BOX 646                                                                                  FALLSTON            MD    21047‐0646
STROMKO, IN HUI              PO BOX 646                                                                                  FALLSTON            MD    21047‐0646
STROMKO, IN HUI              BOX 646                                                                                     FALLSTON            MD    21047‐0646
STROMME, ARNOLD L            7164 RYANS RUN                                                                              STANWOOD            MI    49346‐9021
STROMME, GERALD              204 FOREST DR                                                                               GOLETA              CA    93117‐1109
STROMME, WILLIAM E           1132 SW 19TH AVE UNIT 411                                                                   PORTLAND            OR    97205‐1743
STROMMEN, PAUL E             45912 S LAKE OWEN DR                                                                        CABLE               WI    54821‐4718
STROMMEN, PETER J            2112 WOODRUFF BLVD                                                                          JANESVILLE          WI    53548‐2360
STROMMEN, SHERWOOD V         W5561 HILL LN                                                                               MONROE              WI    53566‐9306
STROMP RICHARD               82053 502ND AVE                                                                             SPALDING            NE    68665‐6120
STROMP, CRAIG D              13407 KENOWA AVE NW                                                                         GRAND RAPIDS        MI    49534
STROMQUIST, DAVID A          1005 PINE ST                                                                                NEGAUNEE            MI    49866‐1056
STROMQUIST, PHYLLIS J        16 TERRY LN                                                                                 ROCHESTER           NY    14624‐1010
STROMQUIST, PHYLLIS J        16 TERRY LANE                                                                               ROCHESTER           NY    14624‐1010
STROMSKI III, JOHN J         31685 ECKSTEIN ST                                                                           WARREN              MI    48092‐1667
STROMSKI, CHERYL A           7502 ROAD 192                                                                               ANTWERP             OH    45813‐9203
STROMSKI, ELIZABETH          2055 JOHN HIX                                                                               WESTLAND            MI    48186‐3739
STROMSKI, ELIZABETH          2055 S JOHN HIX ST                                                                          WESTLAND            MI    48186‐3739
STROMSKI, II,JOSEPH EDWARD   7502 ROAD 192                                                                               ANTWERP             OH    45813‐9203
STROMSKI, JOSEPH E           7502 ROAD 192                                                                               ANTWERP             OH    45813‐9203
STROMSKI, STEVEN M           46 KOVAL LN                                                                                 FREDERICKSBURG      VA    22406
STROMSKI, STEVEN MATTHEW     46 KOVAL LN                                                                                 FREDERICKSBURG      VA    22406
STROMSKY, WILMA H            OFC                             1923 EAST JOYCE BOULEVARD                                   FAYETTEVILLE        AR    72703‐5293
STROMSKY, WILMA H
STRONACH, CHARLES H          7 PAYSON ST                                                                                 QUINCY              MA    02169‐4911
STRONACH, NANCY V            134 E ASHLAND AVE                                                                           VISALIA             CA    93277
STRONACH, ROBIN M            PO BOX 164                                                                                  LINCOLN PARK        MI    48146‐0164
STRONER, TERRANCE C          6231 JAMES ST                                                                               TINLEY PARK         IL    60477‐1976
STRONEY FRANK J & MAEQUIDA   3912 BRONSON COURT                                                                          HILLIARD            OH    43026‐1156
STRONG BRADLEY (448057)      BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH    44067
                                                             PROFESSIONAL BLDG
STRONG CAPITAL I, LP
STRONG CAPITAL I, LP         1000 GENERAL MOTORS DR          MAIL CODE 8022                                              JANESVILLE          WI    53546‐2531
STRONG CAPITAL LLP           C/O RAILROAD MGMT CO LLC        PO BOX 678161                                               DALLAS              TX    75267‐8161
STRONG CLAYTON               2732 SYCAMORE CV N                                                                          PEARL               MS    39208‐5141
STRONG EARL V (482036)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA    23510
                                                             STREET, SUITE 600
STRONG FERN                  320 W MAIN ST APT 425                                                                       WARSAW               IN   46580
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Name                                Address1                           Address2                        Address3   Address4         City            State Zip
STRONG HOLD PRODUCTS                DIV FABRICATED METALS CORP         PO BOX 9043                                                 LOUISVILLE       KY 40209‐0043
STRONG I I, BERNARD T               9100 SHORTER LAKE RD                                                                           TRAVERSE CITY    MI 49684‐7847
STRONG JR, ARTHUR                   PO BOX 534                                                                                     HOGANSVILLE      GA 30230‐0534
STRONG JR, CHARLES                  7010 DARYLL DR                                                                                 FLINT            MI 48505‐1953
STRONG JR, CLARENCE A               10079 CLARK RD                                                                                 DAVISON          MI 48423‐8523
STRONG JR, CLYDE H                  925 S COVENTRY DR                                                                              ANDERSON         IN 46016
STRONG JR, DONALD L                 973 BURLINGHAM ST                                                                              OXFORD           MI 48371‐4503
STRONG JR, JAMES P                  6910 E TORRENCE ST                                                                             MUNCIE           IN 47303‐6500
STRONG JR, JOSEPH F                 8989 CONCORD RD                                                                                POWELL           OH 43065‐8966
STRONG JR, RUFUS                    518 SPENCER ST                                                                                 FLINT            MI 48505‐4258
STRONG MEDICAL GROUP                PO BOX 278980                                                                                  ROCHESTER        NY 14627
STRONG MEMORIAL HOSPITAL            MEDICINE                           601 ELMWOOD AVE PO BOX 654                                  ROCHESTER        NY 14642‐0001
OCCUPATIONAL AND ENVIRONEMNTAL

STRONG OCCUPATIONAL & ENVIRONM      400 RED CREEK DR STE 220                                                                       ROCHESTER       NY 14623‐4281

STRONG OCCUPATIONAL &               400 RED CREEK DR STE 220                                                                       ROCHESTER       NY 14623‐4281
ENVIRONMENTAL
STRONG SR, JERONE                   7253 NORTHQUAY CT                                                                              HOLLAND         OH 43528‐7705
STRONG TOMMY (ESTATE OF) (492690)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                       PROFESSIONAL BLDG
STRONG TOMMY (ESTATE OF) (492691)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                       PROFESSIONAL BLDG
STRONG TOOL CO                      TEXTRON FINANCIAL CORP             1251 E 286TH ST                                             CLEVELAND       OH   44132‐2137
STRONG TOOL CO                      2493 S CRABTREE DR                                                                             PRINCETON       IN   47670‐9360
STRONG WOMEN BUILDING               2018 AVENUE A                                                                                  FLINT           MI   48505‐4614
STRONG, A & SON TRUCKING            3413 STATE ROUTE 113 W                                                                         MONROEVILLE     OH   44847‐9684
STRONG, ALBERT                      5710 DUPONT ST                                                                                 FLINT           MI   48505‐2655
STRONG, ANDREW E                    365 ALCOVY RD                                                                                  MANSFIELD       GA   30055‐2420
STRONG, ANITA F                     458 COLLEGE ST                                                                                 SHREVEPORT      LA   71104‐2318
STRONG, ANITA FAYE                  458 COLLEGE ST                                                                                 SHREVEPORT      LA   71104‐2318
STRONG, ANN                         827 COLUMBIAN AVENUE                                                                           OAK PARK        IL   60302‐1557
STRONG, ANNETTE C                   PO BOX 161                                                                                     ANGOLA          IN   46703‐0161
STRONG, ANNIE B                     3812 COMSTOCK                                                                                  FLINT           MI   48504‐3753
STRONG, ANNIE B                     3812 COMSTOCK AVE                                                                              FLINT           MI   48504‐3753
STRONG, ANNIE P                     4225 BROWNELL BLVD                                                                             FLINT           MI   48504‐2126
STRONG, APRIL A                     193 AUTUMN WOODS DR                                                                            CHILLICOTHE     OH   45601‐7055
STRONG, ARCHIE                      APT 451                            10601 DIANA AVENUE                                          RIVERSIDE       CA   92505‐1970
STRONG, BARBARA E                   822 WASHINGTON BLVD                                                                            LAKE ODESSA     MI   48849‐1028
STRONG, BRADLEY                     BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD      OH   44067
                                                                       PROFESSIONAL BLDG
STRONG, BRENT D                     4214 SUNDANCE MDWS                                                                             HOWELL          MI   48843‐6960
STRONG, BRUCE A                     PO BOX 210                                                                                     NORTH BRANCH    MI   48461
STRONG, BRYAN D                     4645 BAY GLADWIN RD                                                                            RHODES          MI   48652
STRONG, BRYAN DONALD                4645 BAY GLADWIN RD                                                                            RHODES          MI   48652
STRONG, C K                         1102 BLACKBERRY LN                                                                             EAGLE RIVER     WI   54521‐9141
STRONG, CANDICE B                   PO BOX 4605                                                                                    OVERLAND PARK   KS   66204‐0605
STRONG, CARL E                      3754 BROOKDALE LN                                                                              WATERFORD       MI   48328‐3518
STRONG, CARL G                      3100 EWALD CIR                                                                                 DETROIT         MI   48238‐3119
STRONG, CARLOS E                    4974 HIGHWAY 30 E                  P.O BOX 93                                                  TYNER           KY   40486‐8773
STRONG, CECIL R                     3920 SOMERLED TRL                                                                              COLLEGE PARK    GA   30349‐2036
STRONG, CELEAH E                    P O BOX 273                                                                                    COLUMBIAVILLE   MI   48421‐0273
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Name                      Address1                          Address2                      Address3   Address4         City               State Zip
STRONG, CELEAH E          PO BOX 273                                                                                  COLUMBIAVILLE       MI 48421‐0273
STRONG, CHARLENE          276 LINWOOD AVE APT 69                                                                      BUFFALO             NY 14209‐1835
STRONG, CHARLES           1419 W 72ND ST                                                                              CHICAGO              IL 60636‐4001
STRONG, CHARLES E         1023 WETHERBY WAY                                                                           ALPHARETTA          GA 30022‐7119
STRONG, CHARLIE           48008 FULLER RD                                                                             CHESTERFIELD        MI 48051‐2920
STRONG, CHARLOTTE MARIE   PO BOX 135                                                                                  SWARTZ CREEK        MI 48473‐0135
STRONG, COMMODORE P       1500 W NORTH ST APT D59                                                                     JACKSON             MI 49202
STRONG, CORNELIUS A       1524 KAPPES ST                                                                              INDIANAPOLIS        IN 46221‐1804
STRONG, DALE A            1929 N CAMPBELL RD                                                                          ROYAL OAK           MI 48073‐4238
STRONG, DALE P            406 E RIVER RD                                                                              FLUSHING            MI 48433‐2141
STRONG, DANIEL J          17429 CONTESTI DR                                                                           CLINTON TWP         MI 48035‐2336
STRONG, DARRELL L         4885 ALEXANDRIA PIKE                                                                        ANDERSON            IN 46012‐9794
STRONG, DAVID D           8212 HEATHERBROOK CIR                                                                       HAUGHTON            LA 71037‐8512
STRONG, DAVID F           3317 S BRENNAN RD                                                                           HEMLOCK             MI 48626‐8753
STRONG, DAVID L           10434 ATABERRY DR                                                                           CLIO                MI 48420‐1907
STRONG, DEAN L            1922 EDISON ST                                                                              DANVILLE             IL 61832‐1829
STRONG, DEBORAH L.        61 IVANHOE RD                                                                               BUFFALO             NY 14215
STRONG, DECIE R           365 ALCOVY ROAD                                                                             MANSFIELD           GA 30055‐2420
STRONG, DECIE R           365 ALCOVY RD                                                                               MANSFIELD           GA 30055‐2420
STRONG, DENNIS N          1417 W MOTT AVE                                                                             FLINT               MI 48505‐2539
STRONG, DENNIS NEAL       1417 W MOTT AVE                                                                             FLINT               MI 48505‐2539
STRONG, DENVER            123 W MARENGO AVE                                                                           FLINT               MI 48505‐3260
STRONG, DEREK W           1733 E WEBB RD                                                                              DE WITT             MI 48820‐8390
STRONG, DERRICK L         1316 HEATHERCREST DR                                                                        FLINT               MI 48532‐2642
STRONG, DERRICK LEO       1316 HEATHERCREST DR                                                                        FLINT               MI 48532‐2642
STRONG, DOLORES           515 N BAILEY CIR                                                                            MASON               MI 48854‐1277
STRONG, DONALD F          26527 LAURIE CT                                                                             WOODHAVEN           MI 48183‐4407
STRONG, DONALD H          115 SPRINGMILL DR                                                                           MIDDLETOWN          DE 19709‐5803
STRONG, DONALD R          1339 NORTHWOOD DR                                                                           INKSTER             MI 48141‐1772
STRONG, DONNA L           111 00 SE 32ND ROAD                                                                         SAINT JOSEPH        MO 64507
STRONG, E WILLAJEAN       4361 TANGENT DR                                                                             DAYTON              OH 45440‐1634
STRONG, EARL V            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                            STREET, SUITE 600
STRONG, EDNA E            4898 BARNETT ST., R#2, BOX 327                                                              SHARPSVILLE        IN   46068
STRONG, EDWARD J          328 CHATELAINE CT                                                                           WILLOWBROOK        IL   60527‐1901
STRONG, ELIZABETH L       3412 AMBLESIDE DR                                                                           FLUSHING           MI   48433‐9775
STRONG, ERNEST J          APT 3B                            1148 RUNAWAY BAY DRIVE                                    LANSING            MI   48917‐8737
STRONG, ESSIE M           900 S SHIPLEY ST                                                                            MUNCIE             IN   47302‐2860
STRONG, F M               3365 MEYER PL                                                                               SAGINAW            MI   48603
STRONG, GENEVIEVE P       2918 QUAKER RD                                                                              GASPORT            NY   14067‐9447
STRONG, GEORGE E          143 E RUTH AVE                                                                              FLINT              MI   48505‐2746
STRONG, GERALD L          3160 WINSTON DR                                                                             SAGINAW            MI   48603‐1647
STRONG, GLADYS M          12226 SAUBEE RD                                                                             LAKE ODESSA        MI   48849
STRONG, GLEN A            11100 SE 32ND RD                                                                            SAINT JOSEPH       MO   64507‐7991
STRONG, GWENDOLYN         4175 GUILFORD AVE                                                                           INDIANAPOLIS       IN   46205‐2775
STRONG, HAROLD            2304 BIANCA LN                                                                              CORTLAND           OH   44410‐2722
STRONG, HAYNE S           750 W SAN JOSE AVE APT H4                                                                   CLAREMONT          CA   91711
STRONG, HENRY             17720 OLYMPIA                                                                               REDFORD            MI   48240‐2168
STRONG, HERBERT H         2510 HALE AVE                                                                               HIGHLAND HEIGHTS   KY   41076‐1329
STRONG, HERBERT H         1765 PATRICK ST                                                                             YPSILANTI          MI   48198‐6757
STRONG, HOWARD A          834 KENYON AVE                                                                              SAN LEANDRO        CA   94577‐6212
STRONG, HOWARD L          4898 BARNETT ST., R.#2 BOX 327                                                              SHARPSVILLE        IN   46068
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Name                    Address1                       Address2            Address3         Address4         City             State Zip
STRONG, JACK            1919 BEECH CHURCH RD                                                                 COAL CITY         IN 47427‐8034
STRONG, JACK W          328 W 53RD ST TRLR 4                                                                 ANDERSON          IN 46013‐1595
STRONG, JACQUELYN M     5398 S BUTTERFIELD WAY                                                               GREENFIELD        WI 53221‐3242
STRONG, JAMES M         7248 RESINDA DR                                                                      DAYTON            OH 45459‐3358
STRONG, JANET M         PO BOX 648                                                                           NEWAYGO           MI 49337‐0648
STRONG, JANET R         6810 DESMOND RD                                                                      WATERFORD         MI 48329‐2812
STRONG, JERRY A         3239 PARADISE AVE                                                                    CANFIELD          OH 44406‐9199
STRONG, JESSICA D       302 MAPLE AVE                                                                        HORSE CAVE        KY 42749‐1225
STRONG, JIMMIE D        PO BOX 970521                                                                        YPSILANTI         MI 48197‐0809
STRONG, JIMMIE DARROL   PO BOX 970521                                                                        YPSILANTI         MI 48197‐0809
STRONG, JOHN L          1314 LINVILLE DR                                                                     WATERFORD         MI 48328‐1231
STRONG, JOHN T          5482 OLDE SAYBROOKE RD                                                               GRAND BLANC       MI 48439‐8724
STRONG, JOSEPH D        4922 CRESTBROOK DR                                                                   WATERFORD         MI 48328‐1012
STRONG, JR,CLAYTON A    2732 SYCAMORE CV N                                                                   PEARL             MS 39208‐5141
STRONG, JULIA A         411 SUDBURY CIR                                                                      OSWEGO             IL 60543‐7148
STRONG, JULIA R         3020 S COUNTY ROAD 125 W                                                             DANVILLE          IN 46122‐9213
STRONG, KASH            1030 RICHARD ST.                                                                     MIAMISBURG        OH 45342‐1847
STRONG, KATHRYN F       1092 BURNS STREET                                                                    MT. MORRIS        MI 48458‐1122
STRONG, KENNETH D       12226 SAUBEE RD # 3                                                                  LAKE ODESSA       MI 48849‐9216
STRONG, KENNETH E       2122 FRANCIS AVE                                                                     FLINT             MI 48505
STRONG, LARRY G         3020 S COUNTY ROAD 125 W                                                             DANVILLE          IN 46122‐9213
STRONG, LARRY R         1781 SARLES RD                                                                       SILVERWOOD        MI 48760‐9519
STRONG, LARRY RAYMOND   1781 SARLES RD                                                                       SILVERWOOD        MI 48760‐9519
STRONG, LASSIE M        2022 N C ST                                                                          ELWOOD            IN 46036‐1616
STRONG, LEATRICE        45 AVERY ST                                                                          ROCHESTER         NY 14606‐1901
STRONG, LEONA M.        15592 COUNTY ROAD 3147                                                               TYLER             TX 75706‐3840
STRONG, LEONA M.        15592 CR 3147                                                                        TYLER             TX 75706‐3840
STRONG, LILLIAN L       845 S. 17TH ST                                                                       SAGINAW           MI 48601‐2246
STRONG, LILLIAN L       845 S 17TH ST                                                                        SAGINAW           MI 48601‐2246
STRONG, LILLIE B        PO BOX 14288                                                                         SAGINAW           MI 48601‐0288
STRONG, LINDA G         636 W TRI COUNTY BLVD                                                                OLIVER SPRINGS    TN 37840‐1432
STRONG, LIZZIE M        739 MOUNT CLAIR AVE                                                                  DAYTON            OH 45408‐1535
STRONG, LLOYD W         PO BOX 382                                                                           HOLLY             MI 48442‐0382
STRONG, LUCHIS C        9646 S PEORIA ST                                                                     CHICAGO            IL 60643‐1516
STRONG, LYLE A          4487 VIRGINIA CT                                                                     SWARTZ CREEK      MI 48473‐1489
STRONG, LYNDA L         1032 TERRY AVE                                                                       MOUNT MORRIS      MI 48458‐2568
STRONG, LYNN A          957 FAIRWAY TRAILS DR                                                                BRIGHTON          MI 48116‐1781
STRONG, MADELINE        PO BOX 593                                                                           LEONARD           MI 48367‐0593
STRONG, MADELINE M.     1665 LIBERTY RD                                                                      SAGINAW           MI 48604‐9745
STRONG, MARCIA L        9980 E BROOKS RD                                                                     LENNON            MI 48449‐9679
STRONG, MARILYN         9559 BRAILE ST                                                                       DETROIT           MI 48228‐1512
STRONG, MARJORIE J      2519 REYNOLDS MANOR DR                                                               OTTAWA             IL 61350‐1269
STRONG, MARJORIE L      5384 SILVERTON DR                                                                    GRAND BLANC       MI 48439‐4348
STRONG, MARJORIE N      1314 LINVILLE DR                                                                     WATERFORD         MI 48328‐1231
STRONG, MARK A          12124 PIERCE RD                                                                      FREELAND          MI 48623‐9247
STRONG, MARK ALAN       12124 PIERCE RD                                                                      FREELAND          MI 48623‐9247
STRONG, MARK P          14014 HUMBUG ISLAND CT                                                               GIBRALTAR         MI 48173‐9581
STRONG, MARK R          831 KIM DR POB302                                                                    MASON             MI 48854
STRONG, MARTHA          3336 BEECHTREE LN                                                                    FALLS CHURCH      VA 22042‐4004
STRONG, MARTHA E        4487 VIRGINIA CT                                                                     SWARTZ CREEK      MI 48473‐1489
STRONG, MARTHA J        333 OVERLAND DR                                                                      RICHMOND          KY 40475‐1845
STRONG, MARY A          3627 BETSY ROSS DR                                                                   ROYAL OAK         MI 48073‐6401
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Name                    Address1                          Address2            Address3         Address4         City               State Zip
STRONG, MARY L          3960 E 190TH ST                                                                         CLEVELAND           OH 44122‐6705
STRONG, MATTHEW H       11407 ORCHARDVIEW DR                                                                    FENTON              MI 48430‐2543
STRONG, MAURICE E       10180 GRAND BLANC RD                                                                    GAINES              MI 48436‐9775
STRONG, MELANIE G       4885 ALEXANDRIA PIKE                                                                    ANDERSON            IN 46012‐9794
STRONG, MELVA L         655 E RIDGE ST                                                                          SOUTH LYON          MI 48178‐1152
STRONG, MICHAEL D       1215 22ND ST                                                                            PARKERSBURG         WV 26101‐3428
STRONG, MICHAEL H       11709 OAKLAND DR                                                                        SCHOOLCRAFT         MI 49087‐9756
STRONG, MICHAEL M       7268 PINNACLE OAKS DR                                                                   MEMPHIS             TN 38125‐3655
STRONG, MICHAEL S       957 FAIRWAY TRAILS DR                                                                   BRIGHTON            MI 48116‐1781
STRONG, MILTON J        3543 ORCHARD LAKE RD                                                                    ORCHARD LAKE        MI 48324‐1638
STRONG, ODREN           120 S COUNTY ROAD 400 E                                                                 MUNCIE              IN 47302‐9229
STRONG, OREN            2607 W OAK ST                                                                           ROGERS              AR 72758‐3946
STRONG, PATRICIA        1990 HIGLEY RD                                                                          LAPEER              MI 48446‐9301
STRONG, PATRICK W       S68W15089 KOSO DR                                                                       MUSKEGO             WI 53150‐8955
STRONG, PATSY J         726 N ROSS ST                                                                           SAPULPA             OK 74066‐3139
STRONG, PATTI L         39532 VILLAGE RUN DRIVE                                                                 NORTHVILLE          MI 48168‐3480
STRONG, PAUL O          528 ROBIN HOOD TRL                                                                      BOWLING GREEN       KY 42101‐4221
STRONG, PAUL R          39532 VILLAGE RUN DRIVE                                                                 NORTHVILLE          MI 48168‐3480
STRONG, QUILLIE B       6128 STEM LN                                                                            MOUNT MORRIS        MI 48458‐2654
STRONG, RALPH G         5515 STARLIT DR                                                                         SAINT LOUIS         MO 63129‐2245
STRONG, RAY             111 BON JAN LN                                                                          HIGHLAND HEIGHTS    KY 41076‐3700
STRONG, REBECCA J       1321 HOME AVE                                                                           KOKOMO              IN 46902‐1634
STRONG, RICHARD B       205 LEACH CIR                                                                           BIRMINGHAM          AL 35213‐2703
STRONG, RICHARD D       404 FIDDLERS WAY                                                                        PAINESVILLE         OH 44077‐1279
STRONG, RICHARD E       213 HAVEN CIR                                                                           COLUMBIA            TN 38401‐4726
STRONG, RICHARD E       209 ROSE BRIER DR                                                                       ROCHESTER HLS       MI 48309‐1124
STRONG, RICHARD J       4039 AFFIRMED DR                                                                        FLORISSANT          MO 63034‐3418
STRONG, RICHARD JAMES   4039 AFFIRMED DR                                                                        FLORISSANT          MO 63034‐3418
STRONG, RICHARD M       6832 GRAUER RD                                                                          NIAGARA FALLS       NY 14305‐1465
STRONG, RICHARD MARK    6832 GRAUER RD                                                                          NIAGARA FALLS       NY 14305‐1465
STRONG, RICHARD N       409 THOR ROAD                                                                           PELION              SC 29123‐9222
STRONG, RICHARD N       3731 QUEENSBURY RD                                                                      ORION               MI 48359‐1565
STRONG, RICHARD S       702 S MERIDIAN #892                                                                     APACHE JUNCTION     AZ 85220
STRONG, RICHARD T       1092 BURNS ST                                                                           MOUNT MORRIS        MI 48458‐1122
STRONG, ROBERT          3430 E 125TH ST                                                                         CLEVELAND           OH 44120‐4322
STRONG, ROBERT D        2358 DEER RUN RD                                                                        SAINT LOUIS         MO 63136‐6226
STRONG, ROBERT J        2678 DEVONSHIRE                                                                         LEONARD             MI 48367‐2923
STRONG, ROBERT L        21845 SWAN CREEK RD                                                                     MERRILL             MI 48637‐9646
STRONG, ROBERT L        101814 SHANNON DR                                                                       MEEKER              OK 74855‐8801
STRONG, ROBERT L        RR 3 BOX 165                                                                            MEEKER              OK 74855‐9403
STRONG, ROBERT W        107 HIBISCUS DR                                                                         LAFAYETTE           IN 47909‐6306
STRONG, RONALD D        61300 CETNOR CT                                                                         WASHINGTON          MI 48094‐1824
STRONG, RONALD J        42 RIDGEWOOD DR                                                                         ORCHARD PARK        NY 14127‐1133
STRONG, RONALD JACOB    42 RIDGEWOOD DR                                                                         ORCHARD PARK        NY 14127‐1133
STRONG, RONALD L        1939 HUMMER LAKE RD                                                                     OXFORD              MI 48371‐2919
STRONG, RONNIE          1014 STATE ROUTE 321                                                                    SARDINIA            OH 45171‐8460
STRONG, ROOSEVELT       68 W 114TH PL                                                                           CHICAGO              IL 60628‐4819
STRONG, RUTH L          2304 BIANCA LN                                                                          CORTLAND            OH 44410‐2722
STRONG, RUTH L          2304 BIANCA LANE                                                                        CORTLAND            OH 44410‐2722
STRONG, SAMMY K         909 LINCOLN RD                                                                          DAYTON              KY 41074‐1636
STRONG, SARAH A         8010 JOHN R ST                                                                          DETROIT             MI 48202
STRONG, SCOTT W         26090 LORELEI DR                                                                        FLAT ROCK           MI 48134
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Name                            Address1                            Address2                       Address3   Address4         City            State Zip
STRONG, SHARON T                8040 MCDERMITT DR APT 17                                                                       DAVISON          MI 48423‐2259
STRONG, SHERMAN L               17868 ARGONNE ESTATES DR                                                                       FLORISSANT       MO 63034‐1334
STRONG, SHIRLEY I               4348 TERRA GRANADA DR APT 1A                                                                   WALNUT CREEK     CA 94595‐4038
STRONG, SIDNEY D                21638 W ROOSEVELT RD, RTE                                                                      MERRILL          MI 48637
STRONG, STANLEY C               32532 WINDSOR ST                                                                               GARDEN CITY      MI 48135‐1660
STRONG, STANLEY CHARLES         32532 WINDSOR ST                                                                               GARDEN CITY      MI 48135‐1660
STRONG, STEPHEN W               240 CHESTNUT ST                                                                                WILMINGTON       MA 01887‐3304
STRONG, STEVEN C                1037 W SANTEE HWY                                                                              CHARLOTTE        MI 48813‐8614
STRONG, TAMITHA N               150 TALIAFERRO DR                                                                              SHREVEPORT       LA 71101‐5028
STRONG, TAMITHA NICOLE          150 TALIAFERRO DR                                                                              SHREVEPORT       LA 71101‐5028
STRONG, TERENCE B               5626 ELGIN ROOF RD                                                                             TROTWOOD         OH 45426‐1816
STRONG, TERRY G                 6855 HOLLAND RD APT 2                                                                          CLAY             MI 48001‐3728
STRONG, TERRY W                 607 BLAINE DR SW                                                                               DECATUR          AL 35603‐1303
STRONG, THOMAS C                14802 PARIS CT                                                                                 ALLEN PARK       MI 48101‐3065
STRONG, THOMAS G                C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                     EDWARDSVILLE      IL 62025
                                ROWLAND PC
STRONG, THORNDIKE               20470 SHEFFIELD RD                                                                             DETROIT         MI 48221‐1316
STRONG, TIMOTHY S               1618 W SIOUX LN                                                                                MIDLAND         MI 48640‐9017
STRONG, TOMMY                   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD      OH 44067
                                                                    PROFESSIONAL BLDG
STRONG, TOMMY E                 484 4TH AVE                                                                                    PONTIAC         MI   48340‐2017
STRONG, VERDA T                 3300 FARMERSVILLE W ALEX ROAD                                                                  FARMERSVILLE    OH   45325‐8210
STRONG, VERDA T                 330 FARMERSVILLE W ALEX RD                                                                     FARMERSVILLE    OH   45325‐8210
STRONG, VERENA                  9514 CADBURY CIRCLE                                                                            INDIANAPOLIS    IN   46260‐1000
STRONG, VIRGINIA L              PO BOX 93                                                                                      TYNER           KY   40486‐0093
STRONG, VIRGINIA L              P.O. BOX 93                                                                                    TYNER           KY   40486‐0093
STRONG, VIRGINIA P              3077 CAROLINE ST                                                                               AUBURN HILLS    MI   48326‐3614
STRONG, WALTER                  PORTER & MALOUF PA                  4670 MCWILLIE DR                                           JACKSON         MS   39206‐5621
STRONG, WAYNE E                 2 RENWICK ROAD BOWMANVLE            ONT L1E1V                                 . CHINA
STRONG, WENDY B                 S68W15089 KOSO DR                                                                              MUSKEGO         WI   53150‐8955
STRONG, WILLIAM                 PO BOX 533065                                                                                  INDIANAPOLIS    IN   46253‐3065
STRONG, WILLIAM                 P.O. BOX 533065                                                                                INDIANAPOLIS    IN   46253‐3065
STRONG, WILLIAM E               16429 HADDAM LANE                                                                              NOBLESVILLE     IN   46062‐8274
STRONG, WILLIAM H               3300 FARMERSVILLE W ALEX ROAD                                                                  FARMERSVILLE    OH   45325‐8210
STRONG, WILLIAM J               2216 ROSEDALE AVE                                                                              CINCINNATI      OH   45237‐4814
STRONG, WILLIAM R               5115 HYDE PARK DR                                                                              SWARTZ CREEK    MI   48473‐8214
STRONG, WILLIAM ROBERT          5115 HYDE PARK DR                                                                              SWARTZ CREEK    MI   48473‐8214
STRONG, WILLIE C                20485 ALAMEDA PKWY                                                                             CLEVELAND       OH   44128‐2801
STRONG, WILLIE H                4225 BROWNELL BLVD                                                                             FLINT           MI   48504‐2126
STRONG, WILLIE J                3450 TULIP DR                                                                                  BRIDGEPORT      MI   48722‐9540
STRONG, WOODROW                 PO BOX 3447                                                                                    CENTER LINE     MI   48015‐0447
STRONG‐SIM, GENEVIEVE           2334 SANTA BARBARA DR                                                                          FLINT           MI   48504
STRONGMAN, RALPH H              31342 E RUTLAND ST                                                                             BEVERLY HILLS   MI   48025‐5424
STRONGRICH ANDREW L             C/O STRNGRICH 1865 WILSN A                                                                     SAGINAW         MI   48638
STRONGRICH, ANDREW L            1865 WILSON AVE                     C/O ANDRA DURAN                                            SAGINAW         MI   48638‐4798
STRONGRICH, STEVE M             1468 CRANBROOK DR                                                                              SAGINAW         MI   48638‐5469
STRONGS, MARLENE G              110 KINGSWAY DR                                                                                DUNN            NC   28334‐5500
STRONGWELL CORPORATION          1610 HIGHWAY 52 S                                                                              CHATFIELD       MN   55923‐9757
STRONGWELL‐CHATFIELD DIVISION   1610 HIGHWAY 52 S                                                                              CHATFIELD       MN   55923‐9757
STRONKA THEODORE A (413519)     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510
                                                                    STREET, SUITE 600
                             09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
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Name                         Address1                        Address2                          Address3   Address4                  City            State Zip
STRONKA, THEODORE A          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                            NORFOLK          VA 23510‐2212
                                                             STREET, SUITE 600
STRONS, EDMOND               36718 ORCHARD LAKE DR                                                                                  NEW BALTIMORE   MI    48047‐5551
STROOM, PARKER A             335 OSPREY DR                                                                                          PELL CITY       AL    35128‐7178
STROOP, ERNESTINE            1241 CUBA RD                                                                                           WILMINGTON      OH    45177‐8697
STROOP, FLOYD W              125 WILLOW RUN RD                                                                                      MOUNT ORAB      OH    45154
STROOP, JAMES D              2111 STATE ROUTE 131                                                                                   HILLSBORO       OH    45133‐9159
STROOPE EDWARD AND ALEX      SIMANOVSKY & ASSOCIATES LLC     2300 HENDERSON MILL RD NE STE                                          ATLANTA         GA    30345‐2704
                                                             300
STROOPE, CARL G              6014 LAKE RD                                                                                           MILLINGTON      MI    48746‐9209
STROOPE, DAVID L             5711 KLAM RD                                                                                           COLUMBIAVILLE   MI    48421‐9342
STROOPE, JOANNE              13140 BELSAY RD                                                                                        MILLINGTON      MI    48746‐9226
STROOPE, WILLIAM B           13140 BELSAY RD                                                                                        MILLINGTON      MI    48746‐9226
STROOT, ROBIN L              1014 CENTER ST E                                                                                       ROSEAU          MN    56751‐1650
STROP, DORIS J               3446 S FITCH AVE                                                                                       INVERNESS       FL    34452‐8901
STROP, JAMES J               36837 MANNING CT                                                                                       STERLING HTS    MI    48312‐3256
STROP, RODNEY L              2462 REGENTS WALK                                                                                      GERMANTOWN      TN    38138‐5809
STROPE, JAMES                1315 SW FOXTAIL DR                                                                                     GRAIN VALLEY    MO    64029‐8400
STROPE, KENNETH R            348 OLD OAK DR                                                                                         CORTLAND        OH    44410‐1148
STROPE, LARRY J              RR 3 BOX 156B                                                                                          MONTROSE        MO    64770‐9007
STROPKO, JEAN A              201 PRUITT DR                                                                                          WESTMINSTER     SC    29693‐1527
STROPKO, JEAN A              201 PRUITT DRIVE                                                                                       WEST MINSTER    SC    29693
STROPUS JR, CHARLES P        PO BOX 7844                                                                                            MOORE           OK    73153‐1844
STROSCHEIN, EDWARD A         21008 VICTOR ST APT 5                                                                                  TORRANCE        CA    90503‐2846
STROSHEIN, RONALD E          1430 COUNTY FARM RD                                                                                    HOWELL          MI    48843‐7945
STROSNIDER CHEVROLET, INC.   CHRIS STROSNIDER                5200 OAKLAWN BLVD                                                      HOPEWELL        VA    23860‐7336
STROSNIDER CHEVROLET, INC.   5200 OAKLAWN BLVD                                                                                      HOPEWELL        VA    23860‐7336
STROSS JEOFFREY K MD         824 ASA GRAY DR                                                                                        ANN ARBOR       MI    48105‐2565
STROSSER, CATHERINE M        5 S PITTSFORD HILL LN                                                                                  PITTSFORD       NY    14534‐2894
STROSSER, ROBERTA G          225 GOLF RD                                                                                            MERCER          PA    16137‐1813
STROSSHE‐MEX S DE RL DE CV   AV INDUSTRIAL REYNOSA LT 11                                                  REYNOSA TA 88780 MEXICO
STROSSNER FIELDS, GAYLE      10938 ECHO GROVE CIR                                                                                   INDIANAPOLIS    IN    46236‐9069
STROSSNER, EVELYN R          9700 SW 164TH ST                                                                                       MIAMI           FL    33157‐3328
STROSSNER, EVELYN R          9700 S.W. 164 ST                                                                                       MIAMI           FL    33157‐3328
STROSSNER, WILLIAM H         3829 S 58TH CT                                                                                         CICERO          IL    60804‐4212
STROTHA NORRIS               2627 MERIDIAN ST                                                                                       ANDERSON        IN    46016‐5255
STROTHEIDE, PHILIP L         922 OAKHURST AVE NW                                                                                    GRAND RAPIDS    MI    49504‐3754
STROTHER MARC                STROTHER, MARC                  110 E KALISTE SALOOM RD STE 101                                        LAFAYETTE       LA    70508‐8509

STROTHER MARC                STROTHER, SANDRA                110 E KALISTE SALOOM RD STE 101                                        LAFAYETTE        LA   70508‐8509

STROTHER WHITNIE             PO BOX 493                                                                                             PITKIN          LA    70656‐0493
STROTHER, ALBERT J           180 EDGECOMBE AVE APT 1A                                                                               NEW YORK        NY    10030‐1184
STROTHER, BEN                625 16TH ST                                                                                            NIAGARA FALLS   NY    14301‐2213
STROTHER, CLIFTON            306 ATHERTON STREET                                                                                    SAGINAW         MI    48603‐1558
STROTHER, DESSIL W           3205 S MAPLEWOOD DR                                                                                    BRIDGEPORT      WV    26330‐9401
STROTHER, DESSIL W           3206 S MAPLEWOOD DR                                                                                    BRIDGEPORT      WV    26330‐9401
STROTHER, DON L              2203 WESTWOOD DR                                                                                       ARLINGTON       TX    76012‐2902
STROTHER, DORIS R            1485 EVANS RD                                                                                          JACKSON         OH    45640‐9745
STROTHER, EVELYN             948 CHRISTINA CT                                                                                       PLAINFIELD      IN    46168‐2304
STROTHER, EVELYN J           948 CHRISTINA CT                                                                                       PLAINFIELD      IN    46168‐2304
STROTHER, JAMES R            620 STATE ST UNIT 320                                                                                  SAN DIEGO       CA    92101‐6724
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Name                              Address1                            Address2                          Address3   Address4         City                 State Zip
STROTHER, JANIE M                 29 STEELE CIR                                                                                     NIAGARA FALLS         NY 14304‐1111
STROTHER, LAWRENCE                PO BOX 331                                                                                        BELLWOOD               IL 60104‐0331
STROTHER, MARC                    DALTON LAW FIRM                     110 E KALISTE SALOOM RD STE 101                               LAFAYETTE             LA 70508‐8509

STROTHER, NANCY S                 1508 MAPLEWOOD DR                                                                                 CLAREMORE            OK   74017‐2204
STROTHER, PHYLLIS J               22717 CORTEVILLE ST                                                                               SAINT CLAIR SHORES   MI   48081‐2563
STROTHER, RALPH J                 4565 E PEACHTON DR                                                                                PORT CLINTON         OH   43452
STROTHER, SAMUEL W                985 KENTSHIRE DR                                                                                  DAYTON               OH   45459‐2329
STROTHER, SANDRA                  DALTON LAW FIRM                     PO BOX 82613                                                  LAFAYETTE            LA   70598‐2613
STROTHER, TREVLYN G               2205 PIPELINE RD APT 4307                                                                         CLEBURNE             TX   76033‐7779
STROTHER, VIDA                    22064 SCHROEDER                                                                                   EASTPOINTE           MI   48021‐2518
STROTHER, WILLIAM H               948 CHRISTINA CT                                                                                  PLAINFIELD           IN   46168‐2304
STROTHER, WILLIE R                21850 GLENMORRA ST                                                                                SOUTHFIELD           MI   48076‐5534
STROTHERS JR, JOHN F              PO BOX 360704                                                                                     DECATUR              GA   30036‐0704
STROTHERS, TEMEATRIS              111 25TH AVE E APT 204                                                                            SEATTLE              WA   98112‐5456
STROTHMAN, ALICE M                7833 N EAGLE RD                                                                                   JANESVILLE           WI   53548‐9468
STROTMAN, WALTER T                1300 PIONEER DR                                                                                   BOARDMAN             OH   44512‐3718
STROTT, HERMAN B                  10293 FAWN RD                                                                                     GREENWOOD            DE   19950‐6030
STROTTNER PHILLIP                 8439 ROMNEY                                                                                       SAN ANTONIO          TX   78254‐2467
STROUB JR, ARCHIE L               8499 E M 71 LOT 238                                                                               DURAND               MI   48429‐1066
STROUB, BERTHA BETRICE            9783 E COLE RD                                                                                    DURAND               MI   48429‐9464
STROUB, BUDDIE R                  311 W STATE ST                                                                                    CORUNNA              MI   48817‐1347
STROUB, JOHN A                    1314 W HILLSDALE ST                                                                               LANSING              MI   48915‐1650
STROUB, RICHARD D                 9966 SW 62ND TER                                                                                  OCALA                FL   34476‐7704
STROUB, SELMA J                   3270 HANDRICH DR                                                                                  CURRAN               MI   48728‐9505
STROUB, WILLIAM E                 5851 S REED RD                                                                                    DURAND               MI   48429‐1009
STROUB, WILLIAM EDWARD            5851 S REED RD                                                                                    DURAND               MI   48429‐1009
STROUD ENGINEERING SERVICES INC   4363 COLONY HILLS DR                                                                              AKRON                OH   44333‐1705
STROUD II, RICHARD F              120 WILLIAMS RD                                                                                   BELL BUCKLE          TN   37020‐4532
STROUD JR, BOOKER T               PO BOX 34234                                                                                      DETROIT              MI   48234‐0234
STROUD JR, BOOKER T               21141 VERNIRE ROAD                  APT 9                                                         HARPER WOODS         MI   48225
STROUD JR, JAMES                  611 E 90TH PL                                                                                     CHICAGO              IL   60619‐7518
STROUD JR, JAMES D                4700 BIRCHCREST DR                                                                                HOUGHTON LAKE        MI   48629‐9795
STROUD JR, WILLIAM                1368 ANIWAKA AVE SW                                                                               ATLANTA              GA   30311‐3508
STROUD RANDALL                    1202 WHITES CIRCLE                                                                                DARLINGTON           SC   29532‐4552
STROUD RICHARD F II               120 WILLIAMS RD                                                                                   BELL BUCKLE          TN   37020‐4532
STROUD SR, THOMAS A               409 COUNTY ROAD 532                                                                               NEWELL               AL   36280‐4209
STROUD STROUD WILLINK THOMPSON&   PO BOX 2236                                                                                       MADISON              WI   53701‐2236
HOWARD
STROUD, ARTHUR D                  560 ORRIS RD                                                                                      LEAVITTSBURG         OH   44430‐9653
STROUD, BARBARA                   619 E 27TH ST                                                                                     ANDERSON             IN   46016‐5401
STROUD, BARBARA J                 2744 WICK ST SE                                                                                   WARREN               OH   44484‐5449
STROUD, BETTY                     404 SPEED RD                                                                                      MILLTOWN             IN   47145
STROUD, CHARLES E                 18456 CARRINGTON CT                                                                               HAZEL CREST          IL   60429‐2479
STROUD, CLARA                     1150 COLONY DR                      COLUMBUS COLONY ELDERLY CARE                                  WESTERVILLE          OH   43081‐3624

STROUD, DANIEL L                  2914 CHICAGO BLVD                                                                                 FLINT                MI   48503‐3473
STROUD, DANIEL LAVERNE            2914 CHICAGO BLVD                                                                                 FLINT                MI   48503‐3473
STROUD, DARRELL C                 RR 1 BOX 134AA                                                                                    MILLTOWN             IN   47145
STROUD, DAVID P                   921 POST RD                                                                                       IRVING               NY   14081‐9667
STROUD, DEBBIE S                  5821 N EVANGELINE ST                                                                              DEARBORN HTS         MI   48127‐3018
STROUD, DEBORAH K                 4512 NW 32ND PL                                                                                   OKLAHOMA CITY        OK   73122‐1411
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Name                      Address1                           Address2       Address3         Address4         City              State Zip
STROUD, DON R             2103 LEE RIDGE DR                                                                   O FALLON           MO 63368‐8111
STROUD, DONALD L          3151 MARIGOLD CT                                                                    KETTERING          OH 45440‐5440
STROUD, DONALD V          1325 FOX ACRES DR                                                                   LAS VEGAS          NV 89134‐0537
STROUD, DOTTIE            1315 BRENTWOOD ST.                                                                  MIDDLETOWN         OH 45044‐6371
STROUD, DOUGLAS R         144 PALACE WAY DR                                                                   TROY               MO 63379‐7267
STROUD, EARNEST W         1008 GARDNER ST                                                                     BENTON              IL 62812‐2901
STROUD, FLOYD D           6300 BARNES RD                                                                      MILLINGTON         MI 48746‐9553
STROUD, FRANCES S         PO BOX 243                                                                          MILLINGTON         MI 48746‐0243
STROUD, FREDERICK M       907 CINCINNATI ST                                                                   DAYTON             OH 45408‐2013
STROUD, GARY              BOONE ALEXANDRA                    205 LINDA DR                                     DAINGERFIELD       TX 75638‐2107
STROUD, JAMES A           1717 S75E                                                                           WASHINGTON         IN 47501
STROUD, JAMES L           134 FOUGERON ST                                                                     BUFFALO            NY 14211‐1318
STROUD, JAMES M           9422 PINEVIEW DR                                                                    OLIVET             MI 49076‐9735
STROUD, JAN R
STROUD, JANET G           4700 BIRCHCREST DR                                                                  HOUGHTON LAKE     MI   48629‐9795
STROUD, JIMMY L           4022 REYNOLDS ST                                                                    FLINT             MI   48532‐5063
STROUD, JIMMY LEVERNE     4022 REYNOLDS ST                                                                    FLINT             MI   48532‐5063
STROUD, JOAN W            PO BOX 70                                                                           HOPE              AR   71802‐0070
STROUD, JOHN V            322 TIGITSI WAY                                                                     LOUDON            TN   37774‐2507
STROUD, KAREN L           2226 W 3RD ST                                                                       DAYTON            OH   45417‐2544
STROUD, KAREN S           4700 EAGLE CREEK RD                                                                 LEAVITTSBURG      OH   44430‐9404
STROUD, KELLY             140 CROWN WALK                                                                      MCDONOUGH         GA   30253‐4648
STROUD, KENNETH L         2737 E STALF RD                                                                     COLUMBIA CITY     IN   46725‐9395
STROUD, MABEL             279 N BROADWAY APT. #5J                                                             YONKERS           NY   10701‐2414
STROUD, MARCIA A          8425 E STATE ROAD 18                                                                CONVERSE          IN   46919‐9761
STROUD, MARY              3468 BURNT MILL CRK RD                                                              LAURENS           SC   29360‐8604
STROUD, MARY H            PO BOX 592                                                                          ELIZABETHTOWN     KY   42702‐0592
STROUD, OPAL              333 NORTH OCCIDENTAL HWY APT#157                                                    TECUMSEH          MI   49286
STROUD, PAUL M            2408 VAN BUSKIRK RD                                                                 ANDERSON          IN   46011‐1047
STROUD, PHILLIP D         1118 W BOONE CT                                                                     LADY LAKE         FL   32159‐2180
STROUD, RANDALL E         1202 WHITES CIR                                                                     DARLINGTON        SC   29532‐4552
STROUD, RANDALL EUGENE    1202 WHITES CIR                                                                     DARLINGTON        SC   29532‐4552
STROUD, RANDALL L         4680 E COUNTY ROAD 800 N                                                            BRAZIL            IN   47834‐7688
STROUD, REGINALD A        23240 W 10 MILE RD                                                                  SOUTHFIELD        MI   48033‐3168
STROUD, REX E             3468 BURNT MILL CREEK RD                                                            LAURENS           SC   29360‐8604
STROUD, RICHARD F         120 WILLIAMS RD                                                                     BELL BUCKLE       TN   37020‐4532
STROUD, RICHARD L         9533 W HOWE RD                                                                      EAGLE             MI   48822‐9501
STROUD, ROBERT R MARION   5523 ORLENA DR                                                                      ANDERSON          IN   46013‐3029
STROUD, RONALD E          122 N GLENWOOD AVE                                                                  PONTIAC           MI   48342‐1505
STROUD, ROSE E            5407 HOOVER AVE                                                                     DAYTON            OH   45427
STROUD, ROY L             4830 CLEARVIEW DR                                                                   CLARKSTON         MI   48348‐3925
STROUD, SALLY J           7875 W. CO. RD. 950N.                                                               MIDDLETOWN        IN   47356‐9306
STROUD, SALLY J           7875 W COUNTY ROAD 950 N                                                            MIDDLETOWN        IN   47356‐9306
STROUD, SANDRA            2408 VAN BUSKIRK RD                                                                 ANDERSON          IN   46011
STROUD, TROY              RT #1 BOX 207‐B                                                                     DUNLOW            WV   25511
STROUD, VICKIE L          102 MILTON RD                                                                       ATHENS            AL   35611‐2235
STROUD, VIRGINIA B        4865 W OAK DR                                                                       NEW PALESTINE     IN   46163‐9648
STROUD, VIRGINIA B        4865 WEST OAK DRIVE                                                                 NEW PALESTINE     IN   46163
STROUD, WALTER            8530 YEARLING LN                                                                    NEW PORT RICHEY   FL   34653‐7010
STROUD, WILDA J           1896 MATTIS DR                                                                      DAYTON            OH   45439‐2610
STROUD, WILDA J           1896 MATTIS DR.                                                                     DAYTON            OH   45439‐2610
STROUD, WILLIAM T         22308 BELL RD                                                                       NEW BOSTON        MI   48164
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Name                      Address1                         Address2                     Address3   Address4         City              State Zip
STROUGH, BRENDA F         517 WELCOME WAY                                                                           ANDERSON           IN 46013
STROUGH, CAROL B          3621 E LYNN ST                                                                            ANDERSON           IN 46013
STROUGH, RICHARD M        8905 W 1000 S                                                                             FORTVILLE          IN 46040‐9241
STROUGH, ROBERT W         202 CROWLEY AVE                                                                           BUFFALO            NY 14207‐1516
STROUGH, ROBERT WALTER    202 CROWLEY AVE                                                                           BUFFALO            NY 14207‐1516
STROUGHTER, PATRICIA A    244 CRITTENDEN WAY APT 3                                                                  ROCHESTER          NY 14623
STROUGO, SILIO            28112 NEWPORT WAY UNIT E                                                                  LAGUNA NIGUEL      CA 92677‐8012
STROUP CHARLES (449667)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                               BALTIMORE          MD 21202
                                                           CHARLES CENTER 22ND FLOOR
STROUP JAMES              90418 PAR RD                                                                              WARRENTON         OR   97146‐7166
STROUP, BARBARA J         9563 COUNTY ROAD 40                                                                       GALION            OH   44833‐9689
STROUP, BARBARA J         9563 C R 40                                                                               GALION            OH   44833‐9689
STROUP, BESSIE G          4184 CLARK CIR                                                                            ACWORTH           GA   30102‐6204
STROUP, BETTE L           2420 SW 192ND                                                                             ALOHA             OR   97006‐2822
STROUP, BETTE L           2420 SW 192ND AVE                                                                         ALOHA             OR   97006‐2822
STROUP, BEVERLY W         334 SKYLARK LN NW                                                                         PORT CHARLOTTE    FL   33952‐6560
STROUP, BILLY R           8845 COUNTY ROAD 607                                                                      DEXTER            MO   63841‐8215
STROUP, BRADLEY J         18419 HARVEST MEADOWS DR WEST                                                             WESTFIELD         IN   46074‐9123
STROUP, BUDDY T           501 EVERGREEN LN APT 23                                                                   CEDARTOWN         GA   30125‐7712
STROUP, CARRIE M          PO BOX 9022                      C/O RAMOS ARIZPE MEXICO                                  WARREN            MI   48090‐9022
STROUP, CHARLES           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                BALTIMORE         MD   21202
                                                           CHARLES CENTER 22ND FLOOR
STROUP, CHARLOTTE R       10945 W 400 N                                                                             KEMPTON           IN   46049‐9313
STROUP, COLLEEN M         220 N MILL CREEK RD                                                                       NOBLESVILLE       IN   46062‐8124
STROUP, CORLISS L         220 PATRICIA LEE DR                                                                       DESOTO            MO   63020‐2943
STROUP, DAVID P           PO BOX 9022                      C/O RAMOS ARIZPE                                         WARREN            MI   48090‐9022
STROUP, DAVID R           26267 WAGNER AVE                                                                          WARREN            MI   48089‐1253
STROUP, DEAN
STROUP, DONALD J          1685 SIESTA DR                                                                            LAPEER            MI   48446‐8047
STROUP, EDNA D            1735 IVEY TRCE                                                                            CUMMING           GA   30041‐7652
STROUP, EDNA D            1735 IVEY TRACE                                                                           CUMMING           GA   30041
STROUP, FORREST E         3475 MABRY RD NE                                                                          ROSWELL           GA   30075‐2620
STROUP, GAIL P            1880 MAHONING AVE.                                                                        WARREN            OH   44483
STROUP, GARY W            3063 W STANLEY RD                                                                         MOUNT MORRIS      MI   48458‐9484
STROUP, GERALD B          5116 DOBBS DR                                                                             DAYTON            OH   45440‐2255
STROUP, HUEL W            3583 BUCHANAN HWY                                                                         CEDARTOWN         GA   30125
STROUP, JAMES D           126 W EDINBURGH DR                                                                        NEW CASTLE        DE   19720‐2317
STROUP, JAMES E           2010 CAROL DR                                                                             LAPEER            MI   48446‐7608
STROUP, JAMES E           6375 HIGHLAND AVE SW                                                                      WARREN            OH   44481‐8611
STROUP, JAMES R           1018 N PARK FOREST DR APT A                                                               MARION            IN   46952‐1752
STROUP, JAMES R           2004 GREAT PUMPKIN LN                                                                     KOKOMO            IN   46902‐2817
STROUP, JEFFREY V         925 SUMMIT ST NW                                                                          WARREN            OH   44485‐2817
STROUP, JOANNE H          148 MAPLE AVE                                                                             CORTLAND          OH   44410‐1223
STROUP, JOANNE H          148 MAPLE DR                                                                              CORTLAND          OH   44410‐4410
STROUP, KATHY             642 N WOODSON RD                                                                          CLARKSVILLE       TN   37043‐3817
STROUP, KIM               3284 BOOKER FARM RD                                                                       MT PLEASANT       TN   38474‐3017
STROUP, LARRY S           23 TAFT ST                                                                                SHELBY            OH   44875‐1419
STROUP, LISA J            925 SUMMIT ST NW                                                                          WARREN            OH   44485‐2817
STROUP, MARTY K           4295 FLOWERS RD                                                                           MANSFIELD         OH   44903‐7712
STROUP, MARY L            4237 POND VIEW DRIVE                                                                      WHITE BEAR LAKE   MN   55110‐5110
STROUP, MARYANN E         456 NEWCASTLE LN                                                                          ROMEO             MI   48065‐4825
STROUP, MICHAEL E         4295 FLOWERS RD                                                                           MANSFIELD         OH   44903‐7712
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Name                        Address1                           Address2                      Address3   Address4         City               State Zip
STROUP, ONDA L              71 N 700 W                                                                                   SWAYZEE             IN 46986‐9763
STROUP, PATRICIA A          1532 INVERNESS DR                                                                            MECHANICSBURG       PA 17050‐8328
STROUP, PATRICIA G          P.O. BOX 21                                                                                  WASHINGTON CH       OH 43160‐0021
STROUP, PATRICIA G          PO BOX 21                                                                                    WASHINGTON COURT    OH 43160‐0021
                                                                                                                         HOUSE
STROUP, RICHARD C           2642 ELIZABETH ST SW                                                                         WARREN             OH   44481‐9621
STROUP, RICHARD L           PO BOX 75                                                                                    MELROSE            OH   45861‐0075
STROUP, ROBERT G            1222 SHEFFLETON RD                                                                           DEERFIELD          OH   44411‐9759
STROUP, ROGER E             4651 MCCULLAH DR                                                                             PITTSBORO          IN   46167‐8906
STROUP, ROGER W             PO BOX 129                                                                                   BLOOMFLD HLS       MI   48303‐0129
STROUP, ROSE MARIE W        520 GROSVENOR DR                                                                             RALEIGH            NC   27615‐2052
STROUP, RUBY F              23009 E BLUE MILLS ROAD                                                                      INDEPENDENCE       MO   64058‐2079
STROUP, SARAETTA            9672 N STEINBARGER LAKE RD                                                                   WAWAKA             IN   46794‐9626
STROUP, STANFORD J          1880 MAHONING AVE NW                                                                         WARREN             OH   44483
STROUP, WILLIAM J           7502 LAKE RD                                                                                 MONTROSE           MI   48457‐9776
STROUP, WILLIAM R           14375 SHERIDAN RD                                                                            MONTROSE           MI   48457‐9308
STROUPE FAMILY TRUST        1398 DESOTO BLVD                   STE B                                                     HOT SPRINGS VLG    AR   71909
STROUPE JR, CHARLES L       6823 NASH RD                                                                                 N TONAWANDA        NY   14120‐1271
STROUPE, MARTHA B           6838 STARCREST DR                                                                            CHARLOTTE          NC   28210‐5342
STROUPE, RONALD P           3400 SWEET HOME RD                                                                           AMHERST            NY   14228‐1335
STROUSE CORP, THE           1130 BUSINESS PKWY S                                                                         WESTMINSTER        MD   21157‐3065
STROUSE CORPORATION         1130 BUSINESS PKWY S                                                                         WESTMINSTER        MD   21157‐3065
STROUSE JR, GAINES L        140 IMPERIAL DRIVE                 APT 241S                                                  GAHANNA            OH   43230
STROUSE SAMUEL L (662548)   ZAMLER, MELLEN & SHIFFMAN          23077 GREENFIELD RD STE 557                               SOUTHFIELD         MI   48075‐3727
STROUSE, BRUCE E            1061 N EPLEY RD                                                                              STANTON            MI   48888‐9471
STROUSE, GARY J             681 PITTSTOWN RD                                                                             FRENCHTOWN         NJ   08825‐4148
STROUSE, JACKIE L           9073 N STATE RD                                                                              OTISVILLE          MI   48463‐9407
STROUSE, JEAN E             3232 BONHAM DR                                                                               INDIANAPOLIS       IN   46222‐1989
STROUSE, JOHN W             2366 COOK ROAD                                                                               SPRING VALLEY      OH   45370‐9716
STROUSE, KEVIN D            3362 HEMMINGWAY LN                                                                           LAMBERTVILLE       MI   48144‐9653
STROUSE, LYNN A             5703 RED BUG LAKE RD STE 405                                                                 WINTER SPRINGS     FL   32708
STROUSE, PHIL D             535 N LUCE RD                                                                                ITHACA             MI   48847‐9742
STROUSE, RANDALL L          8260 MERIDIAN RD                                                                             LAINGSBURG         MI   48848‐9705
STROUSE, RANDY L            4450 S SHEPARDSVILLE RD                                                                      SAINT JOHNS        MI   48879‐8126
STROUSE, RAY A              10561 POTTERS RD                                                                             LOWELL             MI   49331‐9233
STROUSE, ROBERT E           9400 GREENSBORO ST                                                                           DETROIT            MI   48224‐2859
STROUSE, ROGER S            6061 EVERETT HULL RD                                                                         FOWLER             OH   44418‐9750
STROUSE, ROSALEE A.         4926 WHITE SPRINGS RD                                                                        SPENCER            IN   47460
STROUT, GEORGE L            515 PARKVIEW AVE                                                                             BRYAN              OH   43506‐1637
STROUT, JAMES W             4181 MEADOW VIEW DR                                                                          BOYNTON BEACH      FL   33436‐2615
STROUT, L. ROSEMARY         1099 N MCMULLEN BOOTH RD APT 726                                                             CLEARWATER         FL   33759‐3465
STROUT, THOMAS J            5540 HUNTINGTON DR                                                                           SANTA BARBARA      CA   93111‐1448
STROUTH, DONALD E           171 OAK STREET                                                                               FAIRBORN           OH   45324‐3341
STROUTH, DONALD E           171 OAK ST                                                                                   FAIRBORN           OH   45324‐3341
STROUTH, LEWIS D            154 SAVOY AVE                                                                                W CARROLLTON       OH   45449‐1725
STROVEN, MARLYN J           174 W BAY VIEW DR                                                                            SENECA             SC   29672‐4727
STROWDER, LANE B            468 S BELVOIR BLVD                                                                           CLEVELAND          OH   44121‐2351
STROWMATT, LYNDEL           GORI JULIAN & ASSOCIATES P C       156 N MAIN ST                                             EDWARDSVILLE       IL   62025
STROWMATT, RONALD D         PO BOX 5182                        10 ROSA AVE                                               GODFREY            IL   62035‐5182
STROY, MATTHEW J            3601 MILTON ST                                                                               SHREVEPORT         LA   71109‐3327
STROY, MATTHEW JAMES        3601 MILTON ST                                                                               SHREVEPORT         LA   71109‐3327
STROYAN JR, GEORGE H        39613 RONAYTON ST                                                                            NOVI               MI   48377‐3758
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Name                        Address1                        Address2                   Address3   Address4         City                State Zip
STROZESKI, SANDRA           252 W FAIRMOUNT                                                                        PONTIAC              MI 48340‐2740
STROZEWSKI, CHRISTOPHER P   58 CARDY LN                                                                            DEPEW                NY 14043‐1925
STROZIER, CARLA R           5784 WENGLER DR                                                                        BROOK PARK           OH 44142‐2127
STROZIER, CAROLYN R         5919 MARJA ST                                                                          FLINT                MI 48505‐2515
STROZIER, CHARLIE H         2863 PROSPECT ST                                                                       FLINT                MI 48504‐7522
STROZIER, CHARLIE HOWARD    2863 PROSPECT ST                                                                       FLINT                MI 48504‐7522
STROZIER, EDDIE B           2439 GREENWAY DR                                                                       DECATUR              GA 30035‐3312
STROZIER, EXIE L            3149 SHABAY DR                                                                         FLUSHING             MI 48433‐2496
STROZIER, HORACE            817 E ALMA AVE                                                                         FLINT                MI 48505‐2225
STROZIER, HORACE L          3293 WINWOOD DR                                                                        FLINT                MI 48504‐1252
STROZIER, JANICE M          2733 CAIN ST                                                                           YOUNGSTOWN           OH 44511‐2422
STROZIER, JEANNETTE         917 WOODFORD AVE                                                                       YOUNGSTOWN           OH 44511‐2335
STROZIER, JR.,ROBERT L      APT D                           9231 TOWERING PINE DRIVE                               MIAMISBURG           OH 45342‐5830
STROZIER, JUANITA L         4302 FARNUM ST                                                                         INKSTER              MI 48141‐2768
STROZIER, LARRY             5614 GLENN AVE                                                                         FLINT                MI 48505‐5135
STROZIER, LEE               4523 CRISSMAN ST                                                                       FLINT                MI 48505‐3536
STROZIER, LUCILLE           3307 DUPONT ST                                                                         FLINT                MI 48504‐2675
STROZIER, MILDRED           APT 116                         25010 WEST 8 MILE ROAD                                 SOUTHFIELD           MI 48033‐4049
STROZIER, PATSY A           3293 WINWOOD DR                                                                        FLINT                MI 48504‐1252
STROZIER, RHODA D           2863 PROSPECT ST                                                                       FLINT                MI 48504‐7522
STROZIER, ROBERT L          6533 E JEFFERSON AVE APT 403                                                           DETROIT              MI 48207‐4362
STROZIER, ROBERT L          9231 TOWERING PINE DR APT D                                                            MIAMISBURG           OH 45342‐5830
STROZIER, ROBERT L          9231 TOWERING PINE DR           APT # D                                                MIAMSBURG            OH 45342‐5342
STROZIER, SUSIE             822 E YORK AVE                                                                         FLINT                MI 48505‐2268
STROZIER, THOMAS R          13405 SHELDON RD                                                                       MIDDLEBRG HTS        OH 44130‐2766
STROZIER, TIAHNA L          402 EAST LYNDON AVENUE                                                                 FLINT                MI 48505‐5206
STROZLER, BESSIE            5006 GREENLAWN                                                                         FLINT                MI 48504‐2014
STROZYK, D C                15012 LONE PINE RD                                                                     NORTH LITTLE ROCK    AR 72118‐1209
STROZYKOWSKI, JESSIE P      206 S DURHAM ST                                                                        BALTIMORE            MD 21231‐2605
STROZYNSKI, ANNA J          1933 YEMANS                                                                            HAMTRAMCK            MI 48212‐3242
STROZYNSKI, ANNA J          1933 YEMANS ST                                                                         HAMTRAMCK            MI 48212‐3242
STRUB IRVIN                 1109 DEBORAH ST                                                                        UPLAND               CA 91784‐1293
STRUB, DONALD F             9519 SW 71ST LOOP                                                                      OCALA                FL 34481‐2526
STRUB, EDITH A              9519 SW 71ST LOOP                                                                      OCALA                FL 34481‐4481
STRUBBE, THOMAS E           9225 ANDERSONVILLE RD                                                                  CLARKSTON            MI 48346‐1809
STRUBE, DAVID H             6023 HAZEL DR                                                                          FLORENCE             KY 41042‐4206
STRUBE, JOSEPH J            24853 CURTIS DR                                                                        BROWNSTOWN TWP       MI 48134‐9133
STRUBE, SHERYLL S           1813 MEADOWGROVE LN                                                                    FREDERICK            MD 21702‐3015
STRUBEL, JANET K            40 RAINBOW DR                                                                          ROSSVILLE            IN 46065‐9599
STRUBEL, JOHN C             40 RAINBOW DR                                                                          ROSSVILLE            IN 46065‐9599
STRUBING JR, WENDELL C      PO BOX 301                                                                             POLK CITY            FL 33868
STRUBING, CHAD M            515 CAMERON HILL PL                                                                    FORT WAYNE           IN 46804‐6701
STRUBING, ELLIE A           PO BOX 301                                                                             POLK CITY            FL 33868‐0301
STRUBING, JOYCE A           12803 STATE ROUTE 49                                                                   HICKSVILLE           OH 43526‐9329
STRUBLE, BARBARA J          323 NORTHWAY DR                                                                        SUN CITY CENTER      FL 33573‐6909
STRUBLE, BETTY L.           1102 HARRISON AVE                                                                      DEFIANCE             OH 43512‐2031
STRUBLE, BRUCE E            3142 S CENTER RD                                                                       BURTON               MI 48519‐1462
STRUBLE, DANIEL             456 DRAKE CT                                                                           WILMINGTON           NC 28403‐2864
STRUBLE, DAVID W            488 BRIDGE STREET                                                                      LYONS                MI 48851
STRUBLE, EUGENE G           4795 E LAKE RD LOT 24                                                                  LIVONIA              NY 14487‐9761
STRUBLE, GLADYS MARIE       G4203 CARMANWOOD DR                                                                    FLINT                MI 48507‐5505
STRUBLE, JAMES P            5116 REGENCY DRIVE                                                                     TOLEDO               OH 43615‐2947
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Name                       Address1                          Address2                          Address3   Address4         City            State Zip
STRUBLE, KARL J            5831 JOSHUA ST                                                                                  LANSING          MI 48911‐5138
STRUBLE, KATHERINE         6463 STAGE ROAD                                                                                 IONIA            MI 48846‐9758
STRUBLE, KATIE SUE         1183 HAYNOR RD                                                                                  IONIA            MI 48846‐8532
STRUBLE, LUCIA E           6226 MARYWOOD AVENUE 48911                                                                      LANSING          MI 48911
STRUBLE, MARK L            1605 NEVADA STREET                                                                              TOLEDO           OH 43605‐2757
STRUBLE, MICHAEL
STRUBLE, MICHAEL A         PO BOX 663                                                                                      MIO             MI    48647
STRUBLE, MICHAEL J         2649 S 300 W                                                                                    PERU            IN    46970‐3180
STRUBLE, PENNY H           3807 RICHMOND ST                                                                                LANSING         MI    48911‐2456
STRUBLE, ROBERT H          1483 WATCH HILL DR                                                                              FLINT           MI    48507‐5625
STRUBLE, SANDRA A          1483 WATCH HILL DR                                                                              FLINT           MI    48507‐5625
STRUBLE, SANDRA J          7637 LIGHTHOUSE RD                                                                              PORT HOPE       MI    48468‐9647
STRUBLE, SHARON E.         595 BAUER LN                                                                                    RIO             WI    53960‐9124
STRUBLE, SIDNEY A          7266 NORTHFIELD CIR                                                                             FLUSHING        MI    48433‐9427
STRUBLE, THOMAS B          1135 RILEY ST                                                                                   LANSING         MI    48910‐3566
STRUBLE, VIVIAN A          1135 RILEY ST                                                                                   LANSING         MI    48910‐3566
STRUBLER, FRANK C          2183 PALMER DR                                                                                  DAVISON         MI    48423‐7817
STRUBLING ARMSTEAD         7507 PAYNES LANDING RD                                                                          GLOUCESTER      VA    23061‐4605
STRUC DESIGN/MILFORD       77 MILFORD DR                                                                                   HUDSON          OH    44236
STRUCHEN NORMAN (492174)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD      OH    44067
                                                             PROFESSIONAL BLDG
STRUCK GEORGE (662549)     COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                               CHICAGO          IL   60602
                                                             FLOOR
STRUCK III, LAWRENCE H     15800 STUART RD                                                                                 CHESANING       MI    48616‐8434
STRUCK JEANNETTE           2035 WALNUT GROVE LANE                                                                          CENTRAL POINT   OR    97502‐3560
STRUCK JR, LAWRENCE H      2234 HERMITAGE DR                                                                               DAVISON         MI    48423‐2069
STRUCK ROBERT E (482037)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA    23510
                                                             STREET, SUITE 600
STRUCK, AMANDA             4136 PHEASANT DR                                                                                FLINT           MI    48506‐1727
STRUCK, CHARLES D          13105 W PEET RD                                                                                 OAKLEY          MI    48649‐8762
STRUCK, CHARLES DEAN       13105 W PEET RD                                                                                 OAKLEY          MI    48649‐8762
STRUCK, DAWN M             13105 W PEET RD                                                                                 OAKLEY          MI    48649‐8762
STRUCK, GEORGE             COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                                CHICAGO         IL    60602
                                                             FLOOR
STRUCK, HARRIET            5450 SUBIACO DR APT 209                                                                         LISLE           IL    60532‐2176
STRUCK, HARRIET            APT 209                           5450 SUBIACO DRIVE                                            LISLE           IL    60532‐3176
STRUCK, JUDITH P           7704 HERNANDO COURT                                                                             NAPLES          FL    34114‐2619
STRUCK, LEO C              13468 W PEET RD                                                                                 OAKLEY          MI    48649‐7705
STRUCK, ROBERT E           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA    23510‐2212
                                                             STREET, SUITE 600
STRUCK, WILLIAM C          PO BOX 90442                                                                                    BURTON          MI    48509‐0442
STRUCK, WILLIAM CARL       PO BOX 90442                                                                                    BURTON          MI    48509‐0442
STRUCKHOFF, DONNA H        1432 NORWOOD HILLS DR D                                                                         O FALLON        MO    63366
STRUCKI, FRANK J           50 DEVEREUX DR                                                                                  MANCHESTER TW   NJ    08759‐6062
STRUCKI, FRANK J           50 DEVEREAUX DR                                                                                 MANCHESTER TW   NJ    08759‐6062
STRUCKI, PAULA A.          152 FALCON RIDGE WAY N                                                                          HAMBURG         NJ    07419‐1150
STRUCKMAN, LEON            425 SCHAEFFER ST                                                                                CLARE           MI    48617‐9731
STRUCKMAN, ROGER R         4932 LONDON GROVEPORT RD                                                                        ORIENT          OH    43146‐9220
STRUCKMAN, THOMAS L        6629 MANSON DR                                                                                  WATERFORD       MI    48329‐2739
STRUCKMEYER KURT L         1200 CLAYTON CT                                                                                 GENEVA          IL    60134‐3986
STRUCKMEYER, KURT L        1200 CLAYTON CT                                                                                 GENEVA          IL    60134‐3986
STRUCKMEYER, KURT L        1200 CLAYTON COURT                                                                              GENEVA          IL    60134‐3986
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Name                          Address1                           Address2                  Address3           Address4                 City              State Zip
STRUCKO, GERTRUDE P           1701 SOUTH ARCH STREET                                                                                   LITTLE ROCK        AR 72206‐1214
STRUCTURAL ANALYSIS INC       1405 N WESTON LN                                                                                         AUSTIN             TX 78733‐3451
STRUCTURAL DY/MAD HT          800 E WHITCOMB AVE                                                                                       MADISON HEIGHTS    MI 48071‐5611
STRUCTURAL FIBERGLASS INC     PO BOX 615                         4766 BUSINESS RTE 220 N                                               BEDFORD            PA 15522‐0615
STRUCTURAL GROUP              7455 NEW RIDGE RD STE T                                                                                  HANOVER            MD 21076‐3143
STRUCTURAL GROUP              TERRY DANIEL                       7455 NEW RIDGE RD STE T                                               HANOVER            MD 21076‐3143
STRUCTURAL SOLUTIONS USA      ANDY ZICK                          1 DANA WAY                DANA CORPORATION                            LONGVIEW           TX 75602‐4736
STRUCTURAL SOLUTIONS USA      ANDY ZICK                          DANA CORPORATION          #1 DANA WAY                                 LAREDO             TX 78045
STRUCTURE WISE INC            11124 S TOWNE SQ STE 301                                                                                 SAINT LOUIS        MO 63123‐7815
STRUDER, CHARLENE S           2266 NANDI HILLS TRL               TRAIL                                                                 SWARTZ CREEK       MI 48473‐7912
STRUDER, HARRY G              7001 N RIDGE RD                                                                                          LANSING            MI 48917‐9576
STRUDER, RICHARD L            915 SANTANA LN                                                                                           SYKESVILLE         MD 21784‐5520
STRUDGEON, ANNA M             8817 COYLE DR                                                                                            PINCKNEY           MI 48169‐9112
STRUDGEON, ASA L              7083 HACKETT RD                                                                                          FREELAND           MI 48623‐9053
STRUDGEON, DONALD C           360 N LAZY FOX DR                                                                                        WICKENSBURG        AZ 85390‐3617
STRUDGEON, JILL A             1414 MULBERRY LN                                                                                         FLINT              MI 48507‐5331
STRUDGEON, JOHN B             1068 REYNOLDS ST                                                                                         NAPOLEON           OH 43545‐1179
STRUDGEON, JULIA E            G 5531 S BELSAY RD                                                                                       GRAND BLANC        MI 48439‐9129
STRUDGEON, LARRY W            2774 GABEL RD                                                                                            SAGINAW            MI 48601‐9340
STRUDGEON, LORRAINE A         7083 HACKETT RD                                                                                          FREELAND           MI 48623
STRUDGEON, RAYMOND W          5875 FORT RD                                                                                             SAGINAW            MI 48601‐9360
STRUDGEON, SCOTT A            501 MADELINE LANE                                                                                        MOORE              OK 73160‐0002
STRUDGEON, WALTER J           8817 COYLE DR                                                                                            PINCKNEY           MI 48169‐9112
STRUDGEON‐GRISSO, JAN M       1330 CALVIN DR                                                                                           BURTON             MI 48509
STRUDWICK, ALLEN              1331 BOICHOT RD                                                                                          LANSING            MI 48906‐5916
STRUDWICK, JOHN               2709 ATTENBROUGH CL                                                                                      LANSING            MI 48917
STRUDWICK, RUBY               2709 ATTENBROUGH CL                                                                                      LANSING            MI 48917
STRUEBEL, DANIEL R            5617 ANGELA DR                                                                                           LOCKPORT           NY 14094‐6674
STRUEBEL, DANIEL ROBERT       5617 ANGELA DR                                                                                           LOCKPORT           NY 14094‐6674
STRUEBEL, ROGER J             4475 SHISLER RD                                                                                          CLARENCE           NY 14031‐2115
STRUEBEL, ROGER JOHN          4475 SHISLER RD                                                                                          CLARENCE           NY 14031‐2115
STRUEBING & BUCHHEIT INC      1215 MILITARY RD                                                                                         BUFFALO            NY 14217
STRUEBING, WILLIAM G          67 DOUGLAS ST                                                                                            TONAWANDA          NY 14150‐1203
STRUERS INC                   24766 DETROIT RD                                                                                         WESTLAKE           OH 44145‐2525
STRUERS/WESTLAKE              810 SHARON DR                                                                                            WESTLAKE           OH 44145‐1521
STRUG, ROSEMARY               13227 CAROL AVE                                                                                          WARREN             MI 48088‐4772
STRUGARIU GHEORGHE            STRUGARIU, GHEORGHE                279 KAUTZ RD                                                          CALLICOON          NY 12723
STRUGARIU, GEORGHE
STRUIK, MARRIETTA C           8300 BUSH DR NE                                                                                          ROCKFORD          MI   49341‐9348
STRUK, BETTE M                8891 MELBOURNE DR                                                                                        SALINE            MI   48176‐9152
STRUKAMP, STANLEY B           4020 TWIN LAKES CIRCLE                                                                                   CLAYTON           OH   45315‐8758
STRUKEL, BARBARA J            48301 SAND CASTLE CT.                                                                                    SHELBY TWP        MI   48315‐4315
STRUKEL, CONSTANCE E          225 STAMPER RD                                                                                           ELMA              WA   98541‐9411
STRUKEL, CONSTANCE E          225 STAMPER RD.                                                                                          ELMA              WA   98541‐9411
STRUKEL, MARY J               9339 W HOWARD AVE APT 119                                                                                GREENFIELD        WI   53228‐1665
STRUKEL, SALLY                636 S 11TH ST                                                                                            NEW CASTLE        IN   47362‐5216
STRUKEL, SALLY                636 SO 11TH ST                                                                                           NEW CASTLE        IN   47362‐5216
STRUL FLANDEL                 SQ ED MACHTENS 18 13                                                            1080 BRUXELLES BELGIUM
STRUL USER AND MANUELA USER   JT TEN                             5452 CLAIRDIGE LANE                                                   W BLOOMFIELD      MI   48322‐3862
STRUM, BERTHA J               PO BOX 810                                                                                               LYONS             IN   47443‐0810
STRUM, EVELYN A               7198 FLAGSTONE PL                                                                                        UNION CITY        GA   30291‐5144
STRUM, MAXINE G               303 HARTFORD SQ                                                                                          HARTFORD          WI   53027‐1977
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Name                                    Address1                          Address2                      Address3   Address4         City             State Zip
STRUM, RICHARD G                        303 HARTFORD SQ                                                                             HARTFORD          WI 53027‐1977
STRUMAN INDUSTRIES INC                  1 INNOVATION WAY                                                                            WOODLAND PARK     CO 80863‐3308
STRUMB CHALLIS E (ESTATE OF) (341408)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                          STREET, SUITE 600
STRUMB, CHALLIS E                       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                                          STREET, SUITE 600
STRUMOLO, JOHN                          163B COLUMBINE AVE                                                                          WHITING          NJ   08759‐3059
STRUMOLO, PHYLLIS A                     163B COLUMBINE AVE                                                                          WHITING          NJ   08759
STRUMP, JOSEPH                          1150 HOLLYHOCK DR                                                                           GRAND BLANC      MI   48439‐8877
STRUMPFER, SCOTT D                      31447 ALABAMA CT                                                                            LIVONIA          MI   48150‐3974
STRUMS GERALD                           STRUMS, GERALD                    17 BELL CT. APT C1                                        EAST HARTFORD    CT   06108‐3830
STRUMS, GERALD                          297 BLUE HILLS AVE                                                                          HARTFORD         CT   06112‐1503
STRUNA ELIZABETH                        STRUNA, ELIZABETH                 BOX 568                                                   WEST SAND LAKE   NY   12196‐0568
STRUNA, ELIZABETH                       PO BOX 568                        BOX 568                                                   WEST SAND LAKE   NY   12196‐0568
STRUNG, DANIEL                          3094 BRADLEY RD                                                                             WESTLAKE         OH   44145‐1713
STRUNK DAVID                            5005 BLANDING BLVD                                                                          JACKSONVILLE     FL   32210‐7837
STRUNK WALTER R (ESTATE OF) (627663)    PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                    PHILADELPHIA     PA   19103‐5446

STRUNK, CAROLYN D                       3530 SURRY RIDGE WAY                                                                        DAYTON           OH   45424‐8007
STRUNK, DONALD R                        1017 24TH ST                                                                                BEDFORD          IN   47421‐5005
STRUNK, ELIZABETH A                     739 N FRANKLIN ST                                                                           GREENFIELD       IN   46140
STRUNK, ERNEST                          11932 VAN HERP CT                                                                           INDIANAPOLIS     IN   46236‐8348
STRUNK, FRED J                          2671 FOREST PKWY N                                                                          LARGO            FL   33771‐1453
STRUNK, JAMA K                          P BOX 172                                                                                   LILY             KY   40740‐0172
STRUNK, JAMA K.                         1550 HIGHWAY Y                                                                              FOLEY            MO   63347‐3111
STRUNK, JAMES A                         3588 S 500 E                                                                                KOKOMO           IN   46902‐9221
STRUNK, JAMES A                         9805 W CENTER ST                                                                            MILWAUKEE        WI   53222‐4528
STRUNK, JERALD E                        4792 MAPLE AVE                                                                              HAMILTON         MI   49419‐9708
STRUNK, JESSE R                         13890 FOLEY RD                                                                              MUSSEY           MI   48014‐2107
STRUNK, JOSEPH                          46 E SLOCUM BLVD                                                                            LA FONTAINE      IN   46940‐9288
STRUNK, LOWELL K                        229 WEST 10TH STREET                                                                        PERU             IN   46970‐1631
STRUNK, LOWELL T                        5308 GAMBRELL RD                                                                            INDIANAPOLIS     IN   46221
STRUNK, MELINDA L                       1619 PEARL STREET                                                                           ANDERSON         IN   46016
STRUNK, MILDRED S                       414 BROOKLIN WAY                                                                            PIGEON FORGE     TN   37863
STRUNK, NANCY W                         PO BOX 160                                                                                  MIDDLETOWN       IN   47356‐0160
STRUNK, NELLIE M                        3588 S 500 E                                                                                KOKOMO           IN   46902‐9221
STRUNK, PEGGY A                         3811 TARVIN CT                                                                              LAFAYETTE        IN   47905‐5293
STRUNK, PHILLIP S                       38120 TAM A RAC BLVD APT 117                                                                WILLOUGHBY       OH   44094‐3496
STRUNK, PHYLLIS R                       2080 S GLENEAGLE TERRACE                                                                    LECANTO          FL   34461‐9753
STRUNK, SAMUEL                          2110 AVOCA EUREKA RD                                                                        BEDFORD          IN   47421‐8411
STRUNK, TIMOTHY                         919 VINEGAR HILL RD                                                                         BEDFORD          IN   47421‐7908
STRUNK, VIRGINIA S                      6544 BALFOUR AVE                                                                            ALLEN PARK       MI   48101‐2304
STRUNK, VIRGINIA S                      6544 BALFOUR                                                                                ALLEN PARK       MI   48101‐2304
STRUNK, WALTER R                        C/O PAUL REICH & MYERS P.C.       1608 WALNUT ST STE 500                                    PHILADELPHIA     PA   19103‐5446
STRUNK, WELKER L                        2080 S GLENEAGLE TERRACE                                                                    LECANTO          FL   34461‐9753
STRUNKS, GREGORY A                      5657 WHISPERING WAY                                                                         SPRINGBORO       OH   45066‐7410
STRUNKS, NORMAN W                       7 COLONIAL CLUB DR APT 303                                                                  BOYNTON BEACH    FL   33435‐8427
STRUNSEE, HAROLD W                      16364 W COACHLIGHT DR                                                                       NEW BERLIN       WI   53151‐1475
STRUNZ, CAROL A                         2726 WITTERS                                                                                SAGINAW          MI   48602‐3565
STRUNZ, JAMES K                         612 N RANDALL AVE                 LUTHERAN SOCIAL SERVICES                                  JANESVILLE       WI   53545‐1958
STRUPKUS, KIMBERLY S                    155 MILLET AVE                                                                              YOUNGSTOWN       OH   44509‐2345
STRUPKUS, KIMBERLY S                    6262 W LIBERTY ST                                                                           HUBBARD          OH   44425‐1367
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Name                           Address1                        Address2                      Address3   Address4         City             State Zip
STRUPP, BRUCE F                14 SPRING ISLAND DR                                                                       OKATIE            SC 29909‐4006
STRUPPA JR, FRANK J            15080 HARRISON ST                                                                         LIVONIA           MI 48154‐3952
STRUPPA, FRANK J               15080 HARRISON STREET                                                                     LIVONIA           MI 48154‐3952
STRUPPA, LINDA S               15080 HARRISON ST                                                                         LIVONIA           MI 48154‐3952
STRUS, ANGELA G                321 CHERYL CT                                                                             HAWK POINT        MO 63349‐2065
STRUS, JOHN M                  9881 GARVEY DR                                                                            PHILADELPHIA      PA 19114‐2115
STRUS, PETER                   11 DWIGHT TER                                                                             CLIFTON           NJ 07013‐3705
STRUSIENSKI, RICHARD J         37 FARMINGDALE RD                                                                         CHEEKTOWAGA       NY 14225‐1815
STRUSKI, VICTOR K              3835 HARMONY HILLS DR                                                                     OXFORD            MI 48370‐2522
STRUSS, ALEX                   THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD       SUITE 44                    CORAL GABLES      FL 33146
STRUSS, HENRY                  THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD       SUITE 44                    CORAL GABLES      FL 33146
STRUSS, J P                    401 ROSEWOOD TER                                                                          LINDEN            NJ 07036‐5219
STRUSSENBERG, BEATRICE M       3996 REED RD                                                                              DANSVILLE         NY 14437
STRUSSENBERG, DAVID H          3996 REED ROAD                                                                            DANSVILLE         NY 14437‐9549
STRUSSIONE, BRUNO              15126 RIVENDELL DR                                                                        STERLING HTS      MI 48313‐5756
STRUTH, WILLIAM F              334 ROGER RD                                                                              DARIEN             IL 60561‐3971
STRUTHERS HERBERT G (429895)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                               STREET, SUITE 600
STRUTHERS, CHRISTINE L         6175 AZURE MEADOW DR D                                                                    SALT LAKE CITY   UT 84118
STRUTHERS, HERBERT G           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                               STREET, SUITE 600
STRUTHERS, KEITH D             946 LENOX LN UNIT 102                                                                     CARMEL           IN   46032‐3831
STRUTHERS, KENNETH C           20235 W 13 MILE RD                                                                        BEVERLY HILLS    MI   48025‐3825
STRUTHERS, KENNETH CLARKE      20235 W 13 MILE RD                                                                        BEVERLY HILLS    MI   48025‐3825
STRUTHERS, PATRICIA            2488 GROVE PARK RD                                                                        FENTON           MI   48430‐1451
STRUTHERS, ROBERT H            7905 E INVERNESS AVE                                                                      MESA             AZ   85209‐4213
STRUTHERS, ROBERT H            7905 E IVERNESS                                                                           MESA             AZ   85208‐4213
STRUTHERS, ROMEROS             25031 CHAMBLEY DR                                                                         SOUTHFIELD       MI   48034‐1201
STRUTT, FRANCIS E              1022 SANTA MONICA DR                                                                      MCKEESPORT       PA   15133‐3710
STRUTT, WILBUR V               6444 WOODVILLE DR                                                                         DAYTON           OH   45414‐2850
STRUTTON, CARL J               11402 GILL ST                                                                             SUGAR CREEK      MO   64054‐1238
STRUTTON, COREY J              3404 N MCCOY ST                                                                           INDEPENDENCE     MO   64050‐1125
STRUTTS JR, MILTON G           8166 MANCHESTER DR                                                                        GRAND BLANC      MI   48439‐9584
STRUTTS, GLADYS                2240 E BERGIN ST                                                                          BURTON           MI   48529‐1782
STRUTZ, ERNEST A               PO BOX 6573                                                                               SAGINAW          MI   48608
STRUTZ, MICHAEL C              6200 PINEWOOD DR                                                                          CLARKSTON        MI   48346‐2232
STRUTZ, ROGER D                6320 MARKET AVE                                                                           NEWARK           CA   94560‐4036
STRUZZIERY JR, ANTHONY M       3467 CALCITE CIR                                                                          CARSON CITY      NV   89705‐7107
STRUZZO, FRANK A               7909 RIVERVIEW AVE                                                                        KANSAS CITY      KS   66112‐2727
STRYCHALSKI, FRANK R           9 LORRAINE PL                                                                             WEST SENECA      NY   14224‐4805
STRYCHAR, MAXIME               PO BOX 267                                                                                NEW HUDSON       MI   48165‐0267
STRYCHARZ, KENNETH T           123 COOLIDGE AVE                                                                          LAWRENCEVILLE    NJ   08648‐3713
STRYCKER, EDWARD L             1212 N ELEANOR ST                                                                         INDIANAPOLIS     IN   46214‐3441
STRYDEL INC                    201 ELLIS ST                                                                              STRYKER          OH   43557‐9311
STRYDEL/STRYKER                201 ELLIS ST                                                                              STRYKER          OH   43557‐9311
STRYESKI, CASIMER J            24946 N SYLBERT DR                                                                        REDFORD          MI   48239‐1640
STRYFFELER, DAVID E            52 DEHOFF DR                                                                              YOUNGSTOWN       OH   44515‐2402
STRYFFELER, GENE L             213 BEECHWOOD ST                                                                          EAST LIVERPOOL   OH   43920‐1909
STRYGULEC, JERRY               193 PINEVIEW DR                                                                           ALMA             MI   48801‐2156
STRYHN, RODNEY G               3446 LAPIDARY LN                                                                          JANESVILLE       WI   53548‐9231
STRYJEWSKI, AUDREY L           714 N DIVISION ST               RM NO‐511                                                 AUDUBON          IA   50025‐1362
STRYKER BROS. AUTOMOTIVE       1036 CEDAR AVE                                                                            MARYSVILLE       WA   98270‐4233
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Name                         Address1                        Address2           Address3         Address4         City                 State Zip
STRYKER JR, MARTIN C         50403 FELLOWS HILL DR                                                                PLYMOUTH              MI 48170‐6351
STRYKER, C MARTIN            50403 FELLOWS HILL DR                                                                PLYMOUTH              MI 48170‐6351
STRYKER, DONALD W            191 HINEY RD                                                                         WILMINGTON            OH 45177‐9630
STRYKER, EARL L              PO BOX 58                                                                            PORT WILLIAM          OH 45164‐0058
STRYKER, EARL L              BOX 58                                                                               PORT WILLIAM          OH 45164‐0058
STRYKER, HARRY L             7963 S SHOREBIRD LN                                                                  EMPIRE                MI 49630‐9785
STRYKER, J W                 168 1ST ST                                                                           ROMEO                 MI 48065‐5000
STRYKER, J WILLIAM           168 1ST ST                                                                           ROMEO                 MI 48065‐5000
STRYKER, ROBERT F            1157 DEFOREST ROAD SOUTHEAST                                                         WARREN                OH 44484‐3561
STRYSZOWSKI, ADAM            10531 KINDLING CT                                                                    PALOS PARK             IL 60464‐2504
STRZALKA, EUGENE B           14610 APPLEWAY CT                                                                    SHELBY TOWNSHIP       MI 48315‐4319
STRZALKA, GREGORY M          2777 WINTER PARK RD                                                                  ROCHESTER HLS         MI 48309‐1355
STRZALKA, MARTHA M           1381 FORT PARK                                                                       LINCOLN PARK          MI 48146‐1644
STRZALKA, PAMELA D           2777 WINTER PARK RD                                                                  ROCHESTER HILLS       MI 48309‐1355
STRZALKA, ROSEMARY C         15711 BARBARA AVE                                                                    CLEVELAND             OH 44135
STRZALKA, WALTER J           1411 STAUNTON DR                                                                     PARMA                 OH 44134‐4045
STRZALKOWSKI, JAMES J        3256 SANDY BEACH RD                                                                  GRAND ISLAND          NY 14072‐1305
STRZALKOWSKI, MICHAEL A      48783 RUNNING TROUT LANE                                                             NORTHVILLE            MI 48168‐8600
STRZALKOWSKI, RICHARD A      17665 CENTRALIA                                                                      REDFORD               MI 48240‐2244
STRZELCZYK, GEORGE A         106 CREEKVIEW DR                                                                     WEST SENECA           NY 14224‐2432
STRZELCZYK, KENNETH J        16784 93RD AVE                                                                       ORLAND HILLS           IL 60487‐6026
STRZELCZYK, ROSE F           2433 WOODCROFT RD                                                                    BALTIMORE             MD 21234‐2819
STRZELCZYK, STEPHEN V        63 COLONY ST                                                                         DEPEW                 NY 14043‐1707
STRZELECKI JR, JOHN A        1690 STEELWOOD DR SE                                                                 CLEVELAND             TN 37323‐4048
STRZELECKI, EDWARD J         76 CORYELL DR                                                                        OXFORD                MI 48371‐4266
STRZELECKI, HARRY P          3416 FAIRWAY DR                                                                      BAY CITY              MI 48706‐3330
STRZELECKI, JOHN A           8917 LITTLE PICKEREL LN APT 3                                                        SAINT GERMAIN         WI 54558
STRZELECKI, JOHN H           913 DOVER FALLS DR                                                                   MANCHESTER            MO 63021‐6860
STRZELECKI, JOSEPH P         246 NICKLAS CT                                                                       OXFORD                MI 48371‐4263
STRZELECKI, MATTHEW J        17350 FISH LAKE RD                                                                   HOLLY                 MI 48442
STRZELECKI, MICHAEL J        415 BUTTS AVE                                                                        TOMAH                 WI 54660
STRZELECKI, STEVEN M         10329 APPOMATTOX ST                                                                  HOLLY                 MI 48442‐8617
STRZELECKI, THOMAS J         400 W MIDLAND ST                                                                     BAY CITY              MI 48706‐4365
STRZELECKI, THOMAS M         3294 COOLIDGE HWY                                                                    ROCHESTER HLS         MI 48309‐3532
STRZELEWICZ, ANTHONY S       8427 CASTLE GARDEN RD                                                                PALMETTO              FL 34221‐9560
STRZELEWICZ, DAVID A         1468 ELM ST                                                                          ALDEN                 NY 14004‐1302
STRZEMPEK, LILLIAN H         29206 GRANT ST                                                                       SAINT CLAIR SHORES    MI 48081‐3211
STRZEMPEK, LILLIAN H         29206 GRANT STREET                                                                   ST.CLAIR SHORES       MI 48081
STRZEPEK, JERRY S            29 N LAUREL AVE                                                                      ISELIN                NJ 08830‐1509
STRZESINSKI, THEODORE        14123 TODD RD                                                                        PETERSBURG            MI 49270‐9727
STRZYINSKI, ERNEST E         P O BOX #205 2752 GALLOWAY                                                           LUZERNE               MI 48636‐0205
STRZYINSKI, ERNEST E         PO BOX 205                                                                           LUZERNE               MI 48636‐0205
STRZYINSKI, ROBERT           890S STATE HIGHWAY M149                                                              MANISTIQUE            MI 49854‐8922
STRZYNSKI, DOROTHY A         3708 BENNETT AVE                                                                     FLINT                 MI 48506‐3106
STRZYNSKI, FRANCES V         412 N OTSEGO AVE                                                                     GAYLORD               MI 49735‐1528
STRZYNSKI, JOSEPH J          2428 PRICE ST                                                                        EAST TAWAS            MI 48730‐9408
STRZYNSKI, MAXINE H          11783 LAKE SHORE DR                                                                  FIFE LAKE             MI 49633‐9347
STRZYNSKI, RAYMOND A         6384 CEDAR CREEK RD                                                                  NORTH BRANCH          MI 48461‐8845
STRZYNSKI, STEVE J           1460 S CUMMINGS RD                                                                   DAVISON               MI 48423‐9147
STRZYZEWSKI, CHRISTOPHER J   1470 PETTIBONE LAKE RD                                                               HIGHLAND              MI 48356‐3126
STRZYZEWSKI, JEROME K        1500 E SOMMERS DR                                                                    OAK CREEK             WI 53154‐7924
STRZYZEWSKI, MARVIN L        11060 BUSCH AVE                                                                      WARREN                MI 48089‐1026
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Name                                  Address1                           Address2                         Address3        Address4                City               State Zip
STS MOTOR FREIGHT INC                 4219 RICHMOND ST                                                                                            PHILADELPHIA        PA 19137‐1909
STS OPERATING / SUNSOURCE             MARC PERKINS                       2301 W WINDSOR CT                                                        ADDISON              IL 60101‐1480
STS OPERATING INC                     DBA SUNSOURCE                      2301 W WINDSOR CT                                                        ADDISON              IL 60101‐1480
STS OPERATING INC                     6460 SIMS DR                                                                                                STERLING HEIGHTS    MI 48313‐3721
STS OPERATING INC                     3170 CHRISTY WAY S STE 3                                                                                    SAGINAW             MI 48603‐2256
STS OPERATING INC                     1450 E AVIS DR                                                                                              MADISON HEIGHTS     MI 48071‐1506
STS STANDARDS TRANSPORTATION                                             1301 FL SHUTTLESWORTH DR                                                                     AL 35234
STS TRANSPORTATION SERVICE INC        55 HEDGEDALE RD                                                                     BRAMPTON CANADA ON
                                                                                                                          L6T 5P3 CANADA
STS TRUCK EQUIPMENT & TRLR            ATTN: SHAWN JACOB                  3496 COURT ST                                                            SYRACUSE           NY 13206‐1051
STT TECH/CONCORD                      600 TESMA WAY                                                                       CONCORD ON L4K 5C2
                                                                                                                          CANADA
STT TECHNOLOGIES DE MEXICO SA         JESUS RENDON                       BLVD MAGNA NO 200 INT 2                          CHANGCHUN CHINA
                                                                                                                          (PEOPLE'S REP)
STT TECHNOLOGIES DE MEXICO SA DE CV   BLVD MAGNA NO 200 INT 2                                                             RAMOZ ARIZPE CZ 25903
                                                                                                                          MEXICO
STT TECHNOLOGIES INC                  600 TESMA WAY                                                                       CONCORD ON L4K 5C2
                                                                                                                          CANADA
STT TECHNOLOGIES INC.                 600 TESMA WAY                                                                       CONCORD ON L4K 5
                                                                                                                          CANADA
STT TECHNOLOGIES INC.                 KENNETH KOLIBA                     TESMAN INTERNATIONAL INC         600 TESMA WAY   CONCORD ON CANADA
STU EMMERT CHEV‐BUICK‐CADILLAC INC    202 N GRANT AVE                                                                                             LIBERAL             KS   67901‐3237

STU EMMERT CHEVROLET, BUICK, CADILL   202 N GRANT AVE                                                                                             LIBERAL             KS   67901‐3237

STU EMMERT CHEVROLET, BUICK,          202 N GRANT AVE                                                                                             LIBERAL             KS   67901‐3237
CADILLAC, INC.
STU EMMERT CHEVROLET, BUICK,          STUART EMMERT                      202 N GRANT AVE                                                          LIBERAL             KS   67901‐3237
CADILLAC, INC.
STU GRAY
STU MCGARITY
STU SCANDRIDGE
STUARD, THOMAS L                      15777 BOLESTA RD LOT 165                                                                                    CLEARWATER          FL   33760‐3465
STUART
STUART A DOUGLAS                     4722 SYLVAN DRIVE                                                                                            DAYTON             OH    45417‐1248
STUART A HINKES                      845 BRECKINRIDGE CT                                                                                          NEW HOPE           PA    18938
STUART A SIMPSON                     2627 CHATSWORTH DR                                                                                           BELOIT             WI    53511‐2307
STUART A. LAVEN, JR                  BENESH FRIEDLANDER COPLAN &         200 PUBLIC SQUARE , SUITE 2300                                           CLEVELAND          OH    44114
                                     ARONOFF LLP
STUART A. WILKINSON, NANCY WILKINSON NANCY WILKINSON                     308 N ALAMO ST                                                           REFUGIO             TX   78377‐2502

STUART ALEXANDER                      8670 HOPEWELL RD                                                                                            CINCINNATI         OH    45242‐4508
STUART AND JOAN ZIMMER                STUART ZIMMER                      12 ELMORE PL                                                             EAST NORTHPORT     NY    11731
STUART ANDERSON                       393 STATE ROAD 458                                                                                          BEDFORD            IN    47421‐7541
STUART ANDRESS                        2621 CRAIG DR                                                                                               LEWISTON           MI    49756‐9277
STUART B BOISE                        45 FRONT ST 1                                                                                               NORWICH            NY    13815
STUART B DAVIS                        5900 BRIDGE RD APT 910                                                                                      YPSILANTI          MI    48197‐6900
STUART BARTER                         7900 CHASE RD                                                                                               LIMA               NY    14485‐9605
STUART BELLANGER                      4109 SKINNER LAKE RD                                                                                        LAPEER             MI    48446‐8907
STUART BIERKAMP                       24339 ANNAPOLIS ST                                                                                          DEARBORN HTS       MI    48125‐1915
STUART BOCHNIARZ                      797 E HIGH ST                                                                                               LOCKPORT           NY    14094‐4705
STUART BOWMAN INC                     1304 E DIXIE DR                                                                                             ASHEBORO           NC    27203‐8870
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Name                                     Address1                         Address2                         Address3   Address4         City               State Zip
STUART BROWN                             6125 COVERED WAGONS TRL                                                                       FLINT               MI 48532‐2111
STUART BROWNBACHER                       72 AMHERST RD                                                                                 PLEASANT RDG        MI 48069‐1206
STUART BUCKLE                            PO BOX 285                                                                                    WAYNESVILLE         OH 45068‐0285
STUART C IRBY CO                         PO BOX 368                       P O BOX 11407                                                BIRMINGHAM          AL 35246‐0368
STUART C IRBY CO                         815 S STATE ST                   PO BOX 1819                                                  JACKSON             MS 39201‐5908
STUART C IRBY/490 AL                     1284 HEIL QUAKER BLVD                                                                         LA VERGNE           TN 37086‐3515
STUART C IRBY/BX1106                     PO BOX 110628                                                                                 NASHVILLE           TN 37222‐0628
STUART CAR WASH                          5693 CHEVROLET BLVD                                                                           CLEVELAND           OH 44130‐1494
STUART CHUCK                             STUART, CHUCK                    2513 MILLBROOK ROAD                                          LITTLE ROCK         AR 72227
STUART CONKLIN                           5682 MATTHEWS RD                                                                              OLIVET              MI 49076‐9681
STUART CONKLIN BUICK, INC.               JOSEPH FANGMAN                   1400 E 11TH AVE                                              HUTCHINSON          KS 67501‐2712
STUART COON                              1111 W DILL RD                                                                                DEWITT              MI 48820‐9372
STUART COOPER                            636 WESTBOURNE DR                                                                             BLOOMFIELD HILLS    MI 48301‐3453
STUART D BRICE                           597 ONANDAGO ST                                                                               YPSILANTI           MI 48198‐6112
STUART D PEEPLES                         C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                    HOUSTON             TX 77007
                                         BOUNDAS LLP
STUART D STULL                           4336 TIMBERWILDE DR                                                                           KETTERING          OH    45440‐1507
STUART DALLAS                            22009 W MCNICHOLS RD APT 1                                                                    DETROIT            MI    48219‐3223
STUART DANSEREAU                         811 N SCHEURMANN RD APT 337                                                                   ESSEXVILLE         MI    48732‐2206
STUART DEAN                              450 SEVENTH AVE 38TH FLOOR                                                                    NEW YORK           NY    10123
STUART DEAN COMPANY                      HANK SCHREINER                   450 7TH AVENUE                                               NEW YORK CITY      NY
STUART DELAND                            PO BOX 65                                                                                     CHARLOTTE          MI    48813‐0065
STUART DELIVERY                          501 W HURON AVE                                                                               VASSAR             MI    48768‐1243
STUART DOUGLAS                           8 WOODLAND CT                                                                                 TIJERAS            NM    87059‐7941
STUART E DILLAVOU JR                     3941 FULTON AVE                                                                               MORAINE            OH    45439
STUART E QUILLEN                         9666 MIAMISBURG‐SPRINGBORO                                                                    MIAMISBURG         OH    45342‐4762
STUART EDWARD BURRIER                    78832 TAMARISK FLOWER DR                                                                      PALM DESERT        CA    92211‐2107
STUART FITZPATRICK                       3805 N LOWELL RD                                                                              SAINT JOHNS        MI    48879‐9717
STUART FRANCIS                           7912 W DIXON RD                                                                               REESE              MI    48757‐9218
STUART GEORGE A (409160)                 SIMMONS FIRM                     PO BOX 559                                                   WOOD RIVER          IL   62095‐0559
STUART GERSTEN                           295 OCEAN PARKWAY APT E10                                                                     BROOKLYN           NY    11218
STUART GIBSON                            7489 S DUFFIELD RD                                                                            DURAND             MI    48429‐9303
STUART GOLD TRUST                        STUART GOLD                      116 WINDSOR GATE                                             GREAT NECK         NY    11020
STUART GOLDBERG                          9 CORN CRIB LANE                                                                              ROSLYN HTS.        NY    11577
STUART GRANT                             1135 VIVIAN DR                                                                                LAPEER             MI    48446‐3064
STUART H WORRELL                         4716 NATIONAL DR                                                                              MYRTLE BEACH       SC    29579
STUART HALVERSON                         511 TREASURE ISLE DRIVE                                                                       MATTAWAN           MI    49071
STUART HARVIN                            28460 FONTANA DR                                                                              SOUTHFIELD         MI    48076‐5434
STUART HAZLE                             1795 W CENTERLINE RD                                                                          SAINT JOHNS        MI    48879‐9275
STUART HOLDEN
STUART HOOK                              623 E. LAKE ROAD                                                                              RUSHVILLE          NY    14544
STUART HOOPER                            3200 BELFORD RD                                                                               HOLLY              MI    48442‐9450
STUART HORTON                            450 HARPER RD                                                                                 MASON              MI    48854‐9447
STUART I BARBIER                         924 CENTER AVE                                                                                BAY CITY           MI    48708‐6118
STUART I. BLOCK, ESQ., COX, CASTLE AND   C/O SIGNATURE AT DURANT LLC V    555 MONTGOMERY ST., 15TH FLOOR                               SAN FRANCISCO      CA    94111
NICHOLSON LLP                            GENERAL MOTORS
STUART J BUCKLE                          PO BOX 285                                                                                    WAYNESVILLE        OH    45068‐0285
STUART J KESSLER                         31461 W STONEWOOD CT                                                                          FARMINGTON HILLS   MI    48334‐2545
STUART JOHNSON                           7030 PORTER RD                                                                                GRAND BLANC        MI    48439‐8574
STUART JOYNER                            25 W 132ND ST APT 11D                                                                         NEW YORK           NY    10037‐3205
STUART JR, JAMES B                       5472 KAYWOOD DR                                                                               JACKSON            MS    39211‐4531
STUART JR, MILTON A                      5707 ALPINE AVE                                                                               INDIANAPOLIS       IN    46224‐2133
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Name                               Address1                          Address2                   Address3         Address4               City              State Zip
STUART KANITZ                      8649 N LOWELL RD                                                                                     SAINT JOHNS        MI 48879‐9741
STUART KETHE                       1934 KINMOUNT DR                                                                                     ORION              MI 48359‐1639
STUART KING                        17 VILLE TERESA LN                                                                                   HAZELWOOD          MO 63042‐1613
STUART KLOCKO                      1925 HUNTINGDON DR                                                                                   WIXOM              MI 48393‐1163
STUART L DAVIS                     514 PERRY ST                                                                                         SAGINAW            MI 48602‐1418
STUART LACY                        133 CHARIOT DR                                                                                       ANDERSON           IN 46013‐1016
STUART LAPHAM                      52456 S POINT DR                                                                                     MATTAWAN           MI 49071‐9353
STUART LEE                         53992 SUTHERLAND LN                                                                                  SHELBY TOWNSHIP    MI 48316‐1255
STUART LESER                       210 BRISCOE BLVD                                                                                     WATERFORD          MI 48327‐2400
STUART LINABURY                    13345 E 54TH DR                                                                                      YUMA               AZ 85367
STUART LOCASCIO                    9038 TOBIAS AVE APT 110                                                                              PANORAMA CITY      CA 91402‐1733
STUART LOYE                        2701 CLYDE PARK AVE SW                                                                               WYOMING            MI 49509‐2008
STUART LYON                        1220 BIRCHWOOD DR                                                                                    FLUSHING           MI 48433‐1488
STUART M ERBELDING                 8087 PARMELEE ROAD                                                                                   LEROY              NY 14482
STUART MACDERMID & HARVEY SLOBOD   C/O WILLIAMS & COMPANY            ATTN: DARREN G. WILLIAMS   531 QUADRA ST.   VICTORIA, BC V8V 3S4

STUART MADDEN                      6879 CHEDDAR VALLEY DR                                                                               BRIGHTON          MI   48116‐8806
STUART MATTHEWS                    WILLIAMS BUILDING                 295 CHIPETA WAY            4TH FLOOR                               SALT LAKE CITY    UT   84108
STUART MAUE FIRM                   ATTN JAMES P. QUINN               3840 MCKELVEY ROAD                                                 ST LOUIS          MO   63044
STUART MCCUBBREY                   1201 KENNEBEC                                                                                        CANTON            MI   48187‐4644
STUART MCKENZIE                    10389 BAKER DR                                                                                       CLIO              MI   48420‐7720
STUART MCKENZIE                    STUART MCKENZIE                   1/31 NEW BRIGHTON RD                        CHRISTCHURCH NEW       CHRISTCHURCH
                                                                                                                 ZEALAND
STUART MCKINNON                    46703 ALBANY DR                                                                                      MACOMB            MI 48044‐4044
STUART MICHAEL ROBINSON            105‐186 ALBERT ST                                                             LONDON ONTARIO N6A
                                                                                                                 1M1
STUART MIKITS                      5680 GASKILL BRANCH RD                                                                               SANTA FE          TN   38482‐3046
STUART MILLER                      2015 PEGGY PL                                                                                        LANSING           MI   48910‐2554
STUART MONTGOMERY                  10175 W SPRING MOUNTN RD          APT 2123                                                           LAS VEGAS         NV   89117
STUART MORIWAKI                    3116 BOSTONIAN DR                                                                                    LOS ALAMITOS      CA   90720‐4238
STUART MUSIC                       45196 MUSIC LN                                                                                       CALLAHAN          FL   32011‐4589
STUART N GOTTFRIED                 200 CENTRAL PARK SOUTH            APT 14N                                                            NEW YORK          NY   10019
STUART NETZLEY                     819 E EMERSON ST                                                                                     ITHACA            MI   48847‐1331
STUART NICHOLSON                   1443 PARK AVE                                                                                        BAY CITY          MI   48708‐5530
STUART NORRIS                      1085 NORFOLK ST                                                                                      BIRMINGHAM        MI   48009‐3077
STUART NOVOTNY                     6824 RUBY CTS                                                                                        AUSTINTOWN        OH   44515‐5610
STUART NUCKOLS                     3232 CANYON VIEW DR                                                                                  OCEANSIDE         CA   92054
STUART NUSSBAUM                    20667 NW 27TH AVE                                                                                    BOCA RATON        FL   33434
STUART PAGE                        1804 CHELSEA CIR                                                                                     PLEASANT HILL     MO   64080‐1173
STUART PATTERSON                   197 GRAND VIEW DR                                                                                    MAYNARDVILLE      TN   37807‐4216
STUART PIERCE                      3599 VINEYARD SPRINGS CT                                                                             ROCHESTER         MI   48306‐2254
STUART PONTIAC‐CADILLAC INC        301 N INDEPENDENCE ST                                                                                ENID              OK   73701‐4029
STUART PONTIAC‐CADILLAC, INC.      301 N INDEPENDENCE ST                                                                                ENID              OK   73701‐4029
STUART PONTIAC‐CADILLAC, INC.      RANDY HAMM                        301 N INDEPENDENCE ST                                              ENID              OK   73701‐4029
STUART PRIKASKY                    1265 W TYLER RD                                                                                      ALMA              MI   48801‐9748
STUART PUTRICH                     13346 EAGLE NEST TRL                                                                                 SHELBY TOWNSHIP   MI   48315‐2322
STUART QUARRY                      STUART, QUARRY                    PO BOX 1441                                                        DUNNELLON         FL   34430
STUART QUILLEN                     9666 MIAMISBURG SPRINGBORO RD                                                                        MIAMISBURG        OH   45342‐4762
STUART R MONTGOMERY                10175 W SPRING MOUNTN RD,         APT 2123                                                           LASVEGAS          NV   89117‐8482
STUART RAIKE                       1326 LAKEWAY DR                                                                                      DEFIANCE          MO   63341‐1431
STUART RAY                         504 AKRON RD                                                                                         CAINSVILLE        MO   64632‐9561
STUART REMALI                      330 SAINT CHARLES WAY                                                                                WHITELAND         IN   46184‐1674
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Name                                  Address1                         Address2                        Address3   Address4         City                 State Zip
STUART RESTAD AUTO REPAIR INC.        47086 155TH AVE                                                                              PELICAN RAPIDS        MN 56572‐7055
STUART RICHARD                        STUART, RICHARD                  3434 GINGER DRIVE                                           HAUGHTON              LA 71037
STUART RICHARD                        STUART, RICHARD
STUART RICHARDS                       6060 BURTON ESTATES DR                                                                       BURTON               MI 48519‐1283
STUART RICHARDS                       4 SUMMIT TER                                                                                 FREDERICKSBURG       VA 22406‐5320
STUART ROBBENNOLT                     PO BOX 492                       HANDLON CORRECTIONAL FACILITY                               IONIA                MI 48846‐0049

STUART ROBERTA A                      920 APPLE ST                                                                                 GREENFIELD           IN   46140‐1389
STUART ROBERTS                        13 AUBURN AVE                                                                                SHELBY               OH   44875‐1101
STUART ROGERS                         1432 WOODSLEA DR                                                                             FLINT                MI   48507‐1888
STUART ROLFE MUFFLER & AUTO SERVICE   900 MURRAY OLDS DR                                                                           MIDLOTHIAN           VA   23114‐2601

STUART ROLLER                         706 APPLETREE LN                                                                             CARO                 MI   48723‐1301
STUART RUDY                           PO BOX 191                                                                                   PETERSBURG           TN   37144‐0191
STUART SAUER                          326 HUNTERS RUN DR                                                                           BEL AIR              MD   21015‐8946
STUART SAUNTO                         5531 W MOUNT HOPE HWY                                                                        LANSING              MI   48917‐9559
STUART SCHOOL OF BUSINESS             6602 E 75TH ST                   STE 200                                                     INDIANAPOLIS         IN   46250‐2867
ADMINISTRATION
STUART SCHUCH                         PO BOX 776                                                                                   ESTILL SPRINGS       TN   37330‐0776
STUART SHAW                           6032 ALBION DR                                                                               FLINT                MI   48506‐1622
STUART SHERRY                         4747 BAY CITY FORESTVILLE RD                                                                 CASS CITY            MI   48726‐9629
STUART SHIRLEY                        913 BEDFORD PL                                                                               COLUMBIA             TN   38401‐6701
STUART SILVERMAN                      4464 CARVER WOODS DR                                                                         CINCINNATI           OH   45242‐5544
STUART SIMPSON                        2627 CHATSWORTH DR                                                                           BELOIT               WI   53511‐2307
STUART SMITH                          283 N ELK ST                                                                                 SANDUSKY             MI   48471‐1162
STUART SMITH                          3024 MCCABE AVE NE                                                                           ADA                  MI   49301‐9733
STUART SMITH                          3366 S GRAND TRAVERSE                                                                        BURTON               MI   48529
STUART SMITH                          9251 BERGIN RD                                                                               HOWELL               MI   48843‐9523
STUART SNIDER                         1617 W CLEVELAND RD                                                                          PERRINTON            MI   48871‐9710
STUART SOCIER                         4185 M25                                                                                     UNIONVILLE           MI   48767
STUART SPIERS                         9837 BURNING TREE DR                                                                         GRAND BLANC          MI   48439‐9588
STUART STULL                          4336 TIMBERWILDE DR                                                                          KETTERING            OH   45440‐1507
STUART SWANIGAN                       1490 E MONROE RD                                                                             MIDLAND              MI   48642‐7512
STUART T MUSIC                        45196 MUSIC LN                                                                               CALLAHAN             FL   32011‐4589
STUART T PEARSON                      5061 LINCOLN RD                                                                              ONTARIO              NY   14519
STUART TOOL SERVICE INC               1208 E MAPLE                                                                                 TROY                 MI   48083
STUART TRANSPORT & LOGISTICS LLC      PO BOX 190                                                                                   WILDWOOD             MO   63040‐0190
STUART V NICHOLSON                    1443 PARK AVE                                                                                BAY CITY             MI   48708‐5530
STUART W ANDERSON                     393 STATE RD #458                                                                            BEDFORD              IN   47421
STUART WALTERS                        206 PLEASANT ST                                                                              ROMEO                MI   48065‐5175
STUART WANT                           9 WINDY RIDGE CV                                                                             JACKSON              MS   39211‐2904
STUART WEBB                           1950 E 24TH ST LOT 31                                                                        YUMA                 AZ   85365‐3146
STUART WEBER                          6341 N SAINT ANDREWS DR                                                                      JANESVILLE           WI   53545‐9617
STUART WILLITS                        4415 N LOCKWOOD AVE                                                                          TOLEDO               OH   43612‐2352
STUART WILSON                         7782 RIDGEWOOD DR                                                                            JENISON              MI   49428‐7923
STUART ZALL                           5215 SOUTH BEELER COURT                                                                      GREENWWOOD VILLAGE   CO   80111
STUART ZEITLIN
STUART, ALICE                         5833 BLACKBERRY DR.                                                                          IMPERIAL             MO   63052
STUART, ALICE R                       15151 RUNNYMEDE ST                                                                           VAN NUYS             CA   91405‐1611
STUART, ALLEN L                       PO BOX 1795                                                                                  DUNEDIN              FL   34697‐1795
STUART, ARLINE M                      PO BOX 33                                                                                    HANNIBAL             NY   13074‐0033
STUART, BERNIE L                      4592 N VERITY RD                                                                             SANFORD              MI   48657‐9389
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Name                         Address1                      Address2            Address3         Address4         City             State Zip
STUART, BRENDA S             7962 WESTFIELD RD                                                                   INDIANAPOLIS      IN 46240‐2640
STUART, BRUCE                905 5TH AVE                                                                         LAKE ODESSA       MI 48849‐1007
STUART, CAROL A              51300 MICHIGAN AVE. L‐89                                                            BELLEVILLE        MI 48111
STUART, CHARLES B            149 DELTON ST                                                                       TONAWANDA         NY 14150‐5363
STUART, CHARLES C            70 STRASBURG DRIVE                                                                  PT CHARLOTTE      FL 33954‐2391
STUART, CHARLES M            4507 SPARKMAN DR NW                                                                 HUNTSVILLE        AL 35810‐3942
STUART, CHARLES P            1565 STIBE GEDGE                                                                    GREENWOOD         IN 46143
STUART, CHUCK                2513 MILLBROOK RD                                                                   LITTLE ROCK       AR 72227‐3032
STUART, DALE A               7336 MUSTANG DR                                                                     CLARKSTON         MI 48346‐2624
STUART, DANNY B              8872 DUNCAN LANE                                                                    BASTROP           LA 71220‐9703
STUART, DARLENE K            5969 EVERETT HULL ROAD                                                              FOWLER            OH 44418‐4418
STUART, DAVID B              528 MERCURY DR                                                                      GODFREY            IL 62035‐2389
STUART, DAVID F              2556 SWAFFER RD                                                                     MILLINGTON        MI 48746
STUART, DAVID L              3900 CHEYENNE RD                                                                    RICHMOND          VA 23235
STUART, DELENA               2918 HARWOOD RD J205                                                                BEDFORD           TX 76021
STUART, DIANNE K             119 LAURA LN                                                                        WINTER HAVEN      FL 33880‐4932
STUART, DONALD B             5613 BALDWIN BLVD                                                                   FLINT             MI 48505‐5126
STUART, DONALD L             393 W 3RD ST                                                                        MANSFIELD         OH 44903‐1745
STUART, EARL J               121 S JEFFERSON ST                                                                  MOORESVILLE       IN 46158‐1655
STUART, EDWIN G              PO BOX 371                                                                          SOUTH COLTON      NY 13687‐0371
STUART, ELSIE M              2520 W DEWEY RD                                                                     OWOSSO            MI 48867‐9107
STUART, ERNEST M             4071 E HIGGINS LAKE DR                                                              ROSCOMMON         MI 48653‐9370
STUART, ESTELLA B            142 PUTNEY LN                                                                       MALVERN           PA 19355‐3210
STUART, ESTHER E             1463 DONOVAN                                                                        BURTON            MI 48529‐1225
STUART, ESTHER E             1463 DONOVAN ST                                                                     BURTON            MI 48529‐1225
STUART, FLINT G              COLBY'S ORCHARD HOUSE         ASSISTED LIVING     2113 GRACE RD                     FRANKFORT         MI 49635
STUART, GENE JR              20471 E UNION CIR                                                                   AURORA            CO 80015
STUART, GENE O               1009 BURLINGTON DR                                                                  FLINT             MI 48503‐2978
STUART, GEORGE A             SIMMONS FIRM                  PO BOX 559                                            WOOD RIVER         IL 62095‐0559
STUART, HAROLD H             7048 SANDALVIEW DR                                                                  HUBER HEIGHTS     OH 45424‐2530
STUART, HOWARD N             5254 SQUIRE HILL DR                                                                 FLINT             MI 48532‐2363
STUART, JACKSON L            2181 W MAPLE AVE                                                                    FLINT             MI 48507‐3573
STUART, JAMES B              PO BOX 247                                                                          DAYTON            WY 82836‐0247
STUART, JAMES C              501 RICOLD TER                                                                      PORT CHARLOTTE    FL 33954‐2177
STUART, JAMES H              6405 S CAMERON AVEUE                                                                TAMPA             FL 3316‐1603
STUART, JAMES L              PO BOX 2878                                                                         INGLEWOOD         CA 90305‐0878
STUART, JAMES W              6964 SAND HILL RD                                                                   AKRON             NY 14001‐9712
STUART, JAMES W              2096 ORR RD                                                                         CUMMING           GA 30041‐6866
STUART, JANIS L              704 S MANITOU TRL                                                                   LAKE LEELANAU     MI 49653‐9587
STUART, JEAN M               4465 S WINN RD                                                                      MT PLEASANT       MI 48858‐9634
STUART, JERRY N              8662 GLYBORNE CT                                                                    ORLANDO           FL 32825‐8439
STUART, JOAN S               4503 HAMLETS GROVE DRIVE                                                            SARASOTA          FL 34235‐2233
STUART, JOHN A               5508 W AUTUMN SPRINGS CT                                                            MUNCIE            IN 47304‐6709
STUART, JOHN D               704 S MANITOU TRL                                                                   LAKE LEELANAU     MI 49653‐9587
STUART, JOHN R               3778 PENINSULAR SHORES DR                                                           GRAWN             MI 49637‐9725
STUART, JR., JAMES WILLIAM   2096 ORR ROAD                                                                       CUMMING           GA 30041‐6866
STUART, JULIE A              5743 DALTON DR                                                                      FARMINGTON        NY 14425‐9328
STUART, KATHLEEN K           335 HAMMOND DR NE APT 216                                                           SANDY SPRINGS     GA 30328‐5003
STUART, KEITH J              RT 2 BOX 12                                                                         ATLANTA           MI 49709
STUART, KELLY E              14660 TRAVIS STREET           BLDG 22 APT 22201                                     OVERLAND PARK     KS 66223
STUART, LAWRENCE             1603 GLENN ST SW APT 4                                                              DECATUR           AL 35603‐2544
STUART, LAWRENCE F           1900 HENBERT RD                                                                     W BLOOMFIELD      MI 48324‐1036
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Name                 Address1                         Address2                    Address3   Address4              City               State Zip
STUART, LEE P        13019 RT.#38                                                                                  MARTVILLE           NY 13111
STUART, LINDA        405 WESTMINSTER DR                                                                            NOBLESVILLE         IN 46060‐4247
STUART, LONNIE D     402 N MERCER ST                                                                               DURAND              MI 48429‐1336
STUART, LORA L       109 S CAROLINE AVE                                                                            BELLFLOWER          MO 63333‐1601
STUART, LORA L       109 SOUTH CAROLINE AVENUE                                                                     BELLFLOWER          MO 63333‐1601
STUART, LYLLE R      PO BOX 226                                                                                    SPENCER             OH 44275
STUART, MARILYN J    327 SOUTH ST                                                                                  LOCKPORT            NY 14094‐3938
STUART, MARILYN L    4071 E HIGGINS LAKE DR                                                                        ROSCOMMON           MI 48653‐9370
STUART, MARLENE H    2952 MEISNER AVE                                                                              FLINT               MI 48506‐2434
STUART, MARY K       C/O JOYCE SKEEN 1037 E WINDSOR                                                                PROVO               UT 84604
STUART, MARY M       403 1ST ST                                                                                    ROCHESTER           MI 48307‐2605
STUART, MELTON W     4121 A PL                                                                                     MERIDIAN            MS 39301‐1038
STUART, MICHAEL R    51300 MICHIGAN AVE. LOT #89                                                                   BELLEVILLE          MI 48111
STUART, MICHAEL R    2610 ALPHA WAY                                                                                FLINT               MI 48506‐1831
STUART, MONTE L      1900 W CANDOR DR                                                                              MARION              IN 46952‐8629
STUART, PATRICIA M   492 ATLANTA ST                                                                                SAGINAW             MI 48604‐2243
STUART, PAUL S       417 LARKSPUR DR                                                                               JOPPA               MD 21085‐4335
STUART, PEGGY D.     1913 FLORIDA DR                                                                               XENIA               OH 45385‐4525
STUART, QUARRY       CONSUMER LEGAL SERVICES PC       4707 W GANDY BLVD STE 8                                      TAMPA               FL 33611‐3310
STUART, RALPH E      4480 VALLEY VIEW AVE                                                                          HAMBURG             NY 14075‐5337
STUART, RICHARD      3434 GINGER DR                                                                                HAUGHTON            LA 71037‐8843
STUART, RICHARD D    131 SHIAWASSEE RIVER DR                                                                       ADRIAN              MI 49221‐7720
STUART, RICHARD J    1701 GREENWAY DR                                                                              ANDERSON            IN 46011‐1132
STUART, RICHARD W    164 BEACON HILL RD                                                                            MORGANVILLE         NJ 07751‐4281
STUART, RIKKI        15 FOX GROVE DR                                                                               HAMPTON             VA 23664‐1729
STUART, ROBERT B     3271 BRITTON RD                                                                               PERRY               MI 48872‐9706
STUART, ROBERT G     431 TURNBERRY CT                                                                              AVON                IN 46123‐8401
STUART, ROBERT H     510 PINE ST                                                                                   CAMDEN              IN 29020‐2716
STUART, ROBERT L     4459 1ST ST                                                                                   PORT HOPE           MI 48468‐7701
STUART, ROBERT P     4086 WOODBRIDGE DR                                                                            LANSING             MI 48911‐2724
STUART, ROBERTA A    920 APPLE ST                                                                                  GREENFIELD          IN 46140‐1389
STUART, RODERIC J    324 MADISON BOX 706                                                                           PERRY               MI 48872
STUART, ROLAND L     1507 S CEDAR AVE                                                                              INDEPENDENCE        MO 64052‐2138
STUART, SCOTT B      5984 CAMEOS CRES                                                        WINDSOR ONTARIO
                                                                                             CANADA N9J‐3N3
STUART, SCOTT B.     5984 CAMEOS CRES                                                        LASALLE ON N9J 3N3
                                                                                             CANADA
STUART, SHERI L      APT 390                          11660 CHURCH STREET                                          RCH CUCAMONGA      CA   91730‐8940
STUART, SHERI L      11660 CHURCH ST APT 390                                                                       RANCHO CUCAMONGA   CA   91730‐8940
STUART, SHERRY E     6025 GENTRY WOODS DR                                                                          DAYTON             OH   45459‐1154
STUART, SHIRLEY      191 MYSTIC LN                                                                                 ROCHESTER          NY   14623‐5424
STUART, SHIRLEY      191 MYSTIC LANE                                                                               ROCHESTER          NY   14623‐5424
STUART, SHIRLEY B    PO BOX 226                                                                                    SPENCER            OH   44275
STUART, STEVEN L     1270 S 2500 W                                                                                 SYRACUSE           UT   84075‐6960
STUART, THOMAS A     2030 N 77TH TER                                                                               KANSAS CITY        KS   66109‐2202
STUART, THOMAS J     5762 FRANKLIN DR                                                                              GIBSONIA           PA   15044‐9459
STUART, TIMOTHY L    6025 GENTRY WOODS DR                                                                          DAYTON             OH   45459‐1154
STUART, TOM          2298 WAHL ST                                                                                  PACIFIC            MO   63069‐6304
STUART, TOMMY L      1872 W HUNTSVILLE RD                                                                          PENDLETON          IN   46064‐9095
STUART, WILLA B      C/O FAMILY SERVICE AGENCY        1422 WEST COURT STREET                                       FLINT              MI   48503
STUART, WILLA B      1422 W COURT ST                  C/O FAMILY SERVICE AGENCY                                    FLINT              MI   48503‐5008
STUART, WILLIAM A    3700 W VASSAR RD                                                                              REESE              MI   48757‐9349
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Name                        Address1                            Address2                       Address3   Address4             City               State Zip
STUART, WILLIAM J           1350 FAIRWAY DR                                                                                    BIRMINGHAM          MI 48009‐1808
STUART, WILLIAM K           1808 LINDALE RD                                                                                    ANDERSON            SC 29621‐3810
STUART, WILLIAM P           2215 18TH AVE                                                                                      S MILWAUKEE         WI 53172‐2303
STUART, WILMA L             745 CRAWFORD ST                                                                                    FLINT               MI 48507‐2460
STUART, YOLANDA             150 N LEAMINGTON AVE                                                                               CHICAGO              IL 60644‐3406
STUART,D A INC              43 UPTON RD                                                                   SCARBOROUGH ON M1L
                                                                                                          2C1 CANADA
STUART‐HAMM, DAISIE MARIE   PO BOX 155                                                                                         BEAVERTON          MI   48612‐0155
STUART/ROBIN SLAVIN         4470 NANTUCKET RD                                                                                  HARRISBURG         PA   17112
STUBA, WILLIAM M            43166 MIDDLE BEAVER RD                                                                             LISBON             OH   44432‐9537
STUBAN MIKE (413699)        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510
                                                                STREET, SUITE 600
STUBAN, MIKE                GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510‐2212
                                                                STREET, SUITE 600
STUBBE, EDWARD G            321 S DOUSMAN ST                                                                                   PRAIRIE DU CHIEN   WI   53821
STUBBENDICK, DANIEL D       1200 ELIDA ST                                                                                      JANESVILLE         WI   53545‐1808
STUBBENDICK, DEAN R         1514 ROYAL OAKS DR                                                                                 JANESVILLE         WI   53548‐1479
STUBBENDICK, EDWIN L        228 N PEARL ST                                                                                     JANESVILLE         WI   53548‐3557
STUBBERFIELD, WYTCH         PO BOX 721                                                                                         RIDGELAND          MS   39158‐0721
STUBBERS, RUTH T            3875 COOPER RD                                                                                     CINCINNATI         OH   45241‐3326
STUBBERT, MICHAEL A         4290 BALDWIN RD                                                                                    LAINGSBURG         MI   48848‐9718
STUBBERT, SUSAN H           12259 WOODLINE DR                                                                                  FENTON             MI   48430‐3515
STUBBINS, FLORENCE L        3601 STONECREEK CIR                                                                                JEFFERSONVILLE     IN   47130‐8051
STUBBINS, FLORENCE L        3601 STONE CREEK CIRCLE                                                                            JEFFERSONVILLE     IN   47130‐7130
STUBBINS, JOHN              472 GUNDER DR                                                                                      ROCHESTER HILLS    MI   48309‐1235
STUBBLEFIELD LESLIE         2712 MEADOW PARK DR                                                                                BEDFORD            TX   76021‐4720
STUBBLEFIELD, ALICE LEE     5721 RIO DE JANEIRO CIR                                                                            N RICHLAND HLS     TX   76180‐6115
STUBBLEFIELD, ALNETA P      PO BOX 201                                                                                         CORNING            AR   72422‐0201
STUBBLEFIELD, BOBBY N       9701 MIRAFIELD TRL                                                                                 EVART              MI   49631‐7304
STUBBLEFIELD, BRIAN D       7125 ELIZABETH LAKE RD                                                                             WATERFORD          MI   48327‐3726
STUBBLEFIELD, BRUCE D       1168 HIGHWAY 3 N                                                                                   HAMPTON            GA   30228‐2052
STUBBLEFIELD, CARL E        8485 US HIGHWAY 441 SE LOT 26                                                                      OKEECHOBEE         FL   34974‐9518
STUBBLEFIELD, DANIEL C      600 E MAIN ST                                                                                      ODESSA             MO   64076‐1204
STUBBLEFIELD, ELIZABETH     3489 MONTCLAIR ST                                                                                  DETROIT            MI   48214‐2148
STUBBLEFIELD, ETHL          1608 ARCHER ST                                                                                     POCAHONTAS         AR   72455‐3201
STUBBLEFIELD, ETHL          1608 ARCHER STREET                                                                                 POCAHONTAS         AR   72455‐3201
STUBBLEFIELD, GARY D        345 FLORAWOOD BLVD                                                                                 WATERFORD          MI   48327‐2432
STUBBLEFIELD, GINA M        7809 BRIDGE RD                                                                                     WATERFORD          MI   48329
STUBBLEFIELD, GINA MARIE    7809 BRIDGE RD                                                                                     WATERFORD          MI   48329
STUBBLEFIELD, HUSTON I      GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                   SAGINAW            MI   48604‐2602
                                                                260
STUBBLEFIELD, JERRY L       1551 RICHMOND WAY                                                                                  LAWRENCEVILLE      GA   30043‐5714
STUBBLEFIELD, JERRY L       26 MUSKOKA DR                                                                                      AKRON              OH   44319‐3059
STUBBLEFIELD, JOE P         5544 W COLUMBIA RD                                                                                 MASON              MI   48854‐9556
STUBBLEFIELD, JOHN W        111 PORTER AVE APT 201                                                                             BUFFALO            NY   14201‐1025
STUBBLEFIELD, KENNETH W     1501 SINGLETON COURT                                                                               HASLET             TX   76052‐2220
STUBBLEFIELD, KEVIN M       1461 VINEWOOD ST                                                                                   AUBURN HILLS       MI   48326‐1654
STUBBLEFIELD, LEIGH E       48167 SONNY DR                                                                                     MACOMB             MI   48044
STUBBLEFIELD, LISA          BOX 453                                                                                            CHARLESTON         AR   72933‐0453
STUBBLEFIELD, LISA          PO BOX 453                          BOX 453                                                        CHARLESTON         AR   72933‐0453
STUBBLEFIELD, LUNA M        4723 HARTEL RD LOT 52                                                                              POTTERVILLE        MI   48876‐9751
STUBBLEFIELD, MARK A        607 HIGHWAY 99                                                                                     LEWISBURG          TN   37091‐6662
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Name                           Address1                       Address2              Address3       Address4         City                  State Zip
STUBBLEFIELD, MARY M           345 FLORAWOOD BLVD                                                                   WATERFORD              MI 48327‐2432
STUBBLEFIELD, MILAN J          5455 SONNEFIELD CT                                                                   INDIANAPOLIS           IN 46224‐7108
STUBBLEFIELD, NICHOLAS A       3411 N MAIN ST                                                                       ROYAL OAK              MI 48073‐2603
STUBBLEFIELD, NINA G           1133 SW 39TH ST                                                                      OKLAHOMA CITY          OK 73109‐3005
STUBBLEFIELD, NORMA P.         PO BOX 234                                                                           FENTON                 MI 48430
STUBBLEFIELD, PATRICIA M       1301 SHEPPARD RD                                                                     BURKBURNETT            TX 76354‐3317
STUBBLEFIELD, RANDY E          1939 WENTZVILLE PKWY APT 214                                                         WENTZVILLE             MO 63385
STUBBLEFIELD, RANDY EDWARD     1939 WENTZVILLE PKWY APT 214                                                         WENTZVILLE             MO 63385
STUBBLEFIELD, RICK A           1347 CENTERVILLE HWY                                                                 HOHENWALD              TN 38462‐5460
STUBBLEFIELD, ROBERT           7871 EAMES CT                                                                        CLARKSTON              MI 48348‐3823
STUBBLEFIELD, ROBERT J         645 POINTE LN 7                                                                      LAFAYETTE              TN 37083
STUBBLEFIELD, RUKIYA A         3459 EDISON ST                                                                       DETROIT                MI 48206‐1817
STUBBLEFIELD, SHIRLEY M        803 MAPLEWOOD DRIVE                                                                  MONROE                 LA 71202‐2362
STUBBLEFIELD, STEVEN M         10878 SHADY REST RD                                                                  OIL CITY               LA 71061‐8742
STUBBLEFIELD, STEVEN MICHAEL   10878 SHADY REST RD                                                                  OIL CITY               LA 71061‐8742
STUBBLEFIELD, THOMAS E         6565 MIDWAY AVE                                                                      TROTWOOD               OH 45427‐2307
STUBBLES, GEORGE W             1631 NATHANIEL MITCHELL RD                                                           DOVER                  DE 19904‐7013
STUBBLES, MARION I             242 AUCKLAND DRIVE                                                                   NEWARK                 DE 19702‐6209
STUBBLES, PATRICIA             220 ROCKLAWN AVE                                                                     DANVILLE               VA 24540‐2748
STUBBS BILL & BEVERLY          2023 GLADSTONE DR                                                                    WHEATON                 IL 60189‐5825
STUBBS BRENDA                  1461 PENDLETON ST                                                                    MEMPHIS                TN 38114‐3325
STUBBS IV, LUTHER              740 MILLER ST                                                                        YOUNGSTOWN             OH 44502‐2327
STUBBS JACK                    3019 ENGLISH MANOR LN                                                                BUFORD                 GA 30519‐9220
STUBBS JONATHAN                1545 S SUNSET DR                                                                     TACOMA                 WA 98465‐1236
STUBBS JR, HUBERT L            7040 GRACE ANN LN                                                                    SHREVEPORT             LA 71107‐9280
STUBBS JR, HUBERT LEON         7040 GRACE ANN LN                                                                    SHREVEPORT             LA 71107‐9280
STUBBS JR, LUTHER T            3809 RED BUD LN                                                                      KOKOMO                 IN 46902
STUBBS JR, MARVIN C            4737 COUNTRYSIDE DR                                                                  FLOWERY BRANCH         GA 30542‐3675
STUBBS JR, WILLIAM H           6715 HIDDEN BROOK TRL                                                                COLLEGE PARK           GA 30349‐4448
STUBBS PRINTING INC            267 E ORVIS ST                                                                       MASSENA                NY 13662‐2255
STUBBS TRAWICK                 PO BOX 1654                                                                          NEW BERN               NC 28563‐1654
STUBBS, AARON P                4327 ARDMORE DR                                                                      BLOOMFIELD TOWNSHIP    MI 48302‐2105
STUBBS, ADDIE L                14897 PINEHURST                                                                      DETROIT                MI 48238‐1626
STUBBS, ADELYNA A              735 AMBERWOOD ST                                                                     AUBURN HILLS           MI 48326‐1135
STUBBS, ADELYNA A              735 AMBERWOOD                                                                        AUBURN HILLS           MI 48326‐1135
STUBBS, ANTHONY                4750 SHERRILLS FORD ROAD                                                             SALISBURY              NC 28147‐7543
STUBBS, ANTHONY S              1340 DRYDEN AVE                                                                      YOUNGSTOWN             OH 44505‐3735
STUBBS, APRIL K                12744 LONGACRE ST                                                                    DETROIT                MI 48227‐1223
STUBBS, BARBARA J              1942 HAVERHILL RD                                                                    CLEVELAND              OH 44112‐1524
STUBBS, BETH A                 62 PHOEBE FARMS LN                                                                   NEW CASTLE             DE 19720‐8770
STUBBS, BETTY A                14701 JAMES AVE                                                                      MAPLE HEIGHTS          OH 44137‐4117
STUBBS, BEVERLY S              PO BOX 7026                                                                          KOKOMO                 IN 46904‐7026
STUBBS, BRENDA J               PO BOX 25610                                                                         YUMA                   AZ 85367‐0610
STUBBS, CAROLYN                8202 CASTLE DR                                                                       INDIANAPOLIS           IN 46256
STUBBS, CHARLES W              14384 LIMERICK LN              BOX 161                                               SOMERSET               MI 49281‐0161
STUBBS, CHARLES W              PO BOX 161                     14384 LIMERICK LANE                                   SOMERSET               MI 49281‐0161
STUBBS, CHRISTOPHER R          PO BOX 25610                                                                         YUMA                   AZ 85367‐0610
STUBBS, D F                    2850 MARKET PLACE DR           B120                                                  LITTLE CANADA          MN 55117
STUBBS, DONNA N                2627 BERTHA AVENUE                                                                   FLINT                  MI 48504‐2372
STUBBS, DONYEA M               62 PHOEBE FARMS LN                                                                   NEW CASTLE             DE 19720‐8770
STUBBS, DORIS                  2298 S DUPONT BLVD                                                                   SMYRNA                 DE 19977‐1815
STUBBS, DORIS M                2298 S DUPONT BLVD                                                                   SMYRNA                 DE 19977‐1815
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Name                         Address1                             Address2                      Address3   Address4         City               State Zip
STUBBS, DORIS M              2298 SOUTH DUPONT BLVD.                                                                        SMYRNA              DE 19977‐1815
STUBBS, DOROTHY L            PO BOX 310711                                                                                  FLINT               MI 48531
STUBBS, DWAYNE L             8202 CASTLE DR                                                                                 INDIANAPOLIS        IN 46256‐1507
STUBBS, GARY R               12814 W 57TH TER                                                                               SHAWNEE             KS 66216‐1611
STUBBS, GEORGE T             683 OLIVER SPRINGS HWY                                                                         CLINTON             TN 37716‐5361
STUBBS, H B CO               27027 MOUND RD                                                                                 WARREN              MI 48092‐2615
STUBBS, H B CO               ATTN: CORPORATE OFFICER/AUTHORIZED   27027 MOUND RD                                            WARREN              MI 48092‐2699
                             AGENT
STUBBS, HENRY                491 CRANDALL AVE                                                                               YOUNGSTOWN         OH   44504‐1459
STUBBS, JASON K              14063 NANSEMOND DR                                                                             CARMEL             IN   46032‐1285
STUBBS, JEAN L               42539 ELDON AVE                                                                                CLINTON TOWNSHIP   MI   48038‐1720
STUBBS, JOHN                 801 2ND AVE                                                                                    PLEASANT GROVE     AL   35127‐1845
STUBBS, JUANITA R            8625 BOOMERSHINE RD.                                                                           GERMANTOWN         OH   45327‐9754
STUBBS, KENNETH C            434 VANIMAN AVE                                                                                TROTWOOD           OH   45426‐2552
STUBBS, KEVIN M              26773 S RIVER PARK DR                                                                          INKSTER            MI   48141‐1851
STUBBS, KIMBERLY L           423 FIDDLERS GRN                                                                               DOVER              DE   19904‐4814
STUBBS, LARRY E              202 MCCRIMMON RD                                                                               FITZGERALD         GA   31750‐8343
STUBBS, LEONARD G            3038 NE BROGDEN ST                                                                             HILLSBORO          OR   97124‐6710
STUBBS, LISA                 1504 SW 93RD ST                                                                                OKLAHOMA CITY      OK   73159‐7110
STUBBS, LOUISE               12744 LONGACRE ST                                                                              DETROIT            MI   48227‐1223
STUBBS, LUBA H               29040 BOCK ST                                                                                  GARDEN CITY        MI   48135
STUBBS, MARTHENA             252 ALPHONSE ST                                                                                ROCHESTER          NY   14621‐4819
STUBBS, MAX J.               GORI JULIAN & ASSOCIATES P C         156 N MAIN ST                                             EDWARDSVILLE       IL   62025
STUBBS, MIA F                3431 QUAIL HIGH BLVD                                                                           MORRISVILLE        NC   27560‐7016
STUBBS, MICHAEL J            12229 DENTONVIEW DR                                                                            FENTON             MI   48430‐2505
STUBBS, PATRICIA A           780 S VENOY RD                                                                                 WESTLAND           MI   48186‐4893
STUBBS, PATRICIA A           1829 HOLLANDALE DR                                                                             BENSALEM           PA   19020
STUBBS, PHILLIP W            347 SUMMIT ST                                                                                  LEBANON            OH   45036‐1947
STUBBS, RABBEN B             6902 MILAM LN                                                                                  ARLINGTON          TX   76002‐5105
STUBBS, RALPH                PORTER & MALOUF PA                   4670 MCWILLIE DR                                          JACKSON            MS   39206‐5621
STUBBS, RICARDO              1111 LOCHHEAD AVE                                                                              FLINT              MI   48507‐2803
STUBBS, ROBERT E             5636 MYERS RD                                                                                  TERRY              MS   39170‐9496
STUBBS, ROBERT J             8202 CASTLE DR                                                                                 INDIANAPOLIS       IN   46256‐1507
STUBBS, ROBERT T             28763 ALVIN ST                                                                                 GARDEN CITY        MI   48135‐2785
STUBBS, ROGER A              8161 ROAD 503 SOUTH                                                                            CAMDEN             OH   45311
STUBBS, RONALD               386 MONTEREY ST                                                                                HIGHLAND PARK      MI   48203‐3424
STUBBS, ROSEMARY             4381 TONAWANDA TRAIL                                                                           DAYTON             OH   45430‐5430
STUBBS, SAMUEL               828 BISHOP ST                                                                                  MILFORD            MI   48381‐1708
STUBBS, SANDRA MARIA         2110 CASTLE LN                                                                                 FLINT              MI   48504‐2098
STUBBS, SHARLIE A            2677 REXFORD RD                                                                                YOUNGSTOWN         OH   44511‐2129
STUBBS, SHERYL A             110 WATEREE DR                                                                                 SANTEE             SC   29142
STUBBS, STEVEN R             612 NE 44TH TER                                                                                KANSAS CITY        MO   64116‐1858
STUBBS, TONI YVETTE          30805 HELMANDALE DR                                                                            FRANKLIN           MI   48025‐1557
STUBBS, WALTER J             LOWR                                 6732 EDNA AVENUE                                          CLEVELAND          OH   44103‐1547
STUBBS, WILLIAM L            11917 YORKSHIRE                                                                                RICHLAND           MI   49083‐9618
STUBE                        PO BOX 347307                                                                                  PITTSBURGH         PA   15251‐4307
STUBE, ALBERT J              18002 N CONQUISTADOR DR                                                                        SUN CITY WEST      AZ   85375‐5120
STUBEN, JANE H               724 HIDDEN CREEK DR                                                                            SOUTH LYON         MI   48178‐2525
STUBENHOFER JAMES (459372)   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                  STREET, SUITE 600
STUBENHOFER, JAMES           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                  STREET, SUITE 600
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Name                           Address1                         Address2                      Address3                    Address4             City              State Zip
STUBENRAUCH, WALTER R          14640 APPLEWAY CT                                                                                               SHELBY TWP         MI 48315‐4319
STUBENVOLL, GRETCHEN M         53084 PROVIDENCE DR                                                                                             SHELBY TWP         MI 48316‐2609
STUBENVOLL, ROBERT K           4780 RAAP RD                                                                                                    BRUCE TWP          MI 48065‐3532
STUBENVOLL, WINIFRED           977 WEXFORD WAY                                                                                                 ROCHESTER HILLS    MI 48307‐2977
STUBER SAMUEL                  STUBER, SAMUEL                   RICHARD GILARDI               THE BENEDUM TREES                                PITTSBURGH         PA 15222
                                                                                              BUILDING, TENTH FLOOR 223
                                                                                              FOURTH AVENUE
STUBER, DONALD J               423 SOUTH SQUIRE STREET                                                                                         HOLGATE           OH   43527‐9744
STUBER, DOROTHY M              373 LAKEWOOD PKWY                                                                                               SNYDER            NY   14226‐4008
STUBER, EDDIE L                7186 S 150 E                                                                                                    PERU              IN   46970‐7830
STUBER, JAROLD L               1087 S LAKE VALLEY DR                                                                                           FENTON            MI   48430‐1243
STUBER, JEFFREY D              781 SPRINGFIELD DR                                                                                              NORTHVILLE        MI   48167‐1031
STUBER, JOHN R                 8110 LAKEMONT CLOSE                                                                                             MCDONOUGH         GA   30253‐8503
STUBER, LINDA J.               5686 BROADVIEW RD APT 2329                                                                                      PARMA             OH   44134‐1646
STUBER, MARY S                 127 TURQUOISE DR                                                                                                CORTLAND          OH   44410‐1908
STUBER, ROBERT G               7024 AUTUMN WOOD DR                                                                                             BRIGHTON          MI   48116‐8288
STUBER, RUTH B.                RT 1 2320 RD.18B                                                                                                CONTINENTAL       OH   45831‐9758
STUBER, SAMUEL
STUBIN, GEORGETTE L            46917 POLO DR                                                                                                   CANTON            MI   48187‐1687
STUBING, ALAN H                111 SCHOONER BEND AVE                                                                                           SUMMERVILLE       SC   29483‐5386
STUBINGER, JOHN R              228 RED ROCK RD                                                                                                 ROCHESTER         NY   14626‐3180
STUBITS, ALICE T               309 CEDARVIEW CT                                                                                                HILLSBORO         MO   63050‐3562
STUBITS, LILLIAN MAY           3004 INDIANA AVE                                                                                                GRANITE CITY      IL   62040‐3532
STUBITS, LILLIAN MAY           3004 INDIANA                                                                                                    GRANITE CITY      IL   62040‐3532
STUBLER, DAVID W               4615 N 111TH ST                                                                                                 KANSAS CITY       KS   66109‐4744
STUBLER, KATHRYN K.            4400 W 115TH ST APT 407                                                                                         LEAWOOD           KS   66211‐2691
STUBLER, KATHRYN K.            4400 WEST 115TH ST. APT. 407                                                                                    LEAWOOD           KS   66211‐2691
STUBLER, LEE T                 4617 SHERIDAN RD                                                                                                YOUNGSTOWN        OH   44514‐1128
STUBLER, RAYMOND G             902 NE 180TH ST                                                                                                 SMITHVILLE        MO   64089‐8744
STUBLESKI SR., DONALD E        7528 NOTTINGHAM ST                                                                                              LAMBERTVILLE      MI   48144‐9504
STUBLESKI SR., DONALD EUGENE   7528 NOTTINGHAM ST                                                                                              LAMBERTVILLE      MI   48144‐9504
STUBY, DONALD
STUCCHI, ROBERT N              453 POTTER RD                                                                                                   FRAMINGHAM        MA 01701‐3301
STUCH BERNHARD                 WINZERSTR 62                                                                               53129 BONN GERMANY
STUCHELL LEEANN                JOHNSON, ORLANDO
STUCHELL LEEANN                STUCHELL, LEEANN
STUCHELL, FRANCES M            23507 WOODSHIRE CT                                                                                              NOVI              MI   48375‐3781
STUCHELL, MICHAEL W            252 W SAINT CLAIR ST                                                                                            ROMEO             MI   48065‐4661
STUCHLY, JERRY F               4711 BONNEVILLE DR                                                                                              ARLINGTON         TX   76016‐1705
STUCK DALE (459373)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                    NORFOLK           VA   23510
                                                                STREET, SUITE 600
STUCK RONALD P (484893)        GEORGE & SIPES                   151 N DELAWARE ST             STE 1700                                         INDIANAPOLIS      IN 46204‐2503
STUCK, DALE                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                    NORFOLK           VA 23510‐2212
                                                                STREET, SUITE 600
STUCK, ERICA E                 12970 ROBINS RIDGE RD                                                                                           CHARLEVOIX        MI   49720‐8974
STUCK, GORDON R                9950 E TECUMSEH RD                                                                                              NORMAN            OK   73026‐5980
STUCK, JEANETTE E              4900 TELEGRAPH RD APT 125                                                                                       VENTURA           CA   93003‐4101
STUCK, JOHN H                  2397 FIELDS AVE.                                                                                                KETTERING         OH   45420‐3431
STUCK, MARY F                  9476 ARBORIDGE LANE                                                                                             MIAMISBURG        OH   45342‐5266
STUCK, NORMAN R                3782 M‐65                                                                                                       TURNER            MI   48765
STUCK, PATRICIA A              849 COMMONWEALTH ST                                                                                             SAGINAW           MI   48604‐1105
STUCK, PATTY L                 WISE & JULIAN                    156 N MAIN ST STOP 1                                                           EDWARDSVILLE      IL   62025‐1972
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Name                           Address1                      Address2                       Address3   Address4         City              State Zip
STUCK, PATTY L                 ICO THE LANIER LAW FIRM PC    6810 FM 1960 WEST                                          HOUSTON            TX 77069
STUCK, ROBERTA                 2001 S XXX RD                                                                            CHOCTAW            OK 73020
STUCK, RONALD P                GEORGE & SIPES                151 N DELAWARE ST STE 1700                                 INDIANAPOLIS       IN 46204‐2503
STUCK, TIMOTHY R               2201 VALE DR.                                                                            KETTERING          OH 45420‐5420
STUCK, TIMOTHY R               2201 VALE DR                                                                             KETTERING          OH 45420‐3554
STUCKART DOROTHY FOR LOSS OF   C/O HAROWITZ & TIGERMAN LLP   450 SANSOME STREET 3RD FLOOR                               SAN FRANCISCO      CA 94111‐3311
CONSORTIUM
STUCKART, KEVIN                C/O HAROWITZ & TIGERMAN LLP   450 SANSOME STREET 3RD FLOOR                               SAN FRANCISCO     CA    94111‐3311
STUCKER JR, MICHAEL L          392 BRIDLE LANE SOUTH                                                                    DAYTON            OH    45449‐2118
STUCKER, ALAN D                214 BROWNE DR                                                                            HASKINS           OH    43525‐9527
STUCKER, BETTY J.              1401 E STOP 10 RD                                                                        INDIANAPOLIS      IN    46227‐5936
STUCKER, DAVID L               1016 DUCKERS RD                                                                          MIDWAY            KY    40347
STUCKER, KURT M                4195 E 500 N                                                                             FRANKLIN          IN    46131‐7984
STUCKERT, ESTHER M             101 COLD SPRINGS CT                                                                      ALLEN             TX    75002‐0602
STUCKETT, EDGAR W              5248 PHEASANT RUN DR APT 3                                                               SAGINAW           MI    48638‐6354
STUCKEY JR, IVAN F             6501 TAYLORSVILLE RD.                                                                    HUBER HEIGHTS     OH    45424‐3161
STUCKEY, BRANDI SHERELL        1614 EDENTON DR                                                                          FORT WAYNE        IN    46804‐5820
STUCKEY, BRANDON CHARLES       1614 EDENTON DR                                                                          FORT WAYNE        IN    46804‐5820
STUCKEY, BRIAN A               15141 CHIPPEWA ST                                                                        DETROIT           MI    48235‐1658
STUCKEY, BRIAN S               519 E PHELPS CT                                                                          GILBERT           AZ    85295‐1594
STUCKEY, CHRISTIAN J           5195 STATE ROUTE 15                                                                      NEY               OH    43549‐9715
STUCKEY, CHRISTIAN JAMES       5195 STATE ROUTE 15                                                                      NEY               OH    43549‐9715
STUCKEY, DEBRA K               11818 BELLE CT                                                                           PINEHURST         TX    77362
STUCKEY, DONALD R              PO BOX 3441                                                                              SAGINAW           MI    48605‐3441
STUCKEY, EDDIE J               1410 S 17TH ST                                                                           SAGINAW           MI    48501‐2224
STUCKEY, EDWARD                18466 PARKSIDE ST                                                                        DETROIT           MI    48221‐2207
STUCKEY, ELIZA M               855 S 13TH ST                                                                            SAGINAW           MI    48601‐2206
STUCKEY, GARY A                8942 DELWOOD DR                                                                          FREELAND          MI    48623‐9705
STUCKEY, GLORIA J              G5084 JUDITH ANN DR                                                                      FLINT             MI    48504
STUCKEY, GRAYDON D             7518 DRIFTWOOD DR                                                                        FENTON            MI    48430‐4314
STUCKEY, GYSILLA C             2314‐A JIM STOKES COURT                                                                  ALBANY            GA    31721‐2056
STUCKEY, GYSILLA C             2314 JIM STOKES CT APT A                                                                 ALBANY            GA    31721‐2210
STUCKEY, HARRY                 108 PECKHAM AVE                                                                          ISLIP             NY    11751‐2425
STUCKEY, HARRY A               294 ROGERS AVE                                                                           TONAWANDA         NY    14150‐5239
STUCKEY, IRENE                 5210 MONTCLAIR ST                                                                        DETROIT           MI    48213‐3480
STUCKEY, IVAN F                480 DELAWARE ST                                                                          WESTERVILLE       OH    43081‐2759
STUCKEY, IVAN F                480 DELAWARE COURT                                                                       WESTERVILLE       OH    43081‐3081
STUCKEY, JAMES                 PO BOX 234                                                                               CARROLLTON        MI    48724‐0234
STUCKEY, JAMES C               PO BOX 717                                                                               SWARTZ            LA    71281‐0717
STUCKEY, JAMES E               4201 WILLOW RD                                                                           WILSON            NY    14172‐9712
STUCKEY, JAMES P               3100 AURELIUS RD                                                                         LANSING           MI    48910‐4834
STUCKEY, JAY N                 9023 BACK CREEK VALLEY RD                                                                HEDGESVILLE       WV    25427‐3027
STUCKEY, JESSE L               401 SE 12TH CT                                                                           FORT LAUDERDALE   FL    33316
STUCKEY, JOHN W                908 HEES CT                                                                              DEFIANCE          OH    43512‐3145
STUCKEY, JOSEPH E              5010 WINNEBAGO DR                                                                        INDIANAPOLIS      IN    46241‐5879
STUCKEY, KORRIE A              1859 RUSSELL AVENUE                                                                      E SAINT LOUIS      IL   62207‐2154
STUCKEY, LORETTA               11569 NEW HOPE DR                                                                        CINCINNATI        OH    45240‐2109
STUCKEY, MARK A                1026 SUMMERHILL DR                                                                       JANESVILLE        WI    53546‐3727
STUCKEY, MARLENE S             4201 WILLOW RD                                                                           WILSON            NY    14172‐9712
STUCKEY, MARY                  APT 378                       1805 SOUTH BALSAM STREET                                   LAKEWOOD          CO    80232‐6781
STUCKEY, MICHAEL A             RR 6                                                                                     DEFIANCE          OH    43512
STUCKEY, MICHAEL ALLEN         RR 6                                                                                     DEFIANCE          OH    43512
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Name                                Address1                        Address2           Address3         Address4         City               State Zip
STUCKEY, MILA R                     120 BROOM RD                                                                         SPARTA              TN 38583‐3849
STUCKEY, SHIRLEY                    1003 PERRY ST                                                                        SANDUSKY            OH 44870‐3724
STUCKEY, SHIRLEY A                  3245 BUNDY ST                                                                        SAGINAW             MI 48601‐4711
STUCKEY, SIMON P                    17484 HARRIS RD                                                                      DEFIANCE            OH 43512‐8097
STUCKEY, SIMON PHILLIP              17484 HARRIS RD                                                                      DEFIANCE            OH 43512‐8097
STUCKEY, WANDA                      2430 S ROCKHILL AVE                                                                  ALLIANCE            OH 44601‐5420
STUCKEY‐DURHAM, KENNETH             5417 W HAZELWOOD ST                                                                  PHOENIX             AZ 85031‐1116
STUCKLESS, JOHN D                   28 HUDSON AVE                                                                        PONTIAC             MI 48342‐1243
STUCKLEY PAUL J (659096)            ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                     BETHLEHEM           PA 18018
STUCKLEY, PAUL J                    ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                     BETHLEHEM           PA 18018‐5737
STUCKMAN, LOWELL R                  2 BOSUNS CIR                                                                         SAVANNAH            GA 31411‐2725
STUCKO, SOPHIA D                    38 WEST AVE                                                                          ELBA                NY 14058‐9754
STUCKS CONNOLY                      1000 SILVER OAKS DR                                                                  EDMOND              OK 73025‐2002
STUCKWISCH, ROBERT W                5916 CEDAR SHORES DR LOT 48                                                          HARRISON            MI 48625‐8968
STUCKY MARGARET                     4415 MATTHEWS WEDDINGTON ROAD                                                        MATTHEWS            NC 28104‐9337
STUCKY, DANIEL J                    633 TABOR RD                                                                         GADSDEN             AL 35904‐3426
STUCKY, MARY                        152 BELLVUE                                                                          LAKE ORION          MI 48362‐2704
STUCKY, RICHARD J                   1261 RUGBY CIR                                                                       BLOOMFIELD HILLS    MI 48302‐0945
STUDABAKER, LARRY E                 5195E 300 S                                                                          BLUFFTON            IN 46714
STUDABAKER, RYAN E                  98 W WASHINGTON ST                                                                   PONETO              IN 46781‐5427
STUDABAKER, RYAN E.                 98 W WASHINGTON ST                                                                   PONETO              IN 46781‐5427
STUDAKER, CAROL A                   1026 COUTANT ST                                                                      FLUSHING            MI 48433‐1729
STUDAKER, CLIFFORD G                1026 COUTANT ST                                                                      FLUSHING            MI 48433‐1729
STUDDARD JIM                        965 SANDPIPER LN                                                                     ORANGE PARK         FL 32073‐5330
STUDDARD, CHRISTINE J               104 MEADOW SIDE CT.                                                                  CARROLLTON          GA 30116
STUDDARD, JAMES M                   104 MEADOW SIDE CT                                                                   CARROLLTON          GA 30116‐8833
STUDDARD, JAMES R                   965 SANDPIPER LN                                                                     ORANGE PARK         FL 32073‐5330
STUDDARD, JOHN M                    171 ROLLING DR                                                                       BOWLING GREEN       KY 42104‐7878
STUDDARD, MARION L                  1158 MEDFORD AVE                                                                     INDIANAPOLIS        IN 46222‐3038
STUDDARD, REBECCA A                 425 LONG PINEY RD                                                                    MANSFIELD           GA 30055
STUDEBAKER BUICK GMC                3200 E MAIN ST                                                                       RICHMOND            IN 47374‐5927
STUDEBAKER BUICK‐GMC TRUCKS, INC.   JERRY STUDEBAKER                3200 E MAIN ST                                       RICHMOND            IN 47374‐5927
STUDEBAKER BUICK‐PONTIAC‐GMC        3200 E MAIN ST                                                                       RICHMOND            IN 47374‐5927
TRUCKS
STUDEBAKER BUICK‐PONTIAC‐GMC        JERRY STUDEBAKER                3200 E MAIN ST                                       RICHMOND            IN   47374‐5927
TRUCKS, INC.
STUDEBAKER BUICK‐PONTIAC‐GMC        3200 E MAIN ST                                                                       RICHMOND            IN   47374‐5927
TRUCKS, INC.
STUDEBAKER JR, HARRY M              176 N JANESVILLE ST                                                                  MILTON             WI    53563‐1305
STUDEBAKER, ELIZABETH A             623 MARTIN DR                                                                        XENIA              OH    45385‐1617
STUDEBAKER, ELLIS H                 6314 ANDERSONVILLE RD                                                                WATERFORD          MI    48329‐1408
STUDEBAKER, GEORGE E                1310 E DECAMP ST                                                                     BURTON             MI    48529‐1218
STUDEBAKER, GEORGE ED               1310 E DECAMP ST                                                                     BURTON             MI    48529‐1218
STUDEBAKER, GERALDINE O             1310 E DECAMP ST                                                                     BURTON             MI    48529‐1218
STUDEBAKER, HARRY M                 176 N JANESVILLE ST                                                                  MILTON             WI    53563‐1305
STUDEBAKER, HAZEL A                 5401 NEWELL DR                                                                       KETTERING          OH    45440‐2850
STUDEBAKER, JAMES L                 PO BOX 191                                                                           AHMEEK             MI    49901‐0191
STUDEBAKER, JANICE M                1620 HORLACHER AVE.                                                                  KETTERING          OH    45420‐5420
STUDEBAKER, JON E                   5849 CEDAR LAKE RD                                                                   GLADWIN            MI    48624‐9292
STUDEBAKER, JUDITH A                6456 LAURA LN                                                                        FLINT              MI    48507‐4632
STUDEBAKER, KAREN L                 4455 NORTH RANGE LINE RD                                                             COVINGTON          OH    45318
STUDEBAKER, LORRAINE A              9045 E. BLUEWATER DR                                                                 CLARKSTON          MI    48348‐4255
                                     09-50026-mg              Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                                Address1                            Address2                      Address3   Address4                City             State Zip
STUDEBAKER, LORRAINE A              9045 E BLUEWATER DR                                                                                  CLARKSTON         MI 48348‐4255
STUDEBAKER, LOUISE M                110 S 4TH ST                                                                                         SWAYZEE           IN 46986‐9621
STUDEBAKER, MARION D                3614 W SIEBENTHALER AVE                                                                              DAYTON            OH 45406‐1536
STUDEBAKER, MITCHELL L              10710 E 84TH ST                                                                                      TULSA             OK 74133
STUDEBAKER, NELLIE M                4100 N. MORRISON RD                 ROOM 511                                                         MUNCIE            IN 47304
STUDEBAKER, ORA L                   206 N ELM DR                                                                                         ALEXANDRIA        IN 46001‐1029
STUDEBAKER, RICARDO E               949 WILLOWDALE AVENUE                                                                                DAYTON            OH 45429‐4754
STUDEBAKER, RICHARD L               PO BOX 338                                                                                           DAVISBURG         MI 48350‐0338
STUDEBAKER, RICKIE E                6 NORTHMOOR DR                                                                                       ARCANUM           OH 45304‐1414
STUDEBAKER, STEVEN D                2840 ELLEN LN                                                                                        BEAVERCREEK       OH 45430‐1929
STUDEBAKER, TERRI L                 7202 LOBDELL RD                                                                                      LINDEN            MI 48451‐8780
STUDEBAKER, THELMA L                1242 SKYLARK DR                                                                                      TROY              OH 45373‐1620
STUDEBAKER, TODD E                  1709 REDBUSH AVE                                                                                     DAYTON            OH 45420
STUDENSKI, KENNETH J                4601 KINGSLEY DR                                                                                     WARREN            MI 48092‐4602
STUDENSKI, REGINALD G               1946 CATLIN DR                                                                                       ROCHESTER         MI 48306‐4595
STUDENT ADVANTAGE INC               280 SUMMER ST                                                                                        BOSTON            MA 02210
STUDENT BUS CO.                                                         16 HOFFMAN ST                                                                      NY 10977
STUDENT ENGINEERS COUNCIL           302 WHITTEMORE HALL                                                                                  BLACKSBURG        VA 24060
STUDENT LEADERSHIP SERVICES INC     ATTN PAMELA VOSS PAGE               1200 W HURON ROOM 206                                            WATERFORD         MI 48328
STUDENT TAXI IINC                   HERRICK FEINSTEIN LLP               2 PARK AVENUE                                                    NEW YORK          NY 10016
STUDENT TAXI INC                    CHARLES F DORKEY III ESQ, ALAN F    MCKENNA LONG & ALDRIDGE LLP              230 PARK AVENUE SUITE   NEW YORK          NY 10169
                                    KAUFMAN ESQ, TIMOTHY PLUNKETT ESQ                                            1700

STUDENT TRANSPORTATION              1201 STATE ROUTE 35 S                                                                                NEPTUNE          NJ 07753‐5219
STUDENT TRANSPORTATION OF AMERICA   230 EAST MAIN STREET, SUITE 100                                                                      CARNEGIE         PA 15106

STUDENT TRANSPORTATION OF AMERICA

STUDENT TRANSPORTATION OF AMERICA   DOUG GALLAGHER                      1201 STATE ROUTE 35 S                                            NEPTUNE           NJ   07753‐5219

STUDENTS HELPING HONDURAS           PO BOX 7453                                                                                          MCLEAN           VA    22106‐7453
STUDER INDUSTRIAL TOOL INC          1320A RENTON RD                                                                                      PITTSBURGH       PA    15239
STUDER, CAROL C                     1923 WILLOW ST                                                                                       PORT HURON       MI    48060‐3150
STUDER, CAROL C                     2133 STONE ST # 2                                                                                    PORT HURON       MI    48060‐3042
STUDER, CHRISTINA A                 1995 WILLOWOOD CT                                                                                    MANSFIELD        OH    44906‐1759
STUDER, CLAIRE J                    4484 FAIRWOOD DR                                                                                     BURTON           MI    48529‐1933
STUDER, CRAIG J                     3297 MYERS RD                                                                                        SHELBY           OH    44875‐9497
STUDER, DALE J                      6496 CHESTNUT CHURCH RD                                                                              MECHANICSVILLE   VA    23116
STUDER, JOANNA L                    1385 COUNTY ROAD F                                                                                   SWANTON          OH    43558‐9021
STUDER, JUDITH K                    3862 KELLY BLVD                                                                                      CARROLLTON       TX    75007‐2059
STUDER, JUDY M                      6750 BLISS RD                                                                                        MIDDLETON        MI    48856‐9754
STUDER, MARGARET T                  3119 S 9TH PL                                                                                        MILWAUKEE        WI    53215‐4726
STUDER, MAURICE V                   6194 MCKENZIE DR                                                                                     FLINT            MI    48507‐3810
STUDER, PEGGY                       9365 SWALLOW CT                                                                                      CINCINNATI       OH    45242‐6717
STUDER, QUINTON D                   6777 WINKLER RD APT B153                                                                             FORT MYERS       FL    33919‐7232
STUDER, RICHARD M                   14217 LEE LN                                                                                         NEVADA CITY      CA    95959‐8206
STUDER, RONALD E                    26613 BRENTFIELD RD                                                                                  PERRYSBURG       OH    43551‐2627
STUDER, RONALD EDWARD               26613 BRENTFIELD RD                                                                                  PERRYSBURG       OH    43551‐2627
STUDER, RONALD M                    1820 E MANSFIELD ST                                                                                  BUCYRUS          OH    44820‐2018
STUDER, SHIRLEY                     1995 WILLOWOOD COURT NORTH                                                                           MANSFIELD        OH    44906
STUDER, VINCENT C                   101 BRITANNIA CT                                                                                     SHELBY           OH    44875‐1881
STUDHOLME, EDWIN E                  13218 PICADILLY DR                                                                                   STERLING HTS     MI    48312‐1514
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Name                                  Address1                             Address2                      Address3   Address4              City               State Zip
STUDINGER, FRED W                     48567 ROMA VLY. BLDG E APT#10                                                                       SHELBY TOWNSHIP     MI 48317
STUDINGER, ROSEANN                    40374 AYNESLEY ST                                                                                   CLINTON TWP         MI 48038‐2733
STUDIO 23/THE ARTS CENTER             901 N WATER ST                                                                                      BAY CITY            MI 48708‐5621
STUDIO A RECORDING INC                5619 N BEECH DALY RD                                                                                DEARBORN HEIGHTS    MI 48127‐3097
STUDIO ARENA THEATRE                  710 MAIN ST                                                                                         BUFFALO             NY 14202‐1915
STUDIO DES/BIRMINGHM                  999 S ADAMS RD                                                                                      BIRMINGHAM          MI 48009‐7039
STUDIO LEGALE E TRIBUTARIO LA SCALA   CORSO MAGENTA N. 42                                                                                 MILANO                   20123

STUDIO LEGALE NARDI E RONCELLI        VIA MONTE DI PIETA 1                                                          MILAN 20121 ITALY
STUDIO X                              1880 W LINCOLN ST                                                                                   BIRMINGHAM         MI 48009‐1834
STUDIO X INC                          ATTN: CORPORATE OFFICER/AUTHORIZED   1880 W LINCOLN ST                                              BIRMINGHAM         MI 48009‐1834
                                      AGENT
STUDIVENT, LUTHA M                    830 S 25TH ST                                                                                       SAGINAW            MI   48601‐6522
STUDLEY, DENNIS D                     4615 HARPER RD                                                                                      HOLT               MI   48842‐9671
STUDLEY, GORDON H                     305 N KIESEL ST                                                                                     BAY CITY           MI   48706‐4315
STUDNEY, MICHAEL J                    2020 LINCOLN PARK WEST               APT. 34 K                                                      CHICAGO            IL   60614
STUDNIARZ, LEONARD                    STE 240                              8501 NORTH SCOTTSDALE ROAD                                     PARADISE VLY       AZ   85253‐2753
STUDNIARZ‐KETTEL, CAROL L             166 BAY SHORE DR                                                                                    BAY CITY           MI   48706‐1171
STUDNICKA, GARY W                     7208 COUNTRY WOOD LN                                                                                PARKVILLE          MO   64152‐1100
STUDNICKA, GENEVIEVE M                5036 3RD STREET                                                                                     SWARTZ CREEK       MI   48473‐1423
STUDNICKA, GENEVIEVE M                5036 3RD ST                                                                                         SWARTZ CREEK       MI   48473‐1423
STUDNICKA, MARGARET A                 330 N MAIN ST                                                                                       BRITTON            MI   49229‐9513
STUDNICKA, MARGARET A                 330 NORTH MAIN STREET                                                                               BRITTON            MI   49229‐9513
STUDNICKI, GARY D                     21920 GOLDEN STAR BLVD                                                                              TEHACHAPI          CA   93561‐9428
STUDNICKI, MICHAEL R                  2938 ORCHARD TRAIL DR                                                                               TROY               MI   48098‐5416
STUDNICKI, VIOLET B                   3633 S ADAMS RD APT 311                                                                             ROCHESTER HILLS    MI   48309‐5001
STUDSTILL, WILLIE M                   15739 SUSSEX ST                                                                                     DETROIT            MI   48227‐2658
STUDT LOREN D (472178)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510
                                                                           STREET, SUITE 600
STUDT, BETTY J                        1737 ELDRIDGE DRIVE                                                                                 TROY               MI 48083
STUDT, DAVID G                        21180 CARRIGAN XING                                                                                 NOBLESVILLE        IN 46062‐9307
STUDT, LOREN D                        GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510‐2212
                                                                           STREET, SUITE 600
STUDZINSKI, RICHARD T                 4920 PENSACOLA BLVD                                                                                 MORAINE            OH   45439‐2834
STUDZINSKI, WILLIAM M                 14801 SPARROW DR                                                                                    SHELBY TOWNSHIP    MI   48315‐4954
STUEBE, DOROTHY E                     504 OKLOHOMA AVENUE                                                                                 MATTOON            IL   61938
STUEBE, DOROTHY E                     504 OKLAHOMA AVE                                                                                    MATTOON            IL   61938‐5864
STUEBE, JUANITA M                     104 LEE ST LAKE BLUFF                                                                               OAKWOOD            IL   61858‐9544
STUEBE, KENNETH A                     14235 E 1700TH RD                                                                                   CHRISMAN           IL   61924‐8653
STUEBE, ROBERT H                      PO BOX 986                           304 N PARIS ST                                                 CATLIN             IL   61817‐0986
STUEBE, WILLIAM E                     2352 E LINDEN HILL DR                                                                               BLOOMINGTON        IN   47401‐8179
STUEBER, ENID M                       4541 E DESERT PARK PL                                                                               PARADISE VALLEY    AZ   85253‐2912
STUEBING, RICHARD H                   6408 COVINGTON WAY                                                                                  GOLETA             CA   93117‐1518
STUEBNER, BRANDON                     PO BOX 11001                                                                                        SPRINGFIELD        MO   65808
STUECHELI, BERNARD D                  3765 SHELLMARR LN                                                                                   BLOOMFIELD HILLS   MI   48302‐4052
STUEDEMANN, HELEN M                   W203N16385 WHITE OAK CIR                                                                            JACKSON            WI   53037‐9296
STUEDEMANN, HOWARD C                  708 BUCKINGHAM RD                                                                                   CANTON             MI   48188‐1519
STUEDLI, ROBERT G                     800 PINNACLE DR                                                                                     LAKE MILLS         WI   53551‐2088
STUEF, DONALD O                       461 WISHBONE DR                                                                                     BLOOMFIELD HILLS   MI   48304‐2352
STUEF, GRETA L                        2863 WALMSLEY CIR                                                                                   ORION              MI   48360‐1641
STUEHLER, WILLIAM J                   6224 TRAYMORE AVE                                                                                   BROOKLYN           OH   44144‐3743
STUELAND AUTO CENTER, INC.            105 E 6TH ST                                                                                        TIPTON             IA   52772‐1746
                                09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                            Address1                        Address2                        Address3   Address4         City              State Zip
STUELAND AUTO CENTER, INC.      PAUL STUELAND                   105 E 6TH ST                                                TIPTON              IA 52772‐1746
STUELKE, PEGGY                  8359 PARKSIDE DR                                                                            ENGLEWOOD          FL 34224‐7647
STUEMKE, ELMER A                9141 N IRISH RD                                                                             MOUNT MORRIS       MI 48458‐9744
STUEMPFL, WILLIAM F             800 W ABBOTT AVE                                                                            MILWAUKEE          WI 53221‐3637
STUENKEL, JAMES K               1350 CLEARWATER ST                                                                          WHITE LAKE         MI 48386‐3928
STUENKEL, JULIE H               2775 EMERSON AVE                                                                            BOULDER            CO 80305‐6342
STUER JR, FRANK M               1278 W PINE TREE RD                                                                         BALDWIN            MI 49304‐8534
STUER, FRANK B                  8983 BATH RD                                                                                LAINGSBURG         MI 48848‐9352
STUER, FRANK B                  8305 ALWARD ROAD                                                                            LAINGSBURG         MI 48848‐9244
STUER, KEVIN W                  710 CEDARWOOD DR                                                                            DEWITT             MI 48820‐8771
STUER, TRACEY L                 710 CEDARWOOD DR                                                                            DEWITT             MI 48820‐8771
STUERMER, DAVID G               17417 NE 31ST ST                                                                            VANCOUVER          WA 98682‐3667
STUESSY, FLORENCE S             N78W17261 WILDWOOD DR APT 726                                                               MENOMONEE FALLS    WI 53051‐4156
STUESSY, JANICE M               13305 70TH DR SE                                                                            SNOHOMISH          WA 98296‐8665
STUETZER, MARTIN L              PO BOX 1565                                                                                 CLARKSTON          MI 48347‐1565
STUETZER, MICHAEL A             PO BOX 300581                                                                               DRAYTON PLAINS     MI 48330‐0581
STUEVE, THOMAS G                1325 S PORTOFINO DR APT 405                                                                 SARASOTA           FL 34242‐3138
STUEVE, WILMA J                 481 MCCRAY BLVD                                                                             SPRINGBORO         OH 45066‐9101
STUEVE‐DODD, ELLA J             3806 BURLAGE RD.                                                                            LONEDELL           MO 63060
STUEVEN, JEFFREY S              1228 AUDUBON RD                                                                             HOWARDS GROVE      WI 53083‐1417
STUEWER, ROBERT W               5924 FISH LAKE RD                                                                           NORTH BRANCH       MI 48461‐9572
STUEWER, SHIRLEY M              1551 DALEY RD                                                                               LAPEER             MI 48446‐8700
STUFFEL, JOSEPH V               521 S 600 W                                                                                 YORKTOWN           IN 47396
STUFFER, JEANNIE                205 WIDDSOR CT                                                                              QUAKERTOWN         PA 18951
STUFFING PATCH                  503 N ST                                                                                    BEDFORD            IN 47421‐2121
STUFFLEBEAN FOREST D (667824)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                STREET, SUITE 600
STUFFLEBEAN, FOREST D           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510‐2212
                                                                STREET, SUITE 600
STUFFLEBEAN, HAROLD L           4400 SW 12TH ST                                                                             BLUE SPRINGS      MO   64015‐8709
STUFFLEBEAN, HAROLD LEROY       4400 SW 12TH ST                                                                             BLUE SPRINGS      MO   64015‐8709
STUFFT, JAMES E                 28064 OAKHAVEN LANE                                                                         MENIFEE           CA   92584‐2584
STUGART, FLORENCE S             4646 ALDERSGATE DR                                                                          CARMEL            IN   46033‐3176
STUGART, HERBERT K              4646 ALDERSGATE DR                                                                          CARMEL            IN   46033‐3176
STUGART, SCOTT                  2215 BE DARO DR                                                                             WILLIAMSPORT      PA   17702‐6871
STUHL BRIAN                     STUHL, BRIAN                    66 S. UNION AVE.                                            LANSDOWN          PA   19050
STUHL, BRIAN                    66 S UNION AVE                                                                              LANSDOWNE         PA   19050‐2944
STUHLDREHER TOM (448063)        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH   44067
                                                                PROFESSIONAL BLDG
STUHLDREHER, JASON L            129 W STATE ST                                                                              NILES             OH 44446‐1548
STUHLDREHER, PATRICIA L         32 N ROANOKE AVE                                                                            AUSTINTOWN        OH 44515‐2931
STUHLDREHER, TOM                BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD        OH 44067
                                                                PROFESSIONAL BLDG
STUHLEMMER, ELWOOD E            TRINITY UNITED HOMES            3218 INDIAN RIPPLE ROAD         APT# 274                    DAYTON            OH   45440
STUHLEMMER, HEATHER L           903 BOWEN STREET                                                                            DAYTON            OH   45410‐2515
STUHLEMMER, LEAH E              2344 SALTVILLE HWY                                                                          SALTVILLE         VA   24370‐4056
STUHLER, ERMA                   3535 KETTERING                                                                              SAGINAW           MI   48603‐7245
STUHLER, HENRY                  3624 S JADESTONE LANE                                                                       TUCSON            AZ   85735‐9053
STUHLER, RICHARD D              1342 STATE ROUTE 980                                                                        CANONSBURG        PA   15317‐6023
STUHLMUELLER, JOSEPH C          6934 BEAGLE DR                                                                              HAMILTON          OH   45011
STUHLREYER, DOLORES             5454 BUCK RUN RD                                                                            GEORGETOWN        OH   45121‐8786
STUHLSATZ, RICHARD A            51170 DEQUINDRE RD                                                                          SHELBY TWP        MI   48317‐1021
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Name                        Address1                           Address2                        Address3   Address4         City              State Zip
STUHR, DENNIS R             4515 GRIM RD                                                                                   BENTLEY            MI 48613‐9704
STUHR, DONALD E             RR 2 BOX 285                       ST LAWRENCE                                                 BELOIT             WI 53511
STUHR, DORIS A              14 FALLING CREEK DR                                                                            JANESVILLE         WI 53548‐9228
STUHR, JOHN M               16407 W STATE ROAD 81                                                                          BRODHEAD           WI 53520‐8973
STUHR, MARY E               2720 CODY ESTEY RD                                                                             RHODES             MI 48652‐9516
STUHRBERG, CARL H           6655 JACKSON RD UNIT 657                                                                       ANN ARBOR          MI 48103‐9677
STUHRBERG, JAMES G          210 UNIVERSITY DR                                                                              HOWELL             MI 48843‐1758
STUHRBERG, LARRY R          811 SILVER LAKE RD                                                                             LINDEN             MI 48451‐9136
STUHRBERG, LARRY RICHARD    811 SILVER LAKE RD                                                                             LINDEN             MI 48451‐9136
STUIBER, NORMAN R           2924 S 16TH ST                                                                                 MILWAUKEE          WI 53215‐3723
STUIBLE, NEAL F             5222 RIVER RIDGE DR                                                                            LANSING            MI 48917‐1359
STUK, CAROLYN               6153 WERTZ                                                                                     DAVISBURG          MI 48350‐3545
STUKA, CARL J               515 N PINE ST                                                                                  JANESVILLE         WI 53548‐2850
STUKALO, RITA M             400 FERNWOOD DR                                                                                WESTMONT            IL 60559‐2809
STUKAS ANN                  3585 OAKSHIRE AVE                                                                              WATERFORD          MI 48328‐3546
STUKAS, ANN S               3585 OAKSHIRE AVE                                                                              WATERFORD          MI 48328‐3546
STUKEL, MARVIN W            305 SPRUCE ST                                                                                  BAY CITY           MI 48706‐3884
STUKENBORG, BRENDA H        2896 RHETT DR                                                                                  BEAVERCREEK        OH 45434‐6260
STUKENBORG, CHARLENE L      4274 CLEARVIEW CT                                                                              BELLBROOK          OH 45305‐1483
STUKENBORG, JAMES L         2896 RHETT DR                                                                                  BEAVERCREEK        OH 45434‐6260
STUKENBORG, JOAN R          15742 W LINKSVIEW DR                                                                           SURPRISE           AZ 85374‐5619
STUKER AND ASSOCIATES INC   2401 HASSELL RD STE 1530                                                                       HOFFMAN ESTATES     IL 60169‐2075
STUKEY, KEVIN B             1379 E ROBINSON ST                                                                             NORTH TONAWANDA    NY 14120‐4866
STUKINS, CHARLES H          211 SCOTT DR                                                                                   ENGLEWOOD          OH 45322‐1145
STUKINS, MAXINE B           211 SCOTT DR                                                                                   ENGLEWOOD          OH 45322‐1145
STULER, MYRL T              40 DARTMOUTH DR                                                                                CANFIELD           OH 44406‐1209
STULER, VIRGINIA H          330 E KALAMO HWY                                                                               CHARLOTTE          MI 48813‐9199
STULGIS, STEPHEN            1703 ROBBINS AVE                                                                               NILES              OH 44446‐3933
STULL DONALD JR (464300)    KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                               CLEVELAND          OH 44114
                                                               BOND COURT BUILDING
STULL JR, RICHARD C         4711 E COLBY RD                                                                                STANTON           MI   48888‐8930
STULL, ANDREW M             2251 CREW CIRCLE                                                                               DAYTON            OH   45439‐3252
STULL, BELINDA K            2384 SURFACE DR                                                                                GREENWOOD         IN   46143‐8145
STULL, CORBETT              2173 S CENTER RD APT 326                                                                       BURTON            MI   48519‐1815
STULL, DANIELLE L           2101 CHERRY HILL AVENUE                                                                        YOUNGSTOWN        OH   44509‐1622
STULL, DAVID B              45 HIGHLAND PL                                                                                 GERMANTOWN        OH   45327‐1381
STULL, DAVID B              4400 MELROSE DR LOT 207                                                                        WOOSTER           OH   44691‐1891
STULL, DAVID R              7368 VASSAR RD                                                                                 OTISVILLE         MI   48463‐9419
STULL, DONALD               KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                CLEVELAND         OH   44114
                                                               BOND COURT BUILDING
STULL, DONALD R             4146 E OAKLEY RD                                                                               HARRISON          MI   48625‐8304
STULL, DOUGLAS A            3110 BRAZIL LAKE PKWY                                                                          GEORGETOWN        IN   47122‐8602
STULL, DOUGLAS M            2231 BRESCIA AVE                                                                               CLAREMONT         CA   91711‐1807
STULL, HELEN L              3345 DOUGLAS DR                                                                                MURRYSVILLE       PA   15668‐2104
STULL, JAMES P              12 COLONY DR                                                                                   BUTLER            KY   41006‐9083
STULL, JOHN E               2308 FORESTDEAN CT                                                                             DAYTON            OH   45459‐8417
STULL, KENNETH M            45 HIGHLAND PL                                                                                 GERMANTOWN        OH   45327‐1381
STULL, KENNETH M            45 HIGHLAND PLACE                                                                              GERMANTOWN        OH   45327‐1381
STULL, LARRY R              7950 S BYRON RD                                                                                DURAND            MI   48429‐9443
STULL, MURL                 310 E JACKSON ST                                                                               WARSAW            MO   65355‐3224
STULL, NANCY R              10 LARRY LN                                                                                    CORTLAND          OH   44410‐9325
STULL, NANCY R              10 LARRY LANE                                                                                  CORTLAND          OH   44410‐9325
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Name                       Address1                              Address2                       Address3   Address4         City               State Zip
STULL, RAY D               26292 CHANEY LN                                                                                  WARSAW              MO 65355‐4055
STULL, RAY D               6001 NE 60TH ST                                                                                  KANSAS CITY         MO 64119‐1754
STULL, RICHARD A           936 E EPLER AVE                                                                                  INDIANAPOLIS        IN 46227‐1816
STULL, RICHARD C           115 W 1ST ST APT 29                                                                              STANTON             MI 48888‐9357
STULL, ROBERT D            975 MILL CIR APT 128                                                                             ALLIANCE            OH 44601‐5172
STULL, RODNEY J            13490 NORTH ETNA GREEN COURT                                                                     CAMBY               IN 46113‐8349
STULL, RODNEY J.           13490 N. EXTRA GREEN CT.                                                                         CAMBY               IN 46113
STULL, STUART D            4336 TIMBERWILDE DR                                                                              KETTERING           OH 45440‐1507
STULL, THOMAS E            GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH          PA 15219

STULL, WILLIAM C           APT 703                               5 GRANDVIEW AVENUE                                         PITTSBURGH         PA   15211‐1618
STULL, WILLIAM C           5 GRANDVIEW AVE APT 703                                                                          PITTSBURGH         PA   15211‐1618
STULL,STUART D             4336 TIMBERWILDE DR                                                                              KETTERING          OH   45440‐1507
STULLER, JACK D            7080 DANNY DR                                                                                    SAGINAW            MI   48609‐5226
STULLER, JAMES H           4168 JOSLIN ST                                                                                   SAGINAW            MI   48603
STULLER, JOSEPH L          2316 PRINCETON PIKE                                                                              LAWRENCEVILLE      NJ   08648‐3912
STULLER, LILLIAN O         14 ROCKLAND CT                        VALLEY RUN                                                 WILMINGTON         DE   19810‐1912
STULLER, MICHAEL R         2213 DURHAM DR                                                                                   SAGINAW            MI   48609‐9234
STULLER, NANCY M           3819 PLANE TREE DR W                                                                             COLUMBUS           OH   43228‐3560
STULLER, NORMA B           1438 E 60TH ST APT 5                                                                             ANDERSON           IN   46013‐3052
STULLER, PATRICIA          311 NORTH COLONY DR                   APT. 2B                                                    SAGINAW            MI   48638
STULLER, PATRICIA          311 N COLONY DR APT 2B                                                                           SAGINAW            MI   48638‐7111
STULOCK, MARY L            730 YOUNGSTOWN‐WARREN RD              SUITE 316                                                  NILES              OH   44446‐4446
STULOCK, MARY L            730 YOUNGSTOWN WARREN RD APT 316                                                                 NILES              OH   44446‐3581

STULPIN, DONALD G          117 FLORENCE AVE                                                                                 ROCHESTER          NY   14616‐4636
STULPIN, DOUGLAS S         586 LAKE SHORE BLVD                                                                              ROCHESTER          NY   14617‐1512
STULTS ALEXIS              BAKER, ELAINE                         10000 SH 31 WEST BOX A5                                    MALAKOFF           TX   75148
STULTS ALEXIS              DESTINY YOUNG                         824 CARVER ST                                              MESQUITE           TX   75149
STULTS JR, EDWIN W         1503 W COTTAGE GROVE RD                                                                          LINWOOD            MI   48634‐9723
STULTS, ALBERT D           4405 S.R. 35 SOUTH                                                                               MUNCIE             IN   47302
STULTS, ALEXIS
STULTS, ALEXIS             MAYELLA GONZALEZ                      1725 GREENVILLE AVE                                        DALLAS             TX   75206‐7416
STULTS, AVO                413 S SYCAMORE PO BOX 532                                                                        GASTON             IN   47342‐0532
STULTS, BERNIECE           101 DOLPHIN DRIVE NORTH                                                                          OLDSMAR            FL   34677‐2511
STULTS, BERNIECE           101 DOLPHIN DR N                                                                                 OLDSMAR            FL   34677‐2511
STULTS, CRYSTAL L          5127 CHAPIN ST                                                                                   DAYTON             OH   45429‐1905
STULTS, IVA J              113 HORN AVE                                                                                     LORETTO            TN   38469
STULTS, MELVIN W           1307 S 18TH ST                                                                                   NEW CASTLE         IN   47362‐2606
STULTS, MICHAEL E          4183 WESTERN ST                                                                                  DETROIT            MI   48210‐3509
STULTS, MICHAEL ELLIS      4183 WESTERN ST                                                                                  DETROIT            MI   48210‐3509
STULTS, PAUL L             880 GAIL DR                                                                                      WEATHERFORD        TX   76085‐9032
STULTS, RONALD W           6042 BANNER ST                                                                                   TAYLOR             MI   48180‐1253
STULTS, SUSAN M            832 SW 67TH ST                                                                                   OKLAHOMA CITY      OK   73139‐4212
STULTS, THOMAS H           639 CENTENNIAL RD                                                                                TOLEDO             OH   43617‐2101
STULTS, TIMOTHY W          5127 CHAPIN ST                                                                                   DAYTON             OH   45429‐1905
STULTS, WILLIAM G          846 EARL AVE                                                                                     MIDDLETOWN         IN   47356‐9308
STULTZ HOWARD G (410458)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510
                                                                 STREET, SUITE 600
STULTZ, ANITA M            4080 N BELSAY RD                                                                                 FLINT              MI 48506
STULTZ, ANNA M             9850 GARFIELD AVE SPC 82                                                                         HUNTINGTON BEACH   CA 92646‐2417
STULTZ, BRIAN K            180 HABRON CT                                                                                    NEW LEBANON        OH 45345‐9238
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Name                               Address1                           Address2                      Address3   Address4            City                State Zip
STULTZ, DENNIS J                   6145 W FRANCES RD                                                                               CLIO                 MI 48420
STULTZ, FRED L                     PO BOX 599                                                                                      WAYNESVILLE          OH 45068‐0599
STULTZ, GLADYS M                   701 PERRY ST                                                                                    HICKSVILLE           OH 43526‐1438
STULTZ, HOWARD G                   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK              VA 23510‐2212
                                                                      STREET, SUITE 600
STULTZ, JUANITA S                  1610 MONTCLAIR DR                                                                               VINCENNES           IN   47591
STULTZ, JUNE N                     50 STILLWATER COURT                                                                             SPRINGBORO          OH   45066‐3308
STULTZ, KATHLEEN V                 428 BEAR STORY BLVD.                                                                            GREENFIELD          IN   46140
STULTZ, LEONA S                    21 KNOX AVENUE                                                                                  DAYTON              OH   45427‐1722
STULTZ, LEONA S                    21 KNOX AVE                                                                                     DAYTON              OH   45427‐1722
STULTZ, MARILYN                    725 GREYSTONE CT                                                                                COLUMBUS            IN   47201‐2845
STULTZ, MARJORIE L                 39685 RITA DR                                                                                   CLINTON TWP         MI   48038‐4711
STULTZ, MICHAEL A                  701 RUCKER LN                                                                                   MURFREESBORO        TN   37128‐4621
STULTZ, RICHARD S                  14214 OLD DAYTON RD                                                                             NEW LEBANON         OH   45345‐9177
STULTZ, TODD E                     1614 CANTEBURY LN                                                                               LEBANON             OH   45036‐8678
STULTZ, WILLIAM T                  9850 GARFIELD AVE SPC 82                                                                        HUNTINGTON BEACH    CA   92646‐2417
STULZ INVESTMENT CORP OF AMERICA   15721 TILCO DR                                                                                  FREDERICK           MD   21704
STULZ INVESTMENT CORP OF AMERICA   2011 HOOVER BLVD                                                                                FRANKFORT           KY   40601‐8200
STULZ INVESTMENT CORP OF AMERICA   HOLSTEINER CHAUSSEE 283                                                     HAMBURG HH 22457
                                                                                                               GERMANY
STULZ INVESTMENT CORP OF AMERICA   NICK KALTSOUNIS                    2011 HOOVER BLVD.                                            DFW AIRPORT         TX 75261
STULZ INVESTMENT CORP OF AMERICA   1875 HOLLOWAY DR                                                                                HOLT                MI 48842‐9435
STULZ VERWALTUNGSGMBH              HOLSTEINER CHAUSSEE 283                                                     HAMBURG HH 22457
                                                                                                               GERMANY
STULZ VERWALTUNGSGMBH              KROTTORFER STR 25                                                           MORSBACH NW 51597
                                                                                                               GERMANY
STULZ VERWALTUNGSGMBH              STEFAN SCHNEIDER                   KROTTORFER STR 25                        MORSBACH, 51597
                                                                                                               GERMANY
STUM, HARRY B                      4650 S 300 E                                                                                    LEBANON             IN   46052‐9657
STUM, PHILIP R                     5461 N COUNTY ROAD 975 W                                                                        MIDDLETOWN          IN   47356‐9760
STUMBAUGH, JIMMY D                 8450 E COUNTY ROAD 74                                                                           GUTHRIE             OK   73044‐9658
STUMBO JR, PERRY                   3521 W ELMWOOD CIR                                                                              SNELLVILLE          GA   30078‐2851
STUMBO JR., FOREST E               6187 SPRINGFIELD JAMESTOWN RD                                                                   SPRINGFIELD         OH   45502‐9480
STUMBO JR., FOREST EUGENE          6187 SPRINGFIELD JAMESTOWN RD                                                                   SPRINGFIELD         OH   45502‐9480
STUMBO PUBLISHING COMPANY INC      PO BOX 127                                                                                      ONTARIO             OH   44862‐0127
STUMBO, JAMES F                    7400 46TH AVE N                    LOT 104                                                      ST. PETERSBURG      FL   33709
STUMBO, JAMES F                    7400 46TH AVE N LOT 104                                                                         SAINT PETERSBURG    FL   33709‐2533
STUMBO, JUDITH D.                  93100 5TH ST                                                                                    PINELLAS PARK       FL   33782‐5237
STUMBO, KEITH D                    1932 TIMBERIDGE DR                                                                              YPSILANTI           MI   48198
STUMBO, KEITH DOUGLAS              1932 TIMBERIDGE DR                                                                              YPSILANTI           MI   48198
STUMBO, LYNDON H                   7636 STANHILL PL                                                                                HUBER HEIGHTS       OH   45424‐2248
STUMBO, MARGARET M                 2700 PINEBROOK                                                                                  TRAVERSE CITY       MI   49686‐3734
STUMBO, NAOMI                      PO BOX 839                                                                                      AUBURN              IN   46706‐0839
STUMBO, RICHARD F                  8312 GOLFSIDE DR                                                                                COMMERCE TOWNSHIP   MI   48382‐2213
STUMBO, RUSH F                     2886 MYERS RD                                                                                   SHELBY              OH   44875‐9401
STUMBO, VIVIAN C                   2031 BOMBER AVE                                                                                 YPSILANTI           MI   48198‐9218
STUMBORG, FORREST S                9 W SUNNY SIDE DR                                                                               SAINT PETERS        MO   63376‐1868
STUMLER, EDWARD J                  1318 HOLLY ST                                                                                   CANTON              GA   30114‐8737
STUMM JR, WILLIAM L                1727 W 136TH ST                                                                                 CARMEL              IN   46032‐9423
STUMM, LEONARD M                   2465 E DODGE RD                                                                                 CLIO                MI   48420‐9748
STUMM, ROSALIE                     2465 E DODGE RD                                                                                 CLIO                MI   48420‐9748
STUMMER, CLEMENCIA L               1404 CHERRY ST                                                                                  UNION               NJ   07083‐5327
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Name                                Address1                           Address2                        Address3   Address4         City              State Zip
STUMP DEBBIE (636614)               BIFFERATO GENTILOTTI & BIDEN       PO BOX 2165                                                 WILMINGTON         DE 19899‐2165
STUMP EUGENE (448065)               BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                                       PROFESSIONAL BLDG
STUMP EUGENE (ESTATE OF) (489260)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                                       PROFESSIONAL BLDG
STUMP FRANK (448066)                BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                                       PROFESSIONAL BLDG
STUMP JOHN N (460221)               DUFFY & ASSOCS JOHN J              23823 LORAIN RD                                             NORTH OLMSTED     OH   44070
STUMP JR, ROY G                     6844 TIPPS ST                                                                                  KEITHVILLE        LA   71047‐8807
STUMP JR, ROY GRAVES                6844 TIPPS STREET                                                                              KEITHVILLE        LA   71047‐8807
STUMP SR, ROY G                     8472 WOODLANDS TRL                                                                             GREENWOOD         LA   71033‐3406
STUMP, AGNES M                      3722 EAST SAGINAW HIGHWAY                                                                      GRAND LEDGE       MI   48837‐9497
STUMP, ARTHUR N                     21107 GUNPOWDER RD                                                                             MILLERS           MD   21102‐2405
STUMP, AYANDA J                     PO BOX 421                                                                                     GREENWOOD         LA   71033‐0421
STUMP, AYANDA JEAN                  PO BOX 421                                                                                     GREENWOOD         LA   71033‐0421
STUMP, BINA L                       5166 STEVENS RD                                                                                CLARKSTON         MI   48346‐4154
STUMP, CARL F                       7804 W WALKER RD                                                                               SAINT JOHNS       MI   48879‐9517
STUMP, CAROLYN JANE                 2308 MANITOBA DR                                                                               LAFAYETTE         IN   47909‐2729
STUMP, COLLEEN S                    9068 OLD STAGE RD                                                                              WAYNESVILLE       OH   45068
STUMP, DANIEL R                     117 SCHLOSS LN                                                                                 MORAINE           OH   45418‐2931
STUMP, DANNY G                      2312 W 8TH ST                                                                                  MUNCIE            IN   47302‐1630
STUMP, DEBBIE                       BIFFERATO GENTILOTTI & BIDEN       PO BOX 2165                                                 WILMINGTON        DE   19899‐2165
STUMP, DORIS B                      4327 SAUNDERS SETTLEMENT RD                                                                    SANBORN           NY   14132‐9410
STUMP, DOROTHY M                    3812 LEEWOOD RD                                                                                STOW              OH   44224‐2436
STUMP, EDWARD L                     9105 N RONRICK PL                                                                              FRANKENMUTH       MI   48734‐9106
STUMP, EUGENE                       BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD        OH   44067
                                                                       PROFESSIONAL BLDG
STUMP, EVELYN W                     1619 FUREY DR                                                                                  ORLANDO           FL   32822‐5911
STUMP, FRENCH A                     1348 RUSSETT RD                                                                                GRANTSVILLE       WV   26147‐8003
STUMP, GEORGE J                     10774 MELIA DR                                                                                 SHELBY TOWNSHIP   MI   48315‐6697
STUMP, GEORGE W                     1585 FORT HENRY DR                 APT #3                                                      KINGSPORT         TN   37664
STUMP, GERALD R                     580 CATALINA ISLES CIR                                                                         VENICE            FL   34292‐3974
STUMP, GLADYS E                     808 N MARTIN LUTHER KING JR BLVD                                                               LANSING           MI   48915‐2037
STUMP, HELEN I                      314 HICKORY LN                                                                                 SEAFORD           DE   19973‐2020
STUMP, HERBERT G                    PO BOX 204                                                                                     BROOKVILLE        OH   45309‐0204
STUMP, JACK E                       248 JUBAL EARLY AVE                                                                            INWOOD            WV   25428‐3801
STUMP, JAMES A                      4385 SCHWINN DR                                                                                DAYTON            OH   45404‐1340
STUMP, JAMES E                      PO BOX 1707                                                                                    WASKOM            TX   75692‐1707
STUMP, JAMES EDWARD                 PO BOX 1707                                                                                    WASKOM            TX   75692‐1707
STUMP, JAMES G                      7432 CREEKSIDE DR                                                                              LANSING           MI   48917‐9693
STUMP, JAMES M                      614 BACON AVE                                                                                  PORTAGE           MI   49002‐7197
STUMP, JAY R                        97 E PRINCETON AVE                                                                             PONTIAC           MI   48340‐1952
STUMP, JEANETTE T                   500 MILLWOOD MEADOWS DR                                                                        ENGLEWOOD         OH   45322‐2573
STUMP, JEFFREY L                    214 SAVANNAH RDG                                                                               MURFREESBORO      TN   37127‐8303
STUMP, JEFFREY R                    11060 E DAVID HWY                                                                              WESTPHALIA        MI   48894‐9796
STUMP, JEFFREY ROBERT               11060 E DAVID HWY                                                                              WESTPHALIA        MI   48894‐9796
STUMP, JERRY R                      404 BENDING BRANCH LN                                                                          MIAMISBURG        OH   45342‐7612
STUMP, JOHN J                       2835 CAMPBELL ST                                                                               KANSAS CITY       MO   64109‐1125
STUMP, JOHN J                       3700 N 62ND ST                                                                                 KANSAS CITY       KS   66104‐1141
STUMP, JON R                        855 MEADOW RIDGE CIR APT 104                                                                   AUBURN HILLS      MI   48326
STUMP, JOSEPH E                     3 WINTER FOREST CT                                                                             O FALLON          MO   63366‐5534
STUMP, KEITH R                      2930 W TOWNSEND RD                                                                             SAINT JOHNS       MI   48879‐9585
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Name                        Address1                       Address2            Address3         Address4         City               State Zip
STUMP, KENNETH E            PO BOX 215                                                                           WESTPHALIA          MI 48894‐0215
STUMP, KERRI A              470 WOODFORD ST                                                                      PORTLAND            ME 04103‐2461
STUMP, KIMBERLY A           913 WEST MCDONALD STREET                                                             HARTFORD CITY       IN 47348‐1222
STUMP, LARRY G              5373 W CARPENTER RD                                                                  FLINT               MI 48504‐1028
STUMP, LAVERNE I            1115 MAYCROFT ST                                                                     LANSING             MI 48917‐2055
STUMP, MARGARET J           6530 SPRINGTREE LN                                                                   LANSING             MI 48917‐9668
STUMP, MICHAEL R            10181 MILLER DR                                                                      KEITHVILLE          LA 71047‐8915
STUMP, MORRIS E             913 W MCDONALD ST                                                                    HARTFORD CITY       IN 47348‐1222
STUMP, PAULETTE B           4385 SCHWINN DR                                                                      DAYTON              OH 45404‐1340
STUMP, PHILIP G             2930 W TOWNSEND RD                                                                   SAINT JOHNS         MI 48879‐9585
STUMP, REX A                126 LONG COVE LN                                                                     MOORESVILLE         NC 28117
STUMP, RICHARD J            2909 N CAMBRIDGE RD                                                                  LANSING             MI 48911‐1014
STUMP, ROBERT C             1732 URA LN                                                                          NORTHGLENN          CO 80234‐3636
STUMP, RUSSELL E            13235 LAKE SHORE DR                                                                  FENTON              MI 48430‐1019
STUMP, SAMANTHA R           15775 W ARROWHEAD DR                                                                 SURPRISE            AZ 85374‐5630
STUMP, SHARAD C             7783 FOSTER RD                                                                       CLARKSTON           MI 48346‐1942
STUMP, SHERRIE L            8918 BERNAY DRIVE                                                                    SHREVEPORT          LA 71118‐2007
STUMP, TERRENCE G           2312 W 8TH ST                                                                        MUNCIE              IN 47302‐1630
STUMP, THADDEUS V           2249 E INDIGO BAY DR                                                                 GILBERT             AZ 85234‐2872
STUMP, THOMAS L             11028 E STONEY CREEK RD                                                              PEWAMO              MI 48873‐9741
STUMP, TOD A                7783 FOSTER RD                                                                       CLARKSTON           MI 48346‐1942
STUMP, VENUS A              1438 KENT RD                                                                         BALTIMORE           MD 21221‐6025
STUMP, WILLIAM E            3789 FERRY RD                                                                        BELLBROOK           OH 45305‐8921
STUMP, WILLIAM G            3812 LEEWOOD RD                                                                      STOW                OH 44224‐2436
STUMPE BEATE                2 WASHINGTON AVE                                                                     RIDGEFIELD          CT 06877
STUMPE, BEATE               2 WASHINGTON AVE                                                                     RIDGEFIELD          CT 06877‐4018
STUMPE, HANS G              21901 CHALON ST                                                                      ST CLAIR SHRS       MI 48080‐2312
STUMPE, HELEN A             1221 BOONES LICK RD                                                                  SAINT CHARLES       MO 63301‐2328
STUMPENHAUS, VIVIAN L       1614 NORTH HOCKER                                                                    INDEPENDENCE        MO 64050‐1931
STUMPENHAUS, VIVIAN L       1614 N HOCKER AVE                                                                    INDEPENDENCE        MO 64050‐1931
STUMPF I I I, CHARLES J     3826 NE 86TH TER                                                                     KANSAS CITY         MO 64156‐1304
STUMPF III, CHARLES JAMES   3825 NE 86TH TER                                                                     KANSAS CITY         MO 64156‐1304
STUMPF MICHAEL C            141 E RITTER STREET                                                                  SEVEN MILE          OH 45062
STUMPF, AARON R             413 JOHN ST                                                                          TRENTON             OH 45067‐1245
STUMPF, ANNE J              5785 EASTMAN BLVD                                                                    WEST BLOOMFIELD     MI 48323‐3821
STUMPF, BERNHARD            7 WESTGLEN PL                                                                        PALM COAST          FL 32164‐8721
STUMPF, BETTY J             315 WATERWAY CT                                                                      HOUGHTON LAKE       MI 48629‐9577
STUMPF, CHARLES J           6835 SW 117TH ST                                                                     OCALA               FL 34476‐3620
STUMPF, CHARLES J           812 W 1ST ST                                                                         MARION              IN 46952‐3761
STUMPF, CHARLES W           947 STATE ROUTE 28 APT 18                                                            MILFORD             OH 45150‐1907
STUMPF, CHARLOTTE           7 W GLEN PLACE                                                                       PALM COAST          FL 32164‐8721
STUMPF, CHARLOTTE           7 WESTGLEN PL                                                                        PALM COAST          FL 32164‐8721
STUMPF, CHRISTOPHE L        7265 CHELBY ST                                                                       INDIANAPOLIS        IN 46227
STUMPF, CONRAD J            395 MEADOW WAY APT 1937                                                              SAPPHIRE            NC 28774‐8747
STUMPF, CRAIG W             2437 SANDERS PL                                                                      BLOOMFIELD HILLS    MI 48302‐0460
STUMPF, EDWARD H            924 PARK RD                                                                          ANDERSON            IN 46011‐2314
STUMPF, ERMA E              1162 KINNAN RD.                                                                      GLEN CAMPBELL       PA 15742
STUMPF, GEORGE L            4449 WALNUT ST                                                                       BATAVIA             OH 45103‐2336
STUMPF, JAMES A             4200 PERSIMMON CT                                                                    COLUMBUS            IN 47201
STUMPF, JAMES F             1440 STATE ROUTE 61                                                                  GALION              OH 44833‐8909
STUMPF, KELLI J             5095 WHITNEY ERIN CT                                                                 ALMONT              MI 48003‐9757
STUMPF, LAWRENCE W          617 MEADOWRIDGE TRL                                                                  INDIANAPOLIS        IN 46217‐4841
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Name                                   Address1                          Address2                           Address3        Address4         City               State Zip
STUMPF, M E                            2945 W TIENKEN RD                                                                                     ROCHESTER HLS       MI 48306‐3868
STUMPF, MARY J                         6100 NW COOKINGHAM RD                                                                                 KANSAS CITY         MO 64164‐1026
STUMPF, MICHAEL C                      141 E RITTER STREET                                                                                   SEVEN MILE          OH 45062
STUMPF, PAUL                           BOECHLER PC                       1120 28TH AVENUE NORTH ‐ SUITE A                                    FARGO               ND 58107
                                                                         P O BOX 1932
STUMPF, REGINA R                       9728 COUNTY ROAD 20                                                                                   GALION             OH    44833‐9613
STUMPF, RICHARD F                      6420 WOODWIND DR                                                                                      INDIANAPOLIS       IN    46217‐3873
STUMPF, ROD L                          875 W GRAND RIVER AVE LOT 12A                                                                         WILLIAMSTON        MI    48895‐1248
STUMPF, ROSALIE W                      6420 WOODWIND DRIVE                                                                                   INDIANAPOLIS       IN    46217‐3873
STUMPF, SANDRA D                       2849 ELLEN LN                                                                                         BEAVERCREEK        OH    45430‐1928
STUMPF, SARA K                         2189 VALLEY VISTA DR                                                                                  DAVISON            MI    48423‐8317
STUMPF, TERRY L                        4005 MILLSBORO RD W                                                                                   MANSFIELD          OH    44903‐8788
STUMPF, WILLIAM                        STUMPF WILLIAM N                  C/O GORI JULIAN & ASSOCIATES PC    156 N MAIN ST                    EDWARDSVILLE       IL    62025‐1972

STUMPFF, LINDA J                       10336 GOLDSBERRY RD                                                                                   SHREVEPORT         LA    71106‐8304
STUMPFF, LINDA JANE                    10336 GOLDSBERRY RD                                                                                   SHREVEPORT         LA    71106‐8304
STUMPFF, MARTHA E                      8882 COMANCHE RD                                                                                      LONGMONT           CO    80503‐8657
STUMPFF, MILDRED                       122 OLD FARM RD                                                                                       DANVILLE           IN    46122‐1433
STUMPFIG JR, ALFRED W                  461 ANTIQUE CT                                                                                        CHELSEA            MI    48118‐2114
STUMPFIG, SCOTT W                      3619 BURBANK DR                                                                                       FORT WAYNE         IN    46804‐2903
STUMPFIG, THEODORE R                   3413 HERMANSAU DRIVE                                                                                  SAGINAW            MI    48603‐2568
STUMPFIG, THOMAS M                     261 WINDING ACRES LN                                                                                  EATON RAPIDS       MI    48827‐8207
STUMPH, ALBERT H                       C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                                       EDWARDSVILLE        IL   62025‐1972
STUMPH, DELBERT E                      3420 COUNTRY VIEW DR                                                                                  OXFORD             MI    48371‐4167
STUMPH, EDWARD D                       CMR 732 BOX 634                                                                                       APO                AE    09081
STUMPH, ELBERT M                       PO BOX 798                                                                                            MOLALLA            OR    97038‐0798
STUMPH, ELBERT M                       724 TRIXIS PL                                                                                         LAS VEGAS          NV    89144
STUMPH, JAMES A                        7586 BLACK ROCK CV                                                                                    FRISCO             TX    75034‐2958
STUMPH, KIMBERLY P                     4261 SAINT MARTINS DR                                                                                 FLINT              MI    48507‐3771
STUMPH, LEONARD E                      604 S BARRETT AVE                                                                                     SEDALIA            MO    65301
STUMPH, RICHARD V                      232 SPRING CREEK CT NE                                                                                ALBUQUERQUE        NM    87122‐2030
STUMPH, ROBIN                          CMR 732 BOX 634                                                                                       APO                AE    09081
STUMPH, RUSSELL G                      4044 HUSTON RD                                                                                        HAMILTON           OH    45013‐9712
STUMPH, TRENT A                        PO BOX 2707                                                                                           KETCHUM            ID    83340
STUMPHF, JOANN                         3625 PORTER RD                                                                                        ROOTSTOWN          OH    44272‐9782
STUMPHF, RAYMOND J                     9966 AGATE STREET NORTHWEST                                                                           CANAL FULTON       OH    44614‐8111
STUMPHY, LEO R                         16417 COUNTY ROAD 153                                                                                 DEFIANCE           OH    43512‐9350
STUMPNER, PATRICIA K                   4238 COUNTY HWY A                                                                                     STETSONVILLE       WI    54480
STUMPS, BILL                           PORTER & MALOUF PA                4670 MCWILLIE DR                                                    JACKSON            MS    39206‐5621
STUNEK, ERNST A                        4237 S AUSTIN ST                                                                                      MILWAUKEE          WI    53207‐5039
STUNICH JAQUE & VALERIE                10597 E 38TH PL                                                                                       YUMA               AZ    85365‐6892
STUNTZ DENNIS (ESTATE OF) (489261)     BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD         OH    44067
                                                                         PROFESSIONAL BLDG
STUNZ JR, JOHN H                       735 ARDMOOR DR                                                                                        BLOOMFIELD HILLS   MI 48301‐2417
STUP LIOUS E (340136) ‐ STUP LOUIS E   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA 23510
                                                                         STREET, SUITE 600
STUP, LOUIS E                          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA 23510‐2212
                                                                         STREET, SUITE 600
STUPAK, FLORENCE                       79 HOLLY HILL DR                  C/O JANIS L NERI                                                    SOUTHINGTON         CT   06489‐2318
STUPAK, RICHARD B                      4515 WILLOW BEND DR                                                                                   ARLINGTON           TX   76017‐1341
STUPAK, SUSAN E                        4515 WILLOW BEND DR                                                                                   ARLINGTON           TX   76017‐1341
STUPAK, SUSAN E                        PO BOX 150763                                                                                         ARLINGTON           TX   76015
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Name                            Address1                           Address2            Address3         Address4         City                 State Zip
STUPAR, AGNES C                 B0X 385                                                                                  CHAMPION              PA 15622
STUPCA, MICHAEL S               132 MAYFAIR RD                                                                           LEXINGTON             OH 44904‐9781
STUPECKI JR, HENRY              29759 TROPEA DR                                                                          WARREN                MI 48092‐3332
STUPI, PAUL J                   133 LEEWARD RD                                                                           MANAHAWKIN            NJ 08050‐1732
STUPICA, IVANKA                 1772 PARK CT                                                                             EUCLID                OH 44117‐2227
STUPICA, JOSEPHINE              24481 STEPHEN AVENUE                                                                     EUCLID                OH 44123‐2324
STUPNICK, FRANCIS N             117 CHESTNUT ST                                                                          MEDINA                NY 14103‐1706
STUPNICKI, DALE J               10050 WALANDER ST                                                                        SAND LAKE             MI 49343‐8724
STUPNICKI, DAVID M              1275 N MILLER RD                                                                         SAGINAW               MI 48609‐4867
STUPNICKI, LEONARD J            3024 WALTERS DR                                                                          SAGINAW               MI 48601‐4607
STUPP, CHERYL A                 26 DECK RD                                                                               RICHLAND              PA 17087‐9626
STUPP, REXFORD R                2345 ADA DR                                                                              MIDDLETOWN            OH 45042‐9646
STUPSKI, JOSEPH L               8 DENNIS LN                                                                              CHEEKTOWAGA           NY 14227‐1302
STUR DESIGN                     619 HENDRIE BLVD                                                                         ROYAL OAK             MI 48067‐3101
STURDAVANT, DARLENE             1195 WOODWIND DR                                                                         HASLETT               MI 48840
STURDAVANT, DARLENE             1195 WOODWIND TRL                                                                        HASLETT               MI 48840‐8956
STURDEVANT JR, KENNETH E        1181 SHENANDOAH DR                                                                       CLAWSON               MI 48017‐1068
STURDEVANT JR, KENNETH EDWARD   1181 SHENANDOAH DR                                                                       CLAWSON               MI 48017‐1068
STURDEVANT, CAROL A             2612 FREMBES RD                                                                          WATERFORD             MI 48329‐3613
STURDEVANT, DAVID A             2612 FREMBES RD                                                                          WATERFORD             MI 48329‐3613
STURDEVANT, KENNETH E           404 E TIENKEN RD                                                                         ROCHESTER HLS         MI 48306‐4535
STURDEVANT, KENNETH J           4806 CHESTERFIELD CT                                                                     INDIANAPOLIS          IN 46227‐1601
STURDEVANT, ROBERT G            9091 CAIN DRIVE NE                                                                       WARREN                OH 44484‐1706
STURDEVANT, ROBERT G            9091 CAIN DR NE                                                                          WARREN                OH 44484‐1706
STURDEVANT, SHERRELL A          27131 BOERNE FRST                                                                        BOERNE                TX 78006‐5226
STURDIK, BOZENA B               816 E PRINCETON AVE                                                                      PALMERTON             PA 18071‐1413
STURDIK, MARY                   816 E PRINCETON AVE                                                                      PALMERTON             PA 18071‐1413
STURDIVANT CINDY                209 SNOW BRAKE ROAD                                                                      GLENDORA              MS 38928
STURDIVANT JR, RAYMOND          1210 IRWIN DR                                                                            WATERFORD             MI 48327‐2022
STURDIVANT, ALBERTA             18921 PREST ST                                                                           DETROIT               MI 48235‐2853
STURDIVANT, BASIL A             14049 WESTGATE DR                                                                        REDFORD               MI 48239‐2869
STURDIVANT, BOBBY D             1188 MAURER AVE                                                                          PONTIAC               MI 48342‐1959
STURDIVANT, CALVIN E            1919 TAMARISK DR                                                                         EAST LANSING          MI 48823‐1453
STURDIVANT, DERRICK Q           1919 TAMARISK DR                                                                         EAST LANSING          MI 48823
STURDIVANT, DONALD R            54 WRIGHT CT                                                                             RICHMOND HILL         GA 31324‐4784
STURDIVANT, DOUGLAS C           283 CENTRAL ST                                                                           BATTLE CREEK          MI 49017‐3346
STURDIVANT, ELIZABETH A         606 GWYN DRIVE                                                                           PARAGOULD             AR 72450‐2557
STURDIVANT, GEORGE E            4207 VAN DYKE ST                                                                         DETROIT               MI 48214‐1134
STURDIVANT, GURLEY              PO BOX 2201                                                                              BELLEVILLE            MI 48112
STURDIVANT, GWENDOLYN P         PO BOX 1765                                                                              MONTCLAIR             NJ 07042‐7765
STURDIVANT, IRIS L              335 BEACH 54TH ST APT 2B                                                                 FAR ROCKAWAY          NY 11692‐1708
STURDIVANT, JAMES A             3170 S 475 E                                                                             LOGANSPORT            IN 46947‐8581
STURDIVANT, JAMES L             530 COUNTRY CLUB RD                                                                      YORK                  AL 36925‐2029
STURDIVANT, JAMES P             1341 MAUREEN AVE                                                                         MADISON HEIGHTS       MI 48071‐2934
STURDIVANT, JERRY L             3729 HORSE MINT TRL                                                                      LEXINGTON             KY 40509‐2947
STURDIVANT, JOSEPH D            2795 COSTA MESA RD                                                                       WATERFORD             MI 48329‐2435
STURDIVANT, LORA L              1709 FAIRWAY DR                                                                          OFALLON                IL 62269‐2915
STURDIVANT, LOUIS H             PO BOX 1765                                                                              MONTCLAIR             NJ 07042‐7765
STURDIVANT, MAARIUS C.          3659 WASHINGTON BLVD                                                                     UNIVERSITY HEIGHTS    OH 44118‐2618
STURDIVANT, MADINE              1517 HARVEST LN                                                                          YPSILANTI             MI 48198‐3316
STURDIVANT, MAXWELL             PORTER & MALOUF PA                 4670 MCWILLIE DR                                      JACKSON               MS 39206‐5621
STURDIVANT, ODELL               13806 WADSWORTH ST                                                                       DETROIT               MI 48227‐3065
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Name                             Address1                         Address2                      Address3   Address4             City             State Zip
STURDIVANT, THOMAS G             SHANNON LAW FIRM                 100 W GALLATIN ST                                             HAZLEHURST        MS 39083‐3007
STURDIVANT, WILLIE L             1517 HARVEST LN                                                                                YPSILANTI         MI 48198‐3316
STURDY CORP                      1822 CAROLINA BEACH RD                                                                         WILMINGTON        NC 28401‐6504
STURDY CORP                      ROLAND HAMBY X234                1822 CAROLINA BEACH ROAD                 CHIHUAHUA CH 31125
                                                                                                           MEXICO
STURDY CORPORATION               1839 CAROLINA BEACH RD                                                                         WILMINGTON       NC 28401‐6552
STURDY CORPORATION               ROLAND HAMBY X234                1822 CAROLINA BEACH ROAD                 CHIHUAHUA CH 31125
                                                                                                           MEXICO
STURDY JR, V A                   3130 KINGS BROOK DR                                                                            FLUSHING         MI   48433‐2409
STURDY JR, VERNON A              3130 KINGS BROOK DR                                                                            FLUSHING         MI   48433‐2409
STURDY MEMORIAL HOSP             PO BOX 2963                                                                                    ATTLEBORO        MA   02703‐0963
STURDY MEMORIAL HOSPITAL         211 PARK ST                                                                                    ATTLEBORO        MA   02703‐3143
STURDY MEMORIAL HOSPITAL INC     211 PARK ST                      PO BOX 2963                                                   ATTLEBORO        MA   02703‐3143
STURDY ORTHOPEDIC &              281 COUNTY ST                                                                                  ATTLEBORO        MA   02703‐3511
STURDY, KAREN F                  3130 KINGS BROOK DR                                                                            FLUSHING         MI   48433‐2409
STURDY, KAREN FRANCES            3130 KINGS BROOK DR                                                                            FLUSHING         MI   48433‐2409
STURDY, KATHRYN D                1079 FAIRWAY DR                                                                                PONTIAC          MI   48340‐1479
STURDY, KATHRYN DARLYNE          1079 FAIRWAY DR                                                                                PONTIAC          MI   48340‐1479
STURDY, TERRY L                  12522 SAINT ANDREWS WAY                                                                        FENTON           MI   48430‐8870
STURDY, VERNON A                 7045 JOSE LAKE RD                                                                              SOUTH BRANCH     MI   48761‐9614
STURDY/WILMINGTON                1822 CAROLINA BEACH RD                                                                         WILMINGTON       NC   28401‐6504
STURGELL, ALBERT                 1356 SUBURBAN VILLAGE CIR                                                                      RICHMOND         VA   23235‐4853
STURGELL, ARCHIE C               2605 MAPLEGROVE AVE                                                                            DAYTON           OH   45414‐5014
STURGELL, ARCHIE W               6311 AGENBROAD RD                                                                              TIPP CITY        OH   45371‐8759
STURGELL, EDWARD L               116 N MAIN ST                                                                                  SPENCER          IN   47460‐1302
STURGELL, IVAN B                 1255 JOPLIN AVE NW                                                                             PORT CHARLOTTE   FL   33948‐2005
STURGELL, LARRY R                770 NORWICH RD                                                                                 VANDALIA         OH   45377‐1630
STURGELL, PEGGY J                221 DELAWARE AVE                 PO BOX 584                                                    LONDON           OH   43140‐1175
STURGELL, RAYMOND G              253 LINCOLN ST                                                                                 SPENCER          IN   47460‐1127
STURGELL, REBA                   960 N HOWARD ST                                                                                AKRON            OH   44310‐1334
STURGELL, REBA                   960 NORTH HOWARD STREET                                                                        AKRON            OH   44310‐1334
STURGELL, SHIRLEY A              904 S ARMSTRONG ST                                                                             KOKOMO           IN   46901‐5378
STURGEON AND BECK, INC.          BRUCE BECK                       350 S L ST                                                    TULARE           CA   93274‐5423
STURGEON AND BECK,INC.           350 S L ST                                                                                     TULARE           CA   93274‐5423
STURGEON CHEVROLET‐BUICK, INC.   139 W HWY 32                                                                                   LICKING          MO   65542
STURGEON CHEVROLET‐BUICK, INC.   BRENT STURGEON                   139 W HWY 32                                                  LICKING          MO   65542
STURGEON CONTROLS INC            15990 STURGEON ST                CGH ADD 06/27/03 VC                                           ROSEVILLE        MI   48066‐1836
STURGEON ELECT CO.                                                12150 E 112TH AVE                                                              CO   80640
STURGEON ELECTRIC                12150 E 112TH AVE                                                                              HENDERSON        CO   80640‐9116
STURGEON ELECTRIC COMPANY        12150 E 112TH AVE                                                                              HENDERSON        CO   80640‐9116
STURGEON ROBERT E (429896)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA   23510
                                                                  STREET, SUITE 600
STURGEON ROBERT OWEN (410937)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA 23510
                                                                  STREET, SUITE 600
STURGEON SR, DAVID B             7044 E CADILLAC RD                                                                             FALMOUTH         MI   49632‐9605
STURGEON, ALFARETTA              1405 ELDERBERRY PL                                                                             NIAGARA FALLS    NY   14304‐1980
STURGEON, BARBARA A              708 MAPLE CREST DRIVE                                                                          BALTIMORE        MD   21220
STURGEON, BERNICE H              2343 SHAWNEE TRAIL                                                                             YOUNGSTOWN       OH   44511‐1371
STURGEON, DANIEL A               408 S HARVEY DR                                                                                GREENTOWN        IN   46936‐1619
STURGEON, DAVID M                245 N VINE ST                                                                                  PLAINFIELD       IN   46168
STURGEON, EBBERT L               4330 W CAMBRIDGE AVE                                                                           VISALIA          CA   93277‐3968
STURGEON, EDITH CROSBY           102 WATER ST                                                                                   FRAMINGHAM       MA   01701‐3447
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STURGEON, EDITH CROSBY              102 WATER STREET                                                                            FRAMINGHAM         MA 01701‐3447
STURGEON, EDWARD E                  2918 MOORE RD                                                                               ANDERSON           IN 46011‐4627
STURGEON, EVAN W                    184 N 6TH ST                                                                                MIDDLETOWN         IN 47356‐1410
STURGEON, FRANCES J                 408 S HARVEY DR                                                                             GREENTOWN          IN 46936‐1619
STURGEON, FREDRICK                  2311 SHELBURNE AVE SW                                                                       DECATUR            AL 35603‐1843
STURGEON, GEORGE E                  172 TENT HILL RD                                                                            SANDY LAKE         PA 16145‐3810
STURGEON, JENNIFER L                100 BERYL LN                                                                                BLUE RIDGE         TX 75424‐4332
STURGEON, JOHN F                    8090 VICTORY ST                                                                             VICKSBURG          MI 49097‐9300
STURGEON, JOSEPH E                  276 STAHL AVE                                                                               CORTLAND           OH 44410‐1138
STURGEON, JOSEPH R                  7111 NORTH KINGSTON COURT                                                                   KANSAS CITY        MO 64119‐1264
STURGEON, JOSEPH ROBERT             PO BOX 46663                                                                                KANSAS CITY        MO 64180‐6663
STURGEON, JOYCE B                   155 TURRILL RD                                                                              LAPEER             MI 48446‐3710
STURGEON, LARRY W                   6011 THOMAS RD                                                                              INDIANAPOLIS       IN 46259‐1045
STURGEON, LORETTA M                 867 N LAMB BLVD 70                                                                          LAS VEGAS          NV 89110‐2310
STURGEON, MARK R                    203 TRAILWAY RD                                                                             MIDDLE RIVER       MD 21220
STURGEON, MARK W                    506 N 11TH ST                                                                               MIDDLETOWN         IN 47356‐1241
STURGEON, MARK WILLIAM              506 N 11TH ST                                                                               MIDDLETOWN         IN 47356‐1241
STURGEON, MARTIN J                  155 TURRILL RD                                                                              LAPEER             MI 48446‐3710
STURGEON, MARY LINN                 812 CAMPBELL AVE                  C/O MURRAY STEWART                                        INDIANAPOLIS       IN 46219‐4517
STURGEON, PAULINE                   2311 SHELBURNE AVE SW                                                                       DECATUR            AL 35603‐1843
STURGEON, PHYLLIS H                 35711 WASHINGTON LOOP RD MH11A                                                              PUNTA GORDA        FL 33982
STURGEON, RANDALL G                 10535 LINDLEY AVE APT 18                                                                    NORTHRIDGE         CA 91326‐3239
STURGEON, RICHARD D                 4231 TAGGETT LAKE DR                                                                        HIGHLAND           MI 48357‐2249
STURGEON, RICHARD ELMER             2014 WEAVER ST                                                                              FLINT              MI 48506‐2318
STURGEON, ROBERT E                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                      STREET, SUITE 600
STURGEON, ROBERT OWEN               C/O GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                                      STREET, SUITE 600
STURGEON, RONALD L                  30915 WARREN RD APT 15                                                                      WESTLAND          MI   48185‐2935
STURGEON, RONALD L                  PO BOX 164                                                                                  BEAVERTON         MI   48612‐0164
STURGEON, STEVEN A                  5607 SENNA CT                                                                               FORT WAYNE        IN   46804‐4997
STURGEON, STEVEN ALLEN              5607 SENNA CT                                                                               FORT WAYNE        IN   46804‐4997
STURGEON, THOMAS A                  2127 S BELSAY RD                                                                            BURTON            MI   48519‐1211
STURGEON, TODD A                    6432 MAIN ST                                                                                ANDERSON          IN   46013‐3516
STURGEON, WANDA J                   4330 W CO RD 50 S                                                                           KOKOMO            IN   46901
STURGES HENRY HOLT JR (ESTATE OF)   WEITZ & LUXENBERG                 180 MAIDEN LANE                                           NEW YORK          NY   10038
(485185)
STURGES JACK (633400)               BRAYTON PURCELL                   PO BOX 6169                                               NOVATO            CA   94948‐6169
STURGES JOHN                        17274 WOODHILL ST                                                                           FONTANA           CA   92336‐1558
STURGES MARY JEAN                   1280 SAN FELIPE RD                                                                          FAYETTEVILLE      TX   78940‐5644
STURGES MELBY AARON                 STURGES MELBY, AARON              5055 WILSHIRE BLVD STE 300                                LOS ANGELES       CA   90036‐6101
STURGES MELBY, AARON                KROHN & MOSS ‐ CA,                5055 WILSHIRE BLVD STE 300                                LOS ANGELES       CA   90036‐6101
STURGES, HELEN C                    2812 CORRECTIONVILLE RD                                                                     SIOUX CITY        IA   51105‐3628
STURGES, HENRY HOLT                 WEITZ & LUXENBERG                 180 MAIDEN LANE                                           NEW YORK          NY   10038
STURGES, JACK                       BRAYTON PURCELL                   PO BOX 6169                                               NOVATO            CA   94948‐6169
STURGES, JASON C                    4517 VEMAN RD                                                                               PITTSBURGH        PA   15227‐1327
STURGES, JOHN F                     PO BOX 700                                                                                  POMONA            CA   91769‐0700
STURGES, WAYNE C                    704 MARIE ST                                                                                GLASSPORT         PA   15045‐1131
STURGESS, BARBARA                   4499 ALDER DR                                                                               FLINT             MI   48506‐1459
STURGESS, F J                       6421‐1 BAY CLUB DR, BLDG 14                                                                 FORT LAUDERDALE   FL   33308
STURGESS, LOREN D                   10 KEY BISCAYNE WAY                                                                         LEESBURG          FL   34788‐7984
STURGESS, MILDRED M                 555 W MOUNT MORRIS ST APT 2                                                                 MOUNT MORRIS      MI   48458‐1846
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STURGESS, THOMAS W          6433 WAGNER AVE                                                                            GRAND BLANC      MI 48439‐9115
STURGHILL, CORENE B         5519 BERMUDA LN                                                                            FLINT            MI 48505‐1074
STURGHILL, JEROME L         1715 WAYSIDE RD                                                                            CLEVELAND        OH 44112‐1234
STURGHILL, WALTER L         PO BOX 5171                                                                                FLINT            MI 48505‐0171
STURGILL DAVID (448071)     BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                           PROFESSIONAL BLDG
STURGILL OWEN (355213)      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                           STREET, SUITE 600
STURGILL TURNER BARKER &    MOLONEY PLLC                   155 E MAIN ST                                               LEXINGTON       KY   40507
STURGILL VOYNE J (316542)   ASHCRAFT & GEREL               10 E BALTIMORE ST STE 1212                                  BALTIMORE       MD   21202‐1624
STURGILL, ADAM B            8961 WILSON RD                                                                             WAYNESVILLE     OH   45068‐8654
STURGILL, BILLIE J          1232 N. MAPLE ST.                                                                          EATON           OH   45320‐1234
STURGILL, BILLIE J          1232 N MAPLE ST                                                                            EATON           OH   45320‐1234
STURGILL, BILLY C           1232 N MAPLE ST                                                                            EATON           OH   45320‐1234
STURGILL, BILLY R           3120 MCLEAN RD                                                                             FRANKLIN        OH   45005‐4766
STURGILL, BONNIE JEAN       2349 CHESTOA PIKE                                                                          ERWIN           TN   37650‐7921
STURGILL, BONNIE L          6020 CHARLES GATE ROAD                                                                     HUBER HEIGHTS   OH   45424‐5424
STURGILL, CHARLES E         4296 E 100 N                                                                               SHELBYVILLE     IN   46176‐9217
STURGILL, CHARLES R         4 FRITCHIE PL                                                                              KETTERING       OH   45420‐2920
STURGILL, CHARLES R         4 FRITCHIE PLACE                                                                           KETTERING       OH   45420‐5420
STURGILL, CLARENCE B        720 BURNTWOOD DR.                                                                          BEAVERCREEK     OH   45430‐1655
STURGILL, CLAUDE D          3494 COVERT RD                                                                             LESLIE          MI   49251‐9713
STURGILL, CURTIS P          5866 KING JAMES CT                                                                         HUBER HEIGHTS   OH   45424‐5426
STURGILL, DAVID C           2374 BLASDEL DR                                                                            LAWRENCEBURG    IN   47025‐9630
STURGILL, ELEANOR           15480 BANNER                                                                               TAYLOR          MI   48180
STURGILL, ELLIS B           PO BOX 162                                                                                 PLYMOUTH        OH   44865‐0162
STURGILL, ELMER L           1190 KINGDOM RD                                                                            DUFFIELD        VA   24244‐4072
STURGILL, GARRY D           6135 N GENESEE RD                                                                          FLINT           MI   48506‐1121
STURGILL, GARRY DOUGLAS     6135 N GENESEE RD                                                                          FLINT           MI   48506‐1121
STURGILL, GARY R            6020 CHARLESGATE ROAD                                                                      HUBER HEIGHTS   OH   45424‐1123
STURGILL, GRACE V           4387 N GENESEE RD                                                                          FLINT           MI   48506‐1522
STURGILL, HAROLD D          6933 COZADDALE RD                                                                          GOSHEN          OH   45122‐9649
STURGILL, JAMES H           3822 NE 86TH TER                                                                           KANSAS CITY     MO   64156‐1304
STURGILL, JAMES HAROLD      3822 NE 86TH TER                                                                           KANSAS CITY     MO   64156‐1304
STURGILL, JASON L           347 E CASTLE RD                                                                            FOSTORIA        MI   48435‐9663
STURGILL, JEFFREY R         7011 STATE HIGHWAY 57                                                                      GOSPORT         IN   47433‐7994
STURGILL, JENNIFER L        723 KOLPING AVE                                                                            DAYTON          OH   45410‐3020
STURGILL, JERRY E           1149 DEVON AVE                                                                             KETTERING       OH   45429‐3601
STURGILL, JOHN L            1030 BENTON HARBOR BLVD                                                                    MOUNT JULIET    TN   37122‐2220
STURGILL, JOHNNY L          PO BOX 2025                    6655 CHAMPANGE RD                                           CASEVILLE       MI   48725‐2025
STURGILL, KENNETH B         1340 CALLE BONITA DR                                                                       PORT ORANGE     FL   32129‐7856
STURGILL, KENNETH E         98 LIVINGSTON DRIVE                                                                        HAMILTON        OH   45013‐1252
STURGILL, LEE R             7 QUEEN ELEANOR DR                                                                         ELKTON          MD   21921‐7010
STURGILL, LEO               7825 E CASSTOWN CLARK RD                                                                   CASSTOWN        OH   45312‐9799
STURGILL, LEONARD E         4740 SHADY HILL LN                                                                         KETTERING       OH   45429‐5541
STURGILL, LESLIE A          76 GRAND AVE                                                                               JANE LEW        WV   26378‐8545
STURGILL, LILLIAN E         2313 ARLINGTON AVE                                                                         FLINT           MI   48506‐3484
STURGILL, LUCRETIA A        228 BALDWIN STREET                                                                         BEREA           KY   40403‐1459
STURGILL, MARY E            1030 BENTON HARBOR BLVD                                                                    MOUNT JULIET    TN   37122‐2220
STURGILL, MILDRED           390 BROWER RR#1                                                                            NORTH BEND      OH   45052
STURGILL, MILDRED K         PO BOX 224                                                                                 DUFFIELD        VA   24244‐0224
STURGILL, NORMALINE         4258 DANIEL BOON RD                                                                        GATE CITY       VA   24251
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Name                               Address1                            Address2                      Address3   Address4         City            State Zip
STURGILL, OWEN                     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                                       STREET, SUITE 600
STURGILL, PANSY LEE                1424 WESTWOOD DR                                                                              FLINT           MI   48532‐2674
STURGILL, PAUL C                   222 IRONWOOD DR                                                                               DAYTON          OH   45449‐1543
STURGILL, RANDALL W                6020 CHARLESGATE STREET                                                                       HUBERHEIGHTS    OH   45424‐5424
STURGILL, RANDY H                  4151 CHARTER OAK DR                                                                           FLINT           MI   48507‐5551
STURGILL, RANDY HAROLD             4151 CHARTER OAK DR                                                                           FLINT           MI   48507‐5551
STURGILL, RANDY L                  25161 TRANQUILITY CT                                                                          WEST HARRISON   IN   47060
STURGILL, RAY D                    6411 HENDERSON RD                                                                             COLUMBIAVILLE   MI   48421‐8812
STURGILL, REBECCA L                134 HOOP COURT                                                                                BELLBROOK       OH   45305‐2109
STURGILL, ROY M                    8741 READING RD 2                                                                             CINCINNATI      OH   45215
STURGILL, SAMUEL F                 N5257 PINE CONE CIR                                                                           WINTER          WI   54896‐7221
STURGILL, SHANE                    7108 SAFFRON DR                                                                               HUBER HEIGHTS   OH   45424‐2309
STURGILL, SHIRLEY J                222 IRONWOOD DR                                                                               DAYTON          OH   45449‐1543
STURGILL, THERESA D                4151 CHARTER OAK DR                                                                           FLINT           MI   48507‐5551
STURGILL, THOMAS K                 7842 BALFOUR AVE                                                                              ALLEN PARK      MI   48101‐2265
STURGILL, THOMAS R                 1668 DAWSON AVE W                                                                             BIG STONE GAP   VA   24219‐4356
STURGILL, VIRGINIA                 1369 S 5TH ST                                                                                 COLUMBUS        OH   43207‐1117
STURGILL, VOYNE J                  ASHCRAFT & GEREL                    10 E BALTIMORE ST STE 1212                                BALTIMORE       MD   21202‐1624
STURGILL, WILLIAM D                2185 ST RT 571 WEST                                                                           GREENVILLE      OH   45331‐9474
STURGILL, WILLIAM D                2185 STATE ROUTE 571                                                                          GREENVILLE      OH   45331‐9474
STURGILL,REBECCA L                 1670 FALKE DR                                                                                 DAYTON          OH   45432‐3314
STURGIS III, JOHN H                1826 ADDINGTON LN                                                                             ANN ARBOR       MI   48108‐8957
STURGIS IRON & METAL COMPANY INC
STURGIS JR, RAYMOND H              9185 ECKHART RD                                                                               GERMANTOWN      OH   45327‐9714
STURGIS MACHINING INC              7805 N STATE ROAD 9                                                                           HOWE            IN   46746‐9820
STURGIS, ALAN E                    6451 SILVER LAKE RD                                                                           LINDEN          MI   48451‐8709
STURGIS, BEVERLY A                 31695 PALMER RD APT 201                                                                       WESTLAND        MI   48186‐6792
STURGIS, BEVERLY A                 31695 PALMER ROAD                   APT. 201                                                  WESTLAND        MI   48186
STURGIS, BRANDON DOUGLAS           12102 PINEHURST LN                                                                            GRAND BLANC     MI   48439‐2632
STURGIS, CHRISTOPHER M             1833 BELVO RD BELVO                                                                           MIAMISBURG      OH   45342
STURGIS, DANIEL O                  14787 BALLARD RD                                                                              FLORENCE        IN   47020‐9512
STURGIS, DANIEL R                  9133 HALF ACRE DR                                                                             WHITE LAKE      MI   48386‐3324
STURGIS, DEBORAH                   6204 AVENUE C                                                                                 FAIRFIELD       AL   35084‐1952
STURGIS, DENNIS C                  1203 KELCRASTA DR                                                                             SAINT JOHNS     MI   48879‐8251
STURGIS, DENNIS G                  6126 NORWAY RD                                                                                OSCODA          MI   48750‐8700
STURGIS, DOROTHY M                 8530 WHITCOMB ST                                                                              DETROIT         MI   48228‐2256
STURGIS, DOUGLAS L                 12102 PINEHURST LN                                                                            GRAND BLANC     MI   48439‐2632
STURGIS, EDWARD                    C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                    EDWARDSVILLE    IL   62025
                                   ROWLAND PC
STURGIS, GEORGIA K                 7105 ELMWOOD DR                                                                               GRAND BLANC     MI   48439‐1665
STURGIS, JACKSON H                 3134 ALLISON AVE                                                                              INDIANAPOLIS    IN   46224‐2322
STURGIS, JOHN C                    10690 HEETHER ROAD                                                                            BELDING         MI   48809‐8717
STURGIS, JOHN R                    14155 VISCHER RD                                                                              ADDISON         MI   49220‐9737
STURGIS, JOHN RALPH                14155 VISCHER RD                                                                              ADDISON         MI   49220‐9737
STURGIS, KATHLEEN M                45643 ADDINGTON LN                                                                            NOVI            MI   48374‐3785
STURGIS, LINDA D                   17101 ROSE HOLW                                                                               EDMOND          OK   73012‐6738
STURGIS, PHILLIP A                 624 S. GRAND TRAVERSE               C/O MARTIN A. TYCKOSKI                                    FLINT           MI   48502
STURGIS, RICHARD L                 2462 E GRAND BLANC RD                                                                         GRAND BLANC     MI   48439‐8114
STURGIS, ROBERT E                  255 RALEIGH PL                                                                                LENNON          MI   48449‐9604
STURGIS, ROBERT H                  308 MELINDA CIR                                                                               WHITE LAKE      MI   48386‐3460
STURGIS, ROBERT J                  2935 SW 90TH ST                                                                               OCALA           FL   34476‐6670
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Name                       Address1                      Address2               Address3      Address4         City               State Zip
STURGIS, ROBERT W          29759 ROBERT ST                                                                     WICKLIFFE           OH 44092‐2217
STURGIS, ROSE J            2935 SW 90TH ST                                                                     OCALA               FL 34476‐6670
STURGIS, RUTH L            2349 COLUMBIA WOODS CT                                                              DECATUR             GA 30032‐6724
STURGIS, TOMMY L           19909 STATE ROUTE 115                                                               COLUMBUS GRV        OH 45830‐9276
STURGIS, WILLIE            PORTER & MALOUF PA            4670 MCWILLIE DR                                      JACKSON             MS 39206‐5621
STURIS JR, JURIS           3360 NORTHWOOD                                                                      SAGINAW             MI 48603‐2300
STURIS, TALIVALDIS         38948 KOPPERNICK RD                                                                 WESTLAND            MI 48185‐1079
STURK, JANETTE E           4392 LAWNWOOD LN                                                                    BURTON              MI 48529‐1931
STURK, KATHERINE M         4188 WESTON DR                                                                      BURTON              MI 48509‐1047
STURK, KATHERINE MARY      4188 WESTON DR                                                                      BURTON              MI 48509‐1047
STURK, RANDY R             6690 WESTMINISTER ST                                                                FENTON              MI 48430‐9022
STURK, RENEE A             5415 TORREY RD                                                                      FLINT               MI 48507‐3811
STURK, RICHARD F           5549 CIRCLE DR                                                                      STANDISH            MI 48658‐9768
STURK, RYAN F              11543 CROSBY RD                                                                     FENTON              MI 48430‐8926
STURK, STEVEN C            2375 WILLOWDALE DR                                                                  BURTON              MI 48509‐2601
STURK, WAYNE L             2336 SW CABALLERO ST                                                                PORT ST LUCIE       FL 34953‐2401
STURKEY, ADDIE L           17604 TALFORD AVE                                                                   CLEVELAND           OH 44128‐1648
STURKEY, DIANE A           1806 MEMORIAL DR APT 1                                                              CALUMET CITY         IL 60409‐3178
STURKEY, WILLIAM E         342 LOWER REBECCA RD                                                                FITZGERALD          GA 31750‐8100
STURKEY‐LONG, GARNETTA E   915 CRESSWELL ST                                                                    SAGINAW             MI 48601‐3335
STURKIE, BECKY S           51 GALEWOOD DR                                                                      FAIRBORN            OH 45324‐4427
STURKIN, SHIRLEY J         11452 LANCERS TRL                                                                   BRIGHTON            MI 48114
STURL WILSON               245 LINCOLN DR                                                                      HARROGATE           TN 37752‐6948
STURLA, FRANCISCO A        24997 NEWBERRY DR                                                                   NOVI                MI 48375‐2281
STURM, ADOLPH M            5808 3 MILE RD                                                                      BAY CITY            MI 48706‐9032
STURM, CAROLYN L           7114 LONG AVE                                                                       SHAWNEE             KS 66216‐3613
STURM, CECIL A             8845 HOMERICH AVE SW                                                                BYRON CENTER        MI 49315‐8628
STURM, DAVID A             5767 CIRCLE T DR                                                                    GREENWOOD           IN 46143‐9064
STURM, EARL R              1521 KENTWOOD AVE                                                                   MODESTO             CA 95355‐1132
STURM, EDWARD W            1400 RALPH ST                                                                       GARDEN CITY         MI 48135‐1193
STURM, EUGENE L            152 PRESTON DR                                                                      PAWLEYS ISLAND      SC 29585‐6305
STURM, FLOETTA             STE 218                       709 MADISON AVENUE                                    TOLEDO              OH 43604‐6624
STURM, FLOETTA             709 MADISON AVE STE 218                                                             TOLEDO              OH 43604
STURM, FRANK
STURM, GERTRUDE M          6534 W SUNNYSLOPE LN                                                                GLENDALE           AZ   85302‐3926
STURM, HARRY J             2118 PLEASANT VIEW AVE                                                              LANSING            MI   48910‐0350
STURM, JACQUELINE M        523 GENEVA AVE                                                                      STRUTHERS          OH   44471‐1326
STURM, JOHN                3148 BONHAM DR                                                                      INDIANAPOLIS       IN   46222
STURM, JOHN W              2122 BEDFORD RD                                                                     LOWELLVILLE        OH   44436‐9753
STURM, JONATHAN BEALL      6264 CREEKSIDE CIR                                                                  YPSILANTI          MI   48197‐9484
STURM, KENNETH H           52 UNION STREET                                                                     MOUNT CLEMENS      MI   48043‐5507
STURM, OWEN G              18 SCENIC FALLS RD                                                                  LONG VALLEY        NJ   07853‐3171
STURM, SANDRA              837 E CROWNPOINTE CT SW                                                             BYRON CENTER       MI   49315‐8206
STURM, THOMAS J            898 TIMBERLINE DR                                                                   ROCHESTER HLS      MI   48309‐1317
STURM, WILLIAM A           7606 NOFFKE DR                                                                      CALEDONIA          MI   49316‐8828
STURM, WILLIS A            2580 E 1450 N                                                                       SUMMITVILLE        IN   46070‐9010
STURM,KENNETH H            52 UNION ST                                                                         MOUNT CLEMENS      MI   48043‐5507
STURMAN INDUSTRIES         1 INNOVATION WAY                                                                    WOODLAND PARK      CO   80863‐3308
STURMAN INDUSTRIES INC     1 INNOVATION WAY                                                                    WOODLAND PARK      CO   80863‐3308
STURMAN, PHYLLIS           2522 LOCH CREEK WAY                                                                 BLOOMFIELD HILLS   MI   48304‐3812
STURMER, ROSE S            PO BOX 2695                   C/O GUY R. DEFRANCES                                  MERIDEN            CT   06450‐1695
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STURMS EUGENE G (401535)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510
                                                           STREET, SUITE 600
STURMS, EUGENE G           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510‐2212
                                                           STREET, SUITE 600
STURMS, RODNEY L           14308 S MAIN ST                                                                                   BELOIT             OH    44609‐9530
STURNER, ANNA M            4525 HOLMES DR                                                                                    WARREN             MI    48092‐1798
STURNER, PAUL E            27 COSHWAY PL                                                                                     TONAWANDA          NY    14150‐5214
STURNER, PAUL J            3456 DELAWARE AVE                                                                                 KENMORE            NY    14217‐1214
STURNIOLO FRANK            124 N GRETTA AVE                                                                                  WAUKEGAN           IL    60085‐4647
STURNOT, JAMES B           407 LA MARINA                                                                                     SANTA BARBARA      CA    93109‐1719
STURNY, BERNARD & MARYSE   BELLEVUE 13                                                                  1073 SAVIGNY
                                                                                                        SWITZERLAND
STUROCK, RHEA J            1315 SHEVCHENKO DR                                                                                ANN ARBOR          MI    48103‐9001
STUROMSKI, ROBERT G        7635 S NORTH CAPE RD                                                                              FRANKLIN           WI    53132‐2008
STURRUS, GERRIT W          6377 LAKE RIDGE DR                                                                                SAUGATUCK          MI    49453‐8422
STURT CHUCK                STURT, CHUCK                    6 SYLVAN WAY                                                      PARSPPANY          NJ    07054
STURT, CHUCK               6 SYLVAN WAY                                                                                      PARSPPANY          NJ    07054
STURT, CHUCK               4101 S MAIN ST                                                                                    SANTA ANA          CA    92707‐5758
STURTEVANT JR, STANLEY E   6485 CLOVERLEAF DR                                                                                LOCKPORT           NY    14094‐6120
STURTEVANT RICHMONT        DIV OF RYESON CORP              3203 WOLF RD                                                      FRANKLIN PARK       IL   60131‐1326
STURTEVANT, BETTY F        7120 GERSHWIN CT                                                                                  COLORADO SPGS      CO    80911‐2825
STURTEVANT, STEVEN J       24160 PRATT RD                                                                                    ARMADA             MI    48005‐4807
STURTEVANT, STEVEN R       7759 AKRON RD                                                                                     LOCKPORT           NY    14094‐9310
STURTEVANT/FRNKLN PK       3203 WOLF RD                                                                                      FRANKLIN PARK       IL   60131‐1326
STURTSMAN, GAYLA M         350 PUEBLO DR                                                                                     RUSSIAVILLE        IN    46979
STURTSMAN, GAYLA M         6567 E 50 N                                                                                       GREENTOWN          IN    46936‐9416
STURTZ DALE                STURTZ, DALE                    30 EAST BUTLER PIKE , SUITE 310                                   AMBLER             PA    19002
STURTZ DALE P              STURTZ, DALE                    2325 GRANT BUILDING 310 GRANT                                     PITTSBURGH         PA    15219
                                                           STREET
STURTZ, ANNE               9868 ONSTED HWY                                                                                   ONSTED             MI    49265‐9707
STURTZ, CHARLOTTE E        8012 ROSE LN                                                                                      GOODRICH           MI    48438‐9206
STURTZ, DENNIS K           40900 ROBBE RD                                                                                    BELLEVILLE         MI    48111‐3092
STURTZ, GARY R             1707 OVERHILL DR                                                                                  FLINT              MI    48503‐4654
STURTZ, GLENN A            244 N EXTENSION RD APT 105                                                                        MESA               AZ    85201‐6325
STURTZ, GREGORY A          2120 LIBERTY ST S                                                                                 CANTON             MI    48188‐8006
STURTZ, JAMES W            35221 OLD TIMBER RD                                                                               FARMINGTON HILLS   MI    48331‐1442
STURTZ, PETER D            3313 MERRILL AVE                                                                                  ROYAL OAK          MI    48073‐6816
STURTZ, RICHARD L          22386 CAPE COD WAY 82                                                                             FARMINGTON HILLS   MI    48336
STURWOLD, CLARENCE H       309 EASTVIEW AVE                                                                                  VANDALIA           OH    45377‐2015
STURWOLD, CLARENCE H       309 EASTVIEW ST                                                                                   VANDALIA           OH    45377‐2015
STURWOLD, FRANK J          15570 O CONNOR                                                                                    ALLEN PARK         MI    48101
STURWOLD, WILBUR A         2222 FESSLER BUXTON RD                                                                            RUSSIA             OH    45363‐9412
STURWOLD, WILLIAM A        2101 TONYA CT                                                                                     FRANKLIN           TN    37064‐4987
STURZA DENISE & LARRY      7809 FOX LN                                                                                       WHITMORE LAKE      MI    48189‐9282
STURZA, DIDINA             325 SE 11TH TER APT 203                                                                           DANIA BEACH        FL    33004‐5243
STURZA, FLOREA             325 SE 11TH TER APT 203                                                                           DANIA BEACH        FL    33004‐5243
STURZA, LARRY K            7809 FOX LN                                                                                       WHITMORE LAKE      MI    48189‐9282
STURZA, LARRY KEAN         7809 FOX LN                                                                                       WHITMORE LAKE      MI    48189‐9282
STURZENEGGER, ALBERT       4408 TEKA LN                                                                                      SAINT CLOUD        FL    34772‐8800
STURZER, ANDREAS F         606 E GRAND RIVER RD                                                                              LAINGSBURG         MI    48848‐8705
STURZINGER, MARIAN         3408 MASON RD                                                                                     MONROEVILLE        OH    44847‐9621
STURZINGER, THEODORE E     1514 W BOGART RD                                                                                  SANDUSKY           OH    44870‐7308
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Name                       Address1                          Address2               Address3      Address4         City           State Zip
STUS, EUGENE W             22763 COACHLIGHT CIR                                                                    TAYLOR          MI 48180‐6381
STUS, SALLY J              22763 COACHLIGHT CIR                                                                    TAYLOR          MI 48180‐6381
STUSRUD, ROBERT W          1537 BREWSTER RD                                                                        INDIANAPOLIS    IN 46260‐1021
STUSS DON & MARY ANN       3027 TALL TIMBERS DR                                                                    MILFORD         MI 48380‐3845
STUTES DEBRA               TOWNSLEY LAW FIRM                 3102 ENTERPRISE BLVD                                  LAKE CHARLES    LA 70601‐8722
STUTES DEBRA               PHILLIPS, CHLOE                   3102 ENTERPRISE BLVD                                  LAKE CHARLES    LA 70601‐8722
STUTES DEBRA               STUTES, DEBRA                     3102 ENTERPRISE BLVD                                  LAKE CHARLES    LA 70601‐8722
STUTES DEBRA               STUTES, ROBERT                    3102 ENTERPRISE BLVD                                  LAKE CHARLES    LA 70601‐8722
STUTES DEBRA               WOOD, CHAD                        3102 ENTERPRISE BLVD                                  LAKE CHARLES    LA 70601‐8722
STUTES, ANNA M             171 GLYNWOOD AVE                                                                        LAFAYETTE       LA 70506‐5518
STUTES, DEBRA              PO BOX 245                                                                              BELL CITY       LA 70630
STUTES, ROBERT             TOWNSLEY LAW FIRM                 3102 ENTERPRISE BLVD                                  LAKE CHARLES    LA 70601‐8722
STUTESMAN, ANNE L          17002 SE 38TH CIR                                                                       VANCOUVER       WA 98683
STUTESMAN, JAMES L         2906 S ELBA RD                                                                          LAPEER          MI 48446‐9628
STUTESMAN, JAMES R         1527 N CLINTON ST                                                                       SAGINAW         MI 48602‐4816
STUTESMAN, MILDRED M       56 SAINT LAWRENCE DRIVE                                                                 AUBURN HILLS    MI 48326‐1437
STUTEVILLE, EDWARD J       16267 HILLTOP DR                                                                        LINDEN          MI 48451‐8782
STUTEVILLE, EDWARD J.      16267 HILLTOP DR                                                                        LINDEN          MI 48451‐8782
STUTEVILLE, JOHN W         4601 POLLACK AVE                                                                        EVANSVILLE      IN 47714‐5869
STUTEVILLE, SCOTT H        5210 BITTER CREEK PL                                                                    FORT WAYNE      IN 46814‐9700
STUTHARD, ALLEN L          410 HAWTHORNE AVE                                                                       LONDON          OH 43140‐1155
STUTHARD, ALMA D           87 FLAX DR                                                                              LONDON          OH 43140‐1033
STUTMAN PERRY
STUTMAN PERRY (451453)     BELL ANDREW P                     747 3RD AVE RM 3700                                   NEW YORK       NY   10017‐2812
STUTMAN, PERRY             BELL ANDREW P                     747 3RD AVE RM3700                                    NEW YORK       NY   10017‐2812
STUTRUD, PHYLLIS L         3102 PALM DR                                                                            DAYTON         OH   45449‐2928
STUTSMAN, DOUGLAS          243 COUNTRY ESTATES DR                                                                  MITCHELL       IN   47446‐6615
STUTSO, LEONARD T          9392 N ELMS RD                                                                          CLIO           MI   48420‐8540
STUTSO, LEONARD TOM        9392 N ELMS RD                                                                          CLIO           MI   48420‐8540
STUTSO, LOIS J             9392 N ELMS RD                                                                          CLIO           MI   48420‐8540
STUTTARD, DIANE I          9840 SW 89TH TER APT L                                                                  OCALA          FL   34481
STUTTERHEIM, JOHN F        2790 ROUNDTREE DR                                                                       TROY           MI   48083‐2328
STUTTLE, GAYE N            4812 PAVALION DRIVE                                                                     KOKOMO         IN   46901
STUTTMAN, KURT I           2548 GROVENBURG RD                                                                      LANSING        MI   48911‐6445
STUTTS, KENDRA N           PO BOX 653                                                                              GRAND BLANC    MI   48480‐0653
STUTTS, KENDRA NICOLE      PO BOX 653                                                                              GRAND BLANC    MI   48480‐0653
STUTTS, MARJORIE E         2652 LYLES LN                                                                           SHREVEPORT     LA   71118‐2676
STUTTS, MARJORIE ELOUISE   2652 LYLES LN                                                                           SHREVEPORT     LA   71118‐2676
STUTTS, MICHAEL A          2927 BARTH ST                                                                           FLINT          MI   48504‐3051
STUTTS, MICHAEL ANTHONY    2927 BARTH ST                                                                           FLINT          MI   48504‐3051
STUTTS, NELLIE             ROUTE #5 BOX 56                                                                         KILLEN         AL   35645‐9304
STUTTS, SHARON AMBER       3954 DONNER TRL                                                                         PLACERVILLE    CA   95667‐8453
STUTZ GALLAGHER ARTIANO    SHINOFF & HOLTZ                   401 WEST A STREET                                     SAN DIEGO      CA   92101
STUTZ, DALE                2513 DARWOOD GRV                                                                        NEW HAVEN      IN   46774‐1003
STUTZ, DORIS A             1559 S SYRACUSE ST                C/O DEE FRAZIER                                       DENVER         CO   80231‐2677
STUTZ, EDWARD A            1403 HARVARD DR                                                                         BRUNSWICK      OH   44212‐3518
STUTZ, EDWARD L            3176 OXFORD MIDDLETOWN RD                                                               SOMERVILLE     OH   45064‐9431
STUTZ, HUBERT              8443 MOUNT ZION RD                                                                      FELICITY       OH   45120‐9633
STUTZ, JEFFREY L           2285 SMOKEWOOD DR                                                                       MANSFIELD      OH   44903‐9250
STUTZ, JEFFREY L.          2285 SMOKEWOOD DR                                                                       MANSFIELD      OH   44903‐9250
STUTZ, JOAN E              926 E BROADWAY                                                                          WAUKESHA       WI   53186
STUTZ, LAURA J             93 NICHOLS ST                                                                           LOCKPORT       NY   14094‐4813
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Name                           Address1                              Address2                       Address3                   Address4                 City               State Zip
STUTZ, MACK J                  5517 SUMMERFIELD DR E                                                                                                    TUSCALOOSA          AL 35404‐3649
STUTZ, MICHAEL E               1640 HEARTHSTONE DR                                                                                                      DAYTON              OH 45410‐3345
STUTZ, PETER M                 3 NIXON PL                                                                                                               LOCKPORT            NY 14094‐5719
STUTZ, PHILLIP E               3760 ST R 49                                                                                                             ARCANUM             OH 45304
STUTZ, ROY L                   PO BOX 67                                                                                                                BISON               OK 73720‐0067
STUTZ, SUSAN A                 5517 SUMMERFIELD DR E                                                                                                    TUSCALOOSA          AL 35404
STUTZ, WAYNE G                 926 E BROADWAY                                                                                                           WAUKESHA            WI 53186‐5535
STUTZMAN BROMBERG ESSERMAN &   COUNSEL FOR DEAN M. TRAFELET IN HIS   LEGAL REPRESENTATIVE FOR FUTURE ATTN: SANDER ESSERMAN,    2323 BRYAN STREET, SUITE DALLAS              TX 75201
PLIFKA PC                      CAPACITY AS                           ASBESTOS PERSONAL INJURY        ROBERT BROUSSEAU, PETER   2200
                                                                     CLAIMANTS                       DÆAPICE, JO HARTWICK
STUTZMAN BROMBERG ESSERMAN &   ATTY FOR AD HOC COMMITTEE OF          ATT: STEPHEN A. FELSENTHAL      2323 BRYAN STREET         SUITE 2200               DALLAS              TX   75201
PLIFKA PC                      ASBESTOS PERSONAL INJURY CLAIMANTS

STUTZMAN BROMBERG ESSERMAN &   ATTY FOR MARK BUTTITA, IN HIS CAPACITY SALVATORE BUTTITA, AND A      ATTN: ROBERT BROUSSEAU,     2323 BRYAN STREET, SUITE DALLAS             TX   75201
PLIFKA PC                      AS THE PERSONAL REPRESENTATIVE         MEMBER OF THE OFFICIAL        PETER D'APICE, JO HARTWICK, 2200
                                                                      UNSECURED CREDITORS           SANDER ESSERMAN

STUTZMAN BROMBERG ESSERMAN &   ATTY FOR AD HOC COMMITTEE OF          ATTN SANDER ESSERMAN PETER     2323 BRYAN STREET SUITE                             DALLAS              TX   75201
PLIFKA PC                      ASBESTOS PERSONAL INJURY CLAIMANTS    D'APICE JO HARTWICK JACOB      2200
                                                                     NEWTON
STUTZMAN DEBRA                 STUTZMAN, DEBRA                       PO BOX 846                                                                         NATCHEZ            MS    39121‐0846
STUTZMAN JUDY                  6165 TURNER RD                                                                                                           FLUSHING           MI    48433‐9278
STUTZMAN, ARTHUR W             483 MANTOLOKING RD                                                                                                       BRICK              NJ    08723‐5685
STUTZMAN, CHRISTOPHER G        426 BIG LAKE RD                                                                                                          KARNACK            TX    75661‐2408
STUTZMAN, DANIELLE             3792 JONES RD                                                                                                            DIAMOND            OH    44412‐9752
STUTZMAN, DAVID                53844 BUCKINGHAM LN                                                                                                      SHELBY TOWNSHIP    MI    48316‐2020
STUTZMAN, EDWIN                410 EDGEWATER DR                                                                                                         KOKOMO             IN    46902‐3526
STUTZMAN, JOHN H               PO BOX 281                                                                                                               HEGINS             PA    17938‐0281
STUTZMAN, JUDY A               6165 TURNER RD                                                                                                           FLUSHING           MI    48433‐9278
STUTZMAN, KEITH                125 LAUREL BRANCH CT                                                                                                     ROSWELL            GA    30075‐2177
STUTZMAN, MARTHA               10061 NEAMANTHIA TRAIL                                                                                                   TALLAHASSEE        FL    32312‐9682
STUTZMAN, MARYANN
STUTZMAN, OLEN
STUTZMAN, PAUL J               27 4TH AVE                                                                                                               PORT READING       NJ    07064‐2003
STUTZMAN, W J                  601 KENDRY                                                                                                               BLOOMFIELD HILLS   MI    48302‐0368
STUTZMAN, ZELMA C              502 BRAVE CT                                                                                                             KOKOMO             IN    46902‐7000
STUUT, RICHARD L               1492 CANAL ST                                                                                                            PORTAGE            MI    49002‐7504
STUVE, GERARD F                825 OLD FORT SUGAR HILL RD                                                                                               OLD FORT           NC    28762‐7687
STUVE, GERARD FRANCIS          825 OLD FORT SUGAR HILL RD                                                                                               OLD FORT           NC    28762‐7687
STUVE, JOSEPH A                13210 OYSTER LAKE RD                                                                                                     HOLLY              MI    48442‐8300
STUVE, JOSEPH ANTHONY          13210 OYSTER LAKE RD                                                                                                     HOLLY              MI    48442‐8300
STUVE, RICHARD E               35610 ELMIRA ST                                                                                                          LIVONIA            MI    48150‐2528
STUVEL, CYNTHIA A              312 SEQUOIA LN                                                                                                           LEONARD            MI    48367‐4281
STUVEL, ROBERT N               3119 S BELSAY RD                                                                                                         BURTON             MI    48519‐1619
STUVENGEN, CHARLES G           410 SPRING ST                                                                                                            ORFORDVILLE        WI    53576‐9445
STUVER, WILHELMINA J           11058 W 96TH PL                                                                                                          OVERLAND PARK      KS    66214‐2251
STUYVENBERG II, WILLIAM J      3958 COOMER RD                                                                                                           NEWFANE            NY    14108‐9653
STUYVESANT HERRON              4315 GREENWOOD LN                                                                                                        GRAPEVINE          TX    76051‐6719
STVARTAK, JOHN F               415 N WHEELING ST                                                                                                        TOLEDO             OH    43605‐1336
STVRTECKY, KENNETH J           13518 DAKOTA FIELDS DR                                                                                                   HUNTLEY            IL    60142‐7775
STYAERT, ANTONINA              13539 MOCERI CIR                                                                                                         WARREN             MI    48088‐7025
STYBEL, RICHARD J              12512 EASTWOOD BLVD                                                                                                      GARFIELD HTS       OH    44125‐3907
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Name                                Address1                             Address2                       Address3                Address4         City            State Zip
STYBORSKI PAUL (450833)             GEORGE & SIPES                       151 N DELAWARE ST              STE 1700                                 INDIANAPOLIS     IN 46204‐2503
STYBORSKI, PAUL                     GEORGE & SIPES                       151 N DELAWARE STS STE 1700                                             INDIANAPOLIS     IN 46204‐2503
STYCH, KENNETH A                    N2153 RIVER DR                                                                                               WALLACE          MI 49893‐9615
STYCHNO                             5500 E MARKET ST                                                                                             WARREN           OH 44484‐2214
STYCHNO JEFFREY                     STYCHNO, JEFFREY                     NATIONWIDE INSURANCE CO.       PO BOX 2655                              HARRISBURG       PA 17105
STYCHNO, JEFFREY                    NATIONWIDE INSURANCE CO.             PO BOX 2655                                                             HARRISBURG       PA 17105‐2655
STYCHNO, JEFFREY                    8595 HUNTERS TRL SE                                                                                          WARREN           OH 44484‐2410
STYE, JAMES                         18233 PRAIRIE ST                                                                                             DETROIT          MI 48221‐2137
STYE, LEONA M                       12939 SOUTH SYLVIA STREET                                                                                    TRAVERSE CITY    MI 49684‐5358
STYER, DENTON W                     904 COTTON CV                                                                                                PEARL            MS 39208‐7018
STYER, ROBERT A                     3210 FLETCHER AVE                                                                                            LAKELAND         FL 33803‐8309
STYER, ROSALIE                      610 GLENDALE AVE                                                                                             TILTON            IL 61833‐7940
STYERS JR, LOUIS J                  445 BUECHELE RD                                                                                              NEW FLORENCE     MO 63363‐2732
STYERS, ELIZABETH L                 8765 STONEY POINT RD                                                                                         HILLSBORO        OH 45133‐6413
STYERS, JERRY R                     2902 LINDA DR NW                                                                                             WARREN           OH 44485‐2038
STYERS, LORETTA J                   17824 HURON DR                                                                                               MACOMB           MI 48042‐2389
STYERS, MILDRED K                   16022 11TH RD                                                                                                PLYMOUTH         IN 46563‐9320
STYERS, VERNER G                    563 STATE ROUTE 88 NE                                                                                        BRISTOLVILLE     OH 44402‐9768
STYES, TIMOTHY L                    14372 FARMINGTON R.D                                                                                         LIVONIA          MI 48154
STYKA SR, DONALD E                  1830 RIDGELAWN AVE                                                                                           YOUNGSTOWN       OH 44509‐2114
STYKEMAIN CHEVROLET PONTIAC LLC     211 E PERRY ST                                                                                               PAULDING         OH 45879‐1414
STYKEMAIN CHEVROLET PONTIAC LLC     ATTN: CORPORATE OFFICER/AUTHORIZED   211 E PERRY ST                                                          PAULDING         OH 45879‐1414
                                    AGENT
STYKEMAIN CHEVROLET‐PONTIAC, LLC    211 E PERRY ST                                                                                               PAULDING        OH   45879‐1414
STYKEMAIN CHEVROLET‐PONTIAC, LLC    JOSEPH STYKEMAIN                     211 E PERRY ST                                                          PAULDING        OH   45879‐1414
STYKEMAIN HOLDINGS, LTD.            JAMES STYKEMAIN                      25124 ELLIOTT RD                                                        DEFIANCE        OH   43512‐9003
STYKEMAIN PONTIAC BUICK GMC LTD     25124 ELLIOTT RD                                                                                             DEFIANCE        OH   43512‐9003
STYKEMAIN PONTIAC BUICK GMC LTD     ATTN: CORPORATE OFFICER/AUTHORIZED   25124 ELLIOTT RD                                                        DEFIANCE        OH   43512‐9003
                                    AGENT
STYKEMAIN PONTIAC‐BUICK‐GMC, LTD.   25124 ELLIOTT RD                                                                                             DEFIANCE        OH 43512‐9003

STYKEMAIN PONTIAC‐BUICK‐GMC, LTD.   JAMES STYKEMAIN                      25124 ELLIOTT RD                                                        DEFIANCE        OH 43512‐9003

STYKEMAIN TRUCKS, INC.              JAMES STYKEMAIN                      18688 US HIGHWAY 24                                                     DEFIANCE        OH   43512‐8600
STYKEMAIN TRUCKS, INC.              18688 US HIGHWAY 24                                                                                          DEFIANCE        OH   43512‐8600
STYLA, RICHARD R                    358 WEDGEWOOD DRIVE                                                                                          MONTGOMERY      TX   77356‐8350
STYLE CRAFT PROTOTYPE INC           1820 BRINSTON DR                                                                                             TROY            MI   48083‐2215
STYLE W/A SMILE SALON               ATTN: FRANKIE BRIGGS                 4112 BUCHANAN AVE SW                                                    WYOMING         MI   49548‐3150
STYLE, GARY C                       270 BROOKHAVEN LN                                                                                            TROY            MO   63379‐3467
STYLE‐CRAFT PROTOTYPE               CARL DIMAGGIO                        1820 BRINSTON                                                           WINONA          MN   55987
STYLE‐CRAFT PROTOTYPE               CARL DIMAGGIO                        1820 BRINSTON DR                                                        TROY            MI   48083‐2215
STYLE‐CRAFT PROTOTYPES INC          CARL DIMAGGIO                        1820 BRINSTON                                                           WINONA          MN   55987
STYLE‐CRAFT PROTOTYPES INC          1820 BRINSTON DR                                                                                             TROY            MI   48083‐2215
STYLED BROADWAY ELECTRICAL          C/O DAVID A SCHATZ ESQ               HUSCH BLACKWELL SANDERS, LLP   4801 MAIN ST STE 1000                    KANSAS CITY     MO   54112‐2551
CONSTRUCTION AS PLAINTIFF
STYLED BROADWAY ELECTRICAL          HUSCH BLACKWELL SANDERS, LLP         ATTN: DAVID A SCHATZ ESQ       481 MAIN ST STE 1                        KANSAS CITY     MO 54112
CONSTRUCTION AS PLAINTIFF
STYLELINE TRIM & ACCESSORIES I      2061 MOUNT GALLANT RD                PO BOX 2473                                                             ROCK HILL       SC   29732‐9498
STYLELINE TRIM & ACCESSORIES INC    2061 MOUNT GALLANT RD                PO BOX 2473                                                             ROCK HILL       SC   29732‐9498
STYLEMASTER INCORPORATED            RHETT MYERS                          23 N 35TH AVE                                                           PHOENIX         AZ   85009‐4728
STYLES ARCHIE                       RUTLAND NURSING HOME                 585 SCHENECTADY AVE                                                     BROOKLYN        NY   11203
STYLES UNLIMITED                    239 S FORD BLVD                                                                                              YPSILANTI       MI   48198‐6066
                               09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
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Name                           Address1                           Address2                       Address3   Address4                 City               State Zip
STYLES, ANN                    KAUFMAN BORGEEST & RYAN            747 THIRD AVE                                                      NEW YORK            NY 10017
STYLES, ANTHONY L              24 N ARDMORE ST                                                                                       PONTIAC             MI 48342‐2700
STYLES, CHARLES T              16300 W 9 MILE RD APT 621                                                                             SOUTHFIELD          MI 48075‐5982
STYLES, DEMEATRI E             2635 STONELAKE DR                  APT 325                                                            GRAND PRAIRIE       TX 75050‐8799
STYLES, DEMEATRI E             2535 STONELAKE DR APT 325                                                                             GRAND PRAIRIE       TX 75050‐8799
STYLES, GORDON
STYLES, JAMES
STYLES, JOANN                  7380 WOODROW WILSON ST                                                                                DETROIT            MI 48206‐2638
STYLES, JOHN
STYLES, KAREEM J               714 PROVINCETOWN RD                                                                                   AUBURN HILLS       MI 48326‐3444
STYLES, MARY D                 APT 6                              1212 BROOKLINE AVE SOUTHWEST                                       DECATUR            AL 35603‐2064

STYLES, MARY D                 1212 BROOKLINE AVE SW              APT 6                                                              DECATUR            AL    35603‐2054
STYLES, NATHAN K               3667 JEFFERSON PL                                                                                     GAINESVILLE        GA    30504‐5719
STYLES, PAUL R                 1309 TENNYSON AVE                                                                                     DAYTON             OH    45406‐4348
STYLES, REUBEN B               1309 TENNYSON AVENUE                                                                                  DAYTON             OH    45406‐4348
STYLES, ROBERT H               3992 HIGHWAY 101 N                                                                                    ROCKMART           GA    30153‐5315
STYLES, THARON K               5 LINDSEY CT                                                                                          FRANKLIN PARK      NJ    08823‐1525
STYLES, TYSHE K                38 KASSUL PL                                                                                          SOMERSET           NJ    08873‐2612
STYLES‐WILLIAMS, MARY          1524 27TH AVE S                                                                                       ST PETERSBURG      FL    33705‐3441
STYLETRONICS, INC.
STYLEYES INTERNATIONAL LTD.,   D/B/A CADILLAC EYEWEAR AND D/B/A
                               CADILLAC LENSES
STYLIANOU, HELEN S             7337 BURGUNDY ST                                                                                      CANTON             MI    48187‐1413
STYLIANOU, JOHN S              21368 BROOKLYN BRIDGE DR                                                                              MACOMB             MI    48044‐6400
STYMUS, DUANE G                15553 BR SCHOOL RD                                                                                    HOLLEY             NY    14470
STYN JR, ROBERT J              56 COLLINS AVE                                                                                        WEST SENECA        NY    14224‐1131
STYN, DONALD L                 2260 21ST ST                                                                                          BAY CITY           MI    48708‐7407
STYPA, KATHERINE F             6095 GLASS FACTORY ROAD                                                                               MARCY              NY    13403‐2002
STYPELKOSKI, TERRIE L          41380 HARRIS RD                                                                                       BELLEVILLE         MI    48111‐9183
STYRANEC, STEPHEN              2502 COUNTRY LN                                                                                       POLAND             OH    44514‐1516
STYRK, JOHN M                  PO BOX 462                                                                                            WHITTAKER          MI    48190‐0462
STYRLUND, ANDREW Z             8216 ZENITH AVE S                                                                                     BLOOMINGTON        MN    55431‐1057
STYRLUND, YVONNE E             8216 ZENITH AVE S                                                                                     BLOOMINGTON        MN    55431‐1057
STYRLUND‐BECKERS, JANIS R      8108 TIERNEY'S WOODS CV                                                                               BLOOMINGTON        MN    55438
STYRNA, VINCENT J              2924 WARNER DR                                                                                        WEST BLOOMFIELD    MI    48324‐2447
STYRNIK‐NEWMAN, IRENA V        451 ELMWOOD ST                                                                                        SHREVEPORT         LA    71104‐5009
STYROCHEM CANADA LTEE/LTD      19250 AV CLARK GRAHAM                                                        BAIE D'URFE PQ H9X 3R8
                                                                                                            CANADA
STYROCHEM INTERNATIONAL INC    3607 N SYLVANIA AVE                                                                                   FORT WORTH          TX   76111‐3106
STYROCHEM INTERNATIONAL LTD    19250 CLARK GRAHAM                                                           BAIE DURFE QUEBEC PQ
                                                                                                            H9X 3R8 CANADA
STYROLOGIC/GERMANY             IM MAISEL 10                       ATTN: KAREL CERMAK                        6204TAUNUSSTEIN
                                                                                                            GERMANY
STYRON, GREGORY B              1991 FM 934                                                                                           BLUM               TX    76627‐3205
STYS, DALE A                   PO BOX 173                                                                                            PINE RIVER         WI    54965‐0173
STYS, GREGORY A                21130 SUNNYDALE ST                                                                                    FARMINGTON HILLS   MI    48336‐5258
STYS, LAWRENCE J               424 WYNGATE DR                                                                                        ROCHESTER          MI    48307‐6033
STYS, RICHARD J                54609 MARISSA CT                                                                                      SHELBY TOWNSHIP    MI    48316‐1292
STYTZ, GREGORY R               24540 S MOORMAN AVE                                                                                   CHANNAHON          IL    60410‐9714
STYX, LILLIAN M                5711 171ST PL                                                                                         TINLEY PARK        IL    60477‐3003
SU AMERICA                     5200 PRAIRIE STONE PKWY # 100                                                                         HOFFMAN ESTATES    IL    60192‐3709
                        09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
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Name                   Address1                             Address2                            Address3                  Address4         City              State Zip
SU AMERICA INC         5200 PRAIRIE STONE PKWY STE 100                                                                                     HOFFMAN ESTATES     IL 60192‐3709
SU AMERICA INC         5200 PRAIRIE STONE PKWY              STE 100                                                                        HOFFMAN ESTATES     IL 60192
SU AMERICA INC         ATTN: CORPORATE OFFICER/AUTHORIZED   5200 PRAIRIE STONE PKWY STE 100                                                HOFFMAN ESTATES     IL 60192‐3709
                       AGENT
SU AMERICA/OAK PARK    8775 CAPITAL ST                                                                                                     OAK PARK          MI    48237‐2361
SU CHIA‐WEI            3 ALTEZZA                                                                                                           IRVINE            CA    92606‐8917
SU DAN CO              1949 ROCHESTER INDUSTRIAL DR                                                                                        ROCHESTER HILLS   MI    48309‐3344
SU ZAN LAROCQUE        47180 LIBERTY DR                                                                                                    SHELBY TWP        MI    48315‐4537
SU, ALLAN L            5850 SPRINGWATER LN                                                                                                 WEST BLOOMFIELD   MI    48322‐1754
SU, HSIEN‐TONG T       2026 MAPLERIDGE RD                                                                                                  ROCHESTER HILLS   MI    48309‐2747
SU, HSIEN‐TONG TOM     2026 MAPLERIDGE RD                                                                                                  ROCHESTER HILLS   MI    48309‐2747
SU, YINGZI             945 MAIDSTONE DR                                                                                                    ROCHESTER HLS     MI    48307‐4290
SU‐DAN CO              JOHN NEWHOUSE                        1853 ROCHESTER INDUSTRIAL DR                                                   ROMULUS           MI    48174
SU‐DAN CO              TERESA AMMAN                         1853 ROCHESTER INDUSTRIAL CT                                                   ROCHESTER HILLS   MI    48309‐3336
SU‐DAN CO              TERESA AMMAN                         269 KAY INDUSTRIAL DR                                                          ORION             MI    48359‐2403
SU‐DAN CO, THE                                              1853 ROCHESTER INDUSTRIAL DR                                                   ROCHESTER HILLS   MI    48309‐3336
SU‐DAN CO, THE         1853 ROCHESTER INDUSTRIAL CT                                                                                        ROCHESTER HILLS   MI    48309‐3336
SU‐DAN CO, THE         JOHN NEWHOUSE                        1853 ROCHESTER INDUSTRIAL DR                                                   ROMULUS           MI    48174
SU‐DAN CO, THE         JOHN NEWHOUSE                        269 KAY INDUSTRIAL DR                                                          ORION             MI    48359‐2403
SU‐DAN CO, THE         TERESA AMMAN                         1853 ROCHESTER INDUSTRIAL CT                                                   ROCHESTER HILLS   MI    48309‐3336
SU‐DAN CO, THE         TERESA AMMAN                         269 KAY INDUSTRIAL DR                                                          ORION             MI    48359‐2403
SU‐DAN CO, THE         269 KAY INDUSTRIAL DR                                                                                               ORION             MI    48359‐2403
SU‐DAN CORP            1853 ROCHESTER INDUSTRIAL CT                                                                                        ROCHESTER HILLS   MI    48309‐3336
SU‐DAN/ORION           269 KAY INDUSTRIAL DR                                                                                               ORION             MI    48359‐2403
SU‐DAN/ROCHESTER HIL   1853 ROCHESTER INDUSTRIAL CT                                                                                        ROCHESTER HILLS   MI    48309‐3336
SUA, TUMEMA T          215 N ASH AVE                                                                                                       INDEPENDENCE      MO    64053‐1303
SUAD JUKIC             509 FLORIDA RD                                                                                                      SYRACUSE          NY    13211‐1220
SUAN, EDSEL F          HC 69 BOX 423                                                                                                       AMARGOSA VALLEY   NV    89020‐9725
SUAN, EDSEL F          HCR 69 BOX 423                                                                                                      AMARGOSA          NV    89020‐9725
SUANN HOLT             19576 W WITTY RD                                                                                                    ELMORE            OH    43416‐9533
SUANNA HAMILTON        757 MONDAY CT                                                                                                       COCOA             FL    32926‐4244
SUANNE CASEY           7107 SARATOGA DR                                                                                                    FLINT             MI    48532‐3014
SUANNE CLARK           96 WYNDEMERE DR                                                                                                     FRANKLIN          OH    45005‐2465
SUANNE DUVALL          3317 STELLAR DR                                                                                                     JANESVILLE        WI    53548‐8573
SUANNE E CLARK         96 WYNDEMERE DR                                                                                                     FRANKLIN          OH    45005‐2465
SUANNE FOSTER          3737 FOSTER LN NW                                                                                                   WESSON            MS    39191‐9699
SUANNE NEUMAN          5742 N 25TH ST                                                                                                      PHOENIX           AZ    85016
SUANNE WYATT           47803 AGNEW DR                                                                                                      SHELBY TOWNSHIP   MI    48315‐5044
SUAPAIA, PAOLO M       1055 APPLETON RD.                                                                                                   SIMI VALLEY       CA    93065
SUAREO LYNN            375 INDIANWOOD LN                                                                                                   WEST CHICAGO      IL    60185‐6212
SUAREZ CARLOS          SUAREZ, CARLOS                       1915 N DALE MABRY HWY STE 303                                                  TAMPA             FL    33607‐2530
SUAREZ HUMBERTO        4 MAYFLOWER DR                                                                                                      PORT JEFFERSON    NY    11777‐1406
SUAREZ JR, JOHN        7516 DIANE DR                                                                                                       FORT WAYNE        IN    46835‐2705
SUAREZ MARCOS N        EL HISPANO NEWS                      2102 EMPIRE CENTRAL                                                            DALLAS            TX    75235‐4302
SUAREZ, ANA            2 FRANKLIN CT APT C                                                                                                 TARRYTOWN         NY    10591‐4430
SUAREZ, ANTONIO D      1886 TULIP AVE                                                                                                      HAYWARD           CA    94545‐4950
SUAREZ, CARLOS         WILENTZ GOLDMAN & SPITZER            88 PINE STREET, WALL STREET PLAZA                                              NEW YORK          NY    10005

SUAREZ, CARLOS         ATTN: LYNNE KIZIS, ESQ               WILENTZ, GOLDMAN, AND SPITZER       90 WOODBRIDGE CENTER DR                    WOODBRIDGE         NJ   07095

SUAREZ, CERFERINO      29855 ASPEN DR                                                                                                      FLAT ROCK         MI 48134‐1382
SUAREZ, DONALD P       6233 S IVANHOE AVE                                                                                                  YPSILANTI         MI 48197‐9419
                               09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                           Address1                           Address2              Address3    Address4         City               State Zip
SUAREZ, DONALD PATRICK         6233 S IVANHOE AVE                                                                    YPSILANTI           MI 48197‐9419
SUAREZ, EDWIN                  2910 VICTOR AVE                                                                       LANSING             MI 48911‐1738
SUAREZ, IRMA E                 2498 CENTERGATE DR                 APT 101                                            MIRAMAR             FL 33025‐7218
SUAREZ, JACLYN J               APT 1017                           3621 FRANKFORD ROAD                                DALLAS              TX 75287‐6117
SUAREZ, JACLYN JADA            3621 FRANKFORD RD                  APT 1017                                           DALLAS              TX 75287‐6117
SUAREZ, JESUS                  1128 PEBBLE BEACH DR                                                                  MANSFIELD           TX 76063‐2679
SUAREZ, JOHN A                 212 WILSON RUN RD                                                                     LEBANON JUNCTION    KY 40150‐8565
SUAREZ, JORGE A                1712 CASS BLVD                                                                        BERKLEY             MI 48072‐3011
SUAREZ, JOSE                   6014 E 29TH ST                                                                        TUCSON              AZ 85711‐6812
SUAREZ, JOSEPH J               60 REED AVE                                                                           TRENTON             NJ 08610‐6306
SUAREZ, LEONARD H              196 HARPERS FERRY DR                                                                  DAYTONA BEACH       FL 32119‐1434
SUAREZ, LOURDES                4612 HARVEST NIGHT ST                                                                 LAS VEGAS           NV 89129‐3229
SUAREZ, LUIS A                 6896 CLARK RD                                                                         BATH                MI 48808‐8719
SUAREZ, LUZ                    1316 CARDINAL LN                                                                      LANTANA             FL 33462‐4206
SUAREZ, MANUEL                 HC 1 BOX 4170                                                                         BAJADERO            PR 00616‐9853
SUAREZ, MARCIAL J              11809 E 76TH TER                                                                      RAYTOWN             MO 64138‐2522
SUAREZ, MARCUS J               PO BOX 5032                                                                           BROWNSVILLE         TX 78523‐5032
SUAREZ, MARGARET               67‐25 KISSENA BLVD.                                                                   FLUSHING            NY 11367
SUAREZ, MARIA                  26747 ANN ARBOR TRL                                                                   DEARBORN HEIGHTS    MI 48127‐1001
SUAREZ, MARTIN                 1302 TANNER AVE                                                                       BURLINGTON          NJ 08016‐2346
SUAREZ, MYRA                   625 BILTMORE WAY APT 806                                                              CORAL GABLES        FL 33134‐7538
SUAREZ, NATHANEL               HC 12 BOX 7395                                                                        HUMACAO             PR 00791‐9222
SUAREZ, PAMELA A               10405 LAKE GROVE DR                                                                   ODESSA              FL 33556‐2508
SUAREZ, PEDRO                  4612 HARVEST NIGHT ST                                                                 LAS VEGAS           NV 89129‐3229
SUAREZ, PEDRO M                4612 HARVEST NIGHT                                                                    LAS VEGAS           NV 89129‐3229
SUAREZ, RAFAEL R               1353 BLOSSOM AVE                                                                      YPSILANTI           MI 48198‐3306
SUAREZ, RAMON J                16 ROWELL LN                                                                          WAPPINGERS FALLS    NY 12590‐4729
SUAREZ, ROBERTO A              13358 MAPLE LAWN DR                                                                   SHELBY TWP          MI 48315‐2304
SUAREZ, ROSE                   1353 BLOSSOM                                                                          YPSILANTI           MI 48198‐3306
SUAREZ, SALVADOR               6409 WAINSCOT DR SE                                                                   GRAND RAPIDS        MI 49546‐7144
SUAREZ, SANDRA K               213 S PARK RD                                                                         JOLIET               IL 60433‐1432
SUAREZ, SANDRA K               213 SOUTH PARK ROAD                                                                   JOLIET               IL 60433‐1432
SUAREZ, VICTOR                 201 NW 76TH AVE APT 104            BUILDING 79                                        MARGATE             FL 33063‐4841
SUAREZ, VICTOR                 222 ROAN SPRING                                                                       SAN ANTONIO         TX 78258‐4872
SUAREZ, WILBERTO               3071 DECAMP RD                                                                        YOUNGSTOWN          OH 44511‐1243
SUAREZ, YESEBUA                525 BRANCH WAY CT APT B                                                               CHARLOTTE           NC 28273‐6019
SUAREZ, YESENIA                KARPO MARK S PC                    137 N 9TH ST                                       PHILADELPHIA        PA 19107‐2410
SUAREZ‐JUNQUERA, RAFAEL A      2062 MAPLERIDGE RD                                                                    ROCHESTER HILLS     MI 48309‐2747
SUAU, THOMAS                   526 HWY 58 SOUTH                                                                      SNOW HILL           NC 28580‐7200
SUAU, THOMAS                   526 HWY 58 S                                                                          SNOW HILL           NC 28580‐7200
SUAZO, DINORAH                 2005 CHAMPIONS PKWY                                                                   LAWRENCEVILLE       GA 30044‐6928
SUAZO, JAMES N                 1724 E 3990 S                                                                         SALT LAKE CITY      UT 84124
SUB HEART GRP C/O R HULSIZER   ACCT OF MARY ANN SCHWARTZ          99 SUMMIT AVE                                      SUMMIT              NJ 07901
SUB‐TROPICAL/MIAMI             8290 SW 120TH ST                   P.O. BOX 560876                                    MIAMI               FL 33156‐5158
SUBA, MARTIN J                 19617 HARBOR DR                                                                       SMITHVILLE          MO 64089‐8303
SUBACH, ALBINA L               3620 S 57TH AVE                                                                       CICERO               IL 60804‐4314
SUBACH, EVELYN A               48692 MEDORA COURT                                                                    SHELBY TWP          MI 48315‐4276
SUBACH, HELEN B                9 READ AVE                                                                            WILMINGTON          DE 19804‐2033
SUBACH, HELEN B                9 REED AVENUE                                                                         WILMINGTON          DE 19804‐2033
SUBAGIYO, LILIK E              2320 HERMITAGE CT APT 1030                                                            INDIANAPOLIS        IN 46224
SUBARU OF AMERICA INC          ATTN CINDY SULLIVAN HUMAN RESO     2235 MARLTON PIKE W                                CHERRY HILL         NJ 08002‐3308
SUBARU OF AMERICA, INC.        VICE PRESIDENT ‐ GENERAL COUNSEL   2235 MARLTON PIKE W                                CHERRY HILL         NJ 08002‐3380
                                     09-50026-mg            Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                      Exhibit B
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Name                                 Address1                            Address2                        Address3                     Address4                 City                   State Zip
SUBASIC, LINDA E                     1836 MCDOWELL ST                                                                                                          SHARON                  PA 16146‐3830
SUBBA POTRU                          9912 SAN REMO PL                                                                                                          WAKE FOREST             NC 27587‐1617
SUBBARAMAN RAMACHANDRAN              816 S ADAMS ST APT A204                                                                                                   WESTMONT                 IL 60559‐3601
SUBBAREDDY GALI, TTEE                BY RUKMINI GALE                     FAMILY TRUST                    9313 CLARIDGE DR                                      DAVISON                 MI 48423
SUBBAREDDY MD, GALI V                9313 CLARIDGE DR                                                                                                          DAVISON                 MI 48423‐8717
SUBBIAH SATHYAN                      298 DEERING RD NW APT 4108                                                                                                ATLANTA                 GA 30309
SUBBOT, JAMES W                      3643 SEDLOCK DR                                                                                                           CORONA                  CA 92881‐8434
SUBELKA, JACKIE L                    100 KINDELBERGER RD                                                                                                       KANSAS CITY             KS 66115‐1321
SUBENA LABADIE                       20244 E SILVER CREEK LN                                                                                                   QUEEN CREEK             AZ 85142‐5287
SUBENSAMBLES INTERNACIONALES         LARRY WILSON                        C/O JH ROSE LOGISTICS LLC       2800 AIRPORT ROAD, SUITE G                            JONESVILLE              MI 49250

SUBENSAMBLES INTERNACIONALES SA DE   PROLONGACION HERMANOS 7151‐C                                                                     CIUDAD JUAREZ CI 32320
                                                                                                                                      MEXICO
SUBENSAMBLES INTERNACIONALES SA DE   PROLONGACION HERMANOS 7151‐C        COLONIA PARQUE INDUSTRIAL                                    CIUDAD JUAREZ CI 32320
                                                                         OMEGA                                                        MEXICO
SUBER CHRIS S                        408 E MAIN ST                                                                                                             DESHLER                OH 43516‐1309
SUBER JOHN T (356602)                ANGELOS PETER G                     100 N CHARLES STREET , ONE                                                            BALTIMORE              MD 21201
                                                                         CHARLES CENTER
SUBER, CHRIS S                       408 E MAIN ST                                                                                                             DESHLER                OH   43516‐1309
SUBER, CHRISTOPHER S                 408 E MAIN ST                                                                                                             DESHLER                OH   43516‐1309
SUBER, DANIELLE J                    124 KLEBER AVE                                                                                                            AUSTINTOWN             OH   44515‐1735
SUBER, DEAN A                        58464 GREENFIELD CT                                                                                                       THREE RIVERS           MI   49093‐9561
SUBER, EUGENE                        130 CORNELL AVE                                                                                                           AMHERST                NY   14226‐4278
SUBER, JOHN T                        ANGELOS PETER G                     100 N CHARLES STREET, ONE                                                             BALTIMORE              MD   21201‐3812
                                                                         CHARLES CENTER
SUBER, MARC J                        120 LEON DR                                                                                                               NEW CASTLE             PA   16101‐3222
SUBER, MORTON R                      5663 COLGATE AVE                                                                                                          AUSTINTOWN             OH   44515‐4141
SUBER, WILLIAM A                     251 CHIPPEWA DR                                                                                                           NEW CASTLE             PA   16105‐1084
SUBER, WILLIAM D                     PO BOX 195                          7‐186 RD D                                                                            DESHLER                OH   43516‐0195
SUBER‐BEY, MOSES                     4445 BROOKTON RD                                                                                                          CLEVELAND              OH   44128‐4918
SUBHASH C. GAHLAWAT
SUBHASH GULATI MD                    ATTN: SUBHASH GULATI                521 S SPINNINGWHEEL LN                                                                BLOOMFIELD HILLS       MI   48304‐1319
SUBHASH GULLAPALLI                   1134 N CAMPBELL RD APT 102                                                                                                ROYAL OAK              MI   48067‐1537
SUBHASH KACHORIA                     4303 VASSAR DR                                                                                                            TROY                   MI   48085‐7022
SUBHASH KHER                         1913 CRIMSON DR                                                                                                           TROY                   MI   48083‐5546
SUBHASH SOOD                         6217 DREAM DUST DR                                                                                                        NORTH RICHLAND HILLS   TX   76180‐5105
SUBHASH SUBHEDAR                     359 GUNSTON CT                                                                                                            TROY                   MI   48083‐6508
SUBHEDAR, JAYANT W                   5594 LARKINS DR                                                                                                           TROY                   MI   48085‐3852
SUBHEDAR, SUBHASH V                  359 GUNSTON CT                                                                                                            TROY                   MI   48083‐6508
SUBIA, KATHY                         621 S SUN RD                                                                                                              APACHE JUNCTION        AZ   85119
SUBIA, KATHY SUSAN                   C/O JOHNSON BRYN R PLC              1019 S STAPLEY DR                                                                     MESA                   AZ   85204
SUBIA, KATHY SUSAN                   C/O ROBINSON CALCAGNIE & ROBINSON   620 NEWPORT CENTER DR STE 700                                                         NEWPORT BEACH          CA   92660‐8014

SUBIALDEA, HILARIO J                 3414 ELLIS AVE                                                                                                            FORT WORTH             TX   76106‐4305
SUBIC, MICHAEL D                     23200 EDGEWATER ST                                                                                                        SAINT CLAIR SHORES     MI   48082‐2037
SUBIC, MICHAEL J                     34058 SUMMERHILL LN                                                                                                       CHESTERFIELD           MI   48047‐4179
SUBIC, MIKE S                        23200 EDGEWATER ST                                                                                                        SAINT CLAIR SHORES     MI   48082‐2037
SUBIDO LOURDES                       11713 PENDLETON ST                                                                                                        SUN VALLEY             CA   91352‐2523
SUBIN, GEORGE P                      9427 WOODSTREAM DR                                                                                                        FORT WAYNE             IN   46804‐7013
SUBIN, JEANNETTE M                   9427 WOODSTREAM DR                                                                                                        FORT WAYNE             IN   46804‐7013
SUBIRDA GATEWOOD                     PO BOX 794                                                                                                                BELLEVILLE             MI   48112‐0794
SUBJOC, MARLENE V                    10804 MOUNTVIEW AVENUE                                                                                                    GARFIELD HEIGHTS       OH   44125‐3135
                            09-50026-mg               Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                        Address1                          Address2                        Address3   Address4               City            State Zip
SUBJOC, WILLIAM K           7615 RIDGEFIELD AVE                                                                                 PARMA            OH 44129‐2539
SUBLER JAMES (464302)       KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                     CLEVELAND        OH 44114
                                                              BOND COURT BUILDING
SUBLER, ANN M               76 HICKORY DR                                                                                       VERSAILLES      OH    45380‐9559
SUBLER, CECELIA M           11278 STATE ROUTE 185                                                                               VERSAILLES      OH    45380‐9413
SUBLER, CECELIA M           11278 ST RT 185                                                                                     VERSAILLES      OH    45380‐9413
SUBLER, GEORGE B            154 S. STEFFIN ST                                                                                   VERSAILLES      OH    45380‐1426
SUBLER, GEORGE B            154 S STEFFIN ST                                                                                    VERSAILLES      OH    45380‐1426
SUBLER, JAMES               KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                      CLEVELAND       OH    44114
                                                              BOND COURT BUILDING
SUBLER, JAMES D             127 S LUDLOW ST                                                                                     COVINGTON       OH    45318‐1530
SUBLER, SUZANNE             420 W 3RD ST                                                                                        GREENVILLE      OH    45331‐1444
SUBLER, SUZANNE             420 W THIRD STREET                                                                                  GREENVILLE      OH    45331‐1444
SUBLESKI, VERONICA H.       643 WAYBRIDGE RD                                                                                    TOLEDO          OH    43612
SUBLET AARON J (659553)     COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                           HOUSTON         TX    77002‐1751
SUBLET JR, WILLIE B         1202 STRICKLAND ST                                                                                  DALLAS          TX    75216‐1220
SUBLET, AARON J             COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                           HOUSTON         TX    77002‐1751
SUBLET, JAMES C             2743 12TH ST                                                                                        CUYAHOGA FLS    OH    44223‐2207
SUBLETT, ALAN T             12197 E 166TH ST                                                                                    NOBLESVILLE     IN    46060‐9495
SUBLETT, BARBARA N          12544 BENT BAY TRL                                                                                  JACKSONVILLE    FL    32224‐5639
SUBLETT, DOROTHY M          9812 S MARYLAND AVE                                                                                 CHICAGO         IL    60628‐1532
SUBLETT, DOROTHY M          9812 S. MARYLAND                                                                                    CHICAGO         IL    60628‐1532
SUBLETT, ELISHA             2320 DELAVAN AVE                                                                                    KANSAS CITY     KS    66104‐4414
SUBLETT, ELISHA A           34 MAYS BRANCH                    APT 309                                                           TRESTONSBURG    KY    41653
SUBLETT, GERTRUDE           2926 N 32ND ST                                                                                      KANSAS CITY     KS    66104‐4033
SUBLETT, JOHN E             2332 WINONA ST                                                                                      FLINT           MI    48504‐7107
SUBLETT, LILLIAN I          401 BRECKENRIDGE DR SW            SW APT. A                                                         HUNTSVILLE      AL    35802‐1403
SUBLETT, MARVIN R           4452 WILTSHIRE DR                                                                                   HOWELL          MI    48843‐6620
SUBLETT, SAMMIE D           1550 QUITMAN RD                                                                                     QUITMAN         AR    72131‐9727
SUBLETT, THOMAS H           4802 STAUGHTON DR                                                                                   INDIANAPOLIS    IN    46226‐3132
SUBLETT, THOMAS K           8068 PRESTONWOOD CT                                                                                 FLUSHING        MI    48433‐1383
SUBLETT, VIRGINIA A         11985 W ASHBY DR                                                                                    PEORIA          AZ    85383‐4508
SUBLETT, VIRGINIA E         P.O. BOX 474                                                                                        MOUNT MORRIS    MI    48458‐0474
SUBLETT, VIRGINIA E         PO BOX 474                                                                                          MOUNT MORRIS    MI    48458‐0474
SUBLETTE, DANIEL J          402 SUNFLOWER ST                                                                                    RED OAK         TX    75154‐4222
SUBLETTE, KATHRYN D         31031 PENDLETON APT 252                                                                             NEW HUDSON      MI    48165‐9486
SUBLETTE, MARK S            10292 SPRINGSTONE RD                                                                                MC CORDSVILLE   IN    46055‐9633
SUBLETTE, PAUL A            46525 CREEKSIDE CT                                                                                  CANTON          MI    48187‐5227
SUBLETTE, WARREN J          2241 KEMPER LN                                                                                      CINCINNATI      OH    45206‐2718
SUBLETTE, WILLIAM G         13380 N MILLER DR                                                                                   CAMBY           IN    46113‐8463
SUBLIME SOUND               4691 DUNBAR ST                                                               VANCOUVER BC V6S 2G8
                                                                                                         CANADA
SUBLIME SOUND               4691 DUNBAR ST.                   VANCOUVER, BC,V6S 2G8                      CANADA
SUBMARINE OFFICERS SOUSES   PO BOX 5051                                                                                         GROTON           CT   06349‐5051
ASSOCIATION
SUBMITTER NAME
SUBOCH, ELWIN A             5784 BERWYN ST                                                                                      DEARBORN HTS    MI    48127‐2927
SUBONJ, GLIGOR              1310 N 28TH AVE                                                                                     HOLLYWOOD       FL    33020‐2921
SUBORA, DOUGLAS A           9394 BALDWIN RD                                                                                     GAINES          MI    48436‐9719
SUBORA, GLENNA J            5610 W 16TH STREET LN                                                                               GREELEY         CO    80634‐2968
SUBORA, JAMES R             915 E COURT ST APT 307                                                                              FLINT           MI    48503‐2084
SUBORA, LA VERNE D          5210 S NORTH COUNTRY DR                                                                             LAKE CITY       MI    49651‐9600
                                           09-50026-mg              Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
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Name                                      Address1                               Address2                         Address3                Address4         City            State Zip
SUBORA, LA VERNE D                        9343 WATERGATE ROAD                    APT 7                                                                     MCBIN            MI 49657
SUBORA, RICHARD M                         172 EVANS RUN DR                                                                                                 MARTINSBURG      WV 25405‐5203
SUBORA, ROGER                             4124 WHITE OAK ROAD                                                                                              JUNCTION CITY    KY 40440‐8594
SUBOSICS, AURORA J                        1490 FIRESIDE ST                                                                                                 PT CHARLOTTE     FL 33952‐2607
SUBOSICS, KAROLY                          1490 FIRESIDE STREET                                                                                             PT. CHARLOTTE    FL 33952‐2607
SUBOTNIK, MARY K                          8500 W ARTHUR PL                                                                                                 WEST ALLIS       WI 53227‐2523
SUBPOENA ‐ ANDERSON V GENERAL             ASBESTOS (468462) ‐ WILLIAMS FREDDIE   (NO OPPOSING COUNSEL)            NOTHING IN THE SYSTEM
ELECTRIC COMPANY ‐
SUBPOENA ‐ AULT CHARLES V AMERICAN        ASBESTOS (641555) ‐ AULT CHARLES       (NO OPPOSING COUNSEL)
OPTICAL ‐
SUBPOENA ‐ AULTMAN V PITTSBURGH           ASBESTOS (431541) ‐ AULTMAN RALPH E    (NO OPPOSING COUNSEL)
CORNING ‐
SUBPOENA ‐ BARNES V AW CHESTERTON ‐       (NO OPPOSING COUNSEL)
ASBESTOS (514515) ‐ BARNES IRVIN J

SUBPOENA ‐ CAMPBELL DONALD B V            ASBESTOS (655808) ‐ CAMPBELL DONALD B (NO OPPOSING COUNSEL)
CERTAINTEED CORPORATION ‐
SUBPOENA ‐ CANTRELL BERNARD ‐             (NO OPPOSING COUNSEL)
ASBESTOS (665847) ‐ CANTRELL BERNARD

SUBPOENA ‐ CUNNINGHAM WILLIAM             ASBESTOS (660734) ‐ CUNNINGHAM         (NO OPPOSING COUNSEL)
(ESTATE OF) ‐                             WILLIAM
SUBPOENA ‐ CUPP ROBERT SR V ANCHOR        ASBESTOS (629736) ‐ CUPP ROBERT        (NO OPPOSING COUNSEL)
PACKING CO ‐
SUBPOENA ‐ CURTIS BILLY D (ESTATE OF) V   ASBESTOS (664585) ‐ CURTIS BILLY D     (NO OPPOSING COUNSEL)
GARLOCK INC ‐
SUBPOENA ‐ DASARO V AC&S ‐ ASBESTOS       (NO OPPOSING COUNSEL)
(435839) ‐ DASARO LAVONNE

SUBPOENA ‐ DAWES DONALD (ESTATE OF) ‐ (NO OPPOSING COUNSEL)
ASBESTOS (655927) ‐ DAWES DONALD

SUBPOENA ‐ DOTTS DENNIS V AMERICAN        ASBESTOS (511419) ‐ DOTTS DENNIS       (NO OPPOSING COUNSEL)
COLLOID CO ‐
SUBPOENA ‐ EARLEY LOUIS A V ACME          ASBESTOS (652586) ‐ EARLEY LOUIS A     (NO OPPOSING COUNSEL)
INSULATIONS INC ‐
SUBPOENA ‐ EATON TECHNOLOGIES INC         WARNER NORCROSS & JUDD LLP             900 OLD KENT BUILDING 111 LYON                                            GRAND RAPIDS    MI 49503‐2489
                                                                                 STREET, NW
SUBPOENA ‐ EATON TECHNOLOGIES INC         EATON TECHNOLOGIES INC

SUBPOENA ‐ EATON TECHNOLOGIES INC         GR SPRING & STAMPING INC

SUBPOENA ‐ FORBES THOMAS JAMES V AO ASBESTOS (643562) ‐ FORBES THOMAS            (NO OPPOSING COUNSEL)
SMITH ‐                               JAMES
SUBPOENA ‐ GARCIA ERNESTO V ACME      ASBESTOS (637424) ‐ GARCIA ERNESTO         (NO OPPOSING COUNSEL)
INSULATIONS ‐
SUBPOENA ‐ HAMPTON V OWENS ILLINOIS ‐ ASBESTOS (356172) ‐ HAMPTON WESTON         (NO OPPOSING COUNSEL)
                                      H
SUBPOENA ‐ HASMAN DANIEL F SR (ESTATE (667361) ‐ HASMAN DANIEL F                 (NO OPPOSING COUNSEL)
OF) V AW CHESTERTON CO
SUBPOENA ‐ HOSKING EDWIN V AFTON      ASBESTOS (640909) ‐ HOSKING EDWIN          (NO OPPOSING COUNSEL)
PUMPS ‐
                                        09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                                  Address1                                 Address2                Address3   Address4         City   State Zip
SUBPOENA ‐ HUTCHINSON V AW            ASBESTOS (513476) ‐ HUTCHINSON           (NO OPPOSING COUNSEL)
CHESTERTON INC ‐                      GEORGE R
SUBPOENA ‐ JAMES ARTHUR SR V AP       ASBESTOS (642022) ‐ JAMES BRENDA M       (NO OPPOSING COUNSEL)
GREEN INDUSTRIES INC ‐
SUBPOENA ‐ JORDAN V ACME ‐ ASBESTOS (NO OPPOSING COUNSEL)
(355261) ‐ JORDAN JOHN
SUBPOENA ‐ JORDAN V ACME ‐ ASBESTOS (NO OPPOSING COUNSEL)
(355261) ‐ JORDAN VIVIAN J
SUBPOENA ‐ KOCKS DONALD R (ESTATE OF) ASBESTOS (664312) ‐ KOCKS DONALD R       (NO OPPOSING COUNSEL)
V AW CHESTERTON COMPANY ‐

SUBPOENA ‐ KOLHAGEN GERALD (ESTATE     ASBESTOS (665525) ‐ KOLHAGEN GERALD     (NO OPPOSING COUNSEL)
OF) V ABB POWER ‐
SUBPOENA ‐ LAMBRIX DONALD V AJ         ASBESTOS (658959) ‐ LAMBRIX DONALD      (NO OPPOSING COUNSEL)
BAXTER & COMPANY ‐
SUBPOENA ‐ LENGYEL GEORGE J (ESTATE    ASBESTOS (664275) ‐ LENGYEL GEORGE J    (NO OPPOSING COUNSEL)
OF) V AW CHESTERTON INC ‐
SUBPOENA ‐ LOVELACE YVONNE ‐           (NO OPPOSING COUNSEL)
ASBESTOS (658961) ‐ LOVELACE YVONNE

SUBPOENA ‐ LOWTHER V BABCOCK BORSIG ASBESTOS (473655) ‐ LOWTHER ESTATE OF (NO OPPOSING COUNSEL)
POWER INC ‐                           PHILIP H
SUBPOENA ‐ MATSON ROLLAND J V AW      ASBESTOS (637981) ‐ MATSON ROLLAND J (NO OPPOSING COUNSEL)
CHESTERTON INC ‐
SUBPOENA ‐ MCBRIDE WEBSTER V ACME ASBESTOS (667791) ‐ MCBRIDE WEBSTER (NO OPPOSING COUNSEL)
INSULATION INC ‐
SUBPOENA ‐ MICHAEL GALEN L ‐ ASBESTOS (NO OPPOSING COUNSEL)
(654633) ‐ MICHAEL GALEN L
SUBPOENA ‐ NOAKES V HI TEMP           ASBESTOS (442828) ‐ NOAKES RICHARD G (NO OPPOSING COUNSEL)
PRODUCTS ‐
SUBPOENA ‐ ONSTAR ‐ YOUNG CECILIA A   NO ADVERSE PARTY

SUBPOENA ‐ PITONIAK V AC&S ‐ SYRACUSE ‐ ASBESTOS (435478) ‐ PITONIAK FRANK     (NO OPPOSING COUNSEL)

SUBPOENA ‐ PLEASANT V BIRMINGHAM     ASBESTOS (352370) ‐ PLEASANT JIMMY        (NO OPPOSING COUNSEL)
ETAL ‐
SUBPOENA ‐ POPE EARNEST M SR (ESTATE (NO OPPOSING COUNSEL)
OF) (637886) ‐ POPE EARNEST M

SUBPOENA ‐ POWELL A D JR V AJ BAXTER & ASBESTOS (644496) ‐ POWELL A D          (NO OPPOSING COUNSEL)
COMPANY ‐
SUBPOENA ‐ PREBEHALLA JOSEPH R         ASBESTOS (633998) ‐ PREBEHALLA JOSEPH   (NO OPPOSING COUNSEL)
(ESTATE OF) ‐
SUBPOENA ‐ QUELLET MICHAEL V AJ        ASBESTOS (653027) ‐ QUELLET MICHAEL     (NO OPPOSING COUNSEL)
BAXTER & COMPANY ‐
SUBPOENA ‐ QUINN LLOYD (ESTATE OF) V ASBESTOS (666016) ‐ QUINN LLOYD           (NO OPPOSING COUNSEL)
AW CHESTERTON CO ‐
SUBPOENA ‐ ROSE V ANCHOR PACKING CO ‐ ASBESTOS (460634) ‐ ROSE CATHERINE M     (NO OPPOSING COUNSEL)

SUBPOENA ‐ RUSSELL SCROGGINS           ASBESTOS (634737) ‐ RUSSELL SCROGGINS (NO OPPOSING COUNSEL)
ANNETTE V AJ BAXTER & CO ‐             ANNET
                                      09-50026-mg              Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
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Name                                 Address1                               Address2                         Address3                  Address4           City              State Zip
SUBPOENA ‐ RYAN JAMES EDWIN V AW     ASBESTOS (634640) ‐ RYAN JAMES EDWIN   (NO OPPOSING COUNSEL)
CHESTERTON INC ‐
SUBPOENA ‐ SHOMPER V AW CHESTERTON ASBESTOS (488318) ‐ SHOMPER RICHARD      (NO OPPOSING COUNSEL)
‐
SUBPOENA ‐ TURNER FRANK P ‐ ASBESTOS (NO OPPOSING COUNSEL)
(644466) ‐ TURNER FRANK P
SUBPOENA ‐ VOGT V AMERICAN OPTICAL ASBESTOS (503662) ‐ VOGT ROBERT C        (NO OPPOSING COUNSEL)
COMPANY ‐
SUBPOENA ‐ WARD V GREENE TWEED &     ASBESTOS (463135) ‐ WARD DONALD E      (NO OPPOSING COUNSEL)
COMPANY ‐
SUBPOENA ‐ WHITT WILLIAM V AW        ASBESTOS (657489) ‐ WHITT WILLIAM      (NO OPPOSING COUNSEL)
CHESTERTON ‐
SUBPOENA ‐ WILLIAMS PERCY SR V AJ    ASBESTOS (641198) ‐ WILLIAMS PERCY     (NO OPPOSING COUNSEL)
BAXTER CO ‐
SUBPOENA ‐ ZIMMERMAN V RAPID         ASBESTOS (481104) ‐ ZIMMERMAN          (NO OPPOSING COUNSEL)
AMERICAN ‐                           ROBERT
SUBPOENAS ‐ MTR ‐ 2006               NO ADVERSE PARTY
SUBPOENAS ‐ MTR ‐ 2008               NO ADVERSE PARTY
SUBPOENAS ‐ MTR ‐ SATURN/SAAB        KENNEDY, SHAUN KEVIN                   2024 BETRY PL                                                                 RALEIGH            NC 27603‐3977
SUBRAMANIA VEERABAHU                 2357 GOLDFINCH ST                                                                                                    WOODRIDGE          IL 60517‐1857
SUBRAMANIAN K N                      MICHIGAN STATE UNIVERSITY              DEPT OF CHEMICAL ENGR & MAT SC                                                EAST LANSING       MI 48824

SUBRAMANIAN KRISHNASWAMI             6077 WATERBURY CT                                                                                                    NEWBURGH           IN   47630‐8585
SUBRAMANIAN NALINI P                 24 COLONIAL PKWY APT B                                                                                               PITTSFORD          NY   14534‐1220
SUBRAMANIAN SANJAY                   13 FOUNTAIN DR                                                                                                       SOMERSET           NJ   08873‐4139
SUBRAMANIAN, KANNAN V                65 E SQUIRE DR APT 8                                                                                                 ROCHESTER          NY   14623‐1857
SUBRAMANIAN, NALINI                  24 COLONIAL PKWY APT B                                                                                               PITTSFORD          NY   14534‐1220
SUBRAMANIAN, NALINI P                24 COLONIAL PKWY APT B                                                                                               PITTSFORD          NY   14534‐1220
SUBRAMANIAN, RAMASWAMY               PO BOX 9022                            ADAM OPEL AG PKZ R2 05                                                        WARREN             MI   48090‐9022
SUBRAMANIAN, SANJAY                  13 FOUNTAIN DRIVE                                                                                                    SOMERSET           NJ   08873‐4139
SUBRAMANIAN, SRIRAM                  792 QUILL CREEK DR                                                                                                   TROY               MI   48085‐3201
SUBRAMANIYAN, ANBU M                 1015 SADDLE TREE TRL                                                                                                 IRVING             TX   75063‐4492
SUBRAMANYAM, SRIDHAR                 822 LION ST                                                                                                          ROCHESTER HILLS    MI   48307‐4222
SUBRATO DHAR                         4865 E STRONG CT                                                                                                     ORCHARD LAKE       MI   48323‐1578
SUBRT, WAYNE L                       2308 N LEXINGTON DR                                                                                                  JANESVILLE         WI   53545‐0522
SUBSCRIBING PARTIES TO THE CHEMSOL   C/O WILLIAM H HYATT JR, ESQ            K&L GATES LLP                    ONE NEWARK CENTER TENTH                      NEWARK             NJ   07102‐5252
SUPERFUND SITE TRUST FUND                                                                                    FLOOR

SUBSCRIBING PARTIES TO THE LOWER     C/O WILLIAM H. HYATT, JR., ESQ         K&L GATES LLP                    ONE NEWARK CENTER         10TH FLOOR         NEWARK             NJ   07102
PASSAIC
SUBSEQUENT INJURY FUND               320 E. TOWSONTOWN BLVD.                                                                                              BALTIMORE         MD    21286
SUBU, DAVID N                        7180 MACKINAW RD                                                                                                     BAY CITY          MI    48706‐9336
SUBU, JULIAN I                       5705 W HUNTERS RIDGE CIR                                                                                             LECANTO           FL    34461‐7609
SUBULSKI GARY (464303)               KELLEY & FERRARO LLP                   1300 EAST NINTH STREET , 1901                                                 CLEVELAND         OH    44114
                                                                            BOND COURT BUILDING
SUBULSKI, GARY                       KELLEY & FERRARO LLP                   1300 EAST NINTH STREET, 1901                                                  CLEVELAND         OH 44114
                                                                            BOND COURT BUILDING
SUBURBAN AUTOMOTIVE                  3645 US HIGHWAY 17                                                                                                   ORANGE PARK        FL 32003‐7113
SUBURBAN ANN ARBOR, LLC              DAVID FISCHER                          3515 JACKSON RD                                                               ANN ARBOR          MI 48103‐1815
SUBURBAN ANN ARBOR, LLC              SUBURBAN CHEVROLET CADILLAC SAAB       DAVID FISCHER                    3515 JACKSON RD                              ANN ARBOR          MI 48103‐1815
                                     HUM
SUBURBAN AUTO/TROY                   1810 MAPLELAWN DR                      PO BOX 909                                                                    TROY               MI 48084‐4616
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Name                                Address1                         Address2                   Address3                Address4               City               State Zip
SUBURBAN AUTOMOTIVE                 3645 US HIGHWAY 17                                                                                         ORANGE PARK         FL 32003‐7113
SUBURBAN BUICK COMPANY              1100 E ROOSEVELT RD                                                                                        WHEATON              IL 60187‐6612
SUBURBAN CADILLAC BUICK HUMMER      1810 MAPLELAWN DR                                                                                          TROY                MI 48084‐4616
SUBURBAN CADILLAC BUICK HUMMER                                                                                                                 TROY                MI 48084‐4616
SUBURBAN CADILLAC PONTIAC           MURTHA CULLINA LLP
CORPORATION
SUBURBAN CAR & TRUCK REPAIR         17309 S MILES RD                                                                                           CLEVELAND          OH   44128‐3651
SUBURBAN CHEVROLET                                                                                                                             EDEN PRAIRIE       MN   55344
SUBURBAN CHEVROLET                  2650 SE FEDERAL HWY                                                                                        STUART             FL   34994‐4535
SUBURBAN CHEVROLET                  36936 HIGHWAY 26                                                                                           SANDY              OR   97055‐7214
SUBURBAN CHEVROLET                  12475 PLAZA DR                                                                                             EDEN PRAIRIE       MN   55344‐3647
SUBURBAN CHEVROLET CADILLAC SAAB HU 3515 JACKSON RD                                                                                            ANN ARBOR          MI   48103‐1815

SUBURBAN CHEVROLET CADILLAC SAAB    DAVID FISCHER                    3515 JACKSON RD                                                           ANN ARBOR           MI 48103‐1815
HUM
SUBURBAN CHEVROLET CADILLAC SAAB    3515 JACKSON RD                                                                                            ANN ARBOR           MI 48103‐1815
HUMMER
SUBURBAN CHEVROLET INC              661 COLLEGE HWY                                                                                            SOUTHWICK          MA   01077‐9260
SUBURBAN CHEVROLET, INC.            661 COLLEGE HWY                                                                                            SOUTHWICK          MA   01077‐9260
SUBURBAN CHEVROLET, INC.            1300 S LYNN RIGGS BLVD                                                                                     CLAREMORE          OK   74017‐8306
SUBURBAN CHEVROLET, INC.            HAROLD CLINE                     1300 S LYNN RIGGS BLVD                                                    CLAREMORE          OK   74017‐8306
SUBURBAN CHEVROLET, LLC             THOMAS GROSSMAN                  12475 PLAZA DR                                                            EDEN PRAIRIE       MN   55344‐3647
SUBURBAN CHICAGO ACCESSORY CENTER

SUBURBAN IMPORTS OF                 37911 GRAND RIVER AVE                                                                                      FARMINGTON HILLS   MI 48335‐2831
FARMINGTONHILLS
SUBURBAN LEASING GROUP              1101 HERKNESS DR                                                                                           MEADOWBROOK        PA   19046
SUBURBAN MOTORS CO                  1810 MAPLELAWN DR                PO BOX 909                                                                TROY               MI   48084‐4616
SUBURBAN MOTORS COMPANY INC         DBA SUBURBAN OLDSMOBILE          1810 MAPLELAWN DR          CADILLAC BUICK HUMMER                          TROY               MI   48084‐4616
SUBURBAN MOTORS COMPANY, INC.       DAVID FISCHER                    1810 MAPLELAWN DR                                                         TROY               MI   48084‐4616
SUBURBAN NISSAN/TROY                1800 MAPLELAWN DR                PO BOX 909                                                                TROY               MI   48084‐4616
SUBURBAN OF SOUTH FLORIDA, LLC      DAVID FISCHER                    1220 N MILITARY TRL                                                       WEST PALM BEACH    FL   33409‐6015
SUBURBAN OF STUART, LLC             DAVID FISCHER                    2650 SE FEDERAL HWY                                                       STUART             FL   34994‐4535
SUBURBAN OFFICE & JANITORIAL        ATTN: PATRICK GILMORE            G4205 S SAGINAW ST                                                        BURTON             MI   48529‐1676
SUBURBAN OXYGEN SUPPLY              100 WAYNE AVE                                                                                              AMHERST            NY   14228‐2216
SUBURBAN OXYGEN SUPPLY INC          100 WAYNE AVE                                                                                                                 NY   14228‐2216
SUBURBAN PAIN CONTRO                ONE ABINGTON PLAZA               STE 100                                                                   JENKINTOWN         PA   19046
SUBURBAN PHYSICAL TH                8972 DARROW ROAD                 A201                                                                      TWINSBURG          OH   44087
SUBURBAN PLASTICS CO                GAIL POPPINO                     340 RENNER DRIVE                                                          SCHAUMBURG         IL   60193
SUBURBAN PLASTICS CO                340 RENNER DR                                                                                              ELGIN              IL   60123‐6902
SUBURBAN PLASTICS COMPANY           GAIL POPPINO                     340 RENNER DRIVE                                                          SCHAUMBURG         IL   60193
SUBURBAN PRINTING CO                PO BOX 784                                                                                                 FENTON             MI   48430‐0784
SUBURBAN PROPANE, LP                GENERAL MOTORS CORPORATION       DIRECTOR, WORLDWIDE REAL   PO BOX 200              MC 482 B38 C96         DETROIT            MI   48265‐2000
                                                                     ESTATE
SUBURBAN PSYCHIATRIC                85 BRYANT WOODS S                                                                                          AMHERST            NY   14228‐3604
SUBURBAN RAILING & WELDING INC      ATTN: ROGER RECKERT              68 VALLEY RD                                                              ASHLAND            MA   01721‐1331
SUBURBAN SAAB                       3515 JACKSON RD                                                                                            ANN ARBOR          MI   48103‐1815
SUBURBAN SAAB                       FISCHER, DAVID T.                3515 JACKSON RD                                                           ANN ARBOR          MI   48103‐1815
SUBURBAN TIRE                                                        755 NORTH AVE                                                                                IL   60139
SUBURBAN TIRE & AUTO                65 FRESHWATER BLVD                                                                                         ENFIELD            CT   06082‐3852
SUBURBAN TOY/TROY                   1821 MAPLELAWN DR                P.O. BOX 909                                                              TROY               MI   48084‐4617
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Name                               Address1                        Address2                   Address3   Address4         City               State Zip
SUBURBAN TRANSPORTATION SERVICE                                    6327 E MOLLOY RD                                                           NY 13057

SUBWAY                             ATTN: STEPHANIE DAVIS           11360 N SAGINAW ST                                     MT MORRIS          MI   48458‐2083
SUBWAY                             ATTN: VIPIN PATEL               3547 ALPINE AVE NW # 211                               GRAND RAPIDS       MI   49544‐1635
SUBWAY                             ATTN: HASSIN RIDA               PO BOX 2724                                            FARMINGTON HILLS   MI   48333‐2724
SUBWAY                             ATTN: GARY LEGGF                3044 W GRAND BLVD # C254                               DETROIT            MI   48202‐3032
SUBWAY                             ATTN: SANDRA PEREZ              1478 ECORSE RD                                         YPSILANTI          MI   48198‐5962
SUBWAY                             ATTN: PAULA BERRY               1646 W ALEXIS RD                                       TOLEDO             OH   43612‐4049
SUCARSKI, BARBARA                  17623 LESLIE AVE                                                                       ALLEN PARK         MI   48101‐3404
SUCARSKI, BARBARA                  17623 LESLIE                                                                           ALLEN PARK         MI   48101‐3404
SUCATO, ANTHONY R                  806 E FRANKLIN ST                                                                      DAYTON             OH   45459
SUCCESS BY DESIGN                  5 DOGWOOD LN                                                                           OLD SAYBROOK       CT   06475‐2011
SUCCESS MOTIVATION INSTITUTE       PO BOX 2508                                                                            WACO               TX   76702‐2508
SUCCESS STRATEGIES UNLIMITED I     4343 FOXPOINTE DR STE 100       PO BOX 251925                                          WEST BLOOMFIELD    MI   48323
SUCCESS STRATEGIES UNLIMITED INC   4343 FOXPOINTE DR STE 100       PO BOX 251925                                          WEST BLOOMFIELD    MI   48323
SUCCURRO JIMMY (637084)            BRAYTON PURCELL                 PO BOX 6169                                            NOVATO             CA   94948‐6169
SUCCURRO, JIMMY                    BRAYTON PURCELL                 PO BOX 6169                                            NOVATO             CA   94948‐6169
SUCECILA WATSON                    1632 13TH ST                                                                           EWING              NJ   08638‐2910
SUCESE, ROGER M                    47 DOVER ST                                                                            MASSENA            NY   13662
SUCESE, ROGER MICHAEL              47 DOVER ST                                                                            MASSENA            NY   13662‐1626
SUCH'S AUTO CARE                   7501 W 10TH ST                                                                         INDIANAPOLIS       IN   46214‐2519
SUCH, CAROLYN R                    1601 CREST CT                                                                          INDIANAPOLIS       IN   46214‐3347
SUCH, DAVID M                      618 SHADY CREEK DR                                                                     GREENWOOD          IN   46142‐1247
SUCH, DOROTHY K                    195 PEACEDALE ST                                                                       BRISTOL            CT   06010‐2363
SUCH, FRANK                        26231 SUMMER GREENS DR                                                                 BONITA SPRINGS     FL   34135‐2324
SUCH, IDA G                        807 S SCHOOL ST                                                                        BROWNSBURG         IN   46112‐1668
SUCHA, ALBERT R                    9215 WATERFALL GLEN BLVD                                                               DARIEN             IL   60561‐5282
SUCHA, JULIE                       520 N OAK ST                                                                           ELDON              MO   65025‐1453
SUCHACZEWSKI, JOSEPH P             4944 OLIVET RD                                                                         GEORGETOWN         IL   61846‐6152
SUCHACZEWSKI, KATHERINE R          104 CARL DR                                                                            MAHOMET            IL   61853‐9025
SUCHACZEWSKI, KATHERINE R          104 CARL DRIVE                                                                         MAHOMET            IL   61853‐9025
SUCHACZEWSKI, ZIGMONT J            8806 N 105TH AVE                                                                       PEORIA             AZ   85345‐7310
SUCHALA, FLORENCE M                5121 KELLOGG RD                                                                        TOLEDO             OH   43615‐4736
SUCHALA, TERRENCE M                2637 PRESTONWOOD DR                                                                    PLANO              TX   75093‐8893
SUCHAN, DANIEL E                   6019 SW 103RD LOOP                                                                     OCALA              FL   34476‐3628
SUCHAN, JENNIFER M                 38177 N JEAN CT                                                                        WESTLAND           MI   48186‐3835
SUCHAN, JENNIFER MARY              38177 N JEAN CT                                                                        WESTLAND           MI   48186‐3835
SUCHAN, JOHN R                     87 N TRANSIT HILL DR                                                                   DEPEW              NY   14043‐4849
SUCHAN, JOHN ROGER                 87 N TRANSIT HILL DR                                                                   DEPEW              NY   14043‐4849
SUCHAN, MARY ELLEN                 6 GRANDVIEW AVE                                                                        BUFFALO            NY   14223
SUCHAN, ROBERT S                   170 BRIARLEIGH DR                                                                      BRUNSWICK          OH   44212‐1431
SUCHAN, RODNEY D                   38177 N JEAN CT                                                                        WESTLAND           MI   48186‐3835
SUCHANEK, CHARLES S                1398 N MORRISH RD                                                                      FLINT              MI   48532‐2080
SUCHANEK, CRAIG A                  1398 N MORRISH RD                                                                      FLINT              MI   48532‐2080
SUCHANEK, CRAIG ANTHONY            1398 N MORRISH RD                                                                      FLINT              MI   48532‐2080
SUCHANEK, PAUL M                   904 PARKVIEW DR                                                                        MILTON             WI   53563‐1719
SUCHANEK, THOMAS J                 2409 KING STREET                                                                       JANESVILLE         WI   53546‐5931
SUCHANEK, WILLIAM J                886 ALPINE DR                                                                          BRIGHTON           MI   48116‐1748
SUCHARA, DONALD                    31413 CURTIS RD                                                                        LIVONIA            MI   48152‐3329
SUCHARA, LILLIAN B                 1307 ALAMEDA BLVD                                                                      TROY               MI   48085‐6739
SUCHARSKI, BRIAN R                 5942 S ELAINE AVE                                                                      CUDAHY             WI   53110‐2913
SUCHARSKI, CONRAD W                2330 BEACHWOOD DR                                                                      LAKE VIEW          NY   14085‐9747
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Name                        Address1                        Address2                      Address3   Address4               City               State Zip
SUCHARSKI, DIANE E          595 LAGUNA DR                                                                                   WOLVERINE LAKE      MI 48390‐2009
SUCHARSKI, WALTER G         595 LAGUNA DR                                                                                   WOLVERINE LAKE      MI 48390‐2009
SUCHDEV, JAGAN N            8 RUFFLED FEATHERS DR                                                                           LEMONT               IL 60439‐7745
SUCHECKI, CHARLES R         10220 WOLVEN AVE NE                                                                             ROCKFORD            MI 49341‐9192
SUCHECKI, GERALYNN J        10220 WOLVEN AVE NE                                                                             ROCKFORD            MI 49341‐9192
SUCHECKI, MARIAN A          1410 N LINCOLN                                                                                  BAY CITY            MI 48708‐5463
SUCHECKI, NICOLE R          14102 ELMHURST DR                                                                               STERLING HEIGHTS    MI 48313‐4372
SUCHECKI, NICOLE ROCHELLE   14102 ELMHURST DR                                                                               STERLING HEIGHTS    MI 48313‐4372
SUCHENEK, EUGENE B          3843 LAKE GEORGE RD                                                                             DRYDEN              MI 48428‐9709
SUCHER, BARBARA A           6497 BASSWOOD DR                                                                                TROY                MI 48098‐2085
SUCHER, IRENE L             122 INGLESIDE DR                                                                                BEREA               OH 44017‐1414
SUCHER, IRENE L             122 ENGLESIDE DRIVE                                                                             BEREA               OH 44017
SUCHER, MARGUERITE D        105 HARTSHORN DRIVE                                                                             VANDALIA            OH 45377‐2928
SUCHEVITS, WILLIAM R        15327 WOODRUFF PL APT 220                                                                       BELLFLOWER          CA 90706‐4051
SUCHEY, SUSANNE             2627 BECK ST SE                                                                                 WARREN              OH 44484‐5023
SUCHINSKI, WILLIAM F        10017 S SPAULDING AVE                                                                           CHICAGO              IL 60805‐3444
SUCHMAN, ALFRED R           6786 RYAN HWY                                                                                   TIPTON              MI 49287‐9788
SUCHOCKI, MILDRED V         159 CAMBRIDGE DR                                                                                LAKE OZARK          MO 65049‐9460
SUCHODOLSKI, CYRIL          1911 S JEFFERSON ST                                                                             BAY CITY            MI 48708‐8742
SUCHODOLSKI, DEMITTEREL     14503 ELLEN DR                                                                                  LIVONIA             MI 48154‐5146
SUCHODOLSKI, DENNIS C       1110 S GRANT ST                                                                                 BAY CITY            MI 48708‐8016
SUCHODOLSKI, EDWARD M       2225 11 MILE RD                                                                                 AUBURN              MI 48611‐9723
SUCHODOLSKI, FRANK          835 W 3RD ST                                                                                    PINCONNING          MI 48650‐7015
SUCHODOLSKI, GENEVIEVE      220 RIVERSIDE DR                                                                                HAVELOCK            NC 28532
SUCHODOLSKI, JOANNE A       3757 WORTH RD                                                                                   PINCONNING          MI 48650‐8329
SUCHODOLSKI, JOHN C         HC 52 37027 MEADE ISLAND RD                                                                     DRUMMOND ISLAND     MI 49726
SUCHODOLSKI, STEVE M        3757 WORTH RD                                                                                   PINCONNING          MI 48650‐8329
SUCHODOLSKI, TIMOTHY P      2524 MASON ST                                                                                   BAY CITY            MI 48708‐9183
SUCHOMEL CARL F             8188 LYTLE TRAILS RD                                                                            WAYNESVILLE         OH 45068‐9254
SUCHOMEL, MARY R            479 SAPPHIRE DR                                                                                 CARMEL              IN 48032‐7412
SUCHORA, JOSEPH S           12911 CALDWELL ST                                                                               DETROIT             MI 48212‐2421
SUCHOSKI, MARTIN J          6941 MONTGOMERY DR                                                                              SHELBY TOWNSHIP     MI 48316‐4330
SUCHOSKI, SYLVIA J          6941 MONTGOMERY DR                                                                              SHELBY TOWNSHIP     MI 48316‐4330
SUCHOWACKI MARIE            109 MELTON AVE                                                                                  SEBASTIAN           FL 32958‐6714
SUCHOWACKI, MAREK           109 MELTON AVENUE                                                                               SEBASTIAN           FL 32958‐6714
SUCHOWACKI, MAREK           109 MELTON AVE                                                                                  SEBASTIAN           FL 32958‐6714
SUCHSLAND, SHARON L         4142 OAK AVE                                                                                    BROOKFIELD           IL 60513‐2002
SUCHTA, ILEANA              3950 WILLOW BEND DR                                                                             THE COLONY          TX 75056‐4641
SUCHTA, NIKODEM             1738 SPRING CREEK DRIVE                                                                         ROCHESTER HLS       MI 48306‐3256
SUCHY DATA SYSTEMS GMBH     ST‐WOLFGANG‐STRABE 14B          D‐82216 MAISACH                          WHITE RUSSIA BELARUS
SUCHY HERBERT W (356990)    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510
                                                            STREET, SUITE 600
SUCHY TODD                  SUCHY, TODD                     30 E BUTLER AVE                                                 AMBLER             PA   19002‐4514
SUCHY, BARBARA A            1228 RALPH ST                                                                                   GARDEN CITY        MI   48135‐1129
SUCHY, BARBARA ANN          1228 RALPH ST                                                                                   GARDEN CITY        MI   48135‐1129
SUCHY, BRIAN W              95 NORTHWOOD ST                                                                                 CHICOPEE           MA   01013‐2823
SUCHY, DONALD J             505 N 7TH AVE                                                                                   WAUSAU             WI   54401‐4371
SUCHY, EDWARD               4410 S DUFFIELD RD                                                                              LENNON             MI   48449‐9419
SUCHY, ELLOISE S.           25651 REDBLUSH CIR.                                                                             BONITA SPRINGS     FL   34135
SUCHY, EMMA F               2167 UNION RD.                                                                                  BAY CITY           MI   48706
SUCHY, GREGGORY L           PO BOX 14792                                                                                    COLUMBUS           OH   43214‐0792
SUCHY, HELEN MARY           2977 EAST FILION ROAD                                                                           FILION             MI   48432‐9705
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Name                        Address1                       Address2                      Address3   Address4         City               State Zip
SUCHY, HELEN MARY           PO BOX 544                                                                               PORT AUSTIN         MI 48467
SUCHY, HERBERT W            GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                           STREET, SUITE 600
SUCHY, JAMES M              1406 HIDDEN GROVE CIR                                                                    JOLIET             IL   60435‐1103
SUCHY, JAMES M.             304 SHORT ST APT 3                                                                       LEMONT             IL   60439‐4275
SUCHY, LONNI L              1445 RONNIE ST                                                                           FLINT              MI   48507‐5543
SUCHY, MICHAEL A            1228 RALPH ST                                                                            GARDEN CITY        MI   48135‐1129
SUCHY,ERIC J                304 SHORT ST APT 4                                                                       LEMONT             IL   60439‐4275
SUCHYTA, DONALD M           5151 BAXMAN RD                                                                           BAY CITY           MI   48706‐3066
SUCHYTA, SUE E              5023 MEAD ST                                                                             DEARBORN           MI   48126‐3015
SUCHYTA, THOMAS J           303 E FARNUM AVE                                                                         ROYAL OAK          MI   48067‐3601
SUCIC NICHOLAS              SUCIC, NICHOLAS                8708 JACKSON ST                                           PHILADELPHIA       PA   19136
SUCIC, NICHOLAS             8708 JACKSON ST                                                                          PHILADELPHIA       PA   19136‐2132
SUCICH, DANIEL A            312 OLSEN ST                                                                             YORKVILLE          IL   60560‐1734
SUCIU, JOHN J               460 WEDGEFIELD DR                                                                        SPRING HILL        FL   34609‐9674
SUCIU, KAREN L              G4178 BRANCH RD                                                                          FLINT              MI   48506‐1346
SUCIU, NICK N               4033 BEN HOGAN DR                                                                        FLINT              MI   48506‐1401
SUCKLEY, THOMAS H           964 MAIN ST S                                                                            WOODBURY           CT   06798‐3706
SUCKLING, MARY A            2711 POHENS AVE NW                                                                       WALKER             MI   49544‐1858
SUCKOW, BELLA E             2624 BLACK OAK DR                                                                        NILES              OH   44446‐4455
SUCKOW, CLIFFORD D          1113 ERIE DR                                                                             JANESVILLE         WI   53545‐1307
SUCKOW, JERALD L            670 CENTRAL PARKWAY AVE SE                                                               WARREN             OH   44484‐4538
SUCKOW, ROY L               279 BARRINGTON CIR                                                                       LANSING            MI   48917‐6832
SUCKU, DOUGLAS E            25151 W EDGAR AVE                                                                        ANTIOCH            IL   60002‐7412
SUCKU, RUSSELL R            1160 JULIA DR SW                                                                         WARREN             OH   44481‐9620
SUCRIJA FAKO                4234 AMELIA AVE.                                                                         LYONS              IL   60534
SUCRO, ILSE                 353 PONDEROSA LN                                                                         GRANTS PASS        OR   97527‐8965
SUCRO, JOST S               353 PONDEROSA LN                                                                         GRANTS PASS        OR   97527‐8965
SUCURA, ETHEL               39027 ALCOY DR                                                                           STERLING HEIGHTS   MI   48312‐1405
SUCURA, ETHEL               39027 ALCOY                                                                              STERLING HEIGHTS   MI   48312‐1405
SUCURA, RICHARD G           3517 CHURCHILL RD                                                                        IMLAY CITY         MI   48444‐8944
SUCZEWSKI, EDWARD H         21 W 17TH ST                                                                             BAYONNE            NJ   07002‐3603
SUD‐CHEMIE PROTOTECH        32 FREMONT ST                                                                            NEEDHAM            MA   02494‐2933
SUDA, AMBER L.              5452 POLO WOODS CT                                                                       FAIRFIELD          OH   45014‐4778
SUDA, JANET G               4329 WINTERVIEW                                                                          MILFORD            MI   48380‐2791
SUDAN COMPANY               1853 ROCHESTER INDUSTRIAL CT                                                             ROCHESTER HILLS    MI   48309‐3336
SUDAN, ABDELLAH I           1018 EMMA ST                                                                             ELIZABETH          NJ   07201‐1480
SUDAN, ABDELLAH INB AHMED   1018 EMMA ST                                                                             ELIZABETH          NJ   07201‐1480
SUDANESE H SPENCE           18889 HEATHER RIDGE DR                                                                   NORTHVILLE         MI   48168‐6812
SUDANESE SPENCE             18889 HEATHER RIDGE DR                                                                   NORTHVILLE         MI   48168‐6812
SUDANO, DENISE D            190 PINEVIEW DR NE                                                                       WARREN             OH   44484‐4484
SUDANO, IRENE C             57 MISTLETOE                                                                             NILES              OH   44446‐2105
SUDANO, IRENE C             57 MISTLETOE RD                                                                          NILES              OH   44446‐2105
SUDANO, JAMES P             35 GEORGE ST                                                                             NILES              OH   44446‐2723
SUDANO, JOSEPH J            57 MISTLETOE RD                                                                          NILES              OH   44446‐2105
SUDANO, KATHRYN F           PO BOX 1351                    25 GLOVER LANE                                            MURPHYSBORO        IL   62966‐1351
SUDANO, KATHRYN F           P.O. BOX 1351                  25 GLOVER LANE                                            MURPHYSBORO        IL   62966‐1351
SUDANO, NICOLE A            3759 BARKWILLOW LN                                                                       COLUMBUS           OH   43207‐3458
SUDANO, ROBERT A            42 CLAMSHELL LN                                                                          FRANKFORD          DE   19945‐9678
SUDANO, ROSE                1916 SUSAN LN                                                                            UPPER CHICHESTER   PA   19061‐2622
SUDAR, GERALD FRANK         BOONE ALEXANDRA                205 LINDA DR                                              DAINGERFIELD       TX   75638‐2107
SUDAR, JOHN                 6933 N PARKWAY DR                                                                        CLEVELAND          OH   44130‐7804
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Name                                  Address1                         Address2               Address3      Address4             City             State Zip
SUDARSHAN KUMAR                       369 ECKFORD DR                                                                             TROY              MI 48085‐4780
SUDAU, DONALD H                       563 BASS LAKE RD SW                                                                        SOUTH BOARDMAN    MI 49680‐9766
SUDAU, DONALD H                       0563 W BASS LAKE RD SW                                                                     SOUTH BOARDMAN    MI 49680‐9766
SUDBAY PONTIAC CADILLAC BUICK, INC.   DONALD SUDBAY                    88 CAUSEWAY ST                                            GLOUCESTER        MA 01930‐2132

SUDBAY PONTIAC‐CADILLAC‐BUICK‐GMC T 88 CAUSEWAY ST                                                                               GLOUCESTER       MA 01930‐2132

SUDBAY PONTIAC‐CADILLAC‐BUICK‐GMC     88 CAUSEWAY ST                                                                             GLOUCESTER       MA 01930‐2132
TRUCK‐CHEVROLET‐OLDSMOBILE
SUDBAY, ROBERT A                      5377 CENTERBROOK DR                                                                        W BLOOMFIELD     MI   48322‐3815
SUDBERRY, CLIFTON L                   1901 W GENESEE ST                                                                          FLINT            MI   48504‐3811
SUDBERRY, DAVID A                     6334 E COLDWATER RD                                                                        FLINT            MI   48506‐1214
SUDBERRY, DAVID A.                    6334 E COLDWATER RD                                                                        FLINT            MI   48506‐1214
SUDBERRY, EMZIAH                      1198 WESTWOOD DR                                                                           FLINT            MI   48532‐2663
SUDBRINK, ARTHUR A                    11940 GIRDLED RD                                                                           PAINESVILLE      OH   44077‐8806
SUDBURY TAX SERVICES                  CANADA REVENUE AGENCY            1050 NOTRE‐DAME AVE.                 SUDBURY ON P3A 5C1
                                                                                                            CANADA
SUDBURY, CHARLES T                    7173 PORTER RD                                                                             GRAND BLANC      MI   48439‐8500
SUDDARTH BARTLETT                     24 PITT STREET                                                                             NORWALK          OH   44857‐2413
SUDDARTH JR, WILLIAM A                2044 LICK CREEK DR                                                                         INDIANAPOLIS     IN   46203‐4921
SUDDARTH, HAROLD C                    7387 LAWNDALE DR                                                                           WEST CHESTER     OH   45069‐4207
SUDDARTH, HAROLD D                    2349 E WATER WHEEL DR                                                                      GREENFIELD       IN   46140‐7414
SUDDARTH, HARVEY P                    1019 N PARK FOREST DR APT A                                                                MARION           IN   46952‐1751
SUDDARTH, ROBERT B                    37811 CHANCEY RD                 LOT 110 A                                                 ZEPHYRHILLS      FL   33541‐6842
SUDDATH, NOEL D                       5720 36TH AVE NW                                                                           NORMAN           OK   73072‐1300
SUDDEN IMPACT                                                          153 CHESTNUT AVE                                                           NJ   07111
SUDDEN SERVICE EXPEDITING INC         14020 US 20 A                                                                              MONTPELIER       OH   43543
SUDDERTH, GEORGE W                    9244 HWY 52 W.WY                                                                           DAHLONEGA        GA   30533
SUDDERTH, TROY W                      657 WELLS RD                                                                               HOMER            GA   30547‐1827
SUDDERTH, WILLIAM L                   PO BOX 449                                                                                 ANDREWS          NC   28901‐0449
SUDDETH ROGER (629834)                GUY WILLIAM S                    PO BOX 509                                                MCCOMB           MS   39649‐0509
SUDDETH, ALAN D                       518 NORTH ST                                                                               ELYRIA           OH   44035‐5016
SUDDETH, ARLENE M                     77 W FAIRMOUNT                                                                             PONTIAC          MI   48340‐2735
SUDDETH, CHARLES E                    129 MITCHELL ST                                                                            JACKSON          MI   49203‐3232
SUDDETH, DANA A                       1408 LAUREL AVE                                                                            JANESVILLE       WI   53548‐3547
SUDDETH, JOHN M                       16021 VINE CLIFF AVE                                                                       HUDSON           FL   34667‐7520
SUDDETH, LORETTA G                    16021 VINE CLIFF AVE                                                                       HUDSON           FL   34667‐7520
SUDDETH, ROGER                        GUY WILLIAM S                    PO BOX 509                                                MCCOMB           MS   39649‐0509
SUDDIETH, RONALD H                    808 COIT AVE NE                                                                            GRAND RAPIDS     MI   49503‐1510
SUDDON, PATRICIA D                    11310 YOUNG DR                                                                             BRIGHTON         MI   48114‐9250
SUDDUTH, J P                          15048 WHITCOMB ST                                                                          DETROIT          MI   48227‐2608
SUDDUTH, JAMES M                      4321 WALLINGTON DR                                                                         DAYTON           OH   45440‐1235
SUDDUTH, JIMMY                        11483 MOORE ST                                                                             ROMULUS          MI   48174‐3822
SUDDUTH, JOHNNIE L                    7170 RAVENWOOD LN                                                                          LITHONIA         GA   30038‐7523
SUDDUTH, LINDA W                      3513 GLASER DR                                                                             KETTERING        OH   45429‐4111
SUDDUTH, LUE C                        3627 JERREE ST                                                                             LANSING          MI   48911‐2635
SUDDUTH, STEVEN N                     904 QUARTERHORSE RUN                                                                       BARGERSVILLE     IN   46106‐8751
SUDDUTH, WENDELL E                    11642 S CARPENTER ST                                                                       CHICAGO          IL   60643‐5245
SUDEKUM, CAROL S                      4290 SATIN OAK CV                                                                          MEMPHIS          TN   38141‐7277
SUDESH SINGH                          3630 POWDERHORN DR                                                                         OKEMOS           MI   48864‐5924
SUDETH, LOUIS E                       3411 MOFFAT RD                                                                             TOLEDO           OH   43615‐1337
SUDHA GEORGE                          5000 TOWN CTR APT 1903                                                                     SOUTHFIELD       MI   48075‐1168
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Name                   Address1                     Address2            Address3         Address4         City              State Zip
SUDHA SHARMA           267 WHITE OAK LANE                                                                 GRAND ISLAND       NY 14072‐3322
SUDHAKAR INGUVA        2654 LOCKSLEY CT                                                                   TROY               MI 48083‐5713
SUDHAKAR KOLLI         1809 FIRESIDE DR                                                                   TROY               MI 48098‐6551
SUDHEIMER, BEATA A     36131 PARKLANE CIR                                                                 FARMINGTON         MI 48335
SUDHIR GUPTA           1251 KINLOCK DR                                                                    TROY               MI 48098‐2043
SUDHIR JOSHI           1446 SHAKER DR                                                                     TROY               MI 48083‐4452
SUDHIR KULKARNI        24484 AMANDA LN                                                                    NOVI               MI 48375‐5707
SUDHIR MADDIREDDY      2652 CEDAR KEY DR                                                                  ORION              MI 48360‐1826
SUDHOFF, MARGARET M    1545 TEMPLE LN APT 136                                                             ROCKFORD            IL 61112
SUDHOLT, KENNETH J     4571 BLAIRMOOR TER                                                                 SAINT LOUIS        MO 63129‐1607
SUDIA, ANNE            750 ERUDO ST                                                                       LINDEN             NJ 07036‐5732
SUDIA, EDWARD G        RR 2 BOX 61A                                                                       LE RAYSVILLE       PA 18829‐9610
SUDIE ANDERSON         3344 21ST ST                                                                       WYANDOTTE          MI 48192‐6011
SUDIE BAKER            PO BOX 870631                                                                      STONE MOUNTAIN     GA 30087
SUDIE BOWLING          440 SCHOOL ST                                                                      EAST BERNSTADT     KY 40729‐6251
SUDIE CURETON          733 E LORADO AVE                                                                   FLINT              MI 48505‐2242
SUDIE FRANKLIN         3813 W 600 N                                                                       SHARPSVILLE        IN 46068‐8946
SUDIE HELTON           PO BOX 371                                                                         CORBIN             KY 40702‐0371
SUDIE M VENABLE        3114 MOUNTAIN ROAD                                                                 HALIFAX            VA 24558
SUDIMACK, ILONA J      220 CRICKET LN                                                                     CORTLAND           OH 44410‐1214
SUDIMACK, MARJORIE V   535 BELVEDERE AVE NE                                                               WARREN             OH 44483‐5509
SUDIMACK, ROBERT S     PO BOX 1235                                                                        SANTA TERESA       NM 88008‐1235
SUDIMAK PAUL E         PO BOX 147                                                                         NORTH JACKSON      OH 44451‐0147
SUDIMAK PAUL J         PO BOX 296                                                                         NORTH JACKSON      OH 44451‐0296
SUDIMAK, DONANNA       127 S MAIN ST                                                                      YOUNGSTOWN         OH 44515‐3227
SUDIMAK, RODNEY W      PO BOX 253                                                                         NORTH JACKSON      OH 44451‐0253
SUDING, JUDITH E       107 APPLEWOOD DR                                                                   FAIRFIELD          OH 45014‐5299
SUDING, PAUL F         557 MOONGLOW LN                                                                    INDIANAPOLIS       IN 46217‐3288
SUDING, WAYNE C        12163 SAINT PETERS RD                                                              BROOKVILLE         IN 47012‐9136
SUDLIK, BESSIE A       11S104JACKSON ST                                                                   BURRIDGE            IL 60527‐6885
SUDMAN, BEVERLY J      935 DENA WAY                                                                       SANTA BARBARA      CA 93111‐1103
SUDMAN, CHESTER D      4020 W OLD STATE RD                                                                CENTRAL LAKE       MI 49622‐9569
SUDNEY, DAVID M        49753 BAKER CT                                                                     MACOMB             MI 48044‐1525
SUDNICK JEANINE        1561 EAST JARDIN PLACE                                                             CASA GRANDE        AZ 85222‐2468
SUDO, JONATHON J       3248 PRIMROSE DR                                                                   ROCHESTER HILLS    MI 48307‐5237
SUDO, VICTOR N         1702 GREENBROOK LN                                                                 FLINT              MI 48507‐2300
SUDOL GIL              24324 CALVIN ST                                                                    DEARBORN           MI 48124‐3120
SUDOL, GIL R           24324 CALVIN ST                                                                    DEARBORN           MI 48124‐3120
SUDOL, GLORIA          13863 SIBLEY RD                                                                    RIVERVIEW          MI 48193‐7759
SUDOL, JOSEPH          9 REUBENS CIR                                                                      NEWARK             DE 19702‐3038
SUDOL, KENNETH A       963 CANTON DR                                                                      TOMS RIVER         NJ 08753‐2803
SUDOL, MARTIN          233 STEVENS AVE                                                                    LAWRENCEVILLE      NJ 08648‐4005
SUDOL, STANLEY         4123 DEMASTUS LN                                                                   COLUMBIA           TN 38401‐8413
SUDOL, STELLA          3403 NOTTINGHAM DR                                                                 NORTHVILLE         MI 48167‐8696
SUDOMIR, VINCENT A     4660 NORTH RD                                                                      CLYDE              MI 48049‐2703
SUDON, FRANCES A       4958 MAPLE ST                                                                      VIENNA             OH 44473‐9632
SUDON, FRANCES A       4958 MAPLE DRIVE                                                                   VIENNA             OH 44473‐9631
SUDONDA ENGLE          1803 COUNTY ROAD 217                                                               MOULTON            AL 35650‐6467
SUDORE JR, SAM J       698 CARDILE DR                                                                     WEBSTER            NY 14580‐2358
SUDRALA BRANDY         SUDRALA, BRANDY              219 TREETOPS DR                                       NAPLES             FL 34113
SUDRALA, BRANDY        219 TREETOPS DR                                                                    NAPLES             FL 34113
SUDRANSKI, MAXINE      2345 HOWLAND WILSON RD                                                             CORTLAND           OH 44410‐9483
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Name                    Address1                       Address2            Address3         Address4         City              State Zip
SUDRAZAT, NAME          2320 HERMITAGE CT APT 1030                                                           SPEEDWAY           IN 46224‐3839
SUDUT, ROGER C          1400 DODSON CT                                                                       FRANKLIN           TN 37064‐9617
SUDZEKO, EUGENE L       218 W FAIRCHILD DR                                                                   MIDWEST CITY       OK 73110‐5518
SUDZINA, ESTELLE A      51 S MARYLAND AVE                                                                    YOUNGSTOWN         OH 44509‐2808
SUDZINA, JOHN R         51 S MARYLAND AVE                                                                    YOUNGSTOWN         OH 44509‐2808
SUE
SUE A ALSTON            3643 OTTERBEIN                                                                       DAYTON            OH   45406
SUE A ANDERS            6233 OAK HILL DR                                                                     W FARMINGTON      OH   44491
SUE A BROWN             403 54TH ST E                                                                        TUSCALOOSA        AL   35405‐5026
SUE A ELLIOTT           3312 RESH CT                                                                         NORMAN            OK   73072‐4152
SUE A FIGEL             360 E TUTTLE RD LOT 314                                                              IONIA             MI   48846‐8642
SUE A FYE               811 S MARKET ST                                                                      KOKOMO            IN   46901‐5451
SUE A GILBERT           PO BOX 158                                                                           GERMANTOWN        OH   45327
SUE A HOLLOW            45410 DANBURY CT                                                                     CANTON            MI   48188‐1046
SUE A HUTCHINSON        5119 HEATHERTON DR                                                                   DAYTON            OH   45426‐2344
SUE A JOHNSON           805 CENTRAL AVE                                                                      TILTON            IL   61833‐7911
SUE A MARSHBANKS        11406 SILVER LAKE RD                                                                 BYRON             MI   48418‐9051
SUE A MAULLER           55 EDGEBROOK DR APT 4                                                                SPRINGBORO        OH   45066
SUE A ROTH              203 CODYERIN DR                                                                      HENDERSON         NV   89074‐0136
SUE A SCHLOTTA‐GRASER   26002 2ND STREET                                                                     TAYLOR            MI   48180‐1435
SUE A SPENCER           4509 WESTFIELD CT                                                                    BAY CITY          MI   48706‐2725
SUE A TUTTLE            1009 BOULEVARD ST                                                                    SYRACUSE          NY   13211‐1843
SUE A WAACK             1421 W BURDELL RD                                                                    ROSCOMMON         MI   48653‐9602
SUE ADKINS              PO BOX 272                                                                           TECUMSEH          MI   49286‐0272
SUE ANDERS              6233 OAK HILL DR                                                                     W FARMINGTON      OH   44491‐8704
SUE ANN BOGUE           5566 S TAPPAN FALLS DR                                                               IDAHO FALLS       ID   83406‐8352
SUE ANN STOUT           105 MOHAWK TRL                                                                       PRUDENVILLE       MI   48651‐9735
SUE ANN SUMMERS         1179 LANTANA RD                                                                      BEAUMONT          CA   92223‐8622
SUE APSEY               6714 N SAGINAW ST                                                                    FLINT             MI   48505‐2273
SUE ARNOLD              3706 S WINDPOINT CIR                                                                 MUNCIE            IN   47302‐6914
SUE AYERS               833 W PARISH RD                                                                      KAWKAWLIN         MI   48631‐9780
SUE BARKER              7000 N MERCIER CT                                                                    KANSAS CITY       MO   64118‐2768
SUE BASS                808 N MERIDIAN ST                                                                    BRAZIL            IN   47834‐1648
SUE BAUER               819 RICHARD ST                                                                       VASSAR            MI   48768‐1510
SUE BIDELMAN            7215 E 16TH ST                                                                       WHITE CLOUD       MI   49349‐9526
SUE BITZER              211 KITE ST                                                                          PAHRUMP           NV   89048‐4916
SUE BONTRAGER           7480 E COUNTY ROAD 500 N                                                             KOKOMO            IN   46901
SUE BOOK                315 W MADISON ST                                                                     TIPTON            IN   46072‐1837
SUE BOWEN               312 W SHAW ST                                                                        CHARLOTTE         MI   48813‐1838
SUE BOWSER              3908 78TH PL E                                                                       SARASOTA          FL   34243‐4229
SUE BOX                 1534 S 475 E                                                                         ANDERSON          IN   46017‐9770
SUE BRADSBY             1497 BAILEY CREEK RD                                                                 SODA SPRINGS      ID   83276‐5508
SUE BRANTLEY            2378 MORTON AVE                                                                      FLINT             MI   48507‐4446
SUE BROCK               3044 JAMI CT                                                                         SNELLVILLE        GA   30039‐6194
SUE BROWN               PO BOX 107                                                                           FARMERS           KY   40319‐0107
SUE BRUCE               11451 E HAZEL PRAIRIE RD                                                             LAKE NEBAGAMON    WI   54849‐9011
SUE BRYANT              2220 OUTWOOD RD                                                                      FULTONDALE        AL   35068‐1107
SUE BUDZ RICHARDSON
SUE BUNTING             282 LOCUST AVE                                                                       CORTLANDT MANOR   NY   10567‐1302
SUE BUREL               PO BOX 34                                                                            AUBURN            GA   30011‐0034
SUE BURK                321 W MOCKINGBIRD ST                                                                 GARDNER           KS   66030‐1763
SUE BURTON              1804 S 50 W                                                                          PERU              IN   46970‐8786
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Name                Address1                           Address2                    Address3   Address4         City              State Zip
SUE C BUZBEE        C/O WILLIAM KHERKHER HART &        8441 GULF FREEWAY STE 600                               HOUSTON            TX 77007
                    BOUNDAS LLP
SUE C CARROLL       660 ST RT 503                                                                              ARCANUM           OH   45304‐9411
SUE C CASWELL       2137 YAUPON DR                                                                             WILMINGTON        NC   28401‐7324
SUE C FEIGHT        6568SUMMERDALE DRIVE                                                                       DAYTON            OH   45424‐2266
SUE C MATTHEWS      PO BOX 23                                                                                  EAST BEND         NC   27018‐0023
SUE C WILKES        797 JOHNSON PLANK RD NE                                                                    WARREN            OH   44481
SUE CALHOUN
SUE CARDWELL        980 NW 73RD TER                                                                            OCALA             FL   34482‐4486
SUE CAROL HENDLEY   SUE CAROL HENDLEY TTEE             501 MILLSTEAD WAY                                       GREENVILLE        SC   29615
SUE CARR            178 ERIE ST                                                                                LOCKPORT          NY   14094‐4630
SUE CARROLL         660 STATE ROUTE 503                                                                        ARCANUM           OH   45304‐9411
SUE CARTER          8483 GIBSON RD                                                                             CANFIELD          OH   44406‐9745
SUE CASE            679A SHAWNEE WAY                                                                           BOWLING GREEN     KY   42104‐4285
SUE CASWELL         1365 HARVEY LAKE RD                                                                        HIGHLAND          MI   48356‐2615
SUE CHRISTIAN       5229 MAHONING AVE NW                                                                       WARREN            OH   44483‐1205
SUE CHURCHILL       6121 RIVERVIEW RD                                                                          VASSAR            MI   48768‐9611
SUE CLARK POCHE'    2706 RONALD DR                                                                             TROY              MI   48085‐1140
SUE CLEMENTS        3713 N RICHARDT AVE                                                                        INDIANAPOLIS      IN   46226‐5867
SUE CLIFFORD        2088 MEYER ST                                                                              GREENWOOD         IN   46143‐2956
SUE COAN            10415 TUPPER LAKE RD                                                                       GRAND LEDGE       MI   48837‐9503
SUE COGSWELL        PO BOX 594                                                                                 ANDERSON          IN   46015‐0594
SUE COLLINS         2008 YOULL ST                                                                              NILES             OH   44446‐4021
SUE CONNER          3492 W 500 S                                                                               SHARPSVILLE       IN   46068‐9408
SUE CONWAY          313 DONNA LN                                                                               YORK              PA   17403‐4810
SUE CROSE           219 PICK AVENUE                                                                            ANDERSON          IN   46017‐1709
SUE D NEWMAN        4305 E PATTERSON RD                                                                        BEAVERCREEK       OH   45430
SUE DALLIS          203 W CHRISTIE ST                                                                          WALDO             AR   71770‐9711
SUE DAVENPORT       5624 STONECREEK DR                                                                         DURANT            OK   74701‐7760
SUE DAVIS           1730 BOWEN RD                                                                              MANSFIELD         OH   44903‐8706
SUE DAVIS           2101 S MERIDIAN RD LOT 80                                                                  APACHE JUNCTION   AZ   85220‐7242
SUE DAVIS           PO BOX 1353                                                                                LAKE DALLAS       TX   75065‐1353
SUE DAWSON          1212 MILLER AVE                                                                            COLUMBUS          OH   43206‐1740
SUE DEVERNAY        9408 WOODLAND CT                                                                           DAVISON           MI   48423‐1194
SUE DIBER           2078 TIMUCUA TRL                                                                           NOKOMIS           FL   34275‐5303
SUE DIVAN
SUE DUNCAN          5836 CRANE DR                                                                              LAKELAND          FL   33809‐7615
SUE E BRANDEL       17701 KOOGLER                                                                              MT. CLEMENS       MI   48038‐1757
SUE E BROWN         537 BRIGGS RD                                                                              LEAVITTSBURG      OH   44430
SUE E EATON         117 W 4TH ST                                                                               TILTON            IL   61833‐7418
SUE E FRANCIS       903 CENTRAL AVE                                                                            TILTON            IL   61833‐7913
SUE E HOOK          34195 STATE ROUTE 172                                                                      LISBON            OH   44432‐8413
SUE E KUHLEY        645 PURDUE AVE                                                                             YOUNGSTOWN        OH   44515‐4215
SUE E LEE           1921 S PEBBLE BEACH BLVD                                                                   SUN CITY CTR      FL   33573‐4408
SUE E PATRICK       689 E LASALLE ST                                                                           HERNANDO          FL   34442‐9640
SUE E ROOT          1707 XENIA AVE                                                                             DAYTON            OH   45410
SUE EAGAN           109 FOREST PARK DR                                                                         BEDFORD           IN   47421‐1908
SUE EDWARDS         3269 MAPLEWOOD DRIVE                                                                       DAYTON            OH   45434‐6019
SUE ELLEN EGET      12802 GARDENSIDE DR                                                                        N ROYALTON        OH   44133‐1018
SUE ELLEN H EGET    12802 GARDENSIDE DR                                                                        N ROYALTON        OH   44133‐1018
SUE ELLIOTT         3312 RESH CT                                                                               NORMAN            OK   73072‐4152
SUE ENTREKIN        425 HEMLOCK DR                                                                             DAVISON           MI   48423‐1921
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Name                   Address1                          Address2            Address3         Address4         City               State Zip
SUE ESCHBERGER         54631 CHIPPEWA CT                                                                       SHELBY TWP          MI 48315‐1119
SUE EVANS              623 ROUGH RD                                                                            MACKS CREEK         MO 65786‐9272
SUE F HOPKINS          133 LAUREN DR                                                                           NICHOLASVILLE       KY 40356‐2628
SUE F KLINE            3702 W BERRY RD                                                                         STERLING            MI 48659‐9425
SUE FANN               5812 OSTER DR                                                                           WATERFORD           MI 48327‐2648
SUE FEENEY             14829 HARRIS RD                                                                         DEFIANCE            OH 43512‐6910
SUE FELLER             7259 E COLDWATER RD                                                                     DAVISON             MI 48423‐8944
SUE FERGUSON           712 S BARCLAY ST                                                                        FAIRMOUNT           IN 46928‐2101
SUE FIGEL              360 E TUTTLE RD LOT 314                                                                 IONIA               MI 48846‐8642
SUE FLOWERS            2645 ARBOR HILL RD                                                                      CANTON              GA 30115‐7078
SUE FLOYD              43746 VINTAGE OAKS DR                                                                   STERLING HEIGHTS    MI 48314‐2059
SUE FRANCE
SUE FULKERSON          6000 ARROWHEAD BLVD                                                                     KOKOMO             IN   46902‐5595
SUE FYE                811 S MARKET ST                                                                         KOKOMO             IN   46901‐5451
SUE GARCIA             3340 FULTON ST                                                                          SAGINAW            MI   48601‐3144
SUE GARCIA             5856 BAILEY ST                                                                          TAYLOR             MI   48180‐1257
SUE GIERSCH            3616 RIVIERA AVENUE NORTHWEST                                                           MASSILLON          OH   44646‐1672
SUE GILBERT            PO BOX 158                                                                              GERMANTOWN         OH   45327‐0158
SUE GILES              7715 GLENBRIER PL                                                                       CENTERVILLE        OH   45459‐5422
SUE GOODE              9478 N LATSON RD                                                                        HOWELL             MI   48855‐9225
SUE GORDISH            29604 CLARITA ST                                                                        LIVONIA            MI   48152‐1906
SUE GREEN              711 S GOYER RD                                                                          KOKOMO             IN   46901‐8603
SUE GULLETT            24619 FRONTIER CIR                                                                      FLAT ROCK          MI   48134‐1087
SUE GWINN              1908 VANDYKE GREENSPRING RD                                                             SMYRNA             DE   19977‐9448
SUE HAISLEY            6201 W MCARTHUR LN                                                                      MUNCIE             IN   47304‐9525
SUE HAMILTON           206 BUNCOMBE ST                                                                         WOODRUFF           SC   29388‐1604
SUE HAMMOCK            106 MARRETT FARM RD                                                                     UNION              OH   45322‐3411
SUE HARMON             4707 BROADWAY ST APT 76                                                                 SAN ANTONIO        TX   78209‐6203
SUE HARPER             7490 E 400 N                                                                            KOKOMO             IN   46901‐8433
SUE HARTBARGER         6473 COUNTY ROAD 40                                                                     BUTLER             IN   46721‐9739
SUE HEGELMEYER         1753 IRVINE RD                                                                          RICHMOND           KY   40475‐9000
SUE HENDERSON          102 CONESTOGA RD                                                                        BALTIMORE          MD   21220‐2113
SUE HENDRIX            3005 MAYFAIR DR                                                                         KOKOMO             IN   46902‐3932
SUE HENDRIX            644 PERRY CREEK DR                                                                      GRAND BLANC        MI   48439‐1474
SUE HETHERINGTON       6403 WILSON DR                                                                          WATERFORD          MI   48329‐3176
SUE HICKS              6415 TURNER RD                                                                          FLUSHING           MI   48433‐9251
SUE HILL               1252 SHAYLER RD                                                                         BATAVIA            OH   45103‐2404
SUE HOCHMUTH STUDLEY   9665 LONGMONT DR                                                                        HOUSTON            TX   77063
SUE HOLLOW             45410 DANBURY CT                                                                        CANTON             MI   48188‐1046
SUE HOLMES             209 MILLICENT AVE                                                                       BUFFALO            NY   14215‐2984
SUE HOLTZ              11544 N 200 W                                                                           HUNTINGTON         IN   46750‐9758
SUE HOOK               34195 STATE ROUTE 172                                                                   LISBON             OH   44432‐8413
SUE HUFF               PO BOX 628                                                                              GODLEY             TX   76044‐0628
SUE HUMPHREY           4051 W 100 S                                                                            ANDERSON           IN   46011‐8752
SUE HUMPHRYES          122 HELENA CIR                                                                          LITTLETON          CO   80124‐2707
SUE HYLAND             5704 PRINCETON CT                                                                       KOKOMO             IN   46902‐5291
SUE J HUTCHINS         P O BOX 7193                                                                            RAINBOW CITY       AL   35906
SUE JACKSON            2191 CANYON VIEW DR                                                                     GRAND JUNCTION     CO   81507‐2580
SUE JACKSON            1086 TROTWOOD LN                                                                        FLINT              MI   48507‐3709
SUE JACOBS             804 E OAK ST                                                                            WAUSEON            OH   43567‐1289
SUE JONES              14908 PATTERSON DR                                                                      SHELBY TOWNSHIP    MI   48315‐4939
SUE JONES              209 E BROADWAY ST                                                                       ALEXANDRIA         IN   46001‐1618
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Name                                 Address1                        Address2                     Address3   Address4         City            State Zip
SUE K KOECHLEIN & FRED N KOECHLEIN   2518 BUCKLE                                                                              MURFREESBORO     TN 37129

SUE K NUTT                           3592 RUSKVIEW DR                                                                         SAGINAW         MI   48603
SUE KASSEL                           905 JAMES DR                                                                             KOKOMO          IN   46902‐3391
SUE KELLOGG                          4801 ROUND LAKE RD                                                                       LAINGSBURG      MI   48848‐9486
SUE KENNEDY                          16124 BAYHAM CT                                                                          CLINTON TWP     MI   48038‐1918
SUE KINDT                            1690 SAGINAW ST                                                                          NATIONAL CITY   MI   48748‐9678
SUE KLINE                            3702 W BERRY RD                                                                          STERLING        MI   48659‐9425
SUE KRAUSE                           6335 W 00 NS                                                                             KOKOMO          IN   46901‐8808
SUE KRUEGER                          4704 N LAURA DR                                                                          JANESVILLE      WI   53548‐8688
SUE KUHLEY                           645 PURDUE AVE                                                                           YOUNGSTOWN      OH   44515‐4215
SUE L MITHCELL                       PO BOX 816                                                                               COPPERHILL      TN   37317
SUE LAKE                             10342 KING RD                                                                            DAVISBURG       MI   48350‐1902
SUE LAKE                             921 N SHORE DR                                                                           SPRINGPORT      MI   49284‐9414
SUE LAMOREAUX                        1566 E 88TH ST                                                                           NEWAYGO         MI   49337‐8863
SUE LANE                             307 SOUTH ST                                                                             CHESTERFIELD    IN   46017‐1739
SUE LEBEAU                           3409 BENNETT AVE                                                                         FLINT           MI   48506‐4701
SUE LEMPICKI                         4942 SPRING MEADOW DR                                                                    CLARKSTON       MI   48348‐5157
SUE LIZOTTE                          3060 LAKE HILL DR                                                                        METAMORA        MI   48455‐9720
SUE LOVE                             BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS      OH   44236
SUE LOWERY                           5998 CROSS ANCHOR RD                                                                     ENOREE          SC   29335‐2337
SUE M BOWSER                         3908 E 78TH PLACE                                                                        SARASOTA        FL   34243‐4229
SUE M DECK                           1726 S CLAYTON AVE                                                                       CHATTANOOGA     TN   37412‐1161
SUE M DEVERNAY                       9408 WOODLAND CT                                                                         DAVISON         MI   48423‐1194
SUE M GULICK                         2751 68TH STREET SW                                                                      NAPLES          FL   34105
SUE MAGELAND                         2122 ARBUTUS ST                                                                          JANESVILLE      WI   53546‐6159
SUE MARSH KUSCHNER                   1029 N STUART ST                APT 414                                                  ARLINGTON       VA   22201
SUE MARSHBANKS                       11406 SILVER LAKE RD                                                                     BYRON           MI   48418‐9051
SUE MATTHES                          PO BOX 28                                                                                BIRCH RUN       MI   48415‐0028
SUE MERRILL                          9657 SOUTH COVELL ROAD                                                                   GRAYLING        MI   49738‐8051
SUE MISIK                            2165 WHISPERING MDWS NE                                                                  WARREN          OH   44483‐3661
SUE MITCHELL                         20 EMS D21A LN                                                                           SYRACUSE        IN   46567‐7416
SUE MOODY                            5666 FREEWALD BLVD                                                                       MILLINGTON      MI   48746‐9412
SUE NEWMAN                           4305 E PATTERSON RD                                                                      BEAVERCREEK     OH   45430‐1031
SUE NOE                              1010 OBED RIVER RD                                                                       CROSSVILLE      TN   38555‐6819
SUE NORRIS                           850 AVENUE A                                                                             WESTWEGO        LA   70094‐4230
SUE OGRODOWSKI                       2990 WARNER DRIVE                                                                        W BLOOMFIELD    MI   48324‐2447
SUE OLDING                           3724 HUNTINGTON AVE                                                                      COVINGTON       KY   41015‐1621
SUE OTT                              118 N 3RD ST                                                                             TIPP CITY       OH   45371‐1916
SUE OTT                              118 NORTH THIRD ST                                                                       TIPP CITY       OH   45371
SUE PALMER                           12461 NW 3RD ST APT C3                                                                   PLANTATION      FL   33325‐2341
SUE PATE                             166 WESTFIELD AVE                                                                        HAMILTON        OH   45013‐2021
SUE PATRICK                          689 E LASALLE ST                                                                         HERNANDO        FL   34442‐9640
SUE PETERSON                         5893 KUTZKE PKWY                                                                         SOUTH BELOIT    IL   61080‐2329
SUE PHILLIPS                         3274 MONTEBELLO AVENUE                                                                   SPRINGFIELD     OR   97477‐1847
SUE PITMAN                           5900 CYRILS DRIVE                                                                        SAINT CLOUD     FL   34771‐9212
SUE POESCHEL                         13185 W 16TH DR                                                                          GOLDEN          CO   80401‐3513
SUE PRICE                            2539 PETERS ST                                                                           ORION           MI   48359‐1148
SUE R LIZOTTE                        3060 LAKE HILL DR                                                                        METAMORA        MI   48455‐9720
SUE R MISIK                          2165 WHISPERING MDWS NE                                                                  WARREN          OH   44483‐3661
SUE RATKOS                           9940 PARRENT RD                                                                          REESE           MI   48757‐9505
SUE REID                             6436 LEAR NAGLE RD                                                                       N RIDGEVILLE    OH   44039‐3228
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Name                  Address1                      Address2            Address3         Address4         City               State Zip
SUE REZA              48449 MANOR BRIDGE DR                                                               CANTON              MI 48188‐7907
SUE RICH              1148 ROCKY VIEW DR                                                                  HIGHLAND HEIGHTS    KY 41076‐1992
SUE RIDGEWAY          898 MOON PLACE RD                                                                   LAWRENCEVILLE       GA 30044‐5913
SUE RIGGS             5014 W ALBAIN RD                                                                    MONROE              MI 48161‐9558
SUE RIZZO             72 WOODCREST DR                                                                     AMHERST             NY 14226‐1407
SUE ROBERT            6312 GROVENBURG RD                                                                  LANSING             MI 48911‐5410
SUE ROSE              1450 LINCOLN AVE                                                                    MOUNT MORRIS        MI 48458‐1326
SUE ROTH              203 CODYERIN DR                                                                     HENDERSON           NV 89074‐0136
SUE RUBELMAN          1775 W DEWEY RD                                                                     OWOSSO              MI 48867‐9110
SUE S DOMES           2450 GRIFFITH DR                                                                    CORTLAND            OH 44410
SUE SATTERLEE         225 PRAIRIE ST                                                                      CHARLOTTE           MI 48813‐1611
SUE SCHIEFELBEIN      7231 W THORNAPPLE DR                                                                JANESVILLE          WI 53548‐8687
SUE SCHLOTTA‐GRASER   26002 2ND ST                                                                        TAYLOR              MI 48180‐1435
SUE SCHMIDT           11384 SPENCER RD                                                                    SAGINAW             MI 48609‐9729
SUE SCOTT             8150 E 10TH ST                                                                      INDIANAPOLIS        IN 46219‐5327
SUE SEELMAN           6237 ORIOLE DR                                                                      FLINT               MI 48506‐1720
SUE SHETTERLY         5619 S 100 W                                                                        PENDLETON           IN 46064‐9162
SUE SHINGLER          479 RIDGE RD APT L2                                                                 NEWTON FALLS        OH 44444
SUE SIMMONS           2742 BEAL STREET NORTHWEST                                                          WARREN              OH 44485‐1206
SUE SIMPSON IRA       SUE SIMPSON                   2 SUNSET RIDGE                                        CARMEL              NY 10512
SUE SLATTERY          472 PINEVIEW DR                                                                     WEBSTER             NY 14580‐1123
SUE SLATTERY          472 PINEVIEW DR                                                                     WEBSTER             NY 14580‐1123
SUE SMITH             206 6TH ST RR 03                                                                    BELINGTON           WV 26250
SUE SMITH             709 S MICKLEY AVE                                                                   INDIANAPOLIS        IN 46241‐2011
SUE SPANGLER          3328 NORTON RD                                                                      HOWELL              MI 48843‐7936
SUE SPENCER           4509 WESTFIELD CT                                                                   BAY CITY            MI 48706‐2725
SUE SPOON             827 CREW AVE                                                                        GALION              OH 44833‐3244
SUE STEVENS           5675 N ATHEY AVE                                                                    HARRISON            MI 48625‐9674
SUE STEVENSON         8210 HAYES ST                                                                       COOPERSVILLE        MI 49404‐9712
SUE STOUT             105 MOHAWK TRL                                                                      PRUDENVILLE         MI 48651‐9735
SUE T. BEELS          1098 OVERLOOK DRIVE                                                                 WASHINGTON          PA 15301‐5973
SUE TACKETT           5280 LIMEROCK ST., #407                                                             MIAMISBURG          OH 45342
SUE TARASI            50 DUFF ROAD                  APARTMENT 704                                         PITTSBURGH          PA 15235‐3216
SUE TAYLOR            19 DEER TRACK TRL             UNIT D                                                NORWALK             OH 44857
SUE TAYLOR            1430 GIBSON DR                                                                      BOSSIER CITY        LA 71112‐3352
SUE THOMPSON          1815 DOUGLAS RD                                                                     LANCASTER           SC 29720‐8423
SUE THORNTON          109 N CARRIAGE MEADOWS TRL                                                          PECULIAR            MO 64078‐7801
SUE THREET            410 AVON CT APT 2                                                                   DAVISON             MI 48423
SUE TICE              9412 NEW YORK AVENUE          #13                                                   HUDSON              FL 34667
SUE TING              6345 BROOKINGS DR                                                                   TROY                MI 48098‐1863
SUE TRACY             513 JANA RD                                                                         EDGERTON            WI 53534‐9500
SUE TRIPLETT          101 RANCHO ENCINO                                                                   SAN MARCOS          TX 78666
SUE UTTERBACK         5020 SE TATER PEELER RD                                                             LEBANON             TN 37090‐0665
SUE V LEWIS           528 WEST FAIRVIEW AVENUE                                                            DAYTON              OH 45405‐3204
SUE VAN SOLKEMA       850 AMBERWOOD WEST DR SW                                                            BYRON CENTER        MI 49315‐8310
SUE VANSELL           800 S FOWLER ST                                                                     COLE CAMP           MO 65325‐1141
SUE VAUGHN            358 E 500 N                                                                         ANDERSON            IN 46012‐9502
SUE W RIGGS           5014 W ALBAIN RD                                                                    MONROE              MI 48161‐9558
SUE W TAYLOR          1430 GIBSON DR                                                                      BOSSIER CITY        LA 71112‐3352
SUE WAACK             1421 W BURDELL RD                                                                   ROSCOMMON           MI 48653‐9602
SUE WAGNER            9867 SALT WATER CREEK CT                                                            LAKE WORTH          FL 33467‐6994
SUE WALDROP           84 DELEVAN ST                                                                       AUBURN HILLS        MI 48326‐1423
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Name                        Address1                         Address2                     Address3   Address4             City             State Zip
SUE WARD                    110 E 2ND ST                                                                                  LAURA             OH 45337‐9754
SUE WATSON                  8613 DANA CT                                                                                  INDIANAPOLIS      IN 46234‐8608
SUE WESTENDORF              5861 11 MILE RD                                                                               FREELAND          MI 48623‐9322
SUE WHIPPLE                 20 ANDOVER DR                                                                                 KENDALL PARK      NJ 08824‐7006
SUE WHITE                   5154 W HARVARD AVE                                                                            CLARKSTON         MI 48348‐3110
SUE WHITEMAN                486 SANTIGUAY ST                                                                              PORT CHARLOTTE    FL 33983‐5758
SUE WIDERSKI                PO BOX 344244                                                                                 HOMESTEAD         FL 33034‐9584
SUE WIDING                  4261 GRANGE HALL RD LOT 152                                                                   HOLLY             MI 48442‐1191
SUE WILDFONG                2055 MORGAN RD                                                                                CLIO              MI 48420‐1830
SUE WILLETT                 4777 N HERRINGTON RD                                                                          WEBBERVILLE       MI 48892‐9539
SUE WILLIAMS                305 DEER CREEK RD                                                                             EVERMAN           TX 76140‐4107
SUE WILLIAMS‐               404 DEER CREEK RD                                                                             EVERMAN           TX 76140‐4110
SUE WILLIAMSON              506 DAN WEST LN                                                                               UNION             OH 45322‐8802
SUE WIMBUSH                 15050 BIRWOOD ST APT 228                                                                      DETROIT           MI 48238‐2877
SUE WOOD
SUE WOOLWORTH               6440 WILLARD RD                                                                               BIRCH RUN        MI   48415‐8517
SUE YAHR                    26094 FEATHERSOUND DRIVE                                                                      PUNTA GORDA      FL   33955
SUE, ARTHUR                 PO BOX 761                                                                                    LA PUENTE        CA   91747‐0761
SUE, ARTHUR                 PO BOX 1814                                                                                   WEST COVINA      CA   91793
SUE, ROSETTA S              1530 W LONG LAKE RD                                                                           TRAVERSE CITY    MI   49684‐9055
SUEANN CHANNING             N446 COUNTY RD N                                                                              WHITEWATER       WI   53190‐2843
SUEANN DAVIS                509 KEVIN DR                                                                                  SANDUSKY         OH   44870‐7329
SUEANN GRAY                 1074 MORRIS HILLS PKWY                                                                        MOUNT MORRIS     MI   48458‐2526
SUEANN READ                 10868 PINE VALLEY PATH                                                                        INDIANAPOLIS     IN   46234‐5020
SUEANN WESTON               2224 FIRWOOD DR                                                                               DAVISON          MI   48423‐9524
SUEBERKROP, INGVAR H        7202 REGISTRY DR                                                                              INDIANAPOLIS     IN   46217‐7478
SUEBERKROP, INGVAR HENRIK   7202 REGISTRY DR                                                                              INDIANAPOLIS     IN   46217‐7478
SUEDARD GMBH RADTECHNIK     STRUTSTR 21                                                              EBERSBACH BW 73061
                                                                                                     GERMANY
SUEDFLEIGER FINANCE INC     POSTFACH 328                                                             FL 9490 VADUZ,
                                                                                                     LIECHTENSTEIN
SUEDFLIEGER FINANCE INC     POSTFACH 328                                                             FL 9490 VADUZ
                                                                                                     LIECHTENSTEIN
SUEHS HOWARD (346100)       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                   BALTIMORE        MD 21202
                                                             CHARLES CENTER 22ND FLOOR
SUEHS, HOWARD               ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                    BALTIMORE        MD 21202
                                                             CHARLES CENTER 22ND FLOOR
SUEK, SARAH D               7637 WEST 157TH PLACE                                                                         ORLAND PARK      IL   60462‐5000
SUEKO OKITA                 412 FRANKLIN ROAD                                                                             DENVILLE         NJ   07834‐3602
SUEL JR, GREGORY D          7660 TUSCOLA DR                                                                               TROTWOOD         OH   45426‐3832
SUEL JR, GREGORY D          4870 SUMMERSET DR                                                                             TIPP CITY        OH   45371‐8112
SUELEEN A FOWLER            2435 FAYETTEVILLE RD                                                                          GRIFFIN          GA   30223‐6262
SUELI JUSTINIANO            18 TROPEZ PT                                                                                  ROCHESTER        NY   14626
SUELL, LARRY D              20581 HUNTINGTON RD                                                                           DETROIT          MI   48219‐1414
SUELL, RICHARD L            14681 ARCHDALE ST                                                                             DETROIT          MI   48227‐1443
SUELL, SCHEVETTE D          PO BOX 23128                                                                                  PHOENIX          AZ   85063‐3128
SUELLA JOLLY                11676 LANSDOWNE ST                                                                            DETROIT          MI   48224‐1649
SUELLEN BLASDELL            4665 BUNNY TRL                                                                                CANFIELD         OH   44406‐9388
SUELLEN BLASDELL            4665 BUNNY TRAIL                                                                              CANTIEND         OH   44406
SUELLEN DE ANGELO           976 KENSINGTON CT                                                                             VICTOR           NY   14564
SUELLEN EWALD               3313 OLD KAWKAWLIN RD                                                                         BAY CITY         MI   48706‐1679
SUELLEN HAIST               45963 MEADOW LN                                                                               MACOMB           MI   48044‐4182
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Name                           Address1                        Address2                      Address3   Address4         City                State Zip
SUELLEN P EWALD                3313 OLD KAWKAWLIN RD                                                                     BAY CITY             MI 48706‐1679
SUELLEN SMITH‐SALIM            11511 N BELSAY RD                                                                         CLIO                 MI 48420‐9756
SUELLEN STOKES                 914 HATTIE DR                                                                             ANDERSON             IN 46013‐1636
SUELLYN SHOOK                  2002 PIER DR                                                                              RUSKIN               FL 33570‐6149
SUEMMA WILSON                  25273 BUSY BEE DR                                                                         BONITA SPRINGS       FL 34135‐8836
SUEMNICK, CINDY A              9661 WILLIAM ST                                                                           TAYLOR               MI 48180‐3740
SUEMNICK, RICHARD K            13925 GRAFTON RD                                                                          CARLETON             MI 48117‐9217
SUEN, LI C                     71 RUE MADELEINE                                                                          WILLIAMSVILLE        NY 14221‐3232
SUENETTE KIMBLE                1521 HIDDEN HOLLOW DR                                                                     KEARNEYSVILLE        WV 25430‐3730
SUEOKA, JOANNE R               1749 FOOTHILL DR                                                                          SALT LAKE CITY       UT 84108‐3051
SUEOKA, MARY LOUISE M          4170 S 2700 E                                                                             SALT LAKE CITY       UT 84124‐2902
SUER, KENNETH K                9060 FLORAL ST                                                                            LIVONIA              MI 48150‐4111
SUER, KIMBERLY A               30672 MUNGER ST                                                                           LIVONIA              MI 48154‐6233
SUER, ROGER F                  632 S DUNBAR RD                                                                           JANESVILLE           WI 53548‐9133
SUER, TODD M                   2827 S STATE ROAD 213                                                                     ORFORDVILLE          WI 53576‐9783
SUERITA FAUSTINA               16180 DALE ST                                                                             DETROIT              MI 48219‐3715
SUERWIER, BERNELL E            PO BOX 148                                                                                POWERS               MI 49874‐0148
SUESBERRY, KATIE M             409 E EPPINGTON DR                                                                        TROTWOOD             OH 45426‐2731
SUESS KEVIN                    SUESS, KEVIN                    4425 PORT AUSTIN ROAD                                     CASEVILLE            MI 48725
SUESS ROBERT F (361289)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                               STREET, SUITE 600
SUESS, ANNETTE F               2308 GROVE PARK RD                                                                        FENTON              MI   48430‐1442
SUESS, DAVID A                 1313 RED TAIL HAWK CT UNIT 3                                                              YOUNGSTOWN          OH   44512‐8025
SUESS, DOROTHY C               3501 RIDGECLIFFE DR                                                                       FLINT               MI   48532‐3740
SUESS, EDWARD C                12812 VIA CATHERINA DR                                                                    GRAND BLANC         MI   48439‐1530
SUESS, ELAINE M                15 RAWSON WOODS CIR                                                                       CINCINNATI          OH   45220
SUESS, JACK WALTER             G 1081 HOURAN                                                                             FLINT               MI   48532
SUESS, JAMES                   6401 1ST AVE S                                                                            RICHFIELD           MN   55423‐1611
SUESS, KEVIN                   4425 PORT AUSTIN RD                                                                       CASEVILLE           MI   48725‐9632
SUESS, ROBERT E                1062 WINTERTHUR                                                                           INDIANAPOLIS        IN   46260‐2232
SUESS, ROBERT F                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                               STREET, SUITE 600
SUESSENBACH, HERBERT W         5400 CROWN RIDGE RD NORTHWEST                                                             ALBUQUERQUE         NM 87114‐5790
SUESSMITH LEONARD J (400702)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                               STREET, SUITE 600
SUESSMITH, LEONARD J           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                               STREET, SUITE 600
SUETA, JOSEPH R                10269 CEDAR COVE LN                                                                       CLARKSTON           MI   48348‐2463
SUETA, LINDA M                 10269 CEDAR COVE LN                                                                       CLARKSTON           MI   48348‐2463
SUETTA LEE                     2923 E LANSING RD                                                                         BANCROFT            MI   48414‐9792
SUETTA WENDLING                1150 JENNA DR                                                                             DAVISON             MI   48423‐3608
SUEVER, LLOYD M                3025 OAK BOROUGH RUN                                                                      FORT WAYNE          IN   46804‐7808
SUEY, JAMES                    GUY WILLIAM S                   PO BOX 509                                                MCCOMB              MS   39649‐0509
SUFCZYNSKI, CHRISTOPHER G      202 QUAIL RIDGE DR                                                                        SIMPSONVILLE        SC   29680
SUFCZYNSKI, DAVID F            37856 SEAWAY CT                                                                           HARRISON TOWNSHIP   MI   48045‐2759
SUFCZYNSKI, KAREN E            202 QUAIL RIDGE DR                                                                        SIMPSONVILLE        SC   29680
SUFFECOOL HENRY (358015)       ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                       NEW YORK            NY   10006‐1638
SUFFECOOL, HENRY               ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                       NEW YORK            NY   10006‐1638
SUFFEL, DAVID D                2394 E MAPLE AVE                                                                          FLINT               MI   48507‐4409
SUFFEL, KEITH P                3650 RUE FORET APT 180                                                                    FLINT               MI   48532‐2851
SUFFEL, RAY J                  87 RENFREW AVE                                                                            MOUNT MORRIS        MI   48458‐8856
SUFFEL, ROBERT C               14612 MUD CREEK RD                                                                        NEY                 OH   43549‐9768
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Name                                   Address1                               Address2                        Address3                   Address4         City               State Zip
SUFFEL, ROBERT CHARLES                 14612 MUD CREEK RD                                                                                                 NEY                 OH 43549‐9768
SUFFEL, RUBY                           2341 S ELMS RD                                                                                                     SWARTZ CREEK        MI 48473‐9730
SUFFEL, RUBY                           2341 S ELMS                                                                                                        SWARTZ CREEK        MI 48473‐9730
SUFFEL, SHARON K                       506 CHAMBERLAIN STREET                                                                                             FLUSHING            MI 48433
SUFFEL, WILLIAM C                      8685 DOWNING RD                                                                                                    BIRCH RUN           MI 48415‐9201
SUFFES, ELAINE A                       907 GARRISON DR                                                                                                    SAINT AUGUSTINE     FL 32092‐1021
SUFFETY, JANET A                       4300 WALTON PL                                                                                                     SAGINAW             MI 48603‐2073
SUFFIX, WILLIAM E                      463 HELEN ST                                                                                                       MOUNT MORRIS        MI 48458‐1920
SUFFOLETTA, JOHN P                     184 TUDOR BLVD                                                                                                     BUFFALO             NY 14220‐2868
SUFFOLK COUNTY                         PO BOX 6100                            OFFICE OF CONSUMER AFFAIRS                                                  HAUPPAUGE           NY 11788‐0099
SUFFOLK COUNTY                         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 6100                     OFFICE OF CONSUMER                          HAUPPAUGE           NY 11788‐0099
                                                                                                              AFFAIRS
SUFFOLK COUNTY COMMUNITY COLL          AMMERMAN CAMPUS                       533 COLLEGE RD                                                               SELDEN             NY 11784‐2851
SUFFOLK COUNTY COMMUNITY COLLEGE       CROOKED HILL ROAD                                                                                                  BRENTWOOD          NY 11717

SUFFOLK COUNTY SCU                     ACCT OF WILLIAM BRANCH                PO BOX 15347                                                                 ALBANY             NY   12212‐5347
SUFFOLK ORTHOPAEDIC                    375 E MAIN ST STE 1                                                                                                BAY SHORE          NY   11706‐8418
SUFFOLK TRANSPORTATION                 10 MOFFITT BLVD                                                                                                    BAY SHORE          NY   11706‐7007
SUFFOLK TRANSPORTATION SERVICE, INC.                                         10 MOFFITT BLVD                                                                                 NY   11706

SUFFOLK UNIVERSITY                     STUDENT ACCOUNTS                      8 ASHBURTON PL                                                               BOSTON             MA   02108‐2701
SUFFOLK, MELODY J                      APT 2                                 3969 SOUTH SCHENLEY AVENUE                                                   YOUNGSTOWN         OH   44511‐3451
SUFFOLK, RAYMOND A                     5163 TROYER DR                        C/O JAMES SUFFOLK                                                            KENT               OH   44240‐7008
SUFFRIDGE, STANLEY C                   8267 S HIGHWAY 1680                                                                                                JAMESTOWN          KY   42629‐7937
SUFFRON, ROBERT C                      227 E DORIS DR                                                                                                     FAIRBORN           OH   45324
SUGALSKI, MATT T                       1125 NW 12TH AVE APT 815                                                                                           PORTLAND           OR   97209
SUGAMELI, GIUSEPPE                     69742 WILLOW LN                                                                                                    CATHEDRAL CITY     CA   92234‐2513
SUGANO, YUKARI                         22641 IRA BLVD                                                                                                     WARREN             MI   48091‐5211
SUGANYA KUMAR                          29386 CHELSEA XING                                                                                                 FARMINGTON HILLS   MI   48331‐2807
SUGAR CANE GROWERS OF FLORIDA                                                1600 GATOR BLVD                                                                                 FL   33430
SUGAR FARM CO‐OP                                                             STATE RD 80                                                                                     FL   33430
SUGAR, ALICE L                         816 COUTANT ST                                                                                                     FLUSHING           MI   48433‐1725
SUGAR, ALICE L                         816 COUTANT STREET                                                                                                 FLUSHING           MI   48433‐1725
SUGAR, ANTON                           30224 REGENT RD                                                                                                    WICKLIFFE          OH   44092‐1761
SUGAR, BORIS                           9496 CHESAPEAKE DR                                                                                                 NORTH ROYALTON     OH   44133‐1529
SUGAR, DARLENE                         5203 MAPLE AVE                                                                                                     SWARTZ CREEK       MI   48473‐8271
SUGAR, DAVID A                         14369 BLUE HERON DR                                                                                                FENTON             MI   48430‐3267
SUGAR, JOHN P                          1943 LAUREL OAK DR                                                                                                 FLINT              MI   48507‐6038
SUGAR, LINA                            173 WARNER RD                                                                                                      HINCKLEY           OH   44233‐9608
SUGAR, MATHEW                          1540 E ANDERSON RD                                                                                                 LINWOOD            MI   48634‐9452
SUGARBAKER, ARNOLD D                   707 WHITE AVE                                                                                                      LINCOLN PARK       MI   48146‐2829
SUGARBAKER, ARNOLD DWAYNE              707 WHITE AVE                                                                                                      LINCOLN PARK       MI   48146‐2829
SUGARCREEK CARTAGE CO INC              PO BOX 494                                                                                                         SUGARCREEK         OH   44681‐0494
SUGARNINE CRAWFORD                     2010 DEERFIELD AVE SW                                                                                              WARREN             OH   44485‐3945
SUGARS, GERALD D                       2920 CHURCH RD                                                                                                     COLUMBUS           MI   48063‐4217
SUGASKI JUDY                           GRAHAM, SHANNON                       CLARK, PARTINGTON, HART, LARRY   SUITE 800, ONE PENSACOLA                    PENSACOLA          FL   32502
                                                                                                              PLAZA 125 W. ROMARA
                                                                                                              STREET
SUGASKI JUDY                           SUGASKI, JUDY                         2326 CAPPS RD                                                                LAKE WALES         FL   33898
SUGASKI, JUDY                          2326 CAPPS RD                                                                                                      LAKE WALES         FL   33898‐8463
SUGDEN JR, LAWRENCE K                  15034 HOGAN RD                                                                                                     LINDEN             MI   48451‐8732
SUGDEN, ALLEN D                        5841 FULTON ST                                                                                                     MAYVILLE           MI   48744‐9701
                                    09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                                Address1                          Address2                           Address3   Address4         City           State Zip
SUGDEN, FRANCES L                   106 EAST THRUSH AV                                                                               CRESTLINE       OH 44827
SUGDEN, FRANCES L                   640 CHAMPION RD                                                                                  MANSFIELD       OH 44905
SUGDEN, HENRY G                     1466 GUN CLUB RD                                                                                 CARO            MI 48723‐8911
SUGDEN, KRIS                        3304 RIDGE RD                                                                                    COLUMBIA        TN 38401‐1362
SUGDEN, MARGARET A                  11515 BLOCK ROAD                                                                                 BIRCH RUN       MI 48415‐9479
SUGDEN, MARGARET A                  11515 BLOCK RD                                                                                   BIRCH RUN       MI 48415
SUGDEN, MELODY K                    6101 BARKER DR                                                                                   WATERFORD       MI 48329‐3105
SUGDEN, RICHARD L                   5377 MERTZ RD                                                                                    MAYVILLE        MI 48744‐9684
SUGDEN, RICHARD LEE                 5377 MERTZ RD                                                                                    MAYVILLE        MI 48744‐9684
SUGDEN, ROBERT C                    221 MAGNOLIA AVE                                                                                 ROSCOMMON       MI 48653‐8744
SUGDEN, SUZANNE                     1142 CREEKSIDE CT                                                                                BURTON          MI 48509‐1460
SUGG CHEVROLET INC                  ROBERT SUGG                       150 E 2ND ST                                                   BOYERTOWN       PA 19512‐1503
SUGG CHEVROLET INC                  150 E 2ND ST                                                                                     BOYERTOWN       PA 19512‐1503
SUGG JR., CHARLES H                 11543 WILLIAM ST                                                                                 TAYLOR          MI 48180‐4282
SUGG, BILLIE                        4445 POLK                                                                                        DEARBORN HTS    MI 48125‐2937
SUGG, DANIELLE                      350 CYPRESS CREEK RD APT 710                                                                     CEDAR PARK      TX 78613‐4451
SUGG, JOSEPH P                      49 QUEENS DR                                                                                     WEST SENECA     NY 14224‐3226
SUGG, JOYCE D                       8392 VANDEN DR                                                                                   WHITE LAKE      MI 48386‐2552
SUGG, LARRY R                       3388 W TEMPERANCE RD                                                                             LAMBERTVILLE    MI 48144‐9706
SUGG, MARY A                        707 S VERMONT AVE                                                                                ROYAL OAK       MI 48067‐2990
SUGG, MATTHEW JR                    350 CYPRESS CREEK RD APT 710                                                                     CEDAR PARK      TX 78613‐4451
SUGG, MATTHEW SR                    350 CYPRESS CREEK RD APT 710                                                                     CEDAR PARK      TX 78613‐4451
SUGG, MELVIN E                      4445 POLK ST                                                                                     DEARBORN HTS    MI 48125‐2937
SUGG, RANDY E                       735 3RD ST                                                                                       FENTON          MI 48430‐4120
SUGG, ROLIN W                       78 TIMBER LN                                                                                     AVON            CT 06001‐2316
SUGG, RONALD K                      7946 JACKMAN RD                                                                                  TEMPERANCE      MI 48182‐9221
SUGG, TALIA B                       350 CYPRESS CREEK RD APT 710                                                                     CEDAR PARK      TX 78613‐4451
SUGG, URSULA J                      7244 MICHAEL RD                                                                                  ORCHARD PARK    NY 14127‐1407
SUGG, VIRGINIA L                    323 SOUTH 26TH STREET                                                                            SAGINAW         MI 48601‐6339
SUGG, VIRGINIA L                    323 S 26TH ST                                                                                    SAGINAW         MI 48601‐6339
SUGGATE, DAVID L                    6578 COLBY LAKE RD                                                                               LAINGSBURG      MI 48848‐9725
SUGGATE, ELEANOR                    8539 TROY ST SW                                                                                  BYRON CENTER    MI 49315‐8861
SUGGATE, ELEANOR                    8575 SKYLINE ST SW                                                                               BYRON CENTER    MI 49315‐8854
SUGGATE, FRANK B                    409 HIGH ST                                                                                      LAINGSBURG      MI 48848‐9781
SUGGATE, JEREMY LEE                 416 S WOODHULL RD                                                                                LAINGSBURG      MI 48848‐9333
SUGGATE, LEONARD R                  10162 PARKER P0 BOX 550                                                                          LAINGSBURG      MI 48848
SUGGETT, DEBBIE
SUGGETT, HOLLY                      432 S 15TH ST                                                                                    SEBRING        OH 44672‐2008
SUGGITT, MILDRED B                  1420 EDGEORGE ST                                                                                 WATERFORD      MI 48327‐2015
SUGGS BENJAMIN M (411032)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK        VA 23510
                                                                      STREET, SUITE 600
SUGGS EUGENE (ESTATE OF) (473695)   CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND      OH 44115
                                    GAROFOLI                          FL
SUGGS GOMER K (169654)              BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG , 233 EAST                                 JACKSONVILLE    FL   32202
                                    MCCLAMMA & YEGELWEL P.A.          BAY STREET
SUGGS HUBERT E (456571)             BILMS KEVIN P                     430 CRAWFORD ST STE 202                                        PORTSMOUTH     VA    23704‐3813
SUGGS I I I, ROBERT L               16544 SHAFTSBURY AVE                                                                             DETROIT        MI    48219‐4051
SUGGS III, ROBERT L                 16544 SHAFTSBURY AVE                                                                             DETROIT        MI    48219‐4051
SUGGS JAMES M JR (404118)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK        VA    23510
                                                                      STREET, SUITE 600
SUGGS JAMES M SR (347281)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK        VA 23510
                                                                      STREET, SUITE 600
                     09-50026-mg              Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
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Name                 Address1                          Address2                          Address3   Address4         City              State Zip
SUGGS JR, EARL A     507 HILL ST                                                                                     TIPTON             IN 46072‐1154
SUGGS JR, EDDIE      3142 SILVER ROCK AVE                                                                            DAYTON             OH 45414‐2325
SUGGS JR, EDDIE      919 BURLEIGH AVENUE                                                                             DAYTON             OH 45417‐5417
SUGGS MARCIA         18696 WILLIAMSVILLE ST                                                                          CASSOPOLIS         MI 49031‐8543
SUGGS WILLINE        2610 S 76TH ST                                                                                  PHILADELPHIA       PA 19153‐1802
SUGGS, ADINE         PO BOX 13211                                                                                    FLINT              MI 48501‐3211
SUGGS, ALFRED M      56 DAVIS STREET                                                                                 BINGHAMTON         NY 13905‐4238
SUGGS, ALLEN K       9 DARBY CT                                                                                      EWING              NJ 08628‐3206
SUGGS, ANTHONY D     1343 TURTLECREEK CIR                                                                            EAST LANSING       MI 48823‐6332
SUGGS, ANTHONY L     630 CLEVELAND AVE                                                                               LINDEN             NJ 07036‐2508
SUGGS, BENJAMIN M    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510‐2212
                                                       STREET, SUITE 600
SUGGS, BILLIE F      6593 BALL RD                                                                                    ROMULUS           MI    48174‐3501
SUGGS, CHARLES L     1053 WINCHESTER AVE                                                                             LINCOLN PARK      MI    48146‐4248
SUGGS, CHARLOTTE O   1504 HILLSIDE DR                                                                                MIDLOTHIAN        TX    76065‐2006
SUGGS, CLARA M       1821 STEPHENS DR                                                                                YPSILANTI         MI    48198‐3272
SUGGS, DEBRA L       2545 TWIN CREEK ROAD,                                                                           W. ALEXANDRIA     OH    45381‐5381
SUGGS, DONNIE R      9101 COUNTY ROAD 202                                                                            GRANDVIEW         TX    76050‐3961
SUGGS, DOROTHY B     16789 LOCHMOOR CIRCLE EAST                                                                      NORTHVILLE TWP    MI    48167‐4400
SUGGS, EDITH D       2706 S ETHEL ST                                                                                 DETROIT           MI    48217‐1583
SUGGS, ERNEST W      125 SWIFT LN                                                                                    CUNNINGHAM        TN    37052‐4917
SUGGS, EUGENE        CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                               CLEVELAND         OH    44115
                     GAROFOLI                          FL
SUGGS, FRANKY L      PO BOX 1329                                                                                     HALEYVILLE         AL   35565‐8329
SUGGS, GEADIE M      452 COUNTY ROAD 111                                                                             MOULTON            AL   35650‐6867
SUGGS, GOMER         BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG, 233 EAST                                 JACKSONVILLE       FL   32202
                     MCCLAMMA & YEGELWEL P.A.          BAY STREET
SUGGS, HUBERT E      BILMS KEVIN P                     430 CRAWFORD ST STE 202                                       PORTSMOUTH        VA 23704‐3813
SUGGS, JAMES         2658 N COLE ST                                                                                  LIMA              OH 45801‐1726
SUGGS, JAMES
SUGGS, JAMES E       1403 NORFOLK AVE                                                                                GRAND BLANC       MI 48439‐5173
SUGGS, JAMES F       452 COUNTY ROAD 111                                                                             MOULTON           AL 35650‐6867
SUGGS, JAMES M       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA 23510‐2212
                                                       STREET, SUITE 600
SUGGS, JANET L       4586 KAWILLA CREST PL                                                                           WINTER PARK       FL    32792‐7637
SUGGS, JOAN E        6593 BALL RD                                                                                    ROMULUS           MI    48174‐3501
SUGGS, KENNETH D     1915 ORO CT                                                                                     CLEARWATER        FL    33764‐6645
SUGGS, LEKEISHA M    1343 TURTLECREEK CIR                                                                            EAST LANSING      MI    48823‐6332
SUGGS, LESTER P      7743 BROADBRIDGE RD                                                                             IRA               MI    48023‐2603
SUGGS, LISA MARIE    18803 RUTH ST                                                                                   MELVINDALE        MI    48122‐1546
SUGGS, LOIS O        2658 N COLE ST                                                                                  LIMA              OH    45801‐1726
SUGGS, LONNIE L      13651 ALLAN AVENUE                                                                              OAK PARK          MI    48237‐1649
SUGGS, LONNIE L      13651 ALLEN ST.                                                                                 OAK PARK          MI    48237
SUGGS, MALCOLM F     PO BOX 2271                                                                                     KINSTON           NC    28502‐2271
SUGGS, MANCEL L      738 GLEN VALLEY WAY                                                                             DACULA            GA    30019‐4878
SUGGS, MARTHA S      2827 FISH POND RD                                                                               GAINESVILLE       GA    30507‐7935
SUGGS, MARTHA S      2827 FISHPOND RD                                                                                GAINESVILLE       GA    30507‐7935
SUGGS, MARY G        3021 TUCKER DR NW                                                                               HUNTSVILLE        AL    35810‐3115
SUGGS, MARY J        3343 TRADE WINDS AVE.                                                                           DAYTON            OH    45424‐6239
SUGGS, MICHAEL B     3060 OLD JACKSON RD                                                                             LOCUST GROVE      GA    30248‐2757
SUGGS, MICHAEL B.    3060 OLD JACKSON RD                                                                             LOCUST GROVE      GA    30248‐2757
SUGGS, MYRNA L       80 CENTRAL AVE                                                                                  WEST ALEXANDRIA   OH    45381‐1255
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Name                    Address1                           Address2                           Address3        Address4         City               State Zip
SUGGS, PATRICIA A       630 CLEVELAND AVE                                                                                      LINDEN              NJ 07036‐2508
SUGGS, PAUL R           17279 SAN CARLOS BLVD # BOX 251                                                                        FT MYERS BCH        FL 33931‐5357
SUGGS, PEGGY L          1338 FLAT ROCK RD                                                                                      STOCKBRIDGE         GA 30281‐2722
SUGGS, PERRY L          235 WASHINGTON ST                                                                                      RAHWAY              NJ 07065‐5136
SUGGS, RAYMOND E        24174 CHARLEVOIX ST                                                                                    FLAT ROCK           MI 48134‐8048
SUGGS, RICHARD C        600 S 14TH ST                                                                                          TERRE HAUTE         IN 47807‐4527
SUGGS, ROBERT L         304 MICHAEL DR                                                                                         W ALEXANDRIA        OH 45381‐1175
SUGGS, ROBERT L         304 MICHAEL AVE                                                                                        W ALEXANDRIA        OH 45381‐1175
SUGGS, ROGER L          303 LAMON DR                                                                                           DECATUR             AL 35603‐3739
SUGGS, RUDOLPH M        46 9TH AVE W                                                                                           NEWARK              NJ 07107‐1510
SUGGS, SALLIE J         2018 MCAVOY ST                                                                                         FLINT               MI 48503‐4248
SUGGS, SHARON L         3822 EVERGREEN PKWY                                                                                    FLINT               MI 48503
SUGGS, THELMA J         3822 EVERGREEN PKWY                                                                                    FLINT               MI 48503‐4563
SUGGS, VERA             35 FARLEY AVE                                                                                          NEWARK              NJ 07108‐1508
SUGGS, WILLIAM C        RR 2                                                                                                   W ALEXANDRIA        OH 45381
SUGGS, WILLIE J         2018 MCAVOY ST                                                                                         FLINT               MI 48503‐4248
SUGGS, WILSONIA         10 N CALVERT ST STE 620            C/O A. DRAGER,LLC EQUITABLE BLDG                                    BALTIMORE           MD 21202‐1881

SUGHAYAR, NAIM M        8009 CAMBRIDGE DR                                                                                      ORLAND PARK         IL   60462‐2386
SUGIMOTO, NANCY M       3843 NORTHDALE RD                                                                                      BLOOMFIELD HILLS   MI    48304‐3131
SUGINOSHITA, TAKAHIKO   2871 TROY CENTER DR APT 5002                                                                           TROY               MI    48084‐4710
SUGITA, YASUKO          3418 WESTERN SPRINGS RD                                                                                ENCINITAS          CA    92024‐5710
SUGIYAMA, YOSHIKO       17368 CAMERON DR                                                                                       NORTHVILLE         MI    48168‐3212
SUGO LOUIS              SUGO, LOUIS                        STATE FARM                         PO BOX 339408                    GREELEY            CO    80633
SUGO, LOUIS             STATE FARM                         PO BOX 339408                                                       GREELEY            CO    80633‐9408
SUGO, LOUIS             8058 S PENNSYLVANIA CT                                                                                 LITTLETON          CO    80122‐2854
SUGRUE, DOROTHY S       80 FRENCH RD                                                                                           ROCHESTER          NY    14618‐3840
SUGRUE, DOROTHY S       80 FRENCH ROAD                                                                                         ROCHESTER          NY    14618‐3840
SUGRUE, JOHN E          1704 HOCKLEY DR                                                                                        HINGHAM            MA    02043‐1546
SUGRUE, PATRICK H       121 JASPER DR                                                                                          CROSSVILLE         TN    38558‐8665
SUGRUE, THOMAS J        8294 OCQUEOC LN                                                                                        OCQUEOC            MI    49759‐9344
SUGUNA KOWSIKA          5874 COLLEEN DR                                                                                        TROY               MI    48085‐3985
SUH BRIAN               STATE FARM MUTUAL AUTOMOBILE       211 S WHEATON AVE STE 200                                           WHEATON             IL   60187‐5251
                        INSURANCE COMPANY
SUH BRIAN               SUH, BRIAN                         211 S WHEATON AVE STE 200                                           WHEATON            IL    60187‐5251
SUH BRIAN               SUH, KHANTHALY                     211 S WHEATON AVE STE 200                                           WHEATON            IL    60187‐5251
SUH JOHN W              4206 SUZANNE DR                                                                                        PALO ALTO          CA    94306‐4335
SUH JUNG SOO            APT 3                              1807 12TH AVE UNIT C                                                CORALVILLE         IA    52241‐1399
SUH JUNWOO              3645 GREEN BRIER BLVD APT 135B                                                                         ANN ARBOR          MI    48105
SUH, BRIAN              MULHERIN REHFELDT & VARCHETTO PC   211 S WHEATON AVE STE 200                                           WHEATON            IL    60187‐5251
SUH, BRYAN
SUH, JOHN W             4206 SUZANNE DR                                                                                        PALO ALTO          CA    94306‐4335
SUH, JUHO               4515 WORTSER AVE                                                                                       STUDIO CITY        CA    91604‐1016
SUH, KHANTHALY          MULHERIN REHFELDT & VARCHETTO PC   211 S WHEATON AVE STE 200                                           WHEATON            IL    60187‐5251
SUH, YUNG JI            100 BLUFF VIEW DR APT 305C                                                                             BELLEAIR BLUFFS    FL    33770‐1382
SUHA NAMAN              6518 WAILEA DR                                                                                         GRAND BLANC        MI    48439‐8583
SUHAJDA, ATTILA         3695 SOCO RD                                                                                           MAGGIE VALLEY      NC    28751‐6729
SUHAJDA, GERALD R       30122 COUSINO DR                                                                                       WARREN             MI    48092‐1972
SUHAJDA, JAMES S        2451 JUDY LN                                                                                           SHELBY TWP         MI    48316‐2743
SUHAR, ORA M            6815 LORIEN WOODS DR                                                                                   DAYTON             OH    45459‐2872
SUHAR, STEVE            18629 NORHT 28TH WAY                                                                                   PHOENIX            AZ    85050
SUHAS TONAPI            48233 LAMPLIGHTER TRL                                                                                  MACOMB             MI    48044‐1432
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Name                               Address1                            Address2             Address3    Address4         City              State Zip
SUHAY, THERESA M                   4044 SAM SNEAD DR                                                                     FLINT              MI 48506‐1426
SUHAYDA, JACALYN                   6750 121ST AVE #4                                                                     LARGO              FL 33773‐3574
SUHEB HAQ                          PO BOX 9022                                                                           WARREN             MI 48090‐9022
SUHERMAN
SUHIR EPHRAIM PHD                  727 ALVINA CT                                                                         LOS ALTOS         CA    94024‐5410
SUHL SIDNEY (ESTATE OF) (479325)   BELLUCK & FOX LLP                   545 5TH AVE # 4                                   NEW YORK          NY    10035‐5000
SUHL, SIDNEY                       BELLUCK & FOX LLP                   546 5TH AVE #4                                    NEW YORK          NY    10036‐5000
SUHOR INDUSTRIES                   10965 GRANADA LANE                                                                    OVERLAND PARK     KS    66211
SUHR, ANNA MARIE                   132 KAYMAR DRIVE                                                                      ROCHESTER         NY    14616‐1236
SUHR, ANNA MARIE                   132 KAYMAR DR                                                                         ROCHESTER         NY    14616‐1236
SUHR, FLOY                         220 S. WELLS                                                                          ODESSA            MO    64076‐1707
SUHR, FREDERICK J                  132 KAYMAR DR                                                                         ROCHESTER         NY    14616‐1236
SUHR, GEORGE E                     13466 W BARRE RD                                                                      ALBION            NY    14411‐9406
SUHR, GEORGE E                     13466 WEST BARRE RD                                                                   ALBION            NY    14411‐9406
SUHR, HAROLD W                     1529 N. LYN. RD.                                                                      LYNDONVILLE       NY    14098
SUHR, HERMAN K                     RR 1                                                                                  CONCORDIA         MO    64020
SUHR, JAMES R                      6631 CEDAR CREST TRL                                                                  CENTERVILLE       OH    45459‐1351
SUHR, JOHN C                       1116 WALKER LAKE ONTARIO RD                                                           HILTON            NY    14468‐9171
SUHR, JOHN H                       13378 ROOSEVELT HWY                                                                   WATERPORT         NY    14571‐9713
SUHR, JULIANNE B                   3757 LYELL RD                                                                         ROCHESTER         NY    14606‐4407
SUHR, PAUL D                       68 WILLHURST DR                                                                       ROCHESTER         NY    14606‐3249
SUHR, PAUL L                       PO BOX 152                                                                            WEST HENRIETTA    NY    14586‐0152
SUHR, RICHARD R                    5371 MANCELONA DR                                                                     GRAND BLANC       MI    48439‐9153
SUHR, RICHARD RAYMOND              5371 MANCELONA DR                                                                     GRAND BLANC       MI    48439‐9153
SUHR, ROBERT R                     6040 DEWHIRST                                                                         SAGINAW           MI    48603‐4304
SUHR, ROBERT R                     6040 DEWHIRST DR                                                                      SAGINAW           MI    48638‐4304
SUHR, RODGER W                     10407 N BALTIMORE AVE                                                                 KANSAS CITY       MO    64155‐1709
SUHR, WILLIAM J                    2110 GRASS LAKE AVE                                                                   LAKE              MI    48632‐8963
SUHRE, ASHLEY
SUHRE, DANIEL SCOTT                BRAUD & GALLAGHER                   506 WATER ST STE A                                MADISONVILLE       LA   70447‐9678
SUHRE, KAREN ORECHIVA
SUHRE, LARRY E                     6918 E 500 N                                                                          MICHIGANTOWN       IN   46057
SUHRE, SCOTT
SUHRER, KURT W                     13746 WINNER CIRCLE                                                                   TYLER             TX    75703‐7264
SUHRER, PAMELA                     509 JOHNSON ST                                                                        OAK HILL          WV    25901‐3217
SUHRHEINRICH, ELIZABETH A          1917 RIMSDALE DRIVE                                                                   MYRTLE BEACH      SC    29575‐5868
SUHRHEINRICH, WILLIAM R            22330 BON HEUR ST                                                                     ST CLAIR SHRS     MI    48081‐2469
SUHY JR, PATRICK J                 379 BUTTERCUP DR                                                                      ROCHESTER HILLS   MI    48307‐5210
SUHY SR, RICHARD CARL              19425B SOLEDAD CANYON RD.           #215                                              CANYON COUNTRY    CA    91351
SUHY, JOSEPH A                     804 GREENMOUNT BLVD                                                                   DAYTON            OH    45419‐2840
SUHY, JUDITH L                     2353 HAYSON AVE                                                                       PITTSBURGH        PA    15220‐3907
SUHY, NATALIE G                    44 BELLEVIEW ST                                                                       MOUNT CLEMENS     MI    48043‐2241
SUHY, NATALIE GONZALEZ             44 BELLEVIEW ST                                                                       MOUNT CLEMENS     MI    48043‐2241
SUHY, PATRICK J                    32821 BEECHWOOD DR                                                                    WARREN            MI    48088‐1559
SUHY, ROBERT A                     2958 CANFIELD RD                    C/O CAMELOT ARMS                                  YOUNGSTOWN        OH    44511‐2805
SUICA, SAMUEL                      12560 M 33                                                                            ATLANTA           MI    49709
SUIDA, RICHARD C                   11021 IRENE AVE                                                                       WARREN            MI    48093‐2511
SUIMMIT I PARTNERS LTD             C/O CORPORATE REALTY SERVICES INC   4350 BROWNSBORO RD   STE 310                      LOUISVILLE        KY    40207
SUING, JOSEPH B                    1681 GOLDENROD                                                                        SAGINAW           MI    48609‐8829
SUIRE, KATHLEEN                    107 DARBONNE RD                                                                       LAFAYETTE         LA    70508‐5301
SUIRE, LUCILLE                     7279 HWY 92                                                                           MAURICE           LA    70555
SUISSE, MICHAEL D                  6428 CLOVERTON DR                                                                     WATERFORD         MI    48329‐1313
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Name                            Address1                        Address2                          Address3   Address4         City                State Zip
SUIT, EMMA L                    1454 TREYBORNE CIR                                                                            COMMERCE TWP         MI 48390‐2829
SUIT, KAREN A                   7454 FISH LAKE RD                                                                             HOLLY                MI 48442‐9149
SUITA, LINDA                    5850 MAHONING AVE NW                                                                          WARREN               OH 44483‐1142
SUITER, CARL D                  5700 ARROWROOT TRL              LAKE ARROWHEAD #F7                                            GAYLORD              MI 49735‐9649
SUITER, CATHARINE H             2523 OREGON TRLS                                                                              JANESVILLE           WI 53546
SUITER, DUANE A                 RT #1                           BOX 140B                                                      DE SOTO              WI 54624
SUITER, FREDERICK E             PO BOX 395                                                                                    SALINE               MI 48176‐0395
SUITER, GARY B                  17405 W CHURCH RD                                                                             BRODHEAD             WI 53520‐9207
SUITER, GLORIA M                1425 W BURBANK AVE                                                                            JANESVILLE           WI 53546‐6110
SUITER, GLORIA M                1425 BURBANK AVE                                                                              JANESVILLE           WI 53546‐6110
SUITER, JACK L                  40 LONGFELLOW LN                                                                              GREENFIELD           IN 46140‐3154
SUITER, JERRY L                 6160 KNYGHTON RD                                                                              INDIANAPOLIS         IN 46220‐4900
SUITER, JIMMY J                 9223 JACKSON ST                                                                               INDIANAPOLIS         IN 46231‐1155
SUITER, JOAN L                  13 SILVER DR                                                                                  BURLINGTON           CT 06013‐2516
SUITER, JOAN L                  13 SILVER DR                    RFD #2                                                        BURLINGTON           CT 06013‐2516
SUITER, PATRICIA A              5409 SUNSET AVE.                                                                              PANAMA CITY BEACH    FL 32408‐6630
SUITER, STEPHEN R               19 WEER CIR                                                                                   WILMINGTON           DE 19808‐5700
SUITER, ULRIC J                 3319 LANSING DR                                                                               SAINT ANN            MO 63074‐3428
SUITER‐SARJENT, BESSIE M        618 ENGLEWOOD ESTATES                                                                         CRAWFORDSVILLE       IN 47933
SUITER‐SARJENT, BESSIE M        618 N ENGLEWOOD DR                                                                            CRAWFORDSVILLE       IN 47933‐1501
SUITERS, LEROY J                425 STAILEY RD                                                                                BYRDSTOWN            TN 38549‐4030
SUITERS, RAYMOND L              315 BEGONIA LN 323                                                                            DAVENPORT            FL 33837
SUITERS, WANDA L                5154 SKYLANE DR.                                                                              DAYTON               OH 45414‐3697
SUITES & SECRETARIAL SERV INC   LEE VISTA CENTER                5955 TG LEE BLVD STE 150                                      ORLANDO              FL 32822
SUITES BY SINGH                 7125 ORCHARD LAKE RD STE 200                                                                  WEST BLOOMFIELD      MI 48322‐5306
SUITOR, JACK M                  6240 WEISS ST                                                                                 SAGINAW              MI 48603‐2754
SUITOR, JOHN R                  7229 CHAIN LAKE DR                                                                            SOUTH BRANCH         MI 48761‐9607
SUITOR, KENT H                  6017 PERRINE RD                                                                               MIDLAND              MI 48640‐2151
SUITOR, RONALD J                185 ELAINE ST                                                                                 SAGINAW              MI 48609
SUITS, EUGENIE A                2301 BLUE MOUNTAIN AVE                                                                        BERTHOUD             CO 80513‐7923
SUITS, JAMES W                  48 CARLTON DR                                                                                 HAMILTON             OH 45015‐2179
SUITS, JEROME W                 273 AUDREY LN                                                                                 INWOOD               WV 25428‐3641
SUITS, PATRICIA A               7606 FLICKINGER DR                                                                            SHELBY TOWNSHIP      MI 48317‐2336
SUITS, PHILIP T                 2333 S 59TH AVE                                                                               CICERO                IL 60804‐2619
SUITT, SAMUEL D                 302 KELLY CT                                                                                  DUNCANVILLE          TX 75137‐2414
SUJAK, GEORGE                   3741 RENAS RD                                                                                 GLADWIN              MI 48624‐8959
SUJAK, MARGUERITE               3475 VICTORIA STATION DR                                                                      DAVISON              MI 48423
SUJAK, RONALD S                 10369 SHERIDAN RD                                                                             MONTROSE             MI 48457‐9002
SUJAK, RUTH                     3741 RENAS RD                                                                                 GLADWIN              MI 48624‐8959
SUJAL JANI                      810 DAKOTA                                                                                    ROCHESTER HILLS      MI 48307‐2877
SUJATA BOLIO                    5645 GOLF POINTE DR                                                                           CLARKSTON            MI 48348‐5148
SUJDAK, YOLANDA M               245 WILDWOOD DR LOT 214                                                                       ST AUGUSTINE         FL 32086‐5538
SUJKOWSKI, DAVID P              404 S FARRAGUT ST                                                                             BAY CITY             MI 48708‐7357
SUJKOWSKI, GERALD J             306 OLD HARRISON TRL                                                                          MC DONALD            TN 37353‐5097
SUJKOWSKI, LEONA M              1806 34TH ST                                                                                  BAY CITY             MI 48708‐8150
SUJKOWSKI, MARCEL J             1806 34TH ST                                                                                  BAY CITY             MI 48708‐8150
SUJKOWSKI, THOMAS C             4793 BERRYWOOD DR W                                                                           SAGINAW              MI 48603‐1080
SUJOY
SUK BURMAN                      PO BOX 20142                                                                                  JONESBORO           AR 72402‐0142
SUK C TRIVETTE                  9034 OAKRIDGE DR                                                                              TEMPERANCE          MI 48182‐9337
SUK LAWRENCE (635422)           COONEY & CONWAY                 120 NORTH LASALLE STREET , 30TH                               CHICAGO             IL 60602
                                                                FLOOR
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Name                       Address1                             Address2                         Address3   Address4         City                 State Zip
SUK SHIN                   6750 GABELS CREST WAY                                                                             FONTANA               CA 92336‐5513
SUK SHON                   1037 SAINT GEORGES WAY                                                                            FRANKLIN              TN 37064‐6719
SUK TRIVETTE               9034 OAKRIDGE DR                                                                                  TEMPERANCE            MI 48182‐9337
SUK, LAWRENCE              COONEY & CONWAY                      120 NORTH LASALLE STREET, 30TH                               CHICAGO                IL 60602
                                                                FLOOR
SUKACH JR, WILLIAM         1027 GALLERY RD                                                                                   WILMINGTON           DE 19805‐1030
SUKACH, EVA M              1027 GALLERY RD                                                                                   WILMINGTON           DE 19805‐1030
SUKACKAS, JOSEPH L         EVANS DOVE & NELSON, PLC DOUGLAS N   THE TURLEY HOUSE, 2650 EAST                                  MESA                 AZ 85204
                           NELSON                               SOUTHERNA AVE.
SUKANY, FRANK              PO BOX 267                                                                                        WATERS               MI   49797‐0267
SUKANY, PAMELA K           PO BOX 267                                                                                        WATERS               MI   49797‐0267
SUKE, ALLAYNE              #1                                   87 LEACH STREET                                              SALEM                MA   01970‐5559
SUKENDRO, TJANDRA          1652 CHAPLEAU DR                                                                                  ANN ARBOR            MI   48103‐8880
SUKES, GEORGE E            57716 8 MILE RD                                                                                   NORTHVILLE           MI   48167‐9155
SUKHBIR SIDHU              2532 OAK TRAIL DR                                                                                 STERLING HEIGHTS     MI   48314‐2719
SUKHDEV SEKHON             25380 KELLI CT                                                                                    TAYLOR               MI   48180‐5071
SUKHENKO, WALDEMAR         529 VINTAGE LN                                                                                    ROCHESTER            NY   14615‐1029
SUKHJIT BASSI              2451 HORNBEAM DR                                                                                  STERLING HEIGHTS     MI   48314‐1897
SUKIRA T ANDERSON          2001 LITCHFIELD AVE                                                                               DAYTON               OH   45406
SUKKAR, BETTY J            14255 PERNELL DR                                                                                  STERLING HEIGHTS     MI   48313‐5452
SUKKAR, GEORGE V           46144 HOUGHTON                                                                                    SHELBY TWP           MI   48315‐5324
SUKKAR, GEORGE V           14155 HIBISCUS DRIVE                                                                              SHELBY TWP           MI   48315‐1426
SUKKAR, VICTOR J           22825 RAYMOND ST                                                                                  SAINT CLAIR SHORES   MI   48082‐1759
SUKLA, JOHN M              KIMMEL & SILVERMAN                   30 E BUTLER AVE                                              AMBLER               PA   19002‐4514
SUKMAN STEPHEN             APT 3                                3 WORCESTER SQUARE                                           BOSTON               MA   02118‐2900
SUKO, ARNNIE F             3774 69TH AVE SE                                                                                  JAMESTOWN            ND   58401‐9038
SUKOTSKY, RONALD J         6095 ANSLEY WAY                                                                                   SUWANEE              GA   30024‐3409
SUKOVIC, DRAGOLJUB         12001 S TRIPP AVE                                                                                 ALSIP                IL   60803‐2310
SUKRU FIDAN                15549 HUBBARD ST                                                                                  LIVONIA              MI   48154‐3149
SUKSI, YVONNE              1751 N BARLOW RD APT 41                                                                           LINCOLN              MI   48742
SUKUP, MARSHA L            2458 S VASSAR RD                                                                                  BURTON               MI   48519‐1350
SUKUP, THOMAS A            5450 KATHY DR                                                                                     FLINT                MI   48506‐1550
SUKUP, THOMAS ARTHUR       5450 KATHY DR                                                                                     FLINT                MI   48506‐1550
SUL, JUNG S                9 WILLOWMERE DR                                                                                   SOUTH BARRINGTON     IL   60010‐6151
SULA, DANIEL J             PO BOX 9022                                                                                       WARREN               MI   48090‐9022
SULA, LAVERN I             21843 HAMPTON ST                                                                                  BEVERLY HILLS        MI   48025‐3662
SULAICA, JOHN              248 W COLUMBIA AVE                                                                                PONTIAC              MI   48340‐1814
SULAICA, JOSE' D           145 N NEWMAN RD                                                                                   LAKE ORION           MI   48362‐1121
SULAICA, JUAN P            5227 FOREST VALLEY DR                                                                             CLARKSTON            MI   48348‐3751
SULAICA, PAUL M            1470 PAUL BLVD                                                                                    ORION                MI   48362‐3741
SULAICA, PAUL MICHAEL      190 W COLUMBIA AVE                                                                                PONTIAC              MI   48340‐1812
SULAIMAN, RAMY N           3245 ESTATE VIEW CT                                                                               COMMERCE TWP         MI   48382‐5139
SULAK, ALOIS L             2504 MONTERREY ST                                                                                 ARLINGTON            TX   76015‐1318
SULAK, BERNARD S           8 S OAK ST                                                                                        FAIRCHANCE           PA   15436‐1017
SULAK, EDWARD T            2057 SEQUOIA CT                                                                                   TROY                 MI   48085‐3580
SULANE SCIABICA            PO BOX 39526                                                                                      N RIDGEVILLE         OH   44039‐0526
SULANOWSKI, DIANA          78 GLENSIDE WAY                                                                                   ROCHESTER            NY   14612‐2724
SULANOWSKI, ELIZABETH D    PO BOX 193                                                                                        DEFORD               MI   48729‐0193
SULAR KNIGHT               8228 S GREEN ST                                                                                   CHICAGO              IL   60620‐3145
SULAR M KNIGHT             8228 S GREEN ST                                                                                   CHICAGO              IL   60620‐3145
SULARZ PHILIP W (421247)   SIEBEN POLK LAVERDIERE & DUSICH      999 WESTVIEW DR                                              HASTINGS             MN   55033‐2432
SULARZ, PHILIP             SIEBEN POLK LAVERDIERE & DUSICH      999 WESTVIEW DR                                              HASTINGS             MN   55033‐2432
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Name                                   Address1                           Address2                  Address3   Address4             City              State Zip
SULASKI, ROBERT L                      4654 MELEANA CT SW                                                                           WYOMING            MI 49519‐4845
SULBORSKI CHRISTINE                    APT K11                            248 AMHERST ROAD                                          SUNDERLAND         MA 01375‐9337
SULC, BRIAN H                          3509 WELLSPRING DR                                                                           BEE CAVE           TX 78738‐5030
SULC, MARIA                            7676 ASTER DR                                                                                MENTOR             OH 44060‐8412
SULCER, BUD                            PO BOX 217                                                                                   TANNER             AL 35671‐0217
SULCER, TIMOTHY B                      2802 BRISTOL DR SW                                                                           DECATUR            AL 35603‐1190
SULCS, PATTY A                         3109 E T AVE                                                                                 PORTAGE            MI 49002‐7573
SULE, IRENE E                          5859 TITTABAWASEE                                                                            SAGINAW            MI 48604‐9454
SULE, SHARON A                         1585 S GARNER RD                                                                             MILFORD            MI 48380‐4125
SULECKI, MICHELLE L                    7099 BLUE SPRINGS ST                                                                         GIBSONVILLE        NC 27249‐8779
SULECKI, THEODORE L                    3 SARATOGA DR                                                                                WILMINGTON         DE 19808‐4302
SULEIMAN                               23500 PARK ST STE 3                                                                          DEARBORN           MI 48124‐2598
SULEIMAN TANNOUS & SONS LTD            102                                                                     AMMAN JORDAN
SULEIMAN, D.O., P.C.                   23500 PARK ST STE 3                                                                          DEARBORN          MI 48124‐2598
SULEIMAN, HUSEIN S                     5131 KENILWORTH ST                                                                           DEARBORN          MI 48126‐3161
SULEK RUDOLPH E (ESTATE OF) (512088)   COON & ASSOCS BRENT                917 FRANKLIN ST STE 210                                   HOUSTON           TX 77002‐1751

SULEK, ANN F                           7480 S GRAHAM RD                                                                             SAINT CHARLES     MI   48655‐9532
SULEK, CHRISTOPHER J                   1840 EMORY ST                                                                                SAN JOSE          CA   95126‐1912
SULEK, EDELTRAUD D                     266 ASHLAND DR                                                                               HERMITAGE         PA   16148‐1160
SULEK, EDELTRAUD D                     266 ASHLAND DR.                                                                              HERMITAGE         PA   16148‐1160
SULEK, HELEN S                         2950 WEST PARK DR #577                                                                       CINCINNATI        OH   45238‐3555
SULEK, HELEN S                         2950 W PARK DR APT 577                                                                       CINCINNATI        OH   45238‐3555
SULEK, LAWRENCE                        735 SHEPARD ST                                                                               INDIANAPOLIS      IN   46221‐1155
SULEK, ROBERT A                        266 ASHLAND DR                                                                               HERMITAGE         PA   16148‐1160
SULEK, RUDOLPH E                       COON & ASSOCS BRENT                917 FRANKLIN ST STE 210                                   HOUSTON           TX   77002‐1751
SULEMA HAMMERSMITH                     15113 COUNTY ROAD 1510                                                                       ODEM              TX   78370‐4262
SULEN, LEON A                          3125 ALLEN RD                                                                                HALE              MI   48739‐9303
SULENSKI, GARY D                       632 S WINDING DR                                                                             WATERFORD         MI   48328‐4160
SULENSKI, JOHN                         17C ROBIN ST                                                                                 MANCHESTER        NJ   08759
SULENSKI, MARY                         735 KINGSTON AVE                                                                             KENILWORTH        NJ   07033‐1705
SULENSKI, MICHAEL J                    8726 YOUNGSTOWN SALEM RD                                                                     CANFIELD          OH   44406‐9481
SULESKI, LAVINA B                      637 OSWEGATCHIE TRAIL RD                                                                     OSWEGATCHIE       NY   13670‐3100
SULESKI, LAVINA B                      5663HOPKINS RD                                                                               MENTOR            OH   44060‐2059
SULESKY, WILLIAM A                     PO BOX 427                                                                                   PUT IN BAY        OH   43456‐0427
SULEWSKI, JUDY ANN                     1878 THETA PIKE                                                                              COLUMBIA          TN   38401‐1309
SULEWSKI, KATHLEEN                     15961 INDIAN                                                                                 REDFORD           MI   48239‐3938
SULEWSKI, LEONARD J                    2475 W RAUCH RD                                                                              TEMPERANCE        MI   48182‐9665
SULEWSKI, MICHAEL A                    11280 DOUGLAS RD                                                                             TEMPERANCE        MI   48182‐9770
SULEWSKI, MICHAEL ALAN                 11280 DOUGLAS RD                                                                             TEMPERANCE        MI   48182‐9770
SULEWSKI, ROBERT Z                     1878 THETA PIKE                                                                              COLUMBIA          TN   38401‐1309
SULEWSKI, STANLEY J                    1969 PONDVIEW CT                                                                             ROCHESTER HILLS   MI   48309‐3304
SULEWSKI, STANLEY J                    130 CASCADE SPRING RD                                                                        HOHENWALD         TN   38462‐2016
SULEY, JOHN F                          519 LELAND ST                                                                                FLUSHING          MI   48433‐3302
SULFARO, EMANUEL J                     5869 W TEMPERANCE RD                                                                         OTTAWA LAKE       MI   49267‐8719
SULFARO, EMANUEL JOSEPH                5869 W TEMPERANCE RD                                                                         OTTAWA LAKE       MI   49267‐8719
SULFLOW, CLEO K                        34821 VALLEYVIEW DR                                                                          STERLING HTS      MI   48312
SULFLOW, GERALD F                      32535 BIRKSHIRE ST                                                                           ST CLR SHORES     MI   48082‐2023
SULFRIDGE JR, TOMMY R                  520 W JACKSON ST                                                                             PAULDING          OH   45879‐1350
SULFRIDGE, MICHAEL J                   1910 W BARCELONA DR                                                                          MUNCIE            IN   47304‐1431
SULFRIDGE, TOMMY R                     314 E PERRY ST                                                                               PAULDING          OH   45879‐1415
SULHAN, DAVID G                        14420 BALLANTYNE LAKE RD APT 315                                                             CHARLOTTE         NC   28277‐3335
                          09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                      Address1                        Address2                         Address3   Address4             City               State Zip
SULHAN, THOMAS J          16479 FARLEY RD                                                                                  MIDDLEFIELD         OH 44062‐8290
SULHDOST LISA             OTTO‐BRAUNSTR 19                                                            40595 DUSSELDORF
                                                                                                      GERMANY
SULIC MARTIN              31463 MOUND RD APT C                                                                             WARREN             MI    48092
SULICK JR, EDWARD M       211 NORTHVIEW RD                                                                                 CANFIELD           OH    44406‐1159
SULICK, DANIELLE S        115 EMERALD LN                                                                                   CORTLAND           OH    44410‐1383
SULICK, DENNIS M          7068 HAYES ORANGEVILLE RD NE                                                                     BURGHILL           OH    44404‐9736
SULICK, DENNIS M          1589 DUFFUS RD NE                                                                                WARREN             OH    44484‐1104
SULICK, SUSAN A           1143 SULGRAVE DR                                                                                 BROOKFIELD         OH    44403‐9550
SULIK ARTHUR A (479723)   WEITZ & LUXENBERG               180 MAIDEN LANE                                                  NEW YORK           NY    10038
SULIK, ALICE A            363 PAGELS CT                                                                                    GRAND BLANC        MI    48439‐2424
SULIK, ARTHUR A           WEITZ & LUXENBERG               180 MAIDEN LANE                                                  NEW YORK           NY    10038
SULIK, ELIZABETH A        6042 RAVENSWOOD DR                                                                               SHELBY TWP         MI    48316‐3336
SULIK, HENRIETTA E        25 FAIRMONT AVE                                                                                  MERIDEN            CT    06451‐5320
SULIK, JEFFREY R          48729 TANGLEWOOD DR                                                                              MACOMB             MI    48044‐2315
SULIK, JOHN A             2118 LOGAN DR                                                                                    STERLING HTS       MI    48310‐2853
SULIKOWSKI, JIM A         35700 HUNTER AVE APT 122                                                                         WESTLAND           MI    48185‐6666
SULIMOWICZ, BRUNO G       2774 E SHELBY RD                                                                                 OAKFIELD           NY    14125‐9769
SULIMOWICZ, SARAH         3113 DARNEA LN                                                                                   ELLENTON           FL    34222‐3551
SULIMOWICZ, SARAH         3113 DARNEA                                                                                      ELLENTON           FL    34222‐3551
SULIN, ROSE               2610 RUSSELL AVENUE                                                                              PARMA              OH    44134‐1417
SULISH, WANDA L           THE PINES AT BRISTOL            61 BELLVIEW AVE.                                                 BRISTOL            CT    06010
SULISZ, CHERYL A          19780 SMOCK                                                                                      NORTHVILLE         MI    48167‐2634
SULISZ, JOHN C            539 PINE TREE RD                                                                                 LAKE ORION         MI    48362‐2548
SULITZER, PHILIP          13186 ARAPAHO RD                                                                                 ETIWANDA           CA    91739‐1712
SULJAK, MARY              17933 157TH ST                                                                                   BONNER SPRINGS     KS    66012‐7386
SULJIC, MARK D            525 N CABOT CT                                                                                   BLOOMINGTON        IN    47408‐3083
SULKA, GARY E             427 CALICO AVE                                                                                   PORTAGE            MI    49002‐7009
SULKEY, DONALD D          5320 CORNELL ST                                                                                  DEARBORN HTS       MI    48125‐2144
SULKEY, EVA J             709 HILLCREST CT                                                                                 KOKOMO             IN    46901‐3422
SULKEY, GREGORY A         19210 HAGGERTY RD                                                                                BELLEVILLE         MI    48111‐8747
SULKEY, ROBERT V          5335 SYRACUSE ST                                                                                 DEARBORN HTS       MI    48125‐2140
SULKEY, STEVEN H          36 EMS C 24G LANE                                                                                WARSAW             IN    46582
SULKEY, STEVEN HAROLD     36 EMS C 24G LANE                                                                                WARSAW             IN    46582
SULKOSKE, DAVID S         586 WOOTEN DRIVE                                                                                 CANTON             GA    30114‐7027
SULKOSKE, RICHARD A       6056 NORTH COUNTY 550 E                                                                          PITTSBORO          IN    46167
SULKOSKI KENNETH          SULKOSKI, KENNETH               120 WEST MADISON STREET , 10TH                                   CHICAGO            IL    60602
                                                          FLOOR
SULKOSKI KENNETH          SULKOSKI, VIVIENNE              120 WEST MADISON STREET , 10TH                                   CHICAGO             IL   60602
                                                          FLOOR
SULKOSKI, KENNETH         KROHN & MOSS ‐ FL               120 WEST MADISON STREET, 10TH                                    CHICAGO             IL   44114
                                                          FLOOR
SULKOSKI, VIVIENNE        KROHN & MOSS ‐ FL               120 WEST MADISON STREET, 10TH                                    CHICAGO             IL   44114
                                                          FLOOR
SULKOWSKI TIM             3504 SMITH ST                                                                                    DEARBORN           MI    48124‐4282
SULKOWSKI, BARBARA A      37158 HIGHLITE DR                                                                                STERLING HTS       MI    48310‐3941
SULKOWSKI, ELIZABETH      37158 HIGHLITE DRIVE                                                                             STERLING HEIGHTS   MI    48310
SULKOWSKI, HENRY L        13348 NORMAN CIR                                                                                 HUDSON             FL    34669‐2451
SULKOWSKI, JULIA          42105 HIDDEN BROOK DR                                                                            CLINTON TOWNSHIP   MI    48038‐2161
SULKOWSKI, KENNETH C      29725 MOULIN AVE                                                                                 WARREN             MI    48088‐3636
SULKOWSKI, LEE R          1823 RIDGE RD                                                                                    YPSILANTI          MI    48198‐3395
SULKOWSKI, THOMAS J       6424 S RIM CIR                                                                                   VALLEY CITY        OH    44280‐9436
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Name                                  Address1                                Address2                        Address3                 Address4         City              State Zip
SULKOWSKI, TIMOTHY J                  3504 SMITH ST                                                                                                     DEARBORN           MI 48124‐4282
SULLARD, PEGGY J                      1109 FAIRWAY DR                                                                                                   RICHMOND           MO 64085‐2303
SULLARD, PEGGY J                      1109 FAIRWAY DRIVE                      APARTMENT 6                                                               RICHMOND           MO 64085
SULLEN JR, MIMS                       16707 WOODINGHAM DR                                                                                               DETROIT            MI 48221‐2981
SULLEN, JAMES                         5226 BROADMOOR PLZ                                                                                                INDIANAPOLIS       IN 46228‐2021
SULLEN, WILBERT                       30 DELTA CT                                                                                                       NORTH BRUNSWICK    NJ 08902
SULLENBERGER, BRITNEY                 930 GARFIELD AVE                                                                                                  LANSING            MI 48917‐9248
SULLENBERGER, CARROLL A               750 CHESTNUT STREET ROOM #288                                                                                     GREENVILLE         OH 45331
SULLENDER, ROBERT E                   208 4TH ST                                                                                                        RISING SUN         IN 47040‐1105
SULLENDER, ROBERT N                   124 E 36TH ST                                                                                                     ANDERSON           IN 46013‐4628
SULLENGER JOELLEN                     5021 CEDARDALE LN                                                                                                 FLUSHING           MI 48433‐1015
SULLENGER, ANDREA C                   PO BOX 295                                                                                                        INTERLOCHEN        MI 49643‐0295
SULLENGER, ANN L                      5707 45TH ST E                          LOT 139                                                                   BRADENTON          FL 34203‐5535
SULLENGER, ANN L                      5707 45TH ST E APT 139                                                                                            BRADENTON          FL 34203
SULLENGER, DICK L                     4250 E 108TH ST                                                                                                   GRANT              MI 49327‐9409
SULLENGER, JAMES R                    7194 BREWER RD                                                                                                    FLINT              MI 48507‐4674
SULLENGER, JAMES W                    721 WESTCOMBE AVE                                                                                                 FLINT              MI 48503
SULLENGER, JAMES W                    C/O DARLENE VINTON                      202 MONKS WAY                                                             FRANKLIN           TN 37064
SULLENGER, ROBERT A                   PO BOX 295                                                                                                        INTERLOCHEN        MI 49643‐0295
SULLENS SIENNA                        41235 S WOODBURY DR                                                                                               BELLEVILLE         MI 48111
SULLENS, JAMES R                      4929 ELIZABETH WAY NW                                                                                             LILBURN            GA 30047‐5017
SULLENS, SIEANNA M                    41235 WOODBURY                                                                                                    BELLEVILLE         MI 48111
SULLENS, SIEANNA MARY                 41235 WOODBURY                                                                                                    BELLEVILLE         MI 48111
SULLER, ROBERT G                      1319 WILSON POINT RD BOX 552                                                                                      CAPE VINCENT       NY 13618
SULLINGER, DALE G                     112 WETHERBY CT                                                                                                   WARNER ROBINS      GA 31093‐9543
SULLINGER, JEAN W                     6030 BEACH SMITH RD.                                                                                              KINSMAN            OH 44428‐9749
SULLINGER, PAULINE V                  PO BOX 14                                                                                                         GENESEE            PA 16923‐0014
SULLINGIM SUSAN                       PO BOX 223                                                                                                        FLORENCE           TX 76527‐0223
SULLINS ALBERT (ESTATE OF) (492692)   BEVAN & ASSOCIATES                      10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD         OH 44067
                                                                              PROFESSIONAL BLDG
SULLINS GROUP INC                     3433 BEVANN DR                                                                                                    FARMERS BRANCH    TX   75234‐6547
SULLINS JR., RUSSELL                  49411 COUNTY ROAD 380                                                                                             GRAND JUNCTION    MI   49056‐9434
SULLINS, BARBARA J                    184 N HOLCOMB RD                                                                                                  CLARKSTON         MI   48346‐1308
SULLINS, BETTY J                      13640 ROMFORD AVE                       GARDENS OF GOLF COVE                                                      PORT CHARLOTTE    FL   33981‐6150
SULLINS, GARY M                       425 ROCKY BRANCH RD                                                                                               BLOUNTVILLE       TN   37617‐5640
SULLINS, GLENVIL A                    60 SW 1250TH RD                                                                                                   CHILHOWEE         MO   64733‐8142
SULLINS, OMER D                       10237 TREAT HWY                                                                                                   JASPER            MI   49248‐9707
SULLINS, RICHARD L                    PO BOX 12566                                                                                                      KANSAS CITY       MO   64116‐0566
SULLINS, RUSSELL J                    25962 COUNTY ROAD 681                                                                                             BANGOR            MI   49013‐9442
SULLINS, SUZY L                       2208 CLIFTON AVENUE                                                                                               LANSING           MI   48910‐3500
SULLIS JR, JAMES R                    1213 PAINTED TURTLE CT                                                                                            ANDERSON          IN   46013‐1205
SULLIS, ANTIONETTE S                  1624 WEST 17TH STREET                                                                                             ANDERSON          IN   46016‐3224
SULLIS, JAMES R                       P.O. 2994                                                                                                         WEST MONROE       LA   71294
SULLIVAN                              25 HOSPITAL DR                                                                                                    MASSENA           NY   13662‐1009
SULLIVAN & CROMWELL LLP               125 BROAD STREET                                                                                                  NEW YORK          NY   10004
SULLIVAN & CROMWELL LLP               ATTY FOR FIAT S.P.A                     ATTN: MARK U. SCHNEIDERMAN      125 BROAD STREET                          NEW YORK          NY   10004
SULLIVAN & CROMWELL, LLP              ATTENTION: WILLIAM L. FARRIS            125 BROAD STREET                                                          NEW YORK          NY   10004
SULLIVAN & WARD PC                    STE 200                                 6601 WESTOWN PARKWAY                                                      WDM               IA   50266‐7733
SULLIVAN & WORCESTER LLP              1666 K ST NW 7TH FL                                                                                               WASHINGTON        DC   20006
SULLIVAN & WORCESTER LLP              ATT: HIERSTEINER, DARCEY, ZUCCARELLO,   ATTY FOR US BANK NATIONAL       ONE POST OFFICE SQUARE                    BOSTON            MA   02109
                                      GROVES & BODELL                         ASSOCIATION
SULLIVAN ANTONIO                      SULLIVAN, ANTONIO
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Name                                    Address1                         Address2                         Address3                Address4         City                State Zip
SULLIVAN BONNIE                         7330 STONELEIGH COURT                                                                                      HUGHESVILLE          MD 20637‐2144
SULLIVAN BRADFORD                       1 FLEMING DR                                                                                               COLUMBIA             MO 65201‐5405
SULLIVAN BRIDGETTE                      5 OAK CT                                                                                                   STRATFORD            NJ 08084‐2113
SULLIVAN BRUNDIDGE, SHARON M            1103 GENESEE PARK BLVD                                                                                     ROCHESTER            NY 14619
SULLIVAN BUICK, PONTIAC, GMC            777 W DUNDEE RD                                                                                            ARLINGTON HEIGHTS     IL 60004‐1416
SULLIVAN CADILLAC                       4040 SW COLLEGE RD                                                                                         OCALA                FL 34474‐5724
SULLIVAN CHARLES W (405785)             ANGELOS PETER G                  100 N CHARLES STREET , ONE                                                BALTIMORE            MD 21201
                                                                         CHARLES CENTER
SULLIVAN CHEVROLET                      9 CRESCENT ST                                                                                              ETNA                 PA 15223‐1901
SULLIVAN CHEVROLET INC                  10 W WESTFIELD AVE                                                                                         ROSELLE PARK         NJ 07204‐2249
SULLIVAN CHEVROLET, PONTIAC, BUICK,     2406 N SECTION ST                                                                                          SULLIVAN             IN 47882‐7522

SULLIVAN CHEVROLET, PONTIAC, BUICK,     2406 N SECTION ST                                                                                          SULLIVAN             IN   47882‐7522
GMC, CHRYSLER, DODGE, JEEP
SULLIVAN COLLEGE                        3101 BARDSTOWN RD                                                                                          LOUISVILLE          KY    40205‐3013
SULLIVAN CONSOLIDATION INC              PO BOX 90130                                                                                               SPRINGFIELD         MA    01139‐0130
SULLIVAN CORP                           43252 WOODWARD AVE STE 215                                                                                 BLOOMFIELD HILLS    MI    48302‐5048
SULLIVAN CORPORATION                    43252 WOODWARD AVE STE 215                                                                                 BLOOMFIELD HILLS    MI    48302‐5048
SULLIVAN COTTER & ASSOC INC             ATTN: WILLIAM QUIRK              3011 W GRAND BLVD # 2800                                                  DETROIT             MI    48202‐3030
SULLIVAN COUNTY DIVISION OF             PUBLIC WORKS                     DEPT OF ENGINEERING              100 NORTH STREET                         MONTICELLO          NY    12701
SULLIVAN DANIEL                         711 PACIFIC COAST HWY UNIT 328                                                                             HUNTINGTON BEACH    CA    92648
SULLIVAN DAVID                          24285 HAYES AVE                                                                                            EASTPOINTE          MI    48021‐1034
SULLIVAN DONALD (448078)                KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                             CLEVELAND           OH    44114
                                                                         BOND COURT BUILDING
SULLIVAN DONNA                          SULLIVAN, DONNA                  JABLINSKI FOLINO ROBERTS &       214 WEST MONUMENT AVE                    DAYTON              OH 45402
                                                                         MARTIN
SULLIVAN DONNA                          SULLIVAN, DONNA
SULLIVAN ELOISE                         2851 ARROWWOOD LN                                                                                          ROCK HILL           SC 29732‐8444
SULLIVAN EUGENE K (458573)              KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                             CLEVELAND           OH 44114
                                                                         BOND COURT BUILDING
SULLIVAN FRANCIS                        SULLIVAN, FRANCIS                120 WEST MADISON STREET , 10TH                                            CHICAGO              IL   60602
                                                                         FLOOR
SULLIVAN FRANCIS (448080)               BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD          OH 44067
                                                                         PROFESSIONAL BLDG
SULLIVAN GERTIE                         574 EAST 109TH STREET                                                                                      CLEVELAND           OH    44108‐1469
SULLIVAN HAMILTON                       2126 PLEASANT GROVE RD                                                                                     LANSING             MI    48910‐2473
SULLIVAN HORACE RAYMOND                 C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                                       LITTLE ROCK         AR    72201
SULLIVAN I I, THOMAS                    2740 HACKMANN RD                                                                                           SAINT CHARLES       MO    63303‐5407
SULLIVAN II, THOMAS                     2740 HACKMANN RD                                                                                           SAINT CHARLES       MO    63303‐5407
SULLIVAN III, JOHN M                    3990 MANNION RD                                                                                            SAGINAW             MI    48603‐1617
SULLIVAN IRIS                           PO BOX 34                                                                                                  WOODBINE            GA    31569‐0034
SULLIVAN JACKIE L (494246)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK             VA    23510
                                                                         STREET, SUITE 600
SULLIVAN JAMES M (660956)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK             VA 23510
                                                                         STREET, SUITE 600
SULLIVAN JESSE                           GEORGE & SIPES                  151 N DELAWARE ST STE 1700                                                INDIANAPOLIS         IN   46204‐2503
SULLIVAN JESSIE (449542) ‐ SULLIVAN      GEORGE & SIPES                  151 N DELAWARE ST                STE 1700                                 INDIANAPOLIS         IN   46204‐2503
SULLIVAN JOHN F III (ESTATE OF) (451603) SIMMONS FIRM                    PO BOX 559                                                                WOOD RIVER           IL   62095‐0559

SULLIVAN JORY                           JORYS RACE & CUSTOM              6280 E EXECUTIVE DR                                                       WESTLAND            MI 48185‐1940
SULLIVAN JOSEPH                         107 SOUTH LAFAYETTE AVENUE                                                                                 MORRISVILLE         PA 19067‐7122
SULLIVAN JR, BOBBY G                    6296 WESTDALE DR                                                                                           GRAND BLANC         MI 48439‐8529
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Name                                  Address1                          Address2                         Address3   Address4         City             State Zip
SULLIVAN JR, BOBBY GENE               6296 WESTDALE DR                                                                               GRAND BLANC       MI 48439‐8529
SULLIVAN JR, CHESTER                  13207 HIGHWAY 196                                                                              NANCY             KY 42544‐4411
SULLIVAN JR, CHESTER                  H.C. 66 BOX 2040                                                                               FAUBUSH           KY 42544‐9632
SULLIVAN JR, DONALD J                 280 RIVER RD APT 69B                                                                           PISCATAWAY        NJ 08854‐3561
SULLIVAN JR, EUGENE A                 906 BREA LN                                                                                    SAN JOSE          CA 95138‐1361
SULLIVAN JR, GEORGE                   3525 SILSBY RD                                                                                 UNIVERSITY HTS    OH 44118‐3619
SULLIVAN JR, HARVEY L                 10309 E 15TH ST S                                                                              INDEPENDENCE      MO 64052‐2209
SULLIVAN JR, HERMAN W                 3012 TRAVIS CT                                                                                 MIDLAND           MI 48642‐3969
SULLIVAN JR, JACK                     21778 WESTWOOD DR                                                                              STRONGSVILLE      OH 44149‐2914
SULLIVAN JR, JAMES E                  1370 OLIVIA COURT                                                                              BRICK             NJ 08724
SULLIVAN JR, JAMES M                  5713 DAYBREAK TER                                                                              BALTIMORE         MD 21206‐3017
SULLIVAN JR, JOSEPH                   228 W CENTER ST                                                                                MEDINA            NY 14103
SULLIVAN JR, SIDNEY L                 5605 KENTON AVE                                                                                MAPLE HEIGHTS     OH 44137‐3538
SULLIVAN KAREN                        8325 TERRI DR                                                                                  WESTLAND          MI 48185‐7069
SULLIVAN KARON N (666578)             OBRIEN LAW FIRM                   1 METROPOLITAN SQ STE 1500                                   SAINT LOUIS       MO 63102‐2799
SULLIVAN KATHLEEN                     75 MAIN ST                                                                                     WEST SENECA       NY 14224‐2745
SULLIVAN KELLEE                       360 9TH CT                                                                                     VERO BEACH        FL 32962‐2812
SULLIVAN LEE                          11274 S FORTUNA RD STE D2515                                                                   YUMA              AZ 85367
SULLIVAN LLOYD (ESTATE OF) (639107)   GOLDENBERG, MILLER, HELLER &      PO BOX 959                                                   EDWARDSVILLE       IL 62025‐0959
                                      ANTOGNOLI
SULLIVAN LUCAS                        607 TIMBER TRL                                                                                 COLUMBIA         TN    38401‐2452
SULLIVAN MD                           25 HOSPITAL DR                                                                                 MASSENA          NY    13662‐1009
SULLIVAN MICHAEL & MARILYN            DBA HALO CREATIVE GROUP LLC       629 W MAIN ST STE 200                                        NORTHVILLE       MI    48167
SULLIVAN MOTOR COMPANY, INC.          948 S 5TH ST                                                                                   ALBION           NE    68620‐1702
SULLIVAN MOTORS, INC.                 PO BOX 1389                                                                                    COLLINS          MS    39428‐3843
SULLIVAN MOTORS, INC.                 GERALD SULLIVAN*                  3114 HIGHWAY 49                                              COLLINS          MS    39428‐3843
SULLIVAN NEAL V (626797)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA    23510
                                                                        STREET, SUITE 600
SULLIVAN NICHOLLS
SULLIVAN OLDS CADILLAC
SULLIVAN PARKHILL AUTOMOTIVE INC      MEYER CAPEL PC / GEILER LORNA K   PO BOX 6750                                                  CHAMPAIGN        IL    61826
SULLIVAN PATRICIA                     13548 COUNTY ROAD 34                                                                           BELLEVUE         OH    44811‐9559
SULLIVAN PATRICK                      1198 MS DAISYS DR                                                                              SULPHUR          LA    70665‐8903
SULLIVAN PATRICK W (358143)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA    23510
                                                                        STREET, SUITE 600
SULLIVAN PONTIAC CADILLAC GMC TRUCK ADAMS & QUINTON PA                  CAMINO REAL CENTRE , 7300 WEST                               BOCA RATON        FL   33433
INC                                                                     CAMINO REAL
SULLIVAN PONTIAC‐CADILLAC‐GMC TRUCK, ARTHUR SULLIVAN                    4040 SW COLLEGE RD                                           OCALA             FL   34474‐5724
INC.
SULLIVAN PONTIAC‐CADILLAC‐GMC TRUCK, ARTHUR SULLIVAN                    4000 SW COLLEGE RD                                           OCALA             FL   34474‐5724
INC.
SULLIVAN PONTIAC‐GMC                 ARTHUR SULLIVAN                    4000 SW COLLEGE RD                                           OCALA            FL    34474‐5724
SULLIVAN PONTIAC‐GMC                 4000 SW COLLEGE RD                                                                              OCALA            FL    34474‐5724
SULLIVAN RICHARD                     455 TABOR AVENUE                                                                                FAIRFIELD        CA    94533‐8412
SULLIVAN RICHARD                     HOEHN OLDSMOBILE                   PO BOX 789                                                   CRESTLINE        CA    92325
SULLIVAN RICHARD                     SULLIVAN, RICHARD                  129 SWALLOW LANE                                             OCEANSIDE        CA    92057‐6431
SULLIVAN ROBERT JR                   53 BEATRICE ST                                                                                  WESTERLY         RI    02891‐1275
SULLIVAN ROBERT SR (469948)          ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                   BALTIMORE        MD    21202
                                                                        CHARLES CENTER 22ND FLOOR
SULLIVAN RON (473136)                 DUFFY & ASSOCS JOHN J             23823 LORAIN RD                                              NORTH OLMSTED    OH 44070
SULLIVAN RONALD D JR                  2238 WEST RIVER ROAD                                                                           NEWTON FALLS     OH 44444‐9402
SULLIVAN SAMUEL                       ALLSTATE INSURANCE COMPANY        PO BOX 81085                                                 CONYERS          GA 30013‐9085
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Name                              Address1                            Address2                       Address3   Address4         City               State Zip
SULLIVAN SAMUEL                   SULLIVAN, SAMUEL                    PO BOX 81085                                               CONYERS             GA 30013‐9085
SULLIVAN SHAW                     835 SPENCERPORT RD                                                                             ROCHESTER           NY 14606‐4821
SULLIVAN SMITH                    508 HERITAGE TRACE                                                                             LEBANON             OH 45036
SULLIVAN SR, RONALD D             2238 W RIVER RD                                                                                NEWTON FALLS        OH 44444‐9402
SULLIVAN SR., ROBERT L            89 MANHART ST                                                                                  BUFFALO             NY 14215‐3224
SULLIVAN STANLEY                  133 MAUDLIN ST                                                                                 NOVI                MI 48377‐8386
SULLIVAN STANLEY N (342165)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA 23510
                                                                      STREET, SUITE 600
SULLIVAN STEPHEN                  1842 E 81ST ST                                                                                 CLEVELAND          OH   44103‐4206
SULLIVAN SUZANNE                  111 SUMMIT AVE                                                                                 FORT THOMAS        KY   41075‐2033
SULLIVAN TIMOTHY (345133)         PAUL REICH & MYERS                  1608 WALNUT ST STE 500                                     PHILADELPHIA       PA   19103‐5446
SULLIVAN TIRE                     8123 N LINDBERGH BLVD                                                                          FLORISSANT         MO   63031‐7104
SULLIVAN TRANSFER CO              PO BOX 560285                                                                                  DALLAS             TX   75356‐0285
SULLIVAN TRANSPORTATION           TIM RIPPLINGER                      66 9TH E UNIT 2110                                         SAINT PAUL         MN   55101‐2256
SULLIVAN TRANSPORTATION INC       66 9TH ST E                         UNIT 2110                                                  SAINT PAUL         MN   55101‐2256
SULLIVAN TYLER                    190 EMERALD LAKE DR                                                                            JACKSON            TN   38305‐1574
SULLIVAN WARD ASHER & PATTON PC   25800 NORTHWESTERN HWY STE 1000                                                                SOUTHFIELD         MI   48075‐8412
SULLIVAN WILLIAM (459374)         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510
                                                                      STREET, SUITE 600
SULLIVAN WILLIAM J (652483)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510
                                                                      STREET, SUITE 600
SULLIVAN WILLIAM L                C/O GOLDBERG PERSKY & WHITE PC      1030 FIFTH AVENUE                                          PITTSBURGH         PA 15219
SULLIVAN WILLIAM L (499629)       GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW            MI 48604‐2602
                                                                      260
SULLIVAN WM                       GUY WILLIAM S                       PO BOX 509                                                 MCCOMB             MS   39649‐0509
SULLIVAN ZENNIE                   1015 VIRGINIA ST                                                                               TOLEDO             OH   43606‐4624
SULLIVAN'S ADVANCED AUTOMOTIVE    22502 LOOP 494                                                                                 KINGWOOD           TX   77339‐2818
SULLIVAN'S TWO UNLIMITED          729 US HIGHWAY 12                                                                              BARABOO            WI   53913
SULLIVAN, AARON M                 10437 KINGSTON AVE                                                                             HUNTINGTON WOODS   MI   48070‐1113
SULLIVAN, ALBERT C                10209 DEEP CREEK PL                                                                            UNION CITY         GA   30291‐6040
SULLIVAN, ALBERT G                335 INDIAN MOUND CIR                                                                           JACKSBORO          TN   37757‐2103
SULLIVAN, ALBERT L                W12108 CUMBERLAND AVE                                                                          COLOMA             WI   54930‐8804
SULLIVAN, ALBERTA J               4519 TARRY LN                                                                                  WILMINGTON         DE   19804‐4018
SULLIVAN, ALICE V                 3965 N MICHIGAN AVE APT 2                                                                      SAGINAW            MI   48604‐1804
SULLIVAN, ALLINE S                315 WELCOME WAY BLVD E DR #103B                                                                INDIANAPOLIS       IN   46214‐2910
SULLIVAN, ANITA G                 PO BOX 415                                                                                     MT PLEASANT        TN   38474‐0415
SULLIVAN, ANNA J                  9307 S SHARTEL AVE APT 10                                                                      OKLAHOMA CITY      OK   73139
SULLIVAN, ANTHONY D               PO BOX 9022                         C/O: SHANGHAI                                              WARREN             MI   48090‐9022
SULLIVAN, ANTHONY J               1060 N RACQUETTE RIVER RD                                                                      MASSENA            NY   13662‐3246
SULLIVAN, ANTONIO
SULLIVAN, ARITHA J                877 LINCOLN AVE                                                                                LOCKPORT           NY   14094‐6180
SULLIVAN, ARMINTARY               18660 MCCRACKEN RD                                                                             MAPLE HEIGHTS      OH   44137‐1630
SULLIVAN, ARTHUR J                38216 WESTLAND ST                                                                              CLINTON TWP        MI   48036‐2978
SULLIVAN, ARTHUR T                5094 BRIDGEMAN RD                                                                              SANBORN            NY   14132‐9357
SULLIVAN, ARTITA                  1810 CEDARWOOD DR                                                                              PISCATAWAY         NJ   08854‐2023
SULLIVAN, ARTITA                  1810 CEDAR WOOD DR                                                                             PISCATAWAY         NJ   08854‐2023
SULLIVAN, AUBREY D                4613 W CAVEN ST                                                                                INDIANAPOLIS       IN   46241‐4032
SULLIVAN, AUDREYM                 113 CUMBERLAND DR                   C/O AUDREY M SULLIVAN                                      CROSSVILLE         TN   38555‐5221
SULLIVAN, AUSTIN D                29 DEAN GRINER DR                                                                              COLUMBIA           MS   39429‐8764
SULLIVAN, BANKS D                 110 CREEK ROAD                                                                                 CLINTON            MS   39056‐9056
SULLIVAN, BARBARA                 6686 VISTA DR                                                                                  SAGINAW            MI   48603‐9690
SULLIVAN, BARBARA A               8544 NORTH COUNTY LINE ROAD                                                                    SPENCER            IN   47460‐9290
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Name                      Address1                            Address2                    Address3             Address4              City               State Zip
SULLIVAN, BARRY G         225 WALNUT ST                                                                                              PUTNAM              CT 06260
SULLIVAN, BARRY J         680 SALT SPRINGS RD                                                                                        WARREN              OH 44481‐8621
SULLIVAN, BECKY S
SULLIVAN, BENNIE L        906 TURNER AVE                                                                                             TOLEDO             OH   43607‐3030
SULLIVAN, BERT E          8722 CHATFIELD PL                                                                                          HUBER HEIGHTS      OH   45424‐6459
SULLIVAN, BETTY           5909 ARROWHEAD BLVD                                                                                        KOKOMO             IN   46902‐5506
SULLIVAN, BETTY           4811 GRISWOLD ROAD                                                                                         KIMBALL            MI   48074‐2110
SULLIVAN, BETTY A         715 S 600 E                                                                                                MARION             IN   46953‐9543
SULLIVAN, BETTY B         9625 S COUNTY ROAD 900 W 900 900W                                                                          DALEVILLE          IN   47334
SULLIVAN, BETTY J         BETTY JEAN SULLIVAN TR              BETTY JEAN SULLIVAN TTEE    U/A DTD 11/06/1997   4040 MASON DR         HOFFMAN ESTATES    IL   60192‐1740
SULLIVAN, BETTY L         P.O. BOX 472                                                                                               TROY               MO   63379
SULLIVAN, BETTY L         PO BOX 472                                                                                                 TROY               MO   63379‐0472
SULLIVAN, BILLY           2165 HOLLY HILL DR                                                                                         DECATUR            GA   30032‐5713
SULLIVAN, BRADLEY W       1255 DUCK CREEK LN                                                                                         ORTONVILLE         MI   48462‐9049
SULLIVAN, BRENDA M        10411 N MCCLELLAN DR                                                                                       FREDERICKSBURG     VA   22408‐0289
SULLIVAN, BRENDA M        11460 JESSICA CT                                                                                           FREDERICKSBURG     VA   22408‐2339
SULLIVAN, BRENDA MAE      10411 N MCCLELLAN DR                                                                                       FREDERICKSBURG     VA   22408‐0289
SULLIVAN, BRIAN           47 REVERE DRIVE                                                                                            SAYVILLE           NY   11782‐1353
SULLIVAN, BRIAN J         1004 NATURAL BROOK TRL                                                                                     LAWRENCEVILLE      GA   30045‐2615
SULLIVAN, BRIAN K         900 W SPRING VALLEY PIKE                                                                                   CENTERVILLE        OH   45458‐3253
SULLIVAN, BRYCE F         83 RAVENWOOD HILLS CIR                                                                                     NASHVILLE          TN   37215‐6167
SULLIVAN, C L             4248 PULASKI HWY                                                                                           CULLEOKA           TN   38451‐2023
SULLIVAN, C L             678 ROCK SPRINGS ROAD                                                                                      WILMAR             AR   71675‐7112
SULLIVAN, CAPTOLA         G‐4346 ASHLAWN DRIVE                                                                                       FLINT              MI   48507
SULLIVAN, CARMEL R        74 WESTMINSTER RD                                                                                          BRISTOL            CT   06010‐4339
SULLIVAN, CAROL A         1779 E. 236TH STREET                                                                                       EUCLID             OH   44117
SULLIVAN, CASS C          10641 N 100 E                                                                                              ALEXANDRIA         IN   46001‐9032
SULLIVAN, CASSANDRA K     342 JCOUNTY RD 2376                                                                                        ALBA               TX   75410‐4758
SULLIVAN, CATHERINE A     65 CARRIAGE WAY DR BLDG 6‐307                                                                              FITCHBURG          MA   01420
SULLIVAN, CATHERINE A     65 CARRIAGE WAY DR                  BUILDING 6                  APT 307                                    FITCHBURG          MA   01420
SULLIVAN, CATHY L         3819 HOPE LN # 2                                                                                           ERLANGER           KY   41018‐1676
SULLIVAN, CECILE J        10 SEABEE ST                                                                                               BEDFORD            NH   03110‐6457
SULLIVAN, CHARLES A       16431 KENWOOD AVE                                                                                          SOUTH HOLLAND      IL   60473‐3218
SULLIVAN, CHARLES E       837 CONSERVATION DR                                                                                        HEDGESVILLE        WV   25427‐5441
SULLIVAN, CHARLES R       5544 HIGHLAND RD                                                                                           HIGHLAND HEIGHTS   OH   44143‐1968
SULLIVAN, CHARLES S       51456 NICOLETTE DR                                                                                         CHESTERFIELD       MI   48047‐4525
SULLIVAN, CHARLES T       9555 LONGMEADOW ST                                                                                         FENTON             MI   48430‐8738
SULLIVAN, CHARLES W       ANGELOS PETER G                     100 N CHARLES STREET, ONE                                              BALTIMORE          MD   21201‐3812
                                                              CHARLES CENTER
SULLIVAN, CHERYL J        7616 RIVA RIDGE RD                                                                                         KOKOMO             IN   46901‐3732
SULLIVAN, CHRISTOPHER M   PO BOX 686                          2517 LAKESIDE DR                                                       LACYGNE            KS   66040‐0686
SULLIVAN, CORNELIUS F     PO BOX 537                                                                                                 ROSCOMMON          MI   48653‐0537
SULLIVAN, CORWIN K        272 QUEENS XING                                                                                            CENTERVILLE        OH   45458‐4216
SULLIVAN, CORWIN K        272 QUEENS CROSSING                                                                                        CENTERVILLE        OH   45458‐4216
SULLIVAN, CRAIG B         680 SALT SPRINGS RD                                                                                        WARREN             OH   44481
SULLIVAN, CYNTHIA M       39 S MUSTIN DR                                                                                             ANDERSON           IN   46012‐3153
SULLIVAN, CYRUS W         1969 DEAN AVE                                                                                              HOLT               MI   48842‐1513
SULLIVAN, DALE T          48 COZUMEL PL                                                                                              SIMI VALLEY        CA   93065‐4039
SULLIVAN, DAN             GUY WILLIAM S                       PO BOX 509                                                             MCCOMB             MS   39649‐0509
SULLIVAN, DANIEL D        10030 SW 52ND RD                                                                                           GAINESVILLE        FL   32608‐7117
SULLIVAN, DANIEL F        56 GROVE AVE                                                                                               WILMINGTON         MA   01887‐2036
SULLIVAN, DANIEL J        77 RUNNING BROOK LN                                                                                        ROCHESTER          NY   14626‐1965
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Name                      Address1                      Address2                            Address3   Address4         City              State Zip
SULLIVAN, DANIEL J        77 RUNNINGBROOK LANE                                                                          ROCHESTER          NY 14626‐4626
SULLIVAN, DANIEL J        2179 CAPES COVE DR                                                                            SHERRILLS FORD     NC 28673‐9121
SULLIVAN, DANIEL M        3065 SANDHILL RD                                                                              MASON              MI 48854‐9410
SULLIVAN, DANIEL P        1702 CRANBROOK DR                                                                             SAGINAW            MI 48638‐4484
SULLIVAN, DANIEL P        1372 PAUL RD EXT                                                                              CHURCHVILLE        NY 14428
SULLIVAN, DANIEL R        509 SWEET BAY CIR                                                                             JUPITER            FL 33458‐2825
SULLIVAN, DANIEL W        1333 BLOSSOM LN                                                                               ASHLAND            OH 44805‐4400
SULLIVAN, DANNE O         6461 CHESHIRE DR                                                                              DIMONDALE          MI 48821‐9407
SULLIVAN, DANNY M         31658 WILLIAMS CT                                                                             ROCKWOOD           MI 48173‐1043
SULLIVAN, DANNY MICHAEL   31658 WILLIAMS CT                                                                             ROCKWOOD           MI 48173‐1043
SULLIVAN, DAVID A         1917 CZECH LN                                                                                 ARKDALE            WI 54613‐9543
SULLIVAN, DAVID K         10284 N STATE ROAD 13                                                                         ELWOOD             IN 46036‐8869
SULLIVAN, DAVID KENT      10284 N STATE ROAD 13                                                                         ELWOOD             IN 46036‐8869
SULLIVAN, DEAN M          5281 WILLOW GROVE DR                                                                          GRAND BLANC        MI 48439‐8682
SULLIVAN, DEBORAH J       89 DEVONSHIRE STREET                                                                          YPSILANTI          MI 48198‐6020
SULLIVAN, DEBORAH K       6167 S SHERIDAN AVE                                                                           DURAND             MI 48429‐9600
SULLIVAN, DELBERT J       PO BOX 90643                                                                                  BURTON             MI 48509‐0643
SULLIVAN, DENNIS J        5370 13 MILE RD NE                                                                            ROCKFORD           MI 49341‐9747
SULLIVAN, DENNIS P        408 HUCKLEBERRY TRL                                                                           SAINT JOHNS        FL 32259‐4455
SULLIVAN, DENNIS S        34 MARSH DR                                                                                   BEAUFORT           SC 29907‐1324
SULLIVAN, DENNIS S        3128 WALTON BLVD PMB 140                                                                      ROCHESTER HILLS    MI 48309‐1265
SULLIVAN, DEWEY W         109 PAVILION DR                                                                               BRANDON            MS 39042‐2330
SULLIVAN, DON M           1529 CABOT DR                                                                                 FRANKLIN           TN 37064‐3286
SULLIVAN, DONALD          KELLEY & FERRARO LLP          1300 EAST NINTH STREET, 1901                                    CLEVELAND          OH 44114
                                                        BOND COURT BUILDING
SULLIVAN, DONALD A        18 W SHARLEAR DR                                                                              ESSEXVILLE        MI   48732‐1250
SULLIVAN, DONALD D        12072 FARRAND RD                                                                              MONTROSE          MI   48457‐9705
SULLIVAN, DONALD E        2428 E 40TH ST                                                                                ANDERSON          IN   46013‐2610
SULLIVAN, DONALD H        2889 BRIDGESTONE CIR                                                                          KOKOMO            IN   46902‐7007
SULLIVAN, DONALD J        11155 CORBETT ST                                                                              DETROIT           MI   48213‐1601
SULLIVAN, DONALD L        473 DANFORTH PL                                                                               DAYTON            OH   45431‐2227
SULLIVAN, DONALD T        PO BOX 4419                                                                                   BRECKENRIDGE      CO   80424‐4419
SULLIVAN, DONALD W        10161 JOANNA K                                                                                WHITE LAKE        MI   48386‐2219
SULLIVAN, DONNA           5748 BAYSIDE DR                                                                               DAYTON            OH   45431‐2218
SULLIVAN, DONNA           38132 DELACROIX DR                                                                            CLINTON TWP       MI   48038‐3150
SULLIVAN, DONNA D         1509 DORCHESTER RD                                                                            BIRMINGHAM        MI   48009‐5999
SULLIVAN, DONNA N         843 TWO FORTY PL                                                                              OKLAHOMA CITY     OK   73139
SULLIVAN, DORIS           624 SKYVIEW DR                                                                                W CARROLLTON      OH   45449‐1633
SULLIVAN, DORIS           624 SKYVIEW DRIVE                                                                             W CARROLLTON      OH   45449‐1633
SULLIVAN, DORIS M         22041 DUBOIS                                                                                  ROMULUS           MI   48174‐8174
SULLIVAN, DORIS M         22041 DUBOIS ST                                                                               ROMULUS           MI   48174‐9519
SULLIVAN, DOROTHY         106 EVERGREEN TRAIL                                                                           CARTERSVILLE      GA   30121‐4201
SULLIVAN, DOROTHY M       18405 WESTLAND AVE                                                                            SOUTHFIELD        MI   48075‐4183
SULLIVAN, DORRIS D        1219 WORCESTER AVE                                                                            INDIANAPOLIS      IN   46203‐2452
SULLIVAN, DOUGLAS M       30480 BRUSH ST                                                                                MADISON HTS       MI   48071‐1817
SULLIVAN, DUANE R         440 WESTVIEW DR NE                                                                            CLEVELAND         TN   37312
SULLIVAN, EDGAR J         3 DEBRA CT                                                                                    SCOTCH PLAINS     NJ   07076‐2827
SULLIVAN, EDGAR W         2645 CEDARVILLE RD                                                                            GOSHEN            OH   45122‐9423
SULLIVAN, EDWARD E        4601 FALCON CHASE DR SW                                                                       CONCORD           NC   28027‐0435
SULLIVAN, EDWARD J        518 OAK ST                                                                                    MOUNT MORRIS      MI   48458‐1933
SULLIVAN, EDWARD J        WILENTZ GOLDMAN & SPITZER     88 PINE STREET, WALL STREET PLAZA                               NEW YORK          NY   10005
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Name                    Address1                         Address2                        Address3                  Address4         City                  State Zip
SULLIVAN, EDWARD J      ATTN: LYNNE KIZIS, ESQ           WILENTZ, GOLDMAN, AND SPITZER   90 WOODBRIDGE CENTER DR                    WOODBRIDGE             NJ 07095

SULLIVAN, EDWIN F       241 ROSEWOOD AVE                                                                                            MT STERLING           OH   43143‐1039
SULLIVAN, EILEEN I      136 MORAN RD                                                                                                GROSSE POINTE FARMS   MI   48236‐3607
SULLIVAN, ELAINE K      4740 PINE ST                                                                                                COLUMBIAVILLE         MI   48421‐9301
SULLIVAN, ELAINE V      PO BOX 210                                                                                                  GREEN VALLEY          AZ   85622‐0210
SULLIVAN, ELEANOR       4239 LANETTE                                                                                                WATERFORD             MI   48328‐3439
SULLIVAN, ELEANOR M     PO BOX 179                                                                                                  CAPE VINCENT          NY   13618‐0179
SULLIVAN, ELEANOR R     72 CENTRAL TPKE                                                                                             SUTTON                MA   01590‐3712
SULLIVAN, ELEANOR R     72 CENTRAL TURNPIKE                                                                                         SUTTON                MA   01590‐3712
SULLIVAN, ELEANORE      417 N MILL ST                                                                                               CLIO                  MI   48420
SULLIVAN, ELIZABETH     3370 DETROIT ST                                                                                             DEARBORN              MI   48124‐4158
SULLIVAN, ELIZABETH
SULLIVAN, ELIZABETH A   32712 SHERIDAN ST                                                                                           GARDEN CITY           MI   48135‐3226
SULLIVAN, ELIZABETH J   2295 CHAPEL RD                                                                                              JEFFERSON             OH   44047‐8720
SULLIVAN, ELIZABETH M   632 SIMCOE AVE                                                                                              FLINT                 MI   48507‐1677
SULLIVAN, ELLY          830 JONATHAN LN                                                                                             BLOOMFIELD HILLS      MI   48302‐2915
SULLIVAN, ELOISE        2851 ARROWWOOD LN                                                                                           ROCK HILL             SC   29732‐8444
SULLIVAN, ELSIE A       16 DONLIN DR                                                                                                ROCHESTER             NY   14624‐1903
SULLIVAN, ERIC W        4526 MAIN ST                                                                                                GASPORT               NY   14067‐9371
SULLIVAN, ERMA L        19625 SW. BEACH BLVD                                                                                        DUNNELLON             FL   34431
SULLIVAN, ERMA L        19625 SW BEACH BLVD                                                                                         DUNNELLON             FL   34431‐4422
SULLIVAN, ERNEST B      10064 TOELLE LN APT C                                                                                       SAINT LOUIS           MO   63137‐3469
SULLIVAN, ESTELL V      1003 RUBY AVE LOT 30                                                                                        KANSAS CITY           KS   66103‐1152
SULLIVAN, ESTIL
SULLIVAN, ETOIL S       3708 RED BUD LN                                                                                             KOKOMO                IN 46902‐4352
SULLIVAN, EUGENE        KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                               CLEVELAND             OH 44114
                                                         BOND COURT BUILDING
SULLIVAN, EUGENE R
SULLIVAN, EUGENE W      2316 COVENTRY CIR                                                                                           FULLERTON             CA   92833‐1265
SULLIVAN, F J           1024 S INDIANA AVE                                                                                          KOKOMO                IN   46902‐6222
SULLIVAN, FELICIA       329 E K STREET                                                                                              ANNISTON              AL   36207‐8217
SULLIVAN, FELICIA       329 E K ST                                                                                                  ANNISTON              AL   36207‐8217
SULLIVAN, FRANCES A     12 GROVE ST                                                                                                 HARWICH PORT          MA   02646‐2252
SULLIVAN, FRANCIS       KROHN & MOSS ‐ IL                120 WEST MADISON STREET, 10TH                                              CHICAGO               IL   60602
                                                         FLOOR
SULLIVAN, FRANCIS M     113 CUMBERLAND DR                C/O AUDREY M SULLIVAN                                                      CROSSVILLE            TN   38555‐5221
SULLIVAN, FRANK M       2305 BUCCANEER BOULEVARD                                                                                    GREENBACKVILE         VA   23356‐2605
SULLIVAN, FRANKIE L     515 E PRAIRIE PONDE ST                                                                                      DOWAGIAC              MI   49047‐1516
SULLIVAN, FRANKIE L     515 E PRAIRE RENDE                                                                                          DOWAGIAC              MI   49047
SULLIVAN, FRANKLIN D    7940 CRESTON RD                                                                                             PASO ROBLES           CA   93446‐9488
SULLIVAN, FRED          6617 CHAMBERSBURG RD                                                                                        DAYTON                OH   45424‐3909
SULLIVAN, GABRIEL W     4112 FULTON AVENUE                                                                                          MORAINE               OH   45439‐2122
SULLIVAN, GAIL          6318 BRANDT ST                                                                                              NORTH CHARLESTON      SC   29406‐4859
SULLIVAN, GARNET E      68 UPPER HILLSIDE DR                                                                                        BELLBROOK             OH   45305‐2119
SULLIVAN, GARRY D       2393 S SAINT CLAIR RD                                                                                       SAINT JOHNS           MI   48879‐9018
SULLIVAN, GARRY E       5315 ARGONNE DR                                                                                             YOUNGSTOWN            OH   44515‐1812
SULLIVAN, GARY A        404 E JEFFERSON ST # 135                                                                                    SAINT PAUL            IN   47272
SULLIVAN, GARY L        216 E FLAGSTONE DR                                                                                          NEWARK                DE   19702‐3646
SULLIVAN, GARY L        11339 E 700 N                                                                                               SHIRLEY               IN   47384
SULLIVAN, GARY M        1719 EDINBOROUGH DR                                                                                         ROCHESTER HILLS       MI   48306‐3631
SULLIVAN, GENE P        22850 SPRINGHAVEN DR                                                                                        CENTREVILLE           MI   49032‐9754
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Name                    Address1                       Address2                      Address3   Address4         City               State Zip
SULLIVAN, GENEVIEVE M   5220 HIGHLAND SHORE                                                                      FLUSHING            MI 48433
SULLIVAN, GEORGE E      705 TOMAHAWK FL                                                                          AUSTELL             GA 30168
SULLIVAN, GEORGE E      3377 TRUELOVE RD                                                                         GAINESVILLE         GA 30507‐8568
SULLIVAN, GEORGE H      627 HAYMOUNT DR                                                                          INDIANAPOLIS        IN 46241‐1701
SULLIVAN, GEORGE R      626 W BLUFF CT                                                                           ROCHESTER HLS       MI 48307‐6081
SULLIVAN, GEORGE R      1134 HARDING WAY E                                                                       GALION              OH 44833‐2804
SULLIVAN, GERALD A      160 BURR ST                                                                              WEST BRANCH         MI 48661
SULLIVAN, GERALD A      1702 WELCOME AVE                                                                         NATIONAL CITY       MI 48748‐9566
SULLIVAN, GERALD J      3156 E GATEHOUSE DR SE                                                                   GRAND RAPIDS        MI 49546‐7010
SULLIVAN, GERALD L      20493 SPLIT OAK DR                                                                       NEW CANEY           TX 77357‐3572
SULLIVAN, GERALD L      346 HOPEWELL ST                                                                          GRAND PRAIRIE       TX 75052‐3328
SULLIVAN, GERALD T      6261 SOUTH WESTWOOD PARKWAY                                                              SUTTONS BAY         MI 49682‐9138
SULLIVAN, GERALD W      4833 E M H TOWNLINE RD                                                                   MILTON              WI 53563‐9769
SULLIVAN, GERALDINE W   11115 JUNIPER CT                                                                         WASHINGTON          MI 48094‐3722
SULLIVAN, GERRY L       4024 LANSING RD                                                                          ROSCOMMON           MI 48653‐8738
SULLIVAN, GINA          26249 HASS ST                                                                            DEARBORN HEIGHTS    MI 48127‐2952
SULLIVAN, GLADYS        198 PENHURST ST                                                                          ROCHESTER           NY 14619‐1520
SULLIVAN, GLEN R        1914 WILD HORSE CORRAL                                                                   LEWISVILLE          TX 75067‐5533
SULLIVAN, GORDON J      2703 BEMBRIDGE RD                                                                        ROYAL OAK           MI 48073‐2922
SULLIVAN, GRACE L       APT 47                         201 MALL DRIVE SOUTH                                      LANSING             MI 48917‐2558
SULLIVAN, GRACE L       201 MALL DR S                  APT 47                                                    LANSING             MI 48917‐2558
SULLIVAN, GRADY D       1900 OLIVE ST SW               P O BOX 1768                                              CULLMAN             AL 35056
SULLIVAN, GRADY D       1900 OLIVE ST SW               P. O. BOX 1768                                            CULLMAN             AL 35055‐7202
SULLIVAN, GREGORY D     22 SHADY GROVE DR                                                                        EAST AMHERST        NY 14051‐1609
SULLIVAN, GREGORY L     201 TREELINE DR                                                                          BELMONT             NC 28012
SULLIVAN, GREGORY P     214 WATERFORD DR                                                                         CENTERVILLE         OH 45458‐2522
SULLIVAN, GREGORY P     3800 VALLEYWOOD DRIVE                                                                    KETTERING           OH 45429‐5429
SULLIVAN, GUY P         2281 SNOWFALL COURT                                                                      ODENTON             MD 21113‐2246
SULLIVAN, GUY R         53 THE COMMONS                                                                           GRAND ISLAND        NY 14072‐2954
SULLIVAN, HAROLD C      651 ROCKBRIDGE RD SW                                                                     LILBURN             GA 30047‐6577
SULLIVAN, HAROLD P      4 DORIAN DR                                                                              BRADFORD            MA 01835‐8503
SULLIVAN, HARRIETT      586 MAPLE HILL AVE                                                                       NEWINGTON           CT 06111‐6111
SULLIVAN, HEDWIG J      428 CHESTNUT ST APT 9B                                                                   ROSELLE PARK        NJ 07204‐1933
SULLIVAN, HELEN         166 SWEETFERN RD                                                                         STROUDSBURG         PA 18360‐1051
SULLIVAN, HELEN A       1011 ABERDEEN DRIVE                                                                      INDIANAPOLIS        IN 46241‐1809
SULLIVAN, HELEN MARIE   MOODY EDWARD O                 801 W 4TH ST                                              LITTLE ROCK         AR 72201‐2107
SULLIVAN, HELEN MARIE   C/O EDWARD O MOODY PA          801 W 4TH ST                                              LITTLE ROCK         AR 72201
SULLIVAN, HERMAN H      LEE WILLIAM L JR               PO BOX 14047                                              JACKSON             MS 39236‐4047
SULLIVAN, HORACE R      MOODY EDWARD O                 801 W 4TH ST                                              LITTLE ROCK         AR 72201‐2107
SULLIVAN, HUBERT R      1528 LEE ST                                                                              INDIANAPOLIS        IN 46221‐1805
SULLIVAN, IRENE         1713 MISSOURI AVE                                                                        FLINT               MI 48506‐4315
SULLIVAN, IRENE J       23 CHICKADEE WAY                                                                         HAMILTON            NJ 08690‐3562
SULLIVAN, IVA           651 ROCKBRIDGE RD SW                                                                     LILBURN             GA 30047‐6577
SULLIVAN, J E           8476 NORWALK RD                                                                          LITCHFIELD          OH 44253‐9109
SULLIVAN, J F           5133 DUGGAN PLZ                                                                          EDINA               MN 55439‐1452
SULLIVAN, JACKIE L      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                       STREET, SUITE 600
SULLIVAN, JACKIE R      7431 SKYE DR N                                                                           JACKSONVILLE       FL   32221‐6152
SULLIVAN, JAMES         PORTER & MALOUF PA             4670 MCWILLIE DR                                          JACKSON            MS   39206‐5621
SULLIVAN, JAMES A       105 JACKSON ROAD EXT                                                                     PENFIELD           NY   14526‐1252
SULLIVAN, JAMES A       5271 N HARDING AVE                                                                       HARRISON           MI   48625‐9746
SULLIVAN, JAMES A       4740 PINE STREET                                                                         COLUMBIAVILLE      MI   48421‐9301
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Name                       Address1                           Address2                      Address3   Address4         City              State Zip
SULLIVAN, JAMES B          45 BOXWOOD LN                                                                                BRIDGEWATER        MA 02324‐2260
SULLIVAN, JAMES E          1293 MONONA BLVD                                                                             JACKSON            NE 68743‐3055
SULLIVAN, JAMES E          APT 9                              114 FOLEY DRIVE                                           RUSSELL SPGS       KY 42642‐4283
SULLIVAN, JAMES E          2067 NOBLE AVE                                                                               FLINT              MI 48532‐3915
SULLIVAN, JAMES E          114 FOLEY DR                       APT 9                                                     RUSSELL SPRINGS    KY 42542‐4283
SULLIVAN, JAMES H          511 JAMESON ST                                                                               SAGINAW            MI 48602‐3239
SULLIVAN, JAMES J          4316 PUEBLO TRL                                                                              JAMESTOWN          OH 45335‐1433
SULLIVAN, JAMES J          4316 PUEBLO TRAIL                                                                            JAMESTOWN          OH 45335‐5335
SULLIVAN, JAMES L          2937 PEARL ST                                                                                SAGINAW            MI 48604‐2428
SULLIVAN, JAMES LAWRENCE   2937 PEARL ST                                                                                SAGINAW            MI 48604‐2428
SULLIVAN, JAMES M          2789 GROVENBURG RD                                                                           LANSING            MI 48911‐6451
SULLIVAN, JAMES M          2580 KAYLOR LN                                                                               JACKSONVILLE       FL 32218‐2139
SULLIVAN, JAMES M          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                              STREET, SUITE 600
SULLIVAN, JAMES M          74 WESTMINSTER RD                                                                            BRISTOL           CT   06010‐4339
SULLIVAN, JAMES P          2370 COLVIN BOULEVARD EXT APT 4                                                              TONAWANDA         NY   14150‐4433
SULLIVAN, JAMES P          1389 VAILWOOD COURT                                                                          PLEASANTON        CA   94566‐6059
SULLIVAN, JAMES S          3154 WEARS DR                                                                                SEVIERVILLE       TN   37862‐8228
SULLIVAN, JANET E          16588 E AUGUSTA DR                                                                           AUGUSTA           MI   49012‐9630
SULLIVAN, JANICE A         5303 E TWAIN AVE SPC 9                                                                       LAS VEGAS         NV   89122‐4647
SULLIVAN, JANICE E         1247 STYER DR                                                                                NEW CARLISLE      OH   45344‐2723
SULLIVAN, JANICE E         1247 STYER DRIVE                                                                             NEW CARLISLE      OH   45344‐2723
SULLIVAN, JEAN             3402 BETHEL CONCORD RD 1                                                                     WILLIAMSBURG      OH   45176
SULLIVAN, JEAN C           2844 MAIN ST                                                                                 NEWFANE           NY   14108‐1233
SULLIVAN, JEAN S           60 SUNLINE DR                                                                                BRANDON           MS   39042‐2147
SULLIVAN, JEFFERY B        1610 SUMMERWOOD TRL                                                                          HIXSON            TN   37343‐2553
SULLIVAN, JEREMIAH         19 RHODA AVE                                                                                 HAVERSTRAW        NY   10927‐1007
SULLIVAN, JEROME T         1500 MONTERREY NE                                                                            RIO RANCHO        NM   87144‐1584
SULLIVAN, JERRY            2827 OCONNOR CT                                                                              FREDERICKSBURG    VA   22408‐8059
SULLIVAN, JERRY L          1100 FOX RUN RD                                                                              MILFORD           OH   45150‐2822
SULLIVAN, JIM P            PO BOX 201                                                                                   SPENCER           TN   38585‐0201
SULLIVAN, JIMMIE D         9945 FOUNTAIN CIR                                                                            LENEXA            KS   66220‐2694
SULLIVAN, JIMMY M          233 PARKER HOLLOW RD                                                                         ROCK ISLAND       TN   38581‐7055
SULLIVAN, JIMMY ROSS       BARON & BUDD                       THE CENTRUM, 3102 OAK LAWN                                DALLAS            TX   75219
                                                              AVE, STE 1100
SULLIVAN, JOANNE M         7828 LEGEND WOODS DR                                                                         GRAND LEDGE       MI   48837‐8936
SULLIVAN, JOE K            2541 LANKYS WAY                                                                              PINCKNEY          MI   48169‐9277
SULLIVAN, JOEL R           306 3RD AVE                                                                                  MANISTEE          MI   49660‐1306
SULLIVAN, JOHN             1330 SW 47TH TER APT 106                                                                     CAPE CORAL        FL   33914‐6361
SULLIVAN, JOHN             7109 BREKENRIDGE DR                                                                          FORT WORTH        TX   76179‐2572
SULLIVAN, JOHN B           382 OAK VALLEY LOOP                                                                          WINCHESTER        OR   97495‐8937
SULLIVAN, JOHN B           54 BAMBOO LN                                                                                 HICKSVILLE        NY   11801‐4515
SULLIVAN, JOHN D           2453 TAM O SHANTER RD                                                                        KOKOMO            IN   46902‐3106
SULLIVAN, JOHN E           11015 MELROSE ST                                                                             LIVONIA           MI   48150‐2886
SULLIVAN, JOHN E           44374 WEST OSTER DRIVE                                                                       MARICOPA          AZ   85238‐8585
SULLIVAN, JOHN E           5422 GREEN BANK DR                                                                           GRAND BLANC       MI   48439‐9572
SULLIVAN, JOHN E           4767 PARKMAN CT                                                                              ANNANDALE         VA   22003‐5046
SULLIVAN, JOHN E           44374 W OSTER DR                                                                             MARICOPA          AZ   85239
SULLIVAN, JOHN EDWARD      44374 WEST OSTER DRIVE                                                                       MARICOPA          AZ   85238‐8585
SULLIVAN, JOHN F           SIMMONS FIRM                       PO BOX 559                                                WOOD RIVER        IL   62095‐0559
SULLIVAN, JOHN F           24885 HAYES ST                                                                               TAYLOR            MI   48180‐2104
SULLIVAN, JOHN L           5692 JENNIFER DR E                                                                           LOCKPORT          NY   14094‐6008
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Name                     Address1                                Address2                           Address3   Address4         City              State Zip
SULLIVAN, JOHN M         5190 CONNORS LN                                                                                        HIGHLAND           MI 48356‐1514
SULLIVAN, JOHN M         7513 PELBROOK FARM DR                                                                                  CENTERVILLE        OH 45459‐5015
SULLIVAN, JOHN N         1273 STATE ROUTE 5 LOT 309                                                                             ELBRIDGE           NY 13060‐9645
SULLIVAN, JOHN P         280 PROSPECT AVE APT 1G                                                                                HACKENSACK         NJ 07601‐2537
SULLIVAN, JOHN R         3800 VALLEYWOOD DR                                                                                     KETTERING          OH 45429‐4306
SULLIVAN, JOHN T         3441 BROWN AVE                                                                                         FORT WORTH         TX 76111‐4603
SULLIVAN, JOHN W         505 N WARNER ST                                                                                        BAY CITY           MI 48706‐4447
SULLIVAN, JOHN W         727 BEERY BLVD                                                                                         UNION              OH 45322‐2906
SULLIVAN, JOHN W         LAVIN COLEMAN ONEIL RICCI FINARELLI &   10TH FLR, PENN MUTUAL BUILDIN, G                               PHILADELPHIA       PA 19106
                         GRAY                                    510 WALNUT STREET
SULLIVAN, JOHNETTA       3241 MAYFIELD RD APT 8                                                                                 CLEVELAND HTS     OH   44118‐1868
SULLIVAN, JOHNNIE J      24872 HAYES ST                                                                                         TAYLOR            MI   48180‐2105
SULLIVAN, JOHNNY L       501 E AND WEST ST                                                                                      MINDEN            LA   71055‐2652
SULLIVAN, JOSEPH D       APT C                                   325 MICHIGAN STREET                                            LOCKPORT          NY   14094‐1740
SULLIVAN, JOSEPH E       64 STOCK ST                                                                                            STRATFORD         CT   06614‐2705
SULLIVAN, JOSEPH M       31 TIMBER LN                                                                                           WATERBURY         CT   06705‐3608
SULLIVAN, JOSEPH W       2809 FIELDING STREET                                                                                   FLINT             MI   48503‐3072
SULLIVAN, JOY E          8347 EAST LAS ESTANCIAS STREET                                                                         SCOTTSDALE        AZ   85250‐4802
SULLIVAN, JOYCE E        2385 SKYVISTA DRIVE W                                                                                  SEMMES            AL   36575‐7133
SULLIVAN, JOYCE E        2385 SKY VISTA DR W                                                                                    SEMMES            AL   36575‐7133
SULLIVAN, JOYCE P        3480 SHATTUCK RD #3                                                                                    SAGINAW           MI   48603‐7007
SULLIVAN, JR.,RONALD D   5108 STATE ROUTE 59 LOT C10                                                                            RAVENNA           OH   44266‐8821
SULLIVAN, JUDITH A       2859 CHARLOTTE ST                                                                                      PORTAGE           IN   46368‐3618
SULLIVAN, JUDY A         14716 ROSE CT                                                                                          WARREN            MI   48088‐3321
SULLIVAN, JULIA A        54 BAMBOO LN                                                                                           HICKSVILLE        NY   11801‐4515
SULLIVAN, JULIE A        8180 E NORTH SHORE DR                                                                                  UNIONVILLE        IN   47468‐9768
SULLIVAN, JULIE A.       8180 E NORTH SHORE DR                                                                                  UNIONVILLE        IN   47468‐9768
SULLIVAN, KAREN L        8325 TERRI DR                                                                                          WESTLAND          MI   48185‐7069
SULLIVAN, KARON N        OBRIEN LAW FIRM                         1 METROPOLITAN SQ STE 1500                                     SAINT LOUIS       MO   63102‐2799
SULLIVAN, KATHLEEN A     5119 PINE SHADOW LN                                                                                    NORTH PORT        FL   34287‐2345
SULLIVAN, KATHLEEN R     522 CAROLIAN DR                                                                                        LAKE ZURICH       IL   60047
SULLIVAN, KATHY          GLEN RUTHERFORD                         MEDICAL ARTS BUILDING, 8TH FLR.,                               KNOXVILLE         TN   37901
                                                                 603 MAIN AVE., PO BOX 1668

SULLIVAN, KENNETH W      12620 SE 74TH ST                                                                                       OKLAHOMA CITY     OK   73150‐7407
SULLIVAN, KEVIN D        UNIT B                                  3512 BLUEGILL WAY                                              HENDERSON         NV   89014‐2138
SULLIVAN, KEVIN D        19578 PIKE 266                                                                                         EOLIA             MO   63344‐4014
SULLIVAN, KEVIN D        3512 BLUEGILL WAY UNIT B                                                                               HENDERSON         NV   89014‐2138
SULLIVAN, KEVIN F        43135 STRAND DRIVE                                                                                     STERLING HTS      MI   48313‐2753
SULLIVAN, KEVIN M        22604 W 53RD PL                                                                                        SHAWNEE           KS   66226‐2601
SULLIVAN, KEVIN P        548 FOXBORO SQ                                                                                         BRIGHTON          MI   48116‐1103
SULLIVAN, KEVIN W        621 TIMBERWOOD LN                                                                                      SAGINAW           MI   48609‐8507
SULLIVAN, KIM            215 PARK PLACE AVE                                                                                     BRADLEY BEACH     NJ   07720‐1428
SULLIVAN, KIRK A         13417 STATE ROUTE 694                                                                                  OTTAWA            OH   45875‐9209
SULLIVAN, KYLE P         1650 SNOWDEN CIR                                                                                       ROCHESTER HILLS   MI   48306‐3658
SULLIVAN, LADONNA M      1140 CHIPPEWA                                                                                          LAKE ORION        MI   48362
SULLIVAN, LANCE          1248 BRIDGETON PARK DR                                                                                 BRENTWOOD         TN   37027‐8340
SULLIVAN, LARRY K        14622 POWER DAM RD                                                                                     DEFIANCE          OH   43512‐8816
SULLIVAN, LAURA L        106 COURIER CT NE                                                                                      LEESBURG          VA   20176
SULLIVAN, LAUREL         PO BOX 323                                                                                             OGDEN             KS   66517‐0323
SULLIVAN, LAWRENCE V     5134 DAYTON DR                                                                                         TROY              MI   48085‐4051
SULLIVAN, LEO D          1544 CASTLE DR                                                                                         PETOSKEY          MI   49770‐8781
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Name                   Address1                          Address2                  Address3   Address4         City                State Zip
SULLIVAN, LESLIE T     2299 SCHIMPERLE DR NE                                                                   GRAND RAPIDS         MI 49525‐2034
SULLIVAN, LINDA C      2889 BRIDGESTONE CIR                                                                    KOKOMO               IN 46902‐7007
SULLIVAN, LINDA J      G3329 CHEYENNE                                                                          BURTON               MI 48529
SULLIVAN, LINDA K      2935 N 48TH ST                                                                          KANSAS CITY          KS 66104‐2316
SULLIVAN, LINDA S      5395 SHERMAN RD                                                                         SAGINAW              MI 48604‐1148
SULLIVAN, LISA E       3364 BENSTEIN RD                                                                        COMMERCE TOWNSHIP    MI 48382‐1901
SULLIVAN, LISA M       220 FOXGLOVE LN                                                                         MILTON               WI 53563‐1697
SULLIVAN, LLOYD        GOLDENBERG, MILLER, HELLER &      PO BOX 959                                            EDWARDSVILLE          IL 62025‐0959
                       ANTOGNOLI
SULLIVAN, LOLA         583 BROOKSHIRE WAY                                                                      KNOXVILLE           TN   37923
SULLIVAN, LORI A       2393 S SAINT CLAIR RD                                                                   SAINT JOHNS         MI   48879‐9018
SULLIVAN, LORI J       50185 OAK VIEW CT                                                                       PLYMOUTH            MI   48170‐6352
SULLIVAN, LORRAINE     10 W PROSPECT ST                                                                        NEW HAVEN           CT   06515‐1607
SULLIVAN, LUCAS A      4565 HAMPSHIRE PIKE                                                                     HAMPSHIRE           TN   38461‐4559
SULLIVAN, LYNN MARIE   6853 SALINE DR                                                                          WATERFORD           MI   48329
SULLIVAN, MABEL        1691 LONG LAKE RD                                                                       ORLEANS             MI   48865‐9679
SULLIVAN, MABEL        1691 W LONG LAKE RD                                                                     ORLEANS             MI   48865‐9679
SULLIVAN, MARC F       526 N LAKE ST APT 146                                                                   BOYNE CITY          MI   49712
SULLIVAN, MARGARET M   67 DOGWOOD RD                                                                           BOONTON             NJ   07005‐2411
SULLIVAN, MARIE E      2508 KENSINGTON WAY                                                                     ELIZABETH TOWN      KY   42701
SULLIVAN, MARIE F      6557 SW EBB AVE                   C/O MARGARET A SULLIVAN                               LINCOLN CITY        OR   97367‐1035
SULLIVAN, MARILYN A.   9816 CHURCH RD                                                                          HURON               OH   44839‐9750
SULLIVAN, MARION K     206 PHAUFF CT                     C/O KEEGAN PHILLIPS                                   CARY                NC   27513‐4217
SULLIVAN, MARION L     13320 NEW HOPE WHITE OAK STN RD                                                         SAIDINA             OH   45171‐9733
SULLIVAN, MARJORIE C   733 BEE ST                                                                              MERIDEN             CT   06450‐2514
SULLIVAN, MARK A       892 MILLBROOK DR                                                                        AVON                IN   46123‐7454
SULLIVAN, MARK E       1674 HIGH HOLLOW DR                                                                     ANN ARBOR           MI   48103‐9242
SULLIVAN, MARK E       33 OLDE ERIE TRL                                                                        ROCHESTER           NY   14626‐4011
SULLIVAN, MARK T       2269 LYELL AVE APT 10B                                                                  ROCHESTER           NY   14606‐5732
SULLIVAN, MARK W       1992 PONDVIEW CT                                                                        ROCHESTER HILLS     MI   48309‐3303
SULLIVAN, MARLYN R     PO BOX 83                                                                               THOMPSON            OH   44086‐0083
SULLIVAN, MARTHA R     803 MIAMI BLVD                                                                          KOKOMO              IN   46902‐5386
SULLIVAN, MARTIN E     19130 GEORGIA ST                                                                        ROSEVILLE           MI   48066‐4108
SULLIVAN, MARTIN J     1 MISTLETOE LN                                                                          LEVITTOWN           PA   19054‐2032
SULLIVAN, MARVIN       403 RAYS RD                                                                             STONE MOUNTAIN      GA   30083‐4246
SULLIVAN, MARVIN       403 RAYS ROAD                                                                           STONE MTN           GA   30083‐4246
SULLIVAN, MARY         154 REDSTONE ST                                                                         BRISTOL             CT   06010‐7935
SULLIVAN, MARY A       15544 WABASH ST                                                                         DETROIT             MI   48238‐1534
SULLIVAN, MARY A       141 CITRUS RD NE                                                                        LAKE PLACID         FL   33852‐6044
SULLIVAN, MARY A       157 COTTAGE STATE                 APT. 3                                                LOCKPORT            NY   14094
SULLIVAN, MARY E       38 HIGHLAND DR                                                                          LOCKPORT            NY   14094‐1704
SULLIVAN, MARY J       3324 EARLY RD                                                                           DAYTON              OH   45415‐2707
SULLIVAN, MARY L       11734 E 450 N                                                                           GREENTOWN           IN   46936‐9541
SULLIVAN, MARY M       8580 GWILADA DR                                                                         CINCINNATI          OH   45236‐1538
SULLIVAN, MARY P       26608 S DIGSWELL CT                                                                     SUN LAKES           AZ   85248‐7110
SULLIVAN, MAUREEN A    2629 GOLFVIEW DR APT 101                                                                TROY                MI   48084‐3811
SULLIVAN, MAX A        12515 SOUTH 950 EAST                                                                    GALVESTON           IN   46932
SULLIVAN, MICHAEL      6675 TAMMANY DR                                                                         SHREVEPORT          LA   71107‐8639
SULLIVAN, MICHAEL D    731 CHARTER WOODS DR                                                                    INDIANAPOLIS        IN   46224‐6131
SULLIVAN, MICHAEL D    5777 CARO RD                                                                            VASSAR              MI   48768‐9757
SULLIVAN, MICHAEL E    39 S MUSTIN DR                                                                          ANDERSON            IN   46012‐3153
SULLIVAN, MICHAEL E    7081 MARSTELLA DR                                                                       BROWNSBURG          IN   46112‐8440
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Name                       Address1                             Address2                       Address3   Address4         City              State Zip
SULLIVAN, MICHAEL EUGENE   7081 MARSTELLA DR                                                                               BROWNSBURG         IN 46112‐8440
SULLIVAN, MICHAEL F        2766 LYDIA ST SW                                                                                WARREN             OH 44481‐8619
SULLIVAN, MICHAEL J        177 CORUNNA AVE                                                                                 FAIRLAWN           OH 44333‐3715
SULLIVAN, MICHAEL M        4344 HUNTWICKE CT                                                                               HILLIARD           OH 43026‐8260
SULLIVAN, MICHAEL O        2510 W CARTER ST                                                                                KOKOMO             IN 46901‐7076
SULLIVAN, MICHAEL P        117 WREXHAM CT S                                                                                TONAWANDA          NY 14150‐8813
SULLIVAN, MICHAEL R        1735 NEBRASKA AVENUE                                                                            FLINT              MI 48506‐4317
SULLIVAN, MICHAEL T        2323 OVERLOOK AVE                                                                               YOUNGSTOWN         OH 44509‐2206
SULLIVAN, MONICA M         50 TIOGA DR                                                                                     ROCHESTER          NY 14616‐2206
SULLIVAN, MORNINE          CLARK RANDY G                        PO BOX 1529                                                PIKEVILLE          KY 41502‐1529
SULLIVAN, MURRAY M         614 MULHOLLAND ST                                                                               BAY CITY           MI 48708‐7645
SULLIVAN, NANCY C          505 DORSET CIR                                                                                  GRAND BLANC        MI 48439‐1549
SULLIVAN, NANCY J          934 PENINSULA AVE APT 205                                                                       SAN MATEO          CA 94401‐1548
SULLIVAN, NEAL V           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                 STREET, SUITE 600
SULLIVAN, NEIL             LAW OFFICES OF MICHAEL B. SERLING     280 N OLD WOODWARD AVE STE                                BIRMINGHAM        MI 48009‐5394
                                                                 406
SULLIVAN, NEIL (426500)    C/O LAW OFFICES OF MICHAEL B. SERLING 280 N OLD WOODWARD AVE STE                                BIRMINGHAM        MI 48009‐5394
                                                                 406
SULLIVAN, NEIL C           17 GRAVEL HILL RD                                                                               ASBURY            NJ   08802‐1345
SULLIVAN, NEIL E           3063 KEEL CT                                                                                    TAVARES           FL   32778‐9203
SULLIVAN, NELLIE I         5764 SHIRL BAR CIR                                                                              MILFORD           OH   45150‐2349
SULLIVAN, NINA M           1114 BLOSSOM HEATH RD                                                                           LEBANON           OH   45036‐1498
SULLIVAN, NORMAN E         5419 KING RICHARD ST                                                                            SAN ANTONIO       TX   78229‐5238
SULLIVAN, NORMAN R         4101 MITCHELL DR                                                                                FLINT             MI   48506‐2048
SULLIVAN, OLAMAE           1702 WELCOME AVE                                                                                NATIONAL CITY     MI   48748‐9566
SULLIVAN, PARKER L         466 CHERRY RD                                                                                   SPARTA            TN   38583‐4703
SULLIVAN, PATRICIA         16857 OLE GRIST RUN                   OVERBROOK SHORES                                          MILTON            DE   19968‐3442
SULLIVAN, PATRICIA A       9226 BUTWELL ST                                                                                 LIVONIA           MI   48150‐5401
SULLIVAN, PATRICIA A       327 QUIET HARBOR DRIVE                                                                          HENDERSON         NV   89052‐2346
SULLIVAN, PATRICIA E       2580 S HIGHWAY A1A APT 47                                                                       MELBOURNE BEACH   FL   32951
SULLIVAN, PATRICIA J       14424 GRENWICH CT 1526‐5                                                                        SHELBY TOWNSHIP   MI   48315
SULLIVAN, PATRICK C        10230 SIMMS STATION RD                                                                          DAYTON            OH   45458‐9401
SULLIVAN, PATRICK N        472 N SPITE AVE                                                                                 GRAYLING          MI   49738‐7174
SULLIVAN, PATRICK W        10011 A DAMS                                                                                    LIVONIA           MI   48150
SULLIVAN, PATRICK W        C/O GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                                 STREET, SUITE 600
SULLIVAN, PATRICK W        40 FARM VIEW LN                                                                                 FORISTELL         MO   63348‐1074
SULLIVAN, PAUL             65 CARRIAGE WAY DR                    APT 307                                                   FITCHBURG         MA   01420‐7247
SULLIVAN, PAUL             65 CARRIAGE WAY DR APT 307                                                                      FITCHBURG         MA   01420
SULLIVAN, PAUL             APT 307                               65 CARRIAGE WAY DRIVE                                     FITCHBURG         MA   01420‐7247
SULLIVAN, PEARL M          4067 BROOKFIELD BLVD                                                                            STERLING HTS      MI   48310‐5536
SULLIVAN, PEARL Y          PO BOX 777                                                                                      PIKEVILLE         TN   37367‐0777
SULLIVAN, PEGGY R          36419 JOY RD                                                                                    WESTLAND          MI   48185‐1105
SULLIVAN, PETER F          G6327 MCKENZIE CIR                                                                              FLINT             MI   48507
SULLIVAN, PHILIP W         3380 CHICKERING LN                                                                              BLOOMFIELD        MI   48302‐1414
SULLIVAN, PHYLLIS J        4307 W 500 S                                                                                    PERU              IN   46970‐7461
SULLIVAN, PHYLLIS R        PO BOX 2328                                                                                     KOKOMO            IN   46904‐2328
SULLIVAN, POLLY A          1273 NEW HIGHWAY 7                                                                              COLUMBIA          TN   38401‐1555
SULLIVAN, RALPH L          8576 HENIZE RD                                                                                  GEORGETOWN        OH   45121‐9435
SULLIVAN, RAY L            11158 EASY ST                                                                                   FISHERS           IN   46038‐4617
SULLIVAN, RAYMOND D        715 S 600 E                                                                                     MARION            IN   46953‐9543
                         09-50026-mg            Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                     Address1                         Address2                    Address3   Address4         City              State Zip
SULLIVAN, REBECCA J      507 PLYMOUTH CT                                                                          ROCHESTER HLS      MI 48307‐4544
SULLIVAN, RHONDA D       2510 W CARTER ST                                                                         KOKOMO             IN 46901‐7076
SULLIVAN, RICHARD        129 SWALLOW LANE                                                                         OCEANSIDE          CA 92057‐6431
SULLIVAN, RICHARD        129 SWALLOW LN                                                                           OCEANSIDE          CA 92057‐6431
SULLIVAN, RICHARD        1779 E 236TH ST                                                                          EUCLID             OH 44117‐1956
SULLIVAN, RICHARD        5177 MAIN ST                                                                             PINCONNING         MI 48650‐7024
SULLIVAN, RICHARD A      2244 FORESTDEAN CT                                                                       DAYTON             OH 45459‐8416
SULLIVAN, RICHARD B      2514 VICTOR AVE                                                                          LANSING            MI 48911‐1734
SULLIVAN, RICHARD J      10819 S ROCKWELL ST                                                                      CHICAGO             IL 60655‐1215
SULLIVAN, RICHARD J      150 CLUB COURSE DR                                                                       HILTON HEAD        SC 29928‐3130
SULLIVAN, RICHARD L      PO BOX 1455                                                                              MAGEE              MS 39111‐1455
SULLIVAN, RICHARD P      11 ASSABET DR                                                                            WESTBOROUGH        MA 01581‐1837
SULLIVAN, RICHARD R      1024 WILLOWOOD CT                                                                        FENTON             MI 48430‐2282
SULLIVAN, RICHARD W      211 HURON AVE                    P.O. BOX 542                                            HARRISVILLE        MI 48740‐9676
SULLIVAN, ROBBY J        765 HEDWICK ST                                                                           NEW CARLISLE       OH 45344‐2618
SULLIVAN, ROBERT         ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE          MD 21202
                                                          CHARLES CENTER 22ND FLOOR
SULLIVAN, ROBERT B       1020 UMBREIT CT                                                                          MIAMISBURG        OH   45342‐4260
SULLIVAN, ROBERT C       22446 HAYES ST                                                                           TAYLOR            MI   48180‐2402
SULLIVAN, ROBERT D       205 WINSMERE WAY                                                                         RIDGELAND         MS   39157‐9441
SULLIVAN, ROBERT E       PO BOX 144                                                                               DOUGLAS           MA   01516‐0144
SULLIVAN, ROBERT E       1111 ROBIN HOOD LN                                                                       ROACH             MO   65787‐7019
SULLIVAN, ROBERT E       251 ASHLAND AVE                                                                          ZIONSVILLE        IN   46077‐1890
SULLIVAN, ROBERT E       PO BOX 144                       32 COTTAGE COLONY                                       DOUGLAS           MA   01516‐0144
SULLIVAN, ROBERT F       11609 S BURCH ST                                                                         OLATHE            KS   66061‐6603
SULLIVAN, ROBERT F       805 NE 74TH ST                                                                           GLADSTONE         MO   64118‐2130
SULLIVAN, ROBERT H       41140 FOX RUN                    APT 301                                                 NOVI              MI   48377‐4840
SULLIVAN, ROBERT L       102 N CAYCE LN                                                                           COLUMBIA          TN   38401‐5606
SULLIVAN, ROBERT L       2295 CHAPEL RD                                                                           JEFFERSON         OH   44047‐8720
SULLIVAN, ROBERT M       BOONE ALEXANDRA                  205 LINDA DR                                            DAINGERFIELD      TX   75638‐2107
SULLIVAN, ROBERT M       2580 S HIGHWAY A1A UNIT 47                                                               MELBOURNE BEACH   FL   32951
SULLIVAN, ROBERT W       431 PARADISE CV                                                                          SHADY SHORES      TX   76208‐5137
SULLIVAN, ROBERT/TN      506 WEST MAIN STREET                                                                     FRANKLIN          TN   37064
SULLIVAN, ROBERTA F      2002 BAL HARBOR BLVD UNIT 712                                                            PUNTA GORDA       FL   33950‐9211
SULLIVAN, RODNEY T       PO BOX 635                                                                               CONVERSE          IN   46919‐0635
SULLIVAN, ROGER D        6285 STATE ROUTE 132                                                                     GOSHEN            OH   45122‐9267
SULLIVAN, ROGER K        733 E 315TH ST                                                                           WILLOWICK         OH   44095‐4220
SULLIVAN, RON            DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                         NORTH OLMSTED     OH   44070
SULLIVAN, RONALD J       3903 HIGHWAY C                                                                           MOSCOW MILLS      MO   63362‐2607
SULLIVAN, RONALD L       4234 CONGRESSIONAL DR                                                                    MYRTLE BEACH      SC   29579‐6837
SULLIVAN, RONALD R       G‐3203 N MORRISH RD                                                                      FLUSHING          MI   48433
SULLIVAN, ROSALIE        605 BARCLAY DR                                                                           TOLEDO            OH   43609‐1507
SULLIVAN, ROSEMARY       3701 YAKOBI LN                                                                           NAPLES            FL   34119
SULLIVAN, ROSEMARY T     16019 23RD AVE                                                                           WHITESTONE        NY   11357‐3938
SULLIVAN, ROY E          8227 POST RD                                                                             WSHNGTN CT HS     OH   43160‐9345
SULLIVAN, RUBY LUCILLE   65 COUNTY ROAD 427 APT A                                                                 KILLEN            AL   35645‐7026
SULLIVAN, RUBY LUCILLE   65 COUNTY ROAD 427               APT # A                                                 KILLEN            AL   35645
SULLIVAN, RUSSELL G      1685 LINNET AVE                                                                          COLUMBUS          OH   43223‐2824
SULLIVAN, RUTH A         1200 CHATEAU DR                                                                          DAYTON            OH   45429‐4602
SULLIVAN, RUTH D         293 SENECA PARK AVE                                                                      ROCHESTER         NY   14617‐2433
SULLIVAN, RUTH S         PO BOX 967                       6103 BLOONFIELD RD                                      CAMBRIDGE         OH   43725‐0967
SULLIVAN, RYAN
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Name                   Address1                           Address2                      Address3   Address4         City               State Zip
SULLIVAN, SABRINA      232 TANGLEWOOD COURT                                                                         NASHVILLE           TN 37211
SULLIVAN, SAMUEL       PARNELL RONALD W                   PO BOX 81085                                              CONYERS             GA 30013‐9085
SULLIVAN, SAMUEL
SULLIVAN, SANDRA J     1610 SUMMERWOOD TRL                                                                          HIXSON             TN   37343
SULLIVAN, SANDRA L     13965 MEADOW LN                    STAR RTE BX 550                                           LYTLE CREEK        CA   92358‐9743
SULLIVAN, SAUNDRA D    3609 NICHOL AVE                                                                              ANDERSON           IN   46011‐3006
SULLIVAN, SCOTT C      17184 PENROD DR                                                                              CLINTON TOWNSHIP   MI   48035‐1237
SULLIVAN, SEAN
SULLIVAN, SEAN P       APT M406                           420 MARY ST                                               CRANBERRY TWP      PA   16066‐6352
SULLIVAN, SHANNON N    727 BEERY BLVD                                                                               UNION              OH   45322‐2906
SULLIVAN, SHEILA S     1530 GLASS LAKE CIRCLE                                                                       OXFORD             MI   48371‐3732
SULLIVAN, SHERYL L     1215 AMELITH RD                                                                              BAY CITY           MI   48706‐9380
SULLIVAN, SHIRLEY      15511 MINERVA AVE                                                                            DOLTON             IL   60419‐2722
SULLIVAN, SHIRLEY      15511 S. MINERVA ST                                                                          DOLTON             IL   60419
SULLIVAN, SHIRLEY D    1300 JAMES ST                                                                                WOODBURN           OR   97071‐3416
SULLIVAN, SHIRLEY D.   505 DORSET CIR                                                                               GRAND BLANC        MI   48439‐1549
SULLIVAN, SHIRLEY I    35 LOKER ST                                                                                  FRAMINGHAM         MA   01702‐6547
SULLIVAN, STANLEY      C/O GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                          STREET, SUITE 600
SULLIVAN, STANLEY D    133 MAUDLIN STREET                                                                           NOVI               MI   48377‐1845
SULLIVAN, STANLEY O    3739 PERKINS FARM RD                                                                         MARSHALLVILLE      GA   31057‐6441
SULLIVAN, STEPHEN M    226 MEADOWBROOK DR                                                                           CRANBERRY TWP      PA   16066‐3156
SULLIVAN, STEPHEN W    11003 TREYBURN DR                                                                            FISHERS            IN   46037‐8823
SULLIVAN, STEVEN P     2138 VAIL CT                                                                                 ANN ARBOR          MI   48108‐9695
SULLIVAN, STEVEN P     10908 KINNEVILLE RD                                                                          EATON RAPIDS       MI   48827‐9719
SULLIVAN, SUE A        65 AWOOD PL                                                                                  CHEEKTOWAGA        NY   14225‐2637
SULLIVAN, SUSAN        40 FARM VIEW LN                                                                              FORISTELL          MO   63348‐1074
SULLIVAN, SUSAN M      320 NICOLE CT                                                                                MCDONOUGH          GA   30252‐7061
SULLIVAN, SYBIL A      1129 OLIVE VILLAGE COURT                                                                     SAINT LOUIS        MO   63132‐3172
SULLIVAN, T J          837 WYNDEMERE WAY                                                                            NAPLES             FL   34105‐7167
SULLIVAN, TANYA R      3808 E 123RD ST                                                                              CLEVELAND          OH   44105‐2902
SULLIVAN, TERRENCE D   12121 VONN ROAD                    LOT 530                                                   LARGO              FL   33774
SULLIVAN, TERRENCE D   978 TIMBERLYNN TRAIL               LOT 107                                                   SANFORD            MI   48657
SULLIVAN, TERRENCE P   32120 ROSEVEAR ST                                                                            BEVERLY HILLS      MI   48025‐3919
SULLIVAN, TERRENCE S   312 JILLWOOD DR                                                                              ENGLEWOOD          OH   45322
SULLIVAN, TERRY        PO BOX 21                                                                                    BLUE ISLAND        IL   60406‐0021
SULLIVAN, TERRY
SULLIVAN, TERRY D      2219 S PINE ST                                                                               JANESVILLE         WI   53546‐6172
SULLIVAN, TEXAS C      89 MANHART ST                                                                                BUFFALO            NY   14215‐3224
SULLIVAN, THEODORE     PO BOX 13281                                                                                 DETROIT            MI   48213‐0281
SULLIVAN, THOMAS A     4239 LANETTE DR                                                                              WATERFORD          MI   48328‐3439
SULLIVAN, THOMAS A     1215 AMELITH RD                                                                              BAY CITY           MI   48706‐9380
SULLIVAN, THOMAS D     64 BOSCHERT CREEK DR                                                                         SAINT PETERS       MO   63376‐5957
SULLIVAN, THOMAS E     3439 E PARADISE LANE                                                                         PHOENIX            AZ   85032‐1868
SULLIVAN, THOMAS F     10 HEDGE LN                                                                                  LANCASTER          NY   14086‐1469
SULLIVAN, THOMAS H     PO BOX 291                                                                                   MANNS HARBOR       NC   27953‐0291
SULLIVAN, THOMAS J     23 CHICKADEE WAY                                                                             HAMILTON           NJ   08690‐3562
SULLIVAN, THOMAS O     PO BOX 36                                                                                    HAMPSHIRE          TN   38461
SULLIVAN, THOMAS P     40741 GASGLOW DR                                                                             STERLING HEIGHTS   MI   48310
SULLIVAN, THOMAS R     3380 COLUMBIA DR                                                                             WEST BRANCH        MI   48661‐9563
SULLIVAN, THOMAS V     SHANNON LAW FIRM                   100 W GALLATIN ST                                         HAZLEHURST         MS   39083‐3007
SULLIVAN, TIM J        1045 ROSS ST                                                                                 PLYMOUTH           MI   48170‐2116
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Name                                   Address1                            Address2                       Address3             Address4             City             State Zip
SULLIVAN, TIM J.                       1045 ROSS ST                                                                                                 PLYMOUTH          MI 48170‐2116
SULLIVAN, TIMOTHY                      PAUL REICH & MYERS PC               1608 WALNUT ST STE 500                                                   PHILADELPHIA      PA 19103‐5446
SULLIVAN, TIMOTHY C                    5351 TAYLOR LN                                                                                               CLARKSTON         MI 48346‐1746
SULLIVAN, TIMOTHY J                    3233 BEAVER RD                                                                                               BAY CITY          MI 48706‐8116
SULLIVAN, TIMOTHY J                    1432 WILDERNESS CT                                                                                           ROANOKE           TX 76262‐9052
SULLIVAN, TIMOTHY M                    49 KREBS RD                                                                                                  PLAINSBORO        NJ 08536‐1104
SULLIVAN, TIMOTHY M                    9624 W 3RD ST                                                                                                OCEAN CITY        MD 21842‐9679
SULLIVAN, TOBY L                       201 W PARK ST                                                                                                CONTINENTAL       OH 45831‐9134
SULLIVAN, TOMMIE H                     PO BOX 132                                                                                                   AUTAUGAVILLE      AL 36003
SULLIVAN, TOMMIE H                     6912 COLD SPRINGS RD                                                                                         COTTONDALE        AL 35453‐2011
SULLIVAN, TOMMIE L                     4429 WISNER ST                                                                                               SAGINAW           MI 48601‐6790
SULLIVAN, TOMMY R                      108 SEMINOLE CV                                                                                              TERRY             MS 39170‐9170
SULLIVAN, TRAVIS J                     128 COVINGTON BND                                                                                            WHITE HOUSE       TN 37188‐8024
SULLIVAN, TRAVIS JEROME                128 COVINGTON BND                                                                                            WHITE HOUSE       TN 37188‐8024
SULLIVAN, TROY C                       13332 STATE ROUTE 56 SE                                                                                      MT STERLING       OH 43143‐9109
SULLIVAN, TULLY C                      3203 DORITHAN RD                                                                                             BALTIMORE         MD 21215‐7501
SULLIVAN, VALERIE J                    16 N EUCLID AVE                                                                                              VILLA PARK         IL 60181‐2215
SULLIVAN, VALTA L                      4419 N US HWY 287                                                                                            ALVORD            TX 76225‐7918
SULLIVAN, VALTA L                      4419 N US HIGHWAY 287                                                                                        ALVORD            TX 76225‐7918
SULLIVAN, VERA J                       815 SUGAR CREEK RD                                                                                           BLUE RIDGE        GA 30513‐4060
SULLIVAN, VERA J                       1060 SUGAR CREEK RD                                                                                          BLUE RIDGE        GA 30513‐4061
SULLIVAN, VERONA N                     BOX 168                                                                                                      WILKINSON         IN 46186‐0168
SULLIVAN, VERONA N                     PO BOX 168                                                                                                   WILKINSON         IN 46186‐0168
SULLIVAN, VICKY L                      402 W M 61                                                                                                   GLADWIN           MI 48624‐8464
SULLIVAN, VICTOR J                     10757 N COUNTY ROAD 400 E                                                                                    PITTSBORO         IN 46167‐9217
SULLIVAN, VIDA T                       5245 W BROWN PL                                                                                              DENVER            CO 80227‐4137
SULLIVAN, VINCENT G                    134 HERITAGE CIR                                                                                             ROCHESTER         NY 14615‐1110
SULLIVAN, VIRGIL E                     25 S ADDISON ST                                                                                              INDIANAPOLIS      IN 46222‐4101
SULLIVAN, VIVIAN                       150 S MCGINTY ST                                                                                             DIAMOND            IL 60416‐9706
SULLIVAN, VIVIAN E                     15660 SCOTCHTOWN RD                                                                                          MONTPELIER        VA 23192‐2930
SULLIVAN, WALTER E                     480 OAK ORCHARD ESTATE                                                                                       ALBION            NY 14411‐1041
SULLIVAN, WARD, ASHER & PATTON, P.C.   ATTN: DAVID J. SELWOCKI, ESQ.       1000 MACCABEES CENTER          25800 NORTHWESTERN   P.O. BOX 222         SOUTHFIELD        MI 48037‐0222
                                                                                                          HIGHWAY
SULLIVAN, WESSIE D                     650 W TROPICANA CT                                                                                           KISSIMMEE        FL 34741‐1008
SULLIVAN, WILLIADEAN                   2356 NATIONAL ROAD                                                                                           FAIRBORN         OH 45324‐2009
SULLIVAN, WILLIAM                      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                              NORFOLK          VA 23510‐2212
                                                                           STREET, SUITE 600
SULLIVAN, WILLIAM A                    211 HARRISON CT                                                                                              GREENTOWN        IN   46936
SULLIVAN, WILLIAM D                    2705 GRANDMA BARNES RD                                                                                       NASHVILLE        IN   47448‐8882
SULLIVAN, WILLIAM E                    141 CITRUS RD NE                                                                                             LAKE PLACID      FL   33852‐6044
SULLIVAN, WILLIAM F                    DOVER DIXON HORNE PLLC              425 W CAPITOL AVE STE 3700                                               LITTLE ROCK      AR   72201‐3465
SULLIVAN, WILLIAM G                    1633 COVE PLACE                                                                                              MERRITT IS       FL   32952‐5967
SULLIVAN, WILLIAM H                    49 W ELFIN GRN                                                                                               PORT HUENEME     CA   93041‐1809
SULLIVAN, WILLIAM H                    4112 FULTON AVE                                                                                              MORAINE          OH   45439‐2122
SULLIVAN, WILLIAM H                    PO BOX 1095                                                                                                  FREDERICKSBURG   VA   22402‐1095
SULLIVAN, WILLIAM H                    3628 RIVER HEIGHTS XING SE                                                                                   MARIETTA         GA   30067‐4870
SULLIVAN, WILLIAM J                    38248 MEDVILLE DR                                                                                            STERLING HTS     MI   48312‐1259
SULLIVAN, WILLIAM J                    6771 N NORTH LAKE RD                                                                                         MAYVILLE         MI   48744‐9576
SULLIVAN, WILLIAM J                    GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                              NORFOLK          VA   23510‐2212
                                                                           STREET, SUITE 600
SULLIVAN, WILLIAM L                    GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                             SAGINAW           MI 48604‐2602
                                                                           260
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Name                                 Address1                         Address2                      Address3   Address4         City               State Zip
SULLIVAN, WILLIAM L                  32553 BARCLAY AQUARE                                                                       WARREN              MI 48093
SULLIVAN, WILLIAM M                  4839 PARAMOUNT DR NE                                                                       GRAND RAPIDS        MI 49525‐6860
SULLIVAN, WILLIAM M                  3862 STARSHINE TRL                                                                         BRIGHTON            MI 48114‐9286
SULLIVAN, WILLIAM N                  1255 CAMINO DEL RANCHO                                                                     HEMET               CA 92543‐6939
SULLIVAN, WILLIAM P                  632 SIMCOE AVE                                                                             FLINT               MI 48507‐1677
SULLIVAN, WILLIAM P                  2110 HWY 1629                                                                              CORBIN              KY 40701
SULLIVAN, WILLIAM T                  1159 BUCKINGHAM CIR                                                                        FRANKLIN            TN 37064‐5415
SULLIVAN, WILLIAM V                  1530 GLASS LAKE CIR                                                                        OXFORD              MI 48371‐3732
SULLIVAN, WILLIE E                   4500 NORWALK AVE                                                                           KNOXVILLE           TN 37914
SULLIVAN, WILMA L                    1001 BIRCHWOOD DR                                                                          KOKOMO              IN 46901‐6402
SULLIVAN, WINIFRED C                 1502 WESTCLIFF DR                                                                          NEWPORT BEACH       CA 92660‐5536
SULLIVAN, WOODROW B                  135 W CHURCH ST                                                                            NEWTON FALLS        OH 44444‐1555
SULLIVAN, YVONNE M                   22852 N 103RD AVE                                                                          PEORIA              AZ 85383‐2742
SULLIVAN, YVONNE T                   4952 LINSEY CT                                                                             WOODBRIDGE          VA 22193
SULLIVAN, ZENNIE L                   PO BOX 13091                                                                               TOLEDO              OH 43613‐0091
SULLIVAN, ZENNIE LEMAR               PO BOX 13091                                                                               TOLEDO              OH 43613‐0091
SULLIVAN,WILLIAM H                   4112 FULTON AVE                                                                            MORAINE             OH 45439‐2122
SULLIVAN‐ANDERSON, ELLEN P           103 DALE ST                                                                                DEDHAM              MA 02026‐3428
SULLIVAN‐PARKHILL AUTO INC           DAVID PARKHILL                   440 W ANTHONY DR                                          CHAMPAIGN            IL 61822‐1249
SULLIVAN‐PARKHILL AUTOMOTIVE, INC.   DAVID PARKHILL                   440 W ANTHONY DR                                          CHAMPAIGN            IL 61822‐1249

SULLIVAN‐PARKHILL AUTOMOTIVE, INC.   440 W ANTHONY DR                                                                           CHAMPAIGN           IL   61822‐1249

SULLIVAN‐PORTER, MICHELE M           1190 S MOJAVE RD TRLR 121                                                                  LAS VEGAS          NV    89104‐4440
SULLIVAN‐SCHEIN DENTAL               10920 W LINCOLN AVE                                                                        WEST ALLIS         WI    53227‐1130
SULLIVANS EQUIPMENT INC              PO BOX 843                                                                                 DANVILLE           IN    46122‐0843
SULLIVANS TWO OF REEDSBURG           81 W MAIN ST                                                                               REEDSBURG          WI    53959‐1557
SULLIVANT BARRY                      SULLIVANT, BARRY                 5980 ALLIANCE ROAD                                        MARIANNA           FL    32448
SULLIVANT, ANNE A                    PO BOX 69                                                                                  DOBBIN             TX    77333‐0069
SULLIVANT, BARRY                     5980 ALLIANCE RD                                                                           MARIANNA           FL    32448‐7230
SULLIVANT, SUZANNE H                 PO BOX 1508                                                                                INDEPENDENCE       MO    64055‐0508
SULLTROP, HERBERT H                  516 PILGRIM AVE                                                                            WENTZVILLE         MO    63385‐1429
SULLY'S AUTO REPAIR                  17552 METZLER LN STE B                                                                     HUNTINGTON BEACH   CA    92647‐6200
SULLY'S AUTO SALES & SERVICE, INC.   WILLIAM SULLIVAN                 452 BROAD ST                                              NEW LONDON         CT    06320‐2546
SULLY, LAWRENCE E                    2987 ORCHARD TRAIL DR                                                                      TROY               MI    48098‐5417
SULLY, LEOKADIA                      1122 DORAL DR                                                                              TROY               MI    48085‐6132
SULLY, LISA A                        2987 ORCHARD TRAIL DR                                                                      TROY               MI    48098‐5417
SULO SANDY                           12305 OAK FOREST LN                                                                        HUDSON             FL    34667‐2446
SULO, JOHN S                         PO BOX 99                                                                                  NAPLES             NC    28760
SULO, JOSEPH T                       315 N OAK ST                                                                               WEST CHICAGO       IL    60185‐2217
SULOFF FRANK J (626798)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA    23510
                                                                      STREET, SUITE 600
SULOFF, FRANK J                      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                      STREET, SUITE 600
SULONEN, CARL T                      1323 JEWEL BAY DR.                                                                         CORTLAND           OH    44410‐4410
SULOWSKI, STANLEY J                  15 LAURENTIAN DR                                                                           BUFFALO            NY    14225‐2755
SULPHUR SPRINGS ISD                  631 CONNALLY ST                                                                            SULPHUR SPRINGS    TX    75482‐2401
SULPIZIO ANDREA                      PO BOX 656                                                                                 HAYDEN             ID    83835‐0656
SULPIZIO, BRETT A                    3388 SHADYWOOD DR                                                                          LAMBERTVILLE       MI    48144‐9600
SULPIZIO, GABRIEL M                  340 KOERBER DR                   C/O PAUL W SULPIZIO                                       DEFIANCE           OH    43512‐3318
SULPIZIO, PAUL G                     137 FLOHR AVE                                                                              WEST SENECA        NY    14224‐1819
SULPIZIO, PAUL GARLD                 137 FLOHR AVE                                                                              WEST SENECA        NY    14224‐1819
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Name                        Address1                             Address2                        Address3   Address4               City                 State Zip
SULPIZIO, PAUL W            340 KOERBER DR                                                                                         DEFIANCE              OH 43512‐3318
SULSE, ANGEL C              95 STRATFORD DR                                                                                        COLONIA               NJ 07067‐2609
SULSER JR, CHARLES F        9191 FLETCHERS CHAPEL RD                                                                               KING GEORGE           VA 22485‐6711
SULSER, ALICE L             1362 VILLAGE DR                                                                                        ARLINGTON HEIGHTS      IL 60004‐4672
SULSER, MILDRED J           3413 DOVE HOLLOW CT                                                                                    PALM HARBOR           FL 34683‐2212
SULSKI, ROBERT B            37 GOHR LN                                                                                             BAY CITY              MI 48708‐9116
SULT, ARDEN L               14268 S 24TH ST                                                                                        VICKSBURG             MI 49097‐8785
SULT, BENJAMIN              708 W FRONT ST                                                                                         GRAND LEDGE           MI 48837‐1026
SULT, HARRY                 5255 N MISSION RD                                                                                      ROSEBUSH              MI 48878‐9741
SULTAN, K Z                 1212 S MICHIGAN AVE APT 2204                                                                           CHICAGO                IL 60605‐2461
SULTAN, K ZAHEERAH          1212 S MICHIGAN AVE APT 2204                                                                           CHICAGO                IL 60605‐2461
SULTAN, MYRNA C             4830 ADAMS POINTE CT                                                                                   TROY                  MI 48098‐4111
SULTANA, FRANK A            1577 RICHMOND AVE                                                                                      LINCOLN PARK          MI 48146‐3543
SULTANA, JOE                12431 N 74TH ST                                                                                        SCOTTSDALE            AZ 85260‐4750
SULTANA, JOSEPH M           11 TUDOR DR                                                                                            FARMINGDALE           NJ 07727‐3875
SULTANA, MICHAEL A          23500 LOWRIE DR                                                                                        GROSSE ILE            MI 48138‐1555
SULTANA, PAUL L             24759 CURRIER ST                                                                                       DEARBORN HTS          MI 48125‐1825
SULTANA, PAUL S             3224 SANDPOINT DR                                                                                      BRIGHTON              MI 48114‐7500
SULTON, DEBORAH R.          22301 MASONIC BLVD                                                                                     SAINT CLAIR SHORES    MI 48082‐1013
SULTON, JAMES G             244 KYSER BLVD APT 702                                                                                 MADISON               AL 35758
SULTZBAUGH BOB (491330)     BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD            OH 44067
                                                                 PROFESSIONAL BLDG
SULTZBAUGH KAREN            SULTZBAUGH, KAREN                    3 SUMMIT PARK DR STE 100                                          INDEPENDENCE         OH    44131‐2598
SULTZBAUGH, KAREN           KROHN & MOSS                         3 SUMMIT PARK DR STE 100                                          INDEPENDENCE         OH    44131‐2598
SULTZE, WILLIAM F           3890 LUDWIG RD                                                                                         OXFORD               MI    48371‐1421
SULTZER, KATHERINE V        3636 N LAYMAN AVE                                                                                      INDIANAPOLIS         IN    46218‐1848
SULTZER, KATHERINE V        3636 LAYMAN                                                                                            INDIANAPOLIS         IN    46218‐1848
SULUKI, GWENDOLYN D         207 WEST PHILADELPHIA                                                                                  FLINT                MI    48505‐3264
SULULAH MILOW SR            C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                                         HOUSTON              TX    77007
                            BOUNDAS LLP
SULVER JR, HOWARD D         904 RIDGE DR                                                                                           CADIZ                KY 42211‐8619
SULZBERGER, TERRY A         356 E LONGFELLOW ST                                                                                    KANSAS CITY          MO 64119‐1729
SULZER AG                   ATTN: CORPORATE OFFICER/AUTHORIZED   240 DETRICK ST                                                    DAYTON               OH 45404‐1699
                            AGENT
SULZER I I, BERNHARD D      6200 SWISS GARDEN RD                                                                                   TOLEDO               OH    43612‐4260
SULZER II, BERNHARD D       6200 SWISS GARDEN RD                                                                                   TOLEDO               OH    43612‐4260
SULZER PLASMA TECHNIK INC   1972 MEIJER DR                                                                                         TROY                 MI    48084‐7143
SULZER, EDITH R             1201 W 10TH ST #120                                                                                    LAPORTE              IN    46350‐7101
SULZER, LESTER              2312 PEAVINE CIR                                                                                       LAKELAND             FL    33810‐2328
SULZMAN, VERAINE L          905 BLOOR AVE                                                                                          FLINT                MI    48507‐1649
SULZMANN JR, WILLIAM E      PO BOX 1139                                                                                            DUNDEE               FL    33838‐1139
SULZMANN JR, WILLIAM E      136 YORK ST                                                                                            WINTER HAVEN         FL    33884
SULZMANN, DALLAS J          2479 BETTY LN                                                                                          FLINT                MI    48507‐3530
SULZMANN, DEBORAH ANN       7326 LAPEER RD                                                                                         DAVISON              MI    48423‐2533
SUM ANG SIRAYOTHIN          9128 CHESTERFIELD DR                                                                                   SWARTZ CREEK         MI    48473‐1122
SUM YEE LOONG               95 S BRIDGE RD #0900 PIDEMCO CTR                                                SINGAPORE 0105
                                                                                                            SINGAPORE
SUMA JR, STANLEY J          520 SHOREWOOD DR                                                                                       SHOREWOOD             IL   60404‐9727
SUMA, DEAN W                961 SOUTH BROADWAY                                                                                     PERU                  IN   46970‐3027
SUMA, JAMES C               961 S BROADWAY                                                                                         PERU                  IN   46970‐3027
SUMAKITIS, MILDRED          4955 GRIST MILL CIRCLE                                                                                 NEW PORT RICHEY       FL   34655‐1309
SUMAN
                                     09-50026-mg              Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                                Address1                            Address2                    Address3   Address4                City                   State Zip
SUMAN BOHM                          1 POLARIS DR                                                                                       NEWARK                  DE 19711‐3049
SUMAN W. OLIVELLE                   10300 MORADO COVE                   UNIT #704                                                      AUSTIN                  TX 78759
SUMAN, DEAN A                       1216 WASHINGTON AVE                                                                                DEFIANCE                OH 43512‐2827
SUMAN, DEAN ALAN                    1216 WASHINGTON AVE                                                                                DEFIANCE                OH 43512‐2827
SUMAN, JACK D                       1589 S CLINTON ST                                                                                  DEFIANCE                OH 43512‐3263
SUMAN, PATRICK E                    1648 S CLINTON ST                                                                                  DEFIANCE                OH 43512‐3704
SUMAN, PATRICK EUGENE               1648 S CLINTON ST                                                                                  DEFIANCE                OH 43512‐3704
SUMAN, THOMAS F                     2511 HODDAM CT                                                                                     NAPERVILLE               IL 60564‐5837
SUMANTRAN, V                        2087 ROOKERY DR                                                                                    ROCHESTER HILLS         MI 48309‐4519
SUMARA, JOYCE D                     30905 TIMBERBROOK LN 10                                                                            BINGHAM FARMS           MI 48025
SUMARA, JOYCE D                     PO BOX 95                                                                  WEST GUILFORD ON
                                                                                                               CANADA K0M‐2S0
SUMARA,JOYCE D                      30905 TIMBERBROOK LN 10                                                                            BINGHAM FARMS          MI   48025
SUMARK SERVICES INC                 PO BOX 176                                                                                         VERSAILLES             OH   45380‐0176
SUMATECH INC                        11139 RED LION RD                                                                                  WHITE MARSH            MD   21162
SUMBAL, AHSAN                       4232 SUGAR MAPLE LN                                                                                OKEMOS                 MI   48864‐3225
SUMBAL, GHULAM H                    2143 WHITE OWL WAY                                                                                 OKEMOS                 MI   48864‐5206
SUMBAL, GHULAM R                    3081 SUMMERGATE LN                                                                                 OKEMOS                 MI   48864‐5919
SUMBAL, HASSAN                      2143 WHITE OWL WAY                                                                                 OKEMOS                 MI   48864‐5206
SUMBAL, MUHAMMAD A                  1435 SLEIGHSIDE DR                                                                                 LANSING                MI   48917‐8825
SUMBAL, MUHAMMAD A                  1816 S GENESEE DR                                                                                  LANSING                MI   48915‐1239
SUMBERA III, JOHN                   1304 LIBBY ARIAIL CIRCLE                                                                           CHAPIN                 SC   29036‐9740
SUMBLER QUEEN                       2960 SUSSEX RD                                                                                     FEASTERVILLE TREVOSE   PA   19053‐6734
SUMBRY, MARY                        2813 NEWCASTLE LN                                                                                  ALBANY                 GA   31701‐4312
SUMBS, BESSIE                       C/O JOAN BEIGANEK                   406 W WASHINGTON ST                                            BRAINERD               MN   56401
SUMCAD, ANTHONY J                   25322 SAINT JAMES                                                                                  SOUTHFIELD             MI   48075‐1243
SUMCO INC                           1351 S GIRLS SCHOOL RD                                                                             INDIANAPOLIS           IN   46231‐1352
SUMEEKO INDUSTRIES CO LTD           #20 HUAXI RD TA‐FA INDUSTRIAL       DIST KAOHSIUNG COUNTY 831              TAIWAN ROC TAIWAN
SUMEEKO INDUSTRIES CO LTD           20 HUAXI RD TA‐FA IND DIST          KAOHSING COUNTY                        TALIAO HSIANG 831
                                                                                                               TAIWAN
SUMEEKO INDUSTRIES CO LTD           20 HUAXI RD TA‐FA IND DIST                                                 TALIAO HSIANG, 831
                                                                                                               TAIWAN
SUMEER DOSANJH                      38805 HOLSWORTH CT                                                                                 FARMINGTON HILLS       MI   48331‐1604
SUMEET BHARGAVA                     351 W SQUIRE DR APT 6                                                                              ROCHESTER              NY   14623‐1769
SUMEIKA S BAKER                     888 PALLISTER ST APT 1203                                                                          DETROIT                MI   48202‐2674
SUMERA, ADRIENNE M                  THE MANORS (SHATTUCK MANORS)        ROOM #229                                                      SAGINAW                MI   48603
SUMERA, ROBERT R                    601 HERMOSA LN                                                                                     BOULDER CITY           NV   89005‐3154
SUMERIX, JUDY A                     5091 WINDMILL BLVD                                                                                 HOLT                   MI   48842‐9548
SUMERIX, LYNN A                     11144 COLUMBIA HWY                                                                                 EATON RAPIDS           MI   48827‐9214
SUMERLIN, MICHELE D                 110 IROQUOIS DR APT B                                                                              DAYTON                 OH   45449‐3970
SUMERLIN,MICHELE D                  110 IROQUOIS DR APT B                                                                              DAYTON                 OH   45449‐3970
SUMIDENSO MEDIATECH (SUZHOU) CO LTD NO 15 ZHONGXIN RD POYANG IND ZONE                                          SUZHOU JIANGSU 215143   SUZHOU JIANGSU              21514
                                                                                                               CHINA (PEOPLE'S REP)
SUMIE THAKER                        3359 PADDINGTON CT                                                                                 ROCHESTER HILLS        MI   48309‐3596
SUMIEC II, THOMAS E                 8300 BROOKHAVEN DRIVE                                                                              FRANKFORT              IL   60423‐8580
SUMIEC, BERNARD                     1433 W MEMORIAL DR APT 4                                                                           JANESVILLE             WI   53548‐1570
SUMIKA KNIGHT                       310 TAYLOR ST                                                                                      GADSDEN                AL   35903
SUMIKO JUDKINS                      2809 QUARRY STONE ST                                                                               MODESTO                CA   95355
SUMIKO KANE                         1415 TEXAS AVE                                                                                     GRAND JUNCTION         CO   81501‐6331
SUMILA, MARY A                      815 S STATE ST                                                                                     WESTVILLE              IL   61883‐1743
SUMILA, MARY A                      815 S STATE                                                                                        WESTVILLE              IL   61883‐1743
SUMINSKI, DAVID W                   14207 PECK DR                                                                                      WARREN                 MI   48088‐5743
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Name                               Address1                            Address2                          Address3                Address4                  City               State Zip
SUMINSKI, DENNIS J                 5500 JEANNE MARIE DR                                                                                                    WHITE LAKE          MI 48383‐4107
SUMINSKI, EDWARD J                 2486 S KINNICKINNIC AVE                                                                                                 MILWAUKEE           WI 53207‐1652
SUMINSKI, GERALD L                 88 KAREN LN                                                                                                             DEPEW               NY 14043‐1912
SUMINSKI, MARK G                   9523 E TOWNLINE RD                                                                                                      FRANKENMUTH         MI 48734‐9556
SUMINSKI, MARK GREGORY             9523 E TOWNLINE RD                                                                                                      FRANKENMUTH         MI 48734‐9556
SUMINSKI, STEPHEN M                48228 LINCOLN DR                                                                                                        MACOMB              MI 48044‐5012
SUMINSKI, WALTER M                 15640 DICE RD                                                                                                           HEMLOCK             MI 48626‐9653
SUMIRAN NERIYA                     27545 GATEWAY DR N APT 305                                                                                              FARMINGTON HILLS    MI 48334‐5079
SUMITOMA/BOWLING GRN               604 THREE SPRINGS RD                                                                                                    BOWLING GREEN       KY 42104‐7520
SUMITOMO                           SHI CRYOGENICS OF AMERICA INC       1833 VULTEE ST                                                                      ALLENTOWN           PA 18103‐4742
SUMITOMO CORP                      27777 FRANKLIN RD SUITE 1450                                                                                            SOUTHFIELD          MI 48034
SUMITOMO CORP                      MARK KIMURA                         359 MITCH MCCONNELL WAY                                                             JEFFERSONTOWN       KY 40299
SUMITOMO CORP                      RYO TOYAMA                          1718 JP HENNESSY DR                                                                 LA VERGNE           TN 37086‐3525
SUMITOMO CORPORATION OF AMERICA    6133 N RIVER RD STE 700                                                                                                 ROSEMONT             IL 60018‐5174

SUMITOMO CORPORATION OF AMERICA    27000 MEADOWBROOK RD STE 210        FRMLY SUMITOMO / SANYO                                                              NOVI                MI 48377‐3541

SUMITOMO ELE/JUAREZ                AV SANTIAGO BLANCAS Y CIRCUITO      PARQUE INDUSTRIA SALVARCAR                                JUAREZ MX 32670 MEXICO
SUMITOMO ELECTRIC                  OMEGA 1825 PARQUE IND OMEGA                                                                   JUAREZ CH 32320 MEXICO
SUMITOMO ELECTRIC EUROPE LIMITED   220 CENTENNIAL PARK                 CENTENNIAL AVENUE ELSTREE HERT                            ENGLAND WD6 3SL GREAT
                                                                                                                                 BRITAIN
SUMITOMO ELECTRIC EUROPE LTD       220 CENTENNIAL PARK CENTENNIA       AVENUE ELSTREE                                            BOREHAMWOOD
                                                                                                                                 HERTFORDSHIRE GB WD6
                                                                                                                                 3SL GREAT BRITAIN
SUMITOMO ELECTRIC INDUSTRIES LTD   4‐5‐33 KITAHAMA CHUO KU                                                                       OSAKA JP 541‐0041 JAPAN
SUMITOMO ELECTRIC INDUSTRIES LTD
SUMITOMO ELECTRIC INDUSTRIES LTD                                       4‐5‐33 KITAHAMA CHUO KU                                   OSAKA,JP,541‐0041,JAPAN
SUMITOMO ELECTRIC INDUSTRIES LTD                                       NO 15 ZHONGXIN RD POYANG IND                              SUZHOU
                                                                       ZONE                                                      JIANGSU,CN,215143,CHINA
                                                                                                                                 (PEOPLE'S REP)
SUMITOMO ELECTRIC INDUSTRIES LTD                                       SA SANTIAGO BLANCAS Y BLANCAS Y                           CD JUAREZ,DF,0,MEXICO

SUMITOMO ELECTRIC INDUSTRIES LTD   1018 ASHLEY ST                                                                                                          BOWLING GREEN      KY   42103‐2499
SUMITOMO ELECTRIC INDUSTRIES LTD   12110 ESTHER LAMA DR STE 100                                                                                            EL PASO            TX   79936‐7742
SUMITOMO ELECTRIC INDUSTRIES LTD   250 OLD MURDOCK RD                                                                                                      TROUTMAN           NC   28166‐9655
SUMITOMO ELECTRIC INDUSTRIES LTD   687 INDUSTRIAL DR                                                                                                       EDMONTON           KY   42129‐8944
SUMITOMO ELECTRIC INDUSTRIES LTD   AV SANTIAGO BLANCAS Y CIRCUITO                                                                CD JUAREZ CH 32670
                                                                                                                                 MEXICO
SUMITOMO ELECTRIC INDUSTRIES LTD   GUADLAJARA NOGALES KM 2                                                                       EMPALME SO 85340
                                                                                                                                 MEXICO
SUMITOMO ELECTRIC INDUSTRIES LTD   GUADLAJARA NOGALES KM 2             PARQUE INDUSTRIAL TETAKAWI                                EMPALME SO 85340
                                                                                                                                 MEXICO
SUMITOMO ELECTRIC INDUSTRIES LTD   MIKE ROTH                           687 INDUSTRIAL DRIVE                                                                HOWELL             MI 48843
SUMITOMO ELECTRIC INDUSTRIES LTD   NO 15 ZHONGXIN RD POYANG IND ZONE                                                             SUZHOU JIANGSU CN
                                                                                                                                 215143 CHINA (PEOPLE'S
                                                                                                                                 REP)
SUMITOMO ELECTRIC INDUSTRIES LTD   OMEGA 1825 PARQUE IND OMEGA                                                                   JUAREZ CH 32320 MEXICO
SUMITOMO ELECTRIC INDUSTRIES LTD   SA SANTIAGO BLANCAS Y BLANCAS Y                                                               CD JUAREZ DF 00000
                                                                                                                                 MEXICO
SUMITOMO ELECTRIC INDUSTRIES LTD   VINCE SMITH                         1‐14 NISHISUEHIRO‐CHO                                     FOIX FRANCE
SUMITOMO ELECTRIC INDUSTRIES LTD   VINCE SMITH                         12110 ESTHER LAMA STE 100                                                           BURTON              MI 48529
SUMITOMO ELECTRIC INDUSTRIES LTD   VINCE SMITH                         777 E MACARTHUR CIR STE 8         C/O CHAHTA ENTERPRISE                             TUCSON              AZ 85714‐1690
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Name                                Address1                           Address2                    Address3                   Address4                 City            State Zip
SUMITOMO ELECTRIC INDUSTRIES LTD    VINCE SMITH                        9600 JOE RODRIGUEZ STE 1    C/O SATURN ELECTRONICS                              EL PASO          TX 79927‐2139
SUMITOMO ELECTRIC INDUSTRIES LTD    VINCE SMITH                        C/O CHAHTA ENTERPRISE       777 E. MACARTHUR CIRCLE,                            OPELIKA          AL 36801
                                                                                                   STE 8
SUMITOMO ELECTRIC INDUSTRIES LTD    VINCE SMITH                        C/O SATURN ELECTRONICS      9600 JOE RODRIGUEZ SPACE                            EDINBURGH        IN
                                                                                                   ONE
SUMITOMO ELECTRIC INDUSTRIES LTD    WASHINGTON NO 3701                                                                        CHIHUAHUA CI 31210
                                                                                                                              MEXICO
SUMITOMO ELECTRIC WIRING INC        VINCE SMITH                        12110 ESTHER LAMA STE 100                                                       BURTON          MI 48529
SUMITOMO ELECTRIC WIRING SYS        MIKE ROTH                          687 INDUSTRIAL DRIVE                                                            HOWELL          MI 48843
SUMITOMO ELECTRIC WIRING SYS        VINCE SMITH                        C/O CHAHTA ENTERPRISE       777 E. MACARTHUR CIRCLE,                            OPELIKA         AL 36801
                                                                                                   STE 8
SUMITOMO ELECTRIC WIRING SYS        VINCE SMITH                        9600 JOE RODRIGUEZ STE 1    C/O SATURN ELECTRONICS                              EL PASO          TX   79927‐2139
SUMITOMO ELECTRIC WIRING SYS        VINCE SMITH                        C/O SATURN ELECTRONICS      9600 JOE RODRIGUEZ SPACE                            EDINBURGH        IN
                                                                                                   ONE
SUMITOMO ELECTRIC WIRING SYS        VINCE SMITH                        777 E MACARTHUR CIR STE 8   C/O CHAHTA ENTERPRISE                               TUCSON          AZ    85714‐1690
SUMITOMO ELECTRIC WIRING SYSTEM INC 12110 ESTHER LAMA DR STE 100                                                                                       EL PASO         TX    79936‐7742

SUMITOMO ELECTRIC WIRING SYSTEMS    687 INDUSTRIAL DR                                                                                                  EDMONTON         KY   42129‐8944
SUMITOMO ELECTRIC WIRING SYSTEMS    1018 ASHLEY ST                                                                                                     BOWLING GREEN    KY   42103‐2499
SUMITOMO HEAVY INDUSTRIES LTD       SUMITOMO #4 BLDG 6TH FL 4‐8‐4      KITAHAMA 4‐CHOME CHUO‐KU                               541‐0041 JAPAN JAPAN
                                                                       OSAKA
SUMITOMO MACHINERY CORPORATION OF JOHN GRESHAM                         4200 HOLLAND BLVD                                                               CHESAPEAKE      VA 23323‐1525
AMERICA
SUMITOMO METAL INDUSTRIES LTD     NO 8 XIANTANG RD YONGHE SECTION      GUANGZHOU GUANGDONG,        511356                     CHINA
SUMITOMO METAL INDUSTRIES LTD     101 CARLEY CT                                                                                                        GEORGETOWN       KY   40324‐9303
SUMITOMO METAL INDUSTRIES LTD     5‐1‐109 SHIMAYA KONOHANA‐KU                                                                 OSAKA 554‐0024 JAPAN
SUMITOMO METAL INDUSTRIES LTD     BILL KOUTSIS                         101 CARLEY CT.                                                                  WYANDOTTE       MI 48192
SUMITOMO METAL INDUSTRIES LTD     NO 8 XIANTANG RD YONGHE SECTION                                                             GUANGZHOU GUANGDONG
                                                                                                                              511356 CHINA (PEOPLE'S
                                                                                                                              REP)
SUMITOMO METAL INDUSTRIES LTD       SUMITOMO BLDG 4‐5‐33                                                                      CHIYODA‐U TOKYO 541‐
                                                                                                                              0041 JAPAN
SUMITOMO RUBBER INDUSTRIE LTD.      P.O. BOX 6161, SYDNEY, NEW SOUTH                                                          AUSTRALIA
                                    WALES 2060, AUSTRALIA
SUMITOMO RUBBER INDUSTRIE LTD.      RADIO TOWER RD.                                                                                                    OLNEY            IL
SUMITOMO RUBBER INDUSTRIE LTD.      3‐6‐9, WAKINOHAMACHO                                                                      CHUO‐KUKOBEHYOGO 651‐
                                                                                                                              0072 JAPAN
SUMITOMO RUBBER INDUSTRIES LTD      3‐3‐3 TOYOSU                       TOYOSU CENTER BLDG 4F                                  KOTO‐KU TOKYO JP 135‐
                                                                                                                              0061 JAPAN
SUMITOMO RUBBER INDUSTRIES LTD      MICHAEL GILZINGER                  BIRKENHAINER STR 77                                                             SPRINGFIELD     MO 65802
SUMITOMO WIRING SYSTEMS LTD         1 14 MISHI SUEHRIOCHO                                                                     YOKKAICI JAPAN
SUMITOMO WIRING SYSTEMS LTD.        VINCE SMITH                        1‐14 NISHISUEHIRO‐CHO                                  FOIX FRANCE
SUMITOMO/EL PASO                    22300 HAGGERTY RD                                                                                                  NORTHVILLE      MI    48167‐8987
SUMITOMO/PLYMOUT                    45300 POLARIS CT                                                                                                   PLYMOUTH        MI    48170‐6039
SUMITOMO/PLYMOUTH                   1018 ASHLEY ST                     ATTN: EDDY BOCK                                                                 BOWLING GREEN   KY    42103‐2499
SUMITOMO/SOUTHFIELD                 27777 FRANKLIN RD STE 1000                                                                                         SOUTHFIELD      MI    48034‐8227
SUMIYE SAKUMA                       10671 KEDGE AVE                                                                                                    GARDEN GROVE    CA    92843‐5357
SUMKOWSKI, SHEILA                   778 W BARRINGTON CIR                                                                                               JACKSON         MI    49203‐2583
SUMLAR, ROLAND W                    PO BOX 2141                                                                                                        LAGRANGE        GA    30241‐0044
SUMLAR, RONNY W                     325 ELEANOR DR                                                                                                     COVINGTON       GA    30016‐4326
SUMLER, BENJAMIN A                  4131 VALLEY RD                                                                                                     HARRISBURG      PA    17112‐2886
SUMLER, MACK E                      8898 ROBSON ST                                                                                                     DETROIT         MI    48228‐2361
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Name                             Address1                             Address2                  Address3         Address4                 City              State Zip
SUMLER, ODIS L                   382 UNIVERSITY DR                                                                                        PONTIAC            MI 48342‐2461
SUMLER, PERLINA M                1086 HIGHGATE DR                                                                                         FLINT              MI 48507‐3740
SUMLER, RUBY                     1975 WINGATE RD                                                                                          ATLANTA            GA 30341‐3313
SUMLER, RUBY                     COON & ASSOCS BRENT                  917 FRANKLIN ST STE 210                                             HOUSTON            TX 77002‐1751
SUMLER, WILLIE B                 3303 MANOR CT                                                                                            INDIANAPOLIS       IN 46218‐2310
SUMLIN ANDERSON, SHEILA G        15461 MYSTIC CIR                                                                                         PLYMOUTH           MI 48170‐2791
SUMLIN ANDERSON, SHEILA GAIL     15461 MYSTIC CIR                                                                                         PLYMOUTH           MI 48170‐2791
SUMLIN, CAROLYN                  729 W GRAND AVE APT 314                                                                                  DAYTON             OH 45406‐5330
SUMLIN, DEBORAH C                1531 SYLVIA CT                                                                                           CHARLOTTE          NC 28205‐7983
SUMLIN, FAYE J                   138 KIRKWOOD RD NE APT 21                                                                                ATLANTA            GA 30317‐1157
SUMLIN, GWENDOLYN                4653 OWENS DR                                                                                            DAYTON             OH 45406‐1342
SUMLIN, JESSIE J                 3860 WALES DR                                                                                            DAYTON             OH 45405‐1849
SUMLIN, JOYCE J                  2300 PINEY GROVE ROAD                                                                                    LOGANVILLE         GA 30052‐3639
SUMLIN, LAURA P                  3860 WALES DR                                                                                            DAYTON             OH 45405‐1849
SUMLIN, MATTIE P.                26743 S RIVER PARK DR                                                                                    INKSTER            MI 48141‐1851
SUMLIN, MATTIE P.                26743 S. RIVER PARK DRIVE                                                                                INKSTER            MI 48141
SUMLIN, MYRON                    949 FIVE OAKS AVE                                                                                        DAYTON             OH 45406‐5225
SUMLING, R. L                    20625 STRATFORD ROAD                                                                                     DETROIT            MI 48221‐1385
SUMMA HEALTH SYSTEM              PO BOX 714097                                                                                            COLUMBUS           OH 43271‐4097
SUMMA PHYSICIANS INC             PO BOX 75530                                                                                             CLEVELAND          OH 44101‐4755
SUMMA, ANTHONY J                 64 MELWOOD DR                                                                                            ROCHESTER          NY 14626
SUMMA, HANNAH J                  2736 E 2ND ST                        CROWN POINTE CIR.                                                   ANDERSON           IN 46012‐3257
SUMMA, KENNETH M                 3973 E 460 N                                                                                             RIGBY              ID 83442‐5101
SUMMA, MARDELLA K                3254 CEDARWOOD DR                                                                                        FAIRBORN           OH 45324‐2212
SUMMA, MAUREEN E                 88 GORSLINE ST                                                                                           ROCHESTER          NY 14613‐1204
SUMMA, NEAL J                    9316 N 300 E                                                                                             ALEXANDRIA         IN 46001‐8267
SUMMATION LEGAL TECHNOLOGY INC   100 BUSH ST STE 2000                                                                                     SAN FRANCISCO      CA 94104‐3922
SUMME, GEORGE D                  3262 S STATE ROAD 29                                                                                     BRINGHURST         IN 46913‐9669
SUMME, RICHARD A                 2217 BRIGHAM RD                                                                                          GREENSBORO         NC 27409
SUMMEIER, HENRY C                1100 MAPLE ST                                                                                            GREENWOOD          IN 46142‐3829
SUMMER BREEZE LAWNCARE           803 CESAR E CHAVEZ AVE                                                                                   PONTIAC            MI 48340‐2468
SUMMER D SMALL                   1932 NE 77TH ST                                                                                          GLADSTONE          MO 64118‐2039
SUMMER DEAN                      1100 MARLENE DR                                                                                          EVERMAN            TX 76140‐3622
SUMMER J HOWARD                  785 KENMORE AVE SE                                                                                       WARREN             OH 44484‐‐ 43
SUMMER LAKE INTERNATIONAL        ROBERT MILLER                        776 RIDGEVIEW DR                                                    NORCROSS           GA 30071
SUMMER LAKE INTERNATIONAL INC    ROBERT MILLER                        776 RIDGEVIEW DR                                                    NORCROSS           GA 30071
SUMMER LAKE INTERNATIONAL INC    776 RIDGEVIEW DR                                                                                         MCHENRY             IL 60050‐7054
SUMMER PALACE LTD                C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT       2 RAFFLES LINK   039392 MARINA BAYFRONT
                                 LIMITED                                                                         SINGAPORE
SUMMER PUTNAM                    1845 GREENWOOD RD                                                                                        LAPEER            MI   48446‐9336
SUMMER SMALL                     1932 NORTHEAST 77TH STREET                                                                               KANSAS CITY       MO   64118‐2039
SUMMER STREET GETTY & AUTOCARE   251 SUMMER ST                                                                                            ARLINGTON         MA   02474‐2819
SUMMER, CARMEN                   12112 HICKORYCREST                                                                                       MAXIMO            OH   44650
SUMMER, JAMES A                  3450 W KALAMO HWY                                                                                        CHARLOTTE         MI   48813‐9598
SUMMER, JR.,THOMAS D             7151 SPRINGBORO PIKE                                                                                     WEST CARROLLTON   OH   45449‐3605
SUMMER, THOMAS D                 445 VICTORIA DRIVE                                                                                       FRANKLIN          OH   45005‐5005
SUMMERBELL, DIANE T              11585 KIWI CT                                                                                            MORENO VALLEY     CA   92557‐5425
SUMMERER BRETT                   SUMMERER, BRETT                      30928 FORD RD                                                       GARDEN CITY       MI   48135‐1803
SUMMERER, BRETT                  CONSUMER LEGAL SERVICES P.C.         30928 FORD RD                                                       GARDEN CITY       MI   48135‐1803
SUMMERER, BRETT A                APT 14P                              30 WEST 63RD STREET                                                 NEW YORK          NY   10023‐7115
SUMMERER, BRETT A.               APT 14P                              30 WEST 63RD STREET                                                 NEW YORK          NY   10023‐7115
SUMMERER, RAYMOND E              1425 110TH AVE                                                                                           OTSEGO            MI   49078‐9711
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Name                               Address1                         Address2                         Address3                     Address4         City              State Zip
SUMMERER, ROY P                    1423 RICHARDSON ST                                                                                              PORT HURON         MI 48060‐3443
SUMMERFIELD AUTO REPAIR            234 E CAMA ST                                                                                                   CHARLOTTE          NC 28217‐1702
SUMMERFIELD FOODS INC              335 SHILOH VALLEY CT                                                                                            SANTA ROSA         CA 95403‐8085
SUMMERFIELD FOODS INC
SUMMERFIELD GLAVIS PAUL (483945)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                                     BALTIMORE         MD 21202
                                                                    CHARLES CENTER 22ND FLOOR
SUMMERFIELD JR, ROBERT J           8370 CLARK RD                                                                                                   GRAND LEDGE       MI   48837‐9227
SUMMERFIELD JR, WILLIAM F          11241 MARQUERITE AVE                                                                                            NEW PORT RICHEY   FL   34654‐1269
SUMMERFIELD SHAWN &                STE 201                          1502 WEST NC HIGHWAY 54                                                        DURHAM            NC   27707‐5572
SUMMERFIELD SUITES HOTEL           101 CORPORATE PARK DR                                                                                           WHITE PLAINS      NY   10604‐3301
SUMMERFIELD, AVANELL               510 SHELDON AVE                                                                                                 COLUMBUS          OH   43207
SUMMERFIELD, CARL D                17247 S SCENIC DR                                                                                               BARBEAU           MI   49710‐9405
SUMMERFIELD, CARL DOUGLAS          17247 S SCENIC DR                                                                                               BARBEAU           MI   49710‐9405
SUMMERFIELD, CHARLES RICHARD       7149 RANDEE ST                                                                                                  FLUSHING          MI   48433‐8817
SUMMERFIELD, CLARA                 8358 FRANCES RD                                                                                                 OTISVILLE         MI   48463‐9470
SUMMERFIELD, DOROTHY C             11119 E STANLEY RD               C/O WILLIAM M SUMMERFIELD                                                      DAVISON           MI   48423‐9308
SUMMERFIELD, DOROTHY C             C/O WILLIAM M SUMMERFIELD        11119 E STANLEY ROAD                                                           DAVISON           MI   48423
SUMMERFIELD, GERALD W              11300 MARQUERITE AVE                                                                                            NEW PRT RCHY      FL   34654‐1223
SUMMERFIELD, GLAVIS PAUL           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                                      BALTIMORE         MD   21202
                                                                    CHARLES CENTER 22ND FLOOR
SUMMERFIELD, HAROLD J              246 5TH ST                                                                                                      ELYRIA            OH   44035‐5722
SUMMERFIELD, HEDY L                1920 SNYDER AVE                                                                                                 BALTIMORE         MD   21222‐1712
SUMMERFIELD, HELEN                 80 VICTORIAN HILLLS DR                                                                                          OKEMOS            MI   48864‐3160
SUMMERFIELD, JAMES D               820 WAUKEE LN                                                                                                   SAGINAW           MI   48604‐1136
SUMMERFIELD, JOANN M               1403 KELSEY AVENUE                                                                                              LANSING           MI   48910‐2594
SUMMERFIELD, JOSEPH                2729 MEADOW DAWN LN                                                                                             DALLAS            TX   75237‐3209
SUMMERFIELD, LYLE J                4319 WOODS EDGE ST                                                                                              SAGINAW           MI   48603‐4245
SUMMERFIELD, MARY L                4456 ESTA DR                                                                                                    FLINT             MI   48506‐1454
SUMMERFIELD, ORA                   5160 BRUNSWICK DR                                                                                               VIENNA            OH   44473‐9626
SUMMERFIELD, PECOLA E              PO BOX 696                                                                                                      LONGS             SC   29568‐0696
SUMMERFIELD, RAY P                 PO BOX 696                                                                                                      LONGS             SC   29568‐0696
SUMMERFIELD, ROBERT J              9463 E COLBY RD                                                                                                 CRYSTAL           MI   48818‐9522
SUMMERFIELD, ROBERT L              108 N ELM ST                                                                                                    LAPEER            MI   48446‐2509
SUMMERFIELD, RUSSELL J             8358 FRANCES RD                                                                                                 OTISVILLE         MI   48463‐9470
SUMMERFIELD, VIOLET E              808 53RD AVE E RD                207 I STREET                                                                   BRADENTON         FL   34203
SUMMERFIELD, WILLIAM E             73 UNION ST S                                                                                                   BATTLE CREEK      MI   49017‐4811
SUMMERFIELD, WILLIAM M             11119 E STANLEY RD                                                                                              DAVISON           MI   48423‐9308
SUMMERFIELD, YOLANDA               11241 MARQUERITE AVE                                                                                            NEW PORT RICHEY   FL   34654‐1269
SUMMERHILL JAMES R                 SUMMERHILL, SUSAN L              CONSUMER LEGAL SERVICES          1950 SAWTELLE BLVD ‐ SUITE                    LOS ANGELES       CA   90025
                                                                                                     245
SUMMERHILL JAMES R                 SUMMERHILL, JAMES R              1950 SAWTELLE BLVD STE 245                                                     LOS ANGELES       CA   90025‐7017
SUMMERHILL, CHARLES M              123 MILNOR AVE                                                                                                  SYRACUSE          NY   13224‐1628
SUMMERHILL, ELIZABETH F            675 CLUBLAND CIR SE                                                                                             CONYERS           GA   30094‐3657
SUMMERHILL, EUGENIA                123 MILNOR AVE                                                                                                  SYRACUSE          NY   13224‐1628
SUMMERHILL, JAMES R                CONSUMER LEGAL SERVICES          1950 SAWTELLE BLVD STE 245                                                     LOS ANGELES       CA   90025‐7017
SUMMERHILL, SUSAN L                CONSUMER LEGAL SERVICES          1950 SAWTELLE BLVD STE 245                                                     LOS ANGELES       CA   90025‐7017
SUMMERLEE, JAMES G                 16 WESTLAND CT                                                                                                  BINGHAMTON        NY   13905‐4123
SUMMERLIN JEFFREY                  SUMMERLIN, JEFFREY               120 WEST MADISON STREET , 10TH                                                 CHICAGO           IL   60602
                                                                    FLOOR
SUMMERLIN, BECKY
SUMMERLIN, DELBERT L               6933 KIMBERLAND GARDENS LN                                                                                      LITHONIA          GA 30058‐6019
SUMMERLIN, DELBERT LENARD          6933 KIMBERLAND GARDENS LN                                                                                      LITHONIA          GA 30058‐6019
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Name                                 Address1                          Address2                          Address3   Address4         City                 State Zip
SUMMERLIN, JEFFREY                   KROHN & MOSS ‐ IL                 120 WEST MADISON STREET, 10TH                                 CHICAGO                IL 60602
                                                                       FLOOR
SUMMERLIN, JENNIFER
SUMMERLIN, KENNON                    1348 LANEFIELD RD                                                                               WARSAW               NC   28398‐8773
SUMMERLIN, SCOTT                     WOLFF ARDIS PC                    5810 SHELBY OAKS DR                                           MEMPHIS              TN   38134‐7315
SUMMERLIN, SCOTT                     HERRINGTON & WHITE                PO BOX 12463                                                  JACKSON              MS   39236‐2463
SUMMERLOT, BETTY                     409 S JEFFERSON ST                                                                              MARTINSVILLE         IN   46151‐2235
SUMMERLOT, DAMON L                   2350 MANGUS RD                                                                                  POLAND               IN   47868‐7119
SUMMERLOT, KATHLEEN                  P.O. BOX 494                                                                                    PLAINFIELD           IN   46168
SUMMERLOT, KATHLEEN                  PO BOX 494                                                                                      PLAINFIELD           IN   46168‐0494
SUMMERLOT, KENNETH C                 489 N GRAHAM ST                                                                                 MARTINSVILLE         IN   46151‐1182
SUMMERLOT, ROBERT J                  12462 S STATE ROAD 42                                                                           CLOVERDALE           IN   46120‐8640
SUMMEROUR JR, TIMOTHY                152 HONEYSUCKLE AVE                                                                             LAWRENCEVILLE        GA   30045‐4885
SUMMEROUR, ARTIE M                   1112 SEVEN SPRINGS CIR                                                                          MARIETTA             GA   30068‐2661
SUMMEROUR, LASALLE D                 230 FLINTLOCK TRL                                                                               STOCKBRIDGE          GA   30281‐1348
SUMMEROUR, LEE A                     1255 YOUNG CROSSING RD                                                                          LOUSVILLE            MS   39339‐6767
SUMMEROUR, MARGIE E                  623 HICKORY TRL SE                                                                              MABLETON             GA   30126
SUMMEROURS, JOHNNIE                  5503 BROOMALL ST                                                                                HUBER HEIGHTS        OH   45424
SUMMEROURS, LEONARD                  588 MICHAEL ETCHISON RD                                                                         MONROE               GA   30655‐8457
SUMMERS ARLIS (ESTATE OF) (639399)   COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                               CHICAGO              IL   60602
                                                                       FLOOR
SUMMERS BARBARA                      SUMMERS, BARBARA                  RR 2 BOX 49A                                                  GREENTOP             MO   63546
SUMMERS BLUE                         3547 OAKVIEW DR                                                                                 GIRARD               OH   44420‐3162
SUMMERS FLOYD N                      THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD           SUITE 44                    CORAL GABLES         FL   33146
SUMMERS FLOYD N                      C/O MCKENNA & CHIODO              436 BOULEVARD OF THE ALLIES ‐                                 PITTSBURGH           PA   15219
                                                                       SUITE 500
SUMMERS FLOYD N (507067)             (NO OPPOSING COUNSEL)
SUMMERS GROUP INC                    3514 INDUSTRIAL DR                                                                              BOSSIER CITY         LA   71112‐2502
SUMMERS GROVE AUTO CARE              9251 MANSFIELD RD                                                                               SHREVEPORT           LA   71118‐3124
SUMMERS I I, MICHAEL P               1093 WALES CENTER RD                                                                            WALES                MI   48027‐3117
SUMMERS II, MICHAEL P                1093 WALES CENTER RD                                                                            WALES                MI   48027‐3117
SUMMERS JILLIAN                      SUMMERS, JILLIAN                  30928 FORD RD                                                 GARDEN CITY          MI   48135‐1803
SUMMERS JR, BOBBY R                  1490 MURPHY HOLLOW RD                                                                           CUMBERLAND FURNACE   TN   37051‐5029
SUMMERS JR, JOHN I                   6372 BASSWOOD DR                                                                                PENTWATER            MI   49449‐9634
SUMMERS MARVIN L (184293)            BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG , 233 EAST                                JACKSONVILLE         FL   32202
                                     MCCLAMMA & YEGELWEL P.A.          BAY STREET
SUMMERS MICHAEL II                   SUMMERS, MICHAEL
SUMMERS MOTOR SALES, INC.            SCOTT SUMMERS                     1000 PIKE ST                                                  MARIETTA             OH   45750‐3500
SUMMERS MOTOR SALES, INC.            1000 PIKE ST                                                                                    MARIETTA             OH   45750‐3500
SUMMERS RICHARD                      SUMMERS, RICHARD                  539 APRICOT LANE                                              REEDS SPRING         MO   65737
SUMMERS ROBERT                       PO BOX 557                                                                                      BRIELLE              NJ   08730‐0557
SUMMERS RUBBER COMPANY               12555 BEREA RD                                                                                  CLEVELAND            OH   44111‐1619
SUMMERS SR, EUGENE R                 24036 DOUGLAS DR                                                                                PLAINFIELD           IL   60585‐8435
SUMMERS SR, MICHAEL J                1317 SISSON DR                                                                                  N TONAWANDA          NY   14120‐3067
SUMMERS SR, RICHARD T                161 COLGATE AVE                                                                                 BUFFALO              NY   14220‐2117
SUMMERS SR, RICHARD THOMAS           161 COLGATE AVE                                                                                 BUFFALO              NY   14220‐2117
SUMMERS TRUCKING INC                 RR 1 BOX 189                                                                                    HUNTSVILLE           MO   65259
SUMMERS WAYNE EUGENE                 2614 JUTLAND ST                                                                                 TOLEDO               OH   43613‐2004
SUMMERS WILLIAM M                    1444 S 9 MILE RD                                                                                MIDLAND              MI   48640‐9147
SUMMERS, ALFORNIA                    506 W FOSS AVE                                                                                  FLINT                MI   48505‐2087
SUMMERS, ALICE A                     43970 JUDD RD                                                                                   BELLEVILLE           MI   48111‐9237
SUMMERS, ANNA F.                     PO BOX 999                                                                                      LAKE ALFRED          FL   33850‐0999
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Name                     Address1                        Address2                         Address3   Address4         City               State Zip
SUMMERS, ANNE M          2024 3RD AVE APT 301                                                                         SEATTLE             WA 98121‐2433
SUMMERS, ANNIE M         7148 LINSDALE ST                                                                             DETROIT             MI 48204‐3345
SUMMERS, ANNIE M         7148 LINSDALE                                                                                DETROIT             MI 48204‐3345
SUMMERS, ARLIS           COONEY & CONWAY                 120 NORTH LASALLE STREET, 30TH                               CHICAGO              IL 60602
                                                         FLOOR
SUMMERS, ARVIN W         1980 HURON RD                                                                                HURON              TN   38345‐6935
SUMMERS, AUDRY A         2426 HARDING AVE                                                                             DAYTON             OH   45414‐3212
SUMMERS, AUGUST M        15545 BROOKVIEW CT                                                                           RIVERSIDE          CA   92504‐6133
SUMMERS, BARBARA         RR 2 BOX 49A                                                                                 GREENTOP           MO   63546‐9746
SUMMERS, BERNARD G       50806 VAN BUREN DR              PLYMOUTH HILLS                                               PLYMOUTH           MI   48170‐2399
SUMMERS, BETTY           1332 HIRA                                                                                    WATERFORD          MI   48328‐1518
SUMMERS, BETTY           1332 HIRA ST                                                                                 WATERFORD          MI   48328‐1518
SUMMERS, BILLIE R        4160 N IRISH RD                                                                              DAVISON            MI   48423‐8910
SUMMERS, BILLYE K.       11752 AVERY LN                                                                               BRIDGETON          MO   63044‐2119
SUMMERS, BOBBY R         25821 BERNADINE RD                                                                           NEW BOSTON         MI   48164‐9530
SUMMERS, BOBBY R         32217 ANNAPOLIS ST                                                                           WAYNE              MI   48184‐2247
SUMMERS, BRET F          13001 NORDLAND DR                                                                            CORONA             CA   92880‐3903
SUMMERS, CARL H          3419 PATTON DR                                                                               INDIANAPOLIS       IN   46224‐1367
SUMMERS, CARL L          3210 LAKESHORE RD                                                                            DECKERVILLE        MI   48427‐9630
SUMMERS, CAROLYN         2018 KICKAPOO TRL                                                                            FORNEY             TX   75126‐8249
SUMMERS, CAROLYN         1501 LITTLE GLOUCESTER RD       APT U22                                                      BLACKWOOD          NJ   08012
SUMMERS, CHARLES M       210 CAMBRIDGE DR                                                                             CHARLOTTE          MI   48813‐2116
SUMMERS, CHARLES R       404 W GIER ST                                                                                LANSING            MI   48906‐2945
SUMMERS, CHARLES S       38 COOL BREEZE DR APT C                                                                      BALTIMORE          MD   21220‐3408
SUMMERS, CHARLES W       346 LINCOLN RD                                                                               GALAX              VA   24333‐2340
SUMMERS, CHARLOTTE E     5216 JUSTIN DR                                                                               FLINT              MI   48507‐5100
SUMMERS, CHARLOTTE R     5189 HAMILTON RD                                                                             HARRISON           MI   48625‐9679
SUMMERS, CHARLOTTE R     7355 LAKESIDE DR                                                                             INDIANAPOLIS       IN   46278‐1618
SUMMERS, CHESTER P       1713 W 82ND ST                                                                               LOS ANGELES        CA   90047‐2738
SUMMERS, CHRISTOPHER S   34022 EDMONTON ST                                                                            FARMINGTON HILLS   MI   48335‐5234
SUMMERS, CLEO L          PO BOX 2248                                                                                  BARTLES VILLE      OK   74005‐2248
SUMMERS, CONNIE L        PO BOX 6577                                                                                  KOKOMO             IN   46904‐6577
SUMMERS, DANNY D         417 W GREEN ST                                                                               LEBANON            IN   46052‐2433
SUMMERS, DARLENE S       PO BOX 261                                                                                   ARKADELPHIA        AR   71923‐0261
SUMMERS, DAVID O         15430 MACARTHUR                                                                              REDFORD            MI   48239‐3917
SUMMERS, DELORSE J       1106 MORGAN ST                                                                               PULASKI            TN   38478
SUMMERS, DELORSE J       1106 MORGAN STREET                                                                           PULASKI            TN   38478‐4609
SUMMERS, DOLORES M       7375 RORY ST                                                                                 GRAND BLANC        MI   48439‐9349
SUMMERS, DONALD E        626 COLONY DR APT 3                                                                          TROY               MI   48083‐1563
SUMMERS, DONALD E        APT 3                           626 COLONY DRIVE                                             TROY               MI   48083‐1563
SUMMERS, DONALD L        HC 69 BOX 41D                                                                                WEST UNION         WV   26456‐8903
SUMMERS, DONALD R        136 BIG OAK LN                                                                               WILDWOOD           FL   34785‐9300
SUMMERS, DONALD R        11411 CULVER RD                                                                              BRIGHTON           MI   48114‐9026
SUMMERS, DONNA           235 N. 8TH                      P.O. BOX 15                                                  GOSPORT            IN   47433
SUMMERS, DOROTHY M       20407 MAIN STREET RD                                                                         SEDALIA            MO   65301‐1545
SUMMERS, DOROTHY M       20407 MAIN ST RD                                                                             SEDALIA            MO   65301‐1545
SUMMERS, DURYEA L        18087 ALCOY ST                                                                               DETROIT            MI   48205‐2735
SUMMERS, DURYEA L        8140 E 7 MILE RD APT 301                                                                     DETROIT            MI   48234
SUMMERS, E MARLENE       201 N OAK ST                                                                                 INA                IL   62846‐1007
SUMMERS, E MARLENE       201 N. OAK ST                                                                                INA                IL   62846‐1007
SUMMERS, EARL D          137 ALICIA DR                                                                                MOORESBORO         NC   28114‐9696
SUMMERS, EARNEST D       2253 FREEDOM AVE                                                                             MIMS               FL   32754‐3209
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Name                   Address1                         Address2                        Address3   Address4         City                State Zip
SUMMERS, EDDIE L       4507 SUNNYMEAD AVE                                                                           BURTON               MI 48519‐1278
SUMMERS, EDDIE LEE     4507 SUNNYMEAD AVE                                                                           BURTON               MI 48519‐1278
SUMMERS, EDGAR D       8001 W HEATHROW LN                                                                           YORKTOWN             IN 47396‐6844
SUMMERS, EDGAR L       646 E GRACELAWN AVE                                                                          FLINT                MI 48505‐5254
SUMMERS, EDNA M        16151 RICHARD DR                                                                             BROOK PARK           OH 44142‐3375
SUMMERS, EDWARD D      45 TOPAZ CIR                                                                                 CANFIELD             OH 44406‐9674
SUMMERS, ELIZABETH J   513 ROBERTS MILL RD                                                                          HIXSON               TN 37343‐1928
SUMMERS, ELMER C       PO BOX 2248                                                                                  BARTLESVILLE         OK 74005‐2248
SUMMERS, EMANUEL D     1309 E YALE AVE                                                                              FLINT                MI 48505‐1752
SUMMERS, EMMET S       1715 1/2 W 82ND ST                                                                           LOS ANGELES          CA 90047‐2738
SUMMERS, ERIE L        226 W PULASKI AVE                                                                            FLINT                MI 48505‐6400
SUMMERS, ESTHER L      825 KENT ST                                                                                  PORTLAND             MI 48875‐1742
SUMMERS, ETHEL M       4508 COLD SPRING RD                                                                          INDIANAPOLIS         IN 46228‐3019
SUMMERS, EUGENE        6045 MAIN ST                     APT #324                                                    DAYTON               OH 45415‐5415
SUMMERS, EUGENE        6045 N MAIN ST APT 324                                                                       DAYTON               OH 45415‐3184
SUMMERS, FLOYD N       MCKENNA & CHIDO                  436 BOULEVARD OF THE ALLIES ‐                               PITTSBURGH           PA 15219
                                                        SUITE 500
SUMMERS, FRANCES       24404 ICELAND PATH                                                                           LAKEVILLE           MN   55044‐7802
SUMMERS, FREDERICK     24652 ORCHARD ST                                                                             TAYLOR              MI   48180‐5102
SUMMERS, FREEDA L      1267 N CO RD 1100 E                                                                          GREENTOWN           IN   46936
SUMMERS, GARY R        951 BLUE HERON DR                                                                            HIGHLAND            MI   48357‐3903
SUMMERS, GEORGE R      530 SANTA MONICA DR                                                                          YOUNGSTOWN          OH   44505‐1142
SUMMERS, GEORGE W      32498 BRIDLE DR                                                                              EXCELSIOR SPRINGS   MO   64024‐5388
SUMMERS, GERALD B      5451 TWIN BRIDGE CIR                                                                         INDIANAPOLIS        IN   46239‐6841
SUMMERS, GERALD J      11648 FARLEY                                                                                 REDFORD             MI   48239‐2454
SUMMERS, GLENIA K      213 HOMER TURNBOW RD                                                                         HOHENWALD           TN   38462‐5394
SUMMERS, GLORIA F      13077 CLINTON STREET                                                                         ALDEN               NY   14004‐9304
SUMMERS, GORDON D      8083 PRESTONWOOD CT                                                                          FLUSHING            MI   48433‐1384
SUMMERS, GRACE W.      64 RAINTREE ISLAND APT 6                                                                     TONAWANDA           NY   14150‐2710
SUMMERS, GRACE W.      64 RAINTREE IS APT 6                                                                         TONAWANDA           NY   14150‐2710
SUMMERS, HAROLD D      16411 WOODLODGE CT                                                                           WILDWOOD            MO   63005‐7022
SUMMERS, HAZEL M       4290 BEECHGROVE DR                                                                           GROVE CITY          OH   43123‐3504
SUMMERS, HELEN S       3274 WILD PEPPER CT                                                                          DELTONA             FL   32725‐3000
SUMMERS, HERMAN L      3474 GRAND BLANC RD                                                                          SWARTZ CREEK        MI   48473‐8831
SUMMERS, HERMAN LEE    3474 GRAND BLANC RD                                                                          SWARTZ CREEK        MI   48473‐8831
SUMMERS, HERMAN R      1706 BITTERSWEET DR                                                                          ANDERSON            IN   46011‐9202
SUMMERS, HUBERT L      1628 REDSTONE CT                                                                             ST AUGUSTINE        FL   32092‐5028
SUMMERS, IVA T         5264 COBBLE GATE BLVD APTJ                                                                   MORAINE             OH   45439
SUMMERS, JACK R        341 DONALD CIR                                                                               FOREST HILL         MD   21050‐1304
SUMMERS, JACKIE L      20 EASTMAN RD                                                                                CHESTERFIELD        IN   46017‐1312
SUMMERS, JAMES A       PO BOX 375                                                                                   CONVERSE            IN   46919‐0375
SUMMERS, JAMES B       3701 BUCKINGHAM DRIVE                                                                        NORMAN              OK   73072‐1735
SUMMERS, JAMES B       195 W DAVISBURG RD                                                                           HOLLY               MI   48442‐8660
SUMMERS, JAMES K       3761 E. COUNTY ROAD, 150 N                                                                   ANDERSON            IN   46012
SUMMERS, JAMES L       1503 DALEY RD                                                                                LAPEER              MI   48446‐8700
SUMMERS, JAMES M       7355 LAKESIDE DR                                                                             INDIANAPOLIS        IN   46278‐1618
SUMMERS, JAMES MARK    7355 LAKESIDE DR                                                                             INDIANAPOLIS        IN   46278‐1618
SUMMERS, JAMES W       3740 EILEEN RD                                                                               KETTERING           OH   45429‐4106
SUMMERS, JAN A         520 W PARK AVE                                                                               KOKOMO              IN   46901‐5375
SUMMERS, JAN A         300 BRANDED BLVD                                                                             KOKOMO              IN   46901
SUMMERS, JANET H       7226 W 700 N                                                                                 FRANKTON            IN   46044‐9671
SUMMERS, JANET S       1008 FENLEY DR                                                                               LEBANON             IN   46052‐1410
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Name                    Address1                          Address2                        Address3   Address4         City              State Zip
SUMMERS, JANET S        1008 FENLEY DRIVE                                                                             LEBANON            IN 46052‐1410
SUMMERS, JERRY B        4701 N 16TH ST                                                                                OZARK              MO 65721‐7646
SUMMERS, JESSIE M       PO BOX 255                                                                                    SAINT ALBANS       NY 11412
SUMMERS, JESSIE M       POST OFFICE BOX 255                                                                           SAINT ALBANS       NY 11412‐0255
SUMMERS, JIMMIE L       3117 CHANCERY LN                                                                              SAINT CHARLES      MO 63301‐1094
SUMMERS, JOAN M         36812 HIBISCUS CT                                                                             ZEPHYRHILLS        FL 33542
SUMMERS, JOE E          319 N RICHARDS AVE                                                                            MIDWEST CITY       OK 73130‐3420
SUMMERS, JOHN           21426 PARK POST LN                                                                            KATY               TX 77450‐5315
SUMMERS, JOHN D         905 BLUEBIRD DR                                                                               MANCHACA           TX 78652‐4155
SUMMERS, JOHN E         PO BOX 246                                                                                    GREENBUSH          MI 48738‐0246
SUMMERS, JOHN I         206 S PRAIRIE ROSE CIR                                                                        SMITHVILLE         MO 64089‐8498
SUMMERS, JOHN J         2890 PICADILLY CIR                                                                            KISSIMMEE          FL 34747‐1645
SUMMERS, JOHN L         4436 ROSETHORN CIR                                                                            BURTON             MI 48509‐1217
SUMMERS, JOHN P         814 ELMWOOD DR                                                                                HUBBARD            OH 44425
SUMMERS, JOHN P         1601 E 8TH ST                                                                                 ANDERSON           IN 46012‐4135
SUMMERS, JOHN R         4190 NORWAY LAKE RD                                                                           PRESCOTT           MI 48756‐9237
SUMMERS, JOHN W         4301 TRUMBULL DR                                                                              FLINT              MI 48504‐3756
SUMMERS, JOHNATHAN T    11407 BALCONES DR                                                                             FRISCO             TX 75034‐7381
SUMMERS, JOYCE E        1423 CHATHAM DR                                                                               FLINT              MI 48505‐2591
SUMMERS, JUDITH C       4437 VALLEY AVE APT E                                                                         PLEASANTON         CA 94566‐5549
SUMMERS, JUSTIN BRYAN   1247 BEL AIR DR                                                                               FLINT              MI 48507‐3303
SUMMERS, KEITH E        3479 BREEZE POINT CT                                                                          LINDEN             MI 48451‐0900
SUMMERS, KENNETH D      5253 BIG TYLER RD                                                                             CHARLESTON         WV 25313‐1839
SUMMERS, KENNETH P      547 E 1100 N                                                                                  ALEXANDRIA         IN 46001
SUMMERS, KENNETH R      5 ORVILLE CT                                                                                  SPRINGBORO         OH 45066‐8575
SUMMERS, KENNETH W      PO BOX 214208                                                                                 AUBURN HILLS       MI 48321‐4208
SUMMERS, KERRY D        1410 TALLWOOD CT                                                                              BOWLING GREEN      KY 42103‐4765
SUMMERS, KERRY DALE     1410 TALLWOOD CT                                                                              BOWLING GREEN      KY 42103‐4765
SUMMERS, LARRY O        147 ALICIA DR                                                                                 MOORESBORO         NC 28114‐9696
SUMMERS, LETHA          1730 W CROSS ST                                                                               ANDERSON           IN 46011‐9587
SUMMERS, LINDA M        817 DOCTORS DR APT G                                                                          KINSTON            NC 28501‐1558
SUMMERS, LODENA G       1049 RACE CT                                                                                  NORTH PORT         FL 34286‐4299
SUMMERS, LOIS G         1385 TAYLORS GIN RD                                                                           TEMPLE             GA 30179‐4081
SUMMERS, LOIS G         1385 TAYLOR GIN ROAD                                                                          TEMPLE             GA 30179
SUMMERS, LYNN T         59 CHOUTEAU DR                                                                                O FALLON           MO 63366‐3042
SUMMERS, MALCOLM L      9805 BROOKDALE DR                                                                             NEW PORT RICHEY    FL 34655‐5116
SUMMERS, MARCELLA       15637 CORSO COURT                                                                             CLINTON            MI 48035‐2191
SUMMERS, MARCELLA       15637 CORSO DR                                                                                CLINTON TWP        MI 48035‐2191
SUMMERS, MARGARIETE E   15545 BROOKVIEW CT                                                                            RIVERSIDE          CA 92504‐6133
SUMMERS, MARGIE M       635 HIGH ST                                                                                   ELYRIA             OH 44035‐3149
SUMMERS, MARILYN J      4550 N FLOWING WELLS RD UNIT 81                                                               TUCSON             AZ 85705‐2377
SUMMERS, MARION S       150 KOEHLER DRIVE                                                                             SHARPSVILLE        PA 16150‐1606
SUMMERS, MARION S       150 KOEHLER DR                                                                                SHARPSVILLE        PA 16150‐1606
SUMMERS, MARK E         18640 WHITE PINE CIR                                                                          HUDSON             FL 34667‐6670
SUMMERS, MARK G         PO BOX 701488                                                                                 PLYMOUTH           MI 48170‐0965
SUMMERS, MARK W         213 HOMER TURNBOW RD                                                                          HOHENWALD          TN 38462‐5394
SUMMERS, MARTHA D       4313 LITTLE RIVER RD                                                                          BIRMINGHAM         AL 35213‐2303
SUMMERS, MARVIN         BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG, 233 EAST                               JACKSONVILLE       FL 32202
                        MCCLAMMA & YEGELWEL P.A.          BAY STREET
SUMMERS, MARVIS J       5340 MILLWOOD DR                                                                              FLINT             MI 48504‐1130
SUMMERS, MARY           2029 AVENEL AVE SW                                                                            ROANOKE           VA 24015‐3503
SUMMERS, MARY A         1841 OAK ST                                                                                   SALEM             OH 44460‐3344
                          09-50026-mg               Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
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Name                      Address1                          Address2                    Address3   Address4         City              State Zip
SUMMERS, MARY D           PO BOX 954                                                                                E BERNSTADT        KY 40729‐0954
SUMMERS, MARY D           245 ROSEWOOD ALY                                                                          HUNTINGTON         IN 46750‐3850
SUMMERS, MARY J           101 SOUTH EDGEFIELD AVENUE                                                                DALLAS             TX 75208‐5321
SUMMERS, MARY M           714 COUNTY ROAD 570                                                                       ROGERSVILLE        AL 35652‐5527
SUMMERS, MAXINE L         628 RAMBLEWOOD CT                                                                         BROOKVILLE         OH 45309‐1104
SUMMERS, MELVIN           5340 MILLWOOD DR                                                                          FLINT              MI 48504‐1130
SUMMERS, MELVIN R         641 INGOMAR ST                                                                            INDIANAPOLIS       IN 46241‐0603
SUMMERS, MICHAEL D        5500 RUSHMORE PASS                                                                        GRAND BLANC        MI 48439‐9149
SUMMERS, MICHAEL D        64 CRAWFORD ST APT 5B                                                                     OXFORD             MI 48371‐4904
SUMMERS, MICHAEL DAVID    5500 RUSHMORE PASS                                                                        GRAND BLANC        MI 48439‐9149
SUMMERS, MICHAEL DUANE    64 CRAWFORD ST APT 5B                                                                     OXFORD             MI 48371‐4904
SUMMERS, MICHAEL L        9188 N STATE ROAD 37                                                                      ELWOOD             IN 46036‐8836
SUMMERS, MICHAEL L        PO BOX 15                                                                                 GOSPORT            IN 47433‐0015
SUMMERS, MILDRED          8388 CYPRESS MILL RD                                                                      NOTTINGHAM         MD 21236‐5566
SUMMERS, NEWTON G         5118 WATERMAN BLVD APT 102                                                                SAINT LOUIS        MO 63108‐1140
SUMMERS, NITA             7225 JAMIESON                                                                             RESEDA             CA 91335‐3206
SUMMERS, NOELLA           177 GRAPE CT                                                                              CHANDLER           IN 47610‐9696
SUMMERS, NORMAN L         3610 W MURRAY ST                                                                          INDIANAPOLIS       IN 46221‐2262
SUMMERS, NYOKA A          1113 KAMMER AVE                                                                           DAYTON             OH 45417‐1512
SUMMERS, OSCAR D          9636 OAKWOOD HILLS CT                                                                     NEW PORT RICHEY    FL 34655‐1180
SUMMERS, OTIS L           55980 WOODROW LN                                                                          CUMBERLAND         OH 43732‐9325
SUMMERS, PAMELA J         1471 W FOREST AVE                                                                         DECATUR             IL 62522‐2727
SUMMERS, PATRICIA A       16609 HAMPTON LN                                                                          ATHENS             AL 35611‐8201
SUMMERS, PATRICIA A       146 SUMMERVILLE CIRCLE                                                                    SUNRISE BEACH      MO 65079‐727
SUMMERS, PATRICIA A       24036 DOUGLAS DR                                                                          PLAINFIELD          IL 60585‐8435
SUMMERS, PATRICIA A       146 SUMMERSVILLE CIR                                                                      SUNRISE BEACH      MO 65079‐6717
SUMMERS, PATRICIA L       1805 S COURTLAND AVE                                                                      KOKOMO             IN 46902‐2051
SUMMERS, PEARLINE         3116 GRANT                                                                                SAGINAW            MI 48601‐4325
SUMMERS, PEARLINE         3116 GRANT ST                                                                             SAGINAW            MI 48601‐4325
SUMMERS, PETER A          5271 OSTROM RD                                                                            ATTICA             MI 48412‐9291
SUMMERS, PETER A.         5271 OSTROM RD                                                                            ATTICA             MI 48412‐9291
SUMMERS, PHYLLIS F        267 MILLCREEK DR                                                                          CHESTERFIELD       IN 46017‐1731
SUMMERS, RENEE D          158 AMICK LANE                                                                            BEDFORD            IN 47421‐7942
SUMMERS, RICHARD
SUMMERS, RICHARD A        335 W SALEM ST APT 302                                                                    COLUMBIANA        OH   44408‐1706
SUMMERS, RICHARD N        200 W COMMERCIAL                                                                          WAVERLY           MO   64096
SUMMERS, RICHARD W        STE 2                             1695 NILES CORTLAND RD NE                               WARREN            OH   44484‐1165
SUMMERS, RICKY L          4159 SHERSTONE PLACE CT                                                                   ORION             MI   48359‐1446
SUMMERS, ROBERT           1535 ARGONNE DR                                                                           BALTIMORE         MD   21218‐1624
SUMMERS, ROBERT           711 UNION AVE                                                                             UNION BEACH       NJ   07735‐3134
SUMMERS, ROBERT A         5844 WALMORE RD                                                                           SANBORN           NY   14132‐9337
SUMMERS, ROBERT E         150 KOEHLER DR                                                                            SHARPSVILLE       PA   16150‐1606
SUMMERS, ROBERT G         16 SUMMERS LNDG                                                                           CADDO VALLEY      AR   71923‐9301
SUMMERS, ROBERT J         1505 HURLENINGHAM CT                                                                      LOUISVILLE        KY   40245
SUMMERS, ROBERT N         6100 HARMON DR                                                                            PELL CITY         AL   35128‐6712
SUMMERS, ROBERT P         1267 N CO RD 1100 E                                                                       GREENTOWN         IN   46936
SUMMERS, ROBERT W         66 BURGUNDY CIR                                                                           WEST SENECA       NY   14224‐4803
SUMMERS, ROBERT WILLIAM   66 BURGUNDY CIRCLE                                                                        BUFFALO           NY   14224‐4803
SUMMERS, RONALD E         625 KRISTEN CIR                                                                           CONWAY            SC   29526‐8158
SUMMERS, RONNY L          151 W NORWAY LAKE RD                                                                      LAPEER            MI   48446‐8668
SUMMERS, ROSA L           10303 ADAMS AVE                                                                           CLEVELAND         OH   44108‐3214
SUMMERS, RUSSELL E        1327 LUCAYA AVE                                                                           VENICE            FL   34285‐6409
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Name                           Address1                        Address2                      Address3   Address4         City            State Zip
SUMMERS, RUTH A                25 W RUTGERS AVE                                                                          PONTIAC          MI 48340‐2755
SUMMERS, SANDRA                2784 BERKSHIRE DR                                                                         TROY             MI 48083‐2603
SUMMERS, SHANNON S             7205 MOUNT JULIET DRIVE                                                                   DAVISON          MI 48423‐2361
SUMMERS, SHARI A               18655 PAD CT                                                                              NEWHALL          CA 91321‐2266
SUMMERS, STANLEY W             4965 GLENDALE ROAD                                                                        GALAX            VA 24333‐6189
SUMMERS, STANLEY W             2459 FRIES RD                                                                             GALAX            VA 24333
SUMMERS, STEPHEN E             260 THIRD ST                                                                              VERMONTVILLE     MI 49096‐9402
SUMMERS, STEPHEN W             1536 NE NEAWANNA DR                                                                       LEES SUMMIT      MO 64086‐5914
SUMMERS, STEVE B               111 SHAWNEE ST APT 510                                                                    LEAVENWORTH      KS 66048‐2071
SUMMERS, STEVEN R              1015 PUMPKINVINE HILL RD                                                                  MARTINSVILLE     IN 46151‐8147
SUMMERS, SUE ANN               1179 LANTANA RD                                                                           BEAUMONT         CA 92223‐8622
SUMMERS, SUSAN T               405 NEELY FARM DR                                                                         SIMPSONVILLE     SC 29680
SUMMERS, THERESA M             #3 SARATOGA CT                                                                            FLORISSANT       MO 63033‐3459
SUMMERS, THERESA M             3 SARATOGA CT                                                                             FLORISSANT       MO 63033‐3459
SUMMERS, THOMAS G              2145 MELODY LN                                                                            GREENFIELD       IN 46140‐9587
SUMMERS, THOMAS L              49501 CALLENS RD                                                                          CHESTERFIELD     MI 48047‐3330
SUMMERS, TIM W                 15 BELLMORE LN                                                                            PONTIAC          MI 48340‐1203
SUMMERS, TODD A                1401 MEADOW LN                                                                            SOUTHLAKE        TX 76092‐8340
SUMMERS, TODD M.               11370 APPLETON                                                                            REDFORD          MI 48239‐1442
SUMMERS, TRAVIS S              721 SW 29TH ST                                                                            BLUE SPRINGS     MO 64015‐3354
SUMMERS, TRAVIS SCOTT          721 SW 29TH ST                                                                            BLUE SPRINGS     MO 64015‐3354
SUMMERS, TYREE T               3813 RACE ST                                                                              FLINT            MI 48504
SUMMERS, VELVA                 RD #1 BOX 409                                                                             SMITHFIELD       PA 15478‐9657
SUMMERS, VELVA J               489 RUBLES MILL EXT                                                                       SMITHFIELD       PA 15478
SUMMERS, VICKI L               3761 E. COUNTY ROAD, 150 N.                                                               ANDERSON         IN 46012
SUMMERS, VIRGINIA M            3394 COLWELL                                                                              TROY             MI 48083‐5629
SUMMERS, VIRGINIA M            3394 COLWELL DR                                                                           TROY             MI 48083‐5629
SUMMERS, VIRGINIA M            231 MASON STREET                                                                          LAPEER           MI 48446‐2245
SUMMERS, VIVIAN K              STE 2                           1695 NILES CORTLAND RD NE                                 WARREN           OH 44484‐1165
SUMMERS, VIVIAN K              1695 NILES CORTLAND RD NE       STE 2                                                     WARREN           OH 44484‐1165
SUMMERS, WAYNE E               2614 JUTLAND ST                                                                           TOLEDO           OH 43613‐2004
SUMMERS, WAYNE EUGENE          2614 JUTLAND ST                                                                           TOLEDO           OH 43613‐2004
SUMMERS, WILLIAM H             165 HOLLIER LN                                                                            BENTON           LA 71006
SUMMERS, WILLIAM I             PO BOX 6577                                                                               KOKOMO           IN 46904‐6577
SUMMERS, WILLIAM J             21281 HAGGERTY RD                                                                         BELLEVILLE       MI 48111‐9178
SUMMERS, WILLIAM J             105 SHAW ST                                                                               PLAINFIELD       IN 46168‐1549
SUMMERS, WILLIAM JOE           21281 HAGGERTY RD                                                                         BELLEVILLE       MI 48111‐9178
SUMMERS, WILLIAM K             714 COUNTY ROAD 570                                                                       ROGERSVILLE      AL 35652‐5527
SUMMERS, WILLIAM M             1444 S 9 MILE RD                                                                          MIDLAND          MI 48640‐9147
SUMMERS, WINSTON C             3205 N DEQUINCY ST                                                                        INDIANAPOLIS     IN 46218‐2342
SUMMERS, WYMAN                 8990 E OUTER DR                                                                           DETROIT          MI 48213‐4005
SUMMERSETT, DALE V             1741 BURNSIDE RD                                                                          NORTH BRANCH     MI 48461‐9618
SUMMERSETT, MARGIE L           2691 SLIPPERY LOG RD.                                                                     WHITEVILLE       NC 28472‐8450
SUMMERSETT, REX H              6717 N BRANCH CT APT 4                                                                    NORTH BRANCH     MI 48461‐9336
SUMMERSETT, THOMAS T           2440 VAN GEISEN RD                                                                        CARO             MI 48723‐9688
SUMMERSGILL, BETTY J           4839 WHITE PINE WAY                                                                       N RIDGEVILLE     OH 44039‐2349
SUMMERSKILL, GARY E            7003 W 129TH TER APT 106                                                                  OVERLAND PARK    KS 66209‐3859
SUMMERSVILLE JR, WALTER        16842 HEYDEN ST                                                                           DETROIT          MI 48219‐3366
SUMMERTON, RICHARD H           1142 S 700 E                                                                              GREENTOWN        IN 46936‐9124
SUMMERTON, SONDRA J            1142 S CO RD 700 E                                                                        GREENTOWN        IN 46936
SUMMERVILLE JAMES M (429897)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                               STREET, SUITE 600
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Name                               Address1                            Address2                      Address3              Address4              City           State Zip
SUMMERVILLE PARTNERS, LLC          STEPHEN JACOBS                      1016 N MAIN ST                                                            SUMMERVILLE     SC 29483‐6707
SUMMERVILLE TRANSPORT              15530 MERRIMAN RD                                                                                             ROMULUS         MI 48174‐3291
SUMMERVILLE WILLIAM                SUMMERVILLE, WILLIAM                30 E BUTLER AVE                                                           AMBLER          PA 19002‐4514
SUMMERVILLE, ANDREW                2208 NW 133RD TER                   C/O JO‐ANN S HUSTON                                                       GAINESVILLE     FL 32606‐5365
SUMMERVILLE, ARTHUR F              PO BOX 2269                                                                                                   POTTSBORO       TX 75076‐2269
SUMMERVILLE, B Y                   530 FEDERAL TER SE 2                                                                                          ATLANTA         GA 30315
SUMMERVILLE, BARBARA M             6100 SCOTT RD                                                                                                 MOUNT MORRIS    MI 48458‐9725
SUMMERVILLE, DUANE M               6100 SCOTT RD                                                                                                 MOUNT MORRIS    MI 48458‐9725
SUMMERVILLE, DUANE MARK            6100 SCOTT RD                                                                                                 MOUNT MORRIS    MI 48458‐9725
SUMMERVILLE, FRANK J               538 E AVENUE J4                                                                                               LANCASTER       CA 93535‐3824
SUMMERVILLE, GENE A                156 ARUNDEL RD                                                                                                SAN CARLOS      CA 94070‐1906
SUMMERVILLE, H M                   631 EAST THIRD STREET                                                                                         CENTERVILLE     OH 45459
SUMMERVILLE, HENRY L               4125 N BOLTON AVE                                                                                             INDIANAPOLIS    IN 46226‐4832
SUMMERVILLE, JAMES E               APT B                               909 WEST IONIA STREET                                                     LANSING         MI 48915‐2803
SUMMERVILLE, JAMES E               909 W IONIA ST                      APT B                                                                     LANSING         MI 48915‐2803
SUMMERVILLE, JAMES M               GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA 23510‐2212
                                                                       STREET, SUITE 600
SUMMERVILLE, PATRICIA L            5409 MICHIGAN AVE                                                                                             SAINT LOUIS    MO   63111
SUMMERVILLE, RAYMOND               562 HARRIET ST                                                                                                FLINT          MI   48505‐4753
SUMMERVILLE, SANDRA J              6028 ARROWHEAD DR                                                                                             ANDERSON       IN   46013‐3778
SUMMERVILLE, SCOTT W               21 PARTRIDGE WALK                                                                                             LANCASTER      NY   14086‐3226
SUMMERVILLE, SHIRLEY A.            1437 E LORETTA DR                                                                                             INDIANAPOLIS   IN   46227
SUMMERVILLE, SUE C                 6506 LANTANA CT                                                                                               LOUISVILLE     KY   40229‐1544
SUMMERVILLE, WENDELL G             455 W OAKRIDGE ST                                                                                             FERNDALE       MI   48220‐2702
SUMMEY CHARLES (664245)            WISE & JULIAN                       156 N MAIN ST STOP 1                                                      EDWARDSVILLE   IL   62025‐1972
SUMMEY, CHARLES                    C/O GORI JULIAN & ASSOCIATES PC     156 N MAIN ST                                                             EDWARDSVILLE   IL   62025
SUMMEY, DOROTHY L                  PO BOX 602                                                                                                    WHITE PIGEON   MI   49099‐0602
SUMMEY, ERSKINE T                  1806 WILDWOOD RD                                                                                              GASTONIA       NC   28052‐4443
SUMMEY, LARRY L                    RT 2 BOX 97                                                                                                   VONORE         TN   37885
SUMMEY, MARTHA JANE                262 WOLFE LAUREL DR                                                                                           CHURCH HILL    TN   37645‐3041
SUMMEY, PHYLLIS J                  221 MAIN ST.                                                                                                  COOPERSVILLE   MI   49404
SUMMEY, RONALD                     C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                                    EDWARDSVILLE   IL   62025
                                   ROWLAND PC
SUMMEY, WALLACE H                  17 SPRING ST                                                                                                  CARTERSVILLE   GA   30120‐2368
SUMMEY, WENDY M                    9858 S 250 E                                                                                                  MARKLEVILLE    IN   46056‐9426
SUMMEY, WILLIAM E                  PO BOX 692                                                                                                    VONORE         TN   37885‐0692
SUMMIE JORDAN                      1815 TEASLEY DR SE                                                                                            SMYRNA         GA   30080‐2431
SUMMIT ACADEMY COMMUNITY SCHL      ATTN: FRANK CHERAFS                 5868 STUMPH RD                                                            CLEVELAND      OH   44130‐1736
SUMMIT AUTO BODY INDUSTRY CO LTD   32‐33 MOO 17 BANGNA TRAD RD                                                             BANGPLEE SUMUT PRAK
                                                                                                                           10540 THAILAND
SUMMIT AUTO REPAIR                 264 FAIRCHILD AVE                                                                                             FAIRFIELD      CT   06825
SUMMIT AUTO SALES INC              62 W MONTCALM ST                                                                                              PONTIAC        MI   48342‐1142
SUMMIT AUTO SALES INC              ATTN: MORRIS SKOROPA                62 W MONTCALM ST                                                          PONTIAC        MI   48342‐1142
SUMMIT AUTOMATION AND CONTROL      11815 HIGHWAY DR STE 300                                                                                      CINCINNATI     OH   45241‐2064
SUMMIT AUTOMOTIVE                  9444 BANDERA RD                                                                                               SAN ANTONIO    TX   78250‐2563
SUMMIT BUICK                       318 GRANT AVENUE RD                                                                                           AUBURN         NY   13021‐8201
SUMMIT CHEVROLET                   318 GRANT AVENUE RD                                                                                           AUBURN         NY   13021‐8201
SUMMIT CHEVROLET INC               2301 US HIGHWAY 22 W                                                                                          UNION          NJ   07083‐8517
SUMMIT CITY CHEVROLET, INC.        5200 ILLINOIS RD                                                                                              FORT WAYNE     IN   46804‐1175
SUMMIT CITY CHEVROLET, INC.        JUAN GARCIA                         5200 ILLINOIS RD                                                          FORT WAYNE     IN   46804‐1175
SUMMIT COMMERCIAL LEASING          C/O BANC OF AMERICA LEASING &       ATTENTION: PORTFOLIO          ONE FINANCIAL PLAZA                         PROVIDENCE     RI   02903
CORPORATION                        CAPITAL, LLC                        MANAGEMENT GROUP
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Name                                  Address1                              Address2                         Address3                    Address4                 City             State Zip
SUMMIT COMPONENTES DE MEXICO,         MIKE DIFILIPPO X101                   S.A. DE C.V.                     FRACCIONAMIENTO IND. DEL    C.D. JUAREZ, CHIH MEXICO
                                                                                                             NORTE
SUMMIT CONNTY CSEA                    ACCT OF A WINSTON                     PO BOX 80598                                                                          AKRON            OH    44308‐0598
SUMMIT CONSTRUCTION                                                         900 HAZELDINE AVE SE                                                                                   NM    87106
SUMMIT CONSULTING GROUP INC           85 BRISAS CIR                                                                                                               EAST GREENWICH    RI   02818‐4030
SUMMIT CONTRACTORS INC                PO BOX 219                                                                                                                  HASLETT          MI    48840‐0219
SUMMIT COUNTY ASSESSOR                PO BOX 17287                                                                                                                DENVER           CO    80217‐0287
SUMMIT COUNTY ASSESSOR                PO BOX 128                                                                                                                  COALVILLE        UT    84017‐0128
SUMMIT COUNTY C.S.E.A.                ACCT OF JOHN ROWLANDS                 PO BOX 80598                                                                          AKRON            OH    44308‐0598
SUMMIT COUNTY CLERK OF COURTS CIVIL   2ND FL 53 UNIVERSITY AVE                                                                                                    AKRON            OH    44308
DIV
SUMMIT COUNTY COMMON PLEAS            205 S HIGH ST FL 1                                                                                                          AKRON            OH 44308‐1645
CRTLEGAL DIVISION ‐ 1ST FLOOR
SUMMIT COUNTY CSEA ACT OF             J F HESTER                             PO BOX 3672                                                                          AKRON            OH    44309
SUMMIT COUNTY CSEA FAM SUP FOR        THE ACCT OF L A MULLEN JR              PO BOX 598                                                                           AKRON            OH    00000
SUMMIT COUNTY TREASURER               175 S. MAIN STREET                                                                                                          AKRON            OH    44308
SUMMIT COUNTY TREASURER               175 S MAIN ST                                                                                                               AKRON            OH    44308
SUMMIT COUNTY TREASURER               175 S MAIN ST RM 211                                                                                                        AKRON            OH    44308‐1308
SUMMIT COUNTY TREASURER               ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 175 S MAIN ST RM 211                                                                 AKRON            OH    44308‐1308

SUMMIT CTY BUREAU OF SUPPORT          FOR ACCT OF J W WILSON                PO BOX 80598                                                                          AKRON            OH    44308‐0598
SUMMIT ENERGY                         10350 ORMSBY PARK PLACE               SUITE 400                                                                             LOUISVILLE       KY    40223
SUMMIT ENERGY                         10350 ORMSBY PARK PL STE 400                                                                                                LOUISVILLE       KY    40223‐6179
SUMMIT ENERGY SERVICES INC            9931 CORPORATE CAMPUS DR STE 3000                                                                                           LOUISVILLE       KY    40223‐4035
SUMMIT ENGINEERING & DESIGN IN        1415 DIRECTORS ROW STE 10A                                                                                                  FORT WAYNE       IN    46808‐1286
SUMMIT ENGINEERING & DESIGN INC       1415 DIRECTORS ROW STE 10A                                                                                                  FORT WAYNE       IN    46808‐1286
SUMMIT ENGINEERING CO LTD             TAIPEI, TAIWAN                                                                                     TAIPEI TAIWAN
SUMMIT ENGINEERING CO. LTD.           12F., 412 JEN AI RD., SEC. 4                                                                       TAIPEI TAIWAN
SUMMIT FIRE APPARATUS                 11 SPERTI DR                                                                                                                EDGEWOOD         KY 41017‐9654
SUMMIT FUNDING GROUP                  RICHARD L FERRELL ESQ                 TAFT STETTMAUS & HOLLISTER LLP   425 WALNUT ST STE 1800                               CLEVELAND        OH 44114

SUMMIT FUNDING GROUP INC              PACIFIC RIM CAPITAL INC               11500 NORTHLAKE DR               STE 300                                              CINCINNATI       OH 45249
SUMMIT FUNDING GROUP INC              ATTN: CORPORATE OFFICER/AUTHORIZED    ONE NORTHLAKE PLACE              11500 NORTHLAKE DR STE 3                             CINCINNATI       OH 45249
                                      AGENT
SUMMIT FUNDING GROUP INC              ONE NORTHLAKE PLACE                   11500 NORTHLAKE DR STE 300                                                            CINCINNATI       OH 45249‐1662
SUMMIT FUNDING GROUP, INC             ATTN: CORPORATE OFFICER/AUTHORIZED    ONE NORTHLAKE PLACE              11500 NORTHLAKE DR STE 3                             CINCINNATI       OH 45249
                                      AGENT
SUMMIT FUNDING GROUP, INC             ATT: CARL ZWILLING                    ONE NORTHLAKE PLACE              11500 NORTHLAKE DRIVE STE                            CINCINNATI       OH 45249
                                                                                                             300
SUMMIT GMC                            318 GRANT AVENUE RD                                                                                                         AUBURN            NY 13021‐8201
SUMMIT I PARTNERS LTD                 C/O CORPORATE REALTY SERVICES         PO BOX 436149                                                                         LOUISVILLE        KY 40253‐6149
SUMMIT I PARTNERS, LTD.               C/O CORPORATE REALTY SERVICES, INC.   4350 BROWNSBORO ROAD, SUITE                                                           LOUISVILLE        KY 40207
                                                                            310
SUMMIT I PARTNERS, LTD. C/O           PO BOX 436149                                                                                                               LOUISVILLE        KY   40253‐6149
CORPORATE REALTY SERVICES, INC.
SUMMIT INDUSTRIES INC                 4545 GATEWAY CIR                                                                                                            DAYTON           OH    45440‐1795
SUMMIT INDUSTRIES, INC.               590 ELK ST                            P.O. BOX 104                                                                          BUFFALO          NY    14210‐2237
SUMMIT INSTRUMENTS INC                2236 N CLEVELAND‐MASSILLON RD                                                                                               AKRON            OH    44333
SUMMIT INVESTMENT MGMT LLC            WELLS FARGO CENTER                    635 W 11TH ST                                                                         AUBURN           IN    46706‐2140
SUMMIT LAW GROUP PLLC                 315 5TH AVE S STE 1000                                                                                                      SEATTLE          WA    98104‐2682
SUMMIT MACHINE TOOL MFG               518 N INDIANA AVE                     PO BOX 1402                                                                           OKLAHOMA CITY    OK    73106‐2607
                                    09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                   Exhibit B
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Name                                Address1                            Address2                        Address3                   Address4                 City               State Zip
SUMMIT MECHANICAL AND DEVELOPM      25765 RAVINE ST                                                                                                         SOUTHFIELD          MI 48033‐2256

SUMMIT MECHANICAL AND               25765 RAVINE ST                                                                                                         SOUTHFIELD         MI 48033‐2256
DEVELOPMENT
SUMMIT MECHANICAL AND               25765 RAVINE ST                                                                                                         SOUTHFIELD         MI 48033‐2256
DEVELOPMENT COMPANY LLC
SUMMIT MOTORSPORTS PARK             NORWALK RACEWAY PARK INC            1300 STATE ROUTE 18                                                                 NORWALK            OH    44857‐9548
SUMMIT NATL FACILITY TRUST FND      P RISTAU LASALLE NATL BANK          135 S LA SALLE ST STE 200                                                           CHICAGO            IL    60603‐4177
SUMMIT OCCUPATIONAL MEDICINE        PO BOX 3123                                                                                                             CARMEL             IN    46082‐3123
SUMMIT OCCUPATIONALMEDICINE         PO BOX 3123                                                                                                             CARMEL             IN    46082‐3123
SUMMIT ORTHOPAEDIC A                15990 TUSCOLA RD                                                                                                        APPLE VALLEY       CA    92307‐2111
SUMMIT PAIN SPECIALI                1900 23RD ST                                                                                                            CUYAHOGA FALLS     OH    44223‐1404
SUMMIT PAINTING & WALLCOVERINGINC   1114 SAN FERNANDO RD UNIT C                                                                                             LOS ANGELES        CA    90065

SUMMIT PATHOLOGY ASS                125 PELRET PKWY STE 200                                                                                                 BEREA              OH 44017
SUMMIT PHARMACY                     2432 W PEORIA AVE STE 1286                                                                                              PHOENIX            AZ 85029‐4739
SUMMIT PLASTICS NANJING CO LTD      NO 68 SUYUAN                                                                                   NANJING, DADAO PR
                                                                                                                                   211100 CHINA
SUMMIT POL/CHINA                    ZONE NO 68 SUYUAN AVE               SOUTH AREA‐ NANJING EXPORT                                 NANJING JIANGSU CB
                                                                        PROC                                                       211100 CHINA
SUMMIT POL/PORTAGE                  6715 S SPRINKLE RD                                                                                                      PORTAGE            MI 49002‐9707
SUMMIT POLY/BIRMINHA                4000 TOWN CTR STE 1250              SALES OFFICES                                                                       SOUTHFIELD         MI 48075‐1407
SUMMIT POLYM/KALMAZO                6715 S SPRINKLE RD                                                                                                      PORTAGE            MI 49002‐9707
SUMMIT POLYMERS (NANJING) CO LTD    SOUTH AREA OF NANJING EXPORT PROCES                                                            NANJING JIANGSU CN
                                                                                                                                   211100 CHINA (PEOPLE'S
                                                                                                                                   REP)
SUMMIT POLYMERS CO LTD              CARMEN LEHNERT X104                 SOUTH AREA OF NANJING EXPORT    ZONE NO 68 SUYUAN AVE                               CEDAR GROVE         NJ

SUMMIT POLYMERS INC                 6715 S SPRINGKLE RD                                                                                                     PORTAGE            MI 49002‐9707
SUMMIT POLYMERS INC                 6715 S SPRINKLE RD                  NAME ADD CHNG 7/16/01 MW                                                            PORTAGE            MI 49002‐9707
SUMMIT POLYMERS INC                 FRACCIONAMIENTO IND DEL NORTE       H MATAMOROS TAMAULI                                        MI MEXICO
SUMMIT POLYMERS INC                 1211 PROGRESS ST                                                                                                        STURGIS            MI    49091‐9386
SUMMIT POLYMERS INC                 115 S LEJA DR                                                                                                           VICKSBURG          MI    49097‐1193
SUMMIT POLYMERS INC                 3140 E KILGORE RD                                                                                                       PORTAGE            MI    49002‐1918
SUMMIT POLYMERS INC                 6715 S SPRINKLE RD                                                                                                      PORTAGE            MI    49002‐9707
SUMMIT POLYMERS INC                 CARMEN LEHNERT X104                 115 S LEJA DR                                                                       VICKSBURG          MI    49097‐1193
SUMMIT POLYMERS INC                 CARMEN LEHNERT X104                 115 S. LEJA DRIVE                                                                   CLINTON TOWNSHIP   MI    48036
SUMMIT POLYMERS INC                 CARMEN LEHNERT X104                 SOUTH AREA OF NANJING EXPORT    ZONE NO 68 SUYUAN AVE                               CEDAR GROVE        NJ

SUMMIT POLYMERS INC                 JENNIFER DILORETO                   9076 PORTAGE INDUSTRIAL DRIVE                              CORTAZAR GJ 38300
                                                                                                                                   MEXICO
SUMMIT POLYMERS INC                 JENNNIFER DILORETO                  PLANT ONE                       6750 EXECUTIVE DRIVE                                PORTAGE            MI 49002
SUMMIT POLYMERS INC                 MARK HOFFMAN                        160 CLARENCE DRIVE                                                                  KALAMAZOO          MI 49007
SUMMIT POLYMERS INC                 MIKE DIFILIPPO X101                 3140 E KILGORE RD               VALLEY PLANT                                        PORTAGE            MI 49002‐1918
SUMMIT POLYMERS INC                 MIKE DIFILIPPO X101                 S.A. DE C.V.                    FRACCIONAMIENTO IND. DEL   H.MATAMOROS,TAMAULIP
                                                                                                        NORTE                      TM 87310 MEXICO
SUMMIT POLYMERS INC                 MIKE DIFILIPPO X101                 VALLEY PLANT                    3140 EAST KILGORE ROAD                              SUNNYVALE          TX    75182
SUMMIT POLYMERS INC                 MIKE DIFILIPPOXT101                 6717 S SPRINKLE RD              SUMMIT EAST PLANT                                   PORTAGE            MI    49002‐9707
SUMMIT POLYMERS INC                 MIKE DIFILIPPOXT101                 SUMMIT EAST PLANT               6717 SPRINKLE RD                                    ALMONT             MI    48003
SUMMIT POLYMERS INC                 PAT HUGHES                          1211 PROGRESS ST                SYNTECH PLANT                                       STURGIS            MI    49091‐9386
SUMMIT POLYMERS INC                 PAT HUGHES                          2201 W PARK RD                                                                      ELIZABETHTOWN      KY    42701‐6752
SUMMIT POLYMERS INC                 PAT HUGHES                          2201 WEST PARK ROAD                                        TAIHSI HSIANG TAIWAN
                                      09-50026-mg               Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
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Name                                 Address1                            Address2                          Address3                 Address4                 City               State Zip
SUMMIT POLYMERS INC                  PAT HUGHES                          SYNTECH PLANT                     1211 PROGRESS STREET     CONCORD ON CANADA
SUMMIT POLYMERS INC                  SOUTH AREA OF NANJING EXPORT PROCES                                                            NANJING JIANGSU CN
                                                                                                                                    211100 CHINA (PEOPLE'S
                                                                                                                                    REP)
SUMMIT POLYMERS INC.                 CARMEN LEHNERT X104                  115 S LEJA DR                                                                      VICKSBURG          MI    49097‐1193
SUMMIT POLYMERS INC.                 CARMEN LEHNERT X104                  115 S. LEJA DRIVE                                                                  CLINTON TOWNSHIP   MI    48036
SUMMIT POLYMERS, INC                 MIKE DIFILIPPOXT101                  6717 S SPRINKLE RD               SUMMIT EAST PLANT                                 PORTAGE            MI    49002‐9707
SUMMIT POLYMERS, INC                 MIKE DIFILIPPOXT101                  SUMMIT EAST PLANT                6717 SPRINKLE RD                                  ALMONT             MI    48003
SUMMIT POLYMERS, INC.                MIKE DIFILIPPO X101                  6715 S SPRINKLE RD                                                                 PORTAGE            MI    49002‐9707
SUMMIT POLYMERS, INC.                MIKE DIFILIPPO X101                  VALLEY PLANT                     3140 EAST KILGORE ROAD                            SUNNYVALE          TX    75182
SUMMIT POLYMERS, INC.                JENNNIFER DILORETO                   PLANT ONE                        6750 EXECUTIVE DRIVE                              PORTAGE            MI    49002
SUMMIT POLYMERS, INC.                MIKE DIFILIPPO X101                  3140 E KILGORE RD                VALLEY PLANT                                      PORTAGE            MI    49002‐1918
SUMMIT POLYMERS, INC.                4780 EXECUTIVE DRIVE                                                                                                    PORTAGE            MI    49002
SUMMIT PONTIAC                       318 GRANT AVENUE RD                                                                                                     AUBURN             NY    13021‐8201
SUMMIT PRC FINANCIAL SERVICES, INC   11500 NORTHLAKE DR.                  STE 300                                                                            CINCINNATI         OH    45249
SUMMIT PRC FINANCIAL SERVICES, INC   ATTN: CORPORATE OFFICER/AUTHORIZED   11500 NORTHLAKE DR STE 300                                                         CINCINNATI         OH    45249‐1662
                                     AGENT
SUMMIT PREC/WARREN                   24247 GIBSON DR                                                                                                         WARREN              MI 48089‐4318
SUMMIT RADIOLOGY PC                  6119 W JEFFERSON BLVD                ALLEN COUNTY RADIOLOGY ASSOC.                                                      FORT WAYNE          IN 46804‐3072

SUMMIT RADIOLOGY PC                 PO BOX 66824                                                                                                             INDIANAPOLIS        IN   46266‐6824
SUMMIT REAL ESTATE INVESTMENT TRUST 405 N REO ST STE 160                  ROY COM ADVISORS C\O CARTER AS                                                     TAMPA               FL   33609‐1070
ROY COM SUMMIT REIT BY
SUMMIT RIDGE AUTOMOTIVE             23721 OLD US 20                                                                                                          ELKHART             IN   46516‐5502
SUMMIT RIDGE CONDO ASSOC
SUMMIT THERAPY                      2170 STUMBO RD                                                                                                           MANSFIELD          OH    44906‐1275
SUMMIT TOWNSHIP                     2121 FERGUSON RD                                                                                                         JACKSON            MI    49203‐5505
SUMMIT TRAINING SOURCE              4170 EMBASSY DR SE                                                                                                       GRAND RAPIDS       MI    49546‐2417
SUMMIT TRAINING SOURCE INC          4170 EMBASSY DR SE                                                                                                       GRAND RAPIDS       MI    49546‐2417
SUMMITS, MARY                       422 W SUNNYBROOK DR                                                                                                      ROYAL OAK          MI    48073‐2534
SUMMITT JR., JOHN D                 32711 E STATE ROUTE VV                                                                                                   PLEASANT HILL      MO    64080‐8345
SUMMITT JR., JOHN DAVID             32711 E STATE ROUTE VV                                                                                                   PLEASANT HILL      MO    64080‐8345
SUMMITT REHABILITATI                275 SPRINGSIDE DR STE 100                                                                                                AKRON              OH    44333‐4549
SUMMITT, DAN I                      3377 TIMBERBROOK CT                                                                                                      DANVILLE           IN    46122‐8515
SUMMITT, DOLORES K                  745 S ARMSTRONG ST                                                                                                       KOKOMO             IN    46901‐5329
SUMMITT, GARY O                     1634 W PAGODA PATH N                                                                                                     MARTINSVILLE       IN    46151‐5842
SUMMITT, GREGORY S                  19305 SAVAGE RD                                                                                                          BELLEVILLE         MI    48111‐8815
SUMMITT, HOWARD A                   1318 E 47TH ST                                                                                                           ANDERSON           IN    46013‐2704
SUMMITT, JACK C                     7920 ARGONIA DR                                                                                                          FORT WAYNE         IN    46835‐4204
SUMMITT, JANET K                    118 E 29TH ST                                                                                                            ANDERSON           IN    46016‐5203
SUMMITT, JOHN D                     1130 SW 75TH RD                                                                                                          HOLDEN             MO    64040‐9356
SUMMITT, MICHAEL D                  3364 BROOKGATE DR                                                                                                        FLINT              MI    48507‐3211
SUMMITT, OLIVE M                    200 W SOUTH ST #A‐25                                                                                                     DAVISON            MI    48423‐1519
SUMMITT, SHIRLEY W                  1715 E 44TH ST                                                                                                           ANDERSON           IN    46013‐2556
SUMMITT, SIDNEY C                   6539 GAINES FERRY RD                                                                                                     FLOWERY BR         GA    30542‐3837
SUMMITT, VIVIAN L                   4819 LINDSTROM DR                                                                                                        CHARLOTTE          NC    28226‐7905
SUMMITT, WILLIAM R                  112 MONTICELLO CT                                                                                                        NOBLESVILLE        IN    46060‐5440
SUMMY, HOMER E                      377 PLEASANT DR                                                                                                          ALIQUIPPA          PA    15001‐1322
SUMMY, RICHARD R                    16705 MCKINLEY CT                                                                                                        BELTON             MO    64012‐2236
SUMMY, WILLIAM T                    4330 LAUBERT RD                                                                                                          ATWATER            OH    44201‐9797
SUMNA TRANSPORTATION                NO ADDRESS ON FILE
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Name                                 Address1                       Address2                      Address3   Address4         City             State Zip
SUMNER ARTHUR THOMAS JR (429898)     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                    STREET, SUITE 600
SUMNER AUTOMOTIVE                                                   525 S CHURCH ST                                                            NC   27215
SUMNER AUTOMOTIVE                    525 S CHURCH ST                                                                          BURLINGTON       NC   27215‐3809
SUMNER COLGAN                        PO BOX 6501                                                                              LACONIA          NH   03247‐6501
SUMNER COUNTY                        501 NORTH WASHINGTON                                                                     WELLINGTON       KS   67152
SUMNER COUNTY TRUSTEE                355 N BELVEDERE DR RM 107                                                                GALLATIN         TN   37066‐5410
SUMNER DIANE                         1455 PARKVIEW BLVD                                                                       STONE MOUNTAIN   GA   30087‐6722
SUMNER JERALD (ESTATE OF) (509253)   BRAYTON PURCELL                PO BOX 6169                                               NOVATO           CA   94948‐6169
SUMNER, ALBERT J                     15022 WOLF CREEK RD                                                                      BROOKVILLE       IN   47012‐8938
SUMNER, ANGELA D                     404 FALCON DR                                                                            NEW CARLISLE     OH   45344‐1509
SUMNER, ARTHUR THOMAS                GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                                    STREET, SUITE 600
SUMNER, BETTIE                       300 SW PARKWOOD DR                                                                       BLUE SPRINGS     MO   64014‐4520
SUMNER, BETTIE                       300 PARKWOOD DRIVE                                                                       BLUE SPRINGS     MO   64014‐4520
SUMNER, BETTY J                      529 WASHINGTON AVE                                                                       EWING            NJ   08628‐2808
SUMNER, BRENDA G                     1918 FAIRVIEW RD                                                                         CENTRAL CITY     KY   42330
SUMNER, BRUCE W                      6751 N MERIDIAN RD                                                                       SHARPSVILLE      IN   46068‐9198
SUMNER, CAROL A                      01154 STATE ROUTE 219                                                                    SAINT MARYS      OH   45885
SUMNER, CELESTE R                    6751 N MERIDIAN RD                                                                       SHARPSVILLE      IN   46068‐9198
SUMNER, CHARLES H                    2A COTTONMOUTH DR                                                                        LAKE PLACID      FL   33852‐7151
SUMNER, CHRIS                        1715 SAVANNAH CIR                                                                        O FALLON         MO   63368‐7952
SUMNER, DANIEL T                     110 TUMBLEWEED RD                                                                        FITZGERALD       GA   31750‐7253
SUMNER, DARREN                       2525 HIGHWAY 360 APT 2116                                                                EULESS           TX   76039‐7300
SUMNER, DAVID P                      302 LAFAYETTE BLVD                                                                       OWOSSO           MI   48867‐2017
SUMNER, DONALD R                     2537 CARSON HWY                                                                          ADRIAN           MI   49221‐1106
SUMNER, DONALEE M                    13411 FOREST PARK DR                                                                     GRAND HAVEN      MI   49417‐9658
SUMNER, DUANE F                      10300 SCRIBNER RD                                                                        BANCROFT         MI   48414‐9759
SUMNER, EDITH C                      2275 S ARAGON AVENUE                                                                     KETTERING        OH   45420‐3556
SUMNER, ELDREDGE A                   3380 WINDSOR CASTLE CT                                                                   DECATUR          GA   30034‐5359
SUMNER, ELIZABETH A                  7659 BREWER JR. RD.                                                                      MILLINGTON       MI   48746‐9588
SUMNER, ELIZABETH A                  7659 BREWER JR RD                                                                        MILLINGTON       MI   48746‐9588
SUMNER, FLORENCE                     314 BERCKMAN ST                                                                          PLAINFIELD       NJ   07062‐1608
SUMNER, GARY K                       4005 W BROOK DR                                                                          MUNCIE           IN   47304‐2974
SUMNER, GERALD A                     8150 N STONY DR APT 65                                                                   WASHINGTON       MI   48094‐2354
SUMNER, GREGORY R                    145 CONCORD FARM RD                                                                      UNION            OH   45322‐3400
SUMNER, HUGH                         3576 STUTSMAN ROAD                                                                       BELLBROOK        OH   45305‐9793
SUMNER, IMAJEAN L                    74322 SPENCER ST                                                                         ARMADA           MI   48003‐4639
SUMNER, JAMES B                      25 ARDISIA CT                                                                            TRENTON          NJ   08648‐4831
SUMNER, JAMES E                      8175 N MASON RD                                                                          WHEELER          MI   48662‐9742
SUMNER, JAMES R                      2418 S YERIAN RD                                                                         LENNON           MI   48449‐9636
SUMNER, JERALD                       BRAYTON PURCELL                PO BOX 6169                                               NOVATO           CA   94948‐6169
SUMNER, JERALD R                     1938 ELMWOOD DR                                                                          LENNON           MI   48449‐9713
SUMNER, JERROLD H                    5810 SAVOY DR                                                                            WATERFORD        MI   48327‐2669
SUMNER, JOHNATHON W                  11440 E COLDWATER RD                                                                     DAVISON          MI   48423‐8590
SUMNER, JON                          48 KINGSLAND AVE                                                                         WALLINGFORD      CT   06492‐3927
SUMNER, JOSEPH F                     15143 COOLEY RD                                                                          ADDISON          MI   49220‐9795
SUMNER, JUDY                         7171 DAVISON RD                                                                          DAVISON          MI   48423‐2007
SUMNER, JUDY L                       61445 ROARING BROOK DR                                                                   SOUTH LYON       MI   48178‐1591
SUMNER, JULIE J                      8142 FAULKNER DR                                                                         DAVISON          MI   48423‐9534
SUMNER, LARRY J                      3767 S VENTURA AVE                                                                       INVERNESS        FL   34452‐7192
SUMNER, LAWRENCE R                   3892 W SOUTH COUNTY LINE RD                                                              SAINT LOUIS      MI   48880‐9229
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Name                     Address1                          Address2            Address3         Address4         City                State Zip
SUMNER, LEE E            9 TAMAQUES WAY                                                                          WESTFIELD            NJ 07090‐3620
SUMNER, LEONARD A        4818 TOMACHE DR                                                                         KNOXVILLE            TN 37909‐1330
SUMNER, LESLIE K         1684 MULBERRY LN                                                                        LAPEER               MI 48446‐8713
SUMNER, LYNOR            7603 FALLEN ANTLER PL                                                                   ARLINGTON            TX 76002‐4321
SUMNER, MARJORIE A       5240 ROBERTS DR                                                                         FLINT                MI 48506
SUMNER, MARTHA A         1184 FROMAN ST                                                                          GRAND BLANC          MI 48439‐9303
SUMNER, MARY E           2531 BARRYKNOLL ST                                                                      KETTERING            OH 45420‐3513
SUMNER, MARY J           10141 CORNING STREET                                                                    OAK PARK             MI 48237‐3914
SUMNER, MARY JO          140 BEECHWOOD DR                                                                        CORTLAND             OH 44410
SUMNER, MAYNARD R        5240 ROBERTS DR                                                                         FLINT                MI 48506‐1554
SUMNER, MICHAEL D        835 MOON CT                                                                             MIAMISBURG           OH 45342‐3421
SUMNER, MICHAEL J        1767 SHELTERING TREE DR                                                                 W CARROLLTON         OH 45449‐2347
SUMNER, MICHAEL K        2335 DOANE HWY                                                                          CHARLOTTE            MI 48813‐8795
SUMNER, NADEEN           170 E ALLEN ST                                                                          BAXLEY               GA 31513‐0546
SUMNER, NADEEN           795 E DELAVAN AVE                                                                       BUFFALO              NY 14215‐3040
SUMNER, NATHANAEL P      PO BOX 550                                                                              CAVE SPRING          GA 30124‐0550
SUMNER, NORMAN W         5123 CLINTONVILLE RD                                                                    CLARKSTON            MI 48346‐4222
SUMNER, PHILLIP E        2663 S 1400 E34                                                                         SWAYZEE              IN 46986‐9602
SUMNER, RALPH D          5383 LEWIS AVE LOT 171                                                                  TOLEDO               OH 43612‐3166
SUMNER, RALPH J          107 MALLARD RD                                                                          FITZGERALD           GA 31750‐9404
SUMNER, RICHARD E        168 CLIFFORD ST                                                                         PONTIAC              MI 48342‐3317
SUMNER, ROGER J          6306 E BRISTOL RD                                                                       BURTON               MI 48519‐1743
SUMNER, ROGER JAY        6306 E BRISTOL RD                                                                       BURTON               MI 48519‐1743
SUMNER, RONALD D         4654 LONGFELLOW AVE                                                                     DAYTON               OH 45424‐6030
SUMNER, RONALD D         4654 LONG FELLOW AVE.                                                                   DAYTON               OH 45424‐5424
SUMNER, RONALD J         3004 HONEY CT                                                                           KOKOMO               IN 45902‐3919
SUMNER, RONALD J         01154 STATE ROUTE 219                                                                   SAINT MARYS          OH 45885‐9511
SUMNER, RONALD T         20008 PARKER ST                                                                         LIVONIA              MI 48152‐1596
SUMNER, RONALD T.        20008 PARKER ST                                                                         LIVONIA              MI 48152‐1596
SUMNER, SANDRA E         3004 HONEY CT                                                                           KOKOMO               IN 46902‐3919
SUMNER, SANDRA K.        5800 LONGFORD RD                                                                        DAYTON               OH 45424‐2941
SUMNER, SHARON K         2537 CARSON HWY                                                                         ADRIAN               MI 49221‐1106
SUMNER, STEPHEN D        2010 DENA DR                                                                            ANDERSON             IN 46017‐9684
SUMNER, STEPHEN W        5688 TIBET DR                                                                           DAYTON               OH 45424‐5355
SUMNER, STEPHEN WAYNE    5688 TIBET DR                                                                           DAYTON               OH 45424‐5355
SUMNER, SUSAN R          2318 E INCA ST                                                                          MESA                 AZ 85213‐3424
SUMNER, THERESA M        232 RAINTREE ROAD                                                                       JACKSONVILLE         NC 28540‐8916
SUMNER, THOMAS G         1241 JOSHUA WAY                                                                         MEDINA               OH 44256‐6767
SUMNER, WAILUS G         556 SUMMIT RD                                                                           BAILEYTON            AL 35019‐5013
SUMNER, WATSON           314 BERCKMAN ST                                                                         PLAINFIELD           NJ 07062‐1608
SUMNER, WILLARD C        5365 FOREST RIDGE DR                                                                    CLARKSTON            MI 48346‐3481
SUMNERS SOPHIA           C/O JANE D LEY                    5837 E 91ST ST                                        INDIANAPOLIS         IN 46250‐1301
SUMNERS, KERRY           2706 PALACE CT                                                                          THOMPSONS STATION    TN 37179‐9290
SUMNERS, MARY ANN        747 SANDY HILL CIR                                                                      PT ORANGE            FL 32127‐7795
SUMNERS, RONALD T        539 S RYBOLT AVE                                                                        INDIANAPOLIS         IN 46241‐0922
SUMNERS, SOPHIA A        7001 HOOVER RD RM 204                                                                   INDIANAPOLIS         IN 46260‐4169
SUMNERS, THOMAS C        747 SANDY HILL CIR                                                                      PORT ORANGE          FL 32127‐7795
SUMNEY, VICTOR A         6711 NORWALK RD                                                                         MEDINA               OH 44256‐8908
SUMOWSKI, FRANK P        1800 VIRGINIA MINES RD                                                                  SAINT CLAIR          MO 63077‐3536
SUMP JR, WILLIAM C       8402 LAKESIDE DR                  APT 2A                                                FORT WAYNE           IN 46816‐4876
SUMP JR, WILLIAM C       15110 WESTERN VALLEY DR                                                                 HOLLY                MI 48442‐1912
SUMPTER I I I, HENRY C   127 PECOS AVE                                                                           MODESTO              CA 95351‐5327
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Name                             Address1                       Address2                          Address3   Address4         City             State Zip
SUMPTER JOHNNIE MARION           C/O EDWARD O MOODY P A         801 WEST 4TH ST                                               LITTLE ROCK       AR 72201
SUMPTER JR, CHARLES G            6723 E COLE RD                                                                               BANCROFT          MI 48414‐9708
SUMPTER JR, WILLIAM B            4535 6 MILE RD                                                                               SOUTH LYON        MI 48178‐9692
SUMPTER, AUGUSTINE L             7477 COVERED BRIDGE DR                                                                       WATERLOO           IL 62298‐3156
SUMPTER, BERLIN                  4 GREGORY LN                                                                                 ROLLA             MO 65401‐4189
SUMPTER, BERLIN                  4 GREGORY LANE                                                                               ROLLA             MO 65401‐4189
SUMPTER, BETTY J                 7442 BURLINGAME ST                                                                           DETROIT           MI 48204‐1277
SUMPTER, C W                     5505 LAURENE ST                                                                              FLINT             MI 48505‐2558
SUMPTER, CARL L                  3016 FOREST HILL AVE                                                                         FLINT             MI 48504‐2652
SUMPTER, CARL LETTA              3016 FOREST HILL AVE                                                                         FLINT             MI 48504‐2652
SUMPTER, CHARLES E               6061 ELDON RD                                                                                MOUNT MORRIS      MI 48458‐2713
SUMPTER, CHARLES G               3751 MANSE RD                                                                                PAHRUMP           NV 89061‐6912
SUMPTER, FRANK
SUMPTER, FRANK                   1025 NW 21ST ST                                                                              MOORE            OK   73160‐1324
SUMPTER, G D                     3662 IMPERIAL RIDGE PKWY                                                                     PALM HARBOR      FL   34684‐4718
SUMPTER, GEORGIA E               24710 WALDEN RD W APT 605                                                                    SOUTHFIELD       MI   48033‐3133
SUMPTER, HELEN F                 1821 E AMBUSH ST                                                                             PAHRUMP          NV   89048‐6270
SUMPTER, HERSCHER L              24 PHILLIPS COUNTY 310 RD                                                                    WEST HELENA      AR   72390
SUMPTER, HERSCHER L              24 PHILLIPS 310                                                                              WEST HELENA      AR   72390‐9589
SUMPTER, JAMES                   19377 WINTHROP ST                                                                            DETROIT          MI   48235‐2031
SUMPTER, JOHN W                  1522 PETERSON AVE                                                                            JANESVILLE       WI   53548‐1537
SUMPTER, JOHNNIE M               MOODY EDWARD O                 801 W 4TH ST                                                  LITTLE ROCK      AR   72201‐2107
SUMPTER, LEWIS E                 1118 W CROSS ST                APT 125                                                       ANDERSON         IN   46011
SUMPTER, LEWIS E                 1118 W CROSS ST APT 125                                                                      ANDERSON         IN   46011‐9535
SUMPTER, ROBERT L                2005 W RIVER RD S                                                                            ELYRIA           OH   44035‐6941
SUMPTER, ROBERT S                PO BOX 71769                                                                                 MADISON HTS      MI   48071‐0769
SUMPTION, MONABELLE              2512 BOSTON BLVD                                                                             LANSING          MI   48910
SUMRALL JIMMY C                  C/O GUY PORTER & MALOUF        4670 MCWILLIE DRIVE                                           JACKSON          MS   39206
SUMRALL JIMMY C (504990)         (NO OPPOSING COUNSEL)
SUMRALL JOHN                     18191 N I 12 SERVICE RD                                                                      HAMMOND          LA 70403‐0915
SUMRALL KAMAR L                  SUMRALL, KAMAR L               1700 PLEASURE HOUSE RD STE 102A                               VIRGINIA BEACH   VA 23455‐4062

SUMRALL, CLARESE                 218 E MCCLELLAN ST                                                                           FLINT            MI   48505‐4224
SUMRALL, IMOGENE                 108 KENNEDY DR                                                                               COLUMBIA         TN   38401‐4599
SUMRALL, JIMMY                   GUY WILLIAM S                  PO BOX 509                                                    MCCOMB           MS   39649‐0509
SUMRALL, MARY A                  2043 BRIARWOOD DR                                                                            LAUREL           MS   39440‐2117
SUMRALL, SAMANTHA L              157 AREO DRIVE                                                                               PEARL            MS   39208‐4006
SUMRALL, SARA                    617 SUNRISE CT                                                                               BILOXI           MS   39532
SUMRALL, THOMAS                  GUY WILLIAM S                  PO BOX 509                                                    MCCOMB           MS   39649‐0509
SUMREL, WILLIAM J                2277 GREEN VALLEY DR                                                                         TOLEDO           OH   43614‐3226
SUMRULD‐BIESPIEL, BETTY J        10 BROOKHAVEN PT                                                                             MONTGOMERY       TX   77356‐5542
SUMSKIS, CELESTINE C             4523 WRANGLER DR SW                                                                          CONCORD          NC   28027‐3970
SUMTER COUNTY TAX COLLECTOR      209 NORTH FLORDIA STREET       ROOM 109                                                      BUSHNELL         FL   33513
SUMTER COUNTY TAX COMMISSIONER   PO BOX 1044                                                                                  AMERICUS         GA   31709‐1044
SUMTER ELECTRIC CO‐OP            GERALD THOMPSON                293 S US 301                                                  SUMTERVILLE      FL   33585‐4901
SUMTER, MICHAEL A                777 PROSPECT LN                                                                              FORT MILL        SC   29708‐8164
SUMTER, SAMUEL P                 8227 S KINGSTON AVE                                                                          CHICAGO          IL   60617‐1909
SUMWALT, DENNIE R                8396 W 500 N                                                                                 FARMLAND         IN   47340‐9204
SUMWALT, DOYLE W                 3323 WEST PAGE STREET                                                                        SPRINGFIELD      MO   65802‐5253
SUMWALT, JOSEPH F                PO BOX 8                                                                                     WARREN           IN   46792‐0008
SUMWALT, LARRY L                 11171 N COUNTY ROAD 525 W                                                                    GASTON           IN   47342‐9717
SUN                              STEVE MULLER                   1000 TOWN CTR STE 1700                                        SOUTHFIELD       MI   48075‐1233
                                     09-50026-mg              Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
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Name                                 Address1                           Address2                        Address3                 Address4             City               State Zip
SUN ANDU X DEPARTMENT OF             MATERIALS ENGINEERING              UNIVERSITY OF WESTERN ONTARIO                            LONDON CANADA ON N6A
MECHANICAL &                                                                                                                     5B9 CANADA
SUN AUTO GROUP                       4825 SUNRISE HWY                                                                                                 BOHEMIA             NY   11716‐4611
SUN BELT RENTALS INC                 8100 PADRE ISLAND HWY                                                                                            BROWNSVILLE         TX   78521‐3458
SUN BOP, INC.                        GERALD FAHRNEY                     3113 HIGHLAND AVE                                                             SELMA               CA   93662‐2606
SUN BUICK PONTIAC GMC                4230 BIRNEY AVE                                                                                                  MOOSIC              PA   18507‐1304
SUN BUICK PONTIAC GMC
SUN CAPITAL PARTNERS GROUP V, INC    5200 TOWN CENTER CIR STE 600                                                                                         BOCA RATON      FL   33486‐1045
SUN CAPITAL PARTNERS GROUP V, INC,   5200 TOWN CENTER CIR STE 600                                                                                         BOCA RATON      FL   33486‐1045
ATT: TODD BUCHMAN
SUN CAPITAL PARTNERS GROUP V, INC.   5200 TOWN CENTER CIR STE 600                                                                                         BOCA RATON      FL   33486‐1045

SUN CAPITAL PARTNERS INC                                                5200 TOWN CENTER CIR STE 470                                                      BOCA RATON      FL   33486
SUN CAPITAL PARTNERS INC             1375 SWAN ST                                                                                                         HUNTINGTON      IN   46750‐1697
SUN CAPITAL PARTNERS INC             301 W OHIO ST                                                                                                        KENDALLVILLE    IN   46755‐2017
SUN CAPITAL PARTNERS INC             AVENIDA DE LA EFICIENCIA NO 2700                                                            MEXICALLI BJ 21210
                                                                                                                                 MEXICO
SUN CAPITAL PARTNERS INC             GREG RUTKOWSKI                     301 S OHIO AVE                  DRIVESOL KENDALLVILLE                             MUNCIE          IN   47305‐2762
SUN CAPITAL PARTNERS INC             GREG RUTKOWSKI                     301 W OHIO ST                   DRIVESOL KENDALLVILLE                             KENDALLVILLE    IN   46755‐2017
SUN CAPITAL PARTNERS INC             JAKE MERILLAT                      WABASH TECH DE MEXICO SA DE     EFICIENCIA NO 2700 COL   PU DONG SHANGHAI CHINA
                                                                                                        ALAMITO                  (PEOPLE'S REP)
SUN CAPITAL PARTNERS INC             JUDY PRESEAU                       1375 SWAN ST POB 829                                     HALLAN AUSTRALIA
SUN CAPITAL PARTNERS INC             5200 TOWN CENTER CIR STE 470                                                                                         BOCA RATON      FL 33486‐1086
SUN CHEMICAL CORPORATION             ANTHONY GRASSO                     35 WATERVIEW BLVD                                                                 PARSIPPANY      NJ 07054
SUN CHEVROLET                        2939 WASHINGTON RD                                                                                                   MC MURRAY       PA 15317‐3204
SUN CHEVROLET
SUN CHEVROLET INC.                   104‐8 W GENESEE                                                                                                      CHITTENANGO     NY 13037
SUN CHEVROLET INC.                   JOSEPH CAPUTO                      104‐8 W GENESEE                                                                   CHITTENANGO     NY 13037
SUN CITY AUTO                        55 COLBORNE ST W                                                                            ORILLIA ON L3V 2Y5
                                                                                                                                 CANADA
SUN CITY BOULDERS INC                KROHN & MOSS ‐ NV                  810 S CASINO CENTER BLVD                                                          LAS VEGAS       NV   89101‐6719
SUN CITY BOULDERS INC                810 S CASINO CENTER BLVD                                                                                             LAS VEGAS       NV   89101‐6719
SUN CITY NEWS                        PO BOX 1779                                                                                                          SUN CITY        AZ   85372‐1779
SUN CITY TOTAL CAR CARE              11113 W MICHIGAN AVE                                                                                                 YOUNGTOWN       AZ   85363‐1016
SUN CITY UNION                       10120 W BELL RD                                                                                                      SUN CITY        AZ   85351‐1293
SUN CO INC                           PO BOX 426                                                                                                           MARCUS HOOK     PA   19061‐0426
SUN COATING/PLYMOUTH                 42105 POSTIFF AVE                                                                                                    PLYMOUTH        MI   48170‐4637
SUN COMPANY/PHILADEL                 1801 MARKET STREET                                                                                                   PHILADELPHIA    PA   19103
SUN CONTAINER INC                    515 S 1ST ST                       PO BOX 1806                                                                       MOUNT VERNON    IL   62864‐5202
SUN ENGINEERING CO LTD               420‐4 CHEONGCHEON‐DONG             BUPYEONG‐GU INCHEON                                      KOREA SOUTH KOREA
SUN ENGINEERING CO LTD               420‐4 CHEONGCHEON‐DONG             BUPYEONG‐GU                                              INCHEON 403‐030 KOREA
                                                                                                                                 (REP)
SUN EUROPEAN PARTNERS                ATTN: KEVIN FEINBLUM               36 RUE BEAUJON                                           75008 PARIS, FRANCE
SUN EXPRESS                          13866 SLOVER AVE                                                                                                     FONTANA         CA   92337‐7037
SUN FREIGHTWAYS INC                  PO BOX 2898                                                                                                          LUBBOCK         TX   79408‐2898
SUN GORDON                           6045 VELVET LOOP                                                                                                     LAKELAND        FL   33811‐2070
SUN H LIM                            401 MONTVALE LANE                                                                                                    ROCHESTER       NY   14626‐5215
SUN HENRY                            3534 OAKMONTE BLVD 111                                                                                               ROCHESTER       MI   48306
SUN HOG, INC.
SUN HONGSHENG                        717 SOUTH BRECKENRIDGE DRIVE                                                                                         DUNLAP          IL   61525‐9666
SUN K HALE                           1105 JACKSONVILLE COURT APTF                                                                                         GADSDEN         AL   35901‐3077
                                       09-50026-mg             Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                                      Exhibit B
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Name                                  Address1                              Address2                        Address3                      Address4                 City            State Zip
SUN LIFE ASSURANCE CO OF CANADA       C\O MILE HIGH PROPERTY SERVICES INC   1700 BROADWAY STE 300                                                                  DENVER           CO 80290‐0301

SUN LIFE ASSURANCE CO OF CANADA
SUN MICORSYSTEMS OF CANADA INC        PO BOX 5100 STATION F                                                                               TORONTO CANADA ON
                                                                                                                                          M4Y 2T5 CANADA
SUN MICROSYSTEMS AB
SUN MICROSYSTEMS AB                   1000 TOWN CTR STE 1700                                                                                                       SOUTHFIELD      MI 48075‐1233
SUN MICROSYSTEMS BELGIUM NV           LOZENBERG 15                                                                                        ZAVENTEM, 1932 BELGIUM
SUN MICROSYSTEMS DE MEXICO, S.A. DE   PLAZA REFORMA                         PROLONGACION REFORMA NO. 600‐                                 COL. PENA BLANCA SANTA
C.V.                                                                        210                                                           FE, D.F. 1210 MEXICO
SUN MICROSYSTEMS GLOBAL FINANCIAL     STEVEN MILLER                         1000 TOWN CTR STE 1700                                                                 SOUTHFIELD      MI 48075‐1233
SERVICES
SUN MICROSYSTEMS GLOBAL FINANCIAL     A BUSINESS OF SUN MICROSYSTEMS, INC   4150 NETWORK CIRCLE                                                                    SANTA CLARA     CA 95054
SERVICES LLC
SUN MICROSYSTEMS GLOBAL FINANCIAL     A BUSINESS OF SUN MICROSYSTEMS, INC   ATTN: CORPORATE                 4150 NETWORK CIR                                       SANTA CLARA     CA 95054‐1778
SERVICES LLC                                                                OFFICER/AUTHORIZED AGENT
SUN MICROSYSTEMS GLOBAL FINANCIAL     ATTN: CORPORATE OFFICER/AUTHORIZED    2600 EL CAMINO REAL STE 300                                                            PALO ALTO       CA 94306‐1720
SERVICES, LLC                         AGENT
SUN MICROSYSTEMS GLOBAL FINANCIAL     C/O 2600 EL CAMINO REAL               SUITE 300                                                                              PALO ALTO       CA 94306
SERVICES, LLC
SUN MICROSYSTEMS GLOBAL FINANCIAL
SERVICES, LLC
SUN MICROSYSTEMS GLOBAL FINANCIAL     GENERAL COUNSEL                       500 ELDORADO BLVD                                                                      BROOMFIELD      CO 80021‐3408
SERVICES, LLC
SUN MICROSYSTEMS GLOBAL FINANCIAL     1000 TOWN CTR STE 1700                                                                                                       SOUTHFIELD      MI 48075‐1233
SERVICES, LLC
SUN MICROSYSTEMS GLOBAL FINANCIAL     GLOBAL FINANCIAL SERVICES             GENERAL COUNSEL                 500 ELDORADO BLVD                                      BROOMFIELD      CO 80021‐3400
SERVICES, LLC
SUN MICROSYSTEMS GMBH                 SONNENALLEE 1                                                                                       KIRCHHEIM BEI MUNCHEN,
                                                                                                                                          85551 GERMANY
SUN MICROSYSTEMS INC
SUN MICROSYSTEMS INC                  4150 NETWORK CIR                                                                                                             SANTA CLARA     CA   95054‐1778
SUN MICROSYSTEMS INC                  GENERAL COUNSEL                       4150 NETWORK CIR                                                                       SANTA CLARA     CA   95054‐1778
SUN MICROSYSTEMS INC                  1000 TOWN CTR STE 1700                                                                                                       SOUTHFIELD      MI   48075‐1233
SUN MICROSYSTEMS INC                  500 ELDORADO BLVD                                                                                                            BROOMFIELD      CO   80021‐3400
SUN MICROSYSTEMS INC                  CONTRACTS ADMINISTRATOR               4150 NETWORK CIR                                                                       SANTA CLARA     CA   95054‐1778
SUN MICROSYSTEMS INC                  C/O LAWRENCE SCHWAB/THOMAS GAA        BIALSON, BERGEN & SCHWAB        2600 EL CAMINO REAL STE 300                            PALO ALTO       CA   94306

SUN MICROSYSTEMS INC C/O BANK OF      FILE 53640                                                                                                                   LOS ANGELES     CA 90074‐3640
AMERICA
SUN MICROSYSTEMS LTD                  UNIVERSITY OF WARWICK SCIENCE PARK    MILLBURN HILL RD.                                             COVENTRY, CV4 7HS
                                                                                                                                          GREAT BRITAIN
SUN MICROSYSTEMS NEDERLAND B.V.       SATURNUS 1                                                                                                                   DURHAM          NH 03824
SUN MICROSYSTEMS OF CANADA INC.       27 ALLSTATE PARKWAY                   7TH FLOOR                                                     MARKHAM ON L3R 5R7
                                                                                                                                          CANADA
SUN MICROSYSTEMS OF CANDA INC.        LEASE OPERATIONS MANAGER CC:          27 ALLSTATE PARKWAY             7TH FLOOR                     MARKHAM ON L3R 5L7
                                      GENERAL COUNSEL                                                                                     CANADA
SUN MICROSYSTEMS, INC                 4150 NETWORK CIR                                                                                                             SANTA CLARA     CA   95054‐1778
SUN MICROSYSTEMS, INC.                4150 NETWORK CIR                                                                                                             SANTA CLARA     CA   95054‐1778
SUN MICROSYSTEMS, INC.                GENERAL COUNSEL                       4150 NETWORK CIR                                                                       SANTA CLARA     CA   95054‐1778
SUN NIKLAS                            5009 SE 48TH ST                                                                                                              OKLAHOMA CITY   OK   73135‐4111
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Name                               Address1                             Address2                        Address3              Address4               City                State Zip
SUN OWN INDUSTRIAL CO., LTD.       400, CHANG SUI RD., SECTION 2        TA FU CHUN, PEI TOU HSIANG                            CHANG HUA HSIEN TAIWAN

SUN PLASTICS COATING CO            42105 POSTIFF AVE                                                                                                   PLYMOUTH          MI    48170‐4637
SUN PONTIAC‐GMC TRUCK INC          3333 SUNRISE HWY                                                                                                    WANTAGH           NY    11793‐4060
SUN PONTIAC‐GMC TRUCK, INC.        3333 SUNRISE HWY                                                                                                    WANTAGH           NY    11793‐4060
SUN PONTIAC‐GMC TRUCK, INC.        PATRICK CASSINO                      3333 SUNRISE HWY                                                               WANTAGH           NY    11793‐4060
SUN PRINTING                       41 LONGVIEW AVE E                                                                                                   MANSFIELD         OH    44903‐4205
SUN PU                             1437 CROWNDALE LANE                                                                                                 CANTON            MI    48188‐6211
SUN PUBLICATIONS INC               PO BOX 12921                                                                                                        SHAWNEE MISSION   KS    66282‐2921
SUN REF/MARCUS HOOK                PO BOX 1226                                                                                                         BOOTHWYN          PA    19061‐7226
SUN REFINING & MARKETING           TEN PENN CENTER 1801 MARKET ST                                                                                      PHILADELPHIA      PA    19103
SUN RISE AUTOMOTIVE                3217 E PIONEER PKWY                                                                                                 ARLINGTON         TX    76010‐5312
SUN SERVICE CENTER                 8010 BREWERTON RD                                                                                                   CICERO            NY    13039‐9552
SUN STAR MODELS DEVELOPMENT LTD.

SUN STEEL TREATING INC             550 N MILL ST                        PO BOX U                                                                       SOUTH LYON         MI   48178‐1263
SUN STEEL TREATING INC             550 N MILL ST                                                                                                       SOUTH LYON         MI   48178‐1263
SUN STEEL/S. LYON                  550 N MILL ST                        P.O. BOX U                                                                     SOUTH LYON         MI   48178‐1263
SUN TEC CORP                       46590 RYAN CT                                                                                                       NOVI               MI   48377‐1730
SUN TECH AUTO REPAIR CENTER        2701 KNAPP ST                                                                                                       BROOKLYN           NY   11235‐1011
SUN TECHNICOM INC                  ATTN: CORPORATE OFFICER/AUTHORIZED   13324 FARMINGTON RD                                                            LIVONIA            MI   48151‐4203
                                   AGENT
SUN TIMES MEDIA GROUP              350 N ORLEANS ST                     10N                                                                            CHICAGO           IL 60654‐1501
SUN TRUST                          PO BOX 79194                                                                                                        BALTIMORE         MD 21279‐0914
SUN TRUST EQUIPMENT FINANCE &      ATTN PATRICK K CAMERON ESQUIRE       OBER, KALER, GRIMES & SHRIVER   120 E BALTIMORE ST                             BALTIMORE         MD 21202
LEASING CORPORATION
SUN TRUST MORTGAGE                 ATTN: PETER DEVICO                   100 WALNUT AVE # 300                                                           CLARK              NJ   07066‐1253
SUN VALLEY AUTOMOTIVE              4553 N RANCHO DR                                                                                                    LAS VEGAS          NV   89130‐3403
SUN VALLEY EXPRESS INC             2465 S 19TH AVE STE A                                                                                               PHOENIX            AZ   85009‐6950
SUN YONG                           2885 OLDEN OAK LN                    APT 303                                                                        AUBURN HILLS       MI   48326
SUN YUHAO                          528 RIVERSIDE DR APT 3C                                                                                             NEW YORK           NY   10027‐3940
SUN, DAH‐CHEN                      4224 FULLER HOLLOW RD                                                                                               VESTAL             NY   13850‐5546
SUN, GUOYOU                        9085 BRADWAY BLVD                                                                                                   GRAND BLANC        MI   48439‐7309
SUN, LI L                          47677 RED PINE CT                                                                                                   NOVI               MI   48374‐2861
SUN, MIN                           2584 LOCKSLEY CT                                                                                                    TROY               MI   48083‐5710
SUN, PAUL M                        177 ROSSITER RD                                                                                                     ROCHESTER          NY   14620‐4127
SUN, PEI‐LUNG                      22560 FULLER DR                                                                                                     NOVI               MI   48374‐3781
SUN, PETER C                       PO BOX 9022                                                                                                         WARREN             MI   48090‐9022
SUN, QINWEI                        11810 FARMINGTON RD                                                                                                 LIVONIA            MI   48150‐1734
SUN, SUNGKI                        INCHEON CITH SOUTH KOREA             SANKOK 3 DONG                   BUIPYONG‐GU 101‐140
SUN, YANLIN                        4221 CASS AVE APT 700                                                                                               DETROIT           MI 48201‐1761
SUN, YONG                          2885 OLDEN OAK LN                    APT 303                                                                        AUBURN HILLS      MI 48326‐2144
SUN, ZONGXUAN                      3210 PINEVIEW LN N                                                                                                  MINNEAPOLIS       MN 55441
SUN‐MATE CORPORATION
SUN‐SENTINEL INC DEPT NO 214320    200 E LAS OLAS BLVD                                                                                                 FORT LAUDERDALE    FL 33301
SUN‐TEC CORP                       46590 RYAN CT                                                                                                       NOVI               MI 48377‐1730
SUN‐TECH AUTO                      2470 LUCKNOW DR UNIT 8                                                                     MISSISSAUGA ON L5S 1J9
                                                                                                                              CANADA
SUNAGEL, ELIZABETH                 926 WILLIS ST # B                                                                                                   CHESAPEAKE         VA 23323‐5919
SUNAKO MARRINER                    5402 WESTERN RD                                                                                                     FLINT              MI 48506‐1357
SUNANDHA CHUDABALA                 9134 NOBLE AVE                                                                                                      NORTH HILLS        CA 91343‐3402
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Name                                  Address1                           Address2                         Address3   Address4                City                  State Zip
SUNBEAM AUTO LTD                                                         38‐6 DELHI‐JAIPUR HWY                       GURGAON,IN,122001,INDIA
                                                                         NARSINGPUR
SUNBEAM AUTO LTD                      SURYAKANT MULAY                    38‐6 DELHI‐JAIPUR HWY NARSINGP                                        ROCHESTER            IN   46975

SUNBEAM AUTO LTD                      38‐6 DELHI‐JAIPUR HWY NARSINGPUR                                               GURGAON IN 122001 INDIA
SUNBEAM DEVELOPMENT CORP              1401 79TH STREET CSWY                                                                                    NORTH BAY VILLAGE    FL   33141‐4104
SUNBEAM TELEVISION CORP.              EDMUND ANSIN                       1401 79TH STREET CSWY                                                 NORTH BAY VILLAGE    FL   33141‐4104
SUNBEAM WELDING & FABRICATION         109 BAKER ST                       PO BOX 171                                                            SYRACUSE             NY   13206‐1702
SUNBEAM WELDING & FABRICATION INC     109 BAKER ST                       PO BOX 171                                                            SYRACUSE             NY   13206‐1702

SUNBEAM WELDING & FABRICATION INC     109 BAKER ST                                                                                             SYRACUSE             NY 13206‐1702

SUNBEAM/INDIA                         38/6 K.M. STONE                    DELH‐JAIPUR HIGHWAY                         NARSINGPUR HA 122 001
                                                                                                                     INDIA
SUNBELT AGRICULTURAL EXPOSITION INC   290 HARPER BLVD STE G                                                                                    MOULTRIE             GA 31788‐2157

SUNBELT BATT/TEMPE                    525 S MCCLINTOCK DR STE 103                                                                              TEMPE                AZ 85281‐2228
SUNBELT COMMUNICATIONS                LISA HOWFIELD                      1500 FOREMASTER LANE                                                  LAS VEGAS            NV 89101‐1103
SUNBELT COMMUNICATIONS                LISA HOWFIELD                      1500 FOREMASTER LN                                                    LAS VEGAS            NV 89101‐1103
SUNBELT MARKETING GROUP, INC
SUNBELT RENTALS                       4949 S HARDING ST                                                                                        INDIANAPOLIS         IN   46217‐9563
SUNBELT RENTALS                       2341 DEERFIELD DR                                                                                        FORT MILL            SC   29715‐8298
SUNBELT RENTALS                       1337 HUNDRED OAKS DRIVE                                                                                  CHARLOTTE            NC   28217
SUNBELT RENTALS                       TONY ENGLISH                       2341 DEERFIELD DR                                                     FORT MILL            SC   29715‐8298
SUNBELT RENTALS INC                   48595 GRAND RIVER AVE                                                                                    NOVI                 MI   48374‐1245
SUNBELT RENTALS INC                   850 DANIEL DR                                                                                            KOKOMO               IN   46901‐3101
SUNBIRD PRODUCTS A/S                  100 SEA‐HORSE DR., WAUKEGAN                                                                              WAUKEGAN             IL   60085
SUNBIRD PRODUCTS A/S
SUNBURST AUTOMOTIVE                   15448 N 67TH AVE                                                                                         GLENDALE             AZ   85306‐2804
SUNBURST INNOVATIONS INC              ONE TO ONE MARKETING SOLUTIONS     1005 INTERNATIONALE PKWY STE                                          WOODRIDGE            IL   60517‐4985
                                                                         230
SUNBURST INNOVATIONS INC              DBA ONE TO ONE MARKETING SOLUT     1005 INTERNATIONALE PKWY STE                                          WOODRIDGE            IL   60517‐4985
                                                                         230
SUNBURST PROP‐PARK FOREST APTS        ACCT OF TERRY MESSMER
SUNBURY ROCCALYN                      4817 OLENTANGY BLVD                                                                                      COLUMBUS            OH 43214‐2052
SUNBURY TRANSPORT LTD                 P O BOX 905 STATION A                                                          FREDERICTON CANADA NB
                                                                                                                     E3B 5B4 CANADA
SUNBY, MARY S                         7909 W LORRAINE PL                                                                                       MILWAUKEE            WI   53222‐4936
SUNCHA CLODFELDER                     3005 SAND CREEK TRL                                                                                      MARTINSVILLE         IN   46151‐6295
SUNCICA SAVEVSKA                      21635 NEWCASTLE RD                                                                                       HARPER WOODS         MI   48225‐2361
SUNCOAST AUTO & TIRE                  6777 HAINES RD N                                                                                         SAINT PETERSBURG     FL   33702‐6141
SUNCOAST AUTOMOTIVE PERFORMANCE,      ERIC SCHILDWACHTER                 3112 29TH AVE E                                                       BRADENTON            FL   34208‐7419
INC.
SUNCOAST PONTIAC, INC.                ROBERT GEYER                       1850 BAY RD                                                           SARASOTA             FL 34239
SUNCOAST TRANSPORT INC                PO BOX 604                                                                                               BENSALEM             PA 19020‐0604
SUNCON TOYS INDUSTRY LTD.
SUNCOR ENERGY PRODUCTS INC.           36 YORK MILLS RD.                                                              NORTH YORK ON M2P 2C5
                                                                                                                     CANADA
SUND, EDNA M                          25923 BUTTERNUT RIDGE RD                                                                                 NORTH OLMSTED       OH    44070‐4512
SUND, ROBERT A                        760 ALBION RD                                                                                            EDGERTON            WI    53534‐9536
SUND, WILLIAM H                       3549 BREWSTER ST                                                                                         DEARBORN            MI    48120‐1013
SUNDA, MOISE                          48665 STONEACRE DR                                                                                       MACOMB              MI    48044‐1884
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Name                                 Address1                          Address2                     Address3            Address4                 City              State Zip
SUNDAE M ADAMS                       6108 CLARENCE DR                                                                                            JACKSON            MS 39206
SUNDANCE                             PO BOX 189                                                                                                  GRAND LEDGE        MI 48837‐0189
SUNDANCE AUTO SERVICE CENTER         2002 E VAN BUREN ST                                                                                         PHOENIX            AZ 85006
SUNDANCE B‐P‐G/WHEELS, INC           PO BOX 769                                                                                                  ZION                IL 60099‐0769
SUNDANCE B‐P‐G/WHEELS, INC.          PO BOX 769                                                                                                  ZION                IL 60099‐0769
SUNDANCE BUICK,PONTIAC,GMC,INC       1205 N US HIGHWAY 27                                                                                        SAINT JOHNS        MI 48879‐1139
SUNDANCE BUICK,PONTIAC,GMC,INC       H. TERRY HANKS                    1205 N US HIGHWAY 27                                                      SAINT JOHNS        MI 48879‐1139
SUNDANCE CARRIAGE CORPORATION        5012 W LEMON ST                                                                                             TAMPA              FL 33609‐1104
SUNDANCE CHEVROLET                   5895 E SAGINAW HWY                                                                                          GRAND LEDGE        MI 48837‐9110
SUNDANCE CHEVROLET, INC.             5895 E SAGINAW HWY                                                                                          GRAND LEDGE        MI 48837‐9110
SUNDANCE CHEVROLET, INC.             H. TERRY HANKS                    5895 E SAGINAW HWY                                                        GRAND LEDGE        MI 48837‐9110
SUNDANCE DIE CUT LLC                 PHIL BURGESS X102                 1 SUNDANCE WAY               800 DIVISION LOOP                            VIRGINIA BEACH     VA 23455
SUNDANCE DIE CUT LLC                 800 DIVISION LOOP                                                                                           MINERAL WELLS      TX 76067‐9270
SUNDANCE DIGITAL SIGNAL PROCESSING   4790 CAUGHLIN PARKWAY # 233                                                                                 RENO               NV 89519
INC
SUNDAR, MOHAN                        4277 CACTUS DR                                                                                              TROY              MI 48085‐7025
SUNDARAM PLASTICS                    BELAGONDAPPALLI HOSURTHALLY RD                                                     HOSUR TAMILNADU
                                                                                                                        635114 INDIA
SUNDARAM, ARUN K                     1 14TH ST APT 906                                                                                           HOBOKEN           NJ   07030‐6719
SUNDARAM, ARUN KUMAR                 1 14TH ST APT 906                                                                                           HOBOKEN           NJ   07030‐6719
SUNDARAM, GOPAL                      11146 VANCE JACKSON RD APT 1705                                                                             SAN ANTONIO       TX   78230
SUNDARAM, PADMA                      5322 POND BLUFF DR                                                                                          W BLOOMFIELD      MI   48323‐2444
SUNDARAM, SATISH                     5322 POND BLUFF DR                                                                                          WEST BLOOMFIELD   MI   48323‐2444
SUNDARAM, SHASHIKANT                 5435 SEABREEZE LN                                                                                           STERLING HTS      MI   48310‐7449
SUNDARAM/INDIA                       98A DR RADHAKRISHNAN SALAI        AURAS CORPORATE CTR 7TH FL                       CHENNAI TAMILNA 600004
                                                                                                                        INDIA
SUNDARARAJU, KAMALA                  21809 CLOVER LN                                                                                             NOVI              MI   48375‐5117
SUNDAY                               3065 SOUTHWESTERN BLVD SUITE 1                                                                              ORCHARD PARK      NY   14127
SUNDAY DELORES                       215 W HIGH ST                                                                                               UNION CITY        MI   49094‐1025
SUNDAY JOHN S (645421)               JOYCE MICHAEL P                   201 DEVONSHIRE ST STE 407                                                 BOSTON            MA   02110‐1416
SUNDAY LIVING TRUST                  5059 WRIGHT VIEW DR                                                                                         LAS VEGAS         NV   89120
SUNDAY PITINII                       48 N BENTLEY AVE                                                                                            NILES             OH   44446‐2440
SUNDAY, BILLY J                      402 N MAIN ST                                                                                               FARMLAND          IN   47340‐9796
SUNDAY, CAROLYN S                    5113 NORTHFIELD DR                                                                                          HOWELL            MI   48843‐6443
SUNDAY, CATHERINE A                  107 FOXPOINTE                                                                                               SWARTZCREEK       MI   48473
SUNDAY, CATHERINE A                  107 FOXPOINTE DR                                                                                            SWARTZ CREEK      MI   48473‐8281
SUNDAY, CHRISTINE C                  6511 WASHINGTON RD                                                                                          WATERFORD         WI   53185‐2666
SUNDAY, FLORIAN C                    3079 MERWOOD DR                                                                                             MOUNT MORRIS      MI   48458‐8219
SUNDAY, GEORGE F                     33982 SPRING VALLEY DR                                                                                      WESTLAND          MI   48185‐1448
SUNDAY, KELVIN J                     1090 ZIGGY RD                                                                                               FARWELL           MI   48622‐9672
SUNDAY, KELVIN JAY                   1090 ZIGGY RD                                                                                               FARWELL           MI   48622‐9672
SUNDAY, MARVIN E                     28489 FOUNTAIN ST                                                                                           ROSEVILLE         MI   48066‐4763
SUNDAY, MATTHEW                      13245 RITA ST                                                                                               PAULDING          OH   45879‐8865
SUNDAY, MICHAEL P                    5459 N BELSAY RD                                                                                            FLINT             MI   48506‐1251
SUNDAY, MURRAY L                     PO BOX 82                                                                                                   FARMLAND          IN   47340‐0082
SUNDAY, ROBERT J                     6511 WASHINGTON RD                                                                                          WATERFORD         WI   53185‐2666
SUNDAY, TAMMY R                      312 CLINE CT                                                                                                ASHVILLE          OH   43103‐9791
SUNDAY, THOMAS M                     14227 LANDINGS WAY                                                                                          FENTON            MI   48430‐1317
SUNDAY, TRACEY L                     PO BOX 12                                                                                                   HOGANSBURG        NY   13655‐0012
SUNDAY, WILLIAM J                    APT 9                             49 COUNTY ROUTE 45                                                        HOGANSBURG        NY   13655‐3102
SUNDBERG, ALICE G                    1220 CEDAR ST                     C/O ALLAN A SUNDBERG                                                      CHRISTIANSBURG    VA   24073‐3812
SUNDBERG, BARBARA L                  34347 PEPPERMILL COURT                                                                                      STERLING HGTS     MI   48312‐5651
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Name                            Address1                          Address2                      Address3          Address4         City             State Zip
SUNDBERG, BRUCE D               4040 ELWIN DR                                                                                      COOKEVILLE        TN 38506‐8666
SUNDBERG, CYNTHIA               13191 WATERCREST DR                                                                                DEWITT            MI 48820‐8161
SUNDBERG, DENNIS C              1037 ORION TER                                                                                     LAKE ORION        MI 48362‐1972
SUNDBERG, GJ & ASSOCIATES INC   28525 BECK RD UNIT 111                                                                             WIXOM             MI 48393‐4742
SUNDBERG, LEE E                 13191 WATERCREST DRIVE                                                                             DEWITT            MI 48820‐8161
SUNDBERG, SANDRA                2302 LANTERN HILL DR                                                                               URBANA             IL 61802‐5618
SUNDE BLD/ROYAL OAK             1224 E WINDEMERE AVE                                                                               ROYAL OAK         MI 48073‐2821
SUNDE JR, CARROLL O             10551 SE 94TH PL                                                                                   PORTLAND          OR 97266‐7436
SUNDE RICHARD                   335 MILDRED AVE                                                                                    GALT              CA 95632‐1614
SUNDE, MARY F                   4212 WOODROW AVE                                                                                   BURTON            MI 48509‐1054
SUNDE, STEPHEN E                4212 WOODROW AVE                                                                                   BURTON            MI 48509‐1054
SUNDECK, JAMES G                5539 BAY AVE                                                                                       AU GRES           MI 48703‐9403
SUNDECK, RAYMOND E              770 CHERYL ST                                                                                      SAGINAW           MI 48609‐4920
SUNDEEN, ARTHUR R               4405 WAGON WHEEL LN                                                                                LANSING           MI 48917‐1663
SUNDEEN, DELORES B              7236 DARNELL LN                                                                                    GREENDALE         WI 53129‐2359
SUNDEEN, JOHN P                 4405 WAGON WHEEL LN                                                                                LANSING           MI 48917‐1663
SUNDEEN, RONALD E               2416 ARLINGTON RD                                                                                  LANSING           MI 48906‐3706
SUNDEEP GOYAL                   4139 PINE CREEK RD SW APT 2                                                                        GRANDVILLE        MI 49418‐2568
SUNDELL CARL & DEE              7258 MEL HELEN WAY                                                                                 WEST JORDAN       UT 84084‐3170
SUNDELL, HENRY                  57016 MEGAN DR                                                                                     WASHINGTON TWP    MI 48094‐3814
SUNDELL, RALPH R                6866 BUNKERHILL LN                                                                                 CANTON            MI 48187‐3034
SUNDERLAND MOTOR COMPANY INC    PO BOX 429                        1601 S STATE ST                                                  JERSEYVILLE        IL 62052‐0429
SUNDERLAND MOTOR COMPANY INC    JOHN SUNDERLAND                   PO BOX 429                    1601 S STATE ST                    JERSEYVILLE        IL 62052‐0429
SUNDERLAND RICHARD P (640598)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA 23510
                                                                  STREET, SUITE 600
SUNDERLAND TRUCKING                                               RT. 522                                                                           PA   17051
SUNDERLAND, BRIAN J             14274 LAKEFIELD RD                                                                                 HEMLOCK          MI   48626‐9734
SUNDERLAND, EUGENIA G           6445 FAR HILLS AVE                                                                                 CENTERVILLE      OH   45459‐2725
SUNDERLAND, MARGARET            5300 PROFESSIONAL DR., APT# 522                                                                    WITCHITA FALLS   TX   76302‐6302
SUNDERLAND, RICHARD P           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA   23510‐2212
                                                                  STREET, SUITE 600
SUNDERLAND, RUBY G              12600 MARION LN W APT 317E                                                                         MINNETONKA       MN   55305‐1338
SUNDERLAND, SARA O              3229 ST. RT. 7                                                                                     FOWLER           OH   44418‐4418
SUNDERLAND, SARA O              3229 STATE ROUTE 7                                                                                 FOWLER           OH   44418‐9781
SUNDERLAND, TOM A               1037 MALLARD CREEK RD                                                                              LOUISVILLE       KY   40207
SUNDERLIN II, JOHN T            291 DARBYHURST RD                                                                                  COLUMBUS         OH   43228‐1320
SUNDERLIN, AARON D              2027 EAGLE AVE                                                                                     SUPERIOR         CO   80024‐4440
SUNDERLIN, ASHLEIGH             PO BOX 913                                                                                         DELTA JCT        AK   99737‐0913
SUNDERLIN, DAVID D              3485 WEST M‐78                                                                                     PERRY            MI   48872
SUNDERLIN, DORWIN B             10582 NIXON RD                                                                                     GRAND LEDGE      MI   48837‐9455
SUNDERLIN, DORWIN B.            10582 NIXON RD                                                                                     GRAND LEDGE      MI   48837‐9455
SUNDERLIN, ELAINE M             APT 5                             48771 DENTON ROAD                                                BELLEVILLE       MI   48111‐3248
SUNDERLIN, THOMAS               3145 STATE ROUTE 534                                                                               ROCK CREEK       OH   44084‐9751
SUNDERLIN, THOMAS               3145 ST RTE 534                                                                                    ROCKCREEK        OH   44084‐9751
SUNDERMAN CRAIG                 SUNDERMAN, CRAIG                  3338 250TH STREET                                                CLARINDA         IA   51632‐4033
SUNDERMAN'S GARAGE              717 W BOTTOM AVE                                                                                   COLUMBIA         IL   62236‐1862
SUNDERMAN, CAROL S              702 ROXBURY AVENUE                                                                                 YOUNGSTOWN       OH   44502‐2539
SUNDERMAN, CRAIG                3338 250TH ST                                                                                      CLARINDA         IA   51632‐4033
SUNDERMAN, DALE E               16176 PRETTY LAKE DRIVE                                                                            MECOSTA          MI   49332‐9495
SUNDERMAN, JAMES L              1952 SHERWOOD DR                                                                                   DEFIANCE         OH   43512‐3432
SUNDERMANN GARY LEE             ABCAT AUTO SALVAGE                2236 E MICHIGAN AVE                                              YPSILANTI        MI   48198‐6013
SUNDERMANN, EUGENE F            10427 PLAINS RD                                                                                    EATON RAPIDS     MI   48827‐9784
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Name                                  Address1                         Address2                     Address3                 Address4                 City           State Zip
SUNDERMANN, GERALD W                  3599 N GUNNELL RD                                                                                               DIMONDALE       MI 48821‐8739
SUNDERMANN, WILLIAM D                 12801 CLINTON RD                                                                                                SPRINGPORT      MI 49284‐9735
SUNDERMEYER JR, JOHN E                1166 N LAKE RD                                                                                                  NEW CARLISLE    OH 45344‐9706
SUNDERMEYER JR, JOHN E                1166 NORTH LAKE RD                                                                                              NEW CARLISLE    OH 45344‐5344
SUNDERMEYER, JERRY L                  108 N HAVEN DR                                                                                                  FAIRBORN        OH 45324‐4316
SUNDERMEYER, SUSAN M                  2321 SHROYER RD                                                                                                 DAYTON          OH 45419‐2649
SUNDERMEYER,SUSAN M                   2321 SHROYER RD                                                                                                 DAYTON          OH 45419‐2649
SUNDIATA NOBLE                        16857 SNOWDEN ST                                                                                                DETROIT         MI 48235‐4230
SUNDIN THEODORE A                     11 COUNTY ROAD 4213                                                                                             NAPLES          TX 75568‐5596
SUNDIN, MICHAEL D                     3576 JUNCTION ST                                                                                                NORTH PORT      FL 34288‐8235
SUNDIN, PATRICIA E                    46803 RIVERWOODS DR                                                                                             MACOMB          MI 48044‐5704
SUNDINE, REBECCA J                    1045 PLUM ST                                                                                                    BROWNSBURG      IN 46112‐7982
SUNDINE, REBECCA JEAN                 1045 PLUM ST                                                                                                    BROWNSBURG      IN 46112‐7982
SUNDLING, JEROME D                    4697 NEWCROFT ST                                                                                                COMMERCE TWP    MI 48382‐3825
SUNDMAN ROBERT (ESTATE OF) (460765)   WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                                NEW YORK        NY 10038

SUNDMAN, IVAN J                       99 MAIN ST                                                                                                      SEBASTIAN      FL 32958‐4075
SUNDMAN, ROBERT                       WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                                NEW YORK       NY 10038
SUNDOWN TANK LINES                    MARK WATSON                      472 WEBBER RD RR 5                                    WELLAND ON L3B 5
                                                                                                                             CANADA
SUNDOWN TANK LINES LTD                472 WEBBER ROAD SOUTH RR#5                                                             WELLAND CANADA ON L3B
                                                                                                                             5N8 CANADA
SUNDOWN, DONALD G                     7182 MEADVILLE RD                                                                                               BASOM          NY    14013‐9750
SUNDOWN, GAIL B.                      49 HOFFMAN PL                                                                                                   BUFFALO        NY    14207‐2722
SUNDQUIST COMPANY LLC                 6330 E 75TH ST STE 310                                                                                          INDIANAPOLIS   IN    46250‐2708
SUNDQUIST JOHN                        2744 E 5 POINT HWY                                                                                              CHARLOTTE      MI    48813‐9163
SUNDQUIST, ANGELINE                   4545 S ATLANTIC AVE              CONDO 3305                                                                     PONCE INLET    FL    32127‐7042
SUNDQUIST, BERNICE                    28 E GOODELL ST                                                                                                 ECORSE         MI    48229‐1569
SUNDQUIST, CAROLE M                   1023 HAMPSTEAD RD                                                                                               ESSEXVILLE     MI    48732‐1907
SUNDQUIST, EVAN J                     428 GRAYSON DR                                                                                                  MOORE          SC    29369‐8910
SUNDQUIST, HAROLD W                   4545 S ATLANTIC AVE              CONDO 3305                                                                     PONCE INLET    FL    32127
SUNDQUIST, JOHN L                     2744 E 5 POINT HWY                                                                                              CHARLOTTE      MI    48813‐9163
SUNDQUIST, KENNETH B                  41175 WESSEL DR                                                                                                 STERLING HTS   MI    48313‐3461
SUNDQUIST, NANCY L                    5821 JONES RD                                                                                                   NORTH BRANCH   MI    48461‐9740
SUNDRAM FAST/PRESCOT                  2098 FALCONS ROOST DR                                                                                           PRESCOTT       AZ    86303‐7410
SUNDRAM FAST/PRESCOT                  201 E DRAHNER RD                 C/O PROJECT MANAGEMENT INC                                                     OXFORD         MI    48371‐5305
SUNDRAM FASTENERS LIMITED             801 W BIG BEAVER ROAD            5TH FL                                                                         TROY           MI    48084‐4767
SUNDRAM FASTENERS LTD                 SEZ UNIT                         98A DR RADHAKRISHNA SALAI                             MYLAPORE CHENNAI
                                                                                                                             600004 INDIA
SUNDRAM FASTENERS LTD                 RADIATOR CAPS DIV                2098 FALCONS ROOST DR                                                          PRESCOTT       AZ    86303‐7410
SUNDRAM FASTENERS LTD
SUNDRAM FASTENERS LTD                 201 E DRAHNER RD                                                                                                OXFORD         MI 48371‐5305
SUNDRAM FASTENERS LTD                 98A DR RADHAKRISHNAN SALAI       AURAS CORPORATE CTR 7TH FL                            CHENNAI TAMILNADU
                                                                                                                             600004 INDIA
SUNDRAM FASTENERS LTD                 HARITA HOSUR 635 109                                                                   HARITA IN 635109 INDIA
SUNDRAM FASTENERS LTD                 JOHN PETERS                      201 E DRAHNER RD             C/O PROJECT MANAGEMENT                            OXFORD         MI 48371‐5305
                                                                                                    INC
SUNDRAM FASTENERS LTD                 JOHN PETERS                      C/O PROJECT MANAGEMENT INC   201 E. DRAHNER           NINGBO ZHEJIANG CHINA
                                                                                                                             (PEOPLE'S REP)
SUNDRAM FASTENERS LTD                 ROGER RAGAVAN                    C/O TVS AMERICA INC                                   LANGFANG, HEBEI CHINA
                                                                                                                             (PEOPLE'S REP)
SUNDRAM FASTENERS LTD                 ROGER ROGHAVON                   C/O PROJECT MANAGEMENT INC   201 E. DRAHNER                                    DIXON           IL   61021
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Name                             Address1                          Address2                        Address3         Address4             City            State Zip
SUNDRAM FASTENERS LTD            98A DR RADHAKRISHNAN SALAI                                                         CHENNAI TAMILNADU,
                                                                                                                    60000 INDIA
SUNDRAM INTERNATIONAL INC        801 W BIG BEAVER RD STE 500                                                                             TROY             MI   48084‐4724
SUNDRAM INTERNATIONAL INC        ROGER ROGHAVON                    C/O PROJECT MANAGEMENT INC      201 E. DRAHNER                        DIXON            IL   61021
SUNDRAM INTERNATIONAL INC        201 E DRAHNER RD                                                                                        OXFORD           MI   48371‐5305
SUNDRAM INTERNATIONAL INC        801 W BIG BEAVER ROAD             5TH FL                                                                TROY             MI   48084‐4767
SUNDRLA, DONNA L                 2857 RIDGE RD                                                                                           WHITE LAKE       MI   48383‐1756
SUNDRLA, ERICK L                 3640 HERITAGE FARMS DR                                                                                  HIGHLAND         MI   48356‐1636
SUNDRUP KARL                     B▄NKAMP 27                        D 48157 M▄NSTER
SUNDRUP KARL                     BUENKAMP 27                                                                        D‐ 48157 MUENSTER,
                                                                                                                    GERMANY
SUNDSETH JOHN EILERT (403148)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                           NORFOLK          VA 23510
                                                                   STREET, SUITE 600
SUNDSETH, JOHN EILERT            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                           NORFOLK          VA 23510‐2212
                                                                   STREET, SUITE 600
SUNDSTROM WARREN (459375)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                           NORFOLK          VA 23510
                                                                   STREET, SUITE 600
SUNDSTROM, JOHN A                160 SYCAMORE CREEK DR                                                                                   SPRINGBORO      OH    45066‐2307
SUNDSTROM, JOHN F                PO BOX 296                                                                                              CANNON BEACH    OR    97110‐0296
SUNDSTROM, MARK R                1200 SCOTT AVE APT 174                                                                                  CLOVIS          CA    93612‐2964
SUNDSTROM, MARY L                APT 102                           12921 WEST 136TH STREET                                               OVERLAND PARK   KS    66221‐7212
SUNDSTROM, SHARON                30558 BARRINGTON STREET                                                                                 MADISON HTS     MI    48071‐1832
SUNDSTROM, THOMAS                9309 DIMICK DR NE                                                                                       ROCKFORD        MI    49341‐9153
SUNDSTROM, THOMAS B              9309 DIMICK DR NE                                                                                       ROCKFORD        MI    49341‐9153
SUNDSTROM, VERNA                 3408 W RALPH ROGERS RD            APT A201                                                              SIOUX FALLS     SD    57108‐2634
SUNDSTROM, VERNA                 3408 WEST RALPH ROGERS RD         APT A201                                                              SIOUX FALLS     SD    57108
SUNDSTROM, WARREN                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                           NORFOLK         VA    23510‐2212
                                                                   STREET, SUITE 600
SUNDT CORP                       2642 S 20TH PL                                                                                          PHOENIX         AZ    85034‐6717
SUNDT CORPORATION                TERRY SCOTT                       2642 S 20TH PL                                                        PHOENIX         AZ    85034‐6717
SUNDUCK HWANG                    6551 CHINA GROVE CT                                                                                     ALEXANDRIA      VA    22310‐2432
SUNDWALL, DENNIS B               9108 SPRING BROOK CIR                                                                                   DAVISON         MI    48423‐2136
SUNDWALL, EDWARD R               6783 ORCHARD MEADOW DR                                                                                  PORTAGE         MI    49024‐2225
SUNDWICK, JOHN C                 854 FRANK ST                                                                                            FLINT           MI    48504‐4859
SUNDWICK, ROBERT W               1917 ROCKCREEK LN                                                                                       FLINT           MI    48507‐2274
SUNDY RUSSELL (448089)           KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                         CLEVELAND       OH    44114
                                                                   BOND COURT BUILDING
SUNDY, RUSSELL                   KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                          CLEVELAND       OH 44114
                                                                   BOND COURT BUILDING
SUNEDISON ORIGINATION 1, LLC     ATTN: GENERAL COUNSEL             12500 BALTIMORE AVE                                                   BELTSVILLE      MD    20705‐6306
SUNEDISON ORIGINATION 1, LLC     ATTN: CEO                         12500 BALTIMORE AVE                                                   BELTSVILLE      MD    20705‐6306
SUNEDISON ORIGINATION1, LLC      ATTN: CEO                         12500 BALTIMORE AVE                                                   BELTSVILLE      MD    20705‐6306
SUNEET KATOCH                    8291 BEAVERLAND                                                                                         DETROIT         MI    48239‐1103
SUNESIS FINANCIAL SVC            ATTN: CHARLIE J HARRISON III      30 N SAGINAW ST # 408                                                 PONTIAC         MI    48342‐2169
SUNETRA RASMUSSEN                1015 S MORRISH RD                                                                                       FLINT           MI    48532‐3035
SUNFAIR CHEVROLET, INC.          ROBERT HALL                       1600 E YAKIMA AVE                                                     YAKIMA          WA    98901‐2130
SUNFAIR CHEVROLET, INC.          1600 E YAKIMA AVE                                                                                       YAKIMA          WA    98901‐2130
SUNFLOWER COUNTY TAX COLLECTOR   PO BOX 1080                                                                                             INDIANOLA       MS    38751‐1080
SUNFLOWER HOUSE                  15440 W 65TH ST                                                                                         SHAWNEE         KS    66217‐9306
SUNFLOWER PUBLISHING             ATTN ACCOUNTING                   PO BOX 888                                                            LAWRENCE        KS    66044‐0888
SUNG CHAO                        1264 PROVINCIAL DR                                                                                      TROY            MI    48084‐1567
SUNG CHOE                        4306 HEPATICA CT                                                                                        SUMMERFIELD     NC    27358‐9297
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Name                                   Address1                          Address2                       Address3             Address4               City                 State Zip
SUNG CHUNG                             1224 CANDLEWOOD DR                                                                                           FULLERTON             CA 92833‐2008
SUNG LEE                               1904 WEST 13 MILE ROAD                                                                                       ROYAL OAK             MI 48073‐2305
SUNG NGUYEN                            5730 BURKHARDT RD                                                                                            DAYTON                OH 45431‐2930
SUNG PAICK                             2250 RUTHERFORD RD                                                                                           CARLSBAD              CA 92008‐8814
SUNG PAIK                              3307 MERRILL AVE                                                                                             ROYAL OAK             MI 48073‐6816
SUNG SAN CO LTD                        4L 43B SUNGSEO INDUSTRIAL         COMPLEX TALSEO KU                                   TAEGU KOREA SOUTH
                                                                                                                             KOREA
SUNG SAN CO. LTD.                      J. H. BAE                         4LOT 43BLOCK SUNGSEO INDUSTRIA COMPLEX, TALSEO‐KU   FUMEL 47500 FRANCE

SUNG T PAK                             1723 STONE RD APT 3                                                                                          ROCHESTER            NY   14615
SUNG V NGUYEN                          5730 BURKHARDT RD.                                                                                           DAYTON               OH   45431‐2930
SUNG W KIM                             490 FOX HILLS DR N APT 1                                                                                     BLOOMFIELD           MI   48304‐1337
SUNG YONG                              5820 DAWN RIDGE DR                                                                                           TROY                 MI   48098‐5103
SUNG YU                                SUNG YU                           C/O: GM KOREA                                                              WARREN               MI   48090
SUNG, DANIEL H                         131 N KIMBERLY AVE APT 21                                                                                    AUSTINTOWN           OH   44515‐1845
SUNG, JOOWAN                           2913 EL CAMINO REAL                                                                                          TUSTIN               CA   92782
SUNG, LAURA                            3018 ORCHARD CIR                                                                                             TIFTON               GA   31794
SUNG, SHUNG H                          4178 DREXEL DR                                                                                               TROY                 MI   48098‐4310
SUNG, UN Y                             3666 ROSECLIFF TRCE                                                                                          BUFORD               GA   30519‐3026
SUNG‐LING TWU                          1717 LEXINGTON DR                                                                                            TROY                 MI   48084‐5711
SUNG‐NAM CHO                           44576 WILLIAMS DR                                                                                            NOVI                 MI   48375‐1444
SUNGARD TREASURY SYSTEMS               PO BOX 7659                                                                                                  CHICAGO              IL   60693‐0001
SUNGCHIN HONG                          3195 APPLERIDGE DR                                                                                           ANN ARBOR            MI   48103‐9059
SUNGHAE MOON                           7832 VALLEYFIELD DR                                                                                          SPRINGFIELD          VA   22153‐4119
SUNGKYUNKWAN UNIVERSITY, SEOUL,
KOREA
SUNGRAPHICS INC                        41 LONGVIEW AVE E                                                                                            MANSFIELD            OH   44903‐4205
SUNICH, ZANADA E                       22501 RAYMOND STREET                                                                                         ST. CLAIRSHORES      MI   48082
SUNICK WILLIAM                         1605 CAROLINE DR                                                                                             ASTON                PA   19014‐1049
SUNIGA, ALEX                           6911 BOTHWELL RD                                                                                             RESEDA               CA   91335‐3610
SUNIGA, HANNELORE                      28117 SHOCK                                                                                                  ST CLAIR SHORES      MI   48081‐3544
SUNIGA, HANNELORE                      28117 SHOCK ST                                                                                               SAINT CLAIR SHORES   MI   48081‐3544
SUNIL C KANSAL MD                      18820 BAGLEY RD STE 106                                                                                      MIDDLEBURG HEIGHTS   OH   44130‐3325
SUNIL K KAUSHAL MD                     ATTN: SUNIL K KAUSHAL             1100 S LINDEN RD # B                                                       FLINT                MI   48532‐3451
SUNIL NANDWANI                         6215 MOHICAN                                                                                                 TROY                 MI   48085‐1131
SUNILDYFAS CO LTD                      767 3 KWANGHEIWON RI              KWANGHEIWON MYUN                                    JINCHEON GUN
                                                                                                                             CHOONGBUK KR 365 830
                                                                                                                             KOREA (REP)
SUNILDYFAS CO LTD JINCHON FACTORY      767 3 KWANGHEIWON RI              KWANGHEIWON MYUN                                    JINCHEON GUN
                                                                                                                             CHOONGBUK 365 830
                                                                                                                             KOREA (REP)
SUNIOR JONES                           2827 ALDA PKWY                                                                                               BRUNSWICK            OH   44212‐1406
SUNKEL‐KIEFER, DOLORES A               2128 TELFORD DR                                                                                              ST LOUIS             MO   63125‐3224
SUNKINS, TANSAY J                      3928 HUNTERS RIDGE DR APT 3                                                                                  LANSING              MI   48911
SUNLAND AUTO SERVICE, INC.             3530 E BROADWAY RD                                                                                           MESA                 AZ   85204‐1904
SUNLAND PARK PONTIAC‐BUICK‐GMC, L.P.   955 CROCKETT ST                                                                                              EL PASO              TX   79922‐1363

SUNLEY THRIFT                          295 SAME PLACE RD                                                                                            CLEVER               MO   65631‐6667
SUNLIGHT COMMUNICATIONS LLC            1333 SANDY RIDGE DR                                                                                          ROCHESTER HILLS      MI   48306‐4063
SUNLIGHT REUPHOLSTERING INC            3565 ARKHAM LN                                                                                               MILFORD              MI   48380‐3121
SUNLIGHT UPHOLSTERING                  3565 ARKHAM LN                                                                                               MILFORD              MI   48380‐3121
SUNLINE LOGISTICAL SERVICES            PO BOX 531567                                                                                                HARLINGEN            TX   78553‐1567
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Name                                   Address1                          Address2                    Address3      Address4         City                  State Zip
SUNN, BUNNIE                           87000 US HIGHWAY 62/180                                                                      SALT FLAT              TX 79847‐4738
SUNN, LARRY R                          8700 US HWY 62/180                                                                           SALT FLAT              TX 79847
SUNNE JULIE                            SUNNE, JULIE                      STATE FARM INSURANCE        PO BOX 2371                    BLOOMINGTON             IL 61702
SUNNE, JULIE                           STATE FARM INSURANCE              PO BOX 2371                                                BLOOMINGTON             IL 61702‐2371
SUNNEHANNA COUNTRY CLUB                1000 SUNNEHANNA DR                                                                           JOHNSTOWN              PA 15905‐2100
SUNNEN PRODUCTS CO                     7910 MANCHESTER RD                                                                           SAINT LOUIS            MO 63143‐2712
SUNNEY CASE                            3840 DEERFIELD CIR                                                                           MILLSTADT               IL 62260‐2074
SUNNEY, FRANCES A                      51590 STERN LN                                                                               CHESTERFIELD           MI 48051‐2346
SUNNILAND BANK
SUNNY BROWN JR                         1081 TUCKAWANNA DR SW                                                                        ATLANTA               GA   30311‐3117
SUNNY HICKS                            9491 E 100 S                                                                                 GREENTOWN             IN   46936‐9157
SUNNY KUNNEL                           6404 NW 70TH STREET                                                                          KANSAS CITY           MO   64151
SUNNY MAGEE                            5550 HICKORY LN                                                                              NEWALLA               OK   74857‐8305
SUNNYBROOK HEALTH SCIENCE CTR
SUNNYCREST BAPTIST CHURCH              2172 W CHAPEL PIKE                                                                           MARION                IN   46952‐1567
SUNNYSIDE AUTOMOTIVE                   3790 E SUNNYSIDE RD                                                                          AMMON                 ID   83406‐7923
SUNNYSIDE AUTOMOTIVE ,INC.             KIRTLUND FRYE                     7629 PEARL RD                                              MIDDLEBURG HEIGHTS    OH   44130‐6554
SUNNYSIDE AUTOMOTIVE GROUP             7660 PEARL RD                                                                                MIDDLEBURG HEIGHTS    OH   44130‐6555
SUNNYSIDE AUTOMOTIVE XVII, LLC         KIRTLUND FRYE                     6960 CENTER ST                                             MENTOR                OH   44060‐4931
SUNNYSIDE GARAGE                       1200 ROUTE 9                                                                                 CASTLETON ON HUDSON   NY   12033‐9686
SUNNYSIDE IRRIGATION                                                     120 S 11TH ST                                                                    WA   98944
SUNNYSIDE LTD.
SUNNYVALE CHEVROLET                    660 W EL CAMINO REAL                                                                         SUNNYVALE             CA   94087‐1211
SUNNYVALE ISD SUNNYVALE                TOWN OF TAX A/C                   127 N COLLINS RD                                           SUNNYVALE             TX   75182‐9516
SUNNYVALE MOTOR COMPANY                JOHN ALEXANDER                    660 W EL CAMINO REAL                                       SUNNYVALE             CA   94087‐1211
SUNNYVALE MOTOR COMPANY                WESLEY RYDELL                     660 W EL CAMINO REAL                                       SUNNYVALE             CA   94087‐1211
SUNNYVALE MOTOR COMPANY                ATTN: WESLEY RYDELL               660 WEST EL CAMINO REAL                                    SUNNYVALE             CA   94087
SUNOBIA SIMS                           656 SOUTH 9TH STREET                                                                         SAGINAW               MI   48601‐1966
SUNOCO                                 ATTN: ROY ZAHER                   39310 PLYMOUTH RD                                          LIVONIA               MI   48150‐1057
SUNOCO                                 ATTN: JIM SALEH                   4953 SPRINGBORO PIKE                                       MORAINE               OH   45439‐1941
SUNOCO INC                             PO BOX 1226                       2ND & GREEN STRS R&D BLDG                                  BOOTHWYN              PA   19061‐7226
SUNOCO INC                             3150 W HIGGINS RD STE 160                                                                    HOFFMAN ESTATES       IL   60169‐7249
SUNOCO INC                             1801 MARKET ST                                                                               UPPER CHICHESTER      PA   19061
SUNOCO INC. (R&M)                      ADAM WZOREK                       1818 MARKET STREET                                         PHILADELPHIA          PA   19103
SUNQUEST, ROBERT J                     1210 MACKIE DR                                                                               CARROLLTON            TX   75007‐4835
SUNRAY AUTOMOTIVE INC.                 10300 ARTESIA BLVD                                                                           BELLFLOWER            CA   90706‐6777
SUNRISE BUICK PONTIAC GMC AT COLLIER   4605 S HOUSTON LEVEE RD                                                                      COLLIERVILLE          TN   38017‐9006

SUNRISE BUICK PONTIAC GMC AT           1048 W POPLAR AVE                                                                            COLLIERVILLE          TN 38017‐2505
COLLIERVILLE, LLC
SUNRISE BUICK PONTIAC GMC, LLC         ROBERT BERKHEIMER                 4605 S HOUSTON LEVEE RD                                    COLLIERVILLE          TN 38017‐9006
SUNRISE BUICK‐PONTIAC‐GMC AT           1048 W POPLAR AVE                                                                            COLLIERVILLE          TN 38017‐2505
COLLIERVILLE LLC
SUNRISE CHEVROLET                      414 NORTH AVE                                                                                GLENDALE HEIGHTS      IL 60139‐3499
SUNRISE CHEVROLET                                                        414 E NORTH AVE.                                                                 IL 60139
SUNRISE CHEVROLET BUICK PONTIAC GMC    4605 S HOUSTON LEVEE RD                                                                      COLLIERVILLE          TN 38017‐9006

SUNRISE CHEVROLET BUICK PONTIAC GMC, 4605 S HOUSTON LEVEE RD                                                                        COLLIERVILLE          TN 38017‐9006
LLC
SUNRISE CHEVROLET INC                726 OKOMA DR                                                                                   OMAK                  WA 98841‐9593
SUNRISE CHEVROLET INC                TONY BOOTH                          726 OKOMA DR                                               OMAK                  WA 98841‐9593
SUNRISE CHEVROLET, INC.              RICHARD GARBER                      414 NORTH AVE                                              GLENDALE HEIGHTS      IL 60139‐3412
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Name                                   Address1                             Address2                       Address3                      Address4         City               State Zip
SUNRISE CHEVROLET, INC.                414 NORTH AVE                                                                                                      GLENDALE HEIGHTS     IL 60139‐3412
SUNRISE CHEVROLET‐BUICK                555 E WICKENBURG WAY                                                                                               WICKENBURG          AZ 85390‐1543
SUNRISE CONSULTING INC                 5669 WALNUT RIDGE CT                                                                                               W BLOOMFIELD        MI 48322‐2089
SUNRISE EXPRESS                        PO BOX 1282                                                                                                        GRAND ISLAND        NE 68802‐1282
SUNRISE EXPRESS INC                    2222 W COLISEUM BLVD                 PO BOX 5510                                                                   FORT WAYNE          IN 46808
SUNRISE FOUNDATION                     ATTN MARGARET R STONE                PO BOX 2601                                                                   DURANGO             CO 81302
SUNRISE HUMMER, LLC                    4605 S HOUSTON LEVEE RD                                                                                            COLLIERVILLE        TN 38017‐9006
SUNRISE HUMMER, LLC                    ROBERT BERKHEIMER                    4603 S HOUSTON LEVEE RD                                                       COLLIERVILLE        TN 38017‐9006
SUNRISE INSTITUTE FO                   6535 ROCHESTER RD STE 102                                                                                          TROY                MI 48085‐1362
SUNRISE LANDFILL                       400 RENAISSANCE CTR                  V M DEGRAZIA DYKEMA GOSSETT                                                   DETROIT             MI 48243‐1607
ORGANIZATIONAACCOUNT
SUNRISE LANDFILL PRP                   ADMINSTRATIVE FUND                   400 RENAISSANCE CTR            C/O D TRIPP/DYKENA GOSSETT                     DETROIT            MI 48243‐1607

SUNRISE LANDFILL SITE PRP GROUP        MICHEL O'NEAL                        WARNER NORCROSS & JUDD LLP     900 FIFTH THIRD CENTER, 111                    GRAND RAPIDS        MI 49503
                                                                                                           LYON ST NW
SUNRISE PARK AND BANQUET CENTER     1460 WOODVILLE RD                                                                                                     MILLBURY           OH 43447‐9780
SUNRISE PONTIAC‐GMC AT WOLFCHASE, L 4605 S HOUSTON LEVEE RD                                                                                               COLLIERVILLE       TN 38017‐9006

SUNRISE PONTIAC‐GMC AT WOLFCHASE,      4605 S HOUSTON LEVEE RD                                                                                            COLLIERVILLE       TN 38017‐9006
LLC
SUNRISE PONTIAC‐GMC AT WOLFCHASE,      ROBERT BERKHEIMER                    4605 S HOUSTON LEVEE RD                                                       COLLIERVILLE       TN 38017
LLC
SUNRISE PONTIAC‐GMC AT WOLFCHASE,      ATTN; KENNETH FORBERT                4605 S HOUSTON LEVEE RD                                                       COLLIERVILLE       TN 38017‐9006
LLC
SUNRISE PONTIAC‐GMC AT WOLFCHASE,      1800 COVINGTON PIKE                                                                                                MEMPHIS            TN 38128‐6905
LLC F/K/A WOLFCHASE PONTIAC‐GMC, LLC

SUNRISE PONTIAC‐GMC TRUCK, INC.        ROBERT BERKHEIMER                    1800 COVINGTON PIKE                                                           MEMPHIS            TN   38128‐6905
SUNRISE PONTIAC‐GMC TRUCK, INC.        1800 COVINGTON PIKE                                                                                                MEMPHIS            TN   38128‐6905
SUNRISE SETTLEMENT FUND                C\O DYKEMA GOSSETT PLLC              400 RENAISSANCE CTR            ATTN VICKIE M DE GRAZIA                        DETROIT            MI   48243‐1607
SUNRISE USA INC                        PO BOX 3836                                                                                                        SOUTH BEND         IN   46619‐0836
SUNRISE WINDOW CLEANING                ATTN: CORPORATE OFFICER/AUTHORIZED   113 BRINK HILL RD                                                             GREENTOWN          PA   18426‐9201
                                       AGENT
SUNRISE WINDOW CLEANING                113 BRINK HILL RD                                                                                                  GREENTOWN          PA   18426‐9201
SUNRISE WINDOWS TOLEDO PLANT           5656 OPPORTUNITY DR                                                                                                TOLEDO             OH   43612‐2941
SUNSERAE BENNETT‐BATTEE                2941 RED FOX RUN DR NORTHWEST                                                                                      WARREN             OH   44485‐1575
SUNSET AUTO                            1300 N BOULDER HWY                                                                                                 HENDERSON          NV   89015
SUNSET AUTO AIR & CAR REPAIR           4700 DONIPHAN DR # C                                                                                               EL PASO            TX   79922
SUNSET AUTO CENTER, INC.               1300 N H ST                                                                                                        LOMPOC             CA   93436‐3303
SUNSET AUTO CENTER, INC.               CHERYL BEDFORD                       1300 N H ST                                                                   LOMPOC             CA   93436‐3303
SUNSET AUTO PLAZA                      TENNER JOHNSON LLP                   11810 PIERCE      ST STE 300                                                  RIVERSIDE          CA   92505‐5179
SUNSET BUICK                           1850 BAY ROAD                                                                                                      SARASOTA           FL   34239
SUNSET BUICK‐GMC                       1850 BAY ROAD                                                                                                      SARASOTA           FL
SUNSET CHEVROLET OLDSMOBILE INC        COLETTO, FRANK                       3403 10TH ST STE 515                                                          RIVERSIDE          CA   92501‐3654
SUNSET CHEVROLET OLDSMOBILE INC        SUNSET AUTO PLAZA                    3403 10TH ST STE 515                                                          RIVERSIDE          CA   92501‐3654
SUNSET CHEVROLET OLDSMOBILE INC        3403 10TH ST STE 515                                                                                               RIVERSIDE          CA   92501‐3654
SUNSET CHEVROLET OLDSMOBILE INC        TENNER JOHNSON LLP                   11810 PIERCE ST STE 300                                                       RIVERSIDE          CA   92505‐5179
SUNSET CHEVROLET OLDSMOBILE INC        TENNER JOHNSON LLP                   3403 10TH ST STE 515                                                          RIVERSIDE          CA   92501
SUNSET CHEVROLET, INC.                 1800 BAY RD                                                                                                        SARASOTA           FL   34239‐6901
SUNSET CHEVROLET, INC.                 ROBERT GEYER                         1800 BAY RD                                                                   SARASOTA           FL   34239‐6901
SUNSET CHEVROLET, INC.                 ERWIN YODER                          910 TRAFFIC AVE                                                               SUMNER             WA   98390‐1142
SUNSET CHEVROLET, INC.                 ROBERT GEYER                         1850 BAY ROAD                                                                 SARASOTA           FL   34239
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Name                               Address1                            Address2                 Address3   Address4                 City                   State Zip
SUNSET CHEVROLET, INC.             910 TRAFFIC AVE                                                                                  SUMNER                  WA 98390‐1142
SUNSET COMPLETE AUTO               940 EWART STREET                                                        BELLE EWART ON L0L 1C0
                                                                                                           CANADA
SUNSET GARAGE INC.                 150 INDUSTRIAL WAY                                                                               BRISBANE               CA    94005‐1004
SUNSET HILLS AUTOMOTIVE            1864 CLAY LN                                                                                     RESTON                 VA    20190‐5301
SUNSET PONTIAC                     1850 BAY RD                                                                                      SARASOTA               FL    34239
SUNSET PONTIAC‐GMC, INC.           JAMES BENDER                        9921 US HIGHWAY 19                                           PORT RICHEY            FL    34668‐3850
SUNSET SERVICE                     2095 19TH AVE                                                                                    SAN FRANCISCO          CA    94116‐1253
SUNSET TRANSPORTATION INC          11406 GRAVOIS RD                                                                                 SAINT LOUIS            MO    63126‐3610
SUNSHINE AUTO CENTER               484 S DIXIE HWY W                                                                                POMPANO BEACH          FL    33060‐7804
SUNSHINE AWNING                    7366 LEDGEWOOD DR                                                                                FENTON                 MI    48430‐9223
SUNSHINE BUICK PONTIAC GMC TRUCK   5200 SAN MATEO BLVD NE                                                                           ALBUQUERQUE            NM    87109‐2415
SUNSHINE CAR REPAIR                247 WEST ST                                                                                      LITCHFIELD             CT    06759‐3403
SUNSHINE CHEVROLET OLDSMOBILE OF   FERMAN CHEVROLET OLDSMOBILE OF      402 OFFICE PLZ STE B                                         TALLAHASSEE            FL    32301‐8303
TARPON SPRINGS INC                 TARPON SPRINGS
SUNSHINE CHEVROLET OLDSMOBILE OF   FERMAN MOTOR CAR COMPANY INC        402 OFFICE PLZ STE B                                         TALLAHASSEE             FL   32301‐8303
TARPON SPRINGS INC
SUNSHINE CHEVROLET OLDSMOBILE OF   FERMAN OLDSMOBILE OF NORTH TAMPA    402 OFFICE PLZ STE B                                         TALLAHASSEE             FL   32301‐8303
TARPON SPRINGS INC
SUNSHINE CHEVROLET OLDSMOBILE OF   402 OFFICE PLZ STE B                                                                             TALLAHASSEE             FL   32301‐8303
TARPON SPRINGS INC
SUNSHINE CHEVROLET, LLC            3699 HENDERSONVILLE RD                                                                           FLETCHER               NC 28732‐8238
SUNSHINE CHEVROLET, LLC            DON ELLIOTT                         3699 HENDERSONVILLE RD                                       FLETCHER               NC 28732‐8238
SUNSHINE CHEVROLET‐OLDSMOBILE OF   JAMES FERMAN                        43520 US HIGHWAY 19 N                                        TARPON SPRINGS         FL 34689‐6224
TARPON SPRINGS, INC.
SUNSHINE FIFTY INC                 609 SAINT JEAN ST                                                                                DETROIT                MI 48214‐3478
SUNSHINE FOUNDATION                1041 MILLCREEK DR                                                                                FEASTERVILLE TREVOSE   PA 19053‐7320
SUNSHINE HOLLAND BV
SUNSHINE NETWORK INC               10201 W PICO BLVD, BLDG 103 #3147                                                                LOS ANGELES            CA 90035
SUNSHINE NIETO                     4672 LONDONDERRY CT                                                                              INDIANAPOLIS           IN 46221‐2929
SUNSHINE SERVICE STATION DBA       1120 NE 48TH ST                                                                                  POMPANO BEACH          FL 33064‐4908
HIGHLANDS
SUNSHINE SYSTEMS INC               ATTN: CURTIS H PLEMENS              3700 BUCHANAN AVE SW                                         WYOMING                MI    49548‐3110
SUNSHINE TRUCK LINE INC            3302 INDUSTRIAL DR                                                                               BOWLING GREEN          KY    42101‐4089
SUNSHINE YOUNG                     4870 SHERIDAN RD                                                                                 SAGINAW                MI    48601‐9301
SUNSHINE, LISA M                   38602 ROUGEWOOD DR                                                                               STERLING HEIGHTS       MI    48312‐1308
SUNSHINE, NORA                     519 BUSH LAKE LN                                                                                 KIMBALL                MI    48074‐1349
SUNSIN, ANDER                      247 COUNTRY PL                                                                                   STONEWALL              LA    71078‐2833
SUNSOURCE                          6535 MILLCREEK DR UNIT 47                                               MISSISSAUGA CANADA ON
                                                                                                           L5N 2M2 CANADA
SUNSOURCE INC                      248 STONEHAM RD                                                                                  SAGINAW                MI 48638‐6222
SUNSOURCE TECHNOLOGY SVCS CANA     6535 MILLCREEK DR 46‐49 UNIT 46                                         MISSISSAUGA ON L5N 2M2
                                                                                                           CANADA
SUNSOURCE/PABCO                    5750 HILLSIDE AVE                                                                                CINCINNATI             OH    45233‐1508
SUNSPOT PROD/WARREN                11554 TIMKEN AVE                                                                                 WARREN                 MI    48089‐3805
SUNSTRUM MD                        1934 MONROE ST                                                                                   DEARBORN               MI    48124‐2917
SUNSTRUM, SCOTT C                  11629 MULLIKEN RD                                                                                MULLIKEN               MI    48861‐9795
SUNTATO, KATHY                     PO BOX 296                                                                                       YARDLEY                PA    19067‐8296
SUNTIRE CANADA INC.                303 UPPER MIDDLE RD E                                                   OAKVILLE ON L6H 6B7
                                                                                                           CANADA
SUNTKEN, GARY A                    10035 IRISH RD                                                                                   VERMONTVILLE           MI 49096‐8712
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Name                                Address1                              Address2                         Address3                   Address4               City                  State Zip
SUNTRUP BUICK‐PONTIAC‐GMC TRUCK, IN 4200 N SERVICE RD                                                                                                        SAINT PETERS           MO 63376‐6464

SUNTRUP BUICK‐PONTIAC‐GMC TRUCK,      THOMAS SUNTRUP                      4200 N SERVICE RD                                                                  SAINT PETERS          MO 63376‐6464
INC.
SUNTRUP BUICK‐PONTIAC‐GMC TRUCK,      4200 N SERVICE RD                                                                                                      SAINT PETERS          MO 63376‐6464
INC.
SUNTRUST                              FOR DEPOSIT IN THE ACCOUNT OF       13033 LEE JACKSON MEMORIAL HWY                                                     FAIRFAX               VA 22033‐2001

SUNTRUST BANK                         FOR DEPOSIT TO THE ACCOUNT OF       R MURRAY                         1200 WESTON ROAD                                  WESTON                FL 33326
SUNTRUST BANK                         C/O SUNTRUST TENANT INCOME          MID ATLANTIC TENNESSEE           PO BOX 79012 ADD CHG                              BALTIMORE             MD 21279‐0012
                                                                                                           3/29/02CP
SUNTRUST EQUIPMENT FINANCE &          C/O OBER KALER GRIMES & SHRIVER     ATT: PATRICK K CAMERON ESQ       120 E BALTIMORE ST                                BALTIMORE             MD 21202
LEASING CORP
SUNTRUST LEASING CORPORATION          ATTN: CORPORATE OFFICER/AUTHORIZED 29 SUSQUEHANNA AVENUE                                                               TOWSON                MD 21204
                                      AGENT
SUNTRUST LEASING CORPORATION          2590 HOLMGREN WAY                                                                                                      GREEN BAY             WI   54304‐5355
SUNTRUST LEASING CORPORATION          ATTN: PRESIDENT                       29 SUSQUEHANNA AVE.                                                              TOWSON                MD   21204
SUNTRUST LEASING CORPORATION          29 SUSQUEHANNA AVENUE                                                                                                  TOWSON                MD   21204
SUNTRUST LEASING CORPORATION          ATTENTION: DANIEL E. MCKEW, PRESIDENT 29 WEST SUSQUEHANNA AVENUE                                                       TOWSON                MD   21204

SUNTRUST MORTGAGE                     100 WALNUT AVE # 103                                                                                                   CLARK                 NJ 07066‐1256
SUNTRUST TTEE/UA MARY ANN AND         DTD 11/11/1983                      C/O WHITENER CAPITAL             PO BOX 7743                                       ROCKY MOUNT           NC 27804
JAMES M SMITH                                                             MANAGEMENT, INC
SUNWEST MOTORS                        1030 N COAST HWY                                                                                                       NEWPORT               OR   97365‐3146
SUNWOO, MYOUNGHO                      4727 ROLLING RIDGE RD                                                                                                  W BLOOMFIELD          MI   48323‐3344
SUNY AT ALBANY                                                            1400 WASHINGTON AVE                                                                                      NY   12222
SUNY BUFFALO                          ENGLISH LANGUAGE INSTITUTE          320 BALDY HALL                                                                     BUFFALO               NY   14260‐1000
SUNY BUFFALO                          EXTERNAL AFFAIRS                    412 BONNER HALL                  ENGINEERING DEANS OFFICE                          BUFFALO               NY   14260‐1900

SUNY COLLEGE AT NEW PALTZ             BURSARS OFFICE                      75 MANHEIM BLVD                                                                    NEW PALTZ             NY   12561
SUNY DELHI                            OFFICE OF STUDENT ACCOUNTS                                                                                             DELHI                 NY   13753
SUNY EMPIRE STATE COLLEGE             2 UNION AVE                         STUDENT FINANCIAL SERVICES                                                         SARATOGA SPRINGS      NY   12866‐4310
SUNY EMPIRE STATE COLLEGE OFFICE OF   111 WEST AVE                                                                                                           SARATOGA SPRINGS      NY   12866‐6048
STUDENT ACCOUNTING
SUNY GENESEO                          STUDENT ACCOUNTS OFFICE             1 COLLEGE CIRCLE ERWIN 103                                                         GENESEO               NY   14454
SUNY GENESEO PHYSICAL PLANT                                               1 COLLEGE CIR                                                                                            NY   14454
SUNY OSWEGO                           STUDENT ACCOUNTS OFFICE             407 CULKIN HALL                  ATTN TRACY GOODISON                               OSWEGO                NY   13126‐3525
SUNY PURCHASE DEPARTMENT OF PUBLIC    PARKING & FACILIITIES SVC           735 ANDERSON HILL RD UPTD                                                          PURCHASE              NY   10577
SAFETY
SUNY STONY BROOK                      BURSAR                              PO BOX 619                                                                         STONY BROOK           NY 11790‐0619
SUNYAK, ANDREW P                      5401 MILLS CREEK LN                                                                                                    N RIDGEVILLE          OH 44039‐2338
SUOFTEC KONNYUFEMTERMEK GYARTO        FO TER 6                                                                                        TATABANYA 2800         TATABANYA                2800
                                                                                                                                      HUNGARY (REP)
SUOFY, LAWRENCE J                     14109 W VIA MANANA                                                                                                     SUN CITY WEST         AZ   85375‐2236
SUOKAS, KEITH R                       118 2ND ST APT 202                                                                                                     LAKE LINDEN           MI   49945‐1501
SUOPIS, JOSEPHINE                     5180 DOGWOOD TRAILLE                                                                                                   LYNDHURST             OH   44124
SUOZZI, JOSEPH T                      16977 CORAL LN                                                                                                         MACOMB                MI   48042‐1119
SUP, DAWN M                           5448 LANCASTER LN                                                                                                      COMMERCE TWP          MI   48382‐2886
SUP‐R‐DIE INC                         10003 MEMPHIS AVE                                                                                                      CLEVELAND             OH   44144‐2031
SUPAK, GLYNIS P                       3230 MEGAN CT                                                                                                          CLIO                  MI   48420
SUPAL, MARK L                         961 S RENAUD RD                                                                                                        GROSSE POINTE WOODS   MI   48236
SUPAL, MIROSLAWA A                    961 S RENAUD RD                                                                                                        GROSSE POINTE WOODS   MI   48236‐1735
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Name                                   Address1                             Address2                       Address3     Address4                 City            State Zip
SUPAN, RUELALENE T                     151 THORNAPPLE RD                                                                                         NEW LEBANON      OH 45345‐9268
SUPANCIC, PERRY                        9 MAYWOOD DRINE                                                                                           DANVILLE          IL 61832
SUPANEK HAROLD S (663736)              LIPSITZ & PONTERIO                   135 DELAWARE AVE , SUITE 506                                         BUFFALO          NY 14202
SUPANEK, HAROLD S                      LIPSITZ & PONTERIO                   135 DELAWARE AVE, SUITE 506                                          BUFFALO          NY 14202‐2410
SUPANICH, RONALD M                     3115 NW 17TH LN                                                                                           CAPE CORAL       FL 33993‐4717
SUPANICH, RONALD MICHAEL               3115 NW 17TH LN                                                                                           CAPE CORAL       FL 33993‐4717
SUPANWANID MD                          921 ABBOTT ROAD                                                                                           EAST LANSING     MI 48823
SUPATINA, FRANK                        503 W 4TH ST                                                                                              MOUNT CARMEL     PA 17851‐1842
SUPECK, NICHOLAS C                     1001 4TH ST APT                                                                                           GRAND PRAIRIE    TX 75051
SUPER 1 DOLLAR                         ATTN: JIM RISHMAWI                   2219 WEBBER ST                                                       SAGINAW          MI 48601‐3549
SUPER 5 AUTO SERVICE CENTER            4401 MONTANA AVE                                                                                          EL PASO          TX 79903‐4612
SUPER ALLOY                            C/O AREWAY WAREHOUSE                 8525 CLINTON RD                                                      BROOKLYN         OH 44144‐1014
SUPER AUTOS DE NOGALES, S.A. DE C.V.   AVENIDA OBREGON NO. 1600                                                         NOGALES EM 84000
                                                                                                                        MEXICO
SUPER AUTOS DE NOGALESSA DE CV         CARRETARA A PIEDRAS NEGRAS                                                       RAMOS ARIZPE MEXICO EM
                                                                                                                        00000 MEXICO
SUPER BOWL GAME                        GENERAL POST OFFICE                  PO BOX 27504                                                         NEW YORK        NY   10087‐7504
SUPER BRIGHT LEDS INC                  4400 EARTH CITY EXPY                                                                                      EARTH CITY      MO   63045‐1328
SUPER CARTAGE CO INC                   3800 W 41ST ST                                                                                            CHICAGO         IL   60632‐3402
SUPER CASH PAY DAY ADVANCE             G4232 S SAGINAW ST                                                                                        BURTON          MI   48529‐1673
SUPER FLITE OIL CO INC                 ATTN: CORPORATE OFFICER/AUTHORIZED   100 E JOHNSON ST                                                     SAGINAW         MI   48604‐1318
                                       AGENT
SUPER FLITE OIL CO INC                 100 E JOHNSON ST                                                                                          SAGINAW         MI   48604‐1318
SUPER HAPPY DOLLAR                     ATTN: HANI ADWISH                    1368 BALDWIN AVE                                                     PONTIAC         MI   48340‐1918
SUPER K BROTHERS INC                   DBA DELPHOS CARRYOUT                 2903 W 3RD ST                                                        DAYTON          OH   45417‐2258
SUPER SERVICE TIRE                     3695 BLUE RIDGE BLVD                                                                                      WALHALLA        SC   29691‐2426
SUPER SHUTTLE                          4610 S 35TH ST                                                                                            PHOENIX         AZ   85040‐2819
SUPER SIGN COMPANY                     HERRICK FEINSTEIN LLP                ATTN GLORIA HUANG              2 PARK AVE                            NEW YORK        NY   10016
SUPER STAR RENT A CAR                  1700 WEST LOOP S APT SO 1260                                                                              HOUSTON         TX   77027
SUPER STEEL TREATING CO                6260 RINKE AVE                                                                                            WARREN          MI   48091‐5354
SUPER STEEL TREATING INC               6227 RINKE AVE                                                                                            WARREN          MI   48091‐5355
SUPER SYSTEMS INC                      7205 EDINGTON DR                                                                                          CINCINNATI      OH   45249‐1064
SUPER TRANSPORT INC                    PO BOX 3054                                                                                               BOCA RATON      FL   33431‐0954
SUPER TRANSPORT INTL LLC               801 PELLEGRINO CT                                                                                         LAREDO          TX   78045‐8216
SUPER TRANSPORTATION INC               5019 STATE RD                                                                                             ASHTABULA       OH   44004‐6265
SUPER VALU STORES                      PO BOX 990                                                                                                MINNEAPOLIS     MN   55440‐0990
SUPER VALUE PHARMACY                   720 N INDUSTRIAL BLVD                                                                                     EULESS          TX   76039‐7439
SUPER VALUE STORES                     1000 PAINTERSVILLE ROAD                                                                                   NEW STANTON     PA   15672
SUPER VAN SERVICE CO INC               121 BREMEN AVE                                                                                            SAINT LOUIS     MO   63147‐3408
SUPER WASH                             ATTN: MICHAEL ADAMS                  400 E MORGAN ST                                                      KOKOMO          IN   46901‐2358
SUPER ZINCO TRATAMENTO DE METAIS       RUA MARGINAL VIA ANHANGUERA KM 87    CHACARA SA                                  CAMPINAS SP 13100‐970
                                       5                                                                                BRAZIL
SUPER, DAVID E                         6101 EAST AVE                                                                                             HODGKINS        IL   60525‐4126
SUPER, DON L.                          1201 REUTER LANE                                                                                          SPRINGVILLE     IN   47452‐4920
SUPER, DON L.                          1198 STATE ROAD 58 E.                                                                                     BEDFORD         IN   47421
SUPER, DONNA MAE                       735 N 1ST ST                                                                                              CARBON HILL     IL   60416‐9474
SUPER, FRANKLIN D                      257 HAMPTON AVE                                                                                           SOMERSET        KY   42503‐4838
SUPER, GARY F                          1335 ROGER CT                                                                                             TROY            MI   48083‐2141
SUPER, JOHN                            4244 WASHINGTON ST                                                                                        DOWNERS GROVE   IL   60515‐2121
SUPER, LEO S                           7121 AITKEN RD                                                                                            LEXINGTON       MI   48450‐9314
SUPER, SHARON                          1187 OCEAN AVE UNIT 16                                                                                    SEA BRIGHT      NJ   07760‐2240
SUPER, SUZANNE M                       2203 N BLACKS CORNERS RD                                                                                  IMLAY CITY      MI   48444‐8957
                                 09-50026-mg               Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
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Name                             Address1                          Address2                        Address3          Address4                  City                 State Zip
SUPER, SUZANNE MARIAN            2203 N BLACKS CORNERS RD                                                                                      IMLAY CITY            MI 48444‐8957
SUPER, THOMAS E                  1118 MIDLAND RD                                                                                               BAY CITY              MI 48706
SUPER‐FLITE OIL CO INC           100 E JOHNSON ST                                                                                              SAGINAW               MI 48604‐1318
SUPERABRASIVES INC               46089 GRAND RIVER AVE                                                                                         NOVI                  MI 48374‐1319
SUPERAK JR, PETER P              409 GENESEE AVE NE                                                                                            WARREN                OH 44483‐5407
SUPERAK, ALISYN R                14 W FRIEND ST                                                                                                COLUMBIANA            OH 44408‐1273
SUPERAK, ALISYN R                420 SOMER ST                                                                                                  LEETONIA              OH 44431‐1275
SUPERAK, LUCY S                  409 GENESEE AVENUE NORTHEAST                                                                                  WARREN                OH 44483‐5407
SUPERALLOY INDUSTRIAL CO         RICH DAYWALT                      C/O AREWAY INC                  8525 CLINTON RD                             WARREN                OH 44481
SUPERALLOY INDUSTRIAL CO LTD     80 YUNK‐KE ROAD SECTION 3         DOU LIU CITY YUN‐LIN COUNTRY                      R O C TAIWAN TAIWAN
SUPERALLOY INDUSTRIAL CO LTD     80 YUNG‐KE ROAD SECTION 3         DOU‐LIU CITY YUNG‐LIN COUNTRY                     R O C 640 TAIWAN TAIWAN

SUPERALLOY INDUSTRIAL CO LTD                                       80 SEC 3 YUN KO RD                                DOU LIU YUN LIN
                                                                                                                     COUNTY,TW,64064,TAIWA
                                                                                                                     N
SUPERALLOY INDUSTRIAL CO LTD     24000 GREATER MACK AVE                                                                                        SAINT CLAIR SHORES   MI 48080‐1408
SUPERALLOY INDUSTRIAL CO LTD     80 SEC 3 YUN KO RD                                                                  DOU LIU YUN LIN COUNTY
                                                                                                                     TW 64064 TAIWAN
SUPERALLOY INDUSTRIAL CO LTD     80 SEC 3 YUN KO RD                YUN LIN SCIENCE & TECHNOLOGY                      DOU LIU YUN LIN COUNTY
                                                                   PARK                                              64064 TAIWAN
SUPERALLOY INDUSTRIAL CO LTD     DEAN ACCIVATTI                    C/O CTC DISTRIBUTION INC        12640 BURT RD                               ROMULUS              MI 48174
SUPERALLOY INDUSTRIAL CO LTD     JENNY LU                          C/O KUNTZ ELECTROPLATING INC    851 WILSON AVE                              FREMONT              OH
SUPERALLOY INDUSTRIAL CO LTD     RICH DAYWALT                      C/O AREWAY INC                  8525 CLINTON RD                             WARREN               OH 44481
SUPERALLOY INDUSTRIAL CO LTD     RICH DAYWALT                      C/O PRIME WHEEL CORP            17705 S MAIN ST                             AFTON                MI 49705
SUPERALLOY/TAIWAN                80 SEC 3 YUN KO RD                YUN LIN SCIENCE & TECHNOLOGY PK                   DOU LIU YUN LIN TW 640
                                                                                                                     TAIWAN
SUPERB FABRICATING LLC           1280 HOLDEN AVE STE 113                                                                                       MILFORD              MI   48381‐3171
SUPERB PRODUCTS INC              2101 CYPRESS ST                                                                                               PORT HURON           MI   48060‐6080
SUPERB PRODUCTS INC              KATHY GARRISON                    2101 CYPRESS STREET                                                         CENTER LINE          MI   48105
SUPERB PRODUCTS INC.             KATHY GARRISON                    2101 CYPRESS STREET                                                         CENTER LINE          MI   48105
SUPERB/PORT HURON                2101 CYPRESS ST                                                                                               PORT HURON           MI   48060‐6080
SUPERBOLT INC                    PO BOX 683                                                                                                    CARNEGIE             PA   15106‐0683
SUPERCHI, ELVA                   3818 S. 61ST AVE.                                                                                             CICERO               IL   60804‐4120
SUPERCHI, ELVA                   3818 S 61ST AVE                                                                                               CICERO               IL   60804‐4120
SUPERCHI, VITO                   3818 S 61ST AVE                                                                                               CICERO               IL   60804‐4120
SUPERCHUTE LTD                   8810 ELMSLIE ROAD                                                                   LASALLE CANADA PQ H8R
                                                                                                                     1V6 CANADA
SUPERCLEAN CARPET SERVICES INC   5210 CRITTENDEN RD                                                                                            AKRON                NY   14001‐9506
SUPERCUTS                        ATTN: JENNIFER GRAY               29587 PLYMOUTH RD                                                           LIVONIA              MI   48150‐2125
SUPERCZYNSKI, LAWRENCE           5265 SCHOOL RD                                                                                                PECK                 MI   48466‐9756
SUPERCZYNSKI, TIMOTHY A          4135 MARLAINE DR                                                                                              TOLEDO               OH   43606‐1037
SUPEREX CANADA LTD.
SUPERFLOW CORPORATION            36875 SCHOOLCRAFT RD                                                                                          LIVONIA              MI   48150‐1114
SUPERFORM USA                    6825 JURUPA AVE                                                                                               RIVERSIDE            CA   92504‐1039
SUPERFORMANCE LLC                                                  6 AUTRY                                                                                          CA   92618
SUPERIMAGING INC                 43239 OSGOOD RD UNIT C                                                                                        FREMONT              CA   94539‐5657
SUPERIMAGING INC                 44160 OLD WARM SPRINGS BLVD                                                                                   FREMONT              CA   94538‐6144
SUPERINTENDENT/WSHNT             US GOVERNMENT PRINTING OFFICE                                                                                 WASHINGTON           DC   20402‐0001
SUPERIOR 1, INC.                 M. DAVID SLONE                    4264 N COLLEGE AVE                                                          FAYETTEVILLE         AR   72703‐5200
SUPERIOR 6, INC.                 TRAVIS WOODS                      490 HIGHWAY 412 E                                                           SILOAM SPRINGS       AR   72761‐4701
SUPERIOR ACQUISITION                                               264 EXECUTIVE DRIVE                                                                              MI   48083
SUPERIOR ACQUISITION             264 EXECUTIVE DRIVE                                                                                           TROY                 MI   48083
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Name                                   Address1                             Address2                    Address3   Address4         City              State Zip
SUPERIOR ACQUISITION INC               264 EXECUTIVE DR                                                                             TROY               MI 48083‐4530
SUPERIOR ALUMINUM ALLOYS LLC           14214 EDGERTON RD                                                                            NEW HAVEN          IN 46774‐9636
SUPERIOR ANESTHETIST                   6985 MILLER DR                                                                               WARREN             MI 48092‐4725
SUPERIOR ASPHALT INC                   669 CENTURY AVE SW                                                                           GRAND RAPIDS       MI 49503‐4944
SUPERIOR AUTO CLINIC                   10560 MAGNOLIA BLVD                                                                          NORTH HOLLYWOOD    CA 91601‐4115
SUPERIOR AUTO MALL                     504 HIGHWAY 412 E                                                                            SILOAM SPRINGS     AR 72761‐4729
SUPERIOR AUTO MALL, LLC                TRAVIS WOODS                         504 HIGHWAY 412 E                                       SILOAM SPRINGS     AR 72761‐4729
SUPERIOR AUTO RESTYLING                81 URBAN AVE                                                                                 WESTBURY           NY 11590
SUPERIOR AUTO SERVICE                  1606 MAIN ST                                                                                 HELLERTOWN         PA 18055‐1020
SUPERIOR AUTO SERVICE & SALES          4624 WEDGEWOOD BLVD                                                                          FREDERICK          MD 21703‐7159
SUPERIOR AUTOMOTIVE                    DIV OF WESMAC LLC                    1515 S AVALON ST                                        WEST MEMPHIS       AR 72301‐6207
SUPERIOR AUTOMOTIVE AND                1803 KINNEY FORT TRL STE A                                                                   ROUND ROCK         TX 78664‐7579
TRANSMISSION
SUPERIOR AUTOMOTIVE SERVICE            2108 N CHESTER AVE                                                                           BAKERSFIELD       CA    93308‐2655
SUPERIOR AVIATION INC                  250 RIVERHILLS RD                                                                            KINGSFORD         MI    49802‐6607
SUPERIOR BUICK GMC                     4264 N COLLEGE AVE                                                                           FAYETTEVILLE      AR    72703‐5200
SUPERIOR BUICK‐CADILLAC                1151 W 104TH ST                                                                              KANSAS CITY       MO    64114‐4545
SUPERIOR CADILLAC‐GMC                  8282 GRAND RIVER RD                                                                          BRIGHTON          MI    48114‐9394
SUPERIOR CAM INC                       31240 STEPHENSON HWY                                                                         MADISON HEIGHTS   MI    48071‐1620
SUPERIOR CAM/MAD HTS                   31240 STEPHENSON HWY                                                                         MADISON HEIGHTS   MI    48071‐1620
SUPERIOR CARE AUTO CENTER              120 19TH ST                                                                                  BROOKLYN          NY    11232‐1005
SUPERIOR CARRIERS INC                  711 JORIE BLVD                       STE 101N                                                OAK BROOK         IL    60523‐2285
SUPERIOR CARRIERS INC                  ATTN: CORPORATE OFFICER/AUTHORIZED   711 JORIE BLVD              STE 101N                    OAK BROOK         IL    60523‐2285
                                       AGENT
SUPERIOR CARTAGE CO INC                4750 KENTUCKY AVE                                                                            INDIANAPOLIS      IN    46221‐3530
SUPERIOR CHEVROLET                     1201 EXCHANGE AVE                                                                            CONWAY            AR    72032‐7812
SUPERIOR CHEVROLET                     4770 COVINGTON HWY                                                                           DECATUR           GA    30035‐2006
SUPERIOR CHEVROLET                     8300 SHAWNEE MISSION PKWY                                                                    MERRIAM           KS    66202‐2947
SUPERIOR CHEVROLET
SUPERIOR CHEVROLET AUTOMOTIVE          JOSEPH HENDRICK                      8300 SHAWNEE MISSION PKWY                               SHAWNEE MISSION    KS   66202‐2947
COMPANY
SUPERIOR CHEVROLET INC                 200 RENAISSANCE BLVD                                                                         LAWRENCEVILLE     NJ 08648‐4773
SUPERIOR CHEVROLET INC/MIKE ALBERT     10340 EVENDALE DR                                                                            CINCINNATI        OH 45241‐2512
LEASING
SUPERIOR CHEVROLET OF SILOAM SPRING    490 HIGHWAY 412 E                                                                            SILOAM SPRINGS    AR 72761‐4701

SUPERIOR CHEVROLET OF SILOAM SPRINGS 490 HIGHWAY 412 E                                                                              SILOAM SPRINGS    AR 72761‐4701

SUPERIOR CHEVROLET, INC                10 BORWARD TERRACE                                                                           HAMILTON          NJ    08620
SUPERIOR CHEVROLET, INC.               200 RENAISSANCE BLVD                                                                         LAWRENCEVILLE     NJ    08648‐4773
SUPERIOR CHEVROLET, INC.               JOHN BETAGOLE                        260 W MITCHELL AVE                                      CINCINNATI        OH    45232‐1908
SUPERIOR CHEVROLET, INC.               GLEN W. WEST                         200 RENAISSANCE BLVD                                    LAWRENCEVILLE     NJ    08648‐4773
SUPERIOR CHEVROLET, INC.               GLEN WEST                            200 RENAISSANCE BLVD                                    LAWRENCEVILLE     NJ    08648‐4773
SUPERIOR CHEVROLET, INC.               260 W MITCHELL AVE                                                                           CINCINNATI        OH    45232‐1908
SUPERIOR CLEANING                      PO BOX 970914                                                                                YPSILANTI         MI    48197‐0816
SUPERIOR COACH BUILDERS                600 E WAYNE ST                                                                               LIMA              OH    45801‐4182
SUPERIOR CONTROLS                      14925 GALLEON CT                                                                             PLYMOUTH          MI    48170‐6536
SUPERIOR COURT CLERK                   ACT OF M JONES DR95‐19590            PO BOX 29369                                            PHOENIX           AZ    85038‐9369
SUPERIOR COURT REOPRTINGSERVICE, LLC   8001 CONSER ST STE 200               HOSTETLER & ASSOCIATES                                  OVERLAND PARK     KS    66204‐3409

SUPERIOR CRANE CORP                    PO BOX 1464                                                                                  WAUKESHA          WI 53187‐1464
SUPERIOR CRANKSHAFT LP                 1751 KETTERING                                                                               IRVINE            CA 92614‐5615
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Name                                    Address1                          Address2                         Address3                 Address4                  City               State Zip
SUPERIOR DASH/FL                        1960 S SEGRAVE ST                                                                                                     SOUTH DAYTONA       FL 32119‐2128
SUPERIOR DES/STLRNG                     35435 STANLEY DR                                                                                                      STERLING HEIGHTS    MI 48312‐2657
SUPERIOR DESIGN CO INC                  SUPERIOR TECHNICAL RESOURCES      250 INTERNATIONAL DR             PO BOX 9057                                        WILLIAMSVILLE       NY 14221
SUPERIOR DETROIT SALES INC              23730 RESEARCH DR                                                                                                     FARMINGTON HILLS    MI 48335‐2624
SUPERIOR DIE TOOL & MACH CO             2301 FAIRWOOD AVE                                                                                                     COLUMBUS            OH 43207‐2768
SUPERIOR DIE TOOL & MACHINE CO          JAMES BRITT                       2301 FAIRWOOD AVE.                                                                  HOMER               MI 49245
SUPERIOR DIE, TOOL & MACHINE CO. INC.   PHIL ECOS                         2301 FAIRWOOD AVE                                                                   COLUMBUS            OH 43207‐2768

SUPERIOR DIE/COLUMBU                    2301 FAIRWOOD AVE                                                                                                     COLUMBUS           OH 43207‐2768
SUPERIOR DISCOUNT CUSTOM MUFFLER                                          300 E SENECA ST                                                                                        NY 13104

SUPERIOR ELECTRIC GREAT                 LAKES SUPERIOR ACQUISITION INC    264 EXECUTIVE DR                                                                    TROY               MI 48083‐4530
SUPERIOR ELECTRIC MOTORS INC
SUPERIOR ENERGY SERVICES OF HARVEY ‐                                      2540 BREAUX AVE                                                                                         LA   70058
MARINE DIVISION
SUPERIOR ESSEX                          1601 WALL ST                      PO BOX 1601                                                                         FORT WAYNE         IN    46802‐4352
SUPERIOR EXPRESS INC                    210 W 3RD ST                                                                                                          WATERLOO           IL    62298‐1343
SUPERIOR FILTRATION INC                 29445 BECK RD                                                                                                         WIXOM              MI    48393
SUPERIOR FILTRATION INC                 10524 E GRAND RIVER AVE STE 10                                                                                        BRIGHTON           MI    48116
SUPERIOR FREIGHT SERVICES               PO BOX 19787                                                                                                          CHARLOTTE          NC    28219‐9787
SUPERIOR GLOBAL LOGISTICS               1245 CHICAGO RD                                                                                                       TROY               MI    48083‐4231
SUPERIOR GLOVE WORKS LTD                36 VIMY STREET                                                                              ACTON CANADA ON L7J 1S1
                                                                                                                                    CANADA
SUPERIOR GLOVE WORKS LTD                36 VIMY ST                                                                                  ACTON ON L7J 1S1 CANADA
SUPERIOR GRAP/CHICGO                    120 S. RIVERSIDE PLAZA                                                                                                CHICAGO            IL    60606
SUPERIOR GRAPHICS & SIGNS               KEN BARNABY                       3 BOULDER CREEK CT                                                                  JACKSON            NJ    08527‐3785
SUPERIOR GRAPHICS & SIGNS               KEN BARNABY                       3 BOULDER CREEK CT                                                                  JACKSON            NJ    08527‐3785
SUPERIOR GRAPHITE CO                    10 S RIVERSIDE PLZ STE 1600                                                                                           CHICAGO            IL    60606‐3830
SUPERIOR GRAPHITE CO INC                10 S RIVERSIDE PLAZA                                                                                                  CHICAGO            IL    60606
SUPERIOR IND.                           MELANIE COTTERELL                 1301 N. DIXIE LAND DR.                                                              BROOKFIELD         IL
SUPERIOR IND. INT. INC.                 RINGO MCDONALD                    1901 COMMERCE DRIVE                                                                 FORT WAYNE         IN    46803
SUPERIOR IND. INTL. INC.                MELANIE COTTERELL                 7800 WOODLEY AVENUE                                                                 TIFTON             GA    31794
SUPERIOR IND/JOHNSON                    655 WOODLYN RD                                                                                                        JOHNSON CITY       TN    37601‐3837
SUPERIOR IND/MEMPHIS                    PO BOX 12207                                                                                                          MEMPHIS            TN    38182
SUPERIOR IND/PITTSBU                    7800 WOODLEY AVE                                                                                                      VAN NUYS           CA    91406‐1722
SUPERIOR IND/ROGERS                     7800 WOODLEY AVE                                                                                                      VAN NUYS           CA    91406‐1722
SUPERIOR IND/VAN NUY                    7800 WOODLEY AVE                                                                                                      VAN NUYS           CA    91406‐1722
SUPERIOR INDUSTRIAL INTL                MELANIE COTTERELL                 C/O LACKS WHEEL TRIM SYSTEMS     4080 BARDEN DRIVE SE                               TROY               MI    48083
SUPERIOR INDUSTRIES                     MELANIE COTTERELL                 C/O MCKECHNIE VEHICLE COMP.      601 JOHN WATTS DRIVE                               ASHTABULA          OH    44004
SUPERIOR INDUSTRIES                     MELANIE COTTERELL                 C/O KUNTZ ELECTROPLATING INC     851 WILSON AVE                                     ELKHART            IN
SUPERIOR INDUSTRIES                     RINGO MCDONALD                    1500 EAST 27TH STREET TERRACE                                                       ELIZABETHTOWN      KY    42701
SUPERIOR INDUSTRIES DE MEXICO           MELANIE COTTERELL                 C/O MCKECHNIE PLASTIC            801 JOHN C WATTS DR                                ADDISON            IL    60101
                                                                          COMPONEN
SUPERIOR INDUSTRIES DE MEXICO           MELANIE COTTERELL                 S.A. DE C.V. CHIHUAHUA PLT       JUAN RUIZ DE ALARCON #306 DASSEL 37586 GERMANY

SUPERIOR INDUSTRIES DE MEXICO           MELANIE COTTERELL                 PLANT 10 VIALIDAD ORIENTE #710   PARQUE INDUSTRIAL                                  EL PASO             TX   79906
                                                                                                           CHIHUAHUA
SUPERIOR INDUSTRIES DE MEXICO           MELANIE COTTERELL                 C/O KUNTZ ELECTROPLATING INC     851 WILSON AVE           KITCHENER ON N2C 1J1
                                                                                                                                    CANADA
SUPERIOR INDUSTRIES DE MEXICO           MELANIE COTTERELL                 4080 BARDEN ST SE                C/O LACKS INDUSTRIES                               KENTWOOD           MI 49512‐5446
SUPERIOR INDUSTRIES DE MEXICO SA DE     PLANT 10 VIALIDAD ORIENTE #7100   PARQUE INDUSTRIAL CHIHUAHUA                               CHIHUAHUA 31090 MEXICO
                                                                          SUR
                                      09-50026-mg              Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
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Name                                  Address1                          Address2                         Address3                 Address4                City            State Zip
SUPERIOR INDUSTRIES DE MEXICO SA DE   JUAN RUIZ DE ALARCON 306          COL COMPLEJO INDUSTRIAL                                   CHIHUAHUA CI 31109
                                                                                                                                  MEXICO
SUPERIOR INDUSTRIES DE MEXICO SA DE   JUAN RUIZ DE ALARCON 306                                                                    CHIHUAHUA CI 31109
                                                                                                                                  MEXICO
SUPERIOR INDUSTRIES DE MEXICO SA DE   PLANT 10 VIALIDAD ORIENTE #7100                                                             CHIHUAHUA , MX 31090
                                                                                                                                  MEXICO
SUPERIOR INDUSTRIES INC               1301 N DIXIELAND RD                                                                                                 ROGERS           AR   72756‐2134
SUPERIOR INDUSTRIES INC               1500 E 27TH TER                                                                                                     PITTSBURG        KS   66762‐2757
SUPERIOR INDUSTRIES INC               1901 E BORICK DR                                                                                                    FAYETTEVILLE     AR   72701‐7288
SUPERIOR INDUSTRIES INC               24800 DENSO DR STE 225                                                                                              SOUTHFIELD       MI   48033‐7492
SUPERIOR INDUSTRIES INC               424 INDUSTRIAL PARK RD                                                                                              HEBER SPRINGS    AR   72543‐8520
SUPERIOR INDUSTRIES INC               655 WOODLYN RD                                                                                                      JOHNSON CITY     TN   37601‐3837
SUPERIOR INDUSTRIES INC               7800 WOODLEY AVE                                                                                                    VAN NUYS         CA   91406‐1722
SUPERIOR INDUSTRIES INC               JUAN RUIZ DE ALARCON 306                                                                    CHIHUAHUA CI 31109
                                                                                                                                  MEXICO
SUPERIOR INDUSTRIES INC               JUAN RUIZ DE ALARCON 306          COL COMPLEJO INDUSTRIAL                                   CHIHUAHUA CI 31109
                                                                                                                                  MEXICO
SUPERIOR INDUSTRIES INC               MALANIE COTTERELL                 C/O LACKS INDUSTRIES INC         4080 BARDEN DR SE                                ROXBORO          NC   27573
SUPERIOR INDUSTRIES INC               MELANIE COTTERELL                 1301 N. DIXIE LAND DR.                                                            BROOKFIELD       IL
SUPERIOR INDUSTRIES INC               MELANIE COTTERELL                 655 WOODLYN ROAD                                                                  HAYWARD          CA   94544
SUPERIOR INDUSTRIES INC               MELANIE COTTERELL                 7800 WOODLEY AVENUE                                                               TIFTON           GA   31794
SUPERIOR INDUSTRIES INC               MELANIE COTTERELL                 C/O KUNTZ ELECTROPLATING INC     851 WILSON AVE                                   ELKHART          IN
SUPERIOR INDUSTRIES INC               MELANIE COTTERELL                 C/O LACKS WHEEL TRIM SYSTEMS     4080 BARDEN DRIVE SE                             TROY             MI   48083
SUPERIOR INDUSTRIES INC               MELANIE COTTERELL                 C/O MCKECHNIE PLASTIC            801 JOHN C WATTS DR                              ADDISON          IL   60101
                                                                        COMPONEN
SUPERIOR INDUSTRIES INC               MELANIE COTTERELL                 C/O MCKECHNIE VEHICLE COMP.      601 JOHN WATTS DRIVE                             ASHTABULA       OH 44004
SUPERIOR INDUSTRIES INC               MELANIE COTTERELL                 PLANT 10 VIALIDAD ORIENTE #710   PARQUE INDUSTRIAL         CHIHAUHUA CH 31090
                                                                                                         CHIHUAHUA                 MEXICO
SUPERIOR INDUSTRIES INC               MELANIE COTTERELL                 S.A. DE C.V. CHIHUAHUA PLT       JUAN RUIZ DE ALARCON #306 DASSEL 37586 GERMANY

SUPERIOR INDUSTRIES INC               PLANT 10 VIALIDAD ORIENTE #7100                                                             CHIHUAHUA MX 31090
                                                                                                                                  MEXICO
SUPERIOR INDUSTRIES INC               PLANT 10 VIALIDAD ORIENTE #7100   PARQUE INDUSTRIAL CHIHUAHUA                               CHIHUAHUA MX 31090
                                                                        SUR                                                       MEXICO
SUPERIOR INDUSTRIES INC               RINGO MCDONALD                    1500 EAST 27TH STREET TERRACE                                                     ELIZABETHTOWN    KY   42701
SUPERIOR INDUSTRIES INC               RINGO MCDONALD                    1901 COMMERCE DRIVE                                                               FORT WAYNE       IN   46803
SUPERIOR INDUSTRIES INT'L             MELANIE COTTERELL                 655 WOODLYN ROAD                                                                  HAYWARD          CA   94544
SUPERIOR INDUSTRIES INT'L             MELANIE COTTERELL                 655 WOODLYN RD                                                                    JOHNSON CITY     TN   37601‐3837
SUPERIOR INDUSTRIES INTERN            MALANIE COTTERELL                 C/O LACKS INDUSTRIES INC         4080 BARDEN DR SE                                ROXBORO          NC   27573
SUPERIOR INDUSTRIES INTERNATIO        1901 E BORICK DR                                                                                                    FAYETTEVILLE     AR   72701‐7288
SUPERIOR INDUSTRIES INTERNATIO        7800 WOODLEY AVE                                                                                                    VAN NUYS         CA   91406‐1722
SUPERIOR INDUSTRIES INTERNATIO        24800 DENSO DR STE 225                                                                                              SOUTHFIELD       MI   48033‐7492
SUPERIOR INDUSTRIES INTERNATIONAL                                       7800 WOODLEY AVE                                                                  VAN NUYS         CA   91406‐1788

SUPERIOR INDUSTRIES INTERNATIONAL     1500 E 27TH TER                                                                                                     PITTSBURG        KS   66762‐2757

SUPERIOR INDUSTRIES INTERNATIONAL     24800 DENSO DR STE 225                                                                                              SOUTHFIELD       MI 48033‐7492

SUPERIOR INDUSTRIES INTERNATIONAL     424 INDUSTRIAL PARK RD                                                                                              HEBER SPRINGS    AR 72543‐8520

SUPERIOR INDUSTRIES INTERNATIONAL     655 WOODLYN RD                                                                                                      JOHNSON CITY     TN 37601‐3837
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Name                                  Address1                          Address2                        Address3               Address4                 City               State Zip
SUPERIOR INDUSTRIES INTERNATIONAL     JUAN RUIZ DE ALARCON 306          COL COMPLEJO INDUSTRIAL                                CHIHUAHUA CI 31109
                                                                                                                               MEXICO
SUPERIOR INDUSTRIES INTERNATIONAL     MELANIE COTTERELL                 4080 BARDEN ST SE               C/O LACKS INDUSTRIES                            KENTWOOD            MI 49512‐5446

SUPERIOR INDUSTRIES INTERNATIONAL     MELANIE COTTERELL                 655 WOODLYN RD                                                                  JOHNSON CITY        TN 37601‐3837

SUPERIOR INDUSTRIES INTERNATIONAL     MELANIE COTTERELL                 C/O KUNTZ ELECTROPLATING INC    851 WILSON AVE         KITCHENER ON N2C 1J1
                                                                                                                               CANADA
SUPERIOR INDUSTRIES INTERNATIONAL     PLANT 10 VIALIDAD ORIENTE #7100   PARQUE INDUSTRIAL CHIHUAHUA                            CHIHUAHUA 31090 MEXICO
                                                                        SUR
SUPERIOR INDUSTRIES INTERNATIONAL     1301 N DIXIELAND RD                                                                                               ROGERS              AR 72756‐2162

SUPERIOR INDUSTRIES INTERNATIONAL     1901 E BORICK DR                                                                                                  FAYETTEVILLE        AR 72701‐7288

SUPERIOR INDUSTRIES INTERNATIONAL     7800 WOODLEY AVE                                                                                                  VAN NUYS            CA 91406‐1788

SUPERIOR INDUSTRIES INTERNATIONAL ‐   ATTN: ROBERT A. EARNEST, ESQ.     7800 WOODLEY AVENUE                                                             VAN NUYS            CA 91406
ARKA
SUPERIOR INDUSTRIES INTERNATIONAL INC ATTN ROBERT A EARNEST, ESQ        7800 WOODLEY AVENUE                                                             VAN NUYS            CA 91406

SUPERIOR INDUSTRIES INTERNATIONAL INC 7800 WOODLEY AVE                                                                                                  VAN NUYS            CA 91406‐1722

SUPERIOR INDUSTRIES INTERNATIONAL,    315 EAST STATE HIGHWAY 28         P.O. BOX 684                                                                    MORRIS             MN 56267
INC.
SUPERIOR INDUSTRIES INTERNATIONAL,    C/O ARENT FOX LLP                 ATTN: JAMES M. SULLIVAN, ESQ.   1675 BROADWAY                                   NEW YORK            NY 10019
INC.
SUPERIOR INDUSTRIES INTERNATIONAL,    ATTN: ROBERT A. EARNEST, ESQ.     7800 WOODLEY AVENUE                                                             VAN NUYS            CA 91406
INC.
SUPERIOR INDUSTRIES INTERNATIONAL‐    ATTN: ROBERT A EARNEST ESQ        7800 WOODLEY AVENUE                                                             VAN NUYS            CA 91406
ARKANSAS, INC.
SUPERIOR INDUSTRIES INTL              1500 E 27TH TER                                                                                                   PITTSBURG           KS   66762‐2757
SUPERIOR INDUSTRIES INTL INC          1901 COMMERCE DR                                                                                                  FAYETTEVILLE        AR   72701
SUPERIOR INDUSTRIES INTL INC          7800 WOODLEY AVE                                                                                                  VAN NUYS            CA   91406‐1722
SUPERIOR INDUSTRIES INTL INC          655 WOODLYN RD                                                                                                    JOHNSON CITY        TN   37601‐3837
SUPERIOR INDUSTRIES INTL INC          SUPERIOR INDUSTRIES DE MEXICO     LOCK BOX 60420                                         LOS ANGELES CA
                                                                                                                               900600420 MEXICO
SUPERIOR INDUSTRIES INTL INC          40 OAK HOLLOW ST STE 125                                                                                          SOUTHFIELD         MI    48033‐7470
SUPERIOR INDUSTRIES, INC.             C/O JAMES M. SULLIVAN, ESQ.       ARENT FOX LLP                   1675 BROADWAY                                   NEW YORK           NY    10019
SUPERIOR INSTALLATION                 PO BOX 116695                                                                                                     CARROLLTON         TX    75011‐6695
SUPERIOR INSTALLATION SERVICES        1461 LEMAY DR                     PO BOX 116695                                                                   CARROLLTON         TX    75007‐4931
SUPERIOR LAMP INC                     PO BOX 566                                                                                                        MOORHEAD           MN    56561‐0566
SUPERIOR LINEN LAUNDRY‐UNIFORM        ATTN: JOE WEBBER                  900 W WILLARD ST                                                                MUNCIE             IN    47302‐2282
SUPERIOR LINKAGE DIVISION             STACY ROBINSON                    PO BOX 227                      TUTHILL CORPORATION                             NEW HAVEN          IN    46774‐0227
SUPERIOR LINKAGE DIVISION             STACY ROBINSON                    TUTHILL CORPORATION             P.O. BOX 227                                    KENT               OH    44240
SUPERIOR LTD                          N3436 COUNTY HWY                                                                                                  PESHTIGO           WI    54157
SUPERIOR MACH/TULLAH                  PO BOX 185                        217 W. GRUNDY                                                                   TULLAHOMA          TN    37388‐0185
SUPERIOR MATERIALS INC                33469 W 14 MILE RD STE 110                                                                                        FARMINGTON HILLS   MI    48331‐1511
SUPERIOR MEDICAL CONSULTANTS LLC      60 BARRETT DRIVE WEBSTER                                                                                          WEBSTER            NY    14580
SUPERIOR MOTOR SERVICE                1806 N BELL BLVD APT A                                                                                            CEDAR PARK         TX    78613‐6409
SUPERIOR MOTORS, INC.                 JAMES GUTHRIE                     PO BOX 649                                                                      ORANGEBURG         SC    29916‐1649
SUPERIOR MOTORS, INC.                 PO BOX 649                                                                                                        ORANGEBURG         SC    29116‐0649
SUPERIOR O & P                        114 POWELL DR                                                                                                     HENDERSONVILLE     TN    37075‐3527
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Name                                Address1                             Address2                      Address3            Address4                City               State Zip
SUPERIOR OLDSMOBILE‐CADILLAC‐GMC    RICHARD MCINTYRE                     8282 GRAND RIVER RD                                                       BRIGHTON            MI 48114‐9394
TRUCK, INC.
SUPERIOR PL/ROCHESTE                PO BOX 33011                                                                                                   BLOOMFIELD         MI   48303‐3011
SUPERIOR PLASTIC                    PO BOX 33011                                                                                                   BLOOMFIELD         MI   48303‐3011
SUPERIOR PLASTIC LLC                PO BOX 33011                                                                                                   BLOOMFIELD         MI   48303‐3011
SUPERIOR PLASTIC LLC                JEFF TRUSSELL                        PO BOX 33011                                                              BLOOMFIELD         MI   48303‐3011
SUPERIOR PLASTIC LLC                417 E 2ND ST                                                                                                   ROCHESTER          MI   48307‐2007
SUPERIOR PLASTIC LLC                JEFF TRUSSELL                        417 E 2ND ST                                                              ROCHESTER          MI   48307‐2007
SUPERIOR PLASTIC LLC                JEFF TRUSSELL                        417 E. 2ND ST.                                                            LOUISVILLE         KY   40216
SUPERIOR PLASTICS, INC.             JEFF TRUSSELL                        PO BOX 33011                                                              BLOOMFIELD         MI   48303‐3011
SUPERIOR PLASTICS, INC.             JEFF TRUSSELL                        417 E. 2ND ST.                                                            LOUISVILLE         KY   40216
SUPERIOR PONTIAC BUICK GMC, INC.    WALTER SCHWARTZ                      14505 MICHIGAN AVE                                                        DEARBORN           MI   48126‐3438
SUPERIOR PONTIAC BUICK GMC, INC.    14505 MICHIGAN AVE                                                                                             DEARBORN           MI   48126‐3438
SUPERIOR PONTIAC CADILLAC ISUZU     4264 N COLLEGE AVE                                                                                             FAYETTEVILLE       AR   72703‐5200
SUPERIOR PONTIAC‐CADILLAC           PO BOX 204                                                                                                     GRAND BLANC        MI   48480‐0204
SUPERIOR PONTIAC‐GMC TRUCK          PO BOX 3029                                                                                                    RANCHO CUCAMONGA   CA   91729‐3029
SUPERIOR PRODUCTION PARTNERSHI      2301 FAIRWOOD AVE                                                                                              COLUMBUS           OH   43207‐2768
SUPERIOR PRODUCTION PARTNERSHIP     JAMES BRITT                          2301 FAIRWOOD AVE.                                                        HOMER              MI   49245
SUPERIOR PRODUCTION PARTNERSHIP     PHIL ECOS                            2301 FAIRWOOD AVE                                                         COLUMBUS           OH   43207‐2768
SUPERIOR PRODUCTION PARTNERSHIP     2301 FAIRWOOD AVE                                                                                              COLUMBUS           OH   43207‐2768
SUPERIOR QUALITY                    217‐5 BLVD TEPEYAC                   COL LEON MODERNO              CP 37480 LEON GTO   LEON GTO 37480 MEXICO
SUPERIOR QUALITY SA DE CV           217‐2 BLVD TEPEYAC                   COL LEON MODERNO                                  LEON GJ 37480 MEXICO
SUPERIOR RACK & PACKAGING INC       803 AMERICAN BLVD                                                                                              SAINT JOSEPH       TN   38481
SUPERIOR RADIATOR                   195 GRAND AVE                                                                                                  MOUNT CLEMENS      MI   48043‐5413
SUPERIOR RIGGING & ERECTING CO      PO BOX 17565                                                                                                   ATLANTA            GA   30316‐0565
SUPERIOR SERVICE TRANSPORTATION     595 ALLISON DR                                                                                                 ALMONT             MI   48003‐8711
SUPERIOR SOFT WATER CO              3211 DRYDEN RD                                                                                                 MORAINE            OH   45439‐1476
SUPERIOR SOFTWARE SYSTEMS           PO BOX 958                           123 E LAREDO WAY S DR                                                     WESTFIELD          IN   46074‐0958
SUPERIOR SPINDLE SERVICE            25377 BREST                                                                                                    TAYLOR             MI   48180‐4054
SUPERIOR SPINDLE SERVICES LLC       25377 BREST                                                                                                    TAYLOR             MI   48180‐4054
SUPERIOR SURFACE PROTECTION COINC   PO BOX 4285                                                                                                    JACKSON            MI   49204‐4285

SUPERIOR TECHNOLOGY INC             200 PARAGON DR                                                                                                 ROCHESTER          NY 14624‐1159
SUPERIOR TEXTILES                   PO BOX 4429                                                                                                    FLINT              MI 48504‐0429
SUPERIOR TIRES & FLEET SERVICE      415 W EMPORIA ST                                                                                               ONTARIO            CA 91762‐3808
SUPERIOR TOOL & MOLD, INC
SUPERIOR TOOL & MOLD, INC           ATTN: CORPORATE OFFICER/AUTHORIZED   1665 MORO DRIVE                                   WINDOSR, ON N9A 6J3
                                    AGENT                                                                                  CANADA
SUPERIOR TRANSIT                                                         14995 INDUSTRY AVE SE                                                                        MN 55308
SUPERIOR TRANSMISSION INC           3436 SHEPPARD AVE E                                                                    SCARBOROUGH ON M1T
                                                                                                                           3K4 CANADA
SUPERIOR TRIM INC                                                        211 JEFFERSON                                                                                OH   45839
SUPERIOR TRIM/FINDLA                211 JEFFERSON ST                                                                                               FINDLAY            OH   45840‐4844
SUPERIOR TRUCK & TRAILER CO INC     4705 MCGEE RD                                                                                                  GREENWOOD          LA   71033‐2806
SUPERIOR, INC.                      M. DAVID SLONE                       4264 N COLLEGE AVE                                                        FAYETTEVILLE       AR   72703‐5200
SUPERIOR; INC.                      MIKE LORIDAS                         YORK PLANT                    PO BOX 160                                  FELTON             PA
SUPERIOR; INC.                      MIKE LORIDAS                         PO BOX 160                    YORK PLANT                                  GRAND RAPIDS       MI   49501‐0160
SUPERKO ARLENE                      127 LITTLE GEM TER                                                                                             GLOVERSVILLE       NY   12078‐7038
SUPERLATIVE GROUP INC               NISCHWITZ PEMBRIDGE & CHRISZT CO     1265 W 6TH STREET 4TH FLOOR                                               CLEVELAND          OH   44113
                                                                         CORT SHOE BLDG
SUPERNANT, MICHAEL J                923 S VAN BUREN ST                                                                                             BAY CITY           MI 48708‐7316
SUPERNAULT, MARGARET E              34760 FONTANA DR                                                                                               STERLING HEIGHTS   MI 48312‐5731
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Name                           Address1                               Address2                      Address3   Address4                City              State Zip
SUPERNAW, JANET M              11320 N GENESEE RD                                                                                      CLIO               MI 48420‐9754
SUPERNAW, STEPHEN E            11320 N GENESEE RD                                                                                      CLIO               MI 48420‐9754
SUPERNAW, STEPHEN ERIC         11320 N GENESEE RD                                                                                      CLIO               MI 48420‐9754
SUPERNOIS, BEVERLY L           15613 DUFFIELD RD                                                                                       BYRON              MI 48418‐9541
SUPERNOIS, PATRICK A           30160 HAZELWOOD ST                                                                                      INKSTER            MI 48141‐1548
SUPERNOVA CONSTRUCTION LTD     1550 BAYLY ST UNIT 19                                                           PICKERING ON L1W 3W1
                                                                                                               CANADA
SUPERSTORE AUTOMOTIVE, INC.    PAUL RUBIN                             3880 N HWY 61                                                    WHITE BEAR LAKE   MN 55110
SUPERVALU, INC.                RON PERINGTON                          19011 LAKE DR E                                                  CHANHASSEN        MN 55317‐9322
SUPERVISOR SOFTWARE SYSTEMS    PO BOX 958                                                                                              WESTFIELD         IN 46074‐0958
SUPFIN MARY                    SUPFIN, MARY
SUPFINA MACHINE CO INC         181 CIRCUIT DR                                                                                          NORTH KINGSTOWN    RI   02852‐7439
SUPFINA MACHINE COMPANY INC    181 CIRCUIT DR                                                                                          NORTH KINGSTOWN    RI   02852‐7439
SUPFINA/N KINGSTON             181 CIRCUIT DR                                                                                          NORTH KINGSTOWN    RI   02852‐7439
SUPHATRA SAE‐PHUA              70/3 M5 KANTANG TAI                    92110 KANTANG TRANG           THAILAND
SUPHATRA SAE‐PHUA              ROEMERSTRASSE 24                                                                D 55129 MAINZ GERMANY
SUPHI GENCYUZ                  52154 POWDERHORN DR                                                                                     MACOMB            MI    48042‐3442
SUPIK I I I, THOMAS A          8124 MID HAVEN RD                                                                                       BALTIMORE         MD    21222‐3458
SUPIK III, THOMAS A            8124 MID HAVEN RD                                                                                       BALTIMORE         MD    21222‐3458
SUPINA MACHINE COMPANY, INC.   ATTN: ANDREW M. CORSINI, PRESIDENT &   181 CIRCUIT DRIVE                                                NORTH KINGSTOWN   RI    02852
                               CEO
SUPINA, GARRETT J              8584 INVITATIONAL DR                                                                                    WASHINGTON        MI    48094‐1558
SUPINGER, TOM D                3 LAWNDALE AVE                                                                                          LEBANON           OH    45036‐1327
SUPINGER,TOM D                 3 LAWNDALE AVE                                                                                          LEBANON           OH    45036‐1327
SUPINO, ROBERT J               1760 POPPY CIR                                                                                          THE VILLAGES      FL    32162‐4055
SUPKO, , VERA                  45 DOUGLAS ST                                                                                           FORDS             NJ    08863‐2236
SUPKO,, VERA                   45 DOUGLAS STREET                                                                                       FORDS             NJ    08863‐2236
SUPLICKI, JAMES A              5560 BIG TREE RD                                                                                        ORCHARD PARK      NY    14127‐2207
SUPLICKI, LEONARD R            7366 BALLA DR                                                                                           NORTH TONAWANDA   NY    14120‐1470
SUPLICKI, LEONARD RAYMOND      7366 BALLA DR                                                                                           NORTH TONAWANDA   NY    14120‐1470
SUPLITA, ANDREW F              5250 LAKE FOREST RESERVE LN                                                                             BRUNSWICK         OH    44212‐6241
SUPONCIC, HELEN R              915 DELAWARE ST                                                                                         FOREST CITY       PA    18421‐1005
SUPONCIC, HELEN R              915 DELWARE STREET                                                                                      FOREST CITY       PA    18421
SUPPA JR, ANTHONY              1715 FOREST HILLS DR                                                                                    VIENNA            WV    26105‐3313
SUPPA, JUANITA LYNN            PO BOX 350                             120 LONGBEACH RD                                                 CHARLESTOWN       MD    21914‐0350
SUPPA, JUANITA LYNN            120 LONGBEACH RD, PO BOX350                                                                             CHARLESTOWN       MD    21914‐0350
SUPPA, MAY L                   131 COLONIAL RD                                                                                         ROCHESTER         NY    14609
SUPPA, SALVATORE               96 W 9TH ST                                                                                             BAYONNE           NJ    07002‐1302
SUPPANSCHITZ, FRANK            188 SUPPI BLVD                                                                                          EUREKA SPRINGS    AR    72631‐8913
SUPPE, MAREEN A                555 SALEM CHURCH ROAD                                                                                   NEWARK            DE    19702‐2726
SUPPELSA, BRUCE H              14859 INGRAM ST                                                                                         LIVONIA           MI    48154‐3561
SUPPER FRANK (349818)          GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA    23510
                                                                      STREET, SUITE 600
SUPPER, FRANK                  GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA 23510‐2212
                                                                      STREET, SUITE 600
SUPPER, REINHARD               AM HORSTENSTEIN 24B                                                             12277 BERLIN GERMANY
SUPPES STEPHEN                 SUPPES, STEPHEN                        56 MILL RD                                                       FARMINGDALE       NY    11735
SUPPES, BRAD R                 11984 OAKRIDGE LN                                                                                       SAINT CHARLES     MI    48655‐9504
SUPPES, DUSTIN J               22082 SOLOMON BLVD APT 175                                                                              NOVI              MI    48375‐5062
SUPPES, DUSTIN J.              22082 SOLOMON BLVD APT 175                                                                              NOVI              MI    48375‐5062
SUPPES, EDWARD                 5245 E HOBART ST                                                                                        MESA              AZ    85205‐4387
SUPPES, ELAINE                 4604 TAYLOR LANE                                                                                        CADILLAC          MI    49601‐8770
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Name                               Address1                          Address2                       Address3               Address4                 City              State Zip
SUPPES, HOWARD W                   714 SMITH ST                                                                                                     SEBASTIAN          FL 32958‐4850
SUPPES, JAMES F                    251 N. ELM ST.                    P.O. BOX 195                                                                   HEMLOCK            MI 48626
SUPPES, LEE                        994 N RAUCHOLZ RD                                                                                                HEMLOCK            MI 48626‐8471
SUPPES, MARGARET                   8484 SHIELDS DR UNIT 105                                                                                         SAGINAW            MI 48609‐8523
SUPPES, RAYMOND L                  4604 TAYLOR LN                                                                                                   CADILLAC           MI 49601‐8770
SUPPES, ROBERT                     2597 S RIVER RD                                                                                                  SAGINAW            MI 48609‐5327
SUPPES, RONALD E                   4250 ARVILLE ST APT 247                                                                                          LAS VEGAS          NV 89103‐3725
SUPPES, VICTOR A                   3893 MAPLE RD                                                                                                    LUPTON             MI 48635‐9648
SUPPLES, DIANE                     PO BOX 251393                                                                                                    WEST BLOOMFIELD    MI 48325
SUPPLES, EDWARD M                  2829 GLENN AVE                                                                                                   ST HELEN           MI 48656‐9507
SUPPLES, EDWARD M                  2828 GLENN AVE                                                                                                   SAINT HELEN        MI 48656‐9607
SUPPLIER BUSINESS                  2 ST PAULS STREET STAMFORD        LINCS PE9 2BE                                         UNITED KINGDOM GREAT
                                                                                                                           BRITAIN
SUPPLIER DEVELOPMENT INC           11 E FOUNDERS BLVD                                                                                               EL PASO           TX   79906
SUPPLIER INC                       123 MAIN                                                                                                         HOMETOWNE         PA   11111
SUPPLIER INSPECTION SERVICES I     2941 S GETTYSBURG AVE                                                                                            DAYTON            OH   45418‐2912
SUPPLIER INSPECTION SERVICES INC   2941 S GETTYSBURG AVE                                                                                            DAYTON            OH   45418‐2912
SUPPLIER SOLUTIONS INC             3803 SHADOW LOCH DR                                                                                              SUWANEE           GA   30024‐7066
SUPPLIERBUSINESS LTD. (UK)         2 ST. PAUL'S ST., STAMFORD        LINCOLNSHIRE PE9 2BE                                  GREAT BRITAIN
SUPPLIERBUSINESS LTD. (UK)         2 ST. PAUL'S ST., STAMFORD,                                                             GREAT BRITAIN
                                   LINCOLNSHIRE PE9 2BE UK
SUPPLIERS PARTNERSHIP FOR THE      1155 15TH ST NW STE 500           ATTN AMY GOLDMAN                                                               WASHINGTON        DC 20005‐2725
ENVIRONMENT SP
SUPPLY CHAIN SOLUTIONS INC         PO BOX 888197                                                                                                    GRAND RAPIDS      MI   49588‐8197
SUPPLY TECHNOLOGIES                PO BOX 714652                                                                                                    COLUMBUS          OH   43271‐4652
SUPPLY TECHNOLOGIES LLC            5440 KEYSTONE DR                                                                                                 FORT WAYNE        IN   46825‐5134
SUPPLYFORCE.COM                    2700 HORIZON DR                                                                                                  KING OF PRUSSIA   PA   19406
SUPPLYPRO                          5402 HILL 23 DR                                                                                                  FLINT             MI   48507‐3967
SUPPLYPRO INC                      9260 TRADE PLACE                                                                                                 SAN DIEGO         CA   92126
SUPPLYPRO INC                      9260 TRADE PL                                                                                                    SAN DIEGO         CA   92126
SUPPORT CLERK                      ACCT OF MATTHEW M KINGSBERRY      2293 N MAIN ST                                                                 CROWN POINT       IN   46307‐1854
SUPPORT COLLECTION UNIT            ACCT OF JOEL D DAVIES             PO BOX 605                                                                     RIVERDALE         MD   20738‐0605
SUPPORT ENFORCEMENT AGENCY         ACCT OF RONALD LEE EDMONDSON      14 W 4TH ST STE 530                                                            DAYTON            OH   45402‐1897
SUPPORT ENFORCEMENT SERVICE        ACCT OF THOMAS D RUCKER           PO BOX 18590                   DOCKET # 6933                                   SHREVEPORT        LA   71138‐1590
SUPPORT PAYMENT CLEARINGHOUSE      PO BOX 52107                                                                                                     PHOENIX           AZ   85072‐2107
SUPPORT PMT CLEARINGHOUSE          PO BOX 52107                                                                                                     PHOENIX           AZ   85072‐2107
SUPPORT SYSTEMS INT'L              4349 CORPORATE RD                                                                                                CHARLESTON        SC   29405‐7445
SUPPORTING RILEY CHILDREN INC      30 S MERIDIAN ST STE 200                                                                                         INDIANAPOLIS      IN   46204‐3509
SUPPOSE ‐ U ‐ DRIVE                                                  3809 SAN FERNANDO RD                                                                             CA   91204
SUPPOSE U DRIVE                    13456 ROSECRANS AVE                                                                                              NORWALK           CA   90650‐5252
SUPPUS, WALTER G                   12231 WHITE LAKE RD                                                                                              FENTON            MI   48430‐2565
SUPRAJIT ENGINEERING LTD           GILLS CABLES LIMITED              NO 25 APOLLO, LICHFIELD ROAD   TAMWORTH,              UNITED KINGDOM
                                                                     INDUSTRIAL ESTATE              STAFFORDSHIRE,B797TA
SUPRAJIT ENGINEERING LTD           DONALD ULRICH                     C/O PROJECT MANAGEMENT INC     201 E. DRAHNER                                  ARMADA            MI 48005
SUPRAJIT ENGINEERING LTD           NO 100 HOSUR RD                                                                         KAMATAKA 560099 INDIA
SUPRAJIT ENGINEERING LTD           NO 25 26A PART KIADB INDL AREA                                                          KARNATAKA IN 561203
                                                                                                                           INDIA
SUPRAJIT ENGINEERING LTD           NO 25 26A PART KIADB INDL AREA    DODDABALLAPURABANGALORE                               KARNATAKA 561203 INDIA
SUPRANOVICH, ALEXANDER             53 GROVE ST                                                                                                      YALESVILLE        CT   06492‐1606
SUPRANOVICH, JULIA M               256 TUMBLEBROOK RD                                                                                               MERIDEN           CT   06450‐4760
SUPRANOVICH, WILLIAM J             256 TUMBLEBROOK RD                                                                                               MERIDEN           CT   06450‐4760
SUPREME AIR CARGO                  48000 TYLER ROAD                                                                                                 BELLEVILLE        MI   48111
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Name                                 Address1                           Address2                   Address3   Address4              City            State Zip
SUPREME AUTO SERVICE                 410 W SOUTH ST                                                                                 RALEIGH          NC 27601‐2137
SUPREME AUTOPLEX OF HAMMOND, LLC     ALLEN KRAKE                        1301 S MORRISON BLVD                                        HAMMOND          LA 70403‐5703

SUPREME BUICK OF HAMMOND             1301 S MORRISON BLVD                                                                           HAMMOND          LA   70403‐5703
SUPREME CADILLAC OF HAMMOND          1301 S MORRISON BLVD                                                                           HAMMOND          LA   70403‐5703
SUPREME CHEVROLET, LLC               13354 AIRLINE HWY                                                                              GONZALES         LA   70737‐6601
SUPREME CHEVROLET, LLC               ALLEN KRAKE                        13354 AIRLINE HWY                                           GONZALES         LA   70737‐6601
SUPREME COMPUTER & ELECTRONIC        1955 SWARTHMORE AVE STE 5                                                                      LAKEWOOD         NJ   08701‐4557
RECYCLING INC
SUPREME CORP DBA STAR‐TRANS BUS      2581 KERCHER RD                                                                                GOSHEN           IN   46528‐7556
SUPREME CORPORATION                  2581 KERCHER RD                                                                                GOSHEN           IN   46528‐7556
SUPREME CORPORATION                  63 WIDE CANYON CT                                                                              WIMBERLEY        TX   78676‐2012
SUPREME CORPORATION                  16500 COUNTY RD #38                                                                            GOSHEN           IN   46528
SUPREME CORPORATION                  MARK BEER                          2581 KERCHER RD                                             GOSHEN           IN   46528‐7556
SUPREME CORPORATION ‐ INDIANA        2581 KERCHER RD                                                                                GOSHEN           IN   46528‐7556
SUPREME CORPORATION ‐ INDIANA
SUPREME CORPORATION ‐ TEXAS
SUPREME CORPORATION ‐ TEXAS          500 COMMERCE BLVD                                                                              CLEBURNE        TX    76033‐5026
SUPREME CORPORATION/FLORIDA          16500 COUNTY ROAD #38                                                                          GOSHEN          IN    46528
SUPREME CORPORATION/GRIFFIN          HWY 41 BYPASS SOUTH                                                                            GRIFFIN         GA    30224
SUPREME CORPORATION/GRIFFIN          41 BYPASS SOUTH                                                                                GRIFFIN         GA    30224
SUPREME CORPORATION/GRIFFIN
SUPREME CORPORATION/IRVINE
SUPREME CORPORATION/IRVINE           500 COMMERCE BLVD                                                                              CLEBURNE         TX   76033‐5026
SUPREME CORPORATION/PENNSYLVANIA     2581 KERCHER RD                                                                                GOSHEN           IN   46528‐7556

SUPREME CORPORATION/PENNSYLVANIA

SUPREME CORPORATION/RHODE ISLAND

SUPREME CORPORATION/RHODE ISLAND     16500 COUNTY ROAD #38                                                                          GOSHEN           IN   46528

SUPREME CORPORATION/RHODE ISLAND     2581 KERCHER RD                                                                                GOSHEN           IN   46528‐7556

SUPREME CORPORATON                   2581 KERCHER RD                                                                                GOSHEN          IN    46528‐7556
SUPREME COURT                        3044 W GRAND BLVD                                                                              DETROIT         MI    48202‐3037
SUPREME DOMESTICS LLC                LOEB, DAVID C                      1100 POYDRAS ST STE 1150                                    NEW ORLEANS     LA    70163‐1103
SUPREME DOMESTICS LLC                1100 POYDRAS ST STE 1150                                                                       NEW ORLEANS     LA    70163‐1103
SUPREME DOMESTICS, LLC               ALLEN KRAKE                        1301 S MORRISON BLVD                                        HAMMOND         LA    70403‐5703
SUPREME EXPRESS INC                  PO BOX 626                                                                                     DEARBORN        MI    48121‐0626
SUPREME GMC OF HAMMOND               1301 S MORRISON BLVD                                                                           HAMMOND         LA    70403‐5703
SUPREME OF OREGON                    2450 PROGRESS WAY                                                                              WOODBURN        OR    97071‐9768
SUPREME OF OREGON
SUPREME PONTIAC OF HAMMOND           1301 S MORRISON BLVD                                                                           HAMMOND          LA   70403‐5703
SUPREME SCT OPERATIONS LP            SUPREME CORPORATION                PO BOX 2828                                                 CLEBURNE         TX   76033‐2828
SUPREME SPRING                       DIV OF METINDSTRL PROPRIETARY      45 JOHNSON ROAD                       PRETORIUSSTAD NIGEL
                                                                                                              SOUTH AFRICA
SUPREME SYSTEMS INC                  1355 N WALTON WALKER BLVD                                                                      DALLAS          TX    75211‐1042
SUPREME SYSTEMS INC                  1355 N. WALTON WALKER BLVD                                                                     DALLAS          TX    75211
SUPREME TIRES & ACCESSORIES INC      3635 NW 7TH ST                                                                                 MIAMI           FL    33125‐4017
SUPREME TRUCK BODIES OF CALIFORNIA   22135 ALESSANDRO BLVD                                                                          MORENO VALLEY   CA    92553‐8215
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SUPREME TRUCK BODIES OF CALIFORNIA

SUPREME TYPESETTING & LITHOGRAPHY    4795 W 139TH ST AM                OFF ENTERPRISEAVE                                              CLEVELAND           OH 44135
CO
SUPREME/STAR‐TRANS                   2581 KERCHER RD                                                                                  GOSHEN               IN   46528‐7556
SUPREME/STAR‐TRANS
SUPRENA FLETCHER                     18921 RAINBOW CT                                                                                 LATHRUP VILLAGE      MI   48076‐4404
SUPRENIA SPENCER                     11436 ALEENE WAY                                                                                 FISHERS              IN   46038‐5437
SUPRINA, LUELLA M                    116 LAKE RING DR                                                                                 WINTER HAVEN         FL   33884‐1438
SUPRISE, GREGORY S                   264A BRIGHAM RD                                                                                  GREENFIELD CENTER    NY   12833
SUPRISE, LEONARD H                   21 OAKWOOD DR                                                                                    S GLENS FALLS        NY   12803‐5426
SUPRON, LAWRENCE F                   21341 HAGGERTY RD                                                                                BELLEVILLE           MI   48111‐9178
SUR FLO PLASTICS & ENG INC           24358 GROESBECK HWY                                                                              WARREN               MI   48089‐4718
SUR FLO PLASTICS &ENG                BOB WOLFBAUER                     24358 GROESBECK                                                ROMEO                MI
SUR FORM CORP                        18401 MALYN BLVD                                                                                 FRASER               MI   48026‐1628
SUR MOTORS S.A.                      AVENIDA VENEZUELA 2515                                                     AREQUIPA PERU
SUR‐FLO PLASTICS                     FRANK GALLEGER                    18401 MALYN BLVD                                               FRASER              MI    48026‐1628
SUR‐FLO PLASTICS                     FRANK GALLEGER                    18401 MALYN                                                    TIFFIN              OH    44883
SUR‐FORM CORP                        18401 MALYN BLVD                                                                                 FRASER              MI    48026‐1628
SUR‐TOWNSEND PONTIAC INC.            MICHAEL SUR                       1551 W US 30                                                   VALPARAISO          IN    46385
SURA WEINER                          424 WOODCOCK CT                                                                                  MILPITAS            CA    95035‐2826
SURA, NANCY L                        1413 ASHFORD CT                                                                                  TROY                MI    48084‐7061
SURA‐THOMSON, WENDY                  4250 EWELL CT                                                                                    BLOOMFIELD HILLS    MI    48302‐1608
SURABHI MODI                         2047 HICKORY TRAIL DR                                                                            ROCHESTER HILLS     MI    48309‐4508
SURACE LOUIS JR (429899)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA    23510
                                                                       STREET, SUITE 600
SURACE SR, JOSEPH                    147 LILLIAN LN                                                                                   ROCHESTER            NY   14616‐4327
SURACE, ANTOINETTA W                 6392 OCONNOR DR                                                                                  LOCKPORT             NY   14094‐6516
SURACE, CATHIE A                     300 E COLUMBIA AVE                                                                               PALISADES PARK       NJ   07650‐1904
SURACE, CATHIE A.                    300 E COLUMBIA AVE                                                                               PALISADES PARK       NJ   07650‐1904
SURACE, DEBRA J                      27 CHESTNUT RIDGE RD                                                                             ROCHESTER            NY   14624‐3945
SURACE, FREDERICK K                  119 LANSMERE WAY                                                                                 ROCHESTER            NY   14624‐1166
SURACE, JANICE L                     19162 AVENUE OF THE OAKS UNIT B                                                                  NEWHALL              CA   91321‐4914
SURACE, LOUIS                        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK              VA   23510‐2212
                                                                       STREET, SUITE 600
SURACE, MARIE                        160 2ND AVE                                                                                      NEW EAGLE           PA    15067‐1356
SURACE, MARIE                        160 SECOND AVE                                                                                   NEW EAGLE           PA    15067‐1356
SURACE, PAUL D                       9395 JOHNSON RD                                                                                  MIDDLEPORT          NY    14105
SURACI, JAMES J                      348 WESTVIEW AVE                                                                                 HUBBARD             OH    44425‐1965
SURACI, JAMES V                      80 STONEYBROOK VILLAGE DR                                                                        HUBBARD             OH    44425
SURADA SMITH                         45 JOHN BAKER RD                                                                                 BURKESVILLE         KY    42717‐8114
SURAGE, JOSEPH P                     164 ALLEN ST                                                                                     LOCKPORT            NY    14094‐2215
SURAGO, CAROL L.                     9291 FORESTLAWN DR                                                                               PINCKNEY            MI    48169‐8518
SURAGO, JOHN M                       5000 BISHOP LAKE RD APT A‐7                                                                      BRIGHTON            MI    48116‐5187
SURAJUDEEN LAWAL                     20 AYRSHIRE LN                                                                                   HENRIETTA           NY    14467‐9379
SURANJAN SOANS                       3073 TALON CIR                                                                                   LAKE ORION          MI    48360‐2608
SURANTIS FILLADITIS                  VICTORIA FILLADITIS               8 BRAD FORD BLVD                                               YONKERS             NY    10710
SURANYI, ANDRAS                      69‐122 LAKESHORE RD                                                        ST CATHARINES ON
                                                                                                                CANADA L2N‐6N6
SURATEAUX, SUSAN Y                   7114 MANITOU WAY                                                                                 GRAND LEDGE          MI 48837‐9337
SURATO, KURT T                       5349 DURFEE RD                                                                                   EATON RAPIDS         MI 48827‐8909
SURATO, LINDA L                      5349 DURFEE RD                                                                                   EATON RAPIDS         MI 48827‐8909
                               09-50026-mg              Doc 7123-37 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                   Part 35 of 40 Pg 895 of 895
Name                           Address1                         Address2                      Address3   Address4         City              State Zip
SURATO, THOMAS D               3200 TECUMSEH RIVER RD                                                                     LANSING            MI 48906‐3555
SURBAUGH JERRY E SR (652485)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                STREET, SUITE 600
SURBAUGH KENNETH O (306510)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                STREET, SUITE 600
SURBAUGH, JERRY E              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                                STREET, SUITE 600
SURBAUGH, KENN O               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                                STREET, SUITE 600
SURBAUGH, RAYMOND G            615 PENNSYLVANIA AVE                                                                       RAINELLE          WV   25962‐1521
SURBECK, KALLY JO              4750 US HWY 20                                                                             LUSK              WY   82225‐6410
SURBER, ANGELA K               4613 BRITTANY RD                                                                           INDIANAPOLIS      IN   46222‐1363
SURBER, ANN E                  110 CRANBROOK DR                                                                           GLASGOW           KY   42141‐1417
SURBER, BARBARA L              PO BOX 46                                                                                  STRAUGHN          IN   47387‐0046
SURBER, BASIL E                110 CRANBROOK DRIVE                                                                        GLASGOW           KY   42141‐1417
SURBER, BERYL M                311 SUNRISE AVE                                                                            BROOKVILLE        OH   45309‐1349
SURBER, DENNIS L               PO BOX 7046                                                                                FLINT             MI   48507‐0046
SURBER, HENRIETTA K            44 LIBBY LANE                                                                              GALENA            MO   65656‐4987
SURBER, JACK D                 8875 CLEARCREEK RD                                                                         SPRINGBORO        OH   45066‐9716
SURBER, JERRY R                1772 MAGNOLIA DR                                                                           GREENWOOD         IN   46143‐6908
SURBER, KEITH A                9757 S COUNTY ROAD 100 E                                                                   CLAYTON           IN   46118‐9219
SURBER, KENNETH L              6817 W RYAN DR                                                                             ANDERSON          IN   46011‐9105
SURBER, LEONARD F              4204 S COUNTY ROAD 00EN                                                                    KOKOMO            IN   46902
SURBER, LEONARD F.             4204 S 00 E W                                                                              KOKOMO            IN   46902
SURBER, POLLY H                1201 S BRIARFIELD DR                                                                       LANSING           MI   48910‐5103
SURBER, ROBERT B               5216 NORTH 1150 EAST                                                                       VAN BUREN         IN   46991‐9758
SURBER, ROSE M                 5971 OBERLIES WAY                                                                          PLAINFIELD        IN   46168‐7323
SURBER, SAMUEL J               616 BLOOMING VIEW AVE                                                                      NORTH LAS VEGAS   NV   89032‐1156
SURBER, SANDRA J               306 MANSFIELD ST                                                                           GALION            OH   44833‐2241
SURBER, THELLSIA H             PO BOX 566                                                                                 ROCKAWAY BEACH    MO   65740‐0566
SURBER, THELLSIA H             P O BOX 566                                                                                ROCKAWAY BEACH    MO   65740‐0566
SURBER, WILLIAM B              395 SUFFIELD AVE                                                                           BIRMINGHAM        MI   48009‐1259
SURBER, WILLIAM E              2520 W 20TH STREET RD                                                                      GREELEY           CO   80634‐6642
SURBERS INC                    ATTN: JANET SURBER               1805 S HOYT AVE                                           MUNCIE            IN   47302‐3024
SURBEY, BRUCE O                7427 CAMINO VERDE DRIVE                                                                    HOUSTON           TX   77083‐2952
SURBEY, LARRY J                10982 S ELM ST                                                                             BUNKER HILL       IN   46914‐9542
SURBEY, MINERVA                7427 CAMINO VERDE DRIVE                                                                    HOUSTON           TX   77083‐2952
SURBROOK, DONNA L              6395 M32                                                                                   ATLANTA           MI   49709
SURBROOK, GLENN A              292 JESSIE LEE DR                                                                          LAPEER            MI   48446‐4115
SURBROOK, MARY CECELIA         589 PLOUGHMANS BEND DR                                                                     FRANKLIN          TN   37064‐4203
SURBROOK, SCOTT L              317 CROOKED OAK CT                                                                         FRANKLIN          TN   37067‐4047
SURCHEVICH, BONNIE A.          2300 SULPHUR MOUNTAIN RD                                                                   HARRISON          AR   72601‐8851
SURCUILAS JR, JOSEPH           1203 ELDRIDGE LOOP                                                                         CROSSVILLE        TN   38571‐0255
SURDAKOWSKI, REBECCA A         6493 PHILLIPS RICE RD                                                                      CORTLAND          OH   44410‐9631
SURDAM, ERNEST S               99 GORTON ST                                                                               BUFFALO           NY   14207‐2709
SURDAM, MARTIN T               9424 MARBLE RD                                                                             MACHIAS           NY   14101‐9752
SURDEJ, DAVID E                875 BORDEN RD                                                                              CHEEKTOWAGA       NY   14227‐2661
SURDEJ, GERTRUDE J             66 BLICK ST                                                                                BUFFALO           NY   14212‐2311
SURDEJ, GERTRUDE J             66 BLICK                                                                                   BUFFALO           NY   14212‐2311
SURDEJ, JAMES P                71 HANDY RD                                                                                ELMA              NY   14059‐9433
SURDEJ, JAMES PAUL             71 HANDY RD                                                                                ELMA              NY   14059‐9433
SURDEJ, JOSEPH W               6993 CREEKVIEW DR                                                                          LOCKPORT          NY   14094‐9575
